Exhibit 1
  Part 1 of 7
Properties 1-20
                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                        1700-08 W Juneway Terrace
General Allocation % (Pre 01/29/21):                                                 3.5186046%
General Allocation % (01/29/21 Onward, Claims Only):                            3.7809835567%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     1        1700-08 W Juneway Terrace                                                   139.90      $             37,862.54                           99.42    $            26,173.45             239.31     $             64,035.99
                 Asset Disposition [4]                                                        7.40    $                 2,422.81                         53.21   $             11,168.26               60.61   $              13,591.07
                 Business Operations [5]                                                      7.44    $                 2,236.57                         26.49   $               9,302.08              33.93   $              11,538.65
                 Claims Administration & Objections [6]                                    125.05     $              33,203.17                           19.72   $               5,703.10            144.78    $              38,906.27




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1700-08 W Juneway Terrace                                                EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    99.42
Specific Allocation Fees:         $       26,173.45



   Invoice                                             Time                                                                                                                   Allocated    Allocated
               Billing Category       Entry Date               Rate                                         Task Description                                     Task Hours
   Month                                              Keeper                                                                                                                    Hours         Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736          $1.47
            Operations
August 2018 Business                      08/24/18 KBD           390 telephone conference with property manager, its counsel, and A. Porter regarding property          0.9 0.0230769          $9.00
            Operations                                               management and cash flow issues (.9)
August 2018 Business                      08/25/18 KBD           390 Telephone conference with A. Porter regarding discussions with property manager and                0.5 0.0128205          $5.00
            Operations                                               business income and expenses (.5)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604          $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study profit and loss documents from property manager and draft correspondence to                  0.3 0.0076923          $3.00
            Operations                                               property manager regarding budget (.3)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038          $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692          $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906          $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472          $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with other property manager (1.6)                                                             1.6 0.0410256         $16.00
            Operations
August 2018 Business                      08/29/18 KBD           390 Office conference with K. Pritchard regarding EquityBuild invoices property management             0.4 0.0037736          $1.47
            Operations                                               issues (.4)
August 2018 Business                      08/30/18 KBD           390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                             0.3 0.0028302          $1.10
            Operations
August 2018 Business                      08/30/18 KBD           390 study correspondence from contractor regarding various property management issues (.1)             0.1 0.0009434          $0.37
            Operations
August 2018 Business                      08/31/18 KBD           390 Office conference with A. Porter regarding the property manager compensation (.7)                  0.7 0.0066038          $2.58
            Operations
August 2018 Claims                        08/22/18 KBD           390 analysis of records and information, including incomplete nature of same, regarding                1.9 0.0213483          $8.33
            Administration                                           institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                        08/24/18 KBD           390 Study correspondence from and office conferences with E. Duff regarding communications             0.3         0.15      $58.50
            Administration                                           with lender and lender's counsel.
            & Objections




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Claims                  08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                   same.
            & Objections

August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 read letter received from counsel for other property manager and prepare response thereto            0.4 0.0102564         $4.00
            Operations                                       (.4).
August 2018 Business                08/24/18 AEP         390 Meeting with counsel for property manager regarding potential resolution of issues relating          0.5 0.0128205         $5.00
            Operations                                       to unpaid receivables (.5)
August 2018 Business                08/24/18 AEP         390 teleconference with other property manager and their attorney regarding management                   1.8 0.0461538        $18.00
            Operations                                       company concerns (1.8)
August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                      0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/31/18 AEP         390 Meeting with K. Duff and management company representative regarding outstanding                     1.5 0.0384615        $15.00
            Operations                                       receivable.




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
August 2018 Claims                  08/22/18 ED          390 Correspondence with institutional lenders and counsel.                                                1.0          0.5     $195.00
            Administration
            & Objections

August 2018 Claims                  08/24/18 ED          390 Review and analysis of institutional lender loan documentation, spreadsheets and related              0.9         0.45     $175.50
            Administration                                   information (.9)
            & Objections

August 2018 Claims                  08/24/18 ED          390 conference call with lender personnel to discuss receivership and loan issues (.5)                    0.5         0.25      $97.50
            Administration
            & Objections

August 2018 Claims                  08/24/18 ED          390 and related email correspondence (.7).                                                                0.7         0.35     $136.50
            Administration
            & Objections

August 2018 Claims                  08/24/18 NM          260 Correspond with E. Duff regarding institutional lender notices and follow-up                          0.2          0.1      $26.00
            Administration                                   correspondence.
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652          $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 and counsel for lenders (.5) regarding terms of loans                                                 0.5     0.03125       $12.19
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 review loan documentation (1.7)                                                                       1.7 0.1545455         $60.27
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652          $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618        $2.19
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
August 2018 Claims                  08/28/18 ED          390 calls with counsel for lenders and lenders counsel (.4)                                          0.4 0.0571429        $22.29
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 organization and preliminary review of loan and security documentation provided to date          4.5 0.4090909       $159.55
            Administration                                   relating to eleven properties (4.5).
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)              0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 emails to lenders regarding missing documents and other requests (.8)                            0.8 0.2666667       $104.00
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 preparation for same (.4)                                                                        0.4 0.0571429        $22.29
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 calls with counsel for lenders (.8)                                                              0.8 0.1142857        $44.57
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                 0.5    0.005618       $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                    0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                         0.3 0.0033708         $1.31
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments                 1.1 0.0123596         $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                            5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                        0.2 0.0022472         $0.58
            Administration                                   institutional lenders (.2)
            & Objections

August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via               1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

September   Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                  0.4 0.0037383         $1.46
2018        Disposition                                      with M. Rachlis regarding same (.4)
September   Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                       0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related              0.1 0.0009346         $0.36
2018        Disposition                                      information.
September   Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                          0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                        0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018        Disposition
September   Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018        Disposition                                      brokers (.1).
September   Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018        Disposition                                      reports.
September   Business                09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018        Operations                                       information (.2)
September   Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018        Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September   Business                09/06/18 KBD         390 study correspondence regarding construction work and permits (.1)                                       0.1 0.0333333        $13.00
2018        Operations
September   Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018        Operations                                       receivership and property issues (.7)


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September   Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                        0.7 0.0066038         $2.58
2018        Operations
September   Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645         $9.11
2018        Operations
September   Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018        Operations
September   Business                09/11/18 KBD         390 office conference with A. Porter regarding property manager compensation (.3)                          0.3 0.0076923         $3.00
2018        Operations
September   Business                09/12/18 KBD         390 study rent roll and financial information from property manager (.3)                                   0.3 0.0076923         $3.00
2018        Operations
September   Business                09/13/18 KBD         390 study rent rolls and profit and loss statements from property managers (.4)                            0.4 0.0102564         $4.00
2018        Operations
September   Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018        Operations                                       estate firm representatives (.1)
September   Business                09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018        Operations                                       health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September   Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018        Operations                                       same (.1)
September   Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018        Operations                                       (.1)
September   Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018        Operations
September   Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018        Operations
September   Claims                  09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                        0.5    0.005618       $2.19
2018        Administration
            & Objections

September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                 0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                      0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                     0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708         $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections

September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652         $3.07
2018      Administration
          & Objections

September   Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383         $1.46
2018        Disposition
September   Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037         $1.09
2018        Disposition
September   Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757       $6.93
2018        Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September   Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                              0.1 0.0009346         $0.13
2018        Disposition
September   Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346         $0.13
2018        Disposition
September   Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                           0.3 0.0028037         $0.39
2018        Disposition
September   Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                    0.1 0.0009346         $0.13
2018        Disposition                                      when they will be ready (.1)
September   Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692         $0.26
2018        Disposition
September   Asset                   09/14/18 AW          140 email brokers (.2).                                                                                       0.2 0.0018692         $0.26
2018        Disposition
September   Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                       2.7 0.0252336         $9.84
2018        Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September   Asset                   09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                      0.1 0.0009346         $0.36
2018        Disposition                                      statements for production to potential brokerage.
September   Asset                   09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                    0.3 0.0028037         $1.09
2018        Disposition                                      prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September   Business                09/02/18 AEP         390 Read and revise proposed letter to EquityBuild management company regarding agreement                     0.4 0.0102564         $4.00
2018        Operations                                       to continue service.
September   Business                09/03/18 AEP         390 Proofread, edit, and revise proposed letter to property management firm regarding accounts                0.2 0.0051282         $2.00
2018        Operations                                       receivable.


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
September   Business                09/03/18 ED          390 email to Receiver and counsel A. Porter regarding the foregoing (.2).                                   0.2          0.1      $39.00
2018        Operations
September   Business                09/03/18 ED          390 review lender escrow information regarding reserves (.2)                                                0.2          0.1      $39.00
2018        Operations
September   Business                09/04/18 AEP         390 Proofread, edit, and revise amended proposed letter to property management company                      0.2 0.0051282          $2.00
2018        Operations                                       regarding payment (.2)
September   Business                09/10/18 AEP         390 prepare proposed final draft of property manager agreement (.4).                                        0.4 0.0102564          $4.00
2018        Operations
September   Business                09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708          $1.31
2018        Operations
September   Business                09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944          $1.75
2018        Operations                                       lenders and possible revisions to procedure for reporting by property managers (.4)

September   Business                09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708          $1.31
2018        Operations                                       revision to procedure for reporting to institutional lenders (.3).
September   Business                09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596          $4.82
2018        Operations
September   Business                09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247          $7.89
2018        Operations
September   Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037          $1.09
2018        Operations                                       with prospective brokers (.3)
September   Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383          $1.46
2018        Operations                                       distribution (.4).
September   Business                09/18/18 NM          260 correspond with contractor regarding receivership and status of properties, and correspond              0.2 0.0666667         $17.33
2018        Operations                                       with K. Duff on same (.2)
September   Business                09/18/18 NM          260 Study and respond to email correspondence relating to contractors and telephone calls with              0.4 0.1333333         $34.67
2018        Operations                                       same, notices, service provider, and former EB counsel sending new matters (.4)

September   Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692          $0.49
2018        Operations                                       other expenses/money coming into receivership (.2)
September   Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434          $0.25
2018        Operations
September   Business                09/28/18 ED          390 Review and reply to email correspondence with lenders and counsel (.9)                                  0.9          0.3     $117.00
2018        Operations
September   Claims                  09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708          $1.31
2018        Administration                                   correspondence (.3).
            & Objections

September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                         0.1 0.0011236          $0.16
2018      Administration
          & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                              0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                       0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                           0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472          $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/11/18 AW          140 Attention to email from EquityBuild employee regarding contractors demanding payments               0.1 0.0333333          $4.67
2018      Administration                                     for completed and scheduled work (.1)
          & Objections

September Claims                    09/12/18 ED          390 email correspondence with lender's counsel regarding call with lender and property                  0.1         0.05      $19.50
2018      Administration                                     inspections (.1).
          & Objections

September Claims                    09/14/18 AW          140 phone call with contractor that has outstanding invoices with EquityBuild (.2)                      0.2 0.0285714          $4.00
2018      Administration
          & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections

September Claims                    09/25/18 ED          390 review loan documents and update mortgage loan summary (4.9).                                        4.9 0.2227273        $86.86
2018      Administration
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

October     Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018        Disposition                                      properties and debt ratio (.4).
October     Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018        Disposition
October     Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018        Disposition
October     Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018        Disposition                                      (2.7)
October     Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018        Disposition
October     Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018        Disposition
October     Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018        Disposition
October     Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018        Disposition




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October     Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                            2.1 0.0196262         $7.65
2018        Disposition
October     Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                   0.2 0.0018692         $0.73
2018        Disposition
October     Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                     0.9 0.0084112         $3.28
2018        Disposition
October     Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018        Disposition
October     Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421         $2.55
2018        Disposition                                      terms and further background information(.7)
October     Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018        Disposition
October     Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018        Disposition                                      (.3)
October     Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018        Disposition
October     Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018        Disposition                                      regarding engagement of broker (.2)
October     Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018        Disposition
October     Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018        Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October     Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018        Disposition
October     Business                10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018        Operations                                       documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October     Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018        Operations                                       and tenant evictions (.2)
October     Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018        Operations                                       regarding scofflaw list (.1)
October     Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018        Operations                                       property managers (.4)


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
October     Business                10/15/18 KBD         390 meeting with other property manager regarding various property and financial issues (1.3)           1.3 0.0333333         $13.00
2018        Operations
October     Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692          $0.73
2018        Operations
October     Business                10/17/18 KBD         390 review correspondence regarding lockbox deposit and exchange correspondence with E.                 0.1          0.1      $39.00
2018        Operations                                       Duff regarding same (.1)
October     Business                10/17/18 KBD         390 review correspondence from property manager regarding real estate taxes (11117 Longwood             0.1         0.05      $19.50
2018        Operations                                       and 1700 Juneway) and draft correspondence to asset manager regarding same (.1)

October     Business                10/22/18 KBD         390 Study property manager monthly operating report (.3)                                                0.3 0.0076923          $3.00
2018        Operations
October     Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346          $0.36
2018        Operations                                       properties (.1)
October     Business                10/25/18 KBD         390 exchange correspondence with bank representatives and telephone conference with bank                0.3          0.3     $117.00
2018        Operations                                       representative regarding cashier's check for payment of real estate taxes (.3)

October     Business                10/25/18 KBD         390 exchange correspondence with property manager and A. Porter regarding potential move-               0.2          0.2      $78.00
2018        Operations                                       ins (Juneway) and real estate taxes (.2)
October     Business                10/26/18 KBD         390 review correspondence with property manager regarding payment of real estate taxes (.2)             0.2          0.2      $78.00
2018        Operations
October     Business                10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708          $1.31
2018        Operations                                       property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October     Claims                  10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708          $1.31
2018        Administration                                   information, and related issues and study documents regarding same.
            & Objections

October     Claims                  10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708          $1.31
2018        Administration                                   information (.3).
            & Objections

October     Claims                  10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements           0.4 0.0044944          $1.75
2018        Administration                                   and provisions in order appointing receiver (.4)
            & Objections

October     Claims                  10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)          0.8 0.0089888          $3.51
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October     Claims                  10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018        Administration
            & Objections

October     Claims                  10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018        Administration                                   procedures and communications with institutional lenders with respect to same (1.1)
            & Objections

October     Claims                  10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018        Administration                                   institutional lender and property managers, analysis of loan history, various loan documents,
            & Objections                                     rent rolls, and various related issues (2.8)

October     Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018        Administration
            & Objections

October     Claims                  10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018        Administration                                   representative regarding debt service analysis (.3)
            & Objections

October     Claims                  10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018        Administration
            & Objections

October     Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018        Administration
            & Objections

October     Claims                  10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018        Administration                                   same (.4).
            & Objections

October     Claims                  10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information              0.2 0.0051282         $2.00
2018        Administration                                   (.2)
            & Objections

October     Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018        Disposition
October     Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018        Disposition                                      firms.
October     Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018        Disposition




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October     Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018        Disposition
October     Asset                   10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018        Disposition
October     Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018        Disposition                                      payments and sale of same, and property database.
October     Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018        Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October     Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018        Disposition
October     Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018        Disposition                                      agreement and upcoming receivership tasks.
October     Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018        Disposition                                      agent (1.5).
October     Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018        Disposition                                      Duff and M. Rachlis.
October     Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018        Disposition
October     Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018        Disposition
October     Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018        Disposition
October     Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018        Disposition
October     Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018        Disposition
October     Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018        Disposition                                      retained broker (.1)
October     Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018        Disposition
October     Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018        Disposition                                      engagement (2.1).
October     Asset                   10/15/18 AEP         390 meeting with other property manager regarding overview of properties in portfolio and                  1.5 0.0394737        $15.39
2018        Disposition                                      commencement of process of identifying assets for immediate sale (1.5)

October     Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018        Disposition
October     Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346         $0.13
2018        Disposition


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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October     Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262          $7.65
2018        Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October     Business                10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663         $10.52
2018        Operations                                       same (2.4)
October     Business                10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371         $11.83
2018        Operations                                       alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.
October     Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916          $4.86
2018        Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October     Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346          $0.13
2018        Operations
October     Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346          $0.13
2018        Operations
October     Business                10/19/18 AW          140 Communicate with A. Porter regarding reports from property manager (.1)                              0.1 0.0026316          $0.37
2018        Operations
October     Business                10/26/18 AW          140 attention to receipt and email counsel regarding same (.2)                                           0.2          0.2      $28.00
2018        Operations
October     Business                10/26/18 AW          140 Attention to email regarding check and past due taxes for one of properties (1700 Juneway)           0.1          0.1      $14.00
2018        Operations                                       (.1)
October     Claims                  10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944          $1.75
2018        Administration
            & Objections

October     Claims                  10/18/18 KMP         140 Review numerous documents from institutional lenders to create debt service chart, and               5.9     0.36875       $51.63
2018        Administration                                   several conferences with E. Duff regarding same.
            & Objections

October     Claims                  10/19/18 KMP         140 Continue review of documents from institutional lenders and creation of debt service chart,          3.6       0.225       $31.50
2018        Administration                                   and several conferences with E. Duff regarding same.
            & Objections

October     Claims                  10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843         $12.71
2018        Administration                                   related loan documents and information supplied by lenders (2.9)
            & Objections

October     Claims                  10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)            0.3 0.0033708          $1.31
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
October     Claims                  10/22/18 KMP         140 Configure and compile hard copy of debt service chart for K. Duff review.                          0.3     0.01875       $2.63
2018        Administration
            & Objections

October     Claims                  10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018        Administration                                   leases.
            & Objections

October     Claims                  10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018        Administration                                   portfolio properties (1.5)
            & Objections

October     Claims                  10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018        Administration
            & Objections

October     Claims                  10/26/18 ED          390 review and respond to inquiries from lenders and counsel (.7).                                     0.7      0.0875      $34.13
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472         $0.88
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124         $3.94
2018        Administration                                   logistics for site visits (.9)
            & Objections

October     Claims                  10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018        Administration                                   amount of mortgage loans (.2)
            & Objections

October     Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618       $2.19
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October     Claims                  10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                    0.3 0.0033708          $1.31
2018        Administration
            & Objections

October     Claims                  10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting               0.2 0.0022472          $0.88
2018        Administration                                   queries (.2)
            & Objections

October     Claims                  10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan                  0.6 0.0067416          $2.63
2018        Administration                                   balances for report (.6).
            & Objections

October     Claims                  10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to                 0.3 0.0033708          $1.31
2018        Administration                                   lenders (.3)
            & Objections

October     Claims                  10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                             0.2 0.0051282          $2.00
2018        Administration
            & Objections

October     Claims                  10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                         5.1 0.1307692         $51.00
2018        Administration
            & Objections

October     Claims                  10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472          $0.88
2018        Administration
            & Objections

November    Business                11/05/18 KBD         390 office conference with E. Duff regarding rents in lockbox (1700 Juneway) and                           0.2          0.2      $78.00
2018        Operations                                       communications with property manager (.2)
November    Business                11/06/18 KBD         390 draft correspondence to property manager regarding collected rent and recent repair ( .1)              0.1         0.05      $19.50
2018        Operations
November    Business                11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708          $1.31
2018        Operations                                       and accounting for rent, and communications with property manager (.3)

November    Business                11/07/18 KBD         390 study correspondence from E. Duff regarding transfer of lockbox ran to property manager)               0.2          0.2      $78.00
2018        Operations                                       and transfer of escrow funds to other property manager (.2)
November    Business                11/11/18 KBD         390 Study correspondence from E. Duff regarding financial reporting from property manager                  0.1 0.0025641          $1.00
2018        Operations                                       (Paper Street).
November    Business                11/14/18 KBD         390 study correspondence from property manager regarding property visits and construction                  0.2 0.0285714         $11.14
2018        Operations                                       reserve funds (.2).
November    Business                11/16/18 KBD         390 study property manager financial reporting (.4)                                                        0.4 0.0102564          $4.00
2018        Operations


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November    Business                11/16/18 KBD         390 study various financial reporting from property manager and communications to various                0.2 0.0052632          $2.05
2018        Operations                                       lenders' representatives (.2)
November    Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial              0.1 0.0009346          $0.36
2018        Operations                                       reporting and communications with asset manager (.1).
November    Business                11/20/18 KBD         390 Draft correspondence to property manager representative regarding status of real estate              0.1 0.0026316          $1.03
2018        Operations                                       taxes ( .1)
November    Business                11/20/18 KBD         390 study correspondence from A. Porter regarding same (.1)                                              0.1 0.0026316          $1.03
2018        Operations
November    Business                11/20/18 KBD         390 review correspondence from lender's representative regarding appraiser inspection request            0.2          0.1      $39.00
2018        Operations                                       and exchange correspondence with E. Duff regarding same (.2).

November    Claims                  11/12/18 KBD         390 study financial reporting (.4)                                                                       0.4 0.0102564          $4.00
2018        Administration
            & Objections

November    Claims                  11/21/18 KBD         390 study correspondence from E. Duff and property managers regarding lenders' requests for              0.3         0.15      $58.50
2018        Administration                                   access to properties and financial reporting (.3).
            & Objections

November    Claims                  11/27/18 KBD         390 study correspondence from property manager, lender's inspector, and E. Duff regarding                0.2          0.2      $78.00
2018        Administration                                   property inspection (1700 Juneway) (.2).
            & Objections

November    Asset                   11/16/18 AW          140 email broker regarding same (.1).                                                                    0.1 0.0026316          $0.37
2018        Disposition
November    Asset                   11/16/18 AW          140 Attention to email regarding additional reports from management company (.1)                         0.1 0.0026316          $0.37
2018        Disposition
November    Asset                   11/26/18 NM          260 correspond with E. Duff regarding two properties and status of evaluation of same (.1)               0.1         0.05      $13.00
2018        Disposition
November    Business                11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of          0.6 0.0067416          $2.63
2018        Operations                                       related documents (.6).
November    Business                11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                0.1 0.0011236          $0.44
2018        Operations
November    Business                11/02/18 ED          390 review of related documents and financial information (.8)                                           0.8 0.0205128          $8.00
2018        Operations
November    Business                11/02/18 ED          390 email correspondence with property manager regarding financial reporting and source of               0.6 0.0153846          $6.00
2018        Operations                                       funds in lockbox (.6)
November    Business                11/02/18 ED          390 Review property income reporting information (.5)                                                    0.5 0.0131579          $5.13
2018        Operations
November    Business                11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                             0.5    0.005618        $2.19
2018        Operations
November    Business                11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                0.7 0.0078652          $3.07
2018        Operations                                       Receiver (.7)


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
November    Business                11/05/18 ED          390 Review and discuss financial reporting with property manager.                                       0.8 0.0205128          $8.00
2018        Operations
November    Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                  0.5 0.0046729          $1.82
2018        Operations
November    Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037          $1.09
2018        Operations
November    Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and             0.2 0.0018692          $0.73
2018        Operations                                       property inspections by lenders (.2)
November    Business                11/07/18 ED          390 Call to accountant regarding property income and expense details (.4)                               0.4          0.2      $78.00
2018        Operations
November    Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421          $2.55
2018        Operations                                       related issues (.7)
November    Claims                  11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337         $28.48
2018        Administration                                   transfer, financing, and management of properties subsumed within lender motion to
            & Objections                                     enforce assignments of rents and leases.

November    Claims                  11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427       $22.79
2018        Administration                                   opposition brief (5.2).
            & Objections

November    Claims                  11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899         $10.96
2018        Administration                                   acquisition, transfer, financing, and management of properties subsumed within lender's
            & Objections                                     motion to enforce assignments of rents and leases (2.5)

November    Claims                  11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618         $19.72
2018        Administration                                   prepare text of affidavit (4.5)
            & Objections

November    Claims                  11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427         $10.08
2018        Administration                                   enforce assignments of rents and leases (2.3)
            & Objections

November    Claims                  11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888          $3.51
2018        Administration                                   opposition memorandum (.8).
            & Objections

November    Claims                  11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303          $6.13
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
November    Claims                  11/06/18 AEP         390 study and revise brief (2.3).                                                                         2.3 0.0258427         $10.08
2018        Administration
            & Objections

November    Claims                  11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender             1.0    0.011236        $4.38
2018        Administration                                   motion to enforce assignments of rents and leases (1.0)
            & Objections

November    Claims                  11/12/18 ED          390 Review financial reporting and loan documentation relating to preparation of response to              2.3 0.0589744         $23.00
2018        Administration                                   motion of lender and confer with M. Rachlis regarding same (2.3)
            & Objections

November    Claims                  11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                       0.3 0.0033708          $1.31
2018        Administration
            & Objections

November    Claims                  11/17/18 MR          390 attention to various issues from hearing (.3).                                                        0.3 0.0033708          $1.31
2018        Administration
            & Objections

November    Claims                  11/26/18 ED          390 confer with N. Mirjanich regarding current information relating to mortgaged properties (.3)          0.3         0.15      $58.50
2018        Administration
            & Objections

November    Claims                  11/26/18 ED          390 Call with lender regarding questions relating to loans and mortgaged properties (.4)                  0.4          0.2      $78.00
2018        Administration
            & Objections

November    Claims                  11/26/18 ED          390 email correspondence regarding lender's property inspections (.4).                                    0.4          0.2      $78.00
2018        Administration
            & Objections

November    Claims                  11/27/18 ED          390 Email correspondence with property manager regarding property inspections for lender.                 0.2          0.1      $39.00
2018        Administration
            & Objections

November    Claims                  11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                          0.4 0.0044944          $1.75
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
November    Claims                  11/27/18 MR          390 attention to letter from creditors (.2)                                                                 0.2 0.0022472          $0.88
2018        Administration
            & Objections

December    Business                12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                    0.1 0.0009434          $0.37
2018        Operations
December    Business                12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                         0.4 0.0037736          $1.47
2018        Operations                                       representatives regarding property portfolio (.4)
December    Business                12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                    0.7 0.0066038          $2.58
2018        Operations
December    Business                12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                             0.4 0.0037383          $1.46
2018        Operations
December    Business                12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509          $5.52
2018        Operations                                       repair planning, and receivership activities (1.5)
December    Business                12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346          $0.36
2018        Operations
December    Business                12/19/18 KBD         390 study correspondence from property manager regarding financial reporting for lenders (.2)               0.2 0.0051282          $2.00
2018        Operations
December    Claims                  12/05/18 KBD         390 office conference with and study correspondence from E. Duff regarding property                         0.4 0.0133333          $5.20
2018        Administration                                   inspections and communications with lenders counsel and representatives (.4).
            & Objections

December    Claims                  12/06/18 KBD         390 Office conference with M. Rachi is, E. Duff, and N. Mirjanich regarding various lender issues,          2.7         0.09      $35.10
2018        Administration                                   EB lender statements of account and buyout reports, priority issues, lender fees, costs, and
            & Objections                                     penalties, and various related issues.

December    Claims                  12/07/18 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding lender inquiry regarding                  0.3         0.01       $3.90
2018        Administration                                   property manager accounting issues (.3)
            & Objections

December    Claims                  12/07/18 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding property visits and                       0.3         0.01       $3.90
2018        Administration                                   inspections (.3).
            & Objections

December    Claims                  12/11/18 KBD         390 study correspondence from lender's representative regarding property renovation work (.1).              0.1         0.05      $19.50
2018        Administration
            & Objections

December    Claims                  12/13/18 KBD         390 Study CLO motion for relief from stay (.1)                                                              0.1 0.0333333         $13.00
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
December    Claims                  12/17/18 KBD             390 exchange correspondence and office conference with M. Rachlis and E. Duff regarding lender              0.3         0.01       $3.90
2018        Administration                                       property access requests and associated costs (.3)
            & Objections

December    Business                12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151         $10.30
2018        Operations                                           issues (2.8)
December    Business                12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434          $0.37
2018        Operations
December    Business                12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642          $3.19
2018        Operations                                           to address City violations and his plan for same (1.3)
December    Business                12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302          $0.74
2018        Operations
December    Business                12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868          $0.26
2018        Operations
December    Business                12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019         $11.04
2018        Operations                                           with K. Duff and N. Mirjanich.
December    Business                12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018        Operations                                           Rachlis and K. Duff regarding same (2.5)
December    Business                12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018        Operations                                           removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December    Business                12/13/18 AW              140 attention to motion to modify order appointing receiver filed by creditor and forward same              0.1 0.0333333          $4.67
2018        Operations                                           to K. Duff (.1).
December    Business                12/13/18 MR              390 Attention to motion on lien.                                                                            0.2 0.0666667         $26.00
2018        Operations
December    Business                12/13/18 NM              260 study motion filed by creditor and draft correspondence sending same to receivership team               0.2 0.0666667         $17.33
2018        Operations                                           (.2).
December    Business                12/16/18 MR              390 prepare for upcoming status and motion hearing (.4).                                                    0.4 0.1333333         $52.00
2018        Operations
December    Business                12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472          $0.88
2018        Operations
December    Business                12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652          $3.07
2018        Operations
December    Business                12/21/18 ED              390 Review November property financial reporting for mortgaged properties.                                  0.9 0.0236842          $9.24
2018        Operations
December    Business                12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391          $2.40
2018        Operations                                           properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December    Business                12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708          $1.31
2018        Operations




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December    Claims                  12/05/18 ED          390 Calls and email correspondence with counsel and property managers regarding access to                 5.2 0.1733333         $67.60
2018        Administration                                   properties by lenders' inspectors, review of related documentation and correspondence.
            & Objections

December    Claims                  12/06/18 ED          390 Email correspondence with counsel, inspectors, and property managers regarding lenders'               2.7         0.09      $35.10
2018        Administration                                   inspections (2.7)
            & Objections

December    Claims                  12/06/18 ED          390 review of related loan documents (.4)                                                                 0.4 0.0133333          $5.20
2018        Administration
            & Objections

December    Claims                  12/06/18 ED          390 review and reply to correspondence from counsel and appraisers regarding financial                    1.8         0.06      $23.40
2018        Administration                                   reporting for properties (1.8)
            & Objections

December    Claims                  12/06/18 MR          390 Prepare for and participate in meetings on various matters involving issues on requests from          2.7         0.09      $35.10
2018        Administration                                   secured creditors and follow up regarding same (2.7)
            & Objections

December    Claims                  12/06/18 MR          390 follow up on various emails and requests from secured creditors and conferences with E.Duff           1.0 0.0333333         $13.00
2018        Administration                                   regarding same (1.0).
            & Objections

December    Claims                  12/07/18 ED          390 Review and respond to inquiries from lenders' counsel (.8)                                            0.8 0.0266667         $10.40
2018        Administration
            & Objections

December    Claims                  12/07/18 ED          390 review and reply to emails regarding property access requested by lenders (1.5).                      1.5         0.05      $19.50
2018        Administration
            & Objections

December    Claims                  12/07/18 MR          390 Follow up and work on various issues regarding responses to creditors on reporting and                1.0    0.011236        $4.38
2018        Administration                                   other issues.
            & Objections

December    Claims                  12/10/18 ED          390 Review and reply to messages from lenders counsel regarding financial reporting and                   4.4 0.1466667         $57.20
2018        Administration                                   property visits (4.4)
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December    Claims                  12/11/18 ED          390 review and reply to questions and requests from lenders (.6).                                         0.6         0.02       $7.80
2018        Administration
            & Objections

December    Claims                  12/12/18 ED          390 Review and respond to additional requests from lenders for additional access to previously            0.8 0.0266667         $10.40
2018        Administration                                   visited property and for change of date for property visit.
            & Objections

December    Claims                  12/13/18 ED          390 Emails and calls with property managers, inspectors, and counsel regarding access to                  1.9 0.0633333         $24.70
2018        Administration                                   properties for lenders.
            & Objections

December    Claims                  12/14/18 ED          390 Review and reply to email from lenders' counsel regarding property access.                            1.0 0.0333333         $13.00
2018        Administration
            & Objections

December    Claims                  12/17/18 ED          390 Review and reply to correspondence from lender's counsel and appraisers regarding access              0.4 0.0133333          $5.20
2018        Administration                                   to properties for inspection (.4)
            & Objections

December    Claims                  12/17/18 ED          390 review and reply to correspondence from lender's counsel regarding access to properties for           0.8 0.0266667         $10.40
2018        Administration                                   appraisals (.8)
            & Objections

December    Claims                  12/17/18 ED          390 confer with K. Duff and M. Rachlis regarding lenders' property access and related costs (.9)          0.9         0.03      $11.70
2018        Administration
            & Objections

December    Claims                  12/17/18 ED          390 review documents and correspondence and calls with property manager regarding property                0.6         0.02       $7.80
2018        Administration                                   managers' charges for visits by lenders' inspectors and appraisers (.6)
            & Objections

December    Claims                  12/17/18 ED          390 review documents and correspondence and calls with property manager regarding property                0.6         0.02       $7.80
2018        Administration                                   managers' charges for visits by lenders' inspectors and appraisers (.6)
            & Objections

December    Claims                  12/18/18 ED          390 email correspondence with lender's counsel regarding access to property for appraisal (.2)            0.2 0.0066667          $2.60
2018        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December    Claims                  12/18/18 ED          390 email correspondence with Receiver and M. Rachlis regarding requests for property access              0.2 0.0066667          $2.60
2018        Administration                                   from lenders' counsel (.2)
            & Objections

December    Claims                  12/18/18 ED          390 confer with Receiver and counsel regarding proposal for access to properties (.3)                     0.3         0.01       $3.90
2018        Administration
            & Objections

December    Claims                  12/19/18 ED          390 Review and reply to correspondence regarding access to properties for lender appraisals (.7)          0.7 0.0233333          $9.10
2018        Administration
            & Objections

December    Claims                  12/20/18 ED          390 Email correspondence with lender's counsel regarding property access for appraisals.                  0.2 0.0066667          $2.60
2018        Administration
            & Objections

January     Business                01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708          $1.31
2019        Operations
January     Business                01/15/19 KBD         390 study property manager financial reporting (.5)                                                       0.5 0.0128205          $5.00
2019        Operations
January     Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434          $0.37
2019        Operations
January     Business                01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708          $1.31
2019        Operations
January     Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868          $0.74
2019        Operations                                       officials regarding scofflaw list (.2).
January     Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434          $0.37
2019        Operations                                       portfolio compliance and disposition issues (.1)
January     Business                01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                         0.2 0.0022472          $0.88
2019        Operations
January     Business                01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                           0.1 0.0011236          $0.44
2019        Operations
January     Business                01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                 1.5 0.0168539          $6.57
2019        Operations
January     Business                01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge           0.3 0.0033708          $1.31
2019        Operations                                       Kim and preparation for meeting with lenders' counsel (.3).
January     Claims                  01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                 0.1 0.0011236          $0.44
2019        Administration                                   (.1)
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
January     Claims                  01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                                    0.3 0.0033708          $1.31
2019        Administration
            & Objections

January     Claims                  01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                         0.4 0.0044944          $1.75
2019        Administration                                   preparation for meeting regarding same (.4)
            & Objections

January     Claims                  01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416          $2.63
2019        Administration
            & Objections

January     Claims                  01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                            0.1 0.0011236          $0.44
2019        Administration                                   correspondence with real estate broker regarding same (.1)
            & Objections

January     Claims                  01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618        $2.19
2019        Administration                                   regarding same (.5).
            & Objections

January     Claims                  01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955          $9.20
2019        Administration                                   (2.1)
            & Objections

January     Claims                  01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618        $2.19
2019        Administration                                   (.5).
            & Objections

January     Asset                   01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618        $2.19
2019        Disposition                                      properties with institutional debt.
January     Business                01/07/19 ED          390 Review and reply to questions and requests from lenders and counsel (1.6)                                 1.6          0.8     $312.00
2019        Operations
January     Business                01/07/19 ED          390 confer with Receiver regarding same (.2).                                                                 0.2          0.1      $39.00
2019        Operations
January     Business                01/07/19 ED          390 review related loan documents (.3)                                                                        0.3         0.15      $58.50
2019        Operations
January     Business                01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618        $2.19
2019        Operations                                       issues (.5)
January     Business                01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416          $2.63
2019        Operations
January     Business                01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831          $5.26
2019        Operations                                       with Receiver (1.2)




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
January     Business                01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)             0.1 0.0011236         $0.44
2019        Operations
January     Business                01/22/19 KMP         140 Prepare wire transfer request for payment of December rent expenses to property manager,               0.3 0.0076923         $1.08
2019        Operations                                       and conferences with K. Duff and communications with bank representative relating to
                                                             same.
January     Business                01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                0.3 0.0033708         $1.31
2019        Operations                                       assorted lenders' counsel (.3).
January     Business                01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                   0.4 0.0044944         $1.75
2019        Operations                                       lender's counsel to discuss questions for Receiver (.4)
January     Business                01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                    0.5    0.005618       $2.19
2019        Operations
January     Business                01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                             1.0    0.011236       $4.38
2019        Operations
January     Business                01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                   0.2 0.0022472         $0.88
2019        Operations                                       meeting.
January     Business                01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019        Operations
January     Business                01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019        Operations                                       1 meeting (.9)
January     Business                01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019        Operations
January     Business                01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019        Operations
January     Business                01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019        Operations                                       insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January     Business                01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019        Operations
January     Business                01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019        Operations
January     Business                01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019        Operations                                       related exhibits and materials regarding same (4.6)
January     Business                01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019        Operations
January     Business                01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019        Operations
January     Business                01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019        Operations
January     Business                01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019        Operations                                       including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January     Business                01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                     0.5    0.005618       $2.19
2019        Operations                                       assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).
January     Business                01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with                1.7 0.0191011         $7.45
2019        Operations                                       lenders' motion to enforce assignment of rents and leases (1.7)
January     Business                01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                    0.7 0.0078652         $3.07
2019        Operations                                       meeting with lenders' counsel (.7).
January     Business                01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                      6.0 0.0674157        $26.29
2019        Operations
January     Business                01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                               1.7 0.0191011         $7.45
2019        Operations
January     Claims                  01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                              0.2 0.0022472         $0.88
2019        Administration
            & Objections

January     Claims                  01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019        Administration                                   meeting with lenders (.5).
            & Objections

January     Claims                  01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019        Administration
            & Objections

January     Claims                  01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019        Administration                                   meeting with lenders and attention to various issues and e-mails regarding upcoming
            & Objections                                     meeting with lenders.

January     Claims                  01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019        Administration
            & Objections

January     Claims                  01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019        Administration
            & Objections

February    Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019        Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February    Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019        Disposition
February    Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019        Disposition




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
February    Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                       0.6 0.0056604          $2.21
2019        Disposition
February    Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                     0.3 0.0028037          $1.09
2019        Operations
February    Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich             0.4 0.0037383          $1.46
2019        Operations                                       (.4)
February    Business                02/08/19 KBD         390 study correspondence from property manager and E. Duff regarding financial reporting (.2).             0.2 0.0051282          $2.00
2019        Operations
February    Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                  0.1 0.0009346          $0.36
2019        Operations
February    Business                02/11/19 KBD         390 exchange correspondence with E. Duff regarding real estate taxes (.1)                                  0.1         0.05      $19.50
2019        Operations
February    Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                0.1 0.0009346          $0.36
2019        Operations                                       issue (.1).
February    Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                0.1 0.0009346          $0.36
2019        Operations                                       representative (.1)
February    Business                02/15/19 KBD         390 study property manager financial reporting (.5).                                                       0.5 0.0128205          $5.00
2019        Operations
February    Business                02/21/19 KBD         390 study correspondence from E. Duff regarding property manager financial reporting (.1)                  0.1 0.0025641          $1.00
2019        Operations
February    Business                02/22/19 KBD         390 review correspondence from E. Duff regarding property managers financial reporting (.1).               0.1 0.0025641          $1.00
2019        Operations
February    Business                02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment            4.4 0.0494382         $19.28
2019        Operations                                       (4.4)
February    Business                02/25/19 KBD         390 study correspondence from E. Duff and property manager regarding net income information                0.3 0.0076923          $3.00
2019        Operations                                       and financial reporting (.3)
February    Business                02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                  0.2 0.0022472          $0.88
2019        Operations
February    Business                02/26/19 KBD         390 study property manager financial reporting (.4)                                                        0.4 0.0102564          $4.00
2019        Operations
February    Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                0.1 0.0009434          $0.37
2019        Operations                                       maintenance and repairs (.1)
February    Business                02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                1.3 0.0146067          $5.70
2019        Operations                                       regarding same (1.3)
February    Business                02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff          6.5 0.0730337         $28.48
2019        Operations                                       and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)
February    Business                02/28/19 KBD         390 study various financial reporting from property manager (.9)                                           0.9 0.0236842          $9.24
2019        Operations
February    Business                02/28/19 KBD         390 Exchange correspondence and telephone conference with property manager regarding real                  0.3 0.0076923          $3.00
2019        Operations                                       estate taxes (.3)
February    Business                02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)           0.5    0.005618        $2.19
2019        Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
February    Business                02/28/19 KBD             390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236          $0.44
2019        Operations                                           (.1)
February    Business                02/28/19 KBD             390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618        $2.19
2019        Operations                                           spreadsheets regarding real estate tax analysis and study same (.5)
February    Business                02/28/19 KBD             390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303          $6.13
2019        Operations                                           taxes (1.4)
February    Business                02/28/19 KBD             390 study financial reporting from property manager (.3)                                                    0.3 0.0076923          $3.00
2019        Operations
February    Claims                  02/01/19 KBD             390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787         $14.46
2019        Administration                                       regarding same (3.3)
            & Objections

February    Claims                  02/01/19 KBD             390 study mortgage loan summary (.2)                                                                        0.2 0.0022472          $0.88
2019        Administration
            & Objections

February    Claims                  02/01/19 KBD             390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303          $6.13
2019        Administration
            & Objections

February    Claims                  02/02/19 KBD             390 Study briefs regarding rent issue.                                                                      0.5    0.005618        $2.19
2019        Administration
            & Objections

February    Claims                  02/19/19 KBD             390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091          $1.33
2019        Administration                                       preparation of reporting (.3)
            & Objections

February    Claims                  02/20/19 KBD             390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                    0.3 0.0033708          $1.31
2019        Administration                                       regarding same (.3).
            & Objections

February    Claims                  02/21/19 KBD             390 telephone conference with property manager and E. Duff regarding rent accounting and                    0.4 0.0102564          $4.00
2019        Administration                                       reporting to comply with court order (.4).
            & Objections

February    Asset                   02/28/19 JR              140 review spreadsheets for lender regarding taxes that have been paid for applicable properties            0.5         0.05       $7.00
2019        Disposition                                          (.5)
February    Business                02/01/19 AW              140 Preparation to meeting with institutional lenders' counsel.                                             0.5    0.005618        $0.79
2019        Operations
February    Business                02/01/19 ED              390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                              3.3 0.0370787         $14.46
2019        Operations




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February    Business                02/01/19 ED              390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303          $6.13
2019        Operations                                           (1.4)
February    Business                02/07/19 ED              390 review notes and documents regarding outstanding inquiries from various lenders and                       0.6 0.0315789         $12.32
2019        Operations                                           counsel regarding mortgaged properties (.6).
February    Business                02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019        Operations                                           violation (.2)
February    Business                02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019        Operations                                           in receivership portfolio (1.9).
February    Business                02/08/19 ED              390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618        $2.19
2019        Operations
February    Business                02/11/19 ED              390 Review comments on draft correspondence to lender regarding financial reporting (.2)                      0.2          0.1      $39.00
2019        Operations
February    Business                02/12/19 ED              390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652          $3.07
2019        Operations                                           from institutional lenders (.7).
February    Business                02/14/19 ED              390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909          $8.42
2019        Operations                                           rents by property (1.9)
February    Business                02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                              0.5    0.005618        $2.19
2019        Operations
February    Business                02/19/19 ED              390 call with property manager and K. Duff regarding segregation of rents for properties and                  0.4 0.0102564          $4.00
2019        Operations                                           related reporting issues (.4)
February    Business                02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019        Operations
February    Business                02/21/19 ED              390 call and email correspondence with A. Porter regarding operating expenses (.2)                            0.2 0.0051282          $2.00
2019        Operations
February    Business                02/21/19 ED              390 Call with property manager and K. Duff regarding accounting procedures (.6)                               0.6 0.0153846          $6.00
2019        Operations
February    Business                02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019        Operations
February    Business                02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                         0.2 0.0022472          $0.88
2019        Operations
February    Business                02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                               2.3 0.0258427         $10.08
2019        Operations
February    Business                02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                                0.2 0.0022472          $0.88
2019        Operations
February    Business                02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                                 0.1 0.0011236          $0.44
2019        Operations
February    Business                02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                  0.1 0.0011236          $0.44
2019        Operations                                           information for properties (.1)
February    Business                02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel                0.7 0.0078652          $3.07
2019        Operations                                           (.7)
February    Business                02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                        0.8 0.0089888          $3.51
2019        Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February    Business                02/25/19 ED          390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382        $19.28
2019        Operations                                       taxes (4.4)
February    Business                02/25/19 ED          390 preparation for same (.8)                                                                               0.8 0.0089888         $3.51
2019        Operations
February    Business                02/25/19 KMP         140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868         $0.26
2019        Operations                                       with court order and issues relating to same (.2)
February    Business                02/25/19 MR          390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382        $19.28
2019        Operations                                       Duff, K. Duff, and A. Porter (4.4)
February    Business                02/25/19 NM          260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944         $1.17
2019        Operations
February    Business                02/26/19 ED          390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708         $1.31
2019        Operations
February    Business                02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652         $3.07
2019        Operations                                       counsel (.7)
February    Business                02/26/19 ED          390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337        $28.48
2019        Operations                                       (6.5)
February    Business                02/26/19 ED          390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944         $1.75
2019        Operations                                       manager, and preparation of document reflecting same (.4)
February    Business                02/26/19 MR          390 Attention to property tax related issues.                                                               4.5 0.0505618        $19.72
2019        Operations
February    Business                02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                   0.2 0.0022472         $0.88
2019        Operations                                       due and sources of funds (.2)
February    Business                02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of                6.5 0.0730337        $28.48
2019        Operations                                       same to determine available funds for payment of property taxes (6.5)
February    Business                02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                                 0.3 0.0028302         $1.10
2019        Operations
February    Business                02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                       0.3 0.0033708         $1.31
2019        Operations
February    Business                02/27/19 MR          390 review charts regarding same (.3)                                                                       0.3 0.0033708         $1.31
2019        Operations
February    Business                02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings                5.0 0.0561798        $21.91
2019        Operations                                       with K. Duff and E. Duff regarding same (5.0).
February    Business                02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related                 1.3 0.0146067         $5.70
2019        Operations                                       submissions and payments (1.3)
February    Business                02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders                 0.3 0.0033708         $0.88
2019        Operations                                       with respect to escrow amounts (.3)
February    Business                02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to              0.2 0.0022472         $0.58
2019        Operations                                       costs to cure code violations (.2).
February    Business                02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes               1.8 0.0202247         $7.89
2019        Operations                                       and review and analysis of documentation provided (1.8)
February    Business                02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                   0.5    0.005618       $2.19
2019        Operations                                       estate taxes (.5)




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February    Business                02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019        Operations                                       funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February    Business                02/28/19 KMP         140 communications with K. Duff, N. Mirjanich and J. Rak regarding payment of 2018 delinquent             0.3 0.0272727         $3.82
2019        Operations                                       property taxes for certain receivership properties and related issues (.3).

February    Business                02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019        Operations                                       various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)
February    Business                02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019        Operations
February    Business                02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019        Operations                                       property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).
February    Business                02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019        Operations                                       counsel (.2)
February    Claims                  02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019        Administration
            & Objections

February    Claims                  02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                                1.8 0.0202247         $7.89
2019        Administration
            & Objections

February    Claims                  02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                      3.3 0.0370787        $14.46
2019        Administration
            & Objections

February    Claims                  02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                       0.1 0.0011236         $0.44
2019        Administration
            & Objections

February    Claims                  02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications                1.5 0.0168539         $6.57
2019        Administration                                   regarding same.
            & Objections

February    Claims                  02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to                 0.5    0.005618       $1.46
2019        Administration                                   institutional lenders prior to filing pursuant to request.
            & Objections




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
February    Claims                  02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                        0.3 0.0033708         $1.31
2019        Administration
            & Objections

February    Claims                  02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                             0.2 0.0022472         $0.88
2019        Administration
            & Objections

February    Claims                  02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                           1.0    0.011236       $4.38
2019        Administration
            & Objections

February    Claims                  02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                               0.2 0.0022472         $0.88
2019        Administration
            & Objections

February    Claims                  02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                          0.5    0.005618       $2.19
2019        Administration
            & Objections

February    Claims                  02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)             0.8 0.0089888         $3.51
2019        Administration
            & Objections

March 2019 Asset                    03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of             0.1 0.0009804         $0.38
           Disposition                                       properties for sale (.1)
March 2019 Asset                    03/07/19 KBD         390 draft correspondence to broker same (.1)                                                           0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,          0.3 0.0032609         $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax              0.1 0.0009346         $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                               0.2 0.0018692         $0.73
           Operations
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                   0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 draft correspondence to property manager regarding accounting, reporting, and compliance           0.8 0.0205128         $8.00
           Operations                                        with Court's order regarding rent (.8)
March 2019 Business                 03/01/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                              0.1 0.0025641         $1.00
           Operations
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)              0.2 0.0022727         $0.89
           Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/05/19 KBD         390 telephone conference with property manager and E. Duff regarding property financial                   0.9 0.0230769          $9.00
           Operations                                        information, expenses, and accounting procedures (.9)
March 2019 Business                 03/05/19 KBD         390 exchange correspondence with property manager regarding call to discuss accounting                    0.1 0.0025641          $1.00
           Operations                                        practices (.1)
March 2019 Business                 03/05/19 KBD         390 office conference with E. Duff regarding same (.1)                                                    0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346          $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/12/19 KBD         390 study correspondence from property manager regarding cash balances and cash flow (.2).                0.2 0.0051282          $2.00
           Operations
March 2019 Business                 03/12/19 KBD         390 Study property manager financial reports and profit and loss reporting (.2)                           0.2 0.0051282          $2.00
           Operations
March 2019 Business                 03/13/19 KBD         390 draft correspondence to property manager regarding cash flow and property management                  0.1 0.0025641          $1.00
           Operations                                        issues and exchange correspondence with M. Rachlis regarding same (.1).

March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909          $3.55
           Operations
March 2019 Business                 03/19/19 KBD         390 Telephone conference with property manager regarding use of net operating income to pay               0.2 0.0051282          $2.00
           Operations                                        outstanding taxes or for other property repair or improvements (.2)

March 2019 Business                 03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182          $2.66
           Operations                                        reporting for lenders and study form of report (.6)
March 2019 Business                 03/19/19 KBD         390 exchange correspondence with property manager regarding funds for property use (.1)                   0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conference with E. Duff regarding same (.1)                                                 0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conference with property manager and E. Duff regarding property management,                 0.5 0.0128205          $5.00
           Operations                                        property financial analysis, proceeds from sale, timing, court hearing on real estate sale
                                                             motions, and property manager receivable (.5)
March 2019 Business                 03/20/19 KBD         390 Discuss property manager work with M. Rachlis (.4)                                                    0.4 0.0102564          $4.00
           Operations
March 2019 Business                 03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091          $1.33
           Operations
March 2019 Business                 03/21/19 KBD         390 study property manager financial reporting and draft correspondence to asset manager                  0.4 0.0102564          $4.00
           Operations                                        regarding same (.4)
March 2019 Business                 03/21/19 KBD         390 evaluation of cash reserves and payment of real estate taxes and exchange correspondence              0.3          0.3     $117.00
           Operations                                        with E. Duff regarding same (.3)
March 2019 Business                 03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for              0.3 0.0034091          $1.33
           Operations                                        lenders and study draft report form (.3)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/21/19 KBD         390 study correspondence from property manager regarding CHA move-in (.1)                                 0.1          0.1      $39.00
           Operations
March 2019 Business                 03/21/19 KBD         390 analysis of cash reserve, potential sources, and payment of real estate taxes (1700 Juneway)          0.2          0.2      $78.00
           Operations                                        and draft correspondence to E. Duff regarding potential communication with lender's
                                                             counsel regarding same (.2)
March 2019 Business                 03/22/19 KBD         390 study profit and loss information from property manager (.2)                                          0.2 0.0052632          $2.05
           Operations
March 2019 Business                 03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial              0.2 0.0022727          $0.89
           Operations                                        reporting by property (.2)
March 2019 Business                 03/26/19 KBD         390 Study correspondence from property manager and exchange correspondence with asset                     0.4 0.0102564          $4.00
           Operations                                        manager regarding property costs analysis and planning (.4)
March 2019 Business                 03/27/19 KBD         390 exchange correspondence with property manager regarding CHA move- ins and tax                         1.1          1.1     $429.00
           Operations                                        payments and office conferences with E. Duff regarding same (1.1)
March 2019 Business                 03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                  0.4 0.0045455          $1.77
           Operations                                        property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Business                 03/28/19 KBD         390 exchange correspondence with M. Rachlis and E. Duff regarding property manager and use                0.2          0.2      $78.00
           Operations                                        of net operating income to cover property expenses (.2)
March 2019 Business                 03/28/19 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding proposal for addressing                 1.3 0.0333333         $13.00
           Operations                                        property management and cash flow (1.3)
March 2019 Business                 03/28/19 KBD         390 study analysis of negative cash flow and telephone conference with asset management                   0.3 0.0076923          $3.00
           Operations                                        representative regarding same (.3)
March 2019 Business                 03/28/19 KBD         390 various discussions with E. Duff and A. Porter regarding same (.7)                                    0.7 0.0179487          $7.00
           Operations
March 2019 Business                 03/28/19 KBD         390 Telephone conference and exchange correspondence with property manager regarding                      1.5 0.0384615         $15.00
           Operations                                        unpaid expenses, payment concerns, and determining means of continuing with property
                                                             management (1.5)
March 2019 Business                 03/28/19 KBD         390 draft correspondence to property manager regarding same (.4).                                         0.4 0.0102564          $4.00
           Operations
March 2019 Business                 03/28/19 KBD         390 exchange correspondence with E. Duff regarding property manager fund transfer (.2)                    0.2 0.0051282          $2.00
           Operations
March 2019 Business                 03/29/19 KBD         390 study correspondence from property manager regarding proposal to resolve property                     0.3 0.0076923          $3.00
           Operations                                        management and expense issues (.3)
March 2019 Claims                   03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial                0.3 0.0034091          $1.33
           Administration                                    reporting for lenders (.3)
           & Objections

March 2019 Claims                   03/29/19 KBD         390 Study and revise response to lenders' objections to claims process (2.2)                              2.2 0.0247191          $9.64
           Administration
           & Objections

March 2019 Asset                    03/06/19 AEP         390 conference calls with prospective new title company underwriter regarding overview of sales           0.5    0.005102        $1.99
           Disposition                                       process and potential substitution for current title insurer (.5)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated       Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours            Fees
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                      1.7 0.0173469             $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048             $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/27/19 MR              390 conferences regarding issues on closing costs and issues on property management (1.0).                1.0               1     $390.00
           Disposition
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187             $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 KMP             140 communications with K. Duff and J. Rak regarding payment of 2018 delinquent property                  0.9 0.0818182            $11.45
           Operations                                            taxes for certain receivership properties, and prepare numerous checks for payment of same
                                                                 (.9).
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011             $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 ED              390 email correspondence lender regarding property tax payments (.2).                                     0.2          0.1         $39.00
           Operations
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888             $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818             $2.22
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182             $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 KMP             140 review ledger to track receipts and disbursements to property manager for status                      0.2 0.0051282             $0.72
           Operations                                            communication with lenders (.2)
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182             $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 email correspondence with lender regarding funds available for payment of real estate taxes           0.6          0.3        $117.00
           Operations                                            and review of related documentation regarding lender held reserves (.6)

March 2019 Business                 03/05/19 ED              390 update tax and reserve analysis (1.1)                                                                 1.1         0.55        $214.50
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416             $2.63
           Operations
March 2019 Business                 03/05/19 ED              390 call with K. Duff and property manager regarding accounting for properties net income and             0.9 0.0230769             $9.00
           Operations                                            net loss (.9)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692             $0.26
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224             $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346             $0.36
           Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/06/19 ED          390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775          $7.01
           Operations
March 2019 Business                 03/06/19 ED          390 review information regarding premium calculations for each property and email                         0.6 0.0068182          $2.66
           Operations                                        correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                 03/06/19 ED          390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091          $1.33
           Operations                                        (.3)
March 2019 Business                 03/06/19 ED          390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708          $1.31
           Operations
March 2019 Business                 03/06/19 ED          390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091          $1.33
           Operations
March 2019 Business                 03/06/19 ED          390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455          $1.77
           Operations                                        reports to lenders (.4)
March 2019 Business                 03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346          $0.24
           Operations
March 2019 Business                 03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545          $3.10
           Operations
March 2019 Business                 03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091          $6.20
           Operations                                        accounting reports (1.4)
March 2019 Business                 03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091          $6.20
           Operations                                        accounting reports to lenders (1.4)
March 2019 Business                 03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455          $1.77
           Operations                                        information for lender accounting reports (.4)
March 2019 Business                 03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818          $2.22
           Operations                                        same (.5)
March 2019 Business                 03/14/19 MR          390 Conference with E. Duff and K. Duff regarding issues with property managers.                          1.0    0.025641       $10.00
           Operations
March 2019 Business                 03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455          $1.77
           Operations                                        reports (.4)
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091          $1.33
           Operations                                        performance at each property (.3)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224          $4.37
           Operations                                        (1.8)
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545          $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 conference call with lender and M. Rachlis (.6)                                                       0.6          0.3     $117.00
           Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and             0.1 0.0011364          $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                          0.9 0.0102273          $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                   0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                              1.0 0.0113636          $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                              1.0 0.0113636          $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 Participate in call regarding properties with E. Duff (.6)                                           0.6 0.0153846          $6.00
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692          $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)             0.7 0.0079545          $3.10
           Operations
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                            0.8 0.0090909          $3.55
           Operations
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                   0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 call with property manager with K. Duff to discuss property expenses (.6).                           0.6 0.0153846          $6.00
           Operations
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                          0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,              0.7 0.0079545          $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                          0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                             0.3 0.0034091          $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                          0.4 0.0045455          $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                      1.1      0.0125        $4.88
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                   0.5 0.0056818          $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 MR          390 attention to issues on payment of insurance premiums and conferences regarding same (.3).            0.3          0.3     $117.00
           Operations
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)          1.1      0.0125        $4.88
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form            0.2 0.0022727          $0.89
           Operations                                        of accounting report (.2)


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364          $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909          $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 review financial reports and lender reserves relating to payment of real estate taxes (1700            0.3          0.3     $117.00
           Operations                                        Juneway), and email to K. Duff and M. Rachlis regarding same (.3).
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727          $0.59
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727          $0.59
           Operations                                        (.2)
March 2019 Business                 03/22/19 AW          140 follow up with K. Duff and confer regarding accounting information and review spreadsheet              0.3 0.0078947          $1.11
           Operations                                        (.3)
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346          $0.13
           Operations
March 2019 Business                 03/22/19 ED          390 call with property manager regarding same (.1).                                                        0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717        $1.84
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302          $1.10
           Operations
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868          $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                           0.5 0.0056818          $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                     0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                    2.0 0.0227273          $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports            0.9 0.0102273          $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                     0.3 0.0034091          $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property                0.3 0.0034091          $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                   0.9 0.0102273          $3.99
           Operations
March 2019 Business                 03/28/19 AEP         390 conference with K. Duff and E. Duff regarding options for resolving accounts receivable                2.5 0.0641026         $25.00
           Operations                                        issues (2.5)


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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/28/19 AEP         390 conference call with K. Duff and property management company principals regarding                     0.8 0.0205128          $8.00
           Operations                                        property management company issue (.8)
March 2019 Business                 03/28/19 ED          390 review and revise draft agreement (.4)                                                                0.4 0.0102564          $4.00
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff (.2)                                                                              0.2          0.2      $78.00
           Operations
March 2019 Business                 03/28/19 ED          390 call with property manager regarding sources of funds for payment of property taxes,                  0.7 0.0179487          $7.00
           Operations                                        utilities, and past due amounts to property manager (.7)
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                         0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                              1.8 0.0204545          $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                         1.6 0.0202532          $7.90
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                              0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties             0.2 0.0022727          $0.89
           Operations                                        (.2)
March 2019 Business                 03/28/19 ED          390 and calls with property advisor regarding same(.4)                                                    0.4          0.4     $156.00
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff and J. Rak regarding payment of property taxes (1700 Juneway) (.1)                0.1          0.1      $39.00
           Operations
March 2019 Business                 03/28/19 ED          390 review email correspondence from property manager regarding use of net rental income to               0.2          0.2      $78.00
           Operations                                        pay property taxes (.2)
March 2019 Business                 03/28/19 NM          260 correspond with K. Duff regarding property manager issue (.1).                                        0.1 0.0026316          $0.68
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain               0.2 0.0022727          $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                    1.2 0.0136364          $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                0.2 0.0022727          $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                   1.2 0.0136364          $5.32
           Operations
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                               0.8 0.0090909          $3.55
           Operations
March 2019 Claims                   03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized          0.2 0.0037736          $1.47
           Administration                                    properties (.2)
           & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2019 Claims                   03/28/19 MR          390 conferences and attention to various property related issues (.7)                                      0.7 0.2333333         $91.00
           Administration
           & Objections

March 2019 Claims                   03/29/19 MR          390 Attention to communications with lenders and regarding property related issues and review              0.7 0.2333333         $91.00
           Administration                                    and revise same (.7)
           & Objections

March 2019 Claims                   03/29/19 MR          390 conferences with K. Duff and E. Duff (.3)                                                              0.3          0.1      $39.00
           Administration
           & Objections

April 2019   Asset                  04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934          $2.57
             Disposition
April 2019   Asset                  04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912          $3.43
             Disposition
April 2019   Business               04/01/19 KBD         390 office conference with M. Rachlis regarding transfer of funds (.1)                                     0.1 0.0025641          $1.00
             Operations
April 2019   Business               04/01/19 KBD         390 telephone conference with property manager regarding property management and                           0.2 0.0051282          $2.00
             Operations                                      compensation options as well as confirmation of background relating to transfer of funds (.2)

April 2019   Business               04/01/19 KBD         390 office conference with K. Pritchard regarding wire transfer relating to same (.1)                      0.1 0.0025641          $1.00
             Operations
April 2019   Business               04/01/19 KBD         390 Telephone conference with property manager regarding continuation of property                          0.2 0.0051282          $2.00
             Operations                                      management while financing efforts ongoing (.2)
April 2019   Business               04/01/19 KBD         390 exchange correspondence with property manager regarding additional information                         0.1 0.0025641          $1.00
             Operations                                      requested relating to same (.1)
April 2019   Business               04/01/19 KBD         390 telephone conference with property manager regarding financing for property management                 0.2 0.0051282          $2.00
             Operations                                      work (.2)
April 2019   Business               04/01/19 KBD         390 study correspondence from property manager regarding real estate tax issue and exchange                0.2 0.0052632          $2.05
             Operations                                      correspondence with asset manager and A. Porter regarding same (.2)
April 2019   Business               04/01/19 KBD         390 exchange correspondence with N. Mirjanich and K. Pritchard regarding receivership                      0.4 0.0102564          $4.00
             Operations                                      expenses and accounting (.4)
April 2019   Business               04/01/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                    0.1 0.0025641          $1.00
             Operations                                      wire transfer to property manager (.1)
April 2019   Business               04/02/19 KBD         390 telephone conference with bank representative regarding wire transfer to property manager              0.1 0.0025641          $1.00
             Operations                                      (.1).
April 2019   Business               04/03/19 KBD         390 study correspondence from property manager regarding outstanding property management                   0.2 0.0051282          $2.00
             Operations                                      amounts (.2)
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/08/19 KBD         390 exchange correspondence with property manager regarding cross collateralized properties                0.2 0.0051282          $2.00
             Operations                                      (.2)


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
April 2019   Business               04/09/19 KBD         390 study correspondence from E. Duff regarding analysis of property-related transfers of funds               0.2 0.0051282          $2.00
             Operations                                      (.2).
April 2019   Business               04/09/19 KBD         390 study correspondence from property manager and exchange correspondence with E. Duff                       0.2 0.0051282          $2.00
             Operations                                      regarding accounting for wire transfers by property (.2)
April 2019   Business               04/11/19 KBD         390 telephone conference with bank representative regarding wire transfer for property                        0.2 0.0051282          $2.00
             Operations                                      expenses and exchange correspondence regarding same (.2)
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                        0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                     0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/15/19 KBD         390 additional work with other property manager regarding unpaid utility bills and efforts to                 0.3 0.0214286          $8.36
             Operations                                      obtain funding for property costs (.3)
April 2019   Business               04/16/19 KBD         390 draft correspondence to asset manager regarding assessment of net operating income and                    0.1 0.0071429          $2.79
             Operations                                      payment of outstanding bills (.1)
April 2019   Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)                  0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/17/19 KBD         390 exchange correspondence with property manager regarding same (.2).                                        0.2 0.0051282          $2.00
             Operations
April 2019   Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                            0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/18/19 KBD         390 study correspondence from K. Pritchard regarding payments to property manager (.1)                        0.1 0.0142857          $5.57
             Operations
April 2019   Business               04/18/19 KBD         390 telephone conferences and exchange correspondence with property manager regarding                         0.7          0.1      $39.00
             Operations                                      property manager expenses and payment requirements to continue management services
                                                             (including relating to 2909 E 78th, 8107 S Ellis, 8209 S Ellis, 1700 Juneway, 7255 Euclid, 11117
                                                             S. Longwood, and 7600 S Kingston) (.7)
April 2019   Business               04/19/19 KBD         390 Discussion and planning regarding property manager services with M. Rachlis (.5)                          0.5 0.0128205          $5.00
             Operations
April 2019   Business               04/19/19 KBD         390 further evaluation with M. Rachlis regarding same (.4)                                                    0.4 0.0102564          $4.00
             Operations
April 2019   Business               04/19/19 KBD         390 telephone conference with and exchange correspondence with property manager regarding                     0.5 0.0128205          $5.00
             Operations                                      property management services, payment of receivable, finance efforts, and accounting (.5)

April 2019   Business               04/19/19 KBD         390 telephone conference with regarding property manager issues (.2)                                          0.2 0.0051282          $2.00
             Operations
April 2019   Business               04/22/19 KBD         390 Work with asset manager, E. Duff, and M. Rachlis regarding asset management issues,                       1.8 0.0461538         $18.00
             Operations                                      managing expenses, and contingency planning (1.8)
April 2019   Business               04/22/19 KBD         390 study lender reports and discuss with E. Duff regarding corrections to same and                           0.2 0.0022727          $0.89
             Operations                                      communication with accounting firm representative relating to same (.2)
April 2019   Business               04/23/19 KBD         390 telephone conference with property manager regarding approval of sale of properties and                   0.2 0.0051282          $2.00
             Operations                                      payment of utility bills, and draft correspondence regarding same (.2)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/23/19 KBD             390 telephone conference with property management firm representative (.2)                                 0.2 0.0051282          $2.00
             Operations
April 2019   Business               04/24/19 KBD             390 analyze past due real estate taxes relative to net operating income and exchange                       0.4 0.0105263          $4.11
             Operations                                          correspondence with E. Duff and property manager regarding same (.4)
April 2019   Business               04/25/19 KBD             390 exchange correspondence with property manager regarding property expenses (.2)                         0.2 0.0051282          $2.00
             Operations
April 2019   Business               04/25/19 KBD             390 exchange correspondence with M. Rachlis regarding same and property sales (.2).                        0.2 0.0051282          $2.00
             Operations
April 2019   Business               04/26/19 KBD             390 exchange correspondence with property manager regarding payment for outstanding utility                0.2          0.1      $39.00
             Operations                                          bills (1700 Juneway and 11117 S Longwood) (.2)
April 2019   Business               04/26/19 KBD             390 telephone conference with bank representative regarding wire transfer relating to same (.1).           0.1         0.05      $19.50
             Operations
April 2019   Business               04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126          $1.14
             Operations                                          efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Business               04/29/19 KBD             390 office conference with A. Porter regarding communication with property manager regarding               0.4 0.0102564          $4.00
             Operations                                          payments, release of liens, and outstanding expenses (.4)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417          $0.76
             Operations                                          amounts (.2)
April 2019   Claims                 04/23/19 KBD             390 conference with lenders counsel regarding rent reporting and offer to discuss questions or             0.1 0.0025641          $1.00
             Administration                                      concerns with reporting (.1)
             & Objections

April 2019   Claims                 04/23/19 KBD             390 office conference with E. Duff regarding hearing before Judge Lee and lender rent reporting,           0.4 0.0102564          $4.00
             Administration                                      review sources and uses, and discuss communications with property managers with respect
             & Objections                                        to payment of expenses (.4).

April 2019   Claims                 04/23/19 KBD             390 telephone conference with accounting firm representative and E. Duff regarding reporting to            0.2 0.0051282          $2.00
             Administration                                      lenders regarding rent (.2)
             & Objections

April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/07/19 JR              140 Draft additional spreadsheet for outstanding delinquent balances on real estate taxes that             1.2 0.0333333          $4.67
             Disposition                                         excluded various tranches.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2019   Asset                  04/08/19 JR              140 email communication with A. Porter advising of updates to real estate tax delinquencies               0.1 0.0027778         $0.39
             Disposition                                         spreadsheet (.1)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                   0.2 0.0018692         $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd             3.3 0.0308411         $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 MR              390 attention to correspondence relating to same (.3)                                                     0.3 0.0076923         $3.00
             Disposition
April 2019   Asset                  04/19/19 MR              390 Attention to issues with property managers and meetings with K. Duff regarding same (1.0)             1.0    0.025641      $10.00
             Disposition
April 2019   Business               04/01/19 KMP             140 prepare form for wire transfer to property manager for property expenses, and                         0.3 0.0076923         $1.08
             Operations                                          communications with K. Duff and bank representative regarding same (.3).
April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding          0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                         0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                       0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest           2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                           0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                    0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                   1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile           0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,            0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real               0.2 0.0028571         $1.11
             Operations                                          estate taxes.
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                    0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                         0.8 0.0090909         $3.55
             Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)              0.2 0.0022472         $0.88
             Operations
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                      0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                       0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                   0.7 0.0079545         $3.10
             Operations
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                  0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                  0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/11/19 ED              390 analysis of differences in NOI calculations against accrual reporting from property manager            0.4 0.0102564         $4.00
             Operations                                          (.4).
April 2019   Business               04/12/19 ED              390 review reporting from property manager regarding utility payments (.9)                                 0.9 0.0230769         $9.00
             Operations
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319         $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                              1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order           4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with           1.5 0.0217391         $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/19/19 MR              390 attention to correspondence relating to same (.3).                                                   0.3 0.0076923         $3.00
             Operations
April 2019   Business               04/19/19 MR              390 Attention to property management issues and meetings with K. Duff regarding same (1.0)               1.0    0.025641      $10.00
             Operations
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property          1.5 0.0168539         $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                 1.8    0.026087      $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                             0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/22/19 MR              390 Participate in meeting regarding property management, expenses and planning.                         1.8 0.0461538        $18.00
             Operations
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                     0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727         $0.89
             Operations
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)          0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182         $2.66
             Operations
April 2019   Business               04/25/19 KMP             140 prepare wire transfer request forms for payments to property manager for property                    0.3       0.075      $10.50
             Operations                                          expenses derived from anticipated closing funds and conference with K. Duff regarding same
                                                                 (.3).
April 2019   Business               04/25/19 KMP             140 Study communications with property manager regarding financial issues relating to unpaid             0.1       0.025       $3.50
             Operations                                          taxes and utilities for certain properties (.1)
April 2019   Business               04/25/19 MR              390 attention to various issues regarding property management issues (.6).                               0.6 0.0153846         $6.00
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273         $1.13
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091         $1.33
             Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business               04/26/19 MR              390 Conferences regarding property management issues.                                                    0.2 0.0051282         $2.00
             Operations
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                          managers (.8)
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818         $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091         $0.38
             Operations
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182        $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909         $1.00
             Operations                                          property managers (.8)
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727         $0.25
             Operations




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
April 2019   Claims                 04/02/19 ED          390 Email correspondence with accountant regarding preparation of accounting reports (.2)              0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/02/19 ED          390 review of related documents regarding use of funds and receivership property expenditures          0.2 0.0022727         $0.89
             Administration                                  (.2).
             & Objections

April 2019   Claims                 04/11/19 ED          390 Begin review of Receiver's property reports.                                                       1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 and research into discrepancies and questions (.7)                                                 0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                       0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 review reports received against financial reporting to lenders (.8)                                0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 discussion with M. Rachlis of sources of funds (.8).                                               0.8 0.0115942         $4.52
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED          390 Email correspondence with insurance broker and lenders' counsel regarding renewal of               0.3 0.0029412         $1.15
             Administration                                  insurance coverage (.3)
             & Objections

May 2019     Asset                  05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                   0.2 0.0022989         $0.90
             Disposition                                     account reporting (.2)
May 2019     Asset                  05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                   1.3 0.0149425         $5.83
             Disposition                                     representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019     Asset                  05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).              1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                  05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                            0.7    0.008046       $3.14
             Disposition


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Asset                   05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
            Disposition                                      procedures (.2)
May 2019    Asset                   05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
            Disposition                                      portfolio equity (.1)
May 2019    Asset                   05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
            Disposition
May 2019    Asset                   05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
            Disposition
May 2019    Asset                   05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
            Disposition                                      planning (1.8)
May 2019    Asset                   05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
            Disposition
May 2019    Asset                   05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
            Disposition
May 2019    Asset                   05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
            Disposition
May 2019    Asset                   05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
            Disposition                                      regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019    Asset                   05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
            Disposition
May 2019    Asset                   05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
            Disposition
May 2019    Asset                   05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
            Disposition                                      communications with lenders' counsel relating to same (1.1)
May 2019    Asset                   05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
            Disposition                                      credit bid and sales procedures (.5)
May 2019    Asset                   05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
            Disposition                                      procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019    Asset                   05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
            Disposition                                      procedures and impact of changes on sales efforts (.6)
May 2019    Asset                   05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
            Disposition                                      engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019    Asset                   05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
            Disposition
May 2019    Asset                   05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
            Disposition
May 2019    Asset                   05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
            Disposition                                      communications with lenders' counsel relating to same (.8)




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Asset                   05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
            Disposition
May 2019    Asset                   05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
            Disposition
May 2019    Asset                   05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
            Disposition                                      broker (.1)
May 2019    Asset                   05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
            Disposition
May 2019    Business                05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
            Operations                                       reporting (.4)
May 2019    Business                05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
            Operations
May 2019    Business                05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
            Operations
May 2019    Business                05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
            Operations                                       replacement insurance (.1).
May 2019    Business                05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
            Operations                                       replacement of insurance coverage (.1)
May 2019    Business                05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
            Operations                                       insurance policies and renewals (.2).
May 2019    Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
            Operations                                       payment (.1).
May 2019    Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
            Operations                                       insurance (.3)
May 2019    Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/14/19 KBD         390 exchange correspondence with asset manager regarding parameters for approval of                       0.3 0.0081081         $3.16
            Operations                                       property manager capital expenses and draft correspondence to property manager
                                                             regarding same (.3)
May 2019    Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
            Operations
May 2019    Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
            Operations                                       same (.3)
May 2019    Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
            Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019    Business                05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
            Operations
May 2019    Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
            Operations




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2019    Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                  0.2 0.0019417         $0.76
            Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019    Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                               0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                    0.2 0.0019417         $0.76
            Operations                                       property insurance renewal (.2)
May 2019    Business                05/23/19 KBD         390 telephone conference with bank representative, draft correspondence to property manager             0.4 0.0108108         $4.22
            Operations                                       regarding financial reporting and accounting (.4)
May 2019    Business                05/23/19 KBD         390 draft correspondence to E. Duff regarding same (.1)                                                 0.1 0.0027027         $1.05
            Operations
May 2019    Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/24/19 KBD         390 draft and revise correspondence to property manager regarding financial reporting and               0.4 0.0108108         $4.22
            Operations                                       accounting and exchange correspondence with M. Rachlis regarding same (.4).

May 2019    Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                     0.1 0.0009709         $0.38
            Operations                                       payment (.1)
May 2019    Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding              0.2 0.0019417         $0.76
            Operations                                       property insurance payment (.2)
May 2019    Business                05/30/19 KBD         390 exchange correspondence regarding and conference with E. Duff regarding communications              0.2 0.0054054         $2.11
            Operations                                       with and meeting with property manager regarding accounting reporting and procedure (.2)

May 2019    Business                05/30/19 KBD         390 exchange communications with property manager regarding analysis of payment relating to             0.2 0.0054054         $2.11
            Operations                                       property management services (.2)
May 2019    Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                    0.2 0.0019417         $0.76
            Operations
May 2019    Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                    0.2 0.0018692         $0.73
            Operations
May 2019    Business                05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                    0.2 0.0022989         $0.90
            Operations
May 2019    Claims                  05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                                 0.6 0.0068966         $2.69
            Administration
            & Objections

May 2019    Claims                  05/07/19 KBD         390 study correspondence from property manager and E. Duff regarding same (.2)                          0.2 0.0051282         $2.00
            Administration
            & Objections

May 2019    Claims                  05/07/19 KBD         390 Work with E. Duff and M. Rachlis regarding obtaining information from property manager for          0.3 0.0076923         $3.00
            Administration                                   use in rent reporting reports (.3)
            & Objections




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  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
May 2019    Claims                  05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting             0.2 0.0022727         $0.89
            Administration                                   reports (.2)
            & Objections

May 2019    Claims                  05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with           0.1 0.0011494         $0.45
            Administration                                   accounting firm representatives (.1)
            & Objections

May 2019    Claims                  05/13/19 KBD         390 study correspondence from E. Duff regarding financial reporting regarding property                0.2 0.0051282         $2.00
            Administration                                   performance and rent (.2).
            & Objections

May 2019    Claims                  05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                     0.2 0.0022989         $0.90
            Administration
            & Objections

May 2019    Claims                  05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for            0.2 0.0022989         $0.90
            Administration                                   delivery of reports (.2)
            & Objections

May 2019    Claims                  05/15/19 KBD         390 telephone conference with accounting firm representative regarding same (.1).                     0.1 0.0011364         $0.44
            Administration
            & Objections

May 2019    Claims                  05/15/19 KBD         390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                         0.6 0.0068182         $2.66
            Administration
            & Objections

May 2019    Claims                  05/21/19 KBD         390 Study correspondence from E. Duff regarding communications with lender relating to                0.5 0.0056818         $2.22
            Administration                                   financial reports (.5)
            & Objections

May 2019    Claims                  05/21/19 KBD         390 office conference with E. Duff regarding same (.2)                                                0.2 0.0022989         $0.90
            Administration
            & Objections

May 2019    Asset                   05/01/19 AEP         390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific             0.7    0.008046       $3.14
            Disposition                                      accounting issues with property manager (.7).
May 2019    Asset                   05/07/19 AEP         390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding              1.5 0.0168539         $6.57
            Disposition                                      marketing and sales process (1.5).
May 2019    Asset                   05/07/19 ED          390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale          1.2 0.0137931         $5.38
            Disposition                                      processes for next tranche of properties (1.2).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019    Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
            Disposition
May 2019    Asset                   05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
            Disposition
May 2019    Asset                   05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
            Disposition                                          of properties.
May 2019    Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
            Disposition
May 2019    Asset                   05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
            Disposition
May 2019    Asset                   05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
            Disposition                                          and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019    Asset                   05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
            Disposition
May 2019    Asset                   05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
            Disposition
May 2019    Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
            Disposition
May 2019    Asset                   05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
            Disposition
May 2019    Asset                   05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
            Disposition
May 2019    Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
            Disposition
May 2019    Asset                   05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
            Disposition                                          receivership broker (1.0)
May 2019    Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
            Disposition
May 2019    Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
            Disposition
May 2019    Asset                   05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
            Disposition
May 2019    Asset                   05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
            Disposition
May 2019    Asset                   05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
            Disposition
May 2019    Asset                   05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
            Disposition
May 2019    Asset                   05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
            Disposition
May 2019    Asset                   05/30/19 JR              140 exchange follow up correspondence with property managers regarding set up of online                    0.3 0.0085714         $1.20
            Disposition                                          water payments (.3).


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2019    Asset                   05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                         0.4 0.0045977         $1.79
            Disposition
May 2019    Asset                   05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                           1.0 0.0114943         $4.48
            Disposition
May 2019    Asset                   05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                     1.3 0.0149425         $5.83
            Disposition
May 2019    Asset                   05/30/19 MR              390 and conferences regarding same (.2).                                                                  0.2 0.0022989         $0.90
            Disposition
May 2019    Asset                   05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
            Disposition                                          (.2).
May 2019    Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
            Operations                                           sale (2.3)
May 2019    Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
            Operations
May 2019    Business                05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
            Operations
May 2019    Business                05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364         $0.44
            Operations
May 2019    Business                05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417         $0.27
            Operations                                           conferences with K. Duff and E. Duff regarding same (.2)
May 2019    Business                05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709         $0.14
            Operations
May 2019    Business                05/03/19 NM              260 correspond with E. Duff regarding code violation and property tax documents needed for                0.2 0.0022989         $0.60
            Operations                                           reporting and send same (.2).
May 2019    Business                05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835         $0.54
            Operations                                           insurance renewal, and communications with K. Duff and bank representative regarding
                                                                 same (.4)
May 2019    Business                05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709         $0.14
            Operations
May 2019    Business                05/07/19 ED              390 Email correspondence with property manager regarding financial reporting information for              0.4 0.0108108         $4.22
            Operations                                           properties (.4)
May 2019    Business                05/07/19 ED              390 confer with K. Duff regarding same (.2)                                                               0.2 0.0054054         $2.11
            Operations
May 2019    Business                05/07/19 ED              390 and email correspondence to property manager regarding same (.2)                                      0.2 0.0054054         $2.11
            Operations


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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2019    Business                05/07/19 ED          390 review financial reporting for additional accounting reports (.3)                                   0.3 0.0081081         $3.16
            Operations
May 2019    Business                05/07/19 ED          390 review portfolio cash flow statements from property manager from August through March               0.8 0.0216216         $8.43
            Operations                                       (.8)
May 2019    Business                05/07/19 ED          390 email correspondence with asset manager regarding same (.2)                                         0.2 0.0054054         $2.11
            Operations
May 2019    Business                05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                 0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                  0.1 0.0009709         $0.14
            Operations                                       premium finance agreement.
May 2019    Business                05/08/19 ED          390 email correspondence with property manager to request additional documentation for same             0.3 0.0034091         $1.33
            Operations                                       (.3)
May 2019    Business                05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                 0.2 0.0022727         $0.89
            Operations                                       expenditures by property (.2)
May 2019    Business                05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)            0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                    2.0 0.0227273         $8.86
            Operations
May 2019    Business                05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for           0.9 0.0102273         $3.99
            Operations                                       follow up questions (.9)
May 2019    Business                05/08/19 ED          390 and review of related documentation (.6)                                                            0.6 0.0068182         $2.66
            Operations
May 2019    Business                05/08/19 ED          390 organize list of follow up items relating to same (.3).                                             0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                     0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                 0.8 0.0090909         $3.55
            Operations                                       reports and comments and questions regarding contents (.8)
May 2019    Business                05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                         0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/09/19 ED          390 review draft reports (3.9)                                                                          3.9 0.0443182        $17.28
            Operations
May 2019    Business                05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                 0.2 0.0019608         $0.51
            Operations                                       manager (.2)
May 2019    Business                05/13/19 AW          140 ; research regarding same (.1).                                                                     0.1 0.0026316         $0.37
            Operations
May 2019    Business                05/13/19 AW          140 Meeting with E. Duff regarding spreadsheets received from property manager and analysis of          0.1 0.0026316         $0.37
            Operations                                       same (.1)
May 2019    Business                05/13/19 ED          390 call with accountant regarding content of reports (.2)                                              0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                               0.4 0.0045455         $1.77
            Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019    Business                05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727          $0.89
            Operations
May 2019    Business                05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818          $2.22
            Operations                                       (.5)
May 2019    Business                05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091         $11.08
            Operations
May 2019    Business                05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455          $1.77
            Operations
May 2019    Business                05/14/19 AW          140 Analysis of excel spreadsheets for and report on results.                                              0.4 0.0105263          $1.47
            Operations
May 2019    Business                05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455          $1.77
            Operations
May 2019    Business                05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545          $3.10
            Operations
May 2019    Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214          $4.92
            Operations
May 2019    Business                05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727          $0.89
            Operations
May 2019    Business                05/16/19 ED          390 review property financial information to analyze potential sources of payment for real estate          0.7 0.0777778         $30.33
            Operations                                       taxes (.7)
May 2019    Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087          $3.79
            Operations
May 2019    Business                05/16/19 ED          390 review documents regarding application of receivership payments to property manager by                 2.2       0.025        $9.75
            Operations                                       property (2.2)
May 2019    Business                05/16/19 ED          390 and prepare draft schedule of potential tax payments for discussion with property manager              0.8 0.0888889         $34.67
            Operations                                       (.8)
May 2019    Business                05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports             0.1 0.0011364          $0.44
            Operations                                       (.1)
May 2019    Business                05/16/19 ED          390 confer with K. Duff regarding same (.1)                                                                0.1 0.0111111          $4.33
            Operations
May 2019    Business                05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                               0.6 0.0068182          $2.66
            Operations
May 2019    Business                05/16/19 ED          390 review revised accounting reports from accountant (.5).                                                0.5 0.0056818          $2.22
            Operations
May 2019    Business                05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                  0.5 0.0056818          $2.22
            Operations                                       accountants (.5)
May 2019    Business                05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of             0.3 0.0034091          $1.33
            Operations                                       accounting reports (.3)
May 2019    Business                05/17/19 ED          390 review and revise draft reports received (4.4)                                                         4.4         0.05      $19.50
            Operations
May 2019    Business                05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)              0.8 0.0090909          $3.55
            Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019    Business                05/17/19 ED          390 calls with accountant regarding reports (.3)                                                           0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                             0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                   0.9 0.0102273         $3.99
            Operations                                       accounting reports (.9)
May 2019    Business                05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       4.6 0.0522727        $20.39
            Operations                                       accountant with comments and revisions to same.
May 2019    Business                05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273        $28.36
            Operations                                       accountant with comments and revisions to same.
May 2019    Business                05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273        $47.86
            Operations                                       accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019    Business                05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364        $29.69
            Operations                                       accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019    Business                05/20/19 NM          260 revise correspondence to property managers from J. Rak regarding water accounts and                    0.3 0.0076923         $2.00
            Operations                                       correspond with J. Rak regarding same (.3)
May 2019    Business                05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545        $11.82
            Operations
May 2019    Business                05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364         $0.30
            Operations
May 2019    Business                05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909        $18.17
            Operations
May 2019    Business                05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636        $33.68
            Operations                                       with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019    Business                05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818         $0.80
            Operations                                       conferences with E. Duff regarding same.
May 2019    Business                05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
            Operations
May 2019    Business                05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
            Operations
May 2019    Business                05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
            Operations
May 2019    Business                05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
            Operations                                       reports (3.4).
May 2019    Business                05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
            Operations
May 2019    Business                05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
            Operations                                       and conferences with E. Duff regarding same.




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019    Business                05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
            Operations
May 2019    Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
            Operations
May 2019    Business                05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
            Operations
May 2019    Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
            Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019    Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
            Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019    Business                05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977         $1.79
            Operations
May 2019    Business                05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of           0.9 0.0103448         $4.03
            Operations                                       accounting reports (.9)
May 2019    Business                05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                          0.5 0.0057471         $2.24
            Operations
May 2019    Business                05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989         $0.90
            Operations
May 2019    Business                05/30/19 ED          390 and property manager (.8)                                                                              0.8 0.0091954         $3.59
            Operations
May 2019    Business                05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April              0.5 0.0057471         $2.24
            Operations                                       accounting reports (.5)
May 2019    Business                05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).              1.0 0.0114943         $4.48
            Operations
May 2019    Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709         $0.14
            Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
May 2019    Business                05/31/19 ED          390 Email correspondence with property manager regarding meeting to discuss properties (.3)                0.3 0.0081081         $3.16
            Operations
May 2019    Business                05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                  0.2 0.0022989         $0.90
            Operations                                       required for April accounting reports (.2)
May 2019    Claims                  05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)              0.6 0.0068966         $2.69
            Administration
            & Objections

May 2019    Claims                  05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                   5.6 0.0643678        $25.10
            Administration                                   accounting reports (5.6)
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Claims                  05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
            Administration                                   reports (.4)
            & Objections

May 2019    Claims                  05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                              0.2 0.0022989         $0.90
            Administration
            & Objections

May 2019    Claims                  05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
            Administration                                   accounting reports (.4).
            & Objections

May 2019    Claims                  05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
            Administration                                   documents (5.0)
            & Objections

May 2019    Claims                  05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
            Administration                                   reports (.4)
            & Objections

May 2019    Claims                  05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
            Administration
            & Objections

May 2019    Claims                  05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
            Administration
            & Objections

May 2019    Claims                  05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
            Administration
            & Objections

May 2019    Claims                  05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
            Administration
            & Objections

May 2019    Claims                  05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
            Administration
            & Objections

June 2019   Asset                   06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
            Disposition




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2019   Asset                   06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
            Disposition                                      with lenders counsel (.1)
June 2019   Asset                   06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
            Disposition                                      timing (.2)
June 2019   Asset                   06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
            Disposition                                      exchange various correspondence relating to same (.4)
June 2019   Asset                   06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
            Disposition                                      regarding same (.6)
June 2019   Asset                   06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
            Disposition
June 2019   Asset                   06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)             0.2 0.0028571         $1.11
            Disposition
June 2019   Asset                   06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966         $2.69
            Disposition                                      and study revised credit bid procedures (.6)
June 2019   Asset                   06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977         $1.79
            Disposition
June 2019   Asset                   06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046       $3.14
            Disposition                                      M. Rachlis.
June 2019   Asset                   06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802         $0.77
            Disposition
June 2019   Asset                   06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and               0.2 0.0039216         $1.53
            Disposition                                      potential for new grouping to list for sale (.2)
June 2019   Asset                   06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                  0.5       0.005       $1.95
            Disposition
June 2019   Business                06/03/19 KBD         390 Telephone conference with and study correspondence from E. Duff and property manager                  0.4 0.0108108         $4.22
            Operations                                       regarding meeting with property manager and asset manager relating to financial reporting,
                                                             account management, property improvement, and various related issues (.4)

June 2019   Business                06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                     0.3       0.003       $1.17
            Operations
June 2019   Business                06/04/19 KBD         390 Study financial information relating to property manager receivables and cash flow and                0.2 0.0054054         $2.11
            Operations                                       exchange correspondence regarding same (.2)
June 2019   Business                06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties               0.5 0.0057471         $2.24
            Operations                                       (.5)
June 2019   Business                06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure             0.1 0.0011494         $0.45
            Operations                                       relating to credit bid issue (.1)
June 2019   Business                06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                            0.1 0.0009346         $0.36
            Operations
June 2019   Business                06/05/19 KBD         390 exchange correspondence with E. Duff and review correspondence from property manager                  0.2 0.0052632         $2.05
            Operations                                       regarding payment plan for water accounts (.2)
June 2019   Business                06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                 0.4 0.0038835         $1.51
            Operations                                       renewal (.4)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
June 2019   Business                06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                 0.1 0.0009709          $0.38
            Operations
June 2019   Business                06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                0.2 0.0019608          $0.76
            Operations                                       transfer of funds (.2)
June 2019   Business                06/07/19 KBD         390 study correspondence from property manager regarding property accounts (.2).                       0.2 0.0054054          $2.11
            Operations
June 2019   Business                06/12/19 KBD         390 exchange correspondence with property manager and asset manager regarding tenant                   0.2          0.2      $78.00
            Operations                                       relocation (.2).
June 2019   Business                06/12/19 KBD         390 Study correspondence from property manager regarding allocation of property expenses (.2)          0.2          0.1      $39.00
            Operations
June 2019   Business                06/13/19 KBD         390 exchange correspondence with property managers and E. Duff regarding payment of real               0.2          0.1      $39.00
            Operations                                       estate taxes (1700 Juneway and 8517 Vernon) (.2)
June 2019   Business                06/13/19 KBD         390 analysis of property expenses and communications with property manager regarding same              0.6          0.6     $234.00
            Operations                                       (.6).
June 2019   Business                06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                   0.2 0.0019608          $0.76
            Operations
June 2019   Business                06/14/19 KBD         390 Analysis of property management expenses and exchange and review various                           0.4         0.05      $19.50
            Operations                                       correspondence regarding same (.4)
June 2019   Business                06/17/19 KBD         390 study correspondence and reporting information from property manager (.5)                          0.5 0.0135135          $5.27
            Operations
June 2019   Business                06/17/19 KBD         390 various exchanges with E. Duff and property manager regarding same and payment of                  0.4 0.0108108          $4.22
            Operations                                       expenses (.4)
June 2019   Business                06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                   0.4 0.0045977          $1.79
            Operations
June 2019   Business                06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding               0.4 0.0045977          $1.79
            Operations                                       same (.4).
June 2019   Business                06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence              0.4 0.0037383          $1.46
            Operations                                       with J. Rak regarding same (.4)
June 2019   Business                06/20/19 KBD         390 analysis of property management expenses and exchange various correspondence with E.               0.9 0.0243243          $9.49
            Operations                                       Duff regarding same (.9)
June 2019   Business                06/25/19 KBD         390 work on various property expense issues including with E. Duff (.5).                               0.5 0.0135135          $5.27
            Operations
June 2019   Business                06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                0.2 0.0019608          $0.76
            Operations                                       correspondence (.2)
June 2019   Business                06/27/19 KBD         390 Study correspondence from insurance broker regarding claim and exchange correspondence             0.2          0.2      $78.00
            Operations                                       with E. Duff regarding same (.2)
June 2019   Business                06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue            0.3 0.0033333          $1.30
            Operations                                       (.3).
June 2019   Claims                  06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study          0.6 0.0068966          $2.69
            Administration                                   various documents and correspondence regarding same (.6)
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2019   Claims                  06/10/19 KBD             390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
            Administration                                       lender's counsel regarding credit bid procedures (.3)
            & Objections

June 2019   Claims                  06/10/19 KBD             390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
            Administration                                       lender's counsel regarding request to expedite determination of right to payment before bar
            & Objections                                         date (.3)

June 2019   Claims                  06/11/19 KBD             390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
            Administration                                       revised procedures and communications with lenders counsel (.7).
            & Objections

June 2019   Claims                  06/14/19 KBD             390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
            Administration
            & Objections

June 2019   Claims                  06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
            Administration
            & Objections

June 2019   Claims                  06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
            Administration
            & Objections

June 2019   Claims                  06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                 0.4 0.0044944         $1.75
            Administration
            & Objections

June 2019   Claims                  06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit              0.2 0.0022989         $0.90
            Administration                                       bid procedures (.2)
            & Objections

June 2019   Claims                  06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                     1.5 0.0172414         $6.72
            Administration
            & Objections

June 2019   Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                               1.2    0.011215       $1.57
            Disposition
June 2019   Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                           3.7 0.0345794         $4.84
            Disposition
June 2019   Asset                   06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                          0.7 0.0078652         $3.07
            Disposition




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019   Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
            Disposition
June 2019   Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
            Disposition
June 2019   Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
            Disposition                                          properties (.6).
June 2019   Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
            Disposition
June 2019   Asset                   06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
            Disposition
June 2019   Asset                   06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
            Disposition                                          of proposed credit bidding procedures (2.1)
June 2019   Asset                   06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
            Disposition
June 2019   Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
            Disposition
June 2019   Asset                   06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
            Disposition                                          procedures and provide comments to team regarding same (.2)
June 2019   Asset                   06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
            Disposition
June 2019   Asset                   06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
            Disposition
June 2019   Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
            Disposition
June 2019   Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
            Disposition                                          all properties (.1).
June 2019   Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
            Disposition
June 2019   Asset                   06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
            Disposition                                          referencing all properties (.3)
June 2019   Asset                   06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
            Disposition
June 2019   Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
            Disposition                                          the receiver's information (.9)
June 2019   Asset                   06/26/19 JR              140 Work on sixth motion to approve sale with A. Porter (1.5)                                               1.5 0.0416667         $5.83
            Disposition
June 2019   Asset                   06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
            Disposition
June 2019   Asset                   06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                 2.5 0.0277778        $10.83
            Disposition
June 2019   Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667         $2.33
            Disposition                                          receivership properties (1.8).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2019   Asset                   06/28/19 JR              140 draft checklist for the fourth and fifth tranche (2.6).                                               2.6 0.0742857        $10.40
            Disposition
June 2019   Business                06/03/19 ED              390 Meeting with property manager and asset manager regarding property cash management                    1.8 0.0486486        $18.97
            Operations                                           and property reserves and funding for future property expenses (1.8)

June 2019   Business                06/03/19 ED              390 call with K. Duff to discuss results of meeting with property manager (.3)                            0.3 0.0081081         $3.16
            Operations
June 2019   Business                06/03/19 ED              390 preparation for same (2.2)                                                                            2.2 0.0594595        $23.19
            Operations
June 2019   Business                06/03/19 ED              390 and prepare and send email to meeting participants to follow up on open items and next                0.8 0.0216216         $8.43
            Operations                                           steps (.8)
June 2019   Business                06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494         $0.45
            Operations
June 2019   Business                06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862         $7.17
            Operations                                           and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                 same (2.4)
June 2019   Business                06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471         $2.24
            Operations
June 2019   Business                06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
            Operations
June 2019   Business                06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
            Operations
June 2019   Business                06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
            Operations
June 2019   Business                06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
            Operations                                           current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019   Business                06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
            Operations                                           property insurance renewal and forward executed documentation relating to same (.2)

June 2019   Business                06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
            Operations                                           liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                 regarding same (.4)
June 2019   Business                06/10/19 ED              390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
            Operations
June 2019   Business                06/10/19 ED              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
            Operations
June 2019   Business                06/10/19 ED              390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023      $21.07
            Operations                                           regarding allocation of funds (4.7)
June 2019   Business                06/11/19 ED              390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
            Operations
June 2019   Business                06/11/19 NM              260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966         $1.79
            Operations                                           and payment of expenses from same and from Receiver's account (.6).


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019   Business                06/13/19 ED          390 review information from property manager regarding application of funds from Receivership              1.0 0.0114943         $4.48
            Operations                                       to property accounts (1.0)
June 2019   Business                06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                        0.9 0.0103448         $4.03
            Operations
June 2019   Business                06/13/19 ED          390 confer with M. Rachlis (.2)                                                                            0.2 0.0022989         $0.90
            Operations
June 2019   Business                06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                 0.1 0.0009709         $0.14
            Operations                                       payment for same (.1).
June 2019   Business                06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                         0.1 0.0011494         $0.45
            Operations
June 2019   Business                06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                0.2 0.0022989         $0.90
            Operations
June 2019   Business                06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                  0.2 0.0022989         $0.90
            Operations                                       property, refunds relating to sold properties, claims history and status (.2)

June 2019   Business                06/14/19 MR          390 Attention to emails regarding issues on financial reporting.                                           0.3 0.0081081         $3.16
            Operations
June 2019   Business                06/17/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0054054         $2.11
            Operations
June 2019   Business                06/17/19 ED          390 Review reporting and related email correspondence from property manager regarding May                  4.8 0.1297297        $50.59
            Operations                                       cash balances, outstanding utility payments, and other matters (4.8)

June 2019   Business                06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
            Operations
June 2019   Business                06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
            Operations
June 2019   Business                06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
            Operations
June 2019   Business                06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
            Operations
June 2019   Business                06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
            Operations
June 2019   Business                06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
            Operations                                       respond to letters received from lender (.3)
June 2019   Business                06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
            Operations                                       regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019   Business                06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
            Operations
June 2019   Business                06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
            Operations                                       manager expenses, calls with accountant to discuss content of accounting reports (.3).




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
June 2019   Business                06/20/19 ED          390 Email correspondence with property manager regarding funds for utility and tax payments                 0.8 0.0216216          $8.43
            Operations                                       and funding of property accounts (.8)
June 2019   Business                06/20/19 ED          390 develop proposal for workflow regarding funding of accounts payable (.3)                                0.3 0.0081081          $3.16
            Operations
June 2019   Business                06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                              0.8 0.0091954          $3.59
            Operations
June 2019   Business                06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April             1.0 0.0114943          $4.48
            Operations                                       accounting reports (1.0)
June 2019   Business                06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                      2.8 0.0321839         $12.55
            Operations
June 2019   Business                06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                                0.8 0.0091954          $3.59
            Operations
June 2019   Business                06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                               0.6 0.0068966          $2.69
            Operations
June 2019   Business                06/24/19 ED          390 Review financial reporting from property managers (1.8)                                                 1.8 0.0486486         $18.97
            Operations
June 2019   Business                06/24/19 ED          390 confer with K. Pritchard regarding workflow for addressing property payables (.1)                       0.1 0.0027027          $1.05
            Operations
June 2019   Business                06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance            0.1 0.0011494          $0.45
            Operations                                       premiums relating to sold properties (.1)
June 2019   Business                06/25/19 ED          390 to follow up on workflow for processing utility bills and other accounts receivable, and email          0.4 0.0108108          $4.22
            Operations                                       correspondence with K. Pritchard, K. Duff and accountant regarding same (.4)

June 2019   Business                06/25/19 ED          390 Email correspondence with property manager regarding system to address funding of                       0.2 0.0054054          $2.11
            Operations                                       accounts payable (.2)
June 2019   Business                06/25/19 ED          390 call with accountant (.2)                                                                               0.2 0.0054054          $2.11
            Operations
June 2019   Business                06/25/19 ED          390 confer with K. Duff and K. Pritchard regarding same (.2)                                                0.2 0.0054054          $2.11
            Operations
June 2019   Business                06/25/19 ED          390 email correspondence with property manager regarding past due utility bills (.2)                        0.2 0.0054054          $2.11
            Operations
June 2019   Business                06/25/19 ED          390 prepare estimate for K. Duff of property expenses (.4)                                                  0.4 0.0108108          $4.22
            Operations
June 2019   Business                06/25/19 KMP         140 conference with E. Duff regarding means of managing utility bills for various properties, and           0.2 0.0051282          $0.72
            Operations                                       review communication to accountant regarding method for accomplishing same (.2).

June 2019   Business                06/26/19 ED          390 email correspondence with accountant regarding process for organizing funding for property              0.2 0.0022989          $0.90
            Operations                                       accounts receivables (.2).
June 2019   Business                06/26/19 KMP         140 attention to communication with accountant and E. Duff regarding preparation and                        0.1 0.0025641          $0.36
            Operations                                       maintenance of spreadsheet for managing utility bills for various properties (.1).

June 2019   Business                06/27/19 ED          390 email correspondence with K. Duff and insurance broker regarding same (.1)                              0.1          0.1      $39.00
            Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2019   Business                06/27/19 ED              390 Review correspondence and complaint relating to insurance claim (.2)                                   0.2          0.2      $78.00
            Operations
June 2019   Business                06/27/19 ED              390 continue analysis of property expenses (.8).                                                           0.8 0.0091954          $3.59
            Operations
June 2019   Business                06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977          $0.51
            Operations
June 2019   Business                06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414          $1.90
            Operations
June 2019   Claims                  06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954          $3.59
            Administration
            & Objections

June 2019   Claims                  06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977          $1.79
            Administration
            & Objections

June 2019   Claims                  06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989          $0.90
            Administration
            & Objections

June 2019   Claims                  06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966          $2.69
            Administration                                       reporting (.6)
            & Objections

June 2019   Claims                  06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966          $2.69
            Administration
            & Objections

June 2019   Claims                  06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483          $1.34
            Administration                                       Receivership funds provided for property expenditures (.3)
            & Objections

June 2019   Claims                  06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831          $5.26
            Administration                                       and priorities relating to lenders claims (1.2)
            & Objections

June 2019   Claims                  06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494          $0.45
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019   Claims                  06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
            Administration                                   and questions relating to Receiver's accounting reports.
            & Objections

June 2019   Claims                  06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
            Administration
            & Objections

June 2019   Claims                  06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
            Administration                                   ended April 2019 (.3)
            & Objections

June 2019   Claims                  06/13/19 ED          390 draft email to property manager regarding property bank accounts (.2).                                 0.2 0.0054054         $2.11
            Administration
            & Objections

June 2019   Claims                  06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
            Administration                                   accounting reports to lenders (.2).
            & Objections

June 2019   Claims                  06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
            Administration
            & Objections

June 2019   Claims                  06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
            Administration
            & Objections

June 2019   Claims                  06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
            Administration
            & Objections

June 2019   Claims                  06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
            Administration                                   email to Receiver's team regarding responses to same (.6)
            & Objections

June 2019   Claims                  06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019   Claims                  06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                 0.3 0.0033708         $0.88
            Administration
            & Objections

June 2019   Claims                  06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                    0.8 0.0089888         $2.34
            Administration                                   questions posed by lenders and revise same (.8)
            & Objections

June 2019   Claims                  06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                          0.6 0.0067416         $1.75
            Administration
            & Objections

June 2019   Claims                  06/25/19 MR          390 Attention to claims related issues (.7)                                                              0.7 0.0078652         $3.07
            Administration
            & Objections

June 2019   Claims                  06/25/19 MR          390 prepare for (1.2)                                                                                    1.2 0.0134831         $5.26
            Administration
            & Objections

June 2019   Claims                  06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                        0.6 0.0067416         $2.63
            Administration
            & Objections

June 2019   Claims                  06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                         0.5    0.005618       $1.46
            Administration
            & Objections

July 2019   Asset                   07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining          0.2       0.002       $0.78
            Disposition                                      properties and timing (.2)
July 2019   Asset                   07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same              0.2       0.002       $0.78
            Disposition                                      and impact on timing for sale of properties and planning (.2)
July 2019   Asset                   07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                             0.3 0.0034483         $1.34
            Disposition
July 2019   Asset                   07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs             0.1 0.0011494         $0.45
            Disposition                                      (.1).
July 2019   Asset                   07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                  0.2       0.002       $0.78
            Disposition
July 2019   Asset                   07/30/19 KBD         390 study correspondence from A. Porter relating to various issues regarding sixth tranche of            0.2 0.0055556         $2.17
            Disposition                                      properties for sale (.2).
July 2019   Asset                   07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                         0.2       0.002       $0.78
            Disposition




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019   Business                07/01/19 KBD         390 study correspondence from E. Duff regarding procedures for property expense management                0.3 0.0081081         $3.16
            Operations                                       (.3).
July 2019   Business                07/01/19 KBD         390 review allocation of insurance premium (.3)                                                           0.3 0.0029412         $1.15
            Operations
July 2019   Business                07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                 0.2       0.002       $0.78
            Operations                                       property manager (.2).
July 2019   Business                07/05/19 KBD         390 Exchange correspondence with property manager representative relating to real estate                  0.1 0.0027027         $1.05
            Operations                                       taxes.
July 2019   Business                07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
            Operations
July 2019   Business                07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
            Operations
July 2019   Business                07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
            Operations
July 2019   Business                07/12/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0108108         $4.22
            Operations
July 2019   Business                07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
            Operations                                       communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019   Business                07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
            Operations
July 2019   Business                07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
            Operations
July 2019   Business                07/15/19 KBD         390 Exchange correspondence with property manager regarding property management costs (.1)                0.1 0.0027027         $1.05
            Operations
July 2019   Business                07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
            Operations                                       E. Duff (.2)
July 2019   Business                07/15/19 KBD         390 study other property manager financial reporting (.5).                                                0.5 0.0135135         $5.27
            Operations
July 2019   Business                07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
            Operations                                       and priority of property sales (.1)
July 2019   Business                07/16/19 KBD         390 Study correspondence from property manager, accounting firm representative, and E. Duff               0.2 0.0054054         $2.11
            Operations                                       regarding property expense procedures.
July 2019   Business                07/17/19 KBD         390 exchange correspondence with property manager regarding real estate taxes (.1).                       0.1 0.0111111         $4.33
            Operations
July 2019   Business                07/17/19 KBD         390 Analysis of property manager financial reporting and property expenses with asset manager             0.6 0.0162162         $6.32
            Operations                                       and E. Duff (.6)
July 2019   Business                07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
            Operations                                       regarding same (2.5)
July 2019   Business                07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
            Operations
July 2019   Business                07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
            Operations


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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019   Business                07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                     0.2 0.0022989         $0.90
            Operations
July 2019   Business                07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence          0.5    0.009434       $3.68
            Operations                                       with M. Rachlis regarding same (.5)
July 2019   Business                07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                      1.1 0.0207547         $8.09
            Operations
July 2019   Business                07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent               0.2 0.0037736         $1.47
            Operations                                       restoration (.2)
July 2019   Business                07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                 0.2 0.0019608         $0.76
            Operations                                       payment for insurance (.2)
July 2019   Business                07/26/19 KBD         390 study potential unit turns and remodel estimates and exchange correspondence with asset             0.4 0.0307692        $12.00
            Operations                                       manager regarding same (.4)
July 2019   Business                07/27/19 KBD         390 draft correspondence to J. Rak regarding real estate taxes (.1).                                    0.1 0.0166667         $6.50
            Operations
July 2019   Business                07/27/19 KBD         390 Study correspondence from asset manager regarding potential unit turns and capital                  0.2 0.0153846         $6.00
            Operations                                       improvements (.2)
July 2019   Business                07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                0.3       0.003       $1.17
            Operations
July 2019   Business                07/29/19 KBD         390 Study information from property manager, asset manager, and J. Rak regarding payment of             0.5 0.0384615        $15.00
            Operations                                       real estate taxes, potential unit turns, and property repairs (.5)
July 2019   Business                07/29/19 KBD         390 telephone conference with asset manager regarding same (.1)                                         0.1 0.0076923         $3.00
            Operations
July 2019   Claims                  07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618       $2.19
            Administration
            & Objections

July 2019   Claims                  07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)             1.9 0.0218391         $8.52
            Administration
            & Objections

July 2019   Claims                  07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708         $1.31
            Administration                                   discussions before the Court (.3)
            & Objections

July 2019   Claims                  07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708         $1.31
            Administration
            & Objections

July 2019   Claims                  07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618       $2.19
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2019   Claims                  07/02/19 KBD             390 exchange correspondence with A. Porter regarding credit bid issue and legal research                  0.3 0.0034483         $1.34
            Administration                                       regarding same (.3).
            & Objections

July 2019   Claims                  07/02/19 KBD             390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                   0.6 0.0067416         $2.63
            Administration                                       information, and case law (.6)
            & Objections

July 2019   Claims                  07/22/19 KBD             390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                   0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/23/19 KBD             390 draft correspondence to and office conference with E. Duff regarding same (.2).                       0.2 0.0037736         $1.47
            Administration
            & Objections

July 2019   Claims                  07/23/19 KBD             390 revise motion for use of sales proceeds for rent restoration (.8)                                     0.8 0.0150943         $5.89
            Administration
            & Objections

July 2019   Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                   0.2 0.0018519         $0.72
            Administration                                       lender issue and impact on sales effort (.2)
            & Objections

July 2019   Asset                   07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                     1.3 0.0146067         $5.70
            Disposition
July 2019   Asset                   07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19          1.6 0.0179775         $7.01
            Disposition                                          order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019   Asset                   07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)          1.4 0.0138614         $1.94
            Disposition
July 2019   Asset                   07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                     1.1 0.0123596         $4.82
            Disposition
July 2019   Asset                   07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                     0.5    0.005618       $2.19
            Disposition
July 2019   Asset                   07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                           1.3 0.0146067         $5.70
            Disposition
July 2019   Asset                   07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts             1.2 0.0136364         $5.32
            Disposition                                          regarding same.
July 2019   Asset                   07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                     1.9       0.019       $2.66
            Disposition
July 2019   Asset                   07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                              1.8       0.018       $2.52
            Disposition


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
July 2019   Asset                   07/15/19 JR              140 update and send real estate tax balances to E. Duff and K. Duff (.8).                                   0.8 0.0216216          $3.03
            Disposition
July 2019   Asset                   07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408          $0.80
            Disposition                                          insurer with request to begin preparation of title commitments (.2).
July 2019   Asset                   07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804          $0.14
            Disposition                                          (.1)
July 2019   Asset                   07/18/19 JR              140 exchange correspondence with E. Duff and review receipts received from property manager                 0.7         0.07       $9.80
            Disposition                                          and send summary of payments to E. Duff (.7)
July 2019   Asset                   07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                 0.2 0.0022989          $0.90
            Disposition                                          institutional lenders (.2).
July 2019   Asset                   07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002        $0.28
            Disposition                                          (.2)
July 2019   Asset                   07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258          $0.45
            Disposition
July 2019   Asset                   07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129          $0.23
            Disposition
July 2019   Asset                   07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645          $1.13
            Disposition                                          notice of motion, and electronically file same (.5)
July 2019   Asset                   07/28/19 AEP             390 distribute draft motion to team and prepare e-mail regarding remaining unresolved issues                0.3 0.0083333          $3.25
            Disposition                                          (.3).
July 2019   Asset                   07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235          $3.44
            Disposition
July 2019   Asset                   07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties            1.3 0.0146067          $5.70
            Disposition                                          potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)

July 2019   Asset                   07/29/19 JR              140 Update the remodel spreadsheet for K. Duff with property information (1700 Juneway) (.2)                0.2          0.2      $28.00
            Disposition
July 2019   Asset                   07/29/19 JR              140 exchange correspondence with K. Duff relating to same (.1)                                              0.1          0.1      $14.00
            Disposition
July 2019   Asset                   07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255          $5.35
            Disposition                                          title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019   Asset                   07/30/19 JR              140 Exchange correspondence with surveying company regarding types of building pertaining to                0.1 0.0027778          $0.39
            Disposition                                          survey request (.1)
July 2019   Business                07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001        $0.39
            Operations                                           payment of real estate taxes (.1)
July 2019   Business                07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001        $0.39
            Operations
July 2019   Business                07/10/19 ED              390 Email correspondence with accountant regarding status of project relating to property                   0.1 0.0027027          $1.05
            Operations                                           payables.


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
July 2019   Business                07/12/19 ED          390 Call with K Duff to discuss payment of real estate tax installments, property financial                  0.2 0.0019608         $0.76
            Operations                                       reporting information, discussions with asset manager regarding cash flow and property
                                                             costs, and information received from insurance broker regarding property coverages (.2)

July 2019   Business                07/12/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                  0.2 0.0019608         $0.76
            Operations                                       coming due (.2)
July 2019   Business                07/14/19 ED          390 confer with K. Duff and email to J. Rak regarding same (.1)                                              0.1 0.0009804         $0.38
            Operations
July 2019   Business                07/14/19 ED          390 Review and analysis of reports relating to property cash flow and expenses (1.1)                         1.1 0.0107843         $4.21
            Operations
July 2019   Business                07/14/19 ED          390 and funds available for payment of property tax installments (.6)                                        0.6 0.0058824         $2.29
            Operations
July 2019   Business                07/15/19 ED          390 email to asset manager regarding same (.1)                                                               0.1 0.0027027         $1.05
            Operations
July 2019   Business                07/15/19 ED          390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002       $0.78
            Operations
July 2019   Business                07/15/19 ED          390 review statements and other documents regarding payables to property managers (.2)                       0.2 0.0054054         $2.11
            Operations
July 2019   Business                07/15/19 ED          390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007       $2.73
            Operations                                       Rachlis and J. Rak regarding same (.7).
July 2019   Business                07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824         $2.29
            Operations
July 2019   Business                07/15/19 NM          260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002       $0.52
            Operations                                       property status (.2).
July 2019   Business                07/16/19 ED          390 Email correspondence with property manager and accountant regarding review of operating                  0.2 0.0054054         $2.11
            Operations                                       expenses.
July 2019   Business                07/16/19 NM          260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
            Operations                                       water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                             the same.
July 2019   Business                07/17/19 ED          390 Review information from property manager regarding funds available to pay real estate                    0.2 0.0222222         $8.67
            Operations                                       taxes (.2)
July 2019   Business                07/17/19 ED          390 review property manager information regarding utility bills due (.5)                                     0.5 0.0135135         $5.27
            Operations
July 2019   Business                07/17/19 ED          390 email correspondence with property manager regarding payment of property taxes (.5)                      0.5 0.0555556        $21.67
            Operations
July 2019   Business                07/17/19 ED          390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
            Operations
July 2019   Business                07/18/19 AW          140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
            Operations
July 2019   Business                07/18/19 ED          390 Review documents regarding payment of property taxes (.5)                                                0.5 0.0555556        $21.67
            Operations
July 2019   Business                07/18/19 ED          390 email correspondence with property manager regarding same (.7)                                           0.7 0.0777778        $30.33
            Operations


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2019   Business                07/18/19 ED          390 confer with J. Rak regarding same (.2)                                                                 0.2 0.0222222         $8.67
            Operations
July 2019   Business                07/18/19 MR          390 Work on issues on rent restoration (.6)                                                                0.6 0.0113208         $4.42
            Operations
July 2019   Business                07/19/19 AW          140 follow up with K. Duff regarding same (.1)                                                             0.1 0.0009804         $0.14
            Operations
July 2019   Business                07/23/19 ED          390 review of June financial reporting from property managers (.4)                                         0.4       0.004       $1.56
            Operations
July 2019   Business                07/25/19 ED          390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)           0.2       0.002       $0.78
            Operations
July 2019   Business                07/25/19 KMP         140 Prepare wire transfer request form for payment of insurance premium financing agreement,               0.4 0.0039216         $0.55
            Operations                                       and communications with K. Duff and bank representative regarding same.

July 2019   Business                07/25/19 MR          390 Attention to rent restoration motion (.4)                                                              0.4 0.0075472         $2.94
            Operations
July 2019   Business                07/25/19 NM          260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for              1.0 0.0188679         $4.91
            Operations                                       rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019   Business                07/25/19 NM          260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                0.2 0.0037736         $0.98
            Operations                                       serving the same (.2)
July 2019   Business                07/29/19 MR          390 Prepare for upcoming hearing.                                                                          0.4 0.0075472         $2.94
            Operations
July 2019   Business                07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                  0.3 0.0029412         $1.15
            Operations
July 2019   Business                07/31/19 ED          390 confer with K. Duff (.2)                                                                               0.2 0.0054054         $2.11
            Operations
July 2019   Business                07/31/19 ED          390 and email correspondence with property manager regarding same (.8)                                     0.8 0.0216216         $8.43
            Operations
July 2019   Business                07/31/19 ED          390 Review outstanding June statements from property manager (.4)                                          0.4 0.0108108         $4.22
            Operations
July 2019   Claims                  07/01/19 ED          390 email to accountant regarding same (.4).                                                               0.4 0.0045977         $1.79
            Administration
            & Objections

July 2019   Claims                  07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership                      1.4    0.016092       $6.28
            Administration                                   expenditures by property for use in preparation of lender accounting reports (1.4)
            & Objections

July 2019   Claims                  07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                                      0.1 0.0011494         $0.45
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                 Task Hours
  Month                                       Keeper                                                                                                                 Hours        Fees
July 2019   Claims                  07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting          0.2 0.0022989         $0.90
            Administration                                   reports to lenders.
            & Objections

July 2019   Claims                  07/10/19 ED          390 email correspondence with accountants (.6)                                                      0.6 0.0068966         $2.69
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                       0.4 0.0045977         $1.79
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                 1.1      0.0125       $4.88
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                      0.8 0.0091954         $3.59
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                         0.5 0.0057471         $2.24
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 and email correspondence confirming next steps (.3)                                             0.3 0.0034483         $1.34
            Administration
            & Objections

July 2019   Claims                  07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments               0.2 0.0022989         $0.90
            Administration                                   attributable to properties (.2)
            & Objections

July 2019   Claims                  07/14/19 ED          390 email accountant regarding same (.2)                                                            0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                    1.9 0.0218391         $8.52
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019   Claims                  07/15/19 ED          390 email correspondence with property manager regarding financial reporting to lenders (.5).           0.5 0.0135135         $5.27
            Administration
            & Objections

July 2019   Claims                  07/15/19 ED          390 email correspondence with lender's counsel and property manager in reply to multiple                0.6 0.0162162         $6.32
            Administration                                   questions relating to property reporting (.6)
            & Objections

July 2019   Claims                  07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
            Administration
            & Objections

July 2019   Claims                  07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
            Administration
            & Objections

July 2019   Claims                  07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
            Administration                                   to lender's counsel regarding restoration of rents (1.0).
            & Objections

July 2019   Claims                  07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
            Administration
            & Objections

July 2019   Claims                  07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
            Administration
            & Objections

July 2019   Claims                  07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
            Administration                                   information and instructions for same (.3)
            & Objections

July 2019   Claims                  07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
            Administration                                   preparation of June accounting reports to lenders (.5)
            & Objections

July 2019   Claims                  07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2019   Claims                  07/18/19 ED              390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports            0.8 0.0091954         $3.59
            Administration                                       (.8)
            & Objections

July 2019   Claims                  07/18/19 ED              390 confer with K. Duff regarding funds used for benefit of properties (.2).                             0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/19/19 ED              390 Email correspondence with A. Watychowicz regarding preparation of May accounting                     0.1 0.0011494         $0.45
            Administration                                       reports to lenders (.1)
            & Objections

July 2019   Claims                  07/22/19 ED              390 and confer with K. Duff regarding same (1.1)                                                         1.1 0.0126437         $4.93
            Administration
            & Objections

July 2019   Claims                  07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of              0.5 0.0057471         $2.24
            Administration                                       real estate taxes and related matters (.5)
            & Objections

July 2019   Claims                  07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                       0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                2.0 0.0229885         $8.97
            Administration
            & Objections

July 2019   Claims                  07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                 0.3 0.0034483         $1.34
            Administration
            & Objections

July 2019   Claims                  07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial          1.5 0.0172414         $1.90
            Administration                                       reports from institutional landers and property managers (1.5)
            & Objections

July 2019   Claims                  07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                        0.5 0.0057471         $0.63
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
July 2019   Claims                  07/23/19 ED          390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
            Administration
            & Objections

July 2019   Claims                  07/24/19 ED          390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
            Administration                                   accounting reports (.9)
            & Objections

July 2019   Claims                  07/24/19 ED          390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
            Administration
            & Objections

July 2019   Claims                  07/24/19 ED          390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
            Administration
            & Objections

July 2019   Claims                  07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                         0.4 0.0045977         $1.79
            Administration                                   accounting reports to lenders (.4)
            & Objections

August 2019 Asset                   08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD         390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                   08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest               0.1       0.001       $0.39
            Disposition                                      in properties (.1)
August 2019 Asset                   08/12/19 KBD         390 telephone conference with real estate broker and A. Porter regarding lender                              0.1 0.0011494         $0.45
            Disposition                                      communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                   08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                       0.3       0.003       $1.17
            Disposition                                      marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                       1.5 0.0172414         $6.72
            Disposition                                      credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                             (1.5).
August 2019 Asset                   08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                     0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                            0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing                0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Asset                   08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                      0.3       0.003       $1.17
            Disposition


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
August 2019 Business                08/03/19 KBD         390 Exchange correspondence with A. Porter regarding property management accounts.                    0.2 0.0054054         $2.11
            Operations
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property               0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/07/19 KBD         390 Telephone conference with accounting firm representative regarding property manager               0.2 0.0054054         $2.11
            Operations                                       accounting financial reporting (.2)
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                     0.1       0.001       $0.39
            Operations
August 2019 Business                08/19/19 KBD         390 Study property manager financial reports.                                                         0.4 0.0108108         $4.22
            Operations
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                       0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real               0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/23/19 KBD         390 Evaluation of property management cost issues and exchange correspondence with E. Duff            0.4 0.0108108         $4.22
            Operations                                       regarding same.
August 2019 Business                08/27/19 KBD         390 exchange correspondence with E. Duff regarding property management accounting (.4).               0.4 0.0108108         $4.22
            Operations
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                   0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.          0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)
August 2019 Business                08/30/19 KBD         390 follow up call with E. Duff (.2)                                                                  0.2 0.0054054         $2.11
            Operations
August 2019 Business                08/30/19 KBD         390 telephone conference with property manager and E. Duff regarding property management              0.9 0.0243243         $9.49
            Operations                                       and accounting issues (.9)
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                 0.5       0.005       $1.95
            Operations
August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                            0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and          1.5 0.0172414         $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions           4.3 0.0494253        $19.28
            Administration                                   (4.3)
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/21/19 KBD             390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                          2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD             390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing                0.2 0.0022989         $0.90
            Administration                                       issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD             390 Exchange correspondence with E. Duff regarding restoration of rents issue.                             0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                         0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit                0.2 0.0022989         $0.90
            Administration                                       bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                         0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                   08/03/19 AEP             390 review and inventory survey orders received for all Tranche 06 properties and update                   0.3 0.0083333         $3.25
            Disposition                                          portfolio spreadsheet with pricing information (.3)
August 2019 Asset                   08/03/19 AEP             390 read e-mails from title underwriter and surveyor requesting additional information regarding           0.4 0.0111111         $4.33
            Disposition                                          timetable for receipt of title commitments and surveys and prepare responses to both (.4).

August 2019 Asset                   08/05/19 AEP             390 miscellaneous correspondence with title company regarding potential updating of title                  0.1 0.0027778         $1.08
            Disposition                                          commitments on properties in next tranches of marketing and sales (.1).
August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102       $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                           0.2       0.002       $0.28
            Disposition
August 2019 Asset                   08/13/19 AW              140 Attention to marked up draft of sixth motion for approval of sale process, scan, and email to          0.1 0.0027778         $0.39
            Disposition                                          A. Porter.
August 2019 Asset                   08/20/19 JR              140 exchange correspondence with the surveyor pertaining to contact information for property               0.3 0.0073171         $1.02
            Disposition                                          manager and providing management companies for various properties (.3)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Asset                   08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on               0.3 0.0056604         $1.47
            Disposition                                          rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                   08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                               0.2 0.0037736         $1.47
            Disposition
August 2019 Asset                   08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff          1.0 0.0188679         $4.91
            Disposition                                          regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Asset                   08/29/19 JR              140 update EquityBuild spreadsheet with all EquityBuild property zip codes for closing                 1.2 0.0324324         $4.54
            Disposition                                          documents (1.2)
August 2019 Asset                   08/29/19 JR              140 Update real estate property spreadsheet and email to K. Duff (1.1)                                 1.1 0.0297297         $4.16
            Disposition
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for           0.2       0.002       $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                              1.3       0.013       $1.82
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                     0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).             0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to               0.1 0.0014085         $0.20
            Operations                                           payment of real estate taxes.
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance              0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                            0.7       0.007       $2.73
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                      0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                  0.8       0.008       $3.12
            Operations
August 2019 Business                08/22/19 ED              390 review and analysis of July profit and loss statements from property manager (1.3)                 1.3 0.0351351        $13.70
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                              1.2       0.012       $4.68
            Operations
August 2019 Business                08/22/19 ED              390 confer with K. Duff (.1)                                                                           0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/22/19 ED              390 Review and analysis of July invoices from property manager and related information                 1.1 0.0297297        $11.59
            Operations                                           regarding properties (1.1)
August 2019 Business                08/22/19 ED              390 email correspondence with asset manager (.3) regarding same.                                       0.3 0.0081081         $3.16
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).            0.1 0.0009804         $0.14
            Operations


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2019 Business                08/23/19 AEP         390 Teleconference with K. Duff regarding property management issues.                                    0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/25/19 ED          390 Review and analysis of management agreement.                                                         0.3 0.0081081         $3.16
            Operations
August 2019 Business                08/26/19 ED          390 prepare analysis regarding same (1.1)                                                                1.1 0.0297297        $11.59
            Operations
August 2019 Business                08/26/19 ED          390 email correspondence with property manager regarding same (.1)                                       0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/26/19 ED          390 and discuss with K. Duff (.5)                                                                        0.5 0.0135135         $5.27
            Operations
August 2019 Business                08/26/19 ED          390 draft revision to policy for pre-approval for expenses (.6).                                         0.6 0.0162162         $6.32
            Operations
August 2019 Business                08/26/19 ED          390 Call with asset manager to discuss property expenses (.4)                                            0.4 0.0108108         $4.22
            Operations
August 2019 Business                08/26/19 ED          390 call and email correspondence with accountant regarding review of backup for property                0.3 0.0081081         $3.16
            Operations                                       invoices (.3)
August 2019 Business                08/27/19 ED          390 Email correspondence with property manager to property expenses.                                     0.3 0.0081081         $3.16
            Operations
August 2019 Business                08/30/19 ED          390 and confer with K. Duff regarding same (.1).                                                         0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/30/19 ED          390 Call with K. Duff and property manager to discuss property expenses and related issues (.9)          0.9 0.0243243         $9.49
            Operations
August 2019 Claims                  08/02/19 ED          390 begin review of drafts of June accounting reports to lenders (.8).                                   0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED          390 and draft and send email to lender's counsel regarding same (.2)                                     0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED          390 review and analysis of revised May accounting report and related correspondence and                  0.3 0.0034483         $1.34
            Administration                                   documents (.3)
            & Objections

August 2019 Claims                  08/03/19 ED          390 Further review of drafts of June accounting reports to lenders (.7)                                  0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                  08/05/19 ED          390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).                 0.3 0.0034483         $1.34
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                       accounting firm (.5).
            & Objections

August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                         0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                           0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 call with accountant regarding same (.1)                                                           0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                                0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED              390 and email correspondence with accountant regarding comments (.6)                                   0.6 0.0068966         $2.69
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                          3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                  0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related            2.7 0.0310345        $12.10
            Administration                                   documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures            0.4 0.0045977         $1.79
            Administration                                   for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                  08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                          0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                           0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).          1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                              2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 and review revised reports (3.9)                                                                   3.9 0.0448276        $17.48
            Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                        0.6 0.0068966         $2.69
            Administration                                   content of reports (.6)
            & Objections

August 2019 Claims                  08/19/19 MR          390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                  3.5 0.0402299        $15.69
            Administration                                   follow up regarding same (3.5)
            & Objections

August 2019 Claims                  08/19/19 MR          390 attention to order on credit bids and conferences regarding same (.3)                                  0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                  08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236         $0.16
            Administration                                   follow up (.1)
            & Objections

August 2019 Claims                  08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                   accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                  08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED          390 email correspondence with accountant (.6)                                                              0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494         $0.45
            Administration                                   amounts
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
August 2019 Claims                  08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483          $1.34
            Administration                                   reports to lenders (.3)
            & Objections

August 2019 Claims                  08/28/19 MR          390 review various materials regarding same to prepare for call (.4)                                       0.4          0.2      $78.00
            Administration
            & Objections

August 2019 Claims                  08/28/19 MR          390 conferences with E. Duff regarding same (.2)                                                           0.2          0.1      $39.00
            Administration
            & Objections

August 2019 Claims                  08/28/19 MR          390 Participate in call regarding lender property issues (.4)                                              0.4          0.2      $78.00
            Administration
            & Objections

August 2019 Claims                  08/28/19 MR          390 follow up with K. Duff, A. Porter and asset manager (.3).                                              0.3         0.15      $58.50
            Administration
            & Objections

August 2019 Claims                  08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494          $0.45
            Administration
            & Objections

September   Asset                   09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356         $11.21
2019        Disposition                                      bidding, and hearing before Judge Lee (2.5).
September   Asset                   09/04/19 KBD         390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989          $0.90
2019        Disposition
September   Asset                   09/06/19 KBD         390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483          $1.34
2019        Disposition                                      regarding sales contracts and communications relating to credit bidding (.3)

September   Asset                   09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745         $14.15
2019        Disposition
September   Business                09/09/19 KBD         390 Study budget for property repairs and improvements and exchange correspondence                         0.4 0.0108108          $4.22
2019        Operations                                       regarding same (.4)
September   Business                09/12/19 KBD         390 study property manager financial reporting (.4).                                                       0.4 0.0108108          $4.22
2019        Operations
September   Business                09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977          $1.79
2019        Operations                                       Duff regarding property financial reporting.
September   Business                09/19/19 KBD         390 Work through various issues with E. Duff relating to financial reporting, accounting, and              0.8 0.0216216          $8.43
2019        Operations                                       property managers (.8)
September   Business                09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804          $0.38
2019        Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
September   Business                09/23/19 KBD             390 study correspondence from E. Duff and property manager regarding expense procedures                 0.2 0.0054054          $2.11
2019        Operations                                           (.2).
September   Claims                  09/01/19 KBD             390 Study correspondence from A. Porter regarding credit bid (.1)                                       0.1 0.0011494          $0.45
2019        Administration
            & Objections

September Claims                    09/03/19 KBD             390 Telephone conference and exchange correspondence with broker regarding credit bids and              0.3 0.0034483          $1.34
2019      Administration                                         communications with potential purchasers (.3)
          & Objections

September Claims                    09/10/19 KBD             390 telephone conference with real estate broker regarding credit bids and communications with          0.2 0.0022989          $0.90
2019      Administration                                         lenders representatives regarding same (.2).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from A. Porter regarding language in purchase and sale agreement for           0.1 0.0011494          $0.45
2019      Administration                                         credit bid (.1).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                0.1 0.0011494          $0.45
2019      Administration
          & Objections

September   Asset                   09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding            2.5 0.0245098          $9.56
2019        Disposition                                          same.
September   Asset                   09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                        0.3 0.0029412          $1.15
2019        Disposition
September   Asset                   09/24/19 JR              140 organize statements for real estate taxes (.3)                                                      0.3       0.003        $0.42
2019        Disposition
September   Business                09/04/19 ED              390 email correspondence with adjuster regarding claim (.2)                                             0.2          0.2      $78.00
2019        Operations
September   Business                09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                     0.2 0.0022989          $0.90
2019        Operations
September   Business                09/05/19 ED              390 Email correspondence with insurance agent regarding corrections to contact information on           0.1          0.1      $39.00
2019        Operations                                           policies (.1)
September   Business                09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                      0.3 0.0034483          $1.34
2019        Operations
September   Business                09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to             0.4 0.0039216          $0.55
2019        Operations                                           finance company for payment on insurance premium finance agreement (.4)

September   Business                09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                 0.2 0.0022989          $0.32
2019        Operations
September   Business                09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July           3.3 0.0383721          $5.37
2019        Operations                                           2019 (3.3)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
September   Business                09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                             0.2 0.0022989          $0.32
2019        Operations
September   Business                09/18/19 ED              390 review documentation regarding same (.3).                                                                0.3          0.3     $117.00
2019        Operations
September   Business                09/18/19 ED              390 Call with insurance adjuster regarding claim (.1)                                                        0.1          0.1      $39.00
2019        Operations
September   Business                09/19/19 ED              390 review documents and analysis from accountant regarding reconciliation of property                       0.5 0.0135135          $5.27
2019        Operations                                           manager invoices with backup (.5)
September   Business                09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471          $2.24
2019        Operations
September   Business                09/19/19 ED              390 meet with K. Duff regarding pending business operations issues (.8)                                      0.8 0.0216216          $8.43
2019        Operations
September   Business                09/19/19 ED              390 prepare draft for review by K. Duff (.2)                                                                 0.2 0.0054054          $2.11
2019        Operations
September   Business                09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989          $0.90
2019        Operations
September   Business                09/19/19 ED              390 preparation of outline of issues for discussion (.4)                                                     0.4 0.0108108          $4.22
2019        Operations
September   Business                09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505          $1.63
2019        Operations                                           same.
September   Business                09/20/19 ED              390 review and analysis of related documentation (.2)                                                        0.2          0.2      $78.00
2019        Operations
September   Business                09/20/19 ED              390 Email correspondence with insurance adjuster regarding claim (.1)                                        0.1          0.1      $39.00
2019        Operations
September   Business                09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431          $3.06
2019        Operations
September   Business                09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216          $0.55
2019        Operations                                           transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September   Business                09/25/19 ED              390 review of correspondence from insurance adjuster regarding two claims (.4)                               0.4          0.2      $78.00
2019        Operations
September   Business                09/25/19 ED              390 call with insurance agent regarding coverage for claim (.1)                                              0.1          0.1      $39.00
2019        Operations
September   Business                09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977          $1.79
2019        Operations
September   Business                09/25/19 ED              390 review of financial reporting records (.7)                                                               0.7    0.008046        $3.14
2019        Operations
September   Claims                  09/01/19 MR              390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483          $1.34
2019        Administration                                       lender.
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/10/19 ED          390 Preliminary review of draft accounting reports to lenders (.2)                                       0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                           0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding           0.1 0.0011494         $0.45
2019      Administration                                     payment of outstanding real estate taxes (.1).
          & Objections

September Claims                    09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                  0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                        0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                    0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into              0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                     0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                             0.9 0.0103448         $4.03
2019      Administration
          & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                        0.1 0.0018868         $0.74
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                               1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)              0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                                 1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                        0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                        1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                           1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                         0.2 0.0022989         $0.90
2019      Administration
          & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours         Fees
September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                             0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                         1.2 0.0137931          $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                           1.2 0.0137931          $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                    0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                      0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                    09/22/19 ED          390 Analysis of operating expenses.                                                                  1.5 0.0172414          $6.72
2019      Administration
          & Objections

October     Asset                   10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit          0.2 0.0022989          $0.90
2019        Disposition                                      bidding and planning for further sales.
October     Asset                   10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                 1.0 0.0114943          $4.48
2019        Disposition                                      regarding various property sales and credit bidding (1.0)
October     Asset                   10/17/19 KBD         390 Analysis of potential sale opportunity.                                                          0.2 0.0022472          $0.88
2019        Disposition
October     Asset                   10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to           0.3 0.0033708          $1.31
2019        Disposition                                      same.
October     Business                10/02/19 KBD         390 Exchange correspondence with E. Duff regarding property manager expenses.                        0.1 0.0027027          $1.05
2019        Operations
October     Business                10/04/19 KBD         390 Telephone conferences with A. Porter regarding property manager issue.                           0.3 0.0081081          $3.16
2019        Operations
October     Business                10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)             0.8 0.0078431          $3.06
2019        Operations
October     Business                10/09/19 KBD         390 Study and assess proposed repairs from property manager, exchange correspondence with            0.4          0.2      $78.00
2019        Operations                                       asset manager regarding same, and exchange correspondence with property manager to
                                                             confirm approved repairs (.4)
October     Business                10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                               0.1 0.0009804          $0.38
2019        Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
October     Business                10/11/19 KBD             390 Exchange correspondence with property manager and asset manager regarding property                    0.3 0.0081081          $3.16
2019        Operations                                           expenses and study information relating to same.
October     Business                10/22/19 KBD             390 exchange correspondence with property manager and asset manager regarding property                    0.2          0.2      $78.00
2019        Operations                                           repairs (1700 Juneway, 418 66th) (.2).
October     Business                10/24/19 KBD             390 Exchange correspondence with property manager regarding property repairs and costs and                0.2          0.1      $39.00
2019        Operations                                           exchange correspondence with asset manager regarding same (.2)
October     Claims                  10/10/19 KBD             390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to           0.3 0.0034483          $1.34
2019        Administration                                       sale of property and potential credit bid and analysis of same (.3)
            & Objections

October     Asset                   10/04/19 AEP             390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding            0.3 0.0034483          $1.34
2019        Disposition                                          procedures (.3)
October     Asset                   10/04/19 MR              390 Attention to order on objections to sales (.4)                                                        0.4 0.0045977          $1.79
2019        Disposition
October     Asset                   10/11/19 AEP             390 begin preparation of next draft of receiver's motion to market all remaining commercial               2.1 0.0777778         $30.33
2019        Disposition                                          apartment buildings (2.1).
October     Asset                   10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                        0.3 0.0034884          $0.49
2019        Disposition
October     Asset                   10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank               3.2 0.0372093          $5.21
2019        Disposition                                          statement and compare (3.2).
October     Asset                   10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                 0.4 0.0039216          $1.53
2019        Disposition                                          portfolio spreadsheet and property closing file folders accordingly (.4)
October     Asset                   10/28/19 AEP             390 locate organizational charts for all titleholding receivership properties and e-mail same to          0.3 0.0076923          $3.00
2019        Disposition                                          title company with explanation regarding additional corporate documentation available (.3)

October     Asset                   10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future              0.4     0.00625        $2.44
2019        Disposition                                          closings (.4)
October     Asset                   10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                        1.2 0.0137931          $5.38
2019        Disposition
October     Business                10/02/19 ED              390 email correspondence with property manager regarding property expenses (.1).                          0.1 0.0027027          $1.05
2019        Operations
October     Business                10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with                0.4 0.0045977          $1.79
2019        Operations                                           accountant regarding same.
October     Business                10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0029412          $1.15
2019        Operations
October     Business                10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                 1.0 0.0098039          $3.82
2019        Operations
October     Business                10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August               0.6 0.0068182          $2.66
2019        Operations                                           property reports.
October     Business                10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate           0.3 0.0030303          $0.42
2019        Operations                                           spreadsheet containing unpaid taxes from property manager (.3).
October     Business                10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers             1.9 0.0206522          $2.89
2019        Operations                                           can pay out of current net operating income (1.9)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
October     Business                10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                  0.2 0.0021739         $0.30
2019        Operations
October     Business                10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.             0.5 0.0057471         $2.24
2019        Operations
October     Business                10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and          3.1 0.0360465         $5.05
2019        Operations                                           also compare funds sent to property manager from receivers' account.

October     Business                10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real             0.2       0.002       $0.28
2019        Operations                                           estate taxes (.2)
October     Business                10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                      0.6       0.006       $0.84
2019        Operations
October     Business                10/22/19 JR              140 Finalize financial reports for receivership.                                                        1.4 0.0162791         $2.28
2019        Operations
October     Business                10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare          0.9 0.0087379         $1.22
2019        Operations                                           same.
October     Business                10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                1.3 0.0149425         $5.83
2019        Operations
October     Business                10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income           0.8 0.0091954         $3.59
2019        Operations                                           and expenditures (.8).
October     Business                10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                0.3 0.0029412         $0.41
2019        Operations                                           agreement and conferences with K. Duff and bank representative relating to same.

October     Claims                  10/10/19 NM              260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid             0.4 0.0045977         $1.20
2019        Administration                                       issue (.4).
            & Objections

October     Claims                  10/17/19 ED              390 confer with J. Rak regarding same (.2).                                                             0.2 0.0023256         $0.91
2019        Administration
            & Objections

October     Claims                  10/17/19 ED              390 Preliminary review of August accounting reports to lenders (1.5)                                    1.5 0.0174419         $6.80
2019        Administration
            & Objections

October     Claims                  10/24/19 ED              390 email to accountant regarding comments and revisions to reports (.2)                                0.2 0.0023256         $0.91
2019        Administration
            & Objections

October     Claims                  10/24/19 ED              390 update transmittal messages to lenders' counsel (1.6)                                               1.6 0.0183908         $7.17
2019        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
October     Claims                  10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019        Administration
            & Objections

October     Claims                  10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                            2.8 0.0325581        $12.70
2019        Administration
            & Objections

October     Claims                  10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019        Administration
            & Objections

October     Claims                  10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019        Administration
            & Objections

October     Claims                  10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019        Administration                                   September (1.2)
            & Objections

October     Claims                  10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256         $0.91
2019        Administration                                   reports (.2).
            & Objections

November    Asset                   11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019        Disposition
November    Asset                   11/18/19 KBD         390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739         $0.85
2019        Disposition
November    Asset                   11/23/19 KBD         390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258         $1.26
2019        Disposition
November    Business                11/05/19 KBD         390 analysis of same (.2).                                                                                0.2 0.0019608         $0.76
2019        Operations
November    Business                11/05/19 KBD         390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608         $0.76
2019        Operations                                       assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                             improvements for remaining properties in portfolio (.2)
November    Business                11/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4 0.0121212         $4.73
2019        Operations
November    Business                11/25/19 KBD         390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105         $1.64
2019        Operations                                       with E. Duff regarding same (.4)
November    Business                11/25/19 KBD         390 attention to utility bills (.1)                                                                       0.1 0.0030303         $1.18
2019        Operations
November    Business                11/25/19 KBD         390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053         $0.82
2019        Operations                                       insurance and expenses (.2)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
November    Business                11/26/19 KBD             390 exchange correspondence with J. Rak regarding new gas accounts (.1).                                    0.1 0.0030303          $1.18
2019        Operations
November    Business                11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding              0.3 0.0031579          $1.23
2019        Operations                                           same (.3)
November    Business                11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,               0.2 0.0021053          $0.82
2019        Operations                                           and planning (.2)
November    Claims                  11/04/19 KBD             390 exchange correspondence with N. Mirjanich and E. Duff regarding claims on properties (1700              0.1         0.05      $19.50
2019        Administration                                       Juneway and 6949 Merrill) and communications with lender regarding same (.1).
            & Objections

November    Asset                   11/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                            0.6 0.0166667          $2.33
2019        Disposition
November    Asset                   11/06/19 JR              140 continue to work and review the sixth motion to approve sale (3.7)                                      3.7 0.1027778         $14.39
2019        Disposition
November    Asset                   11/08/19 JR              140 review and update to the sixth motion to approve the sales process (1.0)                                1.0 0.0277778          $3.89
2019        Disposition
November    Asset                   11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties              0.4 0.0043478          $1.70
2019        Disposition                                          (.4).
November    Asset                   11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                                0.9 0.0104651          $1.47
2019        Disposition
November    Asset                   11/23/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties              5.8 0.1611111         $62.83
2019        Disposition                                          and prepare sixth motion for approval of sales process (5.8)
November    Asset                   11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership               2.8 0.0294737         $11.49
2019        Disposition                                          team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)
November    Asset                   11/24/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties              1.5 0.0416667         $16.25
2019        Disposition                                          subject to loans extended by certain lenders and prepare first draft of anticipated motions
                                                                 for approval of sales process.
November    Asset                   11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                       0.2 0.0021053          $0.29
2019        Disposition
November    Asset                   11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                8.3 0.0873684         $34.07
2019        Disposition                                          draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November    Asset                   11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                1.7 0.0197674          $2.77
2019        Disposition
November    Asset                   11/29/19 AEP             390 Consolidate drafts of sixth, seventh, eighth, and ninth motions to approve sales into single            2.2 0.0814815         $31.78
2019        Disposition                                          consolidated motion and conform all allegations for consistency.
November    Asset                   11/30/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by completing title                  5.5 0.1527778         $59.58
2019        Disposition                                          searches on all properties encumbered by mortgages in favor of certain secured lenders,
                                                                 assembling information pertaining to acquisitions and dispositions, updating portfolio
                                                                 spreadsheet, and enumerating relevant factual allegations as paragraphs in motion.




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
November    Business                11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835          $1.01
2019        Operations
November    Business                11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417          $0.50
2019        Operations
November    Business                11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835          $1.51
2019        Operations                                           reports (.4)
November    Business                11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019        Operations
November    Business                11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019        Operations                                           (.1)
November    Business                11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019        Operations                                           research and communication regarding process (.6).
November    Business                11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019        Operations
November    Business                11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681          $3.43
2019        Operations                                           been sold.
November    Business                11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757          $2.45
2019        Operations                                           accounting financial statements from Receiver's accountant.
November    Business                11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379          $3.41
2019        Operations
November    Business                11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961          $2.65
2019        Operations                                           receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November    Business                11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126          $1.14
2019        Operations                                           information for review (.3)
November    Business                11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845          $3.81
2019        Operations                                           (2.8).
November    Business                11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)               0.6 0.0066667          $0.93
2019        Operations
November    Claims                  11/04/19 NM              260 draft correspondence to E. Duff and study claims status reports for information regarding                0.4          0.2      $52.00
2019        Administration                                       lender (.4).
            & Objections

November    Claims                  11/20/19 ED              390 Email correspondence with property manager regarding arrangements for access for lender                  0.1          0.1      $39.00
2019        Administration                                       inspection (.1)
            & Objections

November    Claims                  11/20/19 ED              390 correspondence with lender regarding same (.1).                                                          0.1          0.1      $39.00
2019        Administration
            & Objections




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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November    Claims                  11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                      0.4 0.0038835         $1.51
2019        Administration                                       preparation of October accounting reports to lenders.
            & Objections

November    Claims                  11/30/19 ED              390 Review of September property reports from accountant (3.8)                                               3.8 0.0368932        $14.39
2019        Administration
            & Objections

November    Claims                  11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                   0.5 0.0048544         $1.89
2019        Administration                                       (.5).
            & Objections

December    Business                12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                     0.1 0.0010526         $0.41
2019        Operations
December    Business                12/05/19 KBD             390 Telephone conference with J. Rak regarding communications with property manager relating                 0.1 0.0030303         $1.18
2019        Operations                                           to utility issue.
December    Business                12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance                  0.1 0.0010526         $0.41
2019        Operations                                           premium payment (.1)
December    Business                12/11/19 KBD             390 study financial reporting from property manager (.4)                                                     0.4 0.0121212         $4.73
2019        Operations
December    Asset                   12/01/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by finalizing title                   4.2 0.1166667        $45.50
2019        Disposition                                          searches on all lender-specific properties, assembling information pertaining to all
                                                                 acquisitions, dispositions, refinancings, and mortgage releases, and grouping factual
                                                                 allegations.
December    Asset                   12/03/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to               0.2 0.0055556         $2.17
2019        Disposition                                          approve sales (.2)
December    Asset                   12/04/19 JR              140 telephone conference with A. Porter relating to the 6th motion to approve sale (.3)                      0.3 0.0083333         $1.17
2019        Disposition
December    Asset                   12/04/19 JR              140 assist in drafting sixth motion to approve sale process (5.3).                                           5.3 0.1472222        $20.61
2019        Disposition
December    Asset                   12/05/19 AEP             390 make major structural changes to sixth motion to approve sales (.9).                                     0.9       0.025       $9.75
2019        Disposition
December    Asset                   12/05/19 JR              140 review and update sixth motion to approve sale (4.7)                                                     4.7 0.1305556        $18.28
2019        Disposition
December    Asset                   12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                      0.2 0.0021053         $0.29
2019        Disposition
December    Asset                   12/06/19 AEP             390 Teleconference with J. Rak regarding exhibits to sixth motion to approve sales and edits and             0.6 0.0166667         $6.50
2019        Disposition                                          revisions thereto (.6)
December    Asset                   12/06/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to               0.2 0.0055556         $2.17
2019        Disposition                                          approve and status of due diligence and financing contingency dates for properties currently
                                                                 under contract (.2)
December    Asset                   12/06/19 AEP             390 begin researching title histories of all properties and compiling new exhibits for inclusion in          0.7 0.0194444         $7.58
2019        Disposition                                          sixth motion to approve sales (.7).


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
December    Asset                   12/06/19 JR              140 Further review of the sixth motion to approve sale (3.7)                                                  3.7 0.1027778         $14.39
2019        Disposition
December    Asset                   12/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                              0.6 0.0166667          $2.33
2019        Disposition
December    Asset                   12/07/19 AEP             390 Continue researching title histories of all properties, including conveyances to and from third-          3.4 0.0944444         $36.83
2019        Disposition                                          party investors, review title commitments associated therewith, and revise all paragraphs in
                                                                 existing draft accordingly.
December    Asset                   12/08/19 AEP             390 Perform title searches on properties within sixth motion to approve sales, review title                   3.2 0.0888889         $34.67
2019        Disposition                                          commitments, edit and revise motion pertaining to property acquisition and encumbrance
                                                                 dates and recording of releases.
December    Asset                   12/08/19 JR              140 Review and update to the sixth motion to approve the sales process (1.0)                                  1.0 0.0277778          $3.89
2019        Disposition
December    Asset                   12/09/19 JR              140 review title commitments and identify assignment of partial interest in mortgage for various              3.8 0.1055556         $14.78
2019        Disposition                                          properties included in the sixth motion to approve sales process and update the motion with
                                                                 corresponding information (3.8).
December    Asset                   12/12/19 AEP             390 teleconference with receivership brokers regarding status of currently pending sales and                  0.2 0.0055556          $2.17
2019        Disposition                                          potential marketing commencement periods for properties to be included in sixth motion to
                                                                 approve (.2)
December    Asset                   12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements                0.3 0.0029126          $0.41
2019        Disposition                                          (.3)
December    Asset                   12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                        0.8    0.007767        $1.09
2019        Disposition                                          preparation for review (.8)
December    Asset                   12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of                   0.2 0.0021053          $0.82
2019        Disposition                                          remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).
December    Asset                   12/26/19 JR              140 updates to ALTA statements for all properties under contract (1.4).                                       1.4         0.14      $19.60
2019        Disposition
December    Asset                   12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                       5.9 0.0728395         $10.20
2019        Disposition                                          organization of closing documents and the start of preparation for closings (5.9)
December    Asset                   12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status               2.4 0.0296296          $4.15
2019        Disposition                                          and information (2.4).
December    Business                12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by                 1.1 0.0106796          $1.50
2019        Operations                                           property basis and prepare same.
December    Business                12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium                 0.4 0.0042105          $0.59
2019        Operations                                           financing agreement and conferences with K. Duff and bank representative regarding same.

December    Business                12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                     0.4 0.0038835          $1.51
2019        Operations                                           expenses.
December    Business                12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                      0.1 0.0010526          $0.41
2019        Operations
December    Business                12/11/19 ED              390 Review statements from property manager regarding November financial performance of                       0.8    0.007767        $3.03
2019        Operations                                           properties and accounts payable (.8)




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
December    Business                12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019        Operations                                           reports (.2)
December    Business                12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019        Operations
December    Business                12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019        Operations                                           with accountant regarding comments and corrections.
December    Business                12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019        Operations
December    Claims                  12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019        Administration                                       from properties (.9)
            & Objections

December    Claims                  12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019        Administration
            & Objections

December    Claims                  12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845        $10.60
2019        Administration
            & Objections

December    Claims                  12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126         $1.14
2019        Administration                                       lenders.
            & Objections

December    Claims                  12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359         $8.70
2019        Administration                                       accountant 's information (6.4)
            & Objections

December    Claims                  12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126         $0.41
2019        Administration
            & Objections

December    Claims                  12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835         $1.51
2019        Administration
            & Objections

January     Asset                   01/09/20 KBD             390 Exchange correspondence with A. Porter regarding motions to approve sale of remaining                0.2 0.0055556         $2.17
2020        Disposition                                          properties (.2)
January     Asset                   01/12/20 KBD             390 Study motion to approve marketing and sales (2.2)                                                    2.2 0.0611111        $23.83
2020        Disposition
January     Asset                   01/14/20 KBD             390 Work on motion for approval of process for sale of properties with A Porter and M. Rachlis           3.1 0.0861111        $33.58
2020        Disposition                                          and analysis of various related issues (3.1)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
January     Asset                   01/21/20 KBD             390 Study and revise motion for approval to sell properties and work on same with A. Porter (.6)           0.6 0.0166667          $6.50
2020        Disposition
January     Asset                   01/22/20 KBD             390 study revised consolidated motion for listing and sale of properties (.7).                             0.7 0.0194444          $7.58
2020        Disposition
January     Asset                   01/23/20 KBD             390 Study and revise combined motion for approval to list and sell properties and confer with A.           1.8         0.05      $19.50
2020        Disposition                                          Porter and M. Rachlis relating to same (1.8)
January     Asset                   01/24/20 KBD             390 Study motion for listing and sale of properties.                                                       0.5 0.0138889          $5.42
2020        Disposition
January     Business                01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and             0.2 0.0021978          $0.86
2020        Operations                                           expense payments (.2)
January     Claims                  01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process              0.3 0.0033708          $1.31
2020        Administration                                       and confer with M. Rachlis regarding planning for meeting (.3)
            & Objections

January     Claims                  01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                              0.9 0.0101124          $3.94
2020        Administration
            & Objections

January     Asset                   01/06/20 AEP             390 correspondence with J. Rak regarding remaining assistance required in connection with                  0.1 0.0022222          $0.87
2020        Disposition                                          finalization of three nearly-completed motions (.1).
January     Asset                   01/08/20 JR              140 search and add exhibits relating to same to prepare for filing (1.1).                                  1.1 0.0244444          $3.42
2020        Disposition
January     Asset                   01/08/20 JR              140 assist A. Porter in review of title commitments and online searches for those whose interests          5.6 0.1244444         $17.42
2020        Disposition                                          are in various properties and review and further prepare the 5th motion to confirm sale and
                                                                 6th motion to approve sale (5.6)
January     Asset                   01/09/20 AEP             390 continue working with J. Rak on preparation of fifth motion to confirm sales and sixth motion          5.5 0.1222222         $47.67
2020        Disposition                                          to approve sales process, including review and analysis of all title commitments and
                                                                 recorded documents (5.5)
January     Asset                   01/09/20 AEP             390 prepare e-mail to receivership team regarding near-finality of sixth motion to approve sales           0.2 0.0055556          $2.17
2020        Disposition                                          and requesting assistance with lis pendens issues, preparation of notice of motion, and
                                                                 substantive analysis (.2).
January     Asset                   01/09/20 AEP             390 prepare e-mail to title company regarding special exceptions requiring hold harmless letters           0.2 0.0055556          $2.17
2020        Disposition                                          and special exceptions to be included on title in connection with all properties subsumed
                                                                 within sixth motion to approve sales process (.2)
January     Asset                   01/09/20 JR              140 work with A. Porter on further review and preparation of the 5th motion to confirm sale and            5.5 0.1222222         $17.11
2020        Disposition                                          6th motion to approve sale (5.5)
January     Asset                   01/10/20 MR              390 Attention to draft motion for approval of property sales.                                              0.3 0.0083333          $3.25
2020        Disposition
January     Asset                   01/11/20 AEP             390 assemble additional exhibits in connection with sixth motion to approve sales of receivership          2.3 0.0638889         $24.92
2020        Disposition                                          property and verify all pertinent information against assertions in motion papers (2.3).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
January     Asset                   01/12/20 AEP             390 Read through provisionally final sixth motion to approve sales of receivership properties and           2.7       0.075      $29.25
2020        Disposition                                          include new paragraphs, where applicable, identifying all assignees of EquityBuild mortgage
                                                                 interests.
January     Asset                   01/12/20 MR              390 Further review draft motion for approval of sales and process.                                          0.4 0.0111111         $4.33
2020        Disposition
January     Asset                   01/13/20 MR              390 attention to issues on draft motion for approval of sale process (.2)                                   0.2 0.0055556         $2.17
2020        Disposition
January     Asset                   01/13/20 MR              390 Conferences regarding certificate of service issue (.1)                                                 0.1 0.0027778         $1.08
2020        Disposition
January     Asset                   01/14/20 AEP             390 work on potential revisions to sixth motion to approve marketing and sale of remaining                  3.1 0.0861111        $33.58
2020        Disposition                                          receivership properties (3.1).
January     Asset                   01/14/20 AEP             390 prepare e-mail to title company providing detailed chain of title information for receivership          0.8 0.0222222         $8.67
2020        Disposition                                          properties subsumed within sixth motion to approve sales and requesting confirmation of
                                                                 deletion of special exceptions relating to miscellaneous mechanic's liens (.8)

January     Asset                   01/14/20 MR              390 conferences with A. Porter and K. Duff regarding motion to approve sale of remaining                    3.1 0.0861111        $33.58
2020        Disposition                                          properties (3.1).
January     Asset                   01/15/20 AEP             390 Rearrange order of presentation of argument and prepare additional explanatory paragraphs               0.4 0.0111111         $4.33
2020        Disposition                                          in sixth motion for court approval of sales of receivership properties, per recommendation of
                                                                 receiver (.4)
January     Asset                   01/15/20 AEP             390 and prepare e-mail to team enclosing nearly file-ready draft with report on remaining                   0.3 0.0066667         $2.60
2020        Disposition                                          incomplete items (.3).
January     Asset                   01/15/20 AEP             390 insert all exhibit citations into motion and review corresponding exhibit for accuracy and              2.2 0.0488889        $19.07
2020        Disposition                                          completeness (2.2)
January     Asset                   01/15/20 AW              140 reach out to claims vendor with request to assist in preparation of same and respond to                 0.1 0.0027778         $0.39
2020        Disposition                                          follow up emails (.1).
January     Asset                   01/15/20 AW              140 Confer with A. Porter regarding service list for sixth motion to approve sale process (.1)              0.1 0.0027778         $0.39
2020        Disposition
January     Asset                   01/16/20 AEP             390 inventory and review first seven batches of publicly-recorded documents received from title             0.6 0.0166667         $6.50
2020        Disposition                                          company and insert as exhibits to sixth motion to approve sales (.6).

January     Asset                   01/16/20 AEP             390 Prepare notice of sale, revise proposed judicial order, and perform inventory of exhibits in            1.2 0.0333333        $13.00
2020        Disposition                                          connection with finalization of sixth motion to approve sales of receivership properties,
                                                                 revise proposed judicial order (1.2)
January     Asset                   01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                1.6    0.015534       $2.17
2020        Disposition
January     Asset                   01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                1.2 0.0116505         $1.63
2020        Disposition                                          for further review (1.2).
January     Asset                   01/17/20 AW              140 Attention to transfer from claims vendor of information regarding primary and secondary                 1.6 0.0444444         $6.22
2020        Disposition                                          emails of all claimants and prepare service list for sixth motion to approve sale process.




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
January     Asset                   01/19/20 AEP             390 Begin second pass through fifth motion to approve marketing and sales of receivership                      4.5       0.125       $48.75
2020        Disposition                                          property, adding additional properties for which due diligence and financing contingencies
                                                                 have now expired, and generally proofing, editing, and revising motion.

January     Asset                   01/20/20 AEP             390 Assemble and inventory all exhibits associated with fifth motion to approve marketing and                  2.4 0.0666667         $26.00
2020        Disposition                                          sales of receivership properties, double-check all representations pertaining thereto in
                                                                 motion, and prepare additional paragraphs.
January     Asset                   01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                             0.3 0.0031579          $0.44
2020        Disposition
January     Asset                   01/20/20 MR              390 work on same with K. Duff (.2).                                                                            0.2 0.0055556          $2.17
2020        Disposition
January     Asset                   01/20/20 MR              390 Attention to motion for approval of sales and for process (.3)                                             0.3 0.0083333          $3.25
2020        Disposition
January     Asset                   01/21/20 AEP             390 Begin consolidating sixth motion to confirm sales, fifth motion to approve marketing and                   5.1 0.1133333         $44.20
2020        Disposition                                          sales, and motion to amend Order Appointing Receiver into single motion, inventory all
                                                                 exhibits received from title company and create final list of materials still needed to
                                                                 complete the motion, and make revisions consistent with suggestions received from K. Duff
                                                                 and M. Rachlis.
January     Asset                   01/21/20 AW              140 Brief review of exhibits and near final sixth motion for approval of sale process.                         0.4 0.0111111          $1.56
2020        Disposition
January     Asset                   01/21/20 MR              390 Further review of motion and follow up on various issues regarding same (.6)                               0.6 0.0166667          $6.50
2020        Disposition
January     Asset                   01/21/20 NM              260 Correspond with courtroom deputy and receivership team regarding filing separate or                        0.3 0.0066667          $1.73
2020        Disposition                                          consolidated motions to approve next batch of sales and sales process.

January     Asset                   01/22/20 AEP             390 conduct final online searches in connection with all properties under contract and revise                  1.6 0.0355556         $13.87
2020        Disposition                                          consolidated motion as necessary (1.6)
January     Asset                   01/22/20 AEP             390 reconcile all duplicative definitions following merger of separate motions (.4)                            0.4 0.0088889          $3.47
2020        Disposition
January     Asset                   01/22/20 AEP             390 third pass through consolidated motion to ensure accuracy and consistency (2.1).                           2.1 0.0466667         $18.20
2020        Disposition
January     Asset                   01/22/20 JR              140 work with A. Porter regarding drafting a table of contents for the 6th motion to confirm sale              0.2 0.0044444          $0.62
2020        Disposition                                          and approve sale (.2)
January     Asset                   01/23/20 AEP             390 review all exhibit numbers in motion to ensure consistency in numbering and double-check                   0.8 0.0177778          $6.93
2020        Disposition                                          all exhibit documents against motion (.8)
January     Asset                   01/23/20 AEP             390 discuss preparation of table of contents with J. Rak and review and edit first draft thereof (.5)          0.5 0.0111111          $4.33
2020        Disposition
January     Asset                   01/23/20 AEP             390 renumber all exhibits in motion to account for last-minute inclusion of additional releases                0.9         0.02       $7.80
2020        Disposition                                          (.9)
January     Asset                   01/23/20 AEP             390 Prepare additional paragraphs for consolidated motion to incorporate discussions regarding                 1.3 0.0288889         $11.27
2020        Disposition                                          effect of lis pendens filed against certain properties, and to supplement introduction, to
                                                                 include reference to additional releases (1.3)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January     Asset                   01/23/20 AEP             390 read entire motion and make final edits thereto (2.3).                                               2.3 0.0511111         $19.93
2020        Disposition
January     Asset                   01/23/20 AW              140 Review sixth motion to approve sale process and communicate with A. Porter and J. Rak                0.6 0.0166667          $2.33
2020        Disposition                                          regarding preparation of exhibits.
January     Asset                   01/23/20 JR              140 continue drafting the 6th motion to approve sale and draft table of contents (1.8)                   1.8         0.05       $7.00
2020        Disposition
January     Asset                   01/23/20 JR              140 compile all the exhibits into one document in preparation to file the motion to confirm and          2.7         0.06       $8.40
2020        Disposition                                          approve sale (2.7)
January     Asset                   01/23/20 MR              390 Attention to edits to motion for approval of sales process (.3)                                      0.3 0.0083333          $3.25
2020        Disposition
January     Asset                   01/23/20 MR              390 work on same with K. Duff (.2).                                                                      0.2 0.0055556          $2.17
2020        Disposition
January     Asset                   01/23/20 NM              260 Study motion to approve sales and correspond with receivership team regarding same.                  0.6 0.0166667          $4.33
2020        Disposition
January     Asset                   01/24/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property now under contract             0.2 0.0044444          $1.73
2020        Disposition                                          attaching consolidated motion and advising regarding timing of potential closings (.2).

January     Asset                   01/24/20 AEP             390 make final revisions to table of contents to consolidated motion (.3)                                0.3 0.0066667          $2.60
2020        Disposition
January     Asset                   01/24/20 AEP             390 make revisions to draft certificate of service (.2)                                                  0.2 0.0044444          $1.73
2020        Disposition
January     Asset                   01/24/20 MR              390 Attention regarding upcoming closings and motion for approval.                                       0.3 0.0066667          $2.60
2020        Disposition
January     Asset                   01/24/20 NM              260 Study motion to approve sales process and confirm sales of other properties before filing            0.3 0.0066667          $1.73
2020        Disposition                                          and correspond with A. Watychowicz regarding same (.3)
January     Asset                   01/28/20 JR              140 Telephone call with A. Porter related to encumbered title for properties under contract,             0.6         0.06       $8.40
2020        Disposition                                          obtaining payoff letters, releases and hold harmless letters from the title company (.6)

January     Asset                   01/30/20 JR              140 review title encumbrances for various properties under contract (2.8)                                2.8         0.28      $39.20
2020        Disposition
January     Asset                   01/31/20 JR              140 continue reviewing title encumbrances for various properties under contract (1.7)                    1.7         0.17      $23.80
2020        Disposition
January     Asset                   01/31/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                           0.1         0.01       $1.40
2020        Disposition
January     Business                01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                0.5 0.0048544          $1.89
2020        Operations                                           October reports.
January     Business                01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager             1.6    0.015534        $6.06
2020        Operations                                           (1.6)
January     Business                01/13/20 ED              390 preliminary review of December financial reporting (.5).                                             0.5 0.0048544          $1.89
2020        Operations
January     Business                01/14/20 ED              390 Review and analysis of property financial information as basis for discussion of funding             1.1    0.034375       $13.41
2020        Operations                                           operating reserves (1.1)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January     Business                01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020        Operations                                           expenditures to properties (.1).
January     Business                01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020        Operations
January     Business                01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020        Operations
January     Business                01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020        Operations
January     Business                01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020        Operations                                           insurance and communications with K. Duff and bank representatives regarding same (.4)

January     Claims                  01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020        Administration                                       regarding questions and corrections.
            & Objections

January     Claims                  01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020        Administration                                       received from accountant and provide to E. Duff for review.
            & Objections

January     Claims                  01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020        Administration                                       transmit to lenders' counsel.
            & Objections

January     Claims                  01/14/20 ED              390 Review objection to motion for approval of sale of real estate, and review and analysis of               0.7 0.0189189         $7.38
2020        Administration                                       related investor documents (.7)
            & Objections

January     Claims                  01/16/20 AEP             390 prepare second round of revisions to motion (.1).                                                        0.1 0.0022222         $0.87
2020        Administration
            & Objections

January     Claims                  01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252         $2.27
2020        Administration                                       regarding receivership income and expenditures (.6).
            & Objections

January     Claims                  01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417         $0.76
2020        Administration                                       reports through November 2019 (.2)
            & Objections

January     Claims                  01/20/20 JR              140 Prepare property management statements for December in preparation for review after                      0.6 0.0058252         $0.82
2020        Administration                                       accountant provides his copies for review.
            & Objections




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  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
January     Claims                  01/21/20 ED          390 draft correspondence to lenders and counsel relating to November 2019 accounting reports                0.7 0.0067961          $2.65
2020        Administration                                   to lenders (.7)
            & Objections

January     Claims                  01/21/20 ED          390 confer with J. Rak regarding review of November property accounting reports (.2)                        0.2 0.0019417          $0.76
2020        Administration
            & Objections

January     Claims                  01/21/20 ED          390 review of November property accounting reports (2.5).                                                   2.5 0.0242718          $9.47
2020        Administration
            & Objections

January     Claims                  01/23/20 AW          140 Confer with E. Duff regarding accounting reports for institutional lenders on property by               1.1 0.0106796          $1.50
2020        Administration                                   property basis with addition of properties that have no institutional debt, and prepare same.
            & Objections

January     Claims                  01/27/20 ED          390 Review and analysis of financial reporting, and email correspondence with accountant                    0.3 0.0029126          $1.14
2020        Administration                                   regarding preparation of monthly summary of receivership expenditures (.3)
            & Objections

January     Claims                  01/27/20 ED          390 prepare analysis of application of net proceeds from sold properties to rent restoration and            1.5 0.0145631          $5.68
2020        Administration                                   remaining amounts reimbursable to receivership (1.5).
            & Objections

February    Asset                   02/04/20 KBD         390 telephone conference with real estate broker and A. Porter regarding issues and planning for            0.2         0.02       $7.80
2020        Disposition                                      upcoming listing and sale of properties (.2)
February    Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                      0.2 0.0022222          $0.87
2020        Disposition                                      properties (.2)
February    Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and                0.2 0.0022222          $0.87
2020        Disposition                                      title work (.2)
February    Asset                   02/20/20 KBD         390 study draft proposed orders and correspondence regarding properties for sale and listing                0.2 0.0181818          $7.09
2020        Disposition                                      (.2).
February    Asset                   02/20/20 KBD         390 study correspondence from N. Mirjanich regarding properties ready to close and list for sale            0.2 0.0181818          $7.09
2020        Disposition                                      (.2)
February    Asset                   02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                           0.1 0.0011111          $0.43
2020        Disposition
February    Asset                   02/21/20 KBD         390 Study draft publication notice and various correspondence regarding order approving sale                0.4 0.0111111          $4.33
2020        Disposition                                      listings and confer with N. Mirjanich regarding same (.4)
February    Asset                   02/24/20 KBD         390 telephone conference with and draft correspondence to real estate broker, A. Porter, and N.             0.7      0.0875       $34.13
2020        Disposition                                      Mirjanich regarding pricing of, process for, and additional issues relating to next tranche of
                                                             properties for sale (.7)
February    Asset                   02/24/20 KBD         390 study correspondence from J. Rak regarding estimated closing costs (.1)                                 0.1 0.0090909          $3.55
2020        Disposition


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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February    Asset                   02/24/20 KBD             390 study portfolio summary and correspondence from A. Porter regarding same (.4)                          0.4 0.0045455         $1.77
2020        Disposition
February    Asset                   02/24/20 KBD             390 exchange correspondence with real estate broker regarding potential purchaser (.1).                    0.1 0.0011111         $0.43
2020        Disposition
February    Asset                   02/25/20 KBD             390 Exchange correspondence with M. Rachlis regarding response to objections to motion to list             0.3 0.0083333         $3.25
2020        Disposition                                          properties for sale (.3)
February    Asset                   02/26/20 KBD             390 Study and revise response to objections to motion to list properties for sale (1.2)                    1.2 0.0266667        $10.40
2020        Disposition
February    Asset                   02/28/20 KBD             390 study revised response to objections to sale motion and exchange correspondence regarding              1.4 0.0311111        $12.13
2020        Disposition                                          same (1.4)
February    Business                02/10/20 KBD             390 exchange correspondence with J. Rak regarding real estate taxes and property manager                   0.1 0.0011111         $0.43
2020        Operations                                           financial reporting (.1)
February    Business                02/11/20 KBD             390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)              0.4 0.0045455         $1.77
2020        Operations
February    Business                02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020        Operations                                           Duff regarding same (.4)
February    Business                02/12/20 KBD             390 Analysis of real estate taxes, property manager financial reports, and exchange                        0.4 0.0045455         $1.77
2020        Operations                                           correspondence with J. Rak relating to same and communications with property manager.

February    Business                02/14/20 KBD             390 review correspondence from property manager regarding tax payment planning (.1).                       0.1 0.0090909         $3.55
2020        Operations
February    Business                02/21/20 KBD             390 exchange correspondence with property managers and confer with J. Rak regarding payment                0.4 0.0045455         $1.77
2020        Operations                                           of real estate taxes (.4)
February    Claims                  02/25/20 KBD             390 exchange correspondence regarding notice of sales to lenders (.1).                                     0.1      0.0125       $4.88
2020        Administration
            & Objections

February    Asset                   02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                 0.1 0.0011111         $0.29
2020        Disposition
February    Asset                   02/11/20 AEP             390 Review title commitments relating to all properties subsumed within sixth motion to approve            0.4 0.0111111         $4.33
2020        Disposition                                          sales and create master list of remaining issues to be resolved prior to closings (.4)

February    Asset                   02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020        Disposition
February    Asset                   02/13/20 AEP             390 respond to surveyor regarding request for legal description and certification information for          0.1 0.0027778         $1.08
2020        Disposition                                          various receivership properties subsumed within sixth motion to approve (.1)

February    Asset                   02/18/20 NM              260 Study objections to sales motions and correspond with K. Duff and J. Rak regarding same and            1.0 0.0222222         $5.78
2020        Disposition                                          obtaining list of properties for which no objections were filed to send order to court on
                                                                 same.
February    Asset                   02/20/20 AEP             390 Work with K. Duff on reply in support of consolidated motion (.5)                                      0.5 0.0111111         $4.33
2020        Disposition




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
February    Asset                   02/20/20 JR              140 Exchange communication with N. Mirjanich regarding orders related to the 5th and 6th                  0.1 0.0027778          $0.39
2020        Disposition                                          motion (.1)
February    Asset                   02/20/20 JR              140 final review of objections to motion related to the properties included in the consolidated           0.7 0.0194444          $2.72
2020        Disposition                                          motion (.7).
February    Asset                   02/20/20 NM              260 draft notice for next marketing tranche and correspondence with receiver team on same                 0.4 0.0111111          $2.89
2020        Disposition                                          (.4).
February    Asset                   02/21/20 AEP             390 read reply in support of consolidated motion (.2).                                                    0.2 0.0044444          $1.73
2020        Disposition
February    Asset                   02/21/20 AEP             390 read orders granting in part fifth motion to confirm sales and sixth motion to approve sales          0.2 0.0044444          $1.73
2020        Disposition                                          process and prepare e-mails to buyers' counsel regarding preparation for closing (.2)

February    Asset                   02/21/20 NM              260 Correspond with broker regarding next marketing tranche.                                              0.3 0.0083333          $2.17
2020        Disposition
February    Asset                   02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                            0.1 0.0010526          $0.15
2020        Disposition
February    Asset                   02/24/20 NM              260 related telephone call with same (.5).                                                                0.5 0.0138889          $3.61
2020        Disposition
February    Asset                   02/24/20 NM              260 correspond with receiver team and broker regarding next marketing tranche and revise                  0.2 0.0055556          $1.44
2020        Disposition                                          notice of publication for same (.2)
February    Asset                   02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties            1.2 0.0134831          $1.89
2020        Disposition                                          managed by a management company (1.2)
February    Asset                   02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                0.1 0.0010753          $0.15
2020        Disposition
February    Asset                   02/25/20 NM              260 Attention to next marketing tranche and publication notice for same.                                  0.2 0.0055556          $1.44
2020        Disposition
February    Asset                   02/26/20 NM              260 Study correspondence relating to fourth marketing tranche and objections to consolidated              0.3 0.0066667          $1.73
2020        Disposition                                          sales motion.
February    Asset                   02/28/20 JR              140 update estimated closing costs spreadsheets with updated information (.9)                             0.9          0.1      $14.00
2020        Disposition
February    Asset                   02/28/20 JR              140 exchange correspondence with the title company regarding estimated closing costs and                  0.5 0.0555556          $7.78
2020        Disposition                                          request information for same for the next batch of properties going on the market (.5)

February    Asset                   02/28/20 JR              140 update closing spreadsheet regarding same (.5).                                                       0.5 0.0555556          $7.78
2020        Disposition
February    Business                02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                2.8 0.0314607          $4.40
2020        Operations
February    Business                02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                   0.1 0.0011236          $0.16
2020        Operations
February    Business                02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real               0.1 0.0010753          $0.15
2020        Operations                                           estate taxes (.1)
February    Business                02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                 0.1 0.0019608          $0.27
2020        Operations                                           taxes related to paying property taxes (.1)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February    Business                02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231         $0.75
2020        Operations
February    Business                02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231         $0.75
2020        Operations
February    Business                02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846         $1.13
2020        Operations
February    Business                02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                          0.4 0.0044444         $1.73
2020        Operations
February    Business                02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property               0.1 0.0019608         $0.27
2020        Operations                                           taxes (.1)
February    Business                02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property               0.2 0.0022727         $0.32
2020        Operations                                           taxes (.2).
February    Business                02/12/20 JR              140 Review email correspondence from K. Duff regarding payments of property taxes related to               0.1 0.0090909         $1.27
2020        Operations                                           various properties and further exchange communication with property manager regarding
                                                                 same (.1)
February    Business                02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020        Operations                                           for all EquityBuild properties.
February    Business                02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020        Operations                                           (2.7)
February    Business                02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020        Operations
February    Business                02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020        Operations
February    Business                02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020        Operations
February    Business                02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222         $0.87
2020        Operations
February    Business                02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774         $1.35
2020        Operations
February    Business                02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020        Operations
February    Business                02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020        Operations
February    Business                02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020        Operations                                           property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February    Claims                  02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020        Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
February    Claims                  02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and          2.6       0.025       $3.50
2020        Administration                                       property managers.
            & Objections

February    Claims                  02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                         2.8 0.0269231         $3.77
2020        Administration
            & Objections

February    Claims                  02/18/20 AEP             390 Read institutional lenders' memorandum in opposition to receiver's consolidated motion and          2.1 0.0466667        $18.20
2020        Administration                                       prepare outline of issues and responses thereto.
            & Objections

February    Claims                  02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                 0.2 0.0019231         $0.27
2020        Administration                                       statements (.2)
            & Objections

February    Claims                  02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                 1.2 0.0129032         $1.81
2020        Administration
            & Objections

February    Claims                  02/18/20 MR              390 review and develop possible response to objections on sales motion (.8).                            0.8 0.0177778         $6.93
2020        Administration
            & Objections

February    Claims                  02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting            0.5 0.0048077         $1.88
2020        Administration                                       reports.
            & Objections

February    Claims                  02/24/20 MR              390 attention to objection on sales motion and issues on sales (.3).                                    0.3 0.0066667         $2.60
2020        Administration
            & Objections

February    Claims                  02/25/20 MR              390 Further attention to objections by lenders to property sales.                                       2.2 0.0488889        $19.07
2020        Administration
            & Objections

February    Claims                  02/26/20 AW              140 further work on draft response to objections (5.0).                                                 5.0 0.1111111        $15.56
2020        Administration
            & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February    Claims                  02/28/20 AW          140 proofread reply in support of consolidated motion and email Receivership team regarding                   0.9         0.02       $2.80
2020        Administration                                   revisions [long time due to tracking down of all objections filed by institutional lenders] (.9)
            & Objections

February    Claims                  02/28/20 AW          140 communicate with counsel regarding additional revisions and language from previous                        0.3 0.0066667          $0.93
2020        Administration                                   pleadings (.3).
            & Objections

February    Claims                  02/28/20 MR          390 attention to objections to sixth sales moron and review and revise same (1.7).                            1.7 0.0377778         $14.73
2020        Administration
            & Objections

February    Claims                  02/28/20 NM          260 correspond with receiver's team regarding response to consolidated sales motion and revise                1.3 0.0288889          $7.51
2020        Administration                                   same (1.3).
            & Objections

March 2020 Asset                    03/05/20 KBD         390 study reply in support of consolidated property sales motion (.4).                                        0.4 0.0111111          $4.33
           Disposition
March 2020 Asset                    03/05/20 KBD         390 Study revisions to and further revise motion to approve sale of Naples property and                       0.6 0.0133333          $5.20
           Disposition                                       proposed order (.6)
March 2020 Asset                    03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                             0.1 0.0011111          $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence                     2.9 0.0329545         $12.85
           Disposition                                       with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                        0.6 0.0068182          $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                       1.1      0.0125        $4.88
           Disposition                                       marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19                 0.1 0.0011111          $0.43
           Disposition                                       impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and                    0.3 0.0034091          $1.33
           Disposition                                       marketing timing and strategy (.3)
March 2020 Asset                    03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                      0.2 0.0022727          $0.89
           Disposition                                       estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale                0.2 0.0022222          $0.87
           Disposition                                       efforts (.2).
March 2020 Asset                    03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                       0.1 0.0011111          $0.43
           Disposition                                       properties (.1)
March 2020 Asset                    03/26/20 KBD         390 exchange correspondence with real estate broker regarding purchase and sale agreements                    0.1         0.01       $3.90
           Disposition                                       and estimated closing costs (.1)
March 2020 Asset                    03/27/20 KBD         390 Study lenders' supplemental objection to consolidated motion (.5)                                         0.5 0.0138889          $5.42
           Disposition


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
March 2020 Asset                    03/27/20 KBD             390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091         $11.08
           Disposition                                           Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/31/20 KBD             390 study order approving listing and sale of properties and exchange correspondence regarding          0.3 0.0066667          $2.60
           Disposition                                           same (.3)
March 2020 Business                 03/10/20 KBD             390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222          $0.87
           Operations                                            and renewal (.2).
March 2020 Business                 03/11/20 KBD             390 study property manager financial reporting (.4)                                                     0.4      0.0125        $4.88
           Operations
March 2020 Business                 03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222          $0.87
           Operations                                            environment (.2).
March 2020 Business                 03/17/20 KBD             390 Study correspondence from property manager regarding COVID-19 response measures (.2)                0.2     0.00625        $2.44
           Operations
March 2020 Business                 03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                   0.3 0.0034091          $1.33
           Operations
March 2020 Business                 03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                        0.2 0.0022727          $0.89
           Operations
March 2020 Business                 03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                    0.4 0.0045455          $1.77
           Operations                                            property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/23/20 KBD             390 Exchange correspondence with J. Wine regarding various property notices and repairs.                0.3         0.05      $19.50
           Operations
March 2020 Business                 03/27/20 KBD             390 analysis of property revenue and exchange correspondence with asset manager regarding               0.5 0.0138889          $5.42
           Operations                                            same (.5).
March 2020 Business                 03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                0.3 0.0033708          $1.31
           Operations                                            issues and analysis (.3).
March 2020 Asset                    03/02/20 AEP             390 additional notices of violation filed against properties in next marketing tranche (.2)             0.2 0.0055556          $2.17
           Disposition
March 2020 Asset                    03/02/20 AEP             390 updates to property-specific closing checklists and seller's figures (.6)                           0.6 0.0166667          $6.50
           Disposition
March 2020 Asset                    03/02/20 AEP             390 lender objections to consolidated motion to sell (.3)                                               0.3 0.0066667          $2.60
           Disposition
March 2020 Asset                    03/02/20 JR              140 update closing checklists (.7).                                                                     0.7         0.07       $9.80
           Disposition
March 2020 Asset                    03/02/20 JR              140 follow up correspondence with the title company regarding status of title invoices in               0.2         0.02       $2.80
           Disposition                                           preparation of estimated closing costs for next batch of properties on the market (.2)

March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                  1.6 0.0181818          $2.55
           Disposition
March 2020 Asset                    03/02/20 JR              140 email correspondence with the property managers regarding water balances related to                 0.5         0.05       $7.00
           Disposition                                           updates to estimated closing cost for next batch of properties marketed for sale and in
                                                                 preparation for credit bids (.5)
March 2020 Asset                    03/02/20 JR              140 updates for closing cost estimates with prorated property taxes regarding properties                1.6         0.16      $22.40
           Disposition                                           currently marketed for sale (1.6)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2020 Asset                    03/03/20 JR              140 organize water bills regarding same (.6)                                                                0.6         0.06       $8.40
           Disposition
March 2020 Asset                    03/03/20 JR              140 Review email correspondence from the property managers regarding estimated costs for                    0.2         0.02       $2.80
           Disposition                                           water related to the estimates of closings (.2)
March 2020 Asset                    03/03/20 JR              140 update estimated closing costs with water estimates and finalize property taxes (.8)                    0.8         0.08      $11.20
           Disposition
March 2020 Asset                    03/05/20 AEP             390 read, edit, and revise draft reply in support of consolidated motion (2.9)                              2.9 0.0644444         $25.13
           Disposition
March 2020 Asset                    03/06/20 NM              260 study reply to consolidated motion and study correspondence with Receiver's team on same                0.6 0.0166667          $4.33
           Disposition                                           (.6).
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222          $0.87
           Disposition
March 2020 Asset                    03/12/20 JR              140 draft purchase and sale contracts in preparation for new buyers for properties currently                0.2 0.0055556          $0.78
           Disposition                                           being marketed and telephone communication with real estate broker regarding same (.2).

March 2020 Asset                    03/13/20 JR              140 review purchase and sale agreements for various properties and make modifications related               1.7         0.17      $23.80
           Disposition                                           to same (1.7).
March 2020 Asset                    03/16/20 JR              140 update closing checklist related to property information related to same purchase and sale              1.4         0.14      $19.60
           Disposition                                           agreements (1.4)
March 2020 Asset                    03/16/20 JR              140 exchange correspondence with A. Porter regarding same (.1).                                             0.1         0.01       $1.40
           Disposition
March 2020 Asset                    03/16/20 JR              140 review and draft purchase and sale agreements for various properties currently being                    1.2         0.12      $16.80
           Disposition                                           marketed for sale (1.2)
March 2020 Asset                    03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781          $7.48
           Disposition                                           and motions regarding same (1.4)
March 2020 Asset                    03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397          $1.07
           Disposition
March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976          $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439        $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596          $1.73
           Disposition
March 2020 Asset                    03/17/20 JR              140 Review, revise and purchase and sale agreements for various properties that are currently               3.4         0.34      $47.60
           Disposition                                           being marketed for sale (1700 Juneway, 5450 S. Indiana, 6437 S. Kenwood, 7300 S. St.
                                                                 Lawrence, 7760 S. Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside and
                                                                 11117 S. Longwood) (3.4)
March 2020 Asset                    03/17/20 JR              140 update closing checklists with relevant information regarding same and including water                  1.2         0.12      $16.80
           Disposition                                           account information (1.2)
March 2020 Asset                    03/17/20 JR              140 prepare Escrow Agreement and Assignment and Assumption of Leases for each property                      1.6         0.16      $22.40
           Disposition                                           (1.6)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2020 Asset                    03/17/20 JR              140 exchange correspondence with property managers regarding on- site manager contact                       0.3         0.03       $4.20
           Disposition                                           information used for City of Chicago water applications for properties currently marketed (.3)

March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247          $2.83
           Disposition
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416          $0.94
           Disposition
March 2020 Asset                    03/20/20 JR              140 Exchange correspondence with the property manager regarding City of Chicago final water                 0.2       0.025        $3.50
           Disposition                                           billing process (.2)
March 2020 Asset                    03/20/20 JR              140 further correspondence with the property manager related to confirmation of contact                     0.2       0.025        $3.50
           Disposition                                           person for the City of Chicago and related to water applications (.2)
March 2020 Asset                    03/20/20 JR              140 final review purchase and sale agreements for various properties (.6)                                   0.6         0.06       $8.40
           Disposition
March 2020 Asset                    03/20/20 JR              140 update closing checklists regarding same (.4).                                                          0.4         0.04       $5.60
           Disposition
March 2020 Asset                    03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096          $1.60
           Disposition
March 2020 Asset                    03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192          $3.21
           Disposition
March 2020 Asset                    03/24/20 AW              140 attention to email from A. Porter forwarding all current drafts of proposed orders. (.1).               0.1 0.0022222          $0.31
           Disposition
March 2020 Asset                    03/24/20 AW              140 Research regarding proposed orders relating to sales motions and communicate with K. Duff               0.2 0.0044444          $0.62
           Disposition                                           regarding same (.2)
March 2020 Asset                    03/24/20 JR              140 Phone conference with A. Porter and the real estate brokers regarding status of closings of             0.7 0.0194444          $2.72
           Disposition                                           various properties under contract and currently on the market and plan of action regarding
                                                                 same (.7)
March 2020 Asset                    03/25/20 AEP             390 Edit and revise form purchase and sale agreement to be tendered to prospective bidders on               0.6 0.0166667          $6.50
           Disposition                                           next tranche of receivership properties to incorporate necessary changes based on past
                                                                 experience (.6)
March 2020 Asset                    03/25/20 AEP             390 review due diligence files for all properties in next tranche of sales and update purchase and          0.5 0.0138889          $5.42
           Disposition                                           sale agreements to incorporate disclosures of administrative and housing court actions and
                                                                 to confirm accuracy of legal descriptions and PINs (.5).
March 2020 Asset                    03/25/20 JR              140 exchange correspondence with A. Porter and the broker regarding same (.2)                               0.2         0.02       $2.80
           Disposition
March 2020 Asset                    03/25/20 JR              140 Update purchase and sale agreements for various properties (1700 Juneway, 5450 Indiana,                 4.9         0.49      $68.60
           Disposition                                           6437 Kenwood, 7300 Lawrence, 7760 Coles, 8000 Justine, 8107 Ellis, 8209 Ellis, 8214
                                                                 Ingleside, 11117 Longwood) for potential buyers (4.9)
March 2020 Asset                    03/27/20 MR              390 prepare for and participate in calls regarding same with asset manager and K. Duff (1.0)                1.0 0.0222222          $8.67
           Disposition
March 2020 Asset                    03/30/20 MR              390 attention to issues regarding properties (.1).                                                          0.1 0.0022222          $0.87
           Disposition
March 2020 Asset                    03/30/20 MR              390 Conferences with asset manager regarding various property issues (.2)                                   0.2 0.0044444          $1.73
           Disposition


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
March 2020 Asset                    03/31/20 MR              390 attention to orders regarding sales and issues moving forward and conferences regarding              0.4 0.0088889          $3.47
           Disposition                                           same (.4)
March 2020 Asset                    03/31/20 MR              390 Draft and revise motion for clarification and other relief and follow up regarding various           2.2 0.0488889         $19.07
           Disposition                                           issues with K. Duff and A. Watychowicz (2.2)
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                            0.4    0.004878        $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.             1.9 0.0215909          $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold              0.1 0.0009615          $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same             2.8 0.0271845          $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                         0.1 0.0009709          $0.14
           Operations
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                      0.4 0.0038462          $1.50
           Operations
March 2020 Business                 03/17/20 ED              390 Review draft form of revised management agreements from property manager.                            0.6     0.01875        $7.31
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.          1.8 0.0204545          $2.86
           Operations
March 2020 Business                 03/23/20 JRW             260 communicate with property manager regarding collection notices and payment of fines                  0.9          0.3      $78.00
           Operations                                            (8214 S. Ingleside, 1700 W. Juneway, 5618 S. MLK (.9)
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                  0.2 0.0022222          $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy           0.3 0.0033333          $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                4.1 0.0398058          $5.57
           Operations
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                 0.3 0.0033708          $1.31
           Operations
March 2020 Business                 03/30/20 ED              390 Review revised statement of value (.4)                                                               0.4 0.0044944          $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 and loss history (.4)                                                                                0.4 0.0044944          $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 call with insurance agent regarding same (.2)                                                        0.2 0.0022472          $0.88
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                             0.4 0.0038835          $1.51
           Administration
           & Objections




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2020 Claims                   03/03/20 ED          390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                    to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED          390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544          $1.89
           Administration                                    reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED          390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                    expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED          390 and review of related documentation (.1).                                                             0.1 0.0009709          $0.38
           Administration
           & Objections

March 2020 Claims                   03/04/20 MR          390 Attention to investor related inquires regarding motions (.3)                                         0.3         0.05      $19.50
           Administration
           & Objections

March 2020 Claims                   03/04/20 MR          390 follow up on e-mail from K. Duff regarding response to same (.2)                                      0.2 0.0333333         $13.00
           Administration
           & Objections

March 2020 Claims                   03/30/20 JRW         260 research claims against property secured by institutional lender and related exchange of              0.3         0.15      $39.00
           Administration                                    correspondence with E. Duff (.3)
           & Objections

April 2020   Asset                  04/01/20 KBD         390 telephone conference with real estate broker, M. Rachlis, and A. Porter regarding offers on           1.6         0.16      $62.40
             Disposition                                     properties (1.6)
April 2020   Asset                  04/01/20 KBD         390 Analysis of offers on properties (.4)                                                                 0.4         0.04      $15.60
             Disposition
April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                           0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                  04/03/20 KBD         390 study and revise correspondence regarding highest bids and credit bid opportunities (.2).             0.2         0.02       $7.80
             Disposition
April 2020   Asset                  04/03/20 KBD         390 several additional telephone conferences and exchange correspondence with real estate                 1.0          0.1      $39.00
             Disposition                                     broker, M. Rachlis, and A. Porter regarding closings planning, estimated closing costs, and
                                                             various related issues (1.0)
April 2020   Asset                  04/03/20 KBD         390 Telephone conference with and study reporting from real estate broker, M. Rachlis, and A.             0.9         0.09      $35.10
             Disposition                                     Porter regarding offers and properties and communications with buyers (.9)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                  0.3 0.0041096          $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Asset                  04/06/20 KBD         390 telephone conference with real estate broker and A. Porter regarding properties under                 1.0          0.2      $78.00
             Disposition                                     contract, closing dates, and buyer requests for extensions (1.0)
April 2020   Asset                  04/10/20 KBD         390 study correspondence from A. Porter regarding litigation status relating to properties (.2).          0.2         0.02       $7.80
             Disposition
April 2020   Asset                  04/11/20 KBD         390 Study offer summary for sale of properties (.5)                                                       0.5         0.05      $19.50
             Disposition
April 2020   Asset                  04/14/20 KBD         390 Exchange correspondence with A. Porter regarding litigation status relating to various                0.2         0.02       $7.80
             Disposition                                     properties in connection with sale closing efforts.
April 2020   Asset                  04/15/20 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                              0.1         0.05      $19.50
             Disposition
April 2020   Asset                  04/15/20 KBD         390 Study correspondence from real estate broker regarding sale and closing status of properties          0.1         0.05      $19.50
             Disposition                                     (1700 Juneway, 6951 Merrill) (.1)
April 2020   Asset                  04/24/20 KBD         390 study information regarding pricing of properties and portfolio summary (.6).                         0.6 0.0428571         $16.71
             Disposition
April 2020   Asset                  04/30/20 KBD         390 telephone conference with J. Wine and M. Rachlis regarding publication and sales issues (.3)          0.3         0.02       $7.80
             Disposition
April 2020   Business               04/06/20 KBD         390 Study correspondence from property manager regarding property management status.                      0.2 0.0064516          $2.52
             Operations
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                               0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                            0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                  0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                          0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                      0.2 0.0022989          $0.90
             Operations                                      properties and review information relating to same.
April 2020   Business               04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                      0.1 0.0011236          $0.44
             Operations                                      coverage issue (.1)
April 2020   Business               04/15/20 KBD         390 study property manager financial reporting (.4)                                                       0.4 0.0129032          $5.03
             Operations
April 2020   Business               04/16/20 KBD         390 Study property manager financial reporting (.5)                                                       0.5    0.016129        $6.29
             Operations
April 2020   Business               04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                     0.1 0.0011236          $0.44
             Operations
April 2020   Business               04/23/20 KBD         390 Study correspondence from property manager lender reporting and property expenses (.2)                0.2 0.0064516          $2.52
             Operations
April 2020   Business               04/28/20 KBD         390 study property manager operating report information (.2).                                             0.2 0.0064516          $2.52
             Operations


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2020   Business               04/28/20 KBD             390 Work on property expenses (.4)                                                                         0.4 0.0129032          $5.03
             Operations
April 2020   Business               04/29/20 KBD             390 Study property manager financial reporting and exchange correspondence with asset                      0.5    0.016129        $6.29
             Operations                                          manager regarding same (.5)
April 2020   Business               04/29/20 KBD             390 telephone conference with asset manager regarding same (.1)                                            0.1 0.0032258          $1.26
             Operations
April 2020   Business               04/29/20 KBD             390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691          $0.96
             Operations                                          insurance renewal efforts and cost (.2)
April 2020   Claims                 04/14/20 KBD             390 study correspondence from claimant regarding status of property sales (1700 Juneway, 6951              0.1         0.05      $19.50
             Administration                                      Merrill) and exchange correspondence with real estate broker guarding same (.1).
             & Objections

April 2020   Asset                  04/01/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding bids submitted in          1.7 0.0472222         $18.42
             Disposition                                         connection with latest marketing tranche and strategies for responding thereto, as well as
                                                                 anticipated timing of closings of properties subsumed within order approving fifth motion to
                                                                 confirm sales and remaining obstacles thereto (1.7)

April 2020   Asset                  04/01/20 AEP             390 revise proposed order approving fifth motion to confirm sales and exhibit to sixth motion to           0.2 0.0044444          $1.73
             Disposition                                         approve sales process (.2)
April 2020   Asset                  04/01/20 AW              140 additional revisions to orders and submit to Judge Lee as per standing order (.2).                     0.2 0.0044444          $0.62
             Disposition
April 2020   Asset                  04/01/20 AW              140 Attention to exchanges regarding revisions to proposed orders (.1)                                     0.1 0.0022222          $0.31
             Disposition
April 2020   Asset                  04/01/20 MR              390 prepare for meeting on property sales and emails regarding same (.4)                                   0.4 0.0111111          $4.33
             Disposition
April 2020   Asset                  04/01/20 MR              390 review order on clarification and other orders (.2)                                                    0.2    0.002439        $0.95
             Disposition
April 2020   Asset                  04/01/20 MR              390 Review draft orders and follow up on various related issues regarding orders on marketing              0.5 0.0111111          $4.33
             Disposition                                         and other issues (.5)
April 2020   Asset                  04/01/20 MR              390 participate in call regarding upcoming bids and anticipated closings with K. Duff, A. Porter           1.7 0.0472222         $18.42
             Disposition                                         and real estate broker (1.7).
April 2020   Asset                  04/03/20 MR              390 Participate in conference call regarding best and final bids from prospective purchasers and           0.7      0.0875       $34.13
             Disposition                                         other issues with A. Porter, K. Duff and real estate broker (.7)
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with real estate broker regarding purchase and sale agreement                  0.2 0.0055556          $0.78
             Disposition                                         language (.2)
April 2020   Asset                  04/09/20 JR              140 save purchase and sale agreements and SJOs for various properties in series x and update               0.5 0.0138889          $1.94
             Disposition                                         closing checklists with property information (.5).
April 2020   Asset                  04/09/20 JR              140 exchange correspondence with the property management team requesting due diligence                     0.2 0.0055556          $0.78
             Disposition                                         documents for various properties listed for sale (.2)
April 2020   Asset                  04/10/20 AEP             390 review and revise purchase and sale contract associated with receivership property (1700 W             0.3          0.3     $117.00
             Disposition                                         Juneway) and return same to receivership broker with instructions for counter-execution by
                                                                 purchaser (.3)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
April 2020   Asset                  04/10/20 JR              140 update master and closing checklists regarding same (.5)                                                  0.5 0.0138889          $1.94
             Disposition
April 2020   Asset                  04/10/20 JR              140 exchange correspondence with real estate broker regarding status of purchase and sale                     0.2 0.0055556          $0.78
             Disposition                                         agreements for series 4 properties and review and update buyer counsel information and
                                                                 buyer information regarding same (.2)
April 2020   Asset                  04/10/20 JR              140 review email from real estate broker regarding additional information related to purchase                 0.6         0.15      $21.00
             Disposition                                         and sale agreements recently entered and buyer and buyer's counsel information and
                                                                 update closing checklists (7760 S. Coles, 1700 Juneway, 7300 S. St Lawrence, 11117
                                                                 Longwood) (.6)
April 2020   Asset                  04/10/20 JRW             260 Exchange correspondence with A. Porter regarding litigation status of properties in current               0.3         0.03       $7.80
             Disposition                                         sales tranche and checking status of violations against properties on City of Chicago website.

April 2020   Asset                  04/11/20 AEP             390 read e-mail explanation from J. Wine regarding status of various administrative actions                   0.4 0.0444444         $17.33
             Disposition                                         apparently still pending against properties owned by corporate entity, reconcile information
                                                                 with due diligence files, update litigation spreadsheet, and prepare response requesting
                                                                 additional information from property manager or corporation counsel (.4)

April 2020   Asset                  04/13/20 JR              140 follow up correspondence with the property manager regarding due diligence documents for                  0.2 0.0055556          $0.78
             Disposition                                         series x and related to all properties recently under contract (.2)
April 2020   Asset                  04/13/20 JRW             260 Investigate administrative actions against multiple properties in current sales tranche,                  3.6          0.4     $104.00
             Disposition                                         organize files, and report to A. Porter (11117-19 S. Longwood, 6437 S. Kenwood, 5450 S.
                                                                 Indiana, 8214 S. Ingleside, 8000 S. Justine, 8107 S. Ellis, 7760 S. Coles, 1700 W. Juneway, 7300
                                                                 S St. Lawrence).
April 2020   Asset                  04/14/20 AEP             390 read e-mail from J. Wine listing status of all administrative and housing court actions pending           1.2         0.12      $46.80
             Disposition                                         against properties in current sales tranche, reconcile against existing records, update closing
                                                                 checklists, and send e-mails to title company to provide notice of proceedings requiring
                                                                 itemization on revised title commitments (1.2)

April 2020   Asset                  04/14/20 JRW             260 Exchange correspondence with A. Porter regarding litigation status of properties (8214 S                  0.2 0.0333333          $8.67
             Disposition                                         Ingleside, 8000 S Justine, 8107 S Ellis, 8209 S Ellis, 7750 S Coles, 1700 W Juneway, 7300 S St
                                                                 Lawrence) (.2)
April 2020   Asset                  04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of                   0.3 0.0033708          $1.31
             Disposition                                         special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/15/20 JR              140 update closing checklists regarding same (.3)                                                             0.3 0.0083333          $1.17
             Disposition
April 2020   Asset                  04/15/20 JR              140 further correspondence with the property manager regarding requested items for closings                   0.4 0.0108108          $1.51
             Disposition                                         and due diligence documents (.4)
April 2020   Asset                  04/15/20 JR              140 calculate prorated property taxes for various properties and update settlement statements                 1.4 0.0388889          $5.44
             Disposition                                         regarding same (1.4)
April 2020   Asset                  04/16/20 JR              140 review due diligence documents received from property manager and update corresponding                    1.8         0.05       $7.00
             Disposition                                         electronic property folders for various properties currently under contract (1.8).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/16/20 JR              140 further exchange correspondence with the title company related to confirmation of earnest               0.4 0.0111111          $1.56
             Disposition                                         money deposit for various properties (.4)
April 2020   Asset                  04/17/20 JR              140 review email from the title company regarding third party authorization forms for buyer and             0.2 0.0055556          $0.78
             Disposition                                         exchange further correspondence with the title company (.2)
April 2020   Asset                  04/17/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                              0.1 0.0027778          $0.39
             Disposition
April 2020   Asset                  04/17/20 JR              140 draft same for buyer (.9)                                                                               0.9       0.025        $3.50
             Disposition
April 2020   Asset                  04/20/20 AEP             390 update EquityBuild portfolio spreadsheet (.1)                                                           0.1 0.0011364          $0.44
             Disposition
April 2020   Asset                  04/20/20 JR              140 conference call with K. Duff, M. Rachlis, A. Porter and real estate brokers related to current          1.0 0.0222222          $3.11
             Disposition                                         properties under contract and related matters and issues with closings (1.0)

April 2020   Asset                  04/20/20 JR              140 review due diligence documents received from property manager for various properties                    1.3 0.0361111          $5.06
             Disposition                                         (1.3).
April 2020   Asset                  04/22/20 JR              140 assemble and deliver due diligence documents to buyer's counsel for property (1700                      0.7          0.7      $98.00
             Disposition                                         Juneway) (.7)...Cont'd
April 2020   Asset                  04/23/20 JR              140 exchange communication with the title company regarding same (.1)                                       0.1         0.05       $7.00
             Disposition
April 2020   Asset                  04/23/20 JR              140 follow up correspondence with the real estate broker regarding earnest money for property               0.2          0.1      $14.00
             Disposition                                         (1700 Juneway and 7300 Lawrence) (.2)
April 2020   Asset                  04/23/20 JR              140 update closed property spreadsheet and forward to K. Duff, E. Duff and K. Pritchard (.6)                0.6 0.0153846          $2.15
             Disposition
April 2020   Asset                  04/24/20 JR              140 exchange correspondence with real estate broker regarding wire instructions for property                0.2          0.2      $28.00
             Disposition                                         (1700 Juneway) (.2).
April 2020   Asset                  04/29/20 JR              140 exchange correspondence with broker confirming of same (.1)                                             0.1          0.1      $14.00
             Disposition
April 2020   Asset                  04/29/20 JR              140 exchange correspondence with the title company regarding confirmed wires receipt on                     0.2 0.0055556          $0.78
             Disposition                                         various properties (.2)
April 2020   Asset                  04/29/20 JR              140 review email from J. Wine and provide legal descriptions and property addresses for the                 0.6 0.0166667          $2.33
             Disposition                                         upcoming publication notice of various properties (.6)
April 2020   Asset                  04/29/20 JR              140 follow up with broker regarding the deposit of earnest money related to property (1700                  0.1          0.1      $14.00
             Disposition                                         Juneway) (.1)
April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                                 0.1 0.0015873          $0.22
             Disposition
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]              0.8 0.0126984          $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Asset                  04/30/20 JRW             260 Study sixth motion for approval of process for public sale, exhibits and order granting same,           0.6 0.0166667          $4.33
             Disposition                                         and related correspondence regarding notice requirements (.6)
April 2020   Business               04/02/20 ED              390 Begin preparation of memorandum to K. Duff regarding property management agreements                     0.8 0.0258065         $10.06
             Operations                                          (.8)
April 2020   Business               04/10/20 ED              390 Review summary received from insurance agent regarding loss history for renewal process,                0.2 0.0022472          $0.88
             Operations                                          and related documentation and correspondence.


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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations
April 2020   Business               04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091          $1.33
             Operations                                      requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126          $1.14
             Operations
April 2020   Business               04/28/20 ED          390 review and analysis of correspondence and documents regarding guidelines for approval of              0.6         0.02       $7.80
             Operations                                      expenditures by property manager (.6).
April 2020   Claims                 04/01/20 ED          390 call with lender's counsel regarding request for claims information relating to properties            0.1         0.05      $19.50
             Administration                                  (1700 Juneway, 6949-59 S Merrill) (.1).
             & Objections

April 2020   Claims                 04/03/20 ED          390 Prepare analysis of rent restoration and reimbursement amounts payable by purchasers in               1.4       0.175       $68.25
             Administration                                  the case of credit bids.
             & Objections

April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272         $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379          $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709          $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961          $2.65
             Administration                                  accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087          $3.79
             Administration
             & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to          0.2 0.0019417          $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                             0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                  0.9 0.0087379          $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.              0.5 0.0048544          $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 Review and respond to email correspondence from lender regarding properties (1700                  0.4          0.2      $78.00
             Administration                                      Juneway, 6949-59 S Merrill) (.4)
             & Objections

April 2020   Claims                 04/15/20 ED              390 and email correspondence with asset manager and K. Duff regarding same (.2)                        0.2          0.1      $39.00
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                 0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                 0.3 0.0029126          $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                    0.4 0.0038835          $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                       0.4 0.0038835          $1.51
             Administration
             & Objections




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417          $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175          $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602          $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/01/20 KBD             390 exchange correspondence regarding communications with purchaser regarding earnest                   0.2          0.2      $78.00
             Disposition                                         money (1700 Juneway) (.2)
May 2020     Asset                  05/04/20 KBD             390 attention to purchaser deposit of earnest money, inspection, and closing planning (1700             0.2          0.2      $78.00
             Disposition                                         Juneway) (.2)
May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145          $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691          $0.96
             Disposition
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691          $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691          $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628          $0.45
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145          $1.41
             Operations                                          property management (.3)
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691          $0.96
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                  0.3 0.0036145          $1.41
             Operations                                          (.3)
May 2020     Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                0.4 0.0048193          $1.88
             Operations
May 2020     Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                   0.6 0.0072289          $2.82
             Operations                                          renewal of insurance (.6)
May 2020     Business               05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                    0.2 0.0024096          $0.94
             Operations                                          correspondence with asset manager regarding same (.2)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
May 2020    Business                05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                   0.7 0.0084337          $3.29
            Operations
May 2020    Business                05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                    0.2 0.0023529          $0.92
            Operations                                           expenses (.2)
May 2020    Business                05/15/20 KBD             390 study financial reporting from property manager (.3)                                                0.3 0.0103448          $4.03
            Operations
May 2020    Business                05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923          $3.00
            Operations
May 2020    Business                05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                  0.1 0.0011765          $0.46
            Operations
May 2020    Business                05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).           0.3 0.0037037          $1.44
            Operations
May 2020    Business                05/21/20 KBD             390 Study property management expenses (.7)                                                             0.7 0.0241379          $9.41
            Operations
May 2020    Business                05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)            0.3 0.0037037          $1.44
            Operations
May 2020    Business                05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                        0.1 0.0011765          $0.46
            Operations
May 2020    Business                05/28/20 KBD             390 Attention to expense issues with property manager and exchange various correspondence               0.8 0.0275862         $10.76
            Operations                                           relating the same (.8)
May 2020    Business                05/29/20 KBD             390 Work on issues relating to property manager and expense issues.                                     0.8 0.0266667         $10.40
            Operations
May 2020    Claims                  05/07/20 KBD             390 Work on communication to claimants' counsel regarding marketing and sale of properties              0.5 0.0138889          $5.42
            Administration                                       (.5)
            & Objections

May 2020    Asset                   05/01/20 JR              140 review email regarding same and possibly terminating the contract (.2)                              0.2          0.2      $28.00
            Disposition
May 2020    Asset                   05/01/20 JR              140 exchange correspondence with the title company regarding status of earnest money for                0.3          0.3      $42.00
            Disposition                                          property (1700 Juneway) (.3)
May 2020    Asset                   05/01/20 JR              140 further communication with A. Porter and real estate broker regarding no earnest money              0.2          0.2      $28.00
            Disposition                                          funds received as confirmed by the title company (.2)
May 2020    Asset                   05/01/20 JR              140 review notice of public sale related to additional properties listed for offers and update          0.5 0.0138889          $1.94
            Disposition                                          spreadsheet (.5)
May 2020    Asset                   05/04/20 AEP             390 communications with K. Duff and receivership brokers regarding due diligence period (1700           0.1          0.1      $39.00
            Disposition                                          W Juneway) and revision to seventh motion to confirm sales (.1).
May 2020    Asset                   05/04/20 JR              140 Exchange correspondence with the title company regarding earnest money deposit status for           0.1          0.1      $14.00
            Disposition                                          property (1700 Juneway) (.1)
May 2020    Asset                   05/04/20 JR              140 exchange correspondence with the title company regarding escrow agreement for property              0.1          0.1      $14.00
            Disposition                                          (1700 Juneway) (.1).
May 2020    Asset                   05/05/20 JR              140 review email from the title company regarding receipt of earnest money and update                   0.1          0.1      $14.00
            Disposition                                          corresponding electronic folder for property (1700 Juneway) (.1)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2020    Asset                   05/05/20 JR              140 update spreadsheet with additional properties listed for sale, under contract and status of           0.6 0.0166667          $2.33
            Disposition                                          judicial process (.6)
May 2020    Asset                   05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                                0.1 0.0011494          $0.16
            Disposition
May 2020    Asset                   05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st              0.1 0.0011494          $0.16
            Disposition                                          quarter of 2020 (.1)
May 2020    Asset                   05/07/20 JR              140 review financial reports related to all properties (1.4).                                             1.4 0.0135922          $1.90
            Disposition
May 2020    Asset                   05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management              0.1 0.0009709          $0.14
            Disposition                                          companies (.1)
May 2020    Asset                   05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                 1.8 0.0174757          $2.45
            Disposition
May 2020    Asset                   05/18/20 JR              140 review the status of various properties related to judicial process and sale process (.9)             0.9       0.025        $3.50
            Disposition
May 2020    Asset                   05/19/20 JR              140 review email from E. Duff regarding financial reporting for property manager and respond              0.1 0.0034483          $0.48
            Disposition                                          accordingly (.1)
May 2020    Asset                   05/26/20 JR              140 exchange correspondence with real estate broker regarding status of property sale (1700               0.2          0.2      $28.00
            Disposition                                          Juneway) (.2)
May 2020    Asset                   05/27/20 JR              140 review properties currently being marketed and exchange correspondence with the property              0.2 0.0055556          $0.78
            Disposition                                          managers requesting all due diligence documents (.2)
May 2020    Asset                   05/27/20 JR              140 update closing checklist regarding same (.3)                                                          0.3 0.0083333          $1.17
            Disposition
May 2020    Asset                   05/27/20 JR              140 review receipts of earnest money (.2)                                                                 0.2 0.0055556          $0.78
            Disposition
May 2020    Asset                   05/27/20 JR              140 review email and exchange correspondence with the property manager regarding                          0.2 0.0055556          $0.78
            Disposition                                          preparation of due diligence folders for properties going under contract and missing
                                                                 information for same (.2)
May 2020    Asset                   05/27/20 JR              140 review water account information for same and update closing checklists (.7)                          0.7 0.0194444          $2.72
            Disposition
May 2020    Asset                   05/27/20 JR              140 begin drafting closing checklists and closing documents for properties under contract and in          1.8         0.05       $7.00
            Disposition                                          anticipation of court approval of confirmation of sale (1.8).
May 2020    Asset                   05/28/20 JR              140 draft master closing checklist for current properties under contract and in preparation for           0.6 0.0166667          $2.33
            Disposition                                          drafting closing documents (.6)
May 2020    Business                05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold                 1.3 0.0126214          $4.92
            Operations                                           properties (1.3)
May 2020    Business                05/13/20 KMP             140 prepare form for funds transfer to insurance broker for down payment on financing                     0.4 0.0046512          $0.65
            Operations                                           agreement for general liability and umbrella policy and communications with K. Duff and
                                                                 bank representatives regarding same (.4)
May 2020    Business                05/13/20 KMP             140 communicate with insurance broker to confirm funds transfer (.1).                                     0.1 0.0011628          $0.16
            Operations
May 2020    Business                05/14/20 KMP             140 Communicate with insurance premium funding company regarding contract (.1)                            0.1 0.0011628          $0.16
            Operations




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2020    Business                05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
            Operations                                       addition of properties that have no institutional debt, and communicate with E. Duff
                                                             regarding missing reports.
May 2020    Business                05/19/20 ED          390 Email correspondence with property manager regarding property level reporting under new             0.3 0.0103448         $4.03
            Operations                                       reporting system (.3)
May 2020    Business                05/19/20 ED          390 and review and analysis of related documents (.2)                                                   0.2 0.0068966         $2.69
            Operations
May 2020    Business                05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
            Operations
May 2020    Business                05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
            Operations
May 2020    Business                05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
            Operations                                       regarding same
May 2020    Business                05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
            Operations                                       proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020    Business                05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
            Operations                                       correspondence.
May 2020    Business                05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628         $0.16
            Operations
May 2020    Business                05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512         $0.65
            Operations                                       property insurance finance agreement, and communicate with bank representative and K.
                                                             Duff regarding same (.4)
May 2020    Business                05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
            Operations
May 2020    Business                05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
            Operations
May 2020    Business                05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256         $0.33
            Operations                                       K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020    Business                05/28/20 KMP         140 study communications with property manager regarding analysis of funds request (.2)                 0.2 0.0051282         $0.72
            Operations
May 2020    Business                05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
            Operations
May 2020    Business                05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
            Operations
May 2020    Business                05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
            Operations
May 2020    Business                05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
            Operations




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2020    Claims                  05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as          1.8 0.0202247         $2.83
            Administration                                   requested, and share same with Receivership team (1.8)
            & Objections

May 2020    Claims                  05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
            Administration                                   (.2).
            & Objections

May 2020    Claims                  05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
            Administration                                   accounting reports (.3).
            & Objections

May 2020    Claims                  05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
            Administration
            & Objections

May 2020    Claims                  05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709         $0.38
            Administration                                   relating to sold properties (.1).
            & Objections

May 2020    Claims                  05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544         $1.89
            Administration                                   (.5)
            & Objections

June 2020   Asset                   06/01/20 KBD         390 Telephone conference with real estate broker regarding status of mixed use properties and          0.2 0.0043478         $1.70
            Disposition                                      upcoming sales (.2)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
June 2020   Asset                   06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and             0.2 0.0024691          $0.96
            Disposition                                      planning for review of offers.
June 2020   Asset                   06/04/20 KBD         390 Study and evaluate offer on properties with real estate broker, M. Rachlis, and A. Porter.          1.5         0.15      $58.50
            Disposition
June 2020   Asset                   06/15/20 KBD         390 exchange correspondence with real estate broker regarding highest bids and notice (.2).             0.2 0.0142857          $5.57
            Disposition
June 2020   Asset                   06/18/20 KBD         390 correspondence with real estate broker regarding sales (.3).                                        0.3 0.0214286          $8.36
            Disposition
June 2020   Asset                   06/19/20 KBD         390 Telephone conference with real estate broker regarding communications with lenders'                 0.1 0.0027778          $1.08
            Disposition                                      counsel relating to highest bids and credit bidding (.1)
June 2020   Asset                   06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.           1.5 0.0185185          $7.22
            Disposition                                      Rachlis regarding same (1.5)
June 2020   Asset                   06/30/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding communications              0.4          0.4     $156.00
            Disposition                                      with purchaser regarding sale price and credit request (1700 Juneway) (.4)

June 2020   Business                06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).              0.1 0.0012048          $0.47
            Operations
June 2020   Business                06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange              0.4       0.005        $1.95
            Operations                                       correspondence with E. Duff and J. Rak regarding same (.4)
June 2020   Business                06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                     0.5     0.00625        $2.44
            Operations                                       Pritchard regarding same (.5)
June 2020   Business                06/24/20 KBD         390 Study financial reporting from property manager (.3)                                                0.3 0.0107143          $4.18
            Operations
June 2020   Business                06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                           0.2 0.0025641          $1.00
            Operations
June 2020   Business                06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                       0.2 0.0027397          $1.07
            Operations
June 2020   Claims                  06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                            0.3 0.0033708          $1.31
            Administration
            & Objections

June 2020   Claims                  06/09/20 KBD         390 study objections to claims process motion (.5)                                                      0.5    0.005618        $2.19
            Administration
            & Objections

June 2020   Claims                  06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)           2.2 0.0247191          $9.64
            Administration
            & Objections

June 2020   Claims                  06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                         6.1 0.0685393         $26.73
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
June 2020   Claims                  06/15/20 KBD             390 work on same with M. Rachlis (.3)                                                                   0.3 0.0033708         $1.31
            Administration
            & Objections

June 2020   Claims                  06/16/20 KBD             390 analysis of letter of credit issue (.5)                                                             0.5    0.005618       $2.19
            Administration
            & Objections

June 2020   Claims                  06/16/20 KBD             390 Work on claims motion reply with M. Rachlis (.6)                                                    0.6 0.0067416         $2.63
            Administration
            & Objections

June 2020   Claims                  06/18/20 KBD             390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit           0.2 0.0022989         $0.90
            Administration                                       bidding (.2)
            & Objections

June 2020   Claims                  06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                               0.7 0.0078652         $3.07
            Administration
            & Objections

June 2020   Claims                  06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                      0.2 0.0022989         $0.90
            Administration
            & Objections

June 2020   Claims                  06/22/20 KBD             390 study SEC reply brief (.3)                                                                          0.3 0.0033708         $1.31
            Administration
            & Objections

June 2020   Claims                  06/29/20 KBD             390 Attention to claimants' inquiries and exchange various correspondence regarding same.               0.7 0.2333333        $91.00
            Administration
            & Objections

June 2020   Asset                   06/01/20 MR              390 Attention to property sales (.2)                                                                    0.2 0.0043478         $1.70
            Disposition
June 2020   Asset                   06/01/20 MR              390 conferences with real estate broker A. Porter regarding same (.3).                                  0.3 0.0065217         $2.54
            Disposition
June 2020   Asset                   06/04/20 JR              140 review email from J. Wine regarding litigation matters and move all matters into Property           0.8 0.0222222         $3.11
            Disposition                                          Sales folder in anticipation of production of documents to buyers related to series x
                                                                 properties (.8)
June 2020   Asset                   06/04/20 JR              140 review uploaded due diligence documents from property manager for various properties in             0.6 0.0166667         $2.33
            Disposition                                          series x (.6)
June 2020   Asset                   06/04/20 JR              140 update closing checklists with requested due diligence documents for various properties in          0.5 0.0138889         $1.94
            Disposition                                          series 7 and series x, including water account information (.5).


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2020   Asset                   06/04/20 MR              390 conferences regarding same with real estate broker and K. Duff and A. Porter regarding                 2.0          0.2      $78.00
            Disposition                                          analysis of offers and responses thereto (2.0)
June 2020   Asset                   06/04/20 MR              390 Attention to issues on sales of thirteen properties and emails regarding same (.4)                     0.4         0.04      $15.60
            Disposition
June 2020   Asset                   06/05/20 JR              140 follow up correspondence with property management related to a request for utility bills for           0.1 0.0027778          $0.39
            Disposition                                          various properties in series x (.1)
June 2020   Asset                   06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale             3.2 0.0385542          $5.40
            Disposition                                          related to same (3.2)
June 2020   Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0012048          $0.17
            Disposition
June 2020   Asset                   06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,                3.2 0.0405063         $15.80
            Disposition                                          judgment amounts, judgment dates, and payment status (3.2)
June 2020   Asset                   06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to           2.4 0.0303797         $11.85
            Disposition                                          any receivership properties between 2018 and the present (2.4)
June 2020   Asset                   06/06/20 AEP             390 reorganize same (1.4)                                                                                  1.4 0.0177215          $6.91
            Disposition
June 2020   Asset                   06/10/20 JR              140 Cont'd...received requested brokerage commission statements from real estate broker (.1)               0.1 0.0027778          $0.39
            Disposition
June 2020   Asset                   06/10/20 JR              140 review email from property management regarding new leases for properties soon to be                   0.2 0.0055556          $0.78
            Disposition                                          under contract for various properties (.2)
June 2020   Asset                   06/10/20 JR              140 update closing checklists regarding same (.3)                                                          0.3 0.0083333          $1.17
            Disposition
June 2020   Asset                   06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561          $3.80
            Disposition                                          against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020   Asset                   06/12/20 JR              140 Review emails from real estate broker regarding producing due diligence documents to                   0.1          0.1      $14.00
            Disposition                                          buyer relating to property (1700 Juneway) (.1)
June 2020   Asset                   06/12/20 JR              140 exchange correspondence with broker regarding same (.1)                                                0.1          0.1      $14.00
            Disposition
June 2020   Asset                   06/12/20 JR              140 review email from K. Pritchard regarding new account information and wire instructions in              0.1 0.0027778          $0.39
            Disposition                                          preparation for the next tranche of properties to close (.1)
June 2020   Asset                   06/15/20 JR              140 review various reports and provide the restoration amounts (.5)                                        0.5 0.0138889          $1.94
            Disposition
June 2020   Asset                   06/15/20 JR              140 Review email from A. Porter and E. Duff regarding potential lender credit bid (.1)                     0.1 0.0027778          $0.39
            Disposition
June 2020   Asset                   06/17/20 AEP             390 teleconference with receivership broker regarding commencement of inspection period for                0.2          0.2      $78.00
            Disposition                                          receivership property (1700 W Juneway) and request for response to counsel for
                                                                 prospective purchaser of receivership property (5618 S King) (.2)
June 2020   Asset                   06/17/20 JR              140 review email from property management regarding security deposits (1700 Juneway) and                   0.2          0.2      $28.00
            Disposition                                          update closing documents (.2)
June 2020   Asset                   06/18/20 AEP             390 prepare e-mail to counsel for purchaser of receivership property (1700 W Juneway)                      0.2          0.2      $78.00
            Disposition                                          regarding status of commencement of due diligence period (.2)


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  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
June 2020   Asset                   06/19/20 AEP         390 read and respond to communication from counsel for prospective purchaser of receivership             0.2          0.2      $78.00
            Disposition                                      property (1700 W Juneway) regarding due diligence period and status of motion for
                                                             confirmation of sale (.2)
June 2020   Asset                   06/20/20 AEP         390 Review spreadsheet of 2018 property tax status on receivership properties and update                 0.2 0.0024691          $0.96
            Disposition                                      portfolio spreadsheet to plan accordingly (.2)
June 2020   Asset                   06/23/20 AEP         390 Read responses received from J. Wine regarding status of administrative and housing court            0.4 0.0333333         $13.00
            Disposition                                      proceedings associated with unsold receivership properties and reconcile information with
                                                             judgment tracking spreadsheet (.4)
June 2020   Asset                   06/24/20 MR          390 Attention to sales issues for new tranche (.4)                                                       0.4 0.0049383          $1.93
            Disposition
June 2020   Asset                   06/24/20 MR          390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).             1.5 0.0185185          $7.22
            Disposition
June 2020   Asset                   06/25/20 KMP         140 Telephone conference with J. Rak to confirm wire information for upcoming property sales.            0.2         0.02       $2.80
            Disposition
June 2020   Asset                   06/26/20 AEP         390 begin preparation of ninth motion to confirm sales of receivership properties (.4).                  0.4 0.0285714         $11.14
            Disposition
June 2020   Business                06/01/20 ED          390 Call with M. Rachlis to discuss allocation and computation of property expenditures by               0.7 0.0067961          $2.65
            Operations                                       receivership.
June 2020   Business                06/02/20 ED          390 email correspondence with accountant and M. Rachlis regarding same (.4).                             0.4 0.0038835          $1.51
            Operations
June 2020   Business                06/02/20 ED          390 Prepare analysis of sold properties owing rent restoration and review of related accounting          1.9 0.0184466          $7.19
            Operations                                       reports (1.9)
June 2020   Business                06/03/20 ED          390 Call with accountant to discuss data for March accounting reports and review of related              1.0 0.0097087          $3.79
            Operations                                       documents and correspondence.
June 2020   Business                06/05/20 ED          390 Email correspondence with accountant and K. Pritchard regarding receivership property                0.2 0.0019417          $0.76
            Operations                                       expenditures during March 2020.
June 2020   Business                06/08/20 ED          390 Review analysis from J. Rak of restoration amounts from properties sold, and email                   0.2 0.0019417          $0.76
            Operations                                       correspondence with B. Fish regarding same.
June 2020   Business                06/10/20 KMP         140 Communications with J. Rak and bank representative regarding opening new accounts for                0.2 0.0222222          $3.11
            Operations                                       properties to be sold (.2)
June 2020   Business                06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835          $1.51
            Operations
June 2020   Business                06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961          $2.65
            Operations
June 2020   Business                06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                            0.5 0.0048544          $1.89
            Operations
June 2020   Business                06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting              0.6 0.0058252          $2.27
            Operations                                       reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2020   Business                06/23/20 JRW         260 Study pleadings in administrative matters for properties under contract for sale (1700               0.9       0.075      $19.50
            Operations                                       Juneway Terrace, 5450-52 S Indiana Avenue/ 118-132 E Garfield, 6437 S Kenwood Avenue,
                                                             7300-04 St Lawrence Avenue, 7760 S Coles Avenue, 8000 S Justine Street/ 1541 E 80th Street,
                                                             8107 S Ellis Avenue, 8209 S Ellis Avenue, 8214 S Ingleside, 7237 S Bennett Avenue, 11117-
                                                             11119 S Longwood Drive, 6949-59 S Merrill Avenue / 2134-40 East 68th Street) and related
                                                             status update to A. Porter.
June 2020   Business                06/24/20 AEP         390 Conference call with receivership accountant regarding proper completion of Form 1099-S              0.3 0.0090909         $3.55
            Operations                                       tax documents at closings of receivership properties.
June 2020   Business                06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)           0.2 0.0019417         $0.76
            Operations
June 2020   Business                06/24/20 ED          390 call with accountant to discuss same (.1).                                                           0.1 0.0009709         $0.38
            Operations
June 2020   Business                06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to               0.3 0.0036585         $0.51
            Operations                                       installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020   Business                06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team               0.8 0.0109589         $1.53
            Operations                                       regarding same, and scan tax bills (.8).
June 2020   Business                06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                       0.2 0.0027027         $0.70
            Operations
June 2020   Claims                  06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor                0.3 0.0033708         $0.47
            Administration                                   regarding processing of remaining Excel files (.3)
            & Objections

June 2020   Claims                  06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                       2.4 0.0269663        $10.52
            Administration
            & Objections

June 2020   Claims                  06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).              2.2 0.0247191         $9.64
            Administration
            & Objections

June 2020   Claims                  06/15/20 MR          390 Conferences regarding issues on brief.                                                               0.3 0.0033708         $1.31
            Administration
            & Objections

June 2020   Claims                  06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                         0.6 0.0067416         $2.63
            Administration
            & Objections

June 2020   Claims                  06/16/20 MR          390 Review and revise brief (3.5)                                                                        3.5 0.0393258        $15.34
            Administration
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
July 2020   Asset                   07/23/20 KBD             390 exchange correspondence regarding certificate of publication (.1).                                      0.1 0.0043478          $1.70
            Disposition
July 2020   Business                07/21/20 KBD             390 draft correspondence to K. Pritchard regarding property expense review and analysis (.1).               0.1 0.0038462          $1.50
            Operations
July 2020   Claims                  07/06/20 KBD             390 Work on response to claimants.                                                                          0.3         0.06      $23.40
            Administration
            & Objections

July 2020   Claims                  07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and             0.3 0.0033708          $1.31
            Administration                                       J. Wine relating to same (.3)
            & Objections

July 2020   Asset                   07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                 1.3 0.0126214          $1.77
            Disposition
July 2020   Asset                   07/07/20 AEP             390 Communications with receivership brokers regarding status of due diligence negotiations                 0.1          0.1      $39.00
            Disposition                                          with prospective purchaser of receivership property (1700 W Juneway) (.1)

July 2020   Asset                   07/08/20 AEP             390 communications with counsel for prospective purchaser of receivership property (1700 W                  0.2          0.2      $78.00
            Disposition                                          Juneway) regarding receiver's refusal to agree to repair credits (.2)
July 2020   Asset                   07/10/20 AEP             390 review and analyze status of receipt of earnest monies associated with current sales tranche            0.2 0.0166667          $6.50
            Disposition                                          and prepare e-mail to title company seeking confirmation of recent deposits by prospective
                                                                 buyers (.2).
July 2020   Asset                   07/27/20 AEP             390 review spreadsheet of active administrative and housing court proceedings received from J.              0.5 0.0166667          $6.50
            Disposition                                          Wine and reconcile same with spreadsheet separately assembled to track all known
                                                                 receivership actions (.5).
July 2020   Asset                   07/28/20 AEP             390 read e-mails from buyers' counsel and request closing dates for five properties in ninth sales          0.3         0.06      $23.40
            Disposition                                          tranche (.3).
July 2020   Asset                   07/29/20 JR              140 review updated title commitments reflecting buyer information (.3)                                      0.3       0.075       $10.50
            Disposition
July 2020   Asset                   07/29/20 JR              140 exchange correspondence with title company regarding same and to process water                          0.1       0.025        $3.50
            Disposition                                          applications (.1).
July 2020   Business                07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same                1.8 0.0666667          $9.33
            Operations                                           (1.8)
July 2020   Business                07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                         3.7 0.0359223         $14.01
            Operations
July 2020   Business                07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                               0.4 0.0038835          $1.51
            Operations
July 2020   Business                07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                             0.2 0.0019417          $0.76
            Operations
July 2020   Business                07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                  0.4 0.0038835          $1.51
            Operations
July 2020   Business                07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related                0.6 0.0058252          $2.27
            Operations                                           documentation of March property income and expense (.6)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020   Business                07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
            Operations                                           correspondence to lenders' counsel (.7).
July 2020   Business                07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
            Operations                                           accounting report drafts (.3)
July 2020   Business                07/06/20 ED              390 email correspondence with insurance agent regarding request for inspection and other                   0.1 0.0333333        $13.00
            Operations                                           insurance related information (8326-54 S Ellis, 4611-17 S Drexel, 1700 Juneway) (.1)

July 2020   Business                07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008       $1.12
            Operations                                           properties in the estate.
July 2020   Business                07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
            Operations                                           upcoming payment on insurance premium funding (.2).
July 2020   Business                07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
            Operations                                           institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020   Business                07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
            Operations                                           Duff regarding same (.8).
July 2020   Business                07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
            Operations                                           and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                 installment on insurance premium financing agreement, and communications with K. Duff
                                                                 and bank representatives regarding same (.5)
July 2020   Business                07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
            Operations
July 2020   Business                07/21/20 KMP             140 begin review of certain property expenses for 2020 to date, and communications with K. Duff            2.1       0.084      $11.76
            Operations                                           and property manager regarding same (2.1).
July 2020   Business                07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
            Operations
July 2020   Business                07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
            Operations                                           benefit of other properties (.3).
July 2020   Business                07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
            Operations                                           (.3)
July 2020   Business                07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
            Operations                                           management relating to all income and loss statements (3.7).
July 2020   Business                07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
            Operations                                           information related to discrepancies discovered in reports (.5).
July 2020   Business                07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
            Operations
July 2020   Business                07/27/20 KMP             140 Continue review of property manager's reports.                                                         1.8 0.0461538         $6.46
            Operations
July 2020   Business                07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
            Operations                                           preparation of April accounting reports.
July 2020   Business                07/29/20 KMP             140 review and analysis of property manager's invoices (1.8).                                              1.8 0.0461538         $6.46
            Operations




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020   Business                07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417         $0.76
            Operations
July 2020   Business                07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
            Operations
July 2020   Business                07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
            Operations
July 2020   Claims                  07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301       $3.26
            Administration
            & Objections

July 2020   Claims                  07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
            Administration                                       regarding discrepancies (.4)
            & Objections

July 2020   Claims                  07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
            Administration                                       counsel (.4)
            & Objections

July 2020   Claims                  07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
            Administration                                       remaining reimbursable amounts by property (.2).
            & Objections

July 2020   Claims                  07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049         $6.44
            Administration
            & Objections

July 2020   Claims                  07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252         $2.27
            Administration
            & Objections

July 2020   Claims                  07/31/20 JRW             260 additional legal research and draft memo regarding motion to intervene (.8)                            0.8 0.0089888         $2.34
            Administration
            & Objections

August 2020 Business                08/12/20 KBD             390 Study property manager financial reporting (.3)                                                        0.3 0.0142857         $5.57
            Operations
August 2020 Business                08/25/20 KBD             390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                       0.1 0.0014085         $0.55
            Operations
August 2020 Claims                  08/03/20 KBD             390 analysis of claimant intervention motion and exchange correspondence with J. Wine                      0.3 0.0033708         $1.31
            Administration                                       regarding same (.3)
            & Objections




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2020 Claims                  08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                         0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                  08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence                1.3 0.0146067          $5.70
            Administration                                       to J. Wine regarding same.
            & Objections

August 2020 Claims                  08/30/20 KBD             390 Study pleadings regarding objections to property sales and draft correspondence to A.                   0.4 0.0285714         $11.14
            Administration                                       Watychowicz and K. Pritchard.
            & Objections

August 2020 Asset                   08/04/20 JR              140 review requested commission statement received from real estate broker for upcoming                     0.5 0.0833333         $11.67
            Disposition                                          closings and update our property files (.5)
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709          $0.14
            Disposition
August 2020 Asset                   08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699          $0.53
            Disposition                                          within eighth, ninth, and current tranches (.1)
August 2020 Asset                   08/24/20 JR              140 Review email from property management regarding housing assistance for various tenants                  0.2          0.1      $14.00
            Disposition                                          (.2)
August 2020 Asset                   08/24/20 JR              140 confer with A. Porter regarding same (.1)                                                               0.1         0.05       $7.00
            Disposition
August 2020 Asset                   08/25/20 AEP             390 revise proposed order partially granting ninth motion to confirm sales to remove                        0.1          0.1      $39.00
            Disposition                                          receivership property (1700 W Juneway) to which objection to confirmation was asserted (.1)

August 2020 Asset                   08/25/20 AEP             390 communications with counsel for purchaser of receivership property (1700 W Juneway)                     0.1          0.1      $39.00
            Disposition                                          regarding delay occasioned by lender objection to ninth motion to confirm (.1)

August 2020 Asset                   08/25/20 AEP             390 Read e-mail from property manager regarding tenant applications for benefits and forward                0.2          0.1      $39.00
            Disposition                                          same to counsel for purchasers of affected properties (6250 S Mozart and 1700 W Juneway)
                                                                 with request for guidance (.2)
August 2020 Asset                   08/25/20 JR              140 exchange correspondence with A. Porter regarding request from property manager to                       0.3         0.15      $21.00
            Disposition                                          review and process subsidy for various tenants (6250 Mozart and 1700 Juneway) (.3)

August 2020 Asset                   08/25/20 JR              140 exchange correspondence with buyer's counsel regarding buyer information requested for                  0.2          0.1      $14.00
            Disposition                                          closings (7201 Dorchester and 1700 Juneway) (.2)
August 2020 Asset                   08/25/20 JRW             260 Review proposed order partially granting 9th motion to confirm sales and related                        0.2 0.0166667          $4.33
            Disposition                                          correspondence with A. Porter and M. Rachlis.
August 2020 Asset                   08/25/20 MR              390 attention to draft order on other properties that were not objected to and follow up                    0.3       0.025        $9.75
            Disposition                                          regarding same (.3).
August 2020 Asset                   08/26/20 JR              140 Exchange correspondence with buyer's counsel related to requested property information                  0.1          0.1      $14.00
            Disposition                                          (1700 Juneway) (.1)




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
August 2020 Asset                   08/26/20 JR              140 follow up correspondence with property management regarding information related to                  0.2          0.1      $14.00
            Disposition                                          tenants (.2)
August 2020 Asset                   08/26/20 JR              140 exchange correspondence with real estate agent requesting commission statements for                 0.2 0.0142857          $2.00
            Disposition                                          various properties in anticipation of sale (.2)
August 2020 Business                08/03/20 KMP             140 Review and analysis of property expenses (2.4)                                                      2.4 0.0615385          $8.62
            Operations
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same              0.4 0.0038095          $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                      1.9 0.0180952          $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/04/20 KMP             140 Continue review and analysis of property expenses.                                                  3.7 0.0948718         $13.28
            Operations
August 2020 Business                08/05/20 KMP             140 Continue review and analysis of property expenses.                                                  4.1 0.1051282         $14.72
            Operations
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with             0.8    0.007767        $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                            1.6 0.0152381          $5.94
            Operations
August 2020 Business                08/06/20 KMP             140 Continue review and analysis of property expenses.                                                  4.6 0.1179487         $16.51
            Operations
August 2020 Business                08/07/20 KMP             140 continue review and analysis of property expenses and communicate with K. Duff regarding            4.4       0.176       $24.64
            Operations                                           same (4.4)
August 2020 Business                08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be            0.1 0.0011765          $0.46
            Operations                                           listed for sale (.1)
August 2020 Business                08/13/20 ED              390 review and analysis of related documents and reports (.2).                                          0.2 0.0023529          $0.92
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020           0.3 0.0029126          $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                             0.1 0.0009709          $0.38
            Operations
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by               0.3 0.0029126          $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/24/20 JR              140 Review various property tax balances.                                                               1.1 0.0152778          $2.14
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter              0.4 0.0038835          $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                        0.9      0.0125        $1.75
            Operations




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2020 Claims                  08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'              0.9 0.0101124          $2.63
            Administration                                       motion to intervene (.9)
            & Objections

August 2020 Claims                  08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.              1.5 0.0168539          $4.38
            Administration                                       Duff and M. Rachlis (1.5)
            & Objections

August 2020 Claims                  08/31/20 AW              140 review of pleadings relating to objections to sales motion (.4).                                        0.4 0.0285714          $4.00
            Administration
            & Objections

September   Business                09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding                   0.3 0.0042857          $1.67
2020        Operations                                           payment of same (.3)
September   Business                09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and                  0.7         0.01       $3.90
2020        Operations                                           lenders (.7)
September   Business                09/22/20 KBD             390 Study correspondence from J. Rak regarding payment of real estate taxes (.2)                            0.2         0.01       $3.90
2020        Operations
September   Business                09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                    0.1 0.0014925          $0.58
2020        Operations
September   Business                09/28/20 KBD             390 Exchange correspondence with J. Rak and property managers regarding real estate taxes                   0.6         0.04      $15.60
2020        Operations                                           (1700 Juneway Terrace, 6250 S Mozart Avenue, 6558 S Vernon Avenue, 1414 E 62nd, 4611 S.
                                                                 Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet, 11318 Church,
                                                                 406 E 87th Place, 61 E 92nd, 7210 Vernon, 6759 Indiana, 1131 E 79th, 7508 Essex Ave).

September Asset                     09/02/20 JR              140 Exchange correspondence with property management requesting updated property rent roll                  0.2         0.05       $7.00
2020      Disposition                                            information in anticipation of closings for various properties (.2)

September   Asset                   09/02/20 JR              140 update closing checklist regarding requested information related to same (.4)                           0.4          0.4      $56.00
2020        Disposition
September   Asset                   09/02/20 JR              140 review various property rent rolls and update electronic files (.6)                                     0.6         0.15      $21.00
2020        Disposition
September   Asset                   09/02/20 JR              140 update closing checklist (.3)                                                                           0.3       0.075       $10.50
2020        Disposition
September   Asset                   09/02/20 JR              140 draft closing documents for property (1700 Juneway) in anticipation of closing (2.6)                    2.6          2.6     $364.00
2020        Disposition
September   Asset                   09/03/20 JR              140 Review requested rent roll received from the leasing manager, request correct information               0.3       0.075       $10.50
2020        Disposition                                          for various properties (.3)
September   Asset                   09/03/20 JR              140 update property electronic files regarding same (.2)                                                    0.2         0.05       $7.00
2020        Disposition
September   Asset                   09/09/20 AEP             390 teleconference with J. Rak regarding current status of closing preparations for all properties          1.0 0.0833333         $32.50
2020        Disposition                                          in most recent two sales tranches and allocation of responsibility for remaining outstanding
                                                                 tasks (1.0)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
September Asset                     09/09/20 JR              140 review various property loan information, loan amounts and contact information related to              1.3 0.1083333         $15.17
2020      Disposition                                            various properties (1700 Juneway, 7201 S. Constance, 7201 S. Dorchester, 7953 S.
                                                                 Marquette, 7051 S. Bennett, 6356 S. California, 2736 W. 64th, 6355 S. Talman, 3074
                                                                 Cheltenham, 7508 S. Essex, 5618 S. Martin Luther King, 6558 S. Vernon) (1.3)

September   Asset                   09/09/20 JR              140 exchange correspondence with buyer's counsel requesting lender information for property                0.2          0.2      $28.00
2020        Disposition                                          (1700 Juneway) (.2)
September   Asset                   09/10/20 AEP             390 revise proposed order partially granting ninth motion to confirm to include additional                 0.2 0.0166667          $6.50
2020        Disposition                                          prefatory language (.2)
September   Asset                   09/10/20 AEP             390 revise proposed order partially granting ninth motion to confirm sales and Tab A thereto (.4)          0.4 0.0333333         $13.00
2020        Disposition
September   Asset                   09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0013889          $0.19
2020        Disposition
September   Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                   0.2 0.0027778          $0.39
2020        Disposition                                          income available funds related to payment of tax balances (.2)
September   Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                      0.1 0.0013889          $0.19
2020        Disposition
September   Asset                   09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                     1.8       0.025        $3.50
2020        Disposition
September   Asset                   09/10/20 MR              390 Attention to proposed order (.3)                                                                       0.3       0.025        $9.75
2020        Disposition
September   Asset                   09/11/20 JR              140 draft water application and submit to the title company (1700 Juneway) (.4).                           0.4          0.4      $56.00
2020        Disposition
September   Asset                   09/11/20 JR              140 Review title updates for properties subject to the 9th motion and exchange correspondence              1.3 0.1083333         $15.17
2020        Disposition                                          with the title company regarding missing items relating to title updates (1.3)

September   Asset                   09/11/20 JR              140 Review status of water cert applications for various properties subject to the ninth motion            0.1 0.0083333          $1.17
2020        Disposition                                          (.1)
September   Asset                   09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                  0.2 0.0027778          $0.39
2020        Disposition                                          for all EB properties with sufficient funds (.2).
September   Asset                   09/11/20 JRW             260 Work with A. Porter on order partially confirming sales (.2)                                           0.2 0.0166667          $4.33
2020        Disposition
September   Asset                   09/11/20 JRW             260 finalize order and draft correspondence to court regarding same (.4).                                  0.4 0.0333333          $8.67
2020        Disposition
September   Asset                   09/11/20 MR              390 Review and comment on proposed order.                                                                  0.3       0.025        $9.75
2020        Disposition
September   Asset                   09/14/20 AEP             390 Review proposed order confirming ninth tranche of sales (.1)                                           0.1 0.0083333          $3.25
2020        Disposition
September   Asset                   09/14/20 AEP             390 prepare e-mail to counsel for all purchasers of property in ninth sales tranche regarding              0.3       0.025        $9.75
2020        Disposition                                          entry of confirmation order and scheduling of closings (.3)
September   Asset                   09/14/20 JR              140 review water applications and update electronic files for various properties subject to the            0.4 0.0333333          $4.67
2020        Disposition                                          ninth motion (.4)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
September   Asset                   09/14/20 JR              140 update closing checklists regarding same for various properties subject to the 9th motion (.6)          0.6         0.05       $7.00
2020        Disposition
September   Asset                   09/14/20 JR              140 review surveys and exchange correspondence with the surveyor and request updates to                     0.8 0.0666667          $9.33
2020        Disposition                                          surveys for various properties subject to the ninth motion (.8)
September   Asset                   09/14/20 JR              140 follow up correspondence with buyer's counsel regarding nominee information for                         0.1          0.1      $14.00
2020        Disposition                                          purchaser related to property (1700 Juneway) (.1)
September   Asset                   09/14/20 JR              140 exchange correspondence with the title company regarding grantee updates for various                    0.2 0.0166667          $2.33
2020        Disposition                                          properties subject to the ninth motion (.2)
September   Asset                   09/14/20 JRW             260 Work with K. Duff and M. Rachlis on orders granting ninth motion to confirm sales and                   0.5 0.0192308          $5.00
2020        Disposition                                          preparation of tenth motion to confirm.
September   Asset                   09/14/20 MR              390 Conferences and follow up regarding order on ninth motion for approval of sales with K. Duff            0.5 0.0416667         $16.25
2020        Disposition                                          and J. Wine.
September   Asset                   09/15/20 AEP             390 teleconference with J. Rak regarding all outstanding issues requiring attention in connection           0.5 0.0416667         $16.25
2020        Disposition                                          with imminent scheduling of closings of receivership properties in ninth sales tranche (.5).

September   Asset                   09/15/20 AEP             390 Update outstanding issues list for all properties in ninth sales tranche in preparation for             0.6         0.05      $19.50
2020        Disposition                                          resolution of final pre-closing issues (.6)
September   Asset                   09/15/20 AW              140 Work on reply in support of Receiver's motion to approve ninth sale motion, finalize reply,             3.1 0.2583333         $36.17
2020        Disposition                                          file with the court, and serve as per service list.
September   Asset                   09/15/20 JR              140 review expired water application status and submit water application for properties subject             0.2 0.0166667          $2.33
2020        Disposition                                          to the ninth motion (.2).
September   Asset                   09/15/20 JR              140 telephone conference with A. Porter regarding preparation of upcoming closings subject to               0.4 0.0333333          $4.67
2020        Disposition                                          the ninth motion (.4)
September   Asset                   09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for                  0.4 0.0074074          $1.93
2020        Disposition                                          restoration (.4)
September   Asset                   09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                      0.2 0.0037037          $0.96
2020        Disposition
September   Asset                   09/16/20 JR              140 Review email from the surveying company and provide requested information for property                  0.2          0.2      $28.00
2020        Disposition                                          (1700 Juneway) (.2)
September   Asset                   09/16/20 JR              140 Exchange correspondence with buyer's counsel and provide updated title commitments and                  0.3       0.025        $3.50
2020        Disposition                                          surveys for various properties in preparation for closing (.3)
September   Asset                   09/16/20 JR              140 review requested property financial documents and rent rolls for various closings and update            0.3       0.025        $3.50
2020        Disposition                                          electronic files (.3)
September   Asset                   09/16/20 JR              140 exchange correspondence with A. Porter requesting approval of lien waivers to property                  0.2 0.0153846          $2.15
2020        Disposition                                          managers and real estate brokers (.2)
September   Asset                   09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                    0.1 0.0014085          $0.20
2020        Disposition                                          of all EB properties (.1)
September   Asset                   09/17/20 AEP             390 teleconference with receivership broker regarding status of closing preparations and                    0.1 0.0083333          $3.25
2020        Disposition                                          potential assistance in connection therewith (.1).
September   Asset                   09/17/20 JR              140 review email from buyer's counsel regarding deletion of title exceptions on title (1700                 0.1          0.1      $14.00
2020        Disposition                                          Juneway) and forward same to A. Porter (.1)
September   Asset                   09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                        0.1 0.0014085          $0.20
2020        Disposition                                          properties with sufficient funds (.1)


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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
September Asset                     09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                0.3 0.0042254          $0.59
2020      Disposition                                            regarding same for all remaining properties in the EquityBuild Estate (.3)

September Asset                     09/24/20 AEP             390 Research status of outstanding closing documents associated with remaining properties not              0.1         0.05      $19.50
2020      Disposition                                            yet scheduled for closing (6558 S Vernon and 1700 W Juneway) and prepare e-mail to J. Rak
                                                                 regarding status of water certificates (.1)
September Asset                     09/24/20 AEP             390 read and respond to inquiry from counsel for prospective purchaser of receivership property            0.3          0.3     $117.00
2020      Disposition                                            (1700 W Juneway) regarding identification of special exceptions to title to be deleted at
                                                                 closing (.3)
September   Asset                   09/25/20 JR              140 exchange correspondence with property management regarding same (1700 Juneway) (.2)                    0.2          0.2      $28.00
2020        Disposition
September   Asset                   09/25/20 JR              140 review email from buyer' counsel regarding requested subsidy information for property                  0.2          0.2      $28.00
2020        Disposition                                          (1700 Juneway) in preparation for closing (.2)
September   Asset                   09/25/20 JR              140 review tax payments produced by property manager (.7).                                                 0.7 0.0097222          $1.36
2020        Disposition
September   Asset                   09/28/20 JR              140 Review email from property management and respond accordingly regarding tax payments                   0.1 0.0333333          $4.67
2020        Disposition                                          of EquityBuild properties (.1)
September   Asset                   09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                 0.2 0.0030769          $0.43
2020        Disposition                                          payments (.2)
September   Asset                   09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                  0.1 0.0015873          $0.22
2020        Disposition
September   Asset                   09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed             0.1 0.0015873          $0.22
2020        Disposition                                          properties (.1)
September   Business                09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417          $0.76
2020        Operations                                           preparation of May accounting reports (.2)
September   Business                09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding          0.7 0.0098592          $1.38
2020        Operations                                           tax balances (.7).
September   Business                09/08/20 ED              390 review of related documents received from property manager and email correspondence                    0.3 0.0029126          $1.14
2020        Operations                                           regarding same (.3)
September   Business                09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417          $0.76
2020        Operations                                           property managers needed for preparation of May accounting reports (.2)
September   Business                09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                      0.3 0.0029126          $1.14
2020        Operations                                           financial reporting information for May 2020.
September   Business                09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                        0.2 0.0028169          $0.39
2020        Operations                                           payment of taxes of EquityBuild properties.
September   Business                09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                         0.2 0.0019417          $0.76
2020        Operations
September   Business                09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting               1.2 0.0116505          $4.54
2020        Operations                                           (1.2)
September   Business                09/20/20 AEP             390 read e-mails regarding requested modifications to title commitment on receivership                     0.2          0.2      $78.00
2020        Operations                                           property (1700 W Juneway) and review and update closing checklist (.2)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
September   Business                09/22/20 JR              140 review email from property manager and update electronic files for various properties with           0.2 0.0028571          $0.40
2020        Operations                                           property tax receipts (.2)
September   Business                09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                               1.2 0.0171429          $2.40
2020        Operations
September   Business                09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417          $0.27
2020        Operations                                           (.2).
September   Business                09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505          $4.54
2020        Operations
September   Business                09/27/20 JR              140 update reports and exchange communication with property management regarding request                 0.4 0.0666667          $9.33
2020        Operations                                           for payment of property taxes (1700 Juneway, 7201 Dorchester, 6250 S. Mozart, 1131 E.
                                                                 79th, 7508 S. Essex, 6448 S. Vernon) (.4).
September   Business                09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)           0.2 0.0028571          $0.40
2020        Operations
September   Claims                  09/09/20 JRW             260 Review objections to ninth sales motion and related communications regarding properties at           0.7         0.05      $13.00
2020        Administration                                       issue and proposed order regarding unobjected to properties (.7)
            & Objections

September Claims                    09/09/20 MR              390 attention to issues regarding order on disposition of assets not objected to (.3)                    0.3       0.025        $9.75
2020      Administration
          & Objections

September Claims                    09/11/20 AW              140 communicate with counsel regarding draft partial order regarding ninth motion to approve             0.4 0.0333333          $4.67
2020      Administration                                         sales, prepare service list, and submit order to proposed order email (.4).
          & Objections

September Claims                    09/14/20 JRW             260 confer regarding entry of minute order and order partially granting ninth motion to confirm          0.4 0.0333333          $8.67
2020      Administration                                         sales, and submission of orders granting remainder of motion (.4)
          & Objections

October     Asset                   10/07/20 KBD             390 exchange correspondence with A. Porter regarding planning for additional sales (6558 South           0.2       0.025        $9.75
2020        Disposition                                          Vernon, 1700 West Juneway, 7201 South Dorchester, 7508 South Essex, 431 East 42nd
                                                                 Street, 7237 South Bennett, 638 North Avers, and 7109 South Calumet) (.2).

October     Asset                   10/14/20 KBD             390 Work on closing documents with J. Rak and A. Watychowicz (6558 S Vernon, 1700 S                      0.8          0.2      $78.00
2020        Disposition                                          Juneway, 7201 S Dorchester, 7508 S. Essex).
October     Asset                   10/16/20 KBD             390 closing planning for property (1700 Juneway) (.1)                                                    0.1          0.1      $39.00
2020        Disposition
October     Asset                   10/16/20 KBD             390 property manager liens and expenses (1700-08 W Juneway Terrace, 7201-07 S Dorchester                 0.2 0.0142857          $5.57
2020        Disposition                                          Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401
                                                                 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40
                                                                 N Avers Avenue, 7255-57 S Euclid Avenue) (.2).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
October     Business                10/01/20 KBD             390 attention to utility invoices issue (.2).                                                               0.2         0.05      $19.50
2020        Operations
October     Business                10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                         0.2 0.0032258          $1.26
2020        Operations
October     Business                10/09/20 KBD             390 study financial reporting from property managers (.5)                                                   0.5 0.0080645          $3.15
2020        Operations
October     Business                10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).             0.3 0.0028571          $1.11
2020        Operations
October     Business                10/20/20 KBD             390 work on restoration of funds (.3).                                                                      0.3 0.0028571          $1.11
2020        Operations
October     Asset                   10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903          $1.58
2020        Disposition                                          lenders (.7)
October     Asset                   10/01/20 JR              140 further review of May financial reporting (3.3)                                                         3.3 0.0320388          $4.49
2020        Disposition
October     Asset                   10/02/20 JR              140 exchange correspondence with buyer's counsel regarding same (1700 Juneway) (.1)                         0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/02/20 JR              140 review subsidy contracts and update electronic files in anticipation of closing for property            1.2          1.2     $168.00
2020        Disposition                                          (1700 Juneway) (1.2)
October     Asset                   10/02/20 JR              140 update closing documents in preparation for closing (1700 Juneway) (2.6)                                2.6          2.6     $364.00
2020        Disposition
October     Asset                   10/02/20 JR              140 exchange correspondence with leasing manager requesting missing subsidy agreements                      0.1          0.1      $14.00
2020        Disposition                                          related to property (1700 Juneway) (.1)
October     Asset                   10/05/20 JR              140 follow up correspondence with property management regarding buyer request for subsidy                   0.1          0.1      $14.00
2020        Disposition                                          documentation related to property (1700 Juneway) (.1)
October     Asset                   10/05/20 JR              140 further communication with buyer's counsel regarding same (1700 Juneway) (.1)                           0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)               0.9 0.0087379          $1.22
2020        Disposition
October     Asset                   10/06/20 JR              140 follow up correspondence with A. Porter regarding requested property subsidy information                0.1          0.1      $14.00
2020        Disposition                                          for property (1700 Juneway) (.1)
October     Asset                   10/06/20 JR              140 review leases, subsidy contracts and update certified rent roll in preparation for closing              2.5          2.5     $350.00
2020        Disposition                                          (1700 Juneway) (2.5)
October     Asset                   10/06/20 JR              140 update closing documents in preparation for closing (1700 Juneway) (1.1)                                1.1          1.1     $154.00
2020        Disposition
October     Asset                   10/06/20 JR              140 review email from A. Porter regarding scheduling of closings (1700 Juneway, 7201                        0.2         0.05       $7.00
2020        Disposition                                          Dorchester, 7508 Essex and 6558 Vernon) (.2)
October     Asset                   10/06/20 JR              140 further correspondence with A. Porter advising on expiration of water certificate applications          0.2         0.05       $7.00
2020        Disposition                                          for properties (1700 Juneway, 7201 Dorchester, 7508 Essex and 6558 Vernon) (.2)

October     Asset                   10/06/20 JR              140 update closing checklist regarding closing confirmation (1700 Juneway) (.1)                             0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/06/20 JR              140 exchange correspondence with property management requesting updated financial property                  0.1          0.1      $14.00
2020        Disposition                                          reports for closing (1700 Juneway) (.1)


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
October     Asset                   10/06/20 JR              140 exchange correspondence with buyer's counsel producing requested updated rent roll in                  0.1          0.1      $14.00
2020        Disposition                                          anticipation of closing (1700 Juneway) (.1).
October     Asset                   10/07/20 AEP             390 Prepare letter to counsel for purchaser of receivership property (1700 W Juneway)                      0.4          0.4     $156.00
2020        Disposition                                          scheduling closing date (.2) and numerous ensuing communications with counsel for
                                                                 purchaser regarding legitimacy of receivership invocation of default for failure to close and
                                                                 alleged obligation to produce additional CHA subsidy-related materials (.2)

October     Asset                   10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future            0.4 0.0064516          $2.52
2020        Disposition                                          marketing on all remaining receivership properties and additional issues to be resolved (.4).

October     Asset                   10/08/20 JR              140 update certified rent roll for property (1700 Juneway) (.8)                                            0.8          0.8     $112.00
2020        Disposition
October     Asset                   10/08/20 JR              140 Review emails from the title company scheduling department and update files related to                 0.1 0.0333333          $4.67
2020        Disposition                                          closing confirmation of upcoming closings (1700 Juneway, 7201 Dorchester and 6558
                                                                 Vernon) (.1)
October     Asset                   10/08/20 JR              140 exchange correspondence with buyer's counsel regarding same (1700 Juneway) (.1)                        0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/08/20 JR              140 finalize closing documents regarding property (1700 Juneway) (.4)                                      0.4          0.4      $56.00
2020        Disposition
October     Asset                   10/08/20 JR              140 update notice letter to tenants of property (1700 Juneway) (.7)                                        0.7          0.7      $98.00
2020        Disposition
October     Asset                   10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                     0.5 0.0048544          $0.68
2020        Disposition                                          information (.5)
October     Asset                   10/09/20 JR              140 review email from leasing manager, review requested leases, update electronic files and                0.7          0.7      $98.00
2020        Disposition                                          update certified rent roll regarding property in anticipation for closing (1700 Juneway) (.7)

October     Asset                   10/10/20 AEP             390 Review and revise all closing figures, closing documents, and associated lien waivers in               1.3          1.3     $507.00
2020        Disposition                                          connection with closing of receivership property (1700 W Juneway) (1.3)

October     Asset                   10/12/20 AEP             390 finalize closing figures for receivership properties (6554 S Vernon, 1700 W Juneway, and               0.3          0.1      $39.00
2020        Disposition                                          7201 S Dorchester) and transmit same to title officer (.3)
October     Asset                   10/12/20 JR              140 exchange correspondence with property management regarding same (1700 Juneway) (.1)                    0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/12/20 JR              140 final review of broker lien waivers and forward for signature to broker (1700 Juneway, 7201            0.3          0.1      $14.00
2020        Disposition                                          Dorchester and 6558 Vernon) (.3)
October     Asset                   10/12/20 JR              140 forward same to property management (1700 Juneway, 7201 Dorchester, 6558 Vernon) (.1)                  0.1 0.0333333          $4.67
2020        Disposition
October     Asset                   10/12/20 JR              140 Final review of lien waivers and notices to tenants in preparation for signing (1700 Juneway,          0.5 0.1666667         $23.33
2020        Disposition                                          7201 Dorchester 6558 Vernon) (.5)
October     Asset                   10/12/20 JR              140 final review of closing documents (1700 Juneway) (.5)                                                  0.5          0.5      $70.00
2020        Disposition
October     Asset                   10/12/20 JR              140 review security deposits for property and update certified rent roll (1700 Juneway) (.2)               0.2          0.2      $28.00
2020        Disposition


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
October     Asset                   10/12/20 JR              140 exchange correspondence with A. Porter and K. Duff regarding upcoming execution of                      0.2         0.05       $7.00
2020        Disposition                                          documents related to closings (1700 Juneway, 7201 Dorchester, 6558 Vernon, 7508 S. Essex)
                                                                 (.2)
October     Asset                   10/12/20 JR              140 update power of attorneys for upcoming closings (1700 Juneway, 7201 Dorchester, 6558                    0.2         0.05       $7.00
2020        Disposition                                          Vernon, 7508 S. Essex) (.2)
October     Asset                   10/12/20 JR              140 exchange communication with firm regarding same (1700 Juneway, 7201 Dorchester, 6558                    0.1       0.025        $3.50
2020        Disposition                                          Vernon and 7508 S. Essex) (.1)
October     Asset                   10/12/20 JR              140 prepare transfer tax declaration for property (1700 Juneway) (.6)                                       0.6          0.6      $84.00
2020        Disposition
October     Asset                   10/13/20 JR              140 draft tenants address labels for notices to tenants for upcoming closings (1700 Juneway,                1.1       0.275       $38.50
2020        Disposition                                          6558 Vernon, 7201 Dorchester and 7508 S. Essex) (1.1)
October     Asset                   10/13/20 JR              140 review email from buyer's counsel regarding request to produce prorations for upcoming                  0.3         0.15      $21.00
2020        Disposition                                          closings and respond accordingly (.3).
October     Asset                   10/14/20 AW              140 Work with K. Duff and J. Rak on finalization of closing documents for four properties (7508 S.          0.8          0.2      $28.00
2020        Disposition                                          Essex, 1700 Juneway, 6558 S. Vernon and 6217 S. Dorchester).
October     Asset                   10/14/20 JR              140 review email from buyer's counsel requesting updated title commitment and invoice,                      0.1          0.1      $14.00
2020        Disposition                                          prepare and produce related to property (1700 Juneway) (.1)
October     Asset                   10/14/20 JR              140 request property reports from property management in preparation of closing (1700                       0.1          0.1      $14.00
2020        Disposition                                          Juneway) (.1)
October     Asset                   10/14/20 JR              140 Prepare closing documents for execution by K. Duff (1700 Juneway, 7201 Dorchester, 6558                 1.2          0.3      $42.00
2020        Disposition                                          Vernon and 7508 S. Essex) (1.2)
October     Asset                   10/14/20 JR              140 meeting with A. Watychowicz and K. Duff regarding same (1700 Juneway, 7201 Dorchester,                  0.8          0.2      $28.00
2020        Disposition                                          6558 Vernon and 7508 S. Essex) (.8)
October     Asset                   10/14/20 JR              140 review deed for closing (1700 Juneway) (.1)                                                             0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/14/20 JR              140 update certified rent roll regarding same (1700 Juneway) (.5).                                          0.5          0.5      $70.00
2020        Disposition
October     Asset                   10/14/20 JR              140 prepare notice to tenant letter in preparation for notification of sale of properties (1700             1.5       0.375       $52.50
2020        Disposition                                          Juneway, 7201 Dorchester, 6558 Vernon and 7508 S. Essex) (1.5)
October     Asset                   10/14/20 JR              140 provide buyer's counsel with requested information related to property regarding tenant                 0.2          0.2      $28.00
2020        Disposition                                          information in preparation for sale (1700 Juneway) (.2)
October     Asset                   10/15/20 JR              140 update property prorations for upcoming closing (1700 Juneway) (.8)                                     0.8          0.8     $112.00
2020        Disposition
October     Asset                   10/16/20 AEP             390 Teleconference with K. Duff and J. Rak regarding continuance in closing of receivership                 0.2          0.2      $78.00
2020        Disposition                                          property (.2)
October     Asset                   10/16/20 JR              140 closing planning for property (1700 Juneway) (.1)                                                       0.1          0.1      $14.00
2020        Disposition
October     Asset                   10/19/20 JR              140 update notice to tenant letters regarding rescheduled closing (1700 Juneway) (.6)                       0.6          0.6      $84.00
2020        Disposition
October     Asset                   10/19/20 JR              140 review ledgers and delinquency report and update rent roll regarding same (1700 Juneway)                0.9          0.9     $126.00
2020        Disposition                                          (.9)
October     Asset                   10/19/20 JR              140 update transfer tax declaration for property (1700 Juneway) (.2)                                        0.2          0.2      $28.00
2020        Disposition


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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
October     Asset                   10/20/20 AEP             390 Correspondence with prospective purchaser of receivership property and title underwriter                 0.2          0.2      $78.00
2020        Disposition                                          regarding deletion of unrecorded lease exceptions pertaining to receivership property (1700
                                                                 W Juneway) based on tenant subordination agreements (.2)

October     Asset                   10/20/20 AEP             390 remote assistance with closings of receivership properties (7201 S Dorchester and 1700 W                 1.5         0.75     $292.50
2020        Disposition                                          Juneway), including rent roll review and analysis, water proration analysis, and reconciliation
                                                                 of final settlement statements (1.5)
October     Asset                   10/20/20 JR              140 exchange correspondence with A. Porter regarding closings (1700 Juneway and 7201 S.                      0.5         0.25      $35.00
2020        Disposition                                          Dorchester) (.5)
October     Asset                   10/20/20 JR              140 Exchange correspondence with property management requesting property reports for                         0.1         0.05       $7.00
2020        Disposition                                          closings (1700 Juneway and 7201 S. Dorchester) (.1)
October     Asset                   10/20/20 JR              140 exchange correspondence with property management regarding same (1700 Juneway and                        0.1         0.05       $7.00
2020        Disposition                                          7201 S. Dorchester) (.1).
October     Asset                   10/20/20 JR              140 exchange correspondence with K. Duff, K. Pritchard and J. Wine confirming closed properties              0.1         0.05       $7.00
2020        Disposition                                          and anticipated net proceeds (1700 Juneway and 7201 S. Dorchester) (.1)

October     Asset                   10/20/20 JR              140 attend closings of properties (1700 Juneway and 7201 S. Dorchester) (5.8)                                5.8          2.9     $406.00
2020        Disposition
October     Asset                   10/20/20 KMP             140 Review online bank records to confirm deposits of proceeds from sales of properties (7201 S              0.2          0.1      $14.00
2020        Disposition                                          Dorchester, 1700 Juneway) and communicate with K. Duff and J. Rak regarding same.

October     Asset                   10/21/20 JR              140 Exchange correspondence with the closer at title company regarding authorization                         0.1         0.05       $7.00
2020        Disposition                                          disbursement of funds related to closings (1700 Juneway and 7201 S. Dorchester) (.1)

October     Asset                   10/21/20 KMP             140 Review online bank records to confirm deposits of proceeds from sales of properties (7201 S              0.2          0.1      $14.00
2020        Disposition                                          Dorchester, 1700 Juneway) and communicate with K. Duff and J. Rak regarding same (.2)

October     Asset                   10/22/20 JR              140 review email from property management and provide requested buyer information for                        0.1         0.05       $7.00
2020        Disposition                                          properties that sold (1700 Juneway and 7201 S. Dorchester) (.1)
October     Asset                   10/27/20 AEP             390 read order granting remainder of eighth and ninth motions to confirm sales and peruse                    0.3 0.0176471          $6.88
2020        Disposition                                          notice of appeal and motion to stay filed by certain lenders (.3)
October     Asset                   10/28/20 JRW             260 Work with A. Porter on preparation of proposed orders granting eighth and ninth sales                    0.2 0.0142857          $3.71
2020        Disposition                                          motions (.2)
October     Asset                   10/28/20 JRW             260 draft email to court clerk regarding entry of proposed orders and related email exchange                 0.3 0.0176471          $4.59
2020        Disposition                                          (.3).
October     Asset                   10/30/20 AW              140 Communicate with K. Duff regarding objections to ninth and tenth sale motions.                           0.4 0.0142857          $2.00
2020        Disposition
October     Business                10/01/20 KMP             140 Communicate with property manager and EB team regarding electronic payment notices                       0.2         0.05       $7.00
2020        Operations                                           from utility company (.2)
October     Business                10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                     0.9 0.0087379          $3.41
2020        Operations
October     Business                10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).              0.2 0.0019417          $0.76
2020        Operations


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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October     Business                10/02/20 ED          390 and email correspondence to J. Rak regarding same (.1)                                              0.1 0.0009709         $0.38
2020        Operations
October     Business                10/06/20 ED          390 draft and send email correspondence to accountant regarding discrepancies in May reports            0.3 0.0029126         $1.14
2020        Operations                                       requiring revision (.3).
October     Business                10/06/20 ED          390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                  0.1 0.0009709         $0.38
2020        Operations
October     Business                10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional              0.8    0.007767       $3.03
2020        Operations                                       comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                             reimbursable amounts by properties. (.2)
October     Business                10/07/20 ED          390 final review of May reports (1.0).                                                                  1.0 0.0097087         $3.79
2020        Operations
October     Business                10/07/20 KMP         140 Prepare form for wire transfer to financing company for payment of insurance premium                0.3 0.0048387         $0.68
2020        Operations                                       financing installment and communications with K. Duff and bank representatives regarding
                                                             same.
October     Business                10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                  0.9 0.0145161         $5.66
2020        Operations                                       explanations of insurance expense for all unsold properties and inspection expenses for
                                                             certain properties (.9)
October     Business                10/08/20 ED          390 review of premium finance agreements executed in connection with renewals of property               0.3 0.0048387         $1.89
2020        Operations                                       and liability insurance (.3)
October     Business                10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting           0.5 0.0048544         $1.89
2020        Operations                                       reports (.5).
October     Business                10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as           1.5 0.0145631         $5.68
2020        Operations                                       of May 31, 2020 (1.5)
October     Business                10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff            1.1 0.0106796         $1.50
2020        Operations                                       regarding reports.
October     Business                10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                            0.6 0.0058252         $2.27
2020        Operations
October     Business                10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement            0.5 0.0048544         $1.89
2020        Operations                                       amounts (.2) organize financial data for use in preparing accounting reports (.3).

October     Business                10/09/20 KMP         140 study property manager's reporting for September and review backup documentation on                 0.8 0.0533333         $7.47
2020        Operations                                       owner portal relating to same (.8).
October     Business                10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                     0.3 0.0028571         $1.11
2020        Operations
October     Business                10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                   0.7 0.0066667         $2.60
2020        Operations                                       approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October     Business                10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                   0.3 0.0028571         $1.11
2020        Operations                                       accounting reports (.3)
October     Business                10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent              0.8    0.007619       $2.97
2020        Operations                                       restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October     Business                10/20/20 KMP             140 communicate with insurance broker to advise of recently closed properties and request                0.3          0.1      $14.00
2020        Operations                                           information relating to premium financing (.2) and confer with K. Duff regarding same (.1).

October     Business                10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020        Operations                                           property manager (.2)
October     Business                10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020        Operations                                           updating financial reporting to lenders and for use in management of portfolio by Receiver.

October     Business                10/26/20 KMP             140 communicate with insurance broker regarding issues relating to reduction in premium                  0.2 0.0666667          $9.33
2020        Operations                                           funding payments as a result of property sales (.2).
October     Business                10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020        Operations
October     Business                10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020        Operations                                           reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October     Business                10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020        Operations                                           property financial reporting (.2).
October     Business                10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020        Operations                                           reports, and review of related financial information.
November    Business                11/04/20 KBD             390 Exchange correspondence with K. Pritchard regarding property manager records.                        0.2 0.0051282          $2.00
2020        Operations
November    Asset                   11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022        $3.08
2020        Disposition
November    Asset                   11/13/20 JR              140 Review email from eviction counsel regarding tenants in eviction status and provide new              0.1          0.1      $14.00
2020        Disposition                                          buyer information for property (1700 Juneway) (.1)
November    Asset                   11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868          $0.26
2020        Disposition
November    Business                11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020        Operations                                           financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November    Business                11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020        Operations
November    Business                11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020        Operations
November    Business                11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020        Operations                                           property reports (.3)
November    Business                11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020        Operations                                           correspondence with accountants and property manager regarding same (.4)

November    Business                11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020        Operations                                           correspondence with K. Duff regarding comments and proposed revisions (.2)
November    Business                11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020        Operations                                           needed for preparation of June reporting.


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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
November    Business                11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020        Operations                                           reporting information necessary for completion of remining June accounting reports (.2).

November    Business                11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020        Operations                                           reports, and steps to begin preparation of July reports (.3)
November    Business                11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)             1.2 0.0193548          $2.71
2020        Operations
November    Business                11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020        Operations                                           reporting information required for preparation of July property reports.

November    Business                11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020        Operations                                           accounting reports and preparation of draft August reports (.3).
December    Asset                   12/03/20 MR              390 review request regarding (1700 Juneway) property (.1).                                               0.1          0.1      $39.00
2020        Disposition
December    Asset                   12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020        Disposition                                          discrepancy (.9)
December    Asset                   12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020        Disposition                                          (.1)
December    Asset                   12/23/20 JR              140 Review email from K. Duff and provide requested sold property information for the 3rd                0.2         0.01       $1.40
2020        Disposition                                          quarter 2020 (.2)
December    Business                12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020        Operations
December    Business                12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                 0.4 0.0044944          $1.75
2020        Operations
December    Business                12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020        Operations                                           accounting reports and preparation of draft September reports (.1).
December    Business                12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020        Operations                                           related financial reporting from property managers (2.1).
December    Business                12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020        Operations                                           property managers (2.6).
December    Business                12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020        Operations                                           preparation of September property accounting reports (.1)
December    Business                12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020        Operations
December    Business                12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020        Operations                                           accounting reports (.7), and review of related reporting and financial records (.5)

December    Business                12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020        Operations
December    Business                12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020        Operations                                           properties (.9).
December    Business                12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020        Operations                                           changes (.4)


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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December    Business                12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                 0.2 0.0019048          $0.74
2020        Operations
December    Business                12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                0.4 0.0038095          $1.49
2020        Operations                                       of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December    Business                12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                      0.2 0.0019048          $0.74
2020        Operations                                       premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
December    Claims                  12/04/20 AW          140 research regarding sale of properties (6356 S California and 1700-08 Juneway) and draft               0.5         0.25      $35.00
2020        Administration                                   emails to claimant regarding same (.5)
            & Objections

December    Claims                  12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                        0.2 0.0022472          $0.58
2020        Administration
            & Objections

January     Asset                   01/13/21 KBD         390 Exchange correspondence with J. Rak regarding post-sale reconciliation for properties (7748-          0.6 0.0285714         $11.14
2021        Disposition                                      52 S Essex Avenue, 701-13 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw
                                                             Avenue, 8326-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S
                                                             Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Kingston Avenue, 11117-11119 S Longwood
                                                             Avenue, 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street,
                                                             6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Avenue,
                                                             7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                             Dorchester Avenue) (.6)

January     Asset                   01/14/21 KBD         390 exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliation for           0.3 0.0142857          $5.57
2021        Disposition                                      properties (7748-52 S Essex Avenue, 701-13 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S
                                                             Saginaw Avenue, 8326-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-
                                                             09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Kingston Avenue, 11117-11119 S
                                                             Longwood Avenue, 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W
                                                             64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                             King Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue) (.3).

January     Asset                   01/21/21 KBD         390 exchange correspondence K. Pritchard and J. Rak regarding post-sale account reconciliations           0.4         0.02       $7.80
2021        Disposition                                      (1700-08 W Juneway Terrace, 7300-04 S St Lawrence Avenue, 7760 S Coles Avenue, 701-13 S
                                                             5th Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 8214-16 S
                                                             Ingleside Avenue, 6749-59 S Merrill Avenue, 7201 S Constance Avenue, 2736-44 W 64th
                                                             Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201-07 S Dorchester Avenue,
                                                             7546-48 S Saginaw Avenue, 7748-52 S Essex Avenue, 7957-59 S Marquette Road, 8326-58 S
                                                             Ellis Avenue, 11117-11119 S Longwood Drive, 5618-20 S Martin Luther King Drive) (.4)




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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January     Business                01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021        Operations
January     Business                01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021        Operations                                           expenses.
January     Claims                  01/19/21 KBD             390 attention to review of claims (1700-08 W Juneway Terrace, 5450-52 S Indiana Avenue, 7749-            0.2         0.05      $19.50
2021        Administration                                       59 S Yates Boulevard, 6160-6212 S Martin Luther King Drive) (.2)
            & Objections

January     Claims                  01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524          $0.37
2021        Administration                                       relating to accounting reports (.1).
            & Objections

January     Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704          $2.85
2021        Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January     Asset                   01/13/21 JR              140 review email from K. Duff regarding property manager report related to cash balance report,          0.4 0.0190476          $2.67
2021        Disposition                                          update closing dates regarding same and provide report to K. Duff (7748-52 S Essex Avenue,
                                                                 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32 S Ellis
                                                                 Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S
                                                                 Ingleside Avenue, 8201 S Kingston Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                                 Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6356 S California
                                                                 Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance
                                                                 Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester
                                                                 Avenue) (.4)

January     Asset                   01/13/21 KMP             140 Review various property accounts to confirm that post-reconciliation funds have not been             0.6 0.0285714          $4.00
2021        Disposition                                          received from property manager and communicate with K. Duff and J. Rak regarding same
                                                                 (7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw
                                                                 Avenue, 8326-32 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S
                                                                 Ellis Avenue, 8214-16 S Ingleside Avenue, 8201 S Kingston Avenue, 11117-11119 S Longwood
                                                                 Drive, 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street,
                                                                 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive,
                                                                 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue).

January     Asset                   01/14/21 KMP             140 Edit property manager's cash balance spreadsheet to provide information for post-                    1.1 0.0578947          $8.11
2021        Disposition                                          reconciliation transfers of funds, and prepare email correspondence to property manager
                                                                 transmitting same.
January     Asset                   01/15/21 JR              140 update post-closing reconciliation reports and request update from property managers                 0.5 0.0263158          $3.68
2021        Disposition                                          relating all closed properties (.5).
January     Asset                   01/21/21 JR              140 review post-closing reconciliation discrepancies and follow up correspondence with property          0.6 0.0315789          $4.42
2021        Disposition                                          manager regarding same (.6)


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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
January     Asset                   01/21/21 JR              140 exchange communication with K. Pritchard regarding post-closing reconciliation                        0.2 0.0105263         $1.47
2021        Disposition                                          discrepancies (.2)
January     Asset                   01/21/21 KMP             140 Review online banking records to confirm receipt of post-reconciliation funds from property           0.3 0.0157895         $2.21
2021        Disposition                                          manager and communicate with K. Duff and J. Rak regarding same (1700-08 W Juneway,
                                                                 7300-04 S St Lawrence Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                 Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 6749-59 S Merrill Avenue, 701-13 S
                                                                 5th Avenue, 7201 S Constance Avenue, 2736-44 W 64th Street, 6355-59 S Talman Avenue,
                                                                 6356 S California Avenue, 7201-07 S Dorchester Avenue, 7546-48 S Saginaw Avenue, 7748-52
                                                                 S Essex Avenue, 7957-59 S Marquette Road, 8326-58 S Ellis Avenue, 5618-20 S Martin Luther
                                                                 King Drive).

January     Business                01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                  0.5 0.0047619         $1.86
2021        Operations
January     Business                01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                        0.3 0.0028571         $1.11
2021        Operations                                           properties, and email correspondence with K. Duff regarding same (.3)
January     Business                01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                          0.1 0.0009524         $0.37
2021        Operations
January     Business                01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond                 0.1 0.0009524         $0.13
2021        Operations                                           accordingly regarding status review of same (.1)
January     Business                01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                      4.1 0.0390476         $5.47
2021        Operations
January     Business                01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October                0.2 0.0019048         $0.27
2021        Operations                                           and November 2020 and forward same to her.
January     Business                01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                       1.9 0.0180952         $7.06
2021        Operations
January     Business                01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                  1.3    0.012381       $4.83
2021        Operations                                           property (1.3).
January     Business                01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                      0.1 0.0009524         $0.13
2021        Operations                                           reporting (.1).
January     Business                01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                          2.4 0.0228571         $3.20
2021        Operations
January     Business                01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration               3.4    0.032381      $12.63
2021        Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January     Business                01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration               0.9 0.0085714         $3.34
2021        Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January     Business                01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and               0.6 0.0057143         $2.23
2021        Operations                                           corrections necessary.




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January     Business                01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571         $1.11
2021        Operations                                           analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January     Business                01/14/21 JR              140 review email from K. Pritchard and provide cash balance report as requested for closed               0.2 0.0060606         $0.85
2021        Operations                                           properties (.2).
January     Business                01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property             0.2 0.0033333         $0.47
2021        Operations                                           report (.2)
January     Business                01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021        Operations
January     Business                01/15/21 KMP             140 revise list of EB entities to include tax identification numbers (.5).                               0.5 0.0178571         $2.50
2021        Operations
January     Business                01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021        Operations                                           and reimbursable amounts as of September 31, 2020 (1.7)
January     Business                01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021        Operations                                           (.3).
January     Business                01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021        Operations
January     Business                01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021        Operations                                           transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January     Business                01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021        Operations                                           prepare same as per E. Duff's request.
January     Business                01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021        Operations                                           allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January     Business                01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021        Operations                                           and effect on data presented in September accounting reports (.4)

January     Business                01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021        Operations                                           properties (.6)
January     Business                01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021        Operations
January     Business                01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021        Operations                                           updates (.8)
January     Business                01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021        Operations                                           reports (1.7)
January     Business                01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021        Operations                                           and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).




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1700-08 W Juneway Terrace                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated       Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours            Fees
January     Business                01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).                0.4 0.0038095             $0.53
2021        Operations
January     Claims                  01/18/21 JP                   95 Review lender statement of accounts, full client history, and mortgagee spreadsheet and           2.0               2     $190.00
2021        Administration                                           complete claims analysis for property (1700-08 W Juneway Terrace) (2.0)
            & Objections

January     Claims                  01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                  0.6 0.0057143             $0.80
2021        Administration                                       lenders.
            & Objections

January     Claims                  01/20/21 AW              140 Draft email to claimant regarding recently sold property (1700-08 W Juneway Terrace) (.1)             0.1          0.1         $14.00
2021        Administration
            & Objections

February    Business                02/10/21 KBD             390 Attention to property expense issue (1700-08 W Juneway Terrace) (.1)                                  0.1          0.1         $39.00
2021        Operations
February    Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records               0.4 0.0036697             $0.51
2021        Disposition                                          and status of same (.4)
February    Business                02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)           0.7 0.0118644             $4.63
2021        Operations
February    Business                02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional              0.4 0.0067797             $2.64
2021        Operations                                           data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February    Business                02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation             0.2 0.0019048             $0.74
2021        Operations                                           of October 2020 accounting reports.
February    Business                02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,               3.2 0.0304762             $4.27
2021        Operations                                           November and December and produce same in preparation for review.
February    Business                02/17/21 KMP             140 attention to receipt of property manager's year-end annual reports for EB entities (EB South          0.3 0.0078947             $1.11
2021        Operations                                           Chicago 3 LLC, 1700 W Juneway LLC, EB South Chicago 4 LLC, EquityBuild LLC, SSDF4 7255 S.
                                                                 Euclid LLC, SSDF7 Portfolio 1 LLC, SSPH Portfolio 1 LLC) (.3)
February    Business                02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                 1.1 0.0104762             $4.09
2021        Operations
February    Business                02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                             0.2 0.0019048             $0.27
2021        Operations
February    Business                02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                   3.6 0.0342857             $4.80
2021        Operations
February    Business                02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial             0.3 0.0028571             $0.40
2021        Operations                                           reporting.
February    Claims                  02/09/21 JRW             260 review claims against property (1700-08 W Juneway Terrace) (.5)                                       0.5          0.5        $130.00
2021        Administration
            & Objections




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Claims                 02/10/21 SZ              110 Review of claims (1700-08 Juneway Terrance, 5450-52 S Indiana Ave, 7749-59 S Yates                  5.8 1.9333333        $212.67
2021         Administration                                      Boulevard).
             & Objections

February     Claims                 02/12/21 SZ              110 Continued to review claims (1700-08 W Juneway Terrace, 7749-59 S Yates Boulevard, 6160-             5.0       0.625       $68.75
2021         Administration                                      6212 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S
             & Objections                                        Sacramento Avenue, 6001-05 S Sacramento Avenue, 7237-43 S Bennett Avenue) and update
                                                                 with information about independent contractors and trade consultants.

March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/14/21 ED              390 Email correspondence to accountant to provide additional property manager financial report          0.1          0.1      $39.00
           Operations                                            (1700 W Juneway Terrace) for November reporting.
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                   03/11/21 SZ              110 Email communication with J. Wine regarding update on review of properties (1700-08 W                0.4 0.0285714          $3.14
           Administration                                        Juneway Terrace, 5450-52 S Indiana Avenue, 7749-59 S Yates Boulevard, 6160-6212 S Martin
           & Objections                                          Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S Sacramento
                                                                 Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 7237-43 S Bennett
                                                                 Avenue, 701-13 S 5th Avenue, Maywood, 11117-11119 S Longwood Drive, 7834-44 S Ellis
                                                                 Avenue, 4611-17 S Drexel Boulevard).

April 2021   Business               04/08/21 KBD             390 Exchange correspondence with insurance broker regarding credits for sold properties (.1)            0.1 0.0026316          $1.03
             Operations
April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873          $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125        $0.44
             Disposition                                         (.2)
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for two properties (1700-08 W Juneway            0.2          0.1      $39.00
             Operations                                          Terrace, 6949-6959 S Merrill Avenue) (.2)
April 2021   Business               04/05/21 ED              390 Begin review drafts of November accounting reports for 27 properties (8209 S Ellis Avenue,          0.3 0.0111111          $4.33
             Operations                                          11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442- 54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3)

April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762          $4.27
             Operations
April 2021   Business               04/27/21 ED              390 Email correspondence with K. Pritchard and accountants regarding process for attributing            0.2 0.0074074          $2.89
             Operations                                          insurance premium expense to sold and unsold properties (8209 S Ellis Avenue, 11117-11119
                                                                 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S
                                                                 Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736-44 W 64th Street,
                                                                 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue,
                                                                 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-
                                                                 54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S
                                                                 Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.2)




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/27/21 ED          390 email correspondence with K. Pritchard and with insurance agent regarding process for                0.1 0.0037037         $1.44
             Operations                                      attributing insurance premium expense to sold and unsold properties (8209 S Ellis Avenue,
                                                             11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                             59 S Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736- 44 W 64th
                                                             Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                             Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                             7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                             Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                             4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                             58 S Kingston Avenue, 1131- 41 E 79th Place, 6250 S Mozart Street) (.1).


April 2021   Business               04/28/21 ED          390 Calls with insurance agent to discuss allocation of insurance expenditures to properties to          0.3 0.0111111         $4.33
             Operations                                      reflect timing of property sales, and next steps for completion of December 2020 accounting
                                                             reports (8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                             7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 S
                                                             Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                             California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                             Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                             431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street) (.3)

April 2021   Business               04/28/21 ED          390 calls with accountants and J. Rak to discuss allocation of insurance expenditures to                 0.4 0.0148148         $5.78
             Operations                                      properties to reflect timing of property sales, and next steps for completion of December
                                                             2020 accounting reports (8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                             Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                             Avenue, 3074 S Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                             Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                             58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                             Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                             E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                             Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                             Place, 6250 S Mozart Street) (.4).




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/28/21 JR              140 Conference call with E. Duff and accounting firm regarding December reports (8209 S Ellis            0.5 0.0185185         $2.59
             Operations                                          Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736-
                                                                 44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                                 Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442- 54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600- 10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


April 2021   Business               04/30/21 ED              390 Review and analysis of financial reporting from property managers to respond to request              1.2 0.0631579        $24.63
             Operations                                          from accountant for additional information on 2020 property operating income details (7836
                                                                 S Shore Drive, 7546-48 S Saginaw Avenue, 8326-54 S Ellis Avenue, 11117-11119 S Longwood
                                                                 Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59 S
                                                                 Talman Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 6749-59 S
                                                                 Merrill Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue, 6250 S Mozart Street, 7508 S Essex Avenue, 6437-41 S Kenwood Avenue, 5450-52 S
                                                                 Indiana Avenue, 7450 S Luella Avenue) (1.2)

April 2021   Business               04/30/21 ED              390 email correspondence with accountant and property manager regarding analysis of financial            0.2 0.0105263         $4.11
             Operations                                          reporting from property managers (7836 S Shore Drive, 7546-48 S Saginaw Avenue, 8326-54
                                                                 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette
                                                                 Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 1700-08 W Juneway Terrace, 7201-
                                                                 07 S Dorchester Avenue, 6749-59 S Merrill Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                 Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7508 S Essex Avenue,
                                                                 6437-41 S Kenwood Avenue, 5450-52 S Indiana Avenue, 7450 S Luella Avenue) (.2).

May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381       $1.73
             Operations
May 2021     Business               05/17/21 ED              390 draft and send email to insurance agent regarding additional backup required regarding               0.9 0.0346154        $13.50
             Operations                                          premium refunds with respect to certain sold properties (8047-55 S Manistee Avenue, 8326-
                                                                 32 S Ellis Avenue, 8334- 40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue,
                                                                 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S
                                                                 Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S
                                                                 Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther
                                                                 King Drive, 6356 S California Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue,
                                                                 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 6949-59 S Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue) (.9)




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021    Business                05/17/21 ED          390 reply to email correspondence from accountant regarding calculation of insurance                      0.4 0.0097561         $3.80
            Operations                                       reconciliation amounts for properties sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th
                                                             Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                             6250 S Mozart Street, 6355-59 S Talman Avenue, 6357-59 S Talman, 6749-59 S Merrill
                                                             Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue,
                                                             7546-48 S Saginaw Avenue, 7749-59 S Yates Boulevard, 816-22 E Marquette Road, 8201 S
                                                             Kingston Avenue, 8047-55 S Manistee Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                             Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                             8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S
                                                             Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham
                                                             Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue,
                                                             7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                             Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 6949-59 S Merrill Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4).


May 2021    Business                05/19/21 KMP         140 conference with K. Duff regarding property expenses in connection with anticipated third              0.1 0.0012346         $0.17
            Operations                                       restoration motion (.1).
June 2021   Business                06/01/21 ED          390 Update list of insurance policy endorsements needed to complete reconciliation of costs for           0.9 0.0219512         $8.56
            Operations                                       properties sold in 2020 and email correspondence with insurance agent to request additional
                                                             backup (8407-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue,
                                                             7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                             Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2021   Business                06/03/21 ED              390 email correspondence with insurance agent regarding insurance refunds for sold properties              0.1    0.002439       $0.95
            Operations                                           (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                                 Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                                 Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                                 Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                                 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                                 Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                                 44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                                 Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.1).


June 2021   Business                06/22/21 ED              390 Email correspondence to insurance agent following up on missing documentation regarding                0.2    0.004878       $1.90
            Operations                                           refunds for prepaid premium amounts relating to properties sold in 2020 (8047-55 S
                                                                 Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021   Business                06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619         $1.86
            Operations                                           and forward to accountant for use in preparation of reports (.5)
July 2021   Asset                   07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                   0.2 0.0018868         $0.26
            Disposition                                          regarding closed properties status (see D) (.2)




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2021   Business                07/06/21 SZ              110 Cross-referenced property manager's expense ledger against invoices for duplicate                     1.6 0.0410256          $4.51
            Operations                                           transactions (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex
                                                                 Avenue, 7937-39 S Essex Avenue, 7943- 45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S
                                                                 Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E
                                                                 78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-
                                                                 48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue,
                                                                 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                 Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,
                                                                 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59
                                                                 S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S
                                                                 Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 4315- 19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn
                                                                 Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett
                                                                 Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).


July 2021   Business                07/09/21 SZ              110 Compile exhibits for third restoration motion (7300-04 S St Lawrence Avenue, 414 Walnut,              1.1         0.05       $5.50
            Operations                                           6355-59 S Talman Avenue, 6250 S Mozart Street, 4315-19 S Michigan Avenue, 6749-59 S
                                                                 Merrill Avenue, 7957-59 S Marquette Road, 11117-11119 S Longwood Drive, 7600-10 S
                                                                 Kingston Avenue, 8000- 02 S Justine Street, 8214-16 S Ingleside Avenue, 7255-57 S Euclid
                                                                 Avenue, 8352-58 S Ellis Avenue, 8342-50 S Ellis Avenue, 8334-40 S Ellis Avenue, 7201-07 S
                                                                 Dorchester Avenue, 7201 S Constance Avenue, 7109-19 S Calumet Avenue, 6356 S California
                                                                 Avenue, 7237-43 S Bennett Avenue, 5618-20 S Martin Luther King Drive, 1700-08 W Juneway
                                                                 Terrace, 8214-16 S Ingleside Avenue, 2736-44 W 64th Street, 1401 W 109th Place).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2021   Business                07/12/21 KMP             140 telephone conferences with S. Zjalic regarding preparation of exhibits comprising invoices              0.3 0.0076923         $1.08
            Operations                                           from property managers for expenses, and review related documentation (6160-6212 S
                                                                 Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex
                                                                 Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-
                                                                 05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex
                                                                 Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32
                                                                 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S
                                                                 Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue,
                                                                 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59
                                                                 S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 6356 S California
                                                                 Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                                 Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-
                                                                 19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                 Avenue) (.3)


July 2021   Business                07/12/21 SZ              110 Continued to review property manager's repair expenses in order to populate exhibits list for           2.0 0.0512821         $5.64
            Operations                                           Third Restoration Motion and related email exchange and phone communication with K.
                                                                 Pritchard (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex
                                                                 Avenue, 7937-39 S Essex Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S
                                                                 Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E
                                                                 78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-
                                                                 48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue,
                                                                 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                 Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,
                                                                 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59
                                                                 S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S
                                                                 Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn
                                                                 Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett
                                                                 Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).


July 2021   Business                07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                        0.2 0.0024691         $0.35
            Operations                                           accordingly (see I).




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2021   Business                07/21/21 JR              140 Exchange correspondence with account analyst regarding various property insurance                     0.3 0.0073171         $1.02
            Operations                                           endorsements related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St
                                                                 Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                 58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                 Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place, 6250 S Mozart Street).


July 2021   Business                07/22/21 JR              140 Review property insurance endorsements and communicate with account analyst regarding                 0.7 0.0170732         $2.39
            Operations                                           various property insurance missing endorsements related to sold properties and request
                                                                 production of same (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520- 26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2021   Business                07/23/21 JR              140 Exchange correspondence with account analyst regarding requested property insurance                  0.5 0.0119048         $1.67
            Operations                                           endorsements for sold properties in 2020, review requested endorsements and save in
                                                                 electronic files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520-
                                                                 26 S Drexel Boulevard, 8201 S Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                 St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman Avenue, 6356 S
                                                                 California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                 Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                 Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E
                                                                 Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250
                                                                 S Mozart Street).


July 2021   Business                07/27/21 SZ              110 review of the previously received invoices related to properties in order to make necessary          0.7       0.025       $2.75
            Operations                                           updates to repair expense ledger (310 E 50th Street, 414 Walnut, 416-24 E 66th Street, 1401
                                                                 W 109th Place, 638-40 N Avers Avenue, 1700-08 W Juneway Terrace, 2736-44 W 64th Street,
                                                                 4315-19 S Michigan Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6356
                                                                 S California Avenue, 6355-59 S Talman Avenue, 6749-59 S Merrill Avenue, 6807 S Indiana
                                                                 Avenue, 7109-19 S Calumet Avenue, 7201-07 S Dorchester Avenue, 7201 S Constance
                                                                 Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7300-04 S St Lawrence
                                                                 Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 7957-59 S Marquette Road, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 11117-11119 S Longwood Drive) (.7).




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1700-08 W Juneway Terrace                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
August 2021 Business                08/16/21 JR              140 Review email from E. Duff related to property endorsements regarding 2020 property                      0.4 0.0097561         $1.37
            Operations                                           insurance, update same and send all endorsements received from accounting firm (8047-55
                                                                 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59
                                                                 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.4)


August 2021 Business                08/25/21 ED              390 Review additional documents received from insurance agent regarding refunds of prepaid                  0.2 0.0090909         $3.55
            Operations                                           premium for sold properties (1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W
                                                                 64th Street, 4315-19 S Michigan Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana
                                                                 Avenue, 5618-20 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett
                                                                 Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07 S Dorchester Avenue,
                                                                 7442-54 S Calumet Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 3074 E
                                                                 Cheltenham Place, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                                 Road, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8403 S Aberdeen Street) (.2)

August 2021 Business                08/25/21 ED              390 revise and update analysis of allocation of insurance costs relating to sold properties (1700-          0.7 0.0318182        $12.41
            Operations                                           08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-19 S Michigan
                                                                 Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20 S Martin Luther King
                                                                 Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S
                                                                 Constance Avenue, 7201-07 S Dorchester Avenue, 7442-54 S Calumet Avenue, 7600-10 S
                                                                 Kingston Avenue, 7760 S Coles Avenue, 3074 E Cheltenham Place, 8000-02 S Justine Street,
                                                                 8107-09 S Ellis Avenue, 816-22 E Marquette Road, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8403 S Aberdeen Street) (.7)




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
August 2021 Business                08/25/21 ED          390 email correspondence to accountant regarding insurance cost allocation to reflect                      0.2 0.0055556          $2.17
            Operations                                       adjustments related to property sales, and completion of final 2020 accounting reports (1131-
                                                             41 E 79th Place, 1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street,
                                                             4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-
                                                             52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S
                                                             Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill
                                                             Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07
                                                             S Dorchester Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S
                                                             Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S Yates
                                                             Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette Road, 8000-
                                                             02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                             Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-32 S
                                                             Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                             Aberdeen Street) (.2).

August 2021 Claims                  08/04/21 AW          140 attention to email from claimant requesting access to claims documents, prepare secured                0.4          0.1      $14.00
            Administration                                   links, and related email to claimant (1700-08 W Juneway Terrace, 4533-47 S Calumet
            & Objections                                     Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue) (.4).

August 2021 Claims                  08/23/21 AW          140 prepare link containing claims documents (1700-08 Juneway Terrace, 4533-47 S Calumet                   0.3          0.1      $14.00
            Administration                                   Avenue, 6001-05 S Sacramento Avenue) and related email to claimant (.3)
            & Objections

August 2021 Claims                  08/27/21 AW          140 Review claims and respond to claimant's inquiry regarding sold properties, claims process,             0.2          0.2      $28.00
            Administration                                   and grouping issues (1700-08 W Juneway Terrace) (.2)
            & Objections

September Business                  09/23/21 KBD         390 Confer with E. Duff regarding insurance, property allocation, and expense restoration issues           1.3 0.0361111         $14.08
2021      Operations                                         and exchange related correspondence (7450 S Luella Avenue, 7546-48 S Saginaw Avenue,
                                                             8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 5450-52 S
                                                             Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,
                                                             8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S
                                                             Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S
                                                             Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street,
                                                             6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive,
                                                             7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                             Dorchester Avenue, 7508 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street) (1.3)




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September Business                  09/24/21 KBD         390 confer with accounting firm representatives and E. Duff regarding expense accounting,                   1.3 0.0342105        $13.34
2021      Operations                                         property spreadsheets, and expense reimbursement issues (7450 S Luella Avenue, 7546-48 S
                                                             Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                             7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                             64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                             King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (1.3)


September Asset                     09/30/21 KMP         140 Review property accounts and update spreadsheet relating to property manager's deposits                 1.3 0.0333333         $4.67
2021      Disposition                                        of post-sale reconciliation funds and related communications with J. Rak (6160-6212 S
                                                             Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex
                                                             Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-
                                                             05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex
                                                             Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32
                                                             S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S
                                                             Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue,
                                                             8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59
                                                             S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 6356 S California
                                                             Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                             Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                             Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-
                                                             19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                             Avenue).




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September Business                  09/03/21 JR              140 Review property reports and update reimbursable amounts, and related correspondence                  2.4 0.0585366         $8.20
2021      Operations                                             with E. Duff and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).


September   Business                09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)              0.1 0.0012346         $0.17
2021        Operations                                           (.1)
September   Business                09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and             2.6 0.0320988         $4.49
2021        Operations                                           E. Duff (see I and J) (2.6)
September   Business                09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to           0.2 0.0024691         $0.35
2021        Operations                                           reimbursable amounts (see I and J) (.2).
September   Business                09/10/21 ED              390 Call with accountant to discuss accounting treatment of insurance costs for sold properties          0.5 0.0138889         $5.42
2021        Operations                                           (1131-41 E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th
                                                                 Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                 5450-52 S Indiana Avenue, 5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-
                                                                 59 S Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S
                                                                 Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue,
                                                                 7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence Avenue, 7442-54 S Calumet Avenue,
                                                                 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S
                                                                 Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette
                                                                 Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                                 22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).




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1700-08 W Juneway Terrace                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/20/21 ED          390 Review draft reports and summary from accountant proposing approach to calculating and                 0.9 0.0236842         $9.24
2021      Operations                                         reporting adjustments to insurance cost allocations for certain properties sold in 2020 (7450
                                                             S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                             7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside
                                                             Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                             7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                             Cheltenham Place, 2736- 44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman
                                                             Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                             Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                             431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street).

September Business                  09/22/21 ED          390 Call with accountant to discuss accounting treatment of insurance costs for sold properties            0.5 0.0131579         $5.13
2021      Operations                                         and related issues regarding reporting content and presentation (7450 S Luella Avenue, 7546-
                                                             48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                             59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                             Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King
                                                             Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                             7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                             Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                             4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                             58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/23/21 ED          390 Cont'd. .. Email correspondence to accountant regarding calculation of insurance costs with            0.3 0.0078947         $3.08
2021      Operations                                         respect to sold properties, and preparation of related reporting (7450 S Luella Avenue, 7546-
                                                             48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520- 26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                             7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                             64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                             King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656- 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3).


September Business                  09/23/21 ED          390 Confer with K. Duff regarding allocation of insurance premium costs to certain sold                    1.2 0.0315789        $12.32
2021      Operations                                         properties (7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-
                                                             26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                             82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                             Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                             Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59
                                                             S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                             Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                             Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E
                                                             Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan
                                                             Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250
                                                             S Mozart Street) (1.2)




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1700-08 W Juneway Terrace                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September Business                  09/23/21 ED              390 Cont'd. .. Review and analyze reporting regarding insurance cost allocations and refunds with          0.9 0.0236842         $9.24
2021      Operations                                             respect to certain sold properties in preparation for discussion with K. Duff (7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles
                                                                 Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S
                                                                 Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                                 44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                                 Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.9)


September Business                  09/24/21 ED              390 Conference call with accountants and K. Duff to discuss allocation of costs for insurance and          1.3 0.0342105        $13.34
2021      Operations                                             other amounts paid by Receivership for the benefit of sold properties (7450 S Luella Avenue,
                                                                 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S
                                                                 Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                                 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8216 S Ingleside Avenue, 8209 S Ellis
                                                                 Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                                 44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                                 Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


September Business                  09/27/21 SZ              110 Attention to repair expenses associated with properties and email communication with the               0.2 0.0074074         $0.81
2021      Operations                                             Receiver related to those expenses (7255-57 Euclid Avenue, 7109-19 S Calumet Avenue, 7237-
                                                                 43 S Bennett Avenue, 7600-10 S Kingston Avenue, 4317-19 S Michigan Avenue, 638-40 N
                                                                 Avers Avenue, 7656-58 S Kingston Avenue, 6356-58 S California Avenue, 7201-07 S
                                                                 Dorchester Avenue, 1700-08 Juneway Terrace, 5618-20 S Martin Luther King Drive, 7957-59 S
                                                                 Marquette Ave, 6357-59 S Talman Avenue, 2736 W 64th Street, 7201-09 S Constance
                                                                 Avenue, 1401 W 109th Place, 6807 S Indiana Avenue, 310 E 50th Street, 6250 S Mozart
                                                                 Avenue, 11117-19 S Longwood Drive, 416-24 E 66th Street, 8334 S Ellis Avenue, 8000 -02 S
                                                                 Justine Street, 7760 S Coles Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 6749-59 S
                                                                 Merrill Avenue).




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1700-08 W Juneway Terrace                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                               Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                Task Hours
  Month                                       Keeper                                                                                                                Hours         Fees
September Claims                    09/01/21 AW          140 review native files submitted with claims and related email to K. Duff (see K) (.8)            0.8 0.0089888          $1.26
2021      Administration
          & Objections

September Claims                    09/28/21 AW          140 email claimant requested claims documents (1700-08 Juneway Terrace, 4533-47 S Calumet          0.2         0.05       $7.00
2021      Administration                                     Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue) (.2)
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                          4533-47 S Calumet Avenue
General Allocation % (Pre 01/29/21):                                                 2.6640863%
General Allocation % (01/29/21 Onward, Claims Only):                            2.8627446929%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     2        4533-47 S Calumet Avenue                                                    105.92      $             28,667.35                           78.53    $            21,095.94             184.45     $             49,763.29
                 Asset Disposition [4]                                                        5.61    $                 1,834.41                         45.21   $             10,473.68               50.82   $              12,308.09
                 Business Operations [5]                                                      5.63    $                 1,693.40                         20.48   $               6,519.85              26.12   $                  8,213.25
                 Claims Administration & Objections [6]                                     94.68     $              25,139.54                           12.83   $               4,102.41            107.52    $              29,241.95




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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4533-47 S Calumet Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    78.53
Specific Allocation Fees:         $       21,095.94



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Claims                  08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding                  1.9 0.0213483         $8.33
            Administration                                   institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                  08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                   same.
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                  08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                       0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments             1.1 0.0123596         $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                            0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)          0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                        5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via           1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                    0.2 0.0022472         $0.58
            Administration                                   institutional lenders (.2)
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference              0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                   0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related          0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                      0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                    0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                    0.1 0.0009346         $0.36
2018         Disposition




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                      information (.2)
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                                      0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                               2.5 0.0233645         $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                  0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                             0.2 0.0029412         $1.15
2018         Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Claims                 09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                        0.5    0.005618       $2.19
2018         Administration
             & Objections

September Claims                    09/17/18 KBD         390 Study draft correspondence to lender and office conference with E. Duff regarding same.                0.2 0.0133333         $5.20
2018      Administration
          & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                      0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections

September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                 0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                     0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections

September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender           0.3 0.0033708         $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652         $3.07
2018      Administration
          & Objections

September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                    0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                       0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                           0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                              0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                       2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                      0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                    0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of              0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).            0.3 0.0033708         $1.31
2018         Operations
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                    0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                   0.3 0.0033708         $1.31
2018         Operations                                      revision to procedure for reporting to institutional lenders (.3).


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
September Business                  09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944          $1.75
2018      Operations                                         lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business               09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596          $4.82
2018         Operations
September    Business               09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247          $7.89
2018         Operations
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037          $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383          $1.46
2018         Operations                                      distribution (.4).
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692          $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434          $0.25
2018         Operations
September    Business               09/28/18 ED          390 Review and reply to email correspondence with lenders and counsel (.9)                                  0.9          0.3     $117.00
2018         Operations
September    Business               09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                      2.4 0.0510638         $19.91
2018         Operations                                      relating to mortgage loans (2.4)
September    Claims                 09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708          $1.31
2018         Administration                                  correspondence (.3).
             & Objections

September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                                  0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                               0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                         0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                            0.1 0.0011236          $0.16
2018      Administration
          & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                          0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                           0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders            0.2 0.0022472         $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information               0.6 0.0074074         $1.93
2018      Administration                                     and draft notice letter for same (.6)
          & Objections

September Claims                    09/14/18 AW          140 phone call with contractor that has outstanding invoices with EquityBuild (.2)                        0.2 0.0285714         $4.00
2018      Administration
          & Objections

September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)                0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 Review and reply to messages from lenders and counsel (.4)                                            0.4 0.0266667        $10.40
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 email to lender's counsel to follow up on conference call and confer with Receiver regarding          0.2 0.0133333         $5.20
2018      Administration                                     same (.2)
          & Objections

September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                              4.4 0.0494382        $19.28
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                      0.4 0.0044944         $1.75
2018      Administration
          & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Claims                    09/18/18 ED          390 calls with lenders and counsel regarding document delivery, appraisal and financial reporting          0.5 0.0555556        $21.67
2018      Administration                                     requests (.5)
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                          0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                             1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                                2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review              1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)                0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties             0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                              1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to             0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                      0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement                0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                      documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Business               10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                      property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October      Claims                 10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                  information, and related issues and study documents regarding same.
             & Objections

October      Claims                 10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708         $1.31
2018         Administration                                  information (.3).
             & Objections

October      Claims                 10/06/18 KBD         390 Exchange correspondence with E. Duff regarding lender's counsel's communication regarding           0.1 0.0052632         $2.05
2018         Administration                                  debt service and rents.
             & Objections

October      Claims                 10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)          0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                 10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements           0.4 0.0044944         $1.75
2018         Administration                                  and provisions in order appointing receiver (.4)
             & Objections

October      Claims                 10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection           1.1 0.0123596         $4.82
2018         Administration                                  procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                 10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                  institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                    rent rolls, and various related issues (2.8)

October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                  representative regarding debt service analysis (.3)
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Claims                 10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018         Administration                                  same (.4).
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                    2.1 0.0196262         $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding                 2.4 0.0269663        $10.52
2018         Operations                                      same (2.4)
October      Business               10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and               2.7 0.0303371        $11.83
2018         Operations                                      alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916          $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346          $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346          $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925          $0.21
2018         Operations
October      Claims                 10/01/18 ED          390 review of loan documents received from lenders (1.6)                                                 1.6          0.8     $312.00
2018         Administration
             & Objections

October      Claims                 10/01/18 ED          390 confer with Receiver regarding lender communications and requests (.4)                               0.4 0.0210526          $8.21
2018         Administration
             & Objections

October      Claims                 10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895          $6.16
2018         Administration
             & Objections

October      Claims                 10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944          $1.75
2018         Administration
             & Objections

October      Claims                 10/18/18 KMP         140 Review numerous documents from institutional lenders to create debt service chart, and               5.9     0.36875       $51.63
2018         Administration                                  several conferences with E. Duff regarding same.
             & Objections

October      Claims                 10/19/18 KMP         140 Continue review of documents from institutional lenders and creation of debt service chart,          3.6       0.225       $31.50
2018         Administration                                  and several conferences with E. Duff regarding same.
             & Objections

October      Claims                 10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843         $12.71
2018         Administration                                  related loan documents and information supplied by lenders (2.9)
             & Objections

October      Claims                 10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)            0.3 0.0033708          $1.31
2018         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
October      Claims                 10/22/18 KMP         140 Configure and compile hard copy of debt service chart for K. Duff review.                          0.3     0.01875       $2.63
2018         Administration
             & Objections

October      Claims                 10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                  leases.
             & Objections

October      Claims                 10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                  portfolio properties (1.5)
             & Objections

October      Claims                 10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018         Administration                                  amount of mortgage loans (.2)
             & Objections

October      Claims                 10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124         $3.94
2018         Administration                                  logistics for site visits (.9)
             & Objections

October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618       $2.19
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472         $0.88
2018         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to                 0.3 0.0033708         $1.31
2018         Administration                                  lenders (.3)
             & Objections

October      Claims                 10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan                  0.6 0.0067416         $2.63
2018         Administration                                  balances for report (.6).
             & Objections

October      Claims                 10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting               0.2 0.0022472         $0.88
2018         Administration                                  queries (.2)
             & Objections

October      Claims                 10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Business               11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018         Operations                                      and accounting for rent, and communications with property manager (.3)

November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Business               11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and                 0.2 0.0024691         $0.96
2018         Operations                                      servicing agreements (.2)
November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Business               11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416         $2.63
2018         Operations                                      related documents (.6).
November     Business               11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236         $0.44
2018         Operations
November     Business               11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                  0.7 0.0078652         $3.07
2018         Operations                                      Receiver (.7)
November     Business               11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618       $2.19
2018         Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and               0.2 0.0018692          $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                    0.5 0.0046729          $1.82
2018         Operations
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                             0.3 0.0028037          $1.09
2018         Operations
November     Business               11/12/18 NM          260 update City litigation spreadsheet to reflect two new violations and correspond with                  0.6          0.3      $78.00
2018         Operations                                      property managers regarding same (.6).
November     Business               11/13/18 NM          260 address outstanding City litigation that is in court this week, update spreadsheet regarding          0.8          0.4     $104.00
2018         Operations                                      same, and correspond with property managers and the City regarding same (.8).

November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                0.7 0.0065421          $2.55
2018         Operations                                      related issues (.7)
November     Business               11/16/18 NM          260 update spreadsheet regarding outstanding City litigation and tend to matters in court next            0.7         0.35      $91.00
2018         Operations                                      week (.7).
November     Claims                 11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,              6.5 0.0730337         $28.48
2018         Administration                                  transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                    enforce assignments of rents and leases.

November     Claims                 11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare                5.2    0.058427       $22.79
2018         Administration                                  opposition brief (5.2).
             & Objections

November     Claims                 11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                  2.5 0.0280899         $10.96
2018         Administration                                  acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                    motion to enforce assignments of rents and leases (2.5)

November     Claims                 11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and                4.5 0.0505618         $19.72
2018         Administration                                  prepare text of affidavit (4.5)
             & Objections

November     Claims                 11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in              0.8 0.0089888          $3.51
2018         Administration                                  opposition memorandum (.8).
             & Objections

November     Claims                 11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to            2.3 0.0258427         $10.08
2018         Administration                                  enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                 11/05/18 ED          390 Call with counsel for lender (.3)                                                                     0.3          0.3     $117.00
2018         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
November     Claims                 11/06/18 AEP         390 study and revise brief (2.3).                                                                          2.3 0.0258427        $10.08
2018         Administration
             & Objections

November     Claims                 11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                              1.4 0.0157303         $6.13
2018         Administration
             & Objections

November     Claims                 11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender              1.0    0.011236       $4.38
2018         Administration                                  motion to enforce assignments of rents and leases (1.0)
             & Objections

November     Claims                 11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/17/18 MR          390 attention to various issues from hearing (.3).                                                         0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                           0.4 0.0044944         $1.75
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 attention to letter from creditors (.2)                                                                0.2 0.0022472         $0.88
2018         Administration
             & Objections

December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
December     Business               12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                          reporting (.1)
December     Business               12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business               12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                          issues (2.8)
December     Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                          to address City violations and his plan for same (1.3)
December     Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business               12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                          income from property manager and conference with K. Duff regarding same.

December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December     Business               12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                 12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                      other issues.
             & Objections

December     Claims                 12/17/18 NM              260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding                 1.8 0.0222222         $5.78
2018         Administration                                      lender statements of accounts and EB funding reports and analysis and record-keeping of
             & Objections                                        same (1.8)




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
January      Business               01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708         $1.31
2019         Operations
January      Business               01/10/19 KBD         390 study property management report (.2)                                                                 0.2 0.0029412         $1.15
2019         Operations
January      Business               01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701         $2.33
2019         Operations
January      Business               01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118         $1.72
2019         Operations                                      regarding same (.3)
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434         $0.37
2019         Operations
January      Business               01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118         $1.72
2019         Operations
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868         $0.74
2019         Operations                                      officials regarding scofflaw list (.2).
January      Business               01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708         $1.31
2019         Operations
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434         $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Business               01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                         0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                           0.1 0.0011236         $0.44
2019         Operations
January      Business               01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge           0.3 0.0033708         $1.31
2019         Operations                                      Kim and preparation for meeting with lenders' counsel (.3).
January      Business               01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                 1.5 0.0168539         $6.57
2019         Operations
January      Claims                 01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                 0.1 0.0011236         $0.44
2019         Administration                                  (.1)
             & Objections

January      Claims                 01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                     0.4 0.0044944         $1.75
2019         Administration                                  preparation for meeting regarding same (.4)
             & Objections

January      Claims                 01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                                0.3 0.0033708         $1.31
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                        0.1 0.0011236         $0.44
2019         Administration                                  correspondence with real estate broker regarding same (.1)
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
January      Claims                 01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416         $2.63
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019         Administration                                  regarding same (.5).
             & Objections

January      Claims                 01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019         Administration                                  (2.1)
             & Objections

January      Claims                 01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019         Administration                                  (.5).
             & Objections

January      Asset                  01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                     properties with institutional debt.
January      Business               01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                      issues (.5)
January      Business               01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                      with Receiver (1.2)
January      Business               01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business               01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                      assorted lenders' counsel (.3).
January      Business               01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019         Operations                                      lender's counsel to discuss questions for Receiver (.4)
January      Business               01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019         Operations
January      Business               01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                                1.0    0.011236       $4.38
2019         Operations
January      Business               01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                      0.2 0.0022472         $0.88
2019         Operations                                      meeting.
January      Business               01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February             0.9 0.0101124         $3.94
2019         Operations                                      1 meeting (.9)


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
January      Business               01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                          0.6 0.0067416         $2.63
2019         Operations
January      Business               01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                         0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                           0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property            0.7 0.0078652         $3.07
2019         Operations                                      insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January      Business               01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various               4.6 0.0516854        $20.16
2019         Operations                                      related exhibits and materials regarding same (4.6)
January      Business               01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                   0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                         0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                      0.7 0.0078652         $3.07
2019         Operations
January      Business               01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                0.9 0.0101124         $3.94
2019         Operations
January      Business               01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,             7.8 0.0876404        $34.18
2019         Operations                                      including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)
January      Business               01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                        0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with              1.7 0.0191011         $7.45
2019         Operations                                      lenders' motion to enforce assignment of rents and leases (1.7)
January      Business               01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                   0.5    0.005618       $2.19
2019         Operations                                      assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).
January      Business               01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                  0.7 0.0078652         $3.07
2019         Operations                                      meeting with lenders' counsel (.7).
January      Business               01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                             1.7 0.0191011         $7.45
2019         Operations
January      Business               01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                    6.0 0.0674157        $26.29
2019         Operations
January      Claims                 01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                            0.2 0.0022472         $0.88
2019         Administration
             & Objections

January      Claims                 01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                 0.5    0.005618       $2.19
2019         Administration                                  meeting with lenders (.5).
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January      Claims                 01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                 01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019         Administration                                  meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                    meeting with lenders.

January      Claims                 01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

January      Claims                 01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019         Administration
             & Objections

February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037         $1.09
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383         $1.46
2019         Operations                                      (.4)
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346         $0.36
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412         $1.15
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824         $2.29
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412         $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346         $0.36
2019         Operations                                      issue (.1).


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706         $0.57
2019         Operations
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706         $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                 0.1 0.0009346         $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                     0.1 0.0014925         $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2019         Operations
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                   0.2 0.0029412         $1.15
2019         Operations                                      documentation (.2)
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                       0.1 0.0014706         $0.57
2019         Operations
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                         0.1 0.0014706         $0.57
2019         Operations
February     Business               02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment             4.4 0.0494382        $19.28
2019         Operations                                      (4.4)
February     Business               02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                   0.2 0.0022472         $0.88
2019         Operations
February     Business               02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                 1.3 0.0146067         $5.70
2019         Operations                                      regarding same (1.3)
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434         $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337        $28.48
2019         Operations                                      and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701         $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)
February     Business               02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                      (.1)
February     Business               02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                      spreadsheets regarding real estate tax analysis and study same (.5)
February     Business               02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                      taxes (1.4)
February     Claims                 02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019         Administration                                  regarding same (3.3)
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
February     Claims                 02/01/19 KBD         390 study mortgage loan summary (.2)                                                                          0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                          1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/02/19 KBD         390 Study briefs regarding rent issue.                                                                        0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                 02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                  0.3 0.0034091         $1.33
2019         Administration                                  preparation of reporting (.3)
             & Objections

February     Claims                 02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                      0.3 0.0033708         $1.31
2019         Administration                                  regarding same (.3).
             & Objections

February     Business               02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019         Operations
February     Business               02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019         Operations
February     Business               02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019         Operations                                      (1.4)
February     Business               02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                      property expenses, and communicate same to K. Duff (.2)
February     Business               02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial         reporting           0.3 0.0078947         $3.08
2019         Operations                                      and evidence of insurance (.3)
February     Business               02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                      violation (.2)
February     Business               02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                      in receivership portfolio (1.9).
February     Business               02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019         Operations
February     Business               02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652         $3.07
2019         Operations                                      from institutional lenders (.7).
February     Business               02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019         Operations                                      building expenses.
February     Business               02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909         $8.42
2019         Operations                                      rents by property (1.9)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).              0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                            0.5    0.005618        $2.19
2019         Operations
February     Business               02/19/19 ED              390 calls and email correspondence with property manager regarding same (.3)                                0.3          0.3     $117.00
2019         Operations
February     Business               02/19/19 ED              390 review and draft reply to inquiry from lender's counsel regarding financial reporting (.9)              0.9          0.9     $351.00
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                          0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 ED              390 send email to lender's counsel in response to query regarding financial reporting (.4)                  0.4          0.4     $156.00
2019         Operations
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                          0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                 0.5    0.004717        $0.66
2019         Operations
February     Business               02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                       0.2 0.0022472          $0.88
2019         Operations
February     Business               02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                             2.3 0.0258427         $10.08
2019         Operations
February     Business               02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                              0.2 0.0022472          $0.88
2019         Operations
February     Business               02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                               0.1 0.0011236          $0.44
2019         Operations
February     Business               02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652          $3.07
2019         Operations                                          (.7)
February     Business               02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                0.1 0.0011236          $0.44
2019         Operations                                          information for properties (.1)
February     Business               02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382         $19.28
2019         Operations                                          taxes (4.4)
February     Business               02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888          $3.51
2019         Operations
February     Business               02/25/19 ED              390 preparation for same (.8)                                                                               0.8 0.0089888          $3.51
2019         Operations
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382         $19.28
2019         Operations                                          Duff, K. Duff, and A. Porter (4.4)
February     Business               02/25/19 NM              260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944          $1.17
2019         Operations
February     Business               02/26/19 ED              390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944          $1.75
2019         Operations                                          manager, and preparation of document reflecting same (.4)




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
February     Business               02/26/19 ED          390 Analysis regarding available sources of funds for property tax payments for each property            6.5 0.0730337        $28.48
2019         Operations                                      (6.5)
February     Business               02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'               0.7 0.0078652         $3.07
2019         Operations                                      counsel (.7)
February     Business               02/26/19 ED          390 confer with J. Rak regarding same (.3)                                                               0.3 0.0033708         $1.31
2019         Operations
February     Business               02/26/19 MR          390 Attention to property tax related issues.                                                            4.5 0.0505618        $19.72
2019         Operations
February     Business               02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                0.2 0.0022472         $0.88
2019         Operations                                      due and sources of funds (.2)
February     Business               02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                    0.3 0.0033708         $1.31
2019         Operations
February     Business               02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                              0.3 0.0028302         $1.10
2019         Operations
February     Business               02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of             6.5 0.0730337        $28.48
2019         Operations                                      same to determine available funds for payment of property taxes (6.5)
February     Business               02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related              1.3 0.0146067         $5.70
2019         Operations                                      submissions and payments (1.3)
February     Business               02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings             5.0 0.0561798        $21.91
2019         Operations                                      with K. Duff and E. Duff regarding same (5.0).
February     Business               02/27/19 MR          390 review charts regarding same (.3)                                                                    0.3 0.0033708         $1.31
2019         Operations
February     Business               02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders              0.3 0.0033708         $0.88
2019         Operations                                      with respect to escrow amounts (.3)
February     Business               02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to           0.2 0.0022472         $0.58
2019         Operations                                      costs to cure code violations (.2).
February     Business               02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in           0.1 0.0014925         $0.21
2019         Operations                                      receivership (.1)
February     Business               02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                          0.8 0.0119403         $1.67
2019         Operations
February     Business               02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                              0.4 0.0059701         $0.84
2019         Operations
February     Business               02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes            1.8 0.0202247         $7.89
2019         Operations                                      and review and analysis of documentation provided (1.8)
February     Business               02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                0.5    0.005618       $2.19
2019         Operations                                      estate taxes (.5)
February     Business               02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of             7.7 0.0865169        $33.74
2019         Operations                                      funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February     Business               02/28/19 MR          390 review and comment on communications regarding same (.5).                                            0.5    0.005618       $2.19
2019         Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Business               02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                      various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)
February     Business               02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019         Operations                                      property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).
February     Business               02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                      counsel (.2)
February     Claims                 02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                                1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                      3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                 02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                       0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                 02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications                1.5 0.0168539         $6.57
2019         Administration                                  regarding same.
             & Objections

February     Claims                 02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to                 0.5    0.005618       $1.46
2019         Administration                                  institutional lenders prior to filing pursuant to request.
             & Objections

February     Claims                 02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                              1.0    0.011236       $4.38
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                                0.2 0.0022472         $0.88
2019         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
February     Claims                 02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                        0.3 0.0033708          $1.31
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                               0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                 02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                          0.5    0.005618        $2.19
2019         Administration
             & Objections

February     Claims                 02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)             0.8 0.0089888          $3.51
2019         Administration
             & Objections

March 2019 Asset                    03/07/19 KBD         390 draft correspondence to broker same (.1)                                                           0.1 0.0009804          $0.38
           Disposition
March 2019 Asset                    03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of             0.1 0.0009804          $0.38
           Disposition                                       properties for sale (.1)
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,          0.3 0.0032609          $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax              0.1 0.0009346          $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                   0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                               0.2 0.0018692          $0.73
           Operations
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)              0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with            0.1 0.0009346          $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                      0.2 0.0029412          $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                          0.1 0.0014925          $0.58
           Operations
March 2019 Business                 03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                   0.2 0.0029412          $1.15
           Operations                                        correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/13/19 KBD         390 Exchange correspondence with property manager regarding payment of real estate taxes               0.1          0.1      $39.00
           Operations                                        (4533 Calumet) (.1)
March 2019 Business                 03/13/19 KBD         390 conference with M. Rachlis regarding same (.1)                                                     0.1          0.1      $39.00
           Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                        reporting for lenders and study form of report (.6)
March 2019 Business                 03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for              0.3 0.0034091         $1.33
           Operations                                        lenders and study draft report form (.3)
March 2019 Business                 03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial              0.2 0.0022727         $0.89
           Operations                                        reporting by property (.2)
March 2019 Business                 03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                  0.4 0.0045455         $1.77
           Operations                                        property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                   03/13/19 KBD         390 Study lenders' objections to claims process.                                                          0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                                0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial                0.3 0.0034091         $1.33
           Administration                                    reporting for lenders (.3)
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study property manager financial report (.2).                                                         0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                       0.8 0.0095238         $3.71
           Administration
           & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2019 Claims                   03/27/19 KBD             390 office conference with N. Mirjanich regarding response to lenders' objections to claims              0.2    0.002381       $0.93
           Administration                                        process motion (.2)
           & Objections

March 2019 Claims                   03/27/19 KBD             390 study lenders' objections (.5)                                                                       0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD             390 study and revise draft response to lenders' objections to claims process motion (.9)                 0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD             390 analysis of same with M. Rachlis (.2)                                                                0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD             390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)               0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD             390 further study and revise draft response to lenders' objections to claims process (3.6).              3.6 0.0428571        $16.71
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                             2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich              0.5 0.0059524         $2.32
           Administration                                        regarding same (.5)
           & Objections

March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                 2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,          0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                 03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                 03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                            (.3)
March 2019 Business                 03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                            correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                 03/06/19 ED              390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                            reports to lenders (.4)
March 2019 Business                 03/06/19 ED              390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                 03/08/19 ED              390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                            estate taxes (.4)




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091          $6.20
           Operations                                        accounting reports (1.4)
March 2019 Business                 03/13/19 NM          260 exchange correspondence with K. Duff and former EB attorney regarding complaint received              0.1          0.1      $26.00
           Operations                                        (.1)
March 2019 Business                 03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455          $1.77
           Operations                                        information for lender accounting reports (.4)
March 2019 Business                 03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818          $2.22
           Operations                                        same (.5)
March 2019 Business                 03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091          $6.20
           Operations                                        accounting reports to lenders (1.4)
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091          $1.33
           Operations                                        performance at each property (.3)
March 2019 Business                 03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455          $1.77
           Operations                                        reports (.4)
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545          $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224          $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and              0.1 0.0011364          $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                           0.9 0.0102273          $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                    0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                               1.0 0.0113636          $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                               1.0 0.0113636          $4.43
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information               0.2 0.0018692          $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                    0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)              0.7 0.0079545          $3.10
           Operations
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                             0.8 0.0090909          $3.55
           Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/20/19 AW          140 draft appearance and notice of receivership (.3)                                                       0.3          0.3      $42.00
           Operations
March 2019 Business                 03/20/19 AW          140 Confer with N. Mirjanich regarding lawsuit against EquityBuild (.1)                                    0.1          0.1      $14.00
           Operations
March 2019 Business                 03/20/19 AW          140 final revisions to drafts and e- file documents (.1).                                                  0.1          0.1      $14.00
           Operations
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091          $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455          $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545          $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125        $4.88
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818          $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125        $4.88
           Operations
March 2019 Business                 03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851          $0.78
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909          $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727          $0.89
           Operations                                        of accounting report (.2)
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364          $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727          $0.59
           Operations                                        (.2)
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727          $0.59
           Operations
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346          $0.13
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717        $1.84
           Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                  0.3 0.0028302         $1.10
           Operations
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868         $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                   0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                         0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                  2.0 0.0227273         $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports          0.9 0.0102273         $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                 0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                   0.3 0.0034091         $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property              0.3 0.0034091         $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                             1.8 0.0204545         $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                             0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties            0.2 0.0022727         $0.89
           Operations                                        (.2)
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                        0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain              0.2 0.0022727         $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                   1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                  1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and               0.2 0.0022727         $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                              0.8 0.0090909         $3.55
           Operations
March 2019 Claims                   03/13/19 NM          260 Study lenders' objections to the claims motion.                                                      0.7 0.0088608         $2.30
           Administration
           & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Claims                   03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                   03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized           0.2 0.0037736         $1.47
           Administration                                    properties (.2)
           & Objections

March 2019 Claims                   03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                   03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                    cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                   03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                    cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                   03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                    cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                      regarding same and study comments from same.

March 2019 Claims                   03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             3.3 0.0417722        $10.86
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same.

March 2019 Claims                   03/29/19 MR          390 work on draft response brief (1.2)                                                                     1.2 0.0151899         $5.92
           Administration
           & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Claims                   03/29/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                   03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             8.1 0.1025316        $26.66
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                  04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912         $3.43
             Disposition
April 2019   Asset                  04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934         $2.57
             Disposition
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868         $0.74
             Operations
April 2019   Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                           0.1 0.0014925         $0.58
             Operations
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075         $2.19
             Operations
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692         $0.73
             Operations
April 2019   Business               04/15/19 KBD         390 study property manager financial reporting (.4)                                                        0.4 0.0058824         $2.29
             Operations
April 2019   Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778         $3.03
             Operations
April 2019   Business               04/22/19 KBD         390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727         $0.89
             Operations                                      communication with accounting firm representative relating to same (.2)
April 2019   Business               04/23/19 KBD         390 study analyses from E. Duff regarding potential use of funds and properties with positive NOI          0.3 0.0176471         $6.88
             Operations                                      (.3).
April 2019   Business               04/26/19 KBD         390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126         $1.14
             Operations                                      efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383         $1.46
             Operations                                      estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD         390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417         $0.76
             Operations                                      amounts (.2)
April 2019   Claims                 04/09/19 KBD         390 Study investor lender statements of account.                                                           0.5 0.0061728         $2.41
             Administration
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Claims                 04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516         $2.52
             Administration
             & Objections

April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075         $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037         $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/07/19 JR              140 Draft additional spreadsheet for outstanding delinquent balances on real estate taxes that             1.2 0.0333333         $4.67
             Disposition                                         excluded various tranches.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/08/19 JR              140 email communication with A. Porter advising of updates to real estate tax delinquencies                0.1 0.0027778         $0.39
             Disposition                                         spreadsheet (.1)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411         $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                 0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding           0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                           0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                        0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                 0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                    1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                     0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile            0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,          0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/03/19 NM              260 exchange correspondence with City attorney regarding administrative court matters and               0.4 0.1333333        $34.67
             Operations                                          revise spreadsheet to reflect same and other administrative matters (.4)

April 2019   Business               04/04/19 NM              260 exchange correspondence with City attorneys regarding administrative court cases [more              2.0       0.125      $32.50
             Operations                                          than 25] and revise spreadsheet to reflect same (2.0)
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                  0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)           0.2 0.0022472         $0.88
             Operations
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                0.7 0.0079545         $3.10
             Operations
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                       0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                   0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                    0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate               0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details             0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).               0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                               1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                    0.2 0.0029412         $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                             0.2 0.0029412         $1.15
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                 3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                1.0 0.0111111         $4.33
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                 0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                         0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                     0.2 0.0022222         $0.87
             Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667          $2.60
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523          $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841          $1.83
             Operations
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455          $1.77
             Operations
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539          $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087       $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455          $1.77
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                           0.2 0.0022727          $0.89
             Operations
April 2019   Business               04/23/19 ED              390 Prepare analysis of outstanding tax liabilities for properties with positive net operating             0.8         0.04      $15.60
             Operations                                          income (.8)
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)            0.1 0.0011364          $0.44
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                       0.3 0.0034091          $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                      0.6 0.0068182          $2.66
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                           0.8 0.0090909          $3.55
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                                 0.2 0.0022727          $0.25
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)                0.9 0.0102273          $1.13
             Operations
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                        0.3 0.0034091          $1.33
             Operations




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                          managers (.8)
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091         $0.38
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818         $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182        $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909         $1.00
             Operations                                          property managers (.8)
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727         $0.25
             Operations
April 2019   Claims                 04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures            0.2 0.0022727         $0.89
             Administration                                      (.2).
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                 Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
April 2019   Claims                 04/02/19 ED          390 Email correspondence with accountant regarding preparation of accounting reports (.2)             0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/11/19 ED          390 Begin review of Receiver's property reports.                                                      1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 and research into discrepancies and questions (.7)                                                0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 review reports received against financial reporting to lenders (.8)                               0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                      0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 discussion with M. Rachlis of sources of funds (.8).                                              0.8 0.0115942         $4.52
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED          390 Email correspondence with insurance broker and lenders' counsel regarding renewal of              0.3 0.0029412         $1.15
             Administration                                  insurance coverage (.3)
             & Objections

May 2019     Asset                  05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                  0.2 0.0022989         $0.90
             Disposition                                     account reporting (.2)
May 2019     Asset                  05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                  1.3 0.0149425         $5.83
             Disposition                                     representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019     Asset                  05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                               0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid              0.2 0.0022989         $0.90
             Disposition                                     procedures (.2)
May 2019     Asset                  05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).             1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                  05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                           0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and            0.1 0.0011494         $0.45
             Disposition                                     portfolio equity (.1)


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                  05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                     planning (1.8)
May 2019     Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                  05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                     regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                  05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                     communications with lenders' counsel relating to same (1.1)
May 2019     Asset                  05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                     credit bid and sales procedures (.5)
May 2019     Asset                  05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                     procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                     engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019     Asset                  05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                  05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                  05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition
May 2019     Asset                  05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                     communications with lenders' counsel relating to same (.8)
May 2019     Asset                  05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                     broker (.1)
May 2019     Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business               05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                      reporting (.4)
May 2019     Business               05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                      replacement insurance (.1).
May 2019     Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                      replacement of insurance coverage (.1)
May 2019     Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                      insurance policies and renewals (.2).
May 2019     Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                      payment (.1).
May 2019     Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                      insurance (.3)
May 2019     Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                      same (.3)
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019     Business               05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations
May 2019     Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
             Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours         Fees
May 2019     Business               05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                 0.2 0.0019417          $0.76
             Operations                                      property insurance renewal (.2)
May 2019     Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                            0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)             0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                  0.1 0.0009709          $0.38
             Operations                                      payment (.1)
May 2019     Business               05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding           0.2 0.0019417          $0.76
             Operations                                      property insurance payment (.2)
May 2019     Business               05/30/19 KBD         390 work with and study correspondence from N. Mirjanich regarding streets and sanitation            0.2         0.05      $19.50
             Operations                                      violation notice pattern (4520 Drexel, 7024 Paxton, 4533 Calumet, and 7749 Yates) (.2)

May 2019     Business               05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                 0.2 0.0019417          $0.76
             Operations
May 2019     Business               05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                 0.2 0.0018692          $0.73
             Operations
May 2019     Business               05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                         0.1 0.0015625          $0.61
             Operations
May 2019     Business               05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                  0.3 0.0046875          $1.83
             Operations                                      expenses (.3)
May 2019     Business               05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                 0.2 0.0022989          $0.90
             Operations
May 2019     Claims                 05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                              0.6 0.0068966          $2.69
             Administration
             & Objections

May 2019     Claims                 05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting            0.2 0.0022727          $0.89
             Administration                                  reports (.2)
             & Objections

May 2019     Claims                 05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with          0.1 0.0011494          $0.45
             Administration                                  accounting firm representatives (.1)
             & Objections

May 2019     Claims                 05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                    0.2 0.0022989          $0.90
             Administration
             & Objections

May 2019     Claims                 05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for           0.2 0.0022989          $0.90
             Administration                                  delivery of reports (.2)
             & Objections




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019     Claims                 05/15/19 KBD             390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                              0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 KBD             390 telephone conference with accounting firm representative regarding same (.1).                          0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                     0.5 0.0056818         $2.22
             Administration                                      financial reports (.5)
             & Objections

May 2019     Asset                  05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046       $3.14
             Disposition                                         accounting issues with property manager (.7).
May 2019     Asset                  05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539         $6.57
             Disposition                                         marketing and sales process (1.5).
May 2019     Asset                  05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931         $5.38
             Disposition                                         processes for next tranche of properties (1.2).
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                  05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                  05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
             Disposition                                         of properties.
May 2019     Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                  05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
             Disposition                                         and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                  05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
             Disposition
May 2019     Asset                  05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
             Disposition
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition


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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
             Disposition                                         receivership broker (1.0)
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
             Disposition
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                  05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
             Disposition
May 2019     Asset                  05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
             Disposition
May 2019     Asset                  05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                     2.6    0.038806       $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                    0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                  0.3 0.0044776         $0.63
             Disposition                                         (.3)
May 2019     Asset                  05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                      1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                  05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                            1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                  05/30/19 MR              390 and conferences regarding same (.2).                                                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                          0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same                0.2 0.0023256         $0.60
             Disposition                                         (.2).
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax           2.3 0.0214953         $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                       0.8 0.0074766         $1.05
             Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2019     Business               05/03/19 ED          390 review information regarding March expenditures by Receivership (.3)                               0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/03/19 ED          390 confer with K. Duff (.1)                                                                           0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED          390 call with insurance broker regarding application information (.1)                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED          390 Review materials regarding renewals of liability and umbrella coverages (.4)                       0.4 0.0038835         $1.51
             Operations
May 2019     Business               05/03/19 ED          390 email correspondence with property manager (.5)                                                    0.5 0.0076923         $3.00
             Operations
May 2019     Business               05/03/19 ED          390 confer with K. Duff regarding same (.1)                                                            0.1 0.0015385         $0.60
             Operations
May 2019     Business               05/03/19 ED          390 email correspondence to accountant regarding same (.1).                                            0.1 0.0011364         $0.44
             Operations
May 2019     Business               05/03/19 ED          390 and K. Pritchard (.1) regarding signing application documents and sending to broker                0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 KMP         140 forward executed policy documents to broker (.1).                                                  0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/03/19 KMP         140 Compile documents for general liability and umbrella insurance policy renewals and                 0.2 0.0019417         $0.27
             Operations                                      conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business               05/03/19 NM          260 correspond with E. Duff regarding code violation and property tax documents needed for             0.2 0.0022989         $0.60
             Operations                                      reporting and send same (.2).
May 2019     Business               05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                        0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella              0.4 0.0038835         $0.54
             Operations                                      insurance renewal, and communications with K. Duff and bank representative regarding
                                                             same (.4)
May 2019     Business               05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                 0.1 0.0009709         $0.14
             Operations                                      premium finance agreement.
May 2019     Business               05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                   2.0 0.0227273         $8.86
             Operations
May 2019     Business               05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                0.2 0.0022727         $0.89
             Operations                                      expenditures by property (.2)
May 2019     Business               05/08/19 ED          390 email correspondence with property manager to request additional documentation for same            0.3 0.0034091         $1.33
             Operations                                      (.3)
May 2019     Business               05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)           0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/08/19 ED          390 and review of related documentation (.6)                                                           0.6 0.0068182         $2.66
             Operations
May 2019     Business               05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for          0.9 0.0102273         $3.99
             Operations                                      follow up questions (.9)


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019     Business               05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909         $3.55
             Operations                                      reports and comments and questions regarding contents (.8)
May 2019     Business               05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182        $17.28
             Operations
May 2019     Business               05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608         $0.51
             Operations                                      manager (.2)
May 2019     Business               05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818         $2.22
             Operations                                      (.5)
May 2019     Business               05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455         $1.77
             Operations
May 2019     Business               05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091        $11.08
             Operations
May 2019     Business               05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455         $1.77
             Operations
May 2019     Business               05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455         $1.77
             Operations
May 2019     Business               05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214         $4.92
             Operations
May 2019     Business               05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545         $3.10
             Operations
May 2019     Business               05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087         $3.79
             Operations
May 2019     Business               05/16/19 ED          390 review documents regarding application of receivership payments to property manager by                 2.2       0.025       $9.75
             Operations                                      property (2.2)
May 2019     Business               05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                               0.6 0.0068182         $2.66
             Operations
May 2019     Business               05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports             0.1 0.0011364         $0.44
             Operations                                      (.1)
May 2019     Business               05/16/19 ED          390 review revised accounting reports from accountant (.5).                                                0.5 0.0056818         $2.22
             Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/17/19 ED          390 review and revise draft reports received (4.4)                                                         4.4         0.05      $19.50
             Operations
May 2019     Business               05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)              0.8 0.0090909          $3.55
             Operations
May 2019     Business               05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of             0.3 0.0034091          $1.33
             Operations                                      accounting reports (.3)
May 2019     Business               05/17/19 ED          390 calls with accountant regarding reports (.3)                                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                             0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                  0.5 0.0056818          $2.22
             Operations                                      accountants (.5)
May 2019     Business               05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                   0.9 0.0102273          $3.99
             Operations                                      accounting reports (.9)
May 2019     Business               05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       4.6 0.0522727         $20.39
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273         $28.36
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273         $47.86
             Operations                                      accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business               05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364         $29.69
             Operations                                      accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019     Business               05/20/19 NM          260 correspond with property managers regarding streets and sanitation fines today following               0.4          0.1      $26.00
             Operations                                      court and revise spreadsheet to reflect same (.4)
May 2019     Business               05/20/19 NM          260 appear for streets and sanitation court on ten properties (1.7)                                        1.7       0.425      $110.50
             Operations
May 2019     Business               05/20/19 NM          260 Revise City litigation spreadsheet and follow up with property managers regarding same in              1.2         0.15      $39.00
             Operations                                      advance of administrative and housing court next week on nearly a dozen properties (1.2)

May 2019     Business               05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545         $11.82
             Operations
May 2019     Business               05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364          $0.30
             Operations
May 2019     Business               05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636         $33.68
             Operations                                      with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business               05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909         $18.17
             Operations
May 2019     Business               05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818          $0.80
             Operations                                      conferences with E. Duff regarding same.


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                             Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019     Business               05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
             Operations
May 2019     Business               05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
             Operations
May 2019     Business               05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
             Operations
May 2019     Business               05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
             Operations                                      reports (3.4).
May 2019     Business               05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
             Operations                                      and conferences with E. Duff regarding same.
May 2019     Business               05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations
May 2019     Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
             Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
             Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019     Business               05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977         $1.79
             Operations
May 2019     Business               05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April              0.5 0.0057471         $2.24
             Operations                                      accounting reports (.5)
May 2019     Business               05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of           0.9 0.0103448         $4.03
             Operations                                      accounting reports (.9)
May 2019     Business               05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                          0.5 0.0057471         $2.24
             Operations
May 2019     Business               05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/30/19 ED          390 and property manager (.8)                                                                              0.8 0.0091954         $3.59
             Operations
May 2019     Business               05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).              1.0 0.0114943         $4.48
             Operations
May 2019     Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709         $0.14
             Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)


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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Business               05/30/19 NM          260 study documents received by former EB attorneys relating to new code violations and revise            1.3      0.1625      $42.25
             Operations                                      spreadsheet to reflect same and correspond with City attorney and property manager
                                                             regarding same (1.3).
May 2019     Business               05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                 0.2 0.0022989         $0.90
             Operations                                      required for April accounting reports (.2)
May 2019     Claims                 05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)             0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                 05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                  5.6 0.0643678        $25.10
             Administration                                  accounting reports (5.6)
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                              0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                  accounting reports (.4).
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
             Administration                                  documents (5.0)
             & Objections

May 2019     Claims                 05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections

May 2019     Claims                 05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections

May 2019     Claims                 05/23/19 NM          260 prepare email to send to all investors and creditors with claims link and send same (1.3)             1.3 0.0160494         $4.17
             Administration
             & Objections

May 2019     Claims                 05/24/19 NM          260 Study responses to correspondence from investors regarding claims portal and process and              1.4    0.017284       $4.49
             Administration                                  draft responses to frequently asked questions to same (1.4)
             & Objections

June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
             Disposition                                     exchange various correspondence relating to same (.4)
June 2019    Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
             Disposition                                     timing (.2)
June 2019    Asset                  06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
             Disposition                                     with lenders counsel (.1)
June 2019    Asset                  06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
             Disposition                                     regarding same (.6)
June 2019    Asset                  06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
             Disposition
June 2019    Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)             0.2 0.0028571         $1.11
             Disposition
June 2019    Asset                  06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977         $1.79
             Disposition
June 2019    Asset                  06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966         $2.69
             Disposition                                     and study revised credit bid procedures (.6)
June 2019    Asset                  06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046       $3.14
             Disposition                                     M. Rachlis.
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802         $0.77
             Disposition




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
June 2019    Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and            0.2 0.0039216         $1.53
             Disposition                                     potential for new grouping to list for sale (.2)
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                               0.5       0.005       $1.95
             Disposition
June 2019    Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                  0.3       0.003       $1.17
             Operations
June 2019    Business               06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties            0.5 0.0057471         $2.24
             Operations                                      (.5)
June 2019    Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                         0.1 0.0009346         $0.36
             Operations
June 2019    Business               06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure          0.1 0.0011494         $0.45
             Operations                                      relating to credit bid issue (.1)
June 2019    Business               06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                 0.1 0.0009709         $0.38
             Operations
June 2019    Business               06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy              0.4 0.0038835         $1.51
             Operations                                      renewal (.4)
June 2019    Business               06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                0.2 0.0019608         $0.76
             Operations                                      transfer of funds (.2)
June 2019    Business               06/12/19 KBD         390 study property manager financial reporting (.4)                                                    0.4     0.00625       $2.44
             Operations
June 2019    Business               06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                   0.2 0.0019608         $0.76
             Operations
June 2019    Business               06/14/19 KBD         390 study property manager financial reporting (.3).                                                   0.3 0.0046875         $1.83
             Operations
June 2019    Business               06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                   0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding               0.4 0.0045977         $1.79
             Operations                                      same (.4).
June 2019    Business               06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence              0.4 0.0037383         $1.46
             Operations                                      with J. Rak regarding same (.4)
June 2019    Business               06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                0.2 0.0019608         $0.76
             Operations                                      correspondence (.2)
June 2019    Business               06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue            0.3 0.0033333         $1.30
             Operations                                      (.3).
June 2019    Claims                 06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                 0.3 0.0034483         $1.34
             Administration                                  lender's counsel regarding credit bid procedures (.3)
             & Objections

June 2019    Claims                 06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study          0.6 0.0068966         $2.69
             Administration                                  various documents and correspondence regarding same (.6)
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/10/19 KBD             390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                      lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                        date (.3)

June 2019    Claims                 06/11/19 KBD             390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                      revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                 06/14/19 KBD             390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                 06/17/19 KBD             390 study lenders motion to amend court order and exchange correspondence regarding same                 0.6 0.0098361         $3.84
             Administration                                      (.6).
             & Objections

June 2019    Claims                 06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                 06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                 0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                 06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit              0.2 0.0022989         $0.90
             Administration                                      bid procedures (.2)
             & Objections

June 2019    Claims                 06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                     1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                           3.7 0.0345794         $4.84
             Disposition
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                               1.2    0.011215       $1.57
             Disposition
June 2019    Asset                  06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                          0.7 0.0078652         $3.07
             Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                  06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                  06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                         of proposed credit bidding procedures (2.1)
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                  06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                         procedures and provide comments to team regarding same (.2)
June 2019    Asset                  06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                  06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
             Disposition
June 2019    Asset                  06/26/19 JR              140 Work on sixth motion to approve sale with A. Porter (1.5)                                               1.5 0.0416667         $5.83
             Disposition
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                 2.5 0.0277778        $10.83
             Disposition
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667         $2.33
             Disposition                                         receivership properties (1.8).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2019    Asset                  06/28/19 JR              140 draft checklist for the fourth and fifth tranche (2.6).                                               2.6 0.0742857        $10.40
             Disposition
June 2019    Business               06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862         $7.17
             Operations                                          and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                 same (2.4)
June 2019    Business               06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
             Operations
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
             Operations
June 2019    Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
             Operations
June 2019    Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
             Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
             Operations                                          liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                 regarding same (.4)
June 2019    Business               06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
             Operations                                          property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business               06/10/19 ED              390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023      $21.07
             Operations                                          regarding allocation of funds (4.7)
June 2019    Business               06/10/19 ED              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/10/19 ED              390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/11/19 ED              390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
             Operations
June 2019    Business               06/11/19 NM              260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966         $1.79
             Operations                                          and payment of expenses from same and from Receiver's account (.6).
June 2019    Business               06/13/19 ED              390 email correspondence with property manager (.9) regarding same.                                       0.9 0.0103448         $4.03
             Operations
June 2019    Business               06/13/19 ED              390 review information from property manager regarding application of funds from Receivership             1.0 0.0114943         $4.48
             Operations                                          to property accounts (1.0)
June 2019    Business               06/13/19 ED              390 confer with M. Rachlis (.2)                                                                           0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/13/19 KMP             140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709         $0.14
             Operations                                          payment for same (.1).




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                  0.2 0.0022989         $0.90
             Operations                                      property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business               06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
             Operations                                      respond to letters received from lender (.3)
June 2019    Business               06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
             Operations
June 2019    Business               06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
             Operations
June 2019    Business               06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                      regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business               06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                      manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business               06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                      accounting reports (1.0)
June 2019    Business               06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business               06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                      premiums relating to sold properties (.1)
June 2019    Business               06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business               06/26/19 ED          390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                      accounts receivables (.2).
June 2019    Business               06/27/19 ED          390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Business               06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Claims                 06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                      reporting (.6)
             & Objections

June 2019    Claims                 06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                      Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                 06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                 06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                      and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                 06/10/19 ED              390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                      and questions relating to Receiver's accounting reports.
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
June 2019    Claims                 06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966          $2.69
             Administration
             & Objections

June 2019    Claims                 06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483          $1.34
             Administration                                  ended April 2019 (.3)
             & Objections

June 2019    Claims                 06/13/19 ED          390 email correspondence with lender's counsel regarding evidence of insurance (.1)                        0.1          0.1      $39.00
             Administration
             & Objections

June 2019    Claims                 06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989          $0.90
             Administration                                  accounting reports to lenders (.2).
             & Objections

June 2019    Claims                 06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416          $2.63
             Administration
             & Objections

June 2019    Claims                 06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839         $12.55
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472          $0.58
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416          $1.75
             Administration                                  email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                 06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652          $2.04
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708          $0.88
             Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                    0.8 0.0089888         $2.34
             Administration                                  questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                 06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                          0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 prepare for (1.2)                                                                                    1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                        0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 Attention to claims related issues (.7)                                                              0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                 06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                         0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining          0.2       0.002       $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same              0.2       0.002       $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                             0.3 0.0034483         $1.34
             Disposition
July 2019    Asset                  07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs             0.1 0.0011494         $0.45
             Disposition                                     (.1).
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                  0.2       0.002       $0.78
             Disposition
July 2019    Asset                  07/30/19 KBD         390 study correspondence from A. Porter relating to various issues regarding sixth tranche of            0.2 0.0055556         $2.17
             Disposition                                     properties for sale (.2).
July 2019    Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                         0.2       0.002       $0.78
             Disposition
July 2019    Business               07/01/19 KBD         390 study correspondence from N. Mirjanich regarding various City judgments (.2)                         0.2 0.0285714        $11.14
             Operations
July 2019    Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                          0.3 0.0029412         $1.15
             Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Business               07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                   0.2 0.0032787         $1.28
             Operations
July 2019    Business               07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                 0.2       0.002       $0.78
             Operations                                      property manager (.2).
July 2019    Business               07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding               0.5 0.0081967         $3.20
             Operations                                      previous discussions before the Court about priority and abandonment.

July 2019    Business               07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
             Operations
July 2019    Business               07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
             Operations                                      communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business               07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                      E. Duff (.2)
July 2019    Business               07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                      and priority of property sales (.1)
July 2019    Business               07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business               07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
             Operations                                      regarding same (2.5)
July 2019    Business               07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business               07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence            0.5    0.009434       $3.68
             Operations                                      with M. Rachlis regarding same (.5)
July 2019    Business               07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                        1.1 0.0207547         $8.09
             Operations
July 2019    Business               07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent                 0.2 0.0037736         $1.47
             Operations                                      restoration (.2)
July 2019    Business               07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                      payment for insurance (.2)




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Business               07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                0.3       0.003       $1.17
             Operations
July 2019    Claims                 07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)             1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                0.3 0.0034483         $1.34
             Administration                                  regarding same (.3).
             & Objections

July 2019    Claims                 07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                         1.0 0.0163934         $6.39
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708         $1.31
             Administration                                  discussions before the Court (.3)
             & Objections

July 2019    Claims                 07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                 0.6 0.0067416         $2.63
             Administration                                  information, and case law (.6)
             & Objections

July 2019    Claims                 07/22/19 KBD         390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                 0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/23/19 KBD         390 draft correspondence to and office conference with E. Duff regarding same (.2).                     0.2 0.0037736         $1.47
             Administration
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2019    Claims                 07/23/19 KBD             390 revise motion for use of sales proceeds for rent restoration (.8)                                     0.8 0.0150943          $5.89
             Administration
             & Objections

July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                   0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19          1.6 0.0179775          $7.01
             Disposition                                         order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019    Asset                  07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                     1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)          1.4 0.0138614          $1.94
             Disposition
July 2019    Asset                  07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                     1.1 0.0123596          $4.82
             Disposition
July 2019    Asset                  07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                     0.5    0.005618        $2.19
             Disposition
July 2019    Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on              0.1 0.0015873          $0.22
             Disposition                                         all properties for property manager (.1)
July 2019    Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                        1.5 0.0238095          $3.33
             Disposition
July 2019    Asset                  07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                           1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                  07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts             1.2 0.0136364          $5.32
             Disposition                                         regarding same.
July 2019    Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet               0.5 0.0079365          $1.11
             Disposition                                         and resend (.5)
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                     1.9       0.019        $2.66
             Disposition
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                              1.8       0.018        $2.52
             Disposition
July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title               0.2 0.0020408          $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers           0.1 0.0009804          $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/18/19 MR              390 Conferences and follow-up with lender's counsel.                                                      0.2         0.05      $19.50
             Disposition
July 2019    Asset                  07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to               0.2 0.0022989          $0.90
             Disposition                                         institutional lenders (.2).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
July 2019    Asset                  07/25/19 AEP             390 research history of acquisition of receivership property (4337 S Calumet), including                    0.3          0.3     $117.00
             Disposition                                         EquityBuild affiliate and institutional debt associated therewith, and prepare summary for K.
                                                                 Duff in connection with settlement overture (.3).
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002        $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258          $0.45
             Disposition
July 2019    Asset                  07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129          $0.23
             Disposition
July 2019    Asset                  07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645          $1.13
             Disposition                                         notice of motion, and electronically file same (.5)
July 2019    Asset                  07/28/19 AEP             390 distribute draft motion to team and prepare e-mail regarding remaining unresolved issues                0.3 0.0083333          $3.25
             Disposition                                         (.3).
July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235          $3.44
             Disposition
July 2019    Asset                  07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties            1.3 0.0146067          $5.70
             Disposition                                         potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)

July 2019    Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255          $5.35
             Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019    Asset                  07/30/19 JR              140 Exchange correspondence with surveying company regarding types of building pertaining to                0.1 0.0027778          $0.39
             Disposition                                         survey request (.1)
July 2019    Business               07/01/19 ED              390 Email correspondence with insurance broker regarding updated list of insured properties (.1)            0.1 0.0142857          $5.57
             Operations
July 2019    Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001        $0.39
             Operations                                          payment of real estate taxes (.1)
July 2019    Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001        $0.39
             Operations
July 2019    Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial                 0.2 0.0019608          $0.76
             Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                 costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                 0.2 0.0019608          $0.76
             Operations                                          coming due (.2)
July 2019    Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                             0.1 0.0009804          $0.38
             Operations
July 2019    Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                        1.1 0.0107843          $4.21
             Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
July 2019    Business               07/14/19 ED          390 and funds available for payment of property tax installments (.6)                                        0.6 0.0058824          $2.29
             Operations
July 2019    Business               07/15/19 ED          390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007        $2.73
             Operations                                      Rachlis and J. Rak regarding same (.7).
July 2019    Business               07/15/19 ED          390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002        $0.78
             Operations
July 2019    Business               07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824          $2.29
             Operations
July 2019    Business               07/15/19 NM          260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002        $0.52
             Operations                                      property status (.2).
July 2019    Business               07/16/19 NM          260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808          $2.10
             Operations                                      water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                             the same.
July 2019    Business               07/17/19 ED          390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824          $2.29
             Operations
July 2019    Business               07/18/19 AW          140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236          $0.16
             Operations
July 2019    Business               07/18/19 MR          390 Work on issues on rent restoration (.6)                                                                  0.6 0.0113208          $4.42
             Operations
July 2019    Business               07/19/19 AW          140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804          $0.14
             Operations
July 2019    Business               07/23/19 ED          390 review of June financial reporting from property managers (.4)                                           0.4       0.004        $1.56
             Operations
July 2019    Business               07/25/19 ED          390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002        $0.78
             Operations
July 2019    Business               07/25/19 KMP         140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216          $0.55
             Operations                                      and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/25/19 MR          390 Attention to rent restoration motion (.4)                                                                0.4 0.0075472          $2.94
             Operations
July 2019    Business               07/25/19 NM          260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                  0.2 0.0037736          $0.98
             Operations                                      serving the same (.2)
July 2019    Business               07/25/19 NM          260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for                1.0 0.0188679          $4.91
             Operations                                      rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019    Business               07/29/19 MR          390 Prepare for upcoming hearing.                                                                            0.4 0.0075472          $2.94
             Operations
July 2019    Business               07/30/19 NM          260 Prepare for upcoming administrative court hearings on several matters.                                   0.3          0.1      $26.00
             Operations
July 2019    Business               07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                    0.3 0.0029412          $1.15
             Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                 Task Hours
  Month                                       Keeper                                                                                                                 Hours        Fees
July 2019    Claims                 07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership               1.4    0.016092       $6.28
             Administration                                  expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                 07/01/19 ED          390 email to accountant regarding same (.4).                                                        0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                               0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting          0.2 0.0022989         $0.90
             Administration                                  reports to lenders.
             & Objections

July 2019    Claims                 07/10/19 ED          390 email correspondence with accountants (.6)                                                      0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                       0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                      0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                         0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                 1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and email correspondence confirming next steps (.3)                                             0.3 0.0034483         $1.34
             Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments                   0.2 0.0022989         $0.90
             Administration                                  attributable to properties (.2)
             & Objections

July 2019    Claims                 07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                        1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/14/19 ED          390 email accountant regarding same (.2)                                                                0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                  to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                 07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                  information and instructions for same (.3)
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2019    Claims                 07/18/19 ED              390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports            0.8 0.0091954         $3.59
             Administration                                      (.8)
             & Objections

July 2019    Claims                 07/18/19 ED              390 email correspondence to S. Zjalic regarding organizing financial information for use in              0.5 0.0057471         $2.24
             Administration                                      preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                 07/18/19 ED              390 confer with K. Duff regarding funds used for benefit of properties (.2).                             0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/19/19 ED              390 Email correspondence with A. Watychowicz regarding preparation of May accounting                     0.1 0.0011494         $0.45
             Administration                                      reports to lenders (.1)
             & Objections

July 2019    Claims                 07/22/19 ED              390 and confer with K. Duff regarding same (1.1)                                                         1.1 0.0126437         $4.93
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of              0.5 0.0057471         $2.24
             Administration                                      real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                 07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                       0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                 0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial          1.5 0.0172414         $1.90
             Administration                                      reports from institutional landers and property managers (1.5)
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019    Claims                 07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                 07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                      accounting reports (.9)
             & Objections

July 2019    Claims                 07/26/19 ED              390 email correspondence with accountant regarding information for inclusion in June                         0.4 0.0045977         $1.79
             Administration                                      accounting reports to lenders (.4)
             & Objections

August 2019 Asset                   08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD             390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                   08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest               0.1       0.001       $0.39
            Disposition                                          in properties (.1)
August 2019 Asset                   08/12/19 KBD             390 telephone conference with real estate broker and A. Porter regarding lender                              0.1 0.0011494         $0.45
            Disposition                                          communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                   08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                       0.3       0.003       $1.17
            Disposition                                          marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD             390 exchange correspondence with and draft correspondence to lenders counsel regarding                       1.5 0.0172414         $6.72
            Disposition                                          credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                                 (1.5).
August 2019 Asset                   08/16/19 KBD             390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                     0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD             390 exchange various correspondence regarding credit bidding (.5)                                            0.5 0.0057471         $2.24
            Disposition


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing          0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Asset                   08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                0.3       0.003       $1.17
            Disposition
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/08/19 KBD         390 Confer with N. Mirjanich regarding results of housing court hearing (.1)                           0.1 0.0111111         $4.33
            Operations
August 2019 Business                08/12/19 KBD         390 study property manager financial reporting (.3).                                                   0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                      0.1       0.001       $0.39
            Operations
August 2019 Business                08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).            0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                    0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.           0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                  0.5       0.005       $1.95
            Operations
August 2019 Claims                  08/09/19 KBD         390 study draft response to lender objections (.4).                                                    0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                 0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                   procedures.
            & Objections

August 2019 Claims                  08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                        0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                             0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and           1.5 0.0172414         $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions            4.3 0.0494253        $19.28
            Administration                                   (4.3)
            & Objections

August 2019 Claims                  08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                      2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing            0.2 0.0022989         $0.90
            Administration                                   issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                         0.1 0.0011494         $0.45
            Administration
            & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/28/19 KBD             390 Study lenders' reply relating to objections.                                                           0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                         0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit                0.2 0.0022989         $0.90
            Administration                                       bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                         0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                   08/03/19 AEP             390 review and inventory survey orders received for all Tranche 06 properties and update                   0.3 0.0083333         $3.25
            Disposition                                          portfolio spreadsheet with pricing information (.3)
August 2019 Asset                   08/03/19 AEP             390 read e-mails from title underwriter and surveyor requesting additional information regarding           0.4 0.0111111         $4.33
            Disposition                                          timetable for receipt of title commitments and surveys and prepare responses to both (.4).

August 2019 Asset                   08/05/19 AEP             390 miscellaneous correspondence with title company regarding potential updating of title                  0.1 0.0027778         $1.08
            Disposition                                          commitments on properties in next tranches of marketing and sales (.1).
August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102       $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                           0.2       0.002       $0.28
            Disposition
August 2019 Asset                   08/13/19 AW              140 Attention to marked up draft of sixth motion for approval of sale process, scan, and email to          0.1 0.0027778         $0.39
            Disposition                                          A. Porter.
August 2019 Asset                   08/20/19 JR              140 exchange correspondence with the surveyor pertaining to contact information for property               0.3 0.0073171         $1.02
            Disposition                                          manager and providing management companies for various properties (.3)

August 2019 Asset                   08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                   0.3 0.0056604         $1.47
            Disposition                                          rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                   08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                                   0.2 0.0037736         $1.47
            Disposition
August 2019 Asset                   08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff              1.0 0.0188679         $4.91
            Disposition                                          regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for               0.2       0.002       $0.28
            Operations                                           properties.




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                 1.3       0.013       $1.82
            Operations
August 2019 Business                08/08/19 NM              260 Appear for administrative court on over a dozen buildings and streets and sanitation matters          2.4 0.2666667        $69.33
            Operations                                           and move to lift default for another streets and sanitation matter (2.4)

August 2019 Business                08/08/19 NM              260 correspond with property managers regarding the same and revise spreadsheet to reflect                1.6 0.1777778        $46.22
            Operations                                           the same and other updates from documents received from former EB counsel (1.6)

August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                           0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).                0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to                  0.1 0.0014085         $0.20
            Operations                                           payment of real estate taxes.
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                 0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                               0.7       0.007       $2.73
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                         0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                     0.8       0.008       $3.12
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                                 1.2       0.012       $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).               0.1 0.0009804         $0.14
            Operations
August 2019 Claims                  08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                    0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                      0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                   0.3 0.0034483         $1.34
            Administration                                       documents (.3)
            & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                  08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                       accounting firm (.5).
            & Objections

August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                         0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                           0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 call with accountant regarding same (.1)                                                           0.1 0.0011494         $0.45
            Administration
            & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
August 2019 Claims                  08/08/19 ED          390 Review additional drafts of June accounting reports to lenders (.2)                               0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/13/19 NM          260 study respond to lender objections on credit bid procedures orders, revise the same, and          0.3    0.004918       $1.28
            Administration                                   correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                  08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)              0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED          390 and email correspondence with accountant regarding comments (.6)                                  0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/14/19 NM          260 study response to lender objections on credit bid procedures orders for filing (.2).              0.2 0.0032787         $0.85
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                         3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related           2.7 0.0310345        $12.10
            Administration                                   documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures           0.4 0.0045977         $1.79
            Administration                                   for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                  08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                          0.5 0.0057471         $2.24
            Administration
            & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2019 Claims                  08/16/19 MR              390 Attention to various issues on credit bids and emails regarding same (.6)                             0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/16/19 NM              260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                    0.5 0.0061728         $1.60
            Administration                                       property with EBF debt (.5)
            & Objections

August 2019 Claims                  08/16/19 NM              260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                       same (.3).
            & Objections

August 2019 Claims                  08/19/19 ED              390 continue review of drafts of June accounting reports to lenders (2.2)                                 2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED              390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).             1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED              390 email correspondence with accountant regarding comments and questions regarding                       0.6 0.0068966         $2.69
            Administration                                       content of reports (.6)
            & Objections

August 2019 Claims                  08/19/19 ED              390 and review revised reports (3.9)                                                                      3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage             7.3 0.0890244        $12.46
            Administration                                       of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections

August 2019 Claims                  08/19/19 MR              390 attention to order on credit bids and conferences regarding same (.3)                                 0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR              390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                 3.5 0.0402299        $15.69
            Administration                                       follow up regarding same (3.5)
            & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/21/19 AW              140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236         $0.16
            Administration                                       follow up (.1)
            & Objections

August 2019 Claims                  08/21/19 AW              140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                  08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all              7.8    0.095122      $13.32
            Administration                                       the properties.
            & Objections

August 2019 Claims                  08/21/19 NM              260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                       study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                  08/22/19 ED              390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED              390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED              390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                       accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                  08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the                   8.0    0.097561      $13.66
            Administration                                       recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                  08/23/19 SZ              110 Organized July, 2019 financial and delinquency reports for properties (7635 S. East, 7836 S.           1.5 0.1071429        $11.79
            Administration                                       Shore, 7625 E East, 7750 S. Muskegon, 7024 S Paxton, 4520 Drexel, 7110 S. Cornell, 4611
            & Objections                                         Drexel, 6217 S. Dorchester, 4533 S Calumet, SSDF5, 6250 S. Mozart, SSDF4, SSDF1, 7255 S.
                                                                 Euclid, 6751-57 S Merr., 7109-19 S. California, 7201 S. Constance) (1.5)

August 2019 Claims                  08/23/19 SZ              110 confer with E. Duff about the same (.4).                                                               0.4 0.0266667         $2.93
            Administration
            & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                      5.3     0.06625       $9.28
            Administration
            & Objections

August 2019 Claims                  08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.                6.1 0.0753086        $10.54
            Administration
            & Objections

August 2019 Claims                  08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                                   0.2 0.0024691         $0.64
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                               7.5 0.0925926        $12.96
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                         0.2 0.0024691         $0.35
            Administration
            & Objections

August 2019 Claims                  08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                              0.4 0.0049383         $1.28
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483         $1.34
            Administration                                       reports to lenders (.3)
            & Objections

August 2019 Claims                  08/28/19 ED              390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494         $0.45
            Administration                                       amounts
            & Objections

August 2019 Claims                  08/28/19 ED              390 email correspondence with accountant (.6)                                                              0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531         $2.77
            Administration
            & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM          260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                   hearing attached as exhibit to the same (.7).
            & Objections

September    Asset                  09/04/19 KBD         390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989         $0.90
2019         Disposition
September    Asset                  09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356        $11.21
2019         Disposition                                     bidding, and hearing before Judge Lee (2.5).
September    Asset                  09/06/19 KBD         390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483         $1.34
2019         Disposition                                     regarding sales contracts and communications relating to credit bidding (.3)

September Asset                     09/09/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984         $4.95
2019      Disposition                                        with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                             marketing and property tour information.
September    Asset                  09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745        $14.15
2019         Disposition
September    Business               09/11/19 KBD         390 study property manager financial reports (.3)                                                          0.3 0.0046875         $1.83
2019         Operations
September    Business               09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977         $1.79
2019         Operations                                      Duff regarding property financial reporting.
September    Business               09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804         $0.38
2019         Operations
September    Claims                 09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                          0.1 0.0011494         $0.45
2019         Administration
             & Objections

September Claims                    09/03/19 KBD         390 Telephone conference and exchange correspondence with broker regarding credit bids and                 0.3 0.0034483         $1.34
2019      Administration                                     communications with potential purchasers (.3)
          & Objections

September Claims                    09/10/19 KBD         390 telephone conference with real estate broker regarding credit bids and communications with             0.2 0.0022989         $0.90
2019      Administration                                     lenders representatives regarding same (.2).
          & Objections

September Claims                    09/13/19 KBD         390 study correspondence from A. Porter regarding language in purchase and sale agreement for              0.1 0.0011494         $0.45
2019      Administration                                     credit bid (.1).
          & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
September Claims                    09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding                 2.5 0.0245098         $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                             0.3 0.0029412         $1.15
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                           0.3       0.003       $0.42
2019         Disposition
September    Business               09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                          0.2 0.0022989         $0.90
2019         Operations
September    Business               09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                           0.3 0.0034483         $1.34
2019         Operations
September    Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                  0.4 0.0039216         $0.55
2019         Operations                                          finance company for payment on insurance premium finance agreement (.4)

September    Business               09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                      0.2 0.0022989         $0.32
2019         Operations
September    Business               09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                             0.2 0.0022989         $0.32
2019         Operations
September    Business               09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July                3.3 0.0383721         $5.37
2019         Operations                                          2019 (3.3)
September    Business               09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989         $0.90
2019         Operations
September    Business               09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471         $2.24
2019         Operations
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505         $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431         $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216         $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September    Business               09/25/19 ED              390 review of financial reporting records (.7)                                                               0.7    0.008046       $3.14
2019         Operations
September    Business               09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977         $1.79
2019         Operations
September    Claims                 09/01/19 MR              390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483         $1.34
2019         Administration                                      lender.
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/03/19 NM          260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                     0.2 0.0024691         $0.64
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                   0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 Preliminary review of draft accounting reports to lenders (.2)                                        0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding            0.1 0.0011494         $0.45
2019      Administration                                     payment of outstanding real estate taxes (.1).
          & Objections

September Claims                    09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                            0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                         0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into               0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                          0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                         0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                  0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                    0.1 0.0018868         $0.74
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)          0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                           1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                             1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                    1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                       1.2 0.0137931         $5.38
2019      Administration
          & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                         1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                             0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                      0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                    0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                           1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/22/19 ED          390 Analysis of operating expenses.                                                                  1.5 0.0172414         $6.72
2019      Administration
          & Objections

October      Asset                  10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit          0.2 0.0022989         $0.90
2019         Disposition                                     bidding and planning for further sales.
October      Asset                  10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                 1.0 0.0114943         $4.48
2019         Disposition                                     regarding various property sales and credit bidding (1.0)
October      Asset                  10/17/19 KBD         390 Analysis of potential sale opportunity.                                                          0.2 0.0022472         $0.88
2019         Disposition
October      Asset                  10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to           0.3 0.0033708         $1.31
2019         Disposition                                     same.
October      Business               10/07/19 KBD         390 study property manager financial reporting (.3).                                                 0.3 0.0046875         $1.83
2019         Operations
October      Business               10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)             0.8 0.0078431         $3.06
2019         Operations
October      Business               10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                               0.1 0.0009804         $0.38
2019         Operations




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
October      Business               10/15/19 KBD             390 study financial reporting from property manager (.3).                                                  0.3 0.0046875         $1.83
2019         Operations
October      Claims                 10/02/19 KBD             390 study lenders bankruptcy motion (.3)                                                                   0.3       0.015       $5.85
2019         Administration
             & Objections

October      Claims                 10/10/19 KBD             390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to            0.3 0.0034483         $1.34
2019         Administration                                      sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Claims                 10/24/19 KBD             390 Study and respond to lenders motion for bankruptcy proceedings (3.1)                                   3.1       0.155      $60.45
2019         Administration
             & Objections

October      Claims                 10/25/19 KBD             390 Study and respond to lenders motion for bankruptcy proceedings, study various pleadings,               5.1       0.255      $99.45
2019         Administration                                      and research regarding same (5.1)
             & Objections

October      Claims                 10/26/19 KBD             390 Draft and revise response to lenders' bankruptcy motion and legal research regarding same.             5.1       0.255      $99.45
2019         Administration
             & Objections

October      Claims                 10/28/19 KBD             390 Work on response to lenders' bankruptcy motion and study correspondence regarding same                 0.9       0.045      $17.55
2019         Administration                                      (.9)
             & Objections

October      Claims                 10/29/19 KBD             390 Study and revise response to lenders' petition for bankruptcy, legal research regarding same,          6.7       0.335     $130.65
2019         Administration                                      and work on same with M. Rachlis.
             & Objections

October      Claims                 10/30/19 KBD             390 Appear before Judge Lee on lenders' petition for bankruptcy, off the record discussion with            3.5       0.175      $68.25
2019         Administration                                      the Court and various counsel, and prepare for same (3.5)
             & Objections

October      Asset                  10/04/19 AEP             390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding             0.3 0.0034483         $1.34
2019         Disposition                                         procedures (.3)
October      Asset                  10/04/19 MR              390 Attention to order on objections to sales (.4)                                                         0.4 0.0045977         $1.79
2019         Disposition
October      Asset                  10/11/19 AEP             390 begin preparation of next draft of receiver's motion to market all remaining commercial                2.1 0.0777778        $30.33
2019         Disposition                                         apartment buildings (2.1).
October      Asset                  10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                         0.3 0.0034884         $0.49
2019         Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October      Asset                  10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank              3.2 0.0372093          $5.21
2019         Disposition                                         statement and compare (3.2).
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                0.4 0.0039216          $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/28/19 AEP             390 read e-mail from title company regarding receivership property (4533 S Calumet) and e-mail           0.1          0.1      $39.00
2019         Disposition                                         regarding final execution of contract on receivership property (7546 S Saginaw) (.1)

October      Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future             0.4     0.00625        $2.44
2019         Disposition                                         closings (.4)
October      Asset                  10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                       1.2 0.0137931          $5.38
2019         Disposition
October      Business               10/02/19 NM              260 Study lenders motion for bankruptcy proceeding and correspond with K. Duff regarding the             0.2         0.01       $2.60
2019         Operations                                          same (.2)
October      Business               10/04/19 NM              260 Study cases cited in lenders' motion for bankruptcy for distinctions and arguments against           0.8         0.04      $10.40
2019         Operations                                          same.
October      Business               10/07/19 NM              260 exchange emails with M. Rachlis and K. Duff regarding hearing on bankruptcy motion (.2).             0.2         0.01       $2.60
2019         Operations
October      Business               10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with               0.4 0.0045977          $1.79
2019         Operations                                          accountant regarding same.
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412          $1.15
2019         Operations
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039          $3.82
2019         Operations
October      Business               10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August              0.6 0.0068182          $2.66
2019         Operations                                          property reports.
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522          $2.89
2019         Operations                                          can pay out of current net operating income (1.9)
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739          $0.30
2019         Operations
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303          $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.              0.5 0.0057471          $2.24
2019         Operations
October      Business               10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and           3.1 0.0360465          $5.05
2019         Operations                                          also compare funds sent to property manager from receivers' account.

October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006        $0.84
2019         Operations
October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002        $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/22/19 JR              140 Finalize financial reports for receivership.                                                         1.4 0.0162791          $2.28
2019         Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Business               10/25/19 AW          140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           0.9 0.0087379          $1.22
2019         Operations                                      same.
October      Business               10/25/19 ED          390 review and organize material to send to accountant for September reports regarding income            0.8 0.0091954          $3.59
2019         Operations                                      and expenditures (.8).
October      Business               10/25/19 ED          390 Review of September financial reporting from property managers (1.3)                                 1.3 0.0149425          $5.83
2019         Operations
October      Business               10/25/19 KMP         140 Prepare wire request for funds transfer for installment payment on premium financing                 0.3 0.0029412          $0.41
2019         Operations                                      agreement and conferences with K. Duff and bank representative relating to same.

October      Business               10/25/19 MR          390 Attention to issues regarding upcoming brief and research regarding same.                            1.6         0.08      $31.20
2019         Operations
October      Business               10/26/19 MR          390 Work and research on draft response brief regarding removal to bankruptcy.                           2.0          0.1      $39.00
2019         Operations
October      Business               10/27/19 MR          390 Further research and work on draft response brief.                                                   5.5       0.275      $107.25
2019         Operations
October      Business               10/28/19 MR          390 Work on response brief on bankruptcy issues.                                                         7.6         0.38     $148.20
2019         Operations
October      Business               10/29/19 AEP         390 study final draft of opposition to motion for conversion to bankruptcy proceeding and                0.7 0.0205882          $8.03
2019         Operations                                      provide comments to K. Duff and M. Rachlis (.7).
October      Business               10/29/19 MR          390 Further work on brief on bankruptcy (3.0)                                                            3.0         0.15      $58.50
2019         Operations
October      Business               10/29/19 MR          390 and discussions regarding same with various individuals including K. Duff, A. Porter and N.          1.3       0.065       $25.35
2019         Operations                                      Mirjanich (1.3).
October      Business               10/29/19 MR          390 prepare for upcoming hearing (1.5)                                                                   1.5       0.075       $29.25
2019         Operations
October      Business               10/30/19 MR          390 confer with A. Porter regarding same (.4)                                                            0.4         0.02       $7.80
2019         Operations
October      Business               10/30/19 MR          390 Further prepare for hearing before Judge Lee and further discussions regarding same (1.2)            1.2         0.06      $23.40
2019         Operations
October      Business               10/30/19 MR          390 follow up on orders regarding same (.2).                                                             0.2         0.01       $3.90
2019         Operations
October      Claims                 10/04/19 NM          260 analyze lenders' motion for bankruptcy (.8).                                                         0.8         0.04      $10.40
2019         Administration
             & Objections

October      Claims                 10/10/19 NM          260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid              0.4 0.0045977          $1.20
2019         Administration                                  issue (.4).
             & Objections

October      Claims                 10/17/19 ED          390 confer with J. Rak regarding same (.2).                                                              0.2 0.0023256          $0.91
2019         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
October      Claims                 10/17/19 ED          390 Preliminary review of August accounting reports to lenders (1.5)                                      1.5 0.0174419         $6.80
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 update transmittal messages to lenders' counsel (1.6)                                                 1.6 0.0183908         $7.17
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                            2.8 0.0325581        $12.70
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/25/19 NM          260 Work on response to lenders' bankruptcy motion.                                                       3.3       0.165      $42.90
2019         Administration
             & Objections

October      Claims                 10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256         $0.91
2019         Administration                                  reports (.2).
             & Objections

October      Claims                 10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019         Administration                                  September (1.2)
             & Objections

November     Asset                  11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019         Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November     Asset                  11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                         0.2 0.0021739         $0.85
2019         Disposition
November     Asset                  11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                            0.3 0.0032258         $1.26
2019         Disposition
November     Business               11/05/19 KBD             390 analysis of same (.2).                                                                               0.2 0.0019608         $0.76
2019         Operations
November     Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and              0.2 0.0019608         $0.76
2019         Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                 improvements for remaining properties in portfolio (.2)
November     Business               11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                 0.2 0.0032787         $1.28
2019         Operations
November     Business               11/12/19 KBD             390 study property manager reports (.6).                                                                 0.6 0.0098361         $3.84
2019         Operations
November     Business               11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                 0.2 0.0021053         $0.82
2019         Operations                                          insurance and expenses (.2)
November     Business               11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence             0.4 0.0042105         $1.64
2019         Operations                                          with E. Duff regarding same (.4)
November     Business               11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding           0.3 0.0031579         $1.23
2019         Operations                                          same (.3)
November     Business               11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,            0.2 0.0021053         $0.82
2019         Operations                                          and planning (.2)
November     Asset                  11/06/19 JR              140 continue to work and review the sixth motion to approve sale (3.7)                                   3.7 0.1027778        $14.39
2019         Disposition
November     Asset                  11/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                         0.6 0.0166667         $2.33
2019         Disposition
November     Asset                  11/08/19 JR              140 review and update to the sixth motion to approve the sales process (1.0)                             1.0 0.0277778         $3.89
2019         Disposition
November     Asset                  11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties           0.4 0.0043478         $1.70
2019         Disposition                                         (.4).
November     Asset                  11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                             0.9 0.0104651         $1.47
2019         Disposition
November     Asset                  11/23/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties           5.8 0.1611111        $62.83
2019         Disposition                                         and prepare sixth motion for approval of sales process (5.8)
November     Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership            2.8 0.0294737        $11.49
2019         Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)
November     Asset                  11/24/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties           1.5 0.0416667        $16.25
2019         Disposition                                         subject to loans extended by certain lenders and prepare first draft of anticipated motions
                                                                 for approval of sales process.
November     Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                    0.2 0.0021053         $0.29
2019         Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
November     Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684         $34.07
2019         Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November     Asset                  11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674          $2.77
2019         Disposition
November     Asset                  11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333          $0.47
2019         Disposition                                         information that is required for future sales of properties (.2).
November     Asset                  11/30/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by completing title                   5.5 0.1527778         $59.58
2019         Disposition                                         searches on all properties encumbered by mortgages in favor of certain secured lenders,
                                                                 assembling information pertaining to acquisitions and dispositions, updating portfolio
                                                                 spreadsheet, and enumerating relevant factual allegations as paragraphs in motion.

November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835          $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417          $0.50
2019         Operations
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835          $1.51
2019         Operations                                          reports (.4)
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019         Operations
November     Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681          $3.43
2019         Operations                                          been sold.
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757          $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 AEP             390 read and respond to correspondence with title company regarding inquiry into release issue               0.1          0.1      $39.00
2019         Operations                                          (4337 S Calumet) (.1).
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379          $3.41
2019         Operations
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126          $1.14
2019         Operations                                          information for review (.3)
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961          $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845          $3.81
2019         Operations                                          (2.8).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
November     Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)          0.6 0.0066667          $0.93
2019         Operations
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                 0.4 0.0038835          $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders              0.5 0.0048544          $1.89
2019         Administration                                      (.5).
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                          3.8 0.0368932         $14.39
2019         Administration
             & Objections

December     Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                0.1 0.0010526          $0.41
2019         Operations
December     Business               12/06/19 KBD             390 evaluate properties for potential repair, improvement, sale, and timing considerations and          0.3 0.0333333         $13.00
2019         Operations                                          study information from asset manager regarding same (.3)
December     Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance             0.1 0.0010526          $0.41
2019         Operations                                          premium payment (.1)
December     Business               12/06/19 KBD             390 draft correspondence to property manager regarding same (.2)                                        0.2 0.0222222          $8.67
2019         Operations
December     Business               12/09/19 KBD             390 study information and correspondence from property manager regarding potential repair               0.3         0.03      $11.70
2019         Operations                                          and improvements (.3).
December     Business               12/10/19 KBD             390 study property manager financial reporting (.5)                                                     0.5 0.0081967          $3.20
2019         Operations
December     Business               12/11/19 KBD             390 Evaluate potential property repair and improvements and correspond with property                    0.5 0.0384615         $15.00
2019         Operations                                          managers and asset manager regarding same (.5)
December     Business               12/12/19 KBD             390 Exchange correspondence with property manager regarding potential improvements (.1)                 0.1 0.0111111          $4.33
2019         Operations
December     Business               12/19/19 KBD             390 exchange correspondence with property manager and asset manager regarding property                  0.2 0.0222222          $8.67
2019         Operations                                          repairs (.2).
December     Claims                 12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                        0.1 0.0012346          $0.48
2019         Administration                                      correspondence to A. Watychowicz regarding same.
             & Objections

December     Asset                  12/01/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by finalizing title              4.2 0.1166667         $45.50
2019         Disposition                                         searches on all lender-specific properties, assembling information pertaining to all
                                                                 acquisitions, dispositions, refinancings, and mortgage releases, and grouping factual
                                                                 allegations.
December     Asset                  12/03/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to          0.2 0.0055556          $2.17
2019         Disposition                                         approve sales (.2)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
December     Asset                  12/04/19 JR              140 telephone conference with A. Porter relating to the 6th motion to approve sale (.3)                       0.3 0.0083333         $1.17
2019         Disposition
December     Asset                  12/04/19 JR              140 assist in drafting sixth motion to approve sale process (5.3).                                            5.3 0.1472222        $20.61
2019         Disposition
December     Asset                  12/05/19 AEP             390 make major structural changes to sixth motion to approve sales (.9).                                      0.9       0.025       $9.75
2019         Disposition
December     Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                       0.2 0.0021053         $0.29
2019         Disposition
December     Asset                  12/05/19 JR              140 review and update sixth motion to approve sale (4.7)                                                      4.7 0.1305556        $18.28
2019         Disposition
December     Asset                  12/06/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to                0.2 0.0055556         $2.17
2019         Disposition                                         approve and status of due diligence and financing contingency dates for properties currently
                                                                 under contract (.2)
December     Asset                  12/06/19 AEP             390 begin researching title histories of all properties and compiling new exhibits for inclusion in           0.7 0.0194444         $7.58
2019         Disposition                                         sixth motion to approve sales (.7).
December     Asset                  12/06/19 AEP             390 Teleconference with J. Rak regarding exhibits to sixth motion to approve sales and edits and              0.6 0.0166667         $6.50
2019         Disposition                                         revisions thereto (.6)
December     Asset                  12/06/19 JR              140 Further review of the sixth motion to approve sale (3.7)                                                  3.7 0.1027778        $14.39
2019         Disposition
December     Asset                  12/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                              0.6 0.0166667         $2.33
2019         Disposition
December     Asset                  12/07/19 AEP             390 Continue researching title histories of all properties, including conveyances to and from third-          3.4 0.0944444        $36.83
2019         Disposition                                         party investors, review title commitments associated therewith, and revise all paragraphs in
                                                                 existing draft accordingly.
December     Asset                  12/08/19 AEP             390 Perform title searches on properties within sixth motion to approve sales, review title                   3.2 0.0888889        $34.67
2019         Disposition                                         commitments, edit and revise motion pertaining to property acquisition and encumbrance
                                                                 dates and recording of releases.
December     Asset                  12/08/19 JR              140 Review and update to the sixth motion to approve the sales process (1.0)                                  1.0 0.0277778         $3.89
2019         Disposition
December     Asset                  12/09/19 JR              140 review title commitments and identify assignment of partial interest in mortgage for various              3.8 0.1055556        $14.78
2019         Disposition                                         properties included in the sixth motion to approve sales process and update the motion with
                                                                 corresponding information (3.8).
December     Asset                  12/12/19 AEP             390 teleconference with receivership brokers regarding status of currently pending sales and                  0.2 0.0055556         $2.17
2019         Disposition                                         potential marketing commencement periods for properties to be included in sixth motion to
                                                                 approve (.2)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                        0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements                0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of                   0.2 0.0021053         $0.82
2019         Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
December     Asset                  12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395        $10.20
2019         Disposition                                         organization of closing documents and the start of preparation for closings (5.9)
December     Asset                  12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296         $4.15
2019         Disposition                                         and information (2.4).
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105         $0.59
2019         Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526         $0.41
2019         Operations
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                          reports (.2)
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 MR              390 Attention to Chang subpoena (.1)                                                                     0.1 0.0012346         $0.48
2019         Administration
             & Objections

December     Claims                 12/02/19 MR              390 attention to various revenue reconciliation reports (.1).                                            0.1 0.0023256         $0.91
2019         Administration
             & Objections

December     Claims                 12/05/19 MR              390 Attention to and follow up on lender's inquiry and edit response.                                    0.3 0.0037037         $1.44
2019         Administration
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                      2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to               0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and             6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                             0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).           0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/09/20 KBD             390 Exchange correspondence with A. Porter regarding motions to approve sale of remaining                 0.2 0.0055556          $2.17
2020         Disposition                                         properties (.2)
January      Asset                  01/12/20 KBD             390 Study motion to approve marketing and sales (2.2)                                                     2.2 0.0611111         $23.83
2020         Disposition
January      Asset                  01/14/20 KBD             390 Work on motion for approval of process for sale of properties with A Porter and M. Rachlis            3.1 0.0861111         $33.58
2020         Disposition                                         and analysis of various related issues (3.1)
January      Asset                  01/21/20 KBD             390 Study and revise motion for approval to sell properties and work on same with A. Porter (.6)          0.6 0.0166667          $6.50
2020         Disposition
January      Asset                  01/22/20 KBD             390 study revised consolidated motion for listing and sale of properties (.7).                            0.7 0.0194444          $7.58
2020         Disposition
January      Asset                  01/23/20 KBD             390 Study and revise combined motion for approval to list and sell properties and confer with A.          1.8         0.05      $19.50
2020         Disposition                                         Porter and M. Rachlis relating to same (1.8)
January      Asset                  01/24/20 KBD             390 Study motion for listing and sale of properties.                                                      0.5 0.0138889          $5.42
2020         Disposition
January      Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and            0.2 0.0021978          $0.86
2020         Operations                                          expense payments (.2)
January      Business               01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                 0.7    0.012069        $4.71
2020         Operations
January      Business               01/24/20 KBD             390 Study repair estimate from property manager regarding properties (4533 Calumet and 7840               0.2          0.1      $39.00
2020         Operations                                          Yates) and exchange with asset manager relating to same (.2)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process              0.3 0.0033708         $1.31
2020         Administration                                      and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                 01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                              0.9 0.0101124         $3.94
2020         Administration
             & Objections

January      Asset                  01/06/20 AEP             390 correspondence with J. Rak regarding remaining assistance required in connection with                  0.1 0.0022222         $0.87
2020         Disposition                                         finalization of three nearly-completed motions (.1).
January      Asset                  01/08/20 JR              140 assist A. Porter in review of title commitments and online searches for those whose interests          5.6 0.1244444        $17.42
2020         Disposition                                         are in various properties and review and further prepare the 5th motion to confirm sale and
                                                                 6th motion to approve sale (5.6)
January      Asset                  01/08/20 JR              140 search and add exhibits relating to same to prepare for filing (1.1).                                  1.1 0.0244444         $3.42
2020         Disposition
January      Asset                  01/09/20 AEP             390 continue working with J. Rak on preparation of fifth motion to confirm sales and sixth motion          5.5 0.1222222        $47.67
2020         Disposition                                         to approve sales process, including review and analysis of all title commitments and
                                                                 recorded documents (5.5)
January      Asset                  01/09/20 AEP             390 prepare e-mail to receivership team regarding near-finality of sixth motion to approve sales           0.2 0.0055556         $2.17
2020         Disposition                                         and requesting assistance with lis pendens issues, preparation of notice of motion, and
                                                                 substantive analysis (.2).
January      Asset                  01/09/20 AEP             390 prepare e-mail to title company regarding special exceptions requiring hold harmless letters           0.2 0.0055556         $2.17
2020         Disposition                                         and special exceptions to be included on title in connection with all properties subsumed
                                                                 within sixth motion to approve sales process (.2)
January      Asset                  01/09/20 JR              140 work with A. Porter on further review and preparation of the 5th motion to confirm sale and            5.5 0.1222222        $17.11
2020         Disposition                                         6th motion to approve sale (5.5)
January      Asset                  01/10/20 MR              390 Attention to draft motion for approval of property sales.                                              0.3 0.0083333         $3.25
2020         Disposition
January      Asset                  01/11/20 AEP             390 assemble additional exhibits in connection with sixth motion to approve sales of receivership          2.3 0.0638889        $24.92
2020         Disposition                                         property and verify all pertinent information against assertions in motion papers (2.3).

January      Asset                  01/12/20 AEP             390 Read through provisionally final sixth motion to approve sales of receivership properties and          2.7       0.075      $29.25
2020         Disposition                                         include new paragraphs, where applicable, identifying all assignees of EquityBuild mortgage
                                                                 interests.
January      Asset                  01/12/20 MR              390 Further review draft motion for approval of sales and process.                                         0.4 0.0111111         $4.33
2020         Disposition
January      Asset                  01/13/20 MR              390 Conferences regarding certificate of service issue (.1)                                                0.1 0.0027778         $1.08
2020         Disposition
January      Asset                  01/13/20 MR              390 attention to issues on draft motion for approval of sale process (.2)                                  0.2 0.0055556         $2.17
2020         Disposition
January      Asset                  01/14/20 AEP             390 work on potential revisions to sixth motion to approve marketing and sale of remaining                 3.1 0.0861111        $33.58
2020         Disposition                                         receivership properties (3.1).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
January      Asset                  01/14/20 AEP             390 prepare e-mail to title company providing detailed chain of title information for receivership          0.8 0.0222222         $8.67
2020         Disposition                                         properties subsumed within sixth motion to approve sales and requesting confirmation of
                                                                 deletion of special exceptions relating to miscellaneous mechanic's liens (.8)

January      Asset                  01/14/20 MR              390 conferences with A. Porter and K. Duff regarding motion to approve sale of remaining                    3.1 0.0861111        $33.58
2020         Disposition                                         properties (3.1).
January      Asset                  01/15/20 AEP             390 insert all exhibit citations into motion and review corresponding exhibit for accuracy and              2.2 0.0488889        $19.07
2020         Disposition                                         completeness (2.2)
January      Asset                  01/15/20 AEP             390 and prepare e-mail to team enclosing nearly file-ready draft with report on remaining                   0.3 0.0066667         $2.60
2020         Disposition                                         incomplete items (.3).
January      Asset                  01/15/20 AEP             390 Rearrange order of presentation of argument and prepare additional explanatory paragraphs               0.4 0.0111111         $4.33
2020         Disposition                                         in sixth motion for court approval of sales of receivership properties, per recommendation of
                                                                 receiver (.4)
January      Asset                  01/15/20 AW              140 Confer with A. Porter regarding service list for sixth motion to approve sale process (.1)              0.1 0.0027778         $0.39
2020         Disposition
January      Asset                  01/15/20 AW              140 reach out to claims vendor with request to assist in preparation of same and respond to                 0.1 0.0027778         $0.39
2020         Disposition                                         follow up emails (.1).
January      Asset                  01/16/20 AEP             390 Prepare notice of sale, revise proposed judicial order, and perform inventory of exhibits in            1.2 0.0333333        $13.00
2020         Disposition                                         connection with finalization of sixth motion to approve sales of receivership properties,
                                                                 revise proposed judicial order (1.2)
January      Asset                  01/16/20 AEP             390 inventory and review first seven batches of publicly-recorded documents received from title             0.6 0.0166667         $6.50
2020         Disposition                                         company and insert as exhibits to sixth motion to approve sales (.6).

January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                1.2 0.0116505         $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                1.6    0.015534       $2.17
2020         Disposition
January      Asset                  01/17/20 AW              140 Attention to transfer from claims vendor of information regarding primary and secondary                 1.6 0.0444444         $6.22
2020         Disposition                                         emails of all claimants and prepare service list for sixth motion to approve sale process.

January      Asset                  01/19/20 AEP             390 Begin second pass through fifth motion to approve marketing and sales of receivership                   4.5       0.125      $48.75
2020         Disposition                                         property, adding additional properties for which due diligence and financing contingencies
                                                                 have now expired, and generally proofing, editing, and revising motion.

January      Asset                  01/20/20 AEP             390 Assemble and inventory all exhibits associated with fifth motion to approve marketing and               2.4 0.0666667        $26.00
2020         Disposition                                         sales of receivership properties, double-check all representations pertaining thereto in
                                                                 motion, and prepare additional paragraphs.
January      Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                          0.3 0.0031579         $0.44
2020         Disposition
January      Asset                  01/20/20 MR              390 work on same with K. Duff (.2).                                                                         0.2 0.0055556         $2.17
2020         Disposition
January      Asset                  01/20/20 MR              390 Attention to motion for approval of sales and for process (.3)                                          0.3 0.0083333         $3.25
2020         Disposition


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
January      Asset                  01/21/20 AEP             390 Begin consolidating sixth motion to confirm sales, fifth motion to approve marketing and                   5.1 0.1133333         $44.20
2020         Disposition                                         sales, and motion to amend Order Appointing Receiver into single motion, inventory all
                                                                 exhibits received from title company and create final list of materials still needed to
                                                                 complete the motion, and make revisions consistent with suggestions received from K. Duff
                                                                 and M. Rachlis.
January      Asset                  01/21/20 AW              140 Brief review of exhibits and near final sixth motion for approval of sale process.                         0.4 0.0111111          $1.56
2020         Disposition
January      Asset                  01/21/20 MR              390 Further review of motion and follow up on various issues regarding same (.6)                               0.6 0.0166667          $6.50
2020         Disposition
January      Asset                  01/21/20 NM              260 Correspond with courtroom deputy and receivership team regarding filing separate or                        0.3 0.0066667          $1.73
2020         Disposition                                         consolidated motions to approve next batch of sales and sales process.

January      Asset                  01/22/20 AEP             390 reconcile all duplicative definitions following merger of separate motions (.4)                            0.4 0.0088889          $3.47
2020         Disposition
January      Asset                  01/22/20 AEP             390 conduct final online searches in connection with all properties under contract and revise                  1.6 0.0355556         $13.87
2020         Disposition                                         consolidated motion as necessary (1.6)
January      Asset                  01/22/20 AEP             390 third pass through consolidated motion to ensure accuracy and consistency (2.1).                           2.1 0.0466667         $18.20
2020         Disposition
January      Asset                  01/22/20 JR              140 work with A. Porter regarding drafting a table of contents for the 6th motion to confirm sale              0.2 0.0044444          $0.62
2020         Disposition                                         and approve sale (.2)
January      Asset                  01/23/20 AEP             390 Prepare additional paragraphs for consolidated motion to incorporate discussions regarding                 1.3 0.0288889         $11.27
2020         Disposition                                         effect of lis pendens filed against certain properties, and to supplement introduction, to
                                                                 include reference to additional releases (1.3)
January      Asset                  01/23/20 AEP             390 review all exhibit numbers in motion to ensure consistency in numbering and double-check                   0.8 0.0177778          $6.93
2020         Disposition                                         all exhibit documents against motion (.8)
January      Asset                  01/23/20 AEP             390 discuss preparation of table of contents with J. Rak and review and edit first draft thereof (.5)          0.5 0.0111111          $4.33
2020         Disposition
January      Asset                  01/23/20 AEP             390 renumber all exhibits in motion to account for last-minute inclusion of additional releases                0.9         0.02       $7.80
2020         Disposition                                         (.9)
January      Asset                  01/23/20 AEP             390 read entire motion and make final edits thereto (2.3).                                                     2.3 0.0511111         $19.93
2020         Disposition
January      Asset                  01/23/20 AW              140 Review sixth motion to approve sale process and communicate with A. Porter and J. Rak                      0.6 0.0166667          $2.33
2020         Disposition                                         regarding preparation of exhibits.
January      Asset                  01/23/20 JR              140 compile all the exhibits into one document in preparation to file the motion to confirm and                2.7         0.06       $8.40
2020         Disposition                                         approve sale (2.7)
January      Asset                  01/23/20 JR              140 continue drafting the 6th motion to approve sale and draft table of contents (1.8)                         1.8         0.05       $7.00
2020         Disposition
January      Asset                  01/23/20 MR              390 work on same with K. Duff (.2).                                                                            0.2 0.0055556          $2.17
2020         Disposition
January      Asset                  01/23/20 MR              390 Attention to edits to motion for approval of sales process (.3)                                            0.3 0.0083333          $3.25
2020         Disposition
January      Asset                  01/23/20 NM              260 Study motion to approve sales and correspond with receivership team regarding same.                        0.6 0.0166667          $4.33
2020         Disposition


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
January      Asset                  01/24/20 AEP         390 prepare e-mail to counsel for all purchasers of receivership property now under contract                 0.2 0.0044444          $1.73
2020         Disposition                                     attaching consolidated motion and advising regarding timing of potential closings (.2).

January      Asset                  01/24/20 AEP         390 make revisions to draft certificate of service (.2)                                                      0.2 0.0044444          $1.73
2020         Disposition
January      Asset                  01/24/20 AEP         390 make final revisions to table of contents to consolidated motion (.3)                                    0.3 0.0066667          $2.60
2020         Disposition
January      Asset                  01/24/20 MR          390 Attention regarding upcoming closings and motion for approval.                                           0.3 0.0066667          $2.60
2020         Disposition
January      Asset                  01/24/20 NM          260 Study motion to approve sales process and confirm sales of other properties before filing                0.3 0.0066667          $1.73
2020         Disposition                                     and correspond with A. Watychowicz regarding same (.3)
January      Business               01/02/20 ED          390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020         Operations                                      October reports.
January      Business               01/06/20 NM          260 Study and respond to correspondence relating to code violations with property managers                   0.7         0.14      $36.40
2020         Operations                                      and tend to new violations received.
January      Business               01/07/20 KMP         140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020         Operations
January      Business               01/08/20 NM          260 Tend to new building code violations and correspond with property managers and City                      0.5          0.1      $26.00
2020         Operations                                      attorneys regarding same and regarding outstanding violations (.5)
January      Business               01/09/20 ED          390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020         Operations                                      (1.6)
January      Business               01/10/20 NM          260 Exchange correspondence with property managers regarding code violations.                                0.3         0.06      $15.60
2020         Operations
January      Business               01/13/20 ED          390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020         Operations
January      Business               01/14/20 NM          260 Exchange correspondence with property managers and broker regarding violations and tend                  0.6         0.12      $31.20
2020         Operations                                      to new violations.
January      Business               01/16/20 NM          260 Correspond with property managers regarding new code violations and nearly a dozen                       1.5 0.1071429         $27.86
2020         Operations                                      housing court matters next week (1.5)
January      Business               01/17/20 ED          390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020         Operations                                      expenditures to properties (.1).
January      Business               01/22/20 ED          390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020         Operations
January      Business               01/22/20 ED          390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020         Operations
January      Business               01/22/20 ED          390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020         Operations
January      Business               01/23/20 KMP         140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105          $0.59
2020         Operations                                      insurance and communications with K. Duff and bank representatives regarding same (.4)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                  1.6    0.015534       $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements               0.4 0.0038835         $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/06/20 MR              390 Attention to third party claims (1.2)                                                               1.2 0.0148148         $5.78
2020         Administration
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and              1.2 0.0116505         $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/14/20 ED              390 Review objection to motion for approval of sale of real estate, and review and analysis of          0.7 0.0189189         $7.38
2020         Administration                                      related investor documents (.7)
             & Objections

January      Claims                 01/16/20 AEP             390 prepare second round of revisions to motion (.1).                                                   0.1 0.0022222         $0.87
2020         Administration
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                0.2 0.0019417         $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                0.6 0.0058252         $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                 0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                    0.2 0.0019417         $0.76
2020         Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
January      Claims                 01/21/20 ED          390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961          $2.65
2020         Administration                                  to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED          390 review of November property accounting reports (2.5).                                                  2.5 0.0242718          $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW          140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020         Administration                                  property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED          390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631          $5.68
2020         Administration                                  remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                 01/27/20 ED          390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126          $1.14
2020         Administration                                  regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                 01/29/20 ED          390 Email correspondence with lender's appraiser and property manager to arrange property                  0.3          0.3     $117.00
2020         Administration                                  access and reply to related questions.
             & Objections

January      Claims                 01/30/20 ED          390 Further email correspondence with lender's inspector regarding access and information for              0.2          0.2      $78.00
2020         Administration                                  appraisal (.2)
             & Objections

February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222          $0.87
2020         Disposition                                     title work (.2)
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222          $0.87
2020         Disposition                                     properties (.2)
February     Asset                  02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                          0.1 0.0011111          $0.43
2020         Disposition
February     Asset                  02/21/20 KBD         390 Study draft publication notice and various correspondence regarding order approving sale               0.4 0.0111111          $4.33
2020         Disposition                                     listings and confer with N. Mirjanich regarding same (.4)
February     Asset                  02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                    0.1 0.0011111          $0.43
2020         Disposition
February     Asset                  02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                          0.4 0.0045455          $1.77
2020         Disposition
February     Asset                  02/25/20 KBD         390 Exchange correspondence with M. Rachlis regarding response to objections to motion to list             0.3 0.0083333          $3.25
2020         Disposition                                     properties for sale (.3)




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Asset                  02/26/20 KBD             390 Study and revise response to objections to motion to list properties for sale (1.2)                    1.2 0.0266667        $10.40
2020         Disposition
February     Asset                  02/28/20 KBD             390 study revised response to objections to sale motion and exchange correspondence regarding              1.4 0.0311111        $12.13
2020         Disposition                                         same (1.4)
February     Business               02/10/20 KBD             390 exchange correspondence with J. Rak regarding real estate taxes and property manager                   0.1 0.0011111         $0.43
2020         Operations                                          financial reporting (.1)
February     Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                          Duff regarding same (.4)
February     Business               02/11/20 KBD             390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)              0.4 0.0045455         $1.77
2020         Operations
February     Business               02/12/20 KBD             390 Analysis of real estate taxes, property manager financial reports, and exchange                        0.4 0.0045455         $1.77
2020         Operations                                          correspondence with J. Rak relating to same and communications with property manager.

February     Business               02/13/20 KBD             390 Study property manager financial reporting.                                                            0.4 0.0070175         $2.74
2020         Operations
February     Business               02/21/20 KBD             390 exchange correspondence with property managers and confer with J. Rak regarding payment                0.4 0.0045455         $1.77
2020         Operations                                          of real estate taxes (.4)
February     Business               02/25/20 KBD             390 review correspondence from property manager regarding payment of real estate taxes (.1)                0.1 0.0017857         $0.70
2020         Operations
February     Claims                 02/18/20 KBD             390 study lenders' objections to motion to sell properties (.5)                                            0.5 0.0178571         $6.96
2020         Administration
             & Objections

February     Claims                 02/26/20 KBD             390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to            0.4 0.0049383         $1.93
2020         Administration                                      investor accounts (.4).
             & Objections

February     Asset                  02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                 0.1 0.0011111         $0.29
2020         Disposition
February     Asset                  02/11/20 AEP             390 Review title commitments relating to all properties subsumed within sixth motion to approve            0.4 0.0111111         $4.33
2020         Disposition                                         sales and create master list of remaining issues to be resolved prior to closings (.4)

February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/13/20 AEP             390 respond to surveyor regarding request for legal description and certification information for          0.1 0.0027778         $1.08
2020         Disposition                                         various receivership properties subsumed within sixth motion to approve (.1)

February     Asset                  02/18/20 NM              260 Study objections to sales motions and correspond with K. Duff and J. Rak regarding same and            1.0 0.0222222         $5.78
2020         Disposition                                         obtaining list of properties for which no objections were filed to send order to court on
                                                                 same.
February     Asset                  02/20/20 AEP             390 Work with K. Duff on reply in support of consolidated motion (.5)                                      0.5 0.0111111         $4.33
2020         Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
February     Asset                  02/20/20 JR              140 Exchange communication with N. Mirjanich regarding orders related to the 5th and 6th                  0.1 0.0027778         $0.39
2020         Disposition                                         motion (.1)
February     Asset                  02/20/20 JR              140 final review of objections to motion related to the properties included in the consolidated           0.7 0.0194444         $2.72
2020         Disposition                                         motion (.7).
February     Asset                  02/20/20 NM              260 draft notice for next marketing tranche and correspondence with receiver team on same                 0.4 0.0111111         $2.89
2020         Disposition                                         (.4).
February     Asset                  02/21/20 AEP             390 read reply in support of consolidated motion (.2).                                                    0.2 0.0044444         $1.73
2020         Disposition
February     Asset                  02/21/20 AEP             390 read orders granting in part fifth motion to confirm sales and sixth motion to approve sales          0.2 0.0044444         $1.73
2020         Disposition                                         process and prepare e-mails to buyers' counsel regarding preparation for closing (.2)

February     Asset                  02/21/20 NM              260 Correspond with broker regarding next marketing tranche.                                              0.3 0.0083333         $2.17
2020         Disposition
February     Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                            0.1 0.0010526         $0.15
2020         Disposition
February     Asset                  02/24/20 NM              260 correspond with receiver team and broker regarding next marketing tranche and revise                  0.2 0.0055556         $1.44
2020         Disposition                                         notice of publication for same (.2)
February     Asset                  02/24/20 NM              260 related telephone call with same (.5).                                                                0.5 0.0138889         $3.61
2020         Disposition
February     Asset                  02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties            1.2 0.0134831         $1.89
2020         Disposition                                         managed by a management company (1.2)
February     Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                0.1 0.0010753         $0.15
2020         Disposition
February     Asset                  02/25/20 NM              260 Attention to next marketing tranche and publication notice for same.                                  0.2 0.0055556         $1.44
2020         Disposition
February     Asset                  02/26/20 NM              260 Study correspondence relating to fourth marketing tranche and objections to consolidated              0.3 0.0066667         $1.73
2020         Disposition                                         sales motion.
February     Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real               0.1 0.0010753         $0.15
2020         Operations                                          estate taxes (.1)
February     Business               02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                2.8 0.0314607         $4.40
2020         Operations
February     Business               02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                   0.1 0.0011236         $0.16
2020         Operations
February     Business               02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                 0.1 0.0019608         $0.27
2020         Operations                                          taxes related to paying property taxes (.1)
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                         0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                         0.3 0.0028846         $1.13
2020         Operations
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                         0.4 0.0044444         $1.73
2020         Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property               0.1 0.0019608         $0.27
2020         Operations                                          taxes (.1)
February     Business               02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property               0.2 0.0022727         $0.32
2020         Operations                                          taxes (.2).
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222         $0.87
2020         Operations
February     Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774         $1.35
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020         Administration
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Claims                 02/18/20 AEP             390 Read institutional lenders' memorandum in opposition to receiver's consolidated motion and                2.1 0.0466667         $18.20
2020         Administration                                      prepare outline of issues and responses thereto.
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                       0.2 0.0019231          $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                       1.2 0.0129032          $1.81
2020         Administration
             & Objections

February     Claims                 02/18/20 MR              390 review and develop possible response to objections on sales motion (.8).                                  0.8 0.0177778          $6.93
2020         Administration
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                  0.5 0.0048077          $1.88
2020         Administration                                      reports.
             & Objections

February     Claims                 02/24/20 MR              390 attention to objection on sales motion and issues on sales (.3).                                          0.3 0.0066667          $2.60
2020         Administration
             & Objections

February     Claims                 02/25/20 MR              390 Further attention to objections by lenders to property sales.                                             2.2 0.0488889         $19.07
2020         Administration
             & Objections

February     Claims                 02/26/20 AW              140 further work on draft response to objections (5.0).                                                       5.0 0.1111111         $15.56
2020         Administration
             & Objections

February     Claims                 02/28/20 AW              140 communicate with counsel regarding additional revisions and language from previous                        0.3 0.0066667          $0.93
2020         Administration                                      pleadings (.3).
             & Objections

February     Claims                 02/28/20 AW              140 proofread reply in support of consolidated motion and email Receivership team regarding                   0.9         0.02       $2.80
2020         Administration                                      revisions [long time due to tracking down of all objections filed by institutional lenders] (.9)
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
February     Claims                 02/28/20 MR          390 attention to objections to sixth sales moron and review and revise same (1.7).                      1.7 0.0377778        $14.73
2020         Administration
             & Objections

February     Claims                 02/28/20 NM          260 correspond with receiver's team regarding response to consolidated sales motion and revise          1.3 0.0288889         $7.51
2020         Administration                                  same (1.3).
             & Objections

March 2020 Asset                    03/05/20 KBD         390 study reply in support of consolidated property sales motion (.4).                                  0.4 0.0111111         $4.33
           Disposition
March 2020 Asset                    03/05/20 KBD         390 Study revisions to and further revise motion to approve sale of Naples property and                 0.6 0.0133333         $5.20
           Disposition                                       proposed order (.6)
March 2020 Asset                    03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                       0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence               2.9 0.0329545        $12.85
           Disposition                                       with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125       $4.88
           Disposition                                       marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111         $0.43
           Disposition                                       impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091         $1.33
           Disposition                                       marketing timing and strategy (.3)
March 2020 Asset                    03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727         $0.89
           Disposition                                       estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222         $0.87
           Disposition                                       efforts (.2).
March 2020 Asset                    03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111         $0.43
           Disposition                                       properties (.1)
March 2020 Asset                    03/27/20 KBD         390 Study lenders' supplemental objection to consolidated motion (.5)                                   0.5 0.0138889         $5.42
           Disposition
March 2020 Asset                    03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091        $11.08
           Disposition                                       Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/31/20 KBD         390 study order approving listing and sale of properties and exchange correspondence regarding          0.3 0.0066667         $2.60
           Disposition                                       same (.3)
March 2020 Business                 03/10/20 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0052632         $2.05
           Operations
March 2020 Business                 03/10/20 KBD         390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222         $0.87
           Operations                                        and renewal (.2).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
March 2020 Business                 03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                        0.2 0.0022222         $0.87
           Operations                                            environment (.2).
March 2020 Business                 03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                        0.3 0.0034091         $1.33
           Operations
March 2020 Business                 03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                             0.2 0.0022727         $0.89
           Operations
March 2020 Business                 03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                         0.4 0.0045455         $1.77
           Operations                                            property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/27/20 KBD             390 analysis of property revenue and exchange correspondence with asset manager regarding                    0.5 0.0138889         $5.42
           Operations                                            same (.5).
March 2020 Business                 03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                     0.3 0.0033708         $1.31
           Operations                                            issues and analysis (.3).
March 2020 Claims                   03/26/20 KBD             390 study lenders' motion for oral argument and to stay property sales, analysis of issues relating          2.3 0.1095238        $42.71
           Administration                                        to same, exchange correspondence regarding same, and outline response to same (2.3).
           & Objections

March 2020 Claims                   03/28/20 KBD             390 exchange correspondence with real estate broker regarding response to lender's motion to                 0.4 0.0190476         $7.43
           Administration                                        stay (.4).
           & Objections

March 2020 Claims                   03/29/20 KBD             390 Study and revise response to lenders' supplemental objection and declaration and exchange                1.3 0.0590909        $23.05
           Administration                                        correspondence with M. Rachlis regarding same.
           & Objections

March 2020 Claims                   03/30/20 KBD             390 study and revise objection to lenders' motion to stay and exchange correspondence with M.                1.7 0.0809524        $31.57
           Administration                                        Rachlis and A. Watychowicz regarding same and declaration (1.7)
           & Objections

March 2020 Asset                    03/02/20 AEP             390 additional notices of violation filed against properties in next marketing tranche (.2)                  0.2 0.0055556         $2.17
           Disposition
March 2020 Asset                    03/02/20 AEP             390 updates to property-specific closing checklists and seller's figures (.6)                                0.6 0.0166667         $6.50
           Disposition
March 2020 Asset                    03/02/20 AEP             390 lender objections to consolidated motion to sell (.3)                                                    0.3 0.0066667         $2.60
           Disposition
March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                       1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                    03/05/20 AEP             390 read, edit, and revise draft reply in support of consolidated motion (2.9)                               2.9 0.0644444        $25.13
           Disposition
March 2020 Asset                    03/06/20 NM              260 study reply to consolidated motion and study correspondence with Receiver's team on same                 0.6 0.0166667         $4.33
           Disposition                                           (.6).
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                   0.2 0.0022222         $0.87
           Disposition




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2020 Asset                    03/12/20 JR              140 draft purchase and sale contracts in preparation for new buyers for properties currently                0.2 0.0055556         $0.78
           Disposition                                           being marketed and telephone communication with real estate broker regarding same (.2).

March 2020 Asset                    03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                    03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                           and motions regarding same (1.4)
March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                    03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                    03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition
March 2020 Asset                    03/24/20 AW              140 attention to email from A. Porter forwarding all current drafts of proposed orders. (.1).               0.1 0.0022222         $0.31
           Disposition
March 2020 Asset                    03/24/20 AW              140 Research regarding proposed orders relating to sales motions and communicate with K. Duff               0.2 0.0044444         $0.62
           Disposition                                           regarding same (.2)
March 2020 Asset                    03/24/20 JR              140 Phone conference with A. Porter and the real estate brokers regarding status of closings of             0.7 0.0194444         $2.72
           Disposition                                           various properties under contract and currently on the market and plan of action regarding
                                                                 same (.7)
March 2020 Asset                    03/25/20 AEP             390 Edit and revise form purchase and sale agreement to be tendered to prospective bidders on               0.6 0.0166667         $6.50
           Disposition                                           next tranche of receivership properties to incorporate necessary changes based on past
                                                                 experience (.6)
March 2020 Asset                    03/25/20 AEP             390 review due diligence files for all properties in next tranche of sales and update purchase and          0.5 0.0138889         $5.42
           Disposition                                           sale agreements to incorporate disclosures of administrative and housing court actions and
                                                                 to confirm accuracy of legal descriptions and PINs (.5).
March 2020 Asset                    03/27/20 MR              390 prepare for and participate in calls regarding same with asset manager and K. Duff (1.0)                1.0 0.0222222         $8.67
           Disposition
March 2020 Asset                    03/27/20 MR              390 Further review of motion to stay and related matters and work on same (2.0)                             2.0 0.0952381        $37.14
           Disposition
March 2020 Asset                    03/30/20 MR              390 Conferences with asset manager regarding various property issues (.2)                                   0.2 0.0044444         $1.73
           Disposition
March 2020 Asset                    03/30/20 MR              390 attention to issues regarding properties (.1).                                                          0.1 0.0022222         $0.87
           Disposition


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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2020 Asset                    03/31/20 MR              390 attention to orders regarding sales and issues moving forward and conferences regarding              0.4 0.0088889         $3.47
           Disposition                                           same (.4)
March 2020 Asset                    03/31/20 MR              390 Draft and revise motion for clarification and other relief and follow up regarding various           2.2 0.0488889        $19.07
           Disposition                                           issues with K. Duff and A. Watychowicz (2.2)
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                            0.4    0.004878       $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.             1.9 0.0215909         $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold              0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/08/20 MR              390 Attention to e-mails and follow up regarding restoration of rent and other items.                    0.3 0.0069767         $2.72
           Operations
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                         0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same             2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                      0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.          1.8 0.0204545         $2.86
           Operations
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                  0.2 0.0022222         $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy           0.3 0.0033333         $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                4.1 0.0398058         $5.57
           Operations
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                 0.3 0.0033708         $1.31
           Operations
March 2020 Business                 03/30/20 ED              390 call with insurance agent regarding same (.2)                                                        0.2 0.0022472         $0.88
           Operations
March 2020 Business                 03/30/20 ED              390 and loss history (.4)                                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 Review revised statement of value (.4)                                                               0.4 0.0044944         $1.75
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                             0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting            0.5 0.0048544         $1.89
           Administration                                        reports (.5)
           & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709          $0.38
           Administration
           & Objections

March 2020 Claims                   03/04/20 MR              390 Attention to investor related inquires regarding motions (.3)                                         0.3         0.05      $19.50
           Administration
           & Objections

March 2020 Claims                   03/04/20 MR              390 follow up on e-mail from K. Duff regarding response to same (.2)                                      0.2 0.0333333         $13.00
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                                    1.0 0.0136986          $1.92
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).                  1.4 0.0189189          $2.65
           Administration
           & Objections

March 2020 Claims                   03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review                2.8 0.0378378          $5.30
           Administration                                        claimant forms.
           & Objections

March 2020 Claims                   03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                         2.1 0.0265823          $3.72
           Administration
           & Objections

March 2020 Claims                   03/12/20 JR              140 Review claims documents.                                                                              3.1 0.0382716          $5.36
           Administration
           & Objections




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                             Task Hours
  Month                                           Keeper                                                                                                            Hours        Fees
March 2020 Claims                   03/13/20 JR              140 Work on claims review process with J. Wine.                                                2.2 0.0271605         $3.80
           Administration
           & Objections

March 2020 Claims                   03/16/20 JR              140 Review claimant forms.                                                                     2.5 0.0308642         $4.32
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                  0.7     0.00875       $1.23
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 Review claimant forms (3.4)                                                                3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/19/20 JR              140 Review claim forms.                                                                        3.3     0.04125       $5.78
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).             0.2 0.0024691         $0.35
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 Review claims forms (5.4)                                                                  5.4 0.0666667         $9.33
           Administration
           & Objections

March 2020 Claims                   03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)          3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                 0.9 0.0111111         $1.56
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 review claimant forms and rollover information (2.1)                                       2.1 0.0259259         $3.63
           Administration
           & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
March 2020 Claims                   03/24/20 JRW         260 research for responding to claims vendor regarding property numbers of assets for claims          0.3     0.00375        $0.98
           Administration                                    database (.3)
           & Objections

March 2020 Claims                   03/24/20 JRW         260 Attention to responding to claimant inquiry (.2)                                                  0.2 0.0024691          $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW         260 update responses to frequently asked questions (.2)                                               0.2 0.0024691          $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW         260 email exchange with K. Duff regarding segregation of claims and supporting documentation          0.1 0.0012821          $0.33
           Administration                                    by tranche (.1)
           & Objections

March 2020 Claims                   03/24/20 JRW         260 extended conference with A. Pruitt regarding analysis of claims and updating of master            0.8 0.0101266          $2.63
           Administration                                    claims spreadsheet (.8)
           & Objections

March 2020 Claims                   03/24/20 JRW         260 study spreadsheet of claim information received from claims vendor (.8).                          0.8         0.01       $2.60
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW         260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)           0.9     0.01125        $2.93
           Administration
           & Objections

March 2020 Claims                   03/26/20 MR          390 Briefly review motion to stay filed by lenders and follow up on same.                             0.3 0.0142857          $5.57
           Administration
           & Objections

March 2020 Claims                   03/28/20 MR          390 work on objection to motion to stay (.8).                                                         0.8 0.0380952         $14.86
           Administration
           & Objections

March 2020 Claims                   03/29/20 MR          390 Further work on response to motion to stay.                                                       2.4 0.1090909         $42.55
           Administration
           & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
March 2020 Claims                   03/30/20 AEP         390 Read motion to stay filed by institutional lenders and supporting declaration attached                  3.1    0.147619      $57.57
           Administration                                    thereto, read first draft of proposed opposition thereto, edit and revise same, read, edit and
           & Objections                                      revise draft responsive declaration prepared by receivership broker, and teleconference with
                                                             receivership broker regarding proposed changes to declaration.

March 2020 Claims                   03/30/20 AW          140 proofread objection and email counsel regarding same (.3)                                               0.3 0.0142857         $2.00
           Administration
           & Objections

March 2020 Claims                   03/30/20 AW          140 communicate with M. Rachlis regarding plan to file opposition to lenders' motion for oral               0.1 0.0047619         $0.67
           Administration                                    argument and to stay (.1)
           & Objections

March 2020 Claims                   03/30/20 AW          140 attention to revised draft, prepare exhibit, and finalize (.2)                                          0.2 0.0095238         $1.33
           Administration
           & Objections

March 2020 Claims                   03/30/20 MR          390 Review brief and declaration and follow up regarding same, and various exchanges regarding              3.2    0.152381      $59.43
           Administration                                    issues on affidavit and brief.
           & Objections

March 2020 Claims                   03/31/20 AW          140 proofread motion and email K. Duff and M. Rachlis regarding revisions (.6)                              0.6 0.0285714         $4.00
           Administration
           & Objections

April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                             0.2 0.0022472         $0.88
             Disposition
April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                    0.3 0.0041096         $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                 0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                              0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 study property manager reporting (.3).                                                                  0.3 0.0052632         $2.05
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                    0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                            0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                        0.2 0.0022989         $0.90
             Operations                                      properties and review information relating to same.




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2020   Business               04/13/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236         $0.44
             Operations                                          coverage issue (.1)
April 2020   Business               04/17/20 KBD             390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236         $0.44
             Operations
April 2020   Business               04/29/20 KBD             390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691         $0.96
             Operations                                          insurance renewal efforts and cost (.2)
April 2020   Asset                  04/01/20 AEP             390 revise proposed order approving fifth motion to confirm sales and exhibit to sixth motion to           0.2 0.0044444         $1.73
             Disposition                                         approve sales process (.2)
April 2020   Asset                  04/01/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding bids submitted in          1.7 0.0472222        $18.42
             Disposition                                         connection with latest marketing tranche and strategies for responding thereto, as well as
                                                                 anticipated timing of closings of properties subsumed within order approving fifth motion to
                                                                 confirm sales and remaining obstacles thereto (1.7)

April 2020   Asset                  04/01/20 AW              140 additional revisions to orders and submit to Judge Lee as per standing order (.2).                     0.2 0.0044444         $0.62
             Disposition
April 2020   Asset                  04/01/20 AW              140 Attention to exchanges regarding revisions to proposed orders (.1)                                     0.1 0.0022222         $0.31
             Disposition
April 2020   Asset                  04/01/20 MR              390 Review draft orders and follow up on various related issues regarding orders on marketing              0.5 0.0111111         $4.33
             Disposition                                         and other issues (.5)
April 2020   Asset                  04/01/20 MR              390 prepare for meeting on property sales and emails regarding same (.4)                                   0.4 0.0111111         $4.33
             Disposition
April 2020   Asset                  04/01/20 MR              390 participate in call regarding upcoming bids and anticipated closings with K. Duff, A. Porter           1.7 0.0472222        $18.42
             Disposition                                         and real estate broker (1.7).
April 2020   Asset                  04/01/20 MR              390 review order on clarification and other orders (.2)                                                    0.2    0.002439       $0.95
             Disposition
April 2020   Asset                  04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and             1.1 0.0135802         $5.30
             Disposition                                         housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                 dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                 brought to the prospective purchasers' attention, and relationship between individual
                                                                 property owners and EquityBuild funds (1.1)

April 2020   Asset                  04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and               1.1 0.0135802         $1.90
             Disposition                                         litigation matters (1.1)
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with real estate broker regarding purchase and sale agreement                  0.2 0.0055556         $0.78
             Disposition                                         language (.2)
April 2020   Asset                  04/09/20 JR              140 exchange correspondence with the property management team requesting due diligence                     0.2 0.0055556         $0.78
             Disposition                                         documents for various properties listed for sale (.2)
April 2020   Asset                  04/09/20 JR              140 save purchase and sale agreements and SJOs for various properties in series x and update               0.5 0.0138889         $1.94
             Disposition                                         closing checklists with property information (.5).
April 2020   Asset                  04/10/20 JR              140 exchange correspondence with real estate broker regarding status of purchase and sale                  0.2 0.0055556         $0.78
             Disposition                                         agreements for series 4 properties and review and update buyer counsel information and
                                                                 buyer information regarding same (.2)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/10/20 JR              140 update master and closing checklists regarding same (.5)                                                0.5 0.0138889          $1.94
             Disposition
April 2020   Asset                  04/13/20 JR              140 follow up correspondence with the property manager regarding due diligence documents for                0.2 0.0055556          $0.78
             Disposition                                         series x and related to all properties recently under contract (.2)
April 2020   Asset                  04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of                 0.3 0.0033708          $1.31
             Disposition                                         special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/15/20 JR              140 calculate prorated property taxes for various properties and update settlement statements               1.4 0.0388889          $5.44
             Disposition                                         regarding same (1.4)
April 2020   Asset                  04/15/20 JR              140 update closing checklists regarding same (.3)                                                           0.3 0.0083333          $1.17
             Disposition
April 2020   Asset                  04/15/20 JR              140 further correspondence with the property manager regarding requested items for closings                 0.4 0.0108108          $1.51
             Disposition                                         and due diligence documents (.4)
April 2020   Asset                  04/16/20 JR              140 review due diligence documents received from property manager and update corresponding                  1.8         0.05       $7.00
             Disposition                                         electronic property folders for various properties currently under contract (1.8).

April 2020   Asset                  04/16/20 JR              140 further exchange correspondence with the title company related to confirmation of earnest               0.4 0.0111111          $1.56
             Disposition                                         money deposit for various properties (.4)
April 2020   Asset                  04/17/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                              0.1 0.0027778          $0.39
             Disposition
April 2020   Asset                  04/17/20 JR              140 draft same for buyer (.9)                                                                               0.9       0.025        $3.50
             Disposition
April 2020   Asset                  04/17/20 JR              140 review email from the title company regarding third party authorization forms for buyer and             0.2 0.0055556          $0.78
             Disposition                                         exchange further correspondence with the title company (.2)
April 2020   Asset                  04/20/20 AEP             390 update EquityBuild portfolio spreadsheet (.1)                                                           0.1 0.0011364          $0.44
             Disposition
April 2020   Asset                  04/20/20 JR              140 review due diligence documents received from property manager for various properties                    1.3 0.0361111          $5.06
             Disposition                                         (1.3).
April 2020   Asset                  04/20/20 JR              140 conference call with K. Duff, M. Rachlis, A. Porter and real estate brokers related to current          1.0 0.0222222          $3.11
             Disposition                                         properties under contract and related matters and issues with closings (1.0)

April 2020   Asset                  04/23/20 JR              140 update closed property spreadsheet and forward to K. Duff, E. Duff and K. Pritchard (.6)                0.6 0.0153846          $2.15
             Disposition
April 2020   Asset                  04/29/20 JR              140 review email from J. Wine and provide legal descriptions and property addresses for the                 0.6 0.0166667          $2.33
             Disposition                                         upcoming publication notice of various properties (.6)
April 2020   Asset                  04/29/20 JR              140 exchange correspondence with the title company regarding confirmed wires receipt on                     0.2 0.0055556          $0.78
             Disposition                                         various properties (.2)
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]              0.8 0.0126984          $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                                 0.1 0.0015873          $0.22
             Disposition
April 2020   Asset                  04/30/20 JRW             260 Study sixth motion for approval of process for public sale, exhibits and order granting same,           0.6 0.0166667          $4.33
             Disposition                                         and related correspondence regarding notice requirements (.6)




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2020   Business               04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                      and related documentation and correspondence.
April 2020   Business               04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                      requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Claims                 04/02/20 JRW         260 conference call with A. Porter and J. Rak regarding code violations against properties under          0.7    0.008642       $2.25
             Administration                                  contract and process for updating records (.7).
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                  accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                  claimants (.2)
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                  0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.              0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                 0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                 0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                    0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of          0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.             2.0 0.0194175         $2.72
             Administration
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Business               05/01/20 KBD             390 draft correspondence to E. Duff regarding restoration of funds (.1).                                0.1 0.0023256         $0.91
             Operations
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                          property management (.3)
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                  0.3 0.0036145         $1.41
             Operations                                          (.3)
May 2020     Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                   0.6 0.0072289         $2.82
             Operations                                          renewal of insurance (.6)
May 2020     Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                0.4 0.0048193         $1.88
             Operations
May 2020     Business               05/12/20 KBD             390 study financial reporting from property manager (.3).                                               0.3 0.0054545         $2.13
             Operations
May 2020     Business               05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                   0.7 0.0084337         $3.29
             Operations
May 2020     Business               05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                    0.2 0.0024096         $0.94
             Operations                                          correspondence with asset manager regarding same (.2)
May 2020     Business               05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                    0.2 0.0023529         $0.92
             Operations                                          expenses (.2)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
             Operations
May 2020     Business               05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                  0.1 0.0011765         $0.46
             Operations
May 2020     Business               05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).           0.3 0.0037037         $1.44
             Operations
May 2020     Business               05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)            0.3 0.0037037         $1.44
             Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2020     Business               05/22/20 KBD             390 review information regarding restoration of funds (.2)                                                0.2 0.0046512          $1.81
             Operations
May 2020     Business               05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                          0.1 0.0011765          $0.46
             Operations
May 2020     Business               05/28/20 KBD             390 exchange correspondence with E. Duff regarding restoration motion (.1).                               0.1 0.0023256          $0.91
             Operations
May 2020     Claims                 05/07/20 KBD             390 Work on communication to claimants' counsel regarding marketing and sale of properties                0.5 0.0138889          $5.42
             Administration                                      (.5)
             & Objections

May 2020     Asset                  05/01/20 JR              140 review notice of public sale related to additional properties listed for offers and update            0.5 0.0138889          $1.94
             Disposition                                         spreadsheet (.5)
May 2020     Asset                  05/05/20 JR              140 update spreadsheet with additional properties listed for sale, under contract and status of           0.6 0.0166667          $2.33
             Disposition                                         judicial process (.6)
May 2020     Asset                  05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                                0.1 0.0011494          $0.16
             Disposition
May 2020     Asset                  05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st              0.1 0.0011494          $0.16
             Disposition                                         quarter of 2020 (.1)
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                             1.4 0.0135922          $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes               0.2 0.0035088          $0.49
             Disposition                                         (.2).
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management              0.1 0.0009709          $0.14
             Disposition                                         companies (.1)
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                 1.8 0.0174757          $2.45
             Disposition
May 2020     Asset                  05/18/20 JR              140 review the status of various properties related to judicial process and sale process (.9)             0.9       0.025        $3.50
             Disposition
May 2020     Asset                  05/27/20 JR              140 update closing checklist regarding same (.3)                                                          0.3 0.0083333          $1.17
             Disposition
May 2020     Asset                  05/27/20 JR              140 review receipts of earnest money (.2)                                                                 0.2 0.0055556          $0.78
             Disposition
May 2020     Asset                  05/27/20 JR              140 review properties currently being marketed and exchange correspondence with the property              0.2 0.0055556          $0.78
             Disposition                                         managers requesting all due diligence documents (.2)
May 2020     Asset                  05/27/20 JR              140 review water account information for same and update closing checklists (.7)                          0.7 0.0194444          $2.72
             Disposition
May 2020     Asset                  05/27/20 JR              140 review email and exchange correspondence with the property manager regarding                          0.2 0.0055556          $0.78
             Disposition                                         preparation of due diligence folders for properties going under contract and missing
                                                                 information for same (.2)
May 2020     Asset                  05/27/20 JR              140 begin drafting closing checklists and closing documents for properties under contract and in          1.8         0.05       $7.00
             Disposition                                         anticipation of court approval of confirmation of sale (1.8).
May 2020     Asset                  05/28/20 JR              140 draft master closing checklist for current properties under contract and in preparation for           0.6 0.0166667          $2.33
             Disposition                                         drafting closing documents (.6)


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2020     Business               05/01/20 MR          390 Attention to issues on motion regarding restoration of costs and other issues.                      0.2 0.0046512         $1.81
             Operations
May 2020     Business               05/07/20 ED          390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
             Operations                                      properties (1.3)
May 2020     Business               05/13/20 KMP         140 communicate with insurance broker to confirm funds transfer (.1).                                   0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/13/20 KMP         140 prepare form for funds transfer to insurance broker for down payment on financing                   0.4 0.0046512         $0.65
             Operations                                      agreement for general liability and umbrella policy and communications with K. Duff and
                                                             bank representatives regarding same (.4)
May 2020     Business               05/14/20 KMP         140 Communicate with insurance premium funding company regarding contract (.1)                          0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                      addition of properties that have no institutional debt, and communicate with E. Duff
                                                             regarding missing reports.
May 2020     Business               05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                      regarding same
May 2020     Business               05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                      proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020     Business               05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                      correspondence.
May 2020     Business               05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512         $0.65
             Operations                                      property insurance finance agreement, and communicate with bank representative and K.
                                                             Duff regarding same (.4)
May 2020     Business               05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256         $0.33
             Operations                                      K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2020     Business               05/30/20 MR          390 Attention to restoration issues (.1)                                                               0.1 0.0023256         $0.91
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                       0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/31/20 MR          390 exchanges with E. Duff regarding same (.3).                                                        0.3 0.0069767         $2.72
             Operations
May 2020     Business               05/31/20 MR          390 Work on issues on restoration to Receivership on properties (.5)                                   0.5 0.0116279         $4.53
             Operations
May 2020     Claims                 05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as          1.8 0.0202247         $2.83
             Administration                                  requested, and share same with Receivership team (1.8)
             & Objections

May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
             Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544         $1.89
             Administration                                  (.5)
             & Objections

May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709         $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

May 2020     Claims                 05/25/20 MR          390 Research and work on draft response to motion to stay (6.2)                                        6.2 0.2952381       $115.14
             Administration
             & Objections

June 2020    Asset                  06/01/20 KBD         390 Telephone conference with real estate broker regarding status of mixed use properties and          0.2 0.0043478         $1.70
             Disposition                                     upcoming sales (.2)
June 2020    Asset                  06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and            0.2 0.0024691         $0.96
             Disposition                                     planning for review of offers.
June 2020    Asset                  06/19/20 KBD         390 Telephone conference with real estate broker regarding communications with lenders'                0.1 0.0027778         $1.08
             Disposition                                     counsel relating to highest bids and credit bidding (.1)
June 2020    Asset                  06/24/20 KBD         390 exchange correspondence with J. Wine regarding publication notice for next marketing               0.1 0.0071429         $2.79
             Disposition                                     tranche (.1).
June 2020    Asset                  06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.          1.5 0.0185185         $7.22
             Disposition                                     Rachlis regarding same (1.5)
June 2020    Asset                  06/25/20 KBD         390 Study pricing information for next tranche of properties to be listed for sale.                    0.3 0.0214286         $8.36
             Disposition
June 2020    Asset                  06/26/20 KBD         390 review publication notice and review correspondence from J. Wine regarding same (.1).              0.1 0.0071429         $2.79
             Disposition
June 2020    Asset                  06/30/20 KBD         390 exchange correspondence with J. Wine regarding publication notice (.1).                            0.1 0.0071429         $2.79
             Disposition
June 2020    Business               06/02/20 KBD         390 study information regarding restoration of funds (.3).                                             0.3 0.0068182         $2.66
             Operations
June 2020    Business               06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                  0.1 0.0019231         $0.75
             Operations
June 2020    Business               06/06/20 KBD         390 Study draft restoration motion.                                                                    0.2 0.0045455         $1.77
             Operations
June 2020    Business               06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).             0.1 0.0012048         $0.47
             Operations
June 2020    Business               06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                    0.5     0.00625       $2.44
             Operations                                      Pritchard regarding same (.5)
June 2020    Business               06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange             0.4       0.005       $1.95
             Operations                                      correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business               06/12/20 KBD         390 study correspondence regarding restoration analysis and related issues (.3).                       0.3 0.0068182         $2.66
             Operations




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
June 2020    Business               06/14/20 KBD         390 Revise motion for reimbursement of property expenses (.3)                                          0.3 0.0069767          $2.72
             Operations
June 2020    Business               06/15/20 KBD         390 Study financial reporting from property manager.                                                   0.2 0.0037736          $1.47
             Operations
June 2020    Business               06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                          0.2 0.0025641          $1.00
             Operations
June 2020    Business               06/27/20 KBD         390 Revise draft second restoration motion and research regarding same.                                1.1       0.025        $9.75
             Operations
June 2020    Business               06/28/20 KBD         390 Draft and revise draft second restoration motion.                                                  2.8 0.0636364         $24.82
             Operations
June 2020    Business               06/29/20 KBD         390 Draft and revise second restoration motion and draft correspondence to M. Rachlis                  1.4 0.0318182         $12.41
             Operations                                      regarding same (1.4)
June 2020    Business               06/30/20 KBD         390 Draft and revise restoration motion and exchange correspondence with K. Pritchard and M.           0.9 0.0204545          $7.98
             Operations                                      Rachlis regarding same (.9)
June 2020    Business               06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                      0.2 0.0027397          $1.07
             Operations
June 2020    Claims                 06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                 06/09/20 KBD         390 study objections to claims process motion (.5)                                                     0.5    0.005618        $2.19
             Administration
             & Objections

June 2020    Claims                 06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191          $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393         $26.73
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 attention to claimant's counsel inquiry regarding property (4533-37 Calumet) (.1)                  0.1          0.1      $39.00
             Administration
             & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2020    Claims                 06/16/20 KBD             390 Work on claims motion reply with M. Rachlis (.6)                                                      0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD             390 analysis of letter of credit issue (.5)                                                               0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                 06/18/20 KBD             390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit             0.2 0.0022989         $0.90
             Administration                                      bidding (.2)
             & Objections

June 2020    Claims                 06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                                 0.7 0.0078652         $3.07
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 study SEC reply brief (.3)                                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                        0.2 0.0022989         $0.90
             Administration
             & Objections

June 2020    Asset                  06/01/20 MR              390 conferences with real estate broker A. Porter regarding same (.3).                                    0.3 0.0065217         $2.54
             Disposition
June 2020    Asset                  06/01/20 MR              390 Attention to property sales (.2)                                                                      0.2 0.0043478         $1.70
             Disposition
June 2020    Asset                  06/04/20 JR              140 review uploaded due diligence documents from property manager for various properties in               0.6 0.0166667         $2.33
             Disposition                                         series x (.6)
June 2020    Asset                  06/04/20 JR              140 review email from J. Wine regarding litigation matters and move all matters into Property             0.8 0.0222222         $3.11
             Disposition                                         Sales folder in anticipation of production of documents to buyers related to series x
                                                                 properties (.8)
June 2020    Asset                  06/04/20 JR              140 update closing checklists with requested due diligence documents for various properties in            0.5 0.0138889         $1.94
             Disposition                                         series 7 and series x, including water account information (.5).
June 2020    Asset                  06/05/20 JR              140 follow up correspondence with property management related to a request for utility bills for          0.1 0.0027778         $0.39
             Disposition                                         various properties in series x (.1)
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                              0.1 0.0012048         $0.17
             Disposition
June 2020    Asset                  06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale            3.2 0.0385542         $5.40
             Disposition                                         related to same (3.2)
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215         $6.91
             Disposition


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,                3.2 0.0405063         $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to           2.4 0.0303797         $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/10/20 JR              140 review email from property management regarding new leases for properties soon to be                   0.2 0.0055556          $0.78
             Disposition                                         under contract for various properties (.2)
June 2020    Asset                  06/10/20 JR              140 Cont'd...received requested brokerage commission statements from real estate broker (.1)               0.1 0.0027778          $0.39
             Disposition
June 2020    Asset                  06/10/20 JR              140 update closing checklists regarding same (.3)                                                          0.3 0.0083333          $1.17
             Disposition
June 2020    Asset                  06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561          $3.80
             Disposition                                         against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                  06/12/20 JR              140 review email from K. Pritchard regarding new account information and wire instructions in              0.1 0.0027778          $0.39
             Disposition                                         preparation for the next tranche of properties to close (.1)
June 2020    Asset                  06/15/20 JR              140 review various reports and provide the restoration amounts (.5)                                        0.5 0.0138889          $1.94
             Disposition
June 2020    Asset                  06/15/20 JR              140 Review email from A. Porter and E. Duff regarding potential lender credit bid (.1)                     0.1 0.0027778          $0.39
             Disposition
June 2020    Asset                  06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                   0.2 0.0024691          $0.96
             Disposition                                         portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                  06/24/20 AEP             390 conference call with K. Duff, M. Rachlis, and receivership brokers regarding proposed list             1.2 0.0923077         $36.00
             Disposition                                         prices of final tranche of commercial properties (1.2).
June 2020    Asset                  06/24/20 JRW             260 Prepare publication notice and related exchange of correspondence with broker.                         1.0 0.0714286         $18.57
             Disposition
June 2020    Asset                  06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                         0.4 0.0049383          $1.93
             Disposition
June 2020    Asset                  06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).               1.5 0.0185185          $7.22
             Disposition
June 2020    Asset                  06/25/20 JRW             260 correspond with broker regarding addition to publication notice and revise same (.2).                  0.2 0.0142857          $3.71
             Disposition
June 2020    Asset                  06/25/20 JRW             260 Correspond with A. Porter and broker regarding sealed bid terms and conditions (.2)                    0.2 0.0142857          $3.71
             Disposition
June 2020    Asset                  06/26/20 AEP             390 review surveys performed on remaining receivership properties (1422 E 68th and 4533 S                  0.1         0.05      $19.50
             Disposition                                         Calumet) and update portfolio spreadsheet (.1)
June 2020    Asset                  06/26/20 JRW             260 Confer with real estate broker regarding expanded addresses of properties listed for sale and          0.2 0.0142857          $3.71
             Disposition                                         confer with A. Watychowicz regarding updating of master spreadsheet accordingly (.2)

June 2020    Asset                  06/26/20 JRW             260 revise draft publication notice (.1).                                                                  0.1 0.0071429          $1.86
             Disposition
June 2020    Asset                  06/30/20 AEP             390 edit and revise final proposed draft of notice of next tranche of receivership property sales          0.2 0.0153846          $6.00
             Disposition                                         (.2)


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2020    Asset                  06/30/20 JRW         260 Review and revise publication notice and related communications with broker, K. Duff and A.          0.3 0.0214286         $5.57
             Disposition                                     Porter (.3)
June 2020    Asset                  06/30/20 JRW         260 finalize publication notice and place with newspaper (.2).                                           0.2 0.0142857         $3.71
             Disposition
June 2020    Business               06/01/20 ED          390 Call with M. Rachlis to discuss allocation and computation of property expenditures by               0.7 0.0067961         $2.65
             Operations                                      receivership.
June 2020    Business               06/01/20 MR          390 Follow up on emails regarding issues on restoration (.7)                                             0.7 0.0162791         $6.35
             Operations
June 2020    Business               06/01/20 MR          390 conference with E. Duff regarding restoration of funds (.7).                                         0.7 0.0162791         $6.35
             Operations
June 2020    Business               06/02/20 ED          390 email correspondence with accountant and M. Rachlis regarding same (.4).                             0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/02/20 ED          390 Prepare analysis of sold properties owing rent restoration and review of related accounting          1.9 0.0184466         $7.19
             Operations                                      reports (1.9)
June 2020    Business               06/02/20 MR          390 Attention to issues on rent restoration and follow up from E. Duff.                                  0.3 0.0069767         $2.72
             Operations
June 2020    Business               06/03/20 ED          390 Call with accountant to discuss data for March accounting reports and review of related              1.0 0.0097087         $3.79
             Operations                                      documents and correspondence.
June 2020    Business               06/05/20 ED          390 Email correspondence with accountant and K. Pritchard regarding receivership property                0.2 0.0019417         $0.76
             Operations                                      expenditures during March 2020.
June 2020    Business               06/06/20 MR          390 Analysis of various issues on issues associated with restoration of funds.                           2.6 0.0604651        $23.58
             Operations
June 2020    Business               06/08/20 ED          390 Review analysis from J. Rak of restoration amounts from properties sold, and email                   0.2 0.0019417         $0.76
             Operations                                      correspondence with B. Fish regarding same.
June 2020    Business               06/08/20 MR          390 Attention to restoration issues.                                                                     0.3 0.0069767         $2.72
             Operations
June 2020    Business               06/09/20 MR          390 Attention to motion on restoration of funds.                                                         0.4 0.0090909         $3.55
             Operations
June 2020    Business               06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/12/20 MR          390 Conferences with K. Duff regarding restoration issues (.7)                                           0.7 0.0162791         $6.35
             Operations
June 2020    Business               06/12/20 MR          390 attention to emails regarding same (.2).                                                             0.2 0.0045455         $1.77
             Operations
June 2020    Business               06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                            0.5 0.0048544         $1.89
             Operations
June 2020    Business               06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting              0.6 0.0058252         $2.27
             Operations                                      reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)
June 2020    Business               06/23/20 MR          390 Attention to issues on restoration issues and information regarding same, and review                 1.2 0.0272727        $10.64
             Operations                                      restoration, and exchanges with E. Duff regarding same.


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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
June 2020    Business               06/24/20 AEP         390 Conference call with receivership accountant regarding proper completion of Form 1099-S             0.3 0.0090909         $3.55
             Operations                                      tax documents at closings of receivership properties.
June 2020    Business               06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)          0.2 0.0019417         $0.76
             Operations
June 2020    Business               06/24/20 ED          390 call with accountant to discuss same (.1).                                                          0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to              0.3 0.0036585         $0.51
             Operations                                      installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020    Business               06/29/20 JRW         260 review and revise restoration motion (.7).                                                          0.7 0.0162791         $4.23
             Operations
June 2020    Business               06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team              0.8 0.0109589         $1.53
             Operations                                      regarding same, and scan tax bills (.8).
June 2020    Business               06/30/20 JRW         260 multiple communications with litigation team regarding restoration motion and affected              0.5 0.0116279         $3.02
             Operations                                      properties (.5).
June 2020    Business               06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                      0.2 0.0027027         $0.70
             Operations
June 2020    Business               06/30/20 MR          390 Further work on restoration motion and several exchanges regarding same.                            3.0 0.0681818        $26.59
             Operations
June 2020    Claims                 06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor               0.3 0.0033708         $0.47
             Administration                                  regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                 06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                      2.4 0.0269663        $10.52
             Administration
             & Objections

June 2020    Claims                 06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).             2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 MR          390 Conferences regarding issues on brief.                                                              0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                        0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 Review and revise brief (3.5)                                                                       3.5 0.0393258        $15.34
             Administration
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
June 2020    Claims                 06/18/20 AEP         390 communications with K. Duff and receivership brokers regarding status of credit bid               0.4 0.0307692         $12.00
             Administration                                  submissions on all properties and timing of delivery of countersigned purchase and sale
             & Objections                                    agreements to prospective purchasers (.4).

July 2020    Business               07/01/20 KBD         390 Work on expenses and restoration issues with E. Duff, M. Rachlis, and K. Pritchard (1.3)          1.3 0.0302326         $11.79
             Operations
July 2020    Business               07/06/20 KBD         390 Exchange correspondence with E. Duff regarding sold properties, segregated funds, and             0.2 0.0046512          $1.81
             Operations                                      restoration motion.
July 2020    Business               07/07/20 KBD         390 Work on second restoration motion and exchange correspondence regarding same (2.3)                2.3 0.0534884         $20.86
             Operations
July 2020    Business               07/09/20 KBD         390 Study revised second restoration motion (.4)                                                      0.4 0.0093023          $3.63
             Operations
July 2020    Business               07/10/20 KBD         390 work on second restoration of funds motion (.3).                                                  0.3 0.0069767          $2.72
             Operations
July 2020    Business               07/12/20 KBD         390 Revise restoration motion and declaration (2.8)                                                   2.8 0.0651163         $25.40
             Operations
July 2020    Business               07/12/20 KBD         390 telephone conference with E. Duff regarding same (.2)                                             0.2 0.0046512          $1.81
             Operations
July 2020    Business               07/13/20 KBD         390 Study revised restoration motion and declaration (.5)                                             0.5 0.0116279          $4.53
             Operations
July 2020    Business               07/14/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047          $7.26
             Operations
July 2020    Business               07/15/20 KBD         390 Review property manager financial reporting.                                                      0.4       0.008        $3.12
             Operations
July 2020    Business               07/16/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047          $7.26
             Operations
July 2020    Business               07/17/20 KBD         390 telephone conference and exchange correspondence with E. Duff regarding same (.6)                 0.6 0.0139535          $5.44
             Operations
July 2020    Business               07/17/20 KBD         390 Work on restoration motion and declaration (1.5)                                                  1.5 0.0348837         $13.60
             Operations
July 2020    Business               07/19/20 KBD         390 Work on restoration motion, declaration, and exhibits.                                            2.0 0.0465116         $18.14
             Operations
July 2020    Business               07/20/20 KBD         390 Work on restoration motion, declaration, and exhibits (2.7)                                       2.7 0.0627907         $24.49
             Operations
July 2020    Business               07/21/20 KBD         390 Study and revise draft second restoration motion and declaration and exchange                     0.7 0.0162791          $6.35
             Operations                                      correspondence with K. Pritchard and M. Rachlis regarding same (.7)
July 2020    Business               07/22/20 KBD         390 Work on consolidated motion for property sales and funds restoration (.6)                         0.6 0.0139535          $5.44
             Operations
July 2020    Business               07/24/20 KBD         390 Draft proposed order for second restoration motion.                                               0.4 0.0093023          $3.63
             Operations
July 2020    Business               07/28/20 KBD         390 exchange correspondence with property manager, asset manager, and A. Porter regarding             0.1          0.1      $39.00
             Operations                                      lease (4541 Calumet) (.1)




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Claims                 07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and            0.3 0.0033708          $1.31
             Administration                                      J. Wine relating to same (.3)
             & Objections

July 2020    Asset                  07/01/20 AEP             390 numerous communications with counsel for prospective purchasers of all properties in next              0.7 0.0538462         $21.00
             Disposition                                         sales tranche regarding delivery of due diligence materials, receipt of earnest monies, and
                                                                 completion of additional documentation authorizing same (.7)

July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214          $1.77
             Disposition
July 2020    Asset                  07/01/20 JRW             260 Proof and correct publication notice.                                                                  0.3 0.0214286          $5.57
             Disposition
July 2020    Asset                  07/04/20 AEP             390 prepare e-mails to property managers identifying properties now under contract and                     0.1 0.0076923          $3.00
             Disposition                                         requesting no further capital expenditures or lease renewals absent receivership permission
                                                                 (.1)
July 2020    Asset                  07/20/20 AEP             390 prepare purchase and sale contracts for all Chicago-based apartment properties in final sales          2.4         0.16      $62.40
             Disposition                                         tranche (2.4)
July 2020    Asset                  07/23/20 JRW             260 Communicate with A. Porter regarding publication notices and certificates (.3)                         0.3 0.0214286          $5.57
             Disposition
July 2020    Asset                  07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                    4.4 0.0656716          $9.19
             Disposition                                         communications with EB team regarding same.
July 2020    Asset                  07/26/20 AEP             390 Prepare assignments and assumptions of rent and strict joint order escrow agreements for               3.2 0.2133333         $83.20
             Disposition                                         all properties in current marketing tranche and incorporate same into second-checked and
                                                                 proofread purchase and sale contracts, and distribute proposed final agreements to
                                                                 receivership brokers (3.2)
July 2020    Asset                  07/27/20 AEP             390 review spreadsheet of active administrative and housing court proceedings received from J.             0.5 0.0166667          $6.50
             Disposition                                         Wine and reconcile same with spreadsheet separately assembled to track all known
                                                                 receivership actions (.5).
July 2020    Asset                  07/28/20 AEP             390 review updated title commitments on all but two receivership properties in final marketing             0.4    0.028572       $11.14
             Disposition                                         tranche and revise portfolio spreadsheet accordingly (.4)
July 2020    Business               07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same               1.8 0.0666667          $9.33
             Operations                                          (1.8)
July 2020    Business               07/01/20 ED              390 telephone conference with K. Duff, M. Rachlis, and K. Pritchard regarding financial                    1.2    0.027907       $10.88
             Operations                                          information relating to same and analysis of content to include (1.2)
July 2020    Business               07/01/20 ED              390 email correspondence with M. Rachlis regarding comments, and regarding calculations (.1)               0.1 0.0023256          $0.91
             Operations
July 2020    Business               07/01/20 ED              390 Review draft motion regarding restoration of rent and receivership expenditures from                   0.6 0.0139535          $5.44
             Operations                                          proceeds of sale of certain properties (.6)
July 2020    Business               07/01/20 ED              390 email correspondence to M. Rachlis and K. Duff regarding calculations from with accountant             0.1 0.0023256          $0.91
             Operations                                          of restoration amounts due from properties (.1).
July 2020    Business               07/01/20 ED              390 follow up conversation with K. Pritchard regarding same (.1)                                           0.1 0.0023256          $0.91
             Operations




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/01/20 JRW             260 Review and comment on revisions to restoration motion (.3)                                             0.3 0.0069767         $1.81
             Operations
July 2020    Business               07/01/20 JRW             260 related review of spreadsheet (.1).                                                                    0.1 0.0023256         $0.60
             Operations
July 2020    Business               07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                  2.3 0.0343284         $4.81
             Operations                                          exhibits to restoration motion (2.3).
July 2020    Business               07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                  0.3 0.0044776         $0.63
             Operations                                          for exhibits to proposed restoration motion (.3)
July 2020    Business               07/01/20 MR              390 Conferences with K. Duff, E. Duff and K. Pritchard and attention to restoration issues.                0.6 0.0139535         $5.44
             Operations
July 2020    Business               07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in              3.5 0.0522388         $7.31
             Operations                                          narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                 same (3.5)
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/05/20 MR              390 Research on restoration motion and work on same.                                                       1.5 0.0348837        $13.60
             Operations
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 review and analysis of calculations of amounts reimbursable from proceeds of sold                      0.7 0.0162791         $6.35
             Operations                                          properties (.7)
July 2020    Business               07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008       $1.12
             Operations                                          properties in the estate.
July 2020    Business               07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
             Operations                                          upcoming payment on insurance premium funding (.2).
July 2020    Business               07/08/20 AW              140 Communicate with K. Pritchard regarding rent restoration motion and exhibits (.1)                      0.1 0.0023256         $0.33
             Operations
July 2020    Business               07/08/20 ED              390 Call with K. Duff regarding second restoration motion.                                                 0.3 0.0069767         $2.72
             Operations
July 2020    Business               07/09/20 MR              390 Further work on second restoration motion.                                                             1.0 0.0232558         $9.07
             Operations
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
             Operations                                          and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                 installment on insurance premium financing agreement, and communications with K. Duff
                                                                 and bank representatives regarding same (.5)
July 2020    Business               07/11/20 MR              390 Further work and research regarding second restoration motion and affidavit and revisions              2.5 0.0581395        $22.67
             Operations                                          to same.
July 2020    Business               07/13/20 AW              140 Attention to current draft of rent restoration motion, proofread and cite check same, draft            1.7 0.0395349         $5.53
             Operations                                          notice as per standing order, and email counsel regarding revisions.
July 2020    Business               07/13/20 ED              390 Update description and date relating to rent restoration and property reimbursement                    0.6 0.0139535         $5.44
             Operations                                          amounts in draft motion and declaration (.6)
July 2020    Business               07/13/20 MR              390 Further work on and revise second restoration motion.                                                  1.5 0.0348837        $13.60
             Operations
July 2020    Business               07/16/20 MR              390 Review and revise restoration motion and follow up regarding same.                                     0.9 0.0209302         $8.16
             Operations
July 2020    Business               07/17/20 AW              140 Email exchanges with K. Duff and E. Duff regarding exhibits to second restoration motion (.2)          0.2 0.0046512         $0.65
             Operations
July 2020    Business               07/17/20 ED              390 email correspondence to A. Watychowicz regarding content of exhibits (.1).                             0.1 0.0023256         $0.91
             Operations
July 2020    Business               07/17/20 ED              390 Further review and revision of draft declaration and motion relating to restoration motion             0.3 0.0069767         $2.72
             Operations                                          (.3)
July 2020    Business               07/17/20 ED              390 email correspondence with K. Duff regarding same (.2)                                                  0.2 0.0046512         $1.81
             Operations
July 2020    Business               07/20/20 ED              390 email correspondence with K. Duff (.2)                                                                 0.2 0.0046512         $1.81
             Operations
July 2020    Business               07/20/20 ED              390 email correspondence with accountant regarding same (.1).                                              0.1 0.0023256         $0.91
             Operations
July 2020    Business               07/20/20 ED              390 regarding second motion for restoration, and related and document review and revision (.5)             0.5 0.0116279         $4.53
             Operations
July 2020    Business               07/20/20 KMP             140 Revise restoration motion, affidavit, and exhibit and communicate with K. Duff and A.                  1.4 0.0325581         $4.56
             Operations                                          Watychowicz regarding same.
July 2020    Business               07/20/20 MR              390 Attention to completing restoration motion.                                                            1.2    0.027907      $10.88
             Operations
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/21/20 KMP             140 Revise restoration motion, affidavit, and exhibits, prepare electronic version, and                    0.9 0.0209302         $2.93
             Operations                                          communicate with K. Duff regarding same (.9)
July 2020    Business               07/21/20 MR              390 Review and follow up on motion regarding restoration.                                                  0.7 0.0162791         $6.35
             Operations
July 2020    Business               07/22/20 ED              390 review and comment on draft declaration in support of motion for restoration (.4)                      0.4 0.0093023         $3.63
             Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                            0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/22/20 ED              390 and email correspondence with property manager and accountant regarding same (.1).                   0.1 0.0023256          $0.91
             Operations
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the              0.3 0.0029126          $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports          0.3 0.0029126          $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).           0.2 0.0029851          $0.42
             Operations
July 2020    Business               07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                             0.2 0.0029851          $0.42
             Operations
July 2020    Business               07/23/20 JR              140 Update property address information to exhibit 2 to second restoration motion (.2)                   0.2 0.0046512          $0.65
             Operations
July 2020    Business               07/23/20 JR              140 exchange communication with K. Pritchard and K. Duff regarding same (.1)                             0.1 0.0023256          $0.33
             Operations
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                      3.7 0.0359223          $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                   0.5 0.0048544          $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                       0.6 0.0058252          $0.82
             Operations
July 2020    Business               07/24/20 KMP             140 electronically file same with court (.3)                                                             0.3 0.0044776          $0.63
             Operations
July 2020    Business               07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                            0.3 0.0044776          $0.63
             Operations
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to              0.8    0.007767        $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                   0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                       0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                       0.2 0.0019417          $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                           2.4    0.023301        $3.26
             Administration
             & Objections

July 2020    Claims                 07/01/20 JRW             260 Communicate with A. Watychowicz and J. Rak regarding property address (4533-37 S                     0.2          0.2      $52.00
             Administration                                      Calumet) and updating master claims sheet (.2)
             & Objections




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2020    Claims                 07/02/20 JRW         260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
             Administration                                  regarding discrepancies (.4)
             & Objections

July 2020    Claims                 07/07/20 ED          390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
             Administration                                  remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/07/20 ED          390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
             Administration                                  counsel (.4)
             & Objections

July 2020    Claims                 07/09/20 ED          390 and call (.1)                                                                                          0.1 0.0023256         $0.91
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 Review chart from accountant relating to reimbursable amounts from proceeds of sold                    0.3 0.0069767         $2.72
             Administration                                  properties (.3)
             & Objections

July 2020    Claims                 07/09/20 ED          390 email correspondence (.2) regarding same                                                               0.2 0.0046512         $1.81
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049         $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 review and revise draft of affidavit (1.2)                                                             1.2    0.027907      $10.88
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252         $2.27
             Administration
             & Objections

July 2020    Claims                 07/31/20 JRW         260 additional legal research and draft memo regarding motion to intervene (.8)                            0.8 0.0089888         $2.34
             Administration
             & Objections

August 2020 Asset                   08/06/20 KBD         390 Study analysis of offers on properties and confer with real estate broker, A. Porter, and M.           1.7    0.121431      $47.36
            Disposition                                      Rachlis regarding same.




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
August 2020 Asset                   08/07/20 KBD         390 Study offers to purchase properties and confer with real estate broker, M. Rachlis, and A.            0.7    0.050001       $19.50
            Disposition                                      Porter regarding same (.7)
August 2020 Asset                   08/10/20 KBD         390 telephone conference and exchange correspondence with real estate broker regarding offers             0.4    0.028572       $11.14
            Disposition                                      to purchase properties (.4).
August 2020 Asset                   08/11/20 KBD         390 Telephone conferences and exchange correspondence with real estate broker and M. Rachlis              0.9    0.064287       $25.07
            Disposition                                      regarding offers on properties.
August 2020 Asset                   08/13/20 KBD         390 exchange correspondence regarding estimated closing costs (.2).                                       0.2 0.0153846          $6.00
            Disposition
August 2020 Asset                   08/14/20 KBD         390 exchange correspondence with A. Porter regarding contract for property sale (4533-37                  0.2          0.2      $78.00
            Disposition                                      Calumet) (.2)
August 2020 Business                08/20/20 KBD         390 Exchange correspondence regarding real estate tax issue and potential move-in (4533                   0.2          0.2      $78.00
            Operations                                       Calumet).
August 2020 Business                08/25/20 KBD         390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                      0.1 0.0014085          $0.55
            Operations
August 2020 Claims                  08/03/20 KBD         390 analysis of claimant intervention motion and exchange correspondence with J. Wine                     0.3 0.0033708          $1.31
            Administration                                   regarding same (.3)
            & Objections

August 2020 Claims                  08/04/20 KBD         390 draft correspondence to other claimant's counsel regarding requests for records (.3)                  0.3 0.0037037          $1.44
            Administration
            & Objections

August 2020 Claims                  08/05/20 KBD         390 study correspondence from claimant's counsel regarding intervention motion (.1)                       0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                  08/08/20 KBD         390 Legal research regarding intervention motion and claims process and draft correspondence              1.3 0.0146067          $5.70
            Administration                                   to J. Wine regarding same.
            & Objections

August 2020 Claims                  08/12/20 KBD         390 exchange correspondence with counsel for claimant regarding bid information in connection             0.1          0.1      $39.00
            Administration                                   with property sale (.1).
            & Objections

August 2020 Asset                   08/06/20 AEP         390 Teleconference with K. Duff, M. Rachlis, and receivership brokers to review and analyze bids          1.5 0.1071429         $41.79
            Disposition                                      received in connection with current marketing tranche.
August 2020 Asset                   08/06/20 MR          390 Review of real estate sales pricing (.5)                                                              0.5 0.0384615         $15.00
            Disposition
August 2020 Asset                   08/06/20 MR          390 follow up regarding same with brokers and others (1.7).                                               1.7 0.1307692         $51.00
            Disposition
August 2020 Asset                   08/07/20 AEP         390 Teleconference with K. Duff, M. Rachlis, and receivership brokers to review and analyze               0.7         0.05      $19.50
            Disposition                                      offers received from prospective bidders.




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2020 Asset                   08/07/20 MR              390 Attention to sales issues and conferences regarding same.                                               0.7 0.0538462         $21.00
            Disposition
August 2020 Asset                   08/10/20 AEP             390 Teleconference with K. Duff, M. Rachlis, and receivership brokers to review offers.                     1.1 0.0785714         $30.64
            Disposition
August 2020 Asset                   08/10/20 MR              390 Participate in call regarding offers with asset manager, A. Porter, and K. Duff and review              1.1 0.0846154         $33.00
            Disposition                                          summary regarding same.
August 2020 Asset                   08/11/20 MR              390 participate in telephone conference with brokers and K. Duff following up on offers for                 0.8 0.0615385         $24.00
            Disposition                                          properties (.8).
August 2020 Asset                   08/12/20 AEP             390 prepare estimated closing costs for all properties in latest marketing tranche (1.8)                    1.8 0.1285714         $50.14
            Disposition
August 2020 Asset                   08/13/20 AEP             390 review rent restoration spreadsheets and finalize closing cost estimate spreadsheets for                1.4          0.1      $39.00
            Disposition                                          distribution to lenders associated with final marketing tranche (1.4).

August 2020 Asset                   08/14/20 AEP             390 review purchase and sale agreement submitted in connection with prospective purchase of                 0.1          0.1      $39.00
            Disposition                                          receivership property and forward same to K. Duff for counter-signature (.1)

August 2020 Asset                   08/14/20 AEP             390 send fully-executed contract relating to prospective sale of receivership property (4533 S              0.2          0.2      $78.00
            Disposition                                          Calumet) to title company with request for updated title invoice and send copy of same to
                                                                 buyer's counsel with wire instructions relating to earnest money deposit (.2)

August 2020 Asset                   08/14/20 AEP             390 teleconference with counsel for purchaser of receivership property (4533 S Calumet)                     0.2          0.2      $78.00
            Disposition                                          regarding due diligence inspection and timing of earnest money deposit (.2).

August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709          $0.14
            Disposition
August 2020 Asset                   08/18/20 AEP             390 follow-up conference call with counsel for prospective purchaser of receivership property               0.2          0.2      $78.00
            Disposition                                          (4533 S Calumet) regarding timing of due diligence inspection, deposit of earnest money, and
                                                                 rent prorations (.2)
August 2020 Asset                   08/19/20 AEP             390 Review contracts countersigned by K. Duff in connection with prospective sales of                       1.3      0.1625       $63.38
            Disposition                                          receivership properties (431 E 42nd, 816 E Marquette, 4317 S Michigan, 4533 S Calumet,
                                                                 4750 S Indiana, 7024 S Paxton, 7442 S Calumet, and 7701 S Essex), update checklists, make
                                                                 revisions as needed, and disseminate same to relevant buyers' counsel with earnest money
                                                                 deposit instructions.
August 2020 Asset                   08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699          $0.53
            Disposition                                          within eighth, ninth, and current tranches (.1)
August 2020 Asset                   08/20/20 AEP             390 read e-mails relating to prospective payment of real estate taxes at receivership property              0.2          0.2      $78.00
            Disposition                                          (4533 S Calumet) and acceptance of new lease application and convey relevant information
                                                                 to counsel for prospective purchaser (.2).
August 2020 Asset                   08/21/20 JR              140 exchange correspondence with property manager regarding payment of taxes for property                   0.2          0.2      $28.00
            Disposition                                          (4533 Calumet) related to prospective tenants (.2)
August 2020 Asset                   08/21/20 JR              140 exchange correspondence with A. Porter regarding same (4533 Calumet) (.1)                               0.1          0.1      $14.00
            Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
August 2020 Asset                   08/21/20 JR              140 further communication with buyer's counsel regarding same (4533 Calumet) (.1).                       0.1          0.1      $14.00
            Disposition
August 2020 Asset                   08/25/20 AEP             390 Conference with J. Rak to review status of execution of all purchase and sale agreements in          0.5 0.0357143         $13.93
            Disposition                                          most recent marketing tranche and deposits of earnest money and prepare e-mail to title
                                                                 company requesting confirmation of receipts of earnest monies (.5)

August 2020 Asset                   08/25/20 AEP             390 read e-mail from title company regarding earnest money deposits received thus far in                 0.2 0.0285714         $11.14
            Disposition                                          connection with receivership properties (4533-47 S Calumet, 7024-32 S Paxton, 4317 S
                                                                 Michigan, 7442 S Calumet, 7701 S Essex, 816 E Marquette, and 4750 S Indiana) and prepare e-
                                                                 mail to counsel for all buyers confirming receipt of same (.2)

August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same               0.4 0.0038095          $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                       1.9 0.0180952          $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/04/20 MR              390 Attention to issues on restoration motion and issues raised by lender.                               0.4 0.0093023          $3.63
            Operations
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with              0.8    0.007767        $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                             1.6 0.0152381          $5.94
            Operations
August 2020 Business                08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be             0.1 0.0011765          $0.46
            Operations                                           listed for sale (.1)
August 2020 Business                08/13/20 ED              390 review and analysis of related documents and reports (.2).                                           0.2 0.0023529          $0.92
            Operations
August 2020 Business                08/16/20 ED              390 Email to J. Wine regarding calculation of restoration due to properties (.2)                         0.2 0.0046512          $1.81
            Operations
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                              0.1 0.0009709          $0.38
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020            0.3 0.0029126          $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/20/20 JR              140 exchange correspondence with K. Duff and property management regarding same (4533 S.                 0.2          0.2      $28.00
            Operations                                           Calumet) (.2).
August 2020 Business                08/20/20 JR              140 Review email from property management regarding payment of real estate taxes for                     0.2          0.2      $28.00
            Operations                                           property (4533 S. Calumet) (.2)
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                0.3 0.0029126          $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager             0.2 0.0031746          $1.24
            Operations                                           (.2)
August 2020 Business                08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873          $0.62
            Operations




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
August 2020 Business                08/24/20 JR              140 Review various property tax balances.                                                               1.1 0.0152778          $2.14
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter              0.4 0.0038835          $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                        0.9      0.0125        $1.75
            Operations
August 2020 Business                08/25/20 MR              390 Attention to follow up on objections to restoration motion and review additional materials          0.3 0.0069767          $2.72
            Operations                                           regarding same.
August 2020 Business                08/26/20 MR              390 Attention to issues on rent restoration and follow up regarding same.                               0.3 0.0069767          $2.72
            Operations
August 2020 Claims                  08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'          0.9 0.0101124          $2.63
            Administration                                       motion to intervene (.9)
            & Objections

August 2020 Claims                  08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.          1.5 0.0168539          $4.38
            Administration                                       Duff and M. Rachlis (1.5)
            & Objections

September    Asset                  09/18/20 KBD             390 exchange correspondence with J. Wine regarding draft proposed order (.1).                           0.1 0.0023256          $0.91
2020         Disposition
September    Asset                  09/26/20 KBD             390 Study tenth motion to approve sales and exchange correspondence with real estate broker             0.5    0.035715       $13.93
2020         Disposition                                         and A. Porter regarding same (.5)
September    Asset                  09/28/20 KBD             390 Telephone conference with real estate agent regarding negotiation and communication with            0.1 0.0071429          $2.79
2020         Disposition                                         potential purchasers (.1)
September    Asset                  09/28/20 KBD             390 study tenth motion to approve sales (.3).                                                           0.3    0.021429        $8.36
2020         Disposition
September    Asset                  09/30/20 KBD             390 study revisions to and revise tenth motion to approve sales (1.2).                                  1.2    0.085716       $33.43
2020         Disposition
September    Business               09/15/20 KBD             390 review financial reporting from property manager (.2)                                               0.2 0.0040816          $1.59
2020         Operations
September    Business               09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding               0.3 0.0042857          $1.67
2020         Operations                                          payment of same (.3)
September    Business               09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and              0.7         0.01       $3.90
2020         Operations                                          lenders (.7)
September    Business               09/18/20 KBD             390 Study draft order for second restoration motion and exchange correspondence regarding               0.2 0.0046512          $1.81
2020         Operations                                          same (.2)
September    Business               09/21/20 KBD             390 exchange correspondence with K. Pritchard regarding restoration of funds (.1).                      0.1 0.0023256          $0.91
2020         Operations
September    Business               09/23/20 KBD             390 Attention to funds transfers for restoration (.2)                                                   0.2 0.0046512          $1.81
2020         Operations
September    Business               09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                0.1 0.0014925          $0.58
2020         Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
September    Asset                  09/02/20 AEP             390 inventory all purchase and sale contracts in most recent sales tranche and transmit copies of          0.2 0.0142857          $5.57
2020         Disposition                                         same to receivership brokers (.2).
September    Asset                  09/03/20 JR              140 review email from buyer's counsel requesting updates to subsidy leases for property (4534 S.           0.1          0.1      $14.00
2020         Disposition                                         Calumet) (.1)
September    Asset                  09/03/20 JR              140 exchange correspondence with property management regarding same (4534 S. Calumet) (.1)                 0.1          0.1      $14.00
2020         Disposition
September    Asset                  09/09/20 JR              140 review email request from property management related to documents of record for                       0.2          0.2      $28.00
2020         Disposition                                         property (4547 Calumet), perform web search and further correspondence related to same
                                                                 (4547 Calumet) (.2)
September    Asset                  09/09/20 JR              140 exchange communication with the title company regarding same (.4)                                      0.4    0.028572        $4.00
2020         Disposition
September    Asset                  09/09/20 JR              140 review deposits of earnest money for all tenth tranche properties (.3)                                 0.3    0.021429        $3.00
2020         Disposition
September    Asset                  09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                     1.8       0.025        $3.50
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                      0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                   0.2 0.0027778          $0.39
2020         Disposition                                         income available funds related to payment of tax balances (.2)
September    Asset                  09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                  0.2 0.0027778          $0.39
2020         Disposition                                         for all EB properties with sufficient funds (.2).
September    Asset                  09/14/20 AEP             390 begin preparation of tenth motion to confirm sales, locating and inserting data pertaining to          3.1    0.221433       $86.36
2020         Disposition                                         each property sale, including overview of bidder selection process, listing price, purchase
                                                                 price, identity of buyer, and anticipated brokerage commission (3.1).

September Asset                     09/14/20 JR              140 draft closing checklists containing relevant information and pertaining to the purchase and            0.7          0.7      $98.00
2020      Disposition                                            sale agreement, property, buyer, seller, lender information for various properties (4533 S.
                                                                 Calumet) (.7)
September    Asset                  09/14/20 JRW             260 Work with K. Duff and M. Rachlis on orders granting ninth motion to confirm sales and                  0.5 0.0192308          $5.00
2020         Disposition                                         preparation of tenth motion to confirm.
September    Asset                  09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for                 0.4 0.0074074          $1.93
2020         Disposition                                         restoration (.4)
September    Asset                  09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                     0.2 0.0037037          $0.96
2020         Disposition
September    Asset                  09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                   0.1 0.0014085          $0.20
2020         Disposition                                         of all EB properties (.1)
September    Asset                  09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                       0.1 0.0014085          $0.20
2020         Disposition                                         properties with sufficient funds (.1)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September Asset                     09/19/20 AEP             390 Review updated title commitments and invoices for all properties in tenth sales tranche,               2.5 0.1785714        $69.64
2020      Disposition                                            research files for evidence of insurance over special exceptions, and create list of action
                                                                 items for purposes of securing either releases or hold harmless letters, and e-mail title
                                                                 underwriter regarding proposed plan for deleting special exceptions (2.5)

September Asset                     09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                0.3 0.0042254         $0.59
2020      Disposition                                            regarding same for all remaining properties in the EquityBuild Estate (.3)

September Asset                     09/24/20 AEP             390 prepare e-mail to all counsel for purchasers of properties in tenth sales tranche regarding            0.3 0.0214286         $8.36
2020      Disposition                                            status of receipt of due diligence documents and anticipated closing timeframe (.3)

September Asset                     09/25/20 AEP             390 prepare second draft of tenth motion to confirm sales, inserting additional paragraphs                 4.5 0.3214286       $125.36
2020      Disposition                                            describing bidding history for each property and inserting references to all encumbrances to
                                                                 be deleted pursuant to judicial order (4.5).
September    Asset                  09/25/20 JR              140 review tax payments produced by property manager (.7).                                                 0.7 0.0097222         $1.36
2020         Disposition
September    Asset                  09/28/20 JRW             260 exchange correspondence with A. Porter regarding all administrative and housing court                  0.9    0.064287      $16.71
2020         Disposition                                         proceedings against properties involved in 10th sales motion and related research regarding
                                                                 same (.9).
September    Asset                  09/29/20 JRW             260 Finish analysis of administrative orders and proceedings regarding properties in tenth sales           0.9    0.064287      $16.71
2020         Disposition                                         motion.
September    Asset                  09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                 0.2 0.0030769         $0.43
2020         Disposition                                         payments (.2)
September    Asset                  09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed             0.1 0.0015873         $0.22
2020         Disposition                                         properties (.1)
September    Asset                  09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                  0.1 0.0015873         $0.22
2020         Disposition
September    Asset                  09/30/20 MR              390 Attention to tenth motion for approval of sales and issues on same.                                    0.6    0.042858      $16.71
2020         Disposition
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417         $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding          0.7 0.0098592         $1.38
2020         Operations                                          tax balances (.7).
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417         $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                    0.3 0.0029126         $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/08/20 MR              390 attention to issues on objections to restoration motion (.2).                                          0.2 0.0046512         $1.81
2020         Operations
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                      0.3 0.0029126         $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/09/20 MR              390 Further attention to issues on objections to restoration issues.                                       0.2 0.0046512         $1.81
2020         Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
September    Business               09/11/20 MR              390 Further work to review and revise response on second restoration motion.                              1.0 0.0232558         $9.07
2020         Operations
September    Business               09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                       0.2 0.0028169         $0.39
2020         Operations                                          payment of taxes of EquityBuild properties.
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting              1.2 0.0116505         $4.54
2020         Operations                                          (1.2)
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                        0.2 0.0019417         $0.76
2020         Operations
September    Business               09/18/20 JRW             260 Prepare order partially granting second restoration motion (.6)                                       0.6 0.0139535         $3.63
2020         Operations
September    Business               09/18/20 JRW             260 draft cover email to court regarding order partially granting second restoration motion (.3)          0.3 0.0069767         $1.81
2020         Operations
September    Business               09/18/20 MR              390 Attention to restoration order and emails on same.                                                    0.3 0.0069767         $2.72
2020         Operations
September    Business               09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)               0.2 0.0029851         $0.42
2020         Operations
September    Business               09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account            0.8 0.0119403         $1.67
2020         Operations                                          numbers for all properties subject to order (.8)
September    Business               09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                1.2 0.0171429         $2.40
2020         Operations
September    Business               09/22/20 JR              140 review email from property manager and update electronic files for various properties with            0.2 0.0028571         $0.40
2020         Operations                                          property tax receipts (.2)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly           0.2 0.0019417         $0.27
2020         Operations                                          (.2).
September    Business               09/22/20 KMP             140 Additional communications with bank representatives regarding opening of new accounts in              0.2 0.0054054         $0.76
2020         Operations                                          connection with anticipated account transfers to comply with restoration approved by court
                                                                 (.2)
September    Business               09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                2.1 0.0313433         $4.39
2020         Operations                                          (2.1)
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.             1.2 0.0116505         $4.54
2020         Operations
September    Business               09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)            0.2 0.0028571         $0.40
2020         Operations
September    Claims                 09/15/20 AW              140 revise proposed order and exhibit regarding rent restoration motion and email J. Wine                 0.1 0.0023256         $0.33
2020         Administration                                      regarding same (.1)
             & Objections

September Claims                    09/15/20 MR              390 further attention to reply on second restoration motion (.7).                                         0.7 0.0162791         $6.35
2020      Administration
          & Objections




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
September Claims                    09/18/20 AW              140 email J. Wine regarding spreadsheet related to second restoration motion (.1)                        0.1 0.0023256          $0.33
2020      Administration
          & Objections

September Claims                    09/18/20 AW              140 finalize exhibits for submission to proposed order email (.3)                                        0.3 0.0069767          $0.98
2020      Administration
          & Objections

October      Asset                  10/01/20 KBD             390 exchange correspondence with M. Rachlis regarding tenth sales motion (.2)                            0.2 0.0142857          $5.57
2020         Disposition
October      Asset                  10/02/20 KBD             390 Study and revise tenth sales motion.                                                                 1.2 0.0857143         $33.43
2020         Disposition
October      Asset                  10/04/20 KBD             390 Revise tenth motion to approve sales and exchange correspondence regarding same.                     0.5 0.0357143         $13.93
2020         Disposition
October      Asset                  10/05/20 KBD             390 Review revised tenth motion to approve sales and exchange correspondence regarding filing            0.5 0.0357143         $13.93
2020         Disposition                                         of same (.5)
October      Asset                  10/07/20 KBD             390 Work on tenth sales motion (.3)                                                                      0.3 0.0214286          $8.36
2020         Disposition
October      Asset                  10/23/20 KBD             390 draft correspondence to real estate broker regarding same (4533-47 South Calumet, 4317-19            0.1 0.0166667          $6.50
2020         Disposition                                         South Michigan, 7442-54 South Calumet, 7701-03 South Essex, 816-22 East Marquette, 431
                                                                 East 42nd Place) (.1)
October      Asset                  10/23/20 KBD             390 exchange correspondence with J. Wine regarding order approving sale of properties without            0.3         0.05      $19.50
2020         Disposition                                         objection in tenth motion to approve sales (4533- 47 South Calumet, 4317-19 South
                                                                 Michigan, 7442-54 South Calumet, 7701- 03 South Essex, 816-22 East Marquette, 431 East
                                                                 42nd Place) (.3)
October      Asset                  10/23/20 KBD             390 exchange correspondence with A. Porter and J. Wine regarding closing on sales of properties          0.2 0.0333333         $13.00
2020         Disposition                                         (4533-47 South Calumet, 4317-19 South Michigan, 7442-54 South Calumet, 7701-03 South
                                                                 Essex, 816-22 East Marquette, 431 East 42nd Place) (.2)
October      Business               10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                      0.2 0.0032258          $1.26
2020         Operations
October      Business               10/09/20 KBD             390 study financial reporting from property managers (.5)                                                0.5 0.0080645          $3.15
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                            0.2 0.0034483          $1.34
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571          $1.11
2020         Operations
October      Business               10/28/20 KBD             390 Exchange correspondence regarding order on second restoration motion (.2)                            0.2 0.0046512          $1.81
2020         Operations
October      Asset                  10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional              0.7 0.0112903          $1.58
2020         Disposition                                         lenders (.7)




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                        3.3 0.0320388          $4.49
2020         Disposition
October      Asset                  10/01/20 MR              390 Attention to issues on tenth motion for sales (.3)                                                     0.3 0.0214286          $8.36
2020         Disposition
October      Asset                  10/02/20 MR              390 Further attention to tenth sales motion.                                                               0.4 0.0285714         $11.14
2020         Disposition
October      Asset                  10/04/20 MR              390 Review and follow up on draft tenth sales motion.                                                      0.6 0.0428571         $16.71
2020         Disposition
October      Asset                  10/05/20 JR              140 draft water application in anticipation of closings (4533 S. Calumet) (.2)                             0.2          0.2      $28.00
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)              0.9 0.0087379          $1.22
2020         Disposition
October      Asset                  10/05/20 JRW             260 related communications with A. Watychowicz and K. Duff regarding service upon claimants                0.2 0.0142857          $3.71
2020         Disposition                                         by mail (.1) and with K. Pritchard regarding notice of motion (.1)
October      Asset                  10/05/20 JRW             260 Review and revise 10th motion to confirm sales (.1)                                                    0.1 0.0071429          $1.86
2020         Disposition
October      Asset                  10/05/20 JRW             260 prepare publication notice (.6).                                                                       0.6 0.0428571         $11.14
2020         Disposition
October      Asset                  10/05/20 KMP             140 finalize motion and related documents and file same with court (.4)                                    0.4 0.0285714          $4.00
2020         Disposition
October      Asset                  10/05/20 KMP             140 Prepare exhibits and notice for tenth motion to confirm sales (.6)                                     0.6 0.0428571          $6.00
2020         Disposition
October      Asset                  10/05/20 KMP             140 serve on defendant and all investors and claimants (1.0).                                              1.0 0.0714286         $10.00
2020         Disposition
October      Asset                  10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future            0.4 0.0064516          $2.52
2020         Disposition                                         marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                     0.5 0.0048544          $0.68
2020         Disposition                                         information (.5)
October      Asset                  10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding status of preparation for closing of tenth            0.2 0.0142857          $5.57
2020         Disposition                                         tranche of properties (4533-47 S Calumet Avenue, 4317-19 S Michigan Avenue, 7442-54 S
                                                                 Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette Road, 431 E 42nd Place, 4611-
                                                                 17 S Drexel Boulevard, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 7255-57 S
                                                                 Euclid Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue,
                                                                 7840-42 S Yates Avenue) (.2).
October      Asset                  10/21/20 JR              140 exchange correspondence with broker requesting commission statements on 14 properties                  0.1 0.0071429          $1.00
2020         Disposition                                         subject to tenth motion (.1)
October      Asset                  10/22/20 AEP             390 record remaining unresolved title exceptions associated with properties in tenth sales                 2.3 0.3833333        $149.50
2020         Disposition                                         tranche (4317 S Michigan, 4533 S Calumet, 4750 S Indiana, 6217 S Dorchester, 7024 S Paxton,
                                                                 and 7701 S Essex), begin researching same and preparing action plan for discussion with title
                                                                 underwriter (2.3).
October      Asset                  10/22/20 JR              140 draft closing documents for property (4533-47 S. Calumet) (1.5)                                        1.5          1.5     $210.00
2020         Disposition


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
October      Asset                  10/22/20 JR              140 draft rent roll regarding same (5433-47 S. Calumet) (.6)                                               0.6          0.6      $84.00
2020         Disposition
October      Asset                  10/22/20 JR              140 review lender objections to the 10th motion and exchange correspondence with A. Porter                 0.2 0.0142857          $2.00
2020         Disposition                                         regarding submitting water applications for processing of various properties not subject to
                                                                 lender objections (.2).
October      Asset                  10/23/20 AEP             390 read objection to tenth motion to confirm sales and proofread, reconcile, and revise                   1.8 0.1285714         $50.14
2020         Disposition                                         proposed order partially granting tenth motion as to property sales eliciting no objection
                                                                 (1.8)
October      Asset                  10/23/20 AEP             390 prepare email to counsel for all purchasers of receivership property subsumed within tenth             0.4 0.0285714         $11.14
2020         Disposition                                         motion to confirm regarding status of ruling on motion and anticipated timing of closings
                                                                 (.4).
October      Asset                  10/23/20 JR              140 request buyer information from buyer's counsel on various properties in preparation for                0.6          0.1      $14.00
2020         Disposition                                         submission of water applications (816 S. Marquette, 4317 S. Michigan, 4533 S. Calumet, 7442
                                                                 S. Calumet, 7701 S. Essex and 431 E. 42nd) (.6)
October      Asset                  10/23/20 JR              140 draft closing documents for property (4533-47 S. Calumet) (1.6)                                        1.6          1.6     $224.00
2020         Disposition
October      Asset                  10/23/20 JR              140 review commission statements received from broker related to the 10th motion, update                   0.6          0.2      $28.00
2020         Disposition                                         electronic files, closing checklists and closing figures for properties (431 E. 42nd, 4533 S.
                                                                 Calumet and 816 E. Marquette) (.6)
October      Asset                  10/23/20 JR              140 request title commitment updates regarding same (816 S. Marquette, 4317 S. Michigan,                   0.5 0.0833333         $11.67
2020         Disposition                                         4533 S. Calumet, 7442 S. Calumet, 7701 S. Essex and 431 E. 42nd) (.5)
October      Asset                  10/23/20 JR              140 prepare water applications for properties in preparation for closings (816 S. Marquette, 4317          1.2          0.2      $28.00
2020         Disposition                                         S. Michigan, 4533 S. Calumet, 7442 S. Calumet, 7701 S. Essex and 431 E. 42nd) (1.2).

October      Asset                  10/23/20 JRW             260 related communications with A. Porter and revisions to same (.3)                                       0.3         0.05      $13.00
2020         Disposition
October      Asset                  10/23/20 JRW             260 draft cover letter to court regarding proposed order (.2).                                             0.2 0.0333333          $8.67
2020         Disposition
October      Asset                  10/23/20 JRW             260 Prepare order partially granting tenth sales motion (.4)                                               0.4 0.0666667         $17.33
2020         Disposition
October      Asset                  10/23/20 KMP             140 Review online banking records to identify account numbers for distribution of proceeds for             0.4 0.0285714          $4.00
2020         Disposition                                         next tranche of properties to be offered for sale, and communicate with bank representative
                                                                 regarding establishing additional accounts in connection with same.

October      Asset                  10/25/20 AEP             390 review and update closing checklist for receivership property (4533 S Calumet), check status           0.4          0.4     $156.00
2020         Disposition                                         of payment of second installment 2019 property taxes and read e-mails from buyer's counsel
                                                                 regarding nominee and lender information, and prepare e-mail to title company requesting
                                                                 revisions to title commitment (.4)
October      Asset                  10/26/20 AEP             390 research files and public records and prepare hold harmless indemnity request letter to prior          1.4          1.4     $546.00
2020         Disposition                                         title insurer in connection with remaining clouds on title to receivership property (4533 S
                                                                 Calumet) (1.4)
October      Asset                  10/26/20 JR              140 update water application and closing checklist regarding same (4533 S. Calumet) (.2)                   0.2          0.2      $28.00
2020         Disposition


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
October      Asset                  10/26/20 JR              140 Review email from buyer's counsel regarding requested buyer information for property                  0.1          0.1      $14.00
2020         Disposition                                         (4533 S. Calumet) (.1)
October      Asset                  10/26/20 JR              140 exchange correspondence with the title company regarding same (4533 S. Calumet) (.1)                  0.1          0.1      $14.00
2020         Disposition
October      Asset                  10/26/20 JR              140 review email from title company regarding water applications and provide requested                    0.3         0.05       $7.00
2020         Disposition                                         information regarding same (816 S. Marquette, 4317 S. Michigan, 4533 S. Calumet, 7442 S.
                                                                 Calumet, 7701 S. Essex and 431 E. 42nd) (.3)
October      Asset                  10/26/20 JR              140 review email from K. Pritchard regarding requested bank account information for future                0.8 0.0571429          $8.00
2020         Disposition                                         closings and update closing documents regarding same (816 S. Marquette, 4317 S. Michigan,
                                                                 4533 S. Calumet, 7442 S. Calumet, 7701 S. Essex and 431 E. 42nd, 1422 E. 68th, 2800 E. 81st,
                                                                 4611 S. Drexel, 4750 S. Indiana, 6217 S. Dorchester, 7024 S. Paxton, 7255 S. Euclid, 7840 S.
                                                                 Yates) (.8).
October      Asset                  10/26/20 JRW             260 Revise proposed order on tenth sales motion and cover email to court clerk regarding                  0.4 0.0666667         $17.33
2020         Disposition                                         proposed order (4533-47 S Calumet Avenue, 4317-19 S Michigan Avenue, 7442-54 S Calumet
                                                                 Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette Road, 431 E 42nd Place).

October      Asset                  10/26/20 KMP             140 Revise chart regarding next tranche of properties to be offered for sale to identify account          0.3 0.0214286          $3.00
2020         Disposition                                         numbers for proceeds of same, and communicate with J. Rak regarding same.

October      Asset                  10/27/20 AEP             390 review proposed order partially granting tenth motion to confirm and provide comments to              0.1 0.0166667          $6.50
2020         Disposition                                         K. Duff (.1)
October      Asset                  10/27/20 JR              140 Review email from title company regarding water applications and update closing checklist             0.2 0.0333333          $4.67
2020         Disposition                                         relating to properties (816 S. Marquette, 4317 S. Michigan, 4533 S. Calumet, 7442 S.
                                                                 Calumet, 7701 S. Essex, 431 E. 42nd) (.2)
October      Asset                  10/29/20 AEP             390 review and analyze revised title commitments in connection with prospective sales of                  0.2          0.1      $39.00
2020         Disposition                                         receivership properties (4533 S Calumet and 816 E Marquette) and communicate with
                                                                 purchasers' counsel to confirm accuracy of lender information (.2)

October      Asset                  10/30/20 AW              140 Communicate with K. Duff regarding objections to ninth and tenth sale motions.                        0.4 0.0142857          $2.00
2020         Disposition
October      Asset                  10/30/20 JR              140 review orders entered granting 8th and 10th motion to approve sale and update electronic              0.3 0.0176471          $2.47
2020         Disposition                                         files relating to same (.3)
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).           0.2 0.0019417          $0.76
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                0.1 0.0009709          $0.38
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                  0.9 0.0087379          $3.41
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports              0.3 0.0029126          $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                    0.1 0.0009709          $0.38
2020         Operations




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Business               10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767        $3.03
2020         Operations                                      comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                             reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087          $3.79
2020         Operations
October      Business               10/07/20 KMP         140 Prepare form for wire transfer to financing company for payment of insurance premium                 0.3 0.0048387          $0.68
2020         Operations                                      financing installment and communications with K. Duff and bank representatives regarding
                                                             same.
October      Business               10/08/20 ED          390 review of premium finance agreements executed in connection with renewals of property                0.3 0.0048387          $1.89
2020         Operations                                      and liability insurance (.3)
October      Business               10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                   0.9 0.0145161          $5.66
2020         Operations                                      explanations of insurance expense for all unsold properties and inspection expenses for
                                                             certain properties (.9)
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631          $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544          $1.89
2020         Operations                                      reports (.5).
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796          $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252          $2.27
2020         Operations
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544          $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020         Operations                                      property manager (.2)
October      Business               10/23/20 JRW         260 Exchange correspondence with A. Porter regarding code violation (4533 S Calumet) (.2)                0.2          0.2      $52.00
2020         Operations
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED          390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020         Operations


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                    0.2 0.0019048          $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial              1.3    0.012381        $4.83
2020         Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October      Business               10/29/20 KMP             140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                     0.2 0.0033333          $0.47
2020         Operations                                          financing installments in light of various property sales.
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting                0.2 0.0019048          $0.74
2020         Operations                                          reports, and review of related financial information.
October      Business               10/30/20 KMP             140 prepare form for funds transfer to premium financing company for installment payment on               0.4 0.0066667          $0.93
2020         Operations                                          property insurance, and communicate with K. Duff and bank representatives regarding same
                                                                 (.4)
October      Business               10/30/20 KMP             140 Communication with insurance broker regarding updated payment schedules for insurance                 0.2 0.0033333          $0.47
2020         Operations                                          premium financing installments in light of various property sales (.2)
November     Asset                  11/11/20 KBD             390 Work on closing documents (4315 Michigan, 4533 Calumet, 6949 Merrill, 7600 Kingston,                  1.0 0.1428571         $55.71
2020         Disposition                                         7656 Kingston, 7442 Calumet, 7701 Essex) (1.0)
November     Business               11/13/20 KBD             390 study property manager financial reporting (.3).                                                      0.3 0.0065217          $2.54
2020         Operations
November     Asset                  11/05/20 AEP             390 e-mail communications with counsel for prospective purchaser of receivership property                 0.1          0.1      $39.00
2020         Disposition                                         (4533 S Calumet) regarding scheduling of closing (.1)
November     Asset                  11/05/20 JR              140 review email from buyer's counsel regarding scheduling of closing (4533 S. Calumet) and               0.2          0.2      $28.00
2020         Disposition                                         respond accordingly (.2)
November     Asset                  11/06/20 AW              140 compile exhibits to same and prepare transmittal email to claimants (.4).                             0.4 0.0285714          $4.00
2020         Disposition
November     Asset                  11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                          0.7    0.012069        $1.69
2020         Disposition
November     Asset                  11/06/20 JRW             260 Review and revise multiple drafts of response to lenders' objections to 10th sales motion             1.8 0.1285714         $33.43
2020         Disposition                                         (1.8)
November     Asset                  11/06/20 JRW             260 work with K. Pritchard to finalize and file response brief (.3).                                      0.3 0.0214286          $5.57
2020         Disposition
November     Asset                  11/06/20 JRW             260 review and revise declaration (.2)                                                                    0.2 0.0142857          $3.71
2020         Disposition
November     Asset                  11/09/20 AEP             390 communications with counsel for prospective purchaser of receivership property (4533 S                0.2          0.2      $78.00
2020         Disposition                                         Calumet) regarding scheduling of closing (.2)
November     Asset                  11/09/20 AEP             390 teleconference with J. Rak regarding preparation for, and status of, next six scheduled               0.2 0.0285714         $11.14
2020         Disposition                                         closings (.2)
November     Asset                  11/09/20 JR              140 exchange correspondence with property management providing latest closing confirmations               0.2         0.05       $7.00
2020         Disposition                                         for various properties (816 E. Marquette, 7442 S. Calumet, 7701 S. Essex, 4533 S. Calumet)
                                                                 (.2).
November     Asset                  11/09/20 JR              140 follow up with the title company water department on water applications previously                    0.2 0.0285714          $4.00
2020         Disposition                                         submitted for processing (816 E. Marquette, 4533 S. Calumet, 7442 S. Calumet, 7701 S. Essex,
                                                                 6949 S. Merrill, 7600 S. Kingston and 7656 S. Kingston) (.2)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
November     Asset                  11/10/20 AEP             390 review and revise remaining closing documents associated with prospective sale of                       0.8          0.8     $312.00
2020         Disposition                                         receivership property (4533 S Calumet) (.8)
November     Asset                  11/10/20 AW              140 Work on finalization of closing documents for seven properties (4315 S Michigan, 4533 S                 1.6 0.2285714         $32.00
2020         Disposition                                         Calumet, 6949-59 S Merrill Avenue, 7442 S Calumet, 7600 S Kingston, 7656 S Kingston, 7701 S
                                                                 Essex) (1.6)
November     Asset                  11/10/20 JR              140 Review email from the title company requesting water meter pictures for processing of                   0.1         0.05       $7.00
2020         Disposition                                         water applications (816 S. Marquette and 4533 S. Calumet) (.1)
November     Asset                  11/10/20 JR              140 exchange correspondence with property management regarding same (816 S. Marquette                       0.1         0.05       $7.00
2020         Disposition                                         and 4533 S. Calumet) (.1)
November     Asset                  11/10/20 JR              140 update closing documents related to properties (7600 Kingston, 7656 Kingston, 6949 S.                   2.9         0.58      $81.20
2020         Disposition                                         Merrill, 4533 Calumet, 4317 Michigan) (2.9)
November     Asset                  11/10/20 JR              140 exchange correspondence with A. Watychowicz relating to assisting in execution of closing               0.3         0.06       $8.40
2020         Disposition                                         documents (7600 Kingston, 7656 Kingston, 6949 S. Merrill, 4533 Calumet, 4317 Michigan)
                                                                 (.3)
November     Asset                  11/10/20 JR              140 request same from property manager and provide to buyer's counsel (4533 S. Calumet) (.1).               0.1          0.1      $14.00
2020         Disposition
November     Asset                  11/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                              0.1         0.02       $2.80
2020         Disposition
November     Asset                  11/10/20 JR              140 review email from buyer's counsel requesting property information (4533 S. Calumet) (.1)                0.1          0.1      $14.00
2020         Disposition
November     Asset                  11/11/20 JR              140 Prepare closing documents for execution for various properties (4317 S. Michigan, 4533 S.               1.3 0.1857143         $26.00
2020         Disposition                                         Calumet, 7442 S. Calumet, 7701 S. Essex, 6949 S. Merrill, 7600-10 S Kingston Avenue, 7656 S.
                                                                 Kingston) (1.3)
November     Asset                  11/11/20 JR              140 review requested water meter picture for property (4533 S. Calumet), update electronic files            0.2          0.2      $28.00
2020         Disposition                                         and forward to the title company for processing (.2)
November     Asset                  11/11/20 JR              140 meeting with K. Duff regarding execution of closing documents for same (4317 S. Michigan,               1.2 0.1714286         $24.00
2020         Disposition                                         4533 S. Calumet, 7442 S. Calumet, 7701 S. Essex, 6949 S. Merrill, 7600-10 S Kingston Avenue,
                                                                 7656 S. Kingston) (1.2)
November     Asset                  11/12/20 JR              140 review email from property management regarding requested water meter information for                   0.1          0.1      $14.00
2020         Disposition                                         property (4533 S. Calumet) and request clarification for same (.1)
November     Asset                  11/12/20 JR              140 update notices to tenants and request approval from buyer's counsel related to property                 0.4          0.4      $56.00
2020         Disposition                                         (4533 S. Calumet) (.4)
November     Asset                  11/12/20 JR              140 review broker lien waivers for various properties (816 E. Marquette, 4317 S. Michigan, 4533             0.3         0.06       $8.40
2020         Disposition                                         S. Calumet, 7442 S. Calumet, 7701 S. Essex) and request execution of same from broker (.3)

November     Asset                  11/13/20 JR              140 review requested and executed broker lien waivers and update electronic files (816 E.                   0.3         0.06       $8.40
2020         Disposition                                         Marquette, 4317 S. Michigan, 4533 S. Calumet, 7442 S. Calumet, 7701 S. Essex) (.3)

November     Asset                  11/19/20 JR              140 review emails and follow up correspondence with buyer and buyer's counsel regarding                     0.2          0.2      $28.00
2020         Disposition                                         status of tenant notices related to property (4533 S. Calumet) (.2)
November     Asset                  11/19/20 JR              140 finalize tenant notice letters for property in anticipation for closing (4533 S. Calumet) (.9)          0.9          0.9     $126.00
2020         Disposition




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  Invoice                                          Time                                                                                                                            Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                             Hours         Fees
November     Asset                  11/19/20 JR              140 review leases and update certified rent roll for anticipated closing (4533 S. Calumet) (.8).                0.8          0.8     $112.00
2020         Disposition
November     Asset                  11/20/20 JR              140 review subsidy agreements and update rent roll for closing (4533 S. Calumet) (.4)                           0.4          0.4      $56.00
2020         Disposition
November     Asset                  11/20/20 JR              140 finalize review of leases for property (4533 S. Calumet) and update rent roll for closing (.4)              0.4          0.4      $56.00
2020         Disposition
November     Asset                  11/20/20 JR              140 exchange correspondence with property management requesting missing leases and subsidy                      0.2          0.2      $28.00
2020         Disposition                                         agreements for property (4533 S. Calumet) (.2)
November     Asset                  11/23/20 AEP             390 read correspondence from counsel for purchaser of receivership property (4533 S Calumet),                   0.3          0.3     $117.00
2020         Disposition                                         revise and transmit preliminary seller figures, and provide notice of potentially substantial
                                                                 prepaid rent credits (.3)
November     Asset                  11/23/20 JR              140 review email from property management regarding requested documents for closing and                         0.1          0.1      $14.00
2020         Disposition                                         respond accordingly (4533 S. Calumet) (.1)
November     Asset                  11/23/20 JR              140 draft transfer declaration form for property (4533 S. Calumet) (.3)                                         0.3          0.3      $42.00
2020         Disposition
November     Asset                  11/23/20 JR              140 review email and requested documents from property management and update electronic                         0.2          0.2      $28.00
2020         Disposition                                         files (.2)
November     Asset                  11/23/20 JR              140 follow up correspondence with property management requesting missing leases and subsidy                     0.1          0.1      $14.00
2020         Disposition                                         agreements for property (4533 S. Calumet) in preparation for closing (.1)

November     Asset                  11/24/20 AEP             390 Read e-mail from counsel for prospective purchaser of receivership property (4533 S                         0.4          0.4     $156.00
2020         Disposition                                         Calumet), prepare preliminary computations of prepaid rent and water credits based on
                                                                 review of utility bills and prepare response thereto (.4)
November     Asset                  11/24/20 JR              140 further correspondence with the property manager regarding additional requests for                          0.2          0.2      $28.00
2020         Disposition                                         processing of same (4533 S. Calumet) (.2)
November     Asset                  11/24/20 JR              140 Review email from title company water department regarding status of application (4533 S.                   0.1          0.1      $14.00
2020         Disposition                                         Calumet) (.1)
November     Asset                  11/24/20 JR              140 review email from property management regarding requested due diligence documents for                       0.2          0.2      $28.00
2020         Disposition                                         property in preparation for closing (4533 S. Calumet) and update electronic files (.2)

November     Asset                  11/24/20 JR              140 finalize mailings for notice letter to tenants in anticipation of delivery to tenants post-closing          1.0          0.2      $28.00
2020         Disposition                                         (4317 S. Michigan, 4533 S. Calumet, 6949 S. Merrill, 7600 S. Kingston, 7656 S. Kingston) (1.0).

November     Asset                  11/30/20 JR              140 review email from property management regarding requested updated due diligence                             1.5          1.5     $210.00
2020         Disposition                                         documents and water meter information (4533 S. Calumet), update electronic files and
                                                                 update rent roll in anticipation for closing (1.5)
November     Asset                  11/30/20 JR              140 exchange corrrespondence with the title company providing water meter information for                       0.2          0.2      $28.00
2020         Disposition                                         same (4355 S. Calumet) (.2)
November     Asset                  11/30/20 JR              140 finalize notice to tenant letters for closing (4533 S. Calumet) (.4)                                        0.4          0.4      $56.00
2020         Disposition
November     Asset                  11/30/20 JR              140 exchange correspondence with the title company providing all documents in preparation for                   0.2          0.2      $28.00
2020         Disposition                                         closing (4533 S. Calumet) (.2)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
November     Asset                  11/30/20 JR              140 prepare and finalize all documents for closings (4533 S. Calumet, 6949 S. Merrill) (2.9)               2.9         1.45     $203.00
2020         Disposition
November     Asset                  11/30/20 MR              390 Attention to property sales and management.                                                            0.5 0.0714286         $27.86
2020         Disposition
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                        1.0 0.0095238          $3.71
2020         Operations
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership                0.7 0.0066667          $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)                0.3 0.0050847          $1.98
2020         Operations
November     Business               11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                                 0.2 0.0033898          $1.32
2020         Operations
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                        0.3 0.0028571          $1.11
2020         Operations
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                   0.3 0.0028571          $1.11
2020         Operations                                          property reports (.3)
November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                      0.6 0.0057143          $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email                0.7 0.0066667          $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/09/20 KMP             140 Effectuate blast email service for reply in support of tenth motion to approve property sales          0.6 0.0428571          $6.00
2020         Operations                                          (.6)
November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still                 0.1 0.0009524          $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                  0.2 0.0019048          $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June                 0.3 0.0028571          $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)               1.2 0.0193548          $2.71
2020         Operations
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                    0.5 0.0047619          $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                  0.3 0.0028571          $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
December     Asset                  12/10/20 KBD             390 exchange correspondence regarding water bill issue (4533 S. Calumet) (.2).                             0.2          0.2      $78.00
2020         Disposition
December     Asset                  12/22/20 KBD             390 exchange correspondence regarding water bill issue for closed property (4533 Calumet) (.1)             0.1          0.1      $39.00
2020         Disposition




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Business               12/23/20 KBD             390 Attention to payment of property expenses (1401 W 109th, 4533 S Calumet).                                0.4          0.2      $78.00
2020         Operations
December     Asset                  12/01/20 AEP             390 correspondence with counsel for purchaser of receivership property (4533 S Calumet)                      0.2          0.2      $78.00
2020         Disposition                                         regarding demand for additional rent credits (.2)
December     Asset                  12/01/20 AEP             390 prepare proration agreement governing post-closing collection of rents at receivership                   0.3          0.3     $117.00
2020         Disposition                                         property (4533 S Calumet) (.3)
December     Asset                  12/01/20 AEP             390 review final settlement statement for closing of receivership property (4533 S Calumet) (.1)             0.1          0.1      $39.00
2020         Disposition
December     Asset                  12/01/20 AEP             390 reconcile final drafts of certified rent roll associated with receivership property (4533 S              0.3          0.3     $117.00
2020         Disposition                                         Calumet), compute final proposed prepaid rent credit and rent prorations, and transmit
                                                                 same to counsel for purchaser with explanation (.3)
December     Asset                  12/01/20 JR              140 attend closing (4355 S. Calumet) (2.9)                                                                   2.9          2.9     $406.00
2020         Disposition
December     Asset                  12/01/20 JR              140 Exchange correspondence with property management regarding final reports needed for                      0.3         0.15      $21.00
2020         Disposition                                         closings (6949 S. Merrill and 4533 S. Calumet) (.3)
December     Asset                  12/01/20 JR              140 exchange correspondence with buyer producing all leases and subsidy contracts related to                 0.2          0.2      $28.00
2020         Disposition                                         sale of property (4533 S. Calumet) (.2)
December     Asset                  12/02/20 KMP             140 Review online bank records to confirm receipt of proceeds from sales of property (6949 S                 0.2          0.1      $14.00
2020         Disposition                                         Merrill, 4533 S Calumet) and communicate with K. Duff and J. Rak regarding same (.2)

December     Asset                  12/07/20 JR              140 review closing documents for various properties and organize electronic files (4317 S.                   2.1         0.35      $49.00
2020         Disposition                                         Michigan, 7701 S. Essex, 7656 S. Kingston, 7600 S. Kingston, 6949 S. Merrill, 4533 S. Calumet)
                                                                 (2.1)
December     Asset                  12/09/20 AEP             390 review settlement statements from numerous recent closings of receivership properties and                0.3      0.0375       $14.63
2020         Disposition                                         update portfolio spreadsheet with relevant data (.3)
December     Asset                  12/10/20 AEP             390 teleconference with J. Rak regarding overage of water invoices following sale of receivership            0.2          0.2      $78.00
2020         Disposition                                         property (4533 S Calumet) and finalization of rent roll associated with single-family home
                                                                 portfolio (.2)
December     Asset                  12/10/20 AEP             390 prepare e-mail to K. Duff regarding issues associated with water bill for receivership property          0.1          0.1      $39.00
2020         Disposition                                         (4533 S Calumet) (.1)
December     Asset                  12/10/20 JR              140 additional communication with the City of Chicago water department requesting explanation                0.5          0.5      $70.00
2020         Disposition                                         to high water balance for property (4533 S. Calumet) (.5).
December     Asset                  12/10/20 JR              140 further communication with K. Pritchard, A. Porter and K. Duff regarding same (.2)                       0.2          0.2      $28.00
2020         Disposition
December     Asset                  12/10/20 JR              140 review email from the title company regarding water balance for previously sold property                 0.1          0.1      $14.00
2020         Disposition                                         (4533 S. Calumet) and respond accordingly (.1)
December     Asset                  12/10/20 KMP             140 Communicate with K. Duff, A. Porter, J. Wine and J. Rak regarding unpaid water bill balance              0.2          0.2      $28.00
2020         Disposition                                         subsequent to property closing (4553 S Calumet) and potential solutions.

December     Asset                  12/11/20 JR              140 follow up correspondence with City of Chicago water department inquiring about a water bill              0.1          0.1      $14.00
2020         Disposition                                         for property (4533 S. Calumet) (.1)
December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                    0.9 0.0155172          $2.17
2020         Disposition                                         discrepancy (.9)


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
December     Asset                  12/18/20 JR              140 follow up correspondence with the City of Chicago water department requesting an update               0.2          0.2      $28.00
2020         Disposition                                         on the water bill for property (4533 S. Calumet) (.2)
December     Asset                  12/21/20 AEP             390 teleconference with J. Rak regarding water delinquency on receivership property (4533 S               0.1          0.1      $39.00
2020         Disposition                                         Calumet) (.1)
December     Asset                  12/21/20 JR              140 exchange correspondence with the title company regarding additional fees and charges for              0.3          0.3      $42.00
2020         Disposition                                         payment of final water bill (4355 S. Calumet) (.3)
December     Asset                  12/21/20 JR              140 review water statements and exchange correspondence with J. Wine, K. Duff and K.                      0.2          0.2      $28.00
2020         Disposition                                         Pritchard related to final water payment for previously sold property (4355 S. Calumet) (.2)

December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report             0.1 0.0017241          $0.24
2020         Disposition                                         (.1)
December     Asset                  12/21/20 JR              140 follow up correspondence with the title company confirming the final water bill amount for            0.1          0.1      $14.00
2020         Disposition                                         payment (4355 S. Calumet) (.1)
December     Asset                  12/21/20 KMP             140 Study communication from J. Rak confirming outstanding amount due for utility payment                 0.2          0.2      $28.00
2020         Disposition                                         from recent closing on sale of property (4533 S Calumet) and confer with K. Duff regarding
                                                                 same.
December     Asset                  12/22/20 JR              140 exchange correspondence with K. Pritchard and the title company regarding payment of final            0.2          0.2      $28.00
2020         Disposition                                         water bill regarding a previously sold property (4533 S. Calumet) (.2)

December     Asset                  12/23/20 JR              140 exchange correspondence with the title company and K. Pritchard regarding the updated                 0.6          0.6      $84.00
2020         Disposition                                         water balance for property and payment of same (4533 S. Calumet) (.6).
December     Asset                  12/23/20 JR              140 Review email from K. Duff and provide requested sold property information for the 3rd                 0.2         0.01       $1.40
2020         Disposition                                         quarter 2020 (.2)
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/03/20 KMP             140 Review spreadsheet relating to property closings and communicate with insurance broker to             0.2         0.02       $2.80
2020         Operations                                          advise of recent closings (.2)
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                      0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                  0.4 0.0044944          $1.75
2020         Operations
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and            2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                             1.2 0.0114286          $4.46
2020         Operations
December     Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from             2.6 0.0247619          $9.66
2020         Operations                                          property managers (2.6).
December     Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                 0.1 0.0009524          $0.37
2020         Operations                                          preparation of September property accounting reports (.1)
December     Business               12/10/20 JRW             260 exchange correspondence with K. Duff and A. Porter regarding payment due to title                     0.2          0.2      $52.00
2020         Operations                                          company (4533 S. Calumet) (.2)




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                    1.2 0.0114286          $4.46
2020         Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                       1.5 0.0142857          $5.57
2020         Operations
December     Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to              0.9 0.0085714          $3.34
2020         Operations                                          properties (.9).
December     Business               12/17/20 JRW             260 correspond with J. Rak regarding payment of water bill (4533 S Calumet) (.1)                             0.1          0.1      $26.00
2020         Operations
December     Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and                0.4 0.0038095          $1.49
2020         Operations                                          changes (.4)
December     Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                    0.2 0.0019048          $0.74
2020         Operations
December     Business               12/22/20 KMP             140 prepare request form for funds transfer to title company for final payment on utilities for              0.2          0.2      $28.00
2020         Operations                                          sold property (4533 S Calumet) and communicate with K. Duff and J. Rak regarding same (.2).

December     Business               12/23/20 KMP             140 revise request form for funds transfer to title company for final payment on utilities for sold          0.2          0.2      $28.00
2020         Operations                                          property (4533 S Calumet) and communicate with K. Duff, J. Rak, and bank representatives
                                                                 regarding same (.2)
December     Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule                   0.4 0.0038095          $1.49
2020         Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                 agreements, and updates to schedule of properties.
December     Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                         0.2 0.0019048          $0.74
2020         Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                 relating to same.
December     Claims                 12/04/20 JRW             260 exchange correspondence with E. Duff regarding loan issue (.2)                                           0.2 0.0022472          $0.58
2020         Administration
             & Objections

January      Asset                  01/06/21 KBD             390 exchange correspondence with A. Porter regarding tenth motion to approve sales and timing                0.1 0.0071429          $2.79
2021         Disposition                                         for ruling (.1)
January      Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                         0.2 0.0019048          $0.74
2021         Operations
January      Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property                 0.2 0.0019048          $0.74
2021         Operations                                          expenses.
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                       0.1 0.0009524          $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                  2.2 0.0203704          $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.


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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)               0.5 0.0047619         $1.86
2021         Operations
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                       0.1 0.0009524         $0.37
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                     0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                          report (.2)
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                               0.4 0.0038095         $1.49
2021         Operations
January      Business               01/15/21 KMP             140 revise list of EB entities to include tax identification numbers (.5).                             0.5 0.0178571         $2.50
2021         Operations
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration           1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review              0.3 0.0028571         $1.11
2021         Operations                                          (.3).


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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021         Operations
January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143         $0.80
2021         Administration                                      lenders.
             & Objections




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
February     Business               02/10/21 KBD             390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                   0.4 0.0093023         $3.63
2021         Operations                                          Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                 Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                 1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue) (.4).

February     Business               02/15/21 KBD             390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S                 0.3 0.0069767         $2.72
2021         Operations                                          Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                 Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                 1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue) (.3).

February     Asset                  02/11/21 JR              140 review email from K. Duff and provide requested closing dates regarding January results              0.2 0.0181818         $2.55
2021         Disposition                                         summary (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                 4611-17 S Drexel Boulevard, 7749-59 S Yates Boulevard, 1131-41 E 79th Avenue, 4533-47 S
                                                                 Calumet Avenue, 6217-27 S Dorchester Avenue, 1414-18 East 62nd Place, 6949-59 S Merrill
                                                                 Avenue, 7024-32 S Paxton Avenue) (.2).
February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697         $0.51
2021         Disposition                                         and status of same (.4)
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644         $4.63
2021         Operations
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797         $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048         $0.74
2021         Operations                                          of October 2020 accounting reports.




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
February   Business                 02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,                3.2 0.0304762          $4.27
2021       Operations                                            November and December and produce same in preparation for review.
February   Business                 02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                  1.1 0.0104762          $4.09
2021       Operations
February   Business                 02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                    3.6 0.0342857          $4.80
2021       Operations
February   Business                 02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                              0.2 0.0019048          $0.27
2021       Operations
February   Business                 02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial              0.3 0.0028571          $0.40
2021       Operations                                            reporting.
March 2021 Asset                    03/24/21 KBD             390 Telephone conference with real estate broker regarding tenth motion to approve sales and               0.2 0.0142857          $5.57
           Disposition                                           timing (.2)
March 2021 Business                 03/05/21 KBD             390 Study property manager financial reporting (4533-47 S Calumet Avenue, 6949-59 S Merrill                0.2          0.1      $39.00
           Operations                                            Avenue).
March 2021 Asset                    03/02/21 JR              140 Review email from K. Pritchard regarding notices relating to various properties, review, save          0.5 0.0384615          $5.38
           Disposition                                           in electronic property files and forward to K. Duff, J. Wine and A. Porter (4533-47 S Calumet
                                                                 Avenue, SSDF5 Portfolio 1 LLC, 7110 S Cornell Avenue, 4520-26 S Drexel Boulevard, 7109-19 S
                                                                 Calumet Avenue, 7600-10 S Kingston Avenue, 6554-58 S Vernon Avenue, 4611-17 S Drexel
                                                                 Boulevard, 7656-58 S Kingston Avenue, 4533-47 S Calumet Avenue).

March 2021 Asset                    03/02/21 KMP             140 Communication with J. Rak regarding confirmation of payment to title company for post-                 0.2          0.2      $28.00
           Disposition                                           closing balance of utility bill (4533-47 S Calumet Avenue).
March 2021 Asset                    03/04/21 AEP             390 Teleconference with receivership broker regarding status of ruling on tenth motion to                  0.1 0.0071429          $2.79
           Disposition                                           confirm sales (.1)
March 2021 Asset                    03/04/21 KMP             140 Exchange correspondence with property manager regarding post-sale reconciliations and                  0.2          0.1      $14.00
           Disposition                                           anticipated deposits to property accounts (4533-47 Calumet Avenue, 6949-59 S Merrill
                                                                 Avenue) in connection with same.
March 2021 Asset                    03/05/21 KMP             140 Attention to receipt of final post-sale reconciliation reports from property manager and               0.3         0.15      $21.00
           Disposition                                           check property accounts to confirm receipt of final distributions (4533-47 S Calumet Avenue,
                                                                 6949-59 S Merrill Avenue).
March 2021 Asset                    03/17/21 JRW             260 correspondence to courtroom deputy regarding pending motions (.2).                                     0.2 0.0142857          $3.71
           Disposition
March 2021 Asset                    03/31/21 JRW             260 review court's decision granting remainder of tenth sales motion and related                           0.3 0.0214286          $5.57
           Disposition                                           correspondence regarding order (.3).
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                            2.2 0.0209524          $8.17
           Operations
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                     0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                  0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                   0.2 0.0019048          $0.74
           Operations




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                   03/03/21 JR              140 review documents and save in electronic files pertaining to same (4533-47 S Calumet                 0.4          0.4      $56.00
           Administration                                        Avenue) (.4)
           & Objections

March 2021 Claims                   03/03/21 JR              140 Exchange communication with A. Porter regarding document recovery pertaining to                     0.3       0.025        $3.50
           Administration                                        documents of record for properties (7925 S Kingston Avenue, 7927-29 S Essex Avenue, 7760
           & Objections                                          S Coles Avenue, 7442-54 S Calumet Avenue, 7300-04 S St Lawrence Avenue, 5001 S Drexel
                                                                 Boulevard, 1102 Bingham, 7625-33 S East End Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis
                                                                 Avenue, 8214-16 S Ingleside Avenue, 4533-47 S Calumet Avenue) (.3)

April 2021   Business               04/08/21 KBD             390 Exchange correspondence with insurance broker regarding credits for sold properties (.1)            0.1 0.0026316          $1.03
             Operations
April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873          $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125        $0.44
             Disposition                                         (.2)
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for one property (4533-37 S Calumet              0.1          0.1      $39.00
             Operations                                          Avenue) (.1)




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2021   Business               04/05/21 ED              390 Begin review drafts of November accounting reports for 27 properties (8209 S Ellis Avenue,          0.3 0.0111111         $4.33
             Operations                                          11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442- 54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3)

April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524         $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857         $2.00
             Operations
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762         $4.27
             Operations
April 2021   Business               04/27/21 ED              390 Email correspondence with K. Pritchard and accountants regarding process for attributing            0.2 0.0074074         $2.89
             Operations                                          insurance premium expense to sold and unsold properties (8209 S Ellis Avenue, 11117-11119
                                                                 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S
                                                                 Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736-44 W 64th Street,
                                                                 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue,
                                                                 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-
                                                                 54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S
                                                                 Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.2)

April 2021   Business               04/27/21 ED              390 email correspondence with K. Pritchard and with insurance agent regarding process for               0.1 0.0037037         $1.44
             Operations                                          attributing insurance premium expense to sold and unsold properties (8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736- 44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131- 41 E 79th Place, 6250 S Mozart Street) (.1).




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
April 2021   Business               04/28/21 ED              390 calls with accountants and J. Rak to discuss allocation of insurance expenditures to                 0.4 0.0148148          $5.78
             Operations                                          properties to reflect timing of property sales, and next steps for completion of December
                                                                 2020 accounting reports (8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                                 Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 S Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                 58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                 Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place, 6250 S Mozart Street) (.4).

April 2021   Business               04/28/21 ED              390 Calls with insurance agent to discuss allocation of insurance expenditures to properties to          0.3 0.0111111          $4.33
             Operations                                          reflect timing of property sales, and next steps for completion of December 2020 accounting
                                                                 reports (8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 S
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street) (.3)

April 2021   Business               04/28/21 JR              140 Conference call with E. Duff and accounting firm regarding December reports (8209 S Ellis            0.5 0.0185185          $2.59
             Operations                                          Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 S Cheltenham Place, 2736-
                                                                 44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                                 Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442- 54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600- 10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


April 2021   Claims                 04/13/21 MR              390 Attention to issues regarding property (4533-47 S Calumet Avenue) (.2)                               0.2          0.2      $78.00
             Administration
             & Objections

May 2021     Business               05/03/21 JR              140 review requested property information from property management and update same [see                  0.8 0.0092593          $1.30
             Operations                                          A].
May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381        $1.73
             Operations


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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
May 2021     Business               05/12/21 ED              390 Email correspondence with J. Rak regarding her review of and comments on preliminary                 0.2         0.05      $19.50
             Operations                                          drafts of December 2020 accounting reports (7109-19 S Calumet Avenue, 7255-57 S Euclid
                                                                 Avenue, 4533-47 S Calumet Avenue, 1401 W 109th Place).

May 2021     Business               05/12/21 JR              140 Exchange communication with E. Duff regarding discrepancies found in December reporting              0.7       0.175       $24.50
             Operations                                          (7109-19 S Calumet Avenue, 7255-57 S Euclid Avenue, 4533-47 S Calumet Avenue, 1401 W
                                                                 109th Place).
May 2021     Business               05/17/21 ED              390 prepare analysis of insurance costs and premium refunds attributable to certain properties           0.9         0.06      $23.40
             Operations                                          sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th Street, 4315-19 S Michigan Avenue, 4520-
                                                                 26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 6250 S Mozart Street, 6355-59 S Talman
                                                                 Avenue, 6357-59 S Talman, 6749-59 S Merrill Avenue, 7300-04 S St Lawrence Avenue, 7442-
                                                                 54 S Calumet Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7749-59 S Yates
                                                                 Boulevard, 816-22 E Marquette Road, 8201 S Kingston Avenue) (.9)

May 2021     Business               05/17/21 ED              390 review of related correspondence and documents from insurance agent and accountant                   0.7 0.0466667         $18.20
             Operations                                          (1131-41 E 79th Place, 2453-59 E 75th Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel
                                                                 Boulevard, 4533-47 S Calumet Avenue, 6250 S Mozart Street, 6355-59 S Talman Avenue,
                                                                 6357-59 S Talman, 6749-59 S Merrill Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S
                                                                 Calumet Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7749-59 S Yates
                                                                 Boulevard, 816-22 E Marquette Road, 8201 S Kingston Avenue) (.7)

May 2021     Business               05/17/21 ED              390 reply to email correspondence from accountant regarding calculation of insurance                     0.4 0.0097561          $3.80
             Operations                                          reconciliation amounts for properties sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th
                                                                 Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                 6250 S Mozart Street, 6355-59 S Talman Avenue, 6357-59 S Talman, 6749-59 S Merrill
                                                                 Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue,
                                                                 7546-48 S Saginaw Avenue, 7749-59 S Yates Boulevard, 816-22 E Marquette Road, 8201 S
                                                                 Kingston Avenue, 8047-55 S Manistee Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S
                                                                 Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham
                                                                 Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue,
                                                                 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 6949-59 S Merrill Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4).


May 2021     Business               05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third             0.1 0.0012346          $0.17
             Operations                                          restoration motion (.1).




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2021    Business               06/01/21 ED          390 Update list of insurance policy endorsements needed to complete reconciliation of costs for           0.9 0.0219512         $8.56
             Operations                                      properties sold in 2020 and email correspondence with insurance agent to request additional
                                                             backup (8407-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue,
                                                             7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                             Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021    Business               06/03/21 ED          390 email correspondence with insurance agent regarding insurance refunds for sold properties             0.1    0.002439       $0.95
             Operations                                      (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                             Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                             Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.1).




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2021    Business               06/22/21 ED              390 Email correspondence to insurance agent following up on missing documentation regarding                0.2    0.004878       $1.90
             Operations                                          refunds for prepaid premium amounts relating to properties sold in 2020 (8047-55 S
                                                                 Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619         $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
June 2021    Business               06/25/21 ED              390 email correspondence to J. Rak regarding review and analysis of additional insurance                   0.2 0.0074074         $2.89
             Operations                                          documentation as received (7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                                 Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                                 Boulevard, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 2736-44 W 64th Street, 5618-20
                                                                 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S
                                                                 Constance Avenue, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue,
                                                                 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S
                                                                 Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 1131-41 E 79th Place) (.2).

July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                   0.2 0.0018868         $0.26
             Disposition                                         regarding closed properties status (see D) (.2)




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2021    Business               07/01/21 ED              390 Update analysis of insurance adjustments relating to sold properties (7749-59 S Yates                  0.2 0.0057143          $2.23
             Operations                                          Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                 St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-
                                                                 07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet
                                                                 Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue,
                                                                 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-
                                                                 41 E 79th Place) (.2)

July 2021    Business               07/01/21 ED              390 confer with J. Rak regarding follow-up to obtain missing data (7749-59 S Yates Boulevard,              0.1 0.0028571          $1.11
             Operations                                          6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston
                                                                 Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-07 S
                                                                 Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue,
                                                                 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place) (.1).

July 2021    Business               07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
             Operations                                          accordingly (see I).
July 2021    Business               07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
             Operations                                          restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                 Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                 2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                 26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                 Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                 Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                 Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                 Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                 Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                 Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                 Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                 Avenue).




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2021    Business               07/21/21 JR              140 Exchange correspondence with account analyst regarding various property insurance                     0.3 0.0073171         $1.02
             Operations                                          endorsements related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St
                                                                 Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                 58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                 Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place, 6250 S Mozart Street).


July 2021    Business               07/22/21 JR              140 Review property insurance endorsements and communicate with account analyst regarding                 0.7 0.0170732         $2.39
             Operations                                          various property insurance missing endorsements related to sold properties and request
                                                                 production of same (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520- 26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
July 2021    Business               07/23/21 JR              140 Exchange correspondence with account analyst regarding requested property insurance                  0.5 0.0119048          $1.67
             Operations                                          endorsements for sold properties in 2020, review requested endorsements and save in
                                                                 electronic files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520-
                                                                 26 S Drexel Boulevard, 8201 S Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                 St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman Avenue, 6356 S
                                                                 California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                 Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                 Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E
                                                                 Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250
                                                                 S Mozart Street).


August 2021 Asset                   08/31/21 JR              140 Review email from J. Wine regarding notices received for properties, forward to buyer and            0.2          0.1      $14.00
            Disposition                                          buyer's counsel (4533-47 S Calumet Avenue, 1414-18 East 62nd Place) (.2)

August 2021 Business                08/09/21 JR              140 Review emails from account analyst requesting endorsements for sold properties and update            0.2 0.0285714          $4.00
            Operations                                           2020 spreadsheet regarding same (2736-44 W 64th Street, 7508 S Essex Avenue, 431 E 42nd
                                                                 Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Avenue, 4533-47 S Calumet
                                                                 Avenue, 4315-19 S Michigan Avenue).
August 2021 Business                08/11/21 JR              140 Exchange correspondence with account analyst requesting missing property insurance                   0.3 0.0428571          $6.00
            Operations                                           endorsements (2736-44 W 64th Street, 7508 S Essex Avenue, 431 E 42nd Avenue, 7442-54 S
                                                                 Calumet Avenue, 816-22 E Marquette Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
August 2021 Business                08/16/21 JR              140 Review email from E. Duff related to property endorsements regarding 2020 property                      0.4 0.0097561         $1.37
            Operations                                           insurance, update same and send all endorsements received from accounting firm (8047-55
                                                                 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59
                                                                 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.4)


August 2021 Business                08/25/21 ED              390 revise and update analysis of allocation of insurance costs relating to sold properties (1700-          0.7 0.0318182        $12.41
            Operations                                           08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-19 S Michigan
                                                                 Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20 S Martin Luther King
                                                                 Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S
                                                                 Constance Avenue, 7201-07 S Dorchester Avenue, 7442-54 S Calumet Avenue, 7600-10 S
                                                                 Kingston Avenue, 7760 S Coles Avenue, 3074 E Cheltenham Place, 8000-02 S Justine Street,
                                                                 8107-09 S Ellis Avenue, 816-22 E Marquette Road, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8403 S Aberdeen Street) (.7)

August 2021 Business                08/25/21 ED              390 Review additional documents received from insurance agent regarding refunds of prepaid                  0.2 0.0090909         $3.55
            Operations                                           premium for sold properties (1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W
                                                                 64th Street, 4315-19 S Michigan Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana
                                                                 Avenue, 5618-20 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett
                                                                 Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07 S Dorchester Avenue,
                                                                 7442-54 S Calumet Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 3074 E
                                                                 Cheltenham Place, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                                 Road, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8403 S Aberdeen Street) (.2)




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
August 2021 Business                08/25/21 ED          390 email correspondence to accountant regarding insurance cost allocation to reflect                      0.2 0.0055556          $2.17
            Operations                                       adjustments related to property sales, and completion of final 2020 accounting reports (1131-
                                                             41 E 79th Place, 1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street,
                                                             4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-
                                                             52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S
                                                             Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill
                                                             Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07
                                                             S Dorchester Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S
                                                             Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S Yates
                                                             Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette Road, 8000-
                                                             02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                             Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-32 S
                                                             Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                             Aberdeen Street) (.2).

August 2021 Claims                  08/04/21 AW          140 attention to email from claimant requesting access to claims documents, prepare secured                0.4          0.1      $14.00
            Administration                                   links, and related email to claimant (1700-08 W Juneway Terrace, 4533-47 S Calumet
            & Objections                                     Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue) (.4).

August 2021 Claims                  08/23/21 AW          140 prepare link containing claims documents (1700-08 Juneway Terrace, 4533-47 S Calumet                   0.3          0.1      $14.00
            Administration                                   Avenue, 6001-05 S Sacramento Avenue) and related email to claimant (.3)
            & Objections

September Business                  09/23/21 KBD         390 Confer with E. Duff regarding insurance, property allocation, and expense restoration issues           1.3 0.0361111         $14.08
2021      Operations                                         and exchange related correspondence (7450 S Luella Avenue, 7546-48 S Saginaw Avenue,
                                                             8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 5450-52 S
                                                             Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,
                                                             8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S
                                                             Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S
                                                             Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street,
                                                             6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive,
                                                             7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                             Dorchester Avenue, 7508 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street) (1.3)




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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
September Business                  09/24/21 KBD             390 confer with accounting firm representatives and E. Duff regarding expense accounting,                  1.3 0.0342105         $13.34
2021      Operations                                             property spreadsheets, and expense reimbursement issues (7450 S Luella Avenue, 7546-48 S
                                                                 Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                                 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                                 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                                 King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (1.3)


September Asset                     09/10/21 JR              140 Update records and forward tax bills for previously sold properties to buyers and buyer's              0.6 0.0666667          $9.33
2021      Disposition                                            counsel (7255-57 S Euclid Avenue, 3030-32 E 79th Street, 4533-37 S Calumet Avenue, 6217-
                                                                 27 S Dorchester Avenue, 5618-20 S Martin Luther King Avenue, 7026-42 S Cornell Avenue,
                                                                 6554-58 S Vernon Avenue, 8107-09 S Ellis Avenue, 4750-52 S Indiana Avenue) (.6)

September    Asset                  09/13/21 JR              140 communication with buyer's counsel relating to property tax bill for previously sold property          0.1          0.1      $14.00
2021         Disposition                                         (4533-47 S Calumet Avenue) (.1)
September    Business               09/03/21 JR              140 Review property reports and update reimbursable amounts, and related correspondence                    2.4 0.0585366          $8.20
2021         Operations                                          with E. Duff and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).


September    Business               09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and               2.6 0.0320988          $4.49
2021         Operations                                          E. Duff (see I and J) (2.6)
September    Business               09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to             0.2 0.0024691          $0.35
2021         Operations                                          reimbursable amounts (see I and J) (.2).


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4533-47 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September    Business               09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)              0.1 0.0012346         $0.17
2021         Operations                                          (.1)
September    Business               09/07/21 KMP             140 Review communications relating to second restoration motion to determine date of funds               0.2 0.0046512         $0.65
2021         Operations                                          transfer and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East
                                                                 End Avenue, 6749-59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet
                                                                 Avenue, 1017 W 102nd Street, 1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                                 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 9212 S Parnell Avenue,
                                                                 10012 S LaSalle Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                 Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard,
                                                                 6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                 Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                 Road, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                 Martin Luther King Drive, 7840-42 S Yates Avenue).


September Business                  09/10/21 ED              390 Call with accountant to discuss accounting treatment of insurance costs for sold properties          0.5 0.0138889         $5.42
2021      Operations                                             (1131-41 E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th
                                                                 Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                 5450-52 S Indiana Avenue, 5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-
                                                                 59 S Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S
                                                                 Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue,
                                                                 7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence Avenue, 7442-54 S Calumet Avenue,
                                                                 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S
                                                                 Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette
                                                                 Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                                 22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/20/21 ED          390 Review draft reports and summary from accountant proposing approach to calculating and                 0.9 0.0236842         $9.24
2021      Operations                                         reporting adjustments to insurance cost allocations for certain properties sold in 2020 (7450
                                                             S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                             7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside
                                                             Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                             7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                             Cheltenham Place, 2736- 44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman
                                                             Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                             Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                             431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street).

September Business                  09/22/21 ED          390 Call with accountant to discuss accounting treatment of insurance costs for sold properties            0.5 0.0131579         $5.13
2021      Operations                                         and related issues regarding reporting content and presentation (7450 S Luella Avenue, 7546-
                                                             48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                             59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                             Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King
                                                             Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                             7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                             Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                             4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                             58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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4533-47 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/23/21 ED          390 Cont'd. .. Email correspondence to accountant regarding calculation of insurance costs with            0.3 0.0078947         $3.08
2021      Operations                                         respect to sold properties, and preparation of related reporting (7450 S Luella Avenue, 7546-
                                                             48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520- 26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                             7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                             64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                             King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656- 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3).


September Business                  09/23/21 ED          390 Confer with K. Duff regarding allocation of insurance premium costs to certain sold                    1.2 0.0315789        $12.32
2021      Operations                                         properties (7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-
                                                             26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                             82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                             Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                             Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59
                                                             S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                             Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                             Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E
                                                             Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan
                                                             Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250
                                                             S Mozart Street) (1.2)




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4533-47 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/23/21 ED          390 Cont'd. .. Review and analyze reporting regarding insurance cost allocations and refunds with          0.9 0.0236842         $9.24
2021      Operations                                         respect to certain sold properties in preparation for discussion with K. Duff (7450 S Luella
                                                             Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                             8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles
                                                             Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S
                                                             Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                             Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.9)


September Business                  09/24/21 ED          390 Conference call with accountants and K. Duff to discuss allocation of costs for insurance and          1.3 0.0342105        $13.34
2021      Operations                                         other amounts paid by Receivership for the benefit of sold properties (7450 S Luella Avenue,
                                                             7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8216 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                             Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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4533-47 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
September Business                  09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with          0.3 0.0065217          $0.72
2021      Operations                                             the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                 Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                 Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                 1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                 Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                 Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                 06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                 Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                 Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                 Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                 Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                    09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                 0.8 0.0089888          $1.26
2021      Administration
          & Objections

September Claims                    09/28/21 AW              140 email claimant requested claims documents (1700-08 Juneway Terrace, 4533-47 S Calumet               0.2         0.05       $7.00
2021      Administration                                         Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue) (.2)
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                             5001 S Drexel Boulevard
General Allocation % (Pre 01/29/21):                                                 3.5186046%
General Allocation % (01/29/21 Onward, Claims Only):                            3.7809835567%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                        Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees             Hours                          Fees
     3        5001 S Drexel Boulevard                                                     139.90      $             37,862.54                         228.48     $            65,800.37            368.38     $            103,662.91
                 Asset Disposition [4]                                                        7.40    $                 2,422.81                       148.14    $             39,775.02            155.54    $              42,197.83
                 Business Operations [5]                                                      7.44    $                 2,236.57                         32.33   $             10,230.03              39.77   $              12,466.60
                 Claims Administration & Objections [6]                                    125.05     $              33,203.17                           48.02   $             15,795.32            173.07    $              48,998.49




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5001 S Drexel Boulevard                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   228.48
Specific Allocation Fees:         $       65,800.37



   Invoice                                             Time                                                                                                                      Allocated    Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                       Task Hours
   Month                                              Keeper                                                                                                                       Hours         Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                        1.7       0.025        $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)             0.4 0.0037736          $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash               0.3 0.0044118          $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                      0.3 0.0044118          $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property                  0.7 0.0066038          $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management                  0.6 0.0056604          $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 office conference with A. Porter and N. Mirjanich regarding City counsel communications (.2)          0.2 0.0285714         $11.14
            Operations
August 2018 Business                      08/27/18 KBD           390 exchange correspondence with N. Mirjanich regarding court cases and counsel (.2)                      0.2 0.0285714         $11.14
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                      1.5 0.0220588          $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                   0.1 0.0014925          $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                    0.2 0.0018692          $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                      0.1 0.0014925          $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 conference with and study correspondence from N. Mirjanich regarding litigation status and            0.3         0.06      $23.40
            Operations                                               communications with counsel (.3)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                      0.9 0.0084906          $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                        0.8 0.0075472          $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                           0.1 0.0014925          $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                           0.2 0.0029412          $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                                  0.3 0.0044118          $1.72
            Operations




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5001 S Drexel Boulevard                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
August 2018 Business                 08/28/18 KBD         390 second telephone conference with property managers counsel re same (.2)                           0.2 0.0029412         $1.15
            Operations
August 2018 Business                 08/28/18 KBD         390 study correspondence from N. Mirjanich regarding same (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                 08/28/18 KBD         390 office conference with A. Porter regarding same (.1)                                              0.1 0.0014706         $0.57
            Operations
August 2018 Business                 08/29/18 KBD         390 office conference with N. Mirjanich regarding housing court hearings and status of                0.2      0.0125       $4.88
            Operations                                        communications with City counsel regarding alleged property violation issues (.2)

August 2018 Business                 08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management            0.4 0.0037736         $1.47
            Operations                                        issues (.4)
August 2018 Business                 08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                            0.3 0.0028302         $1.10
            Operations
August 2018 Business                 08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash          0.2 0.0029851         $1.16
            Operations                                        flow (.2)
August 2018 Business                 08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)            0.1 0.0009434         $0.37
            Operations
August 2018 Business                 08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference               0.2 0.0029412         $1.15
            Operations                                        with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                 08/31/18 KBD         390 conference with property manager regarding property management and compensation                   0.9 0.0132353         $5.16
            Operations                                        issues (.9)
August 2018 Business                 08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)            0.7 0.0102941         $4.01
            Operations
August 2018 Business                 08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                 0.7 0.0066038         $2.58
            Operations
August 2018 Claims                   08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding               1.9 0.0213483         $8.33
            Administration                                    institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                   08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding              0.3 0.0033708         $1.31
            Administration                                    same.
            & Objections

August 2018 Claims                   08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access          0.2 0.0022472         $0.88
            Administration                                    and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                   08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional           0.5    0.005618       $2.19
            Administration                                    lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
August 2018 Claims                   08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                     0.1 0.0011236          $0.44
            Administration                                    regarding same (.1)
            & Objections

August 2018 Claims                   08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                   0.4 0.0044944          $1.75
            Administration                                    lenders (.4)
            & Objections

August 2018 Asset                    08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study             0.5    0.004717        $1.23
            Disposition                                       emails regarding same.
August 2018 Business                 08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                      2.0 0.0294118         $11.47
            Operations                                        properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                 08/23/18 AEP         390 teleconference with EquityBuild employee regarding need to pay property tax arrearages to               0.5 0.0294118         $11.47
            Operations                                        ensure passage of CHA inspections, building code violations, and other pressing issues (.5).

August 2018 Business                 08/23/18 NM          260 Study correspondence and documents from one of EquityBuild's attorneys regarding                        2.0 0.1333333         $34.67
            Operations                                        pending lawsuits and court appearances and appear on behalf of EquityBuild to stay
                                                              litigation in Stewart case and in housing cases.
August 2018 Business                 08/24/18 AEP         390 conferences with N. Mirjanich and E. Duff regarding status of building code violation actions,          0.5     0.03125       $12.19
            Operations                                        contact with institutional lenders, and outstanding insurance invoices (.5)

August 2018 Business                 08/27/18 NM          260 address matters relating to pending EquityBuild litigation including corresponding with                 2.5 0.3571429         $92.86
            Operations                                        EquityBuild attorneys, corresponding with property management company regarding same,
                                                              correspond with K. Duff regarding same and other litigation matters including hearings on
                                                              August 28, 2018 (2.5)
August 2018 Business                 08/28/18 AEP         390 conference with N. Mirjanich regarding status of building code violation actions (.2).                  0.2 0.0285714         $11.14
            Operations
August 2018 Business                 08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                         0.2 0.0022472          $0.88
            Operations
August 2018 Business                 08/28/18 NM          260 study correspondence from EquityBuild attorneys regarding status of pending litigation and              1.6         0.32      $83.20
            Operations                                        correspond with K. Duff regarding same and update spreadsheet with same (1.6)

August 2018 Business                 08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                       0.1 0.0014925          $0.39
            Operations
August 2018 Business                 08/29/18 NM          260 study correspondence and documents relating to status of pending EquityBuild litigation and             1.3     0.08125       $21.13
            Operations                                        revise summary chart accordingly (1.3)
August 2018 Business                 08/29/18 NM          260 correspond with K. Duff regarding City of Chicago housing and administrative matters (.2)               0.2      0.0125        $3.25
            Operations
August 2018 Business                 08/29/18 NM          260 correspond with A. Watychowicz regarding City of Chicago administrative matters and                     0.2      0.0125        $3.25
            Operations                                        EquityBuild attorney (.2)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Claims                   08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                    documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                   08/30/18 ED          390 Email correspondence with lenders and counsel regarding loan documents and questions                  1.6 0.5333333       $208.00
            Administration                                    about receivership (1.6)
            & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
August 2018 Claims                   08/30/18 ED          390 calls with lenders and counsel regarding same (.3)                                                  0.3          0.1      $39.00
            Administration
            & Objections

August 2018 Claims                   08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                       0.6 0.0067416          $2.63
            Administration
            & Objections

August 2018 Claims                   08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments             1.1 0.0123596          $4.82
            Administration                                    (1.1).
            & Objections

August 2018 Claims                   08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                            0.3 0.0033708          $1.31
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)          0.2 0.0029412          $1.15
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                        5.4 0.0606742         $23.66
            Administration
            & Objections

August 2018 Claims                   08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                    0.2 0.0022472          $0.58
            Administration                                    institutional lenders (.2)
            & Objections

August 2018 Claims                   08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via           1.5 0.0168539          $4.38
            Administration                                    email (1.5).
            & Objections

September    Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                   0.1 0.0009346          $0.36
2018         Disposition
September    Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference              0.4 0.0037383          $1.46
2018         Disposition                                      with M. Rachlis regarding same (.4)
September    Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related          0.1 0.0009346          $0.36
2018         Disposition                                      information.
September    Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                      0.1 0.0009346          $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                0.2 0.0018692          $0.73
2018         Disposition




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
September    Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                      brokers (.1).
September    Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                      reports.
September    Business                09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                       information (.2)
September    Business                09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business                09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business                09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                       same (.5)
September    Business                09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business                09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business                09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                       letter agreement with property manager (.4)
September    Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September    Business                09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                       structure (.4)
September    Business                09/07/18 KBD         390 study correspondence from N. Mirjanich and property manager and office conferences with                 0.6 0.0461538        $18.00
2018         Operations                                       N. Mirjanich regarding various housing and building violation actions (.6)

September    Business                09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018         Operations                                       requests from lenders (.3)
September    Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                       receivership and property issues (.7)
September    Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business                09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business                09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                       compensation (.1)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
September    Business                09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                     0.5 0.0073529          $2.87
2018         Operations                                       compensation structure and prospective property improvements (.5)
September    Business                09/10/18 KBD         390 revise compensation structure (.4)                                                                     0.4 0.0058824          $2.29
2018         Operations
September    Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645          $9.11
2018         Operations
September    Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692          $0.73
2018         Operations
September    Business                09/11/18 KBD         390 office conference with N. Mirjanich regarding hearing in law division case, city code                  0.8         0.08      $31.20
2018         Operations                                       violations, investigation into transactions, property manager's estimate to repair and
                                                              improve properties to address code violations, and preparation of claims process motion and
                                                              receivership status report (.8)
September    Business                09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412          $1.15
2018         Operations
September    Business                09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701          $2.33
2018         Operations                                       overall portfolio and property values (.4)
September    Business                09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118          $1.72
2018         Operations
September    Business                09/17/18 KBD         390 study and revise correspondence to city attorney regarding various housing court cases and             0.2         0.02       $7.80
2018         Operations                                       office conference with N. Mirjanich regarding same (.2)
September    Business                09/17/18 KBD         390 further office conference with N. Mirjanich regarding property management, and violation               0.4         0.04      $15.60
2018         Operations                                       notices, repair work, and hearings (.4)
September    Business                09/17/18 KBD         390 Office conferences with N. Mirjanich regarding property violation notices and hearings                 0.4         0.04      $15.60
2018         Operations                                       relating to same (.4)
September    Business                09/17/18 KBD         390 study and revise correspondence regarding same (.2)                                                    0.2         0.02       $7.80
2018         Operations
September    Business                09/18/18 KBD         390 draft correspondence to and office conference with N. Mirjanich regarding property                     0.4 0.0307692         $12.00
2018         Operations                                       violation notices and municipal court and housing court matters (.4)
September    Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346          $0.36
2018         Operations                                       estate firm representatives (.1)
September    Business                09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717        $1.84
2018         Operations                                       health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September    Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434          $0.37
2018         Operations                                       (.1)
September    Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346          $0.36
2018         Operations                                       same (.1)
September    Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262          $7.65
2018         Operations
September    Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346          $0.36
2018         Operations




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
September Claims                     09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                           0.5    0.005618        $2.19
2018      Administration
          & Objections

September Claims                     09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                         0.4 0.0044944          $1.75
2018      Administration                                      lenders and various related issues (.4)
          & Objections

September Claims                     09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                    0.8 0.0089888          $3.51
2018      Administration                                      potential distribution issues (.8)
          & Objections

September Claims                     09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                        0.4 0.0044944          $1.75
2018      Administration                                      lenders.
          & Objections

September Claims                     09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652          $3.07
2018      Administration
          & Objections

September Claims                     09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708          $1.31
2018      Administration                                      production of documentation and rights with respect to same (.3)
          & Objections

September Claims                     09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483          $8.33
2018      Administration
          & Objections

September Claims                     09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders                0.4 0.0071429          $2.79
2018      Administration                                      (.4)
          & Objections

September    Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383          $1.46
2018         Disposition
September    Asset                   09/12/18 NM          260 exchange correspondence with K. Duff and EB employee regarding same (.1).                                 0.1          0.1      $26.00
2018         Disposition
September    Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757        $6.93
2018         Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September    Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037          $1.09
2018         Disposition
September    Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346          $0.13
2018         Disposition


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
September    Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                          0.2 0.0018692          $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                  0.1 0.0009346          $0.13
2018         Disposition                                      when they will be ready (.1)
September    Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                            0.1 0.0009346          $0.13
2018         Disposition
September    Asset                   09/14/18 AW          140 email brokers (.2).                                                                                     0.2 0.0018692          $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                         0.3 0.0028037          $0.39
2018         Disposition
September    Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                     2.7 0.0252336          $9.84
2018         Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.
September    Asset                   09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                    0.1 0.0009346          $0.36
2018         Disposition                                      statements for production to potential brokerage.
September    Asset                   09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                  0.3 0.0028037          $1.09
2018         Disposition                                      prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.
September    Business                09/05/18 AEP         390 Conference with N. Mirjanich to inventory and track status of all properties with pending               1.1 0.0916667         $35.75
2018         Operations                                       building code violations (1.1)
September    Business                09/05/18 ED          390 Review real estate tax escrow summary from lender (.2)                                                  0.2 0.0166667          $6.50
2018         Operations
September    Business                09/05/18 NM          260 telephone conference with A. Porter and attorney regarding status of admin matter and                   0.2 0.0166667          $4.33
2018         Operations                                       property and lawsuits (.2)
September    Business                09/05/18 NM          260 revise spreadsheet of pending City of Chicago litigation and study documents and                        1.0 0.0833333         $21.67
2018         Operations                                       correspondence from property managers and documents provided by EB attorney regarding
                                                              same (1.0)
September    Business                09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552          $3.49
2018         Operations                                       documents received regarding same (.6).
September    Business                09/07/18 NM          260 correspond with K. Duff and EB counsel regarding matter up on September 11th (.2).                      0.2          0.2      $52.00
2018         Operations
September    Business                09/07/18 NM          260 draft correspondence regarding status of pending litigation to City of Chicago administrative           2.9 0.2230769         $58.00
2018         Operations                                       attorneys and exchange correspondence with property managers regarding same, update
                                                              chart of pending litigation regarding same (2.9)
September    Business                09/08/18 AEP         390 Review all correspondence and documents associated with notices of violation filed against              0.3 0.0230769          $9.00
2018         Operations                                       EquityBuild properties.
September    Business                09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478          $4.07
2018         Operations                                       same (.7);
September    Business                09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708          $1.31
2018         Operations
September    Business                09/10/18 NM          260 Study and respond to outstanding emails with property managers and City of Chicago                      1.5          1.5     $390.00
2018         Operations                                       attorneys.




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
September    Business                09/11/18 NM          260 correspond with City of Chicago attorneys regarding outstanding matters and court                        0.2         0.04      $10.40
2018         Operations                                       appearances this week (.2)
September    Business                09/11/18 NM          260 office conference with K. Duff regarding updates in EB litigation including outstanding City of          0.7         0.35      $91.00
2018         Operations                                       Chicago matters and litigation in court today, building violation and repair cost issues, A.
                                                              Porter's search of documents and a draft motion and status report (.7)

September    Business                09/12/18 AEP         390 teleconference with N. Mirjanich and property manager regarding prioritization of                        0.4         0.04      $15.60
2018         Operations                                       improvements directed to remedying building code violations (.4)
September    Business                09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                  0.3 0.0033708          $1.31
2018         Operations                                       revision to procedure for reporting to institutional lenders (.3).
September    Business                09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional           0.4 0.0044944          $1.75
2018         Operations                                       lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business                09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                   1.8 0.0202247          $7.89
2018         Operations
September    Business                09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                   1.1 0.0123596          $4.82
2018         Operations
September    Business                09/12/18 NM          260 telephone call with property manager and A. Porter regarding same (.5)                                   0.5          0.5     $130.00
2018         Operations
September    Business                09/12/18 NM          260 correspond with K. Duff and A. Porter regarding same (.3)                                                0.3          0.3      $78.00
2018         Operations
September    Business                09/12/18 NM          260 prepare for call with property manager regarding status of buildings and work needed (.1)                0.1          0.1      $26.00
2018         Operations
September    Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                    0.4 0.0037383          $1.46
2018         Operations                                       distribution (.4).
September    Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                     0.3 0.0028037          $1.09
2018         Operations                                       with prospective brokers (.3)
September    Business                09/17/18 AEP         390 Conference call with N. Mirjanich and property manager regarding overview of all                         1.1         0.11      $42.90
2018         Operations                                       administrative and housing court matter (1.1)
September    Business                09/17/18 NM          260 exchange correspondence with attorneys regarding property status, open building code                     3.7         0.37      $96.20
2018         Operations                                       violations, upcoming court dates, and repairs necessary to address same and to preserve
                                                              property, correspond with K. Duff and A. Porter regarding same, study spreadsheets from
                                                              property managers regarding same, revise internal spreadsheet regarding same and asset
                                                              preservation (3.7).
September Business                   09/18/18 NM          260 Study and respond to email correspondence relating to contractors and telephone calls with               0.4 0.1333333         $34.67
2018      Operations                                          same, notices, service provider, and former EB counsel sending new matters (.4)

September    Business                09/18/18 NM          260 correspond with contractor regarding receivership and status of properties, and correspond               0.2 0.0666667         $17.33
2018         Operations                                       with K. Duff on same (.2)
September    Business                09/18/18 NM          260 update spreadsheet pertaining to open City of Chicago lawsuits and property preservation                 1.3          0.1      $26.00
2018         Operations                                       for same, study notes and emails from property managers and City attorneys for same and
                                                              correspond with K. Duff regarding same and potential new lawsuit filed against EB since
                                                              receivership appointment (1.3).


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  Invoice                                       Time                                                                                                                  Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                   Hours         Fees
September    Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and              0.2 0.0018692          $0.49
2018         Operations                                       other expenses/money coming into receivership (.2)
September    Business                09/19/18 NM          260 correspond with City of Chicago attorneys and property managers regarding status of               0.9         0.15      $39.00
2018         Operations                                       lawsuits and property preservation for same and update spreadsheet further (.9).

September    Business                09/25/18 NM          260 correspond with City attorney regarding update on open housing court matters and                  0.2          0.2      $52.00
2018         Operations                                       upcoming status hearings (.2)
September    Business                09/25/18 NM          260 update spreadsheet regarding open City of Chicago matters and property preservation (.1)          0.1 0.0090909          $2.36
2018         Operations
September    Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                 0.1 0.0009434          $0.25
2018         Operations
September    Claims                  09/06/18 ED          390 update list of loan information and documents received to date, review related email              0.3 0.0033708          $1.31
2018         Administration                                   correspondence (.3).
             & Objections

September Claims                     09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                       0.5 0.0089286          $3.48
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                     0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                            0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                         0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                   0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                      0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                      0.1 0.0011236          $0.16
2018      Administration
          & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                      (.2).
          & Objections

September Claims                     09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                     09/13/18 ED          390 Review and reply to documents and correspondence received from lenders (1.5)                        1.5 0.1363636        $53.18
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 attention to email containing documents from institutional lenders (.1)                             0.1 0.0083333         $1.17
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 Phone call with institutional lender regarding document production (.2)                             0.2 0.0166667         $2.33
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 communicate with forensic consultant and IT specialist regarding download issues (.4)               0.4 0.0333333         $4.67
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 attention to email containing shared folder and download files (.4)                                 0.4 0.0333333         $4.67
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 email request for support from institutional lender (.1)                                            0.1 0.0083333         $1.17
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 attention to email regarding same and containing supportive documents (.1).                         0.1 0.0083333         $1.17
2018      Administration
          & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
September Claims                     09/14/18 AW          140 email counsel regarding downloaded files (.1)                                                      0.1 0.0083333          $1.17
2018      Administration
          & Objections

September Claims                     09/14/18 AW          140 access shared folder and download files (.2)                                                       0.2 0.0166667          $2.33
2018      Administration
          & Objections

September Claims                     09/14/18 ED          390 Review and reply to email correspondence with lenders and counsel (2.9)                            2.9    0.090625       $35.34
2018      Administration
          & Objections

September Claims                     09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)             0.4 0.0044944          $1.75
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                           4.4 0.0494382         $19.28
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                   0.4 0.0044944          $1.75
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 Review loan documents and related deliveries (1.8)                                                 1.8         0.36     $140.40
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                      0.3 0.0033708          $1.31
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                         1.6 0.0179775          $7.01
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review          1.4 0.0157303          $6.13
2018      Administration                                      of documents and information regarding same (1.4)
          & Objections




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  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                      with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                     09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                           1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                     09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to          0.3 0.0033708         $1.31
2018      Administration                                      lenders (.3)
          & Objections

September Claims                     09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                 1.7 0.0191011         $7.45
2018      Administration                                      points and authorities (1.7)
          & Objections

September Claims                     09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.          0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                2.5 0.0446429        $17.41
2018      Administration                                      (2.5)
          & Objections

October      Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of           0.4 0.0037383         $1.46
2018         Disposition                                      properties and debt ratio (.4).
October      Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                               0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                   3.3 0.0308411        $12.03
2018         Disposition




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  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                      (2.7)
October      Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018         Disposition
October      Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                      0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                     0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement                0.7 0.0065421         $2.55
2018         Disposition                                      terms and further background information(.7)
October      Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                 0.3 0.0028037         $1.09
2018         Disposition                                      (.3)
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                  1.5 0.0140187         $5.47
2018         Disposition
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                    0.2 0.0018692         $0.73
2018         Disposition                                      regarding engagement of broker (.2)
October      Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                              0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key              2.1 0.0196262         $7.65
2018         Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October      Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                 0.6 0.0056075         $2.19
2018         Disposition


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
October      Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346          $0.36
2018         Disposition
October      Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346          $0.36
2018         Disposition
October      Asset                   10/24/18 KBD         390 Draft correspondence to A. Porter and M. Rachlis regarding motion to approve public sale            0.2 0.0333333         $13.00
2018         Disposition                                      (.2)
October      Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346          $0.36
2018         Disposition
October      Asset                   10/29/18 KBD         390 study draft motion for approval of sealed bid process and correspondence from M. Rachlis            0.4 0.0666667         $26.00
2018         Disposition                                      regarding same (.4)
October      Asset                   10/30/18 KBD         390 Review correspondence from A. Porter regarding publication of sale notice.                          0.1 0.0166667          $6.50
2018         Disposition
October      Asset                   10/31/18 KBD         390 study draft motion to sell properties (.3).                                                         0.3         0.05      $19.50
2018         Disposition
October      Business                10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416          $2.63
2018         Operations                                       documents, efforts to gain lender release of escrow funds, and communications from lender
                                                              regarding status of loans relative to loan obligations and study document and
                                                              correspondence regarding same (.6)
October      Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692          $0.73
2018         Operations                                       and tenant evictions (.2)
October      Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434          $0.37
2018         Operations                                       regarding scofflaw list (.1)
October      Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736          $1.47
2018         Operations                                       property managers (.4)
October      Business                10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118          $1.72
2018         Operations                                       court, and confirmation of accounting for rents (.3)
October      Business                10/09/18 KBD         390 study property manager regarding streets and sanitation correspondence from city regarding          0.1         0.05      $19.50
2018         Operations                                       unpaid water bills and draft correspondence to K. Pritchard regarding same (.1).

October      Business                10/09/18 KBD         390 study correspondence from N. Mirjanich and violation notices (.1)                                   0.1         0.05      $19.50
2018         Operations
October      Business                10/11/18 KBD         390 Office conferences with and study correspondence from N. Mirjanich regarding housing                0.5 0.0192308          $7.50
2018         Operations                                       court matters (.5)
October      Business                10/12/18 KBD         390 study spreadsheet of open city housing and property matters from N. Mirjanich (.3)                  0.3 0.0115385          $4.50
2018         Operations
October      Business                10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118          $1.72
2018         Operations
October      Business                10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706         $10.32
2018         Operations
October      Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692          $0.73
2018         Operations
October      Business                10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118          $1.72
2018         Operations


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October      Business                10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business                10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                       properties (.1)
October      Business                10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                       property managers to provide rent rolls and profit and loss reports for each property to
                                                              institutional lenders and addressing coordination of property inspections (.3)

October      Claims                  10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                   information, and related issues and study documents regarding same.
             & Objections

October      Claims                  10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708         $1.31
2018         Administration                                   information (.3).
             & Objections

October      Claims                  10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)          0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                  10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements           0.4 0.0044944         $1.75
2018         Administration                                   and provisions in order appointing receiver (.4)
             & Objections

October      Claims                  10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection           1.1 0.0123596         $4.82
2018         Administration                                   procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                  10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/12/18 KBD         390 exchange correspondence with E. Duff regarding same (.2).                                           0.2       0.025       $9.75
2018         Administration
             & Objections

October      Claims                  10/12/18 KBD         390 Various telephone conferences and exchange of communications with property managers                 1.1      0.1375      $53.63
2018         Administration                                   regarding property inspections and lenders' request for information (1.1)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
October      Claims                  10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607         $12.27
2018         Administration                                   institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                     rent rolls, and various related issues (2.8)

October      Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906          $3.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708          $1.31
2018         Administration                                   representative regarding debt service analysis (.3)
             & Objections

October      Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692          $0.73
2018         Administration
             & Objections

October      Claims                  10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944          $1.75
2018         Administration                                   same (.4).
             & Objections

October      Claims                  10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and                   0.2 0.0051282          $2.00
2018         Administration                                   appraisals (.2).
             & Objections

October      Claims                  10/26/18 KBD         390 Office conference with and review correspondence from E. Duff regarding lender payoff                  0.2          0.1      $39.00
2018         Administration                                   letters.
             & Objections

October      Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645          $9.11
2018         Disposition
October      Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065         $11.66
2018         Disposition                                      firms.
October      Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374         $10.93
2018         Disposition
October      Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729          $1.21
2018         Disposition
October      Asset                   10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729          $1.82
2018         Disposition




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                      payments and sale of same, and property database.
October      Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                      agreement and upcoming receivership tasks.
October      Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                      agent (1.5).
October      Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                      Duff and M. Rachlis.
October      Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                      retained broker (.1)
October      Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/12/18 NM          260 Prepare for meeting with broker by updating spreadsheet regarding open City of Chicago                 1.2 0.0461538        $12.00
2018         Disposition                                      litigation matters and create folders for bids and other documents provided by the property
                                                              managers to address compliance with violations (1.2)
October      Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                      engagement (2.1).
October      Asset                   10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                      commencement of process of identifying assets for immediate sale (1.5)
October      Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition
October      Asset                   10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925         $0.21
2018         Disposition


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  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
October      Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                             0.1 0.0009346          $0.13
2018         Disposition
October      Asset                   10/19/18 NM          260 Conference call with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff               0.8 0.1333333         $34.67
2018         Disposition                                      regarding distribution plan and immediate sale of certain properties.
October      Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                   2.1 0.0196262          $7.65
2018         Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October      Asset                   10/22/18 AW          140 prepare template draft of motion allowing sale of assets and email M. Rachlis regarding               0.3         0.05       $7.00
2018         Disposition                                      same (.3).
October      Asset                   10/22/18 AW          140 Attention to email from K. Duff regarding information about potential buyers and                      0.1 0.0166667          $2.33
2018         Disposition                                      communicate with A. Porter regarding same (.1)
October      Asset                   10/22/18 NM          260 Telephone conference with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff          1.5         0.25      $65.00
2018         Disposition                                      regarding distribution plan and immediate sale of certain properties and correspond with K.
                                                              Duff, M. Rachlis, and E. Duff regarding same.
October      Asset                   10/26/18 MR          390 work on other draft motions on public sale (1.0).                                                     1.0 0.1666667         $65.00
2018         Disposition
October      Asset                   10/31/18 AEP         390 conference call with K. Duff and M. Rachlis and putative listing brokers regarding issues             0.7 0.1166667         $45.50
2018         Disposition                                      associated with scheduling and timing of initial proposed closed-bid auction process (.7).

October      Asset                   10/31/18 MR          390 Attention to sealed bid motions (.9)                                                                  0.9         0.15      $58.50
2018         Disposition
October      Business                10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding                2.4 0.0269663         $10.52
2018         Operations                                       same (2.4)
October      Business                10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and              2.7 0.0303371         $11.83
2018         Operations                                       alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                              portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                              receivership.
October      Business                10/10/18 NM          260 prepare for housing court on October 11, 2018 (.4)                                                    0.4 0.0153846          $4.00
2018         Operations
October      Business                10/11/18 AW          140 attention to email from N. Mirjanich regarding scheduled hearing in housing court (.1)                0.1 0.0038462          $0.54
2018         Operations
October      Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,              2.0 0.0186916          $4.86
2018         Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October      Business                10/15/18 AW          140 prepare records for N. Mirjanich's appearance in housing court (.1).                                  0.1         0.05       $7.00
2018         Operations
October      Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                                0.1 0.0009346          $0.13
2018         Operations
October      Business                10/15/18 NM          260 appear for court in 21 administrative matters, in both buildings and streets and sanitation           4.0 0.3636364         $94.55
2018         Operations                                       (4.0)
October      Business                10/15/18 NM          260 correspond with K. Duff and M. Rachlis regarding court today (.1)                                     0.1 0.0090909          $2.36
2018         Operations




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  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
October      Business                10/15/18 NM          260 prepare for administrative matters in court today (.7)                                                 0.7 0.0636364         $16.55
2018         Operations
October      Business                10/15/18 NM          260 prepare for upcoming City of Chicago administrative matters (.7)                                       0.7 0.0636364         $16.55
2018         Operations
October      Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                     0.1 0.0009346          $0.13
2018         Operations
October      Business                10/17/18 AW          140 study, organize, and draft correspondence to N. Mirjanich regarding same (1.3).                        1.3 0.1181818         $16.55
2018         Operations
October      Business                10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                        0.1 0.0014925          $0.21
2018         Operations
October      Business                10/17/18 NM          260 correspond with City attorneys regarding court and update spreadsheet to reflect same and              0.7 0.0636364         $16.55
2018         Operations                                       administrative matters from October 16th (.7)
October      Business                10/22/18 NM          260 correspond with property managers regarding City of Chicago matters, correspond with City              0.6         0.15      $39.00
2018         Operations                                       attorneys regarding same, and update spreadsheet to reflect status of same (.6)

October      Claims                  10/11/18 AEP         390 Teleconference with property manager regarding lender request for immediate access to                  0.2 0.0166667          $6.50
2018         Administration                                   selected receivership properties.
             & Objections

October      Claims                  10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                               0.4 0.0044944          $1.75
2018         Administration
             & Objections

October      Claims                  10/15/18 AEP         390 meeting with K. Duff, E. Duff, and M. Rachlis regarding results of discussion with lender's            0.8 0.0666667         $26.00
2018         Administration                                   counsel (.8).
             & Objections

October      Claims                  10/15/18 AEP         390 Meeting with counsel for lender regarding segregation of rents and receivership findings               1.5       0.125       $48.75
2018         Administration                                   regarding assets securing loans (1.5)
             & Objections

October      Claims                  10/16/18 AEP         390 Conference call with K. Duff, E. Duff, and M. Rachlis regarding preparation of response to e-          1.1 0.0916667         $35.75
2018         Administration                                   mail from counsel for lender and regarding rents, contract interest, prejudgment interest and
             & Objections                                     attorneys' fees.

October      Claims                  10/18/18 KMP         140 Review numerous documents from institutional lenders to create debt service chart, and                 5.9     0.36875       $51.63
2018         Administration                                   several conferences with E. Duff regarding same.
             & Objections

October      Claims                  10/19/18 KMP         140 Continue review of documents from institutional lenders and creation of debt service chart,            3.6       0.225       $31.50
2018         Administration                                   and several conferences with E. Duff regarding same.
             & Objections




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  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
October      Claims                  10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of               2.9 0.0325843         $12.71
2018         Administration                                   related loan documents and information supplied by lenders (2.9)
             & Objections

October      Claims                  10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                  10/22/18 KMP         140 Configure and compile hard copy of debt service chart for K. Duff review.                          0.3     0.01875        $2.63
2018         Administration
             & Objections

October      Claims                  10/22/18 MR          390 Attention to requests from lenders.                                                                0.1          0.1      $39.00
2018         Administration
             & Objections

October      Claims                  10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel           0.9 0.0195652          $7.63
2018         Administration                                   regarding property reporting, insurance, and appraisals (.9)
             & Objections

October      Claims                  10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).              3.0 0.0652174         $25.43
2018         Administration
             & Objections

October      Claims                  10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888          $3.51
2018         Administration                                   leases.
             & Objections

October      Claims                  10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539          $6.57
2018         Administration                                   portfolio properties (1.5)
             & Objections

October      Claims                  10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483          $8.33
2018         Administration
             & Objections

October      Claims                  10/26/18 ED          390 Calls to lenders' counsel to request information from lenders, and review of related               0.9         0.45     $175.50
2018         Administration                                   documents and notes (.9)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
October      Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018         Administration                                   amount of mortgage loans (.2)
             & Objections

October      Claims                  10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124         $3.94
2018         Administration                                   logistics for site visits (.9)
             & Objections

October      Claims                  10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618       $2.19
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472         $0.88
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 review and respond to messages from counsel to lenders (1.5)                                       1.5 0.1153846        $45.00
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting           0.2 0.0022472         $0.88
2018         Administration                                   queries (.2)
             & Objections

October      Claims                  10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan              0.6 0.0067416         $2.63
2018         Administration                                   balances for report (.6).
             & Objections

October      Claims                  10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to             0.3 0.0033708         $1.31
2018         Administration                                   lenders (.3)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
October      Claims                  10/31/18 MR          390 Attention to response to creditors.                                                                      0.2 0.0022472          $0.88
2018         Administration
             & Objections

November     Asset                   11/01/18 KBD         390 study and revise public sale procedures and review correspondence from A Porter regarding                0.5 0.0833333         $32.50
2018         Disposition                                      same (.5)
November     Asset                   11/01/18 KBD         390 study further revised public sale procedures (.3).                                                       0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/01/18 KBD         390 analysis of and exchange correspondence with broker regarding criteria for purchasers and                0.3         0.05      $19.50
2018         Disposition                                      due diligence (.3)
November     Asset                   11/07/18 KBD         390 draft correspondence to M. Rachlis regarding motion for sale of property (.1)                            0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/07/18 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale procedures (.1)                     0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/07/18 KBD         390 study revised sale procedures (.1)                                                                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/08/18 KBD         390 study correspondence from potential broker regarding interest in listing property (5001                  0.1          0.1      $39.00
2018         Disposition                                      Drexel) (.1)
November     Asset                   11/08/18 KBD         390 study updated property sale procedures (.2).                                                             0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/09/18 KBD         390 study revisions and comments from M. Rachlis (.3).                                                       0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/09/18 KBD         390 Study draft motion for public sale, motion to file liquidation plan under seal, and liquidation          2.5 0.1388889         $54.17
2018         Disposition                                      plan (2.5)
November     Asset                   11/11/18 KBD         390 Study revised motion to improve public sale procedures and motion for leave to file redacted             0.8 0.1333333         $52.00
2018         Disposition                                      liquidation plans (.8)
November     Asset                   11/12/18 KBD         390 exchange correspondence with broker regarding potential listing prices (.2)                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/12/18 KBD         390 study revised motion to approve sale of properties and correspondence regarding same (.3)                0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/12/18 KBD         390 telephone conference and exchange correspondence with broker regarding properties for                    0.4 0.0666667         $26.00
2018         Disposition                                      sale, associated debt, listing prices, and former EquityBuild broker (.4)

November     Asset                   11/12/18 KBD         390 study revised bid procedures and correspondence from M. Rachlis and N. Mirjanich                         0.2 0.0333333         $13.00
2018         Disposition                                      regarding same (.2)
November     Asset                   11/12/18 KBD         390 review correspondence regarding closing statement for tranche of properties (.3).                        0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/13/18 KBD         390 office conference with M. Rachlis regarding lender's objection to motion to approve sale                 0.3         0.05      $19.50
2018         Disposition                                      procedures and liquidation plan (.3).
November     Asset                   11/14/18 KBD         390 study correspondence from broker regarding marketing process, and consideration and                      0.3         0.05      $19.50
2018         Disposition                                      approval of same (.3)
November     Asset                   11/14/18 KBD         390 study lender objection to sealed bid process (.2)                                                        0.2 0.0333333         $13.00
2018         Disposition


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
November     Asset                   11/14/18 KBD         390 study correspondence from M. Rachlis and broker regarding same (.1)                                  0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/14/18 KBD         390 study draft offering memoranda and correspondence from broker (.4)                                   0.4 0.0666667         $26.00
2018         Disposition
November     Asset                   11/15/18 KBD         390 study offering memoranda (.3)                                                                        0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/15/18 KBD         390 study correspondence from broker regarding listing plan, contingencies, due diligence, and           0.2 0.0333333         $13.00
2018         Disposition                                      various sale process issues (.2).
November     Asset                   11/16/18 KBD         390 draft correspondence to real estate broker regarding publication of property listings (.1).          0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/20/18 KBD         390 office conference with N. Mirjanich regarding public notices for sale and study                      0.2 0.0333333         $13.00
2018         Disposition                                      correspondence from M. Rachlis and A. Porter regarding same (.2)
November     Asset                   11/21/18 KBD         390 study order approving public sale process and correspondence from M. Rachlis regarding               0.1 0.0166667          $6.50
2018         Disposition                                      same (.1).
November     Asset                   11/21/18 KBD         390 Telephone conferences with real estate broker regarding public sale procedures and notice            0.8 0.1333333         $52.00
2018         Disposition                                      (.8)
November     Asset                   11/21/18 KBD         390 office conferences with M. Rachlis and N. Mirjanich regarding same (.4)                              0.4 0.0666667         $26.00
2018         Disposition
November     Asset                   11/21/18 KBD         390 draft correspondence to A. Porter regarding corporate entity ownership and real estate               0.3         0.05      $19.50
2018         Disposition                                      property sales (.3)
November     Asset                   11/21/18 KBD         390 study revised draft notice of public sale and correspondence from A. Porter and real estate          0.2 0.0333333         $13.00
2018         Disposition                                      broker regarding same (.2)
November     Asset                   11/21/18 KBD         390 study information regarding sale notice publication costs (.1)                                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/26/18 KBD         390 study correspondence regarding cost of publication notice and alternatives (.3).                     0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/27/18 KBD         390 telephone conference with and study correspondence from real estate broker regarding                 0.2 0.0333333         $13.00
2018         Disposition                                      marketing planning and timing (.2)
November     Asset                   11/27/18 KBD         390 telephone conference with A. Porter regarding same (.1)                                              0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/27/18 KBD         390 Exchange correspondence with N. Mirjanich and publications representatives regarding                 0.4 0.0666667         $26.00
2018         Disposition                                      publication notice and cost (.4)
November     Asset                   11/27/18 KBD         390 draft correspondence to A. Porter regarding purchase and sale agreement (.1)                         0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/27/18 KBD         390 telephone conference with SEC regarding publication notice cost (.1)                                 0.1 0.0166667          $6.50
2018         Disposition
November     Asset                   11/29/18 KBD         390 Telephone conference with broker representatives regarding properties listed for sale and            0.3         0.05      $19.50
2018         Disposition                                      purchase interest (.3)
November     Asset                   11/29/18 KBD         390 office conference with M. Rachlis regarding property sales and potential proceeds (.2)               0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/29/18 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding potential purchasers and             0.2 0.0333333         $13.00
2018         Disposition                                      meeting with real estate broker (.2).




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
November     Asset                   11/29/18 KBD         390 exchange correspondence with potential purchasers regarding same (.2)                                  0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/30/18 KBD         390 review correspondence from A. Porter regarding purchase and sale agreement (.1)                        0.1 0.0166667          $6.50
2018         Disposition
November     Business                11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708          $1.31
2018         Operations                                       and accounting for rent, and communications with property manager (.3)

November     Business                11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235          $3.44
2018         Operations
November     Business                11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824          $2.29
2018         Operations
November     Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346          $0.36
2018         Operations                                       reporting and communications with asset manager (.1).
November     Business                11/19/18 KBD         390 study correspondence from asset manager regarding outstanding real estate taxes (.1)                   0.1 0.0076923          $3.00
2018         Operations
November     Claims                  11/01/18 KBD         390 draft correspondence to investor regarding same ( .1)                                                  0.1          0.1      $39.00
2018         Administration
             & Objections

November     Claims                  11/01/18 KBD         390 Study correspondence and records from investor regarding records relating to equity interest           0.4          0.4     $156.00
2018         Administration                                   in property (5001 Drexel) (.4)
             & Objections

November     Claims                  11/01/18 KBD         390 exchange correspondence with A. Porter regarding same (.1)                                             0.1          0.1      $39.00
2018         Administration
             & Objections

November     Claims                  11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925          $0.58
2018         Administration
             & Objections

November     Claims                  11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851          $1.16
2018         Administration                                   lenders (.2).
             & Objections

November     Claims                  11/19/18 KBD         390 study lender payoff letter (5001 Drexel) (.1)                                                          0.1          0.1      $39.00
2018         Administration
             & Objections

November     Claims                  11/20/18 KBD         390 office conferences with M. Rachlis regarding communications with lender's counsel with                 0.2          0.2      $78.00
2018         Administration                                   respect to sale procedures and listing price (5001 S. Drexel) (.2)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
November     Claims                  11/20/18 KBD         390 study documents from investor regarding interest in property (5001 Drexel) (.4).                       0.4          0.4     $156.00
2018         Administration
             & Objections

November     Claims                  11/20/18 KBD         390 study draft letter regarding same (.1)                                                                 0.1          0.1      $39.00
2018         Administration
             & Objections

November     Asset                   11/01/18 AEP         390 teleconference with outside brokers regarding sealed bid auction procedures and current                0.7 0.1166667         $45.50
2018         Disposition                                      status of property tranching project (.7).
November     Asset                   11/01/18 AEP         390 Study and revise sealed bid public sale terms and conditions (.9)                                      0.9         0.15      $58.50
2018         Disposition
November     Asset                   11/02/18 MR          390 Attention to sealed bid related issues.                                                                0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/07/18 AEP         390 Make final changes to sealed bid public auction rules.                                                 0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/07/18 MR          390 work and review materials regarding sale process (1.1).                                                1.1 0.1833333         $71.50
2018         Disposition
November     Asset                   11/07/18 NM          260 correspond with K. Duff and M. Rachlis (1.0)                                                           1.0 0.1666667         $43.33
2018         Disposition
November     Asset                   11/07/18 NM          260 study and respond to email correspondence relating to the sales process motion and the                 0.4 0.0666667         $17.33
2018         Disposition                                      liquidation plan (.4).
November     Asset                   11/07/18 NM          260 draft and review motion for court approval for public sale process (2.2)                               2.2 0.3666667         $95.33
2018         Disposition
November     Asset                   11/08/18 NM          260 Draft and revise motion to approve public sale process (1.2)                                           1.2          0.2      $52.00
2018         Disposition
November     Asset                   11/09/18 MR          390 review draft of motion on sales process and rules for same (1.0).                                      1.0 0.1666667         $65.00
2018         Disposition
November     Asset                   11/12/18 AW          140 Communicate with N. Mirjanich regarding filing of motion for public sale (.1)                          0.1 0.0166667          $2.33
2018         Disposition
November     Asset                   11/12/18 AW          140 file approved motions (.4).                                                                            0.4 0.0666667          $9.33
2018         Disposition
November     Asset                   11/12/18 AW          140 communicate with N. Mirjanich regarding filing of motion for in camera review (.1)                     0.1 0.0166667          $2.33
2018         Disposition
November     Asset                   11/12/18 AW          140 proofread motion and exhibit, draft notice of motion and certificate of service, and email N.          0.7 0.1166667         $16.33
2018         Disposition                                      Mirjanich regarding revisions (.7)
November     Asset                   11/12/18 AW          140 proofread motion and draft notice of motion and certificate of service, and email N.                   0.3         0.05       $7.00
2018         Disposition                                      Mirjanich regarding revisions (.3)
November     Asset                   11/12/18 ED          390 Calls to counsel for lenders with mortgages on properties to be included in motion for                 0.4 0.0666667         $26.00
2018         Disposition                                      approval of public sale.
November     Asset                   11/12/18 MR          390 attention to sealed bid motion (.5).                                                                   0.5 0.0833333         $32.50
2018         Disposition




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
November     Asset                   11/14/18 AW          140 Attention to objections to Receiver's motions for public sale and for in camera review of                 0.2 0.0333333          $4.67
2018         Disposition                                      liquidation plan.
November     Asset                   11/15/18 AEP         390 Teleconference with receivership team regarding marketing of properties.                                  0.4 0.0666667         $26.00
2018         Disposition
November     Asset                   11/16/18 MR          390 Several conferences with broker regarding issues on sales related to upcoming hearing (.5)                0.5 0.0833333         $32.50
2018         Disposition
November     Asset                   11/20/18 AEP         390 Teleconference with receivership broker regarding status of property due diligence and                    0.3         0.05      $19.50
2018         Disposition                                      marketing process (.3)
November     Asset                   11/20/18 AEP         390 edit and revise proposed notice of sealed bid auction (.3).                                               0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/20/18 AEP         390 research case files and provide N. Mirjanich legal descriptions to various properties                     0.5 0.0833333         $32.50
2018         Disposition                                      encompassed by forthcoming motion (.5)
November     Asset                   11/20/18 NM          260 correspond with K. Duff regarding expenses and transfers on property (5001 S. Drexel) in                  0.2          0.2      $52.00
2018         Disposition                                      connection with public sale process motion (.2)
November     Asset                   11/20/18 NM          260 correspond with real estate broker, K. Duff, and A. Porter regarding public notice form and               1.8          0.3      $78.00
2018         Disposition                                      draft and circulate same (1.8).
November     Asset                   11/21/18 AEP         390 edit and revise draft of proposed notice of sealed bid auction (.2)                                       0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/21/18 AEP         390 Conference call with K. Duff, M. Rachlis, and N. Mirjanich regarding finalization of advertising          0.3         0.05      $19.50
2018         Disposition                                      copy relating to first sealed bid auction (.3)
November     Asset                   11/21/18 AEP         390 research chain of corporate ownership for receivership entities (5001 S Drexel LLC and                    0.7       0.175       $68.25
2018         Disposition                                      Chicago Capital Fund 1 LLC) (.7).
November     Asset                   11/21/18 NM          260 telephone calls with newspaper publications and K. Duff regarding publication options and                 0.7 0.1166667         $30.33
2018         Disposition                                      draft email to same to request quote regarding same (.7).
November     Asset                   11/21/18 NM          260 revise public notice document and correspond with K. Duff, M. Rachlis, real estate broker, A.             1.8          0.3      $78.00
2018         Disposition                                      Porter regarding same and regarding and regarding sale of corresponding 6 properties and
                                                              notice requirements (1.8)
November     Asset                   11/26/18 MR          390 conferences with N. Mirjanich regarding publication related issues (.3).                                  0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/26/18 NM          260 Correspond with M. Rachlis, K. Duff and publication representative regarding publication of               0.2 0.0333333          $8.67
2018         Disposition                                      notice of sale of real estate (.2)
November     Asset                   11/27/18 ED          390 Confer with counsel to receiver regarding property sales.                                                 0.2 0.0333333         $13.00
2018         Disposition
November     Asset                   11/27/18 MR          390 Attention to various issues regarding publication.                                                        0.3         0.05      $19.50
2018         Disposition
November     Asset                   11/27/18 NM          260 correspond with K. Duff, A. Porter, M. Rachlis, real estate broker, K. Pritchard, and                     1.3 0.2166667         $56.33
2018         Disposition                                      publications regarding publication of notice of real estate sale and email correspondence
                                                              relating to the same (1.3).
November     Asset                   11/28/18 AEP         390 Teleconference with receivership broker regarding issues associated with finalization of                  0.2 0.0333333         $13.00
2018         Disposition                                      purchase and sale agreement.
November     Asset                   11/29/18 AEP         390 Teleconference with potential purchaser seeking access to receivership property (5001 S                   0.3          0.3     $117.00
2018         Disposition                                      Drexel) following publication of notice of sale.




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
November     Asset                   11/29/18 MR          390 conferences with K. Duff regarding sales process (1.2).                                              1.2          0.2      $78.00
2018         Disposition
November     Business                11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                0.1 0.0011236          $0.44
2018         Operations
November     Business                11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of          0.6 0.0067416          $2.63
2018         Operations                                       related documents (.6).
November     Business                11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                0.7 0.0078652          $3.07
2018         Operations                                       Receiver (.7)
November     Business                11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                             0.5    0.005618        $2.19
2018         Operations
November     Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                   0.5 0.0046729          $1.82
2018         Operations
November     Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and              0.2 0.0018692          $0.73
2018         Operations                                       property inspections by lenders (.2)
November     Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                            0.3 0.0028037          $1.09
2018         Operations
November     Business                11/07/18 NM          260 correspond with K. Duff regarding motion toapprove public sale, liquidation plan, city               0.8 0.1333333         $34.67
2018         Operations                                       litigation and fines, motion to lift stay, and investor correspondence (.8).
November     Business                11/12/18 NM          260 Study and respond to outstanding emails regarding code violations, lenders, property tax             0.4       0.025        $6.50
2018         Operations                                       appeals (.4)
November     Business                11/15/18 ED          390 review information regarding substitution of counsel for ten loans, and send updated                 0.4 0.0333333         $13.00
2018         Operations                                       financial reporting information to property managers (.4).
November     Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other               0.7 0.0065421          $2.55
2018         Operations                                       related issues (.7)
November     Business                11/15/18 MR          390 attention to upcoming hearing (.5).                                                                  0.5 0.0833333         $32.50
2018         Operations
November     Business                11/16/18 MR          390 Prepare for upcoming hearing including review of pleadings and attend hearing.                       3.3         0.55     $214.50
2018         Operations
November     Business                11/21/18 MR          390 Prepare for and participate in hearing and several conferences regarding same.                       2.4          0.4     $156.00
2018         Operations
November     Claims                  11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,             6.5 0.0730337         $28.48
2018         Administration                                   transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                     enforce assignments of rents and leases.

November     Claims                  11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                 2.5 0.0280899         $10.96
2018         Administration                                   acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                     motion to enforce assignments of rents and leases (2.5)

November     Claims                  11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare               5.2    0.058427       $22.79
2018         Administration                                   opposition brief (5.2).
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
November     Claims                  11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in             0.8 0.0089888          $3.51
2018         Administration                                   opposition memorandum (.8).
             & Objections

November     Claims                  11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and               4.5 0.0505618         $19.72
2018         Administration                                   prepare text of affidavit (4.5)
             & Objections

November     Claims                  11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to           2.3 0.0258427         $10.08
2018         Administration                                   enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                  11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                            1.4 0.0157303          $6.13
2018         Administration
             & Objections

November     Claims                  11/06/18 AEP         390 study and revise brief (2.3).                                                                        2.3 0.0258427         $10.08
2018         Administration
             & Objections

November     Claims                  11/06/18 ED          390 review and respond to messages from lenders and counsel (1.8).                                       1.8         0.05      $19.50
2018         Administration
             & Objections

November     Claims                  11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender            1.0    0.011236        $4.38
2018         Administration                                   motion to enforce assignments of rents and leases (1.0)
             & Objections

November     Claims                  11/14/18 ED          390 Review objections of lenders to motion to approve process for public sale (.2)                       0.2 0.0333333         $13.00
2018         Administration
             & Objections

November     Claims                  11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                      0.3 0.0033708          $1.31
2018         Administration
             & Objections

November     Claims                  11/15/18 ED          390 confer with counsel to Receiver regarding reply to lenders' objections to plan of sale(.2).          0.2 0.0333333         $13.00
2018         Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
November     Claims                  11/17/18 MR          390 attention to various issues from hearing (.3).                                                     0.3 0.0033708          $1.31
2018         Administration
             & Objections

November     Claims                  11/19/18 MR          390 attention to filings on payoff amounts (.3)                                                        0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                  11/19/18 MR          390 Conferences on receivership strategy and related issues (.3)                                       0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                  11/19/18 MR          390 attention to order and upcoming hearing (.3).                                                      0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                  11/20/18 MR          390 preparation for upcoming hearing including review of submissions from opposing counsel             1.5         0.25      $97.50
2018         Administration                                   (1.5)
             & Objections

November     Claims                  11/20/18 MR          390 attention to lender filing and review materials and related follow up and conferences on           1.0 0.1666667         $65.00
2018         Administration                                   same (1.0).
             & Objections

November     Claims                  11/26/18 MR          390 Follow up on lender's requests and email on same (.1)                                              0.1 0.0166667          $6.50
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                       0.4 0.0044944          $1.75
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 attention to letter from creditors (.2)                                                            0.2 0.0022472          $0.88
2018         Administration
             & Objections

December     Asset                   12/07/18 KBD         390 study correspondence from real estate broker regarding marketing efforts report and study          0.2 0.0333333         $13.00
2018         Disposition                                      same (.2).
December     Asset                   12/08/18 KBD         390 Study draft proposed purchase and sale contract.                                                   0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/10/18 KBD         390 study correspondence from real estate broker regarding same (.1).                                  0.1 0.0166667          $6.50
2018         Disposition




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
December     Asset                   12/10/18 KBD         390 study and revise draft purchase and sale agreement (.4)                                                 0.4 0.0666667         $26.00
2018         Disposition
December     Asset                   12/12/18 KBD         390 study correspondence from M. Rachlis regarding communication with lender's counsel                      0.1          0.1      $39.00
2018         Disposition                                      relating to sale of property (.1).
December     Asset                   12/12/18 KBD         390 Study and revise draft purchase and sale agreement and draft correspondence to A. Porter                0.8 0.1333333         $52.00
2018         Disposition                                      regarding same (.8)
December     Asset                   12/12/18 KBD         390 study property sale marketing information (.2)                                                          0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/14/18 KBD         390 Study model purchase and sale agreement and correspondence from A. Porter regarding                     0.3         0.05      $19.50
2018         Disposition                                      same.
December     Asset                   12/15/18 KBD         390 Exchange correspondence with real estate broker and A Porter regarding purchase and sale                0.2 0.0333333         $13.00
2018         Disposition                                      agreement (.2)
December     Asset                   12/15/18 KBD         390 study marketing report for sale of properties (.2)                                                      0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/15/18 KBD         390 study purchase and sale agreements for properties listed for sale (.3).                                 0.3         0.05      $19.50
2018         Disposition
December     Asset                   12/16/18 KBD         390 Study agreement for sale of properties (.2)                                                             0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/16/18 KBD         390 study marketing and market information relating to efforts to sell properties (.2).                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/17/18 KBD         390 office conferences with K. Pritchard regarding analysis of lender account relating to                   0.2 0.0333333         $13.00
2018         Disposition                                      properties for sale (.2)
December     Asset                   12/17/18 KBD         390 draft correspondence to statements contractor regarding records work (.1).                              0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/20/18 KBD         390 office conference with M. Rachlis regarding same (.1).                                                  0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/20/18 KBD         390 further exchange correspondence regarding same (.2)                                                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/20/18 KBD         390 telephone conferences with real estate broker regarding offers for property purchases (.6)              0.6          0.1      $39.00
2018         Disposition
December     Asset                   12/20/18 KBD         390 study offer from potential purchaser, conduct due diligence regarding same, and exchange                0.4 0.0666667         $26.00
2018         Disposition                                      correspondence with real estate broker regarding same (.4)
December     Asset                   12/20/18 KBD         390 Study offer for potential purchaser and exchange correspondence with real estate broker                 0.1 0.0166667          $6.50
2018         Disposition                                      regarding same (.1)
December     Asset                   12/21/18 KBD         390 study correspondence from real estate broker to successful bidders for real estate sales (.1).          0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/21/18 KBD         390 study correspondence from potential buyer regarding timing (.1)                                         0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/21/18 KBD         390 Office conference with real estate broker, M. Rachlis, A Porter, and N. Mirjanich regarding             2.5 0.4166667        $162.50
2018         Disposition                                      property purchase offers (2.5)
December     Asset                   12/22/18 KBD         390 Study marketing status report and summary of offers on real estate sales.                               0.2 0.0333333         $13.00
2018         Disposition




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
December     Asset                   12/23/18 KBD         390 study same (.2).                                                                                       0.2          0.2      $78.00
2018         Disposition
December     Asset                   12/23/18 KBD         390 exchange correspondence with A. Porter regarding revised agreement for sale of real estate             0.1          0.1      $39.00
2018         Disposition                                      (5001 Drexel) (.1)
December     Asset                   12/23/18 KBD         390 Exchange correspondence with potential buyer regarding offer on property (.1)                          0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/24/18 KBD         390 Exchange correspondence with real estate broker regarding communications with potential                0.2          0.2      $78.00
2018         Disposition                                      buyer regarding offer on property (.2)
December     Asset                   12/26/18 KBD         390 study correspondence from real estate broker and A. Porter regarding revised purchase and              0.1 0.0166667          $6.50
2018         Disposition                                      sale agreement (.1).
December     Asset                   12/27/18 KBD         390 study settlement statement and closing checklist (.1).                                                 0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/27/18 KBD         390 study revised purchase and sale agreement and correspondence from A. Porter regarding                  0.2 0.0333333         $13.00
2018         Disposition                                      same (.2)
December     Asset                   12/29/18 KBD         390 Study correspondence from A. Porter regarding revised rider to sale agreement (5001                    0.2          0.2      $78.00
2018         Disposition                                      Drexel).
December     Asset                   12/31/18 KBD         390 Exchange correspondence with A. Porter and M. Rachlis regarding revised purchase and sale              0.5          0.5     $195.00
2018         Disposition                                      agreement and study same.
December     Business                12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434          $0.37
2018         Operations
December     Business                12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736          $1.47
2018         Operations                                       representatives regarding property portfolio (.4)
December     Business                12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038          $2.58
2018         Operations
December     Business                12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529          $2.87
2018         Operations
December     Business                12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706          $0.57
2018         Operations
December     Business                12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383          $1.46
2018         Operations
December     Business                12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509          $5.52
2018         Operations                                       repair planning, and receivership activities (1.5)
December     Business                12/13/18 KBD         390 study document and correspondence regarding pending building code violations (.2).                     0.2 0.0333333         $13.00
2018         Operations
December     Business                12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346          $0.36
2018         Operations
December     Business                12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706          $0.57
2018         Operations                                       reporting (.1)
December     Business                12/17/18 KBD         390 exchange correspondence with property manager regarding distribution of financial                      0.2         0.02       $7.80
2018         Operations                                       reporting (.2).
December     Business                12/18/18 KBD         390 exchange correspondence with city official regarding same (.1)                                         0.1 0.0166667          $6.50
2018         Operations




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
December     Business                12/18/18 KBD         390 exchange correspondence and office conference with N. Mirjanich regarding communication               0.1 0.0166667          $6.50
2018         Operations                                       with city official relating to water bills (.1)
December     Business                12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                      0.1 0.0014706          $0.57
2018         Operations
December     Business                12/19/18 KBD         390 exchange correspondence with N. Mi~anich regarding communication with city official                   0.1 0.0166667          $6.50
2018         Operations                                       regarding water bills (.1)
December     Claims                  12/16/18 KBD         390 Exchange correspondence with M. Rachlis and E. Duff regarding communications with                     0.3         0.03      $11.70
2018         Administration                                   lenders counsel regarding process to address issues of mutual concern and relating to
             & Objections                                     property inspections and property managers' burden.

December     Asset                   12/01/18 AEP         390 Read, edit, and substantially redraft purchase and sale agreement received from receivership          5.5 0.9166667        $357.50
2018         Disposition                                      broker and prepare detailed list of questions and issues for title agent.

December     Asset                   12/03/18 AEP         390 Conference with receivership team regarding resolution of procedures associated with public           2.8 0.4666667        $182.00
2018         Disposition                                      sale auction process, open issues in current draft of purchase and sale agreement, current
                                                              strategy regarding estate liquidation, and establishment of separate accounts associated
                                                              with sales of properties included within first tranche.

December     Asset                   12/03/18 MR          390 Prepare for and participate in meeting with broker and Receivership team on disposition               2.6 0.4333333        $169.00
2018         Disposition                                      (2.6)
December     Asset                   12/03/18 MR          390 conferences regarding disposition process and various issues with K. Duff, A. Porter and N.           0.6          0.1      $39.00
2018         Disposition                                      Mirjanich (.6).
December     Asset                   12/03/18 NM          260 office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding               2.6 0.4333333        $112.67
2018         Disposition                                      liquidation of properties and future plans for same (2.6)
December     Asset                   12/05/18 NM          260 Correspond with K. Duff regarding the sale approval motion and process (.3)                           0.3         0.05      $13.00
2018         Disposition
December     Asset                   12/06/18 AEP         390 Assemble relevant administrative pleadings and related documents pertaining to all                    0.6          0.1      $39.00
2018         Disposition                                      properties in first marketing tranche.
December     Asset                   12/06/18 KMP         140 Telephone conference with City of Chicago attorney regarding concerns relating to water               0.2 0.0333333          $4.67
2018         Disposition                                      bills for the properties and issues in connection with motion to sell properties, and
                                                              conference with N. Mirjanich regarding follow-up.
December     Asset                   12/08/18 AEP         390 Conference call with receivership broker regarding status of property tours and investor              0.5 0.0833333         $32.50
2018         Disposition                                      interest and tasks requiring completion prior to submission of offers (.5)
December     Asset                   12/08/18 AEP         390 finalize preparation of proposed purchase and sale agreement and accompanying                         2.3 0.3833333        $149.50
2018         Disposition                                      assignment and assumption of leases (2.3).
December     Asset                   12/09/18 MR          390 Review purchase and sale agreement.                                                                   0.7 0.1166667         $45.50
2018         Disposition
December     Asset                   12/10/18 NM          260 Gather documents for real estate broker relating to code violations for due diligence room            0.3         0.05      $13.00
2018         Disposition                                      on properties currently listed for sale.
December     Asset                   12/11/18 MR          390 Attention to property sale related emails.                                                            0.1 0.0166667          $6.50
2018         Disposition
December     Asset                   12/12/18 AEP         390 Teleconference with receivership broker regarding status of marketing efforts and issues              0.4 0.0666667         $26.00
2018         Disposition                                      associated with finalization of purchase and sale agreement (.4)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
December     Asset                   12/12/18 AEP         390 teleconference with title company general counsel regarding preparation of title                         0.8 0.1333333         $52.00
2018         Disposition                                      commitments, waiver of special exceptions for liens and encumbrances, and form of
                                                              receiver's deed for all properties marketed in first marketing tranche (.8).
December     Asset                   12/12/18 MR          390 Communications regarding property for sale (5001 Drexel) (.3)                                            0.3          0.3     $117.00
2018         Disposition
December     Asset                   12/12/18 MR          390 attention to purchase agreement (.2).                                                                    0.2 0.0333333         $13.00
2018         Disposition
December     Asset                   12/13/18 AEP         390 Teleconference with title company representatives regarding preparation of title reports for             0.8 0.1333333         $52.00
2018         Disposition                                      properties in first marketing tranche (.8)
December     Asset                   12/13/18 AEP         390 e-mail exchanges with receivership management companies regarding existence of security                  0.3         0.05      $19.50
2018         Disposition                                      deposit accounts at buildings in first marketing tranche and responding to other
                                                              miscellaneous inquiries (.3).
December     Asset                   12/13/18 NM          260 exchange correspondence with broker regarding same (.3).                                                 0.3         0.05      $13.00
2018         Disposition
December     Asset                   12/13/18 NM          260 Prepare documents for real estate broker regarding violations on six buildings currently                 1.0 0.1666667         $43.33
2018         Disposition                                      listed for sale (1.0)
December     Asset                   12/14/18 AEP         390 teleconference with receiver regarding status of final draft of purchase and sale agreement              0.1 0.0166667          $6.50
2018         Disposition                                      (.1)
December     Asset                   12/14/18 AEP         390 incorporate proposed modifications as warranted (.7)                                                     0.7 0.1166667         $45.50
2018         Disposition
December     Asset                   12/14/18 AEP         390 Teleconferences with receivership real estate broker regarding status of final draft of                  0.1 0.0166667          $6.50
2018         Disposition                                      purchase and sale agreement (.1)
December     Asset                   12/14/18 AEP         390 read all comments on draft purchase and sale agreement (.3)                                              0.3         0.05      $19.50
2018         Disposition
December     Asset                   12/14/18 AEP         390 and finalize purchase and sale agreement for property in first marketing tranche (5001 S                 0.7          0.7     $273.00
2018         Disposition                                      Drexel) (.7).
December     Asset                   12/14/18 AEP         390 teleconference with N. Mirjanich regarding pending administrative and judicial actions                   0.4 0.0666667         $26.00
2018         Disposition                                      pending against properties in first marketing tranche (.4)
December     Asset                   12/14/18 MR          390 Attention to issues in draft purchase and sales agreement and conferences regarding same.                0.8 0.1333333         $52.00
2018         Disposition
December     Asset                   12/14/18 NM          260 correspond with A. Porter regarding same and violations disclosures (.3).                                0.3         0.05      $13.00
2018         Disposition
December     Asset                   12/14/18 NM          260 Correspond with real estate broker regarding documents for violations on six buildings                   0.2 0.0333333          $8.67
2018         Disposition                                      currently listed for sale (.2)
December     Asset                   12/15/18 AEP         390 proofread, edit, revise, and customize purchase and sale agreements for all properties in first          3.1 0.5166667        $201.50
2018         Disposition                                      marketing tranche (3.1).
December     Asset                   12/15/18 AEP         390 Teleconference with receivership broker regarding status of preparation of purchase and                  0.3         0.05      $19.50
2018         Disposition                                      sale agreements and final comments thereon (.3)
December     Asset                   12/15/18 MR          390 Review purchase and sales agreement and other emails regarding same (.4)                                 0.4 0.0666667         $26.00
2018         Disposition
December     Asset                   12/15/18 MR          390 attention to other emails regarding issues on property and appraisals (.2).                              0.2 0.0333333         $13.00
2018         Disposition




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
December     Asset                   12/17/18 AEP             390 Teleconference with principal of potentially interested bidder regarding bid selection, timing,          0.5          0.5     $195.00
2018         Disposition                                          modifications to purchase and sale contract, brokerage commissions, and other issues.

December     Asset                   12/17/18 KMP             140 Conference with K. Duff regarding review of lender statements to determine investor                      0.1 0.0166667          $2.33
2018         Disposition                                          interests in properties currently for sale (.1)
December     Asset                   12/17/18 KMP             140 begin review of lender statements in connection with same (.6).                                          0.6          0.1      $14.00
2018         Disposition
December     Asset                   12/18/18 AEP             390 teleconference with counsel for buyer of property in first marketing tranche (5001 S Drexel)             0.4          0.4     $156.00
2018         Disposition                                          regarding proposed modifications to purchase and sale agreement (.4)

December     Asset                   12/18/18 AEP             390 conference calls with property managers regarding security deposit issues (.3).                          0.3         0.05      $19.50
2018         Disposition
December     Asset                   12/18/18 AEP             390 Conference with receivership team to select best bids on all properties in first marketing               1.8          0.3     $117.00
2018         Disposition                                          tranche (1.8)
December     Asset                   12/18/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             1.7 0.2833333         $39.67
2018         Disposition                                          for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                   12/18/18 SZ              110 office conference with K. Duff regarding same (.1).                                                      0.1 0.0166667          $1.83
2018         Disposition
December     Asset                   12/18/18 SZ              110 Research and retrieving of emails showing financial positions of investors in various                    1.7 0.2833333         $31.17
2018         Disposition                                          properties (at 5001 S. Drexel, 7500-06 S. Eggleston Ave., 7547-49 S. Essex Ave., 7927-49 S.
                                                                  Essex Ave., 8100 S. Essex, 6160-6212 S. Martin Luther King Drive) (1.7)

December     Asset                   12/19/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             3.1 0.5166667         $72.33
2018         Disposition                                          for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                   12/19/18 NM              260 Correspond with K. Duff and M. Rachlis regarding offers from real estate broker.                         0.1 0.0166667          $4.33
2018         Disposition
December     Asset                   12/20/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.9 0.4833333         $67.67
2018         Disposition                                          for sale and prepare spreadsheet tracking lender information for each property, and
                                                                  conference with K. Duff regarding same.
December     Asset                   12/20/18 MR              390 Attention to various issues on property's regarding issues on disposition.                               0.4 0.0666667         $26.00
2018         Disposition
December     Asset                   12/21/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.4          0.4      $56.00
2018         Disposition                                          for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                   12/21/18 MR              390 Participate in meetings regarding offers to purchase and several conferences regarding same              2.5 0.4166667        $162.50
2018         Disposition                                          (2.5)
December     Asset                   12/21/18 MR              390 attention to various issues on strategy regarding sales and issues in litigation (2.5).                  2.5 0.4166667        $162.50
2018         Disposition
December     Asset                   12/21/18 NM              260 prepare for same by creating spreadsheet of outstanding water bills on same properties and               0.8 0.1333333         $34.67
2018         Disposition                                          exchange correspondence and study documents from City representative regarding same
                                                                  (.8)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated       Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours            Fees
December     Asset                   12/21/18 NM          260 exchange correspondence with property managers regarding outstanding water bills and                     0.6          0.1         $26.00
2018         Disposition                                      create spreadsheet for same (.6)
December     Asset                   12/21/18 NM          260 Office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding offers           2.2 0.3666667            $95.33
2018         Disposition                                      received on the 6 properties for sale (2.2)
December     Asset                   12/23/18 AEP         390 read proposed changes submitted by prospective purchaser of property in first marketing                  2.1          2.1        $819.00
2018         Disposition                                      tranche (5001 S Drexel), edit and revise purchase and sale agreement to incorporate
                                                              revisions as necessary, circulate draft for review, and send revised draft to buyer's counsel
                                                              with explanation of remaining issues (2.1).
December     Asset                   12/23/18 AEP         390 Review all contracts accepted by receiver and prepare separate closing checklists (1.2)                  1.2          0.2         $78.00
2018         Disposition
December     Asset                   12/27/18 AEP         390 read proposed rider to contract for sale of property (5001 S Drexel), revise, and transmit to            0.5          0.5        $195.00
2018         Disposition                                      prospective buyer's counsel with comments (.5).
December     Asset                   12/27/18 AEP         390 Teleconference with K. Duff regarding status of building code violations of properties in first          0.6          0.1         $39.00
2018         Disposition                                      marketing tranche (.6)
December     Asset                   12/27/18 MR          390 several conferences and attention to issues on various areas of correspondence on asset                  0.5 0.0833333            $32.50
2018         Disposition                                      disposition (.5).
December     Asset                   12/27/18 MR          390 Attention to email on sales of property (.1)                                                             0.1 0.0166667             $6.50
2018         Disposition
December     Asset                   12/28/18 MR          390 Attention to upcoming meetings on property sales.                                                        0.2 0.0333333            $13.00
2018         Disposition
December     Asset                   12/29/18 AEP         390 Review latest proposed verbiage to Rider of contract for sale of property in first marketing             1.0               1     $390.00
2018         Disposition                                      tranche (5001 S Drexel), prepare superseding draft incorporating new language providing for
                                                              re-proration of property taxes, prepare execution-ready copy of contract, and transmit to
                                                              buyer's counsel.
December     Asset                   12/29/18 MR          390 Communicate with K. Duff regarding upcoming meeting on property sales.                                   0.1 0.0166667             $6.50
2018         Disposition
December     Asset                   12/31/18 MR          390 Attention to issues on purchase agreement (.4)                                                           0.4 0.0666667            $26.00
2018         Disposition
December     Asset                   12/31/18 MR          390 follow up emails with K. Duff (.2).                                                                      0.2 0.0333333            $13.00
2018         Disposition
December     Business                12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                         0.1 0.0009434             $0.37
2018         Operations
December     Business                12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various              2.8 0.0264151            $10.30
2018         Operations                                       issues (2.8)
December     Business                12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                               0.3 0.0028302             $0.74
2018         Operations
December     Business                12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work                1.3 0.0122642             $3.19
2018         Operations                                       to address City violations and his plan for same (1.3)
December     Business                12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                               0.2 0.0018868             $0.26
2018         Operations
December     Business                12/12/18 MR          390 Prepare for and participate in meeting with City officials and conferences regarding same                3.0 0.0283019            $11.04
2018         Operations                                       with K. Duff and N. Mirjanich.




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
December     Business                12/12/18 NM          260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018         Operations                                       removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                              properties with violations (1.5)
December     Business                12/12/18 NM          260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018         Operations                                       Rachlis and K. Duff regarding same (2.5)
December     Business                12/13/18 AW          140 Confer with N. Mirjanich regarding documents requested by broker regarding code violations              0.2 0.0333333          $4.67
2018         Operations                                       (.2)
December     Business                12/17/18 MR          390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472          $0.88
2018         Operations
December     Business                12/17/18 MR          390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652          $3.07
2018         Operations
December     Business                12/18/18 KMP         140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706          $0.21
2018         Operations                                       income from property manager and conference with K. Duff regarding same.

December     Business                12/19/18 NM          260 Study and respond to outstanding emails regarding Court docket entries, creditor invoices,              1.2          0.1      $26.00
2018         Operations                                       City litigation and updates to properties from property managers and City attorneys,
                                                              outstanding water debt and correspondence from City attorneys and with K. Duff on same,
                                                              EB counsel regarding motion to lift stay in personal injury case, emails in EB account (1.2)

December     Business                12/20/18 NM          260 prepare for telephone conference with City attorney regarding outstanding water utilities,              1.5         0.25      $65.00
2018         Operations                                       study documents sent regarding same, and correspond with property managers regarding
                                                              same (1.5)
December     Business                12/20/18 NM          260 study list of properties for unpaid water utilities and begin to organize by property manager           0.1 0.0166667          $4.33
2018         Operations                                       to send to City attorney (.1)
December     Business                12/20/18 NM          260 telephone conference with City attorney regarding outstanding water utilities (.5)                      0.5 0.0833333         $21.67
2018         Operations
December     Business                12/20/18 NM          260 correspond with K. Duff and real estate broker regarding same (.1)                                      0.1 0.0166667          $4.33
2018         Operations
December     Business                12/21/18 NM          260 Study and respond to outstanding emails relating to code violations and with property                   0.7 0.1166667         $30.33
2018         Operations                                       managers regarding the same, outstanding water bills and correspond with property
                                                              managers regarding the same, properties with violations and City attorney regarding the
                                                              same (.7)
December     Business                12/27/18 MR          390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708          $1.31
2018         Operations
December     Claims                  12/06/18 ED          390 review correspondence and documents relating to equity investment in two properties (.3)                0.3         0.15      $58.50
2018         Administration
             & Objections

December     Claims                  12/07/18 MR          390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236        $4.38
2018         Administration                                   other issues.
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
January      Asset                   01/02/19 KBD         390 Study contract for sale of property (5001 S Drexel) and review correspondence from A.                 0.2          0.2      $78.00
2019         Disposition                                      Porter regarding same.
January      Asset                   01/03/19 KBD         390 exchange correspondence with A. Porter regarding contract for property sale (5001 Drexel)             0.1          0.1      $39.00
2019         Disposition                                      (.1)
January      Asset                   01/04/19 KBD         390 Draft correspondence to A. Porter regarding property sales and tax appeals.                           0.1 0.0076923          $3.00
2019         Disposition
January      Asset                   01/07/19 KBD         390 draft correspondence to N. Mirjanich regarding broker's commission (.1).                              0.1 0.0166667          $6.50
2019         Disposition
January      Asset                   01/09/19 KBD         390 study correspondence from A. Porter regarding motion to approve sales (.1).                           0.1 0.0166667          $6.50
2019         Disposition
January      Asset                   01/09/19 KBD         390 Work on motions to approve sale of properties with N. Mirjanich (.2)                                  0.2 0.0333333         $13.00
2019         Disposition
January      Asset                   01/10/19 KBD         390 Study correspondence from A. Porter regarding proposed order approving sale of properties             0.1 0.0166667          $6.50
2019         Disposition                                      (.1)
January      Asset                   01/10/19 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding timing for motion to approve             0.2 0.0333333         $13.00
2019         Disposition                                      property sales (.2).
January      Asset                   01/15/19 KBD         390 Discuss review of EquityBuild records to identify people for whom to provide notice of                0.1 0.0166667          $6.50
2019         Disposition                                      motion to approve sale of real estate with K. Pritchard (.1)
January      Asset                   01/25/19 KBD         390 analysis of motion to approve sale of properties with N. Mirjanich (.1)                               0.1 0.0166667          $6.50
2019         Disposition
January      Asset                   01/25/19 KBD         390 Telephone conference with real estate broker regarding status of work for sale approval (.1)          0.1 0.0166667          $6.50
2019         Disposition
January      Asset                   01/28/19 KBD         390 study correspondence from N. Mirjanich regarding broker commissions (.1).                             0.1 0.0166667          $6.50
2019         Disposition
January      Business                01/02/19 KBD         390 Review water bill issue and office conference with and review correspondence from N.                  0.2 0.0285714         $11.14
2019         Operations                                       Mirjanich regarding same (.2)
January      Business                01/09/19 KBD         390 Review correspondence from property manager regarding water bills (.1)                                0.1 0.0333333         $13.00
2019         Operations
January      Business                01/10/19 KBD         390 study property management report (.2)                                                                 0.2 0.0029412          $1.15
2019         Operations
January      Business                01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708          $1.31
2019         Operations
January      Business                01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701          $2.33
2019         Operations
January      Business                01/11/19 KBD         390 review correspondence from property manager and A. Porter regarding payment of water                  0.1 0.0333333         $13.00
2019         Operations                                       bills (.1)
January      Business                01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118          $1.72
2019         Operations                                       regarding same (.3)
January      Business                01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118          $1.72
2019         Operations
January      Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434          $0.37
2019         Operations




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
January      Business                01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                       0.3 0.0033708          $1.31
2019         Operations
January      Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City               0.2 0.0018868          $0.74
2019         Operations                                       officials regarding scofflaw list (.2).
January      Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding              0.1 0.0009434          $0.37
2019         Operations                                       portfolio compliance and disposition issues (.1)
January      Business                01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                        0.2 0.0022472          $0.88
2019         Operations
January      Business                01/30/19 KBD         390 study correspondence from E. Duff regarding insurance coverage issue and proof of                    0.1          0.1      $39.00
2019         Operations                                       insurance (.1)
January      Business                01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                1.5 0.0168539          $6.57
2019         Operations
January      Business                01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                          0.1 0.0011236          $0.44
2019         Operations
January      Business                01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge          0.3 0.0033708          $1.31
2019         Operations                                       Kim and preparation for meeting with lenders' counsel (.3).
January      Claims                  01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                0.1 0.0011236          $0.44
2019         Administration                                   (.1)
             & Objections

January      Claims                  01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                               0.3 0.0033708          $1.31
2019         Administration
             & Objections

January      Claims                  01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                    0.4 0.0044944          $1.75
2019         Administration                                   preparation for meeting regarding same (.4)
             & Objections

January      Claims                  01/30/19 KBD         390 study correspondence from E. Duff regarding loans on various properties (.1)                         0.1 0.0090909          $3.55
2019         Administration
             & Objections

January      Claims                  01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                       0.1 0.0011236          $0.44
2019         Administration                                   correspondence with real estate broker regarding same (.1)
             & Objections

January      Claims                  01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                  0.6 0.0067416          $2.63
2019         Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
January      Claims                  01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618        $2.19
2019         Administration                                   regarding same (.5).
             & Objections

January      Claims                  01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955          $9.20
2019         Administration                                   (2.1)
             & Objections

January      Claims                  01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618        $2.19
2019         Administration                                   (.5).
             & Objections

January      Asset                   01/03/19 AW          140 Attention to purchase and sale agreement (5001 S Drexel) and draft correspondence to A.                   0.2          0.2      $28.00
2019         Disposition                                      Porter regarding same.
January      Asset                   01/05/19 AEP         390 review and analyze title documents and prepare title examinations on two properties (5001                 3.0          1.5     $585.00
2019         Disposition                                      S Drexel and 6160 S Martin Luther King) (3.0).
January      Asset                   01/05/19 AEP         390 Create or update closing checklists and create closing statements, and assemble information               4.4 0.7333333        $286.00
2019         Disposition                                      needed to prepare closing documents and obtain necessary governmental approvals for all
                                                              properties in first sales tranche (4.4)
January      Asset                   01/08/19 AEP         390 Teleconference with survey company regarding proposal to perform surveys on properties in                 0.2 0.0333333         $13.00
2019         Disposition                                      first marketing tranche (.2)
January      Asset                   01/09/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding timing of closings of first tranche of             0.6          0.1      $39.00
2019         Disposition                                      properties and critical paths thereto, issues regarding EBF loans on title commitments, and
                                                              rooftop lease at property being sold (8100 S Essex) (.6).
January      Asset                   01/10/19 AEP         390 begin reviewing closing checklists on all properties in first tranche, assembling litigation due          1.2          0.2      $78.00
2019         Disposition                                      diligence documents, and transmitting same to counsel for corresponding sellers (1.2).

January      Asset                   01/10/19 NM          260 Draft motion to approve sale of first set of properties (8100 S. Essex, 7549 S. Essex, 5001 S.            2.2 0.3666667         $95.33
2019         Disposition                                      Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) (2.2)
January      Asset                   01/10/19 NM          260 correspond with K. Duff and property manager regarding outstanding water bills for same                   0.1 0.0166667          $4.33
2019         Disposition                                      and revise spreadsheet to reflect same (.1).
January      Asset                   01/11/19 AEP         390 Review closing checklists for all properties in first marketing tranche and finalize all open             1.1 0.1833333         $71.50
2019         Disposition                                      issues, including due diligence productions, delivery of all joint order escrow forms to title
                                                              company, and research into current water delinquencies.
January      Asset                   01/11/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                3.7 0.6166667        $160.33
2019         Disposition                                      Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                              with K. Duff and A. Porter regarding same.
January      Asset                   01/13/19 AEP         390 compile and submit all building-specific and earnest money information requested by escrow                0.4 0.0666667         $26.00
2019         Disposition                                      administrator at title company (.4).
January      Asset                   01/13/19 AEP         390 Review revised charts of pending administrative actions and distribute latest orders to                   0.2 0.0333333         $13.00
2019         Disposition                                      buyers in first marketing tranche (.2)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
January      Asset                   01/14/19 AEP         390 compile and transmit prior title commitments associated with properties contained in first             0.4 0.0666667         $26.00
2019         Disposition                                      marketing tranche to receivership surveyor and prepare e-mails introducing surveyor to
                                                              property managers for purpose of facilitating access (.4).
January      Asset                   01/14/19 AEP         390 Teleconference with receivership broker regarding status of closing process for first                  0.2 0.0111111          $4.33
2019         Disposition                                      marketing tranche and expectations regarding timing of commencement of marketing of
                                                              second tranche (.2)
January      Asset                   01/14/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.             1.7 0.2833333         $73.67
2019         Disposition                                      Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                              with K. Duff regarding same.
January      Asset                   01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                   0.5    0.005618        $2.19
2019         Disposition                                      properties with institutional debt.
January      Asset                   01/16/19 NM          260 Revise motion to approve public sale process for second round of property sales and revise             1.0 0.0555556         $14.44
2019         Disposition                                      motion for court approval of the sale of the first round of properties and correspond with A.
                                                              Porter regarding documents from title company for same.
January      Asset                   01/17/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.             1.1 0.1833333         $47.67
2019         Disposition                                      Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex).
January      Asset                   01/18/19 NM          260 Update spreadsheet to reflect code violations and other building issues at properties being            0.3         0.05      $13.00
2019         Disposition                                      sold as part of the second property sale and revise motion for sale of first round of
                                                              properties.
January      Asset                   01/21/19 NM          260 summarize status of properties in first round of public sale with respect to updates in City           0.4 0.0666667         $17.33
2019         Disposition                                      litigation and outstanding utility bills (.4).
January      Asset                   01/22/19 AEP         390 teleconference with survey company associate regarding pricing, payment, and proofing of               0.1 0.0166667          $6.50
2019         Disposition                                      first batch of surveys (.1)
January      Asset                   01/22/19 AEP         390 teleconference with title company regarding status of preparation of title commitments for             0.3         0.05      $19.50
2019         Disposition                                      first tranche of properties, processing of title orders for second tranche, and going-forward
                                                              method for processing title commitments (.3)
January      Asset                   01/22/19 AEP         390 teleconference with title company regarding itemization of all released or unreleased                  0.2 0.0222222          $8.67
2019         Disposition                                      mortgagees on title commitments for properties presently or previously encumbered by EBF
                                                              loans (.2)
January      Asset                   01/23/19 AEP         390 Communications with purchasers of property under contract of sale (5001 S Drexel)                      0.1          0.1      $39.00
2019         Disposition                                      regarding production of title commitment and deposit of additional earnest money (.1)

January      Asset                   01/23/19 AEP         390 read all administrative orders entered in preceding two weeks, make notes in corresponding             0.2 0.0333333         $13.00
2019         Disposition                                      building purchase and sale files, and notify counsel of orders entered in actions affecting
                                                              buildings in first marketing tranche (.2)
January      Asset                   01/23/19 AEP         390 update closing checklists for all properties in first marketing tranche (.3)                           0.3         0.05      $19.50
2019         Disposition
January      Asset                   01/24/19 AEP         390 review and approve survey for property under contract (5001 S Drexel) (.1).                            0.1          0.1      $39.00
2019         Disposition
January      Asset                   01/24/19 NM          260 prepare for meeting with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow              0.3         0.05      $13.00
2019         Disposition                                      amounts for the first round of property sales (.3)
January      Asset                   01/24/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with K.              2.8 0.4666667        $121.33
2019         Disposition                                      Pritchard regarding notice for same (2.8)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
January      Asset                   01/24/19 NM          260 office conference with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow                   1.8          0.3      $78.00
2019         Disposition                                      amounts for the first round of property sales (1.8).
January      Asset                   01/25/19 AEP         390 Teleconference with receiver and receivership broker on status of preparation of closing of               0.2 0.0333333         $13.00
2019         Disposition                                      sales of properties in first marketing tranche (.2)
January      Asset                   01/25/19 AEP         390 meeting with N. Mirjanich regarding title exceptions to be included in proposed order                     0.4 0.0666667         $26.00
2019         Disposition                                      approving sales of properties in first tranche, notice to affected parties, and other related
                                                              issues (.4).
January      Asset                   01/25/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with A.                 2.1         0.35      $91.00
2019         Disposition                                      Porter regarding title commitments and information regarding same in order (2.1)

January      Asset                   01/25/19 NM          260 correspond with K. Pritchard and S. Zjalic regarding notice for the sale of the first round of            0.5 0.0833333         $21.67
2019         Disposition                                      properties (.5).
January      Asset                   01/28/19 AEP         390 Conference call with N. Mirjanich regarding special exceptions on title commitments relating              1.0 0.1666667         $65.00
2019         Disposition                                      to properties in first marketing tranche.
January      Asset                   01/28/19 NM          260 correspond with A. Porter regarding title commitments and information regarding same in                   1.0 0.1666667         $43.33
2019         Disposition                                      order (1.0).
January      Asset                   01/28/19 NM          260 Revise motion to approve the sale of the first round of properties (2.1)                                  2.1         0.35      $91.00
2019         Disposition
January      Asset                   01/29/19 AEP         390 research regarding liens (.3).                                                                            0.3         0.05      $19.50
2019         Disposition
January      Asset                   01/29/19 AEP         390 update closing checklists for properties in first marketing tranche (.2)                                  0.2 0.0333333         $13.00
2019         Disposition
January      Asset                   01/29/19 AEP         390 conference with N. Mirjanich regarding preparation of motion relating to receivership                     0.3         0.05      $19.50
2019         Disposition                                      properties (.3)
January      Asset                   01/29/19 ED          390 Update notice information for counsel to lenders with respect to properties to be sold (6160              0.4          0.2      $78.00
2019         Disposition                                      S MLK, 5001 S Drexel).
January      Asset                   01/29/19 NM          260 Revise motion to approve the sale of the first round of properties and correspond with A.                 2.7         0.45     $117.00
2019         Disposition                                      Porter regarding title commitments, information regarding same in order, and filing of same
                                                              and correspond with K. Duff regarding same.
January      Asset                   01/30/19 AEP         390 review title commitments and begin preparation of notice list for all properties in first                 0.2 0.0333333         $13.00
2019         Disposition                                      tranche (.2)
January      Asset                   01/30/19 AEP         390 continue researching sale issue (.4)                                                                      0.4 0.0666667         $26.00
2019         Disposition
January      Asset                   01/30/19 AEP         390 Update closing checklists for all properties in first tranche (.2)                                        0.2 0.0333333         $13.00
2019         Disposition
January      Asset                   01/30/19 AEP         390 begin preparation of motion to approve sales of properties in first tranche (.8).                         0.8 0.1333333         $52.00
2019         Disposition
January      Business                01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618        $2.19
2019         Operations                                       issues (.5)
January      Business                01/10/19 ED          390 Review loan documents for multiple properties pending sale (6160 MLK, 5001 Drexel, 4520                   2.1          0.7     $273.00
2019         Operations                                       Drexel) (2.1)
January      Business                01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416          $2.63
2019         Operations


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
January      Business                01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion              1.2 0.0134831         $5.26
2019         Operations                                       with Receiver (1.2)
January      Business                01/11/19 AEP         390 Conference with receivership team to discuss sales proceeds and lenders.                               1.0 0.1666667        $65.00
2019         Operations
January      Business                01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)             0.1 0.0011236         $0.44
2019         Operations
January      Business                01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross          0.1 0.0014706         $0.21
2019         Operations                                       rents for December (.1)
January      Business                01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls            0.2 0.0029412         $0.41
2019         Operations                                       for December and communications with K. Duff regarding same (.2).

January      Business                01/22/19 AEP         390 work to organize closing statements from refinances of properties in first two marketing               0.4 0.0222222         $8.67
2019         Operations                                       tranches (.4).
January      Business                01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                0.3 0.0033708         $1.31
2019         Operations                                       assorted lenders' counsel (.3).
January      Business                01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                   0.4 0.0044944         $1.75
2019         Operations                                       lender's counsel to discuss questions for Receiver (.4)
January      Business                01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                    0.5    0.005618       $2.19
2019         Operations
January      Business                01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                             1.0    0.011236       $4.38
2019         Operations
January      Business                01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                   0.2 0.0022472         $0.88
2019         Operations                                       meeting.
January      Business                01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019         Operations
January      Business                01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019         Operations                                       1 meeting (.9)
January      Business                01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019         Operations                                       insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                              counsel (.7)
January      Business                01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019         Operations                                       related exhibits and materials regarding same (4.6)
January      Business                01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019         Operations




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  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
January      Business                01/30/19 AEP         390 Research first installment property tax liability associated with properties in preparation for          0.4 0.0666667         $26.00
2019         Operations                                       02/01/19 meeting.
January      Business                01/30/19 ED          390 Provide lists of properties by lender to N. Mirjanich to answer inquiries regarding city                 0.1         0.01       $3.90
2019         Operations                                       violation proceedings (.1)
January      Business                01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                   0.9 0.0101124          $3.94
2019         Operations
January      Business                01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                           0.2 0.0022472          $0.88
2019         Operations
January      Business                01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,                7.8 0.0876404         $34.18
2019         Operations                                       including detailed review of exhibits and related documents, regarding issues on rent
                                                              assignment and leases (7.8)
January      Business                01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                      0.5    0.005618        $2.19
2019         Operations                                       assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                              lenders (.5).
January      Business                01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with                 1.7 0.0191011          $7.45
2019         Operations                                       lenders' motion to enforce assignment of rents and leases (1.7)
January      Business                01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                     0.7 0.0078652          $3.07
2019         Operations                                       meeting with lenders' counsel (.7).
January      Business                01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                       6.0 0.0674157         $26.29
2019         Operations
January      Business                01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                                1.7 0.0191011          $7.45
2019         Operations
January      Claims                  01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                               0.2 0.0022472          $0.88
2019         Administration
             & Objections

January      Claims                  01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                    0.5    0.005618        $2.19
2019         Administration                                   meeting with lenders (.5).
             & Objections

January      Claims                  01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                              1.0    0.011236        $4.38
2019         Administration
             & Objections

January      Claims                  01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                    1.8 0.0202247          $7.89
2019         Administration                                   meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                     meeting with lenders.

January      Claims                  01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)              2.0 0.0224719          $8.76
2019         Administration
             & Objections




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  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
January      Claims                  01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                     0.7 0.0078652          $3.07
2019         Administration
             & Objections

February     Asset                   02/01/19 KBD         390 study correspondence from N. Mirjanich regarding property sales and receivership costs (.1)              0.1 0.0166667          $6.50
2019         Disposition
February     Asset                   02/01/19 KBD         390 Office conference with N. Mirjanich regarding meeting with title company (.2)                            0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/01/19 KBD         390 telephone conference with real estate broker regarding sale of first listed properties, listing          0.6 0.0333333         $13.00
2019         Disposition                                      of second set of properties (.6)
February     Asset                   02/07/19 KBD         390 Exchange correspondence with A. Porter regarding title company communications and                        0.1 0.0166667          $6.50
2019         Disposition                                      efforts relating to preparation of properties for closing.
February     Asset                   02/08/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of properties (.1)                  0.1 0.0166667          $6.50
2019         Disposition
February     Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser                0.1 0.0009346          $0.36
2019         Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February     Asset                   02/09/19 KBD         390 Exchange correspondence with A. Porter and M. Rachlis regarding motion to approve sale of                0.3         0.05      $19.50
2019         Disposition                                      properties.
February     Asset                   02/10/19 KBD         390 Study correspondence and revised motion to approve sale of real estate from A. Porter.                   0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/11/19 KBD         390 telephone conference with M. Rachlis, N. Mirjanich and A. Porter regarding motion to                     1.7 0.2833333        $110.50
2019         Disposition                                      approve and sale proceeds (1.7)
February     Asset                   02/11/19 KBD         390 discuss same with N. Mirjanich (.2)                                                                      0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/11/19 KBD         390 study correspondence regarding broker commissions on property sales (.1)                                 0.1 0.0166667          $6.50
2019         Disposition
February     Asset                   02/11/19 KBD         390 Study draft motion to approve sale of real estate (1.0)                                                  1.0 0.1666667         $65.00
2019         Disposition
February     Asset                   02/11/19 KBD         390 telephone conference with real estate broker representatives, M. Rachlis, N. Mirjanich, and              0.7 0.1166667         $45.50
2019         Disposition                                      A. Porter regarding sales proceeds (.7)
February     Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).           0.2 0.0018868          $0.74
2019         Disposition
February     Asset                   02/12/19 KBD         390 Study revised motion to approve sale of properties and study correspondence regarding                    0.2 0.0333333         $13.00
2019         Disposition                                      service of same.
February     Asset                   02/13/19 KBD         390 study revise motion to approve sale of properties (.2)                                                   0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/13/19 KBD         390 study draft order approving sale of properties (.1).                                                     0.1 0.0166667          $6.50
2019         Disposition
February     Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                  0.2 0.0018868          $0.74
2019         Disposition
February     Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                         0.6 0.0056604          $2.21
2019         Disposition


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
February     Asset                   02/13/19 KBD         390 telephone conferences with real estate broker regarding sales and buyer criteria and motion             0.4 0.0666667         $26.00
2019         Disposition                                      to approve sales (.4)
February     Asset                   02/14/19 KBD         390 Study revised motion to approve sale of real estate and various correspondence regarding                0.7 0.1166667         $45.50
2019         Disposition                                      same (.7)
February     Asset                   02/14/19 KBD         390 telephone conference with A. Porter regarding title company concerns and about revisions                0.9         0.15      $58.50
2019         Disposition                                      to motion to approve sale of properties (.9)
February     Asset                   02/14/19 KBD         390 telephone conference with A. Porter and N. Mirjanich regarding motion to approve sale of                0.1 0.0166667          $6.50
2019         Disposition                                      real estate (.1)
February     Asset                   02/15/19 KBD         390 review correspondence from E. Duff to lenders counsel regarding motion to approve sale of               0.1 0.0166667          $6.50
2019         Disposition                                      properties (.1).
February     Asset                   02/15/19 KBD         390 Study and revise notice provisions to motion to approve sale of real estate and proposed                0.4 0.0666667         $26.00
2019         Disposition                                      order (.4)
February     Asset                   02/15/19 KBD         390 several lengthy discussions with A. Porter, M. Mirjanich, and A. Watychowicz regarding three            1.7 0.0944444         $36.83
2019         Disposition                                      motions filed (1.7)
February     Asset                   02/15/19 KBD         390 telephone conference with title company representatives, A. Porter, and N. Mirjanich                    0.2 0.0333333         $13.00
2019         Disposition                                      regarding notice of motion to approve sale of real estate, claims process, and court approval
                                                              (.2)
February     Asset                   02/15/19 KBD         390 study and further revise several drafts of motion and proposed draft order approving sale of            0.8 0.1333333         $52.00
2019         Disposition                                      real estate to address title company comments and office conference with A. Porter
                                                              regarding same (.8)
February     Asset                   02/16/19 KBD         390 Review plan for service of motion for approval of sale of real estate with N. Mirjanich and A.          0.2 0.0333333         $13.00
2019         Disposition                                      Watychowicz.
February     Asset                   02/19/19 KBD         390 study defendants' objection to motion to approve sale properties (.2)                                   0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/19/19 KBD         390 study another lender objections to second motion to approve sale of properties (.1)                     0.1 0.0166667          $6.50
2019         Disposition
February     Asset                   02/21/19 KBD         390 draft correspondence to A. Watychowicz and N. Mirjanich regarding investor                              0.1 0.0166667          $6.50
2019         Disposition                                      communications regarding motion to approve sales (.1).
February     Business                02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925          $0.58
2019         Operations
February     Business                02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412          $1.15
2019         Operations
February     Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037          $1.09
2019         Operations
February     Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383          $1.46
2019         Operations                                       (.4)
February     Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346          $0.36
2019         Operations
February     Business                02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
2019         Operations
February     Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346          $0.36
2019         Operations                                       issue (.1).




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
February     Business                02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412         $1.15
2019         Operations
February     Business                02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412         $1.15
2019         Operations                                       and financial information (.2)
February     Business                02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706         $0.57
2019         Operations
February     Business                02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706         $0.57
2019         Operations
February     Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                 0.1 0.0009346         $0.36
2019         Operations                                       representative (.1)
February     Business                02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                     0.1 0.0014925         $0.58
2019         Operations                                       rental income (.1)
February     Business                02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2019         Operations
February     Business                02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                   0.2 0.0029412         $1.15
2019         Operations                                       documentation (.2)
February     Business                02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                       0.1 0.0014706         $0.57
2019         Operations
February     Business                02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                         0.1 0.0014706         $0.57
2019         Operations
February     Business                02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                   0.2 0.0022472         $0.88
2019         Operations
February     Business                02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment             4.4 0.0494382        $19.28
2019         Operations                                       (4.4)
February     Business                02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                 1.3 0.0146067         $5.70
2019         Operations                                       regarding same (1.3)
February     Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434         $0.37
2019         Operations                                       maintenance and repairs (.1)
February     Business                02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337        $28.48
2019         Operations                                       and M. Rachlis regarding same and telephone conferences with asset managers and
                                                              property managers regarding related calculations (6.5)
February     Business                02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701         $2.33
2019         Operations                                       regarding real estate taxes and financial reporting (.4)
February     Business                02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                       spreadsheets regarding real estate tax analysis and study same (.5)
February     Business                02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                       (.1)
February     Business                02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                       taxes (1.4)




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  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
February     Claims                  02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787         $14.46
2019         Administration                                   regarding same (3.3)
             & Objections

February     Claims                  02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                  02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303          $6.13
2019         Administration
             & Objections

February     Claims                  02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618        $2.19
2019         Administration
             & Objections

February     Claims                  02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091          $1.33
2019         Administration                                   preparation of reporting (.3)
             & Objections

February     Claims                  02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                    0.3 0.0033708          $1.31
2019         Administration                                   regarding same (.3).
             & Objections

February     Asset                   02/01/19 AEP         390 preparation of motion to approve sales of properties in first marketing tranche, and                    0.4 0.0666667         $26.00
2019         Disposition                                      preparation for and timing of closings of sales of properties in first marketing tranche (.4).

February     Asset                   02/01/19 AEP         390 Meeting with N. Mirjanich and title company underwriter regarding waiver of specific title              2.5 0.4166667        $162.50
2019         Disposition                                      exceptions from commitments issued on properties in first tranche, preparation of title
                                                              invoices for properties in first tranche, and language of judicial order necessary to ensure
                                                              waiver of remaining title exceptions (2.5)
February     Asset                   02/01/19 NM          260 Prepare for meeting with title company (.2)                                                             0.2 0.0333333          $8.67
2019         Disposition
February     Asset                   02/01/19 NM          260 correspond with K. Duff, A. Porter, and M. Rachlis regarding the sale of the first round of             0.4 0.0666667         $17.33
2019         Disposition                                      properties (.4)
February     Asset                   02/01/19 NM          260 study and exchange email correspondence with attorney for title company following                       0.1 0.0166667          $4.33
2019         Disposition                                      meeting (.1)
February     Asset                   02/01/19 NM          260 appear for meeting with title company attorney and A. Porter regarding title commitments                2.5 0.4166667        $108.33
2019         Disposition                                      for the first sale of properties (2.5)
February     Asset                   02/01/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lenders              0.4 0.0222222          $5.78
2019         Disposition                                      for same (.4).
February     Asset                   02/02/19 AEP         390 complete title reinsurance underwriting form in connection with sale of property in first               0.3          0.3     $117.00
2019         Disposition                                      marketing tranche (5001 S Drexel) (.3)


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  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
February     Asset                   02/04/19 AEP         390 Edit, revise, and continue preparation of motion to approve sales of properties contained in             5.1         0.85     $331.50
2019         Disposition                                      first marketing tranche.
February     Asset                   02/04/19 ED          390 begin review of loan documents relating to properties proposed for sale (.4).                            0.4 0.0666667         $26.00
2019         Disposition
February     Asset                   02/04/19 ED          390 Review correspondence and documents from broker (.6)                                                     0.6          0.1      $39.00
2019         Disposition
February     Asset                   02/04/19 NM          260 Correspond with S. Zjalic regarding notice for the motion to approve the sale of the first               0.4 0.0666667         $17.33
2019         Disposition                                      round of properties and legal research on same and provide information for same (.4)

February     Asset                   02/04/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lender                0.5 0.0277778          $7.22
2019         Disposition                                      issues for same (.5)
February     Asset                   02/06/19 AEP         390 Review final draft of all surveys in first marketing tranche and request authorization to                0.2 0.0333333         $13.00
2019         Disposition                                      distribute to buyers' counsel (.2)
February     Asset                   02/08/19 AEP         390 Review latest drafts of all title commitments and distribute title commitments, title invoices,          0.4 0.0666667         $26.00
2019         Disposition                                      and surveys to counsel for all buyers in first marketing tranche (.4)
February     Asset                   02/08/19 AEP         390 update all closing checklists (.1)                                                                       0.1 0.0166667          $6.50
2019         Disposition
February     Asset                   02/08/19 AEP         390 teleconference with title underwriter regarding waiver of corporate authority special                    0.2 0.0333333         $13.00
2019         Disposition                                      exceptions from title commitments (.2)
February     Asset                   02/08/19 AEP         390 conference call with receivership broker regarding status of motions to approve sales of                 0.2 0.0111111          $4.33
2019         Disposition                                      properties in first and second marketing tranches and related issues (.2)
February     Asset                   02/08/19 NM          260 Correspond with A. Porter and K. Duff regarding status of filing motion to approve first                 0.1 0.0166667          $4.33
2019         Disposition                                      tranche of property sales.
February     Asset                   02/10/19 AEP         390 Review title commitments, title invoices, purchase and sale contracts, water bills, property             7.1 2.3666667        $923.00
2019         Disposition                                      tax bills, and other materials, prepare closing figures, and continue preparation of motion to
                                                              approve sales of certain receivership properties (5001-05 S Drexel, 6160-6212 S Martin
                                                              Luther King, and 8100 S Essex), study, edit, and revise consolidated motion and transmit to
                                                              team with explanation of remaining issues to be resolved prior to filing.

February     Asset                   02/11/19 AW          140 Meeting with N. Mirjanich and K. Pritchard regarding EB 1.0 and notice to investors,                     0.3         0.05       $7.00
2019         Disposition                                      creditors, and interested parties.
February     Asset                   02/11/19 NM          260 revise notice for same (.6)                                                                              0.6          0.1      $26.00
2019         Disposition
February     Asset                   02/11/19 NM          260 correspond with A. Porter regarding status of motion for same and revisions to same (.1)                 0.1 0.0166667          $4.33
2019         Disposition
February     Asset                   02/11/19 NM          260 Correspond with K. Duff, M. Rachlis, K. Pritchard, and A. Watychowicz regarding notice for               0.4 0.0666667         $17.33
2019         Disposition                                      the motion to approve the sale of the first tranche of properties (.4)
February     Asset                   02/11/19 NM          260 study motion to approve sale of the first tranche of properties from A. Porter, revise motion            5.9 0.9833333        $255.67
2019         Disposition                                      to approve the first tranche of property sales, and correspond with K. Duff, M. Rachlis, A.
                                                              Porter, and real estate broker regarding same (5.9)
February     Asset                   02/12/19 AEP         390 research regarding proposed order and finalize and circulate first draft of same (1.5).                  1.5         0.25      $97.50
2019         Disposition




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  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
February     Asset                   02/12/19 AEP         390 Study, edit, and revise latest draft of motion to approve sales of properties in first marketing          3.3         0.55     $214.50
2019         Disposition                                      tranche (3.3)
February     Asset                   02/12/19 AEP         390 review updated title commitments and invoices and revise closing statements to incorporate                1.1 0.1833333         $71.50
2019         Disposition                                      comments from team (1.1)
February     Asset                   02/12/19 NM          260 Study and respond to correspondence from A. Porter regarding motion to approve the sale                   0.1 0.0166667          $4.33
2019         Disposition                                      of the first property tranche (.1)
February     Asset                   02/12/19 NM          260 study same and correspond with M. Rachlis, E. Duff, and K. Duff regarding same (.9)                       0.9         0.15      $39.00
2019         Disposition
February     Asset                   02/12/19 NM          260 study comments on same from E. Duff, M. Rachlis, and K. Duff (.5).                                        0.5 0.0833333         $21.67
2019         Disposition
February     Asset                   02/13/19 AEP         390 teleconference with N. Mirjanich regarding suggested modifications to motion to approve                   0.2 0.0333333         $13.00
2019         Disposition                                      sale (.2)
February     Asset                   02/13/19 AEP         390 study, edit, and revise provisionally final draft of proposed motion to approve sale (1.2)                1.2          0.2      $78.00
2019         Disposition
February     Asset                   02/13/19 AEP         390 Review updated title commitments on various properties in first marketing tranche and                     0.5 0.0833333         $32.50
2019         Disposition                                      revise motion to approve sale accordingly (.5)
February     Asset                   02/13/19 AEP         390 perform final reconciliation of litigation information and title commitments and prepare e-               0.5 0.0833333         $32.50
2019         Disposition                                      mails to title company questioning non-inclusion of various administrative actions from
                                                              special exceptions (.5)
February     Asset                   02/13/19 AEP         390 revise appendix of exhibits to correspond to changes in structure of brief (.2)                           0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/13/19 AEP         390 revise proposed order to incorporate latest comments received from title company (.4).                    0.4 0.0666667         $26.00
2019         Disposition
February     Asset                   02/13/19 AEP         390 additional communications with title company regarding proposed order authorizing sale (.2)               0.2 0.0333333         $13.00
2019         Disposition
February     Asset                   02/13/19 AEP         390 correspondence and communications with title company regarding proposed changes to                        1.3 0.2166667         $84.50
2019         Disposition                                      proposed judicial order authorizing sale and prepare proposed revised order (1.3)

February     Asset                   02/13/19 MR          390 Conferences and review of e-mails regarding sale of properties and review of draft motion                 0.7 0.1166667         $45.50
2019         Disposition                                      and order regarding same.
February     Asset                   02/13/19 NM          260 Revise motion to approve the first tranche of property sales incorporating comments from E.               2.6 0.4333333        $112.67
2019         Disposition                                      Duff and M. Rachlis and correspond with A. Porter and K. Duff regarding same.

February     Asset                   02/14/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding title company position regarding                   0.9         0.15      $58.50
2019         Disposition                                      form of proposed order and potential avenues to resolving impasse and additional revisions
                                                              to motion to approve sale (.9)
February     Asset                   02/14/19 AEP         390 Teleconference with title company underwriters regarding form of proposed order                           0.6          0.1      $39.00
2019         Disposition                                      accompanying motion to approve sale and associated notice issues (.6)
February     Asset                   02/14/19 AEP         390 teleconference with K. Duff regarding title company issues with proposed order (.5).                      0.5 0.0833333         $32.50
2019         Disposition
February     Asset                   02/14/19 NM          260 study and exchange email correspondence with A. Porter and title company regarding sale of                0.2 0.0333333          $8.67
2019         Disposition                                      first tranche of properties (.2).




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  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
February     Asset                   02/14/19 NM          260 draft notice section for motion to approve the sale of the first round of properties (.5)                 0.5 0.0833333         $21.67
2019         Disposition
February     Asset                   02/14/19 NM          260 Correspond with K. Duff and A. Porter regarding motion to approve the sale of the first                   1.8          0.1      $26.00
2019         Disposition                                      tranche of properties and motion to approve the process for the second sale (1.8)

February     Asset                   02/15/19 AEP         390 legal research regarding issue relating to sale of properties (.8)                                        0.8 0.1333333         $52.00
2019         Disposition
February     Asset                   02/15/19 AEP         390 revise proposed order approving sale to incorporate title company comments (1.3)                          1.3 0.2166667         $84.50
2019         Disposition
February     Asset                   02/15/19 AEP         390 telephone conference with title company underwriters, K. Duff, and N. Mirjanich regarding                 0.2 0.0333333         $13.00
2019         Disposition                                      resolution of impasse regarding waiver of certain special exceptions (.2)

February     Asset                   02/15/19 AEP         390 analyze, edit, and revise service list, comparing same to recorded mortgages (.6)                         0.6          0.1      $39.00
2019         Disposition
February     Asset                   02/15/19 AEP         390 Teleconference with title company underwriters regarding proposed resolution to impasse                   0.3         0.05      $19.50
2019         Disposition                                      over title clearing issues (.3)
February     Asset                   02/15/19 AEP         390 study, edit, and revise motion for approval of sale (1.9)                                                 1.9 0.3166667        $123.50
2019         Disposition
February     Asset                   02/15/19 AEP         390 edit and revise proposed order to incorporate second sets of comments from title                          0.4 0.0666667         $26.00
2019         Disposition                                      underwriters (.4).
February     Asset                   02/15/19 AW          140 confer with A. Porter regarding same and provide additional explanation as to specific                    0.2 0.0333333          $4.67
2019         Disposition                                      registrations (.2)
February     Asset                   02/15/19 AW          140 work on filing of motions, accompanying exhibits, and notices (1.6).                                      1.6 0.0888889         $12.44
2019         Disposition
February     Asset                   02/15/19 AW          140 study and confirm that certificate of service to motion for sale is accurate (1.6)                        1.6 0.2666667         $37.33
2019         Disposition
February     Asset                   02/15/19 AW          140 Confer with N. Mirjanich and K. Duff regarding notice relating to properties listed for sale and          0.3         0.05       $7.00
2019         Disposition                                      every investor (.3)
February     Asset                   02/15/19 AW          140 attention to exchanges regarding multiple revisions to motions and exhibits (.5)                          0.5 0.0277778          $3.89
2019         Disposition
February     Asset                   02/15/19 NM          260 telephone conference with title company and with A. Porter and K. Duff regarding same (.2)                0.2 0.0333333          $8.67
2019         Disposition
February     Asset                   02/15/19 NM          260 Revise motion for court approval of the sale of the first tranche of properties and correspond            5.0 0.8333333        $216.67
2019         Disposition                                      with K. Duff, A. Watychowicz, A. Porter regarding the same and filing and service of the same
                                                              (5.0)
February     Asset                   02/16/19 AW          140 Service of motion to approve sale of first tranche of properties.                                         4.5         0.75     $105.00
2019         Disposition
February     Asset                   02/18/19 NM          260 study email correspondence from M. Rachlis, E. Duff and K. Duff regarding same from                       0.2 0.0333333          $8.67
2019         Disposition                                      lenders' counsel (.2)
February     Asset                   02/18/19 NM          260 Study email correspondence from investors regarding notice of motion for the first sale of                1.2          0.2      $52.00
2019         Disposition                                      properties and correspond with A. Watychowicz regarding responses to same (1.2)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
February     Asset                   02/18/19 NM              260 study spreadsheet from real estate broker with updated property disposition analysis in                  0.2 0.0333333          $8.67
2019         Disposition                                          advance of meeting for same (.2)
February     Asset                   02/19/19 MR              390 conferences and follow up regarding objections to motion to approve sales with lender's                  0.6          0.1      $39.00
2019         Disposition                                          counsel, A. Porter and K. Duff (.6).
February     Asset                   02/19/19 MR              390 Attention to preparation for upcoming hearing on various motions (1.2)                                   1.2 0.0666667         $26.00
2019         Disposition
February     Asset                   02/19/19 NM              260 office conference with A. Porter and J. Rak regarding closing information for the first tranche          0.9         0.15      $39.00
2019         Disposition                                          of property sales (.9)
February     Asset                   02/19/19 NM              260 Study objections to the motion to approve the sale of the first tranche and to approve the               0.9         0.05      $13.00
2019         Disposition                                          process for the second tranche and correspond (.9)
February     Asset                   02/19/19 NM              260 correspond with M. Rachlis regarding same (.1)                                                           0.1 0.0055556          $1.44
2019         Disposition
February     Asset                   02/19/19 NM              260 study EquityBuild email account for responses relating to motion to approve sale of the first            0.1 0.0166667          $4.33
2019         Disposition                                          tranche of properties (.1).
February     Asset                   02/20/19 AEP             390 Study, edit, and revise proposed e-mail from J. Rak to buyers of properties in first marketing           0.1 0.0166667          $6.50
2019         Disposition                                          tranche regarding information needed to complete preparation of closing documents (.1)

February     Asset                   02/20/19 JR              140 research of same needed for closing of all properties (2.2).                                             2.2 0.3666667         $51.33
2019         Disposition
February     Asset                   02/20/19 JR              140 Further drafting of closing documents (1.9)                                                              1.9 0.3166667         $44.33
2019         Disposition
February     Asset                   02/20/19 NM              260 study draft email responses from A. Watychowicz in response to questions from investors                  0.2 0.0333333          $8.67
2019         Disposition                                          and creditors resulting from the filing of the motion to approve the sale of the first tranche
                                                                  (.2).
February     Asset                   02/21/19 AEP             390 Review updated title history for remaining properties in first marketing tranche (7549-59 S              1.2          0.3     $117.00
2019         Disposition                                          Essex, 5001 S Drexel, 6160 S Martin Luther King, and 8100 S Essex), revise title commitment
                                                                  accordingly, and return to title company with revisions.
February     Asset                   02/21/19 JR              140 Continue drafting closing documents for all properties in the first tranche (5.1)                        5.1         0.85     $119.00
2019         Disposition
February     Asset                   02/22/19 AEP             390 Review special exceptions on updated title commitments to ensure all modifications were                  0.4 0.0666667         $26.00
2019         Disposition                                          properly made.
February     Asset                   02/25/19 AEP             390 review updated title commitments and responses received from buyers' counsel and revise                  1.1 0.1833333         $71.50
2019         Disposition                                          closing checklists accordingly (1.1).
February     Asset                   02/25/19 AEP             390 Meeting with J. Rak regarding all presently outstanding closing-related tasks associated with            1.3 0.0722222         $28.17
2019         Disposition                                          sales of properties in first marketing tranche and information to be assembled and
                                                                  populated into closing checklists for properties in second marketing tranche (1.3)

February     Asset                   02/25/19 JR              140 office conference with A. Porter reviewing closing documents and title documents that need               1.3 0.2166667         $30.33
2019         Disposition                                          to be sent to title company for the first tranche (1.3)
February     Asset                   02/26/19 JR              140 Exchange correspondence with A. Porter requesting a review of lien and for signature to                  0.1          0.1      $14.00
2019         Disposition                                          broker (.1)
February     Asset                   02/26/19 JR              140 exchange correspondence with broker requesting an updated commission statement and                       0.2          0.2      $28.00
2019         Disposition                                          request waiver of lien for signature (.2)


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
February     Asset                   02/26/19 JR              140 exchange correspondence with other management company requesting same (.2)                                0.2          0.1      $14.00
2019         Disposition
February     Asset                   02/26/19 JR              140 update closing checklists with new buyer information that was provided by buyer's counsel                 2.8 0.4666667         $65.33
2019         Disposition                                          (2.8).
February     Asset                   02/26/19 JR              140 exchange correspondence with title company attorney to inquire about closing documents                    0.1 0.0166667          $2.33
2019         Disposition                                          (.1)
February     Asset                   02/27/19 JR              140 updated all checklists with updated closing documents (1.8)                                               1.8          0.3      $42.00
2019         Disposition
February     Asset                   02/27/19 JR              140 Complete and email broker waiver of liens to A. Porter for the first tranche (.2)                         0.2 0.0333333          $4.67
2019         Disposition
February     Asset                   02/27/19 JR              140 exchange correspondence with updates received from buyer counsel and added on all                         2.7         0.45      $63.00
2019         Disposition                                          closing documents for the first tranche (2.7).
February     Asset                   02/28/19 JR              140 exchange correspondence with attorney from the title company regarding approval of                        0.1 0.0166667          $2.33
2019         Disposition                                          closing documents (.1).
February     Business                02/01/19 AW              140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618        $0.79
2019         Operations
February     Business                02/01/19 ED              390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787         $14.46
2019         Operations
February     Business                02/01/19 ED              390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303          $6.13
2019         Operations                                           (1.4)
February     Business                02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412          $0.41
2019         Operations                                           property expenses, and communicate same to K. Duff (.2)
February     Business                02/06/19 ED              390 confer with M. Rachlis regarding lenders' questions (.3)                                                  0.3         0.15      $58.50
2019         Operations
February     Business                02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                           violation (.2)
February     Business                02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                           in receivership portfolio (1.9).
February     Business                02/08/19 ED              390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618        $2.19
2019         Operations
February     Business                02/08/19 ED              390 review documents relating to loans and other claims on properties being considered for sale               1.3 0.2166667         $84.50
2019         Operations                                           (1.3).
February     Business                02/12/19 ED              390 review draft of Receiver's motion to approve sale (1.5)                                                   1.5         0.25      $97.50
2019         Operations
February     Business                02/12/19 ED              390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652          $3.07
2019         Operations                                           from institutional lenders (.7).
February     Business                02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                           building expenses.
February     Business                02/14/19 ED              390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909          $8.42
2019         Operations                                           rents by property (1.9)
February     Business                02/15/19 ED              390 draft and send email messages to lenders' counsel regarding motion for sale of properties                 0.7 0.1166667         $45.50
2019         Operations                                           (.7).




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
February     Business                02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).              0.1 0.0014925         $0.21
2019         Operations
February     Business                02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                            0.5    0.005618       $2.19
2019         Operations
February     Business                02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                          0.5 0.0046729         $1.82
2019         Operations
February     Business                02/20/19 ED              390 review CHA management authorization form and related email correspondence with                          0.2 0.0029412         $1.15
2019         Operations                                           property manager and K. Duff (.2)
February     Business                02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                 0.5    0.004717       $0.66
2019         Operations
February     Business                02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                       0.2 0.0022472         $0.88
2019         Operations
February     Business                02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                             2.3 0.0258427        $10.08
2019         Operations
February     Business                02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                              0.2 0.0022472         $0.88
2019         Operations
February     Business                02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                               0.1 0.0011236         $0.44
2019         Operations
February     Business                02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652         $3.07
2019         Operations                                           (.7)
February     Business                02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                0.1 0.0011236         $0.44
2019         Operations                                           information for properties (.1)
February     Business                02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382        $19.28
2019         Operations                                           taxes (4.4)
February     Business                02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888         $3.51
2019         Operations
February     Business                02/25/19 ED              390 calls with M. Rachlis to lenders' counsel regarding payment of real estate taxes (.8).                  0.8 0.0727273        $28.36
2019         Operations
February     Business                02/25/19 ED              390 preparation for same (.8)                                                                               0.8 0.0089888         $3.51
2019         Operations
February     Business                02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868         $0.26
2019         Operations                                           with court order and issues relating to same (.2)
February     Business                02/25/19 MR              390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382        $19.28
2019         Operations                                           Duff, K. Duff, and A. Porter (4.4)
February     Business                02/25/19 NM              260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944         $1.17
2019         Operations
February     Business                02/26/19 ED              390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708         $1.31
2019         Operations
February     Business                02/26/19 ED              390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944         $1.75
2019         Operations                                           manager, and preparation of document reflecting same (.4)
February     Business                02/26/19 ED              390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337        $28.48
2019         Operations                                           (6.5)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
February     Business                02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                0.7 0.0078652         $3.07
2019         Operations                                       counsel (.7)
February     Business                02/26/19 MR          390 Attention to property tax related issues.                                                             4.5 0.0505618        $19.72
2019         Operations
February     Business                02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                 0.2 0.0022472         $0.88
2019         Operations                                       due and sources of funds (.2)
February     Business                02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of              6.5 0.0730337        $28.48
2019         Operations                                       same to determine available funds for payment of property taxes (6.5)
February     Business                02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                     0.3 0.0033708         $1.31
2019         Operations
February     Business                02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                               0.3 0.0028302         $1.10
2019         Operations
February     Business                02/27/19 MR          390 review charts regarding same (.3)                                                                     0.3 0.0033708         $1.31
2019         Operations
February     Business                02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings              5.0 0.0561798        $21.91
2019         Operations                                       with K. Duff and E. Duff regarding same (5.0).
February     Business                02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related               1.3 0.0146067         $5.70
2019         Operations                                       submissions and payments (1.3)
February     Business                02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to            0.2 0.0022472         $0.58
2019         Operations                                       costs to cure code violations (.2).
February     Business                02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders               0.3 0.0033708         $0.88
2019         Operations                                       with respect to escrow amounts (.3)
February     Business                02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019         Operations
February     Business                02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in            0.1 0.0014925         $0.21
2019         Operations                                       receivership (.1)
February     Business                02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019         Operations
February     Business                02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                       funds available therefor, preparation of documentation to provide to lenders regarding each
                                                              property, preparation and revision of related communications to lenders, and consultation
                                                              with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                              (7.7).
February     Business                02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                       and review and analysis of documentation provided (1.8)
February     Business                02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                       estate taxes (.5)
February     Business                02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                       various financial and property documents, along with several conferences with E. Duff and K.
                                                              Duff (5.5)
February     Business                02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
February     Business                02/28/19 NM              260 Study email correspondence relating to property tax payments internally and with lenders'                 0.2 0.0022472          $0.58
2019         Operations                                           counsel (.2)
February     Business                02/28/19 NM              260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                     2.7 0.0303371          $7.89
2019         Operations                                           property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                                  institutional lenders (2.7).
February     Claims                  02/01/19 MR              390 attend meeting with lenders representatives (1.4).                                                        1.4 0.0157303          $6.13
2019         Administration
             & Objections

February     Claims                  02/01/19 MR              390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                          3.3 0.0370787         $14.46
2019         Administration
             & Objections

February     Claims                  02/01/19 MR              390 prepare for meeting with lenders representatives (1.8)                                                    1.8 0.0202247          $7.89
2019         Administration
             & Objections

February     Claims                  02/04/19 ED              390 Review documents and email correspondence regarding investor claims regarding property                    0.5         0.25      $97.50
2019         Administration                                       offered for sale (5001 S. Drexel, 7625 S East End Ave.).
             & Objections

February     Claims                  02/04/19 MR              390 issues regarding secured creditors and follow up from meeting and hearing (.1).                           0.1 0.0011236          $0.44
2019         Administration
             & Objections

February     Claims                  02/05/19 SZ              110 Continued to work on notice list for investors by including institutional lenders for properties          3.7         1.85     $203.50
2019         Administration                                       (6160 S MLK and 5001 S. Drexel), City of Chicago Corporate Counsel, and parties involved in
             & Objections                                         (8100 S. Essex) state court lawsuit.

February     Claims                  02/06/19 MR              390 Issues regarding secured creditors and follow up on sales process.                                        0.4 0.0666667         $26.00
2019         Administration
             & Objections

February     Claims                  02/11/19 MR              390 Attention to follow up with institutional lenders and review and revise communications                    1.5 0.0168539          $6.57
2019         Administration                                       regarding same.
             & Objections

February     Claims                  02/18/19 NM              260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to                     0.5    0.005618        $1.46
2019         Administration                                       institutional lenders prior to filing pursuant to request.
             & Objections




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  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
February     Claims                  02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                        0.3 0.0033708          $1.31
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                             0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                           1.0    0.011236        $4.38
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 conference with lender (.1)                                                                        0.1          0.1      $39.00
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                               0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                  02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                          0.5    0.005618        $2.19
2019         Administration
             & Objections

February     Claims                  02/20/19 NM          260 study background information and telephone call with investor regarding motion to approve          0.2 0.0333333          $8.67
2019         Administration                                   the sale of the first tranche and claims (.2).
             & Objections

February     Claims                  02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)             0.8 0.0089888          $3.51
2019         Administration
             & Objections

March 2019 Asset                     03/08/19 KBD         390 Exchange correspondence with A. Porter regarding communications with buyer of property             0.1          0.1      $39.00
           Disposition                                        (5001 Drexel) (.1)
March 2019 Asset                     03/12/19 KBD         390 conference with asset manager and counsel regarding properties sales, listings, strategy,          1.8 0.0545455         $21.27
           Disposition                                        valuation, and timing (1.8)
March 2019 Asset                     03/17/19 KBD         390 Exchange further correspondence with M. Rachlis and real estate broker regarding lenders'          0.6          0.1      $39.00
           Disposition                                        objections as to efforts to sell properties.
March 2019 Asset                     03/18/19 KBD         390 various discussions with M. Rachlis, real estate broker, A. Porter regarding same (.5)             0.5 0.0277778         $10.83
           Disposition
March 2019 Asset                     03/18/19 KBD         390 Prepare for hearing before Judge Kim regarding motions to approve listing and sale of              0.5 0.0277778         $10.83
           Disposition                                        properties (.5)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
March 2019 Asset                     03/18/19 KBD         390 appear for hearing before Judge Kim regarding motions to approve listing and sale of                  2.5 0.1388889         $54.17
           Disposition                                        properties (2.5).
March 2019 Asset                     03/19/19 KBD         390 Telephone conference with A. Porter regarding preparation for real estate sale closings,              0.2 0.0333333         $13.00
           Disposition                                        timing, planning, and obtaining water certificates (.2)
March 2019 Asset                     03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,             0.3 0.0032609          $1.27
           Disposition                                        and property manager fees and expenses (.3)
March 2019 Asset                     03/22/19 KBD         390 study correspondence from city official regarding water bills and water certifications and            0.2 0.0333333         $13.00
           Disposition                                        confer with N. Mirjanich and M. Rachlis regarding same (.2)
March 2019 Asset                     03/25/19 KBD         390 Office conference with J. Rak regarding water certifications and communications with city             0.1 0.0166667          $6.50
           Disposition                                        officials with respect to same (.1)
March 2019 Asset                     03/26/19 KBD         390 exchange correspondence with property manager regarding timing for approval of sales (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                     03/27/19 KBD         390 telephone conference with M. Rachlis, A. Porter, and J. Rak regarding property manager liens          0.2 0.0111111          $4.33
           Disposition                                        and closing costs (.2).
March 2019 Business                  03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346          $0.36
           Operations
March 2019 Business                  03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346          $0.36
           Operations                                         payment issues and logistics (.1)
March 2019 Business                  03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692          $0.73
           Operations
March 2019 Business                  03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727          $0.89
           Operations
March 2019 Business                  03/04/19 KBD         390 study correspondence from N. Mirjanich regarding violation notices (.2).                              0.2 0.0222222          $8.67
           Operations
March 2019 Business                  03/05/19 KBD         390 study correspondence regarding payment of real estate taxes (5001 Drexel) (.1)                        0.1          0.1      $39.00
           Operations
March 2019 Business                  03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346          $0.36
           Operations                                         former counsel relating to notices of property violations (.1).

March 2019 Business                  03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412          $1.15
           Operations                                         communications with property manager (.2).
March 2019 Business                  03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925          $0.58
           Operations
March 2019 Business                  03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412          $1.15
           Operations                                         correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                  03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118          $1.72
           Operations
March 2019 Business                  03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824          $2.29
           Operations
March 2019 Business                  03/18/19 KBD         390 exchange correspondence with N. Mirjanich regarding utility bills (.1)                                0.1 0.0166667          $6.50
           Operations
March 2019 Business                  03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909          $3.55
           Operations


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
March 2019 Business                  03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial              0.6 0.0068182         $2.66
           Operations                                         reporting for lenders and study form of report (.6)
March 2019 Business                  03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                 0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                        0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 KBD         390 confer and exchange correspondence with J. Rak regarding water bill payments (.1)                 0.1 0.0166667         $6.50
           Operations
March 2019 Business                  03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                     0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for          0.3 0.0034091         $1.33
           Operations                                         lenders and study draft report form (.3)
March 2019 Business                  03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial          0.2 0.0022727         $0.89
           Operations                                         reporting by property (.2)
March 2019 Business                  03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and              0.4 0.0045455         $1.77
           Operations                                         property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                    03/13/19 KBD         390 Study lenders' objections to claims process.                                                      0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                            0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                   0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial            0.3 0.0034091         $1.33
           Administration                                     reporting for lenders (.3)
           & Objections

March 2019 Claims                    03/14/19 KBD         390 study property manager financial report (.2).                                                     0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 study and revise draft response to lenders' objections to claims process motion (.9)              0.9 0.0107143         $4.18
           Administration
           & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
March 2019 Claims                    03/27/19 KBD             390 office conference with N. Mirjanich regarding response to lenders' objections to claims              0.2    0.002381        $0.93
           Administration                                         process motion (.2)
           & Objections

March 2019 Claims                    03/27/19 KBD             390 study lenders' objections (.5)                                                                       0.5 0.0059524          $2.32
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD             390 analysis of same with M. Rachlis (.2)                                                                0.2    0.002381        $0.93
           Administration
           & Objections

March 2019 Claims                    03/28/19 KBD             390 further study and revise draft response to lenders' objections to claims process (3.6).              3.6 0.0428571         $16.71
           Administration
           & Objections

March 2019 Claims                    03/28/19 KBD             390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)               0.2    0.002381        $0.93
           Administration
           & Objections

March 2019 Claims                    03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich              0.5 0.0059524          $2.32
           Administration                                         regarding same (.5)
           & Objections

March 2019 Claims                    03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                             2.2 0.0247191          $9.64
           Administration
           & Objections

March 2019 Asset                     03/01/19 AEP             390 teleconference with J. Rak regarding miscellaneous closing document preparation issues (.1)          0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                     03/01/19 AEP             390 edit and revise waiver of real estate broker's lien forwarded by receivership broker (.3)            0.3         0.05      $19.50
           Disposition
March 2019 Asset                     03/01/19 AEP             390 edit and revise current draft of assignment and assumption agreement (.2)                            0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                     03/01/19 AEP             390 update and revise various closing checklists associated with properties in first marketing           0.2 0.0333333         $13.00
           Disposition                                            tranche (.2).
March 2019 Asset                     03/04/19 JR              140 continue drafting updates to closing documents spreadsheet and confirm all the closing               3.1 0.5166667         $72.33
           Disposition                                            documents are completed and documents that require additional attention (3.1)

March 2019 Asset                     03/04/19 JR              140 create and fill out closing documents excel spreadsheet to help keep track of documents              1.2          0.2      $28.00
           Disposition                                            which are being produced and updated for properties in the first tranche (1.2)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
March 2019 Asset                     03/04/19 JR              140 Update real estate taxes with accrued interest on the closing checklists for all properties in            0.7 0.1166667         $16.33
           Disposition                                            the first tranche (.7)
March 2019 Asset                     03/04/19 JR              140 corrections made to broker waiver of liens with new signatory (.6).                                       0.6          0.1      $14.00
           Disposition
March 2019 Asset                     03/04/19 MR              390 Follow up on issues regarding sales of first tranche and pending motion on second tranche of              0.7 0.0388889         $15.17
           Disposition                                            properties.
March 2019 Asset                     03/05/19 AEP             390 read, edit, and revise numerous closing documents forwarded by title company and update                   0.3         0.05      $19.50
           Disposition                                            closing spreadsheets accordingly (.3).
March 2019 Asset                     03/05/19 AEP             390 Draft receiver's deed (.4)                                                                                0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                     03/05/19 MR              390 Conferences with E. Duff regarding appraisal issues.                                                      0.4 0.0222222          $8.67
           Disposition
March 2019 Asset                     03/06/19 AEP             390 e-mail communications with counsel for prospective purchaser of receivership property                     0.3          0.3     $117.00
           Disposition                                            (5001 S Drexel) and corresponding property manager regarding purchaser's demands for
                                                                  information from management company (.3).
March 2019 Asset                     03/06/19 JR              140 Meeting with A. Porter reviewing changes to closing document checklists regarding the first               1.4 0.2333333         $32.67
           Disposition                                            tranche (1.4)
March 2019 Asset                     03/06/19 JR              140 deleted, added and modified documents on the closing checklist (1.1)                                      1.1 0.1833333         $25.67
           Disposition
March 2019 Asset                     03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                      2.6 0.0393939          $5.52
           Disposition                                            management company adding PIN number and the balance due as well as accrued interest
                                                                  (2.6)
March 2019 Asset                     03/08/19 AEP             390 read e-mails received from, and prepare e-mail to, prospective purchasers of property (5001               0.3          0.3     $117.00
           Disposition                                            S Drexel) in first marketing tranche regarding request for direct communications with
                                                                  property managers (.3).
March 2019 Asset                     03/08/19 AEP             390 Meeting with J. Rak and title company underwriter regarding all remaining special                         3.0          0.5     $195.00
           Disposition                                            exceptions on title commitments corresponding to sales of properties in first marketing
                                                                  tranche and approval of proposed forms of conveyance documents (3.0)

March 2019 Asset                     03/12/19 ED              390 Meeting with property managers, K. Duff, M. Rachlis, N. Mirjanich, and A. Porter to analyze               1.9 0.3166667        $123.50
           Disposition                                            and discuss plans for property sales (1.9)
March 2019 Asset                     03/12/19 ED              390 email to property managers to follow up on information relating to same (.2).                             0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                     03/12/19 MR              390 Prepare for and participate in upcoming meeting with SVN on various issues and upcoming                   2.3 0.1277778         $49.83
           Disposition                                            hearing.
March 2019 Asset                     03/12/19 NM              260 Prepare for meeting with real estate broker by studying spreadsheet sent by same and by                   0.4 0.0666667         $17.33
           Disposition                                            comparing same to buildings with code violations (.4)
March 2019 Asset                     03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381         $24.76
           Disposition                                            disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                     03/14/19 NM              260 Correspond with J. Rak regarding closing on the first tranche of properties following housing             0.1 0.0166667          $4.33
           Disposition                                            court because of issues raised with respect to porch repairs and need for funds.




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
March 2019 Asset                     03/17/19 AEP             390 Meeting with M. Rachlis to review objections to motions to approve sales of properties in                 2.0 0.1111111         $43.33
           Disposition                                            first tranche and marketing of properties in second tranche and prepare responses thereto.

March 2019 Asset                     03/18/19 AEP             390 Read e-mails from title company underwriter regarding changes to receiver's deed and other                3.5 0.5833333        $227.50
           Disposition                                            conveyance documents, begin preparation of first draft of all closing documents for property
                                                                  in first sales tranche (7927- 49 S Essex), update closing checklists accordingly, and prepare e-
                                                                  mail to title underwriters regarding customization of conveyance documents for all other
                                                                  properties in first sales tranche.

March 2019 Asset                     03/18/19 ED              390 Meeting with K. Duff, M. Rachlis, and A. Porter regarding asset sales, lender objections, and             0.9         0.15      $58.50
           Disposition                                            follow-up with lenders and counsel.
March 2019 Asset                     03/18/19 MR              390 follow up conferences regarding various objections, hearing and strategy moving forward                   0.9         0.05      $19.50
           Disposition                                            with K. Duff, E. Duff, and A. Porter (.9).
March 2019 Asset                     03/18/19 MR              390 and argue various motions regarding sales of properties before magistrate judge (2.5)                     2.5 0.1388889         $54.17
           Disposition
March 2019 Asset                     03/18/19 MR              390 Prepare for hearing including review of various motions and relating documents and work                   4.5         0.25      $97.50
           Disposition                                            through same in several discussions with K. Duff and A. Porter (4.5)
March 2019 Asset                     03/19/19 AEP             390 read comments on conveyance documents reviewed by title company, prepare                                  2.3 0.7666667        $299.00
           Disposition                                            presumptively final versions of receiver's deed, affidavit of title, and bill of sale, customize
                                                                  same for three properties in first sales tranche (5001 S Drexel, 6160 S King, and 8100 S Essex)
                                                                  and send specimen copies of same to counsel for prospective purchasers for review and
                                                                  comment, along with status update on judicial review of motion to approve sales (2.3).

March 2019 Asset                     03/19/19 AEP             390 Teleconference with K. Duff regarding timing of potential judicial approval of sale of                    0.2 0.0333333         $13.00
           Disposition                                            properties in first marketing tranche and sequencing of preparation of conveyance
                                                                  documents (.2)
March 2019 Asset                     03/19/19 AEP             390 teleconference with J. Rak regarding status of preparation of examiner's worksheets relating              0.5 0.0277778         $10.83
           Disposition                                            to properties in second marketing tranche, sequencing of preparation of conveyance
                                                                  documents associated with properties in first sales tranche, and water certificate issues (.5)

March 2019 Asset                     03/19/19 JR              140 continue working on the title examination on same and note discrepancies on all deeds                     1.9 0.3166667         $44.33
           Disposition                                            provided to us by the title company (1.9).
March 2019 Asset                     03/19/19 JR              140 phone communication with the City of Chicago water department regarding the water                         1.1 0.1833333         $25.67
           Disposition                                            certification process in preparation for closings in the first tranche of properties (1.1)

March 2019 Asset                     03/20/19 AEP             390 Teleconference with K. Duff regarding need for FEIN's of properties in first sales tranche, fire          0.3         0.05      $19.50
           Disposition                                            at property in first sales tranche (7943 S Essex), and status of review of draft motion to
                                                                  approve sale of single-family homes (.3)
March 2019 Asset                     03/20/19 JR              140 sent additional documents to the City of Chicago per their request (.2)                                   0.2 0.0333333          $4.67
           Disposition
March 2019 Asset                     03/20/19 JR              140 Sent the water certification applications to the City of Chicago via the new online portal for            0.5 0.0833333         $11.67
           Disposition                                            properties in the first tranche (.5)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
March 2019 Asset                     03/20/19 JR              140 telephone conference with A. Porter regarding the water certifications and the chain of title              0.6          0.1      $14.00
           Disposition                                            regarding same (.6).
March 2019 Asset                     03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                       0.2 0.0222222          $3.11
           Disposition                                            certain closing documents relating to sale of properties.
March 2019 Asset                     03/20/19 MR              390 Attention to various issues at property regarding allocation of property sales.                            0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                     03/21/19 JR              140 email communication with the title company attorney regarding the application process and                  0.2 0.0333333          $4.67
           Disposition                                            confirm the requirements to avoid any delays with closings (.2)
March 2019 Asset                     03/21/19 JR              140 completed water certifications applications online for properties in the first tranche (4.2)               4.2          0.7      $98.00
           Disposition
March 2019 Asset                     03/21/19 JR              140 email communication with A. Porter regarding status of water certifications (.1).                          0.1 0.0166667          $2.33
           Disposition
March 2019 Asset                     03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                        0.1 0.0111111          $1.56
           Disposition
March 2019 Asset                     03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary                    0.2 0.0222222          $3.11
           Disposition                                            for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                     03/22/19 AEP             390 Create second group of closing documents for all properties in first sales tranche and update              2.5 0.4166667        $162.50
           Disposition                                            closing checklists (2.5)
March 2019 Asset                     03/22/19 JR              140 Exchange correspondence with title company representatives regarding the water                             0.6          0.1      $14.00
           Disposition                                            certifications (.6)
March 2019 Asset                     03/22/19 JR              140 exchange correspondence with City of Chicago customer service representative regarding                     0.6          0.1      $14.00
           Disposition                                            water certification and forwarding Receiver court order per request (.6)
March 2019 Asset                     03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,                0.2 0.0019048          $0.74
           Disposition                                            potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                     03/25/19 JR              140 review legal description, PINs and address on deeds to confirm consistency (1.4).                          1.4 0.2333333         $32.67
           Disposition
March 2019 Asset                     03/25/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts               0.1 0.0166667          $4.33
           Disposition                                            on first tranche of properties (.1)
March 2019 Asset                     03/26/19 AEP             390 teleconference with City of Chicago regarding outstanding water bill issues (.5)                           0.5 0.0833333         $32.50
           Disposition
March 2019 Asset                     03/26/19 AEP             390 Conference with N. Mirjanich regarding strategy for addressing water issue (.1)                            0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                     03/26/19 AEP             390 conference with J. Rak to review closing checklists for all properties in first sales tranche and          1.5         0.25      $97.50
           Disposition                                            allocate responsibility for remaining items (1.5)
March 2019 Asset                     03/26/19 JR              140 meeting with A. Porter to go over the closing checklist and update documents in preparation                2.3 0.3833333         $53.67
           Disposition                                            for closing (2.3)
March 2019 Asset                     03/26/19 JR              140 office conference with N. Mirjanich, A. Porter and phone conference with City of Chicago                   1.2          0.2      $28.00
           Disposition                                            representatives regarding the water bills and water certifications (1.2)
March 2019 Asset                     03/26/19 JR              140 Worked on water certification updates to the closing checklist (.5)                                        0.5 0.0833333         $11.67
           Disposition




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
March 2019 Asset                     03/26/19 JR              140 exchange correspondence with buyer's counsel for property (5001 Drexel) regarding contact                0.2          0.2      $28.00
           Disposition                                            information for notices to tenants and court approval of sale status (.2)

March 2019 Asset                     03/26/19 JR              140 email communication with K. Duff regarding status of phone conference with City of Chicago               0.1 0.0166667          $2.33
           Disposition                                            water department (.1).
March 2019 Asset                     03/26/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts             0.7 0.1166667         $30.33
           Disposition                                            on first tranche of properties (.7)
March 2019 Asset                     03/26/19 NM              260 correspond with J. Rak regarding same (.4).                                                              0.4 0.0666667         $17.33
           Disposition
March 2019 Asset                     03/26/19 NM              260 correspond with A. Porter and J. Rak regarding same following call and regarding closings (.3)           0.3         0.05      $13.00
           Disposition
March 2019 Asset                     03/27/19 ED              390 Review draft of listing contract.                                                                        0.3         0.05      $19.50
           Disposition
March 2019 Asset                     03/27/19 JR              140 email correspondence with A. Porter regarding rent roll and the necessary updates from                   0.1 0.0166667          $2.33
           Disposition                                            property management (.1)
March 2019 Asset                     03/27/19 KMP             140 Finalize and file supplement to motion for approval of sale of properties and conferences                0.3         0.05       $7.00
           Disposition                                            with K. Duff and N. Mirjanich regarding same.
March 2019 Asset                     03/28/19 AEP             390 Conference with J. Rak regarding status of preparation of rent rolls, collection of leases, and          0.3         0.05      $19.50
           Disposition                                            processing of full payment water certificates (.3)
March 2019 Asset                     03/28/19 JR              140 Update past due tax balances for all properties in the first tranche.                                    1.5         0.25      $35.00
           Disposition
March 2019 Asset                     03/31/19 ED              390 Review terms of contract for sale (5001 S Drexel) regarding release of earnest money (.3)                0.3          0.3     $117.00
           Disposition
March 2019 Asset                     03/31/19 ED              390 emails to property advisor regarding same (.1).                                                          0.1          0.1      $39.00
           Disposition
March 2019 Business                  03/01/19 ED              390 Review and revise draft reply to lender's counsel regarding application of net rentals to pay            0.3         0.15      $58.50
           Operations                                             property taxes and timing and process for delivery of accounting for properties (.3)

March 2019 Business                  03/01/19 ED              390 confer with M. Rachlis regarding same (.2)                                                               0.2          0.1      $39.00
           Operations
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                     1.5 0.0140187          $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/01/19 MR              390 Attention to various issues on taxes and follow up with various investors regarding same                 2.8 0.4666667        $182.00
           Operations                                             with counsel for lender (2.8)
March 2019 Business                  03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare               1.7 0.0191011          $4.97
           Operations                                             spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                  03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)                0.8 0.0089888          $3.51
           Operations
March 2019 Business                  03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                        0.5 0.0056818          $2.22
           Operations
March 2019 Business                  03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly                  0.6 0.0068182          $2.66
           Operations                                             accounting to lenders and related issues (.6)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
March 2019 Business                  03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182          $2.66
           Operations
March 2019 Business                  03/04/19 NM              260 study and organize dozens of recently received code violations and related documents (2.2)            2.2 0.2444444         $63.56
           Operations
March 2019 Business                  03/05/19 ED              390 preparation for same (.8)                                                                             0.8 0.0727273         $28.36
           Operations
March 2019 Business                  03/05/19 ED              390 call with lenders' counsel and M. Rachlis regarding resources available for payment of                0.3 0.0272727         $10.64
           Operations                                             property taxes (.3)
March 2019 Business                  03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416          $2.63
           Operations
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692          $0.26
           Operations
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224          $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 MR              390 Prepare for conference call with counsel for lender (.6)                                              0.6          0.1      $39.00
           Operations
March 2019 Business                  03/05/19 MR              390 conferences with counsel for lender and (.3)                                                          0.3         0.05      $19.50
           Operations
March 2019 Business                  03/05/19 MR              390 conferences with E. Duff regarding various issues on issues raised on sale and raised during          0.7 0.1166667         $45.50
           Operations                                             call (.7)
March 2019 Business                  03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346          $0.36
           Operations
March 2019 Business                  03/05/19 NM              260 update chart of stayed litigation to reflect same and other stayed matters (.2)                       0.2 0.0333333          $8.67
           Operations
March 2019 Business                  03/05/19 NM              260 draft letter to former EB attorney regarding notices of code violations (.8)                          0.8 0.1333333         $34.67
           Operations
March 2019 Business                  03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775          $7.01
           Operations
March 2019 Business                  03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091          $1.33
           Operations                                             (.3)
March 2019 Business                  03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708          $1.31
           Operations
March 2019 Business                  03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182          $2.66
           Operations                                             correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                  03/06/19 ED              390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091          $1.33
           Operations
March 2019 Business                  03/06/19 ED              390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455          $1.77
           Operations                                             reports to lenders (.4)
March 2019 Business                  03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529          $2.87
           Operations                                             regarding same (.5)
March 2019 Business                  03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706          $0.57
           Operations




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2019 Business                  03/07/19 NM          260 study and organize notices of several code violations and related documents (.7)                       0.7 0.0636364         $16.55
           Operations
March 2019 Business                  03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                        0.1 0.0009346          $0.24
           Operations
March 2019 Business                  03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                    0.7 0.0079545          $3.10
           Operations
March 2019 Business                  03/11/19 AEP         390 review notes of 03/08/19 meeting with title underwriters and hold harmless letters relating            1.9 0.3166667        $123.50
           Operations                                         thereto and update title commitments and closing checklists for all properties in first sales
                                                              tranche (1.9)
March 2019 Business                  03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                      0.4 0.0058824          $2.29
           Operations                                         estate taxes (.4)
March 2019 Business                  03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in                1.4 0.0159091          $6.20
           Operations                                         accounting reports (1.4)
March 2019 Business                  03/12/19 NM          260 prepare to lift default orders on 11 administrative matters (.2).                                      0.2         0.04      $10.40
           Operations
March 2019 Business                  03/13/19 NM          260 Move to lift default orders on 9 sanitation and 2 building court cases (.8)                            0.8         0.16      $41.60
           Operations
March 2019 Business                  03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                  0.4 0.0045455          $1.77
           Operations                                         information for lender accounting reports (.4)
March 2019 Business                  03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for           1.4 0.0159091          $6.20
           Operations                                         accounting reports to lenders (1.4)
March 2019 Business                  03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                   0.5 0.0056818          $2.22
           Operations                                         same (.5)
March 2019 Business                  03/14/19 ED          390 email correspondence with lender's counsel and insurance broker regarding additional                   0.2         0.04      $15.60
           Operations                                         information requested (.2)
March 2019 Business                  03/15/19 ED          390 Email correspondence with insurance broker regarding responses to inquiries from lenders'              0.2         0.04      $15.60
           Operations                                         counsel (.2)
March 2019 Business                  03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                    0.4 0.0045455          $1.77
           Operations                                         reports (.4)
March 2019 Business                  03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                 0.2 0.0022727          $0.89
           Operations
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial            0.3 0.0034091          $1.33
           Operations                                         performance at each property (.3)
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                          0.1 0.0011364          $0.44
           Operations
March 2019 Business                  03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                  0.7 0.0079545          $2.07
           Operations                                         properties and correspond with E. Duff regarding same (.7)
March 2019 Business                  03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same             1.8 0.0168224          $4.37
           Operations                                         (1.8)
March 2019 Business                  03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                            0.1 0.0011364          $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and               0.1 0.0011364          $0.44
           Operations                                         email to property manager regarding same (.1)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/18/19 ED          390 review and revise accounting reporting (.9)                                                            0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                     0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                                1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                                1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692         $0.49
           Operations                                         (.2).
March 2019 Business                  03/19/19 ED          390 call with accountant regarding form of report (.2)                                                     0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)               0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                              0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455         $1.77
           Operations
March 2019 Business                  03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545         $3.10
           Operations                                         real estate tax payments, and distributions of funds to and from receiver for each property
                                                              (.7)
March 2019 Business                  03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818         $2.22
           Operations                                         property manager reporting (.5)
March 2019 Business                  03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                         property manager and Receiver (.8)
March 2019 Business                  03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                         of accounting report (.2)
March 2019 Business                  03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                         accounting reports (.1)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
March 2019 Business                  03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                          0.2 0.0022727          $0.89
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                        0.2 0.0022727          $0.59
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same               0.2 0.0022727          $0.59
           Operations                                         (.2)
March 2019 Business                  03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346          $0.13
           Operations
March 2019 Business                  03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                             0.5    0.004717        $1.84
           Operations
March 2019 Business                  03/22/19 MR          390 prepare for meetings with City (.3)                                                                  0.3 0.0028302          $1.10
           Operations
March 2019 Business                  03/22/19 NM          260 correspond with A. Watychowicz and J. Rak regarding water certification and related issues           0.8 0.1333333         $34.67
           Operations                                         at properties in first tranche (.8)
March 2019 Business                  03/22/19 NM          260 correspond with M. Rachlis regarding same and send correspondence to City attorney                   0.6          0.1      $26.00
           Operations                                         regarding same and other water issues on properties (.6).
March 2019 Business                  03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868          $0.74
           Operations
March 2019 Business                  03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                  2.0 0.0227273          $8.86
           Operations                                         transfer and distribution information and relating to form of report and procedures for
                                                              populating information (2.0)
March 2019 Business                  03/27/19 ED          390 identify responsive documents (.6)                                                                   0.6 0.0068182          $2.66
           Operations
March 2019 Business                  03/27/19 ED          390 and email correspondence regarding same (.5)                                                         0.5 0.0056818          $2.22
           Operations
March 2019 Business                  03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports          0.9 0.0102273          $3.99
           Operations                                         (.9)
March 2019 Business                  03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property              0.3 0.0034091          $1.33
           Operations                                         managers (.3)
March 2019 Business                  03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                 0.9 0.0102273          $3.99
           Operations
March 2019 Business                  03/27/19 ED          390 calls with accountant to follow up on content and further information required for                   0.3 0.0034091          $1.33
           Operations                                         accounting reports (.3)
March 2019 Business                  03/27/19 NM          260 Prepare spreadsheet that includes water utility information to determine outstanding                 1.7 0.2833333         $73.67
           Operations                                         balances regarding same from the City (1.7)
March 2019 Business                  03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                             1.8 0.0204545          $7.98
           Operations
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                        0.1 0.0011364          $0.44
           Operations
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                             0.2 0.0022727          $0.89
           Operations
March 2019 Business                  03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties            0.2 0.0022727          $0.89
           Operations                                         (.2)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours         Fees
March 2019 Business                  03/28/19 NM          260 Further work on spreadsheet that includes water utility information to determine                 0.5 0.0833333         $21.67
           Operations                                         outstanding balances regarding same from the City (.5)
March 2019 Business                  03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                               1.2 0.0136364          $5.32
           Operations
March 2019 Business                  03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain          0.2 0.0022727          $0.89
           Operations                                         outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                  03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and           0.2 0.0022727          $0.89
           Operations                                         certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                  03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                              1.2 0.0136364          $5.32
           Operations
March 2019 Business                  03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                          0.8 0.0090909          $3.55
           Operations
March 2019 Claims                    03/01/19 MR          390 Attention to response to lender.                                                                 0.2 0.0333333         $13.00
           Administration
           & Objections

March 2019 Claims                    03/11/19 MR          390 Attention to issues for upcoming meeting and lender issues.                                      0.9         0.05      $19.50
           Administration
           & Objections

March 2019 Claims                    03/13/19 NM          260 Study lenders' objections to the claims motion.                                                  0.7 0.0088608          $2.30
           Administration
           & Objections

March 2019 Claims                    03/15/19 MR          390 Review materials in preparation for upcoming hearing.                                            2.0 0.1111111         $43.33
           Administration
           & Objections

March 2019 Claims                    03/17/19 MR          390 and meeting with A. Porter regarding same (2.5).                                                 2.5 0.1388889         $54.17
           Administration
           & Objections

March 2019 Claims                    03/17/19 MR          390 Prepare for upcoming hearing (3.0)                                                               3.0 0.1666667         $65.00
           Administration
           & Objections

March 2019 Claims                    03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                    0.8 0.0101266          $2.63
           Administration
           & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Claims                    03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized           0.2 0.0037736         $1.47
           Administration                                     properties (.2)
           & Objections

March 2019 Claims                    03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                    03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                     cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                    03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                     cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                    03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                    03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                    03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                     cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                       regarding same and study comments from same.

March 2019 Claims                    03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             3.3 0.0417722        $10.86
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same.

March 2019 Claims                    03/29/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                    03/29/19 MR          390 work on draft response brief (1.2)                                                                     1.2 0.0151899         $5.92
           Administration
           & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
March 2019 Claims                    03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-               8.1 0.1025316         $26.66
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                   04/02/19 KBD         390 office conference with J. Rak regarding logistics and planning for sale of upcoming properties           0.1 0.0166667          $6.50
             Disposition                                      (.1).
April 2019   Asset                   04/05/19 KBD         390 draft correspondence to A. Porter regarding purchaser request for return of escrow (.1).                 0.1          0.1      $39.00
             Disposition
April 2019   Asset                   04/08/19 KBD         390 Study Judge Kim report and recommendation on sale of first tranche of properties (.2)                    0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/08/19 KBD         390 telephone conference with real estate broker regarding same (.1).                                        0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                   04/09/19 KBD         390 exchange correspondence with A. Porter regarding escrow funds (5001 Drexel) (.1)                         0.1          0.1      $39.00
             Disposition
April 2019   Asset                   04/22/19 KBD         390 draft response to defendants' objection to sale of properties and draft correspondence to M.             2.5          2.5     $975.00
             Disposition                                      Rachlis regarding same (2.5)
April 2019   Asset                   04/22/19 KBD         390 Study objections to Judge Kim's report and recommendation (.5)                                           0.5 0.0833333         $32.50
             Disposition
April 2019   Asset                   04/23/19 KBD         390 telephone conference with A. Porter regarding approval of motion to sell properties, timing              0.1 0.0166667          $6.50
             Disposition                                      for closings, and preparations for same (.1)
April 2019   Asset                   04/23/19 KBD         390 Appear before Judge Lee for hearing regarding motion to approve the sale of first set of                 1.2          0.2      $78.00
             Disposition                                      properties and for interim financing (1.2)
April 2019   Asset                   04/23/19 KBD         390 office conference with and review correspondence from J. Rak regarding execution of power                0.1 0.0166667          $6.50
             Disposition                                      of attorney documents for sale of properties (.1).
April 2019   Asset                   04/23/19 KBD         390 telephone conference with real estate broker regarding approval of sale of properties,                   0.2 0.0333333         $13.00
             Disposition                                      communications with potential property management service providers, and payment of
                                                              property expenses (.2)
April 2019   Asset                   04/23/19 KBD         390 conference with M. Rachlis regarding same (.3)                                                           0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/24/19 KBD         390 analysis of real estate broker commission in connection with sale of first group of properties           0.7 0.1166667         $45.50
             Disposition                                      and draft correspondence to A. Porter regarding same (.7)
April 2019   Asset                   04/24/19 KBD         390 exchange correspondence with bank representative regarding accounts for sale proceeds                    0.1 0.0166667          $6.50
             Disposition                                      (.1).
April 2019   Asset                   04/24/19 KBD         390 office conferences with A. Porter regarding closing proceeds and communications with title               0.2 0.0333333         $13.00
             Disposition                                      company regarding sale closings (.2)
April 2019   Asset                   04/24/19 KBD         390 Telephone conference with and draft correspondence to bank representative regarding                      0.2 0.0333333         $13.00
             Disposition                                      opening new accounts for real estate sale proceeds (5001-05 S Drexel, 7927-49 S Essex, 8100-
                                                              14 S Essex, 6160-6212 S King) (.2)
April 2019   Asset                   04/24/19 KBD         390 office conference with M. Rachlis regarding payment of utilities, closing timing, and financial          0.2 0.0333333         $13.00
             Disposition                                      strategy (.2)
April 2019   Asset                   04/24/19 KBD         390 office conference with A. Porter regarding timing for real estate sale closings and planning             0.1 0.0166667          $6.50
             Disposition                                      with respect to same (.1)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
April 2019   Asset                   04/24/19 KBD         390 study draft proposed order and correspondence from A. Porter regarding proposed order                   0.1 0.0166667          $6.50
             Disposition                                      relating to approval of sale of properties (.1)
April 2019   Asset                   04/24/19 KBD         390 office conferences with A. Porter regarding closings, bank accounts, and broker commission              0.3         0.05      $19.50
             Disposition                                      (.3)
April 2019   Asset                   04/24/19 KBD         390 telephone conference with real estate broker regarding closings, planning, and commission               0.2 0.0333333         $13.00
             Disposition                                      (.2)
April 2019   Asset                   04/24/19 KBD         390 study correspondence from buyer's counsel and A. Porter regarding closing planning (5001                0.2          0.2      $78.00
             Disposition                                      Drexel) (.2)
April 2019   Asset                   04/25/19 KBD         390 exchange correspondence with real estate broker regarding anticipated sales in relation to              0.2 0.0333333         $13.00
             Disposition                                      acquisition prices (.2).
April 2019   Asset                   04/25/19 KBD         390 Prepare for closing of real estate sales and study documents regarding same with A. Porter              0.5 0.0833333         $32.50
             Disposition                                      and J. Rak (.5)
April 2019   Asset                   04/26/19 KBD         390 exchange correspondence with J. Rak regarding real estate sales closings (6160 MLK, 8100                0.2         0.05      $19.50
             Disposition                                      Essex, 5001 Drexel, 7927 Essex) (.2)
April 2019   Asset                   04/26/19 KBD         390 Telephone conferences with A. Porter regarding broker's commission calculation (.2)                     0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/26/19 KBD         390 telephone conference with broker regarding same (.1)                                                    0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                   04/28/19 KBD         390 draft correspondence to A. Porter regarding sale of properties and reimbursement of                     0.3         0.05      $19.50
             Disposition                                      expenses (.3).
April 2019   Asset                   04/29/19 KBD         390 office conferences with A. Porter and J. Rak regarding planning for real estate sales closings          1.0 0.1666667         $65.00
             Disposition                                      (1.0).
April 2019   Business                04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
             Operations
April 2019   Business                04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
             Operations
April 2019   Business                04/11/19 KBD         390 study correspondence from N. Mirjanich regarding administrative court hearing (.1).                     0.1 0.0166667          $6.50
             Operations
April 2019   Business                04/12/19 KBD         390 study correspondence from city official regarding efforts to collect outstanding water bills            0.2 0.0333333         $13.00
             Operations                                       and exchange correspondence with N. Mirjanich regarding same (.2)
April 2019   Business                04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                   0.6 0.0056075          $2.19
             Operations
April 2019   Business                04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                      0.2 0.0018692          $0.73
             Operations
April 2019   Business                04/15/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
             Operations
April 2019   Business                04/22/19 KBD         390 study lender reports and discuss with E. Duff regarding corrections to same and                         0.2 0.0022727          $0.89
             Operations                                       communication with accounting firm representative relating to same (.2)
April 2019   Business                04/23/19 KBD         390 study analyses from E. Duff regarding potential use of funds and properties with positive NOI           0.3 0.0176471          $6.88
             Operations                                       (.3).
April 2019   Business                04/24/19 KBD         390 exchange correspondence with bank representative regarding new accounts and wire                        0.2         0.05      $19.50
             Operations                                       transfer planning for property expense (.2)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
April 2019   Business                04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                    0.3 0.0029126          $1.14
             Operations                                           efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business                04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real              0.4 0.0037383          $1.46
             Operations                                           estate tax payments and planning (.4)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment               0.2 0.0019417          $0.76
             Operations                                           amounts (.2)
April 2019   Claims                  04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                          0.4 0.0064516          $2.52
             Administration
             & Objections

April 2019   Asset                   04/01/19 JR              140 Draft notice to tenants for properties (8100 S. Essex and 5001 S. Drexel) (1.7)                     1.7         0.85     $119.00
             Disposition
April 2019   Asset                   04/01/19 JR              140 review leases for same to ensure they are consistent with rent roll provided to us by the           2.6          1.3     $182.00
             Disposition                                          management company (2.6)
April 2019   Asset                   04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding status of judge's approval of sale of           0.1 0.0166667          $2.33
             Disposition                                          first tranche (.1)
April 2019   Asset                   04/01/19 JR              140 exchange correspondence with property management regarding recent updated rent roll                 0.2 0.0333333          $4.67
             Disposition                                          and to send to us for all properties in the first tranche (.2)
April 2019   Asset                   04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                    0.3 0.0028037          $0.39
             Disposition                                          spreadsheet and additional account numbers (.3)
April 2019   Asset                   04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                           0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                   04/04/19 JR              140 exchange correspondence with the City of Chicago water department following up on status            0.6          0.1      $14.00
             Disposition                                          of water certification (.6)
April 2019   Asset                   04/04/19 JR              140 email communication with buyer's counsel regarding property (5001 Drexel) on the status of          0.1          0.1      $14.00
             Disposition                                          notice to tenants contact for buyer (.1)
April 2019   Asset                   04/04/19 JR              140 Review leases and rent roll for the first tranche (4.7)                                             4.7 0.7833333        $109.67
             Disposition
April 2019   Asset                   04/05/19 JR              140 exchange correspondence with buyer's counsel regarding property (5001 Drexel) (.2)                  0.2          0.2      $28.00
             Disposition
April 2019   Asset                   04/05/19 JR              140 email communication with A. Porter regarding same (.1)                                              0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                   04/05/19 JR              140 Update closing statements for properties in the first tranche and email to E. Duff for              1.2          0.2      $28.00
             Disposition                                          properties in the first tranche (1.2)
April 2019   Asset                   04/05/19 JR              140 exchange correspondence with City of Chicago water department regarding water                       0.3         0.05       $7.00
             Disposition                                          certifications, requesting cancellation of two water certification applications (.3).

April 2019   Asset                   04/05/19 NM              260 Correspond with J. Rak, City water department, and K. Duff regarding full payment                   0.4 0.0666667         $17.33
             Disposition                                          certificates for the first tranche of properties.
April 2019   Asset                   04/08/19 AEP             390 read report and recommendation issued by Magistrate Judge Kim (.2)                                  0.2 0.0333333         $13.00
             Disposition




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
April 2019   Asset                   04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                  0.2 0.0018692          $0.73
             Disposition                                          certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019   Asset                   04/08/19 JR              140 exchange correspondence with the City of Chicago water department representative and A.                 0.6          0.1      $14.00
             Disposition                                          Porter regarding same (.6)
April 2019   Asset                   04/08/19 JR              140 created a water certificate property payment spreadsheet (2.5).                                         2.5 0.4166667         $58.33
             Disposition
April 2019   Asset                   04/08/19 KMP             140 Briefly review Judge Kim's report on the sale of certain real estate and discuss same with K.           0.2 0.0333333          $4.67
             Disposition                                          Duff.
April 2019   Asset                   04/08/19 MR              390 conferences regarding same (.4)                                                                         0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                   04/08/19 MR              390 Attention to court orders (.6)                                                                          0.6          0.1      $39.00
             Disposition
April 2019   Asset                   04/08/19 MR              390 follow up on various issues on property disposition (.3).                                               0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/08/19 NM              260 correspond with J. Rak regarding same and impact on closing and water certifications for                0.3         0.05      $13.00
             Disposition                                          same properties (.3).
April 2019   Asset                   04/08/19 NM              260 Study court order on motion to approve sale of first tranche of properties and correspond               0.7 0.1166667         $30.33
             Disposition                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.7)
April 2019   Asset                   04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding full payment water certificate                    0.3         0.05      $19.50
             Disposition                                          expiration dates, timing on issuances of new certifications, impact on closing schedule,
                                                                  discrepancies between leases and rent rolls, and other closing preparation issues (.3)

April 2019   Asset                   04/09/19 AEP             390 teleconference with J. Rak, N. Mirjanich, and Chicago Water Department representative                   0.5 0.0833333         $32.50
             Disposition                                          regarding potential expediting of full payment certificates in connection with closings of
                                                                  properties in first sales tranche (.5)
April 2019   Asset                   04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding remaining tasks associated with                   0.3         0.05      $19.50
             Disposition                                          closings of properties in first sales tranche and sequencing issues (.3).
April 2019   Asset                   04/09/19 JR              140 Exchange correspondence with A. Porter and N. Mirjanich regarding communication with the                1.2          0.2      $28.00
             Disposition                                          City of Chicago water department regarding new applications for timely water certifications
                                                                  in preparation for closing (1.2)
April 2019   Asset                   04/09/19 JR              140 exchange correspondence with City of Chicago representative regarding issues with re-                   1.6 0.2666667         $37.33
             Disposition                                          submitting water certifications through the online portal (1.6).
April 2019   Asset                   04/09/19 NM              260 Correspond with J. Rak regarding issues with outstanding water bills and waters certifications          0.3         0.05      $13.00
             Disposition                                          for the first tranche of properties to sell (.3)
April 2019   Asset                   04/09/19 NM              260 telephone conference with City regarding same (.2)                                                      0.2 0.0333333          $8.67
             Disposition
April 2019   Asset                   04/09/19 NM              260 correspond with J. Rak and A. Porter regarding same in advance of call with City (.4)                   0.4 0.0666667         $17.33
             Disposition
April 2019   Asset                   04/09/19 NM              260 correspond with A. Porter and J. Rak regarding same following call (.5).                                0.5 0.0833333         $21.67
             Disposition




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
April 2019   Asset                   04/10/19 AEP             390 Lengthy meeting with J. Rak to review all remaining closing issues associated with four of the          3.8         0.95     $370.50
             Disposition                                          properties in first sales tranche (5001 S Drexel, 8100 S Essex, 7549 S Essex, and 7502 S
                                                                  Eggleston) (3.8)
April 2019   Asset                   04/10/19 AEP             390 attention to various closing issues, create final master closing checklist, and allocate                3.2 0.5333333        $208.00
             Disposition                                          responsibility for outstanding tasks (3.2).
April 2019   Asset                   04/10/19 JR              140 telephone conference and email communication with the City of Chicago IT department                     1.2          0.2      $28.00
             Disposition                                          regarding online portal application issue (1.2)
April 2019   Asset                   04/10/19 JR              140 email follow up to buyer's counsel regarding follow up to notice to tenants (.2).                       0.2          0.2      $28.00
             Disposition
April 2019   Asset                   04/10/19 JR              140 Assisted A. Porter in reviewing closing documents for additional mark up and finalization               3.8         0.95     $133.00
             Disposition                                          (3.8)
April 2019   Asset                   04/10/19 JR              140 submitted applications through City online application portal (.8)                                      0.8 0.1333333         $18.67
             Disposition
April 2019   Asset                   04/10/19 NM              260 Correspond with A. Porter and J. Rak regarding code violations on first tranche of properties           0.4 0.0666667         $17.33
             Disposition                                          being sold.
April 2019   Asset                   04/11/19 AEP             390 read all e-mail correspondence relating to pending building code violations, update property-           0.7 0.1166667         $45.50
             Disposition                                          specific closing files accordingly, and discuss status of same with N. Mirjanich (.7)

April 2019   Asset                   04/11/19 AEP             390 review amended lien waivers received from receivership broker, teleconference with                      0.4 0.0666667         $26.00
             Disposition                                          receivership broker regarding waiver of lien, and conference with K. Duff regarding potential
                                                                  resolution (.4)
April 2019   Asset                   04/11/19 AEP             390 Conferences with J. Rak regarding continuing efforts to obtain water certifications and                 0.3         0.05      $19.50
             Disposition                                          efforts to pay delinquent account balances at closing (.3)
April 2019   Asset                   04/11/19 JR              140 email follow up to A. Porter regarding same (.1)                                                        0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                   04/11/19 JR              140 email communication with City of Chicago IT department regarding expiration of new water                0.2 0.0333333          $4.67
             Disposition                                          certification applications (.2)
April 2019   Asset                   04/11/19 JR              140 Exchange correspondence with the title company regarding payment of water bills at closing              1.2          0.2      $28.00
             Disposition                                          and preparation for the closings (1.2)
April 2019   Asset                   04/11/19 JR              140 modify and review closing documents in preparation for closing at the end of the month for              2.9 0.4833333         $67.67
             Disposition                                          the first tranche (2.9).
April 2019   Asset                   04/11/19 JR              140 email communication to N. Mirjanich regarding same (.1)                                                 0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                   04/11/19 JR              140 emails with broker regarding revised commission statements and broker's lien for properties             0.8 0.1333333         $18.67
             Disposition                                          in the first tranche (.8)
April 2019   Asset                   04/12/19 JR              140 exchange correspondence with N. Mirjanich regarding meeting with City of Chicago water                  0.2 0.0333333          $4.67
             Disposition                                          department representatives regarding water bills and housing court matters (.2)

April 2019   Asset                   04/12/19 JR              140 Follow up communication with the title company attorney regarding the status of payment                 0.1 0.0166667          $2.33
             Disposition                                          of the water certification at closing (.1)
April 2019   Asset                   04/12/19 JR              140 update water certificate spreadsheet with the new expiration dates (.3)                                 0.3         0.05       $7.00
             Disposition




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2019   Asset                   04/12/19 NM              260 Update A. Porter with all housing and administrative court orders for properties in the first            0.2 0.0333333          $8.67
             Disposition                                          tranche of sales.
April 2019   Asset                   04/15/19 JR              140 exchange correspondence with management company after final review of lien waivers (1.3)                 1.3       0.325       $45.50
             Disposition
April 2019   Asset                   04/15/19 JR              140 Exchange correspondence with management company regarding additional tenant                              0.8 0.1333333         $18.67
             Disposition                                          information on the rent roll in preparation for closing (.8)
April 2019   Asset                   04/15/19 JR              140 forward to buyer's counsel closing documents for approval (.5)                                           0.5          0.5      $70.00
             Disposition
April 2019   Asset                   04/15/19 JR              140 review property manager's waiver of lien for management company and sent to property                     1.2          0.3      $42.00
             Disposition                                          manager (1.2)
April 2019   Asset                   04/15/19 JR              140 created spreadsheet for rent roll for closings (.2).                                                     0.2         0.05       $7.00
             Disposition
April 2019   Asset                   04/16/19 JR              140 Exchange correspondence with management company regarding the required closing                           0.3         0.15      $21.00
             Disposition                                          documents the management company will need to produce for closing (.3)

April 2019   Asset                   04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                      0.2 0.0018692          $0.26
             Disposition                                          Chicago water department (.2).
April 2019   Asset                   04/17/19 AEP             390 Review financial statements, including rent roll and delinquency report, for receivership                0.2          0.2      $78.00
             Disposition                                          property in first sales tranche (5001 S Drexel) and forward relevant excerpts to buyer's
                                                                  counsel (.2)
April 2019   Asset                   04/17/19 AEP             390 read all administrative orders entered on 04/11/19 and update property-specific files                    0.8 0.1333333         $52.00
             Disposition                                          accordingly (.8)
April 2019   Asset                   04/17/19 AEP             390 conference with J. Rak regarding status of preparation and collection of closing documents               0.1 0.0166667          $6.50
             Disposition                                          associated with first sales tranche (.1)
April 2019   Asset                   04/17/19 ED              390 Email correspondence regarding additional information and property access requested by                   0.3          0.3     $117.00
             Disposition                                          property purchaser (5001 S. Drexel).
April 2019   Asset                   04/18/19 JR              140 Exchange correspondence with management company team regarding closing documents                         0.6          0.1      $14.00
             Disposition                                          for properties in the first tranche.
April 2019   Asset                   04/19/19 AEP             390 Teleconference with title company underwriter regarding special exceptions on title policy,              1.5         0.25      $97.50
             Disposition                                          interpretation of federal orders supporting waivers of certain title exceptions, form of future
                                                                  deeds to be issued by receiver in connection with future property sales, and charges at
                                                                  closing.
April 2019   Asset                   04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd                3.3 0.0308411          $4.32
             Disposition                                          installment and confirm entities on our applications.
April 2019   Asset                   04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                    1.0    0.047619       $18.57
             Disposition
April 2019   Asset                   04/19/19 MR              390 conferences regarding issues on sales and use of proceeds (.4).                                          0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                   04/22/19 AEP             390 Meeting with J. Rak and title company representative regarding final inventory and approval              1.5         0.25      $97.50
             Disposition                                          of all documents required for closing, updates to title commitments, and scheduling issues.

April 2019   Asset                   04/22/19 JR              140 email to property manager regarding the rent roll (.2).                                                  0.2          0.2      $28.00
             Disposition


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
April 2019   Asset                   04/22/19 JR              140 meeting with title company representative to discuss closing procedure and review closing                  1.3 0.2166667         $30.33
             Disposition                                          documents (1.3)
April 2019   Asset                   04/22/19 JR              140 email to A. Porter regarding lien for property manager (.1)                                                0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                   04/22/19 JR              140 Meet with A. Porter prior to closing at the title company to discuss closing documents (.2)                0.2 0.0333333          $4.67
             Disposition
April 2019   Asset                   04/22/19 JR              140 complete rent roll for property (5001 Drexel) with the information that property manager                   3.3          3.3     $462.00
             Disposition                                          provided (3.3)
April 2019   Asset                   04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge                  5.0 0.2380952         $92.86
             Disposition                                          Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                   04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                              0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                   04/22/19 NM              260 Correspond with K. Duff regarding properties and objections on same (.2)                                   0.2          0.2      $52.00
             Disposition
April 2019   Asset                   04/23/19 AEP             390 read all e-mails sent between J. Rak and property managers during preceding week and                       0.3         0.05      $19.50
             Disposition                                          respond as needed (.3).
April 2019   Asset                   04/23/19 AEP             390 review, analyze, and update closing checklists for same two unencumbered properties in first               0.5 0.0833333         $32.50
             Disposition                                          sales tranche and communicate with prospective purchase regarding potential scheduling of
                                                                  closing (.5)
April 2019   Asset                   04/23/19 JR              140 exchange correspondence with property managers regarding leases and rent roll in                           1.3 0.2166667         $30.33
             Disposition                                          preparation for closing of same (1.3)
April 2019   Asset                   04/23/19 JR              140 Exchange correspondence with A. Porter regarding the approved motion for sale for                          1.2          0.2      $28.00
             Disposition                                          properties in the first tranche (1.2)
April 2019   Asset                   04/23/19 JR              140 corrections and revisions to rent roll on all properties for the first tranche in preparation for          4.8          0.8     $112.00
             Disposition                                          closing (4.8).
April 2019   Asset                   04/23/19 MR              390 Confer with K. Duff regarding issues for hearing (.9)                                                      0.9         0.15      $58.50
             Disposition
April 2019   Asset                   04/23/19 MR              390 further work in preparation for hearing (2.6)                                                              2.6 0.4333333        $169.00
             Disposition
April 2019   Asset                   04/23/19 MR              390 attend hearing (1.2)                                                                                       1.2          0.2      $78.00
             Disposition
April 2019   Asset                   04/23/19 MR              390 conferences and follow up regarding same (.3).                                                             0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/24/19 AEP             390 conference with J. Rak regarding completion of certified rent rolls and procedure for                      0.4 0.0666667         $26.00
             Disposition                                          computation of closing credit to purchaser in connection with proration of monthly rents
                                                                  (.4).
April 2019   Asset                   04/24/19 AEP             390 conference calls with title company representative regarding mechanics of payment of water                 0.3         0.05      $19.50
             Disposition                                          charges at closing and form of approval order to be recorded (.3)

April 2019   Asset                   04/24/19 AEP             390 conferences with K. Duff regarding expected sales proceeds, establishment of segregated                    0.5 0.0833333         $32.50
             Disposition                                          bank accounts, brokerage commission issues, and timing of closings (.5)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                            Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                             Hours         Fees
April 2019   Asset                   04/24/19 AEP             390 read notification of docket entry and proposed order approving sale of first tranche, and                   0.5 0.0833333         $32.50
             Disposition                                          revise proposed order to comport with report and recommendation adopted by trial judge
                                                                  for entry of judicial order acceptable to title company (.5)
April 2019   Asset                   04/24/19 JR              140 email communication to title company representative sending court order approving first                     0.1 0.0166667          $2.33
             Disposition                                          tranche sale of properties (.1)
April 2019   Asset                   04/24/19 MR              390 Attention to revised order and other issues for closing.                                                    0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/25/19 AEP             390 review, proofread, and revise certified rent rolls (1.2)                                                    1.2          0.2      $78.00
             Disposition
April 2019   Asset                   04/25/19 AEP             390 teleconferences with title company representatives regarding last-minute issues (.7)                        0.7 0.1166667         $45.50
             Disposition
April 2019   Asset                   04/25/19 AEP             390 revise and submit seller's closing figures (1.2)                                                            1.2          0.2      $78.00
             Disposition
April 2019   Asset                   04/25/19 AEP             390 teleconference with receivership broker regarding finalization of agreement regarding                       0.2 0.0333333         $13.00
             Disposition                                          payment of commissions (.2)
April 2019   Asset                   04/25/19 AEP             390 teleconferences with buyer's counsel regarding purchaser satisfaction of specified closing                  0.3         0.05      $19.50
             Disposition                                          conditions (.3)
April 2019   Asset                   04/25/19 AEP             390 Finalize all closing documents (4.0)                                                                        4.0 0.6666667        $260.00
             Disposition
April 2019   Asset                   04/25/19 AEP             390 oversee document execution and notarization process (.4).                                                   0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                   04/25/19 JR              140 exchange correspondence with A. Watychowicz regarding certification of order for closing                    0.1 0.0166667          $2.33
             Disposition                                          (.1)
April 2019   Asset                   04/25/19 KMP             140 conference with J. Rak regarding account information for transfer of funds in connection                    0.1       0.025        $3.50
             Disposition                                          with upcoming closing (.1).
April 2019   Asset                   04/25/19 KMP             140 Review and notarize documents for upcoming closing on EB properties and conference with                     0.4          0.1      $14.00
             Disposition                                          K. Duff and A. Porter regarding same (.4)
April 2019   Asset                   04/25/19 MR              390 Attention to closing related issues.                                                                        0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/25/19 SZ              110 In-person certification of court order at the federal court for sale and closing purposes of first          0.7 0.1166667         $12.83
             Disposition                                          tranche of properties.
April 2019   Asset                   04/26/19 AEP             390 teleconference with K. Duff regarding resolution of brokerage commission issue and prepare                  0.4 0.0666667         $26.00
             Disposition                                          updated lien waivers (.4)
April 2019   Asset                   04/26/19 AEP             390 conferences with J. Rak and title underwriter regarding planning for ensuing week's closings                0.5 0.0833333         $32.50
             Disposition                                          (.5)
April 2019   Asset                   04/26/19 AEP             390 teleconference with receivership broker regarding resolution of commission issue (.3).                      0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/26/19 MR              390 follow up on various issues regarding property sales (.3)                                                   0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/26/19 MR              390 Attention to issues on closing related issues (.2)                                                          0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/27/19 AEP             390 multiple communications with receivership brokers and asset managers regarding                              1.0 0.1666667         $65.00
             Disposition                                          finalization of lien waivers (1.0).


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2019   Asset                   04/27/19 AEP             390 Assemble revised title commitments for all eight remaining unsold properties in first                  2.5 0.4166667        $162.50
             Disposition                                          marketing tranche, compare special exceptions on revised commitments to special
                                                                  exceptions on prior commitments, and update closing checklists accordingly (2.5)

April 2019   Asset                   04/27/19 AEP             390 assemble all pleadings and orders associated with pending actions encumbering unsold                   1.0 0.1666667         $65.00
             Disposition                                          properties and forward same to counsel for respective purchasers with suggestions to
                                                                  defend future hearings and reminders that title will be conveyed subject to government
                                                                  proceedings (1.0)
April 2019   Asset                   04/28/19 AEP             390 review title invoices, check property tax balances, and update seller's closing figures for            0.5 0.0833333         $32.50
             Disposition                                          anticipated conveyances (.5).
April 2019   Asset                   04/29/19 AEP             390 send e-mails to counsel for purchaser of receivership property (5001 S Drexel) regarding               0.1          0.1      $39.00
             Disposition                                          timing of closing (.1)
April 2019   Asset                   04/29/19 AEP             390 communication with K. Duff regarding impact of property tax reductions on closings (.2)                0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/29/19 AEP             390 communication with property manager regarding adequacy of lien waiver (.2)                             0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/29/19 AEP             390 conferences with K. Duff and M. Rachlis regarding resolution of amounts claimed on                     0.2 0.0333333         $13.00
             Disposition                                          property manager's lien waivers (.2)
April 2019   Asset                   04/29/19 AEP             390 review e-mails regarding scheduling of closings, wire transfer issues, and other matters (.3)          0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/29/19 JR              140 update and prepare documents and meet with K. Duff and A. Porter to work on execution of               3.8 0.6333333         $88.67
             Disposition                                          sales documents (3.8)
April 2019   Asset                   04/29/19 KMP             140 Conference with K. Duff and J. Rak regarding required payment of outstanding tax bills and             0.2 0.0333333          $4.67
             Disposition                                          other issues related to upcoming closing.
April 2019   Asset                   04/29/19 MR              390 Conferences regarding closing issues.                                                                  0.3         0.05      $19.50
             Disposition
April 2019   Asset                   04/30/19 AEP             390 communications with property managers regarding reimbursements of property tax                         0.3         0.05      $19.50
             Disposition                                          advances at closings (.3)
April 2019   Business                04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding           0.6 0.0068182          $2.66
             Operations                                           properties and conferences with lenders counsel regarding same (.6)

April 2019   Business                04/01/19 MR              390 follow up emails relating to same (.3)                                                                 0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                           0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/01/19 MR              390 follow up on property accounting issues (.3).                                                          0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                        0.5 0.0056818          $2.22
             Operations
April 2019   Business                04/01/19 NM              260 revise spreadsheet and correspondence to water department regarding outstanding water                  1.2          0.2      $52.00
             Operations                                           balances and correspond with J. Rak regarding same (1.2)
April 2019   Business                04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                 0.2 0.0022727          $0.59
             Operations                                           property-by-property basis (.2)


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  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2019   Business                04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                              0.3 0.0028037          $0.39
             Operations
April 2019   Business                04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest              2.1 0.0196262          $2.75
             Operations                                           accrual (2.1)
April 2019   Business                04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                       0.1 0.0011364          $0.44
             Operations
April 2019   Business                04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile              0.3 0.0034091          $1.33
             Operations                                           against schedule of receivership payments (.3)
April 2019   Business                04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                      1.4 0.0159091          $6.20
             Operations
April 2019   Business                04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,               0.3 0.0028302          $0.40
             Operations                                           and prepare electronic copy for email communication.
April 2019   Business                04/03/19 NM              260 revise and send letter and spreadsheet to creditor regarding outstanding utilities and                   0.5 0.0833333         $21.67
             Operations                                           sending bills for same to property managers (.5)
April 2019   Business                04/04/19 NM              260 exchange correspondence with City attorneys regarding administrative court cases [more                   2.0       0.125       $32.50
             Operations                                           than 25] and revise spreadsheet to reflect same (2.0)
April 2019   Business                04/08/19 NM              260 study and exchange correspondence relating to outstanding water utility balances (.2).                   0.2 0.0333333          $8.67
             Operations
April 2019   Business                04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                       0.2 0.0022727          $0.89
             Operations                                           accounting statements (.2)
April 2019   Business                04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)                0.2 0.0022472          $0.88
             Operations
April 2019   Business                04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                            0.8 0.0090909          $3.55
             Operations
April 2019   Business                04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                        0.3 0.0033708          $1.31
             Operations
April 2019   Business                04/09/19 ED              390 follow up with property manager (.7)                                                                     0.7 0.0079545          $3.10
             Operations
April 2019   Business                04/09/19 ED              390 and internal document review (.8) regarding same                                                         0.8 0.0090909          $3.55
             Operations
April 2019   Business                04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                    0.3 0.0034091          $1.33
             Operations                                           properties (.3).
April 2019   Business                04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                    0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                  0.6 0.0068182          $2.66
             Operations                                           for accounting reports (.6)
April 2019   Business                04/10/19 NM              260 Study code violations notices sent by former EB attorney (.1)                                            0.1 0.0076923          $2.00
             Operations
April 2019   Business                04/11/19 AEP             390 review property tax and water delinquency spreadsheets, update preliminary closing                       1.2          0.2      $78.00
             Operations                                           statements for all properties in first sales tranche, and begin preparation of sources and uses
                                                                  spreadsheet to guide near-term cash management strategy (1.2).




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2019   Business                04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247          $7.89
             Operations
April 2019   Business                04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412          $1.15
             Operations
April 2019   Business                04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412          $1.15
             Operations                                           amounts (.2)
April 2019   Business                04/12/19 NM              260 Exchange correspond with City and internally regarding outstanding water balances and                  0.3         0.05      $13.00
             Operations                                           meeting regarding same.
April 2019   Business                04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455          $1.77
             Operations
April 2019   Business                04/15/19 NM              260 correspond with J. Rak, A. Porter, and City attorney regarding scheduling call relating to             0.2 0.0333333          $8.67
             Operations                                           outstanding water balances and payment of same (.2).
April 2019   Business                04/15/19 NM              260 study documents relating to code violations and properties sent by former EB attorneys and             0.1 0.0076923          $2.00
             Operations                                           registered agents on entities (.1)
April 2019   Business                04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486          $5.10
             Operations                                           properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business                04/16/19 NM              260 Study and respond to email correspondence relating to City litigation and water meeting and            0.3         0.05      $13.00
             Operations                                           study emails in EB account.
April 2019   Business                04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
             Operations
April 2019   Business                04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
             Operations
April 2019   Business                04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
             Operations
April 2019   Business                04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523          $5.50
             Operations                                           appointing receiver for all the receiver defendants (4.2).
April 2019   Business                04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841          $1.83
             Operations
April 2019   Business                04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391          $8.48
             Operations                                           insufficient income to support expenses.
April 2019   Business                04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539          $6.57
             Operations                                           managers (1.5)
April 2019   Business                04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087       $10.17
             Operations                                           expenses (1.8)
April 2019   Business                04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455          $1.77
             Operations
April 2019   Business                04/23/19 ED              390 Prepare analysis of outstanding tax liabilities for properties with positive net operating             0.8         0.04      $15.60
             Operations                                           income (.8)
April 2019   Business                04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455          $1.77
             Operations
April 2019   Business                04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)            0.1 0.0011364          $0.44
             Operations




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
April 2019   Business                04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727          $0.89
             Operations
April 2019   Business                04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/24/19 KMP             140 Study communications with bank representatives regarding details of new Receivership                 0.2         0.05       $7.00
             Operations                                           Estate accounts for purposes of segregating funds from upcoming closings on sales of
                                                                  receivership properties (.2)
April 2019   Business                04/24/19 KMP             140 attention to court orders granting motions to approve sale and for interim financing (.1).           0.1 0.0166667          $2.33
             Operations
April 2019   Business                04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182          $2.66
             Operations
April 2019   Business                04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909          $3.55
             Operations
April 2019   Business                04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727          $0.25
             Operations
April 2019   Business                04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273          $1.13
             Operations
April 2019   Business                04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273          $3.99
             Operations
April 2019   Business                04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727          $0.89
             Operations                                           managers for review (.2)
April 2019   Business                04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455          $1.77
             Operations
April 2019   Business                04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364          $5.32
             Operations
April 2019   Business                04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818          $2.22
             Operations                                           accountings (.5)
April 2019   Business                04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455          $1.18
             Operations
April 2019   Business                04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727          $0.25
             Operations
April 2019   Business                04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909          $1.00
             Operations                                           managers (.8)
April 2019   Business                04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901          $0.39
             Operations
April 2019   Business                04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802          $0.77
             Operations
April 2019   Business                04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364          $0.44
             Operations
April 2019   Business                04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727          $0.89
             Operations                                           reports (.2)


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2019   Business                04/29/19 ED              390 and review of notes regarding same (.3).                                                            0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                              0.5 0.0046729         $0.65
             Operations
April 2019   Business                04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          3.8 0.0431818         $4.75
             Operations                                           property managers (3.8)
April 2019   Business                04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                       0.3 0.0034091         $0.38
             Operations
April 2019   Business                04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).              3.9 0.0443182        $17.28
             Operations
April 2019   Business                04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          0.8 0.0090909         $1.00
             Operations                                           property managers (.8)
April 2019   Business                04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                       0.2 0.0022727         $0.25
             Operations
April 2019   Claims                  04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)               0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures           0.2 0.0022727         $0.89
             Administration                                       (.2).
             & Objections

April 2019   Claims                  04/11/19 ED              390 Begin review of Receiver's property reports.                                                        1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 and research into discrepancies and questions (.7)                                                  0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 review reports received against financial reporting to lenders (.8)                                 0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                        0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                0.8 0.0115942         $4.52
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
May 2019     Asset                   05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                         0.2 0.0022989          $0.90
             Disposition                                      account reporting (.2)
May 2019     Asset                   05/06/19 KBD         390 communicate with J. Rak regarding timing for closing on the sale of real estate (5001 Drexel)            0.1          0.1      $39.00
             Disposition                                      (.1)
May 2019     Asset                   05/06/19 KBD         390 discuss plans for payment of water and water certifications for real estate closing with J. Rak          0.1 0.0166667          $6.50
             Disposition                                      (.1).
May 2019     Asset                   05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                           0.4 0.0038835          $1.51
             Disposition
May 2019     Asset                   05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                      0.1 0.0009709          $0.38
             Disposition
May 2019     Asset                   05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                               0.6 0.0058252          $2.27
             Disposition
May 2019     Asset                   05/15/19 KBD         390 exchange correspondence with M. Rachlis regarding communication with lender's counsel                    0.1          0.1      $39.00
             Disposition                                      relating to sale of property (5001 Drexel) (.1).
May 2019     Asset                   05/16/19 KBD         390 study lender payoff statement (5001 S Drexel) (.2)                                                       0.2          0.2      $78.00
             Disposition
May 2019     Asset                   05/21/19 KBD         390 meet and confer with A. Porter and J. Rak regarding closing documents for sale of property               0.3          0.3     $117.00
             Disposition                                      (5001 S. Drexel) (.3)
May 2019     Asset                   05/23/19 KBD         390 exchange correspondence with J. Rak regarding closing checklist and confirmation of receipt              0.1          0.1      $39.00
             Disposition                                      of sale proceeds into subaccount (.1).
May 2019     Asset                   05/23/19 KBD         390 exchange correspondence with insurance broker regarding closing of property (5001 Drexel)                0.1          0.1      $39.00
             Disposition                                      (.1)
May 2019     Asset                   05/29/19 KBD         390 exchange correspondence with K. Pritchard regarding funds from closing (5001 Drexel) (.1).               0.1          0.1      $39.00
             Disposition
May 2019     Asset                   05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                             0.2 0.0019417          $0.76
             Disposition
May 2019     Business                05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                        0.1 0.0009346          $0.36
             Operations
May 2019     Business                05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and                0.4 0.0045977          $1.79
             Operations                                       reporting (.4)
May 2019     Business                05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                                  0.3 0.0034483          $1.34
             Operations
May 2019     Business                05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                     0.1 0.0009709          $0.38
             Operations                                       replacement insurance (.1).
May 2019     Business                05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                           0.1 0.0009709          $0.38
             Operations                                       replacement of insurance coverage (.1)
May 2019     Business                05/03/19 KBD         390 Discuss communications with city officials relating to outstanding water bills with N.                   0.2 0.0333333         $13.00
             Operations                                       Mirjanich (.2)
May 2019     Business                05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                       0.2 0.0019417          $0.76
             Operations                                       insurance policies and renewals (.2).
May 2019     Business                05/06/19 KBD         390 Analysis of spreadsheet from city officials relating to outstanding and past water bills (.2)            0.2 0.0333333         $13.00
             Operations




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  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
May 2019     Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709          $0.38
             Operations                                       payment (.1).
May 2019     Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126          $1.14
             Operations                                       insurance (.3)
May 2019     Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/13/19 KBD         390 Study correspondence regarding administrative court matters and payments (5001 Drexel                 0.2          0.1      $39.00
             Operations                                       and 4520 Drexel).
May 2019     Business                05/14/19 KBD         390 exchange correspondence with A. Porter and N. Mirjanich regarding city notice of                      0.1          0.1      $39.00
             Operations                                       outstanding water bill (.1).
May 2019     Business                05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154          $1.80
             Operations
May 2019     Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703          $1.16
             Operations                                       same (.3)
May 2019     Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109          $3.48
             Operations
May 2019     Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406          $2.32
             Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019     Business                05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818          $2.22
             Operations
May 2019     Business                05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851          $1.16
             Operations
May 2019     Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/21/19 KBD         390 study correspondence from property manager and J. Rak regarding water accounts (8047                  0.2          0.1      $39.00
             Operations                                       Manistee and 5001 S Drexel) (.2)
May 2019     Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417          $0.76
             Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                      0.2 0.0019417          $0.76
             Operations                                       property insurance renewal (.2)
May 2019     Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                  0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                       0.1 0.0009709          $0.38
             Operations                                       payment (.1)
May 2019     Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                0.2 0.0019417          $0.76
             Operations                                       property insurance payment (.2)




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
May 2019     Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                 0.2 0.0019417         $0.76
             Operations
May 2019     Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                 0.2 0.0018692         $0.73
             Operations
May 2019     Claims                  05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                              0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                  05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting            0.2 0.0022727         $0.89
             Administration                                   reports (.2)
             & Objections

May 2019     Claims                  05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with          0.1 0.0011494         $0.45
             Administration                                   accounting firm representatives (.1)
             & Objections

May 2019     Claims                  05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                    0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                  05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for           0.2 0.0022989         $0.90
             Administration                                   delivery of reports (.2)
             & Objections

May 2019     Claims                  05/15/19 KBD         390 telephone conference with accounting firm representative regarding same (.1).                    0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                  05/15/19 KBD         390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                        0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                  05/21/19 KBD         390 Study correspondence from E. Duff regarding communications with lender relating to               0.5 0.0056818         $2.22
             Administration                                   financial reports (.5)
             & Objections

May 2019     Claims                  05/21/19 KBD         390 office conference with E. Duff regarding same (.2)                                               0.2 0.0022989         $0.90
             Administration
             & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated       Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours            Fees
May 2019     Claims                  05/28/19 KBD             390 study correspondence from E. Duff regarding lender's counsel's communications relating to              0.2          0.2         $78.00
             Administration                                       property (5001 Drexel) (.2)
             & Objections

May 2019     Asset                   05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046           $3.14
             Disposition                                          accounting issues with property manager (.7).
May 2019     Asset                   05/01/19 JR              140 exchange correspondence with broker regarding tax bill for the first tranche (.2)                      0.2 0.0333333             $4.67
             Disposition
May 2019     Asset                   05/02/19 AEP             390 Communications with counsel for buyer and title company regarding tenancy in common                    0.4          0.4        $156.00
             Disposition                                          issues, special endorsements, and other title matters in connection with closing of final
                                                                  property in first sales tranche (5001 S Drexel) (.4)
May 2019     Asset                   05/02/19 JR              140 review payment of real estate property taxes submitted by title company from sales of the              1.2          0.2         $28.00
             Disposition                                          first tranche (1.2)
May 2019     Asset                   05/02/19 KMP             140 conference with K. Duff regarding notice to insurance broker regarding sale of properties and          0.1         0.05          $7.00
             Disposition                                          attention to communication with broker regarding same (.1).
May 2019     Asset                   05/03/19 JR              140 send notice to tenants to property manager for signature for property (5001 Drexel) (.2)               0.2          0.2         $28.00
             Disposition
May 2019     Asset                   05/03/19 JR              140 begin preparation of closing documents for property (5001 Drexel) for closing (.6)                     0.6          0.6         $84.00
             Disposition
May 2019     Asset                   05/03/19 JR              140 begin preparation of the assignment and assumption of leases for property (5001 Drexel) (.6)           0.6          0.6         $84.00
             Disposition
May 2019     Asset                   05/03/19 JR              140 email communication with real estate broker regarding requirement of signature for broker              0.2          0.2         $28.00
             Disposition                                          lien (.2)
May 2019     Asset                   05/03/19 JR              140 prepare for city meeting regarding water bills, full payment certificates and housing court            2.1         0.35         $49.00
             Disposition                                          with N. Mirjanich and A. Porter (2.1)
May 2019     Asset                   05/03/19 JR              140 meeting with City of Chicago water department (1.2).                                                   1.2          0.2         $28.00
             Disposition
May 2019     Asset                   05/06/19 AEP             390 review and revise all closing documents prepared for conveyance of receivership property               4.0               4   $1,560.00
             Disposition                                          (5001 S Drexel), teleconferences with title company regarding closing issues, and
                                                                  teleconferences with J. Rak regarding preparation for closing (4.0).
May 2019     Asset                   05/06/19 JR              140 exchange correspondence with A. Porter and buyer's counsel regarding scheduling closing                0.3          0.3         $42.00
             Disposition                                          (.3)
May 2019     Asset                   05/06/19 JR              140 Revise closing documents for property (5001 Drexel), including the assignment and                      3.4          3.4        $476.00
             Disposition                                          assumption of leases (3.4)
May 2019     Asset                   05/06/19 JR              140 exchange correspondence with real estate broker requesting an updated commission                       0.2          0.2         $28.00
             Disposition                                          statement for same (.2)
May 2019     Asset                   05/06/19 JR              140 finalize the assignment and assumption of leases with corresponding attached leases for all            1.4          1.4        $196.00
             Disposition                                          27 tenants (1.4).
May 2019     Asset                   05/07/19 AEP             390 Prepare pro forma title commitment for purchaser of receivership property (5001 S Drexel)              0.4          0.4        $156.00
             Disposition                                          and resolve closing scheduling issue (.4)
May 2019     Asset                   05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539             $6.57
             Disposition                                          marketing and sales process (1.5).




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  Invoice                                           Time                                                                                                                             Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                            Keeper                                                                                                                              Hours         Fees
May 2019     Asset                   05/07/19 JR              140 exchange correspondence with property manager regarding updated rent roll and closing                        0.2          0.2      $28.00
             Disposition                                          date for same (.2)
May 2019     Asset                   05/07/19 JR              140 exchange correspondence with title company regarding obtaining water certification for                       0.2          0.2      $28.00
             Disposition                                          same (.2)
May 2019     Asset                   05/07/19 JR              140 complete full payment water certification application and send back to title company (.5)                    0.5          0.5      $70.00
             Disposition
May 2019     Asset                   05/07/19 JR              140 Exchange correspondence with A. Porter regarding obtaining the water certification for                       0.2          0.2      $28.00
             Disposition                                          property (5001 Drexel) from the title company (.2)
May 2019     Asset                   05/07/19 JR              140 update rent roll per buyer counsel for same (1.2)                                                            1.2          1.2     $168.00
             Disposition
May 2019     Asset                   05/07/19 JR              140 update assignment and assumption of leases to reflect new rent roll for same (1.6)                           1.6          1.6     $224.00
             Disposition
May 2019     Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                                     2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                   05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.                  2.5 0.0280899         $10.96
             Disposition
May 2019     Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                              0.1 0.0009709          $0.38
             Disposition
May 2019     Asset                   05/10/19 AEP             390 Teleconference with J. Rak regarding preparation for closing of receivership property (5001 S                0.5          0.5     $195.00
             Disposition                                          Drexel), including water certificate issues, building code violation issues, rent roll, and closing
                                                                  figures.
May 2019     Asset                   05/10/19 JR              140 exchange correspondence with title company regarding the full payment certificate status                     0.3          0.3      $42.00
             Disposition                                          and transmit order appointing the receiver to same (.3)
May 2019     Asset                   05/10/19 JR              140 exchange correspondence with property manager requesting additional rent roll information                    0.2          0.2      $28.00
             Disposition                                          for same (.2)
May 2019     Asset                   05/10/19 JR              140 Telephone call with A. Porter regarding closing and status of full payment certificate for                   0.9          0.9     $126.00
             Disposition                                          property (5001 Drexel) (.9)
May 2019     Asset                   05/10/19 JR              140 receive updated income statement and delinquency report from title company and update                        1.2          1.2     $168.00
             Disposition                                          rent roll for same (1.2).
May 2019     Asset                   05/10/19 JR              140 exchange correspondence with title company regarding full payment certificate for same (.8)                  0.8          0.8     $112.00
             Disposition
May 2019     Asset                   05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                          1.2 0.0134831          $5.26
             Disposition
May 2019     Asset                   05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.                     1.5 0.0168539          $6.57
             Disposition
May 2019     Asset                   05/13/19 JR              140 create an executed closing document checklist and organize executed closing documents to                     2.9 0.4833333         $67.67
             Disposition                                          the corresponding files for properties that closed in the first tranche (2.9)

May 2019     Asset                   05/13/19 JR              140 Exchange correspondence with title company regarding the water certification for property                    0.1          0.1      $14.00
             Disposition                                          (5001 Drexel) (.1)
May 2019     Asset                   05/13/19 JR              140 follow up communication with property manager regarding the rent roll and ledger                             0.2          0.2      $28.00
             Disposition                                          discrepancy (.2)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2019     Asset                   05/13/19 JR              140 exchange correspondence with A. Porter regarding status of full payment certificate for                 0.1          0.1      $14.00
             Disposition                                          property (5001 Drexel) (.1).
May 2019     Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                   05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                             0.6 0.0067416          $2.63
             Disposition
May 2019     Asset                   05/14/19 AEP             390 review latest drafts of pro forma owner and loan policies associated with sale of final                 0.1          0.1      $39.00
             Disposition                                          receivership property in first marketing tranche (5001 S Drexel) (.1)
May 2019     Asset                   05/14/19 AEP             390 read and analyze administrative complaints filed by Chicago Water Department in                         0.3          0.3     $117.00
             Disposition                                          connection with property in first marketing tranche (5001 S Drexel) and communicate with
                                                                  N. Mirjanich regarding potential pre-closing issue (.3).
May 2019     Asset                   05/14/19 JR              140 Exchange correspondence with title company regarding status of water certification.                     0.2          0.2      $28.00
             Disposition
May 2019     Asset                   05/14/19 NM              260 correspond with J. Rak regarding property closing (5001 S Drexel) (.2).                                 0.2          0.2      $52.00
             Disposition
May 2019     Asset                   05/15/19 AEP             390 teleconference with special corporation counsel regarding effect of water collection action             0.3          0.3     $117.00
             Disposition                                          against receivership property (5001 S Drexel) on upcoming closing (.3)

May 2019     Asset                   05/15/19 AEP             390 schedule closing of sale of final receivership property in first tranche and provide drafts of          0.2 0.0333333         $13.00
             Disposition                                          revised conveyance documents to purchasers' counsel (.2)
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                              0.3 0.0033708          $1.31
             Disposition
May 2019     Asset                   05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with           1.0    0.011236        $4.38
             Disposition                                          receivership broker (1.0)
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                 0.6 0.0067416          $2.63
             Disposition
May 2019     Asset                   05/15/19 ED              390 Confer with N. Mirjanich regarding contacts for lenders to receive notice of sale.                      0.2 0.0333333         $13.00
             Disposition
May 2019     Asset                   05/15/19 JR              140 Exchange correspondence with the title company regarding status of water certification (.3)             0.3          0.3      $42.00
             Disposition
May 2019     Asset                   05/15/19 JR              140 send closing confirmation to management company regarding the last closing on the first                 0.1 0.0166667          $2.33
             Disposition                                          tranche (.1).
May 2019     Asset                   05/15/19 JR              140 email A. Porter closing statements for properties which closed on the first tranche (.2)                0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                   05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                             0.5    0.005618        $2.19
             Disposition
May 2019     Asset                   05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                 2.5 0.0280899         $10.96
             Disposition
May 2019     Asset                   05/16/19 JR              140 organize executed closing documents from the first tranche and place in corresponding                   0.6          0.1      $14.00
             Disposition                                          folder (.6)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated       Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours            Fees
May 2019     Asset                   05/16/19 JR              140 exchange correspondence with A. Porter regarding closing statements from the first tranche                 0.1 0.0166667             $2.33
             Disposition                                          (.1)
May 2019     Asset                   05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                      0.2 0.0029851             $0.42
             Disposition
May 2019     Asset                   05/16/19 NM              260 correspond with A. Porter regarding judgments entered on properties (6801 S East End and                   0.1          0.1         $26.00
             Disposition                                          5001 S Drexel) (.1).
May 2019     Asset                   05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                        0.2 0.0022472             $0.88
             Disposition
May 2019     Asset                   05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                        0.2 0.0029851             $0.42
             Disposition
May 2019     Asset                   05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                         2.6    0.038806           $5.43
             Disposition                                          online water payment and management (2.6)
May 2019     Asset                   05/20/19 JR              140 prepare and label envelopes for notice to tenant letters in preparation for closing of property            1.6          1.6        $224.00
             Disposition                                          (5001 Drexel) (1.6).
May 2019     Asset                   05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                      0.3 0.0044776             $0.63
             Disposition                                          (.3)
May 2019     Asset                   05/20/19 JR              140 exchange correspondence with management company regarding same (.3)                                        0.3          0.3         $42.00
             Disposition
May 2019     Asset                   05/21/19 JR              140 draft updates to same (1.4)                                                                                1.4          1.4        $196.00
             Disposition
May 2019     Asset                   05/21/19 JR              140 exchange correspondence with buyer's counsel and property manager regarding two tenants                    0.8          0.8        $112.00
             Disposition                                          in evict status for property, send court orders to buyer's counsel for property (5001 Drexel)
                                                                  (.8)
May 2019     Asset                   05/21/19 JR              140 exchange correspondence with title company and buyer's counsel regarding information for                   0.4          0.4         $56.00
             Disposition                                          closing (.4)
May 2019     Asset                   05/21/19 JR              140 attend and assist in signing of closing documents for same (5001 Drexel) (.7)                              0.7          0.7         $98.00
             Disposition
May 2019     Asset                   05/21/19 JR              140 office conference with A. Porter to review final closing documents for property prior to                   2.3          2.3        $322.00
             Disposition                                          closing (2.3)
May 2019     Asset                   05/21/19 JR              140 Exchange correspondence with property manager, broker and buyer's counsel regarding                        0.9          0.9        $126.00
             Disposition                                          updates and transmittal of final rent roll for review for property (5001 Drexel) (.9)

May 2019     Asset                   05/21/19 JR              140 exchange correspondence with buyer's counsel, title company and A. Porter regarding                        0.5          0.5         $70.00
             Disposition                                          revisions to the Receiver's deed (.5).
May 2019     Asset                   05/22/19 AEP             390 and attend closing of sale of receivership property in first sales tranche (5001 S Drexel) (4.0).          4.0               4   $1,560.00
             Disposition
May 2019     Asset                   05/22/19 AEP             390 Send, receive, and analyze last-minute closing correspondence from buyers and title                        2.0               2     $780.00
             Disposition                                          company underwriters relating to title insurance exception issues, closing statement
                                                                  prorations, and other closing documents (2.0)
May 2019     Asset                   05/22/19 JR              140 update closing documents (.5)                                                                              0.5          0.5         $70.00
             Disposition
May 2019     Asset                   05/22/19 JR              140 attend closing for same at title company (4.0).                                                            4.0               4     $560.00
             Disposition


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2019     Asset                   05/22/19 JR              140 exchange correspondence with A. Porter regarding same (.2)                                            0.2          0.2      $28.00
             Disposition
May 2019     Asset                   05/22/19 JR              140 Exchange correspondence with property manager and buyer regarding status of tenants and               0.7          0.7      $98.00
             Disposition                                          key delivery to closing for property (5001 Drexel) (.7)
May 2019     Asset                   05/22/19 JR              140 exchange correspondence with broker regarding closing (.1)                                            0.1          0.1      $14.00
             Disposition
May 2019     Asset                   05/22/19 JR              140 exchange correspondence with the title company regarding water certification and confirm              0.6          0.6      $84.00
             Disposition                                          charges regarding same (.6)
May 2019     Asset                   05/22/19 KMP             140 Conferences with J. Rak regarding upcoming closing.                                                   0.1          0.1      $14.00
             Disposition
May 2019     Asset                   05/28/19 JR              140 Exchange correspondence with buyer regarding property (5001 Drexel) and assist with                   0.6          0.6      $84.00
             Disposition                                          obtaining documents for tenant (.6)
May 2019     Asset                   05/28/19 JR              140 exchange correspondence with property manager and A. Porter regarding same (.8)                       0.8          0.8     $112.00
             Disposition
May 2019     Asset                   05/29/19 JR              140 Exchange correspondence with M. Rachlis regarding funds inquiry for property (5001 Drexel)            0.1          0.1      $14.00
             Disposition                                          (.1)
May 2019     Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953          $3.01
             Operations                                           sale (2.3)
May 2019     Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766          $1.05
             Operations
May 2019     Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835          $1.51
             Operations
May 2019     Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923          $3.00
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385          $0.60
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364          $0.44
             Operations
May 2019     Business                05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709          $0.14
             Operations
May 2019     Business                05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417          $0.27
             Operations                                           conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business                05/03/19 NM              260 attend meeting for same (1.0)                                                                         1.0 0.1666667         $43.33
             Operations




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/03/19 NM          260 prepare for meeting with City water and billing department and correspond with A. Porter               1.7 0.2833333        $73.67
             Operations                                       and J. Rak regarding same (1.7)
May 2019     Business                05/03/19 NM          260 correspond with E. Duff regarding code violation and property tax documents needed for                 0.2 0.0022989         $0.60
             Operations                                       reporting and send same (.2).
May 2019     Business                05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                            0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella                  0.4 0.0038835         $0.54
             Operations                                       insurance renewal, and communications with K. Duff and bank representative regarding
                                                              same (.4)
May 2019     Business                05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                    0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                     0.1 0.0009709         $0.14
             Operations                                       premium finance agreement.
May 2019     Business                05/08/19 ED          390 email correspondence with property manager to request additional documentation for same                0.3 0.0034091         $1.33
             Operations                                       (.3)
May 2019     Business                05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                    0.2 0.0022727         $0.89
             Operations                                       expenditures by property (.2)
May 2019     Business                05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)               0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                       2.0 0.0227273         $8.86
             Operations
May 2019     Business                05/08/19 ED          390 and review of related documentation (.6)                                                               0.6 0.0068182         $2.66
             Operations
May 2019     Business                05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for              0.9 0.0102273         $3.99
             Operations                                       follow up questions (.9)
May 2019     Business                05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909         $3.55
             Operations                                       reports and comments and questions regarding contents (.8)
May 2019     Business                05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182        $17.28
             Operations
May 2019     Business                05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455         $1.77
             Operations
May 2019     Business                05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818         $2.22
             Operations                                       (.5)
May 2019     Business                05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727         $0.89
             Operations


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  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
May 2019     Business                05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                      2.5 0.0284091         $11.08
             Operations
May 2019     Business                05/13/19 ED          390 review and revise draft reports (.4)                                                                0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/13/19 NM          260 study documents sent by former EB attorneys and follow-up as related to properties (5001 S          0.8          0.4     $104.00
             Operations                                       Drexel and 4250 S Drexel) (.8)
May 2019     Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                              1.3 0.0126214          $4.92
             Operations
May 2019     Business                05/15/19 ED          390 and review of related documents (.7)                                                                0.7 0.0079545          $3.10
             Operations
May 2019     Business                05/15/19 ED          390 email correspondence (.4)                                                                           0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                       0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/15/19 NM          260 correspond with City attorney regarding judgment on property (5001 S Drexel) (.1).                  0.1          0.1      $26.00
             Operations
May 2019     Business                05/16/19 ED          390 review documents regarding application of receivership payments to property manager by              2.2       0.025        $9.75
             Operations                                       property (2.2)
May 2019     Business                05/16/19 ED          390 review revised accounting reports from accountant (.5).                                             0.5 0.0056818          $2.22
             Operations
May 2019     Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                  1.0 0.0097087          $3.79
             Operations
May 2019     Business                05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports          0.1 0.0011364          $0.44
             Operations                                       (.1)
May 2019     Business                05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                            0.6 0.0068182          $2.66
             Operations
May 2019     Business                05/17/19 ED          390 review and revise draft reports received (4.4)                                                      4.4         0.05      $19.50
             Operations
May 2019     Business                05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)           0.8 0.0090909          $3.55
             Operations
May 2019     Business                05/17/19 ED          390 calls with accountant regarding reports (.3)                                                        0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                          0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to               0.5 0.0056818          $2.22
             Operations                                       accountants (.5)
May 2019     Business                05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of          0.3 0.0034091          $1.33
             Operations                                       accounting reports (.3)
May 2019     Business                05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                0.9 0.0102273          $3.99
             Operations                                       accounting reports (.9)
May 2019     Business                05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                    4.6 0.0522727         $20.39
             Operations                                       accountant with comments and revisions to same.




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019     Business                05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273         $28.36
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273         $47.86
             Operations                                       accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business                05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364         $29.69
             Operations                                       accounting reports and several conferences regarding same, and conferences with E. Duff
                                                              and N. Mirjanich regarding same.
May 2019     Business                05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545         $11.82
             Operations
May 2019     Business                05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364          $0.30
             Operations
May 2019     Business                05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636         $33.68
             Operations                                       with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business                05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909         $18.17
             Operations
May 2019     Business                05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818          $0.80
             Operations                                       conferences with E. Duff regarding same.
May 2019     Business                05/21/19 NM          260 correspond with A. Porter regarding properties (6801 S East End and 5001 S Drexel                      0.1          0.1      $26.00
             Operations                                       judgments) (.1).
May 2019     Business                05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182         $21.27
             Operations
May 2019     Business                05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909          $2.36
             Operations
May 2019     Business                05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182         $12.41
             Operations
May 2019     Business                05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364         $15.07
             Operations                                       reports (3.4).
May 2019     Business                05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727         $10.64
             Operations
May 2019     Business                05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416          $0.94
             Operations                                       and conferences with E. Duff regarding same.
May 2019     Business                05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909          $2.36
             Operations
May 2019     Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126          $1.14
             Operations
May 2019     Business                05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989          $0.90
             Operations




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019     Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417          $0.27
             Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835          $0.54
             Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019     Business                05/29/19 MR          390 attention to communications regarding property (5001 Drexel) (.2)                                      0.2          0.2      $78.00
             Operations
May 2019     Business                05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April              0.5 0.0057471          $2.24
             Operations                                       accounting reports (.5)
May 2019     Business                05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977          $1.79
             Operations
May 2019     Business                05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                          0.5 0.0057471          $2.24
             Operations
May 2019     Business                05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of           0.9 0.0103448          $4.03
             Operations                                       accounting reports (.9)
May 2019     Business                05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989          $0.90
             Operations
May 2019     Business                05/30/19 ED          390 and property manager (.8)                                                                              0.8 0.0091954          $3.59
             Operations
May 2019     Business                05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).              1.0 0.0114943          $4.48
             Operations
May 2019     Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709          $0.14
             Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)
May 2019     Business                05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                  0.2 0.0022989          $0.90
             Operations                                       required for April accounting reports (.2)
May 2019     Claims                  05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)              0.6 0.0068966          $2.69
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                   5.6 0.0643678         $25.10
             Administration                                   accounting reports (5.6)
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                               0.2 0.0022989          $0.90
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                  0.4 0.0045977          $1.79
             Administration                                   reports (.4)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
May 2019     Claims                  05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977          $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713         $22.41
             Administration                                   documents (5.0)
             & Objections

May 2019     Claims                  05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977          $1.79
             Administration                                   accounting reports (.4).
             & Objections

May 2019     Claims                  05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954          $3.59
             Administration
             & Objections

May 2019     Claims                  05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977          $1.79
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182          $2.66
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273          $3.99
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437          $4.93
             Administration
             & Objections

May 2019     Claims                  05/28/19 ED          390 Draft email to K. Duff and M. Rachlis regarding lender inquires.                                      0.7          0.7     $273.00
             Administration
             & Objections

June 2019    Asset                   06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)             0.2 0.0028571          $1.11
             Disposition
June 2019    Asset                   06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802          $0.77
             Disposition
June 2019    Business                06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties               0.5 0.0057471          $2.24
             Operations                                       (.5)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
June 2019    Business                06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                         0.1 0.0009346          $0.36
             Operations
June 2019    Business                06/07/19 KBD             390 and discuss same with E. Duff (.1)                                                                 0.1 0.0009709          $0.38
             Operations
June 2019    Business                06/07/19 KBD             390 Study correspondence and documentation from insurance representative regarding policy              0.4 0.0038835          $1.51
             Operations                                           renewal (.4)
June 2019    Business                06/18/19 KBD             390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                   0.4 0.0045977          $1.79
             Operations
June 2019    Business                06/19/19 KBD             390 study property expense management and exchange correspondence with E. Duff regarding               0.4 0.0045977          $1.79
             Operations                                           same (.4).
June 2019    Business                06/20/19 KBD             390 study analysis of City fines and proposed resolution and exchange correspondence with N.           0.2         0.02       $7.80
             Operations                                           Mirjanich regarding same (.2).
June 2019    Business                06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence              0.4 0.0037383          $1.46
             Operations                                           with J. Rak regarding same (.4)
June 2019    Business                06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding negotiation of settlements for                 0.4 0.0363636         $14.18
             Operations                                           property fines (.4)
June 2019    Business                06/28/19 KBD             390 exchange correspondence with A. Porter regarding research on property disposition issue            0.3 0.0033333          $1.30
             Operations                                           (.3).
June 2019    Claims                  06/10/19 KBD             390 Address property manager financial reporting and reconciling accounting reports and study          0.6 0.0068966          $2.69
             Administration                                       various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                  06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                0.3 0.0033708          $1.31
             Administration
             & Objections

June 2019    Claims                  06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                               0.4 0.0044944          $1.75
             Administration
             & Objections

June 2019    Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                         3.7 0.0345794          $4.84
             Disposition
June 2019    Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                             1.2    0.011215        $1.57
             Disposition
June 2019    Asset                   06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                        0.7 0.0078652          $3.07
             Disposition
June 2019    Asset                   06/04/19 JR              140 exchange correspondence with title company regarding water payment issue at closing for            0.3          0.3      $42.00
             Disposition                                          property (5001 Drexel) (.3).
June 2019    Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                  1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                   06/05/19 JR              140 follow up correspondence with the title company regarding the water payment on property            0.2          0.2      $28.00
             Disposition                                          (5001 Drexel) (.2)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019    Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                          properties (.6).
June 2019    Asset                   06/06/19 JR              140 exchange correspondence with the title company regarding payment of water for property                  0.1          0.1      $14.00
             Disposition                                          (5001 Drexel) (.1)
June 2019    Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                   06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944          $1.75
             Disposition
June 2019    Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                   06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                  0.2 0.0142857          $2.00
             Disposition                                          tranche of properties (.2).
June 2019    Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                   06/19/19 JR              140 follow up email with title company regarding water payment on closed property (5001                     0.2          0.2      $28.00
             Disposition                                          Drexel) (.2)
June 2019    Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
             Disposition                                          all properties (.1).
June 2019    Asset                   06/19/19 MR              390 Attention to issues on purchase and sale agreement issues regarding upcoming sales (.8)                 0.8 0.1333333         $52.00
             Disposition
June 2019    Asset                   06/19/19 MR              390 conferences with K. Duff regarding same (.3).                                                           0.3         0.05      $19.50
             Disposition
June 2019    Asset                   06/20/19 JR              140 exchange communication with the title company relating to issues with the water balance                 0.2          0.2      $28.00
             Disposition                                          payment for property (5001 Drexel) (.2).
June 2019    Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                   06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts             1.8 0.1285714         $18.00
             Disposition                                          (1.8)
June 2019    Asset                   06/24/19 MR              390 Attention to purchase and sales agreements.                                                             0.3         0.05      $19.50
             Disposition
June 2019    Asset                   06/25/19 MR              390 Attention to upcoming sales issues.                                                                     0.3         0.05      $19.50
             Disposition
June 2019    Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333          $1.17
             Disposition                                          the receiver's information (.9)
June 2019    Asset                   06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                 2.5 0.0277778         $10.83
             Disposition
June 2019    Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667          $2.33
             Disposition                                          receivership properties (1.8).
June 2019    Asset                   06/28/19 KMP             140 work with J. Rak to facilitate same (.4)                                                                0.4 0.0333333          $4.67
             Disposition




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
June 2019    Asset                   06/28/19 KMP         140 Review and analysis of lender's proposed amendment to bid procedures (.6)                             0.6         0.05       $7.00
             Disposition
June 2019    Asset                   06/28/19 KMP         140 conferences with M. Rachlis regarding same (.1).                                                      0.1 0.0083333          $1.17
             Disposition
June 2019    Business                06/03/19 ED          390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494          $0.45
             Operations
June 2019    Business                06/04/19 ED          390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471          $2.24
             Operations
June 2019    Business                06/04/19 NM          260 revise spreadsheet to reflect same and correspond with property manager regarding same                0.9         0.18      $46.80
             Operations                                       and regarding other violations (8107 S Ellis, 7760 S Coles, 7300 Saint Lawrence), and other
                                                              buildings cases (.9)
June 2019    Business                06/04/19 NM          260 correspond with E. Duff regarding correspondence to lender regarding various                          0.3 0.0428571         $11.14
             Operations                                       communications (.3)
June 2019    Business                06/06/19 KMP         140 attention to communications from accountant regarding spreadsheets containing financial               0.1 0.0090909          $1.27
             Operations                                       information for various properties (.1)
June 2019    Business                06/06/19 KMP         140 conference with N. Mirjanich regarding same, and review documents and prior email                     1.1          0.1      $14.00
             Operations                                       communications relating to same (1.1).
June 2019    Business                06/07/19 ED          390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379          $3.41
             Operations
June 2019    Business                06/07/19 KMP         140 attention to further communications from accountant regarding spreadsheets containing                 0.1 0.0090909          $1.27
             Operations                                       financial information for various properties (.1).
June 2019    Business                06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835          $0.54
             Operations                                       liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                              regarding same (.4)
June 2019    Business                06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417          $0.27
             Operations                                       property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business                06/10/19 ED          390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483          $1.34
             Operations
June 2019    Business                06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023       $21.07
             Operations                                       regarding allocation of funds (4.7)
June 2019    Business                06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471          $2.24
             Operations
June 2019    Business                06/11/19 MR          390 conferences with K. Duff regarding same (.1).                                                         0.1          0.1      $39.00
             Operations
June 2019    Business                06/11/19 MR          390 and participate in call regarding property issues (at 5001 Drexel) (.2)                               0.2          0.2      $78.00
             Operations
June 2019    Business                06/11/19 MR          390 Prepare for (.2)                                                                                      0.2          0.2      $78.00
             Operations
June 2019    Business                06/11/19 NM          260 draft list of known collection notices in advance of telephone conference with City attorney          1.1         0.11      $28.60
             Operations                                       for same and correspond with same (1.1)
June 2019    Business                06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966          $1.79
             Operations                                       and payment of expenses from same and from Receiver's account (.6).


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
June 2019    Business                06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                         0.9 0.0103448          $4.03
             Operations
June 2019    Business                06/13/19 ED          390 review information from property manager regarding application of funds from Receivership               1.0 0.0114943          $4.48
             Operations                                       to property accounts (1.0)
June 2019    Business                06/13/19 ED          390 confer with M. Rachlis (.2)                                                                             0.2 0.0022989          $0.90
             Operations
June 2019    Business                06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                  0.1 0.0009709          $0.14
             Operations                                       payment for same (.1).
June 2019    Business                06/13/19 NM          260 correspond with City attorney regarding collections notices on properties (.3)                          0.3         0.03       $7.80
             Operations
June 2019    Business                06/13/19 NM          260 correspond with property managers and E. Duff to obtain information regarding same (.7)                 0.7         0.07      $18.20
             Operations
June 2019    Business                06/13/19 NM          260 correspond with K. Duff regarding same (.1)                                                             0.1         0.01       $2.60
             Operations
June 2019    Business                06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                   0.2 0.0022989          $0.90
             Operations                                       property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business                06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                          0.1 0.0011494          $0.45
             Operations
June 2019    Business                06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                 0.2 0.0022989          $0.90
             Operations
June 2019    Business                06/17/19 MR          390 attention to accountant related issues (.1)                                                             0.1 0.0011494          $0.45
             Operations
June 2019    Business                06/17/19 MR          390 and conferences regarding same (.3).                                                                    0.3 0.0034483          $1.34
             Operations
June 2019    Business                06/18/19 ED          390 accountant (.4)                                                                                         0.4 0.0045977          $1.79
             Operations
June 2019    Business                06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                                4.3 0.0494253         $19.28
             Operations
June 2019    Business                06/18/19 ED          390 email correspondence with property manager (.7)                                                         0.7    0.008046        $3.14
             Operations
June 2019    Business                06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                   0.2 0.0022989          $0.90
             Operations                                       regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business                06/18/19 ED          390 and insurance broker (.8)                                                                               0.8 0.0091954          $3.59
             Operations
June 2019    Business                06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property           0.3 0.0034483          $1.34
             Operations                                       manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business                06/19/19 NM          260 Correspond with J. Rak regarding water certification on property (5001 S Drexel) and study              0.2          0.2      $52.00
             Operations                                       email correspondence relating to same (.2)
June 2019    Business                06/19/19 NM          260 draft offer to settle collection notices on outstanding EB matters from streets and sanitation          0.2 0.0181818          $4.73
             Operations                                       (.2)


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
June 2019    Business                06/20/19 ED              390 begin review of additional accounting reports drafts from accountant (.8).                            0.8 0.0091954          $3.59
             Operations
June 2019    Business                06/20/19 ED              390 calls and email correspondence with accountant regarding information for inclusion in April           1.0 0.0114943          $4.48
             Operations                                           accounting reports (1.0)
June 2019    Business                06/20/19 ED              390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                    2.8 0.0321839         $12.55
             Operations
June 2019    Business                06/20/19 MR              390 Attention to emails regarding accounting reconciliation.                                              0.8 0.0091954          $3.59
             Operations
June 2019    Business                06/20/19 NM              260 draft correspondence to K. Duff regarding offers on EB judgments (.1)                                 0.1 0.0090909          $2.36
             Operations
June 2019    Business                06/20/19 NM              260 prepare for court tomorrow on water debt for property (5001 S Drexel) (.1).                           0.1          0.1      $26.00
             Operations
June 2019    Business                06/21/19 NM              260 Appear for court to vacate judgment entered for water debt against entity (.8)                        0.8          0.8     $208.00
             Operations
June 2019    Business                06/21/19 NM              260 correspond with K. Duff regarding settlement offer for judgments on EB entities (.1)                  0.1 0.0090909          $2.36
             Operations
June 2019    Business                06/21/19 NM              260 draft correspondence to City attorney regarding same (.6)                                             0.6 0.0545455         $14.18
             Operations
June 2019    Business                06/24/19 ED              390 send financial information to accountant for May accounting reports (.6).                             0.6 0.0068966          $2.69
             Operations
June 2019    Business                06/24/19 ED              390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance          0.1 0.0011494          $0.45
             Operations                                           premiums relating to sold properties (.1)
June 2019    Business                06/24/19 KMP             140 communications with E. Duff regarding allocation of insurance premium refund (.1)                     0.1         0.02       $2.80
             Operations
June 2019    Business                06/24/19 NM              260 Study new violations from EB counsel and new collection notices K. Duff received in mail and          0.6          0.2      $52.00
             Operations                                           revise spreadsheet to reflect same.
June 2019    Business                06/26/19 ED              390 email correspondence with accountant regarding process for organizing funding for property            0.2 0.0022989          $0.90
             Operations                                           accounts receivables (.2).
June 2019    Business                06/26/19 NM              260 correspond with A. Watychowicz and draft letter to former EB counsel regarding same (.1).             0.1 0.0333333          $8.67
             Operations
June 2019    Business                06/26/19 NM              260 Study documents with code violations and other notices sent by former EB counsel (.2)                 0.2 0.0666667         $17.33
             Operations
June 2019    Business                06/27/19 ED              390 email correspondence with insurance broker regarding policy renewals for sold properties              0.1 0.0166667          $6.50
             Operations                                           (.1)
June 2019    Business                06/27/19 ED              390 review of related documents (.2)                                                                      0.2 0.0333333         $13.00
             Operations
June 2019    Business                06/27/19 ED              390 and email correspondence K. Duff, A. Porter, and J. Rak regarding same (.1)                           0.1 0.0166667          $6.50
             Operations
June 2019    Business                06/27/19 ED              390 continue analysis of property expenses (.8).                                                          0.8 0.0091954          $3.59
             Operations
June 2019    Business                06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                           1.5 0.0172414          $1.90
             Operations




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2019    Business                06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Claims                  06/03/19 ED              390 Draft reply to lenders' counsel regarding multiple inquiries into multiple issues relating to          0.3 0.0428571        $16.71
             Administration                                       multiple properties.
             & Objections

June 2019    Claims                  06/04/19 ED              390 and confer with N. Mirjanich regarding same (.2)                                                       0.2 0.0285714        $11.14
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 Reply to email from lenders' counsel regarding inquiries relating to property status (.3)              0.3 0.0428571        $16.71
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                       reporting (.6)
             & Objections

June 2019    Claims                  06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                       Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                  06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2019    Claims                  06/07/19 ED          390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                   and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                  06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                   and questions relating to Receiver's accounting reports.
             & Objections

June 2019    Claims                  06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
             Administration                                   ended April 2019 (.3)
             & Objections

June 2019    Claims                  06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
             Administration                                   accounting reports to lenders (.2).
             & Objections

June 2019    Claims                  06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                   email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                  06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2019    Claims                  06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                  0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                  06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                     0.8 0.0089888         $2.34
             Administration                                   questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                  06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                           0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 Attention to claims related issues (.7)                                                               0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                         0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 prepare for (1.2)                                                                                     1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                  06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                          0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Business                07/01/19 KBD         390 study correspondence from N. Mirjanich regarding various City judgments (.2)                          0.2 0.0285714        $11.14
             Operations
July 2019    Business                07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business                07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                       E. Duff (.2)
July 2019    Business                07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
             Operations                                       regarding same (2.5)
July 2019    Business                07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business                07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
July 2019    Business                07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                     0.2 0.0022989          $0.90
             Operations
July 2019    Business                07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                      1.1 0.0207547          $8.09
             Operations
July 2019    Business                07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence          0.5    0.009434        $3.68
             Operations                                       with M. Rachlis regarding same (.5)
July 2019    Business                07/25/19 KBD         390 work on financial reporting relating to property (5001 Drexel) with E. Duff (.1)                    0.1          0.1      $39.00
             Operations
July 2019    Business                07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent               0.2 0.0037736          $1.47
             Operations                                       restoration (.2)
July 2019    Claims                  07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618        $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708          $1.31
             Administration                                   discussions before the Court (.3)
             & Objections

July 2019    Claims                  07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708          $1.31
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618        $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                 0.6 0.0067416          $2.63
             Administration                                   information, and case law (.6)
             & Objections

July 2019    Claims                  07/03/19 KBD         390 study lender motion for turnover of sale proceeds (.3).                                             0.3          0.3     $117.00
             Administration
             & Objections

July 2019    Claims                  07/04/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                            0.1          0.1      $39.00
             Administration
             & Objections

July 2019    Claims                  07/04/19 KBD         390 Analysis of a draft correspondence regarding lender's motion relating to property (5001             0.7          0.7     $273.00
             Administration                                   Drexel) (.7)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
July 2019    Claims                  07/04/19 KBD         390 draft correspondence to K. Pritchard and S. Zjalic regarding investigation of records relating          0.1          0.1      $39.00
             Administration                                   to same (.1).
             & Objections

July 2019    Claims                  07/09/19 KBD         390 work with A. Watychowicz regarding compiling information relating to same from submitted                0.1          0.1      $39.00
             Administration                                   claims (.1)
             & Objections

July 2019    Claims                  07/09/19 KBD         390 Study spreadsheet regarding claims on property (5001 S Drexel) (.2)                                     0.2          0.2      $78.00
             Administration
             & Objections

July 2019    Claims                  07/10/19 KBD         390 Confer with A. Watychowicz regarding claims submitted regarding property (5001 S Drexel)                0.2          0.2      $78.00
             Administration                                   (.2)
             & Objections

July 2019    Claims                  07/10/19 KBD         390 office conferences with M. Rachlis regarding access to information analysis of claims for               0.2          0.2      $78.00
             Administration                                   property (.2).
             & Objections

July 2019    Claims                  07/15/19 KBD         390 confer with M. Rachlis regarding review of claims (5001 S. Drexel) and hearing before Judge             0.1          0.1      $39.00
             Administration                                   Kim (.1)
             & Objections

July 2019    Claims                  07/15/19 KBD         390 discussions with N. Mirjanich and A. Watychowicz regarding evaluation of claims (5001                   0.3          0.3     $117.00
             Administration                                   Drexel) (.3)
             & Objections

July 2019    Claims                  07/15/19 KBD         390 analysis of claim amounts and priority issues relating to property (5001 Drexel) with M.                0.5          0.5     $195.00
             Administration                                   Rachlis (.5)
             & Objections

July 2019    Claims                  07/16/19 KBD         390 study preliminary spreadsheets of portal claims regarding property (5001 S Drexel) (.3)                 0.3          0.3     $117.00
             Administration
             & Objections

July 2019    Claims                  07/16/19 KBD         390 prepare with M. Rachlis for hearing before Judge Kim and discussion of information relating             0.3          0.3     $117.00
             Administration                                   to claims against property (5001 Drexel) (.3)
             & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019    Claims                  07/17/19 KBD             390 Prepare for and attend hearing before Judge Kim regarding lender's motion as to sales                  1.5          1.5     $585.00
             Administration                                       proceeds (5001 Drexel) and conferences with M. Rachlis regarding same (1.5)
             & Objections

July 2019    Claims                  07/23/19 KBD             390 revise motion for use of sales proceeds for rent restoration (.8)                                      0.8 0.0150943          $5.89
             Administration
             & Objections

July 2019    Claims                  07/23/19 KBD             390 draft correspondence to and office conference with E. Duff regarding same (.2).                        0.2 0.0037736          $1.47
             Administration
             & Objections

July 2019    Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                       lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                   07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19           1.6 0.0179775          $7.01
             Disposition                                          order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                  therefore (1.6)
July 2019    Asset                   07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                      1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                   07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
             Disposition                                          third tranche (1.5)
July 2019    Asset                   07/01/19 JR              140 exchange correspondence with K. Pritchard and E. Duff regarding water payment distribution             0.2 0.0333333          $4.67
             Disposition                                          from the first tranche (.2)
July 2019    Asset                   07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                      1.1 0.0123596          $4.82
             Disposition
July 2019    Asset                   07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                      0.5    0.005618        $2.19
             Disposition
July 2019    Asset                   07/03/19 JR              140 review K. Duff's email relating to request for documents from tax consultant (.2)                      0.2 0.0105263          $1.47
             Disposition
July 2019    Asset                   07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                            1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                   07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts              1.2 0.0136364          $5.32
             Disposition                                          regarding same.
July 2019    Asset                   07/08/19 JR              140 exchange correspondence with A. Porter regarding same (.2)                                             0.2 0.0105263          $1.47
             Disposition
July 2019    Asset                   07/08/19 JR              140 create open items list of documents for K. Duff in preparation to send to the tax consultant           2.6 0.1368421         $19.16
             Disposition                                          (2.6)
July 2019    Asset                   07/11/19 JR              140 exchange correspondence with A. Porter regarding same (.2).                                            0.2          0.2      $28.00
             Disposition
July 2019    Asset                   07/11/19 JR              140 review closing statement for E. Duff for property (5001 Drexel) (.6)                                   0.6          0.6      $84.00
             Disposition


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
July 2019    Asset                   07/12/19 JR              140 exchange correspondence with title company regarding sending settlement statement for                    0.3          0.3      $42.00
             Disposition                                          property (5001 Drexel) (.3)
July 2019    Asset                   07/12/19 JR              140 exchange correspondence with E. Duff and A. Porter regarding same (.2)                                   0.2          0.2      $28.00
             Disposition
July 2019    Asset                   07/15/19 JR              140 exchange correspondence with E. Duff regarding settlement statement for property (5001                   0.1          0.1      $14.00
             Disposition                                          Drexel) (.1)
July 2019    Asset                   07/15/19 MR              390 Attention to upcoming hearing on motions regarding sales related issues (1.4)                            1.4          1.4     $546.00
             Disposition
July 2019    Asset                   07/16/19 MR              390 Attention to issues for upcoming hearing (.6)                                                            0.6          0.6     $234.00
             Disposition
July 2019    Asset                   07/16/19 MR              390 conferences with K. Duff regarding sales issues (.3).                                                    0.3         0.06      $23.40
             Disposition
July 2019    Asset                   07/17/19 JR              140 exchange correspondence with A. Watychowicz related to closing statement for property                    0.1          0.1      $14.00
             Disposition                                          (5001 Drexel) (.1)
July 2019    Asset                   07/17/19 MR              390 Prepare for and attend hearing (5001 Drexel) (1.5)                                                       1.5          1.5     $585.00
             Disposition
July 2019    Asset                   07/24/19 JR              140 exchange correspondence with N. Mirjanich related to wire confirmations regarding the                    0.3         0.05       $7.00
             Disposition                                          closings from the first series of properties and review emails to K. Pritchard (.3)

July 2019    Asset                   07/24/19 JR              140 Exchange correspondence with A. Porter related to sale (.1)                                              0.1 0.0166667          $2.33
             Disposition
July 2019    Asset                   07/25/19 KMP             140 serve motion and notice by email (.1)                                                                    0.1 0.0016129          $0.23
             Disposition
July 2019    Asset                   07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and           0.5 0.0080645          $1.13
             Disposition                                          notice of motion, and electronically file same (.5)
July 2019    Asset                   07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                       0.2 0.0032258          $0.45
             Disposition
July 2019    Asset                   07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties             1.3 0.0146067          $5.70
             Disposition                                          potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                  connection with potential settlement with institutional lender (1.3)

July 2019    Business                07/01/19 ED              390 Email correspondence with insurance broker regarding updated list of insured properties (.1)             0.1 0.0142857          $5.57
             Operations
July 2019    Business                07/10/19 NM              260 correspond with City attorney regarding water debt court (5001 S Drexel) (.1).                           0.1          0.1      $26.00
             Operations
July 2019    Business                07/12/19 MR              390 attention to upcoming hearing (.1).                                                                      0.1          0.1      $39.00
             Operations
July 2019    Business                07/17/19 NM              260 correspond with City attorney regarding water debt matter (.1)                                           0.1          0.1      $26.00
             Operations
July 2019    Business                07/18/19 AW              140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236          $0.16
             Operations
July 2019    Business                07/18/19 ED              390 confer with J. Rak to request preparation of spreadsheet for analysis of remaining real estate           0.1 0.0030303          $1.18
             Operations                                           taxes due (.1)


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019    Business                07/18/19 ED              390 and review and revision of same (.4).                                                                  0.4 0.0121212          $4.73
             Operations
July 2019    Business                07/18/19 MR              390 Work on issues on rent restoration (.6)                                                                0.6 0.0113208          $4.42
             Operations
July 2019    Business                07/19/19 JR              140 Review email from E. Duff pertaining to lender spreadsheet and the request to update                   0.2 0.0060606          $0.85
             Operations                                           current real estate tax balances (.2)
July 2019    Business                07/19/19 JR              140 update same and send to E. Duff (1.9).                                                                 1.9 0.0575758          $8.06
             Operations
July 2019    Business                07/25/19 MR              390 Attention to rent restoration motion (.4)                                                              0.4 0.0075472          $2.94
             Operations
July 2019    Business                07/25/19 NM              260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                0.2 0.0037736          $0.98
             Operations                                           serving the same (.2)
July 2019    Business                07/25/19 NM              260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for              1.0 0.0188679          $4.91
             Operations                                           rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019    Business                07/29/19 MR              390 Prepare for upcoming hearing.                                                                          0.4 0.0075472          $2.94
             Operations
July 2019    Business                07/31/19 NM              260 Exchange correspondence with City attorney regarding outstanding water debt matter on                  0.1          0.1      $26.00
             Operations                                           property (5001 S Drexel) (.1)
July 2019    Business                07/31/19 NM              260 study correspondence relating to open litigation, notice for same, and revise chart of all             0.3         0.15      $39.00
             Operations                                           open litigation matters (.3)
July 2019    Claims                  07/01/19 ED              390 email to accountant regarding same (.4).                                                               0.4 0.0045977          $1.79
             Administration
             & Objections

July 2019    Claims                  07/01/19 ED              390 Review and analyze documents necessary to prepare spreadsheet of May receivership                      1.4    0.016092        $6.28
             Administration                                       expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                  07/04/19 ED              390 Review and analysis of motion filed by lender for release of sale proceeds (.2)                        0.2          0.2      $78.00
             Administration
             & Objections

July 2019    Claims                  07/04/19 ED              390 and email correspondence with K. Duff regarding same (.1).                                             0.1          0.1      $39.00
             Administration
             & Objections

July 2019    Claims                  07/05/19 ED              390 Call with accountant regarding May accounting reports to lenders.                                      0.1 0.0011494          $0.45
             Administration
             & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019    Claims                  07/08/19 SZ              110 created, populated and reviewed list of investors with claims as to EB properties (5001 S.             1.7 0.2833333         $31.17
             Administration                                       Drexel, 6160 S MLK, 7949 S. Essex, 8100 S. Essex, 7500 S. Eggleston, 7547 S. Essex) (1.7)
             & Objections

July 2019    Claims                  07/08/19 SZ              110 email exchange and confer with K. Duff about the same (.4).                                            0.4         0.08       $8.80
             Administration
             & Objections

July 2019    Claims                  07/09/19 AW              140 confer with K. Duff regarding claims against property (5001 S Drexel) (.2)                             0.2          0.2      $28.00
             Administration
             & Objections

July 2019    Claims                  07/10/19 AW              140 review hard copy claims to obtain info regarding claims against property (5001 S Drexel) (.5)          0.5          0.5      $70.00
             Administration
             & Objections

July 2019    Claims                  07/10/19 AW              140 reach out to claims vendor regarding more detail on claims against property (5001 S. Drexel)           0.1          0.1      $14.00
             Administration                                       (.1)
             & Objections

July 2019    Claims                  07/10/19 ED              390 insurance broker (.2) regarding information required for preparation of May accounting                 0.2 0.0022989          $0.90
             Administration                                       reports to lenders.
             & Objections

July 2019    Claims                  07/10/19 ED              390 email correspondence with accountants (.6)                                                             0.6 0.0068966          $2.69
             Administration
             & Objections

July 2019    Claims                  07/10/19 NM              260 Correspond with K. Duff and A. Watychowicz regarding claims submitted against property                 0.1          0.1      $26.00
             Administration                                       (5001 S Drexel) (.1)
             & Objections

July 2019    Claims                  07/10/19 NM              260 study same and prepare initial claims analysis on same (1.5)                                           1.5          1.5     $390.00
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED              390 and review of related documents (.2)                                                                   0.2          0.2      $78.00
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
July 2019    Claims                  07/11/19 ED          390 email correspondence with A. Porter and J. Rak regarding allocation of income and expenses          0.1          0.1      $39.00
             Administration                                   to reflect in accounting report for sold property (5001 Drexel) (.1)
             & Objections

July 2019    Claims                  07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                     1.1      0.0125        $4.88
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                           0.4 0.0045977          $1.79
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                          0.8 0.0091954          $3.59
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                             0.5 0.0057471          $2.24
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and email correspondence confirming next steps (.3)                                                 0.3 0.0034483          $1.34
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 email to property manager regarding same (.1).                                                      0.1          0.1      $39.00
             Administration
             & Objections

July 2019    Claims                  07/12/19 ED          390 email correspondence to property manager regarding financial reporting for sold property            0.1          0.1      $39.00
             Administration                                   (5001 Drexel) (.1).
             & Objections

July 2019    Claims                  07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments                   0.2 0.0022989          $0.90
             Administration                                   attributable to properties (.2)
             & Objections

July 2019    Claims                  07/12/19 NM          260 Correspond with K. Duff regarding analyzing claims on property (5001 S Drexel) (.1)                 0.1          0.1      $26.00
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
July 2019    Claims                  07/14/19 ED          390 email accountant regarding same (.2)                                                                 0.2 0.0022989          $0.90
             Administration
             & Objections

July 2019    Claims                  07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                         1.9 0.0218391          $8.52
             Administration
             & Objections

July 2019    Claims                  07/15/19 AW          140 prepare spreadsheet containing detail on 150 mail and email submissions and identify claims          3.4          3.4     $476.00
             Administration                                   against property (5001 S. Drexel) (3.4)
             & Objections

July 2019    Claims                  07/15/19 AW          140 locate related information regarding possible claims against property (5001 S. Drexel) in            0.2          0.2      $28.00
             Administration                                   EquityBuild statement of account and supplement spreadsheet (.2)
             & Objections

July 2019    Claims                  07/15/19 ED          390 Further review of draft accounting reports (.5)                                                      0.5 0.0057471          $2.24
             Administration
             & Objections

July 2019    Claims                  07/15/19 NM          260 correspond with A. Watychowicz regarding hard copy and email submissions of the same (.2)            0.2          0.2      $52.00
             Administration
             & Objections

July 2019    Claims                  07/15/19 NM          260 Correspond with K. Duff and A. Watychowicz regarding analyzing claims on property (5001 S            0.2          0.2      $52.00
             Administration                                   Drexel) (.2)
             & Objections

July 2019    Claims                  07/15/19 NM          260 correspond with K. Duff regarding the same (.1)                                                      0.1          0.1      $26.00
             Administration
             & Objections

July 2019    Claims                  07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                             4.2 0.0482759         $18.83
             Administration
             & Objections

July 2019    Claims                  07/16/19 NM          260 study claims for property (5001 S. Drexel) and draft preliminary analysis of the same (1.6)          1.6          1.6     $416.00
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2019    Claims                  07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                   to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                  07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                   information and instructions for same (.3)
             & Objections

July 2019    Claims                  07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                   (.8)
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
             Administration                                   preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                  07/19/19 ED          390 Email correspondence with A. Watychowicz regarding preparation of May accounting                    0.1 0.0011494         $0.45
             Administration                                   reports to lenders (.1)
             & Objections

July 2019    Claims                  07/22/19 ED          390 and confer with K. Duff regarding same (1.1)                                                        1.1 0.0126437         $4.93
             Administration
             & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2019    Claims                  07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                           0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                    2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of                  0.5 0.0057471         $2.24
             Administration                                       real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                  07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                  07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                  07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
             Administration                                       reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                  07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                       accounting reports (.9)
             & Objections

July 2019    Claims                  07/24/19 ED              390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
July 2019    Claims                  07/25/19 ED          390 review of draft accounting report for sold property (5001 S Drexel), and of closing statement          0.8          0.8     $312.00
             Administration                                   and financial reporting from property manager (.8)
             & Objections

July 2019    Claims                  07/25/19 ED          390 and send report to lender's counsel (.4)                                                               0.4          0.4     $156.00
             Administration
             & Objections

July 2019    Claims                  07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                       0.4 0.0045977          $1.79
             Administration                                   accounting reports to lenders (.4)
             & Objections

August 2019 Asset                    08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                   0.3 0.0034483          $1.34
            Disposition
August 2019 Business                 08/22/19 KBD         390 Analysis of property management expenses.                                                              0.3 0.0166667          $6.50
            Operations
August 2019 Business                 08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                        0.2 0.0022989          $0.90
            Operations
August 2019 Business                 08/30/19 KBD         390 exchange correspondence regarding account reconciliation (5001 Drexel) (.2)                            0.2          0.2      $78.00
            Operations
August 2019 Claims                   08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                          2.4 0.0269663         $10.52
            Administration
            & Objections

August 2019 Claims                   08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                             0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Asset                    08/23/19 NM          260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                   0.3 0.0056604          $1.47
            Disposition                                       rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                    08/26/19 MR          390 attention to proposed order on rent allocation (.2).                                                   0.2 0.0037736          $1.47
            Disposition
August 2019 Asset                    08/26/19 NM          260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff              1.0 0.0188679          $4.91
            Disposition                                       regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                 08/13/19 NM          260 exchange correspondence with A. Porter regarding default order on property (5001 S Drexel)             0.2          0.2      $52.00
            Operations                                        and study documents from former EB counsel (.2).
August 2019 Business                 08/20/19 AW          140 attention to email from E. Duff regarding accounting reports and respond to same (.1).                 0.1 0.0011236          $0.16
            Operations
August 2019 Business                 08/28/19 NM          260 prepare for hearing on City matters (.1).                                                              0.1 0.0333333          $8.67
            Operations
August 2019 Business                 08/29/19 NM          260 Appear for streets matters and move to lift defaults on two properties (1.2)                           1.2          0.4     $104.00
            Operations


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
August 2019 Business                 08/29/19 NM              260 follow-up with property manager regarding the same and evaluate all other outstanding              0.5 0.0833333         $21.67
            Operations                                            matters to determine which matters need immediate follow-up in advance of September
                                                                  administrative hearings and October housing court hearings (.5)

August 2019 Business                 08/30/19 KMP             140 Prepare communication to property manager regarding wire transfer instructions for final           0.2          0.2      $28.00
            Operations                                            distribution on sold property (5001 Drexel) and communications with bank representative
                                                                  regarding anticipated receipt of same.
August 2019 Claims                   08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                 0.8 0.0091954          $3.59
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046        $3.14
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483          $1.34
            Administration                                        documents (.3)
            & Objections

August 2019 Claims                   08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989          $0.90
            Administration
            & Objections

August 2019 Claims                   08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Claims                   08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471          $0.80
            Administration                                        accounting firm (.5).
            & Objections

August 2019 Claims                   08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356          $4.02
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471          $0.80
            Administration
            & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated       Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours            Fees
August 2019 Claims                   08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                          0.4 0.0045977             $1.79
            Administration
            & Objections

August 2019 Claims                   08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in             0.1 0.0011494             $0.45
            Administration                                        accounting reports to lenders (.1)
            & Objections

August 2019 Claims                   08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                            0.6 0.0068966             $0.97
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 call with accountant regarding same (.1)                                                            0.1 0.0011494             $0.45
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                                 0.2 0.0022989             $0.90
            Administration
            & Objections

August 2019 Claims                   08/12/19 AW              140 Obtain proof of claim forms and supporting documentation for specific properties and draft          0.6          0.6         $84.00
            Administration                                        correspondence to E. Duff regarding same (.6)
            & Objections

August 2019 Claims                   08/12/19 ED              390 Review and analysis of claims filed (5001 S Drexel).                                                7.1          7.1      $2,769.00
            Administration
            & Objections

August 2019 Claims                   08/13/19 ED              390 confer with N. Mirjanich regarding same (.2).                                                       0.2          0.2         $78.00
            Administration
            & Objections

August 2019 Claims                   08/13/19 ED              390 and prepare summary of review and analysis (1.0)                                                    1.0               1     $390.00
            Administration
            & Objections

August 2019 Claims                   08/13/19 ED              390 Continue review of claims filed (5001 S Drexel) (3.8)                                               3.8          3.8      $1,482.00
            Administration
            & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
August 2019 Claims                   08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)                0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/14/19 ED          390 and email correspondence with accountant regarding comments (.6)                                    0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                           3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                   08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related             2.7 0.0310345        $12.10
            Administration                                    documents and correspondence (2.7)
            & Objections

August 2019 Claims                   08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures             0.4 0.0045977         $1.79
            Administration                                    for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                   08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).           1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                               2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                     0.6 0.0068966         $2.69
            Administration                                    content of reports (.6)
            & Objections

August 2019 Claims                   08/19/19 ED          390 and review revised reports (3.9)                                                                    3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                   08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and          0.1 0.0011236         $0.16
            Administration                                    follow up (.1)
            & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
August 2019 Claims                   08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596          $1.73
            Administration
            & Objections

August 2019 Claims                   08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989          $0.90
            Administration                                    accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                   08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931          $5.38
            Administration
            & Objections

August 2019 Claims                   08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                   08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494          $0.45
            Administration                                    amounts
            & Objections

August 2019 Claims                   08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483          $1.34
            Administration                                    reports to lenders (.3)
            & Objections

August 2019 Claims                   08/28/19 ED          390 email correspondence with accountant (.6)                                                              0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                   08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                   08/30/19 MR          390 Attention to issues regarding property (5001 Drexel).                                                  0.2          0.2      $78.00
            Administration
            & Objections

September    Asset                   09/23/19 KBD         390 study information regarding post-closing reconciliation (.1).                                          0.1 0.0166667          $6.50
2019         Disposition
September    Business                09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977          $1.79
2019         Operations                                       Duff regarding property financial reporting.
September    Business                09/03/19 KMP         140 Communications with property manager and bank representative regarding status of                       0.1          0.1      $14.00
2019         Operations                                       payment of final distribution of rental income for sold property (5001 S Drexel) (.1)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
September    Business                09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                      0.2 0.0022989          $0.90
2019         Operations
September    Business                09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                       0.3 0.0034483          $1.34
2019         Operations
September    Business                09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                  0.2 0.0022989          $0.32
2019         Operations
September    Business                09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                  0.5 0.0057471          $2.24
2019         Operations
September    Business                09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                       0.2 0.0022989          $0.90
2019         Operations
September    Business                09/25/19 ED              390 review of financial reporting records (.7)                                                           0.7    0.008046        $3.14
2019         Operations
September    Business                09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                        0.4 0.0045977          $1.79
2019         Operations
September    Business                09/26/19 NM              260 correspond with property managers regarding updates from the same and update                         1.4 0.1076923         $28.00
2019         Operations                                           spreadsheet to reflect the same (1.4)
September    Business                09/26/19 NM              260 Appear for and attend administrative court for a dozen buildings cases and four streets and          3.5         0.25      $65.00
2019         Operations                                           sanitation cases and appear for housing court on property (7616 Phillips) (3.5)

September Claims                     09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors             2.8          0.2      $28.00
2019      Administration                                          claim list (2.8)
          & Objections

September Claims                     09/10/19 ED              390 email correspondence with accountant regarding (.4)                                                  0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                     09/10/19 ED              390 Preliminary review of draft accounting reports to lenders (.2)                                       0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                     09/10/19 ED              390 and confer with J. Rak regarding same (.1)                                                           0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/10/19 ED              390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding           0.1 0.0011494          $0.45
2019      Administration                                          payment of outstanding real estate taxes (.1).
          & Objections

September Claims                     09/10/19 NM              260 correspond with K. Duff regarding the same (.1)                                                      0.1 0.0066667          $1.73
2019      Administration
          & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
September Claims                     09/11/19 ED          390 review and analysis of reporting to lender regarding properties sold (5001 S Drexel) (.4)             0.4          0.4     $156.00
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483          $1.34
2019      Administration                                      monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                        (.3).

September Claims                     09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into               0.2 0.0022989          $0.90
2019      Administration                                      segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                     09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                         0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494          $0.45
2019      Administration                                      sales (.1)
          & Objections

September Claims                     09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448          $4.03
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483          $1.34
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966          $2.69
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                        0.1 0.0018868          $0.74
2019      Administration
          & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
September Claims                     09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                           1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                             1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)          0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                    1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                       1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                     0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                          1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                              0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                     0.4 0.0045977         $1.79
2019      Administration
          & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
September Claims                     09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                            0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931          $5.38
2019      Administration
          & Objections

September Claims                     09/20/19 NM          260 correspond with A. Porter regarding the same and regarding property (5001 S Drexel) (.3)               0.3          0.3      $78.00
2019      Administration
          & Objections

September Claims                     09/22/19 ED          390 Analysis of operating expenses.                                                                        1.5 0.0172414          $6.72
2019      Administration
          & Objections

October      Claims                  10/02/19 KBD         390 study lenders bankruptcy motion (.3)                                                                   0.3       0.015        $5.85
2019         Administration
             & Objections

October      Claims                  10/24/19 KBD         390 Study and respond to lenders motion for bankruptcy proceedings (3.1)                                   3.1       0.155       $60.45
2019         Administration
             & Objections

October      Claims                  10/25/19 KBD         390 Study and respond to lenders motion for bankruptcy proceedings, study various pleadings,               5.1       0.255       $99.45
2019         Administration                                   and research regarding same (5.1)
             & Objections

October      Claims                  10/26/19 KBD         390 Draft and revise response to lenders' bankruptcy motion and legal research regarding same.             5.1       0.255       $99.45
2019         Administration
             & Objections

October      Claims                  10/28/19 KBD         390 Work on response to lenders' bankruptcy motion and study correspondence regarding same                 0.9       0.045       $17.55
2019         Administration                                   (.9)
             & Objections

October      Claims                  10/29/19 KBD         390 Study and revise response to lenders' petition for bankruptcy, legal research regarding same,          6.7       0.335      $130.65
2019         Administration                                   and work on same with M. Rachlis.
             & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
October      Claims                  10/30/19 KBD             390 Appear before Judge Lee on lenders' petition for bankruptcy, off the record discussion with                3.5       0.175       $68.25
2019         Administration                                       the Court and various counsel, and prepare for same (3.5)
             & Objections

October      Asset                   10/07/19 JR              140 exchange communication with property manager forwarding wire instructions regarding                        0.1 0.0166667          $2.33
2019         Disposition                                          same (.1)
October      Asset                   10/07/19 JR              140 confer with K. Duff relating to status of wire instructions regarding post closing reconciliation          0.2 0.0333333          $4.67
2019         Disposition                                          of properties in the first tranche (.2)
October      Asset                   10/17/19 MR              390 Attention to emails regarding property sales related issues (6160 King Drive, Drexel).                     0.3         0.15      $58.50
2019         Disposition
October      Asset                   10/18/19 NM              260 correspond with K. Duff, M. Rachlis, A. Porter, and real estate broker in advance of same (.3).            0.3 0.0166667          $4.33
2019         Disposition
October      Asset                   10/18/19 NM              260 Study motions to approve sale of the first tranche and process for second tranche in advance               0.8 0.0444444         $11.56
2019         Disposition                                          of court hearing (.8)
October      Business                10/02/19 NM              260 Study lenders motion for bankruptcy proceeding and correspond with K. Duff regarding the                   0.2         0.01       $2.60
2019         Operations                                           same (.2)
October      Business                10/04/19 NM              260 Study cases cited in lenders' motion for bankruptcy for distinctions and arguments against                 0.8         0.04      $10.40
2019         Operations                                           same.
October      Business                10/07/19 NM              260 exchange emails with M. Rachlis and K. Duff regarding hearing on bankruptcy motion (.2).                   0.2         0.01       $2.60
2019         Operations
October      Business                10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with                     0.4 0.0045977          $1.79
2019         Operations                                           accountant regarding same.
October      Business                10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August                    0.6 0.0068182          $2.66
2019         Operations                                           property reports.
October      Business                10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.                    0.5 0.0057471          $2.24
2019         Operations
October      Business                10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income                  0.8 0.0091954          $3.59
2019         Operations                                           and expenditures (.8).
October      Business                10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                       1.3 0.0149425          $5.83
2019         Operations
October      Business                10/25/19 MR              390 Attention to issues regarding upcoming brief and research regarding same.                                  1.6         0.08      $31.20
2019         Operations
October      Business                10/26/19 MR              390 Work and research on draft response brief regarding removal to bankruptcy.                                 2.0          0.1      $39.00
2019         Operations
October      Business                10/27/19 MR              390 Further research and work on draft response brief.                                                         5.5       0.275      $107.25
2019         Operations
October      Business                10/28/19 MR              390 Work on response brief on bankruptcy issues.                                                               7.6         0.38     $148.20
2019         Operations
October      Business                10/29/19 AEP             390 study final draft of opposition to motion for conversion to bankruptcy proceeding and                      0.7 0.0205882          $8.03
2019         Operations                                           provide comments to K. Duff and M. Rachlis (.7).
October      Business                10/29/19 MR              390 prepare for upcoming hearing (1.5)                                                                         1.5       0.075       $29.25
2019         Operations




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
October      Business                10/29/19 MR              390 Further work on brief on bankruptcy (3.0)                                                              3.0         0.15      $58.50
2019         Operations
October      Business                10/29/19 MR              390 and discussions regarding same with various individuals including K. Duff, A. Porter and N.            1.3       0.065       $25.35
2019         Operations                                           Mirjanich (1.3).
October      Business                10/30/19 MR              390 Further prepare for hearing before Judge Lee and further discussions regarding same (1.2)              1.2         0.06      $23.40
2019         Operations
October      Business                10/30/19 MR              390 confer with A. Porter regarding same (.4)                                                              0.4         0.02       $7.80
2019         Operations
October      Business                10/30/19 MR              390 follow up on orders regarding same (.2).                                                               0.2         0.01       $3.90
2019         Operations
October      Claims                  10/04/19 NM              260 analyze lenders' motion for bankruptcy (.8).                                                           0.8         0.04      $10.40
2019         Administration
             & Objections

October      Claims                  10/25/19 NM              260 Work on response to lenders' bankruptcy motion.                                                        3.3       0.165       $42.90
2019         Administration
             & Objections

November     Asset                   11/15/19 KBD             390 study information regarding sold properties and sales proceeds (.1)                                    0.1 0.0083333          $3.25
2019         Disposition
November     Asset                   11/19/19 KBD             390 study post-closing reconciliation spreadsheet (.1).                                                    0.1 0.0083333          $3.25
2019         Disposition
November     Asset                   11/12/19 JR              140 update spreadsheet with closed properties summary (.3)                                                 0.3       0.025        $3.50
2019         Disposition
November     Asset                   11/15/19 JR              140 finalize closing spreadsheet for properties that already closed (.2)                                   0.2 0.0166667          $2.33
2019         Disposition
November     Asset                   11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                   0.4       0.025        $3.50
2019         Disposition                                          properties (.4)
November     Asset                   11/19/19 JR              140 communication with K. Pritchard relating to same and to confirm amounts in account (.1)                0.1 0.0166667          $2.33
2019         Disposition
November     Asset                   11/19/19 JR              140 prepare a post-closing reconciliation spreadsheet with properties that closed in the first             0.8 0.1333333         $18.67
2019         Disposition                                          series and update amounts of funds received (.8)
November     Asset                   11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from          0.4 0.0285714          $4.00
2019         Disposition                                          property managers on sold properties, and communicate with J. Rak regarding same.

November     Business                11/18/19 ED              390 Confer with J. Rak regarding reporting of final account reconciliations with property                  0.4 0.0333333         $13.00
2019         Operations                                           managers sold properties (.4)
December     Asset                   12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties            0.1 0.0076923          $1.08
2019         Disposition                                          information (.1)
December     Asset                   12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)              0.1 0.0071429          $1.00
2019         Disposition
December     Asset                   12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                                0.2 0.0117647          $1.65
2019         Disposition


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
December     Asset                   12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                      1.0 0.0588235          $8.24
2019         Disposition
December     Claims                  12/02/19 MR              390 attention to various revenue reconciliation reports (.1).                                          0.1 0.0023256          $0.91
2019         Administration
             & Objections

December     Claims                  12/11/19 ED              390 Review of documents and confer with K. Pritchard to confirm rent restoration amounts for           0.3          0.3     $117.00
2019         Administration                                       sold property (5001 S Drexel).
             & Objections

January      Claims                  01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process          0.3 0.0033708          $1.31
2020         Administration                                       and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                  01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                          0.9 0.0101124          $3.94
2020         Administration
             & Objections

January      Asset                   01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed               0.5 0.0294118          $4.12
2020         Disposition                                          properties (.5)
January      Asset                   01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                 0.2 0.0117647          $1.65
2020         Disposition
January      Asset                   01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                       0.9 0.0529412          $7.41
2020         Disposition
January      Asset                   01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                               0.7 0.0411765          $5.76
2020         Disposition
January      Business                01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                       0.1 0.0014706          $0.21
2020         Operations
January      Claims                  01/13/20 ED              390 property claims review (5001 S Drexel) (1.5)                                                       1.5          1.5     $585.00
2020         Administration
             & Objections

January      Claims                  01/13/20 ED              390 confer with K. Duff, A. Porter, and N. Mirjanich regarding claim issue and analysis (.9).          0.9          0.9     $351.00
2020         Administration
             & Objections

January      Claims                  01/13/20 NM              260 correspond with E. Duff regarding claims against property (5001 Drexel) (.2).                      0.2          0.2      $52.00
2020         Administration
             & Objections

February     Business                02/03/20 KBD             390 Work on various property expense issues and exchange correspondence with K. Pritchard              0.3         0.15      $58.50
2020         Operations                                           regarding same.




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
February     Business                02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.          0.4 0.0038095         $1.49
2020         Operations                                           Duff regarding same (.4)
February     Claims                  02/24/20 KBD             390 telephone conference with lenders' counsel regarding claims process (.8)                             0.8 0.0666667        $26.00
2020         Administration
             & Objections

February     Asset                   02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                     2.8 0.0269231         $3.77
2020         Disposition
February     Asset                   02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                   5.2 0.2888889        $40.44
2020         Disposition
February     Business                02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                        0.3 0.0028846         $1.13
2020         Operations
February     Business                02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                               0.2 0.0019231         $0.75
2020         Operations
February     Business                02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business                02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both             3.9      0.0375       $5.25
2020         Operations                                           for all EquityBuild properties.
February     Business                02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                0.2 0.0019231         $0.75
2020         Operations
February     Business                02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                 0.1 0.0014706         $0.57
2020         Operations                                           revisions (.1).
February     Business                02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak               2.7 0.0259615        $10.13
2020         Operations                                           (2.7)
February     Business                02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                 0.4 0.0038462         $1.50
2020         Operations
February     Business                02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                      0.2 0.0019231         $0.75
2020         Operations
February     Business                02/25/20 ED              390 Review of January financial reporting from property managers.                                        0.4 0.0038462         $1.50
2020         Operations
February     Claims                  02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.              2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                  02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and           2.6       0.025       $3.50
2020         Administration                                       property managers.
             & Objections

February     Claims                  02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                          2.8 0.0269231         $3.77
2020         Administration
             & Objections




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
February     Claims                  02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231          $0.27
2020         Administration                                       statements (.2)
             & Objections

February     Claims                  02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting               0.5 0.0048077          $1.88
2020         Administration                                       reports.
             & Objections

March 2020 Asset                     03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                        1.4 0.0777778         $10.89
           Disposition
March 2020 Asset                     03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet                  0.2 0.0111111          $1.56
           Disposition                                            regarding closed properties and forward same (.2)
March 2020 Asset                     03/05/20 JR              140 update closed property spreadsheet (.4)                                                                0.4 0.0222222          $3.11
           Disposition
March 2020 Asset                     03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                     0.6 0.0333333          $4.67
           Disposition
March 2020 Business                  03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                0.1 0.0009615          $0.38
           Operations                                             properties (.1)
March 2020 Business                  03/08/20 MR              390 Attention to e-mails and follow up regarding restoration of rent and other items.                      0.3 0.0069767          $2.72
           Operations
March 2020 Business                  03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                    0.2 0.0153846          $2.15
           Operations                                             finance payments based on sales of properties.
March 2020 Business                  03/13/20 ED              390 Preliminary review of February reporting from property manager.                                        0.4 0.0038462          $1.50
           Operations
March 2020 Claims                    03/23/20 JR              140 exchange correspondence with A. Pruitt and J. Wine regarding alternative addresses omitted             1.1 0.0478261          $6.70
           Administration                                         from the master spreadsheet and add same (1.1).
           & Objections

April 2020   Claims                  04/03/20 KBD             390 Work on claims and documentation for fund properties with J. Wine.                                     0.2 0.0666667         $26.00
             Administration
             & Objections

April 2020   Claims                  04/11/20 KBD             390 Study correspondence regarding analysis of fund claims.                                                0.2 0.0222222          $8.67
             Administration
             & Objections

April 2020   Claims                  04/14/20 JRW             260 begin analyzing claims against property in receivership (5001 S Drexel) and related review of          0.3          0.3      $78.00
             Administration                                       spreadsheet from claims vendor (.3)
             & Objections

May 2020     Asset                   05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                           0.3 0.0176471          $6.88
             Disposition




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
May 2020     Asset                   05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings           0.3 0.0176471         $6.88
             Disposition                                          and sales (.3)
May 2020     Business                05/01/20 KBD             390 draft correspondence to E. Duff regarding restoration of funds (.1).                               0.1 0.0023256         $0.91
             Operations
May 2020     Business                05/22/20 KBD             390 review information regarding restoration of funds (.2)                                             0.2 0.0046512         $1.81
             Operations
May 2020     Business                05/28/20 KBD             390 exchange correspondence with E. Duff regarding restoration motion (.1).                            0.1 0.0023256         $0.91
             Operations
May 2020     Asset                   05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant          0.2 0.0086957         $1.22
             Disposition                                          (.2).
May 2020     Asset                   05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from             0.1 0.0038462         $0.54
             Disposition                                          closings (.1)
May 2020     Asset                   05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine          0.4       0.016       $2.24
             Disposition                                          (.4)
May 2020     Asset                   05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                   0.2       0.008       $1.12
             Disposition
May 2020     Business                05/01/20 MR              390 Attention to issues on motion regarding restoration of costs and other issues.                     0.2 0.0046512         $1.81
             Operations
May 2020     Business                05/30/20 MR              390 Attention to restoration issues (.1)                                                               0.1 0.0023256         $0.91
             Operations
May 2020     Business                05/31/20 MR              390 Work on issues on restoration to Receivership on properties (.5)                                   0.5 0.0116279         $4.53
             Operations
May 2020     Business                05/31/20 MR              390 exchanges with E. Duff regarding same (.3).                                                        0.3 0.0069767         $2.72
             Operations
May 2020     Claims                  05/05/20 AW              140 Attention to email regarding claims submitted by institutional lenders, compile claims as          1.8 0.0202247         $2.83
             Administration                                       requested, and share same with Receivership team (1.8)
             & Objections

June 2020    Business                06/02/20 KBD             390 study information regarding restoration of funds (.3).                                             0.3 0.0068182         $2.66
             Operations
June 2020    Business                06/06/20 KBD             390 Study draft restoration motion.                                                                    0.2 0.0045455         $1.77
             Operations
June 2020    Business                06/12/20 KBD             390 study correspondence regarding restoration analysis and related issues (.3).                       0.3 0.0068182         $2.66
             Operations
June 2020    Business                06/14/20 KBD             390 Revise motion for reimbursement of property expenses (.3)                                          0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/27/20 KBD             390 Revise draft second restoration motion and research regarding same.                                1.1       0.025       $9.75
             Operations
June 2020    Business                06/28/20 KBD             390 Draft and revise draft second restoration motion.                                                  2.8 0.0636364        $24.82
             Operations
June 2020    Business                06/29/20 KBD             390 Draft and revise second restoration motion and draft correspondence to M. Rachlis                  1.4 0.0318182        $12.41
             Operations                                           regarding same (1.4)




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
June 2020    Business                06/30/20 KBD             390 Draft and revise restoration motion and exchange correspondence with K. Pritchard and M.           0.9 0.0204545         $7.98
             Operations                                           Rachlis regarding same (.9)
June 2020    Claims                  06/08/20 KBD             390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/09/20 KBD             390 study objections to claims process motion (.5)                                                     0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/11/20 KBD             390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD             390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD             390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD             390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD             390 Work on claims motion reply with M. Rachlis (.6)                                                   0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                  06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                              0.7 0.0078652         $3.07
             Administration
             & Objections

June 2020    Claims                  06/22/20 KBD             390 study SEC reply brief (.3)                                                                         0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Asset                   06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                  0.1       0.004       $0.56
             Disposition
June 2020    Asset                   06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)            0.9     0.05625       $7.88
             Disposition




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2020    Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004       $0.56
             Disposition
June 2020    Asset                   06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063        $15.80
             Disposition                                          judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                   06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797        $11.85
             Disposition                                          any receivership properties between 2018 and the present (2.4)
June 2020    Asset                   06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215         $6.91
             Disposition
June 2020    Asset                   06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012       $1.68
             Disposition
June 2020    Business                06/01/20 MR              390 conference with E. Duff regarding restoration of funds (.7).                                          0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/01/20 MR              390 Follow up on emails regarding issues on restoration (.7)                                              0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/02/20 MR              390 Attention to issues on rent restoration and follow up from E. Duff.                                   0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/06/20 MR              390 Analysis of various issues on issues associated with restoration of funds.                            2.6 0.0604651        $23.58
             Operations
June 2020    Business                06/08/20 MR              390 Attention to restoration issues.                                                                      0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/09/20 MR              390 Attention to motion on restoration of funds.                                                          0.4 0.0090909         $3.55
             Operations
June 2020    Business                06/12/20 MR              390 Conferences with K. Duff regarding restoration issues (.7)                                            0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/12/20 MR              390 attention to emails regarding same (.2).                                                              0.2 0.0045455         $1.77
             Operations
June 2020    Business                06/23/20 MR              390 Attention to issues on restoration issues and information regarding same, and review                  1.2 0.0272727        $10.64
             Operations                                           restoration, and exchanges with E. Duff regarding same.
June 2020    Business                06/29/20 JRW             260 review and revise restoration motion (.7).                                                            0.7 0.0162791         $4.23
             Operations
June 2020    Business                06/30/20 JRW             260 multiple communications with litigation team regarding restoration motion and affected                0.5 0.0116279         $3.02
             Operations                                           properties (.5).
June 2020    Business                06/30/20 MR              390 Further work on restoration motion and several exchanges regarding same.                              3.0 0.0681818        $26.59
             Operations
June 2020    Claims                  06/11/20 AW              140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor                 0.3 0.0033708         $0.47
             Administration                                       regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                  06/11/20 MR              390 Review pleading and prepare for meeting regarding claims (2.4)                                        2.4 0.0269663        $10.52
             Administration
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
June 2020    Claims                  06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).           2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 MR          390 Conferences regarding issues on brief.                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 Review and revise brief (3.5)                                                                     3.5 0.0393258        $15.34
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                      0.6 0.0067416         $2.63
             Administration
             & Objections

July 2020    Business                07/01/20 KBD         390 Work on expenses and restoration issues with E. Duff, M. Rachlis, and K. Pritchard (1.3)          1.3 0.0302326        $11.79
             Operations
July 2020    Business                07/06/20 KBD         390 Exchange correspondence with E. Duff regarding sold properties, segregated funds, and             0.2 0.0046512         $1.81
             Operations                                       restoration motion.
July 2020    Business                07/07/20 KBD         390 Work on second restoration motion and exchange correspondence regarding same (2.3)                2.3 0.0534884        $20.86
             Operations
July 2020    Business                07/09/20 KBD         390 Study revised second restoration motion (.4)                                                      0.4 0.0093023         $3.63
             Operations
July 2020    Business                07/10/20 KBD         390 work on second restoration of funds motion (.3).                                                  0.3 0.0069767         $2.72
             Operations
July 2020    Business                07/12/20 KBD         390 telephone conference with E. Duff regarding same (.2)                                             0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/12/20 KBD         390 Revise restoration motion and declaration (2.8)                                                   2.8 0.0651163        $25.40
             Operations
July 2020    Business                07/13/20 KBD         390 Study revised restoration motion and declaration (.5)                                             0.5 0.0116279         $4.53
             Operations
July 2020    Business                07/14/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047         $7.26
             Operations
July 2020    Business                07/16/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047         $7.26
             Operations
July 2020    Business                07/17/20 KBD         390 Work on restoration motion and declaration (1.5)                                                  1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/17/20 KBD         390 telephone conference and exchange correspondence with E. Duff regarding same (.6)                 0.6 0.0139535         $5.44
             Operations
July 2020    Business                07/19/20 KBD         390 Work on restoration motion, declaration, and exhibits.                                            2.0 0.0465116        $18.14
             Operations




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2020    Business                07/20/20 KBD             390 Work on restoration motion, declaration, and exhibits (2.7)                                              2.7 0.0627907        $24.49
             Operations
July 2020    Business                07/21/20 KBD             390 Study and revise draft second restoration motion and declaration and exchange                            0.7 0.0162791         $6.35
             Operations                                           correspondence with K. Pritchard and M. Rachlis regarding same (.7)
July 2020    Business                07/22/20 KBD             390 Work on consolidated motion for property sales and funds restoration (.6)                                0.6 0.0139535         $5.44
             Operations
July 2020    Business                07/24/20 KBD             390 Draft proposed order for second restoration motion.                                                      0.4 0.0093023         $3.63
             Operations
July 2020    Claims                  07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and              0.3 0.0033708         $1.31
             Administration                                       J. Wine relating to same (.3)
             & Objections

July 2020    Asset                   07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and                0.9 0.0230769         $9.00
             Disposition                                          completeness in connection with final reconciliation and payment of municipal judgments
                                                                  (.9).
July 2020    Asset                   07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution             0.5 0.0128205         $5.00
             Disposition                                          of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020    Asset                   07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative             1.7 0.0435897        $17.00
             Disposition                                          and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                  spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                  reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                  receivership properties, both current and former (1.7).

July 2020    Asset                   07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538        $18.00
             Disposition                                          receivership properties in connection with effort to achieve full and final accord with City of
                                                                  Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020    Asset                   07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                      4.4 0.0656716         $9.19
             Disposition                                          communications with EB team regarding same.
July 2020    Asset                   07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026        $25.00
             Disposition                                          with receivership properties and completion of spreadsheet of outstanding judgments (2.5).

July 2020    Asset                   07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718        $37.00
             Disposition                                          violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                  properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                  cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                  reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                  of final sales tranche (3.7)
July 2020    Asset                   07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                          0.1 0.0027778         $0.39
             Disposition
July 2020    Business                07/01/20 ED              390 Review draft motion regarding restoration of rent and receivership expenditures from                     0.6 0.0139535         $5.44
             Operations                                           proceeds of sale of certain properties (.6)


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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
July 2020    Business                07/01/20 ED          390 telephone conference with K. Duff, M. Rachlis, and K. Pritchard regarding financial                  1.2    0.027907      $10.88
             Operations                                       information relating to same and analysis of content to include (1.2)
July 2020    Business                07/01/20 ED          390 email correspondence with M. Rachlis regarding comments, and regarding calculations (.1)             0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/01/20 ED          390 email correspondence to M. Rachlis and K. Duff regarding calculations from with accountant           0.1 0.0023256         $0.91
             Operations                                       of restoration amounts due from properties (.1).
July 2020    Business                07/01/20 ED          390 follow up conversation with K. Pritchard regarding same (.1)                                         0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/01/20 JRW         260 Review and comment on revisions to restoration motion (.3)                                           0.3 0.0069767         $1.81
             Operations
July 2020    Business                07/01/20 JRW         260 related review of spreadsheet (.1).                                                                  0.1 0.0023256         $0.60
             Operations
July 2020    Business                07/01/20 KMP         140 Various communications and conferences with EB team regarding form of and information                0.3 0.0044776         $0.63
             Operations                                       for exhibits to proposed restoration motion (.3)
July 2020    Business                07/01/20 KMP         140 review various spreadsheets and other information and prepare spreadsheets for use as                2.3 0.0343284         $4.81
             Operations                                       exhibits to restoration motion (2.3).
July 2020    Business                07/01/20 MR          390 Conferences with K. Duff, E. Duff and K. Pritchard and attention to restoration issues.              0.6 0.0139535         $5.44
             Operations
July 2020    Business                07/02/20 KMP         140 Continue to review various spreadsheets and other information to prepare chart for use in            3.5 0.0522388         $7.31
             Operations                                       narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                              same (3.5)
July 2020    Business                07/05/20 MR          390 Research on restoration motion and work on same.                                                     1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/06/20 ED          390 review and analysis of calculations of amounts reimbursable from proceeds of sold                    0.7 0.0162791         $6.35
             Operations                                       properties (.7)
July 2020    Business                07/08/20 AW          140 Communicate with K. Pritchard regarding rent restoration motion and exhibits (.1)                    0.1 0.0023256         $0.33
             Operations
July 2020    Business                07/08/20 ED          390 Call with K. Duff regarding second restoration motion.                                               0.3 0.0069767         $2.72
             Operations
July 2020    Business                07/09/20 MR          390 Further work on second restoration motion.                                                           1.0 0.0232558         $9.07
             Operations
July 2020    Business                07/10/20 KMP         140 revise exhibit for motion to include information provided by accountant and communicate              0.8 0.0235294         $3.29
             Operations                                       with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business                07/11/20 MR          390 Further work and research regarding second restoration motion and affidavit and revisions            2.5 0.0581395        $22.67
             Operations                                       to same.
July 2020    Business                07/13/20 AW          140 Attention to current draft of rent restoration motion, proofread and cite check same, draft          1.7 0.0395349         $5.53
             Operations                                       notice as per standing order, and email counsel regarding revisions.
July 2020    Business                07/13/20 ED          390 Update description and date relating to rent restoration and property reimbursement                  0.6 0.0139535         $5.44
             Operations                                       amounts in draft motion and declaration (.6)
July 2020    Business                07/13/20 MR          390 Further work on and revise second restoration motion.                                                1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/16/20 MR          390 Review and revise restoration motion and follow up regarding same.                                   0.9 0.0209302         $8.16
             Operations


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/17/20 AW              140 Email exchanges with K. Duff and E. Duff regarding exhibits to second restoration motion (.2)          0.2 0.0046512         $0.65
             Operations
July 2020    Business                07/17/20 ED              390 email correspondence to A. Watychowicz regarding content of exhibits (.1).                             0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/17/20 ED              390 email correspondence with K. Duff regarding same (.2)                                                  0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/17/20 ED              390 Further review and revision of draft declaration and motion relating to restoration motion             0.3 0.0069767         $2.72
             Operations                                           (.3)
July 2020    Business                07/20/20 ED              390 email correspondence with accountant regarding same (.1).                                              0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/20/20 ED              390 email correspondence with K. Duff (.2)                                                                 0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/20/20 ED              390 regarding second motion for restoration, and related and document review and revision (.5)             0.5 0.0116279         $4.53
             Operations
July 2020    Business                07/20/20 KMP             140 Revise restoration motion, affidavit, and exhibit and communicate with K. Duff and A.                  1.4 0.0325581         $4.56
             Operations                                           Watychowicz regarding same.
July 2020    Business                07/20/20 MR              390 Attention to completing restoration motion.                                                            1.2    0.027907      $10.88
             Operations
July 2020    Business                07/21/20 KMP             140 Revise restoration motion, affidavit, and exhibits, prepare electronic version, and                    0.9 0.0209302         $2.93
             Operations                                           communicate with K. Duff regarding same (.9)
July 2020    Business                07/21/20 MR              390 Review and follow up on motion regarding restoration.                                                  0.7 0.0162791         $6.35
             Operations
July 2020    Business                07/22/20 ED              390 review and comment on draft declaration in support of motion for restoration (.4)                      0.4 0.0093023         $3.63
             Operations
July 2020    Business                07/22/20 ED              390 and email correspondence with property manager and accountant regarding same (.1).                     0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                               0.2 0.0029851         $0.42
             Operations
July 2020    Business                07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).             0.2 0.0029851         $0.42
             Operations
July 2020    Business                07/23/20 JR              140 exchange communication with K. Pritchard and K. Duff regarding same (.1)                               0.1 0.0023256         $0.33
             Operations
July 2020    Business                07/23/20 JR              140 Update property address information to exhibit 2 to second restoration motion (.2)                     0.2 0.0046512         $0.65
             Operations
July 2020    Business                07/24/20 KMP             140 electronically file same with court (.3)                                                               0.3 0.0044776         $0.63
             Operations
July 2020    Business                07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                              0.3 0.0044776         $0.63
             Operations
July 2020    Claims                  07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
             Administration                                       regarding discrepancies (.4)
             & Objections




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
July 2020    Claims                  07/09/20 ED          390 Review chart from accountant relating to reimbursable amounts from proceeds of sold                    0.3 0.0069767          $2.72
             Administration                                   properties (.3)
             & Objections

July 2020    Claims                  07/09/20 ED          390 email correspondence (.2) regarding same                                                               0.2 0.0046512          $1.81
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 and call (.1)                                                                                          0.1 0.0023256          $0.91
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 review and revise draft of affidavit (1.2)                                                             1.2    0.027907       $10.88
             Administration
             & Objections

July 2020    Claims                  07/31/20 JRW         260 additional legal research and draft memo regarding motion to intervene (.8)                            0.8 0.0089888          $2.34
             Administration
             & Objections

August 2020 Claims                   08/03/20 KBD         390 analysis of claimant intervention motion and exchange correspondence with J. Wine                      0.3 0.0033708          $1.31
            Administration                                    regarding same (.3)
            & Objections

August 2020 Claims                   08/05/20 KBD         390 study correspondence from claimant's counsel regarding intervention motion (.1)                        0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                   08/07/20 KBD         390 Confer with M. Rachlis and J. Wine regarding EB documents, potential resolution of claims              0.9         0.45     $175.50
            Administration                                    relating to properties (4520 Drexel and 5001 Drexel), and various other claims related issues
            & Objections                                      (.9)

August 2020 Claims                   08/08/20 KBD         390 Legal research regarding intervention motion and claims process and draft correspondence               1.3 0.0146067          $5.70
            Administration                                    to J. Wine regarding same.
            & Objections

August 2020 Business                 08/04/20 ED          390 email correspondence with accountant regarding comments and questions relating to same                 0.4 0.0038095          $1.49
            Operations                                        (.4)
August 2020 Business                 08/04/20 ED          390 Review and analysis of summary reporting prepared by accountant based on April                         1.9 0.0180952          $7.06
            Operations                                        accounting reports (1.9)
August 2020 Business                 08/04/20 MR          390 Attention to issues on restoration motion and issues raised by lender.                                 0.4 0.0093023          $3.63
            Operations




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
August 2020 Business                 08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                            1.6 0.0152381          $5.94
            Operations
August 2020 Business                 08/16/20 ED              390 Email to J. Wine regarding calculation of restoration due to properties (.2)                        0.2 0.0046512          $1.81
            Operations
August 2020 Business                 08/25/20 MR              390 Attention to follow up on objections to restoration motion and review additional materials          0.3 0.0069767          $2.72
            Operations                                            regarding same.
August 2020 Business                 08/26/20 MR              390 Attention to issues on rent restoration and follow up regarding same.                               0.3 0.0069767          $2.72
            Operations
August 2020 Claims                   08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'          0.9 0.0101124          $2.63
            Administration                                        motion to intervene (.9)
            & Objections

August 2020 Claims                   08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.          1.5 0.0168539          $4.38
            Administration                                        Duff and M. Rachlis (1.5)
            & Objections

September    Asset                   09/18/20 KBD             390 exchange correspondence with J. Wine regarding draft proposed order (.1).                           0.1 0.0023256          $0.91
2020         Disposition
September    Asset                   09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                         0.2 0.0045455          $1.77
2020         Disposition
September    Business                09/18/20 KBD             390 Study draft order for second restoration motion and exchange correspondence regarding               0.2 0.0046512          $1.81
2020         Operations                                           same (.2)
September    Business                09/21/20 KBD             390 exchange correspondence with K. Pritchard regarding restoration of funds (.1).                      0.1 0.0023256          $0.91
2020         Operations
September    Business                09/23/20 KBD             390 Attention to funds transfers for restoration (.2)                                                   0.2 0.0046512          $1.81
2020         Operations
September    Asset                   09/01/20 JR              140 perform search regarding same and draft a spreadsheet regarding same (1.5)                          1.5       0.375       $52.50
2020         Disposition
September    Asset                   09/01/20 JR              140 follow up correspondence with A. Watychowicz regarding request to provide property                  0.2         0.05       $7.00
2020         Disposition                                          information and motions filed related to lender objections (.2)
September    Asset                   09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                  0.2 0.0037037          $0.96
2020         Disposition
September    Asset                   09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for              0.4 0.0074074          $1.93
2020         Disposition                                          restoration (.4)
September    Business                09/08/20 JRW             260 confer with A. Porter and K. Duff regarding city violation notices (6327 S Kenwood, 5001 S          0.6          0.3      $78.00
2020         Operations                                           Drexel) and related factual research (.6).
September    Business                09/08/20 MR              390 attention to issues on objections to restoration motion (.2).                                       0.2 0.0046512          $1.81
2020         Operations
September    Business                09/09/20 MR              390 Further attention to issues on objections to restoration issues.                                    0.2 0.0046512          $1.81
2020         Operations
September    Business                09/11/20 AEP             390 Review and analyze dozens of continuance and judgment orders associated with former                 0.7         0.35     $136.50
2020         Operations                                           EquityBuild properties (5001 S Drexel and 6437 S Kenwood) and forward same to counsel for
                                                                  purchasers.


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
September    Business                09/11/20 JRW             260 exchange correspondence with City of Chicago law department regarding dismissal of                    0.2          0.2      $52.00
2020         Operations                                           respondents (5001 S Drexel) and related update to team (.2)
September    Business                09/11/20 MR              390 Further work to review and revise response on second restoration motion.                              1.0 0.0232558          $9.07
2020         Operations
September    Business                09/18/20 JRW             260 draft cover email to court regarding order partially granting second restoration motion (.3)          0.3 0.0069767          $1.81
2020         Operations
September    Business                09/18/20 JRW             260 Prepare order partially granting second restoration motion (.6)                                       0.6 0.0139535          $3.63
2020         Operations
September    Business                09/18/20 MR              390 Attention to restoration order and emails on same.                                                    0.3 0.0069767          $2.72
2020         Operations
September    Business                09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account            0.8 0.0119403          $1.67
2020         Operations                                           numbers for all properties subject to order (.8)
September    Business                09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)               0.2 0.0029851          $0.42
2020         Operations
September    Business                09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                2.1 0.0313433          $4.39
2020         Operations                                           (2.1)
September    Claims                  09/15/20 AW              140 revise proposed order and exhibit regarding rent restoration motion and email J. Wine                 0.1 0.0023256          $0.33
2020         Administration                                       regarding same (.1)
             & Objections

September Claims                     09/15/20 MR              390 further attention to reply on second restoration motion (.7).                                         0.7 0.0162791          $6.35
2020      Administration
          & Objections

September Claims                     09/18/20 AW              140 email J. Wine regarding spreadsheet related to second restoration motion (.1)                         0.1 0.0023256          $0.33
2020      Administration
          & Objections

September Claims                     09/18/20 AW              140 finalize exhibits for submission to proposed order email (.3)                                         0.3 0.0069767          $0.98
2020      Administration
          & Objections

October      Business                10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).           0.3 0.0028571          $1.11
2020         Operations
October      Business                10/20/20 KBD             390 work on restoration of funds (.3).                                                                    0.3 0.0028571          $1.11
2020         Operations
October      Business                10/28/20 KBD             390 Exchange correspondence regarding order on second restoration motion (.2)                             0.2 0.0046512          $1.81
2020         Operations
October      Asset                   10/06/20 JR              140 request same from property management (.2)                                                            0.2 0.0045455          $0.64
2020         Disposition
October      Business                10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                    0.4       0.016        $6.24
2020         Operations




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
October      Business                10/08/20 ED              390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024        $9.36
2020         Operations
October      Business                10/12/20 JRW             260 review files regarding upcoming administrative hearings (6437 S Kenwood, 5001 S Drexel,              0.4          0.1      $26.00
2020         Operations                                           6356 S California, 5618 S MLK) (.4)
October      Business                10/13/20 ED              390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016        $6.24
2020         Operations
October      Business                10/13/20 ED              390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020         Operations
October      Business                10/20/20 ED              390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020         Operations                                           approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                                  Properties (.7).
October      Business                10/20/20 ED              390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020         Operations                                           restoration and future reporting from receivership, including attachments describing funds
                                                                  transfers and confer with K. Duff regarding same (.8)
October      Business                10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020         Operations                                           accounting reports (.3)
October      Business                10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020         Operations                                           property manager (.2)
October      Business                10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020         Operations                                           updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business                10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020         Operations                                           reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                  reimbursed from proceeds of property sales (1.3)
October      Business                10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020         Operations
October      Business                10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020         Operations                                           property financial reporting (.2).
October      Business                10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020         Operations                                           reports, and review of related financial information.
November     Asset                   11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022        $3.08
2020         Disposition
November     Asset                   11/11/20 AEP             390 read latest administrative orders entered in cases pending against former receivership               0.2 0.0666667         $26.00
2020         Disposition                                          properties (5618 S King, 6356 S California, 5001 S Drexel) and forward same to counsel for
                                                                  purchasers (.2).
November     Asset                   11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868          $0.26
2020         Disposition
November     Business                11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020         Operations                                           financial records, and details relating to property restoration and reimbursement completed
                                                                  through September 2020 (.7)
November     Business                11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020         Operations




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5001 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
November     Business                11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020         Operations                                           property reports (.3)
November     Business                11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020         Operations
November     Business                11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020         Operations                                           correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business                11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020         Operations                                           correspondence with accountants and property manager regarding same (.4)

November     Business                11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020         Operations                                           needed for preparation of June reporting.
November     Business                11/10/20 JRW             260 review administrative court orders (5001 S Drexel) and confer with A. Watychowicz regarding          0.1          0.1      $26.00
2020         Operations                                           docketing (.1).
November     Business                11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020         Operations                                           reporting information necessary for completion of remining June accounting reports (.2).

November     Business                11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020         Operations                                           reports, and steps to begin preparation of July reports (.3)
November     Business                11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020         Operations                                           reporting information required for preparation of July property reports.

November     Business                11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020         Operations                                           accounting reports and preparation of draft August reports (.3).
December     Asset                   12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020         Disposition                                          discrepancy (.9)
December     Asset                   12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020         Disposition                                          (.1)
December     Business                12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020         Operations
December     Business                12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020         Operations                                           accounting reports and preparation of draft September reports (.1).
December     Business                12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                 0.4 0.0044944          $1.75
2020         Operations
December     Business                12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                           related financial reporting from property managers (2.1).
December     Business                12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                           property managers (2.6).
December     Business                12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                           preparation of September property accounting reports (.1)
December     Business                12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations




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5001 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
December     Business                12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286         $4.46
2020         Operations                                           accounting reports (.7), and review of related reporting and financial records (.5)

December     Business                12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857         $5.57
2020         Operations
December     Business                12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714         $3.34
2020         Operations                                           properties (.9).
December     Business                12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095         $1.49
2020         Operations                                           changes (.4)
December     Business                12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048         $0.74
2020         Operations
December     Business                12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095         $1.49
2020         Operations                                           of insurable values based on property sales, refunds and adjustments to premium finance
                                                                  agreements, and updates to schedule of properties.
December     Business                12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048         $0.74
2020         Operations                                           premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                  relating to same.
December     Claims                  12/04/20 JRW             260 exchange correspondence with E. Duff regarding loan issue (.2)                                       0.2 0.0022472         $0.58
2020         Administration
             & Objections

January      Business                01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048         $0.74
2021         Operations
January      Business                01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048         $0.74
2021         Operations                                           expenses.
January      Claims                  01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524         $0.37
2021         Administration                                       relating to accounting reports (.1).
             & Objections

January      Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704         $2.85
2021         Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January      Business                01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                 0.5 0.0047619         $1.86
2021         Operations
January      Business                01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                       0.3 0.0028571         $1.11
2021         Operations                                           properties, and email correspondence with K. Duff regarding same (.3)
January      Business                01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                         0.1 0.0009524         $0.37
2021         Operations
January      Business                01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                     4.1 0.0390476         $5.47
2021         Operations
January      Business                01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond                0.1 0.0009524         $0.13
2021         Operations                                           accordingly regarding status review of same (.1)


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
January      Business                01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                           and November 2020 and forward same to her.
January      Business                01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                           property (1.3).
January      Business                01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business                01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                           reporting (.1).
January      Business                01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business                01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                           corrections necessary.
January      Business                01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                           analysis of reimbursable amounts owed, and review of related correspondence and
                                                                  documents.
January      Business                01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                           report (.2)
January      Business                01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                               0.4 0.0038095         $1.49
2021         Operations
January      Business                01/15/21 KMP             140 revise list of EB entities to include tax identification numbers (.5).                             0.5 0.0178571         $2.50
2021         Operations
January      Business                01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review              0.3 0.0028571         $1.11
2021         Operations                                           (.3).
January      Business                01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration           1.7 0.0161905         $6.31
2021         Operations                                           and reimbursable amounts as of September 31, 2020 (1.7)
January      Business                01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                       0.1 0.0009524         $0.37
2021         Operations
January      Business                01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                    1.2 0.0114286         $4.46
2021         Operations                                           transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                  with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business                01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and          1.2 0.0114286         $1.60
2021         Operations                                           prepare same as per E. Duff's request.




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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
January      Business                01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                           allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                  insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                  property sales (.5)
January      Business                01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                           properties (.6)
January      Business                01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                           and effect on data presented in September accounting reports (.4)

January      Business                01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business                01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                           updates (.8)
January      Business                01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                           and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                  email correspondence with accountants and J. Rak (.4).

January      Business                01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                           reports (1.7)
January      Business                01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Claims                  01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143         $0.80
2021         Administration                                       lenders.
             & Objections

February     Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697         $0.51
2021         Disposition                                          and status of same (.4)
February     Business                02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644         $4.63
2021         Operations
February     Business                02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797         $2.64
2021         Operations                                           data and information necessary for preparation of reports for the three month period ended
                                                                  December 31, 2020 (.4)
February     Business                02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048         $0.74
2021         Operations                                           of October 2020 accounting reports.
February     Business                02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762         $4.27
2021         Operations                                           November and December and produce same in preparation for review.
February     Business                02/16/21 ED              390 Email correspondence with accountant regarding identification of sold properties for which           0.3 0.0428571        $16.71
2021         Operations                                           preparation of monthly reporting is no longer required.
February     Business                02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762         $4.09
2021         Operations
February     Business                02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857         $4.80
2021         Operations




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5001 S Drexel Boulevard                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
February     Business                02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                           0.2 0.0019048          $0.27
2021         Operations
February     Business                02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial           0.3 0.0028571          $0.40
2021         Operations                                           reporting.
February     Claims                  02/16/21 SZ              110 Attention to loan claims (1102 Bingham, 1050 8th Ave N, 1131-41 E 7th Place, 5001 S Drexel          0.8 0.1142857         $12.57
2021         Administration                                       Boulevard, 4520-26 S Drexel Boulevard, 7110 S Cornell Avenue, 6749-59 S Merrill Avenue)
             & Objections                                         (.8)

February     Claims                  02/16/21 SZ              110 communication with J. Wine and J. Rak about the same (.7)                                           0.7          0.1      $11.00
2021         Administration
             & Objections

March 2021 Business                  03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                  03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                  03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                  03/25/21 KMP             140 Briefly review and forward administrative court documents to EB team (5001 S Drexel                 0.2          0.1      $14.00
           Operations                                             Boulevard, 7051 S Bennett Avenue).
March 2021 Business                  03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                  03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                             properties and produce same.
March 2021 Business                  03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                    03/03/21 JR              140 Exchange communication with A. Porter regarding document recovery pertaining to                     0.3       0.025        $3.50
           Administration                                         documents of record for properties (7925 S Kingston Avenue, 7927-29 S Essex Avenue, 7760
           & Objections                                           S Coles Avenue, 7442-54 S Calumet Avenue, 7300-04 S St Lawrence Avenue, 5001 S Drexel
                                                                  Boulevard, 1102 Bingham, 7625-33 S East End Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis
                                                                  Avenue, 8214-16 S Ingleside Avenue, 4533-47 S Calumet Avenue) (.3)

April 2021   Asset                   04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                   04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
             Disposition                                          amounts and respond accordingly (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
             Disposition                                          payment of same (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
             Disposition                                          with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                   04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
             Disposition                                          reconciliation amounts (see D) (.3)


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5001 S Drexel Boulevard                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
April 2021 Asset                     04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to              0.3 0.0047619          $0.67
           Disposition                                            repairs, provide closed property worksheet ([see F] (.3)
April 2021 Asset                     04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)             0.1 0.0015873          $0.22
           Disposition                                            (.1)
April 2021 Asset                     04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)                 0.2    0.003125        $0.44
           Disposition                                            (.2)
April 2021 Business                  04/07/21 JR              140 review November property financial reports (1.5).                                                     1.5 0.0142857          $2.00
           Operations
April 2021 Business                  04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                    0.1 0.0009524          $0.13
           Operations                                             respond accordingly (.1)
April 2021 Business                  04/09/21 JR              140 Review property financial reports.                                                                    3.2 0.0304762          $4.27
           Operations
May 2021 Business                    05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                      1.3    0.012381        $1.73
           Operations
June 2021 Business                   06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent               0.5 0.0047619          $1.86
           Operations                                             and forward to accountant for use in preparation of reports (.5)
July 2021  Asset                     07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                  0.2 0.0018868          $0.26
           Disposition                                            regarding closed properties status (see D) (.2)
September Business                   09/07/21 KMP             140 Review communications relating to second restoration motion to determine date of funds                0.2 0.0046512          $0.65
2021       Operations                                             transfer and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East
                                                                  End Avenue, 6749-59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet
                                                                  Avenue, 1017 W 102nd Street, 1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                                  7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 9212 S Parnell Avenue,
                                                                  10012 S LaSalle Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                  Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard,
                                                                  6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                  Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                  Road, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                  Martin Luther King Drive, 7840-42 S Yates Avenue).


September Business                   09/15/21 KMP             140 Communications with J. Wine and A. Watychowicz regarding City collection notices and                  0.2         0.05       $7.00
2021      Operations                                              administrative hearing order (5001 S Drexel Boulevard, 1422-24 E 68th Street, 1414-18 E
                                                                  62nd Place, 7024-32 S Paxton Avenue).
September Business                   09/16/21 AW              140 Attention to collection notices and related email to J. Wine (5001 S Drexel Boulevard, 1422-          0.2         0.05       $7.00
2021      Operations                                              24 East 68th Street, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue).




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5001 S Drexel Boulevard                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours         Fees
September Business                   09/16/21 JRW         260 Review collection notices and prior correspondence and related communications with K.             0.6         0.15      $39.00
2021      Operations                                          Duff, A. Porter, A. Watychowicz, and K. Pritchard (7024-32 S Paxton Avenue, 1422-24 East
                                                              68th Street, 1414-18 East 62nd Place, 5001 S Drexel Boulevard) (.6)

September Claims                     09/01/21 AW          140 review native files submitted with claims and related email to K. Duff (see K) (.8)               0.8 0.0089888          $1.26
2021      Administration
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                           5450-52 S Indiana Avenue
General Allocation % (Pre 01/29/21):                                                 2.2619601%
General Allocation % (01/29/21 Onward, Claims Only):                            2.4306322865%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     4        5450-52 S Indiana Avenue                                                     89.93      $             24,340.20                           79.72    $            21,448.89             169.66     $             45,789.09
                 Asset Disposition [4]                                                        4.76    $                 1,557.52                         44.53   $             11,073.21               49.29   $              12,630.73
                 Business Operations [5]                                                      4.78    $                 1,437.79                         16.26   $               5,080.34              21.04   $                  6,518.14
                 Claims Administration & Objections [6]                                     80.39     $              21,344.89                           18.94   $               5,295.33              99.33   $              26,640.23




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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5450-52 S Indiana Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    79.72
Specific Allocation Fees:         $       21,448.89



   Invoice                                             Time                                                                                                                   Allocated    Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours         Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025        $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736          $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118          $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118          $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 review correspondence from property manager regarding retail space lease and projected             0.1          0.1      $39.00
            Operations                                               cash flow (.1)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038          $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604          $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 draft correspondence to A. Watychowicz regarding same (.1).                                        0.1          0.1      $39.00
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925          $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588          $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692          $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925          $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472          $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906          $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925          $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412          $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412          $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118          $1.72
            Operations




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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
August 2018 Business                08/28/18 KBD         390 second telephone conference with property managers counsel re same (.2)                           0.2 0.0029412         $1.15
            Operations
August 2018 Business                08/28/18 KBD         390 office conference with A. Porter regarding same (.1)                                              0.1 0.0014706         $0.57
            Operations
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management            0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash          0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                            0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)            0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference               0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                   0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)            0.7 0.0102941         $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                 0.7 0.0066038         $2.58
            Operations
August 2018 Claims                  08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding               1.9 0.0213483         $8.33
            Administration                                   institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                  08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding              0.3 0.0033708         $1.31
            Administration                                   same.
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access          0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional           0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional             0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                   0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study           0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
August 2018 Claims                  08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)           1.6 0.0372093        $14.51
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                    0.5    0.005618       $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                       0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                            0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments             1.1 0.0123596         $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                        5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)          0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                    0.2 0.0022472         $0.58
            Administration                                   institutional lenders (.2)
            & Objections

August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via           1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                   0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference              0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related          0.1 0.0009346         $0.36
2018         Disposition                                     information.




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                          0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                      information (.2)
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                                     0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645         $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Claims                 09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                        0.5    0.005618       $2.19
2018         Administration
             & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                      0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections

September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                 0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                     0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708          $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections

September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483          $8.33
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652          $3.07
2018      Administration
          & Objections

September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383          $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757        $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037          $1.09
2018         Disposition
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346          $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692          $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                    0.1 0.0009346          $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                              0.1 0.0009346          $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                           0.3 0.0028037          $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                       0.2 0.0018692          $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                       2.7 0.0252336          $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                      0.1 0.0009346          $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                    0.3 0.0028037          $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/03/18 ED          390 Review proposed terms for agreement with property manager regarding payment for                           0.2          0.2      $78.00
2018         Operations                                      property improvements (.2)
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of              0.6 0.0089552          $3.49
2018         Operations                                      documents received regarding same (.6).


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
September    Business               09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708          $1.31
2018         Operations
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478          $4.07
2018         Operations                                      same (.7);
September    Business               09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708          $1.31
2018         Operations                                      revision to procedure for reporting to institutional lenders (.3).
September    Business               09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944          $1.75
2018         Operations                                      lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business               09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247          $7.89
2018         Operations
September    Business               09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596          $4.82
2018         Operations
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383          $1.46
2018         Operations                                      distribution (.4).
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037          $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692          $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434          $0.25
2018         Operations
September    Claims                 09/04/18 ED          390 review email and loan documents provided by lender and email correspondence with N.                     0.9         0.45     $175.50
2018         Administration                                  Mirjanich and A Porter regarding characterization of such loan (.9)
             & Objections

September Claims                    09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708          $1.31
2018      Administration                                     correspondence (.3).
          & Objections

September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                               0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                                  0.1 0.0011236          $0.16
2018      Administration
          & Objections




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                     0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                           1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to          0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                 1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.          0.4 0.0044944         $1.75
2018      Administration
          & Objections

October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                               0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of           0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                   3.3 0.0308411        $12.03
2018         Disposition




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                      0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                     0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement                0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                  1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                 0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                    0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                              0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key              2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                 0.6 0.0056075         $2.19
2018         Disposition


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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                      documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/12/18 KBD         390 Exchange correspondence with property manager regarding finances, commercial space, and             0.1       0.025       $9.75
2018         Operations                                      unit turns (.1)
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Business               10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                      property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October      Claims                 10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                  information, and related issues and study documents regarding same.
             & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                       0.3 0.0033708         $1.31
2018         Administration                                  information (.3).
             & Objections

October      Claims                 10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018         Administration                                  and provisions in order appointing receiver (.4)
             & Objections

October      Claims                 10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)             0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                 10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018         Administration                                  procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                 10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                  institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                    rent rolls, and various related issues (2.8)

October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                  representative regarding debt service analysis (.3)
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018         Administration                                  same (.4).
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                             0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                   2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                     1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.             2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                   0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                           0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                            0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262         $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663        $10.52
2018         Operations                                      same (2.4)
October      Business               10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371        $11.83
2018         Operations                                      alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916         $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018         Operations
October      Business               10/31/18 NM          260 prepare summary list of requests given to real estate broker relating to building code               0.2 0.0222222         $5.78
2018         Operations                                      violations and bids for same (.2)
October      Claims                 10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944         $1.75
2018         Administration
             & Objections

October      Claims                 10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843        $12.71
2018         Administration                                  related loan documents and information supplied by lenders (2.9)
             & Objections




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
October      Claims                 10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                  leases.
             & Objections

October      Claims                 10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                  portfolio properties (1.5)
             & Objections

October      Claims                 10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018         Administration                                  amount of mortgage loans (.2)
             & Objections

October      Claims                 10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124         $3.94
2018         Administration                                  logistics for site visits (.9)
             & Objections

October      Claims                 10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472         $0.88
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618       $2.19
2018         Administration
             & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to                 0.3 0.0033708         $1.31
2018         Administration                                  lenders (.3)
             & Objections

October      Claims                 10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan                  0.6 0.0067416         $2.63
2018         Administration                                  balances for report (.6).
             & Objections

October      Claims                 10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting               0.2 0.0022472         $0.88
2018         Administration                                  queries (.2)
             & Objections

October      Claims                 10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Business               11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018         Operations                                      and accounting for rent, and communications with property manager (.3)

November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Business               11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236         $0.44
2018         Operations
November     Business               11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416         $2.63
2018         Operations                                      related documents (.6).
November     Business               11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                  0.7 0.0078652         $3.07
2018         Operations                                      Receiver (.7)
November     Business               11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618       $2.19
2018         Operations
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729         $1.82
2018         Operations


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037         $1.09
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and             0.2 0.0018692         $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421         $2.55
2018         Operations                                      related issues (.7)
November     Claims                 11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337        $28.48
2018         Administration                                  transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                    enforce assignments of rents and leases.

November     Claims                 11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427      $22.79
2018         Administration                                  opposition brief (5.2).
             & Objections

November     Claims                 11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899        $10.96
2018         Administration                                  acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                    motion to enforce assignments of rents and leases (2.5)

November     Claims                 11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618        $19.72
2018         Administration                                  prepare text of affidavit (4.5)
             & Objections

November     Claims                 11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427        $10.08
2018         Administration                                  enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                 11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888         $3.51
2018         Administration                                  opposition memorandum (.8).
             & Objections

November     Claims                 11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303         $6.13
2018         Administration
             & Objections

November     Claims                 11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427        $10.08
2018         Administration
             & Objections

November     Claims                 11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender           1.0    0.011236       $4.38
2018         Administration                                  motion to enforce assignments of rents and leases (1.0)
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
November     Claims                 11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/17/18 MR          390 attention to various issues from hearing (.3).                                                         0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                           0.4 0.0044944         $1.75
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 attention to letter from creditors (.2)                                                                0.2 0.0022472         $0.88
2018         Administration
             & Objections

December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations
December     Business               12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706         $0.57
2018         Operations                                      reporting (.1)
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346         $0.36
2018         Operations
December     Business               12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                       0.1 0.0014706         $0.57
2018         Operations
December     Business               12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                       0.1 0.0009434         $0.37
2018         Operations
December     Business               12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various            2.8 0.0264151        $10.30
2018         Operations                                      issues (2.8)
December     Business               12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work              1.3 0.0122642         $3.19
2018         Operations                                      to address City violations and his plan for same (1.3)




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
December     Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business               12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                          income from property manager and conference with K. Duff regarding same.

December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December     Business               12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                 12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                      other issues.
             & Objections

January      Business               01/10/19 KBD             390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)            0.3 0.0033708         $1.31
2019         Operations
January      Business               01/10/19 KBD             390 study property management report (.2)                                                                   0.2 0.0029412         $1.15
2019         Operations
January      Business               01/10/19 KBD             390 study property manager financial reporting (.4).                                                        0.4 0.0059701         $2.33
2019         Operations
January      Business               01/11/19 KBD             390 study property manager financial reporting and draft correspondence to property manager                 0.3 0.0044118         $1.72
2019         Operations                                          regarding same (.3)
January      Business               01/15/19 KBD             390 study financial reporting from other property manager (.3).                                             0.3 0.0044118         $1.72
2019         Operations
January      Business               01/15/19 KBD             390 study correspondence from city official regarding request for meeting (.1)                              0.1 0.0009434         $0.37
2019         Operations
January      Business               01/24/19 KBD             390 Prepare for meeting with lenders' counsel (.3)                                                          0.3 0.0033708         $1.31
2019         Operations
January      Business               01/24/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding meeting with City                  0.2 0.0018868         $0.74
2019         Operations                                          officials regarding scofflaw list (.2).


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding              0.1 0.0009434         $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Business               01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                        0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                          0.1 0.0011236         $0.44
2019         Operations
January      Business               01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge          0.3 0.0033708         $1.31
2019         Operations                                      Kim and preparation for meeting with lenders' counsel (.3).
January      Business               01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                1.5 0.0168539         $6.57
2019         Operations
January      Claims                 01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                0.1 0.0011236         $0.44
2019         Administration                                  (.1)
             & Objections

January      Claims                 01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                    0.4 0.0044944         $1.75
2019         Administration                                  preparation for meeting regarding same (.4)
             & Objections

January      Claims                 01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                               0.3 0.0033708         $1.31
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                       0.1 0.0011236         $0.44
2019         Administration                                  correspondence with real estate broker regarding same (.1)
             & Objections

January      Claims                 01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                  0.6 0.0067416         $2.63
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis              0.5    0.005618       $2.19
2019         Administration                                  regarding same (.5).
             & Objections

January      Claims                 01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same             2.1 0.0235955         $9.20
2019         Administration                                  (2.1)
             & Objections

January      Claims                 01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting               0.5    0.005618       $2.19
2019         Administration                                  (.5).
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
January      Asset                  01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                     properties with institutional debt.
January      Business               01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                      issues (.5)
January      Business               01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business               01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                      with Receiver (1.2)
January      Business               01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                      assorted lenders' counsel (.3).
January      Business               01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019         Operations                                      lender's counsel to discuss questions for Receiver (.4)
January      Business               01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019         Operations
January      Business               01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                                1.0    0.011236       $4.38
2019         Operations
January      Business               01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                      0.2 0.0022472         $0.88
2019         Operations                                      meeting.
January      Business               01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                              0.6 0.0067416         $2.63
2019         Operations
January      Business               01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                             0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February             0.9 0.0101124         $3.94
2019         Operations                                      1 meeting (.9)
January      Business               01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property                0.7 0.0078652         $3.07
2019         Operations                                      insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January      Business               01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                               0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                             0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                   4.6 0.0516854        $20.16
2019         Operations                                      related exhibits and materials regarding same (4.6)
January      Business               01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                       0.7 0.0078652         $3.07
2019         Operations




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
January      Business               01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                   0.7 0.0078652         $3.07
2019         Operations
January      Business               01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).             0.9 0.0101124         $3.94
2019         Operations
January      Business               01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,          7.8 0.0876404        $34.18
2019         Operations                                      including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)
January      Business               01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                     0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with           1.7 0.0191011         $7.45
2019         Operations                                      lenders' motion to enforce assignment of rents and leases (1.7)
January      Business               01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                0.5    0.005618       $2.19
2019         Operations                                      assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).
January      Business               01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1               0.7 0.0078652         $3.07
2019         Operations                                      meeting with lenders' counsel (.7).
January      Business               01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                 6.0 0.0674157        $26.29
2019         Operations
January      Business               01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                          1.7 0.0191011         $7.45
2019         Operations
January      Claims                 01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                         0.2 0.0022472         $0.88
2019         Administration
             & Objections

January      Claims                 01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for              0.5    0.005618       $2.19
2019         Administration                                  meeting with lenders (.5).
             & Objections

January      Claims                 01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                        1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                 01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding              1.8 0.0202247         $7.89
2019         Administration                                  meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                    meeting with lenders.

January      Claims                 01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                               0.7 0.0078652         $3.07
2019         Administration
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January      Claims                 01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383         $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037         $1.09
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346         $0.36
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412         $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412         $1.15
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824         $2.29
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346         $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706         $0.57
2019         Operations
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706         $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                 0.1 0.0009346         $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                     0.1 0.0014925         $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2019         Operations
February     Business               02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                            0.1       0.005       $1.95
2019         Operations


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                   0.2 0.0029412          $1.15
2019         Operations                                      documentation (.2)
February     Business               02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real               0.6         0.03      $11.70
2019         Operations                                      estate taxes and lender communications (.6).
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                       0.1 0.0014706          $0.57
2019         Operations
February     Business               02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                      0.1       0.005        $1.95
2019         Operations
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                         0.1 0.0014706          $0.57
2019         Operations
February     Business               02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                   0.2 0.0022472          $0.88
2019         Operations
February     Business               02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment             4.4 0.0494382         $19.28
2019         Operations                                      (4.4)
February     Business               02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                     1.1       0.055       $21.45
2019         Operations
February     Business               02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                 3.9       0.195       $76.05
2019         Operations
February     Business               02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                 1.3 0.0146067          $5.70
2019         Operations                                      regarding same (1.3)
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434          $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337         $28.48
2019         Operations                                      and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701          $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)
February     Business               02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618        $2.19
2019         Operations                                      spreadsheets regarding real estate tax analysis and study same (.5)
February     Business               02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618        $2.19
2019         Operations
February     Business               02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236          $0.44
2019         Operations                                      (.1)
February     Business               02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303          $6.13
2019         Operations                                      taxes (1.4)
February     Claims                 02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787         $14.46
2019         Administration                                  regarding same (3.3)
             & Objections

February     Claims                 02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303          $6.13
2019         Administration
             & Objections




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  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
February     Claims                 02/01/19 KBD         390 study mortgage loan summary (.2)                                                                          0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/02/19 KBD         390 Study briefs regarding rent issue.                                                                        0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                 02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                  0.3 0.0034091         $1.33
2019         Administration                                  preparation of reporting (.3)
             & Objections

February     Claims                 02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                      0.3 0.0033708         $1.31
2019         Administration                                  regarding same (.3).
             & Objections

February     Business               02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019         Operations
February     Business               02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019         Operations
February     Business               02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019         Operations                                      (1.4)
February     Business               02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                      property expenses, and communicate same to K. Duff (.2)
February     Business               02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                      violation (.2)
February     Business               02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                      in receivership portfolio (1.9).
February     Business               02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019         Operations
February     Business               02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652         $3.07
2019         Operations                                      from institutional lenders (.7).
February     Business               02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019         Operations                                      building expenses.
February     Business               02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909         $8.42
2019         Operations                                      rents by property (1.9)
February     Business               02/15/19 KMP         140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925         $0.21
2019         Operations
February     Business               02/19/19 ED          390 Call with accountant regarding monthly reporting to lenders by property (.5)                              0.5    0.005618       $2.19
2019         Operations
February     Business               02/19/19 ED          390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729         $1.82
2019         Operations




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for              0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                          0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                 0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                        0.6         0.03      $11.70
2019         Operations
February     Business               02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                             2.3 0.0258427         $10.08
2019         Operations
February     Business               02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                       0.2 0.0022472          $0.88
2019         Operations
February     Business               02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                              0.2 0.0022472          $0.88
2019         Operations
February     Business               02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                               0.1 0.0011236          $0.44
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                   4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652          $3.07
2019         Operations                                          (.7)
February     Business               02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                0.1 0.0011236          $0.44
2019         Operations                                          information for properties (.1)
February     Business               02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888          $3.51
2019         Operations
February     Business               02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382         $19.28
2019         Operations                                          taxes (4.4)
February     Business               02/25/19 ED              390 preparation for same (.8)                                                                               0.8 0.0089888          $3.51
2019         Operations
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                             0.8         0.04      $15.60
2019         Operations
February     Business               02/25/19 MR              390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382         $19.28
2019         Operations                                          Duff, K. Duff, and A. Porter (4.4)
February     Business               02/25/19 NM              260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944          $1.17
2019         Operations
February     Business               02/26/19 ED              390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337         $28.48
2019         Operations                                          (6.5)
February     Business               02/26/19 ED              390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708          $1.31
2019         Operations
February     Business               02/26/19 ED              390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944          $1.75
2019         Operations                                          manager, and preparation of document reflecting same (.4)




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Business               02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                0.7 0.0078652         $3.07
2019         Operations                                      counsel (.7)
February     Business               02/26/19 MR          390 Attention to property tax related issues.                                                             4.5 0.0505618        $19.72
2019         Operations
February     Business               02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                 0.2 0.0022472         $0.88
2019         Operations                                      due and sources of funds (.2)
February     Business               02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                     0.3 0.0033708         $1.31
2019         Operations
February     Business               02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                               0.3 0.0028302         $1.10
2019         Operations
February     Business               02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of              6.5 0.0730337        $28.48
2019         Operations                                      same to determine available funds for payment of property taxes (6.5)
February     Business               02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings              5.0 0.0561798        $21.91
2019         Operations                                      with K. Duff and E. Duff regarding same (5.0).
February     Business               02/27/19 MR          390 review charts regarding same (.3)                                                                     0.3 0.0033708         $1.31
2019         Operations
February     Business               02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related               1.3 0.0146067         $5.70
2019         Operations                                      submissions and payments (1.3)
February     Business               02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to            0.2 0.0022472         $0.58
2019         Operations                                      costs to cure code violations (.2).
February     Business               02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders               0.3 0.0033708         $0.88
2019         Operations                                      with respect to escrow amounts (.3)
February     Business               02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in            0.1 0.0014925         $0.21
2019         Operations                                      receivership (.1)
February     Business               02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019         Operations
February     Business               02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019         Operations
February     Business               02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                      funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February     Business               02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                      and review and analysis of documentation provided (1.8)
February     Business               02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                      estate taxes (.5)
February     Business               02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                      various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
February     Business               02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or               2.7 0.0303371         $7.89
2019         Operations                                      property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).
February     Business               02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'           0.2 0.0022472         $0.58
2019         Operations                                      counsel (.2)
February     Claims                 02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                  1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                              1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                    3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                 02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                     0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                 02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications              1.5 0.0168539         $6.57
2019         Administration                                  regarding same.
             & Objections

February     Claims                 02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to               0.5    0.005618       $1.46
2019         Administration                                  institutional lenders prior to filing pursuant to request.
             & Objections

February     Claims                 02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                              0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                            1.0    0.011236       $4.38
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                         0.3 0.0033708         $1.31
2019         Administration
             & Objections




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Claims                 02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                                  0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                             0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                 02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)                0.8 0.0089888         $3.51
2019         Administration
             & Objections

March 2019 Asset                    03/07/19 KBD         390 draft correspondence to broker same (.1)                                                              0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                    03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of                0.1 0.0009804         $0.38
           Disposition                                       properties for sale (.1)
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,             0.3 0.0032609         $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346         $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692         $0.73
           Operations
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                 03/11/19 KBD         390 Study correspondence from property manager regarding tenant move-ins and unpaid real                  0.1 0.0166667         $6.50
           Operations                                        estate taxes (.1)
March 2019 Business                 03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                        correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations


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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2019 Business                 03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                    0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/19/19 KBD             390 telephone conferences with and study correspondence from E. Duff regarding financial                 0.6 0.0068182         $2.66
           Operations                                            reporting for lenders and study form of report (.6)
March 2019 Business                 03/20/19 KBD             390 work on receivership financial reporting with E. Duff (.2)                                           0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 KBD             390 review property manager financial reporting with E. Duff (.3)                                        0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 KBD             390 study correspondence from property manager regarding outstanding taxes and payment of                0.2 0.0166667         $6.50
           Operations                                            same from property cash flows (.2)
March 2019 Business                 03/21/19 KBD             390 discussions with and study correspondence from E. Duff regarding financial reporting for             0.3 0.0034091         $1.33
           Operations                                            lenders and study draft report form (.3)
March 2019 Business                 03/22/19 KBD             390 telephone conference with accounting firm representative and E. Duff regarding financial             0.2 0.0022727         $0.89
           Operations                                            reporting by property (.2)
March 2019 Business                 03/27/19 KBD             390 study correspondence from property manager and E. Duff regarding tax payment and                     0.3       0.025       $9.75
           Operations                                            analysis of same and cash position of various properties (.3).
March 2019 Business                 03/27/19 KBD             390 office conference with, study correspondence from relating to spreadsheet issues and                 0.4 0.0045455         $1.77
           Operations                                            property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                   03/14/19 KBD             390 Telephone conference with and exchange correspondence with E. Duff regarding financial               0.3 0.0034091         $1.33
           Administration                                        reporting for lenders (.3)
           & Objections

March 2019 Claims                   03/14/19 KBD             390 study property manager financial report (.2).                                                        0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                             2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                 2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,          0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                 03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                            (.3)
March 2019 Business                 03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                 03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                            correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                 03/06/19 ED              390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                            reports to lenders (.4)
March 2019 Business                 03/06/19 ED              390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                 03/08/19 ED              390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                            estate taxes (.4)




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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091          $6.20
           Operations                                        accounting reports (1.4)
March 2019 Business                 03/14/19 ED          390 review list of properties pending CHA move-ins and email to A. Watychowicz regarding same             0.5         0.05      $19.50
           Operations                                        (.5).
March 2019 Business                 03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091          $6.20
           Operations                                        accounting reports to lenders (1.4)
March 2019 Business                 03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818          $2.22
           Operations                                        same (.5)
March 2019 Business                 03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455          $1.77
           Operations                                        information for lender accounting reports (.4)
March 2019 Business                 03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455          $1.77
           Operations                                        reports (.4)
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091          $1.33
           Operations                                        performance at each property (.3)
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545          $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224          $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                           0.9 0.0102273          $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and              0.1 0.0011364          $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                    0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                               1.0 0.0113636          $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                               1.0 0.0113636          $4.43
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information               0.2 0.0018692          $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                             0.8 0.0090909          $3.55
           Operations
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                    0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)              0.7 0.0079545          $3.10
           Operations




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545         $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455         $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818         $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                        of accounting report (.2)
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                        (.2)
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                 03/22/19 ED          390 and confer with K. Duff (.1) regarding same                                                            0.1 0.0083333         $3.25
           Operations
March 2019 Business                 03/22/19 ED          390 email correspondence with property manager (.1)                                                        0.1 0.0083333         $3.25
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations


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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                             0.2 0.0018868          $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                          0.5 0.0056818          $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports           0.9 0.0102273          $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                    0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                   2.0 0.0227273          $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                  0.9 0.0102273          $3.99
           Operations
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property               0.3 0.0034091          $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                    0.3 0.0034091          $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                              0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                              1.8 0.0204545          $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                         0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties             0.2 0.0022727          $0.89
           Operations                                        (.2)
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                    1.2 0.0136364          $5.32
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain               0.2 0.0022727          $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                   1.2 0.0136364          $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                0.2 0.0022727          $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                               0.8 0.0090909          $3.55
           Operations
March 2019 Claims                   03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized          0.2 0.0037736          $1.47
           Administration                                    properties (.2)
           & Objections

March 2019 Claims                   03/30/19 MR          390 Follow up on requests for information from lenders.                                                   0.1         0.05      $19.50
           Administration
           & Objections




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Asset                  04/17/19 KBD             390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934          $2.57
             Disposition
April 2019   Asset                  04/17/19 KBD             390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912          $3.43
             Disposition
April 2019   Business               04/02/19 KBD             390 study correspondence from J. Rak regarding tax delinquencies (.2)                                      0.2 0.0111111          $4.33
             Operations
April 2019   Business               04/03/19 KBD             390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/05/19 KBD             390 exchange correspondence with property manager regarding estimated costs (.1)                           0.1 0.0014925          $0.58
             Operations
April 2019   Business               04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824          $2.29
             Operations
April 2019   Business               04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/22/19 KBD             390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727          $0.89
             Operations                                          communication with accounting firm representative relating to same (.2)
April 2019   Business               04/23/19 KBD             390 study analyses from E. Duff regarding potential use of funds and properties with positive NOI          0.3 0.0176471          $6.88
             Operations                                          (.3).
April 2019   Business               04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126          $1.14
             Operations                                          efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417          $0.76
             Operations                                          amounts (.2)
April 2019   Claims                 04/17/19 KBD             390 Study draft correspondence to lender's counsel and office conference with E. Duff regarding            0.3         0.15      $58.50
             Administration                                      same.
             & Objections

April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/07/19 JR              140 Draft additional spreadsheet for outstanding delinquent balances on real estate taxes that             1.2 0.0333333          $4.67
             Disposition                                         excluded various tranches.




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/08/19 JR              140 email communication with A. Porter advising of updates to real estate tax delinquencies                0.1 0.0027778         $0.39
             Disposition                                         spreadsheet (.1)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411         $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                           0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                 0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding           0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                        0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                 0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile            0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                     0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                    1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,             0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                   0.7 0.0079545         $3.10
             Operations
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                     0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                          0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)              0.2 0.0022472         $0.88
             Operations


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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                      0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                       0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                  0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                  0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412         $1.15
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412         $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319         $5.07
             Operations
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).




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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with           1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                             0.4 0.0045455          $1.77
             Operations
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                 1.8    0.026087       $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property          1.5 0.0168539          $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/23/19 ED              390 Prepare analysis of outstanding tax liabilities for properties with positive net operating           0.8         0.04      $15.60
             Operations                                          income (.8)
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                     0.4 0.0045455          $1.77
             Operations
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)          0.1 0.0011364          $0.44
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727          $0.89
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091          $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182          $2.66
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909          $3.55
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727          $0.25
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273          $1.13
             Operations
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727          $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091          $1.33
             Operations
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455          $1.77
             Operations
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273          $3.99
             Operations
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364          $5.32
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818          $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455          $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727          $0.25
             Operations




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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909          $1.00
             Operations                                          managers (.8)
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901          $0.39
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802          $0.77
             Operations
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364          $0.44
             Operations
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727          $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091          $1.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729          $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091          $0.38
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818          $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182         $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909          $1.00
             Operations                                          property managers (.8)
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727          $0.25
             Operations
April 2019   Claims                 04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures            0.2 0.0022727          $0.89
             Administration                                      (.2).
             & Objections

April 2019   Claims                 04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)                0.2 0.0022727          $0.89
             Administration
             & Objections

April 2019   Claims                 04/04/19 MR              390 Attention to requests from lender.                                                                   0.2          0.1      $39.00
             Administration
             & Objections

April 2019   Claims                 04/11/19 ED              390 Begin review of Receiver's property reports.                                                         1.5 0.0170455          $6.65
             Administration
             & Objections




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  Invoice                                      Time                                                                                                               Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                               Task Hours
  Month                                       Keeper                                                                                                                Hours         Fees
April 2019   Claims                 04/12/19 ED          390 email correspondence with lender's counsel and property manager regarding financial            0.5         0.25      $97.50
             Administration                                  reporting to lender (.5).
             & Objections

April 2019   Claims                 04/16/19 ED          390 draft response to send to counsel (.4)                                                         0.4          0.2      $78.00
             Administration
             & Objections

April 2019   Claims                 04/16/19 ED          390 review of related correspondence and documents (.5)                                            0.5         0.25      $97.50
             Administration
             & Objections

April 2019   Claims                 04/16/19 ED          390 Review email and telephone messages with inquiries from lender and lender's counsel            0.3         0.15      $58.50
             Administration                                  requesting additional information and documents relating to mortgaged properties (.3)
             & Objections

April 2019   Claims                 04/16/19 ED          390 and confer with K. Duff regarding same (.2)                                                    0.2          0.1      $39.00
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 review reports received against financial reporting to lenders (.8)                            0.8 0.0090909          $3.55
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 and research into discrepancies and questions (.7)                                             0.7 0.0079545          $3.10
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                   0.2 0.0022727          $0.89
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 discussion with M. Rachlis of sources of funds (.8).                                           0.8 0.0115942          $4.52
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED          390 Email correspondence with insurance broker and lenders' counsel regarding renewal of           0.3 0.0029412          $1.15
             Administration                                  insurance coverage (.3)
             & Objections

May 2019     Asset                  05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager               0.2 0.0022989          $0.90
             Disposition                                     account reporting (.2)




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                      1.3 0.0149425         $5.83
             Disposition                                     representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019     Asset                  05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                  05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
             Disposition                                     procedures (.2)
May 2019     Asset                  05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
             Disposition                                     portfolio equity (.1)
May 2019     Asset                  05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                  05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                     planning (1.8)
May 2019     Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                  05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                     regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                  05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                     communications with lenders' counsel relating to same (1.1)
May 2019     Asset                  05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                     procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                     credit bid and sales procedures (.5)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)




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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
May 2019     Asset                  05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287         $16.59
             Disposition                                     engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019     Asset                  05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001        $0.39
             Disposition
May 2019     Asset                  05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002        $0.78
             Disposition
May 2019     Asset                  05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954          $3.59
             Disposition                                     communications with lenders' counsel relating to same (.8)
May 2019     Asset                  05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977          $1.79
             Disposition
May 2019     Asset                  05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402          $7.62
             Disposition
May 2019     Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001        $0.39
             Disposition                                     broker (.1)
May 2019     Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417          $0.76
             Disposition
May 2019     Business               05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483          $1.34
             Operations
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346          $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977          $1.79
             Operations                                      reporting (.4)
May 2019     Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709          $0.38
             Operations                                      replacement insurance (.1).
May 2019     Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709          $0.38
             Operations                                      replacement of insurance coverage (.1)
May 2019     Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417          $0.76
             Operations                                      insurance policies and renewals (.2).
May 2019     Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709          $0.38
             Operations                                      payment (.1).
May 2019     Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126          $1.14
             Operations                                      insurance (.3)
May 2019     Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/14/19 KBD         390 study correspondence from and telephone conference with property manager regarding                    0.3          0.1      $39.00
             Operations                                      financial reporting and property expenses (7750 Muskegon, 5450 Indiana, 7450 Luella) (.3)

May 2019     Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154          $1.80
             Operations
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703          $1.16
             Operations                                      same (.3)


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019     Business               05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations
May 2019     Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
             Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                      0.2 0.0019417         $0.76
             Operations                                      property insurance renewal (.2)
May 2019     Business               05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                       0.1 0.0009709         $0.38
             Operations                                      payment (.1)
May 2019     Business               05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                0.2 0.0019417         $0.76
             Operations                                      property insurance payment (.2)
May 2019     Business               05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                      0.2 0.0019417         $0.76
             Operations
May 2019     Business               05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                      0.2 0.0018692         $0.73
             Operations
May 2019     Business               05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                              0.1 0.0015625         $0.61
             Operations
May 2019     Business               05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                       0.3 0.0046875         $1.83
             Operations                                      expenses (.3)
May 2019     Business               05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                      0.2 0.0022989         $0.90
             Operations
May 2019     Claims                 05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                                   0.6 0.0068966         $2.69
             Administration
             & Objections




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
May 2019     Claims                 05/09/19 KBD             390 Confer with E. Duff regarding communication with accounting firm regarding accounting                0.2 0.0022727         $0.89
             Administration                                      reports (.2)
             & Objections

May 2019     Claims                 05/10/19 KBD             390 Study correspondence from E. Duff regarding financial reporting and communications with              0.1 0.0011494         $0.45
             Administration                                      accounting firm representatives (.1)
             & Objections

May 2019     Claims                 05/14/19 KBD             390 Work with E. Duff on financial reporting (.2)                                                        0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/14/19 KBD             390 telephone conference with accounting firm representative regarding same and timing for               0.2 0.0022989         $0.90
             Administration                                      delivery of reports (.2)
             & Objections

May 2019     Claims                 05/15/19 KBD             390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                            0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 KBD             390 telephone conference with accounting firm representative regarding same (.1).                        0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                   0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                   0.5 0.0056818         $2.22
             Administration                                      financial reports (.5)
             & Objections

May 2019     Asset                  05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                0.7    0.008046       $3.14
             Disposition                                         accounting issues with property manager (.7).
May 2019     Asset                  05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                 1.5 0.0168539         $6.57
             Disposition                                         marketing and sales process (1.5).
May 2019     Asset                  05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale             1.2 0.0137931         $5.38
             Disposition                                         processes for next tranche of properties (1.2).
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                             2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                  05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.          2.5 0.0280899        $10.96
             Disposition




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019     Asset                  05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
             Disposition                                         of properties.
May 2019     Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                  05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
             Disposition                                         and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                  05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
             Disposition
May 2019     Asset                  05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
             Disposition
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
             Disposition
May 2019     Asset                  05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
             Disposition                                         receivership broker (1.0)
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                  05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
             Disposition
May 2019     Asset                  05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
             Disposition
May 2019     Asset                  05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                  05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                     2.6    0.038806       $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                    0.2 0.0029851         $0.42
             Disposition


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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                 0.3 0.0044776         $0.63
             Disposition                                         (.3)
May 2019     Asset                  05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                           1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                  05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                         0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/30/19 MR              390 and conferences regarding same (.2).                                                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                     1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                  05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
             Disposition                                         (.2).
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
             Operations
May 2019     Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
             Operations
May 2019     Business               05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923         $3.00
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385         $0.60
             Operations
May 2019     Business               05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364         $0.44
             Operations
May 2019     Business               05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417         $0.27
             Operations                                          conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business               05/03/19 NM              260 correspond with E. Duff regarding code violation and property tax documents needed for                0.2 0.0022989         $0.60
             Operations                                          reporting and send same (.2).
May 2019     Business               05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835         $0.54
             Operations                                          insurance renewal, and communications with K. Duff and bank representative regarding
                                                                 same (.4)


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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                    0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                     0.1 0.0009709          $0.14
             Operations                                      premium finance agreement.
May 2019     Business               05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)               0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                    0.2 0.0022727          $0.89
             Operations                                      expenditures by property (.2)
May 2019     Business               05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                       2.0 0.0227273          $8.86
             Operations
May 2019     Business               05/08/19 ED          390 email correspondence with property manager to request additional documentation for same                0.3 0.0034091          $1.33
             Operations                                      (.3)
May 2019     Business               05/08/19 ED          390 and review of related documentation (.6)                                                               0.6 0.0068182          $2.66
             Operations
May 2019     Business               05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for              0.9 0.0102273          $3.99
             Operations                                      follow up questions (.9)
May 2019     Business               05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/09/19 ED          390 review financial reporting and email correspondence with property manager with questions               0.5         0.25      $97.50
             Operations                                      regarding reporting entries (.5) (5450 S Indiana, 7750 S Muskegon).
May 2019     Business               05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909          $3.55
             Operations                                      reports and comments and questions regarding contents (.8)
May 2019     Business               05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182         $17.28
             Operations
May 2019     Business               05/09/19 NM          260 correspond with E. Duff regarding reporting information (.3).                                          0.3         0.15      $39.00
             Operations
May 2019     Business               05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608          $0.51
             Operations                                      manager (.2)
May 2019     Business               05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818          $2.22
             Operations                                      (.5)
May 2019     Business               05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091         $11.08
             Operations
May 2019     Business               05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727          $0.89
             Operations




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
May 2019     Business               05/13/19 ED          390 review and revise draft reports (.4)                                                                 0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/15/19 ED          390 Review April financial reporting (1.3)                                                               1.3 0.0126214          $4.92
             Operations
May 2019     Business               05/15/19 ED          390 email correspondence (.4)                                                                            0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/15/19 ED          390 and review of related documents (.7)                                                                 0.7 0.0079545          $3.10
             Operations
May 2019     Business               05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                        0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                   1.0 0.0097087          $3.79
             Operations
May 2019     Business               05/16/19 ED          390 review documents regarding application of receivership payments to property manager by               2.2       0.025        $9.75
             Operations                                      property (2.2)
May 2019     Business               05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                             0.6 0.0068182          $2.66
             Operations
May 2019     Business               05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports           0.1 0.0011364          $0.44
             Operations                                      (.1)
May 2019     Business               05/16/19 ED          390 review revised accounting reports from accountant (.5).                                              0.5 0.0056818          $2.22
             Operations
May 2019     Business               05/16/19 ED          390 review information and files to prepare response to lenders' counsel (.2)                            0.2          0.1      $39.00
             Operations
May 2019     Business               05/17/19 ED          390 review and revise draft reports received (4.4)                                                       4.4         0.05      $19.50
             Operations
May 2019     Business               05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)            0.8 0.0090909          $3.55
             Operations
May 2019     Business               05/17/19 ED          390 calls with accountant regarding reports (.3)                                                         0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                0.5 0.0056818          $2.22
             Operations                                      accountants (.5)
May 2019     Business               05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of           0.3 0.0034091          $1.33
             Operations                                      accounting reports (.3)
May 2019     Business               05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                 0.9 0.0102273          $3.99
             Operations                                      accounting reports (.9)
May 2019     Business               05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     4.6 0.0522727         $20.39
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     6.4 0.0727273         $28.36
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with         10.8 0.1227273         $47.86
             Operations                                      accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                             Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019     Business               05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364        $29.69
             Operations                                      accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019     Business               05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545        $11.82
             Operations
May 2019     Business               05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364         $0.30
             Operations
May 2019     Business               05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636        $33.68
             Operations                                      with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business               05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909        $18.17
             Operations
May 2019     Business               05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818         $0.80
             Operations                                      conferences with E. Duff regarding same.
May 2019     Business               05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
             Operations
May 2019     Business               05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
             Operations                                      reports (3.4).
May 2019     Business               05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
             Operations
May 2019     Business               05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
             Operations
May 2019     Business               05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
             Operations                                      and conferences with E. Duff regarding same.
May 2019     Business               05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations
May 2019     Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
             Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019     Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
             Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business               05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989         $0.90
             Operations


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Business               05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)            0.4 0.0045977         $1.79
             Operations
May 2019     Business               05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of          0.9 0.0103448         $4.03
             Operations                                      accounting reports (.9)
May 2019     Business               05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                         0.5 0.0057471         $2.24
             Operations
May 2019     Business               05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April             0.5 0.0057471         $2.24
             Operations                                      accounting reports (.5)
May 2019     Business               05/30/19 ED          390 and property manager (.8)                                                                             0.8 0.0091954         $3.59
             Operations
May 2019     Business               05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).             1.0 0.0114943         $4.48
             Operations
May 2019     Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                     0.1 0.0009709         $0.14
             Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
May 2019     Business               05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                 0.2 0.0022989         $0.90
             Operations                                      required for April accounting reports (.2)
May 2019     Claims                 05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)             0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                 05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                  5.6 0.0643678        $25.10
             Administration                                  accounting reports (5.6)
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                              0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
             Administration                                  documents (5.0)
             & Objections




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                  accounting reports (.4).
             & Objections

May 2019     Claims                 05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                 05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
             Disposition                                     exchange various correspondence relating to same (.4)
June 2019    Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
             Disposition                                     timing (.2)
June 2019    Asset                  06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
             Disposition                                     with lenders counsel (.1)
June 2019    Asset                  06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
             Disposition                                     regarding same (.6)
June 2019    Asset                  06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
             Disposition
June 2019    Asset                  06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966         $2.69
             Disposition                                     and study revised credit bid procedures (.6)
June 2019    Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)             0.2 0.0028571         $1.11
             Disposition
June 2019    Asset                  06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977         $1.79
             Disposition




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
June 2019    Asset                  06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with              0.7    0.008046       $3.14
             Disposition                                     M. Rachlis.
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                            0.2 0.0019802         $0.77
             Disposition
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                               0.5       0.005       $1.95
             Disposition
June 2019    Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and            0.2 0.0039216         $1.53
             Disposition                                     potential for new grouping to list for sale (.2)
June 2019    Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                  0.3       0.003       $1.17
             Operations
June 2019    Business               06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties            0.5 0.0057471         $2.24
             Operations                                      (.5)
June 2019    Business               06/05/19 KBD         390 study correspondence from and exchange correspondence with property manager regarding              0.2 0.0666667        $26.00
             Operations                                      payment of management expenses for properties (5450 Indiana, 6951 Merrill, and 7625 East
                                                             End) (.2)
June 2019    Business               06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure          0.1 0.0011494         $0.45
             Operations                                      relating to credit bid issue (.1)
June 2019    Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                         0.1 0.0009346         $0.36
             Operations
June 2019    Business               06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                0.2 0.0019608         $0.76
             Operations                                      transfer of funds (.2)
June 2019    Business               06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                 0.1 0.0009709         $0.38
             Operations
June 2019    Business               06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy              0.4 0.0038835         $1.51
             Operations                                      renewal (.4)
June 2019    Business               06/12/19 KBD         390 study property manager financial reporting (.4)                                                    0.4     0.00625       $2.44
             Operations
June 2019    Business               06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                   0.2 0.0019608         $0.76
             Operations
June 2019    Business               06/14/19 KBD         390 study property manager financial reporting (.3).                                                   0.3 0.0046875         $1.83
             Operations
June 2019    Business               06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                   0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding               0.4 0.0045977         $1.79
             Operations                                      same (.4).
June 2019    Business               06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence              0.4 0.0037383         $1.46
             Operations                                      with J. Rak regarding same (.4)
June 2019    Business               06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                0.2 0.0019608         $0.76
             Operations                                      correspondence (.2)
June 2019    Business               06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue            0.3 0.0033333         $1.30
             Operations                                      (.3).




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/10/19 KBD             390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                      lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                        date (.3)

June 2019    Claims                 06/10/19 KBD             390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
             Administration                                      lender's counsel regarding credit bid procedures (.3)
             & Objections

June 2019    Claims                 06/10/19 KBD             390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                      various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                 06/11/19 KBD             390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                      revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                 06/14/19 KBD             390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                 06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                 06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                 0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                 06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit              0.2 0.0022989         $0.90
             Administration                                      bid procedures (.2)
             & Objections

June 2019    Claims                 06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                     1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                           3.7 0.0345794         $4.84
             Disposition




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
             Disposition
June 2019    Asset                  06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652         $3.07
             Disposition
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                  06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                         of proposed credit bidding procedures (2.1)
June 2019    Asset                  06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                  06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                         procedures and provide comments to team regarding same (.2)
June 2019    Asset                  06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                  06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/26/19 JR              140 Work on sixth motion to approve sale with A. Porter (1.5)                                               1.5 0.0416667         $5.83
             Disposition
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
             Disposition




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2019    Asset                  06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                               2.5 0.0277778        $10.83
             Disposition
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other             1.8 0.0166667         $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Asset                  06/28/19 JR              140 draft checklist for the fourth and fifth tranche (2.6).                                               2.6 0.0742857        $10.40
             Disposition
June 2019    Business               06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862         $7.17
             Operations                                          and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                 same (2.4)
June 2019    Business               06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
             Operations
June 2019    Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
             Operations
June 2019    Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
             Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
             Operations                                          liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                 regarding same (.4)
June 2019    Business               06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
             Operations                                          property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business               06/10/19 ED              390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023      $21.07
             Operations                                          regarding allocation of funds (4.7)
June 2019    Business               06/10/19 ED              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/10/19 ED              390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/11/19 ED              390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
             Operations
June 2019    Business               06/11/19 NM              260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966         $1.79
             Operations                                          and payment of expenses from same and from Receiver's account (.6).
June 2019    Business               06/13/19 ED              390 review information from property manager regarding application of funds from Receivership             1.0 0.0114943         $4.48
             Operations                                          to property accounts (1.0)
June 2019    Business               06/13/19 ED              390 email correspondence with property manager (.9) regarding same.                                       0.9 0.0103448         $4.03
             Operations




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/13/19 ED          390 confer with M. Rachlis (.2)                                                                            0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                 0.1 0.0009709         $0.14
             Operations                                      payment for same (.1).
June 2019    Business               06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                  0.2 0.0022989         $0.90
             Operations                                      property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business               06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
             Operations
June 2019    Business               06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
             Operations                                      respond to letters received from lender (.3)
June 2019    Business               06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
             Operations
June 2019    Business               06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                      regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business               06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                      manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business               06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                      accounting reports (1.0)
June 2019    Business               06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business               06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business               06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                      premiums relating to sold properties (.1)


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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/26/19 ED              390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                          accounts receivables (.2).
June 2019    Business               06/27/19 ED              390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Business               06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Claims                 06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                      reporting (.6)
             & Objections

June 2019    Claims                 06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                      Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                 06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                 06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                      and priorities relating to lenders claims (1.2)
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Claims                 06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                  and questions relating to Receiver's accounting reports.
             & Objections

June 2019    Claims                 06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
             Administration                                  ended April 2019 (.3)
             & Objections

June 2019    Claims                 06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
             Administration                                  accounting reports to lenders (.2).
             & Objections

June 2019    Claims                 06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                  email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                 06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                    0.8 0.0089888         $2.34
             Administration                                  questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                 06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                          0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                        0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 Attention to claims related issues (.7)                                                              0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 prepare for (1.2)                                                                                    1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                 06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                         0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining          0.2       0.002       $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same              0.2       0.002       $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                             0.3 0.0034483         $1.34
             Disposition
July 2019    Asset                  07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs             0.1 0.0011494         $0.45
             Disposition                                     (.1).
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                  0.2       0.002       $0.78
             Disposition
July 2019    Asset                  07/30/19 KBD         390 study correspondence from A. Porter relating to various issues regarding sixth tranche of            0.2 0.0055556         $2.17
             Disposition                                     properties for sale (.2).
July 2019    Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                         0.2       0.002       $0.78
             Disposition
July 2019    Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                          0.3 0.0029412         $1.15
             Operations
July 2019    Business               07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                0.2       0.002       $0.78
             Operations                                      property manager (.2).




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Business               07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
             Operations
July 2019    Business               07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
             Operations                                      communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business               07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                      and priority of property sales (.1)
July 2019    Business               07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                      E. Duff (.2)
July 2019    Business               07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business               07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
             Operations                                      regarding same (2.5)
July 2019    Business               07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business               07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence            0.5    0.009434       $3.68
             Operations                                      with M. Rachlis regarding same (.5)
July 2019    Business               07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                        1.1 0.0207547         $8.09
             Operations
July 2019    Business               07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent                 0.2 0.0037736         $1.47
             Operations                                      restoration (.2)
July 2019    Business               07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                      payment for insurance (.2)
July 2019    Business               07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
             Operations
July 2019    Claims                 07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)               1.9 0.0218391         $8.52
             Administration
             & Objections




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708         $1.31
             Administration                                  discussions before the Court (.3)
             & Objections

July 2019    Claims                 07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                0.3 0.0034483         $1.34
             Administration                                  regarding same (.3).
             & Objections

July 2019    Claims                 07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                 0.6 0.0067416         $2.63
             Administration                                  information, and case law (.6)
             & Objections

July 2019    Claims                 07/22/19 KBD         390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                 0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/23/19 KBD         390 revise motion for use of sales proceeds for rent restoration (.8)                                   0.8 0.0150943         $5.89
             Administration
             & Objections

July 2019    Claims                 07/23/19 KBD         390 draft correspondence to and office conference with E. Duff regarding same (.2).                     0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                 07/30/19 KBD         390 telephone conferences and exchange correspondence with real estate broker regarding                 0.2 0.0018519         $0.72
             Administration                                  lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP         390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                   1.3 0.0146067         $5.70
             Disposition




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2019    Asset                  07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19            1.6 0.0179775         $7.01
             Disposition                                         order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)            1.4 0.0138614         $1.94
             Disposition
July 2019    Asset                  07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                       1.1 0.0123596         $4.82
             Disposition
July 2019    Asset                  07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                       0.5    0.005618       $2.19
             Disposition
July 2019    Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                          1.5 0.0238095         $3.33
             Disposition
July 2019    Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on                0.1 0.0015873         $0.22
             Disposition                                         all properties for property manager (.1)
July 2019    Asset                  07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                             1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                  07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts               1.2 0.0136364         $5.32
             Disposition                                         regarding same.
July 2019    Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                 0.5 0.0079365         $1.11
             Disposition                                         and resend (.5)
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                       1.9       0.019       $2.66
             Disposition
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                                1.8       0.018       $2.52
             Disposition
July 2019    Asset                  07/15/19 JR              140 exchange correspondence with K. Duff regarding assessment notices for various properties                0.3 0.0428571         $6.00
             Disposition                                         and forward to A. Porter and real estate broker (.3)
July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408         $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804         $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                 0.2 0.0022989         $0.90
             Disposition                                         institutional lenders (.2).
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258         $0.45
             Disposition
July 2019    Asset                  07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129         $0.23
             Disposition
July 2019    Asset                  07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645         $1.13
             Disposition                                         notice of motion, and electronically file same (.5)
July 2019    Asset                  07/28/19 AEP             390 distribute draft motion to team and prepare e-mail regarding remaining unresolved issues                0.3 0.0083333         $3.25
             Disposition                                         (.3).
July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
             Disposition


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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019    Asset                  07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties             1.3 0.0146067         $5.70
             Disposition                                         potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)

July 2019    Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and              1.4 0.0137255         $5.35
             Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019    Asset                  07/30/19 JR              140 Exchange correspondence with surveying company regarding types of building pertaining to                 0.1 0.0027778         $0.39
             Disposition                                         survey request (.1)
July 2019    Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                                0.1       0.001       $0.39
             Operations
July 2019    Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                    0.1       0.001       $0.39
             Operations                                          payment of real estate taxes (.1)
July 2019    Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                  0.2 0.0019608         $0.76
             Operations                                          coming due (.2)
July 2019    Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial                  0.2 0.0019608         $0.76
             Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                 costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                              0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                        0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                         1.1 0.0107843         $4.21
             Operations
July 2019    Business               07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002       $0.78
             Operations
July 2019    Business               07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007       $2.73
             Operations                                          Rachlis and J. Rak regarding same (.7).
July 2019    Business               07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002       $0.52
             Operations                                          property status (.2).
July 2019    Business               07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
             Operations                                          water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                 the same.
July 2019    Business               07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/18/19 AW              140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
             Operations




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2019    Business               07/18/19 MR          390 Work on issues on rent restoration (.6)                                                                0.6 0.0113208         $4.42
             Operations
July 2019    Business               07/19/19 AW          140 follow up with K. Duff regarding same (.1)                                                             0.1 0.0009804         $0.14
             Operations
July 2019    Business               07/23/19 ED          390 review of June financial reporting from property managers (.4)                                         0.4       0.004       $1.56
             Operations
July 2019    Business               07/25/19 ED          390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)           0.2       0.002       $0.78
             Operations
July 2019    Business               07/25/19 KMP         140 Prepare wire transfer request form for payment of insurance premium financing agreement,               0.4 0.0039216         $0.55
             Operations                                      and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/25/19 MR          390 Attention to rent restoration motion (.4)                                                              0.4 0.0075472         $2.94
             Operations
July 2019    Business               07/25/19 NM          260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                0.2 0.0037736         $0.98
             Operations                                      serving the same (.2)
July 2019    Business               07/25/19 NM          260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for              1.0 0.0188679         $4.91
             Operations                                      rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019    Business               07/29/19 MR          390 Prepare for upcoming hearing.                                                                          0.4 0.0075472         $2.94
             Operations
July 2019    Business               07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                  0.3 0.0029412         $1.15
             Operations
July 2019    Claims                 07/01/19 ED          390 email to accountant regarding same (.4).                                                               0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership                      1.4    0.016092       $6.28
             Administration                                  expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                 07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                                      0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting                 0.2 0.0022989         $0.90
             Administration                                  reports to lenders.
             & Objections

July 2019    Claims                 07/10/19 ED          390 email correspondence with accountants (.6)                                                             0.6 0.0068966         $2.69
             Administration
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                           Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                            Task Hours
  Month                                       Keeper                                                                                                            Hours        Fees
July 2019    Claims                 07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                  0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                 0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                    0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 review and analysis of relevant documents (1.1)                                            1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and email correspondence confirming next steps (.3)                                        0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments          0.2 0.0022989         $0.90
             Administration                                  attributable to properties (.2)
             & Objections

July 2019    Claims                 07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)               1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/14/19 ED          390 email accountant regarding same (.2)                                                       0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/15/19 ED          390 Further review of draft accounting reports (.5)                                            0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                   4.2 0.0482759        $18.83
             Administration
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                  to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                 07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                  information and instructions for same (.3)
             & Objections

July 2019    Claims                 07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
             Administration                                  preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                 07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                  (.8)
             & Objections

July 2019    Claims                 07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/19/19 ED          390 Email correspondence with A. Watychowicz regarding preparation of May accounting                    0.1 0.0011494         $0.45
             Administration                                  reports to lenders (.1)
             & Objections

July 2019    Claims                 07/22/19 ED          390 and confer with K. Duff regarding same (1.1)                                                        1.1 0.0126437         $4.93
             Administration
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019    Claims                 07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                           0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of                  0.5 0.0057471         $2.24
             Administration                                      real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                 07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                    2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
             Administration                                      reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                 07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                 07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                      accounting reports (.9)
             & Objections

July 2019    Claims                 07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
             Administration
             & Objections




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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                    0.4 0.0045977         $1.79
             Administration                                  accounting reports to lenders (.4)
             & Objections

August 2019 Asset                   08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).           0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD         390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).           0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                   08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest          0.1       0.001       $0.39
            Disposition                                      in properties (.1)
August 2019 Asset                   08/12/19 KBD         390 telephone conference with real estate broker and A. Porter regarding lender                         0.1 0.0011494         $0.45
            Disposition                                      communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                   08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                  0.3       0.003       $1.17
            Disposition                                      marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                  1.5 0.0172414         $6.72
            Disposition                                      credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                             (1.5).
August 2019 Asset                   08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                       0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing           0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Asset                   08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                 0.3       0.003       $1.17
            Disposition
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                 0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/12/19 KBD         390 study property manager financial reporting (.3).                                                    0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                       0.1       0.001       $0.39
            Operations
August 2019 Business                08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).             0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                 0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                         0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                     0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.            0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                     0.5       0.005       $1.95
            Operations
August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                                0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and              1.5 0.0172414         $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions               4.3 0.0494253        $19.28
            Administration                                   (4.3)
            & Objections

August 2019 Claims                  08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                         2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing               0.2 0.0022989         $0.90
            Administration                                   issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                            0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD         390 exchange correspondence regarding credit bid from lender (.2).                                        0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD         390 exchange correspondence regarding communications with lender's counsel regarding credit               0.2 0.0022989         $0.90
            Administration                                   bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/31/19 KBD         390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                        0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                   08/03/19 AEP         390 review and inventory survey orders received for all Tranche 06 properties and update                  0.3 0.0083333         $3.25
            Disposition                                      portfolio spreadsheet with pricing information (.3)
August 2019 Asset                   08/03/19 AEP         390 read e-mails from title underwriter and surveyor requesting additional information regarding          0.4 0.0111111         $4.33
            Disposition                                      timetable for receipt of title commitments and surveys and prepare responses to both (.4).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Asset                   08/05/19 AEP             390 miscellaneous correspondence with title company regarding potential updating of title                  0.1 0.0027778         $1.08
            Disposition                                          commitments on properties in next tranches of marketing and sales (.1).
August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102       $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                           0.2       0.002       $0.28
            Disposition
August 2019 Asset                   08/13/19 AW              140 Attention to marked up draft of sixth motion for approval of sale process, scan, and email to          0.1 0.0027778         $0.39
            Disposition                                          A. Porter.
August 2019 Asset                   08/20/19 JR              140 exchange correspondence with the surveyor pertaining to contact information for property               0.3 0.0073171         $1.02
            Disposition                                          manager and providing management companies for various properties (.3)

August 2019 Asset                   08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                   0.3 0.0056604         $1.47
            Disposition                                          rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                   08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                                   0.2 0.0037736         $1.47
            Disposition
August 2019 Asset                   08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff              1.0 0.0188679         $4.91
            Disposition                                          regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for               0.2       0.002       $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                  1.3       0.013       $1.82
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                            0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                         0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).                 0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                  0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                                0.7       0.007       $2.73
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                          0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                      0.8       0.008       $3.12
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                                  1.2       0.012       $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).                0.1 0.0009804         $0.14
            Operations




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  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
August 2019 Claims                  08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                 0.8 0.0091954          $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989          $0.90
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046        $3.14
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483          $1.34
            Administration                                       documents (.3)
            & Objections

August 2019 Claims                  08/05/19 AW              140 attention to payment demand from institutional lender and forward same to K. Duff (.1).            0.1         0.05       $7.00
            Administration
            & Objections

August 2019 Claims                  08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471          $0.80
            Administration                                       accounting firm (.5).
            & Objections

August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356          $4.02
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471          $0.80
            Administration
            & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                  Hours        Fees
August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                       0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in          0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                         0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 call with accountant regarding same (.1)                                                         0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                              0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED              390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)             0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED              390 and email correspondence with accountant regarding comments (.6)                                 0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED              390 review drafts of June accounting reports to lenders (3.2)                                        3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR              390 attention to credit bid issues and follow up regarding same (.8).                                0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED              390 email correspondence with accountant regarding review of June receivership expenditures          0.4 0.0045977         $1.79
            Administration                                       for inclusion in June accounting reports to lenders (.4)
            & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related            2.7 0.0310345        $12.10
            Administration                                   documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                           0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                  08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                          0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).          1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                              2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                    0.6 0.0068966         $2.69
            Administration                                   content of reports (.6)
            & Objections

August 2019 Claims                  08/19/19 ED          390 and review revised reports (3.9)                                                                   3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR          390 attention to order on credit bids and conferences regarding same (.3)                              0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR          390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and              3.5 0.0402299        $15.69
            Administration                                   follow up regarding same (3.5)
            & Objections

August 2019 Claims                  08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                     1.1 0.0123596         $1.73
            Administration
            & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
August 2019 Claims                  08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236          $0.16
            Administration                                   follow up (.1)
            & Objections

August 2019 Claims                  08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931          $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989          $0.90
            Administration                                   accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                  08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                  08/25/19 ED          390 review of claims filed (5430 S Indiana, 7749 S Yates) (.9).                                            0.9         0.45     $175.50
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494          $0.45
            Administration                                   amounts
            & Objections

August 2019 Claims                  08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483          $1.34
            Administration                                   reports to lenders (.3)
            & Objections

August 2019 Claims                  08/28/19 ED          390 email correspondence with accountant (.6)                                                              0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                  08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                  08/30/19 AW          140 attention to email and records from vendor transmitting proof of claim forms against                   1.2          0.6      $84.00
            Administration                                   properties (5450 S Indiana and 7749 S Yates) (1.2).
            & Objections

September Asset                     09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356         $11.21
2019      Disposition                                        bidding, and hearing before Judge Lee (2.5).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
September    Asset                  09/04/19 KBD             390 Study analysis of current properties for sale and status of credit bidding (.2)                     0.2 0.0022989         $0.90
2019         Disposition
September    Asset                  09/06/19 KBD             390 Telephone conference with and study various correspondence from real estate broker                  0.3 0.0034483         $1.34
2019         Disposition                                         regarding sales contracts and communications relating to credit bidding (.3)

September    Asset                  09/23/19 KBD             390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                         3.7 0.0362745        $14.15
2019         Disposition
September    Business               09/11/19 KBD             390 study property manager financial reports (.3)                                                       0.3 0.0046875         $1.83
2019         Operations
September    Business               09/13/19 KBD             390 Study financial records and correspondence regarding rent restoration and confer with E.            0.4 0.0045977         $1.79
2019         Operations                                          Duff regarding property financial reporting.
September    Business               09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                   0.1 0.0009804         $0.38
2019         Operations
September    Claims                 09/01/19 KBD             390 Study correspondence from A. Porter regarding credit bid (.1)                                       0.1 0.0011494         $0.45
2019         Administration
             & Objections

September Claims                    09/03/19 KBD             390 Telephone conference and exchange correspondence with broker regarding credit bids and              0.3 0.0034483         $1.34
2019      Administration                                         communications with potential purchasers (.3)
          & Objections

September Claims                    09/10/19 KBD             390 telephone conference with real estate broker regarding credit bids and communications with          0.2 0.0022989         $0.90
2019      Administration                                         lenders representatives regarding same (.2).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from A. Porter regarding language in purchase and sale agreement for           0.1 0.0011494         $0.45
2019      Administration                                         credit bid (.1).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                0.1 0.0011494         $0.45
2019      Administration
          & Objections

September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding            2.5 0.0245098         $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                        0.3 0.0029412         $1.15
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                      0.3       0.003       $0.42
2019         Disposition
September    Business               09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                     0.2 0.0022989         $0.90
2019         Operations
September    Business               09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                      0.3 0.0034483         $1.34
2019         Operations


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
September Business                  09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                  0.4 0.0039216         $0.55
2019      Operations                                             finance company for payment on insurance premium finance agreement (.4)

September    Business               09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                      0.2 0.0022989         $0.32
2019         Operations
September    Business               09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July                3.3 0.0383721         $5.37
2019         Operations                                          2019 (3.3)
September    Business               09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                             0.2 0.0022989         $0.32
2019         Operations
September    Business               09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989         $0.90
2019         Operations
September    Business               09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471         $2.24
2019         Operations
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505         $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431         $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216         $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September    Business               09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977         $1.79
2019         Operations
September    Business               09/25/19 ED              390 review of financial reporting records (.7)                                                               0.7    0.008046       $3.14
2019         Operations
September    Claims                 09/01/19 MR              390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483         $1.34
2019         Administration                                      lender.
             & Objections

September Claims                    09/10/19 ED              390 Preliminary review of draft accounting reports to lenders (.2)                                           0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED              390 and confer with J. Rak regarding same (.1)                                                               0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/10/19 ED              390 email correspondence with accountant regarding (.4)                                                      0.4 0.0045977         $1.79
2019      Administration
          & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding            0.1 0.0011494         $0.45
2019      Administration                                     payment of outstanding real estate taxes (.1).
          & Objections

September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                         0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into               0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                               1.1 0.0207547         $8.09
2019      Administration
          & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
September Claims                    09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                    0.1 0.0018868         $0.74
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                             1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)          0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                    1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                       1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                     0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                          1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                              0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                       0.2 0.0022989         $0.90
2019      Administration
          & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
September Claims                    09/20/19 ED              390 Send July accounting reports to lenders' counsel (1.2)                                                1.2 0.0137931          $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED              390 draft revisions to form of monthly Receiver's property report to lenders (.4)                         0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                    09/22/19 ED              390 Analysis of operating expenses.                                                                       1.5 0.0172414          $6.72
2019      Administration
          & Objections

October      Asset                  10/04/19 KBD             390 Telephone conference with real estate broker regarding court ruling on sales and credit               0.2 0.0022989          $0.90
2019         Disposition                                         bidding and planning for further sales.
October      Asset                  10/16/19 KBD             390 Exchange various correspondence and telephone conference with real estate broker                      1.0 0.0114943          $4.48
2019         Disposition                                         regarding various property sales and credit bidding (1.0)
October      Asset                  10/17/19 KBD             390 Analysis of potential sale opportunity.                                                               0.2 0.0022472          $0.88
2019         Disposition
October      Asset                  10/26/19 KBD             390 Study updated portfolio summary and correspondence from real estate broker relating to                0.3 0.0033708          $1.31
2019         Disposition                                         same.
October      Business               10/07/19 KBD             390 study property manager financial reporting (.3).                                                      0.3 0.0046875          $1.83
2019         Operations
October      Business               10/07/19 KBD             390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                  0.8 0.0078431          $3.06
2019         Operations
October      Business               10/10/19 KBD             390 Draft correspondence to J. Rak regarding real estate tax analysis.                                    0.1 0.0009804          $0.38
2019         Operations
October      Business               10/15/19 KBD             390 study financial reporting from property manager (.3).                                                 0.3 0.0046875          $1.83
2019         Operations
October      Claims                 10/10/19 KBD             390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to           0.3 0.0034483          $1.34
2019         Administration                                      sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Asset                  10/04/19 AEP             390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding            0.3 0.0034483          $1.34
2019         Disposition                                         procedures (.3)
October      Asset                  10/04/19 MR              390 Attention to order on objections to sales (.4)                                                        0.4 0.0045977          $1.79
2019         Disposition
October      Asset                  10/11/19 AEP             390 review survey of receivership property (5450 S Indiana) and transmit corrections to surveyor          0.2          0.2      $78.00
2019         Disposition                                         (.2)
October      Asset                  10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                        0.3 0.0034884          $0.49
2019         Disposition
October      Asset                  10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank               3.2 0.0372093          $5.21
2019         Disposition                                         statement and compare (3.2).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                0.4 0.0039216         $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future             0.4     0.00625       $2.44
2019         Disposition                                         closings (.4)
October      Asset                  10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                       1.2 0.0137931         $5.38
2019         Disposition
October      Business               10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with               0.4 0.0045977         $1.79
2019         Operations                                          accountant regarding same.
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412         $1.15
2019         Operations
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039         $3.82
2019         Operations
October      Business               10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August              0.6 0.0068182         $2.66
2019         Operations                                          property reports.
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522         $2.89
2019         Operations                                          can pay out of current net operating income (1.9)
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739         $0.30
2019         Operations
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303         $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.              0.5 0.0057471         $2.24
2019         Operations
October      Business               10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and           3.1 0.0360465         $5.05
2019         Operations                                          also compare funds sent to property manager from receivers' account.

October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002       $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006       $0.84
2019         Operations
October      Business               10/22/19 JR              140 Finalize financial reports for receivership.                                                         1.4 0.0162791         $2.28
2019         Operations
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           0.9 0.0087379         $1.22
2019         Operations                                          same.
October      Business               10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                 1.3 0.0149425         $5.83
2019         Operations
October      Business               10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income            0.8 0.0091954         $3.59
2019         Operations                                          and expenditures (.8).
October      Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                 0.3 0.0029412         $0.41
2019         Operations                                          agreement and conferences with K. Duff and bank representative relating to same.




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
October      Claims                 10/10/19 NM          260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid               0.4 0.0045977         $1.20
2019         Administration                                  issue (.4).
             & Objections

October      Claims                 10/17/19 ED          390 confer with J. Rak regarding same (.2).                                                               0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/17/19 ED          390 Preliminary review of August accounting reports to lenders (1.5)                                      1.5 0.0174419         $6.80
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 update transmittal messages to lenders' counsel (1.6)                                                 1.6 0.0183908         $7.17
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                            2.8 0.0325581        $12.70
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019         Administration                                  September (1.2)
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October      Claims                 10/29/19 ED              390 and email correspondence with accountant regarding preparation of September property                 0.2 0.0023256         $0.91
2019         Administration                                      reports (.2).
             & Objections

November     Asset                  11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                0.2 0.0020833         $0.81
2019         Disposition
November     Asset                  11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                         0.2 0.0021739         $0.85
2019         Disposition
November     Asset                  11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                            0.3 0.0032258         $1.26
2019         Disposition
November     Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and              0.2 0.0019608         $0.76
2019         Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                 improvements for remaining properties in portfolio (.2)
November     Business               11/05/19 KBD             390 analysis of same (.2).                                                                               0.2 0.0019608         $0.76
2019         Operations
November     Business               11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                 0.2 0.0032787         $1.28
2019         Operations
November     Business               11/12/19 KBD             390 study property manager reports (.6).                                                                 0.6 0.0098361         $3.84
2019         Operations
November     Business               11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence             0.4 0.0042105         $1.64
2019         Operations                                          with E. Duff regarding same (.4)
November     Business               11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                 0.2 0.0021053         $0.82
2019         Operations                                          insurance and expenses (.2)
November     Business               11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding           0.3 0.0031579         $1.23
2019         Operations                                          same (.3)
November     Business               11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,            0.2 0.0021053         $0.82
2019         Operations                                          and planning (.2)
November     Asset                  11/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                         0.6 0.0166667         $2.33
2019         Disposition
November     Asset                  11/06/19 JR              140 continue to work and review the sixth motion to approve sale (3.7)                                   3.7 0.1027778        $14.39
2019         Disposition
November     Asset                  11/08/19 JR              140 review and update to the sixth motion to approve the sales process (1.0)                             1.0 0.0277778         $3.89
2019         Disposition
November     Asset                  11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties           0.4 0.0043478         $1.70
2019         Disposition                                         (.4).
November     Asset                  11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                             0.9 0.0104651         $1.47
2019         Disposition
November     Asset                  11/23/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties           5.8 0.1611111        $62.83
2019         Disposition                                         and prepare sixth motion for approval of sales process (5.8)
November     Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership            2.8 0.0294737        $11.49
2019         Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)




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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November     Asset                  11/24/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties               1.5 0.0416667        $16.25
2019         Disposition                                         subject to loans extended by certain lenders and prepare first draft of anticipated motions
                                                                 for approval of sales process.
November     Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019         Disposition
November     Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019         Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November     Asset                  11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674         $2.77
2019         Disposition
November     Asset                  11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019         Disposition                                         information that is required for future sales of properties (.2).
November     Asset                  11/29/19 AEP             390 Consolidate drafts of sixth, seventh, eighth, and ninth motions to approve sales into single             2.2 0.0814815        $31.78
2019         Disposition                                         consolidated motion and conform all allegations for consistency.
November     Asset                  11/30/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by completing title                   5.5 0.1527778        $59.58
2019         Disposition                                         searches on all properties encumbered by mortgages in favor of certain secured lenders,
                                                                 assembling information pertaining to acquisitions and dispositions, updating portfolio
                                                                 spreadsheet, and enumerating relevant factual allegations as paragraphs in motion.

November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                          reports (.4)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations
November     Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681         $3.43
2019         Operations                                          been sold.
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019         Operations
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019         Operations                                          information for review (.3)




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                     0.7 0.0067961          $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                 2.8 0.0271845          $3.81
2019         Operations                                          (2.8).
November     Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)            0.6 0.0066667          $0.93
2019         Operations
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                   0.4 0.0038835          $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                0.5 0.0048544          $1.89
2019         Administration                                      (.5).
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                            3.8 0.0368932         $14.39
2019         Administration
             & Objections

December     Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                  0.1 0.0010526          $0.41
2019         Operations
December     Business               12/06/19 KBD             390 evaluate properties for potential repair, improvement, sale, and timing considerations and            0.3 0.0333333         $13.00
2019         Operations                                          study information from asset manager regarding same (.3)
December     Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance               0.1 0.0010526          $0.41
2019         Operations                                          premium payment (.1)
December     Business               12/06/19 KBD             390 draft correspondence to property manager regarding same (.2)                                          0.2 0.0222222          $8.67
2019         Operations
December     Business               12/09/19 KBD             390 study information and correspondence from property manager regarding potential repair                 0.3         0.03      $11.70
2019         Operations                                          and improvements (.3).
December     Business               12/10/19 KBD             390 study property manager financial reporting (.5)                                                       0.5 0.0081967          $3.20
2019         Operations
December     Business               12/11/19 KBD             390 Evaluate potential property repair and improvements and correspond with property                      0.5 0.0384615         $15.00
2019         Operations                                          managers and asset manager regarding same (.5)
December     Business               12/12/19 KBD             390 Exchange correspondence with property manager regarding potential improvements (.1)                   0.1 0.0111111          $4.33
2019         Operations
December     Business               12/19/19 KBD             390 exchange correspondence with property manager and asset manager regarding property                    0.2 0.0222222          $8.67
2019         Operations                                          repairs (.2).
December     Business               12/20/19 KBD             390 exchange correspondence with property manager and asset manager regarding property                    0.2          0.2      $78.00
2019         Operations                                          repairs (5450 Indiana) and study information relating to same (.2)
December     Business               12/23/19 KBD             390 Exchange correspondence with property manager and asset manager regarding repair work                 0.2          0.1      $39.00
2019         Operations                                          (5450 Indiana, 816 Marquette).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
December     Asset                  12/01/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by finalizing title                    4.2 0.1166667         $45.50
2019         Disposition                                         searches on all lender-specific properties, assembling information pertaining to all
                                                                 acquisitions, dispositions, refinancings, and mortgage releases, and grouping factual
                                                                 allegations.
December     Asset                  12/03/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to                0.2 0.0055556          $2.17
2019         Disposition                                         approve sales (.2)
December     Asset                  12/04/19 JR              140 telephone conference with A. Porter relating to the 6th motion to approve sale (.3)                       0.3 0.0083333          $1.17
2019         Disposition
December     Asset                  12/04/19 JR              140 assist in drafting sixth motion to approve sale process (5.3).                                            5.3 0.1472222         $20.61
2019         Disposition
December     Asset                  12/05/19 AEP             390 make major structural changes to sixth motion to approve sales (.9).                                      0.9       0.025        $9.75
2019         Disposition
December     Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                       0.2 0.0021053          $0.29
2019         Disposition
December     Asset                  12/05/19 JR              140 review and update sixth motion to approve sale (4.7)                                                      4.7 0.1305556         $18.28
2019         Disposition
December     Asset                  12/06/19 AEP             390 begin researching title histories of all properties and compiling new exhibits for inclusion in           0.7 0.0194444          $7.58
2019         Disposition                                         sixth motion to approve sales (.7).
December     Asset                  12/06/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to                0.2 0.0055556          $2.17
2019         Disposition                                         approve and status of due diligence and financing contingency dates for properties currently
                                                                 under contract (.2)
December     Asset                  12/06/19 AEP             390 Teleconference with J. Rak regarding exhibits to sixth motion to approve sales and edits and              0.6 0.0166667          $6.50
2019         Disposition                                         revisions thereto (.6)
December     Asset                  12/06/19 JR              140 Further review of the sixth motion to approve sale (3.7)                                                  3.7 0.1027778         $14.39
2019         Disposition
December     Asset                  12/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                              0.6 0.0166667          $2.33
2019         Disposition
December     Asset                  12/07/19 AEP             390 Continue researching title histories of all properties, including conveyances to and from third-          3.4 0.0944444         $36.83
2019         Disposition                                         party investors, review title commitments associated therewith, and revise all paragraphs in
                                                                 existing draft accordingly.
December     Asset                  12/08/19 AEP             390 Perform title searches on properties within sixth motion to approve sales, review title                   3.2 0.0888889         $34.67
2019         Disposition                                         commitments, edit and revise motion pertaining to property acquisition and encumbrance
                                                                 dates and recording of releases.
December     Asset                  12/08/19 JR              140 Review and update to the sixth motion to approve the sales process (1.0)                                  1.0 0.0277778          $3.89
2019         Disposition
December     Asset                  12/09/19 JR              140 review title commitments and identify assignment of partial interest in mortgage for various              3.8 0.1055556         $14.78
2019         Disposition                                         properties included in the sixth motion to approve sales process and update the motion with
                                                                 corresponding information (3.8).
December     Asset                  12/10/19 AEP             390 teleconference with receivership brokers regarding updated portfolio spreadsheet and                      0.4         0.04      $15.60
2019         Disposition                                         implication of all outstanding due diligence contingencies, financing contingencies, and
                                                                 unresolved motions on sequence of properties to be closed, as well as timing of completion
                                                                 of sixth and seventh motions to approve sales (.4).




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Asset                  12/12/19 AEP             390 teleconference with receivership brokers regarding status of currently pending sales and             0.2 0.0055556          $2.17
2019         Disposition                                         potential marketing commencement periods for properties to be included in sixth motion to
                                                                 approve (.2)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126          $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767        $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of              0.2 0.0021053          $0.82
2019         Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).
December     Asset                  12/26/19 JR              140 updates to ALTA statements for all properties under contract (1.4).                                  1.4         0.14      $19.60
2019         Disposition
December     Asset                  12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296          $4.15
2019         Disposition                                         and information (2.4).
December     Asset                  12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395         $10.20
2019         Disposition                                         organization of closing documents and the start of preparation for closings (5.9)
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796          $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105          $0.59
2019         Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835          $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526          $0.41
2019         Operations
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767        $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417          $0.76
2019         Operations                                          reports (.2)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252          $2.27
2019         Operations
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767        $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767        $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049          $6.44
2019         Administration
             & Objections

December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379          $3.41
2019         Administration                                      from properties (.9)
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                      2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to               0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                             0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and             6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).           0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/09/20 KBD             390 Exchange correspondence with A. Porter regarding motions to approve sale of remaining                 0.2 0.0055556          $2.17
2020         Disposition                                         properties (.2)
January      Asset                  01/12/20 KBD             390 Study motion to approve marketing and sales (2.2)                                                     2.2 0.0611111         $23.83
2020         Disposition
January      Asset                  01/14/20 KBD             390 Work on motion for approval of process for sale of properties with A Porter and M. Rachlis            3.1 0.0861111         $33.58
2020         Disposition                                         and analysis of various related issues (3.1)
January      Asset                  01/21/20 KBD             390 Study and revise motion for approval to sell properties and work on same with A. Porter (.6)          0.6 0.0166667          $6.50
2020         Disposition
January      Asset                  01/22/20 KBD             390 study revised consolidated motion for listing and sale of properties (.7).                            0.7 0.0194444          $7.58
2020         Disposition
January      Asset                  01/23/20 KBD             390 Study and revise combined motion for approval to list and sell properties and confer with A.          1.8         0.05      $19.50
2020         Disposition                                         Porter and M. Rachlis relating to same (1.8)
January      Asset                  01/24/20 KBD             390 Study motion for listing and sale of properties.                                                      0.5 0.0138889          $5.42
2020         Disposition
January      Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and            0.2 0.0021978          $0.86
2020         Operations                                          expense payments (.2)
January      Business               01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                 0.7    0.012069        $4.71
2020         Operations
January      Business               01/30/20 KBD             390 Work with E. Duff and A. Watychowicz regarding corporate management issue (5450                       0.3         0.15      $58.50
2020         Operations                                          Indiana, 6437 Kenwood).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process              0.3 0.0033708         $1.31
2020         Administration                                      and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                 01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                              0.9 0.0101124         $3.94
2020         Administration
             & Objections

January      Asset                  01/06/20 AEP             390 correspondence with J. Rak regarding remaining assistance required in connection with                  0.1 0.0022222         $0.87
2020         Disposition                                         finalization of three nearly-completed motions (.1).
January      Asset                  01/08/20 JR              140 assist A. Porter in review of title commitments and online searches for those whose interests          5.6 0.1244444        $17.42
2020         Disposition                                         are in various properties and review and further prepare the 5th motion to confirm sale and
                                                                 6th motion to approve sale (5.6)
January      Asset                  01/08/20 JR              140 search and add exhibits relating to same to prepare for filing (1.1).                                  1.1 0.0244444         $3.42
2020         Disposition
January      Asset                  01/09/20 AEP             390 prepare e-mail to title company regarding special exceptions requiring hold harmless letters           0.2 0.0055556         $2.17
2020         Disposition                                         and special exceptions to be included on title in connection with all properties subsumed
                                                                 within sixth motion to approve sales process (.2)
January      Asset                  01/09/20 AEP             390 prepare e-mail to receivership team regarding near-finality of sixth motion to approve sales           0.2 0.0055556         $2.17
2020         Disposition                                         and requesting assistance with lis pendens issues, preparation of notice of motion, and
                                                                 substantive analysis (.2).
January      Asset                  01/09/20 AEP             390 continue working with J. Rak on preparation of fifth motion to confirm sales and sixth motion          5.5 0.1222222        $47.67
2020         Disposition                                         to approve sales process, including review and analysis of all title commitments and
                                                                 recorded documents (5.5)
January      Asset                  01/09/20 JR              140 work with A. Porter on further review and preparation of the 5th motion to confirm sale and            5.5 0.1222222        $17.11
2020         Disposition                                         6th motion to approve sale (5.5)
January      Asset                  01/10/20 MR              390 Attention to draft motion for approval of property sales.                                              0.3 0.0083333         $3.25
2020         Disposition
January      Asset                  01/11/20 AEP             390 assemble additional exhibits in connection with sixth motion to approve sales of receivership          2.3 0.0638889        $24.92
2020         Disposition                                         property and verify all pertinent information against assertions in motion papers (2.3).

January      Asset                  01/12/20 AEP             390 Read through provisionally final sixth motion to approve sales of receivership properties and          2.7       0.075      $29.25
2020         Disposition                                         include new paragraphs, where applicable, identifying all assignees of EquityBuild mortgage
                                                                 interests.
January      Asset                  01/12/20 MR              390 Further review draft motion for approval of sales and process.                                         0.4 0.0111111         $4.33
2020         Disposition
January      Asset                  01/13/20 MR              390 Conferences regarding certificate of service issue (.1)                                                0.1 0.0027778         $1.08
2020         Disposition
January      Asset                  01/13/20 MR              390 attention to issues on draft motion for approval of sale process (.2)                                  0.2 0.0055556         $2.17
2020         Disposition
January      Asset                  01/14/20 AEP             390 work on potential revisions to sixth motion to approve marketing and sale of remaining                 3.1 0.0861111        $33.58
2020         Disposition                                         receivership properties (3.1).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
January      Asset                  01/14/20 AEP             390 prepare e-mail to title company providing detailed chain of title information for receivership          0.8 0.0222222         $8.67
2020         Disposition                                         properties subsumed within sixth motion to approve sales and requesting confirmation of
                                                                 deletion of special exceptions relating to miscellaneous mechanic's liens (.8)

January      Asset                  01/14/20 MR              390 conferences with A. Porter and K. Duff regarding motion to approve sale of remaining                    3.1 0.0861111        $33.58
2020         Disposition                                         properties (3.1).
January      Asset                  01/15/20 AEP             390 and prepare e-mail to team enclosing nearly file-ready draft with report on remaining                   0.3 0.0066667         $2.60
2020         Disposition                                         incomplete items (.3).
January      Asset                  01/15/20 AEP             390 insert all exhibit citations into motion and review corresponding exhibit for accuracy and              2.2 0.0488889        $19.07
2020         Disposition                                         completeness (2.2)
January      Asset                  01/15/20 AEP             390 Rearrange order of presentation of argument and prepare additional explanatory paragraphs               0.4 0.0111111         $4.33
2020         Disposition                                         in sixth motion for court approval of sales of receivership properties, per recommendation of
                                                                 receiver (.4)
January      Asset                  01/15/20 AW              140 reach out to claims vendor with request to assist in preparation of same and respond to                 0.1 0.0027778         $0.39
2020         Disposition                                         follow up emails (.1).
January      Asset                  01/15/20 AW              140 Confer with A. Porter regarding service list for sixth motion to approve sale process (.1)              0.1 0.0027778         $0.39
2020         Disposition
January      Asset                  01/16/20 AEP             390 inventory and review first seven batches of publicly-recorded documents received from title             0.6 0.0166667         $6.50
2020         Disposition                                         company and insert as exhibits to sixth motion to approve sales (.6).

January      Asset                  01/16/20 AEP             390 Prepare notice of sale, revise proposed judicial order, and perform inventory of exhibits in            1.2 0.0333333        $13.00
2020         Disposition                                         connection with finalization of sixth motion to approve sales of receivership properties,
                                                                 revise proposed judicial order (1.2)
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                1.2 0.0116505         $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                1.6    0.015534       $2.17
2020         Disposition
January      Asset                  01/17/20 AW              140 Attention to transfer from claims vendor of information regarding primary and secondary                 1.6 0.0444444         $6.22
2020         Disposition                                         emails of all claimants and prepare service list for sixth motion to approve sale process.

January      Asset                  01/19/20 AEP             390 Begin second pass through fifth motion to approve marketing and sales of receivership                   4.5       0.125      $48.75
2020         Disposition                                         property, adding additional properties for which due diligence and financing contingencies
                                                                 have now expired, and generally proofing, editing, and revising motion.

January      Asset                  01/20/20 AEP             390 Assemble and inventory all exhibits associated with fifth motion to approve marketing and               2.4 0.0666667        $26.00
2020         Disposition                                         sales of receivership properties, double-check all representations pertaining thereto in
                                                                 motion, and prepare additional paragraphs.
January      Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                          0.3 0.0031579         $0.44
2020         Disposition
January      Asset                  01/20/20 MR              390 Attention to motion for approval of sales and for process (.3)                                          0.3 0.0083333         $3.25
2020         Disposition
January      Asset                  01/20/20 MR              390 work on same with K. Duff (.2).                                                                         0.2 0.0055556         $2.17
2020         Disposition


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
January      Asset                  01/21/20 AEP             390 Begin consolidating sixth motion to confirm sales, fifth motion to approve marketing and                   5.1 0.1133333         $44.20
2020         Disposition                                         sales, and motion to amend Order Appointing Receiver into single motion, inventory all
                                                                 exhibits received from title company and create final list of materials still needed to
                                                                 complete the motion, and make revisions consistent with suggestions received from K. Duff
                                                                 and M. Rachlis.
January      Asset                  01/21/20 AW              140 Brief review of exhibits and near final sixth motion for approval of sale process.                         0.4 0.0111111          $1.56
2020         Disposition
January      Asset                  01/21/20 MR              390 Further review of motion and follow up on various issues regarding same (.6)                               0.6 0.0166667          $6.50
2020         Disposition
January      Asset                  01/21/20 NM              260 Correspond with courtroom deputy and receivership team regarding filing separate or                        0.3 0.0066667          $1.73
2020         Disposition                                         consolidated motions to approve next batch of sales and sales process.

January      Asset                  01/22/20 AEP             390 conduct final online searches in connection with all properties under contract and revise                  1.6 0.0355556         $13.87
2020         Disposition                                         consolidated motion as necessary (1.6)
January      Asset                  01/22/20 AEP             390 reconcile all duplicative definitions following merger of separate motions (.4)                            0.4 0.0088889          $3.47
2020         Disposition
January      Asset                  01/22/20 AEP             390 third pass through consolidated motion to ensure accuracy and consistency (2.1).                           2.1 0.0466667         $18.20
2020         Disposition
January      Asset                  01/22/20 JR              140 work with A. Porter regarding drafting a table of contents for the 6th motion to confirm sale              0.2 0.0044444          $0.62
2020         Disposition                                         and approve sale (.2)
January      Asset                  01/23/20 AEP             390 review all exhibit numbers in motion to ensure consistency in numbering and double-check                   0.8 0.0177778          $6.93
2020         Disposition                                         all exhibit documents against motion (.8)
January      Asset                  01/23/20 AEP             390 renumber all exhibits in motion to account for last-minute inclusion of additional releases                0.9         0.02       $7.80
2020         Disposition                                         (.9)
January      Asset                  01/23/20 AEP             390 discuss preparation of table of contents with J. Rak and review and edit first draft thereof (.5)          0.5 0.0111111          $4.33
2020         Disposition
January      Asset                  01/23/20 AEP             390 Prepare additional paragraphs for consolidated motion to incorporate discussions regarding                 1.3 0.0288889         $11.27
2020         Disposition                                         effect of lis pendens filed against certain properties, and to supplement introduction, to
                                                                 include reference to additional releases (1.3)
January      Asset                  01/23/20 AEP             390 read entire motion and make final edits thereto (2.3).                                                     2.3 0.0511111         $19.93
2020         Disposition
January      Asset                  01/23/20 AW              140 Review sixth motion to approve sale process and communicate with A. Porter and J. Rak                      0.6 0.0166667          $2.33
2020         Disposition                                         regarding preparation of exhibits.
January      Asset                  01/23/20 JR              140 compile all the exhibits into one document in preparation to file the motion to confirm and                2.7         0.06       $8.40
2020         Disposition                                         approve sale (2.7)
January      Asset                  01/23/20 JR              140 continue drafting the 6th motion to approve sale and draft table of contents (1.8)                         1.8         0.05       $7.00
2020         Disposition
January      Asset                  01/23/20 MR              390 work on same with K. Duff (.2).                                                                            0.2 0.0055556          $2.17
2020         Disposition
January      Asset                  01/23/20 MR              390 Attention to edits to motion for approval of sales process (.3)                                            0.3 0.0083333          $3.25
2020         Disposition
January      Asset                  01/23/20 NM              260 Study motion to approve sales and correspond with receivership team regarding same.                        0.6 0.0166667          $4.33
2020         Disposition


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Asset                  01/24/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property now under contract                 0.2 0.0044444          $1.73
2020         Disposition                                         attaching consolidated motion and advising regarding timing of potential closings (.2).

January      Asset                  01/24/20 AEP             390 make revisions to draft certificate of service (.2)                                                      0.2 0.0044444          $1.73
2020         Disposition
January      Asset                  01/24/20 AEP             390 make final revisions to table of contents to consolidated motion (.3)                                    0.3 0.0066667          $2.60
2020         Disposition
January      Asset                  01/24/20 MR              390 Attention regarding upcoming closings and motion for approval.                                           0.3 0.0066667          $2.60
2020         Disposition
January      Asset                  01/24/20 NM              260 Study motion to approve sales process and confirm sales of other properties before filing                0.3 0.0066667          $1.73
2020         Disposition                                         and correspond with A. Watychowicz regarding same (.3)
January      Asset                  01/28/20 JR              140 Telephone call with A. Porter related to encumbered title for properties under contract,                 0.6         0.06       $8.40
2020         Disposition                                         obtaining payoff letters, releases and hold harmless letters from the title company (.6)

January      Asset                  01/30/20 JR              140 review title encumbrances for various properties under contract (2.8)                                    2.8         0.28      $39.20
2020         Disposition
January      Asset                  01/31/20 JR              140 continue reviewing title encumbrances for various properties under contract (1.7)                        1.7         0.17      $23.80
2020         Disposition
January      Asset                  01/31/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                               0.1         0.01       $1.40
2020         Disposition
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 Review correspondence and documents regarding entity requirements for CHA tenants                        0.4          0.2      $78.00
2020         Operations                                          (5452 S Indiana, 6437 S Kenwood), consult with K. Duff, and call with property manager
                                                                 regarding same (.4)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020         Operations
January      Business               01/15/20 AW              140 Attention to emails regarding reinstatement of entities and communicate with K. Duff and E.              0.1         0.05       $7.00
2020         Operations                                          Duff regarding proposed changes (.1)
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/21/20 AW              140 Attention to email from property manager regarding reinstatements, check on status of                    0.2          0.1      $14.00
2020         Operations                                          reinstatements, and email regarding same.
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020         Operations
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020         Operations


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January      Business               01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                0.4 0.0042105          $0.59
2020         Operations                                          insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Business               01/24/20 AW              140 Attention to two emails from property manager regarding reinstatement of entities, check             0.2          0.1      $14.00
2020         Operations                                          the status, and respond to same.
January      Business               01/30/20 AEP             390 read e-mail correspondence regarding reinstatement of receivership entities and propose              0.2 0.0666667         $26.00
2020         Operations                                          solution to team (.2).
January      Business               01/30/20 ED              390 and draft resolutions for replacement of managers (.6)                                               0.6          0.3     $117.00
2020         Operations
January      Business               01/30/20 ED              390 confer with K. Duff and A. Watychowicz regarding steps for replacement of managers (.3)              0.3         0.15      $58.50
2020         Operations
January      Business               01/30/20 ED              390 review files from prior counsel regarding organizational documents of related entities (.4)          0.4          0.2      $78.00
2020         Operations
January      Business               01/30/20 ED              390 Review correspondence from Illinois secretary of state regarding reinstatement of two LLCs           0.5         0.25      $97.50
2020         Operations                                          and Illinois requirements to accomplish same (.5)
January      Business               01/30/20 ED              390 call with A. Porter regarding same (.2).                                                             0.2          0.1      $39.00
2020         Operations
January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                   1.6    0.015534        $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                0.4 0.0038835          $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and               1.2 0.0116505          $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/14/20 ED              390 Review objection to motion for approval of sale of real estate, and review and analysis of           0.7 0.0189189          $7.38
2020         Administration                                      related investor documents (.7)
             & Objections

January      Claims                 01/16/20 AEP             390 prepare second round of revisions to motion (.1).                                                    0.1 0.0022222          $0.87
2020         Administration
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                 0.6 0.0058252          $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417          $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252          $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961          $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417          $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718          $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126          $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631          $5.68
2020         Administration                                      remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                 01/30/20 ED              390 correspondence with asset manager regarding information requested by lender relating to                0.1         0.05      $19.50
2020         Administration                                      credit bid process (.1).
             & Objections

February     Asset                  02/04/20 KBD             390 telephone conference with real estate broker and A. Porter regarding issues and planning for           0.2         0.02       $7.80
2020         Disposition                                         upcoming listing and sale of properties (.2)
February     Asset                  02/11/20 KBD             390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222          $0.87
2020         Disposition                                         properties (.2)
February     Asset                  02/11/20 KBD             390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222          $0.87
2020         Disposition                                         title work (.2)




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February     Asset                  02/20/20 KBD         390 study correspondence from N. Mirjanich regarding properties ready to close and list for sale            0.2 0.0181818         $7.09
2020         Disposition                                     (.2)
February     Asset                  02/20/20 KBD         390 study draft proposed orders and correspondence regarding properties for sale and listing                0.2 0.0181818         $7.09
2020         Disposition                                     (.2).
February     Asset                  02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                           0.1 0.0011111         $0.43
2020         Disposition
February     Asset                  02/21/20 KBD         390 Study draft publication notice and various correspondence regarding order approving sale                0.4 0.0111111         $4.33
2020         Disposition                                     listings and confer with N. Mirjanich regarding same (.4)
February     Asset                  02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                     0.1 0.0011111         $0.43
2020         Disposition
February     Asset                  02/24/20 KBD         390 telephone conference with and draft correspondence to real estate broker, A. Porter, and N.             0.7      0.0875      $34.13
2020         Disposition                                     Mirjanich regarding pricing of, process for, and additional issues relating to next tranche of
                                                             properties for sale (.7)
February     Asset                  02/24/20 KBD         390 study correspondence from J. Rak regarding estimated closing costs (.1)                                 0.1 0.0090909         $3.55
2020         Disposition
February     Asset                  02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                           0.4 0.0045455         $1.77
2020         Disposition
February     Asset                  02/25/20 KBD         390 Exchange correspondence with M. Rachlis regarding response to objections to motion to list              0.3 0.0083333         $3.25
2020         Disposition                                     properties for sale (.3)
February     Asset                  02/26/20 KBD         390 Study and revise response to objections to motion to list properties for sale (1.2)                     1.2 0.0266667        $10.40
2020         Disposition
February     Asset                  02/28/20 KBD         390 study revised response to objections to sale motion and exchange correspondence regarding               1.4 0.0311111        $12.13
2020         Disposition                                     same (1.4)
February     Business               02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                    0.1 0.0011111         $0.43
2020         Operations                                      financial reporting (.1)
February     Business               02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)               0.4 0.0045455         $1.77
2020         Operations
February     Business               02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.             0.4 0.0038095         $1.49
2020         Operations                                      Duff regarding same (.4)
February     Business               02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                         0.4 0.0045455         $1.77
2020         Operations                                      correspondence with J. Rak relating to same and communications with property manager.

February     Business               02/13/20 KBD         390 Study property manager financial reporting.                                                             0.4 0.0070175         $2.74
2020         Operations
February     Business               02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment                 0.4 0.0045455         $1.77
2020         Operations                                      of real estate taxes (.4)
February     Business               02/25/20 KBD         390 review correspondence from property manager regarding payment of real estate taxes (.1)                 0.1 0.0017857         $0.70
2020         Operations
February     Claims                 02/25/20 KBD         390 exchange correspondence regarding notice of sales to lenders (.1).                                      0.1      0.0125       $4.88
2020         Administration
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Asset                  02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                 0.1 0.0011111         $0.29
2020         Disposition
February     Asset                  02/11/20 AEP             390 correspondence with receivership broker regarding next sales batch and proposed marketing              0.2 0.0222222         $8.67
2020         Disposition                                         prices for purpose of preparing spreadsheets of estimated closing costs to be shared with
                                                                 potential credit bidding lenders (.2)
February     Asset                  02/11/20 AEP             390 Review title commitments relating to all properties subsumed within sixth motion to approve            0.4 0.0111111         $4.33
2020         Disposition                                         sales and create master list of remaining issues to be resolved prior to closings (.4)

February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/13/20 AEP             390 respond to surveyor regarding request for legal description and certification information for          0.1 0.0027778         $1.08
2020         Disposition                                         various receivership properties subsumed within sixth motion to approve (.1)

February     Asset                  02/17/20 JR              140 exchange correspondence with the title company regarding additional documents of record                0.1 0.0111111         $1.56
2020         Disposition                                         needed (.1)
February     Asset                  02/18/20 NM              260 Study objections to sales motions and correspond with K. Duff and J. Rak regarding same and            1.0 0.0222222         $5.78
2020         Disposition                                         obtaining list of properties for which no objections were filed to send order to court on
                                                                 same.
February     Asset                  02/20/20 AEP             390 Work with K. Duff on reply in support of consolidated motion (.5)                                      0.5 0.0111111         $4.33
2020         Disposition
February     Asset                  02/20/20 JR              140 final review of objections to motion related to the properties included in the consolidated            0.7 0.0194444         $2.72
2020         Disposition                                         motion (.7).
February     Asset                  02/20/20 JR              140 Exchange communication with N. Mirjanich regarding orders related to the 5th and 6th                   0.1 0.0027778         $0.39
2020         Disposition                                         motion (.1)
February     Asset                  02/20/20 NM              260 draft notice for next marketing tranche and correspondence with receiver team on same                  0.4 0.0111111         $2.89
2020         Disposition                                         (.4).
February     Asset                  02/21/20 AEP             390 read reply in support of consolidated motion (.2).                                                     0.2 0.0044444         $1.73
2020         Disposition
February     Asset                  02/21/20 AEP             390 read orders granting in part fifth motion to confirm sales and sixth motion to approve sales           0.2 0.0044444         $1.73
2020         Disposition                                         process and prepare e-mails to buyers' counsel regarding preparation for closing (.2)

February     Asset                  02/21/20 NM              260 Correspond with broker regarding next marketing tranche.                                               0.3 0.0083333         $2.17
2020         Disposition
February     Asset                  02/24/20 AEP             390 Conference call with K. Duff, N. Mirjanich and receivership brokers regarding initial listing          0.5 0.0555556        $21.67
2020         Disposition                                         prices for next tranche of properties being marketed (.5)
February     Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                             0.1 0.0010526         $0.15
2020         Disposition
February     Asset                  02/24/20 NM              260 correspond with receiver team and broker regarding next marketing tranche and revise                   0.2 0.0055556         $1.44
2020         Disposition                                         notice of publication for same (.2)
February     Asset                  02/24/20 NM              260 related telephone call with same (.5).                                                                 0.5 0.0138889         $3.61
2020         Disposition
February     Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                 0.1 0.0010753         $0.15
2020         Disposition


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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
February     Asset                  02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties           1.2 0.0134831          $1.89
2020         Disposition                                         managed by a management company (1.2)
February     Asset                  02/25/20 NM              260 Attention to next marketing tranche and publication notice for same.                                 0.2 0.0055556          $1.44
2020         Disposition
February     Asset                  02/26/20 NM              260 Study correspondence relating to fourth marketing tranche and objections to consolidated             0.3 0.0066667          $1.73
2020         Disposition                                         sales motion.
February     Asset                  02/28/20 JR              140 exchange correspondence with the title company regarding estimated closing costs and                 0.5 0.0555556          $7.78
2020         Disposition                                         request information for same for the next batch of properties going on the market (.5)

February     Asset                  02/28/20 JR              140 update estimated closing costs spreadsheets with updated information (.9)                            0.9          0.1      $14.00
2020         Disposition
February     Asset                  02/28/20 JR              140 update closing spreadsheet regarding same (.5).                                                      0.5 0.0555556          $7.78
2020         Disposition
February     Business               02/04/20 AW              140 communicate with K. Duff and A. Porter regarding reinstatements of entities and proceed              0.3         0.15      $21.00
2020         Operations                                          with reinstatements (.3)
February     Business               02/07/20 AW              140 Communicate with K. Pritchard regarding costs associated with reinstatement of entities and          0.2 0.0666667          $9.33
2020         Operations                                          creation of new one (.2)
February     Business               02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                  0.1 0.0011236          $0.16
2020         Operations
February     Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real              0.1 0.0010753          $0.15
2020         Operations                                          estate taxes (.1)
February     Business               02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                               2.8 0.0314607          $4.40
2020         Operations
February     Business               02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                0.1 0.0019608          $0.27
2020         Operations                                          taxes related to paying property taxes (.1)
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                               0.2 0.0019231          $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                        0.3 0.0028846          $1.13
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                        0.2 0.0019231          $0.75
2020         Operations
February     Business               02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                        0.4 0.0044444          $1.73
2020         Operations
February     Business               02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property             0.1 0.0019608          $0.27
2020         Operations                                          taxes (.1)
February     Business               02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property             0.2 0.0022727          $0.32
2020         Operations                                          taxes (.2).
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both             3.9      0.0375        $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                0.2 0.0019231          $0.75
2020         Operations
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak               2.7 0.0259615         $10.13
2020         Operations                                          (2.7)


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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706          $0.57
2020         Operations                                          revisions (.1).
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231          $0.75
2020         Operations
February     Business               02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222          $0.87
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462          $1.50
2020         Operations
February     Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774          $1.35
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462          $1.50
2020         Operations
February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126          $0.41
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 NM              260 draft email to lender regarding violations on property (5450 Indiana) (.2).                            0.2          0.2      $52.00
2020         Operations
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923          $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025        $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231          $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 AEP             390 Read institutional lenders' memorandum in opposition to receiver's consolidated motion and             2.1 0.0466667         $18.20
2020         Administration                                      prepare outline of issues and responses thereto.
             & Objections

February     Claims                 02/18/20 JR              140 review the consolidated motion against the objections to consolidated motion and                       2.1         0.21      $29.40
2020         Administration                                      determine which properties are encumbered with objections (2.1)
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Claims                 02/18/20 JR              140 Work with N. Mirjanich regarding lender objections filed relating to the consolidation motion             0.2         0.02       $2.80
2020         Administration                                      (.2)
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                       0.2 0.0019231          $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                       1.2 0.0129032          $1.81
2020         Administration
             & Objections

February     Claims                 02/18/20 MR              390 review and develop possible response to objections on sales motion (.8).                                  0.8 0.0177778          $6.93
2020         Administration
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                  0.5 0.0048077          $1.88
2020         Administration                                      reports.
             & Objections

February     Claims                 02/24/20 MR              390 attention to objection on sales motion and issues on sales (.3).                                          0.3 0.0066667          $2.60
2020         Administration
             & Objections

February     Claims                 02/25/20 MR              390 Further attention to objections by lenders to property sales.                                             2.2 0.0488889         $19.07
2020         Administration
             & Objections

February     Claims                 02/26/20 AW              140 further work on draft response to objections (5.0).                                                       5.0 0.1111111         $15.56
2020         Administration
             & Objections

February     Claims                 02/28/20 AW              140 communicate with counsel regarding additional revisions and language from previous                        0.3 0.0066667          $0.93
2020         Administration                                      pleadings (.3).
             & Objections

February     Claims                 02/28/20 AW              140 proofread reply in support of consolidated motion and email Receivership team regarding                   0.9         0.02       $2.80
2020         Administration                                      revisions [long time due to tracking down of all objections filed by institutional lenders] (.9)
             & Objections




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
February     Claims                 02/28/20 MR          390 attention to objections to sixth sales moron and review and revise same (1.7).                      1.7 0.0377778         $14.73
2020         Administration
             & Objections

February     Claims                 02/28/20 NM          260 correspond with receiver's team regarding response to consolidated sales motion and revise          1.3 0.0288889          $7.51
2020         Administration                                  same (1.3).
             & Objections

March 2020 Asset                    03/05/20 KBD         390 study reply in support of consolidated property sales motion (.4).                                  0.4 0.0111111          $4.33
           Disposition
March 2020 Asset                    03/05/20 KBD         390 Study revisions to and further revise motion to approve sale of Naples property and                 0.6 0.0133333          $5.20
           Disposition                                       proposed order (.6)
March 2020 Asset                    03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                       0.1 0.0011111          $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence               2.9 0.0329545         $12.85
           Disposition                                       with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                    1.0 0.0526316         $20.53
           Disposition
March 2020 Asset                    03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182          $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125        $4.88
           Disposition                                       marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091          $1.33
           Disposition                                       marketing timing and strategy (.3)
March 2020 Asset                    03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111          $0.43
           Disposition                                       impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727          $0.89
           Disposition                                       estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111          $0.43
           Disposition                                       properties (.1)
March 2020 Asset                    03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222          $0.87
           Disposition                                       efforts (.2).
March 2020 Asset                    03/26/20 KBD         390 exchange correspondence with real estate broker regarding purchase and sale agreements              0.1         0.01       $3.90
           Disposition                                       and estimated closing costs (.1)
March 2020 Asset                    03/27/20 KBD         390 Study lenders' supplemental objection to consolidated motion (.5)                                   0.5 0.0138889          $5.42
           Disposition
March 2020 Asset                    03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091         $11.08
           Disposition                                       Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/31/20 KBD         390 study order approving listing and sale of properties and exchange correspondence regarding          0.3 0.0066667          $2.60
           Disposition                                       same (.3)




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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
March 2020 Business                 03/10/20 KBD             390 Study property manager financial reporting (.3)                                                      0.3 0.0052632          $2.05
           Operations
March 2020 Business                 03/10/20 KBD             390 exchange correspondence with insurance broker regarding finance agreements, premiums,                0.2 0.0022222          $0.87
           Operations                                            and renewal (.2).
March 2020 Business                 03/11/20 KBD             390 exchange correspondence with property manager regarding CHA inspection and repair                    0.2          0.2      $78.00
           Operations                                            issues (5450 Indiana) (.2).
March 2020 Business                 03/12/20 KBD             390 Draft correspondence to property manager regarding property repair (5450 Indiana) (.1)               0.1          0.1      $39.00
           Operations
March 2020 Business                 03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                    0.2 0.0022222          $0.87
           Operations                                            environment (.2).
March 2020 Business                 03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                    0.3 0.0034091          $1.33
           Operations
March 2020 Business                 03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                         0.2 0.0022727          $0.89
           Operations
March 2020 Business                 03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                     0.4 0.0045455          $1.77
           Operations                                            property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/27/20 KBD             390 analysis of property revenue and exchange correspondence with asset manager regarding                0.5 0.0138889          $5.42
           Operations                                            same (.5).
March 2020 Business                 03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                 0.3 0.0033708          $1.31
           Operations                                            issues and analysis (.3).
March 2020 Claims                   03/01/20 KBD             390 review correspondence from A. Porter regarding credit bid procedure (5450-52 Indiana) (.1).          0.1          0.1      $39.00
           Administration
           & Objections

March 2020 Asset                    03/02/20 AEP             390 additional notices of violation filed against properties in next marketing tranche (.2)              0.2 0.0055556          $2.17
           Disposition
March 2020 Asset                    03/02/20 AEP             390 updates to property-specific closing checklists and seller's figures (.6)                            0.6 0.0166667          $6.50
           Disposition
March 2020 Asset                    03/02/20 AEP             390 review     title commitment pertaining to receivership property (5450 S Indiana) and                 0.2          0.2      $78.00
           Disposition                                           prepare e-mail to counsel for putatively secured lender regarding conveyance of title to
                                                                 specified mortgagees if credit bid becomes the winning bid (.2)

March 2020 Asset                    03/02/20 AEP             390 lender objections to consolidated motion to sell (.3)                                                0.3 0.0066667          $2.60
           Disposition
March 2020 Asset                    03/02/20 JR              140 follow up correspondence with the title company regarding status of title invoices in                0.2         0.02       $2.80
           Disposition                                           preparation of estimated closing costs for next batch of properties on the market (.2)

March 2020 Asset                    03/02/20 JR              140 email correspondence with the property managers regarding water balances related to                  0.5         0.05       $7.00
           Disposition                                           updates to estimated closing cost for next batch of properties marketed for sale and in
                                                                 preparation for credit bids (.5)
March 2020 Asset                    03/02/20 JR              140 update closing checklists (.7).                                                                      0.7         0.07       $9.80
           Disposition




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2020 Asset                    03/02/20 JR              140 updates for closing cost estimates with prorated property taxes regarding properties                    1.6         0.16      $22.40
           Disposition                                           currently marketed for sale (1.6)
March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                      1.6 0.0181818          $2.55
           Disposition
March 2020 Asset                    03/03/20 JR              140 organize water bills regarding same (.6)                                                                0.6         0.06       $8.40
           Disposition
March 2020 Asset                    03/03/20 JR              140 update estimated closing costs with water estimates and finalize property taxes (.8)                    0.8         0.08      $11.20
           Disposition
March 2020 Asset                    03/03/20 JR              140 Review email correspondence from the property managers regarding estimated costs for                    0.2         0.02       $2.80
           Disposition                                           water related to the estimates of closings (.2)
March 2020 Asset                    03/05/20 AEP             390 read, edit, and revise draft reply in support of consolidated motion (2.9)                              2.9 0.0644444         $25.13
           Disposition
March 2020 Asset                    03/06/20 NM              260 study reply to consolidated motion and study correspondence with Receiver's team on same                0.6 0.0166667          $4.33
           Disposition                                           (.6).
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222          $0.87
           Disposition
March 2020 Asset                    03/12/20 JR              140 draft purchase and sale contracts in preparation for new buyers for properties currently                0.2 0.0055556          $0.78
           Disposition                                           being marketed and telephone communication with real estate broker regarding same (.2).

March 2020 Asset                    03/13/20 JR              140 review purchase and sale agreements for various properties and make modifications related               1.7         0.17      $23.80
           Disposition                                           to same (1.7).
March 2020 Asset                    03/16/20 JR              140 review and draft purchase and sale agreements for various properties currently being                    1.2         0.12      $16.80
           Disposition                                           marketed for sale (1.2)
March 2020 Asset                    03/16/20 JR              140 update closing checklist related to property information related to same purchase and sale              1.4         0.14      $19.60
           Disposition                                           agreements (1.4)
March 2020 Asset                    03/16/20 JR              140 exchange correspondence with A. Porter regarding same (.1).                                             0.1         0.01       $1.40
           Disposition
March 2020 Asset                    03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397          $1.07
           Disposition
March 2020 Asset                    03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781          $7.48
           Disposition                                           and motions regarding same (1.4)
March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976          $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439        $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 JR              140 update closing checklists with relevant information regarding same and including water                  1.2         0.12      $16.80
           Disposition                                           account information (1.2)
March 2020 Asset                    03/17/20 JR              140 prepare Escrow Agreement and Assignment and Assumption of Leases for each property                      1.6         0.16      $22.40
           Disposition                                           (1.6)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2020 Asset                    03/17/20 JR              140 Review, revise and purchase and sale agreements for various properties that are currently               3.4         0.34      $47.60
           Disposition                                           being marketed for sale (1700 Juneway, 5450 S. Indiana, 6437 S. Kenwood, 7300 S. St.
                                                                 Lawrence, 7760 S. Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside and
                                                                 11117 S. Longwood) (3.4)
March 2020 Asset                    03/17/20 JR              140 exchange correspondence with property managers regarding on- site manager contact                       0.3         0.03       $4.20
           Disposition                                           information used for City of Chicago water applications for properties currently marketed (.3)

March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596          $1.73
           Disposition
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416          $0.94
           Disposition
March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247          $2.83
           Disposition
March 2020 Asset                    03/20/20 JR              140 final review purchase and sale agreements for various properties (.6)                                   0.6         0.06       $8.40
           Disposition
March 2020 Asset                    03/20/20 JR              140 update closing checklists regarding same (.4).                                                          0.4         0.04       $5.60
           Disposition
March 2020 Asset                    03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192          $3.21
           Disposition
March 2020 Asset                    03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096          $1.60
           Disposition
March 2020 Asset                    03/24/20 AW              140 Research regarding proposed orders relating to sales motions and communicate with K. Duff               0.2 0.0044444          $0.62
           Disposition                                           regarding same (.2)
March 2020 Asset                    03/24/20 AW              140 attention to email from A. Porter forwarding all current drafts of proposed orders. (.1).               0.1 0.0022222          $0.31
           Disposition
March 2020 Asset                    03/24/20 JR              140 Phone conference with A. Porter and the real estate brokers regarding status of closings of             0.7 0.0194444          $2.72
           Disposition                                           various properties under contract and currently on the market and plan of action regarding
                                                                 same (.7)
March 2020 Asset                    03/25/20 AEP             390 review due diligence files for all properties in next tranche of sales and update purchase and          0.5 0.0138889          $5.42
           Disposition                                           sale agreements to incorporate disclosures of administrative and housing court actions and
                                                                 to confirm accuracy of legal descriptions and PINs (.5).
March 2020 Asset                    03/25/20 AEP             390 Edit and revise form purchase and sale agreement to be tendered to prospective bidders on               0.6 0.0166667          $6.50
           Disposition                                           next tranche of receivership properties to incorporate necessary changes based on past
                                                                 experience (.6)
March 2020 Asset                    03/25/20 JR              140 Update purchase and sale agreements for various properties (1700 Juneway, 5450 Indiana,                 4.9         0.49      $68.60
           Disposition                                           6437 Kenwood, 7300 Lawrence, 7760 Coles, 8000 Justine, 8107 Ellis, 8209 Ellis, 8214
                                                                 Ingleside, 11117 Longwood) for potential buyers (4.9)
March 2020 Asset                    03/25/20 JR              140 exchange correspondence with A. Porter and the broker regarding same (.2)                               0.2         0.02       $2.80
           Disposition
March 2020 Asset                    03/27/20 MR              390 prepare for and participate in calls regarding same with asset manager and K. Duff (1.0)                1.0 0.0222222          $8.67
           Disposition
March 2020 Asset                    03/30/20 MR              390 attention to issues regarding properties (.1).                                                          0.1 0.0022222          $0.87
           Disposition


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2020 Asset                    03/30/20 MR              390 Conferences with asset manager regarding various property issues (.2)                                0.2 0.0044444         $1.73
           Disposition
March 2020 Asset                    03/31/20 AEP             390 teleconference with receivership broker regarding preliminary responses received from                0.3 0.0333333        $13.00
           Disposition                                           bidders on current marketing tranche and documents needed for credit bidding lenders (.3)

March 2020 Asset                    03/31/20 MR              390 attention to orders regarding sales and issues moving forward and conferences regarding              0.4 0.0088889         $3.47
           Disposition                                           same (.4)
March 2020 Asset                    03/31/20 MR              390 Draft and revise motion for clarification and other relief and follow up regarding various           2.2 0.0488889        $19.07
           Disposition                                           issues with K. Duff and A. Watychowicz (2.2)
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                            0.4    0.004878       $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.             1.9 0.0215909         $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold              0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same             2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                         0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                      0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.          1.8 0.0204545         $2.86
           Operations
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                  0.2 0.0022222         $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy           0.3 0.0033333         $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                4.1 0.0398058         $5.57
           Operations
March 2020 Business                 03/30/20 ED              390 and loss history (.4)                                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 call with insurance agent regarding same (.2)                                                        0.2 0.0022472         $0.88
           Operations
March 2020 Business                 03/30/20 ED              390 Review revised statement of value (.4)                                                               0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                 0.3 0.0033708         $1.31
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                             0.4 0.0038835         $1.51
           Administration
           & Objections




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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544          $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709          $0.38
           Administration
           & Objections

March 2020 Claims                   03/04/20 MR              390 follow up on e-mail from K. Duff regarding response to same (.2)                                      0.2 0.0333333         $13.00
           Administration
           & Objections

March 2020 Claims                   03/04/20 MR              390 Attention to investor related inquires regarding motions (.3)                                         0.3         0.05      $19.50
           Administration
           & Objections

March 2020 Claims                   03/23/20 JR              140 exchange correspondence with A. Pruitt and J. Wine regarding alternative addresses omitted            1.1 0.0478261          $6.70
           Administration                                        from the master spreadsheet and add same (1.1).
           & Objections

April 2020   Asset                  04/01/20 KBD             390 telephone conference with real estate broker, M. Rachlis, and A. Porter regarding offers on           1.6         0.16      $62.40
             Disposition                                         properties (1.6)
April 2020   Asset                  04/01/20 KBD             390 work on upcoming sales and analysis of information relating to same (.3)                              0.3 0.0333333         $13.00
             Disposition
April 2020   Asset                  04/01/20 KBD             390 Analysis of offers on properties (.4)                                                                 0.4         0.04      $15.60
             Disposition
April 2020   Asset                  04/02/20 KBD             390 telephone conference with real estate broker regarding timing of sales (.2)                           0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                  04/03/20 KBD             390 telephone conference with and review correspondence from E. Duff regarding [rent                      0.2          0.1      $39.00
             Disposition                                         restoration] information for estimated closing costs (.2)
April 2020   Asset                  04/03/20 KBD             390 several additional telephone conferences and exchange correspondence with real estate                 1.0          0.1      $39.00
             Disposition                                         broker, M. Rachlis, and A. Porter regarding closings planning, estimated closing costs, and
                                                                 various related issues (1.0)
April 2020   Asset                  04/03/20 KBD             390 study and revise correspondence regarding highest bids and credit bid opportunities (.2).             0.2         0.02       $7.80
             Disposition


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
April 2020   Asset                  04/03/20 KBD         390 Telephone conference with and study reporting from real estate broker, M. Rachlis, and A.              0.9         0.09      $35.10
             Disposition                                     Porter regarding offers and properties and communications with buyers (.9)

April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                   0.3 0.0041096          $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Asset                  04/08/20 KBD         390 review contract (5450 Indiana) (.1)                                                                    0.1          0.1      $39.00
             Disposition
April 2020   Asset                  04/08/20 KBD         390 study additional information about highest bids on various properties (.2).                            0.2          0.1      $39.00
             Disposition
April 2020   Asset                  04/10/20 KBD         390 Exchange correspondence with A. Porter regarding hold harmless letters with title                      0.4          0.1      $39.00
             Disposition                                     companies relating to properties for closings (6438-41 Kenwood, 5450-52 Indiana, 8209 Ellis,
                                                             7300-04 Lawrence) (.4)
April 2020   Asset                  04/10/20 KBD         390 study correspondence from A. Porter regarding litigation status relating to properties (.2).           0.2         0.02       $7.80
             Disposition
April 2020   Asset                  04/11/20 KBD         390 Study offer summary for sale of properties (.5)                                                        0.5         0.05      $19.50
             Disposition
April 2020   Asset                  04/14/20 KBD         390 Exchange correspondence with A. Porter regarding litigation status relating to various                 0.2         0.02       $7.80
             Disposition                                     properties in connection with sale closing efforts.
April 2020   Asset                  04/20/20 KBD         390 Telephone conference regarding various property sale negotiations, logistics, and timing (.8)          0.8 0.0727273         $28.36
             Disposition
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                             0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                   0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 study property manager reporting (.3).                                                                 0.3 0.0052632          $2.05
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989          $0.90
             Operations                                      properties and review information relating to same.
April 2020   Business               04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236          $0.44
             Operations                                      coverage issue (.1)
April 2020   Business               04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236          $0.44
             Operations
April 2020   Business               04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691          $0.96
             Operations                                      insurance renewal efforts and cost (.2)




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  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
April 2020   Asset                  04/01/20 AEP         390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding bids submitted in           1.7 0.0472222        $18.42
             Disposition                                     connection with latest marketing tranche and strategies for responding thereto, as well as
                                                             anticipated timing of closings of properties subsumed within order approving fifth motion to
                                                             confirm sales and remaining obstacles thereto (1.7)

April 2020   Asset                  04/01/20 AEP         390 revise proposed order approving fifth motion to confirm sales and exhibit to sixth motion to            0.2 0.0044444         $1.73
             Disposition                                     approve sales process (.2)
April 2020   Asset                  04/01/20 AW          140 Attention to exchanges regarding revisions to proposed orders (.1)                                      0.1 0.0022222         $0.31
             Disposition
April 2020   Asset                  04/01/20 AW          140 additional revisions to orders and submit to Judge Lee as per standing order (.2).                      0.2 0.0044444         $0.62
             Disposition
April 2020   Asset                  04/01/20 MR          390 review order on clarification and other orders (.2)                                                     0.2    0.002439       $0.95
             Disposition
April 2020   Asset                  04/01/20 MR          390 Review draft orders and follow up on various related issues regarding orders on marketing               0.5 0.0111111         $4.33
             Disposition                                     and other issues (.5)
April 2020   Asset                  04/01/20 MR          390 prepare for meeting on property sales and emails regarding same (.4)                                    0.4 0.0111111         $4.33
             Disposition
April 2020   Asset                  04/01/20 MR          390 participate in call regarding upcoming bids and anticipated closings with K. Duff, A. Porter            1.7 0.0472222        $18.42
             Disposition                                     and real estate broker (1.7).
April 2020   Asset                  04/02/20 AEP         390 review title commitments, title invoices, and closing checklists for all properties in next             3.7 0.4111111       $160.33
             Disposition                                     marketing tranche, contact property managers for additional information, and prepare
                                                             estimated closing costs for each property for distribution to potential credit-bidding lenders
                                                             (3.7)
April 2020   Asset                  04/03/20 AEP         390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding best and final              0.7 0.0777778        $30.33
             Disposition                                     bids received from prospective purchasers (.7)
April 2020   Asset                  04/03/20 AEP         390 review closing files for every property in next closing tranche and create master checklist of          1.6 0.1777778        $69.33
             Disposition                                     information regarding remaining special exceptions and status of water certificate processing
                                                             (1.6)
April 2020   Asset                  04/03/20 AEP         390 communications with E. Duff and property managers regarding current status of rent                      1.4 0.1555556        $60.67
             Disposition                                     restoration liabilities and other property-specific payables and update spreadsheets of
                                                             estimated closing costs for each property in next marketing tranche and create files for
                                                             release to prospective credit-bidding lenders (1.4)
April 2020   Asset                  04/03/20 AEP         390 proofread and revise proposed communication from receivership broker to credit bidding                  0.1 0.0111111         $4.33
             Disposition                                     lenders regarding estimated closing costs (.1).
April 2020   Asset                  04/03/20 MR          390 Participate in conference call regarding best and final bids from prospective purchasers and            0.7      0.0875      $34.13
             Disposition                                     other issues with A. Porter, K. Duff and real estate broker (.7)
April 2020   Asset                  04/03/20 MR          390 attention to issues on closing costs and marketing (.6)                                                 0.6 0.0666667        $26.00
             Disposition
April 2020   Asset                  04/03/20 MR          390 review materials and emails regarding same (.3)                                                         0.3 0.0333333        $13.00
             Disposition
April 2020   Asset                  04/03/20 MR          390 further attention to closing related issues (.4).                                                       0.4 0.0444444        $17.33
             Disposition




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/06/20 MR              390 Follow up on emails regarding property sales and property manager.                                      0.4 0.0444444         $17.33
             Disposition
April 2020   Asset                  04/07/20 AEP             390 follow-up telephone calls to five title companies in pursuit of hold harmless letters for               0.8 0.1333333         $52.00
             Disposition                                         receivership properties being sold in next tranche (.8)
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with real estate broker regarding purchase and sale agreement                   0.2 0.0055556          $0.78
             Disposition                                         language (.2)
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with property manager's team for properties (6437 Kenwood and                   0.2          0.1      $14.00
             Disposition                                         5450 Indiana) relating to same (.2)
April 2020   Asset                  04/07/20 MR              390 emails regarding same (.2).                                                                             0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/07/20 MR              390 Participate in call on sales (.6)                                                                       0.6 0.0666667         $26.00
             Disposition
April 2020   Asset                  04/08/20 AEP             390 revise purchase and sale contract for sale of receivership property (5450 S Indiana) and                0.1          0.1      $39.00
             Disposition                                         forward to K. Duff for signature (.1).
April 2020   Asset                  04/08/20 MR              390 Attention to emails on property sales and credit bid issues (.1)                                        0.1 0.0111111          $4.33
             Disposition
April 2020   Asset                  04/08/20 MR              390 attention to issues raised by claimant on certain properties (.2).                                      0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/09/20 JR              140 exchange correspondence with the property management team requesting due diligence                      0.2 0.0055556          $0.78
             Disposition                                         documents for various properties listed for sale (.2)
April 2020   Asset                  04/09/20 JR              140 save purchase and sale agreements and SJOs for various properties in series x and update                0.5 0.0138889          $1.94
             Disposition                                         closing checklists with property information (.5).
April 2020   Asset                  04/10/20 AEP             390 review updated title commitment on receivership property (5450 S Indiana) and send e-mail               0.2          0.2      $78.00
             Disposition                                         to title underwriter requesting correction to purchase price (.2)
April 2020   Asset                  04/10/20 JR              140 update master and closing checklists regarding same (.5)                                                0.5 0.0138889          $1.94
             Disposition
April 2020   Asset                  04/10/20 JR              140 exchange correspondence with real estate broker regarding status of purchase and sale                   0.2 0.0055556          $0.78
             Disposition                                         agreements for series 4 properties and review and update buyer counsel information and
                                                                 buyer information regarding same (.2)
April 2020   Asset                  04/10/20 JRW             260 Exchange correspondence with A. Porter regarding litigation status of properties in current             0.3         0.03       $7.80
             Disposition                                         sales tranche and checking status of violations against properties on City of Chicago website.

April 2020   Asset                  04/10/20 MR              390 review emails on various issues on asset disposition (.2).                                              0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/10/20 MR              390 Conferences with K. Duff on issues moving forward on various sales (.2)                                 0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/11/20 AEP             390 read e-mail explanation from J. Wine regarding status of various administrative actions                 0.4 0.0444444         $17.33
             Disposition                                         apparently still pending against properties owned by corporate entity, reconcile information
                                                                 with due diligence files, update litigation spreadsheet, and prepare response requesting
                                                                 additional information from property manager or corporation counsel (.4)




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
April 2020   Asset                  04/13/20 AEP             390 review hold harmless letter received for receivership property (5450 S Indiana), reconcile                0.2          0.2      $78.00
             Disposition                                         with existing title commitment, forward to current title underwriter with request for deletion
                                                                 of corresponding special exceptions, and update closing checklists accordingly (.2)

April 2020   Asset                  04/13/20 AEP             390 read, analyze, and respond to prior EquityBuild title underwriter regarding rejection of                  0.2          0.2      $78.00
             Disposition                                         request for hold harmless letter pertaining to receivership property (5450 S Indiana) (.2)

April 2020   Asset                  04/13/20 JR              140 follow up correspondence with the property manager regarding due diligence documents for                  0.2 0.0055556          $0.78
             Disposition                                         series x and related to all properties recently under contract (.2)
April 2020   Asset                  04/13/20 JRW             260 Investigate administrative actions against multiple properties in current sales tranche,                  3.6          0.4     $104.00
             Disposition                                         organize files, and report to A. Porter (11117-19 S. Longwood, 6437 S. Kenwood, 5450 S.
                                                                 Indiana, 8214 S. Ingleside, 8000 S. Justine, 8107 S. Ellis, 7760 S. Coles, 1700 W. Juneway, 7300
                                                                 S St. Lawrence).
April 2020   Asset                  04/14/20 AEP             390 inventory title commitments for all properties in current sales tranche to confirm hold                   0.9          0.1      $39.00
             Disposition                                         harmless letters for all special exceptions and accuracy of buyer, lender, and purchase price
                                                                 information and prepare correspondence to title underwriter regarding remaining issues (.9)

April 2020   Asset                  04/14/20 AEP             390 read e-mail from J. Wine listing status of all administrative and housing court actions pending           1.2         0.12      $46.80
             Disposition                                         against properties in current sales tranche, reconcile against existing records, update closing
                                                                 checklists, and send e-mails to title company to provide notice of proceedings requiring
                                                                 itemization on revised title commitments (1.2)

April 2020   Asset                  04/14/20 AEP             390 Review all five purchase and sale contracts received from counsel for prospective purchaser               0.2 0.0285714         $11.14
             Disposition                                         and update closing checklists accordingly (.2)
April 2020   Asset                  04/15/20 AEP             390 communications with buyer's counsel and title company regarding confirmation of receipt of                0.2 0.0333333         $13.00
             Disposition                                         earnest money deposits in connection with six of ten properties in most recent sales tranche
                                                                 (.2)
April 2020   Asset                  04/15/20 AEP             390 review all updated title commitments on receivership properties in next closing tranche to                0.3 0.0333333         $13.00
             Disposition                                         ensure deletion of remaining special exceptions (.3)
April 2020   Asset                  04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of                   0.3 0.0033708          $1.31
             Disposition                                         special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/15/20 JR              140 further correspondence with the property manager regarding requested items for closings                   0.4 0.0108108          $1.51
             Disposition                                         and due diligence documents (.4)
April 2020   Asset                  04/15/20 JR              140 update closing checklists regarding same (.3)                                                             0.3 0.0083333          $1.17
             Disposition
April 2020   Asset                  04/15/20 JR              140 calculate prorated property taxes for various properties and update settlement statements                 1.4 0.0388889          $5.44
             Disposition                                         regarding same (1.4)
April 2020   Asset                  04/16/20 JR              140 review due diligence documents received from property manager and update corresponding                    1.8         0.05       $7.00
             Disposition                                         electronic property folders for various properties currently under contract (1.8).

April 2020   Asset                  04/16/20 JR              140 further exchange correspondence with the title company related to confirmation of earnest                 0.4 0.0111111          $1.56
             Disposition                                         money deposit for various properties (.4)




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/17/20 AEP             390 communications with prospective purchaser of receivership properties regarding new forms                0.2 0.0333333         $13.00
             Disposition                                         required by title company in connection with earnest money deposits (.2)

April 2020   Asset                  04/17/20 JR              140 review due diligence documents received from property manager for various properties                    1.5         0.75     $105.00
             Disposition                                         (5450 S. Indiana and 6437 Kenwood) (1.5)
April 2020   Asset                  04/17/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                              0.1 0.0027778          $0.39
             Disposition
April 2020   Asset                  04/17/20 JR              140 review email from the title company regarding third party authorization forms for buyer and             0.2 0.0055556          $0.78
             Disposition                                         exchange further correspondence with the title company (.2)
April 2020   Asset                  04/17/20 JR              140 draft same for buyer (.9)                                                                               0.9       0.025        $3.50
             Disposition
April 2020   Asset                  04/20/20 AEP             390 teleconference with receivership team and receivership brokers regarding status of all                  0.8 0.0444444         $17.33
             Disposition                                         pending transactions (.8)
April 2020   Asset                  04/20/20 AEP             390 update EquityBuild portfolio spreadsheet (.1)                                                           0.1 0.0011364          $0.44
             Disposition
April 2020   Asset                  04/20/20 JR              140 review due diligence documents received from property manager for various properties                    1.3 0.0361111          $5.06
             Disposition                                         (1.3).
April 2020   Asset                  04/20/20 JR              140 conference call with K. Duff, M. Rachlis, A. Porter and real estate brokers related to current          1.0 0.0222222          $3.11
             Disposition                                         properties under contract and related matters and issues with closings (1.0)

April 2020   Asset                  04/22/20 AEP             390 review title commitments for all properties being purchased by management company in                    0.4 0.0666667         $26.00
             Disposition                                         next sales tranche, edit same to signify deletions and endorsements, and forward copies to
                                                                 counsel for purchaser (.4).
April 2020   Asset                  04/23/20 AEP             390 teleconference with receivership brokers regarding status of all pending transactions,                  0.5 0.0277778         $10.83
             Disposition                                         including potential new buyers of properties subject to defaults (.5)
April 2020   Asset                  04/23/20 JR              140 update closed property spreadsheet and forward to K. Duff, E. Duff and K. Pritchard (.6)                0.6 0.0153846          $2.15
             Disposition
April 2020   Asset                  04/24/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding strategy for                1.8         0.18      $70.20
             Disposition                                         marketing next tranche of receivership properties, strategy for addressing defaults on
                                                                 properties under contract, and preparation of next round of motions to confirm sales (1.8)

April 2020   Asset                  04/29/20 JR              140 review email from J. Wine and provide legal descriptions and property addresses for the                 0.6 0.0166667          $2.33
             Disposition                                         upcoming publication notice of various properties (.6)
April 2020   Asset                  04/29/20 JR              140 exchange correspondence with the title company regarding confirmed wires receipt on                     0.2 0.0055556          $0.78
             Disposition                                         various properties (.2)
April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                                 0.1 0.0015873          $0.22
             Disposition
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]              0.8 0.0126984          $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Asset                  04/30/20 JRW             260 Study sixth motion for approval of process for public sale, exhibits and order granting same,           0.6 0.0166667          $4.33
             Disposition                                         and related correspondence regarding notice requirements (.6)
April 2020   Business               04/10/20 ED              390 Review summary received from insurance agent regarding loss history for renewal process,                0.2 0.0022472          $0.88
             Operations                                          and related documentation and correspondence.


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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2020   Business               04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                      requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Claims                 04/03/20 ED          390 Prepare analysis of rent restoration and reimbursement amounts payable by purchasers in               1.4       0.175      $68.25
             Administration                                  the case of credit bids.
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                  claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                  accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                  accounting reports (.9).
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.               0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                  0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                  0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                        0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/02/20 KBD             390 work on motion to confirm sales and exchange correspondence regarding same (.3).                    0.3 0.0333333        $13.00
             Disposition




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
May 2020     Asset                  05/03/20 KBD         390 Study and revise motion to confirm sales.                                                         0.5 0.0555556         $21.67
             Disposition
May 2020     Asset                  05/07/20 KBD         390 study and revise consolidated motion relating to sale of properties (.4)                          0.4         0.04      $15.60
             Disposition
May 2020     Asset                  05/08/20 KBD         390 Study revised consolidated motion for the sale of properties (.3)                                 0.3 0.0333333         $13.00
             Disposition
May 2020     Asset                  05/10/20 KBD         390 Study and revise combined motion relating to sale of properties.                                  0.3 0.0333333         $13.00
             Disposition
May 2020     Asset                  05/19/20 KBD         390 Telephone conference with real estate broker regarding communications with buyer current          0.3 0.0036145          $1.41
             Disposition                                     market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD         390 Study correspondence from J. Rak regarding listing and sale of properties.                        0.2 0.0024691          $0.96
             Disposition
May 2020     Business               05/01/20 KBD         390 Telephone conference with and study correspondence from asset manager regarding                   0.2 0.0024691          $0.96
             Operations                                      property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/03/20 KBD         390 Revise consolidated motion and exchange correspondence regarding same.                            0.3         0.03      $11.70
             Operations
May 2020     Business               05/06/20 KBD         390 Telephone conferences with insurance broker regarding policy renewal (.2)                         0.2 0.0024691          $0.96
             Operations
May 2020     Business               05/08/20 KBD         390 Study correspondence from insurance broker regarding policy renewal (.1)                          0.1 0.0011628          $0.45
             Operations
May 2020     Business               05/08/20 KBD         390 telephone conference and exchange correspondence with E. Duff regarding same and                  0.3 0.0036145          $1.41
             Operations                                      property management (.3)
May 2020     Business               05/09/20 KBD         390 Study correspondence regarding insurance renewal quote.                                           0.2 0.0024691          $0.96
             Operations
May 2020     Business               05/11/20 KBD         390 telephone conference and exchange correspondence with asset manager regarding same                0.3 0.0036145          $1.41
             Operations                                      (.3)
May 2020     Business               05/11/20 KBD         390 telephone conference with and study correspondence from E. Duff regarding same (.4).              0.4 0.0048193          $1.88
             Operations
May 2020     Business               05/11/20 KBD         390 Exchange correspondence and telephone conferences with insurance broker regarding                 0.6 0.0072289          $2.82
             Operations                                      renewal of insurance (.6)
May 2020     Business               05/12/20 KBD         390 study financial reporting from property manager (.3).                                             0.3 0.0054545          $2.13
             Operations
May 2020     Business               05/12/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                 0.7 0.0084337          $3.29
             Operations
May 2020     Business               05/12/20 KBD         390 review correspondence from property manager regarding lease renewal and exchange                  0.2 0.0024096          $0.94
             Operations                                      correspondence with asset manager regarding same (.2)
May 2020     Business               05/13/20 KBD         390 Communicate with bank representative regarding payment of property and insurance                  0.2 0.0023529          $0.92
             Operations                                      expenses (.2)
May 2020     Business               05/18/20 KBD         390 study property expenses and financial reporting (.8).                                             0.8 0.0076923          $3.00
             Operations
May 2020     Business               05/20/20 KBD         390 study correspondence from insurance broker regarding renewal (.1).                                0.1 0.0011765          $0.46
             Operations


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2020     Business               05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).             0.3 0.0037037          $1.44
             Operations
May 2020     Business               05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)              0.3 0.0037037          $1.44
             Operations
May 2020     Business               05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                          0.1 0.0011765          $0.46
             Operations
May 2020     Claims                 05/07/20 KBD             390 Work on communication to claimants' counsel regarding marketing and sale of properties                0.5 0.0138889          $5.42
             Administration                                      (.5)
             & Objections

May 2020     Claims                 05/13/20 KBD             390 exchange correspondence with claimant's counsel and real estate broker regarding status of            0.1         0.05      $19.50
             Administration                                      sale of properties (5450-52 S Indiana & 7749 S Yates) (.1)
             & Objections

May 2020     Asset                  05/01/20 JR              140 review notice of public sale related to additional properties listed for offers and update            0.5 0.0138889          $1.94
             Disposition                                         spreadsheet (.5)
May 2020     Asset                  05/03/20 AEP             390 Prepare seventh motion to confirm sales of receivership properties.                                   3.7 0.4111111        $160.33
             Disposition
May 2020     Asset                  05/03/20 MR              390 Review and revise various motions regarding confirmation of sales, use of funds and review            2.7          0.3     $117.00
             Disposition                                         emails regarding same (2.7)
May 2020     Asset                  05/04/20 AEP             390 Revise draft seventh motion to confirm sales to incorporate comments received from K. Duff            0.3 0.0333333         $13.00
             Disposition                                         (.3)
May 2020     Asset                  05/05/20 AEP             390 read e-mail from counsel for prospective purchaser of receivership properties (7760 S Coles,          0.2 0.0285714         $11.14
             Disposition                                         8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214 S Ingleside, 5450 S Indiana, and 6437 S
                                                                 Kenwood) and update closing checklists and portfolio spreadsheet with names of nominees
                                                                 (.2).
May 2020     Asset                  05/05/20 JR              140 update spreadsheet with additional properties listed for sale, under contract and status of           0.6 0.0166667          $2.33
             Disposition                                         judicial process (.6)
May 2020     Asset                  05/06/20 AEP             390 begin consolidating all draft motions into single document (.3)                                       0.3         0.03      $11.70
             Disposition
May 2020     Asset                  05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st              0.1 0.0011494          $0.16
             Disposition                                         quarter of 2020 (.1)
May 2020     Asset                  05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                                0.1 0.0011494          $0.16
             Disposition
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                             1.4 0.0135922          $1.90
             Disposition
May 2020     Asset                  05/08/20 AEP             390 read through revisions to consolidated motion received from K. Duff and J. Wine and revise            0.4         0.04      $15.60
             Disposition                                         consolidated motion accordingly (.4).
May 2020     Asset                  05/08/20 AW              140 Attention to draft consolidated motion and communicate with K. Duff regarding same.                   0.2 0.0181818          $2.55
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management              0.1 0.0009709          $0.14
             Disposition                                         companies (.1)




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes                0.2 0.0035088          $0.49
             Disposition                                         (.2).
May 2020     Asset                  05/08/20 JRW             260 Review and comment on draft consolidated motion to confirm sale of certain properties and              0.6 0.0666667         $17.33
             Disposition                                         to approve process for sale of vacant land.
May 2020     Asset                  05/09/20 AEP             390 gather, organize, and bind all exhibits to consolidated motion into appendix and then correct          2.1         0.21      $81.90
             Disposition                                         all citations in brief (2.1)
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                  1.8 0.0174757          $2.45
             Disposition
May 2020     Asset                  05/10/20 AEP             390 make revisions to consolidated motion suggested by K. Duff (.2)                                        0.2         0.02       $7.80
             Disposition
May 2020     Asset                  05/10/20 AEP             390 Prepare all remaining proposed judicial orders associated with consolidated motion, update             2.1         0.21      $81.90
             Disposition                                         public sale auction procedures, prepare provisionally final complete set of motion papers
                                                                 and exhibits, and transmit same to receivership team for additional comment (2.1)

May 2020     Asset                  05/10/20 MR              390 attention to issues regarding questions on pricing (.2).                                               0.2 0.0222222          $8.67
             Disposition
May 2020     Asset                  05/10/20 MR              390 Attention to motion and follow up regarding draft sales motion (.2)                                    0.2 0.0222222          $8.67
             Disposition
May 2020     Asset                  05/11/20 AEP             390 and review two draft certificates of service and notices of motion (.2)                                0.2         0.02       $7.80
             Disposition
May 2020     Asset                  05/11/20 AEP             390 Assemble consolidated motion with final drafts of all proposed orders and all exhibits (.8)            0.8         0.08      $31.20
             Disposition
May 2020     Asset                  05/11/20 AW              140 finalize motion, file with court, and serve as per service list (.6).                                  0.6         0.06       $8.40
             Disposition
May 2020     Asset                  05/11/20 AW              140 Attention to consolidated motion, obtain exhibits, draft notice of motion, and email counsel           0.5         0.05       $7.00
             Disposition                                         regarding potential revisions (.5)
May 2020     Asset                  05/11/20 JRW             260 exchange correspondence regarding consolidated motion to confirm and approve sales (.2).               0.2         0.02       $5.20
             Disposition
May 2020     Asset                  05/11/20 MR              390 Attention to latest draft motion regarding sales confirmation.                                         0.4 0.0444444         $17.33
             Disposition
May 2020     Asset                  05/12/20 AEP             390 review closing checklist, survey, and title commitment for all properties subsumed within              1.2 0.1333333         $52.00
             Disposition                                         seventh motion to confirm sales, inventory all remaining special exceptions requiring hold
                                                                 harmless letters, request necessary changes to title commitments to reflect new nominees,
                                                                 and request updates to surveys to reflect new nominees (1.2)

May 2020     Asset                  05/12/20 AEP             390 read and respond to inquiry from counsel for prospective purchaser of seven properties                 0.2 0.0222222          $8.67
             Disposition                                         subsumed within seventh motion to confirm regarding potential timing of closings and status
                                                                 of preparation of title commitments and surveys (.2)
May 2020     Asset                  05/12/20 AEP             390 review for accuracy all updated title commitments and surveys received in connection with              0.5 0.0555556         $21.67
             Disposition                                         properties subsumed within seventh motion to confirm (.5)
May 2020     Asset                  05/15/20 AEP             390 Teleconference with receivership broker regarding status of preparation of purchase and                0.2 0.0153846          $6.00
             Disposition                                         sale agreements for next tranche of receivership properties and status of closings of
                                                                 receivership properties associated with prior tranche (.2)


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  Invoice                                          Time                                                                                                                             Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                              Hours         Fees
May 2020     Asset                  05/18/20 JR              140 review the status of various properties related to judicial process and sale process (.9)                    0.9       0.025        $3.50
             Disposition
May 2020     Asset                  05/20/20 MR              390 Attention to issues on UBS property.                                                                         0.1 0.0111111          $4.33
             Disposition
May 2020     Asset                  05/25/20 JR              140 review purchase and sale agreements and update closing checklists with pertinent                             3.4 0.3777778         $52.89
             Disposition                                         information for various properties related to buyer and closing information, including 2018
                                                                 and 2019 property tax information (7600 S. Kingston, 7656 S. Kingston, 5450 S. Indiana, 6437
                                                                 S. Kenwood, 7760 S. Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside) (3.4).

May 2020     Asset                  05/26/20 AEP             390 prepare revised purchase and sale agreement for dissemination to prospective purchasers of                   1.4 0.1555556         $60.67
             Disposition                                         property in next marketing tranche, inventory surveys on corresponding properties and
                                                                 prepare e-mail to surveyor regarding timing and status, review title commitments on
                                                                 corresponding properties and requested updates from title company (1.4)

May 2020     Asset                  05/26/20 JR              140 review requested updated due diligence documents received from property manager and                          0.8 0.1142857         $16.00
             Disposition                                         forward same to buyer's property manager (.8).
May 2020     Asset                  05/26/20 JR              140 review email from the title company regarding water certifications in ready status, update                   0.2 0.0285714          $4.00
             Disposition                                         information in electronic files regarding same (.2)
May 2020     Asset                  05/26/20 JR              140 further correspond with the leasing manager regarding all properties under contract and                      0.9 0.1285714         $18.00
             Disposition                                         soon to be under contract with detailed information for each related to new leases and
                                                                 renewal policy (.9)
May 2020     Asset                  05/27/20 JR              140 review receipts of earnest money (.2)                                                                        0.2 0.0055556          $0.78
             Disposition
May 2020     Asset                  05/27/20 JR              140 update closing checklist regarding same (.3)                                                                 0.3 0.0083333          $1.17
             Disposition
May 2020     Asset                  05/27/20 JR              140 review email and exchange correspondence with the property manager regarding                                 0.2 0.0055556          $0.78
             Disposition                                         preparation of due diligence folders for properties going under contract and missing
                                                                 information for same (.2)
May 2020     Asset                  05/27/20 JR              140 review properties currently being marketed and exchange correspondence with the property                     0.2 0.0055556          $0.78
             Disposition                                         managers requesting all due diligence documents (.2)
May 2020     Asset                  05/27/20 JR              140 review water account information for same and update closing checklists (.7)                                 0.7 0.0194444          $2.72
             Disposition
May 2020     Asset                  05/27/20 JR              140 begin drafting closing checklists and closing documents for properties under contract and in                 1.8         0.05       $7.00
             Disposition                                         anticipation of court approval of confirmation of sale (1.8).
May 2020     Asset                  05/28/20 JR              140 draft master closing checklist for current properties under contract and in preparation for                  0.6 0.0166667          $2.33
             Disposition                                         drafting closing documents (.6)
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold                        1.3 0.0126214          $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/13/20 KMP             140 communicate with insurance broker to confirm funds transfer (.1).                                            0.1 0.0011628          $0.16
             Operations
May 2020     Business               05/13/20 KMP             140 prepare form for funds transfer to insurance broker for down payment on financing                            0.4 0.0046512          $0.65
             Operations                                          agreement for general liability and umbrella policy and communications with K. Duff and
                                                                 bank representatives regarding same (.4)


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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2020     Business               05/14/20 KMP         140 Communicate with insurance premium funding company regarding contract (.1)                          0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                      addition of properties that have no institutional debt, and communicate with E. Duff
                                                             regarding missing reports.
May 2020     Business               05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                      proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020     Business               05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                      regarding same
May 2020     Business               05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                      correspondence.
May 2020     Business               05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512         $0.65
             Operations                                      property insurance finance agreement, and communicate with bank representative and K.
                                                             Duff regarding same (.4)
May 2020     Business               05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256         $0.33
             Operations                                      K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as           1.8 0.0202247         $2.83
             Administration                                  requested, and share same with Receivership team (1.8)
             & Objections




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  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections             0.2 0.0019417          $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                         1.1 0.0106796          $4.17
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)           0.1 0.0009709          $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                    0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                                0.2 0.0019417          $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property             0.3 0.0029126          $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                   0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums             0.1 0.0009709          $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports           0.5 0.0048544          $1.89
             Administration                                  (.5)
             & Objections

June 2020    Asset                  06/01/20 KBD         390 Telephone conference with real estate broker regarding status of mixed use properties and           0.2 0.0043478          $1.70
             Disposition                                     upcoming sales (.2)
June 2020    Asset                  06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and             0.2 0.0024691          $0.96
             Disposition                                     planning for review of offers.
June 2020    Asset                  06/04/20 KBD         390 Study and evaluate offer on properties with real estate broker, M. Rachlis, and A. Porter.          1.5         0.15      $58.50
             Disposition




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2020    Asset                  06/19/20 KBD         390 Telephone conference with real estate broker regarding communications with lenders'                    0.1 0.0027778         $1.08
             Disposition                                     counsel relating to highest bids and credit bidding (.1)
June 2020    Asset                  06/24/20 KBD         390 Work on closing documents and various related issues (5450-52 S Indiana, 6437-41 S                     1.5      0.1875      $73.13
             Disposition                                     Kenwood, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis,
                                                             11117-11119 S Longwood) (1.5)
June 2020    Asset                  06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.              1.5 0.0185185         $7.22
             Disposition                                     Rachlis regarding same (1.5)
June 2020    Business               06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                      0.1 0.0019231         $0.75
             Operations
June 2020    Business               06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                 0.1 0.0012048         $0.47
             Operations
June 2020    Business               06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                        0.5     0.00625       $2.44
             Operations                                      Pritchard regarding same (.5)
June 2020    Business               06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange                 0.4       0.005       $1.95
             Operations                                      correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business               06/15/20 KBD         390 Study financial reporting from property manager.                                                       0.2 0.0037736         $1.47
             Operations
June 2020    Claims                 06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                               0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/09/20 KBD         390 study objections to claims process motion (.5)                                                         0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                 06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)              2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                      0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                            6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 Work on claims motion reply with M. Rachlis (.6)                                                       0.6 0.0067416         $2.63
             Administration
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
June 2020    Claims                 06/16/20 KBD             390 analysis of letter of credit issue (.5)                                                                   0.5    0.005618        $2.19
             Administration
             & Objections

June 2020    Claims                 06/18/20 KBD             390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit                 0.2 0.0022989          $0.90
             Administration                                      bidding (.2)
             & Objections

June 2020    Claims                 06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                                     0.7 0.0078652          $3.07
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                            0.2 0.0022989          $0.90
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 study SEC reply brief (.3)                                                                                0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Asset                  06/01/20 MR              390 conferences with real estate broker A. Porter regarding same (.3).                                        0.3 0.0065217          $2.54
             Disposition
June 2020    Asset                  06/01/20 MR              390 Attention to property sales (.2)                                                                          0.2 0.0043478          $1.70
             Disposition
June 2020    Asset                  06/03/20 JR              140 draft closing documents for property (5450 S. Indiana) in preparation for sale (1.9)                      1.9          1.9     $266.00
             Disposition
June 2020    Asset                  06/03/20 JR              140 review series 7 property bank account information for various properties and request same                 0.2 0.0222222          $3.11
             Disposition                                         from K. Pritchard in preparation for closings (.2)
June 2020    Asset                  06/04/20 AEP             390 read e-mails from purchaser's counsel regarding requested revisions to surveys and title                  0.5 0.0714286         $27.86
             Disposition                                         commitments to reflect identities of new lenders, update portfolio spreadsheet and closing
                                                                 checklists accordingly, and prepare e-mails to surveyor and title insurer requesting amended
                                                                 surveys and title commitments in connection with receivership properties (7760 S Coles,
                                                                 8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450 S Indiana, 6437 S Kenwood)
                                                                 (.5)
June 2020    Asset                  06/04/20 JR              140 review all leases for property (5450 S. Indiana) (1.4)                                                    1.4          1.4     $196.00
             Disposition
June 2020    Asset                  06/04/20 JR              140 review email from J. Wine regarding litigation matters and move all matters into Property                 0.8 0.0222222          $3.11
             Disposition                                         Sales folder in anticipation of production of documents to buyers related to series x
                                                                 properties (.8)
June 2020    Asset                  06/04/20 JR              140 review uploaded due diligence documents from property manager for various properties in                   0.6 0.0166667          $2.33
             Disposition                                         series x (.6)
June 2020    Asset                  06/04/20 JR              140 exchange correspondence with the property manager regarding several discrepancies                         0.1          0.1      $14.00
             Disposition                                         between the leases and the rent roll regarding rent amounts (.1)


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
June 2020    Asset                  06/04/20 JR              140 update closing checklists with requested due diligence documents for various properties in                 0.5 0.0138889          $1.94
             Disposition                                         series 7 and series x, including water account information (.5).
June 2020    Asset                  06/04/20 JR              140 draft rent roll for same (.7)                                                                              0.7          0.7      $98.00
             Disposition
June 2020    Asset                  06/04/20 MR              390 conferences regarding same with real estate broker and K. Duff and A. Porter regarding                     2.0          0.2      $78.00
             Disposition                                         analysis of offers and responses thereto (2.0)
June 2020    Asset                  06/04/20 MR              390 Attention to issues on sales of thirteen properties and emails regarding same (.4)                         0.4         0.04      $15.60
             Disposition
June 2020    Asset                  06/05/20 AEP             390 review corrected surveys received in connection with next tranche of property sales (7760 S                0.4 0.0571429         $22.29
             Disposition                                         Coles, 8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450 S Indiana, 6437 S
                                                                 Kenwood) and communicate with counsel for prospective purchasers regarding additional
                                                                 requested revisions thereto, as well as clearance of remaining title exceptions (.4)

June 2020    Asset                  06/05/20 JR              140 follow up correspondence with property management related to a request for utility bills for               0.1 0.0027778          $0.39
             Disposition                                         various properties in series x (.1)
June 2020    Asset                  06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale                 3.2 0.0385542          $5.40
             Disposition                                         related to same (3.2)
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                   0.1 0.0012048          $0.17
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,                    3.2 0.0405063         $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to               2.4 0.0303797         $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                      1.4 0.0177215          $6.91
             Disposition
June 2020    Asset                  06/08/20 AEP             390 Review all updated title commitments and surveys for next sales tranche of receivership                    0.4 0.0571429         $22.29
             Disposition                                         properties (7760 S Coles, 8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450 S
                                                                 Indiana, 6437 S Kenwood), update spreadsheet, and disseminate same to buyers' counsel
                                                                 (.4)
June 2020    Asset                  06/08/20 JR              140 review email correspondence from the title company related to updated title commitments                    0.7          0.1      $14.00
             Disposition                                         regarding various properties under contract, review and save in corresponding folders (.7)

June 2020    Asset                  06/08/20 JR              140 review water account information and title commitments and update water owner                              0.4 0.0571429          $8.00
             Disposition                                         information for various properties on closing checklists (.4)
June 2020    Asset                  06/09/20 AEP             390 prepare correspondence to counsel for all prospective purchasers of property in 7th sales                  0.3 0.0333333         $13.00
             Disposition                                         tranche regarding imminent approval of motion to confirm sales and begin scheduling
                                                                 closings (.3)
June 2020    Asset                  06/09/20 JR              140 review email from property manager regarding discrepancies related to tenants rent for                     0.2          0.2      $28.00
             Disposition                                         property (5450 S. Indiana) (.2)
June 2020    Asset                  06/09/20 JR              140 review email from property manager related to updated closing documents (.1)                               0.1          0.1      $14.00
             Disposition
June 2020    Asset                  06/10/20 JR              140 review email from property management regarding new leases for properties soon to be                       0.2 0.0055556          $0.78
             Disposition                                         under contract for various properties (.2)


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
June 2020    Asset                  06/10/20 JR              140 review granted consolidated motion for confirmation of various property sales, update                      0.5 0.0555556          $7.78
             Disposition                                         property spreadsheet and update closing checklists regarding same (.5)
June 2020    Asset                  06/10/20 JR              140 draft water certificate applications for various properties, scan and email to the title                   3.3 0.3666667         $51.33
             Disposition                                         company for processing (5450 S. Indiana, 6437 S. Kenwood, 7300 S. St. Lawrence, 7760 S.
                                                                 Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside, 11117 S. Longwood) (3.3)

June 2020    Asset                  06/10/20 JR              140 update closing checklists regarding same (.3)                                                              0.3 0.0083333          $1.17
             Disposition
June 2020    Asset                  06/10/20 JR              140 Cont'd...received requested brokerage commission statements from real estate broker (.1)                   0.1 0.0027778          $0.39
             Disposition
June 2020    Asset                  06/10/20 JR              140 update closing checklists regarding same (.2)                                                              0.2 0.0222222          $3.11
             Disposition
June 2020    Asset                  06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered                  0.8 0.0097561          $3.80
             Disposition                                         against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                  06/12/20 JR              140 exchange correspondence with property manager requesting same related to the water                         0.2          0.2      $28.00
             Disposition                                         certificate application (.2)
June 2020    Asset                  06/12/20 JR              140 review email and google links received from property manager related to HAP agreements                     0.5         0.25      $35.00
             Disposition                                         and due diligence for properties (6437 Kenwood and 5450 Indiana) (.5)

June 2020    Asset                  06/12/20 JR              140 review email from the title company regarding additional requested information related to                  0.1          0.1      $14.00
             Disposition                                         water readings for property (5450 S. Indiana) (.1)
June 2020    Asset                  06/12/20 JR              140 draft proceeds and fund disbursement instructions regarding same for next tranche of                       0.9      0.1125       $15.75
             Disposition                                         properties (5450 S. Indiana, 6437 S. Coles, 7300 S. Lawrence, 7760 S. Coles, 8000 S. Justine,
                                                                 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside, 11117 Longwood) (.9)

June 2020    Asset                  06/12/20 JR              140 review email from K. Pritchard regarding new account information and wire instructions in                  0.1 0.0027778          $0.39
             Disposition                                         preparation for the next tranche of properties to close (.1)
June 2020    Asset                  06/13/20 AEP             390 Review title commitments and surveys for all properties contained in seventh sales tranche                 3.3 0.3666667        $143.00
             Disposition                                         (7300-04 S St Lawrence, 7760 S Coles, 8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16
                                                                 S Ingleside, 5450-52 S Indiana, 6437-41 S Kenwood, and 11117-11119 S Longwood), create
                                                                 master to-do list of open issues pertaining to special exceptions and survey encroachments,
                                                                 and e-mail same to title underwriter.

June 2020    Asset                  06/14/20 AEP             390 prepare new e-mail to title underwriter summarizing all questions posed, and issues                        0.5          0.1      $39.00
             Disposition                                         presented, by counsel for purchasers of seven properties and requesting guidance (.5).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
June 2020    Asset                  06/14/20 AEP             390 Review correspondence from buyers' lenders regarding status of clearance of title exceptions             2.5 0.2777778        $108.33
             Disposition                                         on all properties contained in seventh sales tranche (7300-04 S St Lawrence, 7760 S Coles,
                                                                 8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450-52 S Indiana, 6437-
                                                                 41 S Kenwood, and 11117-11119 S Longwood), create supplemental to-do list and new
                                                                 questions for title underwriter and respond to all inquiries (2.5)

June 2020    Asset                  06/15/20 JR              140 review various reports and provide the restoration amounts (.5)                                          0.5 0.0138889          $1.94
             Disposition
June 2020    Asset                  06/15/20 JR              140 Review email from A. Porter and E. Duff regarding potential lender credit bid (.1)                       0.1 0.0027778          $0.39
             Disposition
June 2020    Asset                  06/16/20 AEP             390 read e-mail from counsel for prospective purchaser of receivership properties (7760 S Coles,             0.3 0.0428571         $16.71
             Disposition                                         8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450-52 S Indiana, and
                                                                 6437-41 S Kenwood) regarding scheduling of closings, forward requests to title company, and
                                                                 update closing calendar and EquityBuild portfolio spreadsheet (.3)

June 2020    Asset                  06/16/20 AEP             390 review title underwriter responses to inquiries regarding title clearance for all receivership           0.6 0.0666667         $26.00
             Disposition                                         properties in next sales tranche (7300-04 S St Lawrence , 7760 S Coles, 8000-02 S Justine,
                                                                 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450-52 S Indiana, 6437-41 S Kenwood, and
                                                                 11117-11119 S Longwood) and create list of action items to resolve remaining encumbrances
                                                                 (.6)
June 2020    Asset                  06/16/20 JR              140 exchange correspondence with the property management team requesting missing                             0.2          0.1      $14.00
             Disposition                                         information for closing (.2)
June 2020    Asset                  06/16/20 JR              140 follow up correspondence with the utility manager advising of all water certificate                      0.2          0.1      $14.00
             Disposition                                         applications submitted for various properties in anticipation of closings (.2)

June 2020    Asset                  06/17/20 JR              140 update closing documents for property (5450 S. Indiana) (1.1).                                           1.1          1.1     $154.00
             Disposition
June 2020    Asset                  06/18/20 AEP             390 request copies of final surveys for all properties in most recent sales tranche (5450-52 S               0.1      0.0125        $4.88
             Disposition                                         Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S
                                                                 Ellis, 8209 S Ellis, and 11117-11119 S Longwood) (.1)
June 2020    Asset                  06/18/20 AEP             390 Review information received from surveyor regarding zoning endorsements on title policies                0.2 0.0222222          $8.67
             Disposition                                         for receivership properties (5450-52 S Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-02 S
                                                                 Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis, 7600 S Kingston, and 7656 S
                                                                 Kingston) and communicate same to buyers' counsel (.2)

June 2020    Asset                  06/18/20 AEP             390 communications with counsel for purchaser of receivership properties (5450-52 S Indiana,                 0.4 0.0571429         $22.29
             Disposition                                         6437-41 S Kenwood, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, and
                                                                 8209 S Ellis) regarding adverse encroachments, unrecorded leases, and relating to
                                                                 construction loan policies being issued to purchasers' lenders (.4)

June 2020    Asset                  06/18/20 AEP             390 review amended title commitment and title invoice in connection with receivership property               0.1          0.1      $39.00
             Disposition                                         (5450 S Indiana) (.1)




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
June 2020    Asset                  06/18/20 AEP             390 read correspondence between title underwriter and counsel for purchaser of receivership                  0.1 0.0142857          $5.57
             Disposition                                         properties (5450- 52 S Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-02 S Justine, 8214- 16
                                                                 S Ingleside, 8107-09 S Ellis, and 8209 S Ellis) regarding potential assignment of single escrow
                                                                 agent to all closings (.1)
June 2020    Asset                  06/18/20 JR              140 Exchange correspondence with the property manager inquiring about security deposits held                 0.2          0.1      $14.00
             Disposition                                         at properties for all tenants (5450 S. Indiana and 6437 S. Kenwood) (.2)

June 2020    Asset                  06/18/20 JR              140 review email from property manager regarding same (.1)                                                   0.1         0.05       $7.00
             Disposition
June 2020    Asset                  06/18/20 JR              140 review additional requested documents and update rent roll and electronic files for same (.2)            0.2          0.1      $14.00
             Disposition
June 2020    Asset                  06/18/20 JR              140 draft closing documents for property (5450 S Indiana) (1.4).                                             1.4          1.4     $196.00
             Disposition
June 2020    Asset                  06/19/20 AEP             390 Distribute copies of final signed surveys to counsel for all purchasers of receivership                  0.2 0.0222222          $8.67
             Disposition                                         properties in next tranche of closings (5450-52 S Indiana, 6437-41 S Kenwood, 7300 S St
                                                                 Lawrence, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis,
                                                                 and 11117 S Longwood).
June 2020    Asset                  06/19/20 AEP             390 read e-mail from City of Chicago corporation counsel regarding judgment payoff status                    0.6 0.0857143         $33.43
             Disposition                                         associated with receivership properties (5450-52 S Indiana, 6437-41 S Kenwood, 7760 S
                                                                 Coles, 8000-02 S Justine, 8214-16 S Ingleside, 7300 S St Lawrence, and 8209 S Ellis), add new
                                                                 information to judgment tracking spreadsheet, and prepare comprehensive response
                                                                 regarding inconsistencies between City of Chicago records and EquityBuild records (.6)

June 2020    Asset                  06/19/20 AEP             390 communications with counsel for purchasers of receivership properties (5450-52 S Indiana,                0.4 0.0666667         $26.00
             Disposition                                         6437-41 S Kenwood, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, and 8209 S Ellis)
                                                                 regarding status of all outstanding title and survey issues (.4)

June 2020    Asset                  06/19/20 JR              140 Follow up correspondence with the title company regarding status of water certificates for               0.1 0.0333333          $4.67
             Disposition                                         closings (.1)
June 2020    Asset                  06/19/20 JR              140 review requested information, save in electronic files and update closing checklists regarding           0.3       0.075       $10.50
             Disposition                                         several delivered water certificates (5450 S. Indiana, 7300 S. St. Lawrence, 7760 S. Coles,
                                                                 8107 S. Ellis) (.3)
June 2020    Asset                  06/20/20 AEP             390 read latest e-mails from counsel for purchaser of seven receivership properties (7760 S Coles,           1.7 0.2428571         $94.71
             Disposition                                         8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450- 52 S Indiana, and
                                                                 6437-41 S Kenwood), check all title commitments and surveys, assemble and attach copies of
                                                                 all pleadings relating to administrative and housing court actions, describe current status of
                                                                 payment of all outstanding judgments associated with same properties, e-mail property
                                                                 managers for clarification regarding existence of permits, status of building inspections, and
                                                                 basis for permanent injunctions, and update action items to be addressed with title
                                                                 underwriter and surveyor (1.7)

June 2020    Asset                  06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                     0.2 0.0024691          $0.96
             Disposition                                         portfolio spreadsheet to plan accordingly (.2)


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
June 2020    Asset                  06/22/20 AEP             390 for all properties in next closing tranche (5450-52 S Indiana, 6437-41 S Kenwood, 7300 S St               0.6 0.0666667         $26.00
             Disposition                                         Lawrence, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis,
                                                                 and 11117 S Longwood) review and revise as appropriate all real estate brokerage and
                                                                 property manager lien waivers (.6)
June 2020    Asset                  06/22/20 AEP             390 create closing statements, check real estate tax status, reconcile title invoices, review payoff          3.6          0.4     $156.00
             Disposition                                         statements received from City of Chicago, and update closing spreadsheets (3.6)

June 2020    Asset                  06/22/20 JR              140 draft and review notice to tenants for properties (5450 S. Indiana and 6437 S. Kenwood) (.7)              0.7         0.35      $49.00
             Disposition
June 2020    Asset                  06/22/20 JR              140 exchange correspondence with property manager requesting execution of lien waivers for                    0.2          0.1      $14.00
             Disposition                                         various properties in anticipation of closing (.2)
June 2020    Asset                  06/22/20 JR              140 exchange correspondence with the property manager requesting signature of lien waivers                    0.1         0.05       $7.00
             Disposition                                         and notice to tenants relating to same (.1)
June 2020    Asset                  06/22/20 JR              140 review requested delinquency reports for various Paper Street properties preparation for                  0.2          0.1      $14.00
             Disposition                                         closings (.2)
June 2020    Asset                  06/22/20 JR              140 check tax status of properties (.3)                                                                       0.3         0.15      $21.00
             Disposition
June 2020    Asset                  06/22/20 JR              140 review email from property manager regarding request to modify notice to tenants for                      0.6          0.3      $42.00
             Disposition                                         properties (5450 S. Indiana and 6437 S. Kenwood) (.6).
June 2020    Asset                  06/23/20 AEP             390 Read responses received from J. Wine regarding status of administrative and housing court                 0.4 0.0333333         $13.00
             Disposition                                         proceedings associated with unsold receivership properties and reconcile information with
                                                                 judgment tracking spreadsheet (.4)
June 2020    Asset                  06/23/20 AEP             390 review closing files and other pertinent documents and proofread, edit, and revise as needed              3.5       0.875      $341.25
             Disposition                                         all closing documents associated with sales of receivership properties (6437 S Kenwood,
                                                                 5450 S Indiana, 8000 S Justine, and 7760 S Coles) (3.5).

June 2020    Asset                  06/23/20 AEP             390 reply to e-mail inquiry from prospective purchaser of receivership property (5450 S Indiana)              0.2          0.2      $78.00
             Disposition                                         regarding pursuit of property tax appeal following unexpectedly substantial increase in
                                                                 proposed assessment (.2)
June 2020    Asset                  06/23/20 AEP             390 review status of all properties in most current sales tranche and update to-do list (.1).                 0.1      0.0125        $4.88
             Disposition
June 2020    Asset                  06/23/20 JR              140 review delinquency report for property (5450 S. Indiana) (.2)                                             0.2          0.2      $28.00
             Disposition
June 2020    Asset                  06/23/20 JR              140 update certified rent roll regarding same (.9)                                                            0.9          0.9     $126.00
             Disposition
June 2020    Asset                  06/23/20 JR              140 exchange correspondence with the property manager regarding updated financial reports                     0.1         0.05       $7.00
             Disposition                                         for closings (5450 S. Indiana and 6437 S. Kenwood) (.1)
June 2020    Asset                  06/24/20 AEP             390 Meeting with K. Duff and J. Rak to finalize preparation, proofing, editing, revising,                     1.8       0.225       $87.75
             Disposition                                         inventorying, signing, notarizing, and witnessing of all closing documents associated with
                                                                 sales of receivership properties (5450-52 S Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-
                                                                 02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis, and 11117 S Longwood) (1.8)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2020    Asset                  06/24/20 JR              140 produce closing documents of all various properties scheduled to close in preparation for               1.4          0.2      $28.00
             Disposition                                         execution by the receiver (1.4)
June 2020    Asset                  06/24/20 JR              140 exchange correspondence with property management regarding various updates related to                   0.2          0.2      $28.00
             Disposition                                         tenants, lease discrepancies related to closing (5450 S. Indiana) (.2)
June 2020    Asset                  06/24/20 JR              140 meeting with A. Porter and K. Duff regarding execution of all closing documents scheduled to            1.8          0.2      $28.00
             Disposition                                         close on properties (5450 S. Indiana, 6437 S. Kenwood, 7760 S. Coles, 8000 S. Justine, 7300 S.
                                                                 St. Lawrence, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside, 11117 S. Longwood) (1.8).

June 2020    Asset                  06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).                1.5 0.0185185          $7.22
             Disposition
June 2020    Asset                  06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                          0.4 0.0049383          $1.93
             Disposition
June 2020    Asset                  06/25/20 AEP             390 Attend closings of receivership properties (5450 S Indiana and 6437 S Kenwood), including               5.8          2.9   $1,131.00
             Disposition                                         multiple analyses of and revisions to rent rolls, negotiations over water prorations and other
                                                                 expenses, review and analysis of multiple drafts of settlement statements, inventorying of
                                                                 closing documents, and review and analysis of all surveys and survey invoices associated
                                                                 with final tranche of receivership properties (5.8)

June 2020    Asset                  06/25/20 JR              140 update certified rent roll for closing (.5)                                                             0.5          0.5      $70.00
             Disposition
June 2020    Asset                  06/25/20 JR              140 exchange correspondence with various parties regarding confirmation of closed property                  0.2          0.2      $28.00
             Disposition                                         (5450 S. Indiana) (.2)
June 2020    Asset                  06/25/20 JR              140 Attend closing of property (5450 S. Indiana) (3.2)                                                      3.2          3.2     $448.00
             Disposition
June 2020    Asset                  06/25/20 JR              140 exchange correspondence with the closer administering the closing regarding same (.1)                   0.1          0.1      $14.00
             Disposition
June 2020    Asset                  06/25/20 JR              140 exchange correspondence with property manager regarding updates for closing related to                  0.3          0.3      $42.00
             Disposition                                         property (.3)
June 2020    Asset                  06/25/20 JR              140 prepare real estate transfer tax declaration regarding property (5450 Indiana) (.3)                     0.3          0.3      $42.00
             Disposition
June 2020    Asset                  06/25/20 KMP             140 Telephone conference with J. Rak to confirm wire information for upcoming property sales.               0.2         0.02       $2.80
             Disposition
June 2020    Asset                  06/26/20 JR              140 follow up correspondence with K. Pritchard regarding confirmation of net proceeds from                  0.1          0.1      $14.00
             Disposition                                         closing (5450 S. Indiana) (.1)
June 2020    Asset                  06/26/20 KMP             140 Review online banking platform to confirm receipt of sale proceeds for properties (6437                 0.2          0.1      $14.00
             Disposition                                         Kenwood, 5450 S Indiana) and communicate with J. Rak regarding same.

June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                  0.7 0.0067961          $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                                0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting             1.9 0.0184466          $7.19
             Operations                                          reports (1.9)


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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2020    Business               06/03/20 ED          390 Call with accountant to discuss data for March accounting reports and review of related              1.0 0.0097087         $3.79
             Operations                                      documents and correspondence.
June 2020    Business               06/05/20 ED          390 Email correspondence with accountant and K. Pritchard regarding receivership property                0.2 0.0019417         $0.76
             Operations                                      expenditures during March 2020.
June 2020    Business               06/08/20 ED          390 Review analysis from J. Rak of restoration amounts from properties sold, and email                   0.2 0.0019417         $0.76
             Operations                                      correspondence with B. Fish regarding same.
June 2020    Business               06/10/20 KMP         140 Communications with J. Rak and bank representative regarding opening new accounts for                0.2 0.0222222         $3.11
             Operations                                      properties to be sold (.2)
June 2020    Business               06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting              0.6 0.0058252         $2.27
             Operations                                      reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)
June 2020    Business               06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                            0.5 0.0048544         $1.89
             Operations
June 2020    Business               06/23/20 JRW         260 Study pleadings in administrative matters for properties under contract for sale (1700               0.9       0.075      $19.50
             Operations                                      Juneway Terrace, 5450-52 S Indiana Avenue/ 118-132 E Garfield, 6437 S Kenwood Avenue,
                                                             7300-04 St Lawrence Avenue, 7760 S Coles Avenue, 8000 S Justine Street/ 1541 E 80th Street,
                                                             8107 S Ellis Avenue, 8209 S Ellis Avenue, 8214 S Ingleside, 7237 S Bennett Avenue, 11117-
                                                             11119 S Longwood Drive, 6949-59 S Merrill Avenue / 2134-40 East 68th Street) and related
                                                             status update to A. Porter.
June 2020    Business               06/24/20 AEP         390 Conference call with receivership accountant regarding proper completion of Form 1099-S              0.3 0.0090909         $3.55
             Operations                                      tax documents at closings of receivership properties.
June 2020    Business               06/24/20 ED          390 call with accountant to discuss same (.1).                                                           0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)           0.2 0.0019417         $0.76
             Operations
June 2020    Business               06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to               0.3 0.0036585         $0.51
             Operations                                      installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020    Claims                 06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor                0.3 0.0033708         $0.47
             Administration                                  regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                 06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                       2.4 0.0269663        $10.52
             Administration
             & Objections




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  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
June 2020    Claims                 06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).                  2.2 0.0247191          $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 MR          390 Conferences regarding issues on brief.                                                                   0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 Review and revise brief (3.5)                                                                            3.5 0.0393258         $15.34
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                             0.6 0.0067416          $2.63
             Administration
             & Objections

July 2020    Asset                  07/01/20 KBD         390 Attention to sold properties, closing date confirmations, publication notice, and post-sale              0.3         0.03      $11.70
             Disposition                                     accounting reconciliation.
July 2020    Asset                  07/23/20 KBD         390 exchange correspondence regarding certificate of publication (.1).                                       0.1 0.0043478          $1.70
             Disposition
July 2020    Business               07/01/20 KBD         390 review information and draft correspondence to insurance broker regarding sold properties                0.2       0.025        $9.75
             Operations                                      (.2).
July 2020    Claims                 07/21/20 KBD         390 prepare for call with claimants' counsel regarding claims against properties (7749 S. Yates &            0.3         0.15      $58.50
             Administration                                  5450 S. Indiana) and draft correspondence to J. Wine relating to same (.3).
             & Objections

July 2020    Claims                 07/22/20 KBD         390 prepare for call with claimant's counsel relating to properties (5450 Indiana, 7749 Yates) (.5)          0.5         0.25      $97.50
             Administration
             & Objections

July 2020    Claims                 07/22/20 KBD         390 telephone conference with claimant's counsel and M. Rachlis regarding claims (5450 Indiana,              0.8          0.4     $156.00
             Administration                                  7749 Yates) (.8)
             & Objections

July 2020    Claims                 07/25/20 KBD         390 Review records relating to claims (7749 Yates, 5450 Indiana).                                            0.3         0.15      $58.50
             Administration
             & Objections

July 2020    Claims                 07/27/20 KBD         390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and              0.3 0.0033708          $1.31
             Administration                                  J. Wine relating to same (.3)
             & Objections




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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                  1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                  07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and                0.9 0.0230769         $9.00
             Disposition                                         completeness in connection with final reconciliation and payment of municipal judgments
                                                                 (.9).
July 2020    Asset                  07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution             0.5 0.0128205         $5.00
             Disposition                                         of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020    Asset                  07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative             1.7 0.0435897        $17.00
             Disposition                                         and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                 spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                 reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                 receivership properties, both current and former (1.7).

July 2020    Asset                  07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538        $18.00
             Disposition                                         receivership properties in connection with effort to achieve full and final accord with City of
                                                                 Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020    Asset                  07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                      4.4 0.0656716         $9.19
             Disposition                                         communications with EB team regarding same.
July 2020    Asset                  07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026        $25.00
             Disposition                                         with receivership properties and completion of spreadsheet of outstanding judgments (2.5).

July 2020    Asset                  07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718        $37.00
             Disposition                                         violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                 properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                 cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                 reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                 of final sales tranche (3.7)
July 2020    Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                          0.1 0.0027778         $0.39
             Disposition
July 2020    Business               07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                    0.3 0.0044776         $0.63
             Operations                                          for exhibits to proposed restoration motion (.3)
July 2020    Business               07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                    2.3 0.0343284         $4.81
             Operations                                          exhibits to restoration motion (2.3).
July 2020    Business               07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in                3.5 0.0522388         $7.31
             Operations                                          narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                 same (3.5)
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                          3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                                0.4 0.0038835         $1.51
             Operations




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294         $3.29
             Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                               0.2 0.0029851         $0.42
             Operations
July 2020    Business               07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).             0.2 0.0029851         $0.42
             Operations
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business               07/24/20 KMP             140 electronically file same with court (.3)                                                               0.3 0.0044776         $0.63
             Operations
July 2020    Business               07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                              0.3 0.0044776         $0.63
             Operations
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations


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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417          $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301        $3.26
             Administration
             & Objections

July 2020    Claims                 07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944          $1.17
             Administration                                      regarding discrepancies (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417          $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835          $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049          $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252          $2.27
             Administration
             & Objections

July 2020    Claims                 07/22/20 JRW             260 Exchange correspondence with K. Duff regarding claims against properties (5450-52 S                    0.2          0.1      $26.00
             Administration                                      Indiana, 7749-59 S Yates) (.2)
             & Objections

July 2020    Claims                 07/22/20 MR              390 conferences with K. Duff (.8) regarding same (7749 Yates, 5450 Indiana).                               0.8          0.4     $156.00
             Administration
             & Objections

July 2020    Claims                 07/31/20 JRW             260 additional legal research and draft memo regarding motion to intervene (.8)                            0.8 0.0089888          $2.34
             Administration
             & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
August 2020 Claims                  08/03/20 KBD             390 analysis of claimant intervention motion and exchange correspondence with J. Wine                          0.3 0.0033708          $1.31
            Administration                                       regarding same (.3)
            & Objections

August 2020 Claims                  08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                            0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                  08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence                   1.3 0.0146067          $5.70
            Administration                                       to J. Wine regarding same.
            & Objections

August 2020 Claims                  08/24/20 KBD             390 study correspondence from A. Porter regarding same and properties ready to close (.2)                      0.2 0.0333333         $13.00
            Administration
            & Objections

August 2020 Claims                  08/24/20 KBD             390 exchange correspondence with J. Wine regarding information provided to claimant's counsel                  0.1         0.05      $19.50
            Administration                                       (.1)
            & Objections

August 2020 Claims                  08/24/20 KBD             390 Study claimants' responses to property sales and restoration motion (5450 Indiana, 7749                    0.5 0.0833333         $32.50
            Administration                                       Yates, 7760 Coles, 8107 Ellis, 8214 Ingleside, 8000 Justine) (.5)
            & Objections

August 2020 Claims                  08/25/20 KBD             390 Study claimants' objections to sale motion and restoration motion (5450 Indiana, 7749 Yates,               0.8 0.1333333         $52.00
            Administration                                       7760 Coles, 8107 Ellis, 8214 Ingleside, 8000 Justine) (.8)
            & Objections

August 2020 Claims                  08/25/20 KBD             390 exchange correspondence with J. Wine regarding same (.2)                                                   0.2 0.0333333         $13.00
            Administration
            & Objections

August 2020 Claims                  08/25/20 KBD             390 outline responses to same (.5)                                                                             0.5 0.0833333         $32.50
            Administration
            & Objections

August 2020 Asset                   08/13/20 JR              140 exchange communication with K. Duff regarding form 1099 from various closings and update                   0.3 0.0272727          $3.82
            Disposition                                          electronic files regarding same (5450 S. Indiana, 11117 Longwood, 8214 Ingleside, 8107 S.
                                                                 Ellis, 8000 S. Justine, 8326-52 S. Ellis, 4520 S. Drexel, 8201 S. Kingston, 7546 S. Saginaw, 7749
                                                                 S. Yates, 7760 S. Coles) (.3)
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).             0.1 0.0009709          $0.14
            Disposition




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
August 2020 Business                08/04/20 ED          390 email correspondence with accountant regarding comments and questions relating to same               0.4 0.0038095          $1.49
            Operations                                       (.4)
August 2020 Business                08/04/20 ED          390 Review and analysis of summary reporting prepared by accountant based on April                       1.9 0.0180952          $7.06
            Operations                                       accounting reports (1.9)
August 2020 Business                08/06/20 AW          140 Work on accounting reports for institutional lenders on property by property basis with              0.8    0.007767        $1.09
            Operations                                       addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                             need to be supplemented (.8)
August 2020 Business                08/06/20 ED          390 prepare and transmit April accounting reports to lenders' counsel (1.6).                             1.6 0.0152381          $5.94
            Operations
August 2020 Business                08/13/20 ED          390 review and analysis of related documents and reports (.2).                                           0.2 0.0023529          $0.92
            Operations
August 2020 Business                08/13/20 ED          390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be             0.1 0.0011765          $0.46
            Operations                                       listed for sale (.1)
August 2020 Business                08/16/20 ED          390 email correspondence to accountant regarding same (.1).                                              0.1 0.0009709          $0.38
            Operations
August 2020 Business                08/16/20 ED          390 review and analysis of financial reporting information related to preparation of May 2020            0.3 0.0029126          $1.14
            Operations                                       accounting reports (.3)
August 2020 Business                08/21/20 ED          390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                0.3 0.0029126          $1.14
            Operations                                       accountant for preparation of May accounting reports (.3)
August 2020 Business                08/21/20 ED          390 update analysis of apparent reporting discrepancies for discussion with property manager             0.2 0.0031746          $1.24
            Operations                                       (.2)
August 2020 Business                08/21/20 ED          390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873          $0.62
            Operations
August 2020 Business                08/25/20 ED          390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835          $1.51
            Operations                                       regarding details and backup for information to include in May accounting reports to
                                                             lenders.
August 2020 Business                08/28/20 MR          390 Attention to issues on objections to restoration motion.                                             0.2 0.0285714         $11.14
            Operations
August 2020 Claims                  08/07/20 JRW         260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'           0.9 0.0101124          $2.63
            Administration                                   motion to intervene (.9)
            & Objections

August 2020 Claims                  08/12/20 JRW         260 legal research regarding intervention by receivership claimants and related analysis to K.           1.5 0.0168539          $4.38
            Administration                                   Duff and M. Rachlis (1.5)
            & Objections

August 2020 Claims                  08/24/20 JRW         260 Review opposition to restorations of funds motion and related review of motion and exhibits          0.3         0.15      $39.00
            Administration                                   and correspondence to team (5450 Indiana, 7749 Yates).
            & Objections




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
August 2020 Claims                  08/28/20 AW              140 research regarding authority cited in lender's objection to rent restoration motion (1.5).             1.5         0.75     $105.00
            Administration
            & Objections

September    Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                            0.2 0.0045455          $1.77
2020         Disposition
September    Claims                 09/10/20 KBD             390 exchange correspondence various correspondence regarding same (5450-52 S. Indiana, 7749-               0.7         0.35     $136.50
2020         Administration                                      59 S. Yates) (.7)
             & Objections

September Claims                    09/10/20 KBD             390 Draft reply to opposition to second restoration motion (5450-52 S. Indiana, 7749-59 S. Yates)          2.5         1.25     $487.50
2020      Administration                                         (2.5)
          & Objections

September Claims                    09/11/20 KBD             390 Revise reply to opposition to second restoration motion (.6)                                           0.6          0.3     $117.00
2020      Administration
          & Objections

September Claims                    09/14/20 KBD             390 study court orders and exchange correspondence regarding same (.3)                                     0.3         0.05      $19.50
2020      Administration
          & Objections

September Claims                    09/14/20 KBD             390 confer with M. Rachlis and J. Wine regarding claimants' motion for determination on                    0.5 0.0833333         $32.50
2020      Administration                                         properties (7110 Cornell, 6751 Merrill), ninth sales motion (1131-41 E. 79th Pl, 6250 S.
          & Objections                                           Mozart), second restoration motion, and various related issues (.5)

September Claims                    09/15/20 KBD             390 work on response to objections to second restoration motion (5450-52 S. Indiana, 7749-59 S.            0.8          0.4     $156.00
2020      Administration                                         Yates) (.8).
          & Objections

September    Asset                  09/01/20 AW              140 Communicate with J. Rak regarding issue relating to property sales, compile pleadings                  1.6 0.1066667         $14.93
2020         Disposition                                         related to same, and email K. Duff complete set of pleadings.
September    Asset                  09/10/20 AW              140 research and communicate with K. Duff regarding orders approving sale of properties (5450              0.4          0.2      $28.00
2020         Disposition                                         S Indiana, 7749 S Yates) (.4).
September    Asset                  09/16/20 JR              140 review email from K. Duff related to request of 2nd quarter 2020 closed properties, draft              0.2 0.0153846          $2.15
2020         Disposition                                         same and provide K. Duff regarding same (.2)
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417          $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                    0.3 0.0029126          $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417          $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                         0.3 0.0029126          $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/10/20 KMP             140 Review numerous pleadings and orders to locate record cites in connection with reply in                   2.3         1.15     $161.00
2020         Operations                                          support of motion for restoration, and communicate with K. Duff regarding same.

September    Business               09/11/20 AW              140 Revisions to reply in support of second restoration motion.                                               0.2          0.1      $14.00
2020         Operations
September    Business               09/11/20 KMP             140 Review additional pleadings and orders to locate record cites in connection with reply in                 0.3         0.15      $21.00
2020         Operations                                          support of motion for restoration, and communicate with K. Duff regarding same.

September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting                  1.2 0.0116505          $4.54
2020         Operations                                          (1.2)
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                            0.2 0.0019417          $0.76
2020         Operations
September    Business               09/18/20 AW              140 Communicate with K. Duff regarding cited opinion, research regarding same and email                       0.6          0.3      $42.00
2020         Operations                                          exchange with K. Duff regarding results.
September    Business               09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account                0.8 0.0119403          $1.67
2020         Operations                                          numbers for all properties subject to order (.8)
September    Business               09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)                   0.2 0.0029851          $0.42
2020         Operations
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly               0.2 0.0019417          $0.27
2020         Operations                                          (.2).
September    Business               09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                    2.1 0.0313433          $4.39
2020         Operations                                          (2.1)
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.                 1.2 0.0116505          $4.54
2020         Operations
September    Claims                 09/10/20 JRW             260 review draft response to objections (5450 S Indiana and 7749-59 S Yates) (.6)                             0.6          0.3      $78.00
2020         Administration
             & Objections

September Claims                    09/11/20 JRW             260 Edit draft response to objections to second rent restoration motion to incorporate                        0.5         0.25      $65.00
2020      Administration                                         comments (5450 Indiana, 7749-59 Yates) (.5)
          & Objections

September Claims                    09/15/20 AW              140 revisions to reply in support of second restoration motion, finalize reply, file with the court,          0.8          0.4      $56.00
2020      Administration                                         and serve as per service list (5450 Indiana, 7749-59 Yates) (.8).
          & Objections

September Claims                    09/15/20 JRW             260 attention to finalizing responses to objections to ninth sales motion (6250 S Mozart and 1131-            0.6          0.3      $78.00
2020      Administration                                         41 E 79th) and objections to second restoration motion (5450 S Indiana and 7749 S. Yates)
          & Objections                                           (.6).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).              0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                       0.3 0.0028571         $1.11
2020         Operations
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                          3.3 0.0320388         $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)                0.9 0.0087379         $1.22
2020         Disposition
October      Asset                  10/06/20 JR              140 request same from property management (.2)                                                               0.2 0.0045455         $0.64
2020         Disposition
October      Asset                  10/06/20 JR              140 review post-closing reconciliation report and update electronic files for all closed properties          0.4 0.0444444         $6.22
2020         Disposition                                         (.4)
October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                       0.5 0.0048544         $0.68
2020         Disposition                                         information (.5)
October      Asset                  10/13/20 JR              140 update post-closing reconciliation reports related to all closed properties (.6)                         0.6 0.0666667         $9.33
2020         Disposition
October      Asset                  10/13/20 JR              140 follow up correspondence with property management regarding post-closing reconciliation                  0.1 0.0111111         $1.56
2020         Disposition                                         funds for closed properties (.1)
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).              0.2 0.0019417         $0.76
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                   0.1 0.0009709         $0.38
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                     0.9 0.0087379         $3.41
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                 0.3 0.0029126         $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                       0.1 0.0009709         $0.38
2020         Operations
October      Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                   0.8    0.007767       $3.03
2020         Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                 reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED              390 final review of May reports (1.0).                                                                       1.0 0.0097087         $3.79
2020         Operations
October      Business               10/08/20 ED              390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as                1.5 0.0145631         $5.68
2020         Operations                                          of May 31, 2020 (1.5)
October      Business               10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting                0.5 0.0048544         $1.89
2020         Operations                                          reports (.5).
October      Business               10/09/20 AW              140 Prepare financial statements on property by property basis for service and email E. Duff                 1.1 0.0106796         $1.50
2020         Operations                                          regarding reports.
October      Business               10/09/20 ED              390 Transmit May accounting reports to lenders' counsel (.6)                                                 0.6 0.0058252         $2.27
2020         Operations




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October      Business               10/09/20 ED              390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544          $1.89
2020         Operations                                          amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED              390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 ED              390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020         Operations                                          restoration and future reporting from receivership, including attachments describing funds
                                                                 transfers and confer with K. Duff regarding same (.8)
October      Business               10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020         Operations                                          accounting reports (.3)
October      Business               10/20/20 ED              390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020         Operations                                          approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                                 Properties (.7).
October      Business               10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020         Operations                                          property manager (.2)
October      Business               10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020         Operations                                          updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020         Operations
October      Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020         Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/27/20 KMP             140 communicate with K. Duff regarding remaining transfers relating to second restoration                0.2          0.1      $14.00
2020         Operations                                          motion in light of Court's order granting same (.2).
October      Business               10/28/20 JRW             260 attention to drafting proposed order granting remainder of restoration motion and related            0.6          0.3      $78.00
2020         Operations                                          communications regarding exhibit to same (.6)
October      Business               10/28/20 KMP             140 Further communication with K. Duff regarding remaining transfers relating to second                  0.1         0.05       $7.00
2020         Operations                                          restoration motion in light of Court's order granting same (.1)
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020         Operations                                          reports, and review of related financial information.
October      Claims                 10/28/20 AW              140 Revise proposed order granting remainder of second restoration motion and email counsel              0.2          0.1      $14.00
2020         Administration                                      regarding same.
             & Objections

November     Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022        $3.08
2020         Disposition
November     Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868          $0.26
2020         Disposition




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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020         Operations
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020         Operations                                          property reports (.3)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020         Operations
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020         Disposition                                         discrepancy (.9)
December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020         Disposition                                         (.1)
December     Asset                  12/23/20 KMP             140 communicate with property manager regarding final reconciliations for sold properties (3074          0.5 0.0714286         $10.00
2020         Disposition                                         Cheltenham, 7508 Essex, 4520 Drexel, 7110 Cornell, 5450 Indiana, 6437 Kenwood, 7450
                                                                 Luella) (.5).
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                 0.4 0.0044944          $1.75
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations


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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
December     Business               12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                      property managers (2.6).
December     Business               12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                      preparation of September property accounting reports (.1)
December     Business               12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020         Operations                                      accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020         Operations
December     Business               12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                      properties (.9).
December     Business               12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020         Operations                                      changes (.4)
December     Business               12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020         Operations                                      of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December     Business               12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048          $0.74
2020         Operations                                      premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
December     Claims                 12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                       0.2 0.0022472          $0.58
2020         Administration
             & Objections

January      Asset                  01/11/21 KBD         390 Confer with J. Wine regarding post-sale account reconciliation and transfers of funds from           0.2 0.0285714         $11.14
2021         Disposition                                     property managers to separate accounts (7450 S Luella Avenue, 7508 S Essex Avenue, 4520-
                                                             26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S
                                                             Cornell Avenue, 3074 E Cheltenham Place) (.2)
January      Asset                  01/11/21 KBD         390 study final reports from property manager (7450 S Luella Avenue, 7508 S Essex Avenue, 4520-          0.4 0.0571429         $22.29
2021         Disposition                                     26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S
                                                             Cornell Avenue, 3074 E Cheltenham Place) (.4).
January      Business               01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021         Operations
January      Business               01/18/21 KBD         390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021         Operations                                      expenses.
January      Claims                 01/19/21 KBD         390 attention to review of claims (1700-08 W Juneway Terrace, 5450-52 S Indiana Avenue, 7749-            0.2         0.05      $19.50
2021         Administration                                  59 S Yates Boulevard, 6160-6212 S Martin Luther King Drive) (.2)
             & Objections




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524         $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704         $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Asset                  01/11/21 JR              140 Exchange communication with J. Wine regarding post-closing reconciliation request and                0.1 0.0142857         $2.00
2021         Disposition                                         provide same (7508 S Essex Avenue, 4520-26 S Drexel Boulevard, 7450 S Luella Avenue, 5450-
                                                                 52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S Cornell Avenue, 3074 E
                                                                 Cheltenham Place) (.1)
January      Asset                  01/11/21 KMP             140 Telephone conference with J. Wine regarding property manager's post- sale reconciliation             0.4 0.0571429         $8.00
2021         Disposition                                         reports and review online bank records to confirm deposits of post-sale funds (7508 S Essex
                                                                 Avenue, 4520-26 S Drexel Boulevard, 7450 S Luella Avenue, 5450-52 S Indiana Avenue, 6437-
                                                                 41 S Kenwood Avenue, 7110 S Cornell Avenue, 3074 E Cheltenham Place).

January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                 0.5 0.0047619         $1.86
2021         Operations
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                         0.1 0.0009524         $0.37
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                       0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond                0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                     4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October               0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                      1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                 1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                         2.4 0.0228571         $3.20
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                     0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              0.9 0.0085714          $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/11/21 JRW             260 study spreadsheets from property manager (2220 East 75th Street, 2453-59 E 75th Street,              0.6 0.0857143         $22.29
2021         Operations                                          4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S
                                                                 Cornell Avenue, 7836 S Shore Drive) (.6).
January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and              0.6 0.0057143          $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571          $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property             0.2 0.0033333          $0.47
2021         Operations                                          report (.2)
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095          $1.49
2021         Operations
January      Business               01/15/21 KMP             140 revise list of EB entities to include tax identification numbers (.5).                               0.5 0.0178571          $2.50
2021         Operations
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905          $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571          $1.11
2021         Operations                                          (.3).
January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524          $0.37
2021         Operations
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286          $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286          $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619          $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/22/21 AW              140 Email exchange with counsel and accountant regarding entity's standing (5450 S Indiana LLC)          0.1          0.1      $14.00
2021         Operations                                          (.1)
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143          $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095          $1.49
2021         Operations
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095          $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)




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5450-52 S Indiana Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619        $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905          $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905          $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095          $0.53
2021         Operations
January      Claims                 01/18/21 JP                   95 review lender statement of accounts, full client history, and mortgagee spreadsheet and          2.2          2.2     $209.00
2021         Administration                                          complete claims analysis for property (5450-52 S Indiana Avenue) (2.2)
             & Objections

January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143          $0.80
2021         Administration                                      lenders.
             & Objections

February     Asset                  02/10/21 AEP             390 teleconference with prospective purchaser of receivership properties (7024-32 S Paxton               0.2          0.1      $39.00
2021         Disposition                                         Avenue, 5420 S Indiana Avenue) regarding title exception issues and estimated closing dates
                                                                 (.2).
February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697          $0.51
2021         Disposition                                         and status of same (.4)
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644          $4.63
2021         Operations
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797          $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048          $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762          $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762          $4.09
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857          $4.80
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048          $0.27
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571          $0.40
2021         Operations                                          reporting.




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
February     Claims                 02/10/21 SZ              110 Review of claims (1700-08 Juneway Terrance, 5450-52 S Indiana Ave, 7749-59 S Yates                   5.8 1.9333333       $212.67
2021         Administration                                      Boulevard).
             & Objections

March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                          2.2 0.0209524         $8.17
           Operations
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                   0.3 0.0028571         $1.11
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                0.7 0.0066667         $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                 0.2 0.0019048         $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership               1.8 0.0171429         $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).              0.1 0.0009524         $0.37
           Operations
March 2021 Claims                   03/11/21 SZ              110 Email communication with J. Wine regarding update on review of properties (1700-08 W                 0.4 0.0285714         $3.14
           Administration                                        Juneway Terrace, 5450-52 S Indiana Avenue, 7749-59 S Yates Boulevard, 6160-6212 S Martin
           & Objections                                          Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S Sacramento
                                                                 Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 7237-43 S Bennett
                                                                 Avenue, 701-13 S 5th Avenue, Maywood, 11117-11119 S Longwood Drive, 7834-44 S Ellis
                                                                 Avenue, 4611-17 S Drexel Boulevard).

April 2021   Business               04/08/21 KBD             390 Exchange correspondence with insurance broker regarding credits for sold properties (.1)             0.1 0.0026316         $1.03
             Operations
April 2021   Business               04/13/21 KBD             390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                          7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                                 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                 Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                 Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                 Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                                 1414-18 East 62nd Place) (.3)

April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                     0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and           0.1 0.0009524         $0.13
             Disposition                                         payment of same (see D) (.1)


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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation            0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence             1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-          0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to           0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)          0.1 0.0015873          $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)              0.2    0.003125        $0.44
             Disposition                                         (.2)
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for two properties (5450-52 S Indiana           0.3         0.15      $58.50
             Operations                                          Avenue, 7749-59 S Yates Boulevard) (.3)
April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                 0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                  1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                 3.2 0.0304762          $4.27
             Operations
April 2021   Business               04/29/21 SZ              110 Review of property managers emails with invoices for properties (7024-32 S Paxton Avenue,          2.6 0.2363636         $26.00
             Operations                                          6217-27 S Dorchester Avenue, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard, 2220 East
                                                                 75th Street, 2453-59 E 75th Street, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue,
                                                                 6437-41 S Kenwood Avenue, 7110 S Cornell Avenue, 7836 S Shore Drive), SSPH1 properties
                                                                 (4750-52 S Indiana Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street, 7840-42 S Yates
                                                                 Avenue), (816-22 E Marquette Road), Equity Build Associated properties (1017 W 102nd
                                                                 Street, 2129 W 71 Street, 2220 75th Street, 2453-59 E 75th Street, 4533-47 S Calumet
                                                                 Avenue, 5437 S Laflin Street, 7701-03 E Essex Avenue, 7925 S Kingston, 8201 S Kingston
                                                                 Avenue) in order to retrieve repair documentation.

April 2021   Business               04/30/21 ED              390 email correspondence with accountant and property manager regarding analysis of financial          0.2 0.0105263          $4.11
             Operations                                          reporting from property managers (7836 S Shore Drive, 7546-48 S Saginaw Avenue, 8326-54
                                                                 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette
                                                                 Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 1700-08 W Juneway Terrace, 7201-
                                                                 07 S Dorchester Avenue, 6749-59 S Merrill Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                 Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7508 S Essex Avenue,
                                                                 6437-41 S Kenwood Avenue, 5450-52 S Indiana Avenue, 7450 S Luella Avenue) (.2).




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/30/21 ED              390 Review and analysis of financial reporting from property managers to respond to request              1.2 0.0631579        $24.63
             Operations                                          from accountant for additional information on 2020 property operating income details (7836
                                                                 S Shore Drive, 7546-48 S Saginaw Avenue, 8326-54 S Ellis Avenue, 11117-11119 S Longwood
                                                                 Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59 S
                                                                 Talman Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 6749-59 S
                                                                 Merrill Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue, 6250 S Mozart Street, 7508 S Essex Avenue, 6437-41 S Kenwood Avenue, 5450-52 S
                                                                 Indiana Avenue, 7450 S Luella Avenue) (1.2)

May 2021     Business               05/03/21 ED              390 Review final property manager reports relating to six properties (7836 South Shore Drive,            0.2 0.0333333        $13.00
             Operations                                          7110 S Cornell Avenue, 2453-59 E 75th Street, 6437-41 S Kenwood Avenue, 5450-52 S
                                                                 Indiana Avenue, 2220 East 75th Street) and related email correspondence with accountant.

May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381       $1.73
             Operations
May 2021     Business               05/17/21 ED              390 reply to email correspondence from accountant regarding calculation of insurance                     0.4 0.0097561         $3.80
             Operations                                          reconciliation amounts for properties sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th
                                                                 Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                 6250 S Mozart Street, 6355-59 S Talman Avenue, 6357-59 S Talman, 6749-59 S Merrill
                                                                 Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue,
                                                                 7546-48 S Saginaw Avenue, 7749-59 S Yates Boulevard, 816-22 E Marquette Road, 8201 S
                                                                 Kingston Avenue, 8047-55 S Manistee Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S
                                                                 Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham
                                                                 Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue,
                                                                 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 6949-59 S Merrill Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4).




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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021     Business               05/17/21 ED          390 draft and send email to insurance agent regarding additional backup required regarding                0.9 0.0346154        $13.50
             Operations                                      premium refunds with respect to certain sold properties (8047-55 S Manistee Avenue, 8326-
                                                             32 S Ellis Avenue, 8334- 40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue,
                                                             5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S
                                                             Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S
                                                             Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther
                                                             King Drive, 6356 S California Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue,
                                                             1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 6949-59 S Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                             Avenue) (.9)

May 2021     Business               05/19/21 KMP         140 conference with K. Duff regarding property expenses in connection with anticipated third              0.1 0.0012346         $0.17
             Operations                                      restoration motion (.1).
May 2021     Business               05/25/21 ED          390 Review of additional endorsements received from agent (5450-52 S Indiana Avenue, 6437-41              0.3 0.0428571        $16.71
             Operations                                      S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                             8214-16 S Ingleside Avenue, 8209 S Ellis Avenue) (.3)

June 2021    Business               06/01/21 ED          390 Update list of insurance policy endorsements needed to complete reconciliation of costs for           0.9 0.0219512         $8.56
             Operations                                      properties sold in 2020 and email correspondence with insurance agent to request additional
                                                             backup (8407-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue,
                                                             7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                             Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2021    Business               06/03/21 ED              390 email correspondence with insurance agent regarding insurance refunds for sold properties              0.1    0.002439        $0.95
             Operations                                          (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                                 Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                                 Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                                 Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                                 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                                 Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                                 44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                                 Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.1).


June 2021    Business               06/22/21 ED              390 Email correspondence to insurance agent following up on missing documentation regarding                0.2    0.004878        $1.90
             Operations                                          refunds for prepaid premium amounts relating to properties sold in 2020 (8047-55 S
                                                                 Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021    Business               06/25/21 ED              390 update analysis of insurance expense allocation for sold properties (3074 E Cheltenham                 0.4         0.05      $19.50
             Operations                                          Place, 6437-41 S Kenwood Avenue, 5450-52 S Indiana Avenue, 8000-02 S Justine Street, 7760
                                                                 S Coles Avenue, 8214-16 S Ingleside Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue) (.4)

June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619          $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                   0.2 0.0018868          $0.26
             Disposition                                         regarding closed properties status (see D) (.2)




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2021    Business               07/01/21 ED              390 Update analysis of insurance adjustments relating to sold properties (7749-59 S Yates                  0.2 0.0057143          $2.23
             Operations                                          Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                 St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-
                                                                 07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet
                                                                 Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue,
                                                                 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-
                                                                 41 E 79th Place) (.2)

July 2021    Business               07/01/21 ED              390 confer with J. Rak regarding follow-up to obtain missing data (7749-59 S Yates Boulevard,              0.1 0.0028571          $1.11
             Operations                                          6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston
                                                                 Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-07 S
                                                                 Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue,
                                                                 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place) (.1).

July 2021    Business               07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
             Operations                                          accordingly (see I).
July 2021    Business               07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
             Operations                                          restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                 Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                 2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                 26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                 Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                 Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                 Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                 Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                 Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                 Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                 Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                 Avenue).




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2021    Business               07/21/21 JR              140 Exchange correspondence with account analyst regarding various property insurance                     0.3 0.0073171         $1.02
             Operations                                          endorsements related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St
                                                                 Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                 58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                 Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place, 6250 S Mozart Street).


July 2021    Business               07/22/21 JR              140 Review property insurance endorsements and communicate with account analyst regarding                 0.7 0.0170732         $2.39
             Operations                                          various property insurance missing endorsements related to sold properties and request
                                                                 production of same (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520- 26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2021    Business               07/23/21 JR              140 Exchange correspondence with account analyst regarding requested property insurance                    0.5 0.0119048         $1.67
             Operations                                          endorsements for sold properties in 2020, review requested endorsements and save in
                                                                 electronic files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520-
                                                                 26 S Drexel Boulevard, 8201 S Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                 St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman Avenue, 6356 S
                                                                 California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                 Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                 Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E
                                                                 Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250
                                                                 S Mozart Street).


August 2021 Business                08/16/21 JR              140 Review email from E. Duff related to property endorsements regarding 2020 property                     0.4 0.0097561         $1.37
            Operations                                           insurance, update same and send all endorsements received from accounting firm (8047-55
                                                                 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59
                                                                 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.4)




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
August 2021 Business                08/25/21 ED          390 revise and update analysis of allocation of insurance costs relating to sold properties (1700-          0.7 0.0318182         $12.41
            Operations                                       08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-19 S Michigan
                                                             Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20 S Martin Luther King
                                                             Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S
                                                             Constance Avenue, 7201-07 S Dorchester Avenue, 7442-54 S Calumet Avenue, 7600-10 S
                                                             Kingston Avenue, 7760 S Coles Avenue, 3074 E Cheltenham Place, 8000-02 S Justine Street,
                                                             8107-09 S Ellis Avenue, 816-22 E Marquette Road, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                             Avenue, 8403 S Aberdeen Street) (.7)

August 2021 Business                08/25/21 ED          390 Review additional documents received from insurance agent regarding refunds of prepaid                  0.2 0.0090909          $3.55
            Operations                                       premium for sold properties (1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W
                                                             64th Street, 4315-19 S Michigan Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana
                                                             Avenue, 5618-20 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett
                                                             Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07 S Dorchester Avenue,
                                                             7442-54 S Calumet Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 3074 E
                                                             Cheltenham Place, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                             Road, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8403 S Aberdeen Street) (.2)

August 2021 Business                08/25/21 ED          390 email correspondence to accountant regarding insurance cost allocation to reflect                       0.2 0.0055556          $2.17
            Operations                                       adjustments related to property sales, and completion of final 2020 accounting reports (1131-
                                                             41 E 79th Place, 1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street,
                                                             4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-
                                                             52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S
                                                             Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill
                                                             Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07
                                                             S Dorchester Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S
                                                             Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S Yates
                                                             Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette Road, 8000-
                                                             02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                             Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-32 S
                                                             Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                             Aberdeen Street) (.2).

August 2021 Claims                  08/26/21 AW          140 Review claims and response to claimants' inquiries regarding sold properties, claims process,           0.4          0.2      $28.00
            Administration                                   and grouping issues (5450-52 S Indiana Avenue, 6355-59 S Talman Avenue) (.4)
            & Objections




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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Business                  09/23/21 KBD         390 Confer with E. Duff regarding insurance, property allocation, and expense restoration issues          1.3 0.0361111        $14.08
2021      Operations                                         and exchange related correspondence (7450 S Luella Avenue, 7546-48 S Saginaw Avenue,
                                                             8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 5450-52 S
                                                             Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,
                                                             8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S
                                                             Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S
                                                             Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street,
                                                             6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive,
                                                             7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                             Dorchester Avenue, 7508 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street) (1.3)

September Business                  09/24/21 KBD         390 confer with accounting firm representatives and E. Duff regarding expense accounting,                 1.3 0.0342105        $13.34
2021      Operations                                         property spreadsheets, and expense reimbursement issues (7450 S Luella Avenue, 7546-48 S
                                                             Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                             7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                             64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                             King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (1.3)




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5450-52 S Indiana Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September Business                  09/03/21 JR              140 Review property reports and update reimbursable amounts, and related correspondence                  2.4 0.0585366         $8.20
2021      Operations                                             with E. Duff and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).


September    Business               09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and             2.6 0.0320988         $4.49
2021         Operations                                          E. Duff (see I and J) (2.6)
September    Business               09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to           0.2 0.0024691         $0.35
2021         Operations                                          reimbursable amounts (see I and J) (.2).
September    Business               09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)              0.1 0.0012346         $0.17
2021         Operations                                          (.1)
September    Business               09/10/21 ED              390 Call with accountant to discuss accounting treatment of insurance costs for sold properties          0.5 0.0138889         $5.42
2021         Operations                                          (1131-41 E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th
                                                                 Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                 5450-52 S Indiana Avenue, 5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-
                                                                 59 S Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S
                                                                 Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue,
                                                                 7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence Avenue, 7442-54 S Calumet Avenue,
                                                                 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S
                                                                 Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette
                                                                 Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                                 22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).




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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/20/21 ED          390 Review draft reports and summary from accountant proposing approach to calculating and                 0.9 0.0236842         $9.24
2021      Operations                                         reporting adjustments to insurance cost allocations for certain properties sold in 2020 (7450
                                                             S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                             7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside
                                                             Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                             7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                             Cheltenham Place, 2736- 44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman
                                                             Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                             Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                             431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                             Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                             Street).

September Business                  09/22/21 ED          390 Call with accountant to discuss accounting treatment of insurance costs for sold properties            0.5 0.0131579         $5.13
2021      Operations                                         and related issues regarding reporting content and presentation (7450 S Luella Avenue, 7546-
                                                             48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                             59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                             Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King
                                                             Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                             7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                             Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                             4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                             58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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5450-52 S Indiana Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/23/21 ED          390 Cont'd. .. Email correspondence to accountant regarding calculation of insurance costs with            0.3 0.0078947         $3.08
2021      Operations                                         respect to sold properties, and preparation of related reporting (7450 S Luella Avenue, 7546-
                                                             48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520- 26 S Drexel Boulevard, 8326-58 S Ellis
                                                             Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                             02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                             11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                             7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                             64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                             King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656- 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3).


September Business                  09/23/21 ED          390 Confer with K. Duff regarding allocation of insurance premium costs to certain sold                    1.2 0.0315789        $12.32
2021      Operations                                         properties (7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-
                                                             26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                             82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                             Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                             Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59
                                                             S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                             Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                             Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E
                                                             Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan
                                                             Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250
                                                             S Mozart Street) (1.2)




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5450-52 S Indiana Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/23/21 ED          390 Cont'd. .. Review and analyze reporting regarding insurance cost allocations and refunds with          0.9 0.0236842         $9.24
2021      Operations                                         respect to certain sold properties in preparation for discussion with K. Duff (7450 S Luella
                                                             Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                             8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles
                                                             Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S
                                                             Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                             Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.9)


September Business                  09/24/21 ED          390 Conference call with accountants and K. Duff to discuss allocation of costs for insurance and          1.3 0.0342105        $13.34
2021      Operations                                         other amounts paid by Receivership for the benefit of sold properties (7450 S Luella Avenue,
                                                             7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8216 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                             Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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5450-52 S Indiana Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
September Business                  09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with          0.3 0.0065217         $0.72
2021      Operations                                             the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                 Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                 Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                 1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                 Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                 Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                 06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                 Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                 Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                 Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                 Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                    09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                 0.8 0.0089888         $1.26
2021      Administration
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                          7749-59 S Yates Boulevard
General Allocation % (Pre 01/29/21):                                                 1.4137251%
General Allocation % (01/29/21 Onward, Claims Only):                            1.5191451790%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     5        7749-59 S Yates Boulevard                                                    56.21      $             15,212.63                         141.56     $            37,180.73             197.77     $             52,393.36
                 Asset Disposition [4]                                                        2.97    $                  973.45                          80.08   $             19,036.78               83.05   $              20,010.23
                 Business Operations [5]                                                      2.99    $                  898.62                          35.02   $             10,307.63               38.01   $              11,206.25
                 Claims Administration & Objections [6]                                     50.24     $              13,340.56                           26.45   $               7,836.32              76.70   $              21,176.88




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7749-59 S Yates Boulevard                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   141.56
Specific Allocation Fees:         $       37,180.73



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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7749-59 S Yates Boulevard                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
August 2018 Business                 08/29/18 KBD         390 office conference with N. Mirjanich regarding housing court hearings and status of                0.2      0.0125       $4.88
            Operations                                        communications with City counsel regarding alleged property violation issues (.2)

August 2018 Business                 08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management            0.4 0.0037736         $1.47
            Operations                                        issues (.4)
August 2018 Business                 08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                            0.3 0.0028302         $1.10
            Operations
August 2018 Business                 08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash          0.2 0.0029851         $1.16
            Operations                                        flow (.2)
August 2018 Business                 08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)            0.1 0.0009434         $0.37
            Operations
August 2018 Business                 08/31/18 KBD         390 conference with property manager regarding property management and compensation                   0.9 0.0132353         $5.16
            Operations                                        issues (.9)
August 2018 Business                 08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference               0.2 0.0029412         $1.15
            Operations                                        with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                 08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                 0.7 0.0066038         $2.58
            Operations
August 2018 Business                 08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)            0.7 0.0102941         $4.01
            Operations
August 2018 Claims                   08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding               1.9 0.0213483         $8.33
            Administration                                    institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                   08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding              0.3 0.0033708         $1.31
            Administration                                    same.
            & Objections

August 2018 Claims                   08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional           0.5    0.005618       $2.19
            Administration                                    lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                   08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access          0.2 0.0022472         $0.88
            Administration                                    and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                   08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff               0.1 0.0011236         $0.44
            Administration                                    regarding same (.1)
            & Objections

August 2018 Claims                   08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional             0.4 0.0044944         $1.75
            Administration                                    lenders (.4)
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
August 2018 Asset                    08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study             0.5    0.004717       $1.23
            Disposition                                       emails regarding same.
August 2018 Business                 08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                      2.0 0.0294118        $11.47
            Operations                                        properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                 08/23/18 AEP         390 teleconference with EquityBuild employee regarding need to pay property tax arrearages to               0.5 0.0294118        $11.47
            Operations                                        ensure passage of CHA inspections, building code violations, and other pressing issues (.5).

August 2018 Business                 08/23/18 NM          260 Study correspondence and documents from one of EquityBuild's attorneys regarding                        2.0 0.1333333        $34.67
            Operations                                        pending lawsuits and court appearances and appear on behalf of EquityBuild to stay
                                                              litigation in Stewart case and in housing cases.
August 2018 Business                 08/24/18 AEP         390 conferences with N. Mirjanich and E. Duff regarding status of building code violation actions,          0.5     0.03125      $12.19
            Operations                                        contact with institutional lenders, and outstanding insurance invoices (.5)

August 2018 Business                 08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                         0.2 0.0022472         $0.88
            Operations
August 2018 Business                 08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                       0.1 0.0014925         $0.39
            Operations
August 2018 Business                 08/29/18 NM          260 correspond with K. Duff regarding City of Chicago housing and administrative matters (.2)               0.2      0.0125       $3.25
            Operations
August 2018 Business                 08/29/18 NM          260 study correspondence and documents relating to status of pending EquityBuild litigation and             1.3     0.08125      $21.13
            Operations                                        revise summary chart accordingly (1.3)
August 2018 Business                 08/29/18 NM          260 correspond with A. Watychowicz regarding City of Chicago administrative matters and                     0.2      0.0125       $3.25
            Operations                                        EquityBuild attorney (.2)
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                               0.5 0.0046729         $1.82
            Operations
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                     0.5 0.0046729         $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                      1.5 0.0140187         $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Claims                   08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)            0.5    0.005618       $2.19
            Administration
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
August 2018 Claims                   08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).            0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 review documentation received to date for debt service details (.7)                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                 0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)           1.6 0.0372093        $14.51
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                    0.5    0.005618       $2.19
            Administration                                    documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                   08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                       0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                   08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                            0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                   08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments             1.1 0.0123596         $4.82
            Administration                                    (1.1).
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)          0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                        5.4 0.0606742        $23.66
            Administration
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
August 2018 Claims                   08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via               1.5 0.0168539         $4.38
            Administration                                    email (1.5).
            & Objections

August 2018 Claims                   08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                        0.2 0.0022472         $0.58
            Administration                                    institutional lenders (.2)
            & Objections

September    Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                  0.4 0.0037383         $1.46
2018         Disposition                                      with M. Rachlis regarding same (.4)
September    Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                       0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related              0.1 0.0009346         $0.36
2018         Disposition                                      information.
September    Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                          0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                      brokers (.1).
September    Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                      reports.
September    Business                09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                       information (.2)
September    Business                09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business                09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                       same (.5)
September    Business                09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September Business                   09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018      Operations                                          letter agreement with property manager (.4)


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
September    Business                09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                  0.5 0.0073529          $2.87
2018         Operations
September    Business                09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                        0.4 0.0058824          $2.29
2018         Operations                                       structure (.4)
September    Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                  0.7 0.0066038          $2.58
2018         Operations                                       receivership and property issues (.7)
September    Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                        0.7 0.0066038          $2.58
2018         Operations
September    Business                09/09/18 KBD         390 Revise agreement with property manager.                                                                0.3 0.0044118          $1.72
2018         Operations
September    Business                09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                     0.5 0.0073529          $2.87
2018         Operations                                       compensation structure and prospective property improvements (.5)
September    Business                09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                         0.1 0.0014925          $0.58
2018         Operations                                       compensation (.1)
September    Business                09/10/18 KBD         390 revise compensation structure (.4)                                                                     0.4 0.0058824          $2.29
2018         Operations
September    Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645          $9.11
2018         Operations
September    Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692          $0.73
2018         Operations
September    Business                09/11/18 KBD         390 office conference with N. Mirjanich regarding hearing in law division case, city code                  0.8         0.08      $31.20
2018         Operations                                       violations, investigation into transactions, property manager's estimate to repair and
                                                              improve properties to address code violations, and preparation of claims process motion and
                                                              receivership status report (.8)
September    Business                09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412          $1.15
2018         Operations
September    Business                09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701          $2.33
2018         Operations                                       overall portfolio and property values (.4)
September    Business                09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118          $1.72
2018         Operations
September    Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346          $0.36
2018         Operations                                       estate firm representatives (.1)
September    Business                09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717        $1.84
2018         Operations                                       health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September    Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434          $0.37
2018         Operations                                       (.1)
September    Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346          $0.36
2018         Operations                                       same (.1)
September    Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262          $7.65
2018         Operations
September    Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346          $0.36
2018         Operations


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
September    Business                09/28/18 KBD         390 Exchange correspondence with property manager regarding tax bills (.2)                                    0.2          0.1      $39.00
2018         Operations
September    Business                09/28/18 KBD         390 draft correspondence to A. Porter regarding same (.1)                                                     0.1         0.05      $19.50
2018         Operations
September    Claims                  09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                           0.5    0.005618        $2.19
2018         Administration
             & Objections

September Claims                     09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                         0.4 0.0044944          $1.75
2018      Administration                                      lenders and various related issues (.4)
          & Objections

September Claims                     09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                    0.8 0.0089888          $3.51
2018      Administration                                      potential distribution issues (.8)
          & Objections

September Claims                     09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                        0.4 0.0044944          $1.75
2018      Administration                                      lenders.
          & Objections

September Claims                     09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708          $1.31
2018      Administration                                      production of documentation and rights with respect to same (.3)
          & Objections

September Claims                     09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652          $3.07
2018      Administration
          & Objections

September Claims                     09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483          $8.33
2018      Administration
          & Objections

September    Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383          $1.46
2018         Disposition
September    Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037          $1.09
2018         Disposition
September    Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757        $6.93
2018         Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September    Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692          $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346          $0.13
2018         Disposition


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
September    Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                  0.1 0.0009346          $0.13
2018         Disposition                                      when they will be ready (.1)
September    Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                            0.1 0.0009346          $0.13
2018         Disposition
September    Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                         0.3 0.0028037          $0.39
2018         Disposition
September    Asset                   09/14/18 AW          140 email brokers (.2).                                                                                     0.2 0.0018692          $0.26
2018         Disposition
September    Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                     2.7 0.0252336          $9.84
2018         Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.
September    Asset                   09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                    0.1 0.0009346          $0.36
2018         Disposition                                      statements for production to potential brokerage.
September    Asset                   09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                  0.3 0.0028037          $1.09
2018         Disposition                                      prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.
September    Business                09/05/18 AEP         390 Conference with N. Mirjanich to inventory and track status of all properties with pending               1.1 0.0916667         $35.75
2018         Operations                                       building code violations (1.1)
September    Business                09/05/18 NM          260 revise spreadsheet of pending City of Chicago litigation and study documents and                        1.0 0.0833333         $21.67
2018         Operations                                       correspondence from property managers and documents provided by EB attorney regarding
                                                              same (1.0)
September    Business                09/05/18 NM          260 telephone conference with A. Porter and attorney regarding status of admin matter and                   0.2 0.0166667          $4.33
2018         Operations                                       property and lawsuits (.2)
September    Business                09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552          $3.49
2018         Operations                                       documents received regarding same (.6).
September    Business                09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708          $1.31
2018         Operations
September    Business                09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478          $4.07
2018         Operations                                       same (.7);
September    Business                09/11/18 NM          260 correspond with City of Chicago attorneys regarding outstanding matters and court                       0.2         0.04      $10.40
2018         Operations                                       appearances this week (.2)
September    Business                09/12/18 AEP         390 teleconference with N. Mirjanich and property manager regarding prioritization of                       0.4         0.04      $15.60
2018         Operations                                       improvements directed to remedying building code violations (.4)
September    Business                09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708          $1.31
2018         Operations                                       revision to procedure for reporting to institutional lenders (.3).
September    Business                09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944          $1.75
2018         Operations                                       lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business                09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247          $7.89
2018         Operations
September    Business                09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596          $4.82
2018         Operations




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                   Hours         Fees
September    Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and             0.4 0.0037383          $1.46
2018         Operations                                       distribution (.4).
September    Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information              0.3 0.0028037          $1.09
2018         Operations                                       with prospective brokers (.3)
September    Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and              0.2 0.0018692          $0.49
2018         Operations                                       other expenses/money coming into receivership (.2)
September    Business                09/25/18 NM          260 update spreadsheet regarding open City of Chicago matters and property preservation (.1)          0.1 0.0090909          $2.36
2018         Operations
September    Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                 0.1 0.0009434          $0.25
2018         Operations
September    Claims                  09/04/18 ED          390 review email and loan documents provided by lender and email correspondence with N.               0.9         0.45     $175.50
2018         Administration                                   Mirjanich and A Porter regarding characterization of such loan (.9)
             & Objections

September Claims                     09/06/18 ED          390 update list of loan information and documents received to date, review related email              0.3 0.0033708          $1.31
2018      Administration                                      correspondence (.3).
          & Objections

September Claims                     09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                         0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                     0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                            0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                   0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                      0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                      0.1 0.0011236          $0.16
2018      Administration
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                      (.2).
          & Objections

September Claims                     09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                      of documents and information regarding same (1.4)
          & Objections

September Claims                     09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
September Claims                     09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties           0.7 0.0078652         $2.04
2018      Administration                                      with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                     09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                  0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                     09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                      lenders (.3)
          & Objections

September Claims                     09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                      points and authorities (1.7)
          & Objections

September Claims                     09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

October      Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                      properties and debt ratio (.4).
October      Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                      (2.7)
October      Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition




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7749-59 S Yates Boulevard                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
October      Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                              0.7 0.0065421          $2.55
2018         Disposition
October      Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                           2.1 0.0196262          $7.65
2018         Disposition
October      Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                   0.2 0.0018692          $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                  0.2 0.0018692          $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                    0.9 0.0084112          $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                               0.5 0.0046729          $1.82
2018         Disposition
October      Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                   0.9 0.0084112          $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement              0.7 0.0065421          $2.55
2018         Disposition                                      terms and further background information(.7)
October      Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same               0.3 0.0028037          $1.09
2018         Disposition                                      (.3)
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                  0.2 0.0018692          $0.73
2018         Disposition                                      regarding engagement of broker (.2)
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                1.5 0.0140187          $5.47
2018         Disposition
October      Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                            0.8 0.0074766          $2.92
2018         Disposition
October      Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                               0.1 0.0009346          $0.36
2018         Disposition
October      Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key            2.1 0.0196262          $7.65
2018         Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October      Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                               0.6 0.0056075          $2.19
2018         Disposition
October      Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                              0.1 0.0009346          $0.36
2018         Disposition
October      Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                     0.1 0.0009346          $0.36
2018         Disposition
October      Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                 0.1 0.0009346          $0.36
2018         Disposition
October      Business                10/01/18 KBD         390 review correspondence from property manager regarding property finances (.1)                       0.1         0.05      $19.50
2018         Operations
October      Business                10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                  0.6 0.0067416          $2.63
2018         Operations                                       documents, efforts to gain lender release of escrow funds, and communications from lender
                                                              regarding status of loans relative to loan obligations and study document and
                                                              correspondence regarding same (.6)


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October      Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                       and tenant evictions (.2)
October      Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                       regarding scofflaw list (.1)
October      Business                10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                       court, and confirmation of accounting for rents (.3)
October      Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                       property managers (.4)
October      Business                10/11/18 KBD         390 Office conferences with and study correspondence from N. Mirjanich regarding housing                0.5 0.0192308         $7.50
2018         Operations                                       court matters (.5)
October      Business                10/12/18 KBD         390 study spreadsheet of open city housing and property matters from N. Mirjanich (.3)                  0.3 0.0115385         $4.50
2018         Operations
October      Business                10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business                10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business                10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business                10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business                10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                       properties (.1)
October      Business                10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                       property managers to provide rent rolls and profit and loss reports for each property to
                                                              institutional lenders and addressing coordination of property inspections (.3)

October      Claims                  10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                   information, and related issues and study documents regarding same.
             & Objections

October      Claims                  10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708         $1.31
2018         Administration                                   information (.3).
             & Objections

October      Claims                  10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)          0.8 0.0089888         $3.51
2018         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018         Administration                                   and provisions in order appointing receiver (.4)
             & Objections

October      Claims                  10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018         Administration                                   procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                  10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                   institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                     rent rolls, and various related issues (2.8)

October      Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                   representative regarding debt service analysis (.3)
             & Objections

October      Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Claims                  10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018         Administration                                   same (.4).
             & Objections

October      Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                      firms.
October      Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                   10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                      payments and sale of same, and property database.
October      Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                      agreement and upcoming receivership tasks.
October      Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                      agent (1.5).
October      Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                      Duff and M. Rachlis.
October      Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                      retained broker (.1)
October      Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/12/18 NM          260 Prepare for meeting with broker by updating spreadsheet regarding open City of Chicago                 1.2 0.0461538        $12.00
2018         Disposition                                      litigation matters and create folders for bids and other documents provided by the property
                                                              managers to address compliance with violations (1.2)
October      Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                      engagement (2.1).
October      Asset                   10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                      commencement of process of identifying assets for immediate sale (1.5)
October      Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
October      Asset                   10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                           0.1 0.0014925          $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                   0.1 0.0014925          $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                            0.1 0.0009346          $0.13
2018         Disposition
October      Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262          $7.65
2018         Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October      Business                10/01/18 AEP         390 Read communications regarding potential payment of various outstanding real estate tax               0.2          0.1      $39.00
2018         Operations                                       bills and respond thereto.
October      Business                10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663         $10.52
2018         Operations                                       same (2.4)
October      Business                10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371         $11.83
2018         Operations                                       alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                              portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                              receivership.
October      Business                10/10/18 NM          260 prepare for housing court on October 11, 2018 (.4)                                                   0.4 0.0153846          $4.00
2018         Operations
October      Business                10/11/18 AW          140 attention to email from N. Mirjanich regarding scheduled hearing in housing court (.1)               0.1 0.0038462          $0.54
2018         Operations
October      Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916          $4.86
2018         Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October      Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346          $0.13
2018         Operations
October      Business                10/15/18 NM          260 correspond with K. Duff and M. Rachlis regarding court today (.1)                                    0.1 0.0090909          $2.36
2018         Operations
October      Business                10/15/18 NM          260 appear for court in 21 administrative matters, in both buildings and streets and sanitation          4.0 0.3636364         $94.55
2018         Operations                                       (4.0)
October      Business                10/15/18 NM          260 prepare for administrative matters in court today (.7)                                               0.7 0.0636364         $16.55
2018         Operations
October      Business                10/15/18 NM          260 prepare for upcoming City of Chicago administrative matters (.7)                                     0.7 0.0636364         $16.55
2018         Operations
October      Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346          $0.13
2018         Operations
October      Business                10/17/18 AW          140 study, organize, and draft correspondence to N. Mirjanich regarding same (1.3).                      1.3 0.1181818         $16.55
2018         Operations
October      Business                10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925          $0.21
2018         Operations
October      Business                10/17/18 NM          260 correspond with City attorneys regarding court and update spreadsheet to reflect same and            0.7 0.0636364         $16.55
2018         Operations                                       administrative matters from October 16th (.7)




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
October      Claims                  10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                           0.4 0.0044944         $1.75
2018         Administration
             & Objections

October      Claims                  10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of               2.9 0.0325843        $12.71
2018         Administration                                   related loan documents and information supplied by lenders (2.9)
             & Objections

October      Claims                  10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                   leases.
             & Objections

October      Claims                  10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                  10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                   portfolio properties (1.5)
             & Objections

October      Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018         Administration                                   amount of mortgage loans (.2)
             & Objections

October      Claims                  10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124         $3.94
2018         Administration                                   logistics for site visits (.9)
             & Objections

October      Claims                  10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472         $0.88
2018         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/29/18 ED          390 review of related documents (.5)                                                                       0.5    0.005618       $2.19
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                    0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to                 0.3 0.0033708         $1.31
2018         Administration                                   lenders (.3)
             & Objections

October      Claims                  10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting               0.2 0.0022472         $0.88
2018         Administration                                   queries (.2)
             & Objections

October      Claims                  10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan                  0.6 0.0067416         $2.63
2018         Administration                                   balances for report (.6).
             & Objections

October      Claims                  10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Business                11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018         Operations                                       and accounting for rent, and communications with property manager (.3)

November     Business                11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business                11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                       reporting and communications with asset manager (.1).
November     Business                11/19/18 KBD         390 study correspondence from asset manager regarding outstanding real estate taxes (.1)                   0.1 0.0076923         $3.00
2018         Operations
November     Claims                  11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                   lenders (.2).
             & Objections

November     Claims                  11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
November     Business                11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of          0.6 0.0067416         $2.63
2018         Operations                                       related documents (.6).
November     Business                11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                0.1 0.0011236         $0.44
2018         Operations
November     Business                11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                             0.5    0.005618       $2.19
2018         Operations
November     Business                11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                0.7 0.0078652         $3.07
2018         Operations                                       Receiver (.7)
November     Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                   0.5 0.0046729         $1.82
2018         Operations
November     Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and              0.2 0.0018692         $0.73
2018         Operations                                       property inspections by lenders (.2)
November     Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                            0.3 0.0028037         $1.09
2018         Operations
November     Business                11/12/18 NM          260 Study and respond to outstanding emails regarding code violations, lenders, property tax             0.4       0.025       $6.50
2018         Operations                                       appeals (.4)
November     Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other               0.7 0.0065421         $2.55
2018         Operations                                       related issues (.7)
November     Claims                  11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,             6.5 0.0730337        $28.48
2018         Administration                                   transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                     enforce assignments of rents and leases.

November     Claims                  11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare               5.2    0.058427      $22.79
2018         Administration                                   opposition brief (5.2).
             & Objections

November     Claims                  11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                 2.5 0.0280899        $10.96
2018         Administration                                   acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                     motion to enforce assignments of rents and leases (2.5)

November     Claims                  11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and               4.5 0.0505618        $19.72
2018         Administration                                   prepare text of affidavit (4.5)
             & Objections

November     Claims                  11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in             0.8 0.0089888         $3.51
2018         Administration                                   opposition memorandum (.8).
             & Objections

November     Claims                  11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to           2.3 0.0258427        $10.08
2018         Administration                                   enforce assignments of rents and leases (2.3)
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
November     Claims                  11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                              1.4 0.0157303         $6.13
2018         Administration
             & Objections

November     Claims                  11/06/18 AEP         390 study and revise brief (2.3).                                                                          2.3 0.0258427        $10.08
2018         Administration
             & Objections

November     Claims                  11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender              1.0    0.011236       $4.38
2018         Administration                                   motion to enforce assignments of rents and leases (1.0)
             & Objections

November     Claims                  11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                  11/17/18 MR          390 attention to various issues from hearing (.3).                                                         0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 attention to letter from creditors (.2)                                                                0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                           0.4 0.0044944         $1.75
2018         Administration
             & Objections

December     Business                12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business                12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                       representatives regarding property portfolio (.4)
December     Business                12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business                12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business                12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business                12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                       repair planning, and receivership activities (1.5)
December     Business                12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
December     Business                12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business                12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                           reporting (.1)
December     Business                12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business                12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business                12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                           issues (2.8)
December     Business                12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                           to address City violations and his plan for same (1.3)
December     Business                12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business                12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business                12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                           with K. Duff and N. Mirjanich.
December     Business                12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                           Rachlis and K. Duff regarding same (2.5)
December     Business                12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                           removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                  properties with violations (1.5)
December     Business                12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business                12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business                12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                           income from property manager and conference with K. Duff regarding same.

December     Business                12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                           properties with respective management companies in charge of their water bill payments
                                                                  and reported findings to N. Mirjanich.
December     Business                12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                  12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                       other issues.
             & Objections

January      Asset                   01/04/19 KBD             390 Draft correspondence to A. Porter regarding property sales and tax appeals.                             0.1 0.0076923         $3.00
2019         Disposition
January      Business                01/10/19 KBD             390 study property management report (.2)                                                                   0.2 0.0029412         $1.15
2019         Operations


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
January      Business                01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708         $1.31
2019         Operations
January      Business                01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701         $2.33
2019         Operations
January      Business                01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118         $1.72
2019         Operations                                       regarding same (.3)
January      Business                01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118         $1.72
2019         Operations
January      Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434         $0.37
2019         Operations
January      Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868         $0.74
2019         Operations                                       officials regarding scofflaw list (.2).
January      Business                01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708         $1.31
2019         Operations
January      Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434         $0.37
2019         Operations                                       portfolio compliance and disposition issues (.1)
January      Business                01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                         0.2 0.0022472         $0.88
2019         Operations
January      Business                01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge           0.3 0.0033708         $1.31
2019         Operations                                       Kim and preparation for meeting with lenders' counsel (.3).
January      Business                01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                           0.1 0.0011236         $0.44
2019         Operations
January      Business                01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                 1.5 0.0168539         $6.57
2019         Operations
January      Claims                  01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                 0.1 0.0011236         $0.44
2019         Administration                                   (.1)
             & Objections

January      Claims                  01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                     0.4 0.0044944         $1.75
2019         Administration                                   preparation for meeting regarding same (.4)
             & Objections

January      Claims                  01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                                0.3 0.0033708         $1.31
2019         Administration
             & Objections

January      Claims                  01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                   0.6 0.0067416         $2.63
2019         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
January      Claims                  01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                            0.1 0.0011236         $0.44
2019         Administration                                   correspondence with real estate broker regarding same (.1)
             & Objections

January      Claims                  01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019         Administration                                   regarding same (.5).
             & Objections

January      Claims                  01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019         Administration                                   (2.1)
             & Objections

January      Claims                  01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019         Administration                                   (.5).
             & Objections

January      Asset                   01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                      properties with institutional debt.
January      Business                01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                       issues (.5)
January      Business                01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                       with Receiver (1.2)
January      Business                01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business                01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business                01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                       rents for December (.1)
January      Business                01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                       for December and communications with K. Duff regarding same (.2).

January      Business                01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                       assorted lenders' counsel (.3).
January      Business                01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019         Operations                                       lender's counsel to discuss questions for Receiver (.4)
January      Business                01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019         Operations
January      Business                01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                                1.0    0.011236       $4.38
2019         Operations
January      Business                01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                      0.2 0.0022472         $0.88
2019         Operations                                       meeting.




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
January      Business                01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019         Operations                                       insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                              counsel (.7)
January      Business                01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019         Operations                                       1 meeting (.9)
January      Business                01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019         Operations
January      Business                01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019         Operations                                       related exhibits and materials regarding same (4.6)
January      Business                01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019         Operations
January      Business                01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019         Operations
January      Business                01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019         Operations
January      Business                01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019         Operations                                       including detailed review of exhibits and related documents, regarding issues on rent
                                                              assignment and leases (7.8)
January      Business                01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618       $2.19
2019         Operations                                       assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                              lenders (.5).
January      Business                01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011         $7.45
2019         Operations                                       lenders' motion to enforce assignment of rents and leases (1.7)
January      Business                01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                   0.7 0.0078652         $3.07
2019         Operations                                       meeting with lenders' counsel (.7).
January      Business                01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                     6.0 0.0674157        $26.29
2019         Operations
January      Business                01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                              1.7 0.0191011         $7.45
2019         Operations
January      Claims                  01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                             0.2 0.0022472         $0.88
2019         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
January      Claims                  01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019         Administration                                   meeting with lenders (.5).
             & Objections

January      Claims                  01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                  01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019         Administration                                   meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                     meeting with lenders.

January      Claims                  01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

January      Claims                  01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019         Administration
             & Objections

February     Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February     Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Business                02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business                02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037         $1.09
2019         Operations
February     Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383         $1.46
2019         Operations                                       (.4)
February     Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346         $0.36
2019         Operations
February     Business                02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412         $1.15
2019         Operations                                       and financial information (.2)
February     Business                02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824         $2.29
2019         Operations


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  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
February     Business                02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                         0.2 0.0029412          $1.15
2019         Operations
February     Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                0.1 0.0009346          $0.36
2019         Operations                                       issue (.1).
February     Business                02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                    0.1 0.0014706          $0.57
2019         Operations
February     Business                02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                              0.1 0.0014706          $0.57
2019         Operations
February     Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                0.1 0.0009346          $0.36
2019         Operations                                       representative (.1)
February     Business                02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                    0.1 0.0014925          $0.58
2019         Operations                                       rental income (.1)
February     Business                02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                       0.1 0.0014706          $0.57
2019         Operations
February     Business                02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                           0.1       0.005        $1.95
2019         Operations
February     Business                02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                  0.2 0.0029412          $1.15
2019         Operations                                       documentation (.2)
February     Business                02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                      0.1 0.0014706          $0.57
2019         Operations
February     Business                02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real              0.6         0.03      $11.70
2019         Operations                                       estate taxes and lender communications (.6).
February     Business                02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                     0.1       0.005        $1.95
2019         Operations
February     Business                02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                        0.1 0.0014706          $0.57
2019         Operations
February     Business                02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                  0.2 0.0022472          $0.88
2019         Operations
February     Business                02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment            4.4 0.0494382         $19.28
2019         Operations                                       (4.4)
February     Business                02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                    1.1       0.055       $21.45
2019         Operations
February     Business                02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                3.9       0.195       $76.05
2019         Operations
February     Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                0.1 0.0009434          $0.37
2019         Operations                                       maintenance and repairs (.1)
February     Business                02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                1.3 0.0146067          $5.70
2019         Operations                                       regarding same (1.3)
February     Business                02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff          6.5 0.0730337         $28.48
2019         Operations                                       and M. Rachlis regarding same and telephone conferences with asset managers and
                                                              property managers regarding related calculations (6.5)
February     Business                02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                  0.4 0.0059701          $2.33
2019         Operations                                       regarding real estate taxes and financial reporting (.4)


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
February     Business                02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                       taxes (1.4)
February     Business                02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                       (.1)
February     Business                02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                       spreadsheets regarding real estate tax analysis and study same (.5)
February     Claims                  02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019         Administration                                   regarding same (3.3)
             & Objections

February     Claims                  02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                  02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                  02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                  02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091         $1.33
2019         Administration                                   preparation of reporting (.3)
             & Objections

February     Claims                  02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                    0.3 0.0033708         $1.31
2019         Administration                                   regarding same (.3).
             & Objections

February     Asset                   02/18/19 NM          260 further correspond with K. Duff, M. Rachlis, and A. Porter regarding same (.5)                          0.5 0.0185185         $4.81
2019         Disposition
February     Business                02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                             0.5    0.005618       $0.79
2019         Operations
February     Business                02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                              3.3 0.0370787        $14.46
2019         Operations
February     Business                02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership            1.4 0.0157303         $6.13
2019         Operations                                       (1.4)
February     Business                02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                     0.2 0.0029412         $0.41
2019         Operations                                       property expenses, and communicate same to K. Duff (.2)




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  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
February     Business                02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                           violation (.2)
February     Business                02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                           in receivership portfolio (1.9).
February     Business                02/08/19 ED              390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618        $2.19
2019         Operations
February     Business                02/12/19 ED              390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652          $3.07
2019         Operations                                           from institutional lenders (.7).
February     Business                02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                           building expenses.
February     Business                02/14/19 ED              390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909          $8.42
2019         Operations                                           rents by property (1.9)
February     Business                02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019         Operations
February     Business                02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                              0.5    0.005618        $2.19
2019         Operations
February     Business                02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019         Operations
February     Business                02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for                0.2         0.01       $3.90
2019         Operations                                           K. Duff, specifying date of upcoming tax sale.
February     Business                02/20/19 ED              390 review CHA management authorization form and related email correspondence with                            0.2 0.0029412          $1.15
2019         Operations                                           property manager and K. Duff (.2)
February     Business                02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019         Operations
February     Business                02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                          0.6         0.03      $11.70
2019         Operations
February     Business                02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                         0.2 0.0022472          $0.88
2019         Operations
February     Business                02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                                0.2 0.0022472          $0.88
2019         Operations
February     Business                02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                               2.3 0.0258427         $10.08
2019         Operations
February     Business                02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                                 0.1 0.0011236          $0.44
2019         Operations
February     Business                02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                     4.4         0.22      $85.80
2019         Operations                                           property taxes.
February     Business                02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel                0.7 0.0078652          $3.07
2019         Operations                                           (.7)
February     Business                02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                  0.1 0.0011236          $0.44
2019         Operations                                           information for properties (.1)
February     Business                02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate                4.4 0.0494382         $19.28
2019         Operations                                           taxes (4.4)




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  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
February     Business                02/25/19 ED          390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888          $3.51
2019         Operations
February     Business                02/25/19 ED          390 preparation for same (.8)                                                                               0.8 0.0089888          $3.51
2019         Operations
February     Business                02/25/19 KMP         140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868          $0.26
2019         Operations                                       with court order and issues relating to same (.2)
February     Business                02/25/19 MR          390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                             0.8         0.04      $15.60
2019         Operations
February     Business                02/25/19 MR          390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382         $19.28
2019         Operations                                       Duff, K. Duff, and A. Porter (4.4)
February     Business                02/25/19 NM          260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944          $1.17
2019         Operations
February     Business                02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652          $3.07
2019         Operations                                       counsel (.7)
February     Business                02/26/19 ED          390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708          $1.31
2019         Operations
February     Business                02/26/19 ED          390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337         $28.48
2019         Operations                                       (6.5)
February     Business                02/26/19 ED          390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944          $1.75
2019         Operations                                       manager, and preparation of document reflecting same (.4)
February     Business                02/26/19 MR          390 Attention to property tax related issues.                                                               4.5 0.0505618         $19.72
2019         Operations
February     Business                02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                   0.2 0.0022472          $0.88
2019         Operations                                       due and sources of funds (.2)
February     Business                02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                       0.3 0.0033708          $1.31
2019         Operations
February     Business                02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of                6.5 0.0730337         $28.48
2019         Operations                                       same to determine available funds for payment of property taxes (6.5)
February     Business                02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                                 0.3 0.0028302          $1.10
2019         Operations
February     Business                02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related                 1.3 0.0146067          $5.70
2019         Operations                                       submissions and payments (1.3)
February     Business                02/27/19 MR          390 review charts regarding same (.3)                                                                       0.3 0.0033708          $1.31
2019         Operations
February     Business                02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings                5.0 0.0561798         $21.91
2019         Operations                                       with K. Duff and E. Duff regarding same (5.0).
February     Business                02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders                 0.3 0.0033708          $0.88
2019         Operations                                       with respect to escrow amounts (.3)
February     Business                02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to              0.2 0.0022472          $0.58
2019         Operations                                       costs to cure code violations (.2).
February     Business                02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in              0.1 0.0014925          $0.21
2019         Operations                                       receivership (.1)




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
February     Business                02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019         Operations
February     Business                02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019         Operations
February     Business                02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                       and review and analysis of documentation provided (1.8)
February     Business                02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                       estate taxes (.5)
February     Business                02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                       funds available therefor, preparation of documentation to provide to lenders regarding each
                                                              property, preparation and revision of related communications to lenders, and consultation
                                                              with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                              (7.7).
February     Business                02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                       various financial and property documents, along with several conferences with E. Duff and K.
                                                              Duff (5.5)
February     Business                02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019         Operations                                       property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                              institutional lenders (2.7).
February     Business                02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                       counsel (.2)
February     Claims                  02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                  02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                      3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                  02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                                1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                  02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                       0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                  02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications                1.5 0.0168539         $6.57
2019         Administration                                   regarding same.
             & Objections




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  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
February     Claims                  02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to              0.5    0.005618        $1.46
2019         Administration                                   institutional lenders prior to filing pursuant to request.
             & Objections

February     Claims                  02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                             0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                        0.3 0.0033708          $1.31
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                           1.0    0.011236        $4.38
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                               0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                  02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                          0.5    0.005618        $2.19
2019         Administration
             & Objections

February     Claims                  02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)             0.8 0.0089888          $3.51
2019         Administration
             & Objections

March 2019 Asset                     03/07/19 KBD         390 draft correspondence to broker same (.1)                                                           0.1 0.0009804          $0.38
           Disposition
March 2019 Asset                     03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of             0.1 0.0009804          $0.38
           Disposition                                        properties for sale (.1)
March 2019 Asset                     03/12/19 KBD         390 conference with asset manager and counsel regarding properties sales, listings, strategy,          1.8 0.0545455         $21.27
           Disposition                                        valuation, and timing (1.8)
March 2019 Asset                     03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,          0.3 0.0032609          $1.27
           Disposition                                        and property manager fees and expenses (.3)
March 2019 Asset                     03/28/19 KBD         390 study summary of next group of properties to sell (.3).                                            0.3         0.02       $7.80
           Disposition
March 2019 Business                  03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                               0.2 0.0018692          $0.73
           Operations
March 2019 Business                  03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                   0.1 0.0009346          $0.36
           Operations




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Business                  03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346         $0.36
           Operations                                         payment issues and logistics (.1)
March 2019 Business                  03/04/19 KBD         390 study correspondence from property manager regarding unpaid taxes (Yates, Luella,                     0.1 0.0111111         $4.33
           Operations                                         Constance, Muskegon, Marquette, 8432 Essex) and CHA move-ins (7502 Eggleston) and draft
                                                              correspondence to asset manager regarding same (.1)
March 2019 Business                  03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                         former counsel relating to notices of property violations (.1).

March 2019 Business                  03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                         communications with property manager (.2).
March 2019 Business                  03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                  03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                         correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                  03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                  03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                  03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                         reporting for lenders and study form of report (.6)
March 2019 Business                  03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for              0.3 0.0034091         $1.33
           Operations                                         lenders and study draft report form (.3)
March 2019 Business                  03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial              0.2 0.0022727         $0.89
           Operations                                         reporting by property (.2)
March 2019 Business                  03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                  0.4 0.0045455         $1.77
           Operations                                         property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                    03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial                0.3 0.0034091         $1.33
           Administration                                     reporting for lenders (.3)
           & Objections




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2019 Claims                    03/14/19 KBD             390 study property manager financial report (.2).                                                         0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                    03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                              2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Asset                     03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales           0.5    0.005102       $1.99
           Disposition                                            process and potential substitution for current title insurer (.5)
March 2019 Asset                     03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                  2.6 0.0393939         $5.52
           Disposition                                            management company adding PIN number and the balance due as well as accrued interest
                                                                  (2.6)
March 2019 Asset                     03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                      1.7 0.0173469         $6.77
           Disposition                                            regarding background of receivership, plan for selling receivership properties, all title
                                                                  insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                     03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048         $0.74
           Disposition                                            potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                     03/27/19 JR              140 itemized spreadsheet to reflect past due tax bills from 2017 for payment (.3)                         0.3       0.025       $3.50
           Disposition
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                             spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                  03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                  03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                  03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                             accounting to lenders and related issues (.6)
March 2019 Business                  03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                             (.3)


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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Business                  03/06/19 ED          390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                  03/06/19 ED          390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                  03/06/19 ED          390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                         correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                  03/06/19 ED          390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                         reports to lenders (.4)
March 2019 Business                  03/06/19 ED          390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/07/19 ED          390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                         regarding same (.5)
March 2019 Business                  03/07/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                  03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                         estate taxes (.4)
March 2019 Business                  03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091         $6.20
           Operations                                         accounting reports (1.4)
March 2019 Business                  03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455         $1.77
           Operations                                         information for lender accounting reports (.4)
March 2019 Business                  03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818         $2.22
           Operations                                         same (.5)
March 2019 Business                  03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091         $6.20
           Operations                                         accounting reports to lenders (1.4)
March 2019 Business                  03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455         $1.77
           Operations                                         reports (.4)
March 2019 Business                  03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091         $1.33
           Operations                                         performance at each property (.3)
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545         $2.07
           Operations                                         properties and correspond with E. Duff regarding same (.7)
March 2019 Business                  03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224         $4.37
           Operations                                         (1.8)
March 2019 Business                  03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364         $0.44
           Operations




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  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
March 2019 Business                  03/18/19 ED          390 review and revise accounting reporting (.9)                                                          0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and             0.1 0.0011364         $0.44
           Operations                                         email to property manager regarding same (.1)
March 2019 Business                  03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                   0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                              1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                              1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692         $0.49
           Operations                                         (.2).
March 2019 Business                  03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)             0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                            0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 ED          390 call with accountant regarding form of report (.2)                                                   0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                          0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 ED          390 review document from property manager regarding February net operating income and loss,              0.7 0.0079545         $3.10
           Operations                                         real estate tax payments, and distributions of funds to and from receiver for each property
                                                              (.7)
March 2019 Business                  03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                          0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/20/19 ED          390 confer with K. Duff (.3)                                                                             0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                          0.4 0.0045455         $1.77
           Operations
March 2019 Business                  03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                      1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                   0.5 0.0056818         $2.22
           Operations                                         property manager reporting (.5)
March 2019 Business                  03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)          1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)            0.2 0.0029851         $0.78
           Operations
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by              0.8 0.0090909         $3.55
           Operations                                         property manager and Receiver (.8)
March 2019 Business                  03/21/19 ED          390 revisions to draft of same (.6)                                                                      0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form            0.2 0.0022727         $0.89
           Operations                                         of accounting report (.2)


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  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                         accounting reports (.1)
March 2019 Business                  03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                         (.2)
March 2019 Business                  03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                  03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations
March 2019 Business                  03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations
March 2019 Business                  03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868         $0.74
           Operations
March 2019 Business                  03/27/19 ED          390 and email correspondence regarding same (.5)                                                           0.5 0.0056818         $2.22
           Operations
March 2019 Business                  03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                    2.0 0.0227273         $8.86
           Operations                                         transfer and distribution information and relating to form of report and procedures for
                                                              populating information (2.0)
March 2019 Business                  03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports            0.9 0.0102273         $3.99
           Operations                                         (.9)
March 2019 Business                  03/27/19 ED          390 identify responsive documents (.6)                                                                     0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                   0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property                0.3 0.0034091         $1.33
           Operations                                         managers (.3)
March 2019 Business                  03/27/19 ED          390 calls with accountant to follow up on content and further information required for                     0.3 0.0034091         $1.33
           Operations                                         accounting reports (.3)
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                          0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                               1.8 0.0204545         $7.98
           Operations
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                               0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties              0.2 0.0022727         $0.89
           Operations                                         (.2)
March 2019 Business                  03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                     1.2 0.0136364         $5.32
           Operations
March 2019 Business                  03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain                0.2 0.0022727         $0.89
           Operations                                         outstanding questions to reconcile to property manager reporting (.2)


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  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
March 2019 Business                  03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                  0.2 0.0022727          $0.89
           Operations                                         certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                  03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                     1.2 0.0136364          $5.32
           Operations
March 2019 Business                  03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                                 0.8 0.0090909          $3.55
           Operations
March 2019 Claims                    03/30/19 MR          390 Follow up on requests for information from lenders.                                                     0.1         0.05      $19.50
           Administration
           & Objections

April 2019   Asset                   04/02/19 KBD         390 draft correspondence to real estate broker regarding planning for liquidation of next tranche           0.1 0.0066667          $2.60
             Disposition                                      of properties (.1)
April 2019   Asset                   04/09/19 KBD         390 Telephone conference with broker regarding update on timing for second tranche of                       0.2 0.0074074          $2.89
             Disposition                                      properties and preparation for third tranche of properties (.2)
April 2019   Asset                   04/12/19 KBD         390 study draft motion for approval of sale of additional properties (.2).                                  0.2 0.0133333          $5.20
             Disposition
April 2019   Asset                   04/13/19 KBD         390 Exchange correspondence with A. Porter regarding motion to approve sale of additional                   0.2 0.0133333          $5.20
             Disposition                                      properties.
April 2019   Asset                   04/14/19 KBD         390 Telephone conference with A. Porter regarding motions to approve sale of third tranche of               0.2 0.0133333          $5.20
             Disposition                                      properties and division into three segments.
April 2019   Asset                   04/15/19 KBD         390 Exchange correspondence and office conference with A. Porter regarding motions to                       0.2 0.0133333          $5.20
             Disposition                                      approve sale of third tranche of properties.
April 2019   Asset                   04/16/19 KBD         390 Telephone conference with real estate broker regarding timing for sales and listing additional          0.2 0.0133333          $5.20
             Disposition                                      properties and financing efforts.
April 2019   Asset                   04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                     0.6 0.0065934          $2.57
             Disposition
April 2019   Asset                   04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                            0.8 0.0087912          $3.43
             Disposition
April 2019   Asset                   04/18/19 KBD         390 study draft motion relating to same (.5).                                                               0.5 0.0333333         $13.00
             Disposition
April 2019   Asset                   04/18/19 KBD         390 Exchange correspondence and telephone conference with A. Porter regarding motions to sell               0.4 0.0266667         $10.40
             Disposition                                      third tranche of properties (.4)
April 2019   Asset                   04/18/19 KBD         390 office conferences with E. Duff and K. Pritchard regarding same (.3)                                    0.3         0.02       $7.80
             Disposition
April 2019   Business                04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                       0.2 0.0111111          $4.33
             Operations
April 2019   Business                04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
             Operations
April 2019   Business                04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
             Operations
April 2019   Business                04/09/19 KBD         390 exchange correspondence with A. Porter, N. Mirjanich, and E. Duff regarding result of tax               0.1 0.0090909          $3.55
             Operations                                       appeals, accounting, and status report (.1)




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2019   Business                04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692          $0.73
             Operations
April 2019   Business                04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075          $2.19
             Operations
April 2019   Business                04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824          $2.29
             Operations
April 2019   Business                04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111          $0.43
             Operations
April 2019   Business                04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778          $3.03
             Operations
April 2019   Business                04/22/19 KBD             390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727          $0.89
             Operations                                           communication with accounting firm representative relating to same (.2)
April 2019   Business                04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126          $1.14
             Operations                                           efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business                04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                           estate tax payments and planning (.4)
April 2019   Business                04/30/19 KBD             390 Study records for delivering 2017 real estate taxes, several office conferences and exchange           2.5     0.15625       $60.94
             Operations                                           various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                                  (2.5)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with property managers regarding payment of 2017 real estate                   0.6      0.0375       $14.63
             Operations                                           taxes (.6)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417          $0.76
             Operations                                           amounts (.2)
April 2019   Claims                  04/17/19 KBD             390 Study draft correspondence to lender's counsel and office conference with E. Duff regarding            0.3         0.15      $58.50
             Administration                                       same.
             & Objections

April 2019   Asset                   04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                          spreadsheet and additional account numbers (.3)
April 2019   Asset                   04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                   04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                          certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019   Asset                   04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692          $0.26
             Disposition                                          Chicago water department (.2).
April 2019   Asset                   04/16/19 MR              390 Conferences on status on motions and other property issues with K. Duff.                               0.3         0.02       $7.80
             Disposition
April 2019   Asset                   04/18/19 KMP             140 Review, revise and finalize motions for court approval of sale process and related notices,            0.8 0.0533333          $7.47
             Disposition                                          and communications with K. Duff, E. Duff and A. Porter regarding same (.8)




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  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
April 2019   Asset                   04/18/19 KMP             140 file motions and notices electronically (.3)                                                          0.3         0.02       $2.80
             Disposition
April 2019   Asset                   04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd             3.3 0.0308411          $4.32
             Disposition                                          installment and confirm entities on our applications.
April 2019   Asset                   04/19/19 KMP             140 Communication with real estate agent regarding motions for court approval of sale of                  0.1 0.0066667          $0.93
             Disposition                                          properties.
April 2019   Asset                   04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                 1.0    0.047619       $18.57
             Disposition
April 2019   Asset                   04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                         0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                   04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge             5.0 0.2380952         $92.86
             Disposition                                          Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                   04/22/19 NM              260 study objections filed by lenders to sale motions (.3).                                               0.3       0.025        $6.50
             Disposition
April 2019   Business                04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                          0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/01/19 MR              390 follow up emails relating to same (.3)                                                                0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding          0.6 0.0068182          $2.66
             Operations                                           properties and conferences with lenders counsel regarding same (.6)

April 2019   Business                04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                       0.5 0.0056818          $2.22
             Operations
April 2019   Business                04/01/19 MR              390 follow up on property accounting issues (.3).                                                         0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                0.2 0.0022727          $0.59
             Operations                                           property-by-property basis (.2)
April 2019   Business                04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest           2.1 0.0196262          $2.75
             Operations                                           accrual (2.1)
April 2019   Business                04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                           0.3 0.0028037          $0.39
             Operations
April 2019   Business                04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                   1.4 0.0159091          $6.20
             Operations
April 2019   Business                04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                    0.1 0.0011364          $0.44
             Operations
April 2019   Business                04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile           0.3 0.0034091          $1.33
             Operations                                           against schedule of receivership payments (.3)
April 2019   Business                04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,            0.3 0.0028302          $0.40
             Operations                                           and prepare electronic copy for email communication.
April 2019   Business                04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real               0.2 0.0028571          $1.11
             Operations                                           estate taxes.




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  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
April 2019   Business                04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)          0.2 0.0022472          $0.88
             Operations
April 2019   Business                04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                 0.2 0.0022727          $0.89
             Operations                                           accounting statements (.2)
April 2019   Business                04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                      0.8 0.0090909          $3.55
             Operations
April 2019   Business                04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                  0.3 0.0033708          $1.31
             Operations
April 2019   Business                04/09/19 ED              390 and internal document review (.8) regarding same                                                   0.8 0.0090909          $3.55
             Operations
April 2019   Business                04/09/19 ED              390 follow up with property manager (.7)                                                               0.7 0.0079545          $3.10
             Operations
April 2019   Business                04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate              0.3 0.0034091          $1.33
             Operations                                           properties (.3).
April 2019   Business                04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details            0.6 0.0068182          $2.66
             Operations                                           for accounting reports (.6)
April 2019   Business                04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).              0.3 0.0034091          $1.33
             Operations
April 2019   Business                04/11/19 ED              390 Review financial performance of properties with outstanding 2017 real estate taxes (.8)            0.8          0.1      $39.00
             Operations
April 2019   Business                04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                            0.2 0.0029412          $1.15
             Operations
April 2019   Business                04/12/19 ED              390 Review information from property manager regarding March income and distribution                   0.2 0.0029412          $1.15
             Operations                                           amounts (.2)
April 2019   Business                04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                              1.8 0.0202247          $7.89
             Operations
April 2019   Business                04/15/19 ED              390 Review drafts of accounting reports.                                                               0.4 0.0045455          $1.77
             Operations
April 2019   Business                04/15/19 NM              260 Study and exchange correspondence with City attorneys regarding administrative matters             0.5         0.25      $65.00
             Operations                                           and continuing same (.5)
April 2019   Business                04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                3.9 0.0364486          $5.10
             Operations                                           properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business                04/17/19 ED              390 and J. Rak (.2)                                                                                    0.2 0.0022222          $0.87
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff (.6)                                                                           0.6 0.0066667          $2.60
             Operations
April 2019   Business                04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)               1.0 0.0111111          $4.33
             Operations
April 2019   Business                04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                        0.3 0.0033333          $1.30
             Operations
April 2019   Business                04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                   0.8 0.0074766          $2.92
             Operations




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019   Business                04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319         $5.07
             Operations
April 2019   Business                04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business                04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business                04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                           appointing receiver for all the receiver defendants (4.2).
April 2019   Business                04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391         $8.48
             Operations                                           insufficient income to support expenses.
April 2019   Business                04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539         $6.57
             Operations                                           managers (1.5)
April 2019   Business                04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087      $10.17
             Operations                                           expenses (1.8)
April 2019   Business                04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)            0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                           0.2 0.0022727         $0.89
             Operations
April 2019   Business                04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                       0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/25/19 ED              390 Organize master list of accounting report status.                                                      0.6 0.0068182         $2.66
             Operations
April 2019   Business                04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                           0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                                 0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)                0.9 0.0102273         $1.13
             Operations
April 2019   Business                04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                        0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                             0.9 0.0102273         $3.99
             Operations
April 2019   Business                04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property                0.2 0.0022727         $0.89
             Operations                                           managers for review (.2)




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
April 2019   Business                04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business                04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                           accountings (.5)
April 2019   Business                04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business                04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                           managers (.8)
April 2019   Business                04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business                04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business                04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                           reports (.2)
April 2019   Business                04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations
April 2019   Business                04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818         $4.75
             Operations                                           property managers (3.8)
April 2019   Business                04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091         $0.38
             Operations
April 2019   Business                04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182        $17.28
             Operations
April 2019   Business                04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                    1.2       0.075      $10.50
             Operations
April 2019   Business                04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                 0.1     0.00625       $0.88
             Operations
April 2019   Business                04/30/19 KMP             140 Submit online payments for 2017 delinquent taxes for various properties, and conferences             0.7 0.0583333         $8.17
             Operations                                           with K. Duff and J. Rak regarding same.
April 2019   Business                04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909         $1.00
             Operations                                           property managers (.8)




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  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
April 2019   Claims                  04/02/19 ED          390 review of related documents regarding use of funds and receivership property expenditures          0.2 0.0022727          $0.89
             Administration                                   (.2).
             & Objections

April 2019   Claims                  04/02/19 ED          390 Email correspondence with accountant regarding preparation of accounting reports (.2)              0.2 0.0022727          $0.89
             Administration
             & Objections

April 2019   Claims                  04/04/19 MR          390 Attention to requests from lender.                                                                 0.2          0.1      $39.00
             Administration
             & Objections

April 2019   Claims                  04/11/19 ED          390 Begin review of Receiver's property reports.                                                       1.5 0.0170455          $6.65
             Administration
             & Objections

April 2019   Claims                  04/12/19 ED          390 email correspondence with lender's counsel and property manager regarding financial                0.5         0.25      $97.50
             Administration                                   reporting to lender (.5).
             & Objections

April 2019   Claims                  04/16/19 ED          390 review of related correspondence and documents (.5)                                                0.5         0.25      $97.50
             Administration
             & Objections

April 2019   Claims                  04/16/19 ED          390 draft response to send to counsel (.4)                                                             0.4          0.2      $78.00
             Administration
             & Objections

April 2019   Claims                  04/16/19 ED          390 Review email and telephone messages with inquiries from lender and lender's counsel                0.3         0.15      $58.50
             Administration                                   requesting additional information and documents relating to mortgaged properties (.3)
             & Objections

April 2019   Claims                  04/16/19 ED          390 and confer with K. Duff regarding same (.2)                                                        0.2          0.1      $39.00
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED          390 and research into discrepancies and questions (.7)                                                 0.7 0.0079545          $3.10
             Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2019   Claims                  04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                          0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED          390 review reports received against financial reporting to lenders (.8)                                   0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED          390 discussion with M. Rachlis of sources of funds (.8).                                                  0.8 0.0115942         $4.52
             Administration
             & Objections

April 2019   Claims                  04/30/19 ED          390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
             Administration                                   insurance coverage (.3)
             & Objections

May 2019     Asset                   05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                      0.2 0.0022989         $0.90
             Disposition                                      account reporting (.2)
May 2019     Asset                   05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                      1.3 0.0149425         $5.83
             Disposition                                      representatives regarding credit bid implications of court's order and asset disposition
                                                              planning (1.3)
May 2019     Asset                   05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                   05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
             Disposition                                      procedures (.2)
May 2019     Asset                   05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
             Disposition                                      portfolio equity (.1)
May 2019     Asset                   05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                   05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                   05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                   05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                      planning (1.8)
May 2019     Asset                   05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                   05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition


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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                      regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                   05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                      communications with lenders' counsel relating to same (1.1)
May 2019     Asset                   05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                      credit bid and sales procedures (.5)
May 2019     Asset                   05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                      procedures and impact of changes on sales efforts (.6)
May 2019     Asset                   05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                      procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                              communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                   05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                      engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                              Porter, and real estate broker regarding same (3.7)

May 2019     Asset                   05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                   05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                   05/21/19 KBD         390 discuss same with M. Rachlis (.1)                                                                     0.1 0.0066667         $2.60
             Disposition
May 2019     Asset                   05/23/19 KBD         390 work with M. Rachlis on timing, lender communications, and revisions to procedures (.3)               0.3 0.0428571        $16.71
             Disposition
May 2019     Asset                   05/23/19 KBD         390 Study recent court orders (.2)                                                                        0.2 0.0105263         $4.11
             Disposition
May 2019     Asset                   05/23/19 KBD         390 telephone conference with real estate broker regarding timing for marketing and sales and             0.2 0.0105263         $4.11
             Disposition                                      potential adjustments to next properties as a result of court orders, lender communications,
                                                              and changes to sales procedures (.2)
May 2019     Asset                   05/29/19 KBD         390 Telephone conferences with real estate brokers regarding status of communications with                0.2 0.0105263         $4.11
             Disposition                                      lenders counsel and prioritization of properties for listing (.2)

May 2019     Asset                   05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition
May 2019     Asset                   05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                      communications with lenders' counsel relating to same (.8)




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/30/19 KBD         390 telephone conference with real estate broker and N. Mirjanich regarding priority of sale of           0.4 0.0571429        $22.29
             Disposition                                      properties and sale procedures (.4)
May 2019     Asset                   05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                      broker (.1)
May 2019     Asset                   05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business                05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business                05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business                05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                       reporting (.4)
May 2019     Business                05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                       replacement insurance (.1).
May 2019     Business                05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                       replacement of insurance coverage (.1)
May 2019     Business                05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                       insurance policies and renewals (.2).
May 2019     Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                       payment (.1).
May 2019     Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                       insurance (.3)
May 2019     Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                       same (.3)
May 2019     Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019     Business                05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business                05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations
May 2019     Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
             Operations




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  Invoice                                       Time                                                                                                                 Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours         Fees
May 2019     Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance               0.2 0.0019417          $0.76
             Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                            0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                 0.2 0.0019417          $0.76
             Operations                                       property insurance renewal (.2)
May 2019     Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)             0.1 0.0009709          $0.38
             Operations
May 2019     Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                  0.1 0.0009709          $0.38
             Operations                                       payment (.1)
May 2019     Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding           0.2 0.0019417          $0.76
             Operations                                       property insurance payment (.2)
May 2019     Business                05/30/19 KBD         390 work with and study correspondence from N. Mirjanich regarding streets and sanitation            0.2         0.05      $19.50
             Operations                                       violation notice pattern (4520 Drexel, 7024 Paxton, 4533 Calumet, and 7749 Yates) (.2)

May 2019     Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                 0.2 0.0019417          $0.76
             Operations
May 2019     Business                05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                 0.2 0.0022989          $0.90
             Operations
May 2019     Business                05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                  0.3 0.0046875          $1.83
             Operations                                       expenses (.3)
May 2019     Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                 0.2 0.0018692          $0.73
             Operations
May 2019     Business                05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                         0.1 0.0015625          $0.61
             Operations
May 2019     Claims                  05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                              0.6 0.0068966          $2.69
             Administration
             & Objections

May 2019     Claims                  05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting            0.2 0.0022727          $0.89
             Administration                                   reports (.2)
             & Objections

May 2019     Claims                  05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with          0.1 0.0011494          $0.45
             Administration                                   accounting firm representatives (.1)
             & Objections

May 2019     Claims                  05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                    0.2 0.0022989          $0.90
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2019     Claims                  05/14/19 KBD             390 telephone conference with accounting firm representative regarding same and timing for                 0.2 0.0022989          $0.90
             Administration                                       delivery of reports (.2)
             & Objections

May 2019     Claims                  05/15/19 KBD             390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                              0.6 0.0068182          $2.66
             Administration
             & Objections

May 2019     Claims                  05/15/19 KBD             390 telephone conference with accounting firm representative regarding same (.1).                          0.1 0.0011364          $0.44
             Administration
             & Objections

May 2019     Claims                  05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0022989          $0.90
             Administration
             & Objections

May 2019     Claims                  05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                     0.5 0.0056818          $2.22
             Administration                                       financial reports (.5)
             & Objections

May 2019     Claims                  05/21/19 KBD             390 review correspondence from N. Mirjanich regarding publication notice (.1).                             0.1 0.0066667          $2.60
             Administration
             & Objections

May 2019     Asset                   05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046        $3.14
             Disposition                                          accounting issues with property manager (.7).
May 2019     Asset                   05/02/19 NM              260 draft motion to amend the approval of third tranche to reflect same (.3).                              0.3         0.02       $5.20
             Disposition
May 2019     Asset                   05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539          $6.57
             Disposition                                          marketing and sales process (1.5).
May 2019     Asset                   05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931          $5.38
             Disposition                                          processes for next tranche of properties (1.2).
May 2019     Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                   05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899         $10.96
             Disposition
May 2019     Asset                   05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989          $0.90
             Disposition                                          of properties.
May 2019     Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709          $0.38
             Disposition
May 2019     Asset                   05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804          $0.38
             Disposition




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  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2019     Asset                   05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                  0.2 0.0022989          $0.90
             Disposition                                          and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                   05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                     1.2 0.0134831          $5.26
             Disposition
May 2019     Asset                   05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.                1.5 0.0168539          $6.57
             Disposition
May 2019     Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                   05/13/19 NM              260 study correspondence relating to bid procedures and amendment motion to approve the                     0.2 0.0133333          $3.47
             Disposition                                          third tranche of properties (.2)
May 2019     Asset                   05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                      0.4 0.0039216          $1.53
             Disposition
May 2019     Asset                   05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                             0.6 0.0067416          $2.63
             Disposition
May 2019     Asset                   05/14/19 AEP             390 study, edit, and revise proposed amendment to third, fourth, and fifth motions for approval             0.2         0.02       $7.80
             Disposition                                          of marketing and sale of properties in third marketing tranche (.2)
May 2019     Asset                   05/15/19 AEP             390 proofread, edit, and revise amendment to third, fourth, and fifth motions for approval of sale          0.2 0.0133333          $5.20
             Disposition                                          of properties in second marketing tranche (.2)
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                              0.3 0.0033708          $1.31
             Disposition
May 2019     Asset                   05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with           1.0    0.011236        $4.38
             Disposition                                          receivership broker (1.0)
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                 0.6 0.0067416          $2.63
             Disposition
May 2019     Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                   05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                  2.5 0.0287356         $11.21
             Disposition
May 2019     Asset                   05/15/19 NM              260 correspond with real estate broker and K. Duff regarding publication notice for second                  0.7 0.0259259          $6.74
             Disposition                                          tranche of properties and draft revisions to same (.7)
May 2019     Asset                   05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                 2.5 0.0280899         $10.96
             Disposition
May 2019     Asset                   05/16/19 AEP             390 conference with J. Rak regarding next steps in preparation for marketing and sale of second             1.5 0.2142857         $83.57
             Disposition                                          and fifth property tranches (1.5).
May 2019     Asset                   05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                             0.5    0.005618        $2.19
             Disposition
May 2019     Asset                   05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                   05/16/19 MR              390 Further edits to brief (.3)                                                                             0.3         0.02       $7.80
             Disposition
May 2019     Asset                   05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                  0.7    0.008046        $3.14
             Disposition


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
May 2019     Asset                   05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                     0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                   05/17/19 JR              140 research legal descriptions for the fifth tranche of properties and draft a legal document to           2.6 0.3714286        $52.00
             Disposition                                          produce to the surveying company (2.6)
May 2019     Asset                   05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806       $5.43
             Disposition                                          online water payment and management (2.6)
May 2019     Asset                   05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/20/19 JR              140 Update draft legal description document for properties in the fifth tranche (1.9)                       1.9 0.2714286        $38.00
             Disposition
May 2019     Asset                   05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776         $0.63
             Disposition                                          (.3)
May 2019     Asset                   05/22/19 MR              390 Review of order granting motion for approval of sale and follow up regarding same.                      0.2 0.0285714        $11.14
             Disposition
May 2019     Asset                   05/22/19 NM              260 study order approving sale of fifth motion of properties and correspond with K. Duff                    0.1 0.0142857         $3.71
             Disposition                                          regarding same (.1).
May 2019     Asset                   05/29/19 JR              140 update electronic records for the fifth tranche (1.6).                                                  1.6 0.2285714        $32.00
             Disposition
May 2019     Asset                   05/30/19 AEP             390 Meeting with J. Rak to prepare strategic plan for second, third, and fifth marketing tranches,          2.0 0.0909091        $35.45
             Disposition                                          including ordering, facilitating, and proofing of surveys, completion of title commitments,
                                                                  preparation of motions to confirm sales and proposed orders associated therewith, and
                                                                  preparations of preliminary settlement statements (2.0)

May 2019     Asset                   05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                       1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                   05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                             1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                   05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                           0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/30/19 MR              390 and conferences regarding same (.2).                                                                    0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/30/19 NM              260 Correspond with K. Duff and real estate broker regarding marketing of properties in second              0.5 0.0185185         $4.81
             Disposition                                          and third tranches of sales (.5)
May 2019     Asset                   05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same                 0.2 0.0023256         $0.60
             Disposition                                          (.2).
May 2019     Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax            2.3 0.0214953         $3.01
             Operations                                           sale (2.3)
May 2019     Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                        0.8 0.0074766         $1.05
             Operations
May 2019     Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                            0.4 0.0038835         $1.51
             Operations
May 2019     Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                       0.1 0.0009709         $0.38
             Operations


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  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
May 2019     Business                05/03/19 ED          390 confer with K. Duff (.1)                                                                           0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED          390 review information regarding March expenditures by Receivership (.3)                               0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/03/19 ED          390 email correspondence with property manager (.5)                                                    0.5 0.0076923         $3.00
             Operations
May 2019     Business                05/03/19 ED          390 confer with K. Duff regarding same (.1)                                                            0.1 0.0015385         $0.60
             Operations
May 2019     Business                05/03/19 ED          390 email correspondence to accountant regarding same (.1).                                            0.1 0.0011364         $0.44
             Operations
May 2019     Business                05/03/19 ED          390 and K. Pritchard (.1) regarding signing application documents and sending to broker                0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 KMP         140 forward executed policy documents to broker (.1).                                                  0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/03/19 KMP         140 Compile documents for general liability and umbrella insurance policy renewals and                 0.2 0.0019417         $0.27
             Operations                                       conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business                05/03/19 NM          260 correspond with E. Duff regarding code violation and property tax documents needed for             0.2 0.0022989         $0.60
             Operations                                       reporting and send same (.2).
May 2019     Business                05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                        0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella              0.4 0.0038835         $0.54
             Operations                                       insurance renewal, and communications with K. Duff and bank representative regarding
                                                              same (.4)
May 2019     Business                05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                 0.1 0.0009709         $0.14
             Operations                                       premium finance agreement.
May 2019     Business                05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)           0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                0.2 0.0022727         $0.89
             Operations                                       expenditures by property (.2)
May 2019     Business                05/08/19 ED          390 email correspondence with property manager to request additional documentation for same            0.3 0.0034091         $1.33
             Operations                                       (.3)
May 2019     Business                05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                   2.0 0.0227273         $8.86
             Operations
May 2019     Business                05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for          0.9 0.0102273         $3.99
             Operations                                       follow up questions (.9)
May 2019     Business                05/08/19 ED          390 and review of related documentation (.6)                                                           0.6 0.0068182         $2.66
             Operations
May 2019     Business                05/08/19 ED          390 organize list of follow up items relating to same (.3).                                            0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                0.8 0.0090909         $3.55
             Operations                                       reports and comments and questions regarding contents (.8)


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019     Business                05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182         $17.28
             Operations
May 2019     Business                05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608          $0.51
             Operations                                       manager (.2)
May 2019     Business                05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818          $2.22
             Operations                                       (.5)
May 2019     Business                05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091         $11.08
             Operations
May 2019     Business                05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214          $4.92
             Operations
May 2019     Business                05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545          $3.10
             Operations
May 2019     Business                05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/16/19 ED          390 review documents regarding application of receivership payments to property manager by                 2.2       0.025        $9.75
             Operations                                       property (2.2)
May 2019     Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087          $3.79
             Operations
May 2019     Business                05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                               0.6 0.0068182          $2.66
             Operations
May 2019     Business                05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports             0.1 0.0011364          $0.44
             Operations                                       (.1)
May 2019     Business                05/16/19 ED          390 review information and files to prepare response to lenders' counsel (.2)                              0.2          0.1      $39.00
             Operations
May 2019     Business                05/16/19 ED          390 review revised accounting reports from accountant (.5).                                                0.5 0.0056818          $2.22
             Operations
May 2019     Business                05/17/19 ED          390 review and revise draft reports received (4.4)                                                         4.4         0.05      $19.50
             Operations




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  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019     Business                05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of             0.3 0.0034091          $1.33
             Operations                                       accounting reports (.3)
May 2019     Business                05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)              0.8 0.0090909          $3.55
             Operations
May 2019     Business                05/17/19 ED          390 calls with accountant regarding reports (.3)                                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                  0.5 0.0056818          $2.22
             Operations                                       accountants (.5)
May 2019     Business                05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                             0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                   0.9 0.0102273          $3.99
             Operations                                       accounting reports (.9)
May 2019     Business                05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       4.6 0.0522727         $20.39
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273         $28.36
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273         $47.86
             Operations                                       accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business                05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364         $29.69
             Operations                                       accounting reports and several conferences regarding same, and conferences with E. Duff
                                                              and N. Mirjanich regarding same.
May 2019     Business                05/20/19 NM          260 correspond with property managers regarding streets and sanitation fines today following               0.4          0.1      $26.00
             Operations                                       court and revise spreadsheet to reflect same (.4)
May 2019     Business                05/20/19 NM          260 appear for streets and sanitation court on ten properties (1.7)                                        1.7       0.425      $110.50
             Operations
May 2019     Business                05/20/19 NM          260 Revise City litigation spreadsheet and follow up with property managers regarding same in              1.2         0.15      $39.00
             Operations                                       advance of administrative and housing court next week on nearly a dozen properties (1.2)

May 2019     Business                05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545         $11.82
             Operations
May 2019     Business                05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364          $0.30
             Operations
May 2019     Business                05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909         $18.17
             Operations
May 2019     Business                05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636         $33.68
             Operations                                       with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business                05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818          $0.80
             Operations                                       conferences with E. Duff regarding same.
May 2019     Business                05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182         $21.27
             Operations


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                             Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
             Operations
May 2019     Business                05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
             Operations                                       reports (3.4).
May 2019     Business                05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
             Operations
May 2019     Business                05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
             Operations
May 2019     Business                05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
             Operations                                       and conferences with E. Duff regarding same.
May 2019     Business                05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
             Operations
May 2019     Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations
May 2019     Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
             Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
             Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019     Business                05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of           0.9 0.0103448         $4.03
             Operations                                       accounting reports (.9)
May 2019     Business                05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977         $1.79
             Operations
May 2019     Business                05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                          0.5 0.0057471         $2.24
             Operations
May 2019     Business                05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April              0.5 0.0057471         $2.24
             Operations                                       accounting reports (.5)
May 2019     Business                05/30/19 ED          390 and property manager (.8)                                                                              0.8 0.0091954         $3.59
             Operations
May 2019     Business                05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).              1.0 0.0114943         $4.48
             Operations
May 2019     Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709         $0.14
             Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)




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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Business                05/30/19 NM          260 study documents received by former EB attorneys relating to new code violations and revise            1.3      0.1625      $42.25
             Operations                                       spreadsheet to reflect same and correspond with City attorney and property manager
                                                              regarding same (1.3).
May 2019     Business                05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                 0.2 0.0022989         $0.90
             Operations                                       required for April accounting reports (.2)
May 2019     Claims                  05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                  5.6 0.0643678        $25.10
             Administration                                   accounting reports (5.6)
             & Objections

May 2019     Claims                  05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)             0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                              0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
             Administration                                   documents (5.0)
             & Objections

May 2019     Claims                  05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                   accounting reports (.4).
             & Objections

May 2019     Claims                  05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                  05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
May 2019     Claims                  05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182          $2.66
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273          $3.99
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437          $4.93
             Administration
             & Objections

June 2019    Asset                   06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003        $1.17
             Disposition
June 2019    Asset                   06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494          $0.45
             Disposition                                      with lenders counsel (.1)
June 2019    Asset                   06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977          $1.79
             Disposition                                      exchange various correspondence relating to same (.4)
June 2019    Asset                   06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002        $0.78
             Disposition                                      timing (.2)
June 2019    Asset                   06/03/19 KBD         390 study sales and bid procedures (.4).                                                                  0.4 0.0266667         $10.40
             Disposition
June 2019    Asset                   06/04/19 KBD         390 study revisions to sales procedures and correspondence regarding same (.3).                           0.3         0.02       $7.80
             Disposition
June 2019    Asset                   06/05/19 KBD         390 study and exchange various correspondence regarding sales procedures, joint motion, and               0.4 0.0266667         $10.40
             Disposition                                      communications from lenders' counsel regarding same (.4).
June 2019    Asset                   06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966          $2.69
             Disposition                                      regarding same (.6)
June 2019    Asset                   06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483          $1.34
             Disposition
June 2019    Asset                   06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966          $2.69
             Disposition                                      and study revised credit bid procedures (.6)
June 2019    Asset                   06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)             0.2 0.0028571          $1.11
             Disposition
June 2019    Asset                   06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977          $1.79
             Disposition
June 2019    Asset                   06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046        $3.14
             Disposition                                      M. Rachlis.
June 2019    Asset                   06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802          $0.77
             Disposition
June 2019    Asset                   06/19/19 KBD         390 modify property sale procedures and exchange correspondence regarding same (.3).                      0.3         0.02       $7.80
             Disposition




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  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
June 2019    Asset                   06/21/19 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding planning for sale of properties          0.2 0.0074074         $2.89
             Disposition                                      (.2).
June 2019    Asset                   06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                0.5       0.005       $1.95
             Disposition
June 2019    Asset                   06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and             0.2 0.0039216         $1.53
             Disposition                                      potential for new grouping to list for sale (.2)
June 2019    Business                06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                   0.3       0.003       $1.17
             Operations
June 2019    Business                06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties             0.5 0.0057471         $2.24
             Operations                                       (.5)
June 2019    Business                06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                          0.1 0.0009346         $0.36
             Operations
June 2019    Business                06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure           0.1 0.0011494         $0.45
             Operations                                       relating to credit bid issue (.1)
June 2019    Business                06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                  0.1 0.0009709         $0.38
             Operations
June 2019    Business                06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                 0.2 0.0019608         $0.76
             Operations                                       transfer of funds (.2)
June 2019    Business                06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy               0.4 0.0038835         $1.51
             Operations                                       renewal (.4)
June 2019    Business                06/12/19 KBD         390 study property manager financial reporting (.4)                                                     0.4     0.00625       $2.44
             Operations
June 2019    Business                06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                    0.2 0.0019608         $0.76
             Operations
June 2019    Business                06/14/19 KBD         390 study property manager financial reporting (.3).                                                    0.3 0.0046875         $1.83
             Operations
June 2019    Business                06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                    0.4 0.0045977         $1.79
             Operations
June 2019    Business                06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                0.4 0.0045977         $1.79
             Operations                                       same (.4).
June 2019    Business                06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence               0.4 0.0037383         $1.46
             Operations                                       with J. Rak regarding same (.4)
June 2019    Business                06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                 0.2 0.0019608         $0.76
             Operations                                       correspondence (.2)
June 2019    Business                06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue             0.3 0.0033333         $1.30
             Operations                                       (.3).
June 2019    Claims                  06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                  0.3 0.0034483         $1.34
             Administration                                   lender's counsel regarding credit bid procedures (.3)
             & Objections




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2019    Claims                  06/10/19 KBD             390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                       various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                  06/10/19 KBD             390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                       lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                         date (.3)

June 2019    Claims                  06/11/19 KBD             390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                       revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                  06/14/19 KBD             390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                  06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                  06/21/19 KBD             390 draft correspondence to N. Mirjanich regarding property sales procedures (.2)                        0.2 0.0105263         $4.11
             Administration
             & Objections

June 2019    Claims                  06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                  06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                 0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                  06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit              0.2 0.0022989         $0.90
             Administration                                       bid procedures (.2)
             & Objections

June 2019    Claims                  06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                     1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                           3.7 0.0345794         $4.84
             Disposition




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  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019    Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215        $1.57
             Disposition
June 2019    Asset                   06/03/19 MR              390 review and comment on motion (.2)                                                                       0.2 0.0105263          $4.11
             Disposition
June 2019    Asset                   06/03/19 MR              390 Attention to sales issues (.3)                                                                          0.3 0.0157895          $6.16
             Disposition
June 2019    Asset                   06/03/19 MR              390 attention to issues on agreed motion for credit bidding and sealed bid instructions (.7).               0.7 0.0368421         $14.37
             Disposition
June 2019    Asset                   06/03/19 NM              260 Correspond with J. Rak regarding second and third sales tranches (.3)                                   0.3 0.0111111          $2.89
             Disposition
June 2019    Asset                   06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652          $3.07
             Disposition
June 2019    Asset                   06/04/19 JR              140 Research and review legal descriptions for the fifth tranche with A. Porter (2.8)                       2.8          0.4      $56.00
             Disposition
June 2019    Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                   06/04/19 MR              390 attention to sales issues (.2).                                                                         0.2 0.0105263          $4.11
             Disposition
June 2019    Asset                   06/04/19 MR              390 Attention to various motions and emails regarding objections to sales and credit bids (.4)              0.4 0.0210526          $8.21
             Disposition
June 2019    Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                          properties (.6).
June 2019    Asset                   06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714         $25.77
             Disposition                                          marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                  specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                  to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                  PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                  surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                  lists and closing documents, and numerous other transaction preparation tasks.

June 2019    Asset                   06/06/19 JR              140 telephone conference with the title company regarding ordering title for the new second                 0.7         0.07       $9.80
             Disposition                                          and third tranche properties and for the fifth tranche (.7)
June 2019    Asset                   06/06/19 JR              140 Work with A. Porter on motion to approve sale for the fifth tranche (1.6)                               1.6 0.2285714         $32.00
             Disposition
June 2019    Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                   06/06/19 MR              390 Analysis of credit bid issues.                                                                          0.8 0.0421053         $16.42
             Disposition
June 2019    Asset                   06/07/19 JR              140 organize electronic files for the fifth tranche (2.1)                                                   2.1          0.3      $42.00
             Disposition




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019    Asset                   06/07/19 MR              390 attention to various issues on status on credit bids and other issues, including as to recent           1.2 0.0631579        $24.63
             Disposition                                          filings (1.2).
June 2019    Asset                   06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                   06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                   06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                          of proposed credit bidding procedures (2.1)
June 2019    Asset                   06/09/19 MR              390 Review and analyze objections regarding sales process and credit bids.                                  2.0 0.1052632        $41.05
             Disposition
June 2019    Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                   06/10/19 MR              390 Further review and edits to response on credit bids (.5)                                                0.5 0.0263158        $10.26
             Disposition
June 2019    Asset                   06/10/19 MR              390 review of emails and follow up regarding same (.2).                                                     0.2 0.0105263         $4.11
             Disposition
June 2019    Asset                   06/11/19 JR              140 begin drafting closing checklists on the fifth tranche for properties (.6)                              0.6 0.0857143        $12.00
             Disposition
June 2019    Asset                   06/11/19 MR              390 Attention to credit bid issues and review and revise procedures and correspondence on                   1.2 0.0631579        $24.63
             Disposition                                          same.
June 2019    Asset                   06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                          procedures and provide comments to team regarding same (.2)
June 2019    Asset                   06/12/19 JR              140 create draft closing checklist for the fifth tranche with specific property information,                2.6 0.3714286        $52.00
             Disposition                                          inclusive of all single family properties (2.6)
June 2019    Asset                   06/12/19 MR              390 Conferences regarding credit bid issues with counsel for lender and Receiver (1.0)                      1.0 0.0526316        $20.53
             Disposition
June 2019    Asset                   06/12/19 MR              390 further work and analysis on redrafted credit bid procedures and follow up on same (.9).                0.9 0.0473684        $18.47
             Disposition
June 2019    Asset                   06/13/19 JR              140 exchange communication with property manager, K. Prichard, K. Duff and E. Duff regarding                0.5 0.0185185         $2.59
             Disposition                                          requested due diligence documents for the second and third tranches and regarding status
                                                                  of online water payments (.5)
June 2019    Asset                   06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                   06/14/19 MR              390 Work on credit bid procedures and exchange emails and drafts (1.2)                                      1.2 0.0631579        $24.63
             Disposition
June 2019    Asset                   06/17/19 MR              390 conferences with counsel for lender (.3)                                                                0.3 0.0157895         $6.16
             Disposition
June 2019    Asset                   06/17/19 MR              390 Attention to issues on credit bids and review and revise same (1.0)                                     1.0 0.0526316        $20.53
             Disposition
June 2019    Asset                   06/17/19 MR              390 and confer with K. Duff regarding same (.4).                                                            0.4 0.0210526         $8.21
             Disposition
June 2019    Asset                   06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition


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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
June 2019    Asset                   06/18/19 JR              140 reviewed legal descriptions for same (1.4)                                                             1.4          0.2      $28.00
             Disposition
June 2019    Asset                   06/18/19 JR              140 update checklists for fifth tranche (.9)                                                               0.9 0.1285714         $18.00
             Disposition
June 2019    Asset                   06/18/19 JR              140 added legal description to all the checklists in preparation for the closing (.9).                     0.9 0.1285714         $18.00
             Disposition
June 2019    Asset                   06/18/19 JR              140 drafted closing documents for same in preparation of the closing (1.7)                                 1.7 0.2428571         $34.00
             Disposition
June 2019    Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                        1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for              0.1 0.0009346          $0.13
             Disposition                                          all properties (.1).
June 2019    Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)          0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                   06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                   0.3       0.003        $0.42
             Disposition                                          referencing all properties (.3)
June 2019    Asset                   06/24/19 JR              140 exchange correspondence with A. Porter regarding the fifth motion (.2)                                 0.2 0.0222222          $3.11
             Disposition
June 2019    Asset                   06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                           2.6       0.026        $3.64
             Disposition
June 2019    Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect               0.9 0.0083333          $1.17
             Disposition                                          the receiver's information (.9)
June 2019    Asset                   06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                   0.1       0.001        $0.14
             Disposition
June 2019    Asset                   06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                2.5 0.0277778         $10.83
             Disposition
June 2019    Asset                   06/27/19 JR              140 Confirm Cook County Treasurer's site for updated addresses to the tax bill for properties in           0.7 0.0466667          $6.53
             Disposition                                          the third tranche to reflect the receiver's address (.7);
June 2019    Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other              1.8 0.0166667          $2.33
             Disposition                                          receivership properties (1.8).
June 2019    Business                06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                           0.1 0.0011494          $0.45
             Operations
June 2019    Business                06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference            2.4 0.0275862          $7.17
             Operations                                           and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                  same (2.4)
June 2019    Business                06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                        0.5 0.0057471          $2.24
             Operations
June 2019    Business                06/05/19 MR              390 Review and follow up on motions on objections to extend time.                                          0.4 0.0210526          $8.21
             Operations
June 2019    Business                06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                       0.1       0.001        $0.39
             Operations
June 2019    Business                06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                      0.4       0.004        $1.56
             Operations


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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2019    Business                06/07/19 ED          390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
             Operations
June 2019    Business                06/07/19 ED          390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
             Operations                                       current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business                06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
             Operations                                       liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                              regarding same (.4)
June 2019    Business                06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
             Operations                                       property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business                06/09/19 MR          390 Attention to emails from Court regarding objections and filings.                                      0.2 0.0105263         $4.11
             Operations
June 2019    Business                06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023      $21.07
             Operations                                       regarding allocation of funds (4.7)
June 2019    Business                06/10/19 ED          390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
             Operations
June 2019    Business                06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
             Operations
June 2019    Business                06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
             Operations
June 2019    Business                06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966         $1.79
             Operations                                       and payment of expenses from same and from Receiver's account (.6).
June 2019    Business                06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                       0.9 0.0103448         $4.03
             Operations
June 2019    Business                06/13/19 ED          390 review information from property manager regarding application of funds from Receivership             1.0 0.0114943         $4.48
             Operations                                       to property accounts (1.0)
June 2019    Business                06/13/19 ED          390 confer with M. Rachlis (.2)                                                                           0.2 0.0022989         $0.90
             Operations
June 2019    Business                06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709         $0.14
             Operations                                       payment for same (.1).
June 2019    Business                06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                        0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                 0.2 0.0022989         $0.90
             Operations                                       property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business                06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)               0.2 0.0022989         $0.90
             Operations
June 2019    Business                06/15/19 MR          390 Work on draft reply brief relating to lender's objections to order.                                   2.7 0.1421053        $55.42
             Operations
June 2019    Business                06/16/19 MR          390 Attention to draft brief and further work regarding lender's objections to order.                     2.0 0.1052632        $41.05
             Operations




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2019    Business                06/17/19 MR          390 attention to filings from lenders (1.5)                                                                1.5 0.0789474        $30.79
             Operations
June 2019    Business                06/17/19 MR          390 Attention to upcoming hearing and prepare for same (2.0)                                               2.0 0.1052632        $41.05
             Operations
June 2019    Business                06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
             Operations
June 2019    Business                06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
             Operations
June 2019    Business                06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
             Operations
June 2019    Business                06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
             Operations
June 2019    Business                06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
             Operations                                       respond to letters received from lender (.3)
June 2019    Business                06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                       regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business                06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                       manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business                06/19/19 MR          390 Attention to order on hearing and related issues.                                                      0.3 0.0157895         $6.16
             Operations
June 2019    Business                06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                       accounting reports (1.0)
June 2019    Business                06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business                06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                       premiums relating to sold properties (.1)
June 2019    Business                06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business                06/26/19 ED          390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                       accounts receivables (.2).
June 2019    Business                06/27/19 ED          390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2019    Business                06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Business                06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Claims                  06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                       reporting (.6)
             & Objections

June 2019    Claims                  06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                       Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                  06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                       and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                  06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                  06/10/19 ED              390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                       and questions relating to Receiver's accounting reports.
             & Objections




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2019    Claims                  06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
             Administration                                   ended April 2019 (.3)
             & Objections

June 2019    Claims                  06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
             Administration                                   accounting reports to lenders (.2).
             & Objections

June 2019    Claims                  06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                   email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                  06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                  06/21/19 MR          390 Review communication with lender (.2)                                                                  0.2 0.0105263         $4.11
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2019    Claims                  06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                          0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                  06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                    0.8 0.0089888         $2.34
             Administration                                   questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                  06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                        0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 Attention to claims related issues (.7)                                                              0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 prepare for (1.2)                                                                                    1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                  06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                         0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                   07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining          0.2       0.002       $0.78
             Disposition                                      properties and timing (.2)
July 2019    Asset                   07/09/19 KBD         390 Study order from Judge Kim (.2)                                                                      0.2 0.0105263         $4.11
             Disposition
July 2019    Asset                   07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same              0.2       0.002       $0.78
             Disposition                                      and impact on timing for sale of properties and planning (.2)
July 2019    Asset                   07/10/19 KBD         390 Attention to due diligence materials from property manager from upcoming property sales              0.2 0.0074074         $2.89
             Disposition                                      (.2)
July 2019    Asset                   07/10/19 KBD         390 telephone conference with property manager regarding same (.1)                                       0.1 0.0037037         $1.44
             Disposition
July 2019    Asset                   07/12/19 KBD         390 Review correspondence from potential purchaser and exchange correspondence with real                 0.2 0.0074074         $2.89
             Disposition                                      estate broker regarding same (.2)
July 2019    Asset                   07/16/19 KBD         390 Telephone conference with real estate broker regarding preparation to list properties and            0.1 0.0111111         $4.33
             Disposition                                      bid procedures (.1)
July 2019    Asset                   07/17/19 KBD         390 Conference with real estate broker regarding planning for sale of next group of properties           1.5 0.0789474        $30.79
             Disposition                                      and issues with purchaser (1.5)
July 2019    Asset                   07/17/19 KBD         390 review correspondence and draft publication notice regarding sale of property (.1).                  0.1 0.0058824         $2.29
             Disposition




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  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
July 2019    Asset                   07/18/19 KBD         390 attention to notice of real estate sale publication (.2).                                            0.2 0.0074074          $2.89
             Disposition
July 2019    Asset                   07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                             0.3 0.0034483          $1.34
             Disposition
July 2019    Asset                   07/22/19 KBD         390 Telephone conference with real estate broker regarding projected gross sales and                     0.1 0.0076923          $3.00
             Disposition                                      communications with lenders' representatives regarding properties listed for sale (.1)

July 2019    Asset                   07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs             0.1 0.0011494          $0.45
             Disposition                                      (.1).
July 2019    Asset                   07/25/19 KBD         390 Telephone conference with real estate broker regarding status of properties under contract,          0.2 0.0074074          $2.89
             Disposition                                      showing of listed properties, and timing considerations (.2)
July 2019    Asset                   07/30/19 KBD         390 telephone conference with representative for potential buyers regarding communications               0.2 0.0074074          $2.89
             Disposition                                      with real estate broker (.2)
July 2019    Asset                   07/30/19 KBD         390 telephone conference with real estate broker regarding same (.1)                                     0.1 0.0037037          $1.44
             Disposition
July 2019    Asset                   07/30/19 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                               0.2 0.0074074          $2.89
             Disposition
July 2019    Asset                   07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                  0.2       0.002        $0.78
             Disposition
July 2019    Asset                   07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                         0.2       0.002        $0.78
             Disposition
July 2019    Business                07/01/19 KBD         390 review allocation of insurance premium (.3)                                                          0.3 0.0029412          $1.15
             Operations
July 2019    Business                07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                0.2       0.002        $0.78
             Operations                                       property manager (.2).
July 2019    Business                07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                           0.1 0.0009804          $0.38
             Operations
July 2019    Business                07/10/19 KBD         390 Review real estate tax bills (.2)                                                                    0.2 0.0019608          $0.76
             Operations
July 2019    Business                07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                 0.2 0.0022989          $0.90
             Operations
July 2019    Business                07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,           0.2 0.0019608          $0.76
             Operations                                       communications with asset manager regarding property management costs, and
                                                              communications with insurance broker relating to premiums (.2)
July 2019    Business                07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                    0.1 0.0009804          $0.38
             Operations
July 2019    Business                07/15/19 KBD         390 telephone conference with bank representative regarding wire transfers for property                  0.1          0.1      $39.00
             Operations                                       expenses (.1)
July 2019    Business                07/15/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                  0.2          0.2      $78.00
             Operations                                       property expenses (.2)
July 2019    Business                07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                     0.2 0.0018868          $0.74
             Operations




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
July 2019    Business                07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                       E. Duff (.2)
July 2019    Business                07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                       and priority of property sales (.1)
July 2019    Business                07/15/19 KBD         390 work on property sale planning and publication of notice with N. Mirjanich (.1)                       0.1 0.0058824         $2.29
             Operations
July 2019    Business                07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business                07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business                07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                       payment for insurance (.2)
July 2019    Business                07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
             Operations
July 2019    Claims                  07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)               1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                  07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                        0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                  0.3 0.0034483         $1.34
             Administration                                   regarding same (.3).
             & Objections

July 2019    Claims                  07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment               0.3 0.0033708         $1.31
             Administration                                   discussions before the Court (.3)
             & Objections

July 2019    Claims                  07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)            0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                              0.3 0.0033708         $1.31
             Administration
             & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019    Claims                  07/02/19 KBD             390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                    0.6 0.0067416          $2.63
             Administration                                       information, and case law (.6)
             & Objections

July 2019    Claims                  07/22/19 KBD             390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                    0.2 0.0022989          $0.90
             Administration
             & Objections

July 2019    Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                       lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                   07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19           1.6 0.0179775          $7.01
             Disposition                                          order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                  therefore (1.6)
July 2019    Asset                   07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                      1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                   07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614          $1.94
             Disposition
July 2019    Asset                   07/01/19 JR              140 Draft closing checklists for the third tranche including gathering necessary information such          2.4         0.16      $22.40
             Disposition                                          as legal description and other relevant information for closing documents in preparation for
                                                                  the closing (2.4)
July 2019    Asset                   07/01/19 MR              390 Work in preparation for upcoming hearing before Judge Kim (4.7)                                        4.7 0.2473684         $96.47
             Disposition
July 2019    Asset                   07/01/19 MR              390 participate in meeting with K. Duff and A. Porter regarding same (1.3)                                 1.3 0.0684211         $26.68
             Disposition
July 2019    Asset                   07/01/19 MR              390 attention to other lender related emails (.2).                                                         0.2 0.0105263          $4.11
             Disposition
July 2019    Asset                   07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                      1.1 0.0123596          $4.82
             Disposition
July 2019    Asset                   07/02/19 MR              390 Further preparation for and attend hearing before Judge Kim (2.5)                                      2.5 0.1315789         $51.32
             Disposition
July 2019    Asset                   07/02/19 MR              390 research record and follow up on various issues and court's requests for information from              2.0 0.1052632         $41.05
             Disposition                                          transcripts (2.0).
July 2019    Asset                   07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                      0.5    0.005618        $2.19
             Disposition
July 2019    Asset                   07/03/19 JR              140 update real estate taxes for properties (1.5).                                                         1.5 0.0238095          $3.33
             Disposition
July 2019    Asset                   07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on               0.1 0.0015873          $0.22
             Disposition                                          all properties for property manager (.1)
July 2019    Asset                   07/03/19 MR              390 Attention to issues regarding filings, review of transcripts and correspondence following up           0.6 0.0315789         $12.32
             Disposition                                          on hearing.




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2019    Asset                   07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                           1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                   07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts             1.2 0.0136364         $5.32
             Disposition                                          regarding same.
July 2019    Asset                   07/07/19 MR              390 Further work on submission regarding July 2nd hearing.                                                0.8 0.0421053        $16.42
             Disposition
July 2019    Asset                   07/09/19 MR              390 Review order from Judge Kim on sales issues.                                                          0.3 0.0157895         $6.16
             Disposition
July 2019    Asset                   07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet               0.5 0.0079365         $1.11
             Disposition                                          and resend (.5)
July 2019    Asset                   07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                     1.9       0.019       $2.66
             Disposition
July 2019    Asset                   07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                              1.8       0.018       $2.52
             Disposition
July 2019    Asset                   07/12/19 NM              260 Correspond with J. Rak regarding code violations on second and third tranches of property             0.6 0.0272727         $7.09
             Disposition                                          sales and due diligence materials for the same.
July 2019    Asset                   07/15/19 JR              140 exchange correspondence with K. Duff regarding assessment notices for various properties              0.3 0.0428571         $6.00
             Disposition                                          and forward to A. Porter and real estate broker (.3)
July 2019    Asset                   07/15/19 MR              390 conferences regarding sales (.2)                                                                      0.2 0.0105263         $4.11
             Disposition
July 2019    Asset                   07/15/19 NM              260 Correspond with broker, K. Duff, and J. Rak regarding listing of third property tranche.              0.2 0.0133333         $3.47
             Disposition
July 2019    Asset                   07/16/19 NM              260 Exchange correspondence with A. Porter regarding violations on properties in the second               0.3 0.0176471         $4.59
             Disposition                                          and third tranche of sales and study documents to reflect the same.
July 2019    Asset                   07/17/19 KMP             140 Conference with N. Mirjanich regarding placement of legal ad for public sale of properties            0.1 0.0058824         $0.82
             Disposition                                          and requirement for immediate payment to ensure publication dates.
July 2019    Asset                   07/17/19 MR              390 attention to other sales issues, moving forward on marketing, and related matters as part of          1.5 0.0789474        $30.79
             Disposition                                          meeting with K. Duff, A. Porter, and asset manager (1.5).
July 2019    Asset                   07/17/19 NM              260 Exchange correspondence with K. Duff, brokers, newspaper, J. Rak regarding notice for third           0.8 0.0470588        $12.24
             Disposition                                          tranche of properties and draft same and send same to newspaper for publication.

July 2019    Asset                   07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title               0.2 0.0020408         $0.80
             Disposition                                          insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                   07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers           0.1 0.0009804         $0.14
             Disposition                                          (.1)
July 2019    Asset                   07/18/19 NM              260 Exchange correspondence relating to publication notice for third tranche of properties.               0.2 0.0133333         $3.47
             Disposition
July 2019    Asset                   07/22/19 MR              390 Attention to sales of property.                                                                       0.3 0.0157895         $6.16
             Disposition
July 2019    Asset                   07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to               0.2 0.0022989         $0.90
             Disposition                                          institutional lenders (.2).
July 2019    Asset                   07/23/19 MR              390 attention to credit bid issues (.3).                                                                  0.3 0.0157895         $6.16
             Disposition


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2019    Asset                   07/24/19 MR              390 Preparation for upcoming hearing (2.2)                                                                2.2 0.1157895        $45.16
             Disposition
July 2019    Asset                   07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet             0.2       0.002       $0.28
             Disposition                                          (.2)
July 2019    Asset                   07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                 0.9 0.0088235         $3.44
             Disposition
July 2019    Asset                   07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties          1.3 0.0146067         $5.70
             Disposition                                          potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                  connection with potential settlement with institutional lender (1.3)

July 2019    Asset                   07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and           1.4 0.0137255         $5.35
             Disposition                                          title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                  agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                  approve sales, and other closing-related documentation in connection with all remaining
                                                                  tranches (1.4)
July 2019    Business                07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                             0.1       0.001       $0.39
             Operations
July 2019    Business                07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                 0.1       0.001       $0.39
             Operations                                           payment of real estate taxes (.1)
July 2019    Business                07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial               0.2 0.0019608         $0.76
             Operations                                           reporting information, discussions with asset manager regarding cash flow and property
                                                                  costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business                07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes               0.2 0.0019608         $0.76
             Operations                                           coming due (.2)
July 2019    Business                07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843         $4.21
             Operations
July 2019    Business                07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business                07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007       $2.73
             Operations                                           Rachlis and J. Rak regarding same (.7).
July 2019    Business                07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/15/19 KMP             140 Prepare request forms for wire transfers to property managers for property expenses, and              0.5 0.1666667        $23.33
             Operations                                           communications with K. Duff and bank representative regarding same (.5)

July 2019    Business                07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002       $0.52
             Operations                                           property status (.2).




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2019    Business                07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
             Operations                                           water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                  the same.
July 2019    Business                07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/18/19 AW              140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
             Operations
July 2019    Business                07/18/19 ED              390 confer with J. Rak to request preparation of spreadsheet for analysis of remaining real estate           0.1 0.0030303         $1.18
             Operations                                           taxes due (.1)
July 2019    Business                07/18/19 ED              390 and review and revision of same (.4).                                                                    0.4 0.0121212         $4.73
             Operations
July 2019    Business                07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804         $0.14
             Operations
July 2019    Business                07/19/19 JR              140 Review email from E. Duff pertaining to lender spreadsheet and the request to update                     0.2 0.0060606         $0.85
             Operations                                           current real estate tax balances (.2)
July 2019    Business                07/19/19 JR              140 update same and send to E. Duff (1.9).                                                                   1.9 0.0575758         $8.06
             Operations
July 2019    Business                07/23/19 ED              390 review of June financial reporting from property managers (.4)                                           0.4       0.004       $1.56
             Operations
July 2019    Business                07/23/19 JR              140 Update and forward outstanding 2017 real estate balances on all properties to K. Pritchard.              0.7 0.0538462         $7.54
             Operations
July 2019    Business                07/23/19 MR              390 Attention to various issues raised by lenders.                                                           0.2 0.0153846         $6.00
             Operations
July 2019    Business                07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business                07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216         $0.55
             Operations                                           and communications with K. Duff and bank representative regarding same.

July 2019    Business                07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                    0.3 0.0029412         $1.15
             Operations
July 2019    Claims                  07/01/19 ED              390 Review and analyze documents necessary to prepare spreadsheet of May receivership                        1.4    0.016092       $6.28
             Administration                                       expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                  07/01/19 ED              390 email to accountant regarding same (.4).                                                                 0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                  07/05/19 ED              390 Call with accountant regarding May accounting reports to lenders.                                        0.1 0.0011494         $0.45
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                 Task Hours
  Month                                        Keeper                                                                                                                 Hours        Fees
July 2019    Claims                  07/10/19 ED          390 email correspondence with accountants (.6)                                                      0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                  07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting          0.2 0.0022989         $0.90
             Administration                                   reports to lenders.
             & Objections

July 2019    Claims                  07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                       0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                 1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                         0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                      0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and email correspondence confirming next steps (.3)                                             0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                  07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments               0.2 0.0022989         $0.90
             Administration                                   attributable to properties (.2)
             & Objections

July 2019    Claims                  07/14/19 ED          390 email accountant regarding same (.2)                                                            0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                    1.9 0.0218391         $8.52
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2019    Claims                  07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                  07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                   to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                   information and instructions for same (.3)
             & Objections

July 2019    Claims                  07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
             Administration                                   preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                  07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                   (.8)
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2019    Claims                  07/19/19 ED              390 Email correspondence with A. Watychowicz regarding preparation of May accounting                         0.1 0.0011494         $0.45
             Administration                                       reports to lenders (.1)
             & Objections

July 2019    Claims                  07/22/19 ED              390 and confer with K. Duff regarding same (1.1)                                                             1.1 0.0126437         $4.93
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                    2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                           0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of                  0.5 0.0057471         $2.24
             Administration                                       real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                  07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                  07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                  07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
             Administration                                       reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                  07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                       accounting reports (.9)
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
July 2019    Claims                  07/24/19 ED          390 organize and send materials to accountant for June accounting reports to lenders (.8)                     0.8 0.0091954          $3.59
             Administration
             & Objections

July 2019    Claims                  07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                          0.4 0.0045977          $1.79
             Administration                                   accounting reports to lenders (.4)
             & Objections

August 2019 Asset                    08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                 0.2 0.0020202          $0.79
            Disposition
August 2019 Asset                    08/09/19 KBD         390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                 0.2 0.0022989          $0.90
            Disposition
August 2019 Asset                    08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest                0.1       0.001        $0.39
            Disposition                                       in properties (.1)
August 2019 Asset                    08/12/19 KBD         390 telephone conference with real estate broker and A. Porter regarding lender                               0.1 0.0011494          $0.45
            Disposition                                       communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                    08/12/19 KBD         390 Telephone conference with real estate broker regarding preparation for offers on third group              0.2 0.0074074          $2.89
            Disposition                                       of properties (.2)
August 2019 Asset                    08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                        0.3       0.003        $1.17
            Disposition                                       marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                    08/15/19 KBD         390 conference with real estate broker, A. Porter, and J. Rak regarding offers for third group of 17          2.7         0.18      $70.20
            Disposition                                       properties (2.7)
August 2019 Asset                    08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                        1.5 0.0172414          $6.72
            Disposition                                       credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                              (1.5).
August 2019 Asset                    08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                      0.3 0.0034483          $1.34
            Disposition
August 2019 Asset                    08/17/19 KBD         390 Exchange correspondence regarding disclosure of closing costs (.4)                                        0.4 0.0444444         $17.33
            Disposition
August 2019 Asset                    08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                             0.5 0.0057471          $2.24
            Disposition
August 2019 Asset                    08/19/19 KBD         390 Study information regarding offers on and marketing for properties for sale.                              0.5 0.0294118         $11.47
            Disposition
August 2019 Asset                    08/20/19 KBD         390 telephone conference with real estate broker regarding estimated costs (.1)                               0.1 0.0041667          $1.63
            Disposition
August 2019 Asset                    08/20/19 KBD         390 and with A. Porter regarding same (.2).                                                                   0.2 0.0083333          $3.25
            Disposition
August 2019 Asset                    08/20/19 KBD         390 Exchange correspondence with A. Porter regarding estimated closing costs (.2)                             0.2 0.0083333          $3.25
            Disposition
August 2019 Asset                    08/21/19 KBD         390 Exchange correspondence with lenders' counsel regarding estimated closing costs and                       0.4 0.0235294          $9.18
            Disposition                                       timing.


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated       Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours            Fees
August 2019 Asset                    08/23/19 KBD         390 revise estimated closing costs (.5)                                                                0.5 0.0555556            $21.67
            Disposition
August 2019 Asset                    08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing          0.8 0.0091954             $3.59
            Disposition                                       conference with various lenders' counsel
August 2019 Asset                    08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                0.3       0.003           $1.17
            Disposition
August 2019 Business                 08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                0.1 0.0009804             $0.38
            Operations                                        expenses and insurance.
August 2019 Business                 08/12/19 KBD         390 study property manager financial reporting (.3).                                                   0.3 0.0046875             $1.83
            Operations
August 2019 Business                 08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                      0.1       0.001           $0.39
            Operations
August 2019 Business                 08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).            0.3 0.0046875             $1.83
            Operations
August 2019 Business                 08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                        0.1 0.0009804             $0.38
            Operations
August 2019 Business                 08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                0.2 0.0019608             $0.76
            Operations                                        estate taxes (.2).
August 2019 Business                 08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                    0.2 0.0022989             $0.90
            Operations
August 2019 Business                 08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.           0.3       0.003           $1.17
            Operations                                        Rak regarding same (.3)
August 2019 Business                 08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                  0.5       0.005           $1.95
            Operations
August 2019 Claims                   08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                             0.4 0.0045977             $1.79
            Administration
            & Objections

August 2019 Claims                   08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and           1.5 0.0172414             $6.72
            Administration                                    lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                   08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions            4.3 0.0494253            $19.28
            Administration                                    (4.3)
            & Objections

August 2019 Claims                   08/21/19 KBD         390 confer with M. Rachlis regarding same and allocation issues (1.0)                                  1.0               1     $390.00
            Administration
            & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
August 2019 Claims                   08/21/19 KBD             390 telephone conferences and exchange correspondence with A. Porter regarding preparation                 0.3     0.01875        $7.31
            Administration                                        of estimated closing costs (.3)
            & Objections

August 2019 Claims                   08/21/19 KBD             390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                          2.4 0.0269663         $10.52
            Administration
            & Objections

August 2019 Claims                   08/22/19 KBD             390 exchange correspondence with M. Rachlis regarding closing costs issue (.6)                             0.6      0.0375       $14.63
            Administration
            & Objections

August 2019 Claims                   08/22/19 KBD             390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing                0.2 0.0022989          $0.90
            Administration                                        issue (.2)
            & Objections

August 2019 Claims                   08/23/19 KBD             390 Exchange correspondence with E. Duff regarding restoration of rents issue.                             0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                   08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                         0.2 0.0022989          $0.90
            Administration
            & Objections

August 2019 Claims                   08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit                0.2 0.0022989          $0.90
            Administration                                        bid and closing costs (.2)
            & Objections

August 2019 Claims                   08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                         0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Asset                    08/04/19 MR              390 Review and research for response brief related to property sales and credit bid issues.                4.0 0.2105263         $82.11
            Disposition
August 2019 Asset                    08/07/19 AEP             390 prepare purchase and sale agreements for all 18 properties in third series (5.5)                       5.5 0.3666667        $143.00
            Disposition
August 2019 Asset                    08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102        $1.99
            Disposition                                           commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                  timetables (.5)
August 2019 Asset                    08/07/19 JR              140 update real estate tax spreadsheet with accrued August interest for properties in the third            0.7 0.0466667          $6.53
            Disposition                                           tranche (.7).
August 2019 Asset                    08/09/19 AEP             390 Finalize purchase and sale contracts for all 17 properties in third series by customizing and          4.5          0.3     $117.00
            Disposition                                           inserting all riders and exhibits (4.5)


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
August 2019 Asset                    08/09/19 NM              260 Correspond with J. Rak and City attorney regarding due diligence code violation documents                 0.2 0.0133333          $3.47
            Disposition                                           for the third tranche of properties to sell.
August 2019 Asset                    08/10/19 AEP             390 Communications with K. Duff regarding publication notice (.2)                                             0.2 0.0117647          $4.59
            Disposition
August 2019 Asset                    08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                              0.2       0.002        $0.28
            Disposition
August 2019 Asset                    08/14/19 AEP             390 begin preparation of spreadsheet estimating closing costs to be incurred at closing by credit             0.4 0.0307692         $12.00
            Disposition                                           bidding lenders (.4)
August 2019 Asset                    08/14/19 AEP             390 teleconference with receivership broker regarding overview of bids received on third series               0.3         0.02       $7.80
            Disposition                                           of receivership properties (.3).
August 2019 Asset                    08/15/19 NM              260 Correspond with K. Duff, E. Duff, and A. Porter regarding the offers on the third tranche of              0.3         0.02       $5.20
            Disposition                                           properties and claims and credit bid issues on the same.
August 2019 Asset                    08/19/19 AW              140 Attention to email regarding time and expenses spent on any of the third tranche properties               0.2 0.0133333          $1.87
            Disposition                                           and follow up regarding same.
August 2019 Asset                    08/20/19 AEP             390 prepare e-mails to property managers requesting water bill delinquencies and estimated                    0.1 0.0058824          $2.29
            Disposition                                           invoices for purpose of preparing closing cost estimates for secured lenders pursuant to
                                                                  judicial order (.1)
August 2019 Asset                    08/21/19 AEP             390 Review survey invoices, title invoices, real estate tax bills, restoration of rents figures, and          6.2 0.4133333        $161.20
            Disposition                                           water department invoices and create spreadsheets of closing cost estimates for all third
                                                                  series properties subject to credit bidding.
August 2019 Asset                    08/21/19 MR              390 Attention to cost issues at closings.                                                                     0.1 0.0058824          $2.29
            Disposition
August 2019 Asset                    08/23/19 AEP             390 Revise estimated closing cost statements for 16 properties in third series of sales and                   2.3 0.1533333         $59.80
            Disposition                                           transmit same to all applicable institutional lenders under explanatory covering letter.

August 2019 Asset                    08/23/19 MR              390 Attention to emails regarding closing costs.                                                              0.3 0.0176471          $6.88
            Disposition
August 2019 Asset                    08/26/19 MR              390 conferences regarding real estate sales and status (.3)                                                   0.3 0.0157895          $6.16
            Disposition
August 2019 Asset                    08/26/19 MR              390 Attention to and preparation for upcoming hearing (1.2)                                                   1.2 0.0631579         $24.63
            Disposition
August 2019 Asset                    08/27/19 MR              390 attention to and conferences regarding sales process issues (1.0)                                         1.0 0.0526316         $20.53
            Disposition
August 2019 Asset                    08/27/19 MR              390 Prepare for and attend hearing (1.3)                                                                      1.3 0.0684211         $26.68
            Disposition
August 2019 Asset                    08/28/19 AEP             390 communications with title companies regarding issuance of title invoices and other                        0.2         0.05      $19.50
            Disposition                                           information pertinent to motions to be filed for approval of fifth series of sales (.2)

August 2019 Business                 08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for                  0.2       0.002        $0.28
            Operations                                            properties.
August 2019 Business                 08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                     1.3       0.013        $1.82
            Operations




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours         Fees
August 2019 Business                 08/14/19 ED          390 Email correspondence with K. Pritchard (.1)                                                      0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/14/19 ED          390 and insurance agent (.1) regarding wire for insurance premiums                                   0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/20/19 AW          140 attention to email from E. Duff regarding accounting reports and respond to same (.1).           0.1 0.0011236          $0.16
            Operations
August 2019 Business                 08/20/19 KMP         140 communications with K. Duff regarding status of payments on insurance premium finance            0.1 0.0009804          $0.14
            Operations                                        agreement (.1).
August 2019 Business                 08/21/19 ED          390 Review and analysis of July financial reporting from property managers.                          0.7       0.007        $2.73
            Operations
August 2019 Business                 08/21/19 MR          390 and follow up and review on various cost accounting reports (.8).                                0.8       0.008        $3.12
            Operations
August 2019 Business                 08/21/19 MR          390 Conferences with E. Duff (.2)                                                                    0.2 0.0019608          $0.76
            Operations
August 2019 Business                 08/22/19 ED          390 review of July reporting from property managers (1.2)                                            1.2       0.012        $4.68
            Operations
August 2019 Business                 08/22/19 KMP         140 Conference with K. Duff and attention to communications with property manager regarding          0.1 0.0333333          $4.67
            Operations                                        funds requested for property management expenses for July 2019 (.1)
August 2019 Business                 08/22/19 KMP         140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).          0.1 0.0009804          $0.14
            Operations
August 2019 Business                 08/23/19 KMP         140 Prepare wire request forms for transfers to property manager for property management             0.5 0.1666667         $23.33
            Operations                                        expenses and to lender for insurance premium finance agreement, and conferences with K.
                                                              Duff and bank representative relating to same.
August 2019 Claims                   08/02/19 ED          390 begin review of drafts of June accounting reports to lenders (.8).                               0.8 0.0091954          $3.59
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED          390 and draft and send email to lender's counsel regarding same (.2)                                 0.2 0.0022989          $0.90
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED          390 review and analysis of revised May accounting report and related correspondence and              0.3 0.0034483          $1.34
            Administration                                    documents (.3)
            & Objections

August 2019 Claims                   08/03/19 ED          390 Further review of drafts of June accounting reports to lenders (.7)                              0.7    0.008046        $3.14
            Administration
            & Objections

August 2019 Claims                   08/05/19 AW          140 attention to payment demand from institutional lender and forward same to K. Duff (.1).          0.1         0.05       $7.00
            Administration
            & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
August 2019 Claims                   08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                        accounting firm (.5).
            & Objections

August 2019 Claims                   08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                   08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                         0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                   08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                        accounting reports to lenders (.1)
            & Objections

August 2019 Claims                   08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                           0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                   08/07/19 MR              390 Continue work on response brief associated with issues on sales and credit bids.                   2.7 0.1421053        $55.42
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 call with accountant regarding same (.1)                                                           0.1 0.0011494         $0.45
            Administration
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
August 2019 Claims                   08/08/19 ED          390 Review additional drafts of June accounting reports to lenders (.2)                                0.2 0.0022989          $0.90
            Administration
            & Objections

August 2019 Claims                   08/09/19 MR          390 Work on brief responding to credit bid related issues (3.5)                                        3.5 0.1842105         $71.84
            Administration
            & Objections

August 2019 Claims                   08/09/19 MR          390 follow up on questions regarding credit bid procedures (.3).                                       0.3 0.0157895          $6.16
            Administration
            & Objections

August 2019 Claims                   08/12/19 AEP         390 Read e-mail from lender on receivership property in third series (7749 S Yates) regarding          0.1          0.1      $39.00
            Administration                                    application of credit bidding procedures to promissory notes secured by multiple
            & Objections                                      receivership properties and communicate opinions regarding same with K. Duff and
                                                              receivership broker (.1)
August 2019 Claims                   08/12/19 MR          390 attention to issues regarding lenders' brief (.3).                                                 0.3 0.0157895          $6.16
            Administration
            & Objections

August 2019 Claims                   08/13/19 AEP         390 Review e-mail from receivership broker regarding proposed announcements to lenders                 0.1 0.0058824          $2.29
            Administration                                    seeking to submit credit bids.
            & Objections

August 2019 Claims                   08/14/19 ED          390 and email correspondence with accountant regarding comments (.6)                                   0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                   08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)               0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                   08/14/19 MR          390 Review and follow up on brief in response to objections to July 9 order (1.0)                      1.0 0.0526316         $20.53
            Administration
            & Objections

August 2019 Claims                   08/14/19 MR          390 further communications regarding same (.2).                                                        0.2 0.0105263          $4.11
            Administration
            & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
August 2019 Claims                   08/15/19 AEP             390 Read chain of correspondence regarding credit bids.                                                   0.3 0.0176471          $6.88
            Administration
            & Objections

August 2019 Claims                   08/15/19 ED              390 review drafts of June accounting reports to lenders (3.2)                                             3.2 0.0367816         $14.34
            Administration
            & Objections

August 2019 Claims                   08/15/19 ED              390 confer with K. Duff regarding closing costs (.2).                                                     0.2 0.0181818          $7.09
            Administration
            & Objections

August 2019 Claims                   08/15/19 MR              390 attention to credit bid issues and follow up regarding same (.8).                                     0.8 0.0091954          $3.59
            Administration
            & Objections

August 2019 Claims                   08/16/19 ED              390 and email correspondence to A. Porter regarding same (.2)                                             0.2 0.0181818          $7.09
            Administration
            & Objections

August 2019 Claims                   08/16/19 ED              390 prepare summary analyses regarding receivership expenditures relating to multiple                     2.1 0.1909091         $74.45
            Administration                                        properties for which lenders' counsel have requested estimates of closing costs in
            & Objections                                          connection with credit bids (2.1)

August 2019 Claims                   08/16/19 ED              390 confer with J. Rak regarding obtaining outstanding water bills for preparation of statements          0.1 0.0090909          $3.55
            Administration                                        of estimated closing costs for lenders (.1).
            & Objections

August 2019 Claims                   08/16/19 ED              390 Continue review of drafts of June accounting reports and review and analysis of related               2.7 0.0310345         $12.10
            Administration                                        documents and correspondence (2.7)
            & Objections

August 2019 Claims                   08/16/19 ED              390 email correspondence with accountant regarding review of June receivership expenditures               0.4 0.0045977          $1.79
            Administration                                        for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                   08/16/19 JR              140 Confer with N. Mirjanich regarding drafting a spreadsheet with a list of mortgagees and               0.3         0.02       $2.80
            Administration                                        other information found on the documents of record for properties in the third tranche.
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2019 Claims                   08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                             0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                   08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/17/19 ED          390 Email correspondence with K. Duff, A. Porter, and real estate broker regarding estimated             0.2 0.0181818         $7.09
            Administration                                    closing costs to be provided to potential credit bidders (.2)
            & Objections

August 2019 Claims                   08/17/19 MR          390 Review issues and draft responses to inquires on credit bid related issues from lenders and          2.0 0.1052632        $41.05
            Administration                                    follow up on same with K. Duff and others.
            & Objections

August 2019 Claims                   08/18/19 MR          390 Further review and edits and communications on credit bids and for upcoming hearing.                 0.5 0.0263158        $10.26
            Administration
            & Objections

August 2019 Claims                   08/19/19 AW          140 assist in preparation to presentment of emergency motion regarding credit bid (.3).                  0.3 0.0428571         $6.00
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).            1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 and review revised reports (3.9)                                                                     3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                      0.6 0.0068966         $2.69
            Administration                                    content of reports (.6)
            & Objections

August 2019 Claims                   08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                                2.2 0.0252874         $9.86
            Administration
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2019 Claims                   08/19/19 MR          390 attention to order on credit bids and conferences regarding same (.3)                                  0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/19/19 MR          390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                  3.5 0.0402299        $15.69
            Administration                                    follow up regarding same (3.5)
            & Objections

August 2019 Claims                   08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                   08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236         $0.16
            Administration                                    follow up (.1)
            & Objections

August 2019 Claims                   08/21/19 ED          390 Review and revise draft template for calculation of estimated closing costs for lenders                0.3 0.0272727        $10.64
            Administration                                    relating to credit bids.
            & Objections

August 2019 Claims                   08/21/19 MR          390 attention to filed motion by institutional lender and docket update and to motion for                  0.2 0.0105263         $4.11
            Administration                                    expedited hearing regarding objections to orders and docket update (.2).
            & Objections

August 2019 Claims                   08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                   08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                    accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                   08/23/19 ED          390 Review draft statements of estimated closing costs and exchange correspondence with K.                 0.3 0.0272727        $10.64
            Administration                                    Duff and A. Porter relating to properties subject to credit bid.
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
August 2019 Claims                   08/25/19 ED          390 review of claims filed (5430 S Indiana, 7749 S Yates) (.9).                                         0.9         0.45     $175.50
            Administration
            & Objections

August 2019 Claims                   08/25/19 ED          390 Email correspondence with K. Duff regarding communications to lenders' counsel about                0.2 0.0181818          $7.09
            Administration                                    closing costs for credit bids (.2)
            & Objections

August 2019 Claims                   08/27/19 NM          260 create spreadsheet and review claims in connection with third tranche credit bid (.2).              0.2 0.0133333          $3.47
            Administration
            & Objections

August 2019 Claims                   08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration             0.1 0.0011494          $0.45
            Administration                                    amounts
            & Objections

August 2019 Claims                   08/28/19 ED          390 email correspondence with accountant (.6)                                                           0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                   08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting          0.3 0.0034483          $1.34
            Administration                                    reports to lenders (.3)
            & Objections

August 2019 Claims                   08/28/19 NM          260 Analyze claims for all properties in third tranche of property sales (1.8)                          1.8         0.12      $31.20
            Administration
            & Objections

August 2019 Claims                   08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                            0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                   08/29/19 NM          260 Analyze claims in third tranche of property sales.                                                  4.2         0.28      $72.80
            Administration
            & Objections

August 2019 Claims                   08/30/19 AW          140 attention to email and records from vendor transmitting proof of claim forms against                1.2          0.6      $84.00
            Administration                                    properties (5450 S Indiana and 7749 S Yates) (1.2).
            & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
August 2019 Claims                   08/30/19 NM          260 Analyze claims in third tranche of property sales (2.7)                                                2.7         0.18      $46.80
            Administration
            & Objections

September    Asset                   09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356         $11.21
2019         Disposition                                      bidding, and hearing before Judge Lee (2.5).
September    Asset                   09/04/19 KBD         390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989          $0.90
2019         Disposition
September    Asset                   09/05/19 KBD         390 study correspondence from real estate broker regarding sale of various properties and                  0.2 0.0117647          $4.59
2019         Disposition                                      communications with lenders (.2).
September    Asset                   09/06/19 KBD         390 exchange various correspondence with M. Rachlis regarding same (.5).                                   0.5     0.03125       $12.19
2019         Disposition
September    Asset                   09/06/19 KBD         390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483          $1.34
2019         Disposition                                      regarding sales contracts and communications relating to credit bidding (.3)

September Asset                      09/09/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984          $4.95
2019      Disposition                                         with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                              marketing and property tour information.
September    Asset                   09/10/19 KBD         390 study correspondence from real estate broker regarding status of property sales and action             0.2 0.0666667         $26.00
2019         Disposition                                      items (639 N. Avers, 7109 Calumet, 7749 Yates) (.2).
September    Asset                   09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745         $14.15
2019         Disposition
September    Business                09/11/19 KBD         390 study property manager financial reports (.3)                                                          0.3 0.0046875          $1.83
2019         Operations
September    Business                09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977          $1.79
2019         Operations                                       Duff regarding property financial reporting.
September    Business                09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804          $0.38
2019         Operations
September    Business                09/22/19 KBD         390 Study correspondence from E. Duff regarding property expenses.                                         0.2 0.0142857          $5.57
2019         Operations
September    Claims                  09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                          0.1 0.0011494          $0.45
2019         Administration
             & Objections

September Claims                     09/03/19 KBD         390 Telephone conference and exchange correspondence with broker regarding credit bids and                 0.3 0.0034483          $1.34
2019      Administration                                      communications with potential purchasers (.3)
          & Objections

September Claims                     09/05/19 KBD         390 study correspondence from lender's counsel regarding credit bid (.1).                                  0.1          0.1      $39.00
2019      Administration
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
September Claims                     09/06/19 KBD         390 Study correspondence from lender's counsel regarding sale of property and credit bid                0.1          0.1      $39.00
2019      Administration                                      position.
          & Objections

September Claims                     09/10/19 KBD         390 telephone conference with real estate broker regarding credit bids and communications with          0.2 0.0022989          $0.90
2019      Administration                                      lenders representatives regarding same (.2).
          & Objections

September Claims                     09/13/19 KBD         390 study correspondence from real estate broker regarding status of credit bidding (.1)                0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/13/19 KBD         390 study correspondence from A. Porter regarding language in purchase and sale agreement for           0.1 0.0011494          $0.45
2019      Administration                                      credit bid (.1).
          & Objections

September Claims                     09/18/19 KBD         390 telephone conference with broker regarding credit bid process, bid history, and lender              0.4 0.0307692         $12.00
2019      Administration                                      objection (.4)
          & Objections

September    Asset                   09/04/19 AEP         390 prepare e-mail with list of third series properties for which title commitments are still           0.1 0.0066667          $2.60
2019         Disposition                                      needed and send to title company (.1)
September    Asset                   09/04/19 MR          390 prepare for hearing (1.0)                                                                           1.0 0.0526316         $20.53
2019         Disposition
September    Asset                   09/04/19 MR          390 attend meeting on sales and credit bid related issues (2.5)                                         2.5 0.1315789         $51.32
2019         Disposition
September    Asset                   09/04/19 MR          390 Attention to credit bid issues and communications and updates on same (.2)                          0.2 0.0105263          $4.11
2019         Disposition
September    Asset                   09/04/19 MR          390 draft email regarding same and send to lender's counsel (.3).                                       0.3 0.0157895          $6.16
2019         Disposition
September    Asset                   09/12/19 AEP         390 Prepare new section of second motion to approve sales reciting record of objections and             3.6 0.2117647         $82.59
2019         Disposition                                      orders relating to second, third, fourth, and fifth motions to approve sales process (3.6)

September    Asset                   09/12/19 MR          390 meeting regarding sales related issues with A. Porter, K. Duff and N. Mirjanich (1.2).              1.2 0.0444444         $17.33
2019         Disposition
September    Asset                   09/16/19 ED          390 Review and analysis of documentation regarding expenditures, contributions, and                     3.1 0.1631579         $63.63
2019         Disposition                                      distributions relating to properties for which motion to approve sale is pending (3.1)

September    Asset                   09/16/19 ED          390 calls and email correspondence with property manager and accountant regarding same (.5).            0.5 0.0454545         $17.73
2019         Disposition
September    Asset                   09/18/19 AEP         390 review drafts of surveys on receivership properties (7749 S Yates, 8201 S Kingston, 7656 S          0.3          0.1      $39.00
2019         Disposition                                      Kingston) and send changes to surveyor (.3)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
September    Asset                   09/18/19 JR              140 Review and organize emails and documents from A. Porter and the surveying company                    0.3 0.0428571         $6.00
2019         Disposition                                          pertaining to finalized surveys (.3)
September    Asset                   09/18/19 JR              140 organize lease folders in the third series (.5)                                                      0.5 0.0333333         $4.67
2019         Disposition
September    Asset                   09/19/19 AEP             390 Review and approve proposed final drafts of surveys on receivership properties (7749 S               0.1 0.0333333        $13.00
2019         Disposition                                          Yates, 8201 S Kingston, 7656 S Kingston).
September    Asset                   09/21/19 MR              390 Further prepare for upcoming hearing (1.0)                                                           1.0 0.0526316        $20.53
2019         Disposition
September    Asset                   09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding             2.5 0.0245098         $9.56
2019         Disposition                                          same.
September    Asset                   09/23/19 MR              390 Additional work on review of materials for upcoming hearing (1.5)                                    1.5 0.0789474        $30.79
2019         Disposition
September    Asset                   09/23/19 MR              390 and review of same (.3).                                                                             0.3 0.0157895         $6.16
2019         Disposition
September    Asset                   09/23/19 MR              390 work on asset manager's affidavit (.2)                                                               0.2 0.0105263         $4.11
2019         Disposition
September    Asset                   09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                         0.3 0.0029412         $1.15
2019         Disposition
September    Asset                   09/24/19 JR              140 organize statements for real estate taxes (.3)                                                       0.3       0.003       $0.42
2019         Disposition
September    Asset                   09/24/19 MR              390 conferences and exchanges with K. Duff (.3)                                                          0.3 0.0157895         $6.16
2019         Disposition
September    Asset                   09/24/19 MR              390 confer with K. Pritchard on filings (.1)                                                             0.1 0.0052632         $2.05
2019         Disposition
September    Asset                   09/24/19 MR              390 Work on submission of response and declaration (1.7)                                                 1.7 0.0894737        $34.89
2019         Disposition
September    Asset                   09/24/19 MR              390 confer on and attention to issues related to upcoming hearing with N. Mirjanich and K. Duff          0.3 0.0157895         $6.16
2019         Disposition                                          and resolution of various issues with order (.3).
September    Business                09/04/19 ED              390 Review draft correspondence regarding insurance coverage for property manager and confer             0.1 0.0090909         $3.55
2019         Operations                                           with K. Duff regarding same (.1)
September    Business                09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                      0.2 0.0022989         $0.90
2019         Operations
September    Business                09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                       0.3 0.0034483         $1.34
2019         Operations
September    Business                09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to              0.4 0.0039216         $0.55
2019         Operations                                           finance company for payment on insurance premium finance agreement (.4)

September    Business                09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                  0.2 0.0022989         $0.32
2019         Operations
September    Business                09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                         0.2 0.0022989         $0.32
2019         Operations
September    Business                09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July            3.3 0.0383721         $5.37
2019         Operations                                           2019 (3.3)


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
September    Business                09/11/19 KMP         140 Revise and finalize letter response to government entity complaint and compile exhibits (.4)             0.4          0.4      $56.00
2019         Operations
September    Business                09/11/19 KMP         140 confer with N. Mirjanich regarding same (.1).                                                            0.1          0.1      $14.00
2019         Operations
September    Business                09/19/19 ED          390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471          $2.24
2019         Operations
September    Business                09/19/19 ED          390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989          $0.90
2019         Operations
September    Business                09/20/19 AW          140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505          $1.63
2019         Operations                                       same.
September    Business                09/20/19 ED          390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431          $3.06
2019         Operations
September    Business                09/23/19 KMP         140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216          $0.55
2019         Operations                                       transfer of funds for payment of premium finance agreement on property liability insurance
                                                              (.4)
September    Business                09/25/19 ED          390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977          $1.79
2019         Operations
September    Business                09/25/19 ED          390 review of financial reporting records (.7)                                                               0.7    0.008046        $3.14
2019         Operations
September    Claims                  09/01/19 MR          390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483          $1.34
2019         Administration                                   lender.
             & Objections

September Claims                     09/02/19 AEP         390 Teleconference with N. Mirjanich regarding preparation of memoranda relating to properties               0.2 0.0133333          $5.20
2019      Administration                                      in third series and subject to credit bidding (.2)
          & Objections

September Claims                     09/06/19 MR          390 work on response to lender's brief (4.0).                                                                4.0 0.2105263         $82.11
2019      Administration
          & Objections

September Claims                     09/06/19 MR          390 Attention to emails regarding credit bids (.5)                                                           0.5 0.0263158         $10.26
2019      Administration
          & Objections

September Claims                     09/07/19 MR          390 Work on brief regarding issues raised by lenders.                                                        4.5 0.2368421         $92.37
2019      Administration
          & Objections

September Claims                     09/08/19 MR          390 Further work and edits to response brief on credit bids.                                                 3.8          0.2      $78.00
2019      Administration
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
September Claims                     09/09/19 MR          390 attention to (7109 Calumet and 7749 Yates) property bids and conferences on same (.4)               0.4          0.2      $78.00
2019      Administration
          & Objections

September Claims                     09/09/19 MR          390 work on brief (1.2).                                                                                1.2 0.0631579         $24.63
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                          0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 Preliminary review of draft accounting reports to lenders (.2)                                      0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                 0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding          0.1 0.0011494          $0.45
2019      Administration                                      payment of outstanding real estate taxes (.1).
          & Objections

September Claims                     09/10/19 MR          390 Attention to edits and work on response brief and conferences on same (2.0)                         2.0 0.1052632         $41.05
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                   0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                       0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into             0.2 0.0022989          $0.90
2019      Administration                                      segregated receivership account holding sales proceeds (.2)
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
September Claims                     09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483         $1.34
2019      Administration                                      monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                        (.3).

September Claims                     09/11/19 MR          390 conferences regarding same (.4).                                                                      0.4 0.0210526         $8.21
2019      Administration
          & Objections

September Claims                     09/11/19 MR          390 Further review and edits to brief on credit bid issue raised by lender (2.5)                          2.5 0.1315789        $51.32
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                      sales (.1)
          & Objections

September Claims                     09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)              0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                                 1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                        0.2 0.0022989         $0.90
2019      Administration
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                      Task Hours
  Month                                        Keeper                                                                                                        Hours        Fees
September Claims                     09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                         1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)            1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                          0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/18/19 MR          390 attention to issues on properties (.1).                                                0.1 0.0052632         $2.05
2019      Administration
          & Objections

September Claims                     09/18/19 MR          390 Attention to lender's reply brief and issues raised therein (.5)                       0.5 0.0263158        $10.26
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                   0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                               1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                            0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)          0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                 1.2 0.0137931         $5.38
2019      Administration
          & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
September Claims                     09/20/19 MR          390 Prepare for upcoming hearings on credit bidding issues and sales.                                       1.2 0.0631579         $24.63
2019      Administration
          & Objections

September Claims                     09/22/19 ED          390 Analysis of operating expenses.                                                                         1.5 0.0172414          $6.72
2019      Administration
          & Objections

October      Asset                   10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit                 0.2 0.0022989          $0.90
2019         Disposition                                      bidding and planning for further sales.
October      Asset                   10/08/19 KBD         390 Sales planning and strategy for properties in second and third tranche of properties with real          2.5 0.1923077         $75.00
2019         Disposition                                      estate broker, A. Porter, and M. Rachlis and communications with purchasers and credit
                                                              bidders regarding same (2.5)
October      Asset                   10/11/19 KBD         390 Study purchase and sale agreements and work with A. Porter on and separately review                     0.6 0.0461538         $18.00
2019         Disposition                                      contracts for purchase and sale of properties, credit bids, and communications with counsel
                                                              for purchasers and bidders (.6)
October      Asset                   10/11/19 KBD         390 telephone conferences and exchange correspondence with real estate broker relating to                   0.3 0.0230769          $9.00
2019         Disposition                                      same (.3).
October      Asset                   10/14/19 KBD         390 review contracts for execution (.1)                                                                     0.1         0.02       $7.80
2019         Disposition
October      Asset                   10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                        1.0 0.0114943          $4.48
2019         Disposition                                      regarding various property sales and credit bidding (1.0)
October      Asset                   10/17/19 KBD         390 Analysis of potential sale opportunity.                                                                 0.2 0.0022472          $0.88
2019         Disposition
October      Asset                   10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                  0.3 0.0033708          $1.31
2019         Disposition                                      same.
October      Business                10/07/19 KBD         390 study property manager financial reporting (.3).                                                        0.3 0.0046875          $1.83
2019         Operations
October      Business                10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                    0.8 0.0078431          $3.06
2019         Operations
October      Business                10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                      0.1 0.0009804          $0.38
2019         Operations
October      Business                10/15/19 KBD         390 study financial reporting from property manager (.3).                                                   0.3 0.0046875          $1.83
2019         Operations
October      Claims                  10/09/19 KBD         390 draft correspondence to A. Porter regarding correspondence with counsel for lender                      0.1          0.1      $39.00
2019         Administration                                   regarding credit bid (.1).
             & Objections

October      Claims                  10/10/19 KBD         390 study draft correspondence to lender regarding credit bid and related correspondence from               0.2          0.2      $78.00
2019         Administration                                   A. Porter (.2).
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
October      Claims                  10/10/19 KBD             390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to            0.3 0.0034483          $1.34
2019         Administration                                       sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Claims                  10/18/19 KBD             390 Exchange various correspondence regarding credit bid and communications with lender's                  0.2          0.2      $78.00
2019         Administration                                       counsel (.2)
             & Objections

October      Asset                   10/01/19 AEP             390 request for timing of completion of remaining surveys in "red" series (.1)                             0.1 0.0058824          $2.29
2019         Disposition
October      Asset                   10/04/19 AEP             390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding             0.3 0.0034483          $1.34
2019         Disposition                                          procedures (.3)
October      Asset                   10/04/19 MR              390 Attention to order on objections to sales (.4)                                                         0.4 0.0045977          $1.79
2019         Disposition
October      Asset                   10/08/19 AEP             390 review promissory note and mortgage relating to receivership property (7749 S Yates), as               0.8          0.8     $312.00
2019         Disposition                                          well as "credit bid" purchase and sale agreement tendered by lender and prepare draft letter
                                                                  to counsel for special servicer regarding terms and conditions of receiver's acceptance of
                                                                  credit bid (.8).
October      Asset                   10/08/19 MR              390 Participate in meeting on property sales and issues regarding same with A. Porter and asset            2.0 0.1538462         $60.00
2019         Disposition                                          manager (2.0)
October      Asset                   10/08/19 MR              390 review various documents and correspondence regarding same (.4)                                        0.4 0.0307692         $12.00
2019         Disposition
October      Asset                   10/11/19 KMP             140 prepare electronic copies of correspondence to counsel for potential purchasers of                     0.2          0.1      $14.00
2019         Disposition                                          properties (7749 S Yates, 638 N Avers) relating to issues with purchase and sale agreements,
                                                                  and confer with K. Duff regarding same (.2).
October      Asset                   10/15/19 AEP             390 prepare execution-ready copies of contracts to be delivered to credit bidders on receivership          0.4          0.2      $78.00
2019         Disposition                                          properties (7749 S Yates and 7109 S Calumet) (.4)
October      Asset                   10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                         0.3 0.0034884          $0.49
2019         Disposition
October      Asset                   10/18/19 AEP             390 [Continuation of time entry] Review purchase and sale contract submitted by prospective                0.1          0.1      $39.00
2019         Disposition                                          purchaser of receivership property (7749 S Yates) following non-response from prospective
                                                                  credit bidder and provide execution instructions to receivership broker (.1)

October      Asset                   10/18/19 AEP             390 Read and respond to e-mails regarding effect of withdrawal of counsel for prospective credit           0.2          0.2      $78.00
2019         Disposition                                          bidder on receivership property on property sale process (.2)
October      Asset                   10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank                3.2 0.0372093          $5.21
2019         Disposition                                          statement and compare (3.2).
October      Asset                   10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                  0.4 0.0039216          $1.53
2019         Disposition                                          portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                   10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future               0.4     0.00625        $2.44
2019         Disposition                                          closings (.4)
October      Asset                   10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                         1.2 0.0137931          $5.38
2019         Disposition


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
October      Asset                   10/29/19 JR              140 follow up correspondence with title company relating to receipt of earnest money for the               0.1       0.025        $3.50
2019         Disposition                                          fifth series (.1)
October      Asset                   10/30/19 AEP             390 read J. Rak e-mails regarding status of receipt of earnest money and prepare follow-up                 0.2         0.05      $19.50
2019         Disposition                                          communications with counsel for purchasers of receivership property (.2)

October      Asset                   10/30/19 AEP             390 prepare and send wiring instructions for earnest money deposit for receivership property               0.2          0.2      $78.00
2019         Disposition                                          (7749 S Yates) (.2).
October      Asset                   10/30/19 JR              140 final review of due diligence documents, share all the due diligence with buyer's counsel              4.7         0.47      $65.80
2019         Disposition                                          relating to the fifth series of properties now under contract, and exchange communication
                                                                  with buyer's counsel relating same (4.7)
October      Asset                   10/30/19 JR              140 update closing checklists relating to wires received regarding the fifth series of properties          0.4         0.04       $5.60
2019         Disposition                                          and buyer's counsel information (.4)
October      Asset                   10/30/19 JR              140 follow up correspondence with the title company relating to wires not yet received from                0.2         0.05       $7.00
2019         Disposition                                          various buyers on the sales of the 5th series (.2)
October      Business                10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with                 0.4 0.0045977          $1.79
2019         Operations                                           accountant regarding same.
October      Business                10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                               0.3 0.0029412          $1.15
2019         Operations
October      Business                10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                  1.0 0.0098039          $3.82
2019         Operations
October      Business                10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August                0.6 0.0068182          $2.66
2019         Operations                                           property reports.
October      Business                10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate            0.3 0.0030303          $0.42
2019         Operations                                           spreadsheet containing unpaid taxes from property manager (.3).
October      Business                10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers              1.9 0.0206522          $2.89
2019         Operations                                           can pay out of current net operating income (1.9)
October      Business                10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                     0.2 0.0021739          $0.30
2019         Operations
October      Business                10/17/19 AEP             390 prepare e-mail to K. Duff and receivership broker regarding sale efforts for receivership              0.1          0.1      $39.00
2019         Operations                                           property (7749 S Yates) (.1).
October      Business                10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.                0.5 0.0057471          $2.24
2019         Operations
October      Business                10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and             3.1 0.0360465          $5.05
2019         Operations                                           also compare funds sent to property manager from receivers' account.

October      Business                10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real                0.2       0.002        $0.28
2019         Operations                                           estate taxes (.2)
October      Business                10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                         0.6       0.006        $0.84
2019         Operations
October      Business                10/22/19 JR              140 Finalize financial reports for receivership.                                                           1.4 0.0162791          $2.28
2019         Operations
October      Business                10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare             0.9 0.0087379          $1.22
2019         Operations                                           same.


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
October      Business                10/25/19 ED          390 review and organize material to send to accountant for September reports regarding income                0.8 0.0091954          $3.59
2019         Operations                                       and expenditures (.8).
October      Business                10/25/19 ED          390 Review of September financial reporting from property managers (1.3)                                     1.3 0.0149425          $5.83
2019         Operations
October      Business                10/25/19 KMP         140 Prepare wire request for funds transfer for installment payment on premium financing                     0.3 0.0029412          $0.41
2019         Operations                                       agreement and conferences with K. Duff and bank representative relating to same.

October      Claims                  10/10/19 AEP         390 Review and analyze claims on receivership property (7749 S Yates) and prepare e-mail to                  0.7          0.7     $273.00
2019         Administration                                   receivership team regarding same (.7)
             & Objections

October      Claims                  10/10/19 MR          390 Attention to credit bid issues and related issues on various properties (7749 Yates, 638                 0.6          0.3     $117.00
2019         Administration                                   Avers).
             & Objections

October      Claims                  10/10/19 NM          260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid                  0.4 0.0045977          $1.20
2019         Administration                                   issue (.4).
             & Objections

October      Claims                  10/11/19 AEP         390 Review claim and revise letter to counsel for prospective credit bidder regarding credit bid to          0.9          0.9     $351.00
2019         Administration                                   purchase receivership property (7749 S Yates).
             & Objections

October      Claims                  10/17/19 ED          390 confer with J. Rak regarding same (.2).                                                                  0.2 0.0023256          $0.91
2019         Administration
             & Objections

October      Claims                  10/17/19 ED          390 Preliminary review of August accounting reports to lenders (1.5)                                         1.5 0.0174419          $6.80
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                     0.2 0.0023256          $0.91
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                               2.8 0.0325581         $12.70
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 update transmittal messages to lenders' counsel (1.6)                                                    1.6 0.0183908          $7.17
2019         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
October      Claims                  10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628          $0.45
2019         Administration
             & Objections

October      Claims                  10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628          $0.45
2019         Administration
             & Objections

October      Claims                  10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907          $4.99
2019         Administration
             & Objections

October      Claims                  10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535          $5.44
2019         Administration                                   September (1.2)
             & Objections

October      Claims                  10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256          $0.91
2019         Administration                                   reports (.2).
             & Objections

November     Asset                   11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833          $0.81
2019         Disposition
November     Asset                   11/18/19 KBD         390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739          $0.85
2019         Disposition
November     Asset                   11/23/19 KBD         390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258          $1.26
2019         Disposition
November     Business                11/05/19 KBD         390 analysis of same (.2).                                                                                0.2 0.0019608          $0.76
2019         Operations
November     Business                11/05/19 KBD         390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608          $0.76
2019         Operations                                       assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                              improvements for remaining properties in portfolio (.2)
November     Business                11/07/19 KBD         390 Exchange correspondence with property manager regarding funds for property expenses.                  0.2 0.0032787          $1.28
2019         Operations
November     Business                11/12/19 KBD         390 study property manager reports (.6).                                                                  0.6 0.0098361          $3.84
2019         Operations
November     Business                11/25/19 KBD         390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105          $1.64
2019         Operations                                       with E. Duff regarding same (.4)
November     Business                11/25/19 KBD         390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053          $0.82
2019         Operations                                       insurance and expenses (.2)
November     Business                11/26/19 KBD         390 review information relating to onsite property managers (.1)                                          0.1         0.01       $3.90
2019         Operations
November     Business                11/26/19 KBD         390 Attention to insurance loss history and draft correspondence to insurance broker regarding            0.3 0.0031579          $1.23
2019         Operations                                       same (.3)


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
November     Business                11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,                  0.2 0.0021053          $0.82
2019         Operations                                           and planning (.2)
November     Asset                   11/19/19 AEP             390 Communications with title company regarding status of earnest money deposits on fifth                      0.1       0.025        $9.75
2019         Disposition                                          series of property sales (.1)
November     Asset                   11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties                 0.4 0.0043478          $1.70
2019         Disposition                                          (.4).
November     Asset                   11/21/19 AEP             390 communications with counsel for purchaser of property (7749 S Yates) regarding lack of                     0.1          0.1      $39.00
2019         Disposition                                          earnest money funds and necessity for receipt of same (.1)
November     Asset                   11/21/19 AEP             390 review litigation files associated with next five properties earmarked for inclusion within fifth          0.5 0.0555556         $21.67
2019         Disposition                                          motion to approve sales, inventory missing status orders, and prepare e-mail to N. Mirjanich
                                                                  regarding pleadings (.5)
November     Asset                   11/21/19 JR              140 review electronic documents and exchange correspondence with A. Porter relating to same                    0.4 0.0444444          $6.22
2019         Disposition                                          (.4)
November     Asset                   11/21/19 JR              140 review email correspondence from A. Porter relating to orders in preparation for filing the                0.1 0.0111111          $1.56
2019         Disposition                                          next motion to approve sales (.1)
November     Asset                   11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                                   0.9 0.0104651          $1.47
2019         Disposition
November     Asset                   11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                  2.8 0.0294737         $11.49
2019         Disposition                                          team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                  receivership assets (2.8)
November     Asset                   11/25/19 AEP             390 communications with counsel for purchaser of property (7749 S Yates) and title company                     0.1          0.1      $39.00
2019         Disposition                                          regarding receipt of earnest money (.1)
November     Asset                   11/25/19 AEP             390 communications with title company regarding receipt of earnest money deposit and                           0.1         0.05      $19.50
2019         Disposition                                          execution of SJO agreement (.1)
November     Asset                   11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                          0.2 0.0021053          $0.29
2019         Disposition
November     Asset                   11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                   8.3 0.0873684         $34.07
2019         Disposition                                          draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                  revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                  (8.3)
November     Asset                   11/26/19 JR              140 exchange correspondence with property managers regarding information for onsite property                   0.3         0.03       $4.20
2019         Disposition                                          managers for various buildings (.3).
November     Asset                   11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                   1.7 0.0197674          $2.77
2019         Disposition
November     Asset                   11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                               0.2 0.0033333          $0.47
2019         Disposition                                          information that is required for future sales of properties (.2).
November     Business                11/07/19 KMP             140 follow up email with property manager confirming transfer of funds (.1).                                   0.1       0.025        $3.50
2019         Operations
November     Business                11/07/19 KMP             140 Prepare forms for wire transfer requests to property manager for property expenses (7110                   0.4          0.1      $14.00
2019         Operations                                           Cornell, 7750 Muskegon, 7749 Yates, 7844 Ellis) and conferences with K. Duff and bank
                                                                  representatives regarding same (.4)
November     Business                11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                    0.4 0.0038835          $1.01
2019         Operations


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
November     Business                11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business                11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business                11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                           reports (.4)
November     Business                11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                           research and communication regarding process (.6).
November     Business                11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                           (.1)
November     Business                11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations
November     Business                11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681         $3.43
2019         Operations                                           been sold.
November     Business                11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019         Operations                                           accounting financial statements from Receiver's accountant.
November     Business                11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019         Operations
November     Business                11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961         $2.65
2019         Operations                                           receivership account and email correspondence with K. Pritchard regarding additional details
                                                                  needed (.7)
November     Business                11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019         Operations                                           information for review (.3)
November     Business                11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845         $3.81
2019         Operations                                           (2.8).
November     Business                11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)               0.6 0.0066667         $0.93
2019         Operations
November     Claims                  11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                      0.4 0.0038835         $1.51
2019         Administration                                       preparation of October accounting reports to lenders.
             & Objections

November     Claims                  11/30/19 ED              390 Review of September property reports from accountant (3.8)                                               3.8 0.0368932        $14.39
2019         Administration
             & Objections

November     Claims                  11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                   0.5 0.0048544         $1.89
2019         Administration                                       (.5).
             & Objections

December     Business                12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                     0.1 0.0010526         $0.41
2019         Operations
December     Business                12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance                  0.1 0.0010526         $0.41
2019         Operations                                           premium payment (.1)


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  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
December     Business                12/10/19 KBD             390 study property manager financial reporting (.5)                                                      0.5 0.0081967          $3.20
2019         Operations
December     Asset                   12/04/19 AEP             390 Teleconference with broker and then with counsel for prospective purchaser of receivership           0.4          0.2      $78.00
2019         Disposition                                          properties (7237 S Bennett and 7749 S Yates) regarding delays in closing process, status of
                                                                  settlement discussions with property manager, and release of earnest money (.4)

December     Asset                   12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                  0.2 0.0021053          $0.29
2019         Disposition
December     Asset                   12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767        $1.09
2019         Disposition                                          preparation for review (.8)
December     Asset                   12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126          $0.41
2019         Disposition                                          (.3)
December     Asset                   12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of              0.2 0.0021053          $0.82
2019         Disposition                                          remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                  motions to approve sales (.2).
December     Asset                   12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395         $10.20
2019         Disposition                                          organization of closing documents and the start of preparation for closings (5.9)
December     Asset                   12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296          $4.15
2019         Disposition                                          and information (2.4).
December     Business                12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796          $1.50
2019         Operations                                           property basis and prepare same.
December     Business                12/04/19 KMP             140 Prepare request for transfer of funds to property manager for property management                    0.4          0.1      $14.00
2019         Operations                                           expenses, and communicate with K. Duff and bank representative regarding same (.4)

December     Business                12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105          $0.59
2019         Operations                                           financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business                12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835          $1.51
2019         Operations                                           expenses.
December     Business                12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526          $0.41
2019         Operations
December     Business                12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767        $3.03
2019         Operations                                           properties and accounts payable (.8)
December     Business                12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252          $2.27
2019         Operations
December     Business                12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417          $0.76
2019         Operations                                           reports (.2)
December     Business                12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767        $3.03
2019         Operations                                           with accountant regarding comments and corrections.
December     Business                12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767        $3.03
2019         Operations




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
December     Claims                  12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019         Administration                                       from properties (.9)
             & Objections

December     Claims                  12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                  12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845        $10.60
2019         Administration
             & Objections

December     Claims                  12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126         $1.14
2019         Administration                                       lenders.
             & Objections

December     Claims                  12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126         $0.41
2019         Administration
             & Objections

December     Claims                  12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359         $8.70
2019         Administration                                       accountant 's information (6.4)
             & Objections

December     Claims                  12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835         $1.51
2019         Administration
             & Objections

January      Asset                   01/20/20 KBD             390 Study correspondence from A. Porter regarding property sales and commissions (.1)                    0.1 0.0083333         $3.25
2020         Disposition
January      Asset                   01/20/20 KBD             390 exchange correspondence with K. Pritchard and bank representative regarding new accounts             0.1 0.0090909         $3.55
2020         Disposition                                          for upcoming sales of properties (.1)
January      Business                01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and           0.2 0.0021978         $0.86
2020         Operations                                           expense payments (.2)
January      Business                01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                0.7    0.012069       $4.71
2020         Operations
January      Claims                  01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process            0.3 0.0033708         $1.31
2020         Administration                                       and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections




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  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
January      Claims                  01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                                0.9 0.0101124          $3.94
2020         Administration
             & Objections

January      Asset                   01/06/20 AEP             390 correspondence with J. Rak regarding remaining assistance required in connection with                    0.1 0.0022222          $0.87
2020         Disposition                                          finalization of three nearly-completed motions (.1).
January      Asset                   01/07/20 JR              140 Follow up email exchange with A. Porter regarding assisting on motions to approve sales (.1)             0.1 0.0111111          $1.56
2020         Disposition
January      Asset                   01/08/20 AEP             390 Work with J. Rak to review fifth motion to confirm sales of receivership property and sixth              5.6 0.6222222        $242.67
2020         Disposition                                          motion to approve marketing of receivership property, including paragraph-by-paragraph
                                                                  fact-checking, exhibit assembly, proofing, title searching, and title commitment reconciliation
                                                                  (5.6)
January      Asset                   01/08/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property currently under                    0.2 0.0181818          $7.09
2020         Disposition                                          contract regarding status of closings (.2).
January      Asset                   01/08/20 JR              140 review email from buyer's counsel regarding required documents for closing and forward                   0.2          0.2      $28.00
2020         Disposition                                          same for property under contract (7749 Yates) (.2)
January      Asset                   01/08/20 JR              140 search and add exhibits relating to same to prepare for filing (1.1).                                    1.1 0.0244444          $3.42
2020         Disposition
January      Asset                   01/08/20 JR              140 assist A. Porter in review of title commitments and online searches for those whose interests            5.6 0.1244444         $17.42
2020         Disposition                                          are in various properties and review and further prepare the 5th motion to confirm sale and
                                                                  6th motion to approve sale (5.6)
January      Asset                   01/09/20 AEP             390 continue working with J. Rak on preparation of fifth motion to confirm sales and sixth motion            5.5 0.1222222         $47.67
2020         Disposition                                          to approve sales process, including review and analysis of all title commitments and
                                                                  recorded documents (5.5)
January      Asset                   01/09/20 JR              140 review and prepare exhibits for filing (.8).                                                             0.8          0.1      $14.00
2020         Disposition
January      Asset                   01/09/20 JR              140 work with A. Porter on further review and preparation of the 5th motion to confirm sale and              5.5 0.1222222         $17.11
2020         Disposition                                          6th motion to approve sale (5.5)
January      Asset                   01/10/20 AEP             390 Teleconference with counsel for prospective purchaser of receivership properties (7749 S                 0.3         0.15      $58.50
2020         Disposition                                          Yates and 7237 S Bennett) regarding status of resolution of dispute with property manager
                                                                  and anticipated timing of closing of next tranche of properties.

January      Asset                   01/10/20 NM              260 Exchange correspondence with A. Porter and J. Rak regarding violations on properties in the              0.3 0.0333333          $8.67
2020         Disposition                                          next tranche of sales.
January      Asset                   01/14/20 JR              140 revise, research and update closing checklists with additional information for properties                6.4          6.4     $896.00
2020         Disposition                                          currently under contract in preparation for closing and draft a rent roll for property (7749 S
                                                                  Yates) (6.4).
January      Asset                   01/15/20 AEP             390 and prepare e-mail to team enclosing nearly file-ready draft with report on remaining                    0.3 0.0066667          $2.60
2020         Disposition                                          incomplete items (.3).
January      Asset                   01/15/20 AEP             390 insert all exhibit citations into motion and review corresponding exhibit for accuracy and               2.2 0.0488889         $19.07
2020         Disposition                                          completeness (2.2)
January      Asset                   01/15/20 JR              140 Continue review, make revisions and conduct research for updating closing checklist for the              2.4 0.3428571         $48.00
2020         Disposition                                          remainder of the properties under contract (2.4)


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
January      Asset                   01/15/20 JR              140 exchange correspondence with property managers providing a plan and requesting                         0.3 0.0428571          $6.00
2020         Disposition                                          information in preparation for the next batch of closings of various properties (.3)

January      Asset                   01/16/20 JR              140 prepare a detailed email requesting various information required for closing for buyer's               0.7 0.1166667         $16.33
2020         Disposition                                          counsel for various properties coming up for closing (.7)
January      Asset                   01/16/20 JR              140 exchange correspondence with numerous buyer's counsel regarding same (.9)                              0.9         0.15      $21.00
2020         Disposition
January      Asset                   01/16/20 JR              140 Exchange correspondence with property manager regarding updated rent rolls in                          0.1 0.0142857          $2.00
2020         Disposition                                          preparation of certificated rent rolls for various properties (.1)
January      Asset                   01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)               1.6    0.015534        $2.17
2020         Disposition
January      Asset                   01/16/20 JR              140 print property income statements for all properties received from accountant and prepare               1.2 0.0116505          $1.63
2020         Disposition                                          for further review (1.2).
January      Asset                   01/20/20 JR              140 exchange correspondence with K. Pritchard and K. Duff regarding creating new sub-accounts              0.2 0.0153846          $2.15
2020         Disposition                                          for future closings and net proceeds (.2)
January      Asset                   01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                         0.3 0.0031579          $0.44
2020         Disposition
January      Asset                   01/20/20 KMP             140 Communications with K. Duff and J. Rak regarding establishment of separate accounts for                0.2 0.0153846          $2.15
2020         Disposition                                          deposits of proceeds from anticipated property sales.
January      Asset                   01/21/20 AEP             390 Begin consolidating sixth motion to confirm sales, fifth motion to approve marketing and               5.1 0.1133333         $44.20
2020         Disposition                                          sales, and motion to amend Order Appointing Receiver into single motion, inventory all
                                                                  exhibits received from title company and create final list of materials still needed to
                                                                  complete the motion, and make revisions consistent with suggestions received from K. Duff
                                                                  and M. Rachlis.
January      Asset                   01/21/20 JR              140 exchange correspondence with the title company requesting additional documents of record               0.3 0.0333333          $4.67
2020         Disposition                                          needed for the motion to approve sale (.3)
January      Asset                   01/21/20 NM              260 Correspond with courtroom deputy and receivership team regarding filing separate or                    0.3 0.0066667          $1.73
2020         Disposition                                          consolidated motions to approve next batch of sales and sales process.

January      Asset                   01/22/20 AEP             390 Review and analyze title invoices received from title company, add premium cost                        0.3       0.025        $9.75
2020         Disposition                                          information to master spreadsheet, and compute agency fees for insertion into consolidated
                                                                  motion (.3)
January      Asset                   01/22/20 AEP             390 prepare proposed order for fifth motion to confirm sales (1.3)                                         1.3 0.1444444         $56.33
2020         Disposition
January      Asset                   01/22/20 AEP             390 reconcile all duplicative definitions following merger of separate motions (.4)                        0.4 0.0088889          $3.47
2020         Disposition
January      Asset                   01/22/20 AEP             390 conduct final online searches in connection with all properties under contract and revise              1.6 0.0355556         $13.87
2020         Disposition                                          consolidated motion as necessary (1.6)
January      Asset                   01/22/20 AEP             390 third pass through consolidated motion to ensure accuracy and consistency (2.1).                       2.1 0.0466667         $18.20
2020         Disposition
January      Asset                   01/22/20 JR              140 work with A. Porter regarding drafting a table of contents for the 6th motion to confirm sale          0.2 0.0044444          $0.62
2020         Disposition                                          and approve sale (.2)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
January      Asset                   01/23/20 AEP             390 review all exhibit numbers in motion to ensure consistency in numbering and double-check                   0.8 0.0177778          $6.93
2020         Disposition                                          all exhibit documents against motion (.8)
January      Asset                   01/23/20 AEP             390 Prepare additional paragraphs for consolidated motion to incorporate discussions regarding                 1.3 0.0288889         $11.27
2020         Disposition                                          effect of lis pendens filed against certain properties, and to supplement introduction, to
                                                                  include reference to additional releases (1.3)
January      Asset                   01/23/20 AEP             390 renumber all exhibits in motion to account for last-minute inclusion of additional releases                0.9         0.02       $7.80
2020         Disposition                                          (.9)
January      Asset                   01/23/20 AEP             390 discuss preparation of table of contents with J. Rak and review and edit first draft thereof (.5)          0.5 0.0111111          $4.33
2020         Disposition
January      Asset                   01/23/20 AEP             390 read entire motion and make final edits thereto (2.3).                                                     2.3 0.0511111         $19.93
2020         Disposition
January      Asset                   01/23/20 JR              140 complete a search and obtain several documents of record from the Cook County recorder                     0.3 0.0333333          $4.67
2020         Disposition                                          of deeds site regarding the exhibits to the motion to confirm and approve sale of various
                                                                  properties (.3)
January      Asset                   01/23/20 JR              140 compile all the exhibits into one document in preparation to file the motion to confirm and                2.7         0.06       $8.40
2020         Disposition                                          approve sale (2.7)
January      Asset                   01/24/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property now under contract                   0.2 0.0044444          $1.73
2020         Disposition                                          attaching consolidated motion and advising regarding timing of potential closings (.2).

January      Asset                   01/24/20 AEP             390 make final revisions to table of contents to consolidated motion (.3)                                      0.3 0.0066667          $2.60
2020         Disposition
January      Asset                   01/24/20 AEP             390 make revisions to draft certificate of service (.2)                                                        0.2 0.0044444          $1.73
2020         Disposition
January      Asset                   01/24/20 JR              140 further review of the motion and finalize the table of contents (3.4)                                      3.4 0.3777778         $52.89
2020         Disposition
January      Asset                   01/24/20 JR              140 identify and obtain additional documents of record from the Cook County recorder's office                  0.7 0.0777778         $10.89
2020         Disposition                                          relating to exhibits in the motion (.7)
January      Asset                   01/24/20 JR              140 exchange correspondence with A. Porter regarding same (.2).                                                0.2 0.0222222          $3.11
2020         Disposition
January      Asset                   01/24/20 JR              140 Exchange correspondence with A. Porter regarding additional documents of record needed                     0.2 0.0222222          $3.11
2020         Disposition                                          for the 5th motion to approve sales as exhibits (.2)
January      Asset                   01/24/20 MR              390 Attention regarding upcoming closings and motion for approval.                                             0.3 0.0066667          $2.60
2020         Disposition
January      Asset                   01/24/20 NM              260 Study motion to approve sales process and confirm sales of other properties before filing                  0.3 0.0066667          $1.73
2020         Disposition                                          and correspond with A. Watychowicz regarding same (.3)
January      Asset                   01/28/20 AEP             390 Teleconference with J. Rak regarding methodology for clearing special exceptions from title                0.7 0.0777778         $30.33
2020         Disposition                                          commitments associated with sales of all receivership properties subsumed within fifth
                                                                  motion to confirm sales (.7)
January      Asset                   01/28/20 JR              140 exchange correspondence with A. Porter regarding payoff letters and release for same and                   0.4          0.4      $56.00
2020         Disposition                                          forward to the title company (.4)
January      Asset                   01/28/20 JR              140 review title encumbrances for property (7749 Yates) and communicate with various parties                   1.3          1.3     $182.00
2020         Disposition                                          regarding the encumbrances in order to waive from title (1.3)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
January      Asset                   01/29/20 AEP             390 Read and respond to correspondence from title company underwriter regarding status of                    0.2 0.0222222          $8.67
2020         Disposition                                          fifth motion to confirm sales and anticipated closing dates for properties associated
                                                                  therewith.
January      Asset                   01/29/20 JR              140 exchange correspondence with buyer's counsel regarding producing requested documents                     0.5         0.25      $35.00
2020         Disposition                                          for buyer in order to waive exceptions from title (.5)
January      Asset                   01/29/20 JR              140 review title commitments for various properties (4520 Drexel, 7749 Yates) regarding                      1.1         0.55      $77.00
2020         Disposition                                          encumbrances to be waived at closing (1.1)
January      Asset                   01/29/20 JR              140 follow up communication with various lenders for buyer's requesting lender information in                0.3         0.15      $21.00
2020         Disposition                                          preparation for closing (.3)
January      Asset                   01/31/20 JR              140 exchange correspondence with the title company regarding organizational documents for                    0.3          0.3      $42.00
2020         Disposition                                          property related to updates to title (7749 Yates) (.3)
January      Business                01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020         Operations                                           October reports.
January      Business                01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020         Operations
January      Business                01/08/20 KMP             140 Prepare funds transfer to property manager for November property management expenses                     0.4         0.08      $11.20
2020         Operations                                           and communications with K. Duff and bank representatives regarding same (.4)

January      Business                01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020         Operations                                           (1.6)
January      Business                01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020         Operations
January      Business                01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020         Operations                                           expenditures to properties (.1).
January      Business                01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020         Operations
January      Business                01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020         Operations
January      Business                01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020         Operations
January      Business                01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105          $0.59
2020         Operations                                           insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                  01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534        $6.06
2020         Administration                                       regarding questions and corrections.
             & Objections

January      Claims                  01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835          $0.54
2020         Administration                                       received from accountant and provide to E. Duff for review.
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Claims                  01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                 1.2 0.0116505         $4.54
2020         Administration                                       transmit to lenders' counsel.
             & Objections

January      Claims                  01/16/20 AEP             390 prepare second round of revisions to motion (.1).                                                      0.1 0.0022222         $0.87
2020         Administration
             & Objections

January      Claims                  01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417         $0.76
2020         Administration                                       reports through November 2019 (.2)
             & Objections

January      Claims                  01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                   0.6 0.0058252         $2.27
2020         Administration                                       regarding receivership income and expenditures (.6).
             & Objections

January      Claims                  01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020         Administration                                       accountant provides his copies for review.
             & Objections

January      Claims                  01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                       to lenders (.7)
             & Objections

January      Claims                  01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                  01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                  01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                       property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                  01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                       remaining amounts reimbursable to receivership (1.5).
             & Objections




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  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
January      Claims                  01/27/20 ED          390 Review and analysis of financial reporting, and email correspondence with accountant                  0.3 0.0029126          $1.14
2020         Administration                                   regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                  01/30/20 ED          390 correspondence with asset manager regarding information requested by lender relating to               0.1         0.05      $19.50
2020         Administration                                   credit bid process (.1).
             & Objections

February     Asset                   02/04/20 KBD         390 confer with A. Porter regarding title exception issues (.2).                                          0.2 0.0222222          $8.67
2020         Disposition
February     Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker regarding communications with buyer                   0.2          0.2      $78.00
2020         Disposition                                      regarding damage to property under contract (7749 Yates) (.2)
February     Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                    0.2 0.0022222          $0.87
2020         Disposition                                      properties (.2)
February     Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and              0.2 0.0022222          $0.87
2020         Disposition                                      title work (.2)
February     Asset                   02/20/20 KBD         390 study draft proposed orders and correspondence regarding properties for sale and listing              0.2 0.0181818          $7.09
2020         Disposition                                      (.2).
February     Asset                   02/20/20 KBD         390 study correspondence from N. Mirjanich regarding properties ready to close and list for sale          0.2 0.0181818          $7.09
2020         Disposition                                      (.2)
February     Asset                   02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                         0.1 0.0011111          $0.43
2020         Disposition
February     Asset                   02/21/20 KBD         390 exchange correspondence with real estate broker and E. Duff regarding estimate for                    0.1          0.1      $39.00
2020         Disposition                                      property damage repair (7749 Yates) (.1)
February     Asset                   02/24/20 KBD         390 study correspondence from J. Rak regarding estimated closing costs (.1)                               0.1 0.0090909          $3.55
2020         Disposition
February     Asset                   02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                         0.4 0.0045455          $1.77
2020         Disposition
February     Asset                   02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                   0.1 0.0011111          $0.43
2020         Disposition
February     Asset                   02/26/20 KBD         390 Study and revise response to objections to motion to list properties for sale (1.2)                   1.2 0.0266667         $10.40
2020         Disposition
February     Asset                   02/28/20 KBD         390 study revised response to objections to sale motion and exchange correspondence regarding             1.4 0.0311111         $12.13
2020         Disposition                                      same (1.4)
February     Business                02/09/20 KBD         390 Exchange correspondence with property manager regarding property damage (7749 Yates)                  0.3          0.3     $117.00
2020         Operations                                       and exchange correspondence with asset manager regarding same.
February     Business                02/10/20 KBD         390 Exchange correspondence with property manager regarding securing building (7749 Yates)                0.1          0.1      $39.00
2020         Operations                                       (.1)
February     Business                02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                  0.1 0.0011111          $0.43
2020         Operations                                       financial reporting (.1)
February     Business                02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.           0.4 0.0038095          $1.49
2020         Operations                                       Duff regarding same (.4)




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  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
February     Business                02/11/20 KBD             390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)                0.4 0.0045455          $1.77
2020         Operations
February     Business                02/12/20 KBD             390 Analysis of real estate taxes, property manager financial reports, and exchange                          0.4 0.0045455          $1.77
2020         Operations                                           correspondence with J. Rak relating to same and communications with property manager.

February     Business                02/13/20 KBD             390 Study property manager financial reporting.                                                              0.4 0.0070175          $2.74
2020         Operations
February     Business                02/21/20 KBD             390 exchange correspondence with property managers and confer with J. Rak regarding payment                  0.4 0.0045455          $1.77
2020         Operations                                           of real estate taxes (.4)
February     Business                02/24/20 KBD             390 confer with E. Duff regarding insurance issue (7749 Yates) (.4).                                         0.4          0.4     $156.00
2020         Operations
February     Business                02/25/20 KBD             390 review correspondence from property manager regarding payment of real estate taxes (.1)                  0.1 0.0017857          $0.70
2020         Operations
February     Business                02/27/20 KBD             390 Exchange correspondence with J. Rak regarding analysis of funds, payment of judgment                     0.2 0.0071429          $2.79
2020         Operations                                           orders, and real estate taxes (.2)
February     Claims                  02/21/20 KBD             390 Study investors' response to objection to certain lenders to motion to sell properties.                  0.2 0.0222222          $8.67
2020         Administration
             & Objections

February     Claims                  02/22/20 KBD             390 Study correspondence regarding lender objections to motion to sell properties.                           0.2 0.0222222          $8.67
2020         Administration
             & Objections

February     Asset                   02/04/20 AEP             390 review title exceptions associated with various receivership properties subject to fifth motion          0.9          0.1      $39.00
2020         Disposition                                          to confirm sales and assign responsibility for obtaining waivers or hold harmless letters in
                                                                  connection therewith (.9)
February     Asset                   02/05/20 AEP             390 conference with J. Rak to review title commitments on all properties subsumed within fifth               0.8 0.0888889         $34.67
2020         Disposition                                          motion to confirm sales and prepare checklist of remaining title issues requiring resolution
                                                                  prior to closing (.8).
February     Asset                   02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                   0.1 0.0011111          $0.29
2020         Disposition
February     Asset                   02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                         2.8 0.0269231          $3.77
2020         Disposition
February     Asset                   02/13/20 JR              140 Exchange correspondence with M. Rachlis regarding properties and institutional lender                    0.9          0.1      $14.00
2020         Disposition                                          information from the consolidated 5th motion to approve sales (.9)
February     Asset                   02/13/20 MR              390 Follow up regarding on inquiry on sales issues.                                                          0.3 0.0333333         $13.00
2020         Disposition
February     Asset                   02/18/20 NM              260 Study objections to sales motions and correspond with K. Duff and J. Rak regarding same and              1.0 0.0222222          $5.78
2020         Disposition                                          obtaining list of properties for which no objections were filed to send order to court on
                                                                  same.
February     Asset                   02/19/20 MR              390 Attention to email regarding property sales and follow up regarding properties where                     0.2 0.0222222          $8.67
2020         Disposition                                          objections were not made (.2)




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
February     Asset                   02/19/20 NM              260 Attention to properties not objected to in sixth sales motion.                                         0.5 0.0555556         $14.44
2020         Disposition
February     Asset                   02/20/20 AEP             390 reconcile list of properties not objected to in opposition to consolidated motion and review           0.5 0.0555556         $21.67
2020         Disposition                                          and revise proposed orders granting Motion To Amend Order Appointing Receiver, granting
                                                                  in part Sixth Motion To Approve Sales Process, and granting in part Fifth Motion To Approve
                                                                  Sales (.5).
February     Asset                   02/20/20 AEP             390 Work with K. Duff on reply in support of consolidated motion (.5)                                      0.5 0.0111111          $4.33
2020         Disposition
February     Asset                   02/20/20 AW              140 Review objections to consolidated motion and compile a list of properties that objections did          0.7 0.0777778         $10.89
2020         Disposition                                          not apply to and confer with N. Mirjanich regarding same.
February     Asset                   02/20/20 NM              260 Attention to properties not objected to in sixth sales motion including drafting order for             1.3 0.1444444         $37.56
2020         Disposition                                          entry and exchanging correspondence with receiver team regarding same (1.3)

February     Asset                   02/21/20 AEP             390 read reply in support of consolidated motion (.2).                                                     0.2 0.0044444          $1.73
2020         Disposition
February     Asset                   02/21/20 AEP             390 read orders granting in part fifth motion to confirm sales and sixth motion to approve sales           0.2 0.0044444          $1.73
2020         Disposition                                          process and prepare e-mails to buyers' counsel regarding preparation for closing (.2)

February     Asset                   02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                             0.1 0.0010526          $0.15
2020         Disposition
February     Asset                   02/24/20 JR              140 Draft water certificate applications for properties (6949 S. Merrill and 7749 S. Yates) in             0.9         0.45      $63.00
2020         Disposition                                          preparation for closing (.9)
February     Asset                   02/24/20 JR              140 exchange correspondence with the title company and A. Porter regarding same (.3)                       0.3         0.15      $21.00
2020         Disposition
February     Asset                   02/24/20 JR              140 prepare estimated closing costs for various properties that are being prepared for marketing           3.8 0.3166667         $44.33
2020         Disposition                                          (3.8)
February     Asset                   02/24/20 JR              140 draft closing documents for property in preparation for closing (.8).                                  0.8 0.1333333         $18.67
2020         Disposition
February     Asset                   02/25/20 JR              140 Exchange correspondence with property manager regarding current status of sale of                      0.2 0.0666667          $9.33
2020         Disposition                                          properties (.2)
February     Asset                   02/25/20 JR              140 exchange correspondence with the title company regarding seller information required for               0.1          0.1      $14.00
2020         Disposition                                          the water certificate application (.1)
February     Asset                   02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties             1.2 0.0134831          $1.89
2020         Disposition                                          managed by a management company (1.2)
February     Asset                   02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                 0.1 0.0010753          $0.15
2020         Disposition




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
February     Asset                   02/26/20 AEP             390 Teleconference with J. Rak regarding all open matters requiring attention over ensuing                  1.9          1.9     $741.00
2020         Disposition                                          several weeks, including but not limited to preparation of estimated closings costs for credit
                                                                  bidding lenders, status of preparation for upcoming closings, special exceptions on title
                                                                  commitment for Naples property, negotiations with Village of Maywood, negotiation of
                                                                  closing credit in connection with receivership property (7749-59 S Yates), finalization of
                                                                  motion to approve marketing of single-family residence portfolio, post-closing administrative
                                                                  complaints filed against conveyed properties, notification to property managers regarding
                                                                  entry of new leases or renewals of existing leases (1.9)

February     Asset                   02/26/20 JR              140 draft closing documents for property in preparation for closing (7749 S. Yates) (1.3).                  1.3          1.3     $182.00
2020         Disposition
February     Asset                   02/26/20 JR              140 update closing checklists regarding same and regarding updates to drafted closing                       0.4 0.0333333          $4.67
2020         Disposition                                          documents for various properties (.4)
February     Asset                   02/26/20 JR              140 exchange correspondence with property manager's regarding properties under contract and                 0.7 0.0583333          $8.17
2020         Disposition                                          the process for new leases and renewals (.7)
February     Asset                   02/26/20 JR              140 Telephone conference with A. Porter regarding various property matters, status of current               1.9 0.1583333         $22.17
2020         Disposition                                          properties under contract and plan of action (1.9)
February     Asset                   02/26/20 NM              260 Study correspondence relating to fourth marketing tranche and objections to consolidated                0.3 0.0066667          $1.73
2020         Disposition                                          sales motion.
February     Asset                   02/27/20 JR              140 Exchange communication with property manager regarding new leases and renewals for                      0.4 0.0333333          $4.67
2020         Disposition                                          properties under contract (.4)
February     Business                02/03/20 NM              260 attention to other City litigation matters and property managers regarding same (.5).                   0.5         0.25      $65.00
2020         Operations
February     Business                02/04/20 NM              260 Attention to emails relating to City litigation matters (.3)                                            0.3         0.15      $39.00
2020         Operations
February     Business                02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                  2.8 0.0314607          $4.40
2020         Operations
February     Business                02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                     0.1 0.0011236          $0.16
2020         Operations
February     Business                02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real                 0.1 0.0010753          $0.15
2020         Operations                                           estate taxes (.1)
February     Business                02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                   0.1 0.0019608          $0.27
2020         Operations                                           taxes related to paying property taxes (.1)
February     Business                02/11/20 ED              390 review email correspondence and reports regarding property damage (7749 S Yates) (.2)                   0.2          0.2      $78.00
2020         Operations
February     Business                02/11/20 ED              390 call with insurance adjuster regarding potential claim (.1)                                             0.1          0.1      $39.00
2020         Operations
February     Business                02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                           0.3 0.0028846          $1.13
2020         Operations
February     Business                02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                  0.2 0.0019231          $0.75
2020         Operations
February     Business                02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                           0.4 0.0044444          $1.73
2020         Operations


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
February     Business                02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231          $0.75
2020         Operations
February     Business                02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property               0.1 0.0019608          $0.27
2020         Operations                                           taxes (.1)
February     Business                02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property               0.2 0.0022727          $0.32
2020         Operations                                           taxes (.2).
February     Business                02/12/20 ED              390 Call with property manager (.2)                                                                        0.2          0.2      $78.00
2020         Operations
February     Business                02/12/20 ED              390 and insurance adjuster regarding potential claim (7749 S Yates)(.1).                                   0.1          0.1      $39.00
2020         Operations
February     Business                02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375        $5.25
2020         Operations                                           for all EquityBuild properties.
February     Business                02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231          $0.75
2020         Operations
February     Business                02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706          $0.57
2020         Operations                                           revisions (.1).
February     Business                02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615         $10.13
2020         Operations                                           (2.7)
February     Business                02/20/20 AW              140 Study 2020 property management agreements for properties (6217 S Dorchester, 6437 S                    1.1       0.275       $38.50
2020         Operations                                           Kenwood, 6951 Merrill, 7749 S Yates).
February     Business                02/24/20 ED              390 Email correspondence and call with asset manager regarding estimate for property repairs               0.1          0.1      $39.00
2020         Operations                                           (7749 Yates) (.1)
February     Business                02/24/20 ED              390 calls with counsel and insurance agent (7749 S Yates) (.3)                                             0.3          0.3     $117.00
2020         Operations
February     Business                02/24/20 ED              390 and confer with K. Duff regarding same (.4)                                                            0.4          0.4     $156.00
2020         Operations
February     Business                02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231          $0.75
2020         Operations
February     Business                02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462          $1.50
2020         Operations
February     Business                02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222          $0.87
2020         Operations
February     Business                02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774          $1.35
2020         Operations
February     Business                02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462          $1.50
2020         Operations
February     Business                02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126          $0.41
2020         Operations
February     Business                02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020         Operations                                           property basis with addition of properties that have no institutional debt, prepare same, and
                                                                  report missing details for several institutional lenders (1.1)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
February     Business                02/27/20 JR              140 draft a list of properties for which property taxes were not paid and identify institutional          1.3 0.0464286         $6.50
2020         Operations                                           lender for each (1.3)
February     Claims                  02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.               2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                  02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and            2.6       0.025       $3.50
2020         Administration                                       property managers.
             & Objections

February     Claims                  02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                           2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                  02/18/20 AEP             390 Read institutional lenders' memorandum in opposition to receiver's consolidated motion and            2.1 0.0466667        $18.20
2020         Administration                                       prepare outline of issues and responses thereto.
             & Objections

February     Claims                  02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                   0.2 0.0019231         $0.27
2020         Administration                                       statements (.2)
             & Objections

February     Claims                  02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                   1.2 0.0129032         $1.81
2020         Administration
             & Objections

February     Claims                  02/18/20 MR              390 review and develop possible response to objections on sales motion (.8).                              0.8 0.0177778         $6.93
2020         Administration
             & Objections

February     Claims                  02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting              0.5 0.0048077         $1.88
2020         Administration                                       reports.
             & Objections

February     Claims                  02/24/20 MR              390 attention to objection on sales motion and issues on sales (.3).                                      0.3 0.0066667         $2.60
2020         Administration
             & Objections

February     Claims                  02/25/20 MR              390 Further attention to objections by lenders to property sales.                                         2.2 0.0488889        $19.07
2020         Administration
             & Objections




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
February     Claims                  02/26/20 AW          140 further work on draft response to objections (5.0).                                                       5.0 0.1111111         $15.56
2020         Administration
             & Objections

February     Claims                  02/28/20 AW          140 communicate with counsel regarding additional revisions and language from previous                        0.3 0.0066667          $0.93
2020         Administration                                   pleadings (.3).
             & Objections

February     Claims                  02/28/20 AW          140 proofread reply in support of consolidated motion and email Receivership team regarding                   0.9         0.02       $2.80
2020         Administration                                   revisions [long time due to tracking down of all objections filed by institutional lenders] (.9)
             & Objections

February     Claims                  02/28/20 MR          390 attention to objections to sixth sales moron and review and revise same (1.7).                            1.7 0.0377778         $14.73
2020         Administration
             & Objections

February     Claims                  02/28/20 NM          260 correspond with receiver's team regarding response to consolidated sales motion and revise                1.3 0.0288889          $7.51
2020         Administration                                   same (1.3).
             & Objections

March 2020 Asset                     03/05/20 KBD         390 Study revisions to and further revise motion to approve sale of Naples property and                       0.6 0.0133333          $5.20
           Disposition                                        proposed order (.6)
March 2020 Asset                     03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                             0.1 0.0011111          $0.43
           Disposition
March 2020 Asset                     03/11/20 KBD         390 Telephone conference with real estate broker and E. Duff regarding negotiations with                      0.2          0.2      $78.00
           Disposition                                        purchaser for closing credit (7749 Yates) (.2)
March 2020 Asset                     03/13/20 KBD         390 Exchange correspondence regarding negotiation relating to property damage credit (7749                    0.3          0.3     $117.00
           Disposition                                        Yates).
March 2020 Asset                     03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence                     2.9 0.0329545         $12.85
           Disposition                                        with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                     03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                        0.6 0.0068182          $2.66
           Disposition
March 2020 Asset                     03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                          1.0 0.0526316         $20.53
           Disposition
March 2020 Asset                     03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                       1.1      0.0125        $4.88
           Disposition                                        marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                     03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and                    0.3 0.0034091          $1.33
           Disposition                                        marketing timing and strategy (.3)
March 2020 Asset                     03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19                 0.1 0.0011111          $0.43
           Disposition                                        impact, and communications with buyers representatives (.1).
March 2020 Asset                     03/19/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding planning for                      0.2          0.2      $78.00
           Disposition                                        closing on property sale (7749 Yates) (.2)


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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
March 2020 Asset                     03/21/20 KBD             390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727          $0.89
           Disposition                                            estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                     03/23/20 KBD             390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222          $0.87
           Disposition                                            efforts (.2).
March 2020 Asset                     03/23/20 KBD             390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111          $0.43
           Disposition                                            properties (.1)
March 2020 Asset                     03/25/20 KBD             390 exchange correspondence with A. Porter and real estate broker regarding sale of property            0.2          0.2      $78.00
           Disposition                                            (7749-59 Yates) (.2).
March 2020 Asset                     03/26/20 KBD             390 exchange correspondence regarding communication with lender's counsel regarding                     0.2          0.2      $78.00
           Disposition                                            property sales price (7749 Yates) (.2).
March 2020 Asset                     03/27/20 KBD             390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091         $11.08
           Disposition                                            Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                     03/31/20 KBD             390 study order approving listing and sale of properties and exchange correspondence regarding          0.3 0.0066667          $2.60
           Disposition                                            same (.3)
March 2020 Business                  03/02/20 KBD             390 study bid for property repair (7749 Yates) (.1)                                                     0.1          0.1      $39.00
           Operations
March 2020 Business                  03/09/20 KBD             390 Study correspondence and documentation from asset manager regarding property damage                 0.2          0.2      $78.00
           Operations                                             (7749 Yates) (.2)
March 2020 Business                  03/10/20 KBD             390 Study property manager financial reporting (.3)                                                     0.3 0.0052632          $2.05
           Operations
March 2020 Business                  03/10/20 KBD             390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222          $0.87
           Operations                                             and renewal (.2).
March 2020 Business                  03/11/20 KBD             390 Confer with E. Duff regarding various insurance and property issues (7749 Yates) (.2)               0.2          0.2      $78.00
           Operations
March 2020 Business                  03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222          $0.87
           Operations                                             environment (.2).
March 2020 Business                  03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                   0.3 0.0034091          $1.33
           Operations
March 2020 Business                  03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                        0.2 0.0022727          $0.89
           Operations
March 2020 Business                  03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                    0.4 0.0045455          $1.77
           Operations                                             property expenses, and COVID-19 impact (.4)
March 2020 Business                  03/27/20 KBD             390 Exchange correspondence with J. Wine regarding City administrative actions and payment of           0.2 0.0222222          $8.67
           Operations                                             costs relating to property repairs (.2)
March 2020 Business                  03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                0.3 0.0033708          $1.31
           Operations                                             issues and analysis (.3).
March 2020 Asset                     03/02/20 AEP             390 lender objections to consolidated motion to sell (.3)                                               0.3 0.0066667          $2.60
           Disposition
March 2020 Asset                     03/02/20 JR              140 update property tax balances (1.6)                                                                  1.6 0.0181818          $2.55
           Disposition
March 2020 Asset                     03/04/20 ED              390 Call with asset manager regarding construction bids for property under contract (7749 S             0.2          0.2      $78.00
           Disposition                                            Yates).


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
March 2020 Asset                     03/04/20 JR              140 review email from property manager regarding status of closings of various properties under            0.2 0.0166667          $2.33
           Disposition                                            contract and send a reply (.2)
March 2020 Asset                     03/05/20 AEP             390 teleconference with broker representing purchaser of receivership property (7749-59 S                  0.3          0.3     $117.00
           Disposition                                            Yates) regarding final steps necessary to finalize agreement on closing credit and potential
                                                                  timing of closing, including potential timing of closing on other receivership property under
                                                                  contract of sale (7237-43 S Bennett) (.3)
March 2020 Asset                     03/05/20 AEP             390 review FPC issued in connection with receivership property (7749-59 S Yates) and prepare e-            0.1          0.1      $39.00
           Disposition                                            mail to buyer's counsel regarding coordination of final steps to closing (.1)

March 2020 Asset                     03/05/20 AEP             390 read, edit, and revise draft reply in support of consolidated motion (2.9)                             2.9 0.0644444         $25.13
           Disposition
March 2020 Asset                     03/05/20 JR              140 Review correspondence with the City of Chicago regarding judgments placed on entity for                0.3          0.3      $42.00
           Disposition                                            various properties, respond to email (.3)
March 2020 Asset                     03/05/20 JR              140 organize updated rent roll sent by property manager for current properties under contract              0.4 0.0333333          $4.67
           Disposition                                            (.4)
March 2020 Asset                     03/09/20 JR              140 update closing spreadsheets regarding same (.3)                                                        0.3         0.15      $21.00
           Disposition
March 2020 Asset                     03/09/20 JR              140 update rent rolls for various properties in preparation for closing (6959 Merrill and 7749             2.2          1.1     $154.00
           Disposition                                            Yates (2.2)
March 2020 Asset                     03/09/20 MR              390 attention to issues regarding (7749 Yates) claims (.1).                                                0.1          0.1      $39.00
           Disposition
March 2020 Asset                     03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                 0.2 0.0022222          $0.87
           Disposition
March 2020 Asset                     03/11/20 ED              390 Calls with real estate broker and K. Duff regarding negotiations with purchaser (7749 Yates).          0.4          0.4     $156.00
           Disposition
March 2020 Asset                     03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19             0.5 0.0060976          $2.38
           Disposition                                            and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                     03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of             0.2    0.002439        $0.95
           Disposition                                            properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                     03/17/20 JR              140 exchange correspondence with property manager regarding status of sale for properties                  0.1 0.0083333          $1.17
           Disposition                                            currently under contract (.1)
March 2020 Asset                     03/17/20 JR              140 update property tax balances for all properties (1.1).                                                 1.1 0.0123596          $1.73
           Disposition
March 2020 Asset                     03/19/20 AEP             390 Read and respond to correspondence from buyer's counsel regarding computation of and                   0.4          0.4     $156.00
           Disposition                                            demand for closing credit in connection with acquisition of property (7749 S Yates), review
                                                                  title commitment and update closing checklist (.4)
March 2020 Asset                     03/19/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property subsumed within fifth            0.3 0.0333333         $13.00
           Disposition                                            motion to confirm sales regarding effect of general order, as amended, on timing of closings
                                                                  (.3).
March 2020 Asset                     03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                 1.8 0.0202247          $2.83
           Disposition




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
March 2020 Asset                     03/19/20 JR              140 update closing checklist regarding same (.6)                                                          0.6 0.0067416          $0.94
           Disposition
March 2020 Asset                     03/22/20 AEP             390 Review title commitments on all properties subject to fifth motion to confirm sales, prepare          0.3 0.0333333         $13.00
           Disposition                                            chart for title company indicating effective and revision dates, and prepare e-mail to title
                                                                  underwriter requesting updates to same (.3)
March 2020 Asset                     03/24/20 AW              140 Research regarding proposed orders relating to sales motions and communicate with K. Duff             0.2 0.0044444          $0.62
           Disposition                                            regarding same (.2)
March 2020 Asset                     03/24/20 AW              140 attention to email from A. Porter forwarding all current drafts of proposed orders. (.1).             0.1 0.0022222          $0.31
           Disposition
March 2020 Asset                     03/24/20 JR              140 exchange correspondence with the title company and A. Porter regarding water certificate              0.4          0.2      $28.00
           Disposition                                            applications and process for future expired applications (.4)
March 2020 Asset                     03/24/20 JR              140 review water certificate applications and follow up correspondence with A. Porter and the             0.2          0.2      $28.00
           Disposition                                            real estate brokers regarding expiration of water certificate for closing of property (7749
                                                                  Yates) (.2)
March 2020 Asset                     03/26/20 AEP             390 Teleconference with prospective purchaser of receivership property (7749 S Yates) regarding           0.5          0.5     $195.00
           Disposition                                            demand for increase in closing credit associated with casualty and implications thereof (.5)

March 2020 Asset                     03/26/20 AEP             390 teleconference with K. Duff and receivership broker regarding potential agreement to                  0.4          0.4     $156.00
           Disposition                                            demand for increase in demanded closing credit in connection with prospective purchase of
                                                                  receivership property (7749 S Yates), and next steps for confirming agreement and closing
                                                                  sale (.4)
March 2020 Asset                     03/27/20 JR              140 exchange correspondence with the title company regarding same (.3)                                    0.3       0.025        $3.50
           Disposition
March 2020 Asset                     03/27/20 JR              140 exchange correspondence with K. Duff regarding sale status of all properties (.2).                    0.2 0.0166667          $2.33
           Disposition
March 2020 Asset                     03/27/20 JR              140 update water certification applications to the title company for processing (2.1)                     2.1       0.175       $24.50
           Disposition
March 2020 Asset                     03/27/20 MR              390 prepare for and participate in calls regarding same with asset manager and K. Duff (1.0)              1.0 0.0222222          $8.67
           Disposition
March 2020 Asset                     03/29/20 AEP             390 Review and analyze spreadsheet of administrative and housing court actions prepared by J.             0.9          0.1      $39.00
           Disposition                                            Wine, reconcile spreadsheet information with documents in due diligence folders, and
                                                                  prepare e-mail to J. Wine outlining documentation needed for delivery to prospective buyers
                                                                  and requesting updates on payment of fines (.9)

March 2020 Asset                     03/30/20 AEP             390 read e-mails from J. Wine regarding newly-discovered administrative notices of violation and          0.3 0.0333333         $13.00
           Disposition                                            update closing files for properties awaiting judicial confirmation of sale (.3)

March 2020 Asset                     03/30/20 MR              390 Conferences with asset manager regarding various property issues (.2)                                 0.2 0.0044444          $1.73
           Disposition
March 2020 Asset                     03/30/20 MR              390 attention to issues regarding properties (.1).                                                        0.1 0.0022222          $0.87
           Disposition
March 2020 Asset                     03/31/20 MR              390 attention to orders regarding sales and issues moving forward and conferences regarding               0.4 0.0088889          $3.47
           Disposition                                            same (.4)


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
March 2020 Asset                     03/31/20 MR              390 Draft and revise motion for clarification and other relief and follow up regarding various           2.2 0.0488889         $19.07
           Disposition                                            issues with K. Duff and A. Watychowicz (2.2)
March 2020 Asset                     03/31/20 MR              390 attention to issues on draft orders (.4).                                                            0.4    0.004878        $1.90
           Disposition
March 2020 Business                  03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.             1.9 0.0215909          $3.02
           Operations
March 2020 Business                  03/04/20 ED              390 Call with A. Porter to discuss insurance adjuster's inspection requests (7749 S Yates) (.2)          0.2          0.2      $78.00
           Operations
March 2020 Business                  03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold              0.1 0.0009615          $0.38
           Operations                                             properties (.1)
March 2020 Business                  03/06/20 ED              390 email correspondence with liability insurance to follow up on same (.1)                              0.1          0.1      $39.00
           Operations
March 2020 Business                  03/06/20 ED              390 call with insurance agent regarding insurance inspection (7749 S Yates) (.2)                         0.2          0.2      $78.00
           Operations
March 2020 Business                  03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                         0.1 0.0009709          $0.14
           Operations
March 2020 Business                  03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same             2.8 0.0271845          $3.81
           Operations                                             (2.8)
March 2020 Business                  03/12/20 KMP             140 Review property manager's statement of account for February 2020 and confer with K. Duff             0.3       0.075       $10.50
           Operations                                             regarding same.
March 2020 Business                  03/13/20 ED              390 Preliminary review of February reporting from property manager.                                      0.4 0.0038462          $1.50
           Operations
March 2020 Business                  03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.          1.8 0.0204545          $2.86
           Operations
March 2020 Business                  03/22/20 AEP             390 review tax delinquency spreadsheets prepared by J. Rak, review Cook County 2018 tax sale             0.3 0.0136364          $5.32
           Operations                                             schedule, and prepare e-mail to K. Duff regarding same (.3).
March 2020 Business                  03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                  0.2 0.0022222          $0.87
           Operations
March 2020 Business                  03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy           0.3 0.0033333          $1.30
           Operations                                             renewal and related email correspondence.
March 2020 Business                  03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                4.1 0.0398058          $5.57
           Operations
March 2020 Business                  03/27/20 JRW             260 analysis of pending claims and fines against properties under contract and related                   1.8          0.2      $52.00
           Operations                                             correspondence to A. Porter (1.8).
March 2020 Business                  03/30/20 ED              390 Review revised statement of value (.4)                                                               0.4 0.0044944          $1.75
           Operations
March 2020 Business                  03/30/20 ED              390 call with insurance agent regarding same (.2)                                                        0.2 0.0022472          $0.88
           Operations
March 2020 Business                  03/30/20 ED              390 and loss history (.4)                                                                                0.4 0.0044944          $1.75
           Operations
March 2020 Business                  03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                 0.3 0.0033708          $1.31
           Operations




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2020 Business                  03/30/20 JRW         260 exchange correspondence with property managers regarding proof of payment of fines and                 0.5       0.125       $32.50
           Operations                                         fees (.5)
March 2020 Business                  03/30/20 JRW         260 Research administrative code violation notices and orders for properties under contract                2.8         0.35      $91.00
           Operations                                         (7749 S. Yates Blvd., 7109 S. Calumet Ave., 4520 South Drexel Blvd., 7110 S. Cornell, 7546 S.
                                                              Saginaw, 7600 S. Kingston, 7656 S. Kingston, 6949-59 South Merrill) (2.8)

March 2020 Claims                    03/03/20 ED          390 Review and analysis of property expenditure details (.4)                                               0.4 0.0038835          $1.51
           Administration
           & Objections

March 2020 Claims                    03/03/20 ED          390 preparation of information to provide accountant for inclusion in January 2020 accounting              0.5 0.0048544          $1.89
           Administration                                     reports (.5)
           & Objections

March 2020 Claims                    03/03/20 ED          390 preparation of summary of utility refund checks received and analysis of accounts in which             0.4 0.0038835          $1.51
           Administration                                     to deposit funds (.4)
           & Objections

March 2020 Claims                    03/03/20 ED          390 confer with J. Rak regarding closing statement details relating to repayment of receivership           0.2 0.0019417          $0.76
           Administration                                     expenditures (.2)
           & Objections

March 2020 Claims                    03/03/20 ED          390 and review of related documentation (.1).                                                              0.1 0.0009709          $0.38
           Administration
           & Objections

April 2020   Asset                   04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                            0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                   04/06/20 KBD         390 study and execute addendum to PSA (7749 Yates) (.1).                                                   0.1          0.1      $39.00
             Disposition
April 2020   Asset                   04/17/20 KBD         390 exchange correspondence with E. Duff and A. Porter regarding closing and property                      0.3          0.3     $117.00
             Disposition                                      inspection issue (7749 Yates) (.3).
April 2020   Asset                   04/21/20 KBD         390 Work on closing documents with J. Rak and A. Porter (7749-59 Yates, 6749 Merrill) (1.4)                1.4          0.7     $273.00
             Disposition
April 2020   Asset                   04/22/20 KBD         390 exchange correspondence with J. Rak regarding property sale closing (7749 Yates) (.1).                 0.1          0.1      $39.00
             Disposition
April 2020   Business                04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                0.2 0.0022989          $0.90
             Operations
April 2020   Business                04/10/20 KBD         390 study property manager reporting (.3).                                                                 0.3 0.0052632          $2.05
             Operations
April 2020   Business                04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989          $0.90
             Operations




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2020   Business                04/12/20 KBD             390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989          $0.90
             Operations                                           properties and review information relating to same.
April 2020   Business                04/13/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236          $0.44
             Operations                                           coverage issue (.1)
April 2020   Business                04/15/20 KBD             390 attention to property investigation issue (.1).                                                        0.1          0.1      $39.00
             Operations
April 2020   Business                04/16/20 KBD             390 attention to inspection of property (7749 Yates) and exchange correspondence regarding                 0.1          0.1      $39.00
             Operations                                           same (.1).
April 2020   Business                04/17/20 KBD             390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236          $0.44
             Operations
April 2020   Business                04/23/20 KBD             390 exchange correspondence with E. Duff and A. Porter regarding property inspection (7749                 0.3          0.3     $117.00
             Operations                                           Yates) (.3).
April 2020   Asset                   04/01/20 AEP             390 revise proposed order approving fifth motion to confirm sales and exhibit to sixth motion to           0.2 0.0044444          $1.73
             Disposition                                          approve sales process (.2)
April 2020   Asset                   04/01/20 AEP             390 read and respond to e-mails regarding remaining tasks associated with next round of closings           0.2 0.0222222          $8.67
             Disposition                                          (.2).
April 2020   Asset                   04/01/20 AW              140 additional revisions to orders and submit to Judge Lee as per standing order (.2).                     0.2 0.0044444          $0.62
             Disposition
April 2020   Asset                   04/01/20 AW              140 Attention to exchanges regarding revisions to proposed orders (.1)                                     0.1 0.0022222          $0.31
             Disposition
April 2020   Asset                   04/01/20 JR              140 review email from A. Porter and forward draft copies of proposed orders related to the fifth           0.2 0.0222222          $3.11
             Disposition                                          motion (.2)
April 2020   Asset                   04/01/20 MR              390 Review draft orders and follow up on various related issues regarding orders on marketing              0.5 0.0111111          $4.33
             Disposition                                          and other issues (.5)
April 2020   Asset                   04/01/20 MR              390 review order on clarification and other orders (.2)                                                    0.2    0.002439        $0.95
             Disposition
April 2020   Asset                   04/02/20 AEP             390 Teleconference with J. Rak regarding assignment of responsibilities for closing document               0.3 0.0333333         $13.00
             Disposition                                          preparation (.3)
April 2020   Asset                   04/02/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property in next closing tranche          0.5 0.0555556         $21.67
             Disposition                                          regarding confirmation of motion to approve sales and scheduling of closings (.5).

April 2020   Asset                   04/02/20 JR              140 follow up with buyers counsel regarding required information for buyer for closing for                 0.2 0.0222222          $3.11
             Disposition                                          various properties (.2)
April 2020   Asset                   04/02/20 JR              140 review email and exchange follow up correspondence with property manager regarding the                 0.2 0.0222222          $3.11
             Disposition                                          status of current properties under contract (.2)
April 2020   Asset                   04/02/20 JR              140 update water certificate applications for various properties and submit to the title company           1.0 0.1111111         $15.56
             Disposition                                          (1.0)
April 2020   Asset                   04/02/20 JR              140 update closing checklists regarding same (.4)                                                          0.4 0.0444444          $6.22
             Disposition
April 2020   Asset                   04/03/20 AEP             390 Review full payment certificates received from expediter and update closing checklists (.2)            0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                   04/03/20 AEP             390 schedule closings and distribute closing confirmations to counsel for purchasers of                    0.3          0.1      $39.00
             Disposition                                          receivership properties (7540 S Luella, 6749 S Merrill, and 7749 S Yates) (.3)


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
April 2020   Asset                   04/03/20 JR              140 exchange correspondence with the title company regarding status of previously submitted                 0.2 0.0222222          $3.11
             Disposition                                          water applications for properties (.2)
April 2020   Asset                   04/03/20 JR              140 exchange correspondence with real estate broker regarding commission statements for all                 0.1 0.0111111          $1.56
             Disposition                                          properties anticipated to close (.1)
April 2020   Asset                   04/05/20 AEP             390 Update closing checklist, investigate status of all code violations, investigate status of              1.4          1.4     $546.00
             Disposition                                          payment of all recorded and unrecorded judgments, prepare e-mail to J. Wine regarding
                                                                  need for receipts evidencing payment of past judgments, and prepare proposed addendum
                                                                  to purchase and sale contract regarding closing credit associated with 02/08/20 casualty at
                                                                  receivership property (7749-59 S Yates) in preparation for anticipated 04/21/20 closing.

April 2020   Asset                   04/06/20 AEP             390 review documentation received from J. Wine regarding outstanding judgments against                      0.2          0.2      $78.00
             Disposition                                          receivership property (7749-59 S Yates) and update closing checklist accordingly (.2)

April 2020   Asset                   04/06/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on title commitment pertaining to          0.2          0.2      $78.00
             Disposition                                          receivership property (7749 S Yates) requesting approval of payoff letters and releases
                                                                  obtained from counsel for City of Chicago (.2)
April 2020   Asset                   04/06/20 JR              140 exchange correspondence with the property manager requesting tenant information for                     0.2          0.1      $14.00
             Disposition                                          properties in preparation for closing (7450 Luella and 7749 Yates) (.2)

April 2020   Asset                   04/06/20 JR              140 review water certificate status (.6)                                                                    0.6 0.0666667          $9.33
             Disposition
April 2020   Asset                   04/06/20 JR              140 exchange correspondence with the title company regarding same (.5)                                      0.5 0.0555556          $7.78
             Disposition
April 2020   Asset                   04/06/20 JR              140 follow up correspondence with the real estate brokers regarding commission statements                   0.1 0.0111111          $1.56
             Disposition                                          (.1).
April 2020   Asset                   04/07/20 AEP             390 follow up with title company regarding status of closing confirmation for receivership                  0.1          0.1      $39.00
             Disposition                                          property (7749 S Yates), update closing checklist following receipt, and transmit same to
                                                                  opposing counsel with status update (.1)
April 2020   Asset                   04/07/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding status of all               0.5 0.0555556         $21.67
             Disposition                                          pending closings, all pending contracts, preparation of new motions to confirm, and related
                                                                  issues (.5)
April 2020   Asset                   04/07/20 JR              140 update master spreadsheet and closing checklists with status of water certificate                       0.4 0.0444444          $6.22
             Disposition                                          applications (.4)
April 2020   Asset                   04/07/20 JR              140 exchange correspondence with K. Duff and K. Pritchard regarding request for new accounts                0.2 0.0222222          $3.11
             Disposition                                          for closing of various properties (.2)
April 2020   Asset                   04/08/20 JR              140 update closing checklists regarding same (.3)                                                           0.3 0.0333333          $4.67
             Disposition
April 2020   Asset                   04/08/20 JR              140 draft wire instructions for all properties being prepared for closing and update electronic             1.2 0.1333333         $18.67
             Disposition                                          property folders (1.2)
April 2020   Asset                   04/08/20 KMP             140 review bank account records and communicate with J. Rak to identify accounts for numerous               0.3       0.025        $3.50
             Disposition                                          properties in anticipation of sale (.3).
April 2020   Asset                   04/09/20 JR              140 Draft wire instructions for series x properties (1.4)                                                   1.4 0.1555556         $21.78
             Disposition


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2020   Asset                   04/09/20 JR              140 request wire instructions for upcoming closings from the title company (.1)                            0.1 0.0111111          $1.56
             Disposition
April 2020   Asset                   04/09/20 JR              140 update checklists with the same (.7)                                                                   0.7 0.0777778         $10.89
             Disposition
April 2020   Asset                   04/09/20 JR              140 update wire instructions from the title company (.3)                                                   0.3 0.0333333          $4.67
             Disposition
April 2020   Asset                   04/09/20 JR              140 Cont'd....update closing checklists for various properties regarding same (.5);                        0.5 0.0555556          $7.78
             Disposition
April 2020   Asset                   04/10/20 SZ              110 Communicated via email and phone with J. Rak regarding power of attorney to be used in                 0.3         0.05       $5.50
             Disposition                                          April and May closings of respective properties.
April 2020   Asset                   04/11/20 AEP             390 [continued in next entry]. AEP (Continued from previous entry) Read e-mail from J. Wine                0.1          0.1      $39.00
             Disposition                                          regarding status of payment of judgments entered against receivership property (7749 S
                                                                  Yates), research city records, and reconcile information with closing checklist (.1)

April 2020   Asset                   04/11/20 AEP             390 Read and respond to K. Duff e-mail regarding April property closing schedule (.1)                      0.1       0.025        $9.75
             Disposition
April 2020   Asset                   04/13/20 JR              140 review rent roll and leases for upcoming closing for property (7749 Yates) (1.6)                       1.6          1.6     $224.00
             Disposition
April 2020   Asset                   04/13/20 JR              140 exchange correspondence with the property manager regarding same and request items                     0.2          0.2      $28.00
             Disposition                                          which we are missing (.2)
April 2020   Asset                   04/13/20 JR              140 draft closing documents for property (7749 Yates) in preparation for closing (4.8)                     4.8          4.8     $672.00
             Disposition
April 2020   Asset                   04/13/20 SZ              110 Worked on documents related to April and May closings.                                                 0.4 0.0666667          $7.33
             Disposition
April 2020   Asset                   04/14/20 JR              140 review leases and HAP contracts for property (7749 Yates) and further exchange                         0.3          0.3      $42.00
             Disposition                                          correspondence with property manager regarding updates (.3)
April 2020   Asset                   04/14/20 JR              140 exchange correspondence with property manager requesting missing items (.4)                            0.4 0.1333333         $18.67
             Disposition
April 2020   Asset                   04/14/20 JR              140 Review emails related to closing documents for closing properties (.2)                                 0.2 0.0222222          $3.11
             Disposition
April 2020   Asset                   04/14/20 JR              140 review and update notice to tenants related to property (7749 Yates) approved by buyer's               0.4          0.4      $56.00
             Disposition                                          counsel and forward to property manager for signature (.4)
April 2020   Asset                   04/14/20 JR              140 update closing checklists for properties that are closing in April (.6)                                0.6 0.0666667          $9.33
             Disposition
April 2020   Asset                   04/14/20 JR              140 exchange correspondence with A. Porter related to status of closings regarding series 5                0.2 0.0222222          $3.11
             Disposition                                          properties (.2)
April 2020   Asset                   04/15/20 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents for                    0.3       0.075       $29.25
             Disposition                                          receivership properties (7450 S Luella, 7749 S Yates, 6749 S Merrill, and 7546 S Saginaw) and
                                                                  final tasks necessary to consummate sales of each property (.3)
April 2020   Asset                   04/15/20 AEP             390 read correspondence from counsel for purchaser of receivership property (7749 S Yates),                0.2          0.2      $78.00
             Disposition                                          review title commitment, and prepare e-mail to title company requesting revisions to
                                                                  coverage amounts, alleged unpaid taxes, and other special exceptions (.2)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2020   Asset                   04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of                  0.3 0.0033708          $1.31
             Disposition                                          special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                   04/15/20 JR              140 Telephone conference with A. Porter regarding status of upcoming closings and related                    0.4 0.0444444          $6.22
             Disposition                                          matters (.4)
April 2020   Asset                   04/15/20 JR              140 exchange follow up correspondence with A. Porter regarding same (.1)                                     0.1 0.0111111          $1.56
             Disposition
April 2020   Asset                   04/15/20 JR              140 draft bill of sale for various properties in preparation for closing in April (.6)                       0.6 0.0666667          $9.33
             Disposition
April 2020   Asset                   04/16/20 AEP             390 read e-mails regarding insurance adjuster request for final inspection of receivership                   0.4          0.4     $156.00
             Disposition                                          property (7749 S Yates), and prepare and respond to e-mails to and from counsel for
                                                                  purchaser of same regarding insurance adjuster inspection (.4)
April 2020   Asset                   04/16/20 JR              140 exchange correspondence with the property manager and broker regarding same (.2)                         0.2          0.2      $28.00
             Disposition
April 2020   Asset                   04/16/20 JR              140 review email request from real estate broker regarding updated rent roll and income                      0.1          0.1      $14.00
             Disposition                                          statement for property (7749 Yates) (.1)
April 2020   Asset                   04/17/20 AEP             390 communications with counsel for prospective purchaser of receivership property (7749 S                   0.1          0.1      $39.00
             Disposition                                          Yates) regarding request for brief extension of closing date (.1).
April 2020   Asset                   04/18/20 JR              140 reschedule closing for same and exchange communication with the title company and A.                     0.2          0.2      $28.00
             Disposition                                          Porter regarding same (.2)
April 2020   Asset                   04/18/20 JR              140 Update closing documents for property (7749 S. Yates) (1.2)                                              1.2          1.2     $168.00
             Disposition
April 2020   Asset                   04/19/20 AEP             390 review and edit, as necessary, real estate broker lien waivers in connection with sales of next          0.3       0.075       $29.25
             Disposition                                          four receivership properties, and forward same for signatures (.3)
April 2020   Asset                   04/19/20 AEP             390 Review and edit, as necessary, all closing documents, research and update delinquent                     1.4          1.4     $546.00
             Disposition                                          property tax information, check status of administrative judgment amounts, and prepare
                                                                  spreadsheet of preliminary closing figures in connection with conveyance of receivership
                                                                  property (7749 S Yates) (1.4)
April 2020   Asset                   04/20/20 AEP             390 teleconference with J. Rak regarding status of preparation of closing documents for next four            0.1       0.025        $9.75
             Disposition                                          closings in advance of K. Duff document signing (.1)
April 2020   Asset                   04/20/20 AEP             390 teleconference with receivership team and receivership brokers regarding status of all                   0.8 0.0444444         $17.33
             Disposition                                          pending transactions (.8)
April 2020   Asset                   04/20/20 AEP             390 read and respond to e-mail from counsel for purchaser of receivership property (7749 S                   0.1          0.1      $39.00
             Disposition                                          Yates) regarding final closing prorations and closing date (.1)
April 2020   Asset                   04/20/20 JR              140 Review closing confirmation for property (7749 S. Yates) (.1)                                            0.1          0.1      $14.00
             Disposition
April 2020   Asset                   04/20/20 JR              140 exchange further correspondence with the property manager regarding same (.2)                            0.2          0.2      $28.00
             Disposition
April 2020   Asset                   04/20/20 JR              140 review updates to due diligence documents received from property manager related to                      1.1          1.1     $154.00
             Disposition                                          property (7749 S. Yates) and update rent roll and rent credits to buyer (1.1)

April 2020   Asset                   04/20/20 JR              140 conference call with K. Duff, M. Rachlis, A. Porter and real estate brokers related to current           1.0 0.0222222          $3.11
             Disposition                                          properties under contract and related matters and issues with closings (1.0)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2020   Asset                   04/21/20 AEP             390 Correspondence with counsel for prospective purchaser of receivership property (7749 S                 0.1          0.1      $39.00
             Disposition                                          Yates) regarding final settlement statement reconciliations and send e-mail to title company
                                                                  requesting four-hour postponement of closing (.1)
April 2020   Asset                   04/21/20 AEP             390 perform final review of all seller documents in connection with closing of receivership                0.6          0.6     $234.00
             Disposition                                          property (7749 S Yates) and make all necessary edits prior to execution and notarization (.6)

April 2020   Asset                   04/21/20 AEP             390 overview of and assistance with execution by receiver of all closing documents associated              0.5 0.1666667         $65.00
             Disposition                                          with conveyances of three receivership properties (7749 S Yates, 6749 S Merrill, and 1050
                                                                  8th Avenue) (.5)
April 2020   Asset                   04/21/20 JR              140 exchange correspondence with the title company regarding the status of the water                       0.3          0.3      $42.00
             Disposition                                          certificate related to closing (7749 S. Yates) (.3)
April 2020   Asset                   04/21/20 JR              140 Update and produce all the required closing documents for signing in preparation for closing           2.1          2.1     $294.00
             Disposition                                          of property (7749 S. Yates) (2.1)
April 2020   Asset                   04/21/20 JR              140 exchange correspondence with the property manager regarding request for signature of                   0.2          0.2      $28.00
             Disposition                                          documents required for closing (.2)
April 2020   Asset                   04/21/20 JR              140 work on closing documents and signings with A. Porter and K. Duff (6749 S. Merrill and 7749            3.5         1.75     $245.00
             Disposition                                          S. Yates) (3.5)
April 2020   Asset                   04/22/20 AEP             390 attend closing of receivership property (7749 S Yates) (2.8)                                           2.8          2.8   $1,092.00
             Disposition
April 2020   Asset                   04/22/20 AEP             390 Read and respond to dozens of e-mails relating to closing of receivership property (7749 S             1.4          1.4     $546.00
             Disposition                                          Yates) pertaining to rent collections, rent prorations, credit requested by purchaser in
                                                                  respect of damaged personalty, water charge proration, insurance company inspection,
                                                                  errors in settlement statement, and expiration of water certificate necessitating title
                                                                  indemnity (1.4)
April 2020   Asset                   04/22/20 JR              140 Exchange correspondence with the property manager regarding updates to rent roll,                      0.1          0.1      $14.00
             Disposition                                          delinquency and payment history for tenants related to closing of property (7749 S. Yates)
                                                                  (.1)
April 2020   Asset                   04/22/20 JR              140 notify all parties regarding the finalized closing (.2)                                                0.2          0.2      $28.00
             Disposition
April 2020   Asset                   04/22/20 JR              140 cont'd...exchange correspondence with the title company requesting the fully executed                  0.1          0.1      $14.00
             Disposition                                          closing statement regarding closing (7749 S. Yates) (.1)
April 2020   Asset                   04/22/20 JR              140 forward the current leases and all utilities to buyer's counsel at closing (.2)                        0.2          0.2      $28.00
             Disposition
April 2020   Asset                   04/22/20 JR              140 review documents received from the property manager and update documents for closing                   1.1          1.1     $154.00
             Disposition                                          (1.1)
April 2020   Asset                   04/22/20 JR              140 exchange correspondence with A. Porter related to current updates to credits and debits in             0.2          0.2      $28.00
             Disposition                                          preparation for closing (7749 S. Yates) (.2)
April 2020   Asset                   04/22/20 JR              140 exchange correspondence with real estate brokers regarding same (.2)                                   0.2          0.2      $28.00
             Disposition
April 2020   Asset                   04/22/20 JR              140 further exchange correspondence with the property manager regarding issues pertaining to               0.2          0.2      $28.00
             Disposition                                          closing (.2)
April 2020   Asset                   04/22/20 JR              140 request the most current water bill from property manager for closing (7749 S. Yates) (.1)             0.1          0.1      $14.00
             Disposition


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated       Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours            Fees
April 2020   Asset                   04/22/20 JR              140 exchange correspondence with buyer's counsel regarding updates for closing of property                 0.2          0.2         $28.00
             Disposition                                          (7749 S. Yates) (.2)
April 2020   Asset                   04/22/20 JR              140 follow up correspondence with the clerk's office regarding status of certified order required          0.1          0.1         $14.00
             Disposition                                          for closing of Naples property (7749 S. Yates) (.1)
April 2020   Asset                   04/22/20 JR              140 attend closing for property (7749 S. Yates) (3.0)                                                      3.0               3     $420.00
             Disposition
April 2020   Asset                   04/22/20 JR              140 request tenant contact information from property manager requested by buyer's counsel for              0.1          0.1         $14.00
             Disposition                                          closing (.1)
April 2020   Asset                   04/23/20 AEP             390 Read and respond to correspondence from title company requiring uncompleted title                      0.1          0.1         $39.00
             Disposition                                          indemnity escrow form (.1)
April 2020   Asset                   04/23/20 AEP             390 prepare e-mail to counsel for purchaser of receivership property (7749 S Yates) confirming             0.1          0.1         $39.00
             Disposition                                          agreement regarding insurance adjuster access post-closing and provide new management
                                                                  company information to E. Duff (.1)
April 2020   Asset                   04/23/20 AEP             390 read and respond to correspondence regarding alleged need to postpone insurance                        0.2          0.2         $78.00
             Disposition                                          inspection of former receivership property (7749 S Yates) (.2)
April 2020   Asset                   04/23/20 JR              140 further exchange communication with the real estate broker regarding same and status of                0.5          0.5         $70.00
             Disposition                                          upcoming closings (.5)
April 2020   Asset                   04/23/20 JR              140 forward closing statement to broker from closing of same (.1)                                          0.1          0.1         $14.00
             Disposition
April 2020   Asset                   04/23/20 JR              140 follow up with K. Pritchard regarding wire from closing of property (7749 S. Yates) (.1)               0.1          0.1         $14.00
             Disposition
April 2020   Asset                   04/23/20 JR              140 Exchange correspondence with the property manager regarding final items from sale of                   0.2          0.2         $28.00
             Disposition                                          property (7749 S. Yates) (.2)
April 2020   Asset                   04/23/20 KMP             140 communicate with K. Duff and J. Rak regarding funds issues relating to property closing (7729          0.2          0.2         $28.00
             Disposition                                          S Yates) (.2).
April 2020   Asset                   04/23/20 KMP             140 Communicate with insurance broker to advise of property closing (7749 S Yates) (.1)                    0.1          0.1         $14.00
             Disposition
April 2020   Asset                   04/29/20 JR              140 review email from K. Pritchard and forward requested post-closing reconciliation proceeds              0.2         0.05          $7.00
             Disposition                                          (.2).
April 2020   Asset                   04/29/20 JR              140 further communication with J. Wine regarding status of closed properties (.2)                          0.2 0.0222222             $3.11
             Disposition
April 2020   Asset                   04/30/20 JR              140 exchange correspondence with K. Pritchard regarding same (.1)                                          0.1          0.1         $14.00
             Disposition
April 2020   Asset                   04/30/20 JR              140 Review email from K. Pritchard related to post-closing reconciliation amount for property              0.5          0.5         $70.00
             Disposition                                          (7749 Yates) (.5)
April 2020   Asset                   04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]             0.8 0.0126984             $1.78
             Disposition                                          and prepare requested information regarding same (.8)
April 2020   Asset                   04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                                0.1 0.0015873             $0.22
             Disposition
April 2020   Business                04/02/20 JRW             260 Exchange correspondence with property manager regarding violations notices and orders                  0.6          0.3         $78.00
             Operations                                           and payment of fines (7749 S. Yates, 4520 S. Drexel) (.6)
April 2020   Business                04/02/20 JRW             260 update administrative actions spreadsheet (.4)                                                         0.4          0.2         $52.00
             Operations


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
April 2020   Business                04/06/20 JRW         260 Investigate code violations (7749 S. Yates) and related correspondence with property                  0.7          0.7     $182.00
             Operations                                       manager and A. Porter.
April 2020   Business                04/09/20 JRW         260 email exchange with property manager regarding proof of payment of fines against property             0.1          0.1      $26.00
             Operations                                       (7749 S. Yates) (.1)
April 2020   Business                04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472          $0.88
             Operations                                       and related documentation and correspondence.
April 2020   Business                04/16/20 ED          390 relating to post-closing insurance inspection on property to be sold (7749 S Yates) (.2).             0.2          0.2      $78.00
             Operations
April 2020   Business                04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations
April 2020   Business                04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126          $1.14
             Operations
April 2020   Business                04/23/20 ED          390 Email correspondence with insurance inspector (7749 S Yates) to provide notice of sale and            0.4          0.4     $156.00
             Operations                                       contact information for purchaser's property manager.
April 2020   Business                04/27/20 ED          390 email correspondence with A. Porter and insurance counsel (7749 S Yates) regarding                    0.1          0.1      $39.00
             Operations                                       rescheduled inspection (.1).
April 2020   Business                04/28/20 ED          390 email to insurance counsel (7749 S Yates) regarding notice to purchaser of June 2 inspection          0.1          0.1      $39.00
             Operations                                       (.1)
April 2020   Claims                  04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                  04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272         $20.45
             Administration                                   documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                  04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379          $1.22
             Administration
             & Objections

April 2020   Claims                  04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709          $0.14
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961          $2.65
             Administration                                   accounting reports (.7)
             & Objections

April 2020   Claims                  04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087          $3.79
             Administration
             & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
April 2020   Claims                  04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to          0.2 0.0019417          $0.76
             Administration                                       claimants (.2)
             & Objections

April 2020   Claims                  04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                             0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                  0.9 0.0087379          $3.41
             Administration                                       accounting reports (.9).
             & Objections

April 2020   Claims                  04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.              0.5 0.0048544          $0.68
             Administration
             & Objections

April 2020   Claims                  04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                 0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                 0.3 0.0029126          $1.14
             Administration                                       preparation of statements (.3)
             & Objections

April 2020   Claims                  04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                    0.4 0.0038835          $1.51
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                       0.4 0.0038835          $1.51
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).             0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                  04/24/20 JR              140 Exchange communication with accounting firm regarding closed properties and provide                0.5         0.25      $35.00
             Administration                                       settlement statements from recent sale and from the inception of EquityBuild purchases.
             & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
April 2020   Claims                  04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417          $0.27
             Administration                                       financial statements related to February reporting.
             & Objections

April 2020   Claims                  04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175          $2.72
             Administration
             & Objections

April 2020   Claims                  04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602          $6.25
             Administration                                       from E. Duff and accountant.
             & Objections

May 2020     Business                05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923          $3.00
             Operations
May 2020     Claims                  05/13/20 KBD             390 exchange correspondence with claimant's counsel and real estate broker regarding status of          0.1         0.05      $19.50
             Administration                                       sale of properties (5450-52 S Indiana & 7749 S Yates) (.1)
             & Objections

May 2020     Claims                  05/25/20 KBD             390 Attention to communication from claimant's counsel regarding property damage and                    0.1          0.1      $39.00
             Administration                                       insurance (7749 Yates) (.1)
             & Objections

May 2020     Asset                   05/01/20 JR              140 update checklists in preparation for closings of various properties (.9).                           0.9          0.1      $14.00
             Disposition
May 2020     Asset                   05/06/20 JR              140 review email correspondence from property manager and save closing documents in                     0.2 0.0222222          $3.11
             Disposition                                          electronic folders for various properties (.2)
May 2020     Asset                   05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922          $1.90
             Disposition
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709          $0.14
             Disposition                                          companies (.1)
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes             0.2 0.0035088          $0.49
             Disposition                                          (.2).
May 2020     Asset                   05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757          $2.45
             Disposition
May 2020     Asset                   05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957          $1.22
             Disposition                                          (.2).
May 2020     Asset                   05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462          $0.54
             Disposition                                          closings (.1)
May 2020     Asset                   05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016        $2.24
             Disposition                                          (.4)
May 2020     Asset                   05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008        $1.12
             Disposition




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
May 2020     Business                05/07/20 ED          390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
             Operations                                       properties (1.3)
May 2020     Business                05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                       addition of properties that have no institutional debt, and communicate with E. Duff
                                                              regarding missing reports.
May 2020     Business                05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business                05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                       proceeds of encumbered properties and property reporting regarding remaining restoration
                                                              amounts by property (.5).
May 2020     Business                05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                       regarding same
May 2020     Business                05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business                05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                       correspondence.
May 2020     Business                05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business                05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business                05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business                05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Claims                  05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as           1.8 0.0202247         $2.83
             Administration                                   requested, and share same with Receivership team (1.8)
             & Objections

May 2020     Claims                  05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections             0.2 0.0019417         $0.76
             Administration                                   (.2).
             & Objections

May 2020     Claims                  05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                         1.1 0.0106796         $4.17
             Administration
             & Objections




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7749-59 S Yates Boulevard                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
May 2020     Claims                  05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126          $1.14
             Administration                                   accounting reports (.3).
             & Objections

May 2020     Claims                  05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709          $0.38
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417          $0.76
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                  05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709          $0.38
             Administration                                   relating to sold properties (.1).
             & Objections

May 2020     Claims                  05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544          $1.89
             Administration                                   (.5)
             & Objections

June 2020    Asset                   06/08/20 KBD         390 exchange correspondence with J. Wine relating to sold property (7749 Yates) (.1).                  0.1          0.1      $39.00
             Disposition
June 2020    Business                06/11/20 KBD         390 attention to various property expenses (.6)                                                        0.6         0.15      $58.50
             Operations
June 2020    Claims                  06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                  06/09/20 KBD         390 study objections to claims process motion (.5)                                                     0.5    0.005618        $2.19
             Administration
             & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
June 2020    Claims                  06/11/20 KBD             390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD             390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD             390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD             390 Work on claims motion reply with M. Rachlis (.6)                                                   0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD             390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/18/20 KBD             390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit          0.2 0.0022989         $0.90
             Administration                                       bidding (.2)
             & Objections

June 2020    Claims                  06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                              0.7 0.0078652         $3.07
             Administration
             & Objections

June 2020    Claims                  06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                     0.2 0.0022989         $0.90
             Administration
             & Objections

June 2020    Claims                  06/22/20 KBD             390 study SEC reply brief (.3)                                                                         0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Asset                   06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                  0.1       0.004       $0.56
             Disposition
June 2020    Asset                   06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)            0.9     0.05625       $7.88
             Disposition
June 2020    Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                          0.1       0.004       $0.56
             Disposition




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
June 2020    Asset                   06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063         $15.80
             Disposition                                          judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                   06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797         $11.85
             Disposition                                          any receivership properties between 2018 and the present (2.4)
June 2020    Asset                   06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215          $6.91
             Disposition
June 2020    Asset                   06/08/20 JR              140 Review email from M. Rachlis related to restoration amounts of sold properties (.1)                   0.1     0.00625        $0.88
             Disposition
June 2020    Asset                   06/08/20 JR              140 review reports for various sold properties related to same and create a chart (.8)                    0.8         0.05       $7.00
             Disposition
June 2020    Asset                   06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012        $1.68
             Disposition
June 2020    Business                06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961          $2.65
             Operations                                           receivership.
June 2020    Business                06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835          $1.51
             Operations
June 2020    Business                06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466          $7.19
             Operations                                           reports (1.9)
June 2020    Business                06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087          $3.79
             Operations                                           documents and correspondence.
June 2020    Business                06/04/20 JRW             260 related email to A. Porter regarding hearing on sold property (7749 S Yates) (.1).                    0.1          0.1      $26.00
             Operations
June 2020    Business                06/04/20 JRW             260 Study orders from City of Chicago and update docket and files regarding administrative                0.6         0.15      $39.00
             Operations                                           hearings (7749 S Yates, 4520 S Drexel, 6217 S Dorchester, 1422 E 68th) (.6)

June 2020    Business                06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                 0.2 0.0019417          $0.76
             Operations                                           expenditures during March 2020.
June 2020    Business                06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                    0.2 0.0019417          $0.76
             Operations                                           correspondence with B. Fish regarding same.
June 2020    Business                06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)              0.7 0.0067961          $2.65
             Operations
June 2020    Business                06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                0.4 0.0038835          $1.51
             Operations
June 2020    Business                06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                             0.5 0.0048544          $1.89
             Operations
June 2020    Business                06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting               0.6 0.0058252          $2.27
             Operations                                           reports to reflect allocation of premium installment payments and refunds to sold and
                                                                  unsold properties (.6)
June 2020    Business                06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)            0.2 0.0019417          $0.76
             Operations
June 2020    Business                06/24/20 ED              390 call with accountant to discuss same (.1).                                                            0.1 0.0009709          $0.38
             Operations




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
June 2020    Claims                  06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor                    0.3 0.0033708          $0.47
             Administration                                   regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                  06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                           2.4 0.0269663         $10.52
             Administration
             & Objections

June 2020    Claims                  06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).                  2.2 0.0247191          $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 MR          390 Conferences regarding issues on brief.                                                                   0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 Review and revise brief (3.5)                                                                            3.5 0.0393258         $15.34
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                             0.6 0.0067416          $2.63
             Administration
             & Objections

July 2020    Business                07/14/20 KBD         390 exchange correspondence with property manager regarding financial reporting and property                 0.2 0.0666667         $26.00
             Operations                                       expenses (8047 S Manistee, 7749 S Yates, 8201 S Kingston) (.2)
July 2020    Business                07/17/20 KBD         390 work on property expenses (8201 S Kingston, 7749 S Yates, 7051 S Bennett, 8047 Manistee)                 0.2         0.05      $19.50
             Operations                                       (.2).
July 2020    Claims                  07/21/20 KBD         390 prepare for call with claimants' counsel regarding claims against properties (7749 S. Yates &            0.3         0.15      $58.50
             Administration                                   5450 S. Indiana) and draft correspondence to J. Wine relating to same (.3).
             & Objections

July 2020    Claims                  07/22/20 KBD         390 prepare for call with claimant's counsel relating to properties (5450 Indiana, 7749 Yates) (.5)          0.5         0.25      $97.50
             Administration
             & Objections

July 2020    Claims                  07/22/20 KBD         390 telephone conference with claimant's counsel and M. Rachlis regarding claims (5450 Indiana,              0.8          0.4     $156.00
             Administration                                   7749 Yates) (.8)
             & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2020    Claims                  07/25/20 KBD             390 Review records relating to claims (7749 Yates, 5450 Indiana).                                          0.3         0.15      $58.50
             Administration
             & Objections

July 2020    Claims                  07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and            0.3 0.0033708          $1.31
             Administration                                       J. Wine relating to same (.3)
             & Objections

July 2020    Asset                   07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214          $1.77
             Disposition
July 2020    Asset                   07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                    4.4 0.0656716          $9.19
             Disposition                                          communications with EB team regarding same.
July 2020    Asset                   07/27/20 AEP             390 review spreadsheet of active administrative and housing court proceedings received from J.             0.5 0.0166667          $6.50
             Disposition                                          Wine and reconcile same with spreadsheet separately assembled to track all known
                                                                  receivership actions (.5).
July 2020    Asset                   07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                        0.1 0.0027778          $0.39
             Disposition
July 2020    Business                07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                  0.3 0.0044776          $0.63
             Operations                                           for exhibits to proposed restoration motion (.3)
July 2020    Business                07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                  2.3 0.0343284          $4.81
             Operations                                           exhibits to restoration motion (2.3).
July 2020    Business                07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in              3.5 0.0522388          $7.31
             Operations                                           narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                  same (3.5)
July 2020    Business                07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223         $14.01
             Operations
July 2020    Business                07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835          $1.51
             Operations
July 2020    Business                07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417          $0.76
             Operations
July 2020    Business                07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835          $1.51
             Operations
July 2020    Business                07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126          $1.14
             Operations                                           accounting report drafts (.3)
July 2020    Business                07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961          $2.65
             Operations                                           correspondence to lenders' counsel (.7).
July 2020    Business                07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252          $2.27
             Operations                                           documentation of March property income and expense (.6)
July 2020    Business                07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767        $1.09
             Operations                                           institutional lenders on property by property basis with addition of properties that have no
                                                                  institutional debt, and have been sold (.8)
July 2020    Business                07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767        $1.09
             Operations                                           Duff regarding same (.8).


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2020    Business                07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate               0.8 0.0235294          $3.29
             Operations                                           with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business                07/16/20 JRW             260 Review exchange with property manager regarding accounts payable for properties (8201 S               0.2         0.05      $13.00
             Operations                                           Kingston, 7749 Yates, 8047 Manistee and 7051 Bennett).
July 2020    Business                07/17/20 JRW             260 Study spreadsheet from property manager regarding accounts payable for properties (8201 S             0.3       0.075       $19.50
             Operations                                           Kingston, 7749 Yates, 8047 Manistee and 7051 Bennett) and related email exchange with K.
                                                                  Duff regarding motion practice related to same (.3)

July 2020    Business                07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                   0.2 0.0019417          $0.27
             Operations
July 2020    Business                07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                             0.1 0.0009709          $0.38
             Operations
July 2020    Business                07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports           0.3 0.0029126          $0.41
             Operations                                           (.3)
July 2020    Business                07/22/20 JR              140 review property information for the declaration related to restoration of funds for the               0.3 0.0029126          $0.41
             Operations                                           benefit of other properties (.3).
July 2020    Business                07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                              0.2 0.0029851          $0.42
             Operations
July 2020    Business                07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).            0.2 0.0029851          $0.42
             Operations
July 2020    Business                07/23/20 JR              140 complete review of financial reports received from accounting firm and property                       3.7 0.0359223          $5.03
             Operations                                           management relating to all income and loss statements (3.7).
July 2020    Business                07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                    0.5 0.0048544          $0.68
             Operations                                           information related to discrepancies discovered in reports (.5).
July 2020    Business                07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                        0.6 0.0058252          $0.82
             Operations
July 2020    Business                07/24/20 KMP             140 electronically file same with court (.3)                                                              0.3 0.0044776          $0.63
             Operations
July 2020    Business                07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                             0.3 0.0044776          $0.63
             Operations
July 2020    Business                07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to               0.8    0.007767        $3.03
             Operations                                           preparation of April accounting reports.
July 2020    Business                07/30/20 AW              140 attention to notices from administrative court, email J. Wine regarding same, and update              0.5 0.0555556          $7.78
             Operations                                           docket (.5).
July 2020    Business                07/31/20 ED              390 further review of reports and related financial reporting (.2)                                        0.2 0.0019417          $0.76
             Operations
July 2020    Business                07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                        0.1 0.0009709          $0.38
             Operations
July 2020    Business                07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                    0.2 0.0019417          $0.76
             Operations
July 2020    Business                07/31/20 JRW             260 Review continuation orders for administrative hearings (7110 S. Cornell, 1422 E 68th, 7656 S          0.7 0.0777778         $20.22
             Operations                                           Kingston, 2527 E 76th, 7749 S Yates, 6250 S Mozart, 416 E 66th, 7109 S Calumet, 7546 S
                                                                  Saginaw) (.7)


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2020    Claims                  07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301        $3.26
             Administration
             & Objections

July 2020    Claims                  07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944          $1.17
             Administration                                       regarding discrepancies (.4)
             & Objections

July 2020    Claims                  07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835          $1.51
             Administration                                       counsel (.4)
             & Objections

July 2020    Claims                  07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417          $0.76
             Administration                                       remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                  07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049          $6.44
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252          $2.27
             Administration
             & Objections

July 2020    Claims                  07/22/20 JRW             260 Exchange correspondence with K. Duff regarding claims against properties (5450-52 S                    0.2          0.1      $26.00
             Administration                                       Indiana, 7749-59 S Yates) (.2)
             & Objections

July 2020    Claims                  07/22/20 MR              390 conferences with K. Duff (.8) regarding same (7749 Yates, 5450 Indiana).                               0.8          0.4     $156.00
             Administration
             & Objections

July 2020    Claims                  07/31/20 JRW             260 additional legal research and draft memo regarding motion to intervene (.8)                            0.8 0.0089888          $2.34
             Administration
             & Objections

August 2020 Asset                    08/07/20 KBD             390 draft correspondence regarding post-sale reconciliation of accounts following sales (8201 S            0.2          0.1      $39.00
            Disposition                                           Kingston and 7749 S Yates) (.2).
August 2020 Business                 08/07/20 KBD             390 Review information relating to property manager expenses (8201 S Kingston, 7749 S Yates,               0.2         0.05      $19.50
            Operations                                            7051 S Bennett, 8047 S Manistee) (.2)
August 2020 Business                 08/14/20 KBD             390 Exchange correspondence with property manager regarding property expenses (7749 Yates,                 0.2          0.1      $39.00
            Operations                                            8201 Kingston) (.2)




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7749-59 S Yates Boulevard                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
August 2020 Business                 08/14/20 KBD         390 exchange correspondence with J. Wine regarding same (.2).                                             0.2          0.1      $39.00
            Operations
August 2020 Business                 08/17/20 KBD         390 exchange correspondence with property manager regarding property reports (7749 Yates,                 0.1 0.0333333         $13.00
            Operations                                        8201 Kingston, 8047 Manistee) (.1).
August 2020 Claims                   08/03/20 KBD         390 analysis of claimant intervention motion and exchange correspondence with J. Wine                     0.3 0.0033708          $1.31
            Administration                                    regarding same (.3)
            & Objections

August 2020 Claims                   08/05/20 KBD         390 study correspondence from claimant's counsel regarding intervention motion (.1)                       0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                   08/08/20 KBD         390 Legal research regarding intervention motion and claims process and draft correspondence              1.3 0.0146067          $5.70
            Administration                                    to J. Wine regarding same.
            & Objections

August 2020 Claims                   08/24/20 KBD         390 study correspondence from A. Porter regarding same and properties ready to close (.2)                 0.2 0.0333333         $13.00
            Administration
            & Objections

August 2020 Claims                   08/24/20 KBD         390 exchange correspondence with J. Wine regarding information provided to claimant's counsel             0.1         0.05      $19.50
            Administration                                    (.1)
            & Objections

August 2020 Claims                   08/24/20 KBD         390 Study claimants' responses to property sales and restoration motion (5450 Indiana, 7749               0.5 0.0833333         $32.50
            Administration                                    Yates, 7760 Coles, 8107 Ellis, 8214 Ingleside, 8000 Justine) (.5)
            & Objections

August 2020 Claims                   08/25/20 KBD         390 Study claimants' objections to sale motion and restoration motion (5450 Indiana, 7749 Yates,          0.8 0.1333333         $52.00
            Administration                                    7760 Coles, 8107 Ellis, 8214 Ingleside, 8000 Justine) (.8)
            & Objections

August 2020 Claims                   08/25/20 KBD         390 outline responses to same (.5)                                                                        0.5 0.0833333         $32.50
            Administration
            & Objections

August 2020 Claims                   08/25/20 KBD         390 exchange correspondence with J. Wine regarding same (.2)                                              0.2 0.0333333         $13.00
            Administration
            & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
August 2020 Asset                    08/13/20 JR              140 exchange communication with K. Duff regarding form 1099 from various closings and update                   0.3 0.0272727          $3.82
            Disposition                                           electronic files regarding same (5450 S. Indiana, 11117 Longwood, 8214 Ingleside, 8107 S.
                                                                  Ellis, 8000 S. Justine, 8326-52 S. Ellis, 4520 S. Drexel, 8201 S. Kingston, 7546 S. Saginaw, 7749
                                                                  S. Yates, 7760 S. Coles) (.3)
August 2020 Asset                    08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).             0.1 0.0009709          $0.14
            Disposition
August 2020 Asset                    08/25/20 MR              390 attention to issues on property sales extensions (7749 Yates) and cancellation of purchase                 0.2          0.1      $39.00
            Disposition                                           (2800 81st) (.2)
August 2020 Business                 08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                     0.4 0.0038095          $1.49
            Operations                                            (.4)
August 2020 Business                 08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                             1.9 0.0180952          $7.06
            Operations                                            accounting reports (1.9)
August 2020 Business                 08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                    0.8    0.007767        $1.09
            Operations                                            addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                  need to be supplemented (.8)
August 2020 Business                 08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                   1.6 0.0152381          $5.94
            Operations
August 2020 Business                 08/06/20 JRW             260 Prepare for (.2)                                                                                           0.2          0.2      $52.00
            Operations
August 2020 Business                 08/06/20 JRW             260 and appear at administrative hearing on violation (7749 S Yates) (1.7)                                     1.7          1.7     $442.00
            Operations
August 2020 Business                 08/07/20 JRW             260 Study statement from property manager and related correspondence regarding accounts                        0.2 0.0666667         $17.33
            Operations                                            payable (.2)
August 2020 Business                 08/07/20 KMP             140 review records relating to certain assets and forward records to EB team for review (.3)                   0.3          0.1      $14.00
            Operations
August 2020 Business                 08/10/20 JRW             260 related review of revised spreadsheet (.1).                                                                0.1 0.0333333          $8.67
            Operations
August 2020 Business                 08/10/20 JRW             260 confer with property manager regarding June results summary (.2)                                           0.2 0.0666667         $17.33
            Operations
August 2020 Business                 08/11/20 JRW             260 study corrected spreadsheet from property manager regarding outstanding accounts                           0.6         0.15      $39.00
            Operations                                            payable (8201 S Kingston, 8047 S Manistee, 7749 S Yates and 7051 S Bennett) and related
                                                                  email to K. Duff and A. Porter regarding corrections (.6)
August 2020 Business                 08/14/20 JRW             260 correspondence with property manager and K. Duff regarding July results summary (.1).                      0.1 0.0333333          $8.67
            Operations
August 2020 Business                 08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                    0.1 0.0009709          $0.38
            Operations
August 2020 Business                 08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020                  0.3 0.0029126          $1.14
            Operations                                            accounting reports (.3)
August 2020 Business                 08/17/20 KMP             140 communicate with K. Duff and J. Wine regarding property manager's reconciliation for                       0.3          0.1      $14.00
            Operations                                            certain sold properties (7749 S Yates, 8201 S Kingston, 8047 S Manistee) and provide
                                                                  updated account balances for these properties to J. Wine (.3).




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
August 2020 Business                 08/20/20 ED          390 preparation of spreadsheet as basis for discussion with property manager (.8).                       0.8 0.2666667        $104.00
            Operations
August 2020 Business                 08/20/20 ED          390 email correspondence with property manager regarding same (.1)                                       0.1 0.0333333         $13.00
            Operations
August 2020 Business                 08/20/20 ED          390 Review and analysis of reporting from property manager and related correspondence                    1.6 0.5333333        $208.00
            Operations                                        relating to sold properties (7749 S Yates, 8201 S Kingston, 8047 S Manistee) (1.6)

August 2020 Business                 08/21/20 ED          390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                0.3 0.0029126          $1.14
            Operations                                        accountant for preparation of May accounting reports (.3)
August 2020 Business                 08/21/20 ED          390 update analysis of apparent reporting discrepancies for discussion with property manager             0.2 0.0031746          $1.24
            Operations                                        (.2)
August 2020 Business                 08/21/20 ED          390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873          $0.62
            Operations
August 2020 Business                 08/21/20 JRW         260 Study spreadsheets and review and comment on spreadsheet with questions for property                 0.6          0.2      $52.00
            Operations                                        manager (.6)
August 2020 Business                 08/25/20 ED          390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835          $1.51
            Operations                                        regarding details and backup for information to include in May accounting reports to
                                                              lenders.
August 2020 Business                 08/26/20 JRW         260 Exchange correspondence with property manager regarding financial reports for properties             0.2 0.0666667         $17.33
            Operations                                        (7749 S. Yates, 8201 S Kingston, 8047 Manistee).
August 2020 Business                 08/27/20 JRW         260 exchange correspondence with property manager regarding accounts payable (.2)                        0.2 0.0666667         $17.33
            Operations
August 2020 Business                 08/28/20 MR          390 Attention to issues on objections to restoration motion.                                             0.2 0.0285714         $11.14
            Operations
August 2020 Claims                   08/07/20 JRW         260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'           0.9 0.0101124          $2.63
            Administration                                    motion to intervene (.9)
            & Objections

August 2020 Claims                   08/12/20 JRW         260 legal research regarding intervention by receivership claimants and related analysis to K.           1.5 0.0168539          $4.38
            Administration                                    Duff and M. Rachlis (1.5)
            & Objections

August 2020 Claims                   08/24/20 JRW         260 Review opposition to restorations of funds motion and related review of motion and exhibits          0.3         0.15      $39.00
            Administration                                    and correspondence to team (5450 Indiana, 7749 Yates).
            & Objections

August 2020 Claims                   08/28/20 AW          140 research regarding authority cited in lender's objection to rent restoration motion (1.5).           1.5         0.75     $105.00
            Administration
            & Objections

September Asset                      09/30/20 KBD         390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455          $1.77
2020      Disposition




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
September    Business                09/15/20 KBD             390 draft correspondence to J. Rak regarding property expenses (7051 Bennett, 8201 S Kingston,             0.2         0.05      $19.50
2020         Operations                                           8047 Manistee, 7749 S. Yates) (.2).
September    Claims                  09/10/20 KBD             390 Draft reply to opposition to second restoration motion (5450-52 S. Indiana, 7749-59 S. Yates)          2.5         1.25     $487.50
2020         Administration                                       (2.5)
             & Objections

September Claims                     09/10/20 KBD             390 exchange correspondence various correspondence regarding same (5450-52 S. Indiana, 7749-               0.7         0.35     $136.50
2020      Administration                                          59 S. Yates) (.7)
          & Objections

September Claims                     09/11/20 KBD             390 Revise reply to opposition to second restoration motion (.6)                                           0.6          0.3     $117.00
2020      Administration
          & Objections

September Claims                     09/14/20 KBD             390 confer with M. Rachlis and J. Wine regarding claimants' motion for determination on                    0.5 0.0833333         $32.50
2020      Administration                                          properties (7110 Cornell, 6751 Merrill), ninth sales motion (1131-41 E. 79th Pl, 6250 S.
          & Objections                                            Mozart), second restoration motion, and various related issues (.5)

September Claims                     09/14/20 KBD             390 study court orders and exchange correspondence regarding same (.3)                                     0.3         0.05      $19.50
2020      Administration
          & Objections

September Claims                     09/15/20 KBD             390 work on response to objections to second restoration motion (5450-52 S. Indiana, 7749-59 S.            0.8          0.4     $156.00
2020      Administration                                          Yates) (.8).
          & Objections

September Claims                     09/25/20 KBD             390 Work on communications with claimants.                                                                 0.4 0.1333333         $52.00
2020      Administration
          & Objections

September    Asset                   09/10/20 AW              140 research and communicate with K. Duff regarding orders approving sale of properties (5450              0.4          0.2      $28.00
2020         Disposition                                          S Indiana, 7749 S Yates) (.4).
September    Asset                   09/16/20 JR              140 review email from K. Duff related to request of 2nd quarter 2020 closed properties, draft              0.2 0.0153846          $2.15
2020         Disposition                                          same and provide K. Duff regarding same (.2)
September    Business                09/02/20 ED              390 telephone conference with K. Duff and J. Wine regarding same (.3).                                     0.3          0.3     $117.00
2020         Operations
September    Business                09/02/20 ED              390 review and analysis of financial reports from property manager regarding reconciliation of             0.6          0.6     $234.00
2020         Operations                                           post-closing expense and income items relating to sold property (7749 S Yates) (.6)

September    Business                09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417          $0.76
2020         Operations                                           preparation of May accounting reports (.2)
September    Business                09/02/20 JRW             260 telephone conference with K. Duff and E. Duff regarding financial statements and accounts              0.2 0.0666667         $17.33
2020         Operations                                           payable to property manager (.2).


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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
September Business                   09/03/20 JRW             260 Exchange correspondence with E. Duff and property manager regarding accounts payable                 0.3          0.3      $78.00
2020      Operations                                              and related communication regarding fine paid in resolution of administrative hearing (7749
                                                                  S Yates).
September    Business                09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126          $1.14
2020         Operations                                           regarding same (.3)
September    Business                09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417          $0.76
2020         Operations                                           property managers needed for preparation of May accounting reports (.2)
September    Business                09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126          $1.14
2020         Operations                                           financial reporting information for May 2020.
September    Business                09/10/20 KMP             140 Review numerous pleadings and orders to locate record cites in connection with reply in              2.3         1.15     $161.00
2020         Operations                                           support of motion for restoration, and communicate with K. Duff regarding same.

September    Business                09/11/20 AW              140 Revisions to reply in support of second restoration motion.                                          0.2          0.1      $14.00
2020         Operations
September    Business                09/11/20 KMP             140 Review additional pleadings and orders to locate record cites in connection with reply in            0.3         0.15      $21.00
2020         Operations                                           support of motion for restoration, and communicate with K. Duff regarding same.

September    Business                09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417          $0.76
2020         Operations
September    Business                09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505          $4.54
2020         Operations                                           (1.2)
September    Business                09/18/20 AW              140 Communicate with K. Duff regarding cited opinion, research regarding same and email                  0.6          0.3      $42.00
2020         Operations                                           exchange with K. Duff regarding results.
September    Business                09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account           0.8 0.0119403          $1.67
2020         Operations                                           numbers for all properties subject to order (.8)
September    Business                09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)              0.2 0.0029851          $0.42
2020         Operations
September    Business                09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417          $0.27
2020         Operations                                           (.2).
September    Business                09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same               2.1 0.0313433          $4.39
2020         Operations                                           (2.1)
September    Business                09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505          $4.54
2020         Operations
September    Claims                  09/10/20 JRW             260 review draft response to objections (5450 S Indiana and 7749-59 S Yates) (.6)                        0.6          0.3      $78.00
2020         Administration
             & Objections

September Claims                     09/11/20 JRW             260 Edit draft response to objections to second rent restoration motion to incorporate                   0.5         0.25      $65.00
2020      Administration                                          comments (5450 Indiana, 7749-59 Yates) (.5)
          & Objections




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
September Claims                     09/15/20 AW              140 revisions to reply in support of second restoration motion, finalize reply, file with the court,          0.8          0.4      $56.00
2020      Administration                                          and serve as per service list (5450 Indiana, 7749-59 Yates) (.8).
          & Objections

September Claims                     09/15/20 JRW             260 attention to finalizing responses to objections to ninth sales motion (6250 S Mozart and 1131-            0.6          0.3      $78.00
2020      Administration                                          41 E 79th) and objections to second restoration motion (5450 S Indiana and 7749 S. Yates)
          & Objections                                            (.6).

October      Business                10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).               0.3 0.0028571          $1.11
2020         Operations
October      Business                10/15/20 KBD             390 Telephone conference with J. Wine regarding property manager expense reimbursement                        0.3       0.075       $29.25
2020         Operations                                           (7051 S Bennett, 7749 S Yates, 8201 S Kingston, 8947 S Manistee).
October      Business                10/20/20 KBD             390 work on restoration of funds (.3).                                                                        0.3 0.0028571          $1.11
2020         Operations
October      Asset                   10/01/20 JR              140 further review of May financial reporting (3.3)                                                           3.3 0.0320388          $4.49
2020         Disposition
October      Asset                   10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)                 0.9 0.0087379          $1.22
2020         Disposition
October      Asset                   10/06/20 JR              140 request same from property management (.2)                                                                0.2 0.0045455          $0.64
2020         Disposition
October      Asset                   10/06/20 JR              140 review post-closing reconciliation report and update electronic files for all closed properties           0.4 0.0444444          $6.22
2020         Disposition                                          (.4)
October      Asset                   10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                        0.5 0.0048544          $0.68
2020         Disposition                                          information (.5)
October      Asset                   10/13/20 JR              140 update post-closing reconciliation reports related to all closed properties (.6)                          0.6 0.0666667          $9.33
2020         Disposition
October      Asset                   10/13/20 JR              140 follow up correspondence with property management regarding post-closing reconciliation                   0.1 0.0111111          $1.56
2020         Disposition                                          funds for closed properties (.1)
October      Business                10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                        0.4       0.016        $6.24
2020         Operations
October      Business                10/02/20 ED              390 review of J. Rak comments identifying discrepancies in certain draft reports and consult                  0.8 0.0421053         $16.42
2020         Operations                                           underlying financial records and correspondence (.8)
October      Business                10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).               0.2 0.0019417          $0.76
2020         Operations
October      Business                10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                      0.9 0.0087379          $3.41
2020         Operations
October      Business                10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                    0.1 0.0009709          $0.38
2020         Operations
October      Business                10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                        0.1 0.0009709          $0.38
2020         Operations
October      Business                10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                  0.3 0.0029126          $1.14
2020         Operations                                           requiring revision (.3).




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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
October      Business                10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767        $3.03
2020         Operations                                       comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                              reimbursable amounts by properties. (.2)
October      Business                10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087          $3.79
2020         Operations
October      Business                10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631          $5.68
2020         Operations                                       of May 31, 2020 (1.5)
October      Business                10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544          $1.89
2020         Operations                                       reports (.5).
October      Business                10/08/20 ED          390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024        $9.36
2020         Operations
October      Business                10/08/20 JRW         260 review draft pleadings and communicate with K. Duff and E. Duff regarding property                   0.2         0.05      $13.00
2020         Operations                                       manager's communication regarding accounts payable and restoration motion (.2)

October      Business                10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796          $1.50
2020         Operations                                       regarding reports.
October      Business                10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544          $1.89
2020         Operations                                       amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business                10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252          $2.27
2020         Operations
October      Business                10/13/20 ED          390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016        $6.24
2020         Operations
October      Business                10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020         Operations
October      Business                10/13/20 JRW         260 communicate with K. Duff and E. Duff regarding accounts payable to property manager (.1)             0.1       0.025        $6.50
2020         Operations
October      Business                10/16/20 JRW         260 Confer with property manager regarding accounts payable (.2) and related telephone                   0.4          0.1      $26.00
2020         Operations                                       conference with K. Duff restoration motions (.2).
October      Business                10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020         Operations                                       restoration and future reporting from receivership, including attachments describing funds
                                                              transfers and confer with K. Duff regarding same (.8)
October      Business                10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020         Operations                                       accounting reports (.3)
October      Business                10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020         Operations                                       approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                              Properties (.7).
October      Business                10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020         Operations                                       property manager (.2)
October      Business                10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020         Operations                                       updating financial reporting to lenders and for use in management of portfolio by Receiver.




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
October      Business                10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020         Operations
October      Business                10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020         Operations                                           reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                  reimbursed from proceeds of property sales (1.3)
October      Business                10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020         Operations                                           property financial reporting (.2).
October      Business                10/27/20 KMP             140 communicate with K. Duff regarding remaining transfers relating to second restoration                0.2          0.1      $14.00
2020         Operations                                           motion in light of Court's order granting same (.2).
October      Business                10/28/20 JRW             260 attention to drafting proposed order granting remainder of restoration motion and related            0.6          0.3      $78.00
2020         Operations                                           communications regarding exhibit to same (.6)
October      Business                10/28/20 KMP             140 Further communication with K. Duff regarding remaining transfers relating to second                  0.1         0.05       $7.00
2020         Operations                                           restoration motion in light of Court's order granting same (.1)
October      Business                10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020         Operations                                           reports, and review of related financial information.
October      Claims                  10/28/20 AW              140 Revise proposed order granting remainder of second restoration motion and email counsel              0.2          0.1      $14.00
2020         Administration                                       regarding same.
             & Objections

November     Business                11/20/20 KBD             390 Exchange correspondence with E. Duff regarding potential claim relating to property (7749            0.2          0.2      $78.00
2020         Operations                                           Yates) (.2)
November     Asset                   11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022        $3.08
2020         Disposition
November     Asset                   11/19/20 KMP             140 communicate with E. Duff and J. Rak regarding property manager's final reports for sold              0.2          0.1      $14.00
2020         Disposition                                          properties (8201 Kingston, 7749 Yates) and forward reports (.2).
November     Asset                   11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868          $0.26
2020         Disposition
November     Business                11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020         Operations                                           financial records, and details relating to property restoration and reimbursement completed
                                                                  through September 2020 (.7)
November     Business                11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020         Operations
November     Business                11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020         Operations
November     Business                11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020         Operations                                           property reports (.3)
November     Business                11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020         Operations                                           correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business                11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020         Operations                                           correspondence with accountants and property manager regarding same (.4)

November     Business                11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020         Operations                                           needed for preparation of June reporting.


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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
November     Business                11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial               0.2 0.0019048          $0.74
2020         Operations                                           reporting information necessary for completion of remining June accounting reports (.2).

November     Business                11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June              0.3 0.0028571          $1.11
2020         Operations                                           reports, and steps to begin preparation of July reports (.3)
November     Business                11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                 0.5 0.0047619          $1.86
2020         Operations                                           reporting information required for preparation of July property reports.

November     Business                11/20/20 MR              390 Attention to requests on various issues on properties (4520 Drexel, 6558 Vernon and 7749            0.2 0.0666667         $26.00
2020         Operations                                           Yates).
November     Business                11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July               0.3 0.0028571          $1.11
2020         Operations                                           accounting reports and preparation of draft August reports (.3).
November     Business                11/25/20 JRW             260 drafting of motion to use funds from property accounts for payment of property-related              1.6 0.2285714         $59.43
2020         Operations                                           expenses (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd
                                                                  Place, 4520 S Drexel, 5618 S MLK) (1.6).
November     Business                11/30/20 JRW             260 draft motion for approval to pay expenses from property accounts (7749 S Yates, 8201 S              1.2 0.1714286         $44.57
2020         Operations                                           Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd Place, 4520 S Drexel, 5618 S MLK)
                                                                  and related communications with J. Rak and K. Pritchard regarding sales proceeds and
                                                                  payments (1.2)
November     Business                11/30/20 KMP             140 Prepare spreadsheet identifying account balances for certain sold properties (7749 Yates,           1.2          0.2      $28.00
2020         Operations                                           8201 Kingston, 8047 Manistee, 7051 Bennett, 431 E 42nd Place, 4520 Drexel) and
                                                                  communicate with J. Wine and J. Rak regarding same (1.2)
November     Business                11/30/20 KMP             140 work on spreadsheet identifying property expenses (1.1).                                            1.1 0.1571429         $22.00
2020         Operations
December     Business                12/09/20 KBD             390 work on motion to pay expenses (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S           0.3         0.05      $19.50
2020         Operations                                           Bennett, 431 E 42nd Place, 4520 S. Drexel) (.3).
December     Business                12/10/20 KBD             390 Work on motion to pay expenses (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S           0.4 0.0666667         $26.00
2020         Operations                                           Bennett, 431 E 42nd Place, 4520 S. Drexel).
December     Asset                   12/17/20 JR              140 review property sale price information and generate report related to same, resolve a               0.9 0.0155172          $2.17
2020         Disposition                                          discrepancy (.9)
December     Asset                   12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report           0.1 0.0017241          $0.24
2020         Disposition                                          (.1)
December     Business                12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.              0.2 0.0019048          $0.74
2020         Operations
December     Business                12/02/20 JRW             260 Drafting of motion to pay expenses from property accounts (7749 S Yates, 8201 S Kingston,           0.6          0.1      $26.00
2020         Operations                                           8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (.6)
December     Business                12/03/20 JRW             260 related telephone conferences with E. Duff (.1)                                                     0.1       0.025        $6.50
2020         Operations
December     Business                12/03/20 JRW             260 Attention to drafting motion to approve payments from property accounts (7749 S Yates,              0.7 0.1166667         $30.33
2020         Operations                                           8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (.7)

December     Business                12/03/20 JRW             260 related email exchange with property manager regarding account payable balances (.2)                0.2         0.05      $13.00
2020         Operations


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7749-59 S Yates Boulevard                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
December     Business                12/03/20 JRW         260 related telephone conferences with K. Duff (.2).                                                       0.2         0.05      $13.00
2020         Operations
December     Business                12/04/20 ED          390 email correspondence with J. Wine regarding documentation received from lenders (.4)                   0.4 0.0044944          $1.75
2020         Operations
December     Business                12/04/20 ED          390 email correspondence with accountant and J. Rak regarding review of draft August                       0.1 0.0009524          $0.37
2020         Operations                                       accounting reports and preparation of draft September reports (.1).
December     Business                12/07/20 JRW         260 email exchange with property manager regarding current account balances (7749 S Yates,                 0.1       0.025        $6.50
2020         Operations                                       8201 S Kingston, 8047 S Manistee, 7051 S Bennett) (.1).
December     Business                12/08/20 JRW         260 Study financial statements from property manager (7749 S Yates, 8201 S Kingston, 8047 S                2.2         0.55     $143.00
2020         Operations                                       Manistee, 7051 S Bennett) and related email exchange regarding same and revision to
                                                              motion to approve payments from property accounts (2.2)
December     Business                12/09/20 ED          390 review and analysis of draft April and May accounting reports received from accountant and             2.1         0.02       $7.80
2020         Operations                                       related financial reporting from property managers (2.1).
December     Business                12/09/20 JRW         260 related correspondence with property manager regarding property expenses (.1)                          0.1       0.025        $6.50
2020         Operations
December     Business                12/09/20 JRW         260 Revise motion for approval of payments out of property accounts and prepare exhibits to                1.3 0.2166667         $56.33
2020         Operations                                       same (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520
                                                              S. Drexel) (1.3)
December     Business                12/10/20 ED          390 continue review of June property accounting reports (1.2)                                              1.2 0.0114286          $4.46
2020         Operations
December     Business                12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from              2.6 0.0247619          $9.66
2020         Operations                                       property managers (2.6).
December     Business                12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                  0.1 0.0009524          $0.37
2020         Operations                                       preparation of September property accounting reports (.1)
December     Business                12/10/20 JRW         260 review M. Rachlis revisions to draft motion for approval to pay expenses from property                 0.1 0.0166667          $4.33
2020         Operations                                       accounts (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd,
                                                              4520 S. Drexel) (.1).
December     Business                12/11/20 KMP         140 Work on draft motion to allow payment of expenses and communicate with J. Wine                         0.3         0.05       $7.00
2020         Operations                                       regarding same (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E
                                                              42nd, 4520 S. Drexel).
December     Business                12/14/20 KMP         140 communicate with K. Duff, M. Rachlis, A. Porter, and J. Wine regarding same (7749 S Yates,             0.3         0.05       $7.00
2020         Operations                                       8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (.3).

December     Business                12/14/20 KMP         140 Further work on consolidated motion to confirm sales and allow payment of expenses,                    4.4 0.7333333        $102.67
2020         Operations                                       including finalizing motion and exhibits and filing same electronically (7749 S Yates, 8201 S
                                                              Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (4.4)

December     Business                12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                     1.5 0.0142857          $5.57
2020         Operations
December     Business                12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                  1.2 0.0114286          $4.46
2020         Operations                                       accounting reports (.7), and review of related reporting and financial records (.5)




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
December     Business                12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                           properties (.9).
December     Business                12/17/20 JRW             260 correspondence with property manager regarding filed motion (.1)                                     0.1       0.025        $6.50
2020         Operations
December     Business                12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020         Operations                                           changes (.4)
December     Business                12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020         Operations
December     Business                12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020         Operations                                           of insurable values based on property sales, refunds and adjustments to premium finance
                                                                  agreements, and updates to schedule of properties.
December     Business                12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048          $0.74
2020         Operations                                           premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                  relating to same.
December     Claims                  12/04/20 JRW             260 exchange correspondence with E. Duff regarding loan issue (.2)                                       0.2 0.0022472          $0.58
2020         Administration
             & Objections

January      Business                01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021         Operations
January      Business                01/11/21 KBD             390 Exchange correspondence regarding order on motion to use sale proceeds (7749-59 S Yates              0.2 0.0333333         $13.00
2021         Operations                                           Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue,
                                                                  431 E 42nd Place, 4520-26 S Drexel Boulevard) (.2)
January      Business                01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021         Operations                                           expenses.
January      Claims                  01/19/21 KBD             390 attention to review of claims (1700-08 W Juneway Terrace, 5450-52 S Indiana Avenue, 7749-            0.2         0.05      $19.50
2021         Administration                                       59 S Yates Boulevard, 6160-6212 S Martin Luther King Drive) (.2)
             & Objections

January      Claims                  01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524          $0.37
2021         Administration                                       relating to accounting reports (.1).
             & Objections

January      Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704          $2.85
2021         Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January      Business                01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                         0.1 0.0009524          $0.37
2021         Operations
January      Business                01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                 0.5 0.0047619          $1.86
2021         Operations
January      Business                01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                       0.3 0.0028571          $1.11
2021         Operations                                           properties, and email correspondence with K. Duff regarding same (.3)


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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
January      Business                01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                           accordingly regarding status review of same (.1)
January      Business                01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business                01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                           and November 2020 and forward same to her.
January      Business                01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business                01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                           property (1.3).
January      Business                01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business                01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                           reporting (.1).
January      Business                01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/11/21 JRW             260 Communicate with K. Duff regarding status of motion for approval of payments and send              0.4 0.0666667        $17.33
2021         Operations                                           proposed order to Judge Lee's courtroom deputy (7749-59 S Yates Boulevard, 8201 S
                                                                  Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 431 E 42nd Place,
                                                                  4520-26 S Drexel Boulevard) (.4)
January      Business                01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                           corrections necessary.
January      Business                01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                           analysis of reimbursable amounts owed, and review of related correspondence and
                                                                  documents.
January      Business                01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                           report (.2)
January      Business                01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                               0.4 0.0038095         $1.49
2021         Operations
January      Business                01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration           1.7 0.0161905         $6.31
2021         Operations                                           and reimbursable amounts as of September 31, 2020 (1.7)
January      Business                01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review              0.3 0.0028571         $1.11
2021         Operations                                           (.3).
January      Business                01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                    1.2 0.0114286         $4.46
2021         Operations                                           transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                  with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)




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7749-59 S Yates Boulevard                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
January      Business                01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524          $0.37
2021         Operations
January      Business                01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286          $1.60
2021         Operations                                           prepare same as per E. Duff's request.
January      Business                01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619          $1.86
2021         Operations                                           allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                  insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                  property sales (.5)
January      Business                01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143          $2.23
2021         Operations                                           properties (.6)
January      Business                01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095          $1.49
2021         Operations                                           and effect on data presented in September accounting reports (.4)

January      Business                01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095          $1.49
2021         Operations
January      Business                01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619        $2.97
2021         Operations                                           updates (.8)
January      Business                01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905          $6.31
2021         Operations                                           and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                  email correspondence with accountants and J. Rak (.4).

January      Business                01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905          $6.31
2021         Operations                                           reports (1.7)
January      Business                01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095          $0.53
2021         Operations
January      Claims                  01/18/21 JP                   95 review lender statement of accounts, full client history, and mortgagee spreadsheet and          2.8          2.8     $266.00
2021         Administration                                           complete claims analysis for property (7749-59 S Yates Boulevard) (2.8).
             & Objections

January      Claims                  01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143          $0.80
2021         Administration                                       lenders.
             & Objections




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
February     Business                02/10/21 KBD             390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                   0.4 0.0093023         $3.63
2021         Operations                                           Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                  Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                  1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                  62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                  Street, 6759 S Indiana Avenue) (.4).

February     Business                02/15/21 KBD             390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S                 0.3 0.0069767         $2.72
2021         Operations                                           Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                  Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                  1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                  62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                  Street, 6759 S Indiana Avenue) (.3).

February     Asset                   02/11/21 JR              140 review email from K. Duff and provide requested closing dates regarding January results              0.2 0.0181818         $2.55
2021         Disposition                                          summary (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                  4611-17 S Drexel Boulevard, 7749-59 S Yates Boulevard, 1131-41 E 79th Avenue, 4533-47 S
                                                                  Calumet Avenue, 6217-27 S Dorchester Avenue, 1414-18 East 62nd Place, 6949-59 S Merrill
                                                                  Avenue, 7024-32 S Paxton Avenue) (.2).
February     Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697         $0.51
2021         Disposition                                          and status of same (.4)
February     Business                02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644         $4.63
2021         Operations
February     Business                02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797         $2.64
2021         Operations                                           data and information necessary for preparation of reports for the three month period ended
                                                                  December 31, 2020 (.4)
February     Business                02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048         $0.74
2021         Operations                                           of October 2020 accounting reports.




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
February     Business                02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,             3.2 0.0304762          $4.27
2021         Operations                                           November and December and produce same in preparation for review.
February     Business                02/16/21 JRW             260 Correspond with property manager regarding pending motion and related email to court's              0.2         0.05      $13.00
2021         Operations                                           clerk (.2)
February     Business                02/22/21 ED              390 Begin review of drafts of October accounting reports.                                               1.1 0.0104762          $4.09
2021         Operations
February     Business                02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                           0.2 0.0019048          $0.27
2021         Operations
February     Business                02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                 3.6 0.0342857          $4.80
2021         Operations
February     Business                02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial           0.3 0.0028571          $0.40
2021         Operations                                           reporting.
February     Claims                  02/10/21 SZ              110 Review of claims (1700-08 Juneway Terrance, 5450-52 S Indiana Ave, 7749-59 S Yates                  5.8 1.9333333        $212.67
2021         Administration                                       Boulevard).
             & Objections

February     Claims                  02/12/21 SZ              110 Continued to review claims (1700-08 W Juneway Terrace, 7749-59 S Yates Boulevard, 6160-             5.0       0.625       $68.75
2021         Administration                                       6212 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S
             & Objections                                         Sacramento Avenue, 6001-05 S Sacramento Avenue, 7237-43 S Bennett Avenue) and update
                                                                  with information about independent contractors and trade consultants.

March 2021 Business                  03/02/21 KBD             390 Exchange correspondence with E. Duff regarding restoration issue regarding property (7749-          0.1          0.1      $39.00
           Operations                                             59 S Yates Boulevard) (.1)
March 2021 Business                  03/02/21 ED              390 email correspondence with K. Duff regarding reporting treatment for insurance premium               0.1          0.1      $39.00
           Operations                                             refund for one property (7749-59 S Yates Boulevard) (.1).
March 2021 Business                  03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                  03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                  03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                  03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                  03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                             properties and produce same.
March 2021 Business                  03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
March 2021 Claims                    03/11/21 SZ              110 Email communication with J. Wine regarding update on review of properties (1700-08 W                 0.4 0.0285714          $3.14
           Administration                                         Juneway Terrace, 5450-52 S Indiana Avenue, 7749-59 S Yates Boulevard, 6160-6212 S Martin
           & Objections                                           Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S Sacramento
                                                                  Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 7237-43 S Bennett
                                                                  Avenue, 701-13 S 5th Avenue, Maywood, 11117-11119 S Longwood Drive, 7834-44 S Ellis
                                                                  Avenue, 4611-17 S Drexel Boulevard).

April 2021   Business                04/13/21 KBD             390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667          $2.60
             Operations                                           7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                  Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                                  1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                  Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                  8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                  Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                  Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                  Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                  S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                  Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                                  1414-18 East 62nd Place) (.3)

April 2021   Asset                   04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                     0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                   04/02/21 JRW             260 exchange correspondence with court clerk regarding revision to proposed order (7749- 59 S            0.3          0.3      $78.00
             Disposition                                          Yates Boulevard) and revise same (.3)
April 2021   Asset                   04/02/21 JRW             260 related email to claimants' counsel (7749-59 S Yates Boulevard) (.1).                                0.1          0.1      $26.00
             Disposition
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and           0.1 0.0009524          $0.13
             Disposition                                          payment of same (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation              0.1 0.0009524          $0.13
             Disposition                                          amounts and respond accordingly (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-            0.3 0.0028571          $0.40
             Disposition                                          reconciliation amounts (see D) (.3)
April 2021   Asset                   04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence               1.4 0.0133333          $1.87
             Disposition                                          with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                   04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to             0.3 0.0047619          $0.67
             Disposition                                          repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                   04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)            0.1 0.0015873          $0.22
             Disposition                                          (.1)
April 2021   Asset                   04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)                0.2    0.003125        $0.44
             Disposition                                          (.2)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
April 2021   Business                04/05/21 ED              390 begin review drafts of November accounting reports for two properties (5450-52 S Indiana                0.3         0.15      $58.50
             Operations                                           Avenue, 7749-59 S Yates Boulevard) (.3)
April 2021   Business                04/07/21 JR              140 review November property financial reports (1.5).                                                       1.5 0.0142857          $2.00
             Operations
April 2021   Business                04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                      0.1 0.0009524          $0.13
             Operations                                           respond accordingly (.1)
April 2021   Business                04/09/21 JR              140 Review property financial reports.                                                                      3.2 0.0304762          $4.27
             Operations
April 2021   Business                04/13/21 JRW             260 review property manager results summary and related exchange with K. Duff regarding                     0.2         0.04      $10.40
             Operations                                           pending motion and payments (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S
                                                                  Manistee Avenue, 7749-59 S Yates Boulevard, 1414-18 East 62nd Place) (.2).

April 2021   Business                04/29/21 JRW             260 email to court clerk regarding proposed order granting motion to approve payment of                     0.2 0.0333333          $8.67
             Operations                                           expenses (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                  7051 S Bennett Avenue, 431 E 42nd Place, 4520-26 S Drexel Boulevard) (.2).

April 2021   Business                04/30/21 JRW             260 correspondence with K. Duff and K. Pritchard regarding property manager accounts payable                0.4          0.1      $26.00
             Operations                                           (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S
                                                                  Bennett Avenue) (.4)
April 2021   Business                04/30/21 JRW             260 Review order granting motion to approve payments (7749-59 S Yates Boulevard, 8201 S                     0.2 0.0333333          $8.67
             Operations                                           Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 431 E 42nd Place,
                                                                  4520-26 S Drexel Boulevard) and related email exchange with K. Duff and A. Porter (.2)

April 2021   Business                04/30/21 KMP             140 related communications with K. Duff and J. Wine regarding verification and payment of                   0.2 0.0333333          $4.67
             Operations                                           expenses (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                  7051 S Bennett Avenue, 431 E 42nd Place, 4520-26 S Drexel Boulevard) (.2).

April 2021   Business                04/30/21 KMP             140 Attention to entered order relating to payment of property expenses (7749-59 S Yates                    0.1 0.0166667          $2.33
             Operations                                           Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue,
                                                                  431 E 42nd Place, 4520-26 S Drexel Boulevard) (.1)
April 2021   Business                04/30/21 SZ              110 Attention to property manager's emails with repair invoices related to properties (6949-59 S            2.7       0.675       $74.25
             Operations                                           Merrill Avenue, 7442-54 S Calumet Avenue, 7749-59 S Yates Boulevard, 1414-18 E 62nd
                                                                  Place) and other property manager's emails containing repair documentation (310 E 50th
                                                                  Street, 414 Walnut,416- 24 E 66th Street, 1401 W 109th Place, 638-40 N Avers Avenue, 1700-
                                                                  08 W Juneway Terrace, 2736-44 W 64th Street, 4315-19 S Michigan Avenue, 5618-20 S
                                                                  Martin Luther King Drive, 6250 S Mozart Street, 6356 S California Avenue, 6355-59 S Talman
                                                                  Avenue, 6749-59 S Merrill Avenue, 6807 S Indiana Avenue, 7109-19 S Calumet Avenue, 7201-
                                                                  07 S Dorchester Avenue, 7201 S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S
                                                                  Euclid Avenue, 7300-04 S St Lawrence Avenue, 7600-10 S Kingston Avenue, 7760 S Coles
                                                                  Avenue, 7957-59 S Marquette Road, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-
                                                                  16 S Ingleside Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue,
                                                                  11117-11119 S Longwood Drive).




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
May 2021     Business                05/05/21 KBD             390 work on payment of approved expenses and exchange related correspondence with J. Wine                0.2         0.05      $19.50
             Operations                                           (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7749-59 S
                                                                  Yates Boulevard) (.2)
May 2021     Business                05/06/21 KBD             390 Work on property expenses and funds transfers (638-40 N Avers Avenue, 1401 W 109th                   0.4 0.0571429         $22.29
             Operations                                           Place, 7237-43 S Bennett Avenue, 7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55
                                                                  S Manistee Avenue, 7749-59 S Yates Boulevard).
May 2021     Business                05/05/21 JRW             260 Correspondence to property manager regarding payment of outstanding expenses and                     0.4          0.1      $26.00
             Operations                                           related email exchange with K. Duff (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-
                                                                  55 S Manistee Avenue, 7749-59 S Yates Boulevard) (.4)
May 2021     Business                05/05/21 KMP             140 attention to communications with property manager and insurer regarding instructions for             0.2 0.0333333          $4.67
             Operations                                           payment of approved property expenses (7749-59 S Yates Boulevard, 8201 S Kingston
                                                                  Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 431 E 42nd Place, 4520-26 S.
                                                                  Drexel Boulevard) pursuant to court order (.2)

May 2021     Business                05/06/21 KMP             140 prepare request forms for funds transfers to property manager for payment of approved                0.3       0.075       $10.50
             Operations                                           property expenses (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee
                                                                  Avenue, 7051 S Bennett Avenue) pursuant to court order (.3)
May 2021     Business                05/06/21 KMP             140 communications with K. Duff and bank representative regarding funds transfers for property           0.3 0.0428571          $6.00
             Operations                                           expenses (1401 W 109th Place, 638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7749-59
                                                                  S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett
                                                                  Avenue) (.3).
May 2021     Business                05/07/21 KMP             140 Communications with property managers confirming funds transfers for property expenses               0.3 0.0428571          $6.00
             Operations                                           (1401 W 109th Place, 638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7749-59 S Yates
                                                                  Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S. Bennett Avenue)
                                                                  (.3)
May 2021     Business                05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381        $1.73
             Operations
May 2021     Business                05/17/21 ED              390 prepare analysis of insurance costs and premium refunds attributable to certain properties           0.9         0.06      $23.40
             Operations                                           sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th Street, 4315-19 S Michigan Avenue, 4520-
                                                                  26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 6250 S Mozart Street, 6355-59 S Talman
                                                                  Avenue, 6357-59 S Talman, 6749-59 S Merrill Avenue, 7300-04 S St Lawrence Avenue, 7442-
                                                                  54 S Calumet Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7749-59 S Yates
                                                                  Boulevard, 816-22 E Marquette Road, 8201 S Kingston Avenue) (.9)

May 2021     Business                05/17/21 ED              390 review of related correspondence and documents from insurance agent and accountant                   0.7 0.0466667         $18.20
             Operations                                           (1131-41 E 79th Place, 2453-59 E 75th Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel
                                                                  Boulevard, 4533-47 S Calumet Avenue, 6250 S Mozart Street, 6355-59 S Talman Avenue,
                                                                  6357-59 S Talman, 6749-59 S Merrill Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S
                                                                  Calumet Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7749-59 S Yates
                                                                  Boulevard, 816-22 E Marquette Road, 8201 S Kingston Avenue) (.7)




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2021     Business                05/17/21 ED              390 reply to email correspondence from accountant regarding calculation of insurance                      0.4 0.0097561          $3.80
             Operations                                           reconciliation amounts for properties sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th
                                                                  Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                  6250 S Mozart Street, 6355-59 S Talman Avenue, 6357-59 S Talman, 6749-59 S Merrill
                                                                  Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue,
                                                                  7546-48 S Saginaw Avenue, 7749-59 S Yates Boulevard, 816-22 E Marquette Road, 8201 S
                                                                  Kingston Avenue, 8047-55 S Manistee Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                  Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                  Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                  8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S
                                                                  Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham
                                                                  Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue,
                                                                  7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                  Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 6949-59 S Merrill Avenue,
                                                                  7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4).


June 2021    Asset                   06/16/21 KBD             390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                    0.2         0.05      $19.50
             Disposition
June 2021    Asset                   06/14/21 JR              140 review information related to property sales and proceed amounts and confer with K.                   1.4          1.4     $196.00
             Disposition                                          Pritchard and K. Duff regarding discrepancy related to net proceeds (7749-59 S Yates
                                                                  Boulevard) (1.4).
June 2021    Asset                   06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property           0.4          0.1      $14.00
             Disposition                                          spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                  Avenue, 7051 S Bennett Avenue) (.4).
June 2021    Business                06/01/21 ED              390 Update list of insurance policy endorsements needed to complete reconciliation of costs for           0.9 0.0219512          $8.56
             Operations                                           properties sold in 2020 and email correspondence with insurance agent to request additional
                                                                  backup (8407-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue,
                                                                  7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                                  Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                                  Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                                  8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                                  Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                  Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                                  44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                                  Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                  Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                  Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                  Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                  Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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7749-59 S Yates Boulevard                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2021    Business                06/03/21 ED          390 email correspondence with insurance agent regarding insurance refunds for sold properties              0.1    0.002439       $0.95
             Operations                                       (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                              Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                              Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                              Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                              8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                              Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                              Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                              44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                              Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                              Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                              Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                              Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                              Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.1).


June 2021    Business                06/22/21 ED          390 Email correspondence to insurance agent following up on missing documentation regarding                0.2    0.004878       $1.90
             Operations                                       refunds for prepaid premium amounts relating to properties sold in 2020 (8047-55 S
                                                              Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                              Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                              8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                              Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                              02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                              11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                              59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                              Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                              Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                              7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                              Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                              4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                              58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021    Business                06/25/21 ED          390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619         $1.86
             Operations                                       and forward to accountant for use in preparation of reports (.5)




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
June 2021    Business                06/25/21 ED              390 email correspondence to J. Rak regarding review and analysis of additional insurance                0.2 0.0074074         $2.89
             Operations                                           documentation as received (7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                                  Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                                  Boulevard, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                  Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 2736-44 W 64th Street, 5618-20
                                                                  S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S
                                                                  Constance Avenue, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue,
                                                                  7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S
                                                                  Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                  Kingston Avenue, 1131-41 E 79th Place) (.2).

July 2021    Asset                   07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                0.2 0.0018868         $0.26
             Disposition                                          regarding closed properties status (see D) (.2)
July 2021    Business                07/01/21 ED              390 confer with J. Rak regarding follow-up to obtain missing data (7749-59 S Yates Boulevard,           0.1 0.0028571         $1.11
             Operations                                           6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston
                                                                  Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                  7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                  Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                  7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                                  Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                  California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-07 S
                                                                  Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue,
                                                                  816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                  Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                  Place) (.1).

July 2021    Business                07/01/21 ED              390 Update analysis of insurance adjustments relating to sold properties (7749-59 S Yates               0.2 0.0057143         $2.23
             Operations                                           Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                  S Kingston Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S
                                                                  Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                  8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                  St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                  Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King
                                                                  Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-
                                                                  07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet
                                                                  Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue,
                                                                  4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-
                                                                  41 E 79th Place) (.2)




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2021    Business                07/21/21 JR              140 Exchange correspondence with account analyst regarding various property insurance                     0.3 0.0073171         $1.02
             Operations                                           endorsements related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates
                                                                  Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                  S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                  Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                  Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                  8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St
                                                                  Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett
                                                                  Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                  Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                  58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                  Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                  E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                  Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                  Place, 6250 S Mozart Street).


July 2021    Business                07/22/21 JR              140 Review property insurance endorsements and communicate with account analyst regarding                 0.7 0.0170732         $2.39
             Operations                                           various property insurance missing endorsements related to sold properties and request
                                                                  production of same (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                  Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                  4520- 26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                  Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                  7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                  Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                  7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                  Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                  California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                  Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                  431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                  Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                  7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                  Street).




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2021    Business                07/23/21 JR              140 Exchange correspondence with account analyst regarding requested property insurance                    0.5 0.0119048         $1.67
             Operations                                           endorsements for sold properties in 2020, review requested endorsements and save in
                                                                  electronic files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates
                                                                  Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520-
                                                                  26 S Drexel Boulevard, 8201 S Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                  Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                  Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                  8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                  St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                  Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman Avenue, 6356 S
                                                                  California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                  Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                  Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E
                                                                  Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston
                                                                  Avenue, 7656-58 S Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250
                                                                  S Mozart Street).


August 2021 Business                 08/16/21 JR              140 Review email from E. Duff related to property endorsements regarding 2020 property                     0.4 0.0097561         $1.37
            Operations                                            insurance, update same and send all endorsements received from accounting firm (8047-55
                                                                  S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                  Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                  8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                  Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                  02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                  11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59
                                                                  S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                  Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                  Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                  7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                  Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                  4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                  58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.4)




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7749-59 S Yates Boulevard                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
August 2021 Business                 08/25/21 ED              390 email correspondence to accountant regarding insurance cost allocation to reflect                      0.2 0.0055556         $2.17
            Operations                                            adjustments related to property sales, and completion of final 2020 accounting reports (1131-
                                                                  41 E 79th Place, 1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street,
                                                                  4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-
                                                                  52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S
                                                                  Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill
                                                                  Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07
                                                                  S Dorchester Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S
                                                                  Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S Yates
                                                                  Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette Road, 8000-
                                                                  02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                                  Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-32 S
                                                                  Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                                  Aberdeen Street) (.2).

September Business                   09/03/21 JR              140 Review property reports and update reimbursable amounts, and related correspondence                    2.4 0.0585366         $8.20
2021      Operations                                              with E. Duff and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                  Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                  4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                  Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                  7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                  Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                  7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                  Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                  California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                  Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                  431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                  Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                  7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                  Street).




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7749-59 S Yates Boulevard                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
September Business                   09/10/21 ED              390 Call with accountant to discuss accounting treatment of insurance costs for sold properties          0.5 0.0138889         $5.42
2021      Operations                                              (1131-41 E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th
                                                                  Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                  5450-52 S Indiana Avenue, 5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-
                                                                  59 S Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S
                                                                  Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue,
                                                                  7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence Avenue, 7442-54 S Calumet Avenue,
                                                                  7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S
                                                                  Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette
                                                                  Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                                  22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                  Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).


September Business                   09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with           0.3 0.0065217         $0.72
2021      Operations                                              the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                  Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                  Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                  1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                  Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                  Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                  06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                  Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                  Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                  Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                  Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                     09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                  0.8 0.0089888         $1.26
2021      Administration
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                         6437-41 S Kenwood Avenue
General Allocation % (Pre 01/29/21):                                                 1.7781520%
General Allocation % (01/29/21 Onward, Claims Only):                            1.9107470474%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     6        6437-41 S Kenwood Avenue                                                     70.70      $             19,134.11                           68.40    $            18,315.27             139.09     $             37,449.37
                 Asset Disposition [4]                                                        3.74    $                 1,224.38                         38.51   $             10,132.43               42.25   $              11,356.81
                 Business Operations [5]                                                      3.76    $                 1,130.26                         24.40   $               7,122.61              28.16   $                  8,252.88
                 Claims Administration & Objections [6]                                     63.20     $              16,779.46                            5.48   $               1,060.22              68.68   $              17,839.68




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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6437-41 S Kenwood Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    68.40
Specific Allocation Fees:         $       18,315.27



   Invoice                                             Time                                                                                                                      Allocated    Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                       Task Hours
   Month                                              Keeper                                                                                                                       Hours         Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                        1.7       0.025        $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)             0.4 0.0037736          $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash               0.3 0.0044118          $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                      0.3 0.0044118          $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property                  0.7 0.0066038          $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management                  0.6 0.0056604          $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 office conference with A. Porter and N. Mirjanich regarding City counsel communications (.2)          0.2 0.0285714         $11.14
            Operations
August 2018 Business                      08/27/18 KBD           390 exchange correspondence with N. Mirjanich regarding court cases and counsel (.2)                      0.2 0.0285714         $11.14
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                      0.1 0.0014925          $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                      1.5 0.0220588          $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 conference with and study correspondence from N. Mirjanich regarding litigation status and            0.3         0.06      $23.40
            Operations                                               communications with counsel (.3)
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                   0.1 0.0014925          $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                    0.2 0.0018692          $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                        0.8 0.0075472          $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                      0.9 0.0084906          $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                           0.1 0.0014925          $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                               0.2 0.0029412          $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                            0.2 0.0029412          $1.15
            Operations




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                         Hours         Fees
August 2018 Business               08/28/18 KBD         390 telephone conference with counsel for property manager (.2)                                             0.2 0.0029412          $1.15
            Operations
August 2018 Business               08/28/18 KBD         390 study and revise proposed order from property manager's counsel (.3)                                    0.3 0.0044118          $1.72
            Operations
August 2018 Business               08/28/18 KBD         390 office conference with A. Porter regarding same (.1)                                                    0.1 0.0014706          $0.57
            Operations
August 2018 Business               08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management                  0.4 0.0037736          $1.47
            Operations                                      issues (.4)
August 2018 Business               08/29/18 KBD         390 office conference with N. Mirjanich regarding housing court hearings and status of                      0.2      0.0125        $4.88
            Operations                                      communications with City counsel regarding alleged property violation issues (.2)

August 2018 Business               08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash                0.2 0.0029851          $1.16
            Operations                                      flow (.2)
August 2018 Business               08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                                  0.3 0.0028302          $1.10
            Operations
August 2018 Business               08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)                  0.1 0.0009434          $0.37
            Operations
August 2018 Business               08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                     0.2 0.0029412          $1.15
            Operations                                      with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business               08/31/18 KBD         390 conference with property manager regarding property management and compensation                         0.9 0.0132353          $5.16
            Operations                                      issues (.9)
August 2018 Business               08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)                  0.7 0.0102941          $4.01
            Operations
August 2018 Business               08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                       0.7 0.0066038          $2.58
            Operations
August 2018 Asset                  08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study             0.5    0.004717        $1.23
            Disposition                                     emails regarding same.
August 2018 Business               08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                      2.0 0.0294118         $11.47
            Operations                                      properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business               08/23/18 AEP         390 teleconference with EquityBuild employee regarding need to pay property tax arrearages to               0.5 0.0294118         $11.47
            Operations                                      ensure passage of CHA inspections, building code violations, and other pressing issues (.5).

August 2018 Business               08/23/18 NM          260 Study correspondence and documents from one of EquityBuild's attorneys regarding                        2.0 0.1333333         $34.67
            Operations                                      pending lawsuits and court appearances and appear on behalf of EquityBuild to stay
                                                            litigation in Stewart case and in housing cases.
August 2018 Business               08/24/18 AEP         390 conferences with N. Mirjanich and E. Duff regarding status of building code violation actions,          0.5     0.03125       $12.19
            Operations                                      contact with institutional lenders, and outstanding insurance invoices (.5)

August 2018 Business               08/27/18 NM          260 appear for administrative hearing in City of Chicago v. 6437 S Kenwood LLC matter and                   1.8          1.8     $468.00
            Operations                                      correspond with City of Chicago attorney and K. Duff regarding same (1.8)




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                      Keeper                                                                                                                      Hours         Fees
August 2018 Business               08/27/18 NM          260 address matters relating to pending EquityBuild litigation including corresponding with              2.5 0.3571429         $92.86
            Operations                                      EquityBuild attorneys, corresponding with property management company regarding same,
                                                            correspond with K. Duff regarding same and other litigation matters including hearings on
                                                            August 28, 2018 (2.5)
August 2018 Business               08/28/18 AEP         390 conference with N. Mirjanich regarding status of building code violation actions (.2).               0.2 0.0285714         $11.14
            Operations
August 2018 Business               08/28/18 NM          260 study correspondence from EquityBuild attorneys regarding status of pending litigation and           1.6         0.32      $83.20
            Operations                                      correspond with K. Duff regarding same and update spreadsheet with same (1.6)

August 2018 Business               08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925          $0.39
            Operations
August 2018 Business               08/29/18 NM          260 correspond with A. Watychowicz regarding City of Chicago administrative matters and                  0.2      0.0125        $3.25
            Operations                                      EquityBuild attorney (.2)
August 2018 Business               08/29/18 NM          260 study correspondence and documents relating to status of pending EquityBuild litigation and          1.3     0.08125       $21.13
            Operations                                      revise summary chart accordingly (1.3)
August 2018 Business               08/29/18 NM          260 correspond with K. Duff regarding City of Chicago housing and administrative matters (.2)            0.2      0.0125        $3.25
            Operations
August 2018 Business               08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729          $1.82
            Operations
August 2018 Business               08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729          $1.82
            Operations                                      regarding necessity of funding continuing operations at all properties, and additional
                                                            financial issues relating to EquityBuild (.5).
August 2018 Business               08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187          $5.47
            Operations                                      functions being performed, scope of assets under management, and immediate action items
                                                            (1.5)
August 2018 Claims                 08/29/18 MR          390 Attention to various lender issues and strategies for same and conferences with lender and           1.5       0.375      $146.25
            Administration                                  draft email and follow up review of various issues raised during call.
            & Objections

August 2018 Claims                 08/30/18 MR          390 Review emails and materials from creditor and conferences with creditor on various issues            0.6         0.15      $58.50
            Administration                                  (.6)
            & Objections

August 2018 Claims                 08/30/18 MR          390 conferences with E. Duff regarding same (.3).                                                        0.3       0.075       $29.25
            Administration
            & Objections

August 2018 Claims                 08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)           0.2 0.0029412          $1.15
            Administration
            & Objections

September Asset                    09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference               0.4 0.0037383          $1.46
2018      Disposition                                       with M. Rachlis regarding same (.4)


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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                    Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                      Keeper                                                                                                                     Hours        Fees
September   Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                   0.1 0.0009346         $0.36
2018        Disposition
September   Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related          0.1 0.0009346         $0.36
2018        Disposition                                     information.
September   Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                      0.1 0.0009346         $0.36
2018        Disposition
September   Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                0.2 0.0018692         $0.73
2018        Disposition
September   Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                    0.1 0.0009346         $0.36
2018        Disposition
September   Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                    0.1 0.0009346         $0.36
2018        Disposition
September   Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                  0.1 0.0009346         $0.36
2018        Disposition                                     brokers (.1).
September   Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                  0.1 0.0009346         $0.36
2018        Disposition                                     reports.
September   Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).             0.1 0.0014925         $0.58
2018        Operations
September   Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                      0.6 0.0088235         $3.44
2018        Operations
September   Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                 0.4 0.0058824         $2.29
2018        Operations
September   Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                  0.5 0.0073529         $2.87
2018        Operations                                      same (.5)
September   Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                   0.1 0.0014706         $0.57
2018        Operations
September   Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management               0.5    0.004717       $1.84
2018        Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September   Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                 0.4 0.0058824         $2.29
2018        Operations                                      letter agreement with property manager (.4)
September   Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                               0.5 0.0073529         $2.87
2018        Operations
September   Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                     0.4 0.0058824         $2.29
2018        Operations                                      structure (.4)
September   Business               09/07/18 KBD         390 study correspondence from N. Mirjanich and property manager and office conferences with             0.6 0.0461538        $18.00
2018        Operations                                      N. Mirjanich regarding various housing and building violation actions (.6)

September   Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding               0.7 0.0066038         $2.58
2018        Operations                                      receivership and property issues (.7)
September   Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                     0.7 0.0066038         $2.58
2018        Operations




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                        Hours         Fees
September   Business               09/09/18 KBD         390 Revise agreement with property manager.                                                                0.3 0.0044118          $1.72
2018        Operations
September   Business               09/10/18 KBD         390 revise compensation structure (.4)                                                                     0.4 0.0058824          $2.29
2018        Operations
September   Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                     0.5 0.0073529          $2.87
2018        Operations                                      compensation structure and prospective property improvements (.5)
September   Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                         0.1 0.0014925          $0.58
2018        Operations                                      compensation (.1)
September   Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645          $9.11
2018        Operations
September   Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692          $0.73
2018        Operations
September   Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412          $1.15
2018        Operations
September   Business               09/11/18 KBD         390 office conference with N. Mirjanich regarding hearing in law division case, city code                  0.8         0.08      $31.20
2018        Operations                                      violations, investigation into transactions, property manager's estimate to repair and
                                                            improve properties to address code violations, and preparation of claims process motion and
                                                            receivership status report (.8)
September   Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701          $2.33
2018        Operations                                      overall portfolio and property values (.4)
September   Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118          $1.72
2018        Operations
September   Business               09/17/18 KBD         390 Office conferences with N. Mirjanich regarding property violation notices and hearings                 0.4         0.04      $15.60
2018        Operations                                      relating to same (.4)
September   Business               09/17/18 KBD         390 study and revise correspondence to city attorney regarding various housing court cases and             0.2         0.02       $7.80
2018        Operations                                      office conference with N. Mirjanich regarding same (.2)
September   Business               09/17/18 KBD         390 further office conference with N. Mirjanich regarding property management, and violation               0.4         0.04      $15.60
2018        Operations                                      notices, repair work, and hearings (.4)
September   Business               09/17/18 KBD         390 study and revise correspondence regarding same (.2)                                                    0.2         0.02       $7.80
2018        Operations
September   Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346          $0.36
2018        Operations                                      estate firm representatives (.1)
September   Business               09/18/18 KBD         390 draft correspondence to and office conference with N. Mirjanich regarding property                     0.4 0.0307692         $12.00
2018        Operations                                      violation notices and municipal court and housing court matters (.4)
September   Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717        $1.84
2018        Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                            efforts (.5)
September   Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434          $0.37
2018        Operations                                      (.1)
September   Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346          $0.36
2018        Operations                                      same (.1)
September   Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262          $7.65
2018        Operations


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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                      Keeper                                                                                                                        Hours        Fees
September   Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018        Operations
September   Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018        Disposition
September   Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018        Disposition
September   Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018        Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                            brokerage firms (1.9).
September   Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018        Disposition
September   Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018        Disposition
September   Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018        Disposition
September   Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018        Disposition                                     when they will be ready (.1)
September   Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018        Disposition
September   Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018        Disposition
September   Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018        Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                            production.
September   Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346         $0.36
2018        Disposition                                     statements for production to potential brokerage.
September   Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                 0.3 0.0028037         $1.09
2018        Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                            documentation.
September   Business               09/05/18 AEP         390 Conference with N. Mirjanich to inventory and track status of all properties with pending              1.1 0.0916667        $35.75
2018        Operations                                      building code violations (1.1)
September   Business               09/05/18 NM          260 telephone conference with A. Porter and attorney regarding status of admin matter and                  0.2 0.0166667         $4.33
2018        Operations                                      property and lawsuits (.2)
September   Business               09/05/18 NM          260 revise spreadsheet of pending City of Chicago litigation and study documents and                       1.0 0.0833333        $21.67
2018        Operations                                      correspondence from property managers and documents provided by EB attorney regarding
                                                            same (1.0)
September   Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of           0.6 0.0089552         $3.49
2018        Operations                                      documents received regarding same (.6).
September   Business               09/07/18 NM          260 draft correspondence regarding status of pending litigation to City of Chicago administrative          2.9 0.2230769        $58.00
2018        Operations                                      attorneys and exchange correspondence with property managers regarding same, update
                                                            chart of pending litigation regarding same (2.9)
September Business                 09/08/18 AEP         390 Review all correspondence and documents associated with notices of violation filed against             0.3 0.0230769         $9.00
2018      Operations                                        EquityBuild properties.


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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                      Keeper                                                                                                                      Hours         Fees
September   Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding               0.7 0.0104478          $4.07
2018        Operations                                      same (.7);
September   Business               09/11/18 NM          260 update spreadsheet of property manager's matters and study correspondence from property              0.3       0.075       $19.50
2018        Operations                                      manager regarding same (.3)
September   Business               09/12/18 AEP         390 teleconference with N. Mirjanich and property manager regarding prioritization of                    0.4         0.04      $15.60
2018        Operations                                      improvements directed to remedying building code violations (.4)
September   Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                0.4 0.0037383          $1.46
2018        Operations                                      distribution (.4).
September   Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                 0.3 0.0028037          $1.09
2018        Operations                                      with prospective brokers (.3)
September   Business               09/17/18 AEP         390 Conference call with N. Mirjanich and property manager regarding overview of all                     1.1         0.11      $42.90
2018        Operations                                      administrative and housing court matter (1.1)
September   Business               09/17/18 NM          260 exchange correspondence with attorneys regarding property status, open building code                 3.7         0.37      $96.20
2018        Operations                                      violations, upcoming court dates, and repairs necessary to address same and to preserve
                                                            property, correspond with K. Duff and A. Porter regarding same, study spreadsheets from
                                                            property managers regarding same, revise internal spreadsheet regarding same and asset
                                                            preservation (3.7).
September Business                 09/18/18 NM          260 update spreadsheet pertaining to open City of Chicago lawsuits and property preservation             1.3          0.1      $26.00
2018      Operations                                        for same, study notes and emails from property managers and City attorneys for same and
                                                            correspond with K. Duff regarding same and potential new lawsuit filed against EB since
                                                            receivership appointment (1.3).
September   Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                 0.2 0.0018692          $0.49
2018        Operations                                      other expenses/money coming into receivership (.2)
September   Business               09/25/18 NM          260 update spreadsheet regarding open City of Chicago matters and property preservation (.1)             0.1 0.0090909          $2.36
2018        Operations
September   Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                    0.1 0.0009434          $0.25
2018        Operations
September   Claims                 09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information              0.6 0.0074074          $1.93
2018        Administration                                  and draft notice letter for same (.6)
            & Objections

October     Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383          $1.46
2018        Disposition                                     properties and debt ratio (.4).
October     Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729          $1.82
2018        Disposition
October     Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411         $12.03
2018        Disposition
October     Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336          $9.84
2018        Disposition                                     (2.7)
October     Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421          $2.55
2018        Disposition
October     Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112          $3.28
2018        Disposition


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  Invoice                                     Time                                                                                                                 Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                      Keeper                                                                                                                  Hours        Fees
October     Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                             0.1 0.0009346         $0.36
2018        Disposition
October     Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                               1.7 0.0158879         $6.20
2018        Disposition
October     Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                         0.1 0.0009346         $0.36
2018        Disposition
October     Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                            0.7 0.0065421         $2.55
2018        Disposition
October     Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                 0.2 0.0018692         $0.73
2018        Disposition
October     Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                         2.1 0.0196262         $7.65
2018        Disposition
October     Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                  0.9 0.0084112         $3.28
2018        Disposition
October     Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                0.2 0.0018692         $0.73
2018        Disposition
October     Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                 0.9 0.0084112         $3.28
2018        Disposition
October     Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                             0.5 0.0046729         $1.82
2018        Disposition
October     Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement            0.7 0.0065421         $2.55
2018        Disposition                                     terms and further background information(.7)
October     Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                          0.8 0.0074766         $2.92
2018        Disposition
October     Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same             0.3 0.0028037         $1.09
2018        Disposition                                     (.3)
October     Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)              1.5 0.0140187         $5.47
2018        Disposition
October     Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                0.2 0.0018692         $0.73
2018        Disposition                                     regarding engagement of broker (.2)
October     Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                             0.1 0.0009346         $0.36
2018        Disposition
October     Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                             0.6 0.0056075         $2.19
2018        Disposition
October     Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key          2.1 0.0196262         $7.65
2018        Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October     Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                            0.1 0.0009346         $0.36
2018        Disposition
October     Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                   0.1 0.0009346         $0.36
2018        Disposition
October     Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.               0.1 0.0009346         $0.36
2018        Disposition


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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                    Allocated    Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                      Keeper                                                                                                                     Hours         Fees
October     Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692          $0.73
2018        Operations                                      and tenant evictions (.2)
October     Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434          $0.37
2018        Operations                                      regarding scofflaw list (.1)
October     Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736          $1.47
2018        Operations                                      property managers (.4)
October     Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118          $1.72
2018        Operations                                      court, and confirmation of accounting for rents (.3)
October     Business               10/09/18 KBD         390 study property manager regarding streets and sanitation correspondence from city regarding          0.1         0.05      $19.50
2018        Operations                                      unpaid water bills and draft correspondence to K. Pritchard regarding same (.1).

October     Business               10/09/18 KBD         390 study correspondence from N. Mirjanich and violation notices (.1)                                   0.1         0.05      $19.50
2018        Operations
October     Business               10/10/18 KBD         390 review correspondence from N. Mirjanich and property manager regarding property                     0.1          0.1      $39.00
2018        Operations                                      violation issues (6437 Kenwood) (.1)
October     Business               10/11/18 KBD         390 Office conferences with and study correspondence from N. Mirjanich regarding housing                0.5 0.0192308          $7.50
2018        Operations                                      court matters (.5)
October     Business               10/12/18 KBD         390 study spreadsheet of open city housing and property matters from N. Mirjanich (.3)                  0.3 0.0115385          $4.50
2018        Operations
October     Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118          $1.72
2018        Operations
October     Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706         $10.32
2018        Operations
October     Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692          $0.73
2018        Operations
October     Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706          $0.57
2018        Operations
October     Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118          $1.72
2018        Operations
October     Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925          $0.58
2018        Operations
October     Business               10/23/18 KBD         390 study correspondence from property manager regarding property repair issues (.1)                    0.1       0.025        $9.75
2018        Operations
October     Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346          $0.36
2018        Operations                                      properties (.1)
October     Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)               0.9 0.0084906          $3.31
2018        Administration
            & Objections

October     Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)              0.2 0.0018692          $0.73
2018        Administration
            & Objections




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                        Hours        Fees
October     Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018        Disposition
October     Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018        Disposition                                     firms.
October     Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018        Disposition
October     Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018        Disposition
October     Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018        Disposition
October     Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018        Disposition                                     payments and sale of same, and property database.
October     Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018        Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October     Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018        Disposition
October     Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018        Disposition                                     agreement and upcoming receivership tasks.
October     Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018        Disposition                                     agent (1.5).
October     Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018        Disposition                                     Duff and M. Rachlis.
October     Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018        Disposition
October     Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018        Disposition
October     Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018        Disposition
October     Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018        Disposition
October     Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018        Disposition
October     Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018        Disposition
October     Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018        Disposition                                     retained broker (.1)
October     Asset                  10/12/18 NM          260 Prepare for meeting with broker by updating spreadsheet regarding open City of Chicago                 1.2 0.0461538        $12.00
2018        Disposition                                     litigation matters and create folders for bids and other documents provided by the property
                                                            managers to address compliance with violations (1.2)


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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                  Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                      Keeper                                                                                                                   Hours        Fees
October     Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                2.1 0.0196262         $5.10
2018        Disposition                                     engagement (2.1).
October     Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                  1.5 0.0223881         $8.73
2018        Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October     Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.          2.0 0.0186916         $7.29
2018        Disposition
October     Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                        0.1 0.0014925         $0.21
2018        Disposition
October     Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                0.1 0.0014925         $0.21
2018        Disposition
October     Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                         0.1 0.0009346         $0.13
2018        Disposition
October     Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for               2.1 0.0196262         $7.65
2018        Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October     Business               10/10/18 NM          260 prepare for housing court on October 11, 2018 (.4)                                                0.4 0.0153846         $4.00
2018        Operations
October     Business               10/11/18 AW          140 attention to email from N. Mirjanich regarding scheduled hearing in housing court (.1)            0.1 0.0038462         $0.54
2018        Operations
October     Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,          2.0 0.0186916         $4.86
2018        Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                            property manager regarding same and lender requests (2.0)
October     Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                            0.1 0.0009346         $0.13
2018        Operations
October     Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                0.1 0.0009346         $0.13
2018        Operations
October     Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                   0.1 0.0014925         $0.21
2018        Operations
October     Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                     0.5 0.0046729         $1.82
2018        Administration
            & Objections

November    Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                    0.6 0.0088235         $3.44
2018        Operations
November    Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                0.4 0.0058824         $2.29
2018        Operations
November    Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial           0.1 0.0009346         $0.36
2018        Operations                                      reporting and communications with asset manager (.1).
November    Business               11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and            0.2 0.0024691         $0.96
2018        Operations                                      servicing agreements (.2)




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                        Hours         Fees
November    Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925          $0.58
2018        Administration
            & Objections

November    Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851          $1.16
2018        Administration                                  lenders (.2).
            & Objections

November    Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729          $1.82
2018        Operations
November    Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692          $0.73
2018        Operations                                      property inspections by lenders (.2)
November    Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                              0.3 0.0028037          $1.09
2018        Operations
November    Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                 0.7 0.0065421          $2.55
2018        Operations                                      related issues (.7)
December    Business               12/05/18 KBD         390 study correspondence from N. Mirjanich regarding city litigation and analysis of same (.2).            0.2 0.0090909          $3.55
2018        Operations
December    Business               12/06/18 KBD         390 Study and revise draft correspondence to city counsel regarding property repairs, housing              0.1 0.0045455          $1.77
2018        Operations                                      court matters, and permit issues and office conference with N. Mirjanich regarding same (.1)

December    Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434          $0.37
2018        Operations
December    Business               12/11/18 KBD         390 review correspondence from N. Mirjanich regarding trash violation notices (.1)                         0.1         0.05      $19.50
2018        Operations
December    Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736          $1.47
2018        Operations                                      representatives regarding property portfolio (.4)
December    Business               12/12/18 KBD         390 study correspondence from property manager regarding property violation fines (.1)                     0.1         0.05      $19.50
2018        Operations
December    Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038          $2.58
2018        Operations
December    Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529          $2.87
2018        Operations
December    Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706          $0.57
2018        Operations
December    Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509          $5.52
2018        Operations                                      repair planning, and receivership activities (1.5)
December    Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383          $1.46
2018        Operations
December    Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346          $0.36
2018        Operations
December    Business               12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706          $0.57
2018        Operations                                      reporting (.1)


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  Invoice                                     Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                         Hours         Fees
December    Business               12/14/18 KBD         390 exchange correspondence and office conference with N. Mirjanich regarding follow up                     0.3 0.0428571         $16.71
2018        Operations                                      communication to counsel for city (.3)
December    Business               12/14/18 KBD         390 study correspondence from N. Mirjanich regarding administrative and housing issues (.2)                 0.2 0.0285714         $11.14
2018        Operations
December    Business               12/14/18 KBD         390 study correspondence from N. Mirjanich, property manager, and counsel for city regarding                0.2          0.2      $78.00
2018        Operations                                      heat complaint (6437 Kenwood) (.2)
December    Business               12/16/18 KBD         390 Review correspondence from M. Rachlis regarding communication with counsel for city                     0.1 0.0142857          $5.57
2018        Operations                                      regarding plan for property repairs.
December    Business               12/17/18 KBD         390 review correspondence from N. Mirjanich and city counsel regarding meeting with city                    0.2 0.0285714         $11.14
2018        Operations                                      counsel and action plan for property repairs (.2)
December    Business               12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706          $0.57
2018        Operations
December    Business               12/18/18 KBD         390 exchange correspondence with N. Mirjanich and property manager regarding heat complaint                 0.2          0.2      $78.00
2018        Operations                                      (.2).
December    Business               12/19/18 KBD         390 study correspondence from property manager, N. Mirjanich, and city counsel regarding                    0.1          0.1      $39.00
2018        Operations                                      boiler repair and heat compliance (.1)
December    Business               12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434          $0.37
2018        Operations
December    Business               12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151         $10.30
2018        Operations                                      issues (2.8)
December    Business               12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302          $0.74
2018        Operations
December    Business               12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642          $3.19
2018        Operations                                      to address City violations and his plan for same (1.3)
December    Business               12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868          $0.26
2018        Operations
December    Business               12/12/18 MR          390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019         $11.04
2018        Operations                                      with K. Duff and N. Mirjanich.
December    Business               12/12/18 NM          260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018        Operations                                      removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                            properties with violations (1.5)
December    Business               12/12/18 NM          260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018        Operations                                      Rachlis and K. Duff regarding same (2.5)
December    Business               12/16/18 MR          390 Attention to email to City (.3)                                                                         0.3 0.0428571         $16.71
2018        Operations
December    Business               12/18/18 KMP         140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706          $0.21
2018        Operations                                      income from property manager and conference with K. Duff regarding same.

December    Business               12/19/18 NM          260 Study and respond to outstanding emails regarding Court docket entries, creditor invoices,              1.2          0.1      $26.00
2018        Operations                                      City litigation and updates to properties from property managers and City attorneys,
                                                            outstanding water debt and correspondence from City attorneys and with K. Duff on same,
                                                            EB counsel regarding motion to lift stay in personal injury case, emails in EB account (1.2)




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  Invoice                                         Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
December    Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                     1.9 0.0218391          $2.40
2018        Operations                                          properties with respective management companies in charge of their water bill payments
                                                                and reported findings to N. Mirjanich.
December    Claims                 12/17/18 NM              260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding                1.8 0.0222222          $5.78
2018        Administration                                      lender statements of accounts and EB funding reports and analysis and record-keeping of
            & Objections                                        same (1.8)

January     Business               01/10/19 KBD             390 study property management report (.2)                                                                  0.2 0.0029412          $1.15
2019        Operations
January     Business               01/10/19 KBD             390 study property manager financial reporting (.4).                                                       0.4 0.0059701          $2.33
2019        Operations
January     Business               01/11/19 KBD             390 study property manager financial reporting and draft correspondence to property manager                0.3 0.0044118          $1.72
2019        Operations                                          regarding same (.3)
January     Business               01/15/19 KBD             390 study financial reporting from other property manager (.3).                                            0.3 0.0044118          $1.72
2019        Operations
January     Business               01/15/19 KBD             390 study correspondence from city official regarding request for meeting (.1)                             0.1 0.0009434          $0.37
2019        Operations
January     Business               01/22/19 KBD             390 Confer with and draft correspondence to N. Mirjanich regarding numerous property repair                0.8 0.1142857         $44.57
2019        Operations                                          issues and planning (.8)
January     Business               01/22/19 KBD             390 exchange correspondence with M. Rachlis regarding same (.1)                                            0.1 0.0142857          $5.57
2019        Operations
January     Business               01/22/19 KBD             390 study operating reports and exchange correspondence with asset manager regarding same                  0.5 0.0714286         $27.86
2019        Operations                                          (.5).
January     Business               01/22/19 KBD             390 study various correspondence from property managers and asset management firm                          0.5 0.0714286         $27.86
2019        Operations                                          representative regarding same (.5)
January     Business               01/24/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding meeting with City                 0.2 0.0018868          $0.74
2019        Operations                                          officials regarding scofflaw list (.2).
January     Business               01/25/19 KBD             390 Exchange correspondence with and N. Mirjanich property manager regarding various                       0.2         0.05      $19.50
2019        Operations                                          property repair and compliance issues (.2)
January     Business               01/25/19 KBD             390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                0.1 0.0009434          $0.37
2019        Operations                                          portfolio compliance and disposition issues (.1)
January     Business               01/16/19 KMP             140 Review online transaction history for Receivership Estate account to confirm receipt of gross          0.1 0.0014706          $0.21
2019        Operations                                          rents for December (.1)
January     Business               01/16/19 KMP             140 prepare wire transfer request for funds to property manager for property expense shortfalls            0.2 0.0029412          $0.41
2019        Operations                                          for December and communications with K. Duff regarding same (.2).

January     Business               01/17/19 NM              260 appear for administrative court for 1 streets and sanitation violation and 10 buildings court          3.3 0.3666667         $95.33
2019        Operations                                          violations (3.3).
January     Business               01/17/19 NM              260 Prepare for administrative court on 11 matters (.2)                                                    0.2 0.0222222          $5.78
2019        Operations
January     Business               01/21/19 NM              260 summarize status of outstanding City litigation and further revise spreadsheet for same (.6).          0.6         0.12      $31.20
2019        Operations




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  Invoice                                     Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                         Hours         Fees
January     Business               01/22/19 NM          260 correspond with K. Duff regarding outstanding code violations and update from                           0.6 0.0857143         $22.29
2019        Operations                                      administrative court regarding same (.6).
January     Business               01/22/19 NM          260 address pending City litigation matters by drafting correspondence providing and seeking                2.5      0.3125       $81.25
2019        Operations                                      updates from property managers regarding all administrative matters and certain housing
                                                            matters, correspond with City attorney regarding continuing status tomorrow on property
                                                            (7109 S. Calumet), draft follow-up email to City attorney, and revise spreadsheet to reflect
                                                            status of current matters (2.5)
February    Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346          $0.36
2019        Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February    Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019        Disposition
February    Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019        Disposition
February    Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019        Disposition
February    Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925          $0.58
2019        Operations
February    Business               02/05/19 KBD         390 study correspondence from N. Mirjanich regarding preparation for meeting with city officials            0.2         0.02       $7.80
2019        Operations                                      and work to address code violations and life safety issues (.2).
February    Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412          $1.15
2019        Operations
February    Business               02/06/19 KBD         390 Conference with city officials regarding property repairs and sales (1.0)                               1.0      0.0625       $24.38
2019        Operations
February    Business               02/06/19 KBD         390 conferences with M. Rachlis and N. Mirjanich regarding same (.5)                                        0.5     0.03125       $12.19
2019        Operations
February    Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383          $1.46
2019        Operations                                      (.4)
February    Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037          $1.09
2019        Operations
February    Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346          $0.36
2019        Operations
February    Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412          $1.15
2019        Operations                                      and financial information (.2)
February    Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
2019        Operations
February    Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412          $1.15
2019        Operations
February    Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346          $0.36
2019        Operations                                      issue (.1).
February    Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706          $0.57
2019        Operations




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                        Hours         Fees
February    Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                    0.1 0.0014706          $0.57
2019        Operations
February    Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                0.1 0.0009346          $0.36
2019        Operations                                      representative (.1)
February    Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                    0.1 0.0014925          $0.58
2019        Operations                                      rental income (.1)
February    Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                       0.1 0.0014706          $0.57
2019        Operations
February    Business               02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                           0.1       0.005        $1.95
2019        Operations
February    Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                  0.2 0.0029412          $1.15
2019        Operations                                      documentation (.2)
February    Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                      0.1 0.0014706          $0.57
2019        Operations
February    Business               02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real              0.6         0.03      $11.70
2019        Operations                                      estate taxes and lender communications (.6).
February    Business               02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                     0.1       0.005        $1.95
2019        Operations
February    Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                        0.1 0.0014706          $0.57
2019        Operations
February    Business               02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                    1.1       0.055       $21.45
2019        Operations
February    Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                0.1 0.0009434          $0.37
2019        Operations                                      maintenance and repairs (.1)
February    Business               02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                3.9       0.195       $76.05
2019        Operations
February    Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                  0.4 0.0059701          $2.33
2019        Operations                                      regarding real estate taxes and financial reporting (.4)
February    Business               02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                    0.2 0.0029412          $0.41
2019        Operations                                      property expenses, and communicate same to K. Duff (.2)
February    Business               02/04/19 NM          260 prepare for meeting with City of Chicago regarding property repairs and code compliance                1.7         0.17      $44.20
2019        Operations                                      (1.7)
February    Business               02/05/19 MR          390 Prepare for City meeting.                                                                              0.3         0.03      $11.70
2019        Operations
February    Business               02/05/19 NM          260 prepare for meeting with City of Chicago regarding property repairs and code compliance                0.8         0.05      $13.00
2019        Operations                                      and correspond with K. Duff and M. Rachlis regarding same (.8)
February    Business               02/06/19 AW          140 Assist counsel with preparation for meeting with City of Chicago counsel.                              0.6      0.0375        $5.25
2019        Operations
February    Business               02/06/19 MR          390 Prepare for and participate in meeting with City officials and follow up discussion regarding          2.0       0.125       $48.75
2019        Operations                                      same (2.0)
February    Business               02/06/19 NM          260 Prepare for meeting regarding property repairs and code compliance and revise and print                0.6      0.0375        $9.75
2019        Operations                                      spreadsheet highlighting efforts to address code issues for same (.6)




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Business               02/06/19 NM              260 attend meeting with City, M. Rachlis and K. Duff and correspond with M. Rachlis and K. Duff               1.5     0.09375       $24.38
2019         Operations                                          regarding same (1.5)
February     Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                          violation (.2)
February     Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                          in receivership portfolio (1.9).
February     Business               02/08/19 NM              260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015        $3.90
2019         Operations                                          property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                                 broker regarding a list of single-family home portfolio to send to same.

February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for                0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                            0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                          0.6         0.03      $11.70
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                     4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                   0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                               0.8         0.04      $15.60
2019         Operations
February     Business               02/27/19 ED              390 confer with N. Mirjanich regarding funds expended by receivership to address code                         0.2         0.04      $15.60
2019         Operations                                          violations relating to certain properties (.2)
February     Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                                   0.3 0.0028302          $1.10
2019         Operations
February     Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                               0.8 0.0119403          $1.67
2019         Operations
February     Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in                0.1 0.0014925          $0.21
2019         Operations                                          receivership (.1)
February     Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                                   0.4 0.0059701          $0.84
2019         Operations
March 2019   Asset                  03/07/19 KBD             390 Telephone conference with counsel for potential purchaser regarding future listings of                    0.1 0.0009804          $0.38
             Disposition                                         properties for sale (.1)




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
March 2019 Asset                   03/07/19 KBD             390 draft correspondence to broker same (.1)                                                             0.1 0.0009804          $0.38
           Disposition
March 2019 Business                03/01/19 KBD             390 telephone conference and office conference with N. Mirjanich regarding same (.1)                     0.1 0.0009346          $0.36
           Operations
March 2019 Business                03/01/19 KBD             390 Study correspondence from and office conference with J. Rak regarding real estate tax                0.1 0.0009346          $0.36
           Operations                                           payment issues and logistics (.1)
March 2019 Business                03/01/19 KBD             390 study spreadsheet relating to real estate taxes (.2)                                                 0.2 0.0018692          $0.73
           Operations
March 2019 Business                03/05/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding communication with              0.1 0.0009346          $0.36
           Operations                                           former counsel relating to notices of property violations (.1).

March 2019 Business                03/07/19 KBD             390 study correspondence from E. Duff regarding outstanding real estate taxes and                        0.2 0.0029412          $1.15
           Operations                                           communications with property manager (.2).
March 2019 Business                03/08/19 KBD             390 study correspondence regarding property manager financial reporting (.1).                            0.1 0.0014925          $0.58
           Operations
March 2019 Business                03/11/19 KBD             390 preparation for housing court hearings, property inspections, and communications with                0.3         0.02       $7.80
           Operations                                           property managers and city officials regarding same with N. Mirjanich (.3)

March 2019 Business                03/12/19 KBD             390 study information from property manager regarding real estate taxes and exchange                     0.2 0.0029412          $1.15
           Operations                                           correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                03/15/19 KBD             390 study property manager financial reporting (.3)                                                      0.3 0.0044118          $1.72
           Operations
March 2019 Business                03/15/19 KBD             390 study financial reporting from property manager (.4).                                                0.4 0.0058824          $2.29
           Operations
March 2019 Business                03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                    0.1 0.0014706          $0.57
           Operations
March 2019 Business                03/20/19 KBD             390 study correspondence from property manager regarding outstanding taxes and payment of                0.2 0.0166667          $6.50
           Operations                                           same from property cash flows (.2)
March 2019 Business                03/27/19 KBD             390 study correspondence from property manager and E. Duff regarding tax payment and                     0.3       0.025        $9.75
           Operations                                           analysis of same and cash position of various properties (.3).
March 2019 Claims                  03/14/19 KBD             390 study property manager financial report (.2).                                                        0.2 0.0029851          $1.16
           Administration
           & Objections

March 2019 Asset                   03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102        $1.99
           Disposition                                          process and potential substitution for current title insurer (.5)
March 2019 Asset                   03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                 2.6 0.0393939          $5.52
           Disposition                                          management company adding PIN number and the balance due as well as accrued interest
                                                                (2.6)
March 2019 Asset                   03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469          $6.77
           Disposition                                          regarding background of receivership, plan for selling receivership properties, all title
                                                                insurance and escrow needs, and availability of discounted pricing (1.7).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
March 2019 Asset                   03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,          0.2 0.0019048          $0.74
           Disposition                                          potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Business                03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                 1.5 0.0140187          $1.96
           Operations                                           spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all              1.8 0.0168224          $2.36
           Operations                                           properties in the portfolio (1.8)
March 2019 Business                03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                              0.2 0.0018692          $0.26
           Operations
March 2019 Business                03/05/19 MR              390 attention to letter on code issues (.1).                                                             0.1 0.0009346          $0.36
           Operations
March 2019 Business                03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).             0.1 0.0014706          $0.57
           Operations
March 2019 Business                03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager             0.5 0.0073529          $2.87
           Operations                                           regarding same (.5)
March 2019 Business                03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                      0.1 0.0009346          $0.24
           Operations
March 2019 Business                03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                    0.4 0.0058824          $2.29
           Operations                                           estate taxes (.4)
March 2019 Business                03/11/19 NM              260 Prepare for housing court on approximately 11 properties and administrative court on nearly          2.9 0.1933333         $50.27
           Operations                                           a half dozen others and update spreadsheets to reflect same and correspond with property
                                                                manager, City attorneys, and K. Duff regarding same.
March 2019 Business                03/13/19 NM              260 correspond with real estate broker regarding same and other properties (7760 S Coles, 8107           0.3         0.06      $15.60
           Operations                                           S Ellis, 6355 Talman, 6437 S Kenwood, and 7748 Essex) (.3)
March 2019 Business                03/14/19 ED              390 confer with N. Mirjanich regarding lender reserves available to address city violations and          0.3         0.06      $23.40
           Operations                                           issues relating to allocation of costs for lender accountings (.3)
March 2019 Business                03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same           1.8 0.0168224          $4.37
           Operations                                           (1.8)
March 2019 Business                03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692          $0.49
           Operations                                           (.2).
March 2019 Business                03/20/19 NM              260 send reporting information from property manager to accountant and save same to file (.2)            0.2 0.0029851          $0.78
           Operations
March 2019 Business                03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346          $0.13
           Operations
March 2019 Business                03/22/19 ED              390 and confer with K. Duff (.1) regarding same                                                          0.1 0.0083333          $3.25
           Operations
March 2019 Business                03/22/19 ED              390 email correspondence with property manager (.1)                                                      0.1 0.0083333          $3.25
           Operations
March 2019 Business                03/22/19 MR              390 prepare for meetings with City (.3)                                                                  0.3 0.0028302          $1.10
           Operations
March 2019 Business                03/22/19 MR              390 conference call with City, K. Duff and N. Mirjanich (.5)                                             0.5    0.004717        $1.84
           Operations
March 2019 Business                03/26/19 MR              390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868          $0.74
           Operations


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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
March 2019 Business                 03/29/19 NM              260 draft correspondence to City attorneys regarding administrative courts hearings next week              0.8          0.1      $26.00
           Operations                                            and revise spreadsheet to reflect same (.8)
April 2019 Asset                    04/17/19 KBD             390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912          $3.43
           Disposition
April 2019 Asset                    04/17/19 KBD             390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934          $2.57
           Disposition
April 2019 Business                 04/03/19 KBD             390 Study correspondence from property managers regarding amounts owed for property                        0.3         0.15      $58.50
           Operations                                            management services and exchange correspondence with E. Duff regarding same for sources
                                                                 and uses analysis (.3)
April 2019   Business               04/03/19 KBD             390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/05/19 KBD             390 exchange correspondence with property manager regarding estimated costs (.1)                           0.1 0.0014925          $0.58
             Operations
April 2019   Business               04/11/19 KBD             390 study correspondence from N. Mirjanich regarding administrative court hearing (.1).                    0.1 0.0166667          $6.50
             Operations
April 2019   Business               04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824          $2.29
             Operations
April 2019   Business               04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/23/19 KBD             390 study analyses from E. Duff regarding potential use of funds and properties with positive NOI          0.3 0.0176471          $6.88
             Operations                                          (.3).
April 2019   Business               04/24/19 KBD             390 Review planning to address housing court matters (.1)                                                  0.1 0.0111111          $4.33
             Operations
April 2019   Business               04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126          $1.14
             Operations                                          efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417          $0.76
             Operations                                          amounts (.2)
April 2019   Claims                 04/09/19 KBD             390 Study investor lender statements of account.                                                           0.5 0.0061728          $2.41
             Administration
             & Objections

April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/07/19 JR              140 Draft additional spreadsheet for outstanding delinquent balances on real estate taxes that             1.2 0.0333333          $4.67
             Disposition                                         excluded various tranches.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/08/19 JR              140 email communication with A. Porter advising of updates to real estate tax delinquencies                0.1 0.0027778          $0.39
             Disposition                                         spreadsheet (.1)
April 2019   Asset                  04/11/19 AEP             390 read all e-mail correspondence relating to pending building code violations, update property-          0.7 0.1166667         $45.50
             Disposition                                         specific closing files accordingly, and discuss status of same with N. Mirjanich (.7)

April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 read all administrative orders entered on 04/11/19 and update property-specific files                  0.8 0.1333333         $52.00
             Disposition                                         accordingly (.8)
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262          $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037          $0.39
             Operations
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,             0.3 0.0028302          $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/04/19 NM              260 exchange correspondence with City attorneys regarding administrative court cases [more                 2.0       0.125       $32.50
             Operations                                          than 25] and revise spreadsheet to reflect same (2.0)
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real                0.2 0.0028571          $1.11
             Operations                                          estate taxes.
April 2019   Business               04/10/19 NM              260 Study code violations notices sent by former EB attorney (.1)                                          0.1 0.0076923          $2.00
             Operations
April 2019   Business               04/10/19 NM              260 prepare for administrative court tomorrow by corresponding with property managers, K.                  1.5      0.1875       $48.75
             Operations                                          Duff, A. Porter and revise spreadsheet to reflect same (1.5).
April 2019   Business               04/11/19 ED              390 Review financial performance of properties with outstanding 2017 real estate taxes (.8)                0.8          0.1      $39.00
             Operations
April 2019   Business               04/11/19 NM              260 appear for administrative court, buildings and streets and sanitation, on 26 properties (4.0)          4.0          0.5     $130.00
             Operations
April 2019   Business               04/11/19 NM              260 prepare for administrative court today (.9)                                                            0.9      0.1125       $29.25
             Operations
April 2019   Business               04/11/19 NM              260 revise spreadsheet to reflect same following court and correspond with K. Duff, A. Porter,             0.9      0.1125       $29.25
             Operations                                          and property managers regarding same (.9).
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412          $1.15
             Operations


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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412          $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/15/19 NM              260 study documents relating to code violations and properties sent by former EB attorneys and             0.1 0.0076923          $2.00
             Operations                                          registered agents on entities (.1)
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486          $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111          $4.33
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333          $1.30
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222          $0.87
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667          $2.60
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
             Operations
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841          $1.83
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523          $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087       $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/22/19 NM              260 appear for streets and sanitation court and move to lift defaults on two other streets and             1.3          1.3     $338.00
             Operations                                          sanitation matters (1.3)
April 2019   Business               04/22/19 NM              260 exchange correspondence with City attorney regarding same (.1)                                         0.1          0.1      $26.00
             Operations
April 2019   Business               04/22/19 NM              260 exchange correspondence with property manager regarding same (.1)                                      0.1          0.1      $26.00
             Operations
April 2019   Business               04/23/19 ED              390 Prepare analysis of outstanding tax liabilities for properties with positive net operating             0.8         0.04      $15.60
             Operations                                          income (.8)
April 2019   Business               04/24/19 JR              140 Update and email to K. Duff real estate taxes spreadsheet reflecting additional payment                0.3          0.3      $42.00
             Operations                                          made.




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2019   Business               04/24/19 NM              260 prepare for housing court next week and exchange correspondence with property managers                0.3 0.0333333         $8.67
             Operations                                          on same (.3).
April 2019   Business               04/25/19 NM              260 revise code violations spreadsheet to reflect sales process motions and prepare for housing           1.4 0.1166667        $30.33
             Operations                                          court on 12 matters next week (1.4)
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                               0.2 0.0019802         $0.77
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                0.5 0.0046729         $0.65
             Operations
April 2019   Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                  0.8 0.0115942         $4.52
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
             Administration                                      insurance coverage (.3)
             & Objections

May 2019     Asset                  05/12/19 KBD             390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/13/19 KBD             390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                  05/13/19 KBD             390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/16/19 KBD             390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                         procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/17/19 KBD             390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                  05/20/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                  05/30/19 KBD             390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                         broker (.1)
May 2019     Asset                  05/31/19 KBD             390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business               05/01/19 KBD             390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD             390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                          replacement insurance (.1).
May 2019     Business               05/02/19 KBD             390 review with N. Mirjanich results of hearing in housing court, communications with city                0.3       0.025       $9.75
             Operations                                          officials, and plan for repairing properties (.3)
May 2019     Business               05/02/19 KBD             390 preparation with N. Mirjanich for various housing court matters (.2)                                  0.2 0.0166667         $6.50
             Operations




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                    Allocated   Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                      Keeper                                                                                                                     Hours        Fees
May 2019    Business               05/02/19 KBD         390 study correspondence from property manager regarding same (.1)                                      0.1 0.0083333         $3.25
            Operations
May 2019    Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                      0.1 0.0009709         $0.38
            Operations                                      replacement of insurance coverage (.1)
May 2019    Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                  0.2 0.0019417         $0.76
            Operations                                      insurance policies and renewals (.2).
May 2019    Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                 0.1 0.0009709         $0.38
            Operations                                      payment (.1).
May 2019    Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential               0.3 0.0029126         $1.14
            Operations                                      insurance (.3)
May 2019    Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0046154         $1.80
            Operations
May 2019    Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding            0.3 0.0029703         $1.16
            Operations                                      same (.3)
May 2019    Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                               0.9 0.0089109         $3.48
            Operations
May 2019    Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial          0.6 0.0059406         $2.32
            Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                            (.6)
May 2019    Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                           0.2 0.0029851         $1.16
            Operations
May 2019    Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                      0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)              0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                  0.2 0.0019417         $0.76
            Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019    Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                               0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                    0.2 0.0019417         $0.76
            Operations                                      property insurance renewal (.2)
May 2019    Business               05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                     0.1 0.0009709         $0.38
            Operations                                      payment (.1)
May 2019    Business               05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding              0.2 0.0019417         $0.76
            Operations                                      property insurance payment (.2)
May 2019    Business               05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                    0.2 0.0019417         $0.76
            Operations




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
May 2019    Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                       0.2 0.0018692         $0.73
            Operations
May 2019    Business               05/31/19 KBD             390 exchange correspondence with E. Duff regarding same (.1)                                               0.1 0.0015625         $0.61
            Operations
May 2019    Business               05/31/19 KBD             390 Telephone conference with property manager regarding unpaid property management                        0.3 0.0046875         $1.83
            Operations                                          expenses (.3)
May 2019    Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
            Disposition
May 2019    Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
            Disposition
May 2019    Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
            Disposition
May 2019    Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
            Disposition
May 2019    Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
            Disposition
May 2019    Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
            Disposition
May 2019    Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
            Disposition
May 2019    Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                     2.6    0.038806       $5.43
            Disposition                                         online water payment and management (2.6)
May 2019    Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                    0.2 0.0029851         $0.42
            Disposition
May 2019    Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                  0.3 0.0044776         $0.63
            Disposition                                         (.3)
May 2019    Business               05/01/19 NM              260 prepare for administrative housing court matters next week and correspond with property                1.0 0.0833333        $21.67
            Operations                                          manager and City attorneys regarding same (1.0).
May 2019    Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax           2.3 0.0214953         $3.01
            Operations                                          sale (2.3)
May 2019    Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                       0.8 0.0074766         $1.05
            Operations
May 2019    Business               05/02/19 NM              260 revise spreadsheet to reflect same and correspond with property managers regarding same                1.3 0.1083333        $28.17
            Operations                                          (1.3).
May 2019    Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                           0.4 0.0038835         $1.51
            Operations
May 2019    Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                      0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                               0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                                0.1 0.0015385         $0.60
            Operations




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                  Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                      Keeper                                                                                                                   Hours         Fees
May 2019    Business               05/03/19 ED          390 email correspondence with property manager (.5)                                                   0.5 0.0076923          $3.00
            Operations
May 2019    Business               05/03/19 ED          390 and K. Pritchard (.1) regarding signing application documents and sending to broker               0.1 0.0009709          $0.38
            Operations
May 2019    Business               05/03/19 KMP         140 forward executed policy documents to broker (.1).                                                 0.1 0.0009709          $0.14
            Operations
May 2019    Business               05/03/19 KMP         140 Compile documents for general liability and umbrella insurance policy renewals and                0.2 0.0019417          $0.27
            Operations                                      conferences with K. Duff and E. Duff regarding same (.2)
May 2019    Business               05/03/19 NM          260 Correspond with City attorneys and property managers regarding administrative housing             0.5       0.125       $32.50
            Operations                                      cases up next week (.5)
May 2019    Business               05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella             0.4 0.0038835          $0.54
            Operations                                      insurance renewal, and communications with K. Duff and bank representative regarding
                                                            same (.4)
May 2019    Business               05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                       0.1 0.0009709          $0.14
            Operations
May 2019    Business               05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                0.1 0.0009709          $0.14
            Operations                                      premium finance agreement.
May 2019    Business               05/08/19 NM          260 Exchange correspondence with property managers regarding administrative court this week           0.6          0.3      $78.00
            Operations                                      (6437 S Kenwood, 8000 S Justine) and prepare for same and also regarding housing court
                                                            matters.
May 2019    Business               05/09/19 NM          260 prepare for administrative court on two properties tomorrow (6437 S Kenwood and 8000 S            2.2          1.1     $286.00
            Operations                                      Justine) and correspond with property managers regarding same and tend to issues with
                                                            housing court properties (7760 S Coles and 8107 S Ellis) and correspond with property
                                                            manager, City attorney, and K. Duff regarding same (2.2)

May 2019    Business               05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property               0.2 0.0019608          $0.51
            Operations                                      manager (.2)
May 2019    Business               05/10/19 NM          260 appear for administrative court on properties (6437 S. Kenwood and 8000 S Justine) (1.4)          1.4          0.7     $182.00
            Operations
May 2019    Business               05/10/19 NM          260 prepare for administrative court today (.2)                                                       0.2          0.1      $26.00
            Operations
May 2019    Business               05/10/19 NM          260 update spreadsheet to reflect same and correspond with property managers regarding same           0.5       0.125       $32.50
            Operations                                      (.5).
May 2019    Business               05/15/19 ED          390 Review April financial reporting (1.3)                                                            1.3 0.0126214          $4.92
            Operations
May 2019    Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                1.0 0.0097087          $3.79
            Operations
May 2019    Business               05/20/19 NM          260 study documents sent by EB counsel relating to code violations (.3)                               0.3       0.075       $19.50
            Operations
May 2019    Business               05/20/19 NM          260 correspond with lender's counsel regarding violations at properties (.3)                          0.3       0.075       $19.50
            Operations
May 2019    Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                      0.3 0.0029126          $1.14
            Operations


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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                        Hours        Fees
May 2019    Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
            Operations
May 2019    Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
            Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019    Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
            Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                            same (.4)
May 2019    Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709         $0.14
            Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                            regarding same (.1)
May 2019    Claims                 05/23/19 NM          260 prepare email to send to all investors and creditors with claims link and send same (1.3)              1.3 0.0160494         $4.17
            Administration
            & Objections

May 2019    Claims                 05/24/19 NM          260 Study responses to correspondence from investors regarding claims portal and process and               1.4    0.017284       $4.49
            Administration                                  draft responses to frequently asked questions to same (1.4)
            & Objections

June 2019   Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                 0.3       0.003       $1.17
            Disposition
June 2019   Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                  0.2       0.002       $0.78
            Disposition                                     timing (.2)
June 2019   Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)              0.2 0.0028571         $1.11
            Disposition
June 2019   Asset                  06/15/19 KBD         390 Study property marketing status report.                                                                0.2 0.0019802         $0.77
            Disposition
June 2019   Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and                0.2 0.0039216         $1.53
            Disposition                                     potential for new grouping to list for sale (.2)
June 2019   Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                   0.5       0.005       $1.95
            Disposition
June 2019   Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                      0.3       0.003       $1.17
            Operations
June 2019   Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                             0.1 0.0009346         $0.36
            Operations
June 2019   Business               06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                     0.1 0.0009709         $0.38
            Operations
June 2019   Business               06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                  0.4 0.0038835         $1.51
            Operations                                      renewal (.4)
June 2019   Business               06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                    0.2 0.0019608         $0.76
            Operations                                      transfer of funds (.2)
June 2019   Business               06/12/19 KBD         390 study property manager financial reporting (.4)                                                        0.4     0.00625       $2.44
            Operations


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
June 2019   Business               06/13/19 KBD             390 review information relating to insurance premium allocation (.2)                                        0.2 0.0019608         $0.76
            Operations
June 2019   Business               06/14/19 KBD             390 study property manager financial reporting (.3).                                                        0.3 0.0046875         $1.83
            Operations
June 2019   Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence                   0.4 0.0037383         $1.46
            Operations                                          with J. Rak regarding same (.4)
June 2019   Business               06/26/19 KBD             390 study correspondence from insurance broker regarding premium allocation and related                     0.2 0.0019608         $0.76
            Operations                                          correspondence (.2)
June 2019   Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794         $4.84
            Disposition
June 2019   Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
            Disposition
June 2019   Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
            Disposition
June 2019   Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
            Disposition                                         properties (.6).
June 2019   Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
            Disposition
June 2019   Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
            Disposition
June 2019   Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
            Disposition
June 2019   Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
            Disposition
June 2019   Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
            Disposition
June 2019   Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
            Disposition                                         all properties (.1).
June 2019   Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
            Disposition
June 2019   Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
            Disposition                                         referencing all properties (.3)
June 2019   Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
            Disposition
June 2019   Asset                  06/26/19 JR              140 Work on sixth motion to approve sale with A. Porter (1.5)                                               1.5 0.0416667         $5.83
            Disposition
June 2019   Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
            Disposition                                         the receiver's information (.9)
June 2019   Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
            Disposition
June 2019   Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667         $2.33
            Disposition                                         receivership properties (1.8).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
June 2019   Asset                  06/28/19 JR              140 draft checklist for the fourth and fifth tranche (2.6).                                               2.6 0.0742857        $10.40
            Disposition
June 2019   Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
            Operations
June 2019   Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
            Operations
June 2019   Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
            Operations
June 2019   Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
            Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019   Business               06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
            Operations                                          property insurance renewal and forward executed documentation relating to same (.2)

June 2019   Business               06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
            Operations                                          liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                regarding same (.4)
June 2019   Business               06/11/19 ED              390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
            Operations
June 2019   Business               06/13/19 KMP             140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709         $0.14
            Operations                                          payment for same (.1).
July 2019   Asset                  07/03/19 KBD             390 Telephone conference with real estate broker regarding prioritization for sale of remaining           0.2       0.002       $0.78
            Disposition                                         properties and timing (.2)
July 2019   Asset                  07/09/19 KBD             390 telephone conference with and draft correspondence to real estate broker regarding same               0.2       0.002       $0.78
            Disposition                                         and impact on timing for sale of properties and planning (.2)
July 2019   Asset                  07/30/19 KBD             390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                   0.2       0.002       $0.78
            Disposition
July 2019   Asset                  07/30/19 KBD             390 study correspondence from A. Porter relating to various issues regarding sixth tranche of             0.2 0.0055556         $2.17
            Disposition                                         properties for sale (.2).
July 2019   Asset                  07/31/19 KBD             390 study correspondence regarding plats of survey and properties for sale (.2).                          0.2       0.002       $0.78
            Disposition
July 2019   Business               07/01/19 KBD             390 review allocation of insurance premium (.3)                                                           0.3 0.0029412         $1.15
            Operations
July 2019   Business               07/03/19 KBD             390 exchange correspondence regarding analysis of real estate taxes and coordination with                 0.2       0.002       $0.78
            Operations                                          property manager (.2).
July 2019   Business               07/10/19 KBD             390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
            Operations
July 2019   Business               07/10/19 KBD             390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
            Operations
July 2019   Business               07/12/19 KBD             390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
            Operations                                          communications with asset manager regarding property management costs, and
                                                                communications with insurance broker relating to premiums (.2)




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  Invoice                                         Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
July 2019   Business               07/14/19 KBD             390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
            Operations
July 2019   Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
            Operations
July 2019   Business               07/15/19 KBD             390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
            Operations                                          and priority of property sales (.1)
July 2019   Business               07/15/19 KBD             390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
            Operations
July 2019   Business               07/25/19 KBD             390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
            Operations                                          payment for insurance (.2)
July 2019   Business               07/27/19 KBD             390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
            Operations
July 2019   Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                   0.2 0.0018519         $0.72
            Administration                                      lender issue and impact on sales effort (.2)
            & Objections

July 2019   Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)          1.4 0.0138614         $1.94
            Disposition
July 2019   Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                        1.5 0.0238095         $3.33
            Disposition
July 2019   Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on              0.1 0.0015873         $0.22
            Disposition                                         all properties for property manager (.1)
July 2019   Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet               0.5 0.0079365         $1.11
            Disposition                                         and resend (.5)
July 2019   Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                     1.9       0.019       $2.66
            Disposition
July 2019   Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                              1.8       0.018       $2.52
            Disposition
July 2019   Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title               0.2 0.0020408         $0.80
            Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019   Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers           0.1 0.0009804         $0.14
            Disposition                                         (.1)
July 2019   Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet             0.2       0.002       $0.28
            Disposition                                         (.2)
July 2019   Asset                  07/28/19 AEP             390 distribute draft motion to team and prepare e-mail regarding remaining unresolved issues              0.3 0.0083333         $3.25
            Disposition                                         (.3).
July 2019   Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                 0.9 0.0088235         $3.44
            Disposition
July 2019   Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and           1.4 0.0137255         $5.35
            Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                approve sales, and other closing-related documentation in connection with all remaining
                                                                tranches (1.4)


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
July 2019   Asset                  07/30/19 JR              140 Exchange correspondence with surveying company regarding types of building pertaining to              0.1 0.0027778         $0.39
            Disposition                                         survey request (.1)
July 2019   Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                             0.1       0.001       $0.39
            Operations
July 2019   Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                 0.1       0.001       $0.39
            Operations                                          payment of real estate taxes (.1)
July 2019   Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes               0.2 0.0019608         $0.76
            Operations                                          coming due (.2)
July 2019   Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial               0.2 0.0019608         $0.76
            Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                costs, and information received from insurance broker regarding property coverages (.2)

July 2019   Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804         $0.38
            Operations
July 2019   Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824         $2.29
            Operations
July 2019   Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843         $4.21
            Operations
July 2019   Business               07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)             0.2       0.002       $0.78
            Operations
July 2019   Business               07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007       $2.73
            Operations                                          Rachlis and J. Rak regarding same (.7).
July 2019   Business               07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824         $2.29
            Operations
July 2019   Business               07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002       $0.52
            Operations                                          property status (.2).
July 2019   Business               07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                  0.8 0.0080808         $2.10
            Operations                                          water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                the same.
July 2019   Business               07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                    0.6 0.0058824         $2.29
            Operations
July 2019   Business               07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                            0.1 0.0009804         $0.14
            Operations
July 2019   Business               07/23/19 ED              390 review of June financial reporting from property managers (.4)                                        0.4       0.004       $1.56
            Operations
July 2019   Business               07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)          0.2       0.002       $0.78
            Operations
July 2019   Business               07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,              0.4 0.0039216         $0.55
            Operations                                          and communications with K. Duff and bank representative regarding same.

July 2019   Business               07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                 0.3 0.0029412         $1.15
            Operations




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
August 2019 Asset                  08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).              0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                  08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest             0.1       0.001       $0.39
            Disposition                                         in properties (.1)
August 2019 Asset                  08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                     0.3       0.003       $1.17
            Disposition                                         marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                  08/28/19 KBD             390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                    0.3       0.003       $1.17
            Disposition
August 2019 Business               08/06/19 KBD             390 Telephone conference with bank representative regarding wire transfers for property                    0.1 0.0009804         $0.38
            Operations                                          expenses and insurance.
August 2019 Business               08/12/19 KBD             390 study property manager financial reporting (.3).                                                       0.3 0.0046875         $1.83
            Operations
August 2019 Business               08/13/19 KBD             390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                          0.1       0.001       $0.39
            Operations
August 2019 Business               08/15/19 KBD             390 study delinquency report and draft correspondence to asset manager regarding same (.3).                0.3 0.0046875         $1.83
            Operations
August 2019 Business               08/20/19 KBD             390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                            0.1 0.0009804         $0.38
            Operations
August 2019 Business               08/20/19 KBD             390 exchange correspondence with J. Rak and property manager regarding outstanding real                    0.2 0.0019608         $0.76
            Operations                                          estate taxes (.2).
August 2019 Business               08/29/19 KBD             390 Study information regarding outstanding property taxes and review correspondence from J.               0.3       0.003       $1.17
            Operations                                          Rak regarding same (.3)
August 2019 Business               08/30/19 KBD             390 exchange various correspondence regarding real estate taxes (.5).                                      0.5       0.005       $1.95
            Operations
August 2019 Asset                  08/03/19 AEP             390 review and inventory survey orders received for all Tranche 06 properties and update                   0.3 0.0083333         $3.25
            Disposition                                         portfolio spreadsheet with pricing information (.3)
August 2019 Asset                  08/03/19 AEP             390 read e-mails from title underwriter and surveyor requesting additional information regarding           0.4 0.0111111         $4.33
            Disposition                                         timetable for receipt of title commitments and surveys and prepare responses to both (.4).

August 2019 Asset                  08/05/19 AEP             390 miscellaneous correspondence with title company regarding potential updating of title                  0.1 0.0027778         $1.08
            Disposition                                         commitments on properties in next tranches of marketing and sales (.1).
August 2019 Asset                  08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102       $1.99
            Disposition                                         commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                timetables (.5)
August 2019 Asset                  08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                           0.2       0.002       $0.28
            Disposition
August 2019 Asset                  08/13/19 AW              140 Attention to marked up draft of sixth motion for approval of sale process, scan, and email to          0.1 0.0027778         $0.39
            Disposition                                         A. Porter.
August 2019 Asset                  08/20/19 JR              140 exchange correspondence with the surveyor pertaining to contact information for property               0.3 0.0073171         $1.02
            Disposition                                         manager and providing management companies for various properties (.3)




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                   Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                          Keeper                                                                                                                    Hours        Fees
August 2019 Business               08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for           0.2       0.002       $0.28
            Operations                                          properties.
August 2019 Business               08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                              1.3       0.013       $1.82
            Operations
August 2019 Business               08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                     0.1 0.0009804         $0.38
            Operations
August 2019 Business               08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                        0.1 0.0009804         $0.38
            Operations
August 2019 Business               08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance              0.1 0.0009804         $0.14
            Operations                                          agreement (.1).
August 2019 Business               08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                            0.7       0.007       $2.73
            Operations
August 2019 Business               08/21/19 MR              390 Conferences with E. Duff (.2)                                                                      0.2 0.0019608         $0.76
            Operations
August 2019 Business               08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                  0.8       0.008       $3.12
            Operations
August 2019 Business               08/22/19 ED              390 review of July reporting from property managers (1.2)                                              1.2       0.012       $4.68
            Operations
August 2019 Business               08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).            0.1 0.0009804         $0.14
            Operations
August 2019 Claims                 08/16/19 NM              260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                 0.5 0.0061728         $1.60
            Administration                                      property with EBF debt (.5)
            & Objections

August 2019 Claims                 08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage          7.3 0.0890244        $12.46
            Administration                                      of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections

August 2019 Claims                 08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all          7.8    0.095122      $13.32
            Administration                                      the properties.
            & Objections

August 2019 Claims                 08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the               8.0    0.097561      $13.66
            Administration                                      recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                 08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                  5.3     0.06625       $9.28
            Administration
            & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
August 2019 Claims                 08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.                6.1 0.0753086        $10.54
            Administration
            & Objections

August 2019 Claims                 08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                                   0.2 0.0024691         $0.64
            Administration
            & Objections

August 2019 Claims                 08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                               7.5 0.0925926        $12.96
            Administration
            & Objections

August 2019 Claims                 08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                         0.2 0.0024691         $0.35
            Administration
            & Objections

August 2019 Claims                 08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                              0.4 0.0049383         $1.28
            Administration
            & Objections

August 2019 Claims                 08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531         $2.77
            Administration
            & Objections

September   Asset                  09/23/19 KBD             390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745        $14.15
2019        Disposition
September   Business               09/11/19 KBD             390 study property manager financial reports (.3)                                                          0.3 0.0046875         $1.83
2019        Operations
September   Business               09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804         $0.38
2019        Operations
September   Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding               2.5 0.0245098         $9.56
2019        Disposition                                         same.
September   Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                           0.3 0.0029412         $1.15
2019        Disposition
September   Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                         0.3       0.003       $0.42
2019        Disposition
September   Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                0.4 0.0039216         $0.55
2019        Operations                                          finance company for payment on insurance premium finance agreement (.4)

September   Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare             1.2 0.0116505         $1.63
2019        Operations                                          same.
September   Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                           0.8 0.0078431         $3.06
2019        Operations


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
September Business                 09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding              0.4 0.0039216          $0.55
2019      Operations                                            transfer of funds for payment of premium finance agreement on property liability insurance
                                                                (.4)
September Claims                   09/03/19 NM              260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                    0.2 0.0024691          $0.64
2019      Administration
          & Objections

October     Asset                  10/17/19 KBD             390 Analysis of potential sale opportunity.                                                              0.2 0.0022472          $0.88
2019        Disposition
October     Asset                  10/26/19 KBD             390 Study updated portfolio summary and correspondence from real estate broker relating to               0.3 0.0033708          $1.31
2019        Disposition                                         same.
October     Business               10/07/19 KBD             390 study property manager financial reporting (.3).                                                     0.3 0.0046875          $1.83
2019        Operations
October     Business               10/07/19 KBD             390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                 0.8 0.0078431          $3.06
2019        Operations
October     Business               10/10/19 KBD             390 Draft correspondence to J. Rak regarding real estate tax analysis.                                   0.1 0.0009804          $0.38
2019        Operations
October     Business               10/14/19 KBD             390 analysis of real estate taxes and exchange correspondence with J. Rak and asset manager              0.3         0.05      $19.50
2019        Operations                                          regarding same (.3).
October     Business               10/15/19 KBD             390 study financial reporting from property manager (.3).                                                0.3 0.0046875          $1.83
2019        Operations
October     Asset                  10/11/19 AEP             390 begin preparation of next draft of receiver's motion to market all remaining commercial              2.1 0.0777778         $30.33
2019        Disposition                                         apartment buildings (2.1).
October     Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                0.4 0.0039216          $1.53
2019        Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October     Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future             0.4     0.00625        $2.44
2019        Disposition                                         closings (.4)
October     Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412          $1.15
2019        Operations
October     Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039          $3.82
2019        Operations
October     Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522          $2.89
2019        Operations                                          can pay out of current net operating income (1.9)
October     Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303          $0.42
2019        Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October     Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739          $0.30
2019        Operations
October     Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006        $0.84
2019        Operations
October     Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002        $0.28
2019        Operations                                          estate taxes (.2)
October     Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           0.9 0.0087379          $1.22
2019        Operations                                          same.


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
October     Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                 0.3 0.0029412         $0.41
2019        Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

November    Asset                  11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                0.2 0.0020833         $0.81
2019        Disposition
November    Asset                  11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                         0.2 0.0021739         $0.85
2019        Disposition
November    Asset                  11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                            0.3 0.0032258         $1.26
2019        Disposition
November    Business               11/05/19 KBD             390 analysis of same (.2).                                                                               0.2 0.0019608         $0.76
2019        Operations
November    Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and              0.2 0.0019608         $0.76
2019        Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                improvements for remaining properties in portfolio (.2)
November    Business               11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                 0.2 0.0032787         $1.28
2019        Operations
November    Business               11/12/19 KBD             390 study property manager reports (.6).                                                                 0.6 0.0098361         $3.84
2019        Operations
November    Business               11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence             0.4 0.0042105         $1.64
2019        Operations                                          with E. Duff regarding same (.4)
November    Business               11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                 0.2 0.0021053         $0.82
2019        Operations                                          insurance and expenses (.2)
November    Business               11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding           0.3 0.0031579         $1.23
2019        Operations                                          same (.3)
November    Business               11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,            0.2 0.0021053         $0.82
2019        Operations                                          and planning (.2)
November    Asset                  11/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                         0.6 0.0166667         $2.33
2019        Disposition
November    Asset                  11/06/19 JR              140 continue to work and review the sixth motion to approve sale (3.7)                                   3.7 0.1027778        $14.39
2019        Disposition
November    Asset                  11/08/19 JR              140 review and update to the sixth motion to approve the sales process (1.0)                             1.0 0.0277778         $3.89
2019        Disposition
November    Asset                  11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties           0.4 0.0043478         $1.70
2019        Disposition                                         (.4).
November    Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership            2.8 0.0294737        $11.49
2019        Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                receivership assets (2.8)
November    Asset                  11/23/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties           5.8 0.1611111        $62.83
2019        Disposition                                         and prepare sixth motion for approval of sales process (5.8)
November    Asset                  11/24/19 AEP             390 Review and analyze title commitments, loan documents, and title records for all properties           1.5 0.0416667        $16.25
2019        Disposition                                         subject to loans extended by certain lenders and prepare first draft of anticipated motions
                                                                for approval of sales process.




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
November    Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019        Disposition
November    Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019        Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                (8.3)
November    Asset                  11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019        Disposition                                         information that is required for future sales of properties (.2).
November    Asset                  11/29/19 AEP             390 Consolidate drafts of sixth, seventh, eighth, and ninth motions to approve sales into single             2.2 0.0814815        $31.78
2019        Disposition                                         consolidated motion and conform all allegations for consistency.
November    Asset                  11/30/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by completing title                   5.5 0.1527778        $59.58
2019        Disposition                                         searches on all properties encumbered by mortgages in favor of certain secured lenders,
                                                                assembling information pertaining to acquisitions and dispositions, updating portfolio
                                                                spreadsheet, and enumerating relevant factual allegations as paragraphs in motion.

November    Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019        Operations
November    Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019        Operations
November    Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019        Operations
November    Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019        Operations                                          reports (.4)
November    Business               11/18/19 NM              260 Address pending City matters by communicating with property manager regarding more                       1.4 0.0608696        $15.83
2019        Operations                                          than a dozen administrative and housing matters some of which are in court next week and
                                                                communicate with City regarding the same.
November    Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019        Operations                                          (.1)
November    Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019        Operations                                          research and communication regarding process (.6).
November    Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019        Operations
November    Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681         $3.43
2019        Operations                                          been sold.
November    Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019        Operations                                          accounting financial statements from Receiver's accountant.
November    Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019        Operations
November    Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961         $2.65
2019        Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                needed (.7)
November    Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019        Operations                                          information for review (.3)


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                    Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                          Keeper                                                                                                                     Hours        Fees
November    Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager               2.8 0.0271845         $3.81
2019        Operations                                          (2.8).
November    Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)          0.6 0.0066667         $0.93
2019        Operations
November    Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                 0.4 0.0038835         $1.51
2019        Administration                                      preparation of October accounting reports to lenders.
            & Objections

November    Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders              0.5 0.0048544         $1.89
2019        Administration                                      (.5).
            & Objections

November    Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                          3.8 0.0368932        $14.39
2019        Administration
            & Objections

December    Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                0.1 0.0010526         $0.41
2019        Operations
December    Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance             0.1 0.0010526         $0.41
2019        Operations                                          premium payment (.1)
December    Business               12/10/19 KBD             390 study property manager financial reporting (.5)                                                     0.5 0.0081967         $3.20
2019        Operations
December    Business               12/11/19 KBD             390 Evaluate potential property repair and improvements and correspond with property                    0.5 0.0384615        $15.00
2019        Operations                                          managers and asset manager regarding same (.5)
December    Business               12/12/19 KBD             390 Exchange correspondence with property manager regarding potential improvements (.1)                 0.1 0.0111111         $4.33
2019        Operations
December    Business               12/19/19 KBD             390 exchange correspondence with property manager and asset manager regarding property                  0.2 0.0222222         $8.67
2019        Operations                                          repairs (.2).
December    Claims                 12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                        0.1 0.0012346         $0.48
2019        Administration                                      correspondence to A. Watychowicz regarding same.
            & Objections

December    Asset                  12/01/19 AEP             390 Continue preparation of consolidated sixth motion to approve sales by finalizing title              4.2 0.1166667        $45.50
2019        Disposition                                         searches on all lender-specific properties, assembling information pertaining to all
                                                                acquisitions, dispositions, refinancings, and mortgage releases, and grouping factual
                                                                allegations.
December    Asset                  12/03/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to          0.2 0.0055556         $2.17
2019        Disposition                                         approve sales (.2)
December    Asset                  12/04/19 JR              140 assist in drafting sixth motion to approve sale process (5.3).                                      5.3 0.1472222        $20.61
2019        Disposition
December    Asset                  12/04/19 JR              140 telephone conference with A. Porter relating to the 6th motion to approve sale (.3)                 0.3 0.0083333         $1.17
2019        Disposition




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                          Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                          Keeper                                                                                                                           Hours         Fees
December    Asset                  12/05/19 AEP             390 make major structural changes to sixth motion to approve sales (.9).                                      0.9       0.025        $9.75
2019        Disposition
December    Asset                  12/05/19 JR              140 review and update sixth motion to approve sale (4.7)                                                      4.7 0.1305556         $18.28
2019        Disposition
December    Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                       0.2 0.0021053          $0.29
2019        Disposition
December    Asset                  12/06/19 AEP             390 begin researching title histories of all properties and compiling new exhibits for inclusion in           0.7 0.0194444          $7.58
2019        Disposition                                         sixth motion to approve sales (.7).
December    Asset                  12/06/19 AEP             390 Teleconference with J. Rak regarding exhibits to sixth motion to approve sales and edits and              0.6 0.0166667          $6.50
2019        Disposition                                         revisions thereto (.6)
December    Asset                  12/06/19 AEP             390 teleconference with receivership broker regarding status of preparation of sixth motion to                0.2 0.0055556          $2.17
2019        Disposition                                         approve and status of due diligence and financing contingency dates for properties currently
                                                                under contract (.2)
December    Asset                  12/06/19 JR              140 Further review of the sixth motion to approve sale (3.7)                                                  3.7 0.1027778         $14.39
2019        Disposition
December    Asset                  12/06/19 JR              140 exchange correspondence with A. Porter relating to same (.6)                                              0.6 0.0166667          $2.33
2019        Disposition
December    Asset                  12/07/19 AEP             390 Continue researching title histories of all properties, including conveyances to and from third-          3.4 0.0944444         $36.83
2019        Disposition                                         party investors, review title commitments associated therewith, and revise all paragraphs in
                                                                existing draft accordingly.
December    Asset                  12/08/19 AEP             390 Perform title searches on properties within sixth motion to approve sales, review title                   3.2 0.0888889         $34.67
2019        Disposition                                         commitments, edit and revise motion pertaining to property acquisition and encumbrance
                                                                dates and recording of releases.
December    Asset                  12/08/19 JR              140 Review and update to the sixth motion to approve the sales process (1.0)                                  1.0 0.0277778          $3.89
2019        Disposition
December    Asset                  12/09/19 JR              140 review title commitments and identify assignment of partial interest in mortgage for various              3.8 0.1055556         $14.78
2019        Disposition                                         properties included in the sixth motion to approve sales process and update the motion with
                                                                corresponding information (3.8).
December    Asset                  12/10/19 AEP             390 teleconference with receivership brokers regarding updated portfolio spreadsheet and                      0.4         0.04      $15.60
2019        Disposition                                         implication of all outstanding due diligence contingencies, financing contingencies, and
                                                                unresolved motions on sequence of properties to be closed, as well as timing of completion
                                                                of sixth and seventh motions to approve sales (.4).

December    Asset                  12/12/19 AEP             390 teleconference with receivership brokers regarding status of currently pending sales and                  0.2 0.0055556          $2.17
2019        Disposition                                         potential marketing commencement periods for properties to be included in sixth motion to
                                                                approve (.2)
December    Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                        0.8    0.007767        $1.09
2019        Disposition                                         preparation for review (.8)
December    Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements                0.3 0.0029126          $0.41
2019        Disposition                                         (.3)
December    Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of                   0.2 0.0021053          $0.82
2019        Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                motions to approve sales (.2).


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
December    Asset                  12/26/19 JR              140 updates to ALTA statements for all properties under contract (1.4).                                  1.4         0.14      $19.60
2019        Disposition
December    Asset                  12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395         $10.20
2019        Disposition                                         organization of closing documents and the start of preparation for closings (5.9)
December    Asset                  12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296          $4.15
2019        Disposition                                         and information (2.4).
December    Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796          $1.50
2019        Operations                                          property basis and prepare same.
December    Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105          $0.59
2019        Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December    Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835          $1.51
2019        Operations                                          expenses.
December    Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767        $3.03
2019        Operations                                          properties and accounts payable (.8)
December    Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526          $0.41
2019        Operations
December    Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252          $2.27
2019        Operations
December    Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417          $0.76
2019        Operations                                          reports (.2)
December    Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767        $3.03
2019        Operations                                          with accountant regarding comments and corrections.
December    Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767        $3.03
2019        Operations
December    Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379          $3.41
2019        Administration                                      from properties (.9)
            & Objections

December    Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049          $6.44
2019        Administration
            & Objections

December    Claims                 12/02/19 MR              390 Attention to Chang subpoena (.1)                                                                     0.1 0.0012346          $0.48
2019        Administration
            & Objections

December    Claims                 12/05/19 MR              390 Attention to and follow up on lender's inquiry and edit response.                                    0.3 0.0037037          $1.44
2019        Administration
            & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours         Fees
December    Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                      2.8 0.0271845         $10.60
2019        Administration
            & Objections

December    Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to               0.3 0.0029126          $1.14
2019        Administration                                      lenders.
            & Objections

December    Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and             6.4 0.0621359          $8.70
2019        Administration                                      accountant 's information (6.4)
            & Objections

December    Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                             0.3 0.0029126          $0.41
2019        Administration
            & Objections

December    Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).           0.4 0.0038835          $1.51
2019        Administration
            & Objections

January     Asset                  01/09/20 KBD             390 Exchange correspondence with A. Porter regarding motions to approve sale of remaining                 0.2 0.0055556          $2.17
2020        Disposition                                         properties (.2)
January     Asset                  01/12/20 KBD             390 Study motion to approve marketing and sales (2.2)                                                     2.2 0.0611111         $23.83
2020        Disposition
January     Asset                  01/14/20 KBD             390 Work on motion for approval of process for sale of properties with A Porter and M. Rachlis            3.1 0.0861111         $33.58
2020        Disposition                                         and analysis of various related issues (3.1)
January     Asset                  01/21/20 KBD             390 Study and revise motion for approval to sell properties and work on same with A. Porter (.6)          0.6 0.0166667          $6.50
2020        Disposition
January     Asset                  01/22/20 KBD             390 study revised consolidated motion for listing and sale of properties (.7).                            0.7 0.0194444          $7.58
2020        Disposition
January     Asset                  01/23/20 KBD             390 Study and revise combined motion for approval to list and sell properties and confer with A.          1.8         0.05      $19.50
2020        Disposition                                         Porter and M. Rachlis relating to same (1.8)
January     Asset                  01/24/20 KBD             390 Study motion for listing and sale of properties.                                                      0.5 0.0138889          $5.42
2020        Disposition
January     Business               01/03/20 KBD             390 Exchange correspondence with property manager and asset manager regarding                             0.3       0.075       $29.25
2020        Operations                                          maintenance, repairs, and potential improvements (.3)
January     Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and            0.2 0.0021978          $0.86
2020        Operations                                          expense payments (.2)
January     Business               01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                 0.7    0.012069        $4.71
2020        Operations
January     Business               01/30/20 KBD             390 Work with E. Duff and A. Watychowicz regarding corporate management issue (5450                       0.3         0.15      $58.50
2020        Operations                                          Indiana, 6437 Kenwood).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
January     Asset                  01/06/20 AEP             390 correspondence with J. Rak regarding remaining assistance required in connection with                   0.1 0.0022222         $0.87
2020        Disposition                                         finalization of three nearly-completed motions (.1).
January     Asset                  01/08/20 JR              140 assist A. Porter in review of title commitments and online searches for those whose interests           5.6 0.1244444        $17.42
2020        Disposition                                         are in various properties and review and further prepare the 5th motion to confirm sale and
                                                                6th motion to approve sale (5.6)
January     Asset                  01/08/20 JR              140 search and add exhibits relating to same to prepare for filing (1.1).                                   1.1 0.0244444         $3.42
2020        Disposition
January     Asset                  01/09/20 AEP             390 prepare e-mail to title company regarding special exceptions requiring hold harmless letters            0.2 0.0055556         $2.17
2020        Disposition                                         and special exceptions to be included on title in connection with all properties subsumed
                                                                within sixth motion to approve sales process (.2)
January     Asset                  01/09/20 AEP             390 prepare e-mail to receivership team regarding near-finality of sixth motion to approve sales            0.2 0.0055556         $2.17
2020        Disposition                                         and requesting assistance with lis pendens issues, preparation of notice of motion, and
                                                                substantive analysis (.2).
January     Asset                  01/09/20 AEP             390 continue working with J. Rak on preparation of fifth motion to confirm sales and sixth motion           5.5 0.1222222        $47.67
2020        Disposition                                         to approve sales process, including review and analysis of all title commitments and
                                                                recorded documents (5.5)
January     Asset                  01/09/20 JR              140 work with A. Porter on further review and preparation of the 5th motion to confirm sale and             5.5 0.1222222        $17.11
2020        Disposition                                         6th motion to approve sale (5.5)
January     Asset                  01/10/20 MR              390 Attention to draft motion for approval of property sales.                                               0.3 0.0083333         $3.25
2020        Disposition
January     Asset                  01/11/20 AEP             390 assemble additional exhibits in connection with sixth motion to approve sales of receivership           2.3 0.0638889        $24.92
2020        Disposition                                         property and verify all pertinent information against assertions in motion papers (2.3).

January     Asset                  01/12/20 AEP             390 Read through provisionally final sixth motion to approve sales of receivership properties and           2.7       0.075      $29.25
2020        Disposition                                         include new paragraphs, where applicable, identifying all assignees of EquityBuild mortgage
                                                                interests.
January     Asset                  01/12/20 MR              390 Further review draft motion for approval of sales and process.                                          0.4 0.0111111         $4.33
2020        Disposition
January     Asset                  01/13/20 MR              390 Conferences regarding certificate of service issue (.1)                                                 0.1 0.0027778         $1.08
2020        Disposition
January     Asset                  01/13/20 MR              390 attention to issues on draft motion for approval of sale process (.2)                                   0.2 0.0055556         $2.17
2020        Disposition
January     Asset                  01/14/20 AEP             390 prepare e-mail to title company providing detailed chain of title information for receivership          0.8 0.0222222         $8.67
2020        Disposition                                         properties subsumed within sixth motion to approve sales and requesting confirmation of
                                                                deletion of special exceptions relating to miscellaneous mechanic's liens (.8)

January     Asset                  01/14/20 AEP             390 work on potential revisions to sixth motion to approve marketing and sale of remaining                  3.1 0.0861111        $33.58
2020        Disposition                                         receivership properties (3.1).
January     Asset                  01/14/20 MR              390 conferences with A. Porter and K. Duff regarding motion to approve sale of remaining                    3.1 0.0861111        $33.58
2020        Disposition                                         properties (3.1).
January     Asset                  01/15/20 AEP             390 and prepare e-mail to team enclosing nearly file-ready draft with report on remaining                   0.3 0.0066667         $2.60
2020        Disposition                                         incomplete items (.3).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
January     Asset                  01/15/20 AEP             390 Rearrange order of presentation of argument and prepare additional explanatory paragraphs              0.4 0.0111111         $4.33
2020        Disposition                                         in sixth motion for court approval of sales of receivership properties, per recommendation of
                                                                receiver (.4)
January     Asset                  01/15/20 AEP             390 insert all exhibit citations into motion and review corresponding exhibit for accuracy and             2.2 0.0488889        $19.07
2020        Disposition                                         completeness (2.2)
January     Asset                  01/15/20 AW              140 reach out to claims vendor with request to assist in preparation of same and respond to                0.1 0.0027778         $0.39
2020        Disposition                                         follow up emails (.1).
January     Asset                  01/15/20 AW              140 Confer with A. Porter regarding service list for sixth motion to approve sale process (.1)             0.1 0.0027778         $0.39
2020        Disposition
January     Asset                  01/16/20 AEP             390 inventory and review first seven batches of publicly-recorded documents received from title            0.6 0.0166667         $6.50
2020        Disposition                                         company and insert as exhibits to sixth motion to approve sales (.6).

January     Asset                  01/16/20 AEP             390 Prepare notice of sale, revise proposed judicial order, and perform inventory of exhibits in           1.2 0.0333333        $13.00
2020        Disposition                                         connection with finalization of sixth motion to approve sales of receivership properties,
                                                                revise proposed judicial order (1.2)
January     Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare               1.2 0.0116505         $1.63
2020        Disposition                                         for further review (1.2).
January     Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)               1.6    0.015534       $2.17
2020        Disposition
January     Asset                  01/17/20 AW              140 Attention to transfer from claims vendor of information regarding primary and secondary                1.6 0.0444444         $6.22
2020        Disposition                                         emails of all claimants and prepare service list for sixth motion to approve sale process.

January     Asset                  01/19/20 AEP             390 Begin second pass through fifth motion to approve marketing and sales of receivership                  4.5       0.125      $48.75
2020        Disposition                                         property, adding additional properties for which due diligence and financing contingencies
                                                                have now expired, and generally proofing, editing, and revising motion.

January     Asset                  01/20/20 AEP             390 Assemble and inventory all exhibits associated with fifth motion to approve marketing and              2.4 0.0666667        $26.00
2020        Disposition                                         sales of receivership properties, double-check all representations pertaining thereto in
                                                                motion, and prepare additional paragraphs.
January     Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                         0.3 0.0031579         $0.44
2020        Disposition
January     Asset                  01/20/20 MR              390 Attention to motion for approval of sales and for process (.3)                                         0.3 0.0083333         $3.25
2020        Disposition
January     Asset                  01/20/20 MR              390 work on same with K. Duff (.2).                                                                        0.2 0.0055556         $2.17
2020        Disposition
January     Asset                  01/21/20 AEP             390 Begin consolidating sixth motion to confirm sales, fifth motion to approve marketing and               5.1 0.1133333        $44.20
2020        Disposition                                         sales, and motion to amend Order Appointing Receiver into single motion, inventory all
                                                                exhibits received from title company and create final list of materials still needed to
                                                                complete the motion, and make revisions consistent with suggestions received from K. Duff
                                                                and M. Rachlis.
January     Asset                  01/21/20 AW              140 Brief review of exhibits and near final sixth motion for approval of sale process.                     0.4 0.0111111         $1.56
2020        Disposition




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                           Allocated    Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                          Keeper                                                                                                                            Hours         Fees
January     Asset                  01/21/20 MR              390 Further review of motion and follow up on various issues regarding same (.6)                               0.6 0.0166667          $6.50
2020        Disposition
January     Asset                  01/21/20 NM              260 Correspond with courtroom deputy and receivership team regarding filing separate or                        0.3 0.0066667          $1.73
2020        Disposition                                         consolidated motions to approve next batch of sales and sales process.

January     Asset                  01/22/20 AEP             390 reconcile all duplicative definitions following merger of separate motions (.4)                            0.4 0.0088889          $3.47
2020        Disposition
January     Asset                  01/22/20 AEP             390 conduct final online searches in connection with all properties under contract and revise                  1.6 0.0355556         $13.87
2020        Disposition                                         consolidated motion as necessary (1.6)
January     Asset                  01/22/20 AEP             390 third pass through consolidated motion to ensure accuracy and consistency (2.1).                           2.1 0.0466667         $18.20
2020        Disposition
January     Asset                  01/22/20 JR              140 work with A. Porter regarding drafting a table of contents for the 6th motion to confirm sale              0.2 0.0044444          $0.62
2020        Disposition                                         and approve sale (.2)
January     Asset                  01/23/20 AEP             390 Prepare additional paragraphs for consolidated motion to incorporate discussions regarding                 1.3 0.0288889         $11.27
2020        Disposition                                         effect of lis pendens filed against certain properties, and to supplement introduction, to
                                                                include reference to additional releases (1.3)
January     Asset                  01/23/20 AEP             390 review all exhibit numbers in motion to ensure consistency in numbering and double-check                   0.8 0.0177778          $6.93
2020        Disposition                                         all exhibit documents against motion (.8)
January     Asset                  01/23/20 AEP             390 discuss preparation of table of contents with J. Rak and review and edit first draft thereof (.5)          0.5 0.0111111          $4.33
2020        Disposition
January     Asset                  01/23/20 AEP             390 renumber all exhibits in motion to account for last-minute inclusion of additional releases                0.9         0.02       $7.80
2020        Disposition                                         (.9)
January     Asset                  01/23/20 AEP             390 read entire motion and make final edits thereto (2.3).                                                     2.3 0.0511111         $19.93
2020        Disposition
January     Asset                  01/23/20 AW              140 Review sixth motion to approve sale process and communicate with A. Porter and J. Rak                      0.6 0.0166667          $2.33
2020        Disposition                                         regarding preparation of exhibits.
January     Asset                  01/23/20 JR              140 compile all the exhibits into one document in preparation to file the motion to confirm and                2.7         0.06       $8.40
2020        Disposition                                         approve sale (2.7)
January     Asset                  01/23/20 JR              140 continue drafting the 6th motion to approve sale and draft table of contents (1.8)                         1.8         0.05       $7.00
2020        Disposition
January     Asset                  01/23/20 MR              390 Attention to edits to motion for approval of sales process (.3)                                            0.3 0.0083333          $3.25
2020        Disposition
January     Asset                  01/23/20 MR              390 work on same with K. Duff (.2).                                                                            0.2 0.0055556          $2.17
2020        Disposition
January     Asset                  01/23/20 NM              260 Study motion to approve sales and correspond with receivership team regarding same.                        0.6 0.0166667          $4.33
2020        Disposition
January     Asset                  01/24/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property now under contract                   0.2 0.0044444          $1.73
2020        Disposition                                         attaching consolidated motion and advising regarding timing of potential closings (.2).

January     Asset                  01/24/20 AEP             390 make final revisions to table of contents to consolidated motion (.3)                                      0.3 0.0066667          $2.60
2020        Disposition
January     Asset                  01/24/20 AEP             390 make revisions to draft certificate of service (.2)                                                        0.2 0.0044444          $1.73
2020        Disposition


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours         Fees
January     Asset                  01/24/20 MR              390 Attention regarding upcoming closings and motion for approval.                                           0.3 0.0066667          $2.60
2020        Disposition
January     Asset                  01/24/20 NM              260 Study motion to approve sales process and confirm sales of other properties before filing                0.3 0.0066667          $1.73
2020        Disposition                                         and correspond with A. Watychowicz regarding same (.3)
January     Asset                  01/28/20 JR              140 Telephone call with A. Porter related to encumbered title for properties under contract,                 0.6         0.06       $8.40
2020        Disposition                                         obtaining payoff letters, releases and hold harmless letters from the title company (.6)

January     Asset                  01/30/20 JR              140 review title encumbrances for various properties under contract (2.8)                                    2.8         0.28      $39.20
2020        Disposition
January     Asset                  01/31/20 JR              140 continue reviewing title encumbrances for various properties under contract (1.7)                        1.7         0.17      $23.80
2020        Disposition
January     Asset                  01/31/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                               0.1         0.01       $1.40
2020        Disposition
January     Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020        Operations                                          October reports.
January     Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020        Operations
January     Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020        Operations                                          (1.6)
January     Business               01/13/20 AW              140 Attention to email regarding reinstatement of entity, research regarding costs, and detailed             0.2          0.2      $28.00
2020        Operations                                          email to E. Duff and K. Duff regarding same.
January     Business               01/13/20 ED              390 Review correspondence and documents regarding entity requirements for CHA tenants                        0.4          0.2      $78.00
2020        Operations                                          (5452 S Indiana, 6437 S Kenwood), consult with K. Duff, and call with property manager
                                                                regarding same (.4)
January     Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020        Operations
January     Business               01/15/20 AW              140 Attention to emails regarding reinstatement of entities and communicate with K. Duff and E.              0.1         0.05       $7.00
2020        Operations                                          Duff regarding proposed changes (.1)
January     Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020        Operations                                          expenditures to properties (.1).
January     Business               01/21/20 AW              140 Attention to email from property manager regarding reinstatements, check on status of                    0.2          0.1      $14.00
2020        Operations                                          reinstatements, and email regarding same.
January     Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020        Operations
January     Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020        Operations
January     Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020        Operations
January     Business               01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105          $0.59
2020        Operations                                          insurance and communications with K. Duff and bank representatives regarding same (.4)

January     Business               01/24/20 AW              140 Attention to two emails from property manager regarding reinstatement of entities, check                 0.2          0.1      $14.00
2020        Operations                                          the status, and respond to same.


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
January     Business               01/30/20 AEP             390 Teleconference with E. Duff regarding ownership of receivership entity and search files for          0.3          0.3     $117.00
2020        Operations                                          evidence of relevant corporate documentation (.3)
January     Business               01/30/20 AEP             390 read e-mail correspondence regarding reinstatement of receivership entities and propose              0.2 0.0666667         $26.00
2020        Operations                                          solution to team (.2).
January     Business               01/30/20 ED              390 and draft resolutions for replacement of managers (.6)                                               0.6          0.3     $117.00
2020        Operations
January     Business               01/30/20 ED              390 confer with K. Duff and A. Watychowicz regarding steps for replacement of managers (.3)              0.3         0.15      $58.50
2020        Operations
January     Business               01/30/20 ED              390 review files from prior counsel regarding organizational documents of related entities (.4)          0.4          0.2      $78.00
2020        Operations
January     Business               01/30/20 ED              390 Review correspondence from Illinois secretary of state regarding reinstatement of two LLCs           0.5         0.25      $97.50
2020        Operations                                          and Illinois requirements to accomplish same (.5)
January     Business               01/30/20 ED              390 call with A. Porter regarding same (.2).                                                             0.2          0.1      $39.00
2020        Operations
January     Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                   1.6    0.015534        $6.06
2020        Administration                                      regarding questions and corrections.
            & Objections

January     Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                0.4 0.0038835          $0.54
2020        Administration                                      received from accountant and provide to E. Duff for review.
            & Objections

January     Claims                 01/06/20 MR              390 Attention to third party claims (1.2)                                                                1.2 0.0148148          $5.78
2020        Administration
            & Objections

January     Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and               1.2 0.0116505          $4.54
2020        Administration                                      transmit to lenders' counsel.
            & Objections

January     Claims                 01/14/20 ED              390 Review objection to motion for approval of sale of real estate, and review and analysis of           0.7 0.0189189          $7.38
2020        Administration                                      related investor documents (.7)
            & Objections

January     Claims                 01/16/20 AEP             390 prepare second round of revisions to motion (.1).                                                    0.1 0.0022222          $0.87
2020        Administration
            & Objections

January     Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                 0.6 0.0058252          $2.27
2020        Administration                                      regarding receivership income and expenditures (.6).
            & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
January     Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417          $0.76
2020        Administration                                      reports through November 2019 (.2)
            & Objections

January     Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252          $0.82
2020        Administration                                      accountant provides his copies for review.
            & Objections

January     Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961          $2.65
2020        Administration                                      to lenders (.7)
            & Objections

January     Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417          $0.76
2020        Administration
            & Objections

January     Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718          $9.47
2020        Administration
            & Objections

January     Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020        Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
            & Objections

January     Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631          $5.68
2020        Administration                                      remaining amounts reimbursable to receivership (1.5).
            & Objections

January     Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126          $1.14
2020        Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
            & Objections

February    Asset                  02/04/20 KBD             390 telephone conference with real estate broker and A. Porter regarding issues and planning for           0.2         0.02       $7.80
2020        Disposition                                         upcoming listing and sale of properties (.2)
February    Asset                  02/11/20 KBD             390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222          $0.87
2020        Disposition                                         title work (.2)
February    Asset                  02/11/20 KBD             390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222          $0.87
2020        Disposition                                         properties (.2)
February    Asset                  02/20/20 KBD             390 study correspondence from N. Mirjanich regarding properties ready to close and list for sale           0.2 0.0181818          $7.09
2020        Disposition                                         (.2)
February    Asset                  02/20/20 KBD             390 study draft proposed orders and correspondence regarding properties for sale and listing               0.2 0.0181818          $7.09
2020        Disposition                                         (.2).




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                      Keeper                                                                                                                      Hours        Fees
February    Asset                  02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                        0.1 0.0011111         $0.43
2020        Disposition
February    Asset                  02/21/20 KBD         390 Study draft publication notice and various correspondence regarding order approving sale             0.4 0.0111111         $4.33
2020        Disposition                                     listings and confer with N. Mirjanich regarding same (.4)
February    Asset                  02/24/20 KBD         390 study correspondence from J. Rak regarding estimated closing costs (.1)                              0.1 0.0090909         $3.55
2020        Disposition
February    Asset                  02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                        0.4 0.0045455         $1.77
2020        Disposition
February    Asset                  02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                  0.1 0.0011111         $0.43
2020        Disposition
February    Asset                  02/25/20 KBD         390 Exchange correspondence with M. Rachlis regarding response to objections to motion to list           0.3 0.0083333         $3.25
2020        Disposition                                     properties for sale (.3)
February    Asset                  02/26/20 KBD         390 Study and revise response to objections to motion to list properties for sale (1.2)                  1.2 0.0266667        $10.40
2020        Disposition
February    Asset                  02/28/20 KBD         390 study revised response to objections to sale motion and exchange correspondence regarding            1.4 0.0311111        $12.13
2020        Disposition                                     same (1.4)
February    Business               02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                 0.1 0.0011111         $0.43
2020        Operations                                      financial reporting (.1)
February    Business               02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.          0.4 0.0038095         $1.49
2020        Operations                                      Duff regarding same (.4)
February    Business               02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)            0.4 0.0045455         $1.77
2020        Operations
February    Business               02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                      0.4 0.0045455         $1.77
2020        Operations                                      correspondence with J. Rak relating to same and communications with property manager.

February    Business               02/13/20 KBD         390 Study property manager financial reporting.                                                          0.4 0.0070175         $2.74
2020        Operations
February    Business               02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment              0.4 0.0045455         $1.77
2020        Operations                                      of real estate taxes (.4)
February    Business               02/25/20 KBD         390 review correspondence from property manager regarding payment of real estate taxes (.1)              0.1 0.0017857         $0.70
2020        Operations
February    Claims                 02/26/20 KBD         390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to          0.4 0.0049383         $1.93
2020        Administration                                  investor accounts (.4).
            & Objections

February    Asset                  02/10/20 NM          260 correspond with K. Duff regarding prioritizing property for sale (.1).                               0.1 0.0011111         $0.29
2020        Disposition
February    Asset                  02/11/20 AEP         390 correspondence with receivership broker regarding next sales batch and proposed marketing            0.2 0.0222222         $8.67
2020        Disposition                                     prices for purpose of preparing spreadsheets of estimated closing costs to be shared with
                                                            potential credit bidding lenders (.2)
February    Asset                  02/11/20 AEP         390 Review title commitments relating to all properties subsumed within sixth motion to approve          0.4 0.0111111         $4.33
2020        Disposition                                     sales and create master list of remaining issues to be resolved prior to closings (.4)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
February    Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020        Disposition
February    Asset                  02/13/20 AEP             390 respond to surveyor regarding request for legal description and certification information for          0.1 0.0027778         $1.08
2020        Disposition                                         various receivership properties subsumed within sixth motion to approve (.1)

February    Asset                  02/17/20 JR              140 exchange correspondence with the title company regarding additional documents of record                0.1 0.0111111         $1.56
2020        Disposition                                         needed (.1)
February    Asset                  02/18/20 NM              260 Study objections to sales motions and correspond with K. Duff and J. Rak regarding same and            1.0 0.0222222         $5.78
2020        Disposition                                         obtaining list of properties for which no objections were filed to send order to court on
                                                                same.
February    Asset                  02/20/20 AEP             390 Work with K. Duff on reply in support of consolidated motion (.5)                                      0.5 0.0111111         $4.33
2020        Disposition
February    Asset                  02/20/20 JR              140 final review of objections to motion related to the properties included in the consolidated            0.7 0.0194444         $2.72
2020        Disposition                                         motion (.7).
February    Asset                  02/20/20 JR              140 Exchange communication with N. Mirjanich regarding orders related to the 5th and 6th                   0.1 0.0027778         $0.39
2020        Disposition                                         motion (.1)
February    Asset                  02/20/20 NM              260 draft notice for next marketing tranche and correspondence with receiver team on same                  0.4 0.0111111         $2.89
2020        Disposition                                         (.4).
February    Asset                  02/21/20 AEP             390 read reply in support of consolidated motion (.2).                                                     0.2 0.0044444         $1.73
2020        Disposition
February    Asset                  02/21/20 AEP             390 read orders granting in part fifth motion to confirm sales and sixth motion to approve sales           0.2 0.0044444         $1.73
2020        Disposition                                         process and prepare e-mails to buyers' counsel regarding preparation for closing (.2)

February    Asset                  02/21/20 NM              260 Correspond with broker regarding next marketing tranche.                                               0.3 0.0083333         $2.17
2020        Disposition
February    Asset                  02/24/20 AEP             390 Conference call with K. Duff, N. Mirjanich and receivership brokers regarding initial listing          0.5 0.0555556        $21.67
2020        Disposition                                         prices for next tranche of properties being marketed (.5)
February    Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                             0.1 0.0010526         $0.15
2020        Disposition
February    Asset                  02/24/20 NM              260 correspond with receiver team and broker regarding next marketing tranche and revise                   0.2 0.0055556         $1.44
2020        Disposition                                         notice of publication for same (.2)
February    Asset                  02/24/20 NM              260 related telephone call with same (.5).                                                                 0.5 0.0138889         $3.61
2020        Disposition
February    Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                 0.1 0.0010753         $0.15
2020        Disposition
February    Asset                  02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties             1.2 0.0134831         $1.89
2020        Disposition                                         managed by a management company (1.2)
February    Asset                  02/25/20 NM              260 Attention to next marketing tranche and publication notice for same.                                   0.2 0.0055556         $1.44
2020        Disposition
February    Asset                  02/26/20 NM              260 Study correspondence relating to fourth marketing tranche and objections to consolidated               0.3 0.0066667         $1.73
2020        Disposition                                         sales motion.




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
February    Asset                  02/28/20 JR              140 exchange correspondence with the title company regarding estimated closing costs and                 0.5 0.0555556          $7.78
2020        Disposition                                         request information for same for the next batch of properties going on the market (.5)

February    Asset                  02/28/20 JR              140 update estimated closing costs spreadsheets with updated information (.9)                            0.9          0.1      $14.00
2020        Disposition
February    Asset                  02/28/20 JR              140 update closing spreadsheet regarding same (.5).                                                      0.5 0.0555556          $7.78
2020        Disposition
February    Business               02/04/20 AW              140 communicate with K. Duff and A. Porter regarding reinstatements of entities and proceed              0.3         0.15      $21.00
2020        Operations                                          with reinstatements (.3)
February    Business               02/07/20 AW              140 Communicate with K. Pritchard regarding costs associated with reinstatement of entities and          0.2 0.0666667          $9.33
2020        Operations                                          creation of new one (.2)
February    Business               02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                               2.8 0.0314607          $4.40
2020        Operations
February    Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real              0.1 0.0010753          $0.15
2020        Operations                                          estate taxes (.1)
February    Business               02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                  0.1 0.0011236          $0.16
2020        Operations
February    Business               02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                0.1 0.0019608          $0.27
2020        Operations                                          taxes related to paying property taxes (.1)
February    Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                        0.3 0.0028846          $1.13
2020        Operations
February    Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                               0.2 0.0019231          $0.75
2020        Operations
February    Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                        0.2 0.0019231          $0.75
2020        Operations
February    Business               02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                        0.4 0.0044444          $1.73
2020        Operations
February    Business               02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property             0.1 0.0019608          $0.27
2020        Operations                                          taxes (.1)
February    Business               02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property             0.2 0.0022727          $0.32
2020        Operations                                          taxes (.2).
February    Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both             3.9      0.0375        $5.25
2020        Operations                                          for all EquityBuild properties.
February    Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                0.2 0.0019231          $0.75
2020        Operations
February    Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                 0.1 0.0014706          $0.57
2020        Operations                                          revisions (.1).
February    Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak               2.7 0.0259615         $10.13
2020        Operations                                          (2.7)
February    Business               02/20/20 AW              140 Study 2020 property management agreements for properties (6217 S Dorchester, 6437 S                  1.1       0.275       $38.50
2020        Operations                                          Kenwood, 6951 Merrill, 7749 S Yates).
February    Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                      0.2 0.0019231          $0.75
2020        Operations


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
February    Business               02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222          $0.87
2020        Operations
February    Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462          $1.50
2020        Operations
February    Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774          $1.35
2020        Operations
February    Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462          $1.50
2020        Operations
February    Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020        Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                report missing details for several institutional lenders (1.1)

February    Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126          $0.41
2020        Operations
February    Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923          $2.83
2020        Administration
            & Objections

February    Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025        $3.50
2020        Administration                                      property managers.
            & Objections

February    Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231          $3.77
2020        Administration
            & Objections

February    Claims                 02/18/20 AEP             390 Read institutional lenders' memorandum in opposition to receiver's consolidated motion and             2.1 0.0466667         $18.20
2020        Administration                                      prepare outline of issues and responses thereto.
            & Objections

February    Claims                 02/18/20 JR              140 review the consolidated motion against the objections to consolidated motion and                       2.1         0.21      $29.40
2020        Administration                                      determine which properties are encumbered with objections (2.1)
            & Objections

February    Claims                 02/18/20 JR              140 Work with N. Mirjanich regarding lender objections filed relating to the consolidation motion          0.2         0.02       $2.80
2020        Administration                                      (.2)
            & Objections

February    Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231          $0.27
2020        Administration                                      statements (.2)
            & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                          Allocated    Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                           Hours         Fees
February    Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                       1.2 0.0129032          $1.81
2020        Administration
            & Objections

February    Claims                 02/18/20 MR              390 review and develop possible response to objections on sales motion (.8).                                  0.8 0.0177778          $6.93
2020        Administration
            & Objections

February    Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                  0.5 0.0048077          $1.88
2020        Administration                                      reports.
            & Objections

February    Claims                 02/24/20 MR              390 attention to objection on sales motion and issues on sales (.3).                                          0.3 0.0066667          $2.60
2020        Administration
            & Objections

February    Claims                 02/25/20 MR              390 Further attention to objections by lenders to property sales.                                             2.2 0.0488889         $19.07
2020        Administration
            & Objections

February    Claims                 02/26/20 AW              140 further work on draft response to objections (5.0).                                                       5.0 0.1111111         $15.56
2020        Administration
            & Objections

February    Claims                 02/28/20 AW              140 proofread reply in support of consolidated motion and email Receivership team regarding                   0.9         0.02       $2.80
2020        Administration                                      revisions [long time due to tracking down of all objections filed by institutional lenders] (.9)
            & Objections

February    Claims                 02/28/20 AW              140 communicate with counsel regarding additional revisions and language from previous                        0.3 0.0066667          $0.93
2020        Administration                                      pleadings (.3).
            & Objections

February    Claims                 02/28/20 MR              390 attention to objections to sixth sales moron and review and revise same (1.7).                            1.7 0.0377778         $14.73
2020        Administration
            & Objections

February    Claims                 02/28/20 NM              260 correspond with receiver's team regarding response to consolidated sales motion and revise                1.3 0.0288889          $7.51
2020        Administration                                      same (1.3).
            & Objections

March 2020 Asset                   03/05/20 KBD             390 study reply in support of consolidated property sales motion (.4).                                        0.4 0.0111111          $4.33
           Disposition




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                    Allocated    Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                      Keeper                                                                                                                     Hours         Fees
March 2020 Asset                   03/05/20 KBD         390 Study revisions to and further revise motion to approve sale of Naples property and                 0.6 0.0133333          $5.20
           Disposition                                      proposed order (.6)
March 2020 Asset                   03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                       0.1 0.0011111          $0.43
           Disposition
March 2020 Asset                   03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence               2.9 0.0329545         $12.85
           Disposition                                      with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                   03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                    1.0 0.0526316         $20.53
           Disposition
March 2020 Asset                   03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182          $2.66
           Disposition
March 2020 Asset                   03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125        $4.88
           Disposition                                      marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                   03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111          $0.43
           Disposition                                      impact, and communications with buyers representatives (.1).
March 2020 Asset                   03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091          $1.33
           Disposition                                      marketing timing and strategy (.3)
March 2020 Asset                   03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727          $0.89
           Disposition                                      estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                   03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111          $0.43
           Disposition                                      properties (.1)
March 2020 Asset                   03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222          $0.87
           Disposition                                      efforts (.2).
March 2020 Asset                   03/26/20 KBD         390 exchange correspondence with real estate broker regarding purchase and sale agreements              0.1         0.01       $3.90
           Disposition                                      and estimated closing costs (.1)
March 2020 Asset                   03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091         $11.08
           Disposition                                      Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                   03/27/20 KBD         390 Study lenders' supplemental objection to consolidated motion (.5)                                   0.5 0.0138889          $5.42
           Disposition
March 2020 Asset                   03/31/20 KBD         390 study order approving listing and sale of properties and exchange correspondence regarding          0.3 0.0066667          $2.60
           Disposition                                      same (.3)
March 2020 Business                03/10/20 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0052632          $2.05
           Operations
March 2020 Business                03/10/20 KBD         390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222          $0.87
           Operations                                       and renewal (.2).
March 2020 Business                03/16/20 KBD         390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222          $0.87
           Operations                                       environment (.2).
March 2020 Business                03/17/20 KBD         390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                   0.3 0.0034091          $1.33
           Operations
March 2020 Business                03/18/20 KBD         390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                        0.2 0.0022727          $0.89
           Operations




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                   Allocated    Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                          Keeper                                                                                                                    Hours         Fees
March 2020 Business                03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                   0.4 0.0045455          $1.77
           Operations                                           property expenses, and COVID-19 impact (.4)
March 2020 Business                03/27/20 KBD             390 analysis of property revenue and exchange correspondence with asset manager regarding              0.5 0.0138889          $5.42
           Operations                                           same (.5).
March 2020 Business                03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance               0.3 0.0033708          $1.31
           Operations                                           issues and analysis (.3).
March 2020 Asset                   03/02/20 AEP             390 lender objections to consolidated motion to sell (.3)                                              0.3 0.0066667          $2.60
           Disposition
March 2020 Asset                   03/02/20 AEP             390 updates to property-specific closing checklists and seller's figures (.6)                          0.6 0.0166667          $6.50
           Disposition
March 2020 Asset                   03/02/20 AEP             390 additional notices of violation filed against properties in next marketing tranche (.2)            0.2 0.0055556          $2.17
           Disposition
March 2020 Asset                   03/02/20 JR              140 follow up correspondence with the title company regarding status of title invoices in              0.2         0.02       $2.80
           Disposition                                          preparation of estimated closing costs for next batch of properties on the market (.2)

March 2020 Asset                   03/02/20 JR              140 email correspondence with the property managers regarding water balances related to                0.5         0.05       $7.00
           Disposition                                          updates to estimated closing cost for next batch of properties marketed for sale and in
                                                                preparation for credit bids (.5)
March 2020 Asset                   03/02/20 JR              140 update closing checklists (.7).                                                                    0.7         0.07       $9.80
           Disposition
March 2020 Asset                   03/02/20 JR              140 updates for closing cost estimates with prorated property taxes regarding properties               1.6         0.16      $22.40
           Disposition                                          currently marketed for sale (1.6)
March 2020 Asset                   03/02/20 JR              140 update property tax balances (1.6)                                                                 1.6 0.0181818          $2.55
           Disposition
March 2020 Asset                   03/03/20 JR              140 Review email correspondence from the property managers regarding estimated costs for               0.2         0.02       $2.80
           Disposition                                          water related to the estimates of closings (.2)
March 2020 Asset                   03/03/20 JR              140 update estimated closing costs with water estimates and finalize property taxes (.8)               0.8         0.08      $11.20
           Disposition
March 2020 Asset                   03/03/20 JR              140 organize water bills regarding same (.6)                                                           0.6         0.06       $8.40
           Disposition
March 2020 Asset                   03/05/20 AEP             390 read, edit, and revise draft reply in support of consolidated motion (2.9)                         2.9 0.0644444         $25.13
           Disposition
March 2020 Asset                   03/06/20 NM              260 study reply to consolidated motion and study correspondence with Receiver's team on same           0.6 0.0166667          $4.33
           Disposition                                          (.6).
March 2020 Asset                   03/10/20 MR              390 Review updated portfolio summary regarding properties.                                             0.2 0.0022222          $0.87
           Disposition
March 2020 Asset                   03/12/20 JR              140 draft purchase and sale contracts in preparation for new buyers for properties currently           0.2 0.0055556          $0.78
           Disposition                                          being marketed and telephone communication with real estate broker regarding same (.2).

March 2020 Asset                   03/13/20 JR              140 review purchase and sale agreements for various properties and make modifications related          1.7         0.17      $23.80
           Disposition                                          to same (1.7).
March 2020 Asset                   03/16/20 JR              140 exchange correspondence with A. Porter regarding same (.1).                                        0.1         0.01       $1.40
           Disposition


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
March 2020 Asset                   03/16/20 JR              140 review and draft purchase and sale agreements for various properties currently being                    1.2         0.12      $16.80
           Disposition                                          marketed for sale (1.2)
March 2020 Asset                   03/16/20 JR              140 update closing checklist related to property information related to same purchase and sale              1.4         0.14      $19.60
           Disposition                                          agreements (1.4)
March 2020 Asset                   03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397          $1.07
           Disposition
March 2020 Asset                   03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781          $7.48
           Disposition                                          and motions regarding same (1.4)
March 2020 Asset                   03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439        $0.95
           Disposition                                          properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                   03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976          $2.38
           Disposition                                          and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                   03/17/20 JR              140 prepare Escrow Agreement and Assignment and Assumption of Leases for each property                      1.6         0.16      $22.40
           Disposition                                          (1.6)
March 2020 Asset                   03/17/20 JR              140 update closing checklists with relevant information regarding same and including water                  1.2         0.12      $16.80
           Disposition                                          account information (1.2)
March 2020 Asset                   03/17/20 JR              140 Review, revise and purchase and sale agreements for various properties that are currently               3.4         0.34      $47.60
           Disposition                                          being marketed for sale (1700 Juneway, 5450 S. Indiana, 6437 S. Kenwood, 7300 S. St.
                                                                Lawrence, 7760 S. Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside and
                                                                11117 S. Longwood) (3.4)
March 2020 Asset                   03/17/20 JR              140 exchange correspondence with property managers regarding on- site manager contact                       0.3         0.03       $4.20
           Disposition                                          information used for City of Chicago water applications for properties currently marketed (.3)

March 2020 Asset                   03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596          $1.73
           Disposition
March 2020 Asset                   03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416          $0.94
           Disposition
March 2020 Asset                   03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247          $2.83
           Disposition
March 2020 Asset                   03/20/20 JR              140 final review purchase and sale agreements for various properties (.6)                                   0.6         0.06       $8.40
           Disposition
March 2020 Asset                   03/20/20 JR              140 update closing checklists regarding same (.4).                                                          0.4         0.04       $5.60
           Disposition
March 2020 Asset                   03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096          $1.60
           Disposition
March 2020 Asset                   03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192          $3.21
           Disposition
March 2020 Asset                   03/24/20 AW              140 Research regarding proposed orders relating to sales motions and communicate with K. Duff               0.2 0.0044444          $0.62
           Disposition                                          regarding same (.2)
March 2020 Asset                   03/24/20 AW              140 attention to email from A. Porter forwarding all current drafts of proposed orders. (.1).               0.1 0.0022222          $0.31
           Disposition




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
March 2020 Asset                   03/24/20 JR              140 Phone conference with A. Porter and the real estate brokers regarding status of closings of             0.7 0.0194444          $2.72
           Disposition                                          various properties under contract and currently on the market and plan of action regarding
                                                                same (.7)
March 2020 Asset                   03/25/20 AEP             390 Edit and revise form purchase and sale agreement to be tendered to prospective bidders on               0.6 0.0166667          $6.50
           Disposition                                          next tranche of receivership properties to incorporate necessary changes based on past
                                                                experience (.6)
March 2020 Asset                   03/25/20 AEP             390 review due diligence files for all properties in next tranche of sales and update purchase and          0.5 0.0138889          $5.42
           Disposition                                          sale agreements to incorporate disclosures of administrative and housing court actions and
                                                                to confirm accuracy of legal descriptions and PINs (.5).
March 2020 Asset                   03/25/20 JR              140 Update purchase and sale agreements for various properties (1700 Juneway, 5450 Indiana,                 4.9         0.49      $68.60
           Disposition                                          6437 Kenwood, 7300 Lawrence, 7760 Coles, 8000 Justine, 8107 Ellis, 8209 Ellis, 8214
                                                                Ingleside, 11117 Longwood) for potential buyers (4.9)
March 2020 Asset                   03/25/20 JR              140 exchange correspondence with A. Porter and the broker regarding same (.2)                               0.2         0.02       $2.80
           Disposition
March 2020 Asset                   03/27/20 MR              390 prepare for and participate in calls regarding same with asset manager and K. Duff (1.0)                1.0 0.0222222          $8.67
           Disposition
March 2020 Asset                   03/30/20 MR              390 Conferences with asset manager regarding various property issues (.2)                                   0.2 0.0044444          $1.73
           Disposition
March 2020 Asset                   03/30/20 MR              390 attention to issues regarding properties (.1).                                                          0.1 0.0022222          $0.87
           Disposition
March 2020 Asset                   03/31/20 AEP             390 meeting with property manager to discuss final amounts due in connection with receivership              0.3          0.3     $117.00
           Disposition                                          property being closed and to retrieve property manager's lien waiver (.3)

March 2020 Asset                   03/31/20 AEP             390 teleconference with receivership broker regarding preliminary responses received from                   0.3 0.0333333         $13.00
           Disposition                                          bidders on current marketing tranche and documents needed for credit bidding lenders (.3)

March 2020 Asset                   03/31/20 MR              390 attention to orders regarding sales and issues moving forward and conferences regarding                 0.4 0.0088889          $3.47
           Disposition                                          same (.4)
March 2020 Asset                   03/31/20 MR              390 attention to issues on draft orders (.4).                                                               0.4    0.004878        $1.90
           Disposition
March 2020 Asset                   03/31/20 MR              390 Draft and revise motion for clarification and other relief and follow up regarding various              2.2 0.0488889         $19.07
           Disposition                                          issues with K. Duff and A. Watychowicz (2.2)
March 2020 Business                03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.                1.9 0.0215909          $3.02
           Operations
March 2020 Business                03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                 0.1 0.0009615          $0.38
           Operations                                           properties (.1)
March 2020 Business                03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same                2.8 0.0271845          $3.81
           Operations                                           (2.8)
March 2020 Business                03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                            0.1 0.0009709          $0.14
           Operations
March 2020 Business                03/13/20 ED              390 Preliminary review of February reporting from property manager.                                         0.4 0.0038462          $1.50
           Operations




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
March 2020 Business                03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.           1.8 0.0204545         $2.86
           Operations
March 2020 Business                03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                   0.2 0.0022222         $0.87
           Operations
March 2020 Business                03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy            0.3 0.0033333         $1.30
           Operations                                           renewal and related email correspondence.
March 2020 Business                03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058         $5.57
           Operations
March 2020 Business                03/30/20 ED              390 Review revised statement of value (.4)                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Business                03/30/20 ED              390 call with insurance agent regarding same (.2)                                                         0.2 0.0022472         $0.88
           Operations
March 2020 Business                03/30/20 ED              390 and loss history (.4)                                                                                 0.4 0.0044944         $1.75
           Operations
March 2020 Business                03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                  0.3 0.0033708         $1.31
           Operations
March 2020 Claims                  03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                       to deposit funds (.4)
           & Objections

March 2020 Claims                  03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                  03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                       reports (.5)
           & Objections

March 2020 Claims                  03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                       expenditures (.2)
           & Objections

March 2020 Claims                  03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

March 2020 Claims                  03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                                    1.0 0.0136986         $1.92
           Administration
           & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                 Task Hours
  Month                                          Keeper                                                                                                                 Hours        Fees
March 2020 Claims                  03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).            1.4 0.0189189         $2.65
           Administration
           & Objections

March 2020 Claims                  03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review          2.8 0.0378378         $5.30
           Administration                                       claimant forms.
           & Objections

March 2020 Claims                  03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                   2.1 0.0265823         $3.72
           Administration
           & Objections

March 2020 Claims                  03/12/20 JR              140 Review claims documents.                                                                        3.1 0.0382716         $5.36
           Administration
           & Objections

March 2020 Claims                  03/13/20 JR              140 Work on claims review process with J. Wine.                                                     2.2 0.0271605         $3.80
           Administration
           & Objections

March 2020 Claims                  03/16/20 JR              140 Review claimant forms.                                                                          2.5 0.0308642         $4.32
           Administration
           & Objections

March 2020 Claims                  03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                       0.7     0.00875       $1.23
           Administration
           & Objections

March 2020 Claims                  03/18/20 JR              140 Review claimant forms (3.4)                                                                     3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                  03/19/20 JR              140 Review claim forms.                                                                             3.3     0.04125       $5.78
           Administration
           & Objections

March 2020 Claims                  03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).                  0.2 0.0024691         $0.35
           Administration
           & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                  Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                          Keeper                                                                                                                   Hours        Fees
March 2020 Claims                  03/20/20 JR              140 Review claims forms (5.4)                                                                         5.4 0.0666667         $9.33
           Administration
           & Objections

March 2020 Claims                  03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)                 3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                  03/24/20 JR              140 review claimant forms and rollover information (2.1)                                              2.1 0.0259259         $3.63
           Administration
           & Objections

March 2020 Claims                  03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                        0.9 0.0111111         $1.56
           Administration
           & Objections

March 2020 Claims                  03/24/20 JRW             260 research for responding to claims vendor regarding property numbers of assets for claims          0.3     0.00375       $0.98
           Administration                                       database (.3)
           & Objections

March 2020 Claims                  03/24/20 JRW             260 update responses to frequently asked questions (.2)                                               0.2 0.0024691         $0.64
           Administration
           & Objections

March 2020 Claims                  03/24/20 JRW             260 Attention to responding to claimant inquiry (.2)                                                  0.2 0.0024691         $0.64
           Administration
           & Objections

March 2020 Claims                  03/24/20 JRW             260 extended conference with A. Pruitt regarding analysis of claims and updating of master            0.8 0.0101266         $2.63
           Administration                                       claims spreadsheet (.8)
           & Objections

March 2020 Claims                  03/24/20 JRW             260 email exchange with K. Duff regarding segregation of claims and supporting documentation          0.1 0.0012821         $0.33
           Administration                                       by tranche (.1)
           & Objections

March 2020 Claims                  03/24/20 JRW             260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)           0.9     0.01125       $2.93
           Administration
           & Objections




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6437-41 S Kenwood Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2020 Claims                   03/24/20 JRW         260 study spreadsheet of claim information received from claims vendor (.8).                               0.8         0.01       $2.60
           Administration
           & Objections

April 2020   Asset                  04/01/20 KBD         390 Analysis of offers on properties (.4)                                                                  0.4         0.04      $15.60
             Disposition
April 2020   Asset                  04/01/20 KBD         390 telephone conference with real estate broker, M. Rachlis, and A. Porter regarding offers on            1.6         0.16      $62.40
             Disposition                                     properties (1.6)
April 2020   Asset                  04/01/20 KBD         390 work on upcoming sales and analysis of information relating to same (.3)                               0.3 0.0333333         $13.00
             Disposition
April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                            0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                  04/03/20 KBD         390 exchange correspondence with A. Porter and real estate broker regarding potential buyer                0.2          0.2      $78.00
             Disposition                                     commitment and inspection (6437 Kenwood) (.2)
April 2020   Asset                  04/03/20 KBD         390 telephone conference with and review correspondence from E. Duff regarding [rent                       0.2          0.1      $39.00
             Disposition                                     restoration] information for estimated closing costs (.2)
April 2020   Asset                  04/03/20 KBD         390 several additional telephone conferences and exchange correspondence with real estate                  1.0          0.1      $39.00
             Disposition                                     broker, M. Rachlis, and A. Porter regarding closings planning, estimated closing costs, and
                                                             various related issues (1.0)
April 2020   Asset                  04/03/20 KBD         390 Telephone conference with and study reporting from real estate broker, M. Rachlis, and A.              0.9         0.09      $35.10
             Disposition                                     Porter regarding offers and properties and communications with buyers (.9)

April 2020   Asset                  04/03/20 KBD         390 study and revise correspondence regarding highest bids and credit bid opportunities (.2).              0.2         0.02       $7.80
             Disposition
April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                   0.3 0.0041096          $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Asset                  04/07/20 KBD         390 Study and execute contracts for sale of properties (11117 Longwood and 6437 Kenwood) and               0.3         0.15      $58.50
             Disposition                                     exchange correspondence with A. Porter regarding same (.3)
April 2020   Asset                  04/07/20 KBD         390 telephone conference and exchange correspondence with real estate broker, A. Porter, and               0.6          0.2      $78.00
             Disposition                                     M. Rachlis regarding property sales, communication with claimant's counsel, and closing
                                                             challenges (.6).
April 2020   Asset                  04/10/20 KBD         390 Exchange correspondence with A. Porter regarding hold harmless letters with title                      0.4          0.1      $39.00
             Disposition                                     companies relating to properties for closings (6438-41 Kenwood, 5450-52 Indiana, 8209 Ellis,
                                                             7300-04 Lawrence) (.4)
April 2020   Asset                  04/10/20 KBD         390 study correspondence from A. Porter regarding litigation status relating to properties (.2).           0.2         0.02       $7.80
             Disposition
April 2020   Asset                  04/11/20 KBD         390 Study offer summary for sale of properties (.5)                                                        0.5         0.05      $19.50
             Disposition
April 2020   Asset                  04/14/20 KBD         390 Exchange correspondence with A. Porter regarding litigation status relating to various                 0.2         0.02       $7.80
             Disposition                                     properties in connection with sale closing efforts.
April 2020   Asset                  04/20/20 KBD         390 Telephone conference regarding various property sale negotiations, logistics, and timing (.8)          0.8 0.0727273         $28.36
             Disposition


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6437-41 S Kenwood Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                 0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                              0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                    0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 study property manager reporting (.3).                                                                  0.3 0.0052632         $2.05
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                            0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                        0.2 0.0022989         $0.90
             Operations                                      properties and review information relating to same.
April 2020   Business               04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                        0.1 0.0011236         $0.44
             Operations                                      coverage issue (.1)
April 2020   Business               04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                       0.1 0.0011236         $0.44
             Operations
April 2020   Business               04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                        0.2 0.0024691         $0.96
             Operations                                      insurance renewal efforts and cost (.2)
April 2020   Asset                  04/01/20 AEP         390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding bids submitted in           1.7 0.0472222        $18.42
             Disposition                                     connection with latest marketing tranche and strategies for responding thereto, as well as
                                                             anticipated timing of closings of properties subsumed within order approving fifth motion to
                                                             confirm sales and remaining obstacles thereto (1.7)

April 2020   Asset                  04/01/20 AEP         390 revise proposed order approving fifth motion to confirm sales and exhibit to sixth motion to            0.2 0.0044444         $1.73
             Disposition                                     approve sales process (.2)
April 2020   Asset                  04/01/20 AW          140 additional revisions to orders and submit to Judge Lee as per standing order (.2).                      0.2 0.0044444         $0.62
             Disposition
April 2020   Asset                  04/01/20 AW          140 Attention to exchanges regarding revisions to proposed orders (.1)                                      0.1 0.0022222         $0.31
             Disposition
April 2020   Asset                  04/01/20 MR          390 Review draft orders and follow up on various related issues regarding orders on marketing               0.5 0.0111111         $4.33
             Disposition                                     and other issues (.5)
April 2020   Asset                  04/01/20 MR          390 participate in call regarding upcoming bids and anticipated closings with K. Duff, A. Porter            1.7 0.0472222        $18.42
             Disposition                                     and real estate broker (1.7).
April 2020   Asset                  04/01/20 MR          390 prepare for meeting on property sales and emails regarding same (.4)                                    0.4 0.0111111         $4.33
             Disposition
April 2020   Asset                  04/01/20 MR          390 review order on clarification and other orders (.2)                                                     0.2    0.002439       $0.95
             Disposition
April 2020   Asset                  04/02/20 AEP         390 review title commitments, title invoices, and closing checklists for all properties in next             3.7 0.4111111       $160.33
             Disposition                                     marketing tranche, contact property managers for additional information, and prepare
                                                             estimated closing costs for each property for distribution to potential credit-bidding lenders
                                                             (3.7)




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and              1.1 0.0135802          $5.30
             Disposition                                         housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                 dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                 brought to the prospective purchasers' attention, and relationship between individual
                                                                 property owners and EquityBuild funds (1.1)

April 2020   Asset                  04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and                1.1 0.0135802          $1.90
             Disposition                                         litigation matters (1.1)
April 2020   Asset                  04/03/20 AEP             390 teleconference with prospective purchaser regarding potential waiver of due diligence rights            0.4          0.4     $156.00
             Disposition                                         (.4)
April 2020   Asset                  04/03/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding best and final              0.7 0.0777778         $30.33
             Disposition                                         bids received from prospective purchasers (.7)
April 2020   Asset                  04/03/20 AEP             390 communications with E. Duff and property managers regarding current status of rent                      1.4 0.1555556         $60.67
             Disposition                                         restoration liabilities and other property-specific payables and update spreadsheets of
                                                                 estimated closing costs for each property in next marketing tranche and create files for
                                                                 release to prospective credit-bidding lenders (1.4)
April 2020   Asset                  04/03/20 AEP             390 review closing files for every property in next closing tranche and create master checklist of          1.6 0.1777778         $69.33
             Disposition                                         information regarding remaining special exceptions and status of water certificate processing
                                                                 (1.6)
April 2020   Asset                  04/03/20 AEP             390 proofread and revise proposed communication from receivership broker to credit bidding                  0.1 0.0111111          $4.33
             Disposition                                         lenders regarding estimated closing costs (.1).
April 2020   Asset                  04/03/20 MR              390 attention to issues on closing costs and marketing (.6)                                                 0.6 0.0666667         $26.00
             Disposition
April 2020   Asset                  04/03/20 MR              390 Participate in conference call regarding best and final bids from prospective purchasers and            0.7      0.0875       $34.13
             Disposition                                         other issues with A. Porter, K. Duff and real estate broker (.7)
April 2020   Asset                  04/03/20 MR              390 review materials and emails regarding same (.3)                                                         0.3 0.0333333         $13.00
             Disposition
April 2020   Asset                  04/03/20 MR              390 further attention to closing related issues (.4).                                                       0.4 0.0444444         $17.33
             Disposition
April 2020   Asset                  04/06/20 MR              390 Follow up on emails regarding property sales and property manager.                                      0.4 0.0444444         $17.33
             Disposition
April 2020   Asset                  04/07/20 AEP             390 Review purchase and sale contracts submitted in connection with receivership properties                 0.2          0.1      $39.00
             Disposition                                         (11117 S Longwood and 6437 S Kenwood), approve form of same, update portfolio
                                                                 spreadsheet, and forward to K. Duff for signature (.2)
April 2020   Asset                  04/07/20 AEP             390 respond to surveyor requests for updated title commitments on receivership properties                   0.1         0.05      $19.50
             Disposition                                         (11117 S Longwood and 6437 S Kenwood) and provide certification information (.1)

April 2020   Asset                  04/07/20 AEP             390 prepare e- mail to title company requesting title commitment updates for properties now                 0.1         0.05      $19.50
             Disposition                                         under contract of sale (6437 S Kenwood and 11117 S Longwood) (.1)

April 2020   Asset                  04/07/20 AEP             390 follow-up telephone calls to five title companies in pursuit of hold harmless letters for               0.8 0.1333333         $52.00
             Disposition                                         receivership properties being sold in next tranche (.8)




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with property manager's team for properties (6437 Kenwood and                   0.2          0.1      $14.00
             Disposition                                         5450 Indiana) relating to same (.2)
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with real estate broker regarding purchase and sale agreement                   0.2 0.0055556          $0.78
             Disposition                                         language (.2)
April 2020   Asset                  04/07/20 MR              390 emails regarding same (.2).                                                                             0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/07/20 MR              390 Participate in call on sales (.6)                                                                       0.6 0.0666667         $26.00
             Disposition
April 2020   Asset                  04/08/20 JR              140 review email correspondence from real estate broker and forward executed purchase and                   0.2          0.1      $14.00
             Disposition                                         sale agreements regarding properties (11117 Longwood and 6437 Kenwood) (.2)

April 2020   Asset                  04/08/20 MR              390 attention to issues raised by claimant on certain properties (.2).                                      0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/08/20 MR              390 Attention to emails on property sales and credit bid issues (.1)                                        0.1 0.0111111          $4.33
             Disposition
April 2020   Asset                  04/09/20 JR              140 exchange correspondence with real estate brokers regarding same (.1)                                    0.1         0.05       $7.00
             Disposition
April 2020   Asset                  04/09/20 JR              140 exchange correspondence with the property management team requesting due diligence                      0.2 0.0055556          $0.78
             Disposition                                         documents for various properties listed for sale (.2)
April 2020   Asset                  04/09/20 JR              140 save purchase and sale agreements and SJOs for various properties in series x and update                0.5 0.0138889          $1.94
             Disposition                                         closing checklists with property information (.5).
April 2020   Asset                  04/09/20 JR              140 review purchase and sale agreements and SJO agreements related to properties (11117                     0.1         0.05       $7.00
             Disposition                                         Longwood and 6437 S. Kenwood) (.1)
April 2020   Asset                  04/10/20 JR              140 exchange correspondence with real estate broker regarding status of purchase and sale                   0.2 0.0055556          $0.78
             Disposition                                         agreements for series 4 properties and review and update buyer counsel information and
                                                                 buyer information regarding same (.2)
April 2020   Asset                  04/10/20 JR              140 update master and closing checklists regarding same (.5)                                                0.5 0.0138889          $1.94
             Disposition
April 2020   Asset                  04/10/20 JRW             260 Exchange correspondence with A. Porter regarding litigation status of properties in current             0.3         0.03       $7.80
             Disposition                                         sales tranche and checking status of violations against properties on City of Chicago website.

April 2020   Asset                  04/10/20 MR              390 review emails on various issues on asset disposition (.2).                                              0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/10/20 MR              390 Conferences with K. Duff on issues moving forward on various sales (.2)                                 0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/11/20 AEP             390 read e-mail explanation from J. Wine regarding status of various administrative actions                 0.4 0.0444444         $17.33
             Disposition                                         apparently still pending against properties owned by corporate entity, reconcile information
                                                                 with due diligence files, update litigation spreadsheet, and prepare response requesting
                                                                 additional information from property manager or corporation counsel (.4)

April 2020   Asset                  04/13/20 JR              140 follow up correspondence with the property manager regarding due diligence documents for                0.2 0.0055556          $0.78
             Disposition                                         series x and related to all properties recently under contract (.2)




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
April 2020   Asset                  04/13/20 JRW             260 Investigate administrative actions against multiple properties in current sales tranche,                  3.6          0.4     $104.00
             Disposition                                         organize files, and report to A. Porter (11117-19 S. Longwood, 6437 S. Kenwood, 5450 S.
                                                                 Indiana, 8214 S. Ingleside, 8000 S. Justine, 8107 S. Ellis, 7760 S. Coles, 1700 W. Juneway, 7300
                                                                 S St. Lawrence).
April 2020   Asset                  04/14/20 AEP             390 inventory title commitments for all properties in current sales tranche to confirm hold                   0.9          0.1      $39.00
             Disposition                                         harmless letters for all special exceptions and accuracy of buyer, lender, and purchase price
                                                                 information and prepare correspondence to title underwriter regarding remaining issues (.9)

April 2020   Asset                  04/14/20 AEP             390 read hold harmless letter obtained from prior insurer and prepare e-mail to current title                 0.2          0.2      $78.00
             Disposition                                         insurer noting refusal to indemnify against tax judgment special exception relating to prior
                                                                 owner and seeking guidance on other options for securing clean title (.2).

April 2020   Asset                  04/14/20 AEP             390 Review all five purchase and sale contracts received from counsel for prospective purchaser               0.2 0.0285714         $11.14
             Disposition                                         and update closing checklists accordingly (.2)
April 2020   Asset                  04/14/20 AEP             390 read e-mail from J. Wine listing status of all administrative and housing court actions pending           1.2         0.12      $46.80
             Disposition                                         against properties in current sales tranche, reconcile against existing records, update closing
                                                                 checklists, and send e-mails to title company to provide notice of proceedings requiring
                                                                 itemization on revised title commitments (1.2)

April 2020   Asset                  04/14/20 AEP             390 proofread and approve survey for receivership property (6437 S Kenwood) (.1)                              0.1          0.1      $39.00
             Disposition
April 2020   Asset                  04/15/20 AEP             390 communications with buyer's counsel and title company regarding confirmation of receipt of                0.2 0.0333333         $13.00
             Disposition                                         earnest money deposits in connection with six of ten properties in most recent sales tranche
                                                                 (.2)
April 2020   Asset                  04/15/20 AEP             390 communications with corporation counsel regarding judgments recorded against portfolio                    0.8 0.0615385         $24.00
             Disposition                                         properties and compare judgment orders to administrative pleadings and forward same to
                                                                 title insurer with explanation that all outstanding judgments will be paid off at next round of
                                                                 closings (.8)
April 2020   Asset                  04/15/20 AEP             390 review all updated title commitments on receivership properties in next closing tranche to                0.3 0.0333333         $13.00
             Disposition                                         ensure deletion of remaining special exceptions (.3)
April 2020   Asset                  04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of                   0.3 0.0033708          $1.31
             Disposition                                         special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/15/20 JR              140 calculate prorated property taxes for various properties and update settlement statements                 1.4 0.0388889          $5.44
             Disposition                                         regarding same (1.4)
April 2020   Asset                  04/15/20 JR              140 further correspondence with the property manager regarding requested items for closings                   0.4 0.0108108          $1.51
             Disposition                                         and due diligence documents (.4)
April 2020   Asset                  04/15/20 JR              140 update closing checklists regarding same (.3)                                                             0.3 0.0083333          $1.17
             Disposition
April 2020   Asset                  04/16/20 AEP             390 read response from management company regarding status of newly- discovered judgments                     0.1       0.025        $9.75
             Disposition                                         against EquityBuild properties and record status of same in spreadsheet (.1).




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/16/20 AEP             390 prepare e-mail to corporation counsel regarding recently discovered judgments entered, but              0.2 0.0153846          $6.00
             Disposition                                         not yet recorded, against receivership entities and requesting status of same (.2)

April 2020   Asset                  04/16/20 JR              140 further exchange correspondence with the title company related to confirmation of earnest               0.4 0.0111111          $1.56
             Disposition                                         money deposit for various properties (.4)
April 2020   Asset                  04/16/20 JR              140 review due diligence documents received from property manager and update corresponding                  1.8         0.05       $7.00
             Disposition                                         electronic property folders for various properties currently under contract (1.8).

April 2020   Asset                  04/17/20 AEP             390 communications with prospective purchaser of receivership properties regarding new forms                0.2 0.0333333         $13.00
             Disposition                                         required by title company in connection with earnest money deposits (.2)

April 2020   Asset                  04/17/20 JR              140 review due diligence documents received from property manager for various properties                    1.5         0.75     $105.00
             Disposition                                         (5450 S. Indiana and 6437 Kenwood) (1.5)
April 2020   Asset                  04/17/20 JR              140 review email from the title company regarding third party authorization forms for buyer and             0.2 0.0055556          $0.78
             Disposition                                         exchange further correspondence with the title company (.2)
April 2020   Asset                  04/17/20 JR              140 draft same for buyer (.9)                                                                               0.9       0.025        $3.50
             Disposition
April 2020   Asset                  04/17/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                              0.1 0.0027778          $0.39
             Disposition
April 2020   Asset                  04/17/20 JR              140 exchange correspondence with buyer's counsel regarding properties for buyer and related                 0.2          0.1      $14.00
             Disposition                                         due diligence documents (.2)
April 2020   Asset                  04/20/20 AEP             390 teleconference with receivership team and receivership brokers regarding status of all                  0.8 0.0444444         $17.33
             Disposition                                         pending transactions (.8)
April 2020   Asset                  04/20/20 AEP             390 update EquityBuild portfolio spreadsheet (.1)                                                           0.1 0.0011364          $0.44
             Disposition
April 2020   Asset                  04/20/20 JR              140 review due diligence documents received from property manager for various properties                    1.3 0.0361111          $5.06
             Disposition                                         (1.3).
April 2020   Asset                  04/20/20 JR              140 conference call with K. Duff, M. Rachlis, A. Porter and real estate brokers related to current          1.0 0.0222222          $3.11
             Disposition                                         properties under contract and related matters and issues with closings (1.0)

April 2020   Asset                  04/22/20 AEP             390 review title commitments for all properties being purchased by management company in                    0.4 0.0666667         $26.00
             Disposition                                         next sales tranche, edit same to signify deletions and endorsements, and forward copies to
                                                                 counsel for purchaser (.4).
April 2020   Asset                  04/23/20 AEP             390 teleconference with receivership brokers regarding status of all pending transactions,                  0.5 0.0277778         $10.83
             Disposition                                         including potential new buyers of properties subject to defaults (.5)
April 2020   Asset                  04/23/20 JR              140 update closed property spreadsheet and forward to K. Duff, E. Duff and K. Pritchard (.6)                0.6 0.0153846          $2.15
             Disposition
April 2020   Asset                  04/24/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding strategy for                1.8         0.18      $70.20
             Disposition                                         marketing next tranche of receivership properties, strategy for addressing defaults on
                                                                 properties under contract, and preparation of next round of motions to confirm sales (1.8)

April 2020   Asset                  04/29/20 JR              140 review email from J. Wine and provide legal descriptions and property addresses for the                 0.6 0.0166667          $2.33
             Disposition                                         upcoming publication notice of various properties (.6)


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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2020   Asset                  04/29/20 JR              140 exchange correspondence with the title company regarding confirmed wires receipt on                    0.2 0.0055556         $0.78
             Disposition                                         various properties (.2)
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]             0.8 0.0126984         $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                                0.1 0.0015873         $0.22
             Disposition
April 2020   Asset                  04/30/20 JRW             260 Study sixth motion for approval of process for public sale, exhibits and order granting same,          0.6 0.0166667         $4.33
             Disposition                                         and related correspondence regarding notice requirements (.6)
April 2020   Business               04/08/20 JRW             260 study proof of claim submitted by City of Chicago regarding judgments and fees assessed                0.3       0.015       $3.90
             Operations                                          against properties and related correspondence (.3).
April 2020   Business               04/10/20 ED              390 Review summary received from insurance agent regarding loss history for renewal process,               0.2 0.0022472         $0.88
             Operations                                          and related documentation and correspondence.
April 2020   Business               04/21/20 ED              390 Call and email correspondence with insurance agent regarding financial information                     0.3 0.0034091         $1.33
             Operations                                          requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED              390 call (.1)                                                                                              0.1 0.0009709         $0.38
             Operations
April 2020   Business               04/21/20 ED              390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                   0.3 0.0029126         $1.14
             Operations
April 2020   Claims                 04/02/20 JRW             260 conference call with A. Porter and J. Rak regarding code violations against properties under           0.7    0.008642       $2.25
             Administration                                      contract and process for updating records (.7).
             & Objections

April 2020   Claims                 04/08/20 JRW             260 Exchange correspondence with A. Porter regarding claim forms and City of Chicago claim (.3)            0.3       0.015       $3.90
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED              390 email correspondence to accountant with comments on draft reports (.3).                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED              390 Review drafts of January accounting reports to claimants and analysis of related                       5.4 0.0524272        $20.45
             Administration                                      documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                         0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                   0.1 0.0009709         $0.14
             Administration
             & Objections




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                      accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                    0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                    0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                          0.4 0.0038835         $1.51
             Administration
             & Objections




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417          $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175          $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602          $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/02/20 KBD             390 work on motion to confirm sales and exchange correspondence regarding same (.3).                    0.3 0.0333333         $13.00
             Disposition
May 2020     Asset                  05/03/20 KBD             390 Study and revise motion to confirm sales.                                                           0.5 0.0555556         $21.67
             Disposition
May 2020     Asset                  05/07/20 KBD             390 study and revise consolidated motion relating to sale of properties (.4)                            0.4         0.04      $15.60
             Disposition
May 2020     Asset                  05/08/20 KBD             390 Study revised consolidated motion for the sale of properties (.3)                                   0.3 0.0333333         $13.00
             Disposition
May 2020     Asset                  05/10/20 KBD             390 Study and revise combined motion relating to sale of properties.                                    0.3 0.0333333         $13.00
             Disposition
May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145          $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691          $0.96
             Disposition
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691          $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/03/20 KBD             390 Revise consolidated motion and exchange correspondence regarding same.                              0.3         0.03      $11.70
             Operations
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691          $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628          $0.45
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145          $1.41
             Operations                                          property management (.3)
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691          $0.96
             Operations


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  Invoice                                         Time                                                                                                                      Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours         Fees
May 2020    Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                    0.3 0.0036145          $1.41
            Operations                                          (.3)
May 2020    Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                     0.6 0.0072289          $2.82
            Operations                                          renewal of insurance (.6)
May 2020    Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                  0.4 0.0048193          $1.88
            Operations
May 2020    Business               05/12/20 KBD             390 study financial reporting from property manager (.3).                                                 0.3 0.0054545          $2.13
            Operations
May 2020    Business               05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                     0.7 0.0084337          $3.29
            Operations
May 2020    Business               05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                      0.2 0.0024096          $0.94
            Operations                                          correspondence with asset manager regarding same (.2)
May 2020    Business               05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                      0.2 0.0023529          $0.92
            Operations                                          expenses (.2)
May 2020    Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                                 0.8 0.0076923          $3.00
            Operations
May 2020    Business               05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                    0.1 0.0011765          $0.46
            Operations
May 2020    Business               05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).             0.3 0.0037037          $1.44
            Operations
May 2020    Business               05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)              0.3 0.0037037          $1.44
            Operations
May 2020    Business               05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                          0.1 0.0011765          $0.46
            Operations
May 2020    Claims                 05/07/20 KBD             390 Work on communication to claimants' counsel regarding marketing and sale of properties                0.5 0.0138889          $5.42
            Administration                                      (.5)
            & Objections

May 2020    Asset                  05/01/20 JR              140 review notice of public sale related to additional properties listed for offers and update            0.5 0.0138889          $1.94
            Disposition                                         spreadsheet (.5)
May 2020    Asset                  05/03/20 AEP             390 Prepare seventh motion to confirm sales of receivership properties.                                   3.7 0.4111111        $160.33
            Disposition
May 2020    Asset                  05/03/20 MR              390 Review and revise various motions regarding confirmation of sales, use of funds and review            2.7          0.3     $117.00
            Disposition                                         emails regarding same (2.7)
May 2020    Asset                  05/04/20 AEP             390 Revise draft seventh motion to confirm sales to incorporate comments received from K. Duff            0.3 0.0333333         $13.00
            Disposition                                         (.3)
May 2020    Asset                  05/05/20 AEP             390 read e-mail from counsel for prospective purchaser of receivership properties (7760 S Coles,          0.2 0.0285714         $11.14
            Disposition                                         8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214 S Ingleside, 5450 S Indiana, and 6437 S
                                                                Kenwood) and update closing checklists and portfolio spreadsheet with names of nominees
                                                                (.2).
May 2020    Asset                  05/05/20 JR              140 update spreadsheet with additional properties listed for sale, under contract and status of           0.6 0.0166667          $2.33
            Disposition                                         judicial process (.6)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
May 2020    Asset                  05/06/20 AEP             390 begin consolidating all draft motions into single document (.3)                                        0.3         0.03      $11.70
            Disposition
May 2020    Asset                  05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                                 0.1 0.0011494          $0.16
            Disposition
May 2020    Asset                  05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st               0.1 0.0011494          $0.16
            Disposition                                         quarter of 2020 (.1)
May 2020    Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                              1.4 0.0135922          $1.90
            Disposition
May 2020    Asset                  05/08/20 AEP             390 read through revisions to consolidated motion received from K. Duff and J. Wine and revise             0.4         0.04      $15.60
            Disposition                                         consolidated motion accordingly (.4).
May 2020    Asset                  05/08/20 AW              140 Attention to draft consolidated motion and communicate with K. Duff regarding same.                    0.2 0.0181818          $2.55
            Disposition
May 2020    Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management               0.1 0.0009709          $0.14
            Disposition                                         companies (.1)
May 2020    Asset                  05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes                0.2 0.0035088          $0.49
            Disposition                                         (.2).
May 2020    Asset                  05/08/20 JRW             260 Review and comment on draft consolidated motion to confirm sale of certain properties and              0.6 0.0666667         $17.33
            Disposition                                         to approve process for sale of vacant land.
May 2020    Asset                  05/09/20 AEP             390 gather, organize, and bind all exhibits to consolidated motion into appendix and then correct          2.1         0.21      $81.90
            Disposition                                         all citations in brief (2.1)
May 2020    Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                  1.8 0.0174757          $2.45
            Disposition
May 2020    Asset                  05/10/20 AEP             390 make revisions to consolidated motion suggested by K. Duff (.2)                                        0.2         0.02       $7.80
            Disposition
May 2020    Asset                  05/10/20 AEP             390 Prepare all remaining proposed judicial orders associated with consolidated motion, update             2.1         0.21      $81.90
            Disposition                                         public sale auction procedures, prepare provisionally final complete set of motion papers
                                                                and exhibits, and transmit same to receivership team for additional comment (2.1)

May 2020    Asset                  05/10/20 MR              390 Attention to motion and follow up regarding draft sales motion (.2)                                    0.2 0.0222222          $8.67
            Disposition
May 2020    Asset                  05/10/20 MR              390 attention to issues regarding questions on pricing (.2).                                               0.2 0.0222222          $8.67
            Disposition
May 2020    Asset                  05/11/20 AEP             390 and review two draft certificates of service and notices of motion (.2)                                0.2         0.02       $7.80
            Disposition
May 2020    Asset                  05/11/20 AEP             390 Assemble consolidated motion with final drafts of all proposed orders and all exhibits (.8)            0.8         0.08      $31.20
            Disposition
May 2020    Asset                  05/11/20 AW              140 finalize motion, file with court, and serve as per service list (.6).                                  0.6         0.06       $8.40
            Disposition
May 2020    Asset                  05/11/20 AW              140 Attention to consolidated motion, obtain exhibits, draft notice of motion, and email counsel           0.5         0.05       $7.00
            Disposition                                         regarding potential revisions (.5)
May 2020    Asset                  05/11/20 JRW             260 exchange correspondence regarding consolidated motion to confirm and approve sales (.2).               0.2         0.02       $5.20
            Disposition




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                             Allocated   Allocated
            Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                          Keeper                                                                                                                              Hours        Fees
May 2020    Asset                  05/11/20 MR              390 Attention to latest draft motion regarding sales confirmation.                                               0.4 0.0444444        $17.33
            Disposition
May 2020    Asset                  05/12/20 AEP             390 read and respond to inquiry from counsel for prospective purchaser of seven properties                       0.2 0.0222222         $8.67
            Disposition                                         subsumed within seventh motion to confirm regarding potential timing of closings and status
                                                                of preparation of title commitments and surveys (.2)
May 2020    Asset                  05/12/20 AEP             390 review closing checklist, survey, and title commitment for all properties subsumed within                    1.2 0.1333333        $52.00
            Disposition                                         seventh motion to confirm sales, inventory all remaining special exceptions requiring hold
                                                                harmless letters, request necessary changes to title commitments to reflect new nominees,
                                                                and request updates to surveys to reflect new nominees (1.2)

May 2020    Asset                  05/12/20 AEP             390 review for accuracy all updated title commitments and surveys received in connection with                    0.5 0.0555556        $21.67
            Disposition                                         properties subsumed within seventh motion to confirm (.5)
May 2020    Asset                  05/15/20 AEP             390 Teleconference with receivership broker regarding status of preparation of purchase and                      0.2 0.0153846         $6.00
            Disposition                                         sale agreements for next tranche of receivership properties and status of closings of
                                                                receivership properties associated with prior tranche (.2)
May 2020    Asset                  05/18/20 JR              140 review the status of various properties related to judicial process and sale process (.9)                    0.9       0.025       $3.50
            Disposition
May 2020    Asset                  05/20/20 MR              390 Attention to issues on UBS property.                                                                         0.1 0.0111111         $4.33
            Disposition
May 2020    Asset                  05/25/20 JR              140 review purchase and sale agreements and update closing checklists with pertinent                             3.4 0.3777778        $52.89
            Disposition                                         information for various properties related to buyer and closing information, including 2018
                                                                and 2019 property tax information (7600 S. Kingston, 7656 S. Kingston, 5450 S. Indiana, 6437
                                                                S. Kenwood, 7760 S. Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside) (3.4).

May 2020    Asset                  05/26/20 AEP             390 prepare revised purchase and sale agreement for dissemination to prospective purchasers of                   1.4 0.1555556        $60.67
            Disposition                                         property in next marketing tranche, inventory surveys on corresponding properties and
                                                                prepare e-mail to surveyor regarding timing and status, review title commitments on
                                                                corresponding properties and requested updates from title company (1.4)

May 2020    Asset                  05/26/20 JR              140 further correspond with the leasing manager regarding all properties under contract and                      0.9 0.1285714        $18.00
            Disposition                                         soon to be under contract with detailed information for each related to new leases and
                                                                renewal policy (.9)
May 2020    Asset                  05/26/20 JR              140 review email from the title company regarding water certifications in ready status, update                   0.2 0.0285714         $4.00
            Disposition                                         information in electronic files regarding same (.2)
May 2020    Asset                  05/26/20 JR              140 review requested updated due diligence documents received from property manager and                          0.8 0.1142857        $16.00
            Disposition                                         forward same to buyer's property manager (.8).
May 2020    Asset                  05/27/20 JR              140 review email and exchange correspondence with the property manager regarding                                 0.2 0.0055556         $0.78
            Disposition                                         preparation of due diligence folders for properties going under contract and missing
                                                                information for same (.2)
May 2020    Asset                  05/27/20 JR              140 review receipts of earnest money (.2)                                                                        0.2 0.0055556         $0.78
            Disposition
May 2020    Asset                  05/27/20 JR              140 update closing checklist regarding same (.3)                                                                 0.3 0.0083333         $1.17
            Disposition


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours         Fees
May 2020    Asset                  05/27/20 JR              140 review properties currently being marketed and exchange correspondence with the property              0.2 0.0055556          $0.78
            Disposition                                         managers requesting all due diligence documents (.2)
May 2020    Asset                  05/27/20 JR              140 review water account information for same and update closing checklists (.7)                          0.7 0.0194444          $2.72
            Disposition
May 2020    Asset                  05/27/20 JR              140 begin drafting closing checklists and closing documents for properties under contract and in          1.8         0.05       $7.00
            Disposition                                         anticipation of court approval of confirmation of sale (1.8).
May 2020    Asset                  05/28/20 JR              140 draft master closing checklist for current properties under contract and in preparation for           0.6 0.0166667          $2.33
            Disposition                                         drafting closing documents (.6)
May 2020    Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold                 1.3 0.0126214          $4.92
            Operations                                          properties (1.3)
May 2020    Business               05/13/20 KMP             140 prepare form for funds transfer to insurance broker for down payment on financing                     0.4 0.0046512          $0.65
            Operations                                          agreement for general liability and umbrella policy and communications with K. Duff and
                                                                bank representatives regarding same (.4)
May 2020    Business               05/13/20 KMP             140 communicate with insurance broker to confirm funds transfer (.1).                                     0.1 0.0011628          $0.16
            Operations
May 2020    Business               05/14/20 KMP             140 Communicate with insurance premium funding company regarding contract (.1)                            0.1 0.0011628          $0.16
            Operations
May 2020    Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with               0.9 0.0087379          $1.22
            Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                regarding missing reports.
May 2020    Business               05/21/20 ED              390 calls (.2)                                                                                            0.2 0.0019417          $0.76
            Operations
May 2020    Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                       0.3 0.0029126          $1.14
            Operations                                          regarding same
May 2020    Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                      0.6 0.0058252          $2.27
            Operations
May 2020    Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales            0.5 0.0048544          $1.89
            Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                amounts by property (.5).
May 2020    Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                             1.1 0.0106796          $4.17
            Operations                                          correspondence.
May 2020    Business               05/22/20 KMP             140 follow up with broker to advise of confirmation of funds transfer (.1)                                0.1 0.0011628          $0.16
            Operations
May 2020    Business               05/22/20 KMP             140 Prepare request for wire transfer of funds to insurance broker for down payment on                    0.4 0.0046512          $0.65
            Operations                                          property insurance finance agreement, and communicate with bank representative and K.
                                                                Duff regarding same (.4)
May 2020    Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                               0.3 0.0029126          $1.14
            Operations
May 2020    Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                           0.2 0.0019417          $0.76
            Operations
May 2020    Business               05/26/20 KMP             140 review payment notices from insurance premium financing company and communicate with                  0.2 0.0023256          $0.33
            Operations                                          K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                   Allocated   Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                      Keeper                                                                                                                    Hours        Fees
May 2020    Business               05/29/20 ED          390 Review correspondence and documents.                                                               0.7 0.0067961         $2.65
            Operations
May 2020    Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                           0.3 0.0029126         $1.14
            Operations
May 2020    Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                      0.7 0.0067961         $2.65
            Operations
May 2020    Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                       0.3 0.0029126         $1.14
            Operations
May 2020    Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
            Administration                                  (.2).
            & Objections

May 2020    Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
            Administration
            & Objections

May 2020    Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
            Administration                                  accounting reports (.3).
            & Objections

May 2020    Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
            Administration
            & Objections

May 2020    Claims                 05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
            Administration
            & Objections

May 2020    Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
            Administration
            & Objections

May 2020    Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
            Administration
            & Objections

May 2020    Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544         $1.89
            Administration                                  (.5)
            & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                          Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                          Keeper                                                                                                                           Hours         Fees
May 2020    Claims                 05/20/20 ED              390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums                   0.1 0.0009709          $0.38
            Administration                                      relating to sold properties (.1).
            & Objections

June 2020   Asset                  06/01/20 KBD             390 Telephone conference with real estate broker regarding status of mixed use properties and                 0.2 0.0043478          $1.70
            Disposition                                         upcoming sales (.2)
June 2020   Asset                  06/03/20 KBD             390 Exchange correspondence with real estate broker regarding listed properties, sales, and                   0.2 0.0024691          $0.96
            Disposition                                         planning for review of offers.
June 2020   Asset                  06/04/20 KBD             390 Study and evaluate offer on properties with real estate broker, M. Rachlis, and A. Porter.                1.5         0.15      $58.50
            Disposition
June 2020   Asset                  06/19/20 KBD             390 Telephone conference with real estate broker regarding communications with lenders'                       0.1 0.0027778          $1.08
            Disposition                                         counsel relating to highest bids and credit bidding (.1)
June 2020   Asset                  06/24/20 KBD             390 Work on closing documents and various related issues (5450-52 S Indiana, 6437-41 S                        1.5      0.1875       $73.13
            Disposition                                         Kenwood, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis,
                                                                11117-11119 S Longwood) (1.5)
June 2020   Asset                  06/24/20 KBD             390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.                 1.5 0.0185185          $7.22
            Disposition                                         Rachlis regarding same (1.5)
June 2020   Business               06/04/20 KBD             390 Exchange correspondence with property manager regarding status of properties (.1)                         0.1 0.0019231          $0.75
            Operations
June 2020   Business               06/08/20 KBD             390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                    0.1 0.0012048          $0.47
            Operations
June 2020   Business               06/10/20 KBD             390 Study property management reports and expenses and telephone conference with K.                           0.5     0.00625        $2.44
            Operations                                          Pritchard regarding same (.5)
June 2020   Business               06/10/20 KBD             390 exchange correspondence with insurance broker regarding insurance renewal and exchange                    0.4       0.005        $1.95
            Operations                                          correspondence with E. Duff and J. Rak regarding same (.4)
June 2020   Business               06/15/20 KBD             390 Study financial reporting from property manager.                                                          0.2 0.0037736          $1.47
            Operations
June 2020   Asset                  06/01/20 MR              390 Attention to property sales (.2)                                                                          0.2 0.0043478          $1.70
            Disposition
June 2020   Asset                  06/01/20 MR              390 conferences with real estate broker A. Porter regarding same (.3).                                        0.3 0.0065217          $2.54
            Disposition
June 2020   Asset                  06/03/20 JR              140 review series 7 property bank account information for various properties and request same                 0.2 0.0222222          $3.11
            Disposition                                         from K. Pritchard in preparation for closings (.2)
June 2020   Asset                  06/04/20 AEP             390 read e-mails from purchaser's counsel regarding requested revisions to surveys and title                  0.5 0.0714286         $27.86
            Disposition                                         commitments to reflect identities of new lenders, update portfolio spreadsheet and closing
                                                                checklists accordingly, and prepare e-mails to surveyor and title insurer requesting amended
                                                                surveys and title commitments in connection with receivership properties (7760 S Coles,
                                                                8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450 S Indiana, 6437 S Kenwood)
                                                                (.5)
June 2020   Asset                  06/04/20 JR              140 review email from J. Wine regarding litigation matters and move all matters into Property                 0.8 0.0222222          $3.11
            Disposition                                         Sales folder in anticipation of production of documents to buyers related to series x
                                                                properties (.8)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                           Allocated    Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                          Keeper                                                                                                                            Hours         Fees
June 2020   Asset                  06/04/20 JR              140 review uploaded due diligence documents from property manager for various properties in                    0.6 0.0166667          $2.33
            Disposition                                         series x (.6)
June 2020   Asset                  06/04/20 JR              140 update closing checklists with requested due diligence documents for various properties in                 0.5 0.0138889          $1.94
            Disposition                                         series 7 and series x, including water account information (.5).
June 2020   Asset                  06/04/20 MR              390 Attention to issues on sales of thirteen properties and emails regarding same (.4)                         0.4         0.04      $15.60
            Disposition
June 2020   Asset                  06/04/20 MR              390 conferences regarding same with real estate broker and K. Duff and A. Porter regarding                     2.0          0.2      $78.00
            Disposition                                         analysis of offers and responses thereto (2.0)
June 2020   Asset                  06/05/20 AEP             390 review corrected surveys received in connection with next tranche of property sales (7760 S                0.4 0.0571429         $22.29
            Disposition                                         Coles, 8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450 S Indiana, 6437 S
                                                                Kenwood) and communicate with counsel for prospective purchasers regarding additional
                                                                requested revisions thereto, as well as clearance of remaining title exceptions (.4)

June 2020   Asset                  06/05/20 JR              140 follow up correspondence with property management related to a request for utility bills for               0.1 0.0027778          $0.39
            Disposition                                         various properties in series x (.1)
June 2020   Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                   0.1 0.0012048          $0.17
            Disposition
June 2020   Asset                  06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale                 3.2 0.0385542          $5.40
            Disposition                                         related to same (3.2)
June 2020   Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,                    3.2 0.0405063         $15.80
            Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020   Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to               2.4 0.0303797         $11.85
            Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020   Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                      1.4 0.0177215          $6.91
            Disposition
June 2020   Asset                  06/08/20 AEP             390 Review all updated title commitments and surveys for next sales tranche of receivership                    0.4 0.0571429         $22.29
            Disposition                                         properties (7760 S Coles, 8000 S Justine, 8107 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450 S
                                                                Indiana, 6437 S Kenwood), update spreadsheet, and disseminate same to buyers' counsel
                                                                (.4)
June 2020   Asset                  06/08/20 JR              140 review email correspondence from the title company related to updated title commitments                    0.7          0.1      $14.00
            Disposition                                         regarding various properties under contract, review and save in corresponding folders (.7)

June 2020   Asset                  06/08/20 JR              140 review water account information and title commitments and update water owner                              0.4 0.0571429          $8.00
            Disposition                                         information for various properties on closing checklists (.4)
June 2020   Asset                  06/09/20 AEP             390 prepare correspondence to counsel for all prospective purchasers of property in 7th sales                  0.3 0.0333333         $13.00
            Disposition                                         tranche regarding imminent approval of motion to confirm sales and begin scheduling
                                                                closings (.3)
June 2020   Asset                  06/10/20 JR              140 review granted consolidated motion for confirmation of various property sales, update                      0.5 0.0555556          $7.78
            Disposition                                         property spreadsheet and update closing checklists regarding same (.5)
June 2020   Asset                  06/10/20 JR              140 review email from property management regarding new leases for properties soon to be                       0.2 0.0055556          $0.78
            Disposition                                         under contract for various properties (.2)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                           Allocated    Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                          Keeper                                                                                                                            Hours         Fees
June 2020   Asset                  06/10/20 JR              140 draft water certificate applications for various properties, scan and email to the title                   3.3 0.3666667         $51.33
            Disposition                                         company for processing (5450 S. Indiana, 6437 S. Kenwood, 7300 S. St. Lawrence, 7760 S.
                                                                Coles, 8000 S. Justine, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside, 11117 S. Longwood) (3.3)

June 2020   Asset                  06/10/20 JR              140 Cont'd...received requested brokerage commission statements from real estate broker (.1)                   0.1 0.0027778          $0.39
            Disposition
June 2020   Asset                  06/10/20 JR              140 update closing checklists regarding same (.3)                                                              0.3 0.0083333          $1.17
            Disposition
June 2020   Asset                  06/10/20 JR              140 update closing checklists regarding same (.2)                                                              0.2 0.0222222          $3.11
            Disposition
June 2020   Asset                  06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered                  0.8 0.0097561          $3.80
            Disposition                                         against receivership properties in connection with ascertainment of final payoffs and release
                                                                of all remaining title exceptions on properties not yet sold (.8).

June 2020   Asset                  06/12/20 JR              140 review email and google links received from property manager related to HAP agreements                     0.5         0.25      $35.00
            Disposition                                         and due diligence for properties (6437 Kenwood and 5450 Indiana) (.5)

June 2020   Asset                  06/12/20 JR              140 review email from K. Pritchard regarding new account information and wire instructions in                  0.1 0.0027778          $0.39
            Disposition                                         preparation for the next tranche of properties to close (.1)
June 2020   Asset                  06/13/20 AEP             390 Review title commitments and surveys for all properties contained in seventh sales tranche                 3.3 0.3666667        $143.00
            Disposition                                         (7300-04 S St Lawrence, 7760 S Coles, 8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16
                                                                S Ingleside, 5450-52 S Indiana, 6437-41 S Kenwood, and 11117-11119 S Longwood), create
                                                                master to-do list of open issues pertaining to special exceptions and survey encroachments,
                                                                and e-mail same to title underwriter.

June 2020   Asset                  06/14/20 AEP             390 prepare new e-mail to title underwriter summarizing all questions posed, and issues                        0.5          0.1      $39.00
            Disposition                                         presented, by counsel for purchasers of seven properties and requesting guidance (.5).

June 2020   Asset                  06/14/20 AEP             390 Review correspondence from buyers' lenders regarding status of clearance of title exceptions               2.5 0.2777778        $108.33
            Disposition                                         on all properties contained in seventh sales tranche (7300-04 S St Lawrence, 7760 S Coles,
                                                                8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450-52 S Indiana, 6437-
                                                                41 S Kenwood, and 11117-11119 S Longwood), create supplemental to-do list and new
                                                                questions for title underwriter and respond to all inquiries (2.5)

June 2020   Asset                  06/15/20 JR              140 Review email from A. Porter and E. Duff regarding potential lender credit bid (.1)                         0.1 0.0027778          $0.39
            Disposition
June 2020   Asset                  06/15/20 JR              140 review various reports and provide the restoration amounts (.5)                                            0.5 0.0138889          $1.94
            Disposition
June 2020   Asset                  06/16/20 AEP             390 read e-mail from counsel for prospective purchaser of receivership properties (7760 S Coles,               0.3 0.0428571         $16.71
            Disposition                                         8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450-52 S Indiana, and
                                                                6437-41 S Kenwood) regarding scheduling of closings, forward requests to title company, and
                                                                update closing calendar and EquityBuild portfolio spreadsheet (.3)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours         Fees
June 2020   Asset                  06/16/20 AEP             390 review title underwriter responses to inquiries regarding title clearance for all receivership           0.6 0.0666667         $26.00
            Disposition                                         properties in next sales tranche (7300-04 S St Lawrence , 7760 S Coles, 8000-02 S Justine,
                                                                8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450-52 S Indiana, 6437-41 S Kenwood, and
                                                                11117-11119 S Longwood) and create list of action items to resolve remaining encumbrances
                                                                (.6)
June 2020   Asset                  06/16/20 JR              140 review email property manager regarding water meter pictures and forward to the title                    0.2          0.2      $28.00
            Disposition                                         company for processing of water certificate for property (6437 Kenwood) (.2)

June 2020   Asset                  06/16/20 JR              140 begin drafting closing documents for property in preparation for sale (6437 S. Kenwood) (.2).            0.2          0.2      $28.00
            Disposition
June 2020   Asset                  06/16/20 JR              140 exchange correspondence with the property management team requesting missing                             0.2          0.1      $14.00
            Disposition                                         information for closing (.2)
June 2020   Asset                  06/16/20 JR              140 follow up correspondence with the utility manager advising of all water certificate                      0.2          0.1      $14.00
            Disposition                                         applications submitted for various properties in anticipation of closings (.2)

June 2020   Asset                  06/17/20 JR              140 draft closing documents for property (6437 S. Kenwood) (2.1)                                             2.1          2.1     $294.00
            Disposition
June 2020   Asset                  06/18/20 AEP             390 communications with counsel for purchaser of receivership properties (5450-52 S Indiana,                 0.4 0.0571429         $22.29
            Disposition                                         6437-41 S Kenwood, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, and
                                                                8209 S Ellis) regarding adverse encroachments, unrecorded leases, and relating to
                                                                construction loan policies being issued to purchasers' lenders (.4)

June 2020   Asset                  06/18/20 AEP             390 request copies of final surveys for all properties in most recent sales tranche (5450-52 S               0.1      0.0125        $4.88
            Disposition                                         Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S
                                                                Ellis, 8209 S Ellis, and 11117-11119 S Longwood) (.1)
June 2020   Asset                  06/18/20 AEP             390 Review information received from surveyor regarding zoning endorsements on title policies                0.2 0.0222222          $8.67
            Disposition                                         for receivership properties (5450-52 S Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-02 S
                                                                Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis, 7600 S Kingston, and 7656 S
                                                                Kingston) and communicate same to buyers' counsel (.2)

June 2020   Asset                  06/18/20 AEP             390 read correspondence between title underwriter and counsel for purchaser of receivership                  0.1 0.0142857          $5.57
            Disposition                                         properties (5450- 52 S Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-02 S Justine, 8214- 16
                                                                S Ingleside, 8107-09 S Ellis, and 8209 S Ellis) regarding potential assignment of single escrow
                                                                agent to all closings (.1)
June 2020   Asset                  06/18/20 JR              140 Exchange correspondence with the property manager inquiring about security deposits held                 0.2          0.1      $14.00
            Disposition                                         at properties for all tenants (5450 S. Indiana and 6437 S. Kenwood) (.2)

June 2020   Asset                  06/18/20 JR              140 review email from property manager regarding same (.1)                                                   0.1         0.05       $7.00
            Disposition
June 2020   Asset                  06/18/20 JR              140 review additional requested documents and update rent roll and electronic files for same (.2)            0.2          0.1      $14.00
            Disposition




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                          Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                          Keeper                                                                                                                           Hours         Fees
June 2020   Asset                  06/19/20 AEP             390 Distribute copies of final signed surveys to counsel for all purchasers of receivership                   0.2 0.0222222          $8.67
            Disposition                                         properties in next tranche of closings (5450-52 S Indiana, 6437-41 S Kenwood, 7300 S St
                                                                Lawrence, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis,
                                                                and 11117 S Longwood).
June 2020   Asset                  06/19/20 AEP             390 communications with counsel for purchasers of receivership properties (5450-52 S Indiana,                 0.4 0.0666667         $26.00
            Disposition                                         6437-41 S Kenwood, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, and 8209 S Ellis)
                                                                regarding status of all outstanding title and survey issues (.4)

June 2020   Asset                  06/19/20 AEP             390 read e-mail from City of Chicago corporation counsel regarding judgment payoff status                     0.6 0.0857143         $33.43
            Disposition                                         associated with receivership properties (5450-52 S Indiana, 6437-41 S Kenwood, 7760 S
                                                                Coles, 8000-02 S Justine, 8214-16 S Ingleside, 7300 S St Lawrence, and 8209 S Ellis), add new
                                                                information to judgment tracking spreadsheet, and prepare comprehensive response
                                                                regarding inconsistencies between City of Chicago records and EquityBuild records (.6)

June 2020   Asset                  06/19/20 JR              140 Follow up correspondence with the title company regarding status of water certificates for                0.1 0.0333333          $4.67
            Disposition                                         closings (.1)
June 2020   Asset                  06/19/20 JR              140 draft partial closing documents for properties (6437 S. Kenwood, 7300 S. St. Lawrence, 8000               2.4          0.8     $112.00
            Disposition                                         S. Justine) (2.4).
June 2020   Asset                  06/20/20 AEP             390 read latest e-mails from counsel for purchaser of seven receivership properties (7760 S Coles,            1.7 0.2428571         $94.71
            Disposition                                         8000-02 S Justine, 8107-09 S Ellis, 8209 S Ellis, 8214-16 S Ingleside, 5450- 52 S Indiana, and
                                                                6437-41 S Kenwood), check all title commitments and surveys, assemble and attach copies of
                                                                all pleadings relating to administrative and housing court actions, describe current status of
                                                                payment of all outstanding judgments associated with same properties, e-mail property
                                                                managers for clarification regarding existence of permits, status of building inspections, and
                                                                basis for permanent injunctions, and update action items to be addressed with title
                                                                underwriter and surveyor (1.7)

June 2020   Asset                  06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                      0.2 0.0024691          $0.96
            Disposition                                         portfolio spreadsheet to plan accordingly (.2)
June 2020   Asset                  06/22/20 AEP             390 for all properties in next closing tranche (5450-52 S Indiana, 6437-41 S Kenwood, 7300 S St               0.6 0.0666667         $26.00
            Disposition                                         Lawrence, 7760 S Coles, 8000-02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis,
                                                                and 11117 S Longwood) review and revise as appropriate all real estate brokerage and
                                                                property manager lien waivers (.6)
June 2020   Asset                  06/22/20 AEP             390 create closing statements, check real estate tax status, reconcile title invoices, review payoff          3.6          0.4     $156.00
            Disposition                                         statements received from City of Chicago, and update closing spreadsheets (3.6)

June 2020   Asset                  06/22/20 JR              140 exchange correspondence with property manager requesting execution of lien waivers for                    0.2          0.1      $14.00
            Disposition                                         various properties in anticipation of closing (.2)
June 2020   Asset                  06/22/20 JR              140 draft and review notice to tenants for properties (5450 S. Indiana and 6437 S. Kenwood) (.7)              0.7         0.35      $49.00
            Disposition
June 2020   Asset                  06/22/20 JR              140 review requested delinquency reports for various Paper Street properties preparation for                  0.2          0.1      $14.00
            Disposition                                         closings (.2)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
June 2020   Asset                  06/22/20 JR              140 review email from property manager regarding request to modify notice to tenants for                    0.6          0.3      $42.00
            Disposition                                         properties (5450 S. Indiana and 6437 S. Kenwood) (.6).
June 2020   Asset                  06/22/20 JR              140 check tax status of properties (.3)                                                                     0.3         0.15      $21.00
            Disposition
June 2020   Asset                  06/22/20 JR              140 exchange correspondence with the property manager requesting signature of lien waivers                  0.1         0.05       $7.00
            Disposition                                         and notice to tenants relating to same (.1)
June 2020   Asset                  06/23/20 AEP             390 review closing files and other pertinent documents and proofread, edit, and revise as needed            3.5       0.875      $341.25
            Disposition                                         all closing documents associated with sales of receivership properties (6437 S Kenwood,
                                                                5450 S Indiana, 8000 S Justine, and 7760 S Coles) (3.5).

June 2020   Asset                  06/23/20 AEP             390 Read responses received from J. Wine regarding status of administrative and housing court               0.4 0.0333333         $13.00
            Disposition                                         proceedings associated with unsold receivership properties and reconcile information with
                                                                judgment tracking spreadsheet (.4)
June 2020   Asset                  06/23/20 AEP             390 review status of all properties in most current sales tranche and update to-do list (.1).               0.1      0.0125        $4.88
            Disposition
June 2020   Asset                  06/23/20 JR              140 further correspondence with the title company regarding status of water certificate for                 0.1          0.1      $14.00
            Disposition                                         property (6437 S. Kenwood) (.1)
June 2020   Asset                  06/23/20 JR              140 follow up correspondence with the title company regarding water certificate for an                      0.1          0.1      $14.00
            Disposition                                         upcoming closing (6437 S. Kenwood) (.1)
June 2020   Asset                  06/23/20 JR              140 review leases for property (6437 S. Kenwood) (.5)                                                       0.5          0.5      $70.00
            Disposition
June 2020   Asset                  06/23/20 JR              140 exchange correspondence with the property manager regarding missing items for same (.2).                0.2          0.2      $28.00
            Disposition
June 2020   Asset                  06/23/20 JR              140 exchange correspondence with the property manager regarding updated financial reports                   0.1         0.05       $7.00
            Disposition                                         for closings (5450 S. Indiana and 6437 S. Kenwood) (.1)
June 2020   Asset                  06/23/20 JR              140 update certified rent roll regarding same (.3)                                                          0.3          0.3      $42.00
            Disposition
June 2020   Asset                  06/24/20 AEP             390 Meeting with K. Duff and J. Rak to finalize preparation, proofing, editing, revising,                   1.8       0.225       $87.75
            Disposition                                         inventorying, signing, notarizing, and witnessing of all closing documents associated with
                                                                sales of receivership properties (5450-52 S Indiana, 6437-41 S Kenwood, 7760 S Coles, 8000-
                                                                02 S Justine, 8214-16 S Ingleside, 8107-09 S Ellis, 8209 S Ellis, and 11117 S Longwood) (1.8)

June 2020   Asset                  06/24/20 JR              140 follow up correspondence with the title company water department regarding status of                    0.1          0.1      $14.00
            Disposition                                         water certification for closing (6437 Kenwood) (.1)
June 2020   Asset                  06/24/20 JR              140 exchange correspondence with property management regarding same for separate property                   0.2          0.2      $28.00
            Disposition                                         (6437 S. Kenwood) (.2)
June 2020   Asset                  06/24/20 JR              140 produce closing documents of all various properties scheduled to close in preparation for               1.4          0.2      $28.00
            Disposition                                         execution by the receiver (1.4)
June 2020   Asset                  06/24/20 JR              140 meeting with A. Porter and K. Duff regarding execution of all closing documents scheduled to            1.8          0.2      $28.00
            Disposition                                         close on properties (5450 S. Indiana, 6437 S. Kenwood, 7760 S. Coles, 8000 S. Justine, 7300 S.
                                                                St. Lawrence, 8107 S. Ellis, 8209 S. Ellis, 8214 S. Ingleside, 11117 S. Longwood) (1.8).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated    Allocated
            Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                         Hours         Fees
June 2020   Asset                  06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                          0.4 0.0049383          $1.93
            Disposition
June 2020   Asset                  06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).                1.5 0.0185185          $7.22
            Disposition
June 2020   Asset                  06/25/20 AEP             390 Attend closings of receivership properties (5450 S Indiana and 6437 S Kenwood), including               5.8          2.9   $1,131.00
            Disposition                                         multiple analyses of and revisions to rent rolls, negotiations over water prorations and other
                                                                expenses, review and analysis of multiple drafts of settlement statements, inventorying of
                                                                closing documents, and review and analysis of all surveys and survey invoices associated
                                                                with final tranche of receivership properties (5.8)

June 2020   Asset                  06/25/20 JR              140 exchange correspondence with all parties regarding confirmation of closing of property                  0.1          0.1      $14.00
            Disposition                                         (6437 S. Kenwood) exchange correspondence with buyer's counsel regarding requested
                                                                documents for closing (11117 Longwood) (.1)
June 2020   Asset                  06/25/20 JR              140 update certified rent roll for closing (.2)                                                             0.2          0.2      $28.00
            Disposition
June 2020   Asset                  06/25/20 JR              140 attend closing for property (6437 S. Kenwood) (2.6)                                                     2.6          2.6     $364.00
            Disposition
June 2020   Asset                  06/25/20 JR              140 further correspondence with the property manager regarding closing of property (6437 S.                 0.1          0.1      $14.00
            Disposition                                         Kenwood) and request for updated financials for property (.1)
June 2020   Asset                  06/25/20 KMP             140 Telephone conference with J. Rak to confirm wire information for upcoming property sales.               0.2         0.02       $2.80
            Disposition
June 2020   Asset                  06/26/20 KMP             140 Review online banking platform to confirm receipt of sale proceeds for properties (6437                 0.2          0.1      $14.00
            Disposition                                         Kenwood, 5450 S Indiana) and communicate with J. Rak regarding same.

June 2020   Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                  0.7 0.0067961          $2.65
            Operations                                          receivership.
June 2020   Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                                0.4 0.0038835          $1.51
            Operations
June 2020   Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting             1.9 0.0184466          $7.19
            Operations                                          reports (1.9)
June 2020   Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related                 1.0 0.0097087          $3.79
            Operations                                          documents and correspondence.
June 2020   Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                   0.2 0.0019417          $0.76
            Operations                                          expenditures during March 2020.
June 2020   Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                      0.2 0.0019417          $0.76
            Operations                                          correspondence with B. Fish regarding same.
June 2020   Business               06/10/20 KMP             140 Communications with J. Rak and bank representative regarding opening new accounts for                   0.2 0.0222222          $3.11
            Operations                                          properties to be sold (.2)
June 2020   Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)                0.7 0.0067961          $2.65
            Operations
June 2020   Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                  0.4 0.0038835          $1.51
            Operations




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                       Hours         Fees
June 2020   Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting               0.6 0.0058252          $2.27
            Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                unsold properties (.6)
June 2020   Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                             0.5 0.0048544          $1.89
            Operations
June 2020   Business               06/23/20 JRW             260 Study pleadings in administrative matters for properties under contract for sale (1700                0.9       0.075       $19.50
            Operations                                          Juneway Terrace, 5450-52 S Indiana Avenue/ 118-132 E Garfield, 6437 S Kenwood Avenue,
                                                                7300-04 St Lawrence Avenue, 7760 S Coles Avenue, 8000 S Justine Street/ 1541 E 80th Street,
                                                                8107 S Ellis Avenue, 8209 S Ellis Avenue, 8214 S Ingleside, 7237 S Bennett Avenue, 11117-
                                                                11119 S Longwood Drive, 6949-59 S Merrill Avenue / 2134-40 East 68th Street) and related
                                                                status update to A. Porter.
June 2020   Business               06/24/20 AEP             390 Conference call with receivership accountant regarding proper completion of Form 1099-S               0.3 0.0090909          $3.55
            Operations                                          tax documents at closings of receivership properties.
June 2020   Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)            0.2 0.0019417          $0.76
            Operations
June 2020   Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                            0.1 0.0009709          $0.38
            Operations
June 2020   Business               06/26/20 KMP             140 prepare request forms for funds transfer relating to property manager's request and to                0.3 0.0036585          $0.51
            Operations                                          installment on insurance premium financing and communicate with K. Duff regarding same
                                                                (.3).
July 2020   Asset                  07/01/20 KBD             390 Attention to sold properties, closing date confirmations, publication notice, and post-sale           0.3         0.03      $11.70
            Disposition                                         accounting reconciliation.
July 2020   Asset                  07/23/20 KBD             390 exchange correspondence regarding certificate of publication (.1).                                    0.1 0.0043478          $1.70
            Disposition
July 2020   Business               07/01/20 KBD             390 review information and draft correspondence to insurance broker regarding sold properties             0.2       0.025        $9.75
            Operations                                          (.2).
July 2020   Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).               1.3 0.0126214          $1.77
            Disposition
July 2020   Asset                  07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and             0.9 0.0230769          $9.00
            Disposition                                         completeness in connection with final reconciliation and payment of municipal judgments
                                                                (.9).
July 2020   Asset                  07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution          0.5 0.0128205          $5.00
            Disposition                                         of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020   Asset                  07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative          1.7 0.0435897         $17.00
            Disposition                                         and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                receivership properties, both current and former (1.7).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours        Fees
July 2020   Asset                  07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538        $18.00
            Disposition                                         receivership properties in connection with effort to achieve full and final accord with City of
                                                                Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020   Asset                  07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                      4.4 0.0656716         $9.19
            Disposition                                         communications with EB team regarding same.
July 2020   Asset                  07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026        $25.00
            Disposition                                         with receivership properties and completion of spreadsheet of outstanding judgments (2.5).

July 2020   Asset                  07/27/20 AEP             390 review spreadsheet of active administrative and housing court proceedings received from J.               0.5 0.0166667         $6.50
            Disposition                                         Wine and reconcile same with spreadsheet separately assembled to track all known
                                                                receivership actions (.5).
July 2020   Asset                  07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718        $37.00
            Disposition                                         violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                of final sales tranche (3.7)
July 2020   Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                          0.1 0.0027778         $0.39
            Disposition
July 2020   Business               07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                    0.3 0.0044776         $0.63
            Operations                                          for exhibits to proposed restoration motion (.3)
July 2020   Business               07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                    2.3 0.0343284         $4.81
            Operations                                          exhibits to restoration motion (2.3).
July 2020   Business               07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in                3.5 0.0522388         $7.31
            Operations                                          narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                same (3.5)
July 2020   Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                          3.7 0.0359223        $14.01
            Operations
July 2020   Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                                0.4 0.0038835         $1.51
            Operations
July 2020   Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                              0.2 0.0019417         $0.76
            Operations
July 2020   Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                   0.4 0.0038835         $1.51
            Operations
July 2020   Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related                 0.6 0.0058252         $2.27
            Operations                                          documentation of March property income and expense (.6)
July 2020   Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                       0.3 0.0029126         $1.14
            Operations                                          accounting report drafts (.3)
July 2020   Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                    0.7 0.0067961         $2.65
            Operations                                          correspondence to lenders' counsel (.7).
July 2020   Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.            0.8    0.007767       $1.09
            Operations                                          Duff regarding same (.8).


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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
July 2020   Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                  0.8    0.007767       $1.09
            Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                institutional debt, and have been sold (.8)
July 2020   Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate               0.8 0.0235294         $3.29
            Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020   Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                   0.2 0.0019417         $0.27
            Operations
July 2020   Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                             0.1 0.0009709         $0.38
            Operations
July 2020   Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports           0.3 0.0029126         $0.41
            Operations                                          (.3)
July 2020   Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the               0.3 0.0029126         $0.41
            Operations                                          benefit of other properties (.3).
July 2020   Business               07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                              0.2 0.0029851         $0.42
            Operations
July 2020   Business               07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).            0.2 0.0029851         $0.42
            Operations
July 2020   Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                       3.7 0.0359223         $5.03
            Operations                                          management relating to all income and loss statements (3.7).
July 2020   Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                    0.5 0.0048544         $0.68
            Operations                                          information related to discrepancies discovered in reports (.5).
July 2020   Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                        0.6 0.0058252         $0.82
            Operations
July 2020   Business               07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                             0.3 0.0044776         $0.63
            Operations
July 2020   Business               07/24/20 KMP             140 electronically file same with court (.3)                                                              0.3 0.0044776         $0.63
            Operations
July 2020   Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to               0.8    0.007767       $3.03
            Operations                                          preparation of April accounting reports.
July 2020   Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                        0.1 0.0009709         $0.38
            Operations
July 2020   Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                    0.2 0.0019417         $0.76
            Operations
July 2020   Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                        0.2 0.0019417         $0.76
            Operations
July 2020   Claims                 07/01/20 JR              140 Review March property financial documents.                                                            2.4    0.023301       $3.26
            Administration
            & Objections

July 2020   Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'               0.4 0.0038835         $1.51
            Administration                                      counsel (.4)
            & Objections




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                        Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                         Hours        Fees
July 2020   Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding           0.2 0.0019417         $0.76
            Administration                                      remaining reimbursable amounts by property (.2).
            & Objections

July 2020   Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                               1.7 0.0165049         $6.44
            Administration
            & Objections

July 2020   Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).             0.6 0.0058252         $2.27
            Administration
            & Objections

August 2020 Claims                 08/04/20 KBD             390 draft correspondence to other claimant's counsel regarding requests for records (.3)                    0.3 0.0037037         $1.44
            Administration
            & Objections

August 2020 Asset                  08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Business               08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                          accounting reports (1.9)
August 2020 Business               08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                          (.4)
August 2020 Business               08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                          addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                need to be supplemented (.8)
August 2020 Business               08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations
August 2020 Business               08/13/20 ED              390 review and analysis of related documents and reports (.2).                                              0.2 0.0023529         $0.92
            Operations
August 2020 Business               08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be                0.1 0.0011765         $0.46
            Operations                                          listed for sale (.1)
August 2020 Business               08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126         $1.14
            Operations                                          accounting reports (.3)
August 2020 Business               08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709         $0.38
            Operations
August 2020 Business               08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager                0.2 0.0031746         $1.24
            Operations                                          (.2)
August 2020 Business               08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126         $1.14
            Operations                                          accountant for preparation of May accounting reports (.3)
August 2020 Business               08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                       0.1 0.0015873         $0.62
            Operations




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
August 2020 Business               08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835          $1.51
            Operations                                          regarding details and backup for information to include in May accounting reports to
                                                                lenders.
September   Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455          $1.77
2020        Disposition
September   Claims                 09/25/20 KBD             390 Work on communications with claimants.                                                               0.4 0.1333333         $52.00
2020        Administration
            & Objections

September   Asset                  09/01/20 AW              140 Communicate with J. Rak regarding issue relating to property sales, compile pleadings                1.6 0.1066667         $14.93
2020        Disposition                                         related to same, and email K. Duff complete set of pleadings.
September   Asset                  09/16/20 JR              140 review email from K. Duff related to request of 2nd quarter 2020 closed properties, draft            0.2 0.0153846          $2.15
2020        Disposition                                         same and provide K. Duff regarding same (.2)
September   Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417          $0.76
2020        Operations                                          preparation of May accounting reports (.2)
September   Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417          $0.76
2020        Operations                                          property managers needed for preparation of May accounting reports (.2)
September   Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126          $1.14
2020        Operations                                          regarding same (.3)
September   Business               09/08/20 JRW             260 confer with A. Porter and K. Duff regarding city violation notices (6327 S Kenwood, 5001 S           0.6          0.3      $78.00
2020        Operations                                          Drexel) and related factual research (.6).
September   Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126          $1.14
2020        Operations                                          financial reporting information for May 2020.
September   Business               09/11/20 AEP             390 Review and analyze dozens of continuance and judgment orders associated with former                  0.7         0.35     $136.50
2020        Operations                                          EquityBuild properties (5001 S Drexel and 6437 S Kenwood) and forward same to counsel for
                                                                purchasers.
September   Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417          $0.76
2020        Operations
September   Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505          $4.54
2020        Operations                                          (1.2)
September   Business               09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account           0.8 0.0119403          $1.67
2020        Operations                                          numbers for all properties subject to order (.8)
September   Business               09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)              0.2 0.0029851          $0.42
2020        Operations
September   Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417          $0.27
2020        Operations                                          (.2).
September   Business               09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same               2.1 0.0313433          $4.39
2020        Operations                                          (2.1)
September   Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505          $4.54
2020        Operations
October     Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571          $1.11
2020        Operations




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                         Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                          Keeper                                                                                                                          Hours         Fees
October     Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                       0.3 0.0028571          $1.11
2020        Operations
October     Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                          3.3 0.0320388          $4.49
2020        Disposition
October     Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)                0.9 0.0087379          $1.22
2020        Disposition
October     Asset                  10/06/20 JR              140 review post-closing reconciliation report and update electronic files for all closed properties          0.4 0.0444444          $6.22
2020        Disposition                                         (.4)
October     Asset                  10/06/20 JR              140 request same from property management (.2)                                                               0.2 0.0045455          $0.64
2020        Disposition
October     Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                       0.5 0.0048544          $0.68
2020        Disposition                                         information (.5)
October     Asset                  10/13/20 JR              140 update post-closing reconciliation reports related to all closed properties (.6)                         0.6 0.0666667          $9.33
2020        Disposition
October     Asset                  10/13/20 JR              140 follow up correspondence with property management regarding post-closing reconciliation                  0.1 0.0111111          $1.56
2020        Disposition                                         funds for closed properties (.1)
October     Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).              0.2 0.0019417          $0.76
2020        Operations
October     Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                   0.1 0.0009709          $0.38
2020        Operations
October     Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                     0.9 0.0087379          $3.41
2020        Operations
October     Business               10/05/20 JRW             260 investigate administrative proceeding against property (6437 S Kenwood) (.3)                             0.3          0.3      $78.00
2020        Operations
October     Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                       0.1 0.0009709          $0.38
2020        Operations
October     Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                 0.3 0.0029126          $1.14
2020        Operations                                          requiring revision (.3).
October     Business               10/07/20 ED              390 final review of May reports (1.0).                                                                       1.0 0.0097087          $3.79
2020        Operations
October     Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                   0.8    0.007767        $3.03
2020        Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                reimbursable amounts by properties. (.2)
October     Business               10/08/20 ED              390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as                1.5 0.0145631          $5.68
2020        Operations                                          of May 31, 2020 (1.5)
October     Business               10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting                0.5 0.0048544          $1.89
2020        Operations                                          reports (.5).
October     Business               10/09/20 AW              140 Prepare financial statements on property by property basis for service and email E. Duff                 1.1 0.0106796          $1.50
2020        Operations                                          regarding reports.
October     Business               10/09/20 ED              390 email correspondence with accountant regarding analyses of restoration and reimbursement                 0.5 0.0048544          $1.89
2020        Operations                                          amounts (.2) organize financial data for use in preparing accounting reports (.3).




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
October     Business               10/09/20 ED              390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252          $2.27
2020        Operations
October     Business               10/12/20 JRW             260 correspondence to A. Porter and K. Duff regarding upcoming administrative hearing (6437 S.           0.1          0.1      $26.00
2020        Operations                                          Kenwood) (.1)
October     Business               10/12/20 JRW             260 review files regarding upcoming administrative hearings (6437 S Kenwood, 5001 S Drexel,              0.4          0.1      $26.00
2020        Operations                                          6356 S California, 5618 S MLK) (.4)
October     Business               10/13/20 ED              390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020        Operations
October     Business               10/13/20 JRW             260 confer with A. Porter regarding dismissal from administrative matter (6437 S Kenwood) (.1)           0.1          0.1      $26.00
2020        Operations
October     Business               10/14/20 JRW             260 correspondence to City of Chicago Ownership Dispute unit regarding pending administrative            0.2          0.2      $52.00
2020        Operations                                          matter (6437 S Kenwood) (.2)
October     Business               10/15/20 JRW             260 correspond with City of Chicago Ownership Dispute division and A. Porter regarding evidence          0.1          0.1      $26.00
2020        Operations                                          of payment (6437 S Kenwood) (.1)
October     Business               10/20/20 ED              390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020        Operations                                          restoration and future reporting from receivership, including attachments describing funds
                                                                transfers and confer with K. Duff regarding same (.8)
October     Business               10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020        Operations                                          accounting reports (.3)
October     Business               10/20/20 ED              390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020        Operations                                          approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                                Properties (.7).
October     Business               10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020        Operations                                          property manager (.2)
October     Business               10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020        Operations                                          updating financial reporting to lenders and for use in management of portfolio by Receiver.

October     Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020        Operations
October     Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020        Operations                                          property financial reporting (.2).
October     Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020        Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                reimbursed from proceeds of property sales (1.3)
October     Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020        Operations                                          reports, and review of related financial information.
November    Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022        $3.08
2020        Disposition
November    Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868          $0.26
2020        Disposition
November    Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020        Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                through September 2020 (.7)


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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
November    Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020        Operations
November    Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020        Operations                                          property reports (.3)
November    Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020        Operations
November    Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020        Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November    Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020        Operations                                          correspondence with accountants and property manager regarding same (.4)

November    Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020        Operations                                          needed for preparation of June reporting.
November    Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020        Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November    Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020        Operations                                          reports, and steps to begin preparation of July reports (.3)
November    Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020        Operations                                          reporting information required for preparation of July property reports.

November    Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020        Operations                                          accounting reports and preparation of draft August reports (.3).
December    Claims                 12/22/20 KBD             390 revise correspondence to claimant's counsel (6437-41 S Kenwood Avenue, 8100 S Essex                  0.2         0.05      $19.50
2020        Administration                                      Avenue, 701-13 S 5th Avenue, 7508 S Essex Avenue) (.2)
            & Objections

December    Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020        Disposition                                         discrepancy (.9)
December    Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020        Disposition                                         (.1)
December    Asset                  12/23/20 KMP             140 communicate with property manager regarding final reconciliations for sold properties (3074          0.5 0.0714286         $10.00
2020        Disposition                                         Cheltenham, 7508 Essex, 4520 Drexel, 7110 Cornell, 5450 Indiana, 6437 Kenwood, 7450
                                                                Luella) (.5).
December    Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020        Operations
December    Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020        Operations                                          accounting reports and preparation of draft September reports (.1).
December    Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020        Operations                                          related financial reporting from property managers (2.1).
December    Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020        Operations




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
December    Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619         $9.66
2020        Operations                                          property managers (2.6).
December    Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524         $0.37
2020        Operations                                          preparation of September property accounting reports (.1)
December    Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286         $4.46
2020        Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December    Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857         $5.57
2020        Operations
December    Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714         $3.34
2020        Operations                                          properties (.9).
December    Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048         $0.74
2020        Operations
December    Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095         $1.49
2020        Operations                                          changes (.4)
December    Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095         $1.49
2020        Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                agreements, and updates to schedule of properties.
December    Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048         $0.74
2020        Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                relating to same.
January     Asset                  01/11/21 KBD             390 study final reports from property manager (7450 S Luella Avenue, 7508 S Essex Avenue, 4520-          0.4 0.0571429        $22.29
2021        Disposition                                         26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S
                                                                Cornell Avenue, 3074 E Cheltenham Place) (.4).
January     Asset                  01/11/21 KBD             390 Confer with J. Wine regarding post-sale account reconciliation and transfers of funds from           0.2 0.0285714        $11.14
2021        Disposition                                         property managers to separate accounts (7450 S Luella Avenue, 7508 S Essex Avenue, 4520-
                                                                26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S
                                                                Cornell Avenue, 3074 E Cheltenham Place) (.2)
January     Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048         $0.74
2021        Operations
January     Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048         $0.74
2021        Operations                                          expenses.
January     Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524         $0.37
2021        Administration                                      relating to accounting reports (.1).
            & Objections

January     Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704         $2.85
2021        Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                properties in receivership and previously acquired and sold properties and update
                                                                EquityBuild portfolio spreadsheet.




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
January     Asset                  01/11/21 JR              140 Exchange communication with J. Wine regarding post-closing reconciliation request and                0.1 0.0142857         $2.00
2021        Disposition                                         provide same (7508 S Essex Avenue, 4520-26 S Drexel Boulevard, 7450 S Luella Avenue, 5450-
                                                                52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S Cornell Avenue, 3074 E
                                                                Cheltenham Place) (.1)
January     Asset                  01/11/21 KMP             140 Telephone conference with J. Wine regarding property manager's post- sale reconciliation             0.4 0.0571429         $8.00
2021        Disposition                                         reports and review online bank records to confirm deposits of post-sale funds (7508 S Essex
                                                                Avenue, 4520-26 S Drexel Boulevard, 7450 S Luella Avenue, 5450-52 S Indiana Avenue, 6437-
                                                                41 S Kenwood Avenue, 7110 S Cornell Avenue, 3074 E Cheltenham Place).

January     Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                         0.1 0.0009524         $0.37
2021        Operations
January     Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                 0.5 0.0047619         $1.86
2021        Operations
January     Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                       0.3 0.0028571         $1.11
2021        Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January     Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                     4.1 0.0390476         $5.47
2021        Operations
January     Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond                0.1 0.0009524         $0.13
2021        Operations                                          accordingly regarding status review of same (.1)
January     Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October               0.2 0.0019048         $0.27
2021        Operations                                          and November 2020 and forward same to her.
January     Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                 1.3    0.012381       $4.83
2021        Operations                                          property (1.3).
January     Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                      1.9 0.0180952         $7.06
2021        Operations
January     Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                     0.1 0.0009524         $0.13
2021        Operations                                          reporting (.1).
January     Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                         2.4 0.0228571         $3.20
2021        Operations
January     Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              3.4    0.032381      $12.63
2021        Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                expenditures, and final reporting from property managers with respect to sold properties.

January     Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              0.9 0.0085714         $3.34
2021        Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                expenditures, and final reporting from property managers with respect to sold properties.

January     Business               01/11/21 JRW             260 study spreadsheets from property manager (2220 East 75th Street, 2453-59 E 75th Street,              0.6 0.0857143        $22.29
2021        Operations                                          4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7110 S
                                                                Cornell Avenue, 7836 S Shore Drive) (.6).
January     Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and              0.6 0.0057143         $2.23
2021        Operations                                          corrections necessary.




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
January     Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571         $1.11
2021        Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                documents.
January     Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property             0.2 0.0033333         $0.47
2021        Operations                                          report (.2)
January     Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021        Operations
January     Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021        Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January     Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021        Operations                                          (.3).
January     Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021        Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January     Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021        Operations
January     Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021        Operations                                          prepare same as per E. Duff's request.
January     Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021        Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                property sales (.5)
January     Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021        Operations
January     Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021        Operations                                          properties (.6)
January     Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021        Operations                                          and effect on data presented in September accounting reports (.4)

January     Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021        Operations                                          updates (.8)
January     Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021        Operations                                          reports (1.7)
January     Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021        Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                email correspondence with accountants and J. Rak (.4).

January     Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021        Operations




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6437-41 S Kenwood Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated    Allocated
            Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                          Keeper                                                                                                                      Hours         Fees
January     Claims                 01/19/21 JP                   95 review lender statement of accounts, full client history, and mortgagee spreadsheet and          1.5          1.5     $142.50
2021        Administration                                          complete claims analysis for property (6437-41 S Kenwood Avenue) (1.5)
            & Objections

January     Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143          $0.80
2021        Administration                                      lenders.
            & Objections

February    Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697          $0.51
2021        Disposition                                         and status of same (.4)
February    Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797          $2.64
2021        Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                December 31, 2020 (.4)
February    Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644          $4.63
2021        Operations
February    Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048          $0.74
2021        Operations                                          of October 2020 accounting reports.
February    Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762          $4.27
2021        Operations                                          November and December and produce same in preparation for review.
February    Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762          $4.09
2021        Operations
February    Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857          $4.80
2021        Operations
February    Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048          $0.27
2021        Operations
February    Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571          $0.40
2021        Operations                                          reporting.
February    Claims                 02/12/21 SZ              110 Continued to review claims (1700-08 W Juneway Terrace, 7749-59 S Yates Boulevard, 6160-              5.0       0.625       $68.75
2021        Administration                                      6212 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S
            & Objections                                        Sacramento Avenue, 6001-05 S Sacramento Avenue, 7237-43 S Bennett Avenue) and update
                                                                with information about independent contractors and trade consultants.

March 2021 Business                03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                   0.3 0.0028571          $1.11
           Operations
March 2021 Business                03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                          2.2 0.0209524          $8.17
           Operations
March 2021 Business                03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                0.7 0.0066667          $2.60
           Operations
March 2021 Business                03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                 0.2 0.0019048          $0.74
           Operations
March 2021 Business                03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership               1.8 0.0171429          $2.40
           Operations                                           properties and produce same.




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6437-41 S Kenwood Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).              0.1 0.0009524         $0.37
           Operations
March 2021 Claims                   03/11/21 SZ              110 Email communication with J. Wine regarding update on review of properties (1700-08 W                 0.4 0.0285714         $3.14
           Administration                                        Juneway Terrace, 5450-52 S Indiana Avenue, 7749-59 S Yates Boulevard, 6160-6212 S Martin
           & Objections                                          Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S Sacramento
                                                                 Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 7237-43 S Bennett
                                                                 Avenue, 701-13 S 5th Avenue, Maywood, 11117-11119 S Longwood Drive, 7834-44 S Ellis
                                                                 Avenue, 4611-17 S Drexel Boulevard).

April 2021   Business               04/08/21 KBD             390 Exchange correspondence with insurance broker regarding credits for sold properties (.1)             0.1 0.0026316         $1.03
             Operations
April 2021   Business               04/13/21 KBD             390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                          7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                                 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                 Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                 Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                 Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                                 1414-18 East 62nd Place) (.3)

April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                     0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation              0.1 0.0009524         $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and           0.1 0.0009524         $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence               1.4 0.0133333         $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-            0.3 0.0028571         $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to             0.3 0.0047619         $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)            0.1 0.0015873         $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)                0.2    0.003125       $0.44
             Disposition                                         (.2)




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for four properties (11117-11119 S               0.3       0.075      $29.25
             Operations                                          Longwood Drive, 7237-43 S Bennett Avenue, 6437-41 S Kenwood Avenue, 8100 S Essex
                                                                 Avenue (.3)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857         $2.00
             Operations
April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524         $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762         $4.27
             Operations
April 2021   Business               04/29/21 SZ              110 Review of property managers emails with invoices for properties (7024-32 S Paxton Avenue,           2.6 0.2363636        $26.00
             Operations                                          6217-27 S Dorchester Avenue, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard, 2220 East
                                                                 75th Street, 2453-59 E 75th Street, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue,
                                                                 6437-41 S Kenwood Avenue, 7110 S Cornell Avenue, 7836 S Shore Drive), SSPH1 properties
                                                                 (4750-52 S Indiana Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street, 7840-42 S Yates
                                                                 Avenue), (816-22 E Marquette Road), Equity Build Associated properties (1017 W 102nd
                                                                 Street, 2129 W 71 Street, 2220 75th Street, 2453-59 E 75th Street, 4533-47 S Calumet
                                                                 Avenue, 5437 S Laflin Street, 7701-03 E Essex Avenue, 7925 S Kingston, 8201 S Kingston
                                                                 Avenue) in order to retrieve repair documentation.

April 2021   Business               04/30/21 ED              390 email correspondence with accountant and property manager regarding analysis of financial           0.2 0.0105263         $4.11
             Operations                                          reporting from property managers (7836 S Shore Drive, 7546-48 S Saginaw Avenue, 8326-54
                                                                 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette
                                                                 Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 1700-08 W Juneway Terrace, 7201-
                                                                 07 S Dorchester Avenue, 6749-59 S Merrill Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                 Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7508 S Essex Avenue,
                                                                 6437-41 S Kenwood Avenue, 5450-52 S Indiana Avenue, 7450 S Luella Avenue) (.2).

April 2021   Business               04/30/21 ED              390 Review and analysis of financial reporting from property managers to respond to request             1.2 0.0631579        $24.63
             Operations                                          from accountant for additional information on 2020 property operating income details (7836
                                                                 S Shore Drive, 7546-48 S Saginaw Avenue, 8326-54 S Ellis Avenue, 11117-11119 S Longwood
                                                                 Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59 S
                                                                 Talman Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 6749-59 S
                                                                 Merrill Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue, 6250 S Mozart Street, 7508 S Essex Avenue, 6437-41 S Kenwood Avenue, 5450-52 S
                                                                 Indiana Avenue, 7450 S Luella Avenue) (1.2)

May 2021     Business               05/03/21 ED              390 Review final property manager reports relating to six properties (7836 South Shore Drive,           0.2 0.0333333        $13.00
             Operations                                          7110 S Cornell Avenue, 2453-59 E 75th Street, 6437-41 S Kenwood Avenue, 5450-52 S
                                                                 Indiana Avenue, 2220 East 75th Street) and related email correspondence with accountant.

May 2021     Business               05/03/21 JR              140 review requested property information from property management and update same [see                 0.8 0.0092593         $1.30
             Operations                                          A].




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
May 2021    Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381       $1.73
            Operations
May 2021    Business               05/17/21 ED              390 draft and send email to insurance agent regarding additional backup required regarding               0.9 0.0346154        $13.50
            Operations                                          premium refunds with respect to certain sold properties (8047-55 S Manistee Avenue, 8326-
                                                                32 S Ellis Avenue, 8334- 40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue,
                                                                5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S
                                                                Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S
                                                                Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther
                                                                King Drive, 6356 S California Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue,
                                                                1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S
                                                                Essex Avenue, 6949-59 S Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                Avenue) (.9)

May 2021    Business               05/17/21 ED              390 reply to email correspondence from accountant regarding calculation of insurance                     0.4 0.0097561         $3.80
            Operations                                          reconciliation amounts for properties sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th
                                                                Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                6250 S Mozart Street, 6355-59 S Talman Avenue, 6357-59 S Talman, 6749-59 S Merrill
                                                                Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue,
                                                                7546-48 S Saginaw Avenue, 7749-59 S Yates Boulevard, 816-22 E Marquette Road, 8201 S
                                                                Kingston Avenue, 8047-55 S Manistee Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S
                                                                Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham
                                                                Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue,
                                                                7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 6949-59 S Merrill Avenue,
                                                                7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4).


May 2021    Business               05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third             0.1 0.0012346         $0.17
            Operations                                          restoration motion (.1).
May 2021    Business               05/25/21 ED              390 Review of additional endorsements received from agent (5450-52 S Indiana Avenue, 6437-41             0.3 0.0428571        $16.71
            Operations                                          S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                8214-16 S Ingleside Avenue, 8209 S Ellis Avenue) (.3)




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                       Hours        Fees
June 2021   Business               06/01/21 ED          390 Update list of insurance policy endorsements needed to complete reconciliation of costs for           0.9 0.0219512         $8.56
            Operations                                      properties sold in 2020 and email correspondence with insurance agent to request additional
                                                            backup (8407-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue,
                                                            7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                            Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                            Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                            8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                            Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                            Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                            44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                            Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                            Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                            Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                            Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                            Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021   Business               06/03/21 ED          390 email correspondence with insurance agent regarding insurance refunds for sold properties             0.1    0.002439       $0.95
            Operations                                      (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                            Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                            Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                            Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                            8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                            Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                            Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                            44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                            Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                            Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                            Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                            Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                            Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.1).




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
June 2021   Business               06/22/21 ED              390 Email correspondence to insurance agent following up on missing documentation regarding                0.2    0.004878        $1.90
            Operations                                          refunds for prepaid premium amounts relating to properties sold in 2020 (8047-55 S
                                                                Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021   Business               06/25/21 AW              140 Attention to notices received from the State regarding entities statuses (SSDF4 6217 S.                0.3          0.1      $14.00
            Operations                                          Dorchester LLC, 4611 - 17 S Drexel LLC, 6437 S Kenwood, LLC), research regarding same, and
                                                                email communication with counsel.
June 2021   Business               06/25/21 ED              390 update analysis of insurance expense allocation for sold properties (3074 E Cheltenham                 0.4         0.05      $19.50
            Operations                                          Place, 6437-41 S Kenwood Avenue, 5450-52 S Indiana Avenue, 8000-02 S Justine Street, 7760
                                                                S Coles Avenue, 8214-16 S Ingleside Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue) (.4)

June 2021   Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619          $1.86
            Operations                                          and forward to accountant for use in preparation of reports (.5)
June 2021   Business               06/25/21 JRW             260 Email exchange regarding notices regarding involuntary dissolutions of LLCs (.1)                       0.1       0.025        $6.50
            Operations
July 2021   Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                   0.2 0.0018868          $0.26
            Disposition                                         regarding closed properties status (see D) (.2)
July 2021   Business               07/01/21 ED              390 Update analysis of insurance adjustments relating to sold properties (7749-59 S Yates                  0.2 0.0057143          $2.23
            Operations                                          Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                S Kingston Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S
                                                                Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King
                                                                Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-
                                                                07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet
                                                                Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue,
                                                                4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-
                                                                41 E 79th Place) (.2)




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated    Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                          Keeper                                                                                                                        Hours         Fees
July 2021   Business               07/01/21 ED              390 confer with J. Rak regarding follow-up to obtain missing data (7749-59 S Yates Boulevard,              0.1 0.0028571          $1.11
            Operations                                          6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston
                                                                Avenue, 4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                                Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 7201-07 S
                                                                Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue,
                                                                816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                Place) (.1).

July 2021   Business               07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
            Operations                                          accordingly (see I).
July 2021   Business               07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
            Operations                                          restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                Avenue).




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                       Hours        Fees
July 2021   Business               07/21/21 JR              140 Exchange correspondence with account analyst regarding various property insurance                     0.3 0.0073171         $1.02
            Operations                                          endorsements related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates
                                                                Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St
                                                                Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett
                                                                Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                Place, 6250 S Mozart Street).


July 2021   Business               07/22/21 JR              140 Review property insurance endorsements and communicate with account analyst regarding                 0.7 0.0170732         $2.39
            Operations                                          various property insurance missing endorsements related to sold properties and request
                                                                production of same (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                4520- 26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                Street).




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6437-41 S Kenwood Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                          Keeper                                                                                                                        Hours        Fees
July 2021   Business               07/23/21 JR              140 Exchange correspondence with account analyst regarding requested property insurance                    0.5 0.0119048         $1.67
            Operations                                          endorsements for sold properties in 2020, review requested endorsements and save in
                                                                electronic files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates
                                                                Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520-
                                                                26 S Drexel Boulevard, 8201 S Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman Avenue, 6356 S
                                                                California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E
                                                                Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston
                                                                Avenue, 7656-58 S Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250
                                                                S Mozart Street).


August 2021 Business               08/16/21 JR              140 Review email from E. Duff related to property endorsements regarding 2020 property                     0.4 0.0097561         $1.37
            Operations                                          insurance, update same and send all endorsements received from accounting firm (8047-55
                                                                S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59
                                                                S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.4)




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                        Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                         Hours        Fees
August 2021 Business               08/25/21 ED          390 revise and update analysis of allocation of insurance costs relating to sold properties (1700-          0.7 0.0318182        $12.41
            Operations                                      08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-19 S Michigan
                                                            Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20 S Martin Luther King
                                                            Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S
                                                            Constance Avenue, 7201-07 S Dorchester Avenue, 7442-54 S Calumet Avenue, 7600-10 S
                                                            Kingston Avenue, 7760 S Coles Avenue, 3074 E Cheltenham Place, 8000-02 S Justine Street,
                                                            8107-09 S Ellis Avenue, 816-22 E Marquette Road, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                            Avenue, 8403 S Aberdeen Street) (.7)

August 2021 Business               08/25/21 ED          390 Review additional documents received from insurance agent regarding refunds of prepaid                  0.2 0.0090909         $3.55
            Operations                                      premium for sold properties (1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W
                                                            64th Street, 4315-19 S Michigan Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana
                                                            Avenue, 5618-20 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett
                                                            Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07 S Dorchester Avenue,
                                                            7442-54 S Calumet Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 3074 E
                                                            Cheltenham Place, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                            Road, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8403 S Aberdeen Street) (.2)

August 2021 Business               08/25/21 ED          390 email correspondence to accountant regarding insurance cost allocation to reflect                       0.2 0.0055556         $2.17
            Operations                                      adjustments related to property sales, and completion of final 2020 accounting reports (1131-
                                                            41 E 79th Place, 1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street,
                                                            4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-
                                                            52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S
                                                            Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill
                                                            Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07
                                                            S Dorchester Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S
                                                            Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S Yates
                                                            Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette Road, 8000-
                                                            02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                            Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-32 S
                                                            Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                            Aberdeen Street) (.2).




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                      Allocated   Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                       Hours        Fees
September Business                 09/23/21 KBD         390 Confer with E. Duff regarding insurance, property allocation, and expense restoration issues          1.3 0.0361111        $14.08
2021      Operations                                        and exchange related correspondence (7450 S Luella Avenue, 7546-48 S Saginaw Avenue,
                                                            8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 5450-52 S
                                                            Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,
                                                            8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S
                                                            Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S
                                                            Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street,
                                                            6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive,
                                                            7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                            Dorchester Avenue, 7508 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                            Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                            7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                            Street) (1.3)

September Business                 09/24/21 KBD         390 confer with accounting firm representatives and E. Duff regarding expense accounting,                 1.3 0.0342105        $13.34
2021      Operations                                        property spreadsheets, and expense reimbursement issues (7450 S Luella Avenue, 7546-48 S
                                                            Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                            Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                            02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                            11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                            7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                            64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                            King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                            Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                            Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                            Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                            Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (1.3)




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                     Allocated   Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                          Keeper                                                                                                                      Hours        Fees
September Business                 09/03/21 JR              140 Review property reports and update reimbursable amounts, and related correspondence                  2.4 0.0585366         $8.20
2021      Operations                                            with E. Duff and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                Street).


September   Business               09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)              0.1 0.0012346         $0.17
2021        Operations                                          (.1)
September   Business               09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to           0.2 0.0024691         $0.35
2021        Operations                                          reimbursable amounts (see I and J) (.2).
September   Business               09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and             2.6 0.0320988         $4.49
2021        Operations                                          E. Duff (see I and J) (2.6)
September   Business               09/10/21 ED              390 Call with accountant to discuss accounting treatment of insurance costs for sold properties          0.5 0.0138889         $5.42
2021        Operations                                          (1131-41 E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th
                                                                Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                                5450-52 S Indiana Avenue, 5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-
                                                                59 S Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S
                                                                Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue,
                                                                7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence Avenue, 7442-54 S Calumet Avenue,
                                                                7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S
                                                                Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette
                                                                Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                                22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                        Hours        Fees
September Business                 09/20/21 ED          390 Review draft reports and summary from accountant proposing approach to calculating and                 0.9 0.0236842         $9.24
2021      Operations                                        reporting adjustments to insurance cost allocations for certain properties sold in 2020 (7450
                                                            S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                            Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                            7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside
                                                            Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                            7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E
                                                            Cheltenham Place, 2736- 44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman
                                                            Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                            Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                            431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                            Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                            7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                            Street).

September Business                 09/22/21 ED          390 Call with accountant to discuss accounting treatment of insurance costs for sold properties            0.5 0.0131579         $5.13
2021      Operations                                        and related issues regarding reporting content and presentation (7450 S Luella Avenue, 7546-
                                                            48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis
                                                            Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                            02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                            11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                            59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                            Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King
                                                            Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                            7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                            Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                            4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                            58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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6437-41 S Kenwood Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                      Keeper                                                                                                                        Hours        Fees
September Business                 09/23/21 ED          390 Cont'd. .. Email correspondence to accountant regarding calculation of insurance costs with            0.3 0.0078947         $3.08
2021      Operations                                        respect to sold properties, and preparation of related reporting (7450 S Luella Avenue, 7546-
                                                            48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520- 26 S Drexel Boulevard, 8326-58 S Ellis
                                                            Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                            02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                            11117- 11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue,
                                                            7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W
                                                            64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther
                                                            King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                            Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                            Essex Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill
                                                            Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                            Avenue, 7656- 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3).


September Business                 09/23/21 ED          390 Confer with K. Duff regarding allocation of insurance premium costs to certain sold                    1.2 0.0315789        $12.32
2021      Operations                                        properties (7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-
                                                            26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                            Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                            82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St
                                                            Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                            Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59
                                                            S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                            Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                            Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E
                                                            Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan
                                                            Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250
                                                            S Mozart Street) (1.2)




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6437-41 S Kenwood Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                     Time                                                                                                                       Allocated   Allocated
            Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                      Keeper                                                                                                                        Hours        Fees
September Business                 09/23/21 ED          390 Cont'd. .. Review and analyze reporting regarding insurance cost allocations and refunds with          0.9 0.0236842         $9.24
2021      Operations                                        respect to certain sold properties in preparation for discussion with K. Duff (7450 S Luella
                                                            Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                            8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles
                                                            Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S
                                                            Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                            Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                            44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                            Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                            Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                            Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                            Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                            Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.9)


September Business                 09/24/21 ED          390 Conference call with accountants and K. Duff to discuss allocation of costs for insurance and          1.3 0.0342105        $13.34
2021      Operations                                        other amounts paid by Receivership for the benefit of sold properties (7450 S Luella Avenue,
                                                            7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S
                                                            Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                            8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8216 S Ingleside Avenue, 8209 S Ellis
                                                            Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                            Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                            44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin
                                                            Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                            Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                            Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                            Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                            Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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6437-41 S Kenwood Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                         Time                                                                                                                    Allocated    Allocated
            Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                          Keeper                                                                                                                     Hours         Fees
September Business                 09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with          0.3 0.0065217          $0.72
2021      Operations                                            the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                   09/09/21 AW              140 work with claims documents (6437-41 S Kenwood Avenue, 11117-11119 S Longwood Drive)                 0.2          0.1      $14.00
2021      Administration                                        (.2).
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                          7109-19 S Calumet Avenue
General Allocation % (Pre 01/29/21):                                                 1.6210714%
General Allocation % (01/29/21 Onward, Claims Only):                            1.7419531386%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                        Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees             Hours                          Fees
     7        7109-19 S Calumet Avenue                                                     64.45      $             17,443.81                         166.67     $            52,874.66            231.12     $             70,318.48
                 Asset Disposition [4]                                                        3.41    $                 1,116.22                         47.78   $             13,807.32              51.19   $              14,923.54
                 Business Operations [5]                                                      3.43    $                 1,030.42                         54.64   $             15,666.80              58.07   $              16,697.21
                 Claims Administration & Objections [6]                                     57.61     $              15,297.17                           64.24   $             23,400.55            121.86    $              38,697.72




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7109-19 S Calumet Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   166.67
Specific Allocation Fees:         $       52,874.66



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                         Task Description                                     Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/24/18 KBD           390 telephone conference with property manager, its counsel, and A. Porter regarding property          0.9 0.0230769         $9.00
            Operations                                               management and cash flow issues (.9)
August 2018 Business                      08/25/18 KBD           390 study profit and loss documents from property manager and draft correspondence to                  0.3 0.0076923         $3.00
            Operations                                               property manager regarding budget (.3)
August 2018 Business                      08/25/18 KBD           390 Telephone conference with A. Porter regarding discussions with property manager and                0.5 0.0128205         $5.00
            Operations                                               business income and expenses (.5)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with other property manager (1.6)                                                             1.6 0.0410256        $16.00
            Operations
August 2018 Business                      08/29/18 KBD           390 Office conference with K. Pritchard regarding EquityBuild invoices property management             0.4 0.0037736         $1.47
            Operations                                               issues (.4)
August 2018 Business                      08/30/18 KBD           390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                             0.3 0.0028302         $1.10
            Operations
August 2018 Business                      08/30/18 KBD           390 study correspondence from contractor regarding various property management issues (.1)             0.1 0.0009434         $0.37
            Operations
August 2018 Business                      08/31/18 KBD           390 Office conference with A. Porter regarding the property manager compensation (.7)                  0.7 0.0066038         $2.58
            Operations
August 2018 Claims                        08/22/18 KBD           390 analysis of records and information, including incomplete nature of same, regarding                1.9 0.0213483         $8.33
            Administration                                           institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                        08/25/18 KBD           390 Study documents regarding lenders and exchange correspondence with E. Duff regarding               0.3 0.0033708         $1.31
            Administration                                           same.
            & Objections




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 read letter received from counsel for other property manager and prepare response thereto            0.4 0.0102564         $4.00
            Operations                                       (.4).
August 2018 Business                08/24/18 AEP         390 Meeting with counsel for property manager regarding potential resolution of issues relating          0.5 0.0128205         $5.00
            Operations                                       to unpaid receivables (.5)
August 2018 Business                08/24/18 AEP         390 teleconference with other property manager and their attorney regarding management                   1.8 0.0461538        $18.00
            Operations                                       company concerns (1.8)
August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                      0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/31/18 AEP         390 Meeting with K. Duff and management company representative regarding outstanding                     1.5 0.0384615        $15.00
            Operations                                       receivable.
August 2018 Claims                  08/27/18 ED          390 and counsel for lenders (.5) regarding terms of loans                                                0.5     0.03125      $12.19
            Administration
            & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
August 2018 Claims                  08/27/18 ED          390 Prepare notice letters to additional lenders (.9)                                                     0.9         0.45     $175.50
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 review loan documentation (1.7)                                                                       1.7 0.1545455         $60.27
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652          $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652          $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618        $2.19
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124          $3.94
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652          $3.07
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093         $14.51
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618        $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                  08/30/18 ED          390 review of loan documents received (.4)                                                                0.4 0.0222222          $8.67
            Administration
            & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
August 2018 Claims                  08/30/18 ED          390 Email correspondence with lenders and counsel regarding loan documents and questions                 1.6 0.5333333        $208.00
            Administration                                   about receivership (1.6)
            & Objections

August 2018 Claims                  08/30/18 ED          390 calls with lenders and counsel regarding same (.3)                                                   0.3          0.1      $39.00
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                        0.6 0.0067416          $2.63
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                             0.3 0.0033708          $1.31
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments              1.1 0.0123596          $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/31/18 ED          390 review of lender document disclosing escrow balances and nature of loan holdings (.6)                0.6 0.0666667         $26.00
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 call with lender's counsel and preparation for same (.7)                                             0.7 0.0777778         $30.33
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                         5.4 0.0606742         $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                     0.2 0.0022472          $0.58
            Administration                                   institutional lenders (.2)
            & Objections

August 2018 Claims                  08/31/18 NM          260 Correspond with E. Duff regarding institutional lenders and EquityBuild document review for          0.5 0.0555556         $14.44
            Administration                                   same (.5)
            & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via               1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                  0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                       0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related              0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                          0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                      information (.2)
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/06/18 KBD         390 study proposals for repair work (.2)                                                                    0.2       0.025       $9.75
2018         Operations
September    Business               09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018         Operations                                      requests from lenders (.3)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business               09/10/18 KBD         390 study estimated property repair costs (.1)                                                              0.1      0.0125       $4.88
2018         Operations
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                               2.5 0.0233645         $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                  0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 review correspondence from employee regarding contractors' invoices and from A.                         0.2       0.025       $9.75
2018         Operations                                      Watychowicz regarding same (.2)


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Business                  09/11/18 KBD         390 draft correspondence to N. Mirjanich and A. Watychowicz regarding status of contractors                0.2       0.025       $9.75
2018      Operations                                         work and invoices, impact on receivership, and communication with property managers
                                                             regarding same (.2)
September    Business               09/11/18 KBD         390 office conference with A. Porter regarding property manager compensation (.3)                          0.3 0.0076923         $3.00
2018         Operations
September    Business               09/11/18 KBD         390 draft correspondence to A. Watychowicz regarding same (.1)                                             0.1      0.0125       $4.88
2018         Operations
September    Business               09/12/18 KBD         390 study rent roll and financial information from property manager (.3)                                   0.3 0.0076923         $3.00
2018         Operations
September    Business               09/13/18 KBD         390 study rent rolls and profit and loss statements from property managers (.4)                            0.4 0.0102564         $4.00
2018         Operations
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Claims                 09/05/18 KBD         390 Study correspondence from and office conferences with E. Duff regarding various                        0.3 0.0115385         $4.50
2018         Administration                                  correspondence from institutional lenders and counsel requests for information.
             & Objections

September Claims                    09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                        0.5    0.005618       $2.19
2018      Administration
          & Objections

September Claims                    09/17/18 KBD         390 Study draft correspondence to lender and office conference with E. Duff regarding same.                0.2 0.0133333         $5.20
2018      Administration
          & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                      0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                    0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                        0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections

September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708         $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections

September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652         $3.07
2018      Administration
          & Objections

September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                    0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                              0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                           0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                       0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                       2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                    0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                  0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/02/18 AEP         390 Read and revise proposed letter to EquityBuild management company regarding agreement                   0.4 0.0102564         $4.00
2018         Operations                                      to continue service.
September    Business               09/03/18 AEP         390 Proofread, edit, and revise proposed letter to property management firm regarding accounts              0.2 0.0051282         $2.00
2018         Operations                                      receivable.
September    Business               09/04/18 AEP         390 Proofread, edit, and revise amended proposed letter to property management company                      0.2 0.0051282         $2.00
2018         Operations                                      regarding payment (.2)
September    Business               09/05/18 ED          390 Review real estate tax escrow summary from lender (.2)                                                  0.2 0.0166667         $6.50
2018         Operations
September    Business               09/10/18 AEP         390 prepare proposed final draft of property manager agreement (.4).                                        0.4 0.0102564         $4.00
2018         Operations
September    Business               09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708         $1.31
2018         Operations
September    Business               09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944         $1.75
2018         Operations                                      lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business               09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708         $1.31
2018         Operations                                      revision to procedure for reporting to institutional lenders (.3).
September    Business               09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247         $7.89
2018         Operations
September    Business               09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596         $4.82
2018         Operations
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434         $0.25
2018         Operations
September    Claims                 09/04/18 ED          390 preparation for same (.8)                                                                               0.8 0.0888889        $34.67
2018         Administration
             & Objections

September Claims                    09/04/18 ED          390 prepare notes to Receiver for discussion regarding same (.6)                                            0.6 0.0666667        $26.00
2018      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                Task Hours
  Month                                       Keeper                                                                                                                 Hours         Fees
September Claims                    09/04/18 ED          390 call with lender personnel regarding escrow and reserve balances and lender questions           0.7 0.0777778         $30.33
2018      Administration                                     regarding loans (.7)
          & Objections

September Claims                    09/05/18 ED          390 review documents received from lender (.2)                                                      0.2          0.2      $78.00
2018      Administration
          & Objections

September Claims                    09/05/18 ED          390 confer with A. Watychowicz regarding documents received on hard drive from lender (.1)          0.1 0.0111111          $4.33
2018      Administration
          & Objections

September Claims                    09/06/18 ED          390 update list of loan information and documents received to date, review related email            0.3 0.0033708          $1.31
2018      Administration                                     correspondence (.3).
          & Objections

September Claims                    09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                     0.5 0.0089286          $3.48
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                   0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                       0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                 0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                          0.1 0.0011236          $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                    0.1 0.0011236          $0.16
2018      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 Review correspondence with lender providing timeline regarding securitized loans and call           0.6 0.0666667        $26.00
2018      Administration                                     with counsel regarding payments, rent rolls, and information gathering (.6)
          & Objections

September Claims                    09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/13/18 ED          390 Review and reply to documents and correspondence received from lenders (1.5)                        1.5 0.1363636        $53.18
2018      Administration
          & Objections

September Claims                    09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information             0.6 0.0074074         $1.93
2018      Administration                                     and draft notice letter for same (.6)
          & Objections

September Claims                    09/14/18 AW          140 Phone call with institutional lender regarding document production (.2)                             0.2 0.0166667         $2.33
2018      Administration
          & Objections

September Claims                    09/14/18 AW          140 communicate with forensic consultant and IT specialist regarding download issues (.4)               0.4 0.0333333         $4.67
2018      Administration
          & Objections

September Claims                    09/14/18 AW          140 attention to email containing shared folder and download files (.4)                                 0.4 0.0333333         $4.67
2018      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/14/18 AW          140 attention to email containing documents from institutional lenders (.1)                               0.1 0.0083333         $1.17
2018      Administration
          & Objections

September Claims                    09/14/18 AW          140 email request for support from institutional lender (.1)                                              0.1 0.0083333         $1.17
2018      Administration
          & Objections

September Claims                    09/14/18 AW          140 attention to email regarding same and containing supportive documents (.1).                           0.1 0.0083333         $1.17
2018      Administration
          & Objections

September Claims                    09/14/18 AW          140 email counsel regarding downloaded files (.1)                                                         0.1 0.0083333         $1.17
2018      Administration
          & Objections

September Claims                    09/14/18 AW          140 access shared folder and download files (.2)                                                          0.2 0.0166667         $2.33
2018      Administration
          & Objections

September Claims                    09/14/18 ED          390 Review and reply to email correspondence with lenders and counsel (2.9)                               2.9    0.090625      $35.34
2018      Administration
          & Objections

September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)                0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 Review and reply to messages from lenders and counsel (.4)                                            0.4 0.0266667        $10.40
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 email to lender's counsel to follow up on conference call and confer with Receiver regarding          0.2 0.0133333         $5.20
2018      Administration                                     same (.2)
          & Objections

September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                              4.4 0.0494382        $19.28
2018      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                           1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 review loan documents and update mortgage loan summary (4.9).                                       4.9 0.2227273        $86.86
2018      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                      0.9 0.0084112         $3.28
2018         Disposition




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                   0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                      documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/11/18 KBD         390 Office conferences with and study correspondence from N. Mirjanich regarding housing                0.5 0.0192308         $7.50
2018         Operations                                      court matters (.5)
October      Business               10/12/18 KBD         390 study spreadsheet of open city housing and property matters from N. Mirjanich (.3)                  0.3 0.0115385         $4.50
2018         Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
October      Business               10/15/18 KBD         390 meeting with other property manager regarding various property and financial issues (1.3)           1.3 0.0333333         $13.00
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692          $0.73
2018         Operations
October      Business               10/22/18 KBD         390 Study property manager monthly operating report (.3)                                                0.3 0.0076923          $3.00
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346          $0.36
2018         Operations                                      properties (.1)
October      Business               10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708          $1.31
2018         Operations                                      property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October      Claims                 10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708          $1.31
2018         Administration                                  information, and related issues and study documents regarding same.
             & Objections

October      Claims                 10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708          $1.31
2018         Administration                                  information (.3).
             & Objections

October      Claims                 10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)          0.8 0.0089888          $3.51
2018         Administration
             & Objections

October      Claims                 10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements           0.4 0.0044944          $1.75
2018         Administration                                  and provisions in order appointing receiver (.4)
             & Objections

October      Claims                 10/08/18 KBD         390 study correspondence from lender's counsel regarding various properties and alleged                 0.4         0.04      $15.60
2018         Administration                                  outstanding amounts ( .4).
             & Objections

October      Claims                 10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection           1.1 0.0123596          $4.82
2018         Administration                                  procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                 10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                        0.3 0.0033708          $1.31
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October      Claims                 10/09/18 KBD         390 review correspondence from lender's counsel regarding property inspections and attention               0.1         0.01       $3.90
2018         Administration                                  to same (.1).
             & Objections

October      Claims                 10/11/18 KBD         390 Exchange correspondence with lender's counsel regarding property inspection (.1)                       0.1         0.01       $3.90
2018         Administration
             & Objections

October      Claims                 10/11/18 KBD         390 telephone conference with property manager representative regarding same (.3)                          0.3         0.03      $11.70
2018         Administration
             & Objections

October      Claims                 10/11/18 KBD         390 exchange various correspondence with lenders counsel and property managers with respect                0.4         0.04      $15.60
2018         Administration                                  to lenders request for property inspection and documentation property records (.4)
             & Objections

October      Claims                 10/14/18 KBD         390 study correspondence from M. Rachlis regarding rent issue (.3).                                        0.3         0.03      $11.70
2018         Administration
             & Objections

October      Claims                 10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607         $12.27
2018         Administration                                  institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                    rent rolls, and various related issues (2.8)

October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906          $3.31
2018         Administration
             & Objections

October      Claims                 10/15/18 KBD         390 Study notes regarding loan documents and correspondence from E. Duff regarding same (.3)               0.3         0.03      $11.70
2018         Administration
             & Objections

October      Claims                 10/15/18 KBD         390 conference with lenders' counsel regarding various issues relating to loans and receivership           1.7         0.17      $66.30
2018         Administration                                  (1.7)
             & Objections

October      Claims                 10/15/18 KBD         390 conference with M. Rachlis, A. Porter, and E. Duff regarding same (.8)                                 0.8         0.08      $31.20
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
October      Claims                 10/16/18 KBD         390 study correspondence from and exchange correspondence with M. Rachlis and E. Duff                       0.5 0.0357143         $13.93
2018         Administration                                  regarding draft correspondence to lenders' counsel (.5).
             & Objections

October      Claims                 10/17/18 KBD         390 Study pleading and correspondence regarding lender motion regarding (.4)                                0.4         0.04      $15.60
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 Study lender motion regarding rent segregation (.1)                                                     0.1         0.01       $3.90
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                                  0.2         0.02       $7.80
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                                0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                             0.3 0.0033708          $1.31
2018         Administration                                  representative regarding debt service analysis (.3)
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                  0.2 0.0018692          $0.73
2018         Administration
             & Objections

October      Claims                 10/21/18 KBD         390 study memorandum regarding lender motion for rent and analysis of related issues and                    0.4         0.04      $15.60
2018         Administration                                  exchange correspondence with M. Rachlis regarding same (.4).
             & Objections

October      Claims                 10/21/18 KBD         390 office conference with M. Rachlis regarding hearing before Judge Lee relating to institutional          0.2         0.02       $7.80
2018         Administration                                  lenders motion for rent (.2)
             & Objections

October      Claims                 10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                   0.4 0.0044944          $1.75
2018         Administration                                  same (.4).
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October      Claims                 10/23/18 KBD         390 appear for hearing regarding lender's rent motion before Judge Lee (.6)                                0.6         0.06      $23.40
2018         Administration
             & Objections

October      Claims                 10/23/18 KBD         390 conferences with M. Rachlis regarding same (.3)                                                        0.3         0.03      $11.70
2018         Administration
             & Objections

October      Claims                 10/23/18 KBD         390 Prepare for hearing before Judge Lee (.2)                                                              0.2         0.02       $7.80
2018         Administration
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645          $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065         $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374         $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729          $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729          $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794         $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383          $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187          $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729          $1.82
2018         Disposition
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766          $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729          $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187          $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495          $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075          $2.19
2018         Disposition
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607          $8.02
2018         Disposition




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                          1.3 0.0121495          $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                               0.3 0.0028037          $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                        0.3 0.0028037          $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to               0.1 0.0009346          $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                             0.1 0.0009346          $0.13
2018         Disposition
October      Asset                  10/12/18 NM          260 Prepare for meeting with broker by updating spreadsheet regarding open City of Chicago               1.2 0.0461538         $12.00
2018         Disposition                                     litigation matters and create folders for bids and other documents provided by the property
                                                             managers to address compliance with violations (1.2)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                   2.1 0.0196262          $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.             2.0 0.0186916          $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                            0.1 0.0009346          $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262          $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663         $10.52
2018         Operations                                      same (2.4)
October      Business               10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371         $11.83
2018         Operations                                      alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.
October      Business               10/10/18 NM          260 prepare for housing court on October 11, 2018 (.4)                                                   0.4 0.0153846          $4.00
2018         Operations
October      Business               10/11/18 AW          140 attention to email from N. Mirjanich regarding scheduled hearing in housing court (.1)               0.1 0.0038462          $0.54
2018         Operations
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916          $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346          $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346          $0.13
2018         Operations
October      Business               10/22/18 AW          140 Attention and review of motion for release of funds filed by defendants (.1)                         0.1         0.01       $1.40
2018         Operations
October      Business               10/22/18 AW          140 email counsel regarding same (.1).                                                                   0.1         0.01       $1.40
2018         Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
October      Business               10/22/18 MR          390 Attention to upcoming hearing and prepare notes for hearing.                                          2.5 0.2777778        $108.33
2018         Operations
October      Business               10/23/18 MR          390 follow up on various requests from hearing and conferences regarding same with E. Duff (.9).          0.9          0.1      $39.00
2018         Operations
October      Business               10/23/18 MR          390 Prepare for upcoming hearing and follow up regarding same (1.8)                                       1.8          0.2      $78.00
2018         Operations
October      Business               10/24/18 AW          140 attention to order regarding rents (.1)                                                               0.1         0.01       $1.40
2018         Operations
October      Business               10/25/18 MR          390 conferences with opposing counsel and follow up on various issues (2.2).                              2.2 0.0814815         $31.78
2018         Operations
October      Claims                 10/03/18 ED          390 Review and reply to queries from lenders and counsel (1.2)                                            1.2 0.0363636         $14.18
2018         Administration
             & Objections

October      Claims                 10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                     0.2 0.0043478          $1.70
2018         Administration
             & Objections

October      Claims                 10/05/18 ED          390 Email correspondence with lender's counsel, M. Rachlis and A. Porter regarding segregation            0.2 0.0222222          $8.67
2018         Administration                                  of rents.
             & Objections

October      Claims                 10/09/18 MR          390 prepare for a conference with lender's counsel (.5).                                                  0.5 0.0555556         $21.67
2018         Administration
             & Objections

October      Claims                 10/09/18 MR          390 attention to default letter and conferences regarding same (.7)                                       0.7 0.0777778         $30.33
2018         Administration
             & Objections

October      Claims                 10/11/18 AEP         390 Teleconference with property manager regarding lender request for immediate access to                 0.2 0.0166667          $6.50
2018         Administration                                  selected receivership properties.
             & Objections

October      Claims                 10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                              0.4 0.0044944          $1.75
2018         Administration
             & Objections

October      Claims                 10/12/18 AEP         390 Review and analyze newly-received loan documentation associated with loans, review and                5.5         0.55     $214.50
2018         Administration                                  analyze appraisals and T-12 profit and loss statements pertaining to corresponding
             & Objections                                    properties.




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
October      Claims                 10/12/18 AW          140 Attention to hard copies of notices of inspection and demand letters received from                    0.5         0.05       $7.00
2018         Administration                                  institutional lender (.5)
             & Objections

October      Claims                 10/12/18 MR          390 Attention to issues regarding meeting with secured lenders.                                           0.3 0.0333333         $13.00
2018         Administration
             & Objections

October      Claims                 10/13/18 MR          390 participate in meeting on issues regarding lender (3.3)                                               3.3         0.33     $128.70
2018         Administration
             & Objections

October      Claims                 10/13/18 MR          390 Prepare for meeting and review various materials regarding same (2.5)                                 2.5 0.2777778        $108.33
2018         Administration
             & Objections

October      Claims                 10/13/18 MR          390 further research regarding meetings and preparation of materials (3.5).                               3.5         0.35     $136.50
2018         Administration
             & Objections

October      Claims                 10/14/18 ED          390 Call with Receiver and A. Porter, M. Rachlis to discuss issues relating to mortgage loans in          3.3         0.33     $128.70
2018         Administration                                  preparation for meeting with lender's counsel.
             & Objections

October      Claims                 10/15/18 AEP         390 meeting with K. Duff, E. Duff, and M. Rachlis regarding results of discussion with lender's           0.8 0.0666667         $26.00
2018         Administration                                  counsel (.8).
             & Objections

October      Claims                 10/15/18 AEP         390 Meeting with counsel for lender regarding segregation of rents and receivership findings              1.5       0.125       $48.75
2018         Administration                                  regarding assets securing loans (1.5)
             & Objections

October      Claims                 10/15/18 ED          390 review research relating to lenders' issues (.4)                                                      0.4         0.04      $15.60
2018         Administration
             & Objections

October      Claims                 10/15/18 ED          390 Review provisions of loan documents in preparation for meeting with lender's counsel (1.2)            1.2         0.12      $46.80
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October      Claims                 10/15/18 ED          390 confer with Receiver and counsel regarding same (1.2).                                                 1.2         0.12      $46.80
2018         Administration
             & Objections

October      Claims                 10/15/18 ED          390 meet with lender's counsel (1.7)                                                                       1.7         0.17      $66.30
2018         Administration
             & Objections

October      Claims                 10/15/18 MR          390 Prepare for (1.0)                                                                                      1.0          0.1      $39.00
2018         Administration
             & Objections

October      Claims                 10/15/18 MR          390 conferences on strategies moving forward regarding issues raised by meeting and other                  1.3         0.13      $50.70
2018         Administration                                  matters required disposition (1.3).
             & Objections

October      Claims                 10/15/18 MR          390 and participate in meetings with counsel for lender (1.8)                                              1.8         0.18      $70.20
2018         Administration
             & Objections

October      Claims                 10/16/18 AEP         390 Conference call with K. Duff, E. Duff, and M. Rachlis regarding preparation of response to e-          1.1 0.0916667         $35.75
2018         Administration                                  mail from counsel for lender and regarding rents, contract interest, prejudgment interest and
             & Objections                                    attorneys' fees.

October      Claims                 10/16/18 ED          390 Review and reply to correspondence and messages from lenders and counsel (2.0)                         2.0 0.1428571         $55.71
2018         Administration
             & Objections

October      Claims                 10/16/18 ED          390 confer with Receiver and M. Rachlis, A. Porter regarding same (1.8).                                   1.8 0.1285714         $50.14
2018         Administration
             & Objections

October      Claims                 10/16/18 MR          390 participate in meeting regarding same and further make edits (1.8)                                     1.8         0.18      $70.20
2018         Administration
             & Objections

October      Claims                 10/16/18 MR          390 Prepare draft letter regarding lender and circulate (1.0)                                              1.0          0.1      $39.00
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Claims                 10/16/18 MR          390 attention to various issues at hearings (.2).                                                        0.2         0.02       $7.80
2018         Administration
             & Objections

October      Claims                 10/18/18 AW          140 Attention to motion filed by institutional lender regarding rents (.1)                               0.1         0.01       $1.40
2018         Administration
             & Objections

October      Claims                 10/18/18 KMP         140 Review numerous documents from institutional lenders to create debt service chart, and               5.9     0.36875       $51.63
2018         Administration                                  several conferences with E. Duff regarding same.
             & Objections

October      Claims                 10/18/18 MR          390 Conferences on same with K. Duff and others (1.2)                                                    1.2         0.12      $46.80
2018         Administration
             & Objections

October      Claims                 10/18/18 MR          390 follow up on various issues regarding secured lender issues (.2).                                    0.2         0.02       $7.80
2018         Administration
             & Objections

October      Claims                 10/18/18 MR          390 attention to lender's motion (1.2)                                                                   1.2         0.12      $46.80
2018         Administration
             & Objections

October      Claims                 10/19/18 KMP         140 Continue review of documents from institutional lenders and creation of debt service chart,          3.6       0.225       $31.50
2018         Administration                                  and several conferences with E. Duff regarding same.
             & Objections

October      Claims                 10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)            0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                 10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843         $12.71
2018         Administration                                  related loan documents and information supplied by lenders (2.9)
             & Objections

October      Claims                 10/22/18 AW          140 prepare K. Duff for presentment of creditor's motion for rents (.1).                                 0.1         0.01       $1.40
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
October      Claims                 10/22/18 KMP         140 Configure and compile hard copy of debt service chart for K. Duff review.                          0.3     0.01875        $2.63
2018         Administration
             & Objections

October      Claims                 10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888          $3.51
2018         Administration                                  leases.
             & Objections

October      Claims                 10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539          $6.57
2018         Administration                                  portfolio properties (1.5)
             & Objections

October      Claims                 10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483          $8.33
2018         Administration
             & Objections

October      Claims                 10/28/18 MR          390 Work on response to lender motion and research regarding same (2.0)                                2.0          0.2      $78.00
2018         Administration
             & Objections

October      Claims                 10/28/18 MR          390 work on potential motion regarding lender issue (2.0).                                             2.0          0.2      $78.00
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124          $3.94
2018         Administration                                  logistics for site visits (.9)
             & Objections

October      Claims                 10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472          $0.88
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472          $0.88
2018         Administration                                  amount of mortgage loans (.2)
             & Objections

October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729          $1.82
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October      Claims                 10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                    0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of related documents (.5)                                                                       0.5    0.005618        $2.19
2018         Administration
             & Objections

October      Claims                 10/29/18 MR          390 Work on response to lender motion.                                                                     3.0          0.3     $117.00
2018         Administration
             & Objections

October      Claims                 10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting               0.2 0.0022472          $0.88
2018         Administration                                  queries (.2)
             & Objections

October      Claims                 10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan                  0.6 0.0067416          $2.63
2018         Administration                                  balances for report (.6).
             & Objections

October      Claims                 10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to                 0.3 0.0033708          $1.31
2018         Administration                                  lenders (.3)
             & Objections

October      Claims                 10/30/18 MR          390 Further work on response to motion on rents (2.7)                                                      2.7         0.27     $105.30
2018         Administration
             & Objections

October      Claims                 10/30/18 MR          390 several conferences response to requests from secured creditors (.3).                                  0.3         0.03      $11.70
2018         Administration
             & Objections

October      Claims                 10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472          $0.88
2018         Administration
             & Objections

November     Business               11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708          $1.31
2018         Operations                                      and accounting for rent, and communications with property manager (.3)

November     Business               11/11/18 KBD         390 Study correspondence from E. Duff regarding financial reporting from property manager                  0.1 0.0025641          $1.00
2018         Operations                                      (Paper Street).
November     Business               11/12/18 KBD         390 study correspondence from M. Rachlis regarding property appraisals (.1).                               0.1         0.01       $3.90
2018         Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
November     Business               11/16/18 KBD         390 study property manager financial reporting (.4)                                                    0.4 0.0102564          $4.00
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial            0.1 0.0009346          $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Business               11/19/18 KBD         390 study correspondence from asset manager regarding outstanding real estate taxes (.1)               0.1 0.0076923          $3.00
2018         Operations
November     Business               11/20/18 KBD         390 review correspondence from N. Mirjanich regarding communications with city officials               0.1         0.05      $19.50
2018         Operations                                      regarding property violations and compliance (.1)
November     Business               11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and             0.2 0.0024691          $0.96
2018         Operations                                      servicing agreements (.2)
November     Claims                 11/02/18 KBD         390 study draft response to lender's motion relating to rent (.8).                                     0.8         0.08      $31.20
2018         Administration
             & Objections

November     Claims                 11/05/18 KBD         390 study draft affidavit in support of response to lender rent motion (.2).                           0.2         0.02       $7.80
2018         Administration
             & Objections

November     Claims                 11/05/18 KBD         390 office conference with and review correspondence from M. Rachlis regarding same (.3)               0.3         0.03      $11.70
2018         Administration
             & Objections

November     Claims                 11/05/18 KBD         390 Study drafts of response to lender rent motion and various correspondence regarding same           1.3         0.13      $50.70
2018         Administration                                  (1.3)
             & Objections

November     Claims                 11/06/18 KBD         390 office conferences with and study correspondence from M. Rachlis regarding draft response          0.4         0.04      $15.60
2018         Administration                                  and affidavit (.4).
             & Objections

November     Claims                 11/06/18 KBD         390 study SEC response to lender rent motion (.2)                                                      0.2         0.02       $7.80
2018         Administration
             & Objections

November     Claims                 11/06/18 KBD         390 Study and revise drafts of response to lender rent motion and affidavit (2.5)                      2.5         0.25      $97.50
2018         Administration
             & Objections

November     Claims                 11/12/18 KBD         390 study financial reporting (.4)                                                                     0.4 0.0102564          $4.00
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November     Claims                 11/13/18 KBD         390 exchange correspondence with E. Duff regarding lender property inspections (.1)                      0.1         0.01       $3.90
2018         Administration
             & Objections

November     Claims                 11/13/18 KBD         390 Exchange correspondence with M. Rachlis regarding lender requests for property inspections           0.1         0.01       $3.90
2018         Administration                                  (.1)
             & Objections

November     Claims                 11/13/18 KBD         390 study lender reply in support of rents motion (.3).                                                  0.3         0.03      $11.70
2018         Administration
             & Objections

November     Claims                 11/13/18 KBD         390 study revised drafts of responses to lender motion (.6)                                              0.6         0.06      $23.40
2018         Administration
             & Objections

November     Claims                 11/14/18 KBD         390 study revisions and exchange correspondence with E. Duff and M. Rachlis regarding same               0.3         0.03      $11.70
2018         Administration                                  (.3)
             & Objections

November     Claims                 11/15/18 KBD         390 Study revise drafts of opposition to lender's motion (.3)                                            0.3         0.03      $11.70
2018         Administration
             & Objections

November     Claims                 11/30/18 KBD         390 review correspondence from N. Mirjanich regarding same (.1)                                          0.1         0.01       $3.90
2018         Administration
             & Objections

November     Claims                 11/30/18 KBD         390 draft correspondence to M. Rachlis regarding analysis of same (.5)                                   0.5         0.05      $19.50
2018         Administration
             & Objections

November     Business               11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                0.1 0.0011236          $0.44
2018         Operations
November     Business               11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of          0.6 0.0067416          $2.63
2018         Operations                                      related documents (.6).
November     Business               11/02/18 ED          390 email correspondence with property manager regarding financial reporting and source of               0.6 0.0153846          $6.00
2018         Operations                                      funds in lockbox (.6)
November     Business               11/02/18 ED          390 review of related documents and financial information (.8)                                           0.8 0.0205128          $8.00
2018         Operations
November     Business               11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                             0.5    0.005618        $2.19
2018         Operations




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
November     Business               11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                 0.7 0.0078652          $3.07
2018         Operations                                      Receiver (.7)
November     Business               11/05/18 ED          390 Review and discuss financial reporting with property manager.                                         0.8 0.0205128          $8.00
2018         Operations
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                    0.5 0.0046729          $1.82
2018         Operations
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                             0.3 0.0028037          $1.09
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and               0.2 0.0018692          $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/06/18 NM          260 Study drafts of the Freddie Mac response, study correspondence regarding same, legal                  2.0          0.2      $52.00
2018         Operations                                      research and draft correspond to M. Rachlis regarding same, and studySEC response to
                                                             Freddie Mac motion.
November     Business               11/12/18 NM          260 Study and respond to outstanding emails regarding code violations, lenders, property tax              0.4       0.025        $6.50
2018         Operations                                      appeals (.4)
November     Business               11/13/18 NM          260 Study outstanding emails relating to motions filed by lenders and study the same and drafts           0.4         0.04      $10.40
2018         Operations                                      to the same (.4)
November     Business               11/15/18 AW          140 Attention to recorded redemption payments received via mail (.1)                                      0.1         0.01       $1.40
2018         Operations
November     Business               11/15/18 ED          390 review information regarding substitution of counsel for ten loans, and send updated                  0.4 0.0333333         $13.00
2018         Operations                                      financial reporting information to property managers (.4).
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                0.7 0.0065421          $2.55
2018         Operations                                      related issues (.7)
November     Business               11/19/18 NM          260 Study and respond to outstanding emails relating to Court's docket entries, code violations,          0.3         0.15      $39.00
2018         Operations                                      lenders (.3)
November     Claims                 11/01/18 MR          390 Work and research on draft response to lender's [Freddie Mac] motion and issues (5.5)                 5.5 0.6111111        $238.33
2018         Administration
             & Objections

November     Claims                 11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,              6.5 0.0730337         $28.48
2018         Administration                                  transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                    enforce assignments of rents and leases.

November     Claims                 11/02/18 AW          140 Attention to motion for rents filed by institutional lender (.1)                                      0.1         0.01       $1.40
2018         Administration
             & Objections

November     Claims                 11/02/18 MR          390 work on lender response (4.2).                                                                        4.2 0.4666667        $182.00
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
November     Claims                 11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899         $10.96
2018         Administration                                  acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                    motion to enforce assignments of rents and leases (2.5)

November     Claims                 11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427       $22.79
2018         Administration                                  opposition brief (5.2).
             & Objections

November     Claims                 11/04/18 MR          390 Prepare for and participate in meeting regarding response to lender's motion, and review            7.0 0.7777778        $303.33
2018         Administration                                  and revise draft regarding same.
             & Objections

November     Claims                 11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888          $3.51
2018         Administration                                  opposition memorandum (.8).
             & Objections

November     Claims                 11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618         $19.72
2018         Administration                                  prepare text of affidavit (4.5)
             & Objections

November     Claims                 11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427         $10.08
2018         Administration                                  enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                 11/05/18 ED          390 review draft of Receiver's Opposition to Motion, revisions to same, confer with M. Rachlis          2.7         0.27     $105.30
2018         Administration                                  regarding comments (2.7).
             & Objections

November     Claims                 11/05/18 MR          390 Additional work and research on draft response, and several conferences regarding same             10.0 1.1111111        $433.33
2018         Administration                                  including conferences with E. Duff and K. Duff.
             & Objections

November     Claims                 11/05/18 NM          260 Study response to lender's motion.                                                                  0.8         0.08      $20.80
2018         Administration
             & Objections

November     Claims                 11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427         $10.08
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
November     Claims                 11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                         1.4 0.0157303          $6.13
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 cross reference exhibits against K. Duffs affidavit (1.6)                                         1.6         0.16      $22.40
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 attention to emails regarding response to motion for rents and draft affidavit (.1)               0.1         0.01       $1.40
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 attention to revised exhibits provided by A. Porter (.1)                                          0.1         0.01       $1.40
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 Attention to response to institutional lender's motion for rents (.1)                             0.1         0.01       $1.40
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 multiple revisions to draft affidavit and opposition, communicate with counsel regarding          2.1         0.21      $29.40
2018         Administration                                  revisions, and final proofread of affidavit and opposition (2.1)
             & Objections

November     Claims                 11/06/18 AW          140 communicate with M. Rachlis regarding redactions to exhibits and confirm with K. Duff             0.1         0.01       $1.40
2018         Administration                                  regarding same (.1)
             & Objections

November     Claims                 11/06/18 AW          140 communicate with N. Mirjanich regarding further revisions to draft opposition (.1)                0.1         0.01       $1.40
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 submit opposition with the Court (.3).                                                            0.3         0.03       $4.20
2018         Administration
             & Objections

November     Claims                 11/06/18 AW          140 email counsel regarding revisions (.1)                                                            0.1         0.01       $1.40
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
November     Claims                 11/06/18 AW          140 finalize affidavit and opposition (.2)                                                              0.2         0.02       $2.80
2018         Administration
             & Objections

November     Claims                 11/06/18 ED          390 review and respond to messages from lenders and counsel (1.8).                                      1.8         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/06/18 MR          390 Further work and finalization on response brief regarding lender and several conferences            7.0 0.7777778        $303.33
2018         Administration                                  regarding same, and work on revisions to affidavit and conferences regarding same.
             & Objections

November     Claims                 11/06/18 NM          260 study drafts of the lender response, study correspondence regarding same, legal research,           1.8         0.18      $46.80
2018         Administration                                  and study SEC response to motion (1.8).
             & Objections

November     Claims                 11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender           1.0    0.011236        $4.38
2018         Administration                                  motion to enforce assignments of rents and leases (1.0)
             & Objections

November     Claims                 11/12/18 ED          390 follow up with counsel and property manager regarding access to properties by lender (.4).          0.4         0.08      $31.20
2018         Administration
             & Objections

November     Claims                 11/12/18 ED          390 Review financial reporting and loan documentation relating to preparation of response to            2.3 0.0589744         $23.00
2018         Administration                                  motion of lender and confer with M. Rachlis regarding same (2.3)
             & Objections

November     Claims                 11/13/18 AW          140 Study first draft of objection to lender's motion (.7)                                              0.7         0.07       $9.80
2018         Administration
             & Objections

November     Claims                 11/13/18 AW          140 attention to email containing draft affidavit in support of objections and revisions to             0.1         0.01       $1.40
2018         Administration                                  objections (.1)
             & Objections

November     Claims                 11/14/18 MR          390 attention to lender reply (.6)                                                                      0.6 0.0666667         $26.00
2018         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
November     Claims                 11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                        0.3 0.0033708          $1.31
2018         Administration
             & Objections

November     Claims                 11/15/18 AW          140 proofread drafts, email counsel regarding revisions, supplement exhibits, redact exhibits,             2.8         0.28      $39.20
2018         Administration                                  communicate regarding same with M. Rachlis and K. Pritchard, and provide further revisions
             & Objections                                    to approved drafts (2.8)

November     Claims                 11/17/18 MR          390 attention to various issues from hearing (.3).                                                         0.3 0.0033708          $1.31
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 attention to letter from creditors (.2)                                                                0.2 0.0022472          $0.88
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                           0.4 0.0044944          $1.75
2018         Administration
             & Objections

December     Business               12/04/18 KBD         390 study correspondence from E. Duff and property manager regarding property inspections (.2)             0.2         0.04      $15.60
2018         Operations
December     Business               12/05/18 KBD         390 study correspondence from N. Mirjanich regarding city litigation and analysis of same (.2).            0.2 0.0090909          $3.55
2018         Operations
December     Business               12/06/18 KBD         390 study correspondence from property managers and E. Duff regarding property inspections                 0.4         0.04      $15.60
2018         Operations                                      (.4).
December     Business               12/06/18 KBD         390 Study and revise draft correspondence to city counsel regarding property repairs, housing              0.1 0.0045455          $1.77
2018         Operations                                      court matters, and permit issues and office conference with N. Mirjanich regarding same (.1)

December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434          $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736          $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038          $2.58
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509          $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383          $1.46
2018         Operations
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346          $0.36
2018         Operations
December     Business               12/17/18 KBD         390 exchange correspondence with property manager regarding distribution of financial                      0.2         0.02       $7.80
2018         Operations                                      reporting (.2).


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
December     Business               12/19/18 KBD         390 study correspondence from property manager regarding financial reporting for lenders (.2)               0.2 0.0051282          $2.00
2018         Operations
December     Claims                 12/05/18 KBD         390 office conference with and study correspondence from E. Duff regarding property                         0.4 0.0133333          $5.20
2018         Administration                                  inspections and communications with lenders counsel and representatives (.4).
             & Objections

December     Claims                 12/06/18 KBD         390 Office conference with M. Rachi is, E. Duff, and N. Mirjanich regarding various lender issues,          2.7         0.09      $35.10
2018         Administration                                  EB lender statements of account and buyout reports, priority issues, lender fees, costs, and
             & Objections                                    penalties, and various related issues.

December     Claims                 12/07/18 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding lender inquiry regarding                  0.3         0.01       $3.90
2018         Administration                                  property manager accounting issues (.3)
             & Objections

December     Claims                 12/07/18 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding property visits and                       0.3         0.01       $3.90
2018         Administration                                  inspections (.3).
             & Objections

December     Claims                 12/12/18 KBD         390 exchange correspondence with E. Duff regarding communication with lender's counsel                      0.1         0.05      $19.50
2018         Administration                                  regarding various property issue (.1).
             & Objections

December     Claims                 12/16/18 KBD         390 Exchange correspondence with M. Rachlis and E. Duff regarding communications with                       0.3         0.03      $11.70
2018         Administration                                  lenders counsel regarding process to address issues of mutual concern and relating to
             & Objections                                    property inspections and property managers' burden.

December     Claims                 12/17/18 KBD         390 exchange correspondence and office conference with M. Rachlis and E. Duff regarding lender              0.3         0.01       $3.90
2018         Administration                                  property access requests and associated costs (.3)
             & Objections

December     Business               12/01/18 MR          390 Attention to requests from property manager and follow up.                                              0.1 0.0111111          $4.33
2018         Operations
December     Business               12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434          $0.37
2018         Operations
December     Business               12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151         $10.30
2018         Operations                                      issues (2.8)
December     Business               12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642          $3.19
2018         Operations                                      to address City violations and his plan for same (1.3)
December     Business               12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302          $0.74
2018         Operations
December     Business               12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868          $0.26
2018         Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019         $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/17/18 MR              390 conferences regarding property manager issues (.2).                                                     0.2 0.0222222          $8.67
2018         Operations
December     Business               12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652          $3.07
2018         Operations
December     Business               12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472          $0.88
2018         Operations
December     Business               12/18/18 MR              390 Attention to emails on property related requests.                                                       0.3 0.0333333         $13.00
2018         Operations
December     Business               12/20/18 MR              390 Attention to issues regarding proposals for appraisals (.3)                                             0.3 0.0333333         $13.00
2018         Operations
December     Business               12/20/18 MR              390 conferences with opposing counsel regarding same (.2)                                                   0.2 0.0222222          $8.67
2018         Operations
December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391          $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December     Business               12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708          $1.31
2018         Operations
December     Claims                 12/05/18 ED              390 Calls and email correspondence with counsel and property managers regarding access to                   5.2 0.1733333         $67.60
2018         Administration                                      properties by lenders' inspectors, review of related documentation and correspondence.
             & Objections

December     Claims                 12/06/18 ED              390 review of related loan documents (.4)                                                                   0.4 0.0133333          $5.20
2018         Administration
             & Objections

December     Claims                 12/06/18 ED              390 Email correspondence with counsel, inspectors, and property managers regarding lenders'                 2.7         0.09      $35.10
2018         Administration                                      inspections (2.7)
             & Objections

December     Claims                 12/06/18 ED              390 review and reply to correspondence from counsel and appraisers regarding financial                      1.8         0.06      $23.40
2018         Administration                                      reporting for properties (1.8)
             & Objections




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December     Claims                 12/06/18 MR          390 follow up on various emails and requests from secured creditors and conferences with E.Duff           1.0 0.0333333         $13.00
2018         Administration                                  regarding same (1.0).
             & Objections

December     Claims                 12/06/18 MR          390 Prepare for and participate in meetings on various matters involving issues on requests from          2.7         0.09      $35.10
2018         Administration                                  secured creditors and follow up regarding same (2.7)
             & Objections

December     Claims                 12/07/18 ED          390 Review and respond to inquiries from lenders' counsel (.8)                                            0.8 0.0266667         $10.40
2018         Administration
             & Objections

December     Claims                 12/07/18 ED          390 review and reply to emails regarding property access requested by lenders (1.5).                      1.5         0.05      $19.50
2018         Administration
             & Objections

December     Claims                 12/07/18 MR          390 Follow up and work on various issues regarding responses to creditors on reporting and                1.0    0.011236        $4.38
2018         Administration                                  other issues.
             & Objections

December     Claims                 12/10/18 ED          390 Review and reply to messages from lenders counsel regarding financial reporting and                   4.4 0.1466667         $57.20
2018         Administration                                  property visits (4.4)
             & Objections

December     Claims                 12/11/18 ED          390 review and reply to questions and requests from lenders (.6).                                         0.6         0.02       $7.80
2018         Administration
             & Objections

December     Claims                 12/12/18 ED          390 Review and respond to additional requests from lenders for additional access to previously            0.8 0.0266667         $10.40
2018         Administration                                  visited property and for change of date for property visit.
             & Objections

December     Claims                 12/12/18 MR          390 attention to communications on inspections (.3).                                                      0.3 0.0333333         $13.00
2018         Administration
             & Objections

December     Claims                 12/13/18 ED          390 Emails and calls with property managers, inspectors, and counsel regarding access to                  1.9 0.0633333         $24.70
2018         Administration                                  properties for lenders.
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December     Claims                 12/13/18 MR          390 Attention to issues on inspections and several conferences regarding same.                            0.5 0.0555556         $21.67
2018         Administration
             & Objections

December     Claims                 12/14/18 ED          390 Review and reply to email from lenders' counsel regarding property access.                            1.0 0.0333333         $13.00
2018         Administration
             & Objections

December     Claims                 12/14/18 MR          390 Review and respond to various emails regarding creditors and issues related to them.                  1.3 0.1444444         $56.33
2018         Administration
             & Objections

December     Claims                 12/17/18 ED          390 review loan agreement and mortgage regarding rights of lender to appraisal and related                0.7          0.7     $273.00
2018         Administration                                  costs (7109 S Calumet) (.7)
             & Objections

December     Claims                 12/17/18 ED          390 Review and reply to correspondence from lender's counsel and appraisers regarding access              0.4 0.0133333          $5.20
2018         Administration                                  to properties for inspection (.4)
             & Objections

December     Claims                 12/17/18 ED          390 review and reply to correspondence from lender's counsel regarding access to properties for           0.8 0.0266667         $10.40
2018         Administration                                  appraisals (.8)
             & Objections

December     Claims                 12/17/18 ED          390 confer with K. Duff and M. Rachlis regarding lenders' property access and related costs (.9)          0.9         0.03      $11.70
2018         Administration
             & Objections

December     Claims                 12/17/18 ED          390 review documents and correspondence and calls with property manager regarding property                0.6         0.02       $7.80
2018         Administration                                  managers' charges for visits by lenders' inspectors and appraisers (.6)
             & Objections

December     Claims                 12/17/18 ED          390 review documents and correspondence and calls with property manager regarding property                0.6         0.02       $7.80
2018         Administration                                  managers' charges for visits by lenders' inspectors and appraisers (.6)
             & Objections

December     Claims                 12/17/18 NM          260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding               1.8 0.0222222          $5.78
2018         Administration                                  lender statements of accounts and EB funding reports and analysis and record-keeping of
             & Objections                                    same (1.8)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December     Claims                 12/18/18 ED          390 Email to Receiver and M. Rachlis regarding loan document provisions relating to appraisals            0.5          0.5     $195.00
2018         Administration                                  and related costs (7109 S Calumet) (.5)
             & Objections

December     Claims                 12/18/18 ED          390 email correspondence with Receiver and M. Rachlis regarding requests for property access              0.2 0.0066667          $2.60
2018         Administration                                  from lenders' counsel (.2)
             & Objections

December     Claims                 12/18/18 ED          390 confer with Receiver and counsel regarding proposal for access to properties (.3)                     0.3         0.01       $3.90
2018         Administration
             & Objections

December     Claims                 12/18/18 ED          390 email correspondence with lender's counsel regarding access to property for appraisal (.2)            0.2 0.0066667          $2.60
2018         Administration
             & Objections

December     Claims                 12/19/18 ED          390 Review and reply to correspondence regarding access to properties for lender appraisals (.7)          0.7 0.0233333          $9.10
2018         Administration
             & Objections

December     Claims                 12/20/18 ED          390 Email correspondence with lender's counsel regarding property access for appraisals.                  0.2 0.0066667          $2.60
2018         Administration
             & Objections

January      Asset                  01/04/19 KBD         390 Draft correspondence to A. Porter regarding property sales and tax appeals.                           0.1 0.0076923          $3.00
2019         Disposition
January      Business               01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708          $1.31
2019         Operations
January      Business               01/15/19 KBD         390 study property manager financial reporting (.5)                                                       0.5 0.0128205          $5.00
2019         Operations
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434          $0.37
2019         Operations
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868          $0.74
2019         Operations                                      officials regarding scofflaw list (.2).
January      Business               01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708          $1.31
2019         Operations
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434          $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Business               01/28/19 KBD         390 study correspondence from asset manager regarding income and expense information for                  0.3         0.03      $11.70
2019         Operations                                      various properties (.3).
January      Business               01/29/19 KBD         390 review correspondence from M. Rachlis regarding real estate taxes for group of properties             0.1         0.01       $3.90
2019         Operations                                      (.1)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
January      Business               01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                        0.2 0.0022472          $0.88
2019         Operations
January      Business               01/31/19 KBD         390 study correspondence from N. Mirjanich and M. Rachlis regarding code violations (.2)                 0.2 0.0666667         $26.00
2019         Operations
January      Business               01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                          0.1 0.0011236          $0.44
2019         Operations
January      Business               01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                1.5 0.0168539          $6.57
2019         Operations
January      Business               01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge          0.3 0.0033708          $1.31
2019         Operations                                      Kim and preparation for meeting with lenders' counsel (.3).
January      Claims                 01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                0.1 0.0011236          $0.44
2019         Administration                                  (.1)
             & Objections

January      Claims                 01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                    0.4 0.0044944          $1.75
2019         Administration                                  preparation for meeting regarding same (.4)
             & Objections

January      Claims                 01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                               0.3 0.0033708          $1.31
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study correspondence from E. Duff regarding loans on various properties (.1)                         0.1 0.0090909          $3.55
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                       0.1 0.0011236          $0.44
2019         Administration                                  correspondence with real estate broker regarding same (.1)
             & Objections

January      Claims                 01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis              0.5    0.005618        $2.19
2019         Administration                                  regarding same (.5).
             & Objections

January      Claims                 01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                  0.6 0.0067416          $2.63
2019         Administration
             & Objections

January      Claims                 01/31/19 KBD         390 study correspondence from N. Mirjanich regarding communication with lender's counsel                 0.1         0.02       $7.80
2019         Administration                                  regarding resolution of violation notices and compliance issues (.1)
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
January      Claims                 01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955          $9.20
2019         Administration                                  (2.1)
             & Objections

January      Claims                 01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618        $2.19
2019         Administration                                  (.5).
             & Objections

January      Asset                  01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618        $2.19
2019         Disposition                                     properties with institutional debt.
January      Business               01/03/19 AEP         390 teleconference with receivership team regarding property-specific issues and potential                    1.0 0.0833333         $32.50
2019         Operations                                      transfer of administrative actions to housing court (1.0).
January      Business               01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618        $2.19
2019         Operations                                      issues (.5)
January      Business               01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831          $5.26
2019         Operations                                      with Receiver (1.2)
January      Business               01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416          $2.63
2019         Operations
January      Business               01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236          $0.44
2019         Operations
January      Business               01/22/19 KMP         140 Prepare wire transfer request for payment of December rent expenses to property manager,                  0.3 0.0076923          $1.08
2019         Operations                                      and conferences with K. Duff and communications with bank representative relating to
                                                             same.
January      Business               01/22/19 NM          260 address pending City litigation matters by drafting correspondence providing and seeking                  2.5      0.3125       $81.25
2019         Operations                                      updates from property managers regarding all administrative matters and certain housing
                                                             matters, correspond with City attorney regarding continuing status tomorrow on property
                                                             (7109 S. Calumet), draft follow-up email to City attorney, and revise spreadsheet to reflect
                                                             status of current matters (2.5)
January      Business               01/23/19 MR          390 Attention to various communications on property issues and communicate with N. Mirjanich                  0.4 0.1333333         $52.00
2019         Operations                                      regarding same.
January      Business               01/23/19 NM          260 attention to outstanding City litigation matters including exchanging correspondence with                 0.6          0.3      $78.00
2019         Operations                                      City attorney and property manager regarding properties (7109 S. Calumet and 2909 E. 78th
                                                             Street) (.6)
January      Business               01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708          $1.31
2019         Operations                                      assorted lenders' counsel (.3).
January      Business               01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944          $1.75
2019         Operations                                      lender's counsel to discuss questions for Receiver (.4)
January      Business               01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618        $2.19
2019         Operations
January      Business               01/28/19 KMP         140 Compile and organize briefs, exhibits, cited opinions and statutes in connection with                     1.8         0.18      $25.20
2019         Operations                                      upcoming hearing on lender's motion for rents, and several conferences with A.
                                                             Watychowicz regarding same (1.8)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
January      Business               01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                             1.0    0.011236        $4.38
2019         Operations
January      Business               01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                   0.2 0.0022472          $0.88
2019         Operations                                      meeting.
January      Business               01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416          $2.63
2019         Operations
January      Business               01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472          $0.88
2019         Operations
January      Business               01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124          $3.94
2019         Operations                                      1 meeting (.9)
January      Business               01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652          $3.07
2019         Operations                                      insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January      Business               01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652          $3.07
2019         Operations
January      Business               01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652          $3.07
2019         Operations
January      Business               01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472          $0.88
2019         Operations
January      Business               01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854         $20.16
2019         Operations                                      related exhibits and materials regarding same (4.6)
January      Business               01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652          $3.07
2019         Operations
January      Business               01/30/19 ED          390 Provide lists of properties by lender to N. Mirjanich to answer inquiries regarding city               0.1         0.01       $3.90
2019         Operations                                      violation proceedings (.1)
January      Business               01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124          $3.94
2019         Operations
January      Business               01/30/19 KMP         140 Legal research relating to motion for rents and forward to M. Rachlis for review (.8)                  0.8         0.08      $11.20
2019         Operations
January      Business               01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472          $0.88
2019         Operations
January      Business               01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404         $34.18
2019         Operations                                      including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)
January      Business               01/30/19 NM          260 Tend to City violation issues at properties (7110 S. Cornell, 7109 S. Calumet, 7933 S. Essex)          1.6 0.5333333        $138.67
2019         Operations                                      and exchange correspondence with City attorney, property managers, and draft
                                                             correspondence to lender regarding property (7110 S. Cornell) (1.6)
January      Business               01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011          $7.45
2019         Operations                                      lenders' motion to enforce assignment of rents and leases (1.7)
January      Business               01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618        $2.19
2019         Operations                                      assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
January      Business               01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                    0.7 0.0078652          $3.07
2019         Operations                                      meeting with lenders' counsel (.7).
January      Business               01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                               1.7 0.0191011          $7.45
2019         Operations
January      Business               01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                      6.0 0.0674157         $26.29
2019         Operations
January      Business               01/31/19 NM          260 Address outstanding City violations at properties (7110 S. Cornell, 7933 S. Essex, and 7109 S.          0.6          0.2      $52.00
2019         Operations                                      Calumet) and correspond with property manager and lender regarding same.

January      Claims                 01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                              0.2 0.0022472          $0.88
2019         Administration
             & Objections

January      Claims                 01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618        $2.19
2019         Administration                                  meeting with lenders (.5).
             & Objections

January      Claims                 01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236        $4.38
2019         Administration
             & Objections

January      Claims                 01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247          $7.89
2019         Administration                                  meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                    meeting with lenders.

January      Claims                 01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652          $3.07
2019         Administration
             & Objections

January      Claims                 01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719          $8.76
2019         Administration
             & Objections

February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346          $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019         Disposition




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
February     Business               02/05/19 KBD         390 study correspondence from N. Mirjanich regarding preparation for meeting with city officials           0.2         0.02       $7.80
2019         Operations                                      and work to address code violations and life safety issues (.2).
February     Business               02/06/19 KBD         390 study order from administrative court hearing and conference with N. Mirjanich regarding               0.1          0.1      $39.00
2019         Operations                                      same (.1)
February     Business               02/06/19 KBD         390 study correspondence from property manager regarding expense issues (.1).                              0.1          0.1      $39.00
2019         Operations
February     Business               02/06/19 KBD         390 conferences with M. Rachlis and N. Mirjanich regarding same (.5)                                       0.5     0.03125       $12.19
2019         Operations
February     Business               02/06/19 KBD         390 Conference with city officials regarding property repairs and sales (1.0)                              1.0      0.0625       $24.38
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich             0.4 0.0037383          $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                     0.3 0.0028037          $1.09
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence from property manager and E. Duff regarding financial reporting (.2).             0.2 0.0051282          $2.00
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                  0.1 0.0009346          $0.36
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                0.1 0.0009346          $0.36
2019         Operations                                      issue (.1).
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                0.1 0.0009346          $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 study property manager financial reporting (.5).                                                       0.5 0.0128205          $5.00
2019         Operations
February     Business               02/21/19 KBD         390 study correspondence from E. Duff regarding property manager financial reporting (.1)                  0.1 0.0025641          $1.00
2019         Operations
February     Business               02/22/19 KBD         390 review correspondence from E. Duff regarding property managers financial reporting (.1).               0.1 0.0025641          $1.00
2019         Operations
February     Business               02/25/19 KBD         390 study correspondence from E. Duff and property manager regarding net income information                0.3 0.0076923          $3.00
2019         Operations                                      and financial reporting (.3)
February     Business               02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                  0.2 0.0022472          $0.88
2019         Operations
February     Business               02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment            4.4 0.0494382         $19.28
2019         Operations                                      (4.4)
February     Business               02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                1.3 0.0146067          $5.70
2019         Operations                                      regarding same (1.3)
February     Business               02/26/19 KBD         390 study property manager financial reporting (.4)                                                        0.4 0.0102564          $4.00
2019         Operations
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                0.1 0.0009434          $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff          6.5 0.0730337         $28.48
2019         Operations                                      and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/28/19 KBD         390 Exchange correspondence and telephone conference with property manager regarding real                   0.3 0.0076923          $3.00
2019         Operations                                      estate taxes (.3)
February     Business               02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236          $0.44
2019         Operations                                      (.1)
February     Business               02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618        $2.19
2019         Operations
February     Business               02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618        $2.19
2019         Operations                                      spreadsheets regarding real estate tax analysis and study same (.5)
February     Business               02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303          $6.13
2019         Operations                                      taxes (1.4)
February     Business               02/28/19 KBD         390 study financial reporting from property manager (.3)                                                    0.3 0.0076923          $3.00
2019         Operations
February     Claims                 02/01/19 KBD         390 study correspondence from E. Duff and M. Rachlis regarding property inspections and                     0.2         0.02       $7.80
2019         Administration                                  related costs (.2).
             & Objections

February     Claims                 02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303          $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787         $14.46
2019         Administration                                  regarding same (3.3)
             & Objections

February     Claims                 02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                 02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618        $2.19
2019         Administration
             & Objections

February     Claims                 02/15/19 KBD         390 Study correspondence from lenders counsel regarding property inspections and appraisals                 0.1         0.01       $3.90
2019         Administration                                  (.1)
             & Objections

February     Claims                 02/15/19 KBD         390 various communications with E. Duff regarding same (.2)                                                 0.2         0.02       $7.80
2019         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
February     Claims                 02/19/19 KBD         390 review correspondence regarding property inspection and appraisals (.1).                              0.1      0.0125        $4.88
2019         Administration
             & Objections

February     Claims                 02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and              0.3 0.0034091          $1.33
2019         Administration                                  preparation of reporting (.3)
             & Objections

February     Claims                 02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                  0.3 0.0033708          $1.31
2019         Administration                                  regarding same (.3).
             & Objections

February     Claims                 02/21/19 KBD         390 telephone conference with property manager and E. Duff regarding rent accounting and                  0.4 0.0102564          $4.00
2019         Administration                                  reporting to comply with court order (.4).
             & Objections

February     Asset                  02/18/19 NM          260 further correspond with K. Duff, M. Rachlis, and A. Porter regarding same (.5)                        0.5 0.0185185          $4.81
2019         Disposition
February     Business               02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                           0.5    0.005618        $0.79
2019         Operations
February     Business               02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership          1.4 0.0157303          $6.13
2019         Operations                                      (1.4)
February     Business               02/01/19 ED          390 discussion and email correspondence with lender's counsel regarding proposal to minimize              1.4         0.14      $54.60
2019         Operations                                      costs to receivership of providing access to certain properties on multiple dates (1.4)

February     Business               02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                            3.3 0.0370787         $14.46
2019         Operations
February     Business               02/04/19 ED          390 email correspondence regarding access          to properties for lender appraisals (.3).              0.3         0.03      $11.70
2019         Operations
February     Business               02/04/19 NM          260 prepare for meeting with City of Chicago regarding property repairs and code compliance               1.7         0.17      $44.20
2019         Operations                                      (1.7)
February     Business               02/05/19 ED          390 Email correspondence regarding visits to property by lender's appraisers (.4)                         0.4         0.04      $15.60
2019         Operations
February     Business               02/05/19 ED          390 and financial reporting (.5)                                                                          0.5         0.05      $19.50
2019         Operations
February     Business               02/05/19 MR          390 Prepare for City meeting.                                                                             0.3         0.03      $11.70
2019         Operations
February     Business               02/05/19 NM          260 Prepare for housing court today on property (7933 S. Essex) and administrative court                  0.4          0.2      $52.00
2019         Operations                                      tomorrow on property (7109 S. Calument) and correspond with property manager regarding
                                                             same (.4)
February     Business               02/05/19 NM          260 appear for housing court on property (7933 S. Essex) and correspond with City attorney                1.3         0.65     $169.00
2019         Operations                                      regarding other properties and matters (1.3)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Business               02/05/19 NM          260 prepare for meeting with City of Chicago regarding property repairs and code compliance                   0.8         0.05      $13.00
2019         Operations                                      and correspond with K. Duff and M. Rachlis regarding same (.8)
February     Business               02/06/19 AW          140 Assist counsel with preparation for meeting with City of Chicago counsel.                                 0.6      0.0375        $5.25
2019         Operations
February     Business               02/06/19 MR          390 Prepare for and participate in meeting with City officials and follow up discussion regarding             2.0       0.125       $48.75
2019         Operations                                      same (2.0)
February     Business               02/06/19 NM          260 prepare for administrative court on property (7109 S. Calumet) (.2)                                       0.2          0.2      $52.00
2019         Operations
February     Business               02/06/19 NM          260 Prepare for meeting regarding property repairs and code compliance and revise and print                   0.6      0.0375        $9.75
2019         Operations                                      spreadsheet highlighting efforts to address code issues for same (.6)
February     Business               02/06/19 NM          260 attend meeting with City, M. Rachlis and K. Duff and correspond with M. Rachlis and K. Duff               1.5     0.09375       $24.38
2019         Operations                                      regarding same (1.5)
February     Business               02/06/19 NM          260 correspond with property manager regarding same and update spreadsheet to reflect same                    0.1          0.1      $26.00
2019         Operations                                      (.1)
February     Business               02/06/19 NM          260 appear for administrative court on property (7109 S. Calumet) (1.2)                                       1.2          1.2     $312.00
2019         Operations
February     Business               02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                      violation (.2)
February     Business               02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                      in receivership portfolio (1.9).
February     Business               02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618        $2.19
2019         Operations
February     Business               02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015        $3.90
2019         Operations                                      property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                             broker regarding a list of single-family home portfolio to send to same.

February     Business               02/11/19 ED          390 emails to property managers and inspectors regarding scheduling property access (.2)                      0.2         0.02       $7.80
2019         Operations
February     Business               02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652          $3.07
2019         Operations                                      from institutional lenders (.7).
February     Business               02/12/19 NM          260 draft correspondence to lender regarding updates for code violations on lender properties                 0.4          0.2      $52.00
2019         Operations                                      (.4).
February     Business               02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909          $8.42
2019         Operations                                      rents by property (1.9)
February     Business               02/15/19 ED          390 follow up on lender requests for second inspections (.4)                                                  0.4         0.04      $15.60
2019         Operations
February     Business               02/19/19 ED          390 email correspondence with lenders' counsel regarding access to properties for appraisals (.6)             0.6         0.06      $23.40
2019         Operations
February     Business               02/19/19 ED          390 call with property manager and K. Duff regarding segregation of rents for properties and                  0.4 0.0102564          $4.00
2019         Operations                                      related reporting issues (.4)
February     Business               02/19/19 ED          390 Call with accountant regarding monthly reporting to lenders by property (.5)                              0.5    0.005618        $2.19
2019         Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                        0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 ED              390 Email correspondence with lender's inspectors and property managers regarding access to               0.5         0.05      $19.50
2019         Operations                                          property for lender appraisals (.5)
February     Business               02/21/19 ED              390 email correspondence with property managers regarding lender access for inspections (1.1)             1.1         0.11      $42.90
2019         Operations
February     Business               02/21/19 ED              390 call and email correspondence with A. Porter regarding operating expenses (.2)                        0.2 0.0051282          $2.00
2019         Operations
February     Business               02/21/19 ED              390 Call with property manager and K. Duff regarding accounting procedures (.6)                           0.6 0.0153846          $6.00
2019         Operations
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.               0.5    0.004717        $0.66
2019         Operations
February     Business               02/22/19 ED              390 email correspondence with appraisers and counsel (.4)                                                 0.4         0.04      $15.60
2019         Operations
February     Business               02/22/19 ED              390 Email correspondence with lender's counsel and insurance broker regarding provision of                0.3 0.0333333         $13.00
2019         Operations                                          proof of insurance (.3)
February     Business               02/22/19 ED              390 and with property managers (.5) regarding access to properties and requests for related               0.5         0.05      $19.50
2019         Operations                                          documents
February     Business               02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                            0.2 0.0022472          $0.88
2019         Operations
February     Business               02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                           2.3 0.0258427         $10.08
2019         Operations
February     Business               02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                     0.2 0.0022472          $0.88
2019         Operations
February     Business               02/24/19 ED              390 Email correspondence with K. Duff regarding authorization to provide information to lender's          0.1         0.01       $3.90
2019         Operations                                          appraiser (.1)
February     Business               02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                             0.1 0.0011236          $0.44
2019         Operations
February     Business               02/25/19 ED              390 Email correspondence with property managers and appraisers regarding property                         0.8         0.08      $31.20
2019         Operations                                          inspections (.8)
February     Business               02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate            4.4 0.0494382         $19.28
2019         Operations                                          taxes (4.4)
February     Business               02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss              0.1 0.0011236          $0.44
2019         Operations                                          information for properties (.1)
February     Business               02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel            0.7 0.0078652          $3.07
2019         Operations                                          (.7)
February     Business               02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                    0.8 0.0089888          $3.51
2019         Operations
February     Business               02/25/19 ED              390 calls with M. Rachlis to lenders' counsel regarding payment of real estate taxes (.8).                0.8 0.0727273         $28.36
2019         Operations
February     Business               02/25/19 ED              390 preparation for same (.8)                                                                             0.8 0.0089888          $3.51
2019         Operations




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/25/19 KMP         140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868          $0.26
2019         Operations                                      with court order and issues relating to same (.2)
February     Business               02/25/19 MR          390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382         $19.28
2019         Operations                                      Duff, K. Duff, and A. Porter (4.4)
February     Business               02/25/19 NM          260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944          $1.17
2019         Operations
February     Business               02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652          $3.07
2019         Operations                                      counsel (.7)
February     Business               02/26/19 ED          390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944          $1.75
2019         Operations                                      manager, and preparation of document reflecting same (.4)
February     Business               02/26/19 ED          390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337         $28.48
2019         Operations                                      (6.5)
February     Business               02/26/19 ED          390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708          $1.31
2019         Operations
February     Business               02/26/19 ED          390 emails to property managers and inspectors regarding property access (.3).                              0.3 0.0333333         $13.00
2019         Operations
February     Business               02/26/19 MR          390 Attention to property tax related issues.                                                               4.5 0.0505618         $19.72
2019         Operations
February     Business               02/27/19 ED          390 review email correspondence from lender's counsel requesting insurance information and                  0.8 0.0888889         $34.67
2019         Operations                                      related provisions of loan agreements (.8).
February     Business               02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                   0.2 0.0022472          $0.88
2019         Operations                                      due and sources of funds (.2)
February     Business               02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of                6.5 0.0730337         $28.48
2019         Operations                                      same to determine available funds for payment of property taxes (6.5)
February     Business               02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                                 0.3 0.0028302          $1.10
2019         Operations
February     Business               02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                       0.3 0.0033708          $1.31
2019         Operations
February     Business               02/27/19 MR          390 review charts regarding same (.3)                                                                       0.3 0.0033708          $1.31
2019         Operations
February     Business               02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related                 1.3 0.0146067          $5.70
2019         Operations                                      submissions and payments (1.3)
February     Business               02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings                5.0 0.0561798         $21.91
2019         Operations                                      with K. Duff and E. Duff regarding same (5.0).
February     Business               02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to              0.2 0.0022472          $0.58
2019         Operations                                      costs to cure code violations (.2).
February     Business               02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders                 0.3 0.0033708          $0.88
2019         Operations                                      with respect to escrow amounts (.3)
February     Business               02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes               1.8 0.0202247          $7.89
2019         Operations                                      and review and analysis of documentation provided (1.8)
February     Business               02/28/19 ED          390 Email correspondence with appraisers, counsel, and property managers regarding property                 0.3         0.03      $11.70
2019         Operations                                      access and related questions (.3)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Business               02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                      funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February     Business               02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                      estate taxes (.5)
February     Business               02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                      various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)
February     Business               02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019         Operations                                      property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).
February     Business               02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                      counsel (.2)
February     Claims                 02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                                1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                      3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                 02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                       0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                 02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications                1.5 0.0168539         $6.57
2019         Administration                                  regarding same.
             & Objections

February     Claims                 02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to                 0.5    0.005618       $1.46
2019         Administration                                  institutional lenders prior to filing pursuant to request.
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
February     Claims                 02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                             0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                        0.3 0.0033708          $1.31
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                           1.0    0.011236        $4.38
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                               0.2 0.0022472          $0.88
2019         Administration
             & Objections

February     Claims                 02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                          0.5    0.005618        $2.19
2019         Administration
             & Objections

February     Claims                 02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)             0.8 0.0089888          $3.51
2019         Administration
             & Objections

March 2019 Asset                    03/12/19 KBD         390 conference with asset manager and counsel regarding properties sales, listings, strategy,          1.8 0.0545455         $21.27
           Disposition                                       valuation, and timing (1.8)
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,          0.3 0.0032609          $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/28/19 KBD         390 study summary of next group of properties to sell (.3).                                            0.3         0.02       $7.80
           Disposition
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                   0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 draft correspondence to property manager regarding accounting, reporting, and compliance           0.8 0.0205128          $8.00
           Operations                                        with Court's order regarding rent (.8)
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                               0.2 0.0018692          $0.73
           Operations
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax              0.1 0.0009346          $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                              0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/04/19 KBD         390 study correspondence from property manager regarding inquiries from property inspector             0.1          0.1      $39.00
           Operations                                        (.1)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/05/19 KBD         390 telephone conference with property manager and E. Duff regarding property financial                   0.9 0.0230769          $9.00
           Operations                                        information, expenses, and accounting procedures (.9)
March 2019 Business                 03/05/19 KBD         390 exchange correspondence with property manager regarding call to discuss accounting                    0.1 0.0025641          $1.00
           Operations                                        practices (.1)
March 2019 Business                 03/05/19 KBD         390 office conference with E. Duff regarding same (.1)                                                    0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346          $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/05/19 KBD         390 review correspondence from E. Duff and B. Spagnola regarding property inspection (7109                0.1          0.1      $39.00
           Operations                                        Calumet) (.1)
March 2019 Business                 03/12/19 KBD         390 study correspondence from property manager regarding cash balances and cash flow (.2).                0.2 0.0051282          $2.00
           Operations
March 2019 Business                 03/12/19 KBD         390 Study property manager financial reports and profit and loss reporting (.2)                           0.2 0.0051282          $2.00
           Operations
March 2019 Business                 03/13/19 KBD         390 draft correspondence to property manager regarding cash flow and property management                  0.1 0.0025641          $1.00
           Operations                                        issues and exchange correspondence with M. Rachlis regarding same (.1).

March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909          $3.55
           Operations
March 2019 Business                 03/19/19 KBD         390 exchange correspondence with property manager regarding funds for property use (.1)                   0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conference with E. Duff regarding same (.1)                                                 0.1 0.0025641          $1.00
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182          $2.66
           Operations                                        reporting for lenders and study form of report (.6)
March 2019 Business                 03/19/19 KBD         390 telephone conference with property manager and E. Duff regarding property management,                 0.5 0.0128205          $5.00
           Operations                                        property financial analysis, proceeds from sale, timing, court hearing on real estate sale
                                                             motions, and property manager receivable (.5)
March 2019 Business                 03/19/19 KBD         390 Telephone conference with property manager regarding use of net operating income to pay               0.2 0.0051282          $2.00
           Operations                                        outstanding taxes or for other property repair or improvements (.2)

March 2019 Business                 03/20/19 KBD         390 Discuss property manager work with M. Rachlis (.4)                                                    0.4 0.0102564          $4.00
           Operations
March 2019 Business                 03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091          $1.33
           Operations
March 2019 Business                 03/21/19 KBD         390 study property manager financial reporting and draft correspondence to asset manager                  0.4 0.0102564          $4.00
           Operations                                        regarding same (.4)




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
March 2019 Business                 03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for          0.3 0.0034091         $1.33
           Operations                                        lenders and study draft report form (.3)
March 2019 Business                 03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial          0.2 0.0022727         $0.89
           Operations                                        reporting by property (.2)
March 2019 Business                 03/26/19 KBD         390 Study correspondence from property manager and exchange correspondence with asset                 0.4 0.0102564         $4.00
           Operations                                        manager regarding property costs analysis and planning (.4)
March 2019 Business                 03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and              0.4 0.0045455         $1.77
           Operations                                        property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Business                 03/28/19 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding proposal for addressing             1.3 0.0333333        $13.00
           Operations                                        property management and cash flow (1.3)
March 2019 Business                 03/28/19 KBD         390 Telephone conference and exchange correspondence with property manager regarding                  1.5 0.0384615        $15.00
           Operations                                        unpaid expenses, payment concerns, and determining means of continuing with property
                                                             management (1.5)
March 2019 Business                 03/28/19 KBD         390 study analysis of negative cash flow and telephone conference with asset management               0.3 0.0076923         $3.00
           Operations                                        representative regarding same (.3)
March 2019 Business                 03/28/19 KBD         390 various discussions with E. Duff and A. Porter regarding same (.7)                                0.7 0.0179487         $7.00
           Operations
March 2019 Business                 03/28/19 KBD         390 draft correspondence to property manager regarding same (.4).                                     0.4 0.0102564         $4.00
           Operations
March 2019 Business                 03/28/19 KBD         390 exchange correspondence with E. Duff regarding property manager fund transfer (.2)                0.2 0.0051282         $2.00
           Operations
March 2019 Business                 03/29/19 KBD         390 study correspondence from property manager regarding proposal to resolve property                 0.3 0.0076923         $3.00
           Operations                                        management and expense issues (.3)
March 2019 Claims                   03/13/19 KBD         390 Study lenders' objections to claims process.                                                      0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                   0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                            0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial            0.3 0.0034091         $1.33
           Administration                                    reporting for lenders (.3)
           & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2019 Claims                   03/27/19 KBD             390 study lenders' objections (.5)                                                                       0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD             390 study and revise draft response to lenders' objections to claims process motion (.9)                 0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD             390 office conference with N. Mirjanich regarding response to lenders' objections to claims              0.2    0.002381       $0.93
           Administration                                        process motion (.2)
           & Objections

March 2019 Claims                   03/27/19 KBD             390 analysis of same with M. Rachlis (.2)                                                                0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD             390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)               0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD             390 further study and revise draft response to lenders' objections to claims process (3.6).              3.6 0.0428571        $16.71
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                             2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich              0.5 0.0059524         $2.32
           Administration                                        regarding same (.5)
           & Objections

March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,          0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                 1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011          $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888          $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818          $2.22
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182          $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 KMP             140 review ledger to track receipts and disbursements to property manager for status                      0.2 0.0051282          $0.72
           Operations                                            communication with lenders (.2)
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182          $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 email correspondence with lender's representatives regarding information requested in                 0.7          0.7     $273.00
           Operations                                            connection with property appraisal (.7)
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding same (.4)                                                            0.4          0.4     $156.00
           Operations
March 2019 Business                 03/05/19 ED              390 preparation for same (.8)                                                                             0.8 0.0727273         $28.36
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416          $2.63
           Operations
March 2019 Business                 03/05/19 ED              390 Email correspondence with property manager and lender's counsel regarding financial                   0.3 0.0333333         $13.00
           Operations                                            reporting (.3)
March 2019 Business                 03/05/19 ED              390 call with lenders' counsel and M. Rachlis regarding resources available for payment of                0.3 0.0272727         $10.64
           Operations                                            property taxes (.3)
March 2019 Business                 03/05/19 ED              390 call with K. Duff and property manager regarding accounting for properties net income and             0.9 0.0230769          $9.00
           Operations                                            net loss (.9)
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224          $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692          $0.26
           Operations
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/06/19 ED              390 review records and email correspondence regarding pending lender inspection requests (.8)             0.8 0.0888889         $34.67
           Operations
March 2019 Business                 03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091          $1.33
           Operations                                            (.3)
March 2019 Business                 03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775          $7.01
           Operations
March 2019 Business                 03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708          $1.31
           Operations
March 2019 Business                 03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182          $2.66
           Operations                                            correspondence with K. Pritchard and insurance broker (.6)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Business                 03/06/19 ED          390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455          $1.77
           Operations                                        reports to lenders (.4)
March 2019 Business                 03/06/19 ED          390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091          $1.33
           Operations
March 2019 Business                 03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346          $0.24
           Operations
March 2019 Business                 03/08/19 ED          390 Email correspondence with lender's counsel and property managers regarding requests from              0.9          0.1      $39.00
           Operations                                        appraisers for additional information and documents (.9)
March 2019 Business                 03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545          $3.10
           Operations
March 2019 Business                 03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091          $6.20
           Operations                                        accounting reports (1.4)
March 2019 Business                 03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091          $6.20
           Operations                                        accounting reports to lenders (1.4)
March 2019 Business                 03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818          $2.22
           Operations                                        same (.5)
March 2019 Business                 03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455          $1.77
           Operations                                        information for lender accounting reports (.4)
March 2019 Business                 03/14/19 KMP         140 Review communication from institutional lender regarding insurance expiration notice and              0.2          0.2      $28.00
           Operations                                        communications with K. Duff regarding status of marketing and securing insurance coverage
                                                             by broker.
March 2019 Business                 03/14/19 MR          390 Conference with E. Duff and K. Duff regarding issues with property managers.                          1.0    0.025641       $10.00
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091          $1.33
           Operations                                        performance at each property (.3)
March 2019 Business                 03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455          $1.77
           Operations                                        reports (.4)
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727          $0.89
           Operations
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545          $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224          $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                           0.9 0.0102273          $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364          $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and              0.1 0.0011364          $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                    0.1 0.0011364          $0.44
           Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                                1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 Participate in call regarding properties with E. Duff (.6)                                             0.6 0.0153846         $6.00
           Operations
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                                1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692         $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)               0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                     0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                              0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 ED          390 call with property manager with K. Duff to discuss property expenses (.6).                             0.6 0.0153846         $6.00
           Operations
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455         $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545         $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818         $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                        of accounting report (.2)
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                        0.2 0.0022727         $0.59
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same               0.2 0.0022727         $0.59
           Operations                                        (.2)
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346         $0.13
           Operations
March 2019 Business                 03/22/19 ED          390 call with property manager regarding same (.1).                                                      0.1 0.0025641         $1.00
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                  0.3 0.0028302         $1.10
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                             0.5    0.004717       $1.84
           Operations
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868         $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                         0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports          0.9 0.0102273         $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                  2.0 0.0227273         $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                   0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                 0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                   0.3 0.0034091         $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property              0.3 0.0034091         $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/28/19 AEP         390 conference with K. Duff and E. Duff regarding options for resolving accounts receivable              2.5 0.0641026        $25.00
           Operations                                        issues (2.5)
March 2019 Business                 03/28/19 AEP         390 conference call with K. Duff and property management company principals regarding                    0.8 0.0205128         $8.00
           Operations                                        property management company issue (.8)
March 2019 Business                 03/28/19 ED          390 call with property manager regarding sources of funds for payment of property taxes,                 0.7 0.0179487         $7.00
           Operations                                        utilities, and past due amounts to property manager (.7)
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties            0.2 0.0022727         $0.89
           Operations                                        (.2)
March 2019 Business                 03/28/19 ED          390 review and revise draft agreement (.4)                                                               0.4 0.0102564         $4.00
           Operations
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                             1.8 0.0204545         $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                             0.2 0.0022727         $0.89
           Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                          1.6 0.0202532         $7.90
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                          0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                     1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain                0.2 0.0022727         $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                 0.2 0.0022727         $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                    1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                                0.8 0.0090909         $3.55
           Operations
March 2019 Claims                   03/13/19 NM          260 Study lenders' objections to the claims motion.                                                        0.7 0.0088608         $2.30
           Administration
           & Objections

March 2019 Claims                   03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                   03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                   03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                    cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                   03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                    cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                   03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
March 2019 Claims                   03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to           3.3 0.0417722         $10.86
           Administration                                    cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                      regarding same and study comments from same.

March 2019 Claims                   03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-              3.3 0.0417722         $10.86
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same.

March 2019 Claims                   03/29/19 MR          390 conferences regarding same (.4).                                                                        0.4 0.0050633          $1.97
           Administration
           & Objections

March 2019 Claims                   03/29/19 MR          390 work on draft response brief (1.2)                                                                      1.2 0.0151899          $5.92
           Administration
           & Objections

March 2019 Claims                   03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-              8.1 0.1025316         $26.66
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                  04/02/19 KBD         390 draft correspondence to real estate broker regarding planning for liquidation of next tranche           0.1 0.0066667          $2.60
             Disposition                                     of properties (.1)
April 2019   Asset                  04/09/19 KBD         390 Telephone conference with broker regarding update on timing for second tranche of                       0.2 0.0074074          $2.89
             Disposition                                     properties and preparation for third tranche of properties (.2)
April 2019   Asset                  04/12/19 KBD         390 study draft motion for approval of sale of additional properties (.2).                                  0.2 0.0133333          $5.20
             Disposition
April 2019   Asset                  04/13/19 KBD         390 Exchange correspondence with A. Porter regarding motion to approve sale of additional                   0.2 0.0133333          $5.20
             Disposition                                     properties.
April 2019   Asset                  04/14/19 KBD         390 Telephone conference with A. Porter regarding motions to approve sale of third tranche of               0.2 0.0133333          $5.20
             Disposition                                     properties and division into three segments.
April 2019   Asset                  04/15/19 KBD         390 Exchange correspondence and office conference with A. Porter regarding motions to                       0.2 0.0133333          $5.20
             Disposition                                     approve sale of third tranche of properties.
April 2019   Asset                  04/16/19 KBD         390 Telephone conference with real estate broker regarding timing for sales and listing additional          0.2 0.0133333          $5.20
             Disposition                                     properties and financing efforts.
April 2019   Asset                  04/18/19 KBD         390 study draft motion relating to same (.5).                                                               0.5 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/18/19 KBD         390 office conferences with E. Duff and K. Pritchard regarding same (.3)                                    0.3         0.02       $7.80
             Disposition
April 2019   Asset                  04/18/19 KBD         390 Exchange correspondence and telephone conference with A. Porter regarding motions to sell               0.4 0.0266667         $10.40
             Disposition                                     third tranche of properties (.4)
April 2019   Business               04/01/19 KBD         390 office conference with K. Pritchard regarding wire transfer relating to same (.1)                       0.1 0.0025641          $1.00
             Operations




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/01/19 KBD         390 Telephone conference with property manager regarding continuation of property                          0.2 0.0051282          $2.00
             Operations                                      management while financing efforts ongoing (.2)
April 2019   Business               04/01/19 KBD         390 telephone conference with property manager regarding property management and                           0.2 0.0051282          $2.00
             Operations                                      compensation options as well as confirmation of background relating to transfer of funds (.2)

April 2019   Business               04/01/19 KBD         390 office conference with M. Rachlis regarding transfer of funds (.1)                                     0.1 0.0025641          $1.00
             Operations
April 2019   Business               04/01/19 KBD         390 telephone conference with property manager regarding financing for property management                 0.2 0.0051282          $2.00
             Operations                                      work (.2)
April 2019   Business               04/01/19 KBD         390 exchange correspondence with property manager regarding additional information                         0.1 0.0025641          $1.00
             Operations                                      requested relating to same (.1)
April 2019   Business               04/01/19 KBD         390 exchange correspondence with N. Mirjanich and K. Pritchard regarding receivership                      0.4 0.0102564          $4.00
             Operations                                      expenses and accounting (.4)
April 2019   Business               04/01/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                    0.1 0.0025641          $1.00
             Operations                                      wire transfer to property manager (.1)
April 2019   Business               04/02/19 KBD         390 telephone conference with bank representative regarding wire transfer to property manager              0.1 0.0025641          $1.00
             Operations                                      (.1).
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/03/19 KBD         390 study correspondence from property manager regarding outstanding property management                   0.2 0.0051282          $2.00
             Operations                                      amounts (.2)
April 2019   Business               04/08/19 KBD         390 exchange correspondence with property manager regarding cross collateralized properties                0.2 0.0051282          $2.00
             Operations                                      (.2)
April 2019   Business               04/09/19 KBD         390 exchange correspondence with A. Porter, N. Mirjanich, and E. Duff regarding result of tax              0.1 0.0090909          $3.55
             Operations                                      appeals, accounting, and status report (.1)
April 2019   Business               04/09/19 KBD         390 study correspondence from E. Duff regarding analysis of property-related transfers of funds            0.2 0.0051282          $2.00
             Operations                                      (.2).
April 2019   Business               04/09/19 KBD         390 study correspondence from property manager and exchange correspondence with E. Duff                    0.2 0.0051282          $2.00
             Operations                                      regarding accounting for wire transfers by property (.2)
April 2019   Business               04/11/19 KBD         390 exchange correspondence with property manager regarding unpaid utilities (.2)                          0.2         0.02       $7.80
             Operations
April 2019   Business               04/11/19 KBD         390 draft correspondence to property manager regarding payments and accounting (.1)                        0.1         0.01       $3.90
             Operations
April 2019   Business               04/11/19 KBD         390 telephone conference with bank representative regarding wire transfer for property                     0.2 0.0051282          $2.00
             Operations                                      expenses and exchange correspondence regarding same (.2)
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/17/19 KBD         390 exchange correspondence with property manager regarding same (.2).                                     0.2 0.0051282          $2.00
             Operations


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2019   Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                        0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/19/19 KBD         390 telephone conference with regarding property manager issues (.2)                                      0.2 0.0051282         $2.00
             Operations
April 2019   Business               04/19/19 KBD         390 Discussion and planning regarding property manager services with M. Rachlis (.5)                      0.5 0.0128205         $5.00
             Operations
April 2019   Business               04/19/19 KBD         390 telephone conference with and exchange correspondence with property manager regarding                 0.5 0.0128205         $5.00
             Operations                                      property management services, payment of receivable, finance efforts, and accounting (.5)

April 2019   Business               04/19/19 KBD         390 further evaluation with M. Rachlis regarding same (.4)                                                0.4 0.0102564         $4.00
             Operations
April 2019   Business               04/22/19 KBD         390 Work with asset manager, E. Duff, and M. Rachlis regarding asset management issues,                   1.8 0.0461538        $18.00
             Operations                                      managing expenses, and contingency planning (1.8)
April 2019   Business               04/22/19 KBD         390 study lender reports and discuss with E. Duff regarding corrections to same and                       0.2 0.0022727         $0.89
             Operations                                      communication with accounting firm representative relating to same (.2)
April 2019   Business               04/23/19 KBD         390 telephone conference with property manager regarding approval of sale of properties and               0.2 0.0051282         $2.00
             Operations                                      payment of utility bills, and draft correspondence regarding same (.2)

April 2019   Business               04/23/19 KBD         390 telephone conference with property management firm representative (.2)                                0.2 0.0051282         $2.00
             Operations
April 2019   Business               04/25/19 KBD         390 exchange correspondence with M. Rachlis regarding same and property sales (.2).                       0.2 0.0051282         $2.00
             Operations
April 2019   Business               04/25/19 KBD         390 exchange correspondence with property manager regarding property expenses (.2)                        0.2 0.0051282         $2.00
             Operations
April 2019   Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real                0.4 0.0037383         $1.46
             Operations                                      estate tax payments and planning (.4)
April 2019   Business               04/29/19 KBD         390 office conference with A. Porter regarding communication with property manager regarding              0.4 0.0102564         $4.00
             Operations                                      payments, release of liens, and outstanding expenses (.4)
April 2019   Claims                 04/09/19 KBD         390 Study investor lender statements of account.                                                          0.5 0.0061728         $2.41
             Administration
             & Objections

April 2019   Claims                 04/12/19 KBD         390 Study lenders' reply regarding priority and discovery (.4)                                            0.4 0.0064516         $2.52
             Administration
             & Objections

April 2019   Claims                 04/23/19 KBD         390 office conference with E. Duff regarding hearing before Judge Lee and lender rent reporting,          0.4 0.0102564         $4.00
             Administration                                  review sources and uses, and discuss communications with property managers with respect
             & Objections                                    to payment of expenses (.4).




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Claims                 04/23/19 KBD             390 telephone conference with accounting firm representative and E. Duff regarding reporting to            0.2 0.0051282          $2.00
             Administration                                      lenders regarding rent (.2)
             & Objections

April 2019   Claims                 04/23/19 KBD             390 conference with lenders counsel regarding rent reporting and offer to discuss questions or             0.1 0.0025641          $1.00
             Administration                                      concerns with reporting (.1)
             & Objections

April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/16/19 MR              390 Conferences on status on motions and other property issues with K. Duff.                               0.3         0.02       $7.80
             Disposition
April 2019   Asset                  04/18/19 KMP             140 file motions and notices electronically (.3)                                                           0.3         0.02       $2.80
             Disposition
April 2019   Asset                  04/18/19 KMP             140 Review, revise and finalize motions for court approval of sale process and related notices,            0.8 0.0533333          $7.47
             Disposition                                         and communications with K. Duff, E. Duff and A. Porter regarding same (.8)

April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 KMP             140 Communication with real estate agent regarding motions for court approval of sale of                   0.1 0.0066667          $0.93
             Disposition                                         properties.
April 2019   Asset                  04/19/19 MR              390 Attention to issues with property managers and meetings with K. Duff regarding same (1.0)              1.0    0.025641       $10.00
             Disposition
April 2019   Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                  1.0    0.047619       $18.57
             Disposition
April 2019   Asset                  04/19/19 MR              390 attention to correspondence relating to same (.3)                                                      0.3 0.0076923          $3.00
             Disposition
April 2019   Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                          0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge              5.0 0.2380952         $92.86
             Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                  04/22/19 NM              260 study objections filed by lenders to sale motions (.3).                                                0.3       0.025        $6.50
             Disposition




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2019   Business               04/01/19 KMP             140 prepare form for wire transfer to property manager for property expenses, and                         0.3 0.0076923         $1.08
             Operations                                          communications with K. Duff and bank representative regarding same (.3).
April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding          0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                       0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                         0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                           0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest           2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile           0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                    0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                   1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,            0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                    0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)             0.2 0.0022472         $0.88
             Operations
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                  0.7 0.0079545         $3.10
             Operations
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                     0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                      0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                 0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                 0.3 0.0034091         $1.33
             Operations


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/11/19 ED              390 analysis of differences in NOI calculations against accrual reporting from property manager            0.4 0.0102564         $4.00
             Operations                                          (.4).
April 2019   Business               04/12/19 ED              390 review reporting from property manager regarding utility payments (.9)                                 0.9 0.0230769         $9.00
             Operations
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319         $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391         $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/19/19 MR              390 Attention to property management issues and meetings with K. Duff regarding same (1.0)                 1.0    0.025641      $10.00
             Operations
April 2019   Business               04/19/19 MR              390 attention to correspondence relating to same (.3).                                                     0.3 0.0076923         $3.00
             Operations
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455         $1.77
             Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property          1.5 0.0168539         $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                 1.8    0.026087      $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/22/19 MR              390 Participate in meeting regarding property management, expenses and planning.                         1.8 0.0461538        $18.00
             Operations
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                     0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727         $0.89
             Operations
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)          0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182         $2.66
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/25/19 MR              390 attention to various issues regarding property management issues (.6).                               0.6 0.0153846         $6.00
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273         $1.13
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 MR              390 Conferences regarding property management issues.                                                    0.2 0.0051282         $2.00
             Operations
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909          $1.00
             Operations                                          managers (.8)
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727          $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901          $0.39
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802          $0.77
             Operations
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364          $0.44
             Operations
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091          $1.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729          $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818          $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091          $0.38
             Operations
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182         $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909          $1.00
             Operations                                          property managers (.8)
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727          $0.25
             Operations
April 2019   Claims                 04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)                0.2 0.0022727          $0.89
             Administration
             & Objections

April 2019   Claims                 04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures            0.2 0.0022727          $0.89
             Administration                                      (.2).
             & Objections

April 2019   Claims                 04/11/19 ED              390 Begin review of Receiver's property reports.                                                         1.5 0.0170455          $6.65
             Administration
             & Objections

April 2019   Claims                 04/16/19 ED              390 and regarding financial reporting (.2).                                                              0.2         0.05      $19.50
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                 Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
April 2019   Claims                 04/17/19 ED          390 Reply to inquiry from lender's counsel regarding payment of real estate taxes (.2)                0.2         0.02       $7.80
             Administration
             & Objections

April 2019   Claims                 04/17/19 ED          390 and review of related documents (.6).                                                             0.6         0.06      $23.40
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 Email correspondence with lenders' counsel and property manager regarding March                   0.3         0.06      $23.40
             Administration                                  reporting documents (.3)
             & Objections

April 2019   Claims                 04/25/19 ED          390 and research into discrepancies and questions (.7)                                                0.7 0.0079545          $3.10
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 review reports received against financial reporting to lenders (.8)                               0.8 0.0090909          $3.55
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                      0.2 0.0022727          $0.89
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 discussion with M. Rachlis of sources of funds (.8).                                              0.8 0.0115942          $4.52
             Administration
             & Objections

May 2019     Asset                  05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                  0.2 0.0022989          $0.90
             Disposition                                     account reporting (.2)
May 2019     Asset                  05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                  1.3 0.0149425          $5.83
             Disposition                                     representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019     Asset                  05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                               0.2 0.0022989          $0.90
             Disposition
May 2019     Asset                  05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).             1.9 0.0218391          $8.52
             Disposition
May 2019     Asset                  05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                           0.7    0.008046        $3.14
             Disposition
May 2019     Asset                  05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid              0.2 0.0022989          $0.90
             Disposition                                     procedures (.2)
May 2019     Asset                  05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and            0.1 0.0011494          $0.45
             Disposition                                     portfolio equity (.1)


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                  05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                     planning (1.8)
May 2019     Asset                  05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                     regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                  05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                     communications with lenders' counsel relating to same (1.1)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                     credit bid and sales procedures (.5)
May 2019     Asset                  05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                     procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                     engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019     Asset                  05/21/19 KBD         390 discuss same with M. Rachlis (.1)                                                                     0.1 0.0066667         $2.60
             Disposition
May 2019     Asset                  05/23/19 KBD         390 work with M. Rachlis on timing, lender communications, and revisions to procedures (.3)               0.3 0.0428571        $16.71
             Disposition
May 2019     Asset                  05/23/19 KBD         390 Study recent court orders (.2)                                                                        0.2 0.0105263         $4.11
             Disposition
May 2019     Asset                  05/23/19 KBD         390 telephone conference with real estate broker regarding timing for marketing and sales and             0.2 0.0105263         $4.11
             Disposition                                     potential adjustments to next properties as a result of court orders, lender communications,
                                                             and changes to sales procedures (.2)
May 2019     Asset                  05/29/19 KBD         390 Telephone conferences with real estate brokers regarding status of communications with                0.2 0.0105263         $4.11
             Disposition                                     lenders counsel and prioritization of properties for listing (.2)

May 2019     Asset                  05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                     communications with lenders' counsel relating to same (.8)
May 2019     Asset                  05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/30/19 KBD         390 telephone conference with real estate broker and N. Mirjanich regarding priority of sale of           0.4 0.0571429        $22.29
             Disposition                                     properties and sale procedures (.4)
May 2019     Business               05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                      reporting (.4)
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business               05/14/19 KBD         390 exchange correspondence with asset manager regarding parameters for approval of                       0.3 0.0081081         $3.16
             Operations                                      property manager capital expenses and draft correspondence to property manager
                                                             regarding same (.3)
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                      same (.3)
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019     Business               05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business               05/23/19 KBD         390 telephone conference with bank representative, draft correspondence to property manager               0.4 0.0108108         $4.22
             Operations                                      regarding financial reporting and accounting (.4)
May 2019     Business               05/23/19 KBD         390 draft correspondence to E. Duff regarding same (.1)                                                   0.1 0.0027027         $1.05
             Operations
May 2019     Business               05/24/19 KBD         390 draft and revise correspondence to property manager regarding financial reporting and                 0.4 0.0108108         $4.22
             Operations                                      accounting and exchange correspondence with M. Rachlis regarding same (.4).

May 2019     Business               05/30/19 KBD         390 exchange correspondence regarding and conference with E. Duff regarding communications                0.2 0.0054054         $2.11
             Operations                                      with and meeting with property manager regarding accounting reporting and procedure (.2)

May 2019     Business               05/30/19 KBD         390 exchange communications with property manager regarding analysis of payment relating to               0.2 0.0054054         $2.11
             Operations                                      property management services (.2)
May 2019     Business               05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                      0.2 0.0018692         $0.73
             Operations
May 2019     Business               05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                      0.2 0.0022989         $0.90
             Operations
May 2019     Claims                 05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                                   0.6 0.0068966         $2.69
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2019     Claims                 05/07/19 KBD         390 Work with E. Duff and M. Rachlis regarding obtaining information from property manager for          0.3 0.0076923         $3.00
             Administration                                  use in rent reporting reports (.3)
             & Objections

May 2019     Claims                 05/07/19 KBD         390 study correspondence from property manager and E. Duff regarding same (.2)                          0.2 0.0051282         $2.00
             Administration
             & Objections

May 2019     Claims                 05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting               0.2 0.0022727         $0.89
             Administration                                  reports (.2)
             & Objections

May 2019     Claims                 05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with             0.1 0.0011494         $0.45
             Administration                                  accounting firm representatives (.1)
             & Objections

May 2019     Claims                 05/13/19 KBD         390 study correspondence from E. Duff regarding financial reporting regarding property                  0.2 0.0051282         $2.00
             Administration                                  performance and rent (.2).
             & Objections

May 2019     Claims                 05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                       0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for              0.2 0.0022989         $0.90
             Administration                                  delivery of reports (.2)
             & Objections

May 2019     Claims                 05/15/19 KBD         390 telephone conference with accounting firm representative regarding same (.1).                       0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                 05/15/19 KBD         390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                           0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD         390 office conference with E. Duff regarding same (.2)                                                  0.2 0.0022989         $0.90
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Claims                 05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                      0.5 0.0056818          $2.22
             Administration                                      financial reports (.5)
             & Objections

May 2019     Claims                 05/21/19 KBD             390 review correspondence from N. Mirjanich regarding publication notice (.1).                              0.1 0.0066667          $2.60
             Administration
             & Objections

May 2019     Asset                  05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                   0.7    0.008046        $3.14
             Disposition                                         accounting issues with property manager (.7).
May 2019     Asset                  05/02/19 NM              260 draft motion to amend the approval of third tranche to reflect same (.3).                               0.3         0.02       $5.20
             Disposition
May 2019     Asset                  05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                    1.5 0.0168539          $6.57
             Disposition                                         marketing and sales process (1.5).
May 2019     Asset                  05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale                1.2 0.0137931          $5.38
             Disposition                                         processes for next tranche of properties (1.2).
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                                2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                  05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.             2.5 0.0280899         $10.96
             Disposition
May 2019     Asset                  05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale           0.2 0.0022989          $0.90
             Disposition                                         of properties.
May 2019     Asset                  05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                  0.2 0.0022989          $0.90
             Disposition                                         and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                  05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                     1.2 0.0134831          $5.26
             Disposition
May 2019     Asset                  05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.                1.5 0.0168539          $6.57
             Disposition
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                  05/13/19 NM              260 study correspondence relating to bid procedures and amendment motion to approve the                     0.2 0.0133333          $3.47
             Disposition                                         third tranche of properties (.2)
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                             0.6 0.0067416          $2.63
             Disposition
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise proposed amendment to third, fourth, and fifth motions for approval             0.2         0.02       $7.80
             Disposition                                         of marketing and sale of properties in third marketing tranche (.2)
May 2019     Asset                  05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with           1.0    0.011236        $4.38
             Disposition                                         receivership broker (1.0)
May 2019     Asset                  05/15/19 AEP             390 proofread, edit, and revise amendment to third, fourth, and fifth motions for approval of sale          0.2 0.0133333          $5.20
             Disposition                                         of properties in second marketing tranche (.2)
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                              0.3 0.0033708          $1.31
             Disposition


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                 0.6 0.0067416          $2.63
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                  05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                  2.5 0.0287356         $11.21
             Disposition
May 2019     Asset                  05/15/19 NM              260 correspond with real estate broker and K. Duff regarding publication notice for second                  0.7 0.0259259          $6.74
             Disposition                                         tranche of properties and draft revisions to same (.7)
May 2019     Asset                  05/16/19 AEP             390 conference with J. Rak regarding next steps in preparation for marketing and sale of second             1.5 0.2142857         $83.57
             Disposition                                         and fifth property tranches (1.5).
May 2019     Asset                  05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                             0.5    0.005618        $2.19
             Disposition
May 2019     Asset                  05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                 2.5 0.0280899         $10.96
             Disposition
May 2019     Asset                  05/16/19 MR              390 Further edits to brief (.3)                                                                             0.3         0.02       $7.80
             Disposition
May 2019     Asset                  05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                  0.7    0.008046        $3.14
             Disposition
May 2019     Asset                  05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                     0.2 0.0022472          $0.88
             Disposition
May 2019     Asset                  05/17/19 JR              140 research legal descriptions for the fifth tranche of properties and draft a legal document to           2.6 0.3714286         $52.00
             Disposition                                         produce to the surveying company (2.6)
May 2019     Asset                  05/20/19 JR              140 Update draft legal description document for properties in the fifth tranche (1.9)                       1.9 0.2714286         $38.00
             Disposition
May 2019     Asset                  05/22/19 MR              390 Review of order granting motion for approval of sale and follow up regarding same.                      0.2 0.0285714         $11.14
             Disposition
May 2019     Asset                  05/22/19 NM              260 study order approving sale of fifth motion of properties and correspond with K. Duff                    0.1 0.0142857          $3.71
             Disposition                                         regarding same (.1).
May 2019     Asset                  05/29/19 JR              140 update electronic records for the fifth tranche (1.6).                                                  1.6 0.2285714         $32.00
             Disposition
May 2019     Asset                  05/30/19 AEP             390 Meeting with J. Rak to prepare strategic plan for second, third, and fifth marketing tranches,          2.0 0.0909091         $35.45
             Disposition                                         including ordering, facilitating, and proofing of surveys, completion of title commitments,
                                                                 preparation of motions to confirm sales and proposed orders associated therewith, and
                                                                 preparations of preliminary settlement statements (2.0)

May 2019     Asset                  05/30/19 JR              140 exchange follow up correspondence with property managers regarding set up of online                     0.3 0.0085714          $1.20
             Disposition                                         water payments (.3).
May 2019     Asset                  05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                           0.4 0.0045977          $1.79
             Disposition
May 2019     Asset                  05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                             1.0 0.0114943          $4.48
             Disposition
May 2019     Asset                  05/30/19 MR              390 and conferences regarding same (.2).                                                                    0.2 0.0022989          $0.90
             Disposition


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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                     1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                  05/30/19 NM              260 Correspond with K. Duff and real estate broker regarding marketing of properties in second            0.5 0.0185185         $4.81
             Disposition                                         and third tranches of sales (.5)
May 2019     Asset                  05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
             Disposition                                         (.2).
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
             Operations
May 2019     Business               05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364         $0.44
             Operations
May 2019     Business               05/03/19 NM              260 correspond with E. Duff regarding code violation and property tax documents needed for                0.2 0.0022989         $0.60
             Operations                                          reporting and send same (.2).
May 2019     Business               05/07/19 ED              390 and email correspondence to property manager regarding same (.2)                                      0.2 0.0054054         $2.11
             Operations
May 2019     Business               05/07/19 ED              390 review financial reporting for additional accounting reports (.3)                                     0.3 0.0081081         $3.16
             Operations
May 2019     Business               05/07/19 ED              390 Email correspondence with property manager regarding financial reporting information for              0.4 0.0108108         $4.22
             Operations                                          properties (.4)
May 2019     Business               05/07/19 ED              390 confer with K. Duff regarding same (.2)                                                               0.2 0.0054054         $2.11
             Operations
May 2019     Business               05/07/19 ED              390 email correspondence with asset manager regarding same (.2)                                           0.2 0.0054054         $2.11
             Operations
May 2019     Business               05/07/19 ED              390 review portfolio cash flow statements from property manager from August through March                 0.8 0.0216216         $8.43
             Operations                                          (.8)
May 2019     Business               05/07/19 ED              390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                   0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/08/19 ED              390 review and prepare comments and questions on draft reports (2.0)                                      2.0 0.0227273         $8.86
             Operations
May 2019     Business               05/08/19 ED              390 email correspondence with property manager to request additional documentation for same               0.3 0.0034091         $1.33
             Operations                                          (.3)
May 2019     Business               05/08/19 ED              390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                   0.2 0.0022727         $0.89
             Operations                                          expenditures by property (.2)
May 2019     Business               05/08/19 ED              390 Call with accountant to discuss comments and questions regarding accounting reports (.3)              0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/08/19 ED              390 check completeness of financial reporting files from property managers and make notes for             0.9 0.0102273         $3.99
             Operations                                          follow up questions (.9)
May 2019     Business               05/08/19 ED              390 and review of related documentation (.6)                                                              0.6 0.0068182         $2.66
             Operations




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/09/19 ED          390 Review bids for property expenditures (.3)                                                             0.3 0.0333333         $13.00
             Operations
May 2019     Business               05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909          $3.55
             Operations                                      reports and comments and questions regarding contents (.8)
May 2019     Business               05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182         $17.28
             Operations
May 2019     Business               05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818          $2.22
             Operations                                      (.5)
May 2019     Business               05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091         $11.08
             Operations
May 2019     Business               05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/14/19 KMP         140 communicate with K. Duff and E. Duff regarding notice from institutional lender regarding              0.1          0.1      $14.00
             Operations                                      insurance coverage (.1).
May 2019     Business               05/15/19 ED          390 email correspondence with property manager regarding same (.2).                                        0.2         0.02       $7.80
             Operations
May 2019     Business               05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545          $3.10
             Operations
May 2019     Business               05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/15/19 ED          390 review questions from lender's counsel regarding expenses for properties and related                   0.2         0.02       $7.80
             Operations                                      documentation (.2)
May 2019     Business               05/16/19 ED          390 review documents regarding application of receivership payments to property manager by                 2.2       0.025        $9.75
             Operations                                      property (2.2)
May 2019     Business               05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports             0.1 0.0011364          $0.44
             Operations                                      (.1)
May 2019     Business               05/16/19 ED          390 review revised accounting reports from accountant (.5).                                                0.5 0.0056818          $2.22
             Operations




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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                               0.6 0.0068182          $2.66
             Operations
May 2019     Business               05/17/19 ED          390 review and revise draft reports received (4.4)                                                         4.4         0.05      $19.50
             Operations
May 2019     Business               05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                  0.5 0.0056818          $2.22
             Operations                                      accountants (.5)
May 2019     Business               05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)              0.8 0.0090909          $3.55
             Operations
May 2019     Business               05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of             0.3 0.0034091          $1.33
             Operations                                      accounting reports (.3)
May 2019     Business               05/17/19 ED          390 calls with accountant regarding reports (.3)                                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                             0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                   0.9 0.0102273          $3.99
             Operations                                      accounting reports (.9)
May 2019     Business               05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       4.6 0.0522727         $20.39
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273         $28.36
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273         $47.86
             Operations                                      accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business               05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364         $29.69
             Operations                                      accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019     Business               05/20/19 NM          260 revise correspondence to property managers from J. Rak regarding water accounts and                    0.3 0.0076923          $2.00
             Operations                                      correspond with J. Rak regarding same (.3)
May 2019     Business               05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545         $11.82
             Operations
May 2019     Business               05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364          $0.30
             Operations
May 2019     Business               05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909         $18.17
             Operations
May 2019     Business               05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636         $33.68
             Operations                                      with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business               05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818          $0.80
             Operations                                      conferences with E. Duff regarding same.
May 2019     Business               05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182         $21.27
             Operations




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Business               05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                        0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                        2.8 0.0318182        $12.41
             Operations
May 2019     Business               05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                  3.4 0.0386364        $15.07
             Operations                                      reports (3.4).
May 2019     Business               05/22/19 ED          390 final review of accounting reports (2.4)                                                              2.4 0.0272727        $10.64
             Operations
May 2019     Business               05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,               0.6 0.0067416         $0.94
             Operations                                      and conferences with E. Duff regarding same.
May 2019     Business               05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                          0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                        0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)            0.4 0.0045977         $1.79
             Operations
May 2019     Business               05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of          0.9 0.0103448         $4.03
             Operations                                      accounting reports (.9)
May 2019     Business               05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                         0.5 0.0057471         $2.24
             Operations
May 2019     Business               05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April             0.5 0.0057471         $2.24
             Operations                                      accounting reports (.5)
May 2019     Business               05/30/19 ED          390 call with asset manager regarding same (.2)                                                           0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/30/19 ED          390 and property manager (.8)                                                                             0.8 0.0091954         $3.59
             Operations
May 2019     Business               05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).             1.0 0.0114943         $4.48
             Operations
May 2019     Business               05/31/19 ED          390 Email correspondence with property manager regarding meeting to discuss properties (.3)               0.3 0.0081081         $3.16
             Operations
May 2019     Business               05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                 0.2 0.0022989         $0.90
             Operations                                      required for April accounting reports (.2)
May 2019     Claims                 05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                  5.6 0.0643678        $25.10
             Administration                                  accounting reports (5.6)
             & Objections

May 2019     Claims                 05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)             0.6 0.0068966         $2.69
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                              0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                  accounting reports (.4).
             & Objections

May 2019     Claims                 05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
             Administration                                  documents (5.0)
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections

May 2019     Claims                 05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
May 2019     Claims                 05/23/19 NM          260 prepare email to send to all investors and creditors with claims link and send same (1.3)             1.3 0.0160494          $4.17
             Administration
             & Objections

May 2019     Claims                 05/24/19 NM          260 Study responses to correspondence from investors regarding claims portal and process and              1.4    0.017284        $4.49
             Administration                                  draft responses to frequently asked questions to same (1.4)
             & Objections

June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003        $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494          $0.45
             Disposition                                     with lenders counsel (.1)
June 2019    Asset                  06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977          $1.79
             Disposition                                     exchange various correspondence relating to same (.4)
June 2019    Asset                  06/03/19 KBD         390 study sales and bid procedures (.4).                                                                  0.4 0.0266667         $10.40
             Disposition
June 2019    Asset                  06/04/19 KBD         390 study revisions to sales procedures and correspondence regarding same (.3).                           0.3         0.02       $7.80
             Disposition
June 2019    Asset                  06/05/19 KBD         390 study and exchange various correspondence regarding sales procedures, joint motion, and               0.4 0.0266667         $10.40
             Disposition                                     communications from lenders' counsel regarding same (.4).
June 2019    Asset                  06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966          $2.69
             Disposition                                     regarding same (.6)
June 2019    Asset                  06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483          $1.34
             Disposition
June 2019    Asset                  06/07/19 KBD         390 study lenders objection to court order regarding credit bid procedures and letter of credit           0.3 0.0085714          $3.34
             Disposition                                     (.3)
June 2019    Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)             0.2 0.0028571          $1.11
             Disposition
June 2019    Asset                  06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977          $1.79
             Disposition
June 2019    Asset                  06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966          $2.69
             Disposition                                     and study revised credit bid procedures (.6)
June 2019    Asset                  06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046        $3.14
             Disposition                                     M. Rachlis.
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802          $0.77
             Disposition
June 2019    Asset                  06/19/19 KBD         390 modify property sale procedures and exchange correspondence regarding same (.3).                      0.3         0.02       $7.80
             Disposition
June 2019    Asset                  06/21/19 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding planning for sale of properties            0.2 0.0074074          $2.89
             Disposition                                     (.2).
June 2019    Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and               0.2 0.0039216          $1.53
             Disposition                                     potential for new grouping to list for sale (.2)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                 0.5       0.005        $1.95
             Disposition
June 2019    Business               06/03/19 KBD         390 Telephone conference with and study correspondence from E. Duff and property manager                 0.4 0.0108108          $4.22
             Operations                                      regarding meeting with property manager and asset manager relating to financial reporting,
                                                             account management, property improvement, and various related issues (.4)

June 2019    Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                    0.3       0.003        $1.17
             Operations
June 2019    Business               06/04/19 KBD         390 Study financial information relating to property manager receivables and cash flow and               0.2 0.0054054          $2.11
             Operations                                      exchange correspondence regarding same (.2)
June 2019    Business               06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties              0.5 0.0057471          $2.24
             Operations                                      (.5)
June 2019    Business               06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure            0.1 0.0011494          $0.45
             Operations                                      relating to credit bid issue (.1)
June 2019    Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                           0.1 0.0009346          $0.36
             Operations
June 2019    Business               06/07/19 KBD         390 study correspondence from property manager regarding property accounts (.2).                         0.2 0.0054054          $2.11
             Operations
June 2019    Business               06/17/19 KBD         390 various exchanges with E. Duff and property manager regarding same and payment of                    0.4 0.0108108          $4.22
             Operations                                      expenses (.4)
June 2019    Business               06/17/19 KBD         390 study correspondence and reporting information from property manager (.5)                            0.5 0.0135135          $5.27
             Operations
June 2019    Business               06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                     0.4 0.0045977          $1.79
             Operations
June 2019    Business               06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                 0.4 0.0045977          $1.79
             Operations                                      same (.4).
June 2019    Business               06/20/19 KBD         390 analysis of property management expenses and exchange various correspondence with E.                 0.9 0.0243243          $9.49
             Operations                                      Duff regarding same (.9)
June 2019    Business               06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence                0.4 0.0037383          $1.46
             Operations                                      with J. Rak regarding same (.4)
June 2019    Business               06/21/19 KBD         390 Study correspondence from property manager and N. Mirjanich regarding administration                 0.1 0.0333333         $13.00
             Operations                                      fines, availability of funds, and payment (2736 64th, 7109 Calumet, and 7600 Kingston) (.1)

June 2019    Business               06/24/19 KBD         390 study information regarding payments for building code violations (7109 Calumet, 2736 64th,          0.2 0.0666667         $26.00
             Operations                                      and 7656 Kingston) (.2)
June 2019    Business               06/25/19 KBD         390 review correspondence from property manager regarding property expenses (7113 Calumet                0.1         0.05      $19.50
             Operations                                      and 7760 Coles) (.1)
June 2019    Business               06/25/19 KBD         390 work on various property expense issues including with E. Duff (.5).                                 0.5 0.0135135          $5.27
             Operations
June 2019    Claims                 06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483          $1.34
             Administration                                  lender's counsel regarding credit bid procedures (.3)
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/10/19 KBD         390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                  lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                    date (.3)

June 2019    Claims                 06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                  various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                 06/11/19 KBD         390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                  revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                 06/14/19 KBD         390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                 06/16/19 KBD         390 Exchange correspondence with M. Rachlis regarding response to lender objections to credit            2.5 0.0714286        $27.86
             Administration                                  bid procedures and revise multiple versions of same.
             & Objections

June 2019    Claims                 06/17/19 KBD         390 Exchange correspondence and confer with M. Rachlis regarding response to lender                      0.5 0.0142857         $5.57
             Administration                                  objections to credit bid procedures (.5)
             & Objections

June 2019    Claims                 06/17/19 KBD         390 study lenders motion to amend court order and exchange correspondence regarding same                 0.6 0.0098361         $3.84
             Administration                                  (.6).
             & Objections

June 2019    Claims                 06/17/19 KBD         390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/21/19 KBD         390 draft correspondence to N. Mirjanich regarding property sales procedures (.2)                        0.2 0.0105263         $4.11
             Administration
             & Objections

June 2019    Claims                 06/21/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Claims                 06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                    0.4 0.0044944          $1.75
             Administration
             & Objections

June 2019    Claims                 06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit                 0.2 0.0022989          $0.90
             Administration                                      bid procedures (.2)
             & Objections

June 2019    Claims                 06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                        1.5 0.0172414          $6.72
             Administration
             & Objections

June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215        $1.57
             Disposition
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794          $4.84
             Disposition
June 2019    Asset                  06/03/19 MR              390 attention to issues on agreed motion for credit bidding and sealed bid instructions (.7).               0.7 0.0368421         $14.37
             Disposition
June 2019    Asset                  06/03/19 MR              390 Attention to sales issues (.3)                                                                          0.3 0.0157895          $6.16
             Disposition
June 2019    Asset                  06/03/19 MR              390 review and comment on motion (.2)                                                                       0.2 0.0105263          $4.11
             Disposition
June 2019    Asset                  06/03/19 NM              260 Correspond with J. Rak regarding second and third sales tranches (.3)                                   0.3 0.0111111          $2.89
             Disposition
June 2019    Asset                  06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652          $3.07
             Disposition
June 2019    Asset                  06/04/19 JR              140 Research and review legal descriptions for the fifth tranche with A. Porter (2.8)                       2.8          0.4      $56.00
             Disposition
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                  06/04/19 MR              390 attention to sales issues (.2).                                                                         0.2 0.0105263          $4.11
             Disposition
June 2019    Asset                  06/04/19 MR              390 Attention to various motions and emails regarding objections to sales and credit bids (.4)              0.4 0.0210526          $8.21
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714         $25.77
             Disposition                                         marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                 specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                 to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                 PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                 surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                 lists and closing documents, and numerous other transaction preparation tasks.

June 2019    Asset                  06/06/19 JR              140 Work with A. Porter on motion to approve sale for the fifth tranche (1.6)                               1.6 0.2285714         $32.00
             Disposition
June 2019    Asset                  06/06/19 JR              140 telephone conference with the title company regarding ordering title for the new second                 0.7         0.07       $9.80
             Disposition                                         and third tranche properties and for the fifth tranche (.7)
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                  06/06/19 MR              390 Analysis of credit bid issues.                                                                          0.8 0.0421053         $16.42
             Disposition
June 2019    Asset                  06/07/19 JR              140 organize electronic files for the fifth tranche (2.1)                                                   2.1          0.3      $42.00
             Disposition
June 2019    Asset                  06/07/19 MR              390 attention to various issues on status on credit bids and other issues, including as to recent           1.2 0.0631579         $24.63
             Disposition                                         filings (1.2).
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824          $2.29
             Disposition
June 2019    Asset                  06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379          $9.41
             Disposition                                         of proposed credit bidding procedures (2.1)
June 2019    Asset                  06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944          $1.75
             Disposition
June 2019    Asset                  06/09/19 MR              390 Review and analyze objections regarding sales process and credit bids.                                  2.0 0.1052632         $41.05
             Disposition
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                  06/10/19 MR              390 review of emails and follow up regarding same (.2).                                                     0.2 0.0105263          $4.11
             Disposition
June 2019    Asset                  06/10/19 MR              390 Further review and edits to response on credit bids (.5)                                                0.5 0.0263158         $10.26
             Disposition
June 2019    Asset                  06/11/19 JR              140 begin drafting closing checklists on the fifth tranche for properties (.6)                              0.6 0.0857143         $12.00
             Disposition
June 2019    Asset                  06/11/19 MR              390 Attention to credit bid issues and review and revise procedures and correspondence on                   1.2 0.0631579         $24.63
             Disposition                                         same.
June 2019    Asset                  06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989          $0.90
             Disposition                                         procedures and provide comments to team regarding same (.2)
June 2019    Asset                  06/12/19 JR              140 create draft closing checklist for the fifth tranche with specific property information,                2.6 0.3714286         $52.00
             Disposition                                         inclusive of all single family properties (2.6)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2019    Asset                  06/12/19 MR              390 Conferences regarding credit bid issues with counsel for lender and Receiver (1.0)                     1.0 0.0526316         $20.53
             Disposition
June 2019    Asset                  06/12/19 MR              390 further work and analysis on redrafted credit bid procedures and follow up on same (.9).               0.9 0.0473684         $18.47
             Disposition
June 2019    Asset                  06/13/19 JR              140 exchange communication with property manager, K. Prichard, K. Duff and E. Duff regarding               0.5 0.0185185          $2.59
             Disposition                                         requested due diligence documents for the second and third tranches and regarding status
                                                                 of online water payments (.5)
June 2019    Asset                  06/14/19 MR              390 Work on credit bid procedures and exchange emails and drafts (1.2)                                     1.2 0.0631579         $24.63
             Disposition
June 2019    Asset                  06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                          0.9 0.0103448          $4.03
             Disposition
June 2019    Asset                  06/17/19 MR              390 and confer with K. Duff regarding same (.4).                                                           0.4 0.0210526          $8.21
             Disposition
June 2019    Asset                  06/17/19 MR              390 Attention to issues on credit bids and review and revise same (1.0)                                    1.0 0.0526316         $20.53
             Disposition
June 2019    Asset                  06/17/19 MR              390 conferences with counsel for lender (.3)                                                               0.3 0.0157895          $6.16
             Disposition
June 2019    Asset                  06/17/19 NM              260 correspond with M. Rachlis regarding substance of same and other lenders' objections in                0.2 0.0057143          $1.49
             Disposition                                         advance of hearing on same (.2)
June 2019    Asset                  06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                      0.2 0.0023256          $0.60
             Disposition
June 2019    Asset                  06/18/19 JR              140 update checklists for fifth tranche (.9)                                                               0.9 0.1285714         $18.00
             Disposition
June 2019    Asset                  06/18/19 JR              140 reviewed legal descriptions for same (1.4)                                                             1.4          0.2      $28.00
             Disposition
June 2019    Asset                  06/18/19 JR              140 added legal description to all the checklists in preparation for the closing (.9).                     0.9 0.1285714         $18.00
             Disposition
June 2019    Asset                  06/18/19 JR              140 drafted closing documents for same in preparation of the closing (1.7)                                 1.7 0.2428571         $34.00
             Disposition
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                        1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for              0.1 0.0009346          $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)          0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with A. Porter regarding the fifth motion (.2)                                 0.2 0.0222222          $3.11
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                   0.3       0.003        $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                           2.6       0.026        $3.64
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect               0.9 0.0083333          $1.17
             Disposition                                         the receiver's information (.9)


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                  0.1       0.001        $0.14
             Disposition
June 2019    Asset                  06/27/19 JR              140 Confirm Cook County Treasurer's site for updated addresses to the tax bill for properties in          0.7 0.0466667          $6.53
             Disposition                                         the third tranche to reflect the receiver's address (.7);
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other             1.8 0.0166667          $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Asset                  06/28/19 KMP             140 work with J. Rak to facilitate same (.4)                                                              0.4 0.0333333          $4.67
             Disposition
June 2019    Asset                  06/28/19 KMP             140 conferences with M. Rachlis regarding same (.1).                                                      0.1 0.0083333          $1.17
             Disposition
June 2019    Asset                  06/28/19 KMP             140 Review and analysis of lender's proposed amendment to bid procedures (.6)                             0.6         0.05       $7.00
             Disposition
June 2019    Business               06/03/19 ED              390 preparation for same (2.2)                                                                            2.2 0.0594595         $23.19
             Operations
June 2019    Business               06/03/19 ED              390 Meeting with property manager and asset manager regarding property cash management                    1.8 0.0486486         $18.97
             Operations                                          and property reserves and funding for future property expenses (1.8)

June 2019    Business               06/03/19 ED              390 and prepare and send email to meeting participants to follow up on open items and next                0.8 0.0216216          $8.43
             Operations                                          steps (.8)
June 2019    Business               06/03/19 ED              390 call with K. Duff to discuss results of meeting with property manager (.3)                            0.3 0.0081081          $3.16
             Operations
June 2019    Business               06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494          $0.45
             Operations
June 2019    Business               06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862          $7.17
             Operations                                          and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                 same (2.4)
June 2019    Business               06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471          $2.24
             Operations
June 2019    Business               06/04/19 NM              260 correspond with E. Duff regarding correspondence to lender regarding various                          0.3 0.0428571         $11.14
             Operations                                          communications (.3)
June 2019    Business               06/05/19 MR              390 Review and follow up on motions on objections to extend time.                                         0.4 0.0210526          $8.21
             Operations
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001        $0.39
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004        $1.56
             Operations
June 2019    Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027       $10.53
             Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/09/19 MR              390 Attention to emails from Court regarding objections and filings.                                      0.2 0.0105263          $4.11
             Operations
June 2019    Business               06/10/19 ED              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483          $1.34
             Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
June 2019    Business               06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                       4.7    0.054023      $21.07
             Operations                                      regarding allocation of funds (4.7)
June 2019    Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)          0.2       0.002       $0.78
             Operations
June 2019    Business               06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds            0.6 0.0068966         $1.79
             Operations                                      and payment of expenses from same and from Receiver's account (.6).
June 2019    Business               06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                     0.9 0.0103448         $4.03
             Operations
June 2019    Business               06/13/19 ED          390 review information from property manager regarding application of funds from Receivership           1.0 0.0114943         $4.48
             Operations                                      to property accounts (1.0)
June 2019    Business               06/13/19 ED          390 confer with M. Rachlis (.2)                                                                         0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                      0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)             0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by               0.2 0.0022989         $0.90
             Operations                                      property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business               06/14/19 MR          390 Attention to emails regarding issues on financial reporting.                                        0.3 0.0081081         $3.16
             Operations
June 2019    Business               06/15/19 MR          390 Work on draft reply brief relating to lender's objections to order.                                 2.7 0.1421053        $55.42
             Operations
June 2019    Business               06/16/19 MR          390 Attention to draft brief and further work regarding lender's objections to order.                   2.0 0.1052632        $41.05
             Operations
June 2019    Business               06/17/19 ED          390 Review reporting and related email correspondence from property manager regarding May               4.8 0.1297297        $50.59
             Operations                                      cash balances, outstanding utility payments, and other matters (4.8)

June 2019    Business               06/17/19 ED          390 and confer with K. Duff regarding same (.2)                                                         0.2 0.0054054         $2.11
             Operations
June 2019    Business               06/17/19 MR          390 Attention to upcoming hearing and prepare for same (2.0)                                            2.0 0.1052632        $41.05
             Operations
June 2019    Business               06/17/19 MR          390 attention to filings from lenders (1.5)                                                             1.5 0.0789474        $30.79
             Operations
June 2019    Business               06/17/19 MR          390 and conferences regarding same (.3).                                                                0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/17/19 MR          390 attention to accountant related issues (.1)                                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                 0.3 0.0034483         $1.34
             Operations                                      respond to letters received from lender (.3)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
             Operations
June 2019    Business               06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
             Operations
June 2019    Business               06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                      regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business               06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                      manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business               06/19/19 MR          390 Attention to order on hearing and related issues.                                                      0.3 0.0157895         $6.16
             Operations
June 2019    Business               06/19/19 NM          260 revise City litigation spreadsheet and prepare cases that are in court tomorrow (.3)                   0.3 0.0428571        $11.14
             Operations
June 2019    Business               06/20/19 ED          390 Email correspondence with property manager regarding funds for utility and tax payments                0.8 0.0216216         $8.43
             Operations                                      and funding of property accounts (.8)
June 2019    Business               06/20/19 ED          390 develop proposal for workflow regarding funding of accounts payable (.3)                               0.3 0.0081081         $3.16
             Operations
June 2019    Business               06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business               06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                      accounting reports (1.0)
June 2019    Business               06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/20/19 NM          260 correspond with K. Duff regarding same and regarding judgments entered on property (4520               0.2 0.0285714         $7.43
             Operations                                      S Drexel) in court today (.2)
June 2019    Business               06/20/19 NM          260 Appear for streets and sanitation court on fourteen properties and appear for buildings court          2.3      0.2875      $74.75
             Operations                                      on another property (6801 East End) (2.3)
June 2019    Business               06/20/19 NM          260 correspond with property managers regarding court today and payment of fines and revise                0.4 0.0571429        $14.86
             Operations                                      spreadsheet to reflect same (.4)
June 2019    Business               06/24/19 ED          390 Review financial reporting from property managers (1.8)                                                1.8 0.0486486        $18.97
             Operations
June 2019    Business               06/24/19 ED          390 confer with K. Pritchard regarding workflow for addressing property payables (.1)                      0.1 0.0027027         $1.05
             Operations
June 2019    Business               06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                      premiums relating to sold properties (.1)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
June 2019    Business               06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                               0.6 0.0068966          $2.69
             Operations
June 2019    Business               06/24/19 KMP         140 prepare email memorandum to E. Duff regarding identification of funds disbursed for various             0.2 0.0666667          $9.33
             Operations                                      properties from Receivership Estate for purposes of accounting for same (.2).

June 2019    Business               06/25/19 ED          390 and email to K. Pritchard to arrange funds (.1).                                                        0.1       0.025        $9.75
             Operations
June 2019    Business               06/25/19 ED          390 to follow up on workflow for processing utility bills and other accounts receivable, and email          0.4 0.0108108          $4.22
             Operations                                      correspondence with K. Pritchard, K. Duff and accountant regarding same (.4)

June 2019    Business               06/25/19 ED          390 call with accountant (.2)                                                                               0.2 0.0054054          $2.11
             Operations
June 2019    Business               06/25/19 ED          390 Email correspondence with property manager regarding system to address funding of                       0.2 0.0054054          $2.11
             Operations                                      accounts payable (.2)
June 2019    Business               06/25/19 ED          390 confer with K. Duff and K. Pritchard regarding same (.2)                                                0.2 0.0054054          $2.11
             Operations
June 2019    Business               06/25/19 ED          390 K. Duff (.1) regarding lender insurance requests                                                        0.1          0.1      $39.00
             Operations
June 2019    Business               06/25/19 ED          390 prepare estimate for K. Duff of property expenses (.4)                                                  0.4 0.0108108          $4.22
             Operations
June 2019    Business               06/25/19 ED          390 email correspondence with property manager regarding past due utility bills (.2)                        0.2 0.0054054          $2.11
             Operations
June 2019    Business               06/25/19 ED          390 email correspondence with insurance broker (.2)                                                         0.2          0.2      $78.00
             Operations
June 2019    Business               06/25/19 ED          390 review of statements for funds due to property manager (.7)                                             0.7         0.05      $19.50
             Operations
June 2019    Business               06/25/19 KMP         140 Prepare wire request forms for transfers to property manager for utility bills (6001 & 5959             0.5       0.125       $17.50
             Operations                                      Sacramento, 7113 Calumet and 7760 Coles), and communications with K. Duff, E. Duff, and
                                                             bank representatives regarding same (.5)
June 2019    Business               06/25/19 KMP         140 attention to exchange of emails with property manager regarding same (.1)                               0.1       0.025        $3.50
             Operations
June 2019    Business               06/25/19 KMP         140 conference with E. Duff regarding means of managing utility bills for various properties, and           0.2 0.0051282          $0.72
             Operations                                      review communication to accountant regarding method for accomplishing same (.2).

June 2019    Business               06/26/19 ED          390 review email correspondence from property manager regarding overdue utility bills and                   0.2         0.05      $19.50
             Operations                                      confer with K. Duff regarding same (.2)
June 2019    Business               06/26/19 ED          390 email correspondence with accountant regarding process for organizing funding for property              0.2 0.0022989          $0.90
             Operations                                      accounts receivables (.2).
June 2019    Business               06/26/19 KMP         140 attention to communication with accountant and E. Duff regarding preparation and                        0.1 0.0025641          $0.36
             Operations                                      maintenance of spreadsheet for managing utility bills for various properties (.1).

June 2019    Business               06/27/19 ED          390 continue analysis of property expenses (.8).                                                            0.8 0.0091954          $3.59
             Operations


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Business               06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Claims                 06/03/19 ED              390 Draft reply to lenders' counsel regarding multiple inquiries into multiple issues relating to          0.3 0.0428571        $16.71
             Administration                                      multiple properties.
             & Objections

June 2019    Claims                 06/04/19 ED              390 and confer with N. Mirjanich regarding same (.2)                                                       0.2 0.0285714        $11.14
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 Reply to email from lenders' counsel regarding inquiries relating to property status (.3)              0.3 0.0428571        $16.71
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                      reporting (.6)
             & Objections

June 2019    Claims                 06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                 06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                      and priorities relating to lenders claims (1.2)
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/07/19 ED          390 correspondence with property manager regarding property accounts and allocation of                   0.3 0.0034483         $1.34
             Administration                                  Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                 06/07/19 ED          390 email correspondence lender's counsel regarding March accounting reports (.1).                       0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                 06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance          0.2 0.0022989         $0.90
             Administration                                  and questions relating to Receiver's accounting reports.
             & Objections

June 2019    Claims                 06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                0.3 0.0034483         $1.34
             Administration                                  ended April 2019 (.3)
             & Objections

June 2019    Claims                 06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                               0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/13/19 ED          390 draft email to property manager regarding property bank accounts (.2).                               0.2 0.0054054         $2.11
             Administration
             & Objections

June 2019    Claims                 06/14/19 ED          390 prepare draft responses to same (1.2).                                                               1.2 0.1333333        $52.00
             Administration
             & Objections

June 2019    Claims                 06/14/19 ED          390 Review reporting information relating to queries from lender's counsel (.7)                          0.7 0.0777778        $30.33
             Administration
             & Objections

June 2019    Claims                 06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April            0.2 0.0022989         $0.90
             Administration                                  accounting reports to lenders (.2).
             & Objections

June 2019    Claims                 06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                         0.6 0.0067416         $2.63
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Claims                 06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                  email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                 06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections

June 2019    Claims                 06/21/19 MR          390 Review communication with lender (.2)                                                                  0.2 0.0105263         $4.11
             Administration
             & Objections

June 2019    Claims                 06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                            0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                 06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                      0.8 0.0089888         $2.34
             Administration                                  questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                 06/25/19 MR          390 prepare for (1.2)                                                                                      1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 Attention to claims related issues (.7)                                                                0.7 0.0078652         $3.07
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Claims                 06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                        0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                         0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining          0.2       0.002       $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/09/19 KBD         390 Study order from Judge Kim (.2)                                                                      0.2 0.0105263         $4.11
             Disposition
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same              0.2       0.002       $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/10/19 KBD         390 Attention to due diligence materials from property manager from upcoming property sales              0.2 0.0074074         $2.89
             Disposition                                     (.2)
July 2019    Asset                  07/10/19 KBD         390 telephone conference with property manager regarding same (.1)                                       0.1 0.0037037         $1.44
             Disposition
July 2019    Asset                  07/12/19 KBD         390 Review correspondence from potential purchaser and exchange correspondence with real                 0.2 0.0074074         $2.89
             Disposition                                     estate broker regarding same (.2)
July 2019    Asset                  07/16/19 KBD         390 Telephone conference with real estate broker regarding preparation to list properties and            0.1 0.0111111         $4.33
             Disposition                                     bid procedures (.1)
July 2019    Asset                  07/17/19 KBD         390 review correspondence and draft publication notice regarding sale of property (.1).                  0.1 0.0058824         $2.29
             Disposition
July 2019    Asset                  07/17/19 KBD         390 Conference with real estate broker regarding planning for sale of next group of properties           1.5 0.0789474        $30.79
             Disposition                                     and issues with purchaser (1.5)
July 2019    Asset                  07/18/19 KBD         390 attention to notice of real estate sale publication (.2).                                            0.2 0.0074074         $2.89
             Disposition
July 2019    Asset                  07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                             0.3 0.0034483         $1.34
             Disposition
July 2019    Asset                  07/22/19 KBD         390 Telephone conference with real estate broker regarding projected gross sales and                     0.1 0.0076923         $3.00
             Disposition                                     communications with lenders' representatives regarding properties listed for sale (.1)

July 2019    Asset                  07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs             0.1 0.0011494         $0.45
             Disposition                                     (.1).
July 2019    Asset                  07/25/19 KBD         390 Telephone conference with real estate broker regarding status of properties under contract,          0.2 0.0074074         $2.89
             Disposition                                     showing of listed properties, and timing considerations (.2)
July 2019    Asset                  07/30/19 KBD         390 telephone conference with representative for potential buyers regarding communications               0.2 0.0074074         $2.89
             Disposition                                     with real estate broker (.2)
July 2019    Asset                  07/30/19 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                               0.2 0.0074074         $2.89
             Disposition
July 2019    Asset                  07/30/19 KBD         390 telephone conference with real estate broker regarding same (.1)                                     0.1 0.0037037         $1.44
             Disposition


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                   0.2       0.002       $0.78
             Disposition
July 2019    Business               07/01/19 KBD         390 study correspondence from N. Mirjanich regarding various City judgments (.2)                          0.2 0.0285714        $11.14
             Operations
July 2019    Business               07/01/19 KBD         390 study correspondence from E. Duff regarding procedures for property expense management                0.3 0.0081081         $3.16
             Operations                                      (.3).
July 2019    Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                           0.3 0.0029412         $1.15
             Operations
July 2019    Business               07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                   0.2 0.0032787         $1.28
             Operations
July 2019    Business               07/05/19 KBD         390 Exchange correspondence with property manager representative relating to real estate                  0.1 0.0027027         $1.05
             Operations                                      taxes.
July 2019    Business               07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding               0.5 0.0081967         $3.20
             Operations                                      previous discussions before the Court about priority and abandonment.

July 2019    Business               07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
             Operations
July 2019    Business               07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/12/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0108108         $4.22
             Operations
July 2019    Business               07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
             Operations                                      communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                      E. Duff (.2)
July 2019    Business               07/15/19 KBD         390 Exchange correspondence with property manager regarding property management costs (.1)                0.1 0.0027027         $1.05
             Operations
July 2019    Business               07/15/19 KBD         390 study other property manager financial reporting (.5).                                                0.5 0.0135135         $5.27
             Operations
July 2019    Business               07/15/19 KBD         390 work on property sale planning and publication of notice with N. Mirjanich (.1)                       0.1 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                      and priority of property sales (.1)
July 2019    Business               07/16/19 KBD         390 Study correspondence from property manager, accounting firm representative, and E. Duff               0.2 0.0054054         $2.11
             Operations                                      regarding property expense procedures.
July 2019    Business               07/17/19 KBD         390 Analysis of property manager financial reporting and property expenses with asset manager             0.6 0.0162162         $6.32
             Operations                                      and E. Duff (.6)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
July 2019    Business               07/22/19 KBD         390 Analysis of real estate tax issues (.6)                                                                0.6          0.2      $78.00
             Operations
July 2019    Business               07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)           0.8 0.0091954          $3.59
             Operations
July 2019    Business               07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                   0.2 0.0022989          $0.90
             Operations
July 2019    Business               07/23/19 KBD         390 Analysis of real estate taxes and exchange correspondence regarding same (.2)                          0.2         0.05      $19.50
             Operations
July 2019    Business               07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                        0.2 0.0022989          $0.90
             Operations
July 2019    Business               07/24/19 KBD         390 attention to payment of real estate taxes (.2)                                                         0.2 0.0333333         $13.00
             Operations
July 2019    Business               07/24/19 KBD         390 Analysis and planning with M. Rachlis regarding court order setting schedule for responses to          0.8 0.0228571          $8.91
             Operations                                      objections relating to real estate sales and credit bidding (.8)
July 2019    Business               07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                    0.2 0.0019608          $0.76
             Operations                                      payment for insurance (.2)
July 2019    Business               07/26/19 KBD         390 study potential unit turns and remodel estimates and exchange correspondence with asset                0.4 0.0307692         $12.00
             Operations                                      manager regarding same (.4)
July 2019    Business               07/27/19 KBD         390 Study correspondence from asset manager regarding potential unit turns and capital                     0.2 0.0153846          $6.00
             Operations                                      improvements (.2)
July 2019    Business               07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                   0.3       0.003        $1.17
             Operations
July 2019    Business               07/29/19 KBD         390 Study information from property manager, asset manager, and J. Rak regarding payment of                0.5 0.0384615         $15.00
             Operations                                      real estate taxes, potential unit turns, and property repairs (.5)
July 2019    Business               07/29/19 KBD         390 telephone conference with asset manager regarding same (.1)                                            0.1 0.0076923          $3.00
             Operations
July 2019    Claims                 07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)                1.9 0.0218391          $8.52
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                   0.3 0.0034483          $1.34
             Administration                                  regarding same (.3).
             & Objections

July 2019    Claims                 07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                            1.0 0.0163934          $6.39
             Administration
             & Objections

July 2019    Claims                 07/22/19 KBD         390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                    0.2 0.0022989          $0.90
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19           1.6 0.0179775          $7.01
             Disposition                                         order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019    Asset                  07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                      1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614          $1.94
             Disposition
July 2019    Asset                  07/01/19 JR              140 Draft closing checklists for the third tranche including gathering necessary information such          2.4         0.16      $22.40
             Disposition                                         as legal description and other relevant information for closing documents in preparation for
                                                                 the closing (2.4)
July 2019    Asset                  07/01/19 MR              390 participate in meeting with K. Duff and A. Porter regarding same (1.3)                                 1.3 0.0684211         $26.68
             Disposition
July 2019    Asset                  07/01/19 MR              390 Work in preparation for upcoming hearing before Judge Kim (4.7)                                        4.7 0.2473684         $96.47
             Disposition
July 2019    Asset                  07/01/19 MR              390 attention to other lender related emails (.2).                                                         0.2 0.0105263          $4.11
             Disposition
July 2019    Asset                  07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                      1.1 0.0123596          $4.82
             Disposition
July 2019    Asset                  07/02/19 MR              390 Further preparation for and attend hearing before Judge Kim (2.5)                                      2.5 0.1315789         $51.32
             Disposition
July 2019    Asset                  07/02/19 MR              390 research record and follow up on various issues and court's requests for information from              2.0 0.1052632         $41.05
             Disposition                                         transcripts (2.0).
July 2019    Asset                  07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                      0.5    0.005618        $2.19
             Disposition
July 2019    Asset                  07/03/19 MR              390 Attention to issues regarding filings, review of transcripts and correspondence following up           0.6 0.0315789         $12.32
             Disposition                                         on hearing.
July 2019    Asset                  07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                            1.3 0.0146067          $5.70
             Disposition
July 2019    Asset                  07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts              1.2 0.0136364          $5.32
             Disposition                                         regarding same.
July 2019    Asset                  07/07/19 MR              390 Further work on submission regarding July 2nd hearing.                                                 0.8 0.0421053         $16.42
             Disposition
July 2019    Asset                  07/09/19 MR              390 Review order from Judge Kim on sales issues.                                                           0.3 0.0157895          $6.16
             Disposition
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                      1.9       0.019        $2.66
             Disposition
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                               1.8       0.018        $2.52
             Disposition




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2019    Asset                  07/12/19 NM              260 Correspond with J. Rak regarding code violations on second and third tranches of property             0.6 0.0272727          $7.09
             Disposition                                         sales and due diligence materials for the same.
July 2019    Asset                  07/15/19 JR              140 update and send real estate tax balances to E. Duff and K. Duff (.8).                                 0.8 0.0216216          $3.03
             Disposition
July 2019    Asset                  07/15/19 MR              390 conferences regarding sales (.2)                                                                      0.2 0.0105263          $4.11
             Disposition
July 2019    Asset                  07/15/19 NM              260 Correspond with broker, K. Duff, and J. Rak regarding listing of third property tranche.              0.2 0.0133333          $3.47
             Disposition
July 2019    Asset                  07/16/19 MR              390 conferences with K. Duff regarding sales issues (.3).                                                 0.3         0.06      $23.40
             Disposition
July 2019    Asset                  07/16/19 NM              260 Exchange correspondence with A. Porter regarding violations on properties in the second               0.3 0.0176471          $4.59
             Disposition                                         and third tranche of sales and study documents to reflect the same.
July 2019    Asset                  07/17/19 KMP             140 Conference with N. Mirjanich regarding placement of legal ad for public sale of properties            0.1 0.0058824          $0.82
             Disposition                                         and requirement for immediate payment to ensure publication dates.
July 2019    Asset                  07/17/19 MR              390 attention to other sales issues, moving forward on marketing, and related matters as part of          1.5 0.0789474         $30.79
             Disposition                                         meeting with K. Duff, A. Porter, and asset manager (1.5).
July 2019    Asset                  07/17/19 NM              260 Exchange correspondence with K. Duff, brokers, newspaper, J. Rak regarding notice for third           0.8 0.0470588         $12.24
             Disposition                                         tranche of properties and draft same and send same to newspaper for publication.

July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title               0.2 0.0020408          $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers           0.1 0.0009804          $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/18/19 NM              260 Exchange correspondence relating to publication notice for third tranche of properties.               0.2 0.0133333          $3.47
             Disposition
July 2019    Asset                  07/22/19 MR              390 Attention to sales of property.                                                                       0.3 0.0157895          $6.16
             Disposition
July 2019    Asset                  07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to               0.2 0.0022989          $0.90
             Disposition                                         institutional lenders (.2).
July 2019    Asset                  07/23/19 MR              390 attention to credit bid issues (.3).                                                                  0.3 0.0157895          $6.16
             Disposition
July 2019    Asset                  07/24/19 MR              390 Preparation for upcoming hearing (2.2)                                                                2.2 0.1157895         $45.16
             Disposition
July 2019    Asset                  07/25/19 JR              140 review real estate tax payments by property managers and exchange correspondence with E.              0.7         0.35      $49.00
             Disposition                                         Duff relating to same (.7)
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet             0.2       0.002        $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                 0.9 0.0088235          $3.44
             Disposition
July 2019    Asset                  07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties          1.3 0.0146067          $5.70
             Disposition                                         potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Asset                  07/30/19 AEP         390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and           1.4 0.0137255         $5.35
             Disposition                                     title underwriter explaining timetable associated with preparation of form purchase and sale
                                                             agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                             approve sales, and other closing-related documentation in connection with all remaining
                                                             tranches (1.4)
July 2019    Business               07/01/19 ED          390 and confer with K. Duff regarding same (.1)                                                           0.1 0.0066667         $2.60
             Operations
July 2019    Business               07/01/19 ED          390 Email correspondence with insurance broker regarding updated list of insured properties (.1)          0.1 0.0142857         $5.57
             Operations
July 2019    Business               07/01/19 ED          390 email correspondence with asset manager regarding further development of cash flow                    0.7 0.0466667        $18.20
             Operations                                      analysis for properties (.7)
July 2019    Business               07/01/19 ED          390 draft and send email correspondence to property manager regarding process for funding                 0.8 0.0533333        $20.80
             Operations                                      utility bill payments (.8)
July 2019    Business               07/10/19 ED          390 Email correspondence with accountant regarding status of project relating to property                 0.1 0.0027027         $1.05
             Operations                                      payables.
July 2019    Business               07/11/19 ED          390 Email correspondence to property manager to follow up on procedures for funding of utility            0.1 0.0066667         $2.60
             Operations                                      costs.
July 2019    Business               07/12/19 ED          390 Call with K Duff to discuss payment of real estate tax installments, property financial               0.2 0.0019608         $0.76
             Operations                                      reporting information, discussions with asset manager regarding cash flow and property
                                                             costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/12/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes               0.2 0.0019608         $0.76
             Operations                                      coming due (.2)
July 2019    Business               07/14/19 ED          390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/14/19 ED          390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843         $4.21
             Operations
July 2019    Business               07/14/19 ED          390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 ED          390 review statements and other documents regarding payables to property managers (.2)                    0.2 0.0054054         $2.11
             Operations
July 2019    Business               07/15/19 ED          390 email to asset manager regarding same (.1)                                                            0.1 0.0027027         $1.05
             Operations
July 2019    Business               07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/16/19 ED          390 Email correspondence with property manager and accountant regarding review of operating               0.2 0.0054054         $2.11
             Operations                                      expenses.
July 2019    Business               07/17/19 ED          390 review property manager information regarding utility bills due (.5)                                  0.5 0.0135135         $5.27
             Operations
July 2019    Business               07/17/19 ED          390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                    0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/17/19 ED          390 email to lenders' counsel regarding payment of real estate taxes (.1)                                 0.1 0.0090909         $3.55
             Operations


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
July 2019    Business               07/18/19 AW              140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236          $0.16
             Operations
July 2019    Business               07/18/19 ED              390 confer with J. Rak to request preparation of spreadsheet for analysis of remaining real estate           0.1 0.0030303          $1.18
             Operations                                          taxes due (.1)
July 2019    Business               07/18/19 ED              390 and review and revision of same (.4).                                                                    0.4 0.0121212          $4.73
             Operations
July 2019    Business               07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804          $0.14
             Operations
July 2019    Business               07/19/19 JR              140 update same and send to E. Duff (1.9).                                                                   1.9 0.0575758          $8.06
             Operations
July 2019    Business               07/19/19 JR              140 Review email from E. Duff pertaining to lender spreadsheet and the request to update                     0.2 0.0060606          $0.85
             Operations                                          current real estate tax balances (.2)
July 2019    Business               07/22/19 ED              390 email correspondence to property manager regarding property balances and reserves (.2).                  0.2          0.1      $39.00
             Operations
July 2019    Business               07/22/19 ED              390 confer with K. Duff regarding the foregoing (.6)                                                         0.6         0.04      $15.60
             Operations
July 2019    Business               07/22/19 ED              390 Review and analysis of documentation regarding remaining balances of property taxes,                     0.8 0.0533333         $20.80
             Operations                                          operating funds available at related properties, and necessary operating reserves (.8)

July 2019    Business               07/22/19 NM              260 study objections filed by lenders to Court's July 7, 2019 Order (.1)                                     0.1 0.0028571          $0.74
             Operations
July 2019    Business               07/23/19 ED              390 review correspondence and notes regarding remaining properties with unpaid real estate                   0.3       0.075       $29.25
             Operations                                          taxes (.3)
July 2019    Business               07/23/19 MR              390 Attention to various issues raised by lenders.                                                           0.2 0.0153846          $6.00
             Operations
July 2019    Business               07/24/19 ED              390 confer with K. Duff regarding same (.1).                                                                 0.1 0.0111111          $4.33
             Operations
July 2019    Business               07/24/19 ED              390 Email correspondence with property manager regarding funds available for payment of                      0.2 0.0222222          $8.67
             Operations                                          property taxes (.2)
July 2019    Business               07/25/19 ED              390 email property manager regarding same (.2)                                                               0.2 0.0222222          $8.67
             Operations
July 2019    Business               07/25/19 ED              390 confer with J. Rak regarding updates to information about real estate taxes paid (.3)                    0.3 0.0333333         $13.00
             Operations
July 2019    Business               07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002        $0.78
             Operations
July 2019    Business               07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216          $0.55
             Operations                                          and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/25/19 MR              390 attention to property tax issues (.1)                                                                    0.1       0.025        $9.75
             Operations
July 2019    Business               07/31/19 ED              390 Review outstanding June statements from property manager (.4)                                            0.4 0.0108108          $4.22
             Operations




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2019    Business               07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                  0.3 0.0029412         $1.15
             Operations
July 2019    Business               07/31/19 ED          390 confer with K. Duff (.2)                                                                               0.2 0.0054054         $2.11
             Operations
July 2019    Business               07/31/19 ED          390 and email correspondence with property manager regarding same (.8)                                     0.8 0.0216216         $8.43
             Operations
July 2019    Claims                 07/01/19 ED          390 email to accountant regarding same (.4).                                                               0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership                      1.4    0.016092       $6.28
             Administration                                  expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                 07/01/19 KMP         140 conference with E. Duff regarding preparation of June reporting and details regarding various          0.2 0.0333333         $4.67
             Administration                                  disbursements (.2).
             & Objections

July 2019    Claims                 07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                                      0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/10/19 ED          390 email correspondence with accountants (.6)                                                             0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                 07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting                 0.2 0.0022989         $0.90
             Administration                                  reports to lenders.
             & Objections

July 2019    Claims                 07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                              0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                             0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                        1.1      0.0125       $4.88
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
July 2019    Claims                 07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                            0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and email correspondence confirming next steps (.3)                                                0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments                  0.2 0.0022989         $0.90
             Administration                                  attributable to properties (.2)
             & Objections

July 2019    Claims                 07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                       1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/14/19 ED          390 email accountant regarding same (.2)                                                               0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/14/19 ED          390 email correspondence to lenders' counsel regarding second installment of 2018 real estate          0.3 0.0272727        $10.64
             Administration                                  taxes (.3).
             & Objections

July 2019    Claims                 07/15/19 ED          390 email correspondence with property manager regarding financial reporting to lenders (.5).          0.5 0.0135135         $5.27
             Administration
             & Objections

July 2019    Claims                 07/15/19 ED          390 email correspondence with lender's counsel and property manager in reply to multiple               0.6 0.0162162         $6.32
             Administration                                  questions relating to property reporting (.6)
             & Objections

July 2019    Claims                 07/15/19 ED          390 Further review of draft accounting reports (.5)                                                    0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                           4.2 0.0482759        $18.83
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                  to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                 07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
             Administration                                  preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                 07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                  information and instructions for same (.3)
             & Objections

July 2019    Claims                 07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                  (.8)
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/19/19 ED          390 Email correspondence with A. Watychowicz regarding preparation of May accounting                    0.1 0.0011494         $0.45
             Administration                                  reports to lenders (.1)
             & Objections

July 2019    Claims                 07/22/19 ED          390 and confer with K. Duff regarding same (1.1)                                                        1.1 0.0126437         $4.93
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
July 2019    Claims                 07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                           0.2 0.0022989          $0.90
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of                  0.5 0.0057471          $2.24
             Administration                                      real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                 07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                    2.0 0.0229885          $8.97
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483          $1.34
             Administration
             & Objections

July 2019    Claims                 07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471          $0.63
             Administration
             & Objections

July 2019    Claims                 07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414          $1.90
             Administration                                      reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                 07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236          $0.44
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 Reply to email correspondence from lender's counsel regarding payment of real estate taxes               0.6         0.15      $58.50
             Administration                                      (.6)
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448          $4.03
             Administration                                      accounting reports (.9)
             & Objections

July 2019    Claims                 07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954          $3.59
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
July 2019    Claims                 07/25/19 ED          390 email property manager regarding additional reporting requested by lender's counsel (.1).                 0.1       0.025        $9.75
             Administration
             & Objections

July 2019    Claims                 07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                          0.4 0.0045977          $1.79
             Administration                                  accounting reports to lenders (.4)
             & Objections

July 2019    Claims                 07/30/19 ED          390 Email correspondence with property manager regarding lender reporting requested by                        0.1       0.025        $9.75
             Administration                                  lender's counsel (.1)
             & Objections

July 2019    Claims                 07/30/19 ED          390 and send reply to lender's counsel regarding financial reporting (.1)                                     0.1       0.025        $9.75
             Administration
             & Objections

July 2019    Claims                 07/30/19 ED          390 email correspondence with lender's counsel regarding monthly financial reporting (.1).                    0.1       0.025        $9.75
             Administration
             & Objections

August 2019 Asset                   08/09/19 KBD         390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                 0.2 0.0022989          $0.90
            Disposition
August 2019 Asset                   08/12/19 KBD         390 Telephone conference with real estate broker regarding preparation for offers on third group              0.2 0.0074074          $2.89
            Disposition                                      of properties (.2)
August 2019 Asset                   08/12/19 KBD         390 telephone conference with real estate broker and A. Porter regarding lender                               0.1 0.0011494          $0.45
            Disposition                                      communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                   08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                        0.3       0.003        $1.17
            Disposition                                      marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD         390 conference with real estate broker, A. Porter, and J. Rak regarding offers for third group of 17          2.7         0.18      $70.20
            Disposition                                      properties (2.7)
August 2019 Asset                   08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                        1.5 0.0172414          $6.72
            Disposition                                      credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                             (1.5).
August 2019 Asset                   08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                      0.3 0.0034483          $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD         390 Exchange correspondence regarding disclosure of closing costs (.4)                                        0.4 0.0444444         $17.33
            Disposition
August 2019 Asset                   08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                             0.5 0.0057471          $2.24
            Disposition
August 2019 Asset                   08/19/19 KBD         390 Study information regarding offers on and marketing for properties for sale.                              0.5 0.0294118         $11.47
            Disposition


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Asset                   08/20/19 KBD         390 and with A. Porter regarding same (.2).                                                            0.2 0.0083333         $3.25
            Disposition
August 2019 Asset                   08/20/19 KBD         390 Exchange correspondence with A. Porter regarding estimated closing costs (.2)                      0.2 0.0083333         $3.25
            Disposition
August 2019 Asset                   08/20/19 KBD         390 telephone conference with real estate broker regarding estimated costs (.1)                        0.1 0.0041667         $1.63
            Disposition
August 2019 Asset                   08/21/19 KBD         390 Exchange correspondence with lenders' counsel regarding estimated closing costs and                0.4 0.0235294         $9.18
            Disposition                                      timing.
August 2019 Asset                   08/23/19 KBD         390 revise estimated closing costs (.5)                                                                0.5 0.0555556        $21.67
            Disposition
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing          0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Business                08/03/19 KBD         390 Exchange correspondence with A. Porter regarding property management accounts.                     0.2 0.0054054         $2.11
            Operations
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/07/19 KBD         390 Telephone conference with accounting firm representative regarding property manager                0.2 0.0054054         $2.11
            Operations                                       accounting financial reporting (.2)
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                      0.1       0.001       $0.39
            Operations
August 2019 Business                08/19/19 KBD         390 Study property manager financial reports.                                                          0.4 0.0108108         $4.22
            Operations
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/23/19 KBD         390 Evaluation of property management cost issues and exchange correspondence with E. Duff             0.4 0.0108108         $4.22
            Operations                                       regarding same.
August 2019 Business                08/27/19 KBD         390 exchange correspondence with E. Duff regarding property management accounting (.4).                0.4 0.0108108         $4.22
            Operations
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                    0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.           0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                  0.5       0.005       $1.95
            Operations
August 2019 Business                08/30/19 KBD         390 follow up call with E. Duff (.2)                                                                   0.2 0.0054054         $2.11
            Operations
August 2019 Business                08/30/19 KBD         390 telephone conference with property manager and E. Duff regarding property management               0.9 0.0243243         $9.49
            Operations                                       and accounting issues (.9)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/09/19 KBD         390 study draft response to lender objections (.4).                                                    0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                 0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                   procedures.
            & Objections

August 2019 Claims                  08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                        0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                             0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 study lender motion for extension and draft responses to same (1.3)                                1.3       0.325     $126.75
            Administration
            & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and              1.5 0.0172414          $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions               4.3 0.0494253         $19.28
            Administration                                   (4.3)
            & Objections

August 2019 Claims                  08/21/19 KBD         390 telephone conferences and exchange correspondence with A. Porter regarding preparation                0.3     0.01875        $7.31
            Administration                                   of estimated closing costs (.3)
            & Objections

August 2019 Claims                  08/21/19 KBD         390 analysis of lender motion on credit bidding and draft correspondence to M. Rachlis regarding          0.9 0.0257143         $10.03
            Administration                                   same (.9).
            & Objections

August 2019 Claims                  08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                         2.4 0.0269663         $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with M. Rachlis regarding closing costs issue (.6)                            0.6      0.0375       $14.63
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing               0.2 0.0022989          $0.90
            Administration                                   issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                            0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                  08/27/19 KBD         390 exchange correspondence with A. Porter and E. Duff regarding communication with lender's              0.2          0.2      $78.00
            Administration                                   counsel regarding closing cost estimates (.2).
            & Objections

August 2019 Claims                  08/28/19 KBD         390 Study lenders' reply relating to objections.                                                          0.3    0.004918        $1.92
            Administration
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit                   0.2 0.0022989          $0.90
            Administration                                       bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                            0.2 0.0022989          $0.90
            Administration
            & Objections

August 2019 Claims                  08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                            0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Asset                   08/04/19 MR              390 Review and research for response brief related to property sales and credit bid issues.                   4.0 0.2105263         $82.11
            Disposition
August 2019 Asset                   08/07/19 AEP             390 prepare purchase and sale agreements for all 18 properties in third series (5.5)                          5.5 0.3666667        $143.00
            Disposition
August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title                  0.5    0.005102        $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/07/19 JR              140 update real estate tax spreadsheet with accrued August interest for properties in the third               0.7 0.0466667          $6.53
            Disposition                                          tranche (.7).
August 2019 Asset                   08/09/19 AEP             390 Finalize purchase and sale contracts for all 17 properties in third series by customizing and             4.5          0.3     $117.00
            Disposition                                          inserting all riders and exhibits (4.5)
August 2019 Asset                   08/09/19 NM              260 Correspond with J. Rak and City attorney regarding due diligence code violation documents                 0.2 0.0133333          $3.47
            Disposition                                          for the third tranche of properties to sell.
August 2019 Asset                   08/10/19 AEP             390 Communications with K. Duff regarding publication notice (.2)                                             0.2 0.0117647          $4.59
            Disposition
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                              0.2       0.002        $0.28
            Disposition
August 2019 Asset                   08/14/19 AEP             390 begin preparation of spreadsheet estimating closing costs to be incurred at closing by credit             0.4 0.0307692         $12.00
            Disposition                                          bidding lenders (.4)
August 2019 Asset                   08/14/19 AEP             390 teleconference with receivership broker regarding overview of bids received on third series               0.3         0.02       $7.80
            Disposition                                          of receivership properties (.3).
August 2019 Asset                   08/15/19 NM              260 Correspond with K. Duff, E. Duff, and A. Porter regarding the offers on the third tranche of              0.3         0.02       $5.20
            Disposition                                          properties and claims and credit bid issues on the same.
August 2019 Asset                   08/19/19 AW              140 Attention to email regarding time and expenses spent on any of the third tranche properties               0.2 0.0133333          $1.87
            Disposition                                          and follow up regarding same.
August 2019 Asset                   08/20/19 AEP             390 prepare e-mails to property managers requesting water bill delinquencies and estimated                    0.1 0.0058824          $2.29
            Disposition                                          invoices for purpose of preparing closing cost estimates for secured lenders pursuant to
                                                                 judicial order (.1)
August 2019 Asset                   08/21/19 AEP             390 Review survey invoices, title invoices, real estate tax bills, restoration of rents figures, and          6.2 0.4133333        $161.20
            Disposition                                          water department invoices and create spreadsheets of closing cost estimates for all third
                                                                 series properties subject to credit bidding.


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                   Hours        Fees
August 2019 Asset                   08/21/19 MR              390 Attention to cost issues at closings.                                                             0.1 0.0058824         $2.29
            Disposition
August 2019 Asset                   08/23/19 AEP             390 Revise estimated closing cost statements for 16 properties in third series of sales and           2.3 0.1533333        $59.80
            Disposition                                          transmit same to all applicable institutional lenders under explanatory covering letter.

August 2019 Asset                   08/23/19 MR              390 Attention to emails regarding closing costs.                                                      0.3 0.0176471         $6.88
            Disposition
August 2019 Asset                   08/26/19 MR              390 Attention to and preparation for upcoming hearing (1.2)                                           1.2 0.0631579        $24.63
            Disposition
August 2019 Asset                   08/26/19 MR              390 conferences regarding real estate sales and status (.3)                                           0.3 0.0157895         $6.16
            Disposition
August 2019 Asset                   08/27/19 MR              390 Prepare for and attend hearing (1.3)                                                              1.3 0.0684211        $26.68
            Disposition
August 2019 Asset                   08/27/19 MR              390 attention to and conferences regarding sales process issues (1.0)                                 1.0 0.0526316        $20.53
            Disposition
August 2019 Asset                   08/29/19 JR              140 update EquityBuild spreadsheet with all EquityBuild property zip codes for closing                1.2 0.0324324         $4.54
            Disposition                                          documents (1.2)
August 2019 Asset                   08/29/19 JR              140 Update real estate property spreadsheet and email to K. Duff (1.1)                                1.1 0.0297297         $4.16
            Disposition
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for          0.2       0.002       $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                             1.3       0.013       $1.82
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                    0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                       0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).            0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to              0.1 0.0014085         $0.20
            Operations                                           payment of real estate taxes.
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance             0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                     0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/22/19 ED              390 review and analysis of July profit and loss statements from property manager (1.3)                1.3 0.0351351        $13.70
            Operations
August 2019 Business                08/22/19 ED              390 Review and analysis of July invoices from property manager and related information                1.1 0.0297297        $11.59
            Operations                                           regarding properties (1.1)
August 2019 Business                08/22/19 ED              390 email correspondence with asset manager (.3) regarding same.                                      0.3 0.0081081         $3.16
            Operations
August 2019 Business                08/22/19 ED              390 confer with K. Duff (.1)                                                                          0.1 0.0027027         $1.05
            Operations


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2019 Business                08/22/19 KMP         140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).              0.1 0.0009804         $0.14
            Operations
August 2019 Business                08/23/19 AEP         390 Teleconference with K. Duff regarding property management issues.                                    0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/25/19 ED          390 Review and analysis of management agreement.                                                         0.3 0.0081081         $3.16
            Operations
August 2019 Business                08/26/19 ED          390 and discuss with K. Duff (.5)                                                                        0.5 0.0135135         $5.27
            Operations
August 2019 Business                08/26/19 ED          390 prepare analysis regarding same (1.1)                                                                1.1 0.0297297        $11.59
            Operations
August 2019 Business                08/26/19 ED          390 Call with asset manager to discuss property expenses (.4)                                            0.4 0.0108108         $4.22
            Operations
August 2019 Business                08/26/19 ED          390 draft revision to policy for pre-approval for expenses (.6).                                         0.6 0.0162162         $6.32
            Operations
August 2019 Business                08/26/19 ED          390 call and email correspondence with accountant regarding review of backup for property                0.3 0.0081081         $3.16
            Operations                                       invoices (.3)
August 2019 Business                08/26/19 ED          390 email correspondence with property manager regarding same (.1)                                       0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/27/19 ED          390 Email correspondence with property manager to property expenses.                                     0.3 0.0081081         $3.16
            Operations
August 2019 Business                08/30/19 ED          390 and confer with K. Duff regarding same (.1).                                                         0.1 0.0027027         $1.05
            Operations
August 2019 Business                08/30/19 ED          390 Call with K. Duff and property manager to discuss property expenses and related issues (.9)          0.9 0.0243243         $9.49
            Operations
August 2019 Claims                  08/02/19 ED          390 begin review of drafts of June accounting reports to lenders (.8).                                   0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED          390 and draft and send email to lender's counsel regarding same (.2)                                     0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED          390 review and analysis of revised May accounting report and related correspondence and                  0.3 0.0034483         $1.34
            Administration                                   documents (.3)
            & Objections

August 2019 Claims                  08/03/19 ED          390 Further review of drafts of June accounting reports to lenders (.7)                                  0.7    0.008046       $3.14
            Administration
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                       accounting firm (.5).
            & Objections

August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                         0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                           0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/07/19 MR              390 Continue work on response brief associated with issues on sales and credit bids.                   2.7 0.1421053        $55.42
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                                0.2 0.0022989         $0.90
            Administration
            & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
August 2019 Claims                  08/08/19 ED          390 call with accountant regarding same (.1)                                                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/09/19 MR          390 Work on brief responding to credit bid related issues (3.5)                                       3.5 0.1842105        $71.84
            Administration
            & Objections

August 2019 Claims                  08/09/19 MR          390 follow up on questions regarding credit bid procedures (.3).                                      0.3 0.0157895         $6.16
            Administration
            & Objections

August 2019 Claims                  08/12/19 MR          390 attention to issues regarding lenders' brief (.3).                                                0.3 0.0157895         $6.16
            Administration
            & Objections

August 2019 Claims                  08/13/19 AEP         390 Review e-mail from receivership broker regarding proposed announcements to lenders                0.1 0.0058824         $2.29
            Administration                                   seeking to submit credit bids.
            & Objections

August 2019 Claims                  08/13/19 NM          260 study respond to lender objections on credit bid procedures orders, revise the same, and          0.3    0.004918       $1.28
            Administration                                   correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                  08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)              0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED          390 and email correspondence with accountant regarding comments (.6)                                  0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/14/19 MR          390 Review and follow up on brief in response to objections to July 9 order (1.0)                     1.0 0.0526316        $20.53
            Administration
            & Objections

August 2019 Claims                  08/14/19 MR          390 further communications regarding same (.2).                                                       0.2 0.0105263         $4.11
            Administration
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
August 2019 Claims                  08/14/19 NM              260 study response to lender objections on credit bid procedures orders for filing (.2).               0.2 0.0032787          $0.85
            Administration
            & Objections

August 2019 Claims                  08/15/19 AEP             390 Read chain of correspondence regarding credit bids.                                                0.3 0.0176471          $6.88
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED              390 confer with K. Duff regarding same (.2)                                                            0.2         0.05      $19.50
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED              390 call with lender's counsel regarding details about credit bidding (.1)                             0.1       0.025        $9.75
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED              390 review drafts of June accounting reports to lenders (3.2)                                          3.2 0.0367816         $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR              390 attention to credit bid issues and follow up regarding same (.8).                                  0.8 0.0091954          $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 AEP             390 read emergency motion filed by lender seeking extension of time to submit credit bid (.2)          0.2         0.05      $19.50
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED              390 Continue review of drafts of June accounting reports and review and analysis of related            2.7 0.0310345         $12.10
            Administration                                       documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 ED              390 email correspondence with accountant regarding review of June receivership expenditures            0.4 0.0045977          $1.79
            Administration                                       for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                  08/16/19 JR              140 Confer with N. Mirjanich regarding drafting a spreadsheet with a list of mortgagees and            0.3         0.02       $2.80
            Administration                                       other information found on the documents of record for properties in the third tranche.
            & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2019 Claims                  08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                              0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                  08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                             0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/16/19 NM          260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                    0.5 0.0061728         $1.60
            Administration                                   property with EBF debt (.5)
            & Objections

August 2019 Claims                  08/16/19 NM          260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                   same (.3).
            & Objections

August 2019 Claims                  08/17/19 MR          390 Review issues and draft responses to inquires on credit bid related issues from lenders and           2.0 0.1052632        $41.05
            Administration                                   follow up on same with K. Duff and others.
            & Objections

August 2019 Claims                  08/18/19 MR          390 Further review and edits and communications on credit bids and for upcoming hearing.                  0.5 0.0263158        $10.26
            Administration
            & Objections

August 2019 Claims                  08/19/19 AW          140 assist in preparation to presentment of emergency motion regarding credit bid (.3).                   0.3 0.0428571         $6.00
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 and review revised reports (3.9)                                                                      3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                                 2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                       0.6 0.0068966         $2.69
            Administration                                   content of reports (.6)
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
August 2019 Claims                  08/19/19 ED              390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).           1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage           7.3 0.0890244        $12.46
            Administration                                       of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections

August 2019 Claims                  08/19/19 MR              390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and               3.5 0.0402299        $15.69
            Administration                                       follow up regarding same (3.5)
            & Objections

August 2019 Claims                  08/19/19 MR              390 attention to order on credit bids and conferences regarding same (.3)                               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/19/19 NM              260 prepare K. Duff for hearing on emergency motion filed by lenders relating to credit bid             1.1       0.275      $71.50
            Administration                                       deadlines on third tranche of property sales (1.1).
            & Objections

August 2019 Claims                  08/21/19 AW              140 prepare reports for E. Duff and K. Duff. (1.1)                                                      1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                  08/21/19 AW              140 attention to email from E. Duff regarding accounting reports for institutional lenders and          0.1 0.0011236         $0.16
            Administration                                       follow up (.1)
            & Objections

August 2019 Claims                  08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all           7.8    0.095122      $13.32
            Administration                                       the properties.
            & Objections

August 2019 Claims                  08/21/19 MR              390 attention to filed motion by institutional lender and docket update and to motion for               0.2 0.0105263         $4.11
            Administration                                       expedited hearing regarding objections to orders and docket update (.2).
            & Objections

August 2019 Claims                  08/21/19 MR              390 attention to motion for Rule 72 appeal and expedited review and issues on same (.2)                 0.2 0.0057143         $2.23
            Administration
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/21/19 NM              260 study motion by lenders for expedited consideration of credit bid issues and K. Duff email             0.2 0.0057143         $1.49
            Administration                                       regarding the same (.2).
            & Objections

August 2019 Claims                  08/21/19 NM              260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                       study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                  08/22/19 ED              390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED              390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                       accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                  08/22/19 ED              390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the                   8.0    0.097561      $13.66
            Administration                                       recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                  08/23/19 SZ              110 Organized July, 2019 financial and delinquency reports for properties (7635 S. East, 7836 S.           1.5 0.1071429        $11.79
            Administration                                       Shore, 7625 E East, 7750 S. Muskegon, 7024 S Paxton, 4520 Drexel, 7110 S. Cornell, 4611
            & Objections                                         Drexel, 6217 S. Dorchester, 4533 S Calumet, SSDF5, 6250 S. Mozart, SSDF4, SSDF1, 7255 S.
                                                                 Euclid, 6751-57 S Merr., 7109-19 S. California, 7201 S. Constance) (1.5)

August 2019 Claims                  08/23/19 SZ              110 confer with E. Duff about the same (.4).                                                               0.4 0.0266667         $2.93
            Administration
            & Objections

August 2019 Claims                  08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                      5.3     0.06625       $9.28
            Administration
            & Objections

August 2019 Claims                  08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.                6.1 0.0753086        $10.54
            Administration
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
August 2019 Claims                  08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                                0.2 0.0024691          $0.64
            Administration
            & Objections

August 2019 Claims                  08/27/19 ED              390 Email correspondence with lender's counsel in response to query regarding estimated                 0.1          0.1      $39.00
            Administration                                       closing costs for credit bid (.1)
            & Objections

August 2019 Claims                  08/27/19 ED              390 and with K. Duff regarding same (.1).                                                               0.1          0.1      $39.00
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                      0.2 0.0024691          $0.35
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                            7.5 0.0925926         $12.96
            Administration
            & Objections

August 2019 Claims                  08/27/19 NM              260 create spreadsheet and review claims in connection with third tranche credit bid (.2).              0.2 0.0133333          $3.47
            Administration
            & Objections

August 2019 Claims                  08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                           0.4 0.0049383          $1.28
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 email correspondence with accountant (.6)                                                           0.6 0.0068966          $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 send July financial reporting information to accountant for preparation of July accounting          0.3 0.0034483          $1.34
            Administration                                       reports to lenders (.3)
            & Objections

August 2019 Claims                  08/28/19 ED              390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration             0.1 0.0011494          $0.45
            Administration                                       amounts
            & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
August 2019 Claims                  08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531          $2.77
            Administration
            & Objections

August 2019 Claims                  08/28/19 NM              260 Analyze claims for all properties in third tranche of property sales (1.8)                             1.8         0.12      $31.20
            Administration
            & Objections

August 2019 Claims                  08/29/19 ED              390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494          $0.45
            Administration
            & Objections

August 2019 Claims                  08/29/19 NM              260 Analyze claims in third tranche of property sales.                                                     4.2         0.28      $72.80
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM              260 Analyze claims in third tranche of property sales (2.7)                                                2.7         0.18      $46.80
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM              260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754          $2.98
            Administration                                       hearing attached as exhibit to the same (.7).
            & Objections

September    Asset                  09/04/19 KBD             390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356         $11.21
2019         Disposition                                         bidding, and hearing before Judge Lee (2.5).
September    Asset                  09/04/19 KBD             390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989          $0.90
2019         Disposition
September    Asset                  09/05/19 KBD             390 study correspondence from real estate broker regarding sale of various properties and                  0.2 0.0117647          $4.59
2019         Disposition                                         communications with lenders (.2).
September    Asset                  09/06/19 KBD             390 exchange various correspondence with M. Rachlis regarding same (.5).                                   0.5     0.03125       $12.19
2019         Disposition
September    Asset                  09/06/19 KBD             390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483          $1.34
2019         Disposition                                         regarding sales contracts and communications relating to credit bidding (.3)

September Asset                     09/09/19 KBD             390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984          $4.95
2019      Disposition                                            with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                                 marketing and property tour information.
September    Asset                  09/10/19 KBD             390 study correspondence from real estate broker regarding status of property sales and action             0.2 0.0666667         $26.00
2019         Disposition                                         items (639 N. Avers, 7109 Calumet, 7749 Yates) (.2).
September    Asset                  09/10/19 KBD             390 Study various correspondence from A. Porter regarding status of and efforts to move                    0.2         0.05      $19.50
2019         Disposition                                         forward with sale of properties (.2)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
September    Asset                  09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                        3.7 0.0362745        $14.15
2019         Disposition
September    Business               09/09/19 KBD         390 Study budget for property repairs and improvements and exchange correspondence                     0.4 0.0108108         $4.22
2019         Operations                                      regarding same (.4)
September    Business               09/12/19 KBD         390 study property manager financial reporting (.4).                                                   0.4 0.0108108         $4.22
2019         Operations
September    Business               09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.           0.4 0.0045977         $1.79
2019         Operations                                      Duff regarding property financial reporting.
September    Business               09/19/19 KBD         390 Work through various issues with E. Duff relating to financial reporting, accounting, and          0.8 0.0216216         $8.43
2019         Operations                                      property managers (.8)
September    Business               09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                  0.1 0.0009804         $0.38
2019         Operations
September    Business               09/22/19 KBD         390 Study correspondence from E. Duff regarding property expenses.                                     0.2 0.0142857         $5.57
2019         Operations
September    Business               09/23/19 KBD         390 study correspondence from E. Duff and property manager regarding expense procedures                0.2 0.0054054         $2.11
2019         Operations                                      (.2).
September    Business               09/24/19 KBD         390 Study correspondence from property manager regarding utility payments.                             0.1 0.0066667         $2.60
2019         Operations
September    Claims                 09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                      0.1 0.0011494         $0.45
2019         Administration
             & Objections

September Claims                    09/03/19 KBD         390 Telephone conference and exchange correspondence with broker regarding credit bids and             0.3 0.0034483         $1.34
2019      Administration                                     communications with potential purchasers (.3)
          & Objections

September Claims                    09/04/19 KBD         390 study lenders objections relating to credit bidding and prepare for hearing (.5).                  0.5 0.0142857         $5.57
2019      Administration
          & Objections

September Claims                    09/05/19 KBD         390 analysis of issues raised by lender credit bidding motion (.6)                                     0.6 0.0171429         $6.69
2019      Administration
          & Objections

September Claims                    09/05/19 KBD         390 confer with N. Mirjanich regarding same (.1)                                                       0.1 0.0028571         $1.11
2019      Administration
          & Objections

September Claims                    09/05/19 KBD         390 study correspondence regarding lender credit bid notifications (.1)                                0.1 0.0028571         $1.11
2019      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
September Claims                    09/08/19 KBD         390 Study and revise response to lenders objections to credit bid procedures.                           0.5 0.0142857          $5.57
2019      Administration
          & Objections

September Claims                    09/09/19 KBD         390 Study and revise response to lenders objections to credit bid procedures (4.4)                      4.4 0.1257143         $49.03
2019      Administration
          & Objections

September Claims                    09/10/19 KBD         390 study revised correspondence to lender's counsel regarding credit bid (7109 Calumet) (.1)           0.1          0.1      $39.00
2019      Administration
          & Objections

September Claims                    09/10/19 KBD         390 draft and revise response to lenders' objections to credit bid procedures (3.1)                     3.1 0.0885714         $34.54
2019      Administration
          & Objections

September Claims                    09/10/19 KBD         390 telephone conference with real estate broker regarding credit bids and communications with          0.2 0.0022989          $0.90
2019      Administration                                     lenders representatives regarding same (.2).
          & Objections

September Claims                    09/11/19 KBD         390 Revise response to lenders' objections on credit bidding and study revisions to same (2.2)          2.2 0.0628571         $24.51
2019      Administration
          & Objections

September Claims                    09/11/19 KBD         390 study SEC response relating to same (.2).                                                           0.2 0.0057143          $2.23
2019      Administration
          & Objections

September Claims                    09/13/19 KBD         390 study correspondence from A. Porter regarding language in purchase and sale agreement for           0.1 0.0011494          $0.45
2019      Administration                                     credit bid (.1).
          & Objections

September Claims                    09/13/19 KBD         390 study correspondence from real estate broker regarding status of credit bidding (.1)                0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                    09/18/19 KBD         390 telephone conference with broker regarding credit bid process, bid history, and lender              0.4 0.0307692         $12.00
2019      Administration                                     objection (.4)
          & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
September Claims                    09/19/19 KBD             390 Exchange correspondence regarding various properties and credit bid status.                         0.5       0.125      $48.75
2019      Administration
          & Objections

September    Asset                  09/03/19 MR              390 Call with lender's counsel (.1)                                                                     0.1 0.0333333        $13.00
2019         Disposition
September    Asset                  09/03/19 MR              390 follow up regarding purchase and sale agreements (.2)                                               0.2 0.0666667        $26.00
2019         Disposition
September    Asset                  09/04/19 AEP             390 prepare e-mail with list of third series properties for which title commitments are still           0.1 0.0066667         $2.60
2019         Disposition                                         needed and send to title company (.1)
September    Asset                  09/04/19 MR              390 prepare for hearing (1.0)                                                                           1.0 0.0526316        $20.53
2019         Disposition
September    Asset                  09/04/19 MR              390 attend meeting on sales and credit bid related issues (2.5)                                         2.5 0.1315789        $51.32
2019         Disposition
September    Asset                  09/04/19 MR              390 Attention to credit bid issues and communications and updates on same (.2)                          0.2 0.0105263         $4.11
2019         Disposition
September    Asset                  09/04/19 MR              390 draft email regarding same and send to lender's counsel (.3).                                       0.3 0.0157895         $6.16
2019         Disposition
September    Asset                  09/12/19 AEP             390 Prepare new section of second motion to approve sales reciting record of objections and             3.6 0.2117647        $82.59
2019         Disposition                                         orders relating to second, third, fourth, and fifth motions to approve sales process (3.6)

September    Asset                  09/12/19 MR              390 meeting regarding sales related issues with A. Porter, K. Duff and N. Mirjanich (1.2).              1.2 0.0444444        $17.33
2019         Disposition
September    Asset                  09/18/19 JR              140 organize lease folders in the third series (.5)                                                     0.5 0.0333333         $4.67
2019         Disposition
September    Asset                  09/21/19 MR              390 Further prepare for upcoming hearing (1.0)                                                          1.0 0.0526316        $20.53
2019         Disposition
September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding            2.5 0.0245098         $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                        0.3 0.0029412         $1.15
2019         Disposition
September    Asset                  09/23/19 MR              390 and review of same (.3).                                                                            0.3 0.0157895         $6.16
2019         Disposition
September    Asset                  09/23/19 MR              390 Additional work on review of materials for upcoming hearing (1.5)                                   1.5 0.0789474        $30.79
2019         Disposition
September    Asset                  09/23/19 MR              390 work on asset manager's affidavit (.2)                                                              0.2 0.0105263         $4.11
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                      0.3       0.003       $0.42
2019         Disposition
September    Asset                  09/24/19 MR              390 Work on submission of response and declaration (1.7)                                                1.7 0.0894737        $34.89
2019         Disposition
September    Asset                  09/24/19 MR              390 conferences and exchanges with K. Duff (.3)                                                         0.3 0.0157895         $6.16
2019         Disposition


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
September    Asset                  09/24/19 MR              390 confer on and attention to issues related to upcoming hearing with N. Mirjanich and K. Duff          0.3 0.0157895          $6.16
2019         Disposition                                         and resolution of various issues with order (.3).
September    Asset                  09/24/19 MR              390 confer with K. Pritchard on filings (.1)                                                             0.1 0.0052632          $2.05
2019         Disposition
September    Asset                  09/30/19 AEP             390 Review and analyze draft survey of receivership property (7109 S Calumet) and transmit               0.1          0.1      $39.00
2019         Disposition                                         revisions to surveyor (.1)
September    Business               09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                      0.2 0.0022989          $0.90
2019         Operations
September    Business               09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                       0.3 0.0034483          $1.34
2019         Operations
September    Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to              0.4 0.0039216          $0.55
2019         Operations                                          finance company for payment on insurance premium finance agreement (.4)

September    Business               09/09/19 NM              260 study spreadsheet sent by property manager regarding capex repairs and code violation                0.4 0.0666667         $17.33
2019         Operations                                          repairs and correspond with K. Duff regarding the same (.4)
September    Business               09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                  0.2 0.0022989          $0.32
2019         Operations
September    Business               09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                         0.2 0.0022989          $0.32
2019         Operations
September    Business               09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July            3.3 0.0383721          $5.37
2019         Operations                                          2019 (3.3)
September    Business               09/11/19 NM              260 study city violations document and list of potential capex repairs and unit turns sent by            0.7       0.175       $45.50
2019         Operations                                          property manager and correspond with K. Duff regarding the same (.7).
September    Business               09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                  0.5 0.0057471          $2.24
2019         Operations
September    Business               09/19/19 ED              390 review documents and analysis from accountant regarding reconciliation of property                   0.5 0.0135135          $5.27
2019         Operations                                          manager invoices with backup (.5)
September    Business               09/19/19 ED              390 meet with K. Duff regarding pending business operations issues (.8)                                  0.8 0.0216216          $8.43
2019         Operations
September    Business               09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                       0.2 0.0022989          $0.90
2019         Operations
September    Business               09/19/19 ED              390 prepare draft for review by K. Duff (.2)                                                             0.2 0.0054054          $2.11
2019         Operations
September    Business               09/19/19 ED              390 preparation of outline of issues for discussion (.4)                                                 0.4 0.0108108          $4.22
2019         Operations
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           1.2 0.0116505          $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                         0.8 0.0078431          $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding              0.4 0.0039216          $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
September    Business               09/25/19 ED          390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977          $1.79
2019         Operations
September    Business               09/25/19 ED          390 review of financial reporting records (.7)                                                               0.7    0.008046        $3.14
2019         Operations
September    Claims                 09/01/19 MR          390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483          $1.34
2019         Administration                                  lender.
             & Objections

September Claims                    09/02/19 AEP         390 Teleconference with N. Mirjanich regarding preparation of memoranda relating to properties               0.2 0.0133333          $5.20
2019      Administration                                     in third series and subject to credit bidding (.2)
          & Objections

September Claims                    09/03/19 NM          260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                        0.2 0.0024691          $0.64
2019      Administration
          & Objections

September Claims                    09/06/19 MR          390 Attention to emails regarding credit bids (.5)                                                           0.5 0.0263158         $10.26
2019      Administration
          & Objections

September Claims                    09/06/19 MR          390 work on response to lender's brief (4.0).                                                                4.0 0.2105263         $82.11
2019      Administration
          & Objections

September Claims                    09/07/19 MR          390 Work on brief regarding issues raised by lenders.                                                        4.5 0.2368421         $92.37
2019      Administration
          & Objections

September Claims                    09/08/19 MR          390 Further work and edits to response brief on credit bids.                                                 3.8          0.2      $78.00
2019      Administration
          & Objections

September Claims                    09/09/19 MR          390 attention to (7109 Calumet and 7749 Yates) property bids and conferences on same (.4)                    0.4          0.2      $78.00
2019      Administration
          & Objections

September Claims                    09/09/19 MR          390 work on brief (1.2).                                                                                     1.2 0.0631579         $24.63
2019      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
September Claims                    09/09/19 NM          260 correspond with K. Duff regarding credit bid and priority issue on property (7109 S Calumet)            0.1          0.1      $26.00
2019      Administration                                     and study claims data and public record for information for the same (.1).
          & Objections

September Claims                    09/09/19 NM          260 study draft response to credit bid motion and objections sent by A. Watychowicz (.3)                    0.3 0.0085714          $2.23
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 Preliminary review of draft accounting reports to lenders (.2)                                          0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                              0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding              0.1 0.0011494          $0.45
2019      Administration                                     payment of outstanding real estate taxes (.1).
          & Objections

September Claims                    09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                     0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                    09/10/19 MR          390 attention to issues on certain properties (7109 Calumet and 638 Avers) (.3).                            0.3         0.15      $58.50
2019      Administration
          & Objections

September Claims                    09/10/19 MR          390 Attention to edits and work on response brief and conferences on same (2.0)                             2.0 0.1052632         $41.05
2019      Administration
          & Objections

September Claims                    09/11/19 AW          140 multiple revisions to response as per redlined and hard copy edits from M. Rachlis and K.               1.9 0.0542857          $7.60
2019      Administration                                     Duff, email exchanges with K. Duff, and intraoffice conferences regarding same (1.9)
          & Objections

September Claims                    09/11/19 AW          140 Proofread response to institutional lender's objection to Judge Kim's order and confer with K.          1.4         0.04       $5.60
2019      Administration                                     Duff regarding same (1.4)
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/11/19 AW          140 compile exhibits supporting response (.3)                                                            0.3 0.0085714         $1.20
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                        0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into              0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                    0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 MR          390 conferences regarding same (.4).                                                                     0.4 0.0210526         $8.21
2019      Administration
          & Objections

September Claims                    09/11/19 MR          390 Further review and edits to brief on credit bid issue raised by lender (2.5)                         2.5 0.1315789        $51.32
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                             0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                     0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                            0.3 0.0034483         $1.34
2019      Administration
          & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)              0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                                 1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                        0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                        1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                         0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                           1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/18/19 MR          390 attention to issues on properties (.1).                                                               0.1 0.0052632         $2.05
2019      Administration
          & Objections

September Claims                    09/18/19 MR          390 Attention to lender's reply brief and issues raised therein (.5)                                      0.5 0.0263158        $10.26
2019      Administration
          & Objections

September Claims                    09/19/19 AEP         390 Review and approve final drafts of proposed correspondence to institutional lenders                   0.2 0.0666667        $26.00
2019      Administration                                     regarding acceptability of credit bids to purchase receivership property (7109 S Calumet,
          & Objections                                       4520 S Drexel, and 7110 S Cornell).




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                                1.2 0.0137931          $5.38
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                                    0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                    09/19/19 NM          260 correspond with K. Duff regarding mortgage history and claims submitted on property (7109               0.2          0.2      $52.00
2019      Administration                                     S Calumet) (.2).
          & Objections

September Claims                    09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                                  1.2 0.0137931          $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                           0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                             0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                    09/20/19 MR          390 Prepare for upcoming hearings on credit bidding issues and sales.                                       1.2 0.0631579         $24.63
2019      Administration
          & Objections

September Claims                    09/22/19 ED          390 Analysis of operating expenses.                                                                         1.5 0.0172414          $6.72
2019      Administration
          & Objections

October      Asset                  10/02/19 KBD         390 study correspondence from A. Porter regarding property sales and communication with                     0.1 0.0055556          $2.17
2019         Disposition                                     property manager (.1).
October      Asset                  10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit                 0.2 0.0022989          $0.90
2019         Disposition                                     bidding and planning for further sales.
October      Asset                  10/08/19 KBD         390 Sales planning and strategy for properties in second and third tranche of properties with real          2.5 0.1923077         $75.00
2019         Disposition                                     estate broker, A. Porter, and M. Rachlis and communications with purchasers and credit
                                                             bidders regarding same (2.5)
October      Asset                  10/11/19 KBD         390 Study purchase and sale agreements and work with A. Porter on and separately review                     0.6 0.0461538         $18.00
2019         Disposition                                     contracts for purchase and sale of properties, credit bids, and communications with counsel
                                                             for purchasers and bidders (.6)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October      Asset                  10/11/19 KBD         390 telephone conferences and exchange correspondence with real estate broker relating to                  0.3 0.0230769          $9.00
2019         Disposition                                     same (.3).
October      Asset                  10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                       1.0 0.0114943          $4.48
2019         Disposition                                     regarding various property sales and credit bidding (1.0)
October      Asset                  10/17/19 KBD         390 Analysis of potential sale opportunity.                                                                0.2 0.0022472          $0.88
2019         Disposition
October      Asset                  10/21/19 KBD         390 Exchange correspondence with A. Porter regarding purchase and sale agreement for                       0.2          0.2      $78.00
2019         Disposition                                     property (7109 Calumet).
October      Asset                  10/23/19 KBD         390 Telephone conference and exchange correspondence with real estate broker and A. Porter                 0.9         0.18      $70.20
2019         Disposition                                     regarding various property sales and contract issues (7109 Calumet, 638 Avers, 4520 Drexel,
                                                             7237 Bennett, 8047 Manistee) (.9)
October      Asset                  10/24/19 KBD         390 Study contract for sale (7109 Calumet), confer with J. Rak, and exchange various                       0.7          0.7     $273.00
2019         Disposition                                     communications with real estate broker and A. Porter regarding same (.7)
October      Asset                  10/24/19 KBD         390 telephone conference with accounting firm representative regarding issues relating to sale of          0.3         0.15      $58.50
2019         Disposition                                     properties (.3)
October      Asset                  10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                 0.3 0.0033708          $1.31
2019         Disposition                                     same.
October      Business               10/02/19 KBD         390 Exchange correspondence with E. Duff regarding property manager expenses.                              0.1 0.0027027          $1.05
2019         Operations
October      Business               10/04/19 KBD         390 Telephone conferences with A. Porter regarding property manager issue.                                 0.3 0.0081081          $3.16
2019         Operations
October      Business               10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                   0.8 0.0078431          $3.06
2019         Operations
October      Business               10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                     0.1 0.0009804          $0.38
2019         Operations
October      Business               10/11/19 KBD         390 Exchange correspondence with property manager and asset manager regarding property                     0.3 0.0081081          $3.16
2019         Operations                                      expenses and study information relating to same.
October      Claims                 10/01/19 KBD         390 exchange correspondence with A. Porter and real estate broker regarding status of credit bid           0.3          0.3     $117.00
2019         Administration                                  (7109 Calumet) (.3)
             & Objections

October      Claims                 10/02/19 KBD         390 review correspondence from A. Porter regarding lender's credit bid (7109 Calumet) (.1)                 0.1          0.1      $39.00
2019         Administration
             & Objections

October      Claims                 10/02/19 KBD         390 study lenders bankruptcy motion (.3)                                                                   0.3       0.015        $5.85
2019         Administration
             & Objections

October      Claims                 10/10/19 KBD         390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to            0.3 0.0034483          $1.34
2019         Administration                                  sale of property and potential credit bid and analysis of same (.3)
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
October      Claims                 10/17/19 KBD             390 Review credit bid (7109 Calumet) and related correspondence.                                            0.2          0.2      $78.00
2019         Administration
             & Objections

October      Claims                 10/24/19 KBD             390 Study and respond to lenders motion for bankruptcy proceedings (3.1)                                    3.1       0.155       $60.45
2019         Administration
             & Objections

October      Claims                 10/25/19 KBD             390 Study and respond to lenders motion for bankruptcy proceedings, study various pleadings,                5.1       0.255       $99.45
2019         Administration                                      and research regarding same (5.1)
             & Objections

October      Claims                 10/26/19 KBD             390 Draft and revise response to lenders' bankruptcy motion and legal research regarding same.              5.1       0.255       $99.45
2019         Administration
             & Objections

October      Claims                 10/27/19 KBD             390 Draft correspondence to A. Porter regarding credit bid and letter of credit for property (7109          0.1          0.1      $39.00
2019         Administration                                      Calumet).
             & Objections

October      Claims                 10/28/19 KBD             390 Work on response to lenders' bankruptcy motion and study correspondence regarding same                  0.9       0.045       $17.55
2019         Administration                                      (.9)
             & Objections

October      Claims                 10/29/19 KBD             390 Study and revise response to lenders' petition for bankruptcy, legal research regarding same,           6.7       0.335      $130.65
2019         Administration                                      and work on same with M. Rachlis.
             & Objections

October      Claims                 10/30/19 KBD             390 Appear before Judge Lee on lenders' petition for bankruptcy, off the record discussion with             3.5       0.175       $68.25
2019         Administration                                      the Court and various counsel, and prepare for same (3.5)
             & Objections

October      Asset                  10/01/19 AEP             390 request for timing of completion of remaining surveys in "red" series (.1)                              0.1 0.0058824          $2.29
2019         Disposition
October      Asset                  10/01/19 AEP             390 and discussion with attorney for owner of receivership property (7109 S Calumet) (.2)                   0.2          0.2      $78.00
2019         Disposition
October      Asset                  10/01/19 JR              140 Finalize surveys in files for various properties (.1)                                                   0.1         0.05       $7.00
2019         Disposition
October      Asset                  10/04/19 AEP             390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding              0.3 0.0034483          $1.34
2019         Disposition                                         procedures (.3)
October      Asset                  10/04/19 MR              390 Attention to order on objections to sales (.4)                                                          0.4 0.0045977          $1.79
2019         Disposition




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
October      Asset                  10/08/19 AEP             390 Meeting with K. Duff, M. Rachlis, and receivership brokers regarding analysis of credit bids           2.5         1.25     $487.50
2019         Disposition                                         and timing of marketing and potential additional tranching of properties for which receiver
                                                                 has not yet moved for approval to sell (2.5)
October      Asset                  10/08/19 MR              390 review various documents and correspondence regarding same (.4)                                        0.4 0.0307692         $12.00
2019         Disposition
October      Asset                  10/08/19 MR              390 Participate in meeting on property sales and issues regarding same with A. Porter and asset            2.0 0.1538462         $60.00
2019         Disposition                                         manager (2.0)
October      Asset                  10/15/19 AEP             390 prepare execution-ready copies of contracts to be delivered to credit bidders on receivership          0.4          0.2      $78.00
2019         Disposition                                         properties (7749 S Yates and 7109 S Calumet) (.4)
October      Asset                  10/15/19 AEP             390 e-mail exchanges with K. Duff regarding need for payoff letters (.1)                                   0.1 0.0090909          $3.55
2019         Disposition
October      Asset                  10/15/19 AEP             390 prepare individualized incoming wiring instructions for all remaining properties subject to            0.6         0.06      $23.40
2019         Disposition                                         most recent order approving sales (6749 S Merrill, 7110 S Cornell, 7546 S Saginaw, 7600 S
                                                                 Kingston, 7656 S Kingston, 8201 S Kingston, 7109 S Calumet, 7450 S Luella, 7748 S Essex, and
                                                                 8326- 58 S Ellis) (.6)
October      Asset                  10/16/19 AEP             390 read e-mail from counsel for prospective credit bidder on receivership property (7109 S                0.3          0.3     $117.00
2019         Disposition                                         Calumet) regarding request for extension to credit bid and exchange various correspondence
                                                                 regarding response to said request (.3)
October      Asset                  10/16/19 MR              390 follow up on attention to various issues regarding negotiation on property sales and                   0.6          0.6     $234.00
2019         Disposition                                         extensions (7109 South Calumet) (.6).
October      Asset                  10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                         0.3 0.0034884          $0.49
2019         Disposition
October      Asset                  10/21/19 AEP             390 consult files for receivership property subject to credit bid (7109 S Calumet) and prepare e-          0.2          0.2      $78.00
2019         Disposition                                         mails to receivership team regarding status of contract execution and containing instructions
                                                                 for final signing (.2)
October      Asset                  10/21/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding accepting purchase and sale               0.3          0.3      $42.00
2019         Disposition                                         contract for property (7109 Calumet) (.3)
October      Asset                  10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank                3.2 0.0372093          $5.21
2019         Disposition                                         statement and compare (3.2).
October      Asset                  10/26/19 AEP             390 Review credit bid purchase and sale contract on receivership property (7109 S Calumet),                0.3          0.3     $117.00
2019         Disposition                                         revise same, and return to K. Duff for initialing of changes (.3)
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                  0.4 0.0039216          $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future               0.4     0.00625        $2.44
2019         Disposition                                         closings (.4)
October      Asset                  10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                         1.2 0.0137931          $5.38
2019         Disposition
October      Asset                  10/29/19 JR              140 exchange correspondence with K. Duff relating to forwarding to buyer's counsel the                     0.1          0.1      $14.00
2019         Disposition                                         purchase and sale agreement for property (7109 Calumet) (.1)
October      Business               10/02/19 ED              390 email correspondence with property manager regarding property expenses (.1).                           0.1 0.0027027          $1.05
2019         Operations
October      Business               10/02/19 NM              260 Study lenders motion for bankruptcy proceeding and correspond with K. Duff regarding the               0.2         0.01       $2.60
2019         Operations                                          same (.2)


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October      Business               10/04/19 NM              260 Study cases cited in lenders' motion for bankruptcy for distinctions and arguments against           0.8         0.04      $10.40
2019         Operations                                          same.
October      Business               10/07/19 NM              260 Appear for administrative court on property (7109 S Calumet) (.5)                                    0.5          0.5     $130.00
2019         Operations
October      Business               10/07/19 NM              260 revise spreadsheet to reflect the same and updates sent by property manager from housing             0.3          0.3      $78.00
2019         Operations                                          court and correspond with K. Duff regarding the same (.3)
October      Business               10/07/19 NM              260 exchange emails with M. Rachlis and K. Duff regarding hearing on bankruptcy motion (.2).             0.2         0.01       $2.60
2019         Operations
October      Business               10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with               0.4 0.0045977          $1.79
2019         Operations                                          accountant regarding same.
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412          $1.15
2019         Operations
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039          $3.82
2019         Operations
October      Business               10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August              0.6 0.0068182          $2.66
2019         Operations                                          property reports.
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739          $0.30
2019         Operations
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303          $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522          $2.89
2019         Operations                                          can pay out of current net operating income (1.9)
October      Business               10/17/19 AEP             390 read and respond to e-mail from K. Duff regarding credit bid received in connection with             0.2          0.2      $78.00
2019         Operations                                          receivership property (7109 S Calumet) (.2)
October      Business               10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.              0.5 0.0057471          $2.24
2019         Operations
October      Business               10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and           3.1 0.0360465          $5.05
2019         Operations                                          also compare funds sent to property manager from receivers' account.

October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002        $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006        $0.84
2019         Operations
October      Business               10/22/19 JR              140 Finalize financial reports for receivership.                                                         1.4 0.0162791          $2.28
2019         Operations
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           0.9 0.0087379          $1.22
2019         Operations                                          same.
October      Business               10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income            0.8 0.0091954          $3.59
2019         Operations                                          and expenditures (.8).
October      Business               10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                 1.3 0.0149425          $5.83
2019         Operations




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Business               10/25/19 KMP         140 Prepare wire request for funds transfer for installment payment on premium financing                 0.3 0.0029412          $0.41
2019         Operations                                      agreement and conferences with K. Duff and bank representative relating to same.

October      Business               10/25/19 MR          390 Attention to issues regarding upcoming brief and research regarding same.                            1.6         0.08      $31.20
2019         Operations
October      Business               10/26/19 MR          390 Work and research on draft response brief regarding removal to bankruptcy.                           2.0          0.1      $39.00
2019         Operations
October      Business               10/27/19 MR          390 Further research and work on draft response brief.                                                   5.5       0.275      $107.25
2019         Operations
October      Business               10/28/19 MR          390 Work on response brief on bankruptcy issues.                                                         7.6         0.38     $148.20
2019         Operations
October      Business               10/29/19 AEP         390 study final draft of opposition to motion for conversion to bankruptcy proceeding and                0.7 0.0205882          $8.03
2019         Operations                                      provide comments to K. Duff and M. Rachlis (.7).
October      Business               10/29/19 MR          390 and discussions regarding same with various individuals including K. Duff, A. Porter and N.          1.3       0.065       $25.35
2019         Operations                                      Mirjanich (1.3).
October      Business               10/29/19 MR          390 prepare for upcoming hearing (1.5)                                                                   1.5       0.075       $29.25
2019         Operations
October      Business               10/29/19 MR          390 Further work on brief on bankruptcy (3.0)                                                            3.0         0.15      $58.50
2019         Operations
October      Business               10/30/19 MR          390 Further prepare for hearing before Judge Lee and further discussions regarding same (1.2)            1.2         0.06      $23.40
2019         Operations
October      Business               10/30/19 MR          390 confer with A. Porter regarding same (.4)                                                            0.4         0.02       $7.80
2019         Operations
October      Business               10/30/19 MR          390 follow up on orders regarding same (.2).                                                             0.2         0.01       $3.90
2019         Operations
October      Claims                 10/04/19 NM          260 analyze lenders' motion for bankruptcy (.8).                                                         0.8         0.04      $10.40
2019         Administration
             & Objections

October      Claims                 10/10/19 NM          260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid              0.4 0.0045977          $1.20
2019         Administration                                  issue (.4).
             & Objections

October      Claims                 10/17/19 ED          390 confer with J. Rak regarding same (.2).                                                              0.2 0.0023256          $0.91
2019         Administration
             & Objections

October      Claims                 10/17/19 ED          390 Preliminary review of August accounting reports to lenders (1.5)                                     1.5 0.0174419          $6.80
2019         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
October      Claims                 10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256          $0.91
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 update transmittal messages to lenders' counsel (1.6)                                                 1.6 0.0183908          $7.17
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                            2.8 0.0325581         $12.70
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628          $0.45
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907          $4.99
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628          $0.45
2019         Administration
             & Objections

October      Claims                 10/25/19 NM          260 Work on response to lenders' bankruptcy motion.                                                       3.3       0.165       $42.90
2019         Administration
             & Objections

October      Claims                 10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535          $5.44
2019         Administration                                  September (1.2)
             & Objections

October      Claims                 10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256          $0.91
2019         Administration                                  reports (.2).
             & Objections

November     Asset                  11/04/19 KBD         390 exchange correspondence with N. Mirjanich and A. Porter regarding communication with                  0.2          0.2      $78.00
2019         Disposition                                     lender's counsel as to credit bid on property (7109 Calumet) (.2)

November     Asset                  11/09/19 KBD         390 Draft correspondence regarding status of sales and contract negotiations (.2)                         0.2 0.0666667         $26.00
2019         Disposition
November     Asset                  11/09/19 KBD         390 telephone conference with real estate broker regarding same (.3).                                     0.3          0.1      $39.00
2019         Disposition


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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
November     Asset                  11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                               0.2 0.0020833          $0.81
2019         Disposition
November     Asset                  11/15/19 KBD         390 Telephone conference with and study correspondence from real estate broker regarding                0.5 0.0294118         $11.47
2019         Disposition                                     status of sale effort as to various properties (.5)
November     Asset                  11/23/19 KBD         390 Study correspondence from A. Porter regarding asset disposition planning.                           0.3 0.0032258          $1.26
2019         Disposition
November     Business               11/05/19 KBD         390 Telephone conference with real estate broker and asset manager regarding evaluation and             0.2 0.0019608          $0.76
2019         Operations                                      assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                             improvements for remaining properties in portfolio (.2)
November     Business               11/05/19 KBD         390 analysis of same (.2).                                                                              0.2 0.0019608          $0.76
2019         Operations
November     Business               11/15/19 KBD         390 study property manager financial reporting (.4)                                                     0.4 0.0121212          $4.73
2019         Operations
November     Business               11/25/19 KBD         390 Attention to various insurance issues relating to properties and exchange correspondence            0.4 0.0042105          $1.64
2019         Operations                                      with E. Duff regarding same (.4)
November     Business               11/25/19 KBD         390 telephone conferences with bank representative regarding fund transfers for property                0.2 0.0021053          $0.82
2019         Operations                                      insurance and expenses (.2)
November     Business               11/25/19 KBD         390 attention to utility bills (.1)                                                                     0.1 0.0030303          $1.18
2019         Operations
November     Business               11/26/19 KBD         390 exchange correspondence with J. Rak regarding new gas accounts (.1).                                0.1 0.0030303          $1.18
2019         Operations
November     Business               11/26/19 KBD         390 Attention to insurance loss history and draft correspondence to insurance broker regarding          0.3 0.0031579          $1.23
2019         Operations                                      same (.3)
November     Business               11/27/19 KBD         390 Telephone conference with insurance broker regarding insurance policies, renewal options,           0.2 0.0021053          $0.82
2019         Operations                                      and planning (.2)
November     Claims                 11/07/19 KBD         390 Study correspondence to lender's counsel regarding credit bid (7109 Calumet) and exchange           0.2          0.2      $78.00
2019         Administration                                  correspondence with N. Mirjanich regarding same.
             & Objections

November     Claims                 11/11/19 KBD         390 study correspondence from lenders' counsel regarding purchase and sale agreement, letter            0.2          0.2      $78.00
2019         Administration                                  agreement, and letter of credit (.2)
             & Objections

November     Claims                 11/12/19 KBD         390 Study correspondence from and draft correspondence to lenders counsel regarding letter of           1.4          0.7     $273.00
2019         Administration                                  credit, bona fide dispute, and property related issues (7109 Calumet, 683 Avers) (1.4)
             & Objections

November     Claims                 11/12/19 KBD         390 exchange correspondence with and obtain records and other information from N. Mirjanich             0.3         0.15      $58.50
2019         Administration                                  and J. Rak (.3)
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
November     Claims                 11/12/19 KBD             390 work on same with M. Rachlis (.3)                                                                          0.3         0.15      $58.50
2019         Administration
             & Objections

November     Claims                 11/15/19 KBD             390 Exchange correspondence with lender's counsel and M. Rachlis regarding, and evaluation of                  0.5          0.5     $195.00
2019         Administration                                      potential alternative, to letter of credit.
             & Objections

November     Claims                 11/18/19 KBD             390 exchange correspondence with A. Porter regarding potential escrow of funds in connection                   0.2          0.2      $78.00
2019         Administration                                      with credit bid (.2)
             & Objections

November     Asset                  11/06/19 AEP             390 prepare side letter for incorporation into accepted purchase and sale contract submitted by                0.6          0.6     $234.00
2019         Disposition                                         credit bidding lender in connection with receivership property (7109 S Calumet) (.6).

November     Asset                  11/07/19 JR              140 exchange correspondence with buyer's counsel relating to purchase and sale agreement and                   0.2          0.2      $28.00
2019         Disposition                                         credit bid letter for property (.2)
November     Asset                  11/11/19 MR              390 Attention to emails on issues with properties (7109 Calumet and Kingston).                                 0.2          0.1      $39.00
2019         Disposition
November     Asset                  11/12/19 JR              140 exchange correspondence with K. Duff relating to lis pendens and mortgage and produce                      0.5         0.25      $35.00
2019         Disposition                                         documents for same relating to property (7109 S Calumet and 638 Avers) (.5)

November     Asset                  11/12/19 MR              390 Attention to issues on properties (638 Avers, 7109 Calumet, 6949-59 S Merrill Avenue) and                  0.6          0.2      $78.00
2019         Disposition                                         letter of credit (.6)
November     Asset                  11/12/19 NM              260 Study documents for credit bid property (7109 S Calumet) and violations on the same (.3)                   0.3          0.3      $78.00
2019         Disposition
November     Asset                  11/12/19 NM              260 and correspond with property manager regarding the same (.1).                                              0.1          0.1      $26.00
2019         Disposition
November     Asset                  11/18/19 AEP             390 proofread, edit, and revise letter to credit bidding lender regarding additional terms and                 0.1          0.1      $39.00
2019         Disposition                                         conditions associated with prospective purchase of receivership property (7109 S Calumet)
                                                                 (.1)
November     Asset                  11/18/19 JR              140 exchange correspondence with A. Porter and K. Duff relating to a credit bid side letter for                0.3          0.3      $42.00
2019         Disposition                                         property (7109 Calumet) (.3)
November     Asset                  11/18/19 JR              140 forward same to buyer's counsel relating to same (.1)                                                      0.1          0.1      $14.00
2019         Disposition
November     Asset                  11/19/19 JR              140 finalize purchase and sale agreement signatories with K. Duff and send to buyer's counsel                  0.2          0.2      $28.00
2019         Disposition                                         (.2).
November     Asset                  11/21/19 AEP             390 review litigation files associated with next five properties earmarked for inclusion within fifth          0.5 0.0555556         $21.67
2019         Disposition                                         motion to approve sales, inventory missing status orders, and prepare e-mail to N. Mirjanich
                                                                 regarding pleadings (.5)
November     Asset                  11/21/19 JR              140 review email correspondence from A. Porter relating to orders in preparation for filing the                0.1 0.0111111          $1.56
2019         Disposition                                         next motion to approve sales (.1)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
November     Asset                  11/21/19 JR              140 review electronic documents and exchange correspondence with A. Porter relating to same                  0.4 0.0444444          $6.22
2019         Disposition                                         (.4)
November     Asset                  11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                                 0.9 0.0104651          $1.47
2019         Disposition
November     Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                2.8 0.0294737         $11.49
2019         Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)
November     Asset                  11/25/19 JR              140 further correspondence with property manager requesting onsite property manager                          0.4         0.05       $7.00
2019         Disposition                                         information related to various properties (.4).
November     Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053          $0.29
2019         Disposition
November     Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684         $34.07
2019         Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November     Asset                  11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674          $2.77
2019         Disposition
November     Business               11/06/19 ED              390 confer with N. Mirjanich regarding same (.1).                                                            0.1 0.0047619          $1.86
2019         Operations
November     Business               11/06/19 ED              390 Develop analysis and proposal for funding operating reserves for certain properties (1.7)                1.7 0.0809524         $31.57
2019         Operations
November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835          $1.01
2019         Operations
November     Business               11/11/19 ED              390 confer with N. Mirjanich regarding analysis of recommended operating reserves for certain                0.2 0.0095238          $3.71
2019         Operations                                          properties (.2).
November     Business               11/11/19 NM              260 Study property expenditures and code violations for set of properties for E. Duff for reserves           1.4 0.0666667         $17.33
2019         Operations                                          amount (1.4)
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417          $0.50
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835          $1.51
2019         Operations                                          reports (.4)
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019         Operations
November     Business               11/18/19 NM              260 Address pending City matters by communicating with property manager regarding more                       1.4 0.0608696         $15.83
2019         Operations                                          than a dozen administrative and housing matters some of which are in court next week and
                                                                 communicate with City regarding the same.
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019         Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
November     Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet           2.3 0.0244681          $3.43
2019         Operations                                          been sold.
November     Business               11/22/19 NM              260 Exchange correspondence with property manager regarding administrative matters in court               1.2         0.24      $62.40
2019         Operations                                          next week and prepare for the same.
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                       1.8 0.0174757          $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                    0.9 0.0087379          $3.41
2019         Operations
November     Business               11/25/19 NM              260 Appear for administrative court on a half dozen properties (2.2)                                      2.2         0.44     $114.40
2019         Operations
November     Business               11/25/19 NM              260 revise spreadsheet to reflect the same and correspond with A. Porter, J. Rak, and property            0.6         0.12      $31.20
2019         Operations                                          manager regarding the same (.6).
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional               0.3 0.0029126          $1.14
2019         Operations                                          information for review (.3)
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                     0.7 0.0067961          $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                 2.8 0.0271845          $3.81
2019         Operations                                          (2.8).
November     Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)            0.6 0.0066667          $0.93
2019         Operations
November     Claims                 11/15/19 MR              390 attention to emails regarding same (.2).                                                              0.2          0.2      $78.00
2019         Administration
             & Objections

November     Claims                 11/15/19 MR              390 Conferences regarding escrow account and letter of credit with K. Duff (.3)                           0.3          0.3     $117.00
2019         Administration
             & Objections

November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                   0.4 0.0038835          $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                0.5 0.0048544          $1.89
2019         Administration                                      (.5).
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                            3.8 0.0368932         $14.39
2019         Administration
             & Objections

December     Asset                  12/17/19 KBD             390 draft correspondence to and confer with J. Rak regarding amendments to purchase and sale              0.3          0.3     $117.00
2019         Disposition                                         agreement (7109 Calumet) (.3)


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Asset                  12/18/19 KBD             390 Exchange correspondence regarding and attention to addendum to purchase and sale                     0.2          0.2      $78.00
2019         Disposition                                         agreement (7109 Calumet) (.2)
December     Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                 0.1 0.0010526          $0.41
2019         Operations
December     Business               12/05/19 KBD             390 Telephone conference with J. Rak regarding communications with property manager relating             0.1 0.0030303          $1.18
2019         Operations                                          to utility issue.
December     Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance              0.1 0.0010526          $0.41
2019         Operations                                          premium payment (.1)
December     Business               12/11/19 KBD             390 study financial reporting from property manager (.4)                                                 0.4 0.0121212          $4.73
2019         Operations
December     Claims                 12/09/19 KBD             390 Study correspondence from lender's counsel regarding letter of credit deadline (7109                 0.2          0.2      $78.00
2019         Administration                                      Calumet) and exchange correspondence regarding same.
             & Objections

December     Claims                 12/17/19 KBD             390 exchange correspondence regarding lender request for extension for letter of credit (7109            0.2          0.2      $78.00
2019         Administration                                      Calumet) (.2).
             & Objections

December     Claims                 12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                         0.1 0.0012346          $0.48
2019         Administration                                      correspondence to A. Watychowicz regarding same.
             & Objections

December     Asset                  12/03/19 AEP             390 read correspondence regarding proposed inspection of receivership property (7109 S                   0.1          0.1      $39.00
2019         Disposition                                         Calumet) and update portfolio spreadsheet accordingly (.1)
December     Asset                  12/03/19 AEP             390 read all orders entered at 11/26 administrative hearings, update portfolio spreadsheet, and          0.4 0.0444444         $17.33
2019         Disposition                                         prepare correspondence to N. Mirjanich regarding discrepancies in files (.4)

December     Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                  0.2 0.0021053          $0.29
2019         Disposition
December     Asset                  12/09/19 MR              390 attention to letter on extensions of credit (.1)                                                     0.1          0.1      $39.00
2019         Disposition
December     Asset                  12/09/19 MR              390 attention to issues on upcoming sales (.1).                                                          0.1          0.1      $39.00
2019         Disposition
December     Asset                  12/10/19 AEP             390 read correspondence regarding posting of letter of credit in connection with purchase of             0.1          0.1      $39.00
2019         Disposition                                         receivership property (7109 S Calumet) and update portfolio spreadsheet and closing
                                                                 checklist accordingly (.1)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126          $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767        $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of              0.2 0.0021053          $0.82
2019         Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
December     Asset                  12/17/19 AEP             390 review past contract-related correspondence with lender's counsel in connection with                    0.5          0.5     $195.00
2019         Disposition                                         request for extension of time to post letter of credit associated with prospective purchase of
                                                                 receivership property (7109 S Calumet), prepare e-mail to receiver, and prepare draft letter
                                                                 granting lender's request for extension (.5)
December     Asset                  12/17/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding credit bid letter (7109 S.                 0.2          0.2      $28.00
2019         Disposition                                         Calumet) (.2)
December     Asset                  12/17/19 MR              390 Attention to extension request related to property sale (.1)                                            0.1          0.1      $39.00
2019         Disposition
December     Asset                  12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                     5.9 0.0728395         $10.20
2019         Disposition                                         organization of closing documents and the start of preparation for closings (5.9)
December     Asset                  12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status             2.4 0.0296296          $4.15
2019         Disposition                                         and information (2.4).
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by               1.1 0.0106796          $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium               0.4 0.0042105          $0.59
2019         Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business               12/06/19 NM              260 Correspond with property managers and the City regarding violations and revise spreadsheet              0.6         0.15      $39.00
2019         Operations                                          to reflect same (.6)
December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                   0.4 0.0038835          $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                    0.1 0.0010526          $0.41
2019         Operations
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                     0.8    0.007767        $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting                  0.2 0.0019417          $0.76
2019         Operations                                          reports (.2)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                                 0.6 0.0058252          $2.27
2019         Operations
December     Business               12/18/19 MR              390 attention to (7109 Calumet) property (.1).                                                              0.1          0.1      $39.00
2019         Operations
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence                  0.8    0.007767        $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                           0.8    0.007767        $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable               0.9 0.0087379          $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                          1.7 0.0165049          $6.44
2019         Administration
             & Objections




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Claims                 12/02/19 MR              390 Attention to Chang subpoena (.1)                                                                     0.1 0.0012346          $0.48
2019         Administration
             & Objections

December     Claims                 12/05/19 MR              390 Attention to and follow up on lender's inquiry and edit response.                                    0.3 0.0037037          $1.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/20/20 KBD             390 exchange correspondence with K. Pritchard and bank representative regarding new accounts             0.1 0.0090909          $3.55
2020         Disposition                                         for upcoming sales of properties (.1)
January      Asset                  01/20/20 KBD             390 Study correspondence from A. Porter regarding property sales and commissions (.1)                    0.1 0.0083333          $3.25
2020         Disposition
January      Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and           0.2 0.0021978          $0.86
2020         Operations                                          expense payments (.2)
January      Claims                 01/10/20 KBD             390 Study draft letter of credit (7109 Calumet).                                                         0.3          0.3     $117.00
2020         Administration
             & Objections

January      Claims                 01/14/20 KBD             390 study same (.2).                                                                                     0.2          0.2      $78.00
2020         Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Claims                 01/14/20 KBD             390 work on draft letter of credit with E. Duff (.2)                                                         0.2          0.2      $78.00
2020         Administration
             & Objections

January      Claims                 01/15/20 KBD             390 study correspondence from E. Duff regarding letter of credit (7109 Calumet) (.2)                         0.2          0.2      $78.00
2020         Administration
             & Objections

January      Claims                 01/17/20 KBD             390 Exchange correspondence with lender's counsel regarding letter of credit (7109 Calumet).                 0.1          0.1      $39.00
2020         Administration
             & Objections

January      Claims                 01/20/20 KBD             390 Analyze letter of credit issue, draft correspondence to lender's counsel regarding draft letter          2.2          2.2     $858.00
2020         Administration                                      of credit, and draft correspondence to E. Duff regarding same.
             & Objections

January      Claims                 01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process                0.3 0.0033708          $1.31
2020         Administration                                      and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                 01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                                0.9 0.0101124          $3.94
2020         Administration
             & Objections

January      Asset                  01/06/20 AEP             390 correspondence with J. Rak regarding remaining assistance required in connection with                    0.1 0.0022222          $0.87
2020         Disposition                                         finalization of three nearly-completed motions (.1).
January      Asset                  01/07/20 JR              140 Follow up email exchange with A. Porter regarding assisting on motions to approve sales (.1)             0.1 0.0111111          $1.56
2020         Disposition
January      Asset                  01/08/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property currently under                    0.2 0.0181818          $7.09
2020         Disposition                                         contract regarding status of closings (.2).
January      Asset                  01/08/20 AEP             390 Work with J. Rak to review fifth motion to confirm sales of receivership property and sixth              5.6 0.6222222        $242.67
2020         Disposition                                         motion to approve marketing of receivership property, including paragraph-by-paragraph
                                                                 fact-checking, exhibit assembly, proofing, title searching, and title commitment reconciliation
                                                                 (5.6)
January      Asset                  01/08/20 JR              140 search and add exhibits relating to same to prepare for filing (1.1).                                    1.1 0.0244444          $3.42
2020         Disposition
January      Asset                  01/08/20 JR              140 assist A. Porter in review of title commitments and online searches for those whose interests            5.6 0.1244444         $17.42
2020         Disposition                                         are in various properties and review and further prepare the 5th motion to confirm sale and
                                                                 6th motion to approve sale (5.6)
January      Asset                  01/09/20 AEP             390 continue working with J. Rak on preparation of fifth motion to confirm sales and sixth motion            5.5 0.1222222         $47.67
2020         Disposition                                         to approve sales process, including review and analysis of all title commitments and
                                                                 recorded documents (5.5)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Asset                  01/09/20 JR              140 review and prepare exhibits for filing (.8).                                                             0.8          0.1      $14.00
2020         Disposition
January      Asset                  01/09/20 JR              140 work with A. Porter on further review and preparation of the 5th motion to confirm sale and              5.5 0.1222222         $17.11
2020         Disposition                                         6th motion to approve sale (5.5)
January      Asset                  01/10/20 NM              260 Exchange correspondence with A. Porter and J. Rak regarding violations on properties in the              0.3 0.0333333          $8.67
2020         Disposition                                         next tranche of sales.
January      Asset                  01/15/20 AEP             390 and prepare e-mail to team enclosing nearly file-ready draft with report on remaining                    0.3 0.0066667          $2.60
2020         Disposition                                         incomplete items (.3).
January      Asset                  01/15/20 AEP             390 insert all exhibit citations into motion and review corresponding exhibit for accuracy and               2.2 0.0488889         $19.07
2020         Disposition                                         completeness (2.2)
January      Asset                  01/15/20 JR              140 Continue review, make revisions and conduct research for updating closing checklist for the              2.4 0.3428571         $48.00
2020         Disposition                                         remainder of the properties under contract (2.4)
January      Asset                  01/15/20 JR              140 exchange correspondence with property managers providing a plan and requesting                           0.3 0.0428571          $6.00
2020         Disposition                                         information in preparation for the next batch of closings of various properties (.3)

January      Asset                  01/15/20 JR              140 prepare certified rent roll drafts for various properties in preparation for sale (7450 Luella,          3.5          0.7      $98.00
2020         Disposition                                         4520 Drexel, 6749 Merrill, 7110 Cornell, 7109 Calumet) (3.5).
January      Asset                  01/16/20 JR              140 prepare a detailed email requesting various information required for closing for buyer's                 0.7 0.1166667         $16.33
2020         Disposition                                         counsel for various properties coming up for closing (.7)
January      Asset                  01/16/20 JR              140 Exchange correspondence with property manager regarding updated rent rolls in                            0.1 0.0142857          $2.00
2020         Disposition                                         preparation of certificated rent rolls for various properties (.1)
January      Asset                  01/16/20 JR              140 exchange correspondence with numerous buyer's counsel regarding same (.9)                                0.9         0.15      $21.00
2020         Disposition
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                 1.6    0.015534        $2.17
2020         Disposition
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                 1.2 0.0116505          $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/20/20 JR              140 exchange correspondence with K. Pritchard and K. Duff regarding creating new sub-accounts                0.2 0.0153846          $2.15
2020         Disposition                                         for future closings and net proceeds (.2)
January      Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                           0.3 0.0031579          $0.44
2020         Disposition
January      Asset                  01/20/20 KMP             140 Communications with K. Duff and J. Rak regarding establishment of separate accounts for                  0.2 0.0153846          $2.15
2020         Disposition                                         deposits of proceeds from anticipated property sales.
January      Asset                  01/21/20 AEP             390 Begin consolidating sixth motion to confirm sales, fifth motion to approve marketing and                 5.1 0.1133333         $44.20
2020         Disposition                                         sales, and motion to amend Order Appointing Receiver into single motion, inventory all
                                                                 exhibits received from title company and create final list of materials still needed to
                                                                 complete the motion, and make revisions consistent with suggestions received from K. Duff
                                                                 and M. Rachlis.
January      Asset                  01/21/20 JR              140 exchange correspondence with the title company requesting additional documents of record                 0.3 0.0333333          $4.67
2020         Disposition                                         needed for the motion to approve sale (.3)
January      Asset                  01/21/20 NM              260 Correspond with courtroom deputy and receivership team regarding filing separate or                      0.3 0.0066667          $1.73
2020         Disposition                                         consolidated motions to approve next batch of sales and sales process.




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
January      Asset                  01/22/20 AEP             390 reconcile all duplicative definitions following merger of separate motions (.4)                            0.4 0.0088889          $3.47
2020         Disposition
January      Asset                  01/22/20 AEP             390 prepare proposed order for fifth motion to confirm sales (1.3)                                             1.3 0.1444444         $56.33
2020         Disposition
January      Asset                  01/22/20 AEP             390 Review and analyze title invoices received from title company, add premium cost                            0.3       0.025        $9.75
2020         Disposition                                         information to master spreadsheet, and compute agency fees for insertion into consolidated
                                                                 motion (.3)
January      Asset                  01/22/20 AEP             390 conduct final online searches in connection with all properties under contract and revise                  1.6 0.0355556         $13.87
2020         Disposition                                         consolidated motion as necessary (1.6)
January      Asset                  01/22/20 AEP             390 third pass through consolidated motion to ensure accuracy and consistency (2.1).                           2.1 0.0466667         $18.20
2020         Disposition
January      Asset                  01/22/20 JR              140 work with A. Porter regarding drafting a table of contents for the 6th motion to confirm sale              0.2 0.0044444          $0.62
2020         Disposition                                         and approve sale (.2)
January      Asset                  01/23/20 AEP             390 review all exhibit numbers in motion to ensure consistency in numbering and double-check                   0.8 0.0177778          $6.93
2020         Disposition                                         all exhibit documents against motion (.8)
January      Asset                  01/23/20 AEP             390 discuss preparation of table of contents with J. Rak and review and edit first draft thereof (.5)          0.5 0.0111111          $4.33
2020         Disposition
January      Asset                  01/23/20 AEP             390 renumber all exhibits in motion to account for last-minute inclusion of additional releases                0.9         0.02       $7.80
2020         Disposition                                         (.9)
January      Asset                  01/23/20 AEP             390 read entire motion and make final edits thereto (2.3).                                                     2.3 0.0511111         $19.93
2020         Disposition
January      Asset                  01/23/20 AEP             390 Prepare additional paragraphs for consolidated motion to incorporate discussions regarding                 1.3 0.0288889         $11.27
2020         Disposition                                         effect of lis pendens filed against certain properties, and to supplement introduction, to
                                                                 include reference to additional releases (1.3)
January      Asset                  01/23/20 JR              140 complete a search and obtain several documents of record from the Cook County recorder                     0.3 0.0333333          $4.67
2020         Disposition                                         of deeds site regarding the exhibits to the motion to confirm and approve sale of various
                                                                 properties (.3)
January      Asset                  01/23/20 JR              140 compile all the exhibits into one document in preparation to file the motion to confirm and                2.7         0.06       $8.40
2020         Disposition                                         approve sale (2.7)
January      Asset                  01/24/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property now under contract                   0.2 0.0044444          $1.73
2020         Disposition                                         attaching consolidated motion and advising regarding timing of potential closings (.2).

January      Asset                  01/24/20 AEP             390 make final revisions to table of contents to consolidated motion (.3)                                      0.3 0.0066667          $2.60
2020         Disposition
January      Asset                  01/24/20 AEP             390 make revisions to draft certificate of service (.2)                                                        0.2 0.0044444          $1.73
2020         Disposition
January      Asset                  01/24/20 JR              140 Exchange correspondence with A. Porter regarding additional documents of record needed                     0.2 0.0222222          $3.11
2020         Disposition                                         for the 5th motion to approve sales as exhibits (.2)
January      Asset                  01/24/20 JR              140 further review of the motion and finalize the table of contents (3.4)                                      3.4 0.3777778         $52.89
2020         Disposition
January      Asset                  01/24/20 JR              140 identify and obtain additional documents of record from the Cook County recorder's office                  0.7 0.0777778         $10.89
2020         Disposition                                         relating to exhibits in the motion (.7)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January      Asset                  01/24/20 JR              140 exchange correspondence with A. Porter regarding same (.2).                                              0.2 0.0222222         $3.11
2020         Disposition
January      Asset                  01/24/20 MR              390 Attention regarding upcoming closings and motion for approval.                                           0.3 0.0066667         $2.60
2020         Disposition
January      Asset                  01/24/20 NM              260 Study motion to approve sales process and confirm sales of other properties before filing                0.3 0.0066667         $1.73
2020         Disposition                                         and correspond with A. Watychowicz regarding same (.3)
January      Asset                  01/28/20 AEP             390 Teleconference with J. Rak regarding methodology for clearing special exceptions from title              0.7 0.0777778        $30.33
2020         Disposition                                         commitments associated with sales of all receivership properties subsumed within fifth
                                                                 motion to confirm sales (.7)
January      Asset                  01/29/20 AEP             390 Read and respond to correspondence from title company underwriter regarding status of                    0.2 0.0222222         $8.67
2020         Disposition                                         fifth motion to confirm sales and anticipated closing dates for properties associated
                                                                 therewith.
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544         $1.89
2020         Operations                                          October reports.
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020         Operations
January      Business               01/14/20 ED              390 Review and analysis of property financial information as basis for discussion of funding                 1.1    0.034375      $13.41
2020         Operations                                          operating reserves (1.1)
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Business               01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020         Operations                                          insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/06/20 MR              390 Attention to third party claims (1.2)                                                                    1.2 0.0148148         $5.78
2020         Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                     1.2 0.0116505          $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/14/20 ED              390 review draft of letter of credit for credit bid (7109 S Calumet) (.2)                                      0.2          0.2      $78.00
2020         Administration
             & Objections

January      Claims                 01/14/20 ED              390 and prepare markup to reflect comments (.8).                                                               0.8          0.8     $312.00
2020         Administration
             & Objections

January      Claims                 01/14/20 ED              390 confer with K. Duff regarding foregoing (.2)                                                               0.2          0.2      $78.00
2020         Administration
             & Objections

January      Claims                 01/16/20 AEP             390 prepare second round of revisions to motion (.1).                                                          0.1 0.0022222          $0.87
2020         Administration
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                       0.6 0.0058252          $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                       0.2 0.0019417          $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                        0.6 0.0058252          $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 Review of revisions to draft letter of credit relating to credit bid purchase of property (7109 S          0.2          0.2      $78.00
2020         Administration                                      Calumet) (.2)
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                           0.2 0.0019417          $0.76
2020         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
January      Claims                 01/21/20 ED          390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961          $2.65
2020         Administration                                  to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED          390 review of November property accounting reports (2.5).                                                  2.5 0.0242718          $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW          140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020         Administration                                  property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED          390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126          $1.14
2020         Administration                                  regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                 01/27/20 ED          390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631          $5.68
2020         Administration                                  remaining amounts reimbursable to receivership (1.5).
             & Objections

February     Asset                  02/04/20 KBD         390 confer with A. Porter regarding title exception issues (.2).                                           0.2 0.0222222          $8.67
2020         Disposition
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222          $0.87
2020         Disposition                                     title work (.2)
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222          $0.87
2020         Disposition                                     properties (.2)
February     Asset                  02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                          0.1 0.0011111          $0.43
2020         Disposition
February     Asset                  02/24/20 KBD         390 Telephone conference with real estate broker regarding property inspection in connection               0.1          0.1      $39.00
2020         Disposition                                     with property sale (.1)
February     Asset                  02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                    0.1 0.0011111          $0.43
2020         Disposition
February     Asset                  02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                          0.4 0.0045455          $1.77
2020         Disposition
February     Asset                  02/26/20 KBD         390 Study and revise response to objections to motion to list properties for sale (1.2)                    1.2 0.0266667         $10.40
2020         Disposition
February     Asset                  02/28/20 KBD         390 study revised response to objections to sale motion and exchange correspondence regarding              1.4 0.0311111         $12.13
2020         Disposition                                     same (1.4)
February     Business               02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                   0.1 0.0011111          $0.43
2020         Operations                                      financial reporting (.1)
February     Business               02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095          $1.49
2020         Operations                                      Duff regarding same (.4)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)               0.4 0.0045455          $1.77
2020         Operations
February     Business               02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                         0.4 0.0045455          $1.77
2020         Operations                                      correspondence with J. Rak relating to same and communications with property manager.

February     Business               02/14/20 KBD         390 review correspondence from property manager regarding tax payment planning (.1).                        0.1 0.0090909          $3.55
2020         Operations
February     Business               02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment                 0.4 0.0045455          $1.77
2020         Operations                                      of real estate taxes (.4)
February     Claims                 02/07/20 KBD         390 Telephone conference with lender's counsel regarding issues relating to draft letter of credit          0.5          0.5     $195.00
2020         Administration                                  (.5)
             & Objections

February     Claims                 02/07/20 KBD         390 study correspondence regarding same (.3)                                                                0.3          0.3     $117.00
2020         Administration
             & Objections

February     Claims                 02/13/20 KBD         390 draft correspondence to lender's counsel regarding tax payments and evaluate same (.3).                 0.3 0.0428571         $16.71
2020         Administration
             & Objections

February     Claims                 02/18/20 KBD         390 study lenders' objections to motion to sell properties (.5)                                             0.5 0.0178571          $6.96
2020         Administration
             & Objections

February     Claims                 02/21/20 KBD         390 Study investors' response to objection to certain lenders to motion to sell properties.                 0.2 0.0222222          $8.67
2020         Administration
             & Objections

February     Claims                 02/22/20 KBD         390 Study correspondence regarding lender objections to motion to sell properties.                          0.2 0.0222222          $8.67
2020         Administration
             & Objections

February     Claims                 02/24/20 KBD         390 telephone conference with lenders' counsel regarding claims process (.8)                                0.8 0.0666667         $26.00
2020         Administration
             & Objections

February     Claims                 02/26/20 KBD         390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to             0.4 0.0049383          $1.93
2020         Administration                                  investor accounts (.4).
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
February     Claims                 02/28/20 KBD             390 draft correspondence to lender's counsel regarding letter of credit (7109 Calumet) (.1).                 0.1          0.1      $39.00
2020         Administration
             & Objections

February     Asset                  02/04/20 AEP             390 review title exceptions associated with various receivership properties subject to fifth motion          0.9          0.1      $39.00
2020         Disposition                                         to confirm sales and assign responsibility for obtaining waivers or hold harmless letters in
                                                                 connection therewith (.9)
February     Asset                  02/05/20 AEP             390 conference with J. Rak to review title commitments on all properties subsumed within fifth               0.8 0.0888889         $34.67
2020         Disposition                                         motion to confirm sales and prepare checklist of remaining title issues requiring resolution
                                                                 prior to closing (.8).
February     Asset                  02/06/20 JR              140 review title commitments and provide special exceptions to the title company to obtain hold              2.3      0.2875       $40.25
2020         Disposition                                         harmless letters (2.3)
February     Asset                  02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                   0.1 0.0011111          $0.29
2020         Disposition
February     Asset                  02/11/20 JR              140 Review title commitment received from title company and save to corresponding electronic                 0.1          0.1      $14.00
2020         Disposition                                         folder for property (7109 Calumet) (.1)
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                         2.8 0.0269231          $3.77
2020         Disposition
February     Asset                  02/13/20 JR              140 Exchange correspondence with M. Rachlis regarding properties and institutional lender                    0.9          0.1      $14.00
2020         Disposition                                         information from the consolidated 5th motion to approve sales (.9)
February     Asset                  02/13/20 MR              390 Follow up regarding on inquiry on sales issues.                                                          0.3 0.0333333         $13.00
2020         Disposition
February     Asset                  02/18/20 NM              260 Study objections to sales motions and correspond with K. Duff and J. Rak regarding same and              1.0 0.0222222          $5.78
2020         Disposition                                         obtaining list of properties for which no objections were filed to send order to court on
                                                                 same.
February     Asset                  02/19/20 MR              390 Attention to email regarding property sales and follow up regarding properties where                     0.2 0.0222222          $8.67
2020         Disposition                                         objections were not made (.2)
February     Asset                  02/19/20 NM              260 Attention to properties not objected to in sixth sales motion.                                           0.5 0.0555556         $14.44
2020         Disposition
February     Asset                  02/20/20 AEP             390 reconcile list of properties not objected to in opposition to consolidated motion and review             0.5 0.0555556         $21.67
2020         Disposition                                         and revise proposed orders granting Motion To Amend Order Appointing Receiver, granting
                                                                 in part Sixth Motion To Approve Sales Process, and granting in part Fifth Motion To Approve
                                                                 Sales (.5).
February     Asset                  02/20/20 AEP             390 Work with K. Duff on reply in support of consolidated motion (.5)                                        0.5 0.0111111          $4.33
2020         Disposition
February     Asset                  02/20/20 AW              140 Review objections to consolidated motion and compile a list of properties that objections did            0.7 0.0777778         $10.89
2020         Disposition                                         not apply to and confer with N. Mirjanich regarding same.
February     Asset                  02/20/20 NM              260 Attention to properties not objected to in sixth sales motion including drafting order for               1.3 0.1444444         $37.56
2020         Disposition                                         entry and exchanging correspondence with receiver team regarding same (1.3)

February     Asset                  02/21/20 AEP             390 read reply in support of consolidated motion (.2).                                                       0.2 0.0044444          $1.73
2020         Disposition




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
February     Asset                  02/21/20 AEP             390 read orders granting in part fifth motion to confirm sales and sixth motion to approve sales          0.2 0.0044444         $1.73
2020         Disposition                                         process and prepare e-mails to buyers' counsel regarding preparation for closing (.2)

February     Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                            0.1 0.0010526         $0.15
2020         Disposition
February     Asset                  02/24/20 JR              140 prepare estimated closing costs for various properties that are being prepared for marketing          3.8 0.3166667        $44.33
2020         Disposition                                         (3.8)
February     Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                0.1 0.0010753         $0.15
2020         Disposition
February     Asset                  02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties            1.2 0.0134831         $1.89
2020         Disposition                                         managed by a management company (1.2)
February     Asset                  02/26/20 JR              140 exchange correspondence with property manager's regarding properties under contract and               0.7 0.0583333         $8.17
2020         Disposition                                         the process for new leases and renewals (.7)
February     Asset                  02/26/20 JR              140 update closing checklists regarding same and regarding updates to drafted closing                     0.4 0.0333333         $4.67
2020         Disposition                                         documents for various properties (.4)
February     Asset                  02/26/20 JR              140 Telephone conference with A. Porter regarding various property matters, status of current             1.9 0.1583333        $22.17
2020         Disposition                                         properties under contract and plan of action (1.9)
February     Asset                  02/26/20 NM              260 Study correspondence relating to fourth marketing tranche and objections to consolidated              0.3 0.0066667         $1.73
2020         Disposition                                         sales motion.
February     Asset                  02/27/20 JR              140 Exchange communication with property manager regarding new leases and renewals for                    0.4 0.0333333         $4.67
2020         Disposition                                         properties under contract (.4)
February     Business               02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                2.8 0.0314607         $4.40
2020         Operations
February     Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real               0.1 0.0010753         $0.15
2020         Operations                                          estate taxes (.1)
February     Business               02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                   0.1 0.0011236         $0.16
2020         Operations
February     Business               02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                 0.1 0.0019608         $0.27
2020         Operations                                          taxes related to paying property taxes (.1)
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                         0.3 0.0028846         $1.13
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                         0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                         0.4 0.0044444         $1.73
2020         Operations
February     Business               02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property              0.1 0.0019608         $0.27
2020         Operations                                          taxes (.1)
February     Business               02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property              0.2 0.0022727         $0.32
2020         Operations                                          taxes (.2).




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/12/20 JR              140 Review email correspondence from K. Duff regarding payments of property taxes related to               0.1 0.0090909         $1.27
2020         Operations                                          various properties and further exchange communication with property manager regarding
                                                                 same (.1)
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222         $0.87
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774         $1.35
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Business               02/27/20 AW              140 Confer with N. Mirjanich and J. Wine regarding housing and administrative court matters and            0.8 0.0727273        $10.18
2020         Operations                                          update docket.
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 AEP             390 Read institutional lenders' memorandum in opposition to receiver's consolidated motion and             2.1 0.0466667        $18.20
2020         Administration                                      prepare outline of issues and responses thereto.
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                       1.2 0.0129032          $1.81
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                       0.2 0.0019231          $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/18/20 MR              390 review and develop possible response to objections on sales motion (.8).                                  0.8 0.0177778          $6.93
2020         Administration
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                  0.5 0.0048077          $1.88
2020         Administration                                      reports.
             & Objections

February     Claims                 02/24/20 MR              390 attention to objection on sales motion and issues on sales (.3).                                          0.3 0.0066667          $2.60
2020         Administration
             & Objections

February     Claims                 02/25/20 MR              390 Further attention to objections by lenders to property sales.                                             2.2 0.0488889         $19.07
2020         Administration
             & Objections

February     Claims                 02/26/20 AW              140 further work on draft response to objections (5.0).                                                       5.0 0.1111111         $15.56
2020         Administration
             & Objections

February     Claims                 02/28/20 AW              140 proofread reply in support of consolidated motion and email Receivership team regarding                   0.9         0.02       $2.80
2020         Administration                                      revisions [long time due to tracking down of all objections filed by institutional lenders] (.9)
             & Objections

February     Claims                 02/28/20 AW              140 communicate with counsel regarding additional revisions and language from previous                        0.3 0.0066667          $0.93
2020         Administration                                      pleadings (.3).
             & Objections

February     Claims                 02/28/20 MR              390 attention to objections to sixth sales moron and review and revise same (1.7).                            1.7 0.0377778         $14.73
2020         Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
February     Claims                 02/28/20 NM          260 correspond with receiver's team regarding response to consolidated sales motion and revise          1.3 0.0288889          $7.51
2020         Administration                                  same (1.3).
             & Objections

March 2020 Asset                    03/05/20 KBD         390 Study revisions to and further revise motion to approve sale of Naples property and                 0.6 0.0133333          $5.20
           Disposition                                       proposed order (.6)
March 2020 Asset                    03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                       0.1 0.0011111          $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence               2.9 0.0329545         $12.85
           Disposition                                       with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182          $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                    1.0 0.0526316         $20.53
           Disposition
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125        $4.88
           Disposition                                       marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111          $0.43
           Disposition                                       impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091          $1.33
           Disposition                                       marketing timing and strategy (.3)
March 2020 Asset                    03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727          $0.89
           Disposition                                       estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222          $0.87
           Disposition                                       efforts (.2).
March 2020 Asset                    03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111          $0.43
           Disposition                                       properties (.1)
March 2020 Asset                    03/24/20 KBD         390 exchange correspondence with A. Porter regarding communication with title company                   0.5 0.0833333         $32.50
           Disposition                                       regarding hold harmless letters (7109 Calumet, 7450 Luella, 8201 Kingston, 7656 Kingston,
                                                             8326-58 Ellis, 7546 Saginaw) (.5).
March 2020 Asset                    03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091         $11.08
           Disposition                                       Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/31/20 KBD         390 study order approving listing and sale of properties and exchange correspondence regarding          0.3 0.0066667          $2.60
           Disposition                                       same (.3)
March 2020 Business                 03/10/20 KBD         390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222          $0.87
           Operations                                        and renewal (.2).
March 2020 Business                 03/11/20 KBD         390 study property manager financial reporting (.4)                                                     0.4      0.0125        $4.88
           Operations
March 2020 Business                 03/13/20 KBD         390 exchange correspondence with J. Wine regarding property repair issues (7109 Calumet, 5618           0.2          0.1      $39.00
           Operations                                        King) (.2).
March 2020 Business                 03/16/20 KBD         390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222          $0.87
           Operations                                        environment (.2).


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated       Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours            Fees
March 2020 Business                 03/17/20 KBD         390 Study correspondence from property manager regarding COVID-19 response measures (.2)                     0.2     0.00625           $2.44
           Operations
March 2020 Business                 03/17/20 KBD         390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                        0.3 0.0034091             $1.33
           Operations
March 2020 Business                 03/18/20 KBD         390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                             0.2 0.0022727             $0.89
           Operations
March 2020 Business                 03/19/20 KBD         390 Exchange correspondence and telephone conferences regarding property management,                         0.4 0.0045455             $1.77
           Operations                                        property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/27/20 KBD         390 Exchange correspondence with J. Wine regarding City administrative actions and payment of                0.2 0.0222222             $8.67
           Operations                                        costs relating to property repairs (.2)
March 2020 Business                 03/30/20 KBD         390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                     0.3 0.0033708             $1.31
           Operations                                        issues and analysis (.3).
March 2020 Claims                   03/23/20 KBD         390 analysis of letter of credit issues and draft correspondence to lender's counsel regarding               1.7          1.7        $663.00
           Administration                                    same (1.7)
           & Objections

March 2020 Claims                   03/24/20 KBD         390 draft correspondence to       E. Duff regarding letter of credit terms (7109 Calumet) (.5)               0.5          0.5        $195.00
           Administration
           & Objections

March 2020 Claims                   03/26/20 KBD         390 study correspondence from E. Duff regarding letter of credit (7109 Calumet) (.3)                         0.3          0.3        $117.00
           Administration
           & Objections

March 2020 Claims                   03/26/20 KBD         390 study lenders' motion for oral argument and to stay property sales, analysis of issues relating          2.3 0.1095238            $42.71
           Administration                                    to same, exchange correspondence regarding same, and outline response to same (2.3).
           & Objections

March 2020 Claims                   03/28/20 KBD         390 exchange correspondence with real estate broker regarding response to lender's motion to                 0.4 0.0190476             $7.43
           Administration                                    stay (.4).
           & Objections

March 2020 Claims                   03/29/20 KBD         390 Study and revise response to lenders' supplemental objection and declaration and exchange                1.3 0.0590909            $23.05
           Administration                                    correspondence with M. Rachlis regarding same.
           & Objections

March 2020 Claims                   03/30/20 KBD         390 Study and revise correspondence to lender's counsel regarding letter of credit (7109                     1.0               1     $390.00
           Administration                                    Calumet) (1.0)
           & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2020 Claims                   03/30/20 KBD             390 study and revise objection to lenders' motion to stay and exchange correspondence with M.               1.7 0.0809524         $31.57
           Administration                                        Rachlis and A. Watychowicz regarding same and declaration (1.7)
           & Objections

March 2020 Claims                   03/31/20 KBD             390 Analyze letter of credit issues, revise draft, and draft correspondence to E. Duff relating to          0.8          0.8     $312.00
           Administration                                        same (.8)
           & Objections

March 2020 Claims                   03/31/20 KBD             390 telephone conference with E. Duff regarding same (.5).                                                  0.5          0.5     $195.00
           Administration
           & Objections

March 2020 Asset                    03/02/20 AEP             390 lender objections to consolidated motion to sell (.3)                                                   0.3 0.0066667          $2.60
           Disposition
March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                      1.6 0.0181818          $2.55
           Disposition
March 2020 Asset                    03/04/20 JR              140 review email from property manager regarding status of closings of various properties under             0.2 0.0166667          $2.33
           Disposition                                           contract and send a reply (.2)
March 2020 Asset                    03/05/20 AEP             390 read, edit, and revise draft reply in support of consolidated motion (2.9)                              2.9 0.0644444         $25.13
           Disposition
March 2020 Asset                    03/05/20 JR              140 organize updated rent roll sent by property manager for current properties under contract               0.4 0.0333333          $4.67
           Disposition                                           (.4)
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222          $0.87
           Disposition
March 2020 Asset                    03/12/20 JR              140 exchange correspondence with K. Duff regarding entity information for property (7109                    0.1          0.1      $14.00
           Disposition                                           Calumet) (.1)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439        $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976          $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 JR              140 exchange correspondence with property manager regarding status of sale for properties                   0.1 0.0083333          $1.17
           Disposition                                           currently under contract (.1)
March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596          $1.73
           Disposition
March 2020 Asset                    03/19/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property subsumed within fifth             0.3 0.0333333         $13.00
           Disposition                                           motion to confirm sales regarding effect of general order, as amended, on timing of closings
                                                                 (.3).
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416          $0.94
           Disposition
March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247          $2.83
           Disposition




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Asset                    03/22/20 AEP             390 Review title commitments on all properties subject to fifth motion to confirm sales, prepare          0.3 0.0333333         $13.00
           Disposition                                           chart for title company indicating effective and revision dates, and prepare e-mail to title
                                                                 underwriter requesting updates to same (.3)
March 2020 Asset                    03/24/20 AEP             390 review closing files and prepare letter for K. Duff to send to title company requesting hold          0.4 0.0666667         $26.00
           Disposition                                           harmless indemnity over remaining special exceptions on current title commitment (.4)

March 2020 Asset                    03/24/20 AW              140 attention to email from A. Porter forwarding all current drafts of proposed orders. (.1).             0.1 0.0022222          $0.31
           Disposition
March 2020 Asset                    03/24/20 AW              140 Research regarding proposed orders relating to sales motions and communicate with K. Duff             0.2 0.0044444          $0.62
           Disposition                                           regarding same (.2)
March 2020 Asset                    03/27/20 JR              140 exchange correspondence with the title company regarding same (.3)                                    0.3       0.025        $3.50
           Disposition
March 2020 Asset                    03/27/20 JR              140 update water certification applications to the title company for processing (2.1)                     2.1       0.175       $24.50
           Disposition
March 2020 Asset                    03/27/20 JR              140 exchange correspondence with K. Duff regarding sale status of all properties (.2).                    0.2 0.0166667          $2.33
           Disposition
March 2020 Asset                    03/27/20 MR              390 Further review of motion to stay and related matters and work on same (2.0)                           2.0 0.0952381         $37.14
           Disposition
March 2020 Asset                    03/27/20 MR              390 prepare for and participate in calls regarding same with asset manager and K. Duff (1.0)              1.0 0.0222222          $8.67
           Disposition
March 2020 Asset                    03/29/20 AEP             390 Review and analyze spreadsheet of administrative and housing court actions prepared by J.             0.9          0.1      $39.00
           Disposition                                           Wine, reconcile spreadsheet information with documents in due diligence folders, and
                                                                 prepare e-mail to J. Wine outlining documentation needed for delivery to prospective buyers
                                                                 and requesting updates on payment of fines (.9)

March 2020 Asset                    03/30/20 AEP             390 read e-mails from J. Wine regarding newly-discovered administrative notices of violation and          0.3 0.0333333         $13.00
           Disposition                                           update closing files for properties awaiting judicial confirmation of sale (.3)

March 2020 Asset                    03/30/20 MR              390 attention to issues regarding properties (.1).                                                        0.1 0.0022222          $0.87
           Disposition
March 2020 Asset                    03/30/20 MR              390 Conferences with asset manager regarding various property issues (.2)                                 0.2 0.0044444          $1.73
           Disposition
March 2020 Asset                    03/31/20 MR              390 attention to orders regarding sales and issues moving forward and conferences regarding               0.4 0.0088889          $3.47
           Disposition                                           same (.4)
March 2020 Asset                    03/31/20 MR              390 Draft and revise motion for clarification and other relief and follow up regarding various            2.2 0.0488889         $19.07
           Disposition                                           issues with K. Duff and A. Watychowicz (2.2)
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                             0.4    0.004878        $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.              1.9 0.0215909          $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold               0.1 0.0009615          $0.38
           Operations                                            properties (.1)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Business                 03/05/20 NM              260 Correspond with property managers regarding violations in court March 9th and March 13th              0.5       0.125       $32.50
           Operations                                            and revise spreadsheet to reflect same and other outstanding City matters.

March 2020 Business                 03/06/20 NM              260 Attention to City of Chicago matters and upcoming administrative hearings (.5)                        0.5       0.125       $32.50
           Operations
March 2020 Business                 03/09/20 JRW             260 Email exchanges with property managers regarding code violations (7600 S. Kingston, 7109 S.           0.3         0.15      $39.00
           Operations                                            Calumet).
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                          0.1 0.0009709          $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845          $3.81
           Operations                                            (2.8)
March 2020 Business                 03/12/20 JRW             260 Prepare for hearings regarding code violations (4750 S. Indiana, 7109 S. Calumet, 8047                2.2         0.55     $143.00
           Operations                                            Manistee, 7600 Kingston) and related email exchanges with property managers regarding
                                                                 evidentiary support (2.2)
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462          $1.50
           Operations
March 2020 Business                 03/13/20 JRW             260 attention to notices of code violations (5618 S MLK, 7109 S Calumet), related email exchange          0.8          0.4     $104.00
           Operations                                            with property managers, and revisions to tracking spreadsheet (.8).

March 2020 Business                 03/13/20 JRW             260 Appearance in administrative court regarding code violations (4750 S. Indiana, 7109 S.                2.3       0.575      $149.50
           Operations                                            Calumet, 8047 Manistee, 7600 Kingston) and related conferences and email exchange with
                                                                 Corporation counsel (2.3)
March 2020 Business                 03/17/20 ED              390 Review draft form of revised management agreements from property manager.                             0.6     0.01875        $7.31
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.           1.8 0.0204545          $2.86
           Operations
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                   0.2 0.0022222          $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy            0.3 0.0033333          $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058          $5.57
           Operations
March 2020 Business                 03/27/20 JRW             260 analysis of pending claims and fines against properties under contract and related                    1.8          0.2      $52.00
           Operations                                            correspondence to A. Porter (1.8).
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                  0.3 0.0033708          $1.31
           Operations
March 2020 Business                 03/30/20 ED              390 call with insurance agent regarding same (.2)                                                         0.2 0.0022472          $0.88
           Operations
March 2020 Business                 03/30/20 ED              390 and loss history (.4)                                                                                 0.4 0.0044944          $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 Review revised statement of value (.4)                                                                0.4 0.0044944          $1.75
           Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
March 2020 Business                 03/30/20 JRW             260 Research administrative code violation notices and orders for properties under contract                2.8         0.35      $91.00
           Operations                                            (7749 S. Yates Blvd., 7109 S. Calumet Ave., 4520 South Drexel Blvd., 7110 S. Cornell, 7546 S.
                                                                 Saginaw, 7600 S. Kingston, 7656 S. Kingston, 6949-59 South Merrill) (2.8)

March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                               0.4 0.0038835          $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which             0.4 0.0038835          $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting              0.5 0.0048544          $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership           0.2 0.0019417          $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                              0.1 0.0009709          $0.38
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                                     1.0 0.0136986          $1.92
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).                   1.4 0.0189189          $2.65
           Administration
           & Objections

March 2020 Claims                   03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review                 2.8 0.0378378          $5.30
           Administration                                        claimant forms.
           & Objections

March 2020 Claims                   03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                          2.1 0.0265823          $3.72
           Administration
           & Objections




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                             Task Hours
  Month                                           Keeper                                                                                                            Hours        Fees
March 2020 Claims                   03/12/20 JR              140 Review claims documents.                                                                   3.1 0.0382716         $5.36
           Administration
           & Objections

March 2020 Claims                   03/13/20 JR              140 Work on claims review process with J. Wine.                                                2.2 0.0271605         $3.80
           Administration
           & Objections

March 2020 Claims                   03/16/20 JR              140 Review claimant forms.                                                                     2.5 0.0308642         $4.32
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                  0.7     0.00875       $1.23
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 Review claimant forms (3.4)                                                                3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/19/20 JR              140 Review claim forms.                                                                        3.3     0.04125       $5.78
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).             0.2 0.0024691         $0.35
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 Review claims forms (5.4)                                                                  5.4 0.0666667         $9.33
           Administration
           & Objections

March 2020 Claims                   03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)          3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                 0.9 0.0111111         $1.56
           Administration
           & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                  Allocated       Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                   Hours            Fees
March 2020 Claims                   03/24/20 JR              140 review claimant forms and rollover information (2.1)                                              2.1 0.0259259             $3.63
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 research for responding to claims vendor regarding property numbers of assets for claims          0.3     0.00375           $0.98
           Administration                                        database (.3)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 update responses to frequently asked questions (.2)                                               0.2 0.0024691             $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 Attention to responding to claimant inquiry (.2)                                                  0.2 0.0024691             $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 extended conference with A. Pruitt regarding analysis of claims and updating of master            0.8 0.0101266             $2.63
           Administration                                        claims spreadsheet (.8)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 email exchange with K. Duff regarding segregation of claims and supporting documentation          0.1 0.0012821             $0.33
           Administration                                        by tranche (.1)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)           0.9     0.01125           $2.93
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 study spreadsheet of claim information received from claims vendor (.8).                          0.8         0.01          $2.60
           Administration
           & Objections

March 2020 Claims                   03/26/20 ED              390 Review and comment on draft response to counsel for lender regarding terms of proposed            1.0               1     $390.00
           Administration                                        letter of credit relating to credit bid (7109 S Calumet).
           & Objections

March 2020 Claims                   03/26/20 MR              390 Briefly review motion to stay filed by lenders and follow up on same.                             0.3 0.0142857             $5.57
           Administration
           & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
March 2020 Claims                   03/28/20 MR          390 work on objection to motion to stay (.8).                                                               0.8 0.0380952         $14.86
           Administration
           & Objections

March 2020 Claims                   03/29/20 MR          390 Further work on response to motion to stay.                                                             2.4 0.1090909         $42.55
           Administration
           & Objections

March 2020 Claims                   03/30/20 AEP         390 Read motion to stay filed by institutional lenders and supporting declaration attached                  3.1    0.147619       $57.57
           Administration                                    thereto, read first draft of proposed opposition thereto, edit and revise same, read, edit and
           & Objections                                      revise draft responsive declaration prepared by receivership broker, and teleconference with
                                                             receivership broker regarding proposed changes to declaration.

March 2020 Claims                   03/30/20 AW          140 communicate with M. Rachlis regarding plan to file opposition to lenders' motion for oral               0.1 0.0047619          $0.67
           Administration                                    argument and to stay (.1)
           & Objections

March 2020 Claims                   03/30/20 AW          140 proofread objection and email counsel regarding same (.3)                                               0.3 0.0142857          $2.00
           Administration
           & Objections

March 2020 Claims                   03/30/20 AW          140 attention to revised draft, prepare exhibit, and finalize (.2)                                          0.2 0.0095238          $1.33
           Administration
           & Objections

March 2020 Claims                   03/30/20 MR          390 Review brief and declaration and follow up regarding same, and various exchanges regarding              3.2    0.152381       $59.43
           Administration                                    issues on affidavit and brief.
           & Objections

March 2020 Claims                   03/31/20 AW          140 proofread motion and email K. Duff and M. Rachlis regarding revisions (.6)                              0.6 0.0285714          $4.00
           Administration
           & Objections

March 2020 Claims                   03/31/20 ED          390 and call with K. Duff to discuss same (.5).                                                             0.5          0.5     $195.00
           Administration
           & Objections

March 2020 Claims                   03/31/20 ED          390 Review and comment on revisions to proposed language for letter of credit for credit bid                0.4          0.4     $156.00
           Administration                                    (7019 S Calumet) (.4)
           & Objections

April 2020   Asset                  04/01/20 KBD         390 attention to hold harmless letter (7109 Calumet) (.1).                                                  0.1          0.1      $39.00
             Disposition


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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                Allocated    Allocated
             Billing Category   Entry Date             Rate                                                Task Description                           Task Hours
  Month                                       Keeper                                                                                                                 Hours         Fees
April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                     0.2 0.0022472          $0.88
             Disposition
April 2020   Business               04/06/20 KBD         390 Study correspondence from property manager regarding property management status.                0.2 0.0064516          $2.52
             Operations
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                         0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                      0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                            0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                    0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                0.2 0.0022989          $0.90
             Operations                                      properties and review information relating to same.
April 2020   Business               04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                0.1 0.0011236          $0.44
             Operations                                      coverage issue (.1)
April 2020   Business               04/15/20 KBD         390 study property manager financial reporting (.4)                                                 0.4 0.0129032          $5.03
             Operations
April 2020   Business               04/16/20 KBD         390 Study property manager financial reporting (.5)                                                 0.5    0.016129        $6.29
             Operations
April 2020   Business               04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).               0.1 0.0011236          $0.44
             Operations
April 2020   Business               04/23/20 KBD         390 Study correspondence from property manager lender reporting and property expenses (.2)          0.2 0.0064516          $2.52
             Operations
April 2020   Business               04/28/20 KBD         390 study property manager operating report information (.2).                                       0.2 0.0064516          $2.52
             Operations
April 2020   Business               04/28/20 KBD         390 Work on property expenses (.4)                                                                  0.4 0.0129032          $5.03
             Operations
April 2020   Business               04/29/20 KBD         390 Study property manager financial reporting and exchange correspondence with asset               0.5    0.016129        $6.29
             Operations                                      manager regarding same (.5)
April 2020   Business               04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                0.2 0.0024691          $0.96
             Operations                                      insurance renewal efforts and cost (.2)
April 2020   Business               04/29/20 KBD         390 telephone conference with asset manager regarding same (.1)                                     0.1 0.0032258          $1.26
             Operations
April 2020   Claims                 04/01/20 KBD         390 Analysis of issue for letter of credit (.2)                                                     0.2          0.2      $78.00
             Administration
             & Objections

April 2020   Claims                 04/01/20 KBD         390 telephone conference and exchange correspondence with E. Duff regarding same and                0.2          0.2      $78.00
             Administration                                  additional revisions to letter of credit (.2)
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2020   Claims                 04/09/20 KBD             390 telephone conference with E. Duff regarding letter of credit analysis (.1).                            0.1          0.1      $39.00
             Administration
             & Objections

April 2020   Claims                 04/14/20 KBD             390 telephone conference with M. Rachlis and E. Duff regarding letter of credit issues (.5)                0.5          0.5     $195.00
             Administration
             & Objections

April 2020   Claims                 04/14/20 KBD             390 prepare for call with claimant's counsel regarding letter of credit (.4)                               0.4          0.4     $156.00
             Administration
             & Objections

April 2020   Claims                 04/14/20 KBD             390 telephone conference with lender's counsel regarding letter of credit (.5)                             0.5          0.5     $195.00
             Administration
             & Objections

April 2020   Claims                 04/29/20 KBD             390 Exchange correspondence regarding draft letter of credit (7109 Calumet) (.1)                           0.1          0.1      $39.00
             Administration
             & Objections

April 2020   Asset                  04/01/20 AEP             390 revise proposed order approving fifth motion to confirm sales and exhibit to sixth motion to           0.2 0.0044444          $1.73
             Disposition                                         approve sales process (.2)
April 2020   Asset                  04/01/20 AEP             390 read and respond to e-mails regarding remaining tasks associated with next round of closings           0.2 0.0222222          $8.67
             Disposition                                         (.2).
April 2020   Asset                  04/01/20 AW              140 additional revisions to orders and submit to Judge Lee as per standing order (.2).                     0.2 0.0044444          $0.62
             Disposition
April 2020   Asset                  04/01/20 AW              140 Attention to exchanges regarding revisions to proposed orders (.1)                                     0.1 0.0022222          $0.31
             Disposition
April 2020   Asset                  04/01/20 JR              140 review email from A. Porter and forward draft copies of proposed orders related to the fifth           0.2 0.0222222          $3.11
             Disposition                                         motion (.2)
April 2020   Asset                  04/01/20 JR              140 review email from buyer's counsel related to preparation for closing (7109 S. Calumet) (.1)            0.1          0.1      $14.00
             Disposition
April 2020   Asset                  04/01/20 JR              140 review email from K. Duff and respond with requested property address information                      0.4         0.04       $5.60
             Disposition                                         anticipated to close in April (.4).
April 2020   Asset                  04/01/20 MR              390 review order on clarification and other orders (.2)                                                    0.2    0.002439        $0.95
             Disposition
April 2020   Asset                  04/01/20 MR              390 Review draft orders and follow up on various related issues regarding orders on marketing              0.5 0.0111111          $4.33
             Disposition                                         and other issues (.5)
April 2020   Asset                  04/02/20 AEP             390 Teleconference with J. Rak regarding assignment of responsibilities for closing document               0.3 0.0333333         $13.00
             Disposition                                         preparation (.3)
April 2020   Asset                  04/02/20 AEP             390 prepare e-mail to counsel for all purchasers of receivership property in next closing tranche          0.5 0.0555556         $21.67
             Disposition                                         regarding confirmation of motion to approve sales and scheduling of closings (.5).




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
April 2020   Asset                  04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and            1.1 0.0135802          $5.30
             Disposition                                         housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                 dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                 brought to the prospective purchasers' attention, and relationship between individual
                                                                 property owners and EquityBuild funds (1.1)

April 2020   Asset                  04/02/20 JR              140 follow up with buyers counsel regarding required information for buyer for closing for                0.2 0.0222222          $3.11
             Disposition                                         various properties (.2)
April 2020   Asset                  04/02/20 JR              140 update water certificate applications for various properties and submit to the title company          1.0 0.1111111         $15.56
             Disposition                                         (1.0)
April 2020   Asset                  04/02/20 JR              140 review email and exchange follow up correspondence with property manager regarding the                0.2 0.0222222          $3.11
             Disposition                                         status of current properties under contract (.2)
April 2020   Asset                  04/02/20 JR              140 update closing checklists regarding same (.4)                                                         0.4 0.0444444          $6.22
             Disposition
April 2020   Asset                  04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and              1.1 0.0135802          $1.90
             Disposition                                         litigation matters (1.1)
April 2020   Asset                  04/03/20 AEP             390 Review full payment certificates received from expediter and update closing checklists (.2)           0.2 0.0222222          $8.67
             Disposition
April 2020   Asset                  04/03/20 JR              140 exchange correspondence with the title company regarding status of previously submitted               0.2 0.0222222          $3.11
             Disposition                                         water applications for properties (.2)
April 2020   Asset                  04/03/20 JR              140 exchange correspondence with real estate broker regarding commission statements for all               0.1 0.0111111          $1.56
             Disposition                                         properties anticipated to close (.1)
April 2020   Asset                  04/06/20 JR              140 exchange correspondence with the title company regarding same (.5)                                    0.5 0.0555556          $7.78
             Disposition
April 2020   Asset                  04/06/20 JR              140 review water certificate status (.6)                                                                  0.6 0.0666667          $9.33
             Disposition
April 2020   Asset                  04/06/20 JR              140 follow up correspondence with the real estate brokers regarding commission statements                 0.1 0.0111111          $1.56
             Disposition                                         (.1).
April 2020   Asset                  04/07/20 AEP             390 teleconference with K. Duff, M. Rachlis, and receivership brokers regarding status of all             0.5 0.0555556         $21.67
             Disposition                                         pending closings, all pending contracts, preparation of new motions to confirm, and related
                                                                 issues (.5)
April 2020   Asset                  04/07/20 AEP             390 review latest draft of title commitment for receivership property (7109 S Calumet) and                0.1          0.1      $39.00
             Disposition                                         prepare e-mail to title company enclosing hold harmless letter and requesting deletion of
                                                                 certain special exceptions that still remain on title (.1)
April 2020   Asset                  04/07/20 JR              140 exchange correspondence with K. Duff and K. Pritchard regarding request for new accounts              0.2 0.0222222          $3.11
             Disposition                                         for closing of various properties (.2)
April 2020   Asset                  04/07/20 JR              140 update master spreadsheet and closing checklists with status of water certificate                     0.4 0.0444444          $6.22
             Disposition                                         applications (.4)
April 2020   Asset                  04/07/20 JR              140 draft water certificate application for property (7109 Calumet) and submit to the title               0.6          0.6      $84.00
             Disposition                                         company for processing in preparation for closing (.6)
April 2020   Asset                  04/08/20 JR              140 exchange correspondence with the title company regarding requested information from the               0.1          0.1      $14.00
             Disposition                                         City of Chicago water department for property water reading (7109 S. Calumet) (.1)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2020   Asset                  04/08/20 JR              140 exchange correspondence with the property manager regarding same (.2)                                    0.2          0.2      $28.00
             Disposition
April 2020   Asset                  04/08/20 JR              140 update closing checklists regarding same (.3)                                                            0.3 0.0333333          $4.67
             Disposition
April 2020   Asset                  04/08/20 JR              140 draft wire instructions for all properties being prepared for closing and update electronic              1.2 0.1333333         $18.67
             Disposition                                         property folders (1.2)
April 2020   Asset                  04/08/20 KMP             140 review bank account records and communicate with J. Rak to identify accounts for numerous                0.3       0.025        $3.50
             Disposition                                         properties in anticipation of sale (.3).
April 2020   Asset                  04/09/20 JR              140 Draft wire instructions for series x properties (1.4)                                                    1.4 0.1555556         $21.78
             Disposition
April 2020   Asset                  04/09/20 JR              140 request wire instructions for upcoming closings from the title company (.1)                              0.1 0.0111111          $1.56
             Disposition
April 2020   Asset                  04/09/20 JR              140 update checklists with the same (.7)                                                                     0.7 0.0777778         $10.89
             Disposition
April 2020   Asset                  04/09/20 JR              140 update wire instructions from the title company (.3)                                                     0.3 0.0333333          $4.67
             Disposition
April 2020   Asset                  04/09/20 JR              140 Cont'd....update closing checklists for various properties regarding same (.5);                          0.5 0.0555556          $7.78
             Disposition
April 2020   Asset                  04/13/20 MR              390 Attention to letter of credit issues on (7109 Calumet) property (.4)                                     0.4          0.4     $156.00
             Disposition
April 2020   Asset                  04/13/20 MR              390 conferences with K. Duff regarding same (.2).                                                            0.2          0.2      $78.00
             Disposition
April 2020   Asset                  04/14/20 JR              140 exchange correspondence with A. Porter related to status of closings regarding series 5                  0.2 0.0222222          $3.11
             Disposition                                         properties (.2)
April 2020   Asset                  04/14/20 JR              140 Review emails related to closing documents for closing properties (.2)                                   0.2 0.0222222          $3.11
             Disposition
April 2020   Asset                  04/14/20 JR              140 update closing checklists for properties that are closing in April (.6)                                  0.6 0.0666667          $9.33
             Disposition
April 2020   Asset                  04/15/20 AEP             390 communications with corporation counsel regarding judgments recorded against portfolio                   0.8 0.0615385         $24.00
             Disposition                                         properties and compare judgment orders to administrative pleadings and forward same to
                                                                 title insurer with explanation that all outstanding judgments will be paid off at next round of
                                                                 closings (.8)
April 2020   Asset                  04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of                  0.3 0.0033708          $1.31
             Disposition                                         special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/15/20 JR              140 exchange follow up correspondence with A. Porter regarding same (.1)                                     0.1 0.0111111          $1.56
             Disposition
April 2020   Asset                  04/15/20 JR              140 Telephone conference with A. Porter regarding status of upcoming closings and related                    0.4 0.0444444          $6.22
             Disposition                                         matters (.4)
April 2020   Asset                  04/15/20 JR              140 draft bill of sale for various properties in preparation for closing in April (.6)                       0.6 0.0666667          $9.33
             Disposition
April 2020   Asset                  04/16/20 AEP             390 prepare e-mail to corporation counsel regarding recently discovered judgments entered, but               0.2 0.0153846          $6.00
             Disposition                                         not yet recorded, against receivership entities and requesting status of same (.2)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2020   Asset                  04/20/20 AEP             390 teleconference with receivership team and receivership brokers regarding status of all                  0.8 0.0444444         $17.33
             Disposition                                         pending transactions (.8)
April 2020   Asset                  04/20/20 AEP             390 update EquityBuild portfolio spreadsheet (.1)                                                           0.1 0.0011364          $0.44
             Disposition
April 2020   Asset                  04/20/20 JR              140 conference call with K. Duff, M. Rachlis, A. Porter and real estate brokers related to current          1.0 0.0222222          $3.11
             Disposition                                         properties under contract and related matters and issues with closings (1.0)

April 2020   Asset                  04/29/20 JR              140 further communication with J. Wine regarding status of closed properties (.2)                           0.2 0.0222222          $3.11
             Disposition
April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                                 0.1 0.0015873          $0.22
             Disposition
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]              0.8 0.0126984          $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Business               04/02/20 ED              390 Begin preparation of memorandum to K. Duff regarding property management agreements                     0.8 0.0258065         $10.06
             Operations                                          (.8)
April 2020   Business               04/08/20 JRW             260 study proof of claim submitted by City of Chicago regarding judgments and fees assessed                 0.3       0.015        $3.90
             Operations                                          against properties and related correspondence (.3).
April 2020   Business               04/10/20 ED              390 Review summary received from insurance agent regarding loss history for renewal process,                0.2 0.0022472          $0.88
             Operations                                          and related documentation and correspondence.
April 2020   Business               04/21/20 ED              390 Call and email correspondence with insurance agent regarding financial information                      0.3 0.0034091          $1.33
             Operations                                          requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED              390 call (.1)                                                                                               0.1 0.0009709          $0.38
             Operations
April 2020   Business               04/21/20 ED              390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                    0.3 0.0029126          $1.14
             Operations
April 2020   Business               04/28/20 ED              390 review and analysis of correspondence and documents regarding guidelines for approval of                0.6         0.02       $7.80
             Operations                                          expenditures by property manager (.6).
April 2020   Claims                 04/01/20 ED              390 Review and revise draft response to lender's counsel regarding terms of letter of credit for            1.2          1.2     $468.00
             Administration                                      credit bid (7109 S Calumet) (1.2)
             & Objections

April 2020   Claims                 04/02/20 JRW             260 conference call with A. Porter and J. Rak regarding code violations against properties under            0.7    0.008642        $2.25
             Administration                                      contract and process for updating records (.7).
             & Objections

April 2020   Claims                 04/08/20 JRW             260 Exchange correspondence with A. Porter regarding claim forms and City of Chicago claim (.3)             0.3       0.015        $3.90
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2020   Claims                 04/10/20 ED              390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED              390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                      documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                      accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
April 2020   Claims                 04/14/20 ED          390 and following call (1.1).                                                                                 1.1          1.1     $429.00
             Administration
             & Objections

April 2020   Claims                 04/14/20 ED          390 Conference call with lender's counsel regarding terms of letter of credit relating to credit bid          0.5          0.5     $195.00
             Administration                                  (7109 S Calumet) and discussion of related comments and issues (.5)
             & Objections

April 2020   Claims                 04/14/20 ED          390 confer with K. Duff and M. Rachlis in preparation for call (.5)                                           0.5          0.5     $195.00
             Administration
             & Objections

April 2020   Claims                 04/14/20 MR          390 call with claimant's counsel regarding same (.5).                                                         0.5          0.5     $195.00
             Administration
             & Objections

April 2020   Claims                 04/14/20 MR          390 conferences with E. Duff and K. Duff regarding issues on letter of credit at property (7109               1.1          1.1     $429.00
             Administration                                  Calumet) (1.1)
             & Objections

April 2020   Claims                 04/15/20 ED          390 preliminary review of March financial reporting to claimants (.3).                                        0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED          390 email correspondence with accountant regarding additional documentation needed for                        0.3 0.0029126          $1.14
             Administration                                  preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED          390 review and analysis of February financial reporting from property managers (.4)                           0.4 0.0038835          $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED          390 Preliminary review of draft February accounting reports (.4)                                              0.4 0.0038835          $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED          390 and email correspondence to property manager requesting supplemental information (.3).                    0.3 0.0029126          $1.14
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                          property management (.3)
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                0.4 0.0048193         $1.88
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                  0.3 0.0036145         $1.41
             Operations                                          (.3)
May 2020     Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                   0.6 0.0072289         $2.82
             Operations                                          renewal of insurance (.6)
May 2020     Business               05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                   0.7 0.0084337         $3.29
             Operations
May 2020     Business               05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                    0.2 0.0024096         $0.94
             Operations                                          correspondence with asset manager regarding same (.2)
May 2020     Business               05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                    0.2 0.0023529         $0.92
             Operations                                          expenses (.2)
May 2020     Business               05/15/20 KBD             390 study financial reporting from property manager (.3)                                                0.3 0.0103448         $4.03
             Operations
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
             Operations


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
May 2020     Business               05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                 0.1 0.0011765          $0.46
             Operations
May 2020     Business               05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).          0.3 0.0037037          $1.44
             Operations
May 2020     Business               05/21/20 KBD             390 Study property management expenses (.7)                                                            0.7 0.0241379          $9.41
             Operations
May 2020     Business               05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)           0.3 0.0037037          $1.44
             Operations
May 2020     Business               05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                       0.1 0.0011765          $0.46
             Operations
May 2020     Business               05/28/20 KBD             390 Attention to expense issues with property manager and exchange various correspondence              0.8 0.0275862         $10.76
             Operations                                          relating the same (.8)
May 2020     Business               05/29/20 KBD             390 Work on issues relating to property manager and expense issues.                                    0.8 0.0266667         $10.40
             Operations
May 2020     Claims                 05/03/20 KBD             390 review correspondence regarding letter of credit (7109 Calumet) (.1)                               0.1          0.1      $39.00
             Administration
             & Objections

May 2020     Claims                 05/24/20 KBD             390 Study correspondence from claimant's counsel regarding letter of credit (7109 Calumet).            0.2          0.2      $78.00
             Administration
             & Objections

May 2020     Claims                 05/25/20 KBD             390 study revised draft letter of credit (7109 Calumet) (.4).                                          0.4          0.4     $156.00
             Administration
             & Objections

May 2020     Asset                  05/01/20 JR              140 update checklists in preparation for closings of various properties (.9).                          0.9          0.1      $14.00
             Disposition
May 2020     Asset                  05/04/20 MR              390 Review and follow up on various emails regarding credit bid issues at properties (7110             1.4          0.7     $273.00
             Disposition                                         Cornell and 7109 Calumet) and attention to other issues on various sales.
May 2020     Asset                  05/06/20 JR              140 review email correspondence from property manager and save closing documents in                    0.2 0.0222222          $3.11
             Disposition                                         electronic folders for various properties (.2)
May 2020     Asset                  05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                             0.1 0.0011494          $0.16
             Disposition
May 2020     Asset                  05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st           0.1 0.0011494          $0.16
             Disposition                                         quarter of 2020 (.1)
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                          1.4 0.0135922          $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management           0.1 0.0009709          $0.14
             Disposition                                         companies (.1)
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                              1.8 0.0174757          $2.45
             Disposition




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
May 2020     Asset                  05/19/20 JR              140 review email from E. Duff regarding financial reporting for property manager and respond            0.1 0.0034483          $0.48
             Disposition                                         accordingly (.1)
May 2020     Asset                  05/26/20 JR              140 review email from property manager regarding new leases and renewals and respond                    0.3          0.3      $42.00
             Disposition                                         accordingly (7109 S. Calumet) (.3)
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214          $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/13/20 KMP             140 communicate with insurance broker to confirm funds transfer (.1).                                   0.1 0.0011628          $0.16
             Operations
May 2020     Business               05/13/20 KMP             140 prepare form for funds transfer to insurance broker for down payment on financing                   0.4 0.0046512          $0.65
             Operations                                          agreement for general liability and umbrella policy and communications with K. Duff and
                                                                 bank representatives regarding same (.4)
May 2020     Business               05/14/20 KMP             140 Communicate with insurance premium funding company regarding contract (.1)                          0.1 0.0011628          $0.16
             Operations
May 2020     Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379          $1.22
             Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                 regarding missing reports.
May 2020     Business               05/19/20 ED              390 Email correspondence with property manager regarding property level reporting under new             0.3 0.0103448          $4.03
             Operations                                          reporting system (.3)
May 2020     Business               05/19/20 ED              390 and review and analysis of related documents (.2)                                                   0.2 0.0068966          $2.69
             Operations
May 2020     Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417          $0.76
             Operations
May 2020     Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126          $1.14
             Operations                                          regarding same
May 2020     Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252          $2.27
             Operations
May 2020     Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544          $1.89
             Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                 amounts by property (.5).
May 2020     Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796          $4.17
             Operations                                          correspondence.
May 2020     Business               05/22/20 KMP             140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512          $0.65
             Operations                                          property insurance finance agreement, and communicate with bank representative and K.
                                                                 Duff regarding same (.4)
May 2020     Business               05/22/20 KMP             140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628          $0.16
             Operations
May 2020     Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126          $1.14
             Operations
May 2020     Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417          $0.76
             Operations
May 2020     Business               05/26/20 KMP             140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256          $0.33
             Operations                                          K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2020     Business               05/28/20 KMP         140 study communications with property manager regarding analysis of funds request (.2)                0.2 0.0051282         $0.72
             Operations
May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                               0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                           0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                      0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                       0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as          1.8 0.0202247         $2.83
             Administration                                  requested, and share same with Receivership team (1.8)
             & Objections

May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
             Administration
             & Objections




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports             0.5 0.0048544          $1.89
             Administration                                  (.5)
             & Objections

May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709          $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

May 2020     Claims                 05/25/20 MR          390 Research and work on draft response to motion to stay (6.2)                                           6.2 0.2952381        $115.14
             Administration
             & Objections

June 2020    Asset                  06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and               0.2 0.0024691          $0.96
             Disposition                                     planning for review of offers.
June 2020    Asset                  06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.             1.5 0.0185185          $7.22
             Disposition                                     Rachlis regarding same (1.5)
June 2020    Business               06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                0.1 0.0012048          $0.47
             Operations
June 2020    Business               06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange                0.4       0.005        $1.95
             Operations                                      correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business               06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                       0.5     0.00625        $2.44
             Operations                                      Pritchard regarding same (.5)
June 2020    Business               06/11/20 KBD         390 Review various violation notices relating to properties and communicate with A.                       0.5 0.0454545         $17.73
             Operations                                      Watychowicz regarding same (.5)
June 2020    Business               06/24/20 KBD         390 Study financial reporting from property manager (.3)                                                  0.3 0.0107143          $4.18
             Operations
June 2020    Business               06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                             0.2 0.0025641          $1.00
             Operations
June 2020    Claims                 06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                              0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                 06/09/20 KBD         390 telephone conferences with accounting firm representative regarding potential issue relating          0.4          0.4     $156.00
             Administration                                  to letter of credit (.4)
             & Objections

June 2020    Claims                 06/09/20 KBD         390 study objections to claims process motion (.5)                                                        0.5    0.005618        $2.19
             Administration
             & Objections




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
June 2020    Claims                 06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)              2.2 0.0247191          $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                      0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                            6.1 0.0685393         $26.73
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 Work on claims motion reply with M. Rachlis (.6)                                                       0.6 0.0067416          $2.63
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 analysis of letter of credit issue (.5)                                                                0.5    0.005618        $2.19
             Administration
             & Objections

June 2020    Claims                 06/17/20 KBD         390 attention to correspondence relating to letter of credit review and discussion (7109 Calumet)          0.2          0.2      $78.00
             Administration                                  (.2).
             & Objections

June 2020    Claims                 06/18/20 KBD         390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit              0.2 0.0022989          $0.90
             Administration                                  bidding (.2)
             & Objections

June 2020    Claims                 06/19/20 KBD         390 Study and revise reply for claims process motion (.7)                                                  0.7 0.0078652          $3.07
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD         390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                         0.2 0.0022989          $0.90
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD         390 study SEC reply brief (.3)                                                                             0.3 0.0033708          $1.31
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2020    Claims                 06/30/20 KBD             390 Study draft letter of credit and related correspondence (7109 Calumet) (.7)                            0.7          0.7     $273.00
             Administration
             & Objections

June 2020    Asset                  06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale             3.2 0.0385542          $5.40
             Disposition                                         related to same (3.2)
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0012048          $0.17
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,                3.2 0.0405063         $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to           2.4 0.0303797         $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                  1.4 0.0177215          $6.91
             Disposition
June 2020    Asset                  06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561          $3.80
             Disposition                                         against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                  06/12/20 AEP             390 read and respond to J. Wine regarding new developments in administrative proceedings and               0.1 0.0090909          $3.55
             Disposition                                         status of effort to identify all actions against EquityBuild properties and pay judgments in
                                                                 order to clear remaining title exceptions (.1)
June 2020    Asset                  06/16/20 MR              390 Attention to various issues regarding property sales (6751 Merrill, 7109 Calumet, 7600                 1.6          0.4     $156.00
             Disposition                                         Kingston, 7656 Kingston).
June 2020    Asset                  06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                   0.2 0.0024691          $0.96
             Disposition                                         portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                  06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                         0.4 0.0049383          $1.93
             Disposition
June 2020    Asset                  06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).               1.5 0.0185185          $7.22
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                 0.7 0.0067961          $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                               0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting            1.9 0.0184466          $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related                1.0 0.0097087          $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                  0.2 0.0019417          $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                     0.2 0.0019417          $0.76
             Operations                                          correspondence with B. Fish regarding same.




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
June 2020    Business               06/11/20 AW          140 attention to notices from administrative court regarding upcoming hearings (6949 S Merrill,          0.5 0.0454545          $6.36
             Operations                                      4520 S Drexel, 416 E 66th, 2527 E 76th, 7546 Saginaw, 7109 S Calumet, 2514 E 77th, 6558 s
                                                             Vernon, 7110 S Cornell, 2804 W 64th, 1422 E 68th, 5618 S MLK) and email J. Wine regarding
                                                             same (.5).
June 2020    Business               06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961          $2.65
             Operations
June 2020    Business               06/12/20 JRW         260 review and organize orders on pending administrative matters and related summary to A.               1.0 0.0909091         $23.64
             Operations                                      Porter (1.0).
June 2020    Business               06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                            0.5 0.0048544          $1.89
             Operations
June 2020    Business               06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting              0.6 0.0058252          $2.27
             Operations                                      reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)
June 2020    Business               06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)           0.2 0.0019417          $0.76
             Operations
June 2020    Business               06/24/20 ED          390 call with accountant to discuss same (.1).                                                           0.1 0.0009709          $0.38
             Operations
June 2020    Business               06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to               0.3 0.0036585          $0.51
             Operations                                      installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020    Claims                 06/01/20 AW          140 communicate with E. Duff regarding supporting documents submitted by institutional lender            0.1       0.025        $3.50
             Administration                                  (.1)
             & Objections

June 2020    Claims                 06/03/20 AW          140 Communicate with M. Rachlis and E. Duff regarding claim and voluminous supporting                    0.2         0.05       $7.00
             Administration                                  documents (.2)
             & Objections

June 2020    Claims                 06/03/20 AW          140 research regarding documents transmitted (.1)                                                        0.1       0.025        $3.50
             Administration
             & Objections

June 2020    Claims                 06/09/20 AW          140 Communicate with K. Duff and J. Wine regarding communication with lenders' counsel                   0.2         0.05       $7.00
             Administration                                  regarding miscoded claim (.2)
             & Objections

June 2020    Claims                 06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor                0.3 0.0033708          $0.47
             Administration                                  regarding processing of remaining Excel files (.3)
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated       Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours            Fees
June 2020    Claims                 06/11/20 MR              390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).              2.2 0.0247191             $9.64
             Administration
             & Objections

June 2020    Claims                 06/11/20 MR              390 Review pleading and prepare for meeting regarding claims (2.4)                                       2.4 0.0269663            $10.52
             Administration
             & Objections

June 2020    Claims                 06/15/20 MR              390 Conferences regarding issues on brief.                                                               0.3 0.0033708             $1.31
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR              390 conferences with K. Duff regarding same (.6)                                                         0.6 0.0067416             $2.63
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR              390 Review and revise brief (3.5)                                                                        3.5 0.0393258            $15.34
             Administration
             & Objections

July 2020    Business               07/17/20 KBD             390 attention to real estate taxes and exchange various correspondence with J. Rak regarding             0.3      0.0375          $14.63
             Operations                                          same (4611 S. Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet,
                                                                 7110 S. Cornell, 1131 E. 79th Pl., 638 N Avers) (.3)
July 2020    Business               07/21/20 KBD             390 draft correspondence to K. Pritchard regarding property expense review and analysis (.1).            0.1 0.0038462             $1.50
             Operations
July 2020    Claims                 07/01/20 KBD             390 Work on letter of credit terms (7109 Calumet) (3.0)                                                  3.0               3   $1,170.00
             Administration
             & Objections

July 2020    Claims                 07/01/20 KBD             390 telephone conference with lender counsel [Nicholson & client Alex Harapolous] and M.                 0.3          0.3        $117.00
             Administration                                      Rachlis regarding letter of credit (7109 Calumet) (.3)
             & Objections

July 2020    Claims                 07/20/20 KBD             390 exchange correspondence with claimants' counsel regarding tax payment planning (.1)                  0.1      0.0125           $4.88
             Administration
             & Objections

July 2020    Claims                 07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and          0.3 0.0033708             $1.31
             Administration                                      J. Wine relating to same (.3)
             & Objections

July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).              1.3 0.0126214             $1.77
             Disposition


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
July 2020    Asset                  07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and                0.9 0.0230769          $9.00
             Disposition                                         completeness in connection with final reconciliation and payment of municipal judgments
                                                                 (.9).
July 2020    Asset                  07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution             0.5 0.0128205          $5.00
             Disposition                                         of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020    Asset                  07/17/20 JR              140 Review various property tax balances and forward to property management, request status                  0.4 0.1333333         $18.67
             Disposition                                         of property income (.4)
July 2020    Asset                  07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative             1.7 0.0435897         $17.00
             Disposition                                         and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                 spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                 reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                 receivership properties, both current and former (1.7).

July 2020    Asset                  07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538         $18.00
             Disposition                                         receivership properties in connection with effort to achieve full and final accord with City of
                                                                 Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020    Asset                  07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026         $25.00
             Disposition                                         with receivership properties and completion of spreadsheet of outstanding judgments (2.5).

July 2020    Asset                  07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718         $37.00
             Disposition                                         violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                 properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                 cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                 reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                 of final sales tranche (3.7)
July 2020    Asset                  07/27/20 AEP             390 review spreadsheet of active administrative and housing court proceedings received from J.               0.5 0.0166667          $6.50
             Disposition                                         Wine and reconcile same with spreadsheet separately assembled to track all known
                                                                 receivership actions (.5).
July 2020    Business               07/02/20 ED              390 Email correspondence with lender's counsel and property manager regarding financial                      0.2          0.2      $78.00
             Operations                                          reporting for property (7109 Calumet).
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                          3.7 0.0359223         $14.01
             Operations
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                                0.4 0.0038835          $1.51
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                              0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                   0.4 0.0038835          $1.51
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related                 0.6 0.0058252          $2.27
             Operations                                          documentation of March property income and expense (.6)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961          $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126          $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008        $1.12
             Operations                                          properties in the estate.
July 2020    Business               07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778          $0.39
             Operations                                          upcoming payment on insurance premium funding (.2).
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767        $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767        $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444          $0.97
             Operations                                          and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                 installment on insurance premium financing agreement, and communications with K. Duff
                                                                 and bank representatives regarding same (.5)
July 2020    Business               07/15/20 AW              140 Attention to notices from administrative court (2514-20 E 77th St, 7656-58 S Kingston, 7109-           0.5          0.1      $14.00
             Operations                                          11 S Calumet, 2527-29 E 76th St, 7600-10 S Kingston Ave, 416-24 E 66th St, 7546-48 S
                                                                 Saginaw Ave), docket update, and email J. Wine regarding same.

July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417          $0.27
             Operations
July 2020    Business               07/21/20 KMP             140 begin review of certain property expenses for 2020 to date, and communications with K. Duff            2.1       0.084       $11.76
             Operations                                          and property manager regarding same (2.1).
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126          $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126          $0.41
             Operations                                          (.3)
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223          $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544          $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252          $0.82
             Operations
July 2020    Business               07/27/20 JRW             260 email exchange with A. Porter regarding status of pending administrative proceedings (.1).             0.1      0.0125        $3.25
             Operations
July 2020    Business               07/27/20 KMP             140 Continue review of property manager's reports.                                                         1.8 0.0461538          $6.46
             Operations
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767        $3.03
             Operations                                          preparation of April accounting reports.


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Business               07/29/20 KMP             140 review and analysis of property manager's invoices (1.8).                                              1.8 0.0461538          $6.46
             Operations
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/31/20 JRW             260 Review continuation orders for administrative hearings (7110 S. Cornell, 1422 E 68th, 7656 S           0.7 0.0777778         $20.22
             Operations                                          Kingston, 2527 E 76th, 7749 S Yates, 6250 S Mozart, 416 E 66th, 7109 S Calumet, 7546 S
                                                                 Saginaw) (.7)
July 2020    Claims                 07/01/20 AW              140 Email M. Rachlis and K. Duff regarding claims against property (7109 S Calumet) (.2)                   0.2          0.2      $28.00
             Administration
             & Objections

July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301        $3.26
             Administration
             & Objections

July 2020    Claims                 07/01/20 JRW             260 communicate with A. Watychowicz and K. Duff regarding claims against property (7109 S.                 0.3          0.3      $78.00
             Administration                                      Calumet) and claimant (.3).
             & Objections

July 2020    Claims                 07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944          $1.17
             Administration                                      regarding discrepancies (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417          $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835          $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049          $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252          $2.27
             Administration
             & Objections




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020    Claims                 07/31/20 JRW             260 additional legal research and draft memo regarding motion to intervene (.8)                             0.8 0.0089888         $2.34
             Administration
             & Objections

August 2020 Business                08/12/20 KBD             390 Study property manager financial reporting (.3)                                                         0.3 0.0142857         $5.57
            Operations
August 2020 Business                08/25/20 KBD             390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                        0.1 0.0014085         $0.55
            Operations
August 2020 Business                08/27/20 KBD             390 review information and exchange correspondence regarding tax payments for properties                    0.2       0.025       $9.75
            Operations                                           (4611 S. Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet, 7110 S.
                                                                 Cornell, 1131 E. 79th Pl., 638 N Avers) (.2).
August 2020 Claims                  08/03/20 KBD             390 analysis of claimant intervention motion and exchange correspondence with J. Wine                       0.3 0.0033708         $1.31
            Administration                                       regarding same (.3)
            & Objections

August 2020 Claims                  08/04/20 KBD             390 draft correspondence to other claimant's counsel regarding requests for records (.3)                    0.3 0.0037037         $1.44
            Administration
            & Objections

August 2020 Claims                  08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                         0.1 0.0011236         $0.44
            Administration
            & Objections

August 2020 Claims                  08/05/20 KBD             390 review correspondence from claimant's counsel regarding corporate statuses and exchange                 0.2 0.0285714        $11.14
            Administration                                       correspondence with E. Duff regarding same (.2)
            & Objections

August 2020 Claims                  08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence                1.3 0.0146067         $5.70
            Administration                                       to J. Wine regarding same.
            & Objections

August 2020 Claims                  08/26/20 KBD             390 exchange correspondence with claimant's counsel regarding real estate taxes for various                 0.2       0.025       $9.75
            Administration                                       properties and exchange correspondence with J. Rak regarding same (.2)
            & Objections

August 2020 Claims                  08/27/20 KBD             390 draft correspondence to claimant's counsel regarding payment of real estate taxes (4611 S.              0.1      0.0125       $4.88
            Administration                                       Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet, 7110 S. Cornell,
            & Objections                                         1131 E. 79th Pl., 638 N. Avers) (.1)

August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Asset                   08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699         $0.53
            Disposition                                          within eighth, ninth, and current tranches (.1)


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
August 2020 Asset                   08/27/20 JR              140 exchange correspondence with property management regarding available funds for property                0.2 0.0666667          $9.33
            Disposition                                          taxes related to properties (7255 Euclid, 6250 Mozart and 7109 Calumet) (.2)

August 2020 Asset                   08/27/20 JR              140 exchange correspondence with K. Duff providing details related to property tax status and              0.3      0.0375        $5.25
            Disposition                                          available funds for payment (.3)
August 2020 Business                08/03/20 KMP             140 Review and analysis of property expenses (2.4)                                                         2.4 0.0615385          $8.62
            Operations
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                 0.4 0.0038095          $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                         1.9 0.0180952          $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/04/20 KMP             140 Continue review and analysis of property expenses.                                                     3.7 0.0948718         $13.28
            Operations
August 2020 Business                08/05/20 KMP             140 Continue review and analysis of property expenses.                                                     4.1 0.1051282         $14.72
            Operations
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                0.8    0.007767        $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 review and analysis of loan agreement provisions (.2)                                                  0.2 0.0285714         $11.14
            Operations
August 2020 Business                08/06/20 ED              390 Research regarding corporate status issue (.6)                                                         0.6 0.0857143         $33.43
            Operations
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                               1.6 0.0152381          $5.94
            Operations
August 2020 Business                08/06/20 JRW             260 review code violation orders (7109 S Calumet, 6250 S Mozart) and update docket (.4).                   0.4          0.2      $52.00
            Operations
August 2020 Business                08/06/20 KMP             140 Continue review and analysis of property expenses.                                                     4.6 0.1179487         $16.51
            Operations
August 2020 Business                08/07/20 KMP             140 continue review and analysis of property expenses and communicate with K. Duff regarding               4.4       0.176       $24.64
            Operations                                           same (4.4)
August 2020 Business                08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be               0.1 0.0011765          $0.46
            Operations                                           listed for sale (.1)
August 2020 Business                08/13/20 ED              390 review and analysis of related documents and reports (.2).                                             0.2 0.0023529          $0.92
            Operations
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                0.1 0.0009709          $0.38
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020              0.3 0.0029126          $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/19/20 JRW             260 Telephone conference with collections counsel and related communication with K. Duff (.2)              0.2 0.0285714          $7.43
            Operations
August 2020 Business                08/20/20 JRW             260 confer with collections counsel, cursory review of orders and related email to A. Porter (.3)          0.3 0.0428571         $11.14
            Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                  0.3 0.0029126          $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/24/20 JR              140 Review various property tax balances.                                                                  1.1 0.0152778          $2.14
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter                 0.4 0.0038835          $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                           0.9      0.0125        $1.75
            Operations
August 2020 Business                08/31/20 JRW             260 review orders from administrative court (7109 S Calumet, 6250 S Mozart) (.1).                          0.1         0.05      $13.00
            Operations
August 2020 Claims                  08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'             0.9 0.0101124          $2.63
            Administration                                       motion to intervene (.9)
            & Objections

August 2020 Claims                  08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.             1.5 0.0168539          $4.38
            Administration                                       Duff and M. Rachlis (1.5)
            & Objections

September    Asset                  09/10/20 KBD             390 telephone conferences with real estate broker regarding ninth sales motion and additional              0.3          0.1      $39.00
2020         Disposition                                         properties (7109 Calumet, 1102 Bingham, 7237 Bennett) (.3)
September    Business               09/02/20 KBD             390 Attention to water payment planning (7109 Calumet, 7656 Kingston, 7237 Bennett, 7201                   0.2         0.05      $19.50
2020         Operations                                          Constance) (.2)
September    Business               09/04/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (7656 Kingston, 7237                   0.2 0.0666667         $26.00
2020         Operations                                          Bennett, 7109 Calumet).
September    Business               09/10/20 KBD             390 Exchange correspondence with J. Rak regarding planning for payment of real estate taxes                0.2       0.025        $9.75
2020         Operations                                          (4611 S. Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet, 7110 S.
                                                                 Cornell, 1131 E. 79th Pl., 638 N Avers) (.2)
September    Business               09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding                  0.3 0.0042857          $1.67
2020         Operations                                          payment of same (.3)
September    Business               09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and                 0.7         0.01       $3.90
2020         Operations                                          lenders (.7)
September    Business               09/18/20 KBD             390 exchange correspondence with J. Rak and K. Pritchard regarding payment of real estate taxes            0.2         0.05      $19.50
2020         Operations                                          and water bills (.2).
September    Business               09/21/20 KBD             390 study correspondence from K. Pritchard regarding water bill payment planning (7109 S                   0.2         0.05      $19.50
2020         Operations                                          Calumet, 7656 S Kingston, 7237 S Bennett, 7201 S Constance) (.2)
September    Business               09/22/20 KBD             390 Study correspondence from J. Rak regarding payment of real estate taxes (.2)                           0.2         0.01       $3.90
2020         Operations
September    Business               09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                   0.1 0.0014925          $0.58
2020         Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
September Business                  09/28/20 KBD             390 Exchange correspondence with J. Rak and property managers regarding real estate taxes                    0.6         0.04      $15.60
2020      Operations                                             (1700 Juneway Terrace, 6250 S Mozart Avenue, 6558 S Vernon Avenue, 1414 E 62nd, 4611 S.
                                                                 Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet, 11318 Church,
                                                                 406 E 87th Place, 61 E 92nd, 7210 Vernon, 6759 Indiana, 1131 E 79th, 7508 Essex Ave).

September Claims                    09/17/20 KBD             390 exchange correspondence with claimant counsel and with J. Rak regarding payment of real                  0.2 0.0333333         $13.00
2020      Administration                                         estate taxes (4611 S. Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S.
          & Objections                                           Calumet, 1131 E. 79th Pl.) (.2)

September    Asset                  09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                       1.8       0.025        $3.50
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                        0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                 0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                     0.2 0.0027778          $0.39
2020         Disposition                                         income available funds related to payment of tax balances (.2)
September    Asset                  09/10/20 MR              390 attention to issues on property (7109 Calumet) (.3).                                                     0.3          0.3     $117.00
2020         Disposition
September    Asset                  09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                    0.2 0.0027778          $0.39
2020         Disposition                                         for all EB properties with sufficient funds (.2).
September    Asset                  09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                     0.1 0.0014085          $0.20
2020         Disposition                                         of all EB properties (.1)
September    Asset                  09/17/20 JR              140 review email from A. Porter relating to payment of taxes and update K. Duff regarding same               0.1      0.0125        $1.75
2020         Disposition                                         (.1)
September    Asset                  09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                         0.1 0.0014085          $0.20
2020         Disposition                                         properties with sufficient funds (.1)
September    Asset                  09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                  0.3 0.0042254          $0.59
2020         Disposition                                         regarding same for all remaining properties in the EquityBuild Estate (.3)

September    Asset                  09/25/20 JR              140 review tax payments produced by property manager (.7).                                                   0.7 0.0097222          $1.36
2020         Disposition
September    Asset                  09/28/20 JR              140 exchange communication with K. Duff regarding same and provide status of tax payments on                 0.2 0.0333333          $4.67
2020         Disposition                                         various properties related to institutional lender (4611 S. Drexel, 6217 S. Dorchester, 7255 S.
                                                                 Euclid, 6250 S. Mozart, 7109 S. Calumet, 1131 E. 79th) (.2)

September    Asset                  09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                    0.1 0.0015873          $0.22
2020         Disposition
September    Asset                  09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                   0.2 0.0030769          $0.43
2020         Disposition                                         payments (.2)
September    Asset                  09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed               0.1 0.0015873          $0.22
2020         Disposition                                         properties (.1)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                        0.2 0.0019417          $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding           0.7 0.0098592          $1.38
2020         Operations                                          tax balances (.7).
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                      0.2 0.0019417          $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                     0.3 0.0029126          $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                       0.3 0.0029126          $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/11/20 JRW             260 review continuation orders for administrative proceedings (6558 S Vernon, 7109 S Calumet,               0.3          0.1      $26.00
2020         Operations                                          7656 S Kingston) and update records and A. Porter regarding same (.3).
September    Business               09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                         0.2 0.0028169          $0.39
2020         Operations                                          payment of taxes of EquityBuild properties.
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting                1.2 0.0116505          $4.54
2020         Operations                                          (1.2)
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                          0.2 0.0019417          $0.76
2020         Operations
September    Business               09/17/20 KMP             140 Further communications with K. Duff and J. Rak regarding outstanding real estate taxes for              0.2       0.025        $3.50
2020         Operations                                          various properties in EB portfolio.
September    Business               09/20/20 AEP             390 Review and analyze administrative orders entered in numerous cases involving receivership               0.6         0.12      $46.80
2020         Operations                                          properties (5955 S Sacramento, 7748 S Ellis, 7600 S Kingston, 431 E 42nd, and 7109 S
                                                                 Calumet) and update litigation spreadsheet (.6)
September Business                  09/20/20 AEP             390 review and analyze recent orders issued in cases involving receivership properties still under          0.4 0.0666667         $26.00
2020      Operations                                             contract (7109 S Calumet, 7600 S Kingston, 7656 S Kingston, 7237 S Bennett, 6558 S Vernon,
                                                                 and 5618 S King) and update closing checklists accordingly (.4)

September    Business               09/21/20 KMP             140 communicate with property manager to provide instructions for achieving payment of same                 0.2         0.05       $7.00
2020         Operations                                          (.2).
September    Business               09/21/20 KMP             140 review follow-up request from property manager regarding outstanding water bills and                    0.4          0.1      $14.00
2020         Operations                                          prepare summary for K. Duff identifying requested amounts, cash on hand, and other
                                                                 expenses due on properties, and suggest plan of action (.4)
September    Business               09/22/20 JR              140 review email from property manager and update electronic files for various properties with              0.2 0.0028571          $0.40
2020         Operations                                          property tax receipts (.2)
September    Business               09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                  1.2 0.0171429          $2.40
2020         Operations
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly             0.2 0.0019417          $0.27
2020         Operations                                          (.2).
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.               1.2 0.0116505          $4.54
2020         Operations
September    Business               09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)              0.2 0.0028571          $0.40
2020         Operations




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
October      Asset                  10/07/20 KBD             390 exchange correspondence with A. Porter regarding planning for additional sales (6558 South              0.2       0.025        $9.75
2020         Disposition                                         Vernon, 1700 West Juneway, 7201 South Dorchester, 7508 South Essex, 431 East 42nd
                                                                 Street, 7237 South Bennett, 638 North Avers, and 7109 South Calumet) (.2).

October      Asset                  10/12/20 KBD             390 Confer with real estate broker, A. Porter, and M. Rachlis regarding efforts and planning to             1.2          1.2     $468.00
2020         Disposition                                         sell property (7109 Calumet) (1.2)
October      Asset                  10/16/20 KBD             390 property manager liens and expenses (1700-08 W Juneway Terrace, 7201-07 S Dorchester                    0.2 0.0142857          $5.57
2020         Disposition                                         Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401
                                                                 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40
                                                                 N Avers Avenue, 7255-57 S Euclid Avenue) (.2).
October      Asset                  10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                     0.2         0.05      $19.50
2020         Disposition                                         properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)
October      Asset                  10/30/20 KBD             390 confer with A. Porter and real estate broker regarding property sale efforts and various                1.2          0.2      $78.00
2020         Disposition                                         related issues (7600 Kingston, 7656 Kingston, 6949 Merrill, 7237 Bennett, 7109 Calumet, 638
                                                                 Avers) (1.2).
October      Business               10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                         0.2 0.0032258          $1.26
2020         Operations
October      Business               10/05/20 KBD             390 review correspondence from J. Wine regarding administrative hearing actions (7109                       0.1          0.1      $39.00
2020         Operations                                          Calumet) (.1).
October      Business               10/09/20 KBD             390 study financial reporting from property managers (.5)                                                   0.5 0.0080645          $3.15
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).             0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                               0.2 0.0034483          $1.34
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                      0.3 0.0028571          $1.11
2020         Operations
October      Claims                 10/07/20 KBD             390 work on efforts to resolve dispute with lender regarding letter of credit (7109 Calumet) (.3).          0.3          0.3     $117.00
2020         Administration
             & Objections

October      Claims                 10/14/20 KBD             390 analysis of letter of credit issues and draft correspondence to A. Porter and M. Rachlis                0.6          0.6     $234.00
2020         Administration                                      regarding same (7109 Calumet) (.6)
             & Objections

October      Asset                  10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903          $1.58
2020         Disposition                                         lenders (.7)
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                         3.3 0.0320388          $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 Review email from J. Wine and provide requested closing update related to property (7109 S.             0.1          0.1      $14.00
2020         Disposition                                         Calumet) (.1)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)              0.9 0.0087379          $1.22
2020         Disposition
October      Asset                  10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future            0.4 0.0064516          $2.52
2020         Disposition                                         marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                     0.5 0.0048544          $0.68
2020         Disposition                                         information (.5)
October      Asset                  10/12/20 AEP             390 Teleconference with K. Duff, M. Rachlis, and receivership broker regarding receivership                1.2          1.2     $468.00
2020         Disposition                                         property sales (7109 S Calumet) (1.2)
October      Asset                  10/30/20 AEP             390 teleconference with K. Duff and receivership broker regarding eighth motion to confirm and             1.3 0.2166667         $84.50
2020         Disposition                                         status of sales of all other as-yet unconveyed properties (1.3)
October      Business               10/01/20 JRW             260 Exchange correspondence with K. Duff and A. Porter regarding pending administrative                    0.4          0.4     $104.00
2020         Operations                                          proceedings (7109 S Calumet) and related research regarding same (.4)

October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).            0.2 0.0019417          $0.76
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                 0.1 0.0009709          $0.38
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                   0.9 0.0087379          $3.41
2020         Operations
October      Business               10/05/20 JRW             260 study notices of violation, evidence in file from property manager's redress of violations in          0.5          0.5     $130.00
2020         Operations                                          and counts in two cases against property (7109 S Calumet) (.5)
October      Business               10/05/20 JRW             260 review new orders in administrative matters (7656-58 S Kingston, 7109 S Calumet, 7600-10 S             0.5       0.125       $32.50
2020         Operations                                          Kingston, 416-24 E 66th St) and work with K. Pritchard to update hearing docket (.5).

October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports               0.3 0.0029126          $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                     0.1 0.0009709          $0.38
2020         Operations
October      Business               10/06/20 JRW             260 Research regarding status of administrative and housing court proceedings (4611 S Drexel,              0.3 0.0428571         $11.14
2020         Operations                                          6217 S Dorchester, 7255 S Euclid, 6250 S Mozart, 7109 S Calumet, 1131-41 E 79th Pl., 638 N.
                                                                 Avers) and related exchange of correspondence with claimant's counsel (.3)

October      Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                 0.8    0.007767        $3.03
2020         Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                 reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED              390 final review of May reports (1.0).                                                                     1.0 0.0097087          $3.79
2020         Operations
October      Business               10/07/20 KMP             140 Prepare form for wire transfer to financing company for payment of insurance premium                   0.3 0.0048387          $0.68
2020         Operations                                          financing installment and communications with K. Duff and bank representatives regarding
                                                                 same.
October      Business               10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting              0.5 0.0048544          $1.89
2020         Operations                                          reports (.5).


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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631          $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                   0.9 0.0145161          $5.66
2020         Operations                                      explanations of insurance expense for all unsold properties and inspection expenses for
                                                             certain properties (.9)
October      Business               10/08/20 ED          390 review of premium finance agreements executed in connection with renewals of property                0.3 0.0048387          $1.89
2020         Operations                                      and liability insurance (.3)
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796          $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252          $2.27
2020         Operations
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544          $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/09/20 KMP         140 study property manager's reporting for September and review backup documentation on                  0.8 0.0533333          $7.47
2020         Operations                                      owner portal relating to same (.8).
October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/20/20 JRW         260 correspondence to claimant's counsel regarding status of administrative proceedings (6217 S          0.4          0.1      $26.00
2020         Operations                                      Dorchester, 6250 S Mozart, 7109 S Calumet, 638 N. Avers) (.4)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020         Operations                                      property manager (.2)
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED          390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020         Operations
October      Business               10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020         Operations                                      reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                             reimbursed from proceeds of property sales (1.3)
October      Business               10/27/20 ED          390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020         Operations                                      property financial reporting (.2).
October      Business               10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                    0.2 0.0033333          $0.47
2020         Operations                                      financing installments in light of various property sales.




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020         Operations                                          reports, and review of related financial information.
October      Business               10/30/20 KMP             140 Communication with insurance broker regarding updated payment schedules for insurance                0.2 0.0033333          $0.47
2020         Operations                                          premium financing installments in light of various property sales (.2)
October      Business               10/30/20 KMP             140 prepare form for funds transfer to premium financing company for installment payment on              0.4 0.0066667          $0.93
2020         Operations                                          property insurance, and communicate with K. Duff and bank representatives regarding same
                                                                 (.4)
November     Business               11/04/20 KBD             390 Exchange correspondence with K. Pritchard regarding property manager records.                        0.2 0.0051282          $2.00
2020         Operations
November     Asset                  11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                         0.7    0.012069        $1.69
2020         Disposition
November     Asset                  11/18/20 AEP             390 review administrative orders entered in proceedings affecting current and former                     0.2         0.05      $19.50
2020         Disposition                                         receivership properties (6558 S Vernon, 7600 S Kingston, 7656 S Kingston, and 7109 S
                                                                 Calumet), update tracking spreadsheet, and disseminate to counsel for purchasers (.2)

November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020         Operations
November     Business               11/03/20 KMP             140 begin collecting and downloading documents from property managers (1.2).                             1.2 0.0461538          $6.46
2020         Operations
November     Business               11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)              0.3 0.0050847          $1.98
2020         Operations
November     Business               11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                               0.2 0.0033898          $1.32
2020         Operations
November     Business               11/04/20 JRW             260 Attention to administrative orders (6250 S Mozart, 7109 S Calumet, 7750 S Muskegon) (.2)             0.2 0.0666667         $17.33
2020         Operations
November     Business               11/04/20 KMP             140 review information and documents on property manager's portal and communicate with K.                0.8 0.0307692          $4.31
2020         Operations                                          Duff regarding same (.8).
November     Business               11/04/20 KMP             140 Continue collecting and downloading documents from property manager's electronic data                0.9 0.0346154          $4.85
2020         Operations                                          file (.9)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020         Operations
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020         Operations                                          property reports (.3)
November     Business               11/06/20 ED              390 email correspondence with lender's counsel regarding access to property (7109 S Calumet)             0.1          0.1      $39.00
2020         Operations                                          for inspection by appraiser (.1).
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)


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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
November     Business               11/09/20 KMP             140 work on analysis of payments to property managers for property expenses (2.4).                     2.4 0.0923077         $12.92
2020         Operations
November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still             0.1 0.0009524          $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/10/20 KMP             140 Further work on analysis of payments to property managers for property expenses.                   3.2 0.1230769         $17.23
2020         Operations
November     Business               11/11/20 KMP             140 Prepare form for transfer of funds for payment of insurance premium funding and                    0.4 0.0074074          $1.04
2020         Operations                                          communicate with K. Duff and bank representative regarding same (.4)
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial              0.2 0.0019048          $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/12/20 KMP             140 Follow up on transfer of funds for payment of insurance premium funding and communicate            0.2 0.0037037          $0.52
2020         Operations                                          with K. Duff and bank representative regarding same.
November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June             0.3 0.0028571          $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)           1.2 0.0193548          $2.71
2020         Operations
November     Business               11/17/20 AW              140 Attention to notices from administrative court regarding properties (416 E 66th, 7109 S            0.4          0.1      $14.00
2020         Operations                                          Calumet, 2527 E 76th, 7600 S Kingston, 2514 S 77th, 7656 S Kingston).
November     Business               11/17/20 KMP             140 Work on analysis of funds expended for property expenses, in connection with anticipated           1.1 0.0423077          $5.92
2020         Operations                                          motion for restoration.
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                0.5 0.0047619          $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/19/20 JRW             260 Review administrative orders (7656 S Kingston, 7600 S Kingston, 7109 S Calumet, 6558 S             0.2         0.05      $13.00
2020         Operations                                          Vernon) and confer with A. Watychowicz regarding docketing of same (.2)
November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July              0.3 0.0028571          $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
November     Business               11/25/20 KMP             140 Prepare request form for transfer of funds to financing company for insurance premium              0.4 0.0074074          $1.04
2020         Operations                                          installment payment, and communicate with bank representatives and K. Duff regarding
                                                                 same.
December     Asset                  12/04/20 KBD             390 telephone conference with real estate broker regarding various remaining properties and            0.3       0.006        $2.34
2020         Disposition                                         related sales issues (.3).
December     Asset                  12/17/20 JR              140 draft closing documents for property (638 N. Avers, 1422 E. 68th, 2800 E. 81st, 4611 S.            3.9 0.3545455         $49.64
2020         Disposition                                         Drexel, 4750 S. Indiana, 6217 S. Dorchester, 7024 S. Paxton, 7109 S. Calumet, 7237 S.
                                                                 Bennett, 7255 S. Euclid, 7840 S. Yates) (3.9).
December     Asset                  12/18/20 JR              140 draft closing documents for unsold properties (7024 S. Paxton, 7109 S. Calumet, 7237 S.            1.8         0.36      $50.40
2020         Disposition                                         Bennett, 7255 S. Euclid, 7840 S. Yates) (1.8).
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.             0.2 0.0019048          $0.74
2020         Operations
December     Business               12/03/20 KMP             140 work on analysis of paid property expenses for April-November 2020, including identifying          2.6          0.1      $14.00
2020         Operations                                          supporting documentation (2.6).




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
December     Business               12/04/20 ED          390 Email correspondence with lender's counsel regarding arrangements for property access                0.1          0.1      $39.00
2020         Operations                                      (7109 S Calumet) for inspection (.1)
December     Business               12/04/20 ED          390 Email correspondence with property manager regarding arrangements for property access                0.1          0.1      $39.00
2020         Operations                                      (7109 S Calumet) for inspection(.1)
December     Business               12/04/20 ED          390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020         Operations                                      accounting reports and preparation of draft September reports (.1).
December     Business               12/04/20 ED          390 email correspondence with J. Wine regarding documentation received from lenders (.4)                 0.4 0.0044944          $1.75
2020         Operations
December     Business               12/04/20 KMP         140 Work on analysis of paid property expenses for April-November 2020, including identifying            3.3 0.1269231         $17.77
2020         Operations                                      and compiling supporting documentation.
December     Business               12/09/20 ED          390 Further email correspondence with lender's counsel and property manager regarding                    0.1          0.1      $39.00
2020         Operations                                      arrangements for property inspection (7109 S Calumet) (.1)
December     Business               12/09/20 ED          390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                      related financial reporting from property managers (2.1).
December     Business               12/09/20 KMP         140 Prepare request for funds transfer to financing company for payment of insurance premium             0.4 0.0075472          $1.06
2020         Operations                                      financing and communications with K. Duff and bank representatives regarding same (.4)

December     Business               12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                      property managers (2.6).
December     Business               12/10/20 ED          390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations
December     Business               12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                      preparation of September property accounting reports (.1)
December     Business               12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020         Operations                                      accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020         Operations
December     Business               12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                      properties (.9).
December     Business               12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020         Operations                                      changes (.4)
December     Business               12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance            0.2 0.0037736          $0.53
2020         Operations                                      premium financing and communicate with K. Duff regarding same (.2)
December     Business               12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance             0.2 0.0037736          $0.53
2020         Operations                                      premium financing and communicate with K. Duff and bank representatives regarding same
                                                             (.2)
December     Business               12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020         Operations                                      of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
December     Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                      0.2 0.0019048          $0.74
2020         Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                 relating to same.
December     Claims                 12/04/20 JRW             260 exchange correspondence with E. Duff regarding loan issue (.2)                                        0.2 0.0022472          $0.58
2020         Administration
             & Objections

January      Asset                  01/06/21 KBD             390 Telephone conference with real estate broker regarding disposition of assets (638-40 N Avers          0.2          0.1      $39.00
2021         Disposition                                         Avenue, 7109-19 S Calumet Avenue) (.2)
January      Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                      0.2 0.0019048          $0.74
2021         Operations
January      Business               01/11/21 KBD             390 study other property manager's financial reports (.4)                                                 0.4 0.0444444         $17.33
2021         Operations
January      Business               01/11/21 KBD             390 attention to payment of property and general liability insurance (.3).                                0.3 0.0057692          $2.25
2021         Operations
January      Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property              0.2 0.0019048          $0.74
2021         Operations                                          expenses.
January      Business               01/27/21 KBD             390 Attention to administrative orders for properties and exchange correspondence relating to             0.2         0.04      $15.60
2021         Operations                                          same (7600-10 S Kingston Avenue, 5618-20 S Martin Luther King Drive, 7109-19 S Calumet
                                                                 Avenue, 7656-58 S Kingston Avenue, 6554-58 S Vernon Avenue) (.2)

January      Business               01/28/21 KBD             390 Exchange correspondence regarding housing court cases (7024-32 S Paxton Avenue, 7109-19               0.1         0.05      $19.50
2021         Operations                                          S Calumet Avenue) (.1)
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                    0.1 0.0009524          $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase               2.2 0.0203704          $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Asset                  01/15/21 JR              140 review email from leasing manager regarding lease renewal requests for properties currently           0.2          0.1      $14.00
2021         Disposition                                         under contract (7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue) and confer with A.
                                                                 Porter regarding same (.2)
January      Asset                  01/27/21 AEP             390 review administrative orders forwarded by J. Wine, reconcile same against property closing            0.4 0.0571429         $22.29
2021         Disposition                                         checklists, and prepare responsive e-mail requesting report on status of additional
                                                                 outstanding cases (7656-58 S Kington Avenue, 6554-58 S Vernon Avenue, 6356 S California
                                                                 Avenue, 5618-20 S Martin Luther King Drive, 7109-19 S Calumet Avenue, 7024-32 S Paxton
                                                                 Avenue, 6217-27 S Dorchester) (.4).
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                  0.5 0.0047619          $1.86
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                        0.3 0.0028571          $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                        0.1 0.0009524         $0.37
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond               0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                    4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October              0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                     1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                        2.4 0.0228571         $3.20
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                    0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/11/21 KMP             140 Prepare form for transfer of funds to financing company for insurance premium installment,          0.4 0.0076923         $1.08
2021         Operations                                          and communicate with bank representatives and K. Duff regarding same (.4)

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and             0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for              0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 review email from K. Pritchard and provide cash balance report as requested for closed              0.2 0.0060606         $0.85
2021         Operations                                          properties (.2).
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                0.4 0.0038095         $1.49
2021         Operations
January      Business               01/15/21 KMP             140 revise list of EB entities to include tax identification numbers (.5).                              0.5 0.0178571         $2.50
2021         Operations
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review               0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration            1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
January      Business               01/18/21 ED          390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524          $0.37
2021         Operations
January      Business               01/18/21 ED          390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286          $4.46
2021         Operations                                      transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                             with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/19/21 AW          140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286          $1.60
2021         Operations                                      prepare same as per E. Duff's request.
January      Business               01/19/21 ED          390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619          $1.86
2021         Operations                                      allocations of insurance costs, application of refunds, and reduction of payments due under
                                                             insurance premium finance agreements, to reflect changes in property portfolio due to
                                                             property sales (.5)
January      Business               01/24/21 ED          390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095          $1.49
2021         Operations                                      and effect on data presented in September accounting reports (.4)

January      Business               01/24/21 ED          390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095          $1.49
2021         Operations
January      Business               01/24/21 ED          390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143          $2.23
2021         Operations                                      properties (.6)
January      Business               01/25/21 ED          390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905          $6.31
2021         Operations                                      reports (1.7)
January      Business               01/25/21 ED          390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619        $2.97
2021         Operations                                      updates (.8)
January      Business               01/25/21 ED          390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905          $6.31
2021         Operations                                      and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                             email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 KMP         140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095          $0.53
2021         Operations
January      Business               01/27/21 AW          140 Review new orders regarding multiple properties and update docket (2514-2520 East 77th               0.3         0.05       $7.00
2021         Operations                                      Street, 7656-58 S Kingston Avenue, 7109-19 S Calumet Avenue, 2527-29 E 76th Street, 7600-
                                                             10 S Kingston Avenue, 2804 W 64th Street, 5618-20 S Martin Luther king Drive, 416-24 E 66th
                                                             Street).
January      Business               01/27/21 JRW         260 Review administrative court orders (7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue,            0.3         0.05      $13.00
2021         Operations                                      65-5458 S Vernon Avenue, 7109-19 S Calumet Avenue, 5618-20 S Martin Luther King Drive,
                                                             6356 S California Avenue) and related attention to docketing (.3)

January      Business               01/27/21 KMP         140 Prepare form for funds transfer to financing company for payment of insurance premium                0.4 0.0076923          $1.08
2021         Operations                                      installment and communicate with bank representative and K. Duff regarding same.

January      Business               01/28/21 JRW         260 related research regarding status of administrative proceedings (7024-32 S Paxton Avenue,            0.5         0.25      $65.00
2021         Operations                                      7109-19 S Calumet Avenue) (.5)




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7109-19 S Calumet Avenue                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated       Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours            Fees
January      Business               01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance             0.4 0.0076923             $1.08
2021         Operations                                          premium financing, and forward to K. Duff.
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143             $0.80
2021         Administration                                      lenders.
             & Objections

January      Claims                 01/20/21 JP                   95 Review lender statement of accounts, full client history, and mortgagee spreadsheet and          1.0               1      $95.00
2021         Administration                                          complete claims analysis for property (7109-19 S Calumet Avenue) (1.0)
             & Objections

February     Business               02/02/21 KBD             390 Exchange correspondence regarding real estate tax planning (.2)                                      0.2 0.0040816             $1.59
2021         Operations
February     Business               02/03/21 KBD             390 Confer with A. Porter regarding property management issues (7237-43 S Bennett Avenue,                0.3         0.15         $58.50
2021         Operations                                          7109-19 S Calumet Avenue) (.3)
February     Business               02/08/21 KBD             390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)               0.2 0.0040816             $1.59
2021         Operations
February     Business               02/08/21 KBD             390 study property manager financial reporting and draft related correspondence to asset                 0.5 0.0384615            $15.00
2021         Operations                                          manager and K. Pritchard (6250 S Mozart Street, 9610 S Woodlawn Avenue, 638-40 N Avers
                                                                 Avenue, 7109-19 S Calumet Avenue, 7237-43 S Bennett Avenue, 1401 W 109th Place, 310 E
                                                                 50th Street, 6807 S Indiana Avenue, 7255-57 S Euclid Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6554-58 S Vernon Avenue) (.5).

February     Business               02/12/21 KBD             390 Telephone conference with A. Porter regarding property management transition (7109-19 S              0.1          0.1         $39.00
2021         Operations                                          Calumet Avenue).
February     Business               02/15/21 KBD             390 Attention to transition of property management services (7109-19 S Calumet Avenue) (.1)              0.1          0.1         $39.00
2021         Operations
February     Business               02/15/21 KBD             390 exchange correspondence with J. Rak regarding property tax balances and study information            0.2 0.0040816             $1.59
2021         Operations                                          (.2)
February     Business               02/16/21 KBD             390 exchange correspondence with K. Pritchard regarding property management records (7109-               0.1          0.1         $39.00
2021         Operations                                          19 S Calumet Avenue) (.1).
February     Business               02/17/21 KBD             390 exchange correspondence with property manager [WPD] regarding transition of property                 0.1          0.1         $39.00
2021         Operations                                          management (7109-19 S Calumet Avenue) (.1).
February     Claims                 02/03/21 KBD             390 Confer with A. Porter regarding credit bid and letter of credit issues (7109-19 S Calumet            0.1         0.05         $19.50
2021         Administration                                      Avenue, 638-40 N Avers Avenue) (.1)
             & Objections

February     Asset                  02/01/21 AEP             390 teleconference regarding replacement of property management firm (7109-19 S Calumet                  0.2          0.2         $78.00
2021         Disposition                                         Avenue) (.2).
February     Asset                  02/01/21 JR              140 draft closing documents for property (7109-19 S Calumet Avenue) (1.7)                                1.7          1.7        $238.00
2021         Disposition




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
February     Asset                  02/01/21 JR              140 review rent rolls for remaining unsold properties (638-40 N Avers Avenue, 1422-24 E 68th              0.2 0.0181818          $2.55
2021         Disposition                                         Street, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 4750-52 S Indiana Avenue, 6217-
                                                                 27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 7109-19 S Calumet Avenue, 7237-43 S
                                                                 Bennett Avenue, 7255-57 S Euclid Avenue, 7840-42 S Yates Avenue) and request same from
                                                                 property management (.2)
February     Asset                  02/03/21 AEP             390 Teleconference with K. Duff regarding property manager (7109-19 S Calumet Avenue) (.2)                0.2          0.2      $78.00
2021         Disposition
February     Asset                  02/03/21 JR              140 Update rent rolls for unsold properties in electronic property folders for unsold properties          0.3 0.0272727          $3.82
2021         Disposition                                         (638-40 N Avers Avenue, 1422-24 E 68th Street, 2800-06 E 81st Street, 4611-17 S Drexel
                                                                 Boulevard, 4750-52 S Indiana Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton
                                                                 Avenue, 7109-19 S Calumet Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue,
                                                                 7840-42 S Yates Avenue) (.3)
February     Asset                  02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for              0.2         0.04       $5.60
2021         Disposition                                         net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                 Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February     Asset                  02/08/21 AEP             390 teleconference with property manager regarding potential transition of property                       0.2          0.1      $39.00
2021         Disposition                                         management responsibilities on receivership properties (7237-43 S Bennett Avenue, 7109-19
                                                                 S Calumet Avenue) to prospective new purchasers (.2)
February     Asset                  02/10/21 JR              140 follow up correspondence with A. Porter regarding updates to due diligence documents for              0.1 0.0090909          $1.27
2021         Disposition                                         unsold properties (638-40 N Avers Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street,
                                                                 4611-17 S Drexel Boulevard, 4750-52 S Indiana Avenue, 6217-27 S Dorchester Avenue, 7024-
                                                                 42 S Paxton Avenue, 7109-19 S Calumet Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid
                                                                 Avenue, 7840-42 S Yates Avenue) (.1).

February     Asset                  02/11/21 AEP             390 Teleconference with property manager regarding potential change of management at                      0.2          0.2      $78.00
2021         Disposition                                         receivership property (7109-19 S Calumet Avenue) (.2)
February     Asset                  02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                     0.2 0.0041667          $0.58
2021         Disposition
February     Asset                  02/12/21 AEP             390 telephone conference with K. Duff regarding transition of managerial responsibilities on              0.1          0.1      $39.00
2021         Disposition                                         receivership property (7109-19 S Calumet Avenue) (.1)
February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records               0.4 0.0036697          $0.51
2021         Disposition                                         and status of same (.4)
February     Asset                  02/12/21 JR              140 review current property tax information and payment availability from property                        0.2 0.0040816          $0.57
2021         Disposition                                         management and provide same to K. Duff (.2)
February     Asset                  02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                              0.3 0.0061224          $0.86
2021         Disposition
February     Asset                  02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                        0.2 0.0040816          $0.57
2021         Disposition                                         payment plan arrangement for same (.2).
February     Asset                  02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                0.2 0.0041667          $0.58
2021         Disposition                                         property taxes (.2)




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
February     Asset                  02/17/21 JR              140 review email from K. Pritchard related to bank account information for various unsold                 0.5 0.0454545          $6.36
2021         Disposition                                         properties and update files regarding same (638-40 N Avers Avenue, 1422-24 East 68th
                                                                 Street, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 4750-52 S Indiana Avenue, 6217-
                                                                 27 S Dorchester Avenue, 7024-42 S Paxton Avenue, 7109-19 S Calumet Avenue, 7237-43 S
                                                                 Bennett Avenue, 7255-57 S Euclid Avenue, 7840-42 S Yates Avenue) (.5).

February     Asset                  02/17/21 JR              140 Conference call with A. Porter related to status of closings (638-40 N Avers Avenue, 1422-24          0.9 0.0818182         $11.45
2021         Disposition                                         East 68th Street, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 4750-52 S Indiana
                                                                 Avenue, 6217-27 S Dorchester Avenue, 7024-42 S Paxton Avenue, 7109-19 S Calumet
                                                                 Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7840-42 S Yates Avenue) (.9)

February     Asset                  02/17/21 KMP             140 Research to identify account numbers for deposit of proceeds from upcoming property sales             0.3       0.075       $10.50
2021         Disposition                                         and exchange correspondence with J. Rak regarding same (7237-43 Bennett Avenue, 1102
                                                                 Bingham, 638-40 N Avers Avenue, 7109-19 S Calumet Avenue).

February     Asset                  02/26/21 AEP             390 Prepare e-mail to title insurer regarding discovery of federal order expunging liens filed            0.3 0.0428571         $16.71
2021         Disposition                                         against remaining unsold EquityBuild properties (7024-32 S Paxton Avenue, 7255-57 S Euclid
                                                                 Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42
                                                                 S Yates Avenue, 7109-19 S Calumet Avenue) and requesting deletion of corresponding
                                                                 special exceptions from all applicable title commitments (.3)

February     Business               02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                           0.4 0.0081633          $1.14
2021         Operations                                          management requesting availability of same for payments of outstanding property taxes.

February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation             0.2 0.0019048          $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,               3.2 0.0304762          $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/16/21 KMP             140 communicate with K. Duff regarding property management transfer (7109-19 S Calumet                    0.4          0.4      $56.00
2021         Operations                                          Avenue) and research property manager's portal to review and identify documentation
                                                                 relating to management of property (7109-19 S Calumet Avenue) (.4)

February     Business               02/16/21 KMP             140 communicate with S. Zjalic regarding project relating to same (7109-19 S Calumet Avenue)              0.2          0.2      $28.00
2021         Operations                                          (.2).
February     Business               02/16/21 SZ              110 Phone and email communication with K. Pritchard regarding review of property manager's                0.4          0.4      $44.00
2021         Operations                                          portal to recover and preserve records related (7109-19 S Calumet Avenue).

February     Business               02/17/21 KMP             140 conference with S. Zjalic regarding property management transfer (7109-19 S Calumet                   0.3          0.3      $42.00
2021         Operations                                          Avenue) and research relating to property manager's portal to review and identify
                                                                 documentation relating to management of property (7109-19 S Calumet Avenue) (.3).

February     Business               02/19/21 SZ              110 Review of records related to property (7109-19 S Calumet Avenue).                                     1.5          1.5     $165.00
2021         Operations


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                  1.1 0.0104762          $4.09
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                              0.2 0.0019048          $0.27
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                    3.6 0.0342857          $4.80
2021         Operations
February     Business               02/22/21 KMP             140 Review documentation collected by S. Zjalic from property manager's portal relating to                 0.6          0.6      $84.00
2021         Operations                                          specific property (7109-19 S Calumet Avenue) and participate in telephone conference
                                                                 regarding same.
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial              0.3 0.0028571          $0.40
2021         Operations                                          reporting.
February     Business               02/26/21 KMP             140 Prepare form for funds transfer to finance company for property insurance installment                  0.3 0.0057692          $0.81
2021         Operations                                          payment, and communicate with K. Duff and bank representatives regarding same.

February     Claims                 02/16/21 AW              140 communicate with J. Wine regarding claim issue (7109-19 S Calumet Avenue) (.1).                        0.1          0.1      $14.00
2021         Administration
             & Objections

March 2021 Asset                    03/05/21 KBD             390 Confer with A. Porter, M. Rachlis, and J. Baasch regarding efforts to sell properties and              0.6          0.3     $117.00
           Disposition                                           resolve issues (638-40 N Avers Avenue, 7109-19 S Calumet Avenue).
March 2021 Business                 03/09/21 KBD             390 review building code notice (7109-19 S Calumet Avenue) (.1)                                            0.1          0.1      $39.00
           Operations
March 2021 Business                 03/16/21 KBD             390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816          $1.59
           Operations
March 2021 Business                 03/22/21 KBD             390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224          $2.39
           Operations                                            remaining properties.
March 2021 Business                 03/30/21 KBD             390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816          $1.59
           Operations
March 2021 Asset                    03/02/21 JR              140 Review email from K. Pritchard regarding notices relating to various properties, review, save          0.5 0.0384615          $5.38
           Disposition                                           in electronic property files and forward to K. Duff, J. Wine and A. Porter (4533-47 S Calumet
                                                                 Avenue, SSDF5 Portfolio 1 LLC, 7110 S Cornell Avenue, 4520-26 S Drexel Boulevard, 7109-19 S
                                                                 Calumet Avenue, 7600-10 S Kingston Avenue, 6554-58 S Vernon Avenue, 4611-17 S Drexel
                                                                 Boulevard, 7656-58 S Kingston Avenue, 4533-47 S Calumet Avenue).

March 2021 Asset                    03/05/21 AEP             390 teleconference with K. Duff and receivership broker regarding status of receivership                   0.3          0.3     $117.00
           Disposition                                           property (7109-19 S Calumet Avenue) (.3).
March 2021 Asset                    03/25/21 JR              140 Review email from K. Pritchard related to wire instructions for unsold properties and update           0.6         0.15      $21.00
           Disposition                                           electronic files regarding same (7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7109-19
                                                                 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.6)
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                     0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                            2.2 0.0209524          $8.17
           Operations


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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                 0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/09/21 JRW             260 review new notice of building code violation (7109-19 S Calumet Avenue) and related                   0.4          0.4     $104.00
           Operations                                            correspondence with property managers and K. Duff (.4)
March 2021 Business                 03/10/21 AEP             390 in response to property manager request search for, and ultimately locate, EIN for ownership          0.3          0.3     $117.00
           Operations                                            entity associated with receivership property (7109-19 S Calumet Avenue) in connection with
                                                                 tenant subsidy request (.3).
March 2021 Business                 03/10/21 AEP             390 Assemble all corporate documentation pertaining to receivership entity (7109-19 S Calumet             0.2          0.2      $78.00
           Operations                                            Avenue) in connection with request for approval of rent subsidy payments (.2)

March 2021 Business                 03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                              0.1 0.0019231          $0.27
           Operations
March 2021 Business                 03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and              0.3 0.0057692          $0.81
           Operations                                            communications with K. Duff and bank representative regarding same (.3)

March 2021 Business                 03/17/21 JRW             260 review new administrative orders (6558-4-58 S Vernon Avenue, 7656-58 S Kingston Avenue,               0.3         0.06      $15.60
           Operations                                            7600-10 S Kingston Avenue, 7109-19 S Calumet Avenue, 4611-17 S Drexel Boulevard) and
                                                                 related email exchange with J. Rak (.3)
March 2021 Business                 03/24/21 AEP             390 review notice of violation filed (7109-19 S Calumet Avenue) and transmit same to property             0.1          0.1      $39.00
           Operations                                            manager with request to defend receivership interests (.1)
March 2021 Business                 03/24/21 JRW             260 Exchange correspondence with A. Porter regarding administrative matters (1102 Bingham,                1.4       0.175       $45.50
           Operations                                            6250 S Mozart Street, 7110 S Cornell Avenue, 7109-19 S Calumet Avenue, 6949-59 S Merrill
                                                                 Avenue, 2129 W 71st Street, 6217-27 S Dorchester Avenue, 6356 S California Avenue).

March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                  0.2 0.0019048          $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership                1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).               0.1 0.0009524          $0.37
           Operations
April 2021 Business                 04/09/21 KBD             390 study property manager reports (6250 S Mozart Street, 9610 S Woodlawn Avenue, 638-40 N                0.3 0.0230769          $9.00
           Operations                                            Avers Avenue, 7109-19 S Calumet Avenue, 7237-43 S Bennett Avenue, 1401 W 109th Place,
                                                                 310 E 50th Street, 6807 S Indiana Avenue, 7255-57 S Euclid Avenue, 4315-19 S Michigan
                                                                 Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 416-24 E 66th Street) (.3)

April 2021   Business               04/13/21 KBD             390 Telephone conference with S. Zjalic regarding restoration of funds and property managers'             0.1 0.0038462          $1.50
             Operations                                          documentation (.1)
April 2021   Business               04/13/21 KBD             390 exchange correspondence with J. Rak regarding planning for and payment of real estate                 0.3     0.00625        $2.44
             Operations                                          taxes and related communications with property manager (.3)




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                      Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                             East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham) (.2)


April 2021   Business               04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                      property managers regarding to same (1.0)
April 2021   Business               04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                      7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business               04/19/21 KBD         390 exchange correspondence with S. Zjalic regarding property expense analysis and restoration           0.2 0.0076923         $3.00
             Operations                                      (.2).




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Business               04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-            0.3 0.0065217         $2.54
             Operations                                      06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3)

April 2021   Business               04/23/21 KBD         390 Exchange correspondence with S. Zjalic regarding property expenses and third restoration               0.2 0.0076923         $3.00
             Operations                                      motion.
April 2021   Business               04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                      insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                             Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.8)


April 2021   Business               04/27/21 KBD         390 study information from S. Zjalic regarding property expenses and restoration issues (.2)               0.2 0.0076923         $3.00
             Operations




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business               04/29/21 KBD         390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                      J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                             85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                             Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                             S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                             W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                             2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                             1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                             East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)


April 2021   Business               04/30/21 KBD         390 exchange correspondence with S. Zjalic regarding property expenses (.1).                             0.1 0.0038462         $1.50
             Operations




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
April 2021   Business               04/30/21 KBD             390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                   0.2 0.0044444          $1.73
             Operations                                          Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                                 Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                 Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                 Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                 Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                                 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                                 Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                                 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Claims                 04/13/21 KBD             390 exchange correspondence with J. Rak regarding planning for payment of real estate taxes             0.2          0.2      $78.00
             Administration                                      (7109-19 S Calumet Avenue) (.2).
             & Objections

April 2021   Asset                  04/13/21 JR              140 further correspondence with property management and K. Duff relating to transfer of cash            0.4          0.4      $56.00
             Disposition                                         balance for previously transferred property to another management company (7109-19 S
                                                                 Calumet Avenue) (.4).
April 2021   Asset                  04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with          1.3 0.0265306          $3.71
             Disposition                                         K. Duff regarding same (see E) (1.3)
April 2021   Asset                  04/14/21 JR              140 exchange correspondence with property management relating to transfer of cash balance               0.3          0.3      $42.00
             Disposition                                         and payment of property taxes (7109-19 S Calumet Avenue) (.3)
April 2021   Asset                  04/14/21 JR              140 further correspondence with property manager regarding the transfer (7109-19 S Calumet              0.3          0.3      $42.00
             Disposition                                         Avenue) (.3)
April 2021   Asset                  04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                 0.2 0.0040816          $0.57
             Disposition                                         tax balances that remain in the EquityBuild estate (see E) (.2)
April 2021   Asset                  04/16/21 JR              140 review email from property management related to review of tax payments regarding past              1.3 0.0265306          $3.71
             Disposition                                         due and current property tax payments, save in electronic files and update spreadsheet
                                                                 regarding same (see E) (1.3)
April 2021   Asset                  04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of            0.2 0.0040816          $0.57
             Disposition                                         EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                  04/27/21 JR              140 exchange correspondence with K. Duff and A. Porter related to closed properties and                 0.1 0.0083333          $1.17
             Disposition                                         upcoming properties scheduled to close (7840-42 S Yates Avenue, 1422-24 East 68th Street,
                                                                 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 638-40 N Avers Avenue, 7237-42 S
                                                                 Bennett Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 7109-19 S Calumet Avenue, 7024-
                                                                 32 S Paxton Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard) (.1)




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2021   Asset                  04/30/21 JR              140 exchange correspondence with property management requesting updated rent rolls for                     0.2 0.0042553          $0.60
             Disposition                                         remainder of properties in the estate regarding property insurance renewal (see A) (.2)

April 2021   Asset                  04/30/21 JR              140 review email from property management regarding requested property reports related to                  0.2 0.0042553          $0.60
             Disposition                                         the property insurance renewals (see A) (.2)
April 2021   Business               04/01/21 JRW             260 related review of City of Chicago administrative hearing website and portfolio regarding sale          0.2         0.05      $13.00
             Operations                                          dates and correspondence regarding conflict for hearing date (.2)
April 2021   Business               04/01/21 JRW             260 Review administrative orders (7600-10 S Kingston Avenue, 6554-58 S Vernon Avenue, 7109-                0.9         0.18      $46.80
             Operations                                          19 S Calumet Avenue, 7656-58 S Kingston Avenue, 5618-20 S Martin Luther King Drive) and
                                                                 LLC annual report notices, update records and work with K. Pritchard on docketing hearing
                                                                 dates (.9)
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for nine properties (6217-27 S                      0.2 0.0222222          $8.67
             Operations                                          Dorchester Avenue, 4520- 26 S Drexel Boulevard, 4611-17 S Drexel Avenue, 7110 S Cornell
                                                                 Avenue, 6250 S Mozart Street, 6749-59 S Merrill Avenue, 7255-57 S Euclid Avenue, 7109-19 S
                                                                 Calumet Avenue, 7024-32 S Paxton Avenue) (.2)
April 2021   Business               04/06/21 JRW             260 confer with K. Pritchard regarding administrative hearing (7109-19 S Calumet Avenue) (.1).             0.1          0.1      $26.00
             Operations
April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                     0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                      1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional             0.2 0.0040816          $0.57
             Operations                                          funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                     3.2 0.0304762          $4.27
             Operations
April 2021   Business               04/14/21 JRW             260 related telephone conference with corporation counsel (.2).                                            0.2         0.02       $5.20
             Operations
April 2021   Business               04/14/21 JRW             260 Prepare list of pending administrative matters (7109-19 S Calumet Avenue, 2129 W 71st                  0.6         0.06      $15.60
             Operations                                          Street, 4520-26 S Drexel Boulevard, 7110 S Cornell Avenue, 6250 S Mozart Avenue, 7051 S
                                                                 Bennett Avenue, 7600 S Kingston Avenue, 7656 S Kingston Avenue, 6949-59 S Merrill
                                                                 Avenue, 6554-58 S Vernon Avenue) (.6)
April 2021   Business               04/15/21 JRW             260 Prepare spreadsheet of pending administrative matters requested by corporation counsel                 0.4         0.04      $10.40
             Operations                                          and related correspondence (7109-19 S Calumet Avenue, 2129 W 71st Street, 4520-26 S
                                                                 Drexel Boulevard, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 6250 S Mozart Street,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6949-59 S Merrill Avenue, 6554-58 S
                                                                 Vernon Avenue) (.4)
April 2021   Business               04/16/21 SZ              110 Email communication with K. Pritchard about restoration motion and review of schedules of              0.3 0.0115385          $1.27
             Operations                                          receipts and disbursements.
April 2021   Business               04/19/21 KMP             140 telephone conferences and exchange email correspondence with K. Duff and S. Zjalic                     0.3 0.0115385          $1.62
             Operations                                          regarding issues relating to property expenses (.3)
April 2021   Business               04/19/21 KMP             140 prepare electronic file comprising spreadsheets and other materials relating to funds                  0.3 0.0115385          $1.62
             Operations                                          requests from property manager and forward to S. Zjalic (.3)


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2021   Business               04/19/21 SZ              110 Phone and email communication with the Receiver about repair expenses (.3)                               0.3 0.0115385          $1.27
             Operations
April 2021   Business               04/19/21 SZ              110 attention to property manager's past fund requests and related email communication with K.               1.3         0.05       $5.50
             Operations                                          Pritchard (1.3).
April 2021   Business               04/19/21 SZ              110 review of the exhibits attached to status reports after March 31, 2020 to create a list of non-          1.9 0.0730769          $8.04
             Operations                                          recurring repair expenses (1.9)
April 2021   Business               04/20/21 AEP             390 Attend administrative court to defend pending cases (7600-10 S Kingston Avenue, 7656-58 S                1.6          0.4     $156.00
             Operations                                          Kingston Avenue, 6554-58 S Vernon Avenue, 7109-19 S Calumet Avenue).

April 2021   Business               04/20/21 JRW             260 Exchange correspondence with A. Porter regarding administrative matters (7051 S Bennett                  0.2         0.04      $10.40
             Operations                                          Avenue, 7656-58 S Kingston Avenue, 7109-19 S Calumet Avenue, 7600-10 S Kingston Avenue,
                                                                 6558 S Vernon Avenue) (.2).
April 2021   Business               04/20/21 SZ              110 Continued to review expenses (7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 638-                   2.7       0.675       $74.25
             Operations                                          40 N Avers Avenue, 701-13 S 5th Avenue).
April 2021   Business               04/21/21 JR              140 Follow up correspondence with property management requesting property inspection                         0.1         0.05       $7.00
             Operations                                          update (7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue) (.1)
April 2021   Business               04/22/21 AEP             390 Review all orders entered in administrative actions (7600-10 S Kingston Avenue, 7656-58 S                0.2         0.05      $19.50
             Operations                                          Kingston Avenue, 6554-58 S Vernon Avenue, 7109-19 S Calumet Avenue), save copies of
                                                                 same to appropriate files, and prepare e-mail to J. Wine regarding status.

April 2021   Business               04/22/21 KMP             140 Communicate with S. Zjalic regarding investigation of property manager's expenses.                       0.2 0.0076923          $1.08
             Operations
April 2021   Business               04/22/21 SZ              110 Attention to property manager's property repair expenses (1.1)                                           1.1 0.0423077          $4.65
             Operations
April 2021   Business               04/22/21 SZ              110 continue to populate the list of property expenses (1.2).                                                1.2 0.0461538          $5.08
             Operations
April 2021   Business               04/23/21 SZ              110 Finalized and submitted a draft of property repair expenses (7237-43 S Bennett Avenue,                   0.2         0.05       $5.50
             Operations                                          7109-19 S Calumet Avenue, 638-40 N Avers Avenue, 701-13 S 5th Avenue) to the Receiver for
                                                                 his review.
April 2021   Business               04/26/21 SZ              110 Review of properties (7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 638-40 N Avers                 0.7       0.175       $19.25
             Operations                                          Avenue, 701-13 S 5th Avenue) to extract expense items.
April 2021   Business               04/27/21 JRW             260 Correspondence with corporation counsel regarding resolution of pending administrative                   0.2         0.02       $5.20
             Operations                                          matters (7109-19 S Calumet Avenue, 2129 W 71st Street, 4520-26 S Drexel Boulevard, 7110 S
                                                                 Cornell Avenue, 6250 S Mozart Avenue, 7051 S Bennett Avenue, 7600-10 S Kingston Avenue,
                                                                 7656-58 S Kingston Avenue, 6949-59 S Merrill Avenue, 6554-58 S Vernon Avenue) (.2)

April 2021   Business               04/29/21 JR              140 Review email from K. Duff related to property insurance renewal workbook and make                        1.1 0.0234043          $3.28
             Operations                                          requested updates to same (see A) (1.1)
April 2021   Business               04/29/21 JR              140 exchange correspondence with K. Duff regarding property insurance (see A) (.1).                          0.1 0.0021277          $0.30
             Operations
April 2021   Business               04/30/21 JR              140 Exchange correspondence with J. Wine and E. Duff regarding names of institutional lenders                0.2 0.0042553          $0.60
             Operations                                          as additional insured relating to property insurance renewal (See A).




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2021   Business               04/30/21 JRW         260 email exchange with J. Rak and E. Duff regarding injured parties on insurance policies (.1).          0.1 0.0021277          $0.55
             Operations
May 2021     Asset                  05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455          $1.77
             Disposition                                     (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021     Business               05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W                0.3 0.0066667          $2.60
             Operations                                      102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).

May 2021     Business               05/04/21 KBD         390 attention to property expenses (7109-19 S Calumet Avenue, 1401 W 109th Place, 638-40 N                0.2         0.05      $19.50
             Operations                                      Avers Avenue, 7237-43 S Bennett Avenue) (.2).




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021     Business               05/04/21 KBD         390 Work on insurance renewal and draft correspondence to broker regarding updated                        0.3    0.006383       $2.49
             Operations                                      information (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham, 11318 S Church
                                                             Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                             2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 417
                                                             Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.3)


May 2021     Business               05/05/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding                           0.2 0.0042553         $1.66
             Operations                                      comparison of rates (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham , 11318 S
                                                             Church Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W
                                                             71st Street, 2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             417 Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.2)




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7109-19 S Calumet Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
May 2021     Business               05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111          $4.33
             Operations                                      quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)

May 2021     Business               05/07/21 KBD         390 study property expenses for restoration (.2).                                                        0.2 0.0076923          $3.00
             Operations
May 2021     Business               05/10/21 KBD         390 work on corporate issue for housing renewals (7109-19 S Calumet Avenue) (.3).                        0.3          0.3     $117.00
             Operations
May 2021     Business               05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516              0.5 0.0113636          $4.43
             Operations                                      E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
             Operations                                      62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).

May 2021     Business               05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
             Operations                                      Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)).

May 2021     Business               05/13/21 KBD         390 Study correspondence from S. Zjalic regarding property expenses.                                       0.2 0.0076923         $3.00
             Operations




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7109-19 S Calumet Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties               0.1 0.0022727         $0.89
             Operations                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)


May 2021     Business               05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East                 0.3 0.0068182         $2.66
             Operations                                      62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021     Business               05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
             Operations                                      Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
May 2021     Asset                  05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of           0.1 0.0111111          $1.56
             Disposition                                         property related to remaining unsold properties in the estate (See B) (.1)

May 2021     Business               05/03/21 JR              140 Exchange correspondence with K. Duff and property insurance company regarding                      0.8 0.0159574          $2.23
             Operations                                          requested updates related to property insurance renewals [see A]
May 2021     Business               05/03/21 JR              140 review requested property information from property management and update same [see                0.8 0.0092593          $1.30
             Operations                                          A].
May 2021     Business               05/03/21 JRW             260 telephone conference with corporate counsel regarding pending administrative matters               0.3         0.03       $7.80
             Operations                                          (7109-19 S Calumet Avenue, 2129 W 71st Street, 4520-26 S Drexel Boulevard, 7110 S Cornell
                                                                 Avenue, 6250 S Mozart Street, 7051 S Bennett Avenue, 7600-10 S Kingston Avenue, 7656-58
                                                                 S Kingston Avenue, 6949-59 S Merrill Avenue, 6554-58 S Vernon Avenue) (.3)

May 2021     Business               05/03/21 JRW             260 update spreadsheet to divide pending claims and judgments and adjust hearing dates and             0.7         0.07      $18.20
             Operations                                          related email exchange with additional corporation counsel (7109-19 S Calumet Avenue,
                                                                 2129 W 71st Street, 4520-26 S Drexel Boulevard, 7110 S Cornell Avenue, 6250 S Mozart
                                                                 Street, 7051 S Bennett Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue,
                                                                 6949-59 S Merrill Avenue, 6554-58 S Vernon Avenue) (.7).

May 2021     Business               05/03/21 SZ              110 Continue to review repair documentation received from property manager in order to                 1.8 0.0692308          $7.62
             Operations                                          retrieve and chart per-property repair expenses.
May 2021     Business               05/04/21 JR              140 exchange communication with K. Duff regarding property insurance renewal update (See A)            0.1 0.0021277          $0.30
             Operations                                          (.1).
May 2021     Business               05/04/21 JR              140 Review email from property insurance account analyst and further update property                   1.6 0.0340426          $4.77
             Operations                                          insurance renewal workbook (See A) (1.6)
May 2021     Business               05/05/21 JRW             260 attention to administrative matters and orders (7600- 10 S Kingston Avenue, 7656-58 S              0.4          0.1      $26.00
             Operations                                          Kingston Avenue, 416-24 E 66th Street, 7109-19 S Calumet Avenue) (.4)
May 2021     Business               05/05/21 JRW             260 telephone conference with corporate counsel, related update of spreadsheet,                        0.7       0.175       $45.50
             Operations                                          correspondence with counsel, and telephone conference with K. Duff (7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 416-24 E 66th Street, 7109-19 S Calumet Avenue) (.7)

May 2021     Business               05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general           0.1 0.0111111          $1.56
             Operations                                          liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021     Business               05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property             0.2 0.0222222          $3.11
             Operations                                          and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business               05/07/21 SZ              110 Continue to review property manager's invoices and communicated to the Receiver the most           1.2 0.0461538          $5.08
             Operations                                          up-to-date draft of the per-property repair spreadsheet.




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2021     Business               05/10/21 AW              140 Research regarding reinstatement of entity (7109 S. Calumet LLC) and related                            0.2          0.2      $28.00
             Operations                                          communication with counsel.
May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                        1.3    0.012381        $1.73
             Operations
May 2021     Business               05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-               0.1 0.0111111          $1.56
             Operations                                          43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021     Business               05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.                   0.3 0.0333333          $4.67
             Operations                                          Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.3)
May 2021     Business               05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property                  0.2 0.0222222          $3.11
             Operations                                          and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)

May 2021     Business               05/10/21 SZ              110 Continue to review documents received from property manager to populate property repair                 1.6 0.0615385          $6.77
             Operations                                          expense sheet.
May 2021     Business               05/11/21 AW              140 reinstate, file annual report, and change of registered agent for receivership entity (7109 S.          0.2          0.2      $28.00
             Operations                                          Calumet LLC) (.2).
May 2021     Business               05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                    2.3 0.0469388          $6.57
             Operations                                          7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                 Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                 Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham (Houston, TX)) (2.3)


May 2021     Business               05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                      0.3 0.0333333          $4.67
             Operations                                          umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2021     Business               05/12/21 AW              140 attention to notices from administrative court (7110-16 S Cornell Avenue, 416-24 E 66th                0.3         0.06       $8.40
             Operations                                          Street, 7109-19 S Calumet Avenue, 2527-29 E 76th Street, 7600-10 S Kingston Avenue, 2514-
                                                                 2520 East 77th Street, 7656-58 S Kingston Avenue) (.3).
May 2021     Business               05/12/21 ED              390 Email correspondence with J. Rak regarding her review of and comments on preliminary                   0.2         0.05      $19.50
             Operations                                          drafts of December 2020 accounting reports (7109-19 S Calumet Avenue, 7255-57 S Euclid
                                                                 Avenue, 4533-47 S Calumet Avenue, 1401 W 109th Place).

May 2021     Business               05/12/21 JR              140 Exchange communication with E. Duff regarding discrepancies found in December reporting                0.7       0.175       $24.50
             Operations                                          (7109-19 S Calumet Avenue, 7255-57 S Euclid Avenue, 4533-47 S Calumet Avenue, 1401 W
                                                                 109th Place).
May 2021     Business               05/12/21 JRW             260 review administrative orders (7110 S Cornell Avenue, 7600-10 S Kingston Avenue, 416-24 E               0.3       0.075       $19.50
             Operations                                          66th Street, 7109-19 S Calumet Avenue) and related correspondence with A. Watychowicz
                                                                 and A. Porter (.3).
May 2021     Business               05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2         0.02       $2.80
             Operations                                          property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                 Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                 Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business               05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0222222          $3.11
             Operations                                          Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                 Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                 68th Street, single family) (.2)
May 2021     Business               05/13/21 JRW             260 correspondence to property managers regarding administrative matter (7109-19 S Calumet                 0.3          0.3      $78.00
             Operations                                          Avenue) and related correspondence with corporation counsel (.3).
May 2021     Business               05/13/21 JRW             260 Confer with A. Watychowicz regarding administrative hearings (7600-10 S Kingston Avenue,               0.1 0.0333333          $8.67
             Operations                                          416-24 E 66th Street, 7109-19 S Calumet Avenue) (.1)
May 2021     Business               05/13/21 SZ              110 Continue to review remaining documents received from property manager to finalize per-                 1.7 0.0653846          $7.19
             Operations                                          property repair expense sheet and submitted completed repair expense ledger to the
                                                                 Receiver for his review.
May 2021     Business               05/18/21 AW              140 attention to approved reinstatement documents (7109 S. Calumet LLC) and email property                 0.1          0.1      $14.00
             Operations                                          manager same (.1).
May 2021     Business               05/19/21 JR              140 Review email from K. Duff requesting property closing update related to property insurance             0.3    0.006383        $0.89
             Operations                                          and provide same (see A).
May 2021     Business               05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0111111          $1.56
             Operations                                          insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                 Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)

May 2021     Business               05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third               0.1 0.0012346          $0.17
             Operations                                          restoration motion (.1).
May 2021     Business               05/20/21 KMP             140 Review spreadsheet and invoices regarding property management expenses in connection                   0.4 0.0153846          $2.15
             Operations                                          with anticipated third restoration motion (.4)




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
May 2021     Business               05/23/21 AEP             390 Inventory all orders received from corporation counsel regarding administrative hearings           0.4         0.08      $31.20
             Operations                                          pending against (6554-58 S Vernon Avenue, 7109-19 S Calumet Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 7957-59 S Marquette Avenue) reconcile with existing
                                                                 records, and send follow-up questions to J. Wine.

May 2021     Business               05/25/21 ED              390 review of email correspondence from J. Rak regarding apparent discrepancies in reporting           0.2          0.1      $39.00
             Operations                                          for certain properties, and review of related documentation from property manager (7109-
                                                                 19 S Calumet Avenue, 7255-57 S Euclid Avenue) (.2).
June 2021    Business               06/01/21 KBD             390 Attention to payment of insurance premium for policy renewal (7237-43 S Bennett Avenue,            0.3 0.0428571         $16.71
             Operations                                          6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                                 East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)).

June 2021    Business               06/09/21 KBD             390 address utility expense issue (7109-19 S Calumet Avenue) (.1)                                      0.1          0.1      $39.00
             Operations
June 2021    Business               06/10/21 KBD             390 Work on insurance renewal and exchange various related correspondence (7237-43 S                   0.3 0.0428571         $16.71
             Operations                                          Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                 Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)).

June 2021    Business               06/11/21 KBD             390 Work on insurance renewal applications (1102 Bingham , 6217-27 S Dorchester Avenue, 638-           0.4 0.0571429         $22.29
             Operations                                          40 N Avers Avenue, 7109-19 S Calumet Avenue, 7237 S. Bennett Avenue, 7255 S Euclid
                                                                 Avenue, 1422 E 68th Street) (.4)
June 2021    Business               06/14/21 KBD             390 work on insurance renewal and exchange related correspondence with broker (7237-43 S               0.2 0.0285714         $11.14
             Operations                                          Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                 Avenue, 1422-24 E 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX))
                                                                 (.2).
June 2021    Business               06/14/21 KBD             390 review correspondence regarding property expenses analysis and backup (.1)                         0.1 0.0038462          $1.50
             Operations
June 2021    Business               06/15/21 KBD             390 Work on insurance renewal applications (1102 Bingham , 6217-27 S Dorchester Avenue, 638-           0.7          0.1      $39.00
             Operations                                          40 N Avers Avenue, 7109-19 S Calumet Avenue, 7237 S. Bennett Avenue, 7255 S Euclid
                                                                 Avenue, 1422 E 68th Street) (.7)
June 2021    Business               06/18/21 KBD             390 Attention to communication from insurer's inspector (7109-19 S Calumet Avenue) (.1)                0.1          0.1      $39.00
             Operations
June 2021    Business               06/18/21 KBD             390 work on insurance renewal and related communications (7237-43 S Bennett Avenue, 6217-              0.2 0.0285714         $11.14
             Operations                                          27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th
                                                                 Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2).

June 2021    Business               06/24/21 KBD             390 work on insurance renewal and communications with insurance broker and exchange                    0.6          0.1      $39.00
             Operations                                          various related correspondence with E. Duff and J. Rak (.6)
June 2021    Asset                  06/15/21 JR              140 communication with J. Wine regarding building code violations, save code violations in             0.3      0.0375        $5.25
             Disposition                                         electronic files (7110 S Cornell Avenue, 7109-19 S Calumet Avenue, 6250 S Mozart Avenue,
                                                                 6949-59 S Merrill Avenue, 7656-58 S Kingston Avenue, 6554-58 S Vernon Avenue, 7600-10 S
                                                                 Kingston Avenue, 4520-26 S Drexel Boulevard) (.3).




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
June 2021    Business               06/01/21 KMP             140 prepare request form for transfer of funds for payment of property insurance renewal               0.4 0.0571429          $8.00
             Operations                                          premiums and related communications with K. Duff and bank representative (7237-43 S
                                                                 Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                 Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX))
                                                                 (.4)
June 2021    Business               06/03/21 ED              390 Email correspondence with lender's counsel and property manager regarding request for              0.2          0.2      $78.00
             Operations                                          rent rolls and financial reporting for property (7109-19 S Calumet Avenue) (.2)

June 2021    Business               06/08/21 JRW             260 analysis to K. Duff regarding pending administrative matters and judgments (7109-19 S              0.4 0.0307692          $8.00
             Operations                                          Calumet Avenue, 7110 S Cornell Avenue, 6250 S Mozart Street, 6949-59 S Merrill Avenue,
                                                                 6554-58 S Vernon Avenue, 7600-10 S Kingston Avenue, 4520-26 S Drexel Boulevard, 2129 W
                                                                 71st Street, 7957-59 S Marquette Road, 7024-32 S Paxton Avenue, 4750-52 S Indiana Avenue,
                                                                 7051 S Bennett Avenue, 7210 S Vernon Avenue) (.4)

June 2021    Business               06/10/21 JR              140 Review email from K. Duff related to insurance renewal for properties and respond                  0.1 0.0166667          $2.33
             Operations                                          accordingly (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue,
                                                                 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24 East 68th Street).

June 2021    Business               06/10/21 KMP             140 Review application for property insurance renewal and related communications with K. Duff          0.3         0.05       $7.00
             Operations                                          and J. Rak (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue,
                                                                 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24 East 68th Street).

June 2021    Business               06/11/21 JR              140 review further correspondence with account analyst and K. Duff regarding property                  0.2 0.0333333          $4.67
             Operations                                          insurance renewal applications (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7255-57
                                                                 S Euclid Avenue, 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24 East
                                                                 68th Street) (.2)
June 2021    Business               06/11/21 JR              140 further correspondence with property management requesting information for properties              0.2 0.0333333          $4.67
             Operations                                          related to renewal insurance applications (638-40 N Avers Avenue, 7237-43 S Bennett
                                                                 Avenue, 7255-57 S Euclid Avenue, 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                 1422-24 East 68th Street) (.2).
June 2021    Business               06/11/21 JR              140 Exchange correspondence with the account analyst and request additional information                0.3         0.05       $7.00
             Operations                                          related to property insurance renewals (638-40 N Avers Avenue, 7237-43 S Bennett Avenue,
                                                                 7255-57 S Euclid Avenue, 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24
                                                                 East 68th Street) (.3)
June 2021    Business               06/14/21 KMP             140 Exchange email correspondence with S. Zjalic regarding backup documentation for                    0.5 0.0192308          $2.69
             Operations                                          spreadsheet relating to property expenses and review spreadsheet and related receipts.

June 2021    Business               06/14/21 SZ              110 Review of building supply receipts and email communication with property manager about             4.7 0.1807692         $19.88
             Operations                                          same.
June 2021    Business               06/15/21 JR              140 exchange correspondence with J. Wine regarding fire code notices pertaining to property            0.2 0.0333333          $4.67
             Operations                                          insurance (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue,
                                                                 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24 East 68th Street) (.2).




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
June 2021    Business               06/15/21 JR              140 review fire code notices relating to property insurance applications (638-40 N Avers Avenue,          0.7 0.1166667         $16.33
             Operations                                          7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7109-19 S Calumet Avenue, 6217-27 S
                                                                 Dorchester Avenue, 1422-24 East 68th Street) (.7)
June 2021    Business               06/15/21 JRW             260 review nonsuit orders from City of Chicago (7109-19 S Calumet Avenue, 7110 S Cornell                  0.3 0.0428571         $11.14
             Operations                                          Avenue, 6250 S Mozart Street, 6949-59 S Merrill Avenue, 6554-58 S Vernon Avenue, 7600-10
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard) and related correspondence with J. Rak, K.
                                                                 Duff and A. Porter (.3)
June 2021    Business               06/15/21 JRW             260 exchange correspondence with K. Duff and A. Porter regarding housing and administrative               0.3       0.075       $19.50
             Operations                                          matters involving current portfolio (7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                                 Avenue, 7109-19 S Calumet Avenue, 638-40 N Avers Avenue) (.3).

June 2021    Business               06/15/21 JRW             260 correspond with J. Rak regarding insurance applications and related research regarding fire           0.8         0.16      $41.60
             Operations                                          code (.8)
June 2021    Business               06/15/21 KMP             140 Attention to correspondence with insurance broker relating to renewal of property insurance           0.2 0.0285714          $4.00
             Operations                                          policies (7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                                 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                                 Bingham (Houston, TX)) (.2)
June 2021    Business               06/15/21 KMP             140 communications with S. Zjalic and property manager regarding documentation for building               0.2 0.0076923          $1.08
             Operations                                          management expenses (.2).
June 2021    Business               06/15/21 SZ              110 Continue to review building supply invoices and communicated with property manager                    1.3         0.05       $5.50
             Operations                                          about same.
June 2021    Business               06/18/21 JR              140 further correspondence with property management and K. Duff requesting scheduling of                  0.5 0.1666667         $23.33
             Operations                                          property inspections (.5)
June 2021    Business               06/18/21 JR              140 further communication with inspector regarding scheduling property inspections required               0.4 0.1333333         $18.67
             Operations                                          for property insurance renewal (7109-19 S Calumet Avenue, 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue) (.4)
June 2021    Business               06/18/21 JR              140 exchange correspondence with account analyst regarding inquiry into inspection                        0.1 0.0333333          $4.67
             Operations                                          requirements (7109-19 S Calumet Avenue, 7255-57 S Euclid Avenue, 6217-27 S Dorchester
                                                                 Avenue) (.1)
June 2021    Business               06/18/21 JR              140 Review email from K. Duff regarding telephone message from property insurance inspector               0.2 0.0666667          $9.33
             Operations                                          (.2)
June 2021    Business               06/18/21 JR              140 review email from K. Duff regarding property tax balance and update property taxes (638- 40           0.5          0.1      $14.00
             Operations                                          N Avers Avenue, 6217-27 S Dorchester Avenue, 7109-19 S Calumet Avenue, 7237-43 S
                                                                 Bennett Avenue, 7255-57 S Euclid Avenue (.5)
June 2021    Business               06/18/21 KMP             140 further communications with S. Zjalic regarding spreadsheet and backup documentation for              0.2 0.0076923          $1.08
             Operations                                          property management expenses (.2).
June 2021    Business               06/21/21 KMP             140 conference with S. Zjalic regarding spreadsheet and backup documentation for property                 0.2 0.0076923          $1.08
             Operations                                          management expenses (.2).
June 2021    Business               06/22/21 JR              140 review email from K. Duff and send follow up email to K. Duff related to review of property           1.4 0.2333333         $32.67
             Operations                                          insurance applications and confirm accuracy of content (1422-24 East 68th Street, 6217-27 S
                                                                 Dorchester Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 638-40 N Avers
                                                                 Avenue, 7109- 19 S Calumet Avenue) (1.4)




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
June 2021    Business               06/22/21 SZ              110 Attention to email communication with property manager about outstanding invoices.                    0.2 0.0076923          $0.85
             Operations
June 2021    Business               06/24/21 JR              140 Review renewal insurance applications and update with proposed insured parties (638-40 N              0.9 0.1285714         $18.00
             Operations                                          Avers Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th
                                                                 Street, 1102 Bingham , 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24
                                                                 East 68th Street) (.9)
June 2021    Business               06/24/21 JR              140 exchange correspondence with E. Duff regarding property insurance renewal status (638-40              0.1 0.0142857          $2.00
             Operations                                          N Avers Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th
                                                                 Street, 1102 Bingham , 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24
                                                                 East 68th Street) (.1)
June 2021    Business               06/24/21 JR              140 exchange correspondence with account analyst providing applications (638-40 N Avers                   0.2 0.0285714          $4.00
             Operations                                          Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street,
                                                                 1102 Bingham , 7109-19 S Calumet Avenue, 6217-27 S Dorchester Avenue, 1422-24 East
                                                                 68th Street) (.2)
June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent               0.5 0.0047619          $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
June 2021    Business               06/30/21 ED              390 Review emails from lender's counsel requesting access to property (7109- 19 S Calumet                 0.1          0.1      $39.00
             Operations                                          Avenue) for appraisal (.1)
June 2021    Business               06/30/21 ED              390 draft and send reply to counsel (7109-19 S Calumet Avenue) (.1).                                      0.1          0.1      $39.00
             Operations
June 2021    Business               06/30/21 ED              390 review of details regarding prior inspections and property manager's requirements for notice          0.1          0.1      $39.00
             Operations                                          (7109-19 S Calumet Avenue) (.1)
July 2021    Asset                  07/23/21 KBD             390 study letter of credit issue (7109-19 S Calumet Avenue) (.3).                                         0.3          0.3     $117.00
             Disposition
July 2021    Asset                  07/23/21 KBD             390 Telephone conference with A. Porter and asset manager regarding potential property                    0.8          0.8     $312.00
             Disposition                                         improvements, disposition issues, and communications with property manager and lender
                                                                 (7109-19 S Calumet Avenue) (.8)
July 2021    Asset                  07/28/21 KBD             390 Confer with A. Porter and real estate broker regarding disposition of property to maximize            0.3          0.3     $117.00
             Disposition                                         funds (7109-19 S Calumet Avenue).
July 2021    Asset                  07/30/21 KBD             390 confer with A. Porter and real estate broker regarding potential property improvements and            0.1          0.1      $39.00
             Disposition                                         disposition issues (7109-19 S Calumet Avenue) (.1)
July 2021    Business               07/07/21 KBD             390 Attention to property management agreement and exchange correspondence regarding                      0.3          0.3     $117.00
             Operations                                          agreement and insurance issue (7109-19 S Calumet Avenue).
July 2021    Business               07/08/21 KBD             390 Exchange correspondence with property manager regarding property management                           0.2          0.2      $78.00
             Operations                                          agreement (7109-19 S Calumet Avenue).
July 2021    Business               07/09/21 KBD             390 exchange correspondence with property manager regarding property management                           0.2          0.2      $78.00
             Operations                                          agreement (7109-19 S Calumet Avenue) (.2)
July 2021    Business               07/12/21 KBD             390 exchange correspondence regarding planning for real estate taxes (7109-19 S Calumet                   0.1         0.05      $19.50
             Operations                                          Avenue, 638-40 N Avers Avenue) (.1).
July 2021    Business               07/13/21 KBD             390 study correspondence from J. Rak regarding real estate taxes (638-40 N Avers Avenue, 7109-            0.1         0.05      $19.50
             Operations                                          19 S Calumet Avenue) (.1)
July 2021    Business               07/21/21 KBD             390 Review correspondence from J. Rak regarding real estate tax payment planning (638-40 N                0.1         0.05      $19.50
             Operations                                          Avers Avenue, 7109-19 S Calumet Avenue).


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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2021    Business               07/23/21 KBD             390 Exchange correspondence with property manager regarding occupancy and improvement                     0.2          0.2      $78.00
             Operations                                          issues (7109-19 S Calumet Avenue) (.2)
July 2021    Business               07/29/21 KBD             390 Draft correspondence to property manager regarding potential improvements (7109-19 S                  0.1          0.1      $39.00
             Operations                                          Calumet Avenue).
July 2021    Business               07/30/21 KBD             390 Exchange correspondence with property manager regarding potential improvements (7109-                 0.1          0.1      $39.00
             Operations                                          19 S Calumet Avenue) (.1)
July 2021    Asset                  07/23/21 JR              140 Review email from K. Duff regarding unsold property and vacancy status and respond                    0.1          0.1      $14.00
             Disposition                                         accordingly (7109-19 S Calumet Avenue) (.1)
July 2021    Asset                  07/23/21 JR              140 follow up with property management requesting current property reports (7109-19 S                     0.1          0.1      $14.00
             Disposition                                         Calumet Avenue) (.1)
July 2021    Asset                  07/24/21 AEP             390 Read e-mails pertaining to management of receivership property and cursory review of                  0.1          0.1      $39.00
             Disposition                                         corresponding financial statements (7109-19 S Calumet Avenue) (.1)
July 2021    Asset                  07/26/21 JR              140 Review requested information from S. Zjalic regarding status of unsold properties and                 0.1 0.0333333          $4.67
             Disposition                                         provide update regarding sales (7109-19 S Calumet Avenue, 638-40 S Avers Avenue, 1102
                                                                 Bingham) (.1)
July 2021    Asset                  07/30/21 AEP             390 Teleconference with K. Duff and receivership broker regarding receivership property (7109-            0.2          0.2      $78.00
             Disposition                                         19 S Calumet Avenue) (.2)
July 2021    Business               07/06/21 AEP             390 review administrative and housing court proceedings relating to all other currently pending           0.7 0.0636364         $24.82
             Operations                                          matters on receivership properties and prepare e-mail to J. Wine seeking confirmation of
                                                                 status of each proceeding (638-40 N Avers Avenue, 1422-24 East 68th Street, 4750-52 S
                                                                 Indiana Avenue, 6217-27 S Dorchester Avenue, 6949-59 S Merrill Avenue, 7024-32 S Paxton
                                                                 Avenue, 7051 S Bennett Avenue, 7109-19 S Calumet Avenue, 7210 S Vernon Avenue, 7237-
                                                                 43 S Bennett Avenue, 7957-59 S Marquette Avenue) (.7).

July 2021    Business               07/06/21 SZ              110 Cross-referenced property manager's expense ledger against invoices for duplicate                     1.6 0.0410256          $4.51
             Operations                                          transactions (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex
                                                                 Avenue, 7937-39 S Essex Avenue, 7943- 45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S
                                                                 Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E
                                                                 78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-
                                                                 48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue,
                                                                 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                 Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,
                                                                 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59
                                                                 S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S
                                                                 Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 4315- 19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn
                                                                 Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett
                                                                 Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
July 2021    Business               07/07/21 KMP             140 communicate with E. Duff regarding comparison of loan agreement to property                             0.3          0.3      $42.00
             Operations                                          management agreement relating to property management and insurance provisions (7109-
                                                                 19 S Calumet Avenue) (.3).
July 2021    Business               07/07/21 KMP             140 Communicate with K. Duff, E. Duff and insurance broker regarding comparison of insurance                0.3          0.3      $42.00
             Operations                                          obligations set forth in property management agreement to insurance policy language (7109-
                                                                 19 S. Calumet Avenue) (.3)
July 2021    Business               07/09/21 SZ              110 Compile exhibits for third restoration motion (7300-04 S St Lawrence Avenue, 414 Walnut,                1.1         0.05       $5.50
             Operations                                          6355-59 S Talman Avenue, 6250 S Mozart Street, 4315-19 S Michigan Avenue, 6749-59 S
                                                                 Merrill Avenue, 7957-59 S Marquette Road, 11117-11119 S Longwood Drive, 7600-10 S
                                                                 Kingston Avenue, 8000- 02 S Justine Street, 8214-16 S Ingleside Avenue, 7255-57 S Euclid
                                                                 Avenue, 8352-58 S Ellis Avenue, 8342-50 S Ellis Avenue, 8334-40 S Ellis Avenue, 7201-07 S
                                                                 Dorchester Avenue, 7201 S Constance Avenue, 7109-19 S Calumet Avenue, 6356 S California
                                                                 Avenue, 7237-43 S Bennett Avenue, 5618-20 S Martin Luther King Drive, 1700-08 W Juneway
                                                                 Terrace, 8214-16 S Ingleside Avenue, 2736-44 W 64th Street, 1401 W 109th Place).

July 2021    Business               07/12/21 KMP             140 telephone conferences with S. Zjalic regarding preparation of exhibits comprising invoices              0.3 0.0076923          $1.08
             Operations                                          from property managers for expenses, and review related documentation (6160-6212 S
                                                                 Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex
                                                                 Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-
                                                                 05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex
                                                                 Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32
                                                                 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S
                                                                 Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue,
                                                                 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59
                                                                 S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 6356 S California
                                                                 Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                                 Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-
                                                                 19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                 Avenue) (.3)




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7109-19 S Calumet Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2021    Business               07/12/21 SZ              110 Continued to review property manager's repair expenses in order to populate exhibits list for          2.0 0.0512821          $5.64
             Operations                                          Third Restoration Motion and related email exchange and phone communication with K.
                                                                 Pritchard (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex
                                                                 Avenue, 7937-39 S Essex Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S
                                                                 Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E
                                                                 78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-
                                                                 48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue,
                                                                 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                 Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,
                                                                 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59
                                                                 S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S
                                                                 Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                 Dorchester Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                 Kingston Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn
                                                                 Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett
                                                                 Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).


July 2021    Business               07/13/21 JR              140 Further review status of property taxes for 2020 2nd installment and advise K. Duff on the             0.2          0.1      $14.00
             Operations                                          status (7109-19 S Calumet Avenue, 638-40 N Avers Avenue).
July 2021    Business               07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
             Operations                                          accordingly (see I).
July 2021    Business               07/27/21 SZ              110 review of the previously received invoices related to properties in order to make necessary            0.7       0.025        $2.75
             Operations                                          updates to repair expense ledger (310 E 50th Street, 414 Walnut, 416-24 E 66th Street, 1401
                                                                 W 109th Place, 638-40 N Avers Avenue, 1700-08 W Juneway Terrace, 2736-44 W 64th Street,
                                                                 4315-19 S Michigan Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6356
                                                                 S California Avenue, 6355-59 S Talman Avenue, 6749-59 S Merrill Avenue, 6807 S Indiana
                                                                 Avenue, 7109-19 S Calumet Avenue, 7201-07 S Dorchester Avenue, 7201 S Constance
                                                                 Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7300-04 S St Lawrence
                                                                 Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 7957-59 S Marquette Road, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 11117-11119 S Longwood Drive) (.7).


July 2021    Business               07/28/21 ED              390 Email correspondence with lender's counsel and K. Duff regarding requests for property                 0.2          0.2      $78.00
             Operations                                          access for appraisal and for additional details regarding property expenditures and future
                                                                 plans (7109-19 S Calumet Avenue).
August 2021 Business                08/02/21 KBD             390 Work on gathering information for claimant's counsel and appraiser and exchange various                0.2          0.2      $78.00
            Operations                                           related correspondence (7109-19 S Calumet Avenue).
August 2021 Business                08/10/21 KBD             390 Review expense projections for property improvements and exchange related                              0.2          0.2      $78.00
            Operations                                           correspondence (7109-19 S Calumet Avenue).
August 2021 Business                08/11/21 KBD             390 Study information regarding potential improvements (7109-19 S Calumet Avenue).                         0.1          0.1      $39.00
            Operations


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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
August 2021 Business                08/23/21 KBD             390 draft correspondence to K. Pritchard and J. Rak regarding real estate tax bills (638-40 N Avers          0.2          0.1      $39.00
            Operations                                           Avenue, 7109-19 S Calumet Avenue) (.2).
August 2021 Business                08/30/21 KBD             390 Exchange correspondence with J. Rak regarding payment of real estate taxes (7109-19 S                    0.1         0.05      $19.50
            Operations                                           Calumet Avenue, 638-40 N Avers Avenue) (.1)
August 2021 Business                08/02/21 ED              390 Email correspondence with K. Duff, J. Rak, and lender's counsel regarding access and                     0.2          0.2      $78.00
            Operations                                           information requested in connection with property appraisal (7109- 19 S Calumet Avenue).

August 2021 Business                08/02/21 JR              140 review emails from E. Duff related to property appraisal and corresponding email exchanges               0.1          0.1      $14.00
            Operations                                           pertaining to same (7109-19 S Calumet Avenue) (.1)
August 2021 Business                08/02/21 JR              140 further communication with property management requesting property reports and other                     0.1          0.1      $14.00
            Operations                                           information regarding same (7109-19 S Calumet Avenue) (.1).
August 2021 Business                08/02/21 JR              140 review email from K. Duff requesting property information related to appraisal of property               0.1          0.1      $14.00
            Operations                                           (7109-19 S Calumet Avenue) (.1)
August 2021 Business                08/02/21 JR              140 Review email from K. Duff regarding inspection of property (7109-19 S Calumet Avenue) (.1)               0.1          0.1      $14.00
            Operations
August 2021 Business                08/02/21 MR              390 Attention to issues regarding request for information from lenders (7109-19 S Calumet                    0.2          0.2      $78.00
            Operations                                           Avenue).
August 2021 Business                08/03/21 ED              390 review and analysis of loan document covenants, insurance policy terms (7109-19 S Calumet                0.4          0.4     $156.00
            Operations                                           Avenue) (.4)
August 2021 Business                08/03/21 ED              390 Email correspondence to J. Rak regarding property inspection (7109-19 S Calumet Avenue)                  0.1          0.1      $39.00
            Operations                                           (.1)
August 2021 Business                08/03/21 JR              140 Exchange correspondence with property management regarding reports requested by lender                   0.2          0.2      $28.00
            Operations                                           and related to appraisal (7109-19 S Calumet Avenue).
August 2021 Claims                  08/04/21 MR              390 attention to issues regarding property claims (7109-19 S Calumet Avenue) (.1).                           0.1          0.1      $39.00
            Administration
            & Objections

September    Business               09/01/21 KBD             390 Telephone conference with J. Rak regarding lender's counsel's request for various                        0.2          0.2      $78.00
2021         Operations                                          information relating to property (7109-19 S Calumet Avenue) (.2)
September    Business               09/08/21 KBD             390 Exchange correspondence with E. Duff and J. Rak regarding information for insurance broker               0.2          0.2      $78.00
2021         Operations                                          relating to coverage issues and communications with property manager (7109-19 S Calumet
                                                                 Avenue) (.2)
September    Business               09/10/21 KBD             390 exchange correspondence regarding real estate taxes and potential unit improvements and                  0.2          0.2      $78.00
2021         Operations                                          costs (7109-19 S Calumet Avenue) (.2)
September    Business               09/15/21 KBD             390 study correspondence from property manager regarding financial reporting (7109-19 S                      0.1          0.1      $39.00
2021         Operations                                          Calumet Avenue) (.1).
September    Business               09/15/21 KBD             390 Exchange correspondence with counsel for claimant regarding payment of real estate taxes                 0.1         0.05      $19.50
2021         Operations                                          (638-40 N Avers Avenue, 7109-19 S Calumet Avenue) (.1)
September    Asset                  09/01/21 JR              140 review email from buyer's counsel requesting property related information (7109-19 S                     0.1          0.1      $14.00
2021         Disposition                                         Calumet Avenue) (.1)
September    Asset                  09/01/21 JR              140 communication with property management requesting property information related to                        0.1          0.1      $14.00
2021         Disposition                                         buyer's counsel’s request (7109-19 S Calumet Avenue) (.1)




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
September    Asset                  09/10/21 JR              140 exchange communication with property manager requesting property tax payment (7109-19                   0.1          0.1      $14.00
2021         Disposition                                         S Calumet Avenue) (.1).
September    Asset                  09/10/21 JR              140 review email from K. Duff regarding email request to property manager relating to payment               0.1          0.1      $14.00
2021         Disposition                                         of property taxes (7109-19 S Calumet Avenue) (.1)
September    Asset                  09/13/21 JR              140 Review email from property management regarding paid property taxes and update records                  0.1          0.1      $14.00
2021         Disposition                                         (7109-19 S Calumet Avenue) (.1)
September    Asset                  09/30/21 KMP             140 Review property accounts and update spreadsheet relating to property manager's deposits                 1.3 0.0333333          $4.67
2021         Disposition                                         of post-sale reconciliation funds and related communications with J. Rak (6160-6212 S
                                                                 Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex
                                                                 Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-
                                                                 05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex
                                                                 Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32
                                                                 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S
                                                                 Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue,
                                                                 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59
                                                                 S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 6356 S California
                                                                 Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                                 Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-
                                                                 19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                 Avenue).


September    Business               09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and                2.6 0.0320988          $4.49
2021         Operations                                          E. Duff (see I and J) (2.6)
September    Business               09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)                 0.1 0.0012346          $0.17
2021         Operations                                          (.1)
September    Business               09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to              0.2 0.0024691          $0.35
2021         Operations                                          reimbursable amounts (see I and J) (.2).
September    Business               09/08/21 JR              140 Review email from K. Duff related to inspection of property and further correspond with the             0.2          0.2      $28.00
2021         Operations                                          account analyst forwarding survey for the property related to insurance premiums (7109-19
                                                                 S Calumet Avenue).
September Business                  09/10/21 JR              140 Review email from buyer's counsel regarding appraiser's request for property information                0.6          0.6      $84.00
2021      Operations                                             and further communicate and gather related information for K. Duff (7109-19 S Calumet
                                                                 Avenue) (.6)
September    Business               09/10/21 JR              140 further communication with A. Porter requesting confirmation of requested items related to              0.1          0.1      $14.00
2021         Operations                                          appraisal of property (7109-19 S Calumet Avenue) (.1).
September    Business               09/27/21 JR              140 Review email from account analyst and communicate with property management related to                   0.2          0.2      $28.00
2021         Operations                                          request for property information regarding to property insurance renewal (7109-19 S
                                                                 Calumet Avenue).




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7109-19 S Calumet Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September Business                  09/27/21 SZ              110 Attention to repair expenses associated with properties and email communication with the             0.2 0.0074074         $0.81
2021      Operations                                             Receiver related to those expenses (7255-57 Euclid Avenue, 7109-19 S Calumet Avenue, 7237-
                                                                 43 S Bennett Avenue, 7600-10 S Kingston Avenue, 4317-19 S Michigan Avenue, 638-40 N
                                                                 Avers Avenue, 7656-58 S Kingston Avenue, 6356-58 S California Avenue, 7201-07 S
                                                                 Dorchester Avenue, 1700-08 Juneway Terrace, 5618-20 S Martin Luther King Drive, 7957-59 S
                                                                 Marquette Ave, 6357-59 S Talman Avenue, 2736 W 64th Street, 7201-09 S Constance
                                                                 Avenue, 1401 W 109th Place, 6807 S Indiana Avenue, 310 E 50th Street, 6250 S Mozart
                                                                 Avenue, 11117-19 S Longwood Drive, 416-24 E 66th Street, 8334 S Ellis Avenue, 8000 -02 S
                                                                 Justine Street, 7760 S Coles Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 6749-59 S
                                                                 Merrill Avenue).

September Claims                    09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                  0.8 0.0089888         $1.26
2021      Administration
          & Objections




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                             1414-18 East 62nd Place
General Allocation % (Pre 01/29/21):                                                 0.0693969%
General Allocation % (01/29/21 Onward, Claims Only):                            0.0745717985%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     8        1414-18 East 62nd Place                                                        2.76     $                 746.76                          46.52    $            13,560.08               49.28    $             14,306.84
                 Asset Disposition [4]                                                        0.15    $                    47.78                         30.93   $               9,142.99              31.07   $                  9,190.78
                 Business Operations [5]                                                      0.15    $                    44.11                          9.21   $               2,556.47               9.36   $                  2,600.58
                 Claims Administration & Objections [6]                                       2.47    $                  654.86                           6.38   $               1,860.62               8.85   $                  2,515.48




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1414-18 East 62nd Place                                                   EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    46.52
Specific Allocation Fees:         $       13,560.08



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
August 2018 Business                 08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736          $1.47
            Operations                                        issues (.4)
August 2018 Business                 08/29/18 KBD         390 study various correspondence from A. Porter regarding unpaid real estate taxes (.3)                  0.3         0.06      $23.40
            Operations
August 2018 Business                 08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851          $1.16
            Operations                                        flow (.2)
August 2018 Business                 08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302          $1.10
            Operations
August 2018 Business                 08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434          $0.37
            Operations
August 2018 Business                 08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353          $5.16
            Operations                                        issues (.9)
August 2018 Business                 08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412          $1.15
            Operations                                        with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                 08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941          $4.01
            Operations
August 2018 Business                 08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038          $2.58
            Operations
August 2018 Asset                    08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717        $1.23
            Disposition                                       emails regarding same.
August 2018 Business                 08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                   2.0 0.0294118         $11.47
            Operations                                        properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                 08/23/18 NM          260 Study correspondence and documents from one of EquityBuild's attorneys regarding                     2.0 0.1333333         $34.67
            Operations                                        pending lawsuits and court appearances and appear on behalf of EquityBuild to stay
                                                              litigation in Stewart case and in housing cases.
August 2018 Business                 08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925          $0.39
            Operations
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187          $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729          $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729          $1.82
            Operations
August 2018 Claims                   08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)            1.6 0.0372093         $14.51
            Administration
            & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
August 2018 Claims                   08/29/18 MR          390 Attention to various lender issues and strategies for same and conferences with lender and             1.5       0.375      $146.25
            Administration                                    draft email and follow up review of various issues raised during call.
            & Objections

August 2018 Claims                   08/30/18 MR          390 Review emails and materials from creditor and conferences with creditor on various issues              0.6         0.15      $58.50
            Administration                                    (.6)
            & Objections

August 2018 Claims                   08/30/18 MR          390 conferences with E. Duff regarding same (.3).                                                          0.3       0.075       $29.25
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)             0.2 0.0029412          $1.15
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver's counsel regarding requirements for receipt of lenders' documents via            0.3 0.0081081          $3.16
            Administration                                    drive and regarding information pertaining to institutional loans from records of EquityBuild
            & Objections                                      counsel (.3).

September    Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                      0.1 0.0009346          $0.36
2018         Disposition
September    Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                 0.4 0.0037383          $1.46
2018         Disposition                                      with M. Rachlis regarding same (.4)
September    Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related             0.1 0.0009346          $0.36
2018         Disposition                                      information.
September    Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                         0.1 0.0009346          $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                   0.2 0.0018692          $0.73
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                       0.1 0.0009346          $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                       0.1 0.0009346          $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                     0.1 0.0009346          $0.36
2018         Disposition                                      brokers (.1).
September    Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                     0.1 0.0009346          $0.36
2018         Disposition                                      reports.
September    Business                09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                0.1 0.0014925          $0.58
2018         Operations
September    Business                09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                    0.4 0.0058824          $2.29
2018         Operations




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                 Task Hours
  Month                                        Keeper                                                                                                                 Hours        Fees
September    Business                09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                  0.6 0.0088235         $3.44
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with property management company representatives regarding              0.5 0.0073529         $2.87
2018         Operations                                       same (.5)
September    Business                09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).               0.1 0.0014706         $0.57
2018         Operations
September    Business                09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft             0.4 0.0058824         $2.29
2018         Operations                                       letter agreement with property manager (.4)
September    Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management           0.5    0.004717       $1.84
2018         Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September    Business                09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                           0.5 0.0073529         $2.87
2018         Operations
September    Business                09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                 0.4 0.0058824         $2.29
2018         Operations                                       structure (.4)
September    Business                09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and            0.3 0.0053571         $2.09
2018         Operations                                       requests from lenders (.3)
September    Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding           0.7 0.0066038         $2.58
2018         Operations                                       receivership and property issues (.7)
September    Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                 0.7 0.0066038         $2.58
2018         Operations
September    Business                09/09/18 KBD         390 Revise agreement with property manager.                                                         0.3 0.0044118         $1.72
2018         Operations
September    Business                09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding              0.5 0.0073529         $2.87
2018         Operations                                       compensation structure and prospective property improvements (.5)
September    Business                09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                  0.1 0.0014925         $0.58
2018         Operations                                       compensation (.1)
September    Business                09/10/18 KBD         390 revise compensation structure (.4)                                                              0.4 0.0058824         $2.29
2018         Operations
September    Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                       2.5 0.0233645         $9.11
2018         Operations
September    Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                          0.2 0.0018692         $0.73
2018         Operations
September    Business                09/11/18 KBD         390 revise agreement with property manager (.2)                                                     0.2 0.0029412         $1.15
2018         Operations
September    Business                09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)          0.3 0.0044118         $1.72
2018         Operations
September    Business                09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect           0.4 0.0059701         $2.33
2018         Operations                                       overall portfolio and property values (.4)
September    Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real          0.1 0.0009346         $0.36
2018         Operations                                       estate firm representatives (.1)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September Business                   09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018      Operations                                          health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September    Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                       same (.1)
September    Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                       (.1)
September    Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Claims                  09/25/18 KBD         390 study correspondence from lenders servicing agent (.3).                                                0.3 0.0081081         $3.16
2018         Administration
             & Objections

September Claims                     09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders             0.4 0.0071429         $2.79
2018      Administration                                      (.4)
          & Objections

September    Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September    Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                      when they will be ready (.1)
September    Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                   09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.
September Asset                      09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346         $0.36
2018      Disposition                                         statements for production to potential brokerage.


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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
September Asset                      09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                0.3 0.0028037          $1.09
2018      Disposition                                         prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.
September    Business                09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of          0.6 0.0089552          $3.49
2018         Operations                                       documents received regarding same (.6).
September    Business                09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                0.7 0.0104478          $4.07
2018         Operations                                       same (.7);
September    Business                09/12/18 KMP         140 Compile copies of certain financial statements from property manager for Receiver's review            0.2          0.1      $14.00
2018         Operations                                       (.2)
September    Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                 0.4 0.0037383          $1.46
2018         Operations                                       distribution (.4).
September    Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                  0.3 0.0028037          $1.09
2018         Operations                                       with prospective brokers (.3)
September    Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                  0.2 0.0018692          $0.49
2018         Operations                                       other expenses/money coming into receivership (.2)
September    Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                     0.1 0.0009434          $0.25
2018         Operations
September    Business                09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                    2.4 0.0510638         $19.91
2018         Operations                                       relating to mortgage loans (2.4)
September    Claims                  09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                           0.5 0.0089286          $3.48
2018         Administration
             & Objections

September Claims                     09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                      2.6 0.0590909         $23.05
2018      Administration
          & Objections

September Claims                     09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information               0.6 0.0074074          $1.93
2018      Administration                                      and draft notice letter for same (.6)
          & Objections

September Claims                     09/18/18 ED          390 emails to lenders and counsel to follow up on missing loan documents (1.6)                            1.6 0.0421053         $16.42
2018      Administration
          & Objections

September Claims                     09/20/18 ED          390 Calls and emails with counsel for lender and special servicer.                                        3.8 0.1027027         $40.05
2018      Administration
          & Objections

September Claims                     09/21/18 ED          390 Review correspondence from lenders and counsel (.4)                                                   0.4 0.0074074          $2.89
2018      Administration
          & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
September Claims                     09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                     09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                     09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                 2.5 0.0446429        $17.41
2018      Administration                                      (2.5)
          & Objections

October      Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                      properties and debt ratio (.4).
October      Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                      (2.7)
October      Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018         Disposition
October      Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                      0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement                0.7 0.0065421         $2.55
2018         Disposition                                      terms and further background information(.7)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October      Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018         Disposition                                      (.3)
October      Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018         Disposition
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018         Disposition                                      regarding engagement of broker (.2)
October      Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018         Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October      Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/24/18 KBD         390 study analysis of single family home portfolio (.4).                                                0.4 0.0108108         $4.22
2018         Disposition
October      Asset                   10/25/18 KBD         390 study draft purchase and sale agreement and representation agreement for single family              0.2 0.0054054         $2.11
2018         Disposition                                      homes and review correspondence regarding same (.2)
October      Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                       and tenant evictions (.2)
October      Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                       regarding scofflaw list (.1)
October      Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                       property managers (.4)
October      Business                10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                       court, and confirmation of accounting for rents (.3)
October      Business                10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business                10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations


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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
October      Business                10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                   0.1 0.0014706         $0.57
2018         Operations
October      Business                10/18/18 KBD         390 study property manager monthly report (.3)                                                         0.3 0.0044118         $1.72
2018         Operations
October      Business                10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.              0.1 0.0014925         $0.58
2018         Operations
October      Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild            0.1 0.0009346         $0.36
2018         Operations                                       properties (.1)
October      Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)              0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)             0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Claims                  10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and               0.2 0.0051282         $2.00
2018         Administration                                   appraisals (.2).
             & Objections

October      Claims                  10/30/18 KBD         390 study correspondence from M. Rachlis and E. Duff regarding same (.2)                               0.2 0.0054054         $2.11
2018         Administration
             & Objections

October      Claims                  10/30/18 KBD         390 study correspondence from lenders counsel regarding requested documentation (.5)                   0.5 0.0135135         $5.27
2018         Administration
             & Objections

October      Claims                  10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information          0.2 0.0051282         $2.00
2018         Administration                                   (.2)
             & Objections

October      Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                 2.5 0.0233645         $9.11
2018         Disposition
October      Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage              3.2 0.0299065        $11.66
2018         Disposition                                      firms.
October      Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                           3.0 0.0280374        $10.93
2018         Disposition
October      Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                  0.5 0.0046729         $1.21
2018         Disposition
October      Asset                   10/03/18 MR          390 Review broker proposal.                                                                            0.5 0.0046729         $1.82
2018         Disposition




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                      payments and sale of same, and property database.
October      Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                      agreement and upcoming receivership tasks.
October      Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                      agent (1.5).
October      Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                      Duff and M. Rachlis.
October      Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                      retained broker (.1)
October      Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                      engagement (2.1).
October      Asset                   10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                      commencement of process of identifying assets for immediate sale (1.5)
October      Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition
October      Asset                   10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346         $0.13
2018         Disposition




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262         $7.65
2018         Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October      Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916         $4.86
2018         Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October      Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018         Operations
October      Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018         Operations
October      Business                10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018         Operations
October      Claims                  10/02/18 ED          390 review correspondence and documents relating to required financial reporting under                   0.6 0.0098361         $3.84
2018         Administration                                   mortgage loan documents (.6).
             & Objections

October      Claims                  10/02/18 ED          390 Review and reply to messages from lenders and counsel (2.5)                                          2.5 0.0409836        $15.98
2018         Administration
             & Objections

October      Claims                  10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895         $6.16
2018         Administration
             & Objections

October      Claims                  10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                    0.2 0.0043478         $1.70
2018         Administration
             & Objections

October      Claims                  10/11/18 ED          390 Review and respond to emails from K Duff, M. Rachlis relating to financial reporting to              0.6 0.0162162         $6.32
2018         Administration                                   lender.
             & Objections

October      Claims                  10/19/18 ED          390 conference calls with lender's counsel regarding assignment of rents, debt service payments          2.3 0.0425926        $16.61
2018         Administration                                   and other issues (2.3)
             & Objections

October      Claims                  10/19/18 ED          390 email correspondence with Receiver and M. Rachlis, A. Porter regarding same (1.1)                    1.1 0.0203704         $7.94
2018         Administration
             & Objections




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
October      Claims                  10/21/18 ED          390 review of loan documents received from counsel to lender regarding loans and email to               1.9 0.0513514         $20.03
2018         Administration                                   counsel regarding loan information not yet supplied (1.9)
             & Objections

October      Claims                  10/22/18 ED          390 Confer with Receiver and counsel regarding lender requests.                                         0.1    0.002381        $0.93
2018         Administration
             & Objections

October      Claims                  10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel            0.9 0.0195652          $7.63
2018         Administration                                   regarding property reporting, insurance, and appraisals (.9)
             & Objections

October      Claims                  10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).               3.0 0.0652174         $25.43
2018         Administration
             & Objections

October      Claims                  10/25/18 ED          390 review loan documents relating to insurance requirements (1.5).                                     1.5 0.0405405         $15.81
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                       0.5 0.0046729          $1.82
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 Review and reply to correspondence and calls from lenders counsel (2.2)                             2.2         0.05      $19.50
2018         Administration
             & Objections

October      Claims                  10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                          0.2 0.0051282          $2.00
2018         Administration
             & Objections

October      Claims                  10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                      5.1 0.1307692         $51.00
2018         Administration
             & Objections

November     Asset                   11/07/18 KBD         390 telephone conference with A. Porter regarding same and listing agreement for single family          0.2 0.0054054          $2.11
2018         Disposition                                      home portfolio (.2)
November     Asset                   11/12/18 KBD         390 exchange correspondence with M. Rachlis regarding single family home broker agreement               0.1 0.0027027          $1.05
2018         Disposition                                      (.1)
November     Asset                   11/16/18 KBD         390 draft correspondence to A. Porter regarding single family home broker agreement (.1)                0.1 0.0027027          $1.05
2018         Disposition




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
November     Asset                   11/20/18 KBD         390 study and revise representation agreement with respect to potential sale of single-family            2.5 0.0675676        $26.35
2018         Disposition                                      homes (2.5)
November     Asset                   11/20/18 KBD         390 office conference with M. Rachlis and draft correspondence to A. Porter regarding same (.2)          0.2 0.0054054         $2.11
2018         Disposition
November     Business                11/13/18 KBD         390 study property manager financial reports (.6).                                                       0.6 0.0088235         $3.44
2018         Operations
November     Business                11/15/18 KBD         390 study financial reports from property manager (.4)                                                   0.4 0.0058824         $2.29
2018         Operations
November     Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial              0.1 0.0009346         $0.36
2018         Operations                                       reporting and communications with asset manager (.1).
November     Business                11/19/18 KBD         390 study correspondence from asset manager regarding outstanding real estate taxes (.1)                 0.1 0.0076923         $3.00
2018         Operations
November     Business                11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and               0.2 0.0024691         $0.96
2018         Operations                                       servicing agreements (.2)
November     Claims                  11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                0.2 0.0029851         $1.16
2018         Administration                                   lenders (.2).
             & Objections

November     Claims                  11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                      0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                   0.5 0.0046729         $1.82
2018         Operations
November     Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and              0.2 0.0018692         $0.73
2018         Operations                                       property inspections by lenders (.2)
November     Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                            0.3 0.0028037         $1.09
2018         Operations
November     Business                11/12/18 NM          260 Study and respond to outstanding emails regarding code violations, lenders, property tax             0.4       0.025       $6.50
2018         Operations                                       appeals (.4)
November     Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other               0.7 0.0065421         $2.55
2018         Operations                                       related issues (.7)
November     Claims                  11/29/18 ED          390 Email correspondence and review of related documents regarding lender's inspection of                1.8 0.0486486        $18.97
2018         Administration                                   properties and related requests for information (1.8)
             & Objections

November     Claims                  11/29/18 ED          390 confer with M. Rachlis regarding same (.1).                                                          0.1 0.0027027         $1.05
2018         Administration
             & Objections

December     Asset                   12/07/18 KBD         390 Draft correspondence to A. Porter regarding broker agreement regarding single family                 0.1 0.0027027         $1.05
2018         Disposition                                      homes ( .1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
December     Business                12/09/18 KBD             390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                    0.1 0.0009434         $0.37
2018         Operations
December     Business                12/11/18 KBD             390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                         0.4 0.0037736         $1.47
2018         Operations                                           representatives regarding property portfolio (.4)
December     Business                12/12/18 KBD             390 Study property manager financial reporting (.5)                                                         0.5 0.0073529         $2.87
2018         Operations
December     Business                12/12/18 KBD             390 prepare for meeting with counsel for city regarding property and housing issues (.7)                    0.7 0.0066038         $2.58
2018         Operations
December     Business                12/12/18 KBD             390 exchange correspondence with asset manager regarding same (.1)                                          0.1 0.0014706         $0.57
2018         Operations
December     Business                12/12/18 KBD             390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509         $5.52
2018         Operations                                           repair planning, and receivership activities (1.5)
December     Business                12/12/18 KBD             390 office conference with M. Rachlis regarding property management issues (.4)                             0.4 0.0037383         $1.46
2018         Operations
December     Business                12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                           reporting (.1)
December     Business                12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business                12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business                12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business                12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                           issues (2.8)
December     Business                12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business                12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                           to address City violations and his plan for same (1.3)
December     Business                12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business                12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                           with K. Duff and N. Mirjanich.
December     Business                12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                           removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                  properties with violations (1.5)
December     Business                12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                           Rachlis and K. Duff regarding same (2.5)
December     Business                12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                           income from property manager and conference with K. Duff regarding same.

December     Business                12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                           properties with respective management companies in charge of their water bill payments
                                                                  and reported findings to N. Mirjanich.


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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
December     Business                12/28/18 MBA         390 Review and respond to email from insurance broker inquiring about whether particular                    0.4         0.04      $15.60
2018         Operations                                       location should be scheduled on policies (.4)
December     Claims                  12/17/18 NM          260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding                 1.8 0.0222222          $5.78
2018         Administration                                   lender statements of accounts and EB funding reports and analysis and record-keeping of
             & Objections                                     same (1.8)

January      Asset                   01/04/19 KBD         390 Draft correspondence to A. Porter regarding property sales and tax appeals.                             0.1 0.0076923          $3.00
2019         Disposition
January      Asset                   01/20/19 KBD         390 Exchange correspondence with A. Porter regarding listing agreement for single family home               0.1 0.0027027          $1.05
2019         Disposition                                      portfolio.
January      Asset                   01/25/19 KBD         390 telephone conference with real estate broker and A. Porter regarding communications with                0.2 0.0054054          $2.11
2019         Disposition                                      title company, single family home (.2)
January      Business                01/10/19 KBD         390 study property management report (.2)                                                                   0.2 0.0029412          $1.15
2019         Operations
January      Business                01/10/19 KBD         390 study property manager financial reporting (.4).                                                        0.4 0.0059701          $2.33
2019         Operations
January      Business                01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager                 0.3 0.0044118          $1.72
2019         Operations                                       regarding same (.3)
January      Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                              0.1 0.0009434          $0.37
2019         Operations
January      Business                01/15/19 KBD         390 study financial reporting from other property manager (.3).                                             0.3 0.0044118          $1.72
2019         Operations
January      Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                  0.2 0.0018868          $0.74
2019         Operations                                       officials regarding scofflaw list (.2).
January      Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                 0.1 0.0009434          $0.37
2019         Operations                                       portfolio compliance and disposition issues (.1)
January      Business                01/29/19 KBD         390 study correspondence from N. Mirjanich regarding liquidation plan and contiguous                        0.1         0.05      $19.50
2019         Operations                                       properties (.1)
January      Business                01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross           0.1 0.0014706          $0.21
2019         Operations                                       rents for December (.1)
January      Business                01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls             0.2 0.0029412          $0.41
2019         Operations                                       for December and communications with K. Duff regarding same (.2).

February     Asset                   02/06/19 KBD         390 study list of single family homes and review correspondence from A. Porter regarding same               0.1 0.0027027          $1.05
2019         Disposition                                      (.1).
February     Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346          $0.36
2019         Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February     Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019         Disposition
February     Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019         Disposition




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
February     Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                             0.2 0.0018868         $0.74
2019         Disposition
February     Asset                   02/23/19 KBD         390 Study revised representation agreement relating to single family home portfolio.                    0.2 0.0054054         $2.11
2019         Disposition
February     Asset                   02/28/19 KBD         390 Study and revise draft broker agreement for single-family home listing in draft                     0.6 0.0162162         $6.32
2019         Disposition                                      correspondence to A. Porter regarding same.
February     Business                02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                         0.1 0.0014925         $0.58
2019         Operations
February     Business                02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)             0.2 0.0029412         $1.15
2019         Operations
February     Business                02/07/19 KBD         390 exchange correspondence with N. Mirjanich regarding communications with city official               0.1 0.0027027         $1.05
2019         Operations                                       regarding single family homes (.1)
February     Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich          0.4 0.0037383         $1.46
2019         Operations                                       (.4)
February     Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                  0.3 0.0028037         $1.09
2019         Operations
February     Business                02/08/19 KBD         390 Meet with N. Mirjanich regarding single family home portfolio and communications with city          0.2 0.0054054         $2.11
2019         Operations                                       officials (.2)
February     Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                               0.1 0.0009346         $0.36
2019         Operations
February     Business                02/13/19 KBD         390 study property manager financial reporting (.4)                                                     0.4 0.0058824         $2.29
2019         Operations
February     Business                02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                      0.2 0.0029412         $1.15
2019         Operations
February     Business                02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                 0.2 0.0029412         $1.15
2019         Operations                                       and financial information (.2)
February     Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment             0.1 0.0009346         $0.36
2019         Operations                                       issue (.1).
February     Business                02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                 0.1 0.0014706         $0.57
2019         Operations
February     Business                02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                           0.1 0.0014706         $0.57
2019         Operations
February     Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm             0.1 0.0009346         $0.36
2019         Operations                                       representative (.1)
February     Business                02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                 0.1 0.0014925         $0.58
2019         Operations                                       rental income (.1)
February     Business                02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                    0.1 0.0014706         $0.57
2019         Operations
February     Business                02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority               0.2 0.0029412         $1.15
2019         Operations                                       documentation (.2)
February     Business                02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                   0.1 0.0014706         $0.57
2019         Operations




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
February     Business                02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                           0.1 0.0014706         $0.57
2019         Operations
February     Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                   0.1 0.0009434         $0.37
2019         Operations                                       maintenance and repairs (.1)
February     Business                02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                     0.4 0.0059701         $2.33
2019         Operations                                       regarding real estate taxes and financial reporting (.4)
February     Claims                  02/19/19 KBD         390 telephone conference with lenders counsel and M. Rachlis regarding various property and                   1.0    0.027027      $10.54
2019         Administration                                   loan issues (1.0)
             & Objections

February     Claims                  02/20/19 KBD         390 study correspondence from lender's counsel regarding properties, certificates of insurance,               0.1 0.0027027         $1.05
2019         Administration                                   and loss payees (.1)
             & Objections

February     Asset                   02/06/19 AEP         390 assemble and provide information relating to single-family homes in receivership estate to K.             0.1 0.0027027         $1.05
2019         Disposition                                      Duff (.1).
February     Asset                   02/23/19 AEP         390 Finalize revisions to proposed single-family home representation agreement and circulate to               0.7 0.0189189         $7.38
2019         Disposition                                      team.
February     Business                02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                       property expenses, and communicate same to K. Duff (.2)
February     Business                02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial     reporting               0.3 0.0078947         $3.08
2019         Operations                                       and evidence of insurance (.3)
February     Business                02/07/19 NM          260 correspond with K. Duff and City of Chicago commissioner secretary following meeting                      0.2 0.0054054         $1.41
2019         Operations                                       yesterday and study list of single-family home portfolio to send to same (.2)

February     Business                02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                       violation (.2)
February     Business                02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                       in receivership portfolio (1.9).
February     Business                02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015       $3.90
2019         Operations                                       property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                              broker regarding a list of single-family home portfolio to send to same.

February     Business                02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019         Operations                                       building expenses.
February     Business                02/15/19 KMP         140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925         $0.21
2019         Operations
February     Business                02/19/19 ED          390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729         $1.82
2019         Operations
February     Business                02/19/19 KMP         140 conference with K. Duff and E. Duff regarding confirmation of property insurance coverage                 0.2      0.0095       $1.33
2019         Operations                                       for single-family properties currently listed for sale, review communications from insurer
                                                              relating to list of insured properties (.2).




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
February     Business                02/20/19 ED          390 review CHA management authorization form and related email correspondence with                      0.2 0.0029412         $1.15
2019         Operations                                       property manager and K. Duff (.2)
February     Business                02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                         0.8 0.0119403         $1.67
2019         Operations
February     Business                02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in          0.1 0.0014925         $0.21
2019         Operations                                       receivership (.1)
February     Business                02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                             0.4 0.0059701         $0.84
2019         Operations
March 2019   Asset                   03/01/19 KBD         390 Telephone conference with A. Porter regarding competitive broker bids for single family             0.1 0.0027027         $1.05
             Disposition                                      home portfolio (.1)
March 2019   Asset                   03/01/19 KBD         390 draft correspondence to A. Porter regarding potential agreement with broker regarding               0.1 0.0027027         $1.05
             Disposition                                      same (.1).
March 2019   Asset                   03/07/19 KBD         390 evaluation of options with M. Rachlis regarding single family home portfolio, broker                0.2 0.0054054         $2.11
             Disposition                                      agreement, commission structure, and competitive bidding (.2)
March 2019   Asset                   03/07/19 KBD         390 draft correspondence to broker same (.1)                                                            0.1 0.0009804         $0.38
             Disposition
March 2019   Asset                   03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804         $0.38
             Disposition                                      properties for sale (.1)
March 2019   Asset                   03/07/19 KBD         390 discuss preparation of motion for approval of sale of single family home portfolio with N.          0.1 0.0027027         $1.05
             Disposition                                      Mirjanich (.1)
March 2019   Asset                   03/11/19 KBD         390 Exchange correspondence with A. Porter regarding single family home broker agreement.               0.1 0.0027027         $1.05
             Disposition
March 2019   Asset                   03/13/19 KBD         390 Study draft motion relating to single family home portfolio and correspondence from N.              0.3 0.0081081         $3.16
             Disposition                                      Mirjanich regarding same.
March 2019   Asset                   03/26/19 KBD         390 study single family home listing agreement and exchange correspondence with A. Porter               0.2 0.0054054         $2.11
             Disposition                                      regarding same (.2)
March 2019   Asset                   03/27/19 KBD         390 Study and revise representation agreement for sale of single family homes (.5)                      0.5 0.0135135         $5.27
             Disposition
March 2019   Asset                   03/27/19 KBD         390 office conference with E. Duff and draft correspondence to and telephone conference with            0.4 0.0108108         $4.22
             Disposition                                      A. Porter regarding same (.4)
March 2019   Asset                   03/28/19 KBD         390 Study representation agreement for single family home portfolio and exchange                        0.3 0.0081081         $3.16
             Disposition                                      correspondence with A. Porter regarding agreement for single-family home portfolio (.3)

March 2019 Asset                     03/29/19 KBD         390 Study and exchange correspondence regarding single family home listing agreement.                   0.2 0.0054054         $2.11
           Disposition
March 2019 Business                  03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                    0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                0.2 0.0018692         $0.73
           Operations
March 2019 Business                  03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax               0.1 0.0009346         $0.36
           Operations                                         payment issues and logistics (.1)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
March 2019 Business                  03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with              0.1 0.0009346         $0.36
           Operations                                         former counsel relating to notices of property violations (.1).

March 2019 Business                  03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                        0.2 0.0029412         $1.15
           Operations                                         communications with property manager (.2).
March 2019 Business                  03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                            0.1 0.0014925         $0.58
           Operations
March 2019 Business                  03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                     0.2 0.0029412         $1.15
           Operations                                         correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                  03/15/19 KBD         390 study property manager financial reporting (.3)                                                      0.3 0.0044118         $1.72
           Operations
March 2019 Business                  03/15/19 KBD         390 study financial reporting from property manager (.4).                                                0.4 0.0058824         $2.29
           Operations
March 2019 Business                  03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                    0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/21/19 KBD         390 attention to communications with lender regarding utility lease consent, communications              0.2       0.005       $1.95
           Operations                                         with separate lender regarding city actions and court order relating to porch repairs, and
                                                              communications with property manager regarding accounting report for cross-collateralized
                                                              properties (.2)
March 2019 Claims                    03/13/19 KBD         390 Study lenders' objections to claims process.                                                         0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Asset                     03/01/19 AEP         390 Teleconference with K. Duff regarding finalization of single-family homes listing agreement          0.1 0.0027027         $1.05
           Disposition                                        and options for shopping existing bid (.1)
March 2019 Asset                     03/01/19 AEP         390 make final edits and revisions to proposed single-family home listing agreement (.3)                 0.3 0.0081081         $3.16
           Disposition
March 2019 Asset                     03/06/19 AEP         390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102       $1.99
           Disposition                                        process and potential substitution for current title insurer (.5)
March 2019 Asset                     03/07/19 AEP         390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469         $6.77
           Disposition                                        regarding background of receivership, plan for selling receivership properties, all title
                                                              insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                     03/07/19 NM          260 Draft motion to approve the sale process for the single-family home portfolio.                       0.9 0.0243243         $6.32
           Disposition
March 2019 Asset                     03/08/19 ED          390 Confer with N. Mirjanich regarding information relating to sales of properties from single           1.6 0.0432432        $16.86
           Disposition                                        family homes portfolio, including review and discussion of information relating to recorded
                                                              and released liens on properties.
March 2019 Asset                     03/08/19 NM          260 correspond with E. Duff regarding same and regarding lender on properties and loans for              1.6 0.0432432        $11.24
           Disposition                                        same (1.6)
March 2019 Asset                     03/08/19 NM          260 Correspond with K. Duff and J. Rak regarding motion to approve process for single-family             0.2 0.0054054         $1.41
           Disposition                                        homes (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2019 Asset                     03/12/19 AEP             390 Teleconference with prospective broker of single family home portfolio regarding final                1.0    0.027027      $10.54
           Disposition                                            changes to listing agreement and begin making agreed- upon changes (1.0)

March 2019 Asset                     03/12/19 JR              140 Assist N. Mirjanich with the notice for publication for the motion to approve the process of          0.5 0.0135135         $1.89
           Disposition                                            sale of the single-family homes by adding PIN numbers to the notice (.5)

March 2019 Asset                     03/12/19 NM              260 draft motion to approve the process for the single- family home sale (1.4)                            1.4 0.0378378         $9.84
           Disposition
March 2019 Asset                     03/12/19 NM              260 correspond with J. Rak regarding publication notice for same (.2).                                    0.2 0.0054054         $1.41
           Disposition
March 2019 Asset                     03/13/19 AEP             390 Finalize latest draft of prospective single-family homes listing agreement and transmit same          0.5 0.0135135         $5.27
           Disposition                                            to receivership broker with prefatory comments.
March 2019 Asset                     03/13/19 NM              260 Revise motion to approve the process for the single-family home sale and send to A. Porter            0.5 0.0135135         $3.51
           Disposition                                            for comment.
March 2019 Asset                     03/16/19 AEP             390 Read and respond to e-mail from prospective broker for sale of single-family homes and                0.2 0.0054054         $2.11
           Disposition                                            prepare final draft of proposed representation agreement for mutual execution.

March 2019 Asset                     03/26/19 AEP             390 teleconference with receivership broker regarding status of listing agreement for single-             0.1 0.0027027         $1.05
           Disposition                                            family homes (.1)
March 2019 Asset                     03/27/19 AEP             390 teleconference with M. Rachlis and K. Duff regarding outcome of discussion with property              0.4 0.0108108         $4.22
           Disposition                                            manager, cash management issues, earnest money refund issues, and proposed revisions to
                                                                  single-family home listing agreement (.4)
March 2019 Asset                     03/27/19 JR              140 itemized spreadsheet to reflect past due tax bills from 2017 for payment (.3)                         0.3       0.025       $3.50
           Disposition
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                             regarding same (.5)
March 2019 Business                  03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                  03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                             estate taxes (.4)
March 2019 Business                  03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224         $4.37
           Operations                                             (1.8)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692         $0.49
           Operations                                         (.2).
March 2019 Business                  03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                  03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                  03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations
March 2019 Business                  03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations
March 2019 Business                  03/25/19 ED          390 confer with M. Rachlis regarding conversation with lender's counsel (.2).                              0.2 0.0054054         $2.11
           Operations
March 2019 Business                  03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868         $0.74
           Operations
March 2019 Claims                    03/13/19 NM          260 Study lenders' objections to the claims motion.                                                        0.7 0.0088608         $2.30
           Administration
           & Objections

March 2019 Claims                    03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                    03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                    03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                     cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                    03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                     cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                    03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                    03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Claims                    03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                     cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                       regarding same and study comments from same.

March 2019 Claims                    03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             3.3 0.0417722        $10.86
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same.

March 2019 Claims                    03/29/19 MR          390 work on draft response brief (1.2)                                                                     1.2 0.0151899         $5.92
           Administration
           & Objections

March 2019 Claims                    03/29/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                    03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             8.1 0.1025316        $26.66
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                   04/01/19 KBD         390 Study single family home listing agreement and draft correspondence to A. Porter regarding             0.2 0.0054054         $2.11
             Disposition                                      same.
April 2019   Asset                   04/02/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of single-family home             0.1 0.0027027         $1.05
             Disposition                                      portfolio and additional properties (.1)
April 2019   Asset                   04/03/19 KBD         390 study correspondence from A. Porter regarding motion to approve sale of single-family                  0.1 0.0027027         $1.05
             Disposition                                      home portfolio (.1).
April 2019   Asset                   04/09/19 KBD         390 study correspondence from A. Porter and N. Mirjanich regarding planning for sale of single-            0.2 0.0054054         $2.11
             Disposition                                      family home portfolio (.2).
April 2019   Asset                   04/10/19 KBD         390 Office conference with A. Porter and telephone conference with A. Porter and real estate               0.3 0.0081081         $3.16
             Disposition                                      broker regarding planning for sale of first tranche of properties and preparing for sale of
                                                              third tranche of properties and single family homes.
April 2019   Asset                   04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934         $2.57
             Disposition
April 2019   Asset                   04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912         $3.43
             Disposition
April 2019   Asset                   04/27/19 KBD         390 Exchange correspondence with A. Porter regarding sale of single-family home portfolio.                 0.2 0.0054054         $2.11
             Disposition
April 2019   Business                04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                      0.2 0.0111111         $4.33
             Operations
April 2019   Business                04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868         $0.74
             Operations
April 2019   Business                04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                           0.1 0.0014925         $0.58
             Operations


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019   Business                04/09/19 KBD             390 exchange correspondence with A. Porter, N. Mirjanich, and E. Duff regarding result of tax              0.1 0.0090909         $3.55
             Operations                                           appeals, accounting, and status report (.1)
April 2019   Business                04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075         $2.19
             Operations
April 2019   Business                04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692         $0.73
             Operations
April 2019   Business                04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824         $2.29
             Operations
April 2019   Business                04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778         $3.03
             Operations
April 2019   Business                04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126         $1.14
             Operations                                           efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business                04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383         $1.46
             Operations                                           estate tax payments and planning (.4)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with property managers regarding payment of 2017 real estate                   0.6      0.0375      $14.63
             Operations                                           taxes (.6)
April 2019   Business                04/30/19 KBD             390 Study records for delivering 2017 real estate taxes, several office conferences and exchange           2.5     0.15625      $60.94
             Operations                                           various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                                  (2.5)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417         $0.76
             Operations                                           amounts (.2)
April 2019   Claims                  04/09/19 KBD             390 Study investor lender statements of account.                                                           0.5 0.0061728         $2.41
             Administration
             & Objections

April 2019   Claims                  04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516         $2.52
             Administration
             & Objections

April 2019   Asset                   04/01/19 JR              140 exchange correspondence with property management requesting water bills for properties                 0.2 0.0666667         $9.33
             Disposition                                          (10012 S LaSalle, 1414 East 62nd and 417 Oglesby) (.2).
April 2019   Asset                   04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037         $0.39
             Disposition                                          spreadsheet and additional account numbers (.3)
April 2019   Asset                   04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075         $0.79
             Disposition
April 2019   Asset                   04/02/19 JR              140 Email response to N. Mirjanich regarding assisting on the approval of the single-family homes          0.1 0.0027027         $0.38
             Disposition                                          motion.
April 2019   Asset                   04/02/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for the single-family           0.2 0.0054054         $1.41
             Disposition                                          home portfolio.




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019   Asset                   04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
             Disposition                                          certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019   Asset                   04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
             Disposition                                          Chicago water department (.2).
April 2019   Asset                   04/17/19 AEP             390 study, and revise first draft of proposed offering memorandum associated with marketing of             0.3 0.0081081         $3.16
             Disposition                                          single-family homes (.3)
April 2019   Asset                   04/17/19 AEP             390 communications with receivership brokers for single-family home portfolio regarding timing             0.2 0.0054054         $2.11
             Disposition                                          of motion to approve marketing and offering memorandum (.2).
April 2019   Asset                   04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411         $4.32
             Disposition                                          installment and confirm entities on our applications.
April 2019   Business                04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037         $0.39
             Operations
April 2019   Business                04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262         $2.75
             Operations                                           accrual (2.1)
April 2019   Business                04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,             0.3 0.0028302         $0.40
             Operations                                           and prepare electronic copy for email communication.
April 2019   Business                04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real                0.2 0.0028571         $1.11
             Operations                                           estate taxes.
April 2019   Business                04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412         $1.15
             Operations                                           amounts (.2)
April 2019   Business                04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412         $1.15
             Operations
April 2019   Business                04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                           properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business                04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business                04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business                04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business                04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2019   Business                04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order            4.2 0.0392523         $5.50
             Operations                                           appointing receiver for all the receiver defendants (4.2).
April 2019   Business                04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                               1.4 0.0130841         $1.83
             Operations
April 2019   Business                04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                               0.2 0.0019802         $0.77
             Operations
April 2019   Business                04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0009901         $0.39
             Operations
April 2019   Business                04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                0.5 0.0046729         $0.65
             Operations
April 2019   Business                04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                  0.1     0.00625       $0.88
             Operations
April 2019   Business                04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                     1.2       0.075      $10.50
             Operations
April 2019   Claims                  04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
             Administration                                       insurance coverage (.3)
             & Objections

May 2019     Asset                   05/12/19 KBD             390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                   05/13/19 KBD             390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                   05/13/19 KBD             390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                   05/16/19 KBD             390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                          procedures and impact of changes on sales efforts (.6)
May 2019     Asset                   05/17/19 KBD             390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                   05/20/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                   05/30/19 KBD             390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                          broker (.1)
May 2019     Asset                   05/31/19 KBD             390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business                05/01/19 KBD             390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business                05/01/19 KBD             390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                           replacement insurance (.1).
May 2019     Business                05/02/19 KBD             390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                           replacement of insurance coverage (.1)
May 2019     Business                05/03/19 KBD             390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                           insurance policies and renewals (.2).




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
May 2019     Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                 0.1 0.0009709         $0.38
             Operations                                       payment (.1).
May 2019     Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential               0.3 0.0029126         $1.14
             Operations                                       insurance (.3)
May 2019     Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/14/19 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0046154         $1.80
             Operations
May 2019     Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                               0.9 0.0089109         $3.48
             Operations
May 2019     Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding            0.3 0.0029703         $1.16
             Operations                                       same (.3)
May 2019     Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial          0.6 0.0059406         $2.32
             Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019     Business                05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                           0.2 0.0029851         $1.16
             Operations
May 2019     Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)              0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                      0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                  0.2 0.0019417         $0.76
             Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                               0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                    0.2 0.0019417         $0.76
             Operations                                       property insurance renewal (.2)
May 2019     Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                     0.1 0.0009709         $0.38
             Operations                                       payment (.1)
May 2019     Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding              0.2 0.0019417         $0.76
             Operations                                       property insurance payment (.2)
May 2019     Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                    0.2 0.0019417         $0.76
             Operations
May 2019     Business                05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                            0.1 0.0015625         $0.61
             Operations
May 2019     Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                    0.2 0.0018692         $0.73
             Operations
May 2019     Business                05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                     0.3 0.0046875         $1.83
             Operations                                       expenses (.3)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2019     Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                   05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                   05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of           0.6 0.0122449         $3.18
             Disposition                                          second tranche of properties, and the single-family home approval motion (.6)

May 2019     Asset                   05/13/19 NM              260 correspond with M. Rachlis and A. Porter regarding approval motion for single-family homes             0.1 0.0027027         $0.70
             Disposition                                          and send same to A. Porter for comment (.1).
May 2019     Asset                   05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition
May 2019     Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                   05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes                1.9 0.0387755         $5.43
             Disposition                                          survey in preparation for marketing (1.9)
May 2019     Asset                   05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                     2.6    0.038806       $5.43
             Disposition                                          online water payment and management (2.6)
May 2019     Asset                   05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                    0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                  0.3 0.0044776         $0.63
             Disposition                                          (.3)
May 2019     Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax           2.3 0.0214953         $3.01
             Operations                                           sale (2.3)
May 2019     Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                       0.8 0.0074766         $1.05
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff (.1)                                                                               0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                           0.4 0.0038835         $1.51
             Operations
May 2019     Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                      0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence with property manager (.5)                                                        0.5 0.0076923         $3.00
             Operations
May 2019     Business                05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                    0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                                0.1 0.0015385         $0.60
             Operations


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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/03/19 KMP         140 Compile documents for general liability and umbrella insurance policy renewals and                     0.2 0.0019417         $0.27
             Operations                                       conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business                05/03/19 KMP         140 forward executed policy documents to broker (.1).                                                      0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                            0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella                  0.4 0.0038835         $0.54
             Operations                                       insurance renewal, and communications with K. Duff and bank representative regarding
                                                              same (.4)
May 2019     Business                05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                     0.1 0.0009709         $0.14
             Operations                                       premium finance agreement.
May 2019     Business                05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608         $0.51
             Operations                                       manager (.2)
May 2019     Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214         $4.92
             Operations
May 2019     Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087         $3.79
             Operations
May 2019     Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations
May 2019     Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
             Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019     Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
             Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709         $0.14
             Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)
May 2019     Claims                  05/23/19 NM          260 prepare email to send to all investors and creditors with claims link and send same (1.3)              1.3 0.0160494         $4.17
             Administration
             & Objections

May 2019     Claims                  05/24/19 NM          260 Study responses to correspondence from investors regarding claims portal and process and               1.4    0.017284       $4.49
             Administration                                   draft responses to frequently asked questions to same (1.4)
             & Objections

June 2019    Asset                   06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                 0.3       0.003       $1.17
             Disposition
June 2019    Asset                   06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                  0.2       0.002       $0.78
             Disposition                                      timing (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019    Asset                   06/05/19 KBD             390 office conference with J. Rak and exchange correspondence with A. Porter regarding single               0.2 0.0054054         $2.11
             Disposition                                          family home portfolio motion to approve listing for sale (.2)
June 2019    Asset                   06/09/19 KBD             390 Draft correspondence to A. Porter regarding sale of properties and broker commission.                   0.2      0.0095       $3.71
             Disposition
June 2019    Asset                   06/15/19 KBD             390 Study property marketing status report.                                                                 0.2 0.0019802         $0.77
             Disposition
June 2019    Asset                   06/21/19 KBD             390 study revised portfolio analysis and conferences regarding same (.5)                                    0.5       0.005       $1.95
             Disposition
June 2019    Business                06/03/19 KBD             390 analysis and evaluate receivership expenses (.3).                                                       0.3       0.003       $1.17
             Operations
June 2019    Business                06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                              0.1 0.0009346         $0.36
             Operations
June 2019    Business                06/07/19 KBD             390 and discuss same with E. Duff (.1)                                                                      0.1 0.0009709         $0.38
             Operations
June 2019    Business                06/07/19 KBD             390 Study correspondence and documentation from insurance representative regarding policy                   0.4 0.0038835         $1.51
             Operations                                           renewal (.4)
June 2019    Business                06/07/19 KBD             390 telephone conference and exchange correspondence with bank representative regarding                     0.2 0.0019608         $0.76
             Operations                                           transfer of funds (.2)
June 2019    Business                06/12/19 KBD             390 study property manager financial reporting (.4)                                                         0.4     0.00625       $2.44
             Operations
June 2019    Business                06/13/19 KBD             390 review information relating to insurance premium allocation (.2)                                        0.2 0.0019608         $0.76
             Operations
June 2019    Business                06/14/19 KBD             390 study property manager financial reporting (.3).                                                        0.3 0.0046875         $1.83
             Operations
June 2019    Business                06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence                   0.4 0.0037383         $1.46
             Operations                                           with J. Rak regarding same (.4)
June 2019    Business                06/26/19 KBD             390 study correspondence from insurance broker regarding premium allocation and related                     0.2 0.0019608         $0.76
             Operations                                           correspondence (.2)
June 2019    Claims                  06/17/19 KBD             390 study lenders motion to amend court order and exchange correspondence regarding same                    0.6 0.0098361         $3.84
             Administration                                       (.6).
             & Objections

June 2019    Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
             Disposition
June 2019    Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794         $4.84
             Disposition
June 2019    Asset                   06/04/19 AEP             390 research public records and finalize list of legal descriptions, PIN's, and owners of single-           0.7 0.0189189         $7.38
             Disposition                                          family properties (.7)
June 2019    Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
             Disposition
June 2019    Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                          properties (.6).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019    Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition
June 2019    Asset                   06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714        $25.77
             Disposition                                          marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                  specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                  to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                  PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                  surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                  lists and closing documents, and numerous other transaction preparation tasks.

June 2019    Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                   06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                   06/09/19 AEP             390 prepare e-mail to team regarding property sales and single-family home portfolio tranche                0.2 0.0054054         $2.11
             Disposition                                          (.2).
June 2019    Asset                   06/10/19 AEP             390 Teleconference with real estate broker regarding overview of marketing process for single-              0.2 0.0054054         $2.11
             Disposition                                          family home portfolio and effect of potential credit bidding issues.
June 2019    Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                   06/11/19 AEP             390 Extensive review of public records for each property owned by EB South Chicago 1, as well as            6.2 0.1675676        $65.35
             Disposition                                          all available documents in files of former EquityBuild counsel relating to the acquisition and
                                                                  financing of said properties, and begin preparation of exhibit to motion to approve sales
                                                                  process for single-family home portfolio providing all property-specific information relevant
                                                                  to consideration of motion.
June 2019    Asset                   06/12/19 AEP             390 continue reviewing public records, loan documents, and other materials in EquityBuild files             3.3 0.0891892        $34.78
             Disposition                                          and preparing motion to approve sales process for single-family home portfolio and
                                                                  supporting exhibit (3.3).
June 2019    Asset                   06/13/19 AEP             390 Continue reviewing public records, loan documents, and other materials and preparing                    3.1 0.0837838        $32.68
             Disposition                                          motion to approve sales process for single-family home portfolio and supporting exhibit.

June 2019    Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
             Disposition                                          all properties (.1).
June 2019    Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                   06/26/19 AEP             390 Meeting with J. Rak to collect information for completion of exhibit to motion to approve               1.5 0.0405405        $15.81
             Disposition                                          sales process for single-family home portfolio, inventory state of title and survey work,
                                                                  discuss amendments to portfolio spreadsheet, and otherwise continue organization of next
                                                                  round of motion practice and closings.
June 2019    Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
             Disposition                                          the receiver's information (.9)


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019    Asset                   06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001        $0.14
             Disposition
June 2019    Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667          $2.33
             Disposition                                          receivership properties (1.8).
June 2019    Asset                   06/30/19 AEP             390 Study, edit, and revise second section of motion to approve single-family home portfolio                1.8 0.0486486         $18.97
             Disposition                                          consistent with results of final title reviews of all properties owned by EB South Chicago
                                                                  entities.
June 2019    Business                06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                       0.4       0.004        $1.56
             Operations
June 2019    Business                06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                        0.1       0.001        $0.39
             Operations
June 2019    Business                06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                             0.9 0.0087379          $3.41
             Operations
June 2019    Business                06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for                 2.7       0.027       $10.53
             Operations                                           current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business                06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                    0.4 0.0038835          $0.54
             Operations                                           liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                  regarding same (.4)
June 2019    Business                06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                        0.2 0.0019417          $0.27
             Operations                                           property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business                06/11/19 ED              390 Call with insurance broker regarding pending claims and insurance renewal information (.2)              0.2       0.002        $0.78
             Operations
June 2019    Business                06/13/19 KMP             140 attention to receipt of invoice for insurance premium finance agreement and scheduling                  0.1 0.0009709          $0.14
             Operations                                           payment for same (.1).
June 2019    Business                06/26/19 ED              390 Email correspondence with insurance broker regarding corrections to list of insured                     0.3          0.1      $39.00
             Operations                                           properties (.3)
July 2019    Asset                   07/03/19 KBD             390 telephone conference with A. Porter regarding motion for approval to list for sale single-              0.2 0.0054054          $2.11
             Disposition                                          family home portfolio (.2).
July 2019    Asset                   07/03/19 KBD             390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002        $0.78
             Disposition                                          properties and timing (.2)
July 2019    Asset                   07/09/19 KBD             390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002        $0.78
             Disposition                                          and impact on timing for sale of properties and planning (.2)
July 2019    Asset                   07/10/19 KBD             390 confer with A. Porter regarding single family home portfolio, determination of listing prices,          0.3 0.0081081          $3.16
             Disposition                                          and allocation of sales proceeds (.3)
July 2019    Asset                   07/30/19 KBD             390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                     0.2       0.002        $0.78
             Disposition
July 2019    Asset                   07/31/19 KBD             390 study correspondence regarding plats of survey and properties for sale (.2).                            0.2       0.002        $0.78
             Disposition
July 2019    Business                07/01/19 KBD             390 review allocation of insurance premium (.3)                                                             0.3 0.0029412          $1.15
             Operations




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2019    Business                07/03/19 KBD             390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                   0.2 0.0032787         $1.28
             Operations
July 2019    Business                07/03/19 KBD             390 exchange correspondence regarding analysis of real estate taxes and coordination with                 0.2       0.002       $0.78
             Operations                                           property manager (.2).
July 2019    Business                07/07/19 KBD             390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding               0.5 0.0081967         $3.20
             Operations                                           previous discussions before the Court about priority and abandonment.

July 2019    Business                07/10/19 KBD             390 study various correspondence regarding insurance issues (.3).                                         0.3 0.0428571        $16.71
             Operations
July 2019    Business                07/10/19 KBD             390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
             Operations
July 2019    Business                07/10/19 KBD             390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/12/19 KBD             390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
             Operations                                           communications with asset manager regarding property management costs, and
                                                                  communications with insurance broker relating to premiums (.2)
July 2019    Business                07/14/19 KBD             390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business                07/15/19 KBD             390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business                07/15/19 KBD             390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                           and priority of property sales (.1)
July 2019    Business                07/25/19 KBD             390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                           payment for insurance (.2)
July 2019    Business                07/26/19 KBD             390 study correspondence from property manager regarding planning for payment of other real               0.1       0.025       $9.75
             Operations                                           estate taxes and water bills (.1).
July 2019    Business                07/27/19 KBD             390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
             Operations
July 2019    Claims                  07/02/19 KBD             390 Study and revise outline for argument (1.0)                                                           1.0 0.0163934         $6.39
             Administration
             & Objections

July 2019    Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                   0.2 0.0018519         $0.72
             Administration                                       lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                   07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)          1.4 0.0138614         $1.94
             Disposition
July 2019    Asset                   07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on              0.1 0.0015873         $0.22
             Disposition                                          all properties for property manager (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2019    Asset                   07/03/19 JR              140 update real estate taxes for properties (1.5).                                                          1.5 0.0238095         $3.33
             Disposition
July 2019    Asset                   07/09/19 AEP             390 teleconference with brokers retained to sell single-family home portfolio regarding valuation           1.4 0.0378378        $14.76
             Disposition                                          methodology and allocation of sales proceeds (1.4)
July 2019    Asset                   07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                 0.5 0.0079365         $1.11
             Disposition                                          and resend (.5)
July 2019    Asset                   07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                       1.9       0.019       $2.66
             Disposition
July 2019    Asset                   07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                                1.8       0.018       $2.52
             Disposition
July 2019    Asset                   07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408         $0.80
             Disposition                                          insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                   07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804         $0.14
             Disposition                                          (.1)
July 2019    Asset                   07/23/19 AEP             390 Conference call with K. Duff, M. Rachlis, and receivership brokers regarding single-family              0.4 0.0108108         $4.22
             Disposition                                          portfolio assets and encumbrances thereon, including EBF affiliate and institutional debt (.4)

July 2019    Asset                   07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
             Disposition                                          (.2)
July 2019    Asset                   07/28/19 AEP             390 prepare remaining exhibits to motion, including proposed order, proposed form of                        0.7 0.0189189         $7.38
             Disposition                                          publication, and proposed terms and conditions of single-family residence sales process (.7)

July 2019    Asset                   07/28/19 AEP             390 prepare exhibit to motion reflecting receivership broker's allocations of individual property           1.0    0.027027      $10.54
             Disposition                                          values (1.0)
July 2019    Asset                   07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
             Disposition
July 2019    Asset                   07/28/19 AEP             390 Proofread, edit, and revise latest draft of motion to approve sales process for single-family           3.1 0.0837838        $32.68
             Disposition                                          home portfolio, review notes of teleconference with receivership broker, read white paper
                                                                  received from receivership broker explaining online marketing process, and prepare new
                                                                  section of motion regarding automated valuation methodology and allocation of estimated
                                                                  market values of individual properties (3.1)

July 2019    Asset                   07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255         $5.35
             Disposition                                          title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                  agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                  approve sales, and other closing-related documentation in connection with all remaining
                                                                  tranches (1.4)
July 2019    Business                07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001       $0.39
             Operations                                           payment of real estate taxes (.1)
July 2019    Business                07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001       $0.39
             Operations
July 2019    Business                07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                 0.2 0.0019608         $0.76
             Operations                                           coming due (.2)


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2019    Business                07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial               0.2 0.0019608          $0.76
             Operations                                           reporting information, discussions with asset manager regarding cash flow and property
                                                                  costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business                07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843          $4.21
             Operations
July 2019    Business                07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804          $0.38
             Operations
July 2019    Business                07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824          $2.29
             Operations
July 2019    Business                07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)             0.2       0.002        $0.78
             Operations
July 2019    Business                07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007        $2.73
             Operations                                           Rachlis and J. Rak regarding same (.7).
July 2019    Business                07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824          $2.29
             Operations
July 2019    Business                07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002        $0.52
             Operations                                           property status (.2).
July 2019    Business                07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                  0.8 0.0080808          $2.10
             Operations                                           water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                  the same.
July 2019    Business                07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                    0.6 0.0058824          $2.29
             Operations
July 2019    Business                07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                            0.1 0.0009804          $0.14
             Operations
July 2019    Business                07/23/19 ED              390 review of June financial reporting from property managers (.4)                                        0.4       0.004        $1.56
             Operations
July 2019    Business                07/23/19 JR              140 Update and forward outstanding 2017 real estate balances on all properties to K. Pritchard.           0.7 0.0538462          $7.54
             Operations
July 2019    Business                07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)          0.2       0.002        $0.78
             Operations
July 2019    Business                07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,              0.4 0.0039216          $0.55
             Operations                                           and communications with K. Duff and bank representative regarding same.

July 2019    Business                07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                 0.3 0.0029412          $1.15
             Operations
July 2019    Claims                  07/29/19 ED              390 and email to property manager (.3) regarding same                                                     0.3         0.15      $58.50
             Administration
             & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
July 2019    Claims                  07/29/19 ED          390 confer with K. Duff (.1)                                                                              0.1         0.05      $19.50
             Administration
             & Objections

August 2019 Asset                    08/01/19 KBD         390 Study draft motion for approval to sell single family home portfolio (.4)                             0.4 0.0108108          $4.22
            Disposition
August 2019 Asset                    08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).             0.2 0.0020202          $0.79
            Disposition
August 2019 Asset                    08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest            0.1       0.001        $0.39
            Disposition                                       in properties (.1)
August 2019 Asset                    08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                    0.3       0.003        $1.17
            Disposition                                       marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                    08/15/19 KBD         390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second          0.5 0.0111111          $4.33
            Disposition                                       group of properties and single family home portfolio (.5)
August 2019 Asset                    08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                   0.3       0.003        $1.17
            Disposition
August 2019 Business                 08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                   0.1 0.0009804          $0.38
            Operations                                        expenses and insurance.
August 2019 Business                 08/12/19 KBD         390 study property manager financial reporting (.3).                                                      0.3 0.0046875          $1.83
            Operations
August 2019 Business                 08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                         0.1       0.001        $0.39
            Operations
August 2019 Business                 08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).               0.3 0.0046875          $1.83
            Operations
August 2019 Business                 08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                   0.2 0.0019608          $0.76
            Operations                                        estate taxes (.2).
August 2019 Business                 08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                           0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.              0.3       0.003        $1.17
            Operations                                        Rak regarding same (.3)
August 2019 Business                 08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                     0.5       0.005        $1.95
            Operations
August 2019 Claims                   08/08/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.4)                                              0.4 0.0108108          $4.22
            Administration
            & Objections

August 2019 Claims                   08/08/19 KBD         390 Prepare for conference with lender's counsel (.8)                                                     0.8 0.0216216          $8.43
            Administration
            & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
August 2019 Claims                   08/08/19 KBD         390 conference with lender's counsel (.8)                                                               0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                   08/09/19 KBD         390 study draft response to lender objections (.4).                                                     0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                   08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                    1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                   08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                  0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                   08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                 0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                   08/11/19 KBD         390 Revise response to lenders objections (.5)                                                          0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale           0.9 0.0147541         $5.75
            Administration                                    procedures.
            & Objections

August 2019 Claims                   08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                              0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/20/19 KBD         390 telephone conference with lenders' counsel regarding preparation to market and sell single          1.2 0.0324324        $12.65
            Administration                                    family home portfolio and relating to preliminary report of claims process and upcoming
            & Objections                                      hearing (1.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
August 2019 Claims                   08/20/19 KBD             390 confer with M. Rachlis and A. Porter regarding same (.8)                                              0.8 0.0216216          $8.43
            Administration
            & Objections

August 2019 Claims                   08/28/19 KBD             390 Study lenders' reply relating to objections.                                                          0.3    0.004918        $1.92
            Administration
            & Objections

August 2019 Asset                    08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title              0.5    0.005102        $1.99
            Disposition                                           commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                  timetables (.5)
August 2019 Asset                    08/08/19 MR              390 Prepare for and participate in call with lender's counsel, A Porter and K. Duff.                      2.0 0.0540541         $21.08
            Disposition
August 2019 Asset                    08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                          0.2       0.002        $0.28
            Disposition
August 2019 Asset                    08/13/19 AEP             390 read e-mail from receivership broker regarding status of motion for approval to sell single-          0.1 0.0027027          $1.05
            Disposition                                           family residences and respond thereto (.1).
August 2019 Asset                    08/20/19 AEP             390 conference call with counsel for secured lender holding interests in single-family home               1.3 0.0351351         $13.70
            Disposition                                           portfolio regarding marketing process, potential objection to sales process, allocations of
                                                                  value to individual assets, and potential meeting with secured lenders to discuss global
                                                                  issues, including timing of claims process (1.3)
August 2019 Asset                    08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second             0.1 0.0022222          $0.58
            Disposition                                           tranche, and listing of all remaining properties (.1)
August 2019 Business                 08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for              0.2       0.002        $0.28
            Operations                                            properties.
August 2019 Business                 08/07/19 ED              390 Email correspondence with property manager regarding allocation of expenses between                   0.2          0.1      $39.00
            Operations                                            properties (1414 E 62nd and 6217 S Dorchester) (.2)
August 2019 Business                 08/08/19 ED              390 call with accountant regarding credits toward property account (6217 S Dorchester, 1414               0.1         0.05      $19.50
            Operations                                            and 1418 E 62nd) (.1)
August 2019 Business                 08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                 1.3       0.013        $1.82
            Operations
August 2019 Business                 08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                        0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                           0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to                  0.1 0.0014085          $0.20
            Operations                                            payment of real estate taxes.
August 2019 Business                 08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                 0.1 0.0009804          $0.14
            Operations                                            agreement (.1).
August 2019 Business                 08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                               0.7       0.007        $2.73
            Operations
August 2019 Business                 08/21/19 MR              390 Conferences with E. Duff (.2)                                                                         0.2 0.0019608          $0.76
            Operations


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
August 2019 Business                 08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                     0.8       0.008       $3.12
            Operations
August 2019 Business                 08/22/19 ED              390 review of July reporting from property managers (1.2)                                                 1.2       0.012       $4.68
            Operations
August 2019 Business                 08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).               0.1 0.0009804         $0.14
            Operations
August 2019 Claims                   08/13/19 NM              260 study respond to lender objections on credit bid procedures orders, revise the same, and              0.3    0.004918       $1.28
            Administration                                        correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                   08/14/19 NM              260 study response to lender objections on credit bid procedures orders for filing (.2).                  0.2 0.0032787         $0.85
            Administration
            & Objections

August 2019 Claims                   08/16/19 NM              260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                    0.5 0.0061728         $1.60
            Administration                                        property with EBF debt (.5)
            & Objections

August 2019 Claims                   08/16/19 NM              260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                        same (.3).
            & Objections

August 2019 Claims                   08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage             7.3 0.0890244        $12.46
            Administration                                        of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections

August 2019 Claims                   08/19/19 MR              390 attention to upcoming meeting and hearing on lender related issues (.5).                              0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                   08/20/19 MR              390 follow up discussion and preparation with same (.5).                                                  0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                   08/20/19 MR              390 conferences with lender counsel on claims issues and property sales with K. Duff, A. Porter           1.4 0.0378378        $14.76
            Administration                                        (1.4)
            & Objections

August 2019 Claims                   08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all             7.8    0.095122      $13.32
            Administration                                        the properties.
            & Objections




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
August 2019 Claims                   08/21/19 NM              260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                        study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                   08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the                   8.0    0.097561      $13.66
            Administration                                        recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                   08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                      5.3     0.06625       $9.28
            Administration
            & Objections

August 2019 Claims                   08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.                6.1 0.0753086        $10.54
            Administration
            & Objections

August 2019 Claims                   08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                                   0.2 0.0024691         $0.64
            Administration
            & Objections

August 2019 Claims                   08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                               7.5 0.0925926        $12.96
            Administration
            & Objections

August 2019 Claims                   08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                         0.2 0.0024691         $0.35
            Administration
            & Objections

August 2019 Claims                   08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                              0.4 0.0049383         $1.28
            Administration
            & Objections

August 2019 Claims                   08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531         $2.77
            Administration
            & Objections

August 2019 Claims                   08/30/19 NM              260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                        hearing attached as exhibit to the same (.7).
            & Objections

September Asset                      09/09/19 KBD             390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984         $4.95
2019      Disposition                                             with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                                  marketing and property tour information.


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
September    Asset                   09/18/19 KBD             390 Exchange correspondence with M. Rachlis regarding single family home portfolio valuation.              0.2 0.0054054         $2.11
2019         Disposition
September    Asset                   09/21/19 KBD             390 Draft correspondence to lender's counsel regarding valuation of properties and exchange                0.3 0.0081081         $3.16
2019         Disposition                                          correspondence with M. Rachlis and A. Porter regarding same.
September    Asset                   09/23/19 KBD             390 study property valuation information relating to single family homes, draft correspondence             0.2 0.0054054         $2.11
2019         Disposition                                          to lender's counsel regarding same, and exchange correspondence with A. Porter regarding
                                                                  same (.2)
September    Asset                   09/23/19 KBD             390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745        $14.15
2019         Disposition
September    Asset                   09/24/19 KBD             390 study property valuation information for single family home portfolio and exchange                     0.2 0.0054054         $2.11
2019         Disposition                                          correspondence regarding same (.2).
September    Asset                   09/26/19 KBD             390 Study property valuation information relating to single family home portfolio and exchange             0.3 0.0081081         $3.16
2019         Disposition                                          correspondence regarding same (.3)
September    Asset                   09/27/19 KBD             390 Exchange correspondence regarding valuation of properties.                                             0.3 0.0081081         $3.16
2019         Disposition
September    Business                09/11/19 KBD             390 study property manager financial reports (.3)                                                          0.3 0.0046875         $1.83
2019         Operations
September    Business                09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804         $0.38
2019         Operations
September    Asset                   09/18/19 AEP             390 communications with K. Duff and M. Rachlis regarding single- family residence portfolio (.1).          0.1 0.0027027         $1.05
2019         Disposition
September    Asset                   09/20/19 AEP             390 Prepare e-mail to receivership broker regarding proposed exchange of valuation data with               0.1 0.0027027         $1.05
2019         Disposition                                          secured institutional lender (.1)
September    Asset                   09/21/19 MR              390 attention to issues regarding single family portfolio related issues (.2).                             0.2 0.0054054         $2.11
2019         Disposition
September    Asset                   09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding               2.5 0.0245098         $9.56
2019         Disposition                                          same.
September    Asset                   09/23/19 MR              390 review various emails regarding single home portfolio and other issues (.3)                            0.3 0.0081081         $3.16
2019         Disposition
September    Asset                   09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                           0.3 0.0029412         $1.15
2019         Disposition
September    Asset                   09/24/19 JR              140 organize statements for real estate taxes (.3)                                                         0.3       0.003       $0.42
2019         Disposition
September    Asset                   09/24/19 MR              390 attention to emails regarding single family home portfolio and attention to various court              0.2 0.0054054         $2.11
2019         Disposition                                          orders (.2)
September    Asset                   09/25/19 JR              140 prepare a worksheet with comparative analysis of estimated market values for the single                1.6 0.0432432         $6.05
2019         Disposition                                          family homes (1.6)
September    Asset                   09/25/19 JR              140 exchange correspondence with A. Porter regarding same (.3)                                             0.3 0.0081081         $1.14
2019         Disposition




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
September Asset                      09/26/19 AEP         390 Review and analyze broker opinion of values received from special servicer for institutional          0.7 0.0189189          $7.38
2019      Disposition                                         lender related to single-family residence portfolio, create spreadsheet comparing lender
                                                              values with values used by receivership broker and generate figures comparing allocations of
                                                              individual property values to portfolio values as ascertained by both special servicer and
                                                              receivership broker and prepare e-mail to receivership broker regarding same.

September Asset                      09/28/19 AEP         390 Prepare e-mail to K. Duff and J. Rak regarding comparisons of broker opinions of value                0.2 0.0054054          $2.11
2019      Disposition                                         received from special servicer for institutional lender and values applied by receivership
                                                              broker and additional exchanges of supporting documentation (.2)
September Business                   09/05/19 KMP         140 Communications with K. Duff and bank representative regarding wire transfer of funds to               0.4 0.0039216          $0.55
2019      Operations                                          finance company for payment on insurance premium finance agreement (.4)

September    Business                09/20/19 AEP         390 teleconference with E. Duff regarding utility needs at receivership property (1422 E 62nd)            0.1          0.1      $39.00
2019         Operations                                       (.1).
September    Business                09/20/19 ED          390 confer with A. Porter regarding utility shutoff for unoccupied property (1414 E 62nd Place)           0.1          0.1      $39.00
2019         Operations                                       (.1).
September    Business                09/20/19 ED          390 prepare outlines for discussions with property managers (.8)                                          0.8 0.0078431          $3.06
2019         Operations
September    Business                09/23/19 KMP         140 prepare request form for and conferences with K. Duff and bank representative regarding               0.4 0.0039216          $0.55
2019         Operations                                       transfer of funds for payment of premium finance agreement on property liability insurance
                                                              (.4)
September Business                   09/25/19 ED          390 Call with property manager regarding accounting for property expenses (6217 S Dorchester,             0.4          0.2      $78.00
2019      Operations                                          1414-1418 E 62nd Place), security and utilities relating to unoccupied property (1414 E 62nd
                                                              Place), proposed repairs to property (3723 W 68th), and additional financial reporting on
                                                              properties in portfolio (.4)
September    Business                09/25/19 ED          390 preparation for same (.2)                                                                             0.2 0.0666667         $26.00
2019         Operations
September    Claims                  09/03/19 NM          260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                     0.2 0.0024691          $0.64
2019         Administration
             & Objections

October      Asset                   10/17/19 KBD         390 Analysis of potential sale opportunity.                                                               0.2 0.0022472          $0.88
2019         Disposition
October      Asset                   10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                0.3 0.0033708          $1.31
2019         Disposition                                      same.
October      Business                10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                  0.8 0.0078431          $3.06
2019         Operations
October      Business                10/07/19 KBD         390 study property manager financial reporting (.3).                                                      0.3 0.0046875          $1.83
2019         Operations
October      Business                10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                    0.1 0.0009804          $0.38
2019         Operations
October      Business                10/15/19 KBD         390 study financial reporting from property manager (.3).                                                 0.3 0.0046875          $1.83
2019         Operations


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
October      Asset                   10/01/19 AEP             390 reply to receivership broker regarding single-family home valuations (.1)                                 0.1 0.0027027         $1.05
2019         Disposition
October      Asset                   10/01/19 MR              390 Attention to single family home portfolio issues.                                                         0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/02/19 AEP             390 teleconference with counsel for special servicer regarding variations in single-family portfolio          0.4 0.0108108         $4.22
2019         Disposition                                          valuation analyses and potential for resolution of differences (.4)
October      Asset                   10/04/19 AEP             390 prepare e-mail to counsel for special servicer regarding prospective receipt of BOV's and                 0.1 0.0027027         $1.05
2019         Disposition                                          scheduling of conference call with clients to discuss reconciliation of same with receivership
                                                                  broker listing prices (.1).
October      Asset                   10/08/19 AEP             390 analyze valuation variances relating to single family home portfolio and exchange                         0.3 0.0081081         $3.16
2019         Disposition                                          correspondence with broker and lenders' counsel regarding same (.3)
October      Asset                   10/08/19 MR              390 attention to issues on single family homes (.3)                                                           0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/16/19 AEP             390 e-mail exchanges with K. Duff regarding attempts to schedule conference call with                         0.1 0.0027027         $1.05
2019         Disposition                                          receivership broker for single-family residences and representative of lender's loan servicer
                                                                  (.1)
October      Asset                   10/17/19 AEP             390 Prepare e-mail to counsel for lender on single-family residence properties regarding                      0.1 0.0027027         $1.05
2019         Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1)

October      Asset                   10/17/19 AEP             390 teleconference with counsel for lender on single-family residence properties regarding                    0.4 0.0108108         $4.22
2019         Disposition                                          valuation and allocation issues and prospects for agreement on motion to approve
                                                                  marketing process (.4)
October      Asset                   10/22/19 AEP             390 prepare e-mail to counsel for lender on single-family residence properties regarding                      0.1 0.0027027         $1.05
2019         Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1).

October      Asset                   10/22/19 AEP             390 Conference call with receivership broker for single-family residence properties regarding                 0.3 0.0081081         $3.16
2019         Disposition                                          valuation issues (.3)
October      Asset                   10/23/19 MR              390 Attention to issues on single family home sales and other related issues.                                 0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                     0.4 0.0039216         $1.53
2019         Disposition                                          portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                   10/28/19 AEP             390 correspondence between counsel for loan servicer and receivership single-family home                      0.2 0.0054054         $2.11
2019         Disposition                                          broker regarding scheduling of conference call regarding valuations and allocations (.2).

October      Business                10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                     1.0 0.0098039         $3.82
2019         Operations
October      Business                10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                                  0.3 0.0029412         $1.15
2019         Operations
October      Business                10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers                 1.9 0.0206522         $2.89
2019         Operations                                           can pay out of current net operating income (1.9)
October      Business                10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate               0.3 0.0030303         $0.42
2019         Operations                                           spreadsheet containing unpaid taxes from property manager (.3).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
October      Business                10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                    0.2 0.0021739         $0.30
2019         Operations
October      Business                10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                        0.6       0.006       $0.84
2019         Operations
October      Business                10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real               0.2       0.002       $0.28
2019         Operations                                           estate taxes (.2)
October      Business                10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                  0.3 0.0029412         $0.41
2019         Operations                                           agreement and conferences with K. Duff and bank representative relating to same.

November     Asset                   11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019         Disposition
November     Asset                   11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739         $0.85
2019         Disposition
November     Asset                   11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258         $1.26
2019         Disposition
November     Business                11/05/19 KBD             390 analysis of same (.2).                                                                                0.2 0.0019608         $0.76
2019         Operations
November     Business                11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608         $0.76
2019         Operations                                           assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                  improvements for remaining properties in portfolio (.2)
November     Business                11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                  0.2 0.0032787         $1.28
2019         Operations
November     Business                11/12/19 KBD             390 study property manager reports (.6).                                                                  0.6 0.0098361         $3.84
2019         Operations
November     Business                11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105         $1.64
2019         Operations                                           with E. Duff regarding same (.4)
November     Business                11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053         $0.82
2019         Operations                                           insurance and expenses (.2)
November     Business                11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding            0.3 0.0031579         $1.23
2019         Operations                                           same (.3)
November     Business                11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,             0.2 0.0021053         $0.82
2019         Operations                                           and planning (.2)
November     Asset                   11/01/19 AEP             390 teleconference with special servicer, counsel for special servicer, and receivership single-          0.6 0.0162162         $6.32
2019         Disposition                                          family residence portfolio broker regarding conflicting valuations and allocations and
                                                                  attempts to reconcile differences prior to filing of motion to approve sales process (.6)

November     Asset                   11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties            0.4 0.0043478         $1.70
2019         Disposition                                          (.4).
November     Asset                   11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership             2.8 0.0294737        $11.49
2019         Disposition                                          team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                  receivership assets (2.8)
November     Asset                   11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                     0.2 0.0021053         $0.29
2019         Disposition


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
November     Asset                   11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                8.3 0.0873684        $34.07
2019         Disposition                                          draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                  revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                  (8.3)
November     Asset                   11/26/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding motion to approve sales                    0.2 0.0054054         $0.76
2019         Disposition                                          process and single family homes (.2)
November     Asset                   11/27/19 JR              140 Exchange correspondence with A. Porter related to filing a motion to approve the sale                   0.1 0.0027027         $0.38
2019         Disposition                                          process for remainder of properties and single family homes (.1)
November     Asset                   11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                            0.2 0.0033333         $0.47
2019         Disposition                                          information that is required for future sales of properties (.2).
November     Business                11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet             2.3 0.0244681         $3.43
2019         Operations                                           been sold.
November     Business                11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)              0.6 0.0066667         $0.93
2019         Operations
December     Business                12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                    0.1 0.0010526         $0.41
2019         Operations
December     Business                12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance                 0.1 0.0010526         $0.41
2019         Operations                                           premium payment (.1)
December     Business                12/10/19 KBD             390 study property manager financial reporting (.5)                                                         0.5 0.0081967         $3.20
2019         Operations
December     Claims                  12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                            0.1 0.0012346         $0.48
2019         Administration                                       correspondence to A. Watychowicz regarding same.
             & Objections

December     Asset                   12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                     0.2 0.0021053         $0.29
2019         Disposition
December     Asset                   12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of                 0.2 0.0021053         $0.82
2019         Disposition                                          remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                  motions to approve sales (.2).
December     Asset                   12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status             2.4 0.0296296         $4.15
2019         Disposition                                          and information (2.4).
December     Asset                   12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                     5.9 0.0728395        $10.20
2019         Disposition                                          organization of closing documents and the start of preparation for closings (5.9)
December     Business                12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium               0.4 0.0042105         $0.59
2019         Operations                                           financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business                12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                    0.1 0.0010526         $0.41
2019         Operations
December     Claims                  12/02/19 MR              390 Attention to Chang subpoena (.1)                                                                        0.1 0.0012346         $0.48
2019         Administration
             & Objections




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
December     Claims                  12/05/19 MR              390 Attention to and follow up on lender's inquiry and edit response.                                      0.3 0.0037037         $1.44
2019         Administration
             & Objections

January      Business                01/03/20 KBD             390 Exchange correspondence with property manager and asset manager regarding                              0.3       0.075      $29.25
2020         Operations                                           maintenance, repairs, and potential improvements (.3)
January      Business                01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and             0.2 0.0021978         $0.86
2020         Operations                                           expense payments (.2)
January      Business                01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                  0.7    0.012069       $4.71
2020         Operations
January      Asset                   01/05/20 AEP             390 read and respond to e-mail from receivership broker regarding status of motion to approve              0.1 0.0027027         $1.05
2020         Disposition                                          marketing of single-family residence portfolio (.1).
January      Asset                   01/06/20 AEP             390 Teleconference with counsel for secured lender associated with loans on single-family                  0.1 0.0027027         $1.05
2020         Disposition                                          residences regarding timing of contemplated motion to approve marketing and sale of
                                                                  portfolio (.1)
January      Asset                   01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                         0.3 0.0031579         $0.44
2020         Disposition
January      Asset                   01/30/20 AEP             390 Review surveys and survey invoices received in connection with various single-family                   0.4 0.0108108         $4.22
2020         Disposition                                          residences and update portfolio spreadsheet accordingly.
January      Asset                   01/30/20 JR              140 review surveys and invoices received from the surveying company and save to the                        1.3 0.0351351         $4.92
2020         Disposition                                          corresponding electronic files for various single family homes (1.3)
January      Asset                   01/31/20 AEP             390 Conference call with counsel for lender holding mortgage interests in single-family residence          0.2 0.0054054         $2.11
2020         Disposition                                          portfolio regarding valuations, new issues affecting title, and other related matters (.2)

January      Asset                   01/31/20 AEP             390 review surveys and survey invoices received in connection with various single-family                   0.3 0.0081081         $3.16
2020         Disposition                                          residences and update portfolio spreadsheet accordingly (.3).
January      Business                01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                           0.1 0.0014706         $0.21
2020         Operations
January      Business                01/22/20 NM              260 exchange correspondence with property managers regarding housing court tomorrow,                       1.2       0.075      $19.50
2020         Operations                                           inspections from the same, and nearly half dozen new violations received (1.2).

January      Business                01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                  0.4 0.0042105         $0.59
2020         Operations                                           insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                  01/06/20 MR              390 Attention to third party claims (1.2)                                                                  1.2 0.0148148         $5.78
2020         Administration
             & Objections

February     Asset                   02/10/20 KBD             390 exchange correspondence with A. Porter regarding sale of single-family home portfolio,                 0.2 0.0054054         $2.11
2020         Disposition                                          motion to approve, and timing (.2)
February     Asset                   02/11/20 KBD             390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222         $0.87
2020         Disposition                                          title work (.2)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
February     Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                   0.2 0.0022222         $0.87
2020         Disposition                                      properties (.2)
February     Asset                   02/18/20 KBD         390 Study and revise motion to approve marketing and sale of single-family residence portfolio           1.5 0.0405405        $15.81
2020         Disposition                                      and exhibits.
February     Asset                   02/19/20 KBD         390 study and revise motion to approve listing for sale single family home portfolio (.5).               0.5 0.0135135         $5.27
2020         Disposition
February     Asset                   02/20/20 KBD         390 Work with A. Porter on motion to approve listing of single family home portfolio (1.2)               1.2 0.0324324        $12.65
2020         Disposition
February     Asset                   02/20/20 KBD         390 work on single family home motion and valuation issues with M. Rachlis and A. Porter (1.1)           1.1 0.0297297        $11.59
2020         Disposition
February     Asset                   02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                        0.1 0.0011111         $0.43
2020         Disposition
February     Asset                   02/21/20 KBD         390 draft correspondence to J. Rak regarding preparation for marketing and sale of properties            0.2 0.0054054         $2.11
2020         Disposition                                      (.2).
February     Asset                   02/22/20 KBD         390 draft correspondence regarding publication notice (.2).                                              0.2 0.0054054         $2.11
2020         Disposition
February     Asset                   02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                        0.4 0.0045455         $1.77
2020         Disposition
February     Asset                   02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                  0.1 0.0011111         $0.43
2020         Disposition
February     Asset                   02/26/20 KBD         390 exchange correspondence with real estate broker regarding potential purchasers of                    0.2 0.0054054         $2.11
2020         Disposition                                      properties (.2).
February     Asset                   02/27/20 KBD         390 Telephone conference with A. Porter regarding process for sale of single family home                 0.2 0.0054054         $2.11
2020         Disposition                                      portfolio and communications with broker and lender's counsel relating to same (.2)

February     Asset                   02/28/20 KBD         390 study motion to approve sale of single-family residence portfolio and exchange                       0.3 0.0081081         $3.16
2020         Disposition                                      correspondence regarding same (.3).
February     Business                02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                 0.1 0.0011111         $0.43
2020         Operations                                       financial reporting (.1)
February     Business                02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.          0.4 0.0038095         $1.49
2020         Operations                                       Duff regarding same (.4)
February     Business                02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)            0.4 0.0045455         $1.77
2020         Operations
February     Business                02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                      0.4 0.0045455         $1.77
2020         Operations                                       correspondence with J. Rak relating to same and communications with property manager.

February     Business                02/13/20 KBD         390 Study property manager financial reporting.                                                          0.4 0.0070175         $2.74
2020         Operations
February     Business                02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment              0.4 0.0045455         $1.77
2020         Operations                                       of real estate taxes (.4)
February     Business                02/25/20 KBD         390 review correspondence from property manager regarding payment of real estate taxes (.1)              0.1 0.0017857         $0.70
2020         Operations




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
February     Business                02/27/20 KBD             390 Exchange correspondence with J. Rak regarding analysis of funds, payment of judgment                   0.2 0.0071429          $2.79
2020         Operations                                           orders, and real estate taxes (.2)
February     Claims                  02/07/20 KBD             390 exchange correspondence with A. Porter and N. Mirjanich regarding timing for motions                   0.2     0.00475        $1.85
2020         Administration                                       addressing properties of differing status (.2)
             & Objections

February     Claims                  02/26/20 KBD             390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to            0.4 0.0049383          $1.93
2020         Administration                                       investor accounts (.4).
             & Objections

February     Asset                   02/01/20 AEP             390 Review and analyze consolidated title commitment for single-family residence portfolio and             2.2 0.0594595         $23.19
2020         Disposition                                          insert all special exceptions into motion for leave to sell single-family residences.

February     Asset                   02/03/20 AEP             390 perform title searches on all properties owned by receivership entity and revise motion for            2.5 0.0675676         $26.35
2020         Disposition                                          leave to sell single-family residences accordingly (2.5).
February     Asset                   02/04/20 AEP             390 conference with K. Duff regarding [legal effect of] mortgages recorded against properties              0.6          0.6     $234.00
2020         Disposition                                          with improper legal descriptions (.6).
February     Asset                   02/05/20 AEP             390 Perform title searches on most properties owned by fund and update motion to sell single-              3.1 0.0837838         $32.68
2020         Disposition                                          family residence portfolio accordingly (3.1)
February     Asset                   02/08/20 AEP             390 rearrange and revise introductory portions of motion to approve marketing and sale of single-          1.1 0.0297297         $11.59
2020         Disposition                                          family homes portfolio (1.1).
February     Asset                   02/08/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               4.8 0.1297297         $50.59
2020         Disposition                                          paragraphs of motion to approve marketing and sale of single-family homes portfolio (4.8)

February     Asset                   02/09/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               5.5 0.1486486         $57.97
2020         Disposition                                          paragraphs of motion to approve marketing and sale of single- family homes portfolio.

February     Asset                   02/10/20 AEP             390 Proofread, edit, revise, rearrange, supplement, and fact-check all paragraphs in proposed              4.0 0.1081081         $42.16
2020         Disposition                                          motion to approve sales of single-family homes portfolio and create final to-do list of
                                                                  remaining issues prior to final completion.
February     Asset                   02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                 0.1 0.0011111          $0.29
2020         Disposition
February     Asset                   02/11/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on single-family home portfolio           0.1 0.0027027          $1.05
2020         Disposition                                          title commitment to be waived through hold harmless letters (.1)
February     Asset                   02/11/20 JR              140 assist A. Porter on the seventh motion and create a spreadsheet of documents of record                 5.1 0.1378378         $19.30
2020         Disposition                                          needed for the motion (5.1)
February     Asset                   02/11/20 JR              140 exchange correspondence with the title company regarding same (.2).                                    0.2 0.0054054          $0.76
2020         Disposition
February     Asset                   02/11/20 JR              140 discussion with A. Porter regarding seventh motion for court approval of process for public            0.3 0.0081081          $1.14
2020         Disposition                                          sale (.3)
February     Asset                   02/12/20 JR              140 review and organize various documents of record in corresponding files regarding same                  2.2 0.0594595          $8.32
2020         Disposition                                          (2.2).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
February     Asset                   02/12/20 JR              140 exchange communication with the title company regarding documents of record request for                    0.3 0.0081081         $1.14
2020         Disposition                                          the seventh motion to approve marketing of properties (.3)
February     Asset                   02/13/20 AEP             390 respond to inquiry from counsel for secured lender regarding next anticipated sales tranche                0.2 0.0054054         $2.11
2020         Disposition                                          and prospective listing prices (.2)
February     Asset                   02/13/20 AEP             390 Teleconference with title company underwriter to review special exceptions on title                        2.8 0.0756757        $29.51
2020         Disposition                                          commitment relating to portfolio sale of single-family residences, potential waivers thereof
                                                                  and need for hold harmless letters (2.8)
February     Asset                   02/14/20 AEP             390 Continuation of teleconference with title company underwriter to review special exceptions                 4.1 0.1108108        $43.22
2020         Disposition                                          on title commitment for single-family residence portfolio and assignment of responsibility for
                                                                  procuring hold harmless letters, certificates of compliance, and other documents evidencing
                                                                  releases of clouds on title.
February     Asset                   02/14/20 JR              140 Exchange correspondence with the title company regarding request for documents of record                   0.2 0.0054054         $0.76
2020         Disposition                                          related to the exhibits for the seventh motion.
February     Asset                   02/15/20 JR              140 Organize documents of record received from the title company related to exhibits and the                   1.9 0.0513514         $7.19
2020         Disposition                                          seventh motion.
February     Asset                   02/17/20 JR              140 Finalize the organization and assembling of the remainder of documents of record related to                2.7    0.072973      $10.22
2020         Disposition                                          the 7th motion to confirm sale into electronic files (2.7)
February     Asset                   02/18/20 AEP             390 Review notes of teleconference with title company underwriter, insert summaries of current                 2.4 0.0648649        $25.30
2020         Disposition                                          obstacles into body of title commitment relating to single-family home portfolio, and amend
                                                                  paragraphs of motion to approve marketing and sale of said portfolio to account for
                                                                  resolution of disputed special exceptions (2.4)

February     Asset                   02/18/20 AEP             390 review, update, and revise all non-title related exhibits to motion to approve marketing and               1.8 0.0486486        $18.97
2020         Disposition                                          sale of single-family home portfolio, update spreadsheet of property values to generate
                                                                  individual allocations of value and supplement motion with additional paragraphs regarding
                                                                  deferral of judicial decision on individual allocations until conclusion of portfolio sale (1.8).

February     Asset                   02/18/20 JR              140 Organize additional documents of record related to the 7th motion of single family homes                   0.8 0.0216216         $3.03
2020         Disposition                                          (.8)
February     Asset                   02/19/20 JR              140 Organize documents of record in the electronic files in preparation of filing the 7th motion to            0.7 0.0189189         $2.65
2020         Disposition                                          approve sale of single family homes (.7)
February     Asset                   02/19/20 MR              390 attention to single family home issues (.1).                                                               0.1 0.0027027         $1.05
2020         Disposition
February     Asset                   02/20/20 AEP             390 conference with K. Duff regarding proposed modifications to first draft of motion to approve               2.3 0.0621622        $24.24
2020         Disposition                                          sale of single-family residences, valuation methodology employed by receivership broker,
                                                                  applicability of credit bidding, and allocation of value (2.3)
February     Asset                   02/20/20 MR              390 attention to single family home related issues and property disposition related matters (2.3).             2.3 0.0621622        $24.24
2020         Disposition
February     Asset                   02/20/20 MR              390 Attention to various issues regarding objections to property disposition and follow up                     1.2 0.0324324        $12.65
2020         Disposition                                          regarding same (1.2)
February     Asset                   02/21/20 AEP             390 Teleconference with counsel for lender to fund entities regarding inquiries into nature of sale            0.5 0.0135135         $5.27
2020         Disposition                                          process associated with marketing of single-family residence portfolio (.5)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
February     Asset                   02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                              0.1 0.0010526         $0.15
2020         Disposition
February     Asset                   02/24/20 NM              260 Study email correspondence relating to property sales (.2)                                              0.2 0.0054054         $1.41
2020         Disposition
February     Asset                   02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                  0.1 0.0010753         $0.15
2020         Disposition
February     Asset                   02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties              1.2 0.0134831         $1.89
2020         Disposition                                          managed by a management company (1.2)
February     Asset                   02/28/20 AW              140 Assist in finalization of seventh motion to approve sales process and confirm delay in filing.          0.4 0.0108108         $1.51
2020         Disposition
February     Asset                   02/28/20 JR              140 consolidate exhibits for the single family home motion (1.7)                                            1.7 0.0459459         $6.43
2020         Disposition
February     Asset                   02/28/20 JR              140 obtain documents of record related to the exhibits pertaining to the single family motion (.3)          0.3 0.0081081         $1.14
2020         Disposition
February     Asset                   02/28/20 JR              140 review the single family motion and make changes (1.1)                                                  1.1 0.0297297         $4.16
2020         Disposition
February     Asset                   02/28/20 MR              390 Work on single family homes motion and follow up on same.                                               1.4 0.0378378        $14.76
2020         Disposition
February     Business                02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                  2.8 0.0314607         $4.40
2020         Operations
February     Business                02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real                 0.1 0.0010753         $0.15
2020         Operations                                           estate taxes (.1)
February     Business                02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                     0.1 0.0011236         $0.16
2020         Operations
February     Business                02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                   0.1 0.0019608         $0.27
2020         Operations                                           taxes related to paying property taxes (.1)
February     Business                02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                           0.4 0.0044444         $1.73
2020         Operations
February     Business                02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property                0.2 0.0022727         $0.32
2020         Operations                                           taxes (.2).
February     Business                02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property                0.1 0.0019608         $0.27
2020         Operations                                           taxes (.1)
February     Business                02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                    0.1 0.0014706         $0.57
2020         Operations                                           revisions (.1).
February     Business                02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).             0.2 0.0022222         $0.87
2020         Operations
February     Business                02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                            0.9 0.0096774         $1.35
2020         Operations
February     Business                02/27/20 JR              140 draft a list of properties for which property taxes were not paid and identify institutional            1.3 0.0464286         $6.50
2020         Operations                                           lender for each (1.3)




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  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Claims                  02/16/20 MR              390 research and work on draft motion regarding claims process (5.0).                                        5.0 0.1351351        $52.70
2020         Administration
             & Objections

February     Claims                  02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                      1.2 0.0129032         $1.81
2020         Administration
             & Objections

February     Claims                  02/28/20 AEP             390 Insert and check all exhibit cites in brief, proofread, edit, and make final revisions to same,          3.5 0.0945946        $36.89
2020         Administration                                       edit and revise credit bid procedures.
             & Objections

February     Claims                  02/28/20 NM              260 correspond with A. Porter regarding claims submitted in connection with properties in single             1.1 0.0297297         $7.73
2020         Administration                                       family home motion and study same (1.1)
             & Objections

March 2020 Asset                     03/02/20 KBD             390 study correspondence regarding revision to motion to approve sale of properties (.2).                    0.2 0.0054054         $2.11
           Disposition
March 2020 Asset                     03/09/20 KBD             390 Attention to communication from potential purchaser regarding properties (.1)                            0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                     03/16/20 KBD             390 exchange correspondence with M. Rachlis and A. Porter regarding single family residence                  0.2 0.0054054         $2.11
           Disposition                                            motion and communications with lender's counsel (.2).
March 2020 Asset                     03/16/20 KBD             390 Draft emergency motion for relief from amended general order, exchange correspondence                    2.9 0.0329545        $12.85
           Disposition                                            with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                     03/17/20 KBD             390 telephone conference with counsel for lender regarding single family home portfolio sales                0.1 0.0027027         $1.05
           Disposition                                            motion and motion to request amendment to briefing schedule (.1)

March 2020 Asset                     03/17/20 KBD             390 work on same with M. Rachlis and A. Porter (1.0)                                                         1.0      0.0025       $0.98
           Disposition
March 2020 Asset                     03/17/20 KBD             390 Draft and revise motion for relief from amended general order (.6)                                       0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                     03/17/20 KBD             390 exchange correspondence with A. Porter and M. Rachlis regarding single family residence                  0.2 0.0054054         $2.11
           Disposition                                            motion (.2).
March 2020 Asset                     03/17/20 KBD             390 exchange correspondence and telephone conferences with real estate broker regarding                      1.1      0.0125       $4.88
           Disposition                                            marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                     03/19/20 KBD             390 study correspondence from A. Porter regarding various property closings, timing, COVID-19                0.1 0.0011111         $0.43
           Disposition                                            impact, and communications with buyers representatives (.1).
March 2020 Asset                     03/19/20 KBD             390 Telephone conference with real estate broker regarding market conditions and sales and                   0.3 0.0034091         $1.33
           Disposition                                            marketing timing and strategy (.3)
March 2020 Asset                     03/21/20 KBD             390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                     0.2 0.0022727         $0.89
           Disposition                                            estate marketing, showings, sales, timing, and related issues.




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2020 Asset                     03/23/20 KBD             390 telephone conference with real estate broker regarding market conditions and property sale            0.2 0.0022222         $0.87
           Disposition                                            efforts (.2).
March 2020 Asset                     03/23/20 KBD             390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                   0.1 0.0011111         $0.43
           Disposition                                            properties (.1)
March 2020 Asset                     03/27/20 KBD             390 draft response to motion and telephone conferences and exchange correspondence with M.                2.5 0.0284091        $11.08
           Disposition                                            Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                     03/27/20 KBD             390 exchange correspondence with A. Porter regarding sale of single family residence portfolio            0.1 0.0027027         $1.05
           Disposition                                            (.1)
March 2020 Asset                     03/30/20 KBD             390 Exchange correspondence with M. Rachlis regarding single family residence motion.                     0.2 0.0054054         $2.11
           Disposition
March 2020 Business                  03/10/20 KBD             390 Study property manager financial reporting (.3)                                                       0.3 0.0052632         $2.05
           Operations
March 2020 Business                  03/10/20 KBD             390 exchange correspondence with insurance broker regarding finance agreements, premiums,                 0.2 0.0022222         $0.87
           Operations                                             and renewal (.2).
March 2020 Business                  03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                     0.2 0.0022222         $0.87
           Operations                                             environment (.2).
March 2020 Business                  03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                     0.3 0.0034091         $1.33
           Operations
March 2020 Business                  03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                          0.2 0.0022727         $0.89
           Operations
March 2020 Business                  03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                      0.4 0.0045455         $1.77
           Operations                                             property expenses, and COVID-19 impact (.4)
March 2020 Business                  03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                  0.3 0.0033708         $1.31
           Operations                                             issues and analysis (.3).
March 2020 Business                  03/31/20 KBD             390 Exchange correspondence with M. Rachlis regarding and study draft motion for relief from              0.3 0.0081081         $3.16
           Operations                                             amended scheduling order.
March 2020 Asset                     03/02/20 AW              140 revise certificate of service and email A. Porter regarding same (.1).                                0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/02/20 AW              140 Confer with M. Rachlis and J. Rak regarding single family homes motion (.1)                           0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/02/20 JR              140 update property tax balances (1.6)                                                                    1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                     03/02/20 MR              390 attention to review and revision of motion (.8)                                                       0.8 0.0216216         $8.43
           Disposition
March 2020 Asset                     03/02/20 MR              390 Conference with A. Watychowicz regarding issues on seventh motion for approval related to             0.1 0.0027027         $1.05
           Disposition                                            service of process notice (.1)
March 2020 Asset                     03/03/20 AW              140 finalize motion and revise notice of motion as per suggestion from counsel (.1)                       0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/03/20 AW              140 Attention to final draft of seventh motion for approval of sale process and communicate with          0.1 0.0027027         $0.38
           Disposition                                            counsel regarding exhibits (.1)
March 2020 Asset                     03/03/20 AW              140 file motion and exhibits with the court (.2)                                                          0.2 0.0054054         $0.76
           Disposition


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                              Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2020 Asset                     03/03/20 AW              140 serve as per service list (.4).                                                                         0.4 0.0108108         $1.51
           Disposition
March 2020 Asset                     03/03/20 MR              390 Further attention to various filings on single family home motion and other filings (.5)                0.5 0.0135135         $5.27
           Disposition
March 2020 Asset                     03/04/20 MR              390 Attention to various motions regarding property sales.                                                  0.7 0.0184211         $7.18
           Disposition
March 2020 Asset                     03/09/20 MR              390 Attention to court orders regarding pending motions and schedule and upcoming real estate               0.3 0.0081081         $3.16
           Disposition                                            closings (.3)
March 2020 Asset                     03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222         $0.87
           Disposition
March 2020 Asset                     03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                     03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                            and motions regarding same (1.4)
March 2020 Asset                     03/17/20 AEP             390 teleconference with K. Duff regarding mortgagee interests in single-family residence                    0.3 0.0081081         $3.16
           Disposition                                            portfolio, and filing of motion for relief from general order continuing case calendars (.3)

March 2020 Asset                     03/17/20 AEP             390 Read and reply to e-mails from K. Duff and M. Rachlis regarding motion to market and sell               0.1 0.0027027         $1.05
           Disposition                                            single-family home portfolio (.1)
March 2020 Asset                     03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                            and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                     03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                            properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                     03/17/20 AW              140 Work with K. Duff and M. Rachlis on motion to keep deadlines for sales motions, prepare                 1.4 0.0378378         $5.30
           Disposition                                            notice of motion, attention to multiple revisions of draft, communicate with Receivership
                                                                  team regarding same, finalize motion and file with court, serve on service list and forward to
                                                                  Judge Lee's courtroom deputy.
March 2020 Asset                     03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                     03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                     03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                     03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                     03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition
March 2020 Asset                     03/31/20 MR              390 attention to issues on draft orders (.4).                                                               0.4    0.004878       $1.90
           Disposition
March 2020 Business                  03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.                1.9 0.0215909         $3.02
           Operations




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
March 2020 Business                  03/12/20 KMP             140 Review property manager's statement of account for February 2020 and confer with K. Duff             0.3       0.075      $10.50
           Operations                                             regarding same.
March 2020 Business                  03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.          1.8 0.0204545         $2.86
           Operations
March 2020 Business                  03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                  0.2 0.0022222         $0.87
           Operations
March 2020 Business                  03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy           0.3 0.0033333         $1.30
           Operations                                             renewal and related email correspondence.
March 2020 Business                  03/30/20 ED              390 and loss history (.4)                                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Business                  03/30/20 ED              390 Review revised statement of value (.4)                                                               0.4 0.0044944         $1.75
           Operations
March 2020 Business                  03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                 0.3 0.0033708         $1.31
           Operations
March 2020 Business                  03/30/20 ED              390 call with insurance agent regarding same (.2)                                                        0.2 0.0022472         $0.88
           Operations
March 2020 Claims                    03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).                 1.4 0.0189189         $2.65
           Administration
           & Objections

March 2020 Claims                    03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                                   1.0 0.0136986         $1.92
           Administration
           & Objections

March 2020 Claims                    03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review               2.8 0.0378378         $5.30
           Administration                                         claimant forms.
           & Objections

March 2020 Claims                    03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                        2.1 0.0265823         $3.72
           Administration
           & Objections

March 2020 Claims                    03/12/20 JR              140 Review claims documents.                                                                             3.1 0.0382716         $5.36
           Administration
           & Objections

March 2020 Claims                    03/13/20 JR              140 Work on claims review process with J. Wine.                                                          2.2 0.0271605         $3.80
           Administration
           & Objections




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                             Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                              Task Hours
  Month                                            Keeper                                                                                                              Hours         Fees
March 2020 Claims                    03/16/20 JR              140 Review claimant forms.                                                                       2.5 0.0308642          $4.32
           Administration
           & Objections

March 2020 Claims                    03/18/20 JR              140 Review claimant forms (3.4)                                                                  3.4      0.0425        $5.95
           Administration
           & Objections

March 2020 Claims                    03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                    0.7     0.00875        $1.23
           Administration
           & Objections

March 2020 Claims                    03/19/20 JR              140 Review claim forms.                                                                          3.3     0.04125        $5.78
           Administration
           & Objections

March 2020 Claims                    03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).               0.2 0.0024691          $0.35
           Administration
           & Objections

March 2020 Claims                    03/20/20 JR              140 Review claims forms (5.4)                                                                    5.4 0.0666667          $9.33
           Administration
           & Objections

March 2020 Claims                    03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)            3.4      0.0425        $5.95
           Administration
           & Objections

March 2020 Claims                    03/24/20 AW              140 attention to email from claims vendor regarding property (1418 E 62nd) and research          0.3          0.3      $42.00
           Administration                                         regarding same (.3)
           & Objections

March 2020 Claims                    03/24/20 JR              140 review claimant forms and rollover information (2.1)                                         2.1 0.0259259          $3.63
           Administration
           & Objections

March 2020 Claims                    03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                   0.9 0.0111111          $1.56
           Administration
           & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
March 2020 Claims                    03/24/20 JRW         260 update responses to frequently asked questions (.2)                                                0.2 0.0024691          $0.64
           Administration
           & Objections

March 2020 Claims                    03/24/20 JRW         260 research for responding to claims vendor regarding property numbers of assets for claims           0.3     0.00375        $0.98
           Administration                                     database (.3)
           & Objections

March 2020 Claims                    03/24/20 JRW         260 Attention to responding to claimant inquiry (.2)                                                   0.2 0.0024691          $0.64
           Administration
           & Objections

March 2020 Claims                    03/24/20 JRW         260 email exchange with K. Duff regarding segregation of claims and supporting documentation           0.1 0.0012821          $0.33
           Administration                                     by tranche (.1)
           & Objections

March 2020 Claims                    03/24/20 JRW         260 extended conference with A. Pruitt regarding analysis of claims and updating of master             0.8 0.0101266          $2.63
           Administration                                     claims spreadsheet (.8)
           & Objections

March 2020 Claims                    03/24/20 JRW         260 study spreadsheet of claim information received from claims vendor (.8).                           0.8         0.01       $2.60
           Administration
           & Objections

March 2020 Claims                    03/24/20 JRW         260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)            0.9     0.01125        $2.93
           Administration
           & Objections

March 2020 Claims                    03/31/20 AW          140 revisions to email to Judge Lee's courtroom deputy regarding motion (.1)                           0.1 0.0027027          $0.38
           Administration
           & Objections

March 2020 Claims                    03/31/20 AW          140 communicate with M. Rachlis regarding motion for relief from COVID-19 order that may               0.2 0.0054054          $0.76
           Administration                                     impact sale of properties and research regarding changed procedures (.2)
           & Objections

March 2020 Claims                    03/31/20 AW          140 finalize motion, file, and serve (.2)                                                              0.2 0.0054054          $0.76
           Administration
           & Objections

April 2020   Asset                   04/02/20 KBD         390 telephone conference with claimant's counsel, A. Porter, and real estate broker regarding          0.4 0.0108108          $4.22
             Disposition                                      single family residence portfolio inspection, marketing, and timing (.4)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
April 2020   Asset                   04/02/20 KBD         390 telephone conference with A. Porter and real estate broker regarding single-family residence           0.5 0.0135135          $5.27
             Disposition                                      portfolio inspection, marketing, pricing, and timing (.5)
April 2020   Asset                   04/02/20 KBD         390 address publication of single-family residence (.1).                                                   0.1 0.0027027          $1.05
             Disposition
April 2020   Asset                   04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                            0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                   04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                   0.3 0.0041096          $1.60
             Disposition                                      estimated closing costs and notice of bids to lenders and telephone conference with real
                                                              estate broker relating to same.
April 2020   Business                04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                0.2 0.0022989          $0.90
             Operations
April 2020   Business                04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                             0.2 0.0024691          $0.96
             Operations
April 2020   Business                04/10/20 KBD         390 study property manager reporting (.3).                                                                 0.3 0.0052632          $2.05
             Operations
April 2020   Business                04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                   0.2 0.0024691          $0.96
             Operations
April 2020   Business                04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989          $0.90
             Operations
April 2020   Business                04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989          $0.90
             Operations                                       properties and review information relating to same.
April 2020   Business                04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236          $0.44
             Operations                                       coverage issue (.1)
April 2020   Business                04/15/20 KBD         390 Exchange correspondence with property manager regarding potential improvement of                       0.1          0.1      $39.00
             Operations                                       property (1414 62nd) (.1)
April 2020   Business                04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236          $0.44
             Operations
April 2020   Business                04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691          $0.96
             Operations                                       insurance renewal efforts and cost (.2)
April 2020   Claims                  04/22/20 KBD         390 study correspondence from J. Wine regarding claims against property (1414 62nd) (.1).                  0.1          0.1      $39.00
             Administration
             & Objections

April 2020   Asset                   04/01/20 AEP         390 Teleconference with local receivership broker and counsel for institutional lenders regarding          0.6 0.0162162          $6.32
             Disposition                                      market impact on single-family home portfolio and multifamily properties and prospects for
                                                              credit bidding and preparation of e-mail to receivership broker for single-family home
                                                              portfolio regarding status of motion to approve marketing process, implications of economic
                                                              downturn on timing, and approval of national home inspection service (.6)

April 2020   Asset                   04/01/20 AEP         390 revise proposed order associated with motion to approve marketing and sale of single-family            0.2 0.0054054          $2.11
             Disposition                                      residence portfolio (.2)
April 2020   Asset                   04/01/20 MR          390 review order on clarification and other orders (.2)                                                    0.2    0.002439        $0.95
             Disposition


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2020   Asset                   04/02/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for institutional lender                0.4 0.0108108         $4.22
             Disposition                                          regarding marketing process for single-family home portfolio, retention of inspection
                                                                  company, and pricing and timing (.4)
April 2020   Asset                   04/02/20 AEP             390 teleconference with K. Duff and receivership broker regarding marketing plans for single-             0.5 0.0135135         $5.27
             Disposition                                          family home portfolio and effects of economic downturn on timing of publication of sale (.5)

April 2020   Asset                   04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and            1.1 0.0135802         $5.30
             Disposition                                          housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                  dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                  brought to the prospective purchasers' attention, and relationship between individual
                                                                  property owners and EquityBuild funds (1.1)

April 2020   Asset                   04/02/20 AEP             390 teleconference with K. Duff regarding next steps in process of marketing single-family homes          0.1 0.0027027         $1.05
             Disposition                                          (.1)
April 2020   Asset                   04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and              1.1 0.0135802         $1.90
             Disposition                                          litigation matters (1.1)
April 2020   Asset                   04/02/20 MR              390 conferences with K. Duff regarding issues on single family homes (.2).                                0.2 0.0054054         $2.11
             Disposition
April 2020   Asset                   04/02/20 MR              390 Attention to proposed orders and other property related issues (.9)                                   0.9 0.0243243         $9.49
             Disposition
April 2020   Asset                   04/06/20 AEP             390 teleconference with representative of property inspection company regarding pricing of                0.4 0.0108108         $4.22
             Disposition                                          individual home inspections for single-family residence portfolio, work product delivered by
                                                                  inspection service, access issues (.4).
April 2020   Asset                   04/07/20 AEP             390 prepare e-mails to property managers describing single-family home inspection process and             0.4 0.0108108         $4.22
             Disposition                                          requesting advice regarding potential cooperation of tenants with receivership requests for
                                                                  brief access (.4).
April 2020   Asset                   04/10/20 AEP             390 communications with property manager regarding potential rental of single-family home                 0.1 0.0027027         $1.05
             Disposition                                          subsumed within single-family home portfolio (.1)
April 2020   Asset                   04/11/20 AEP             390 read e-mail from third-party inspection service and respond with questions regarding                  0.1 0.0027027         $1.05
             Disposition                                          contractual rights and access issues (.1)
April 2020   Asset                   04/15/20 AEP             390 review updated title commitments for remaining portfolio properties and prepare list of               0.3 0.0033708         $1.31
             Disposition                                          special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                   04/19/20 AEP             390 prepare spreadsheet of single-family homes and transmit same to inspection service (.1).              0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                   04/20/20 AEP             390 update EquityBuild portfolio spreadsheet (.1)                                                         0.1 0.0011364         $0.44
             Disposition
April 2020   Business                04/10/20 ED              390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                           and related documentation and correspondence.
April 2020   Business                04/21/20 ED              390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                           requested in connection with underwriting process for insurance renewals (.3)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
April 2020   Claims                  04/02/20 JRW         260 conference call with A. Porter and J. Rak regarding code violations against properties under          0.7    0.008642        $2.25
             Administration                                   contract and process for updating records (.7).
             & Objections

April 2020   Claims                  04/10/20 AW          140 communicate with J. Wine regarding claim lacking sufficient supporting documents and                  0.3          0.3      $42.00
             Administration                                   attention to email with K. Duff regarding same (.3)
             & Objections

May 2020     Asset                   05/01/20 KBD         390 attention to property inspection and valuation for single family residences (.2).                     0.2 0.0054054          $2.11
             Disposition
May 2020     Asset                   05/12/20 KBD         390 Telephone conference with real estate broker, A. Porter, and M. Rachlis regarding pricing             0.7 0.0155556          $6.07
             Disposition                                      properties for sale, communicating with claimant's counsel regarding same, and timing for
                                                              approval of sales currently before the court.
May 2020     Asset                   05/19/20 KBD         390 Telephone conference with real estate broker regarding communications with buyer current              0.3 0.0036145          $1.41
             Disposition                                      market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                   05/21/20 KBD         390 Study correspondence from J. Rak regarding listing and sale of properties.                            0.2 0.0024691          $0.96
             Disposition
May 2020     Asset                   05/27/20 KBD         390 exchange correspondence with A. Porter regarding inspection of properties in single family            0.1 0.0027027          $1.05
             Disposition                                      residence portfolio (.1)
May 2020     Business                05/01/20 KBD         390 Telephone conference with and study correspondence from asset manager regarding                       0.2 0.0024691          $0.96
             Operations                                       property improvements, expenses, and insurance renewal (.2)
May 2020     Business                05/06/20 KBD         390 Telephone conferences with insurance broker regarding policy renewal (.2)                             0.2 0.0024691          $0.96
             Operations
May 2020     Business                05/08/20 KBD         390 telephone conference and exchange correspondence with E. Duff regarding same and                      0.3 0.0036145          $1.41
             Operations                                       property management (.3)
May 2020     Business                05/08/20 KBD         390 Study correspondence from insurance broker regarding policy renewal (.1)                              0.1 0.0011628          $0.45
             Operations
May 2020     Business                05/09/20 KBD         390 Study correspondence regarding insurance renewal quote.                                               0.2 0.0024691          $0.96
             Operations
May 2020     Business                05/11/20 KBD         390 telephone conference and exchange correspondence with asset manager regarding same                    0.3 0.0036145          $1.41
             Operations                                       (.3)
May 2020     Business                05/11/20 KBD         390 telephone conference with and study correspondence from E. Duff regarding same (.4).                  0.4 0.0048193          $1.88
             Operations
May 2020     Business                05/11/20 KBD         390 Exchange correspondence and telephone conferences with insurance broker regarding                     0.6 0.0072289          $2.82
             Operations                                       renewal of insurance (.6)
May 2020     Business                05/12/20 KBD         390 study financial reporting from property manager (.3).                                                 0.3 0.0054545          $2.13
             Operations
May 2020     Business                05/12/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                     0.7 0.0084337          $3.29
             Operations
May 2020     Business                05/12/20 KBD         390 review correspondence from property manager regarding lease renewal and exchange                      0.2 0.0024096          $0.94
             Operations                                       correspondence with asset manager regarding same (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2020     Business                05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                       0.2 0.0023529         $0.92
             Operations                                           expenses (.2)
May 2020     Business                05/18/20 KBD             390 study property expenses and financial reporting (.8).                                                  0.8 0.0076923         $3.00
             Operations
May 2020     Business                05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                     0.1 0.0011765         $0.46
             Operations
May 2020     Business                05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).              0.3 0.0037037         $1.44
             Operations
May 2020     Business                05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)               0.3 0.0037037         $1.44
             Operations
May 2020     Business                05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                           0.1 0.0011765         $0.46
             Operations
May 2020     Asset                   05/01/20 AEP             390 Teleconference with counsel for lender on single-family portfolio and various other                    0.5 0.0135135         $5.27
             Disposition                                          receivership properties regarding status of scheduled closings, market timing issues,
                                                                  inspection scheduling, and other due diligence issues (.5)
May 2020     Asset                   05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                                 0.1 0.0011494         $0.16
             Disposition
May 2020     Asset                   05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st               0.1 0.0011494         $0.16
             Disposition                                          quarter of 2020 (.1)
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes                0.2 0.0035088         $0.49
             Disposition                                          (.2).
May 2020     Asset                   05/10/20 AEP             390 prepare e-mail to property managers and third-party inspection service regarding initiation            0.2 0.0054054         $2.11
             Disposition                                          and coordination of home tour scheduling process in connection with single-family residence
                                                                  portfolio sale (.2)
May 2020     Asset                   05/10/20 AEP             390 review single family residence files and prepare plan for collecting and organizing all due            0.3 0.0081081         $3.16
             Disposition                                          diligence materials in connection with establishment of electronic due diligence room for
                                                                  prospective bidders (.3)
May 2020     Asset                   05/11/20 AEP             390 communications with single family home portfolio broker regarding proposed                             0.1 0.0027027         $1.05
             Disposition                                          commencement of marketing campaign (.1)
May 2020     Asset                   05/11/20 AEP             390 communications with property manager regarding coordination of inspections of single-                  0.1 0.0027027         $1.05
             Disposition                                          family homes (.1)
May 2020     Asset                   05/13/20 AEP             390 prepare e-mails to management companies regarding initiation of process of due diligence               0.3 0.0081081         $3.16
             Disposition                                          document collection associated with marketing of single-family residence portfolio (.3).

May 2020     Asset                   05/20/20 AEP             390 conference with clerical assistant regarding collection, inventory, and reorganization of all          0.8 0.0216216         $8.43
             Disposition                                          due diligence documentation received from property managers in connection with
                                                                  marketing of single-family residence portfolio (.8)
May 2020     Asset                   05/22/20 AEP             390 communications with counsel for purchaser of receivership properties regarding status of               0.1 0.0027027         $1.05
             Disposition                                          due diligence production and revisions to title commitment (.1)
May 2020     Asset                   05/22/20 AEP             390 communications with property inspection service and property management company                        0.1 0.0027027         $1.05
             Disposition                                          regarding remaining obstacles to obtaining access to single-family residences (.1)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2020     Asset                   05/24/20 AEP         390 Comprehensive review of status of preparation for marketing of single-family home                      4.4 0.1189189        $46.38
             Disposition                                      portfolio, including creation of due diligence checklist, analysis of all title exceptions
                                                              requiring hold harmless letters, analysis of chain of title for all properties defectively
                                                              conveyed and research into ownership of entities now reflected as titleholders, and
                                                              inventory of property-specific leases, public assistance contracts, and utility bills.

May 2020     Business                05/01/20 KMP         140 Prepare request for funds transfer to property inspector for inspection of single family               0.4 0.0108108         $1.51
             Operations                                       homes, and communicate with K. Duff and bank regarding same.
May 2020     Business                05/13/20 KMP         140 communicate with insurance broker to confirm funds transfer (.1).                                      0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/13/20 KMP         140 prepare form for funds transfer to insurance broker for down payment on financing                      0.4 0.0046512         $0.65
             Operations                                       agreement for general liability and umbrella policy and communications with K. Duff and
                                                              bank representatives regarding same (.4)
May 2020     Business                05/14/20 KMP         140 Communicate with insurance premium funding company regarding contract (.1)                             0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                                 0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                     0.4 0.0046512         $0.65
             Operations                                       property insurance finance agreement, and communicate with bank representative and K.
                                                              Duff regarding same (.4)
May 2020     Business                05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                   0.2 0.0023256         $0.33
             Operations                                       K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Claims                  05/10/20 AEP         390 prepare e-mail to counsel for claimant and receivership broker regarding current strategy for          0.2 0.0054054         $2.11
             Administration                                   initiating marketing of single-family residence portfolio (.2).
             & Objections

June 2020    Asset                   06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and                0.2 0.0024691         $0.96
             Disposition                                      planning for review of offers.
June 2020    Asset                   06/08/20 KBD         390 exchange correspondence and telephone conference with A. Porter regarding inspection of                0.2 0.0054054         $2.11
             Disposition                                      single family residence portfolio and effort to list for sale (.2)
June 2020    Asset                   06/17/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding planning for listing           0.3 0.0081081         $3.16
             Disposition                                      of single family residence portfolio (.3)
June 2020    Asset                   06/23/20 KBD         390 exchange correspondence with real estate broker regarding inspection and valuation                     0.2 0.0054054         $2.11
             Disposition                                      information for single family residence portfolio (.2).
June 2020    Asset                   06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.              1.5 0.0185185         $7.22
             Disposition                                      Rachlis regarding same (1.5)
June 2020    Business                06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                      0.1 0.0019231         $0.75
             Operations
June 2020    Business                06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                 0.1 0.0012048         $0.47
             Operations
June 2020    Business                06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange                 0.4       0.005       $1.95
             Operations                                       correspondence with E. Duff and J. Rak regarding same (.4)


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2020    Business                06/10/20 KBD             390 Study property management reports and expenses and telephone conference with K.                        0.5     0.00625       $2.44
             Operations                                           Pritchard regarding same (.5)
June 2020    Business                06/15/20 KBD             390 Study financial reporting from property manager.                                                       0.2 0.0037736         $1.47
             Operations
June 2020    Business                06/26/20 KBD             390 attention to property expenses and study information regarding same (.2).                              0.2 0.0025641         $1.00
             Operations
June 2020    Business                06/30/20 KBD             390 exchange correspondence regarding real estate tax bills (.2).                                          0.2 0.0027397         $1.07
             Operations
June 2020    Claims                  06/04/20 KBD             390 draft correspondence to lenders' counsel regarding various questions relating to lease                 0.5 0.0135135         $5.27
             Administration                                       renewal and property inspections and investigate information relating to same (.5)
             & Objections

June 2020    Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0012048         $0.17
             Disposition
June 2020    Asset                   06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale             3.2 0.0385542         $5.40
             Disposition                                          related to same (3.2)
June 2020    Asset                   06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,                3.2 0.0405063        $15.80
             Disposition                                          judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                   06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to           2.4 0.0303797        $11.85
             Disposition                                          any receivership properties between 2018 and the present (2.4)
June 2020    Asset                   06/06/20 AEP             390 reorganize same (1.4)                                                                                  1.4 0.0177215         $6.91
             Disposition
June 2020    Asset                   06/09/20 AEP             390 prepare final form orders for presentation to court in connection with imminent approval of            0.1 0.0027027         $1.05
             Disposition                                          7th motion to approve sales (.1)
June 2020    Asset                   06/10/20 JR              140 review water certificate applications related to properties under contract and granted by the          0.2 0.0054054         $0.76
             Disposition                                          judge to sell (.2)
June 2020    Asset                   06/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                             0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                   06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561         $3.80
             Disposition                                          against receivership properties in connection with ascertainment of final payoffs and release
                                                                  of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                   06/15/20 AEP             390 e-mail communications with counsel for lenders associated with single-family homes                     0.2 0.0054054         $2.11
             Disposition                                          regarding irregularities in due diligence documents and prepare e-mail to inspection
                                                                  company regarding status of completion of work (.2)
June 2020    Asset                   06/16/20 AEP             390 Preliminary review and organization of inspection reports received in connection with nearly           0.6 0.0162162         $6.32
             Disposition                                          all properties in single-family residence portfolio (.6)
June 2020    Asset                   06/17/20 AEP             390 Teleconference with J. Rak regarding preparation of definitive spreadsheet of judgments                1.3 0.0351351        $13.70
             Disposition                                          entered against receivership entities, status of preparation of closing documents for next
                                                                  sales tranche, reorganization of inspection documentation produced in connection with
                                                                  single-family home portfolio, and creation of action list (1.3)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
June 2020    Asset                   06/17/20 AEP             390 prepare e-mail to K. Duff and others regarding issues associated with production of certain               0.2 0.0054054         $2.11
             Disposition                                          inspection documentation in connection with marketing and sale of single-family home
                                                                  portfolio (.2)
June 2020    Asset                   06/17/20 JR              140 confer with A. Porter regarding status of properties that are closing and single family home              1.3 0.0351351         $4.92
             Disposition                                          updates to due diligence documents (1.3)
June 2020    Asset                   06/18/20 AEP             390 Communications with K. Duff, receivership broker, and counsel for claimants regarding                     0.2 0.0054054         $2.11
             Disposition                                          potential exclusion of work orders from due diligence files to be made available to
                                                                  prospective bidders on single-family residence portfolio and implications for listing price (.2)

June 2020    Asset                   06/18/20 JR              140 review of single family home due diligence folders (.1)                                                   0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                   06/18/20 MR              390 attention to single family portfolio issues (.1).                                                         0.1 0.0027027         $1.05
             Disposition
June 2020    Asset                   06/19/20 AEP             390 communications with inspection vendor regarding completion of inspection reports on single-               0.1 0.0027027         $1.05
             Disposition                                          family residence portfolio (.1)
June 2020    Asset                   06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                      0.2 0.0024691         $0.96
             Disposition                                          portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                   06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                            0.4 0.0049383         $1.93
             Disposition
June 2020    Asset                   06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).                  1.5 0.0185185         $7.22
             Disposition
June 2020    Business                06/26/20 KMP             140 prepare request forms for funds transfer relating to property manager's request and to                    0.3 0.0036585         $0.51
             Operations                                           installment on insurance premium financing and communicate with K. Duff regarding same
                                                                  (.3).
June 2020    Business                06/30/20 AW              140 attention to second installment property tax bills, communicate with Receivership team                    0.8 0.0109589         $1.53
             Operations                                           regarding same, and scan tax bills (.8).
June 2020    Business                06/30/20 JRW             260 exchange correspondence with litigation team regarding property tax bills (.2)                            0.2 0.0027027         $0.70
             Operations
June 2020    Claims                  06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                     0.4 0.0222222         $5.78
             Administration                                       properties with no institutional debt (.4).
             & Objections

July 2020    Asset                   07/14/20 KBD             390 study correspondence regarding single family residence portfolio valuation work (.1).                     0.1     0.00475       $1.85
             Disposition
July 2020    Asset                   07/26/20 KBD             390 Exchange correspondence with A. Porter regarding planning for single family residence                     0.2      0.0095       $3.71
             Disposition                                          portfolio (.2)
July 2020    Business                07/01/20 KBD             390 study information regarding insurance and exchange correspondence with E. Duff regarding                  0.1     0.00475       $1.85
             Operations                                           same (.1)
July 2020    Business                07/02/20 KBD             390 draft correspondence to lender's counsel regarding status of obtaining certificate of                     0.1     0.00475       $1.85
             Operations                                           insurance (.1).
July 2020    Business                07/15/20 KBD             390 Review property manager financial reporting.                                                              0.4       0.008       $3.12
             Operations




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2020    Business                07/22/20 KBD             390 exchange correspondence with E. Duff regarding property manager financial reporting (.2).               0.2       0.025       $9.75
             Operations
July 2020    Business                07/22/20 KBD             390 exchange correspondence with J. Wine regarding various housing court matters (.2)                       0.2       0.025       $9.75
             Operations
July 2020    Claims                  07/01/20 KBD             390 work on evidence of insurance for lender (.1).                                                          0.1     0.00475       $1.85
             Administration
             & Objections

July 2020    Asset                   07/09/20 JR              140 review most recent T12 for single family homes and save in electronic folders (.6)                      0.6      0.0285       $3.99
             Disposition
July 2020    Asset                   07/09/20 JR              140 exchange correspondence with A. Porter regarding single family portfolio updates (.1).                  0.1     0.00475       $0.67
             Disposition
July 2020    Asset                   07/10/20 JR              140 Exchange correspondence with A. Porter regarding the single family portfolio required                   0.2      0.0095       $1.33
             Disposition                                          updates to master due diligence spreadsheet (.2)
July 2020    Asset                   07/10/20 JR              140 update master single family portfolio spreadsheet with pertinent property information for 37            5.8      0.2755      $38.57
             Disposition                                          single family homes (5.8)
July 2020    Asset                   07/10/20 JR              140 exchange correspondence with property management requesting updated due diligence                       0.1     0.00475       $0.67
             Disposition                                          material for single family homes in preparation for listing (.1).
July 2020    Asset                   07/13/20 JR              140 telephone conference with J. Porter, A. Watychowicz regarding single family homes and                   0.6      0.0285       $3.99
             Disposition                                          investigation process related to financial documents (.6)
July 2020    Asset                   07/13/20 JR              140 review email from the utility manager regarding updated utility bills and organize for single           0.2      0.0095       $1.33
             Disposition                                          family homes (.2)
July 2020    Asset                   07/13/20 JR              140 exchange correspondence with property management regarding updates to due diligence                     0.1     0.00475       $0.67
             Disposition                                          documents for single family homes (.1)
July 2020    Asset                   07/13/20 JR              140 further update master single family home spreadsheet with lease terms of each tenant and                2.4       0.114      $15.96
             Disposition                                          review inspection reports relating to bids and update the master single family spreadsheet
                                                                  (2.4)
July 2020    Asset                   07/13/20 JR              140 review brokers marketing spreadsheet relating to bedroom and bath sizes, review property                1.2       0.057       $7.98
             Disposition                                          manager rent roll regarding same and update master spreadsheet for single family homes
                                                                  (1.2)
July 2020    Asset                   07/14/20 AEP             390 Teleconference with J. Rak regarding status of completion of due diligence folders relating to          0.8       0.038      $14.82
             Disposition                                          single-family home portfolio and reconciliation of various sources of information into master
                                                                  spreadsheet (.8)
July 2020    Asset                   07/14/20 JR              140 review email from property management regarding bedroom bath size discrepancy for single                0.2      0.0095       $1.33
             Disposition                                          family homes and discuss further with property manager regarding same (.2)

July 2020    Asset                   07/14/20 JR              140 update single family home master spreadsheet related to bid information for remainder of                0.6      0.0285       $3.99
             Disposition                                          properties (.6)
July 2020    Asset                   07/14/20 JR              140 review surveys for all single family homes and update master spreadsheet regarding lot size             0.8       0.038       $5.32
             Disposition                                          for each property (.8)
July 2020    Asset                   07/14/20 JR              140 review tax balances for all single family homes and update master spreadsheet (.9)                      0.9     0.04275       $5.99
             Disposition




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Asset                   07/14/20 JR              140 review utility bills requested from property manager and organize in electronic files related          0.4       0.019       $2.66
             Disposition                                          to single family homes (.4).
July 2020    Asset                   07/14/20 JR              140 exchange correspondence with property management requesting updated income and loss                    0.2      0.0095       $1.33
             Disposition                                          statements, utility bills and various other property characteristics related to all 37 single
                                                                  family homes (.2)
July 2020    Asset                   07/14/20 JR              140 review leases for lease terms and security deposits and update master single family portfolio          2.2      0.1045      $14.63
             Disposition                                          (2.2)
July 2020    Asset                   07/15/20 JR              140 Review emails and update master single family spreadsheet with various pertinent property              4.4       0.209      $29.26
             Disposition                                          information, bed/bath sizes, garage spaces, leases.
July 2020    Asset                   07/17/20 JR              140 review email from property manager related to single family homes and the utility                      0.1     0.00475       $0.67
             Disposition                                          responsibility for each tenant (.1)
July 2020    Asset                   07/17/20 JR              140 review utility bills related to single family homes (.8).                                              0.8       0.038       $5.32
             Disposition
July 2020    Asset                   07/17/20 JR              140 update electronic files regarding same (.4)                                                            0.4       0.019       $2.66
             Disposition
July 2020    Asset                   07/17/20 JR              140 review emails and update single family home portfolio (.8)                                             0.8       0.038       $5.32
             Disposition
July 2020    Asset                   07/20/20 JR              140 exchange correspondence with property management requesting same (.2).                                 0.2      0.0095       $1.33
             Disposition
July 2020    Asset                   07/20/20 JR              140 review the master single family homes EB spreadsheet and compile a list of missing subsidy             0.5     0.02375       $3.33
             Disposition                                          agreements and find all discrepancies (.5).
July 2020    Asset                   07/20/20 JR              140 review utility statements for all single family homes and update master single family due              2.9     0.13775      $19.29
             Disposition                                          diligence spreadsheet (2.9)
July 2020    Asset                   07/20/20 JR              140 Exchange correspondence with property management regarding missing items related to                    0.3     0.01425       $2.00
             Disposition                                          single family homes (.3)
July 2020    Asset                   07/20/20 JR              140 exchange correspondence with property management requesting missing items (.3)                         0.3     0.01425       $2.00
             Disposition
July 2020    Asset                   07/20/20 JR              140 review surveys for all single family homes and update master due diligence spreadsheet                 1.2       0.057       $7.98
             Disposition                                          related to garage space for each property (1.2)
July 2020    Asset                   07/21/20 JR              140 Review email from property management and the requested subsidy agreements regarding                   0.2      0.0095       $1.33
             Disposition                                          the single family home portfolio (.2)
July 2020    Asset                   07/21/20 JR              140 review email from property management related to requested due diligence documents (.2)                0.2      0.0095       $1.33
             Disposition
July 2020    Asset                   07/21/20 JR              140 save in electronic folders and update master due diligence spreadsheet regarding same (.5)             0.5     0.02375       $3.33
             Disposition
July 2020    Asset                   07/21/20 JR              140 organize electronic files and update master due diligence spreadsheet related to single                0.5     0.02375       $3.33
             Disposition                                          family homes (.5)
July 2020    Asset                   07/21/20 JR              140 exchange correspondence with property manager regarding additional information                         0.2      0.0095       $1.33
             Disposition                                          pertaining to single family homes (.2)
July 2020    Asset                   07/21/20 JR              140 review leases provided by property leasing manager and organize electronic files for various           0.2      0.0095       $1.33
             Disposition                                          single family homes (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2020    Asset                   07/22/20 AEP             390 review of relevant due diligence materials and conference with J. Rak regarding status of             1.1     0.05225      $20.38
             Disposition                                          preparation of due diligence documentation in connection with conveyance of single-family
                                                                  home portfolio (1.1)
July 2020    Asset                   07/22/20 AEP             390 prepare communication to counsel for institutional lender regarding status of completion of           0.2      0.0095       $3.71
             Disposition                                          due diligence folders associated with single-family homes (.2)
July 2020    Asset                   07/22/20 JR              140 meeting with A. Porter regarding single family homes master due diligence spreadsheet (.7)            0.7     0.03325       $4.66
             Disposition
July 2020    Asset                   07/22/20 JR              140 review various closed properties related to current insurance and inspection issues (.1)              0.1     0.00475       $0.67
             Disposition
July 2020    Asset                   07/22/20 JR              140 exchange correspondence with property management and requesting litigation documents                  0.2      0.0095       $1.33
             Disposition                                          (.2)
July 2020    Asset                   07/22/20 JR              140 review email from property management regarding updates to due diligence documents for                0.2      0.0095       $1.33
             Disposition                                          single family homes, request information regarding discrepancies in subsidy agreements and
                                                                  rent roll previously provided (.2).
July 2020    Asset                   07/24/20 JR              140 follow up correspondence with property management regarding single family home due                    0.1     0.00475       $0.67
             Disposition                                          diligence document request (.1)
July 2020    Asset                   07/26/20 AEP             390 review all property-specific due diligence folders associated with single-family home                 2.4       0.114      $44.46
             Disposition                                          portfolio, eliminate duplicates, perform final reconciliation of damage repairs, cost
                                                                  estimates, lease documentation, and rental information and prepare e-mail to receivership
                                                                  broker regarding commencement of public marketing campaign (2.4)

July 2020    Asset                   07/27/20 AEP             390 begin review of all surveys in single-family residence portfolio in connection with                   0.5     0.02375       $9.26
             Disposition                                          identification of encroachments likely to trigger demands for title insurance endorsements
                                                                  (.5)
July 2020    Asset                   07/27/20 JR              140 review single family portfolio and request additional updates from the property manager (.6)          0.6      0.0285       $3.99
             Disposition
July 2020    Asset                   07/28/20 AEP             390 completion of communications with receivership real estate broker regarding status of due             0.1     0.00475       $1.85
             Disposition                                          diligence folders in connection with marketing of single-family home portfolio (.1)

July 2020    Asset                   07/28/20 JR              140 review email from real estate broker regarding updates to due diligence documents for                 0.2      0.0095       $1.33
             Disposition                                          single family homes and respond regarding same (.2)
July 2020    Asset                   07/28/20 JR              140 review requested due diligence documents and request additional missing items from                    0.4       0.019       $2.66
             Disposition                                          property management regarding single family homes (.4)
July 2020    Asset                   07/28/20 JR              140 review requested water bills for all single family homes and update property folders and              1.2       0.057       $7.98
             Disposition                                          update master single family homes spreadsheet (1.2)
July 2020    Asset                   07/28/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1     0.00475       $0.67
             Disposition
July 2020    Business                07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB          0.6       0.008       $1.12
             Operations                                           properties in the estate.
July 2020    Business                07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                    0.2 0.0027778         $0.39
             Operations                                           upcoming payment on insurance premium funding (.2).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2020    Business                07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties          0.5 0.0069444          $0.97
             Operations                                           and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                  installment on insurance premium financing agreement, and communications with K. Duff
                                                                  and bank representatives regarding same (.5)
July 2020    Claims                  07/02/20 JRW             260 revise claims data regarding property (1414 & 1418 East 62nd Place) (.1).                             0.1          0.1      $26.00
             Administration
             & Objections

August 2020 Asset                    08/07/20 KBD             390 exchange correspondence with real estate broker regarding work to list single family                  0.2      0.0095        $3.71
            Disposition                                           residence portfolio (.2)
August 2020 Asset                    08/12/20 KBD             390 Telephone conference with real estate broker and counsel regarding marketing and sale of              0.5     0.02375        $9.26
            Disposition                                           single family residence portfolio.
August 2020 Asset                    08/25/20 KBD             390 exchange correspondence with A. Porter regarding preparation of single family residence               0.1     0.00475        $1.85
            Disposition                                           portfolio for sale (.1)
August 2020 Asset                    08/31/20 KBD             390 Telephone conference with A. Porter regarding sale of single family residence portfolio and           0.2      0.0095        $3.71
            Disposition                                           additional property.
August 2020 Business                 08/25/20 KBD             390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                      0.1 0.0014085          $0.55
            Operations
August 2020 Claims                   08/04/20 KBD             390 draft correspondence to other claimant's counsel regarding requests for records (.3)                  0.3 0.0037037          $1.44
            Administration
            & Objections

August 2020 Asset                    08/03/20 AEP             390 review consolidated title commitment for single-family homes portfolio, research status of            1.3     0.06175       $24.08
            Disposition                                           administrative judgments identified as exceptions, prepare list of outstanding issues, and
                                                                  transmit same to title company underwriter regarding continued clearance of title
                                                                  exceptions (1.3).
August 2020 Asset                    08/05/20 AEP             390 Teleconference with title company underwriter regarding all encroachments reflected on                2.0       0.095       $37.05
            Disposition                                           surveys of single-family homes and deletion of certain special exceptions on single-family
                                                                  homes title commitment.
August 2020 Asset                    08/11/20 JR              140 further communication with property management regarding same (.1)                                    0.1     0.00475        $0.67
            Disposition
August 2020 Asset                    08/11/20 JR              140 review email from A. Porter regarding status of new applicants for the single family homes            0.1     0.00475        $0.67
            Disposition                                           (.1)
August 2020 Asset                    08/12/20 AEP             390 teleconference with receivership brokers regarding initiation of marketing of single-family           0.5     0.02375        $9.26
            Disposition                                           home portfolio, bidding procedures, pricing, and publication notice (.5).

August 2020 Asset                    08/12/20 MR              390 Telephone conference regarding marketing and sale of single family residence portfolio with           0.5     0.02375        $9.26
            Disposition                                           asset manager, K. Duff and A. Porter.
August 2020 Asset                    08/14/20 JR              140 further communication with property management requesting updates to due diligence                    0.2      0.0095        $1.33
            Disposition                                           documents for single family homes (.2)
August 2020 Asset                    08/17/20 JR              140 Review email from property manager regarding updated income statements for single family              0.1     0.00475        $0.67
            Disposition                                           homes and respond regarding same (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
August 2020 Asset                    08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed              0.1 0.0013699          $0.53
            Disposition                                           within eighth, ninth, and current tranches (.1)
August 2020 Asset                    08/20/20 JR              140 review email from property management regarding status of due diligence documents                    0.1     0.00475        $0.67
            Disposition                                           related to single family homes (.1).
August 2020 Asset                    08/21/20 JR              140 Review email from property manager regarding updated income statements for single family             0.1     0.00475        $0.67
            Disposition                                           homes and respond regarding same (.1)
August 2020 Business                 08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be             0.1 0.0011765          $0.46
            Operations                                            listed for sale (.1)
August 2020 Business                 08/13/20 ED              390 review and analysis of related documents and reports (.2).                                           0.2 0.0023529          $0.92
            Operations
August 2020 Business                 08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager             0.2 0.0031746          $1.24
            Operations                                            (.2)
August 2020 Business                 08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873          $0.62
            Operations
August 2020 Business                 08/24/20 JR              140 Review various property tax balances.                                                                1.1 0.0152778          $2.14
            Operations
August 2020 Business                 08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                         0.9      0.0125        $1.75
            Operations
September Business                   09/15/20 KBD             390 review financial reporting from property manager (.2)                                                0.2 0.0040816          $1.59
2020        Operations
September Business                   09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding                0.3 0.0042857          $1.67
2020        Operations                                            payment of same (.3)
September Business                   09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and               0.7         0.01       $3.90
2020        Operations                                            lenders (.7)
September Business                   09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                 0.1 0.0014925          $0.58
2020        Operations
September Business                   09/28/20 KBD             390 Exchange correspondence with J. Rak and property managers regarding real estate taxes                0.6         0.04      $15.60
2020        Operations                                            (1700 Juneway Terrace, 6250 S Mozart Avenue, 6558 S Vernon Avenue, 1414 E 62nd, 4611 S.
                                                                  Drexel, 6217 S. Dorchester, 7255 S. Euclid, 6250 S. Mozart, 7109 S. Calumet, 11318 Church,
                                                                  406 E 87th Place, 61 E 92nd, 7210 Vernon, 6759 Indiana, 1131 E 79th, 7508 Essex Ave).

September Claims                     09/14/20 KBD             390 exchange correspondence with claimant counsel regarding single family residence portfolio            0.1     0.00475        $1.85
2020      Administration                                          (.1)
          & Objections

September Asset                      09/01/20 AEP             390 review files pertaining to single- family residence portfolio and prepare allocation of              0.3     0.01425        $5.56
2020      Disposition                                             property inspection costs for insertion into May statements to be provided to institutional
                                                                  lenders (.3).
September    Asset                   09/01/20 JR              140 review email from real estate broker regarding due diligence documents related to single             0.3     0.01425        $2.00
2020         Disposition                                          family homes and exchange communications regarding same (.3)
September    Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                 0.2 0.0027778          $0.39
2020         Disposition                                          income available funds related to payment of tax balances (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
September    Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                          0.1 0.0013889         $0.19
2020         Disposition
September    Asset                   09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                         1.8       0.025       $3.50
2020         Disposition
September    Asset                   09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                   0.1 0.0013889         $0.19
2020         Disposition
September    Asset                   09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                      0.2 0.0027778         $0.39
2020         Disposition                                          for all EB properties with sufficient funds (.2).
September    Asset                   09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                       0.1 0.0014085         $0.20
2020         Disposition                                          of all EB properties (.1)
September    Asset                   09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                           0.1 0.0014085         $0.20
2020         Disposition                                          properties with sufficient funds (.1)
September    Asset                   09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                    0.3 0.0042254         $0.59
2020         Disposition                                          regarding same for all remaining properties in the EquityBuild Estate (.3)

September    Asset                   09/25/20 JR              140 review tax payments produced by property manager (.7).                                                     0.7 0.0097222         $1.36
2020         Disposition
September    Asset                   09/28/20 JRW             260 Email exchange regarding publication notice (.1)                                                           0.1     0.00475       $1.24
2020         Disposition
September    Asset                   09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed                 0.1 0.0015873         $0.22
2020         Disposition                                          properties (.1)
September    Asset                   09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                      0.1 0.0015873         $0.22
2020         Disposition
September    Asset                   09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                     0.2 0.0030769         $0.43
2020         Disposition                                          payments (.2)
September    Business                09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding              0.7 0.0098592         $1.38
2020         Operations                                           tax balances (.7).
September    Business                09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                            0.2 0.0028169         $0.39
2020         Operations                                           payment of taxes of EquityBuild properties.
September    Business                09/22/20 JR              140 review email from property manager and update electronic files for various properties with                 0.2 0.0028571         $0.40
2020         Operations                                           property tax receipts (.2)
September    Business                09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                     1.2 0.0171429         $2.40
2020         Operations
September    Business                09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)                 0.2 0.0028571         $0.40
2020         Operations
October      Asset                   10/16/20 KBD             390 Work with A. Porter and J. Rak on planning for listing SFR portfolio and title exception and               0.6      0.0285      $11.12
2020         Disposition                                          insurance issues (single family) (.6)
October      Asset                   10/23/20 KBD             390 confer with broker, lenders counsel, and A. Porter regarding single-family residence portfolio             0.4       0.019       $7.41
2020         Disposition                                          marketing and listing planning, title issues, due diligence materials, bid procedures, credit bid
                                                                  interest, and procedure for reviewing bids (.4)

October      Asset                   10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                        0.2    0.002375       $0.93
2020         Disposition                                          properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
October      Asset                   10/23/20 KBD             390 work on preparation for marketing and listing of single-family residence portfolio and                  0.5     0.02375       $9.26
2020         Disposition                                          prepare for call with broker and lenders counsel (.5)
October      Business                10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                         0.2 0.0032258         $1.26
2020         Operations
October      Business                10/09/20 KBD             390 study financial reporting from property managers (.5)                                                   0.5 0.0080645         $3.15
2020         Operations
October      Business                10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                               0.2 0.0034483         $1.34
2020         Operations
October      Asset                   10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903         $1.58
2020         Disposition                                          lenders (.7)
October      Asset                   10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future             0.4 0.0064516         $2.52
2020         Disposition                                          marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                   10/14/20 AEP             390 Continue reviewing due diligence folders for single-family homes, updating due diligence                2.3     0.10925      $42.61
2020         Disposition                                          checklist, reconciling title commitment exceptions to EquityBuild records, and preparing bid
                                                                  procedures to govern submission of offers and selection of winning bidder.

October      Asset                   10/15/20 AEP             390 read through all title exceptions and create master list of items needed from City of Chicago           1.4      0.0665      $25.94
2020         Disposition                                          and prior encumbrances to ensure conveyance of clean title at closing (1.4)

October      Asset                   10/15/20 AEP             390 review and analyze title histories on all properties subject to title exceptions and create             2.0       0.095      $37.05
2020         Disposition                                          chain of title explanations for use with title underwriter (2.0).
October      Asset                   10/15/20 AEP             390 review all building code violation folders to identify all potential judgments pending against          0.8       0.038      $14.82
2020         Disposition                                          single-family homes (.8)
October      Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding issues associated with single-family home              0.5     0.02375       $9.26
2020         Disposition                                          judgments and encumbrances (single family) (.5)
October      Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding property tax issues (.1)                               0.1     0.00475       $1.85
2020         Disposition
October      Asset                   10/16/20 JR              140 Work with A. Porter and K. Duff on planning for listing single family portfolio and title               0.6      0.0285       $3.99
2020         Disposition                                          exception and insurance issues (.6)
October      Asset                   10/16/20 JR              140 review tax balances for single family homes (.4).                                                       0.4       0.019       $2.66
2020         Disposition
October      Asset                   10/16/20 JRW             260 Confer with K. Duff regarding publication notice for single family home portfolio.                      0.1     0.00475       $1.24
2020         Disposition
October      Asset                   10/19/20 JR              140 review single family home due diligence folders and organize in preparation of sharing with             2.7     0.12825      $17.96
2020         Disposition                                          interested buyers (2.7).
October      Asset                   10/22/20 JR              140 Update single family homes documents (.5)                                                               0.5     0.02375       $3.33
2020         Disposition
October      Asset                   10/22/20 JR              140 exchange correspondence with A. Porter regarding single family homes (.1)                               0.1     0.00475       $0.67
2020         Disposition




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                            Task Hours
  Month                                        Keeper                                                                                                                            Hours        Fees
October      Asset                   10/23/20 AEP         390 teleconference with K. Duff, receivership broker, and counsel for special servicer regarding               0.5     0.02375       $9.26
2020         Disposition                                      status of preparation of marketing of single-family home portfolio, including title issues, sales
                                                              contract issues, due diligence issues, and marketing issues (.5)

October      Asset                   10/23/20 AEP         390 preliminary communications with alternative title company regarding potential issuance of                  0.3     0.01425       $5.56
2020         Disposition                                      insurance over special exceptions raised by current insurer (.3)
October      Asset                   10/27/20 AEP         390 teleconference with potential new title company regarding impasses with current title                      0.7    0.016625       $6.48
2020         Disposition                                      company over deletion of special exceptions on various receivership properties (7237 S
                                                              Bennett and single-family home portfolio) (.7).
October      Asset                   10/29/20 AEP         390 communications with former title company regarding need for hold harmless letter                           0.1     0.00475       $1.85
2020         Disposition                                      associated with prospective conveyance of receivership property (.1)
October      Business                10/07/20 KMP         140 Prepare form for wire transfer to financing company for payment of insurance premium                       0.3 0.0048387         $0.68
2020         Operations                                       financing installment and communications with K. Duff and bank representatives regarding
                                                              same.
October      Business                10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                         0.9 0.0145161         $5.66
2020         Operations                                       explanations of insurance expense for all unsold properties and inspection expenses for
                                                              certain properties (.9)
October      Business                10/08/20 ED          390 review of premium finance agreements executed in connection with renewals of property                      0.3 0.0048387         $1.89
2020         Operations                                       and liability insurance (.3)
October      Business                10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                          0.2 0.0033333         $0.47
2020         Operations                                       financing installments in light of various property sales.
October      Business                10/30/20 KMP         140 prepare form for funds transfer to premium financing company for installment payment on                    0.4 0.0066667         $0.93
2020         Operations                                       property insurance, and communicate with K. Duff and bank representatives regarding same
                                                              (.4)
October      Business                10/30/20 KMP         140 Communication with insurance broker regarding updated payment schedules for insurance                      0.2 0.0033333         $0.47
2020         Operations                                       premium financing installments in light of various property sales (.2)
November     Asset                   11/17/20 KBD         390 exchange correspondence with A. Porter regarding pricing and allocation of sale proceeds                   0.2      0.0095       $3.71
2020         Disposition                                      for single family residence portfolio and title company communication (.2)

November     Asset                   11/19/20 KBD         390 work on bid procedures for single family residence portfolio (.3).                                         0.3     0.01425       $5.56
2020         Disposition
November     Asset                   11/20/20 KBD         390 exchange correspondence with M. Rachlis regarding sale procedures for single family                        0.1     0.00475       $1.85
2020         Disposition                                      residence portfolio (.1)
November     Asset                   11/20/20 KBD         390 telephone conferences with A. Porter regarding marketing of and allocation issues relating to              0.3     0.01425       $5.56
2020         Disposition                                      single family residence portfolio (.3)
November     Asset                   11/20/20 KBD         390 telephone conference with real estate broker and A. Porter regarding same (.2)                             0.2      0.0095       $3.71
2020         Disposition
November     Asset                   11/21/20 KBD         390 Exchange correspondence with real estate broker and A. Porter regarding treatment of                       0.2      0.0095       $3.71
2020         Disposition                                      offers for single family residence portfolio.
November     Asset                   11/28/20 KBD         390 Exchange correspondence with A. Porter regarding broker agreement and publication notice                   0.2      0.0095       $3.71
2020         Disposition                                      for sale of single-family residence portfolio.
November     Asset                   11/29/20 KBD         390 Study and revise offering memorandum for sale of single-family residence portfolio and draft               0.3     0.01425       $5.56
2020         Disposition                                      correspondence to A. Porter regarding same.


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
November     Asset                   11/30/20 KBD             390 work on offering memorandum and exchange correspondence regarding same for single-                        0.2      0.0095       $3.71
2020         Disposition                                          family residence portfolio (.2)
November     Business                11/13/20 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0065217         $2.54
2020         Operations
November     Claims                  11/20/20 KBD             390 confer with claimant lenders' counsel, real estate broker, and A. Porter regarding marketing              0.6      0.0285      $11.12
2020         Administration                                       of and allocation issues relating to single family residence portfolio (.6)
             & Objections

November     Asset                   11/05/20 AEP             390 continue analyzing public records and preparing memorandum to prospective new title                       3.5     0.16625      $64.84
2020         Disposition                                          insurer requesting consideration of waiver of title exceptions appearing on current version of
                                                                  title commitment for single-family homes (3.5).
November     Asset                   11/06/20 AEP             390 Finalize review and analysis of remaining properties associated with title exceptions in single-          2.3     0.10925      $42.61
2020         Disposition                                          family home portfolio and preparation of memorandum to prospective new title insurer
                                                                  regarding potential waiver of exceptions (2.3)
November     Asset                   11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                              0.7    0.012069       $1.69
2020         Disposition
November     Asset                   11/17/20 AEP             390 prepare correspondence to receivership brokers associated with single- family home                        0.2      0.0095       $3.71
2020         Disposition                                          portfolio regarding preparation for marketing effort (.2).
November     Asset                   11/17/20 AEP             390 teleconference with prospective new title insurer regarding issues associated with                        0.5     0.02375       $9.26
2020         Disposition                                          preparation of title commitment for single-family home portfolio (.5)
November     Asset                   11/18/20 AEP             390 prepare e-mail to title underwriter enclosing and explaining spreadsheets containing                      0.2      0.0095       $3.71
2020         Disposition                                          information pertaining to single-family home portfolio (.2)
November     Asset                   11/18/20 AEP             390 teleconference with K. Duff and J. Rak regarding final preparation for initiation of marketing            0.4       0.019       $7.41
2020         Disposition                                          of single-family home portfolio (.4)
November     Asset                   11/18/20 AEP             390 Teleconference for title company underwriter regarding issues associated with preparation                 0.3     0.01425       $5.56
2020         Disposition                                          of title commitments for single-family home portfolio (.3)
November     Asset                   11/18/20 JR              140 request updated due diligence documents from property management for single family                        0.1     0.00475       $0.67
2020         Disposition                                          homes (.1)
November     Asset                   11/18/20 JR              140 call with K. Duff and A. Porter relating to status of single family home portfolio and plan of            0.5     0.02375       $3.33
2020         Disposition                                          action (.5)
November     Asset                   11/18/20 JRW             260 Exchange correspondence with A. Porter regarding status of marketing of properties (single-               0.1     0.00475       $1.24
2020         Disposition                                          family portfolio) (.1)
November     Asset                   11/19/20 JR              140 review uploaded documents regarding same and further exchange correspondence with                         0.3     0.01425       $2.00
2020         Disposition                                          property management relating to missing items (.3)
November     Asset                   11/19/20 JR              140 Review email from property management regarding single family home due diligence                          0.1     0.00475       $0.67
2020         Disposition                                          documents (.1)
November     Asset                   11/19/20 JR              140 review income and loss statements received from the property manager and update                           1.1     0.05225       $7.32
2020         Disposition                                          electronic files related to single family homes (1.1)
November     Asset                   11/20/20 AEP             390 teleconference with K. Duff, receivership brokers, and counsel for institutional lenders                  0.6      0.0285      $11.12
2020         Disposition                                          regarding pricing considerations, timing of commencement of marketing, and allocation
                                                                  issues associated with single-family home portfolio (.6).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
November     Asset                   11/20/20 AEP             390 teleconference with K. Duff and receivership brokers regarding discrepancies in values of               0.2      0.0095       $3.71
2020         Disposition                                          single-family homes as between receivership broker and special servicer for institutional
                                                                  lender (.2)
November     Asset                   11/20/20 JR              140 exchange correspondence with property management requesting missing utility statements                  0.1     0.00475       $0.67
2020         Disposition                                          regarding single family homes (.1).
November     Asset                   11/20/20 JR              140 review updated utility statements requested from property management and update                         1.3     0.06175       $8.65
2020         Disposition                                          electronic files in preparation for marketing of single family homes (1.3)
November     Asset                   11/20/20 JR              140 Review requested due diligence reports and update electronic files for single family portfolio          0.3     0.01425       $2.00
2020         Disposition                                          from property management (.3)
November     Asset                   11/20/20 MR              390 Attention to bidding procedures on single family homes and follow up (.5)                               0.5     0.02375       $9.26
2020         Disposition
November     Asset                   11/23/20 JR              140 exchange correspondence with property management and request additional property                        0.2      0.0095       $1.33
2020         Disposition                                          reports for single family homes (.2)
November     Asset                   11/23/20 JR              140 Review income and loss statements received from property management related to single                   0.4       0.019       $2.66
2020         Disposition                                          family homes and update electronic files (.4)
November     Asset                   11/24/20 AEP             390 review all attorney examiner worksheets received from title insurer in connection with                  0.4       0.019       $7.41
2020         Disposition                                          conveyance of single-family home portfolio, update portfolio spreadsheet, and inventory
                                                                  missing worksheets (.4).
November     Asset                   11/24/20 JR              140 review due diligence documents requested from property management for single family                     0.4       0.019       $2.66
2020         Disposition                                          homes (.4)
November     Asset                   11/24/20 JR              140 further correspondence with property management requesting same for single family homes                 0.1     0.00475       $0.67
2020         Disposition                                          (.1)
November     Asset                   11/25/20 AEP             390 review proposed renewed brokerage agreement relating to prospective sale of single-family               0.3     0.01425       $5.56
2020         Disposition                                          home portfolio and prepare e-mail to broker requesting additional changes and explanation
                                                                  for certain deletions (.3).
November     Asset                   11/25/20 JR              140 Review single family home portfolio and due diligence documents and update rent roll                    3.2       0.152      $21.28
2020         Disposition                                          related to updated utility statements, leases and security deposit information.

November     Asset                   11/29/20 AEP             390 review all due diligence folders for properties in single-family home portfolio, remove                 0.6      0.0285      $11.12
2020         Disposition                                          unnecessary documents, and create final checklist of property-specific issues (.6).

November     Asset                   11/29/20 AEP             390 Begin preparation of purchase and sale agreement for single-family home portfolio (2.2)                 2.2      0.1045      $40.76
2020         Disposition
November     Asset                   11/30/20 JR              140 Review email from A. Porter regarding single family home due diligence documents and                    0.1     0.00475       $0.67
2020         Disposition                                          respond accordingly (.1)
November     Asset                   11/30/20 JR              140 review due diligence documents for single family home (.6)                                              0.6      0.0285       $3.99
2020         Disposition
November     Business                11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                                  0.2 0.0033898         $1.32
2020         Operations
November     Business                11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)                 0.3 0.0050847         $1.98
2020         Operations
November     Business                11/11/20 KMP             140 Prepare form for transfer of funds for payment of insurance premium funding and                         0.4 0.0074074         $1.04
2020         Operations                                           communicate with K. Duff and bank representative regarding same (.4)


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
November     Business                11/12/20 KMP             140 Follow up on transfer of funds for payment of insurance premium funding and communicate                   0.2 0.0037037          $0.52
2020         Operations                                           with K. Duff and bank representative regarding same.
November     Business                11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)                  1.2 0.0193548          $2.71
2020         Operations
November     Business                11/25/20 KMP             140 Prepare request form for transfer of funds to financing company for insurance premium                     0.4 0.0074074          $1.04
2020         Operations                                           installment payment, and communicate with bank representatives and K. Duff regarding
                                                                  same.
November     Claims                  11/10/20 JRW             260 correspondence with A. Watychowicz regarding claim against properties (6217 S Dorchester                  0.2          0.1      $26.00
2020         Administration                                       and 1414 E 62nd Place) (.2)
             & Objections

December     Asset                   12/04/20 KBD             390 telephone conference with real estate broker regarding various remaining properties and                   0.3       0.006        $2.34
2020         Disposition                                          related sales issues (.3).
December     Asset                   12/29/20 KBD             390 Exchange correspondence regarding publication of notice for sale of single family residence               0.2      0.0095        $3.71
2020         Disposition                                          portfolio (.2)
December     Claims                  12/09/20 KBD             390 study information regarding claims against properties in single family residence portfolio (.2).          0.2      0.0095        $3.71
2020         Administration
             & Objections

December     Asset                   12/04/20 JR              140 review previously requested rent rolls, leases, subsidy contracts and delinquency reports for             4.6 0.1243243         $17.41
2020         Disposition                                          single family homes, update master rent roll and request additional missing items from
                                                                  property management (1414 East 62nd Place, 1418 East 62nd Place, 1017 W 102nd Street,
                                                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                                  Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                  Avenue) (4.6).

December     Asset                   12/04/20 JR              140 Review previously delivered delinquency report and exchange correspondence with property                  0.3     0.01425        $2.00
2020         Disposition                                          management requesting current delinquency report for single family home portfolio (.3)

December     Asset                   12/07/20 JR              140 review leases for security deposit information related to single family homes (1.3)                       1.3     0.06175        $8.65
2020         Disposition
December     Asset                   12/07/20 JR              140 review master rent roll for single family homes and exchange correspondence with A. Porter                0.3     0.01425        $2.00
2020         Disposition                                          regarding same (.3)
December     Asset                   12/07/20 JR              140 exchange correspondence with property management requesting updates to due diligence                      0.1     0.00475        $0.67
2020         Disposition                                          documents for single family homes (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
December     Asset                   12/07/20 JR              140 review updated utility bills for single family homes and update electronic files regarding               1.2       0.057       $7.98
2020         Disposition                                          same (1.2).
December     Asset                   12/07/20 JR              140 conference call with A. Porter related to single family portfolio status (.7)                            0.7     0.03325       $4.66
2020         Disposition
December     Asset                   12/08/20 AEP             390 continue editing, revising, and customizing purchase and sale contract for single-family home            1.0      0.0475      $18.53
2020         Disposition                                          portfolio and review all litigation files to ascertain current status of all administrative and
                                                                  housing court proceedings (1.0).
December     Asset                   12/08/20 JR              140 review additional due diligence documents received from property management for single                   2.7     0.12825      $17.96
2020         Disposition                                          family homes and update electronic files (2.7)
December     Asset                   12/08/20 JR              140 Review utility statements received from property management for single family homes and                  1.6       0.076      $10.64
2020         Disposition                                          update electronic files (1.6)
December     Asset                   12/08/20 JR              140 exchange correspondence with property management regarding same (.1)                                     0.1     0.00475       $0.67
2020         Disposition
December     Asset                   12/08/20 JR              140 review and analyze ledgers for single family homes against rent roll and confirm rental                  1.7     0.08075      $11.31
2020         Disposition                                          income consistency in preparation for marketing and providing documents to potential
                                                                  buyers (1.7)
December     Asset                   12/08/20 JR              140 review email from brokerage firm regarding requested due diligence documents for single                  0.1     0.00475       $0.67
2020         Disposition                                          family homes and respond accordingly (.1).
December     Asset                   12/08/20 JRW             260 Email exchange regarding placement of publication notice for single family portfolio.                    0.2      0.0095       $2.47
2020         Disposition
December     Asset                   12/09/20 AEP             390 review proof of notice of public sale in connection with advertisement of single-family home             0.1     0.00475       $1.85
2020         Disposition                                          portfolio (.1)
December     Asset                   12/09/20 AEP             390 read e-mail from J. Wine regarding claims submitted against properties in single-family home             0.2      0.0095       $3.71
2020         Disposition                                          portfolio and update portfolio spreadsheet accordingly (.2).
December     Asset                   12/09/20 AEP             390 Teleconference with J. Rak regarding discrepancies between monthly utility bills and                     0.3     0.01425       $5.56
2020         Disposition                                          operating expenses and possible strategies for fixing issues prior to producing due diligence
                                                                  documents associated with sale of single-family homes (.3)

December     Asset                   12/09/20 JR              140 exchange correspondence with A. Porter regarding same (.3).                                              0.3     0.01425       $2.00
2020         Disposition
December     Asset                   12/09/20 JR              140 Review emails from property management and update master rent roll with requested                        0.3     0.01425       $2.00
2020         Disposition                                          property information for single family homes (.3)
December     Asset                   12/09/20 JR              140 review updated income and profit statements, compare and analyze expenses with updated                   6.3     0.29925      $41.90
2020         Disposition                                          utility statements provided by property management for single family portfolio in
                                                                  preparation for production to potential buyer (6.3)
December     Asset                   12/10/20 AEP             390 prepare response to broker of single-family homes regarding finalization of due diligence                0.1     0.00475       $1.85
2020         Disposition                                          materials and status of rent roll (.1)
December     Asset                   12/10/20 AEP             390 review all tenant ledgers and other documents added to due diligence folder for single-                  0.8       0.038      $14.82
2020         Disposition                                          family homes, reorganize certain file structures and review and approve final rent roll (.8)

December     Asset                   12/10/20 JR              140 final review of single family homes master rent roll regarding same and make final updates               1.6       0.076      $10.64
2020         Disposition                                          to electronic files (1.6)




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
December     Asset                   12/10/20 JR              140 exchange correspondence with property management team requesting missing property                      0.3     0.01425        $2.00
2020         Disposition                                          utility statements for single family homes to resolve discrepancies (.3)
December     Asset                   12/10/20 JR              140 exchange correspondence with brokerage firm and inquire about uploading requested single               0.1     0.00475        $0.67
2020         Disposition                                          family homes information pertaining to same (.1)
December     Asset                   12/10/20 JR              140 Finalize review of the income and profit statements and analyze information in electronic              1.7     0.08075       $11.31
2020         Disposition                                          files in preparation for production to single family homes potential buyers (1.7)

December     Asset                   12/10/20 JR              140 organize all due diligence documents including leases in preparation for production to                 1.3     0.06175        $8.65
2020         Disposition                                          brokerage firm related to single family homes (1.3)
December     Asset                   12/10/20 JR              140 exchange correspondence with A. Porter regarding same (single family homes) (.3)                       0.3     0.01425        $2.00
2020         Disposition
December     Asset                   12/11/20 AEP             390 Teleconference with J. Rak regarding remaining discrepancies in single-family home due                 0.1     0.00475        $1.85
2020         Disposition                                          diligence materials (.1)
December     Asset                   12/15/20 AEP             390 finalize first draft of purchase and sale agreement for single-family homes and transmit same          0.6      0.0285       $11.12
2020         Disposition                                          to K. Duff and receivership broker for review and comment (.6)
December     Asset                   12/15/20 JR              140 review additional master rent roll and update sale related to single family homes (.5)                 0.5     0.02375        $3.33
2020         Disposition
December     Asset                   12/15/20 JR              140 Review emails from property management regarding requested property reports and update                 0.4       0.019        $2.66
2020         Disposition                                          electronic files related to single family home portfolio (.4)
December     Asset                   12/17/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              8.3     0.39425      $153.76
2020         Disposition                                          properties owned by corporate entity.
December     Asset                   12/18/20 AEP             390 Teleconference with J. Rak regarding preparation for sales of single-family home portfolio             1.0      0.0475       $18.53
2020         Disposition                                          and all issues associated with deed preparation, applications for transfer stamps, and value
                                                                  allocations on title commitments (1.0)
December     Asset                   12/18/20 JR              140 Exchange correspondence with broker regarding allocation values of the single family homes             0.2      0.0095        $1.33
2020         Disposition                                          (.2)
December     Asset                   12/18/20 JR              140 exchange correspondence with accounting firm about completion of various 1099 forms                    0.3     0.01425        $2.00
2020         Disposition                                          related to the single family homes for different entities (.3)
December     Asset                   12/18/20 JR              140 draft water applications for single family homes (4.1)                                                 4.1     0.19475       $27.27
2020         Disposition
December     Asset                   12/19/20 AEP             390 prepare title examiner's worksheets relating to single family residence portfolio for all              3.6       0.171       $66.69
2020         Disposition                                          properties owned by certain corporate entities (3.6).
December     Asset                   12/20/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              4.5          4.5   $1,755.00
2020         Disposition                                          properties owned by corporate entity and for additional receivership property (1414-18 E
                                                                  62nd Place).
December     Asset                   12/21/20 AEP             390 Teleconference with title company regarding numerous issues associated with preparation                0.3     0.01425        $5.56
2020         Disposition                                          of title commitment for single-family home portfolio (.3)
December     Asset                   12/21/20 JR              140 review email from the title company and provide requested information regarding closing                0.1     0.00475        $0.67
2020         Disposition                                          documents related to all single family homes (.1)
December     Asset                   12/21/20 JR              140 begin drafting closing checklist for single family homes in preparation for closing (.8)               0.8       0.038        $5.32
2020         Disposition




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
December     Business                12/09/20 KMP         140 Prepare request for funds transfer to financing company for payment of insurance premium                 0.4 0.0075472         $1.06
2020         Operations                                       financing and communications with K. Duff and bank representatives regarding same (.4)

December     Business                12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance                0.2 0.0037736         $0.53
2020         Operations                                       premium financing and communicate with K. Duff regarding same (.2)
December     Business                12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance                 0.2 0.0037736         $0.53
2020         Operations                                       premium financing and communicate with K. Duff and bank representatives regarding same
                                                              (.2)
December     Claims                  12/09/20 JRW         260 study investor claims against single family residence properties and related analysis to K.              0.6      0.0285       $7.41
2020         Administration                                   Duff and A. Porter (.6).
             & Objections

January      Asset                   01/06/21 KBD         390 draft correspondence to A. Porter regarding sale of single family residence portfolio (single            0.1     0.00475       $1.85
2021         Disposition                                      family) (.1).
January      Asset                   01/13/21 KBD         390 exchange correspondence with real estate broker and A. Porter regarding single family                    0.4       0.019       $7.41
2021         Disposition                                      portfolio questions (single family) (.4).
January      Asset                   01/14/21 KBD         390 Exchange correspondence with real estate broker regarding information about offers and                   0.2      0.0095       $3.71
2021         Disposition                                      planning for review (single family) (.2)
January      Asset                   01/15/21 KBD         390 Exchange correspondence with real estate broker regarding due diligence information for                  0.2      0.0095       $3.71
2021         Disposition                                      single family residence portfolio (single family) and exchange correspondence with J. Rak
                                                              regarding same (.2)
January      Asset                   01/15/21 KBD         390 study correspondence regarding offers for single family residence portfolios (single family)             0.2      0.0095       $3.71
2021         Disposition                                      (.2).
January      Asset                   01/18/21 KBD         390 study offers and summary (single family) (.4)                                                            0.4       0.019       $7.41
2021         Disposition
January      Asset                   01/18/21 KBD         390 Confer with real estate broker and counsel regarding offers on sale of single family residence           0.9     0.04275      $16.67
2021         Disposition                                      portfolio (single family) (.9)
January      Asset                   01/20/21 KBD         390 attention to offers for single family residence portfolio (single family) (.1).                          0.1     0.00475       $1.85
2021         Disposition
January      Asset                   01/21/21 KBD         390 telephone conference with lenders' counsel, real estate broker, M. Rachlis, and A. Porter                0.4       0.019       $7.41
2021         Disposition                                      regarding sale process, offers, and related issues (single family) (.4)
January      Asset                   01/21/21 KBD         390 telephone conference and exchange correspondence with real estate broker regarding sale                  0.2      0.0095       $3.71
2021         Disposition                                      process and offers (single family) (.2)
January      Asset                   01/21/21 KBD         390 Telephone conference with real estate broker and counsel regarding sale of single family                 0.6      0.0285      $11.12
2021         Disposition                                      residence properties (single family) (.6)
January      Asset                   01/21/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale process issues and                  0.1     0.00475       $1.85
2021         Disposition                                      offers (single family) (.1)
January      Asset                   01/21/21 KBD         390 follow up call regarding sale of single family residence properties with M. Rachlis, A. Porter,          0.4       0.019       $7.41
2021         Disposition                                      and asset manager (single family) (.4)
January      Asset                   01/22/21 KBD         390 Telephone conference with real estate broker regarding negotiation with potential buyer                  0.2      0.0095       $3.71
2021         Disposition                                      (single family) (.2)
January      Asset                   01/22/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale negotiations (single                0.2      0.0095       $3.71
2021         Disposition                                      family) (.2).


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
January      Asset                   01/22/21 KBD             390 telephone conference with and draft correspondence to claimant's counsel regarding offers               0.1     0.00475        $1.85
2021         Disposition                                          and negotiations (single family) (.1)
January      Asset                   01/25/21 KBD             390 Exchange correspondence with real estate broker regarding communication with lender's                   0.2      0.0095        $3.71
2021         Disposition                                          counsel and change of potential buyer's interests (single family).
January      Asset                   01/27/21 KBD             390 Exchange correspondence regarding sale of single family portfolio (single family) and                   0.2      0.0095        $3.71
2021         Disposition                                          revisions to contract.
January      Asset                   01/29/21 KBD             390 exchange correspondence with A. Porter regarding communication from buyer relating to                   0.2      0.0095        $3.71
2021         Disposition                                          sale and inspection (single family) (.2)
January      Asset                   01/29/21 KBD             390 Review and execute sales agreement for single family residence portfolio (single family) (.2)           0.2      0.0095        $3.71
2021         Disposition
January      Asset                   01/29/21 KBD             390 exchange correspondence with broker regarding inspections (single family) (.1)                          0.1     0.00475        $1.85
2021         Disposition
January      Business                01/11/21 KBD             390 study property manager financial reports (.4)                                                           0.4 0.0097561          $3.80
2021         Operations
January      Business                01/11/21 KBD             390 attention to payment of property and general liability insurance (.3).                                  0.3 0.0057692          $2.25
2021         Operations
January      Business                01/27/21 KBD             390 attention to administrative hearing and property inspection matters (6217-27 S Dorchester               0.2          0.1      $39.00
2021         Operations                                           Avenue, 1414-18 East 62nd Place) (.2).
January      Asset                   01/05/21 AEP             390 prepare e-mails to property managers for single-family homes regarding abstention from                  0.1     0.00475        $1.85
2021         Disposition                                          capital repairs absent consent of receiver (single family) (.1).
January      Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                 2.2 0.0203704          $2.85
2021         Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January      Asset                   01/06/21 AEP             390 update title company spreadsheet with value allocations for each property (single family) (.3)          0.3     0.01425        $5.56
2021         Disposition
January      Asset                   01/06/21 JR              140 request same from property management regarding single family homes (single family) (.1).               0.1     0.00475        $0.67
2021         Disposition
January      Asset                   01/06/21 JR              140 Review email from real estate associate requesting updated due diligence documents                      0.1     0.00475        $0.67
2021         Disposition                                          related to marketing of single family homes (single family) (.1)
January      Asset                   01/07/21 JR              140 Review email from property management related to single family homes and review of due                  0.2      0.0095        $1.33
2021         Disposition                                          diligence documents regarding same (single family).
January      Asset                   01/08/21 AEP             390 teleconference with title underwriter regarding single-family home title exceptions being               0.1     0.00475        $1.85
2021         Disposition                                          waived on risk (single family) (.1).
January      Asset                   01/11/21 JR              140 exchange correspondence with brokerage firm advising of all requested due diligence                     0.1     0.00475        $0.67
2021         Disposition                                          document updates related to single family homes (single family) (.1).
January      Asset                   01/11/21 JR              140 follow up communication with property management regarding updates to due diligence                     0.1     0.00475        $0.67
2021         Disposition                                          documents related to single family homes (single family) (.1)
January      Asset                   01/11/21 JR              140 update electronic files for same (single family) (.4)                                                   0.4       0.019        $2.66
2021         Disposition
January      Asset                   01/11/21 JR              140 exchange correspondence with property management requesting missing items (single                       0.2      0.0095        $1.33
2021         Disposition                                          family) (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Asset                   01/11/21 JR              140 review due diligence documents for all single family homes, update electronic files and                3.1     0.14725      $20.62
2021         Disposition                                          update master rent roll and property folders requested by broker (single family) (3.1)

January      Asset                   01/13/21 AEP             390 finalize purchase and sale contract for conveyance of single-family home portfolio and                 0.5     0.02375       $9.26
2021         Disposition                                          transmit same to receivership broker (single family) (.5)
January      Asset                   01/13/21 AEP             390 Teleconference with J. Rak regarding responses to inquiries from broker regarding single-              0.4       0.019       $7.41
2021         Disposition                                          family home portfolio (single family) (.4)
January      Asset                   01/13/21 AEP             390 reorganize all single-family home files into tranches consistent with deeds and title                  0.8       0.038      $14.82
2021         Disposition                                          commitments (single family) (.8).
January      Asset                   01/13/21 JR              140 telephone call with A. Porter regarding requested items related to the single family home              0.5     0.02375       $3.33
2021         Disposition                                          portfolio (single family) (.5)
January      Asset                   01/13/21 JR              140 exchange correspondence with brokerage firm providing requested information related to                 0.6      0.0285       $3.99
2021         Disposition                                          single family homes (single family) (.6)
January      Asset                   01/13/21 JR              140 Review email from brokerage firm related to requested items related to single family homes             0.3     0.01425       $2.00
2021         Disposition                                          and respond accordingly (single family) (.3)
January      Asset                   01/13/21 JR              140 review property tax balances and update outstanding tax report related to all single family            2.1     0.09975      $13.97
2021         Disposition                                          homes and remaining unsold multi-family homes (single family) (2.1).

January      Asset                   01/13/21 JR              140 exchange correspondence with property management requesting due diligence items                        0.2      0.0095       $1.33
2021         Disposition                                          related to single family homes (single family) (.2)
January      Asset                   01/15/21 JR              140 Review email from brokerage firm, confer with K. Duff and respond accordingly (single                  0.1     0.00475       $0.67
2021         Disposition                                          family) (.1)
January      Asset                   01/18/21 MR              390 Review email regarding summary and issues for single family home sales (single family) (.2)            0.2      0.0095       $3.71
2021         Disposition
January      Asset                   01/18/21 MR              390 meeting on single family home sale (single family) (.9).                                               0.9     0.04275      $16.67
2021         Disposition
January      Asset                   01/21/21 AEP             390 conference call with receivership brokers, counsel for secured lenders, K. Duff, and M.                0.4       0.019       $7.41
2021         Disposition                                          Rachlis regarding outcome of marketing effort for single family homes and next steps in sales
                                                                  process (single family) (.4)
January      Asset                   01/21/21 AEP             390 teleconference with K. Duff, M. Rachlis, and real estate broker regarding single-family home           0.4       0.019       $7.41
2021         Disposition                                          marketing efforts (single family) (.4)
January      Asset                   01/21/21 AEP             390 Conference call with receivership brokers regarding results of "highest and best" bid                  0.5     0.02375       $9.26
2021         Disposition                                          submissions in connection with single-family home portfolio, bases for potentially low offer
                                                                  prices, and strategy for proceeding (single family) (.5)
January      Asset                   01/21/21 AEP             390 review title commitments for all single-family homes and create list of encumbrances                   0.6      0.0285      $11.12
2021         Disposition                                          potentially requiring hold harmless letters or other clearance (single family) (.6).

January      Asset                   01/21/21 JR              140 Telephone conference with K. Duff, M. Rachlis, A. Porter and brokerage firm regarding final            0.6      0.0285       $3.99
2021         Disposition                                          and best offers from interested buyers related to single family homes (single family) (.6)

January      Asset                   01/21/21 MR              390 follow up conference with K. Duff and A. Porter regarding single family home issues (single            0.3     0.01425       $5.56
2021         Disposition                                          family) (.3)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Asset                   01/21/21 MR              390 Attention to single family home issues with real estate broker (single family) (.6)                    0.6      0.0285      $11.12
2021         Disposition
January      Asset                   01/21/21 MR              390 conference regarding process with claimant's counsel and regarding single family home                  0.4       0.019       $7.41
2021         Disposition                                          portfolio (single family) (.4)
January      Asset                   01/22/21 JR              140 draft water applications for the single-family homes (single family) (2.5)                             2.5     0.11875      $16.63
2021         Disposition
January      Asset                   01/27/21 AEP             390 Review rider to purchase and sale agreement tendered by prospective purchaser of single-               0.4       0.019       $7.41
2021         Disposition                                          family homes and prepare e-mail to K. Duff regarding lack of corporate existence of signatory
                                                                  to agreement (single family) (.4)
January      Business                01/11/21 KMP             140 Prepare form for transfer of funds to financing company for insurance premium installment,             0.4 0.0076923         $1.08
2021         Operations                                           and communicate with bank representatives and K. Duff regarding same (.4)

January      Business                01/27/21 KMP             140 Prepare form for funds transfer to financing company for payment of insurance premium                  0.4 0.0076923         $1.08
2021         Operations                                           installment and communicate with bank representative and K. Duff regarding same.

January      Business                01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance               0.4 0.0076923         $1.08
2021         Operations                                           premium financing, and forward to K. Duff.
February     Asset                   02/03/21 KBD             390 exchange correspondence with J. Rak regarding accounts for single family properties (single            0.1     0.00475       $1.85
2021         Disposition                                          family) (.1).
February     Asset                   02/03/21 KBD             390 study correspondence from broker regarding communication with buyer regarding terms                    0.1     0.00475       $1.85
2021         Disposition                                          (single family) (.1)
February     Asset                   02/04/21 KBD             390 Exchange correspondence with A. Porter regarding proposed rider to PSA (single family).                0.2      0.0095       $3.71
2021         Disposition
February     Asset                   02/05/21 KBD             390 attention to negotiation with buyer of single family portfolio (single family) (.3).                   0.3     0.01425       $5.56
2021         Disposition
February     Asset                   02/06/21 KBD             390 Study correspondence from A. Porter regarding negotiation with buyer of single family                  0.2      0.0095       $3.71
2021         Disposition                                          portfolio (single family).
February     Asset                   02/08/21 KBD             390 Exchange correspondence regarding resolving due diligence issue with single family                     0.6      0.0285      $11.12
2021         Disposition                                          residence portfolio sale and related conference with A. Porter and real estate broker (single
                                                                  family) (.6)
February     Asset                   02/09/21 KBD             390 Telephone conference with A. Porter regarding single family residence portfolio negotiations           0.5     0.02375       $9.26
2021         Disposition                                          with buyer and exchange additional correspondence (single family) (.5)

February     Asset                   02/10/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding revisions to                   0.3     0.01425       $5.56
2021         Disposition                                          purchase and sale agreement and related communications with purchaser's counsel (single
                                                                  family).
February     Asset                   02/12/21 KBD             390 Telephone conference and exchange correspondence with A. Porter and broker regarding                   0.2      0.0095       $3.71
2021         Disposition                                          negotiation with purchaser (single family) (.2)
February     Asset                   02/16/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.1     0.00475       $1.85
2021         Disposition                                          agreement changes (single family) (.1)
February     Asset                   02/17/21 KBD             390 Exchange correspondence with A. Porter regarding execution of purchase and sale                        0.1     0.00475       $1.85
2021         Disposition                                          agreement (single family) (.1)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
February     Asset                   02/23/21 KBD         390 Exchange correspondence regarding sale and inspections (single family) (.1)                        0.1     0.00475        $1.85
2021         Disposition
February     Asset                   02/23/21 KBD         390 attention to joint order escrow instructions (single family) (.1).                                 0.1     0.00475        $1.85
2021         Disposition
February     Asset                   02/24/21 KBD         390 Attention to wire of earnest money and communications with purchaser and broker (single            0.2      0.0095        $3.71
2021         Disposition                                      family).
February     Business                02/01/21 KBD         390 Exchange correspondence with property manager and J. Wine regarding motion to approve              0.2          0.2      $78.00
2021         Operations                                       payment of expenses.
February     Business                02/02/21 KBD         390 Exchange correspondence regarding real estate tax planning (.2)                                    0.2 0.0040816          $1.59
2021         Operations
February     Business                02/08/21 KBD         390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)             0.2 0.0040816          $1.59
2021         Operations
February     Business                02/10/21 KBD         390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                 0.4 0.0093023          $3.63
2021         Operations                                       Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                              Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                              1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue) (.4).

February     Business                02/11/21 KBD         390 Attention to expense issues and communications with property manager (1414-18 East 62nd            0.1          0.1      $39.00
2021         Operations                                       Place) (.1)
February     Business                02/11/21 KBD         390 exchange correspondence with J. Wine regarding property manager financial reporting (.1).          0.1      0.0025        $0.98
2021         Operations
February     Business                02/15/21 KBD         390 exchange correspondence with J. Rak regarding property tax balances and study information          0.2 0.0040816          $1.59
2021         Operations                                       (.2)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
February     Business                02/15/21 KBD             390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S                  0.3 0.0069767         $2.72
2021         Operations                                           Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                  Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                  1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                  62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                  Street, 6759 S Indiana Avenue) (.3).

February     Claims                  02/16/21 KBD             390 Exchange correspondence with lenders' counsel regarding real estate taxes (4611-17 S Drexel           0.2    0.002375       $0.93
2021         Administration                                       Boulevard, 7255-57 S Euclid Avenue, 638-40 N Avers Avenue, single family) (.2)
             & Objections

February     Asset                   02/02/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                   0.3     0.01425       $5.56
2021         Disposition                                          negotiation of inspection contingency in language of purchase and sale agreement (single
                                                                  family) (.3).
February     Asset                   02/02/21 AEP             390 Conference with J. Rak regarding all outstanding items associated with all properties                 2.1     0.09975      $38.90
2021         Disposition                                          currently subject to motions to confirm and strategy for preparation of closing documents
                                                                  associated with prospective conveyance of single-family home portfolio (single family) (2.1)

February     Asset                   02/02/21 JR              140 Discuss single family home production of document status and draft same (single family).              2.5     0.11875      $16.63
2021         Disposition
February     Asset                   02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for              0.2      0.0019       $0.27
2021         Disposition                                          net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                  Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February     Asset                   02/04/21 AEP             390 Read proposed rider submitted by prospective purchaser of single-family home portfolio,               0.4       0.019       $7.41
2021         Disposition                                          edit and revise same, and transmit to broker with explanation for refusal to make certain
                                                                  changes (single family).
February     Asset                   02/04/21 MR              390 attention to single family home issues (single family) (.2).                                          0.2      0.0095       $3.71
2021         Disposition
February     Asset                   02/05/21 AEP             390 Teleconference with receivership broker regarding remaining disputed issues pertaining to             0.2      0.0095       $3.71
2021         Disposition                                          buyer inspection contingency rights in single-family home purchase and sale contract (single
                                                                  family).
February     Asset                   02/06/21 AEP             390 Read and respond to e-mail from counsel for secured lenders regarding status of negotiation           0.1     0.00475       $1.85
2021         Disposition                                          of purchase and sale contract associated with conveyance of single-family home portfolio
                                                                  (single family) (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Asset                   02/06/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3     0.01425       $5.56
2021         Disposition                                          potential modifications to contract pertaining to inspection contingency rights (single family)
                                                                  (.3).
February     Asset                   02/08/21 AEP             390 conference call with counsel for prospective purchaser of single-family home portfolio                   0.9     0.04275      $16.67
2021         Disposition                                          regarding potential resolution of impasse over due diligence language in form purchase and
                                                                  sale agreement (single family) (.6) and preparation of e-mail to receiver and receivership
                                                                  brokers describing impasse and soliciting input on potential solutions (single family) (.3)

February     Asset                   02/09/21 AEP             390 teleconference with K. Duff regarding status of negotiations over purchase and sale of single-           0.2      0.0095       $3.71
2021         Disposition                                          family homes (single family) (.2).
February     Asset                   02/09/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.1     0.00475       $1.85
2021         Disposition                                          regarding agreed changes to inspection contingency provision of purchase and sale contract
                                                                  (single family) (.1)
February     Asset                   02/10/21 AEP             390 Prepare e-mail to receivership broker responding to inquiry regarding status of negotiation              0.2      0.0095       $3.71
2021         Disposition                                          of purchase and sale agreement associated with single-family home portfolio (single family)
                                                                  (.2)
February     Asset                   02/11/21 JR              140 review email from K. Duff and provide requested closing dates regarding January results                  0.2 0.0181818         $2.55
2021         Disposition                                          summary (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                  4611-17 S Drexel Boulevard, 7749-59 S Yates Boulevard, 1131-41 E 79th Avenue, 4533-47 S
                                                                  Calumet Avenue, 6217-27 S Dorchester Avenue, 1414-18 East 62nd Place, 6949-59 S Merrill
                                                                  Avenue, 7024-32 S Paxton Avenue) (.2).
February     Asset                   02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                        0.2 0.0041667         $0.58
2021         Disposition
February     Asset                   02/12/21 AEP             390 teleconference with K. Duff and receivership broker regarding relative merits of counteroffer            0.2      0.0095       $3.71
2021         Disposition                                          received from prospective purchaser of single family homes (single family) (.2)

February     Asset                   02/12/21 AEP             390 revise proposed purchase and sale agreement pertaining to single-family home portfolio and               0.2      0.0095       $3.71
2021         Disposition                                          transmit same to counsel for prospective purchaser (single family) (.2).

February     Asset                   02/12/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.3     0.01425       $5.56
2021         Disposition                                          regarding purchaser's counteroffer relating to inspection contingency language and convey
                                                                  summary of deal status to K. Duff and receivership broker (single family) (.3)

February     Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                  0.4 0.0036697         $0.51
2021         Disposition                                          and status of same (.4)
February     Asset                   02/12/21 JR              140 review current property tax information and payment availability from property                           0.2 0.0040816         $0.57
2021         Disposition                                          management and provide same to K. Duff (.2)
February     Asset                   02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                   0.2 0.0041667         $0.58
2021         Disposition                                          property taxes (.2)
February     Asset                   02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                                 0.3 0.0061224         $0.86
2021         Disposition
February     Asset                   02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                           0.2 0.0040816         $0.57
2021         Disposition                                          payment plan arrangement for same (.2).


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
February     Asset                   02/17/21 AEP             390 Review proposed modified purchase and sale contract submitted by prospective purchaser                  0.2      0.0095        $3.71
2021         Disposition                                          of single-family home portfolio and approve execution of same by receiver (single family) (.2)

February     Asset                   02/19/21 JR              140 draft zoning applications for single family home portfolio (single family) (3.1).                       3.1     0.14725       $20.62
2021         Disposition
February     Asset                   02/19/21 JR              140 update water applications for single family home portfolio with legal descriptions (single              1.2       0.057        $7.98
2021         Disposition                                          family) (1.2)
February     Asset                   02/23/21 AEP             390 Teleconference with title insurance company escrow officer regarding form of SJO                        0.2      0.0095        $3.71
2021         Disposition                                          instructions associated with single-family home portfolio (single family) (.2)
February     Asset                   02/23/21 AEP             390 prepare SJO instructions associated with single-family home portfolio and circulate for                 0.1     0.00475        $1.85
2021         Disposition                                          signatures (single family) (.1)
February     Asset                   02/25/21 JR              140 review single family home purchase and sale contract and update closing documents with                  1.6       0.076       $10.64
2021         Disposition                                          buyer information (single family) (1.6).
February     Business                02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                             0.4 0.0081633          $1.14
2021         Operations                                           management requesting availability of same for payments of outstanding property taxes.

February     Business                02/11/21 JRW             260 Review January results summary from vendor and related email regarding payment                          0.2          0.2      $52.00
2021         Operations                                           requested (1414-18 East 62nd Place).
February     Business                02/16/21 KMP             140 prepare request forms for funds transfers, and communications with K. Duff and bank                     0.5       0.125       $17.50
2021         Operations                                           representatives regarding same (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 1401 W
                                                                  109th Place, 1414-18 East 62nd Place) (.5)
February     Business                02/16/21 KMP             140 Review communications with property managers regarding requests for funds for                           0.3       0.075       $10.50
2021         Operations                                           management expenses and utilities (638-40 N Avers Avenue, 7237-43 S Bennett Avenue,
                                                                  1401 W 109th Place, 1414-18 East 62nd Place) (.3)
February     Business                02/17/21 KMP             140 Communicate with property managers regarding funds transfers for management expenses                    0.2         0.05       $7.00
2021         Operations                                           and utilities (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 1401 W 109th Place, 1414-
                                                                  18 East 62nd Place) (.2)
February     Business                02/26/21 KMP             140 Prepare form for funds transfer to finance company for property insurance installment                   0.3 0.0057692          $0.81
2021         Operations                                           payment, and communicate with K. Duff and bank representatives regarding same.

March 2021 Asset                     03/01/21 KBD             390 attention to purchaser inspection of properties and exchange correspondence with real                   0.3     0.01425        $5.56
           Disposition                                            estate broker regarding efforts to complete sale (single family) (.3).
March 2021 Asset                     03/15/21 KBD             390 Draft correspondence to A. Porter regarding efforts to complete sale of properties (single              0.1     0.00475        $1.85
           Disposition                                            family).
March 2021 Asset                     03/17/21 KBD             390 Exchange correspondence with A. Porter regarding purchase and sale agreement                            0.1     0.00475        $1.85
           Disposition                                            amendment (single family) (.1)
March 2021 Asset                     03/22/21 KBD             390 Exchange correspondence with A. Porter regarding second amendment to purchase and sale                  0.1     0.00475        $1.85
           Disposition                                            agreement (single family).
March 2021 Asset                     03/26/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding buyer                           0.5     0.02375        $9.26
           Disposition                                            communication relating to conditions of single family residence (single family).
March 2021 Asset                     03/29/21 KBD             390 follow up call with real estate broker and A. Porter regarding buyer's request for credit and           1.3     0.06175       $24.08
           Disposition                                            available options (single family) (1.3)




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2021 Asset                     03/29/21 KBD         390 Telephone conference with A. Porter regarding buyer request for credit (single family) (.2)            0.2      0.0095        $3.71
           Disposition
March 2021 Asset                     03/29/21 KBD         390 confer with real estate broker and A. Porter regarding buyer's request for credit and                  0.5     0.02375        $9.26
           Disposition                                        available options (single family) (.5)
March 2021 Asset                     03/29/21 KBD         390 telephone conference with A. Porter regarding buyer's request for credit and available                 0.2      0.0095        $3.71
           Disposition                                        options (single family) (.2)
March 2021 Asset                     03/30/21 KBD         390 confer with lender's counsel and A. Porter regarding negotiation over buyer's request for              0.2      0.0095        $3.71
           Disposition                                        credit and broker's commission (single family) (.2)
March 2021 Asset                     03/30/21 KBD         390 Confer on multiple calls with real estate broker and A. Porter regarding negotiation over              0.7     0.03325       $12.97
           Disposition                                        buyer's request for credit and broker's commission (single family) (.7)

March 2021 Asset                     03/30/21 KBD         390 further confer with real estate broker regarding negotiation over buyer's request for credit           0.2      0.0095        $3.71
           Disposition                                        and broker's commission and planning for closing (single family) (.2)
March 2021 Asset                     03/30/21 KBD         390 review amendments to sale agreement and commission agreement (single family) and                       0.2      0.0095        $3.71
           Disposition                                        related communication with A. Porter (single family) (.2)
March 2021 Asset                     03/31/21 KBD         390 exchange correspondence with A. Porter regarding second amendment to PSA and closing                   0.2      0.0095        $3.71
           Disposition                                        for sale of properties (single family) (.2)
March 2021 Asset                     03/31/21 KBD         390 exchange correspondence with A. Porter regarding allocations for single family portfolio               0.2      0.0095        $3.71
           Disposition                                        properties (single family) (.2).
March 2021 Business                  03/02/21 KBD         390 attention to property inspections (single family) (.1).                                                0.1     0.00475        $1.85
           Operations
March 2021 Business                  03/11/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.4         0.01       $3.90
           Operations                                         W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                              Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                              S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                              Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.4)


March 2021 Business                  03/11/21 KBD         390 study other property manager financial reporting (.3).                                                 0.3 0.0076923          $3.00
           Operations




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2021 Business                  03/15/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.5      0.0125        $4.88
           Operations                                         W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                              Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                              S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                              Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.5)


March 2021 Business                  03/16/21 KBD         390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816          $1.59
           Operations
March 2021 Business                  03/22/21 KBD         390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224          $2.39
           Operations                                         remaining properties.
March 2021 Business                  03/30/21 KBD         390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816          $1.59
           Operations
March 2021 Claims                    03/09/21 KBD         390 exchange correspondence with J. Wine regarding claims against property (1414-18 East 62nd              0.2          0.2      $78.00
           Administration                                     Place) (.2)
           & Objections

March 2021 Claims                    03/10/21 KBD         390 exchange correspondence with J. Wine regarding claims against property (1414-18 East 62nd              0.1          0.1      $39.00
           Administration                                     Place) (.1)
           & Objections

March 2021 Claims                    03/19/21 KBD         390 Prepare for and participate in telephone conference with claimants counsel and J. Wine                 0.8       0.038       $14.82
           Administration                                     regarding single claim process and potential third path to claims resolution for certain
           & Objections                                       properties, sale of single family portfolio, and potential alternatives for claims resolution
                                                              (single family) (.8)
March 2021 Asset                     03/01/21 AEP         390 teleconference with title company underwriters regarding status of transaction, status of              0.3     0.01425        $5.56
           Disposition                                        review of remaining exceptions to title, and potential closing date (single family) (.3).

March 2021 Asset                     03/01/21 AEP         390 Communications with buyer's counsel, lender's counsel, management companies, and                       0.4       0.019        $7.41
           Disposition                                        brokers regarding prospective purchase and sale of single-family home portfolio regarding
                                                              property inspection process (single family) (.4)
March 2021 Asset                     03/17/21 AEP         390 Review and revise proposed amendment to purchase and sale contract pertaining to single-               0.2      0.0095        $3.71
           Disposition                                        family home portfolio and forward same to K. Duff for execution (single family).

March 2021 Asset                     03/24/21 AEP         390 Conference call with N. Gastevich and J. Rak regarding status of preparation of closing                0.2      0.0095        $3.71
           Disposition                                        documents associated with properties in tenth and eleventh motions to confirm sales, as
                                                              well as single-family home portfolio (single family).


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
March 2021 Asset                     03/24/21 JR              140 Draft closing documents for single family homes (single family).                                       6.6      0.3135      $43.89
           Disposition
March 2021 Asset                     03/29/21 AEP             390 teleconference with receivership brokers regarding strategy for responding to single-family            0.5     0.02375       $9.26
           Disposition                                            home offer received from prospective purchaser (single family) (.5)
March 2021 Asset                     03/29/21 AEP             390 teleconference with K. Duff regarding offer from prospective purchaser of single family                0.2      0.0095       $3.71
           Disposition                                            homes (single family) (.2)
March 2021 Asset                     03/29/21 AEP             390 teleconference with receivership brokers to analyze credit requests and formulate strategy             1.3     0.06175      $24.08
           Disposition                                            for responding to single- family home offer received (single family) (1.3).

March 2021 Asset                     03/29/21 AEP             390 Review letter from counsel for prospective purchaser of single-family home portfolio                   1.8      0.0855      $33.35
           Disposition                                            requesting credits for alleged undisclosed latent defects, review all inspection reports
                                                                  associated with corresponding alleged defects, teleconference with K. Duff regarding
                                                                  potential response to purchaser, and teleconference with counsel for prospective purchaser
                                                                  regarding timing of response, timing of response to title commitment exception letter, and
                                                                  timing of motion to confirm and potential scheduling of closing (single family) (1.8)

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding proposed offer of credit in             0.2      0.0095       $3.71
           Disposition                                            connection with prospective sale of single-family homes (single family) (.2)

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding strategy for negotiating with           0.3     0.01425       $5.56
           Disposition                                            prospective purchaser of single-family homes (single family) (.3)
March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and counsel for secured lender regarding strategy for negotiating          0.2      0.0095       $3.71
           Disposition                                            resolution of impasse with prospective purchaser of single-family homes (single family) (.2)

March 2021 Asset                     03/30/21 AEP             390 continued series of conference calls with receivership brokers, counsel for secured lender,            1.5     0.07125      $27.79
           Disposition                                            and K. Duff regarding negotiation of resolution to purchase price credit demanded by
                                                                  prospective purchaser of single-family homes (single family) (1.5).

March 2021 Asset                     03/30/21 JR              140 exchange correspondence with A. Porter requesting update to single family home purchase                0.1     0.00475       $0.67
           Disposition                                            and sale contract status relating to the inspection period (single family) (.1).

March 2021 Asset                     03/30/21 JR              140 Review amendments to purchase and sale contract related to properties (single family) (.1)             0.1     0.00475       $0.67
           Disposition
March 2021 Asset                     03/30/21 KMP             140 Revise correspondence relating to amendment of representation agreement for single family              0.3     0.01425       $2.00
           Disposition                                            homes, and communicate with K. Duff and A. Porter regarding same (single family) (.3)

March 2021 Asset                     03/31/21 AEP             390 continue preparation of thirteenth motion to confirm sale of single-family home portfolio              0.7     0.03325      $12.97
           Disposition                                            (single family) (.7)
March 2021 Asset                     03/31/21 AEP             390 review proposed revisions to draft second amendment to purchase and sale agreement                     0.5     0.02375       $9.26
           Disposition                                            relating to single-family home portfolio, communicate with K. Duff regarding same, prepare
                                                                  second draft of second amendment, and transmit same to purchaser's counsel and
                                                                  receivership brokers (single family) (.5)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
March 2021 Asset                     03/31/21 AEP             390 Begin preparation of thirteenth motion to confirm sale of single-family home portfolio (single          0.8       0.038       $14.82
           Disposition                                            family) (.8)
March 2021 Asset                     03/31/21 AEP             390 e-mail communications with K. Duff regarding negotiation of allocations of sales proceeds               0.1     0.00475        $1.85
           Disposition                                            among single-family home properties (single family) (.1)
March 2021 Asset                     03/31/21 AEP             390 prepare e-mail to receivership brokers regarding necessity of sworn declaration describing              0.2      0.0095        $3.71
           Disposition                                            marketing process of single-family home portfolio, including specific facts needed to support
                                                                  motion to confirm sale (single family) (.2)
March 2021 Asset                     03/31/21 AEP             390 prepare e-mail to counsel for secured lenders on single-family home portfolio regarding                 0.2      0.0095        $3.71
           Disposition                                            need for allocation of sales proceeds among individual properties prior to filing motion to
                                                                  confirm (single family) (.2)
March 2021 Asset                     03/31/21 AEP             390 teleconference with J. Rak regarding imminent execution of single-family home portfolio                 0.1     0.00475        $1.85
           Disposition                                            purchase and sale agreement and preparation of closing documentation (single family) (.1)

March 2021 Asset                     03/31/21 JR              140 Exchange communication with A. Porter regarding property portfolio (single family) (.3)                 0.3     0.01425        $2.00
           Disposition
March 2021 Business                  03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                                0.1 0.0019231          $0.27
           Operations
March 2021 Business                  03/11/21 KMP             140 Attention to communication with property manager regarding February 2021 financial                      0.1      0.0025        $0.35
           Operations                                             reporting (.1)
March 2021 Business                  03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and                0.3 0.0057692          $0.81
           Operations                                             communications with K. Duff and bank representative regarding same (.3)

March 2021 Claims                    03/01/21 JRW             260 review transcript of proceedings and correspondence with K. Duff and M. Rachlis regarding               0.5     0.02375        $6.18
           Administration                                         process for addressing single-claim properties (single family) (.5)
           & Objections

March 2021 Claims                    03/01/21 MR              390 Attention to issues regarding claims process for handling single family claims, updates on              0.4       0.019        $7.41
           Administration                                         claims information, and materials to claims vendor.
           & Objections

March 2021 Claims                    03/10/21 JRW             260 study institutional lender claim related to property (6217-27 S Dorchester Avenue, 1414-18              1.1         0.55     $143.00
           Administration                                         East 62nd Place), memoranda relating to priority, and related correspondence (1.1)
           & Objections

March 2021 Claims                    03/12/21 JRW             260 correspond with K. Duff regarding claims against single family residence portfolio (single              0.1     0.00475        $1.24
           Administration                                         family) (.1).
           & Objections

March 2021 Claims                    03/25/21 JRW             260 exchange correspondence with K. Duff and A. Porter regarding claims against properties                  0.3         0.15      $39.00
           Administration                                         (1414-18 East 62nd Place, 6217-27 S Dorchester Avenue) (.3)
           & Objections




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
April 2021   Asset                   04/02/21 KBD         390 Study allocations of value, costs, and commission and various related correspondence (single           0.2      0.0095        $3.71
             Disposition                                      family).
April 2021   Asset                   04/05/21 KBD         390 Work on motion to approve sale and exchange related correspondence (single family) and                 0.3     0.01425        $5.56
             Disposition                                      exchange related correspondence with A. Porter.
April 2021   Asset                   04/06/21 KBD         390 Exchange correspondence with A. Porter regarding closing costs and efforts to reduce (single           0.2      0.0095        $3.71
             Disposition                                      family) (.2)
April 2021   Asset                   04/06/21 KBD         390 study and revise motion to approve sale and exchange various related correspondence                    0.5     0.02375        $9.26
             Disposition                                      (single family) (.5).
April 2021   Asset                   04/07/21 KBD         390 Telephone conference with A. Porter regarding draft motion to approve sale of single family            0.2      0.0095        $3.71
             Disposition                                      residence portfolio, communications with lender's counsel, property values, closing credits,
                                                              and allocations (single family) (.2)
April 2021   Asset                   04/07/21 KBD         390 study draft motion to approve sale of single family residence portfolio (single family) (.2).          0.2      0.0095        $3.71
             Disposition
April 2021   Asset                   04/08/21 KBD         390 Work on motion to approve sale of properties (single family).                                          0.2      0.0095        $3.71
             Disposition
April 2021   Asset                   04/09/21 KBD         390 Exchange correspondence with A. Porter regarding revision to and filing of motion to                   0.2      0.0095        $3.71
             Disposition                                      approve sale of properties (single family).
April 2021   Asset                   04/10/21 KBD         390 Exchange correspondence regarding filing and service of motion to approve sale of                      0.2      0.0095        $3.71
             Disposition                                      properties (single family).
April 2021   Asset                   04/12/21 KBD         390 Exchange various correspondence regarding filing of motion to approve sale of properties               0.2      0.0095        $3.71
             Disposition                                      (single family).
April 2021   Asset                   04/15/21 KBD         390 Exchange correspondence with J. Rak regarding property value allocation (single family).               0.2      0.0095        $3.71
             Disposition
April 2021   Asset                   04/26/21 KBD         390 exchange correspondence regarding single family residence motion and plans for entry of                0.2      0.0095        $3.71
             Disposition                                      order (single family) (.2).
April 2021   Asset                   04/27/21 KBD         390 Work on single family residence motion and entry of order (single family) (.1)                         0.1     0.00475        $1.85
             Disposition
April 2021   Business                04/06/21 KBD         390 Study correspondence from E. Duff regarding accounting reports for lender (single family).             0.2      0.0095        $3.71
             Operations
April 2021   Business                04/08/21 KBD         390 attention to property issues and exchange related correspondence with A. Porter (1414-18               0.1         0.05      $19.50
             Operations                                       East 62nd Place, 7210 S Vernon Avenue) (.1).
April 2021   Business                04/09/21 KBD         390 exchange correspondence with property manager regarding sale of properties and                         0.1          0.1      $39.00
             Operations                                       reimbursement of expenses (1414-18 East 62nd Place) (.1).




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                       Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                              East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham) (.2)


April 2021   Business                04/13/21 KBD         390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                       7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                              Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                              1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                              Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                              Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                              1414-18 East 62nd Place) (.3)

April 2021   Business                04/13/21 KBD         390 exchange correspondence with J. Rak regarding planning for and payment of real estate                0.3     0.00625       $2.44
             Operations                                       taxes and related communications with property manager (.3)
April 2021   Business                04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                       property managers regarding to same (1.0)




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                       7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business                04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-          0.3 0.0065217         $2.54
             Operations                                       06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                              1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3)




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2021   Business                04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                       insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                              Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.8)


April 2021   Business                04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                      0.2 0.0044444         $1.73
             Operations                                       Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)).




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/29/21 KBD             390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                           J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                                  Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                  S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                  W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                  2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                                  1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                                  6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                                  East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)


April 2021   Business                04/30/21 KBD             390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                           Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                                  Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                  Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                  Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                  S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                  87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                  Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                  Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                                  50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                                  Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                                  S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Asset                   04/01/21 AEP             390 Review title commitment for each property in single-family home portfolio, create list of            4.2      0.1995      $77.81
             Disposition                                          special exceptions requiring attention and create exhibit to forthcoming motion to confirm
                                                                  identifying all encumbrances on all 38 properties (single family) (4.2)

April 2021   Asset                   04/01/21 AEP             390 teleconference with counsel for secured lenders regarding process for allocating values              0.6      0.0285      $11.12
             Disposition                                          across all individual properties in single-family home portfolio (single family) (.6)

April 2021   Asset                   04/01/21 AEP             390 communications with prospective purchaser of single-family homes regarding earnest                   0.1     0.00475       $1.85
             Disposition                                          money wiring instructions (single family) (.1)
April 2021   Asset                   04/01/21 AEP             390 prepare communications to property managers regarding restrictions on new leases and                 0.1     0.00475       $1.85
             Disposition                                          building security at single-family homes (single family) (.1)
April 2021   Asset                   04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                     0.9 0.0085714         $1.20
             Disposition


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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
April 2021   Asset                   04/02/21 AEP         390 prepare spreadsheet of single-family homes, review purchaser's inspection contingency price               1.2       0.057      $22.23
             Disposition                                      reduction demands, confer with K. Duff, and create proposed allocations of value for
                                                              inclusion in thirteenth motion to confirm sales (single family) (1.2)

April 2021   Asset                   04/02/21 AEP         390 review chain of title for every single property in single-family home portfolio and compile list          4.1     0.19475      $75.95
             Disposition                                      of all mortgage encumbrances against same in connection with finalization of title
                                                              commitments and preparation of motion to confirm sale (single family) (4.1).

April 2021   Asset                   04/02/21 AEP         390 review spreadsheet prepared by title company, communicate with K. Duff regarding                          0.8       0.038      $14.82
             Disposition                                      estimate of fire damage sustained at single-family home property, merge spreadsheets,
                                                              prepare final draft of proposed allocations of value of single-family homes, and transmit
                                                              same to title company and lender's counsel requesting prompt review and finalization (single
                                                              family) (.8)
April 2021   Asset                   04/02/21 AEP         390 communications with lenders' counsel regarding methodology for allocating values of single-               0.2      0.0095       $3.71
             Disposition                                      family home properties (single family) (.2)
April 2021   Asset                   04/05/21 AEP         390 continue preparing motion to confirm sale of single-family homes and accompanying                         1.6       0.076      $29.64
             Disposition                                      exhibits (single family) (1.6)
April 2021   Asset                   04/05/21 AEP         390 prepare first draft of brokers declaration regarding single-family home marketing process                 0.4       0.019       $7.41
             Disposition                                      (single family) (.4)
April 2021   Asset                   04/05/21 JRW         260 related review of offering memorandum (single family) (.1)                                                0.1     0.00475       $1.24
             Disposition
April 2021   Asset                   04/05/21 JRW         260 Review and revise 13th motion to confirm sales (single family) (.3)                                       0.3     0.01425       $3.71
             Disposition
April 2021   Asset                   04/06/21 AEP         390 teleconference with title company regarding final computation of agency fees and                          0.2      0.0095       $3.71
             Disposition                                      mechanics and timeline for closing of single-family homes portfolio (single family) (.2)

April 2021   Asset                   04/06/21 AEP         390 incorporate J. Wine's comments into draft motion to confirm sale of single-family home                    0.1     0.00475       $1.85
             Disposition                                      portfolio (single family) (.1)
April 2021   Asset                   04/06/21 AEP         390 teleconferences with title underwriters regarding various approaches to structuring closing               0.4       0.019       $7.41
             Disposition                                      of single-family portfolio sale (single family) (.4)
April 2021   Asset                   04/06/21 AEP         390 review offering memorandum relating to single-family home portfolio and revise sworn                      0.2      0.0095       $3.71
             Disposition                                      declaration of receivership broker (single family) (.2)
April 2021   Asset                   04/06/21 AEP         390 teleconference with title underwriters regarding additional issues associated with closing of             0.3     0.01425       $5.56
             Disposition                                      sale of single-family homes, including allocations of closing costs and proof of notice to
                                                              affected mortgagees (single family) (.3)
April 2021   Asset                   04/06/21 AEP         390 communications with M. Rachlis and K. Duff regarding valuation methodology relating to                    0.2      0.0095       $3.71
             Disposition                                      motion to confirm sale of single-family home portfolio (single family) (.2)

April 2021   Asset                   04/06/21 AEP         390 review all title exceptions by prospective purchaser of single-family homes, research same,               3.8      0.1805      $70.40
             Disposition                                      and prepare comprehensive list of remaining action items associated with requirement to
                                                              convey clean title (single family) (3.8).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                             Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                              Hours         Fees
April 2021   Asset                   04/06/21 AEP             390 continue preparation of motion to confirm sales of single-family homes portfolio, including                  2.1     0.09975       $38.90
             Disposition                                          preparation of proposed order, preparation of remaining exhibits, final reconciliation of
                                                                  declaration of receivership broker with factual assertions in brief, assemble all
                                                                  documentation, and forward to receiver with request for final comments (single family) (2.1)

April 2021   Asset                   04/06/21 JR              140 review email from A. Porter regarding zoning certificates for single family homes, update                    1.8      0.0855       $11.97
             Disposition                                          same and further correspond with the title company requesting to process in anticipation for
                                                                  closing (single family) (1.8).
April 2021   Asset                   04/06/21 MR              390 Attention to 13th sales motion (single family) (.2) communicate regarding same with A.                       0.4       0.019        $7.41
             Disposition                                          Porter and other team members on methodology for single family homes (single family) (.2).

April 2021   Asset                   04/07/21 AEP             390 make final edits to motion to confirm sale of single-family home portfolio, assemble all                     0.5     0.02375        $9.26
             Disposition                                          exhibits, and transmit to counsel for institutional lender for final review prior to filing (single
                                                                  family) (.5).
April 2021   Asset                   04/07/21 AEP             390 teleconference with K. Duff regarding final allocation issues associated with motion to                      0.2      0.0095        $3.71
             Disposition                                          confirm sale of single-family home portfolio (single family) (.2)
April 2021   Asset                   04/08/21 AEP             390 communications with property manager, K. Duff, and counsel for institutional lender                          0.2          0.1      $39.00
             Disposition                                          regarding quotes to secure properties (1414-18 E 62nd Place, 7210 S Vernon Avenue) (.2)

April 2021   Asset                   04/08/21 AEP             390 communications with counsel for institutional lender regarding delivery of release of                        0.1          0.1      $39.00
             Disposition                                          financing statement (1414-18 E 62nd Place) (.1)
April 2021   Asset                   04/08/21 AEP             390 Communications with title company regarding processing of zoning certificates for single-                    0.2      0.0095        $3.71
             Disposition                                          family homes, correction of errors regarding unit counts, and timing of processing of water
                                                                  certificates (single family) (.2)
April 2021   Asset                   04/08/21 AEP             390 finalize response to counsel for prospective purchaser of single-family home portfolio                       0.4       0.019        $7.41
             Disposition                                          regarding special exceptions to be deleted from title commitment (single family) (.4)

April 2021   Asset                   04/08/21 AEP             390 prepare comprehensive e-mail memorandum to title underwriter regarding basis for                             0.8       0.038       $14.82
             Disposition                                          deletion of numerous special exceptions on title to single-family home portfolio (single
                                                                  family) (.8)
April 2021   Asset                   04/08/21 AEP             390 review final signed declaration from receivership broker, audit and finalize all exhibits to                 0.3     0.01425        $5.56
             Disposition                                          motion to confirm sale of single-family home portfolio, and deliver final motion papers to K.
                                                                  Duff for filing and service (single family) (.3)
April 2021   Asset                   04/08/21 JR              140 Review single family homes due diligence documents in preparation for closing and update                     1.1     0.05225        $7.32
             Disposition                                          electronic files (single family).
April 2021   Asset                   04/09/21 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents (single-                     0.3 0.0035625          $1.39
             Disposition                                          family, 4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue) (.3)

April 2021   Asset                   04/09/21 JR              140 exchange correspondence with buyer requesting buyer information required for upcoming                        0.2      0.0095        $1.33
             Disposition                                          closings (single family) (.2)
April 2021   Asset                   04/12/21 AW              140 Review thirteenth sale motion and prepare notice of motion and certificate of service for                    0.7     0.03325        $4.66
             Disposition                                          title company (single family) (.7)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
April 2021   Asset                   04/12/21 AW              140 email exchange regarding filing of thirteenth sale motion, finalize motion, file with court, and          0.4       0.019       $2.66
             Disposition                                          communicate with K. Duff regarding service of same (single family) (.4)

April 2021   Asset                   04/12/21 AW              140 prepare service email and serve as per certificate of service (single family) (.4).                       0.4       0.019       $2.66
             Disposition
April 2021   Asset                   04/12/21 KMP             140 Communications with K. Duff and A. Watychowicz regarding thirteenth motion to approval                    0.2      0.0095       $1.33
             Disposition                                          property sales and related affidavit of service requested by title company (single family).

April 2021   Asset                   04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                   0.1 0.0009524         $0.13
             Disposition                                          amounts and respond accordingly (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with                1.3 0.0265306         $3.71
             Disposition                                          K. Duff regarding same (see E) (1.3)
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with buyer regarding requested buyer information related to                       0.1     0.00475       $0.67
             Disposition                                          closings (single family) (.1)
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and                0.1 0.0009524         $0.13
             Disposition                                          payment of same (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-                 0.3 0.0028571         $0.40
             Disposition                                          reconciliation amounts (see D) (.3)
April 2021   Asset                   04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                    1.4 0.0133333         $1.87
             Disposition                                          with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                   04/14/21 JR              140 review additional due diligence documents related to single family homes (single family) (.5)             0.5     0.02375       $3.33
             Disposition
April 2021   Asset                   04/14/21 JR              140 update closing documents related to the single family home portfolio (single family) (2.8).               2.8       0.133      $18.62
             Disposition
April 2021   Asset                   04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                       0.2 0.0040816         $0.57
             Disposition                                          tax balances that remain in the EquityBuild estate (see E) (.2)
April 2021   Asset                   04/15/21 AEP             390 Comprehensive and final review and inventory of all exceptions to title on single-family                  2.3     0.10925      $42.61
             Disposition                                          home portfolio, preparation of final checklist, and transmit same to title company
                                                                  underwriter with request for teleconference (single family) (2.3)
April 2021   Asset                   04/15/21 JR              140 review email from K. Duff requesting updated spreadsheet related to purchase price, sale                  0.7     0.03325       $4.66
             Disposition                                          price and single family home value allocations related to all properties, further related
                                                                  correspondence with A. Porter and prepare report regarding value allocations (single family)
                                                                  (.7)
April 2021   Asset                   04/15/21 JR              140 update water applications for single family homes (single family) (2.6).                                  2.6      0.1235      $17.29
             Disposition
April 2021   Asset                   04/15/21 JR              140 update master spreadsheet portfolio with value allocations related to single family homes                 0.5     0.02375       $3.33
             Disposition                                          (single family) (.5)
April 2021   Asset                   04/16/21 JR              140 review email from title company related to processed water applications for single family                 0.1 0.0015833         $0.22
             Disposition                                          homes and other properties scheduled to close and update electronic files (single family,
                                                                  4611-17 S Drexel Boulevard, 7024-32 S Paxton Avenue) (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2021   Asset                   04/16/21 JR              140 Update water applications for single family homes (single family) (1.3)                                1.3     0.06175       $8.65
             Disposition
April 2021   Asset                   04/16/21 JR              140 exchange correspondence with buyer requesting buyer information related to water bills for             0.2      0.0095       $1.33
             Disposition                                          single family homes (single family) (.2)
April 2021   Asset                   04/16/21 JR              140 review email from property management related to review of tax payments regarding past                 1.3 0.0265306         $3.71
             Disposition                                          due and current property tax payments, save in electronic files and update spreadsheet
                                                                  regarding same (see E) (1.3)
April 2021   Asset                   04/16/21 JR              140 update buyer information on water applications for single family homes (single family) (1.7).          1.7     0.08075      $11.31
             Disposition
April 2021   Asset                   04/19/21 AEP             390 review latest revised title commitments on single-family home portfolio and save in files              0.1     0.00475       $1.85
             Disposition                                          (single family) (.1).
April 2021   Asset                   04/19/21 AEP             390 Teleconference with title company underwriter regarding requests for waiver of assorted                0.7     0.03325      $12.97
             Disposition                                          special exceptions to title commitments on single-family home portfolio (single family) (.7)

April 2021   Asset                   04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of               0.2 0.0040816         $0.57
             Disposition                                          EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                   04/20/21 AEP             390 communications with prospective purchaser of single-family homes regarding projected                   0.2      0.0095       $3.71
             Disposition                                          closing timeline (single family) (.2)
April 2021   Asset                   04/26/21 JR              140 review email from A. Porter related to obtaining releases related to single family homes in            0.1     0.00475       $0.67
             Disposition                                          preparation for closing and respond accordingly (single family) (.1).
April 2021   Asset                   04/27/21 AEP             390 Cursory review of judicial order approving motion to confirm sale of single-family home                0.2      0.0095       $3.71
             Disposition                                          portfolio and distribute same to brokers, title underwriters, buyers, buyers' counsel, and
                                                                  counsel for institutional lenders (single family) (.2)
April 2021   Asset                   04/27/21 AEP             390 review zoning certificates received on various single-family home properties and                       0.2      0.0095       $3.71
             Disposition                                          communicate with J. Rak regarding filing and inventorying of same (single family) (.2).

April 2021   Asset                   04/27/21 AW              140 Communicate with J., Wine regarding proposed order granting thirteenth sale motion, work               0.5     0.02375       $3.33
             Disposition                                          to finalize order, and email J. Wine regarding same (single family).
April 2021   Asset                   04/27/21 JR              140 Follow up correspondence with buyer requesting buyer information in anticipation of                    0.2      0.0095       $1.33
             Disposition                                          closings (single family) (.2)
April 2021   Asset                   04/27/21 JRW             260 Finalize proposed order granting 13th sales motion (single family) (.4)                                0.4       0.019       $4.94
             Disposition
April 2021   Asset                   04/27/21 JRW             260 related correspondence to courtroom deputy regarding entry of order (single family) (.3).              0.3     0.01425       $3.71
             Disposition
April 2021   Asset                   04/28/21 AEP             390 E-mail communications with title underwriter regarding inability to obtain releases of prior           0.2     0.00475       $1.85
             Disposition                                          security documents (5437 S Laflin Street) (.1), e-mail communications with J. Rak regarding
                                                                  inability to obtain new borrower information from prospective purchaser of single-family
                                                                  homes and need to update title commitments (single family) (.1)

April 2021   Asset                   04/28/21 JR              140 exchange correspondence with vendor requesting processing of water certifications                      0.1     0.00475       $0.67
             Disposition                                          regarding properties (single family) (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2021   Asset                   04/28/21 JR              140 Exchange communication with buyer relating to scheduling of properties for closing (single               0.5     0.02375        $3.33
             Disposition                                          family) (.5)
April 2021   Asset                   04/29/21 JR              140 submit water applications to the title company regarding water applications (single family)              0.6      0.0285        $3.99
             Disposition                                          (.6)
April 2021   Asset                   04/29/21 JR              140 further correspond with the title company regarding water applications (single family) (.3)              0.3     0.01425        $2.00
             Disposition
April 2021   Asset                   04/29/21 JR              140 exchange correspondence with the title company requesting updates to the title                           0.3     0.01425        $2.00
             Disposition                                          commitments for properties (single family) (.3)
April 2021   Asset                   04/29/21 JR              140 review email from vendor regarding obtaining water certifications for properties and related             0.2      0.0095        $1.33
             Disposition                                          correspondence with A. Porter (single family) (.2)
April 2021   Asset                   04/30/21 AEP             390 review assignment of purchase and sale contract associated with single-family home                       0.3     0.01425        $5.56
             Disposition                                          portfolio and update receivership spreadsheet tying each property to each prospective
                                                                  purchaser (single family) (.3)
April 2021   Asset                   04/30/21 AEP             390 review value allocations for single-family homes for listing purposes and value allocations per          0.6      0.0285       $11.12
             Disposition                                          agreement with secured lenders, and include information in portfolio spreadsheet (single
                                                                  family) (.6).
April 2021   Asset                   04/30/21 JR              140 review requested water certification and update electronic files for properties (single family)          0.6      0.0285        $3.99
             Disposition                                          (.6)
April 2021   Business                04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional               0.2 0.0040816          $0.57
             Operations                                           funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business                04/13/21 JRW             260 review property manager results summary and related exchange with K. Duff regarding                      0.2         0.04      $10.40
             Operations                                           pending motion and payments (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S
                                                                  Manistee Avenue, 7749-59 S Yates Boulevard, 1414-18 East 62nd Place) (.2).

April 2021   Business                04/30/21 SZ              110 Attention to property manager's emails with repair invoices related to properties (6949-59 S             2.7       0.675       $74.25
             Operations                                           Merrill Avenue, 7442-54 S Calumet Avenue, 7749-59 S Yates Boulevard, 1414-18 E 62nd
                                                                  Place) and other property manager's emails containing repair documentation (310 E 50th
                                                                  Street, 414 Walnut,416- 24 E 66th Street, 1401 W 109th Place, 638-40 N Avers Avenue, 1700-
                                                                  08 W Juneway Terrace, 2736-44 W 64th Street, 4315-19 S Michigan Avenue, 5618-20 S
                                                                  Martin Luther King Drive, 6250 S Mozart Street, 6356 S California Avenue, 6355-59 S Talman
                                                                  Avenue, 6749-59 S Merrill Avenue, 6807 S Indiana Avenue, 7109-19 S Calumet Avenue, 7201-
                                                                  07 S Dorchester Avenue, 7201 S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S
                                                                  Euclid Avenue, 7300-04 S St Lawrence Avenue, 7600-10 S Kingston Avenue, 7760 S Coles
                                                                  Avenue, 7957-59 S Marquette Road, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-
                                                                  16 S Ingleside Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue,
                                                                  11117-11119 S Longwood Drive).

April 2021   Claims                  04/09/21 AEP             390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding competing claims under                    2.1     0.09975       $38.90
             Administration                                       varying factual scenarios in connection with single-family home portfolio (single family).
             & Objections




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
April 2021   Claims                  04/27/21 JRW         260 confer with K. Duff regarding claims against property (1414-18 East 62nd Place) (.1)                  0.1          0.1      $26.00
             Administration
             & Objections

May 2021     Asset                   05/06/21 KBD         390 exchange correspondence with J. Rak regarding sale of properties and segregated accounts              0.2      0.0095        $3.71
             Disposition                                      (single family) (.2).
May 2021     Asset                   05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455          $1.77
             Disposition                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                              Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                              8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021     Asset                   05/17/21 KBD         390 review update of closings from J. Rak (single family, 7255 S Euclid Avenue, 6217-27 S                 0.1 0.0011875          $0.46
             Disposition                                      Dorchester Avenue, 7237-43 S Bennett Avenue) (.1).
May 2021     Asset                   05/20/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding water payment and transfer             0.2      0.0095        $3.71
             Disposition                                      tax payments and logistics for closing (single family) (.2)
May 2021     Asset                   05/20/21 KBD         390 telephone conference with J. Rak regarding problems with purchaser and obtaining                      0.2      0.0095        $3.71
             Disposition                                      necessary documents for closing, including relating to unique municipality issues (single
                                                              family) (.2).
May 2021     Asset                   05/21/21 KBD         390 attention to closing costs and related correspondence (single family) (.1).                           0.1     0.00475        $1.85
             Disposition
May 2021     Asset                   05/24/21 KBD         390 Exchange correspondence with J. Rak regarding closing proceeds and allocation issues (single          0.2      0.0095        $3.71
             Disposition                                      family).
May 2021     Asset                   05/25/21 KBD         390 Work with Andrew Porter and Justyna Rak on closing documents (single family) (1.5)                    1.5     0.07125       $27.79
             Disposition
May 2021     Asset                   05/26/21 KBD         390 exchange correspondence regarding sale proceeds, segregated accounts, and allocations                 0.1     0.00475        $1.85
             Disposition                                      (single family) (.1).
May 2021     Asset                   05/27/21 KBD         390 Exchange correspondence regarding deposit of sale proceeds and allocation (single family)             0.2      0.0095        $3.71
             Disposition                                      (.2)
May 2021     Asset                   05/27/21 KBD         390 telephone conference with and study correspondence from title company representative                  0.3     0.01425        $5.56
             Disposition                                      and exchange correspondence with bank representative regarding transfer of closing
                                                              proceeds (single family) (.3).




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1414-18 East 62nd Place                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2021     Asset                   05/28/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and J. Rak regarding                 0.6      0.0285      $11.12
             Disposition                                      closing and disbursement of funds for sale of portfolio of properties (single family) (.6)

May 2021     Business                05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W               0.3 0.0066667         $2.60
             Operations                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                              Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3).

May 2021     Business                05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111         $4.33
             Operations                                       quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                              1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                              Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.5)




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516                0.5 0.0113636         $4.43
             Operations                                       E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.5)

May 2021     Business                05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
             Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)).

May 2021     Business                05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
             Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)).




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East                 0.3 0.0068182         $2.66
             Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021     Business                05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties               0.1 0.0022727         $0.89
             Operations                                       (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                              Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                              8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)


May 2021     Business                05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
             Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2021     Asset                   05/03/21 JR              140 review numerous emails from the title company [W. Peca at Chicago Title] related to water             0.7     0.03325       $4.66
             Disposition                                          certificates and update electronic files regarding single family homes (single family) (.7).

May 2021     Asset                   05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of              0.1 0.0005278         $0.07
             Disposition                                          property related to remaining unsold properties in the estate (See B) (.1)

May 2021     Asset                   05/05/21 JR              140 exchange correspondence with buyer requesting property inspection forms in anticipation of            0.1     0.00475       $0.67
             Disposition                                          closing of single family homes (single family) (.1)
May 2021     Asset                   05/06/21 AEP             390 Teleconference with J. Rak relating to form of preparation of each closing document and               0.9     0.04275      $16.67
             Disposition                                          remaining pre-closing tasks (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 confer with A. Porter regarding the single family home status in preparation for closing              0.9     0.04275       $5.99
             Disposition                                          (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 draft allocation summary report related to single family homes and produce to K. Pritchard            0.4       0.019       $2.66
             Disposition                                          regarding wire instructions (single family) (.4)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the underwriter requesting and providing closing details of              0.9     0.04275       $5.99
             Disposition                                          the single family homes (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with A. Porter regarding buyer requested information and other                0.8       0.038       $5.32
             Disposition                                          pertinent information required for closing (single family) (.8)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the title company requesting an update on the zoning                     0.1     0.00475       $0.67
             Disposition                                          certifications for the single family homes (single family) (.1)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the real estate broker requesting a lien waiver for closing              0.1     0.00475       $0.67
             Disposition                                          (single family) (.1)
May 2021     Asset                   05/06/21 JR              140 review surveys for single family homes and request updates to same (single family) (.5).              0.5     0.02375       $3.33
             Disposition
May 2021     Asset                   05/07/21 AEP             390 Correspondence with surveyor and title company regarding need for certifications on                   0.3     0.01425       $5.56
             Disposition                                          boundary surveys in non-commercial transactions and correspondence with surveyor
                                                                  regarding payment of invoices for surveys of single-family home properties (single family)
                                                                  (.3)
May 2021     Asset                   05/07/21 JR              140 review numerous emails from the title company relating to single family home (single family)          0.9     0.04275       $5.99
             Disposition                                          zoning certificates and update electronic files regarding same (.9)
May 2021     Asset                   05/07/21 JR              140 review email from K. Pritchard regarding requested wire instructions related to upcoming              0.3     0.01425       $2.00
             Disposition                                          closings for the single family homes (single family) and update electronic files (.3).

May 2021     Asset                   05/07/21 JR              140 review email from real estate broker regarding commission statement for the single family             0.1     0.00475       $0.67
             Disposition                                          homes (single family) (.1)
May 2021     Asset                   05/07/21 KMP             140 Revise table of accounts for single family properties to include missing account numbers and          0.3     0.01425       $2.00
             Disposition                                          forward table to J. Rak (single family).
May 2021     Asset                   05/10/21 JR              140 review emails from the title company regarding delivery of water certifications for single            0.2      0.0095       $1.33
             Disposition                                          family homes (single family) and save in electronic files (.2)
May 2021     Asset                   05/10/21 JR              140 further correspondence with A. Porter regarding status of closing documents related to the            0.1     0.00475       $0.67
             Disposition                                          single family homes (single family) (.1)
May 2021     Asset                   05/10/21 JR              140 review email from K. Duff requesting closing dates of properties (single family, 6749-59 S            0.1 0.0015833         $0.22
             Disposition                                          Merrill Avenue, 7110 S Cornell Avenue) (.1).


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                             Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                            Keeper                                                                                                                              Hours         Fees
May 2021     Asset                   05/11/21 AEP             390 Review allocation table and create master grantor-grantee spreadsheet to outline process of                  0.7     0.03325       $12.97
             Disposition                                          closing single-family home portfolio (single family) (.7)
May 2021     Asset                   05/11/21 AEP             390 identify all closing documents thus far assembled, including water and zoning certifications,                1.8      0.0855       $33.35
             Disposition                                          examiner's worksheets, and survey invoices, and rearrange all materials into appropriate
                                                                  tranche-specific folders (single family) (1.8)
May 2021     Asset                   05/11/21 AEP             390 correspondence with title company underwriter and escrow agent regarding mass closing                        0.2      0.0095        $3.71
             Disposition                                          process (single family) (.2)
May 2021     Asset                   05/12/21 AEP             390 Prepare closing documents for single-family home portfolio sale, including receiver's deeds,                 8.0         0.38     $148.20
             Disposition                                          broker lien waivers, property manager lien waivers, receiver's lien waivers, 1099s, and
                                                                  FIRPTAs (single family) (8.0)
May 2021     Asset                   05/12/21 AEP             390 communications with J. Rak, title company underwriters, and buyers' counsel regarding                        0.5     0.02375        $9.26
             Disposition                                          purchase price and loan allocations and other closing coordination matters (single family)
                                                                  (.5).
May 2021     Asset                   05/12/21 JR              140 Telephone call with A. Porter delegation preparation of closing documents related to the                     0.5     0.02375        $3.33
             Disposition                                          single family home (single family) (.5)
May 2021     Asset                   05/12/21 JR              140 prepare closing documents for single family homes (single family) (4.7).                                     4.7     0.22325       $31.26
             Disposition
May 2021     Asset                   05/12/21 JR              140 review email from buyer's counsel related to a request for water certifications related to the               0.3     0.01425        $2.00
             Disposition                                          single family homes and produce same (single family) (.3)
May 2021     Asset                   05/13/21 AEP             390 prepare affidavits of title, bills of sale, and assignments and assumptions of leases for all sub-           5.3     0.25175       $98.18
             Disposition                                          tranches of single-family home sales (single family) (5.3).
May 2021     Asset                   05/13/21 AEP             390 Finalize preparation of receiver's deeds for all sub-tranches of single-family home property                 2.8       0.133       $51.87
             Disposition                                          sales (single family) (2.8)
May 2021     Asset                   05/13/21 JR              140 Exchange further correspondence with A. Porter regarding single family home closing                          0.1     0.00475        $0.67
             Disposition                                          preparation (single family) (.1)
May 2021     Asset                   05/14/21 AEP             390 review purchase price allocations received from prospective purchaser of single-family                       1.1     0.05225       $20.38
             Disposition                                          homes, update allocation spreadsheet, send copy of same to counsel for institutional lenders
                                                                  and suggest alternative methods for accounting for sales proceeds, and additional
                                                                  communications with counsel for institutional lenders, title underwriter and prospective
                                                                  purchaser relating thereto (single family) (1.1).
May 2021     Asset                   05/14/21 JR              140 exchange correspondence with property management requesting single family home                               0.3     0.01425        $2.00
             Disposition                                          reports in preparation for closing (single family) (.3)
May 2021     Asset                   05/14/21 JR              140 review reports for single family homes in anticipation for closing (single family) (1.9).                    1.9     0.09025       $12.64
             Disposition
May 2021     Asset                   05/15/21 AEP             390 begin researching current property tax liabilities and preparing closing figures for all 37 single-          4.0         0.19      $74.10
             Disposition                                          family homes conveyances (single family) (4.0).
May 2021     Asset                   05/16/21 AEP             390 Finalize preparation of first-draft of closing figures in connection with conveyances of single-             3.5     0.16625       $64.84
             Disposition                                          family homes (single family) (3.5)
May 2021     Asset                   05/16/21 AEP             390 inventory all remaining special exceptions and all outstanding water and zoning certifications               1.5     0.07125       $27.79
             Disposition                                          associated with conveyances of single-family homes and prepare e-mail to title underwriter
                                                                  regarding all current unresolved closing coordination issues (single family) (1.5).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
May 2021     Asset                   05/17/21 JR              140 Exchange correspondence with property management requesting single family home reports                   0.1     0.00475       $0.67
             Disposition                                          in preparation for closing (single family) (.1)
May 2021     Asset                   05/17/21 JR              140 exchange correspondence advising of anticipated closing schedule (single family, 7255-57 S               0.1 0.0011875         $0.17
             Disposition                                          Euclid Avenue, 6217-27 S Dorchester Avenue, 7237-43 S Bennett Avenue) (.1)

May 2021     Asset                   05/17/21 JR              140 review single family tenant information and update certificated rent roll (single family) (4.6)          4.6      0.2185      $30.59
             Disposition
May 2021     Asset                   05/17/21 JR              140 exchange correspondence with property management requesting additional property                          0.1     0.00475       $0.67
             Disposition                                          reports related to closing (single family) (.1)
May 2021     Asset                   05/18/21 AEP             390 Review revised title commitments associated with various single-family home properties,                  2.8       0.133      $51.87
             Disposition                                          reconcile with current list of special exceptions and unrecorded judgments, and sort same
                                                                  into appropriate closing folders (single family) (2.8)
May 2021     Asset                   05/18/21 AEP             390 prepare memorandum for title underwriter and surveyor identifying single-family home                     0.7     0.03325      $12.97
             Disposition                                          properties with discrepancies between legal description on title commitment and legal
                                                                  description on survey and request guidance for resolving conflicts in verbiage (single family)
                                                                  (.7)
May 2021     Asset                   05/18/21 AEP             390 teleconference with J. Rak regarding status of all closing documents associated with                     0.4       0.019       $7.41
             Disposition                                          conveyance of single-family homes (single family) (.4)
May 2021     Asset                   05/18/21 AEP             390 teleconference with title underwriters regarding resolution of remaining title exception                 0.5     0.02375       $9.26
             Disposition                                          issues, potential use of master closing statements, preparation of deed and money escrow
                                                                  instructions, and completion of closing figures (single family) (.5)

May 2021     Asset                   05/18/21 AEP             390 review proposed edits to receiver's deeds submitted by purchaser's counsel in connection                 1.2       0.057      $22.23
             Disposition                                          with conveyance of single-family homes, check corresponding legal descriptions on surveys
                                                                  and title commitments, and revise deeds as warranted (single family) (1.2)

May 2021     Asset                   05/18/21 AEP             390 review and analyze first draft of proposed certified rent roll associated with conveyance of             0.4       0.019       $7.41
             Disposition                                          single-family homes and make minor modifications thereto (single family) (.4).

May 2021     Asset                   05/18/21 AEP             390 prepare affidavits of no new improvements in connection with conveyances of all single-                  0.6      0.0285      $11.12
             Disposition                                          family home properties (single family) (.6)
May 2021     Asset                   05/18/21 JR              140 review due diligence documents received from property management and update certified                    2.3     0.10925      $15.30
             Disposition                                          rent roll in preparation for closing single family homes (single family) (2.3)

May 2021     Asset                   05/18/21 JR              140 review and confirm leases for security deposit information for single family homes (single               1.0      0.0475       $6.65
             Disposition                                          family) (1.0)
May 2021     Asset                   05/18/21 JR              140 review due diligence folder and confirm all subsidy agreements match certified rent roll                 0.7     0.03325       $4.66
             Disposition                                          (single family) (.7).
May 2021     Asset                   05/18/21 JR              140 update closing checklist related to security deposit information and update certified rent roll          0.4       0.019       $2.66
             Disposition                                          regarding same (single family) (.4)
May 2021     Asset                   05/19/21 JR              140 review leases, subsidy agreements, confirm lease terms and update certified rent roll in                 1.8      0.0855      $11.97
             Disposition                                          preparation for closing (single family) (1.8)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2021     Asset                   05/19/21 JR              140 review email from property management regarding requested subsidy agreements for single               0.5     0.02375       $3.33
             Disposition                                          family homes and update electronic files (single family) (.5)

May 2021     Asset                   05/19/21 JR              140 Review email from buyer's counsel regarding updated deeds related to the single family                0.2      0.0095       $1.33
             Disposition                                          homes (single family) (.2)
May 2021     Asset                   05/19/21 JR              140 review and forward notices to tenants requesting buyer approval for closing (single family)           0.2      0.0095       $1.33
             Disposition                                          (.2)
May 2021     Asset                   05/19/21 JR              140 review email from real estate broker regarding lien waivers for closing and provide same              0.1     0.00475       $0.67
             Disposition                                          (single family) (.1)
May 2021     Asset                   05/19/21 JR              140 further communication with A. Porter and real estate broker inquiring about commission                0.1     0.00475       $0.67
             Disposition                                          statement for closing (single family) (.1)
May 2021     Asset                   05/19/21 JR              140 draft real estate transfer tax declaration forms for properties in anticipation for closing           0.8       0.038       $5.32
             Disposition                                          (single family) (.8).
May 2021     Asset                   05/19/21 JR              140 review dates of closing documents and update same (single family) (1.5)                               1.5     0.07125       $9.98
             Disposition
May 2021     Asset                   05/19/21 JR              140 exchange correspondence with property management requesting additional missing                        0.3     0.01425       $2.00
             Disposition                                          information related to leases and subsidy agreements (single family) (.3)
May 2021     Asset                   05/20/21 AEP             390 review final batch of title commitments associated with single-family home portfolio and              1.5     0.07125      $27.79
             Disposition                                          update closing checklist (single family) (1.5)
May 2021     Asset                   05/20/21 AEP             390 Review latest batch of title commitments associated with single-family homes and update list          1.3     0.06175      $24.08
             Disposition                                          of special exceptions (single family) (1.3)
May 2021     Asset                   05/20/21 AEP             390 review commission statement associated with conveyance of single-family homes and                     0.2      0.0095       $3.71
             Disposition                                          prepare e-mail to brokers proposing alternative solution for payment of brokerage
                                                                  commissions (single family) (.2)
May 2021     Asset                   05/20/21 JR              140 update notices to tenants for single family homes per buyer request (single family) (.5)              0.5     0.02375       $3.33
             Disposition
May 2021     Asset                   05/20/21 JR              140 review email from buyer requesting property information in preparation for closing (single            0.1     0.00475       $0.67
             Disposition                                          family) (.1)
May 2021     Asset                   05/20/21 JR              140 exchange correspondence with buyer and A. Porter regarding notices to tenants (single                 0.1     0.00475       $0.67
             Disposition                                          family) (.1)
May 2021     Asset                   05/20/21 JR              140 update and review lien waivers for property managers and request executed copies of same              0.7     0.03325       $4.66
             Disposition                                          in anticipation for closing (single family) (.7)
May 2021     Asset                   05/20/21 JR              140 update electronic files with current property reports (single family) (.9)                            0.9     0.04275       $5.99
             Disposition
May 2021     Asset                   05/20/21 JR              140 request property reports from property management (single family) (.1)                                0.1     0.00475       $0.67
             Disposition
May 2021     Asset                   05/20/21 JR              140 exchange correspondence with real estate broker requesting the delivery of original lien              0.1     0.00475       $0.67
             Disposition                                          waivers for closing (single family) (.1)
May 2021     Asset                   05/20/21 KMP             140 Exchange correspondence with J. Rak and K. Duff regarding payment of certain closing costs            0.2      0.0095       $1.33
             Disposition                                          for property sale (single family).
May 2021     Asset                   05/21/21 AEP             390 review fee quotes for closing services for each of the properties in the single-family home           2.1     0.09975      $38.90
             Disposition                                          portfolio and update closing figures for each property (single family) (2.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2021     Asset                   05/21/21 AEP             390 Conference with J. Rak regarding open items associated with preparation for closing of single-          0.3     0.01425        $5.56
             Disposition                                          family homes (single family) (.3)
May 2021     Asset                   05/21/21 JR              140 forward house sitter information to buyer (single family) (.2)                                          0.2      0.0095        $1.33
             Disposition
May 2021     Asset                   05/21/21 JR              140 review requested rent roll received from property management and inquire about the house                0.5     0.02375        $3.33
             Disposition                                          sitters at various vacant properties with property management (single family) (.5)

May 2021     Asset                   05/21/21 JR              140 update notice to tenant letters and request approval from buyer (single family) (.7)                    0.7     0.03325        $4.66
             Disposition
May 2021     Asset                   05/21/21 JR              140 review email request from buyer regarding property reports and request same from                        0.1     0.00475        $0.67
             Disposition                                          property management (single family) (.1)
May 2021     Asset                   05/21/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.1).             4.1     0.19475       $27.27
             Disposition
May 2021     Asset                   05/21/21 JR              140 further correspondence with A. Porter regarding the house sitters at vacant properties                  0.2      0.0095        $1.33
             Disposition                                          (single family) (.2)
May 2021     Asset                   05/24/21 AEP             390 communications with property managers regarding request from prospective purchaser of                   0.2      0.0095        $3.71
             Disposition                                          single-family home portfolio for pre-closing walk-throughs and confirmation regarding
                                                                  removal of house sitters at various properties (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 review and revise proposed notices to tenants in connection with conveyance of single-                  0.2      0.0095        $3.71
             Disposition                                          family homes (single family) (.2)
May 2021     Asset                   05/24/21 AEP             390 Communications with prospective purchaser of single-family homes regarding scheduling of                0.2      0.0095        $3.71
             Disposition                                          pre-closing walk-throughs and removal of house sitters (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 communications with counsel for lenders regarding reallocations of sales proceeds from                  0.2      0.0095        $3.71
             Disposition                                          conveyance of single-family homes following closing (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 review finalized rent roll for single-family home properties and create final sets of sellers'          2.9     0.13775       $53.72
             Disposition                                          figures for each conveyance (single family) (2.9).
May 2021     Asset                   05/24/21 JR              140 exchange communication with K. Duff inquiring about management of vacant lot (1414-18 E                 0.1          0.1      $14.00
             Disposition                                          62nd Place) (.1)
May 2021     Asset                   05/24/21 JR              140 exchange communication with K. Duff regarding disbursement of funds into a single account               0.2      0.0095        $1.33
             Disposition                                          from the single family closings (single family) (.2)
May 2021     Asset                   05/24/21 JR              140 exchange correspondence with A. Porter providing him with specific property house sitter                0.2 0.0333333          $4.67
             Disposition                                          addresses (2129 W 71st Street, 3723 W 68th Street, 5437 W Laflin Street, 6554-58 S Rhodes
                                                                  Avenue, 8432 S Essex Avenue, 1414-18 E 62nd Street) (.2).

May 2021     Asset                   05/24/21 JR              140 exchange correspondence with buyer requesting updates to contact information for tenants                0.1     0.00475        $0.67
             Disposition                                          after sale (single family) (.1)
May 2021     Asset                   05/24/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.2)              4.2      0.1995       $27.93
             Disposition
May 2021     Asset                   05/24/21 KMP             140 Various communications with K. Duff, A. Porter, and J. Rak regarding issues relating to                 0.3     0.01425        $2.00
             Disposition                                          upcoming closing on single family homes (single family).


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2021     Asset                   05/25/21 AEP             390 Assemble, modify, and inventory all closing documents associated with conveyance of single-            7.3     0.34675     $135.23
             Disposition                                          family homes, oversee document signing process by receiver, and continue revising all sets
                                                                  of closing figures (single family) (7.3)
May 2021     Asset                   05/25/21 JR              140 Conduct execution of closing documents for the single family homes (single family) (8.4)               8.4       0.399      $55.86
             Disposition
May 2021     Asset                   05/26/21 AEP             390 Attend lengthy closing of all 37 single-family home properties (single family)                        10.5     0.49875     $194.51
             Disposition
May 2021     Asset                   05/26/21 JR              140 exchange correspondence with K. Duff regarding instructions for single family allocation of            0.1     0.00475       $0.67
             Disposition                                          proceeds and instructions of same (single family) (.1).
May 2021     Asset                   05/26/21 JR              140 Attend closing of single family homes (single family) (10.1)                                          10.1     0.47975      $67.17
             Disposition
May 2021     Asset                   05/27/21 AEP             390 read e-mail from J. Rak regarding sales proceeds computations, audit spreadsheet, revise,              0.4       0.019       $7.41
             Disposition                                          and circulate new draft (single family) (.4)
May 2021     Asset                   05/27/21 AEP             390 prepare disclosure statements for all single-family home properties (single family) (.7)               0.7     0.03325      $12.97
             Disposition
May 2021     Asset                   05/27/21 AEP             390 review final settlement statements from closing of each single-family home, record final               5.6       0.266     $103.74
             Disposition                                          sales proceeds, create new settlement statements for each property substituting agreed-
                                                                  upon value allocations contained in judicial order confirming sale, revise existing value
                                                                  allocation spreadsheet to compute distribution of sales proceeds, and circulate proposed
                                                                  sales proceeds distributions to receiver and counsel for lenders (single family) (5.6)

May 2021     Asset                   05/27/21 JR              140 exchange correspondence with K. Duff, A. Porter and K. Pritchard with instructions related to          0.2      0.0095       $1.33
             Disposition                                          the allocation of net proceeds for single family homes (single family) (.2)

May 2021     Asset                   05/27/21 JR              140 update single family home executed documents in electronics files (single family) (2.1)                2.1     0.09975      $13.97
             Disposition
May 2021     Asset                   05/27/21 JR              140 Review email from K. Duff regarding instructions for disbursement of proceeds and respond              0.1     0.00475       $0.67
             Disposition                                          accordingly (single family) (.1)
May 2021     Asset                   05/27/21 JR              140 follow up correspondence with K. Duff advising of closing status (single family) (.1)                  0.1     0.00475       $0.67
             Disposition
May 2021     Asset                   05/27/21 JR              140 review email from property management relating to status of closing and respond                        0.1     0.00475       $0.67
             Disposition                                          accordingly (single family) (.1)
May 2021     Asset                   05/27/21 JR              140 follow up with the title company requesting closing status (single family) (.1)                        0.1     0.00475       $0.67
             Disposition
May 2021     Asset                   05/27/21 JR              140 review email from the title company and provide requested survey invoices for the single               0.4       0.019       $2.66
             Disposition                                          family homes (single family) (.4)
May 2021     Asset                   05/27/21 JR              140 follow up correspondence with title company closer requesting status of closing (single                0.2      0.0095       $1.33
             Disposition                                          family) (.2)
May 2021     Asset                   05/27/21 JR              140 Review email from A. Porter, identify a discrepancy and further review closing statements to           0.9     0.04275       $5.99
             Disposition                                          confirm the total amount of net proceeds expected to be delivered from closing (single
                                                                  family).




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2021     Asset                   05/28/21 AEP             390 Teleconference with J. Rak and K. Duff regarding wire transfer allocations and disbursement          0.3     0.01425       $5.56
             Disposition                                          dates associated with conveyance of single-family home portfolio (single family) (.3)

May 2021     Asset                   05/28/21 AEP             390 update master receivership portfolio spreadsheet to include information associated with              0.2      0.0095       $3.71
             Disposition                                          conveyance of single-family home portfolio (single family) (.2).
May 2021     Asset                   05/28/21 JR              140 exchange correspondence with K. Duff providing detailed closed property information and              0.3     0.01425       $2.00
             Disposition                                          confirming closing date for single family homes (single family) (.3)

May 2021     Asset                   05/28/21 JR              140 exchange correspondence with buyer confirming property key delivery related to closing of            0.1     0.00475       $0.67
             Disposition                                          portfolio of properties (single family) (.1)
May 2021     Asset                   05/28/21 JR              140 exchange correspondence with K. Duff regarding allocation of funds related to the single             0.8       0.038       $5.32
             Disposition                                          family home closing (single family) (.8)
May 2021     Asset                   05/28/21 JR              140 further correspondence with bank representative regarding wire transfer and allocation               0.9     0.04275       $5.99
             Disposition                                          instructions for single family home closing (single family) (.9)
May 2021     Asset                   05/28/21 JR              140 exchange various correspondence with the title company requesting wire confirmation and              0.5     0.02375       $3.33
             Disposition                                          additional information related to closing of portfolio of properties (single family) (.5)

May 2021     Asset                   05/28/21 JR              140 review email from real estate broker and provide settlement statements related to closing            0.1     0.00475       $0.67
             Disposition                                          (single family) (.1)
May 2021     Business                05/03/21 JR              140 review requested property information from property management and update same [see                  0.8 0.0092593         $1.30
             Operations                                           A].
May 2021     Business                05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general             0.1 0.0005278         $0.07
             Operations                                           liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                  Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                  27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.1).
May 2021     Business                05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property               0.2 0.0010556         $0.15
             Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business                05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property               0.2 0.0010556         $0.15
             Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)

May 2021     Business                05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-            0.1 0.0005278         $0.07
             Operations                                           43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                  6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.1).




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.                  0.3 0.0015833         $0.22
             Operations                                           Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                  Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                  27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.3)
May 2021     Business                05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                   2.3 0.0469388         $6.57
             Operations                                           7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                  62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                  Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                  6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                  Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                  Avenue, 1102 Bingham (Houston, TX)) (2.3)


May 2021     Business                05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                     0.3 0.0015833         $0.22
             Operations                                           umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).

May 2021     Business                05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0010556         $0.15
             Operations                                           Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                  Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                  68th Street, single family) (.2)
May 2021     Business                05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2     0.00095       $0.13
             Operations                                           property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                  Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                  Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business                05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0005278         $0.07
             Operations                                           insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                  Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                  Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)

June 2021    Asset                   06/01/21 KBD             390 Exchange correspondence with J. Rak and K. Pritchard regarding allocation of sales proceeds            0.4       0.019       $7.41
             Disposition                                          and interest and study related information (single family).




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2021    Asset                   06/16/21 KBD             390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                     0.2    0.002375       $0.93
             Disposition
June 2021    Asset                   06/01/21 JR              140 Review email from J. Wine and respond accordingly regarding collection notice (7237-43 S               0.1 0.0011875         $0.17
             Disposition                                          Bennett Avenue) (.1)
June 2021    Asset                   06/01/21 JR              140 exchange correspondence with K. Duff, bank representative, K. Pritchard regarding net sale             1.2      0.0285       $3.99
             Disposition                                          proceeds from the single family homes, update allocation spreadsheet with interest and
                                                                  provide detailed instructions to the bank for single family home allocation related to each
                                                                  property (single family) (1.2).
June 2021    Asset                   06/01/21 JR              140 review email from buyer requesting ledgers and tenant payment information and produce                  0.5    0.011875       $1.66
             Disposition                                          same (single family) (.5)
June 2021    Asset                   06/01/21 KMP             140 Review online banking records to confirm receipt of funds wired in connection with the sale            0.5     0.02375       $3.33
             Disposition                                          of the single family homes, calculate pro rata share of interest earned on sale proceeds, and
                                                                  related communications with K. Duff and J. Rak (single family).

June 2021    Asset                   06/02/21 JR              140 Review email from bank regarding allocation of funds and respond accordingly (single family)           0.2      0.0095       $1.33
             Disposition                                          (.2)
June 2021    Asset                   06/02/21 KMP             140 Study communications from bank representative regarding transfers of proceeds to property              0.2      0.0095       $1.33
             Disposition                                          accounts in connection with sale of single-family homes (single family).

June 2021    Asset                   06/03/21 KMP             140 Review and confirm transfers of sale proceeds from sale of single-family homes to individual           0.3     0.01425       $2.00
             Disposition                                          property accounts and related communication with K. Duff and J. Rak (single family).

June 2021    Asset                   06/07/21 JR              140 update closed property spreadsheet with single family home gross and net proceeds, make                1.2       0.057       $7.98
             Disposition                                          corrections to normalize property addresses (single family) (1.2)
June 2021    Asset                   06/08/21 JR              140 review email from property management and provide requested post-closing payment                       0.3     0.01425       $2.00
             Disposition                                          information related to tenant rent (single family) (.3)
June 2021    Asset                   06/09/21 JR              140 Organize master statements for each property (single family).                                          0.9     0.04275       $5.99
             Disposition
June 2021    Asset                   06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property            0.4     0.00475       $0.67
             Disposition                                          spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                  Avenue, 7051 S Bennett Avenue) (.4).
June 2021    Asset                   06/16/21 KMP             140 Review property accounts to update spreadsheets relating to post-sale reconciliation by                0.6     0.00475       $0.67
             Disposition                                          property managers and related communications with K. Duff and J. Rak (single family, 4750-
                                                                  52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                  Street, 4611-17 Drexel Boulevard).
June 2021    Asset                   06/19/21 AEP             390 review property disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet            0.2      0.0095       $3.71
             Disposition                                          unpaid survey invoices and providing estimated dates of final payment (single family) (.2).

June 2021    Business                06/25/21 JRW             260 Email exchange regarding notices regarding involuntary dissolutions of LLCs (.1)                       0.1       0.025       $6.50
             Operations
July 2021    Asset                   07/14/21 KBD             390 confirmation of funds transfer amounts (single family) (.1).                                           0.1 0.0027027         $1.05
             Disposition




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1414-18 East 62nd Place                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
July 2021    Business                07/13/21 KBD             390 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S                    0.3 0.0068182          $2.66
             Operations                                           Dorchester Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th
                                                                  Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single
                                                                  family) (.3)
July 2021    Business                07/27/21 KBD             390 Study information regarding administrative orders and exchange related correspondence                0.2 0.0222222          $8.67
             Operations                                           with J. Wine (1414-18 East 62nd Place, 1422-24 East 68th Street, 2736-44 W 64th Street,
                                                                  4750-52 S Indiana Avenue, 6250 S Mozart Street, 6554-58 S Vernon Avenue, 6949-59 S
                                                                  Merrill Avenue, 7024-32 S Paxton Avenue, 7957-59 S Marquette Road) (.2)

July 2021    Asset                   07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                 0.2 0.0018868          $0.26
             Disposition                                          regarding closed properties status (see D) (.2)
July 2021    Asset                   07/09/21 JR              140 Review email from buyer for single family homes requesting clarification on tenant rent              0.3 0.0081081          $1.14
             Disposition                                          payments for previously sold property and review records (single family) (.3)

July 2021    Asset                   07/30/21 JR              140 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds          0.3 0.0090909          $1.27
             Disposition                                          from property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place,
                                                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
                                                                  7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                  S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                  W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                  2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)


July 2021    Business                07/06/21 AW              140 Attention to notices from the city and related communication with J. Wine (7110 S Cornell            0.2         0.05       $7.00
             Operations                                           Avenue, 7024-32 S Paxton Avenue, 4520-26 S Drexel Boulevard, 1414-18 East 62nd Place).

July 2021    Business                07/06/21 JRW             260 review new notices of code violations, related correspondence to K. Duff and A. Porter and           0.3         0.15      $39.00
             Operations                                           update records (7024-32 S Paxton Avenue, 1414-18 East 62nd Place) (.3)
July 2021    Business                07/14/21 AEP             390 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with             0.2 0.0054054          $2.11
             Operations                                           values of single-family home portfolio in connection with preparation of quarterly report
                                                                  (single family) (.2).
July 2021    Business                07/27/21 JRW             260 Update A. Porter and K. Duff on recent notices of violation and inspection and sale dates            0.7 0.0777778         $20.22
             Operations                                           (7024-32 S Paxton Avenue, 4750-52 S Indiana Avenue, 6949-59 S Merrill Avenue, 7957-59 S
                                                                  Marquette Road, 6250 S Mozart Street, 2736-44 W 64th Street, 6554-58 S Vernon Avenue,
                                                                  1422-24 East 68th Street, 1414-18 East 62nd Place) (.7)
August 2021 Business                 08/23/21 KBD             390 Study, revise, and exchange correspondence with A. Watychowicz regarding correspondence              0.3          0.1      $39.00
            Operations                                            to City relating to orders of default, lack of notice, stay of enforcement, and claims
                                                                  submission procedure and exchange related correspondence with City representatives (7024-
                                                                  32 S Paxton, 1414-18 E 62nd Place, 1422-24 E 68th Street) (.3)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
August 2021 Asset                    08/06/21 JR              140 review email from K. Duff related to allocations for post-closing reconciliation regarding              0.2 0.0054054          $0.76
            Disposition                                           properties and further communicate with A. Porter regarding same (single family) (.2).

August 2021 Asset                    08/30/21 JR              140 Review email from K. Duff regarding tax bills for single family homes and advise accordingly            0.2 0.0054054          $0.76
            Disposition                                           (single family) (.2)
August 2021 Asset                    08/31/21 JR              140 Review email from J. Wine regarding notices received for properties, forward to buyer and               0.2          0.1      $14.00
            Disposition                                           buyer's counsel (4533-47 S Calumet Avenue, 1414-18 East 62nd Place) (.2)

August 2021 Business                 08/13/21 ED              390 Email correspondence with K. Duff and K. Pritchard regarding allocation of expenses                     0.2          0.1      $39.00
            Operations                                            between properties (6217-27 S Dorchester Avenue, 1414-18 East 62nd Place).

August 2021 Business                 08/18/21 AW              140 Attention to default orders, draft letter to the City of Chicago, and related email to J. Wine          0.5 0.1666667         $23.33
            Operations                                            (7024-32 S Paxton, 1414-18 E 62nd Place, 1422-24 E 68th Street).
August 2021 Business                 08/18/21 JRW             260 Review administrative court orders and related work with A. Watychowicz to prepare                      0.3          0.1      $26.00
            Operations                                            correspondence to City of Chicago (7024-32 S Paxton Avenue, 1414- 18 East 62nd Place, 1422-
                                                                  24 East 68th Street).
August 2021 Business                 08/21/21 JRW             260 Review and revise draft correspondence to City of Chicago regarding administrative orders               0.3          0.1      $26.00
            Operations                                            (7024-32 S Paxton Avenue, 1414-18 East 62nd Place, 1422-24 East 68th Street).

August 2021 Business                 08/23/21 AW              140 Final revisions to letter to the City regarding default orders, related email to K. Duff, and           0.3          0.1      $14.00
            Operations                                            serve by email (7024-32 S Paxton, 1414-18 E 62nd Place, 1422-24 E 68th Street) (.3)

August 2021 Business                 08/23/21 AW              140 attention to notice of violation and order, and related email to J. Wine (1414-18 East 62nd             0.1         0.05       $7.00
            Operations                                            Place, 7933-35 S Essex Avenue) (.1).
August 2021 Business                 08/27/21 JRW             260 Review new notice of municipal code violation and related review of files and                           0.4          0.4     $104.00
            Operations                                            correspondence to J. Rak (1414-18 East 62nd Place).
August 2021 Business                 08/30/21 JRW             260 exchange correspondence with J. Rak regarding administrative orders (7933-35 S Essex                    0.1         0.05      $13.00
            Operations                                            Avenue, 1414-18 East 62nd Place) (.1).
August 2021 Business                 08/30/21 JRW             260 Telephone conference with counsel for city regarding administrative judgments and related               0.3       0.075       $19.50
            Operations                                            correspondence with K. Duff (7024-32 S Paxton Avenue, 1414-18 East 62nd Place, 1422-24
                                                                  East 68th Street, 4750-52 S Indiana Avenue) (.3)
August 2021 Business                 08/31/21 JRW             260 Correspondence to City of Chicago ownership unit regarding dismissal of action (1414-18                 0.2          0.2      $52.00
            Operations                                            East 62nd Place).
September Asset                      09/22/21 KBD             390 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations                0.1    0.002439        $0.95
2021        Disposition                                           (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                  6217-27 S Dorchester Avenue) (.1)
September Asset                      09/28/21 KBD             390 attention to post-sale reconciliation of funds (1401 W 109th Place, 310 E 50th Street, 6807 S           0.2 0.0181818          $7.09
2021      Disposition                                             Indiana Avenue, 9610 S Woodlawn Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett
                                                                  Avenue, 1414-18 East 62nd Place, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                  Avenue, 6217-27 S Dorchester Avenue) (.2).
September Business                   09/24/21 KBD             390 study correspondence from property manager regarding post-sale fund distributions (single               0.2    0.004878        $1.90
2021      Operations                                              family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-
                                                                  27 S Dorchester Avenue) (.2)


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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
September    Asset                   09/01/21 JR              140 review paper property tax statement and forward to buyer for single family homes, request               0.2 0.0054054          $0.76
2021         Disposition                                          buyer to change address for delivery of same (single family) (.2)
September    Asset                   09/22/21 JR              140 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions          1.1 0.0268293          $3.76
2021         Disposition                                          and update same for single family homes and other various properties (single family, 1422-
                                                                  24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S
                                                                  Dorchester Avenue) (1.1)
September Asset                      09/22/21 JR              140 further communication with K. Pritchard related to post- closing reconciliation distributions           0.1    0.002439        $0.34
2021      Disposition                                             (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                  6217-27 S Dorchester Avenue) (.1).
September Asset                      09/22/21 KMP             140 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related                    2.1      0.0525        $7.35
2021      Disposition                                             communication with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place,
                                                                  1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                  Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                  8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                  Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                  Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                  Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                  S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                  Avenue, 1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)


September Asset                      09/23/21 JR              140 communicate with property management requesting update to post- closing reconciliation                  0.2 0.0153846          $2.15
2021      Disposition                                             distributions for various properties (1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                  Avenue, 9610 S Woodlawn Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                  7024-32 S Paxton Avenue, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 2129 W 71st
                                                                  Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 6217-27 S Dorchester Avenue) (.2)

September Asset                      09/23/21 JR              140 Exchange correspondence with K. Pritchard regarding post-closing reconciliation                         0.3 0.0073171          $1.02
2021      Disposition                                             distributions (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S
                                                                  Bennett Avenue, 6217-27 S Dorchester Avenue) (.3)
September Asset                      09/27/21 JR              140 Exchange communication with K. Pritchard, property management requesting updates to                     0.2 0.0181818          $2.55
2021      Disposition                                             post-closing reconciliation distributions (1401 W 109th Place, 310 E 50th Street, 6807 S
                                                                  Indiana Avenue, 9610 S Woodlawn Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett
                                                                  Avenue, 1414-18 East 62nd Place, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                  Avenue, 6217-27 S Dorchester Avenue) (.2)
September    Business                09/03/21 JRW             260 review correspondence from City of Chicago regarding nonsuit of matter and update related               0.1          0.1      $26.00
2021         Operations                                           records (1414-18 East 62nd Place) (.1).
September    Business                09/15/21 JRW             260 Exchange correspondence with City of Chicago Ownership Unit regarding violation notice                  0.1          0.1      $26.00
2021         Operations                                           (1414-18 East 62nd Place) (.1)




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1414-18 East 62nd Place                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
September Business                   09/15/21 KMP             140 Communications with J. Wine and A. Watychowicz regarding City collection notices and                   0.2         0.05       $7.00
2021      Operations                                              administrative hearing order (5001 S Drexel Boulevard, 1422-24 E 68th Street, 1414-18 E
                                                                  62nd Place, 7024-32 S Paxton Avenue).
September Business                   09/16/21 AW              140 Attention to collection notices and related email to J. Wine (5001 S Drexel Boulevard, 1422-           0.2         0.05       $7.00
2021      Operations                                              24 East 68th Street, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue).

September Business                   09/16/21 JRW             260 Review collection notices and prior correspondence and related communications with K.                  0.6         0.15      $39.00
2021      Operations                                              Duff, A. Porter, A. Watychowicz, and K. Pritchard (7024-32 S Paxton Avenue, 1422-24 East
                                                                  68th Street, 1414-18 East 62nd Place, 5001 S Drexel Boulevard) (.6)

September Business                   09/17/21 AW              140 Communicate with J. Wine regarding notice of stay of collection, proofread letter, and serve           0.5 0.1666667         $23.33
2021      Operations                                              counsel (7024-32 S Paxton Avenue, 1414-18 East 62nd Place, 1422-24 East 68th Street).

September Business                   09/17/21 KMP             140 Attention to communications relating to notice letter to City regarding collection issues and          0.2 0.0666667          $9.33
2021      Operations                                              related communications with J. Wine and A. Watychowicz (7024-32 S Paxton Avenue, 1414-
                                                                  18 E 62nd Place, 1422-28 E 68th Street).
September Business                   09/22/21 AW              140 Attention to response from creditor and email same to K. Duff and J. Wine and attention to             0.2 0.0666667          $9.33
2021      Operations                                              related email exchanges (7024-32 S Paxton Avenue, 1414- 18 East 62nd Place, 1422-24 East
                                                                  68th Street).
September Business                   09/22/21 JRW             260 Study correspondence from corporate counsel regarding administrative proceedings and                   0.5       0.125       $32.50
2021      Operations                                              exhibits thereto (1414-18 East 62nd Place, 1422-24 East 68th Street, 4750-52 S Indiana
                                                                  Avenue, 7024-32 S Paxton Avenue) (.5)
September Business                   09/22/21 JRW             260 confer with K. Duff and draft email to corporate counsel in response to correspondence                 0.2         0.05      $13.00
2021      Operations                                              regarding administrative orders (1414-18 East 62nd Place, 1422-24 East 68th Street, 4750-52
                                                                  S Indiana Avenue, 7024-32 S Paxton Avenue) (.2).
September Business                   09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with             0.3 0.0065217          $0.72
2021      Operations                                              the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                  Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                  Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                  1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                  Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                  Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                  06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                  Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                  Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                  Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                  Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).




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1414-18 East 62nd Place                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/17/21 JRW         260 draft correspondence to Corporation Counsel regarding collection notices (7024-32 S Paxton          0.4 0.1333333        $34.67
2021      Administration                                      Avenue, 1414-18 East 62nd Place, 1422-24 East 68th Street) (.4).
          & Objections




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                                  8100 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 1.3823089%
General Allocation % (01/29/21 Onward, Claims Only):                            1.4853863973%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     9        8100 S Essex Avenue                                                          54.96      $             14,874.57                         190.92     $            55,189.99             245.88     $             70,064.56
                 Asset Disposition [4]                                                        2.91    $                  951.82                          94.80   $             27,552.11               97.71   $              28,503.92
                 Business Operations [5]                                                      2.92    $                  878.65                          80.07   $             23,577.75               82.99   $              24,456.40
                 Claims Administration & Objections [6]                                     49.13     $              13,044.10                           16.06   $               4,060.13              65.18   $              17,104.24




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8100 S Essex Avenue                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   190.92
Specific Allocation Fees:         $       55,189.99



   Invoice                                             Time                                                                                                                      Allocated    Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                       Task Hours
   Month                                              Keeper                                                                                                                       Hours         Fees
August 2018 Business                      08/22/18 KBD           390 office conference with N. Mirjanich regarding court cases and communications with City of             0.3         0.03      $11.70
            Operations                                               Chicago representatives (.3).
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                        1.7       0.025        $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)             0.4 0.0037736          $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash               0.3 0.0044118          $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                      0.3 0.0044118          $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property                  0.7 0.0066038          $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management                  0.6 0.0056604          $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 office conference with A. Porter and N. Mirjanich regarding City counsel communications (.2)          0.2 0.0285714         $11.14
            Operations
August 2018 Business                      08/27/18 KBD           390 exchange correspondence with N. Mirjanich regarding court cases and counsel (.2)                      0.2 0.0285714         $11.14
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                      0.1 0.0014925          $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                      1.5 0.0220588          $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                   0.1 0.0014925          $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                    0.2 0.0018692          $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 conference with and study correspondence from N. Mirjanich regarding litigation status and            0.3         0.06      $23.40
            Operations                                               communications with counsel (.3)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                      0.9 0.0084906          $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                        0.8 0.0075472          $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                           0.1 0.0014925          $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                                  0.3 0.0044118          $1.72
            Operations




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated       Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours            Fees
August 2018 Business                08/28/18 KBD         390 study correspondence from N. Mirjanich regarding same (.2)                                            0.2 0.0029412             $1.15
            Operations
August 2018 Business                08/28/18 KBD         390 second telephone conference with property managers counsel re same (.2)                               0.2 0.0029412             $1.15
            Operations
August 2018 Business                08/28/18 KBD         390 telephone conference with counsel for property manager (.2)                                           0.2 0.0029412             $1.15
            Operations
August 2018 Business                08/28/18 KBD         390 office conference with A. Porter regarding same (.1)                                                  0.1 0.0014706             $0.57
            Operations
August 2018 Business                08/29/18 KBD         390 office conference with N. Mirjanich regarding housing court hearings and status of                    0.2      0.0125           $4.88
            Operations                                       communications with City counsel regarding alleged property violation issues (.2)

August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management                0.4 0.0037736             $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash              0.2 0.0029851             $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                                0.3 0.0028302             $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)                0.1 0.0009434             $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                       0.9 0.0132353             $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                   0.2 0.0029412             $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)                0.7 0.0102941             $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                     0.7 0.0066038             $2.58
            Operations
August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study           0.5    0.004717           $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118            $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/22/18 NM          260 appear before Judge Elrich to stay litigation and correspond with EquityBuild counsel,                1.0               1     $260.00
            Operations                                       Plaintiff's counsel, and co-defenses counsel in courthouse (1.0)
August 2018 Business                08/22/18 NM          260 draft document summarizing pending litigation involving EquityBuild (.8)                              0.8          0.4        $104.00
            Operations
August 2018 Business                08/22/18 NM          260 Office conferences with K. Duff regarding EquityBuild attorney issues and pending litigation          1.3         0.13         $33.80
            Operations                                       (1.3)
August 2018 Business                08/22/18 NM          260 prepare for status conference in Foley v. EquityBuild pending before Judge Elrich in Cook             0.3          0.3         $78.00
            Operations                                       County Circuit Court (.3)
August 2018 Business                08/23/18 AEP         390 teleconference with EquityBuild employee regarding need to pay property tax arrearages to             0.5 0.0294118            $11.47
            Operations                                       ensure passage of CHA inspections, building code violations, and other pressing issues (.5).




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
August 2018 Business                08/24/18 AEP         390 conferences with N. Mirjanich and E. Duff regarding status of building code violation actions,          0.5     0.03125       $12.19
            Operations                                       contact with institutional lenders, and outstanding insurance invoices (.5)

August 2018 Business                08/27/18 NM          260 address matters relating to pending EquityBuild litigation including corresponding with                 2.5 0.3571429         $92.86
            Operations                                       EquityBuild attorneys, corresponding with property management company regarding same,
                                                             correspond with K. Duff regarding same and other litigation matters including hearings on
                                                             August 28, 2018 (2.5)
August 2018 Business                08/28/18 AEP         390 conference with N. Mirjanich regarding status of building code violation actions (.2).                  0.2 0.0285714         $11.14
            Operations
August 2018 Business                08/28/18 NM          260 study correspondence from EquityBuild attorneys regarding status of pending litigation and              1.6         0.32      $83.20
            Operations                                       correspond with K. Duff regarding same and update spreadsheet with same (1.6)

August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                       0.1 0.0014925          $0.39
            Operations
August 2018 Business                08/29/18 NM          260 study correspondence and documents relating to status of pending EquityBuild litigation and             1.3     0.08125       $21.13
            Operations                                       revise summary chart accordingly (1.3)
August 2018 Business                08/29/18 NM          260 correspond with K. Duff regarding City of Chicago housing and administrative matters (.2)               0.2      0.0125        $3.25
            Operations
August 2018 Business                08/29/18 NM          260 correspond with A. Watychowicz regarding City of Chicago administrative matters and                     0.2      0.0125        $3.25
            Operations                                       EquityBuild attorney (.2)
August 2018 Business                08/30/18 AEP         390 teleconference with property manager regarding need for security equipment at various                   0.2 0.0285714         $11.14
            Operations                                       portfolio properties (.2)
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                      1.5 0.0140187          $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                     0.5 0.0046729          $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                               0.5 0.0046729          $1.82
            Operations
August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)              0.2 0.0029412          $1.15
            Administration
            & Objections

September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                       0.1 0.0009346          $0.36
2018         Disposition
September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                  0.4 0.0037383          $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related              0.1 0.0009346          $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                          0.1 0.0009346          $0.36
2018         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                             0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential               0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market               0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).          0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding               0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)              0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                   0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                0.1 0.0014706         $0.57
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft              0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                            0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management            0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                  0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 study correspondence from N. Mirjanich and property manager and office conferences with          0.6 0.0461538        $18.00
2018         Operations                                      N. Mirjanich regarding various housing and building violation actions (.6)

September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding            0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                  0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                          0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding               0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                               0.4 0.0058824         $2.29
2018         Operations




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8100 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                         0.1 0.0014925          $0.58
2018         Operations                                      compensation (.1)
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645          $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692          $0.73
2018         Operations
September    Business               09/11/18 KBD         390 office conference with N. Mirjanich regarding hearing in law division case, city code                  0.8         0.08      $31.20
2018         Operations                                      violations, investigation into transactions, property manager's estimate to repair and
                                                             improve properties to address code violations, and preparation of claims process motion and
                                                             receivership status report (.8)
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412          $1.15
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701          $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118          $1.72
2018         Operations
September    Business               09/17/18 KBD         390 study and revise correspondence to city attorney regarding various housing court cases and             0.2         0.02       $7.80
2018         Operations                                      office conference with N. Mirjanich regarding same (.2)
September    Business               09/17/18 KBD         390 further office conference with N. Mirjanich regarding property management, and violation               0.4         0.04      $15.60
2018         Operations                                      notices, repair work, and hearings (.4)
September    Business               09/17/18 KBD         390 Office conferences with N. Mirjanich regarding property violation notices and hearings                 0.4         0.04      $15.60
2018         Operations                                      relating to same (.4)
September    Business               09/17/18 KBD         390 study and revise correspondence regarding same (.2)                                                    0.2         0.02       $7.80
2018         Operations
September    Business               09/18/18 KBD         390 draft correspondence to and office conference with N. Mirjanich regarding property                     0.4 0.0307692         $12.00
2018         Operations                                      violation notices and municipal court and housing court matters (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346          $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717        $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346          $0.36
2018         Operations                                      same (.1)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434          $0.37
2018         Operations                                      (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262          $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346          $0.36
2018         Operations
September    Claims                 09/14/18 KBD         390 study correspondence regarding contractor claim for unpaid invoices and lien (.1)                      0.1         0.05      $19.50
2018         Administration
             & Objections




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
September Claims                    09/14/18 KBD         390 office conference with N. Mirjanich regarding same (.1)                                                0.1         0.05      $19.50
2018      Administration
          & Objections

September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383          $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757        $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037          $1.09
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037          $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346          $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346          $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692          $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346          $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692          $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336          $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346          $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                 0.3 0.0028037          $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/05/18 AEP         390 Conference with N. Mirjanich to inventory and track status of all properties with pending              1.1 0.0916667         $35.75
2018         Operations                                      building code violations (1.1)
September    Business               09/05/18 NM          260 revise spreadsheet of pending City of Chicago litigation and study documents and                       1.0 0.0833333         $21.67
2018         Operations                                      correspondence from property managers and documents provided by EB attorney regarding
                                                             same (1.0)
September    Business               09/05/18 NM          260 telephone conference with A. Porter and attorney regarding status of admin matter and                  0.2 0.0166667          $4.33
2018         Operations                                      property and lawsuits (.2)
September    Business               09/06/18 MBA         390 Conference with N. Mirjanich regarding insurance-related aspects as to stayed bodily injury            0.4          0.4     $156.00
2018         Operations                                      and wrongful death suits arising from 2016 fire at one of apartment buildings, including
                                                             deductible issue.
September Business                  09/06/18 NM          260 correspond with M. Adler regarding status of insurance coverage of various EquityBuild                 0.5         0.25      $65.00
2018      Operations                                         lawsuits (.5)


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8100 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of           0.6 0.0089552          $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/07/18 NM          260 update spreadsheet regarding pending litigation for non-City of Chicago matters (.1)                   0.1 0.0333333          $8.67
2018         Operations
September    Business               09/07/18 NM          260 draft correspondence regarding status of pending litigation to City of Chicago administrative          2.9 0.2230769         $58.00
2018         Operations                                      attorneys and exchange correspondence with property managers regarding same, update
                                                             chart of pending litigation regarding same (2.9)
September    Business               09/08/18 AEP         390 Review all correspondence and documents associated with notices of violation filed against             0.3 0.0230769          $9.00
2018         Operations                                      EquityBuild properties.
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                 0.7 0.0104478          $4.07
2018         Operations                                      same (.7);
September    Business               09/11/18 NM          260 update spreadsheet of property manager's matters and study correspondence from property                0.3       0.075       $19.50
2018         Operations                                      manager regarding same (.3)
September    Business               09/12/18 AEP         390 teleconference with N. Mirjanich and property manager regarding prioritization of                      0.4         0.04      $15.60
2018         Operations                                      improvements directed to remedying building code violations (.4)
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                  0.4 0.0037383          $1.46
2018         Operations                                      distribution (.4).
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                   0.3 0.0028037          $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/14/18 NM          260 correspond with K. Duff and A. Porter regarding contractors and relationship to property               0.4          0.2      $52.00
2018         Operations                                      managers (.4).
September    Business               09/14/18 NM          260 draft notices to contractors and correspond with A. Porter and A. Watychowicz regarding                1.0          0.5     $130.00
2018         Operations                                      same and mechanics liens for same (1.0)
September    Business               09/17/18 AEP         390 Conference call with N. Mirjanich and property manager regarding overview of all                       1.1         0.11      $42.90
2018         Operations                                      administrative and housing court matter (1.1)
September    Business               09/17/18 NM          260 exchange correspondence with attorneys regarding property status, open building code                   3.7         0.37      $96.20
2018         Operations                                      violations, upcoming court dates, and repairs necessary to address same and to preserve
                                                             property, correspond with K. Duff and A. Porter regarding same, study spreadsheets from
                                                             property managers regarding same, revise internal spreadsheet regarding same and asset
                                                             preservation (3.7).
September Business                  09/18/18 NM          260 update spreadsheet pertaining to open City of Chicago lawsuits and property preservation               1.3          0.1      $26.00
2018      Operations                                         for same, study notes and emails from property managers and City attorneys for same and
                                                             correspond with K. Duff regarding same and potential new lawsuit filed against EB since
                                                             receivership appointment (1.3).
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                   0.2 0.0018692          $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 update spreadsheet regarding open City of Chicago matters and property preservation (.1)               0.1 0.0090909          $2.36
2018         Operations
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                      0.1 0.0009434          $0.25
2018         Operations




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information              0.6 0.0074074         $1.93
2018      Administration                                     and draft notice letter for same (.6)
          & Objections

October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                      0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                     0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement                0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                 0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                              0.8 0.0074766         $2.92
2018         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692          $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187          $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075          $2.19
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262          $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/24/18 KBD         390 Draft correspondence to A. Porter and M. Rachlis regarding motion to approve public sale            0.2 0.0333333         $13.00
2018         Disposition                                     (.2)
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/29/18 KBD         390 study draft motion for approval of sealed bid process and correspondence from M. Rachlis            0.4 0.0666667         $26.00
2018         Disposition                                     regarding same (.4)
October      Asset                  10/30/18 KBD         390 Review correspondence from A. Porter regarding publication of sale notice.                          0.1 0.0166667          $6.50
2018         Disposition
October      Asset                  10/31/18 KBD         390 study draft motion to sell properties (.3).                                                         0.3         0.05      $19.50
2018         Disposition
October      Business               10/03/18 KBD         390 Office conference with N. Mirjanich regarding communications with property manager                  0.1          0.1      $39.00
2018         Operations                                      relating to potential property improvement (8100 Essex) (.1)
October      Business               10/03/18 KBD         390 study correspondence from N. Mirjanich regarding housing court matters (.1)                         0.1         0.05      $19.50
2018         Operations
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692          $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434          $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118          $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736          $1.47
2018         Operations                                      property managers (.4)
October      Business               10/11/18 KBD         390 further office conferences with N. Mirjanich regarding housing court and building court             0.3 0.0428571         $16.71
2018         Operations                                      matters and study correspondence regarding same (.3)
October      Business               10/11/18 KBD         390 Office conferences with and study correspondence from N. Mirjanich regarding housing                0.5 0.0192308          $7.50
2018         Operations                                      court matters (.5)
October      Business               10/12/18 KBD         390 study spreadsheet of open city housing and property matters from N. Mirjanich (.3)                  0.3 0.0115385          $4.50
2018         Operations


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118          $1.72
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706         $10.32
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692          $0.73
2018         Operations
October      Business               10/18/18 KBD         390 Review correspondence from N. Mirjanich and property manager regarding porch                        0.1          0.1      $39.00
2018         Operations                                      replacement (8100 Essex) (.1)
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706          $0.57
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118          $1.72
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925          $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346          $0.36
2018         Operations                                      properties (.1)
October      Business               10/31/18 KBD         390 study motion to lift stay of lawsuit and proceed with discovery and exchange                        0.4          0.4     $156.00
2018         Operations                                      correspondence with N. Mirjanich regarding same (.4)
October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)               0.9 0.0084906          $3.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)              0.2 0.0018692          $0.73
2018         Administration
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                  2.5 0.0233645          $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage               3.2 0.0299065         $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                            3.0 0.0280374         $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                   0.5 0.0046729          $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                             0.5 0.0046729          $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.          3.7 0.0345794         $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax              0.4 0.0037383          $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                             0.5 0.0046729          $1.82
2018         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 NM          260 Prepare for meeting with broker by updating spreadsheet regarding open City of Chicago                 1.2 0.0461538        $12.00
2018         Disposition                                     litigation matters and create folders for bids and other documents provided by the property
                                                             managers to address compliance with violations (1.2)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/19/18 NM          260 Conference call with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff                0.8 0.1333333        $34.67
2018         Disposition                                     regarding distribution plan and immediate sale of certain properties.




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                       2.1 0.0196262          $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Asset                  10/22/18 AW          140 Attention to email from K. Duff regarding information about potential buyers and                          0.1 0.0166667          $2.33
2018         Disposition                                     communicate with A. Porter regarding same (.1)
October      Asset                  10/22/18 AW          140 prepare template draft of motion allowing sale of assets and email M. Rachlis regarding                   0.3         0.05       $7.00
2018         Disposition                                     same (.3).
October      Asset                  10/22/18 NM          260 Telephone conference with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff              1.5         0.25      $65.00
2018         Disposition                                     regarding distribution plan and immediate sale of certain properties and correspond with K.
                                                             Duff, M. Rachlis, and E. Duff regarding same.
October      Asset                  10/26/18 MR          390 work on other draft motions on public sale (1.0).                                                         1.0 0.1666667         $65.00
2018         Disposition
October      Asset                  10/31/18 AEP         390 conference call with K. Duff and M. Rachlis and putative listing brokers regarding issues                 0.7 0.1166667         $45.50
2018         Disposition                                     associated with scheduling and timing of initial proposed closed-bid auction process (.7).

October      Asset                  10/31/18 MR          390 Attention to sealed bid motions (.9)                                                                      0.9         0.15      $58.50
2018         Disposition
October      Business               10/03/18 NM          260 draft correspondence to property managers regarding outstanding code violations and                       2.2 0.3142857         $81.71
2018         Operations                                      progress on same in advance of housing court next week, update spreadsheet regarding City
                                                             of Chicago litigation, and correspond with K. Duff and E. Duff regarding same (2.2).

October      Business               10/08/18 NM          260 correspond with K. Duff and A. Porter regarding property with criminal activity and boarding              0.4 0.0571429         $14.86
2018         Operations                                      on same and housing court properties under property manager (.4)
October      Business               10/08/18 NM          260 correspond with K. Duff regarding housing court properties and property with criminal                     0.3 0.0428571         $11.14
2018         Operations                                      activity in advance of telephone conferences for property managers for same (.3)

October      Business               10/09/18 NM          260 Prepare for City of Chicago housing court and administrative matters, update spreadsheet                  2.3 0.3833333         $99.67
2018         Operations                                      regarding same, exchange correspondence with property managers and city attorneys
                                                             regarding same, and correspond with K. Duff regarding same (2.3)

October      Business               10/10/18 NM          260 prepare for Foley v. EquityBuild court appearance (.2)                                                    0.2          0.2      $52.00
2018         Operations
October      Business               10/10/18 NM          260 correspond with D. Nathan, A. Watychowicz, and K. Duff re same (.1).                                      0.1          0.1      $26.00
2018         Operations
October      Business               10/10/18 NM          260 prepare for housing court on October 11, 2018 (.4)                                                        0.4 0.0153846          $4.00
2018         Operations
October      Business               10/10/18 NM          260 appear for and attend court appearance in Foley v. EquityBuild before Judge Elrich and stay               1.3          1.3     $338.00
2018         Operations                                      to make sure Stay Order is entered without issue (1.3)
October      Business               10/11/18 AW          140 attention to email from N. Mirjanich regarding scheduled hearing in housing court (.1)                    0.1 0.0038462          $0.54
2018         Operations
October      Business               10/11/18 NM          260 appear for housing court on seven cases (8100 S Essex, 7508 S Essex, 7237 S Bennett, 6751 S               2.5 0.3571429         $92.86
2018         Operations                                      Merrill, 7933 S Essex, 8107 S Ellis, 7616 S Phillips) and correspond with city counsel regarding
                                                             same and other EB matter up later this month (2.5)


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
October      Business               10/11/18 NM          260 prepare for housing court (.4)                                                                     0.4 0.0666667         $17.33
2018         Operations
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,           2.0 0.0186916          $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/11/18 NM          260 updates to spreadsheet following housing court and draft correspondence to property                1.1 0.1571429         $40.86
2018         Operations                                      managers regarding same (1.1).
October      Business               10/12/18 NM          260 correspond with K. Duff, A. Porter, A. Watychowicz, and M. Adler regarding insurance               0.5          0.5     $130.00
2018         Operations                                      proceeds on property (8100 S Essex) and study documents evidencing same (.5)

October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                             0.1 0.0009346          $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                 0.1 0.0009346          $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                    0.1 0.0014925          $0.21
2018         Operations
October      Business               10/22/18 NM          260 Study and respond to email correspondence relating to City violations, judgments,                  1.6          0.4     $104.00
2018         Operations                                      receivership future expenses, and motions to withdraw relating to the same and also
                                                             correspondence relating to trade creditors and institutional lenders (1.6)

October      Business               10/31/18 NM          260 prepare summary list of requests given to real estate broker relating to building code             0.2 0.0222222          $5.78
2018         Operations                                      violations and bids for same (.2)
October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729          $1.82
2018         Administration
             & Objections

November     Asset                  11/01/18 KBD         390 study further revised public sale procedures (.3).                                                 0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/01/18 KBD         390 analysis of and exchange correspondence with broker regarding criteria for purchasers and          0.3         0.05      $19.50
2018         Disposition                                     due diligence (.3)
November     Asset                  11/01/18 KBD         390 study and revise public sale procedures and review correspondence from A Porter regarding          0.5 0.0833333         $32.50
2018         Disposition                                     same (.5)
November     Asset                  11/07/18 KBD         390 draft correspondence to M. Rachlis regarding motion for sale of property (.1)                      0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/07/18 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale procedures (.1)               0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/07/18 KBD         390 study revised sale procedures (.1)                                                                 0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/08/18 KBD         390 study updated property sale procedures (.2).                                                       0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/09/18 KBD         390 study revisions and comments from M. Rachlis (.3).                                                 0.3         0.05      $19.50
2018         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
November     Asset                  11/09/18 KBD         390 Study draft motion for public sale, motion to file liquidation plan under seal, and liquidation          2.5 0.1388889         $54.17
2018         Disposition                                     plan (2.5)
November     Asset                  11/11/18 KBD         390 Study revised motion to improve public sale procedures and motion for leave to file redacted             0.8 0.1333333         $52.00
2018         Disposition                                     liquidation plans (.8)
November     Asset                  11/12/18 KBD         390 telephone conference and exchange correspondence with broker regarding properties for                    0.4 0.0666667         $26.00
2018         Disposition                                     sale, associated debt, listing prices, and former EquityBuild broker (.4)

November     Asset                  11/12/18 KBD         390 study revised motion to approve sale of properties and correspondence regarding same (.3)                0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/12/18 KBD         390 exchange correspondence with broker regarding potential listing prices (.2)                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/12/18 KBD         390 study revised bid procedures and correspondence from M. Rachlis and N. Mirjanich                         0.2 0.0333333         $13.00
2018         Disposition                                     regarding same (.2)
November     Asset                  11/12/18 KBD         390 review correspondence regarding closing statement for tranche of properties (.3).                        0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/13/18 KBD         390 office conference with M. Rachlis regarding lender's objection to motion to approve sale                 0.3         0.05      $19.50
2018         Disposition                                     procedures and liquidation plan (.3).
November     Asset                  11/14/18 KBD         390 study correspondence from M. Rachlis and broker regarding same (.1)                                      0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/14/18 KBD         390 study lender objection to sealed bid process (.2)                                                        0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/14/18 KBD         390 study correspondence from broker regarding marketing process, and consideration and                      0.3         0.05      $19.50
2018         Disposition                                     approval of same (.3)
November     Asset                  11/14/18 KBD         390 study draft offering memoranda and correspondence from broker (.4)                                       0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/15/18 KBD         390 study offering memoranda (.3)                                                                            0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/15/18 KBD         390 study correspondence from broker regarding listing plan, contingencies, due diligence, and               0.2 0.0333333         $13.00
2018         Disposition                                     various sale process issues (.2).
November     Asset                  11/16/18 KBD         390 draft correspondence to real estate broker regarding publication of property listings (.1).              0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/20/18 KBD         390 office conference with N. Mirjanich regarding public notices for sale and study                          0.2 0.0333333         $13.00
2018         Disposition                                     correspondence from M. Rachlis and A. Porter regarding same (.2)
November     Asset                  11/21/18 KBD         390 office conferences with M. Rachlis and N. Mirjanich regarding same (.4)                                  0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/21/18 KBD         390 study order approving public sale process and correspondence from M. Rachlis regarding                   0.1 0.0166667          $6.50
2018         Disposition                                     same (.1).
November     Asset                  11/21/18 KBD         390 draft correspondence to A. Porter regarding corporate entity ownership and real estate                   0.3         0.05      $19.50
2018         Disposition                                     property sales (.3)
November     Asset                  11/21/18 KBD         390 Telephone conferences with real estate broker regarding public sale procedures and notice                0.8 0.1333333         $52.00
2018         Disposition                                     (.8)
November     Asset                  11/21/18 KBD         390 study revised draft notice of public sale and correspondence from A. Porter and real estate              0.2 0.0333333         $13.00
2018         Disposition                                     broker regarding same (.2)


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
November     Asset                  11/21/18 KBD         390 study information regarding sale notice publication costs (.1)                                           0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/26/18 KBD         390 study correspondence regarding cost of publication notice and alternatives (.3).                         0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 Exchange correspondence with N. Mirjanich and publications representatives regarding                     0.4 0.0666667         $26.00
2018         Disposition                                     publication notice and cost (.4)
November     Asset                  11/27/18 KBD         390 telephone conference with and study correspondence from real estate broker regarding                     0.2 0.0333333         $13.00
2018         Disposition                                     marketing planning and timing (.2)
November     Asset                  11/27/18 KBD         390 telephone conference with A. Porter regarding same (.1)                                                  0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 draft correspondence to A. Porter regarding purchase and sale agreement (.1)                             0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 telephone conference with SEC regarding publication notice cost (.1)                                     0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/29/18 KBD         390 Telephone conference with broker representatives regarding properties listed for sale and                0.3         0.05      $19.50
2018         Disposition                                     purchase interest (.3)
November     Asset                  11/29/18 KBD         390 exchange correspondence with potential purchasers regarding same (.2)                                    0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/29/18 KBD         390 office conference with M. Rachlis regarding property sales and potential proceeds (.2)                   0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/29/18 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding potential purchasers and                 0.2 0.0333333         $13.00
2018         Disposition                                     meeting with real estate broker (.2).
November     Asset                  11/30/18 KBD         390 review correspondence from A. Porter regarding purchase and sale agreement (.1)                          0.1 0.0166667          $6.50
2018         Disposition
November     Business               11/01/18 KBD         390 office conference with N. Mirjanich regarding personal injury lawsuit counsel's request to lift          0.2          0.2      $78.00
2018         Operations                                      stay (.2)
November     Business               11/01/18 KBD         390 study and revise correspondence regarding same (.1)                                                      0.1          0.1      $39.00
2018         Operations
November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                           0.6 0.0088235          $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                       0.4 0.0058824          $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                  0.1 0.0009346          $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Business               11/29/18 KBD         390 study draft response to motion to lift stay of litigation (.2).                                          0.2          0.2      $78.00
2018         Operations
November     Business               11/29/18 KBD         390 office conference with N. Mirjanich regarding response to notion to lift stay (.1)                       0.1          0.1      $39.00
2018         Operations
November     Business               11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and                   0.2 0.0024691          $0.96
2018         Operations                                      servicing agreements (.2)
November     Business               11/30/18 KBD         390 study SEC response to motion to lift stay of litigation (.1)                                             0.1          0.1      $39.00
2018         Operations




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
November     Business               11/30/18 KBD         390 office conferences with and exchange correspondence with N. Mirjanich and study                        0.4          0.4     $156.00
2018         Operations                                      correspondence from M. Rachlis regarding same (.4)
November     Business               11/30/18 KBD         390 study and revise response to motion to lift stay in arson litigation (.4)                              0.4          0.4     $156.00
2018         Operations
November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925          $0.58
2018         Administration
             & Objections

November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851          $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/21/18 KBD         390 Exchange correspondence with A. Porter regarding creditor with lien on property (8100                  0.1          0.1      $39.00
2018         Administration                                  Essex) (.1)
             & Objections

November     Asset                  11/01/18 AEP         390 teleconference with outside brokers regarding sealed bid auction procedures and current                0.7 0.1166667         $45.50
2018         Disposition                                     status of property tranching project (.7).
November     Asset                  11/01/18 AEP         390 Study and revise sealed bid public sale terms and conditions (.9)                                      0.9         0.15      $58.50
2018         Disposition
November     Asset                  11/02/18 MR          390 Attention to sealed bid related issues.                                                                0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/07/18 AEP         390 Make final changes to sealed bid public auction rules.                                                 0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/07/18 MR          390 work and review materials regarding sale process (1.1).                                                1.1 0.1833333         $71.50
2018         Disposition
November     Asset                  11/07/18 NM          260 correspond with K. Duff and M. Rachlis (1.0)                                                           1.0 0.1666667         $43.33
2018         Disposition
November     Asset                  11/07/18 NM          260 study and respond to email correspondence relating to the sales process motion and the                 0.4 0.0666667         $17.33
2018         Disposition                                     liquidation plan (.4).
November     Asset                  11/07/18 NM          260 draft and review motion for court approval for public sale process (2.2)                               2.2 0.3666667         $95.33
2018         Disposition
November     Asset                  11/08/18 NM          260 Draft and revise motion to approve public sale process (1.2)                                           1.2          0.2      $52.00
2018         Disposition
November     Asset                  11/09/18 MR          390 review draft of motion on sales process and rules for same (1.0).                                      1.0 0.1666667         $65.00
2018         Disposition
November     Asset                  11/12/18 AW          140 proofread motion and exhibit, draft notice of motion and certificate of service, and email N.          0.7 0.1166667         $16.33
2018         Disposition                                     Mirjanich regarding revisions (.7)
November     Asset                  11/12/18 AW          140 communicate with N. Mirjanich regarding filing of motion for in camera review (.1)                     0.1 0.0166667          $2.33
2018         Disposition
November     Asset                  11/12/18 AW          140 file approved motions (.4).                                                                            0.4 0.0666667          $9.33
2018         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
November     Asset                  11/12/18 AW          140 Communicate with N. Mirjanich regarding filing of motion for public sale (.1)                             0.1 0.0166667          $2.33
2018         Disposition
November     Asset                  11/12/18 AW          140 proofread motion and draft notice of motion and certificate of service, and email N.                      0.3         0.05       $7.00
2018         Disposition                                     Mirjanich regarding revisions (.3)
November     Asset                  11/12/18 ED          390 Calls to counsel for lenders with mortgages on properties to be included in motion for                    0.4 0.0666667         $26.00
2018         Disposition                                     approval of public sale.
November     Asset                  11/12/18 MR          390 attention to sealed bid motion (.5).                                                                      0.5 0.0833333         $32.50
2018         Disposition
November     Asset                  11/14/18 AW          140 Attention to objections to Receiver's motions for public sale and for in camera review of                 0.2 0.0333333          $4.67
2018         Disposition                                     liquidation plan.
November     Asset                  11/15/18 AEP         390 Teleconference with receivership team regarding marketing of properties.                                  0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/16/18 MR          390 Several conferences with broker regarding issues on sales related to upcoming hearing (.5)                0.5 0.0833333         $32.50
2018         Disposition
November     Asset                  11/20/18 AEP         390 Teleconference with receivership broker regarding status of property due diligence and                    0.3         0.05      $19.50
2018         Disposition                                     marketing process (.3)
November     Asset                  11/20/18 AEP         390 edit and revise proposed notice of sealed bid auction (.3).                                               0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/20/18 AEP         390 research case files and provide N. Mirjanich legal descriptions to various properties                     0.5 0.0833333         $32.50
2018         Disposition                                     encompassed by forthcoming motion (.5)
November     Asset                  11/20/18 NM          260 correspond with real estate broker, K. Duff, and A. Porter regarding public notice form and               1.8          0.3      $78.00
2018         Disposition                                     draft and circulate same (1.8).
November     Asset                  11/21/18 AEP         390 edit and revise draft of proposed notice of sealed bid auction (.2)                                       0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/21/18 AEP         390 Conference call with K. Duff, M. Rachlis, and N. Mirjanich regarding finalization of advertising          0.3         0.05      $19.50
2018         Disposition                                     copy relating to first sealed bid auction (.3)
November     Asset                  11/21/18 NM          260 telephone calls with newspaper publications and K. Duff regarding publication options and                 0.7 0.1166667         $30.33
2018         Disposition                                     draft email to same to request quote regarding same (.7).
November     Asset                  11/21/18 NM          260 revise public notice document and correspond with K. Duff, M. Rachlis, real estate broker, A.             1.8          0.3      $78.00
2018         Disposition                                     Porter regarding same and regarding and regarding sale of corresponding 6 properties and
                                                             notice requirements (1.8)
November     Asset                  11/26/18 MR          390 conferences with N. Mirjanich regarding publication related issues (.3).                                  0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/26/18 NM          260 Correspond with M. Rachlis, K. Duff and publication representative regarding publication of               0.2 0.0333333          $8.67
2018         Disposition                                     notice of sale of real estate (.2)
November     Asset                  11/27/18 ED          390 Confer with counsel to receiver regarding property sales.                                                 0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/27/18 MR          390 Attention to various issues regarding publication.                                                        0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/27/18 NM          260 correspond with K. Duff, A. Porter, M. Rachlis, real estate broker, K. Pritchard, and                     1.3 0.2166667         $56.33
2018         Disposition                                     publications regarding publication of notice of real estate sale and email correspondence
                                                             relating to the same (1.3).




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November     Asset                  11/28/18 AEP         390 Teleconference with receivership broker regarding issues associated with finalization of             0.2 0.0333333         $13.00
2018         Disposition                                     purchase and sale agreement.
November     Asset                  11/29/18 MR          390 conferences with K. Duff regarding sales process (1.2).                                              1.2          0.2      $78.00
2018         Disposition
November     Business               11/01/18 NM          260 correspond with K. Duff regarding demand letter to attorney and response to request to lift          0.5          0.5     $130.00
2018         Operations                                      stay in (8100 S Essex) state court case (.5)
November     Business               11/01/18 NM          260 draft response to request to lift stay in (8100 S Essex) state court case (.5)                       0.5          0.5     $130.00
2018         Operations
November     Business               11/05/18 AW          140 attention to filed motion to lift stay and email counsel regarding same (.1).                        0.1          0.1      $14.00
2018         Operations
November     Business               11/06/18 AW          140 Attention to filed motion to lift stay (.1)                                                          0.1          0.1      $14.00
2018         Operations
November     Business               11/06/18 AW          140 attention to email from M. Rachlis regarding response pleading (.1)                                  0.1          0.1      $14.00
2018         Operations
November     Business               11/06/18 AW          140 research rules and email M. Rachlis regarding same (.2).                                             0.2          0.2      $28.00
2018         Operations
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                            0.3 0.0028037          $1.09
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and              0.2 0.0018692          $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                   0.5 0.0046729          $1.82
2018         Operations
November     Business               11/07/18 NM          260 study motion to lift stay in (8100 S Essex fire) state court litigation and correspond with          0.2          0.2      $52.00
2018         Operations                                      EquityBuild counsel regarding same (.2)
November     Business               11/07/18 NM          260 correspond with K. Duff regarding motion toapprove public sale, liquidation plan, city               0.8 0.1333333         $34.67
2018         Operations                                      litigation and fines, motion to lift stay, and investor correspondence (.8).
November     Business               11/09/18 MBA         390 Office conferences with N. Mirjanich regarding motion to liftstay.                                   0.2          0.2      $78.00
2018         Operations
November     Business               11/09/18 MR          390 issues on motion to stay (.3).                                                                       0.3          0.3     $117.00
2018         Operations
November     Business               11/09/18 NM          260 telephone call with EquityBuild counsel in state court (Essex fire) matter (.3)                      0.3          0.3      $78.00
2018         Operations
November     Business               11/09/18 NM          260 draft correspond to EquityBuild counsel following up on same (.1).                                   0.1          0.1      $26.00
2018         Operations
November     Business               11/09/18 NM          260 telephone call with EquityBuild counsel in state court (Essex fire) matter (.5)                      0.5          0.5     $130.00
2018         Operations
November     Business               11/09/18 NM          260 prepare for same (.1)                                                                                0.1          0.1      $26.00
2018         Operations
November     Business               11/09/18 NM          260 correspond with K. Duff and M. Adler regarding same, stay, and disclosure of insurance               0.5          0.5     $130.00
2018         Operations                                      policy (.5)
November     Business               11/12/18 AW          140 attention to briefing schedule on motion to lift stay (.1).                                          0.1          0.1      $14.00
2018         Operations




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                  0.7 0.0065421          $2.55
2018         Operations                                      related issues (.7)
November     Business               11/15/18 MR          390 attention to upcoming hearing (.5).                                                                     0.5 0.0833333         $32.50
2018         Operations
November     Business               11/16/18 MR          390 Prepare for upcoming hearing including review of pleadings and attend hearing.                          3.3         0.55     $214.50
2018         Operations
November     Business               11/21/18 MR          390 Prepare for and participate in hearing and several conferences regarding same.                          2.4          0.4     $156.00
2018         Operations
November     Business               11/28/18 MR          390 Attention to motion to stay.                                                                            0.1          0.1      $39.00
2018         Operations
November     Business               11/28/18 NM          260 draft and revise response brief to motion to stay litigation in (8100 Essex) state court case           3.5          3.5     $910.00
2018         Operations                                      (3.5).
November     Business               11/28/18 NM          260 Study and respond to outstanding emails relating to code violations and property managers,              0.6          0.6     $156.00
2018         Operations                                      EB counsel regarding litigation in Essex fire stay case, and in the EquityBuild email account
                                                             (.6)
November     Business               11/29/18 NM          260 draft and revise response brief to motion to lift stay in state court (8100 Essex) case (1.5).          1.5          1.5     $390.00
2018         Operations
November     Business               11/30/18 AW          140 Work with N. Mirjanich on response to motion to lift stay (.2)                                          0.2          0.2      $28.00
2018         Operations
November     Business               11/30/18 AW          140 attention to SEC's response to motion to lift stay (.1)                                                 0.1          0.1      $14.00
2018         Operations
November     Business               11/30/18 AW          140 attention to approved draft response, confer with N. Mirjanich regarding filing, file online            0.4          0.4      $56.00
2018         Operations                                      (.4).
November     Business               11/30/18 AW          140 email counsel regarding revisions (.1)                                                                  0.1          0.1      $14.00
2018         Operations
November     Business               11/30/18 NM          260 draft and revise response brief to motion to stay litigation in Essex fire case and correspond          3.5          3.5     $910.00
2018         Operations                                      with K. Duff, M. Rachlis, and EquityBuild counsel regarding same (3.5).
November     Claims                 11/14/18 ED          390 Review objections of lenders to motion to approve process for public sale (.2)                          0.2 0.0333333         $13.00
2018         Administration
             & Objections

November     Claims                 11/15/18 ED          390 confer with counsel to Receiver regarding reply to lenders' objections to plan of sale(.2).             0.2 0.0333333         $13.00
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 attention to filings on payoff amounts (.3)                                                             0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 Conferences on receivership strategy and related issues (.3)                                            0.3         0.05      $19.50
2018         Administration
             & Objections




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8100 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
November     Claims                 11/19/18 MR          390 attention to order and upcoming hearing (.3).                                                       0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/20/18 MR          390 preparation for upcoming hearing including review of submissions from opposing counsel              1.5         0.25      $97.50
2018         Administration                                  (1.5)
             & Objections

November     Claims                 11/20/18 MR          390 attention to lender filing and review materials and related follow up and conferences on            1.0 0.1666667         $65.00
2018         Administration                                  same (1.0).
             & Objections

November     Claims                 11/26/18 AEP         390 Conference call with receivership creditor regarding contractors lien filed against                 0.5          0.5     $195.00
2018         Administration                                  receivership property (8100 S Essex) in connection with insurance loss adjustment services
             & Objections                                    rendered to EquityBuild and factual background pertaining to involvement of former
                                                             EquityBuild vendor.
November     Claims                 11/26/18 MR          390 Follow up on lender's requests and email on same (.1)                                               0.1 0.0166667          $6.50
2018         Administration
             & Objections

November     Claims                 11/30/18 MR          390 attention to issues on response on motion to stay and follow up on same (.9)                        0.9          0.9     $351.00
2018         Administration
             & Objections

December     Asset                  12/07/18 KBD         390 study correspondence from real estate broker regarding marketing efforts report and study           0.2 0.0333333         $13.00
2018         Disposition                                     same (.2).
December     Asset                  12/08/18 KBD         390 Study draft proposed purchase and sale contract.                                                    0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/10/18 KBD         390 study correspondence from real estate broker regarding same (.1).                                   0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/10/18 KBD         390 study and revise draft purchase and sale agreement (.4)                                             0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/12/18 KBD         390 study property sale marketing information (.2)                                                      0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/12/18 KBD         390 Study and revise draft purchase and sale agreement and draft correspondence to A. Porter            0.8 0.1333333         $52.00
2018         Disposition                                     regarding same (.8)
December     Asset                  12/14/18 KBD         390 Study model purchase and sale agreement and correspondence from A. Porter regarding                 0.3         0.05      $19.50
2018         Disposition                                     same.
December     Asset                  12/15/18 KBD         390 Exchange correspondence with real estate broker and A Porter regarding purchase and sale            0.2 0.0333333         $13.00
2018         Disposition                                     agreement (.2)
December     Asset                  12/15/18 KBD         390 study marketing report for sale of properties (.2)                                                  0.2 0.0333333         $13.00
2018         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
December     Asset                  12/15/18 KBD         390 study purchase and sale agreements for properties listed for sale (.3).                                 0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/16/18 KBD         390 study marketing and market information relating to efforts to sell properties (.2).                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/16/18 KBD         390 Study agreement for sale of properties (.2)                                                             0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/17/18 KBD         390 office conferences with K. Pritchard regarding analysis of lender account relating to                   0.2 0.0333333         $13.00
2018         Disposition                                     properties for sale (.2)
December     Asset                  12/17/18 KBD         390 draft correspondence to statements contractor regarding records work (.1).                              0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/20/18 KBD         390 further exchange correspondence regarding same (.2)                                                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/20/18 KBD         390 telephone conferences with real estate broker regarding offers for property purchases (.6)              0.6          0.1      $39.00
2018         Disposition
December     Asset                  12/20/18 KBD         390 study offer from potential purchaser, conduct due diligence regarding same, and exchange                0.4 0.0666667         $26.00
2018         Disposition                                     correspondence with real estate broker regarding same (.4)
December     Asset                  12/20/18 KBD         390 office conference with M. Rachlis regarding same (.1).                                                  0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/20/18 KBD         390 Study offer for potential purchaser and exchange correspondence with real estate broker                 0.1 0.0166667          $6.50
2018         Disposition                                     regarding same (.1)
December     Asset                  12/21/18 KBD         390 study correspondence from potential buyer regarding timing (.1)                                         0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/21/18 KBD         390 Office conference with real estate broker, M. Rachlis, A Porter, and N. Mirjanich regarding             2.5 0.4166667        $162.50
2018         Disposition                                     property purchase offers (2.5)
December     Asset                  12/21/18 KBD         390 study correspondence from real estate broker to successful bidders for real estate sales (.1).          0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/22/18 KBD         390 Study marketing status report and summary of offers on real estate sales.                               0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/23/18 KBD         390 Exchange correspondence with potential buyer regarding offer on property (.1)                           0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/26/18 KBD         390 study correspondence from real estate broker and A. Porter regarding revised purchase and               0.1 0.0166667          $6.50
2018         Disposition                                     sale agreement (.1).
December     Asset                  12/27/18 KBD         390 study revised purchase and sale agreement and correspondence from A. Porter regarding                   0.2 0.0333333         $13.00
2018         Disposition                                     same (.2)
December     Asset                  12/27/18 KBD         390 study settlement statement and closing checklist (.1).                                                  0.1 0.0166667          $6.50
2018         Disposition
December     Business               12/05/18 KBD         390 study correspondence from N. Mirjanich regarding city litigation and analysis of same (.2).             0.2 0.0090909          $3.55
2018         Operations
December     Business               12/06/18 KBD         390 Study and revise draft correspondence to city counsel regarding property repairs, housing               0.1 0.0045455          $1.77
2018         Operations                                      court matters, and permit issues and office conference with N. Mirjanich regarding same (.1)

December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                    0.1 0.0009434          $0.37
2018         Operations


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                             Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736          $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529          $2.87
2018         Operations
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038          $2.58
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706          $0.57
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509          $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383          $1.46
2018         Operations
December     Business               12/13/18 KBD         390 study document and correspondence regarding pending building code violations (.2).                     0.2 0.0333333         $13.00
2018         Operations
December     Business               12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706          $0.57
2018         Operations                                      reporting (.1)
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346          $0.36
2018         Operations
December     Business               12/14/18 KBD         390 study reply brief in support of state court plaintiffs' motion to lift stay (.4).                      0.4          0.4     $156.00
2018         Operations
December     Business               12/17/18 KBD         390 Office conference with and review correspondence from N. Mirjanich and state court                     0.3          0.3     $117.00
2018         Operations                                      counsel regarding hearing on motion to lift stay of litigation [as to Foley case] (.3)

December     Business               12/18/18 KBD         390 Office conference with N. Mirjanich regarding preparation for motion to lift stay before               0.6          0.6     $234.00
2018         Operations                                      Judge Kim (.6)
December     Business               12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                       0.1 0.0014706          $0.57
2018         Operations
December     Business               12/18/18 KBD         390 exchange correspondence with city official regarding same (.1)                                         0.1 0.0166667          $6.50
2018         Operations
December     Business               12/18/18 KBD         390 exchange correspondence and office conference with N. Mirjanich regarding communication                0.1 0.0166667          $6.50
2018         Operations                                      with city official relating to water bills (.1)
December     Business               12/19/18 KBD         390 appear before Judge Kim regarding state court plaintiffs motion to lift stay [Foley case] and          0.8          0.8     $312.00
2018         Operations                                      conferences with counsel for state court plaintiffs and SEC (.8)
December     Business               12/19/18 KBD         390 study drafts of proposed order and stipulation and exchange correspondence regarding                   0.3          0.3     $117.00
2018         Operations                                      same (.3)
December     Business               12/19/18 KBD         390 Office conference with N. Mirjanich regarding preparation for hearing before Judge Kim (.3)            0.3          0.3     $117.00
2018         Operations
December     Business               12/19/18 KBD         390 exchange correspondence with N. Mi~anich regarding communication with city official                    0.1 0.0166667          $6.50
2018         Operations                                      regarding water bills (.1)
December     Business               12/20/18 KBD         390 study revised order regarding relief from stay and review correspondence from and office               0.3          0.3     $117.00
2018         Operations                                      conference with N. Mirjanich regarding same (.3).




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December     Business               12/21/18 KBD         390 Study correspondence regarding proposed order for relief from stay and office conferences             0.2          0.2      $78.00
2018         Operations                                      with N. Mirjanich regarding same and study correspondence from M. Rachlis regarding same
                                                             (.2)
December     Business               12/27/18 KBD         390 Exchange correspondence with N. Mirjanich regarding inspection of property under contract             0.1          0.1      $39.00
2018         Operations                                      in connection with state court action.
December     Claims                 12/01/18 KBD         390 Exchange correspondence with A. Porter and N. Mirjanich regarding and communications                  0.2          0.2      $78.00
2018         Administration                                  with creditor.
             & Objections

December     Asset                  12/01/18 AEP         390 Read, edit, and substantially redraft purchase and sale agreement received from receivership          5.5 0.9166667        $357.50
2018         Disposition                                     broker and prepare detailed list of questions and issues for title agent.

December     Asset                  12/03/18 AEP         390 Conference with receivership team regarding resolution of procedures associated with public           2.8 0.4666667        $182.00
2018         Disposition                                     sale auction process, open issues in current draft of purchase and sale agreement, current
                                                             strategy regarding estate liquidation, and establishment of separate accounts associated
                                                             with sales of properties included within first tranche.

December     Asset                  12/03/18 MR          390 conferences regarding disposition process and various issues with K. Duff, A. Porter and N.           0.6          0.1      $39.00
2018         Disposition                                     Mirjanich (.6).
December     Asset                  12/03/18 MR          390 Prepare for and participate in meeting with broker and Receivership team on disposition               2.6 0.4333333        $169.00
2018         Disposition                                     (2.6)
December     Asset                  12/03/18 NM          260 office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding               2.6 0.4333333        $112.67
2018         Disposition                                     liquidation of properties and future plans for same (2.6)
December     Asset                  12/05/18 NM          260 Correspond with K. Duff regarding the sale approval motion and process (.3)                           0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/06/18 AEP         390 Assemble relevant administrative pleadings and related documents pertaining to all                    0.6          0.1      $39.00
2018         Disposition                                     properties in first marketing tranche.
December     Asset                  12/06/18 KMP         140 Telephone conference with City of Chicago attorney regarding concerns relating to water               0.2 0.0333333          $4.67
2018         Disposition                                     bills for the properties and issues in connection with motion to sell properties, and
                                                             conference with N. Mirjanich regarding follow-up.
December     Asset                  12/08/18 AEP         390 Conference call with receivership broker regarding status of property tours and investor              0.5 0.0833333         $32.50
2018         Disposition                                     interest and tasks requiring completion prior to submission of offers (.5)
December     Asset                  12/08/18 AEP         390 finalize preparation of proposed purchase and sale agreement and accompanying                         2.3 0.3833333        $149.50
2018         Disposition                                     assignment and assumption of leases (2.3).
December     Asset                  12/09/18 MR          390 Review purchase and sale agreement.                                                                   0.7 0.1166667         $45.50
2018         Disposition
December     Asset                  12/10/18 AEP         390 Research former EB's counsel's files and assemble all documents relating to administrative            0.5          0.5     $195.00
2018         Disposition                                     and judicial actions filed against property in first marketing tranche (8100 S Essex) in
                                                             connection with due diligence disclosures.
December     Asset                  12/10/18 NM          260 Gather documents for real estate broker relating to code violations for due diligence room            0.3         0.05      $13.00
2018         Disposition                                     on properties currently listed for sale.
December     Asset                  12/11/18 MR          390 Attention to property sale related emails.                                                            0.1 0.0166667          $6.50
2018         Disposition


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
December     Asset                  12/12/18 AEP         390 teleconference with title company general counsel regarding preparation of title                         0.8 0.1333333         $52.00
2018         Disposition                                     commitments, waiver of special exceptions for liens and encumbrances, and form of
                                                             receiver's deed for all properties marketed in first marketing tranche (.8).
December     Asset                  12/12/18 AEP         390 Teleconference with receivership broker regarding status of marketing efforts and issues                 0.4 0.0666667         $26.00
2018         Disposition                                     associated with finalization of purchase and sale agreement (.4)
December     Asset                  12/12/18 MR          390 attention to purchase agreement (.2).                                                                    0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/13/18 AEP         390 e-mail exchanges with receivership management companies regarding existence of security                  0.3         0.05      $19.50
2018         Disposition                                     deposit accounts at buildings in first marketing tranche and responding to other
                                                             miscellaneous inquiries (.3).
December     Asset                  12/13/18 AEP         390 Teleconference with title company representatives regarding preparation of title reports for             0.8 0.1333333         $52.00
2018         Disposition                                     properties in first marketing tranche (.8)
December     Asset                  12/13/18 NM          260 exchange correspondence with broker regarding same (.3).                                                 0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/13/18 NM          260 Prepare documents for real estate broker regarding violations on six buildings currently                 1.0 0.1666667         $43.33
2018         Disposition                                     listed for sale (1.0)
December     Asset                  12/14/18 AEP         390 incorporate proposed modifications as warranted (.7)                                                     0.7 0.1166667         $45.50
2018         Disposition
December     Asset                  12/14/18 AEP         390 read all comments on draft purchase and sale agreement (.3)                                              0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/14/18 AEP         390 Teleconferences with receivership real estate broker regarding status of final draft of                  0.1 0.0166667          $6.50
2018         Disposition                                     purchase and sale agreement (.1)
December     Asset                  12/14/18 AEP         390 teleconference with receiver regarding status of final draft of purchase and sale agreement              0.1 0.0166667          $6.50
2018         Disposition                                     (.1)
December     Asset                  12/14/18 AEP         390 teleconference with N. Mirjanich regarding pending administrative and judicial actions                   0.4 0.0666667         $26.00
2018         Disposition                                     pending against properties in first marketing tranche (.4)
December     Asset                  12/14/18 MR          390 Attention to issues in draft purchase and sales agreement and conferences regarding same.                0.8 0.1333333         $52.00
2018         Disposition
December     Asset                  12/14/18 NM          260 correspond with A. Porter regarding same and violations disclosures (.3).                                0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/14/18 NM          260 Correspond with real estate broker regarding documents for violations on six buildings                   0.2 0.0333333          $8.67
2018         Disposition                                     currently listed for sale (.2)
December     Asset                  12/15/18 AEP         390 Teleconference with receivership broker regarding status of preparation of purchase and                  0.3         0.05      $19.50
2018         Disposition                                     sale agreements and final comments thereon (.3)
December     Asset                  12/15/18 AEP         390 proofread, edit, revise, and customize purchase and sale agreements for all properties in first          3.1 0.5166667        $201.50
2018         Disposition                                     marketing tranche (3.1).
December     Asset                  12/15/18 MR          390 Review purchase and sales agreement and other emails regarding same (.4)                                 0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/15/18 MR          390 attention to other emails regarding issues on property and appraisals (.2).                              0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/17/18 KMP         140 Conference with K. Duff regarding review of lender statements to determine investor                      0.1 0.0166667          $2.33
2018         Disposition                                     interests in properties currently for sale (.1)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Asset                  12/17/18 KMP             140 begin review of lender statements in connection with same (.6).                                          0.6          0.1      $14.00
2018         Disposition
December     Asset                  12/18/18 AEP             390 Conference with receivership team to select best bids on all properties in first marketing               1.8          0.3     $117.00
2018         Disposition                                         tranche (1.8)
December     Asset                  12/18/18 AEP             390 conference calls with property managers regarding security deposit issues (.3).                          0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/18/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             1.7 0.2833333         $39.67
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/18/18 SZ              110 Research and retrieving of emails showing financial positions of investors in various                    1.7 0.2833333         $31.17
2018         Disposition                                         properties (at 5001 S. Drexel, 7500-06 S. Eggleston Ave., 7547-49 S. Essex Ave., 7927-49 S.
                                                                 Essex Ave., 8100 S. Essex, 6160-6212 S. Martin Luther King Drive) (1.7)

December     Asset                  12/18/18 SZ              110 office conference with K. Duff regarding same (.1).                                                      0.1 0.0166667          $1.83
2018         Disposition
December     Asset                  12/19/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             3.1 0.5166667         $72.33
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/19/18 NM              260 Correspond with K. Duff and M. Rachlis regarding offers from real estate broker.                         0.1 0.0166667          $4.33
2018         Disposition
December     Asset                  12/20/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.9 0.4833333         $67.67
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property, and
                                                                 conference with K. Duff regarding same.
December     Asset                  12/20/18 MR              390 Attention to various issues on property's regarding issues on disposition.                               0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/21/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.4          0.4      $56.00
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/21/18 MR              390 Participate in meetings regarding offers to purchase and several conferences regarding same              2.5 0.4166667        $162.50
2018         Disposition                                         (2.5)
December     Asset                  12/21/18 MR              390 attention to various issues on strategy regarding sales and issues in litigation (2.5).                  2.5 0.4166667        $162.50
2018         Disposition
December     Asset                  12/21/18 NM              260 Office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding offers           2.2 0.3666667         $95.33
2018         Disposition                                         received on the 6 properties for sale (2.2)
December     Asset                  12/21/18 NM              260 exchange correspondence with property managers regarding outstanding water bills and                     0.6          0.1      $26.00
2018         Disposition                                         create spreadsheet for same (.6)
December     Asset                  12/21/18 NM              260 prepare for same by creating spreadsheet of outstanding water bills on same properties and               0.8 0.1333333         $34.67
2018         Disposition                                         exchange correspondence and study documents from City representative regarding same
                                                                 (.8)
December     Asset                  12/23/18 AEP             390 Review all contracts accepted by receiver and prepare separate closing checklists (1.2)                  1.2          0.2      $78.00
2018         Disposition
December     Asset                  12/27/18 AEP             390 Teleconference with K. Duff regarding status of building code violations of properties in first          0.6          0.1      $39.00
2018         Disposition                                         marketing tranche (.6)


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
December     Asset                  12/27/18 MR          390 several conferences and attention to issues on various areas of correspondence on asset                 0.5 0.0833333         $32.50
2018         Disposition                                     disposition (.5).
December     Asset                  12/27/18 MR          390 Attention to email on sales of property (.1)                                                            0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/28/18 MR          390 Attention to upcoming meetings on property sales.                                                       0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/29/18 MR          390 Communicate with K. Duff regarding upcoming meeting on property sales.                                  0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/31/18 MR          390 follow up emails with K. Duff (.2).                                                                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/31/18 MR          390 Attention to issues on purchase agreement (.4)                                                          0.4 0.0666667         $26.00
2018         Disposition
December     Business               12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434          $0.37
2018         Operations
December     Business               12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151         $10.30
2018         Operations                                      issues (2.8)
December     Business               12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302          $0.74
2018         Operations
December     Business               12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642          $3.19
2018         Operations                                      to address City violations and his plan for same (1.3)
December     Business               12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868          $0.26
2018         Operations
December     Business               12/12/18 MR          390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019         $11.04
2018         Operations                                      with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM          260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018         Operations                                      removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                             properties with violations (1.5)
December     Business               12/12/18 NM          260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018         Operations                                      Rachlis and K. Duff regarding same (2.5)
December     Business               12/13/18 AW          140 Confer with N. Mirjanich regarding documents requested by broker regarding code violations              0.2 0.0333333          $4.67
2018         Operations                                      (.2)
December     Business               12/14/18 NM          260 study reply brief to motion to lift fire stay and send same to EquityBuild counsel (.2)                 0.2          0.2      $52.00
2018         Operations
December     Business               12/17/18 MR          390 conferences with N. Mirjanich on issues on stay (.4)                                                    0.4          0.4     $156.00
2018         Operations
December     Business               12/17/18 NM          260 study pleading and cases for motion to lift stay and prepare for hearing on same (.7)                   0.7          0.7     $182.00
2018         Operations
December     Business               12/18/18 KMP         140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706          $0.21
2018         Operations                                      income from property manager and conference with K. Duff regarding same.

December     Business               12/18/18 NM          260 correspond with EquityBuild counsel regarding litigation (8100 Essex) regarding motion to lift          1.1          1.1     $286.00
2018         Operations                                      stay hearing (1.1)




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated       Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours            Fees
December     Business               12/18/18 NM          260 prepare for hearing on motion to lift stay and correspond with K. Duff regarding same (1.4)              1.4          1.4        $364.00
2018         Operations
December     Business               12/19/18 MR          390 several conferences regarding same (.4)                                                                  0.4          0.4        $156.00
2018         Operations
December     Business               12/19/18 MR          390 review various drafts of proposed stipulations (.4).                                                     0.4          0.4        $156.00
2018         Operations
December     Business               12/19/18 MR          390 Prepare for and participate in hearing (1.0)                                                             1.0               1     $390.00
2018         Operations
December     Business               12/19/18 NM          260 prepare for hearing on motion to lift stay and correspond with K. Duff and M. Rachlis on                 2.8          2.8        $728.00
2018         Operations                                      same (2.8)
December     Business               12/19/18 NM          260 appear for and attend hearing on motion to lift stay (1.0)                                               1.0               1     $260.00
2018         Operations
December     Business               12/19/18 NM          260 Study and respond to outstanding emails regarding Court docket entries, creditor invoices,               1.2          0.1         $26.00
2018         Operations                                      City litigation and updates to properties from property managers and City attorneys,
                                                             outstanding water debt and correspondence from City attorneys and with K. Duff on same,
                                                             EB counsel regarding motion to lift stay in personal injury case, emails in EB account (1.2)

December     Business               12/19/18 NM          260 study and revise draft stipulation regarding same and exchange correspondence with M.                    0.3          0.3         $78.00
2018         Operations                                      Rachlis and K. Duff regarding same (.3).
December     Business               12/20/18 MR          390 review and comment on draft order in motion to lift stay (.2)                                            0.2          0.2         $78.00
2018         Operations
December     Business               12/20/18 MR          390 and several conferences regarding same (.2).                                                             0.2          0.2         $78.00
2018         Operations
December     Business               12/20/18 NM          260 revise same and exchange correspond with attorney regarding revisions to same (.4)                       0.4          0.4        $104.00
2018         Operations
December     Business               12/20/18 NM          260 correspond with K. Duff, M. Rachlis, and EB attorney regarding proposed order to lift stay (.4)          0.4          0.4        $104.00
2018         Operations
December     Business               12/20/18 NM          260 study list of properties for unpaid water utilities and begin to organize by property manager            0.1 0.0166667             $4.33
2018         Operations                                      to send to City attorney (.1)
December     Business               12/20/18 NM          260 prepare for telephone conference with City attorney regarding outstanding water utilities,               1.5         0.25         $65.00
2018         Operations                                      study documents sent regarding same, and correspond with property managers regarding
                                                             same (1.5)
December     Business               12/20/18 NM          260 telephone conference with City attorney regarding outstanding water utilities (.5)                       0.5 0.0833333            $21.67
2018         Operations
December     Business               12/20/18 NM          260 correspond with K. Duff and real estate broker regarding same (.1)                                       0.1 0.0166667             $4.33
2018         Operations
December     Business               12/21/18 AW          140 Confer with N. Mirjanich regarding stipulation deadline (.1)                                             0.1          0.1         $14.00
2018         Operations
December     Business               12/21/18 AW          140 communicate to counsel regarding message relating to Judge Kim and chambers staff                        0.1          0.1         $14.00
2018         Operations                                      schedule (.1).
December     Business               12/21/18 MR          390 Work on draft order regarding motion to lift stay and conferences regarding same, exchange               1.4          1.4        $546.00
2018         Operations                                      drafts and emails.




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
December     Business               12/21/18 NM              260 exchange correspondence with attorney and M. Rachis regarding stay order and revise same               0.8          0.8     $208.00
2018         Operations                                          (.8).
December     Business               12/21/18 NM              260 Study and respond to outstanding emails relating to code violations and with property                  0.7 0.1166667         $30.33
2018         Operations                                          managers regarding the same, outstanding water bills and correspond with property
                                                                 managers regarding the same, properties with violations and City attorney regarding the
                                                                 same (.7)
December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                     1.9 0.0218391          $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December     Business               12/27/18 NM              260 Study and respond to outstanding emails relating to subpoena to third party and response               1.1          1.1     $286.00
2018         Operations                                          from the same, walk-through at property (8100 S. Essex) in state court litigation, files from
                                                                 former EB counsel, and code violations (1.1)
December     Claims                 12/17/18 NM              260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding                1.8 0.0222222          $5.78
2018         Administration                                      lender statements of accounts and EB funding reports and analysis and record-keeping of
             & Objections                                        same (1.8)

January      Asset                  01/06/19 KBD             390 Study correspondence from A. Porter regarding encumbrances and property under contract                 0.1          0.1      $39.00
2019         Disposition                                         (8100 Essex).
January      Asset                  01/07/19 KBD             390 draft correspondence to N. Mirjanich regarding broker's commission (.1).                               0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/07/19 KBD             390 Exchange correspondence with A. Porter regarding property sales and encumbrance issues                 0.2          0.2      $78.00
2019         Disposition                                         (.2)
January      Asset                  01/09/19 KBD             390 study correspondence from A. Porter regarding motion to approve sales (.1).                            0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/09/19 KBD             390 Work on motions to approve sale of properties with N. Mirjanich (.2)                                   0.2 0.0333333         $13.00
2019         Disposition
January      Asset                  01/10/19 KBD             390 Study correspondence from A. Porter regarding proposed order approving sale of properties              0.1 0.0166667          $6.50
2019         Disposition                                         (.1)
January      Asset                  01/10/19 KBD             390 draft correspondence to A. Porter and N. Mirjanich regarding timing for motion to approve              0.2 0.0333333         $13.00
2019         Disposition                                         property sales (.2).
January      Asset                  01/15/19 KBD             390 Discuss review of EquityBuild records to identify people for whom to provide notice of                 0.1 0.0166667          $6.50
2019         Disposition                                         motion to approve sale of real estate with K. Pritchard (.1)
January      Asset                  01/25/19 KBD             390 Telephone conference with real estate broker regarding status of work for sale approval (.1)           0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/25/19 KBD             390 analysis of motion to approve sale of properties with N. Mirjanich (.1)                                0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/28/19 KBD             390 study correspondence from N. Mirjanich regarding broker commissions (.1).                              0.1 0.0166667          $6.50
2019         Disposition
January      Business               01/02/19 KBD             390 Review water bill issue and office conference with and review correspondence from N.                   0.2 0.0285714         $11.14
2019         Operations                                          Mirjanich regarding same (.2)
January      Business               01/04/19 KBD             390 study correspondence from N. Mirjanich regarding heat outage (8100 Essex) and                          0.2          0.2      $78.00
2019         Operations                                          communication with property manager (.2)




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
January      Business               01/04/19 KBD         390 study correspondence from N. Mirjanich regarding administrative court hearing and                    0.1          0.1      $39.00
2019         Operations                                      property inspections (.1)
January      Business               01/08/19 KBD         390 study correspondence from A. Watychowicz regarding utility lease research (8100 Essex) (.1)          0.1          0.1      $39.00
2019         Operations
January      Business               01/08/19 KBD         390 review correspondence from N. Mirjanich regarding access to property (8100 Essex) relating           0.1          0.1      $39.00
2019         Operations                                      to state court action (.1).
January      Business               01/08/19 KBD         390 study correspondence from N. Mirjanich and property manager regarding various housing                0.1 0.0333333         $13.00
2019         Operations                                      court matters (.1)
January      Business               01/09/19 KBD         390 additional conference with N. Mirjanich regarding housing court issues, property repairs,            0.1 0.0142857          $5.57
2019         Operations                                      boiler issue, tenant issue, and potential inspection of property for sale (8100 Essex) (.1)

January      Business               01/10/19 KBD         390 study correspondence from asset manager regarding inspection for roof lease equipment                0.1          0.1      $39.00
2019         Operations                                      (8100 Essex) (.1)
January      Business               01/10/19 KBD         390 study property management report (.2)                                                                0.2 0.0029412          $1.15
2019         Operations
January      Business               01/10/19 KBD         390 study property manager financial reporting (.4).                                                     0.4 0.0059701          $2.33
2019         Operations
January      Business               01/11/19 KBD         390 study housing court summary (.2).                                                                    0.2          0.1      $39.00
2019         Operations
January      Business               01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager              0.3 0.0044118          $1.72
2019         Operations                                      regarding same (.3)
January      Business               01/14/19 KBD         390 study correspondence from N. Mirjanich regarding housing court update regarding various              0.2          0.1      $39.00
2019         Operations                                      properties (.2).
January      Business               01/15/19 KBD         390 study financial reporting from other property manager (.3).                                          0.3 0.0044118          $1.72
2019         Operations
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                           0.1 0.0009434          $0.37
2019         Operations
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City               0.2 0.0018868          $0.74
2019         Operations                                      officials regarding scofflaw list (.2).
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding              0.1 0.0009434          $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Claims                 01/08/19 KBD         390 Study correspondence from A. Watychowicz regarding pleadings from action brought by                  0.1          0.1      $39.00
2019         Administration                                  claimant.
             & Objections

January      Claims                 01/18/19 KBD         390 Study correspondence from investor regarding stayed lawsuit and exchange correspondence              0.1          0.1      $39.00
2019         Administration                                  with N. Mirjanich regarding same (.1)
             & Objections

January      Asset                  01/05/19 AEP         390 Create or update closing checklists and create closing statements, and assemble information          4.4 0.7333333        $286.00
2019         Disposition                                     needed to prepare closing documents and obtain necessary governmental approvals for all
                                                             properties in first sales tranche (4.4)




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
January      Asset                  01/06/19 AEP         390 Review and analyze title documents and prepare title examinations on three properties                     6.4 2.1333333        $832.00
2019         Disposition                                     (7547 S Essex, 7500 S Eggleston, and 8100 S Essex).
January      Asset                  01/08/19 AEP         390 Teleconference with survey company regarding proposal to perform surveys on properties in                 0.2 0.0333333         $13.00
2019         Disposition                                     first marketing tranche (.2)
January      Asset                  01/09/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding timing of closings of first tranche of             0.6          0.1      $39.00
2019         Disposition                                     properties and critical paths thereto, issues regarding EBF loans on title commitments, and
                                                             rooftop lease at property being sold (8100 S Essex) (.6).
January      Asset                  01/10/19 AEP         390 begin reviewing closing checklists on all properties in first tranche, assembling litigation due          1.2          0.2      $78.00
2019         Disposition                                     diligence documents, and transmitting same to counsel for corresponding sellers (1.2).

January      Asset                  01/10/19 NM          260 Draft motion to approve sale of first set of properties (8100 S. Essex, 7549 S. Essex, 5001 S.            2.2 0.3666667         $95.33
2019         Disposition                                     Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) (2.2)
January      Asset                  01/10/19 NM          260 correspond with K. Duff and property manager regarding outstanding water bills for same                   0.1 0.0166667          $4.33
2019         Disposition                                     and revise spreadsheet to reflect same (.1).
January      Asset                  01/11/19 AEP         390 Review closing checklists for all properties in first marketing tranche and finalize all open             1.1 0.1833333         $71.50
2019         Disposition                                     issues, including due diligence productions, delivery of all joint order escrow forms to title
                                                             company, and research into current water delinquencies.
January      Asset                  01/11/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                3.7 0.6166667        $160.33
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                             with K. Duff and A. Porter regarding same.
January      Asset                  01/13/19 AEP         390 Review revised charts of pending administrative actions and distribute latest orders to                   0.2 0.0333333         $13.00
2019         Disposition                                     buyers in first marketing tranche (.2)
January      Asset                  01/13/19 AEP         390 compile and submit all building-specific and earnest money information requested by escrow                0.4 0.0666667         $26.00
2019         Disposition                                     administrator at title company (.4).
January      Asset                  01/14/19 AEP         390 compile and transmit prior title commitments associated with properties contained in first                0.4 0.0666667         $26.00
2019         Disposition                                     marketing tranche to receivership surveyor and prepare e-mails introducing surveyor to
                                                             property managers for purpose of facilitating access (.4).
January      Asset                  01/14/19 AEP         390 Teleconference with receivership broker regarding status of closing process for first                     0.2 0.0111111          $4.33
2019         Disposition                                     marketing tranche and expectations regarding timing of commencement of marketing of
                                                             second tranche (.2)
January      Asset                  01/14/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                1.7 0.2833333         $73.67
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                             with K. Duff regarding same.
January      Asset                  01/16/19 NM          260 Revise motion to approve public sale process for second round of property sales and revise                1.0 0.0555556         $14.44
2019         Disposition                                     motion for court approval of the sale of the first round of properties and correspond with A.
                                                             Porter regarding documents from title company for same.
January      Asset                  01/17/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                1.1 0.1833333         $47.67
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex).
January      Asset                  01/18/19 NM          260 Update spreadsheet to reflect code violations and other building issues at properties being               0.3         0.05      $13.00
2019         Disposition                                     sold as part of the second property sale and revise motion for sale of first round of
                                                             properties.
January      Asset                  01/21/19 NM          260 summarize status of properties in first round of public sale with respect to updates in City              0.4 0.0666667         $17.33
2019         Disposition                                     litigation and outstanding utility bills (.4).


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
January      Asset                  01/22/19 AEP         390 teleconference with title company regarding status of preparation of title commitments for              0.3         0.05      $19.50
2019         Disposition                                     first tranche of properties, processing of title orders for second tranche, and going-forward
                                                             method for processing title commitments (.3)
January      Asset                  01/22/19 AEP         390 teleconference with survey company associate regarding pricing, payment, and proofing of                0.1 0.0166667          $6.50
2019         Disposition                                     first batch of surveys (.1)
January      Asset                  01/22/19 AEP         390 teleconference with title company regarding itemization of all released or unreleased                   0.2 0.0222222          $8.67
2019         Disposition                                     mortgagees on title commitments for properties presently or previously encumbered by EBF
                                                             loans (.2)
January      Asset                  01/23/19 AEP         390 update closing checklists for all properties in first marketing tranche (.3)                            0.3         0.05      $19.50
2019         Disposition
January      Asset                  01/23/19 AEP         390 read all administrative orders entered in preceding two weeks, make notes in corresponding              0.2 0.0333333         $13.00
2019         Disposition                                     building purchase and sale files, and notify counsel of orders entered in actions affecting
                                                             buildings in first marketing tranche (.2)
January      Asset                  01/24/19 ED          390 Review mortgage documents and other information regarding properties proposed for sale                  1.7         0.85     $331.50
2019         Disposition                                     (6161 S. MLK, 8100 S. Essex) (1.7)
January      Asset                  01/24/19 NM          260 prepare for meeting with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow               0.3         0.05      $13.00
2019         Disposition                                     amounts for the first round of property sales (.3)
January      Asset                  01/24/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with K.               2.8 0.4666667        $121.33
2019         Disposition                                     Pritchard regarding notice for same (2.8)
January      Asset                  01/24/19 NM          260 office conference with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow                 1.8          0.3      $78.00
2019         Disposition                                     amounts for the first round of property sales (1.8).
January      Asset                  01/25/19 AEP         390 meeting with N. Mirjanich regarding title exceptions to be included in proposed order                   0.4 0.0666667         $26.00
2019         Disposition                                     approving sales of properties in first tranche, notice to affected parties, and other related
                                                             issues (.4).
January      Asset                  01/25/19 AEP         390 Teleconference with receiver and receivership broker on status of preparation of closing of             0.2 0.0333333         $13.00
2019         Disposition                                     sales of properties in first marketing tranche (.2)
January      Asset                  01/25/19 NM          260 correspond with K. Pritchard and S. Zjalic regarding notice for the sale of the first round of          0.5 0.0833333         $21.67
2019         Disposition                                     properties (.5).
January      Asset                  01/25/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with A.               2.1         0.35      $91.00
2019         Disposition                                     Porter regarding title commitments and information regarding same in order (2.1)

January      Asset                  01/28/19 AEP         390 Conference call with N. Mirjanich regarding special exceptions on title commitments relating            1.0 0.1666667         $65.00
2019         Disposition                                     to properties in first marketing tranche.
January      Asset                  01/28/19 NM          260 Revise motion to approve the sale of the first round of properties (2.1)                                2.1         0.35      $91.00
2019         Disposition
January      Asset                  01/28/19 NM          260 correspond with A. Porter regarding title commitments and information regarding same in                 1.0 0.1666667         $43.33
2019         Disposition                                     order (1.0).
January      Asset                  01/29/19 AEP         390 update closing checklists for properties in first marketing tranche (.2)                                0.2 0.0333333         $13.00
2019         Disposition
January      Asset                  01/29/19 AEP         390 Review first drafts of surveys for properties under contract of sale (7500 S Eggleston, 7549 S          0.5 0.1666667         $65.00
2019         Disposition                                     Essex, and 8100 S Essex) and make appropriate changes (.5)
January      Asset                  01/29/19 AEP         390 conference with N. Mirjanich regarding preparation of motion relating to receivership                   0.3         0.05      $19.50
2019         Disposition                                     properties (.3)


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                            Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                             Hours         Fees
January      Asset                  01/29/19 AEP         390 research regarding liens (.3).                                                                              0.3         0.05      $19.50
2019         Disposition
January      Asset                  01/29/19 NM          260 Revise motion to approve the sale of the first round of properties and correspond with A.                   2.7         0.45     $117.00
2019         Disposition                                     Porter regarding title commitments, information regarding same in order, and filing of same
                                                             and correspond with K. Duff regarding same.
January      Asset                  01/30/19 AEP         390 Update closing checklists for all properties in first tranche (.2)                                          0.2 0.0333333         $13.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 continue researching sale issue (.4)                                                                        0.4 0.0666667         $26.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 begin preparation of motion to approve sales of properties in first tranche (.8).                           0.8 0.1333333         $52.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 review title commitments and begin preparation of notice list for all properties in first                   0.2 0.0333333         $13.00
2019         Disposition                                     tranche (.2)
January      Business               01/04/19 NM          260 correspond with K. Duff, real estate broker, and property manager regarding same and                        1.3          1.3     $338.00
2019         Operations                                      correspond with City attorney and K. Duff and M. Rachlis regarding other property (7616 S.
                                                             Phillips and 8100 S. Essex) and correspond with property manager regarding property (8100
                                                             S. Essex) and revise spreadsheet to reflect current City of Chicago litigation (1.3).

January      Business               01/08/19 AW          140 search emails regarding that transaction (.6)                                                               0.6          0.6      $84.00
2019         Operations
January      Business               01/08/19 AW          140 attention to email regarding 2010 lease (8100 Essex) (.1)                                                   0.1          0.1      $14.00
2019         Operations
January      Business               01/08/19 AW          140 provide information to K. Duff and confer with N. Mirjanich regarding same (.1).                            0.1          0.1      $14.00
2019         Operations
January      Business               01/08/19 NM          260 Correspond with A. Watychowicz regarding search of emails for lease on property (8100 S.                    0.2          0.2      $52.00
2019         Operations                                      Essex) and study correspondence relating to same (.2)
January      Business               01/08/19 NM          260 exchange correspondence with property manager regarding housing court update and                            1.0 0.1428571         $37.14
2019         Operations                                      prepare for same (1.0).
January      Business               01/09/19 NM          260 Study and respond to outstanding emails including those from property managers and                          0.6          0.6     $156.00
2019         Operations                                      relating to lifting litigation stay (8100 S. Essex) (.6)
January      Business               01/09/19 NM          260 correspond with K. Duff regarding housing court (.2)                                                        0.2 0.0285714          $7.43
2019         Operations
January      Business               01/09/19 NM          260 prepare for housing court and correspond with property manager regarding same (.5)                          0.5 0.0714286         $18.57
2019         Operations
January      Business               01/09/19 NM          260 correspond with real estate broker regarding housing court (.3)                                             0.3 0.0428571         $11.14
2019         Operations
January      Business               01/10/19 NM          260 appear for status in housing court on properties (8100 S. Essex, 7508 S. Essex, 7237 S.                     2.4          0.3      $78.00
2019         Operations                                      Bennett, 7760 S. Coles, 8107 S. Ellis, 7933 S. Essex, 6751 S. Merrill, and 7616 S. Phillips) (2.4)

January      Business               01/10/19 NM          260 Prepare for housing court today on properties (8100 S. Essex, 7508 S. Essex, 7237 S. Bennett,               0.4         0.05      $13.00
2019         Operations                                      7760 S. Coles, 8107 S. Ellis, 7933 S. Essex, 6751 S. Merrill, and 7616 S. Phillips) (.4)




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
January      Business               01/10/19 NM          260 correspond with K. Duff regarding same (.4).                                                             0.4 0.0571429         $14.86
2019         Operations
January      Business               01/11/19 AEP         390 Conference with receivership team to discuss sales proceeds and lenders.                                 1.0 0.1666667         $65.00
2019         Operations
January      Business               01/11/19 NM          260 Correspond with property managers following housing court and revise spreadsheet to                      1.2 0.1714286         $44.57
2019         Operations                                      reflect status of same (1.2)
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls              0.2 0.0029412          $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross            0.1 0.0014706          $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/22/19 AEP         390 work to organize closing statements from refinances of properties in first two marketing                 0.4 0.0222222          $8.67
2019         Operations                                      tranches (.4).
January      Business               01/30/19 AEP         390 Research first installment property tax liability associated with properties in preparation for          0.4 0.0666667         $26.00
2019         Operations                                      02/01/19 meeting.
February     Asset                  02/01/19 KBD         390 Office conference with N. Mirjanich regarding meeting with title company (.2)                            0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/01/19 KBD         390 study correspondence from N. Mirjanich regarding property sales and receivership costs (.1)              0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/01/19 KBD         390 telephone conference with real estate broker regarding sale of first listed properties, listing          0.6 0.0333333         $13.00
2019         Disposition                                     of second set of properties (.6)
February     Asset                  02/07/19 KBD         390 Exchange correspondence with A. Porter regarding title company communications and                        0.1 0.0166667          $6.50
2019         Disposition                                     efforts relating to preparation of properties for closing.
February     Asset                  02/08/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of properties (.1)                  0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser                0.1 0.0009346          $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/09/19 KBD         390 Exchange correspondence with A. Porter and M. Rachlis regarding motion to approve sale of                0.3         0.05      $19.50
2019         Disposition                                     properties.
February     Asset                  02/10/19 KBD         390 Study correspondence and revised motion to approve sale of real estate from A. Porter.                   0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 telephone conference with M. Rachlis, N. Mirjanich and A. Porter regarding motion to                     1.7 0.2833333        $110.50
2019         Disposition                                     approve and sale proceeds (1.7)
February     Asset                  02/11/19 KBD         390 discuss same with N. Mirjanich (.2)                                                                      0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 Study draft motion to approve sale of real estate (1.0)                                                  1.0 0.1666667         $65.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 study correspondence regarding broker commissions on property sales (.1)                                 0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/11/19 KBD         390 telephone conference with real estate broker representatives, M. Rachlis, N. Mirjanich, and              0.7 0.1166667         $45.50
2019         Disposition                                     A. Porter regarding sales proceeds (.7)




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/12/19 KBD         390 Study revised motion to approve sale of properties and study correspondence regarding                   0.2 0.0333333         $13.00
2019         Disposition                                     service of same.
February     Asset                  02/13/19 KBD         390 study revise motion to approve sale of properties (.2)                                                  0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 KBD         390 study draft order approving sale of properties (.1).                                                    0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 telephone conferences with real estate broker regarding sales and buyer criteria and motion             0.4 0.0666667         $26.00
2019         Disposition                                     to approve sales (.4)
February     Asset                  02/14/19 KBD         390 telephone conference with A. Porter regarding title company concerns and about revisions                0.9         0.15      $58.50
2019         Disposition                                     to motion to approve sale of properties (.9)
February     Asset                  02/14/19 KBD         390 telephone conference with A. Porter and N. Mirjanich regarding motion to approve sale of                0.1 0.0166667          $6.50
2019         Disposition                                     real estate (.1)
February     Asset                  02/14/19 KBD         390 Study revised motion to approve sale of real estate and various correspondence regarding                0.7 0.1166667         $45.50
2019         Disposition                                     same (.7)
February     Asset                  02/15/19 KBD         390 review correspondence from E. Duff to lenders counsel regarding motion to approve sale of               0.1 0.0166667          $6.50
2019         Disposition                                     properties (.1).
February     Asset                  02/15/19 KBD         390 Study and revise notice provisions to motion to approve sale of real estate and proposed                0.4 0.0666667         $26.00
2019         Disposition                                     order (.4)
February     Asset                  02/15/19 KBD         390 telephone conference with title company representatives, A. Porter, and N. Mirjanich                    0.2 0.0333333         $13.00
2019         Disposition                                     regarding notice of motion to approve sale of real estate, claims process, and court approval
                                                             (.2)
February     Asset                  02/15/19 KBD         390 several lengthy discussions with A. Porter, M. Mirjanich, and A. Watychowicz regarding three            1.7 0.0944444         $36.83
2019         Disposition                                     motions filed (1.7)
February     Asset                  02/15/19 KBD         390 study and further revise several drafts of motion and proposed draft order approving sale of            0.8 0.1333333         $52.00
2019         Disposition                                     real estate to address title company comments and office conference with A. Porter
                                                             regarding same (.8)
February     Asset                  02/16/19 KBD         390 Review plan for service of motion for approval of sale of real estate with N. Mirjanich and A.          0.2 0.0333333         $13.00
2019         Disposition                                     Watychowicz.
February     Asset                  02/19/19 KBD         390 study defendants' objection to motion to approve sale properties (.2)                                   0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/19/19 KBD         390 study another lender objections to second motion to approve sale of properties (.1)                     0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/21/19 KBD         390 draft correspondence to A. Watychowicz and N. Mirjanich regarding investor                              0.1 0.0166667          $6.50
2019         Disposition                                     communications regarding motion to approve sales (.1).
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925          $0.58
2019         Operations




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                   0.2 0.0029412          $1.15
2019         Operations
February     Business               02/06/19 KBD         390 conferences with M. Rachlis and N. Mirjanich regarding same (.5)                                          0.5     0.03125       $12.19
2019         Operations
February     Business               02/06/19 KBD         390 Conference with city officials regarding property repairs and sales (1.0)                                 1.0      0.0625       $24.38
2019         Operations
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                        0.3 0.0028037          $1.09
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich                0.4 0.0037383          $1.46
2019         Operations                                      (.4)
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                     0.1 0.0009346          $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                           0.4 0.0058824          $2.29
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                       0.2 0.0029412          $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                            0.2 0.0029412          $1.15
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                   0.1 0.0009346          $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                                 0.1 0.0014706          $0.57
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                       0.1 0.0014706          $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                   0.1 0.0009346          $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                       0.1 0.0014925          $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                          0.1 0.0014706          $0.57
2019         Operations
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                     0.2 0.0029412          $1.15
2019         Operations                                      documentation (.2)
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                         0.1 0.0014706          $0.57
2019         Operations
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                           0.1 0.0014706          $0.57
2019         Operations
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                   0.1 0.0009434          $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/27/19 KBD         390 Confer with N. Mirjanich regarding motion from state court plaintiffs to lift stay and potential          0.1          0.1      $39.00
2019         Operations                                      resolution of same (.1)
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                     0.4 0.0059701          $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
February     Asset                  02/01/19 AEP         390 Meeting with N. Mirjanich and title company underwriter regarding waiver of specific title               2.5 0.4166667        $162.50
2019         Disposition                                     exceptions from commitments issued on properties in first tranche, preparation of title
                                                             invoices for properties in first tranche, and language of judicial order necessary to ensure
                                                             waiver of remaining title exceptions (2.5)
February     Asset                  02/01/19 AEP         390 preparation of motion to approve sales of properties in first marketing tranche, and                     0.4 0.0666667         $26.00
2019         Disposition                                     preparation for and timing of closings of sales of properties in first marketing tranche (.4).

February     Asset                  02/01/19 NM          260 Prepare for meeting with title company (.2)                                                              0.2 0.0333333          $8.67
2019         Disposition
February     Asset                  02/01/19 NM          260 study and exchange email correspondence with attorney for title company following                        0.1 0.0166667          $4.33
2019         Disposition                                     meeting (.1)
February     Asset                  02/01/19 NM          260 appear for meeting with title company attorney and A. Porter regarding title commitments                 2.5 0.4166667        $108.33
2019         Disposition                                     for the first sale of properties (2.5)
February     Asset                  02/01/19 NM          260 correspond with K. Duff, A. Porter, and M. Rachlis regarding the sale of the first round of              0.4 0.0666667         $17.33
2019         Disposition                                     properties (.4)
February     Asset                  02/01/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lenders               0.4 0.0222222          $5.78
2019         Disposition                                     for same (.4).
February     Asset                  02/04/19 AEP         390 Edit, revise, and continue preparation of motion to approve sales of properties contained in             5.1         0.85     $331.50
2019         Disposition                                     first marketing tranche.
February     Asset                  02/04/19 ED          390 Review correspondence and documents from broker (.6)                                                     0.6          0.1      $39.00
2019         Disposition
February     Asset                  02/04/19 ED          390 begin review of loan documents relating to properties proposed for sale (.4).                            0.4 0.0666667         $26.00
2019         Disposition
February     Asset                  02/04/19 NM          260 Correspond with S. Zjalic regarding notice for the motion to approve the sale of the first               0.4 0.0666667         $17.33
2019         Disposition                                     round of properties and legal research on same and provide information for same (.4)

February     Asset                  02/04/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lender                0.5 0.0277778          $7.22
2019         Disposition                                     issues for same (.5)
February     Asset                  02/06/19 AEP         390 Review final draft of all surveys in first marketing tranche and request authorization to                0.2 0.0333333         $13.00
2019         Disposition                                     distribute to buyers' counsel (.2)
February     Asset                  02/08/19 AEP         390 Review latest drafts of all title commitments and distribute title commitments, title invoices,          0.4 0.0666667         $26.00
2019         Disposition                                     and surveys to counsel for all buyers in first marketing tranche (.4)
February     Asset                  02/08/19 AEP         390 teleconference with title underwriter regarding waiver of corporate authority special                    0.2 0.0333333         $13.00
2019         Disposition                                     exceptions from title commitments (.2)
February     Asset                  02/08/19 AEP         390 assemble copies of recorded documents listed as special exceptions on title commitments to               0.2          0.1      $39.00
2019         Disposition                                     properties being sold in first marketing tranche (6160 S Martin Luther King and 8100 S Essex)
                                                             (.2).
February     Asset                  02/08/19 AEP         390 update all closing checklists (.1)                                                                       0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/08/19 AEP         390 conference call with receivership broker regarding status of motions to approve sales of                 0.2 0.0111111          $4.33
2019         Disposition                                     properties in first and second marketing tranches and related issues (.2)
February     Asset                  02/08/19 NM          260 Correspond with A. Porter and K. Duff regarding status of filing motion to approve first                 0.1 0.0166667          $4.33
2019         Disposition                                     tranche of property sales.


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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Asset                  02/10/19 AEP         390 Review title commitments, title invoices, purchase and sale contracts, water bills, property              7.1 2.3666667        $923.00
2019         Disposition                                     tax bills, and other materials, prepare closing figures, and continue preparation of motion to
                                                             approve sales of certain receivership properties (5001-05 S Drexel, 6160-6212 S Martin
                                                             Luther King, and 8100 S Essex), study, edit, and revise consolidated motion and transmit to
                                                             team with explanation of remaining issues to be resolved prior to filing.

February     Asset                  02/11/19 AW          140 Meeting with N. Mirjanich and K. Pritchard regarding EB 1.0 and notice to investors,                      0.3         0.05       $7.00
2019         Disposition                                     creditors, and interested parties.
February     Asset                  02/11/19 NM          260 study motion to approve sale of the first tranche of properties from A. Porter, revise motion             5.9 0.9833333        $255.67
2019         Disposition                                     to approve the first tranche of property sales, and correspond with K. Duff, M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (5.9)
February     Asset                  02/11/19 NM          260 correspond with A. Porter regarding status of motion for same and revisions to same (.1)                  0.1 0.0166667          $4.33
2019         Disposition
February     Asset                  02/11/19 NM          260 revise notice for same (.6)                                                                               0.6          0.1      $26.00
2019         Disposition
February     Asset                  02/11/19 NM          260 Correspond with K. Duff, M. Rachlis, K. Pritchard, and A. Watychowicz regarding notice for                0.4 0.0666667         $17.33
2019         Disposition                                     the motion to approve the sale of the first tranche of properties (.4)
February     Asset                  02/12/19 AEP         390 Study, edit, and revise latest draft of motion to approve sales of properties in first marketing          3.3         0.55     $214.50
2019         Disposition                                     tranche (3.3)
February     Asset                  02/12/19 AEP         390 research regarding proposed order and finalize and circulate first draft of same (1.5).                   1.5         0.25      $97.50
2019         Disposition
February     Asset                  02/12/19 AEP         390 review updated title commitments and invoices and revise closing statements to incorporate                1.1 0.1833333         $71.50
2019         Disposition                                     comments from team (1.1)
February     Asset                  02/12/19 NM          260 Study and respond to correspondence from A. Porter regarding motion to approve the sale                   0.1 0.0166667          $4.33
2019         Disposition                                     of the first property tranche (.1)
February     Asset                  02/12/19 NM          260 study comments on same from E. Duff, M. Rachlis, and K. Duff (.5).                                        0.5 0.0833333         $21.67
2019         Disposition
February     Asset                  02/12/19 NM          260 study same and correspond with M. Rachlis, E. Duff, and K. Duff regarding same (.9)                       0.9         0.15      $39.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 perform final reconciliation of litigation information and title commitments and prepare e-               0.5 0.0833333         $32.50
2019         Disposition                                     mails to title company questioning non-inclusion of various administrative actions from
                                                             special exceptions (.5)
February     Asset                  02/13/19 AEP         390 Review updated title commitments on various properties in first marketing tranche and                     0.5 0.0833333         $32.50
2019         Disposition                                     revise motion to approve sale accordingly (.5)
February     Asset                  02/13/19 AEP         390 study, edit, and revise provisionally final draft of proposed motion to approve sale (1.2)                1.2          0.2      $78.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 revise proposed order to incorporate latest comments received from title company (.4).                    0.4 0.0666667         $26.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 teleconference with N. Mirjanich regarding suggested modifications to motion to approve                   0.2 0.0333333         $13.00
2019         Disposition                                     sale (.2)
February     Asset                  02/13/19 AEP         390 additional communications with title company regarding proposed order authorizing sale (.2)               0.2 0.0333333         $13.00
2019         Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Asset                  02/13/19 AEP         390 revise appendix of exhibits to correspond to changes in structure of brief (.2)                           0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 correspondence and communications with title company regarding proposed changes to                        1.3 0.2166667         $84.50
2019         Disposition                                     proposed judicial order authorizing sale and prepare proposed revised order (1.3)

February     Asset                  02/13/19 MR          390 Conferences and review of e-mails regarding sale of properties and review of draft motion                 0.7 0.1166667         $45.50
2019         Disposition                                     and order regarding same.
February     Asset                  02/13/19 NM          260 Revise motion to approve the first tranche of property sales incorporating comments from E.               2.6 0.4333333        $112.67
2019         Disposition                                     Duff and M. Rachlis and correspond with A. Porter and K. Duff regarding same.

February     Asset                  02/14/19 AEP         390 teleconference with K. Duff regarding title company issues with proposed order (.5).                      0.5 0.0833333         $32.50
2019         Disposition
February     Asset                  02/14/19 AEP         390 Teleconference with title company underwriters regarding form of proposed order                           0.6          0.1      $39.00
2019         Disposition                                     accompanying motion to approve sale and associated notice issues (.6)
February     Asset                  02/14/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding title company position regarding                   0.9         0.15      $58.50
2019         Disposition                                     form of proposed order and potential avenues to resolving impasse and additional revisions
                                                             to motion to approve sale (.9)
February     Asset                  02/14/19 NM          260 Correspond with K. Duff and A. Porter regarding motion to approve the sale of the first                   1.8          0.1      $26.00
2019         Disposition                                     tranche of properties and motion to approve the process for the second sale (1.8)

February     Asset                  02/14/19 NM          260 study and exchange email correspondence with A. Porter and title company regarding sale of                0.2 0.0333333          $8.67
2019         Disposition                                     first tranche of properties (.2).
February     Asset                  02/14/19 NM          260 draft notice section for motion to approve the sale of the first round of properties (.5)                 0.5 0.0833333         $21.67
2019         Disposition
February     Asset                  02/15/19 AEP         390 telephone conference with title company underwriters, K. Duff, and N. Mirjanich regarding                 0.2 0.0333333         $13.00
2019         Disposition                                     resolution of impasse regarding waiver of certain special exceptions (.2)

February     Asset                  02/15/19 AEP         390 legal research regarding issue relating to sale of properties (.8)                                        0.8 0.1333333         $52.00
2019         Disposition
February     Asset                  02/15/19 AEP         390 revise proposed order approving sale to incorporate title company comments (1.3)                          1.3 0.2166667         $84.50
2019         Disposition
February     Asset                  02/15/19 AEP         390 analyze, edit, and revise service list, comparing same to recorded mortgages (.6)                         0.6          0.1      $39.00
2019         Disposition
February     Asset                  02/15/19 AEP         390 study, edit, and revise motion for approval of sale (1.9)                                                 1.9 0.3166667        $123.50
2019         Disposition
February     Asset                  02/15/19 AEP         390 Teleconference with title company underwriters regarding proposed resolution to impasse                   0.3         0.05      $19.50
2019         Disposition                                     over title clearing issues (.3)
February     Asset                  02/15/19 AEP         390 edit and revise proposed order to incorporate second sets of comments from title                          0.4 0.0666667         $26.00
2019         Disposition                                     underwriters (.4).
February     Asset                  02/15/19 AW          140 Confer with N. Mirjanich and K. Duff regarding notice relating to properties listed for sale and          0.3         0.05       $7.00
2019         Disposition                                     every investor (.3)
February     Asset                  02/15/19 AW          140 confer with A. Porter regarding same and provide additional explanation as to specific                    0.2 0.0333333          $4.67
2019         Disposition                                     registrations (.2)


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
February     Asset                  02/15/19 AW              140 study and confirm that certificate of service to motion for sale is accurate (1.6)                       1.6 0.2666667         $37.33
2019         Disposition
February     Asset                  02/15/19 AW              140 work on filing of motions, accompanying exhibits, and notices (1.6).                                     1.6 0.0888889         $12.44
2019         Disposition
February     Asset                  02/15/19 AW              140 attention to exchanges regarding multiple revisions to motions and exhibits (.5)                         0.5 0.0277778          $3.89
2019         Disposition
February     Asset                  02/15/19 NM              260 Revise motion for court approval of the sale of the first tranche of properties and correspond           5.0 0.8333333        $216.67
2019         Disposition                                         with K. Duff, A. Watychowicz, A. Porter regarding the same and filing and service of the same
                                                                 (5.0)
February     Asset                  02/15/19 NM              260 telephone conference with title company and with A. Porter and K. Duff regarding same (.2)               0.2 0.0333333          $8.67
2019         Disposition
February     Asset                  02/16/19 AW              140 Service of motion to approve sale of first tranche of properties.                                        4.5         0.75     $105.00
2019         Disposition
February     Asset                  02/18/19 NM              260 Study email correspondence from investors regarding notice of motion for the first sale of               1.2          0.2      $52.00
2019         Disposition                                         properties and correspond with A. Watychowicz regarding responses to same (1.2)

February     Asset                  02/18/19 NM              260 study email correspondence from M. Rachlis, E. Duff and K. Duff regarding same from                      0.2 0.0333333          $8.67
2019         Disposition                                         lenders' counsel (.2)
February     Asset                  02/18/19 NM              260 study spreadsheet from real estate broker with updated property disposition analysis in                  0.2 0.0333333          $8.67
2019         Disposition                                         advance of meeting for same (.2)
February     Asset                  02/19/19 MR              390 conferences and follow up regarding objections to motion to approve sales with lender's                  0.6          0.1      $39.00
2019         Disposition                                         counsel, A. Porter and K. Duff (.6).
February     Asset                  02/19/19 MR              390 Attention to preparation for upcoming hearing on various motions (1.2)                                   1.2 0.0666667         $26.00
2019         Disposition
February     Asset                  02/19/19 NM              260 office conference with A. Porter and J. Rak regarding closing information for the first tranche          0.9         0.15      $39.00
2019         Disposition                                         of property sales (.9)
February     Asset                  02/19/19 NM              260 correspond with M. Rachlis regarding same (.1)                                                           0.1 0.0055556          $1.44
2019         Disposition
February     Asset                  02/19/19 NM              260 Study objections to the motion to approve the sale of the first tranche and to approve the               0.9         0.05      $13.00
2019         Disposition                                         process for the second tranche and correspond (.9)
February     Asset                  02/19/19 NM              260 study EquityBuild email account for responses relating to motion to approve sale of the first            0.1 0.0166667          $4.33
2019         Disposition                                         tranche of properties (.1).
February     Asset                  02/20/19 AEP             390 Study, edit, and revise proposed e-mail from J. Rak to buyers of properties in first marketing           0.1 0.0166667          $6.50
2019         Disposition                                         tranche regarding information needed to complete preparation of closing documents (.1)

February     Asset                  02/20/19 JR              140 research of same needed for closing of all properties (2.2).                                             2.2 0.3666667         $51.33
2019         Disposition
February     Asset                  02/20/19 JR              140 Further drafting of closing documents (1.9)                                                              1.9 0.3166667         $44.33
2019         Disposition
February     Asset                  02/20/19 NM              260 study draft email responses from A. Watychowicz in response to questions from investors                  0.2 0.0333333          $8.67
2019         Disposition                                         and creditors resulting from the filing of the motion to approve the sale of the first tranche
                                                                 (.2).




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
February     Asset                  02/21/19 AEP             390 Review updated title history for remaining properties in first marketing tranche (7549-59 S            1.2          0.3     $117.00
2019         Disposition                                         Essex, 5001 S Drexel, 6160 S Martin Luther King, and 8100 S Essex), revise title commitment
                                                                 accordingly, and return to title company with revisions.
February     Asset                  02/21/19 JR              140 Continue drafting closing documents for all properties in the first tranche (5.1)                      5.1         0.85     $119.00
2019         Disposition
February     Asset                  02/22/19 AEP             390 Review special exceptions on updated title commitments to ensure all modifications were                0.4 0.0666667         $26.00
2019         Disposition                                         properly made.
February     Asset                  02/25/19 AEP             390 review updated title commitments and responses received from buyers' counsel and revise                1.1 0.1833333         $71.50
2019         Disposition                                         closing checklists accordingly (1.1).
February     Asset                  02/25/19 AEP             390 Meeting with J. Rak regarding all presently outstanding closing-related tasks associated with          1.3 0.0722222         $28.17
2019         Disposition                                         sales of properties in first marketing tranche and information to be assembled and
                                                                 populated into closing checklists for properties in second marketing tranche (1.3)

February     Asset                  02/25/19 JR              140 exchange correspondence with A. Porter sending deed for review (.1)                                    0.1       0.025        $3.50
2019         Disposition
February     Asset                  02/25/19 JR              140 office conference with A. Porter reviewing closing documents and title documents that need             1.3 0.2166667         $30.33
2019         Disposition                                         to be sent to title company for the first tranche (1.3)
February     Asset                  02/25/19 JR              140 exchange correspondence with buyer counsel regarding buyer information in preparation for              0.2          0.1      $14.00
2019         Disposition                                         closing (6160 Martin Luther King and 8100 Essex) (.2).
February     Asset                  02/26/19 JR              140 exchange correspondence with other management company requesting same (.2)                             0.2          0.1      $14.00
2019         Disposition
February     Asset                  02/26/19 JR              140 update closing checklists with new buyer information that was provided by buyer's counsel              2.8 0.4666667         $65.33
2019         Disposition                                         (2.8).
February     Asset                  02/26/19 JR              140 exchange correspondence with title company attorney to inquire about closing documents                 0.1 0.0166667          $2.33
2019         Disposition                                         (.1)
February     Asset                  02/27/19 JR              140 updated all checklists with updated closing documents (1.8)                                            1.8          0.3      $42.00
2019         Disposition
February     Asset                  02/27/19 JR              140 Complete and email broker waiver of liens to A. Porter for the first tranche (.2)                      0.2 0.0333333          $4.67
2019         Disposition
February     Asset                  02/27/19 JR              140 exchange correspondence with updates received from buyer counsel and added on all                      2.7         0.45      $63.00
2019         Disposition                                         closing documents for the first tranche (2.7).
February     Asset                  02/28/19 JR              140 exchange correspondence with attorney from the title company regarding approval of                     0.1 0.0166667          $2.33
2019         Disposition                                         closing documents (.1).
February     Business               02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                    0.2 0.0029412          $0.41
2019         Operations                                          property expenses, and communicate same to K. Duff (.2)
February     Business               02/05/19 NM              260 prepare for meeting with City of Chicago regarding property repairs and code compliance                0.8         0.05      $13.00
2019         Operations                                          and correspond with K. Duff and M. Rachlis regarding same (.8)
February     Business               02/06/19 AW              140 Assist counsel with preparation for meeting with City of Chicago counsel.                              0.6      0.0375        $5.25
2019         Operations
February     Business               02/06/19 MR              390 Prepare for and participate in meeting with City officials and follow up discussion regarding          2.0       0.125       $48.75
2019         Operations                                          same (2.0)
February     Business               02/06/19 NM              260 attend meeting with City, M. Rachlis and K. Duff and correspond with M. Rachlis and K. Duff            1.5     0.09375       $24.38
2019         Operations                                          regarding same (1.5)


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Business               02/06/19 NM              260 Prepare for meeting regarding property repairs and code compliance and revise and print                   0.6      0.0375        $9.75
2019         Operations                                          spreadsheet highlighting efforts to address code issues for same (.6)
February     Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                          violation (.2)
February     Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                          in receivership portfolio (1.9).
February     Business               02/08/19 ED              390 review documents relating to loans and other claims on properties being considered for sale               1.3 0.2166667         $84.50
2019         Operations                                          (1.3).
February     Business               02/08/19 NM              260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015        $3.90
2019         Operations                                          property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                                 broker regarding a list of single-family home portfolio to send to same.

February     Business               02/12/19 ED              390 review draft of Receiver's motion to approve sale (1.5)                                                   1.5         0.25      $97.50
2019         Operations
February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/13/19 NM              260 Exchange correspondence with EB counsel and K. Duff regarding matter in state court                       0.3          0.3      $78.00
2019         Operations                                          litigation and study email correspondence relating to same.
February     Business               02/14/19 NM              260 appear for motion to lift stay and correspond with EB counsel regarding (8100 S. Essex) state             1.2          1.2     $312.00
2019         Operations                                          court litigation and discovery for same (1.2)
February     Business               02/15/19 ED              390 draft and send email messages to lenders' counsel regarding motion for sale of properties                 0.7 0.1166667         $45.50
2019         Operations                                          (.7).
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                            0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019         Operations
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                   0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                                   0.3 0.0028302          $1.10
2019         Operations
February     Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in                0.1 0.0014925          $0.21
2019         Operations                                          receivership (.1)
February     Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                               0.8 0.0119403          $1.67
2019         Operations
February     Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                                   0.4 0.0059701          $0.84
2019         Operations




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
February     Claims                 02/06/19 MR          390 Issues regarding secured creditors and follow up on sales process.                                    0.4 0.0666667         $26.00
2019         Administration
             & Objections

February     Claims                 02/13/19 KMP         140 Review communications from creditors and prepare notice letters advising of receivership              0.7         0.35      $49.00
2019         Administration                                  and providing order appointing receiver (.7)
             & Objections

February     Claims                 02/13/19 KMP         140 discuss same with K. Duff and N. Mirjanich (.1)                                                       0.1         0.05       $7.00
2019         Administration
             & Objections

February     Claims                 02/13/19 KMP         140 finalize letters and prepare transmittals (.2).                                                       0.2          0.1      $14.00
2019         Administration
             & Objections

February     Claims                 02/20/19 NM          260 study background information and telephone call with investor regarding motion to approve             0.2 0.0333333          $8.67
2019         Administration                                  the sale of the first tranche and claims (.2).
             & Objections

March 2019 Asset                    03/12/19 KBD         390 conference with asset manager and counsel regarding properties sales, listings, strategy,             1.8 0.0545455         $21.27
           Disposition                                       valuation, and timing (1.8)
March 2019 Asset                    03/17/19 KBD         390 Exchange further correspondence with M. Rachlis and real estate broker regarding lenders'             0.6          0.1      $39.00
           Disposition                                       objections as to efforts to sell properties.
March 2019 Asset                    03/18/19 KBD         390 various discussions with M. Rachlis, real estate broker, A. Porter regarding same (.5)                0.5 0.0277778         $10.83
           Disposition
March 2019 Asset                    03/18/19 KBD         390 Prepare for hearing before Judge Kim regarding motions to approve listing and sale of                 0.5 0.0277778         $10.83
           Disposition                                       properties (.5)
March 2019 Asset                    03/18/19 KBD         390 appear for hearing before Judge Kim regarding motions to approve listing and sale of                  2.5 0.1388889         $54.17
           Disposition                                       properties (2.5).
March 2019 Asset                    03/19/19 KBD         390 Telephone conference with A. Porter regarding preparation for real estate sale closings,              0.2 0.0333333         $13.00
           Disposition                                       timing, planning, and obtaining water certificates (.2)
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,             0.3 0.0032609          $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/22/19 KBD         390 study correspondence from city official regarding water bills and water certifications and            0.2 0.0333333         $13.00
           Disposition                                       confer with N. Mirjanich and M. Rachlis regarding same (.2)
March 2019 Asset                    03/25/19 KBD         390 Office conference with J. Rak regarding water certifications and communications with city             0.1 0.0166667          $6.50
           Disposition                                       officials with respect to same (.1)
March 2019 Asset                    03/26/19 KBD         390 exchange correspondence with property manager regarding timing for approval of sales (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/27/19 KBD         390 telephone conference with M. Rachlis, A. Porter, and J. Rak regarding property manager liens          0.2 0.0111111          $4.33
           Disposition                                       and closing costs (.2).




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                   0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax              0.1 0.0009346          $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                               0.2 0.0018692          $0.73
           Operations
March 2019 Business                 03/04/19 KBD         390 study draft order to lift stay and review correspondence from N. Mirjanich and M. Rachlis          0.3          0.3     $117.00
           Operations                                        regarding same (.3)
March 2019 Business                 03/05/19 KBD         390 studying revise correspondence to state court lawsuit plaintiffs' counsel regarding state          0.2          0.2      $78.00
           Operations                                        litigation and office conference with N. Mirjanich regarding same (.2)

March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with            0.1 0.0009346          $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 Address various housing court and sanitation violation notices with N. Mirjanich (.4)              0.4         0.05      $19.50
           Operations
March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                      0.2 0.0029412          $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                          0.1 0.0014925          $0.58
           Operations
March 2019 Business                 03/11/19 KBD         390 preparation for housing court hearings, property inspections, and communications with              0.3         0.02       $7.80
           Operations                                        property managers and city officials regarding same with N. Mirjanich (.3)

March 2019 Business                 03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                   0.2 0.0029412          $1.15
           Operations                                        correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/13/19 KBD         390 study correspondence from N. Mirjanich regarding property code violations and evaluation           0.2       0.025        $9.75
           Operations                                        of course of action (.2)
March 2019 Business                 03/15/19 KBD         390 study financial reporting from property manager (.4).                                              0.4 0.0058824          $2.29
           Operations
March 2019 Business                 03/15/19 KBD         390 study property manager financial reporting (.3)                                                    0.3 0.0044118          $1.72
           Operations
March 2019 Business                 03/18/19 KBD         390 exchange correspondence with N. Mirjanich regarding utility bills (.1)                             0.1 0.0166667          $6.50
           Operations
March 2019 Business                 03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                  0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/20/19 KBD         390 confer and exchange correspondence with J. Rak regarding water bill payments (.1)                  0.1 0.0166667          $6.50
           Operations
March 2019 Business                 03/29/19 KBD         390 exchange correspondence with J. Rak regarding outstanding real estate taxes and study              0.2         0.05      $19.50
           Operations                                        information relating to same (.2)
March 2019 Claims                   03/14/19 KBD         390 study property manager financial report (.2).                                                      0.2 0.0029851          $1.16
           Administration
           & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2019 Asset                    03/01/19 AEP             390 teleconference with J. Rak regarding miscellaneous closing document preparation issues (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/01/19 AEP             390 update and revise various closing checklists associated with properties in first marketing              0.2 0.0333333         $13.00
           Disposition                                           tranche (.2).
March 2019 Asset                    03/01/19 AEP             390 edit and revise current draft of assignment and assumption agreement (.2)                               0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                    03/01/19 AEP             390 edit and revise waiver of real estate broker's lien forwarded by receivership broker (.3)               0.3         0.05      $19.50
           Disposition
March 2019 Asset                    03/04/19 JR              140 Update real estate taxes with accrued interest on the closing checklists for all properties in          0.7 0.1166667         $16.33
           Disposition                                           the first tranche (.7)
March 2019 Asset                    03/04/19 JR              140 create and fill out closing documents excel spreadsheet to help keep track of documents                 1.2          0.2      $28.00
           Disposition                                           which are being produced and updated for properties in the first tranche (1.2)

March 2019 Asset                    03/04/19 JR              140 continue drafting updates to closing documents spreadsheet and confirm all the closing                  3.1 0.5166667         $72.33
           Disposition                                           documents are completed and documents that require additional attention (3.1)

March 2019 Asset                    03/04/19 JR              140 corrections made to broker waiver of liens with new signatory (.6).                                     0.6          0.1      $14.00
           Disposition
March 2019 Asset                    03/04/19 MR              390 Follow up on issues regarding sales of first tranche and pending motion on second tranche of            0.7 0.0388889         $15.17
           Disposition                                           properties.
March 2019 Asset                    03/05/19 AEP             390 read, edit, and revise numerous closing documents forwarded by title company and update                 0.3         0.05      $19.50
           Disposition                                           closing spreadsheets accordingly (.3).
March 2019 Asset                    03/05/19 AEP             390 Draft receiver's deed (.4)                                                                              0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                    03/05/19 MR              390 Conferences with E. Duff regarding appraisal issues.                                                    0.4 0.0222222          $8.67
           Disposition
March 2019 Asset                    03/06/19 JR              140 deleted, added and modified documents on the closing checklist (1.1)                                    1.1 0.1833333         $25.67
           Disposition
March 2019 Asset                    03/06/19 JR              140 Meeting with A. Porter reviewing changes to closing document checklists regarding the first             1.4 0.2333333         $32.67
           Disposition                                           tranche (1.4)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                    2.6 0.0393939          $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/08/19 AEP             390 Meeting with J. Rak and title company underwriter regarding all remaining special                       3.0          0.5     $195.00
           Disposition                                           exceptions on title commitments corresponding to sales of properties in first marketing
                                                                 tranche and approval of proposed forms of conveyance documents (3.0)

March 2019 Asset                    03/12/19 ED              390 Meeting with property managers, K. Duff, M. Rachlis, N. Mirjanich, and A. Porter to analyze             1.9 0.3166667        $123.50
           Disposition                                           and discuss plans for property sales (1.9)
March 2019 Asset                    03/12/19 ED              390 email to property managers to follow up on information relating to same (.2).                           0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                    03/12/19 MR              390 Prepare for and participate in upcoming meeting with SVN on various issues and upcoming                 2.3 0.1277778         $49.83
           Disposition                                           hearing.


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
March 2019 Asset                    03/12/19 NM              260 Prepare for meeting with real estate broker by studying spreadsheet sent by same and by                   0.4 0.0666667         $17.33
           Disposition                                           comparing same to buildings with code violations (.4)
March 2019 Asset                    03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381         $24.76
           Disposition                                           disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                    03/14/19 NM              260 Correspond with J. Rak regarding closing on the first tranche of properties following housing             0.1 0.0166667          $4.33
           Disposition                                           court because of issues raised with respect to porch repairs and need for funds.

March 2019 Asset                    03/17/19 AEP             390 Meeting with M. Rachlis to review objections to motions to approve sales of properties in                 2.0 0.1111111         $43.33
           Disposition                                           first tranche and marketing of properties in second tranche and prepare responses thereto.

March 2019 Asset                    03/18/19 AEP             390 Read e-mails from title company underwriter regarding changes to receiver's deed and other                3.5 0.5833333        $227.50
           Disposition                                           conveyance documents, begin preparation of first draft of all closing documents for property
                                                                 in first sales tranche (7927- 49 S Essex), update closing checklists accordingly, and prepare e-
                                                                 mail to title underwriters regarding customization of conveyance documents for all other
                                                                 properties in first sales tranche.

March 2019 Asset                    03/18/19 ED              390 Meeting with K. Duff, M. Rachlis, and A. Porter regarding asset sales, lender objections, and             0.9         0.15      $58.50
           Disposition                                           follow-up with lenders and counsel.
March 2019 Asset                    03/18/19 MR              390 and argue various motions regarding sales of properties before magistrate judge (2.5)                     2.5 0.1388889         $54.17
           Disposition
March 2019 Asset                    03/18/19 MR              390 follow up conferences regarding various objections, hearing and strategy moving forward                   0.9         0.05      $19.50
           Disposition                                           with K. Duff, E. Duff, and A. Porter (.9).
March 2019 Asset                    03/18/19 MR              390 Prepare for hearing including review of various motions and relating documents and work                   4.5         0.25      $97.50
           Disposition                                           through same in several discussions with K. Duff and A. Porter (4.5)
March 2019 Asset                    03/19/19 AEP             390 read comments on conveyance documents reviewed by title company, prepare                                  2.3 0.7666667        $299.00
           Disposition                                           presumptively final versions of receiver's deed, affidavit of title, and bill of sale, customize
                                                                 same for three properties in first sales tranche (5001 S Drexel, 6160 S King, and 8100 S Essex)
                                                                 and send specimen copies of same to counsel for prospective purchasers for review and
                                                                 comment, along with status update on judicial review of motion to approve sales (2.3).

March 2019 Asset                    03/19/19 AEP             390 Teleconference with K. Duff regarding timing of potential judicial approval of sale of                    0.2 0.0333333         $13.00
           Disposition                                           properties in first marketing tranche and sequencing of preparation of conveyance
                                                                 documents (.2)
March 2019 Asset                    03/19/19 AEP             390 teleconference with J. Rak regarding status of preparation of examiner's worksheets relating              0.5 0.0277778         $10.83
           Disposition                                           to properties in second marketing tranche, sequencing of preparation of conveyance
                                                                 documents associated with properties in first sales tranche, and water certificate issues (.5)

March 2019 Asset                    03/19/19 JR              140 phone communication with the City of Chicago water department regarding the water                         1.1 0.1833333         $25.67
           Disposition                                           certification process in preparation for closings in the first tranche of properties (1.1)

March 2019 Asset                    03/19/19 JR              140 continue working on the title examination on same and note discrepancies on all deeds                     1.9 0.3166667         $44.33
           Disposition                                           provided to us by the title company (1.9).


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
March 2019 Asset                    03/20/19 AEP             390 Teleconference with K. Duff regarding need for FEIN's of properties in first sales tranche, fire          0.3         0.05      $19.50
           Disposition                                           at property in first sales tranche (7943 S Essex), and status of review of draft motion to
                                                                 approve sale of single-family homes (.3)
March 2019 Asset                    03/20/19 JR              140 Sent the water certification applications to the City of Chicago via the new online portal for            0.5 0.0833333         $11.67
           Disposition                                           properties in the first tranche (.5)
March 2019 Asset                    03/20/19 JR              140 sent additional documents to the City of Chicago per their request (.2)                                   0.2 0.0333333          $4.67
           Disposition
March 2019 Asset                    03/20/19 JR              140 telephone conference with A. Porter regarding the water certifications and the chain of title             0.6          0.1      $14.00
           Disposition                                           regarding same (.6).
March 2019 Asset                    03/20/19 MR              390 Attention to various issues at property regarding allocation of property sales.                           0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                    03/21/19 JR              140 completed water certifications applications online for properties in the first tranche (4.2)              4.2          0.7      $98.00
           Disposition
March 2019 Asset                    03/21/19 JR              140 email communication with the title company attorney regarding the application process and                 0.2 0.0333333          $4.67
           Disposition                                           confirm the requirements to avoid any delays with closings (.2)
March 2019 Asset                    03/21/19 JR              140 email communication with A. Porter regarding status of water certifications (.1).                         0.1 0.0166667          $2.33
           Disposition
March 2019 Asset                    03/22/19 AEP             390 conference call with counsel for buyer of property subject to casualty claim regarding                    0.4          0.4     $156.00
           Disposition                                           proposed resolution (.4)
March 2019 Asset                    03/22/19 AEP             390 prepare letter to counsel for buyer of property subject to casualty claim seeking agreement               0.3          0.3     $117.00
           Disposition                                           to terms of proposed resolution (.3)
March 2019 Asset                    03/22/19 AEP             390 Create second group of closing documents for all properties in first sales tranche and update             2.5 0.4166667        $162.50
           Disposition                                           closing checklists (2.5)
March 2019 Asset                    03/22/19 AEP             390 teleconferences with K. Duff and E. Duff regarding modifications to proposed letter to                    0.2          0.2      $78.00
           Disposition                                           counsel for buyer of property subject to casualty claim (.2).
March 2019 Asset                    03/22/19 JR              140 Exchange correspondence with title company representatives regarding the water                            0.6          0.1      $14.00
           Disposition                                           certifications (.6)
March 2019 Asset                    03/22/19 JR              140 exchange correspondence with City of Chicago customer service representative regarding                    0.6          0.1      $14.00
           Disposition                                           water certification and forwarding Receiver court order per request (.6)
March 2019 Asset                    03/25/19 AEP             390 amend existing draft of proposed addendum to purchase and sale contract regarding                         0.5          0.5     $195.00
           Disposition                                           allocation of financial responsibility for casualty, prepare formal assignment of claim to be
                                                                 attached to addendum, and transmit same to buyer's counsel (.5)

March 2019 Asset                    03/25/19 AEP             390 revise latest draft of addendum to incorporate comments received from K. Duff and E. Duff                 0.1          0.1      $39.00
           Disposition                                           (.1).
March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,               0.2 0.0019048          $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/25/19 JR              140 review legal description, PINs and address on deeds to confirm consistency (1.4).                         1.4 0.2333333         $32.67
           Disposition
March 2019 Asset                    03/25/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts              0.1 0.0166667          $4.33
           Disposition                                           on first tranche of properties (.1)
March 2019 Asset                    03/26/19 AEP             390 Conference with N. Mirjanich regarding strategy for addressing water issue (.1)                           0.1 0.0166667          $6.50
           Disposition


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
March 2019 Asset                    03/26/19 AEP             390 teleconference with City of Chicago regarding outstanding water bill issues (.5)                           0.5 0.0833333         $32.50
           Disposition
March 2019 Asset                    03/26/19 AEP             390 conference with J. Rak to review closing checklists for all properties in first sales tranche and          1.5         0.25      $97.50
           Disposition                                           allocate responsibility for remaining items (1.5)
March 2019 Asset                    03/26/19 JR              140 office conference with N. Mirjanich, A. Porter and phone conference with City of Chicago                   1.2          0.2      $28.00
           Disposition                                           representatives regarding the water bills and water certifications (1.2)
March 2019 Asset                    03/26/19 JR              140 meeting with A. Porter to go over the closing checklist and update documents in preparation                2.3 0.3833333         $53.67
           Disposition                                           for closing (2.3)
March 2019 Asset                    03/26/19 JR              140 Worked on water certification updates to the closing checklist (.5)                                        0.5 0.0833333         $11.67
           Disposition
March 2019 Asset                    03/26/19 JR              140 email communication with K. Duff regarding status of phone conference with City of Chicago                 0.1 0.0166667          $2.33
           Disposition                                           water department (.1).
March 2019 Asset                    03/26/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts               0.7 0.1166667         $30.33
           Disposition                                           on first tranche of properties (.7)
March 2019 Asset                    03/26/19 NM              260 correspond with A. Porter and J. Rak regarding same following call and regarding closings (.3)             0.3         0.05      $13.00
           Disposition
March 2019 Asset                    03/26/19 NM              260 correspond with J. Rak regarding same (.4).                                                                0.4 0.0666667         $17.33
           Disposition
March 2019 Asset                    03/27/19 ED              390 Review draft of listing contract.                                                                          0.3         0.05      $19.50
           Disposition
March 2019 Asset                    03/27/19 JR              140 email correspondence with A. Porter regarding rent roll and the necessary updates from                     0.1 0.0166667          $2.33
           Disposition                                           property management (.1)
March 2019 Asset                    03/27/19 KMP             140 Finalize and file supplement to motion for approval of sale of properties and conferences                  0.3         0.05       $7.00
           Disposition                                           with K. Duff and N. Mirjanich regarding same.
March 2019 Asset                    03/28/19 AEP             390 Conference with J. Rak regarding status of preparation of rent rolls, collection of leases, and            0.3         0.05      $19.50
           Disposition                                           processing of full payment water certificates (.3)
March 2019 Asset                    03/28/19 JR              140 Update past due tax balances for all properties in the first tranche.                                      1.5         0.25      $35.00
           Disposition
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                       1.5 0.0140187          $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 KMP             140 prepare form for wire transfer of funds to property manager for property management                        0.3      0.0375        $5.25
           Operations                                            expenses, communications with K. Duff and bank regarding same, and submit form for
                                                                 payment (.3)
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all                    1.8 0.0168224          $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                                    0.2 0.0018692          $0.26
           Operations
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                                   0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/06/19 NM              260 revise spreadsheets of outstanding code violations and in advance of status conference on                  1.2         0.15      $39.00
           Operations                                            housing court matters next week (1.2).
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager                   0.5 0.0073529          $2.87
           Operations                                            regarding same (.5)


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8100 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2019 Business                 03/07/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).               0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/07/19 NM          260 revise spreadsheet of outstanding code violations and prepare for housing court on March               0.7      0.0875       $22.75
           Operations                                        14, 2019 (.7)
March 2019 Business                 03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                        0.1 0.0009346          $0.24
           Operations
March 2019 Business                 03/07/19 NM          260 correspond with K. Duff regarding same (.5).                                                           0.5      0.0625       $16.25
           Operations
March 2019 Business                 03/11/19 AEP         390 review notes of 03/08/19 meeting with title underwriters and hold harmless letters relating            1.9 0.3166667        $123.50
           Operations                                        thereto and update title commitments and closing checklists for all properties in first sales
                                                             tranche (1.9)
March 2019 Business                 03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                      0.4 0.0058824          $2.29
           Operations                                        estate taxes (.4)
March 2019 Business                 03/11/19 NM          260 Prepare for housing court on approximately 11 properties and administrative court on nearly            2.9 0.1933333         $50.27
           Operations                                        a half dozen others and update spreadsheets to reflect same and correspond with property
                                                             manager, City attorneys, and K. Duff regarding same.
March 2019 Business                 03/12/19 NM          260 prepare for housing court and tend to administrative court matters by revising spreadsheet             0.3      0.0375        $9.75
           Operations                                        for same and corresponding with property manager (.3)
March 2019 Business                 03/12/19 NM          260 tend to electrical inspection issues at properties in advance of housing court and correspond          0.5          0.1      $26.00
           Operations                                        with the inspector, the property managers, and K. Duff regarding same (.5)

March 2019 Business                 03/13/19 NM          260 prepare for housing court tomorrow and tend to other administrative matters, including                 1.8       0.225       $58.50
           Operations                                        those default orders, by updating spreadsheets to reflect same and studying email
                                                             correspondence and other documents for same (1.8)
March 2019 Business                 03/13/19 NM          260 correspond with property manager regarding same (.3)                                                   0.3      0.0375        $9.75
           Operations
March 2019 Business                 03/14/19 NM          260 correspond with M. Abraham regarding same (.3)                                                         0.3      0.0375        $9.75
           Operations
March 2019 Business                 03/14/19 NM          260 revise spreadsheets to reflect housing court today and draft correspondence to property                1.5      0.1875       $48.75
           Operations                                        managers regarding same (1.5)
March 2019 Business                 03/14/19 NM          260 Prepare for housing court by studying spreadsheets and making notes for same and studying              0.8          0.1      $26.00
           Operations                                        correspondence from property manager for same (.8)
March 2019 Business                 03/15/19 NM          260 Revise spreadsheets following housing court and related correspondence received (1.1)                  1.1      0.1375       $35.75
           Operations
March 2019 Business                 03/15/19 NM          260 correspond with K. Duff regarding the same (.3)                                                        0.3      0.0375        $9.75
           Operations
March 2019 Business                 03/15/19 NM          260 draft correspondence to lender regarding properties in housing court (.6)                              0.6       0.075       $19.50
           Operations
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same             1.8 0.0168224          $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692          $0.49
           Operations                                        (.2).




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
March 2019 Business                 03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)               0.2 0.0029851          $0.78
           Operations
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                   0.1 0.0009346          $0.13
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                     0.3 0.0028302          $1.10
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                                0.5    0.004717        $1.84
           Operations
March 2019 Business                 03/22/19 NM          260 correspond with M. Rachlis regarding same and send correspondence to City attorney                      0.6          0.1      $26.00
           Operations                                        regarding same and other water issues on properties (.6).
March 2019 Business                 03/22/19 NM          260 correspond with A. Watychowicz and J. Rak regarding water certification and related issues              0.8 0.1333333         $34.67
           Operations                                        at properties in first tranche (.8)
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                               0.2 0.0018868          $0.74
           Operations
March 2019 Business                 03/27/19 NM          260 Prepare spreadsheet that includes water utility information to determine outstanding                    1.7 0.2833333         $73.67
           Operations                                        balances regarding same from the City (1.7)
March 2019 Business                 03/28/19 NM          260 Further work on spreadsheet that includes water utility information to determine                        0.5 0.0833333         $21.67
           Operations                                        outstanding balances regarding same from the City (.5)
March 2019 Claims                   03/11/19 MR          390 Attention to issues for upcoming meeting and lender issues.                                             0.9         0.05      $19.50
           Administration
           & Objections

March 2019 Claims                   03/15/19 MR          390 Review materials in preparation for upcoming hearing.                                                   2.0 0.1111111         $43.33
           Administration
           & Objections

March 2019 Claims                   03/17/19 MR          390 Prepare for upcoming hearing (3.0)                                                                      3.0 0.1666667         $65.00
           Administration
           & Objections

March 2019 Claims                   03/17/19 MR          390 and meeting with A. Porter regarding same (2.5).                                                        2.5 0.1388889         $54.17
           Administration
           & Objections

April 2019   Asset                  04/02/19 KBD         390 office conference with J. Rak regarding logistics and planning for sale of upcoming properties          0.1 0.0166667          $6.50
             Disposition                                     (.1).
April 2019   Asset                  04/08/19 KBD         390 telephone conference with real estate broker regarding same (.1).                                       0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                  04/08/19 KBD         390 Study Judge Kim report and recommendation on sale of first tranche of properties (.2)                   0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/22/19 KBD         390 Study objections to Judge Kim's report and recommendation (.5)                                          0.5 0.0833333         $32.50
             Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/23/19 KBD         390 Appear before Judge Lee for hearing regarding motion to approve the sale of first set of                 1.2          0.2      $78.00
             Disposition                                     properties and for interim financing (1.2)
April 2019   Asset                  04/23/19 KBD         390 telephone conference with A. Porter regarding approval of motion to sell properties, timing              0.1 0.0166667          $6.50
             Disposition                                     for closings, and preparations for same (.1)
April 2019   Asset                  04/23/19 KBD         390 office conference with and review correspondence from J. Rak regarding execution of power                0.1 0.0166667          $6.50
             Disposition                                     of attorney documents for sale of properties (.1).
April 2019   Asset                  04/23/19 KBD         390 conference with M. Rachlis regarding same (.3)                                                           0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/23/19 KBD         390 telephone conference with real estate broker regarding approval of sale of properties,                   0.2 0.0333333         $13.00
             Disposition                                     communications with potential property management service providers, and payment of
                                                             property expenses (.2)
April 2019   Asset                  04/24/19 KBD         390 analysis of real estate broker commission in connection with sale of first group of properties           0.7 0.1166667         $45.50
             Disposition                                     and draft correspondence to A. Porter regarding same (.7)
April 2019   Asset                  04/24/19 KBD         390 Telephone conference with and draft correspondence to bank representative regarding                      0.2 0.0333333         $13.00
             Disposition                                     opening new accounts for real estate sale proceeds (5001-05 S Drexel, 7927-49 S Essex, 8100-
                                                             14 S Essex, 6160-6212 S King) (.2)
April 2019   Asset                  04/24/19 KBD         390 office conference with M. Rachlis regarding payment of utilities, closing timing, and financial          0.2 0.0333333         $13.00
             Disposition                                     strategy (.2)
April 2019   Asset                  04/24/19 KBD         390 office conferences with A. Porter regarding closing proceeds and communications with title               0.2 0.0333333         $13.00
             Disposition                                     company regarding sale closings (.2)
April 2019   Asset                  04/24/19 KBD         390 office conferences with A. Porter regarding closings, bank accounts, and broker commission               0.3         0.05      $19.50
             Disposition                                     (.3)
April 2019   Asset                  04/24/19 KBD         390 study draft proposed order and correspondence from A. Porter regarding proposed order                    0.1 0.0166667          $6.50
             Disposition                                     relating to approval of sale of properties (.1)
April 2019   Asset                  04/24/19 KBD         390 office conference with A. Porter regarding timing for real estate sale closings and planning             0.1 0.0166667          $6.50
             Disposition                                     with respect to same (.1)
April 2019   Asset                  04/24/19 KBD         390 exchange correspondence with bank representative regarding accounts for sale proceeds                    0.1 0.0166667          $6.50
             Disposition                                     (.1).
April 2019   Asset                  04/24/19 KBD         390 telephone conference with real estate broker regarding closings, planning, and commission                0.2 0.0333333         $13.00
             Disposition                                     (.2)
April 2019   Asset                  04/24/19 KBD         390 exchange correspondence with N. Mirjanich regarding communication with lender's counsel                  0.1 0.0333333         $13.00
             Disposition                                     regarding code violation information (.1)
April 2019   Asset                  04/25/19 KBD         390 exchange correspondence with real estate broker regarding anticipated sales in relation to               0.2 0.0333333         $13.00
             Disposition                                     acquisition prices (.2).
April 2019   Asset                  04/25/19 KBD         390 Prepare for closing of real estate sales and study documents regarding same with A. Porter               0.5 0.0833333         $32.50
             Disposition                                     and J. Rak (.5)
April 2019   Asset                  04/26/19 KBD         390 exchange correspondence with J. Rak regarding real estate sales closings (6160 MLK, 8100                 0.2         0.05      $19.50
             Disposition                                     Essex, 5001 Drexel, 7927 Essex) (.2)
April 2019   Asset                  04/26/19 KBD         390 telephone conference with broker regarding same (.1)                                                     0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                  04/26/19 KBD         390 Telephone conferences with A. Porter regarding broker's commission calculation (.2)                      0.2 0.0333333         $13.00
             Disposition




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8100 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
April 2019   Asset                  04/28/19 KBD         390 Exchange correspondence with A. Porter regarding sale of property (8100 Essex) (.1)                     0.1          0.1      $39.00
             Disposition
April 2019   Asset                  04/28/19 KBD         390 draft correspondence to A. Porter regarding sale of properties and reimbursement of                     0.3         0.05      $19.50
             Disposition                                     expenses (.3).
April 2019   Asset                  04/29/19 KBD         390 Planning and work through issues with J. Rak regarding real estate sales closings and                   0.4 0.1333333         $52.00
             Disposition                                     payment of outstanding water bills (.4)
April 2019   Asset                  04/29/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                   0.1 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/29/19 KBD         390 office conferences with A. Porter and J. Rak regarding planning for real estate sales closings          1.0 0.1666667         $65.00
             Disposition                                     (1.0).
April 2019   Asset                  04/30/19 KBD         390 Exchange correspondence with A. Porter, real estate broker, and property managers relating              0.4          0.2      $78.00
             Disposition                                     to closing of real estate sales (6160 MLK, 8100 Essex) (.4)
April 2019   Asset                  04/30/19 KBD         390 telephone conference with and draft correspondence to bank representative regarding sales               0.3          0.1      $39.00
             Disposition                                     real estate sales proceeds (.3)
April 2019   Business               04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                       0.2 0.0111111          $4.33
             Operations
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
             Operations
April 2019   Business               04/12/19 KBD         390 study correspondence from city official regarding efforts to collect outstanding water bills            0.2 0.0333333         $13.00
             Operations                                      and exchange correspondence with N. Mirjanich regarding same (.2)
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                   0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                      0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/15/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
             Operations
April 2019   Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                          0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)                0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/24/19 KBD         390 exchange correspondence with bank representative regarding new accounts and wire                        0.2         0.05      $19.50
             Operations                                      transfer planning for property expense (.2)
April 2019   Business               04/24/19 KBD         390 Review planning to address housing court matters (.1)                                                   0.1 0.0111111          $4.33
             Operations
April 2019   Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real                  0.4 0.0037383          $1.46
             Operations                                      estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD         390 Study records for delivering 2017 real estate taxes, several office conferences and exchange            2.5     0.15625       $60.94
             Operations                                      various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                             (2.5)
April 2019   Business               04/30/19 KBD         390 exchange correspondence with property managers regarding payment of 2017 real estate                    0.6      0.0375       $14.63
             Operations                                      taxes (.6)


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Claims                 04/09/19 KBD             390 Study investor lender statements of account.                                                           0.5 0.0061728          $2.41
             Administration
             & Objections

April 2019   Asset                  04/01/19 JR              140 review leases for same to ensure they are consistent with rent roll provided to us by the              2.6          1.3     $182.00
             Disposition                                         management company (2.6)
April 2019   Asset                  04/01/19 JR              140 Draft notice to tenants for properties (8100 S. Essex and 5001 S. Drexel) (1.7)                        1.7         0.85     $119.00
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding status of judge's approval of sale of              0.1 0.0166667          $2.33
             Disposition                                         first tranche (.1)
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with property management regarding recent updated rent roll                    0.2 0.0333333          $4.67
             Disposition                                         and to send to us for all properties in the first tranche (.2)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/04/19 JR              140 exchange correspondence with the City of Chicago water department following up on status               0.6          0.1      $14.00
             Disposition                                         of water certification (.6)
April 2019   Asset                  04/04/19 JR              140 Review leases and rent roll for the first tranche (4.7)                                                4.7 0.7833333        $109.67
             Disposition
April 2019   Asset                  04/05/19 JR              140 email communication with A. Porter regarding same (.1)                                                 0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/05/19 JR              140 Update closing statements for properties in the first tranche and email to E. Duff for                 1.2          0.2      $28.00
             Disposition                                         properties in the first tranche (1.2)
April 2019   Asset                  04/05/19 JR              140 exchange correspondence with City of Chicago water department regarding water                          0.3         0.05       $7.00
             Disposition                                         certifications, requesting cancellation of two water certification applications (.3).

April 2019   Asset                  04/05/19 NM              260 Correspond with J. Rak, City water department, and K. Duff regarding full payment                      0.4 0.0666667         $17.33
             Disposition                                         certificates for the first tranche of properties.
April 2019   Asset                  04/08/19 AEP             390 read report and recommendation issued by Magistrate Judge Kim (.2)                                     0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/08/19 JR              140 created a water certificate property payment spreadsheet (2.5).                                        2.5 0.4166667         $58.33
             Disposition
April 2019   Asset                  04/08/19 JR              140 exchange correspondence with the City of Chicago water department representative and A.                0.6          0.1      $14.00
             Disposition                                         Porter regarding same (.6)
April 2019   Asset                  04/08/19 KMP             140 Briefly review Judge Kim's report on the sale of certain real estate and discuss same with K.          0.2 0.0333333          $4.67
             Disposition                                         Duff.
April 2019   Asset                  04/08/19 MR              390 follow up on various issues on property disposition (.3).                                              0.3         0.05      $19.50
             Disposition


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2019   Asset                  04/08/19 MR              390 conferences regarding same (.4)                                                                         0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/08/19 MR              390 Attention to court orders (.6)                                                                          0.6          0.1      $39.00
             Disposition
April 2019   Asset                  04/08/19 NM              260 Study court order on motion to approve sale of first tranche of properties and correspond               0.7 0.1166667         $30.33
             Disposition                                         with K. Duff, M. Rachlis, and E. Duff regarding same (.7)
April 2019   Asset                  04/08/19 NM              260 correspond with J. Rak regarding same and impact on closing and water certifications for                0.3         0.05      $13.00
             Disposition                                         same properties (.3).
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak, N. Mirjanich, and Chicago Water Department representative                   0.5 0.0833333         $32.50
             Disposition                                         regarding potential expediting of full payment certificates in connection with closings of
                                                                 properties in first sales tranche (.5)
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding full payment water certificate                    0.3         0.05      $19.50
             Disposition                                         expiration dates, timing on issuances of new certifications, impact on closing schedule,
                                                                 discrepancies between leases and rent rolls, and other closing preparation issues (.3)

April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding remaining tasks associated with                   0.3         0.05      $19.50
             Disposition                                         closings of properties in first sales tranche and sequencing issues (.3).
April 2019   Asset                  04/09/19 JR              140 Exchange correspondence with A. Porter and N. Mirjanich regarding communication with the                1.2          0.2      $28.00
             Disposition                                         City of Chicago water department regarding new applications for timely water certifications
                                                                 in preparation for closing (1.2)
April 2019   Asset                  04/09/19 JR              140 exchange correspondence with City of Chicago representative regarding issues with re-                   1.6 0.2666667         $37.33
             Disposition                                         submitting water certifications through the online portal (1.6).
April 2019   Asset                  04/09/19 NM              260 correspond with J. Rak and A. Porter regarding same in advance of call with City (.4)                   0.4 0.0666667         $17.33
             Disposition
April 2019   Asset                  04/09/19 NM              260 telephone conference with City regarding same (.2)                                                      0.2 0.0333333          $8.67
             Disposition
April 2019   Asset                  04/09/19 NM              260 Correspond with J. Rak regarding issues with outstanding water bills and waters certifications          0.3         0.05      $13.00
             Disposition                                         for the first tranche of properties to sell (.3)
April 2019   Asset                  04/09/19 NM              260 correspond with A. Porter and J. Rak regarding same following call (.5).                                0.5 0.0833333         $21.67
             Disposition
April 2019   Asset                  04/10/19 AEP             390 Lengthy meeting with J. Rak to review all remaining closing issues associated with four of the          3.8         0.95     $370.50
             Disposition                                         properties in first sales tranche (5001 S Drexel, 8100 S Essex, 7549 S Essex, and 7502 S
                                                                 Eggleston) (3.8)
April 2019   Asset                  04/10/19 AEP             390 attention to various closing issues, create final master closing checklist, and allocate                3.2 0.5333333        $208.00
             Disposition                                         responsibility for outstanding tasks (3.2).
April 2019   Asset                  04/10/19 JR              140 submitted applications through City online application portal (.8)                                      0.8 0.1333333         $18.67
             Disposition
April 2019   Asset                  04/10/19 JR              140 telephone conference and email communication with the City of Chicago IT department                     1.2          0.2      $28.00
             Disposition                                         regarding online portal application issue (1.2)
April 2019   Asset                  04/10/19 JR              140 Assisted A. Porter in reviewing closing documents for additional mark up and finalization               3.8         0.95     $133.00
             Disposition                                         (3.8)
April 2019   Asset                  04/10/19 NM              260 Correspond with A. Porter and J. Rak regarding code violations on first tranche of properties           0.4 0.0666667         $17.33
             Disposition                                         being sold.


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Asset                  04/11/19 AEP             390 Conferences with J. Rak regarding continuing efforts to obtain water certifications and                0.3         0.05      $19.50
             Disposition                                         efforts to pay delinquent account balances at closing (.3)
April 2019   Asset                  04/11/19 AEP             390 review amended lien waivers received from receivership broker, teleconference with                     0.4 0.0666667         $26.00
             Disposition                                         receivership broker regarding waiver of lien, and conference with K. Duff regarding potential
                                                                 resolution (.4)
April 2019   Asset                  04/11/19 JR              140 modify and review closing documents in preparation for closing at the end of the month for             2.9 0.4833333         $67.67
             Disposition                                         the first tranche (2.9).
April 2019   Asset                  04/11/19 JR              140 email follow up to A. Porter regarding same (.1)                                                       0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/11/19 JR              140 email communication with City of Chicago IT department regarding expiration of new water               0.2 0.0333333          $4.67
             Disposition                                         certification applications (.2)
April 2019   Asset                  04/11/19 JR              140 Exchange correspondence with the title company regarding payment of water bills at closing             1.2          0.2      $28.00
             Disposition                                         and preparation for the closings (1.2)
April 2019   Asset                  04/11/19 JR              140 emails with broker regarding revised commission statements and broker's lien for properties            0.8 0.1333333         $18.67
             Disposition                                         in the first tranche (.8)
April 2019   Asset                  04/11/19 JR              140 email communication to N. Mirjanich regarding same (.1)                                                0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/12/19 JR              140 Follow up communication with the title company attorney regarding the status of payment                0.1 0.0166667          $2.33
             Disposition                                         of the water certification at closing (.1)
April 2019   Asset                  04/12/19 JR              140 update water certificate spreadsheet with the new expiration dates (.3)                                0.3         0.05       $7.00
             Disposition
April 2019   Asset                  04/12/19 JR              140 exchange correspondence with N. Mirjanich regarding meeting with City of Chicago water                 0.2 0.0333333          $4.67
             Disposition                                         department representatives regarding water bills and housing court matters (.2)

April 2019   Asset                  04/12/19 NM              260 Update A. Porter with all housing and administrative court orders for properties in the first          0.2 0.0333333          $8.67
             Disposition                                         tranche of sales.
April 2019   Asset                  04/15/19 JR              140 review property manager's waiver of lien for management company and sent to property                   1.2          0.3      $42.00
             Disposition                                         manager (1.2)
April 2019   Asset                  04/15/19 JR              140 exchange correspondence with management company after final review of lien waivers (1.3)               1.3       0.325       $45.50
             Disposition
April 2019   Asset                  04/15/19 JR              140 Exchange correspondence with management company regarding additional tenant                            0.8 0.1333333         $18.67
             Disposition                                         information on the rent roll in preparation for closing (.8)
April 2019   Asset                  04/15/19 JR              140 review and forward same to buyer's counsel for properties (8100 Essex and 6160 Martin                  1.0          0.5      $70.00
             Disposition                                         Luther King) (1.0)
April 2019   Asset                  04/15/19 JR              140 created spreadsheet for rent roll for closings (.2).                                                   0.2         0.05       $7.00
             Disposition
April 2019   Asset                  04/16/19 JR              140 Exchange correspondence with management company regarding the required closing                         0.3         0.15      $21.00
             Disposition                                         documents the management company will need to produce for closing (.3)

April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 conference with J. Rak regarding status of preparation and collection of closing documents             0.1 0.0166667          $6.50
             Disposition                                         associated with first sales tranche (.1)


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
April 2019   Asset                  04/18/19 JR              140 Exchange correspondence with management company team regarding closing documents                           0.6          0.1      $14.00
             Disposition                                         for properties in the first tranche.
April 2019   Asset                  04/19/19 AEP             390 Teleconference with title company underwriter regarding special exceptions on title policy,                1.5         0.25      $97.50
             Disposition                                         interpretation of federal orders supporting waivers of certain title exceptions, form of future
                                                                 deeds to be issued by receiver in connection with future property sales, and charges at
                                                                 closing.
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd                  3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                      1.0    0.047619       $18.57
             Disposition
April 2019   Asset                  04/19/19 MR              390 conferences regarding issues on sales and use of proceeds (.4).                                            0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/22/19 AEP             390 Meeting with J. Rak and title company representative regarding final inventory and approval                1.5         0.25      $97.50
             Disposition                                         of all documents required for closing, updates to title commitments, and scheduling issues.

April 2019   Asset                  04/22/19 JR              140 Meet with A. Porter prior to closing at the title company to discuss closing documents (.2)                0.2 0.0333333          $4.67
             Disposition
April 2019   Asset                  04/22/19 JR              140 meeting with title company representative to discuss closing procedure and review closing                  1.3 0.2166667         $30.33
             Disposition                                         documents (1.3)
April 2019   Asset                  04/22/19 JR              140 email to A. Porter regarding lien for property manager (.1)                                                0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge                  5.0 0.2380952         $92.86
             Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                              0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                  04/23/19 AEP             390 review, analyze, and update closing checklists for same two unencumbered properties in first               0.5 0.0833333         $32.50
             Disposition                                         sales tranche and communicate with prospective purchase regarding potential scheduling of
                                                                 closing (.5)
April 2019   Asset                  04/23/19 AEP             390 read all e-mails sent between J. Rak and property managers during preceding week and                       0.3         0.05      $19.50
             Disposition                                         respond as needed (.3).
April 2019   Asset                  04/23/19 JR              140 Exchange correspondence with A. Porter regarding the approved motion for sale for                          1.2          0.2      $28.00
             Disposition                                         properties in the first tranche (1.2)
April 2019   Asset                  04/23/19 JR              140 exchange correspondence with property managers regarding leases and rent roll in                           1.3 0.2166667         $30.33
             Disposition                                         preparation for closing of same (1.3)
April 2019   Asset                  04/23/19 JR              140 corrections and revisions to rent roll on all properties for the first tranche in preparation for          4.8          0.8     $112.00
             Disposition                                         closing (4.8).
April 2019   Asset                  04/23/19 MR              390 Confer with K. Duff regarding issues for hearing (.9)                                                      0.9         0.15      $58.50
             Disposition
April 2019   Asset                  04/23/19 MR              390 attend hearing (1.2)                                                                                       1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/23/19 MR              390 conferences and follow up regarding same (.3).                                                             0.3         0.05      $19.50
             Disposition


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
April 2019   Asset                  04/23/19 MR              390 further work in preparation for hearing (2.6)                                                         2.6 0.4333333        $169.00
             Disposition
April 2019   Asset                  04/24/19 AEP             390 conference calls with title company representative regarding mechanics of payment of water            0.3         0.05      $19.50
             Disposition                                         charges at closing and form of approval order to be recorded (.3)

April 2019   Asset                  04/24/19 AEP             390 conferences with K. Duff regarding expected sales proceeds, establishment of segregated               0.5 0.0833333         $32.50
             Disposition                                         bank accounts, brokerage commission issues, and timing of closings (.5)

April 2019   Asset                  04/24/19 AEP             390 read notification of docket entry and proposed order approving sale of first tranche, and             0.5 0.0833333         $32.50
             Disposition                                         revise proposed order to comport with report and recommendation adopted by trial judge
                                                                 for entry of judicial order acceptable to title company (.5)
April 2019   Asset                  04/24/19 AEP             390 conference with J. Rak regarding completion of certified rent rolls and procedure for                 0.4 0.0666667         $26.00
             Disposition                                         computation of closing credit to purchaser in connection with proration of monthly rents
                                                                 (.4).
April 2019   Asset                  04/24/19 JR              140 email communication to title company representative sending court order approving first               0.1 0.0166667          $2.33
             Disposition                                         tranche sale of properties (.1)
April 2019   Asset                  04/24/19 JR              140 exchange correspondence with N. Mirjanich regarding closing dates on two additional                   0.1         0.05       $7.00
             Disposition                                         properties in the first tranche (8100 Essex and 6160 Martin Luther King) (.1)

April 2019   Asset                  04/24/19 JR              140 update rent roll with prorated amounts (.7).                                                          0.7         0.35      $49.00
             Disposition
April 2019   Asset                  04/24/19 MR              390 Attention to revised order and other issues for closing.                                              0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconferences with title company representatives regarding last-minute issues (.7)                  0.7 0.1166667         $45.50
             Disposition
April 2019   Asset                  04/25/19 AEP             390 review, proofread, and revise certified rent rolls (1.2)                                              1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 revise and submit seller's closing figures (1.2)                                                      1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 Finalize all closing documents (4.0)                                                                  4.0 0.6666667        $260.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconference with receivership broker regarding finalization of agreement regarding                 0.2 0.0333333         $13.00
             Disposition                                         payment of commissions (.2)
April 2019   Asset                  04/25/19 AEP             390 teleconferences with buyer's counsel regarding purchaser satisfaction of specified closing            0.3         0.05      $19.50
             Disposition                                         conditions (.3)
April 2019   Asset                  04/25/19 AEP             390 oversee document execution and notarization process (.4).                                             0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/25/19 JR              140 exchange correspondence with A. Watychowicz regarding certification of order for closing              0.1 0.0166667          $2.33
             Disposition                                         (.1)
April 2019   Asset                  04/25/19 JR              140 further emails with buyer's counsel regarding scheduling properties (6160 Martin Luther King          0.2          0.1      $14.00
             Disposition                                         and 8100 S. Essex) (.2)
April 2019   Asset                  04/25/19 JR              140 email to title company regarding closings documents and requesting to schedule closing of             0.1         0.05       $7.00
             Disposition                                         same (.1)


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                            Allocated       Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                             Hours            Fees
April 2019   Asset                  04/25/19 KMP             140 conference with J. Rak regarding account information for transfer of funds in connection                    0.1       0.025           $3.50
             Disposition                                         with upcoming closing (.1).
April 2019   Asset                  04/25/19 KMP             140 Review and notarize documents for upcoming closing on EB properties and conference with                     0.4          0.1         $14.00
             Disposition                                         K. Duff and A. Porter regarding same (.4)
April 2019   Asset                  04/25/19 MR              390 Attention to closing related issues.                                                                        0.2 0.0333333            $13.00
             Disposition
April 2019   Asset                  04/25/19 SZ              110 In-person certification of court order at the federal court for sale and closing purposes of first          0.7 0.1166667            $12.83
             Disposition                                         tranche of properties.
April 2019   Asset                  04/26/19 AEP             390 teleconference with receivership broker regarding resolution of commission issue (.3).                      0.3         0.05         $19.50
             Disposition
April 2019   Asset                  04/26/19 AEP             390 conferences with J. Rak and title underwriter regarding planning for ensuing week's closings                0.5 0.0833333            $32.50
             Disposition                                         (.5)
April 2019   Asset                  04/26/19 AEP             390 teleconference with K. Duff regarding resolution of brokerage commission issue and prepare                  0.4 0.0666667            $26.00
             Disposition                                         updated lien waivers (.4)
April 2019   Asset                  04/26/19 JR              140 forward closing confirmation to all parties regarding properties (8100 S. Essex and 6160                    0.3         0.15         $21.00
             Disposition                                         Martin Luther King) (.3)
April 2019   Asset                  04/26/19 MR              390 Attention to issues on closing related issues (.2)                                                          0.2 0.0333333            $13.00
             Disposition
April 2019   Asset                  04/26/19 MR              390 follow up on various issues regarding property sales (.3)                                                   0.3         0.05         $19.50
             Disposition
April 2019   Asset                  04/27/19 AEP             390 multiple communications with receivership brokers and asset managers regarding                              1.0 0.1666667            $65.00
             Disposition                                         finalization of lien waivers (1.0).
April 2019   Asset                  04/27/19 AEP             390 Assemble revised title commitments for all eight remaining unsold properties in first                       2.5 0.4166667           $162.50
             Disposition                                         marketing tranche, compare special exceptions on revised commitments to special
                                                                 exceptions on prior commitments, and update closing checklists accordingly (2.5)

April 2019   Asset                  04/27/19 AEP             390 assemble all pleadings and orders associated with pending actions encumbering unsold                        1.0 0.1666667            $65.00
             Disposition                                         properties and forward same to counsel for respective purchasers with suggestions to
                                                                 defend future hearings and reminders that title will be conveyed subject to government
                                                                 proceedings (1.0)
April 2019   Asset                  04/28/19 AEP             390 Prepare nearly all closing documents for anticipated conveyance of receivership property                    4.0               4   $1,560.00
             Disposition                                         (8100 S Essex) (4.0)
April 2019   Asset                  04/28/19 AEP             390 review title invoices, check property tax balances, and update seller's closing figures for                 0.5 0.0833333            $32.50
             Disposition                                         anticipated conveyances (.5).
April 2019   Asset                  04/29/19 AEP             390 conferences with K. Duff and M. Rachlis regarding resolution of amounts claimed on                          0.2 0.0333333            $13.00
             Disposition                                         property manager's lien waivers (.2)
April 2019   Asset                  04/29/19 AEP             390 communication with property manager regarding adequacy of lien waiver (.2)                                  0.2 0.0333333            $13.00
             Disposition
April 2019   Asset                  04/29/19 AEP             390 conference calls with purchasers' counsel, acquisition lenders, title company underwriters,                 0.7         0.35        $136.50
             Disposition                                         property managers, and receivership brokers to resolve and settle all outstanding closing
                                                                 issues for two receivership properties (6160 S King and 8100 S Essex) (.7)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/29/19 AEP             390 communication with K. Duff regarding impact of property tax reductions on closings (.2)                  0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/29/19 AEP             390 review e-mails regarding scheduling of closings, wire transfer issues, and other matters (.3)            0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/29/19 AEP             390 and proofread, edit, revise, and finalize all closing documents for two receivership properties          0.7         0.35     $136.50
             Disposition                                         (6160 S King and 8100 S Essex) (.7).
April 2019   Asset                  04/29/19 JR              140 Drafting final closing documents for properties (6160 Martin Luther King and 8100 S. Essex)              3.3         1.65     $231.00
             Disposition                                         (3.3)
April 2019   Asset                  04/29/19 JR              140 update and prepare documents and meet with K. Duff and A. Porter to work on execution of                 3.8 0.6333333         $88.67
             Disposition                                         sales documents (3.8)
April 2019   Asset                  04/29/19 JR              140 exchange correspondence with A. Porter regarding rent prorations (.2)                                    0.2          0.2      $28.00
             Disposition
April 2019   Asset                  04/29/19 KMP             140 Conference with K. Duff and J. Rak regarding required payment of outstanding tax bills and               0.2 0.0333333          $4.67
             Disposition                                         other issues related to upcoming closing.
April 2019   Asset                  04/29/19 MR              390 Conferences regarding closing issues.                                                                    0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/29/19 NM              260 Study and exchange email correspondence with A. Porter and K. Duff regarding sale of                     0.3         0.15      $39.00
             Disposition                                         properties (8100 S. Essex and 6160 King Drive) (.3)
April 2019   Asset                  04/30/19 AEP             390 attend closings of two receivership properties (6160 S King and 8100 S Essex) (3.5)                      3.5         1.75     $682.50
             Disposition
April 2019   Asset                  04/30/19 AEP             390 communications with property managers regarding reimbursements of property tax                           0.3         0.05      $19.50
             Disposition                                         advances at closings (.3)
April 2019   Asset                  04/30/19 JR              140 attend closing of sale of properties (6160 S. King and 8100 S Essex) (3.5)                               3.5         1.75     $245.00
             Disposition
April 2019   Asset                  04/30/19 JR              140 Exchange correspondence with management company regarding delivery of keys to the                        0.2          0.1      $14.00
             Disposition                                         closing (.2)
April 2019   Business               04/01/19 NM              260 revise spreadsheet and correspondence to water department regarding outstanding water                    1.2          0.2      $52.00
             Operations                                          balances and correspond with J. Rak regarding same (1.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                              0.3 0.0028037          $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest              2.1 0.0196262          $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,               0.3 0.0028302          $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/03/19 NM              260 revise and send letter and spreadsheet to creditor regarding outstanding utilities and                   0.5 0.0833333         $21.67
             Operations                                          sending bills for same to property managers (.5)
April 2019   Business               04/08/19 NM              260 study and exchange correspondence relating to outstanding water utility balances (.2).                   0.2 0.0333333          $8.67
             Operations
April 2019   Business               04/11/19 AEP             390 customize public adjuster contract for execution by receiver and circulate for signatures (.2)           0.2          0.2      $78.00
             Operations
April 2019   Business               04/11/19 AEP             390 Read and analyze all e-mail correspondence relating to management company regarding                      0.7          0.7     $273.00
             Operations                                          certain building maintenance expenses and terms of proposed resolution of issue (.7)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Business               04/11/19 AEP             390 review property tax and water delinquency spreadsheets, update preliminary closing                       1.2          0.2      $78.00
             Operations                                          statements for all properties in first sales tranche, and begin preparation of sources and uses
                                                                 spreadsheet to guide near-term cash management strategy (1.2).

April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                         0.2 0.0029412          $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                  0.2 0.0029412          $1.15
             Operations
April 2019   Business               04/12/19 NM              260 Exchange correspond with City and internally regarding outstanding water balances and                    0.3         0.05      $13.00
             Operations                                          meeting regarding same.
April 2019   Business               04/15/19 NM              260 correspond with J. Rak, A. Porter, and City attorney regarding scheduling call relating to               0.2 0.0333333          $8.67
             Operations                                          outstanding water balances and payment of same (.2).
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                      3.9 0.0364486          $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/16/19 NM              260 Study and respond to email correspondence relating to City litigation and water meeting and              0.3         0.05      $13.00
             Operations                                          study emails in EB account.
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                      0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                     1.0 0.0111111          $4.33
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                              0.3 0.0033333          $1.30
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                                 0.6 0.0066667          $2.60
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                          0.2 0.0022222          $0.87
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                         0.8 0.0074766          $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                                0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                       2.5 0.0362319          $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)            2.6 0.0242991          $3.40
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order               4.2 0.0392523          $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                  1.4 0.0130841          $1.83
             Operations
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with               1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                     1.8    0.026087       $10.17
             Operations                                          expenses (1.8)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Business               04/24/19 KMP             140 attention to court orders granting motions to approve sale and for interim financing (.1).               0.1 0.0166667          $2.33
             Operations
April 2019   Business               04/24/19 KMP             140 Study communications with bank representatives regarding details of new Receivership                     0.2         0.05       $7.00
             Operations                                          Estate accounts for purposes of segregating funds from upcoming closings on sales of
                                                                 receivership properties (.2)
April 2019   Business               04/24/19 NM              260 prepare for housing court next week and exchange correspondence with property managers                   0.3 0.0333333          $8.67
             Operations                                          on same (.3).
April 2019   Business               04/26/19 NM              260 Correspond with K. Duff regarding housing court matters next week (.1)                                   0.1 0.0090909          $2.36
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                   0.5 0.0046729          $0.65
             Operations
April 2019   Business               04/29/19 NM              260 prepare for housing court and correspond with property managers regarding same (1.0).                    1.0 0.0909091         $23.64
             Operations
April 2019   Business               04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                     0.1     0.00625        $0.88
             Operations
April 2019   Business               04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                        1.2       0.075       $10.50
             Operations
April 2019   Business               04/30/19 NM              260 Prepare for housing court and communicate with property managers regarding same (.8)                     0.8 0.0727273         $18.91
             Operations
April 2019   Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                     0.8 0.0115942          $4.52
             Administration
             & Objections

May 2019     Asset                  05/01/19 KBD             390 office conference with A. Porter and J. Rak regarding closing documentation (.5)                         0.5       0.125       $48.75
             Disposition
May 2019     Asset                  05/01/19 KBD             390 Meet and exchange correspondence with A. Porter and J. Rak regarding recent closings and                 0.9         0.18      $70.20
             Disposition                                         accounting for sales proceeds and expenses (.9)
May 2019     Asset                  05/06/19 KBD             390 discuss plans for payment of water and water certifications for real estate closing with J. Rak          0.1 0.0166667          $6.50
             Disposition                                         (.1).
May 2019     Business               05/01/19 KBD             390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                        0.1 0.0009346          $0.36
             Operations
May 2019     Business               05/02/19 KBD             390 Planning with J. Rak and A. Porter regarding payment of real estate taxes (.4)                           0.4          0.4     $156.00
             Operations
May 2019     Business               05/03/19 KBD             390 Discuss communications with city officials relating to outstanding water bills with N.                   0.2 0.0333333         $13.00
             Operations                                          Mirjanich (.2)
May 2019     Business               05/06/19 KBD             390 Analysis of spreadsheet from city officials relating to outstanding and past water bills (.2)            0.2 0.0333333         $13.00
             Operations
May 2019     Business               05/08/19 KBD             390 exchange correspondence with E. Duff regarding property manager accounting and                           0.1 0.0041667          $1.63
             Operations                                          allocation (.1).
May 2019     Business               05/20/19 KBD             390 study spreadsheets relating to water accounts for various properties (.2)                                0.2 0.0029851          $1.16
             Operations
May 2019     Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                         0.2 0.0018692          $0.73
             Operations


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Asset                  05/01/19 JR              140 exchange correspondence with broker regarding tax bill for the first tranche (.2)                       0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/01/19 JR              140 Exchange correspondence with K. Duff regarding wire for properties (8100 Essex and 6160                 0.2          0.1      $14.00
             Disposition                                         MLK) (.2)
May 2019     Asset                  05/02/19 JR              140 review payment of real estate property taxes submitted by title company from sales of the               1.2          0.2      $28.00
             Disposition                                         first tranche (1.2)
May 2019     Asset                  05/03/19 JR              140 prepare for city meeting regarding water bills, full payment certificates and housing court             2.1         0.35      $49.00
             Disposition                                         with N. Mirjanich and A. Porter (2.1)
May 2019     Asset                  05/03/19 JR              140 Attention to notices to tenants and send out to tenants for properties (8100 S. Essex and               1.4          0.7      $98.00
             Disposition                                         7927-49 S. Essex) (1.4)
May 2019     Asset                  05/03/19 JR              140 meeting with City of Chicago water department (1.2).                                                    1.2          0.2      $28.00
             Disposition
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                                2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                  05/10/19 JR              140 exchange correspondence transmitting closing statements for properties (6160 Martin                     0.2          0.1      $14.00
             Disposition                                         Luther King and 8100 S. Essex) to E. Duff (.2)
May 2019     Asset                  05/13/19 JR              140 create an executed closing document checklist and organize executed closing documents to                2.9 0.4833333         $67.67
             Disposition                                         the corresponding files for properties that closed in the first tranche (2.9)

May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                  05/15/19 AEP             390 schedule closing of sale of final receivership property in first tranche and provide drafts of          0.2 0.0333333         $13.00
             Disposition                                         revised conveyance documents to purchasers' counsel (.2)
May 2019     Asset                  05/15/19 ED              390 Confer with N. Mirjanich regarding contacts for lenders to receive notice of sale.                      0.2 0.0333333         $13.00
             Disposition
May 2019     Asset                  05/15/19 JR              140 email A. Porter closing statements for properties which closed on the first tranche (.2)                0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/15/19 JR              140 send closing confirmation to management company regarding the last closing on the first                 0.1 0.0166667          $2.33
             Disposition                                         tranche (.1).
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                  05/16/19 JR              140 organize executed closing documents from the first tranche and place in corresponding                   0.6          0.1      $14.00
             Disposition                                         folder (.6)
May 2019     Asset                  05/16/19 JR              140 exchange correspondence with A. Porter regarding closing statements from the first tranche              0.1 0.0166667          $2.33
             Disposition                                         (.1)
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806        $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776          $0.63
             Disposition                                         (.3)


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/01/19 MR              390 Attention to upcoming hearing on housing issues.                                                       0.2 0.0181818          $7.09
             Operations
May 2019     Business               05/01/19 NM              260 Prepare for housing court tomorrow and correspond with K. Duff regarding same (2.5)                    2.5 0.2272727         $59.09
             Operations
May 2019     Business               05/02/19 JR              140 exchange correspondence with K. Duff and A. Porter regarding information obtained from                 0.2          0.2      $28.00
             Operations                                          the Treasurer's office regarding possible tax sale on property taxes (.2).

May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax           2.3 0.0214953          $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                       0.8 0.0074766          $1.05
             Operations
May 2019     Business               05/02/19 NM              260 correspond with M. Rachlis and K. Duff regarding same (.1)                                             0.1 0.0090909          $2.36
             Operations
May 2019     Business               05/02/19 NM              260 appear for housing court on nearly a dozen properties (2.0)                                            2.0 0.1818182         $47.27
             Operations
May 2019     Business               05/02/19 NM              260 Prepare for housing court (1.0)                                                                        1.0 0.0909091         $23.64
             Operations
May 2019     Business               05/03/19 NM              260 prepare for meeting with City water and billing department and correspond with A. Porter               1.7 0.2833333         $73.67
             Operations                                          and J. Rak regarding same (1.7)
May 2019     Business               05/03/19 NM              260 attend meeting for same (1.0)                                                                          1.0 0.1666667         $43.33
             Operations
May 2019     Claims                 05/23/19 NM              260 prepare email to send to all investors and creditors with claims link and send same (1.3)              1.3 0.0160494          $4.17
             Administration
             & Objections

May 2019     Claims                 05/24/19 NM              260 Study responses to correspondence from investors regarding claims portal and process and               1.4    0.017284        $4.49
             Administration                                      draft responses to frequently asked questions to same (1.4)
             & Objections

June 2019    Asset                  06/07/19 KBD             390 Telephone conference with real estate broker regarding real estate broker commission (.2)              0.2 0.0028571          $1.11
             Disposition
June 2019    Business               06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                             0.1 0.0009346          $0.36
             Operations
June 2019    Business               06/05/19 KBD             390 study and revise answers to interrogatories relating to state court lawsuit (8100 Essex) (.3)          0.3          0.3     $117.00
             Operations
June 2019    Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence                  0.4 0.0037383          $1.46
             Operations                                          with J. Rak regarding same (.4)
June 2019    Business               06/28/19 KBD             390 exchange correspondence with A. Porter regarding research on property disposition issue                0.3 0.0033333          $1.30
             Operations                                          (.3).
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                             3.7 0.0345794          $4.84
             Disposition
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                 1.2    0.011215        $1.57
             Disposition


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                  06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                  0.2 0.0142857          $2.00
             Disposition                                         tranche of properties (.2).
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/19/19 MR              390 Attention to issues on purchase and sale agreement issues regarding upcoming sales (.8)                 0.8 0.1333333         $52.00
             Disposition
June 2019    Asset                  06/19/19 MR              390 conferences with K. Duff regarding same (.3).                                                           0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                  06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts             1.8 0.1285714         $18.00
             Disposition                                         (1.8)
June 2019    Asset                  06/24/19 MR              390 Attention to purchase and sales agreements.                                                             0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/25/19 MR              390 Attention to upcoming sales issues.                                                                     0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333          $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                 2.5 0.0277778         $10.83
             Disposition
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667          $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Business               06/24/19 KMP             140 communications with E. Duff regarding allocation of insurance premium refund (.1)                       0.1         0.02       $2.80
             Operations
June 2019    Business               06/27/19 ED              390 and email correspondence K. Duff, A. Porter, and J. Rak regarding same (.1)                             0.1 0.0166667          $6.50
             Operations
June 2019    Business               06/27/19 ED              390 email correspondence with insurance broker regarding policy renewals for sold properties                0.1 0.0166667          $6.50
             Operations                                          (.1)
June 2019    Business               06/27/19 ED              390 review of related documents (.2)                                                                        0.2 0.0333333         $13.00
             Operations




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                       0.2 0.0018868          $0.74
             Operations
July 2019    Business               07/22/19 KBD             390 study draft written discovery responses in state court action (.2)                                     0.2          0.2      $78.00
             Operations
July 2019    Claims                 07/01/19 KBD             390 legal research regarding various issues raised by lenders (.5)                                         0.5    0.005618        $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD             390 prepare for hearing with M. Rachlis (.3)                                                               0.3 0.0033708          $1.31
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD             390 study and revise draft correspondence to Court regarding prior priority and abandonment                0.3 0.0033708          $1.31
             Administration                                      discussions before the Court (.3)
             & Objections

July 2019    Claims                 07/02/19 KBD             390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)             0.5    0.005618        $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD             390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                    0.6 0.0067416          $2.63
             Administration                                      information, and case law (.6)
             & Objections

July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
             Disposition                                         third tranche (1.5)
July 2019    Asset                  07/01/19 JR              140 exchange correspondence with K. Pritchard and E. Duff regarding water payment distribution             0.2 0.0333333          $4.67
             Disposition                                         from the first tranche (.2)
July 2019    Asset                  07/24/19 JR              140 exchange correspondence with N. Mirjanich related to wire confirmations regarding the                  0.3         0.05       $7.00
             Disposition                                         closings from the first series of properties and review emails to K. Pritchard (.3)

July 2019    Asset                  07/24/19 JR              140 Exchange correspondence with A. Porter related to sale (.1)                                            0.1 0.0166667          $2.33
             Disposition
July 2019    Business               07/22/19 NM              260 exchange correspondence with EB counsel regarding discovery in state court matter and                  0.3          0.3      $78.00
             Operations                                          study draft responses to the same (.3)
July 2019    Business               07/23/19 NM              260 correspond with EB counsel regarding discovery responses in state court matter (.3).                   0.3          0.3      $78.00
             Operations
July 2019    Business               07/31/19 NM              260 study discovery responses (.4).                                                                        0.4          0.4     $104.00
             Operations


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Claims                 07/01/19 KMP             140 Conferences with E. Duff and J. Rak regarding confirmation of recent disbursements for                 0.2 0.0666667          $9.33
             Administration                                      various properties relating to May property report to lenders (.2)
             & Objections

July 2019    Claims                 07/08/19 SZ              110 created, populated and reviewed list of investors with claims as to EB properties (5001 S.             1.7 0.2833333         $31.17
             Administration                                      Drexel, 6160 S MLK, 7949 S. Essex, 8100 S. Essex, 7500 S. Eggleston, 7547 S. Essex) (1.7)
             & Objections

July 2019    Claims                 07/08/19 SZ              110 email exchange and confer with K. Duff about the same (.4).                                            0.4         0.08       $8.80
             Administration
             & Objections

July 2019    Claims                 07/30/19 AEP             390 Communications with K. Duff and N. Mirjanich regarding submission of supporting                        0.1          0.1      $39.00
             Administration                                      documentation by party claiming lien on receivership property (8100 S Essex).
             & Objections

August 2019 Business                08/01/19 KBD             390 study draft responses to discovery (8100 Essex) and office conference with N. Mirjanich                0.4          0.4     $156.00
            Operations                                           regarding same (.4).
August 2019 Business                08/27/19 KBD             390 Study and revise answers to interrogatories in state court action and draft correspondence             0.2          0.2      $78.00
            Operations                                           to N. Mirjanich regarding same (.2)
August 2019 Business                08/28/19 KBD             390 telephone conference and exchange correspondence with N. Mirjanich regarding same (.2)                 0.2          0.2      $78.00
            Operations
August 2019 Business                08/28/19 KBD             390 Study and revise responses to written discovery in state court action (8100 Essex) (.9)                0.9          0.9     $351.00
            Operations
August 2019 Business                08/29/19 KBD             390 study revised answers to interrogatories in state court action (.2)                                    0.2          0.2      $78.00
            Operations
August 2019 Claims                  08/01/19 KBD             390 study correspondence from plaintiff's counsel in state court matter and exchange                       0.2          0.2      $78.00
            Administration                                       correspondence with N. Mirjanich regarding same (.2).
            & Objections

August 2019 Business                08/01/19 NM              260 correspond with K. Duff regarding discovery responses in state court EB matter (.1)                    0.1          0.1      $26.00
            Operations
August 2019 Business                08/01/19 NM              260 study same and K. Duff comments to the same (.5).                                                      0.5          0.5     $130.00
            Operations
August 2019 Business                08/02/19 NM              260 telephone conference with EB state court attorney regarding written responses for the same             0.5          0.5     $130.00
            Operations                                           (.5)
August 2019 Business                08/02/19 NM              260 study documents to be produced in EB state court matter (.3)                                           0.3          0.3      $78.00
            Operations
August 2019 Business                08/02/19 NM              260 correspond with E. Duff regarding the same and litigation in other EB matter and insurance             0.1          0.1      $26.00
            Operations                                           for same (.1).
August 2019 Business                08/05/19 NM              260 draft correspondence to EB counsel in state court matter relating to state court lawsuit (.1)          0.1          0.1      $26.00
            Operations




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
August 2019 Business                08/07/19 NM              260 exchange email correspondence with EB counsel regarding the same and service of written               0.1          0.1      $26.00
            Operations                                           responses today (.1)
August 2019 Business                08/07/19 NM              260 telephone conference regarding the same (.2)                                                          0.2          0.2      $52.00
            Operations
August 2019 Business                08/07/19 NM              260 Study email account for responsive documents in state court matter (1.2)                              1.2          1.2     $312.00
            Operations
August 2019 Business                08/22/19 NM              260 Study and respond to emails relating to state court matters and discovery in same, City               0.4 0.1333333         $34.67
            Operations                                           matters and with property managers, and in both the EquityBuild account and claims
                                                                 account.
August 2019 Business                08/23/19 NM              260 study emails for state court matter production (1.2).                                                 1.2          1.2     $312.00
            Operations
August 2019 Business                08/26/19 NM              260 telephone call and exchange email correspondence with EB's counsel in state court matter              0.3          0.3      $78.00
            Operations                                           regarding the same and responses due today (.3)
August 2019 Business                08/26/19 NM              260 Study emails for responsive discovery in state court matter (.2)                                      0.2          0.2      $52.00
            Operations
August 2019 Business                08/27/19 NM              260 Correspond with EB counsel regarding responses in state court matter (.2)                             0.2          0.2      $52.00
            Operations
August 2019 Business                08/27/19 NM              260 study the same and correspond with K. Duff regarding the same (.7).                                   0.7          0.7     $182.00
            Operations
August 2019 Business                08/28/19 AW              140 confer with N. Mirjanich regarding draft answers to discovery, review same, and confer with           0.7          0.7      $98.00
            Operations                                           N. Mirjanich regarding responses prepared by counsel (.7).
August 2019 Business                08/28/19 NM              260 Study and revise discovery requests in state court matter and correspond with K. Duff and EB          1.2          1.2     $312.00
            Operations                                           counsel and A. Watychowicz regarding the same and revisions to the same (1.2)

August 2019 Business                08/29/19 NM              260 study final responses in state court matter and correspond with K. Duff and counsel                   0.5          0.5     $130.00
            Operations                                           regarding the same (.5)
August 2019 Business                08/29/19 NM              260 update notes regarding all outstanding, non-City litigation to reflect the same and other             0.1          0.1      $26.00
            Operations                                           matters (.1)
August 2019 Claims                  08/16/19 NM              260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                    0.5 0.0061728          $1.60
            Administration                                       property with EBF debt (.5)
            & Objections

August 2019 Claims                  08/19/19 JR              140 review email correspondence with A. Porter regarding survey invoice for property (3030 E.             0.2 0.0068966          $0.97
            Administration                                       79th) and exchange correspondence with surveying company (.2).
            & Objections

August 2019 Claims                  08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage             7.3 0.0890244         $12.46
            Administration                                       of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
August 2019 Claims                  08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all              7.8    0.095122       $13.32
            Administration                                       the properties.
            & Objections

August 2019 Claims                  08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the                   8.0    0.097561       $13.66
            Administration                                       recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                  08/23/19 NM              260 Study emails for property (8100 S Essex) (3.7)                                                         3.7          3.7     $962.00
            Administration
            & Objections

August 2019 Claims                  08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                      5.3     0.06625        $9.28
            Administration
            & Objections

August 2019 Claims                  08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.                6.1 0.0753086         $10.54
            Administration
            & Objections

August 2019 Claims                  08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                                   0.2 0.0024691          $0.64
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                         0.2 0.0024691          $0.35
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                               7.5 0.0925926         $12.96
            Administration
            & Objections

August 2019 Claims                  08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                              0.4 0.0049383          $1.28
            Administration
            & Objections

August 2019 Claims                  08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531          $2.77
            Administration
            & Objections

September Asset                     09/20/19 KBD             390 Draft correspondence to J. Rak regarding post-closing reconciliation.                                  0.2         0.04      $15.60
2019      Disposition




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
September    Asset                  09/23/19 KBD             390 study information regarding post-closing reconciliation (.1).                                              0.1 0.0166667          $6.50
2019         Disposition
September    Claims                 09/17/19 KBD             390 study correspondence from N. Mirjanich regarding claimant objection (.1).                                  0.1          0.1      $39.00
2019         Administration
             & Objections

September    Asset                  09/17/19 NM              260 draft response to objection from investor and correspond with K. Duff regarding same (.3).                 0.3          0.3      $78.00
2019         Disposition
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare                 1.2 0.0116505          $1.63
2019         Operations                                          same.
September    Business               09/23/19 KMP             140 communications with K. Duff and property manager regarding instructions for transfer of                    0.2 0.0666667          $9.33
2019         Operations                                          remaining reserves on sold properties (8100 Essex, 7502 Eggleston, 7549 Essex) to
                                                                 Receivership Estate accounts (.2)
September Claims                    09/03/19 NM              260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                          0.2 0.0024691          $0.64
2019      Administration
          & Objections

September Claims                    09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors                   2.8          0.2      $28.00
2019      Administration                                         claim list (2.8)
          & Objections

September Claims                    09/05/19 NM              260 study claims forms and public record for property (8100 S Essex) and Exhibit 1 to third claims             2.2          2.2     $572.00
2019      Administration                                         status report (2.2)
          & Objections

September Claims                    09/10/19 NM              260 correspond with K. Duff regarding the same (.1)                                                            0.1 0.0066667          $1.73
2019      Administration
          & Objections

October      Asset                  10/07/19 JR              140 exchange communication with property manager forwarding wire instructions regarding                        0.1 0.0166667          $2.33
2019         Disposition                                         same (.1)
October      Asset                  10/07/19 JR              140 confer with K. Duff relating to status of wire instructions regarding post closing reconciliation          0.2 0.0333333          $4.67
2019         Disposition                                         of properties in the first tranche (.2)
October      Asset                  10/18/19 NM              260 Study motions to approve sale of the first tranche and process for second tranche in advance               0.8 0.0444444         $11.56
2019         Disposition                                         of court hearing (.8)
October      Asset                  10/18/19 NM              260 correspond with K. Duff, M. Rachlis, A. Porter, and real estate broker in advance of same (.3).            0.3 0.0166667          $4.33
2019         Disposition
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare                 0.9 0.0087379          $1.22
2019         Operations                                          same.
November     Asset                  11/15/19 KBD             390 study information regarding sold properties and sales proceeds (.1)                                        0.1 0.0083333          $3.25
2019         Disposition
November     Asset                  11/19/19 KBD             390 study post-closing reconciliation spreadsheet (.1).                                                        0.1 0.0083333          $3.25
2019         Disposition


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November     Asset                  11/12/19 JR              140 update spreadsheet with closed properties summary (.3)                                                   0.3       0.025       $3.50
2019         Disposition
November     Asset                  11/15/19 JR              140 finalize closing spreadsheet for properties that already closed (.2)                                     0.2 0.0166667         $2.33
2019         Disposition
November     Asset                  11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                     0.4       0.025       $3.50
2019         Disposition                                         properties (.4)
November     Asset                  11/19/19 JR              140 prepare a post-closing reconciliation spreadsheet with properties that closed in the first               0.8 0.1333333        $18.67
2019         Disposition                                         series and update amounts of funds received (.8)
November     Asset                  11/19/19 JR              140 communication with K. Pritchard relating to same and to confirm amounts in account (.1)                  0.1 0.0166667         $2.33
2019         Disposition
November     Asset                  11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from            0.4 0.0285714         $4.00
2019         Disposition                                         property managers on sold properties, and communicate with J. Rak regarding same.

November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                          reports (.4)
November     Business               11/18/19 ED              390 Confer with J. Rak regarding reporting of final account reconciliations with property                    0.4 0.0333333        $13.00
2019         Operations                                          managers sold properties (.4)
November     Business               11/18/19 NM              260 Address pending City matters by communicating with property manager regarding more                       1.4 0.0608696        $15.83
2019         Operations                                          than a dozen administrative and housing matters some of which are in court next week and
                                                                 communicate with City regarding the same.
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019         Operations
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961         $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019         Operations                                          information for review (.3)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845         $3.81
2019         Operations                                          (2.8).


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                  0.4 0.0038835         $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders               0.5 0.0048544         $1.89
2019         Administration                                      (.5).
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                           3.8 0.0368932        $14.39
2019         Administration
             & Objections

December     Claims                 12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                         0.1 0.0012346         $0.48
2019         Administration                                      correspondence to A. Watychowicz regarding same.
             & Objections

December     Asset                  12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties          0.1 0.0076923         $1.08
2019         Disposition                                         information (.1)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)            0.1 0.0071429         $1.00
2019         Disposition
December     Asset                  12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                              0.2 0.0117647         $1.65
2019         Disposition
December     Asset                  12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                        1.0 0.0588235         $8.24
2019         Disposition
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/04/19 NM              260 Study and respond to email correspondence relating to other EquityBuild lawsuits, City               0.8 0.1333333        $34.67
2019         Operations                                          matters on properties for sale, City matters and property manager, claimants, and potential
                                                                 claimants.
December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                          reports (.2)
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                          with accountant regarding comments and corrections.


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8100 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767        $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049          $6.44
2019         Administration
             & Objections

December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379          $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 MR              390 Attention to Chang subpoena (.1)                                                                     0.1 0.0012346          $0.48
2019         Administration
             & Objections

December     Claims                 12/03/19 AEP             390 Read correspondence from claimant and prepare e-mail to N. Mirjanich regarding potential             0.1          0.1      $39.00
2019         Administration                                      return of original files submitted during claims process and potential acknowledgment of
             & Objections                                        receipt of claim.

December     Claims                 12/05/19 MR              390 Attention to and follow up on lender's inquiry and edit response.                                    0.3 0.0037037          $1.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835          $1.51
2019         Administration
             & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Business               01/17/20 KBD             390 exchange correspondence with N. Mirjanich regarding mediation (.2).                                      0.2          0.2      $78.00
2020         Operations
January      Asset                  01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed                     0.5 0.0294118          $4.12
2020         Disposition                                         properties (.5)
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                 1.2 0.0116505          $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                 1.6    0.015534        $2.17
2020         Disposition
January      Asset                  01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                       0.2 0.0117647          $1.65
2020         Disposition
January      Asset                  01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                             0.9 0.0529412          $7.41
2020         Disposition
January      Asset                  01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                                     0.7 0.0411765          $5.76
2020         Disposition
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020         Operations
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020         Operations
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020         Operations
January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534        $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835          $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/06/20 MR              390 Attention to third party claims (1.2)                                                                    1.2 0.0148148          $5.78
2020         Administration
             & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                 1.2 0.0116505         $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417         $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                   0.6 0.0058252         $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                      remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

February     Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                          Duff regarding same (.4)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Claims                 02/26/20 KBD             390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to            0.4 0.0049383         $1.93
2020         Administration                                      investor accounts (.4).
             & Objections

February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                     5.2 0.2888889        $40.44
2020         Disposition
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846         $1.13
2020         Operations
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                         2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                 0.2 0.0019231         $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting            0.5 0.0048077         $1.88
2020         Administration                                      reports.
             & Objections

March 2020 Asset                    03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                     1.4 0.0777778        $10.89
           Disposition
March 2020 Asset                    03/05/20 JR              140 update closed property spreadsheet (.4)                                                             0.4 0.0222222         $3.11
           Disposition
March 2020 Asset                    03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet               0.2 0.0111111         $1.56
           Disposition                                           regarding closed properties and forward same (.2)
March 2020 Asset                    03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                  0.6 0.0333333         $4.67
           Disposition
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold             0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                        0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same            2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                 0.2 0.0153846         $2.15
           Operations                                            finance payments based on sales of properties.
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                     0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.               4.1 0.0398058         $5.57
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                            0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which          0.4 0.0038835         $1.51
           Administration                                        to deposit funds (.4)
           & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).                  1.4 0.0189189         $2.65
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                                    1.0 0.0136986         $1.92
           Administration
           & Objections

March 2020 Claims                   03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review                2.8 0.0378378         $5.30
           Administration                                        claimant forms.
           & Objections

March 2020 Claims                   03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                         2.1 0.0265823         $3.72
           Administration
           & Objections

March 2020 Claims                   03/12/20 JR              140 Review claims documents.                                                                              3.1 0.0382716         $5.36
           Administration
           & Objections

March 2020 Claims                   03/13/20 JR              140 Work on claims review process with J. Wine.                                                           2.2 0.0271605         $3.80
           Administration
           & Objections

March 2020 Claims                   03/16/20 JR              140 Review claimant forms.                                                                                2.5 0.0308642         $4.32
           Administration
           & Objections




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8100 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
March 2020 Claims                   03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                           0.7     0.00875       $1.23
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 Review claimant forms (3.4)                                                                         3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/19/20 JR              140 Review claim forms.                                                                                 3.3     0.04125       $5.78
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 Review claims forms (5.4)                                                                           5.4 0.0666667         $9.33
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).                      0.2 0.0024691         $0.35
           Administration
           & Objections

March 2020 Claims                   03/23/20 JR              140 exchange correspondence with A. Pruitt and J. Wine regarding alternative addresses omitted          1.1 0.0478261         $6.70
           Administration                                        from the master spreadsheet and add same (1.1).
           & Objections

March 2020 Claims                   03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)                   3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 review claimant forms and rollover information (2.1)                                                2.1 0.0259259         $3.63
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                          0.9 0.0111111         $1.56
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 research for responding to claims vendor regarding property numbers of assets for claims            0.3     0.00375       $0.98
           Administration                                        database (.3)
           & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Claims                   03/24/20 JRW             260 update responses to frequently asked questions (.2)                                                   0.2 0.0024691          $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 Attention to responding to claimant inquiry (.2)                                                      0.2 0.0024691          $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 email exchange with K. Duff regarding segregation of claims and supporting documentation              0.1 0.0012821          $0.33
           Administration                                        by tranche (.1)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 extended conference with A. Pruitt regarding analysis of claims and updating of master                0.8 0.0101266          $2.63
           Administration                                        claims spreadsheet (.8)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)               0.9     0.01125        $2.93
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 study spreadsheet of claim information received from claims vendor (.8).                              0.8         0.01       $2.60
           Administration
           & Objections

April 2020   Asset                  04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and            1.1 0.0135802          $5.30
             Disposition                                         housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                 dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                 brought to the prospective purchasers' attention, and relationship between individual
                                                                 property owners and EquityBuild funds (1.1)

April 2020   Asset                  04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and              1.1 0.0135802          $1.90
             Disposition                                         litigation matters (1.1)
April 2020   Business               04/21/20 ED              390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations
April 2020   Business               04/21/20 ED              390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126          $1.14
             Operations
April 2020   Claims                 04/02/20 JRW             260 conference call with A. Porter and J. Rak regarding code violations against properties under          0.7    0.008642        $2.25
             Administration                                      contract and process for updating records (.7).
             & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2020   Claims                 04/10/20 ED              390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                      documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/10/20 ED              390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                      accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                  0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                        0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                  0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                        0.3 0.0176471         $6.88
             Disposition
May 2020     Asset                  05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings            0.3 0.0176471         $6.88
             Disposition                                         and sales (.3)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
             Operations
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709         $0.14
             Disposition                                         companies (.1)




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957         $1.22
             Disposition                                         (.2).
May 2020     Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462         $0.54
             Disposition                                         closings (.1)
May 2020     Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016       $2.24
             Disposition                                         (.4)
May 2020     Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008       $1.12
             Disposition
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                 regarding missing reports.
May 2020     Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                 amounts by property (.5).
May 2020     Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                          regarding same
May 2020     Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                          correspondence.
May 2020     Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/29/20 ED              390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED              390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED              390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 MR              390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/14/20 ED              390 Review drafts of February property accounting reports (1.1)                                         1.1 0.0106796         $4.17
             Administration
             & Objections




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8100 S Essex Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417          $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417          $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126          $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709          $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709          $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544          $1.89
             Administration                                  (.5)
             & Objections

June 2020    Business               06/24/20 KBD         390 study correspondence from insurance counsel regarding settlement of plaintiffs' claims             0.1          0.1      $39.00
             Operations                                      (8100 Essex) (.1).
June 2020    Business               06/25/20 KBD         390 Exchange correspondence regarding settlement of state court action (8100 Essex) and draft          0.6          0.6     $234.00
             Operations                                      language relating to same (.6)
June 2020    Claims                 06/06/20 KBD         390 Attention to responses to claimants.                                                               0.4 0.0363636         $14.18
             Administration
             & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2020    Claims                 06/29/20 KBD             390 Attention to claimants' inquiries and exchange various correspondence regarding same.                 0.7 0.2333333        $91.00
             Administration
             & Objections

June 2020    Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                     0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)               0.9     0.05625       $7.88
             Disposition
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215         $6.91
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063        $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797        $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012       $1.68
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961         $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466         $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087         $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                 0.2 0.0019417         $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                    0.2 0.0019417         $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)              0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting               0.6 0.0058252         $2.27
             Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                 unsold properties (.6)
June 2020    Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                             0.5 0.0048544         $1.89
             Operations
June 2020    Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                            0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)            0.2 0.0019417         $0.76
             Operations


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
June 2020    Business               06/25/20 AW              140 Attention to email from counsel regarding settlement (8100 S Essex) and communicate with                 0.1          0.1      $14.00
             Operations                                          K. Duff regarding same. Correspondence with counsel regarding settlement of litigation
                                                                 concerning
June 2020    Business               06/25/20 JRW             260 liability insurance on property (8100 S. Essex) (.1)                                                     0.1          0.1      $26.00
             Operations
June 2020    Business               06/25/20 JRW             260 related exchange with M. Rachlis and K. Duff regarding release and claims against property               0.1          0.1      $26.00
             Operations                                          (8100 S Essex) (.1).
June 2020    Business               06/25/20 MR              390 Review emails regarding settlement and research on language for settlement and follow up                 1.2          1.2     $468.00
             Operations                                          regarding same with K. Duff and J. Wine.
June 2020    Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                    0.4 0.0222222          $5.78
             Administration                                      properties with no institutional debt (.4).
             & Objections

July 2020    Business               07/14/20 KBD             390 exchange correspondence with counsel in third party action (8100 Essex) and study                        0.4          0.4     $156.00
             Operations                                          settlement agreement relating to same (.4).
July 2020    Business               07/20/20 KBD             390 exchange correspondence with E. Duff regarding analysis of expenses for properties (8100                 0.4          0.2      $78.00
             Operations                                          Essex, 8209 Ellis) (.4).
July 2020    Business               07/27/20 KBD             390 Study financial report relating to property (8100 Essex) (.1)                                            0.1          0.1      $39.00
             Operations
July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                  1.3 0.0126214          $1.77
             Disposition
July 2020    Asset                  07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and                0.9 0.0230769          $9.00
             Disposition                                         completeness in connection with final reconciliation and payment of municipal judgments
                                                                 (.9).
July 2020    Asset                  07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution             0.5 0.0128205          $5.00
             Disposition                                         of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020    Asset                  07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative             1.7 0.0435897         $17.00
             Disposition                                         and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                 spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                 reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                 receivership properties, both current and former (1.7).

July 2020    Asset                  07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538         $18.00
             Disposition                                         receivership properties in connection with effort to achieve full and final accord with City of
                                                                 Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020    Asset                  07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026         $25.00
             Disposition                                         with receivership properties and completion of spreadsheet of outstanding judgments (2.5).




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
July 2020    Asset                  07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718         $37.00
             Disposition                                         violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                 properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                 cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                 reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                 of final sales tranche (3.7)
July 2020    Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                          0.1 0.0027778          $0.39
             Disposition
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                                0.4 0.0038835          $1.51
             Operations
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                          3.7 0.0359223         $14.01
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                              0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                   0.4 0.0038835          $1.51
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related                 0.6 0.0058252          $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                    0.7 0.0067961          $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                       0.3 0.0029126          $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                     0.8    0.007767        $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.            0.8    0.007767        $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                  0.8 0.0235294          $3.29
             Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business               07/14/20 JRW             260 review and revise draft settlement agreement in pending litigation (.3).                                 0.3          0.3      $78.00
             Operations
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                      0.2 0.0019417          $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                                0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/22/20 ED              390 review and analysis of property manager reporting with respect to sold property (8100 S                  0.7          0.7     $273.00
             Operations                                          Essex) to determine reimbursable amounts (.7)
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports              0.3 0.0029126          $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                  0.3 0.0029126          $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                          3.7 0.0359223          $5.03
             Operations                                          management relating to all income and loss statements (3.7).


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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252          $0.82
             Operations
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544          $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/27/20 AW              140 attention to revised financial report for property (8100 S Essex) and apply requested                  0.1          0.1      $14.00
             Operations                                          revisions (.1)
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767        $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417          $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301        $3.26
             Administration
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835          $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417          $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049          $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252          $2.27
             Administration
             & Objections

August 2020 Business                08/19/20 KBD             390 and settlement of another action (.1).                                                                 0.1          0.1      $39.00
            Operations
August 2020 Business                08/21/20 KBD             390 Exchange correspondence with J. Wine regarding settlement of state court action.                       0.2          0.2      $78.00
            Operations
August 2020 Claims                  08/04/20 KBD             390 draft correspondence to other claimant's counsel regarding requests for records (.3)                   0.3 0.0037037          $1.44
            Administration
            & Objections




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709          $0.14
            Disposition
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095          $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952          $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767        $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381          $5.94
            Operations
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709          $0.38
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126          $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/19/20 JRW             260 telephone conference with insurance counsel regarding status of various matters (.5)                    0.5 0.1666667         $43.33
            Operations
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126          $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/21/20 JRW             260 review settlement agreement and related communications with K. Duff (.4).                               0.4          0.4     $104.00
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter                  0.4 0.0038835          $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
September    Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                             0.2 0.0045455          $1.77
2020         Disposition
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                        0.2 0.0019417          $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                     0.3 0.0029126          $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                      0.2 0.0019417          $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                       0.3 0.0029126          $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting                1.2 0.0116505          $4.54
2020         Operations                                          (1.2)
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                          0.2 0.0019417          $0.76
2020         Operations
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly             0.2 0.0019417          $0.27
2020         Operations                                          (.2).
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.               1.2 0.0116505          $4.54
2020         Operations




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
September    Business               09/24/20 JRW             260 review settlement agreement and orders in EquityBuild matter [Foley] (.2).                           0.2          0.2      $52.00
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571          $1.11
2020         Operations
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388          $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379          $1.22
2020         Disposition
October      Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455          $0.64
2020         Disposition
October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544          $0.68
2020         Disposition                                         information (.5)
October      Business               10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016        $6.24
2020         Operations
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417          $0.76
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379          $3.41
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709          $0.38
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126          $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709          $0.38
2020         Operations
October      Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767        $3.03
2020         Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                 reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED              390 final review of May reports (1.0).                                                                   1.0 0.0097087          $3.79
2020         Operations
October      Business               10/08/20 ED              390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631          $5.68
2020         Operations                                          of May 31, 2020 (1.5)
October      Business               10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544          $1.89
2020         Operations                                          reports (.5).
October      Business               10/08/20 ED              390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024        $9.36
2020         Operations
October      Business               10/09/20 AW              140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796          $1.50
2020         Operations                                          regarding reports.
October      Business               10/09/20 ED              390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544          $1.89
2020         Operations                                          amounts (.2) organize financial data for use in preparing accounting reports (.3).




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October      Business               10/09/20 ED              390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business               10/13/20 ED              390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016       $6.24
2020         Operations
October      Business               10/13/20 ED              390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 ED              390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                          approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                                 Properties (.7).
October      Business               10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                          accounting reports (.3)
October      Business               10/20/20 ED              390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                          restoration and future reporting from receivership, including attachments describing funds
                                                                 transfers and confer with K. Duff regarding same (.8)
October      Business               10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                          property manager (.2)
October      Business               10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                          updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                          reports, and review of related financial information.
November     Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022       $3.08
2020         Disposition
November     Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868         $0.26
2020         Disposition
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                          property reports (.3)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)


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8100 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
December     Claims                 12/22/20 KBD             390 revise correspondence to claimant's counsel (6437-41 S Kenwood Avenue, 8100 S Essex                  0.2         0.05      $19.50
2020         Administration                                      Avenue, 701-13 S 5th Avenue, 7508 S Essex Avenue) (.2)
             & Objections

December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020         Disposition                                         discrepancy (.9)
December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020         Disposition                                         (.1)
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                          property managers (2.6).
December     Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                          preparation of September property accounting reports (.1)
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations
December     Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020         Operations
December     Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020         Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                          properties (.9).




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8100 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
December     Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                              0.2 0.0019048         $0.74
2020         Operations
December     Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and          0.4 0.0038095         $1.49
2020         Operations                                          changes (.4)
December     Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule             0.4 0.0038095         $1.49
2020         Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                 agreements, and updates to schedule of properties.
December     Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                   0.2 0.0019048         $0.74
2020         Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                 relating to same.
January      Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                   0.2 0.0019048         $0.74
2021         Operations
January      Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property           0.2 0.0019048         $0.74
2021         Operations                                          expenses.
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                 0.1 0.0009524         $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase            2.2 0.0203704         $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                     0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)               0.5 0.0047619         $1.86
2021         Operations
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                       0.1 0.0009524         $0.37
2021         Operations
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations




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8100 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and              0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property             0.2 0.0033333         $0.47
2021         Operations                                          report (.2)
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021         Operations
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021         Operations
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)




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8100 S Essex Avenue                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905          $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619        $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095          $0.53
2021         Operations
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143          $0.80
2021         Administration                                      lenders.
             & Objections

January      Claims                 01/26/21 JP                   95 review lender statement of accounts, full client history, and mortgagee spreadsheet and          1.8          1.8     $171.00
2021         Administration                                          complete claims analysis for property (8100 S Essex Avenue) (1.8).
             & Objections

February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697          $0.51
2021         Disposition                                         and status of same (.4)
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797          $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644          $4.63
2021         Operations
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048          $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762          $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762          $4.09
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857          $4.80
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048          $0.27
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571          $0.40
2021         Operations                                          reporting.
February     Claims                 02/12/21 SZ              110 Continued to review claims (1700-08 W Juneway Terrace, 7749-59 S Yates Boulevard, 6160-              5.0       0.625       $68.75
2021         Administration                                      6212 S Martin Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S
             & Objections                                        Sacramento Avenue, 6001-05 S Sacramento Avenue, 7237-43 S Bennett Avenue) and update
                                                                 with information about independent contractors and trade consultants.




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8100 S Essex Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
February     Claims                 02/15/21 JRW             260 confer with J. Rak and S. Zjalic regarding claims review and related review of claims (8100 S          0.6          0.6     $156.00
2021         Administration                                      Essex Avenue) (.6)
             & Objections

March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                            2.2 0.0209524          $8.17
           Operations
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                     0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                  0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                   0.2 0.0019048          $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership                 1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).                0.1 0.0009524          $0.37
           Operations
March 2021 Claims                   03/11/21 SZ              110 Email communication with J. Wine regarding update on review of properties (1700-08 W                   0.4 0.0285714          $3.14
           Administration                                        Juneway Terrace, 5450-52 S Indiana Avenue, 7749-59 S Yates Boulevard, 6160-6212 S Martin
           & Objections                                          Luther King Drive, 6437-41 S Kenwood Avenue, 8100 S Essex Avenue, 5955 S Sacramento
                                                                 Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 7237-43 S Bennett
                                                                 Avenue, 701-13 S 5th Avenue, Maywood, 11117-11119 S Longwood Drive, 7834-44 S Ellis
                                                                 Avenue, 4611-17 S Drexel Boulevard).

April 2021   Asset                  04/01/21 JR              140 exchange further correspondence with A. Porter regarding discrepancy found on master EB                0.1       0.025        $3.50
             Disposition                                         portfolio spreadsheet related to net proceeds of closed properties (8100 S Essex Avenue,
                                                                 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 4315-19 S Michigan Avenue) (.1)

April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                       0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                  04/02/21 JR              140 update master EquityBuild portfolio spreadsheet with correct net proceed amounts for                   0.2         0.05       $7.00
             Disposition                                         various properties (8100 S Essex Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett
                                                                 Avenue, 4315-19 S Michigan Avenue) (.2)
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and             0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                 1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-              0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to               0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)


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8100 S Essex Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873         $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125       $0.44
             Disposition                                         (.2)
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for four properties (11117-11119 S               0.3       0.075      $29.25
             Operations                                          Longwood Drive, 7237-43 S Bennett Avenue, 6437-41 S Kenwood Avenue, 8100 S Essex
                                                                 Avenue (.3)
April 2021 Business                 04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524         $0.13
           Operations                                            respond accordingly (.1)
April 2021 Business                 04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857         $2.00
           Operations
April 2021 Business                 04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762         $4.27
           Operations
May 2021 Business                   05/03/21 JR              140 review requested property information from property management and update same [see                 0.8 0.0092593         $1.30
           Operations                                            A].
May 2021 Business                   05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                    1.3    0.012381       $1.73
           Operations
May 2021 Business                   05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third            0.1 0.0012346         $0.17
           Operations                                            restoration motion (.1).
June 2021 Business                  06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent             0.5 0.0047619         $1.86
           Operations                                            and forward to accountant for use in preparation of reports (.5)
July 2021  Asset                    07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                0.2 0.0018868         $0.26
           Disposition                                           regarding closed properties status (see D) (.2)
July 2021  Business                 07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                    0.2 0.0024691         $0.35
           Operations                                            accordingly (see I).
September Business                  09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to          0.2 0.0024691         $0.35
2021       Operations                                            reimbursable amounts (see I and J) (.2).
September Business                  09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and            2.6 0.0320988         $4.49
2021       Operations                                            E. Duff (see I and J) (2.6)
September Business                  09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)             0.1 0.0012346         $0.17
2021       Operations                                            (.1)




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                           7301-09 S Stewart Avenue
General Allocation % (Pre 01/29/21):                                                 0.8168189%
General Allocation % (01/29/21 Onward, Claims Only):                            0.8777283257%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     10       7301-09 S Stewart Avenue                                                     32.48      $              8,789.52                         103.80     $            24,786.25             136.27     $             33,575.76
                 Asset Disposition [4]                                                        1.72    $                  562.44                          79.74   $             19,301.36               81.46   $              19,863.79
                 Business Operations [5]                                                      1.73    $                  519.20                           5.68   $               1,834.83               7.41   $                  2,354.04
                 Claims Administration & Objections [6]                                     29.03     $                 7,707.88                         18.37   $               3,650.05              47.40   $              11,357.93




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7301-09 S Stewart Avenue                                                  EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   103.80
Specific Allocation Fees:         $       24,786.25



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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7301-09 S Stewart Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                   2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)           0.2 0.0029412         $1.15
            Administration
            & Objections

September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                    0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference               0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related           0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                       0.1 0.0009346         $0.36
2018         Disposition


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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                             0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential               0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market               0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).          0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)              0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding               0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                0.1 0.0014706         $0.57
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                   0.6 0.0088235         $3.44
2018         Operations
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                            0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft              0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management            0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                  0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                  0.7 0.0066038         $2.58
2018         Operations
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding            0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                          0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                               0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding               0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                   0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                        2.5 0.0233645         $9.11
2018         Operations


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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.


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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                  0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of          0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                 0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                  0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                  0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                     0.1 0.0009434         $0.25
2018         Operations
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of             0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                     3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio           2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                  0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                    1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                              0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                      0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                              2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                     0.2 0.0018692         $0.73
2018         Disposition


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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                     0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations


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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                       0.1 0.0014706         $0.57
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                             0.3 0.0044118         $1.72
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.                  0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild                0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.




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  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                   0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                             2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                       1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                     0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                            0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                          0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to            0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                  1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.          2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                        0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                         0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for               2.1 0.0196262         $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,          2.0 0.0186916         $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                            0.1 0.0009346         $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                0.1 0.0009346         $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                   0.1 0.0014925         $0.21
2018         Operations
October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                     0.5 0.0046729         $1.82
2018         Administration
             & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Asset                  11/21/18 AEP         390 research chain of corporate ownership for receivership entities (5001 S Drexel LLC and                 0.7       0.175      $68.25
2018         Disposition                                     Chicago Capital Fund 1 LLC) (.7).
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                              0.3 0.0028037         $1.09
2018         Operations
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729         $1.82
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692         $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                 0.7 0.0065421         $2.55
2018         Operations                                      related issues (.7)
December     Asset                  12/28/18 KBD         390 draft correspondence to real estate broker and A. Porter regarding real estate sale contract           0.1      0.0125       $4.88
2018         Disposition                                     and finalizing list for next group of properties to sell (.1).
December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346         $0.36
2018         Operations




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
December     Business               12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                          reporting (.1)
December     Business               12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                          issues (2.8)
December     Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                          to address City violations and his plan for same (1.3)
December     Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                          income from property manager and conference with K. Duff regarding same.

December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
January      Business               01/10/19 KBD             390 study property management report (.2)                                                                   0.2 0.0029412         $1.15
2019         Operations
January      Business               01/10/19 KBD             390 study property manager financial reporting (.4).                                                        0.4 0.0059701         $2.33
2019         Operations
January      Business               01/11/19 KBD             390 study property manager financial reporting and draft correspondence to property manager                 0.3 0.0044118         $1.72
2019         Operations                                          regarding same (.3)
January      Business               01/15/19 KBD             390 study correspondence from city official regarding request for meeting (.1)                              0.1 0.0009434         $0.37
2019         Operations
January      Business               01/15/19 KBD             390 study financial reporting from other property manager (.3).                                             0.3 0.0044118         $1.72
2019         Operations
January      Business               01/24/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding meeting with City                  0.2 0.0018868         $0.74
2019         Operations                                          officials regarding scofflaw list (.2).
January      Business               01/25/19 KBD             390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                 0.1 0.0009434         $0.37
2019         Operations                                          portfolio compliance and disposition issues (.1)
January      Asset                  01/22/19 NM              260 correspond with K. Duff regarding property sales (.5).                                                  0.5      0.0625      $16.25
2019         Disposition


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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
January      Asset                  01/24/19 NM          260 Revise motion to approve the process for the sale of the second round of properties (.2)                0.2       0.025        $6.50
2019         Disposition
January      Asset                  01/25/19 NM          260 Revise motion to approve the process for the sale of the second round of properties and                 0.4         0.05      $13.00
2019         Disposition                                     send to K. Duff, M. Rachlis, and A. Porter for comment (.4)
January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross           0.1 0.0014706          $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls             0.2 0.0029412          $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346          $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 additional telephone conference with real estate broker representatives regarding listing               0.2 0.0133333          $5.20
2019         Disposition                                     prices for next group of properties to sale (.2)
February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019         Disposition
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925          $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412          $1.15
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383          $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037          $1.09
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346          $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412          $1.15
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346          $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412          $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706          $0.57
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706          $0.57
2019         Operations




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
February     Business               02/14/19 KBD             390 draft correspondence to property managers regarding communications with accounting firm                  0.1 0.0009346          $0.36
2019         Operations                                          representative (.1)
February     Business               02/15/19 KBD             390 Exchange correspondence with property manager regarding financial reporting and net                      0.1 0.0014925          $0.58
2019         Operations                                          rental income (.1)
February     Business               02/18/19 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                         0.1 0.0014706          $0.57
2019         Operations
February     Business               02/20/19 KBD             390 Exchange correspondence with property manager and E. Duff regarding housing authority                    0.2 0.0029412          $1.15
2019         Operations                                          documentation (.2)
February     Business               02/20/19 KBD             390 study correspondence from A. Porter regarding delinquent property taxes (.1)                             0.1       0.005        $1.95
2019         Operations
February     Business               02/21/19 KBD             390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real                0.6         0.03      $11.70
2019         Operations                                          estate taxes and lender communications (.6).
February     Business               02/21/19 KBD             390 Review housing authority documentation from property manager (.1)                                        0.1 0.0014706          $0.57
2019         Operations
February     Business               02/22/19 KBD             390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                       0.1       0.005        $1.95
2019         Operations
February     Business               02/24/19 KBD             390 Draft correspondence to asset manager regarding affordable housing contact (.1)                          0.1 0.0014706          $0.57
2019         Operations
February     Business               02/26/19 KBD             390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                      1.1       0.055       $21.45
2019         Operations
February     Business               02/26/19 KBD             390 Analysis of financial information and real estate tax obligations (3.9)                                  3.9       0.195       $76.05
2019         Operations
February     Business               02/26/19 KBD             390 exchange correspondence with city official regarding impact of court ruling on property                  0.1 0.0009434          $0.37
2019         Operations                                          maintenance and repairs (.1)
February     Business               02/28/19 KBD             390 exchange communication and telephone conference with property manager representatives                    0.4 0.0059701          $2.33
2019         Operations                                          regarding real estate taxes and financial reporting (.4)
February     Asset                  02/18/19 AEP             390 Participate in receivership team meeting with outside broker regarding properties proposed               1.0 0.3333333        $130.00
2019         Disposition                                         to be included in third marketing tranche (1.0)
February     Asset                  02/18/19 JR              140 continue office conference regarding further discussion on the portfolio disposition (1.7).              1.7 0.5666667         $79.33
2019         Disposition
February     Asset                  02/18/19 JR              140 Office conference with brokers and attorneys, K. Duff, N. Mirjanich, A. Porter and M. Rachlis            1.9 0.6333333         $88.67
2019         Disposition                                         regarding the portfolio disposition (1.9)
February     Asset                  02/18/19 MR              390 further meetings regarding issues on same (2.0).                                                         2.0 0.1333333         $52.00
2019         Disposition
February     Asset                  02/18/19 NM              260 strategy and planning with real estate broker and K. Duff, M. Rachlis, and A. Porter regarding           1.9 0.1266667         $32.93
2019         Disposition                                         disposition of second tranche, third tranche, and possible other properties to dispose of (1.9)

February     Asset                  02/18/19 NM              260 further correspond with K. Duff, M. Rachlis, and A. Porter regarding same (.5)                           0.5 0.0185185          $4.81
2019         Disposition
February     Business               02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                      0.2 0.0029412          $0.41
2019         Operations                                          property expenses, and communicate same to K. Duff (.2)
February     Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                      0.2 0.0018692          $0.49
2019         Operations                                          violation (.2)


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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                          in receivership portfolio (1.9).
February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for                0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                            0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                          0.6         0.03      $11.70
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                     4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                   0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                               0.8         0.04      $15.60
2019         Operations
February     Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                                   0.3 0.0028302          $1.10
2019         Operations
February     Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in                0.1 0.0014925          $0.21
2019         Operations                                          receivership (.1)
February     Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                               0.8 0.0119403          $1.67
2019         Operations
February     Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                                   0.4 0.0059701          $0.84
2019         Operations
March 2019   Asset                  03/07/19 KBD             390 Telephone conference with counsel for potential purchaser regarding future listings of                    0.1 0.0009804          $0.38
             Disposition                                         properties for sale (.1)
March 2019   Asset                  03/07/19 KBD             390 draft correspondence to broker same (.1)                                                                  0.1 0.0009804          $0.38
             Disposition
March 2019   Asset                  03/12/19 KBD             390 conference with asset manager and counsel regarding properties sales, listings, strategy,                 1.8 0.0545455         $21.27
             Disposition                                         valuation, and timing (1.8)
March 2019   Asset                  03/28/19 KBD             390 study summary of next group of properties to sell (.3).                                                   0.3         0.02       $7.80
             Disposition
March 2019   Business               03/01/19 KBD             390 study spreadsheet relating to real estate taxes (.2)                                                      0.2 0.0018692          $0.73
             Operations
March 2019   Business               03/01/19 KBD             390 telephone conference and office conference with N. Mirjanich regarding same (.1)                          0.1 0.0009346          $0.36
             Operations




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  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
March 2019 Business                 03/01/19 KBD             390 Study correspondence from and office conference with J. Rak regarding real estate tax                     0.1 0.0009346         $0.36
           Operations                                            payment issues and logistics (.1)
March 2019 Business                 03/05/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding communication with                   0.1 0.0009346         $0.36
           Operations                                            former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD             390 study correspondence from E. Duff regarding outstanding real estate taxes and                             0.2 0.0029412         $1.15
           Operations                                            communications with property manager (.2).
March 2019 Business                 03/08/19 KBD             390 study correspondence regarding property manager financial reporting (.1).                                 0.1 0.0014925         $0.58
           Operations
March 2019 Business                 03/12/19 KBD             390 study information from property manager regarding real estate taxes and exchange                          0.2 0.0029412         $1.15
           Operations                                            correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD             390 study property manager financial reporting (.3)                                                           0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/15/19 KBD             390 study financial reporting from property manager (.4).                                                     0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                         0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/20/19 KBD             390 study correspondence from property manager regarding outstanding taxes and payment of                     0.2 0.0166667         $6.50
           Operations                                            same from property cash flows (.2)
March 2019 Business                 03/27/19 KBD             390 study correspondence from property manager and E. Duff regarding tax payment and                          0.3       0.025       $9.75
           Operations                                            analysis of same and cash position of various properties (.3).
March 2019 Claims                   03/14/19 KBD             390 study property manager financial report (.2).                                                             0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales               0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                      2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                          1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/12/19 AEP             390 participate in team meeting with receivership brokers regarding properties to be included                 2.0 0.6666667       $260.00
           Disposition                                           within third marketing tranche (2.0).
March 2019 Asset                    03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381        $24.76
           Disposition                                           disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                    03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                      0.2 0.0222222         $3.11
           Disposition                                           certain closing documents relating to sale of properties.
March 2019 Asset                    03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                       0.1 0.0111111         $1.56
           Disposition


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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2019 Asset                    03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary              0.2 0.0222222         $3.11
           Disposition                                           for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,          0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/27/19 JR              140 itemized spreadsheet to reflect past due tax bills from 2017 for payment (.3)                        0.3       0.025       $3.50
           Disposition
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                 1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 KMP             140 prepare form for wire transfer of funds to property manager for property management                  0.3      0.0375       $5.25
           Operations                                            expenses, communications with K. Duff and bank regarding same, and submit form for
                                                                 payment (.3)
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all              1.8 0.0168224         $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                              0.2 0.0018692         $0.26
           Operations
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                             0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).             0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager             0.5 0.0073529         $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                      0.1 0.0009346         $0.24
           Operations
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                    0.4 0.0058824         $2.29
           Operations                                            estate taxes (.4)
March 2019 Business                 03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same           1.8 0.0168224         $4.37
           Operations                                            (1.8)
March 2019 Business                 03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692         $0.49
           Operations                                            (.2).
March 2019 Business                 03/20/19 NM              260 send reporting information from property manager to accountant and save same to file (.2)            0.2 0.0029851         $0.78
           Operations
March 2019 Business                 03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346         $0.13
           Operations
March 2019 Business                 03/22/19 ED              390 email correspondence with property manager (.1)                                                      0.1 0.0083333         $3.25
           Operations
March 2019 Business                 03/22/19 ED              390 and confer with K. Duff (.1) regarding same                                                          0.1 0.0083333         $3.25
           Operations
March 2019 Business                 03/22/19 MR              390 conference call with City, K. Duff and N. Mirjanich (.5)                                             0.5    0.004717       $1.84
           Operations
March 2019 Business                 03/22/19 MR              390 prepare for meetings with City (.3)                                                                  0.3 0.0028302         $1.10
           Operations




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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                               0.2 0.0018868          $0.74
           Operations
March 2019 Business                 03/28/19 ED          390 meeting with K. Duff and A. Porter (1.3)                                                                1.3 0.1857143         $72.43
           Operations
April 2019 Asset                    04/02/19 KBD         390 draft correspondence to real estate broker regarding planning for liquidation of next tranche           0.1 0.0066667          $2.60
           Disposition                                       of properties (.1)
April 2019 Asset                    04/09/19 KBD         390 Telephone conference with broker regarding update on timing for second tranche of                       0.2 0.0074074          $2.89
           Disposition                                       properties and preparation for third tranche of properties (.2)
April 2019 Asset                    04/12/19 KBD         390 study draft motion for approval of sale of additional properties (.2).                                  0.2 0.0133333          $5.20
           Disposition
April 2019 Asset                    04/13/19 KBD         390 Exchange correspondence with A. Porter regarding motion to approve sale of additional                   0.2 0.0133333          $5.20
           Disposition                                       properties.
April 2019 Asset                    04/14/19 KBD         390 Telephone conference with A. Porter regarding motions to approve sale of third tranche of               0.2 0.0133333          $5.20
           Disposition                                       properties and division into three segments.
April 2019 Asset                    04/15/19 KBD         390 Exchange correspondence and office conference with A. Porter regarding motions to                       0.2 0.0133333          $5.20
           Disposition                                       approve sale of third tranche of properties.
April 2019 Asset                    04/16/19 KBD         390 Telephone conference with real estate broker regarding timing for sales and listing additional          0.2 0.0133333          $5.20
           Disposition                                       properties and financing efforts.
April 2019 Asset                    04/18/19 KBD         390 study draft motion relating to same (.5).                                                               0.5 0.0333333         $13.00
           Disposition
April 2019 Asset                    04/18/19 KBD         390 Exchange correspondence and telephone conference with A. Porter regarding motions to sell               0.4 0.0266667         $10.40
           Disposition                                       third tranche of properties (.4)
April 2019 Asset                    04/18/19 KBD         390 office conferences with E. Duff and K. Pritchard regarding same (.3)                                    0.3         0.02       $7.80
           Disposition
April 2019 Business                 04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                       0.2 0.0111111          $4.33
           Operations
April 2019 Business                 04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
           Operations
April 2019 Business                 04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
           Operations
April 2019 Business                 04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                      0.2 0.0018692          $0.73
           Operations
April 2019 Business                 04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                   0.6 0.0056075          $2.19
           Operations
April 2019 Business                 04/15/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
           Operations
April 2019 Business                 04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                          0.1 0.0011111          $0.43
           Operations
April 2019 Business                 04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)                0.7 0.0077778          $3.03
           Operations
April 2019 Business                 04/26/19 KBD         390 Telephone conference and exchange correspondence with insurance broker regarding                        0.3 0.0029126          $1.14
           Operations                                        efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                   0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD             390 Study records for delivering 2017 real estate taxes, several office conferences and exchange             2.5     0.15625       $60.94
             Operations                                          various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                                 (2.5)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with property managers regarding payment of 2017 real estate                     0.6      0.0375       $14.63
             Operations                                          taxes (.6)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                    0.2 0.0019417          $0.76
             Operations                                          amounts (.2)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                                0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                         0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/04/19 AEP             390 Review latest draft of portfolio spreadsheet, update files to include newly added properties             0.2 0.0666667         $26.00
             Disposition                                         to third marketing and sales tranche, and request title commitments for newly added
                                                                 properties.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                   0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/09/19 JR              140 email communication to A. Porter regarding the third tranche (.1)                                        0.1 0.0333333          $4.67
             Disposition
April 2019   Asset                  04/15/19 AEP             390 Prepare initial drafts of three separate motions to approve the marketing and sales process              7.5          2.5     $975.00
             Disposition                                         for third tranche of properties in the receivership estate, including revised bid instructions,
                                                                 revised publication notices, and separate forms of proposed orders.

April 2019   Asset                  04/16/19 AEP             390 Continue preparation of motions to approve marketing and sales process for third tranche of              0.7 0.2333333         $91.00
             Disposition                                         properties in receivership estate.
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                      0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/16/19 MR              390 Conferences on status on motions and other property issues with K. Duff.                                 0.3         0.02       $7.80
             Disposition
April 2019   Asset                  04/18/19 AEP             390 Finalize preparation of all three motions to approve sales process for properties in third               2.1          0.7     $273.00
             Disposition                                         marketing tranche.
April 2019   Asset                  04/18/19 ED              390 review draft of third motion to approve and confer with K. Duff regarding comments (.3).                 0.3          0.1      $39.00
             Disposition
April 2019   Asset                  04/18/19 ED              390 review and analysis of information regarding third tranche of property sales to determine                0.8 0.2666667        $104.00
             Disposition                                         lenders affected (.8)
April 2019   Asset                  04/18/19 ED              390 Prepare and send email correspondence to lenders' counsel regarding third motion                         1.2          0.4     $156.00
             Disposition                                         regarding sale of properties and requesting payoff letters for affected properties (1.2)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
April 2019   Asset                  04/18/19 KMP             140 Review, revise and finalize motions for court approval of sale process and related notices,          0.8 0.0533333          $7.47
             Disposition                                         and communications with K. Duff, E. Duff and A. Porter regarding same (.8)

April 2019   Asset                  04/18/19 KMP             140 file motions and notices electronically (.3)                                                         0.3         0.02       $2.80
             Disposition
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd            3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 KMP             140 Communication with real estate agent regarding motions for court approval of sale of                 0.1 0.0066667          $0.93
             Disposition                                         properties.
April 2019   Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                1.0    0.047619       $18.57
             Disposition
April 2019   Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                        0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge            5.0 0.2380952         $92.86
             Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                  04/22/19 NM              260 correspond with broker regarding approval of the second and third tranches of sale and               0.2 0.0222222          $5.78
             Disposition                                         publication notice for same (.2)
April 2019   Asset                  04/22/19 NM              260 study publication notice and time frame for same (.1)                                                0.1 0.0111111          $2.89
             Disposition
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                          0.3 0.0028037          $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest          2.1 0.0196262          $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,           0.3 0.0028302          $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real              0.2 0.0028571          $1.11
             Operations                                          estate taxes.
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                     0.2 0.0029412          $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                              0.2 0.0029412          $1.15
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                  3.9 0.0364486          $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                 1.0 0.0111111          $4.33
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                  0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                          0.3 0.0033333          $1.30
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                      0.2 0.0022222          $0.87
             Operations




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667          $2.60
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
             Operations
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841          $1.83
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523          $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087       $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/22/19 NM              260 study documents from former EB counsel with additional notices of violations (.1)                      0.1         0.05      $13.00
             Operations
April 2019   Business               04/23/19 NM              260 Correspond with E. Duff regarding violations and utilities on property (7301 Stewart) (.2)             0.2          0.2      $52.00
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                                0.2 0.0019802          $0.77
             Operations
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                                0.1 0.0009901          $0.39
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                 0.5 0.0046729          $0.65
             Operations
April 2019   Business               04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                      1.2       0.075       $10.50
             Operations
April 2019   Business               04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                   0.1     0.00625        $0.88
             Operations
April 2019   Business               04/30/19 KMP             140 Submit online payments for 2017 delinquent taxes for various properties, and conferences               0.7 0.0583333          $8.17
             Operations                                          with K. Duff and J. Rak regarding same.
April 2019   Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                   0.8 0.0115942          $4.52
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                   0.3 0.0029412          $1.15
             Administration                                      insurance coverage (.3)
             & Objections




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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                  05/15/19 KBD         390 study and revise motion to amend and office conference with M. Rachlis regarding same (.4)            0.4 0.1333333        $52.00
             Disposition
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/21/19 KBD         390 Telephone conference with real estate broker regarding court order relating to sale of third          0.2 0.0666667        $26.00
             Disposition                                     group of properties (.2)
May 2019     Asset                  05/21/19 KBD         390 discuss same with M. Rachlis (.1)                                                                     0.1 0.0066667         $2.60
             Disposition
May 2019     Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                      replacement insurance (.1).
May 2019     Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                      replacement of insurance coverage (.1)
May 2019     Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                      insurance policies and renewals (.2).
May 2019     Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                      payment (.1).
May 2019     Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                      insurance (.3)
May 2019     Business               05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
             Operations                                      allocation (.1).
May 2019     Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                      same (.3)
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019     Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations


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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/21/19 KBD             390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                 0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/21/19 KBD             390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                         0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/22/19 KBD             390 study correspondence from insurance broker regarding renewal of property insurance                     0.2 0.0019417          $0.76
             Operations                                          coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business               05/23/19 KBD             390 Exchange correspondence and telephone conference with insurance broker regarding                       0.2 0.0019417          $0.76
             Operations                                          property insurance renewal (.2)
May 2019     Business               05/23/19 KBD             390 office conference with M. Rachlis regarding same (.1)                                                  0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/24/19 KBD             390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                   0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/28/19 KBD             390 exchange correspondence with insurance broker regarding renewal of coverage and                        0.1 0.0009709          $0.38
             Operations                                          payment (.1)
May 2019     Business               05/29/19 KBD             390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                 0.2 0.0019417          $0.76
             Operations                                          property insurance payment (.2)
May 2019     Business               05/30/19 KBD             390 study correspondence from K. Pritchard regarding property insurance funding (.2)                       0.2 0.0019417          $0.76
             Operations
May 2019     Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                       0.2 0.0018692          $0.73
             Operations
May 2019     Business               05/31/19 KBD             390 exchange correspondence with E. Duff regarding same (.1)                                               0.1 0.0015625          $0.61
             Operations
May 2019     Business               05/31/19 KBD             390 Telephone conference with property manager regarding unpaid property management                        0.3 0.0046875          $1.83
             Operations                                          expenses (.3)
May 2019     Claims                 05/21/19 KBD             390 review correspondence from N. Mirjanich regarding publication notice (.1).                             0.1 0.0066667          $2.60
             Administration
             & Objections

May 2019     Asset                  05/02/19 NM              260 draft motion to amend the approval of third tranche to reflect same (.3).                              0.3         0.02       $5.20
             Disposition
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804          $0.38
             Disposition
May 2019     Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709          $0.38
             Disposition
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                  05/13/19 NM              260 study correspondence relating to bid procedures and amendment motion to approve the                    0.2 0.0133333          $3.47
             Disposition                                         third tranche of properties (.2)
May 2019     Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216          $1.53
             Disposition


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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise proposed amendment to third, fourth, and fifth motions for approval             0.2         0.02       $7.80
             Disposition                                         of marketing and sale of properties in third marketing tranche (.2)
May 2019     Asset                  05/15/19 AEP             390 proofread, edit, and revise amendment to third, fourth, and fifth motions for approval of sale          0.2 0.0133333          $5.20
             Disposition                                         of properties in second marketing tranche (.2)
May 2019     Asset                  05/15/19 AW              140 Revise motion for approval of sale 3.0 and email counsel regarding same.                                0.4 0.1333333         $18.67
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                  05/15/19 NM              260 correspond with real estate broker and K. Duff regarding publication notice for second                  0.7 0.0259259          $6.74
             Disposition                                         tranche of properties and draft revisions to same (.7)
May 2019     Asset                  05/15/19 NM              260 Study correspondence relating to procedures for second tranche of property sales and                    0.5         0.05      $13.00
             Disposition                                         correspond with K. Duff regarding same and publication notice (.5)
May 2019     Asset                  05/16/19 AW              140 Proofread notice of amendment to motion for approval of sale 3.0 (.1)                                   0.1 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/16/19 MR              390 Further edits to brief (.3)                                                                             0.3         0.02       $7.80
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806        $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776          $0.63
             Disposition                                         (.3)
May 2019     Asset                  05/21/19 MR              390 Review orders approving sales and emails on bidding procedures (.4)                                     0.4         0.05      $19.50
             Disposition
May 2019     Asset                  05/21/19 MR              390 and conferences regarding same (.2).                                                                    0.2       0.025        $9.75
             Disposition
May 2019     Asset                  05/21/19 NM              260 exchange correspondence relating to court orders on third and fourth sales motions (.1)                 0.1      0.0125        $3.25
             Disposition
May 2019     Asset                  05/29/19 NM              260 correspond with K. Duff and real estate broker regarding marketing second and third tranche             0.1 0.0333333          $8.67
             Disposition                                         of properties (.1).
May 2019     Asset                  05/30/19 AEP             390 Meeting with J. Rak to prepare strategic plan for second, third, and fifth marketing tranches,          2.0 0.0909091         $35.45
             Disposition                                         including ordering, facilitating, and proofing of surveys, completion of title commitments,
                                                                 preparation of motions to confirm sales and proposed orders associated therewith, and
                                                                 preparations of preliminary settlement statements (2.0)

May 2019     Asset                  05/30/19 JR              140 Work on drafting of motion to approve sale for the second tranche with A. Porter (2.6)                  2.6       0.325       $45.50
             Disposition
May 2019     Asset                  05/30/19 NM              260 revise publication notice to reflect same and correspond with K. Duff on same (.3).                     0.3 0.0333333          $8.67
             Disposition
May 2019     Asset                  05/30/19 NM              260 Correspond with K. Duff and real estate broker regarding marketing of properties in second              0.5 0.0185185          $4.81
             Disposition                                         and third tranches of sales (.5)


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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2019     Asset                  05/31/19 AEP             390 review and edit final draft of proposed bidding procedures for marketing of selected second           0.2 0.0666667         $26.00
             Disposition                                         and third tranche properties (.2)
May 2019     Asset                  05/31/19 AEP             390 teleconference with K. Duff and receivership broker regarding of properties in second and             0.3          0.1      $39.00
             Disposition                                         third tranches (.3)
May 2019     Asset                  05/31/19 JR              140 assist in drafting motion to approve sale for the second tranche (.6)                                 0.6       0.075       $10.50
             Disposition
May 2019     Asset                  05/31/19 JR              140 office conference with A. Porter regarding same (1.6)                                                 1.6          0.2      $28.00
             Disposition
May 2019     Asset                  05/31/19 NM              260 Revise publication notice to reflect marketing of properties in second and third tranches of          0.8         0.08      $20.80
             Disposition                                         sales and correspond with K. Duff, A. Porter, and J. Rak regarding same (.8)

May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953          $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766          $1.05
             Operations
May 2019     Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835          $1.51
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923          $3.00
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385          $0.60
             Operations
May 2019     Business               05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417          $0.27
             Operations                                          conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business               05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709          $0.14
             Operations
May 2019     Business               05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835          $0.54
             Operations                                          insurance renewal, and communications with K. Duff and bank representative regarding
                                                                 same (.4)
May 2019     Business               05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709          $0.14
             Operations
May 2019     Business               05/07/19 KMP             140 Study communication from insurance broker providing notice of first installment on                    0.1 0.0009709          $0.14
             Operations                                          premium finance agreement.
May 2019     Business               05/09/19 NM              260 Study and exchange correspondence relating to credit bid and expenses from property                   0.2 0.0019608          $0.51
             Operations                                          manager (.2)
May 2019     Business               05/15/19 ED              390 Review April financial reporting (1.3)                                                                1.3 0.0126214          $4.92
             Operations




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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087          $3.79
             Operations
May 2019     Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126          $1.14
             Operations
May 2019     Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835          $0.54
             Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019     Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417          $0.27
             Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709          $0.14
             Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                 0.3       0.003        $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 Work on newspaper publication in connection with property sales (.4)                                   0.4         0.04      $15.60
             Disposition
June 2019    Asset                  06/03/19 KBD         390 study sales and bid procedures (.4).                                                                   0.4 0.0266667         $10.40
             Disposition
June 2019    Asset                  06/04/19 KBD         390 study revisions to sales procedures and correspondence regarding same (.3).                            0.3         0.02       $7.80
             Disposition
June 2019    Asset                  06/04/19 KBD         390 Discuss publication notice for property sales and study publication and cost information               0.2       0.025        $9.75
             Disposition                                     relating to same (.2)
June 2019    Asset                  06/05/19 KBD         390 study and exchange various correspondence regarding sales procedures, joint motion, and                0.4 0.0266667         $10.40
             Disposition                                     communications from lenders' counsel regarding same (.4).
June 2019    Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)              0.2 0.0028571          $1.11
             Disposition
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                                0.2 0.0019802          $0.77
             Disposition
June 2019    Asset                  06/19/19 KBD         390 modify property sale procedures and exchange correspondence regarding same (.3).                       0.3         0.02       $7.80
             Disposition
June 2019    Asset                  06/21/19 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding planning for sale of properties             0.2 0.0074074          $2.89
             Disposition                                     (.2).
June 2019    Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and                0.2 0.0039216          $1.53
             Disposition                                     potential for new grouping to list for sale (.2)
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                   0.5       0.005        $1.95
             Disposition
June 2019    Asset                  06/24/19 KBD         390 study purchase and sale agreements (7301 S Stewart, 2909 78th, 3030 79th, and 8047                     0.4          0.1      $39.00
             Disposition                                     Manistee) (.4).
June 2019    Asset                  06/24/19 KBD         390 Exchange correspondence with A. Porter regarding status and completion of purchase and                 0.2       0.025        $9.75
             Disposition                                     sale agreements for listed properties (.2)


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  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
June 2019    Asset                  06/25/19 KBD             390 Exchange correspondence with A. Porter regarding purchase and sale agreements for listed            0.1       0.025        $9.75
             Disposition                                         properties (.1)
June 2019    Asset                  06/26/19 KBD             390 work on closing documents and preparation for motion to approve sale of properties (.5).            0.5      0.0625       $24.38
             Disposition
June 2019    Asset                  06/26/19 KBD             390 Telephone conference with real estate broker regarding marketing response and potential             0.2       0.025        $9.75
             Disposition                                         offers (.2)
June 2019    Asset                  06/27/19 KBD             390 Telephone conference with real estate broker regarding offers for listed properties.                0.2       0.025        $9.75
             Disposition
June 2019    Asset                  06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding closing costs and sales prices (.2)               0.2       0.025        $9.75
             Disposition
June 2019    Asset                  06/28/19 KBD             390 study portfolio summary (.3).                                                                       0.3         0.03      $11.70
             Disposition
June 2019    Asset                  06/28/19 KBD             390 Telephone conferences with real estate broker regarding purchase offers for listed                  0.4         0.04      $15.60
             Disposition                                         properties (.4)
June 2019    Asset                  06/29/19 KBD             390 Telephone conference with real estate broker regarding purchase offers for second group of          0.2       0.025        $9.75
             Disposition                                         properties (.2)
June 2019    Asset                  06/29/19 KBD             390 study summaries relating to same (.3)                                                               0.3      0.0375       $14.63
             Disposition
June 2019    Business               06/03/19 KBD             390 analysis and evaluate receivership expenses (.3).                                                   0.3       0.003        $1.17
             Operations
June 2019    Business               06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                          0.1 0.0009346          $0.36
             Operations
June 2019    Business               06/07/19 KBD             390 Study correspondence and documentation from insurance representative regarding policy               0.4 0.0038835          $1.51
             Operations                                          renewal (.4)
June 2019    Business               06/07/19 KBD             390 and discuss same with E. Duff (.1)                                                                  0.1 0.0009709          $0.38
             Operations
June 2019    Business               06/07/19 KBD             390 telephone conference and exchange correspondence with bank representative regarding                 0.2 0.0019608          $0.76
             Operations                                          transfer of funds (.2)
June 2019    Business               06/12/19 KBD             390 study property manager financial reporting (.4)                                                     0.4     0.00625        $2.44
             Operations
June 2019    Business               06/13/19 KBD             390 review information relating to insurance premium allocation (.2)                                    0.2 0.0019608          $0.76
             Operations
June 2019    Business               06/14/19 KBD             390 study property manager financial reporting (.3).                                                    0.3 0.0046875          $1.83
             Operations
June 2019    Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence               0.4 0.0037383          $1.46
             Operations                                          with J. Rak regarding same (.4)
June 2019    Business               06/26/19 KBD             390 study correspondence from insurance broker regarding premium allocation and related                 0.2 0.0019608          $0.76
             Operations                                          correspondence (.2)
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                              1.2    0.011215        $1.57
             Disposition
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                          3.7 0.0345794          $4.84
             Disposition




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/03/19 KMP             140 Conference with N. Mirjanich regarding payment for newspaper notice in connection with                  0.2         0.02       $2.80
             Disposition                                         public bids for sale of next tranche of properties, and attention to proofs of notice.

June 2019    Asset                  06/03/19 NM              260 correspond with K. Duff and M. Rachlis regarding publication notice for same and revise                 0.8         0.08      $20.80
             Disposition                                         same and correspond with publications regarding same (.8)
June 2019    Asset                  06/03/19 NM              260 Correspond with J. Rak regarding second and third sales tranches (.3)                                   0.3 0.0111111          $2.89
             Disposition
June 2019    Asset                  06/03/19 NM              260 correspond with real estate broker regarding same (.1).                                                 0.1         0.01       $2.60
             Disposition
June 2019    Asset                  06/04/19 AEP             390 revise spreadsheets to reflect rearrangement of properties to be included in second                     0.2       0.025        $9.75
             Disposition                                         marketing tranche (.2)
June 2019    Asset                  06/04/19 AEP             390 Meeting with J. Rak to identify and assign responsibility for tasks associated with second              2.2       0.275      $107.25
             Disposition                                         tranche of closings (2.2)
June 2019    Asset                  06/04/19 AEP             390 and outline motion to approve sales of properties in second tranche (1.6).                              1.6          0.2      $78.00
             Disposition
June 2019    Asset                  06/04/19 AEP             390 communications with title company and surveyor regarding ordering of title commitments                  0.3      0.0375       $14.63
             Disposition                                         and surveys for second tranche properties (.3)
June 2019    Asset                  06/04/19 JR              140 work with A. Porter in drafting revisions to the motion to approve sale for the second                  1.9      0.2375       $33.25
             Disposition                                         tranche (1.9)
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                  06/04/19 KMP             140 Conferences with N. Mirjanich and publication representatives regarding payment for                     0.2         0.02       $2.80
             Disposition                                         newspaper notice in connection with public bids for sale of next tranche of properties, and
                                                                 attention to receipts for same.
June 2019    Asset                  06/04/19 NM              260 Correspond with K. Duff, M. Rachlis, A. Porter, K. Pritchard, real estate broker, and papers            0.9         0.09      $23.40
             Disposition                                         regarding notice of publication for second tranche of property sales and publish same.

June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/06/19 JR              140 exchange correspondence with the property managers regarding preparation of due                         1.6          0.2      $28.00
             Disposition                                         diligence documents in preparation for closing of the second tranche and follow up
                                                                 regarding online water accounts (1.6)
June 2019    Asset                  06/06/19 JR              140 telephone conference with the title company regarding ordering title for the new second                 0.7         0.07       $9.80
             Disposition                                         and third tranche properties and for the fifth tranche (.7)
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                  06/07/19 JR              140 begin drafting closing checklists for the second tranche (2.4)                                          2.4          0.3      $42.00
             Disposition
June 2019    Asset                  06/07/19 JR              140 Telephone conference with the title company and A. Porter regarding the second tranche of               0.8          0.1      $14.00
             Disposition                                         title commitments and the requirements (.8)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824          $2.29
             Disposition
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                  06/11/19 JR              140 Prepare draft closing checklists for numerous properties in the second and third tranches (.9)          0.9          0.3      $42.00
             Disposition
June 2019    Asset                  06/12/19 JR              140 review and save due diligence documents for properties in the second and third tranches                 0.3          0.1      $14.00
             Disposition                                         prepared by the property manager (.3)
June 2019    Asset                  06/13/19 JR              140 exchange communication with property manager, K. Prichard, K. Duff and E. Duff regarding                0.5 0.0185185          $2.59
             Disposition                                         requested due diligence documents for the second and third tranches and regarding status
                                                                 of online water payments (.5)
June 2019    Asset                  06/14/19 JR              140 telephone follow up with property manager regarding the due diligence documents (.2).                   0.2 0.0133333          $1.87
             Disposition
June 2019    Asset                  06/14/19 JR              140 continue drafting closing checklists and closing documents for properties in the second and             2.6 0.8666667        $121.33
             Disposition                                         third tranches (2.6)
June 2019    Asset                  06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                  0.2 0.0142857          $2.00
             Disposition                                         tranche of properties (.2).
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                  06/18/19 JR              140 update checklists for third tranche of properties (.7)                                                  0.7 0.2333333         $32.67
             Disposition
June 2019    Asset                  06/18/19 JR              140 updated all the closing checklists with real estate taxes for second tranche (.8)                       0.8          0.1      $14.00
             Disposition
June 2019    Asset                  06/19/19 JR              140 Draft rent rolls for the second and third tranche in preparation for sale for properties (3030          2.9       0.725      $101.50
             Disposition                                         E. 79th, 7301 S. Stewart, 7834 S. Ellis and 8047 S. Manistee) (2.9)
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/20/19 JR              140 Update real estate taxes on the third tranche of properties (.6)                                        0.6          0.2      $28.00
             Disposition
June 2019    Asset                  06/20/19 JR              140 exchange correspondence regarding same to K. Duff (.1)                                                  0.1 0.0333333          $4.67
             Disposition
June 2019    Asset                  06/20/19 JR              140 update real estate taxes on all properties, except for the third tranche, reflecting both 1st           2.2 0.7333333        $102.67
             Disposition                                         and 2nd installment (2.2)
June 2019    Asset                  06/20/19 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                0.1 0.0333333          $4.67
             Disposition
June 2019    Asset                  06/20/19 JR              140 exchange communication with title company regarding redeeming sold taxes at closing and                 0.3          0.1      $14.00
             Disposition                                         whether title company can obtain the estimate of redemption and pay all taxes closing (.3)

June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                  06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts             1.8 0.1285714         $18.00
             Disposition                                         (1.8)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003        $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/24/19 NM              260 Correspond with A. Porter and City attorney regarding code violations and orders for same               0.5      0.0625       $16.25
             Disposition                                         on next tranche of property sales.
June 2019    Asset                  06/25/19 AEP             390 Finalize preparation of purchase and sale agreements for all properties in second series,               2.5      0.3125      $121.88
             Disposition                                         necessitating confirmation of all legal descriptions, PINs, and status of all administrative
                                                                 proceedings, review of all title commitments, drafting of financing contingency language,
                                                                 drafting of additional language regarding proration of tenant rents at closing, preparation of
                                                                 credit bid rider, completion of joint order escrow instructions, preparation of form
                                                                 assignment and assumption of rents agreements, reading of all attorney correspondence
                                                                 relating to litigation over credit bid procedures, and updating of receivership portfolio
                                                                 spreadsheet to incorporate additional information for motion-tracking purposes.

June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026        $3.64
             Disposition
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with A. Porter regarding title commitments for the second tranche               0.1      0.0125        $1.75
             Disposition                                         (.1).
June 2019    Asset                  06/26/19 JR              140 organize electronic records for the remainder of the second tranche for all documents in                1.8       0.225       $31.50
             Disposition                                         preparation for sale (1.8)
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001        $0.14
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333          $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/27/19 AEP             390 Review all latest administrative code violation pleadings and orders and update files being             0.3 0.0272727         $10.64
             Disposition                                         prepared for closing (.3)
June 2019    Asset                  06/27/19 JR              140 Confirm Cook County Treasurer's site for updated addresses to the tax bill for properties in            0.7 0.0466667          $6.53
             Disposition                                         the third tranche to reflect the receiver's address (.7);
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667          $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Asset                  06/28/19 JR              140 Exchange numerous emails with the title company relating to title company's drafting of                 0.6 0.0857143         $12.00
             Disposition                                         closing documents for the remainder of the properties (.6)
June 2019    Asset                  06/28/19 JR              140 review all the documents received from the title company regarding same (.9)                            0.9 0.1285714         $18.00
             Disposition
June 2019    Business               06/06/19 KMP             140 conference with N. Mirjanich regarding same, and review documents and prior email                       1.1          0.1      $14.00
             Operations                                          communications relating to same (1.1).
June 2019    Business               06/06/19 KMP             140 attention to communications from accountant regarding spreadsheets containing financial                 0.1 0.0090909          $1.27
             Operations                                          information for various properties (.1)
June 2019    Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                             0.9 0.0087379          $3.41
             Operations
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                        0.1       0.001        $0.39
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                       0.4       0.004        $1.56
             Operations


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2019    Business               06/07/19 ED          390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
             Operations                                      current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/07/19 KMP         140 attention to further communications from accountant regarding spreadsheets containing                 0.1 0.0090909         $1.27
             Operations                                      financial information for various properties (.1).
June 2019    Business               06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
             Operations                                      property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business               06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
             Operations                                      liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                             regarding same (.4)
June 2019    Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
             Operations
June 2019    Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709         $0.14
             Operations                                      payment for same (.1).
July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining           0.2       0.002       $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/06/19 KBD         390 Exchange correspondence regarding notice of public sale.                                              0.1      0.0125       $4.88
             Disposition
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same               0.2       0.002       $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/10/19 KBD         390 Attention to due diligence materials from property manager from upcoming property sales               0.2 0.0074074         $2.89
             Disposition                                     (.2)
July 2019    Asset                  07/10/19 KBD         390 telephone conference with property manager regarding same (.1)                                        0.1 0.0037037         $1.44
             Disposition
July 2019    Asset                  07/12/19 KBD         390 Review correspondence from potential purchaser and exchange correspondence with real                  0.2 0.0074074         $2.89
             Disposition                                     estate broker regarding same (.2)
July 2019    Asset                  07/18/19 KBD         390 attention to notice of real estate sale publication (.2).                                             0.2 0.0074074         $2.89
             Disposition
July 2019    Asset                  07/25/19 KBD         390 Telephone conference with real estate broker regarding status of properties under contract,           0.2 0.0074074         $2.89
             Disposition                                     showing of listed properties, and timing considerations (.2)
July 2019    Asset                  07/29/19 KBD         390 Study draft motion to approve sale of properties (.3)                                                 0.3      0.0375      $14.63
             Disposition
July 2019    Asset                  07/30/19 KBD         390 telephone conference with real estate broker regarding same (.1)                                      0.1 0.0037037         $1.44
             Disposition
July 2019    Asset                  07/30/19 KBD         390 telephone conference with representative for potential buyers regarding communications                0.2 0.0074074         $2.89
             Disposition                                     with real estate broker (.2)
July 2019    Asset                  07/30/19 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                                0.2 0.0074074         $2.89
             Disposition
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                   0.2       0.002       $0.78
             Disposition
July 2019    Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                          0.2       0.002       $0.78
             Disposition


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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Business               07/01/19 KBD             390 review allocation of insurance premium (.3)                                                            0.3 0.0029412          $1.15
             Operations
July 2019    Business               07/03/19 KBD             390 exchange correspondence regarding analysis of real estate taxes and coordination with                  0.2       0.002        $0.78
             Operations                                          property manager (.2).
July 2019    Business               07/10/19 KBD             390 review outstanding real estate taxes and payment by property managers (.1)                             0.1 0.0009804          $0.38
             Operations
July 2019    Business               07/10/19 KBD             390 Review real estate tax bills (.2)                                                                      0.2 0.0019608          $0.76
             Operations
July 2019    Business               07/12/19 KBD             390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,             0.2 0.0019608          $0.76
             Operations                                          communications with asset manager regarding property management costs, and
                                                                 communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD             390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                      0.1 0.0009804          $0.38
             Operations
July 2019    Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                       0.2 0.0018868          $0.74
             Operations
July 2019    Business               07/15/19 KBD             390 exchange correspondence and telephone conference with real estate broker regarding same                0.1 0.0009901          $0.39
             Operations                                          and priority of property sales (.1)
July 2019    Business               07/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4     0.00625        $2.44
             Operations
July 2019    Business               07/25/19 KBD             390 telephone conference with bank representative and exchange correspondence regarding                    0.2 0.0019608          $0.76
             Operations                                          payment for insurance (.2)
July 2019    Business               07/27/19 KBD             390 study portfolio summary from real estate broker (.3)                                                   0.3       0.003        $1.17
             Operations
July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP             390 Meeting with K. Duff, M. Rachlis, J. Rak, and receivership brokers to analyze and select               2.2         0.22      $85.80
             Disposition                                         winning bids in connection with the public sales of next tranche of receivership properties
                                                                 (2.2)
July 2019    Asset                  07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
             Disposition                                         third tranche (1.5)
July 2019    Asset                  07/01/19 JR              140 file fully executed purchase and sale agreements in appropriate electronic files for the               0.3      0.0375        $5.25
             Disposition                                         second series of closings (.3)
July 2019    Asset                  07/01/19 JR              140 exchange correspondence with property managers regarding additional due diligence                      0.3      0.0375        $5.25
             Disposition                                         documents that will need to be produced relating to the second tranche of properties (.3)

July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614          $1.94
             Disposition
July 2019    Asset                  07/01/19 JR              140 Draft closing checklists for the third tranche including gathering necessary information such          2.4         0.16      $22.40
             Disposition                                         as legal description and other relevant information for closing documents in preparation for
                                                                 the closing (2.4)




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  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
July 2019    Asset                  07/02/19 JR              140 Review email correspondence from property manager to our request to produce due                    0.2       0.025        $3.50
             Disposition                                         diligence documents for the second tranche (.2)
July 2019    Asset                  07/02/19 JR              140 organize due diligence materials received from the property manager regarding the second           5.8       0.725      $101.50
             Disposition                                         series of properties in preparation for review and to send to buyer's attorneys (5.8)

July 2019    Asset                  07/03/19 JR              140 Update and organize closing checklists for the second series of properties with various            2.7      0.3375       $47.25
             Disposition                                         pertinent information related to closing (2.7)
July 2019    Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on           0.1 0.0015873          $0.22
             Disposition                                         all properties for property manager (.1)
July 2019    Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                     1.5 0.0238095          $3.33
             Disposition
July 2019    Asset                  07/08/19 JR              140 Draft closing checklists for the remainder of the second tranche of properties including           3.6         0.45      $63.00
             Disposition                                         collecting all the property information and data (3.6)
July 2019    Asset                  07/10/19 JR              140 exchange communication with title company regarding re- sending title commitments for              0.4 0.1333333         $18.67
             Disposition                                         documents (.4)
July 2019    Asset                  07/10/19 JR              140 exchange communication with buyer attorney's regarding series 2, tranche 2, and tranche 3          1.1 0.0733333         $10.27
             Disposition                                         properties regarding due diligence documents and method of delivery (1.1)

July 2019    Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet            0.5 0.0079365          $1.11
             Disposition                                         and resend (.5)
July 2019    Asset                  07/10/19 JR              140 organize and save due diligence documents (1.7).                                                   1.7 0.1133333         $15.87
             Disposition
July 2019    Asset                  07/10/19 JR              140 exchange correspondence with A. Porter relating to same (.1)                                       0.1 0.0333333          $4.67
             Disposition
July 2019    Asset                  07/11/19 JR              140 exchange communication and forward to buyer's attorney due diligence documents                     1.6 0.1066667         $14.93
             Disposition                                         regarding properties in the second series and third tranche (1.6)
July 2019    Asset                  07/11/19 JR              140 exchange communication with A. Porter regarding same (.2)                                          0.2 0.0133333          $1.87
             Disposition
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                  1.9       0.019        $2.66
             Disposition
July 2019    Asset                  07/12/19 AEP             390 review and analyze claims documentation submitted by investor-lender including promissory          1.4 0.2333333         $91.00
             Disposition                                         note, mortgage, collateral servicing agreement, and offering memorandum and prepare
                                                                 response to team regarding potential existence of equitable mortgages in favor of certain
                                                                 investor-lenders (1.4).
July 2019    Asset                  07/12/19 AEP             390 review, inventory, and reorganize all due diligence documents received from management             3.5         0.35     $136.50
             Disposition                                         company and prepare detailed spreadsheet of all missing items still needed to be produced
                                                                 to prospective purchasers (3.5)
July 2019    Asset                  07/12/19 AEP             390 Begin second cycle through second sale series to inventory and review accuracy of all              1.2         0.15      $58.50
             Disposition                                         transaction documents prepared to-date and respond to various e-mail queries from
                                                                 prospective purchasers (1.2)
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                           1.8       0.018        $2.52
             Disposition




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Asset                  07/12/19 JR              140 exchange correspondence with A. Porter regarding due diligence documents for properties                0.2          0.1      $14.00
             Disposition                                         (7834 Ellis and 7301 Stewart) (.2)
July 2019    Asset                  07/12/19 JR              140 exchange follow up correspondence with A. Porter regarding due diligence documents from                0.1         0.05       $7.00
             Disposition                                         property manager (.1).
July 2019    Asset                  07/12/19 NM              260 Correspond with J. Rak regarding code violations on second and third tranches of property              0.6 0.0272727          $7.09
             Disposition                                         sales and due diligence materials for the same.
July 2019    Asset                  07/15/19 JR              140 Review email correspondence from A. Porter relating to due diligence documents from                    0.5       0.125       $17.50
             Disposition                                         management company and steps that need to be taken going forward (.5)

July 2019    Asset                  07/15/19 JR              140 exchange correspondence with A. Porter related to an update on sending various due                     0.2         0.05       $7.00
             Disposition                                         diligence to buyer's counsel (.2)
July 2019    Asset                  07/15/19 NM              260 Correspond with broker, K. Duff, and J. Rak regarding listing of third property tranche.               0.2 0.0133333          $3.47
             Disposition
July 2019    Asset                  07/16/19 JR              140 review email received from property manager regarding the due diligence documents                      3.9      0.4875       $68.25
             Disposition                                         relating to the second series of properties and save to corresponding electronic files (3.9)

July 2019    Asset                  07/17/19 JR              140 save remainder of the due diligence documents into corresponding electronic files for                  0.9      0.1125       $15.75
             Disposition                                         properties in the second series (.9)
July 2019    Asset                  07/17/19 JR              140 prepare a list of properties in the third tranche and provide PIN number for each property             0.6          0.2      $28.00
             Disposition                                         for N. Mirjanich related to newspaper publication of same (.6)
July 2019    Asset                  07/17/19 JR              140 exchange correspondence with N. Mirjanich relating to same (.1)                                        0.1 0.0333333          $4.67
             Disposition
July 2019    Asset                  07/17/19 JR              140 Exchange correspondence with A. Porter advising that we received all the due diligence                 0.2       0.025        $3.50
             Disposition                                         documents from property manager for current properties under contract in the second
                                                                 series (.2)
July 2019    Asset                  07/18/19 AEP             390 communications with title companies regarding status of earnest money deposits and                     0.7 0.0777778         $30.33
             Disposition                                         prepare separate e-mails to counsel for purchasers of all properties for which earnest money
                                                                 deposit had not yet been received (.7)
July 2019    Asset                  07/18/19 AEP             390 Finish reviewing, analyzing, reorganizing, and inventorying second batch of utility invoices           1.5      0.1875       $73.13
             Disposition                                         received from management company in connection with second series of sales (1.5)

July 2019    Asset                  07/18/19 AEP             390 e-mail correspondence with title company regarding authenticity of attorney-signed strict              0.1 0.0111111          $4.33
             Disposition                                         joint order escrow agreements (.1)
July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                0.2 0.0020408          $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers            0.1 0.0009804          $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/18/19 NM              260 Exchange correspondence relating to publication notice for third tranche of properties.                0.2 0.0133333          $3.47
             Disposition
July 2019    Asset                  07/19/19 AEP             390 review title commitments issued by insurer and inform insurer of omitted special exception             0.4 0.0571429         $22.29
             Disposition                                         relating to lis pendens as well identity of proposed insureds and proposed policy values (.4)




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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2019    Asset                  07/22/19 JR              140 exchange correspondence with property manager relating to a request to send unit sizes for            0.2       0.025        $3.50
             Disposition                                         buildings currently under contract for the second series (.2)
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet             0.2       0.002        $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                 0.9 0.0088235          $3.44
             Disposition
July 2019    Asset                  07/29/19 AEP             390 begin preparation of motion to approve sales of properties in second marketing series (3.4).          3.4       0.425      $165.75
             Disposition
July 2019    Asset                  07/29/19 JR              140 review survey that have been received for various properties (.8)                                     0.8         0.08      $11.20
             Disposition
July 2019    Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and           1.4 0.0137255          $5.35
             Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019    Asset                  07/31/19 JR              140 review leases and update various documents for properties in the second series and in                 3.2 1.0666667        $149.33
             Disposition                                         preparation for sale (3030 E 79th, 7301 Stewart, 7834 Ellis) (3.2)
July 2019    Asset                  07/31/19 JR              140 revise closing checklist with updated information in preparation for closing for same (1.9).          1.9 0.6333333         $88.67
             Disposition
July 2019    Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                             0.1       0.001        $0.39
             Operations
July 2019    Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                 0.1       0.001        $0.39
             Operations                                          payment of real estate taxes (.1)
July 2019    Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes               0.2 0.0019608          $0.76
             Operations                                          coming due (.2)
July 2019    Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial               0.2 0.0019608          $0.76
             Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                 costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804          $0.38
             Operations
July 2019    Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843          $4.21
             Operations
July 2019    Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824          $2.29
             Operations
July 2019    Business               07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)             0.2       0.002        $0.78
             Operations
July 2019    Business               07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007        $2.73
             Operations                                          Rachlis and J. Rak regarding same (.7).
July 2019    Business               07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824          $2.29
             Operations
July 2019    Business               07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002        $0.52
             Operations                                          property status (.2).


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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
July 2019    Business               07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                      0.8 0.0080808          $2.10
             Operations                                          water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                 the same.
July 2019    Business               07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                        0.6 0.0058824          $2.29
             Operations
July 2019    Business               07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                                0.1 0.0009804          $0.14
             Operations
July 2019    Business               07/23/19 ED              390 review of June financial reporting from property managers (.4)                                            0.4       0.004        $1.56
             Operations
July 2019    Business               07/23/19 JR              140 Update and forward outstanding 2017 real estate balances on all properties to K. Pritchard.               0.7 0.0538462          $7.54
             Operations
July 2019    Business               07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)              0.2       0.002        $0.78
             Operations
July 2019    Business               07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,                  0.4 0.0039216          $0.55
             Operations                                          and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                     0.3 0.0029412          $1.15
             Operations
July 2019    Claims                 07/15/19 NM              260 analyze claims against unencumbered properties (1.2).                                                     1.2          0.2      $52.00
             Administration
             & Objections

August 2019 Asset                   08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                 0.2 0.0020202          $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest                0.1       0.001        $0.39
            Disposition                                          in properties (.1)
August 2019 Asset                   08/12/19 KBD             390 Telephone conference with real estate broker regarding preparation for offers on third group              0.2 0.0074074          $2.89
            Disposition                                          of properties (.2)
August 2019 Asset                   08/13/19 KBD             390 motion to approve sale of properties and draft correspondence to A. Porter regarding same                 0.3      0.0375       $14.63
            Disposition                                          (.3)
August 2019 Asset                   08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                        0.3       0.003        $1.17
            Disposition                                          marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD             390 conference with real estate broker, A. Porter, and J. Rak regarding offers for third group of 17          2.7         0.18      $70.20
            Disposition                                          properties (2.7)
August 2019 Asset                   08/15/19 KBD             390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second              0.5 0.0111111          $4.33
            Disposition                                          group of properties and single family home portfolio (.5)
August 2019 Asset                   08/23/19 KBD             390 Telephone conference and exchange correspondence with A. Porter regarding allocation of                   1.5      0.1875       $73.13
            Disposition                                          property related costs, communications with lenders, and preparation of motions relating to
                                                                 sales of properties (1.5)
August 2019 Asset                   08/28/19 KBD             390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                       0.3       0.003        $1.17
            Disposition




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
August 2019 Business                08/06/19 KBD             390 Telephone conference with bank representative regarding wire transfers for property                    0.1 0.0009804          $0.38
            Operations                                           expenses and insurance.
August 2019 Business                08/12/19 KBD             390 study property manager financial reporting (.3).                                                       0.3 0.0046875          $1.83
            Operations
August 2019 Business                08/13/19 KBD             390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                          0.1       0.001        $0.39
            Operations
August 2019 Business                08/15/19 KBD             390 study delinquency report and draft correspondence to asset manager regarding same (.3).                0.3 0.0046875          $1.83
            Operations
August 2019 Business                08/20/19 KBD             390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                            0.1 0.0009804          $0.38
            Operations
August 2019 Business                08/20/19 KBD             390 exchange correspondence with J. Rak and property manager regarding outstanding real                    0.2 0.0019608          $0.76
            Operations                                           estate taxes (.2).
August 2019 Business                08/29/19 KBD             390 Study information regarding outstanding property taxes and review correspondence from J.               0.3       0.003        $1.17
            Operations                                           Rak regarding same (.3)
August 2019 Business                08/30/19 KBD             390 exchange various correspondence regarding real estate taxes (.5).                                      0.5       0.005        $1.95
            Operations
August 2019 Asset                   08/01/19 AEP             390 inventory all title commitments and surveys received to- date for second tranche of closings           0.5      0.0625       $24.38
            Disposition                                          and update portfolio spreadsheet accordingly, communicate with title company regarding
                                                                 status of preparation of title commitments on second tranche of property sales, and prepare
                                                                 e-mail to title company and surveyor regarding current status of documents needed to close
                                                                 transactions (.5)
August 2019 Asset                   08/04/19 AEP             390 Review closing checklists for all second tranche properties, update portfolio spreadsheet,             2.2       0.275      $107.25
            Disposition                                          and create list of open items in connection with all upcoming sales (2.2)

August 2019 Asset                   08/05/19 JR              140 create additional closing checklists for remainder of tranche 2 and 3 in preparation for               1.3 0.0866667         $12.13
            Disposition                                          closing (1.3)
August 2019 Asset                   08/06/19 JR              140 review unit size spreadsheet received from property manager and input correct information              1.2         0.08      $11.20
            Disposition                                          in the rent rolls for tranche 2 and tranche 3 (1.2)
August 2019 Asset                   08/07/19 AEP             390 prepare purchase and sale agreements for all 18 properties in third series (5.5)                       5.5 0.3666667        $143.00
            Disposition
August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102        $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/07/19 JR              140 update series 3 tranche closing checklists (.3)                                                        0.3          0.1      $14.00
            Disposition
August 2019 Asset                   08/07/19 JR              140 update real estate tax spreadsheet with accrued August interest for properties in the third            0.7 0.0466667          $6.53
            Disposition                                          tranche (.7).
August 2019 Asset                   08/08/19 AEP             390 Review files for all second series sales and modify to-do list of remaining outstanding items          0.3      0.0375       $14.63
            Disposition                                          (.3)
August 2019 Asset                   08/08/19 AEP             390 communications with title insurer, surveyor, and J. Rak regarding coordination of title                0.4         0.04      $15.60
            Disposition                                          commitments and surveys and finalization of same (.4).




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2019 Asset                   08/08/19 AEP             390 update portfolio spreadsheet to include title commitment numbers for all remaining                      0.4         0.05      $19.50
            Disposition                                          tranches, purchase prices and purchasers for first and second series of sales (.4)

August 2019 Asset                   08/08/19 JR              140 exchange correspondence with A. Porter and title company representative regarding same                  0.6 0.0666667          $9.33
            Disposition                                          (.6)
August 2019 Asset                   08/08/19 JR              140 Review, update electronic folders and forward same to buyer's attorneys (2.7)                           2.7          0.3      $42.00
            Disposition
August 2019 Asset                   08/08/19 NM              260 Create spreadsheet of outstanding known violations for properties being sold in the third               0.5         0.05      $13.00
            Disposition                                          tranche and correspond with A. Porter and J. Rak regarding the same.
August 2019 Asset                   08/09/19 AEP             390 review surveys and title commitments associated with all 10 properties in second series and             2.5      0.3125      $121.88
            Disposition                                          prepare e-mails to title insurers and surveyor regarding requested modifications (2.5).

August 2019 Asset                   08/09/19 AEP             390 Finalize purchase and sale contracts for all 17 properties in third series by customizing and           4.5          0.3     $117.00
            Disposition                                          inserting all riders and exhibits (4.5)
August 2019 Asset                   08/09/19 JR              140 Exchange correspondence with buyer attorneys' regarding forwarding title commitments for                0.3      0.0375        $5.25
            Disposition                                          all properties in the second series, second and third tranche (.3)
August 2019 Asset                   08/09/19 NM              260 Correspond with J. Rak and City attorney regarding due diligence code violation documents               0.2 0.0133333          $3.47
            Disposition                                          for the third tranche of properties to sell.
August 2019 Asset                   08/11/19 AEP             390 Review and analyze code violation spreadsheet received from N. Mirjanich, compare                       0.4         0.04      $15.60
            Disposition                                          information with documents in due diligence folder, and prepare e-mail to N. Mirjanich
                                                                 seeking additional information in effort to reconcile discrepancies (.4).

August 2019 Asset                   08/12/19 AEP             390 review final drafts of surveys for all second series properties (.4)                                    0.4         0.05      $19.50
            Disposition
August 2019 Asset                   08/12/19 AEP             390 review and analyze revised title commitments received from title insurer to reconcile special           0.8 0.1142857         $44.57
            Disposition                                          exceptions relating to encroachments with final drafts of surveys (.8)

August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                            0.2       0.002        $0.28
            Disposition
August 2019 Asset                   08/12/19 NM              260 Correspond with City attorney, A. Porter, and J. Rak regarding code violations and due                  0.4         0.04      $10.40
            Disposition                                          diligence materials from the same for the third tranche of property sale.
August 2019 Asset                   08/13/19 AEP             390 review amended title commitments received from title insurer for second series properties               0.2       0.025        $9.75
            Disposition                                          (.2)
August 2019 Asset                   08/13/19 AEP             390 review second amended title commitments received from title insurer for second series                   0.2       0.025        $9.75
            Disposition                                          properties (.2)
August 2019 Asset                   08/14/19 AEP             390 e-mail communications with J. Rak regarding timing of ordering water certificates for closings          0.1      0.0125        $4.88
            Disposition                                          of second series of receivership properties (.1)
August 2019 Asset                   08/14/19 AEP             390 teleconference with receivership broker regarding overview of bids received on third series             0.3         0.02       $7.80
            Disposition                                          of receivership properties (.3).
August 2019 Asset                   08/14/19 JR              140 draft remainder of closing documents for same (4.9).                                                    4.9          4.9     $686.00
            Disposition
August 2019 Asset                   08/14/19 JR              140 review items missing on leases for property (7301 Stewart) (1.8)                                        1.8          1.8     $252.00
            Disposition


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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
August 2019 Asset                   08/14/19 JR              140 Exchange correspondence with A. Porter relating to preparing water certificate applications               0.2       0.025        $3.50
            Disposition                                          and submitting to the title company for the second tranche of properties (.2)

August 2019 Asset                   08/15/19 NM              260 Correspond with K. Duff, E. Duff, and A. Porter regarding the offers on the third tranche of              0.3         0.02       $5.20
            Disposition                                          properties and claims and credit bid issues on the same.
August 2019 Asset                   08/19/19 AW              140 Attention to email regarding time and expenses spent on any of the third tranche properties               0.2 0.0133333          $1.87
            Disposition                                          and follow up regarding same.
August 2019 Asset                   08/20/19 JR              140 exchange correspondence with N. Mirjanich regarding tranche 3 bids and forward                            0.2 0.0666667          $9.33
            Disposition                                          spreadsheet to N. Mirjanich from real estate broker regarding same (.2)
August 2019 Asset                   08/20/19 JR              140 review time and outline tranche 3 properties for associated closing costs pertaining to the               6.2 2.0666667        $289.33
            Disposition                                          order demanding total closing costs (6.2).
August 2019 Asset                   08/21/19 AEP             390 Review survey invoices, title invoices, real estate tax bills, restoration of rents figures, and          6.2 0.4133333        $161.20
            Disposition                                          water department invoices and create spreadsheets of closing cost estimates for all third
                                                                 series properties subject to credit bidding.
August 2019 Asset                   08/23/19 AEP             390 Revise estimated closing cost statements for 16 properties in third series of sales and                   2.3 0.1533333         $59.80
            Disposition                                          transmit same to all applicable institutional lenders under explanatory covering letter.

August 2019 Asset                   08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second                 0.1 0.0022222          $0.58
            Disposition                                          tranche, and listing of all remaining properties (.1)
August 2019 Asset                   08/26/19 JR              140 Exchange correspondence with A. Porter regarding assisting on the second motion to                        0.2       0.025        $3.50
            Disposition                                          approve sales (.2)
August 2019 Asset                   08/26/19 JR              140 exchange correspondence with A. Porter regarding the second motion to approve sale and                    0.1      0.0125        $1.75
            Disposition                                          whether property with extended financing contingency will be included in same (.1).

August 2019 Asset                   08/28/19 AEP             390 Meeting with J. Rak regarding preparation of motion to approve second series of sales,                    6.4          0.8     $312.00
            Disposition                                          status of waiver of special exceptions from title commitments for all second series
                                                                 properties, preparation of motion to approve fifth series of sales, review of preliminary
                                                                 drafts of closing documents, distribution of current title commitments and surveys to
                                                                 counsel for prospective purchasers of second series of receivership properties (6.4)

August 2019 Asset                   08/28/19 AEP             390 communications with counsel for purchasers of receivership properties in second series of                 0.2       0.025        $9.75
            Disposition                                          sales regarding timing of motions to approve sales and scheduling of closings (.2)

August 2019 Asset                   08/28/19 JR              140 Assist A. Porter on the second sixth, and eight motions to approve sales (5.7)                            5.7 0.6333333         $88.67
            Disposition
August 2019 Asset                   08/28/19 JR              140 exchange correspondence with all buyer counsel relating to transmitting surveys and                       0.4         0.05       $7.00
            Disposition                                          updated title commitments on properties in the second tranche (.4)
August 2019 Asset                   08/29/19 JR              140 assist in drafting the second motion to approve sales (2.4)                                               2.4          0.3      $42.00
            Disposition
August 2019 Asset                   08/29/19 JR              140 organize commission statements received from real estate broker for the second tranche                    0.7      0.0875       $12.25
            Disposition                                          and update our closing checklists and closing figures (.7).
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for                  0.2       0.002        $0.28
            Operations                                           properties.


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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                1.3       0.013        $1.82
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                          0.1 0.0009804          $0.38
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                       0.1 0.0009804          $0.38
            Operations
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                0.1 0.0009804          $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                              0.7       0.007        $2.73
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                        0.2 0.0019608          $0.76
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                    0.8       0.008        $3.12
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                                1.2       0.012        $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).              0.1 0.0009804          $0.14
            Operations
August 2019 Claims                  08/16/19 JR              140 Confer with N. Mirjanich regarding drafting a spreadsheet with a list of mortgagees and              0.3         0.02       $2.80
            Administration                                       other information found on the documents of record for properties in the third tranche.
            & Objections

August 2019 Claims                  08/27/19 NM              260 create spreadsheet and review claims in connection with third tranche credit bid (.2).               0.2 0.0133333          $3.47
            Administration
            & Objections

August 2019 Claims                  08/28/19 NM              260 Analyze claims for all properties in third tranche of property sales (1.8)                           1.8         0.12      $31.20
            Administration
            & Objections

August 2019 Claims                  08/29/19 NM              260 Analyze claims in third tranche of property sales.                                                   4.2         0.28      $72.80
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM              260 Analyze claims in third tranche of property sales (2.7)                                              2.7         0.18      $46.80
            Administration
            & Objections

September    Asset                  09/07/19 KBD             390 Exchange correspondence regarding sale of properties, credit bidding results, and motion to          0.2       0.025        $9.75
2019         Disposition                                         approve sales.
September    Asset                  09/10/19 KBD             390 study draft motion to approve sale of properties and draft correspondence to A. Porter               0.4         0.05      $19.50
2019         Disposition                                         regarding exhibits (.4)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
September    Asset                  09/11/19 KBD             390 exchange correspondence with A. Porter regarding items to be addressed in connection with              0.1      0.0125        $4.88
2019         Disposition                                         motion to approve sales (.1).
September    Asset                  09/12/19 KBD             390 confer and exchange correspondence with M. Rachlis, A. Porter, and N. Mirjanich regarding              0.4         0.05      $19.50
2019         Disposition                                         same (.4)
September    Asset                  09/12/19 KBD             390 Study draft motion to approve sale of properties (.5)                                                  0.5      0.0625       $24.38
2019         Disposition
September    Asset                  09/23/19 KBD             390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745         $14.15
2019         Disposition
September    Business               09/11/19 KBD             390 study property manager financial reports (.3)                                                          0.3 0.0046875          $1.83
2019         Operations
September    Business               09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804          $0.38
2019         Operations
September    Claims                 09/23/19 KBD             390 Claims analysis relating to funds properties with E. Duff and N. Mirjanich (.6)                        0.6          0.1      $39.00
2019         Administration
             & Objections

September Asset                     09/01/19 AEP             390 Communications with title companies regarding corrections and revisions to title                       1.2         0.15      $58.50
2019      Disposition                                            commitments and title invoices associated with closings of second series of sales, review
                                                                 revised commitments and invoices and update portfolio spreadsheet and individual closing
                                                                 checklists (1.2)
September Asset                     09/01/19 AEP             390 review all commission statements received from receivership broker [SVN Chicago                        0.5 0.0555556         $21.67
2019      Disposition                                            Commercial] and request revised statements in connection with properties for which
                                                                 commission figures were erroneous (.5)
September Asset                     09/01/19 AEP             390 review electronic docket and e-mails received from A. Watychowicz and download all                     0.8          0.1      $39.00
2019      Disposition                                            pleadings and orders germane to credit bidding procedures in anticipation of preparation of
                                                                 motion to approve sales (.8).
September    Asset                  09/03/19 JR              140 Review draft closing documents for second tranche with updates to title dates and                      2.3      0.2875       $40.25
2019         Disposition                                         modifications to closing dates (2.3)
September    Asset                  09/04/19 AEP             390 prepare e-mail with list of third series properties for which title commitments are still              0.1 0.0066667          $2.60
2019         Disposition                                         needed and send to title company (.1)
September    Asset                  09/05/19 NM              260 Correspond with K. Duff regarding meeting with broker on credit bids and filing the second             0.1      0.0125        $3.25
2019         Disposition                                         motion to approve sales (.1)
September    Asset                  09/05/19 NM              260 correspond with A. Watychowicz regarding service list for the second motion to approve                 0.1      0.0125        $3.25
2019         Disposition                                         sales (.1)
September    Asset                  09/05/19 NM              260 correspond with J. Rak regarding the second motion to approve sales (.1)                               0.1      0.0125        $3.25
2019         Disposition
September    Asset                  09/06/19 AW              140 confer with N. Mirjanich regarding email to interested parties, timing of filing and service,          0.2       0.025        $3.50
2019         Disposition                                         and other issues related to finalizing second tranche motion (.2).
September    Asset                  09/06/19 AW              140 Research and prepare service list for sale of second tranche (2.8)                                     2.8         0.35      $49.00
2019         Disposition
September    Asset                  09/06/19 NM              260 create service list and draft emails for the same with A. Watychowicz for the second motion            1.5      0.1875       $48.75
2019         Disposition                                         to approve sales (1.5).




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
September Asset                     09/08/19 AEP             390 review title invoices for all properties and compute agency fees, review commission                     2.2       0.275      $107.25
2019      Disposition                                            statements received from receivership broker and reconcile same, and enter all appropriate
                                                                 figures into motion (2.2).
September    Asset                  09/08/19 AEP             390 Study draft motion to approve second series of sales and proofread, edit, and revise same               0.6       0.075       $29.25
2019         Disposition                                         (.6)
September    Asset                  09/09/19 AEP             390 Review title exceptions for all properties in second series of properties and prepare proposed          2.7      0.3375      $131.63
2019         Disposition                                         judicial order authorizing sales of same (2.7)
September    Asset                  09/10/19 AEP             390 proofread, edit, and revise final draft of motion and circulate to team (.5).                           0.5      0.0625       $24.38
2019         Disposition
September    Asset                  09/10/19 AEP             390 Communications with title companies to obtain approval of proposed form of order                        0.4         0.05      $19.50
2019         Disposition                                         authorizing sales of second series of properties and to check on status of hold harmless
                                                                 letters associated with title exceptions (.4)
September    Asset                  09/10/19 AEP             390 assemble all exhibits to motion to approve sales and create appendix to brief (.4)                      0.4         0.05      $19.50
2019         Disposition
September    Asset                  09/10/19 JR              140 exchange correspondence with property manager regarding delivery of due diligence                       0.2 0.0666667          $9.33
2019         Disposition                                         documents for same (.2)
September    Asset                  09/10/19 JR              140 exchange correspondence with broker regarding same (.1)                                                 0.1 0.0333333          $4.67
2019         Disposition
September    Asset                  09/10/19 JR              140 continue review of title commitments pertaining to additional creditors named on title and              3.8 1.2666667        $177.33
2019         Disposition                                         organize litigation documents pertaining to specific properties (3.8).
September    Asset                  09/10/19 JR              140 exchange correspondence with A. Porter regarding due diligence period relating to series 3              0.1 0.0333333          $4.67
2019         Disposition                                         properties under contract (.1)
September    Asset                  09/11/19 AEP             390 Read pleadings and orders in connection with credit bidding procedures and work on draft                2.5      0.3125      $121.88
2019         Disposition                                         motion to approve sales of properties in second series.
September    Asset                  09/11/19 JR              140 follow up email exchange with A. Porter relating to the due diligence materials and request             0.1 0.0333333          $4.67
2019         Disposition                                         to extend due diligence period relating to properties under contract for series 3 properties
                                                                 (.1)
September Asset                     09/11/19 NM              260 study lien filed against Houston property and revise service list for both the motion to                0.3 0.0333333          $8.67
2019      Disposition                                            approve the sale of the second tranche and the process with the Houston property (.3)

September    Asset                  09/12/19 AEP             390 discuss potential revisions, including credit bid and notice issues, with K. Duff, M. Rachlis,          1.2         0.15      $58.50
2019         Disposition                                         and N. Mirjanich (1.2)
September    Asset                  09/12/19 AEP             390 Prepare new section of second motion to approve sales reciting record of objections and                 3.6 0.2117647         $82.59
2019         Disposition                                         orders relating to second, third, fourth, and fifth motions to approve sales process (3.6)

September    Asset                  09/12/19 AEP             390 prepare new paragraphs of brief regarding effect of lis pendens on second motion to                     0.3      0.0375       $14.63
2019         Disposition                                         approve sales (.3)
September    Asset                  09/12/19 AEP             390 make final revisions to motion papers based on discussion with team (.5).                               0.5      0.0625       $24.38
2019         Disposition
September    Asset                  09/12/19 AEP             390 proofread, edit, and revise entire set of motion papers, including proposed order (1.6)                 1.6          0.2      $78.00
2019         Disposition
September    Asset                  09/12/19 AW              140 Continue work on preparation of service list for purpose of serving motions to approve sale             0.9      0.1125       $15.75
2019         Disposition                                         of properties (.9)


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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
September    Asset                  09/12/19 JR              140 exchange correspondence with the underwriter at the title company pertaining to same (.1)             0.1 0.0333333          $4.67
2019         Disposition
September    Asset                  09/12/19 JR              140 exchange correspondence with property manager regarding due diligence document request                0.2 0.0666667          $9.33
2019         Disposition                                         for the remainder of the properties in series 3 in preparation for sale (.2)

September    Asset                  09/12/19 MR              390 Review sales motions and comment on same (1.0)                                                        1.0       0.125       $48.75
2019         Disposition
September    Asset                  09/12/19 MR              390 meeting regarding sales related issues with A. Porter, K. Duff and N. Mirjanich (1.2).                1.2 0.0444444         $17.33
2019         Disposition
September    Asset                  09/13/19 AW              140 attention to second motion to approve sale of properties, revisions to same, and review of            0.2       0.025        $3.50
2019         Disposition                                         exhibits (.2)
September    Asset                  09/13/19 AW              140 serve motion for sale on all known investors (.6)                                                     0.6       0.075       $10.50
2019         Disposition
September    Asset                  09/13/19 AW              140 finalize motion, file on line, and serve as per service list (.3)                                     0.3      0.0375        $5.25
2019         Disposition
September    Asset                  09/13/19 JR              140 Follow up email correspondence with property manager relating to the due diligence                    0.1 0.0333333          $4.67
2019         Disposition                                         documents (.1)
September    Asset                  09/13/19 MR              390 Attention to submission of various motions for filing and review and follow up regarding              1.2 0.1333333         $52.00
2019         Disposition                                         same.
September    Asset                  09/13/19 NM              260 study second motion to approve property sales and motion to approve Houston sale process              1.0       0.125       $32.50
2019         Disposition                                         and correspond with A. Watychowicz regarding the same and service (1.0).

September Asset                     09/16/19 ED              390 Review and analysis of documentation regarding expenditures, contributions, and                       3.1 0.1631579         $63.63
2019      Disposition                                            distributions relating to properties for which motion to approve sale is pending (3.1)

September Asset                     09/16/19 JR              140 exchange correspondence with property manager regarding due diligence documents                       0.2       0.025        $3.50
2019      Disposition                                            received for the second series of properties and missing utility bills (.2)

September    Asset                  09/16/19 JR              140 begin review of the due diligence documents for five properties under contract in the second          6.3      0.7875      $110.25
2019         Disposition                                         series, review leases and compare to rent roll (6.3)
September    Asset                  09/17/19 AEP             390 prepare e-mail to counsel for all purchasers of properties subject to second motion to                0.3      0.0375       $14.63
2019         Disposition                                         approve sales regarding anticipated closing dates (.3)
September    Asset                  09/17/19 NM              260 study the same and draft responses to the same (1.7)                                                  1.7      0.2125       $55.25
2019         Disposition
September    Asset                  09/17/19 NM              260 Correspond with A. Watychowicz regarding responses to correspondence received in                      0.1      0.0125        $3.25
2019         Disposition                                         connection with service of second sales motion (.1)
September    Asset                  09/18/19 AEP             390 update portfolio spreadsheet and prepare e-mail to surveyor regarding current estimated               0.2         0.02       $7.80
2019         Disposition                                         timetable for closings (.2)
September    Asset                  09/18/19 JR              140 prepare excel spreadsheet outlining and updating closing documents in preparation for                 1.5      0.1875       $26.25
2019         Disposition                                         closing (1.5)
September    Asset                  09/18/19 JR              140 exchange correspondence with K. Pritchard regarding wire instructions for EquityBuild                 0.1      0.0125        $1.75
2019         Disposition                                         accounts for series 2 closings (.1)




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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
September    Asset                  09/18/19 JR              140 update property tax applications online for properties in the second tranche (.5).                        0.5      0.0625        $8.75
2019         Disposition
September    Asset                  09/18/19 JR              140 exchange correspondence with title companies regarding closings and request update on                     0.3         0.06       $8.40
2019         Disposition                                         water certifications (.3)
September    Asset                  09/18/19 JR              140 organize lease folders in the third series (.5)                                                           0.5 0.0333333          $4.67
2019         Disposition
September    Asset                  09/18/19 KMP             140 Prepare list of wire transfer instructions for certain properties in connection with anticipated          0.3      0.0375        $5.25
2019         Disposition                                         closings and communications with J. Rak regarding same.
September    Asset                  09/18/19 NM              260 correspond with A. Watychowicz regarding responding to the same (.6).                                     0.6       0.075       $19.50
2019         Disposition
September    Asset                  09/18/19 NM              260 Correspond with K. Duff regarding investor objection to second sales approval motion (.1)                 0.1      0.0125        $3.25
2019         Disposition
September    Asset                  09/19/19 NM              260 Correspond with A. Watychowicz regarding questions by stakeholders in connection with                     0.3      0.0375        $9.75
2019         Disposition                                         sales motions.
September    Asset                  09/20/19 AEP             390 teleconference with N. Mirjanich regarding unrecorded mortgages (.2).                                     0.2 0.0333333         $13.00
2019         Disposition
September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding                  2.5 0.0245098          $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                              0.3 0.0029412          $1.15
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                            0.3       0.003        $0.42
2019         Disposition
September    Asset                  09/24/19 JR              140 update closing documents for properties in the second series in preparation for sale (2.9).               2.9      0.3625       $50.75
2019         Disposition
September    Asset                  09/24/19 NM              260 draft notice to investors with information from Court's order setting briefing schedule on                0.5 0.0714286         $18.57
2019         Disposition                                         second tranche and Houston motions and correspond with K. Duff and A. Watychowicz
                                                                 regarding the same (.5).
September Asset                     09/25/19 NM              260 Correspond with A. Watychowicz regarding notice to investors with information from Court's                0.2 0.0222222          $5.78
2019      Disposition                                            order setting briefing schedule on second tranche and Houston motions (.2)

September    Asset                  09/30/19 JR              140 Review emails relating to appraisals, due diligence materials for the second series of                    0.3      0.0375        $5.25
2019         Disposition                                         properties and value estimations (.3)
September    Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                   0.4 0.0039216          $0.55
2019         Operations                                          finance company for payment on insurance premium finance agreement (.4)

September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare                1.2 0.0116505          $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                              0.8 0.0078431          $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                   0.4 0.0039216          $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)




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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
September Claims                    09/02/19 AEP             390 Teleconference with N. Mirjanich regarding preparation of memoranda relating to properties            0.2 0.0133333          $5.20
2019      Administration                                         in third series and subject to credit bidding (.2)
          & Objections

September Claims                    09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors              2.8          0.2      $28.00
2019      Administration                                         claim list (2.8)
          & Objections

September Claims                    09/10/19 NM              260 correspond with K. Duff regarding the same (.1)                                                       0.1 0.0066667          $1.73
2019      Administration
          & Objections

September Claims                    09/10/19 NM              260 study claims submitted against properties in second tranche of sales in connection with               2.0         0.25      $65.00
2019      Administration                                         motion and to create a service list for those entitled to notice (2.0).
          & Objections

September Claims                    09/18/19 AW              140 respond to emails from claimants regarding their claims and related properties (1.1)                  1.1      0.1375       $19.25
2019      Administration
          & Objections

September Claims                    09/18/19 AW              140 Communicate with N. Mirjanich regarding responses to emails relating to second motion for             0.1      0.0125        $1.75
2019      Administration                                         approval of sale (.1)
          & Objections

September Claims                    09/23/19 ED              390 prepare analysis of secured and unsecured claims relating to six properties (2.3)                     2.3 0.3833333        $149.50
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 meet with K. Duff and N. Mirjanich to discuss same (.6)                                               0.6          0.1      $39.00
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 Confer with N. Mirjanich regarding claims review and analysis, including review and                   2.2 0.3666667        $143.00
2019      Administration                                         discussion of documentation submitted by multiple claimants relating to six properties (2.2)
          & Objections

September Claims                    09/23/19 ED              390 legal research relating to claims analysis (.9).                                                      0.9         0.15      $58.50
2019      Administration
          & Objections

October      Asset                  10/01/19 KBD             390 Confer with A. Porter and J. Rak regarding property sale planning (.2)                                0.2       0.025        $9.75
2019         Disposition




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
October      Asset                  10/10/19 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale               0.4 0.0444444         $17.33
2019         Disposition                                         agreements for properties without credit bids (.4)
October      Asset                  10/15/19 KBD             390 study correspondence from A. Porter regarding status of property sales and exchange                     0.2       0.025        $9.75
2019         Disposition                                         correspondence regarding purchase and sale agreements (.2).
October      Asset                  10/15/19 KBD             390 telephone conference with and study correspondence from real estate broker regarding                    0.2       0.025        $9.75
2019         Disposition                                         approval of sales and closing plans (.2)
October      Asset                  10/16/19 KBD             390 study correspondence from A. Porter regarding closings for sales of properties (.1).                    0.1         0.02       $7.80
2019         Disposition
October      Asset                  10/23/19 KBD             390 confer with J. Rak regarding water payments and closing certificates for upcoming sales (.1).           0.1         0.02       $7.80
2019         Disposition
October      Business               10/07/19 KBD             390 study property manager financial reporting (.3).                                                        0.3 0.0046875          $1.83
2019         Operations
October      Business               10/07/19 KBD             390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                    0.8 0.0078431          $3.06
2019         Operations
October      Business               10/10/19 KBD             390 Draft correspondence to J. Rak regarding real estate tax analysis.                                      0.1 0.0009804          $0.38
2019         Operations
October      Business               10/14/19 KBD             390 Telephone conference with property manager regarding problem with water line at property                0.4          0.4     $156.00
2019         Operations                                          and potential solutions (7301 Stewart) and draft correspondence to A. Porter regarding same
                                                                 (.4)
October      Business               10/15/19 KBD             390 draft correspondence to and telephone conference with asset manager regarding same (.1)                 0.1          0.1      $39.00
2019         Operations
October      Business               10/15/19 KBD             390 Telephone conference with property manager regarding steps to address water main                        0.1          0.1      $39.00
2019         Operations                                          problem (7301 Stewart) and communications with City representatives regarding same (.1)

October      Business               10/15/19 KBD             390 study financial reporting from property manager (.3).                                                   0.3 0.0046875          $1.83
2019         Operations
October      Asset                  10/01/19 AEP             390 preliminary review of closing documents associated with receivership property (7301 S                   0.9          0.9     $351.00
2019         Disposition                                         Stewart) for conformance with legal standards (.9).
October      Asset                  10/01/19 AEP             390 request for updated title invoices for "green" series (.1)                                              0.1 0.0166667          $6.50
2019         Disposition
October      Asset                  10/01/19 AEP             390 request for approval of all closing documents for "green" series (.1)                                   0.1 0.0166667          $6.50
2019         Disposition
October      Asset                  10/01/19 JR              140 work with A. Porter relating to review of closing of the second series of properties, various           3.8       0.475       $66.50
2019         Disposition                                         updates to closing documents, review of title commitments and creating a to-do list (3.8)

October      Asset                  10/01/19 JR              140 further email exchange with title company regarding approval of various closing documents               0.5      0.0625        $8.75
2019         Disposition                                         of the second series of properties (.5).
October      Asset                  10/01/19 JR              140 exchange correspondence with title company relating to various invoice updates regarding                0.2       0.025        $3.50
2019         Disposition                                         the second series of properties (.2)
October      Asset                  10/02/19 AEP             390 Teleconference with receivership broker regarding credit bid issues and preparation of e-               0.3      0.0375       $14.63
2019         Disposition                                         mail to counsel for second series of buyers regarding status of judicial approval of motion to
                                                                 sell, and timing of anticipated future closings (.3)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
October      Asset                  10/03/19 AEP             390 review e-mail from title company regarding non-compliance of certain EquityBuild seller                  0.1 0.0111111          $4.33
2019         Disposition                                         documents with title company requirements (.1).
October      Asset                  10/03/19 JR              140 begin review of the received documents from property manager for various properties in the               2.9      0.3625       $50.75
2019         Disposition                                         second series regarding same (2.9)
October      Asset                  10/03/19 JR              140 continue updating closing documents for the second series of properties in preparation for               1.8       0.225       $31.50
2019         Disposition                                         sale (1.8)
October      Asset                  10/04/19 AEP             390 prepare e-mail to all counsel for purchasers of properties in second sales tranche regarding             0.3      0.0375       $14.63
2019         Disposition                                         briefing scheduling on motion to approve sales and anticipated closing dates (.3)

October      Asset                  10/04/19 AEP             390 teleconference with K. Duff regarding timing of closings and dissemination of information to             0.2 0.0181818          $7.09
2019         Disposition                                         counsel for prospective purchasers (.2)
October      Asset                  10/04/19 JR              140 update ALTA Statements for the second series of properties per title company request (1.3)               1.3      0.1625       $22.75
2019         Disposition
October      Asset                  10/04/19 NM              260 Study Judge Lee's Order relating to sales process and credit bid issues for third sales tranche          0.4 0.1333333         $34.67
2019         Disposition                                         and correspond with K. Duff and draft correspondence to City attorney regarding the same.

October      Asset                  10/07/19 JR              140 exchange communication with A. Porter relating to drafting and revising notices to tenants               0.5         0.25      $35.00
2019         Disposition                                         for certain properties (7834 Ellis and 7301 Stewart) (.5)
October      Asset                  10/09/19 NM              260 Correspond with receivership team regarding second sales motion and Houston motion                       0.2 0.0222222          $5.78
2019         Disposition                                         (1102 Bingham) and next steps (.2)
October      Asset                  10/10/19 NM              260 Prepare draft order on motions regarding properties and email correspondence to Judge Lee                0.5      0.0625       $16.25
2019         Disposition                                         proposed order regarding entry of orders.
October      Asset                  10/15/19 AEP             390 Multiple e-mail exchanges with K. Duff regarding closing of sale of receivership property                0.2          0.2      $78.00
2019         Disposition                                         (7301 S Stewart) (.2)
October      Asset                  10/15/19 AEP             390 e-mail exchanges with K. Duff regarding need for payoff letters (.1)                                     0.1 0.0090909          $3.55
2019         Disposition
October      Asset                  10/15/19 AEP             390 prepare e-mail to all counsel for purchasers of receivership properties attaching court order            0.2       0.025        $9.75
2019         Disposition                                         and providing explanation regarding scheduling of next round of closings (.2)

October      Asset                  10/15/19 AEP             390 prepare e-mail to J. Rak regarding status of preparation of full payment water certificate               0.2          0.2      $78.00
2019         Disposition                                         application on receivership property (7301 S Stewart) (.2)
October      Asset                  10/15/19 JR              140 exchange correspondence with A. Porter relating to water certifications that need to be                  0.2       0.025        $3.50
2019         Disposition                                         ordered after court approval of sale of the second series (.2)
October      Asset                  10/16/19 AEP             390 read and reply to e-mail from title company regarding alleged need for copies of deeds in                0.1         0.02       $7.80
2019         Disposition                                         connection with submission of application for full payment certificate (.1)

October      Asset                  10/16/19 AEP             390 prepare e-mail to counsel for purchaser of receivership properties (7301 S Stewart, 7834 S               0.1         0.05      $19.50
2019         Disposition                                         Ellis) regarding anticipated timing of receipt of full payment water certificate and effect on
                                                                 scheduling of closings (.1)
October      Asset                  10/16/19 AEP             390 prepare e-mails to counsel for purchasers of all properties in second tranche of closings                0.2       0.025        $9.75
2019         Disposition                                         regarding closing dates (.2)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
October      Asset                  10/16/19 AEP             390 prepare e-mail to title company requesting closing confirmations for specified closing dates               0.2       0.025        $9.75
2019         Disposition                                         associated with all receivership properties in second tranche of second closings (.2)

October      Asset                  10/16/19 JR              140 Prepare water certificate application for property (7301 Stewart) (.4)                                     0.4          0.4      $56.00
2019         Disposition
October      Asset                  10/16/19 JR              140 exchange correspondence with the title company relating to same (.2)                                       0.2          0.2      $28.00
2019         Disposition
October      Asset                  10/16/19 JR              140 work with A. Porter relating to the preparation for closing of the second tranche (3.4)                    3.4       0.425       $59.50
2019         Disposition
October      Asset                  10/17/19 AEP             390 review title commitments for all receivership properties in second tranche of closings and                 0.6       0.075       $29.25
2019         Disposition                                         prepare e-mails to title insurer regarding removal of remaining unpermitted special
                                                                 exceptions (.6).
October      Asset                  10/17/19 JR              140 Locate lender information for series 2 properties and deliver information to title company                 0.2 0.0111111          $1.56
2019         Disposition                                         (.2)
October      Asset                  10/17/19 JR              140 review water certificate applications and send same to the title companies for the second                  1.3      0.1625       $22.75
2019         Disposition                                         series properties in preparation for closing (1.3)
October      Asset                  10/17/19 JR              140 exchange correspondence with A. Porter regarding same (.2)                                                 0.2       0.025        $3.50
2019         Disposition
October      Asset                  10/18/19 AEP             390 respond to title company request for contact information for lenders for prospective                       0.1         0.02       $7.80
2019         Disposition                                         purchasers (.1)
October      Asset                  10/18/19 AEP             390 prepare e-mail to K. Duff and N. Mirjanich regarding order authorizing sales of second                     0.1      0.0125        $4.88
2019         Disposition                                         tranche of properties (.1)
October      Asset                  10/18/19 AEP             390 respond to various requests for information from title company and counsel for prospective                 0.4         0.08      $31.20
2019         Disposition                                         purchasers regarding lender information and scheduling matters (.4).
October      Asset                  10/18/19 JR              140 exchange correspondence with A. Porter and title company relating to same (.2)                             0.2       0.025        $3.50
2019         Disposition
October      Asset                  10/18/19 JR              140 update all water certifications for the second tranche and provide to title companies (1.2)                1.2         0.15      $21.00
2019         Disposition
October      Asset                  10/23/19 JR              140 exchange correspondence with broker relating to closing confirmations for the second                       0.2       0.025        $3.50
2019         Disposition                                         tranche (.2)
October      Asset                  10/27/19 AEP             390 prepare e-mails to property managers regarding scheduled closing dates of properties (.2)                  0.2       0.025        $9.75
2019         Disposition
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                      0.4 0.0039216          $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/27/19 JR              140 email exchange relating to estimated net proceeds relating to the second series of properties              0.1      0.0125        $1.75
2019         Disposition                                         closing soon (.1).
October      Asset                  10/28/19 AEP             390 review and analyze title commitments on receivership properties scheduled for closing (7301                0.9          0.3     $117.00
2019         Disposition                                         S Stewart, 701 S 5th, and 7834 S Ellis), research special exceptions, and prepare e-mail to title
                                                                 company requesting updated commitments immediately (.9)

October      Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future                   0.4     0.00625        $2.44
2019         Disposition                                         closings (.4)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
October      Asset                  10/29/19 AEP             390 Review updated title commitments on receivership property (7834 S Ellis and 7301 S                       0.1         0.05      $19.50
2019         Disposition                                         Stewart) to ensure deletion of special exceptions and transmit same to purchasers' counsel
                                                                 (.1)
October      Asset                  10/29/19 AEP             390 review and update closing checklists and transaction documents for properties in second                  2.2         0.44     $171.60
2019         Disposition                                         series of sales (3030 E 79th, 5955 S Sacramento, 6001 S Sacramento, 7026 S Cornell, and
                                                                 7301 S Stewart) (2.2)
October      Asset                  10/29/19 JR              140 exchange communication with property managers relating to updates to rent rolls in                       0.3 0.0428571          $6.00
2019         Disposition                                         preparation for closing (.3)
October      Asset                  10/29/19 JR              140 exchange communication with buyer's counsel relating to updates to notices to tenants on                 0.2       0.025        $3.50
2019         Disposition                                         various properties in the second series that are closing soon (.2)
October      Asset                  10/29/19 JR              140 confer with A. Porter relating to the sale of properties in the second series and discuss                2.9      0.3625       $50.75
2019         Disposition                                         finalizing of closing documents (2.9)
October      Asset                  10/29/19 JR              140 make updates to same (.6).                                                                               0.6       0.075       $10.50
2019         Disposition
October      Asset                  10/29/19 KMP             140 Conferences with K. Duff and J. Rak regarding properties set for closing and confirming set-             0.3 0.0428571          $6.00
2019         Disposition                                         up of Receiver's accounts for sales proceeds relating to same, and confirming wire transfer
                                                                 instructions.
October      Asset                  10/29/19 NM              260 Correspond with A. Porter regarding code violations on properties closing in November 2019               0.1 0.0142857          $3.71
2019         Disposition                                         (.1)
October      Asset                  10/30/19 AEP             390 read correspondence between J. Rak and management company purchaser regarding                            0.1         0.05      $19.50
2019         Disposition                                         notices to tenants and prepare response (.1)
October      Asset                  10/30/19 AEP             390 read e-mails sent to counsel for purchasers of receivership property regarding finalization of           0.1         0.05      $19.50
2019         Disposition                                         notices to tenants (.1)
October      Asset                  10/30/19 JR              140 review emails from buyer's counsel, and buyers relating to notice to tenants, review rent                1.6          0.8     $112.00
2019         Disposition                                         rolls and update notice to tenants and send same to buyer for signature regarding property
                                                                 (7301 Stewart and 7834 Ellis) (1.6)
October      Asset                  10/30/19 JR              140 Review emails and save various documents in corresponding electronic folders including                   0.6       0.075       $10.50
2019         Disposition                                         titles and surveys (.6)
October      Asset                  10/30/19 JR              140 follow up with the water department at title company relating to water certifications for                0.3      0.0375        $5.25
2019         Disposition                                         second series (.3)
October      Asset                  10/30/19 JR              140 exchange correspondence with property manager relating to rent roll updates in preparation               0.1 0.0142857          $2.00
2019         Disposition                                         for closing (.1)
October      Asset                  10/30/19 NM              260 Correspond with A. Porter and real estate broker regarding code violations on properties                 0.2 0.0285714          $7.43
2019         Disposition                                         closing in November 2019.
October      Asset                  10/31/19 AEP             390 read notices to tenants associated with sales of receivership properties (7834 S Ellis and 7301          0.2          0.1      $39.00
2019         Disposition                                         S Stewart), transmit revisions to J. Rak, then review and approve amended drafts (.2)

October      Asset                  10/31/19 AEP             390 review and analyze updated surveys on receivership properties (7834 S Ellis and 7301 S                   0.1         0.05      $19.50
2019         Disposition                                         Stewart) and transmit to purchaser's counsel (.1).
October      Asset                  10/31/19 AEP             390 conference call with counsel for purchaser of receivership properties (7834 S Ellis and 7301 S           1.4          0.7     $273.00
2019         Disposition                                         Stewart) regarding numerous closing-related issues, update title commitments accordingly,
                                                                 request updated surveys, and revise closing checklists to reflect new transaction details (1.4)




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
October      Asset                  10/31/19 AEP             390 review and analyze updated title commitments and invoices in connection with sales of                 0.3          0.1      $39.00
2019         Disposition                                         receivership properties (7301 S Stewart, 7026 S Cornell, and 8047 S Manistee) and prepare
                                                                 next rounds of revisions (.3)
October      Asset                  10/31/19 JR              140 review updated rent roll and amend notice to tenants for various properties in the second             2.5      0.3125       $43.75
2019         Disposition                                         series and send to buyer's counsel and property manager for signature before sending out to
                                                                 tenants (2.5)
October      Asset                  10/31/19 JR              140 exchange communication with the title Company relating to same (.1)                                   0.1      0.0125        $1.75
2019         Disposition
October      Asset                  10/31/19 JR              140 confer with A. Porter relating to closings of the second tranche and water certifications             0.1      0.0125        $1.75
2019         Disposition                                         relating to same (.1)
October      Asset                  10/31/19 JR              140 Review various emails regarding upcoming closings (.5)                                                0.5      0.0625        $8.75
2019         Disposition
October      Asset                  10/31/19 JR              140 file electronic copies of executed notice to tenants received from the property manager (.2)          0.2          0.1      $14.00
2019         Disposition
October      Asset                  10/31/19 JR              140 review rent roll with updated information received from property manager for closing of               0.9         0.45      $63.00
2019         Disposition                                         properties (7344 Ellis and 7301 Stewart) (.9).
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0029412          $1.15
2019         Operations
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                 1.0 0.0098039          $3.82
2019         Operations
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                    0.2 0.0021739          $0.30
2019         Operations
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate           0.3 0.0030303          $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers             1.9 0.0206522          $2.89
2019         Operations                                          can pay out of current net operating income (1.9)
October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real               0.2       0.002        $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                        0.6       0.006        $0.84
2019         Operations
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare            0.9 0.0087379          $1.22
2019         Operations                                          same.
October      Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                  0.3 0.0029412          $0.41
2019         Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

November     Asset                  11/01/19 KBD             390 Study correspondence from A. Porter and title company representative regarding questions              0.2 0.0285714         $11.14
2019         Disposition                                         relating to EB.
November     Asset                  11/04/19 KBD             390 Work through closing documents with A. Porter and J. Rak (7834-44 S. Ellis and 7301 S.                1.0          0.5     $195.00
2019         Disposition                                         Stewart) (1.0)
November     Asset                  11/14/19 KBD             390 Draft correspondence to A. Porter regarding motion to approve listing properties for sale.            0.2       0.025        $9.75
2019         Disposition
November     Asset                  11/15/19 KBD             390 study information regarding sold properties and sales proceeds (.1)                                   0.1 0.0083333          $3.25
2019         Disposition


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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
November     Asset                  11/16/19 KBD             390 Study motion to approve property sales.                                                               0.2 0.0666667         $26.00
2019         Disposition
November     Asset                  11/19/19 KBD             390 study post-closing reconciliation spreadsheet (.1).                                                   0.1 0.0083333          $3.25
2019         Disposition
November     Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608          $0.76
2019         Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                 improvements for remaining properties in portfolio (.2)
November     Business               11/05/19 KBD             390 analysis of same (.2).                                                                                0.2 0.0019608          $0.76
2019         Operations
November     Business               11/15/19 KBD             390 draft correspondence to insurance broker regarding sold properties (.2).                              0.2 0.0285714         $11.14
2019         Operations
November     Asset                  11/01/19 AEP             390 Review closing checklist and edit, customize, and revise all closing documents associated             2.4          2.4     $936.00
2019         Disposition                                         with sale of receivership property (7301 S Stewart) (2.4)
November     Asset                  11/01/19 AEP             390 review Section 1031 exchange notices proffered by counsel for purchaser of receivership               0.1         0.05      $19.50
2019         Disposition                                         properties (7301 S Stewart and 7834 S Ellis) and customize same for execution by receiver
                                                                 (.1)
November     Asset                  11/01/19 AEP             390 teleconference with J. Rak regarding methodology for collecting rent roll and delinquency             0.1 0.0142857          $5.57
2019         Disposition                                         information and prorating rents at closings (.1)
November     Asset                  11/01/19 AEP             390 consult title invoices and prepare and submit seller's closing figures to title companies in          0.6          0.3     $117.00
2019         Disposition                                         connection with sales of receivership property (7301 S Stewart and 7834 S Ellis) (.6)

November     Asset                  11/01/19 JR              140 exchange correspondence with N. Mirjanich relating to funds from closing (.3)                         0.3          0.1      $14.00
2019         Disposition
November     Asset                  11/01/19 JR              140 exchange correspondence with property manager relating to updates to closing documents                0.2          0.1      $14.00
2019         Disposition                                         related to upcoming closings (.2)
November     Asset                  11/01/19 JR              140 exchange correspondence with property manager relating to preparation of updated rent                 0.7         0.35      $49.00
2019         Disposition                                         roll, updates to leases and/or housing assistance contracts for properties (7301 Stewart and
                                                                 7844 Ellis) (.7)
November     Asset                  11/01/19 JR              140 preparation of all closing documents for signature (2.3).                                             2.3 0.3285714         $46.00
2019         Disposition
November     Asset                  11/01/19 JR              140 update closing documents for various properties relating to same (3.4)                                3.4          1.7     $238.00
2019         Disposition
November     Asset                  11/01/19 NM              260 Correspond with A. Watychowicz and A. Porter regarding order for second tranche of sales              0.2 0.0222222          $5.78
2019         Disposition                                         (.2)
November     Asset                  11/01/19 NM              260 revise and send to court for entry of same and correspond with K. Duff and courtroom                  0.5      0.0625       $16.25
2019         Disposition                                         deputy regarding the same (.5).
November     Asset                  11/02/19 AEP             390 Finalize preparation of all closing documents associated with sale of receivership property           1.3          1.3     $507.00
2019         Disposition                                         (7301 S Stewart) (1.3)
November     Asset                  11/02/19 JR              140 Review and update various closing documents for closings of properties in the second                  5.9         2.95     $413.00
2019         Disposition                                         tranche (7301 Stewart and 7834 Ellis) (5.9)
November     Asset                  11/02/19 JR              140 exchange correspondence with property manager relating to same (.1).                                  0.1         0.05       $7.00
2019         Disposition




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
November     Asset                  11/04/19 AEP             390 Review, analyze, discuss, and revise final rent rolls and oversee execution of all transaction          3.3         1.65     $643.50
2019         Disposition                                         documents associated with imminent closing of sale of receivership properties (7301 S
                                                                 Stewart and 7834 S Ellis) (3.3)
November     Asset                  11/04/19 AEP             390 attend closings of sales of both properties at separate title companies (7.5)                           7.5         3.75   $1,462.50
2019         Disposition
November     Asset                  11/04/19 JR              140 exchange correspondence with K. Pritchard regarding sub-account for incoming net                        0.1          0.1      $14.00
2019         Disposition                                         proceeds wire for property (7301 Stewart) (.1)
November     Asset                  11/04/19 JR              140 attend closing for properties (7301 Stewart and 7834 Ellis) (6.9)                                       6.9         3.45     $483.00
2019         Disposition
November     Asset                  11/04/19 JR              140 Final review of documents in preparation for closing (.6)                                               0.6 0.0857143         $12.00
2019         Disposition
November     Asset                  11/04/19 MR              390 Review order on sales and conferences with K. Duff regarding same and closing related                   0.5      0.0625       $24.38
2019         Disposition                                         issues.
November     Asset                  11/04/19 SZ              110 Obtain Certified Revised Order Granting Receiver's Second Motion for Approval of the Sale of            0.7      0.0875        $9.63
2019         Disposition                                         Certain Real Estate and Avoidance of Certain Mortgages, Liens, Claims, and Encumbrances to
                                                                 be used in the sale of properties.
November     Asset                  11/05/19 JR              140 correspond with K. Pritchard regarding newly created sub-account for various properties (.1)            0.1          0.1      $14.00
2019         Disposition
November     Asset                  11/05/19 JR              140 forward a federal reference number for wire confirmation from sale of property (7301                    0.1          0.1      $14.00
2019         Disposition                                         Stewart) (.1)
November     Asset                  11/05/19 JR              140 forward final settlement statements to real estate broker for properties (7301 Stewart and              0.2          0.1      $14.00
2019         Disposition                                         7834 Ellis) (.2)
November     Asset                  11/05/19 JR              140 exchange correspondence with K. Duff regarding same (.1).                                               0.1          0.1      $14.00
2019         Disposition
November     Asset                  11/05/19 JR              140 email correspondence with K. Duff, A. Porter and K. Pritchard regarding net proceeds relating           0.2          0.1      $14.00
2019         Disposition                                         to closed properties (7301 Stewart and 7834 Ellis) (.2)
November     Asset                  11/05/19 KMP             140 Communications with K. Duff and J. Rak regarding proceeds from sale of properties and                   0.2          0.1      $14.00
2019         Disposition                                         follow up with bank representative to confirm same.
November     Asset                  11/06/19 JR              140 complete document signing for same with K. Duff and A. Porter (.6)                                      0.6          0.3      $42.00
2019         Disposition
November     Asset                  11/12/19 JR              140 update spreadsheet with closed properties summary (.3)                                                  0.3       0.025        $3.50
2019         Disposition
November     Asset                  11/15/19 JR              140 exchange emails with real estate broker relating to same (.1)                                           0.1 0.0166667          $2.33
2019         Disposition
November     Asset                  11/15/19 JR              140 phone conference with real estate broker relating to recent closings, future closings and               0.7 0.1166667         $16.33
2019         Disposition                                         expectations (.7)
November     Asset                  11/15/19 JR              140 finalize closing spreadsheet for properties that already closed (.2)                                    0.2 0.0166667          $2.33
2019         Disposition
November     Asset                  11/15/19 JR              140 prepare notices to tenants for all properties in the second tranche that recently sold (2.0).           2.0 0.2857143         $40.00
2019         Disposition
November     Asset                  11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                    0.4       0.025        $3.50
2019         Disposition                                         properties (.4)




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
November     Asset                  11/19/19 JR              140 organize all closing documents into electronic files for properties (5955 Sacramento, 6001               2.3       0.575       $80.50
2019         Disposition                                         Sacramento, 7026 Cornell and 7301 Stewart) (2.3)
November     Asset                  11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from            0.4 0.0285714          $4.00
2019         Disposition                                         property managers on sold properties, and communicate with J. Rak regarding same.

November     Business               11/06/19 KMP             140 telephone conference with insurance broker regarding anticipated termination of insurance                0.1         0.02       $2.80
2019         Operations                                          coverage for several properties in process of being sold (.1)
November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835          $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417          $0.50
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835          $1.51
2019         Operations                                          reports (.4)
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019         Operations
November     Business               11/18/19 ED              390 Confer with J. Rak regarding reporting of final account reconciliations with property                    0.4 0.0333333         $13.00
2019         Operations                                          managers sold properties (.4)
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019         Operations
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757          $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379          $3.41
2019         Operations
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961          $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126          $1.14
2019         Operations                                          information for review (.3)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845          $3.81
2019         Operations                                          (2.8).
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                      0.4 0.0038835          $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                               3.8 0.0368932         $14.39
2019         Administration
             & Objections




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders               0.5 0.0048544         $1.89
2019         Administration                                      (.5).
             & Objections

December     Asset                  12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties          0.1 0.0076923         $1.08
2019         Disposition                                         information (.1)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)            0.1 0.0071429         $1.00
2019         Disposition
December     Asset                  12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                              0.2 0.0117647         $1.65
2019         Disposition
December     Asset                  12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                        1.0 0.0588235         $8.24
2019         Disposition
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                          reports (.2)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845        $10.60
2019         Administration
             & Objections




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed                 0.5 0.0294118          $4.12
2020         Disposition                                         properties (.5)
January      Asset                  01/06/20 KMP             140 Confer with K. Duff and J. Rak regarding confirmation of receipt of funds from final                 0.1 0.0333333          $4.67
2020         Disposition                                         reconciliation on sold properties (.1)
January      Asset                  01/14/20 AEP             390 conference with K. Duff, E. Duff, and N. Mirjanich regarding claims process information or           0.6          0.1      $39.00
2020         Disposition                                         other documentation relating to alleged security interests in property (.6)

January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)             1.6    0.015534        $2.17
2020         Disposition
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare             1.2 0.0116505          $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/23/20 JR              140 exchange correspondence with N. Mirjanich regarding status report and requested                      0.2 0.0181818          $2.55
2020         Disposition                                         information for same (.2)
January      Asset                  01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                   0.2 0.0117647          $1.65
2020         Disposition
January      Asset                  01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                         0.9 0.0529412          $7.41
2020         Disposition
January      Asset                  01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                                 0.7 0.0411765          $5.76
2020         Disposition
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                0.5 0.0048544          $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                         0.1 0.0014706          $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager             1.6    0.015534        $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                             0.5 0.0048544          $1.89
2020         Operations


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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/21/20 ED              390 Email correspondence with insurance agent to follow up on pending items.                                 0.1 0.0090909         $3.55
2020         Operations
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252         $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417         $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                      0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports                 0.7 0.0067961         $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                         0.2 0.0019417         $0.76
2020         Administration
             & Objections




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7301-09 S Stewart Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                      remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

February     Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                          Duff regarding same (.4)
February     Asset                  02/05/20 JR              140 review title commitments with A. Porter and identify special exceptions regarding a hold               1.7 0.1545455        $21.64
2020         Disposition                                         harmless letter (1.7).
February     Asset                  02/07/20 JR              140 Exchange correspondence with A. Porter related to hold harmless letters and research                   0.2 0.0181818         $2.55
2020         Disposition                                         regarding title companies which closed on EB properties (.2)
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                     5.2 0.2888889        $40.44
2020         Disposition
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846         $1.13
2020         Operations
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231         $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting               0.5 0.0048077         $1.88
2020         Administration                                      reports.
             & Objections

March 2020 Asset                    03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                        1.4 0.0777778        $10.89
           Disposition
March 2020 Asset                    03/05/20 JR              140 update closed property spreadsheet (.4)                                                                0.4 0.0222222         $3.11
           Disposition
March 2020 Asset                    03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet                  0.2 0.0111111         $1.56
           Disposition                                           regarding closed properties and forward same (.2)
March 2020 Asset                    03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                     0.6 0.0333333         $4.67
           Disposition
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                           0.1 0.0009709         $0.14
           Operations




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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845          $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                   0.2 0.0153846          $2.15
           Operations                                            finance payments based on sales of properties.
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462          $1.50
           Operations
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058          $5.57
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835          $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544          $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709          $0.38
           Administration
           & Objections

April 2020   Claims                 04/11/20 KBD             390 Study correspondence regarding analysis of fund claims.                                               0.2 0.0222222          $8.67
             Administration
             & Objections

April 2020   Claims                 04/17/20 KBD             390 Work with J. Wine on claims process and identification of fund claimants (.3)                         0.3         0.05      $19.50
             Administration
             & Objections

April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                               0.1 0.0015873          $0.22
             Disposition
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]            0.8 0.0126984          $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Business               04/21/20 ED              390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2020   Business               04/21/20 ED              390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Claims                 04/10/20 ED              390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED              390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                      documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                      accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections




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  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                  0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                  0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                        0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                        0.3 0.0176471         $6.88
             Disposition
May 2020     Asset                  05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings            0.3 0.0176471         $6.88
             Disposition                                         and sales (.3)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
             Operations
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709         $0.14
             Disposition                                         companies (.1)




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  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957         $1.22
             Disposition                                         (.2).
May 2020     Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462         $0.54
             Disposition                                         closings (.1)
May 2020     Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016       $2.24
             Disposition                                         (.4)
May 2020     Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008       $1.12
             Disposition
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                 regarding missing reports.
May 2020     Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                          regarding same
May 2020     Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                 amounts by property (.5).
May 2020     Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                          correspondence.
May 2020     Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/29/20 ED              390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED              390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 ED              390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 MR              390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/14/20 ED              390 Review drafts of February property accounting reports (1.1)                                         1.1 0.0106796         $4.17
             Administration
             & Objections




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  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
May 2020     Claims                 05/14/20 ED              390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
             Administration                                      (.2).
             & Objections

May 2020     Claims                 05/18/20 ED              390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
             Administration                                      accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED              390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED              390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED              390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED              390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED              390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544         $1.89
             Administration                                      (.5)
             & Objections

May 2020     Claims                 05/20/20 ED              390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709         $0.38
             Administration                                      relating to sold properties (.1).
             & Objections

June 2020    Claims                 06/06/20 KBD             390 Attention to responses to claimants.                                                               0.4 0.0363636        $14.18
             Administration
             & Objections

June 2020    Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                  0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)            0.9     0.05625       $7.88
             Disposition
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                          0.1       0.004       $0.56
             Disposition




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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215          $6.91
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063         $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797         $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012        $1.68
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961          $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466          $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087          $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                 0.2 0.0019417          $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                    0.2 0.0019417          $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)              0.7 0.0067961          $2.65
             Operations
June 2020    Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                             0.5 0.0048544          $1.89
             Operations
June 2020    Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting               0.6 0.0058252          $2.27
             Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                 unsold properties (.6)
June 2020    Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                            0.1 0.0009709          $0.38
             Operations
June 2020    Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)            0.2 0.0019417          $0.76
             Operations
June 2020    Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                 0.4 0.0222222          $5.78
             Administration                                      properties with no institutional debt (.4).
             & Objections

July 2020    Asset                  07/07/20 KBD             390 review notice to claimants of property sales and correspondence regarding same (.2)                   0.2 0.0333333         $13.00
             Disposition
July 2020    Claims                 07/06/20 KBD             390 Work on response to claimants.                                                                        0.3         0.06      $23.40
             Administration
             & Objections




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                        0.1 0.0027778         $0.39
             Disposition
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294         $3.29
             Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations


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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                          0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                      0.2 0.0019417         $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                              2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                 0.4 0.0038835         $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding           0.2 0.0019417         $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                               1.7 0.0165049         $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).             0.6 0.0058252         $2.27
             Administration
             & Objections

August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                           (.4)
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126         $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709         $0.38
            Operations
August 2020 Business                08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager                0.2 0.0031746         $1.24
            Operations                                           (.2)
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126         $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)


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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
August 2020 Business                08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873         $0.62
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835         $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
September    Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455         $1.77
2020         Disposition
September    Asset                  09/01/20 AW              140 Communicate with J. Rak regarding issue relating to property sales, compile pleadings                1.6 0.1066667        $14.93
2020         Disposition                                         related to same, and email K. Duff complete set of pleadings.
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417         $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417         $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126         $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126         $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417         $0.76
2020         Operations
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505         $4.54
2020         Operations                                          (1.2)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417         $0.27
2020         Operations                                          (.2).
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505         $4.54
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571         $1.11
2020         Operations
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388         $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379         $1.22
2020         Disposition
October      Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455         $0.64
2020         Disposition
October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544         $0.68
2020         Disposition                                         information (.5)
October      Business               10/02/20 ED              390 review of J. Rak comments identifying discrepancies in certain draft reports and consult             0.8 0.0421053        $16.42
2020         Operations                                          underlying financial records and correspondence (.8)
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379         $3.41
2020         Operations
October      Business               10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016       $6.24
2020         Operations


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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/02/20 ED          390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417         $0.76
2020         Operations
October      Business               10/02/20 ED          390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709         $0.38
2020         Operations
October      Business               10/06/20 ED          390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126         $1.14
2020         Operations                                      requiring revision (.3).
October      Business               10/06/20 ED          390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709         $0.38
2020         Operations
October      Business               10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767       $3.03
2020         Operations                                      comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                             reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087         $3.79
2020         Operations
October      Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020         Operations                                      reports (.5).
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024       $9.36
2020         Operations
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/13/20 ED          390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016       $6.24
2020         Operations
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                      property manager (.2)
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                          reports, and review of related financial information.
November     Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022       $3.08
2020         Disposition
November     Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868         $0.26
2020         Disposition
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                          property reports (.3)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619         $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571         $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172         $2.17
2020         Disposition                                         discrepancy (.9)
December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241         $0.24
2020         Disposition                                         (.1)


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7301-09 S Stewart Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                          preparation of September property accounting reports (.1)
December     Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                          property managers (2.6).
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations
December     Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020         Operations
December     Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020         Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                          properties (.9).
December     Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020         Operations                                          changes (.4)
December     Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020         Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                 agreements, and updates to schedule of properties.
December     Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048          $0.74
2020         Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                 relating to same.
January      Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021         Operations
January      Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021         Operations                                          expenses.
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524          $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704          $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                 0.5 0.0047619          $1.86
2021         Operations


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7301-09 S Stewart Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                       0.1 0.0009524         $0.37
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                     0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                          report (.2)
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                               0.4 0.0038095         $1.49
2021         Operations
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration           1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review              0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                       0.1 0.0009524         $0.37
2021         Operations




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7301-09 S Stewart Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Claims                 01/07/21 JR              140 Review proof of claims and update mortgagee claim information for properties (7500-06 S              5.9 0.8428571       $118.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
             & Objections                                        7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.9)

January      Claims                 01/07/21 JR              140 telephone call with J. Wine regarding claim updates (7500-06 S Eggleston Avenue, 3030-32 E           0.2 0.0285714         $4.00
2021         Administration                                      79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-
             & Objections                                        55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January      Claims                 01/11/21 JR              140 Work with J. Wine regarding review of claimant forms (7500-06 S Eggleston Avenue, 3030-32            1.6 0.2285714        $32.00
2021         Administration                                      E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
             & Objections                                        8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/11/21 JRW             260 begin review of claims against properties (7301-09 S Stewart Avenue, 7500-06 S Eggleston             3.7 1.2333333       $320.67
2021         Administration                                      Avenue, 3030-32 E 79th Street) and prepare notes regarding same (3.7)
             & Objections




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7301-09 S Stewart Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
January      Claims                 01/12/21 JRW             260 Continued analysis of claims against properties (7301-09 S Stewart Avenue, 7500-06 S                3.3          1.1     $286.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street) and draft memorandum regarding same (3.3)
             & Objections

January      Claims                 01/14/21 JRW             260 update chart of claims against properties (7301-09 S Stewart Avenue, 7500-06 S Eggleston            1.3 0.4333333        $112.67
2021         Administration                                      Avenue, 3030-32 E 79th Street) (1.3)
             & Objections

January      Claims                 01/15/21 JR              140 Review proof of claims (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S                2.8          0.4      $56.00
2021         Administration                                      Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
             & Objections                                        Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/15/21 JRW             260 confer with J. Rak regarding claims analysis and related review and summary of claim                1.0 0.3333333         $86.67
2021         Administration                                      submitted by claimant (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E
             & Objections                                        79th Street) (1).

January      Claims                 01/18/21 JR              140 further correspondence with J. Wine relating to claims and resolution of several questions          0.3 0.0428571          $6.00
2021         Administration                                      and issues (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue,
             & Objections                                        2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex
                                                                 Avenue) (.3).
January      Claims                 01/18/21 JR              140 review proof of claim forms and update claims review spreadsheet (7500-06 S Eggleston               5.4 0.7714286        $108.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.4)

January      Claims                 01/18/21 JR              140 Review email from J. Wine and notes regarding proof of claim forms and exchange                     0.4 0.0571429          $8.00
2021         Administration                                      correspondence regarding same (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-
             & Objections                                        09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.4)
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                0.6 0.0057143          $0.80
2021         Administration                                      lenders.
             & Objections

January      Claims                 01/20/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           6.6 0.9428571        $132.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/21/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           4.6 0.6571429         $92.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).




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7301-09 S Stewart Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
January      Claims                 01/21/21 JRW             260 review claims analysis (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E            0.2 0.0666667         $17.33
2021         Administration                                      79th Street) and related email exchange with S. Zjalic (.2)
             & Objections

January      Claims                 01/21/21 SZ              110 Reviewed claims related to Chicago Capital Fund I (7301-09 S Stewart Avenue, 7500-06 S             5.1          1.7     $187.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street).
             & Objections

January      Claims                 01/22/21 JR              140 exchange correspondence with S. Zjalic and J. Wine regarding same (7500-06 S Eggleston             0.2 0.0285714          $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January      Claims                 01/22/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          1.5 0.2142857         $30.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.5)

January      Claims                 01/22/21 SZ              110 Reviewed claims related to Chicago Capital Fund I (7301-09 S Stewart Avenue, 7500-06 S             0.1 0.0333333          $3.67
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street).
             & Objections

January      Claims                 01/25/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          4.8 0.6857143         $96.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (4.8).

January      Claims                 01/26/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          4.2          0.6      $84.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/27/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          5.1 0.7285714        $102.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/28/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          5.6          0.8     $112.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/29/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          6.7 0.9571429        $134.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records            0.4 0.0036697          $0.51
2021         Disposition                                         and status of same (.4)




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644         $4.63
2021         Operations
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797         $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048         $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762         $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762         $4.09
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048         $0.27
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857         $4.80
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571         $0.40
2021         Operations                                          reporting.
February     Claims                 02/01/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            1.2 0.1714286        $24.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Claims                 02/15/21 JR              140 Review EBF mortgagee list and update with claim amounts from proof of claims applications            2.4 0.3428571        $48.00
2021         Administration                                      (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E
             & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue)
                                                                 (2.4)
February     Claims                 02/15/21 JR              140 review emails from S. Zjalic regarding EBF mortgagee claim amounts (7500-06 S Eggleston              0.2 0.0285714         $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

February     Claims                 02/16/21 JR              140 Review EB Mortgagee lists and update proof of claims loan amounts (7500-06 S Eggleston               1.6 0.2285714        $32.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.6)

March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                   0.3 0.0028571         $1.11
           Operations
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                          2.2 0.0209524         $8.17
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                0.7 0.0066667         $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                 0.2 0.0019048         $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership               1.8 0.0171429         $2.40
           Operations                                            properties and produce same.


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  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                   03/03/21 JRW             260 Study notes regarding claims against funds (CCF1 and CCF2) (.3)                                     0.3         0.05      $13.00
           Administration
           & Objections

March 2021 Claims                   03/05/21 JR              140 Review email from J. Wine and further exchange correspondence with J. Wine related to the           0.5 0.0714286         $10.00
           Administration                                        claims distribution project (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S
           & Objections                                          Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.5)
March 2021 Claims                   03/05/21 JR              140 update and provide requested content related to the claims distribution project (7500-06 S          1.2 0.1714286         $24.00
           Administration                                        Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
           & Objections                                          7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.2).

April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873          $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125        $0.44
             Disposition                                         (.2)
April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762          $4.27
             Operations
May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                    1.3    0.012381        $1.73
             Operations
June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent             0.5 0.0047619          $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                0.2 0.0018868          $0.26
             Disposition                                         regarding closed properties status (see D) (.2)


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7301-09 S Stewart Avenue                                          EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
September Claims                    09/08/21 AEP         390 Legal research and communication of findings to K. Duff and J. Wine in connection with                   1.7 0.2833333        $110.50
2021      Administration                                     analysis of claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/08/21 JRW         260 legal research and related correspondence with A. Porter regarding analysis of findings (7301-           1.8          0.3      $78.00
2021      Administration                                     09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th
          & Objections                                       Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)

September Claims                    09/10/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes           0.7 0.1166667         $45.50
2021      Administration                                     and legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/10/21 JRW         260 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds               0.7 0.1166667         $30.33
2021      Administration                                     (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E
          & Objections                                       78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)

September Claims                    09/10/21 JRW         260 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S               0.4 0.0666667         $17.33
2021      Administration                                     Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
          & Objections                                       8047-55 S Manistee Avenue) (.4)

September Claims                    09/10/21 MR          390 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S          0.7 0.1166667         $45.50
2021      Administration                                     Stewart Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street,
          & Objections                                       7549-59 S Essex Avenue, 8047- 55 S Manistee Avenue).




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                        7500-06 S Eggleston Avenue
General Allocation % (Pre 01/29/21):                                                 1.2063787%
General Allocation % (01/29/21 Onward, Claims Only):                            1.2963372194%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     11       7500-06 S Eggleston Avenue                                                   47.96      $             12,981.44                         133.19     $            36,029.14             181.16     $             49,010.58
                 Asset Disposition [4]                                                        2.54    $                  830.68                          95.85   $             26,362.61               98.39   $              27,193.28
                 Business Operations [5]                                                      2.55    $                  766.82                          18.42   $               5,755.76              20.97   $                  6,522.58
                 Claims Administration & Objections [6]                                     42.88     $              11,383.94                           18.92   $               3,910.77              61.80   $              15,294.72




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7500-06 S Eggleston Avenue                                                EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   133.19
Specific Allocation Fees:         $       36,029.14



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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7500-06 S Eggleston Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                   2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)           0.2 0.0029412         $1.15
            Administration
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference               0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                    0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related           0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                       0.1 0.0009346         $0.36
2018         Disposition


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                             0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential               0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market               0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).          0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)              0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding               0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                   0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                0.1 0.0014706         $0.57
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft              0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                            0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management            0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                  0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding            0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                  0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                          0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                               0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding               0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                        2.5 0.0233645         $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                   0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                  0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of          0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                  0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                 0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                  0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                     0.1 0.0009434         $0.25
2018         Operations
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of             0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                     3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio           2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                  0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                    1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                              0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                              2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                      0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                       0.9 0.0084112         $3.28
2018         Disposition


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                   0.2 0.0018692          $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112          $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421          $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729          $1.82
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187          $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037          $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692          $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766          $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262          $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075          $2.19
2018         Disposition
October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/24/18 KBD         390 Draft correspondence to A. Porter and M. Rachlis regarding motion to approve public sale            0.2 0.0333333         $13.00
2018         Disposition                                     (.2)
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/29/18 KBD         390 study draft motion for approval of sealed bid process and correspondence from M. Rachlis            0.4 0.0666667         $26.00
2018         Disposition                                     regarding same (.4)
October      Asset                  10/30/18 KBD         390 Review correspondence from A. Porter regarding publication of sale notice.                          0.1 0.0166667          $6.50
2018         Disposition
October      Asset                  10/31/18 KBD         390 study draft motion to sell properties (.3).                                                         0.3         0.05      $19.50
2018         Disposition
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692          $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434          $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736          $1.47
2018         Operations                                      property managers (.4)


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours         Fees
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing             0.3 0.0044118          $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/11/18 KBD         390 Office conferences with and study correspondence from N. Mirjanich regarding housing             0.5 0.0192308          $7.50
2018         Operations                                      court matters (.5)
October      Business               10/12/18 KBD         390 study spreadsheet of open city housing and property matters from N. Mirjanich (.3)               0.3 0.0115385          $4.50
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)              1.8 0.0264706         $10.32
2018         Operations
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                0.3 0.0044118          $1.72
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                0.2 0.0018692          $0.73
2018         Operations
October      Business               10/16/18 KBD         390 exchange correspondence with N. Mirjanich regarding administrative court matter (7502            0.1          0.1      $39.00
2018         Operations                                      Eggleston) (.1)
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                 0.1 0.0014706          $0.57
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                       0.3 0.0044118          $1.72
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.            0.1 0.0014925          $0.58
2018         Operations
October      Business               10/22/18 KBD         390 study correspondence from N. Mirjanich and property manager regarding administrative             0.1          0.1      $39.00
2018         Operations                                      court hearing (.1)
October      Business               10/23/18 KBD         390 study correspondence from property manager regarding property repair issues (.1)                 0.1       0.025        $9.75
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild          0.1 0.0009346          $0.36
2018         Operations                                      properties (.1)
October      Business               10/26/18 KBD         390 Study correspondence with property manager and to real estate broker regarding property          0.3         0.15      $58.50
2018         Operations                                      repairs and cost estimates (.3)
October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)            0.9 0.0084906          $3.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)           0.2 0.0018692          $0.73
2018         Administration
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                               2.5 0.0233645          $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage            3.2 0.0299065         $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                         3.0 0.0280374         $10.93
2018         Disposition




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 NM          260 Prepare for meeting with broker by updating spreadsheet regarding open City of Chicago                 1.2 0.0461538        $12.00
2018         Disposition                                     litigation matters and create folders for bids and other documents provided by the property
                                                             managers to address compliance with violations (1.2)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                            0.1 0.0014925          $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                    0.1 0.0014925          $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                             0.1 0.0009346          $0.13
2018         Disposition
October      Asset                  10/19/18 NM          260 Conference call with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff               0.8 0.1333333         $34.67
2018         Disposition                                     regarding distribution plan and immediate sale of certain properties.
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                   2.1 0.0196262          $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Asset                  10/22/18 AW          140 prepare template draft of motion allowing sale of assets and email M. Rachlis regarding               0.3         0.05       $7.00
2018         Disposition                                     same (.3).
October      Asset                  10/22/18 AW          140 Attention to email from K. Duff regarding information about potential buyers and                      0.1 0.0166667          $2.33
2018         Disposition                                     communicate with A. Porter regarding same (.1)
October      Asset                  10/22/18 NM          260 Telephone conference with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff          1.5         0.25      $65.00
2018         Disposition                                     regarding distribution plan and immediate sale of certain properties and correspond with K.
                                                             Duff, M. Rachlis, and E. Duff regarding same.
October      Asset                  10/26/18 MR          390 work on other draft motions on public sale (1.0).                                                     1.0 0.1666667         $65.00
2018         Disposition
October      Asset                  10/31/18 AEP         390 conference call with K. Duff and M. Rachlis and putative listing brokers regarding issues             0.7 0.1166667         $45.50
2018         Disposition                                     associated with scheduling and timing of initial proposed closed-bid auction process (.7).

October      Asset                  10/31/18 MR          390 Attention to sealed bid motions (.9)                                                                  0.9         0.15      $58.50
2018         Disposition
October      Business               10/10/18 NM          260 file same at the City of Chicago DOAH building (1.4)                                                  1.4 0.4666667        $121.33
2018         Operations
October      Business               10/10/18 NM          260 Draft motion to set aside default judgment in six City of Chicago matters and correspond              1.4 0.4666667        $121.33
2018         Operations                                      with K. Duff, A. Watychowicz, and A. Porter regarding same (1.4)
October      Business               10/10/18 NM          260 prepare for housing court on October 11, 2018 (.4)                                                    0.4 0.0153846          $4.00
2018         Operations
October      Business               10/11/18 AW          140 attention to email from N. Mirjanich regarding scheduled hearing in housing court (.1)                0.1 0.0038462          $0.54
2018         Operations
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,              2.0 0.0186916          $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                                0.1 0.0009346          $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                    0.1 0.0009346          $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                       0.1 0.0014925          $0.21
2018         Operations




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
October      Business               10/22/18 NM          260 Study and respond to email correspondence relating to City violations, judgments,                        1.6          0.4     $104.00
2018         Operations                                      receivership future expenses, and motions to withdraw relating to the same and also
                                                             correspondence relating to trade creditors and institutional lenders (1.6)

October      Business               10/26/18 NM          260 Update spreadsheet regarding pending City litigation, correspond with broker regarding                   1.6          1.6     $416.00
2018         Operations                                      same and violation (7502 S Eggleston), and correspond with City attorneys and property
                                                             managers regarding same.
October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                            0.5 0.0046729          $1.82
2018         Administration
             & Objections

November     Asset                  11/01/18 KBD         390 study further revised public sale procedures (.3).                                                       0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/01/18 KBD         390 analysis of and exchange correspondence with broker regarding criteria for purchasers and                0.3         0.05      $19.50
2018         Disposition                                     due diligence (.3)
November     Asset                  11/01/18 KBD         390 study and revise public sale procedures and review correspondence from A Porter regarding                0.5 0.0833333         $32.50
2018         Disposition                                     same (.5)
November     Asset                  11/07/18 KBD         390 draft correspondence to M. Rachlis regarding motion for sale of property (.1)                            0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/07/18 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale procedures (.1)                     0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/07/18 KBD         390 study revised sale procedures (.1)                                                                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/08/18 KBD         390 study updated property sale procedures (.2).                                                             0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/09/18 KBD         390 study revisions and comments from M. Rachlis (.3).                                                       0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/09/18 KBD         390 Study draft motion for public sale, motion to file liquidation plan under seal, and liquidation          2.5 0.1388889         $54.17
2018         Disposition                                     plan (2.5)
November     Asset                  11/11/18 KBD         390 Study revised motion to improve public sale procedures and motion for leave to file redacted             0.8 0.1333333         $52.00
2018         Disposition                                     liquidation plans (.8)
November     Asset                  11/12/18 KBD         390 exchange correspondence with broker regarding potential listing prices (.2)                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/12/18 KBD         390 study revised motion to approve sale of properties and correspondence regarding same (.3)                0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/12/18 KBD         390 telephone conference and exchange correspondence with broker regarding properties for                    0.4 0.0666667         $26.00
2018         Disposition                                     sale, associated debt, listing prices, and former EquityBuild broker (.4)

November     Asset                  11/12/18 KBD         390 study revised bid procedures and correspondence from M. Rachlis and N. Mirjanich                         0.2 0.0333333         $13.00
2018         Disposition                                     regarding same (.2)
November     Asset                  11/12/18 KBD         390 review correspondence regarding closing statement for tranche of properties (.3).                        0.3         0.05      $19.50
2018         Disposition




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November     Asset                  11/13/18 KBD         390 office conference with M. Rachlis regarding lender's objection to motion to approve sale             0.3         0.05      $19.50
2018         Disposition                                     procedures and liquidation plan (.3).
November     Asset                  11/14/18 KBD         390 study lender objection to sealed bid process (.2)                                                    0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/14/18 KBD         390 study correspondence from broker regarding marketing process, and consideration and                  0.3         0.05      $19.50
2018         Disposition                                     approval of same (.3)
November     Asset                  11/14/18 KBD         390 study correspondence from M. Rachlis and broker regarding same (.1)                                  0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/14/18 KBD         390 study draft offering memoranda and correspondence from broker (.4)                                   0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/15/18 KBD         390 study correspondence from broker regarding listing plan, contingencies, due diligence, and           0.2 0.0333333         $13.00
2018         Disposition                                     various sale process issues (.2).
November     Asset                  11/15/18 KBD         390 study offering memoranda (.3)                                                                        0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/16/18 KBD         390 draft correspondence to real estate broker regarding publication of property listings (.1).          0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/20/18 KBD         390 office conference with N. Mirjanich regarding public notices for sale and study                      0.2 0.0333333         $13.00
2018         Disposition                                     correspondence from M. Rachlis and A. Porter regarding same (.2)
November     Asset                  11/21/18 KBD         390 office conferences with M. Rachlis and N. Mirjanich regarding same (.4)                              0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/21/18 KBD         390 Telephone conferences with real estate broker regarding public sale procedures and notice            0.8 0.1333333         $52.00
2018         Disposition                                     (.8)
November     Asset                  11/21/18 KBD         390 study order approving public sale process and correspondence from M. Rachlis regarding               0.1 0.0166667          $6.50
2018         Disposition                                     same (.1).
November     Asset                  11/21/18 KBD         390 draft correspondence to A. Porter regarding corporate entity ownership and real estate               0.3         0.05      $19.50
2018         Disposition                                     property sales (.3)
November     Asset                  11/21/18 KBD         390 study revised draft notice of public sale and correspondence from A. Porter and real estate          0.2 0.0333333         $13.00
2018         Disposition                                     broker regarding same (.2)
November     Asset                  11/21/18 KBD         390 study information regarding sale notice publication costs (.1)                                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/26/18 KBD         390 study correspondence regarding cost of publication notice and alternatives (.3).                     0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 Exchange correspondence with N. Mirjanich and publications representatives regarding                 0.4 0.0666667         $26.00
2018         Disposition                                     publication notice and cost (.4)
November     Asset                  11/27/18 KBD         390 telephone conference with and study correspondence from real estate broker regarding                 0.2 0.0333333         $13.00
2018         Disposition                                     marketing planning and timing (.2)
November     Asset                  11/27/18 KBD         390 telephone conference with A. Porter regarding same (.1)                                              0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 draft correspondence to A. Porter regarding purchase and sale agreement (.1)                         0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 telephone conference with SEC regarding publication notice cost (.1)                                 0.1 0.0166667          $6.50
2018         Disposition




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
November     Asset                  11/29/18 KBD         390 office conference with M. Rachlis regarding property sales and potential proceeds (.2)             0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/29/18 KBD         390 Telephone conference with broker representatives regarding properties listed for sale and          0.3         0.05      $19.50
2018         Disposition                                     purchase interest (.3)
November     Asset                  11/29/18 KBD         390 exchange correspondence with potential purchasers regarding same (.2)                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/29/18 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding potential purchasers and           0.2 0.0333333         $13.00
2018         Disposition                                     meeting with real estate broker (.2).
November     Asset                  11/30/18 KBD         390 review correspondence from A. Porter regarding purchase and sale agreement (.1)                    0.1 0.0166667          $6.50
2018         Disposition
November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                     0.6 0.0088235          $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                 0.4 0.0058824          $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial            0.1 0.0009346          $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Business               11/28/18 KBD         390 review city collection notices and correspondence from A Porter and property managers              0.2         0.05      $19.50
2018         Operations                                      regarding same (.2).
November     Business               11/29/18 KBD         390 study various notices and correspondence received from property manager (.2)                       0.2          0.2      $78.00
2018         Operations
November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to              0.2 0.0029851          $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                    0.1 0.0014925          $0.58
2018         Administration
             & Objections

November     Asset                  11/01/18 AEP         390 teleconference with outside brokers regarding sealed bid auction procedures and current            0.7 0.1166667         $45.50
2018         Disposition                                     status of property tranching project (.7).
November     Asset                  11/01/18 AEP         390 Study and revise sealed bid public sale terms and conditions (.9)                                  0.9         0.15      $58.50
2018         Disposition
November     Asset                  11/02/18 MR          390 Attention to sealed bid related issues.                                                            0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/07/18 AEP         390 Make final changes to sealed bid public auction rules.                                             0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/07/18 MR          390 work and review materials regarding sale process (1.1).                                            1.1 0.1833333         $71.50
2018         Disposition
November     Asset                  11/07/18 NM          260 correspond with K. Duff and M. Rachlis (1.0)                                                       1.0 0.1666667         $43.33
2018         Disposition
November     Asset                  11/07/18 NM          260 draft and review motion for court approval for public sale process (2.2)                           2.2 0.3666667         $95.33
2018         Disposition




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  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
November     Asset                  11/07/18 NM          260 study and respond to email correspondence relating to the sales process motion and the                    0.4 0.0666667         $17.33
2018         Disposition                                     liquidation plan (.4).
November     Asset                  11/08/18 NM          260 Draft and revise motion to approve public sale process (1.2)                                              1.2          0.2      $52.00
2018         Disposition
November     Asset                  11/09/18 MR          390 review draft of motion on sales process and rules for same (1.0).                                         1.0 0.1666667         $65.00
2018         Disposition
November     Asset                  11/12/18 AW          140 communicate with N. Mirjanich regarding filing of motion for in camera review (.1)                        0.1 0.0166667          $2.33
2018         Disposition
November     Asset                  11/12/18 AW          140 Communicate with N. Mirjanich regarding filing of motion for public sale (.1)                             0.1 0.0166667          $2.33
2018         Disposition
November     Asset                  11/12/18 AW          140 file approved motions (.4).                                                                               0.4 0.0666667          $9.33
2018         Disposition
November     Asset                  11/12/18 AW          140 proofread motion and exhibit, draft notice of motion and certificate of service, and email N.             0.7 0.1166667         $16.33
2018         Disposition                                     Mirjanich regarding revisions (.7)
November     Asset                  11/12/18 AW          140 proofread motion and draft notice of motion and certificate of service, and email N.                      0.3         0.05       $7.00
2018         Disposition                                     Mirjanich regarding revisions (.3)
November     Asset                  11/12/18 ED          390 Calls to counsel for lenders with mortgages on properties to be included in motion for                    0.4 0.0666667         $26.00
2018         Disposition                                     approval of public sale.
November     Asset                  11/12/18 MR          390 attention to sealed bid motion (.5).                                                                      0.5 0.0833333         $32.50
2018         Disposition
November     Asset                  11/14/18 AW          140 Attention to objections to Receiver's motions for public sale and for in camera review of                 0.2 0.0333333          $4.67
2018         Disposition                                     liquidation plan.
November     Asset                  11/15/18 AEP         390 Teleconference with receivership team regarding marketing of properties.                                  0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/16/18 MR          390 Several conferences with broker regarding issues on sales related to upcoming hearing (.5)                0.5 0.0833333         $32.50
2018         Disposition
November     Asset                  11/20/18 AEP         390 Teleconference with receivership broker regarding status of property due diligence and                    0.3         0.05      $19.50
2018         Disposition                                     marketing process (.3)
November     Asset                  11/20/18 AEP         390 edit and revise proposed notice of sealed bid auction (.3).                                               0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/20/18 AEP         390 research case files and provide N. Mirjanich legal descriptions to various properties                     0.5 0.0833333         $32.50
2018         Disposition                                     encompassed by forthcoming motion (.5)
November     Asset                  11/20/18 NM          260 correspond with real estate broker, K. Duff, and A. Porter regarding public notice form and               1.8          0.3      $78.00
2018         Disposition                                     draft and circulate same (1.8).
November     Asset                  11/21/18 AEP         390 Conference call with K. Duff, M. Rachlis, and N. Mirjanich regarding finalization of advertising          0.3         0.05      $19.50
2018         Disposition                                     copy relating to first sealed bid auction (.3)
November     Asset                  11/21/18 AEP         390 research chain of corporate ownership for receivership entities (5001 S Drexel LLC and                    0.7       0.175       $68.25
2018         Disposition                                     Chicago Capital Fund 1 LLC) (.7).
November     Asset                  11/21/18 AEP         390 edit and revise draft of proposed notice of sealed bid auction (.2)                                       0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/21/18 NM          260 telephone calls with newspaper publications and K. Duff regarding publication options and                 0.7 0.1166667         $30.33
2018         Disposition                                     draft email to same to request quote regarding same (.7).




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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
November     Asset                  11/21/18 NM          260 revise public notice document and correspond with K. Duff, M. Rachlis, real estate broker, A.          1.8          0.3      $78.00
2018         Disposition                                     Porter regarding same and regarding and regarding sale of corresponding 6 properties and
                                                             notice requirements (1.8)
November     Asset                  11/26/18 MR          390 conferences with N. Mirjanich regarding publication related issues (.3).                               0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/26/18 NM          260 Correspond with M. Rachlis, K. Duff and publication representative regarding publication of            0.2 0.0333333          $8.67
2018         Disposition                                     notice of sale of real estate (.2)
November     Asset                  11/27/18 ED          390 Confer with counsel to receiver regarding property sales.                                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/27/18 MR          390 Attention to various issues regarding publication.                                                     0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/27/18 NM          260 correspond with K. Duff, A. Porter, M. Rachlis, real estate broker, K. Pritchard, and                  1.3 0.2166667         $56.33
2018         Disposition                                     publications regarding publication of notice of real estate sale and email correspondence
                                                             relating to the same (1.3).
November     Asset                  11/28/18 AEP         390 Teleconference with receivership broker regarding issues associated with finalization of               0.2 0.0333333         $13.00
2018         Disposition                                     purchase and sale agreement.
November     Asset                  11/29/18 MR          390 conferences with K. Duff regarding sales process (1.2).                                                1.2          0.2      $78.00
2018         Disposition
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                              0.3 0.0028037          $1.09
2018         Operations
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729          $1.82
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692          $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/07/18 NM          260 correspond with K. Duff regarding motion toapprove public sale, liquidation plan, city                 0.8 0.1333333         $34.67
2018         Operations                                      litigation and fines, motion to lift stay, and investor correspondence (.8).
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                 0.7 0.0065421          $2.55
2018         Operations                                      related issues (.7)
November     Business               11/15/18 MR          390 attention to upcoming hearing (.5).                                                                    0.5 0.0833333         $32.50
2018         Operations
November     Business               11/16/18 MR          390 Prepare for upcoming hearing including review of pleadings and attend hearing.                         3.3         0.55     $214.50
2018         Operations
November     Business               11/21/18 MR          390 Prepare for and participate in hearing and several conferences regarding same.                         2.4          0.4     $156.00
2018         Operations
November     Claims                 11/14/18 ED          390 Review objections of lenders to motion to approve process for public sale (.2)                         0.2 0.0333333         $13.00
2018         Administration
             & Objections

November     Claims                 11/15/18 ED          390 confer with counsel to Receiver regarding reply to lenders' objections to plan of sale(.2).            0.2 0.0333333         $13.00
2018         Administration
             & Objections




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  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
November     Claims                 11/19/18 MR          390 Conferences on receivership strategy and related issues (.3)                                       0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 attention to filings on payoff amounts (.3)                                                        0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 attention to order and upcoming hearing (.3).                                                      0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/20/18 MR          390 preparation for upcoming hearing including review of submissions from opposing counsel             1.5         0.25      $97.50
2018         Administration                                  (1.5)
             & Objections

November     Claims                 11/20/18 MR          390 attention to lender filing and review materials and related follow up and conferences on           1.0 0.1666667         $65.00
2018         Administration                                  same (1.0).
             & Objections

November     Claims                 11/26/18 MR          390 Follow up on lender's requests and email on same (.1)                                              0.1 0.0166667          $6.50
2018         Administration
             & Objections

December     Asset                  12/07/18 KBD         390 study correspondence from real estate broker regarding marketing efforts report and study          0.2 0.0333333         $13.00
2018         Disposition                                     same (.2).
December     Asset                  12/08/18 KBD         390 Study draft proposed purchase and sale contract.                                                   0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/10/18 KBD         390 study correspondence from real estate broker regarding same (.1).                                  0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/10/18 KBD         390 study and revise draft purchase and sale agreement (.4)                                            0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/12/18 KBD         390 study property sale marketing information (.2)                                                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/12/18 KBD         390 Study and revise draft purchase and sale agreement and draft correspondence to A. Porter           0.8 0.1333333         $52.00
2018         Disposition                                     regarding same (.8)
December     Asset                  12/14/18 KBD         390 Study model purchase and sale agreement and correspondence from A. Porter regarding                0.3         0.05      $19.50
2018         Disposition                                     same.
December     Asset                  12/15/18 KBD         390 Exchange correspondence with real estate broker and A Porter regarding purchase and sale           0.2 0.0333333         $13.00
2018         Disposition                                     agreement (.2)
December     Asset                  12/15/18 KBD         390 study purchase and sale agreements for properties listed for sale (.3).                            0.3         0.05      $19.50
2018         Disposition




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
December     Asset                  12/15/18 KBD         390 study marketing report for sale of properties (.2)                                                      0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/16/18 KBD         390 Study agreement for sale of properties (.2)                                                             0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/16/18 KBD         390 study marketing and market information relating to efforts to sell properties (.2).                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/17/18 KBD         390 draft correspondence to statements contractor regarding records work (.1).                              0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/17/18 KBD         390 office conferences with K. Pritchard regarding analysis of lender account relating to                   0.2 0.0333333         $13.00
2018         Disposition                                     properties for sale (.2)
December     Asset                  12/20/18 KBD         390 telephone conferences with real estate broker regarding offers for property purchases (.6)              0.6          0.1      $39.00
2018         Disposition
December     Asset                  12/20/18 KBD         390 study offer from potential purchaser, conduct due diligence regarding same, and exchange                0.4 0.0666667         $26.00
2018         Disposition                                     correspondence with real estate broker regarding same (.4)
December     Asset                  12/20/18 KBD         390 office conference with M. Rachlis regarding same (.1).                                                  0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/20/18 KBD         390 further exchange correspondence regarding same (.2)                                                     0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/20/18 KBD         390 Study offer for potential purchaser and exchange correspondence with real estate broker                 0.1 0.0166667          $6.50
2018         Disposition                                     regarding same (.1)
December     Asset                  12/21/18 KBD         390 study correspondence from potential buyer regarding timing (.1)                                         0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/21/18 KBD         390 Office conference with real estate broker, M. Rachlis, A Porter, and N. Mirjanich regarding             2.5 0.4166667        $162.50
2018         Disposition                                     property purchase offers (2.5)
December     Asset                  12/21/18 KBD         390 study correspondence from real estate broker to successful bidders for real estate sales (.1).          0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/22/18 KBD         390 Study marketing status report and summary of offers on real estate sales.                               0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/23/18 KBD         390 Exchange correspondence with potential buyer regarding offer on property (.1)                           0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/26/18 KBD         390 study correspondence from real estate broker and A. Porter regarding revised purchase and               0.1 0.0166667          $6.50
2018         Disposition                                     sale agreement (.1).
December     Asset                  12/27/18 KBD         390 study revised purchase and sale agreement and correspondence from A. Porter regarding                   0.2 0.0333333         $13.00
2018         Disposition                                     same (.2)
December     Asset                  12/27/18 KBD         390 study settlement statement and closing checklist (.1).                                                  0.1 0.0166667          $6.50
2018         Disposition
December     Business               12/05/18 KBD         390 study correspondence from N. Mirjanich regarding city litigation and analysis of same (.2).             0.2 0.0090909          $3.55
2018         Operations
December     Business               12/06/18 KBD         390 Study and revise draft correspondence to city counsel regarding property repairs, housing               0.1 0.0045455          $1.77
2018         Operations                                      court matters, and permit issues and office conference with N. Mirjanich regarding same (.1)

December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                    0.1 0.0009434          $0.37
2018         Operations


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736          $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706          $0.57
2018         Operations
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038          $2.58
2018         Operations
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529          $2.87
2018         Operations
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383          $1.46
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509          $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/13/18 KBD         390 study document and correspondence regarding pending building code violations (.2).                     0.2 0.0333333         $13.00
2018         Operations
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346          $0.36
2018         Operations
December     Business               12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706          $0.57
2018         Operations                                      reporting (.1)
December     Business               12/18/18 KBD         390 exchange correspondence with city official regarding same (.1)                                         0.1 0.0166667          $6.50
2018         Operations
December     Business               12/18/18 KBD         390 exchange correspondence and office conference with N. Mirjanich regarding communication                0.1 0.0166667          $6.50
2018         Operations                                      with city official relating to water bills (.1)
December     Business               12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                       0.1 0.0014706          $0.57
2018         Operations
December     Business               12/19/18 KBD         390 exchange correspondence with N. Mi~anich regarding communication with city official                    0.1 0.0166667          $6.50
2018         Operations                                      regarding water bills (.1)
December     Asset                  12/01/18 AEP         390 Read, edit, and substantially redraft purchase and sale agreement received from receivership           5.5 0.9166667        $357.50
2018         Disposition                                     broker and prepare detailed list of questions and issues for title agent.

December     Asset                  12/03/18 AEP         390 Conference with receivership team regarding resolution of procedures associated with public            2.8 0.4666667        $182.00
2018         Disposition                                     sale auction process, open issues in current draft of purchase and sale agreement, current
                                                             strategy regarding estate liquidation, and establishment of separate accounts associated
                                                             with sales of properties included within first tranche.

December     Asset                  12/03/18 MR          390 Prepare for and participate in meeting with broker and Receivership team on disposition                2.6 0.4333333        $169.00
2018         Disposition                                     (2.6)
December     Asset                  12/03/18 MR          390 conferences regarding disposition process and various issues with K. Duff, A. Porter and N.            0.6          0.1      $39.00
2018         Disposition                                     Mirjanich (.6).
December     Asset                  12/03/18 NM          260 office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding                2.6 0.4333333        $112.67
2018         Disposition                                     liquidation of properties and future plans for same (2.6)
December     Asset                  12/05/18 NM          260 Correspond with K. Duff regarding the sale approval motion and process (.3)                            0.3         0.05      $13.00
2018         Disposition




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7500-06 S Eggleston Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December     Asset                  12/06/18 AEP         390 Assemble relevant administrative pleadings and related documents pertaining to all                    0.6          0.1      $39.00
2018         Disposition                                     properties in first marketing tranche.
December     Asset                  12/06/18 KMP         140 Telephone conference with City of Chicago attorney regarding concerns relating to water               0.2 0.0333333          $4.67
2018         Disposition                                     bills for the properties and issues in connection with motion to sell properties, and
                                                             conference with N. Mirjanich regarding follow-up.
December     Asset                  12/08/18 AEP         390 finalize preparation of proposed purchase and sale agreement and accompanying                         2.3 0.3833333        $149.50
2018         Disposition                                     assignment and assumption of leases (2.3).
December     Asset                  12/08/18 AEP         390 Conference call with receivership broker regarding status of property tours and investor              0.5 0.0833333         $32.50
2018         Disposition                                     interest and tasks requiring completion prior to submission of offers (.5)
December     Asset                  12/09/18 MR          390 Review purchase and sale agreement.                                                                   0.7 0.1166667         $45.50
2018         Disposition
December     Asset                  12/10/18 NM          260 Gather documents for real estate broker relating to code violations for due diligence room            0.3         0.05      $13.00
2018         Disposition                                     on properties currently listed for sale.
December     Asset                  12/11/18 MR          390 Attention to property sale related emails.                                                            0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/12/18 AEP         390 Teleconference with receivership broker regarding status of marketing efforts and issues              0.4 0.0666667         $26.00
2018         Disposition                                     associated with finalization of purchase and sale agreement (.4)
December     Asset                  12/12/18 AEP         390 teleconference with title company general counsel regarding preparation of title                      0.8 0.1333333         $52.00
2018         Disposition                                     commitments, waiver of special exceptions for liens and encumbrances, and form of
                                                             receiver's deed for all properties marketed in first marketing tranche (.8).
December     Asset                  12/12/18 MR          390 attention to purchase agreement (.2).                                                                 0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/13/18 AEP         390 Teleconference with title company representatives regarding preparation of title reports for          0.8 0.1333333         $52.00
2018         Disposition                                     properties in first marketing tranche (.8)
December     Asset                  12/13/18 AEP         390 e-mail exchanges with receivership management companies regarding existence of security               0.3         0.05      $19.50
2018         Disposition                                     deposit accounts at buildings in first marketing tranche and responding to other
                                                             miscellaneous inquiries (.3).
December     Asset                  12/13/18 NM          260 Prepare documents for real estate broker regarding violations on six buildings currently              1.0 0.1666667         $43.33
2018         Disposition                                     listed for sale (1.0)
December     Asset                  12/13/18 NM          260 exchange correspondence with broker regarding same (.3).                                              0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/14/18 AEP         390 teleconference with receiver regarding status of final draft of purchase and sale agreement           0.1 0.0166667          $6.50
2018         Disposition                                     (.1)
December     Asset                  12/14/18 AEP         390 incorporate proposed modifications as warranted (.7)                                                  0.7 0.1166667         $45.50
2018         Disposition
December     Asset                  12/14/18 AEP         390 read all comments on draft purchase and sale agreement (.3)                                           0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/14/18 AEP         390 Teleconferences with receivership real estate broker regarding status of final draft of               0.1 0.0166667          $6.50
2018         Disposition                                     purchase and sale agreement (.1)
December     Asset                  12/14/18 AEP         390 teleconference with N. Mirjanich regarding pending administrative and judicial actions                0.4 0.0666667         $26.00
2018         Disposition                                     pending against properties in first marketing tranche (.4)
December     Asset                  12/14/18 MR          390 Attention to issues in draft purchase and sales agreement and conferences regarding same.             0.8 0.1333333         $52.00
2018         Disposition


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Asset                  12/14/18 NM              260 Correspond with real estate broker regarding documents for violations on six buildings                   0.2 0.0333333          $8.67
2018         Disposition                                         currently listed for sale (.2)
December     Asset                  12/14/18 NM              260 correspond with A. Porter regarding same and violations disclosures (.3).                                0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/15/18 AEP             390 Teleconference with receivership broker regarding status of preparation of purchase and                  0.3         0.05      $19.50
2018         Disposition                                         sale agreements and final comments thereon (.3)
December     Asset                  12/15/18 AEP             390 proofread, edit, revise, and customize purchase and sale agreements for all properties in first          3.1 0.5166667        $201.50
2018         Disposition                                         marketing tranche (3.1).
December     Asset                  12/15/18 MR              390 attention to other emails regarding issues on property and appraisals (.2).                              0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/15/18 MR              390 Review purchase and sales agreement and other emails regarding same (.4)                                 0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/17/18 KMP             140 Conference with K. Duff regarding review of lender statements to determine investor                      0.1 0.0166667          $2.33
2018         Disposition                                         interests in properties currently for sale (.1)
December     Asset                  12/17/18 KMP             140 begin review of lender statements in connection with same (.6).                                          0.6          0.1      $14.00
2018         Disposition
December     Asset                  12/18/18 AEP             390 conference calls with property managers regarding security deposit issues (.3).                          0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/18/18 AEP             390 Conference with receivership team to select best bids on all properties in first marketing               1.8          0.3     $117.00
2018         Disposition                                         tranche (1.8)
December     Asset                  12/18/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             1.7 0.2833333         $39.67
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/18/18 SZ              110 office conference with K. Duff regarding same (.1).                                                      0.1 0.0166667          $1.83
2018         Disposition
December     Asset                  12/18/18 SZ              110 Research and retrieving of emails showing financial positions of investors in various                    1.7 0.2833333         $31.17
2018         Disposition                                         properties (at 5001 S. Drexel, 7500-06 S. Eggleston Ave., 7547-49 S. Essex Ave., 7927-49 S.
                                                                 Essex Ave., 8100 S. Essex, 6160-6212 S. Martin Luther King Drive) (1.7)

December     Asset                  12/19/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             3.1 0.5166667         $72.33
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/19/18 NM              260 Correspond with K. Duff and M. Rachlis regarding offers from real estate broker.                         0.1 0.0166667          $4.33
2018         Disposition
December     Asset                  12/20/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.9 0.4833333         $67.67
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property, and
                                                                 conference with K. Duff regarding same.
December     Asset                  12/20/18 MR              390 Attention to various issues on property's regarding issues on disposition.                               0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/21/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.4          0.4      $56.00
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.




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  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
December     Asset                  12/21/18 MR          390 Participate in meetings regarding offers to purchase and several conferences regarding same              2.5 0.4166667        $162.50
2018         Disposition                                     (2.5)
December     Asset                  12/21/18 MR          390 attention to various issues on strategy regarding sales and issues in litigation (2.5).                  2.5 0.4166667        $162.50
2018         Disposition
December     Asset                  12/21/18 NM          260 exchange correspondence with property managers regarding outstanding water bills and                     0.6          0.1      $26.00
2018         Disposition                                     create spreadsheet for same (.6)
December     Asset                  12/21/18 NM          260 Office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding offers           2.2 0.3666667         $95.33
2018         Disposition                                     received on the 6 properties for sale (2.2)
December     Asset                  12/21/18 NM          260 prepare for same by creating spreadsheet of outstanding water bills on same properties and               0.8 0.1333333         $34.67
2018         Disposition                                     exchange correspondence and study documents from City representative regarding same
                                                             (.8)
December     Asset                  12/23/18 AEP         390 Review all contracts accepted by receiver and prepare separate closing checklists (1.2)                  1.2          0.2      $78.00
2018         Disposition
December     Asset                  12/27/18 AEP         390 Teleconference with K. Duff regarding status of building code violations of properties in first          0.6          0.1      $39.00
2018         Disposition                                     marketing tranche (.6)
December     Asset                  12/27/18 MR          390 Attention to email on sales of property (.1)                                                             0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/27/18 MR          390 several conferences and attention to issues on various areas of correspondence on asset                  0.5 0.0833333         $32.50
2018         Disposition                                     disposition (.5).
December     Asset                  12/28/18 MR          390 Attention to upcoming meetings on property sales.                                                        0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/29/18 MR          390 Communicate with K. Duff regarding upcoming meeting on property sales.                                   0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/31/18 MR          390 follow up emails with K. Duff (.2).                                                                      0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/31/18 MR          390 Attention to issues on purchase agreement (.4)                                                           0.4 0.0666667         $26.00
2018         Disposition
December     Business               12/05/18 NM          260 correspond with property manager regarding priority of capital repairs on properties and                 0.8          0.1      $26.00
2018         Operations                                      City code violations on same (.8)
December     Business               12/05/18 NM          260 correspond with K. Duff regarding priority of capital repairs on properties and City code                0.6       0.075       $19.50
2018         Operations                                      violations on same (.6).
December     Business               12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various              2.8 0.0264151         $10.30
2018         Operations                                      issues (2.8)
December     Business               12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                         0.1 0.0009434          $0.37
2018         Operations
December     Business               12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work                1.3 0.0122642          $3.19
2018         Operations                                      to address City violations and his plan for same (1.3)
December     Business               12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                               0.3 0.0028302          $0.74
2018         Operations
December     Business               12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                               0.2 0.0018868          $0.26
2018         Operations
December     Business               12/12/18 MR          390 Prepare for and participate in meeting with City officials and conferences regarding same                3.0 0.0283019         $11.04
2018         Operations                                      with K. Duff and N. Mirjanich.


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
December     Business               12/12/18 NM          260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018         Operations                                      Rachlis and K. Duff regarding same (2.5)
December     Business               12/12/18 NM          260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018         Operations                                      removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                             properties with violations (1.5)
December     Business               12/13/18 AW          140 Confer with N. Mirjanich regarding documents requested by broker regarding code violations              0.2 0.0333333          $4.67
2018         Operations                                      (.2)
December     Business               12/18/18 KMP         140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706          $0.21
2018         Operations                                      income from property manager and conference with K. Duff regarding same.

December     Business               12/19/18 NM          260 Study and respond to outstanding emails regarding Court docket entries, creditor invoices,              1.2          0.1      $26.00
2018         Operations                                      City litigation and updates to properties from property managers and City attorneys,
                                                             outstanding water debt and correspondence from City attorneys and with K. Duff on same,
                                                             EB counsel regarding motion to lift stay in personal injury case, emails in EB account (1.2)

December     Business               12/20/18 NM          260 study list of properties for unpaid water utilities and begin to organize by property manager           0.1 0.0166667          $4.33
2018         Operations                                      to send to City attorney (.1)
December     Business               12/20/18 NM          260 prepare for telephone conference with City attorney regarding outstanding water utilities,              1.5         0.25      $65.00
2018         Operations                                      study documents sent regarding same, and correspond with property managers regarding
                                                             same (1.5)
December     Business               12/20/18 NM          260 telephone conference with City attorney regarding outstanding water utilities (.5)                      0.5 0.0833333         $21.67
2018         Operations
December     Business               12/20/18 NM          260 correspond with K. Duff and real estate broker regarding same (.1)                                      0.1 0.0166667          $4.33
2018         Operations
December     Business               12/21/18 NM          260 Study and respond to outstanding emails relating to code violations and with property                   0.7 0.1166667         $30.33
2018         Operations                                      managers regarding the same, outstanding water bills and correspond with property
                                                             managers regarding the same, properties with violations and City attorney regarding the
                                                             same (.7)
January      Asset                  01/07/19 KBD         390 draft correspondence to N. Mirjanich regarding broker's commission (.1).                                0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/09/19 KBD         390 study correspondence from A. Porter regarding motion to approve sales (.1).                             0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/09/19 KBD         390 Work on motions to approve sale of properties with N. Mirjanich (.2)                                    0.2 0.0333333         $13.00
2019         Disposition
January      Asset                  01/10/19 KBD         390 Study correspondence from A. Porter regarding proposed order approving sale of properties               0.1 0.0166667          $6.50
2019         Disposition                                     (.1)
January      Asset                  01/10/19 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding timing for motion to approve               0.2 0.0333333         $13.00
2019         Disposition                                     property sales (.2).
January      Asset                  01/15/19 KBD         390 Discuss review of EquityBuild records to identify people for whom to provide notice of                  0.1 0.0166667          $6.50
2019         Disposition                                     motion to approve sale of real estate with K. Pritchard (.1)
January      Asset                  01/25/19 KBD         390 Telephone conference with real estate broker regarding status of work for sale approval (.1)            0.1 0.0166667          $6.50
2019         Disposition




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  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
January      Asset                  01/25/19 KBD         390 analysis of motion to approve sale of properties with N. Mirjanich (.1)                              0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/28/19 KBD         390 study correspondence from N. Mirjanich regarding broker commissions (.1).                            0.1 0.0166667          $6.50
2019         Disposition
January      Business               01/02/19 KBD         390 Review water bill issue and office conference with and review correspondence from N.                 0.2 0.0285714         $11.14
2019         Operations                                      Mirjanich regarding same (.2)
January      Business               01/09/19 KBD         390 Review correspondence from property manager regarding water bills (.1)                               0.1 0.0333333         $13.00
2019         Operations
January      Business               01/10/19 KBD         390 study property management report (.2)                                                                0.2 0.0029412          $1.15
2019         Operations
January      Business               01/10/19 KBD         390 study property manager financial reporting (.4).                                                     0.4 0.0059701          $2.33
2019         Operations
January      Business               01/11/19 KBD         390 review correspondence from property manager and A. Porter regarding payment of water                 0.1 0.0333333         $13.00
2019         Operations                                      bills (.1)
January      Business               01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager              0.3 0.0044118          $1.72
2019         Operations                                      regarding same (.3)
January      Business               01/15/19 KBD         390 study financial reporting from other property manager (.3).                                          0.3 0.0044118          $1.72
2019         Operations
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                           0.1 0.0009434          $0.37
2019         Operations
January      Business               01/22/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                          0.1 0.0142857          $5.57
2019         Operations
January      Business               01/22/19 KBD         390 Confer with and draft correspondence to N. Mirjanich regarding numerous property repair              0.8 0.1142857         $44.57
2019         Operations                                      issues and planning (.8)
January      Business               01/22/19 KBD         390 study various correspondence from property managers and asset management firm                        0.5 0.0714286         $27.86
2019         Operations                                      representative regarding same (.5)
January      Business               01/22/19 KBD         390 study operating reports and exchange correspondence with asset manager regarding same                0.5 0.0714286         $27.86
2019         Operations                                      (.5).
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City               0.2 0.0018868          $0.74
2019         Operations                                      officials regarding scofflaw list (.2).
January      Business               01/25/19 KBD         390 Exchange correspondence with and N. Mirjanich property manager regarding various                     0.2         0.05      $19.50
2019         Operations                                      property repair and compliance issues (.2)
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding              0.1 0.0009434          $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Asset                  01/05/19 AEP         390 Create or update closing checklists and create closing statements, and assemble information          4.4 0.7333333        $286.00
2019         Disposition                                     needed to prepare closing documents and obtain necessary governmental approvals for all
                                                             properties in first sales tranche (4.4)
January      Asset                  01/06/19 AEP         390 Review and analyze title documents and prepare title examinations on three properties                6.4 2.1333333        $832.00
2019         Disposition                                     (7547 S Essex, 7500 S Eggleston, and 8100 S Essex).
January      Asset                  01/08/19 AEP         390 Teleconference with survey company regarding proposal to perform surveys on properties in            0.2 0.0333333         $13.00
2019         Disposition                                     first marketing tranche (.2)




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
January      Asset                  01/09/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding timing of closings of first tranche of             0.6          0.1      $39.00
2019         Disposition                                     properties and critical paths thereto, issues regarding EBF loans on title commitments, and
                                                             rooftop lease at property being sold (8100 S Essex) (.6).
January      Asset                  01/10/19 AEP         390 begin reviewing closing checklists on all properties in first tranche, assembling litigation due          1.2          0.2      $78.00
2019         Disposition                                     diligence documents, and transmitting same to counsel for corresponding sellers (1.2).

January      Asset                  01/10/19 NM          260 correspond with K. Duff and property manager regarding outstanding water bills for same                   0.1 0.0166667          $4.33
2019         Disposition                                     and revise spreadsheet to reflect same (.1).
January      Asset                  01/10/19 NM          260 Draft motion to approve sale of first set of properties (8100 S. Essex, 7549 S. Essex, 5001 S.            2.2 0.3666667         $95.33
2019         Disposition                                     Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) (2.2)
January      Asset                  01/11/19 AEP         390 Review closing checklists for all properties in first marketing tranche and finalize all open             1.1 0.1833333         $71.50
2019         Disposition                                     issues, including due diligence productions, delivery of all joint order escrow forms to title
                                                             company, and research into current water delinquencies.
January      Asset                  01/11/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                3.7 0.6166667        $160.33
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                             with K. Duff and A. Porter regarding same.
January      Asset                  01/13/19 AEP         390 compile and submit all building-specific and earnest money information requested by escrow                0.4 0.0666667         $26.00
2019         Disposition                                     administrator at title company (.4).
January      Asset                  01/13/19 AEP         390 Review revised charts of pending administrative actions and distribute latest orders to                   0.2 0.0333333         $13.00
2019         Disposition                                     buyers in first marketing tranche (.2)
January      Asset                  01/14/19 AEP         390 compile and transmit prior title commitments associated with properties contained in first                0.4 0.0666667         $26.00
2019         Disposition                                     marketing tranche to receivership surveyor and prepare e-mails introducing surveyor to
                                                             property managers for purpose of facilitating access (.4).
January      Asset                  01/14/19 AEP         390 Teleconference with receivership broker regarding status of closing process for first                     0.2 0.0111111          $4.33
2019         Disposition                                     marketing tranche and expectations regarding timing of commencement of marketing of
                                                             second tranche (.2)
January      Asset                  01/14/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                1.7 0.2833333         $73.67
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                             with K. Duff regarding same.
January      Asset                  01/16/19 NM          260 Revise motion to approve public sale process for second round of property sales and revise                1.0 0.0555556         $14.44
2019         Disposition                                     motion for court approval of the sale of the first round of properties and correspond with A.
                                                             Porter regarding documents from title company for same.
January      Asset                  01/17/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                1.1 0.1833333         $47.67
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex).
January      Asset                  01/18/19 NM          260 Update spreadsheet to reflect code violations and other building issues at properties being               0.3         0.05      $13.00
2019         Disposition                                     sold as part of the second property sale and revise motion for sale of first round of
                                                             properties.
January      Asset                  01/21/19 NM          260 summarize status of properties in first round of public sale with respect to updates in City              0.4 0.0666667         $17.33
2019         Disposition                                     litigation and outstanding utility bills (.4).
January      Asset                  01/22/19 AEP         390 teleconference with title company regarding status of preparation of title commitments for                0.3         0.05      $19.50
2019         Disposition                                     first tranche of properties, processing of title orders for second tranche, and going-forward
                                                             method for processing title commitments (.3)




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  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
January      Asset                  01/22/19 AEP         390 teleconference with survey company associate regarding pricing, payment, and proofing of                0.1 0.0166667          $6.50
2019         Disposition                                     first batch of surveys (.1)
January      Asset                  01/22/19 AEP         390 teleconference with title company regarding itemization of all released or unreleased                   0.2 0.0222222          $8.67
2019         Disposition                                     mortgagees on title commitments for properties presently or previously encumbered by EBF
                                                             loans (.2)
January      Asset                  01/23/19 AEP         390 read all administrative orders entered in preceding two weeks, make notes in corresponding              0.2 0.0333333         $13.00
2019         Disposition                                     building purchase and sale files, and notify counsel of orders entered in actions affecting
                                                             buildings in first marketing tranche (.2)
January      Asset                  01/23/19 AEP         390 update closing checklists for all properties in first marketing tranche (.3)                            0.3         0.05      $19.50
2019         Disposition
January      Asset                  01/24/19 NM          260 prepare for meeting with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow               0.3         0.05      $13.00
2019         Disposition                                     amounts for the first round of property sales (.3)
January      Asset                  01/24/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with K.               2.8 0.4666667        $121.33
2019         Disposition                                     Pritchard regarding notice for same (2.8)
January      Asset                  01/24/19 NM          260 office conference with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow                 1.8          0.3      $78.00
2019         Disposition                                     amounts for the first round of property sales (1.8).
January      Asset                  01/25/19 AEP         390 meeting with N. Mirjanich regarding title exceptions to be included in proposed order                   0.4 0.0666667         $26.00
2019         Disposition                                     approving sales of properties in first tranche, notice to affected parties, and other related
                                                             issues (.4).
January      Asset                  01/25/19 AEP         390 Teleconference with receiver and receivership broker on status of preparation of closing of             0.2 0.0333333         $13.00
2019         Disposition                                     sales of properties in first marketing tranche (.2)
January      Asset                  01/25/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with A.               2.1         0.35      $91.00
2019         Disposition                                     Porter regarding title commitments and information regarding same in order (2.1)

January      Asset                  01/25/19 NM          260 correspond with K. Pritchard and S. Zjalic regarding notice for the sale of the first round of          0.5 0.0833333         $21.67
2019         Disposition                                     properties (.5).
January      Asset                  01/28/19 AEP         390 Conference call with N. Mirjanich regarding special exceptions on title commitments relating            1.0 0.1666667         $65.00
2019         Disposition                                     to properties in first marketing tranche.
January      Asset                  01/28/19 NM          260 correspond with A. Porter regarding title commitments and information regarding same in                 1.0 0.1666667         $43.33
2019         Disposition                                     order (1.0).
January      Asset                  01/28/19 NM          260 Revise motion to approve the sale of the first round of properties (2.1)                                2.1         0.35      $91.00
2019         Disposition
January      Asset                  01/29/19 AEP         390 research regarding liens (.3).                                                                          0.3         0.05      $19.50
2019         Disposition
January      Asset                  01/29/19 AEP         390 Review first drafts of surveys for properties under contract of sale (7500 S Eggleston, 7549 S          0.5 0.1666667         $65.00
2019         Disposition                                     Essex, and 8100 S Essex) and make appropriate changes (.5)
January      Asset                  01/29/19 AEP         390 conference with N. Mirjanich regarding preparation of motion relating to receivership                   0.3         0.05      $19.50
2019         Disposition                                     properties (.3)
January      Asset                  01/29/19 AEP         390 update closing checklists for properties in first marketing tranche (.2)                                0.2 0.0333333         $13.00
2019         Disposition
January      Asset                  01/29/19 NM          260 Revise motion to approve the sale of the first round of properties and correspond with A.               2.7         0.45     $117.00
2019         Disposition                                     Porter regarding title commitments, information regarding same in order, and filing of same
                                                             and correspond with K. Duff regarding same.


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
January      Asset                  01/30/19 AEP         390 continue researching sale issue (.4)                                                                     0.4 0.0666667         $26.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 review title commitments and begin preparation of notice list for all properties in first                0.2 0.0333333         $13.00
2019         Disposition                                     tranche (.2)
January      Asset                  01/30/19 AEP         390 begin preparation of motion to approve sales of properties in first tranche (.8).                        0.8 0.1333333         $52.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 Update closing checklists for all properties in first tranche (.2)                                       0.2 0.0333333         $13.00
2019         Disposition
January      Business               01/11/19 AEP         390 Conference with receivership team to discuss sales proceeds and lenders.                                 1.0 0.1666667         $65.00
2019         Operations
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls              0.2 0.0029412          $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross            0.1 0.0014706          $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/17/19 NM          260 Prepare for administrative court on 11 matters (.2)                                                      0.2 0.0222222          $5.78
2019         Operations
January      Business               01/17/19 NM          260 appear for administrative court for 1 streets and sanitation violation and 10 buildings court            3.3 0.3666667         $95.33
2019         Operations                                      violations (3.3).
January      Business               01/22/19 AEP         390 work to organize closing statements from refinances of properties in first two marketing                 0.4 0.0222222          $8.67
2019         Operations                                      tranches (.4).
January      Business               01/22/19 NM          260 address pending City litigation matters by drafting correspondence providing and seeking                 2.5      0.3125       $81.25
2019         Operations                                      updates from property managers regarding all administrative matters and certain housing
                                                             matters, correspond with City attorney regarding continuing status tomorrow on property
                                                             (7109 S. Calumet), draft follow-up email to City attorney, and revise spreadsheet to reflect
                                                             status of current matters (2.5)
January      Business               01/22/19 NM          260 correspond with K. Duff regarding outstanding code violations and update from                            0.6 0.0857143         $22.29
2019         Operations                                      administrative court regarding same (.6).
January      Business               01/30/19 AEP         390 Research first installment property tax liability associated with properties in preparation for          0.4 0.0666667         $26.00
2019         Operations                                      02/01/19 meeting.
February     Asset                  02/01/19 KBD         390 Office conference with N. Mirjanich regarding meeting with title company (.2)                            0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/01/19 KBD         390 study correspondence from N. Mirjanich regarding property sales and receivership costs (.1)              0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/01/19 KBD         390 telephone conference with real estate broker regarding sale of first listed properties, listing          0.6 0.0333333         $13.00
2019         Disposition                                     of second set of properties (.6)
February     Asset                  02/07/19 KBD         390 Exchange correspondence with A. Porter regarding title company communications and                        0.1 0.0166667          $6.50
2019         Disposition                                     efforts relating to preparation of properties for closing.
February     Asset                  02/08/19 KBD         390 study motion to approve sale of real estate (7502 Eggleston and 7927-49 Essex) (.3)                      0.3         0.15      $58.50
2019         Disposition
February     Asset                  02/08/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of properties (.1)                  0.1 0.0166667          $6.50
2019         Disposition




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  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Asset                  02/08/19 KBD         390 exchange correspondence with A. Porter regarding same (.1).                                             0.1         0.05      $19.50
2019         Disposition
February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346          $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/09/19 KBD         390 Exchange correspondence with A. Porter and M. Rachlis regarding motion to approve sale of               0.3         0.05      $19.50
2019         Disposition                                     properties.
February     Asset                  02/10/19 KBD         390 Study correspondence and revised motion to approve sale of real estate from A. Porter.                  0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 discuss same with N. Mirjanich (.2)                                                                     0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 telephone conference with M. Rachlis, N. Mirjanich and A. Porter regarding motion to                    1.7 0.2833333        $110.50
2019         Disposition                                     approve and sale proceeds (1.7)
February     Asset                  02/11/19 KBD         390 telephone conference with real estate broker representatives, M. Rachlis, N. Mirjanich, and             0.7 0.1166667         $45.50
2019         Disposition                                     A. Porter regarding sales proceeds (.7)
February     Asset                  02/11/19 KBD         390 study correspondence regarding broker commissions on property sales (.1)                                0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/11/19 KBD         390 Study draft motion to approve sale of real estate (1.0)                                                 1.0 0.1666667         $65.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/12/19 KBD         390 Study revised motion to approve sale of properties and study correspondence regarding                   0.2 0.0333333         $13.00
2019         Disposition                                     service of same.
February     Asset                  02/13/19 KBD         390 study revise motion to approve sale of properties (.2)                                                  0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 KBD         390 study draft order approving sale of properties (.1).                                                    0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 telephone conferences with real estate broker regarding sales and buyer criteria and motion             0.4 0.0666667         $26.00
2019         Disposition                                     to approve sales (.4)
February     Asset                  02/14/19 KBD         390 telephone conference with A. Porter and N. Mirjanich regarding motion to approve sale of                0.1 0.0166667          $6.50
2019         Disposition                                     real estate (.1)
February     Asset                  02/14/19 KBD         390 Study revised motion to approve sale of real estate and various correspondence regarding                0.7 0.1166667         $45.50
2019         Disposition                                     same (.7)
February     Asset                  02/14/19 KBD         390 telephone conference with A. Porter regarding title company concerns and about revisions                0.9         0.15      $58.50
2019         Disposition                                     to motion to approve sale of properties (.9)
February     Asset                  02/15/19 KBD         390 Study and revise notice provisions to motion to approve sale of real estate and proposed                0.4 0.0666667         $26.00
2019         Disposition                                     order (.4)
February     Asset                  02/15/19 KBD         390 several lengthy discussions with A. Porter, M. Mirjanich, and A. Watychowicz regarding three            1.7 0.0944444         $36.83
2019         Disposition                                     motions filed (1.7)


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Asset                  02/15/19 KBD         390 telephone conference with title company representatives, A. Porter, and N. Mirjanich                    0.2 0.0333333         $13.00
2019         Disposition                                     regarding notice of motion to approve sale of real estate, claims process, and court approval
                                                             (.2)
February     Asset                  02/15/19 KBD         390 review correspondence from E. Duff to lenders counsel regarding motion to approve sale of               0.1 0.0166667          $6.50
2019         Disposition                                     properties (.1).
February     Asset                  02/15/19 KBD         390 study and further revise several drafts of motion and proposed draft order approving sale of            0.8 0.1333333         $52.00
2019         Disposition                                     real estate to address title company comments and office conference with A. Porter
                                                             regarding same (.8)
February     Asset                  02/16/19 KBD         390 Review plan for service of motion for approval of sale of real estate with N. Mirjanich and A.          0.2 0.0333333         $13.00
2019         Disposition                                     Watychowicz.
February     Asset                  02/19/19 KBD         390 study defendants' objection to motion to approve sale properties (.2)                                   0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/19/19 KBD         390 study another lender objections to second motion to approve sale of properties (.1)                     0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/21/19 KBD         390 draft correspondence to A. Watychowicz and N. Mirjanich regarding investor                              0.1 0.0166667          $6.50
2019         Disposition                                     communications regarding motion to approve sales (.1).
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925          $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412          $1.15
2019         Operations
February     Business               02/05/19 KBD         390 study correspondence from N. Mirjanich regarding preparation for meeting with city officials            0.2         0.02       $7.80
2019         Operations                                      and work to address code violations and life safety issues (.2).
February     Business               02/06/19 KBD         390 Conference with city officials regarding property repairs and sales (1.0)                               1.0      0.0625       $24.38
2019         Operations
February     Business               02/06/19 KBD         390 conferences with M. Rachlis and N. Mirjanich regarding same (.5)                                        0.5     0.03125       $12.19
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383          $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037          $1.09
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346          $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412          $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346          $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412          $1.15
2019         Operations
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706          $0.57
2019         Operations




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706          $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                 0.1 0.0009346          $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                     0.1 0.0014925          $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706          $0.57
2019         Operations
February     Business               02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                            0.1       0.005        $1.95
2019         Operations
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                   0.2 0.0029412          $1.15
2019         Operations                                      documentation (.2)
February     Business               02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real               0.6         0.03      $11.70
2019         Operations                                      estate taxes and lender communications (.6).
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                       0.1 0.0014706          $0.57
2019         Operations
February     Business               02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                      0.1       0.005        $1.95
2019         Operations
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                         0.1 0.0014706          $0.57
2019         Operations
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434          $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                     1.1       0.055       $21.45
2019         Operations
February     Business               02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                 3.9       0.195       $76.05
2019         Operations
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701          $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)
February     Asset                  02/01/19 AEP         390 preparation of motion to approve sales of properties in first marketing tranche, and                    0.4 0.0666667         $26.00
2019         Disposition                                     preparation for and timing of closings of sales of properties in first marketing tranche (.4).

February     Asset                  02/01/19 AEP         390 Meeting with N. Mirjanich and title company underwriter regarding waiver of specific title              2.5 0.4166667        $162.50
2019         Disposition                                     exceptions from commitments issued on properties in first tranche, preparation of title
                                                             invoices for properties in first tranche, and language of judicial order necessary to ensure
                                                             waiver of remaining title exceptions (2.5)
February     Asset                  02/01/19 NM          260 Prepare for meeting with title company (.2)                                                             0.2 0.0333333          $8.67
2019         Disposition
February     Asset                  02/01/19 NM          260 study and exchange email correspondence with attorney for title company following                       0.1 0.0166667          $4.33
2019         Disposition                                     meeting (.1)
February     Asset                  02/01/19 NM          260 correspond with K. Duff, A. Porter, and M. Rachlis regarding the sale of the first round of             0.4 0.0666667         $17.33
2019         Disposition                                     properties (.4)
February     Asset                  02/01/19 NM          260 appear for meeting with title company attorney and A. Porter regarding title commitments                2.5 0.4166667        $108.33
2019         Disposition                                     for the first sale of properties (2.5)


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
February     Asset                  02/01/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lenders               0.4 0.0222222          $5.78
2019         Disposition                                     for same (.4).
February     Asset                  02/02/19 AEP         390 read and analyze regulatory agreement identified as special exception on title commitment                0.3          0.3     $117.00
2019         Disposition                                     for property in first marketing tranche (7500 S Eggleston) and instruct title insurer regarding
                                                             same (.3).
February     Asset                  02/04/19 AEP         390 Edit, revise, and continue preparation of motion to approve sales of properties contained in             5.1         0.85     $331.50
2019         Disposition                                     first marketing tranche.
February     Asset                  02/04/19 ED          390 Review correspondence and documents from broker (.6)                                                     0.6          0.1      $39.00
2019         Disposition
February     Asset                  02/04/19 ED          390 begin review of loan documents relating to properties proposed for sale (.4).                            0.4 0.0666667         $26.00
2019         Disposition
February     Asset                  02/04/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lender                0.5 0.0277778          $7.22
2019         Disposition                                     issues for same (.5)
February     Asset                  02/04/19 NM          260 Correspond with S. Zjalic regarding notice for the motion to approve the sale of the first               0.4 0.0666667         $17.33
2019         Disposition                                     round of properties and legal research on same and provide information for same (.4)

February     Asset                  02/06/19 AEP         390 Review final draft of all surveys in first marketing tranche and request authorization to                0.2 0.0333333         $13.00
2019         Disposition                                     distribute to buyers' counsel (.2)
February     Asset                  02/08/19 AEP         390 teleconference with title underwriter regarding waiver of corporate authority special                    0.2 0.0333333         $13.00
2019         Disposition                                     exceptions from title commitments (.2)
February     Asset                  02/08/19 AEP         390 Review latest drafts of all title commitments and distribute title commitments, title invoices,          0.4 0.0666667         $26.00
2019         Disposition                                     and surveys to counsel for all buyers in first marketing tranche (.4)
February     Asset                  02/08/19 AEP         390 update all closing checklists (.1)                                                                       0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/08/19 AEP         390 conference call with receivership broker regarding status of motions to approve sales of                 0.2 0.0111111          $4.33
2019         Disposition                                     properties in first and second marketing tranches and related issues (.2)
February     Asset                  02/08/19 NM          260 Correspond with A. Porter and K. Duff regarding status of filing motion to approve first                 0.1 0.0166667          $4.33
2019         Disposition                                     tranche of property sales.
February     Asset                  02/09/19 AEP         390 Review title commitments, title invoices, purchase and sale contracts, water bills, property             9.4 3.1333333      $1,222.00
2019         Disposition                                     tax bills, listing agreement and other materials, prepare closing figures, and begin
                                                             preparation of motion to approve sales of certain receivership properties (7500-08 S
                                                             Eggleston, 7549-59 S Essex, and 7927-49 S Essex).
February     Asset                  02/11/19 AW          140 Meeting with N. Mirjanich and K. Pritchard regarding EB 1.0 and notice to investors,                     0.3         0.05       $7.00
2019         Disposition                                     creditors, and interested parties.
February     Asset                  02/11/19 NM          260 correspond with A. Porter regarding status of motion for same and revisions to same (.1)                 0.1 0.0166667          $4.33
2019         Disposition
February     Asset                  02/11/19 NM          260 Correspond with K. Duff, M. Rachlis, K. Pritchard, and A. Watychowicz regarding notice for               0.4 0.0666667         $17.33
2019         Disposition                                     the motion to approve the sale of the first tranche of properties (.4)
February     Asset                  02/11/19 NM          260 revise notice for same (.6)                                                                              0.6          0.1      $26.00
2019         Disposition
February     Asset                  02/11/19 NM          260 study motion to approve sale of the first tranche of properties from A. Porter, revise motion            5.9 0.9833333        $255.67
2019         Disposition                                     to approve the first tranche of property sales, and correspond with K. Duff, M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (5.9)


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Asset                  02/12/19 AEP         390 research regarding proposed order and finalize and circulate first draft of same (1.5).                   1.5         0.25      $97.50
2019         Disposition
February     Asset                  02/12/19 AEP         390 Study, edit, and revise latest draft of motion to approve sales of properties in first marketing          3.3         0.55     $214.50
2019         Disposition                                     tranche (3.3)
February     Asset                  02/12/19 AEP         390 review updated title commitments and invoices and revise closing statements to incorporate                1.1 0.1833333         $71.50
2019         Disposition                                     comments from team (1.1)
February     Asset                  02/12/19 NM          260 Study and respond to correspondence from A. Porter regarding motion to approve the sale                   0.1 0.0166667          $4.33
2019         Disposition                                     of the first property tranche (.1)
February     Asset                  02/12/19 NM          260 study comments on same from E. Duff, M. Rachlis, and K. Duff (.5).                                        0.5 0.0833333         $21.67
2019         Disposition
February     Asset                  02/12/19 NM          260 study same and correspond with M. Rachlis, E. Duff, and K. Duff regarding same (.9)                       0.9         0.15      $39.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 perform final reconciliation of litigation information and title commitments and prepare e-               0.5 0.0833333         $32.50
2019         Disposition                                     mails to title company questioning non-inclusion of various administrative actions from
                                                             special exceptions (.5)
February     Asset                  02/13/19 AEP         390 study, edit, and revise provisionally final draft of proposed motion to approve sale (1.2)                1.2          0.2      $78.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 Review updated title commitments on various properties in first marketing tranche and                     0.5 0.0833333         $32.50
2019         Disposition                                     revise motion to approve sale accordingly (.5)
February     Asset                  02/13/19 AEP         390 additional communications with title company regarding proposed order authorizing sale (.2)               0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 teleconference with N. Mirjanich regarding suggested modifications to motion to approve                   0.2 0.0333333         $13.00
2019         Disposition                                     sale (.2)
February     Asset                  02/13/19 AEP         390 revise appendix of exhibits to correspond to changes in structure of brief (.2)                           0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 revise proposed order to incorporate latest comments received from title company (.4).                    0.4 0.0666667         $26.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 correspondence and communications with title company regarding proposed changes to                        1.3 0.2166667         $84.50
2019         Disposition                                     proposed judicial order authorizing sale and prepare proposed revised order (1.3)

February     Asset                  02/13/19 MR          390 Conferences and review of e-mails regarding sale of properties and review of draft motion                 0.7 0.1166667         $45.50
2019         Disposition                                     and order regarding same.
February     Asset                  02/13/19 NM          260 Revise motion to approve the first tranche of property sales incorporating comments from E.               2.6 0.4333333        $112.67
2019         Disposition                                     Duff and M. Rachlis and correspond with A. Porter and K. Duff regarding same.

February     Asset                  02/14/19 AEP         390 Teleconference with title company underwriters regarding form of proposed order                           0.6          0.1      $39.00
2019         Disposition                                     accompanying motion to approve sale and associated notice issues (.6)
February     Asset                  02/14/19 AEP         390 teleconference with K. Duff regarding title company issues with proposed order (.5).                      0.5 0.0833333         $32.50
2019         Disposition
February     Asset                  02/14/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding title company position regarding                   0.9         0.15      $58.50
2019         Disposition                                     form of proposed order and potential avenues to resolving impasse and additional revisions
                                                             to motion to approve sale (.9)




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Asset                  02/14/19 NM          260 Correspond with K. Duff and A. Porter regarding motion to approve the sale of the first                   1.8          0.1      $26.00
2019         Disposition                                     tranche of properties and motion to approve the process for the second sale (1.8)

February     Asset                  02/14/19 NM          260 draft notice section for motion to approve the sale of the first round of properties (.5)                 0.5 0.0833333         $21.67
2019         Disposition
February     Asset                  02/14/19 NM          260 study and exchange email correspondence with A. Porter and title company regarding sale of                0.2 0.0333333          $8.67
2019         Disposition                                     first tranche of properties (.2).
February     Asset                  02/15/19 AEP         390 telephone conference with title company underwriters, K. Duff, and N. Mirjanich regarding                 0.2 0.0333333         $13.00
2019         Disposition                                     resolution of impasse regarding waiver of certain special exceptions (.2)

February     Asset                  02/15/19 AEP         390 legal research regarding issue relating to sale of properties (.8)                                        0.8 0.1333333         $52.00
2019         Disposition
February     Asset                  02/15/19 AEP         390 Teleconference with title company underwriters regarding proposed resolution to impasse                   0.3         0.05      $19.50
2019         Disposition                                     over title clearing issues (.3)
February     Asset                  02/15/19 AEP         390 analyze, edit, and revise service list, comparing same to recorded mortgages (.6)                         0.6          0.1      $39.00
2019         Disposition
February     Asset                  02/15/19 AEP         390 study, edit, and revise motion for approval of sale (1.9)                                                 1.9 0.3166667        $123.50
2019         Disposition
February     Asset                  02/15/19 AEP         390 revise proposed order approving sale to incorporate title company comments (1.3)                          1.3 0.2166667         $84.50
2019         Disposition
February     Asset                  02/15/19 AEP         390 edit and revise proposed order to incorporate second sets of comments from title                          0.4 0.0666667         $26.00
2019         Disposition                                     underwriters (.4).
February     Asset                  02/15/19 AW          140 study and confirm that certificate of service to motion for sale is accurate (1.6)                        1.6 0.2666667         $37.33
2019         Disposition
February     Asset                  02/15/19 AW          140 Confer with N. Mirjanich and K. Duff regarding notice relating to properties listed for sale and          0.3         0.05       $7.00
2019         Disposition                                     every investor (.3)
February     Asset                  02/15/19 AW          140 confer with A. Porter regarding same and provide additional explanation as to specific                    0.2 0.0333333          $4.67
2019         Disposition                                     registrations (.2)
February     Asset                  02/15/19 AW          140 work on filing of motions, accompanying exhibits, and notices (1.6).                                      1.6 0.0888889         $12.44
2019         Disposition
February     Asset                  02/15/19 AW          140 attention to exchanges regarding multiple revisions to motions and exhibits (.5)                          0.5 0.0277778          $3.89
2019         Disposition
February     Asset                  02/15/19 NM          260 telephone conference with title company and with A. Porter and K. Duff regarding same (.2)                0.2 0.0333333          $8.67
2019         Disposition
February     Asset                  02/15/19 NM          260 Revise motion for court approval of the sale of the first tranche of properties and correspond            5.0 0.8333333        $216.67
2019         Disposition                                     with K. Duff, A. Watychowicz, A. Porter regarding the same and filing and service of the same
                                                             (5.0)
February     Asset                  02/16/19 AW          140 Service of motion to approve sale of first tranche of properties.                                         4.5         0.75     $105.00
2019         Disposition
February     Asset                  02/18/19 NM          260 study email correspondence from M. Rachlis, E. Duff and K. Duff regarding same from                       0.2 0.0333333          $8.67
2019         Disposition                                     lenders' counsel (.2)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
February     Asset                  02/18/19 NM              260 Study email correspondence from investors regarding notice of motion for the first sale of               1.2          0.2      $52.00
2019         Disposition                                         properties and correspond with A. Watychowicz regarding responses to same (1.2)

February     Asset                  02/18/19 NM              260 study spreadsheet from real estate broker with updated property disposition analysis in                  0.2 0.0333333          $8.67
2019         Disposition                                         advance of meeting for same (.2)
February     Asset                  02/19/19 MR              390 conferences and follow up regarding objections to motion to approve sales with lender's                  0.6          0.1      $39.00
2019         Disposition                                         counsel, A. Porter and K. Duff (.6).
February     Asset                  02/19/19 MR              390 Attention to preparation for upcoming hearing on various motions (1.2)                                   1.2 0.0666667         $26.00
2019         Disposition
February     Asset                  02/19/19 NM              260 office conference with A. Porter and J. Rak regarding closing information for the first tranche          0.9         0.15      $39.00
2019         Disposition                                         of property sales (.9)
February     Asset                  02/19/19 NM              260 correspond with M. Rachlis regarding same (.1)                                                           0.1 0.0055556          $1.44
2019         Disposition
February     Asset                  02/19/19 NM              260 Study objections to the motion to approve the sale of the first tranche and to approve the               0.9         0.05      $13.00
2019         Disposition                                         process for the second tranche and correspond (.9)
February     Asset                  02/19/19 NM              260 study EquityBuild email account for responses relating to motion to approve sale of the first            0.1 0.0166667          $4.33
2019         Disposition                                         tranche of properties (.1).
February     Asset                  02/20/19 AEP             390 review updated title history for property in first marketing tranche (7500 S Eggleston), revise          0.3          0.3     $117.00
2019         Disposition                                         title commitment accordingly, and return to title company with revisions (.3).

February     Asset                  02/20/19 AEP             390 Study, edit, and revise proposed e-mail from J. Rak to buyers of properties in first marketing           0.1 0.0166667          $6.50
2019         Disposition                                         tranche regarding information needed to complete preparation of closing documents (.1)

February     Asset                  02/20/19 JR              140 research of same needed for closing of all properties (2.2).                                             2.2 0.3666667         $51.33
2019         Disposition
February     Asset                  02/20/19 JR              140 Further drafting of closing documents (1.9)                                                              1.9 0.3166667         $44.33
2019         Disposition
February     Asset                  02/20/19 NM              260 study draft email responses from A. Watychowicz in response to questions from investors                  0.2 0.0333333          $8.67
2019         Disposition                                         and creditors resulting from the filing of the motion to approve the sale of the first tranche
                                                                 (.2).
February     Asset                  02/21/19 JR              140 exchange correspondence with buyer's counsel regarding buyer information in preparation                  0.3         0.15      $21.00
2019         Disposition                                         for closing (.3).
February     Asset                  02/21/19 JR              140 Continue drafting closing documents for all properties in the first tranche (5.1)                        5.1         0.85     $119.00
2019         Disposition
February     Asset                  02/22/19 AEP             390 Review special exceptions on updated title commitments to ensure all modifications were                  0.4 0.0666667         $26.00
2019         Disposition                                         properly made.
February     Asset                  02/25/19 AEP             390 review updated title commitments and responses received from buyers' counsel and revise                  1.1 0.1833333         $71.50
2019         Disposition                                         closing checklists accordingly (1.1).
February     Asset                  02/25/19 AEP             390 Meeting with J. Rak regarding all presently outstanding closing-related tasks associated with            1.3 0.0722222         $28.17
2019         Disposition                                         sales of properties in first marketing tranche and information to be assembled and
                                                                 populated into closing checklists for properties in second marketing tranche (1.3)




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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Asset                  02/25/19 JR              140 exchange correspondence with A. Porter sending deed for review (.1)                                       0.1       0.025        $3.50
2019         Disposition
February     Asset                  02/25/19 JR              140 office conference with A. Porter reviewing closing documents and title documents that need                1.3 0.2166667         $30.33
2019         Disposition                                         to be sent to title company for the first tranche (1.3)
February     Asset                  02/26/19 JR              140 exchange correspondence with title company attorney to inquire about closing documents                    0.1 0.0166667          $2.33
2019         Disposition                                         (.1)
February     Asset                  02/26/19 JR              140 update closing checklists with new buyer information that was provided by buyer's counsel                 2.8 0.4666667         $65.33
2019         Disposition                                         (2.8).
February     Asset                  02/27/19 JR              140 updated all checklists with updated closing documents (1.8)                                               1.8          0.3      $42.00
2019         Disposition
February     Asset                  02/27/19 JR              140 Complete and email broker waiver of liens to A. Porter for the first tranche (.2)                         0.2 0.0333333          $4.67
2019         Disposition
February     Asset                  02/27/19 JR              140 exchange correspondence with updates received from buyer counsel and added on all                         2.7         0.45      $63.00
2019         Disposition                                         closing documents for the first tranche (2.7).
February     Asset                  02/28/19 JR              140 exchange correspondence with attorney from the title company regarding approval of                        0.1 0.0166667          $2.33
2019         Disposition                                         closing documents (.1).
February     Business               02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412          $0.41
2019         Operations                                          property expenses, and communicate same to K. Duff (.2)
February     Business               02/04/19 NM              260 prepare for meeting with City of Chicago regarding property repairs and code compliance                   1.7         0.17      $44.20
2019         Operations                                          (1.7)
February     Business               02/05/19 MR              390 Prepare for City meeting.                                                                                 0.3         0.03      $11.70
2019         Operations
February     Business               02/05/19 NM              260 prepare for meeting with City of Chicago regarding property repairs and code compliance                   0.8         0.05      $13.00
2019         Operations                                          and correspond with K. Duff and M. Rachlis regarding same (.8)
February     Business               02/06/19 AW              140 Assist counsel with preparation for meeting with City of Chicago counsel.                                 0.6      0.0375        $5.25
2019         Operations
February     Business               02/06/19 MR              390 Prepare for and participate in meeting with City officials and follow up discussion regarding             2.0       0.125       $48.75
2019         Operations                                          same (2.0)
February     Business               02/06/19 NM              260 attend meeting with City, M. Rachlis and K. Duff and correspond with M. Rachlis and K. Duff               1.5     0.09375       $24.38
2019         Operations                                          regarding same (1.5)
February     Business               02/06/19 NM              260 Prepare for meeting regarding property repairs and code compliance and revise and print                   0.6      0.0375        $9.75
2019         Operations                                          spreadsheet highlighting efforts to address code issues for same (.6)
February     Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                          violation (.2)
February     Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                          in receivership portfolio (1.9).
February     Business               02/08/19 ED              390 review documents relating to loans and other claims on properties being considered for sale               1.3 0.2166667         $84.50
2019         Operations                                          (1.3).
February     Business               02/08/19 NM              260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015        $3.90
2019         Operations                                          property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                                 broker regarding a list of single-family home portfolio to send to same.




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Business               02/12/19 ED              390 review draft of Receiver's motion to approve sale (1.5)                                             1.5         0.25      $97.50
2019         Operations
February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                    0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/15/19 ED              390 draft and send email messages to lenders' counsel regarding motion for sale of properties           0.7 0.1166667         $45.50
2019         Operations                                          (.7).
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).          0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                      0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for          0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                      0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.             0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                    0.6         0.03      $11.70
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of               4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply             0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                         0.8         0.04      $15.60
2019         Operations
February     Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                             0.3 0.0028302          $1.10
2019         Operations
February     Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in          0.1 0.0014925          $0.21
2019         Operations                                          receivership (.1)
February     Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                         0.8 0.0119403          $1.67
2019         Operations
February     Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                             0.4 0.0059701          $0.84
2019         Operations
February     Claims                 02/06/19 MR              390 Issues regarding secured creditors and follow up on sales process.                                  0.4 0.0666667         $26.00
2019         Administration
             & Objections

February     Claims                 02/20/19 NM              260 study background information and telephone call with investor regarding motion to approve           0.2 0.0333333          $8.67
2019         Administration                                      the sale of the first tranche and claims (.2).
             & Objections

March 2019 Asset                    03/12/19 KBD             390 conference with asset manager and counsel regarding properties sales, listings, strategy,           1.8 0.0545455         $21.27
           Disposition                                           valuation, and timing (1.8)




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7500-06 S Eggleston Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2019 Asset                    03/17/19 KBD         390 Exchange further correspondence with M. Rachlis and real estate broker regarding lenders'             0.6          0.1      $39.00
           Disposition                                       objections as to efforts to sell properties.
March 2019 Asset                    03/18/19 KBD         390 Prepare for hearing before Judge Kim regarding motions to approve listing and sale of                 0.5 0.0277778         $10.83
           Disposition                                       properties (.5)
March 2019 Asset                    03/18/19 KBD         390 appear for hearing before Judge Kim regarding motions to approve listing and sale of                  2.5 0.1388889         $54.17
           Disposition                                       properties (2.5).
March 2019 Asset                    03/18/19 KBD         390 various discussions with M. Rachlis, real estate broker, A. Porter regarding same (.5)                0.5 0.0277778         $10.83
           Disposition
March 2019 Asset                    03/19/19 KBD         390 Telephone conference with A. Porter regarding preparation for real estate sale closings,              0.2 0.0333333         $13.00
           Disposition                                       timing, planning, and obtaining water certificates (.2)
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,             0.3 0.0032609          $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/22/19 KBD         390 study correspondence from city official regarding water bills and water certifications and            0.2 0.0333333         $13.00
           Disposition                                       confer with N. Mirjanich and M. Rachlis regarding same (.2)
March 2019 Asset                    03/25/19 KBD         390 Office conference with J. Rak regarding water certifications and communications with city             0.1 0.0166667          $6.50
           Disposition                                       officials with respect to same (.1)
March 2019 Asset                    03/26/19 KBD         390 exchange correspondence with property manager regarding timing for approval of sales (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/27/19 KBD         390 telephone conference with M. Rachlis, A. Porter, and J. Rak regarding property manager liens          0.2 0.0111111          $4.33
           Disposition                                       and closing costs (.2).
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692          $0.73
           Operations
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346          $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/05/19 KBD         390 Exchange correspondence with property manager regarding real estate taxes and CHA move-               0.2          0.2      $78.00
           Operations                                        in (.2)
March 2019 Business                 03/05/19 KBD         390 exchange correspondence with asset manager regarding same (.2)                                        0.2          0.2      $78.00
           Operations
March 2019 Business                 03/05/19 KBD         390 telephone conference with and review correspondence from asset manager regarding real                 0.3          0.3     $117.00
           Operations                                        estate taxes and CHA tenant issue (7502 Eggleston) and exchange correspondence with
                                                             property manager regarding same (.3)
March 2019 Business                 03/05/19 KBD         390 telephone conference with A. Porter regarding resolution of real estate tax issue (7502               0.1          0.1      $39.00
           Operations                                        Eggleston) (.1)
March 2019 Business                 03/05/19 KBD         390 draft correspondence to property manager regarding same (.2)                                          0.2          0.2      $78.00
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346          $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/06/19 KBD         390 Exchange correspondence with property manager regarding payment of real estate taxes                  0.1          0.1      $39.00
           Operations                                        (7502 Eggleston) (.1)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2019 Business                 03/07/19 KBD             390 study correspondence from E. Duff regarding outstanding real estate taxes and                           0.2 0.0029412          $1.15
           Operations                                            communications with property manager (.2).
March 2019 Business                 03/08/19 KBD             390 study correspondence regarding property manager financial reporting (.1).                               0.1 0.0014925          $0.58
           Operations
March 2019 Business                 03/11/19 KBD             390 preparation for housing court hearings, property inspections, and communications with                   0.3         0.02       $7.80
           Operations                                            property managers and city officials regarding same with N. Mirjanich (.3)

March 2019 Business                 03/12/19 KBD             390 study information from property manager regarding real estate taxes and exchange                        0.2 0.0029412          $1.15
           Operations                                            correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD             390 study financial reporting from property manager (.4).                                                   0.4 0.0058824          $2.29
           Operations
March 2019 Business                 03/15/19 KBD             390 study property manager financial reporting (.3)                                                         0.3 0.0044118          $1.72
           Operations
March 2019 Business                 03/18/19 KBD             390 exchange correspondence with N. Mirjanich regarding utility bills (.1)                                  0.1 0.0166667          $6.50
           Operations
March 2019 Business                 03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                       0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/20/19 KBD             390 confer and exchange correspondence with J. Rak regarding water bill payments (.1)                       0.1 0.0166667          $6.50
           Operations
March 2019 Claims                   03/14/19 KBD             390 study property manager financial report (.2).                                                           0.2 0.0029851          $1.16
           Administration
           & Objections

March 2019 Asset                    03/01/19 AEP             390 teleconference with J. Rak regarding miscellaneous closing document preparation issues (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/01/19 AEP             390 edit and revise waiver of real estate broker's lien forwarded by receivership broker (.3)               0.3         0.05      $19.50
           Disposition
March 2019 Asset                    03/01/19 AEP             390 edit and revise current draft of assignment and assumption agreement (.2)                               0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                    03/01/19 AEP             390 update and revise various closing checklists associated with properties in first marketing              0.2 0.0333333         $13.00
           Disposition                                           tranche (.2).
March 2019 Asset                    03/04/19 JR              140 Update real estate taxes with accrued interest on the closing checklists for all properties in          0.7 0.1166667         $16.33
           Disposition                                           the first tranche (.7)
March 2019 Asset                    03/04/19 JR              140 create and fill out closing documents excel spreadsheet to help keep track of documents                 1.2          0.2      $28.00
           Disposition                                           which are being produced and updated for properties in the first tranche (1.2)

March 2019 Asset                    03/04/19 JR              140 continue drafting updates to closing documents spreadsheet and confirm all the closing                  3.1 0.5166667         $72.33
           Disposition                                           documents are completed and documents that require additional attention (3.1)

March 2019 Asset                    03/04/19 JR              140 corrections made to broker waiver of liens with new signatory (.6).                                     0.6          0.1      $14.00
           Disposition
March 2019 Asset                    03/04/19 MR              390 Follow up on issues regarding sales of first tranche and pending motion on second tranche of            0.7 0.0388889         $15.17
           Disposition                                           properties.


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
March 2019 Asset                    03/05/19 AEP             390 read, edit, and revise numerous closing documents forwarded by title company and update                   0.3         0.05      $19.50
           Disposition                                           closing spreadsheets accordingly (.3).
March 2019 Asset                    03/05/19 AEP             390 Draft receiver's deed (.4)                                                                                0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                    03/05/19 MR              390 Conferences with E. Duff regarding appraisal issues.                                                      0.4 0.0222222          $8.67
           Disposition
March 2019 Asset                    03/06/19 JR              140 Meeting with A. Porter reviewing changes to closing document checklists regarding the first               1.4 0.2333333         $32.67
           Disposition                                           tranche (1.4)
March 2019 Asset                    03/06/19 JR              140 deleted, added and modified documents on the closing checklist (1.1)                                      1.1 0.1833333         $25.67
           Disposition
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                      2.6 0.0393939          $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/08/19 AEP             390 Meeting with J. Rak and title company underwriter regarding all remaining special                         3.0          0.5     $195.00
           Disposition                                           exceptions on title commitments corresponding to sales of properties in first marketing
                                                                 tranche and approval of proposed forms of conveyance documents (3.0)

March 2019 Asset                    03/12/19 ED              390 email to property managers to follow up on information relating to same (.2).                             0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                    03/12/19 ED              390 Meeting with property managers, K. Duff, M. Rachlis, N. Mirjanich, and A. Porter to analyze               1.9 0.3166667        $123.50
           Disposition                                           and discuss plans for property sales (1.9)
March 2019 Asset                    03/12/19 MR              390 Prepare for and participate in upcoming meeting with SVN on various issues and upcoming                   2.3 0.1277778         $49.83
           Disposition                                           hearing.
March 2019 Asset                    03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381         $24.76
           Disposition                                           disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                    03/12/19 NM              260 Prepare for meeting with real estate broker by studying spreadsheet sent by same and by                   0.4 0.0666667         $17.33
           Disposition                                           comparing same to buildings with code violations (.4)
March 2019 Asset                    03/14/19 NM              260 Correspond with J. Rak regarding closing on the first tranche of properties following housing             0.1 0.0166667          $4.33
           Disposition                                           court because of issues raised with respect to porch repairs and need for funds.

March 2019 Asset                    03/17/19 AEP             390 Meeting with M. Rachlis to review objections to motions to approve sales of properties in                 2.0 0.1111111         $43.33
           Disposition                                           first tranche and marketing of properties in second tranche and prepare responses thereto.

March 2019 Asset                    03/18/19 AEP             390 Read e-mails from title company underwriter regarding changes to receiver's deed and other                3.5 0.5833333        $227.50
           Disposition                                           conveyance documents, begin preparation of first draft of all closing documents for property
                                                                 in first sales tranche (7927- 49 S Essex), update closing checklists accordingly, and prepare e-
                                                                 mail to title underwriters regarding customization of conveyance documents for all other
                                                                 properties in first sales tranche.

March 2019 Asset                    03/18/19 ED              390 Meeting with K. Duff, M. Rachlis, and A. Porter regarding asset sales, lender objections, and             0.9         0.15      $58.50
           Disposition                                           follow-up with lenders and counsel.




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
March 2019 Asset                    03/18/19 MR              390 follow up conferences regarding various objections, hearing and strategy moving forward                   0.9         0.05      $19.50
           Disposition                                           with K. Duff, E. Duff, and A. Porter (.9).
March 2019 Asset                    03/18/19 MR              390 Prepare for hearing including review of various motions and relating documents and work                   4.5         0.25      $97.50
           Disposition                                           through same in several discussions with K. Duff and A. Porter (4.5)
March 2019 Asset                    03/18/19 MR              390 and argue various motions regarding sales of properties before magistrate judge (2.5)                     2.5 0.1388889         $54.17
           Disposition
March 2019 Asset                    03/19/19 AEP             390 Teleconference with K. Duff regarding timing of potential judicial approval of sale of                    0.2 0.0333333         $13.00
           Disposition                                           properties in first marketing tranche and sequencing of preparation of conveyance
                                                                 documents (.2)
March 2019 Asset                    03/19/19 AEP             390 teleconference with J. Rak regarding status of preparation of examiner's worksheets relating              0.5 0.0277778         $10.83
           Disposition                                           to properties in second marketing tranche, sequencing of preparation of conveyance
                                                                 documents associated with properties in first sales tranche, and water certificate issues (.5)

March 2019 Asset                    03/19/19 JR              140 phone communication with the City of Chicago water department regarding the water                         1.1 0.1833333         $25.67
           Disposition                                           certification process in preparation for closings in the first tranche of properties (1.1)

March 2019 Asset                    03/19/19 JR              140 continue working on the title examination on same and note discrepancies on all deeds                     1.9 0.3166667         $44.33
           Disposition                                           provided to us by the title company (1.9).
March 2019 Asset                    03/20/19 AEP             390 Teleconference with K. Duff regarding need for FEIN's of properties in first sales tranche, fire          0.3         0.05      $19.50
           Disposition                                           at property in first sales tranche (7943 S Essex), and status of review of draft motion to
                                                                 approve sale of single-family homes (.3)
March 2019 Asset                    03/20/19 AEP             390 prepare presumptively final versions of receiver's deeds, affidavits of title, and bills of sale          0.6          0.3     $117.00
           Disposition                                           for two properties in first sales tranche (7500 S Eggleston and 7549 S Essex) and send
                                                                 specimen copies of same to counsel for prospective purchasers for review and comment,
                                                                 along with status update on judicial review of motion to approve sales (.6)

March 2019 Asset                    03/20/19 JR              140 sent additional documents to the City of Chicago per their request (.2)                                   0.2 0.0333333          $4.67
           Disposition
March 2019 Asset                    03/20/19 JR              140 Sent the water certification applications to the City of Chicago via the new online portal for            0.5 0.0833333         $11.67
           Disposition                                           properties in the first tranche (.5)
March 2019 Asset                    03/20/19 JR              140 telephone conference with A. Porter regarding the water certifications and the chain of title             0.6          0.1      $14.00
           Disposition                                           regarding same (.6).
March 2019 Asset                    03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                      0.2 0.0222222          $3.11
           Disposition                                           certain closing documents relating to sale of properties.
March 2019 Asset                    03/20/19 MR              390 Attention to various issues at property regarding allocation of property sales.                           0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                    03/21/19 JR              140 Exchange correspondence with the City of Chicago, water department regarding water                        0.5         0.25      $35.00
           Disposition                                           certification applications for properties (7500 Eggleston and 7549 S. Essex) (.5)

March 2019 Asset                    03/21/19 JR              140 email communication with the title company attorney regarding the application process and                 0.2 0.0333333          $4.67
           Disposition                                           confirm the requirements to avoid any delays with closings (.2)
March 2019 Asset                    03/21/19 JR              140 completed water certifications applications online for properties in the first tranche (4.2)              4.2          0.7      $98.00
           Disposition


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
March 2019 Asset                    03/21/19 JR              140 email communication with A. Porter regarding status of water certifications (.1).                          0.1 0.0166667          $2.33
           Disposition
March 2019 Asset                    03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                        0.1 0.0111111          $1.56
           Disposition
March 2019 Asset                    03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary                    0.2 0.0222222          $3.11
           Disposition                                           for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                    03/22/19 AEP             390 Create second group of closing documents for all properties in first sales tranche and update              2.5 0.4166667        $162.50
           Disposition                                           closing checklists (2.5)
March 2019 Asset                    03/22/19 JR              140 Exchange correspondence with title company representatives regarding the water                             0.6          0.1      $14.00
           Disposition                                           certifications (.6)
March 2019 Asset                    03/22/19 JR              140 exchange correspondence with City of Chicago customer service representative regarding                     0.6          0.1      $14.00
           Disposition                                           water certification and forwarding Receiver court order per request (.6)
March 2019 Asset                    03/25/19 AEP             390 Revise receiver's deed for property in first sales tranche (7500 S Eggleston) to incorporate               0.1          0.1      $39.00
           Disposition                                           additional exceptions (.1)
March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,                0.2 0.0019048          $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/25/19 JR              140 review legal description, PINs and address on deeds to confirm consistency (1.4).                          1.4 0.2333333         $32.67
           Disposition
March 2019 Asset                    03/25/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts               0.1 0.0166667          $4.33
           Disposition                                           on first tranche of properties (.1)
March 2019 Asset                    03/26/19 AEP             390 Conference with N. Mirjanich regarding strategy for addressing water issue (.1)                            0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/26/19 AEP             390 teleconference with City of Chicago regarding outstanding water bill issues (.5)                           0.5 0.0833333         $32.50
           Disposition
March 2019 Asset                    03/26/19 AEP             390 conference with J. Rak to review closing checklists for all properties in first sales tranche and          1.5         0.25      $97.50
           Disposition                                           allocate responsibility for remaining items (1.5)
March 2019 Asset                    03/26/19 JR              140 meeting with A. Porter to go over the closing checklist and update documents in preparation                2.3 0.3833333         $53.67
           Disposition                                           for closing (2.3)
March 2019 Asset                    03/26/19 JR              140 office conference with N. Mirjanich, A. Porter and phone conference with City of Chicago                   1.2          0.2      $28.00
           Disposition                                           representatives regarding the water bills and water certifications (1.2)
March 2019 Asset                    03/26/19 JR              140 Worked on water certification updates to the closing checklist (.5)                                        0.5 0.0833333         $11.67
           Disposition
March 2019 Asset                    03/26/19 JR              140 email communication with K. Duff regarding status of phone conference with City of Chicago                 0.1 0.0166667          $2.33
           Disposition                                           water department (.1).
March 2019 Asset                    03/26/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts               0.7 0.1166667         $30.33
           Disposition                                           on first tranche of properties (.7)
March 2019 Asset                    03/26/19 NM              260 correspond with A. Porter and J. Rak regarding same following call and regarding closings (.3)             0.3         0.05      $13.00
           Disposition
March 2019 Asset                    03/26/19 NM              260 correspond with J. Rak regarding same (.4).                                                                0.4 0.0666667         $17.33
           Disposition
March 2019 Asset                    03/27/19 ED              390 Review draft of listing contract.                                                                          0.3         0.05      $19.50
           Disposition


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
March 2019 Asset                    03/27/19 JR              140 email correspondence with A. Porter regarding rent roll and the necessary updates from                   0.1 0.0166667          $2.33
           Disposition                                           property management (.1)
March 2019 Asset                    03/27/19 KMP             140 Finalize and file supplement to motion for approval of sale of properties and conferences                0.3         0.05       $7.00
           Disposition                                           with K. Duff and N. Mirjanich regarding same.
March 2019 Asset                    03/28/19 AEP             390 Conference with J. Rak regarding status of preparation of rent rolls, collection of leases, and          0.3         0.05      $19.50
           Disposition                                           processing of full payment water certificates (.3)
March 2019 Asset                    03/28/19 JR              140 Update past due tax balances for all properties in the first tranche.                                    1.5         0.25      $35.00
           Disposition
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                     1.5 0.0140187          $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/04/19 MR              390 attention to e-mails regarding CHA related issues at property (.1)                                       0.1          0.1      $39.00
           Operations
March 2019 Business                 03/05/19 AEP             390 Teleconference with K. Duff regarding pre-payment by management company of property                      0.2          0.2      $78.00
           Operations                                            taxes on receivership property (7500 S Eggleston) and potential resolution of claims involving
                                                                 non-receivership property (6801 S East End).
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                                  0.2 0.0018692          $0.26
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all                  1.8 0.0168224          $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                                 0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager                 0.5 0.0073529          $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).                 0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                          0.1 0.0009346          $0.24
           Operations
March 2019 Business                 03/11/19 AEP             390 review notes of 03/08/19 meeting with title underwriters and hold harmless letters relating              1.9 0.3166667        $123.50
           Operations                                            thereto and update title commitments and closing checklists for all properties in first sales
                                                                 tranche (1.9)
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                        0.4 0.0058824          $2.29
           Operations                                            estate taxes (.4)
March 2019 Business                 03/11/19 NM              260 Prepare for housing court on approximately 11 properties and administrative court on nearly              2.9 0.1933333         $50.27
           Operations                                            a half dozen others and update spreadsheets to reflect same and correspond with property
                                                                 manager, City attorneys, and K. Duff regarding same.
March 2019 Business                 03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same               1.8 0.0168224          $4.37
           Operations                                            (1.8)
March 2019 Business                 03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information                  0.2 0.0018692          $0.49
           Operations                                            (.2).
March 2019 Business                 03/20/19 NM              260 send reporting information from property manager to accountant and save same to file (.2)                0.2 0.0029851          $0.78
           Operations
March 2019 Business                 03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                    0.1 0.0009346          $0.13
           Operations


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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                     0.3 0.0028302          $1.10
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                                0.5    0.004717        $1.84
           Operations
March 2019 Business                 03/22/19 NM          260 correspond with M. Rachlis regarding same and send correspondence to City attorney                      0.6          0.1      $26.00
           Operations                                        regarding same and other water issues on properties (.6).
March 2019 Business                 03/22/19 NM          260 correspond with A. Watychowicz and J. Rak regarding water certification and related issues              0.8 0.1333333         $34.67
           Operations                                        at properties in first tranche (.8)
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                               0.2 0.0018868          $0.74
           Operations
March 2019 Business                 03/27/19 NM          260 Prepare spreadsheet that includes water utility information to determine outstanding                    1.7 0.2833333         $73.67
           Operations                                        balances regarding same from the City (1.7)
March 2019 Business                 03/28/19 ED          390 meeting with K. Duff and A. Porter (1.3)                                                                1.3 0.1857143         $72.43
           Operations
March 2019 Business                 03/28/19 NM          260 Further work on spreadsheet that includes water utility information to determine                        0.5 0.0833333         $21.67
           Operations                                        outstanding balances regarding same from the City (.5)
March 2019 Business                 03/29/19 NM          260 draft correspondence to City attorneys regarding administrative courts hearings next week               0.8          0.1      $26.00
           Operations                                        and revise spreadsheet to reflect same (.8)
March 2019 Claims                   03/11/19 MR          390 Attention to issues for upcoming meeting and lender issues.                                             0.9         0.05      $19.50
           Administration
           & Objections

March 2019 Claims                   03/15/19 MR          390 Review materials in preparation for upcoming hearing.                                                   2.0 0.1111111         $43.33
           Administration
           & Objections

March 2019 Claims                   03/17/19 MR          390 and meeting with A. Porter regarding same (2.5).                                                        2.5 0.1388889         $54.17
           Administration
           & Objections

March 2019 Claims                   03/17/19 MR          390 Prepare for upcoming hearing (3.0)                                                                      3.0 0.1666667         $65.00
           Administration
           & Objections

April 2019   Asset                  04/02/19 KBD         390 office conference with J. Rak regarding logistics and planning for sale of upcoming properties          0.1 0.0166667          $6.50
             Disposition                                     (.1).
April 2019   Asset                  04/08/19 KBD         390 telephone conference with real estate broker regarding same (.1).                                       0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                  04/08/19 KBD         390 Study Judge Kim report and recommendation on sale of first tranche of properties (.2)                   0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/09/19 KBD         390 draft correspondence to property purchaser regarding court approval of sale of properties               0.2          0.1      $39.00
             Disposition                                     (.2)




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/22/19 KBD         390 Study objections to Judge Kim's report and recommendation (.5)                                           0.5 0.0833333         $32.50
             Disposition
April 2019   Asset                  04/23/19 KBD         390 telephone conference with A. Porter regarding approval of motion to sell properties, timing              0.1 0.0166667          $6.50
             Disposition                                     for closings, and preparations for same (.1)
April 2019   Asset                  04/23/19 KBD         390 Appear before Judge Lee for hearing regarding motion to approve the sale of first set of                 1.2          0.2      $78.00
             Disposition                                     properties and for interim financing (1.2)
April 2019   Asset                  04/23/19 KBD         390 office conference with and review correspondence from J. Rak regarding execution of power                0.1 0.0166667          $6.50
             Disposition                                     of attorney documents for sale of properties (.1).
April 2019   Asset                  04/23/19 KBD         390 telephone conference with real estate broker regarding approval of sale of properties,                   0.2 0.0333333         $13.00
             Disposition                                     communications with potential property management service providers, and payment of
                                                             property expenses (.2)
April 2019   Asset                  04/23/19 KBD         390 conference with M. Rachlis regarding same (.3)                                                           0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/24/19 KBD         390 office conferences with A. Porter regarding closing proceeds and communications with title               0.2 0.0333333         $13.00
             Disposition                                     company regarding sale closings (.2)
April 2019   Asset                  04/24/19 KBD         390 analysis of real estate broker commission in connection with sale of first group of properties           0.7 0.1166667         $45.50
             Disposition                                     and draft correspondence to A. Porter regarding same (.7)
April 2019   Asset                  04/24/19 KBD         390 exchange correspondence with bank representative regarding accounts for sale proceeds                    0.1 0.0166667          $6.50
             Disposition                                     (.1).
April 2019   Asset                  04/24/19 KBD         390 office conference with M. Rachlis regarding payment of utilities, closing timing, and financial          0.2 0.0333333         $13.00
             Disposition                                     strategy (.2)
April 2019   Asset                  04/24/19 KBD         390 Telephone conference with and draft correspondence to bank representative regarding                      0.2 0.0333333         $13.00
             Disposition                                     opening new accounts for real estate sale proceeds (5001-05 S Drexel, 7927-49 S Essex, 8100-
                                                             14 S Essex, 6160-6212 S King) (.2)
April 2019   Asset                  04/24/19 KBD         390 study draft proposed order and correspondence from A. Porter regarding proposed order                    0.1 0.0166667          $6.50
             Disposition                                     relating to approval of sale of properties (.1)
April 2019   Asset                  04/24/19 KBD         390 office conference with A. Porter regarding timing for real estate sale closings and planning             0.1 0.0166667          $6.50
             Disposition                                     with respect to same (.1)
April 2019   Asset                  04/24/19 KBD         390 office conferences with A. Porter regarding closings, bank accounts, and broker commission               0.3         0.05      $19.50
             Disposition                                     (.3)
April 2019   Asset                  04/24/19 KBD         390 telephone conference with real estate broker regarding closings, planning, and commission                0.2 0.0333333         $13.00
             Disposition                                     (.2)
April 2019   Asset                  04/25/19 KBD         390 Prepare for closing of real estate sales and study documents regarding same with A. Porter               0.5 0.0833333         $32.50
             Disposition                                     and J. Rak (.5)
April 2019   Asset                  04/25/19 KBD         390 exchange correspondence with real estate broker regarding anticipated sales in relation to               0.2 0.0333333         $13.00
             Disposition                                     acquisition prices (.2).
April 2019   Asset                  04/26/19 KBD         390 Telephone conferences with A. Porter regarding broker's commission calculation (.2)                      0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/26/19 KBD         390 telephone conference with broker regarding same (.1)                                                     0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                  04/28/19 KBD         390 draft correspondence to A. Porter regarding sale of properties and reimbursement of                      0.3         0.05      $19.50
             Disposition                                     expenses (.3).




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2019   Asset                  04/29/19 KBD             390 office conferences with A. Porter and J. Rak regarding planning for real estate sales closings          1.0 0.1666667         $65.00
             Disposition                                         (1.0).
April 2019   Business               04/03/19 KBD             390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/05/19 KBD             390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
             Operations
April 2019   Business               04/11/19 KBD             390 Telephone conference with N. Mirjanich and A. Porter regarding housing court hearing                    0.2          0.2      $78.00
             Operations                                          regarding property (Eggleston) and compliance versus penalty analysis (.2)

April 2019   Business               04/11/19 KBD             390 study correspondence from N. Mirjanich regarding administrative court hearing (.1).                     0.1 0.0166667          $6.50
             Operations
April 2019   Business               04/12/19 KBD             390 study correspondence from city official regarding efforts to collect outstanding water bills            0.2 0.0333333         $13.00
             Operations                                          and exchange correspondence with N. Mirjanich regarding same (.2)
April 2019   Business               04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                      0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                   0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/15/19 KBD             390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
             Operations
April 2019   Business               04/23/19 KBD             390 study analyses from E. Duff regarding potential use of funds and properties with positive NOI           0.3 0.0176471          $6.88
             Operations                                          (.3).
April 2019   Business               04/26/19 KBD             390 exchange correspondence with bank representatives regarding wire transfers for property                 0.3         0.15      $58.50
             Operations                                          management expenses and utility bills (.3)
April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                  0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with property management regarding recent updated rent roll                     0.2 0.0333333          $4.67
             Disposition                                         and to send to us for all properties in the first tranche (.2)
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding status of judge's approval of sale of               0.1 0.0166667          $2.33
             Disposition                                         first tranche (.1)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                               0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                        0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/04/19 JR              140 exchange correspondence with property managers requesting additional leases (.4).                       0.4          0.2      $28.00
             Disposition
April 2019   Asset                  04/04/19 JR              140 exchange correspondence with the City of Chicago water department following up on status                0.6          0.1      $14.00
             Disposition                                         of water certification (.6)
April 2019   Asset                  04/04/19 JR              140 Review leases and rent roll for the first tranche (4.7)                                                 4.7 0.7833333        $109.67
             Disposition
April 2019   Asset                  04/05/19 JR              140 email communication with A. Porter regarding same (.1)                                                  0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/05/19 JR              140 Update closing statements for properties in the first tranche and email to E. Duff for                  1.2          0.2      $28.00
             Disposition                                         properties in the first tranche (1.2)


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Asset                  04/05/19 JR              140 exchange correspondence with City of Chicago water department regarding water                          0.3         0.05       $7.00
             Disposition                                         certifications, requesting cancellation of two water certification applications (.3).

April 2019   Asset                  04/05/19 NM              260 Correspond with J. Rak, City water department, and K. Duff regarding full payment                      0.4 0.0666667         $17.33
             Disposition                                         certificates for the first tranche of properties.
April 2019   Asset                  04/08/19 AEP             390 read report and recommendation issued by Magistrate Judge Kim (.2)                                     0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/08/19 JR              140 exchange correspondence with the City of Chicago water department representative and A.                0.6          0.1      $14.00
             Disposition                                         Porter regarding same (.6)
April 2019   Asset                  04/08/19 JR              140 created a water certificate property payment spreadsheet (2.5).                                        2.5 0.4166667         $58.33
             Disposition
April 2019   Asset                  04/08/19 KMP             140 Briefly review Judge Kim's report on the sale of certain real estate and discuss same with K.          0.2 0.0333333          $4.67
             Disposition                                         Duff.
April 2019   Asset                  04/08/19 MR              390 Attention to court orders (.6)                                                                         0.6          0.1      $39.00
             Disposition
April 2019   Asset                  04/08/19 MR              390 follow up on various issues on property disposition (.3).                                              0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/08/19 MR              390 conferences regarding same (.4)                                                                        0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/08/19 NM              260 correspond with J. Rak regarding same and impact on closing and water certifications for               0.3         0.05      $13.00
             Disposition                                         same properties (.3).
April 2019   Asset                  04/08/19 NM              260 Study court order on motion to approve sale of first tranche of properties and correspond              0.7 0.1166667         $30.33
             Disposition                                         with K. Duff, M. Rachlis, and E. Duff regarding same (.7)
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak, N. Mirjanich, and Chicago Water Department representative                  0.5 0.0833333         $32.50
             Disposition                                         regarding potential expediting of full payment certificates in connection with closings of
                                                                 properties in first sales tranche (.5)
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding full payment water certificate                   0.3         0.05      $19.50
             Disposition                                         expiration dates, timing on issuances of new certifications, impact on closing schedule,
                                                                 discrepancies between leases and rent rolls, and other closing preparation issues (.3)

April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding remaining tasks associated with                  0.3         0.05      $19.50
             Disposition                                         closings of properties in first sales tranche and sequencing issues (.3).
April 2019   Asset                  04/09/19 JR              140 Exchange correspondence with A. Porter and N. Mirjanich regarding communication with the               1.2          0.2      $28.00
             Disposition                                         City of Chicago water department regarding new applications for timely water certifications
                                                                 in preparation for closing (1.2)
April 2019   Asset                  04/09/19 JR              140 exchange correspondence with City of Chicago representative regarding issues with re-                  1.6 0.2666667         $37.33
             Disposition                                         submitting water certifications through the online portal (1.6).
April 2019   Asset                  04/09/19 NM              260 correspond with J. Rak and A. Porter regarding same in advance of call with City (.4)                  0.4 0.0666667         $17.33
             Disposition


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2019   Asset                  04/09/19 NM              260 Correspond with J. Rak regarding issues with outstanding water bills and waters certifications          0.3         0.05      $13.00
             Disposition                                         for the first tranche of properties to sell (.3)
April 2019   Asset                  04/09/19 NM              260 telephone conference with City regarding same (.2)                                                      0.2 0.0333333          $8.67
             Disposition
April 2019   Asset                  04/09/19 NM              260 correspond with A. Porter and J. Rak regarding same following call (.5).                                0.5 0.0833333         $21.67
             Disposition
April 2019   Asset                  04/10/19 AEP             390 Lengthy meeting with J. Rak to review all remaining closing issues associated with four of the          3.8         0.95     $370.50
             Disposition                                         properties in first sales tranche (5001 S Drexel, 8100 S Essex, 7549 S Essex, and 7502 S
                                                                 Eggleston) (3.8)
April 2019   Asset                  04/10/19 AEP             390 attention to various closing issues, create final master closing checklist, and allocate                3.2 0.5333333        $208.00
             Disposition                                         responsibility for outstanding tasks (3.2).
April 2019   Asset                  04/10/19 JR              140 telephone conference and email communication with the City of Chicago IT department                     1.2          0.2      $28.00
             Disposition                                         regarding online portal application issue (1.2)
April 2019   Asset                  04/10/19 JR              140 Assisted A. Porter in reviewing closing documents for additional mark up and finalization               3.8         0.95     $133.00
             Disposition                                         (3.8)
April 2019   Asset                  04/10/19 JR              140 submitted applications through City online application portal (.8)                                      0.8 0.1333333         $18.67
             Disposition
April 2019   Asset                  04/10/19 NM              260 Correspond with A. Porter and J. Rak regarding code violations on first tranche of properties           0.4 0.0666667         $17.33
             Disposition                                         being sold.
April 2019   Asset                  04/11/19 AEP             390 teleconference with K. Duff and N. Mirjanich regarding remediation order entered in                     0.1          0.1      $39.00
             Disposition                                         connection with receivership property in first sales tranche (7500 S Eggleston) (.1).

April 2019   Asset                  04/11/19 AEP             390 read all e-mail correspondence relating to pending building code violations, update property-           0.7 0.1166667         $45.50
             Disposition                                         specific closing files accordingly, and discuss status of same with N. Mirjanich (.7)

April 2019   Asset                  04/11/19 AEP             390 Conferences with J. Rak regarding continuing efforts to obtain water certifications and                 0.3         0.05      $19.50
             Disposition                                         efforts to pay delinquent account balances at closing (.3)
April 2019   Asset                  04/11/19 AEP             390 review amended lien waivers received from receivership broker, teleconference with                      0.4 0.0666667         $26.00
             Disposition                                         receivership broker regarding waiver of lien, and conference with K. Duff regarding potential
                                                                 resolution (.4)
April 2019   Asset                  04/11/19 JR              140 email follow up to A. Porter regarding same (.1)                                                        0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/11/19 JR              140 modify and review closing documents in preparation for closing at the end of the month for              2.9 0.4833333         $67.67
             Disposition                                         the first tranche (2.9).
April 2019   Asset                  04/11/19 JR              140 Exchange correspondence with the title company regarding payment of water bills at closing              1.2          0.2      $28.00
             Disposition                                         and preparation for the closings (1.2)
April 2019   Asset                  04/11/19 JR              140 email communication with City of Chicago IT department regarding expiration of new water                0.2 0.0333333          $4.67
             Disposition                                         certification applications (.2)
April 2019   Asset                  04/11/19 JR              140 emails with broker regarding revised commission statements and broker's lien for properties             0.8 0.1333333         $18.67
             Disposition                                         in the first tranche (.8)
April 2019   Asset                  04/11/19 JR              140 email communication to N. Mirjanich regarding same (.1)                                                 0.1 0.0166667          $2.33
             Disposition




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/12/19 JR              140 email correspondence from management company regarding leases for property and further                   0.2          0.2      $28.00
             Disposition                                         information for closing (7500 Eggleston) (.2)
April 2019   Asset                  04/12/19 JR              140 Follow up communication with the title company attorney regarding the status of payment                  0.1 0.0166667          $2.33
             Disposition                                         of the water certification at closing (.1)
April 2019   Asset                  04/12/19 JR              140 exchange correspondence with N. Mirjanich regarding meeting with City of Chicago water                   0.2 0.0333333          $4.67
             Disposition                                         department representatives regarding water bills and housing court matters (.2)

April 2019   Asset                  04/12/19 JR              140 update water certificate spreadsheet with the new expiration dates (.3)                                  0.3         0.05       $7.00
             Disposition
April 2019   Asset                  04/12/19 JR              140 update rent roll and review all leases for property (7500 Eggleston) (2.9).                              2.9          2.9     $406.00
             Disposition
April 2019   Asset                  04/12/19 NM              260 Update A. Porter with all housing and administrative court orders for properties in the first            0.2 0.0333333          $8.67
             Disposition                                         tranche of sales.
April 2019   Asset                  04/15/19 JR              140 review notices to tenants and forward to buyer's counsel for approval for properties (7500               1.6          0.8     $112.00
             Disposition                                         Eggleston and 7549 S. Essex) (1.6)
April 2019   Asset                  04/15/19 JR              140 exchange correspondence with management company after final review of lien waivers (1.3)                 1.3       0.325       $45.50
             Disposition
April 2019   Asset                  04/15/19 JR              140 review property manager's waiver of lien for management company and sent to property                     1.2          0.3      $42.00
             Disposition                                         manager (1.2)
April 2019   Asset                  04/15/19 JR              140 Exchange correspondence with management company regarding additional tenant                              0.8 0.1333333         $18.67
             Disposition                                         information on the rent roll in preparation for closing (.8)
April 2019   Asset                  04/15/19 JR              140 created spreadsheet for rent roll for closings (.2).                                                     0.2         0.05       $7.00
             Disposition
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                      0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 conference with J. Rak regarding status of preparation and collection of closing documents               0.1 0.0166667          $6.50
             Disposition                                         associated with first sales tranche (.1)
April 2019   Asset                  04/17/19 AEP             390 read all administrative orders entered on 04/11/19 and update property-specific files                    0.8 0.1333333         $52.00
             Disposition                                         accordingly (.8)
April 2019   Asset                  04/18/19 JR              140 Exchange correspondence with management company team regarding closing documents                         0.6          0.1      $14.00
             Disposition                                         for properties in the first tranche.
April 2019   Asset                  04/19/19 AEP             390 Teleconference with title company underwriter regarding special exceptions on title policy,              1.5         0.25      $97.50
             Disposition                                         interpretation of federal orders supporting waivers of certain title exceptions, form of future
                                                                 deeds to be issued by receiver in connection with future property sales, and charges at
                                                                 closing.
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd                3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                    1.0    0.047619       $18.57
             Disposition
April 2019   Asset                  04/19/19 MR              390 conferences regarding issues on sales and use of proceeds (.4).                                          0.4 0.0666667         $26.00
             Disposition




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated       Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours            Fees
April 2019   Asset                  04/22/19 AEP             390 Meeting with J. Rak and title company representative regarding final inventory and approval                1.5         0.25         $97.50
             Disposition                                         of all documents required for closing, updates to title commitments, and scheduling issues.

April 2019   Asset                  04/22/19 JR              140 email to A. Porter regarding lien for property manager (.1)                                                0.1 0.0166667             $2.33
             Disposition
April 2019   Asset                  04/22/19 JR              140 Meet with A. Porter prior to closing at the title company to discuss closing documents (.2)                0.2 0.0333333             $4.67
             Disposition
April 2019   Asset                  04/22/19 JR              140 meeting with title company representative to discuss closing procedure and review closing                  1.3 0.2166667            $30.33
             Disposition                                         documents (1.3)
April 2019   Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge                  5.0 0.2380952            $92.86
             Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                              0.3 0.0142857             $5.57
             Disposition
April 2019   Asset                  04/23/19 AEP             390 Teleconference with K. Duff regarding potential timing of closings of unencumbered                         0.1         0.05         $19.50
             Disposition                                         properties in first sales tranche (7549 S Essex and 7500 S Eggleston) (.1)

April 2019   Asset                  04/23/19 AEP             390 review, analyze, and update closing checklists for same two unencumbered properties in first               0.5 0.0833333            $32.50
             Disposition                                         sales tranche and communicate with prospective purchase regarding potential scheduling of
                                                                 closing (.5)
April 2019   Asset                  04/23/19 AEP             390 read all e-mails sent between J. Rak and property managers during preceding week and                       0.3         0.05         $19.50
             Disposition                                         respond as needed (.3).
April 2019   Asset                  04/23/19 JR              140 corrections and revisions to rent roll on all properties for the first tranche in preparation for          4.8          0.8        $112.00
             Disposition                                         closing (4.8).
April 2019   Asset                  04/23/19 JR              140 exchange correspondence with property managers regarding leases and rent roll in                           1.3 0.2166667            $30.33
             Disposition                                         preparation for closing of same (1.3)
April 2019   Asset                  04/23/19 JR              140 Exchange correspondence with A. Porter regarding the approved motion for sale for                          1.2          0.2         $28.00
             Disposition                                         properties in the first tranche (1.2)
April 2019   Asset                  04/23/19 MR              390 Confer with K. Duff regarding issues for hearing (.9)                                                      0.9         0.15         $58.50
             Disposition
April 2019   Asset                  04/23/19 MR              390 further work in preparation for hearing (2.6)                                                              2.6 0.4333333           $169.00
             Disposition
April 2019   Asset                  04/23/19 MR              390 conferences and follow up regarding same (.3).                                                             0.3         0.05         $19.50
             Disposition
April 2019   Asset                  04/23/19 MR              390 attend hearing (1.2)                                                                                       1.2          0.2         $78.00
             Disposition
April 2019   Asset                  04/24/19 AEP             390 Meetings with J. Rak to review closing checklists on two properties (7500 S Eggleston & 7549               2.0               1     $390.00
             Disposition                                         S Essex) set for closing, including review of updated title commitments, as-yet uncompleted
                                                                 conveyance documents, information still required from purchasers, bureaucratic and
                                                                 technological obstacles to issuance of full payment water certificates, resolution of dispute
                                                                 over payment of brokerage commissions, computation of closing credits based on certified
                                                                 rent roll, and other pertinent issues (2.0)




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/24/19 AEP             390 continue preparation of conveyance documents for two properties being sold (7500 S                       1.5         0.75     $292.50
             Disposition                                         Eggleston & 7549 S Essex) (1.5)
April 2019   Asset                  04/24/19 AEP             390 read notification of docket entry and proposed order approving sale of first tranche, and                0.5 0.0833333         $32.50
             Disposition                                         revise proposed order to comport with report and recommendation adopted by trial judge
                                                                 for entry of judicial order acceptable to title company (.5)
April 2019   Asset                  04/24/19 AEP             390 conference calls with title company representative regarding mechanics of payment of water               0.3         0.05      $19.50
             Disposition                                         charges at closing and form of approval order to be recorded (.3)

April 2019   Asset                  04/24/19 AEP             390 conferences with K. Duff regarding expected sales proceeds, establishment of segregated                  0.5 0.0833333         $32.50
             Disposition                                         bank accounts, brokerage commission issues, and timing of closings (.5)

April 2019   Asset                  04/24/19 AEP             390 conference with J. Rak regarding completion of certified rent rolls and procedure for                    0.4 0.0666667         $26.00
             Disposition                                         computation of closing credit to purchaser in connection with proration of monthly rents
                                                                 (.4).
April 2019   Asset                  04/24/19 JR              140 exchange correspondence with title company and property managers regarding same (1.6)                    1.6          0.8     $112.00
             Disposition
April 2019   Asset                  04/24/19 JR              140 email communication to title company representative sending court order approving first                  0.1 0.0166667          $2.33
             Disposition                                         tranche sale of properties (.1)
April 2019   Asset                  04/24/19 JR              140 Office conference with A. Porter in preparation for closings on properties in the first tranche          3.4          1.7     $238.00
             Disposition                                         (7549 S. Essex and 7500 Eggleston) (3.4)
April 2019   Asset                  04/24/19 MR              390 Attention to revised order and other issues for closing.                                                 0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconferences with title company representatives regarding last-minute issues (.7)                     0.7 0.1166667         $45.50
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconference with receivership broker regarding finalization of agreement regarding                    0.2 0.0333333         $13.00
             Disposition                                         payment of commissions (.2)
April 2019   Asset                  04/25/19 AEP             390 review, proofread, and revise certified rent rolls (1.2)                                                 1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 Finalize all closing documents (4.0)                                                                     4.0 0.6666667        $260.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 revise and submit seller's closing figures (1.2)                                                         1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconferences with buyer's counsel regarding purchaser satisfaction of specified closing               0.3         0.05      $19.50
             Disposition                                         conditions (.3)
April 2019   Asset                  04/25/19 AEP             390 oversee document execution and notarization process (.4).                                                0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/25/19 JR              140 Prepare for closing for properties (7549 S. Essex and 7500 Eggleston), work on closing                   6.4          3.2     $448.00
             Disposition                                         documents, rent rolls, closing amounts, and related documents (6.4)
April 2019   Asset                  04/25/19 JR              140 exchange correspondence with A. Watychowicz regarding certification of order for closing                 0.1 0.0166667          $2.33
             Disposition                                         (.1)
April 2019   Asset                  04/25/19 MR              390 Attention to closing related issues.                                                                     0.2 0.0333333         $13.00
             Disposition




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                            Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                             Hours         Fees
April 2019   Asset                  04/25/19 SZ              110 In-person certification of court order at the federal court for sale and closing purposes of first          0.7 0.1166667         $12.83
             Disposition                                         tranche of properties.
April 2019   Asset                  04/26/19 AEP             390 Prepare for and attend closings of two receivership properties (7500 S Eggleston and 7549 S                 3.0          1.5     $585.00
             Disposition                                         Essex) (3.0)
April 2019   Asset                  04/26/19 AEP             390 teleconference with receivership broker regarding resolution of commission issue (.3).                      0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/26/19 AEP             390 teleconference with K. Duff regarding resolution of brokerage commission issue and prepare                  0.4 0.0666667         $26.00
             Disposition                                         updated lien waivers (.4)
April 2019   Asset                  04/26/19 AEP             390 conferences with J. Rak and title underwriter regarding planning for ensuing week's closings                0.5 0.0833333         $32.50
             Disposition                                         (.5)
April 2019   Asset                  04/26/19 JR              140 exchange correspondence regarding wire confirmation with the title company, K. Duff and K.                  0.1         0.05       $7.00
             Disposition                                         Pritchard (.1)
April 2019   Asset                  04/26/19 JR              140 work with A. Porter prior to closing to discuss last minute details of closing (.5)                         0.5         0.25      $35.00
             Disposition
April 2019   Asset                  04/26/19 JR              140 Prepare and finalize documents for closing for properties (7500 S. Eggleston, 7549 S. Essex)                2.9         1.45     $203.00
             Disposition                                         (2.9)
April 2019   Asset                  04/26/19 JR              140 attend closing for same (3.2)                                                                               3.2          1.6     $224.00
             Disposition
April 2019   Asset                  04/26/19 JR              140 exchange correspondence with K. Pritchard and K. Duff regarding payment of water balances                   0.6          0.3      $42.00
             Disposition                                         for same (.6).
April 2019   Asset                  04/26/19 KMP             140 Conference with J. Rak regarding outstanding utility bills on sold properties (7500-08 S.                   0.3         0.15      $21.00
             Disposition                                         Eggleston & 7549-59 S Essex) and submit payments for same online (.3).
April 2019   Asset                  04/26/19 MR              390 follow up on various issues regarding property sales (.3)                                                   0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/26/19 MR              390 Attention to issues on closing related issues (.2)                                                          0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/27/19 AEP             390 Assemble revised title commitments for all eight remaining unsold properties in first                       2.5 0.4166667        $162.50
             Disposition                                         marketing tranche, compare special exceptions on revised commitments to special
                                                                 exceptions on prior commitments, and update closing checklists accordingly (2.5)

April 2019   Asset                  04/27/19 AEP             390 assemble all pleadings and orders associated with pending actions encumbering unsold                        1.0 0.1666667         $65.00
             Disposition                                         properties and forward same to counsel for respective purchasers with suggestions to
                                                                 defend future hearings and reminders that title will be conveyed subject to government
                                                                 proceedings (1.0)
April 2019   Asset                  04/27/19 AEP             390 multiple communications with receivership brokers and asset managers regarding                              1.0 0.1666667         $65.00
             Disposition                                         finalization of lien waivers (1.0).
April 2019   Asset                  04/28/19 AEP             390 review title invoices, check property tax balances, and update seller's closing figures for                 0.5 0.0833333         $32.50
             Disposition                                         anticipated conveyances (.5).
April 2019   Asset                  04/28/19 JR              140 Exchange correspondence with the title company and A. Porter regarding water                                0.3         0.15      $21.00
             Disposition                                         certifications for properties (7500 S. Eggleston and 7549 S. Essex).
April 2019   Asset                  04/29/19 AEP             390 communication with property manager regarding adequacy of lien waiver (.2)                                  0.2 0.0333333         $13.00
             Disposition




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/29/19 AEP             390 conferences with K. Duff and M. Rachlis regarding resolution of amounts claimed on                       0.2 0.0333333         $13.00
             Disposition                                         property manager's lien waivers (.2)
April 2019   Asset                  04/29/19 AEP             390 communication with K. Duff regarding impact of property tax reductions on closings (.2)                  0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/29/19 AEP             390 review e-mails regarding scheduling of closings, wire transfer issues, and other matters (.3)            0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/29/19 JR              140 update and prepare documents and meet with K. Duff and A. Porter to work on execution of                 3.8 0.6333333         $88.67
             Disposition                                         sales documents (3.8)
April 2019   Asset                  04/29/19 KMP             140 Conference with K. Duff and J. Rak regarding required payment of outstanding tax bills and               0.2 0.0333333          $4.67
             Disposition                                         other issues related to upcoming closing.
April 2019   Asset                  04/29/19 MR              390 Conferences regarding closing issues.                                                                    0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/30/19 AEP             390 communications with property managers regarding reimbursements of property tax                           0.3         0.05      $19.50
             Disposition                                         advances at closings (.3)
April 2019   Asset                  04/30/19 AW              140 Prepare correspondence to tenants regarding change of ownership.                                         0.7         0.35      $49.00
             Disposition
April 2019   Asset                  04/30/19 JR              140 prepare envelopes and send notices to tenants from closing on properties (7500 Eggleston                 0.7         0.35      $49.00
             Disposition                                         and 7549 S. Essex) (.7)
April 2019   Business               04/01/19 NM              260 revise spreadsheet and correspondence to water department regarding outstanding water                    1.2          0.2      $52.00
             Operations                                          balances and correspond with J. Rak regarding same (1.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                              0.3 0.0028037          $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest              2.1 0.0196262          $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,               0.3 0.0028302          $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/03/19 NM              260 revise and send letter and spreadsheet to creditor regarding outstanding utilities and                   0.5 0.0833333         $21.67
             Operations                                          sending bills for same to property managers (.5)
April 2019   Business               04/04/19 NM              260 exchange correspondence with City attorneys regarding administrative court cases [more                   2.0       0.125       $32.50
             Operations                                          than 25] and revise spreadsheet to reflect same (2.0)
April 2019   Business               04/04/19 NM              260 correspond with J. Rak regarding leases on properties (.1).                                              0.1         0.05      $13.00
             Operations
April 2019   Business               04/08/19 NM              260 study and exchange correspondence relating to outstanding water utility balances (.2).                   0.2 0.0333333          $8.67
             Operations
April 2019   Business               04/10/19 NM              260 prepare for administrative court tomorrow by corresponding with property managers, K.                    1.5      0.1875       $48.75
             Operations                                          Duff, A. Porter and revise spreadsheet to reflect same (1.5).
April 2019   Business               04/10/19 NM              260 Study code violations notices sent by former EB attorney (.1)                                            0.1 0.0076923          $2.00
             Operations
April 2019   Business               04/11/19 AEP             390 review property tax and water delinquency spreadsheets, update preliminary closing                       1.2          0.2      $78.00
             Operations                                          statements for all properties in first sales tranche, and begin preparation of sources and uses
                                                                 spreadsheet to guide near-term cash management strategy (1.2).




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/11/19 NM              260 appear for administrative court, buildings and streets and sanitation, on 26 properties (4.0)          4.0          0.5     $130.00
             Operations
April 2019   Business               04/11/19 NM              260 revise spreadsheet to reflect same following court and correspond with K. Duff, A. Porter,             0.9      0.1125       $29.25
             Operations                                          and property managers regarding same (.9).
April 2019   Business               04/11/19 NM              260 prepare for administrative court today (.9)                                                            0.9      0.1125       $29.25
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412          $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412          $1.15
             Operations
April 2019   Business               04/12/19 NM              260 Exchange correspond with City and internally regarding outstanding water balances and                  0.3         0.05      $13.00
             Operations                                          meeting regarding same.
April 2019   Business               04/15/19 NM              260 study documents relating to code violations and properties sent by former EB attorneys and             0.1 0.0076923          $2.00
             Operations                                          registered agents on entities (.1)
April 2019   Business               04/15/19 NM              260 correspond with J. Rak, A. Porter, and City attorney regarding scheduling call relating to             0.2 0.0333333          $8.67
             Operations                                          outstanding water balances and payment of same (.2).
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486          $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/16/19 NM              260 Study and respond to email correspondence relating to City litigation and water meeting and            0.3         0.05      $13.00
             Operations                                          study emails in EB account.
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523          $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841          $1.83
             Operations
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087       $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/23/19 ED              390 Prepare analysis of outstanding tax liabilities for properties with positive net operating             0.8         0.04      $15.60
             Operations                                          income (.8)
April 2019   Business               04/24/19 KMP             140 attention to court orders granting motions to approve sale and for interim financing (.1).             0.1 0.0166667          $2.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                 0.5 0.0046729          $0.65
             Operations




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                     0.8 0.0115942          $4.52
             Administration
             & Objections

May 2019     Asset                  05/01/19 KBD             390 Meet and exchange correspondence with A. Porter and J. Rak regarding recent closings and                 0.9         0.18      $70.20
             Disposition                                         accounting for sales proceeds and expenses (.9)
May 2019     Asset                  05/01/19 KBD             390 office conference with A. Porter and J. Rak regarding closing documentation (.5)                         0.5       0.125       $48.75
             Disposition
May 2019     Asset                  05/06/19 KBD             390 discuss plans for payment of water and water certifications for real estate closing with J. Rak          0.1 0.0166667          $6.50
             Disposition                                         (.1).
May 2019     Business               05/01/19 KBD             390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                        0.1 0.0009346          $0.36
             Operations
May 2019     Business               05/03/19 KBD             390 Discuss communications with city officials relating to outstanding water bills with N.                   0.2 0.0333333         $13.00
             Operations                                          Mirjanich (.2)
May 2019     Business               05/06/19 KBD             390 Analysis of spreadsheet from city officials relating to outstanding and past water bills (.2)            0.2 0.0333333         $13.00
             Operations
May 2019     Business               05/20/19 KBD             390 study spreadsheets relating to water accounts for various properties (.2)                                0.2 0.0029851          $1.16
             Operations
May 2019     Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                         0.2 0.0018692          $0.73
             Operations
May 2019     Asset                  05/01/19 JR              140 exchange correspondence with broker regarding tax bill for the first tranche (.2)                        0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/02/19 JR              140 review payment of real estate property taxes submitted by title company from sales of the                1.2          0.2      $28.00
             Disposition                                         first tranche (1.2)
May 2019     Asset                  05/03/19 JR              140 meeting with City of Chicago water department (1.2).                                                     1.2          0.2      $28.00
             Disposition
May 2019     Asset                  05/03/19 JR              140 prepare for city meeting regarding water bills, full payment certificates and housing court              2.1         0.35      $49.00
             Disposition                                         with N. Mirjanich and A. Porter (2.1)
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                                 2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                  05/13/19 JR              140 create an executed closing document checklist and organize executed closing documents to                 2.9 0.4833333         $67.67
             Disposition                                         the corresponding files for properties that closed in the first tranche (2.9)

May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                            1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                  05/15/19 AEP             390 schedule closing of sale of final receivership property in first tranche and provide drafts of           0.2 0.0333333         $13.00
             Disposition                                         revised conveyance documents to purchasers' counsel (.2)
May 2019     Asset                  05/15/19 ED              390 Confer with N. Mirjanich regarding contacts for lenders to receive notice of sale.                       0.2 0.0333333         $13.00
             Disposition
May 2019     Asset                  05/15/19 JR              140 email A. Porter closing statements for properties which closed on the first tranche (.2)                 0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/15/19 JR              140 send closing confirmation to management company regarding the last closing on the first                  0.1 0.0166667          $2.33
             Disposition                                         tranche (.1).


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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                  05/16/19 JR              140 organize executed closing documents from the first tranche and place in corresponding                   0.6          0.1      $14.00
             Disposition                                         folder (.6)
May 2019     Asset                  05/16/19 JR              140 exchange correspondence with A. Porter regarding closing statements from the first tranche              0.1 0.0166667          $2.33
             Disposition                                         (.1)
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806        $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776          $0.63
             Disposition                                         (.3)
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax            2.3 0.0214953          $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                        0.8 0.0074766          $1.05
             Operations
May 2019     Business               05/03/19 NM              260 prepare for meeting with City water and billing department and correspond with A. Porter                1.7 0.2833333         $73.67
             Operations                                          and J. Rak regarding same (1.7)
May 2019     Business               05/03/19 NM              260 attend meeting for same (1.0)                                                                           1.0 0.1666667         $43.33
             Operations
June 2019    Asset                  06/07/19 KBD             390 Telephone conference with real estate broker regarding real estate broker commission (.2)               0.2 0.0028571          $1.11
             Disposition
June 2019    Business               06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                              0.1 0.0009346          $0.36
             Operations
June 2019    Business               06/07/19 KBD             390 study correspondence regarding allocation of funds for property management expenses (.2)                0.2          0.1      $39.00
             Operations
June 2019    Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence                   0.4 0.0037383          $1.46
             Operations                                          with J. Rak regarding same (.4)
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215        $1.57
             Disposition
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794          $4.84
             Disposition
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                 4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                  06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                 0.2 0.0142857          $2.00
             Disposition                                         tranche of properties (.2).
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                        1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for              0.1 0.0009346          $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/19/19 MR              390 conferences with K. Duff regarding same (.3).                                                          0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/19/19 MR              390 Attention to issues on purchase and sale agreement issues regarding upcoming sales (.8)                0.8 0.1333333         $52.00
             Disposition
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)          0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                  06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts            1.8 0.1285714         $18.00
             Disposition                                         (1.8)
June 2019    Asset                  06/24/19 MR              390 Attention to purchase and sales agreements.                                                            0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/25/19 MR              390 Attention to upcoming sales issues.                                                                    0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect               0.9 0.0083333          $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other              1.8 0.0166667          $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Business               06/06/19 KMP             140 conference with N. Mirjanich regarding same, and review documents and prior email                      1.1          0.1      $14.00
             Operations                                          communications relating to same (1.1).
June 2019    Business               06/06/19 KMP             140 attention to communications from accountant regarding spreadsheets containing financial                0.1 0.0090909          $1.27
             Operations                                          information for various properties (.1)
June 2019    Business               06/07/19 KMP             140 attention to further communications from accountant regarding spreadsheets containing                  0.1 0.0090909          $1.27
             Operations                                          financial information for various properties (.1).
June 2019    Business               06/24/19 KMP             140 communications with E. Duff regarding allocation of insurance premium refund (.1)                      0.1         0.02       $2.80
             Operations
June 2019    Business               06/27/19 ED              390 review of related documents (.2)                                                                       0.2 0.0333333         $13.00
             Operations
June 2019    Business               06/27/19 ED              390 and email correspondence K. Duff, A. Porter, and J. Rak regarding same (.1)                            0.1 0.0166667          $6.50
             Operations
June 2019    Business               06/27/19 ED              390 email correspondence with insurance broker regarding policy renewals for sold properties               0.1 0.0166667          $6.50
             Operations                                          (.1)
July 2019    Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                       0.2 0.0018868          $0.74
             Operations




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
             Disposition                                         third tranche (1.5)
July 2019    Asset                  07/01/19 JR              140 exchange correspondence with K. Pritchard and E. Duff regarding water payment distribution             0.2 0.0333333          $4.67
             Disposition                                         from the first tranche (.2)
July 2019    Asset                  07/12/19 AEP             390 review and analyze claims documentation submitted by investor-lender including promissory              1.4 0.2333333         $91.00
             Disposition                                         note, mortgage, collateral servicing agreement, and offering memorandum and prepare
                                                                 response to team regarding potential existence of equitable mortgages in favor of certain
                                                                 investor-lenders (1.4).
July 2019    Asset                  07/24/19 JR              140 Exchange correspondence with A. Porter related to sale (.1)                                            0.1 0.0166667          $2.33
             Disposition
July 2019    Asset                  07/24/19 JR              140 exchange correspondence with N. Mirjanich related to wire confirmations regarding the                  0.3         0.05       $7.00
             Disposition                                         closings from the first series of properties and review emails to K. Pritchard (.3)

July 2019    Claims                 07/08/19 SZ              110 email exchange and confer with K. Duff about the same (.4).                                            0.4         0.08       $8.80
             Administration
             & Objections

July 2019    Claims                 07/08/19 SZ              110 created, populated and reviewed list of investors with claims as to EB properties (5001 S.             1.7 0.2833333         $31.17
             Administration                                      Drexel, 6160 S MLK, 7949 S. Essex, 8100 S. Essex, 7500 S. Eggleston, 7547 S. Essex) (1.7)
             & Objections

July 2019    Claims                 07/15/19 NM              260 analyze claims against unencumbered properties (1.2).                                                  1.2          0.2      $52.00
             Administration
             & Objections

August 2019 Business                08/08/19 KBD             390 Confer with N. Mirjanich regarding results of housing court hearing (.1)                               0.1 0.0111111          $4.33
            Operations
August 2019 Business                08/08/19 NM              260 Appear for administrative court on over a dozen buildings and streets and sanitation matters           2.4 0.2666667         $69.33
            Operations                                           and move to lift default for another streets and sanitation matter (2.4)

August 2019 Business                08/08/19 NM              260 correspond with property managers regarding the same and revise spreadsheet to reflect                 1.6 0.1777778         $46.22
            Operations                                           the same and other updates from documents received from former EB counsel (1.6)

September    Asset                  09/20/19 KBD             390 Draft correspondence to J. Rak regarding post-closing reconciliation.                                  0.2         0.04      $15.60
2019         Disposition
September    Asset                  09/23/19 KBD             390 study information regarding post-closing reconciliation (.1).                                          0.1 0.0166667          $6.50
2019         Disposition




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
September Claims                    09/23/19 KBD             390 Claims analysis relating to funds properties with E. Duff and N. Mirjanich (.6)                            0.6          0.1      $39.00
2019      Administration
          & Objections

September    Asset                  09/20/19 AEP             390 teleconference with N. Mirjanich regarding unrecorded mortgages (.2).                                      0.2 0.0333333         $13.00
2019         Disposition
September    Asset                  09/24/19 NM              260 draft notice to investors with information from Court's order setting briefing schedule on                 0.5 0.0714286         $18.57
2019         Disposition                                         second tranche and Houston motions and correspond with K. Duff and A. Watychowicz
                                                                 regarding the same (.5).
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare                 1.2 0.0116505          $1.63
2019         Operations                                          same.
September    Business               09/23/19 KMP             140 communications with K. Duff and property manager regarding instructions for transfer of                    0.2 0.0666667          $9.33
2019         Operations                                          remaining reserves on sold properties (8100 Essex, 7502 Eggleston, 7549 Essex) to
                                                                 Receivership Estate accounts (.2)
September Claims                    09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors                   2.8          0.2      $28.00
2019      Administration                                         claim list (2.8)
          & Objections

September Claims                    09/10/19 NM              260 correspond with K. Duff regarding the same (.1)                                                            0.1 0.0066667          $1.73
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 Confer with N. Mirjanich regarding claims review and analysis, including review and                        2.2 0.3666667        $143.00
2019      Administration                                         discussion of documentation submitted by multiple claimants relating to six properties (2.2)
          & Objections

September Claims                    09/23/19 ED              390 prepare analysis of secured and unsecured claims relating to six properties (2.3)                          2.3 0.3833333        $149.50
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 legal research relating to claims analysis (.9).                                                           0.9         0.15      $58.50
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 meet with K. Duff and N. Mirjanich to discuss same (.6)                                                    0.6          0.1      $39.00
2019      Administration
          & Objections

October      Asset                  10/07/19 JR              140 exchange communication with property manager forwarding wire instructions regarding                        0.1 0.0166667          $2.33
2019         Disposition                                         same (.1)
October      Asset                  10/07/19 JR              140 confer with K. Duff relating to status of wire instructions regarding post closing reconciliation          0.2 0.0333333          $4.67
2019         Disposition                                         of properties in the first tranche (.2)




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
October      Asset                  10/18/19 NM              260 Study motions to approve sale of the first tranche and process for second tranche in advance             0.8 0.0444444         $11.56
2019         Disposition                                         of court hearing (.8)
October      Asset                  10/18/19 NM              260 correspond with K. Duff, M. Rachlis, A. Porter, and real estate broker in advance of same (.3).          0.3 0.0166667          $4.33
2019         Disposition
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               0.9 0.0087379          $1.22
2019         Operations                                          same.
November     Asset                  11/15/19 KBD             390 study information regarding sold properties and sales proceeds (.1)                                      0.1 0.0083333          $3.25
2019         Disposition
November     Asset                  11/19/19 KBD             390 study post-closing reconciliation spreadsheet (.1).                                                      0.1 0.0083333          $3.25
2019         Disposition
November     Asset                  11/01/19 JR              140 exchange correspondence with N. Mirjanich relating to funds from closing (.3)                            0.3          0.1      $14.00
2019         Disposition
November     Asset                  11/12/19 JR              140 update spreadsheet with closed properties summary (.3)                                                   0.3       0.025        $3.50
2019         Disposition
November     Asset                  11/15/19 JR              140 finalize closing spreadsheet for properties that already closed (.2)                                     0.2 0.0166667          $2.33
2019         Disposition
November     Asset                  11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                     0.4       0.025        $3.50
2019         Disposition                                         properties (.4)
November     Asset                  11/19/19 JR              140 prepare a post-closing reconciliation spreadsheet with properties that closed in the first               0.8 0.1333333         $18.67
2019         Disposition                                         series and update amounts of funds received (.8)
November     Asset                  11/19/19 JR              140 communication with K. Pritchard relating to same and to confirm amounts in account (.1)                  0.1 0.0166667          $2.33
2019         Disposition
November     Asset                  11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from            0.4 0.0285714          $4.00
2019         Disposition                                         property managers on sold properties, and communicate with J. Rak regarding same.

November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835          $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417          $0.50
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835          $1.51
2019         Operations                                          reports (.4)
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019         Operations
November     Business               11/18/19 ED              390 Confer with J. Rak regarding reporting of final account reconciliations with property                    0.4 0.0333333         $13.00
2019         Operations                                          managers sold properties (.4)
November     Business               11/18/19 NM              260 Address pending City matters by communicating with property manager regarding more                       1.4 0.0608696         $15.83
2019         Operations                                          than a dozen administrative and housing matters some of which are in court next week and
                                                                 communicate with City regarding the same.
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019         Operations                                          (.1)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                              0.2 0.0019417         $0.76
2019         Operations
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                       1.8 0.0174757         $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                    0.9 0.0087379         $3.41
2019         Operations
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional               0.3 0.0029126         $1.14
2019         Operations                                          information for review (.3)
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                     0.7 0.0067961         $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                 2.8 0.0271845         $3.81
2019         Operations                                          (2.8).
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                   0.4 0.0038835         $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                0.5 0.0048544         $1.89
2019         Administration                                      (.5).
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                            3.8 0.0368932        $14.39
2019         Administration
             & Objections

December     Asset                  12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties           0.1 0.0076923         $1.08
2019         Disposition                                         information (.1)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements            0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                    0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)             0.1 0.0071429         $1.00
2019         Disposition
December     Asset                  12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                         1.0 0.0588235         $8.24
2019         Disposition
December     Asset                  12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                               0.2 0.0117647         $1.65
2019         Disposition
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by             1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                 0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                   0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)


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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417          $0.76
2019         Operations                                          reports (.2)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252          $2.27
2019         Operations
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767        $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767        $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379          $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049          $6.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed                 0.5 0.0294118          $4.12
2020         Disposition                                         properties (.5)
January      Asset                  01/14/20 AEP             390 conference with K. Duff, E. Duff, and N. Mirjanich regarding claims process information or           0.6          0.1      $39.00
2020         Disposition                                         other documentation relating to alleged security interests in property (.6)

January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)             1.6    0.015534        $2.17
2020         Disposition


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                 1.2 0.0116505         $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                       0.2 0.0117647         $1.65
2020         Disposition
January      Asset                  01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                             0.9 0.0529412         $7.41
2020         Disposition
January      Asset                  01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                                     0.7 0.0411765         $5.76
2020         Disposition
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544         $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706         $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020         Operations
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417         $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                   0.6 0.0058252         $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                      remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

February     Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                          Duff regarding same (.4)
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                     5.2 0.2888889        $40.44
2020         Disposition
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846         $1.13
2020         Operations




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231         $0.75
2020         Operations
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231         $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting               0.5 0.0048077         $1.88
2020         Administration                                      reports.
             & Objections




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2020 Asset                    03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                       1.4 0.0777778        $10.89
           Disposition
March 2020 Asset                    03/05/20 JR              140 update closed property spreadsheet (.4)                                                               0.4 0.0222222         $3.11
           Disposition
March 2020 Asset                    03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet                 0.2 0.0111111         $1.56
           Disposition                                           regarding closed properties and forward same (.2)
March 2020 Asset                    03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                    0.6 0.0333333         $4.67
           Disposition
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold               0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                          0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                   0.2 0.0153846         $2.15
           Operations                                            finance payments based on sales of properties.
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058         $5.57
           Operations
March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2020   Claims                 04/11/20 KBD         390 Study correspondence regarding analysis of fund claims.                                               0.2 0.0222222          $8.67
             Administration
             & Objections

April 2020   Claims                 04/17/20 KBD         390 Work with J. Wine on claims process and identification of fund claimants (.3)                         0.3         0.05      $19.50
             Administration
             & Objections

April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126          $1.14
             Operations
April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations
April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272         $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379          $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709          $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961          $2.65
             Administration                                  accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED          390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417          $0.76
             Administration                                  claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087          $3.79
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                  0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.              0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                 0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                    0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                 0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of          0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.             2.0 0.0194175         $2.72
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                        0.3 0.0176471         $6.88
             Disposition
May 2020     Asset                  05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings            0.3 0.0176471         $6.88
             Disposition                                         and sales (.3)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
             Operations
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709         $0.14
             Disposition                                         companies (.1)
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957         $1.22
             Disposition                                         (.2).
May 2020     Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462         $0.54
             Disposition                                         closings (.1)
May 2020     Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016       $2.24
             Disposition                                         (.4)
May 2020     Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008       $1.12
             Disposition
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                 regarding missing reports.
May 2020     Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                          regarding same
May 2020     Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                 amounts by property (.5).
May 2020     Business               05/21/20 KMP             140 confer with E. Duff regarding refunds and reductions for insurance premiums in connection           0.4 0.1333333        $18.67
             Operations                                          with sold properties and compile correspondence relating to same (.4).

May 2020     Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                          correspondence.


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7500-06 S Eggleston Avenue                                       EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2020     Business               05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                        0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                            0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                               0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                           0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                      0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                       0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
             Administration
             & Objections




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2020     Claims                 05/20/20 ED              390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709         $0.38
             Administration                                      relating to sold properties (.1).
             & Objections

May 2020     Claims                 05/20/20 ED              390 call with accountant to discuss questions on process regarding monthly accounting reports             0.5 0.0048544         $1.89
             Administration                                      (.5)
             & Objections

June 2020    Claims                 06/06/20 KBD             390 Attention to responses to claimants.                                                                  0.4 0.0363636        $14.18
             Administration
             & Objections

June 2020    Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                     0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)               0.9     0.05625       $7.88
             Disposition
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063        $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215         $6.91
             Disposition
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797        $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012       $1.68
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961         $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466         $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087         $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                 0.2 0.0019417         $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                    0.2 0.0019417         $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)              0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                0.4 0.0038835         $1.51
             Operations




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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
June 2020    Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting                  0.6 0.0058252         $2.27
             Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                 unsold properties (.6)
June 2020    Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                                0.5 0.0048544         $1.89
             Operations
June 2020    Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                               0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)               0.2 0.0019417         $0.76
             Operations
June 2020    Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                    0.4 0.0222222         $5.78
             Administration                                      properties with no institutional debt (.4).
             & Objections

July 2020    Asset                  07/07/20 KBD             390 review notice to claimants of property sales and correspondence regarding same (.2)                      0.2 0.0333333        $13.00
             Disposition
July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                  1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                  07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and                0.9 0.0230769         $9.00
             Disposition                                         completeness in connection with final reconciliation and payment of municipal judgments
                                                                 (.9).
July 2020    Asset                  07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution             0.5 0.0128205         $5.00
             Disposition                                         of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020    Asset                  07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative             1.7 0.0435897        $17.00
             Disposition                                         and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                 spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                 reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                 receivership properties, both current and former (1.7).

July 2020    Asset                  07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538        $18.00
             Disposition                                         receivership properties in connection with effort to achieve full and final accord with City of
                                                                 Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020    Asset                  07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026        $25.00
             Disposition                                         with receivership properties and completion of spreadsheet of outstanding judgments (2.5).

July 2020    Asset                  07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718        $37.00
             Disposition                                         violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                 properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                 cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                 reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                 of final sales tranche (3.7)




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                        0.1 0.0027778         $0.39
             Disposition
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294         $3.29
             Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
             Operations


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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                      0.2 0.0019417         $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                              2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                 0.4 0.0038835         $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding           0.2 0.0019417         $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).             0.6 0.0058252         $2.27
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                               1.7 0.0165049         $6.44
             Administration
             & Objections

August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126         $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709         $0.38
            Operations
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126         $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter                  0.4 0.0038835         $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September    Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455         $1.77
2020         Disposition
September    Asset                  09/01/20 AW              140 Communicate with J. Rak regarding issue relating to property sales, compile pleadings                1.6 0.1066667        $14.93
2020         Disposition                                         related to same, and email K. Duff complete set of pleadings.
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417         $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126         $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417         $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126         $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417         $0.76
2020         Operations
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505         $4.54
2020         Operations                                          (1.2)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417         $0.27
2020         Operations                                          (.2).
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505         $4.54
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571         $1.11
2020         Operations
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388         $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379         $1.22
2020         Disposition
October      Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455         $0.64
2020         Disposition
October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544         $0.68
2020         Disposition                                         information (.5)
October      Business               10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016       $6.24
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709         $0.38
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379         $3.41
2020         Operations
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417         $0.76
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126         $1.14
2020         Operations                                          requiring revision (.3).




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/06/20 ED          390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709         $0.38
2020         Operations
October      Business               10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767       $3.03
2020         Operations                                      comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                             reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087         $3.79
2020         Operations
October      Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020         Operations                                      reports (.5).
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024       $9.36
2020         Operations
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED          390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016       $6.24
2020         Operations
October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                      property manager (.2)
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED          390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business               10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                      reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                             reimbursed from proceeds of property sales (1.3)




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7500-06 S Eggleston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                          reports, and review of related financial information.
November     Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022       $3.08
2020         Disposition
November     Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868         $0.26
2020         Disposition
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                          property reports (.3)
November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619         $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571         $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172         $2.17
2020         Disposition                                         discrepancy (.9)
December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241         $0.24
2020         Disposition                                         (.1)
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048         $0.74
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524         $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).




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7500-06 S Eggleston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                          property managers (2.6).
December     Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                          preparation of September property accounting reports (.1)
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations
December     Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020         Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020         Operations
December     Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                          properties (.9).
December     Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020         Operations                                          changes (.4)
December     Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020         Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                 agreements, and updates to schedule of properties.
December     Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048          $0.74
2020         Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                 relating to same.
January      Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021         Operations
January      Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021         Operations                                          expenses.
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524          $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase              2.2 0.0203704          $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                         0.1 0.0009524          $0.37
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                       0.3 0.0028571          $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                 0.5 0.0047619          $1.86
2021         Operations


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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                          report (.2)
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                               0.4 0.0038095         $1.49
2021         Operations
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration           1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review              0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                       0.1 0.0009524         $0.37
2021         Operations
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                    1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and          1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.


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7500-06 S Eggleston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619          $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095          $1.49
2021         Operations
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143          $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095          $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905          $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619        $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905          $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095          $0.53
2021         Operations
January      Claims                 01/07/21 JR              140 telephone call with J. Wine regarding claim updates (7500-06 S Eggleston Avenue, 3030-32 E           0.2 0.0285714          $4.00
2021         Administration                                      79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-
             & Objections                                        55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January      Claims                 01/07/21 JR              140 Review proof of claims and update mortgagee claim information for properties (7500-06 S              5.9 0.8428571        $118.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
             & Objections                                        7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.9)

January      Claims                 01/11/21 JR              140 Work with J. Wine regarding review of claimant forms (7500-06 S Eggleston Avenue, 3030-32            1.6 0.2285714         $32.00
2021         Administration                                      E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
             & Objections                                        8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/11/21 JRW             260 begin review of claims against properties (7301-09 S Stewart Avenue, 7500-06 S Eggleston             3.7 1.2333333        $320.67
2021         Administration                                      Avenue, 3030-32 E 79th Street) and prepare notes regarding same (3.7)
             & Objections

January      Claims                 01/12/21 JRW             260 Continued analysis of claims against properties (7301-09 S Stewart Avenue, 7500-06 S                 3.3          1.1     $286.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street) and draft memorandum regarding same (3.3)
             & Objections




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7500-06 S Eggleston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
January      Claims                 01/14/21 JRW             260 update chart of claims against properties (7301-09 S Stewart Avenue, 7500-06 S Eggleston            1.3 0.4333333        $112.67
2021         Administration                                      Avenue, 3030-32 E 79th Street) (1.3)
             & Objections

January      Claims                 01/15/21 JR              140 Review proof of claims (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S                2.8          0.4      $56.00
2021         Administration                                      Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
             & Objections                                        Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/15/21 JRW             260 confer with J. Rak regarding claims analysis and related review and summary of claim                1.0 0.3333333         $86.67
2021         Administration                                      submitted by claimant (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E
             & Objections                                        79th Street) (1).

January      Claims                 01/18/21 JR              140 Review email from J. Wine and notes regarding proof of claim forms and exchange                     0.4 0.0571429          $8.00
2021         Administration                                      correspondence regarding same (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-
             & Objections                                        09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.4)
January      Claims                 01/18/21 JR              140 further correspondence with J. Wine relating to claims and resolution of several questions          0.3 0.0428571          $6.00
2021         Administration                                      and issues (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue,
             & Objections                                        2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex
                                                                 Avenue) (.3).
January      Claims                 01/18/21 JR              140 review proof of claim forms and update claims review spreadsheet (7500-06 S Eggleston               5.4 0.7714286        $108.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.4)

January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                0.6 0.0057143          $0.80
2021         Administration                                      lenders.
             & Objections

January      Claims                 01/20/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           6.6 0.9428571        $132.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/21/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           4.6 0.6571429         $92.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/21/21 JRW             260 review claims analysis (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E             0.2 0.0666667         $17.33
2021         Administration                                      79th Street) and related email exchange with S. Zjalic (.2)
             & Objections




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7500-06 S Eggleston Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
January      Claims                 01/21/21 SZ              110 Reviewed claims related to Chicago Capital Fund I (7301-09 S Stewart Avenue, 7500-06 S               5.1          1.7     $187.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street).
             & Objections

January      Claims                 01/22/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            1.5 0.2142857         $30.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.5)

January      Claims                 01/22/21 JR              140 exchange correspondence with S. Zjalic and J. Wine regarding same (7500-06 S Eggleston               0.2 0.0285714          $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January      Claims                 01/22/21 SZ              110 Reviewed claims related to Chicago Capital Fund I (7301-09 S Stewart Avenue, 7500-06 S               0.1 0.0333333          $3.67
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street).
             & Objections

January      Claims                 01/25/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            4.8 0.6857143         $96.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (4.8).

January      Claims                 01/26/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            4.2          0.6      $84.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/27/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            5.1 0.7285714        $102.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/28/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            5.6          0.8     $112.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/29/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            6.7 0.9571429        $134.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697          $0.51
2021         Disposition                                         and status of same (.4)
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644          $4.63
2021         Operations
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797          $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)


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7500-06 S Eggleston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation          0.2 0.0019048         $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,            3.2 0.0304762         $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                              1.1 0.0104762         $4.09
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                3.6 0.0342857         $4.80
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                          0.2 0.0019048         $0.27
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial          0.3 0.0028571         $0.40
2021         Operations                                          reporting.
February     Claims                 02/01/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          1.2 0.1714286        $24.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Claims                 02/15/21 JR              140 review emails from S. Zjalic regarding EBF mortgagee claim amounts (7500-06 S Eggleston            0.2 0.0285714         $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

February     Claims                 02/15/21 JR              140 Review EBF mortgagee list and update with claim amounts from proof of claims applications          2.4 0.3428571        $48.00
2021         Administration                                      (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E
             & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue)
                                                                 (2.4)
February     Claims                 02/16/21 JR              140 Review EB Mortgagee lists and update proof of claims loan amounts (7500-06 S Eggleston             1.6 0.2285714        $32.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.6)

March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                        2.2 0.0209524         $8.17
           Operations
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                 0.3 0.0028571         $1.11
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.              0.7 0.0066667         $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.               0.2 0.0019048         $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership             1.8 0.0171429         $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).            0.1 0.0009524         $0.37
           Operations




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7500-06 S Eggleston Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
March 2021 Claims                   03/03/21 JRW             260 Study notes regarding claims against funds (CCF1 and CCF2) (.3)                                     0.3         0.05      $13.00
           Administration
           & Objections

March 2021 Claims                   03/05/21 JR              140 Review email from J. Wine and further exchange correspondence with J. Wine related to the           0.5 0.0714286         $10.00
           Administration                                        claims distribution project (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S
           & Objections                                          Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.5)
March 2021 Claims                   03/05/21 JR              140 update and provide requested content related to the claims distribution project (7500-06 S          1.2 0.1714286         $24.00
           Administration                                        Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
           & Objections                                          7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.2).

April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873          $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125        $0.44
             Disposition                                         (.2)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762          $4.27
             Operations
May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                    1.3    0.012381        $1.73
             Operations
June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent             0.5 0.0047619          $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                0.2 0.0018868          $0.26
             Disposition                                         regarding closed properties status (see D) (.2)




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7500-06 S Eggleston Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
September Claims                    09/08/21 KBD         390 study correspondence and legal research regarding claims analysis (7500-06 S Eggleston                   0.4 0.0666667         $26.00
2021      Administration                                     Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S
          & Objections                                       Manistee Avenue, 7927-29 S Essex Avenue) (.4).

September Claims                    09/08/21 AEP         390 Legal research and communication of findings to K. Duff and J. Wine in connection with                   1.7 0.2833333        $110.50
2021      Administration                                     analysis of claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/08/21 JRW         260 legal research and related correspondence with A. Porter regarding analysis of findings (7301-           1.8          0.3      $78.00
2021      Administration                                     09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th
          & Objections                                       Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)

September Claims                    09/10/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes           0.7 0.1166667         $45.50
2021      Administration                                     and legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/10/21 JRW         260 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds               0.7 0.1166667         $30.33
2021      Administration                                     (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E
          & Objections                                       78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)

September Claims                    09/10/21 JRW         260 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S               0.4 0.0666667         $17.33
2021      Administration                                     Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
          & Objections                                       8047-55 S Manistee Avenue) (.4)

September Claims                    09/10/21 MR          390 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S          0.7 0.1166667         $45.50
2021      Administration                                     Stewart Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street,
          & Objections                                       7549-59 S Essex Avenue, 8047- 55 S Manistee Avenue).




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                                3030-32 E 79th Street
General Allocation % (Pre 01/29/21):                                                 0.5026578%
General Allocation % (01/29/21 Onward, Claims Only):                            0.5401405081%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     12       3030-32 E 79th Street                                                        19.99      $              5,408.93                         104.68     $            24,356.70             124.66     $             29,765.63
                 Asset Disposition [4]                                                        1.06    $                  346.12                          80.59   $             18,994.27               81.65   $              19,340.38
                 Business Operations [5]                                                      1.06    $                  319.51                           5.70   $               1,708.81               6.76   $                  2,028.32
                 Claims Administration & Objections [6]                                     17.86     $                 4,743.31                         18.39   $               3,653.62              36.25   $                  8,396.93




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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3030-32 E 79th Street                                                     EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   104.68
Specific Allocation Fees:         $       24,356.70



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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3030-32 E 79th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2018 Business                 08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                        issues (.4)
August 2018 Business                 08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                        flow (.2)
August 2018 Business                 08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                 08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                 08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                        issues (.9)
August 2018 Business                 08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                        with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                 08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                 08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Asset                    08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                       emails regarding same.
August 2018 Business                 08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                   2.0 0.0294118        $11.47
            Operations                                        properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                 08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925         $0.39
            Operations
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Claims                   08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)           0.2 0.0029412         $1.15
            Administration
            & Objections

September     Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                    0.1 0.0009346         $0.36
2018          Disposition
September     Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference               0.4 0.0037383         $1.46
2018          Disposition                                     with M. Rachlis regarding same (.4)
September     Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related           0.1 0.0009346         $0.36
2018          Disposition                                     information.
September     Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                       0.1 0.0009346         $0.36
2018          Disposition


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
September     Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                             0.2 0.0018692         $0.73
2018          Disposition
September     Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                 0.1 0.0009346         $0.36
2018          Disposition
September     Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                 0.1 0.0009346         $0.36
2018          Disposition
September     Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential               0.1 0.0009346         $0.36
2018          Disposition                                     brokers (.1).
September     Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market               0.1 0.0009346         $0.36
2018          Disposition                                     reports.
September     Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).          0.1 0.0014925         $0.58
2018          Operations
September     Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                   0.6 0.0088235         $3.44
2018          Operations
September     Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)              0.4 0.0058824         $2.29
2018          Operations
September     Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding               0.5 0.0073529         $2.87
2018          Operations                                      same (.5)
September     Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                0.1 0.0014706         $0.57
2018          Operations
September     Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft              0.4 0.0058824         $2.29
2018          Operations                                      letter agreement with property manager (.4)
September     Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                            0.5 0.0073529         $2.87
2018          Operations
September     Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management            0.5    0.004717       $1.84
2018          Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September     Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                  0.4 0.0058824         $2.29
2018          Operations                                      structure (.4)
September     Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding            0.7 0.0066038         $2.58
2018          Operations                                      receivership and property issues (.7)
September     Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                  0.7 0.0066038         $2.58
2018          Operations
September     Business               09/09/18 KBD         390 Revise agreement with property manager.                                                          0.3 0.0044118         $1.72
2018          Operations
September     Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding               0.5 0.0073529         $2.87
2018          Operations                                      compensation structure and prospective property improvements (.5)
September     Business               09/10/18 KBD         390 revise compensation structure (.4)                                                               0.4 0.0058824         $2.29
2018          Operations
September     Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                   0.1 0.0014925         $0.58
2018          Operations                                      compensation (.1)
September     Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                        2.5 0.0233645         $9.11
2018          Operations


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September     Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018          Operations
September     Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018          Operations
September     Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018          Operations
September     Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018          Operations                                      overall portfolio and property values (.4)
September     Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018          Operations                                      estate firm representatives (.1)
September     Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018          Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September     Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018          Operations                                      same (.1)
September     Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018          Operations                                      (.1)
September     Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018          Operations
September     Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018          Operations
September     Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018          Disposition
September     Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018          Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September     Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018          Disposition
September     Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018          Disposition
September     Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018          Disposition
September     Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018          Disposition
September     Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018          Disposition
September     Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018          Disposition                                     when they will be ready (.1)
September     Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018          Disposition
September     Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018          Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
September     Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                  0.1 0.0009346         $0.36
2018          Disposition                                     statements for production to potential brokerage.
September     Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                0.3 0.0028037         $1.09
2018          Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.
September     Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of          0.6 0.0089552         $3.49
2018          Operations                                      documents received regarding same (.6).
September     Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                0.7 0.0104478         $4.07
2018          Operations                                      same (.7);
September     Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                 0.4 0.0037383         $1.46
2018          Operations                                      distribution (.4).
September     Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                  0.3 0.0028037         $1.09
2018          Operations                                      with prospective brokers (.3)
September     Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                  0.2 0.0018692         $0.49
2018          Operations                                      other expenses/money coming into receivership (.2)
September     Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                     0.1 0.0009434         $0.25
2018          Operations
October       Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of             0.4 0.0037383         $1.46
2018          Disposition                                     properties and debt ratio (.4).
October       Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                 0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                     3.3 0.0308411        $12.03
2018          Disposition
October       Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio           2.7 0.0252336         $9.84
2018          Disposition                                     (2.7)
October       Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                 0.7 0.0065421         $2.55
2018          Disposition
October       Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                    0.9 0.0084112         $3.28
2018          Disposition
October       Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                    1.7 0.0158879         $6.20
2018          Disposition
October       Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                  0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                 0.7 0.0065421         $2.55
2018          Disposition
October       Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                              0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                              2.1 0.0196262         $7.65
2018          Disposition
October       Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                      0.2 0.0018692         $0.73
2018          Disposition
October       Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                       0.9 0.0084112         $3.28
2018          Disposition


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3030-32 E 79th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October       Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                   0.2 0.0018692         $0.73
2018          Disposition
October       Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421         $2.55
2018          Disposition                                     terms and further background information(.7)
October       Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018          Disposition
October       Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018          Disposition                                     (.3)
October       Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018          Disposition
October       Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018          Disposition                                     regarding engagement of broker (.2)
October       Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018          Disposition
October       Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018          Disposition
October       Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018          Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October       Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018          Disposition
October       Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018          Operations                                      and tenant evictions (.2)
October       Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018          Operations                                      regarding scofflaw list (.1)
October       Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018          Operations                                      court, and confirmation of accounting for rents (.3)
October       Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018          Operations                                      property managers (.4)
October       Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018          Operations
October       Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018          Operations
October       Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018          Operations


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October       Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                       0.1 0.0014706         $0.57
2018          Operations
October       Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                             0.3 0.0044118         $1.72
2018          Operations
October       Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.                  0.1 0.0014925         $0.58
2018          Operations
October       Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild                0.1 0.0009346         $0.36
2018          Operations                                      properties (.1)
October       Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018          Administration
              & Objections

October       Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018          Administration
              & Objections

October       Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018          Disposition
October       Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018          Disposition                                     firms.
October       Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018          Disposition
October       Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018          Disposition
October       Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018          Disposition
October       Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018          Disposition                                     payments and sale of same, and property database.
October       Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018          Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October       Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018          Disposition
October       Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018          Disposition                                     agreement and upcoming receivership tasks.
October       Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018          Disposition                                     agent (1.5).
October       Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018          Disposition                                     Duff and M. Rachlis.




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
October       Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                   0.6 0.0056075         $2.19
2018          Disposition
October       Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                             2.2 0.0205607         $8.02
2018          Disposition
October       Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                       1.3 0.0121495         $1.70
2018          Disposition
October       Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                            0.3 0.0028037         $0.39
2018          Disposition
October       Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                     0.3 0.0028037         $0.39
2018          Disposition
October       Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to            0.1 0.0009346         $0.13
2018          Disposition                                     retained broker (.1)
October       Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                          0.1 0.0009346         $0.13
2018          Disposition
October       Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                2.1 0.0196262         $5.10
2018          Disposition                                     engagement (2.1).
October       Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                  1.5 0.0223881         $8.73
2018          Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October       Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.          2.0 0.0186916         $7.29
2018          Disposition
October       Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                        0.1 0.0014925         $0.21
2018          Disposition
October       Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                0.1 0.0014925         $0.21
2018          Disposition
October       Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                         0.1 0.0009346         $0.13
2018          Disposition
October       Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for               2.1 0.0196262         $7.65
2018          Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October       Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,          2.0 0.0186916         $4.86
2018          Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October       Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                            0.1 0.0009346         $0.13
2018          Operations
October       Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                0.1 0.0009346         $0.13
2018          Operations
October       Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                   0.1 0.0014925         $0.21
2018          Operations
October       Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                     0.5 0.0046729         $1.82
2018          Administration
              & Objections




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
November      Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018          Operations
November      Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018          Operations
November      Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018          Operations                                      reporting and communications with asset manager (.1).
November      Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018          Administration
              & Objections

November      Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018          Administration                                  lenders (.2).
              & Objections

November      Asset                  11/21/18 AEP         390 research chain of corporate ownership for receivership entities (5001 S Drexel LLC and                 0.7       0.175      $68.25
2018          Disposition                                     Chicago Capital Fund 1 LLC) (.7).
November      Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                              0.3 0.0028037         $1.09
2018          Operations
November      Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729         $1.82
2018          Operations
November      Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692         $0.73
2018          Operations                                      property inspections by lenders (.2)
November      Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                 0.7 0.0065421         $2.55
2018          Operations                                      related issues (.7)
December      Asset                  12/28/18 KBD         390 draft correspondence to real estate broker and A. Porter regarding real estate sale contract           0.1      0.0125       $4.88
2018          Disposition                                     and finalizing list for next group of properties to sell (.1).
December      Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018          Operations
December      Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018          Operations                                      representatives regarding property portfolio (.4)
December      Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018          Operations
December      Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018          Operations
December      Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018          Operations
December      Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018          Operations
December      Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018          Operations                                      repair planning, and receivership activities (1.5)
December      Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346         $0.36
2018          Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
December      Business               12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018          Operations                                          reporting (.1)
December      Business               12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018          Operations
December      Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018          Operations
December      Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018          Operations                                          issues (2.8)
December      Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018          Operations
December      Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018          Operations                                          to address City violations and his plan for same (1.3)
December      Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018          Operations
December      Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018          Operations                                          with K. Duff and N. Mirjanich.
December      Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018          Operations                                          Rachlis and K. Duff regarding same (2.5)
December      Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018          Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                  properties with violations (1.5)
December      Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018          Operations                                          income from property manager and conference with K. Duff regarding same.

December      Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018          Operations                                          properties with respective management companies in charge of their water bill payments
                                                                  and reported findings to N. Mirjanich.
January       Business               01/10/19 KBD             390 study property management report (.2)                                                                   0.2 0.0029412         $1.15
2019          Operations
January       Business               01/10/19 KBD             390 study property manager financial reporting (.4).                                                        0.4 0.0059701         $2.33
2019          Operations
January       Business               01/11/19 KBD             390 study property manager financial reporting and draft correspondence to property manager                 0.3 0.0044118         $1.72
2019          Operations                                          regarding same (.3)
January       Business               01/15/19 KBD             390 study financial reporting from other property manager (.3).                                             0.3 0.0044118         $1.72
2019          Operations
January       Business               01/15/19 KBD             390 study correspondence from city official regarding request for meeting (.1)                              0.1 0.0009434         $0.37
2019          Operations
January       Business               01/24/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding meeting with City                  0.2 0.0018868         $0.74
2019          Operations                                          officials regarding scofflaw list (.2).
January       Business               01/25/19 KBD             390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                 0.1 0.0009434         $0.37
2019          Operations                                          portfolio compliance and disposition issues (.1)
January       Asset                  01/22/19 NM              260 correspond with K. Duff regarding property sales (.5).                                                  0.5      0.0625      $16.25
2019          Disposition


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
January       Asset                  01/24/19 NM          260 Revise motion to approve the process for the sale of the second round of properties (.2)                0.2       0.025        $6.50
2019          Disposition
January       Asset                  01/25/19 NM          260 Revise motion to approve the process for the sale of the second round of properties and                 0.4         0.05      $13.00
2019          Disposition                                     send to K. Duff, M. Rachlis, and A. Porter for comment (.4)
January       Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls             0.2 0.0029412          $0.41
2019          Operations                                      for December and communications with K. Duff regarding same (.2).

January       Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross           0.1 0.0014706          $0.21
2019          Operations                                      rents for December (.1)
February      Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346          $0.36
2019          Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February      Asset                  02/11/19 KBD         390 additional telephone conference with real estate broker representatives regarding listing               0.2 0.0133333          $5.20
2019          Disposition                                     prices for next group of properties to sale (.2)
February      Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019          Disposition
February      Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019          Disposition
February      Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019          Disposition
February      Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925          $0.58
2019          Operations
February      Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412          $1.15
2019          Operations
February      Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383          $1.46
2019          Operations                                      (.4)
February      Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037          $1.09
2019          Operations
February      Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346          $0.36
2019          Operations
February      Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412          $1.15
2019          Operations                                      and financial information (.2)
February      Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
2019          Operations
February      Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412          $1.15
2019          Operations
February      Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346          $0.36
2019          Operations                                      issue (.1).
February      Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706          $0.57
2019          Operations
February      Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706          $0.57
2019          Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
February      Business               02/14/19 KBD             390 draft correspondence to property managers regarding communications with accounting firm                  0.1 0.0009346          $0.36
2019          Operations                                          representative (.1)
February      Business               02/15/19 KBD             390 Exchange correspondence with property manager regarding financial reporting and net                      0.1 0.0014925          $0.58
2019          Operations                                          rental income (.1)
February      Business               02/18/19 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                         0.1 0.0014706          $0.57
2019          Operations
February      Business               02/20/19 KBD             390 study correspondence from A. Porter regarding delinquent property taxes (.1)                             0.1       0.005        $1.95
2019          Operations
February      Business               02/20/19 KBD             390 Exchange correspondence with property manager and E. Duff regarding housing authority                    0.2 0.0029412          $1.15
2019          Operations                                          documentation (.2)
February      Business               02/21/19 KBD             390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real                0.6         0.03      $11.70
2019          Operations                                          estate taxes and lender communications (.6).
February      Business               02/21/19 KBD             390 Review housing authority documentation from property manager (.1)                                        0.1 0.0014706          $0.57
2019          Operations
February      Business               02/22/19 KBD             390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                       0.1       0.005        $1.95
2019          Operations
February      Business               02/24/19 KBD             390 Draft correspondence to asset manager regarding affordable housing contact (.1)                          0.1 0.0014706          $0.57
2019          Operations
February      Business               02/26/19 KBD             390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                      1.1       0.055       $21.45
2019          Operations
February      Business               02/26/19 KBD             390 Analysis of financial information and real estate tax obligations (3.9)                                  3.9       0.195       $76.05
2019          Operations
February      Business               02/26/19 KBD             390 exchange correspondence with city official regarding impact of court ruling on property                  0.1 0.0009434          $0.37
2019          Operations                                          maintenance and repairs (.1)
February      Business               02/28/19 KBD             390 exchange communication and telephone conference with property manager representatives                    0.4 0.0059701          $2.33
2019          Operations                                          regarding real estate taxes and financial reporting (.4)
February      Asset                  02/18/19 AEP             390 Participate in receivership team meeting with outside broker regarding properties proposed               1.0 0.3333333        $130.00
2019          Disposition                                         to be included in third marketing tranche (1.0)
February      Asset                  02/18/19 JR              140 continue office conference regarding further discussion on the portfolio disposition (1.7).              1.7 0.5666667         $79.33
2019          Disposition
February      Asset                  02/18/19 JR              140 Office conference with brokers and attorneys, K. Duff, N. Mirjanich, A. Porter and M. Rachlis            1.9 0.6333333         $88.67
2019          Disposition                                         regarding the portfolio disposition (1.9)
February      Asset                  02/18/19 MR              390 further meetings regarding issues on same (2.0).                                                         2.0 0.1333333         $52.00
2019          Disposition
February      Asset                  02/18/19 NM              260 further correspond with K. Duff, M. Rachlis, and A. Porter regarding same (.5)                           0.5 0.0185185          $4.81
2019          Disposition
February      Asset                  02/18/19 NM              260 strategy and planning with real estate broker and K. Duff, M. Rachlis, and A. Porter regarding           1.9 0.1266667         $32.93
2019          Disposition                                         disposition of second tranche, third tranche, and possible other properties to dispose of (1.9)

February      Business               02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                      0.2 0.0029412          $0.41
2019          Operations                                          property expenses, and communicate same to K. Duff (.2)
February      Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                      0.2 0.0018692          $0.49
2019          Operations                                          violation (.2)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
February      Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019          Operations                                          in receivership portfolio (1.9).
February      Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019          Operations                                          building expenses.
February      Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019          Operations
February      Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019          Operations
February      Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for                0.2         0.01       $3.90
2019          Operations                                          K. Duff, specifying date of upcoming tax sale.
February      Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                            0.2 0.0029412          $1.15
2019          Operations                                          property manager and K. Duff (.2)
February      Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019          Operations
February      Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                          0.6         0.03      $11.70
2019          Operations
February      Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                     4.4         0.22      $85.80
2019          Operations                                          property taxes.
February      Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                   0.2 0.0018868          $0.26
2019          Operations                                          with court order and issues relating to same (.2)
February      Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                               0.8         0.04      $15.60
2019          Operations
February      Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                                   0.3 0.0028302          $1.10
2019          Operations
February      Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                               0.8 0.0119403          $1.67
2019          Operations
February      Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in                0.1 0.0014925          $0.21
2019          Operations                                          receivership (.1)
February      Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                                   0.4 0.0059701          $0.84
2019          Operations
March 2019    Asset                  03/07/19 KBD             390 draft correspondence to broker same (.1)                                                                  0.1 0.0009804          $0.38
              Disposition
March 2019    Asset                  03/07/19 KBD             390 Telephone conference with counsel for potential purchaser regarding future listings of                    0.1 0.0009804          $0.38
              Disposition                                         properties for sale (.1)
March 2019    Asset                  03/12/19 KBD             390 conference with asset manager and counsel regarding properties sales, listings, strategy,                 1.8 0.0545455         $21.27
              Disposition                                         valuation, and timing (1.8)
March 2019    Asset                  03/28/19 KBD             390 study summary of next group of properties to sell (.3).                                                   0.3         0.02       $7.80
              Disposition
March 2019    Business               03/01/19 KBD             390 telephone conference and office conference with N. Mirjanich regarding same (.1)                          0.1 0.0009346          $0.36
              Operations
March 2019    Business               03/01/19 KBD             390 study spreadsheet relating to real estate taxes (.2)                                                      0.2 0.0018692          $0.73
              Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
March 2019 Business                  03/01/19 KBD             390 Study correspondence from and office conference with J. Rak regarding real estate tax                     0.1 0.0009346         $0.36
           Operations                                             payment issues and logistics (.1)
March 2019 Business                  03/05/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding communication with                   0.1 0.0009346         $0.36
           Operations                                             former counsel relating to notices of property violations (.1).

March 2019 Business                  03/07/19 KBD             390 study correspondence from E. Duff regarding outstanding real estate taxes and                             0.2 0.0029412         $1.15
           Operations                                             communications with property manager (.2).
March 2019 Business                  03/08/19 KBD             390 study correspondence regarding property manager financial reporting (.1).                                 0.1 0.0014925         $0.58
           Operations
March 2019 Business                  03/12/19 KBD             390 study information from property manager regarding real estate taxes and exchange                          0.2 0.0029412         $1.15
           Operations                                             correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                  03/15/19 KBD             390 study financial reporting from property manager (.4).                                                     0.4 0.0058824         $2.29
           Operations
March 2019 Business                  03/15/19 KBD             390 study property manager financial reporting (.3)                                                           0.3 0.0044118         $1.72
           Operations
March 2019 Business                  03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                         0.1 0.0014706         $0.57
           Operations
March 2019 Claims                    03/14/19 KBD             390 study property manager financial report (.2).                                                             0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Asset                     03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales               0.5    0.005102       $1.99
           Disposition                                            process and potential substitution for current title insurer (.5)
March 2019 Asset                     03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                      2.6 0.0393939         $5.52
           Disposition                                            management company adding PIN number and the balance due as well as accrued interest
                                                                  (2.6)
March 2019 Asset                     03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                          1.7 0.0173469         $6.77
           Disposition                                            regarding background of receivership, plan for selling receivership properties, all title
                                                                  insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                     03/12/19 AEP             390 participate in team meeting with receivership brokers regarding properties to be included                 2.0 0.6666667       $260.00
           Disposition                                            within third marketing tranche (2.0).
March 2019 Asset                     03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381        $24.76
           Disposition                                            disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                     03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                      0.2 0.0222222         $3.11
           Disposition                                            certain closing documents relating to sale of properties.
March 2019 Asset                     03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary                   0.2 0.0222222         $3.11
           Disposition                                            for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                     03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                       0.1 0.0111111         $1.56
           Disposition




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
March 2019 Asset                     03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,            0.2 0.0019048         $0.74
           Disposition                                            potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                     03/27/19 JR              140 itemized spreadsheet to reflect past due tax bills from 2017 for payment (.3)                          0.3       0.025       $3.50
           Disposition
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                   1.5 0.0140187         $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                                0.2 0.0018692         $0.26
           Operations
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all                1.8 0.0168224         $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 MR              390 attention to letter on code issues (.1).                                                               0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager               0.5 0.0073529         $2.87
           Operations                                             regarding same (.5)
March 2019 Business                  03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).               0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                        0.1 0.0009346         $0.24
           Operations
March 2019 Business                  03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                      0.4 0.0058824         $2.29
           Operations                                             estate taxes (.4)
March 2019 Business                  03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same             1.8 0.0168224         $4.37
           Operations                                             (1.8)
March 2019 Business                  03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692         $0.49
           Operations                                             (.2).
March 2019 Business                  03/20/19 NM              260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                  03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                  03/22/19 MR              390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations
March 2019 Business                  03/22/19 MR              390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations
March 2019 Business                  03/26/19 MR              390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868         $0.74
           Operations
March 2019 Business                  03/28/19 ED              390 meeting with K. Duff and A. Porter (1.3)                                                               1.3 0.1857143        $72.43
           Operations
April 2019 Asset                     04/02/19 KBD             390 draft correspondence to real estate broker regarding planning for liquidation of next tranche          0.1 0.0066667         $2.60
           Disposition                                            of properties (.1)
April 2019 Asset                     04/09/19 KBD             390 Telephone conference with broker regarding update on timing for second tranche of                      0.2 0.0074074         $2.89
           Disposition                                            properties and preparation for third tranche of properties (.2)
April 2019 Asset                     04/12/19 KBD             390 study draft motion for approval of sale of additional properties (.2).                                 0.2 0.0133333         $5.20
           Disposition




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
April 2019    Asset                  04/13/19 KBD         390 Exchange correspondence with A. Porter regarding motion to approve sale of additional                   0.2 0.0133333          $5.20
              Disposition                                     properties.
April 2019    Asset                  04/14/19 KBD         390 Telephone conference with A. Porter regarding motions to approve sale of third tranche of               0.2 0.0133333          $5.20
              Disposition                                     properties and division into three segments.
April 2019    Asset                  04/15/19 KBD         390 Exchange correspondence and office conference with A. Porter regarding motions to                       0.2 0.0133333          $5.20
              Disposition                                     approve sale of third tranche of properties.
April 2019    Asset                  04/16/19 KBD         390 Telephone conference with real estate broker regarding timing for sales and listing additional          0.2 0.0133333          $5.20
              Disposition                                     properties and financing efforts.
April 2019    Asset                  04/18/19 KBD         390 study draft motion relating to same (.5).                                                               0.5 0.0333333         $13.00
              Disposition
April 2019    Asset                  04/18/19 KBD         390 office conferences with E. Duff and K. Pritchard regarding same (.3)                                    0.3         0.02       $7.80
              Disposition
April 2019    Asset                  04/18/19 KBD         390 Exchange correspondence and telephone conference with A. Porter regarding motions to sell               0.4 0.0266667         $10.40
              Disposition                                     third tranche of properties (.4)
April 2019    Business               04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                       0.2 0.0111111          $4.33
              Operations
April 2019    Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
              Operations
April 2019    Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
              Operations
April 2019    Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                   0.6 0.0056075          $2.19
              Operations
April 2019    Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                      0.2 0.0018692          $0.73
              Operations
April 2019    Business               04/15/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
              Operations
April 2019    Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)                0.7 0.0077778          $3.03
              Operations
April 2019    Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                          0.1 0.0011111          $0.43
              Operations
April 2019    Business               04/26/19 KBD         390 Telephone conference and exchange correspondence with insurance broker regarding                        0.3 0.0029126          $1.14
              Operations                                      efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019    Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real                  0.4 0.0037383          $1.46
              Operations                                      estate tax payments and planning (.4)
April 2019    Business               04/30/19 KBD         390 Study records for delivering 2017 real estate taxes, several office conferences and exchange            2.5     0.15625       $60.94
              Operations                                      various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                              (2.5)
April 2019    Business               04/30/19 KBD         390 exchange correspondence with property managers regarding payment of 2017 real estate                    0.6      0.0375       $14.63
              Operations                                      taxes (.6)
April 2019    Business               04/30/19 KBD         390 exchange correspondence with insurance broker regarding property coverage and payment                   0.2 0.0019417          $0.76
              Operations                                      amounts (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
April 2019    Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                                0.6 0.0056075          $0.79
              Disposition
April 2019    Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                         0.3 0.0028037          $0.39
              Disposition                                         spreadsheet and additional account numbers (.3)
April 2019    Asset                  04/04/19 AEP             390 Review latest draft of portfolio spreadsheet, update files to include newly added properties             0.2 0.0666667         $26.00
              Disposition                                         to third marketing and sales tranche, and request title commitments for newly added
                                                                  properties.
April 2019    Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                   0.2 0.0018692          $0.73
              Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019    Asset                  04/09/19 JR              140 email communication to A. Porter regarding the third tranche (.1)                                        0.1 0.0333333          $4.67
              Disposition
April 2019    Asset                  04/15/19 AEP             390 Prepare initial drafts of three separate motions to approve the marketing and sales process              7.5          2.5     $975.00
              Disposition                                         for third tranche of properties in the receivership estate, including revised bid instructions,
                                                                  revised publication notices, and separate forms of proposed orders.

April 2019    Asset                  04/16/19 AEP             390 Continue preparation of motions to approve marketing and sales process for third tranche of              0.7 0.2333333         $91.00
              Disposition                                         properties in receivership estate.
April 2019    Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                      0.2 0.0018692          $0.26
              Disposition                                         Chicago water department (.2).
April 2019    Asset                  04/16/19 MR              390 Conferences on status on motions and other property issues with K. Duff.                                 0.3         0.02       $7.80
              Disposition
April 2019    Asset                  04/18/19 AEP             390 Finalize preparation of all three motions to approve sales process for properties in third               2.1          0.7     $273.00
              Disposition                                         marketing tranche.
April 2019    Asset                  04/18/19 ED              390 review and analysis of information regarding third tranche of property sales to determine                0.8 0.2666667        $104.00
              Disposition                                         lenders affected (.8)
April 2019    Asset                  04/18/19 ED              390 Prepare and send email correspondence to lenders' counsel regarding third motion                         1.2          0.4     $156.00
              Disposition                                         regarding sale of properties and requesting payoff letters for affected properties (1.2)

April 2019    Asset                  04/18/19 ED              390 review draft of third motion to approve and confer with K. Duff regarding comments (.3).                 0.3          0.1      $39.00
              Disposition
April 2019    Asset                  04/18/19 KMP             140 file motions and notices electronically (.3)                                                             0.3         0.02       $2.80
              Disposition
April 2019    Asset                  04/18/19 KMP             140 Review, revise and finalize motions for court approval of sale process and related notices,              0.8 0.0533333          $7.47
              Disposition                                         and communications with K. Duff, E. Duff and A. Porter regarding same (.8)

April 2019    Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd                3.3 0.0308411          $4.32
              Disposition                                         installment and confirm entities on our applications.
April 2019    Asset                  04/19/19 KMP             140 Communication with real estate agent regarding motions for court approval of sale of                     0.1 0.0066667          $0.93
              Disposition                                         properties.
April 2019    Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                    1.0    0.047619       $18.57
              Disposition


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2019    Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                          0.3 0.0142857          $5.57
              Disposition
April 2019    Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge              5.0 0.2380952         $92.86
              Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019    Asset                  04/22/19 NM              260 study publication notice and time frame for same (.1)                                                  0.1 0.0111111          $2.89
              Disposition
April 2019    Asset                  04/22/19 NM              260 correspond with broker regarding approval of the second and third tranches of sale and                 0.2 0.0222222          $5.78
              Disposition                                         publication notice for same (.2)
April 2019    Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037          $0.39
              Operations
April 2019    Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262          $2.75
              Operations                                          accrual (2.1)
April 2019    Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,             0.3 0.0028302          $0.40
              Operations                                          and prepare electronic copy for email communication.
April 2019    Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real                0.2 0.0028571          $1.11
              Operations                                          estate taxes.
April 2019    Business               04/11/19 ED              390 Review financial performance of properties with outstanding 2017 real estate taxes (.8)                0.8          0.1      $39.00
              Operations
April 2019    Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412          $1.15
              Operations                                          amounts (.2)
April 2019    Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412          $1.15
              Operations
April 2019    Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486          $5.10
              Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019    Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111          $4.33
              Operations
April 2019    Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222          $0.87
              Operations
April 2019    Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333          $1.30
              Operations
April 2019    Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111          $0.43
              Operations
April 2019    Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667          $2.60
              Operations
April 2019    Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
              Operations
April 2019    Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111          $0.43
              Operations
April 2019    Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
              Operations
April 2019    Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
              Operations


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2019    Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order            4.2 0.0392523         $5.50
              Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019    Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                               1.4 0.0130841         $1.83
              Operations
April 2019    Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with            1.5 0.0217391         $8.48
              Operations                                          insufficient income to support expenses.
April 2019    Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                  1.8    0.026087      $10.17
              Operations                                          expenses (1.8)
April 2019    Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                               0.2 0.0019802         $0.77
              Operations
April 2019    Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0009901         $0.39
              Operations
April 2019    Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                0.5 0.0046729         $0.65
              Operations
April 2019    Business               04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                  0.1     0.00625       $0.88
              Operations
April 2019    Business               04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                     1.2       0.075      $10.50
              Operations
April 2019    Business               04/30/19 KMP             140 Submit online payments for 2017 delinquent taxes for various properties, and conferences              0.7 0.0583333         $8.17
              Operations                                          with K. Duff and J. Rak regarding same.
April 2019    Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                  0.8 0.0115942         $4.52
              Administration
              & Objections

April 2019    Claims                 04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
              Administration                                      insurance coverage (.3)
              & Objections

May 2019      Asset                  05/12/19 KBD             390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
              Disposition
May 2019      Asset                  05/13/19 KBD             390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
              Disposition
May 2019      Asset                  05/13/19 KBD             390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
              Disposition
May 2019      Asset                  05/15/19 KBD             390 study and revise motion to amend and office conference with M. Rachlis regarding same (.4)            0.4 0.1333333        $52.00
              Disposition
May 2019      Asset                  05/16/19 KBD             390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
              Disposition                                         procedures and impact of changes on sales efforts (.6)
May 2019      Asset                  05/17/19 KBD             390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
              Disposition
May 2019      Asset                  05/20/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
              Disposition




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3030-32 E 79th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019      Asset                  05/21/19 KBD         390 discuss same with M. Rachlis (.1)                                                                     0.1 0.0066667         $2.60
              Disposition
May 2019      Asset                  05/21/19 KBD         390 Telephone conference with real estate broker regarding court order relating to sale of third          0.2 0.0666667        $26.00
              Disposition                                     group of properties (.2)
May 2019      Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
              Disposition                                     broker (.1)
May 2019      Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
              Disposition
May 2019      Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
              Operations
May 2019      Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
              Operations                                      replacement insurance (.1).
May 2019      Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
              Operations                                      replacement of insurance coverage (.1)
May 2019      Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
              Operations                                      insurance policies and renewals (.2).
May 2019      Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
              Operations                                      payment (.1).
May 2019      Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
              Operations                                      insurance (.3)
May 2019      Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
              Operations
May 2019      Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
              Operations
May 2019      Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
              Operations                                      same (.3)
May 2019      Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
              Operations
May 2019      Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
              Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019      Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
              Operations
May 2019      Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
              Operations
May 2019      Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
              Operations
May 2019      Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
              Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019      Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709         $0.38
              Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2019      Business               05/23/19 KBD             390 Exchange correspondence and telephone conference with insurance broker regarding                        0.2 0.0019417          $0.76
              Operations                                          property insurance renewal (.2)
May 2019      Business               05/24/19 KBD             390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                    0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/28/19 KBD             390 exchange correspondence with insurance broker regarding renewal of coverage and                         0.1 0.0009709          $0.38
              Operations                                          payment (.1)
May 2019      Business               05/29/19 KBD             390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                  0.2 0.0019417          $0.76
              Operations                                          property insurance payment (.2)
May 2019      Business               05/30/19 KBD             390 study correspondence from K. Pritchard regarding property insurance funding (.2)                        0.2 0.0019417          $0.76
              Operations
May 2019      Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                        0.2 0.0018692          $0.73
              Operations
May 2019      Business               05/31/19 KBD             390 exchange correspondence with E. Duff regarding same (.1)                                                0.1 0.0015625          $0.61
              Operations
May 2019      Business               05/31/19 KBD             390 Telephone conference with property manager regarding unpaid property management                         0.3 0.0046875          $1.83
              Operations                                          expenses (.3)
May 2019      Claims                 05/21/19 KBD             390 review correspondence from N. Mirjanich regarding publication notice (.1).                              0.1 0.0066667          $2.60
              Administration
              & Objections

May 2019      Asset                  05/02/19 NM              260 draft motion to amend the approval of third tranche to reflect same (.3).                               0.3         0.02       $5.20
              Disposition
May 2019      Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                                2.7 0.0252336          $3.53
              Disposition
May 2019      Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                         0.1 0.0009709          $0.38
              Disposition
May 2019      Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)           0.1 0.0009804          $0.38
              Disposition
May 2019      Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
              Disposition
May 2019      Asset                  05/13/19 NM              260 study correspondence relating to bid procedures and amendment motion to approve the                     0.2 0.0133333          $3.47
              Disposition                                         third tranche of properties (.2)
May 2019      Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                      0.4 0.0039216          $1.53
              Disposition
May 2019      Asset                  05/14/19 AEP             390 study, edit, and revise proposed amendment to third, fourth, and fifth motions for approval             0.2         0.02       $7.80
              Disposition                                         of marketing and sale of properties in third marketing tranche (.2)
May 2019      Asset                  05/15/19 AEP             390 proofread, edit, and revise amendment to third, fourth, and fifth motions for approval of sale          0.2 0.0133333          $5.20
              Disposition                                         of properties in second marketing tranche (.2)
May 2019      Asset                  05/15/19 AW              140 Revise motion for approval of sale 3.0 and email counsel regarding same.                                0.4 0.1333333         $18.67
              Disposition
May 2019      Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
              Disposition




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2019      Asset                  05/15/19 NM              260 Study correspondence relating to procedures for second tranche of property sales and                    0.5         0.05      $13.00
              Disposition                                         correspond with K. Duff regarding same and publication notice (.5)
May 2019      Asset                  05/15/19 NM              260 correspond with real estate broker and K. Duff regarding publication notice for second                  0.7 0.0259259          $6.74
              Disposition                                         tranche of properties and draft revisions to same (.7)
May 2019      Asset                  05/16/19 AW              140 Proofread notice of amendment to motion for approval of sale 3.0 (.1)                                   0.1 0.0333333          $4.67
              Disposition
May 2019      Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
              Disposition
May 2019      Asset                  05/16/19 MR              390 Further edits to brief (.3)                                                                             0.3         0.02       $7.80
              Disposition
May 2019      Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806        $5.43
              Disposition                                         online water payment and management (2.6)
May 2019      Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851          $0.42
              Disposition
May 2019      Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776          $0.63
              Disposition                                         (.3)
May 2019      Asset                  05/21/19 MR              390 Review orders approving sales and emails on bidding procedures (.4)                                     0.4         0.05      $19.50
              Disposition
May 2019      Asset                  05/21/19 MR              390 and conferences regarding same (.2).                                                                    0.2       0.025        $9.75
              Disposition
May 2019      Asset                  05/21/19 NM              260 exchange correspondence relating to court orders on third and fourth sales motions (.1)                 0.1      0.0125        $3.25
              Disposition
May 2019      Asset                  05/29/19 NM              260 correspond with K. Duff and real estate broker regarding marketing second and third tranche             0.1 0.0333333          $8.67
              Disposition                                         of properties (.1).
May 2019      Asset                  05/30/19 AEP             390 Meeting with J. Rak to prepare strategic plan for second, third, and fifth marketing tranches,          2.0 0.0909091         $35.45
              Disposition                                         including ordering, facilitating, and proofing of surveys, completion of title commitments,
                                                                  preparation of motions to confirm sales and proposed orders associated therewith, and
                                                                  preparations of preliminary settlement statements (2.0)

May 2019      Asset                  05/30/19 JR              140 Work on drafting of motion to approve sale for the second tranche with A. Porter (2.6)                  2.6       0.325       $45.50
              Disposition
May 2019      Asset                  05/30/19 NM              260 revise publication notice to reflect same and correspond with K. Duff on same (.3).                     0.3 0.0333333          $8.67
              Disposition
May 2019      Asset                  05/30/19 NM              260 Correspond with K. Duff and real estate broker regarding marketing of properties in second              0.5 0.0185185          $4.81
              Disposition                                         and third tranches of sales (.5)
May 2019      Asset                  05/31/19 AEP             390 teleconference with K. Duff and receivership broker regarding of properties in second and               0.3          0.1      $39.00
              Disposition                                         third tranches (.3)
May 2019      Asset                  05/31/19 AEP             390 review and edit final draft of proposed bidding procedures for marketing of selected second             0.2 0.0666667         $26.00
              Disposition                                         and third tranche properties (.2)
May 2019      Asset                  05/31/19 JR              140 office conference with A. Porter regarding same (1.6)                                                   1.6          0.2      $28.00
              Disposition
May 2019      Asset                  05/31/19 JR              140 assist in drafting motion to approve sale for the second tranche (.6)                                   0.6       0.075       $10.50
              Disposition


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  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
May 2019      Asset                  05/31/19 NM              260 Revise publication notice to reflect marketing of properties in second and third tranches of          0.8         0.08      $20.80
              Disposition                                         sales and correspond with K. Duff, A. Porter, and J. Rak regarding same (.8)

May 2019      Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953          $3.01
              Operations                                          sale (2.3)
May 2019      Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766          $1.05
              Operations
May 2019      Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835          $1.51
              Operations
May 2019      Business               05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923          $3.00
              Operations
May 2019      Business               05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385          $0.60
              Operations
May 2019      Business               05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417          $0.27
              Operations                                          conferences with K. Duff and E. Duff regarding same (.2)
May 2019      Business               05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709          $0.14
              Operations
May 2019      Business               05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709          $0.14
              Operations
May 2019      Business               05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835          $0.54
              Operations                                          insurance renewal, and communications with K. Duff and bank representative regarding
                                                                  same (.4)
May 2019      Business               05/07/19 KMP             140 Study communication from insurance broker providing notice of first installment on                    0.1 0.0009709          $0.14
              Operations                                          premium finance agreement.
May 2019      Business               05/09/19 NM              260 Study and exchange correspondence relating to credit bid and expenses from property                   0.2 0.0019608          $0.51
              Operations                                          manager (.2)
May 2019      Business               05/15/19 ED              390 Review April financial reporting (1.3)                                                                1.3 0.0126214          $4.92
              Operations
May 2019      Business               05/15/19 KMP             140 Prepare wire request form for property manager's expenses and conferences with K. Duff                0.4 0.1333333         $18.67
              Operations                                          and bank representative regarding same.
May 2019      Business               05/16/19 ED              390 Review April financial reporting information (1.0)                                                    1.0 0.0097087          $3.79
              Operations
May 2019      Business               05/24/19 MR              390 and to property insurance (.1).                                                                       0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/24/19 MR              390 Attention to communications regarding property managers (.3)                                          0.3 0.0029126          $1.14
              Operations




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  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019      Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417          $0.27
              Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019      Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835          $0.54
              Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019      Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709          $0.14
              Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)
June 2019     Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                 0.3       0.003        $1.17
              Disposition
June 2019     Asset                  06/03/19 KBD         390 Work on newspaper publication in connection with property sales (.4)                                   0.4         0.04      $15.60
              Disposition
June 2019     Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                  0.2       0.002        $0.78
              Disposition                                     timing (.2)
June 2019     Asset                  06/03/19 KBD         390 study sales and bid procedures (.4).                                                                   0.4 0.0266667         $10.40
              Disposition
June 2019     Asset                  06/04/19 KBD         390 study revisions to sales procedures and correspondence regarding same (.3).                            0.3         0.02       $7.80
              Disposition
June 2019     Asset                  06/04/19 KBD         390 Discuss publication notice for property sales and study publication and cost information               0.2       0.025        $9.75
              Disposition                                     relating to same (.2)
June 2019     Asset                  06/05/19 KBD         390 study and exchange various correspondence regarding sales procedures, joint motion, and                0.4 0.0266667         $10.40
              Disposition                                     communications from lenders' counsel regarding same (.4).
June 2019     Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)              0.2 0.0028571          $1.11
              Disposition
June 2019     Asset                  06/15/19 KBD         390 Study property marketing status report.                                                                0.2 0.0019802          $0.77
              Disposition
June 2019     Asset                  06/19/19 KBD         390 modify property sale procedures and exchange correspondence regarding same (.3).                       0.3         0.02       $7.80
              Disposition
June 2019     Asset                  06/21/19 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding planning for sale of properties             0.2 0.0074074          $2.89
              Disposition                                     (.2).
June 2019     Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                   0.5       0.005        $1.95
              Disposition
June 2019     Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and                0.2 0.0039216          $1.53
              Disposition                                     potential for new grouping to list for sale (.2)
June 2019     Asset                  06/24/19 KBD         390 study purchase and sale agreements (7301 S Stewart, 2909 78th, 3030 79th, and 8047                     0.4          0.1      $39.00
              Disposition                                     Manistee) (.4).
June 2019     Asset                  06/24/19 KBD         390 Exchange correspondence with A. Porter regarding status and completion of purchase and                 0.2       0.025        $9.75
              Disposition                                     sale agreements for listed properties (.2)
June 2019     Asset                  06/25/19 KBD         390 Exchange correspondence with A. Porter regarding purchase and sale agreements for listed               0.1       0.025        $9.75
              Disposition                                     properties (.1)
June 2019     Asset                  06/26/19 KBD         390 Telephone conference with real estate broker regarding marketing response and potential                0.2       0.025        $9.75
              Disposition                                     offers (.2)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
June 2019     Asset                  06/26/19 KBD             390 work on closing documents and preparation for motion to approve sale of properties (.5).            0.5      0.0625       $24.38
              Disposition
June 2019     Asset                  06/27/19 KBD             390 Telephone conference with real estate broker regarding offers for listed properties.                0.2       0.025        $9.75
              Disposition
June 2019     Asset                  06/28/19 KBD             390 study portfolio summary (.3).                                                                       0.3         0.03      $11.70
              Disposition
June 2019     Asset                  06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding closing costs and sales prices (.2)               0.2       0.025        $9.75
              Disposition
June 2019     Asset                  06/28/19 KBD             390 Telephone conferences with real estate broker regarding purchase offers for listed                  0.4         0.04      $15.60
              Disposition                                         properties (.4)
June 2019     Asset                  06/29/19 KBD             390 study summaries relating to same (.3)                                                               0.3      0.0375       $14.63
              Disposition
June 2019     Asset                  06/29/19 KBD             390 Telephone conference with real estate broker regarding purchase offers for second group of          0.2       0.025        $9.75
              Disposition                                         properties (.2)
June 2019     Business               06/03/19 KBD             390 analysis and evaluate receivership expenses (.3).                                                   0.3       0.003        $1.17
              Operations
June 2019     Business               06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                          0.1 0.0009346          $0.36
              Operations
June 2019     Business               06/07/19 KBD             390 and discuss same with E. Duff (.1)                                                                  0.1 0.0009709          $0.38
              Operations
June 2019     Business               06/07/19 KBD             390 telephone conference and exchange correspondence with bank representative regarding                 0.2 0.0019608          $0.76
              Operations                                          transfer of funds (.2)
June 2019     Business               06/07/19 KBD             390 Study correspondence and documentation from insurance representative regarding policy               0.4 0.0038835          $1.51
              Operations                                          renewal (.4)
June 2019     Business               06/12/19 KBD             390 study property manager financial reporting (.4)                                                     0.4     0.00625        $2.44
              Operations
June 2019     Business               06/13/19 KBD             390 review information relating to insurance premium allocation (.2)                                    0.2 0.0019608          $0.76
              Operations
June 2019     Business               06/14/19 KBD             390 study property manager financial reporting (.3).                                                    0.3 0.0046875          $1.83
              Operations
June 2019     Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence               0.4 0.0037383          $1.46
              Operations                                          with J. Rak regarding same (.4)
June 2019     Business               06/26/19 KBD             390 study correspondence from insurance broker regarding premium allocation and related                 0.2 0.0019608          $0.76
              Operations                                          correspondence (.2)
June 2019     Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                          3.7 0.0345794          $4.84
              Disposition
June 2019     Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                              1.2    0.011215        $1.57
              Disposition
June 2019     Asset                  06/03/19 KMP             140 Conference with N. Mirjanich regarding payment for newspaper notice in connection with              0.2         0.02       $2.80
              Disposition                                         public bids for sale of next tranche of properties, and attention to proofs of notice.

June 2019     Asset                  06/03/19 NM              260 correspond with K. Duff and M. Rachlis regarding publication notice for same and revise             0.8         0.08      $20.80
              Disposition                                         same and correspond with publications regarding same (.8)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019     Asset                  06/03/19 NM              260 correspond with real estate broker regarding same (.1).                                                 0.1         0.01       $2.60
              Disposition
June 2019     Asset                  06/03/19 NM              260 Correspond with J. Rak regarding second and third sales tranches (.3)                                   0.3 0.0111111          $2.89
              Disposition
June 2019     Asset                  06/04/19 AEP             390 proofread, edit, and revise proposed publication notice (.6)                                            0.6       0.075       $29.25
              Disposition
June 2019     Asset                  06/04/19 AEP             390 Meeting with J. Rak to identify and assign responsibility for tasks associated with second              2.2       0.275      $107.25
              Disposition                                         tranche of closings (2.2)
June 2019     Asset                  06/04/19 AEP             390 revise spreadsheets to reflect rearrangement of properties to be included in second                     0.2       0.025        $9.75
              Disposition                                         marketing tranche (.2)
June 2019     Asset                  06/04/19 AEP             390 and outline motion to approve sales of properties in second tranche (1.6).                              1.6          0.2      $78.00
              Disposition
June 2019     Asset                  06/04/19 AEP             390 communications with title company and surveyor regarding ordering of title commitments                  0.3      0.0375       $14.63
              Disposition                                         and surveys for second tranche properties (.3)
June 2019     Asset                  06/04/19 JR              140 work with A. Porter in drafting revisions to the motion to approve sale for the second                  1.9      0.2375       $33.25
              Disposition                                         tranche (1.9)
June 2019     Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
              Disposition
June 2019     Asset                  06/04/19 KMP             140 Conferences with N. Mirjanich and publication representatives regarding payment for                     0.2         0.02       $2.80
              Disposition                                         newspaper notice in connection with public bids for sale of next tranche of properties, and
                                                                  attention to receipts for same.
June 2019     Asset                  06/04/19 NM              260 Correspond with K. Duff, M. Rachlis, A. Porter, K. Pritchard, real estate broker, and papers            0.9         0.09      $23.40
              Disposition                                         regarding notice of publication for second tranche of property sales and publish same.

June 2019     Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
              Disposition                                         properties (.6).
June 2019     Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
              Disposition
June 2019     Asset                  06/06/19 JR              140 exchange correspondence with the surveying company regarding required information in                    0.5 0.1666667         $23.33
              Disposition                                         preparation of ordering surveys (.5)
June 2019     Asset                  06/06/19 JR              140 exchange correspondence with the property managers regarding preparation of due                         1.6          0.2      $28.00
              Disposition                                         diligence documents in preparation for closing of the second tranche and follow up
                                                                  regarding online water accounts (1.6)
June 2019     Asset                  06/06/19 JR              140 telephone conference with the title company regarding ordering title for the new second                 0.7         0.07       $9.80
              Disposition                                         and third tranche properties and for the fifth tranche (.7)
June 2019     Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
              Disposition
June 2019     Asset                  06/07/19 JR              140 Telephone conference with the title company and A. Porter regarding the second tranche of               0.8          0.1      $14.00
              Disposition                                         title commitments and the requirements (.8)
June 2019     Asset                  06/07/19 JR              140 begin drafting closing checklists for the second tranche (2.4)                                          2.4          0.3      $42.00
              Disposition
June 2019     Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824          $2.29
              Disposition


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019     Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
              Disposition
June 2019     Asset                  06/11/19 JR              140 Prepare draft closing checklists for numerous properties in the second and third tranches (.9)          0.9          0.3      $42.00
              Disposition
June 2019     Asset                  06/12/19 JR              140 review and save due diligence documents for properties in the second and third tranches                 0.3          0.1      $14.00
              Disposition                                         prepared by the property manager (.3)
June 2019     Asset                  06/13/19 JR              140 exchange communication with property manager, K. Prichard, K. Duff and E. Duff regarding                0.5 0.0185185          $2.59
              Disposition                                         requested due diligence documents for the second and third tranches and regarding status
                                                                  of online water payments (.5)
June 2019     Asset                  06/14/19 JR              140 continue drafting closing checklists and closing documents for properties in the second and             2.6 0.8666667        $121.33
              Disposition                                         third tranches (2.6)
June 2019     Asset                  06/14/19 JR              140 telephone follow up with property manager regarding the due diligence documents (.2).                   0.2 0.0133333          $1.87
              Disposition
June 2019     Asset                  06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                  0.2 0.0142857          $2.00
              Disposition                                         tranche of properties (.2).
June 2019     Asset                  06/18/19 JR              140 update checklists for third tranche of properties (.7)                                                  0.7 0.2333333         $32.67
              Disposition
June 2019     Asset                  06/18/19 JR              140 updated all the closing checklists with real estate taxes for second tranche (.8)                       0.8          0.1      $14.00
              Disposition
June 2019     Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
              Disposition
June 2019     Asset                  06/19/19 AEP             390 Prepare purchase and sale agreement for receivership property (3030 East 79th Street),                  2.1          2.1     $819.00
              Disposition                                         review and edit title commitment for same, and communications with N. Mirjanich regarding
                                                                  existence of building code violations.
June 2019     Asset                  06/19/19 JR              140 Draft rent rolls for the second and third tranche in preparation for sale for properties (3030          2.9       0.725      $101.50
              Disposition                                         E. 79th, 7301 S. Stewart, 7834 S. Ellis and 8047 S. Manistee) (2.9)
June 2019     Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
              Disposition                                         all properties (.1).
June 2019     Asset                  06/20/19 JR              140 exchange correspondence regarding same to K. Duff (.1)                                                  0.1 0.0333333          $4.67
              Disposition
June 2019     Asset                  06/20/19 JR              140 Update real estate taxes on the third tranche of properties (.6)                                        0.6          0.2      $28.00
              Disposition
June 2019     Asset                  06/20/19 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                0.1 0.0333333          $4.67
              Disposition
June 2019     Asset                  06/20/19 JR              140 update real estate taxes on all properties, except for the third tranche, reflecting both 1st           2.2 0.7333333        $102.67
              Disposition                                         and 2nd installment (2.2)
June 2019     Asset                  06/20/19 JR              140 exchange communication with title company regarding redeeming sold taxes at closing and                 0.3          0.1      $14.00
              Disposition                                         whether title company can obtain the estimate of redemption and pay all taxes closing (.3)

June 2019     Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346          $0.13
              Disposition
June 2019     Asset                  06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts             1.8 0.1285714         $18.00
              Disposition                                         (1.8)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019     Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003        $0.42
              Disposition                                         referencing all properties (.3)
June 2019     Asset                  06/24/19 NM              260 Correspond with A. Porter and City attorney regarding code violations and orders for same               0.5      0.0625       $16.25
              Disposition                                         on next tranche of property sales.
June 2019     Asset                  06/25/19 AEP             390 Finalize preparation of purchase and sale agreements for all properties in second series,               2.5      0.3125      $121.88
              Disposition                                         necessitating confirmation of all legal descriptions, PINs, and status of all administrative
                                                                  proceedings, review of all title commitments, drafting of financing contingency language,
                                                                  drafting of additional language regarding proration of tenant rents at closing, preparation of
                                                                  credit bid rider, completion of joint order escrow instructions, preparation of form
                                                                  assignment and assumption of rents agreements, reading of all attorney correspondence
                                                                  relating to litigation over credit bid procedures, and updating of receivership portfolio
                                                                  spreadsheet to incorporate additional information for motion-tracking purposes.

June 2019     Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026        $3.64
              Disposition
June 2019     Asset                  06/26/19 JR              140 organize electronic records for the remainder of the second tranche for all documents in                1.8       0.225       $31.50
              Disposition                                         preparation for sale (1.8)
June 2019     Asset                  06/26/19 JR              140 exchange correspondence with A. Porter regarding title commitments for the second tranche               0.1      0.0125        $1.75
              Disposition                                         (.1).
June 2019     Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001        $0.14
              Disposition
June 2019     Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333          $1.17
              Disposition                                         the receiver's information (.9)
June 2019     Asset                  06/27/19 AEP             390 Review all latest administrative code violation pleadings and orders and update files being             0.3 0.0272727         $10.64
              Disposition                                         prepared for closing (.3)
June 2019     Asset                  06/27/19 JR              140 Confirm Cook County Treasurer's site for updated addresses to the tax bill for properties in            0.7 0.0466667          $6.53
              Disposition                                         the third tranche to reflect the receiver's address (.7);
June 2019     Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667          $2.33
              Disposition                                         receivership properties (1.8).
June 2019     Asset                  06/28/19 JR              140 Exchange numerous emails with the title company relating to title company's drafting of                 0.6 0.0857143         $12.00
              Disposition                                         closing documents for the remainder of the properties (.6)
June 2019     Asset                  06/28/19 JR              140 review all the documents received from the title company regarding same (.9)                            0.9 0.1285714         $18.00
              Disposition
June 2019     Business               06/06/19 KMP             140 attention to communications from accountant regarding spreadsheets containing financial                 0.1 0.0090909          $1.27
              Operations                                          information for various properties (.1)
June 2019     Business               06/06/19 KMP             140 conference with N. Mirjanich regarding same, and review documents and prior email                       1.1          0.1      $14.00
              Operations                                          communications relating to same (1.1).
June 2019     Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                        0.1       0.001        $0.39
              Operations
June 2019     Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                       0.4       0.004        $1.56
              Operations
June 2019     Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                             0.9 0.0087379          $3.41
              Operations


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
June 2019     Business               06/07/19 ED          390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027       $10.53
              Operations                                      current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019     Business               06/07/19 KMP         140 attention to further communications from accountant regarding spreadsheets containing                 0.1 0.0090909          $1.27
              Operations                                      financial information for various properties (.1).
June 2019     Business               06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417          $0.27
              Operations                                      property insurance renewal and forward executed documentation relating to same (.2)

June 2019     Business               06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835          $0.54
              Operations                                      liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                              regarding same (.4)
June 2019     Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002        $0.78
              Operations
June 2019     Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709          $0.14
              Operations                                      payment for same (.1).
July 2019     Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining           0.2       0.002        $0.78
              Disposition                                     properties and timing (.2)
July 2019     Asset                  07/06/19 KBD         390 Exchange correspondence regarding notice of public sale.                                              0.1      0.0125        $4.88
              Disposition
July 2019     Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same               0.2       0.002        $0.78
              Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019     Asset                  07/10/19 KBD         390 telephone conference with property manager regarding same (.1)                                        0.1 0.0037037          $1.44
              Disposition
July 2019     Asset                  07/10/19 KBD         390 Attention to due diligence materials from property manager from upcoming property sales               0.2 0.0074074          $2.89
              Disposition                                     (.2)
July 2019     Asset                  07/12/19 KBD         390 Review correspondence from potential purchaser and exchange correspondence with real                  0.2 0.0074074          $2.89
              Disposition                                     estate broker regarding same (.2)
July 2019     Asset                  07/18/19 KBD         390 Exchange correspondence with A. Porter regarding purchaser request for extension (.1)                 0.1          0.1      $39.00
              Disposition
July 2019     Asset                  07/18/19 KBD         390 attention to notice of real estate sale publication (.2).                                             0.2 0.0074074          $2.89
              Disposition
July 2019     Asset                  07/25/19 KBD         390 Telephone conference with real estate broker regarding status of properties under contract,           0.2 0.0074074          $2.89
              Disposition                                     showing of listed properties, and timing considerations (.2)
July 2019     Asset                  07/29/19 KBD         390 Study draft motion to approve sale of properties (.3)                                                 0.3      0.0375       $14.63
              Disposition
July 2019     Asset                  07/30/19 KBD         390 telephone conference with real estate broker regarding same (.1)                                      0.1 0.0037037          $1.44
              Disposition
July 2019     Asset                  07/30/19 KBD         390 telephone conference with representative for potential buyers regarding communications                0.2 0.0074074          $2.89
              Disposition                                     with real estate broker (.2)
July 2019     Asset                  07/30/19 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                                0.2 0.0074074          $2.89
              Disposition
July 2019     Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                   0.2       0.002        $0.78
              Disposition


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019     Asset                  07/31/19 KBD             390 study correspondence regarding plats of survey and properties for sale (.2).                           0.2       0.002        $0.78
              Disposition
July 2019     Business               07/01/19 KBD             390 review allocation of insurance premium (.3)                                                            0.3 0.0029412          $1.15
              Operations
July 2019     Business               07/03/19 KBD             390 exchange correspondence regarding analysis of real estate taxes and coordination with                  0.2       0.002        $0.78
              Operations                                          property manager (.2).
July 2019     Business               07/10/19 KBD             390 Review real estate tax bills (.2)                                                                      0.2 0.0019608          $0.76
              Operations
July 2019     Business               07/10/19 KBD             390 review outstanding real estate taxes and payment by property managers (.1)                             0.1 0.0009804          $0.38
              Operations
July 2019     Business               07/12/19 KBD             390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,             0.2 0.0019608          $0.76
              Operations                                          communications with asset manager regarding property management costs, and
                                                                  communications with insurance broker relating to premiums (.2)
July 2019     Business               07/14/19 KBD             390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                      0.1 0.0009804          $0.38
              Operations
July 2019     Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                       0.2 0.0018868          $0.74
              Operations
July 2019     Business               07/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4     0.00625        $2.44
              Operations
July 2019     Business               07/15/19 KBD             390 exchange correspondence and telephone conference with real estate broker regarding same                0.1 0.0009901          $0.39
              Operations                                          and priority of property sales (.1)
July 2019     Business               07/25/19 KBD             390 telephone conference with bank representative and exchange correspondence regarding                    0.2 0.0019608          $0.76
              Operations                                          payment for insurance (.2)
July 2019     Business               07/27/19 KBD             390 study portfolio summary from real estate broker (.3)                                                   0.3       0.003        $1.17
              Operations
July 2019     Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
              Administration                                      lender issue and impact on sales effort (.2)
              & Objections

July 2019     Asset                  07/01/19 AEP             390 Meeting with K. Duff, M. Rachlis, J. Rak, and receivership brokers to analyze and select               2.2         0.22      $85.80
              Disposition                                         winning bids in connection with the public sales of next tranche of receivership properties
                                                                  (2.2)
July 2019     Asset                  07/01/19 JR              140 file fully executed purchase and sale agreements in appropriate electronic files for the               0.3      0.0375        $5.25
              Disposition                                         second series of closings (.3)
July 2019     Asset                  07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
              Disposition                                         third tranche (1.5)
July 2019     Asset                  07/01/19 JR              140 exchange correspondence with property managers regarding additional due diligence                      0.3      0.0375        $5.25
              Disposition                                         documents that will need to be produced relating to the second tranche of properties (.3)

July 2019     Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614          $1.94
              Disposition




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019     Asset                  07/01/19 JR              140 Draft closing checklists for the third tranche including gathering necessary information such          2.4         0.16      $22.40
              Disposition                                         as legal description and other relevant information for closing documents in preparation for
                                                                  the closing (2.4)
July 2019     Asset                  07/02/19 JR              140 Review email correspondence from property manager to our request to produce due                        0.2       0.025        $3.50
              Disposition                                         diligence documents for the second tranche (.2)
July 2019     Asset                  07/02/19 JR              140 organize due diligence materials received from the property manager regarding the second               5.8       0.725      $101.50
              Disposition                                         series of properties in preparation for review and to send to buyer's attorneys (5.8)

July 2019     Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on               0.1 0.0015873          $0.22
              Disposition                                         all properties for property manager (.1)
July 2019     Asset                  07/03/19 JR              140 Update and organize closing checklists for the second series of properties with various                2.7      0.3375       $47.25
              Disposition                                         pertinent information related to closing (2.7)
July 2019     Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                         1.5 0.0238095          $3.33
              Disposition
July 2019     Asset                  07/08/19 JR              140 Draft closing checklists for the remainder of the second tranche of properties including               3.6         0.45      $63.00
              Disposition                                         collecting all the property information and data (3.6)
July 2019     Asset                  07/10/19 JR              140 exchange communication with title company regarding re- sending title commitments for                  0.4 0.1333333         $18.67
              Disposition                                         documents (.4)
July 2019     Asset                  07/10/19 JR              140 exchange communication with buyer attorney's regarding series 2, tranche 2, and tranche 3              1.1 0.0733333         $10.27
              Disposition                                         properties regarding due diligence documents and method of delivery (1.1)

July 2019     Asset                  07/10/19 JR              140 organize and save due diligence documents (1.7).                                                       1.7 0.1133333         $15.87
              Disposition
July 2019     Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                0.5 0.0079365          $1.11
              Disposition                                         and resend (.5)
July 2019     Asset                  07/10/19 JR              140 exchange correspondence with A. Porter relating to same (.1)                                           0.1 0.0333333          $4.67
              Disposition
July 2019     Asset                  07/11/19 JR              140 exchange communication and forward to buyer's attorney due diligence documents                         1.6 0.1066667         $14.93
              Disposition                                         regarding properties in the second series and third tranche (1.6)
July 2019     Asset                  07/11/19 JR              140 exchange communication with A. Porter regarding same (.2)                                              0.2 0.0133333          $1.87
              Disposition
July 2019     Asset                  07/12/19 AEP             390 review and analyze claims documentation submitted by investor-lender including promissory              1.4 0.2333333         $91.00
              Disposition                                         note, mortgage, collateral servicing agreement, and offering memorandum and prepare
                                                                  response to team regarding potential existence of equitable mortgages in favor of certain
                                                                  investor-lenders (1.4).
July 2019     Asset                  07/12/19 AEP             390 Begin second cycle through second sale series to inventory and review accuracy of all                  1.2         0.15      $58.50
              Disposition                                         transaction documents prepared to-date and respond to various e-mail queries from
                                                                  prospective purchasers (1.2)
July 2019     Asset                  07/12/19 AEP             390 review, inventory, and reorganize all due diligence documents received from management                 3.5         0.35     $136.50
              Disposition                                         company and prepare detailed spreadsheet of all missing items still needed to be produced
                                                                  to prospective purchasers (3.5)
July 2019     Asset                  07/12/19 JR              140 exchange correspondence with property manager regarding same (.1)                                      0.1          0.1      $14.00
              Disposition


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2019     Asset                  07/12/19 JR              140 exchange correspondence with the buyer regarding same for property (3030 E. 79th) (.1)                0.1          0.1      $14.00
              Disposition
July 2019     Asset                  07/12/19 NM              260 Correspond with J. Rak regarding code violations on second and third tranches of property             0.6 0.0272727          $7.09
              Disposition                                         sales and due diligence materials for the same.
July 2019     Asset                  07/15/19 JR              140 Review email correspondence from A. Porter relating to due diligence documents from                   0.5       0.125       $17.50
              Disposition                                         management company and steps that need to be taken going forward (.5)

July 2019     Asset                  07/15/19 JR              140 exchange correspondence with A. Porter related to an update on sending various due                    0.2         0.05       $7.00
              Disposition                                         diligence to buyer's counsel (.2)
July 2019     Asset                  07/15/19 NM              260 Correspond with broker, K. Duff, and J. Rak regarding listing of third property tranche.              0.2 0.0133333          $3.47
              Disposition
July 2019     Asset                  07/16/19 AEP             390 Respond to inquiries from prospective purchaser of receivership property regarding alleged            0.1          0.1      $39.00
              Disposition                                         building code violations and request for access (.1)
July 2019     Asset                  07/16/19 JR              140 review email received from property manager regarding the due diligence documents                     3.9      0.4875       $68.25
              Disposition                                         relating to the second series of properties and save to corresponding electronic files (3.9)

July 2019     Asset                  07/17/19 AEP             390 Read e-mails from property management company and respond to various prospective                      0.3          0.3     $117.00
              Disposition                                         purchasers regarding status of alleged and actual building code proceedings (.3)

July 2019     Asset                  07/17/19 AEP             390 communications with property management company regarding nature of fines revealed in                 0.2          0.2      $78.00
              Disposition                                         profit and loss statements (.2)
July 2019     Asset                  07/17/19 JR              140 prepare a list of properties in the third tranche and provide PIN number for each property            0.6          0.2      $28.00
              Disposition                                         for N. Mirjanich related to newspaper publication of same (.6)
July 2019     Asset                  07/17/19 JR              140 Exchange correspondence with A. Porter advising that we received all the due diligence                0.2       0.025        $3.50
              Disposition                                         documents from property manager for current properties under contract in the second
                                                                  series (.2)
July 2019     Asset                  07/17/19 JR              140 save remainder of the due diligence documents into corresponding electronic files for                 0.9      0.1125       $15.75
              Disposition                                         properties in the second series (.9)
July 2019     Asset                  07/17/19 JR              140 exchange correspondence with N. Mirjanich relating to same (.1)                                       0.1 0.0333333          $4.67
              Disposition
July 2019     Asset                  07/18/19 AEP             390 e-mail correspondence with title company regarding authenticity of attorney-signed strict             0.1 0.0111111          $4.33
              Disposition                                         joint order escrow agreements (.1)
July 2019     Asset                  07/18/19 AEP             390 Finish reviewing, analyzing, reorganizing, and inventorying second batch of utility invoices          1.5      0.1875       $73.13
              Disposition                                         received from management company in connection with second series of sales (1.5)

July 2019     Asset                  07/18/19 AEP             390 communications with title companies regarding status of earnest money deposits and                    0.7 0.0777778         $30.33
              Disposition                                         prepare separate e-mails to counsel for purchasers of all properties for which earnest money
                                                                  deposit had not yet been received (.7)
July 2019     Asset                  07/18/19 AEP             390 prepare e-mail to counsel for purchaser of receivership property (3030 East 79th Street)              0.1          0.1      $39.00
              Disposition                                         regarding refusal to extend financing contingency date (.1)
July 2019     Asset                  07/18/19 AEP             390 additional correspondence with both title companies regarding location of earnest money               0.2          0.2      $78.00
              Disposition                                         and additional correspondence with counsel for purchasers regarding same (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019     Asset                  07/18/19 AEP             390 e-mail correspondence with attorney for purchaser of receivership property (3030 E 79th                0.1          0.1      $39.00
              Disposition                                         Street) regarding request for extension of financing contingency (.1)
July 2019     Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                0.2 0.0020408          $0.80
              Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019     Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers            0.1 0.0009804          $0.14
              Disposition                                         (.1)
July 2019     Asset                  07/18/19 NM              260 Exchange correspondence relating to publication notice for third tranche of properties.                0.2 0.0133333          $3.47
              Disposition
July 2019     Asset                  07/19/19 AEP             390 review title commitments issued by insurer and inform insurer of omitted special exception             0.4 0.0571429         $22.29
              Disposition                                         relating to lis pendens as well identity of proposed insureds and proposed policy values (.4)

July 2019     Asset                  07/22/19 JR              140 exchange correspondence with property manager relating to a request to send unit sizes for             0.2       0.025        $3.50
              Disposition                                         buildings currently under contract for the second series (.2)
July 2019     Asset                  07/24/19 AEP             390 read and respond to request for extension of financing contingency in connection with                  0.1          0.1      $39.00
              Disposition                                         prospective purchase of receivership property (3030 E 79th Street) (.1)
July 2019     Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                  0.9 0.0088235          $3.44
              Disposition
July 2019     Asset                  07/29/19 AEP             390 begin preparation of motion to approve sales of properties in second marketing series (3.4).           3.4       0.425      $165.75
              Disposition
July 2019     Asset                  07/29/19 JR              140 review survey that have been received for various properties (.8)                                      0.8         0.08      $11.20
              Disposition
July 2019     Asset                  07/30/19 AEP             390 respond to counsel for prospective purchaser of receivership property (3030 E 79th)                    0.1          0.1      $39.00
              Disposition                                         regarding for request for extension of financing contingency (.1)
July 2019     Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and            1.4 0.0137255          $5.35
              Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                  agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                  approve sales, and other closing-related documentation in connection with all remaining
                                                                  tranches (1.4)
July 2019     Asset                  07/31/19 JR              140 review leases and update various documents for properties in the second series and in                  3.2 1.0666667        $149.33
              Disposition                                         preparation for sale (3030 E 79th, 7301 Stewart, 7834 Ellis) (3.2)
July 2019     Asset                  07/31/19 JR              140 revise closing checklist with updated information in preparation for closing for same (1.9).           1.9 0.6333333         $88.67
              Disposition
July 2019     Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                  0.1       0.001        $0.39
              Operations                                          payment of real estate taxes (.1)
July 2019     Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                              0.1       0.001        $0.39
              Operations
July 2019     Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial                0.2 0.0019608          $0.76
              Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                  costs, and information received from insurance broker regarding property coverages (.2)

July 2019     Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                0.2 0.0019608          $0.76
              Operations                                          coming due (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2019     Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804          $0.38
              Operations
July 2019     Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843          $4.21
              Operations
July 2019     Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824          $2.29
              Operations
July 2019     Business               07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)             0.2       0.002        $0.78
              Operations
July 2019     Business               07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007        $2.73
              Operations                                          Rachlis and J. Rak regarding same (.7).
July 2019     Business               07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824          $2.29
              Operations
July 2019     Business               07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002        $0.52
              Operations                                          property status (.2).
July 2019     Business               07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                  0.8 0.0080808          $2.10
              Operations                                          water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                  the same.
July 2019     Business               07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                    0.6 0.0058824          $2.29
              Operations
July 2019     Business               07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                            0.1 0.0009804          $0.14
              Operations
July 2019     Business               07/23/19 ED              390 review of June financial reporting from property managers (.4)                                        0.4       0.004        $1.56
              Operations
July 2019     Business               07/23/19 JR              140 Update and forward outstanding 2017 real estate balances on all properties to K. Pritchard.           0.7 0.0538462          $7.54
              Operations
July 2019     Business               07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)          0.2       0.002        $0.78
              Operations
July 2019     Business               07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,              0.4 0.0039216          $0.55
              Operations                                          and communications with K. Duff and bank representative regarding same.

July 2019     Business               07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                 0.3 0.0029412          $1.15
              Operations
July 2019     Claims                 07/15/19 NM              260 analyze claims against unencumbered properties (1.2).                                                 1.2          0.2      $52.00
              Administration
              & Objections

August 2019 Asset                    08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).             0.2 0.0020202          $0.79
            Disposition
August 2019 Asset                    08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest            0.1       0.001        $0.39
            Disposition                                           in properties (.1)
August 2019 Asset                    08/12/19 KBD             390 Telephone conference with real estate broker regarding preparation for offers on third group          0.2 0.0074074          $2.89
            Disposition                                           of properties (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
August 2019 Asset                    08/13/19 KBD             390 motion to approve sale of properties and draft correspondence to A. Porter regarding same                 0.3      0.0375       $14.63
            Disposition                                           (.3)
August 2019 Asset                    08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                        0.3       0.003        $1.17
            Disposition                                           marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                    08/15/19 KBD             390 conference with real estate broker, A. Porter, and J. Rak regarding offers for third group of 17          2.7         0.18      $70.20
            Disposition                                           properties (2.7)
August 2019 Asset                    08/15/19 KBD             390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second              0.5 0.0111111          $4.33
            Disposition                                           group of properties and single family home portfolio (.5)
August 2019 Asset                    08/23/19 KBD             390 Telephone conference and exchange correspondence with A. Porter regarding allocation of                   1.5      0.1875       $73.13
            Disposition                                           property related costs, communications with lenders, and preparation of motions relating to
                                                                  sales of properties (1.5)
August 2019 Asset                    08/28/19 KBD             390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                       0.3       0.003        $1.17
            Disposition
August 2019 Business                 08/06/19 KBD             390 Telephone conference with bank representative regarding wire transfers for property                       0.1 0.0009804          $0.38
            Operations                                            expenses and insurance.
August 2019 Business                 08/12/19 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0046875          $1.83
            Operations
August 2019 Business                 08/13/19 KBD             390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                             0.1       0.001        $0.39
            Operations
August 2019 Business                 08/15/19 KBD             390 study delinquency report and draft correspondence to asset manager regarding same (.3).                   0.3 0.0046875          $1.83
            Operations
August 2019 Business                 08/20/19 KBD             390 exchange correspondence with J. Rak and property manager regarding outstanding real                       0.2 0.0019608          $0.76
            Operations                                            estate taxes (.2).
August 2019 Business                 08/20/19 KBD             390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                               0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/29/19 KBD             390 Study information regarding outstanding property taxes and review correspondence from J.                  0.3       0.003        $1.17
            Operations                                            Rak regarding same (.3)
August 2019 Business                 08/30/19 KBD             390 exchange various correspondence regarding real estate taxes (.5).                                         0.5       0.005        $1.95
            Operations
August 2019 Asset                    08/01/19 AEP             390 inventory all title commitments and surveys received to- date for second tranche of closings              0.5      0.0625       $24.38
            Disposition                                           and update portfolio spreadsheet accordingly, communicate with title company regarding
                                                                  status of preparation of title commitments on second tranche of property sales, and prepare
                                                                  e-mail to title company and surveyor regarding current status of documents needed to close
                                                                  transactions (.5)
August 2019 Asset                    08/02/19 JR              140 begin drafting closing documents for property (3030-32 E. 79th) (.9).                                     0.9          0.9     $126.00
            Disposition
August 2019 Asset                    08/04/19 AEP             390 Review closing checklists for all second tranche properties, update portfolio spreadsheet,                2.2       0.275      $107.25
            Disposition                                           and create list of open items in connection with all upcoming sales (2.2)

August 2019 Asset                    08/05/19 JR              140 draft closing documents for property (3030-32 E. 79th) (4.8)                                              4.8          4.8     $672.00
            Disposition




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
August 2019 Asset                    08/05/19 JR              140 create additional closing checklists for remainder of tranche 2 and 3 in preparation for               1.3 0.0866667         $12.13
            Disposition                                           closing (1.3)
August 2019 Asset                    08/06/19 JR              140 review unit size spreadsheet received from property manager and input correct information              1.2         0.08      $11.20
            Disposition                                           in the rent rolls for tranche 2 and tranche 3 (1.2)
August 2019 Asset                    08/07/19 AEP             390 prepare purchase and sale agreements for all 18 properties in third series (5.5)                       5.5 0.3666667        $143.00
            Disposition
August 2019 Asset                    08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title               0.5    0.005102        $1.99
            Disposition                                           commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                  timetables (.5)
August 2019 Asset                    08/07/19 JR              140 update series 3 tranche closing checklists (.3)                                                        0.3          0.1      $14.00
            Disposition
August 2019 Asset                    08/07/19 JR              140 update real estate tax spreadsheet with accrued August interest for properties in the third            0.7 0.0466667          $6.53
            Disposition                                           tranche (.7).
August 2019 Asset                    08/08/19 AEP             390 update portfolio spreadsheet to include title commitment numbers for all remaining                     0.4         0.05      $19.50
            Disposition                                           tranches, purchase prices and purchasers for first and second series of sales (.4)

August 2019 Asset                    08/08/19 AEP             390 communications with title insurer, surveyor, and J. Rak regarding coordination of title                0.4         0.04      $15.60
            Disposition                                           commitments and surveys and finalization of same (.4).
August 2019 Asset                    08/08/19 AEP             390 Review files for all second series sales and modify to-do list of remaining outstanding items          0.3      0.0375       $14.63
            Disposition                                           (.3)
August 2019 Asset                    08/08/19 JR              140 Review, update electronic folders and forward same to buyer's attorneys (2.7)                          2.7          0.3      $42.00
            Disposition
August 2019 Asset                    08/08/19 JR              140 exchange correspondence with A. Porter and title company representative regarding same                 0.6 0.0666667          $9.33
            Disposition                                           (.6)
August 2019 Asset                    08/08/19 NM              260 Create spreadsheet of outstanding known violations for properties being sold in the third              0.5         0.05      $13.00
            Disposition                                           tranche and correspond with A. Porter and J. Rak regarding the same.
August 2019 Asset                    08/09/19 AEP             390 review surveys and title commitments associated with all 10 properties in second series and            2.5      0.3125      $121.88
            Disposition                                           prepare e-mails to title insurers and surveyor regarding requested modifications (2.5).

August 2019 Asset                    08/09/19 AEP             390 Finalize purchase and sale contracts for all 17 properties in third series by customizing and          4.5          0.3     $117.00
            Disposition                                           inserting all riders and exhibits (4.5)
August 2019 Asset                    08/09/19 JR              140 Exchange correspondence with buyer attorneys' regarding forwarding title commitments for               0.3      0.0375        $5.25
            Disposition                                           all properties in the second series, second and third tranche (.3)
August 2019 Asset                    08/09/19 NM              260 Correspond with J. Rak and City attorney regarding due diligence code violation documents              0.2 0.0133333          $3.47
            Disposition                                           for the third tranche of properties to sell.
August 2019 Asset                    08/11/19 AEP             390 Review and analyze code violation spreadsheet received from N. Mirjanich, compare                      0.4         0.04      $15.60
            Disposition                                           information with documents in due diligence folder, and prepare e-mail to N. Mirjanich
                                                                  seeking additional information in effort to reconcile discrepancies (.4).

August 2019 Asset                    08/12/19 AEP             390 review final drafts of surveys for all second series properties (.4)                                   0.4         0.05      $19.50
            Disposition




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  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
August 2019 Asset                    08/12/19 AEP             390 review and analyze revised title commitments received from title insurer to reconcile special             0.8 0.1142857         $44.57
            Disposition                                           exceptions relating to encroachments with final drafts of surveys (.8)

August 2019 Asset                    08/12/19 JR              140 Review email exchanges from A. Porter and title company (.3)                                              0.3       0.075       $10.50
            Disposition
August 2019 Asset                    08/12/19 NM              260 Correspond with City attorney, A. Porter, and J. Rak regarding code violations and due                    0.4         0.04      $10.40
            Disposition                                           diligence materials from the same for the third tranche of property sale.
August 2019 Asset                    08/13/19 AEP             390 review second amended title commitments received from title insurer for second series                     0.2       0.025        $9.75
            Disposition                                           properties (.2)
August 2019 Asset                    08/13/19 AEP             390 review amended title commitments received from title insurer for second series properties                 0.2       0.025        $9.75
            Disposition                                           (.2)
August 2019 Asset                    08/14/19 AEP             390 e-mail communications with J. Rak regarding timing of ordering water certificates for closings            0.1      0.0125        $4.88
            Disposition                                           of second series of receivership properties (.1)
August 2019 Asset                    08/14/19 AEP             390 teleconference with receivership broker regarding overview of bids received on third series               0.3         0.02       $7.80
            Disposition                                           of receivership properties (.3).
August 2019 Asset                    08/14/19 JR              140 Exchange correspondence with A. Porter relating to preparing water certificate applications               0.2       0.025        $3.50
            Disposition                                           and submitting to the title company for the second tranche of properties (.2)

August 2019 Asset                    08/15/19 NM              260 Correspond with K. Duff, E. Duff, and A. Porter regarding the offers on the third tranche of              0.3         0.02       $5.20
            Disposition                                           properties and claims and credit bid issues on the same.
August 2019 Asset                    08/19/19 AW              140 Attention to email regarding time and expenses spent on any of the third tranche properties               0.2 0.0133333          $1.87
            Disposition                                           and follow up regarding same.
August 2019 Asset                    08/20/19 JR              140 review time and outline tranche 3 properties for associated closing costs pertaining to the               6.2 2.0666667        $289.33
            Disposition                                           order demanding total closing costs (6.2).
August 2019 Asset                    08/20/19 JR              140 exchange correspondence with N. Mirjanich regarding tranche 3 bids and forward                            0.2 0.0666667          $9.33
            Disposition                                           spreadsheet to N. Mirjanich from real estate broker regarding same (.2)
August 2019 Asset                    08/21/19 AEP             390 Review survey invoices, title invoices, real estate tax bills, restoration of rents figures, and          6.2 0.4133333        $161.20
            Disposition                                           water department invoices and create spreadsheets of closing cost estimates for all third
                                                                  series properties subject to credit bidding.
August 2019 Asset                    08/23/19 AEP             390 Revise estimated closing cost statements for 16 properties in third series of sales and                   2.3 0.1533333         $59.80
            Disposition                                           transmit same to all applicable institutional lenders under explanatory covering letter.

August 2019 Asset                    08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second                 0.1 0.0022222          $0.58
            Disposition                                           tranche, and listing of all remaining properties (.1)
August 2019 Asset                    08/26/19 JR              140 exchange correspondence with A. Porter regarding the second motion to approve sale and                    0.1      0.0125        $1.75
            Disposition                                           whether property with extended financing contingency will be included in same (.1).

August 2019 Asset                    08/26/19 JR              140 Exchange correspondence with A. Porter regarding assisting on the second motion to                        0.2       0.025        $3.50
            Disposition                                           approve sales (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
August 2019 Asset                    08/28/19 AEP             390 Meeting with J. Rak regarding preparation of motion to approve second series of sales,             6.4          0.8     $312.00
            Disposition                                           status of waiver of special exceptions from title commitments for all second series
                                                                  properties, preparation of motion to approve fifth series of sales, review of preliminary
                                                                  drafts of closing documents, distribution of current title commitments and surveys to
                                                                  counsel for prospective purchasers of second series of receivership properties (6.4)

August 2019 Asset                    08/28/19 AEP             390 communications with counsel for purchasers of receivership properties in second series of          0.2       0.025        $9.75
            Disposition                                           sales regarding timing of motions to approve sales and scheduling of closings (.2)

August 2019 Asset                    08/28/19 JR              140 Assist A. Porter on the second sixth, and eight motions to approve sales (5.7)                     5.7 0.6333333         $88.67
            Disposition
August 2019 Asset                    08/28/19 JR              140 exchange correspondence with all buyer counsel relating to transmitting surveys and                0.4         0.05       $7.00
            Disposition                                           updated title commitments on properties in the second tranche (.4)
August 2019 Asset                    08/29/19 JR              140 assist in drafting the second motion to approve sales (2.4)                                        2.4          0.3      $42.00
            Disposition
August 2019 Asset                    08/29/19 JR              140 organize commission statements received from real estate broker for the second tranche             0.7      0.0875       $12.25
            Disposition                                           and update our closing checklists and closing figures (.7).
August 2019 Business                 08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                        0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                     0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance              0.1 0.0009804          $0.14
            Operations                                            agreement (.1).
August 2019 Business                 08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                            0.7       0.007        $2.73
            Operations
August 2019 Business                 08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                  0.8       0.008        $3.12
            Operations
August 2019 Business                 08/21/19 MR              390 Conferences with E. Duff (.2)                                                                      0.2 0.0019608          $0.76
            Operations
August 2019 Business                 08/22/19 ED              390 review of July reporting from property managers (1.2)                                              1.2       0.012        $4.68
            Operations
August 2019 Business                 08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).            0.1 0.0009804          $0.14
            Operations
August 2019 Claims                   08/16/19 JR              140 Confer with N. Mirjanich regarding drafting a spreadsheet with a list of mortgagees and            0.3         0.02       $2.80
            Administration                                        other information found on the documents of record for properties in the third tranche.
            & Objections

August 2019 Claims                   08/19/19 JR              140 review email correspondence with A. Porter regarding survey invoice for property (3030 E.          0.2 0.0068966          $0.97
            Administration                                        79th) and exchange correspondence with surveying company (.2).
            & Objections




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
August 2019 Claims                   08/27/19 NM          260 create spreadsheet and review claims in connection with third tranche credit bid (.2).               0.2 0.0133333          $3.47
            Administration
            & Objections

August 2019 Claims                   08/28/19 NM          260 Analyze claims for all properties in third tranche of property sales (1.8)                           1.8         0.12      $31.20
            Administration
            & Objections

August 2019 Claims                   08/29/19 NM          260 Analyze claims in third tranche of property sales.                                                   4.2         0.28      $72.80
            Administration
            & Objections

August 2019 Claims                   08/30/19 NM          260 Analyze claims in third tranche of property sales (2.7)                                              2.7         0.18      $46.80
            Administration
            & Objections

September     Asset                  09/07/19 KBD         390 Exchange correspondence regarding sale of properties, credit bidding results, and motion to          0.2       0.025        $9.75
2019          Disposition                                     approve sales.
September     Asset                  09/10/19 KBD         390 study draft motion to approve sale of properties and draft correspondence to A. Porter               0.4         0.05      $19.50
2019          Disposition                                     regarding exhibits (.4)
September     Asset                  09/11/19 KBD         390 exchange correspondence with A. Porter regarding items to be addressed in connection with            0.1      0.0125        $4.88
2019          Disposition                                     motion to approve sales (.1).
September     Asset                  09/12/19 KBD         390 Study draft motion to approve sale of properties (.5)                                                0.5      0.0625       $24.38
2019          Disposition
September     Asset                  09/12/19 KBD         390 confer and exchange correspondence with M. Rachlis, A. Porter, and N. Mirjanich regarding            0.4         0.05      $19.50
2019          Disposition                                     same (.4)
September     Asset                  09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                          3.7 0.0362745         $14.15
2019          Disposition
September     Business               09/11/19 KBD         390 study property manager financial reports (.3)                                                        0.3 0.0046875          $1.83
2019          Operations
September     Business               09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                    0.1 0.0009804          $0.38
2019          Operations
September     Claims                 09/23/19 KBD         390 Claims analysis relating to funds properties with E. Duff and N. Mirjanich (.6)                      0.6          0.1      $39.00
2019          Administration
              & Objections

September Asset                      09/01/19 AEP         390 Communications with title companies regarding corrections and revisions to title                     1.2         0.15      $58.50
2019      Disposition                                         commitments and title invoices associated with closings of second series of sales, review
                                                              revised commitments and invoices and update portfolio spreadsheet and individual closing
                                                              checklists (1.2)
September Asset                      09/01/19 AEP         390 review all commission statements received from receivership broker [SVN Chicago                      0.5 0.0555556         $21.67
2019      Disposition                                         Commercial] and request revised statements in connection with properties for which
                                                              commission figures were erroneous (.5)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
September Asset                      09/01/19 AEP             390 review electronic docket and e-mails received from A. Watychowicz and download all                      0.8          0.1      $39.00
2019      Disposition                                             pleadings and orders germane to credit bidding procedures in anticipation of preparation of
                                                                  motion to approve sales (.8).
September     Asset                  09/03/19 JR              140 Review draft closing documents for second tranche with updates to title dates and                       2.3      0.2875       $40.25
2019          Disposition                                         modifications to closing dates (2.3)
September     Asset                  09/04/19 AEP             390 prepare e-mail with list of third series properties for which title commitments are still               0.1 0.0066667          $2.60
2019          Disposition                                         needed and send to title company (.1)
September     Asset                  09/05/19 NM              260 correspond with A. Watychowicz regarding service list for the second motion to approve                  0.1      0.0125        $3.25
2019          Disposition                                         sales (.1)
September     Asset                  09/05/19 NM              260 correspond with J. Rak regarding the second motion to approve sales (.1)                                0.1      0.0125        $3.25
2019          Disposition
September     Asset                  09/05/19 NM              260 Correspond with K. Duff regarding meeting with broker on credit bids and filing the second              0.1      0.0125        $3.25
2019          Disposition                                         motion to approve sales (.1)
September     Asset                  09/06/19 AW              140 confer with N. Mirjanich regarding email to interested parties, timing of filing and service,           0.2       0.025        $3.50
2019          Disposition                                         and other issues related to finalizing second tranche motion (.2).
September     Asset                  09/06/19 AW              140 Research and prepare service list for sale of second tranche (2.8)                                      2.8         0.35      $49.00
2019          Disposition
September     Asset                  09/06/19 NM              260 create service list and draft emails for the same with A. Watychowicz for the second motion             1.5      0.1875       $48.75
2019          Disposition                                         to approve sales (1.5).
September     Asset                  09/08/19 AEP             390 review title invoices for all properties and compute agency fees, review commission                     2.2       0.275      $107.25
2019          Disposition                                         statements received from receivership broker and reconcile same, and enter all appropriate
                                                                  figures into motion (2.2).
September     Asset                  09/08/19 AEP             390 Study draft motion to approve second series of sales and proofread, edit, and revise same               0.6       0.075       $29.25
2019          Disposition                                         (.6)
September     Asset                  09/09/19 AEP             390 Review title exceptions for all properties in second series of properties and prepare proposed          2.7      0.3375      $131.63
2019          Disposition                                         judicial order authorizing sales of same (2.7)
September     Asset                  09/10/19 AEP             390 proofread, edit, and revise final draft of motion and circulate to team (.5).                           0.5      0.0625       $24.38
2019          Disposition
September     Asset                  09/10/19 AEP             390 assemble all exhibits to motion to approve sales and create appendix to brief (.4)                      0.4         0.05      $19.50
2019          Disposition
September     Asset                  09/10/19 AEP             390 Communications with title companies to obtain approval of proposed form of order                        0.4         0.05      $19.50
2019          Disposition                                         authorizing sales of second series of properties and to check on status of hold harmless
                                                                  letters associated with title exceptions (.4)
September     Asset                  09/10/19 JR              140 exchange correspondence with broker regarding same (.1)                                                 0.1 0.0333333          $4.67
2019          Disposition
September     Asset                  09/10/19 JR              140 continue review of title commitments pertaining to additional creditors named on title and              3.8 1.2666667        $177.33
2019          Disposition                                         organize litigation documents pertaining to specific properties (3.8).
September     Asset                  09/10/19 JR              140 exchange correspondence with property manager regarding delivery of due diligence                       0.2 0.0666667          $9.33
2019          Disposition                                         documents for same (.2)
September     Asset                  09/10/19 JR              140 exchange correspondence with A. Porter regarding due diligence period relating to series 3              0.1 0.0333333          $4.67
2019          Disposition                                         properties under contract (.1)
September     Asset                  09/11/19 AEP             390 Read pleadings and orders in connection with credit bidding procedures and work on draft                2.5      0.3125      $121.88
2019          Disposition                                         motion to approve sales of properties in second series.


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
September Asset                      09/11/19 JR              140 follow up email exchange with A. Porter relating to the due diligence materials and request             0.1 0.0333333          $4.67
2019      Disposition                                             to extend due diligence period relating to properties under contract for series 3 properties
                                                                  (.1)
September Asset                      09/11/19 NM              260 study lien filed against Houston property and revise service list for both the motion to                0.3 0.0333333          $8.67
2019      Disposition                                             approve the sale of the second tranche and the process with the Houston property (.3)

September     Asset                  09/12/19 AEP             390 prepare new paragraphs of brief regarding effect of lis pendens on second motion to                     0.3      0.0375       $14.63
2019          Disposition                                         approve sales (.3)
September     Asset                  09/12/19 AEP             390 make final revisions to motion papers based on discussion with team (.5).                               0.5      0.0625       $24.38
2019          Disposition
September     Asset                  09/12/19 AEP             390 discuss potential revisions, including credit bid and notice issues, with K. Duff, M. Rachlis,          1.2         0.15      $58.50
2019          Disposition                                         and N. Mirjanich (1.2)
September     Asset                  09/12/19 AEP             390 Prepare new section of second motion to approve sales reciting record of objections and                 3.6 0.2117647         $82.59
2019          Disposition                                         orders relating to second, third, fourth, and fifth motions to approve sales process (3.6)

September     Asset                  09/12/19 AEP             390 proofread, edit, and revise entire set of motion papers, including proposed order (1.6)                 1.6          0.2      $78.00
2019          Disposition
September     Asset                  09/12/19 AW              140 Continue work on preparation of service list for purpose of serving motions to approve sale             0.9      0.1125       $15.75
2019          Disposition                                         of properties (.9)
September     Asset                  09/12/19 JR              140 exchange correspondence with the underwriter at the title company pertaining to same (.1)               0.1 0.0333333          $4.67
2019          Disposition
September     Asset                  09/12/19 JR              140 exchange correspondence with property manager regarding due diligence document request                  0.2 0.0666667          $9.33
2019          Disposition                                         for the remainder of the properties in series 3 in preparation for sale (.2)

September     Asset                  09/12/19 MR              390 meeting regarding sales related issues with A. Porter, K. Duff and N. Mirjanich (1.2).                  1.2 0.0444444         $17.33
2019          Disposition
September     Asset                  09/12/19 MR              390 Review sales motions and comment on same (1.0)                                                          1.0       0.125       $48.75
2019          Disposition
September     Asset                  09/13/19 AW              140 finalize motion, file on line, and serve as per service list (.3)                                       0.3      0.0375        $5.25
2019          Disposition
September     Asset                  09/13/19 AW              140 attention to second motion to approve sale of properties, revisions to same, and review of              0.2       0.025        $3.50
2019          Disposition                                         exhibits (.2)
September     Asset                  09/13/19 AW              140 serve motion for sale on all known investors (.6)                                                       0.6       0.075       $10.50
2019          Disposition
September     Asset                  09/13/19 JR              140 Follow up email correspondence with property manager relating to the due diligence                      0.1 0.0333333          $4.67
2019          Disposition                                         documents (.1)
September     Asset                  09/13/19 MR              390 Attention to submission of various motions for filing and review and follow up regarding                1.2 0.1333333         $52.00
2019          Disposition                                         same.
September     Asset                  09/13/19 NM              260 study second motion to approve property sales and motion to approve Houston sale process                1.0       0.125       $32.50
2019          Disposition                                         and correspond with A. Watychowicz regarding the same and service (1.0).




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
September Asset                      09/16/19 ED              390 Review and analysis of documentation regarding expenditures, contributions, and                           3.1 0.1631579         $63.63
2019      Disposition                                             distributions relating to properties for which motion to approve sale is pending (3.1)

September     Asset                  09/16/19 JR              140 begin review of the due diligence documents for five properties under contract in the second              6.3      0.7875      $110.25
2019          Disposition                                         series, review leases and compare to rent roll (6.3)
September     Asset                  09/16/19 JR              140 exchange correspondence with property manager regarding due diligence documents                           0.2       0.025        $3.50
2019          Disposition                                         received for the second series of properties and missing utility bills (.2)

September     Asset                  09/17/19 AEP             390 prepare e-mail to counsel for all purchasers of properties subject to second motion to                    0.3      0.0375       $14.63
2019          Disposition                                         approve sales regarding anticipated closing dates (.3)
September     Asset                  09/17/19 NM              260 Correspond with A. Watychowicz regarding responses to correspondence received in                          0.1      0.0125        $3.25
2019          Disposition                                         connection with service of second sales motion (.1)
September     Asset                  09/17/19 NM              260 study the same and draft responses to the same (1.7)                                                      1.7      0.2125       $55.25
2019          Disposition
September     Asset                  09/18/19 AEP             390 update portfolio spreadsheet and prepare e-mail to surveyor regarding current estimated                   0.2         0.02       $7.80
2019          Disposition                                         timetable for closings (.2)
September     Asset                  09/18/19 JR              140 exchange correspondence with K. Pritchard regarding wire instructions for EquityBuild                     0.1      0.0125        $1.75
2019          Disposition                                         accounts for series 2 closings (.1)
September     Asset                  09/18/19 JR              140 exchange correspondence with title companies regarding closings and request update on                     0.3         0.06       $8.40
2019          Disposition                                         water certifications (.3)
September     Asset                  09/18/19 JR              140 prepare excel spreadsheet outlining and updating closing documents in preparation for                     1.5      0.1875       $26.25
2019          Disposition                                         closing (1.5)
September     Asset                  09/18/19 JR              140 organize lease folders in the third series (.5)                                                           0.5 0.0333333          $4.67
2019          Disposition
September     Asset                  09/18/19 JR              140 update property tax applications online for properties in the second tranche (.5).                        0.5      0.0625        $8.75
2019          Disposition
September     Asset                  09/18/19 KMP             140 Prepare list of wire transfer instructions for certain properties in connection with anticipated          0.3      0.0375        $5.25
2019          Disposition                                         closings and communications with J. Rak regarding same.
September     Asset                  09/18/19 NM              260 Correspond with K. Duff regarding investor objection to second sales approval motion (.1)                 0.1      0.0125        $3.25
2019          Disposition
September     Asset                  09/18/19 NM              260 correspond with A. Watychowicz regarding responding to the same (.6).                                     0.6       0.075       $19.50
2019          Disposition
September     Asset                  09/19/19 NM              260 Correspond with A. Watychowicz regarding questions by stakeholders in connection with                     0.3      0.0375        $9.75
2019          Disposition                                         sales motions.
September     Asset                  09/20/19 AEP             390 teleconference with N. Mirjanich regarding unrecorded mortgages (.2).                                     0.2 0.0333333         $13.00
2019          Disposition
September     Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding                  2.5 0.0245098          $9.56
2019          Disposition                                         same.
September     Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                              0.3 0.0029412          $1.15
2019          Disposition
September     Asset                  09/24/19 JR              140 update closing documents for properties in the second series in preparation for sale (2.9).               2.9      0.3625       $50.75
2019          Disposition




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
September Asset                      09/24/19 NM              260 draft notice to investors with information from Court's order setting briefing schedule on            0.5 0.0714286         $18.57
2019      Disposition                                             second tranche and Houston motions and correspond with K. Duff and A. Watychowicz
                                                                  regarding the same (.5).
September Asset                      09/25/19 NM              260 Correspond with A. Watychowicz regarding notice to investors with information from Court's            0.2 0.0222222          $5.78
2019      Disposition                                             order setting briefing schedule on second tranche and Houston motions (.2)

September     Asset                  09/26/19 JR              140 exchange correspondence with the surveying company relating to invoice payment and                    0.2          0.2      $28.00
2019          Disposition                                         request to send survey invoice for property (3030 E 79th) (.2)
September     Asset                  09/26/19 JR              140 update closing documents for properties (7834 S. Ellis, 3030 E. 79th and 5955 S. Sacramento)          3.3          1.1     $154.00
2019          Disposition                                         in the second series in preparation for closing (3.3).
September     Asset                  09/30/19 JR              140 Review emails relating to appraisals, due diligence materials for the second series of                0.3      0.0375        $5.25
2019          Disposition                                         properties and value estimations (.3)
September     Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to               0.4 0.0039216          $0.55
2019          Operations                                          finance company for payment on insurance premium finance agreement (.4)

September     Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare            1.2 0.0116505          $1.63
2019          Operations                                          same.
September     Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                          0.8 0.0078431          $3.06
2019          Operations
September     Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding               0.4 0.0039216          $0.55
2019          Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                  (.4)
September Claims                     09/02/19 AEP             390 Teleconference with N. Mirjanich regarding preparation of memoranda relating to properties            0.2 0.0133333          $5.20
2019      Administration                                          in third series and subject to credit bidding (.2)
          & Objections

September Claims                     09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors              2.8          0.2      $28.00
2019      Administration                                          claim list (2.8)
          & Objections

September Claims                     09/10/19 NM              260 correspond with K. Duff regarding the same (.1)                                                       0.1 0.0066667          $1.73
2019      Administration
          & Objections

September Claims                     09/10/19 NM              260 study claims submitted against properties in second tranche of sales in connection with               2.0         0.25      $65.00
2019      Administration                                          motion and to create a service list for those entitled to notice (2.0).
          & Objections

September Claims                     09/18/19 AW              140 respond to emails from claimants regarding their claims and related properties (1.1)                  1.1      0.1375       $19.25
2019      Administration
          & Objections




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
September Claims                     09/18/19 AW          140 Communicate with N. Mirjanich regarding responses to emails relating to second motion for              0.1      0.0125        $1.75
2019      Administration                                      approval of sale (.1)
          & Objections

September Claims                     09/23/19 ED          390 prepare analysis of secured and unsecured claims relating to six properties (2.3)                      2.3 0.3833333        $149.50
2019      Administration
          & Objections

September Claims                     09/23/19 ED          390 meet with K. Duff and N. Mirjanich to discuss same (.6)                                                0.6          0.1      $39.00
2019      Administration
          & Objections

September Claims                     09/23/19 ED          390 Confer with N. Mirjanich regarding claims review and analysis, including review and                    2.2 0.3666667        $143.00
2019      Administration                                      discussion of documentation submitted by multiple claimants relating to six properties (2.2)
          & Objections

September Claims                     09/23/19 ED          390 legal research relating to claims analysis (.9).                                                       0.9         0.15      $58.50
2019      Administration
          & Objections

October       Asset                  10/01/19 KBD         390 Confer with A. Porter and J. Rak regarding property sale planning (.2)                                 0.2       0.025        $9.75
2019          Disposition
October       Asset                  10/10/19 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.4 0.0444444         $17.33
2019          Disposition                                     agreements for properties without credit bids (.4)
October       Asset                  10/15/19 KBD         390 telephone conference with and study correspondence from real estate broker regarding                   0.2       0.025        $9.75
2019          Disposition                                     approval of sales and closing plans (.2)
October       Asset                  10/15/19 KBD         390 study correspondence from A. Porter regarding status of property sales and exchange                    0.2       0.025        $9.75
2019          Disposition                                     correspondence regarding purchase and sale agreements (.2).
October       Asset                  10/16/19 KBD         390 study correspondence from A. Porter regarding closings for sales of properties (.1).                   0.1         0.02       $7.80
2019          Disposition
October       Asset                  10/23/19 KBD         390 confer with J. Rak regarding water payments and closing certificates for upcoming sales (.1).          0.1         0.02       $7.80
2019          Disposition
October       Business               10/07/19 KBD         390 study property manager financial reporting (.3).                                                       0.3 0.0046875          $1.83
2019          Operations
October       Business               10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                   0.8 0.0078431          $3.06
2019          Operations
October       Business               10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                     0.1 0.0009804          $0.38
2019          Operations
October       Business               10/14/19 KBD         390 analysis of real estate taxes and exchange correspondence with J. Rak and asset manager                0.3         0.05      $19.50
2019          Operations                                      regarding same (.3).
October       Business               10/15/19 KBD         390 study financial reporting from property manager (.3).                                                  0.3 0.0046875          $1.83
2019          Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
October       Asset                  10/01/19 AEP             390 request for updated title invoices for "green" series (.1)                                               0.1 0.0166667          $6.50
2019          Disposition
October       Asset                  10/01/19 AEP             390 request for approval of all closing documents for "green" series (.1)                                    0.1 0.0166667          $6.50
2019          Disposition
October       Asset                  10/01/19 JR              140 further email exchange with title company regarding approval of various closing documents                0.5      0.0625        $8.75
2019          Disposition                                         of the second series of properties (.5).
October       Asset                  10/01/19 JR              140 exchange correspondence with title company relating to various invoice updates regarding                 0.2       0.025        $3.50
2019          Disposition                                         the second series of properties (.2)
October       Asset                  10/01/19 JR              140 work with A. Porter relating to review of closing of the second series of properties, various            3.8       0.475       $66.50
2019          Disposition                                         updates to closing documents, review of title commitments and creating a to-do list (3.8)

October       Asset                  10/02/19 AEP             390 Teleconference with receivership broker regarding credit bid issues and preparation of e-                0.3      0.0375       $14.63
2019          Disposition                                         mail to counsel for second series of buyers regarding status of judicial approval of motion to
                                                                  sell, and timing of anticipated future closings (.3)
October       Asset                  10/02/19 JR              140 updates to various closing documents per A. Porter for the second series of properties                   4.5          1.5     $210.00
2019          Disposition                                         (3030E. 79th, 5955 S. Sacramento, 6001 S. Sacramento) (4.5)
October       Asset                  10/02/19 JR              140 review special exceptions on title commitment for same (.7)                                              0.7 0.2333333         $32.67
2019          Disposition
October       Asset                  10/02/19 JR              140 update closing checklists regarding same (.5).                                                           0.5 0.1666667         $23.33
2019          Disposition
October       Asset                  10/03/19 AEP             390 review e-mail from title company regarding non-compliance of certain EquityBuild seller                  0.1 0.0111111          $4.33
2019          Disposition                                         documents with title company requirements (.1).
October       Asset                  10/03/19 JR              140 continue updating closing documents for the second series of properties in preparation for               1.8       0.225       $31.50
2019          Disposition                                         sale (1.8)
October       Asset                  10/03/19 JR              140 begin review of the received documents from property manager for various properties in the               2.9      0.3625       $50.75
2019          Disposition                                         second series regarding same (2.9)
October       Asset                  10/04/19 AEP             390 prepare e-mail to all counsel for purchasers of properties in second sales tranche regarding             0.3      0.0375       $14.63
2019          Disposition                                         briefing scheduling on motion to approve sales and anticipated closing dates (.3)

October       Asset                  10/04/19 AEP             390 teleconference with K. Duff regarding timing of closings and dissemination of information to             0.2 0.0181818          $7.09
2019          Disposition                                         counsel for prospective purchasers (.2)
October       Asset                  10/04/19 JR              140 update ALTA Statements for the second series of properties per title company request (1.3)               1.3      0.1625       $22.75
2019          Disposition
October       Asset                  10/04/19 NM              260 Study Judge Lee's Order relating to sales process and credit bid issues for third sales tranche          0.4 0.1333333         $34.67
2019          Disposition                                         and correspond with K. Duff and draft correspondence to City attorney regarding the same.

October       Asset                  10/09/19 NM              260 Correspond with receivership team regarding second sales motion and Houston motion                       0.2 0.0222222          $5.78
2019          Disposition                                         (1102 Bingham) and next steps (.2)
October       Asset                  10/10/19 NM              260 Prepare draft order on motions regarding properties and email correspondence to Judge Lee                0.5      0.0625       $16.25
2019          Disposition                                         proposed order regarding entry of orders.
October       Asset                  10/15/19 AEP             390 prepare e-mail to all counsel for purchasers of receivership properties attaching court order            0.2       0.025        $9.75
2019          Disposition                                         and providing explanation regarding scheduling of next round of closings (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
October       Asset                  10/15/19 JR              140 exchange correspondence with A. Porter relating to water certifications that need to be                0.2       0.025        $3.50
2019          Disposition                                         ordered after court approval of sale of the second series (.2)
October       Asset                  10/16/19 AEP             390 read and reply to e-mail from title company regarding alleged need for copies of deeds in              0.1         0.02       $7.80
2019          Disposition                                         connection with submission of application for full payment certificate (.1)

October       Asset                  10/16/19 AEP             390 prepare e-mail to title company requesting closing confirmations for specified closing dates           0.2       0.025        $9.75
2019          Disposition                                         associated with all receivership properties in second tranche of second closings (.2)

October       Asset                  10/16/19 AEP             390 prepare e-mails to counsel for purchasers of all properties in second tranche of closings              0.2       0.025        $9.75
2019          Disposition                                         regarding closing dates (.2)
October       Asset                  10/16/19 JR              140 follow up with buyer relating to buyer information in preparation for closing (.1).                    0.1 0.0333333          $4.67
2019          Disposition
October       Asset                  10/16/19 JR              140 work with A. Porter relating to the preparation for closing of the second tranche (3.4)                3.4       0.425       $59.50
2019          Disposition
October       Asset                  10/17/19 AEP             390 review title commitments for all receivership properties in second tranche of closings and             0.6       0.075       $29.25
2019          Disposition                                         prepare e-mails to title insurer regarding removal of remaining unpermitted special
                                                                  exceptions (.6).
October       Asset                  10/17/19 JR              140 exchange correspondence with A. Porter regarding same (.2)                                             0.2       0.025        $3.50
2019          Disposition
October       Asset                  10/17/19 JR              140 Locate lender information for series 2 properties and deliver information to title company             0.2 0.0111111          $1.56
2019          Disposition                                         (.2)
October       Asset                  10/17/19 JR              140 review water certificate applications and send same to the title companies for the second              1.3      0.1625       $22.75
2019          Disposition                                         series properties in preparation for closing (1.3)
October       Asset                  10/17/19 JR              140 follow up correspondence with buyer counsel relating to missing buyer information for                  0.2          0.2      $28.00
2019          Disposition                                         closing for property (3030 E. 79th) (.2)
October       Asset                  10/18/19 AEP             390 prepare e-mail to counsel for purchaser of receivership property (3030 E 79th) regarding               0.1          0.1      $39.00
2019          Disposition                                         requests for information (.1)
October       Asset                  10/18/19 AEP             390 respond to title company request for contact information for lenders for prospective                   0.1         0.02       $7.80
2019          Disposition                                         purchasers (.1)
October       Asset                  10/18/19 AEP             390 respond to various requests for information from title company and counsel for prospective             0.4         0.08      $31.20
2019          Disposition                                         purchasers regarding lender information and scheduling matters (.4).
October       Asset                  10/18/19 AEP             390 prepare e-mail to K. Duff and N. Mirjanich regarding order authorizing sales of second                 0.1      0.0125        $4.88
2019          Disposition                                         tranche of properties (.1)
October       Asset                  10/18/19 JR              140 Review emails regarding EquityBuild contracts and various related matters related to closings          0.3         0.15      $21.00
2019          Disposition                                         (.3)
October       Asset                  10/18/19 JR              140 update all water certifications for the second tranche and provide to title companies (1.2)            1.2         0.15      $21.00
2019          Disposition
October       Asset                  10/18/19 JR              140 exchange correspondence with A. Porter and title company relating to same (.2)                         0.2       0.025        $3.50
2019          Disposition
October       Asset                  10/23/19 JR              140 exchange correspondence with broker relating to closing confirmations for the second                   0.2       0.025        $3.50
2019          Disposition                                         tranche (.2)
October       Asset                  10/27/19 AEP             390 prepare e-mails to property managers regarding scheduled closing dates of properties (.2)              0.2       0.025        $9.75
2019          Disposition


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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
October       Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                  0.4 0.0039216          $1.53
2019          Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October       Asset                  10/27/19 JR              140 email exchange relating to estimated net proceeds relating to the second series of properties          0.1      0.0125        $1.75
2019          Disposition                                         closing soon (.1).
October       Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future               0.4     0.00625        $2.44
2019          Disposition                                         closings (.4)
October       Asset                  10/29/19 AEP             390 review and update closing checklists and transaction documents for properties in second                2.2         0.44     $171.60
2019          Disposition                                         series of sales (3030 E 79th, 5955 S Sacramento, 6001 S Sacramento, 7026 S Cornell, and
                                                                  7301 S Stewart) (2.2)
October       Asset                  10/29/19 JR              140 exchange communication with property managers relating to updates to rent rolls in                     0.3 0.0428571          $6.00
2019          Disposition                                         preparation for closing (.3)
October       Asset                  10/29/19 JR              140 exchange communication with buyer's counsel relating to updates to notices to tenants on               0.2       0.025        $3.50
2019          Disposition                                         various properties in the second series that are closing soon (.2)
October       Asset                  10/29/19 JR              140 confer with A. Porter relating to the sale of properties in the second series and discuss              2.9      0.3625       $50.75
2019          Disposition                                         finalizing of closing documents (2.9)
October       Asset                  10/29/19 JR              140 make updates to same (.6).                                                                             0.6       0.075       $10.50
2019          Disposition
October       Asset                  10/29/19 KMP             140 Conferences with K. Duff and J. Rak regarding properties set for closing and confirming set-           0.3 0.0428571          $6.00
2019          Disposition                                         up of Receiver's accounts for sales proceeds relating to same, and confirming wire transfer
                                                                  instructions.
October       Asset                  10/29/19 NM              260 Correspond with A. Porter regarding code violations on properties closing in November 2019             0.1 0.0142857          $3.71
2019          Disposition                                         (.1)
October       Asset                  10/30/19 AEP             390 Communications with counsel for purchaser of receivership property (3030 E 79th) regarding             0.1          0.1      $39.00
2019          Disposition                                         closing date (.1)
October       Asset                  10/30/19 AEP             390 read e-mails between J. Rak and title company regarding status of full payment water                   0.1          0.1      $39.00
2019          Disposition                                         certification expediting and update closing checklists accordingly (.1)
October       Asset                  10/30/19 JR              140 Review emails and save various documents in corresponding electronic folders including                 0.6       0.075       $10.50
2019          Disposition                                         titles and surveys (.6)
October       Asset                  10/30/19 JR              140 exchange correspondence with property manager relating to rent roll updates in preparation             0.1 0.0142857          $2.00
2019          Disposition                                         for closing (.1)
October       Asset                  10/30/19 JR              140 follow up with the water department at title company relating to water certifications for              0.3      0.0375        $5.25
2019          Disposition                                         second series (.3)
October       Asset                  10/30/19 NM              260 Correspond with A. Porter and real estate broker regarding code violations on properties               0.2 0.0285714          $7.43
2019          Disposition                                         closing in November 2019.
October       Asset                  10/31/19 JR              140 review updated rent roll and amend notice to tenants for various properties in the second              2.5      0.3125       $43.75
2019          Disposition                                         series and send to buyer's counsel and property manager for signature before sending out to
                                                                  tenants (2.5)
October       Asset                  10/31/19 JR              140 confer with A. Porter relating to closings of the second tranche and water certifications              0.1      0.0125        $1.75
2019          Disposition                                         relating to same (.1)
October       Asset                  10/31/19 JR              140 exchange communication with the title Company relating to same (.1)                                    0.1      0.0125        $1.75
2019          Disposition
October       Asset                  10/31/19 JR              140 Review various emails regarding upcoming closings (.5)                                                 0.5      0.0625        $8.75
2019          Disposition


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
October       Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412          $1.15
2019          Operations
October       Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039          $3.82
2019          Operations
October       Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522          $2.89
2019          Operations                                          can pay out of current net operating income (1.9)
October       Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303          $0.42
2019          Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October       Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739          $0.30
2019          Operations
October       Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006        $0.84
2019          Operations
October       Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002        $0.28
2019          Operations                                          estate taxes (.2)
October       Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           0.9 0.0087379          $1.22
2019          Operations                                          same.
October       Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                 0.3 0.0029412          $0.41
2019          Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

November      Asset                  11/01/19 KBD             390 Study correspondence from A. Porter and title company representative regarding questions             0.2 0.0285714         $11.14
2019          Disposition                                         relating to EB.
November      Asset                  11/06/19 KBD             390 Review closing documents with A. Porter and J. Rak in anticipation of closings (.5)                  0.5         0.25      $97.50
2019          Disposition
November      Asset                  11/07/19 KBD             390 Review and execute closing documents with A. Porter and J. Rak (2909 78th and 3030 79th).            1.1         0.55     $214.50
2019          Disposition
November      Asset                  11/13/19 KBD             390 Exchange correspondence with K. Pritchard and J. Rak regarding closing proceeds (3030                0.2          0.2      $78.00
2019          Disposition                                         79th).
November      Asset                  11/14/19 KBD             390 Draft correspondence to A. Porter regarding motion to approve listing properties for sale.           0.2       0.025        $9.75
2019          Disposition
November      Asset                  11/15/19 KBD             390 study information regarding sold properties and sales proceeds (.1)                                  0.1 0.0083333          $3.25
2019          Disposition
November      Asset                  11/16/19 KBD             390 Study motion to approve property sales.                                                              0.2 0.0666667         $26.00
2019          Disposition
November      Asset                  11/19/19 KBD             390 study post-closing reconciliation spreadsheet (.1).                                                  0.1 0.0083333          $3.25
2019          Disposition
November      Asset                  11/25/19 KBD             390 review correspondence regarding water certificate for property (3030 79th) (.1).                     0.1          0.1      $39.00
2019          Disposition
November      Business               11/05/19 KBD             390 analysis of same (.2).                                                                               0.2 0.0019608          $0.76
2019          Operations
November      Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and              0.2 0.0019608          $0.76
2019          Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                  improvements for remaining properties in portfolio (.2)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
November      Business               11/15/19 KBD             390 draft correspondence to insurance broker regarding sold properties (.2).                              0.2 0.0285714         $11.14
2019          Operations
November      Asset                  11/01/19 AEP             390 teleconference with J. Rak regarding methodology for collecting rent roll and delinquency             0.1 0.0142857          $5.57
2019          Disposition                                         information and prorating rents at closings (.1)
November      Asset                  11/01/19 AEP             390 proofread, edit, and revise notices to tenants regarding change in ownership of receivership          0.5       0.125       $48.75
2019          Disposition                                         properties (2909 E 78th, 6001 S Sacramento, 3030 E 79th, and 7026 S Cornell) (.5).

November      Asset                  11/01/19 JR              140 preparation of all closing documents for signature (2.3).                                             2.3 0.3285714         $46.00
2019          Disposition
November      Asset                  11/01/19 JR              140 exchange correspondence with N. Mirjanich relating to funds from closing (.3)                         0.3          0.1      $14.00
2019          Disposition
November      Asset                  11/01/19 JR              140 exchange correspondence with property managers relating to updates to notice to tenants               0.2          0.1      $14.00
2019          Disposition                                         (.2)
November      Asset                  11/01/19 NM              260 revise and send to court for entry of same and correspond with K. Duff and courtroom                  0.5      0.0625       $16.25
2019          Disposition                                         deputy regarding the same (.5).
November      Asset                  11/01/19 NM              260 Correspond with A. Watychowicz and A. Porter regarding order for second tranche of sales              0.2 0.0222222          $5.78
2019          Disposition                                         (.2)
November      Asset                  11/04/19 JR              140 further correspondence with property manager regarding rent overpayment for tenant at                 0.1          0.1      $14.00
2019          Disposition                                         property (3030 79th) (.1).
November      Asset                  11/04/19 JR              140 exchange correspondence with the title company regarding escrow for final water bill that             0.2          0.2      $28.00
2019          Disposition                                         will not be ready at closing (.2)
November      Asset                  11/04/19 JR              140 follow up correspondence with the title company regarding closing (.1)                                0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/04/19 JR              140 follow up correspondence with property manager updates to rent roll, delinquency reports,             0.2          0.2      $28.00
2019          Disposition                                         ledgers and other documents in preparation for closing of property (3030 E. 79th) (.2)

November      Asset                  11/04/19 JR              140 exchange correspondence with the title company regarding lender information for buyer for             0.1          0.1      $14.00
2019          Disposition                                         property (3030 79th) (.1)
November      Asset                  11/04/19 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/04/19 JR              140 Final review of documents in preparation for closing (.6)                                             0.6 0.0857143         $12.00
2019          Disposition
November      Asset                  11/04/19 KMP             140 follow up with A. Porter and J. Rak in connection with same (.1)                                      0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/04/19 KMP             140 Communications with bank representatives requesting opening of new account for portion                0.2          0.2      $28.00
2019          Disposition                                         of proceeds of sale of property (3030 E 79th Street) (.2)
November      Asset                  11/04/19 KMP             140 forward executed copy of Waiver of Receiver's Lien to A. Porter for closing (.1).                     0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/04/19 MR              390 Review order on sales and conferences with K. Duff regarding same and closing related                 0.5      0.0625       $24.38
2019          Disposition                                         issues.
November      Asset                  11/04/19 SZ              110 Obtain Certified Revised Order Granting Receiver's Second Motion for Approval of the Sale of          0.7      0.0875        $9.63
2019          Disposition                                         Certain Real Estate and Avoidance of Certain Mortgages, Liens, Claims, and Encumbrances to
                                                                  be used in the sale of properties.


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
November      Asset                  11/05/19 AEP             390 numerous communications, electronic and telephonic, with counsel for purchasers of                       1.0 0.3333333        $130.00
2019          Disposition                                         receivership properties (2909 E 78th Street, 7026 S Cornell, and 3030 E 79th Street) and
                                                                  escrow agents regarding status of unresolved title and pending municipal action rules and
                                                                  status of, or potential rescheduling of, future closings (1.0).

November      Asset                  11/05/19 JR              140 follow up correspondence with the title company regarding the water certification for                    0.2          0.2      $28.00
2019          Disposition                                         property (3030 E 79th) (.2).
November      Asset                  11/06/19 AEP             390 review building permit, building permit sign-off, 10/01/19 contract modification letter, and e-          0.7          0.7     $273.00
2019          Disposition                                         mails from property manager and prepare correspondence to counsel for purchaser of
                                                                  receivership property (3030 E 79th Street) regarding seller's position on satisfaction of
                                                                  closing obligations (.7)
November      Asset                  11/06/19 AEP             390 read and respond to dozens of e-mails from counsel for purchasers of various receivership                0.3          0.1      $39.00
2019          Disposition                                         properties regarding pre-closing issues (.3)
November      Asset                  11/06/19 JR              140 exchange correspondence with the title company requesting documents added to the                         0.1          0.1      $14.00
2019          Disposition                                         motion as exhibits (.1).
November      Asset                  11/07/19 AEP             390 oversee execution of all closing documents associated with sales of receivership properties              1.2          0.6     $234.00
2019          Disposition                                         (3030 E 79th Street and 2909 E 78th Street) (1.2)
November      Asset                  11/07/19 AEP             390 Proofread, edit, revise, and finalize all seller documents relating to closing of sale of                1.3          1.3     $507.00
2019          Disposition                                         receivership property (3030 E 79th Street) (1.3)
November      Asset                  11/07/19 AEP             390 communications with numerous lawyers, title agents, property managers, J. Rak and                        0.8          0.4     $156.00
2019          Disposition                                         receivership brokers regarding scheduling of closings of receivership properties and
                                                                  documents to be signed in connection therewith (.8).
November      Asset                  11/07/19 JR              140 signing of same with A. Porter, K. Duff, and M. Rachlis (1.6).                                           1.6          0.8     $112.00
2019          Disposition
November      Asset                  11/07/19 JR              140 final revisions to closing documents regarding properties set to close (2909 E. 78 and 3030 E.           2.8          1.4     $196.00
2019          Disposition                                         79th) (2.8)
November      Asset                  11/07/19 JR              140 request updated due diligence documents from property manager and update closing                         1.2          0.6      $84.00
2019          Disposition                                         documents (1.2)
November      Asset                  11/07/19 JR              140 exchange correspondence with broker and property manager relating to key delivery for                    0.2          0.1      $14.00
2019          Disposition                                         closing of properties (2909 E. 78th and 3030 E. 79th) (.2)
November      Asset                  11/08/19 AEP             390 Communications with title company regarding additional documents to be executed in                       0.3          0.3     $117.00
2019          Disposition                                         connection with closing of sale of receivership property (3030 E 79th Street) and prepare title
                                                                  indemnity in connection therewith (.3)
November      Asset                  11/08/19 AEP             390 attend closing of sale of receivership property (3030 E 79th) and confer with J. Rak regarding           2.2          2.2     $858.00
2019          Disposition                                         remaining items to be accomplished prior to next closing (2.2).
November      Asset                  11/08/19 JR              140 attend closing for same (2.2)                                                                            2.2          2.2     $308.00
2019          Disposition
November      Asset                  11/08/19 JR              140 Finalize closing documents for property for closing (3030 E 79th) (.2)                                   0.2          0.2      $28.00
2019          Disposition
November      Asset                  11/08/19 JR              140 exchange correspondence with K. Duff and K. Pritchard relating to same (.1)                              0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/11/19 JR              140 exchange correspondence with title company, A. Porter, and buyer counsel relating to final               0.6          0.6      $84.00
2019          Disposition                                         closing documents for property (3030 E 79th) (.6).


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
November      Asset                  11/12/19 JR              140 follow up email with title company relating to water certificate for property (3030 E. 79th)           0.1          0.1      $14.00
2019          Disposition                                         (.1)
November      Asset                  11/12/19 JR              140 follow up email with property manager relating to closing for property (3030 E. 79th) (.1)             0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/12/19 JR              140 update spreadsheet with closed properties summary (.3)                                                 0.3       0.025        $3.50
2019          Disposition
November      Asset                  11/12/19 JR              140 exchange correspondence with broker relating to closing of property and required                       0.1          0.1      $14.00
2019          Disposition                                         documents (.1).
November      Asset                  11/14/19 JR              140 Exchange correspondence with title company relating to fully executed documents for                    0.2          0.2      $28.00
2019          Disposition                                         previous closing (3030 E 79th) (.2)
November      Asset                  11/15/19 JR              140 phone conference with real estate broker relating to recent closings, future closings and              0.7 0.1166667         $16.33
2019          Disposition                                         expectations (.7)
November      Asset                  11/15/19 JR              140 exchange emails with real estate broker relating to same (.1)                                          0.1 0.0166667          $2.33
2019          Disposition
November      Asset                  11/15/19 JR              140 prepare notices to tenants for all properties in the second tranche that recently sold (2.0).          2.0 0.2857143         $40.00
2019          Disposition
November      Asset                  11/15/19 JR              140 finalize closing spreadsheet for properties that already closed (.2)                                   0.2 0.0166667          $2.33
2019          Disposition
November      Asset                  11/15/19 SZ              110 communicated with J. Rak about the same (.4).                                                          0.4          0.2      $22.00
2019          Disposition
November      Asset                  11/15/19 SZ              110 Preparation of mailings to tenants of recently sold properties (1.0)                                   1.0          0.5      $55.00
2019          Disposition
November      Asset                  11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                   0.4       0.025        $3.50
2019          Disposition                                         properties (.4)
November      Asset                  11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from          0.4 0.0285714          $4.00
2019          Disposition                                         property managers on sold properties, and communicate with J. Rak regarding same.

November      Asset                  11/22/19 JR              140 organize closing documents electronically for the remainder of closed properties (3030 E.              3.8          1.9     $266.00
2019          Disposition                                         79th and 2909 E. 78th) and exchange correspondence with A. Porter relating to same (3.8)

November      Asset                  11/25/19 AEP             390 communications with title company regarding release of title indemnity funds associated                0.1          0.1      $39.00
2019          Disposition                                         with lack of water certificate at time of closing of property (3030 E 79th) (.1)

November      Business               11/01/19 KMP             140 discuss opening of account for proceeds of sale from property (3030 E 79th Street) with N.             0.2          0.2      $28.00
2019          Operations                                          Mirjanich and J. Rak, and communications with bank representatives regarding same (.2).

November      Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                0.4 0.0038835          $1.01
2019          Operations
November      Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                       0.2 0.0019417          $0.50
2019          Operations
November      Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting              0.4 0.0038835          $1.51
2019          Operations                                          reports (.4)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
November      Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019          Operations
November      Business               11/18/19 ED              390 Confer with J. Rak regarding reporting of final account reconciliations with property                    0.4 0.0333333         $13.00
2019          Operations                                          managers sold properties (.4)
November      Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019          Operations                                          research and communication regarding process (.6).
November      Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019          Operations                                          (.1)
November      Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019          Operations
November      Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757          $2.45
2019          Operations                                          accounting financial statements from Receiver's accountant.
November      Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379          $3.41
2019          Operations
November      Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126          $1.14
2019          Operations                                          information for review (.3)
November      Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961          $2.65
2019          Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                  needed (.7)
November      Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845          $3.81
2019          Operations                                          (2.8).
November      Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                      0.4 0.0038835          $1.51
2019          Administration                                      preparation of October accounting reports to lenders.
              & Objections

November      Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                   0.5 0.0048544          $1.89
2019          Administration                                      (.5).
              & Objections

November      Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                               3.8 0.0368932         $14.39
2019          Administration
              & Objections

December      Asset                  12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties              0.1 0.0076923          $1.08
2019          Disposition                                         information (.1)
December      Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                       0.8    0.007767        $1.09
2019          Disposition                                         preparation for review (.8)
December      Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements               0.3 0.0029126          $0.41
2019          Disposition                                         (.3)
December      Asset                  12/12/19 NM              260 correspond with A. Porter regarding letter on property (3030 E 79th) (.1).                               0.1          0.1      $26.00
2019          Disposition
December      Asset                  12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)                0.1 0.0071429          $1.00
2019          Disposition


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
December      Asset                  12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                      1.0 0.0588235          $8.24
2019          Disposition
December      Asset                  12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                            0.2 0.0117647          $1.65
2019          Disposition
December      Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by          1.1 0.0106796          $1.50
2019          Operations                                          property basis and prepare same.
December      Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership              0.4 0.0038835          $1.51
2019          Operations                                          expenses.
December      Business               12/10/19 NM              260 Study mail received relating to new code violations (.1)                                           0.1         0.05      $13.00
2019          Operations
December      Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                0.8    0.007767        $3.03
2019          Operations                                          properties and accounts payable (.8)
December      Business               12/11/19 NM              260 Revise spreadsheet to reflect new violations received and correspond with property                 0.4          0.2      $52.00
2019          Operations                                          manager, A. Porter, and J. Rak regarding same.
December      Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                            0.6 0.0058252          $2.27
2019          Operations
December      Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting             0.2 0.0019417          $0.76
2019          Operations                                          reports (.2)
December      Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence             0.8    0.007767        $3.03
2019          Operations                                          with accountant regarding comments and corrections.
December      Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                      0.8    0.007767        $3.03
2019          Operations
December      Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                     1.7 0.0165049          $6.44
2019          Administration
              & Objections

December      Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable          0.9 0.0087379          $3.41
2019          Administration                                      from properties (.9)
              & Objections

December      Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                   2.8 0.0271845         $10.60
2019          Administration
              & Objections

December      Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to            0.3 0.0029126          $1.14
2019          Administration                                      lenders.
              & Objections

December      Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and          6.4 0.0621359          $8.70
2019          Administration                                      accountant 's information (6.4)
              & Objections




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
December      Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                                0.3 0.0029126          $0.41
2019          Administration
              & Objections

December      Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).              0.4 0.0038835          $1.51
2019          Administration
              & Objections

January       Asset                  01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed                     0.5 0.0294118          $4.12
2020          Disposition                                         properties (.5)
January       Asset                  01/06/20 KMP             140 Confer with K. Duff and J. Rak regarding confirmation of receipt of funds from final                     0.1 0.0333333          $4.67
2020          Disposition                                         reconciliation on sold properties (.1)
January       Asset                  01/08/20 JR              140 review email from N. Mirjanich regarding housing court matters and forward to buyer's                    0.2          0.2      $28.00
2020          Disposition                                         counsel related to property previously sold (3030 E. 79th) (.2)
January       Asset                  01/14/20 AEP             390 conference with K. Duff, E. Duff, and N. Mirjanich regarding claims process information or               0.6          0.1      $39.00
2020          Disposition                                         other documentation relating to alleged security interests in property (.6)

January       Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                 1.6    0.015534        $2.17
2020          Disposition
January       Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                 1.2 0.0116505          $1.63
2020          Disposition                                         for further review (1.2).
January       Asset                  01/23/20 JR              140 exchange correspondence with N. Mirjanich regarding status report and requested                          0.2 0.0181818          $2.55
2020          Disposition                                         information for same (.2)
January       Asset                  01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                       0.2 0.0117647          $1.65
2020          Disposition
January       Asset                  01/28/20 JR              140 email correspondence to various buyer's regarding same (.2)                                              0.2          0.1      $14.00
2020          Disposition
January       Asset                  01/28/20 JR              140 further review paper real estate tax bills for the 1st installment of 2019 and send copies to            1.5         0.75     $105.00
2020          Disposition                                         buyers who are responsible for balances (1.5)
January       Asset                  01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                             0.9 0.0529412          $7.41
2020          Disposition
January       Asset                  01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                                     0.7 0.0411765          $5.76
2020          Disposition
January       Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020          Operations                                          October reports.
January       Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020          Operations
January       Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020          Operations                                          (1.6)
January       Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020          Operations
January       Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020          Operations                                          expenditures to properties (.1).


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                   Hours        Fees
January       Business               01/21/20 ED              390 Email correspondence with insurance agent to follow up on pending items.                          0.1 0.0090909         $3.55
2020          Operations
January       Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                          0.2 0.0019417         $0.76
2020          Operations
January       Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                  0.7 0.0067961         $2.65
2020          Operations
January       Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                         0.3 0.0029126         $1.14
2020          Operations
January       Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                1.6    0.015534       $6.06
2020          Administration                                      regarding questions and corrections.
              & Objections

January       Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements             0.4 0.0038835         $0.54
2020          Administration                                      received from accountant and provide to E. Duff for review.
              & Objections

January       Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and            1.2 0.0116505         $4.54
2020          Administration                                      transmit to lenders' counsel.
              & Objections

January       Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting              0.2 0.0019417         $0.76
2020          Administration                                      reports through November 2019 (.2)
              & Objections

January       Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details              0.6 0.0058252         $2.27
2020          Administration                                      regarding receivership income and expenditures (.6).
              & Objections

January       Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after               0.6 0.0058252         $0.82
2020          Administration                                      accountant provides his copies for review.
              & Objections

January       Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports          0.7 0.0067961         $2.65
2020          Administration                                      to lenders (.7)
              & Objections

January       Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                  0.2 0.0019417         $0.76
2020          Administration
              & Objections




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
January       Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718          $9.47
2020          Administration
              & Objections

January       Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020          Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
              & Objections

January       Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631          $5.68
2020          Administration                                      remaining amounts reimbursable to receivership (1.5).
              & Objections

January       Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126          $1.14
2020          Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
              & Objections

February      Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095          $1.49
2020          Operations                                          Duff regarding same (.4)
February      Asset                  02/03/20 KMP             140 Communicate with K. Duff and property manager regarding refund of utility payments on                  0.2          0.2      $28.00
2020          Disposition                                         closed property (3030 E 79th).
February      Asset                  02/05/20 JR              140 review title commitments with A. Porter and identify special exceptions regarding a hold               1.7 0.1545455         $21.64
2020          Disposition                                         harmless letter (1.7).
February      Asset                  02/07/20 JR              140 Exchange correspondence with A. Porter related to hold harmless letters and research                   0.2 0.0181818          $2.55
2020          Disposition                                         regarding title companies which closed on EB properties (.2)
February      Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231          $3.77
2020          Disposition
February      Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                     5.2 0.2888889         $40.44
2020          Disposition
February      Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231          $0.75
2020          Operations
February      Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231          $0.75
2020          Operations
February      Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846          $1.13
2020          Operations
February      Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375        $5.25
2020          Operations                                          for all EquityBuild properties.
February      Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231          $0.75
2020          Operations
February      Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615         $10.13
2020          Operations                                          (2.7)
February      Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706          $0.57
2020          Operations                                          revisions (.1).




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
February      Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020          Operations
February      Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020          Operations
February      Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020          Operations
February      Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020          Operations
February      Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020          Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                  report missing details for several institutional lenders (1.1)

February      Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020          Administration
              & Objections

February      Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020          Administration                                      property managers.
              & Objections

February      Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020          Administration
              & Objections

February      Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231         $0.27
2020          Administration                                      statements (.2)
              & Objections

February      Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting               0.5 0.0048077         $1.88
2020          Administration                                      reports.
              & Objections

March 2020 Asset                     03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                        1.4 0.0777778        $10.89
           Disposition
March 2020 Asset                     03/05/20 JR              140 update closed property spreadsheet (.4)                                                                0.4 0.0222222         $3.11
           Disposition
March 2020 Asset                     03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet                  0.2 0.0111111         $1.56
           Disposition                                            regarding closed properties and forward same (.2)
March 2020 Asset                     03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                     0.6 0.0333333         $4.67
           Disposition
March 2020 Business                  03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                0.1 0.0009615         $0.38
           Operations                                             properties (.1)




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
March 2020 Business                  03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845          $3.81
           Operations                                             (2.8)
March 2020 Business                  03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                          0.1 0.0009709          $0.14
           Operations
March 2020 Business                  03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                   0.2 0.0153846          $2.15
           Operations                                             finance payments based on sales of properties.
March 2020 Business                  03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462          $1.50
           Operations
March 2020 Business                  03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058          $5.57
           Operations
March 2020 Claims                    03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544          $1.89
           Administration                                         reports (.5)
           & Objections

March 2020 Claims                    03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835          $1.51
           Administration
           & Objections

March 2020 Claims                    03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                         expenditures (.2)
           & Objections

March 2020 Claims                    03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                         to deposit funds (.4)
           & Objections

March 2020 Claims                    03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709          $0.38
           Administration
           & Objections

April 2020    Claims                 04/11/20 KBD             390 Study correspondence regarding analysis of fund claims.                                               0.2 0.0222222          $8.67
              Administration
              & Objections

April 2020    Claims                 04/17/20 KBD             390 Work with J. Wine on claims process and identification of fund claimants (.3)                         0.3         0.05      $19.50
              Administration
              & Objections

April 2020    Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]            0.8 0.0126984          $1.78
              Disposition                                         and prepare requested information regarding same (.8)
April 2020    Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                               0.1 0.0015873          $0.22
              Disposition




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2020    Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
              Operations
April 2020    Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
              Operations
April 2020    Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
              Administration
              & Objections

April 2020    Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
              Administration                                  documentation regarding property income and expenses (5.4)
              & Objections

April 2020    Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
              Administration
              & Objections

April 2020    Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
              Administration
              & Objections

April 2020    Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
              Administration                                  accounting reports (.7)
              & Objections

April 2020    Claims                 04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
              Administration
              & Objections

April 2020    Claims                 04/13/20 ED          390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
              Administration                                  claimants (.2)
              & Objections

April 2020    Claims                 04/13/20 ED          390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
              Administration
              & Objections

April 2020    Claims                 04/13/20 ED          390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
              Administration                                  accounting reports (.9).
              & Objections




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2020    Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.               0.5 0.0048544         $0.68
              Administration
              & Objections

April 2020    Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                  0.3 0.0029126         $1.14
              Administration
              & Objections

April 2020    Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
              Administration
              & Objections

April 2020    Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                  0.3 0.0029126         $1.14
              Administration                                      preparation of statements (.3)
              & Objections

April 2020    Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                        0.4 0.0038835         $1.51
              Administration
              & Objections

April 2020    Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
              Administration
              & Objections

April 2020    Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
              Administration                                      financial statements related to February reporting.
              & Objections

April 2020    Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
              Administration
              & Objections

April 2020    Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
              Administration                                      from E. Duff and accountant.
              & Objections

May 2020      Asset                  05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                        0.3 0.0176471         $6.88
              Disposition
May 2020      Asset                  05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings            0.3 0.0176471         $6.88
              Disposition                                         and sales (.3)
May 2020      Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
              Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
May 2020      Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922         $1.90
              Disposition
May 2020      Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709         $0.14
              Disposition                                         companies (.1)
May 2020      Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757         $2.45
              Disposition
May 2020      Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957         $1.22
              Disposition                                         (.2).
May 2020      Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462         $0.54
              Disposition                                         closings (.1)
May 2020      Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016       $2.24
              Disposition                                         (.4)
May 2020      Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008       $1.12
              Disposition
May 2020      Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
              Operations                                          properties (1.3)
May 2020      Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
              Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                  regarding missing reports.
May 2020      Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417         $0.76
              Operations
May 2020      Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
              Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                  amounts by property (.5).
May 2020      Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
              Operations                                          regarding same
May 2020      Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
              Operations
May 2020      Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
              Operations                                          correspondence.
May 2020      Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
              Operations
May 2020      Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
              Operations
May 2020      Business               05/29/20 ED              390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
              Operations
May 2020      Business               05/30/20 ED              390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
              Operations
May 2020      Business               05/30/20 ED              390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
              Operations
May 2020      Business               05/30/20 MR              390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
              Operations




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
May 2020      Claims                 05/14/20 ED              390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
              Administration
              & Objections

May 2020      Claims                 05/14/20 ED              390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
              Administration                                      (.2).
              & Objections

May 2020      Claims                 05/18/20 ED              390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
              Administration                                      accounting reports (.3).
              & Objections

May 2020      Claims                 05/18/20 ED              390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
              Administration
              & Objections

May 2020      Claims                 05/20/20 ED              390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709         $0.38
              Administration                                      relating to sold properties (.1).
              & Objections

May 2020      Claims                 05/20/20 ED              390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544         $1.89
              Administration                                      (.5)
              & Objections

June 2020     Claims                 06/06/20 KBD             390 Attention to responses to claimants.                                                               0.4 0.0363636        $14.18
              Administration
              & Objections

June 2020     Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                  0.1       0.004       $0.56
              Disposition




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
June 2020     Asset                  06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)               0.9     0.05625        $7.88
              Disposition
June 2020     Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004        $0.56
              Disposition
June 2020     Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215          $6.91
              Disposition
June 2020     Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063         $15.80
              Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020     Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797         $11.85
              Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020     Asset                  06/08/20 JR              140 Review email from M. Rachlis related to restoration amounts of sold properties (.1)                   0.1     0.00625        $0.88
              Disposition
June 2020     Asset                  06/08/20 JR              140 review reports for various sold properties related to same and create a chart (.8)                    0.8         0.05       $7.00
              Disposition
June 2020     Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012        $1.68
              Disposition
June 2020     Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961          $2.65
              Operations                                          receivership.
June 2020     Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835          $1.51
              Operations
June 2020     Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466          $7.19
              Operations                                          reports (1.9)
June 2020     Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087          $3.79
              Operations                                          documents and correspondence.
June 2020     Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                 0.2 0.0019417          $0.76
              Operations                                          expenditures during March 2020.
June 2020     Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                    0.2 0.0019417          $0.76
              Operations                                          correspondence with B. Fish regarding same.
June 2020     Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                0.4 0.0038835          $1.51
              Operations
June 2020     Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)              0.7 0.0067961          $2.65
              Operations
June 2020     Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting               0.6 0.0058252          $2.27
              Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                  unsold properties (.6)
June 2020     Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                             0.5 0.0048544          $1.89
              Operations
June 2020     Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)            0.2 0.0019417          $0.76
              Operations
June 2020     Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                            0.1 0.0009709          $0.38
              Operations




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2020     Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                  0.4 0.0222222         $5.78
              Administration                                      properties with no institutional debt (.4).
              & Objections

July 2020     Asset                  07/07/20 KBD             390 review notice to claimants of property sales and correspondence regarding same (.2)                    0.2 0.0333333        $13.00
              Disposition
July 2020     Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214         $1.77
              Disposition
July 2020     Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                        0.1 0.0027778         $0.39
              Disposition
July 2020     Business               07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same               1.8 0.0666667         $9.33
              Operations                                          (1.8)
July 2020     Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
              Operations
July 2020     Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
              Operations
July 2020     Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
              Operations
July 2020     Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
              Operations                                          accounting report drafts (.3)
July 2020     Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
              Operations
July 2020     Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
              Operations                                          documentation of March property income and expense (.6)
July 2020     Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
              Operations                                          correspondence to lenders' counsel (.7).
July 2020     Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
              Operations                                          Duff regarding same (.8).
July 2020     Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
              Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                  institutional debt, and have been sold (.8)
July 2020     Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294         $3.29
              Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020     Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
              Operations
July 2020     Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
              Operations
July 2020     Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
              Operations                                          benefit of other properties (.3).
July 2020     Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
              Operations                                          (.3)
July 2020     Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
              Operations                                          management relating to all income and loss statements (3.7).


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2020     Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                          0.6 0.0058252         $0.82
              Operations
July 2020     Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                      0.5 0.0048544         $0.68
              Operations                                          information related to discrepancies discovered in reports (.5).
July 2020     Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                 0.8    0.007767       $3.03
              Operations                                          preparation of April accounting reports.
July 2020     Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                      0.2 0.0019417         $0.76
              Operations
July 2020     Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                          0.1 0.0009709         $0.38
              Operations
July 2020     Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                          0.2 0.0019417         $0.76
              Operations
July 2020     Claims                 07/01/20 JR              140 Review March property financial documents.                                                              2.4    0.023301       $3.26
              Administration
              & Objections

July 2020     Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                 0.4 0.0038835         $1.51
              Administration                                      counsel (.4)
              & Objections

July 2020     Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding           0.2 0.0019417         $0.76
              Administration                                      remaining reimbursable amounts by property (.2).
              & Objections

July 2020     Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                               1.7 0.0165049         $6.44
              Administration
              & Objections

July 2020     Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).             0.6 0.0058252         $2.27
              Administration
              & Objections

August 2020 Asset                    08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Business                 08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                            (.4)
August 2020 Business                 08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                            accounting reports (1.9)
August 2020 Business                 08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                            addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                  need to be supplemented (.8)
August 2020 Business                 08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
August 2020 Business                 08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020            0.3 0.0029126         $1.14
            Operations                                            accounting reports (.3)
August 2020 Business                 08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                              0.1 0.0009709         $0.38
            Operations
August 2020 Business                 08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager             0.2 0.0031746         $1.24
            Operations                                            (.2)
August 2020 Business                 08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                0.3 0.0029126         $1.14
            Operations                                            accountant for preparation of May accounting reports (.3)
August 2020 Business                 08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873         $0.62
            Operations
August 2020 Business                 08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835         $1.51
            Operations                                            regarding details and backup for information to include in May accounting reports to
                                                                  lenders.
September     Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455         $1.77
2020          Disposition
September     Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417         $0.76
2020          Operations                                          preparation of May accounting reports (.2)
September     Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417         $0.76
2020          Operations                                          property managers needed for preparation of May accounting reports (.2)
September     Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126         $1.14
2020          Operations                                          regarding same (.3)
September     Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126         $1.14
2020          Operations                                          financial reporting information for May 2020.
September     Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505         $4.54
2020          Operations                                          (1.2)
September     Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417         $0.76
2020          Operations
September     Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417         $0.27
2020          Operations                                          (.2).
September     Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505         $4.54
2020          Operations
October       Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571         $1.11
2020          Operations
October       Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571         $1.11
2020          Operations
October       Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388         $4.49
2020          Disposition
October       Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379         $1.22
2020          Disposition
October       Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455         $0.64
2020          Disposition
October       Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544         $0.68
2020          Disposition                                         information (.5)


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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October       Business               10/02/20 ED          390 review of J. Rak comments identifying discrepancies in certain draft reports and consult             0.8 0.0421053        $16.42
2020          Operations                                      underlying financial records and correspondence (.8)
October       Business               10/02/20 ED          390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016       $6.24
2020          Operations
October       Business               10/02/20 ED          390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417         $0.76
2020          Operations
October       Business               10/02/20 ED          390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709         $0.38
2020          Operations
October       Business               10/02/20 ED          390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379         $3.41
2020          Operations
October       Business               10/06/20 ED          390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709         $0.38
2020          Operations
October       Business               10/06/20 ED          390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126         $1.14
2020          Operations                                      requiring revision (.3).
October       Business               10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767       $3.03
2020          Operations                                      comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                              reimbursable amounts by properties. (.2)
October       Business               10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087         $3.79
2020          Operations
October       Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020          Operations                                      of May 31, 2020 (1.5)
October       Business               10/08/20 ED          390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024       $9.36
2020          Operations
October       Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020          Operations                                      reports (.5).
October       Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020          Operations                                      regarding reports.
October       Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020          Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October       Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020          Operations
October       Business               10/13/20 ED          390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016       $6.24
2020          Operations
October       Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020          Operations
October       Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020          Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                              Properties (.7).
October       Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020          Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                              transfers and confer with K. Duff regarding same (.8)




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
October       Business               10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020          Operations                                          accounting reports (.3)
October       Business               10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020          Operations                                          property manager (.2)
October       Business               10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020          Operations                                          updating financial reporting to lenders and for use in management of portfolio by Receiver.

October       Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020          Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                  reimbursed from proceeds of property sales (1.3)
October       Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020          Operations
October       Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020          Operations                                          property financial reporting (.2).
October       Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020          Operations                                          reports, and review of related financial information.
November      Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022       $3.08
2020          Disposition
November      Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868         $0.26
2020          Disposition
November      Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020          Operations
November      Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020          Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                  through September 2020 (.7)
November      Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020          Operations                                          property reports (.3)
November      Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020          Operations
November      Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020          Operations                                          correspondence with accountants and property manager regarding same (.4)

November      Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020          Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November      Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020          Operations                                          needed for preparation of June reporting.
November      Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020          Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November      Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020          Operations                                          reports, and steps to begin preparation of July reports (.3)




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
November      Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020          Operations                                          reporting information required for preparation of July property reports.

November      Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020          Operations                                          accounting reports and preparation of draft August reports (.3).
December      Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020          Disposition                                         discrepancy (.9)
December      Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020          Disposition                                         (.1)
December      Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020          Operations
December      Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020          Operations                                          accounting reports and preparation of draft September reports (.1).
December      Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020          Operations                                          related financial reporting from property managers (2.1).
December      Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020          Operations                                          preparation of September property accounting reports (.1)
December      Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020          Operations                                          property managers (2.6).
December      Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020          Operations
December      Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020          Operations
December      Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020          Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December      Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020          Operations                                          properties (.9).
December      Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020          Operations                                          changes (.4)
December      Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020          Operations
December      Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020          Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                  agreements, and updates to schedule of properties.
December      Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048          $0.74
2020          Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                  relating to same.
January       Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021          Operations
January       Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021          Operations                                          expenses.




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
January       Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                 0.1 0.0009524         $0.37
2021          Administration                                      relating to accounting reports (.1).
              & Objections

January       Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase            2.2 0.0203704         $2.85
2021          Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January       Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                     0.3 0.0028571         $1.11
2021          Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January       Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)               0.5 0.0047619         $1.86
2021          Operations
January       Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                       0.1 0.0009524         $0.37
2021          Operations
January       Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021          Operations
January       Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021          Operations                                          accordingly regarding status review of same (.1)
January       Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021          Operations                                          and November 2020 and forward same to her.
January       Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021          Operations                                          property (1.3).
January       Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021          Operations
January       Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021          Operations                                          reporting (.1).
January       Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021          Operations
January       Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021          Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January       Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021          Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January       Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021          Operations                                          corrections necessary.
January       Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021          Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                  documents.
January       Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021          Operations                                          report (.2)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
January       Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021          Operations
January       Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021          Operations                                          (.3).
January       Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021          Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January       Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021          Operations
January       Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021          Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                  with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January       Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021          Operations                                          prepare same as per E. Duff's request.
January       Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021          Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                  insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                  property sales (.5)
January       Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021          Operations                                          properties (.6)
January       Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021          Operations
January       Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021          Operations                                          and effect on data presented in September accounting reports (.4)

January       Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021          Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                  email correspondence with accountants and J. Rak (.4).

January       Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021          Operations                                          updates (.8)
January       Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021          Operations                                          reports (1.7)
January       Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021          Operations
January       Claims                 01/07/21 JR              140 telephone call with J. Wine regarding claim updates (7500-06 S Eggleston Avenue, 3030-32 E           0.2 0.0285714         $4.00
2021          Administration                                      79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-
              & Objections                                        55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January       Claims                 01/07/21 JR              140 Review proof of claims and update mortgagee claim information for properties (7500-06 S              5.9 0.8428571       $118.00
2021          Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
              & Objections                                        7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.9)




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
January       Claims                 01/11/21 JR              140 Work with J. Wine regarding review of claimant forms (7500-06 S Eggleston Avenue, 3030-32           1.6 0.2285714         $32.00
2021          Administration                                      E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
              & Objections                                        8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/11/21 JRW             260 begin review of claims against properties (7301-09 S Stewart Avenue, 7500-06 S Eggleston            3.7 1.2333333        $320.67
2021          Administration                                      Avenue, 3030-32 E 79th Street) and prepare notes regarding same (3.7)
              & Objections

January       Claims                 01/12/21 JRW             260 Continued analysis of claims against properties (7301-09 S Stewart Avenue, 7500-06 S                3.3          1.1     $286.00
2021          Administration                                      Eggleston Avenue, 3030-32 E 79th Street) and draft memorandum regarding same (3.3)
              & Objections

January       Claims                 01/14/21 JRW             260 update chart of claims against properties (7301-09 S Stewart Avenue, 7500-06 S Eggleston            1.3 0.4333333        $112.67
2021          Administration                                      Avenue, 3030-32 E 79th Street) (1.3)
              & Objections

January       Claims                 01/15/21 JR              140 Review proof of claims (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S                2.8          0.4      $56.00
2021          Administration                                      Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
              & Objections                                        Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/15/21 JRW             260 confer with J. Rak regarding claims analysis and related review and summary of claim                1.0 0.3333333         $86.67
2021          Administration                                      submitted by claimant (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E
              & Objections                                        79th Street) (1).

January       Claims                 01/18/21 JR              140 further correspondence with J. Wine relating to claims and resolution of several questions          0.3 0.0428571          $6.00
2021          Administration                                      and issues (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue,
              & Objections                                        2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex
                                                                  Avenue) (.3).
January       Claims                 01/18/21 JR              140 Review email from J. Wine and notes regarding proof of claim forms and exchange                     0.4 0.0571429          $8.00
2021          Administration                                      correspondence regarding same (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-
              & Objections                                        09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                  Avenue, 7947-49 S Essex Avenue) (.4)
January       Claims                 01/18/21 JR              140 review proof of claim forms and update claims review spreadsheet (7500-06 S Eggleston               5.4 0.7714286        $108.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.4)

January       Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                0.6 0.0057143          $0.80
2021          Administration                                      lenders.
              & Objections




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                    Hours         Fees
January       Claims                 01/20/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          6.6 0.9428571        $132.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/21/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          4.6 0.6571429         $92.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/21/21 JRW             260 review claims analysis (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E            0.2 0.0666667         $17.33
2021          Administration                                      79th Street) and related email exchange with S. Zjalic (.2)
              & Objections

January       Claims                 01/21/21 SZ              110 Reviewed claims related to Chicago Capital Fund I (7301-09 S Stewart Avenue, 7500-06 S             5.1          1.7     $187.00
2021          Administration                                      Eggleston Avenue, 3030-32 E 79th Street).
              & Objections

January       Claims                 01/22/21 JR              140 exchange correspondence with S. Zjalic and J. Wine regarding same (7500-06 S Eggleston             0.2 0.0285714          $4.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January       Claims                 01/22/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          1.5 0.2142857         $30.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.5)

January       Claims                 01/22/21 SZ              110 Reviewed claims related to Chicago Capital Fund I (7301-09 S Stewart Avenue, 7500-06 S             0.1 0.0333333          $3.67
2021          Administration                                      Eggleston Avenue, 3030-32 E 79th Street).
              & Objections

January       Claims                 01/25/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          4.8 0.6857143         $96.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (4.8).

January       Claims                 01/26/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          4.2          0.6      $84.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/27/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston          5.1 0.7285714        $102.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).




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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
January       Claims                 01/28/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            5.6          0.8     $112.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/29/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            6.7 0.9571429        $134.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February      Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697          $0.51
2021          Disposition                                         and status of same (.4)
February      Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644          $4.63
2021          Operations
February      Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797          $2.64
2021          Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                  December 31, 2020 (.4)
February      Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048          $0.74
2021          Operations                                          of October 2020 accounting reports.
February      Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762          $4.27
2021          Operations                                          November and December and produce same in preparation for review.
February      Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762          $4.09
2021          Operations
February      Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857          $4.80
2021          Operations
February      Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048          $0.27
2021          Operations
February      Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571          $0.40
2021          Operations                                          reporting.
February      Claims                 02/01/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston            1.2 0.1714286         $24.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February      Claims                 02/15/21 JR              140 Review EBF mortgagee list and update with claim amounts from proof of claims applications            2.4 0.3428571         $48.00
2021          Administration                                      (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E
              & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue)
                                                                  (2.4)
February      Claims                 02/15/21 JR              140 review emails from S. Zjalic regarding EBF mortgagee claim amounts (7500-06 S Eggleston              0.2 0.0285714          $4.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

February      Claims                 02/16/21 JR              140 Review EB Mortgagee lists and update proof of claims loan amounts (7500-06 S Eggleston               1.6 0.2285714         $32.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.6)




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3030-32 E 79th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
March 2021 Business                  03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                  03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                  03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                  03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                  03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                             properties and produce same.
March 2021 Business                  03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                    03/03/21 JRW             260 Study notes regarding claims against funds (CCF1 and CCF2) (.3)                                     0.3         0.05      $13.00
           Administration
           & Objections

March 2021 Claims                    03/05/21 JR              140 Review email from J. Wine and further exchange correspondence with J. Wine related to the           0.5 0.0714286         $10.00
           Administration                                         claims distribution project (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S
           & Objections                                           Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                  Avenue, 7947-49 S Essex Avenue) (.5)
March 2021 Claims                    03/05/21 JR              140 update and provide requested content related to the claims distribution project (7500-06 S          1.2 0.1714286         $24.00
           Administration                                         Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
           & Objections                                           7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.2).

April 2021    Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
              Disposition
April 2021    Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
              Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021    Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
              Disposition                                         payment of same (see D) (.1)
April 2021    Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
              Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021    Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
              Disposition                                         reconciliation amounts (see D) (.3)
April 2021    Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619          $0.67
              Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021    Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873          $0.22
              Disposition                                         (.1)
April 2021    Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125        $0.44
              Disposition                                         (.2)
April 2021    Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524          $0.13
              Operations                                          respond accordingly (.1)


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3030-32 E 79th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
April 2021 Business                  04/07/21 JR              140 review November property financial reports (1.5).                                                       1.5 0.0142857          $2.00
           Operations
April 2021 Business                  04/09/21 JR              140 Review property financial reports.                                                                      3.2 0.0304762          $4.27
           Operations
May 2021 Business                    05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                        1.3    0.012381        $1.73
           Operations
June 2021 Business                   06/21/21 JR              140 further communicate with buyer's counsel on the purchase of certain property (3030-32 E                 0.1          0.1      $14.00
           Operations                                             79th Street) regarding property tax balances (.1)
June 2021 Business                   06/21/21 JR              140 Review mail related to various properties (3030-32 E 79th Street, 1102 Bingham (Houston,                0.2          0.1      $14.00
           Operations                                             TX)) (.2)
June 2021 Business                   06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                 0.5 0.0047619          $1.86
           Operations                                             and forward to accountant for use in preparation of reports (.5)
July 2021  Asset                     07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                    0.2 0.0018868          $0.26
           Disposition                                            regarding closed properties status (see D) (.2)
September Claims                     09/08/21 KBD             390 study correspondence and legal research regarding claims analysis (7500-06 S Eggleston                  0.4 0.0666667         $26.00
2021       Administration                                         Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S
           & Objections                                           Manistee Avenue, 7927-29 S Essex Avenue) (.4).

September Asset                      09/10/21 JR              140 Update records and forward tax bills for previously sold properties to buyers and buyer's               0.6 0.0666667          $9.33
2021      Disposition                                             counsel (7255-57 S Euclid Avenue, 3030-32 E 79th Street, 4533-37 S Calumet Avenue, 6217-
                                                                  27 S Dorchester Avenue, 5618-20 S Martin Luther King Avenue, 7026-42 S Cornell Avenue,
                                                                  6554-58 S Vernon Avenue, 8107-09 S Ellis Avenue, 4750-52 S Indiana Avenue) (.6)

September Claims                     09/08/21 AEP             390 Legal research and communication of findings to K. Duff and J. Wine in connection with                  1.7 0.2833333        $110.50
2021      Administration                                          analysis of claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                            Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                     09/08/21 JRW             260 legal research and related correspondence with A. Porter regarding analysis of findings (7301-          1.8          0.3      $78.00
2021      Administration                                          09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th
          & Objections                                            Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)

September Claims                     09/10/21 AEP             390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes          0.7 0.1166667         $45.50
2021      Administration                                          and legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                            Street, 2909-19 E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                     09/10/21 JRW             260 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds              0.7 0.1166667         $30.33
2021      Administration                                          (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E
          & Objections                                            78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)

September Claims                     09/10/21 JRW             260 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S              0.4 0.0666667         $17.33
2021      Administration                                          Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
          & Objections                                            8047-55 S Manistee Avenue) (.4)




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3030-32 E 79th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
September Claims                     09/10/21 MR          390 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S          0.7 0.1166667        $45.50
2021      Administration                                      Stewart Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street,
          & Objections                                        7549-59 S Essex Avenue, 8047- 55 S Manistee Avenue).




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                                2909-19 E 78th Street
General Allocation % (Pre 01/29/21):                                                 1.7919750%
General Allocation % (01/29/21 Onward, Claims Only):                            1.9256009114%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     13       2909-19 E 78th Street                                                        71.25      $             19,282.85                         146.21     $            34,111.59             217.46     $             53,394.44
                 Asset Disposition [4]                                                        3.77    $                 1,233.90                       107.72    $             24,141.11             111.49    $              25,375.01
                 Business Operations [5]                                                      3.79    $                 1,139.05                         19.38   $               6,093.00              23.17   $                  7,232.05
                 Claims Administration & Objections [6]                                     63.69     $              16,909.90                           19.12   $               3,877.49              82.80   $              20,787.39




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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2909-19 E 78th Street                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   146.21
Specific Allocation Fees:         $       34,111.59



   Invoice                                             Time                                                                                                                     Allocated    Allocated
               Billing Category       Entry Date               Rate                                         Task Description                                       Task Hours
   Month                                              Keeper                                                                                                                      Hours         Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)            0.4 0.0037736          $1.47
            Operations
August 2018 Business                      08/24/18 KBD           390 telephone conference with property manager, its counsel, and A. Porter regarding property            0.9 0.0230769          $9.00
            Operations                                               management and cash flow issues (.9)
August 2018 Business                      08/25/18 KBD           390 study profit and loss documents from property manager and draft correspondence to                    0.3 0.0076923          $3.00
            Operations                                               property manager regarding budget (.3)
August 2018 Business                      08/25/18 KBD           390 Telephone conference with A. Porter regarding discussions with property manager and                  0.5 0.0128205          $5.00
            Operations                                               business income and expenses (.5)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management                 0.6 0.0056604          $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property                 0.7 0.0066038          $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                     0.9 0.0084906          $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                   0.2 0.0018692          $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                       0.8 0.0075472          $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with other property manager (1.6)                                                               1.6 0.0410256         $16.00
            Operations
August 2018 Business                      08/29/18 KBD           390 study various correspondence from A. Porter regarding unpaid real estate taxes (.3)                  0.3         0.06      $23.40
            Operations
August 2018 Business                      08/29/18 KBD           390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736          $1.47
            Operations                                               issues (.4)
August 2018 Business                      08/30/18 KBD           390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302          $1.10
            Operations
August 2018 Business                      08/30/18 KBD           390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434          $0.37
            Operations
August 2018 Business                      08/31/18 KBD           390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038          $2.58
            Operations
August 2018 Asset                         08/31/18 NM            260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717        $1.23
            Disposition                                              emails regarding same.
August 2018 Business                      08/22/18 AEP           390 read letter received from counsel for other property manager and prepare response thereto            0.4 0.0102564          $4.00
            Operations                                               (.4).
August 2018 Business                      08/24/18 AEP           390 Meeting with counsel for property manager regarding potential resolution of issues relating          0.5 0.0128205          $5.00
            Operations                                               to unpaid receivables (.5)
August 2018 Business                      08/24/18 AEP           390 teleconference with other property manager and their attorney regarding management                   1.8 0.0461538         $18.00
            Operations                                               company concerns (1.8)




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                  1.5 0.0140187         $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                           0.5 0.0046729         $1.82
            Operations
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                 0.5 0.0046729         $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Business                 08/31/18 AEP         390 Meeting with K. Duff and management company representative regarding outstanding                    1.5 0.0384615        $15.00
            Operations                                        receivable.
September Asset                      09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                   0.1 0.0009346         $0.36
2018        Disposition
September Asset                      09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference              0.4 0.0037383         $1.46
2018        Disposition                                       with M. Rachlis regarding same (.4)
September Asset                      09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related          0.1 0.0009346         $0.36
2018        Disposition                                       information.
September Asset                      09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                      0.1 0.0009346         $0.36
2018        Disposition
September Asset                      09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                    0.1 0.0009346         $0.36
2018        Disposition
September Asset                      09/20/18 KBD         390 review correspondence from potential broker (.1)                                                    0.1 0.0009346         $0.36
2018        Disposition
September Asset                      09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                0.2 0.0018692         $0.73
2018        Disposition
September Asset                      09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                  0.1 0.0009346         $0.36
2018        Disposition                                       brokers (.1).
September Asset                      09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                  0.1 0.0009346         $0.36
2018        Disposition                                       reports.
September Business                   09/04/18 KBD         390 telephone conference with representatives of local property investment and management               0.5    0.004717       $1.84
2018        Operations                                        firm regarding interest in management, development, construction, and acquisition (.5)

September     Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding               0.7 0.0066038         $2.58
2018          Operations                                      receivership and property issues (.7)
September     Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                     0.7 0.0066038         $2.58
2018          Operations
September     Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                           2.5 0.0233645         $9.11
2018          Operations
September     Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                              0.2 0.0018692         $0.73
2018          Operations
September     Business               09/11/18 KBD         390 office conference with A. Porter regarding property manager compensation (.3)                       0.3 0.0076923         $3.00
2018          Operations
September     Business               09/12/18 KBD         390 study rent roll and financial information from property manager (.3)                                0.3 0.0076923         $3.00
2018          Operations


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September     Business               09/13/18 KBD         390 study rent rolls and profit and loss statements from property managers (.4)                            0.4 0.0102564         $4.00
2018          Operations
September     Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018          Operations                                      estate firm representatives (.1)
September     Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018          Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September     Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018          Operations                                      same (.1)
September     Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018          Operations                                      (.1)
September     Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018          Operations
September     Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018          Operations
September     Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018          Disposition
September     Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018          Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September     Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018          Disposition
September     Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018          Disposition
September     Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018          Disposition
September     Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018          Disposition
September     Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018          Disposition                                     when they will be ready (.1)
September     Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018          Disposition
September     Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018          Disposition
September     Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018          Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.
September     Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346         $0.36
2018          Disposition                                     statements for production to potential brokerage.
September     Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                 0.3 0.0028037         $1.09
2018          Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
September     Business               09/02/18 AEP         390 Read and revise proposed letter to EquityBuild management company regarding agreement                0.4 0.0102564         $4.00
2018          Operations                                      to continue service.
September     Business               09/03/18 AEP         390 Proofread, edit, and revise proposed letter to property management firm regarding accounts           0.2 0.0051282         $2.00
2018          Operations                                      receivable.
September     Business               09/04/18 AEP         390 Proofread, edit, and revise amended proposed letter to property management company                   0.2 0.0051282         $2.00
2018          Operations                                      regarding payment (.2)
September     Business               09/10/18 AEP         390 prepare proposed final draft of property manager agreement (.4).                                     0.4 0.0102564         $4.00
2018          Operations
September     Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                 0.3 0.0028037         $1.09
2018          Operations                                      with prospective brokers (.3)
September     Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                0.4 0.0037383         $1.46
2018          Operations                                      distribution (.4).
September     Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                 0.2 0.0018692         $0.49
2018          Operations                                      other expenses/money coming into receivership (.2)
September     Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                    0.1 0.0009434         $0.25
2018          Operations
October       Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018          Disposition                                     properties and debt ratio (.4).
October       Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018          Disposition
October       Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018          Disposition
October       Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018          Disposition                                     (2.7)
October       Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018          Disposition
October       Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                   1.7 0.0158879         $6.20
2018          Disposition
October       Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                0.7 0.0065421         $2.55
2018          Disposition
October       Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                             0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                     0.2 0.0018692         $0.73
2018          Disposition
October       Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                             2.1 0.0196262         $7.65
2018          Disposition
October       Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                    0.2 0.0018692         $0.73
2018          Disposition




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2909-19 E 78th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October       Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                     0.9 0.0084112         $3.28
2018          Disposition
October       Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018          Disposition
October       Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421         $2.55
2018          Disposition                                     terms and further background information(.7)
October       Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018          Disposition                                     (.3)
October       Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018          Disposition                                     regarding engagement of broker (.2)
October       Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018          Disposition
October       Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018          Disposition
October       Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018          Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October       Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018          Disposition
October       Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018          Disposition
October       Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018          Disposition
October       Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018          Operations                                      and tenant evictions (.2)
October       Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018          Operations                                      regarding scofflaw list (.1)
October       Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018          Operations                                      property managers (.4)
October       Business               10/15/18 KBD         390 meeting with other property manager regarding various property and financial issues (1.3)           1.3 0.0333333        $13.00
2018          Operations
October       Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018          Operations
October       Business               10/22/18 KBD         390 Study property manager monthly operating report (.3)                                                0.3 0.0076923         $3.00
2018          Operations
October       Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018          Operations                                      properties (.1)


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October       Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018          Administration
              & Objections

October       Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018          Administration
              & Objections

October       Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018          Disposition
October       Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018          Disposition                                     firms.
October       Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018          Disposition
October       Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018          Disposition
October       Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018          Disposition
October       Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018          Disposition                                     payments and sale of same, and property database.
October       Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018          Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October       Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018          Disposition
October       Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018          Disposition
October       Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018          Disposition                                     agreement and upcoming receivership tasks.
October       Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018          Disposition                                     agent (1.5).
October       Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018          Disposition                                     Duff and M. Rachlis.
October       Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018          Disposition
October       Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018          Disposition
October       Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018          Disposition
October       Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018          Disposition




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
October       Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                   0.3 0.0028037         $0.39
2018          Disposition
October       Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                                 0.1 0.0009346         $0.13
2018          Disposition
October       Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                   0.1 0.0009346         $0.13
2018          Disposition                                     retained broker (.1)
October       Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                       2.1 0.0196262         $5.10
2018          Disposition                                     engagement (2.1).
October       Asset                  10/15/18 AEP         390 meeting with other property manager regarding overview of properties in portfolio and                    1.5 0.0394737        $15.39
2018          Disposition                                     commencement of process of identifying assets for immediate sale (1.5)

October       Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.                 2.0 0.0186916         $7.29
2018          Disposition
October       Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                                0.1 0.0009346         $0.13
2018          Disposition
October       Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                      2.1 0.0196262         $7.65
2018          Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October       Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,                 2.0 0.0186916         $4.86
2018          Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October       Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                                   0.1 0.0009346         $0.13
2018          Operations
October       Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                       0.1 0.0009346         $0.13
2018          Operations
October       Business               10/19/18 AW          140 Communicate with A. Porter regarding reports from property manager (.1)                                  0.1 0.0026316         $0.37
2018          Operations
October       Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                            0.5 0.0046729         $1.82
2018          Administration
              & Objections

November      Asset                  11/09/18 KBD         390 Study draft motion for public sale, motion to file liquidation plan under seal, and liquidation          2.5 0.1388889        $54.17
2018          Disposition                                     plan (2.5)
November      Business               11/11/18 KBD         390 Study correspondence from E. Duff regarding financial reporting from property manager                    0.1 0.0025641         $1.00
2018          Operations                                      (Paper Street).
November      Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                  0.1 0.0009346         $0.36
2018          Operations                                      reporting and communications with asset manager (.1).
November      Business               11/16/18 KBD         390 study various financial reporting from property manager and communications to various                    0.2 0.0052632         $2.05
2018          Operations                                      lenders' representatives (.2)
November      Business               11/16/18 KBD         390 study property manager financial reporting (.4)                                                          0.4 0.0102564         $4.00
2018          Operations
November      Business               11/19/18 KBD         390 study correspondence from asset manager regarding outstanding real estate taxes (.1)                     0.1 0.0076923         $3.00
2018          Operations


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
November      Business               11/20/18 KBD         390 Draft correspondence to property manager representative regarding status of real estate               0.1 0.0026316         $1.03
2018          Operations                                      taxes ( .1)
November      Business               11/20/18 KBD         390 study correspondence from A. Porter regarding same (.1)                                               0.1 0.0026316         $1.03
2018          Operations
November      Claims                 11/12/18 KBD         390 study financial reporting (.4)                                                                        0.4 0.0102564         $4.00
2018          Administration
              & Objections

November      Asset                  11/16/18 AW          140 Attention to email regarding additional reports from management company (.1)                          0.1 0.0026316         $0.37
2018          Disposition
November      Asset                  11/16/18 AW          140 email broker regarding same (.1).                                                                     0.1 0.0026316         $0.37
2018          Disposition
November      Asset                  11/23/18 AEP         390 Research chain of corporate ownership for receivership entity (Chicago Capital Fund 2 LLC)            0.5 0.1666667        $65.00
2018          Disposition                                     and send all supporting documents to team.
November      Business               11/02/18 ED          390 review of related documents and financial information (.8)                                            0.8 0.0205128         $8.00
2018          Operations
November      Business               11/02/18 ED          390 email correspondence with property manager regarding financial reporting and source of                0.6 0.0153846         $6.00
2018          Operations                                      funds in lockbox (.6)
November      Business               11/02/18 ED          390 Review property income reporting information (.5)                                                     0.5 0.0131579         $5.13
2018          Operations
November      Business               11/05/18 ED          390 Review and discuss financial reporting with property manager.                                         0.8 0.0205128         $8.00
2018          Operations
November      Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                             0.3 0.0028037         $1.09
2018          Operations
November      Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                    0.5 0.0046729         $1.82
2018          Operations
November      Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and               0.2 0.0018692         $0.73
2018          Operations                                      property inspections by lenders (.2)
November      Business               11/12/18 NM          260 Study and respond to outstanding emails regarding code violations, lenders, property tax              0.4       0.025       $6.50
2018          Operations                                      appeals (.4)
November      Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                0.7 0.0065421         $2.55
2018          Operations                                      related issues (.7)
November      Claims                 11/12/18 ED          390 Review financial reporting and loan documentation relating to preparation of response to              2.3 0.0589744        $23.00
2018          Administration                                  motion of lender and confer with M. Rachlis regarding same (2.3)
              & Objections

December      Asset                  12/28/18 KBD         390 draft correspondence to real estate broker and A. Porter regarding real estate sale contract          0.1      0.0125       $4.88
2018          Disposition                                     and finalizing list for next group of properties to sell (.1).
December      Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                  0.1 0.0009434         $0.37
2018          Operations
December      Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                       0.4 0.0037736         $1.47
2018          Operations                                      representatives regarding property portfolio (.4)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
December      Business               12/12/18 KBD             390 prepare for meeting with counsel for city regarding property and housing issues (.7)                    0.7 0.0066038         $2.58
2018          Operations
December      Business               12/12/18 KBD             390 office conference with M. Rachlis regarding property management issues (.4)                             0.4 0.0037383         $1.46
2018          Operations
December      Business               12/12/18 KBD             390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509         $5.52
2018          Operations                                          repair planning, and receivership activities (1.5)
December      Business               12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018          Operations
December      Business               12/19/18 KBD             390 study correspondence from property manager regarding financial reporting for lenders (.2)               0.2 0.0051282         $2.00
2018          Operations
December      Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018          Operations                                          issues (2.8)
December      Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018          Operations
December      Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018          Operations                                          to address City violations and his plan for same (1.3)
December      Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018          Operations
December      Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018          Operations
December      Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018          Operations                                          with K. Duff and N. Mirjanich.
December      Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018          Operations                                          Rachlis and K. Duff regarding same (2.5)
December      Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018          Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                  properties with violations (1.5)
December      Business               12/21/18 ED              390 Review November property financial reporting for mortgaged properties.                                  0.9 0.0236842         $9.24
2018          Operations
December      Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018          Operations                                          properties with respective management companies in charge of their water bill payments
                                                                  and reported findings to N. Mirjanich.
January       Asset                  01/04/19 KBD             390 Draft correspondence to A. Porter regarding property sales and tax appeals.                             0.1 0.0076923         $3.00
2019          Disposition
January       Asset                  01/07/19 KBD             390 study portfolio summary and draft correspondence to E. Duff regarding second tranche of                 0.2 0.0166667         $6.50
2019          Disposition                                         property sales (.2)
January       Asset                  01/25/19 KBD             390 study draft motion for approval of second group of properties and bid procedures (.3).                  0.3       0.025       $9.75
2019          Disposition
January       Asset                  01/30/19 KBD             390 Study motion to approve sale of second group of properties, notice for publication, and                 0.9       0.075      $29.25
2019          Disposition                                         sealed bid instructions.
January       Business               01/15/19 KBD             390 study property manager financial reporting (.5)                                                         0.5 0.0128205         $5.00
2019          Operations




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
January       Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                              0.1 0.0009434          $0.37
2019          Operations
January       Business               01/16/19 KBD         390 Exchange correspondence with N. Mirjanich regarding housing court notice, heat issue, and               0.3       0.075       $29.25
2019          Operations                                      scaffolding (.3)
January       Business               01/20/19 KBD         390 Study correspondence from property manager regarding repair cost estimates (2909-19 E                   0.1          0.1      $39.00
2019          Operations                                      78th Street).
January       Business               01/22/19 KBD         390 study various correspondence from property managers and asset management firm                           0.5 0.0714286         $27.86
2019          Operations                                      representative regarding same (.5)
January       Business               01/22/19 KBD         390 Confer with and draft correspondence to N. Mirjanich regarding numerous property repair                 0.8 0.1142857         $44.57
2019          Operations                                      issues and planning (.8)
January       Business               01/22/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                             0.1 0.0142857          $5.57
2019          Operations
January       Business               01/22/19 KBD         390 study operating reports and exchange correspondence with asset manager regarding same                   0.5 0.0714286         $27.86
2019          Operations                                      (.5).
January       Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                  0.2 0.0018868          $0.74
2019          Operations                                      officials regarding scofflaw list (.2).
January       Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                 0.1 0.0009434          $0.37
2019          Operations                                      portfolio compliance and disposition issues (.1)
January       Claims                 01/23/19 KBD         390 study correspondence from property manager regarding canopy installation (2909 E 78th)                  0.1          0.1      $39.00
2019          Administration                                  (.1)
              & Objections

January       Claims                 01/23/19 KBD         390 Study correspondence from lender and property manager regarding various repair, lease,                  0.1 0.0090909          $3.55
2019          Administration                                  and unit turn issues (.1)
              & Objections

January       Asset                  01/03/19 AEP         390 teleconference with receivership team regarding selection of second tranche of properties               0.4 0.0333333         $13.00
2019          Disposition                                     for marketing and public sale (.4)
January       Asset                  01/07/19 AEP         390 Review files and complete title examination orders with legal descriptions, PIN's, and current          3.6          0.3     $117.00
2019          Disposition                                     titleholders for all properties in second marketing tranche.
January       Asset                  01/08/19 AEP         390 compile list of addresses, legal descriptions, and PINs for properties in first and second              0.6         0.05      $19.50
2019          Disposition                                     marketing tranches and send to prospective surveyor (.6).
January       Asset                  01/09/19 NM          260 Draft motion to approve process for public sale and create spreadsheet regarding                        1.7 0.1416667         $36.83
2019          Disposition                                     outstanding water debt and code violations for same (1.7)
January       Asset                  01/10/19 AEP         390 teleconference with receivership broker regarding financing contingency language to be                  0.3       0.025        $9.75
2019          Disposition                                     inserted into form purchase and sale agreements in second round and other miscellaneous
                                                              issues (.3)
January       Asset                  01/10/19 AEP         390 Prepare title order forms for all properties in second marketing tranche (1.5)                          1.5       0.125       $48.75
2019          Disposition
January       Asset                  01/14/19 AEP         390 Teleconference with receivership broker regarding status of closing process for first                   0.2 0.0111111          $4.33
2019          Disposition                                     marketing tranche and expectations regarding timing of commencement of marketing of
                                                              second tranche (.2)




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
January       Asset                  01/16/19 NM          260 Revise motion to approve public sale process for second round of property sales and revise               1.0 0.0555556         $14.44
2019          Disposition                                     motion for court approval of the sale of the first round of properties and correspond with A.
                                                              Porter regarding documents from title company for same.
January       Asset                  01/21/19 NM          260 revise motion to approve process for public sale (.3)                                                    0.3       0.025        $6.50
2019          Disposition
January       Asset                  01/22/19 AEP         390 Review and sign survey orders for properties in second marketing tranche (.2)                            0.2 0.0166667          $6.50
2019          Disposition
January       Asset                  01/22/19 AEP         390 teleconference with title company regarding itemization of all released or unreleased                    0.2 0.0222222          $8.67
2019          Disposition                                     mortgagees on title commitments for properties presently or previously encumbered by EBF
                                                              loans (.2)
January       Asset                  01/22/19 NM          260 correspond with real estate broker regarding properties (2909 E. 78th Street, 7750 S.                    0.3          0.1      $26.00
2019          Disposition                                     Muskegon, and 4520 S. Drexel) and correspond with K. Duff regarding same (.3)
January       Asset                  01/22/19 NM          260 correspond with K. Duff regarding property sales (.5).                                                   0.5      0.0625       $16.25
2019          Disposition
January       Asset                  01/22/19 NM          260 Revise motion to approve process for public sale and study bid instructions for mortgage                 0.2 0.0166667          $4.33
2019          Disposition                                     contingency language (.2)
January       Asset                  01/24/19 AEP         390 teleconference with receivership broker regarding ripple effects of government shutdown on               0.3       0.025        $9.75
2019          Disposition                                     marketing process and proposed revisions to second tranche bid instructions (.3)

January       Asset                  01/24/19 NM          260 Revise motion to approve the process for the sale of the second round of properties (.2)                 0.2       0.025        $6.50
2019          Disposition
January       Asset                  01/25/19 NM          260 Revise motion to approve the process for the sale of the second round of properties and                  0.4         0.05      $13.00
2019          Disposition                                     send to K. Duff, M. Rachlis, and A. Porter for comment (.4)
January       Business               01/21/19 NM          260 summarize status of outstanding City litigation and further revise spreadsheet for same (.6).            0.6         0.12      $31.20
2019          Operations
January       Business               01/22/19 AEP         390 work to organize closing statements from refinances of properties in first two marketing                 0.4 0.0222222          $8.67
2019          Operations                                      tranches (.4).
January       Business               01/22/19 KMP         140 Prepare wire transfer request for payment of December rent expenses to property manager,                 0.3 0.0076923          $1.08
2019          Operations                                      and conferences with K. Duff and communications with bank representative relating to
                                                              same.
January       Business               01/22/19 MR          390 Attention to issues regarding EquityBuild property (.3)                                                  0.3          0.3     $117.00
2019          Operations
January       Business               01/23/19 MR          390 Attention to various communications on property issues and communicate with N. Mirjanich                 0.4 0.1333333         $52.00
2019          Operations                                      regarding same.
January       Business               01/23/19 NM          260 attention to outstanding City litigation matters including exchanging correspondence with                0.6          0.3      $78.00
2019          Operations                                      City attorney and property manager regarding properties (7109 S. Calumet and 2909 E. 78th
                                                              Street) (.6)
February      Asset                  02/01/19 KBD         390 study motion to approve second group of properties and related bid procedures (.4).                      0.4 0.0333333         $13.00
2019          Disposition
February      Asset                  02/01/19 KBD         390 telephone conference with real estate broker regarding sale of first listed properties, listing          0.6 0.0333333         $13.00
2019          Disposition                                     of second set of properties (.6)
February      Asset                  02/05/19 KBD         390 Office conference with M. Rachlis regarding sales proceeds issues, claims process, and sale              0.3       0.025        $9.75
2019          Disposition                                     process and disclosure of sales prices.


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
February      Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser                0.1 0.0009346         $0.36
2019          Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February      Asset                  02/11/19 KBD         390 additional telephone conference with real estate broker representatives regarding listing                0.2 0.0133333         $5.20
2019          Disposition                                     prices for next group of properties to sale (.2)
February      Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).           0.2 0.0018868         $0.74
2019          Disposition
February      Asset                  02/13/19 KBD         390 exchange correspondence with N. Mirjanich regarding same (.1)                                            0.1 0.0083333         $3.25
2019          Disposition
February      Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                         0.6 0.0056604         $2.21
2019          Disposition
February      Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                  0.2 0.0018868         $0.74
2019          Disposition
February      Asset                  02/14/19 KBD         390 work through same and additional motions being prepared for filing with N. Mirjanich (.5)                0.5 0.0416667        $16.25
2019          Disposition
February      Asset                  02/15/19 KBD         390 study and revise motion relating to same (.2)                                                            0.2 0.0166667         $6.50
2019          Disposition
February      Asset                  02/15/19 KBD         390 several lengthy discussions with A. Porter, M. Mirjanich, and A. Watychowicz regarding three             1.7 0.0944444        $36.83
2019          Disposition                                     motions filed (1.7)
February      Asset                  02/15/19 KBD         390 confer with A. Porter and N. Mirjanich regarding motion to approve listing of second tranche             0.2 0.0166667         $6.50
2019          Disposition                                     of properties for sale (.2)
February      Asset                  02/15/19 KBD         390 telephone conference with M. Rachlis and N. Mirjanich regarding same and changes to sale                 0.1 0.0083333         $3.25
2019          Disposition                                     process description and presentment to court (.1)
February      Asset                  02/18/19 KBD         390 conference with real estate broker regarding portfolio analysis, pricing for second listing of           1.9 0.1583333        $61.75
2019          Disposition                                     properties, prioritization of properties for sale (1.9)
February      Asset                  02/18/19 KBD         390 attention to communications with lenders counsel regarding payoff letters with M. Rachlis                0.2 0.0166667         $6.50
2019          Disposition                                     and A. Porter (.2)
February      Asset                  02/18/19 KBD         390 Exchange correspondence with M. Rachlis regarding communications with lenders counsel                    0.4 0.0333333        $13.00
2019          Disposition                                     regarding second sale of properties (.4)
February      Asset                  02/19/19 KBD         390 Study lender objections to second motion to approve sale of properties (.3)                              0.3       0.025       $9.75
2019          Disposition
February      Asset                  02/21/19 KBD         390 Discuss lender inquiry regarding anticipated property sales listing prices with M. Rachlis (.1)          0.1 0.0083333         $3.25
2019          Disposition
February      Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                       0.3 0.0028037         $1.09
2019          Operations
February      Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich               0.4 0.0037383         $1.46
2019          Operations                                      (.4)
February      Business               02/08/19 KBD         390 study correspondence from property manager and E. Duff regarding financial reporting (.2).               0.2 0.0051282         $2.00
2019          Operations
February      Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                    0.1 0.0009346         $0.36
2019          Operations
February      Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                  0.1 0.0009346         $0.36
2019          Operations                                      issue (.1).


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  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
February      Business               02/14/19 KBD         390 further telephone conference with A. Porter regarding title company and proposed order on            0.3       0.025        $9.75
2019          Operations                                      motion to approve real estate (.3).
February      Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm              0.1 0.0009346          $0.36
2019          Operations                                      representative (.1)
February      Business               02/15/19 KBD         390 study property manager financial reporting (.5).                                                     0.5 0.0128205          $5.00
2019          Operations
February      Business               02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                         0.1       0.005        $1.95
2019          Operations
February      Business               02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real            0.6         0.03      $11.70
2019          Operations                                      estate taxes and lender communications (.6).
February      Business               02/21/19 KBD         390 study correspondence from E. Duff regarding property manager financial reporting (.1)                0.1 0.0025641          $1.00
2019          Operations
February      Business               02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                   0.1       0.005        $1.95
2019          Operations
February      Business               02/22/19 KBD         390 review correspondence from E. Duff regarding property managers financial reporting (.1).             0.1 0.0025641          $1.00
2019          Operations
February      Business               02/25/19 KBD         390 study correspondence from E. Duff and property manager regarding net income information              0.3 0.0076923          $3.00
2019          Operations                                      and financial reporting (.3)
February      Business               02/26/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0102564          $4.00
2019          Operations
February      Business               02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                  1.1       0.055       $21.45
2019          Operations
February      Business               02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                              3.9       0.195       $76.05
2019          Operations
February      Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property              0.1 0.0009434          $0.37
2019          Operations                                      maintenance and repairs (.1)
February      Business               02/28/19 KBD         390 Exchange correspondence and telephone conference with property manager regarding real                0.3 0.0076923          $3.00
2019          Operations                                      estate taxes (.3)
February      Business               02/28/19 KBD         390 study various financial reporting from property manager (.9)                                         0.9 0.0236842          $9.24
2019          Operations
February      Business               02/28/19 KBD         390 study financial reporting from property manager (.3)                                                 0.3 0.0076923          $3.00
2019          Operations
February      Claims                 02/21/19 KBD         390 telephone conference with property manager and E. Duff regarding rent accounting and                 0.4 0.0102564          $4.00
2019          Administration                                  reporting to comply with court order (.4).
              & Objections

February      Asset                  02/01/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lenders           0.4 0.0222222          $5.78
2019          Disposition                                     for same (.4).
February      Asset                  02/02/19 AEP         390 Review newly-received administrative and housing court complaints relating to properties in          0.1 0.0083333          $3.25
2019          Disposition                                     second marketing tranche (.1)
February      Asset                  02/03/19 MR          390 Issues on motion on sales process.                                                                   0.7 0.0583333         $22.75
2019          Disposition




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
February      Asset                  02/04/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lender                0.5 0.0277778          $7.22
2019          Disposition                                     issues for same (.5)
February      Asset                  02/04/19 NM          260 study comments from M. Rachlis on motion to approve process of second sale of properties                 0.1 0.0083333          $2.17
2019          Disposition                                     (.1).
February      Asset                  02/08/19 AEP         390 conference call with receivership broker regarding status of motions to approve sales of                 0.2 0.0111111          $4.33
2019          Disposition                                     properties in first and second marketing tranches and related issues (.2)
February      Asset                  02/11/19 NM          260 correspond with K. Duff, M. Rachlis, and real estate broker regarding sale prices for the                0.1 0.0083333          $2.17
2019          Disposition                                     second sale of properties (.1).
February      Asset                  02/12/19 MR          390 Conferences and review of e-mails regarding sale of properties and review of draft motion                1.6 0.1333333         $52.00
2019          Disposition                                     and order regarding same.
February      Asset                  02/14/19 NM          260 Correspond with K. Duff and A. Porter regarding motion to approve the sale of the first                  1.8          0.1      $26.00
2019          Disposition                                     tranche of properties and motion to approve the process for the second sale (1.8)

February      Asset                  02/15/19 AW          140 work on filing of motions, accompanying exhibits, and notices (1.6).                                     1.6 0.0888889         $12.44
2019          Disposition
February      Asset                  02/15/19 AW          140 attention to exchanges regarding multiple revisions to motions and exhibits (.5)                         0.5 0.0277778          $3.89
2019          Disposition
February      Asset                  02/15/19 NM          260 revise motion to approve the process for the second sale and correspond with K. Duff, A.                 1.5       0.125       $32.50
2019          Disposition                                     Porter, and A. Watychowicz regarding filing of same (1.5).
February      Asset                  02/17/19 MR          390 Conferences regarding terms for motion and follow up on e-mails regarding motion for                     0.3       0.025        $9.75
2019          Disposition                                     second motion for sale.
February      Asset                  02/18/19 MR          390 Follow up on various e-mails and issues raised regarding sale of second tranche of properties            0.4 0.0333333         $13.00
2019          Disposition                                     (.4)
February      Asset                  02/18/19 MR          390 further meetings regarding issues on same (2.0).                                                         2.0 0.1333333         $52.00
2019          Disposition
February      Asset                  02/18/19 NM          260 update spreadsheet for code violations for the second tranche of properties for A. Porter                0.3       0.025        $6.50
2019          Disposition                                     (.3).
February      Asset                  02/18/19 NM          260 further correspond with K. Duff, M. Rachlis, and A. Porter regarding same (.5)                           0.5 0.0185185          $4.81
2019          Disposition
February      Asset                  02/18/19 NM          260 strategy and planning with real estate broker and K. Duff, M. Rachlis, and A. Porter regarding           1.9 0.1266667         $32.93
2019          Disposition                                     disposition of second tranche, third tranche, and possible other properties to dispose of (1.9)

February      Asset                  02/19/19 MR          390 Attention to preparation for upcoming hearing on various motions (1.2)                                   1.2 0.0666667         $26.00
2019          Disposition
February      Asset                  02/19/19 NM          260 correspond with M. Rachlis regarding same (.1)                                                           0.1 0.0055556          $1.44
2019          Disposition
February      Asset                  02/19/19 NM          260 correspond with E. Duff regarding the second tranche of property sales (.2)                              0.2 0.0166667          $4.33
2019          Disposition
February      Asset                  02/19/19 NM          260 Study objections to the motion to approve the sale of the first tranche and to approve the               0.9         0.05      $13.00
2019          Disposition                                     process for the second tranche and correspond (.9)
February      Asset                  02/20/19 NM          260 Study and exchange correspondence regarding properties in the second tranche of sale (.1)                0.1 0.0083333          $2.17
2019          Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
February      Asset                  02/25/19 AEP             390 Meeting with J. Rak regarding all presently outstanding closing-related tasks associated with             1.3 0.0722222         $28.17
2019          Disposition                                         sales of properties in first marketing tranche and information to be assembled and
                                                                  populated into closing checklists for properties in second marketing tranche (1.3)

February      Asset                  02/25/19 JR              140 Exchange correspondence with A. Porter regarding the second tranche checklist update (.1)                 0.1 0.0083333          $1.17
2019          Disposition
February      Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019          Operations                                          violation (.2)
February      Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019          Operations                                          in receivership portfolio (1.9).
February      Business               02/11/19 KMP             140 Conference with N. Mirjanich and A. Watychowicz regarding method and timing for                           0.3       0.025        $3.50
2019          Operations                                          providing notice of upcoming listing of additional receivership properties for sale, and
                                                                  further conferences with A. Watychowicz regarding form of notice.
February      Business               02/19/19 ED              390 call with property manager and K. Duff regarding segregation of rents for properties and                  0.4 0.0102564          $4.00
2019          Operations                                          related reporting issues (.4)
February      Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019          Operations
February      Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for                0.2         0.01       $3.90
2019          Operations                                          K. Duff, specifying date of upcoming tax sale.
February      Business               02/21/19 ED              390 call and email correspondence with A. Porter regarding operating expenses (.2)                            0.2 0.0051282          $2.00
2019          Operations
February      Business               02/21/19 ED              390 Call with property manager and K. Duff regarding accounting procedures (.6)                               0.6 0.0153846          $6.00
2019          Operations
February      Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019          Operations
February      Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                          0.6         0.03      $11.70
2019          Operations
February      Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                     4.4         0.22      $85.80
2019          Operations                                          property taxes.
February      Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                   0.2 0.0018868          $0.26
2019          Operations                                          with court order and issues relating to same (.2)
February      Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                               0.8         0.04      $15.60
2019          Operations
February      Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                                   0.3 0.0028302          $1.10
2019          Operations
February      Claims                 02/19/19 MR              390 Review various objections filed to various motions (.6)                                                   0.6         0.05      $19.50
2019          Administration
              & Objections

February      Claims                 02/22/19 KMP             140 Further communications and planning with N. Mirjanich regarding status and timing of filing               0.2 0.0166667          $2.33
2019          Administration                                      motion to approve claims process.
              & Objections




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2909-19 E 78th Street                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Asset                     03/05/19 KBD         390 Telephone conference with asset manager regarding court approval process and timing (.2)              0.2 0.0166667         $6.50
           Disposition
March 2019 Asset                     03/07/19 KBD         390 office conference with M. Rachlis regarding communications with lenders' counsel regarding            0.3       0.025       $9.75
           Disposition                                        motion to approve sale of second tranche of properties, priority issues, and lenders' credit
                                                              bid requests (.3).
March 2019 Asset                     03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of                0.1 0.0009804         $0.38
           Disposition                                        properties for sale (.1)
March 2019 Asset                     03/07/19 KBD         390 draft correspondence to broker same (.1)                                                              0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                     03/08/19 KBD         390 study order regarding motion to approve second sale and office conference with M. Rachlis             0.1 0.0083333         $3.25
           Disposition                                        regarding (.1).
March 2019 Asset                     03/12/19 KBD         390 conference with asset manager and counsel regarding properties sales, listings, strategy,             1.8 0.0545455        $21.27
           Disposition                                        valuation, and timing (1.8)
March 2019 Asset                     03/16/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding lenders'                     0.2 0.0166667         $6.50
           Disposition                                        objections as to efforts to sell properties.
March 2019 Asset                     03/18/19 KBD         390 appear for hearing before Judge Kim regarding motions to approve listing and sale of                  2.5 0.1388889        $54.17
           Disposition                                        properties (2.5).
March 2019 Asset                     03/18/19 KBD         390 Prepare for hearing before Judge Kim regarding motions to approve listing and sale of                 0.5 0.0277778        $10.83
           Disposition                                        properties (.5)
March 2019 Asset                     03/18/19 KBD         390 various discussions with M. Rachlis, real estate broker, A. Porter regarding same (.5)                0.5 0.0277778        $10.83
           Disposition
March 2019 Asset                     03/27/19 KBD         390 telephone conference with M. Rachlis, A. Porter, and J. Rak regarding property manager liens          0.2 0.0111111         $4.33
           Disposition                                        and closing costs (.2).
March 2019 Business                  03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/01/19 KBD         390 draft correspondence to property manager regarding accounting, reporting, and compliance              0.8 0.0205128         $8.00
           Operations                                         with Court's order regarding rent (.8)
March 2019 Business                  03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346         $0.36
           Operations                                         payment issues and logistics (.1)
March 2019 Business                  03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692         $0.73
           Operations
March 2019 Business                  03/01/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0025641         $1.00
           Operations
March 2019 Business                  03/05/19 KBD         390 exchange correspondence with property manager regarding call to discuss accounting                    0.1 0.0025641         $1.00
           Operations                                         practices (.1)
March 2019 Business                  03/05/19 KBD         390 office conference with E. Duff regarding same (.1)                                                    0.1 0.0025641         $1.00
           Operations
March 2019 Business                  03/05/19 KBD         390 telephone conference with property manager and E. Duff regarding property financial                   0.9 0.0230769         $9.00
           Operations                                         information, expenses, and accounting procedures (.9)
March 2019 Business                  03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                         former counsel relating to notices of property violations (.1).




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
March 2019 Business                  03/12/19 KBD         390 study correspondence from property manager regarding cash balances and cash flow (.2).              0.2 0.0051282          $2.00
           Operations
March 2019 Business                  03/12/19 KBD         390 Study property manager financial reports and profit and loss reporting (.2)                         0.2 0.0051282          $2.00
           Operations
March 2019 Business                  03/13/19 KBD         390 draft correspondence to property manager regarding cash flow and property management                0.1 0.0025641          $1.00
           Operations                                         issues and exchange correspondence with M. Rachlis regarding same (.1).

March 2019 Business                  03/19/19 KBD         390 exchange correspondence with property manager regarding funds for property use (.1)                 0.1 0.0025641          $1.00
           Operations
March 2019 Business                  03/19/19 KBD         390 telephone conference with property manager and E. Duff regarding property management,               0.5 0.0128205          $5.00
           Operations                                         property financial analysis, proceeds from sale, timing, court hearing on real estate sale
                                                              motions, and property manager receivable (.5)
March 2019 Business                  03/19/19 KBD         390 telephone conference with E. Duff regarding same (.1)                                               0.1 0.0025641          $1.00
           Operations
March 2019 Business                  03/19/19 KBD         390 Telephone conference with property manager regarding use of net operating income to pay             0.2 0.0051282          $2.00
           Operations                                         outstanding taxes or for other property repair or improvements (.2)

March 2019 Business                  03/20/19 KBD         390 Discuss property manager work with M. Rachlis (.4)                                                  0.4 0.0102564          $4.00
           Operations
March 2019 Business                  03/21/19 KBD         390 study property manager financial reporting and draft correspondence to asset manager                0.4 0.0102564          $4.00
           Operations                                         regarding same (.4)
March 2019 Business                  03/22/19 KBD         390 study profit and loss information from property manager (.2)                                        0.2 0.0052632          $2.05
           Operations
March 2019 Business                  03/26/19 KBD         390 office conference with and study correspondence from N. Mirjanich regarding housing court           0.2          0.2      $78.00
           Operations                                         case (2909 E 78th) (.2).
March 2019 Business                  03/26/19 KBD         390 Study correspondence from property manager and exchange correspondence with asset                   0.4 0.0102564          $4.00
           Operations                                         manager regarding property costs analysis and planning (.4)
March 2019 Business                  03/28/19 KBD         390 exchange correspondence with E. Duff and M. Rachlis regarding proposal for addressing               1.3 0.0333333         $13.00
           Operations                                         property management and cash flow (1.3)
March 2019 Business                  03/28/19 KBD         390 Telephone conference and exchange correspondence with property manager regarding                    1.5 0.0384615         $15.00
           Operations                                         unpaid expenses, payment concerns, and determining means of continuing with property
                                                              management (1.5)
March 2019 Business                  03/28/19 KBD         390 draft correspondence to property manager regarding same (.4).                                       0.4 0.0102564          $4.00
           Operations
March 2019 Business                  03/28/19 KBD         390 various discussions with E. Duff and A. Porter regarding same (.7)                                  0.7 0.0179487          $7.00
           Operations
March 2019 Business                  03/28/19 KBD         390 study analysis of negative cash flow and telephone conference with asset management                 0.3 0.0076923          $3.00
           Operations                                         representative regarding same (.3)
March 2019 Business                  03/28/19 KBD         390 exchange correspondence with E. Duff regarding property manager fund transfer (.2)                  0.2 0.0051282          $2.00
           Operations
March 2019 Business                  03/29/19 KBD         390 study correspondence from property manager regarding proposal to resolve property                   0.3 0.0076923          $3.00
           Operations                                         management and expense issues (.3)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
March 2019 Asset                     03/04/19 MR              390 Follow up on issues regarding sales of first tranche and pending motion on second tranche of              0.7 0.0388889         $15.17
           Disposition                                            properties.
March 2019 Asset                     03/05/19 JR              140 Create closing checklists for the second tranche and identify property information for same               2.5 0.2083333         $29.17
           Disposition                                            including taxes and delinquencies of same, exemptions, property management information,
                                                                  owner of record, PIN[s], number of units, square footage from assessors site and other
                                                                  miscellaneous information.
March 2019 Asset                     03/05/19 MR              390 Conferences with E. Duff regarding appraisal issues.                                                      0.4 0.0222222          $8.67
           Disposition
March 2019 Asset                     03/06/19 AEP             390 Meeting with J. Rak to update and amend closing checklists for first and second marketing                 1.5       0.125       $48.75
           Disposition                                            tranches (1.5)
March 2019 Asset                     03/08/19 AEP             390 meeting with J. Rak to discuss process for reviewing title documents and chain of title in                0.7 0.0583333         $22.75
           Disposition                                            connection with preparation of title commitments for properties in second marketing
                                                                  tranche (.7)
March 2019 Asset                     03/08/19 NM              260 correspond with K. Pritchard regarding correspondence to all lenders who filed objections to              0.2 0.0166667          $4.33
           Disposition                                            the motion to approve second sale process (.2).
March 2019 Asset                     03/12/19 MR              390 Prepare for and participate in upcoming meeting with SVN on various issues and upcoming                   2.3 0.1277778         $49.83
           Disposition                                            hearing.
March 2019 Asset                     03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381         $24.76
           Disposition                                            disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                     03/17/19 AEP             390 Meeting with M. Rachlis to review objections to motions to approve sales of properties in                 2.0 0.1111111         $43.33
           Disposition                                            first tranche and marketing of properties in second tranche and prepare responses thereto.

March 2019 Asset                     03/18/19 MR              390 follow up conferences regarding various objections, hearing and strategy moving forward                   0.9         0.05      $19.50
           Disposition                                            with K. Duff, E. Duff, and A. Porter (.9).
March 2019 Asset                     03/18/19 MR              390 Prepare for hearing including review of various motions and relating documents and work                   4.5         0.25      $97.50
           Disposition                                            through same in several discussions with K. Duff and A. Porter (4.5)
March 2019 Asset                     03/18/19 MR              390 and argue various motions regarding sales of properties before magistrate judge (2.5)                     2.5 0.1388889         $54.17
           Disposition
March 2019 Asset                     03/19/19 AEP             390 teleconference with J. Rak regarding status of preparation of examiner's worksheets relating              0.5 0.0277778         $10.83
           Disposition                                            to properties in second marketing tranche, sequencing of preparation of conveyance
                                                                  documents associated with properties in first sales tranche, and water certificate issues (.5)

March 2019 Asset                     03/20/19 AEP             390 teleconferences with J. Rak regarding preparation of water certificates, progress of title                0.3       0.025        $9.75
           Disposition                                            examinations relating to properties in second marketing tranche, and other closing-related
                                                                  issues (.3)
March 2019 Asset                     03/20/19 AEP             390 teleconferences with two outside brokers seeking information regarding timing of marketing                0.2 0.0166667          $6.50
           Disposition                                            of second marketing tranche (.2)
March 2019 Asset                     03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                      0.2 0.0222222          $3.11
           Disposition                                            certain closing documents relating to sale of properties.
March 2019 Asset                     03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                       0.1 0.0111111          $1.56
           Disposition




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  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
March 2019 Asset                     03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary              0.2 0.0222222          $3.11
           Disposition                                            for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                     03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,          0.2 0.0019048          $0.74
           Disposition                                            potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                     03/27/19 JR              140 Worked with A. Porter on title review for properties in the second tranche (4.8)                     4.8          0.4      $56.00
           Disposition
March 2019 Asset                     03/27/19 JR              140 itemized spreadsheet to reflect past due tax bills from 2017 for payment (.3)                        0.3       0.025        $3.50
           Disposition
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                 1.5 0.0140187          $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/04/19 KMP             140 review ledger to track receipts and disbursements to property manager for status                     0.2 0.0051282          $0.72
           Operations                                             communication with lenders (.2)
March 2019 Business                  03/05/19 ED              390 call with K. Duff and property manager regarding accounting for properties net income and            0.9 0.0230769          $9.00
           Operations                                             net loss (.9)
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all              1.8 0.0168224          $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                              0.2 0.0018692          $0.26
           Operations
March 2019 Business                  03/05/19 MR              390 attention to letter on code issues (.1).                                                             0.1 0.0009346          $0.36
           Operations
March 2019 Business                  03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                      0.1 0.0009346          $0.24
           Operations
March 2019 Business                  03/08/19 KMP             140 Attention to minute entries relating to motions to approve sale of properties and to amend           0.1 0.0083333          $1.17
           Operations                                             appointing order (.1)
March 2019 Business                  03/09/19 MR              390 Communications regarding schedules for upcoming hearings and various emails regarding                0.3       0.025        $9.75
           Operations                                             same.
March 2019 Business                  03/14/19 ED              390 review list of properties pending CHA move-ins and email to A. Watychowicz regarding same            0.5         0.05      $19.50
           Operations                                             (.5).
March 2019 Business                  03/14/19 MR              390 Conference with E. Duff and K. Duff regarding issues with property managers.                         1.0    0.025641       $10.00
           Operations
March 2019 Business                  03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same           1.8 0.0168224          $4.37
           Operations                                             (1.8)
March 2019 Business                  03/18/19 MR              390 Participate in call regarding properties with E. Duff (.6)                                           0.6 0.0153846          $6.00
           Operations
March 2019 Business                  03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692          $0.49
           Operations                                             (.2).
March 2019 Business                  03/19/19 ED              390 call with property manager with K. Duff to discuss property expenses (.6).                           0.6 0.0153846          $6.00
           Operations
March 2019 Business                  03/22/19 AW              140 follow up with K. Duff and confer regarding accounting information and review spreadsheet            0.3 0.0078947          $1.11
           Operations                                             (.3)
March 2019 Business                  03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346          $0.13
           Operations


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                   Hours         Fees
March 2019 Business                  03/22/19 ED          390 call with property manager regarding same (.1).                                                   0.1 0.0025641          $1.00
           Operations
March 2019 Business                  03/22/19 MR          390 prepare for meetings with City (.3)                                                               0.3 0.0028302          $1.10
           Operations
March 2019 Business                  03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                          0.5    0.004717        $1.84
           Operations
March 2019 Business                  03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                         0.2 0.0018868          $0.74
           Operations
March 2019 Business                  03/26/19 NM          260 Study and respond to outstanding emails relating to creditor invoices, subpoenas, issues          0.3          0.1      $26.00
           Operations                                         relating to City litigation, and outstanding utility account balances (.3)
March 2019 Business                  03/28/19 AEP         390 conference call with K. Duff and property management company principals regarding                 0.8 0.0205128          $8.00
           Operations                                         property management company issue (.8)
March 2019 Business                  03/28/19 AEP         390 conference with K. Duff and E. Duff regarding options for resolving accounts receivable           2.5 0.0641026         $25.00
           Operations                                         issues (2.5)
March 2019 Business                  03/28/19 ED          390 meeting with K. Duff and A. Porter (1.3)                                                          1.3 0.1857143         $72.43
           Operations
March 2019 Business                  03/28/19 ED          390 review and revise draft agreement (.4)                                                            0.4 0.0102564          $4.00
           Operations
March 2019 Business                  03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                     1.6 0.0202532          $7.90
           Operations
March 2019 Business                  03/28/19 ED          390 call with property manager regarding sources of funds for payment of property taxes,              0.7 0.0179487          $7.00
           Operations                                         utilities, and past due amounts to property manager (.7)
March 2019 Business                  03/28/19 NM          260 correspond with K. Duff regarding property manager issue (.1).                                    0.1 0.0026316          $0.68
           Operations
March 2019 Claims                    03/11/19 MR          390 Attention to issues for upcoming meeting and lender issues.                                       0.9         0.05      $19.50
           Administration
           & Objections

March 2019 Claims                    03/15/19 MR          390 Review materials in preparation for upcoming hearing.                                             2.0 0.1111111         $43.33
           Administration
           & Objections

March 2019 Claims                    03/17/19 MR          390 Prepare for upcoming hearing (3.0)                                                                3.0 0.1666667         $65.00
           Administration
           & Objections

March 2019 Claims                    03/17/19 MR          390 and meeting with A. Porter regarding same (2.5).                                                  2.5 0.1388889         $54.17
           Administration
           & Objections

April 2019    Asset                  04/09/19 KBD         390 Telephone conference with broker regarding update on timing for second tranche of                 0.2 0.0074074          $2.89
              Disposition                                     properties and preparation for third tranche of properties (.2)




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2019    Business               04/01/19 KBD         390 office conference with M. Rachlis regarding transfer of funds (.1)                                     0.1 0.0025641         $1.00
              Operations
April 2019    Business               04/01/19 KBD         390 Telephone conference with property manager regarding continuation of property                          0.2 0.0051282         $2.00
              Operations                                      management while financing efforts ongoing (.2)
April 2019    Business               04/01/19 KBD         390 telephone conference with property manager regarding property management and                           0.2 0.0051282         $2.00
              Operations                                      compensation options as well as confirmation of background relating to transfer of funds (.2)

April 2019    Business               04/01/19 KBD         390 office conference with K. Pritchard regarding wire transfer relating to same (.1)                      0.1 0.0025641         $1.00
              Operations
April 2019    Business               04/01/19 KBD         390 telephone conference with property manager regarding financing for property management                 0.2 0.0051282         $2.00
              Operations                                      work (.2)
April 2019    Business               04/01/19 KBD         390 study correspondence from property manager regarding real estate tax issue and exchange                0.2 0.0052632         $2.05
              Operations                                      correspondence with asset manager and A. Porter regarding same (.2)
April 2019    Business               04/01/19 KBD         390 exchange correspondence with property manager regarding additional information                         0.1 0.0025641         $1.00
              Operations                                      requested relating to same (.1)
April 2019    Business               04/01/19 KBD         390 exchange correspondence with N. Mirjanich and K. Pritchard regarding receivership                      0.4 0.0102564         $4.00
              Operations                                      expenses and accounting (.4)
April 2019    Business               04/01/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                    0.1 0.0025641         $1.00
              Operations                                      wire transfer to property manager (.1)
April 2019    Business               04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                      0.2 0.0111111         $4.33
              Operations
April 2019    Business               04/02/19 KBD         390 telephone conference with bank representative regarding wire transfer to property manager              0.1 0.0025641         $1.00
              Operations                                      (.1).
April 2019    Business               04/03/19 KBD         390 study correspondence from property manager regarding outstanding property management                   0.2 0.0051282         $2.00
              Operations                                      amounts (.2)
April 2019    Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868         $0.74
              Operations
April 2019    Business               04/08/19 KBD         390 exchange correspondence with property manager regarding cross collateralized properties                0.2 0.0051282         $2.00
              Operations                                      (.2)
April 2019    Business               04/09/19 KBD         390 study correspondence from property manager and exchange correspondence with E. Duff                    0.2 0.0051282         $2.00
              Operations                                      regarding accounting for wire transfers by property (.2)
April 2019    Business               04/09/19 KBD         390 study correspondence from E. Duff regarding analysis of property-related transfers of funds            0.2 0.0051282         $2.00
              Operations                                      (.2).
April 2019    Business               04/11/19 KBD         390 telephone conference with bank representative regarding wire transfer for property                     0.2 0.0051282         $2.00
              Operations                                      expenses and exchange correspondence regarding same (.2)
April 2019    Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075         $2.19
              Operations
April 2019    Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692         $0.73
              Operations
April 2019    Business               04/15/19 KBD         390 additional work with other property manager regarding unpaid utility bills and efforts to              0.3 0.0214286         $8.36
              Operations                                      obtain funding for property costs (.3)
April 2019    Business               04/16/19 KBD         390 draft correspondence to asset manager regarding assessment of net operating income and                 0.1 0.0071429         $2.79
              Operations                                      payment of outstanding bills (.1)


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours         Fees
April 2019    Business               04/17/19 KBD         390 exchange correspondence with property manager regarding same (.2).                                        0.2 0.0051282          $2.00
              Operations
April 2019    Business               04/18/19 KBD         390 telephone conferences and exchange correspondence with property manager regarding                         0.7          0.1      $39.00
              Operations                                      property manager expenses and payment requirements to continue management services
                                                              (including relating to 2909 E 78th, 8107 S Ellis, 8209 S Ellis, 1700 Juneway, 7255 Euclid, 11117
                                                              S. Longwood, and 7600 S Kingston) (.7)
April 2019    Business               04/18/19 KBD         390 study correspondence from K. Pritchard regarding payments to property manager (.1)                        0.1 0.0142857          $5.57
              Operations
April 2019    Business               04/19/19 KBD         390 Discussion and planning regarding property manager services with M. Rachlis (.5)                          0.5 0.0128205          $5.00
              Operations
April 2019    Business               04/19/19 KBD         390 telephone conference with and exchange correspondence with property manager regarding                     0.5 0.0128205          $5.00
              Operations                                      property management services, payment of receivable, finance efforts, and accounting (.5)

April 2019    Business               04/19/19 KBD         390 further evaluation with M. Rachlis regarding same (.4)                                                    0.4 0.0102564          $4.00
              Operations
April 2019    Business               04/19/19 KBD         390 telephone conference with regarding property manager issues (.2)                                          0.2 0.0051282          $2.00
              Operations
April 2019    Business               04/19/19 KBD         390 telephone conference with bank representative regarding wire transfer to cover gas and                    0.1         0.02       $7.80
              Operations                                      electric bills and discuss with K. Pritchard regarding same (.1)
April 2019    Business               04/22/19 KBD         390 Work with asset manager, E. Duff, and M. Rachlis regarding asset management issues,                       1.8 0.0461538         $18.00
              Operations                                      managing expenses, and contingency planning (1.8)
April 2019    Business               04/23/19 KBD         390 telephone conference with property manager regarding approval of sale of properties and                   0.2 0.0051282          $2.00
              Operations                                      payment of utility bills, and draft correspondence regarding same (.2)

April 2019    Business               04/23/19 KBD         390 telephone conference with property management firm representative (.2)                                    0.2 0.0051282          $2.00
              Operations
April 2019    Business               04/24/19 KBD         390 Review planning to address housing court matters (.1)                                                     0.1 0.0111111          $4.33
              Operations
April 2019    Business               04/24/19 KBD         390 analyze past due real estate taxes relative to net operating income and exchange                          0.4 0.0105263          $4.11
              Operations                                      correspondence with E. Duff and property manager regarding same (.4)
April 2019    Business               04/25/19 KBD         390 exchange correspondence with property manager regarding property expenses (.2)                            0.2 0.0051282          $2.00
              Operations
April 2019    Business               04/25/19 KBD         390 exchange correspondence with M. Rachlis regarding same and property sales (.2).                           0.2 0.0051282          $2.00
              Operations
April 2019    Business               04/26/19 KBD         390 Telephone conference and exchange correspondence with insurance broker regarding                          0.3 0.0029126          $1.14
              Operations                                      efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019    Business               04/29/19 KBD         390 office conference with A. Porter regarding communication with property manager regarding                  0.4 0.0102564          $4.00
              Operations                                      payments, release of liens, and outstanding expenses (.4)
April 2019    Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real                    0.4 0.0037383          $1.46
              Operations                                      estate tax payments and planning (.4)
April 2019    Business               04/29/19 KBD         390 study update from property manager regarding various property repairs (.2)                                0.2 0.0333333         $13.00
              Operations


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019    Business               04/30/19 KBD             390 exchange correspondence with property managers regarding payment of 2017 real estate                   0.6      0.0375      $14.63
              Operations                                          taxes (.6)
April 2019    Business               04/30/19 KBD             390 Study records for delivering 2017 real estate taxes, several office conferences and exchange           2.5     0.15625      $60.94
              Operations                                          various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                                  (2.5)
April 2019    Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417         $0.76
              Operations                                          amounts (.2)
April 2019    Claims                 04/23/19 KBD             390 telephone conference with accounting firm representative and E. Duff regarding reporting to            0.2 0.0051282         $2.00
              Administration                                      lenders regarding rent (.2)
              & Objections

April 2019    Claims                 04/23/19 KBD             390 conference with lenders counsel regarding rent reporting and offer to discuss questions or             0.1 0.0025641         $1.00
              Administration                                      concerns with reporting (.1)
              & Objections

April 2019    Claims                 04/23/19 KBD             390 office conference with E. Duff regarding hearing before Judge Lee and lender rent reporting,           0.4 0.0102564         $4.00
              Administration                                      review sources and uses, and discuss communications with property managers with respect
              & Objections                                        to payment of expenses (.4).

April 2019    Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037         $0.39
              Disposition                                         spreadsheet and additional account numbers (.3)
April 2019    Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075         $0.79
              Disposition
April 2019    Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
              Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019    Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
              Disposition                                         Chicago water department (.2).
April 2019    Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411         $4.32
              Disposition                                         installment and confirm entities on our applications.
April 2019    Asset                  04/19/19 MR              390 attention to correspondence relating to same (.3)                                                      0.3 0.0076923         $3.00
              Disposition
April 2019    Asset                  04/19/19 MR              390 Attention to issues with property managers and meetings with K. Duff regarding same (1.0)              1.0    0.025641      $10.00
              Disposition
April 2019    Business               04/01/19 KMP             140 review banking documents to prepare reply to inquiries (.2)                                            0.2 0.0333333         $4.67
              Operations
April 2019    Business               04/01/19 KMP             140 Communications with N. Mirjanich and E. Duff regarding accountant's inquiries relating to              0.2 0.0333333         $4.67
              Operations                                          property-specific expenses and income (.2)
April 2019    Business               04/01/19 KMP             140 prepare form for wire transfer to property manager for property expenses, and                          0.3 0.0076923         $1.08
              Operations                                          communications with K. Duff and bank representative regarding same (.3).
April 2019    Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262         $2.75
              Operations                                          accrual (2.1)


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2019    Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037          $0.39
              Operations
April 2019    Business               04/03/19 ED              390 confer with K. Duff regarding funds sent to receivership estate from title company (.1)                0.1 0.0166667          $6.50
              Operations
April 2019    Business               04/03/19 ED              390 email correspondence with A. Porter regarding same (.1).                                               0.1 0.0166667          $6.50
              Operations
April 2019    Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,             0.3 0.0028302          $0.40
              Operations                                          and prepare electronic copy for email communication.
April 2019    Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real                0.2 0.0028571          $1.11
              Operations                                          estate taxes.
April 2019    Business               04/11/19 ED              390 analysis of differences in NOI calculations against accrual reporting from property manager            0.4 0.0102564          $4.00
              Operations                                          (.4).
April 2019    Business               04/12/19 ED              390 review reporting from property manager regarding utility payments (.9)                                 0.9 0.0230769          $9.00
              Operations
April 2019    Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486          $5.10
              Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019    Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766          $2.92
              Operations
April 2019    Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991          $3.40
              Operations
April 2019    Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319          $5.07
              Operations
April 2019    Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841          $1.83
              Operations
April 2019    Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523          $5.50
              Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019    Business               04/18/19 KMP             140 Prepare wire transfer request forms for funds to property manager for property expenses                0.2         0.05       $7.00
              Operations                                          and communications with K. Duff regarding same.
April 2019    Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391          $8.48
              Operations                                          insufficient income to support expenses.
April 2019    Business               04/19/19 KMP             140 communication with property manager confirming funds transfer (.1).                                    0.1       0.025        $3.50
              Operations
April 2019    Business               04/19/19 KMP             140 Revise and finalize wire transfer request form for funds to property manager for past due              0.4          0.1      $14.00
              Operations                                          utility bills, and communications with K. Duff and bank representative regarding same (.4)

April 2019    Business               04/19/19 MR              390 attention to correspondence relating to same (.3).                                                     0.3 0.0076923          $3.00
              Operations
April 2019    Business               04/19/19 MR              390 Attention to property management issues and meetings with K. Duff regarding same (1.0)                 1.0    0.025641       $10.00
              Operations
April 2019    Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087       $10.17
              Operations                                          expenses (1.8)
April 2019    Business               04/22/19 MR              390 Participate in meeting regarding property management, expenses and planning.                           1.8 0.0461538         $18.00
              Operations


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2019    Business               04/24/19 NM              260 prepare for housing court next week and exchange correspondence with property managers                0.3 0.0333333         $8.67
              Operations                                          on same (.3).
April 2019    Business               04/25/19 MR              390 attention to various issues regarding property management issues (.6).                                0.6 0.0153846         $6.00
              Operations
April 2019    Business               04/25/19 NM              260 revise code violations spreadsheet to reflect sales process motions and prepare for housing           1.4 0.1166667        $30.33
              Operations                                          court on 12 matters next week (1.4)
April 2019    Business               04/26/19 MR              390 Conferences regarding property management issues.                                                     0.2 0.0051282         $2.00
              Operations
April 2019    Business               04/26/19 NM              260 Correspond with K. Duff regarding housing court matters next week (.1)                                0.1 0.0090909         $2.36
              Operations
April 2019    Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                               0.2 0.0019802         $0.77
              Operations
April 2019    Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0009901         $0.39
              Operations
April 2019    Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                0.5 0.0046729         $0.65
              Operations
April 2019    Business               04/29/19 NM              260 prepare for housing court and correspond with property managers regarding same (1.0).                 1.0 0.0909091        $23.64
              Operations
April 2019    Business               04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                  0.1     0.00625       $0.88
              Operations
April 2019    Business               04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                     1.2       0.075      $10.50
              Operations
April 2019    Business               04/30/19 KMP             140 Submit online payments for 2017 delinquent taxes for various properties, and conferences              0.7 0.0583333         $8.17
              Operations                                          with K. Duff and J. Rak regarding same.
April 2019    Business               04/30/19 NM              260 Prepare for housing court and communicate with property managers regarding same (.8)                  0.8 0.0727273        $18.91
              Operations
April 2019    Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                  0.8 0.0115942         $4.52
              Administration
              & Objections

April 2019    Claims                 04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
              Administration                                      insurance coverage (.3)
              & Objections

May 2019      Asset                  05/02/19 KBD             390 exchange correspondence, office conferences, and telephone conferences relating to same               0.8 0.0666667        $26.00
              Disposition                                         (.8).
May 2019      Asset                  05/02/19 KBD             390 Study court order approving sale of second group of properties (.3)                                   0.3       0.025       $9.75
              Disposition
May 2019      Asset                  05/03/19 KBD             390 Discuss court order relating to sale of second group of properties and credit bid procedures          0.2 0.0166667         $6.50
              Disposition                                         with A. Porter (.2)
May 2019      Asset                  05/03/19 KBD             390 conference with M. Rachlis regarding same (.2).                                                       0.2 0.0166667         $6.50
              Disposition




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
May 2019      Asset                  05/06/19 KBD         390 Telephone conference with real estate broker regarding timing for listing and sale of second          0.2 0.0166667          $6.50
              Disposition                                     group of properties (.2)
May 2019      Asset                  05/10/19 KBD         390 Telephone conference with real estate broker regarding bid procedures and timing for                  0.1 0.0083333          $3.25
              Disposition                                     marketing second group of properties (.1)
May 2019      Asset                  05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835          $1.51
              Disposition
May 2019      Asset                  05/13/19 KBD         390 planning with N. Mirjanich and real estate broker regarding listing advertising and call to           0.4 0.0333333         $13.00
              Disposition                                     offers (.4)
May 2019      Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252          $2.27
              Disposition
May 2019      Asset                  05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709          $0.38
              Disposition
May 2019      Asset                  05/15/19 KBD         390 Telephone conferences with real estate broker regarding sales procedures and timing for               0.3       0.025        $9.75
              Disposition                                     listings of properties for sale (.3)
May 2019      Asset                  05/16/19 KBD         390 additional telephone conference with real estate broker regarding potential sales (.2)                0.2 0.0166667          $6.50
              Disposition
May 2019      Asset                  05/16/19 KBD         390 study correspondence and financial information from property managers regarding sale of               0.2 0.0166667          $6.50
              Disposition                                     properties (.2).
May 2019      Asset                  05/17/19 KBD         390 office conference with M. Rachlis regarding same (.2).                                                0.2 0.0166667          $6.50
              Disposition
May 2019      Asset                  05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001        $0.39
              Disposition
May 2019      Asset                  05/17/19 KBD         390 study lenders' objections to Judge Kim's order approving sale of properties (1.5)                     1.5       0.125       $48.75
              Disposition
May 2019      Asset                  05/18/19 KBD         390 Study revised sealed bid instructions.                                                                0.2 0.0166667          $6.50
              Disposition
May 2019      Asset                  05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002        $0.78
              Disposition
May 2019      Asset                  05/21/19 KBD         390 study revised publication notice (.1)                                                                 0.1 0.0083333          $3.25
              Disposition
May 2019      Asset                  05/21/19 KBD         390 draft response to lender objections to court order approving sale properties (1.2).                   1.2          0.1      $39.00
              Disposition
May 2019      Asset                  05/23/19 KBD         390 telephone conference with real estate broker regarding timing for marketing and sales and             0.2 0.0105263          $4.11
              Disposition                                     potential adjustments to next properties as a result of court orders, lender communications,
                                                              and changes to sales procedures (.2)
May 2019      Asset                  05/23/19 KBD         390 Study recent court orders (.2)                                                                        0.2 0.0105263          $4.11
              Disposition
May 2019      Asset                  05/29/19 KBD         390 Telephone conferences with real estate brokers regarding status of communications with                0.2 0.0105263          $4.11
              Disposition                                     lenders counsel and prioritization of properties for listing (.2)

May 2019      Asset                  05/30/19 KBD         390 study revised publication notice (.1)                                                                 0.1 0.0083333          $3.25
              Disposition




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
May 2019      Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate            0.1       0.001        $0.39
              Disposition                                     broker (.1)
May 2019      Asset                  05/31/19 KBD         390 draft correspondence to N. Mirjanich regarding publication notice (.1).                             0.1 0.0083333          $3.25
              Disposition
May 2019      Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                        0.2 0.0019417          $0.76
              Disposition
May 2019      Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                   0.1 0.0009346          $0.36
              Operations
May 2019      Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                0.1 0.0009709          $0.38
              Operations                                      replacement insurance (.1).
May 2019      Business               05/02/19 KBD         390 preparation with N. Mirjanich for various housing court matters (.2)                                0.2 0.0166667          $6.50
              Operations
May 2019      Business               05/02/19 KBD         390 study correspondence from property manager regarding same (.1)                                      0.1 0.0083333          $3.25
              Operations
May 2019      Business               05/02/19 KBD         390 review with N. Mirjanich results of hearing in housing court, communications with city              0.3       0.025        $9.75
              Operations                                      officials, and plan for repairing properties (.3)
May 2019      Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                      0.1 0.0009709          $0.38
              Operations                                      replacement of insurance coverage (.1)
May 2019      Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                  0.2 0.0019417          $0.76
              Operations                                      insurance policies and renewals (.2).
May 2019      Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                 0.1 0.0009709          $0.38
              Operations                                      payment (.1).
May 2019      Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential               0.3 0.0029126          $1.14
              Operations                                      insurance (.3)
May 2019      Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/14/19 KBD         390 exchange correspondence with asset manager regarding parameters for approval of                     0.3 0.0081081          $3.16
              Operations                                      property manager capital expenses and draft correspondence to property manager
                                                              regarding same (.3)
May 2019      Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                               0.9 0.0089109          $3.48
              Operations
May 2019      Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding            0.3 0.0029703          $1.16
              Operations                                      same (.3)
May 2019      Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial          0.6 0.0059406          $2.32
              Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019      Business               05/20/19 KBD         390 attention to violation notices for property (2909 E 78th) (.2)                                      0.2          0.2      $78.00
              Operations
May 2019      Business               05/21/19 KBD         390 study information from property manager regarding property repair needs (2909 E 78th) and           0.2          0.2      $78.00
              Operations                                      exchange correspondence with asset manager regarding same (.2)
May 2019      Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)              0.1 0.0009709          $0.38
              Operations




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
May 2019      Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                     0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/22/19 KBD         390 Telephone conference with real estate broker and N. Mirjanich regarding repair work for            0.2          0.2      $78.00
              Operations                                      roof, parapet, and internal space at property (2909 E. 78th) (.2)
May 2019      Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                 0.2 0.0019417          $0.76
              Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019      Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                              0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                   0.2 0.0019417          $0.76
              Operations                                      property insurance renewal (.2)
May 2019      Business               05/23/19 KBD         390 telephone conference with bank representative, draft correspondence to property manager            0.4 0.0108108          $4.22
              Operations                                      regarding financial reporting and accounting (.4)
May 2019      Business               05/23/19 KBD         390 draft correspondence to E. Duff regarding same (.1)                                                0.1 0.0027027          $1.05
              Operations
May 2019      Business               05/24/19 KBD         390 exchange correspondence with property manager regarding permit for property repairs                0.1          0.1      $39.00
              Operations                                      (2909 E 78th) (.1)
May 2019      Business               05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)               0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/24/19 KBD         390 draft and revise correspondence to property manager regarding financial reporting and              0.4 0.0108108          $4.22
              Operations                                      accounting and exchange correspondence with M. Rachlis regarding same (.4).

May 2019      Business               05/24/19 KBD         390 telephone conference with bank representative regarding transfer of funds for property             0.1          0.1      $39.00
              Operations                                      repair (.1)
May 2019      Business               05/24/19 KBD         390 exchange correspondence with property manager regarding funds for property invoices (.1)           0.1         0.05      $19.50
              Operations
May 2019      Business               05/28/19 KBD         390 study update regarding additional property repairs (2909 E 78th) (.1)                              0.1          0.1      $39.00
              Operations
May 2019      Business               05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                    0.1 0.0009709          $0.38
              Operations                                      payment (.1)
May 2019      Business               05/29/19 KBD         390 evaluate cost of repair work (2909 E 78th) and exchange correspondence with asset manager          0.3          0.3     $117.00
              Operations                                      regarding same (.3)
May 2019      Business               05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding             0.2 0.0019417          $0.76
              Operations                                      property insurance payment (.2)
May 2019      Business               05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                   0.2 0.0019417          $0.76
              Operations
May 2019      Business               05/30/19 KBD         390 exchange correspondence regarding and conference with E. Duff regarding communications             0.2 0.0054054          $2.11
              Operations                                      with and meeting with property manager regarding accounting reporting and procedure (.2)

May 2019      Business               05/30/19 KBD         390 exchange communications with property manager regarding analysis of payment relating to            0.2 0.0054054          $2.11
              Operations                                      property management services (.2)
May 2019      Business               05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                   0.2 0.0018692          $0.73
              Operations


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2019      Business               05/31/19 KBD             390 exchange correspondence with E. Duff regarding property manager accounting for water                   0.1         0.02       $7.80
              Operations                                          expenses (.1).
May 2019      Claims                 05/07/19 KBD             390 study correspondence from property manager and E. Duff regarding same (.2)                             0.2 0.0051282          $2.00
              Administration
              & Objections

May 2019      Claims                 05/07/19 KBD             390 Work with E. Duff and M. Rachlis regarding obtaining information from property manager for             0.3 0.0076923          $3.00
              Administration                                      use in rent reporting reports (.3)
              & Objections

May 2019      Claims                 05/13/19 KBD             390 study correspondence from E. Duff regarding financial reporting regarding property                     0.2 0.0051282          $2.00
              Administration                                      performance and rent (.2).
              & Objections

May 2019      Asset                  05/01/19 NM              260 Exchange correspondence with real estate broker, publications, and K. Duff regarding notice            0.5 0.0416667         $10.83
              Disposition                                         of publication for second tranche of sale.
May 2019      Asset                  05/02/19 AEP             390 conference with K. Duff regarding ruling on motion to approve marketing of second tranche              0.3       0.025        $9.75
              Disposition                                         and impact of credit bidding on proposed selling procedures (.3).
May 2019      Asset                  05/02/19 KMP             140 Attention to communications with K. Duff, M. Rachlis, A. Porter and N. Mirjanich regarding             0.2 0.0166667          $2.33
              Disposition                                         order relating to approval of process for sale of second tranche of properties (.2)

May 2019      Asset                  05/02/19 MR              390 follow up discussions regarding same with K. Duff (.4).                                                0.4 0.0333333         $13.00
              Disposition
May 2019      Asset                  05/02/19 MR              390 Review order on sales procedure and credit bids (.8)                                                   0.8 0.0666667         $26.00
              Disposition
May 2019      Asset                  05/02/19 NM              260 correspond with real estate broker regarding same (.1)                                                 0.1 0.0083333          $2.17
              Disposition
May 2019      Asset                  05/02/19 NM              260 Study order regarding approval to list second tranche of properties and email                          0.5 0.0416667         $10.83
              Disposition                                         correspondence relating to same (.5)
May 2019      Asset                  05/03/19 AEP             390 conference with M. Rachlis regarding properties in second sales tranche (.4).                          0.4 0.0333333         $13.00
              Disposition
May 2019      Asset                  05/06/19 AEP             390 Teleconference with receivership broker regarding marketing of properties in second sales              0.3       0.025        $9.75
              Disposition                                         tranche (.3)
May 2019      Asset                  05/06/19 MR              390 Attention to sales issues.                                                                             0.2 0.0166667          $6.50
              Disposition
May 2019      Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336          $3.53
              Disposition
May 2019      Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804          $0.38
              Disposition
May 2019      Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709          $0.38
              Disposition
May 2019      Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495          $1.70
              Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
May 2019      Asset                  05/13/19 MR              390 Conferences on additional disposition of properties with K. Duff, A Porter, real estate broker,          0.9       0.075       $29.25
              Disposition                                         and N. Mirjanich.
May 2019      Asset                  05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of             0.6 0.0122449          $3.18
              Disposition                                         second tranche of properties, and the single-family home approval motion (.6)

May 2019      Asset                  05/14/19 AEP             390 read e-mail communications from colleagues regarding proposed revisions to initial draft of              0.2 0.0166667          $6.50
              Disposition                                         bid instructions for second marketing tranche (.2)
May 2019      Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                       0.4 0.0039216          $1.53
              Disposition
May 2019      Asset                  05/14/19 NM              260 Correspond with real estate broker regarding publication notice for the second tranche of                0.1 0.0083333          $2.17
              Disposition                                         property sales (.1)
May 2019      Asset                  05/15/19 AEP             390 make additional revisions to proposed bid procedures and amendments to outstanding                       0.3       0.025        $9.75
              Disposition                                         motions for approval of sale of properties in second tranche following circulation of new
                                                                  drafts (.3)
May 2019      Asset                  05/15/19 AEP             390 review most recent versions of pro forma owners and lenders policies received from title                 0.1 0.0083333          $3.25
              Disposition                                         company (.1)
May 2019      Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)              0.9 0.0084112          $1.18
              Disposition
May 2019      Asset                  05/15/19 MR              390 follow up regarding lender credit bid issues (.3)                                                        0.3       0.025        $9.75
              Disposition
May 2019      Asset                  05/15/19 MR              390 Attention to emails on credit bids (1.5)                                                                 1.5       0.125       $48.75
              Disposition
May 2019      Asset                  05/15/19 NM              260 correspond with real estate broker and K. Duff regarding update to bid procedures on                     0.1 0.0083333          $2.17
              Disposition                                         second tranche (.1).
May 2019      Asset                  05/15/19 NM              260 Study correspondence relating to procedures for second tranche of property sales and                     0.5         0.05      $13.00
              Disposition                                         correspond with K. Duff regarding same and publication notice (.5)
May 2019      Asset                  05/15/19 NM              260 correspond with real estate broker and K. Duff regarding publication notice for second                   0.7 0.0259259          $6.74
              Disposition                                         tranche of properties and draft revisions to same (.7)
May 2019      Asset                  05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes                  1.9 0.0387755          $5.43
              Disposition                                         survey in preparation for marketing (1.9)
May 2019      Asset                  05/16/19 MR              390 attention to meeting and analysis of issues on credit bids and prepare for same (3.0).                   3.0         0.25      $97.50
              Disposition
May 2019      Asset                  05/16/19 NM              260 Study objections to May 2, 2019 order and correspond with K. Duff regarding same (.3)                    0.3       0.025        $6.50
              Disposition
May 2019      Asset                  05/17/19 MR              390 Further attention and work regarding credit bid issues, various filings regarding sales                  2.5 0.2083333         $81.25
              Disposition                                         procedures, and analysis of same.
May 2019      Asset                  05/18/19 MR              390 Further review and edits to credit bid procedures (.3)                                                   0.3       0.025        $9.75
              Disposition
May 2019      Asset                  05/18/19 MR              390 follow up email regarding same (.1).                                                                     0.1 0.0083333          $3.25
              Disposition
May 2019      Asset                  05/21/19 NM              260 Revise notice for publication for second tranche and study procedures for same sent by M.                0.3       0.025        $6.50
              Disposition                                         Rachlis (.3)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
May 2019      Asset                  05/21/19 NM              260 correspond with K. Duff and real estate broker regarding same (.2).                                     0.2 0.0166667          $4.33
              Disposition
May 2019      Asset                  05/23/19 MR              390 attention to questions on sales process and credit bid (.2).                                            0.2 0.0166667          $6.50
              Disposition
May 2019      Asset                  05/23/19 MR              390 Prepare for same (.3)                                                                                   0.3       0.025        $9.75
              Disposition
May 2019      Asset                  05/29/19 MR              390 attention to motions regarding same (.2).                                                               0.2 0.0166667          $6.50
              Disposition
May 2019      Asset                  05/29/19 MR              390 Attention to issues on issues on credit bids and communications regarding same (.4)                     0.4 0.0333333         $13.00
              Disposition
May 2019      Asset                  05/30/19 AEP             390 teleconference with lenders regarding outstanding unresolved issues associated with bidding             0.4 0.0333333         $13.00
              Disposition                                         procedures for sales of second tranche of properties (.4)
May 2019      Asset                  05/30/19 AEP             390 conference with K. Duff and M. Rachlis regarding sale of second tranche of properties (.5).             0.5 0.0416667         $16.25
              Disposition
May 2019      Asset                  05/30/19 AEP             390 Meeting with J. Rak to prepare strategic plan for second, third, and fifth marketing tranches,          2.0 0.0909091         $35.45
              Disposition                                         including ordering, facilitating, and proofing of surveys, completion of title commitments,
                                                                  preparation of motions to confirm sales and proposed orders associated therewith, and
                                                                  preparations of preliminary settlement statements (2.0)

May 2019      Asset                  05/30/19 JR              140 exchange follow up correspondence with property managers regarding set up of online                     0.3 0.0085714          $1.20
              Disposition                                         water payments (.3).
May 2019      Asset                  05/30/19 JR              140 Work on drafting of motion to approve sale for the second tranche with A. Porter (2.6)                  2.6       0.325       $45.50
              Disposition
May 2019      Asset                  05/30/19 NM              260 Correspond with K. Duff and real estate broker regarding marketing of properties in second              0.5 0.0185185          $4.81
              Disposition                                         and third tranches of sales (.5)
May 2019      Asset                  05/31/19 AEP             390 Prepare e-mails to lenders regarding proposal to continue hearing on appeal from magistrate             0.3       0.025        $9.75
              Disposition                                         order authorizing sale of properties in second tranche (.3)
May 2019      Asset                  05/31/19 JR              140 office conference with A. Porter regarding same (1.6)                                                   1.6          0.2      $28.00
              Disposition
May 2019      Asset                  05/31/19 JR              140 assist in drafting motion to approve sale for the second tranche (.6)                                   0.6       0.075       $10.50
              Disposition
May 2019      Asset                  05/31/19 MR              390 Conferences with K. Duff regarding issues in credit bids and follow up emails regarding same.           0.4 0.0333333         $13.00
              Disposition
May 2019      Asset                  05/31/19 NM              260 Revise publication notice to reflect marketing of properties in second and third tranches of            0.8         0.08      $20.80
              Disposition                                         sales and correspond with K. Duff, A. Porter, and J. Rak regarding same (.8)

May 2019      Business               05/01/19 MR              390 Attention to upcoming hearing on housing issues.                                                        0.2 0.0181818          $7.09
              Operations
May 2019      Business               05/01/19 NM              260 prepare for administrative housing court matters next week and correspond with property                 1.0 0.0833333         $21.67
              Operations                                          manager and City attorneys regarding same (1.0).
May 2019      Business               05/01/19 NM              260 Prepare for housing court tomorrow and correspond with K. Duff regarding same (2.5)                     2.5 0.2272727         $59.09
              Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2019      Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
              Operations                                          sale (2.3)
May 2019      Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
              Operations
May 2019      Business               05/02/19 NM              260 appear for housing court on nearly a dozen properties (2.0)                                           2.0 0.1818182        $47.27
              Operations
May 2019      Business               05/02/19 NM              260 revise spreadsheet to reflect same and correspond with property managers regarding same               1.3 0.1083333        $28.17
              Operations                                          (1.3).
May 2019      Business               05/02/19 NM              260 correspond with M. Rachlis and K. Duff regarding same (.1)                                            0.1 0.0090909         $2.36
              Operations
May 2019      Business               05/02/19 NM              260 Prepare for housing court (1.0)                                                                       1.0 0.0909091        $23.64
              Operations
May 2019      Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
              Operations
May 2019      Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
              Operations
May 2019      Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
              Operations
May 2019      Business               05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
              Operations
May 2019      Business               05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709         $0.14
              Operations
May 2019      Business               05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417         $0.27
              Operations                                          conferences with K. Duff and E. Duff regarding same (.2)
May 2019      Business               05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709         $0.14
              Operations
May 2019      Business               05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835         $0.54
              Operations                                          insurance renewal, and communications with K. Duff and bank representative regarding
                                                                  same (.4)
May 2019      Business               05/07/19 ED              390 Email correspondence with property manager regarding financial reporting information for              0.4 0.0108108         $4.22
              Operations                                          properties (.4)
May 2019      Business               05/07/19 ED              390 review financial reporting for additional accounting reports (.3)                                     0.3 0.0081081         $3.16
              Operations
May 2019      Business               05/07/19 ED              390 and email correspondence to property manager regarding same (.2)                                      0.2 0.0054054         $2.11
              Operations
May 2019      Business               05/07/19 ED              390 confer with K. Duff regarding same (.2)                                                               0.2 0.0054054         $2.11
              Operations
May 2019      Business               05/07/19 ED              390 email correspondence with asset manager regarding same (.2)                                           0.2 0.0054054         $2.11
              Operations
May 2019      Business               05/07/19 ED              390 review portfolio cash flow statements from property manager from August through March                 0.8 0.0216216         $8.43
              Operations                                          (.8)
May 2019      Business               05/07/19 KMP             140 Study communication from insurance broker providing notice of first installment on                    0.1 0.0009709         $0.14
              Operations                                          premium finance agreement.


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019      Business               05/07/19 MR          390 Participate in conference with K. Duff and A. Porter regarding sales process (1.2)                     1.2          0.1      $39.00
              Operations
May 2019      Business               05/07/19 MR          390 follow up discussions regarding same (.5)                                                              0.5 0.0416667         $16.25
              Operations
May 2019      Business               05/07/19 MR          390 and begin review of decisions regarding credit bid and other issues (.8)                               0.8 0.0666667         $26.00
              Operations
May 2019      Business               05/08/19 MR          390 Research on and lengthy analysis of sales process issues.                                              4.7 0.3916667        $152.75
              Operations
May 2019      Business               05/09/19 ED          390 Review bids for property expenditures (.3)                                                             0.3 0.0333333         $13.00
              Operations
May 2019      Business               05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608          $0.51
              Operations                                      manager (.2)
May 2019      Business               05/10/19 MR          390 conferences to work through same with K. Duff (.7).                                                    0.7 0.0583333         $22.75
              Operations
May 2019      Business               05/10/19 MR          390 Further research into various issues on process for credit bids and developing protocol (2.3)          2.3 0.1916667         $74.75
              Operations
May 2019      Business               05/13/19 AW          140 Meeting with E. Duff regarding spreadsheets received from property manager and analysis of             0.1 0.0026316          $0.37
              Operations                                      same (.1)
May 2019      Business               05/13/19 AW          140 ; research regarding same (.1).                                                                        0.1 0.0026316          $0.37
              Operations
May 2019      Business               05/13/19 MR          390 attend meeting regarding same with K. Duff, A Porter and real estate broker (2.3)                      2.3 0.1916667         $74.75
              Operations
May 2019      Business               05/13/19 MR          390 Further research on credit bid issues (.5)                                                             0.5 0.0416667         $16.25
              Operations
May 2019      Business               05/13/19 MR          390 revise pleading on same (.3).                                                                          0.3       0.025        $9.75
              Operations
May 2019      Business               05/13/19 MR          390 review and revise bidding procedures and follow up on same (.3)                                        0.3       0.025        $9.75
              Operations
May 2019      Business               05/14/19 AW          140 Analysis of excel spreadsheets for and report on results.                                              0.4 0.0105263          $1.47
              Operations
May 2019      Business               05/14/19 MR          390 Draft correspondence regarding credit bid issues and exchange emails regarding same (1.3)              1.3 0.1083333         $42.25
              Operations
May 2019      Business               05/14/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0333333         $13.00
              Operations
May 2019      Business               05/15/19 ED          390 email correspondence with property manager requesting additional detail [regarding                     0.4 0.0666667         $26.00
              Operations                                      outstanding utility bills and other accounts payable] (.4)
May 2019      Business               05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214          $4.92
              Operations
May 2019      Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087          $3.79
              Operations
May 2019      Business               05/20/19 NM          260 revise correspondence to property managers from J. Rak regarding water accounts and                    0.3 0.0076923          $2.00
              Operations                                      correspond with J. Rak regarding same (.3)




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2019      Business               05/22/19 NM          260 correspond with K. Duff and broker regarding cost to cure violations at property (2909 E               0.2          0.2      $52.00
              Operations                                      78th) (.2)
May 2019      Business               05/23/19 NM          260 Exchange correspondence with property managers regarding properties (7760 Coles, 8107                  0.5       0.125       $32.50
              Operations                                      Ellis, 2909 E 78th, 7237 Bennett) in advance of court next week.
May 2019      Business               05/24/19 KMP         140 Prepare form for wire request relating to transfer of funds to property manager for payment            0.4          0.4      $56.00
              Operations                                      regarding property repairs (2909 E 78th), and communications with K. Duff, N. Mirjanich, and
                                                              bank representative regarding same.
May 2019      Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126          $1.14
              Operations
May 2019      Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709          $0.38
              Operations
May 2019      Business               05/24/19 NM          260 correspond with K. Duff, property manager, and real estate broker regarding two properties             0.4          0.2      $52.00
              Operations                                      with code violations and strategy to address same (7237 S Bennett and 2909 E 78th) (.4)

May 2019      Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835          $0.54
              Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019      Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417          $0.27
              Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019      Business               05/30/19 KMP         140 Prepare form for wire request relating to transfer of funds to property manager for roof               0.4          0.4      $56.00
              Operations                                      repairs (2909 E 78th) and communications with K. Duff and bank representative regarding
                                                              same (.4)
May 2019      Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709          $0.14
              Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)
May 2019      Business               05/31/19 ED          390 Email correspondence with property manager regarding meeting to discuss properties (.3)                0.3 0.0081081          $3.16
              Operations
June 2019     Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                 0.3       0.003        $1.17
              Disposition
June 2019     Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                  0.2       0.002        $0.78
              Disposition                                     timing (.2)
June 2019     Asset                  06/03/19 KBD         390 Work on newspaper publication in connection with property sales (.4)                                   0.4         0.04      $15.60
              Disposition
June 2019     Asset                  06/04/19 KBD         390 Discuss publication notice for property sales and study publication and cost information               0.2       0.025        $9.75
              Disposition                                     relating to same (.2)
June 2019     Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)              0.2 0.0028571          $1.11
              Disposition
June 2019     Asset                  06/15/19 KBD         390 Study property marketing status report.                                                                0.2 0.0019802          $0.77
              Disposition
June 2019     Asset                  06/19/19 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding purchase and sale                      0.2 0.0166667          $6.50
              Disposition                                     agreement in connection with second group of properties (.2)




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
June 2019     Asset                  06/21/19 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding planning for sale of properties          0.2 0.0074074          $2.89
              Disposition                                     (.2).
June 2019     Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                0.5       0.005        $1.95
              Disposition
June 2019     Asset                  06/24/19 KBD         390 Exchange correspondence with A. Porter regarding status and completion of purchase and              0.2       0.025        $9.75
              Disposition                                     sale agreements for listed properties (.2)
June 2019     Asset                  06/24/19 KBD         390 study purchase and sale agreements (7301 S Stewart, 2909 78th, 3030 79th, and 8047                  0.4          0.1      $39.00
              Disposition                                     Manistee) (.4).
June 2019     Asset                  06/25/19 KBD         390 Exchange correspondence with A. Porter regarding purchase and sale agreements for listed            0.1       0.025        $9.75
              Disposition                                     properties (.1)
June 2019     Asset                  06/26/19 KBD         390 work on closing documents and preparation for motion to approve sale of properties (.5).            0.5      0.0625       $24.38
              Disposition
June 2019     Asset                  06/26/19 KBD         390 Telephone conference with real estate broker regarding marketing response and potential             0.2       0.025        $9.75
              Disposition                                     offers (.2)
June 2019     Asset                  06/27/19 KBD         390 Telephone conference with real estate broker regarding offers for listed properties.                0.2       0.025        $9.75
              Disposition
June 2019     Asset                  06/28/19 KBD         390 exchange correspondence with M. Rachlis regarding closing costs and sales prices (.2)               0.2       0.025        $9.75
              Disposition
June 2019     Asset                  06/28/19 KBD         390 Telephone conferences with real estate broker regarding purchase offers for listed                  0.4         0.04      $15.60
              Disposition                                     properties (.4)
June 2019     Asset                  06/28/19 KBD         390 study portfolio summary (.3).                                                                       0.3         0.03      $11.70
              Disposition
June 2019     Asset                  06/29/19 KBD         390 Telephone conference with real estate broker regarding purchase offers for second group of          0.2       0.025        $9.75
              Disposition                                     properties (.2)
June 2019     Asset                  06/29/19 KBD         390 study summaries relating to same (.3)                                                               0.3      0.0375       $14.63
              Disposition
June 2019     Business               06/03/19 KBD         390 Telephone conference with and study correspondence from E. Duff and property manager                0.4 0.0108108          $4.22
              Operations                                      regarding meeting with property manager and asset manager relating to financial reporting,
                                                              account management, property improvement, and various related issues (.4)

June 2019     Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                   0.3       0.003        $1.17
              Operations
June 2019     Business               06/04/19 KBD         390 study information regarding property repair (2909 E 78th) (.2).                                     0.2          0.2      $78.00
              Operations
June 2019     Business               06/04/19 KBD         390 Study financial information relating to property manager receivables and cash flow and              0.2 0.0054054          $2.11
              Operations                                      exchange correspondence regarding same (.2)
June 2019     Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                          0.1 0.0009346          $0.36
              Operations
June 2019     Business               06/05/19 KBD         390 exchange correspondence with E. Duff and review correspondence from property manager                0.2 0.0052632          $2.05
              Operations                                      regarding payment plan for water accounts (.2)
June 2019     Business               06/06/19 KBD         390 Exchange correspondence and telephone conference with bank representative regarding                 0.2         0.04      $15.60
              Operations                                      wire transfer for property expense (.2)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                 Task Hours
  Month                                            Keeper                                                                                                                 Hours         Fees
June 2019     Business               06/06/19 KBD             390 attention to online water payment process and exchange correspondence with property             0.2         0.04      $15.60
              Operations                                          manager regarding same (.2).
June 2019     Business               06/07/19 KBD             390 and discuss same with E. Duff (.1)                                                              0.1 0.0009709          $0.38
              Operations
June 2019     Business               06/07/19 KBD             390 Study correspondence and documentation from insurance representative regarding policy           0.4 0.0038835          $1.51
              Operations                                          renewal (.4)
June 2019     Business               06/07/19 KBD             390 telephone conference and exchange correspondence with bank representative regarding             0.2 0.0019608          $0.76
              Operations                                          transfer of funds (.2)
June 2019     Business               06/07/19 KBD             390 study correspondence from property manager regarding property accounts (.2).                    0.2 0.0054054          $2.11
              Operations
June 2019     Business               06/13/19 KBD             390 exchange correspondence and confer with J. Rak regarding payment of water bills and             0.2 0.0166667          $6.50
              Operations                                          coordination planning (.2)
June 2019     Business               06/13/19 KBD             390 review information relating to insurance premium allocation (.2)                                0.2 0.0019608          $0.76
              Operations
June 2019     Business               06/14/19 KBD             390 Analysis of property management expenses and exchange and review various                        0.4         0.05      $19.50
              Operations                                          correspondence regarding same (.4)
June 2019     Business               06/17/19 KBD             390 various exchanges with E. Duff and property manager regarding same and payment of               0.4 0.0108108          $4.22
              Operations                                          expenses (.4)
June 2019     Business               06/17/19 KBD             390 study correspondence and reporting information from property manager (.5)                       0.5 0.0135135          $5.27
              Operations
June 2019     Business               06/20/19 KBD             390 analysis of property management expenses and exchange various correspondence with E.            0.9 0.0243243          $9.49
              Operations                                          Duff regarding same (.9)
June 2019     Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence           0.4 0.0037383          $1.46
              Operations                                          with J. Rak regarding same (.4)
June 2019     Business               06/25/19 KBD             390 work on various property expense issues including with E. Duff (.5).                            0.5 0.0135135          $5.27
              Operations
June 2019     Business               06/26/19 KBD             390 study correspondence from insurance broker regarding premium allocation and related             0.2 0.0019608          $0.76
              Operations                                          correspondence (.2)
June 2019     Claims                 06/17/19 KBD             390 study lender objection to motion for sale of properties (.2)                                    0.2 0.0166667          $6.50
              Administration
              & Objections

June 2019     Claims                 06/21/19 KBD             390 draft correspondence to N. Mirjanich regarding property sales procedures (.2)                   0.2 0.0105263          $4.11
              Administration
              & Objections

June 2019     Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                          1.2    0.011215        $1.57
              Disposition
June 2019     Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                      3.7 0.0345794          $4.84
              Disposition
June 2019     Asset                  06/03/19 KMP             140 Conference with N. Mirjanich regarding payment for newspaper notice in connection with          0.2         0.02       $2.80
              Disposition                                         public bids for sale of next tranche of properties, and attention to proofs of notice.




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019     Asset                  06/03/19 MR              390 attention to issues on agreed motion for credit bidding and sealed bid instructions (.7).               0.7 0.0368421         $14.37
              Disposition
June 2019     Asset                  06/03/19 MR              390 review and comment on motion (.2)                                                                       0.2 0.0105263          $4.11
              Disposition
June 2019     Asset                  06/03/19 MR              390 Attention to sales issues (.3)                                                                          0.3 0.0157895          $6.16
              Disposition
June 2019     Asset                  06/03/19 NM              260 correspond with real estate broker regarding same (.1).                                                 0.1         0.01       $2.60
              Disposition
June 2019     Asset                  06/03/19 NM              260 Correspond with J. Rak regarding second and third sales tranches (.3)                                   0.3 0.0111111          $2.89
              Disposition
June 2019     Asset                  06/03/19 NM              260 correspond with K. Duff and M. Rachlis regarding publication notice for same and revise                 0.8         0.08      $20.80
              Disposition                                         same and correspond with publications regarding same (.8)
June 2019     Asset                  06/04/19 AEP             390 Meeting with J. Rak to identify and assign responsibility for tasks associated with second              2.2       0.275      $107.25
              Disposition                                         tranche of closings (2.2)
June 2019     Asset                  06/04/19 AEP             390 proofread, edit, and revise proposed publication notice (.6)                                            0.6       0.075       $29.25
              Disposition
June 2019     Asset                  06/04/19 AEP             390 revise spreadsheets to reflect rearrangement of properties to be included in second                     0.2       0.025        $9.75
              Disposition                                         marketing tranche (.2)
June 2019     Asset                  06/04/19 AEP             390 and outline motion to approve sales of properties in second tranche (1.6).                              1.6          0.2      $78.00
              Disposition
June 2019     Asset                  06/04/19 AEP             390 communications with title company and surveyor regarding ordering of title commitments                  0.3      0.0375       $14.63
              Disposition                                         and surveys for second tranche properties (.3)
June 2019     Asset                  06/04/19 JR              140 work with A. Porter in drafting revisions to the motion to approve sale for the second                  1.9      0.2375       $33.25
              Disposition                                         tranche (1.9)
June 2019     Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
              Disposition
June 2019     Asset                  06/04/19 KMP             140 Conferences with N. Mirjanich and publication representatives regarding payment for                     0.2         0.02       $2.80
              Disposition                                         newspaper notice in connection with public bids for sale of next tranche of properties, and
                                                                  attention to receipts for same.
June 2019     Asset                  06/04/19 MR              390 attention to sales issues (.2).                                                                         0.2 0.0105263          $4.11
              Disposition
June 2019     Asset                  06/04/19 MR              390 Attention to various motions and emails regarding objections to sales and credit bids (.4)              0.4 0.0210526          $8.21
              Disposition
June 2019     Asset                  06/04/19 NM              260 Correspond with K. Duff, M. Rachlis, A. Porter, K. Pritchard, real estate broker, and papers            0.9         0.09      $23.40
              Disposition                                         regarding notice of publication for second tranche of property sales and publish same.

June 2019     Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
              Disposition                                         properties (.6).
June 2019     Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
              Disposition
June 2019     Asset                  06/05/19 NM              260 Correspond with K. Duff and real estate broker regarding sale of second tranche and                     0.2 0.0166667          $4.33
              Disposition                                         finalizing bid procedures for same (.2)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019     Asset                  06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714         $25.77
              Disposition                                         marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                  specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                  to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                  PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                  surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                  lists and closing documents, and numerous other transaction preparation tasks.

June 2019     Asset                  06/06/19 JR              140 exchange correspondence with the property managers regarding preparation of due                         1.6          0.2      $28.00
              Disposition                                         diligence documents in preparation for closing of the second tranche and follow up
                                                                  regarding online water accounts (1.6)
June 2019     Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
              Disposition
June 2019     Asset                  06/06/19 MR              390 Analysis of credit bid issues.                                                                          0.8 0.0421053         $16.42
              Disposition
June 2019     Asset                  06/07/19 AEP             390 Conference call with J. Rak and title insurance underwriter regarding enumeration of                    1.0 0.0833333         $32.50
              Disposition                                         exceptions to be raised on title commitments for second batch of properties and water
                                                                  certification processing responsibilities.
June 2019     Asset                  06/07/19 JR              140 Telephone conference with the title company and A. Porter regarding the second tranche of               0.8          0.1      $14.00
              Disposition                                         title commitments and the requirements (.8)
June 2019     Asset                  06/07/19 JR              140 begin drafting closing checklists for the second tranche (2.4)                                          2.4          0.3      $42.00
              Disposition
June 2019     Asset                  06/07/19 MR              390 attention to various issues on status on credit bids and other issues, including as to recent           1.2 0.0631579         $24.63
              Disposition                                         filings (1.2).
June 2019     Asset                  06/08/19 AEP             390 Study lenders' objections to motions to approve marketing of second sales tranches, judicial            3.1 0.2583333        $100.75
              Disposition                                         orders relating thereto, and appeals therefrom (3.1)
June 2019     Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824          $2.29
              Disposition
June 2019     Asset                  06/09/19 MR              390 Review and analyze objections regarding sales process and credit bids.                                  2.0 0.1052632         $41.05
              Disposition
June 2019     Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
              Disposition
June 2019     Asset                  06/10/19 MR              390 review of emails and follow up regarding same (.2).                                                     0.2 0.0105263          $4.11
              Disposition
June 2019     Asset                  06/10/19 MR              390 Further review and edits to response on credit bids (.5)                                                0.5 0.0263158         $10.26
              Disposition
June 2019     Asset                  06/11/19 MR              390 Attention to credit bid issues and review and revise procedures and correspondence on                   1.2 0.0631579         $24.63
              Disposition                                         same.
June 2019     Asset                  06/12/19 MR              390 further work and analysis on redrafted credit bid procedures and follow up on same (.9).                0.9 0.0473684         $18.47
              Disposition
June 2019     Asset                  06/12/19 MR              390 Conferences regarding credit bid issues with counsel for lender and Receiver (1.0)                      1.0 0.0526316         $20.53
              Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
June 2019     Asset                  06/13/19 JR              140 exchange communication with property manager, K. Prichard, K. Duff and E. Duff regarding                0.5 0.0185185          $2.59
              Disposition                                         requested due diligence documents for the second and third tranches and regarding status
                                                                  of online water payments (.5)
June 2019     Asset                  06/13/19 JR              140 exchange correspondence with property manager regarding water accounts for all                          0.5 0.0416667          $5.83
              Disposition                                         properties managed by same and confer with K. Duff, K. Pritchard and D. Ellen regarding
                                                                  same (.5).
June 2019     Asset                  06/13/19 JR              140 exchange follow up correspondence with property manager regarding due diligence                         0.2 0.0166667          $2.33
              Disposition                                         materials for the second tranche (.2)
June 2019     Asset                  06/13/19 JR              140 begin draft of closing documents for the second tranche of properties (2.6)                             2.6 0.2166667         $30.33
              Disposition
June 2019     Asset                  06/14/19 JR              140 telephone follow up with property manager regarding the due diligence documents (.2).                   0.2 0.0133333          $1.87
              Disposition
June 2019     Asset                  06/14/19 MR              390 Work on credit bid procedures and exchange emails and drafts (1.2)                                      1.2 0.0631579         $24.63
              Disposition
June 2019     Asset                  06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                  0.2 0.0142857          $2.00
              Disposition                                         tranche of properties (.2).
June 2019     Asset                  06/17/19 MR              390 conferences with counsel for lender (.3)                                                                0.3 0.0157895          $6.16
              Disposition
June 2019     Asset                  06/17/19 MR              390 Attention to issues on credit bids and review and revise same (1.0)                                     1.0 0.0526316         $20.53
              Disposition
June 2019     Asset                  06/17/19 MR              390 and confer with K. Duff regarding same (.4).                                                            0.4 0.0210526          $8.21
              Disposition
June 2019     Asset                  06/18/19 JR              140 updated all the closing checklists with real estate taxes for second tranche (.8)                       0.8          0.1      $14.00
              Disposition
June 2019     Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
              Disposition
June 2019     Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
              Disposition                                         all properties (.1).
June 2019     Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346          $0.13
              Disposition
June 2019     Asset                  06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts             1.8 0.1285714         $18.00
              Disposition                                         (1.8)
June 2019     Asset                  06/23/19 AEP             390 Begin preparation of purchase and sale agreements for all properties in second series,                  2.5 0.2083333         $81.25
              Disposition                                         necessitating confirmation of all legal descriptions, PINs, and status of all administrative
                                                                  proceedings, review of all title commitments, drafting of financing contingency language,
                                                                  drafting of additional language regarding proration of tenant rents at closing, preparation of
                                                                  credit bid rider, completion of joint order escrow instructions, preparation of form
                                                                  assignment and assumption of rents agreements, reading of all attorney correspondence
                                                                  relating to litigation over credit bid procedures, and updating of receivership portfolio
                                                                  spreadsheet to incorporate additional information for motion-tracking purposes.




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019     Asset                  06/24/19 AEP             390 Continue preparation of purchase and sale agreements for all properties in second series,               6.5 0.5416667       $211.25
              Disposition                                         necessitating confirmation of all legal descriptions, PINs, and status of all administrative
                                                                  proceedings, review of all title commitments, drafting of financing contingency language,
                                                                  drafting of additional language regarding proration of tenant rents at closing, preparation of
                                                                  credit bid rider, completion of joint order escrow instructions, preparation of form
                                                                  assignment and assumption of rents agreements, reading of all attorney correspondence
                                                                  relating to litigation over credit bid procedures, and updating of receivership portfolio
                                                                  spreadsheet to incorporate additional information for motion-tracking purposes.

June 2019     Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
              Disposition                                         referencing all properties (.3)
June 2019     Asset                  06/25/19 AEP             390 Finalize preparation of purchase and sale agreements for all properties in second series,               2.5      0.3125     $121.88
              Disposition                                         necessitating confirmation of all legal descriptions, PINs, and status of all administrative
                                                                  proceedings, review of all title commitments, drafting of financing contingency language,
                                                                  drafting of additional language regarding proration of tenant rents at closing, preparation of
                                                                  credit bid rider, completion of joint order escrow instructions, preparation of form
                                                                  assignment and assumption of rents agreements, reading of all attorney correspondence
                                                                  relating to litigation over credit bid procedures, and updating of receivership portfolio
                                                                  spreadsheet to incorporate additional information for motion-tracking purposes.

June 2019     Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
              Disposition
June 2019     Asset                  06/26/19 JR              140 exchange correspondence with A. Porter regarding title commitments for the second tranche               0.1      0.0125       $1.75
              Disposition                                         (.1).
June 2019     Asset                  06/26/19 JR              140 organize electronic records for the remainder of the second tranche for all documents in                1.8       0.225      $31.50
              Disposition                                         preparation for sale (1.8)
June 2019     Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
              Disposition                                         the receiver's information (.9)
June 2019     Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
              Disposition
June 2019     Asset                  06/27/19 AEP             390 Review all latest administrative code violation pleadings and orders and update files being             0.3 0.0272727        $10.64
              Disposition                                         prepared for closing (.3)
June 2019     Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667         $2.33
              Disposition                                         receivership properties (1.8).
June 2019     Asset                  06/28/19 JR              140 review all the documents received from the title company regarding same (.9)                            0.9 0.1285714        $18.00
              Disposition
June 2019     Asset                  06/28/19 JR              140 Exchange numerous emails with the title company relating to title company's drafting of                 0.6 0.0857143        $12.00
              Disposition                                         closing documents for the remainder of the properties (.6)
June 2019     Business               06/03/19 ED              390 Meeting with property manager and asset manager regarding property cash management                      1.8 0.0486486        $18.97
              Operations                                          and property reserves and funding for future property expenses (1.8)

June 2019     Business               06/03/19 ED              390 call with K. Duff to discuss results of meeting with property manager (.3)                              0.3 0.0081081         $3.16
              Operations


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2019     Business               06/03/19 ED          390 preparation for same (2.2)                                                                             2.2 0.0594595         $23.19
              Operations
June 2019     Business               06/03/19 ED          390 and prepare and send email to meeting participants to follow up on open items and next                 0.8 0.0216216          $8.43
              Operations                                      steps (.8)
June 2019     Business               06/05/19 KMP         140 communications with K. Duff and E. Duff regarding past due water bills for various properties          0.2         0.04       $5.60
              Operations                                      and communications with property manager (.2).
June 2019     Business               06/05/19 MR          390 Review and follow up on motions on objections to extend time.                                          0.4 0.0210526          $8.21
              Operations
June 2019     Business               06/06/19 KMP         140 Prepare form for wire transfer to property manager for down payment on past due water                  0.4         0.08      $11.20
              Operations                                      bills, and communications with K. Duff, E. Duff, and bank representatives regarding same (.4)

June 2019     Business               06/06/19 KMP         140 attention to communications from accountant regarding spreadsheets containing financial                0.1 0.0090909          $1.27
              Operations                                      information for various properties (.1)
June 2019     Business               06/06/19 KMP         140 conference with N. Mirjanich regarding same, and review documents and prior email                      1.1          0.1      $14.00
              Operations                                      communications relating to same (1.1).
June 2019     Business               06/07/19 ED          390 telephone call with insurance agent regarding the foregoing (.1)                                       0.1       0.001        $0.39
              Operations
June 2019     Business               06/07/19 ED          390 review correspondence and documents regarding pending claims (.4)                                      0.4       0.004        $1.56
              Operations
June 2019     Business               06/07/19 ED          390 Review policy documents relating to insurance renewals (.9)                                            0.9 0.0087379          $3.41
              Operations
June 2019     Business               06/07/19 ED          390 review and analysis of documents and email correspondence to organize list of items for                2.7       0.027       $10.53
              Operations                                      current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019     Business               06/07/19 KMP         140 attention to further communications from accountant regarding spreadsheets containing                  0.1 0.0090909          $1.27
              Operations                                      financial information for various properties (.1).
June 2019     Business               06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                   0.4 0.0038835          $0.54
              Operations                                      liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                              regarding same (.4)
June 2019     Business               06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                       0.2 0.0019417          $0.27
              Operations                                      property insurance renewal and forward executed documentation relating to same (.2)

June 2019     Business               06/09/19 MR          390 Attention to emails from Court regarding objections and filings.                                       0.2 0.0105263          $4.11
              Operations
June 2019     Business               06/11/19 ED          390 email correspondence with K. Duff and K. Pritchard regarding wires for utility installment             0.2         0.04      $15.60
              Operations                                      payments (.2).
June 2019     Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)             0.2       0.002        $0.78
              Operations
June 2019     Business               06/11/19 ED          390 confer with N. Mirjanich regarding receivership expenditures for property repairs (.2)                 0.2         0.04      $15.60
              Operations
June 2019     Business               06/13/19 ED          390 confer with N. Mirjanich regarding property balances available for payment of expenses (.2)            0.2         0.04      $15.60
              Operations




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
June 2019     Business               06/13/19 ED          390 confer with J. Rak regarding communication with property manager relating to utility bills             0.2         0.04      $15.60
              Operations                                      coming due (.2)
June 2019     Business               06/13/19 ED          390 email correspondence with J. Rak, K. Pritchard, K. Duff and N. Mirjanich regarding same (.3)           0.3         0.06      $23.40
              Operations
June 2019     Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                 0.1 0.0009709          $0.14
              Operations                                      payment for same (.1).
June 2019     Business               06/13/19 NM          260 correspond with J. Rak regarding outstanding water accounts and study email                            0.2 0.0333333          $8.67
              Operations                                      correspondence relating to same (.2).
June 2019     Business               06/13/19 NM          260 Correspond with property manager regarding updates on housing court and administrative                 0.9     0.05625       $14.63
              Operations                                      matters in court next month and revise spreadsheet to reflect same (.9)

June 2019     Business               06/14/19 MR          390 Attention to emails regarding issues on financial reporting.                                           0.3 0.0081081          $3.16
              Operations
June 2019     Business               06/14/19 NM          260 Correspond with City attorney and property managers regarding outstanding code violations              0.5       0.125       $32.50
              Operations                                      and collection notices against EB entities.
June 2019     Business               06/15/19 MR          390 Work on draft reply brief relating to lender's objections to order.                                    2.7 0.1421053         $55.42
              Operations
June 2019     Business               06/16/19 MR          390 Attention to draft brief and further work regarding lender's objections to order.                      2.0 0.1052632         $41.05
              Operations
June 2019     Business               06/17/19 AW          140 Study draft response to lender's objection to May 2 Order (.8)                                         0.8 0.0666667          $9.33
              Operations
June 2019     Business               06/17/19 AW          140 attention to email regarding differences to bid process, review drafts, and follow up with M.          0.4 0.0333333          $4.67
              Operations                                      Rachlis regarding same (.4).
June 2019     Business               06/17/19 ED          390 Review reporting and related email correspondence from property manager regarding May                  4.8 0.1297297         $50.59
              Operations                                      cash balances, outstanding utility payments, and other matters (4.8)

June 2019     Business               06/17/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0054054          $2.11
              Operations
June 2019     Business               06/17/19 MR          390 Attention to upcoming hearing and prepare for same (2.0)                                               2.0 0.1052632         $41.05
              Operations
June 2019     Business               06/17/19 MR          390 attention to filings from lenders (1.5)                                                                1.5 0.0789474         $30.79
              Operations
June 2019     Business               06/19/19 MR          390 Attention to order on hearing and related issues.                                                      0.3 0.0157895          $6.16
              Operations
June 2019     Business               06/19/19 NM          260 correspond with A. Porter regarding code violations on second tranche of property sales (.2).          0.2 0.0166667          $4.33
              Operations
June 2019     Business               06/20/19 ED          390 Email correspondence with property manager regarding funds for utility and tax payments                0.8 0.0216216          $8.43
              Operations                                      and funding of property accounts (.8)
June 2019     Business               06/20/19 ED          390 develop proposal for workflow regarding funding of accounts payable (.3)                               0.3 0.0081081          $3.16
              Operations
June 2019     Business               06/24/19 ED          390 confer with K. Pritchard regarding workflow for addressing property payables (.1)                      0.1 0.0027027          $1.05
              Operations




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2019     Business               06/24/19 ED          390 Review financial reporting from property managers (1.8)                                                 1.8 0.0486486        $18.97
              Operations
June 2019     Business               06/25/19 ED          390 prepare estimate for K. Duff of property expenses (.4)                                                  0.4 0.0108108         $4.22
              Operations
June 2019     Business               06/25/19 ED          390 call with accountant (.2)                                                                               0.2 0.0054054         $2.11
              Operations
June 2019     Business               06/25/19 ED          390 Email correspondence with property manager regarding system to address funding of                       0.2 0.0054054         $2.11
              Operations                                      accounts payable (.2)
June 2019     Business               06/25/19 ED          390 to follow up on workflow for processing utility bills and other accounts receivable, and email          0.4 0.0108108         $4.22
              Operations                                      correspondence with K. Pritchard, K. Duff and accountant regarding same (.4)

June 2019     Business               06/25/19 ED          390 confer with K. Duff and K. Pritchard regarding same (.2)                                                0.2 0.0054054         $2.11
              Operations
June 2019     Business               06/25/19 ED          390 email correspondence with property manager regarding past due utility bills (.2)                        0.2 0.0054054         $2.11
              Operations
June 2019     Business               06/25/19 KMP         140 conference with E. Duff regarding means of managing utility bills for various properties, and           0.2 0.0051282         $0.72
              Operations                                      review communication to accountant regarding method for accomplishing same (.2).

June 2019     Business               06/26/19 KMP         140 Prepare wire request forms for transfers to property manager for property management                    0.4 0.0285714         $4.00
              Operations                                      expenses, and communications with K. Duff, E. Duff, and bank representatives regarding
                                                              same (.4)
June 2019     Business               06/26/19 KMP         140 attention to communication with accountant and E. Duff regarding preparation and                        0.1 0.0025641         $0.36
              Operations                                      maintenance of spreadsheet for managing utility bills for various properties (.1).

June 2019     Claims                 06/13/19 ED          390 draft email to property manager regarding property bank accounts (.2).                                  0.2 0.0054054         $2.11
              Administration
              & Objections

June 2019     Claims                 06/21/19 MR          390 Review communication with lender (.2)                                                                   0.2 0.0105263         $4.11
              Administration
              & Objections

July 2019     Asset                  07/01/19 KBD         390 Study and evaluate offers on second group of listed properties with real estate broker, M.              2.3 0.1916667        $74.75
              Disposition                                     Rachlis, A. Porter, and J. Rak.
July 2019     Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002       $0.78
              Disposition                                     properties and timing (.2)
July 2019     Asset                  07/06/19 KBD         390 Exchange correspondence regarding notice of public sale.                                                0.1      0.0125       $4.88
              Disposition
July 2019     Asset                  07/09/19 KBD         390 Study order from Judge Kim (.2)                                                                         0.2 0.0105263         $4.11
              Disposition
July 2019     Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002       $0.78
              Disposition                                     and impact on timing for sale of properties and planning (.2)




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
July 2019     Asset                  07/10/19 KBD         390 telephone conference with property manager regarding same (.1)                                       0.1 0.0037037          $1.44
              Disposition
July 2019     Asset                  07/10/19 KBD         390 Attention to due diligence materials from property manager from upcoming property sales              0.2 0.0074074          $2.89
              Disposition                                     (.2)
July 2019     Asset                  07/12/19 KBD         390 review correspondence from property manager regarding due diligence materials (.1).                  0.1 0.0166667          $6.50
              Disposition
July 2019     Asset                  07/12/19 KBD         390 Review correspondence from potential purchaser and exchange correspondence with real                 0.2 0.0074074          $2.89
              Disposition                                     estate broker regarding same (.2)
July 2019     Asset                  07/15/19 KBD         390 study correspondence from A. Porter regarding due diligence materials (701 5th, 2909 78th,           0.2 0.0333333         $13.00
              Disposition                                     5955 Sacramento, 6001 Sacramento, 7026 Cornell, 7237 Bennett) (.2).
July 2019     Asset                  07/16/19 KBD         390 study various due diligence materials, property updates, and correspondence regarding                0.4 0.0666667         $26.00
              Disposition                                     same (.4)
July 2019     Asset                  07/18/19 KBD         390 attention to notice of real estate sale publication (.2).                                            0.2 0.0074074          $2.89
              Disposition
July 2019     Asset                  07/22/19 KBD         390 exchange correspondence with M. Rachlis regarding issues relating to sale of property (2909          0.1          0.1      $39.00
              Disposition                                     78th) (.1).
July 2019     Asset                  07/23/19 KBD         390 Exchange correspondence with real estate broker regarding communications with purchaser              0.1          0.1      $39.00
              Disposition                                     (2909 E 78th) regarding request for credit and connection with permit issues and down unit
                                                              (638 Avers) (.1)
July 2019     Asset                  07/25/19 KBD         390 Telephone conference with real estate broker regarding status of properties under contract,          0.2 0.0074074          $2.89
              Disposition                                     showing of listed properties, and timing considerations (.2)
July 2019     Asset                  07/29/19 KBD         390 study correspondence from buyer's counsel regarding inspection and credit issues (.1).               0.1          0.1      $39.00
              Disposition
July 2019     Asset                  07/29/19 KBD         390 Study draft motion to approve sale of properties (.3)                                                0.3      0.0375       $14.63
              Disposition
July 2019     Asset                  07/30/19 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                               0.2 0.0074074          $2.89
              Disposition
July 2019     Asset                  07/30/19 KBD         390 telephone conference with representative for potential buyers regarding communications               0.2 0.0074074          $2.89
              Disposition                                     with real estate broker (.2)
July 2019     Asset                  07/30/19 KBD         390 telephone conference with real estate broker regarding same (.1)                                     0.1 0.0037037          $1.44
              Disposition
July 2019     Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                  0.2       0.002        $0.78
              Disposition
July 2019     Asset                  07/31/19 KBD         390 Exchange correspondence with J. Rak regarding due diligence issue and information from               0.1 0.0166667          $6.50
              Disposition                                     property manager (.1)
July 2019     Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                         0.2       0.002        $0.78
              Disposition
July 2019     Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                          0.3 0.0029412          $1.15
              Operations
July 2019     Business               07/01/19 KBD         390 telephone conference with bank representative and review correspondence regarding                    0.2 0.0333333         $13.00
              Operations                                      transfer of funds (.2)
July 2019     Business               07/01/19 KBD         390 study correspondence from E. Duff regarding procedures for property expense management               0.3 0.0081081          $3.16
              Operations                                      (.3).


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
July 2019     Business               07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with               0.2       0.002        $0.78
              Operations                                      property manager (.2).
July 2019     Business               07/05/19 KBD         390 Exchange correspondence with property manager representative relating to real estate                0.1 0.0027027          $1.05
              Operations                                      taxes.
July 2019     Business               07/10/19 KBD         390 Review real estate tax bills (.2)                                                                   0.2 0.0019608          $0.76
              Operations
July 2019     Business               07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                          0.1 0.0009804          $0.38
              Operations
July 2019     Business               07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,          0.2 0.0019608          $0.76
              Operations                                      communications with asset manager regarding property management costs, and
                                                              communications with insurance broker relating to premiums (.2)
July 2019     Business               07/12/19 KBD         390 study property manager financial reporting (.4).                                                    0.4 0.0108108          $4.22
              Operations
July 2019     Business               07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                   0.1 0.0009804          $0.38
              Operations
July 2019     Business               07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                    0.2 0.0018868          $0.74
              Operations
July 2019     Business               07/15/19 KBD         390 Exchange correspondence with property manager regarding property management costs (.1)              0.1 0.0027027          $1.05
              Operations
July 2019     Business               07/15/19 KBD         390 study other property manager financial reporting (.5).                                              0.5 0.0135135          $5.27
              Operations
July 2019     Business               07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same             0.1 0.0009901          $0.39
              Operations                                      and priority of property sales (.1)
July 2019     Business               07/16/19 KBD         390 Study correspondence from property manager, accounting firm representative, and E. Duff             0.2 0.0054054          $2.11
              Operations                                      regarding property expense procedures.
July 2019     Business               07/17/19 KBD         390 Analysis of property manager financial reporting and property expenses with asset manager           0.6 0.0162162          $6.32
              Operations                                      and E. Duff (.6)
July 2019     Business               07/18/19 KBD         390 confer with and review correspondence from N. Mirjanich regarding housing court hearing             0.2       0.025        $9.75
              Operations                                      (.2)
July 2019     Business               07/22/19 KBD         390 study documentation regarding outstanding property expenses (.3)                                    0.3         0.05      $19.50
              Operations
July 2019     Business               07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                 0.2 0.0019608          $0.76
              Operations                                      payment for insurance (.2)
July 2019     Business               07/26/19 KBD         390 exchange correspondence with property manager regarding tenant eviction efforts and                 0.1          0.1      $39.00
              Operations                                      options (.1)
July 2019     Business               07/26/19 KBD         390 study potential unit turns and remodel estimates and exchange correspondence with asset             0.4 0.0307692         $12.00
              Operations                                      manager regarding same (.4)
July 2019     Business               07/27/19 KBD         390 draft correspondence to J. Rak regarding real estate taxes (.1).                                    0.1 0.0166667          $6.50
              Operations
July 2019     Business               07/27/19 KBD         390 Study correspondence from asset manager regarding potential unit turns and capital                  0.2 0.0153846          $6.00
              Operations                                      improvements (.2)
July 2019     Business               07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                0.3       0.003        $1.17
              Operations


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019     Business               07/29/19 KBD             390 telephone conference with asset manager regarding same (.1)                                            0.1 0.0076923          $3.00
              Operations
July 2019     Business               07/29/19 KBD             390 Study information from property manager, asset manager, and J. Rak regarding payment of                0.5 0.0384615         $15.00
              Operations                                          real estate taxes, potential unit turns, and property repairs (.5)
July 2019     Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
              Administration                                      lender issue and impact on sales effort (.2)
              & Objections

July 2019     Asset                  07/01/19 AEP             390 Meeting with K. Duff, M. Rachlis, J. Rak, and receivership brokers to analyze and select               2.2         0.22      $85.80
              Disposition                                         winning bids in connection with the public sales of next tranche of receivership properties
                                                                  (2.2)
July 2019     Asset                  07/01/19 JR              140 exchange correspondence with property management team regarding due diligence material                 0.3       0.025        $3.50
              Disposition                                         request (.3)
July 2019     Asset                  07/01/19 JR              140 file fully executed purchase and sale agreements in appropriate electronic files for the               0.3      0.0375        $5.25
              Disposition                                         second series of closings (.3)
July 2019     Asset                  07/01/19 JR              140 review the due diligence materials received from property management (.9)                              0.9       0.075       $10.50
              Disposition
July 2019     Asset                  07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
              Disposition                                         third tranche (1.5)
July 2019     Asset                  07/01/19 JR              140 exchange correspondence with property managers regarding additional due diligence                      0.3      0.0375        $5.25
              Disposition                                         documents that will need to be produced relating to the second tranche of properties (.3)

July 2019     Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614          $1.94
              Disposition
July 2019     Asset                  07/01/19 MR              390 Work in preparation for upcoming hearing before Judge Kim (4.7)                                        4.7 0.2473684         $96.47
              Disposition
July 2019     Asset                  07/01/19 MR              390 participate in meeting with K. Duff and A. Porter regarding same (1.3)                                 1.3 0.0684211         $26.68
              Disposition
July 2019     Asset                  07/01/19 MR              390 attend meeting regarding selection of bids for sale of next tranche of properties with A.              2.1       0.175       $68.25
              Disposition                                         Porter, K. Duff, J. Rak and asset manager (2.1)
July 2019     Asset                  07/01/19 MR              390 attention to other lender related emails (.2).                                                         0.2 0.0105263          $4.11
              Disposition
July 2019     Asset                  07/02/19 JR              140 Review email correspondence from property manager to our request to produce due                        0.2       0.025        $3.50
              Disposition                                         diligence documents for the second tranche (.2)
July 2019     Asset                  07/02/19 JR              140 organize corresponding due diligence materials received from property manager                          0.7 0.0583333          $8.17
              Disposition                                         electronically regarding same (.7).
July 2019     Asset                  07/02/19 JR              140 exchange email correspondence with A. Porter and review A. Porter email regarding further              0.5 0.0416667          $5.83
              Disposition                                         due diligence materials (.5)
July 2019     Asset                  07/02/19 JR              140 organize due diligence materials received from the property manager regarding the second               5.8       0.725      $101.50
              Disposition                                         series of properties in preparation for review and to send to buyer's attorneys (5.8)

July 2019     Asset                  07/02/19 MR              390 research record and follow up on various issues and court's requests for information from              2.0 0.1052632         $41.05
              Disposition                                         transcripts (2.0).


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2019     Asset                  07/02/19 MR              390 Further preparation for and attend hearing before Judge Kim (2.5)                                      2.5 0.1315789         $51.32
              Disposition
July 2019     Asset                  07/03/19 JR              140 exchange correspondence with E. Duff relating to the owner's portal for property manager               0.2 0.0285714          $4.00
              Disposition                                         due diligence documents request (.2)
July 2019     Asset                  07/03/19 JR              140 Update and organize closing checklists for the second series of properties with various                2.7      0.3375       $47.25
              Disposition                                         pertinent information related to closing (2.7)
July 2019     Asset                  07/03/19 MR              390 Attention to issues regarding filings, review of transcripts and correspondence following up           0.6 0.0315789         $12.32
              Disposition                                         on hearing.
July 2019     Asset                  07/07/19 MR              390 Further work on submission regarding July 2nd hearing.                                                 0.8 0.0421053         $16.42
              Disposition
July 2019     Asset                  07/08/19 JR              140 Draft closing checklists for the remainder of the second tranche of properties including               3.6         0.45      $63.00
              Disposition                                         collecting all the property information and data (3.6)
July 2019     Asset                  07/09/19 JR              140 Review email from A. Porter and exchange further correspondence relating to purchase and               0.3          0.3      $42.00
              Disposition                                         sale agreement for property (2909 E. 78th) (.3)
July 2019     Asset                  07/09/19 JR              140 review email from broker and reply regarding the due diligence documents that have been                0.3       0.025        $3.50
              Disposition                                         received and those that have not been received from property managers (.3)

July 2019     Asset                  07/09/19 MR              390 Review order from Judge Kim on sales issues.                                                           0.3 0.0157895          $6.16
              Disposition
July 2019     Asset                  07/10/19 AEP             390 Comprehensive review with J. Rak of status of all pending purchase and sale transactions               5.5 0.4583333        $178.75
              Disposition                                         relating to sales of properties in second series, including status of earnest money deposits,
                                                                  SJO forms, due diligence documents, closing checklists, and create to-do list of all items
                                                                  necessary to keep transactions on track.
July 2019     Asset                  07/10/19 JR              140 Work on second series of due diligence documents and a search for documents with A.                    2.5 0.2083333         $29.17
              Disposition                                         Porter (2.5)
July 2019     Asset                  07/10/19 JR              140 exchange communication with buyer attorney's regarding series 2, tranche 2, and tranche 3              1.1 0.0733333         $10.27
              Disposition                                         properties regarding due diligence documents and method of delivery (1.1)

July 2019     Asset                  07/10/19 JR              140 exchange communication with broker regarding same (.1)                                                 0.1 0.0083333          $1.17
              Disposition
July 2019     Asset                  07/10/19 JR              140 exchange communication with property manager regarding same (.1)                                       0.1 0.0083333          $1.17
              Disposition
July 2019     Asset                  07/10/19 JR              140 organize and save due diligence documents (1.7).                                                       1.7 0.1133333         $15.87
              Disposition
July 2019     Asset                  07/11/19 JR              140 exchange communication with A. Porter regarding same (.2)                                              0.2 0.0133333          $1.87
              Disposition
July 2019     Asset                  07/11/19 JR              140 exchange communication and forward to buyer's attorney due diligence documents                         1.6 0.1066667         $14.93
              Disposition                                         regarding properties in the second series and third tranche (1.6)
July 2019     Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                      1.9       0.019        $2.66
              Disposition
July 2019     Asset                  07/12/19 AEP             390 review, inventory, and reorganize all due diligence documents received from management                 3.5         0.35     $136.50
              Disposition                                         company and prepare detailed spreadsheet of all missing items still needed to be produced
                                                                  to prospective purchasers (3.5)


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2019     Asset                  07/12/19 AEP             390 review and analyze claims documentation submitted by investor-lender including promissory             1.4 0.2333333         $91.00
              Disposition                                         note, mortgage, collateral servicing agreement, and offering memorandum and prepare
                                                                  response to team regarding potential existence of equitable mortgages in favor of certain
                                                                  investor-lenders (1.4).
July 2019     Asset                  07/12/19 AEP             390 Begin second cycle through second sale series to inventory and review accuracy of all                 1.2         0.15      $58.50
              Disposition                                         transaction documents prepared to-date and respond to various e-mail queries from
                                                                  prospective purchasers (1.2)
July 2019     Asset                  07/12/19 JR              140 review pending litigation documents for the second series (1.4)                                       1.4 0.1166667         $16.33
              Disposition
July 2019     Asset                  07/12/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.6)                                         0.6         0.05       $7.00
              Disposition
July 2019     Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                              1.8       0.018        $2.52
              Disposition
July 2019     Asset                  07/12/19 NM              260 Correspond with J. Rak regarding code violations on second and third tranches of property             0.6 0.0272727          $7.09
              Disposition                                         sales and due diligence materials for the same.
July 2019     Asset                  07/15/19 AEP             390 Prepare e-mail to property management company identifying all deficiencies in production              0.8 0.1333333         $52.00
              Disposition                                         of due diligence documentation.
July 2019     Asset                  07/15/19 JR              140 update and send real estate tax balances to E. Duff and K. Duff (.8).                                 0.8 0.0216216          $3.03
              Disposition
July 2019     Asset                  07/15/19 MR              390 conferences regarding sales (.2)                                                                      0.2 0.0105263          $4.11
              Disposition
July 2019     Asset                  07/16/19 JR              140 follow up communication with property manager and A. Porter regarding same (.1)                       0.1          0.1      $14.00
              Disposition
July 2019     Asset                  07/16/19 JR              140 Exchange correspondence with buyer's counsel regarding expectations of due diligence                  0.2          0.2      $28.00
              Disposition                                         documents upon receiving from property manager (.2)
July 2019     Asset                  07/16/19 JR              140 review email received from property manager regarding the due diligence documents                     3.9      0.4875       $68.25
              Disposition                                         relating to the second series of properties and save to corresponding electronic files (3.9)

July 2019     Asset                  07/16/19 JR              140 review email from property manager regarding litigation documents (.1)                                0.1 0.0083333          $1.17
              Disposition
July 2019     Asset                  07/17/19 AEP             390 review, inventory, analyze, and reorganize second set of utility and other invoices received          2.1         0.35     $136.50
              Disposition                                         from management company prior to due diligence production to prospective purchasers
                                                                  (2.1)
July 2019     Asset                  07/17/19 JR              140 save remainder of the due diligence documents into corresponding electronic files for                 0.9      0.1125       $15.75
              Disposition                                         properties in the second series (.9)
July 2019     Asset                  07/17/19 JR              140 review same and exchange correspondence with property manager regarding certain due                   0.8 0.0666667          $9.33
              Disposition                                         diligence documents (.8)
July 2019     Asset                  07/17/19 JR              140 Exchange correspondence with A. Porter advising that we received all the due diligence                0.2       0.025        $3.50
              Disposition                                         documents from property manager for current properties under contract in the second
                                                                  series (.2)
July 2019     Asset                  07/17/19 MR              390 attention to other sales issues, moving forward on marketing, and related matters as part of          1.5 0.0789474         $30.79
              Disposition                                         meeting with K. Duff, A. Porter, and asset manager (1.5).




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
July 2019     Asset                  07/18/19 AEP             390 Finish reviewing, analyzing, reorganizing, and inventorying second batch of utility invoices          1.5      0.1875       $73.13
              Disposition                                         received from management company in connection with second series of sales (1.5)

July 2019     Asset                  07/18/19 AEP             390 e-mail correspondence with title company regarding authenticity of attorney-signed strict             0.1 0.0111111          $4.33
              Disposition                                         joint order escrow agreements (.1)
July 2019     Asset                  07/18/19 AEP             390 communications with title companies regarding status of earnest money deposits and                    0.7 0.0777778         $30.33
              Disposition                                         prepare separate e-mails to counsel for purchasers of all properties for which earnest money
                                                                  deposit had not yet been received (.7)
July 2019     Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers           0.1 0.0009804          $0.14
              Disposition                                         (.1)
July 2019     Asset                  07/18/19 JR              140 exchange correspondence with buyer's counsel and forward due diligence documents for                  1.1          1.1     $154.00
              Disposition                                         same (1.1)
July 2019     Asset                  07/18/19 JR              140 Organize leases for property (2909 E. 78th) (2.1)                                                     2.1          2.1     $294.00
              Disposition
July 2019     Asset                  07/18/19 JR              140 exchange correspondence with A. Porter related to same and various other due diligence                0.3          0.3      $42.00
              Disposition                                         documents for property (2909 E. 78th) (.3)
July 2019     Asset                  07/18/19 JR              140 confer with A. Watychowicz regarding due diligence documents (.1).                                    0.1          0.1      $14.00
              Disposition
July 2019     Asset                  07/18/19 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1          0.1      $14.00
              Disposition
July 2019     Asset                  07/18/19 JR              140 review leases for property (2909 E. 78th) (.8)                                                        0.8          0.8     $112.00
              Disposition
July 2019     Asset                  07/18/19 JR              140 review email correspondence from N. Mirjanich, save housing court matters in electronic               0.4         0.05       $7.00
              Disposition                                         files and exchange correspondence with A. Porter relating to same (.4)
July 2019     Asset                  07/19/19 AEP             390 Finalize review of all due diligence materials received from management company and                   1.6 0.2666667        $104.00
              Disposition                                         prepare e-mail to counsel for purchasers regarding method of production and extension of
                                                                  due diligence contingency periods (1.6)
July 2019     Asset                  07/19/19 JR              140 Review email correspondence from A. Porter pertaining to review of due diligence                      0.1 0.0166667          $2.33
              Disposition                                         documents and preparing an extension of the due diligence period (.1)
July 2019     Asset                  07/19/19 JR              140 exchange correspondence with A. Porter regarding exchanging documents with buyer's                    0.1 0.0166667          $2.33
              Disposition                                         counsel (.1)
July 2019     Asset                  07/22/19 JR              140 reply to buyer and resend several documents (.6)                                                      0.6          0.6      $84.00
              Disposition
July 2019     Asset                  07/22/19 JR              140 Review email correspondence from buyer relating to questions about due diligence                      0.2          0.2      $28.00
              Disposition                                         documents for property (2909 E. 78th) (.2)
July 2019     Asset                  07/22/19 JR              140 exchange correspondence with property manager relating to a request to send unit sizes for            0.2       0.025        $3.50
              Disposition                                         buildings currently under contract for the second series (.2)
July 2019     Asset                  07/22/19 JR              140 review rent rolls received from property manager and identify apartment sizes for each unit           1.2          0.2      $28.00
              Disposition                                         in building (1.2)
July 2019     Asset                  07/22/19 JR              140 exchange correspondence with real estate brokers same (.2).                                           0.2 0.0333333          $4.67
              Disposition
July 2019     Asset                  07/22/19 MR              390 Attention to sales of property.                                                                       0.3 0.0157895          $6.16
              Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours         Fees
July 2019     Asset                  07/23/19 JR              140 exchange correspondence with buyer remainder of due diligence documents from property                      0.7          0.7      $98.00
              Disposition                                         manager and forward same relating to property (2909 E 78th) (.7)
July 2019     Asset                  07/23/19 JR              140 review email from buyer's counsel and the request to extend a mortgage contingency for                     0.5          0.5      $70.00
              Disposition                                         property (2909 E 78th) and respond with approved letter (.5)
July 2019     Asset                  07/23/19 JR              140 confer with real estate brokers relating to unit size spreadsheet (.1)                                     0.1 0.0166667          $2.33
              Disposition
July 2019     Asset                  07/23/19 MR              390 attention to credit bid issues (.3).                                                                       0.3 0.0157895          $6.16
              Disposition
July 2019     Asset                  07/24/19 AEP             390 and communications with property manager regarding status of repair work (.1)                              0.1          0.1      $39.00
              Disposition
July 2019     Asset                  07/24/19 AEP             390 read and respond to letter from prospective purchaser of receivership property (2909 E 78th                0.2          0.2      $78.00
              Disposition                                         Street) regarding request for extension of financing contingency and assorted credits
                                                                  associated with city-required repairs (.2)
July 2019     Asset                  07/24/19 MR              390 Preparation for upcoming hearing (2.2)                                                                     2.2 0.1157895         $45.16
              Disposition
July 2019     Asset                  07/25/19 AEP             390 Teleconference with property manager regarding status of remedial construction at                          0.3          0.3     $117.00
              Disposition                                         receivership property (2909 E 78th Street) and prepare e- mail to counsel for purchaser
                                                                  articulating counter-proposal to request for closing credits (.3)
July 2019     Asset                  07/25/19 JR              140 review litigation documents and review all utility bills received from property manager (2.9).             2.9 0.2416667         $33.83
              Disposition
July 2019     Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet                  0.2       0.002        $0.28
              Disposition                                         (.2)
July 2019     Asset                  07/25/19 JR              140 in preparation for closing, review all the leases, create certified rent roll, review delinquency          3.3          3.3     $462.00
              Disposition                                         report and add delinquencies to the rent roll and review any subsidized housing agreements
                                                                  for property (2909 E. 78th) (3.3)
July 2019     Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                      0.9 0.0088235          $3.44
              Disposition
July 2019     Asset                  07/29/19 AEP             390 begin preparation of motion to approve sales of properties in second marketing series (3.4).               3.4       0.425      $165.75
              Disposition
July 2019     Asset                  07/29/19 JR              140 follow up email with the surveying company regarding status of surveys for various                         0.2 0.0666667          $9.33
              Disposition                                         properties (.2)
July 2019     Asset                  07/29/19 JR              140 review survey that have been received for various properties (.8)                                          0.8         0.08      $11.20
              Disposition
July 2019     Asset                  07/30/19 AEP             390 communications with K. Duff, J. Rak, and receivership property manager regarding absence                   0.1 0.0166667          $6.50
              Disposition                                         of bedroom, bathroom, and floor area information relating to various properties currently
                                                                  under contract of sale (.1)
July 2019     Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and                1.4 0.0137255          $5.35
              Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                  agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                  approve sales, and other closing-related documentation in connection with all remaining
                                                                  tranches (1.4)
July 2019     Asset                  07/30/19 JR              140 further communication with the property manager and E. Duff relating to same (.3)                          0.3         0.05       $7.00
              Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
July 2019     Asset                  07/30/19 JR              140 follow up email correspondence to real estate broker relating to confirming apartment sizes          0.1 0.0166667          $2.33
              Disposition                                         (.1)
July 2019     Asset                  07/30/19 JR              140 exchange correspondence with K. Duff regarding issue with due diligence material and                 0.1 0.0083333          $1.17
              Disposition                                         information from property manager (.1).
July 2019     Asset                  07/31/19 AEP             390 Read e-mail from counsel for prospective purchaser of receivership property (2909 E 78th)            0.2          0.2      $78.00
              Disposition                                         regarding request for closing credit associated with water damage to apartments caused by
                                                                  allegedly faulty roof and forward information to property manager for review, analysis, and
                                                                  guidance (.2)
July 2019     Asset                  07/31/19 JR              140 Exchange correspondence with K. Duff regarding unit sizes for properties managed by one              0.3       0.025        $3.50
              Disposition                                         property manager (.3)
July 2019     Business               07/08/19 AW              140 attention to email to Judge Kim (.1)                                                                 0.1 0.0083333          $1.17
              Operations
July 2019     Business               07/08/19 ED              390 Confer with K. Duff and A. Watychowicz regarding wires for payment of utility installments           0.2         0.04      $15.60
              Operations                                          and insurance premium payments (.2)
July 2019     Business               07/08/19 ED              390 and review of related documents (.4)                                                                 0.4         0.08      $31.20
              Operations
July 2019     Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                0.1       0.001        $0.39
              Operations                                          payment of real estate taxes (.1)
July 2019     Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                            0.1       0.001        $0.39
              Operations
July 2019     Business               07/10/19 ED              390 Email correspondence with accountant regarding status of project relating to property                0.1 0.0027027          $1.05
              Operations                                          payables.
July 2019     Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes              0.2 0.0019608          $0.76
              Operations                                          coming due (.2)
July 2019     Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial              0.2 0.0019608          $0.76
              Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                  costs, and information received from insurance broker regarding property coverages (.2)

July 2019     Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                    0.6 0.0058824          $2.29
              Operations
July 2019     Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                          0.1 0.0009804          $0.38
              Operations
July 2019     Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                     1.1 0.0107843          $4.21
              Operations
July 2019     Business               07/15/19 ED              390 email to asset manager regarding same (.1)                                                           0.1 0.0027027          $1.05
              Operations
July 2019     Business               07/15/19 ED              390 review statements and other documents regarding payables to property managers (.2)                   0.2 0.0054054          $2.11
              Operations
July 2019     Business               07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)            0.2       0.002        $0.78
              Operations
July 2019     Business               07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                 0.6 0.0058824          $2.29
              Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2019     Business               07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007       $2.73
              Operations                                          Rachlis and J. Rak regarding same (.7).
July 2019     Business               07/15/19 NM              260 Correspond with property managers regarding housing court this week and prepare for the               0.9      0.1125      $29.25
              Operations                                          same (.9)
July 2019     Business               07/15/19 NM              260 correspond with property managers regarding inspections occurring before housing court                0.2       0.025       $6.50
              Operations                                          (.2)
July 2019     Business               07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002       $0.52
              Operations                                          property status (.2).
July 2019     Business               07/16/19 ED              390 Email correspondence with property manager and accountant regarding review of operating               0.2 0.0054054         $2.11
              Operations                                          expenses.
July 2019     Business               07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                  0.8 0.0080808         $2.10
              Operations                                          water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                  the same.
July 2019     Business               07/17/19 ED              390 review property manager information regarding utility bills due (.5)                                  0.5 0.0135135         $5.27
              Operations
July 2019     Business               07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                    0.6 0.0058824         $2.29
              Operations
July 2019     Business               07/17/19 NM              260 Prepare for housing court and correspond with property managers for same and regarding                1.3      0.1625      $42.25
              Operations                                          other code violations (1.3)
July 2019     Business               07/18/19 NM              260 Prepare for housing court and study correspondence from property manager relating to                  0.6       0.075      $19.50
              Operations                                          same and inspections from the same (.6)
July 2019     Business               07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                            0.1 0.0009804         $0.14
              Operations
July 2019     Business               07/23/19 ED              390 review of June financial reporting from property managers (.4)                                        0.4       0.004       $1.56
              Operations
July 2019     Business               07/23/19 JR              140 Update and forward outstanding 2017 real estate balances on all properties to K. Pritchard.           0.7 0.0538462         $7.54
              Operations
July 2019     Business               07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)          0.2       0.002       $0.78
              Operations
July 2019     Business               07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,              0.4 0.0039216         $0.55
              Operations                                          and communications with K. Duff and bank representative regarding same.

July 2019     Business               07/31/19 ED              390 and email correspondence with property manager regarding same (.8)                                    0.8 0.0216216         $8.43
              Operations
July 2019     Business               07/31/19 ED              390 Review outstanding June statements from property manager (.4)                                         0.4 0.0108108         $4.22
              Operations
July 2019     Business               07/31/19 ED              390 confer with K. Duff (.2)                                                                              0.2 0.0054054         $2.11
              Operations
July 2019     Business               07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                 0.3 0.0029412         $1.15
              Operations




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
July 2019     Claims                 07/15/19 ED          390 email correspondence with property manager regarding financial reporting to lenders (.5).             0.5 0.0135135          $5.27
              Administration
              & Objections

July 2019     Claims                 07/15/19 ED          390 email correspondence with lender's counsel and property manager in reply to multiple                  0.6 0.0162162          $6.32
              Administration                                  questions relating to property reporting (.6)
              & Objections

July 2019     Claims                 07/15/19 NM          260 analyze claims against unencumbered properties (1.2).                                                 1.2          0.2      $52.00
              Administration
              & Objections

August 2019 Asset                    08/01/19 KBD         390 exchange correspondence with J. Rak regarding due diligence materials and communications              0.1 0.0166667          $6.50
            Disposition                                       with property manager (.1)
August 2019 Asset                    08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).             0.2 0.0020202          $0.79
            Disposition
August 2019 Asset                    08/04/19 KBD         390 Exchange correspondence with A. Porter regarding communications with property manager                 0.2          0.2      $78.00
            Disposition                                       and repair work on and negotiations with respect to sale of property (2909 78th).

August 2019 Asset                    08/05/19 KBD         390 study correspondence from regarding repair work at property and negotiation with buyer                0.1          0.1      $39.00
            Disposition                                       (2909 78th) (.1)
August 2019 Asset                    08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest            0.1       0.001        $0.39
            Disposition                                       in properties (.1)
August 2019 Asset                    08/12/19 KBD         390 Telephone conference with real estate broker regarding preparation for offers on third group          0.2 0.0074074          $2.89
            Disposition                                       of properties (.2)
August 2019 Asset                    08/12/19 KBD         390 correspondence with A. Porter regarding sale of property (2909 78th) (.2).                            0.2          0.2      $78.00
            Disposition
August 2019 Asset                    08/13/19 KBD         390 motion to approve sale of properties and draft correspondence to A. Porter regarding same             0.3      0.0375       $14.63
            Disposition                                       (.3)
August 2019 Asset                    08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                    0.3       0.003        $1.17
            Disposition                                       marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                    08/15/19 KBD         390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second          0.5 0.0111111          $4.33
            Disposition                                       group of properties and single family home portfolio (.5)
August 2019 Asset                    08/20/19 KBD         390 Exchange correspondence with A. Porter regarding estimated closing costs (.2)                         0.2 0.0083333          $3.25
            Disposition
August 2019 Asset                    08/20/19 KBD         390 telephone conference with real estate broker regarding estimated costs (.1)                           0.1 0.0041667          $1.63
            Disposition
August 2019 Asset                    08/20/19 KBD         390 and with A. Porter regarding same (.2).                                                               0.2 0.0083333          $3.25
            Disposition
August 2019 Asset                    08/23/19 KBD         390 Telephone conference and exchange correspondence with A. Porter regarding allocation of               1.5      0.1875       $73.13
            Disposition                                       property related costs, communications with lenders, and preparation of motions relating to
                                                              sales of properties (1.5)


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2909-19 E 78th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
August 2019 Asset                    08/28/19 KBD             390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                   0.3       0.003        $1.17
            Disposition
August 2019 Business                 08/03/19 KBD             390 Exchange correspondence with A. Porter regarding property management accounts.                        0.2 0.0054054          $2.11
            Operations
August 2019 Business                 08/06/19 KBD             390 Telephone conference with bank representative regarding wire transfers for property                   0.1 0.0009804          $0.38
            Operations                                            expenses and insurance.
August 2019 Business                 08/07/19 KBD             390 Telephone conference with accounting firm representative regarding property manager                   0.2 0.0054054          $2.11
            Operations                                            accounting financial reporting (.2)
August 2019 Business                 08/09/19 KBD             390 Study information from property manager regarding repair and code compliance work (8107               0.2          0.1      $39.00
            Operations                                            Ellis, 2909 78th).
August 2019 Business                 08/13/19 KBD             390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                         0.1       0.001        $0.39
            Operations
August 2019 Business                 08/19/19 KBD             390 Study property manager financial reports.                                                             0.4 0.0108108          $4.22
            Operations
August 2019 Business                 08/20/19 KBD             390 exchange correspondence with J. Rak and property manager regarding outstanding real                   0.2 0.0019608          $0.76
            Operations                                            estate taxes (.2).
August 2019 Business                 08/20/19 KBD             390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                           0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/23/19 KBD             390 Evaluation of property management cost issues and exchange correspondence with E. Duff                0.4 0.0108108          $4.22
            Operations                                            regarding same.
August 2019 Business                 08/27/19 KBD             390 exchange correspondence with E. Duff regarding property management accounting (.4).                   0.4 0.0108108          $4.22
            Operations
August 2019 Business                 08/29/19 KBD             390 Study information regarding outstanding property taxes and review correspondence from J.              0.3       0.003        $1.17
            Operations                                            Rak regarding same (.3)
August 2019 Business                 08/30/19 KBD             390 telephone conference with property manager and E. Duff regarding property management                  0.9 0.0243243          $9.49
            Operations                                            and accounting issues (.9)
August 2019 Business                 08/30/19 KBD             390 follow up call with E. Duff (.2)                                                                      0.2 0.0054054          $2.11
            Operations
August 2019 Business                 08/30/19 KBD             390 exchange various correspondence regarding real estate taxes (.5).                                     0.5       0.005        $1.95
            Operations
August 2019 Asset                    08/01/19 AEP             390 Communications with property manager regarding status of roof repairs, unrehabbed unit,               0.1          0.1      $39.00
            Disposition                                           and other matters pertaining to receivership property (2909 E 78th Street) (.1)

August 2019 Asset                    08/01/19 AEP             390 inventory all title commitments and surveys received to- date for second tranche of closings          0.5      0.0625       $24.38
            Disposition                                           and update portfolio spreadsheet accordingly, communicate with title company regarding
                                                                  status of preparation of title commitments on second tranche of property sales, and prepare
                                                                  e-mail to title company and surveyor regarding current status of documents needed to close
                                                                  transactions (.5)
August 2019 Asset                    08/01/19 JR              140 continue to review and organize leases and other documents for each tenant for property               2.9          2.9     $406.00
            Disposition                                           (2909 E. 78th) received from property manager (2.9)
August 2019 Asset                    08/01/19 JR              140 exchange correspondence with property manager regarding same (.1)                                     0.1 0.0166667          $2.33
            Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
August 2019 Asset                    08/01/19 JR              140 Confer with K. Duff regarding correspondence with property manager regarding outline of                  0.1 0.0166667          $2.33
            Disposition                                           unit sizes for closing (.1)
August 2019 Asset                    08/01/19 JR              140 update rent roll in preparation of closing for same (2.1)                                                2.1          2.1     $294.00
            Disposition
August 2019 Asset                    08/01/19 JR              140 prepare remainder of closing documents for same (1.6).                                                   1.6          1.6     $224.00
            Disposition
August 2019 Asset                    08/02/19 JR              140 Finalize draft closing documents regarding property (2909-19 E. 78th) (.8)                               0.8          0.8     $112.00
            Disposition
August 2019 Asset                    08/04/19 AEP             390 read all e-mail correspondence related to repair work performed at receivership property                 0.5          0.5     $195.00
            Disposition                                           (2909 E 78th Street) and prepare separate e-mails to buyer's counsel and receivership team
                                                                  regarding factual background and receivership's response to buyer's request for closing
                                                                  credits in connection with three separate repair issues (.5).

August 2019 Asset                    08/04/19 AEP             390 Review closing checklists for all second tranche properties, update portfolio spreadsheet,               2.2       0.275      $107.25
            Disposition                                           and create list of open items in connection with all upcoming sales (2.2)

August 2019 Asset                    08/04/19 MR              390 Review and research for response brief related to property sales and credit bid issues.                  4.0 0.2105263         $82.11
            Disposition
August 2019 Asset                    08/05/19 AEP             390 Teleconference with property manager to obtain additional information regarding roof                     0.4          0.4     $156.00
            Disposition                                           repairs, water damaged apartment unit, and tuckpointing citation work performed at
                                                                  receivership property (2909 E 78th Street), as well as information regarding status of eviction
                                                                  at second receivership property (5955 S Sacramento), and prepare follow-up e-mails to
                                                                  purchaser's counsel (.4)
August 2019 Asset                    08/05/19 JR              140 Review email correspondence regarding title and surveys and expectations for each party                  0.5 0.0416667          $5.83
            Disposition                                           and complete same for all properties (.5)
August 2019 Asset                    08/05/19 JR              140 create additional closing checklists for remainder of tranche 2 and 3 in preparation for                 1.3 0.0866667         $12.13
            Disposition                                           closing (1.3)
August 2019 Asset                    08/06/19 JR              140 Follow up correspondence with property manager regarding unit size spreadsheet (.1)                      0.1 0.0166667          $2.33
            Disposition
August 2019 Asset                    08/06/19 JR              140 review unit size spreadsheet received from property manager and input correct information                1.2         0.08      $11.20
            Disposition                                           in the rent rolls for tranche 2 and tranche 3 (1.2)
August 2019 Asset                    08/08/19 AEP             390 update portfolio spreadsheet to include title commitment numbers for all remaining                       0.4         0.05      $19.50
            Disposition                                           tranches, purchase prices and purchasers for first and second series of sales (.4)

August 2019 Asset                    08/08/19 AEP             390 Review files for all second series sales and modify to-do list of remaining outstanding items            0.3      0.0375       $14.63
            Disposition                                           (.3)
August 2019 Asset                    08/08/19 AEP             390 communications with title insurer, surveyor, and J. Rak regarding coordination of title                  0.4         0.04      $15.60
            Disposition                                           commitments and surveys and finalization of same (.4).
August 2019 Asset                    08/08/19 JR              140 Review, update electronic folders and forward same to buyer's attorneys (2.7)                            2.7          0.3      $42.00
            Disposition
August 2019 Asset                    08/08/19 JR              140 exchange correspondence with A. Porter and title company representative regarding same                   0.6 0.0666667          $9.33
            Disposition                                           (.6)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
August 2019 Asset                    08/08/19 NM              260 Create spreadsheet of outstanding known violations for properties being sold in the third               0.5         0.05      $13.00
            Disposition                                           tranche and correspond with A. Porter and J. Rak regarding the same.
August 2019 Asset                    08/09/19 AEP             390 review surveys and title commitments associated with all 10 properties in second series and             2.5      0.3125      $121.88
            Disposition                                           prepare e-mails to title insurers and surveyor regarding requested modifications (2.5).

August 2019 Asset                    08/09/19 JR              140 Exchange correspondence with buyer attorneys' regarding forwarding title commitments for                0.3      0.0375        $5.25
            Disposition                                           all properties in the second series, second and third tranche (.3)
August 2019 Asset                    08/11/19 AEP             390 Review and analyze code violation spreadsheet received from N. Mirjanich, compare                       0.4         0.04      $15.60
            Disposition                                           information with documents in due diligence folder, and prepare e-mail to N. Mirjanich
                                                                  seeking additional information in effort to reconcile discrepancies (.4).

August 2019 Asset                    08/12/19 AEP             390 prepare e-mail to receivership team regarding status of negotiations over demands for                   0.3          0.3     $117.00
            Disposition                                           credits received from buyer of receivership property (2909 E 78th Street) and potential
                                                                  resolutions of impasse (.3).
August 2019 Asset                    08/12/19 AEP             390 review final drafts of surveys for all second series properties (.4)                                    0.4         0.05      $19.50
            Disposition
August 2019 Asset                    08/12/19 AEP             390 review and analyze revised title commitments received from title insurer to reconcile special           0.8 0.1142857         $44.57
            Disposition                                           exceptions relating to encroachments with final drafts of surveys (.8)

August 2019 Asset                    08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                            0.2       0.002        $0.28
            Disposition
August 2019 Asset                    08/12/19 NM              260 Correspond with City attorney, A. Porter, and J. Rak regarding code violations and due                  0.4         0.04      $10.40
            Disposition                                           diligence materials from the same for the third tranche of property sale.
August 2019 Asset                    08/13/19 AEP             390 review amended title commitments received from title insurer for second series properties               0.2       0.025        $9.75
            Disposition                                           (.2)
August 2019 Asset                    08/13/19 AEP             390 Read e-mails from receivership broker and K. Duff regarding proposed resolution of impasse              0.1          0.1      $39.00
            Disposition                                           with purchaser of receivership property (2909 E 78th Street) (.1)
August 2019 Asset                    08/13/19 AEP             390 review second amended title commitments received from title insurer for second series                   0.2       0.025        $9.75
            Disposition                                           properties (.2)
August 2019 Asset                    08/13/19 JR              140 Review emails relating to series 2 closing matters, including correspondence relating to                0.6         0.05       $7.00
            Disposition                                           surveys, survey invoices and save to appropriate electronic files (.6)
August 2019 Asset                    08/13/19 JR              140 exchange correspondence with A. Porter and N. Mirjanich regarding same (.1)                             0.1 0.0083333          $1.17
            Disposition
August 2019 Asset                    08/14/19 AEP             390 Prepare e-mail to property manager regarding status of preparation of estimate for repairs              0.1          0.1      $39.00
            Disposition                                           to receivership property (2909 E 78th) and read response thereto (.1)
August 2019 Asset                    08/14/19 AEP             390 e-mail communications with J. Rak regarding timing of ordering water certificates for closings          0.1      0.0125        $4.88
            Disposition                                           of second series of receivership properties (.1)
August 2019 Asset                    08/14/19 JR              140 Exchange correspondence with A. Porter relating to preparing water certificate applications             0.2       0.025        $3.50
            Disposition                                           and submitting to the title company for the second tranche of properties (.2)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated       Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours            Fees
August 2019 Asset                    08/15/19 AEP             390 Meeting with receivership team and receivership brokers to analyze bids received on third                4.0               4   $1,560.00
            Disposition                                           series of receivership properties, discuss notification to institutional lenders, submission of
                                                                  credit bids, credits demanded by purchaser of second series receivership property (2909 E
                                                                  78th Street), and allocations of value of properties in single-family residence portfolio (4.0)

August 2019 Asset                    08/15/19 AEP             390 read e-mails received from counsel for purchaser of second series receivership property                  0.1          0.1         $39.00
            Disposition                                           (2909 E 78th Street) regarding credit issue (.1).
August 2019 Asset                    08/15/19 JR              140 meeting with real estate brokers regarding series 3 properties and bid process (3.1)                     3.1 0.2583333            $36.17
            Disposition
August 2019 Asset                    08/15/19 JR              140 Exchange correspondence with A. Porter regarding updates to title commitments (.2)                       0.2 0.0166667             $2.33
            Disposition
August 2019 Asset                    08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second                0.1 0.0022222             $0.58
            Disposition                                           tranche, and listing of all remaining properties (.1)
August 2019 Asset                    08/26/19 JR              140 exchange correspondence with A. Porter regarding the second motion to approve sale and                   0.1      0.0125           $1.75
            Disposition                                           whether property with extended financing contingency will be included in same (.1).

August 2019 Asset                    08/26/19 JR              140 Exchange correspondence with A. Porter regarding assisting on the second motion to                       0.2       0.025           $3.50
            Disposition                                           approve sales (.2)
August 2019 Asset                    08/26/19 MR              390 conferences regarding real estate sales and status (.3)                                                  0.3 0.0157895             $6.16
            Disposition
August 2019 Asset                    08/26/19 MR              390 Attention to and preparation for upcoming hearing (1.2)                                                  1.2 0.0631579            $24.63
            Disposition
August 2019 Asset                    08/27/19 MR              390 attention to and conferences regarding sales process issues (1.0)                                        1.0 0.0526316            $20.53
            Disposition
August 2019 Asset                    08/27/19 MR              390 Prepare for and attend hearing (1.3)                                                                     1.3 0.0684211            $26.68
            Disposition
August 2019 Asset                    08/28/19 AEP             390 Meeting with J. Rak regarding preparation of motion to approve second series of sales,                   6.4          0.8        $312.00
            Disposition                                           status of waiver of special exceptions from title commitments for all second series
                                                                  properties, preparation of motion to approve fifth series of sales, review of preliminary
                                                                  drafts of closing documents, distribution of current title commitments and surveys to
                                                                  counsel for prospective purchasers of second series of receivership properties (6.4)

August 2019 Asset                    08/28/19 AEP             390 communications with counsel for purchasers of receivership properties in second series of                0.2       0.025           $9.75
            Disposition                                           sales regarding timing of motions to approve sales and scheduling of closings (.2)

August 2019 Asset                    08/28/19 JR              140 Assist A. Porter on the second sixth, and eight motions to approve sales (5.7)                           5.7 0.6333333            $88.67
            Disposition
August 2019 Asset                    08/28/19 JR              140 exchange correspondence with all buyer counsel relating to transmitting surveys and                      0.4         0.05          $7.00
            Disposition                                           updated title commitments on properties in the second tranche (.4)
August 2019 Asset                    08/28/19 JR              140 exchange correspondence with broker regarding commission statements (.1).                                0.1 0.0083333             $1.17
            Disposition
August 2019 Asset                    08/29/19 JR              140 update EquityBuild spreadsheet with all EquityBuild property zip codes for closing                       1.2 0.0324324             $4.54
            Disposition                                           documents (1.2)


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
August 2019 Asset                    08/29/19 JR              140 assist in drafting the second motion to approve sales (2.4)                                              2.4          0.3      $42.00
            Disposition
August 2019 Asset                    08/29/19 JR              140 Update real estate property spreadsheet and email to K. Duff (1.1)                                       1.1 0.0297297          $4.16
            Disposition
August 2019 Asset                    08/29/19 JR              140 organize commission statements received from real estate broker for the second tranche                   0.7      0.0875       $12.25
            Disposition                                           and update our closing checklists and closing figures (.7).
August 2019 Business                 08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for                 0.2       0.002        $0.28
            Operations                                            properties.
August 2019 Business                 08/06/19 KMP             140 follow up with property manager to provide confirmation of wire transfer (.1).                           0.1         0.02       $2.80
            Operations
August 2019 Business                 08/06/19 KMP             140 prepare wire request forms for transfer of funds to property manager for past due utilities              0.5          0.1      $14.00
            Operations                                            and to finance company for installment on insurance premium financing, and
                                                                  communications with K. Duff and bank representative regarding same (.5)

August 2019 Business                 08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                    1.3       0.013        $1.82
            Operations
August 2019 Business                 08/13/19 AW              140 attention to revisions proposed by M. Rachlis and email K. Duff regarding same (.1).                     0.1 0.0083333          $1.17
            Operations
August 2019 Business                 08/13/19 AW              140 Study response to Lenders' objections to orders issued by Judge Kim (.5)                                 0.5 0.0416667          $5.83
            Operations
August 2019 Business                 08/14/19 AW              140 Work on revising, finalizing, filing, and serving of Receiver's response opposition to lenders'          2.7       0.225       $31.50
            Operations                                            objections to May 2, May 22, and July 9 orders.
August 2019 Business                 08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                           0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                              0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                    0.1 0.0009804          $0.14
            Operations                                            agreement (.1).
August 2019 Business                 08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                                  0.7       0.007        $2.73
            Operations
August 2019 Business                 08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                        0.8       0.008        $3.12
            Operations
August 2019 Business                 08/21/19 MR              390 Conferences with E. Duff (.2)                                                                            0.2 0.0019608          $0.76
            Operations
August 2019 Business                 08/22/19 ED              390 review and analysis of July profit and loss statements from property manager (1.3)                       1.3 0.0351351         $13.70
            Operations
August 2019 Business                 08/22/19 ED              390 Review and analysis of July invoices from property manager and related information                       1.1 0.0297297         $11.59
            Operations                                            regarding properties (1.1)
August 2019 Business                 08/22/19 ED              390 confer with K. Duff (.1)                                                                                 0.1 0.0027027          $1.05
            Operations
August 2019 Business                 08/22/19 ED              390 review of July reporting from property managers (1.2)                                                    1.2       0.012        $4.68
            Operations




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2019 Business                 08/22/19 ED          390 email correspondence with asset manager (.3) regarding same.                                         0.3 0.0081081         $3.16
            Operations
August 2019 Business                 08/22/19 KMP         140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).              0.1 0.0009804         $0.14
            Operations
August 2019 Business                 08/23/19 AEP         390 Teleconference with K. Duff regarding property management issues.                                    0.1 0.0027027         $1.05
            Operations
August 2019 Business                 08/25/19 ED          390 Review and analysis of management agreement.                                                         0.3 0.0081081         $3.16
            Operations
August 2019 Business                 08/26/19 ED          390 prepare analysis regarding same (1.1)                                                                1.1 0.0297297        $11.59
            Operations
August 2019 Business                 08/26/19 ED          390 and discuss with K. Duff (.5)                                                                        0.5 0.0135135         $5.27
            Operations
August 2019 Business                 08/26/19 ED          390 Call with asset manager to discuss property expenses (.4)                                            0.4 0.0108108         $4.22
            Operations
August 2019 Business                 08/26/19 ED          390 draft revision to policy for pre-approval for expenses (.6).                                         0.6 0.0162162         $6.32
            Operations
August 2019 Business                 08/26/19 ED          390 email correspondence with property manager regarding same (.1)                                       0.1 0.0027027         $1.05
            Operations
August 2019 Business                 08/26/19 ED          390 call and email correspondence with accountant regarding review of backup for property                0.3 0.0081081         $3.16
            Operations                                        invoices (.3)
August 2019 Business                 08/27/19 ED          390 Email correspondence with property manager to property expenses.                                     0.3 0.0081081         $3.16
            Operations
August 2019 Business                 08/30/19 ED          390 Call with K. Duff and property manager to discuss property expenses and related issues (.9)          0.9 0.0243243         $9.49
            Operations
August 2019 Business                 08/30/19 ED          390 and confer with K. Duff regarding same (.1).                                                         0.1 0.0027027         $1.05
            Operations
August 2019 Claims                   08/07/19 AW          140 proofread response to objections to May and July orders and email M. Rachlis regarding               0.7 0.0583333         $8.17
            Administration                                    revisions (.7).
            & Objections

August 2019 Claims                   08/07/19 MR          390 Continue work on response brief associated with issues on sales and credit bids.                     2.7 0.1421053        $55.42
            Administration
            & Objections

August 2019 Claims                   08/09/19 MR          390 Work on brief responding to credit bid related issues (3.5)                                          3.5 0.1842105        $71.84
            Administration
            & Objections

August 2019 Claims                   08/09/19 MR          390 follow up on questions regarding credit bid procedures (.3).                                         0.3 0.0157895         $6.16
            Administration
            & Objections




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
August 2019 Claims                   08/12/19 MR          390 attention to issues regarding lenders' brief (.3).                                                   0.3 0.0157895          $6.16
            Administration
            & Objections

August 2019 Claims                   08/14/19 MR          390 Review and follow up on brief in response to objections to July 9 order (1.0)                        1.0 0.0526316         $20.53
            Administration
            & Objections

August 2019 Claims                   08/14/19 MR          390 further communications regarding same (.2).                                                          0.2 0.0105263          $4.11
            Administration
            & Objections

August 2019 Claims                   08/17/19 MR          390 Review issues and draft responses to inquires on credit bid related issues from lenders and          2.0 0.1052632         $41.05
            Administration                                    follow up on same with K. Duff and others.
            & Objections

August 2019 Claims                   08/18/19 MR          390 Further review and edits and communications on credit bids and for upcoming hearing.                 0.5 0.0263158         $10.26
            Administration
            & Objections

August 2019 Claims                   08/21/19 MR          390 attention to filed motion by institutional lender and docket update and to motion for                0.2 0.0105263          $4.11
            Administration                                    expedited hearing regarding objections to orders and docket update (.2).
            & Objections

September     Asset                  09/07/19 KBD         390 Exchange correspondence regarding sale of properties, credit bidding results, and motion to          0.2       0.025        $9.75
2019          Disposition                                     approve sales.
September     Asset                  09/10/19 KBD         390 Study various correspondence from A. Porter regarding status of and efforts to move                  0.2         0.05      $19.50
2019          Disposition                                     forward with sale of properties (.2)
September     Asset                  09/10/19 KBD         390 study draft motion to approve sale of properties and draft correspondence to A. Porter               0.4         0.05      $19.50
2019          Disposition                                     regarding exhibits (.4)
September     Asset                  09/11/19 KBD         390 exchange correspondence with A. Porter regarding items to be addressed in connection with            0.1      0.0125        $4.88
2019          Disposition                                     motion to approve sales (.1).
September     Asset                  09/12/19 KBD         390 Study draft motion to approve sale of properties (.5)                                                0.5      0.0625       $24.38
2019          Disposition
September     Asset                  09/12/19 KBD         390 confer and exchange correspondence with M. Rachlis, A. Porter, and N. Mirjanich regarding            0.4         0.05      $19.50
2019          Disposition                                     same (.4)
September     Asset                  09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                          3.7 0.0362745         $14.15
2019          Disposition
September     Business               09/09/19 KBD         390 Study budget for property repairs and improvements and exchange correspondence                       0.4 0.0108108          $4.22
2019          Operations                                      regarding same (.4)
September     Business               09/12/19 KBD         390 study property manager financial reporting (.4).                                                     0.4 0.0108108          $4.22
2019          Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
September     Business               09/17/19 KBD             390 Exchange correspondence with property managers regarding funds for property repairs and              0.2          0.1      $39.00
2019          Operations                                          property accounts (.2)
September     Business               09/19/19 KBD             390 Work through various issues with E. Duff relating to financial reporting, accounting, and            0.8 0.0216216          $8.43
2019          Operations                                          property managers (.8)
September     Business               09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                    0.1 0.0009804          $0.38
2019          Operations
September     Business               09/23/19 KBD             390 study correspondence from E. Duff and property manager regarding expense procedures                  0.2 0.0054054          $2.11
2019          Operations                                          (.2).
September     Claims                 09/23/19 KBD             390 Claims analysis relating to funds properties with E. Duff and N. Mirjanich (.6)                      0.6          0.1      $39.00
2019          Administration
              & Objections

September Asset                      09/01/19 AEP             390 review all commission statements received from receivership broker [SVN Chicago                      0.5 0.0555556         $21.67
2019      Disposition                                             Commercial] and request revised statements in connection with properties for which
                                                                  commission figures were erroneous (.5)
September Asset                      09/01/19 AEP             390 Communications with title companies regarding corrections and revisions to title                     1.2         0.15      $58.50
2019      Disposition                                             commitments and title invoices associated with closings of second series of sales, review
                                                                  revised commitments and invoices and update portfolio spreadsheet and individual closing
                                                                  checklists (1.2)
September Asset                      09/01/19 AEP             390 exchanges of correspondence with counsel for purchaser of receivership property (2909 E              0.4          0.4     $156.00
2019      Disposition                                             78th Street) regarding proposed modifications to purchase and sale agreement following
                                                                  expiration of extended due diligence period and prepare addendum in connection therewith
                                                                  (.4)
September Asset                      09/01/19 AEP             390 review electronic docket and e-mails received from A. Watychowicz and download all                   0.8          0.1      $39.00
2019      Disposition                                             pleadings and orders germane to credit bidding procedures in anticipation of preparation of
                                                                  motion to approve sales (.8).
September     Asset                  09/03/19 JR              140 Review draft closing documents for second tranche with updates to title dates and                    2.3      0.2875       $40.25
2019          Disposition                                         modifications to closing dates (2.3)
September     Asset                  09/04/19 AEP             390 review revised title commitments received in connection with various properties being                0.4 0.1333333         $52.00
2019          Disposition                                         conveyed in second series (701 S 5th, 2909 E 78th, and 7834-44 S Ellis) and provide
                                                                  comments to title company (.4).
September     Asset                  09/04/19 MR              390 Attention to credit bid issues and communications and updates on same (.2)                           0.2 0.0105263          $4.11
2019          Disposition
September     Asset                  09/04/19 MR              390 attend meeting on sales and credit bid related issues (2.5)                                          2.5 0.1315789         $51.32
2019          Disposition
September     Asset                  09/04/19 MR              390 prepare for hearing (1.0)                                                                            1.0 0.0526316         $20.53
2019          Disposition
September     Asset                  09/04/19 MR              390 draft email regarding same and send to lender's counsel (.3).                                        0.3 0.0157895          $6.16
2019          Disposition
September     Asset                  09/05/19 NM              260 correspond with J. Rak regarding the second motion to approve sales (.1)                             0.1      0.0125        $3.25
2019          Disposition
September     Asset                  09/05/19 NM              260 correspond with A. Watychowicz regarding service list for the second motion to approve               0.1      0.0125        $3.25
2019          Disposition                                         sales (.1)


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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
September     Asset                  09/05/19 NM          260 Correspond with K. Duff regarding meeting with broker on credit bids and filing the second              0.1      0.0125        $3.25
2019          Disposition                                     motion to approve sales (.1)
September     Asset                  09/06/19 AW          140 Research and prepare service list for sale of second tranche (2.8)                                      2.8         0.35      $49.00
2019          Disposition
September     Asset                  09/06/19 AW          140 confer with N. Mirjanich regarding email to interested parties, timing of filing and service,           0.2       0.025        $3.50
2019          Disposition                                     and other issues related to finalizing second tranche motion (.2).
September     Asset                  09/06/19 NM          260 create service list and draft emails for the same with A. Watychowicz for the second motion             1.5      0.1875       $48.75
2019          Disposition                                     to approve sales (1.5).
September     Asset                  09/08/19 AEP         390 review title invoices for all properties and compute agency fees, review commission                     2.2       0.275      $107.25
2019          Disposition                                     statements received from receivership broker and reconcile same, and enter all appropriate
                                                              figures into motion (2.2).
September     Asset                  09/08/19 AEP         390 Study draft motion to approve second series of sales and proofread, edit, and revise same               0.6       0.075       $29.25
2019          Disposition                                     (.6)
September     Asset                  09/09/19 AEP         390 Review title exceptions for all properties in second series of properties and prepare proposed          2.7      0.3375      $131.63
2019          Disposition                                     judicial order authorizing sales of same (2.7)
September     Asset                  09/10/19 AEP         390 proofread, edit, and revise final draft of motion and circulate to team (.5).                           0.5      0.0625       $24.38
2019          Disposition
September     Asset                  09/10/19 AEP         390 assemble all exhibits to motion to approve sales and create appendix to brief (.4)                      0.4         0.05      $19.50
2019          Disposition
September     Asset                  09/10/19 AEP         390 Communications with title companies to obtain approval of proposed form of order                        0.4         0.05      $19.50
2019          Disposition                                     authorizing sales of second series of properties and to check on status of hold harmless
                                                              letters associated with title exceptions (.4)
September     Asset                  09/11/19 AEP         390 Read pleadings and orders in connection with credit bidding procedures and work on draft                2.5      0.3125      $121.88
2019          Disposition                                     motion to approve sales of properties in second series.
September     Asset                  09/11/19 NM          260 study lien filed against Houston property and revise service list for both the motion to                0.3 0.0333333          $8.67
2019          Disposition                                     approve the sale of the second tranche and the process with the Houston property (.3)

September     Asset                  09/12/19 AEP         390 prepare new paragraphs of brief regarding effect of lis pendens on second motion to                     0.3      0.0375       $14.63
2019          Disposition                                     approve sales (.3)
September     Asset                  09/12/19 AEP         390 make final revisions to motion papers based on discussion with team (.5).                               0.5      0.0625       $24.38
2019          Disposition
September     Asset                  09/12/19 AEP         390 discuss potential revisions, including credit bid and notice issues, with K. Duff, M. Rachlis,          1.2         0.15      $58.50
2019          Disposition                                     and N. Mirjanich (1.2)
September     Asset                  09/12/19 AEP         390 Prepare new section of second motion to approve sales reciting record of objections and                 3.6 0.2117647         $82.59
2019          Disposition                                     orders relating to second, third, fourth, and fifth motions to approve sales process (3.6)

September     Asset                  09/12/19 AEP         390 proofread, edit, and revise entire set of motion papers, including proposed order (1.6)                 1.6          0.2      $78.00
2019          Disposition
September     Asset                  09/12/19 AW          140 Continue work on preparation of service list for purpose of serving motions to approve sale             0.9      0.1125       $15.75
2019          Disposition                                     of properties (.9)
September     Asset                  09/12/19 MR          390 Review sales motions and comment on same (1.0)                                                          1.0       0.125       $48.75
2019          Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
September     Asset                  09/12/19 MR              390 meeting regarding sales related issues with A. Porter, K. Duff and N. Mirjanich (1.2).                    1.2 0.0444444         $17.33
2019          Disposition
September     Asset                  09/12/19 NM              260 revise service lists for the motions to approve the process for Houston and sale for the                  2.3 0.1769231         $46.00
2019          Disposition                                         second tranche of properties and correspond with A. Watychowicz regarding the same and
                                                                  finalize the motions for filing (2.3).
September     Asset                  09/13/19 AW              140 attention to second motion to approve sale of properties, revisions to same, and review of                0.2       0.025        $3.50
2019          Disposition                                         exhibits (.2)
September     Asset                  09/13/19 AW              140 finalize motion, file on line, and serve as per service list (.3)                                         0.3      0.0375        $5.25
2019          Disposition
September     Asset                  09/13/19 AW              140 serve motion for sale on all known investors (.6)                                                         0.6       0.075       $10.50
2019          Disposition
September     Asset                  09/13/19 MR              390 Attention to submission of various motions for filing and review and follow up regarding                  1.2 0.1333333         $52.00
2019          Disposition                                         same.
September     Asset                  09/13/19 NM              260 study second motion to approve property sales and motion to approve Houston sale process                  1.0       0.125       $32.50
2019          Disposition                                         and correspond with A. Watychowicz regarding the same and service (1.0).

September Asset                      09/16/19 ED              390 Review and analysis of documentation regarding expenditures, contributions, and                           3.1 0.1631579         $63.63
2019      Disposition                                             distributions relating to properties for which motion to approve sale is pending (3.1)

September Asset                      09/16/19 JR              140 exchange correspondence with property manager regarding due diligence documents                           0.2       0.025        $3.50
2019      Disposition                                             received for the second series of properties and missing utility bills (.2)

September     Asset                  09/16/19 JR              140 begin review of the due diligence documents for five properties under contract in the second              6.3      0.7875      $110.25
2019          Disposition                                         series, review leases and compare to rent roll (6.3)
September     Asset                  09/17/19 AEP             390 prepare e-mail to counsel for all purchasers of properties subject to second motion to                    0.3      0.0375       $14.63
2019          Disposition                                         approve sales regarding anticipated closing dates (.3)
September     Asset                  09/17/19 NM              260 study the same and draft responses to the same (1.7)                                                      1.7      0.2125       $55.25
2019          Disposition
September     Asset                  09/17/19 NM              260 Correspond with A. Watychowicz regarding responses to correspondence received in                          0.1      0.0125        $3.25
2019          Disposition                                         connection with service of second sales motion (.1)
September     Asset                  09/18/19 AEP             390 update portfolio spreadsheet and prepare e-mail to surveyor regarding current estimated                   0.2         0.02       $7.80
2019          Disposition                                         timetable for closings (.2)
September     Asset                  09/18/19 JR              140 update property tax applications online for properties in the second tranche (.5).                        0.5      0.0625        $8.75
2019          Disposition
September     Asset                  09/18/19 JR              140 exchange correspondence with K. Pritchard regarding wire instructions for EquityBuild                     0.1      0.0125        $1.75
2019          Disposition                                         accounts for series 2 closings (.1)
September     Asset                  09/18/19 JR              140 prepare excel spreadsheet outlining and updating closing documents in preparation for                     1.5      0.1875       $26.25
2019          Disposition                                         closing (1.5)
September     Asset                  09/18/19 JR              140 update closing documents for property (701 E. 5th & 2909 E. 78th) (2.9)                                   2.9         1.45     $203.00
2019          Disposition
September     Asset                  09/18/19 KMP             140 Prepare list of wire transfer instructions for certain properties in connection with anticipated          0.3      0.0375        $5.25
2019          Disposition                                         closings and communications with J. Rak regarding same.




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
September     Asset                  09/18/19 NM              260 Correspond with K. Duff regarding investor objection to second sales approval motion (.1)            0.1      0.0125        $3.25
2019          Disposition
September     Asset                  09/18/19 NM              260 correspond with A. Watychowicz regarding responding to the same (.6).                                0.6       0.075       $19.50
2019          Disposition
September     Asset                  09/19/19 NM              260 Correspond with A. Watychowicz regarding questions by stakeholders in connection with                0.3      0.0375        $9.75
2019          Disposition                                         sales motions.
September     Asset                  09/20/19 AEP             390 teleconference with N. Mirjanich regarding unrecorded mortgages (.2).                                0.2 0.0333333         $13.00
2019          Disposition
September     Asset                  09/21/19 MR              390 Further prepare for upcoming hearing (1.0)                                                           1.0 0.0526316         $20.53
2019          Disposition
September     Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding             2.5 0.0245098          $9.56
2019          Disposition                                         same.
September     Asset                  09/23/19 MR              390 Additional work on review of materials for upcoming hearing (1.5)                                    1.5 0.0789474         $30.79
2019          Disposition
September     Asset                  09/23/19 MR              390 and review of same (.3).                                                                             0.3 0.0157895          $6.16
2019          Disposition
September     Asset                  09/23/19 MR              390 work on asset manager's affidavit (.2)                                                               0.2 0.0105263          $4.11
2019          Disposition
September     Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                         0.3 0.0029412          $1.15
2019          Disposition
September     Asset                  09/24/19 JR              140 exchange correspondence with broker relating to status of court date to approve sale (.2)            0.2 0.0166667          $2.33
2019          Disposition
September     Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                       0.3       0.003        $0.42
2019          Disposition
September     Asset                  09/24/19 JR              140 update closing documents for properties in the second series in preparation for sale (2.9).          2.9      0.3625       $50.75
2019          Disposition
September     Asset                  09/24/19 MR              390 Work on submission of response and declaration (1.7)                                                 1.7 0.0894737         $34.89
2019          Disposition
September     Asset                  09/24/19 MR              390 conferences and exchanges with K. Duff (.3)                                                          0.3 0.0157895          $6.16
2019          Disposition
September     Asset                  09/24/19 MR              390 confer on and attention to issues related to upcoming hearing with N. Mirjanich and K. Duff          0.3 0.0157895          $6.16
2019          Disposition                                         and resolution of various issues with order (.3).
September     Asset                  09/24/19 MR              390 confer with K. Pritchard on filings (.1)                                                             0.1 0.0052632          $2.05
2019          Disposition
September     Asset                  09/24/19 NM              260 draft notice to investors with information from Court's order setting briefing schedule on           0.5 0.0714286         $18.57
2019          Disposition                                         second tranche and Houston motions and correspond with K. Duff and A. Watychowicz
                                                                  regarding the same (.5).
September Asset                      09/25/19 JR              140 exchange correspondence with buyer's counsel and property manager relating to updates on             0.6          0.6      $84.00
2019      Disposition                                             due diligence material for property (2909 E. 78th) and forward to buyer's counsel (.6)

September Asset                      09/25/19 JR              140 update closing documents for series 2 properties (2909 E. 78th) (2.6).                               2.6          2.6     $364.00
2019      Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
September Asset                      09/25/19 NM              260 Correspond with A. Watychowicz regarding notice to investors with information from Court's          0.2 0.0222222          $5.78
2019      Disposition                                             order setting briefing schedule on second tranche and Houston motions (.2)

September     Asset                  09/26/19 JR              140 exchange correspondence with broker relating to a request to survey for property (2909 E.           0.1          0.1      $14.00
2019          Disposition                                         78th) (.1)
September     Asset                  09/30/19 JR              140 exchange correspondence with A. Porter relating to buyer's lenders request to provide               0.1          0.1      $14.00
2019          Disposition                                         additional property documents (2909 E. 78th) (.1)
September     Asset                  09/30/19 JR              140 Review emails relating to appraisals, due diligence materials for the second series of              0.3      0.0375        $5.25
2019          Disposition                                         properties and value estimations (.3)
September     Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to             0.4 0.0039216          $0.55
2019          Operations                                          finance company for payment on insurance premium finance agreement (.4)

September     Business               09/06/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to             0.4         0.08      $11.20
2019          Operations                                          property manager for payment on past due utility accounts (.4)
September     Business               09/09/19 NM              260 study spreadsheet sent by property manager regarding capex repairs and code violation               0.4 0.0666667         $17.33
2019          Operations                                          repairs and correspond with K. Duff regarding the same (.4)
September     Business               09/11/19 NM              260 study city violations document and list of potential capex repairs and unit turns sent by           0.7       0.175       $45.50
2019          Operations                                          property manager and correspond with K. Duff regarding the same (.7).
September     Business               09/19/19 ED              390 meet with K. Duff regarding pending business operations issues (.8)                                 0.8 0.0216216          $8.43
2019          Operations
September     Business               09/19/19 ED              390 review documents and analysis from accountant regarding reconciliation of property                  0.5 0.0135135          $5.27
2019          Operations                                          manager invoices with backup (.5)
September     Business               09/19/19 ED              390 prepare draft for review by K. Duff (.2)                                                            0.2 0.0054054          $2.11
2019          Operations
September     Business               09/19/19 ED              390 preparation of outline of issues for discussion (.4)                                                0.4 0.0108108          $4.22
2019          Operations
September     Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare          1.2 0.0116505          $1.63
2019          Operations                                          same.
September     Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                        0.8 0.0078431          $3.06
2019          Operations
September     Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding             0.4 0.0039216          $0.55
2019          Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                  (.4)
September     Business               09/27/19 NM              260 Exchange correspondence with City inspectors and property manager regarding housing                 0.3      0.0375        $9.75
2019          Operations                                          court inspections and other updates on housing court matters.
September     Claims                 09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors            2.8          0.2      $28.00
2019          Administration                                      claim list (2.8)
              & Objections

September Claims                     09/06/19 MR              390 Attention to emails regarding credit bids (.5)                                                      0.5 0.0263158         $10.26
2019      Administration
          & Objections




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours         Fees
September Claims                     09/06/19 MR          390 work on response to lender's brief (4.0).                                                        4.0 0.2105263         $82.11
2019      Administration
          & Objections

September Claims                     09/07/19 MR          390 Work on brief regarding issues raised by lenders.                                                4.5 0.2368421         $92.37
2019      Administration
          & Objections

September Claims                     09/08/19 MR          390 Further work and edits to response brief on credit bids.                                         3.8          0.2      $78.00
2019      Administration
          & Objections

September Claims                     09/09/19 MR          390 work on brief (1.2).                                                                             1.2 0.0631579         $24.63
2019      Administration
          & Objections

September Claims                     09/10/19 MR          390 Attention to edits and work on response brief and conferences on same (2.0)                      2.0 0.1052632         $41.05
2019      Administration
          & Objections

September Claims                     09/10/19 NM          260 study claims submitted against properties in second tranche of sales in connection with          2.0         0.25      $65.00
2019      Administration                                      motion and to create a service list for those entitled to notice (2.0).
          & Objections

September Claims                     09/10/19 NM          260 correspond with K. Duff regarding the same (.1)                                                  0.1 0.0066667          $1.73
2019      Administration
          & Objections

September Claims                     09/11/19 MR          390 Further review and edits to brief on credit bid issue raised by lender (2.5)                     2.5 0.1315789         $51.32
2019      Administration
          & Objections

September Claims                     09/11/19 MR          390 conferences regarding same (.4).                                                                 0.4 0.0210526          $8.21
2019      Administration
          & Objections

September Claims                     09/18/19 AW          140 respond to emails from claimants regarding their claims and related properties (1.1)             1.1      0.1375       $19.25
2019      Administration
          & Objections




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours         Fees
September Claims                     09/18/19 AW          140 Communicate with N. Mirjanich regarding responses to emails relating to second motion for             0.1      0.0125        $1.75
2019      Administration                                      approval of sale (.1)
          & Objections

September Claims                     09/18/19 MR          390 attention to issues on properties (.1).                                                               0.1 0.0052632          $2.05
2019      Administration
          & Objections

September Claims                     09/18/19 MR          390 Attention to lender's reply brief and issues raised therein (.5)                                      0.5 0.0263158         $10.26
2019      Administration
          & Objections

September Claims                     09/20/19 MR          390 Prepare for upcoming hearings on credit bidding issues and sales.                                     1.2 0.0631579         $24.63
2019      Administration
          & Objections

September Claims                     09/23/19 ED          390 Confer with N. Mirjanich regarding claims review and analysis, including review and                   2.2 0.3666667        $143.00
2019      Administration                                      discussion of documentation submitted by multiple claimants relating to six properties (2.2)
          & Objections

September Claims                     09/23/19 ED          390 meet with K. Duff and N. Mirjanich to discuss same (.6)                                               0.6          0.1      $39.00
2019      Administration
          & Objections

September Claims                     09/23/19 ED          390 prepare analysis of secured and unsecured claims relating to six properties (2.3)                     2.3 0.3833333        $149.50
2019      Administration
          & Objections

September Claims                     09/23/19 ED          390 legal research relating to claims analysis (.9).                                                      0.9         0.15      $58.50
2019      Administration
          & Objections

October       Asset                  10/01/19 KBD         390 Confer with A. Porter and J. Rak regarding property sale planning (.2)                                0.2       0.025        $9.75
2019          Disposition
October       Asset                  10/02/19 KBD         390 study correspondence from A. Porter regarding property sales and communication with                   0.1 0.0055556          $2.17
2019          Disposition                                     property manager (.1).
October       Asset                  10/10/19 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale             0.4 0.0444444         $17.33
2019          Disposition                                     agreements for properties without credit bids (.4)
October       Asset                  10/15/19 KBD         390 telephone conference with and study correspondence from real estate broker regarding                  0.2       0.025        $9.75
2019          Disposition                                     approval of sales and closing plans (.2)
October       Asset                  10/15/19 KBD         390 study correspondence from A. Porter regarding status of property sales and exchange                   0.2       0.025        $9.75
2019          Disposition                                     correspondence regarding purchase and sale agreements (.2).




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
October       Business               10/02/19 KBD             390 Exchange correspondence with E. Duff regarding property manager expenses.                               0.1 0.0027027          $1.05
2019          Operations
October       Business               10/04/19 KBD             390 Telephone conferences with A. Porter regarding property manager issue.                                  0.3 0.0081081          $3.16
2019          Operations
October       Business               10/07/19 KBD             390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                    0.8 0.0078431          $3.06
2019          Operations
October       Business               10/10/19 KBD             390 Draft correspondence to J. Rak regarding real estate tax analysis.                                      0.1 0.0009804          $0.38
2019          Operations
October       Business               10/11/19 KBD             390 Exchange correspondence with property manager and asset manager regarding property                      0.3 0.0081081          $3.16
2019          Operations                                          expenses and study information relating to same.
October       Asset                  10/01/19 AEP             390 response to buyer of receivership property (2909 E 78th) regarding request for additional               0.1          0.1      $39.00
2019          Disposition                                         due diligence materials (.1)
October       Asset                  10/01/19 JR              140 further email exchange with title company regarding approval of various closing documents               0.5      0.0625        $8.75
2019          Disposition                                         of the second series of properties (.5).
October       Asset                  10/01/19 JR              140 exchange correspondence with title company relating to various invoice updates regarding                0.2       0.025        $3.50
2019          Disposition                                         the second series of properties (.2)
October       Asset                  10/01/19 JR              140 work with A. Porter relating to review of closing of the second series of properties, various           3.8       0.475       $66.50
2019          Disposition                                         updates to closing documents, review of title commitments and creating a to-do list (3.8)

October       Asset                  10/01/19 JR              140 exchange correspondence with property manager relating to buyer's lender request for                    0.2          0.2      $28.00
2019          Disposition                                         property (2909 E. 78th) (.2)
October       Asset                  10/02/19 AEP             390 Teleconference with receivership broker regarding credit bid issues and preparation of e-               0.3      0.0375       $14.63
2019          Disposition                                         mail to counsel for second series of buyers regarding status of judicial approval of motion to
                                                                  sell, and timing of anticipated future closings (.3)
October       Asset                  10/03/19 JR              140 exchange correspondence with buyer's counsel relating to lender required documents for                  0.1          0.1      $14.00
2019          Disposition                                         buyer regarding property (2909 E. 78th) (.1)
October       Asset                  10/03/19 JR              140 begin review of the received documents from property manager for various properties in the              2.9      0.3625       $50.75
2019          Disposition                                         second series regarding same (2.9)
October       Asset                  10/03/19 JR              140 continue updating closing documents for the second series of properties in preparation for              1.8       0.225       $31.50
2019          Disposition                                         sale (1.8)
October       Asset                  10/04/19 AEP             390 prepare e-mail to all counsel for purchasers of properties in second sales tranche regarding            0.3      0.0375       $14.63
2019          Disposition                                         briefing scheduling on motion to approve sales and anticipated closing dates (.3)

October       Asset                  10/04/19 AEP             390 teleconference with K. Duff regarding timing of closings and dissemination of information to            0.2 0.0181818          $7.09
2019          Disposition                                         counsel for prospective purchasers (.2)
October       Asset                  10/04/19 JR              140 update ALTA Statements for the second series of properties per title company request (1.3)              1.3      0.1625       $22.75
2019          Disposition
October       Asset                  10/07/19 JR              140 Follow up communication exchange with property manager and A. Porter relating to buyer's                0.4          0.4      $56.00
2019          Disposition                                         lender requested documents for property (2909 E. 78th) (.4)
October       Asset                  10/07/19 JR              140 exchange correspondence with buyer's counsel for all properties in the second tranche                   1.2          0.1      $14.00
2019          Disposition                                         relating to a request for post sale information relating to same (1.2)
October       Asset                  10/08/19 JR              140 input information on the closing checklists and update closing documents regarding same                 0.8          0.4      $56.00
2019          Disposition                                         (.8)


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
October       Asset                  10/08/19 JR              140 Review response emails from buyer's counsel relating to various properties (2909 E. 78th &             0.2          0.1      $14.00
2019          Disposition                                         7026 Cornell) post-closing information (.2)
October       Asset                  10/09/19 JR              140 exchange correspondence with buyer's counsel regarding sale of property (2909 E 78th) (.3)             0.3          0.3      $42.00
2019          Disposition
October       Asset                  10/09/19 NM              260 Correspond with receivership team regarding second sales motion and Houston motion                     0.2 0.0222222          $5.78
2019          Disposition                                         (1102 Bingham) and next steps (.2)
October       Asset                  10/10/19 NM              260 Prepare draft order on motions regarding properties and email correspondence to Judge Lee              0.5      0.0625       $16.25
2019          Disposition                                         proposed order regarding entry of orders.
October       Asset                  10/15/19 AEP             390 prepare e-mail to all counsel for purchasers of receivership properties attaching court order          0.2       0.025        $9.75
2019          Disposition                                         and providing explanation regarding scheduling of next round of closings (.2)

October       Asset                  10/15/19 JR              140 calculate net proceeds for same, update addresses and send to K. Duff (1.5)                            1.5       0.125       $17.50
2019          Disposition
October       Asset                  10/15/19 JR              140 exchange correspondence with A. Porter relating to water certifications that need to be                0.2       0.025        $3.50
2019          Disposition                                         ordered after court approval of sale of the second series (.2)
October       Asset                  10/15/19 JR              140 exchange correspondence with A. Porter relating to estimate of net proceeds for closings of            0.1 0.0083333          $1.17
2019          Disposition                                         series 2 properties (.1)
October       Asset                  10/16/19 AEP             390 prepare e-mails to counsel for purchasers of all properties in second tranche of closings              0.2       0.025        $9.75
2019          Disposition                                         regarding closing dates (.2)
October       Asset                  10/16/19 AEP             390 prepare e-mail to title company requesting closing confirmations for specified closing dates           0.2       0.025        $9.75
2019          Disposition                                         associated with all receivership properties in second tranche of second closings (.2)

October       Asset                  10/16/19 JR              140 work with A. Porter relating to the preparation for closing of the second tranche (3.4)                3.4       0.425       $59.50
2019          Disposition
October       Asset                  10/17/19 AEP             390 review title commitments for all receivership properties in second tranche of closings and             0.6       0.075       $29.25
2019          Disposition                                         prepare e-mails to title insurer regarding removal of remaining unpermitted special
                                                                  exceptions (.6).
October       Asset                  10/17/19 JR              140 review water certificate applications and send same to the title companies for the second              1.3      0.1625       $22.75
2019          Disposition                                         series properties in preparation for closing (1.3)
October       Asset                  10/17/19 JR              140 exchange correspondence with A. Porter regarding same (.2)                                             0.2       0.025        $3.50
2019          Disposition
October       Asset                  10/17/19 JR              140 Locate lender information for series 2 properties and deliver information to title company             0.2 0.0111111          $1.56
2019          Disposition                                         (.2)
October       Asset                  10/17/19 JR              140 communications with property managers regarding contact information for onsite property                0.2          0.1      $14.00
2019          Disposition                                         managers (.2)
October       Asset                  10/18/19 AEP             390 e-mail communications with title company regarding alleged need for signed warranty deeds              0.3          0.1      $39.00
2019          Disposition                                         in connection with full payment water certificate applications (.3)
October       Asset                  10/18/19 AEP             390 prepare e-mail to K. Duff and N. Mirjanich regarding order authorizing sales of second                 0.1      0.0125        $4.88
2019          Disposition                                         tranche of properties (.1)
October       Asset                  10/18/19 AEP             390 send closing confirmations to counsel for purchasers of receivership property (2909 E 78th             0.1         0.05      $19.50
2019          Disposition                                         and 701 S Fifth) (.1)
October       Asset                  10/18/19 JR              140 exchange correspondence with A. Porter and title company relating to same (.2)                         0.2       0.025        $3.50
2019          Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
October       Asset                  10/18/19 JR              140 update all water certifications for the second tranche and provide to title companies (1.2)              1.2         0.15      $21.00
2019          Disposition
October       Asset                  10/18/19 NM              260 correspond with K. Duff, M. Rachlis, A. Porter, and real estate broker in advance of same (.3).          0.3 0.0166667          $4.33
2019          Disposition
October       Asset                  10/18/19 NM              260 Study motions to approve sale of the first tranche and process for second tranche in advance             0.8 0.0444444         $11.56
2019          Disposition                                         of court hearing (.8)
October       Asset                  10/21/19 AEP             390 Respond to request from title company by providing attorney and lender contact                           0.2 0.0666667         $26.00
2019          Disposition                                         information for all scheduled closings (.2)
October       Asset                  10/23/19 JR              140 exchange communication with the water department at the title company and K. Duff                        0.2          0.2      $28.00
2019          Disposition                                         regarding water certifications and payments (.2).
October       Asset                  10/23/19 JR              140 exchange correspondence with broker relating to closing confirmations for the second                     0.2       0.025        $3.50
2019          Disposition                                         tranche (.2)
October       Asset                  10/24/19 JR              140 Exchange correspondence with title company relating to approval of water payment from                    0.1          0.1      $14.00
2019          Disposition                                         closing proceeds for property (2909 E 78th) (.1)
October       Asset                  10/27/19 AEP             390 prepare e-mails to property managers regarding scheduled closing dates of properties (.2)                0.2       0.025        $9.75
2019          Disposition
October       Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                    0.4 0.0039216          $1.53
2019          Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October       Asset                  10/27/19 JR              140 email exchange relating to estimated net proceeds relating to the second series of properties            0.1      0.0125        $1.75
2019          Disposition                                         closing soon (.1).
October       Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future                 0.4     0.00625        $2.44
2019          Disposition                                         closings (.4)
October       Asset                  10/29/19 AEP             390 review updated title commitment on receivership property (2909 E 78th) and request                       0.2          0.2      $78.00
2019          Disposition                                         additional documentation relating to special exceptions (.2)
October       Asset                  10/29/19 AEP             390 conference with K. Duff, M. Rachlis, and N. Mirjanich regarding status of resolution of                  0.2          0.2      $78.00
2019          Disposition                                         administrative action affecting receivership property scheduled for imminent closing (2909 E
                                                                  78th) and response to buyer request for thirty-day continuance of closing date (.2)

October       Asset                  10/29/19 JR              140 confer with A. Porter relating to the sale of properties in the second series and discuss                2.9      0.3625       $50.75
2019          Disposition                                         finalizing of closing documents (2.9)
October       Asset                  10/29/19 JR              140 exchange communication with property managers relating to updates to rent rolls in                       0.3 0.0428571          $6.00
2019          Disposition                                         preparation for closing (.3)
October       Asset                  10/29/19 JR              140 exchange communication with buyer's counsel relating to updates to notices to tenants on                 0.2       0.025        $3.50
2019          Disposition                                         various properties in the second series that are closing soon (.2)
October       Asset                  10/29/19 JR              140 make updates to same (.6).                                                                               0.6       0.075       $10.50
2019          Disposition
October       Asset                  10/29/19 KMP             140 Conferences with K. Duff and J. Rak regarding properties set for closing and confirming set-             0.3 0.0428571          $6.00
2019          Disposition                                         up of Receiver's accounts for sales proceeds relating to same, and confirming wire transfer
                                                                  instructions.
October       Asset                  10/29/19 NM              260 correspond with A. Porter and K. Duff regarding properties (701 5th Ave Maywood and 2909                 0.3         0.15      $39.00
2019          Disposition                                         E 79th) and closings on same (.3).
October       Asset                  10/29/19 NM              260 Correspond with A. Porter regarding code violations on properties closing in November 2019               0.1 0.0142857          $3.71
2019          Disposition                                         (.1)


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2909-19 E 78th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
October       Asset                  10/30/19 AEP             390 communications with counsel for purchaser of receivership property (2909 E 78th) regarding           0.3          0.3     $117.00
2019          Disposition                                         purchaser's request for continuance of closing date and communication with property
                                                                  manager regarding status of repair obligations (.3)
October       Asset                  10/30/19 AEP             390 [Continuation of time entry] Review and approve second updated title commitments on                  0.2          0.1      $39.00
2019          Disposition                                         receivership property (2909 E 78th and 701 S Fifth) (.2)
October       Asset                  10/30/19 AEP             390 review amended title policies received for receivership properties (2909 E 78th and 701 S            0.4          0.2      $78.00
2019          Disposition                                         Fifth) and prepare e- mails to title company questioning appearance of new special
                                                                  exceptions and requesting hold harmless letters for special exceptions not yet waived from
                                                                  title (.4)
October       Asset                  10/30/19 JR              140 exchange correspondence with property manager relating to rent roll updates in preparation           0.1 0.0142857          $2.00
2019          Disposition                                         for closing (.1)
October       Asset                  10/30/19 JR              140 Review emails and save various documents in corresponding electronic folders including               0.6       0.075       $10.50
2019          Disposition                                         titles and surveys (.6)
October       Asset                  10/30/19 JR              140 follow up with the water department at title company relating to water certifications for            0.3      0.0375        $5.25
2019          Disposition                                         second series (.3)
October       Asset                  10/30/19 JR              140 review and save code violations to appropriate electronic files received from N. Mirjanich           0.2          0.1      $14.00
2019          Disposition                                         (.2).
October       Asset                  10/30/19 NM              260 Correspond with A. Porter and real estate broker regarding code violations on properties             0.2 0.0285714          $7.43
2019          Disposition                                         closing in November 2019.
October       Asset                  10/31/19 JR              140 confer with A. Porter relating to closings of the second tranche and water certifications            0.1      0.0125        $1.75
2019          Disposition                                         relating to same (.1)
October       Asset                  10/31/19 JR              140 review updated rent roll and amend notice to tenants for various properties in the second            2.5      0.3125       $43.75
2019          Disposition                                         series and send to buyer's counsel and property manager for signature before sending out to
                                                                  tenants (2.5)
October       Asset                  10/31/19 JR              140 review A. Porter email and revise notices to tenant with updated buyer names and send to             0.6          0.6      $84.00
2019          Disposition                                         property manager for signature (.6)
October       Asset                  10/31/19 JR              140 exchange communication with the title Company relating to same (.1)                                  0.1      0.0125        $1.75
2019          Disposition
October       Asset                  10/31/19 JR              140 Review various emails regarding upcoming closings (.5)                                               0.5      0.0625        $8.75
2019          Disposition
October       Business               10/01/19 NM              260 prepare for administrative and housing court (.4)                                                    0.4 0.0444444         $11.56
2019          Operations
October       Business               10/02/19 ED              390 email correspondence with property manager regarding property expenses (.1).                         0.1 0.0027027          $1.05
2019          Operations
October       Business               10/02/19 NM              260 prepare for housing court tomorrow and correspond with City attorney and property                    0.8          0.1      $26.00
2019          Operations                                          managers regarding the same (.8)
October       Business               10/03/19 NM              260 correspond with K. Duff regarding the same (.2)                                                      0.2       0.025        $6.50
2019          Operations
October       Business               10/03/19 NM              260 appear for housing court on eight properties (1.2)                                                   1.2         0.15      $39.00
2019          Operations
October       Business               10/03/19 NM              260 Prepare for housing court and correspond with K. Duff and the property managers regarding            0.7      0.0875       $22.75
2019          Operations                                          the same (.7)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
October       Business               10/03/19 NM              260 following court, revise spreadsheet to reflect the same and correspond with property                  1.0       0.125       $32.50
2019          Operations                                          managers regarding the same and correspond with broker regarding property (7760 S Coles)
                                                                  (1.0)
October       Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                 1.0 0.0098039          $3.82
2019          Operations
October       Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0029412          $1.15
2019          Operations
October       Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate           0.3 0.0030303          $0.42
2019          Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October       Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers             1.9 0.0206522          $2.89
2019          Operations                                          can pay out of current net operating income (1.9)
October       Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                    0.2 0.0021739          $0.30
2019          Operations
October       Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                        0.6       0.006        $0.84
2019          Operations
October       Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real               0.2       0.002        $0.28
2019          Operations                                          estate taxes (.2)
October       Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare            0.9 0.0087379          $1.22
2019          Operations                                          same.
October       Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                  0.3 0.0029412          $0.41
2019          Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

November      Asset                  11/01/19 KBD             390 Study correspondence from A. Porter and title company representative regarding questions              0.2 0.0285714         $11.14
2019          Disposition                                         relating to EB.
November      Asset                  11/07/19 KBD             390 Review and execute closing documents with A. Porter and J. Rak (2909 78th and 3030 79th).             1.1         0.55     $214.50
2019          Disposition
November      Asset                  11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833          $0.81
2019          Disposition
November      Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608          $0.76
2019          Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                  improvements for remaining properties in portfolio (.2)
November      Business               11/05/19 KBD             390 analysis of same (.2).                                                                                0.2 0.0019608          $0.76
2019          Operations
November      Business               11/15/19 KBD             390 draft correspondence to insurance broker regarding sold properties (.2).                              0.2 0.0285714         $11.14
2019          Operations
November      Asset                  11/01/19 AEP             390 teleconference with J. Rak regarding methodology for collecting rent roll and delinquency             0.1 0.0142857          $5.57
2019          Disposition                                         information and prorating rents at closings (.1)
November      Asset                  11/01/19 AEP             390 proofread, edit, and revise notices to tenants regarding change in ownership of receivership          0.5       0.125       $48.75
2019          Disposition                                         properties (2909 E 78th, 6001 S Sacramento, 3030 E 79th, and 7026 S Cornell) (.5).

November      Asset                  11/01/19 JR              140 preparation of all closing documents for signature (2.3).                                             2.3 0.3285714         $46.00
2019          Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
November      Asset                  11/01/19 NM              260 revise and send to court for entry of same and correspond with K. Duff and courtroom                    0.5      0.0625       $16.25
2019          Disposition                                         deputy regarding the same (.5).
November      Asset                  11/01/19 NM              260 Correspond with A. Watychowicz and A. Porter regarding order for second tranche of sales                0.2 0.0222222          $5.78
2019          Disposition                                         (.2)
November      Asset                  11/04/19 JR              140 exchange correspondence with buyer's counsel regarding change to buyer name for closing                 0.2          0.2      $28.00
2019          Disposition                                         of property (2909 E 78th) (.2)
November      Asset                  11/04/19 JR              140 Final review of documents in preparation for closing (.6)                                               0.6 0.0857143         $12.00
2019          Disposition
November      Asset                  11/04/19 MR              390 Review order on sales and conferences with K. Duff regarding same and closing related                   0.5      0.0625       $24.38
2019          Disposition                                         issues.
November      Asset                  11/04/19 SZ              110 Obtain Certified Revised Order Granting Receiver's Second Motion for Approval of the Sale of            0.7      0.0875        $9.63
2019          Disposition                                         Certain Real Estate and Avoidance of Certain Mortgages, Liens, Claims, and Encumbrances to
                                                                  be used in the sale of properties.
November      Asset                  11/05/19 AEP             390 numerous communications, electronic and telephonic, with counsel for purchasers of                      1.0 0.3333333        $130.00
2019          Disposition                                         receivership properties (2909 E 78th Street, 7026 S Cornell, and 3030 E 79th Street) and
                                                                  escrow agents regarding status of unresolved title and pending municipal action rules and
                                                                  status of, or potential rescheduling of, future closings (1.0).

November      Asset                  11/05/19 JR              140 follow up with property manager regarding updates to due diligence documents in                         0.2          0.2      $28.00
2019          Disposition                                         preparation of closing for property (2909 E 78th) (.2)
November      Asset                  11/06/19 AEP             390 prepare e- mail to property management firm regarding need for various documents in                     0.2          0.2      $78.00
2019          Disposition                                         connection with imminent closing of receivership property (2909 E 78th Street) (.2)

November      Asset                  11/06/19 JR              140 Update closing documents for closing of property (2909 E. 78th) (3.9)                                   3.9          3.9     $546.00
2019          Disposition
November      Asset                  11/06/19 JR              140 complete document signing for same with K. Duff and A. Porter (.6)                                      0.6          0.3      $42.00
2019          Disposition
November      Asset                  11/07/19 AEP             390 proofread, edit, revise, and finalize all seller documents relating to closing of sale of               1.6          1.6     $624.00
2019          Disposition                                         receivership property (2909 E 78th Street) (1.6)
November      Asset                  11/07/19 AEP             390 oversee execution of all closing documents associated with sales of receivership properties             1.2          0.6     $234.00
2019          Disposition                                         (3030 E 79th Street and 2909 E 78th Street) (1.2)
November      Asset                  11/07/19 AEP             390 communications with numerous lawyers, title agents, property managers, J. Rak and                       0.8          0.4     $156.00
2019          Disposition                                         receivership brokers regarding scheduling of closings of receivership properties and
                                                                  documents to be signed in connection therewith (.8).
November      Asset                  11/07/19 JR              140 Review updated due diligence documents received from property management and update                     1.9          1.9     $266.00
2019          Disposition                                         rent roll for property for closing (2909 E. 78th) (1.9)
November      Asset                  11/07/19 JR              140 exchange correspondence with property management relating to same (.3)                                  0.3          0.3      $42.00
2019          Disposition
November      Asset                  11/07/19 JR              140 signing of same with A. Porter, K. Duff, and M. Rachlis (1.6).                                          1.6          0.8     $112.00
2019          Disposition
November      Asset                  11/07/19 JR              140 final revisions to closing documents regarding properties set to close (2909 E. 78 and 3030 E.          2.8          1.4     $196.00
2019          Disposition                                         79th) (2.8)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
November      Asset                  11/07/19 JR              140 request updated due diligence documents from property manager and update closing                        1.2          0.6      $84.00
2019          Disposition                                         documents (1.2)
November      Asset                  11/07/19 JR              140 exchange correspondence with broker and property manager relating to key delivery for                   0.2          0.1      $14.00
2019          Disposition                                         closing of properties (2909 E. 78th and 3030 E. 79th) (.2)
November      Asset                  11/08/19 AEP             390 revise various seller documents at request of counsel for purchaser of receivership property            0.3          0.3     $117.00
2019          Disposition                                         (2909 E 78th Street) (.3)
November      Asset                  11/10/19 JR              140 Update assignment and assumption of rents for property (2909 E. 78th).                                  1.2          1.2     $168.00
2019          Disposition
November      Asset                  11/11/19 JR              140 phone conference with real estate broker relating to upcoming closings (.2)                             0.2          0.2      $28.00
2019          Disposition
November      Asset                  11/11/19 JR              140 Update rent roll and assignment and assumption of rents for property (2909 E. 78th) and                 0.8          0.8     $112.00
2019          Disposition                                         exchange correspondence with property manager regarding same (.8)
November      Asset                  11/12/19 JR              140 Exchange correspondence with property manager as a follow up to due diligence documents                 0.3          0.3      $42.00
2019          Disposition                                         in preparation for closing (.3)
November      Asset                  11/12/19 JR              140 follow up with property manager regarding lien waiver for property in preparation for closing           0.1          0.1      $14.00
2019          Disposition                                         (2909 E 79th) (.1)
November      Asset                  11/13/19 JR              140 follow up correspondence with K. Pritchard regarding same (.1)                                          0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/13/19 JR              140 exchange correspondence with property manager regarding closing confirmation (.1)                       0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/13/19 JR              140 Prepare and update final closing documents of property (2909 E 79th) in preparation for                 0.7          0.7      $98.00
2019          Disposition                                         closing (.7)
November      Asset                  11/13/19 JR              140 exchange correspondence with K. Duff regarding updates to wire instructions for receiver                0.1          0.1      $14.00
2019          Disposition                                         account (.1)
November      Asset                  11/13/19 JR              140 exchange correspondence with real estate broker regarding lien waiver for closing of                    0.1          0.1      $14.00
2019          Disposition                                         property (2909 E 78th) (.1)
November      Asset                  11/13/19 JR              140 follow up correspondence with real estate broker regarding status of keys to the building               0.1          0.1      $14.00
2019          Disposition                                         (.1).
November      Asset                  11/13/19 JR              140 exchange correspondence with property manager regarding updates to rent roll for property               0.1          0.1      $14.00
2019          Disposition                                         (2909 E. 78th) (.1)
November      Asset                  11/13/19 KMP             140 Communications with K. Duff and J. Rak regarding revised wire instructions for proceeds of              0.1          0.1      $14.00
2019          Disposition                                         upcoming property sale.
November      Asset                  11/14/19 AEP             390 review waived title, deed and money escrow instructions, and extended coverage affidavit in             0.2          0.2      $78.00
2019          Disposition                                         connection with closing of receivership property (2909 E 78th) and provide comments to
                                                                  paralegal at closing (.2).
November      Asset                  11/14/19 AEP             390 Review e-mails from purchaser's counsel and title company and make multiple revisions to                0.3          0.3     $117.00
2019          Disposition                                         settlement statement associated with sale of receivership property (2909 E 78th) (.3)

November      Asset                  11/14/19 JR              140 exchange communication with the property manager and buyer's counsel relating to                        0.7          0.7      $98.00
2019          Disposition                                         updated rent roll, delinquency reports and closing cost credit for closing of property (2909 E
                                                                  78th) (.7)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
November      Asset                  11/14/19 JR              140 attend closing on property (2909 E. 78th) and exchange correspondence with A. Porter                    4.2          4.2     $588.00
2019          Disposition                                         relating to various closing documents at closing for property (2909 E 79th) (4.2).

November      Asset                  11/14/19 KMP             140 Communications with K. Duff and J. Rak confirming wire instructions for proceeds of                     0.1          0.1      $14.00
2019          Disposition                                         upcoming property sale (2909 E 78th) (.1)
November      Asset                  11/14/19 KMP             140 communications with J. Rak regarding status of closing (2909 E 78th) and wire transfer of sale          0.1          0.1      $14.00
2019          Disposition                                         proceeds (.1).
November      Asset                  11/15/19 JR              140 exchange emails with the title company relating to confirmation of wire from closing (2909 E            0.4          0.4      $56.00
2019          Disposition                                         79th) (.4)
November      Asset                  11/15/19 JR              140 exchange emails with real estate broker relating to same (.1)                                           0.1 0.0166667          $2.33
2019          Disposition
November      Asset                  11/15/19 JR              140 phone conference with real estate broker relating to recent closings, future closings and               0.7 0.1166667         $16.33
2019          Disposition                                         expectations (.7)
November      Asset                  11/15/19 JR              140 prepare notices to tenants for all properties in the second tranche that recently sold (2.0).           2.0 0.2857143         $40.00
2019          Disposition
November      Asset                  11/15/19 SZ              110 communicated with J. Rak about the same (.4).                                                           0.4          0.2      $22.00
2019          Disposition
November      Asset                  11/15/19 SZ              110 Preparation of mailings to tenants of recently sold properties (1.0)                                    1.0          0.5      $55.00
2019          Disposition
November      Asset                  11/18/19 JR              140 Exchange communication with N. Mirjanich relating to buyer information for prior closings of            0.3         0.15      $21.00
2019          Disposition                                         properties (2909 E 78th and 7026 Cornell) and regarding future court appearances on house
                                                                  and administrative hearings (.3)
November      Asset                  11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                    0.4       0.025        $3.50
2019          Disposition                                         properties (.4)
November      Asset                  11/18/19 NM              260 Correspond with J. Rak regarding sales and code violations (.3)                                         0.3         0.15      $39.00
2019          Disposition
November      Asset                  11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from           0.4 0.0285714          $4.00
2019          Disposition                                         property managers on sold properties, and communicate with J. Rak regarding same.

November      Asset                  11/21/19 JR              140 Exchange correspondence with A. Porter relating to closing (.1)                                         0.1          0.1      $14.00
2019          Disposition
November      Asset                  11/22/19 JR              140 organize closing documents electronically for the remainder of closed properties (3030 E.               3.8          1.9     $266.00
2019          Disposition                                         79th and 2909 E. 78th) and exchange correspondence with A. Porter relating to same (3.8)

November      Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                 0.4 0.0038835          $1.01
2019          Operations
November      Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                        0.2 0.0019417          $0.50
2019          Operations
November      Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting               0.4 0.0038835          $1.51
2019          Operations                                          reports (.4)
November      Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                            1.1 0.0106796          $4.17
2019          Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
November      Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019          Operations                                          research and communication regarding process (.6).
November      Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019          Operations                                          (.1)
November      Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019          Operations
November      Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757          $2.45
2019          Operations                                          accounting financial statements from Receiver's accountant.
November      Business               11/25/19 ED              390 confer with J. Rak regarding changes to ownership information for utility service (.1)                   0.1          0.1      $39.00
2019          Operations
November      Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379          $3.41
2019          Operations
November      Business               11/25/19 KMP             140 communications with E. Duff and property manager regarding reduction in installment                      0.2          0.2      $28.00
2019          Operations                                          payment due to sale of property (2909 E 78th) (.2)
November      Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126          $1.14
2019          Operations                                          information for review (.3)
November      Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961          $2.65
2019          Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                  needed (.7)
November      Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845          $3.81
2019          Operations                                          (2.8).
November      Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                      0.4 0.0038835          $1.51
2019          Administration                                      preparation of October accounting reports to lenders.
              & Objections

November      Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                               3.8 0.0368932         $14.39
2019          Administration
              & Objections

November      Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                   0.5 0.0048544          $1.89
2019          Administration                                      (.5).
              & Objections

December      Asset                  12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties              0.1 0.0076923          $1.08
2019          Disposition                                         information (.1)
December      Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements               0.3 0.0029126          $0.41
2019          Disposition                                         (.3)
December      Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                       0.8    0.007767        $1.09
2019          Disposition                                         preparation for review (.8)
December      Asset                  12/13/19 JR              140 review email exchange from property manager and forward to E. Duff to reconcile (.2)                     0.2          0.1      $14.00
2019          Disposition
December      Asset                  12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)                0.1 0.0071429          $1.00
2019          Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
December      Asset                  12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                      1.0 0.0588235         $8.24
2019          Disposition
December      Asset                  12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                            0.2 0.0117647         $1.65
2019          Disposition
December      Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by          1.1 0.0106796         $1.50
2019          Operations                                          property basis and prepare same.
December      Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership              0.4 0.0038835         $1.51
2019          Operations                                          expenses.
December      Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                0.8    0.007767       $3.03
2019          Operations                                          properties and accounts payable (.8)
December      Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                            0.6 0.0058252         $2.27
2019          Operations
December      Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting             0.2 0.0019417         $0.76
2019          Operations                                          reports (.2)
December      Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence             0.8    0.007767       $3.03
2019          Operations                                          with accountant regarding comments and corrections.
December      Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                      0.8    0.007767       $3.03
2019          Operations
December      Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable          0.9 0.0087379         $3.41
2019          Administration                                      from properties (.9)
              & Objections

December      Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                     1.7 0.0165049         $6.44
2019          Administration
              & Objections

December      Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                   2.8 0.0271845        $10.60
2019          Administration
              & Objections

December      Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to            0.3 0.0029126         $1.14
2019          Administration                                      lenders.
              & Objections

December      Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and          6.4 0.0621359         $8.70
2019          Administration                                      accountant 's information (6.4)
              & Objections

December      Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                          0.3 0.0029126         $0.41
2019          Administration
              & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
December      Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).              0.4 0.0038835          $1.51
2019          Administration
              & Objections

January       Asset                  01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed                     0.5 0.0294118          $4.12
2020          Disposition                                         properties (.5)
January       Asset                  01/14/20 AEP             390 conference with K. Duff, E. Duff, and N. Mirjanich regarding claims process information or               0.6          0.1      $39.00
2020          Disposition                                         other documentation relating to alleged security interests in property (.6)

January       Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                 1.2 0.0116505          $1.63
2020          Disposition                                         for further review (1.2).
January       Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                 1.6    0.015534        $2.17
2020          Disposition
January       Asset                  01/23/20 JR              140 exchange correspondence with N. Mirjanich regarding status report and requested                          0.2 0.0181818          $2.55
2020          Disposition                                         information for same (.2)
January       Asset                  01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                       0.2 0.0117647          $1.65
2020          Disposition
January       Asset                  01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                             0.9 0.0529412          $7.41
2020          Disposition
January       Asset                  01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                                     0.7 0.0411765          $5.76
2020          Disposition
January       Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020          Operations                                          October reports.
January       Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020          Operations                                          (1.6)
January       Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020          Operations
January       Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020          Operations                                          expenditures to properties (.1).
January       Business               01/21/20 ED              390 Email correspondence with insurance agent to follow up on pending items.                                 0.1 0.0090909          $3.55
2020          Operations
January       Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020          Operations
January       Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020          Operations
January       Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020          Operations
January       Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534        $6.06
2020          Administration                                      regarding questions and corrections.
              & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January       Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                  0.4 0.0038835         $0.54
2020          Administration                                      received from accountant and provide to E. Duff for review.
              & Objections

January       Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                 1.2 0.0116505         $4.54
2020          Administration                                      transmit to lenders' counsel.
              & Objections

January       Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417         $0.76
2020          Administration                                      reports through November 2019 (.2)
              & Objections

January       Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                   0.6 0.0058252         $2.27
2020          Administration                                      regarding receivership income and expenditures (.6).
              & Objections

January       Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020          Administration                                      accountant provides his copies for review.
              & Objections

January       Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020          Administration                                      to lenders (.7)
              & Objections

January       Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020          Administration
              & Objections

January       Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020          Administration
              & Objections

January       Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020          Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
              & Objections

January       Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020          Administration                                      remaining amounts reimbursable to receivership (1.5).
              & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
January       Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                 0.3 0.0029126          $1.14
2020          Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
              & Objections

February      Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.          0.4 0.0038095          $1.49
2020          Operations                                          Duff regarding same (.4)
February      Asset                  02/05/20 JR              140 review title commitments with A. Porter and identify special exceptions regarding a hold             1.7 0.1545455         $21.64
2020          Disposition                                         harmless letter (1.7).
February      Asset                  02/07/20 JR              140 Exchange correspondence with A. Porter related to hold harmless letters and research                 0.2 0.0181818          $2.55
2020          Disposition                                         regarding title companies which closed on EB properties (.2)
February      Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                     2.8 0.0269231          $3.77
2020          Disposition
February      Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                   5.2 0.2888889         $40.44
2020          Disposition
February      Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)               0.1 0.0010753          $0.15
2020          Disposition
February      Asset                  02/26/20 JR              140 exchange correspondence with property managers regarding post-closing reconciliation for             0.3      0.0375        $5.25
2020          Disposition                                         various properties (.3)
February      Asset                  02/28/20 JR              140 further email communication with E. Duff specific to properties which closed related to the          0.2         0.05       $7.00
2020          Disposition                                         post-reconciliation request (.2)
February      Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real              0.1 0.0010753          $0.15
2020          Operations                                          estate taxes (.1)
February      Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                        0.3 0.0028846          $1.13
2020          Operations
February      Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                               0.2 0.0019231          $0.75
2020          Operations
February      Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                        0.2 0.0019231          $0.75
2020          Operations
February      Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both             3.9      0.0375        $5.25
2020          Operations                                          for all EquityBuild properties.
February      Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak               2.7 0.0259615         $10.13
2020          Operations                                          (2.7)
February      Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                0.2 0.0019231          $0.75
2020          Operations
February      Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                      0.2 0.0019231          $0.75
2020          Operations
February      Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                 0.4 0.0038462          $1.50
2020          Operations
February      Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                         0.9 0.0096774          $1.35
2020          Operations
February      Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                        0.4 0.0038462          $1.50
2020          Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
February      Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020          Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                  report missing details for several institutional lenders (1.1)

February      Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126          $0.41
2020          Operations
February      Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923          $2.83
2020          Administration
              & Objections

February      Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025        $3.50
2020          Administration                                      property managers.
              & Objections

February      Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231          $3.77
2020          Administration
              & Objections

February      Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                    1.2 0.0129032          $1.81
2020          Administration
              & Objections

February      Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231          $0.27
2020          Administration                                      statements (.2)
              & Objections

February      Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting               0.5 0.0048077          $1.88
2020          Administration                                      reports.
              & Objections

March 2020 Asset                     03/03/20 ED              390 Email correspondence with J. Rak and K. Duff regarding closing of property manager's                   0.2         0.05      $19.50
           Disposition                                            operating accounts for sold properties (2909-19 E 78th, 5955-59 Sacramento, 6001-05
                                                                  Sacramento, 7026 S Cornell Ave).
March 2020 Asset                     03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                        1.4 0.0777778         $10.89
           Disposition
March 2020 Asset                     03/03/20 JR              140 exchange correspondence with E. Duff regarding same (.2)                                               0.2         0.05       $7.00
           Disposition
March 2020 Asset                     03/03/20 JR              140 exchange communication with property manager regarding post-closing reconciliation                     0.3       0.075       $10.50
           Disposition                                            accounts and outstanding balances for tenant and payment agreement (.3)

March 2020 Asset                     03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet                  0.2 0.0111111          $1.56
           Disposition                                            regarding closed properties and forward same (.2)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
March 2020 Asset                     03/05/20 JR              140 update closed property spreadsheet (.4)                                                               0.4 0.0222222          $3.11
           Disposition
March 2020 Asset                     03/06/20 JR              140 review all closing statements from closed properties regarding same (1.8)                             1.8          1.8     $252.00
           Disposition
March 2020 Asset                     03/06/20 JR              140 exchange communication with E. Duff regarding amounts reimbursed to receivership from                 0.3          0.3      $42.00
           Disposition                                            sold properties (.3)
March 2020 Asset                     03/06/20 KMP             140 confer with E. Duff regarding details of account for certain property (2909 E 78th) in                0.1          0.1      $14.00
           Disposition                                            connection with post-closing reconciliation (.1).
March 2020 Asset                     03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                    0.6 0.0333333          $4.67
           Disposition
March 2020 Business                  03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold               0.1 0.0009615          $0.38
           Operations                                             properties (.1)
March 2020 Business                  03/06/20 ED              390 review correspondence and financial reporting relating to collection of receivable from               0.3          0.3     $117.00
           Operations                                             tenant in sold property (2909-19 E 78th) (.3)
March 2020 Business                  03/06/20 ED              390 follow up with J. Rak and K. Pritchard regarding same (.1)                                            0.1          0.1      $39.00
           Operations
March 2020 Business                  03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845          $3.81
           Operations                                             (2.8)
March 2020 Business                  03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                          0.1 0.0009709          $0.14
           Operations
March 2020 Business                  03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                   0.2 0.0153846          $2.15
           Operations                                             finance payments based on sales of properties.
March 2020 Business                  03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462          $1.50
           Operations
March 2020 Business                  03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058          $5.57
           Operations
March 2020 Claims                    03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835          $1.51
           Administration
           & Objections

March 2020 Claims                    03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                         expenditures (.2)
           & Objections

March 2020 Claims                    03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544          $1.89
           Administration                                         reports (.5)
           & Objections

March 2020 Claims                    03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                         to deposit funds (.4)
           & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
March 2020 Claims                    03/03/20 ED              390 and review of related documentation (.1).                                                            0.1 0.0009709          $0.38
           Administration
           & Objections

April 2020    Claims                 04/11/20 KBD             390 Study correspondence regarding analysis of fund claims.                                              0.2 0.0222222          $8.67
              Administration
              & Objections

April 2020    Claims                 04/17/20 KBD             390 Work with J. Wine on claims process and identification of fund claimants (.3)                        0.3         0.05      $19.50
              Administration
              & Objections

April 2020    Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                              0.1 0.0015873          $0.22
              Disposition
April 2020    Asset                  04/30/20 JR              140 review email from property manager related to post closing reconciliation amounts for                0.1          0.1      $14.00
              Disposition                                         property (2909 E. 79th) and further exchange correspondence with K. Pritchard regarding
                                                                  same (.1).
April 2020    Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]           0.8 0.0126984          $1.78
              Disposition                                         and prepare requested information regarding same (.8)
April 2020    Business               04/08/20 JRW             260 study proof of claim submitted by City of Chicago regarding judgments and fees assessed              0.3       0.015        $3.90
              Operations                                          against properties and related correspondence (.3).
April 2020    Business               04/21/20 ED              390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                 0.3 0.0029126          $1.14
              Operations
April 2020    Business               04/21/20 ED              390 call (.1)                                                                                            0.1 0.0009709          $0.38
              Operations
April 2020    Claims                 04/08/20 JRW             260 Exchange correspondence with A. Porter regarding claim forms and City of Chicago claim (.3)          0.3       0.015        $3.90
              Administration
              & Objections

April 2020    Claims                 04/10/20 ED              390 Review drafts of January accounting reports to claimants and analysis of related                     5.4 0.0524272         $20.45
              Administration                                      documentation regarding property income and expenses (5.4)
              & Objections

April 2020    Claims                 04/10/20 ED              390 email correspondence to accountant with comments on draft reports (.3).                              0.3 0.0029126          $1.14
              Administration
              & Objections

April 2020    Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                       0.9 0.0087379          $1.22
              Administration
              & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2020    Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
              Administration
              & Objections

April 2020    Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
              Administration                                      claimants (.2)
              & Objections

April 2020    Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
              Administration                                      accounting reports (.7)
              & Objections

April 2020    Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
              Administration
              & Objections

April 2020    Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
              Administration
              & Objections

April 2020    Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
              Administration                                      accounting reports (.9).
              & Objections

April 2020    Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
              Administration
              & Objections

April 2020    Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                    0.3 0.0029126         $1.14
              Administration
              & Objections

April 2020    Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                          0.4 0.0038835         $1.51
              Administration
              & Objections

April 2020    Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                    0.3 0.0029126         $1.14
              Administration                                      preparation of statements (.3)
              & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
April 2020    Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835          $1.51
              Administration
              & Objections

April 2020    Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126          $1.14
              Administration
              & Objections

April 2020    Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417          $0.27
              Administration                                      financial statements related to February reporting.
              & Objections

April 2020    Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175          $2.72
              Administration
              & Objections

April 2020    Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602          $6.25
              Administration                                      from E. Duff and accountant.
              & Objections

May 2020      Asset                  05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                        0.3 0.0176471          $6.88
              Disposition
May 2020      Asset                  05/05/20 KBD             390 exchange correspondence with K. Pritchard regarding property manager post sale account              0.1          0.1      $39.00
              Disposition                                         reconciliation (2909 78th) (.1)
May 2020      Asset                  05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings            0.3 0.0176471          $6.88
              Disposition                                         and sales (.3)
May 2020      Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923          $3.00
              Operations
May 2020      Asset                  05/01/20 JR              140 Exchange correspondence with the property manager regarding wire instructions for post              0.2          0.2      $28.00
              Disposition                                         closing reconciliation amount related to property (2909 E. 79th) (.2)
May 2020      Asset                  05/05/20 JR              140 exchange correspondence with K. Pritchard regarding same (.1)                                       0.1          0.1      $14.00
              Disposition
May 2020      Asset                  05/05/20 JR              140 review email from K. Pritchard regarding post-closing funds and review account information          0.4          0.4      $56.00
              Disposition                                         (.4)
May 2020      Asset                  05/05/20 KMP             140 Follow up on post-closing reconciliation deposit by property manager to property account            0.2          0.2      $28.00
              Disposition                                         (2909 E 78th) and communicate with J. Rak regarding same (.2)
May 2020      Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922          $1.90
              Disposition
May 2020      Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709          $0.14
              Disposition                                         companies (.1)
May 2020      Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757          $2.45
              Disposition




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
May 2020      Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957         $1.22
              Disposition                                         (.2).
May 2020      Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462         $0.54
              Disposition                                         closings (.1)
May 2020      Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016       $2.24
              Disposition                                         (.4)
May 2020      Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008       $1.12
              Disposition
May 2020      Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
              Operations                                          properties (1.3)
May 2020      Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
              Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                  regarding missing reports.
May 2020      Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
              Operations                                          regarding same
May 2020      Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417         $0.76
              Operations
May 2020      Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
              Operations
May 2020      Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
              Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                  amounts by property (.5).
May 2020      Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
              Operations                                          correspondence.
May 2020      Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
              Operations
May 2020      Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
              Operations
May 2020      Business               05/28/20 KMP             140 study communications with property manager regarding analysis of funds request (.2)                 0.2 0.0051282         $0.72
              Operations
May 2020      Business               05/29/20 ED              390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
              Operations
May 2020      Business               05/30/20 ED              390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
              Operations
May 2020      Business               05/30/20 ED              390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
              Operations
May 2020      Business               05/30/20 MR              390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
              Operations
May 2020      Claims                 05/14/20 ED              390 email correspondence with J. Rak and with accountant regarding comments and corrections             0.2 0.0019417         $0.76
              Administration                                      (.2).
              & Objections




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2020      Claims                 05/14/20 ED              390 Review drafts of February property accounting reports (1.1)                                           1.1 0.0106796         $4.17
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 review of March financial data to send to accountants for preparation of March property               0.3 0.0029126         $1.14
              Administration                                      accounting reports (.3).
              & Objections

May 2020      Claims                 05/18/20 ED              390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)             0.1 0.0009709         $0.38
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 and review of related documents (.2)                                                                  0.2 0.0019417         $0.76
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 Send February 2020 accounting reports to claimants' counsel (.8)                                      0.8    0.007767       $3.03
              Administration
              & Objections

May 2020      Claims                 05/18/20 ED              390 prepare analysis of restoration amounts from sold properties (.8)                                     0.8    0.007767       $3.03
              Administration
              & Objections

May 2020      Claims                 05/20/20 ED              390 call with accountant to discuss questions on process regarding monthly accounting reports             0.5 0.0048544         $1.89
              Administration                                      (.5)
              & Objections

May 2020      Claims                 05/20/20 ED              390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709         $0.38
              Administration                                      relating to sold properties (.1).
              & Objections

June 2020     Claims                 06/06/20 KBD             390 Attention to responses to claimants.                                                                  0.4 0.0363636        $14.18
              Administration
              & Objections

June 2020     Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                     0.1       0.004       $0.56
              Disposition
June 2020     Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004       $0.56
              Disposition
June 2020     Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797        $11.85
              Disposition                                         any receivership properties between 2018 and the present (2.4)




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
June 2020     Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,              3.2 0.0405063         $15.80
              Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020     Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                1.4 0.0177215          $6.91
              Disposition
June 2020     Asset                  06/08/20 JR              140 Review email from M. Rachlis related to restoration amounts of sold properties (.1)                  0.1     0.00625        $0.88
              Disposition
June 2020     Asset                  06/08/20 JR              140 review reports for various sold properties related to same and create a chart (.8)                   0.8         0.05       $7.00
              Disposition
June 2020     Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                         0.3       0.012        $1.68
              Disposition
June 2020     Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by               0.7 0.0067961          $2.65
              Operations                                          receivership.
June 2020     Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting          1.9 0.0184466          $7.19
              Operations                                          reports (1.9)
June 2020     Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                             0.4 0.0038835          $1.51
              Operations
June 2020     Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related              1.0 0.0097087          $3.79
              Operations                                          documents and correspondence.
June 2020     Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                0.2 0.0019417          $0.76
              Operations                                          expenditures during March 2020.
June 2020     Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                   0.2 0.0019417          $0.76
              Operations                                          correspondence with B. Fish regarding same.
June 2020     Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835          $1.51
              Operations
June 2020     Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961          $2.65
              Operations
June 2020     Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                            0.5 0.0048544          $1.89
              Operations
June 2020     Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting              0.6 0.0058252          $2.27
              Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                  unsold properties (.6)
June 2020     Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                           0.1 0.0009709          $0.38
              Operations
June 2020     Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)           0.2 0.0019417          $0.76
              Operations
June 2020     Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                0.4 0.0222222          $5.78
              Administration                                      properties with no institutional debt (.4).
              & Objections

July 2020     Asset                  07/07/20 KBD             390 exchange correspondence with K. Pritchard regarding post-sale reconciliation funds (2909 E           0.1          0.1      $39.00
              Disposition                                         78th) (.1)
July 2020     Asset                  07/07/20 KBD             390 review notice to claimants of property sales and correspondence regarding same (.2)                  0.2 0.0333333         $13.00
              Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
July 2020     Asset                  07/08/20 KBD             390 draft correspondence to J. Rak and K. Pritchard regarding sold properties (.2).                          0.2      0.0125        $4.88
              Disposition
July 2020     Asset                  07/26/20 KBD             390 exchange correspondence with J. Rak regarding sold properties (.1).                                      0.1     0.00625        $2.44
              Disposition
July 2020     Business               07/02/20 KBD             390 review analysis of property expenses (.2)                                                                0.2 0.0285714         $11.14
              Operations
July 2020     Business               07/22/20 KBD             390 exchange correspondence with E. Duff regarding property manager financial reporting (.2).                0.2       0.025        $9.75
              Operations
July 2020     Business               07/22/20 KBD             390 exchange correspondence with J. Wine regarding various housing court matters (.2)                        0.2       0.025        $9.75
              Operations
July 2020     Claims                 07/06/20 KBD             390 Work on response to claimants.                                                                           0.3         0.06      $23.40
              Administration
              & Objections

July 2020     Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                  1.3 0.0126214          $1.77
              Disposition
July 2020     Asset                  07/14/20 AEP             390 review first half of administrative and housing court litigation folders for accuracy and                0.9 0.0230769          $9.00
              Disposition                                         completeness in connection with final reconciliation and payment of municipal judgments
                                                                  (.9).
July 2020     Asset                  07/16/20 AEP             390 continue reviewing and organizing all administrative judgments in preparation for resolution             0.5 0.0128205          $5.00
              Disposition                                         of all outstanding notices of violation and fines levied by City of Chicago (.5).

July 2020     Asset                  07/18/20 AEP             390 finalize inventory and reorganization of all pleadings and orders relating to administrative             1.7 0.0435897         $17.00
              Disposition                                         and housing court proceedings on EquityBuild properties in preparation for completion of
                                                                  spreadsheet of judgments and submission to corporation counsel for potentially final
                                                                  reconciliation of all recorded and unrecorded judgments and pending proceedings against
                                                                  receivership properties, both current and former (1.7).

July 2020     Asset                  07/20/20 AEP             390 continue reviewing, inventorying, and recording all administrative orders associated with                1.8 0.0461538         $18.00
              Disposition                                         receivership properties in connection with effort to achieve full and final accord with City of
                                                                  Chicago prior to final liquidation of receivership portfolio (1.8)

July 2020     Asset                  07/26/20 AEP             390 continue reviewing and inventorying all municipal and housing court violations associated                2.5 0.0641026         $25.00
              Disposition                                         with receivership properties and completion of spreadsheet of outstanding judgments (2.5).

July 2020     Asset                  07/27/20 AEP             390 Finalize review, analysis, and inventory of all municipal administrative and housing court               3.7 0.0948718         $37.00
              Disposition                                         violation orders, finalize spreadsheet, divide spreadsheet into properties still owned and
                                                                  properties sold, judgments paid and unpaid, cases for which outcomes are unknown, and
                                                                  cases with paid judgments, and transmit same to corporation counsel with request for final
                                                                  reconciliation of account balances to ensure clearance of all title exceptions prior to closing
                                                                  of final sales tranche (3.7)
July 2020     Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                          0.1 0.0027778          $0.39
              Disposition


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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2020     Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223         $14.01
              Operations
July 2020     Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835          $1.51
              Operations
July 2020     Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417          $0.76
              Operations
July 2020     Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835          $1.51
              Operations
July 2020     Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252          $2.27
              Operations                                          documentation of March property income and expense (.6)
July 2020     Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961          $2.65
              Operations                                          correspondence to lenders' counsel (.7).
July 2020     Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126          $1.14
              Operations                                          accounting report drafts (.3)
July 2020     Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767        $1.09
              Operations                                          Duff regarding same (.8).
July 2020     Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767        $1.09
              Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                  institutional debt, and have been sold (.8)
July 2020     Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294          $3.29
              Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020     Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417          $0.27
              Operations
July 2020     Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709          $0.38
              Operations
July 2020     Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126          $0.41
              Operations                                          benefit of other properties (.3).
July 2020     Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126          $0.41
              Operations                                          (.3)
July 2020     Business               07/22/20 JRW             260 Email exchanges with city attorneys regarding entry of orders on matters scheduled for July            1.1         0.11      $28.60
              Operations                                          23 hearing (7300-04 S St Lawrence, 8107-09 S Ellis, 7237- 43 S Bennett, 6749-59 S. Merrill,
                                                                  638-40 N. Avers, 7201 S Constance, 7600 S. Kingston, 7110 S Cornell, 6217-27 S Dorchester
                                                                  and 2909-19 E 78th) and related research and updating of records (1.1)

July 2020     Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223          $5.03
              Operations                                          management relating to all income and loss statements (3.7).
July 2020     Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252          $0.82
              Operations
July 2020     Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544          $0.68
              Operations                                          information related to discrepancies discovered in reports (.5).
July 2020     Business               07/27/20 KMP             140 Continue review of property manager's reports.                                                         1.8 0.0461538          $6.46
              Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2020     Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                 0.8    0.007767       $3.03
              Operations                                          preparation of April accounting reports.
July 2020     Business               07/29/20 KMP             140 review and analysis of property manager's invoices (1.8).                                               1.8 0.0461538         $6.46
              Operations
July 2020     Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                          0.1 0.0009709         $0.38
              Operations
July 2020     Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                          0.2 0.0019417         $0.76
              Operations
July 2020     Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                      0.2 0.0019417         $0.76
              Operations
July 2020     Claims                 07/01/20 JR              140 Review March property financial documents.                                                              2.4    0.023301       $3.26
              Administration
              & Objections

July 2020     Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding           0.2 0.0019417         $0.76
              Administration                                      remaining reimbursable amounts by property (.2).
              & Objections

July 2020     Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                 0.4 0.0038835         $1.51
              Administration                                      counsel (.4)
              & Objections

July 2020     Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                               1.7 0.0165049         $6.44
              Administration
              & Objections

July 2020     Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).             0.6 0.0058252         $2.27
              Administration
              & Objections

August 2020 Asset                    08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Business                 08/03/20 KMP             140 Review and analysis of property expenses (2.4)                                                          2.4 0.0615385         $8.62
            Operations
August 2020 Business                 08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                            (.4)
August 2020 Business                 08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                            accounting reports (1.9)
August 2020 Business                 08/04/20 KMP             140 Continue review and analysis of property expenses.                                                      3.7 0.0948718        $13.28
            Operations
August 2020 Business                 08/05/20 KMP             140 Continue review and analysis of property expenses.                                                      4.1 0.1051282        $14.72
            Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
August 2020 Business                 08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with              0.8    0.007767        $1.09
            Operations                                            addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                  need to be supplemented (.8)
August 2020 Business                 08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                             1.6 0.0152381          $5.94
            Operations
August 2020 Business                 08/06/20 KMP             140 Continue review and analysis of property expenses.                                                   4.6 0.1179487         $16.51
            Operations
August 2020 Business                 08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                              0.1 0.0009709          $0.38
            Operations
August 2020 Business                 08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020            0.3 0.0029126          $1.14
            Operations                                            accounting reports (.3)
August 2020 Business                 08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                0.3 0.0029126          $1.14
            Operations                                            accountant for preparation of May accounting reports (.3)
August 2020 Business                 08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835          $1.51
            Operations                                            regarding details and backup for information to include in May accounting reports to
                                                                  lenders.
September     Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455          $1.77
2020          Disposition
September     Asset                  09/01/20 JR              140 perform search regarding same and draft a spreadsheet regarding same (1.5)                           1.5       0.375       $52.50
2020          Disposition
September     Asset                  09/01/20 JR              140 follow up correspondence with A. Watychowicz regarding request to provide property                   0.2         0.05       $7.00
2020          Disposition                                         information and motions filed related to lender objections (.2)
September     Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417          $0.76
2020          Operations                                          preparation of May accounting reports (.2)
September     Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126          $1.14
2020          Operations                                          regarding same (.3)
September     Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417          $0.76
2020          Operations                                          property managers needed for preparation of May accounting reports (.2)
September     Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126          $1.14
2020          Operations                                          financial reporting information for May 2020.
September     Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505          $4.54
2020          Operations                                          (1.2)
September     Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417          $0.76
2020          Operations
September     Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417          $0.27
2020          Operations                                          (.2).
September     Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505          $4.54
2020          Operations
October       Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571          $1.11
2020          Operations
October       Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571          $1.11
2020          Operations




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
October       Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388         $4.49
2020          Disposition
October       Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379         $1.22
2020          Disposition
October       Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455         $0.64
2020          Disposition
October       Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544         $0.68
2020          Disposition                                         information (.5)
October       Business               10/02/20 ED              390 review of J. Rak comments identifying discrepancies in certain draft reports and consult             0.8 0.0421053        $16.42
2020          Operations                                          underlying financial records and correspondence (.8)
October       Business               10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016       $6.24
2020          Operations
October       Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417         $0.76
2020          Operations
October       Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379         $3.41
2020          Operations
October       Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709         $0.38
2020          Operations
October       Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126         $1.14
2020          Operations                                          requiring revision (.3).
October       Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709         $0.38
2020          Operations
October       Business               10/07/20 ED              390 final review of May reports (1.0).                                                                   1.0 0.0097087         $3.79
2020          Operations
October       Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767       $3.03
2020          Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                  reimbursable amounts by properties. (.2)
October       Business               10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020          Operations                                          reports (.5).
October       Business               10/08/20 ED              390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024       $9.36
2020          Operations
October       Business               10/08/20 ED              390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020          Operations                                          of May 31, 2020 (1.5)
October       Business               10/09/20 AW              140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020          Operations                                          regarding reports.
October       Business               10/09/20 ED              390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020          Operations
October       Business               10/09/20 ED              390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020          Operations                                          amounts (.2) organize financial data for use in preparing accounting reports (.3).

October       Business               10/13/20 ED              390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016       $6.24
2020          Operations




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
October       Business               10/13/20 ED              390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020          Operations
October       Business               10/20/20 ED              390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020          Operations                                          restoration and future reporting from receivership, including attachments describing funds
                                                                  transfers and confer with K. Duff regarding same (.8)
October       Business               10/20/20 ED              390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020          Operations                                          approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                                  Properties (.7).
October       Business               10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020          Operations                                          accounting reports (.3)
October       Business               10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020          Operations                                          property manager (.2)
October       Business               10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020          Operations                                          updating financial reporting to lenders and for use in management of portfolio by Receiver.

October       Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020          Operations                                          property financial reporting (.2).
October       Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020          Operations
October       Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020          Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                  reimbursed from proceeds of property sales (1.3)
October       Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020          Operations                                          reports, and review of related financial information.
November      Business               11/04/20 KBD             390 Exchange correspondence with K. Pritchard regarding property manager records.                        0.2 0.0051282         $2.00
2020          Operations
November      Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022       $3.08
2020          Disposition
November      Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868         $0.26
2020          Disposition
November      Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020          Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                  through September 2020 (.7)
November      Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020          Operations
November      Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020          Operations
November      Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020          Operations                                          property reports (.3)
November      Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020          Operations                                          correspondence with accountants and property manager regarding same (.4)




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  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
November      Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020          Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November      Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020          Operations                                          needed for preparation of June reporting.
November      Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020          Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November      Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020          Operations                                          reports, and steps to begin preparation of July reports (.3)
November      Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020          Operations                                          reporting information required for preparation of July property reports.

November      Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020          Operations                                          accounting reports and preparation of draft August reports (.3).
December      Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172          $2.17
2020          Disposition                                         discrepancy (.9)
December      Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241          $0.24
2020          Disposition                                         (.1)
December      Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020          Operations
December      Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020          Operations                                          accounting reports and preparation of draft September reports (.1).
December      Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020          Operations                                          related financial reporting from property managers (2.1).
December      Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020          Operations
December      Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020          Operations                                          preparation of September property accounting reports (.1)
December      Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020          Operations                                          property managers (2.6).
December      Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020          Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)

December      Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020          Operations
December      Business               12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020          Operations                                          properties (.9).
December      Business               12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020          Operations                                          changes (.4)
December      Business               12/18/20 ED              390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020          Operations




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2909-19 E 78th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                   Hours        Fees
December      Business               12/28/20 ED              390 Email correspondence with accountant and insurance agent regarding updates to schedule            0.4 0.0038095         $1.49
2020          Operations                                          of insurable values based on property sales, refunds and adjustments to premium finance
                                                                  agreements, and updates to schedule of properties.
December      Business               12/29/20 ED              390 Email correspondence with insurance agent and accountant regarding adjustment of                  0.2 0.0019048         $0.74
2020          Operations                                          premium finance agreement payments to reflect sold properties, and timing of refunds
                                                                  relating to same.
January       Business               01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                  0.2 0.0019048         $0.74
2021          Operations
January       Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property          0.2 0.0019048         $0.74
2021          Operations                                          expenses.
January       Claims                 01/13/21 KBD             390 review information regarding claimant's claims (7442-54 S Calumet Avenue, 7600-10 S               0.1 0.0166667         $6.50
2021          Administration                                      Kingston Avenue, 8326-32 S Ellis Avenue, CCF2) (.1).
              & Objections

January       Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                0.1 0.0009524         $0.37
2021          Administration                                      relating to accounting reports (.1).
              & Objections

January       Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase           2.2 0.0203704         $2.85
2021          Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January       Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                      0.1 0.0009524         $0.37
2021          Operations
January       Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)              0.5 0.0047619         $1.86
2021          Operations
January       Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                    0.3 0.0028571         $1.11
2021          Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January       Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond             0.1 0.0009524         $0.13
2021          Operations                                          accordingly regarding status review of same (.1)
January       Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                  4.1 0.0390476         $5.47
2021          Operations
January       Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October            0.2 0.0019048         $0.27
2021          Operations                                          and November 2020 and forward same to her.
January       Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                   1.9 0.0180952         $7.06
2021          Operations
January       Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per              1.3    0.012381       $4.83
2021          Operations                                          property (1.3).
January       Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                      2.4 0.0228571         $3.20
2021          Operations
January       Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                  0.1 0.0009524         $0.13
2021          Operations                                          reporting (.1).




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
January       Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              3.4    0.032381      $12.63
2021          Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January       Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              0.9 0.0085714         $3.34
2021          Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January       Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and              0.6 0.0057143         $2.23
2021          Operations                                          corrections necessary.
January       Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571         $1.11
2021          Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                  documents.
January       Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property             0.2 0.0033333         $0.47
2021          Operations                                          report (.2)
January       Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021          Operations
January       Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021          Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January       Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021          Operations                                          (.3).
January       Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021          Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                  with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January       Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021          Operations
January       Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021          Operations                                          prepare same as per E. Duff's request.
January       Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021          Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                  insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                  property sales (.5)
January       Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021          Operations                                          properties (.6)
January       Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021          Operations                                          and effect on data presented in September accounting reports (.4)

January       Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021          Operations
January       Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021          Operations                                          updates (.8)




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  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
January       Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905          $6.31
2021          Operations                                          reports (1.7)
January       Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905          $6.31
2021          Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                  email correspondence with accountants and J. Rak (.4).

January       Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095          $0.53
2021          Operations
January       Claims                 01/07/21 JR              140 telephone call with J. Wine regarding claim updates (7500-06 S Eggleston Avenue, 3030-32 E           0.2 0.0285714          $4.00
2021          Administration                                      79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-
              & Objections                                        55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January       Claims                 01/07/21 JR              140 Review proof of claims and update mortgagee claim information for properties (7500-06 S              5.9 0.8428571        $118.00
2021          Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
              & Objections                                        7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.9)

January       Claims                 01/11/21 JR              140 Work with J. Wine regarding review of claimant forms (7500-06 S Eggleston Avenue, 3030-32            1.6 0.2285714         $32.00
2021          Administration                                      E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
              & Objections                                        8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/15/21 JR              140 Review proof of claims (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S                 2.8          0.4      $56.00
2021          Administration                                      Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
              & Objections                                        Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/18/21 JR              140 further correspondence with J. Wine relating to claims and resolution of several questions           0.3 0.0428571          $6.00
2021          Administration                                      and issues (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue,
              & Objections                                        2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex
                                                                  Avenue) (.3).
January       Claims                 01/18/21 JR              140 Review email from J. Wine and notes regarding proof of claim forms and exchange                      0.4 0.0571429          $8.00
2021          Administration                                      correspondence regarding same (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-
              & Objections                                        09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                  Avenue, 7947-49 S Essex Avenue) (.4)
January       Claims                 01/18/21 JR              140 review proof of claim forms and update claims review spreadsheet (7500-06 S Eggleston                5.4 0.7714286        $108.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.4)

January       Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143          $0.80
2021          Administration                                      lenders.
              & Objections




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
January       Claims                 01/20/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              6.6 0.9428571        $132.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/21/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              4.6 0.6571429         $92.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/22/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              1.5 0.2142857         $30.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.5)

January       Claims                 01/22/21 JR              140 exchange correspondence with S. Zjalic and J. Wine regarding same (7500-06 S Eggleston                 0.2 0.0285714          $4.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January       Claims                 01/25/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              4.8 0.6857143         $96.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (4.8).

January       Claims                 01/25/21 SZ              110 Reviewed claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59 S Essex             4.6 1.5333333        $168.67
2021          Administration                                      Avenue, 8047-55 S Manistee Avenue).
              & Objections

January       Claims                 01/26/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              4.2          0.6      $84.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/26/21 SZ              110 Continued to review claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59          3.1 1.0333333        $113.67
2021          Administration                                      S Essex Avenue, 8047-55 S Manistee Avenue).
              & Objections

January       Claims                 01/27/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              5.1 0.7285714        $102.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January       Claims                 01/28/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              5.6          0.8     $112.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January       Claims                 01/28/21 SZ              110 Continued to review claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59          3.2 1.0666667       $117.33
2021          Administration                                      S Essex Avenue, 8047-55 S Manistee Avenue).
              & Objections

January       Claims                 01/29/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              6.7 0.9571429       $134.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February      Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                0.4 0.0036697         $0.51
2021          Disposition                                         and status of same (.4)
February      Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)            0.7 0.0118644         $4.63
2021          Operations
February      Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional               0.4 0.0067797         $2.64
2021          Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                  December 31, 2020 (.4)
February      Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation              0.2 0.0019048         $0.74
2021          Operations                                          of October 2020 accounting reports.
February      Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,                3.2 0.0304762         $4.27
2021          Operations                                          November and December and produce same in preparation for review.
February      Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                  1.1 0.0104762         $4.09
2021          Operations
February      Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                              0.2 0.0019048         $0.27
2021          Operations
February      Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                    3.6 0.0342857         $4.80
2021          Operations
February      Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial              0.3 0.0028571         $0.40
2021          Operations                                          reporting.
February      Claims                 02/01/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              1.2 0.1714286        $24.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February      Claims                 02/15/21 JR              140 Review EBF mortgagee list and update with claim amounts from proof of claims applications              2.4 0.3428571        $48.00
2021          Administration                                      (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E
              & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue)
                                                                  (2.4)
February      Claims                 02/15/21 JR              140 review emails from S. Zjalic regarding EBF mortgagee claim amounts (7500-06 S Eggleston                0.2 0.0285714         $4.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

February      Claims                 02/16/21 JR              140 Review EB Mortgagee lists and update proof of claims loan amounts (7500-06 S Eggleston                 1.6 0.2285714        $32.00
2021          Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
              & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.6)




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2909-19 E 78th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
March 2021 Business                  03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                  03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                  03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                  03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                  03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                             properties and produce same.
March 2021 Business                  03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                    03/03/21 JRW             260 Study notes regarding claims against funds (CCF1 and CCF2) (.3)                                     0.3         0.05      $13.00
           Administration
           & Objections

March 2021 Claims                    03/05/21 JR              140 update and provide requested content related to the claims distribution project (7500-06 S          1.2 0.1714286         $24.00
           Administration                                         Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
           & Objections                                           7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.2).

March 2021 Claims                    03/05/21 JR              140 Review email from J. Wine and further exchange correspondence with J. Wine related to the           0.5 0.0714286         $10.00
           Administration                                         claims distribution project (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S
           & Objections                                           Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                  Avenue, 7947-49 S Essex Avenue) (.5)
April 2021    Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714          $1.20
              Disposition
April 2021    Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524          $0.13
              Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021    Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524          $0.13
              Disposition                                         payment of same (see D) (.1)
April 2021    Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571          $0.40
              Disposition                                         reconciliation amounts (see D) (.3)
April 2021    Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333          $1.87
              Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021    Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619          $0.67
              Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021    Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873          $0.22
              Disposition                                         (.1)
April 2021    Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125        $0.44
              Disposition                                         (.2)
April 2021    Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524          $0.13
              Operations                                          respond accordingly (.1)


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2909-19 E 78th Street                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2021    Business               04/07/21 JR              140 review November property financial reports (1.5).                                                     1.5 0.0142857         $2.00
              Operations
April 2021    Business               04/09/21 JR              140 Review property financial reports.                                                                    3.2 0.0304762         $4.27
              Operations
May 2021      Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                      1.3    0.012381       $1.73
              Operations
June 2021     Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent               0.5 0.0047619         $1.86
              Operations                                          and forward to accountant for use in preparation of reports (.5)
July 2021     Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                  0.2 0.0018868         $0.26
              Disposition                                         regarding closed properties status (see D) (.2)
July 2021     Business               07/06/21 SZ              110 Cross-referenced property manager's expense ledger against invoices for duplicate                     1.6 0.0410256         $4.51
              Operations                                          transactions (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex
                                                                  Avenue, 7937-39 S Essex Avenue, 7943- 45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S
                                                                  Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E
                                                                  78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-
                                                                  48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue,
                                                                  8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                  Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,
                                                                  7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59
                                                                  S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S
                                                                  Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                  Dorchester Avenue, 4315- 19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                  Kingston Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn
                                                                  Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett
                                                                  Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).




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2909-19 E 78th Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2021     Business               07/12/21 KMP             140 telephone conferences with S. Zjalic regarding preparation of exhibits comprising invoices              0.3 0.0076923         $1.08
              Operations                                          from property managers for expenses, and review related documentation (6160-6212 S
                                                                  Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex
                                                                  Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-
                                                                  05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex
                                                                  Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32
                                                                  S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S
                                                                  Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue,
                                                                  8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59
                                                                  S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 6356 S California
                                                                  Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                  Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                                  Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-
                                                                  19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                  6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                                  Avenue) (.3)


July 2021     Business               07/12/21 SZ              110 Continued to review property manager's repair expenses in order to populate exhibits list for           2.0 0.0512821         $5.64
              Operations                                          Third Restoration Motion and related email exchange and phone communication with K.
                                                                  Pritchard (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex
                                                                  Avenue, 7937-39 S Essex Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S
                                                                  Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E
                                                                  78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-
                                                                  48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue,
                                                                  8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                  Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,
                                                                  7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59
                                                                  S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S
                                                                  Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                                  Dorchester Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                  Kingston Avenue, 6250 S Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn
                                                                  Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett
                                                                  Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).


September Claims                     09/08/21 KBD             390 study correspondence and legal research regarding claims analysis (7500-06 S Eggleston                  0.4 0.0666667        $26.00
2021      Administration                                          Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S
          & Objections                                            Manistee Avenue, 7927-29 S Essex Avenue) (.4).




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2909-19 E 78th Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours         Fees
September Asset                      09/30/21 KMP         140 Review property accounts and update spreadsheet relating to property manager's deposits                  1.3 0.0333333          $4.67
2021      Disposition                                         of post-sale reconciliation funds and related communications with J. Rak (6160-6212 S
                                                              Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex
                                                              Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-
                                                              05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex
                                                              Avenue, 701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32
                                                              S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S
                                                              Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue,
                                                              8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59
                                                              S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue, 6356 S California
                                                              Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon
                                                              Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                              Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-
                                                              19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid
                                                              Avenue).


September Claims                     09/08/21 AEP         390 Legal research and communication of findings to K. Duff and J. Wine in connection with                   1.7 0.2833333        $110.50
2021      Administration                                      analysis of claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                        Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                     09/08/21 JRW         260 legal research and related correspondence with A. Porter regarding analysis of findings (7301-           1.8          0.3      $78.00
2021      Administration                                      09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th
          & Objections                                        Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)

September Claims                     09/10/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes           0.7 0.1166667         $45.50
2021      Administration                                      and legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                        Street, 2909-19 E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                     09/10/21 JRW         260 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds               0.7 0.1166667         $30.33
2021      Administration                                      (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E
          & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)

September Claims                     09/10/21 JRW         260 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S               0.4 0.0666667         $17.33
2021      Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
          & Objections                                        8047-55 S Manistee Avenue) (.4)

September Claims                     09/10/21 MR          390 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S          0.7 0.1166667         $45.50
2021      Administration                                      Stewart Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street,
          & Objections                                        7549-59 S Essex Avenue, 8047- 55 S Manistee Avenue).




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                                7549-59 S Essex Avenue
General Allocation % (Pre 01/29/21):                                                 1.4765573%
General Allocation % (01/29/21 Onward, Claims Only):                            1.5866627425%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     14       7549-59 S Essex Avenue                                                       58.71      $             15,888.74                         119.95     $            31,905.63             178.66     $             47,794.37
                 Asset Disposition [4]                                                        3.11    $                 1,016.71                         92.11   $             25,247.86               95.22   $              26,264.57
                 Business Operations [5]                                                      3.12    $                  938.56                          10.37   $               3,406.83              13.49   $                  4,345.39
                 Claims Administration & Objections [6]                                     52.48     $              13,933.47                           17.47   $               3,250.94              69.95   $              17,184.41




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7549-59 S Essex Avenue                                                    EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   119.95
Specific Allocation Fees:         $       31,905.63



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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7549-59 S Essex Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                   2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)           0.2 0.0029412         $1.15
            Administration
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference               0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                    0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related           0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                       0.1 0.0009346         $0.36
2018         Disposition


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  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                             0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential               0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market               0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).          0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                   0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)              0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding               0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                0.1 0.0014706         $0.57
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft              0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                            0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management            0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                  0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding            0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                  0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                          0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding               0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                               0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                   0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                        2.5 0.0233645         $9.11
2018         Operations


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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.


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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                  0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of          0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                  0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                 0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                  0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                     0.1 0.0009434         $0.25
2018         Operations
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of             0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                     3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio           2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                    1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                  0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                              0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                              2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                      0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                     0.2 0.0018692         $0.73
2018         Disposition


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  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                     0.9 0.0084112          $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112          $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421          $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729          $1.82
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037          $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187          $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692          $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766          $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075          $2.19
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262          $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/24/18 KBD         390 Draft correspondence to A. Porter and M. Rachlis regarding motion to approve public sale            0.2 0.0333333         $13.00
2018         Disposition                                     (.2)
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346          $0.36
2018         Disposition
October      Asset                  10/29/18 KBD         390 study draft motion for approval of sealed bid process and correspondence from M. Rachlis            0.4 0.0666667         $26.00
2018         Disposition                                     regarding same (.4)
October      Asset                  10/30/18 KBD         390 Review correspondence from A. Porter regarding publication of sale notice.                          0.1 0.0166667          $6.50
2018         Disposition
October      Asset                  10/31/18 KBD         390 study draft motion to sell properties (.3).                                                         0.3         0.05      $19.50
2018         Disposition
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692          $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434          $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736          $1.47
2018         Operations                                      property managers (.4)


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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)               0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)              0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                  2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage               3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                            3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                   0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                             0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.          3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax              0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential           1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                             0.5 0.0046729         $1.82
2018         Disposition




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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766          $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729          $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187          $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495          $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607          $8.02
2018         Disposition
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075          $2.19
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495          $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037          $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037          $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346          $0.13
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346          $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262          $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881          $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916          $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925          $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925          $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346          $0.13
2018         Disposition
October      Asset                  10/19/18 NM          260 Conference call with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff                0.8 0.1333333         $34.67
2018         Disposition                                     regarding distribution plan and immediate sale of certain properties.
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                    2.1 0.0196262          $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Asset                  10/22/18 AW          140 prepare template draft of motion allowing sale of assets and email M. Rachlis regarding                0.3         0.05       $7.00
2018         Disposition                                     same (.3).
October      Asset                  10/22/18 AW          140 Attention to email from K. Duff regarding information about potential buyers and                       0.1 0.0166667          $2.33
2018         Disposition                                     communicate with A. Porter regarding same (.1)


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  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
October      Asset                  10/22/18 NM          260 Telephone conference with real estate broker and K. Duff, M. Rachlis, A. Porter, and E. Duff             1.5         0.25      $65.00
2018         Disposition                                     regarding distribution plan and immediate sale of certain properties and correspond with K.
                                                             Duff, M. Rachlis, and E. Duff regarding same.
October      Asset                  10/26/18 MR          390 work on other draft motions on public sale (1.0).                                                        1.0 0.1666667         $65.00
2018         Disposition
October      Asset                  10/31/18 MR          390 Attention to sealed bid motions (.9)                                                                     0.9         0.15      $58.50
2018         Disposition
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,                 2.0 0.0186916          $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                                   0.1 0.0009346          $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                       0.1 0.0009346          $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                          0.1 0.0014925          $0.21
2018         Operations
October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                            0.5 0.0046729          $1.82
2018         Administration
             & Objections

November     Asset                  11/01/18 KBD         390 study further revised public sale procedures (.3).                                                       0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/01/18 KBD         390 analysis of and exchange correspondence with broker regarding criteria for purchasers and                0.3         0.05      $19.50
2018         Disposition                                     due diligence (.3)
November     Asset                  11/01/18 KBD         390 study and revise public sale procedures and review correspondence from A Porter regarding                0.5 0.0833333         $32.50
2018         Disposition                                     same (.5)
November     Asset                  11/07/18 KBD         390 draft correspondence to M. Rachlis regarding motion for sale of property (.1)                            0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/07/18 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale procedures (.1)                     0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/07/18 KBD         390 study revised sale procedures (.1)                                                                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/08/18 KBD         390 study updated property sale procedures (.2).                                                             0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/09/18 KBD         390 Study draft motion for public sale, motion to file liquidation plan under seal, and liquidation          2.5 0.1388889         $54.17
2018         Disposition                                     plan (2.5)
November     Asset                  11/09/18 KBD         390 study revisions and comments from M. Rachlis (.3).                                                       0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/11/18 KBD         390 Study revised motion to improve public sale procedures and motion for leave to file redacted             0.8 0.1333333         $52.00
2018         Disposition                                     liquidation plans (.8)
November     Asset                  11/12/18 KBD         390 study revised motion to approve sale of properties and correspondence regarding same (.3)                0.3         0.05      $19.50
2018         Disposition




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  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November     Asset                  11/12/18 KBD         390 telephone conference and exchange correspondence with broker regarding properties for                0.4 0.0666667         $26.00
2018         Disposition                                     sale, associated debt, listing prices, and former EquityBuild broker (.4)

November     Asset                  11/12/18 KBD         390 exchange correspondence with broker regarding potential listing prices (.2)                          0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/12/18 KBD         390 study revised bid procedures and correspondence from M. Rachlis and N. Mirjanich                     0.2 0.0333333         $13.00
2018         Disposition                                     regarding same (.2)
November     Asset                  11/12/18 KBD         390 review correspondence regarding closing statement for tranche of properties (.3).                    0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/13/18 KBD         390 office conference with M. Rachlis regarding lender's objection to motion to approve sale             0.3         0.05      $19.50
2018         Disposition                                     procedures and liquidation plan (.3).
November     Asset                  11/14/18 KBD         390 study lender objection to sealed bid process (.2)                                                    0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/14/18 KBD         390 study correspondence from M. Rachlis and broker regarding same (.1)                                  0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/14/18 KBD         390 study correspondence from broker regarding marketing process, and consideration and                  0.3         0.05      $19.50
2018         Disposition                                     approval of same (.3)
November     Asset                  11/14/18 KBD         390 study draft offering memoranda and correspondence from broker (.4)                                   0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/15/18 KBD         390 study offering memoranda (.3)                                                                        0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/15/18 KBD         390 study correspondence from broker regarding listing plan, contingencies, due diligence, and           0.2 0.0333333         $13.00
2018         Disposition                                     various sale process issues (.2).
November     Asset                  11/16/18 KBD         390 draft correspondence to real estate broker regarding publication of property listings (.1).          0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/20/18 KBD         390 office conference with N. Mirjanich regarding public notices for sale and study                      0.2 0.0333333         $13.00
2018         Disposition                                     correspondence from M. Rachlis and A. Porter regarding same (.2)
November     Asset                  11/21/18 KBD         390 Telephone conferences with real estate broker regarding public sale procedures and notice            0.8 0.1333333         $52.00
2018         Disposition                                     (.8)
November     Asset                  11/21/18 KBD         390 study order approving public sale process and correspondence from M. Rachlis regarding               0.1 0.0166667          $6.50
2018         Disposition                                     same (.1).
November     Asset                  11/21/18 KBD         390 draft correspondence to A. Porter regarding corporate entity ownership and real estate               0.3         0.05      $19.50
2018         Disposition                                     property sales (.3)
November     Asset                  11/21/18 KBD         390 office conferences with M. Rachlis and N. Mirjanich regarding same (.4)                              0.4 0.0666667         $26.00
2018         Disposition
November     Asset                  11/21/18 KBD         390 study revised draft notice of public sale and correspondence from A. Porter and real estate          0.2 0.0333333         $13.00
2018         Disposition                                     broker regarding same (.2)
November     Asset                  11/21/18 KBD         390 study information regarding sale notice publication costs (.1)                                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/26/18 KBD         390 study correspondence regarding cost of publication notice and alternatives (.3).                     0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 telephone conference with and study correspondence from real estate broker regarding                 0.2 0.0333333         $13.00
2018         Disposition                                     marketing planning and timing (.2)


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  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
November     Asset                  11/27/18 KBD         390 Exchange correspondence with N. Mirjanich and publications representatives regarding               0.4 0.0666667         $26.00
2018         Disposition                                     publication notice and cost (.4)
November     Asset                  11/27/18 KBD         390 telephone conference with A. Porter regarding same (.1)                                            0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 draft correspondence to A. Porter regarding purchase and sale agreement (.1)                       0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/27/18 KBD         390 telephone conference with SEC regarding publication notice cost (.1)                               0.1 0.0166667          $6.50
2018         Disposition
November     Asset                  11/29/18 KBD         390 exchange correspondence with potential purchasers regarding same (.2)                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/29/18 KBD         390 office conference with M. Rachlis regarding property sales and potential proceeds (.2)             0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/29/18 KBD         390 Telephone conference with broker representatives regarding properties listed for sale and          0.3         0.05      $19.50
2018         Disposition                                     purchase interest (.3)
November     Asset                  11/29/18 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding potential purchasers and           0.2 0.0333333         $13.00
2018         Disposition                                     meeting with real estate broker (.2).
November     Asset                  11/30/18 KBD         390 review correspondence from A. Porter regarding purchase and sale agreement (.1)                    0.1 0.0166667          $6.50
2018         Disposition
November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                     0.6 0.0088235          $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                 0.4 0.0058824          $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial            0.1 0.0009346          $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to              0.2 0.0029851          $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                    0.1 0.0014925          $0.58
2018         Administration
             & Objections

November     Asset                  11/02/18 MR          390 Attention to sealed bid related issues.                                                            0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/07/18 MR          390 work and review materials regarding sale process (1.1).                                            1.1 0.1833333         $71.50
2018         Disposition
November     Asset                  11/07/18 NM          260 correspond with K. Duff and M. Rachlis (1.0)                                                       1.0 0.1666667         $43.33
2018         Disposition
November     Asset                  11/07/18 NM          260 draft and review motion for court approval for public sale process (2.2)                           2.2 0.3666667         $95.33
2018         Disposition
November     Asset                  11/07/18 NM          260 study and respond to email correspondence relating to the sales process motion and the             0.4 0.0666667         $17.33
2018         Disposition                                     liquidation plan (.4).




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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
November     Asset                  11/08/18 NM          260 Draft and revise motion to approve public sale process (1.2)                                           1.2          0.2      $52.00
2018         Disposition
November     Asset                  11/09/18 MR          390 review draft of motion on sales process and rules for same (1.0).                                      1.0 0.1666667         $65.00
2018         Disposition
November     Asset                  11/12/18 AW          140 communicate with N. Mirjanich regarding filing of motion for in camera review (.1)                     0.1 0.0166667          $2.33
2018         Disposition
November     Asset                  11/12/18 AW          140 file approved motions (.4).                                                                            0.4 0.0666667          $9.33
2018         Disposition
November     Asset                  11/12/18 AW          140 proofread motion and exhibit, draft notice of motion and certificate of service, and email N.          0.7 0.1166667         $16.33
2018         Disposition                                     Mirjanich regarding revisions (.7)
November     Asset                  11/12/18 AW          140 Communicate with N. Mirjanich regarding filing of motion for public sale (.1)                          0.1 0.0166667          $2.33
2018         Disposition
November     Asset                  11/12/18 AW          140 proofread motion and draft notice of motion and certificate of service, and email N.                   0.3         0.05       $7.00
2018         Disposition                                     Mirjanich regarding revisions (.3)
November     Asset                  11/12/18 ED          390 Calls to counsel for lenders with mortgages on properties to be included in motion for                 0.4 0.0666667         $26.00
2018         Disposition                                     approval of public sale.
November     Asset                  11/12/18 MR          390 attention to sealed bid motion (.5).                                                                   0.5 0.0833333         $32.50
2018         Disposition
November     Asset                  11/14/18 AW          140 Attention to objections to Receiver's motions for public sale and for in camera review of              0.2 0.0333333          $4.67
2018         Disposition                                     liquidation plan.
November     Asset                  11/16/18 MR          390 Several conferences with broker regarding issues on sales related to upcoming hearing (.5)             0.5 0.0833333         $32.50
2018         Disposition
November     Asset                  11/20/18 NM          260 correspond with real estate broker, K. Duff, and A. Porter regarding public notice form and            1.8          0.3      $78.00
2018         Disposition                                     draft and circulate same (1.8).
November     Asset                  11/21/18 NM          260 telephone calls with newspaper publications and K. Duff regarding publication options and              0.7 0.1166667         $30.33
2018         Disposition                                     draft email to same to request quote regarding same (.7).
November     Asset                  11/21/18 NM          260 revise public notice document and correspond with K. Duff, M. Rachlis, real estate broker, A.          1.8          0.3      $78.00
2018         Disposition                                     Porter regarding same and regarding and regarding sale of corresponding 6 properties and
                                                             notice requirements (1.8)
November     Asset                  11/23/18 AEP         390 Research chain of corporate ownership for receivership entity (Chicago Capital Fund 2 LLC)             0.5 0.1666667         $65.00
2018         Disposition                                     and send all supporting documents to team.
November     Asset                  11/26/18 MR          390 conferences with N. Mirjanich regarding publication related issues (.3).                               0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/26/18 NM          260 Correspond with M. Rachlis, K. Duff and publication representative regarding publication of            0.2 0.0333333          $8.67
2018         Disposition                                     notice of sale of real estate (.2)
November     Asset                  11/27/18 ED          390 Confer with counsel to receiver regarding property sales.                                              0.2 0.0333333         $13.00
2018         Disposition
November     Asset                  11/27/18 MR          390 Attention to various issues regarding publication.                                                     0.3         0.05      $19.50
2018         Disposition
November     Asset                  11/27/18 NM          260 correspond with K. Duff, A. Porter, M. Rachlis, real estate broker, K. Pritchard, and                  1.3 0.2166667         $56.33
2018         Disposition                                     publications regarding publication of notice of real estate sale and email correspondence
                                                             relating to the same (1.3).




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  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November     Asset                  11/29/18 MR          390 conferences with K. Duff regarding sales process (1.2).                                              1.2          0.2      $78.00
2018         Disposition
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                   0.5 0.0046729          $1.82
2018         Operations
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                            0.3 0.0028037          $1.09
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and              0.2 0.0018692          $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/07/18 NM          260 correspond with K. Duff regarding motion toapprove public sale, liquidation plan, city               0.8 0.1333333         $34.67
2018         Operations                                      litigation and fines, motion to lift stay, and investor correspondence (.8).
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other               0.7 0.0065421          $2.55
2018         Operations                                      related issues (.7)
November     Business               11/15/18 MR          390 attention to upcoming hearing (.5).                                                                  0.5 0.0833333         $32.50
2018         Operations
November     Business               11/16/18 MR          390 Prepare for upcoming hearing including review of pleadings and attend hearing.                       3.3         0.55     $214.50
2018         Operations
November     Business               11/21/18 MR          390 Prepare for and participate in hearing and several conferences regarding same.                       2.4          0.4     $156.00
2018         Operations
November     Claims                 11/14/18 ED          390 Review objections of lenders to motion to approve process for public sale (.2)                       0.2 0.0333333         $13.00
2018         Administration
             & Objections

November     Claims                 11/15/18 ED          390 confer with counsel to Receiver regarding reply to lenders' objections to plan of sale(.2).          0.2 0.0333333         $13.00
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 attention to filings on payoff amounts (.3)                                                          0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 Conferences on receivership strategy and related issues (.3)                                         0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/19/18 MR          390 attention to order and upcoming hearing (.3).                                                        0.3         0.05      $19.50
2018         Administration
             & Objections

November     Claims                 11/20/18 MR          390 preparation for upcoming hearing including review of submissions from opposing counsel               1.5         0.25      $97.50
2018         Administration                                  (1.5)
             & Objections




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  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
November     Claims                 11/20/18 MR          390 attention to lender filing and review materials and related follow up and conferences on            1.0 0.1666667         $65.00
2018         Administration                                  same (1.0).
             & Objections

November     Claims                 11/26/18 MR          390 Follow up on lender's requests and email on same (.1)                                               0.1 0.0166667          $6.50
2018         Administration
             & Objections

December     Asset                  12/07/18 KBD         390 study correspondence from real estate broker regarding marketing efforts report and study           0.2 0.0333333         $13.00
2018         Disposition                                     same (.2).
December     Asset                  12/08/18 KBD         390 Study draft proposed purchase and sale contract.                                                    0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/10/18 KBD         390 study and revise draft purchase and sale agreement (.4)                                             0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/10/18 KBD         390 study correspondence from real estate broker regarding same (.1).                                   0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/12/18 KBD         390 Study and revise draft purchase and sale agreement and draft correspondence to A. Porter            0.8 0.1333333         $52.00
2018         Disposition                                     regarding same (.8)
December     Asset                  12/12/18 KBD         390 study property sale marketing information (.2)                                                      0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/14/18 KBD         390 Study model purchase and sale agreement and correspondence from A. Porter regarding                 0.3         0.05      $19.50
2018         Disposition                                     same.
December     Asset                  12/15/18 KBD         390 study marketing report for sale of properties (.2)                                                  0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/15/18 KBD         390 study purchase and sale agreements for properties listed for sale (.3).                             0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/15/18 KBD         390 Exchange correspondence with real estate broker and A Porter regarding purchase and sale            0.2 0.0333333         $13.00
2018         Disposition                                     agreement (.2)
December     Asset                  12/16/18 KBD         390 Study agreement for sale of properties (.2)                                                         0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/16/18 KBD         390 study marketing and market information relating to efforts to sell properties (.2).                 0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/17/18 KBD         390 office conferences with K. Pritchard regarding analysis of lender account relating to               0.2 0.0333333         $13.00
2018         Disposition                                     properties for sale (.2)
December     Asset                  12/17/18 KBD         390 draft correspondence to statements contractor regarding records work (.1).                          0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/20/18 KBD         390 telephone conferences with real estate broker regarding offers for property purchases (.6)          0.6          0.1      $39.00
2018         Disposition
December     Asset                  12/20/18 KBD         390 study offer from potential purchaser, conduct due diligence regarding same, and exchange            0.4 0.0666667         $26.00
2018         Disposition                                     correspondence with real estate broker regarding same (.4)
December     Asset                  12/20/18 KBD         390 office conference with M. Rachlis regarding same (.1).                                              0.1 0.0166667          $6.50
2018         Disposition




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  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
December     Asset                  12/20/18 KBD         390 Study offer for potential purchaser and exchange correspondence with real estate broker                 0.1 0.0166667         $6.50
2018         Disposition                                     regarding same (.1)
December     Asset                  12/20/18 KBD         390 further exchange correspondence regarding same (.2)                                                     0.2 0.0333333        $13.00
2018         Disposition
December     Asset                  12/21/18 KBD         390 study correspondence from potential buyer regarding timing (.1)                                         0.1 0.0166667         $6.50
2018         Disposition
December     Asset                  12/21/18 KBD         390 study correspondence from real estate broker to successful bidders for real estate sales (.1).          0.1 0.0166667         $6.50
2018         Disposition
December     Asset                  12/21/18 KBD         390 Office conference with real estate broker, M. Rachlis, A Porter, and N. Mirjanich regarding             2.5 0.4166667       $162.50
2018         Disposition                                     property purchase offers (2.5)
December     Asset                  12/22/18 KBD         390 Study marketing status report and summary of offers on real estate sales.                               0.2 0.0333333        $13.00
2018         Disposition
December     Asset                  12/23/18 KBD         390 Exchange correspondence with potential buyer regarding offer on property (.1)                           0.1 0.0166667         $6.50
2018         Disposition
December     Asset                  12/26/18 KBD         390 study correspondence from real estate broker and A. Porter regarding revised purchase and               0.1 0.0166667         $6.50
2018         Disposition                                     sale agreement (.1).
December     Asset                  12/27/18 KBD         390 study settlement statement and closing checklist (.1).                                                  0.1 0.0166667         $6.50
2018         Disposition
December     Asset                  12/27/18 KBD         390 study revised purchase and sale agreement and correspondence from A. Porter regarding                   0.2 0.0333333        $13.00
2018         Disposition                                     same (.2)
December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                    0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                         0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                    0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                         0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                          0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                             0.4 0.0037383         $1.46
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509         $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/13/18 KBD         390 study document and correspondence regarding pending building code violations (.2).                      0.2 0.0333333        $13.00
2018         Operations
December     Business               12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                      reporting (.1)
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business               12/18/18 KBD         390 exchange correspondence with city official regarding same (.1)                                          0.1 0.0166667         $6.50
2018         Operations




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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
December     Business               12/18/18 KBD         390 exchange correspondence and office conference with N. Mirjanich regarding communication               0.1 0.0166667          $6.50
2018         Operations                                      with city official relating to water bills (.1)
December     Business               12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                      0.1 0.0014706          $0.57
2018         Operations
December     Business               12/19/18 KBD         390 exchange correspondence with N. Mi~anich regarding communication with city official                   0.1 0.0166667          $6.50
2018         Operations                                      regarding water bills (.1)
December     Asset                  12/01/18 AEP         390 Read, edit, and substantially redraft purchase and sale agreement received from receivership          5.5 0.9166667        $357.50
2018         Disposition                                     broker and prepare detailed list of questions and issues for title agent.

December     Asset                  12/03/18 AEP         390 Conference with receivership team regarding resolution of procedures associated with public           2.8 0.4666667        $182.00
2018         Disposition                                     sale auction process, open issues in current draft of purchase and sale agreement, current
                                                             strategy regarding estate liquidation, and establishment of separate accounts associated
                                                             with sales of properties included within first tranche.

December     Asset                  12/03/18 MR          390 conferences regarding disposition process and various issues with K. Duff, A. Porter and N.           0.6          0.1      $39.00
2018         Disposition                                     Mirjanich (.6).
December     Asset                  12/03/18 MR          390 Prepare for and participate in meeting with broker and Receivership team on disposition               2.6 0.4333333        $169.00
2018         Disposition                                     (2.6)
December     Asset                  12/03/18 NM          260 office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding               2.6 0.4333333        $112.67
2018         Disposition                                     liquidation of properties and future plans for same (2.6)
December     Asset                  12/05/18 NM          260 Correspond with K. Duff regarding the sale approval motion and process (.3)                           0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/06/18 AEP         390 Assemble relevant administrative pleadings and related documents pertaining to all                    0.6          0.1      $39.00
2018         Disposition                                     properties in first marketing tranche.
December     Asset                  12/06/18 KMP         140 Telephone conference with City of Chicago attorney regarding concerns relating to water               0.2 0.0333333          $4.67
2018         Disposition                                     bills for the properties and issues in connection with motion to sell properties, and
                                                             conference with N. Mirjanich regarding follow-up.
December     Asset                  12/08/18 AEP         390 finalize preparation of proposed purchase and sale agreement and accompanying                         2.3 0.3833333        $149.50
2018         Disposition                                     assignment and assumption of leases (2.3).
December     Asset                  12/09/18 MR          390 Review purchase and sale agreement.                                                                   0.7 0.1166667         $45.50
2018         Disposition
December     Asset                  12/10/18 NM          260 Gather documents for real estate broker relating to code violations for due diligence room            0.3         0.05      $13.00
2018         Disposition                                     on properties currently listed for sale.
December     Asset                  12/11/18 MR          390 Attention to property sale related emails.                                                            0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/12/18 AEP         390 teleconference with title company general counsel regarding preparation of title                      0.8 0.1333333         $52.00
2018         Disposition                                     commitments, waiver of special exceptions for liens and encumbrances, and form of
                                                             receiver's deed for all properties marketed in first marketing tranche (.8).
December     Asset                  12/12/18 MR          390 attention to purchase agreement (.2).                                                                 0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/13/18 AEP         390 Teleconference with title company representatives regarding preparation of title reports for          0.8 0.1333333         $52.00
2018         Disposition                                     properties in first marketing tranche (.8)




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Asset                  12/13/18 AEP             390 e-mail exchanges with receivership management companies regarding existence of security                  0.3         0.05      $19.50
2018         Disposition                                         deposit accounts at buildings in first marketing tranche and responding to other
                                                                 miscellaneous inquiries (.3).
December     Asset                  12/13/18 NM              260 exchange correspondence with broker regarding same (.3).                                                 0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/13/18 NM              260 Prepare documents for real estate broker regarding violations on six buildings currently                 1.0 0.1666667         $43.33
2018         Disposition                                         listed for sale (1.0)
December     Asset                  12/14/18 AEP             390 incorporate proposed modifications as warranted (.7)                                                     0.7 0.1166667         $45.50
2018         Disposition
December     Asset                  12/14/18 AEP             390 Teleconferences with receivership real estate broker regarding status of final draft of                  0.1 0.0166667          $6.50
2018         Disposition                                         purchase and sale agreement (.1)
December     Asset                  12/14/18 AEP             390 teleconference with receiver regarding status of final draft of purchase and sale agreement              0.1 0.0166667          $6.50
2018         Disposition                                         (.1)
December     Asset                  12/14/18 AEP             390 read all comments on draft purchase and sale agreement (.3)                                              0.3         0.05      $19.50
2018         Disposition
December     Asset                  12/14/18 AEP             390 teleconference with N. Mirjanich regarding pending administrative and judicial actions                   0.4 0.0666667         $26.00
2018         Disposition                                         pending against properties in first marketing tranche (.4)
December     Asset                  12/14/18 MR              390 Attention to issues in draft purchase and sales agreement and conferences regarding same.                0.8 0.1333333         $52.00
2018         Disposition
December     Asset                  12/14/18 NM              260 Correspond with real estate broker regarding documents for violations on six buildings                   0.2 0.0333333          $8.67
2018         Disposition                                         currently listed for sale (.2)
December     Asset                  12/14/18 NM              260 correspond with A. Porter regarding same and violations disclosures (.3).                                0.3         0.05      $13.00
2018         Disposition
December     Asset                  12/15/18 AEP             390 proofread, edit, revise, and customize purchase and sale agreements for all properties in first          3.1 0.5166667        $201.50
2018         Disposition                                         marketing tranche (3.1).
December     Asset                  12/15/18 AEP             390 Teleconference with receivership broker regarding status of preparation of purchase and                  0.3         0.05      $19.50
2018         Disposition                                         sale agreements and final comments thereon (.3)
December     Asset                  12/15/18 MR              390 Review purchase and sales agreement and other emails regarding same (.4)                                 0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/15/18 MR              390 attention to other emails regarding issues on property and appraisals (.2).                              0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/17/18 KMP             140 begin review of lender statements in connection with same (.6).                                          0.6          0.1      $14.00
2018         Disposition
December     Asset                  12/17/18 KMP             140 Conference with K. Duff regarding review of lender statements to determine investor                      0.1 0.0166667          $2.33
2018         Disposition                                         interests in properties currently for sale (.1)
December     Asset                  12/18/18 AEP             390 Conference with receivership team to select best bids on all properties in first marketing               1.8          0.3     $117.00
2018         Disposition                                         tranche (1.8)
December     Asset                  12/18/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             1.7 0.2833333         $39.67
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/18/18 SZ              110 office conference with K. Duff regarding same (.1).                                                      0.1 0.0166667          $1.83
2018         Disposition




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Asset                  12/18/18 SZ              110 Research and retrieving of emails showing financial positions of investors in various                    1.7 0.2833333         $31.17
2018         Disposition                                         properties (at 5001 S. Drexel, 7500-06 S. Eggleston Ave., 7547-49 S. Essex Ave., 7927-49 S.
                                                                 Essex Ave., 8100 S. Essex, 6160-6212 S. Martin Luther King Drive) (1.7)

December     Asset                  12/19/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             3.1 0.5166667         $72.33
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/19/18 NM              260 Correspond with K. Duff and M. Rachlis regarding offers from real estate broker.                         0.1 0.0166667          $4.33
2018         Disposition
December     Asset                  12/20/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.9 0.4833333         $67.67
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property, and
                                                                 conference with K. Duff regarding same.
December     Asset                  12/20/18 MR              390 Attention to various issues on property's regarding issues on disposition.                               0.4 0.0666667         $26.00
2018         Disposition
December     Asset                  12/21/18 KMP             140 Continue review of lender statements to determine investor interests in properties currently             2.4          0.4      $56.00
2018         Disposition                                         for sale and prepare spreadsheet tracking lender information for each property.

December     Asset                  12/21/18 MR              390 attention to various issues on strategy regarding sales and issues in litigation (2.5).                  2.5 0.4166667        $162.50
2018         Disposition
December     Asset                  12/21/18 MR              390 Participate in meetings regarding offers to purchase and several conferences regarding same              2.5 0.4166667        $162.50
2018         Disposition                                         (2.5)
December     Asset                  12/21/18 NM              260 Office conference with real estate broker, K. Duff, M. Rachlis, and A. Porter regarding offers           2.2 0.3666667         $95.33
2018         Disposition                                         received on the 6 properties for sale (2.2)
December     Asset                  12/21/18 NM              260 prepare for same by creating spreadsheet of outstanding water bills on same properties and               0.8 0.1333333         $34.67
2018         Disposition                                         exchange correspondence and study documents from City representative regarding same
                                                                 (.8)
December     Asset                  12/21/18 NM              260 exchange correspondence with property managers regarding outstanding water bills and                     0.6          0.1      $26.00
2018         Disposition                                         create spreadsheet for same (.6)
December     Asset                  12/27/18 AEP             390 Teleconference with K. Duff regarding status of building code violations of properties in first          0.6          0.1      $39.00
2018         Disposition                                         marketing tranche (.6)
December     Asset                  12/27/18 MR              390 Attention to email on sales of property (.1)                                                             0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/27/18 MR              390 several conferences and attention to issues on various areas of correspondence on asset                  0.5 0.0833333         $32.50
2018         Disposition                                         disposition (.5).
December     Asset                  12/28/18 MR              390 Attention to upcoming meetings on property sales.                                                        0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/29/18 MR              390 Communicate with K. Duff regarding upcoming meeting on property sales.                                   0.1 0.0166667          $6.50
2018         Disposition
December     Asset                  12/31/18 MR              390 follow up emails with K. Duff (.2).                                                                      0.2 0.0333333         $13.00
2018         Disposition
December     Asset                  12/31/18 MR              390 Attention to issues on purchase agreement (.4)                                                           0.4 0.0666667         $26.00
2018         Disposition




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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
December     Business               12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151         $10.30
2018         Operations                                      issues (2.8)
December     Business               12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434          $0.37
2018         Operations
December     Business               12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302          $0.74
2018         Operations
December     Business               12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642          $3.19
2018         Operations                                      to address City violations and his plan for same (1.3)
December     Business               12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868          $0.26
2018         Operations
December     Business               12/12/18 MR          390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019         $11.04
2018         Operations                                      with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM          260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849          $6.13
2018         Operations                                      Rachlis and K. Duff regarding same (2.5)
December     Business               12/12/18 NM          260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509          $3.68
2018         Operations                                      removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                             properties with violations (1.5)
December     Business               12/13/18 AW          140 Confer with N. Mirjanich regarding documents requested by broker regarding code violations              0.2 0.0333333          $4.67
2018         Operations                                      (.2)
December     Business               12/18/18 KMP         140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706          $0.21
2018         Operations                                      income from property manager and conference with K. Duff regarding same.

December     Business               12/19/18 NM          260 Study and respond to outstanding emails regarding Court docket entries, creditor invoices,              1.2          0.1      $26.00
2018         Operations                                      City litigation and updates to properties from property managers and City attorneys,
                                                             outstanding water debt and correspondence from City attorneys and with K. Duff on same,
                                                             EB counsel regarding motion to lift stay in personal injury case, emails in EB account (1.2)

December     Business               12/20/18 NM          260 study list of properties for unpaid water utilities and begin to organize by property manager           0.1 0.0166667          $4.33
2018         Operations                                      to send to City attorney (.1)
December     Business               12/20/18 NM          260 telephone conference with City attorney regarding outstanding water utilities (.5)                      0.5 0.0833333         $21.67
2018         Operations
December     Business               12/20/18 NM          260 prepare for telephone conference with City attorney regarding outstanding water utilities,              1.5         0.25      $65.00
2018         Operations                                      study documents sent regarding same, and correspond with property managers regarding
                                                             same (1.5)
December     Business               12/20/18 NM          260 correspond with K. Duff and real estate broker regarding same (.1)                                      0.1 0.0166667          $4.33
2018         Operations
December     Business               12/21/18 NM          260 Study and respond to outstanding emails relating to code violations and with property                   0.7 0.1166667         $30.33
2018         Operations                                      managers regarding the same, outstanding water bills and correspond with property
                                                             managers regarding the same, properties with violations and City attorney regarding the
                                                             same (.7)
January      Asset                  01/05/19 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale               0.2          0.2      $78.00
2019         Disposition                                     agreement (7547 Essex).




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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
January      Asset                  01/07/19 KBD         390 draft correspondence to N. Mirjanich regarding broker's commission (.1).                              0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/09/19 KBD         390 study correspondence from A. Porter regarding motion to approve sales (.1).                           0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/09/19 KBD         390 Work on motions to approve sale of properties with N. Mirjanich (.2)                                  0.2 0.0333333         $13.00
2019         Disposition
January      Asset                  01/10/19 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding timing for motion to approve             0.2 0.0333333         $13.00
2019         Disposition                                     property sales (.2).
January      Asset                  01/10/19 KBD         390 Study correspondence from A. Porter regarding proposed order approving sale of properties             0.1 0.0166667          $6.50
2019         Disposition                                     (.1)
January      Asset                  01/15/19 KBD         390 Discuss review of EquityBuild records to identify people for whom to provide notice of                0.1 0.0166667          $6.50
2019         Disposition                                     motion to approve sale of real estate with K. Pritchard (.1)
January      Asset                  01/25/19 KBD         390 Telephone conference with real estate broker regarding status of work for sale approval (.1)          0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/25/19 KBD         390 analysis of motion to approve sale of properties with N. Mirjanich (.1)                               0.1 0.0166667          $6.50
2019         Disposition
January      Asset                  01/28/19 KBD         390 study correspondence from N. Mirjanich regarding broker commissions (.1).                             0.1 0.0166667          $6.50
2019         Disposition
January      Business               01/02/19 KBD         390 Review water bill issue and office conference with and review correspondence from N.                  0.2 0.0285714         $11.14
2019         Operations                                      Mirjanich regarding same (.2)
January      Business               01/09/19 KBD         390 Review correspondence from property manager regarding water bills (.1)                                0.1 0.0333333         $13.00
2019         Operations
January      Business               01/10/19 KBD         390 study property management report (.2)                                                                 0.2 0.0029412          $1.15
2019         Operations
January      Business               01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701          $2.33
2019         Operations
January      Business               01/11/19 KBD         390 review correspondence from property manager and A. Porter regarding payment of water                  0.1 0.0333333         $13.00
2019         Operations                                      bills (.1)
January      Business               01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118          $1.72
2019         Operations                                      regarding same (.3)
January      Business               01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118          $1.72
2019         Operations
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434          $0.37
2019         Operations
January      Business               01/16/19 KBD         390 study correspondence from counsel for housing fund regarding disengagement of subsidy                 0.2          0.2      $78.00
2019         Operations                                      and office conference with N. Mirjanich regarding same (.2).
January      Business               01/17/19 KBD         390 exchange correspondence with property manager regarding tax payment (.2).                             0.2          0.2      $78.00
2019         Operations
January      Business               01/17/19 KBD         390 Attention to wire transfer and telephone conference with banking representative regarding             0.3          0.3     $117.00
2019         Operations                                      same (.3)
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868          $0.74
2019         Operations                                      officials regarding scofflaw list (.2).




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  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                   0.1 0.0009434          $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Asset                  01/05/19 AEP         390 Create or update closing checklists and create closing statements, and assemble information               4.4 0.7333333        $286.00
2019         Disposition                                     needed to prepare closing documents and obtain necessary governmental approvals for all
                                                             properties in first sales tranche (4.4)
January      Asset                  01/06/19 AEP         390 Review and analyze title documents and prepare title examinations on three properties                     6.4 2.1333333        $832.00
2019         Disposition                                     (7547 S Essex, 7500 S Eggleston, and 8100 S Essex).
January      Asset                  01/08/19 AEP         390 Teleconference with survey company regarding proposal to perform surveys on properties in                 0.2 0.0333333         $13.00
2019         Disposition                                     first marketing tranche (.2)
January      Asset                  01/09/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding timing of closings of first tranche of             0.6          0.1      $39.00
2019         Disposition                                     properties and critical paths thereto, issues regarding EBF loans on title commitments, and
                                                             rooftop lease at property being sold (8100 S Essex) (.6).
January      Asset                  01/10/19 AEP         390 begin reviewing closing checklists on all properties in first tranche, assembling litigation due          1.2          0.2      $78.00
2019         Disposition                                     diligence documents, and transmitting same to counsel for corresponding sellers (1.2).

January      Asset                  01/10/19 NM          260 Draft motion to approve sale of first set of properties (8100 S. Essex, 7549 S. Essex, 5001 S.            2.2 0.3666667         $95.33
2019         Disposition                                     Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) (2.2)
January      Asset                  01/10/19 NM          260 correspond with K. Duff and property manager regarding outstanding water bills for same                   0.1 0.0166667          $4.33
2019         Disposition                                     and revise spreadsheet to reflect same (.1).
January      Asset                  01/11/19 AEP         390 Review closing checklists for all properties in first marketing tranche and finalize all open             1.1 0.1833333         $71.50
2019         Disposition                                     issues, including due diligence productions, delivery of all joint order escrow forms to title
                                                             company, and research into current water delinquencies.
January      Asset                  01/11/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                3.7 0.6166667        $160.33
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                             with K. Duff and A. Porter regarding same.
January      Asset                  01/13/19 AEP         390 Review revised charts of pending administrative actions and distribute latest orders to                   0.2 0.0333333         $13.00
2019         Disposition                                     buyers in first marketing tranche (.2)
January      Asset                  01/13/19 AEP         390 compile and submit all building-specific and earnest money information requested by escrow                0.4 0.0666667         $26.00
2019         Disposition                                     administrator at title company (.4).
January      Asset                  01/14/19 AEP         390 compile and transmit prior title commitments associated with properties contained in first                0.4 0.0666667         $26.00
2019         Disposition                                     marketing tranche to receivership surveyor and prepare e-mails introducing surveyor to
                                                             property managers for purpose of facilitating access (.4).
January      Asset                  01/14/19 AEP         390 Teleconference with receivership broker regarding status of closing process for first                     0.2 0.0111111          $4.33
2019         Disposition                                     marketing tranche and expectations regarding timing of commencement of marketing of
                                                             second tranche (.2)
January      Asset                  01/14/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                1.7 0.2833333         $73.67
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex) and correspond
                                                             with K. Duff regarding same.
January      Asset                  01/16/19 NM          260 Revise motion to approve public sale process for second round of property sales and revise                1.0 0.0555556         $14.44
2019         Disposition                                     motion for court approval of the sale of the first round of properties and correspond with A.
                                                             Porter regarding documents from title company for same.
January      Asset                  01/17/19 NM          260 Draft and revise motion to approve sale of first set of properties (8100 S. Essex, 7549 S.                1.1 0.1833333         $47.67
2019         Disposition                                     Essex, 5001 S. Drexel, 7502 S. Eggleston, 6160 S. MLK, and 7933 S. Essex).


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  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
January      Asset                  01/18/19 NM          260 Update spreadsheet to reflect code violations and other building issues at properties being             0.3         0.05      $13.00
2019         Disposition                                     sold as part of the second property sale and revise motion for sale of first round of
                                                             properties.
January      Asset                  01/21/19 NM          260 summarize status of properties in first round of public sale with respect to updates in City            0.4 0.0666667         $17.33
2019         Disposition                                     litigation and outstanding utility bills (.4).
January      Asset                  01/22/19 AEP         390 teleconference with title company regarding status of preparation of title commitments for              0.3         0.05      $19.50
2019         Disposition                                     first tranche of properties, processing of title orders for second tranche, and going-forward
                                                             method for processing title commitments (.3)
January      Asset                  01/22/19 AEP         390 teleconference with survey company associate regarding pricing, payment, and proofing of                0.1 0.0166667          $6.50
2019         Disposition                                     first batch of surveys (.1)
January      Asset                  01/22/19 AEP         390 teleconference with title company regarding itemization of all released or unreleased                   0.2 0.0222222          $8.67
2019         Disposition                                     mortgagees on title commitments for properties presently or previously encumbered by EBF
                                                             loans (.2)
January      Asset                  01/23/19 AEP         390 update closing checklists for all properties in first marketing tranche (.3)                            0.3         0.05      $19.50
2019         Disposition
January      Asset                  01/23/19 AEP         390 read all administrative orders entered in preceding two weeks, make notes in corresponding              0.2 0.0333333         $13.00
2019         Disposition                                     building purchase and sale files, and notify counsel of orders entered in actions affecting
                                                             buildings in first marketing tranche (.2)
January      Asset                  01/24/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with K.               2.8 0.4666667        $121.33
2019         Disposition                                     Pritchard regarding notice for same (2.8)
January      Asset                  01/24/19 NM          260 prepare for meeting with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow               0.3         0.05      $13.00
2019         Disposition                                     amounts for the first round of property sales (.3)
January      Asset                  01/24/19 NM          260 office conference with K. Duff, E. Duff, and M. Rachlis regarding sales proceeds escrow                 1.8          0.3      $78.00
2019         Disposition                                     amounts for the first round of property sales (1.8).
January      Asset                  01/25/19 AEP         390 meeting with N. Mirjanich regarding title exceptions to be included in proposed order                   0.4 0.0666667         $26.00
2019         Disposition                                     approving sales of properties in first tranche, notice to affected parties, and other related
                                                             issues (.4).
January      Asset                  01/25/19 AEP         390 Teleconference with receiver and receivership broker on status of preparation of closing of             0.2 0.0333333         $13.00
2019         Disposition                                     sales of properties in first marketing tranche (.2)
January      Asset                  01/25/19 NM          260 revise motion to approve the sale of the first round of properties and correspond with A.               2.1         0.35      $91.00
2019         Disposition                                     Porter regarding title commitments and information regarding same in order (2.1)

January      Asset                  01/25/19 NM          260 correspond with K. Pritchard and S. Zjalic regarding notice for the sale of the first round of          0.5 0.0833333         $21.67
2019         Disposition                                     properties (.5).
January      Asset                  01/28/19 AEP         390 Conference call with N. Mirjanich regarding special exceptions on title commitments relating            1.0 0.1666667         $65.00
2019         Disposition                                     to properties in first marketing tranche.
January      Asset                  01/28/19 NM          260 Revise motion to approve the sale of the first round of properties (2.1)                                2.1         0.35      $91.00
2019         Disposition
January      Asset                  01/28/19 NM          260 correspond with A. Porter regarding title commitments and information regarding same in                 1.0 0.1666667         $43.33
2019         Disposition                                     order (1.0).
January      Asset                  01/29/19 AEP         390 update closing checklists for properties in first marketing tranche (.2)                                0.2 0.0333333         $13.00
2019         Disposition




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  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
January      Asset                  01/29/19 AEP         390 Review first drafts of surveys for properties under contract of sale (7500 S Eggleston, 7549 S           0.5 0.1666667         $65.00
2019         Disposition                                     Essex, and 8100 S Essex) and make appropriate changes (.5)
January      Asset                  01/29/19 AEP         390 conference with N. Mirjanich regarding preparation of motion relating to receivership                    0.3         0.05      $19.50
2019         Disposition                                     properties (.3)
January      Asset                  01/29/19 AEP         390 research regarding liens (.3).                                                                           0.3         0.05      $19.50
2019         Disposition
January      Asset                  01/29/19 NM          260 Revise motion to approve the sale of the first round of properties and correspond with A.                2.7         0.45     $117.00
2019         Disposition                                     Porter regarding title commitments, information regarding same in order, and filing of same
                                                             and correspond with K. Duff regarding same.
January      Asset                  01/30/19 AEP         390 begin preparation of motion to approve sales of properties in first tranche (.8).                        0.8 0.1333333         $52.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 continue researching sale issue (.4)                                                                     0.4 0.0666667         $26.00
2019         Disposition
January      Asset                  01/30/19 AEP         390 review title commitments and begin preparation of notice list for all properties in first                0.2 0.0333333         $13.00
2019         Disposition                                     tranche (.2)
January      Asset                  01/30/19 AEP         390 Update closing checklists for all properties in first tranche (.2)                                       0.2 0.0333333         $13.00
2019         Disposition
January      Business               01/11/19 AEP         390 Conference with receivership team to discuss sales proceeds and lenders.                                 1.0 0.1666667         $65.00
2019         Operations
January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross            0.1 0.0014706          $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls              0.2 0.0029412          $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/22/19 AEP         390 work to organize closing statements from refinances of properties in first two marketing                 0.4 0.0222222          $8.67
2019         Operations                                      tranches (.4).
January      Business               01/30/19 AEP         390 Research first installment property tax liability associated with properties in preparation for          0.4 0.0666667         $26.00
2019         Operations                                      02/01/19 meeting.
February     Asset                  02/01/19 KBD         390 Office conference with N. Mirjanich regarding meeting with title company (.2)                            0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/01/19 KBD         390 study correspondence from N. Mirjanich regarding property sales and receivership costs (.1)              0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/01/19 KBD         390 telephone conference with real estate broker regarding sale of first listed properties, listing          0.6 0.0333333         $13.00
2019         Disposition                                     of second set of properties (.6)
February     Asset                  02/07/19 KBD         390 Exchange correspondence with A. Porter regarding title company communications and                        0.1 0.0166667          $6.50
2019         Disposition                                     efforts relating to preparation of properties for closing.
February     Asset                  02/08/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of properties (.1)                  0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser                0.1 0.0009346          $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/09/19 KBD         390 Exchange correspondence with A. Porter and M. Rachlis regarding motion to approve sale of                0.3         0.05      $19.50
2019         Disposition                                     properties.


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  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Asset                  02/10/19 KBD         390 Study correspondence and revised motion to approve sale of real estate from A. Porter.                  0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 telephone conference with M. Rachlis, N. Mirjanich and A. Porter regarding motion to                    1.7 0.2833333        $110.50
2019         Disposition                                     approve and sale proceeds (1.7)
February     Asset                  02/11/19 KBD         390 discuss same with N. Mirjanich (.2)                                                                     0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 study correspondence regarding broker commissions on property sales (.1)                                0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/11/19 KBD         390 telephone conference with real estate broker representatives, M. Rachlis, N. Mirjanich, and             0.7 0.1166667         $45.50
2019         Disposition                                     A. Porter regarding sales proceeds (.7)
February     Asset                  02/11/19 KBD         390 Study draft motion to approve sale of real estate (1.0)                                                 1.0 0.1666667         $65.00
2019         Disposition
February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/12/19 KBD         390 Study revised motion to approve sale of properties and study correspondence regarding                   0.2 0.0333333         $13.00
2019         Disposition                                     service of same.
February     Asset                  02/13/19 KBD         390 study revise motion to approve sale of properties (.2)                                                  0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 KBD         390 study draft order approving sale of properties (.1).                                                    0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604          $2.21
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868          $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 telephone conferences with real estate broker regarding sales and buyer criteria and motion             0.4 0.0666667         $26.00
2019         Disposition                                     to approve sales (.4)
February     Asset                  02/14/19 KBD         390 Study revised motion to approve sale of real estate and various correspondence regarding                0.7 0.1166667         $45.50
2019         Disposition                                     same (.7)
February     Asset                  02/14/19 KBD         390 telephone conference with A. Porter regarding title company concerns and about revisions                0.9         0.15      $58.50
2019         Disposition                                     to motion to approve sale of properties (.9)
February     Asset                  02/14/19 KBD         390 telephone conference with A. Porter and N. Mirjanich regarding motion to approve sale of                0.1 0.0166667          $6.50
2019         Disposition                                     real estate (.1)
February     Asset                  02/15/19 KBD         390 several lengthy discussions with A. Porter, M. Mirjanich, and A. Watychowicz regarding three            1.7 0.0944444         $36.83
2019         Disposition                                     motions filed (1.7)
February     Asset                  02/15/19 KBD         390 Study and revise notice provisions to motion to approve sale of real estate and proposed                0.4 0.0666667         $26.00
2019         Disposition                                     order (.4)
February     Asset                  02/15/19 KBD         390 telephone conference with title company representatives, A. Porter, and N. Mirjanich                    0.2 0.0333333         $13.00
2019         Disposition                                     regarding notice of motion to approve sale of real estate, claims process, and court approval
                                                             (.2)
February     Asset                  02/15/19 KBD         390 review correspondence from E. Duff to lenders counsel regarding motion to approve sale of               0.1 0.0166667          $6.50
2019         Disposition                                     properties (.1).




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  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February     Asset                  02/15/19 KBD         390 study and further revise several drafts of motion and proposed draft order approving sale of            0.8 0.1333333        $52.00
2019         Disposition                                     real estate to address title company comments and office conference with A. Porter
                                                             regarding same (.8)
February     Asset                  02/16/19 KBD         390 Review plan for service of motion for approval of sale of real estate with N. Mirjanich and A.          0.2 0.0333333        $13.00
2019         Disposition                                     Watychowicz.
February     Asset                  02/19/19 KBD         390 study defendants' objection to motion to approve sale properties (.2)                                   0.2 0.0333333        $13.00
2019         Disposition
February     Asset                  02/19/19 KBD         390 study another lender objections to second motion to approve sale of properties (.1)                     0.1 0.0166667         $6.50
2019         Disposition
February     Asset                  02/21/19 KBD         390 draft correspondence to A. Watychowicz and N. Mirjanich regarding investor                              0.1 0.0166667         $6.50
2019         Disposition                                     communications regarding motion to approve sales (.1).
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383         $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037         $1.09
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346         $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824         $2.29
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412         $1.15
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346         $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412         $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706         $0.57
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706         $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                 0.1 0.0009346         $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                     0.1 0.0014925         $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2019         Operations
February     Business               02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                            0.1       0.005       $1.95
2019         Operations
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                   0.2 0.0029412         $1.15
2019         Operations                                      documentation (.2)


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  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                       0.1 0.0014706          $0.57
2019         Operations
February     Business               02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real               0.6         0.03      $11.70
2019         Operations                                      estate taxes and lender communications (.6).
February     Business               02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                      0.1       0.005        $1.95
2019         Operations
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                         0.1 0.0014706          $0.57
2019         Operations
February     Business               02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                     1.1       0.055       $21.45
2019         Operations
February     Business               02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                 3.9       0.195       $76.05
2019         Operations
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434          $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701          $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)
February     Asset                  02/01/19 AEP         390 Meeting with N. Mirjanich and title company underwriter regarding waiver of specific title              2.5 0.4166667        $162.50
2019         Disposition                                     exceptions from commitments issued on properties in first tranche, preparation of title
                                                             invoices for properties in first tranche, and language of judicial order necessary to ensure
                                                             waiver of remaining title exceptions (2.5)
February     Asset                  02/01/19 AEP         390 preparation of motion to approve sales of properties in first marketing tranche, and                    0.4 0.0666667         $26.00
2019         Disposition                                     preparation for and timing of closings of sales of properties in first marketing tranche (.4).

February     Asset                  02/01/19 NM          260 appear for meeting with title company attorney and A. Porter regarding title commitments                2.5 0.4166667        $108.33
2019         Disposition                                     for the first sale of properties (2.5)
February     Asset                  02/01/19 NM          260 Prepare for meeting with title company (.2)                                                             0.2 0.0333333          $8.67
2019         Disposition
February     Asset                  02/01/19 NM          260 study and exchange email correspondence with attorney for title company following                       0.1 0.0166667          $4.33
2019         Disposition                                     meeting (.1)
February     Asset                  02/01/19 NM          260 correspond with K. Duff, A. Porter, and M. Rachlis regarding the sale of the first round of             0.4 0.0666667         $17.33
2019         Disposition                                     properties (.4)
February     Asset                  02/01/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lenders              0.4 0.0222222          $5.78
2019         Disposition                                     for same (.4).
February     Asset                  02/04/19 AEP         390 Edit, revise, and continue preparation of motion to approve sales of properties contained in            5.1         0.85     $331.50
2019         Disposition                                     first marketing tranche.
February     Asset                  02/04/19 ED          390 Review correspondence and documents from broker (.6)                                                    0.6          0.1      $39.00
2019         Disposition
February     Asset                  02/04/19 ED          390 begin review of loan documents relating to properties proposed for sale (.4).                           0.4 0.0666667         $26.00
2019         Disposition
February     Asset                  02/04/19 NM          260 Correspond with S. Zjalic regarding notice for the motion to approve the sale of the first              0.4 0.0666667         $17.33
2019         Disposition                                     round of properties and legal research on same and provide information for same (.4)




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  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Asset                  02/04/19 NM          260 correspond with E. Duff regarding sale of first and second round of properties and lender                 0.5 0.0277778          $7.22
2019         Disposition                                     issues for same (.5)
February     Asset                  02/06/19 AEP         390 Review final draft of all surveys in first marketing tranche and request authorization to                 0.2 0.0333333         $13.00
2019         Disposition                                     distribute to buyers' counsel (.2)
February     Asset                  02/08/19 AEP         390 update all closing checklists (.1)                                                                        0.1 0.0166667          $6.50
2019         Disposition
February     Asset                  02/08/19 AEP         390 Review latest drafts of all title commitments and distribute title commitments, title invoices,           0.4 0.0666667         $26.00
2019         Disposition                                     and surveys to counsel for all buyers in first marketing tranche (.4)
February     Asset                  02/08/19 AEP         390 teleconference with title underwriter regarding waiver of corporate authority special                     0.2 0.0333333         $13.00
2019         Disposition                                     exceptions from title commitments (.2)
February     Asset                  02/08/19 AEP         390 conference call with receivership broker regarding status of motions to approve sales of                  0.2 0.0111111          $4.33
2019         Disposition                                     properties in first and second marketing tranches and related issues (.2)
February     Asset                  02/08/19 NM          260 Correspond with A. Porter and K. Duff regarding status of filing motion to approve first                  0.1 0.0166667          $4.33
2019         Disposition                                     tranche of property sales.
February     Asset                  02/09/19 AEP         390 Review title commitments, title invoices, purchase and sale contracts, water bills, property              9.4 3.1333333      $1,222.00
2019         Disposition                                     tax bills, listing agreement and other materials, prepare closing figures, and begin
                                                             preparation of motion to approve sales of certain receivership properties (7500-08 S
                                                             Eggleston, 7549-59 S Essex, and 7927-49 S Essex).
February     Asset                  02/11/19 AW          140 Meeting with N. Mirjanich and K. Pritchard regarding EB 1.0 and notice to investors,                      0.3         0.05       $7.00
2019         Disposition                                     creditors, and interested parties.
February     Asset                  02/11/19 NM          260 correspond with A. Porter regarding status of motion for same and revisions to same (.1)                  0.1 0.0166667          $4.33
2019         Disposition
February     Asset                  02/11/19 NM          260 revise notice for same (.6)                                                                               0.6          0.1      $26.00
2019         Disposition
February     Asset                  02/11/19 NM          260 Correspond with K. Duff, M. Rachlis, K. Pritchard, and A. Watychowicz regarding notice for                0.4 0.0666667         $17.33
2019         Disposition                                     the motion to approve the sale of the first tranche of properties (.4)
February     Asset                  02/11/19 NM          260 study motion to approve sale of the first tranche of properties from A. Porter, revise motion             5.9 0.9833333        $255.67
2019         Disposition                                     to approve the first tranche of property sales, and correspond with K. Duff, M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (5.9)
February     Asset                  02/12/19 AEP         390 Study, edit, and revise latest draft of motion to approve sales of properties in first marketing          3.3         0.55     $214.50
2019         Disposition                                     tranche (3.3)
February     Asset                  02/12/19 AEP         390 research regarding proposed order and finalize and circulate first draft of same (1.5).                   1.5         0.25      $97.50
2019         Disposition
February     Asset                  02/12/19 AEP         390 review updated title commitments and invoices and revise closing statements to incorporate                1.1 0.1833333         $71.50
2019         Disposition                                     comments from team (1.1)
February     Asset                  02/12/19 NM          260 Study and respond to correspondence from A. Porter regarding motion to approve the sale                   0.1 0.0166667          $4.33
2019         Disposition                                     of the first property tranche (.1)
February     Asset                  02/12/19 NM          260 study comments on same from E. Duff, M. Rachlis, and K. Duff (.5).                                        0.5 0.0833333         $21.67
2019         Disposition
February     Asset                  02/12/19 NM          260 study same and correspond with M. Rachlis, E. Duff, and K. Duff regarding same (.9)                       0.9         0.15      $39.00
2019         Disposition




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  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
February     Asset                  02/13/19 AEP         390 perform final reconciliation of litigation information and title commitments and prepare e-          0.5 0.0833333         $32.50
2019         Disposition                                     mails to title company questioning non-inclusion of various administrative actions from
                                                             special exceptions (.5)
February     Asset                  02/13/19 AEP         390 Review updated title commitments on various properties in first marketing tranche and                0.5 0.0833333         $32.50
2019         Disposition                                     revise motion to approve sale accordingly (.5)
February     Asset                  02/13/19 AEP         390 revise proposed order to incorporate latest comments received from title company (.4).               0.4 0.0666667         $26.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 study, edit, and revise provisionally final draft of proposed motion to approve sale (1.2)           1.2          0.2      $78.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 additional communications with title company regarding proposed order authorizing sale (.2)          0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 teleconference with N. Mirjanich regarding suggested modifications to motion to approve              0.2 0.0333333         $13.00
2019         Disposition                                     sale (.2)
February     Asset                  02/13/19 AEP         390 revise appendix of exhibits to correspond to changes in structure of brief (.2)                      0.2 0.0333333         $13.00
2019         Disposition
February     Asset                  02/13/19 AEP         390 correspondence and communications with title company regarding proposed changes to                   1.3 0.2166667         $84.50
2019         Disposition                                     proposed judicial order authorizing sale and prepare proposed revised order (1.3)

February     Asset                  02/13/19 MR          390 Conferences and review of e-mails regarding sale of properties and review of draft motion            0.7 0.1166667         $45.50
2019         Disposition                                     and order regarding same.
February     Asset                  02/13/19 NM          260 Revise motion to approve the first tranche of property sales incorporating comments from E.          2.6 0.4333333        $112.67
2019         Disposition                                     Duff and M. Rachlis and correspond with A. Porter and K. Duff regarding same.

February     Asset                  02/14/19 AEP         390 teleconference with K. Duff and N. Mirjanich regarding title company position regarding              0.9         0.15      $58.50
2019         Disposition                                     form of proposed order and potential avenues to resolving impasse and additional revisions
                                                             to motion to approve sale (.9)
February     Asset                  02/14/19 AEP         390 Teleconference with title company underwriters regarding form of proposed order                      0.6          0.1      $39.00
2019         Disposition                                     accompanying motion to approve sale and associated notice issues (.6)
February     Asset                  02/14/19 AEP         390 teleconference with K. Duff regarding title company issues with proposed order (.5).                 0.5 0.0833333         $32.50
2019         Disposition
February     Asset                  02/14/19 NM          260 study and exchange email correspondence with A. Porter and title company regarding sale of           0.2 0.0333333          $8.67
2019         Disposition                                     first tranche of properties (.2).
February     Asset                  02/14/19 NM          260 Correspond with K. Duff and A. Porter regarding motion to approve the sale of the first              1.8          0.1      $26.00
2019         Disposition                                     tranche of properties and motion to approve the process for the second sale (1.8)

February     Asset                  02/14/19 NM          260 draft notice section for motion to approve the sale of the first round of properties (.5)            0.5 0.0833333         $21.67
2019         Disposition
February     Asset                  02/15/19 AEP         390 legal research regarding issue relating to sale of properties (.8)                                   0.8 0.1333333         $52.00
2019         Disposition
February     Asset                  02/15/19 AEP         390 Teleconference with title company underwriters regarding proposed resolution to impasse              0.3         0.05      $19.50
2019         Disposition                                     over title clearing issues (.3)




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  Invoice                                      Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours         Fees
February     Asset                  02/15/19 AEP         390 telephone conference with title company underwriters, K. Duff, and N. Mirjanich regarding                 0.2 0.0333333         $13.00
2019         Disposition                                     resolution of impasse regarding waiver of certain special exceptions (.2)

February     Asset                  02/15/19 AEP         390 revise proposed order approving sale to incorporate title company comments (1.3)                          1.3 0.2166667         $84.50
2019         Disposition
February     Asset                  02/15/19 AEP         390 analyze, edit, and revise service list, comparing same to recorded mortgages (.6)                         0.6          0.1      $39.00
2019         Disposition
February     Asset                  02/15/19 AEP         390 study, edit, and revise motion for approval of sale (1.9)                                                 1.9 0.3166667        $123.50
2019         Disposition
February     Asset                  02/15/19 AEP         390 edit and revise proposed order to incorporate second sets of comments from title                          0.4 0.0666667         $26.00
2019         Disposition                                     underwriters (.4).
February     Asset                  02/15/19 AW          140 confer with A. Porter regarding same and provide additional explanation as to specific                    0.2 0.0333333          $4.67
2019         Disposition                                     registrations (.2)
February     Asset                  02/15/19 AW          140 Confer with N. Mirjanich and K. Duff regarding notice relating to properties listed for sale and          0.3         0.05       $7.00
2019         Disposition                                     every investor (.3)
February     Asset                  02/15/19 AW          140 study and confirm that certificate of service to motion for sale is accurate (1.6)                        1.6 0.2666667         $37.33
2019         Disposition
February     Asset                  02/15/19 AW          140 attention to exchanges regarding multiple revisions to motions and exhibits (.5)                          0.5 0.0277778          $3.89
2019         Disposition
February     Asset                  02/15/19 AW          140 work on filing of motions, accompanying exhibits, and notices (1.6).                                      1.6 0.0888889         $12.44
2019         Disposition
February     Asset                  02/15/19 NM          260 telephone conference with title company and with A. Porter and K. Duff regarding same (.2)                0.2 0.0333333          $8.67
2019         Disposition
February     Asset                  02/15/19 NM          260 Revise motion for court approval of the sale of the first tranche of properties and correspond            5.0 0.8333333        $216.67
2019         Disposition                                     with K. Duff, A. Watychowicz, A. Porter regarding the same and filing and service of the same
                                                             (5.0)
February     Asset                  02/16/19 AW          140 Service of motion to approve sale of first tranche of properties.                                         4.5         0.75     $105.00
2019         Disposition
February     Asset                  02/18/19 NM          260 study email correspondence from M. Rachlis, E. Duff and K. Duff regarding same from                       0.2 0.0333333          $8.67
2019         Disposition                                     lenders' counsel (.2)
February     Asset                  02/18/19 NM          260 study spreadsheet from real estate broker with updated property disposition analysis in                   0.2 0.0333333          $8.67
2019         Disposition                                     advance of meeting for same (.2)
February     Asset                  02/18/19 NM          260 Study email correspondence from investors regarding notice of motion for the first sale of                1.2          0.2      $52.00
2019         Disposition                                     properties and correspond with A. Watychowicz regarding responses to same (1.2)

February     Asset                  02/19/19 MR          390 conferences and follow up regarding objections to motion to approve sales with lender's                   0.6          0.1      $39.00
2019         Disposition                                     counsel, A. Porter and K. Duff (.6).
February     Asset                  02/19/19 MR          390 Attention to preparation for upcoming hearing on various motions (1.2)                                    1.2 0.0666667         $26.00
2019         Disposition
February     Asset                  02/19/19 NM          260 office conference with A. Porter and J. Rak regarding closing information for the first tranche           0.9         0.15      $39.00
2019         Disposition                                     of property sales (.9)
February     Asset                  02/19/19 NM          260 correspond with M. Rachlis regarding same (.1)                                                            0.1 0.0055556          $1.44
2019         Disposition


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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
February     Asset                  02/19/19 NM              260 Study objections to the motion to approve the sale of the first tranche and to approve the              0.9         0.05      $13.00
2019         Disposition                                         process for the second tranche and correspond (.9)
February     Asset                  02/19/19 NM              260 study EquityBuild email account for responses relating to motion to approve sale of the first           0.1 0.0166667          $4.33
2019         Disposition                                         tranche of properties (.1).
February     Asset                  02/20/19 AEP             390 Study, edit, and revise proposed e-mail from J. Rak to buyers of properties in first marketing          0.1 0.0166667          $6.50
2019         Disposition                                         tranche regarding information needed to complete preparation of closing documents (.1)

February     Asset                  02/20/19 JR              140 Further drafting of closing documents (1.9)                                                             1.9 0.3166667         $44.33
2019         Disposition
February     Asset                  02/20/19 JR              140 research of same needed for closing of all properties (2.2).                                            2.2 0.3666667         $51.33
2019         Disposition
February     Asset                  02/20/19 NM              260 study draft email responses from A. Watychowicz in response to questions from investors                 0.2 0.0333333          $8.67
2019         Disposition                                         and creditors resulting from the filing of the motion to approve the sale of the first tranche
                                                                 (.2).
February     Asset                  02/21/19 AEP             390 Review updated title history for remaining properties in first marketing tranche (7549-59 S             1.2          0.3     $117.00
2019         Disposition                                         Essex, 5001 S Drexel, 6160 S Martin Luther King, and 8100 S Essex), revise title commitment
                                                                 accordingly, and return to title company with revisions.
February     Asset                  02/21/19 JR              140 Continue drafting closing documents for all properties in the first tranche (5.1)                       5.1         0.85     $119.00
2019         Disposition
February     Asset                  02/21/19 JR              140 exchange correspondence with buyer's counsel regarding buyer information in preparation                 0.3         0.15      $21.00
2019         Disposition                                         for closing (.3).
February     Asset                  02/22/19 AEP             390 Review special exceptions on updated title commitments to ensure all modifications were                 0.4 0.0666667         $26.00
2019         Disposition                                         properly made.
February     Asset                  02/25/19 AEP             390 review updated title commitments and responses received from buyers' counsel and revise                 1.1 0.1833333         $71.50
2019         Disposition                                         closing checklists accordingly (1.1).
February     Asset                  02/25/19 AEP             390 Meeting with J. Rak regarding all presently outstanding closing-related tasks associated with           1.3 0.0722222         $28.17
2019         Disposition                                         sales of properties in first marketing tranche and information to be assembled and
                                                                 populated into closing checklists for properties in second marketing tranche (1.3)

February     Asset                  02/25/19 JR              140 office conference with A. Porter reviewing closing documents and title documents that need              1.3 0.2166667         $30.33
2019         Disposition                                         to be sent to title company for the first tranche (1.3)
February     Asset                  02/25/19 JR              140 exchange correspondence with A. Porter sending deed for review (.1)                                     0.1       0.025        $3.50
2019         Disposition
February     Asset                  02/26/19 JR              140 exchange correspondence with title company attorney to inquire about closing documents                  0.1 0.0166667          $2.33
2019         Disposition                                         (.1)
February     Asset                  02/26/19 JR              140 update closing checklists with new buyer information that was provided by buyer's counsel               2.8 0.4666667         $65.33
2019         Disposition                                         (2.8).
February     Asset                  02/27/19 JR              140 exchange correspondence with updates received from buyer counsel and added on all                       2.7         0.45      $63.00
2019         Disposition                                         closing documents for the first tranche (2.7).
February     Asset                  02/27/19 JR              140 Complete and email broker waiver of liens to A. Porter for the first tranche (.2)                       0.2 0.0333333          $4.67
2019         Disposition
February     Asset                  02/27/19 JR              140 updated all checklists with updated closing documents (1.8)                                             1.8          0.3      $42.00
2019         Disposition


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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Asset                  02/28/19 JR              140 exchange correspondence with attorney from the title company regarding approval of                        0.1 0.0166667          $2.33
2019         Disposition                                         closing documents (.1).
February     Business               02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412          $0.41
2019         Operations                                          property expenses, and communicate same to K. Duff (.2)
February     Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                          violation (.2)
February     Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                          in receivership portfolio (1.9).
February     Business               02/08/19 ED              390 review documents relating to loans and other claims on properties being considered for sale               1.3 0.2166667         $84.50
2019         Operations                                          (1.3).
February     Business               02/12/19 ED              390 review draft of Receiver's motion to approve sale (1.5)                                                   1.5         0.25      $97.50
2019         Operations
February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/15/19 ED              390 draft and send email messages to lenders' counsel regarding motion for sale of properties                 0.7 0.1166667         $45.50
2019         Operations                                          (.7).
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for                0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                            0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                   0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                          0.6         0.03      $11.70
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of                     4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                   0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                               0.8         0.04      $15.60
2019         Operations
February     Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                                   0.3 0.0028302          $1.10
2019         Operations
February     Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                               0.8 0.0119403          $1.67
2019         Operations
February     Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in                0.1 0.0014925          $0.21
2019         Operations                                          receivership (.1)
February     Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                                   0.4 0.0059701          $0.84
2019         Operations




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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
February     Claims                 02/06/19 MR          390 Issues regarding secured creditors and follow up on sales process.                                    0.4 0.0666667         $26.00
2019         Administration
             & Objections

February     Claims                 02/20/19 NM          260 study background information and telephone call with investor regarding motion to approve             0.2 0.0333333          $8.67
2019         Administration                                  the sale of the first tranche and claims (.2).
             & Objections

March 2019 Asset                    03/12/19 KBD         390 conference with asset manager and counsel regarding properties sales, listings, strategy,             1.8 0.0545455         $21.27
           Disposition                                       valuation, and timing (1.8)
March 2019 Asset                    03/17/19 KBD         390 Exchange further correspondence with M. Rachlis and real estate broker regarding lenders'             0.6          0.1      $39.00
           Disposition                                       objections as to efforts to sell properties.
March 2019 Asset                    03/18/19 KBD         390 Prepare for hearing before Judge Kim regarding motions to approve listing and sale of                 0.5 0.0277778         $10.83
           Disposition                                       properties (.5)
March 2019 Asset                    03/18/19 KBD         390 various discussions with M. Rachlis, real estate broker, A. Porter regarding same (.5)                0.5 0.0277778         $10.83
           Disposition
March 2019 Asset                    03/18/19 KBD         390 appear for hearing before Judge Kim regarding motions to approve listing and sale of                  2.5 0.1388889         $54.17
           Disposition                                       properties (2.5).
March 2019 Asset                    03/19/19 KBD         390 Telephone conference with A. Porter regarding preparation for real estate sale closings,              0.2 0.0333333         $13.00
           Disposition                                       timing, planning, and obtaining water certificates (.2)
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,             0.3 0.0032609          $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/22/19 KBD         390 study correspondence from city official regarding water bills and water certifications and            0.2 0.0333333         $13.00
           Disposition                                       confer with N. Mirjanich and M. Rachlis regarding same (.2)
March 2019 Asset                    03/25/19 KBD         390 Office conference with J. Rak regarding water certifications and communications with city             0.1 0.0166667          $6.50
           Disposition                                       officials with respect to same (.1)
March 2019 Asset                    03/26/19 KBD         390 exchange correspondence with property manager regarding timing for approval of sales (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/27/19 KBD         390 telephone conference with M. Rachlis, A. Porter, and J. Rak regarding property manager liens          0.2 0.0111111          $4.33
           Disposition                                       and closing costs (.2).
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346          $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692          $0.73
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346          $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412          $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925          $0.58
           Operations


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2019 Business                 03/11/19 KBD             390 Study correspondence from property manager regarding tenant move-ins and unpaid real                    0.1 0.0166667          $6.50
           Operations                                            estate taxes (.1)
March 2019 Business                 03/12/19 KBD             390 study information from property manager regarding real estate taxes and exchange                        0.2 0.0029412          $1.15
           Operations                                            correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD             390 study financial reporting from property manager (.4).                                                   0.4 0.0058824          $2.29
           Operations
March 2019 Business                 03/15/19 KBD             390 study property manager financial reporting (.3)                                                         0.3 0.0044118          $1.72
           Operations
March 2019 Business                 03/18/19 KBD             390 exchange correspondence with N. Mirjanich regarding utility bills (.1)                                  0.1 0.0166667          $6.50
           Operations
March 2019 Business                 03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                       0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/20/19 KBD             390 confer and exchange correspondence with J. Rak regarding water bill payments (.1)                       0.1 0.0166667          $6.50
           Operations
March 2019 Business                 03/29/19 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes and study                   0.2         0.05      $19.50
           Operations                                            information relating to same (.2)
March 2019 Claims                   03/14/19 KBD             390 study property manager financial report (.2).                                                           0.2 0.0029851          $1.16
           Administration
           & Objections

March 2019 Asset                    03/01/19 AEP             390 edit and revise current draft of assignment and assumption agreement (.2)                               0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                    03/01/19 AEP             390 teleconference with J. Rak regarding miscellaneous closing document preparation issues (.1)             0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/01/19 AEP             390 edit and revise waiver of real estate broker's lien forwarded by receivership broker (.3)               0.3         0.05      $19.50
           Disposition
March 2019 Asset                    03/01/19 AEP             390 update and revise various closing checklists associated with properties in first marketing              0.2 0.0333333         $13.00
           Disposition                                           tranche (.2).
March 2019 Asset                    03/04/19 JR              140 create and fill out closing documents excel spreadsheet to help keep track of documents                 1.2          0.2      $28.00
           Disposition                                           which are being produced and updated for properties in the first tranche (1.2)

March 2019 Asset                    03/04/19 JR              140 continue drafting updates to closing documents spreadsheet and confirm all the closing                  3.1 0.5166667         $72.33
           Disposition                                           documents are completed and documents that require additional attention (3.1)

March 2019 Asset                    03/04/19 JR              140 Update real estate taxes with accrued interest on the closing checklists for all properties in          0.7 0.1166667         $16.33
           Disposition                                           the first tranche (.7)
March 2019 Asset                    03/04/19 JR              140 corrections made to broker waiver of liens with new signatory (.6).                                     0.6          0.1      $14.00
           Disposition
March 2019 Asset                    03/04/19 MR              390 Follow up on issues regarding sales of first tranche and pending motion on second tranche of            0.7 0.0388889         $15.17
           Disposition                                           properties.
March 2019 Asset                    03/05/19 AEP             390 read, edit, and revise numerous closing documents forwarded by title company and update                 0.3         0.05      $19.50
           Disposition                                           closing spreadsheets accordingly (.3).




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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
March 2019 Asset                    03/05/19 AEP             390 Draft receiver's deed (.4)                                                                                0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                    03/05/19 MR              390 Conferences with E. Duff regarding appraisal issues.                                                      0.4 0.0222222          $8.67
           Disposition
March 2019 Asset                    03/06/19 JR              140 Meeting with A. Porter reviewing changes to closing document checklists regarding the first               1.4 0.2333333         $32.67
           Disposition                                           tranche (1.4)
March 2019 Asset                    03/06/19 JR              140 deleted, added and modified documents on the closing checklist (1.1)                                      1.1 0.1833333         $25.67
           Disposition
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                      2.6 0.0393939          $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/08/19 AEP             390 Meeting with J. Rak and title company underwriter regarding all remaining special                         3.0          0.5     $195.00
           Disposition                                           exceptions on title commitments corresponding to sales of properties in first marketing
                                                                 tranche and approval of proposed forms of conveyance documents (3.0)

March 2019 Asset                    03/12/19 ED              390 Meeting with property managers, K. Duff, M. Rachlis, N. Mirjanich, and A. Porter to analyze               1.9 0.3166667        $123.50
           Disposition                                           and discuss plans for property sales (1.9)
March 2019 Asset                    03/12/19 ED              390 email to property managers to follow up on information relating to same (.2).                             0.2 0.0333333         $13.00
           Disposition
March 2019 Asset                    03/12/19 MR              390 Prepare for and participate in upcoming meeting with SVN on various issues and upcoming                   2.3 0.1277778         $49.83
           Disposition                                           hearing.
March 2019 Asset                    03/12/19 NM              260 Prepare for meeting with real estate broker by studying spreadsheet sent by same and by                   0.4 0.0666667         $17.33
           Disposition                                           comparing same to buildings with code violations (.4)
March 2019 Asset                    03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381         $24.76
           Disposition                                           disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                    03/14/19 NM              260 Correspond with J. Rak regarding closing on the first tranche of properties following housing             0.1 0.0166667          $4.33
           Disposition                                           court because of issues raised with respect to porch repairs and need for funds.

March 2019 Asset                    03/17/19 AEP             390 Meeting with M. Rachlis to review objections to motions to approve sales of properties in                 2.0 0.1111111         $43.33
           Disposition                                           first tranche and marketing of properties in second tranche and prepare responses thereto.

March 2019 Asset                    03/18/19 AEP             390 Read e-mails from title company underwriter regarding changes to receiver's deed and other                3.5 0.5833333        $227.50
           Disposition                                           conveyance documents, begin preparation of first draft of all closing documents for property
                                                                 in first sales tranche (7927- 49 S Essex), update closing checklists accordingly, and prepare e-
                                                                 mail to title underwriters regarding customization of conveyance documents for all other
                                                                 properties in first sales tranche.

March 2019 Asset                    03/18/19 ED              390 Meeting with K. Duff, M. Rachlis, and A. Porter regarding asset sales, lender objections, and             0.9         0.15      $58.50
           Disposition                                           follow-up with lenders and counsel.
March 2019 Asset                    03/18/19 MR              390 Prepare for hearing including review of various motions and relating documents and work                   4.5         0.25      $97.50
           Disposition                                           through same in several discussions with K. Duff and A. Porter (4.5)




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
March 2019 Asset                    03/18/19 MR              390 follow up conferences regarding various objections, hearing and strategy moving forward                   0.9         0.05      $19.50
           Disposition                                           with K. Duff, E. Duff, and A. Porter (.9).
March 2019 Asset                    03/18/19 MR              390 and argue various motions regarding sales of properties before magistrate judge (2.5)                     2.5 0.1388889         $54.17
           Disposition
March 2019 Asset                    03/19/19 AEP             390 Teleconference with K. Duff regarding timing of potential judicial approval of sale of                    0.2 0.0333333         $13.00
           Disposition                                           properties in first marketing tranche and sequencing of preparation of conveyance
                                                                 documents (.2)
March 2019 Asset                    03/19/19 AEP             390 teleconference with J. Rak regarding status of preparation of examiner's worksheets relating              0.5 0.0277778         $10.83
           Disposition                                           to properties in second marketing tranche, sequencing of preparation of conveyance
                                                                 documents associated with properties in first sales tranche, and water certificate issues (.5)

March 2019 Asset                    03/19/19 JR              140 continue working on the title examination on same and note discrepancies on all deeds                     1.9 0.3166667         $44.33
           Disposition                                           provided to us by the title company (1.9).
March 2019 Asset                    03/19/19 JR              140 phone communication with the City of Chicago water department regarding the water                         1.1 0.1833333         $25.67
           Disposition                                           certification process in preparation for closings in the first tranche of properties (1.1)

March 2019 Asset                    03/20/19 AEP             390 prepare presumptively final versions of receiver's deeds, affidavits of title, and bills of sale          0.6          0.3     $117.00
           Disposition                                           for two properties in first sales tranche (7500 S Eggleston and 7549 S Essex) and send
                                                                 specimen copies of same to counsel for prospective purchasers for review and comment,
                                                                 along with status update on judicial review of motion to approve sales (.6)

March 2019 Asset                    03/20/19 AEP             390 Teleconference with K. Duff regarding need for FEIN's of properties in first sales tranche, fire          0.3         0.05      $19.50
           Disposition                                           at property in first sales tranche (7943 S Essex), and status of review of draft motion to
                                                                 approve sale of single-family homes (.3)
March 2019 Asset                    03/20/19 JR              140 Sent the water certification applications to the City of Chicago via the new online portal for            0.5 0.0833333         $11.67
           Disposition                                           properties in the first tranche (.5)
March 2019 Asset                    03/20/19 JR              140 sent additional documents to the City of Chicago per their request (.2)                                   0.2 0.0333333          $4.67
           Disposition
March 2019 Asset                    03/20/19 JR              140 telephone conference with A. Porter regarding the water certifications and the chain of title             0.6          0.1      $14.00
           Disposition                                           regarding same (.6).
March 2019 Asset                    03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                      0.2 0.0222222          $3.11
           Disposition                                           certain closing documents relating to sale of properties.
March 2019 Asset                    03/20/19 MR              390 Attention to various issues at property regarding allocation of property sales.                           0.4 0.0666667         $26.00
           Disposition
March 2019 Asset                    03/21/19 JR              140 Exchange correspondence with the City of Chicago, water department regarding water                        0.5         0.25      $35.00
           Disposition                                           certification applications for properties (7500 Eggleston and 7549 S. Essex) (.5)

March 2019 Asset                    03/21/19 JR              140 email communication with the title company attorney regarding the application process and                 0.2 0.0333333          $4.67
           Disposition                                           confirm the requirements to avoid any delays with closings (.2)
March 2019 Asset                    03/21/19 JR              140 completed water certifications applications online for properties in the first tranche (4.2)              4.2          0.7      $98.00
           Disposition
March 2019 Asset                    03/21/19 JR              140 email communication with A. Porter regarding status of water certifications (.1).                         0.1 0.0166667          $2.33
           Disposition


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  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
March 2019 Asset                    03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary                    0.2 0.0222222          $3.11
           Disposition                                           for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                    03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                        0.1 0.0111111          $1.56
           Disposition
March 2019 Asset                    03/22/19 AEP             390 Create second group of closing documents for all properties in first sales tranche and update              2.5 0.4166667        $162.50
           Disposition                                           closing checklists (2.5)
March 2019 Asset                    03/22/19 JR              140 exchange correspondence with City of Chicago customer service representative regarding                     0.6          0.1      $14.00
           Disposition                                           water certification and forwarding Receiver court order per request (.6)
March 2019 Asset                    03/22/19 JR              140 Exchange correspondence with title company representatives regarding the water                             0.6          0.1      $14.00
           Disposition                                           certifications (.6)
March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,                0.2 0.0019048          $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/25/19 JR              140 review legal description, PINs and address on deeds to confirm consistency (1.4).                          1.4 0.2333333         $32.67
           Disposition
March 2019 Asset                    03/25/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts               0.1 0.0166667          $4.33
           Disposition                                           on first tranche of properties (.1)
March 2019 Asset                    03/26/19 AEP             390 Conference with N. Mirjanich regarding strategy for addressing water issue (.1)                            0.1 0.0166667          $6.50
           Disposition
March 2019 Asset                    03/26/19 AEP             390 teleconference with City of Chicago regarding outstanding water bill issues (.5)                           0.5 0.0833333         $32.50
           Disposition
March 2019 Asset                    03/26/19 AEP             390 conference with J. Rak to review closing checklists for all properties in first sales tranche and          1.5         0.25      $97.50
           Disposition                                           allocate responsibility for remaining items (1.5)
March 2019 Asset                    03/26/19 JR              140 Worked on water certification updates to the closing checklist (.5)                                        0.5 0.0833333         $11.67
           Disposition
March 2019 Asset                    03/26/19 JR              140 office conference with N. Mirjanich, A. Porter and phone conference with City of Chicago                   1.2          0.2      $28.00
           Disposition                                           representatives regarding the water bills and water certifications (1.2)
March 2019 Asset                    03/26/19 JR              140 meeting with A. Porter to go over the closing checklist and update documents in preparation                2.3 0.3833333         $53.67
           Disposition                                           for closing (2.3)
March 2019 Asset                    03/26/19 JR              140 email communication with K. Duff regarding status of phone conference with City of Chicago                 0.1 0.0166667          $2.33
           Disposition                                           water department (.1).
March 2019 Asset                    03/26/19 NM              260 correspond with A. Porter and J. Rak regarding same following call and regarding closings (.3)             0.3         0.05      $13.00
           Disposition
March 2019 Asset                    03/26/19 NM              260 correspond with J. Rak regarding same (.4).                                                                0.4 0.0666667         $17.33
           Disposition
March 2019 Asset                    03/26/19 NM              260 Correspond with City regarding telephone conference relating to outstanding utility accounts               0.7 0.1166667         $30.33
           Disposition                                           on first tranche of properties (.7)
March 2019 Asset                    03/27/19 ED              390 Review draft of listing contract.                                                                          0.3         0.05      $19.50
           Disposition
March 2019 Asset                    03/27/19 JR              140 email correspondence with A. Porter regarding rent roll and the necessary updates from                     0.1 0.0166667          $2.33
           Disposition                                           property management (.1)
March 2019 Asset                    03/27/19 KMP             140 Finalize and file supplement to motion for approval of sale of properties and conferences                  0.3         0.05       $7.00
           Disposition                                           with K. Duff and N. Mirjanich regarding same.


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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
March 2019 Asset                    03/28/19 AEP             390 Conference with J. Rak regarding status of preparation of rent rolls, collection of leases, and          0.3         0.05      $19.50
           Disposition                                           processing of full payment water certificates (.3)
March 2019 Asset                    03/28/19 JR              140 Update past due tax balances for all properties in the first tranche.                                    1.5         0.25      $35.00
           Disposition
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                     1.5 0.0140187          $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                                  0.2 0.0018692          $0.26
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all                  1.8 0.0168224          $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                                 0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).                 0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager                 0.5 0.0073529          $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                          0.1 0.0009346          $0.24
           Operations
March 2019 Business                 03/11/19 AEP             390 review notes of 03/08/19 meeting with title underwriters and hold harmless letters relating              1.9 0.3166667        $123.50
           Operations                                            thereto and update title commitments and closing checklists for all properties in first sales
                                                                 tranche (1.9)
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                        0.4 0.0058824          $2.29
           Operations                                            estate taxes (.4)
March 2019 Business                 03/14/19 ED              390 review list of properties pending CHA move-ins and email to A. Watychowicz regarding same                0.5         0.05      $19.50
           Operations                                            (.5).
March 2019 Business                 03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same               1.8 0.0168224          $4.37
           Operations                                            (1.8)
March 2019 Business                 03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information                  0.2 0.0018692          $0.49
           Operations                                            (.2).
March 2019 Business                 03/20/19 NM              260 send reporting information from property manager to accountant and save same to file (.2)                0.2 0.0029851          $0.78
           Operations
March 2019 Business                 03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                    0.1 0.0009346          $0.13
           Operations
March 2019 Business                 03/22/19 MR              390 prepare for meetings with City (.3)                                                                      0.3 0.0028302          $1.10
           Operations
March 2019 Business                 03/22/19 MR              390 conference call with City, K. Duff and N. Mirjanich (.5)                                                 0.5    0.004717        $1.84
           Operations
March 2019 Business                 03/22/19 NM              260 correspond with M. Rachlis regarding same and send correspondence to City attorney                       0.6          0.1      $26.00
           Operations                                            regarding same and other water issues on properties (.6).
March 2019 Business                 03/22/19 NM              260 correspond with A. Watychowicz and J. Rak regarding water certification and related issues               0.8 0.1333333         $34.67
           Operations                                            at properties in first tranche (.8)
March 2019 Business                 03/26/19 MR              390 Attention to e-mails regarding meeting with City on water related issues.                                0.2 0.0018868          $0.74
           Operations


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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
March 2019 Business                 03/27/19 NM          260 Prepare spreadsheet that includes water utility information to determine outstanding                    1.7 0.2833333         $73.67
           Operations                                        balances regarding same from the City (1.7)
March 2019 Business                 03/28/19 ED          390 meeting with K. Duff and A. Porter (1.3)                                                                1.3 0.1857143         $72.43
           Operations
March 2019 Business                 03/28/19 NM          260 Further work on spreadsheet that includes water utility information to determine                        0.5 0.0833333         $21.67
           Operations                                        outstanding balances regarding same from the City (.5)
March 2019 Claims                   03/11/19 MR          390 Attention to issues for upcoming meeting and lender issues.                                             0.9         0.05      $19.50
           Administration
           & Objections

March 2019 Claims                   03/15/19 MR          390 Review materials in preparation for upcoming hearing.                                                   2.0 0.1111111         $43.33
           Administration
           & Objections

March 2019 Claims                   03/17/19 MR          390 and meeting with A. Porter regarding same (2.5).                                                        2.5 0.1388889         $54.17
           Administration
           & Objections

March 2019 Claims                   03/17/19 MR          390 Prepare for upcoming hearing (3.0)                                                                      3.0 0.1666667         $65.00
           Administration
           & Objections

April 2019   Asset                  04/02/19 KBD         390 office conference with J. Rak regarding logistics and planning for sale of upcoming properties          0.1 0.0166667          $6.50
             Disposition                                     (.1).
April 2019   Asset                  04/08/19 KBD         390 telephone conference with real estate broker regarding same (.1).                                       0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                  04/08/19 KBD         390 Study Judge Kim report and recommendation on sale of first tranche of properties (.2)                   0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/22/19 KBD         390 Study objections to Judge Kim's report and recommendation (.5)                                          0.5 0.0833333         $32.50
             Disposition
April 2019   Asset                  04/23/19 KBD         390 telephone conference with A. Porter regarding approval of motion to sell properties, timing             0.1 0.0166667          $6.50
             Disposition                                     for closings, and preparations for same (.1)
April 2019   Asset                  04/23/19 KBD         390 Appear before Judge Lee for hearing regarding motion to approve the sale of first set of                1.2          0.2      $78.00
             Disposition                                     properties and for interim financing (1.2)
April 2019   Asset                  04/23/19 KBD         390 conference with M. Rachlis regarding same (.3)                                                          0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/23/19 KBD         390 telephone conference with real estate broker regarding approval of sale of properties,                  0.2 0.0333333         $13.00
             Disposition                                     communications with potential property management service providers, and payment of
                                                             property expenses (.2)
April 2019   Asset                  04/23/19 KBD         390 office conference with and review correspondence from J. Rak regarding execution of power               0.1 0.0166667          $6.50
             Disposition                                     of attorney documents for sale of properties (.1).




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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/24/19 KBD         390 Telephone conference with and draft correspondence to bank representative regarding                      0.2 0.0333333         $13.00
             Disposition                                     opening new accounts for real estate sale proceeds (5001-05 S Drexel, 7927-49 S Essex, 8100-
                                                             14 S Essex, 6160-6212 S King) (.2)
April 2019   Asset                  04/24/19 KBD         390 office conference with M. Rachlis regarding payment of utilities, closing timing, and financial          0.2 0.0333333         $13.00
             Disposition                                     strategy (.2)
April 2019   Asset                  04/24/19 KBD         390 analysis of real estate broker commission in connection with sale of first group of properties           0.7 0.1166667         $45.50
             Disposition                                     and draft correspondence to A. Porter regarding same (.7)
April 2019   Asset                  04/24/19 KBD         390 exchange correspondence with bank representative regarding accounts for sale proceeds                    0.1 0.0166667          $6.50
             Disposition                                     (.1).
April 2019   Asset                  04/24/19 KBD         390 office conferences with A. Porter regarding closing proceeds and communications with title               0.2 0.0333333         $13.00
             Disposition                                     company regarding sale closings (.2)
April 2019   Asset                  04/24/19 KBD         390 office conferences with A. Porter regarding closings, bank accounts, and broker commission               0.3         0.05      $19.50
             Disposition                                     (.3)
April 2019   Asset                  04/24/19 KBD         390 study draft proposed order and correspondence from A. Porter regarding proposed order                    0.1 0.0166667          $6.50
             Disposition                                     relating to approval of sale of properties (.1)
April 2019   Asset                  04/24/19 KBD         390 office conference with A. Porter regarding timing for real estate sale closings and planning             0.1 0.0166667          $6.50
             Disposition                                     with respect to same (.1)
April 2019   Asset                  04/24/19 KBD         390 telephone conference with real estate broker regarding closings, planning, and commission                0.2 0.0333333         $13.00
             Disposition                                     (.2)
April 2019   Asset                  04/25/19 KBD         390 Prepare for closing of real estate sales and study documents regarding same with A. Porter               0.5 0.0833333         $32.50
             Disposition                                     and J. Rak (.5)
April 2019   Asset                  04/25/19 KBD         390 exchange correspondence with real estate broker regarding anticipated sales in relation to               0.2 0.0333333         $13.00
             Disposition                                     acquisition prices (.2).
April 2019   Asset                  04/26/19 KBD         390 Telephone conferences with A. Porter regarding broker's commission calculation (.2)                      0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/26/19 KBD         390 telephone conference with broker regarding same (.1)                                                     0.1 0.0166667          $6.50
             Disposition
April 2019   Asset                  04/28/19 KBD         390 draft correspondence to A. Porter regarding sale of properties and reimbursement of                      0.3         0.05      $19.50
             Disposition                                     expenses (.3).
April 2019   Asset                  04/29/19 KBD         390 office conferences with A. Porter and J. Rak regarding planning for real estate sales closings           1.0 0.1666667         $65.00
             Disposition                                     (1.0).
April 2019   Business               04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                        0.2 0.0111111          $4.33
             Operations
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                           0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                             0.1 0.0014925          $0.58
             Operations
April 2019   Business               04/10/19 KBD         390 Exchange correspondence with property manager regarding payment of taxes to ensure CHA                   0.1          0.1      $39.00
             Operations                                      move (7549 Essex) (.1)
April 2019   Business               04/12/19 KBD         390 study correspondence from city official regarding efforts to collect outstanding water bills             0.2 0.0333333         $13.00
             Operations                                      and exchange correspondence with N. Mirjanich regarding same (.2)
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                    0.6 0.0056075          $2.19
             Operations


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824          $2.29
             Operations
April 2019   Business               04/23/19 KBD             390 study analyses from E. Duff regarding potential use of funds and properties with positive NOI          0.3 0.0176471          $6.88
             Operations                                          (.3).
April 2019   Business               04/26/19 KBD             390 exchange correspondence with bank representatives regarding wire transfers for property                0.3         0.15      $58.50
             Operations                                          management expenses and utility bills (.3)
April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with property management regarding recent updated rent roll                    0.2 0.0333333          $4.67
             Disposition                                         and to send to us for all properties in the first tranche (.2)
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding status of judge's approval of sale of              0.1 0.0166667          $2.33
             Disposition                                         first tranche (.1)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/04/19 JR              140 Review leases and rent roll for the first tranche (4.7)                                                4.7 0.7833333        $109.67
             Disposition
April 2019   Asset                  04/04/19 JR              140 exchange correspondence with property managers requesting additional leases (.4).                      0.4          0.2      $28.00
             Disposition
April 2019   Asset                  04/04/19 JR              140 exchange correspondence with the City of Chicago water department following up on status               0.6          0.1      $14.00
             Disposition                                         of water certification (.6)
April 2019   Asset                  04/05/19 JR              140 email communication with A. Porter regarding same (.1)                                                 0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/05/19 JR              140 Update closing statements for properties in the first tranche and email to E. Duff for                 1.2          0.2      $28.00
             Disposition                                         properties in the first tranche (1.2)
April 2019   Asset                  04/05/19 JR              140 exchange correspondence with City of Chicago water department regarding water                          0.3         0.05       $7.00
             Disposition                                         certifications, requesting cancellation of two water certification applications (.3).

April 2019   Asset                  04/05/19 NM              260 Correspond with J. Rak, City water department, and K. Duff regarding full payment                      0.4 0.0666667         $17.33
             Disposition                                         certificates for the first tranche of properties.
April 2019   Asset                  04/08/19 AEP             390 read report and recommendation issued by Magistrate Judge Kim (.2)                                     0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/08/19 JR              140 exchange correspondence with the City of Chicago water department representative and A.                0.6          0.1      $14.00
             Disposition                                         Porter regarding same (.6)
April 2019   Asset                  04/08/19 JR              140 created a water certificate property payment spreadsheet (2.5).                                        2.5 0.4166667         $58.33
             Disposition


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
April 2019   Asset                  04/08/19 KMP             140 Briefly review Judge Kim's report on the sale of certain real estate and discuss same with K.           0.2 0.0333333          $4.67
             Disposition                                         Duff.
April 2019   Asset                  04/08/19 MR              390 conferences regarding same (.4)                                                                         0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/08/19 MR              390 follow up on various issues on property disposition (.3).                                               0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/08/19 MR              390 Attention to court orders (.6)                                                                          0.6          0.1      $39.00
             Disposition
April 2019   Asset                  04/08/19 NM              260 correspond with J. Rak regarding same and impact on closing and water certifications for                0.3         0.05      $13.00
             Disposition                                         same properties (.3).
April 2019   Asset                  04/08/19 NM              260 Study court order on motion to approve sale of first tranche of properties and correspond               0.7 0.1166667         $30.33
             Disposition                                         with K. Duff, M. Rachlis, and E. Duff regarding same (.7)
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak, N. Mirjanich, and Chicago Water Department representative                   0.5 0.0833333         $32.50
             Disposition                                         regarding potential expediting of full payment certificates in connection with closings of
                                                                 properties in first sales tranche (.5)
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding remaining tasks associated with                   0.3         0.05      $19.50
             Disposition                                         closings of properties in first sales tranche and sequencing issues (.3).
April 2019   Asset                  04/09/19 AEP             390 teleconference with J. Rak and N. Mirjanich regarding full payment water certificate                    0.3         0.05      $19.50
             Disposition                                         expiration dates, timing on issuances of new certifications, impact on closing schedule,
                                                                 discrepancies between leases and rent rolls, and other closing preparation issues (.3)

April 2019   Asset                  04/09/19 JR              140 Exchange correspondence with A. Porter and N. Mirjanich regarding communication with the                1.2          0.2      $28.00
             Disposition                                         City of Chicago water department regarding new applications for timely water certifications
                                                                 in preparation for closing (1.2)
April 2019   Asset                  04/09/19 JR              140 work on online applications for water certification for properties (7549 S. Essex and 7927 S.           1.5         0.75     $105.00
             Disposition                                         Essex) (1.5)
April 2019   Asset                  04/09/19 JR              140 exchange correspondence with City of Chicago representative regarding issues with re-                   1.6 0.2666667         $37.33
             Disposition                                         submitting water certifications through the online portal (1.6).
April 2019   Asset                  04/09/19 NM              260 correspond with J. Rak and A. Porter regarding same in advance of call with City (.4)                   0.4 0.0666667         $17.33
             Disposition
April 2019   Asset                  04/09/19 NM              260 Correspond with J. Rak regarding issues with outstanding water bills and waters certifications          0.3         0.05      $13.00
             Disposition                                         for the first tranche of properties to sell (.3)
April 2019   Asset                  04/09/19 NM              260 telephone conference with City regarding same (.2)                                                      0.2 0.0333333          $8.67
             Disposition
April 2019   Asset                  04/09/19 NM              260 correspond with A. Porter and J. Rak regarding same following call (.5).                                0.5 0.0833333         $21.67
             Disposition
April 2019   Asset                  04/10/19 AEP             390 Lengthy meeting with J. Rak to review all remaining closing issues associated with four of the          3.8         0.95     $370.50
             Disposition                                         properties in first sales tranche (5001 S Drexel, 8100 S Essex, 7549 S Essex, and 7502 S
                                                                 Eggleston) (3.8)
April 2019   Asset                  04/10/19 AEP             390 attention to various closing issues, create final master closing checklist, and allocate                3.2 0.5333333        $208.00
             Disposition                                         responsibility for outstanding tasks (3.2).
April 2019   Asset                  04/10/19 JR              140 submitted applications through City online application portal (.8)                                      0.8 0.1333333         $18.67
             Disposition


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Asset                  04/10/19 JR              140 telephone conference and email communication with the City of Chicago IT department                    1.2          0.2      $28.00
             Disposition                                         regarding online portal application issue (1.2)
April 2019   Asset                  04/10/19 JR              140 Assisted A. Porter in reviewing closing documents for additional mark up and finalization              3.8         0.95     $133.00
             Disposition                                         (3.8)
April 2019   Asset                  04/10/19 NM              260 Correspond with A. Porter and J. Rak regarding code violations on first tranche of properties          0.4 0.0666667         $17.33
             Disposition                                         being sold.
April 2019   Asset                  04/11/19 AEP             390 Conferences with J. Rak regarding continuing efforts to obtain water certifications and                0.3         0.05      $19.50
             Disposition                                         efforts to pay delinquent account balances at closing (.3)
April 2019   Asset                  04/11/19 AEP             390 review amended lien waivers received from receivership broker, teleconference with                     0.4 0.0666667         $26.00
             Disposition                                         receivership broker regarding waiver of lien, and conference with K. Duff regarding potential
                                                                 resolution (.4)
April 2019   Asset                  04/11/19 JR              140 Exchange correspondence with the title company regarding payment of water bills at closing             1.2          0.2      $28.00
             Disposition                                         and preparation for the closings (1.2)
April 2019   Asset                  04/11/19 JR              140 email communication with City of Chicago IT department regarding expiration of new water               0.2 0.0333333          $4.67
             Disposition                                         certification applications (.2)
April 2019   Asset                  04/11/19 JR              140 modify and review closing documents in preparation for closing at the end of the month for             2.9 0.4833333         $67.67
             Disposition                                         the first tranche (2.9).
April 2019   Asset                  04/11/19 JR              140 email follow up to A. Porter regarding same (.1)                                                       0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/11/19 JR              140 email communication to N. Mirjanich regarding same (.1)                                                0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/11/19 JR              140 emails with broker regarding revised commission statements and broker's lien for properties            0.8 0.1333333         $18.67
             Disposition                                         in the first tranche (.8)
April 2019   Asset                  04/12/19 JR              140 Follow up communication with the title company attorney regarding the status of payment                0.1 0.0166667          $2.33
             Disposition                                         of the water certification at closing (.1)
April 2019   Asset                  04/12/19 JR              140 exchange correspondence with N. Mirjanich regarding meeting with City of Chicago water                 0.2 0.0333333          $4.67
             Disposition                                         department representatives regarding water bills and housing court matters (.2)

April 2019   Asset                  04/12/19 JR              140 update water certificate spreadsheet with the new expiration dates (.3)                                0.3         0.05       $7.00
             Disposition
April 2019   Asset                  04/12/19 NM              260 Update A. Porter with all housing and administrative court orders for properties in the first          0.2 0.0333333          $8.67
             Disposition                                         tranche of sales.
April 2019   Asset                  04/15/19 JR              140 review property manager's waiver of lien for management company and sent to property                   1.2          0.3      $42.00
             Disposition                                         manager (1.2)
April 2019   Asset                  04/15/19 JR              140 review notices to tenants and forward to buyer's counsel for approval for properties (7500             1.6          0.8     $112.00
             Disposition                                         Eggleston and 7549 S. Essex) (1.6)
April 2019   Asset                  04/15/19 JR              140 exchange correspondence with management company after final review of lien waivers (1.3)               1.3       0.325       $45.50
             Disposition
April 2019   Asset                  04/15/19 JR              140 Exchange correspondence with management company regarding additional tenant                            0.8 0.1333333         $18.67
             Disposition                                         information on the rent roll in preparation for closing (.8)
April 2019   Asset                  04/15/19 JR              140 created spreadsheet for rent roll for closings (.2).                                                   0.2         0.05       $7.00
             Disposition




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                      0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 conference with J. Rak regarding status of preparation and collection of closing documents               0.1 0.0166667          $6.50
             Disposition                                         associated with first sales tranche (.1)
April 2019   Asset                  04/18/19 JR              140 Exchange correspondence with management company team regarding closing documents                         0.6          0.1      $14.00
             Disposition                                         for properties in the first tranche.
April 2019   Asset                  04/19/19 AEP             390 Teleconference with title company underwriter regarding special exceptions on title policy,              1.5         0.25      $97.50
             Disposition                                         interpretation of federal orders supporting waivers of certain title exceptions, form of future
                                                                 deeds to be issued by receiver in connection with future property sales, and charges at
                                                                 closing.
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd                3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                    1.0    0.047619       $18.57
             Disposition
April 2019   Asset                  04/19/19 MR              390 conferences regarding issues on sales and use of proceeds (.4).                                          0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/22/19 AEP             390 Meeting with J. Rak and title company representative regarding final inventory and approval              1.5         0.25      $97.50
             Disposition                                         of all documents required for closing, updates to title commitments, and scheduling issues.

April 2019   Asset                  04/22/19 JR              140 Meet with A. Porter prior to closing at the title company to discuss closing documents (.2)              0.2 0.0333333          $4.67
             Disposition
April 2019   Asset                  04/22/19 JR              140 meeting with title company representative to discuss closing procedure and review closing                1.3 0.2166667         $30.33
             Disposition                                         documents (1.3)
April 2019   Asset                  04/22/19 JR              140 email to A. Porter regarding lien for property manager (.1)                                              0.1 0.0166667          $2.33
             Disposition
April 2019   Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                            0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge                5.0 0.2380952         $92.86
             Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                  04/23/19 AEP             390 Teleconference with K. Duff regarding potential timing of closings of unencumbered                       0.1         0.05      $19.50
             Disposition                                         properties in first sales tranche (7549 S Essex and 7500 S Eggleston) (.1)

April 2019   Asset                  04/23/19 AEP             390 review, analyze, and update closing checklists for same two unencumbered properties in first             0.5 0.0833333         $32.50
             Disposition                                         sales tranche and communicate with prospective purchase regarding potential scheduling of
                                                                 closing (.5)
April 2019   Asset                  04/23/19 AEP             390 read all e-mails sent between J. Rak and property managers during preceding week and                     0.3         0.05      $19.50
             Disposition                                         respond as needed (.3).
April 2019   Asset                  04/23/19 JR              140 Exchange correspondence with A. Porter regarding the approved motion for sale for                        1.2          0.2      $28.00
             Disposition                                         properties in the first tranche (1.2)
April 2019   Asset                  04/23/19 JR              140 exchange correspondence with property managers regarding leases and rent roll in                         1.3 0.2166667         $30.33
             Disposition                                         preparation for closing of same (1.3)




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated       Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours            Fees
April 2019   Asset                  04/23/19 JR              140 corrections and revisions to rent roll on all properties for the first tranche in preparation for          4.8          0.8        $112.00
             Disposition                                         closing (4.8).
April 2019   Asset                  04/23/19 MR              390 attend hearing (1.2)                                                                                       1.2          0.2         $78.00
             Disposition
April 2019   Asset                  04/23/19 MR              390 Confer with K. Duff regarding issues for hearing (.9)                                                      0.9         0.15         $58.50
             Disposition
April 2019   Asset                  04/23/19 MR              390 further work in preparation for hearing (2.6)                                                              2.6 0.4333333           $169.00
             Disposition
April 2019   Asset                  04/23/19 MR              390 conferences and follow up regarding same (.3).                                                             0.3         0.05         $19.50
             Disposition
April 2019   Asset                  04/24/19 AEP             390 continue preparation of conveyance documents for two properties being sold (7500 S                         1.5         0.75        $292.50
             Disposition                                         Eggleston & 7549 S Essex) (1.5)
April 2019   Asset                  04/24/19 AEP             390 Meetings with J. Rak to review closing checklists on two properties (7500 S Eggleston & 7549               2.0               1     $390.00
             Disposition                                         S Essex) set for closing, including review of updated title commitments, as-yet uncompleted
                                                                 conveyance documents, information still required from purchasers, bureaucratic and
                                                                 technological obstacles to issuance of full payment water certificates, resolution of dispute
                                                                 over payment of brokerage commissions, computation of closing credits based on certified
                                                                 rent roll, and other pertinent issues (2.0)

April 2019   Asset                  04/24/19 AEP             390 conference calls with title company representative regarding mechanics of payment of water                 0.3         0.05         $19.50
             Disposition                                         charges at closing and form of approval order to be recorded (.3)

April 2019   Asset                  04/24/19 AEP             390 conference with J. Rak regarding completion of certified rent rolls and procedure for                      0.4 0.0666667            $26.00
             Disposition                                         computation of closing credit to purchaser in connection with proration of monthly rents
                                                                 (.4).
April 2019   Asset                  04/24/19 AEP             390 conferences with K. Duff regarding expected sales proceeds, establishment of segregated                    0.5 0.0833333            $32.50
             Disposition                                         bank accounts, brokerage commission issues, and timing of closings (.5)

April 2019   Asset                  04/24/19 AEP             390 read notification of docket entry and proposed order approving sale of first tranche, and                  0.5 0.0833333            $32.50
             Disposition                                         revise proposed order to comport with report and recommendation adopted by trial judge
                                                                 for entry of judicial order acceptable to title company (.5)
April 2019   Asset                  04/24/19 JR              140 Office conference with A. Porter in preparation for closings on properties in the first tranche            3.4          1.7        $238.00
             Disposition                                         (7549 S. Essex and 7500 Eggleston) (3.4)
April 2019   Asset                  04/24/19 JR              140 exchange correspondence with title company and property managers regarding same (1.6)                      1.6          0.8        $112.00
             Disposition
April 2019   Asset                  04/24/19 JR              140 email communication to title company representative sending court order approving first                    0.1 0.0166667             $2.33
             Disposition                                         tranche sale of properties (.1)
April 2019   Asset                  04/24/19 MR              390 Attention to revised order and other issues for closing.                                                   0.2 0.0333333            $13.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconferences with title company representatives regarding last-minute issues (.7)                       0.7 0.1166667            $45.50
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconference with receivership broker regarding finalization of agreement regarding                      0.2 0.0333333            $13.00
             Disposition                                         payment of commissions (.2)


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                            Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                             Hours         Fees
April 2019   Asset                  04/25/19 AEP             390 review, proofread, and revise certified rent rolls (1.2)                                                    1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 Finalize all closing documents (4.0)                                                                        4.0 0.6666667        $260.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 teleconferences with buyer's counsel regarding purchaser satisfaction of specified closing                  0.3         0.05      $19.50
             Disposition                                         conditions (.3)
April 2019   Asset                  04/25/19 AEP             390 revise and submit seller's closing figures (1.2)                                                            1.2          0.2      $78.00
             Disposition
April 2019   Asset                  04/25/19 AEP             390 oversee document execution and notarization process (.4).                                                   0.4 0.0666667         $26.00
             Disposition
April 2019   Asset                  04/25/19 JR              140 Prepare for closing for properties (7549 S. Essex and 7500 Eggleston), work on closing                      6.4          3.2     $448.00
             Disposition                                         documents, rent rolls, closing amounts, and related documents (6.4)
April 2019   Asset                  04/25/19 JR              140 exchange correspondence with A. Watychowicz regarding certification of order for closing                    0.1 0.0166667          $2.33
             Disposition                                         (.1)
April 2019   Asset                  04/25/19 JR              140 exchange correspondence with property manager regarding closing documents (.2).                             0.2          0.2      $28.00
             Disposition
April 2019   Asset                  04/25/19 MR              390 Attention to closing related issues.                                                                        0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/25/19 SZ              110 In-person certification of court order at the federal court for sale and closing purposes of first          0.7 0.1166667         $12.83
             Disposition                                         tranche of properties.
April 2019   Asset                  04/26/19 AEP             390 Prepare for and attend closings of two receivership properties (7500 S Eggleston and 7549 S                 3.0          1.5     $585.00
             Disposition                                         Essex) (3.0)
April 2019   Asset                  04/26/19 AEP             390 teleconference with K. Duff regarding resolution of brokerage commission issue and prepare                  0.4 0.0666667         $26.00
             Disposition                                         updated lien waivers (.4)
April 2019   Asset                  04/26/19 AEP             390 conferences with J. Rak and title underwriter regarding planning for ensuing week's closings                0.5 0.0833333         $32.50
             Disposition                                         (.5)
April 2019   Asset                  04/26/19 AEP             390 teleconference with receivership broker regarding resolution of commission issue (.3).                      0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/26/19 JR              140 attend closing for same (3.2)                                                                               3.2          1.6     $224.00
             Disposition
April 2019   Asset                  04/26/19 JR              140 exchange correspondence regarding wire confirmation with the title company, K. Duff and K.                  0.1         0.05       $7.00
             Disposition                                         Pritchard (.1)
April 2019   Asset                  04/26/19 JR              140 work with A. Porter prior to closing to discuss last minute details of closing (.5)                         0.5         0.25      $35.00
             Disposition
April 2019   Asset                  04/26/19 JR              140 Prepare and finalize documents for closing for properties (7500 S. Eggleston, 7549 S. Essex)                2.9         1.45     $203.00
             Disposition                                         (2.9)
April 2019   Asset                  04/26/19 JR              140 exchange correspondence with K. Pritchard and K. Duff regarding payment of water balances                   0.6          0.3      $42.00
             Disposition                                         for same (.6).
April 2019   Asset                  04/26/19 KMP             140 Conference with J. Rak regarding outstanding utility bills on sold properties (7500-08 S.                   0.3         0.15      $21.00
             Disposition                                         Eggleston & 7549-59 S Essex) and submit payments for same online (.3).
April 2019   Asset                  04/26/19 MR              390 follow up on various issues regarding property sales (.3)                                                   0.3         0.05      $19.50
             Disposition




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Asset                  04/26/19 MR              390 Attention to issues on closing related issues (.2)                                                     0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/27/19 AEP             390 Assemble revised title commitments for all eight remaining unsold properties in first                  2.5 0.4166667        $162.50
             Disposition                                         marketing tranche, compare special exceptions on revised commitments to special
                                                                 exceptions on prior commitments, and update closing checklists accordingly (2.5)

April 2019   Asset                  04/27/19 AEP             390 assemble all pleadings and orders associated with pending actions encumbering unsold                   1.0 0.1666667         $65.00
             Disposition                                         properties and forward same to counsel for respective purchasers with suggestions to
                                                                 defend future hearings and reminders that title will be conveyed subject to government
                                                                 proceedings (1.0)
April 2019   Asset                  04/27/19 AEP             390 multiple communications with receivership brokers and asset managers regarding                         1.0 0.1666667         $65.00
             Disposition                                         finalization of lien waivers (1.0).
April 2019   Asset                  04/28/19 AEP             390 review title invoices, check property tax balances, and update seller's closing figures for            0.5 0.0833333         $32.50
             Disposition                                         anticipated conveyances (.5).
April 2019   Asset                  04/28/19 JR              140 Exchange correspondence with the title company and A. Porter regarding water                           0.3         0.15      $21.00
             Disposition                                         certifications for properties (7500 S. Eggleston and 7549 S. Essex).
April 2019   Asset                  04/29/19 AEP             390 communication with property manager regarding adequacy of lien waiver (.2)                             0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/29/19 AEP             390 communication with K. Duff regarding impact of property tax reductions on closings (.2)                0.2 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/29/19 AEP             390 conferences with K. Duff and M. Rachlis regarding resolution of amounts claimed on                     0.2 0.0333333         $13.00
             Disposition                                         property manager's lien waivers (.2)
April 2019   Asset                  04/29/19 AEP             390 review e-mails regarding scheduling of closings, wire transfer issues, and other matters (.3)          0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/29/19 JR              140 update and prepare documents and meet with K. Duff and A. Porter to work on execution of               3.8 0.6333333         $88.67
             Disposition                                         sales documents (3.8)
April 2019   Asset                  04/29/19 KMP             140 Conference with K. Duff and J. Rak regarding required payment of outstanding tax bills and             0.2 0.0333333          $4.67
             Disposition                                         other issues related to upcoming closing.
April 2019   Asset                  04/29/19 MR              390 Conferences regarding closing issues.                                                                  0.3         0.05      $19.50
             Disposition
April 2019   Asset                  04/30/19 AEP             390 communications with property managers regarding reimbursements of property tax                         0.3         0.05      $19.50
             Disposition                                         advances at closings (.3)
April 2019   Asset                  04/30/19 AW              140 Prepare correspondence to tenants regarding change of ownership.                                       0.7         0.35      $49.00
             Disposition
April 2019   Asset                  04/30/19 JR              140 prepare envelopes and send notices to tenants from closing on properties (7500 Eggleston               0.7         0.35      $49.00
             Disposition                                         and 7549 S. Essex) (.7)
April 2019   Business               04/01/19 KMP             140 review banking documents to prepare reply to inquiries (.2)                                            0.2 0.0333333          $4.67
             Operations
April 2019   Business               04/01/19 KMP             140 Communications with N. Mirjanich and E. Duff regarding accountant's inquiries relating to              0.2 0.0333333          $4.67
             Operations                                          property-specific expenses and income (.2)
April 2019   Business               04/01/19 NM              260 revise spreadsheet and correspondence to water department regarding outstanding water                  1.2          0.2      $52.00
             Operations                                          balances and correspond with J. Rak regarding same (1.2)




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest              2.1 0.0196262          $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                              0.3 0.0028037          $0.39
             Operations
April 2019   Business               04/03/19 ED              390 confer with K. Duff regarding funds sent to receivership estate from title company (.1)                  0.1 0.0166667          $6.50
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence with A. Porter regarding same (.1).                                                 0.1 0.0166667          $6.50
             Operations
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,               0.3 0.0028302          $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/03/19 NM              260 revise and send letter and spreadsheet to creditor regarding outstanding utilities and                   0.5 0.0833333         $21.67
             Operations                                          sending bills for same to property managers (.5)
April 2019   Business               04/04/19 NM              260 correspond with J. Rak regarding leases on properties (.1).                                              0.1         0.05      $13.00
             Operations
April 2019   Business               04/08/19 NM              260 study and exchange correspondence relating to outstanding water utility balances (.2).                   0.2 0.0333333          $8.67
             Operations
April 2019   Business               04/11/19 AEP             390 review property tax and water delinquency spreadsheets, update preliminary closing                       1.2          0.2      $78.00
             Operations                                          statements for all properties in first sales tranche, and begin preparation of sources and uses
                                                                 spreadsheet to guide near-term cash management strategy (1.2).

April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                  0.2 0.0029412          $1.15
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                         0.2 0.0029412          $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 NM              260 Exchange correspond with City and internally regarding outstanding water balances and                    0.3         0.05      $13.00
             Operations                                          meeting regarding same.
April 2019   Business               04/15/19 NM              260 correspond with J. Rak, A. Porter, and City attorney regarding scheduling call relating to               0.2 0.0333333          $8.67
             Operations                                          outstanding water balances and payment of same (.2).
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                      3.9 0.0364486          $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/16/19 NM              260 Study and respond to email correspondence relating to City litigation and water meeting and              0.3         0.05      $13.00
             Operations                                          study emails in EB account.
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                         0.8 0.0074766          $2.92
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)            2.6 0.0242991          $3.40
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                       2.5 0.0362319          $5.07
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order               4.2 0.0392523          $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                  1.4 0.0130841          $1.83
             Operations




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with               1.5 0.0217391          $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                     1.8    0.026087       $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/23/19 ED              390 Prepare analysis of outstanding tax liabilities for properties with positive net operating               0.8         0.04      $15.60
             Operations                                          income (.8)
April 2019   Business               04/24/19 KMP             140 attention to court orders granting motions to approve sale and for interim financing (.1).               0.1 0.0166667          $2.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                   0.5 0.0046729          $0.65
             Operations
April 2019   Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                     0.8 0.0115942          $4.52
             Administration
             & Objections

May 2019     Asset                  05/01/19 KBD             390 office conference with A. Porter and J. Rak regarding closing documentation (.5)                         0.5       0.125       $48.75
             Disposition
May 2019     Asset                  05/01/19 KBD             390 Meet and exchange correspondence with A. Porter and J. Rak regarding recent closings and                 0.9         0.18      $70.20
             Disposition                                         accounting for sales proceeds and expenses (.9)
May 2019     Asset                  05/06/19 KBD             390 discuss plans for payment of water and water certifications for real estate closing with J. Rak          0.1 0.0166667          $6.50
             Disposition                                         (.1).
May 2019     Business               05/01/19 KBD             390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                        0.1 0.0009346          $0.36
             Operations
May 2019     Business               05/03/19 KBD             390 Discuss communications with city officials relating to outstanding water bills with N.                   0.2 0.0333333         $13.00
             Operations                                          Mirjanich (.2)
May 2019     Business               05/06/19 KBD             390 Analysis of spreadsheet from city officials relating to outstanding and past water bills (.2)            0.2 0.0333333         $13.00
             Operations
May 2019     Business               05/20/19 KBD             390 study spreadsheets relating to water accounts for various properties (.2)                                0.2 0.0029851          $1.16
             Operations
May 2019     Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                         0.2 0.0018692          $0.73
             Operations
May 2019     Asset                  05/01/19 JR              140 exchange correspondence with broker regarding tax bill for the first tranche (.2)                        0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/02/19 JR              140 review payment of real estate property taxes submitted by title company from sales of the                1.2          0.2      $28.00
             Disposition                                         first tranche (1.2)
May 2019     Asset                  05/03/19 JR              140 prepare for city meeting regarding water bills, full payment certificates and housing court              2.1         0.35      $49.00
             Disposition                                         with N. Mirjanich and A. Porter (2.1)
May 2019     Asset                  05/03/19 JR              140 meeting with City of Chicago water department (1.2).                                                     1.2          0.2      $28.00
             Disposition
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                                 2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                  05/13/19 JR              140 create an executed closing document checklist and organize executed closing documents to                 2.9 0.4833333         $67.67
             Disposition                                         the corresponding files for properties that closed in the first tranche (2.9)




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                  05/15/19 AEP             390 schedule closing of sale of final receivership property in first tranche and provide drafts of          0.2 0.0333333         $13.00
             Disposition                                         revised conveyance documents to purchasers' counsel (.2)
May 2019     Asset                  05/15/19 ED              390 Confer with N. Mirjanich regarding contacts for lenders to receive notice of sale.                      0.2 0.0333333         $13.00
             Disposition
May 2019     Asset                  05/15/19 JR              140 email A. Porter closing statements for properties which closed on the first tranche (.2)                0.2 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/15/19 JR              140 send closing confirmation to management company regarding the last closing on the first                 0.1 0.0166667          $2.33
             Disposition                                         tranche (.1).
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                  05/16/19 JR              140 exchange correspondence with A. Porter regarding closing statements from the first tranche              0.1 0.0166667          $2.33
             Disposition                                         (.1)
May 2019     Asset                  05/16/19 JR              140 organize executed closing documents from the first tranche and place in corresponding                   0.6          0.1      $14.00
             Disposition                                         folder (.6)
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806        $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776          $0.63
             Disposition                                         (.3)
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax            2.3 0.0214953          $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                        0.8 0.0074766          $1.05
             Operations
May 2019     Business               05/03/19 NM              260 attend meeting for same (1.0)                                                                           1.0 0.1666667         $43.33
             Operations
May 2019     Business               05/03/19 NM              260 prepare for meeting with City water and billing department and correspond with A. Porter                1.7 0.2833333         $73.67
             Operations                                          and J. Rak regarding same (1.7)
June 2019    Asset                  06/07/19 KBD             390 Telephone conference with real estate broker regarding real estate broker commission (.2)               0.2 0.0028571          $1.11
             Disposition
June 2019    Business               06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                              0.1 0.0009346          $0.36
             Operations
June 2019    Business               06/07/19 KBD             390 study correspondence regarding allocation of funds for property management expenses (.2)                0.2          0.1      $39.00
             Operations
June 2019    Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence                   0.4 0.0037383          $1.46
             Operations                                          with J. Rak regarding same (.4)
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794          $4.84
             Disposition




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215        $1.57
             Disposition
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495          $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                  06/17/19 JR              140 exchange correspondence with property manager regarding rent roll for the second/third                  0.2 0.0142857          $2.00
             Disposition                                         tranche of properties (.2).
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/19/19 MR              390 Attention to issues on purchase and sale agreement issues regarding upcoming sales (.8)                 0.8 0.1333333         $52.00
             Disposition
June 2019    Asset                  06/19/19 MR              390 conferences with K. Duff regarding same (.3).                                                           0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                  06/21/19 JR              140 Update checklists for the second and third tranche with the updated real estate tax amounts             1.8 0.1285714         $18.00
             Disposition                                         (1.8)
June 2019    Asset                  06/24/19 MR              390 Attention to purchase and sales agreements.                                                             0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/25/19 MR              390 Attention to upcoming sales issues.                                                                     0.3         0.05      $19.50
             Disposition
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333          $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667          $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Business               06/06/19 KMP             140 attention to communications from accountant regarding spreadsheets containing financial                 0.1 0.0090909          $1.27
             Operations                                          information for various properties (.1)
June 2019    Business               06/06/19 KMP             140 conference with N. Mirjanich regarding same, and review documents and prior email                       1.1          0.1      $14.00
             Operations                                          communications relating to same (1.1).
June 2019    Business               06/07/19 KMP             140 attention to further communications from accountant regarding spreadsheets containing                   0.1 0.0090909          $1.27
             Operations                                          financial information for various properties (.1).
June 2019    Business               06/24/19 KMP             140 communications with E. Duff regarding allocation of insurance premium refund (.1)                       0.1         0.02       $2.80
             Operations




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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2019    Business               06/27/19 ED              390 email correspondence with insurance broker regarding policy renewals for sold properties               0.1 0.0166667          $6.50
             Operations                                          (.1)
June 2019    Business               06/27/19 ED              390 and email correspondence K. Duff, A. Porter, and J. Rak regarding same (.1)                            0.1 0.0166667          $6.50
             Operations
June 2019    Business               06/27/19 ED              390 review of related documents (.2)                                                                       0.2 0.0333333         $13.00
             Operations
July 2019    Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                       0.2 0.0018868          $0.74
             Operations
July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 JR              140 confer with brokers, M. Rachlis, A. Porter and K. Duff relating to the sale of the second and          1.5 0.1071429         $15.00
             Disposition                                         third tranche (1.5)
July 2019    Asset                  07/01/19 JR              140 exchange correspondence with K. Pritchard and E. Duff regarding water payment distribution             0.2 0.0333333          $4.67
             Disposition                                         from the first tranche (.2)
July 2019    Asset                  07/12/19 AEP             390 review and analyze claims documentation submitted by investor-lender including promissory              1.4 0.2333333         $91.00
             Disposition                                         note, mortgage, collateral servicing agreement, and offering memorandum and prepare
                                                                 response to team regarding potential existence of equitable mortgages in favor of certain
                                                                 investor-lenders (1.4).
July 2019    Asset                  07/24/19 JR              140 Exchange correspondence with A. Porter related to sale (.1)                                            0.1 0.0166667          $2.33
             Disposition
July 2019    Asset                  07/24/19 JR              140 exchange correspondence with N. Mirjanich related to wire confirmations regarding the                  0.3         0.05       $7.00
             Disposition                                         closings from the first series of properties and review emails to K. Pritchard (.3)

July 2019    Claims                 07/08/19 SZ              110 email exchange and confer with K. Duff about the same (.4).                                            0.4         0.08       $8.80
             Administration
             & Objections

July 2019    Claims                 07/08/19 SZ              110 created, populated and reviewed list of investors with claims as to EB properties (5001 S.             1.7 0.2833333         $31.17
             Administration                                      Drexel, 6160 S MLK, 7949 S. Essex, 8100 S. Essex, 7500 S. Eggleston, 7547 S. Essex) (1.7)
             & Objections

September    Asset                  09/20/19 KBD             390 Draft correspondence to J. Rak regarding post-closing reconciliation.                                  0.2         0.04      $15.60
2019         Disposition
September    Asset                  09/23/19 KBD             390 study information regarding post-closing reconciliation (.1).                                          0.1 0.0166667          $6.50
2019         Disposition
September    Claims                 09/23/19 KBD             390 Claims analysis relating to funds properties with E. Duff and N. Mirjanich (.6)                        0.6          0.1      $39.00
2019         Administration
             & Objections

September Asset                     09/20/19 AEP             390 teleconference with N. Mirjanich regarding unrecorded mortgages (.2).                                  0.2 0.0333333         $13.00
2019      Disposition


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
September Asset                     09/24/19 NM              260 draft notice to investors with information from Court's order setting briefing schedule on                 0.5 0.0714286         $18.57
2019      Disposition                                            second tranche and Houston motions and correspond with K. Duff and A. Watychowicz
                                                                 regarding the same (.5).
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare                 1.2 0.0116505          $1.63
2019         Operations                                          same.
September    Business               09/23/19 KMP             140 communications with K. Duff and property manager regarding instructions for transfer of                    0.2 0.0666667          $9.33
2019         Operations                                          remaining reserves on sold properties (8100 Essex, 7502 Eggleston, 7549 Essex) to
                                                                 Receivership Estate accounts (.2)
September Claims                    09/04/19 JR              140 review title commitments for the second and third tranche and draft additional creditors                   2.8          0.2      $28.00
2019      Administration                                         claim list (2.8)
          & Objections

September Claims                    09/10/19 NM              260 correspond with K. Duff regarding the same (.1)                                                            0.1 0.0066667          $1.73
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 Confer with N. Mirjanich regarding claims review and analysis, including review and                        2.2 0.3666667        $143.00
2019      Administration                                         discussion of documentation submitted by multiple claimants relating to six properties (2.2)
          & Objections

September Claims                    09/23/19 ED              390 prepare analysis of secured and unsecured claims relating to six properties (2.3)                          2.3 0.3833333        $149.50
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 meet with K. Duff and N. Mirjanich to discuss same (.6)                                                    0.6          0.1      $39.00
2019      Administration
          & Objections

September Claims                    09/23/19 ED              390 legal research relating to claims analysis (.9).                                                           0.9         0.15      $58.50
2019      Administration
          & Objections

October      Asset                  10/07/19 JR              140 exchange communication with property manager forwarding wire instructions regarding                        0.1 0.0166667          $2.33
2019         Disposition                                         same (.1)
October      Asset                  10/07/19 JR              140 confer with K. Duff relating to status of wire instructions regarding post closing reconciliation          0.2 0.0333333          $4.67
2019         Disposition                                         of properties in the first tranche (.2)
October      Asset                  10/18/19 NM              260 Study motions to approve sale of the first tranche and process for second tranche in advance               0.8 0.0444444         $11.56
2019         Disposition                                         of court hearing (.8)
October      Asset                  10/18/19 NM              260 correspond with K. Duff, M. Rachlis, A. Porter, and real estate broker in advance of same (.3).            0.3 0.0166667          $4.33
2019         Disposition
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare                 0.9 0.0087379          $1.22
2019         Operations                                          same.




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November     Asset                  11/15/19 KBD             390 study information regarding sold properties and sales proceeds (.1)                                      0.1 0.0083333         $3.25
2019         Disposition
November     Asset                  11/19/19 KBD             390 study post-closing reconciliation spreadsheet (.1).                                                      0.1 0.0083333         $3.25
2019         Disposition
November     Asset                  11/12/19 JR              140 update spreadsheet with closed properties summary (.3)                                                   0.3       0.025       $3.50
2019         Disposition
November     Asset                  11/15/19 JR              140 finalize closing spreadsheet for properties that already closed (.2)                                     0.2 0.0166667         $2.33
2019         Disposition
November     Asset                  11/18/19 JR              140 exchange communication with E. Duff relating to reconciliation amounts on the closed                     0.4       0.025       $3.50
2019         Disposition                                         properties (.4)
November     Asset                  11/19/19 JR              140 prepare a post-closing reconciliation spreadsheet with properties that closed in the first               0.8 0.1333333        $18.67
2019         Disposition                                         series and update amounts of funds received (.8)
November     Asset                  11/19/19 JR              140 communication with K. Pritchard relating to same and to confirm amounts in account (.1)                  0.1 0.0166667         $2.33
2019         Disposition
November     Asset                  11/19/19 KMP             140 Review bank records to confirm receipt of funds relating to post-closing reconciliations from            0.4 0.0285714         $4.00
2019         Disposition                                         property managers on sold properties, and communicate with J. Rak regarding same.

November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                          reports (.4)
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business               11/18/19 ED              390 Confer with J. Rak regarding reporting of final account reconciliations with property                    0.4 0.0333333        $13.00
2019         Operations                                          managers sold properties (.4)
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019         Operations
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019         Operations                                          information for review (.3)
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961         $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                2.8 0.0271845         $3.81
2019         Operations                                          (2.8).
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                  0.4 0.0038835         $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders               0.5 0.0048544         $1.89
2019         Administration                                      (.5).
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                           3.8 0.0368932        $14.39
2019         Administration
             & Objections

December     Asset                  12/12/19 JR              140 review email from E. Duff related to a request to update spreadsheet with closed properties          0.1 0.0076923         $1.08
2019         Disposition                                         information (.1)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/17/19 JR              140 exchange correspondence with K. Duff relating to updates to post closing spreadsheet (.1)            0.1 0.0071429         $1.00
2019         Disposition
December     Asset                  12/23/19 JR              140 Analyze and update closing spreadsheet with closed property information (1.0)                        1.0 0.0588235         $8.24
2019         Disposition
December     Asset                  12/23/19 JR              140 forward same to K. Duff, E. Duff and K. Pritchard (.2).                                              0.2 0.0117647         $1.65
2019         Disposition
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                          reports (.2)
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019         Operations




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379          $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049          $6.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/06/20 JR              140 Review emails and update post-closing reconciliation spreadsheet with several closed                 0.5 0.0294118          $4.12
2020         Disposition                                         properties (.5)
January      Asset                  01/14/20 AEP             390 conference with K. Duff, E. Duff, and N. Mirjanich regarding claims process information or           0.6          0.1      $39.00
2020         Disposition                                         other documentation relating to alleged security interests in property (.6)

January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)             1.6    0.015534        $2.17
2020         Disposition
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare             1.2 0.0116505          $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/23/20 JR              140 produce spreadsheet consisting of closed properties for 2019 (.2).                                   0.2 0.0117647          $1.65
2020         Disposition
January      Asset                  01/31/20 JR              140 exchange correspondence with property manager related to utility accounts for various                0.4          0.4      $56.00
2020         Disposition                                         buildings in the portfolio (.4)
January      Asset                  01/31/20 JR              140 review files for 1099's related to properties that sold (.9)                                         0.9 0.0529412          $7.41
2020         Disposition


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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Asset                  01/31/20 JR              140 exchange correspondence with utility regarding same (.5)                                                 0.5          0.5      $70.00
2020         Disposition
January      Asset                  01/31/20 JR              140 exchange correspondence with the title companies regarding same (.7)                                     0.7 0.0411765          $5.76
2020         Disposition
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544          $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020         Operations
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020         Operations
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020         Operations
January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534        $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835          $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505          $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417          $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252          $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                      remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

February     Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                          Duff regarding same (.4)
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                     5.2 0.2888889        $40.44
2020         Disposition
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846         $1.13
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231         $0.75
2020         Operations
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231         $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting               0.5 0.0048077         $1.88
2020         Administration                                      reports.
             & Objections

March 2020 Asset                    03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                        1.4 0.0777778        $10.89
           Disposition
March 2020 Asset                    03/05/20 JR              140 update closed property spreadsheet (.4)                                                                0.4 0.0222222         $3.11
           Disposition




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2020 Asset                    03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet                 0.2 0.0111111         $1.56
           Disposition                                           regarding closed properties and forward same (.2)
March 2020 Asset                    03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                    0.6 0.0333333         $4.67
           Disposition
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold               0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                          0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/10/20 KMP             140 Study communications with insurance broker regarding reduction in remaining premium                   0.2 0.0153846         $2.15
           Operations                                            finance payments based on sales of properties.
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058         $5.57
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

April 2020   Claims                 04/11/20 KBD             390 Study correspondence regarding analysis of fund claims.                                               0.2 0.0222222         $8.67
             Administration
             & Objections




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  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2020   Claims                 04/17/20 KBD         390 Work with J. Wine on claims process and identification of fund claimants (.3)                         0.3         0.05      $19.50
             Administration
             & Objections

April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations
April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126          $1.14
             Operations
April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272         $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379          $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709          $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961          $2.65
             Administration                                  accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED          390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087          $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417          $0.76
             Administration                                  claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED          390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126          $1.14
             Administration
             & Objections




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                   0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.               0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                  0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                  0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                        0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/02/20 KBD             390 Exchange correspondence with J. Rak regarding listing and sales history (.3)                        0.3 0.0176471         $6.88
             Disposition




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  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
May 2020     Asset                  05/20/20 KBD             390 Telephone conference and exchange correspondence with J. Rak regarding property listings            0.3 0.0176471         $6.88
             Disposition                                         and sales (.3)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923         $3.00
             Operations
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709         $0.14
             Disposition                                         companies (.1)
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957         $1.22
             Disposition                                         (.2).
May 2020     Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462         $0.54
             Disposition                                         closings (.1)
May 2020     Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016       $2.24
             Disposition                                         (.4)
May 2020     Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008       $1.12
             Disposition
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214         $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                 regarding missing reports.
May 2020     Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED              390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                          proceeds of encumbered properties and property reporting regarding remaining restoration
                                                                 amounts by property (.5).
May 2020     Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                          regarding same
May 2020     Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/21/20 KMP             140 confer with E. Duff regarding refunds and reductions for insurance premiums in connection           0.4 0.1333333        $18.67
             Operations                                          with sold properties and compile correspondence relating to same (.4).

May 2020     Business               05/22/20 ED              390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                          correspondence.
May 2020     Business               05/26/20 ED              390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 ED              390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/29/20 ED              390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations


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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                      0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                           0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                       0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections            0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                        1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property            0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                               0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                   0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)          0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                  0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums            0.1 0.0009709         $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports          0.5 0.0048544         $1.89
             Administration                                  (.5)
             & Objections




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2020    Claims                 06/06/20 KBD             390 Attention to responses to claimants.                                                                  0.4 0.0363636        $14.18
             Administration
             & Objections

June 2020    Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                     0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)               0.9     0.05625       $7.88
             Disposition
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004       $0.56
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063        $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797        $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215         $6.91
             Disposition
June 2020    Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012       $1.68
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961         $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466         $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087         $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                 0.2 0.0019417         $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                    0.2 0.0019417         $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)              0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                             0.5 0.0048544         $1.89
             Operations
June 2020    Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting               0.6 0.0058252         $2.27
             Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                 unsold properties (.6)
June 2020    Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                            0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)            0.2 0.0019417         $0.76
             Operations


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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2020    Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                  0.4 0.0222222         $5.78
             Administration                                      properties with no institutional debt (.4).
             & Objections

July 2020    Asset                  07/07/20 KBD             390 review notice to claimants of property sales and correspondence regarding same (.2)                    0.2 0.0333333        $13.00
             Disposition
July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                        0.1 0.0027778         $0.39
             Disposition
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294         $3.29
             Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations


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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                      0.5 0.0048544         $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                 0.8    0.007767       $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                      0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                          0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                          0.1 0.0009709         $0.38
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                              2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                 0.4 0.0038835         $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding           0.2 0.0019417         $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                               1.7 0.0165049         $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).             0.6 0.0058252         $2.27
             Administration
             & Objections

August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126         $1.14
            Operations                                           accounting reports (.3)


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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                              0.1 0.0009709         $0.38
            Operations
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                0.3 0.0029126         $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835         $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
September    Asset                  09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455         $1.77
2020         Disposition
September    Asset                  09/01/20 AW              140 Communicate with J. Rak regarding issue relating to property sales, compile pleadings                1.6 0.1066667        $14.93
2020         Disposition                                         related to same, and email K. Duff complete set of pleadings.
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417         $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126         $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417         $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126         $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417         $0.76
2020         Operations
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505         $4.54
2020         Operations                                          (1.2)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417         $0.27
2020         Operations                                          (.2).
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505         $4.54
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571         $1.11
2020         Operations
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388         $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379         $1.22
2020         Disposition
October      Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455         $0.64
2020         Disposition
October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544         $0.68
2020         Disposition                                         information (.5)
October      Business               10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016       $6.24
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379         $3.41
2020         Operations


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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/02/20 ED          390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417         $0.76
2020         Operations
October      Business               10/02/20 ED          390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709         $0.38
2020         Operations
October      Business               10/06/20 ED          390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709         $0.38
2020         Operations
October      Business               10/06/20 ED          390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126         $1.14
2020         Operations                                      requiring revision (.3).
October      Business               10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767       $3.03
2020         Operations                                      comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                             reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087         $3.79
2020         Operations
October      Business               10/08/20 ED          390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024       $9.36
2020         Operations
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020         Operations                                      reports (.5).
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED          390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016       $6.24
2020         Operations
October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                      property manager (.2)
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.




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7549-59 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October      Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                          reports, and review of related financial information.
November     Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022       $3.08
2020         Disposition
November     Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868         $0.26
2020         Disposition
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                          property reports (.3)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619         $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571         $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a                0.9 0.0155172         $2.17
2020         Disposition                                         discrepancy (.9)
December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report            0.1 0.0017241         $0.24
2020         Disposition                                         (.1)


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7549-59 S Essex Avenue                                           EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
December     Business               12/01/20 ED          390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.               0.2 0.0019048          $0.74
2020         Operations
December     Business               12/04/20 ED          390 email correspondence with accountant and J. Rak regarding review of draft August                     0.1 0.0009524          $0.37
2020         Operations                                      accounting reports and preparation of draft September reports (.1).
December     Business               12/09/20 ED          390 review and analysis of draft April and May accounting reports received from accountant and           2.1         0.02       $7.80
2020         Operations                                      related financial reporting from property managers (2.1).
December     Business               12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                0.1 0.0009524          $0.37
2020         Operations                                      preparation of September property accounting reports (.1)
December     Business               12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from            2.6 0.0247619          $9.66
2020         Operations                                      property managers (2.6).
December     Business               12/10/20 ED          390 continue review of June property accounting reports (1.2)                                            1.2 0.0114286          $4.46
2020         Operations
December     Business               12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                1.2 0.0114286          $4.46
2020         Operations                                      accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                   1.5 0.0142857          $5.57
2020         Operations
December     Business               12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to          0.9 0.0085714          $3.34
2020         Operations                                      properties (.9).
December     Business               12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and            0.4 0.0038095          $1.49
2020         Operations                                      changes (.4)
December     Business               12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule               0.4 0.0038095          $1.49
2020         Operations                                      of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December     Business               12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                     0.2 0.0019048          $0.74
2020         Operations                                      premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
January      Business               01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                     0.2 0.0019048          $0.74
2021         Operations
January      Business               01/18/21 KBD         390 Exchange correspondence with E. Duff regarding restoration of funds relating to property             0.2 0.0019048          $0.74
2021         Operations                                      expenses.
January      Claims                 01/13/21 KBD         390 review information regarding claimant's claims (7442-54 S Calumet Avenue, 7600-10 S                  0.1 0.0166667          $6.50
2021         Administration                                  Kingston Avenue, 8326-32 S Ellis Avenue, CCF2) (.1).
             & Objections

January      Claims                 01/24/21 KBD         390 exchange correspondence with E. Duff regarding communication with lenders' counsel                   0.1 0.0009524          $0.37
2021         Administration                                  relating to accounting reports (.1).
             & Objections




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7549-59 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase            2.2 0.0203704         $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)               0.5 0.0047619         $1.86
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                     0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                       0.1 0.0009524         $0.37
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                          report (.2)
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                               0.4 0.0038095         $1.49
2021         Operations
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration           1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)


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7549-59 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021         Operations
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Claims                 01/07/21 JR              140 Review proof of claims and update mortgagee claim information for properties (7500-06 S              5.9 0.8428571       $118.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
             & Objections                                        7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.9)

January      Claims                 01/07/21 JR              140 telephone call with J. Wine regarding claim updates (7500-06 S Eggleston Avenue, 3030-32 E           0.2 0.0285714         $4.00
2021         Administration                                      79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-
             & Objections                                        55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January      Claims                 01/11/21 JR              140 Work with J. Wine regarding review of claimant forms (7500-06 S Eggleston Avenue, 3030-32            1.6 0.2285714        $32.00
2021         Administration                                      E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
             & Objections                                        8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).




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7549-59 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
January      Claims                 01/15/21 JR              140 Review proof of claims (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S                2.8          0.4      $56.00
2021         Administration                                      Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
             & Objections                                        Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/18/21 JR              140 further correspondence with J. Wine relating to claims and resolution of several questions          0.3 0.0428571          $6.00
2021         Administration                                      and issues (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue,
             & Objections                                        2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex
                                                                 Avenue) (.3).
January      Claims                 01/18/21 JR              140 review proof of claim forms and update claims review spreadsheet (7500-06 S Eggleston               5.4 0.7714286        $108.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.4)

January      Claims                 01/18/21 JR              140 Review email from J. Wine and notes regarding proof of claim forms and exchange                     0.4 0.0571429          $8.00
2021         Administration                                      correspondence regarding same (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-
             & Objections                                        09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.4)
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                0.6 0.0057143          $0.80
2021         Administration                                      lenders.
             & Objections

January      Claims                 01/20/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           6.6 0.9428571        $132.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/21/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           4.6 0.6571429         $92.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/22/21 JR              140 exchange correspondence with S. Zjalic and J. Wine regarding same (7500-06 S Eggleston              0.2 0.0285714          $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

January      Claims                 01/22/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           1.5 0.2142857         $30.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.5)

January      Claims                 01/25/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           4.8 0.6857143         $96.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (4.8).




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7549-59 S Essex Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
January      Claims                 01/25/21 SZ              110 Reviewed claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59 S Essex             4.6 1.5333333        $168.67
2021         Administration                                      Avenue, 8047-55 S Manistee Avenue).
             & Objections

January      Claims                 01/26/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              4.2          0.6      $84.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/26/21 SZ              110 Continued to review claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59          3.1 1.0333333        $113.67
2021         Administration                                      S Essex Avenue, 8047-55 S Manistee Avenue).
             & Objections

January      Claims                 01/27/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              5.1 0.7285714        $102.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/28/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              5.6          0.8     $112.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/28/21 SZ              110 Continued to review claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59          3.2 1.0666667        $117.33
2021         Administration                                      S Essex Avenue, 8047-55 S Manistee Avenue).
             & Objections

January      Claims                 01/29/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              6.7 0.9571429        $134.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                0.4 0.0036697          $0.51
2021         Disposition                                         and status of same (.4)
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)            0.7 0.0118644          $4.63
2021         Operations
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional               0.4 0.0067797          $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation              0.2 0.0019048          $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,                3.2 0.0304762          $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                  1.1 0.0104762          $4.09
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                    3.6 0.0342857          $4.80
2021         Operations


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7549-59 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                           0.2 0.0019048          $0.27
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial           0.3 0.0028571          $0.40
2021         Operations                                          reporting.
February     Claims                 02/01/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           1.2 0.1714286         $24.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Claims                 02/15/21 JR              140 Review EBF mortgagee list and update with claim amounts from proof of claims applications           2.4 0.3428571         $48.00
2021         Administration                                      (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E
             & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue)
                                                                 (2.4)
February     Claims                 02/15/21 JR              140 review emails from S. Zjalic regarding EBF mortgagee claim amounts (7500-06 S Eggleston             0.2 0.0285714          $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

February     Claims                 02/16/21 JR              140 Review EB Mortgagee lists and update proof of claims loan amounts (7500-06 S Eggleston              1.6 0.2285714         $32.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.6)

March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations
March 2021 Claims                   03/03/21 JRW             260 Study notes regarding claims against funds (CCF1 and CCF2) (.3)                                     0.3         0.05      $13.00
           Administration
           & Objections

March 2021 Claims                   03/05/21 JR              140 update and provide requested content related to the claims distribution project (7500-06 S          1.2 0.1714286         $24.00
           Administration                                        Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
           & Objections                                          7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.2).




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7549-59 S Essex Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
March 2021 Claims                   03/05/21 JR              140 Review email from J. Wine and further exchange correspondence with J. Wine related to the           0.5 0.0714286        $10.00
           Administration                                        claims distribution project (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S
           & Objections                                          Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.5)
April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                    0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation             0.1 0.0009524         $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and          0.1 0.0009524         $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-           0.3 0.0028571         $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence              1.4 0.0133333         $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021 Asset                    04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to            0.3 0.0047619         $0.67
           Disposition                                           repairs, provide closed property worksheet ([see F] (.3)
April 2021 Asset                    04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)           0.1 0.0015873         $0.22
           Disposition                                           (.1)
April 2021 Asset                    04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)               0.2    0.003125       $0.44
           Disposition                                           (.2)
April 2021 Business                 04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857         $2.00
           Operations
April 2021 Business                 04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524         $0.13
           Operations                                            respond accordingly (.1)
April 2021 Business                 04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762         $4.27
           Operations
May 2021 Business                   05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                    1.3    0.012381       $1.73
           Operations
June 2021 Business                  06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent             0.5 0.0047619         $1.86
           Operations                                            and forward to accountant for use in preparation of reports (.5)
July 2021  Asset                    07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                0.2 0.0018868         $0.26
           Disposition                                           regarding closed properties status (see D) (.2)
September Claims                    09/08/21 KBD             390 study correspondence and legal research regarding claims analysis (7500-06 S Eggleston              0.4 0.0666667        $26.00
2021       Administration                                        Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S
           & Objections                                          Manistee Avenue, 7927-29 S Essex Avenue) (.4).

September Claims                    09/08/21 AEP             390 Legal research and communication of findings to K. Duff and J. Wine in connection with              1.7 0.2833333       $110.50
2021      Administration                                         analysis of claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                           Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).




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7549-59 S Essex Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
September Claims                    09/08/21 JRW         260 legal research and related correspondence with A. Porter regarding analysis of findings (7301-           1.8          0.3      $78.00
2021      Administration                                     09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th
          & Objections                                       Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)

September Claims                    09/10/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes           0.7 0.1166667         $45.50
2021      Administration                                     and legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/10/21 JRW         260 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds               0.7 0.1166667         $30.33
2021      Administration                                     (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E
          & Objections                                       78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)

September Claims                    09/10/21 JRW         260 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S               0.4 0.0666667         $17.33
2021      Administration                                     Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
          & Objections                                       8047-55 S Manistee Avenue) (.4)

September Claims                    09/10/21 MR          390 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S          0.7 0.1166667         $45.50
2021      Administration                                     Stewart Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street,
          & Objections                                       7549-59 S Essex Avenue, 8047- 55 S Manistee Avenue).




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                                                                                                   EquityBuild - Property Allocation Summary

Property:                                                         8047-55 S Manistee Avenue
General Allocation % (Pre 01/29/21):                                                 1.2252284%
General Allocation % (01/29/21 Onward, Claims Only):                            1.3165924885%

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     15       8047-55 S Manistee Avenue                                                    48.71      $             13,184.28                         123.61     $            29,226.48             172.32     $             42,410.76
                 Asset Disposition [4]                                                        2.58    $                  843.66                          84.49   $             19,721.23               87.07   $              20,564.89
                 Business Operations [5]                                                      2.59    $                  778.80                          16.67   $               4,598.05              19.26   $                  5,376.85
                 Claims Administration & Objections [6]                                     43.55     $              11,561.82                           22.45   $               4,907.20              65.99   $              16,469.02




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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8047-55 S Manistee Avenue                                                 EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                   123.61
Specific Allocation Fees:         $       29,226.48



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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8047-55 S Manistee Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                   2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                    0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                            0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                   1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                  0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)           0.2 0.0029412         $1.15
            Administration
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference               0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                    0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related           0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                       0.1 0.0009346         $0.36
2018         Disposition


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                 0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                             0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential               0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market               0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).          0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)              0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                   0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                0.1 0.0014706         $0.57
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding               0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft              0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                            0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management            0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                  0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding            0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                  0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                          0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                   0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding               0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                               0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                        2.5 0.0233645         $9.11
2018         Operations


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                  0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of          0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                 0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                  0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                  0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                     0.1 0.0009434         $0.25
2018         Operations
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of             0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                 0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                     3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio           2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                                    1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                  0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                                 0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                              0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                      0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                              2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                       0.9 0.0084112         $3.28
2018         Disposition


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8047-55 S Manistee Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                   0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                    0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement               0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same                0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                             0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                   0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)                 1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                                0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                                0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key             2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                               0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                      0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                       0.1 0.0014706         $0.57
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                             0.3 0.0044118         $1.72
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.                  0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild                0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                             2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                   0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                       1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                            0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                     0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to            0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                          0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                  1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.          2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                        0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                         0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for               2.1 0.0196262         $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,          2.0 0.0186916         $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                            0.1 0.0009346         $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                0.1 0.0009346         $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                   0.1 0.0014925         $0.21
2018         Operations
October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                     0.5 0.0046729         $1.82
2018         Administration
             & Objections




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Asset                  11/23/18 AEP         390 Research chain of corporate ownership for receivership entity (Chicago Capital Fund 2 LLC)             0.5 0.1666667        $65.00
2018         Disposition                                     and send all supporting documents to team.
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                              0.3 0.0028037         $1.09
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692         $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729         $1.82
2018         Operations
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other                 0.7 0.0065421         $2.55
2018         Operations                                      related issues (.7)
December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations
December     Business               12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706         $0.57
2018         Operations                                      reporting (.1)
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346         $0.36
2018         Operations




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
December     Business               12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                          issues (2.8)
December     Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                          to address City violations and his plan for same (1.3)
December     Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                          income from property manager and conference with K. Duff regarding same.

December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
January      Business               01/10/19 KBD             390 study property management report (.2)                                                                   0.2 0.0029412         $1.15
2019         Operations
January      Business               01/10/19 KBD             390 study property manager financial reporting (.4).                                                        0.4 0.0059701         $2.33
2019         Operations
January      Business               01/11/19 KBD             390 study property manager financial reporting and draft correspondence to property manager                 0.3 0.0044118         $1.72
2019         Operations                                          regarding same (.3)
January      Business               01/15/19 KBD             390 study financial reporting from other property manager (.3).                                             0.3 0.0044118         $1.72
2019         Operations
January      Business               01/15/19 KBD             390 study correspondence from city official regarding request for meeting (.1)                              0.1 0.0009434         $0.37
2019         Operations
January      Business               01/24/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding meeting with City                  0.2 0.0018868         $0.74
2019         Operations                                          officials regarding scofflaw list (.2).
January      Business               01/25/19 KBD             390 review correspondence from N. Mirjanich regarding meeting with city officials regarding                 0.1 0.0009434         $0.37
2019         Operations                                          portfolio compliance and disposition issues (.1)
January      Business               01/16/19 KMP             140 Review online transaction history for Receivership Estate account to confirm receipt of gross           0.1 0.0014706         $0.21
2019         Operations                                          rents for December (.1)




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls             0.2 0.0029412         $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 additional telephone conference with real estate broker representatives regarding listing               0.2 0.0133333         $5.20
2019         Disposition                                     prices for next group of properties to sale (.2)
February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383         $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037         $1.09
2019         Operations
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                   0.1 0.0009346         $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824         $2.29
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                     0.2 0.0029412         $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                          0.2 0.0029412         $1.15
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                 0.1 0.0009346         $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                               0.1 0.0014706         $0.57
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                     0.1 0.0014706         $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                 0.1 0.0009346         $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                     0.1 0.0014925         $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2019         Operations




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  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
February     Business               02/20/19 KBD             390 study correspondence from A. Porter regarding delinquent property taxes (.1)                              0.1       0.005        $1.95
2019         Operations
February     Business               02/20/19 KBD             390 Exchange correspondence with property manager and E. Duff regarding housing authority                     0.2 0.0029412          $1.15
2019         Operations                                          documentation (.2)
February     Business               02/21/19 KBD             390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real                 0.6         0.03      $11.70
2019         Operations                                          estate taxes and lender communications (.6).
February     Business               02/21/19 KBD             390 Review housing authority documentation from property manager (.1)                                         0.1 0.0014706          $0.57
2019         Operations
February     Business               02/22/19 KBD             390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                        0.1       0.005        $1.95
2019         Operations
February     Business               02/24/19 KBD             390 Draft correspondence to asset manager regarding affordable housing contact (.1)                           0.1 0.0014706          $0.57
2019         Operations
February     Business               02/26/19 KBD             390 Analysis of financial information and real estate tax obligations (3.9)                                   3.9       0.195       $76.05
2019         Operations
February     Business               02/26/19 KBD             390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                       1.1       0.055       $21.45
2019         Operations
February     Business               02/26/19 KBD             390 exchange correspondence with city official regarding impact of court ruling on property                   0.1 0.0009434          $0.37
2019         Operations                                          maintenance and repairs (.1)
February     Business               02/28/19 KBD             390 exchange communication and telephone conference with property manager representatives                     0.4 0.0059701          $2.33
2019         Operations                                          regarding real estate taxes and financial reporting (.4)
February     Asset                  02/18/19 AEP             390 Participate in receivership team meeting with outside broker regarding properties proposed                1.0 0.3333333        $130.00
2019         Disposition                                         to be included in third marketing tranche (1.0)
February     Asset                  02/18/19 JR              140 continue office conference regarding further discussion on the portfolio disposition (1.7).               1.7 0.5666667         $79.33
2019         Disposition
February     Asset                  02/18/19 JR              140 Office conference with brokers and attorneys, K. Duff, N. Mirjanich, A. Porter and M. Rachlis             1.9 0.6333333         $88.67
2019         Disposition                                         regarding the portfolio disposition (1.9)
February     Asset                  02/18/19 MR              390 further meetings regarding issues on same (2.0).                                                          2.0 0.1333333         $52.00
2019         Disposition
February     Asset                  02/18/19 NM              260 further correspond with K. Duff, M. Rachlis, and A. Porter regarding same (.5)                            0.5 0.0185185          $4.81
2019         Disposition
February     Asset                  02/18/19 NM              260 strategy and planning with real estate broker and K. Duff, M. Rachlis, and A. Porter regarding            1.9 0.1266667         $32.93
2019         Disposition                                         disposition of second tranche, third tranche, and possible other properties to dispose of (1.9)

February     Business               02/01/19 KMP             140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412          $0.41
2019         Operations                                          property expenses, and communicate same to K. Duff (.2)
February     Business               02/07/19 NM              260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692          $0.49
2019         Operations                                          violation (.2)
February     Business               02/08/19 AEP             390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757        $6.93
2019         Operations                                          in receivership portfolio (1.9).
February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925          $0.21
2019         Operations


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                      0.5 0.0046729          $1.82
2019         Operations
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for          0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                      0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.             0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                    0.6         0.03      $11.70
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of               4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply             0.2 0.0018868          $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                         0.8         0.04      $15.60
2019         Operations
February     Business               02/27/19 ED              390 calls with asset manager regarding property net income information (.3)                             0.3 0.0028302          $1.10
2019         Operations
February     Business               02/28/19 AW              140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in          0.1 0.0014925          $0.21
2019         Operations                                          receivership (.1)
February     Business               02/28/19 AW              140 proofread spreadsheets with attention to PINs accuracy (.8)                                         0.8 0.0119403          $1.67
2019         Operations
February     Business               02/28/19 AW              140 work on reconciliation of property manager payments of 2018 taxes (.4).                             0.4 0.0059701          $0.84
2019         Operations
March 2019   Asset                  03/07/19 KBD             390 draft correspondence to broker same (.1)                                                            0.1 0.0009804          $0.38
             Disposition
March 2019   Asset                  03/07/19 KBD             390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804          $0.38
             Disposition                                         properties for sale (.1)
March 2019   Asset                  03/12/19 KBD             390 conference with asset manager and counsel regarding properties sales, listings, strategy,           1.8 0.0545455         $21.27
             Disposition                                         valuation, and timing (1.8)
March 2019   Asset                  03/28/19 KBD             390 study summary of next group of properties to sell (.3).                                             0.3         0.02       $7.80
             Disposition
March 2019   Business               03/01/19 KBD             390 telephone conference and office conference with N. Mirjanich regarding same (.1)                    0.1 0.0009346          $0.36
             Operations
March 2019   Business               03/01/19 KBD             390 Study correspondence from and office conference with J. Rak regarding real estate tax               0.1 0.0009346          $0.36
             Operations                                          payment issues and logistics (.1)
March 2019   Business               03/01/19 KBD             390 study spreadsheet relating to real estate taxes (.2)                                                0.2 0.0018692          $0.73
             Operations
March 2019   Business               03/05/19 KBD             390 study correspondence from and conference with N. Mirjanich regarding communication with             0.1 0.0009346          $0.36
             Operations                                          former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD             390 study correspondence from E. Duff regarding outstanding real estate taxes and                       0.2 0.0029412          $1.15
           Operations                                            communications with property manager (.2).


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
March 2019 Business                 03/08/19 KBD             390 study correspondence regarding property manager financial reporting (.1).                                 0.1 0.0014925         $0.58
           Operations
March 2019 Business                 03/12/19 KBD             390 study information from property manager regarding real estate taxes and exchange                          0.2 0.0029412         $1.15
           Operations                                            correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD             390 study financial reporting from property manager (.4).                                                     0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/15/19 KBD             390 study property manager financial reporting (.3)                                                           0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/19/19 KBD             390 draft correspondence regarding properties with outstanding real estate taxes (.1)                         0.1 0.0014706         $0.57
           Operations
March 2019 Claims                   03/14/19 KBD             390 study property manager financial report (.2).                                                             0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales               0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                      2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                          1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/12/19 AEP             390 participate in team meeting with receivership brokers regarding properties to be included                 2.0 0.6666667       $260.00
           Disposition                                           within third marketing tranche (2.0).
March 2019 Asset                    03/12/19 NM              260 office conference with real estate broker, K. Duff, M. Rachlis, E. Duff, and A. Porter regarding          2.0 0.0952381        $24.76
           Disposition                                           disposition of third tranche and process for the first and second tranches (2.0)

March 2019 Asset                    03/20/19 KMP             140 Communications with K. Duff and accountant regarding tax ID information required for                      0.2 0.0222222         $3.11
           Disposition                                           certain closing documents relating to sale of properties.
March 2019 Asset                    03/21/19 KMP             140 Communications with K. Duff, A. Porter, and D. Weinberg regarding tax numbers necessary                   0.2 0.0222222         $3.11
           Disposition                                           for completion of closing documents on certain properties to be sold by Receiver (.2)

March 2019 Asset                    03/21/19 KMP             140 telephone conference with government agency regarding means of obtaining same (.1).                       0.1 0.0111111         $1.56
           Disposition
March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,               0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/27/19 JR              140 itemized spreadsheet to reflect past due tax bills from 2017 for payment (.3)                             0.3       0.025       $3.50
           Disposition
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                      1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
March 2019 Business                 03/01/19 KMP             140 prepare form for wire transfer of funds to property manager for property management                    0.3      0.0375        $5.25
           Operations                                            expenses, communications with K. Duff and bank regarding same, and submit form for
                                                                 payment (.3)
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all                1.8 0.0168224          $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                                0.2 0.0018692          $0.26
           Operations
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                               0.1 0.0009346          $0.36
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager               0.5 0.0073529          $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).               0.1 0.0014706          $0.57
           Operations
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                        0.1 0.0009346          $0.24
           Operations
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                      0.4 0.0058824          $2.29
           Operations                                            estate taxes (.4)
March 2019 Business                 03/14/19 ED              390 review list of properties pending CHA move-ins and email to A. Watychowicz regarding same              0.5         0.05      $19.50
           Operations                                            (.5).
March 2019 Business                 03/15/19 NM              260 gather all financial reporting from all property mangers' and send to accountants for same             1.8 0.0168224          $4.37
           Operations                                            (1.8)
March 2019 Business                 03/18/19 NM              260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692          $0.49
           Operations                                            (.2).
March 2019 Business                 03/20/19 NM              260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851          $0.78
           Operations
March 2019 Business                 03/22/19 AW              140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346          $0.13
           Operations
March 2019 Business                 03/22/19 MR              390 prepare for meetings with City (.3)                                                                    0.3 0.0028302          $1.10
           Operations
March 2019 Business                 03/22/19 MR              390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717        $1.84
           Operations
March 2019 Business                 03/26/19 MR              390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868          $0.74
           Operations
March 2019 Business                 03/28/19 ED              390 meeting with K. Duff and A. Porter (1.3)                                                               1.3 0.1857143         $72.43
           Operations
April 2019 Asset                    04/02/19 KBD             390 draft correspondence to real estate broker regarding planning for liquidation of next tranche          0.1 0.0066667          $2.60
           Disposition                                           of properties (.1)
April 2019 Asset                    04/09/19 KBD             390 Telephone conference with broker regarding update on timing for second tranche of                      0.2 0.0074074          $2.89
           Disposition                                           properties and preparation for third tranche of properties (.2)
April 2019 Asset                    04/12/19 KBD             390 study draft motion for approval of sale of additional properties (.2).                                 0.2 0.0133333          $5.20
           Disposition
April 2019 Asset                    04/13/19 KBD             390 Exchange correspondence with A. Porter regarding motion to approve sale of additional                  0.2 0.0133333          $5.20
           Disposition                                           properties.


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
April 2019   Asset                  04/14/19 KBD         390 Telephone conference with A. Porter regarding motions to approve sale of third tranche of               0.2 0.0133333          $5.20
             Disposition                                     properties and division into three segments.
April 2019   Asset                  04/15/19 KBD         390 Exchange correspondence and office conference with A. Porter regarding motions to                       0.2 0.0133333          $5.20
             Disposition                                     approve sale of third tranche of properties.
April 2019   Asset                  04/16/19 KBD         390 Telephone conference with real estate broker regarding timing for sales and listing additional          0.2 0.0133333          $5.20
             Disposition                                     properties and financing efforts.
April 2019   Asset                  04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                            0.8 0.0087912          $3.43
             Disposition
April 2019   Asset                  04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                     0.6 0.0065934          $2.57
             Disposition
April 2019   Asset                  04/18/19 KBD         390 study draft motion relating to same (.5).                                                               0.5 0.0333333         $13.00
             Disposition
April 2019   Asset                  04/18/19 KBD         390 Exchange correspondence and telephone conference with A. Porter regarding motions to sell               0.4 0.0266667         $10.40
             Disposition                                     third tranche of properties (.4)
April 2019   Asset                  04/18/19 KBD         390 office conferences with E. Duff and K. Pritchard regarding same (.3)                                    0.3         0.02       $7.80
             Disposition
April 2019   Business               04/02/19 KBD         390 study correspondence from J. Rak regarding tax delinquencies (.2)                                       0.2 0.0111111          $4.33
             Operations
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                          0.2 0.0018868          $0.74
             Operations
April 2019   Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                            0.1 0.0014925          $0.58
             Operations
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                   0.6 0.0056075          $2.19
             Operations
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                      0.2 0.0018692          $0.73
             Operations
April 2019   Business               04/15/19 KBD         390 study property manager financial reporting (.4)                                                         0.4 0.0058824          $2.29
             Operations
April 2019   Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                          0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)                0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/26/19 KBD         390 Telephone conference and exchange correspondence with insurance broker regarding                        0.3 0.0029126          $1.14
             Operations                                      efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real                  0.4 0.0037383          $1.46
             Operations                                      estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD         390 exchange correspondence with property managers regarding payment of 2017 real estate                    0.6      0.0375       $14.63
             Operations                                      taxes (.6)
April 2019   Business               04/30/19 KBD         390 Study records for delivering 2017 real estate taxes, several office conferences and exchange            2.5     0.15625       $60.94
             Operations                                      various correspondence with J. Rak and K. Pritchard regarding same, and payment of taxes
                                                             (2.5)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                    0.2 0.0019417          $0.76
             Operations                                          amounts (.2)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                                0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                         0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/04/19 AEP             390 Review latest draft of portfolio spreadsheet, update files to include newly added properties             0.2 0.0666667         $26.00
             Disposition                                         to third marketing and sales tranche, and request title commitments for newly added
                                                                 properties.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                   0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/09/19 JR              140 email communication to A. Porter regarding the third tranche (.1)                                        0.1 0.0333333          $4.67
             Disposition
April 2019   Asset                  04/15/19 AEP             390 Prepare initial drafts of three separate motions to approve the marketing and sales process              7.5          2.5     $975.00
             Disposition                                         for third tranche of properties in the receivership estate, including revised bid instructions,
                                                                 revised publication notices, and separate forms of proposed orders.

April 2019   Asset                  04/16/19 AEP             390 Continue preparation of motions to approve marketing and sales process for third tranche of              0.7 0.2333333         $91.00
             Disposition                                         properties in receivership estate.
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                      0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/16/19 MR              390 Conferences on status on motions and other property issues with K. Duff.                                 0.3         0.02       $7.80
             Disposition
April 2019   Asset                  04/18/19 AEP             390 Finalize preparation of all three motions to approve sales process for properties in third               2.1          0.7     $273.00
             Disposition                                         marketing tranche.
April 2019   Asset                  04/18/19 ED              390 Prepare and send email correspondence to lenders' counsel regarding third motion                         1.2          0.4     $156.00
             Disposition                                         regarding sale of properties and requesting payoff letters for affected properties (1.2)

April 2019   Asset                  04/18/19 ED              390 review and analysis of information regarding third tranche of property sales to determine                0.8 0.2666667        $104.00
             Disposition                                         lenders affected (.8)
April 2019   Asset                  04/18/19 ED              390 review draft of third motion to approve and confer with K. Duff regarding comments (.3).                 0.3          0.1      $39.00
             Disposition
April 2019   Asset                  04/18/19 KMP             140 Review, revise and finalize motions for court approval of sale process and related notices,              0.8 0.0533333          $7.47
             Disposition                                         and communications with K. Duff, E. Duff and A. Porter regarding same (.8)

April 2019   Asset                  04/18/19 KMP             140 file motions and notices electronically (.3)                                                             0.3         0.02       $2.80
             Disposition
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd                3.3 0.0308411          $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Asset                  04/19/19 KMP             140 Communication with real estate agent regarding motions for court approval of sale of                     0.1 0.0066667          $0.93
             Disposition                                         properties.


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  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
April 2019   Asset                  04/19/19 MR              390 work on review of documents in preparation for upcoming hearing (1.0)                                1.0    0.047619       $18.57
             Disposition
April 2019   Asset                  04/22/19 MR              390 Conferences on various issues regarding upcoming hearing (.3)                                        0.3 0.0142857          $5.57
             Disposition
April 2019   Asset                  04/22/19 MR              390 work and review various pleadings and related materials for upcoming hearing before Judge            5.0 0.2380952         $92.86
             Disposition                                         Lee on sale of properties, interim financing, and lender objections (5.0).

April 2019   Asset                  04/22/19 NM              260 correspond with broker regarding approval of the second and third tranches of sale and               0.2 0.0222222          $5.78
             Disposition                                         publication notice for same (.2)
April 2019   Asset                  04/22/19 NM              260 study publication notice and time frame for same (.1)                                                0.1 0.0111111          $2.89
             Disposition
April 2019   Business               04/01/19 KMP             140 review banking documents to prepare reply to inquiries (.2)                                          0.2 0.0333333          $4.67
             Operations
April 2019   Business               04/01/19 KMP             140 Communications with N. Mirjanich and E. Duff regarding accountant's inquiries relating to            0.2 0.0333333          $4.67
             Operations                                          property-specific expenses and income (.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                          0.3 0.0028037          $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest          2.1 0.0196262          $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 ED              390 confer with K. Duff regarding funds sent to receivership estate from title company (.1)              0.1 0.0166667          $6.50
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence with A. Porter regarding same (.1).                                             0.1 0.0166667          $6.50
             Operations
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,           0.3 0.0028302          $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real              0.2 0.0028571          $1.11
             Operations                                          estate taxes.
April 2019   Business               04/11/19 ED              390 Review financial performance of properties with outstanding 2017 real estate taxes (.8)              0.8          0.1      $39.00
             Operations
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                              0.2 0.0029412          $1.15
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                     0.2 0.0029412          $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                  3.9 0.0364486          $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                 1.0 0.0111111          $4.33
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                          0.3 0.0033333          $1.30
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                      0.2 0.0022222          $0.87
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                  0.1 0.0011111          $0.43
             Operations


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 JR              140 assist E. Duff with most up to date real estate tax balances (2.5)                                     2.5 0.0362319         $5.07
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/19/19 ED              390 Review and analysis of financial reports and other documentation regarding properties with             1.5 0.0217391         $8.48
             Operations                                          insufficient income to support expenses.
April 2019   Business               04/22/19 ED              390 Meeting with K. Duff, M, Rachis, and asset manager regarding property management and                   1.8    0.026087      $10.17
             Operations                                          expenses (1.8)
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                                0.2 0.0019802         $0.77
             Operations
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                                0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                                 0.5 0.0046729         $0.65
             Operations
April 2019   Business               04/30/19 JR              140 Exchange correspondence with K. Duff regarding payment of 2017 delinquent taxes (.1)                   0.1     0.00625       $0.88
             Operations
April 2019   Business               04/30/19 JR              140 online payments for 2017 taxes per K. Duff (1.2).                                                      1.2       0.075      $10.50
             Operations
April 2019   Business               04/30/19 KMP             140 Submit online payments for 2017 delinquent taxes for various properties, and conferences               0.7 0.0583333         $8.17
             Operations                                          with K. Duff and J. Rak regarding same.
April 2019   Claims                 04/25/19 ED              390 discussion with M. Rachlis of sources of funds (.8).                                                   0.8 0.0115942         $4.52
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                   0.3 0.0029412         $1.15
             Administration                                      insurance coverage (.3)
             & Objections

May 2019     Asset                  05/12/19 KBD             390 legal research regarding sales procedure (.4).                                                         0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/13/19 KBD             390 study potential amendment of motions for approval to list properties for sale (.1).                    0.1 0.0009709         $0.38
             Disposition




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                  05/15/19 KBD         390 study and revise motion to amend and office conference with M. Rachlis regarding same (.4)            0.4 0.1333333        $52.00
             Disposition
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                  05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                  05/21/19 KBD         390 Telephone conference with real estate broker regarding court order relating to sale of third          0.2 0.0666667        $26.00
             Disposition                                     group of properties (.2)
May 2019     Asset                  05/21/19 KBD         390 discuss same with M. Rachlis (.1)                                                                     0.1 0.0066667         $2.60
             Disposition
May 2019     Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                     broker (.1)
May 2019     Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                      replacement insurance (.1).
May 2019     Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                      replacement of insurance coverage (.1)
May 2019     Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                      insurance policies and renewals (.2).
May 2019     Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                      payment (.1).
May 2019     Business               05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
             Operations                                      allocation (.1).
May 2019     Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                      insurance (.3)
May 2019     Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                      same (.3)
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/20/19 KBD             390 study spreadsheets relating to water accounts for various properties (.2)                              0.2 0.0029851          $1.16
             Operations
May 2019     Business               05/21/19 KBD             390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                 0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/21/19 KBD             390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                         0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/21/19 KBD             390 study correspondence from property manager and J. Rak regarding water accounts (8047                   0.2          0.1      $39.00
             Operations                                          Manistee and 5001 S Drexel) (.2)
May 2019     Business               05/22/19 KBD             390 study correspondence from insurance broker regarding renewal of property insurance                     0.2 0.0019417          $0.76
             Operations                                          coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business               05/23/19 KBD             390 office conference with M. Rachlis regarding same (.1)                                                  0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/23/19 KBD             390 Exchange correspondence and telephone conference with insurance broker regarding                       0.2 0.0019417          $0.76
             Operations                                          property insurance renewal (.2)
May 2019     Business               05/24/19 KBD             390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                   0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/28/19 KBD             390 exchange correspondence with insurance broker regarding renewal of coverage and                        0.1 0.0009709          $0.38
             Operations                                          payment (.1)
May 2019     Business               05/29/19 KBD             390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                 0.2 0.0019417          $0.76
             Operations                                          property insurance payment (.2)
May 2019     Business               05/30/19 KBD             390 review correspondence regarding water account payment (8047 Manistee) (.1)                             0.1          0.1      $39.00
             Operations
May 2019     Business               05/30/19 KBD             390 study correspondence from K. Pritchard regarding property insurance funding (.2)                       0.2 0.0019417          $0.76
             Operations
May 2019     Business               05/31/19 KBD             390 planning with J. Rak regarding delinquent real estate taxes (.2)                                       0.2 0.0018692          $0.73
             Operations
May 2019     Business               05/31/19 KBD             390 exchange correspondence with E. Duff regarding same (.1)                                               0.1 0.0015625          $0.61
             Operations
May 2019     Business               05/31/19 KBD             390 Telephone conference with property manager regarding unpaid property management                        0.3 0.0046875          $1.83
             Operations                                          expenses (.3)
May 2019     Claims                 05/21/19 KBD             390 review correspondence from N. Mirjanich regarding publication notice (.1).                             0.1 0.0066667          $2.60
             Administration
             & Objections

May 2019     Asset                  05/02/19 NM              260 draft motion to amend the approval of third tranche to reflect same (.3).                              0.3         0.02       $5.20
             Disposition
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336          $3.53
             Disposition
May 2019     Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709          $0.38
             Disposition
May 2019     Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804          $0.38
             Disposition


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                           1.3 0.0121495          $1.70
             Disposition
May 2019     Asset                  05/13/19 NM              260 study correspondence relating to bid procedures and amendment motion to approve the                     0.2 0.0133333          $3.47
             Disposition                                         third tranche of properties (.2)
May 2019     Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                      0.4 0.0039216          $1.53
             Disposition
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise proposed amendment to third, fourth, and fifth motions for approval             0.2         0.02       $7.80
             Disposition                                         of marketing and sale of properties in third marketing tranche (.2)
May 2019     Asset                  05/15/19 AEP             390 proofread, edit, and revise amendment to third, fourth, and fifth motions for approval of sale          0.2 0.0133333          $5.20
             Disposition                                         of properties in second marketing tranche (.2)
May 2019     Asset                  05/15/19 AW              140 Revise motion for approval of sale 3.0 and email counsel regarding same.                                0.4 0.1333333         $18.67
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)             0.9 0.0084112          $1.18
             Disposition
May 2019     Asset                  05/15/19 NM              260 correspond with real estate broker and K. Duff regarding publication notice for second                  0.7 0.0259259          $6.74
             Disposition                                         tranche of properties and draft revisions to same (.7)
May 2019     Asset                  05/15/19 NM              260 Study correspondence relating to procedures for second tranche of property sales and                    0.5         0.05      $13.00
             Disposition                                         correspond with K. Duff regarding same and publication notice (.5)
May 2019     Asset                  05/16/19 AW              140 Proofread notice of amendment to motion for approval of sale 3.0 (.1)                                   0.1 0.0333333          $4.67
             Disposition
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                   0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/16/19 MR              390 Further edits to brief (.3)                                                                             0.3         0.02       $7.80
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                      2.6    0.038806        $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                     0.2 0.0029851          $0.42
             Disposition
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                   0.3 0.0044776          $0.63
             Disposition                                         (.3)
May 2019     Asset                  05/21/19 MR              390 Review orders approving sales and emails on bidding procedures (.4)                                     0.4         0.05      $19.50
             Disposition
May 2019     Asset                  05/21/19 MR              390 and conferences regarding same (.2).                                                                    0.2       0.025        $9.75
             Disposition
May 2019     Asset                  05/21/19 NM              260 exchange correspondence relating to court orders on third and fourth sales motions (.1)                 0.1      0.0125        $3.25
             Disposition
May 2019     Asset                  05/29/19 NM              260 correspond with K. Duff and real estate broker regarding marketing second and third tranche             0.1 0.0333333          $8.67
             Disposition                                         of properties (.1).
May 2019     Asset                  05/30/19 AEP             390 Meeting with J. Rak to prepare strategic plan for second, third, and fifth marketing tranches,          2.0 0.0909091         $35.45
             Disposition                                         including ordering, facilitating, and proofing of surveys, completion of title commitments,
                                                                 preparation of motions to confirm sales and proposed orders associated therewith, and
                                                                 preparations of preliminary settlement statements (2.0)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2019     Asset                  05/30/19 NM              260 Correspond with K. Duff and real estate broker regarding marketing of properties in second            0.5 0.0185185          $4.81
             Disposition                                         and third tranches of sales (.5)
May 2019     Asset                  05/30/19 NM              260 revise publication notice to reflect same and correspond with K. Duff on same (.3).                   0.3 0.0333333          $8.67
             Disposition
May 2019     Asset                  05/31/19 AEP             390 teleconference with K. Duff and receivership broker regarding of properties in second and             0.3          0.1      $39.00
             Disposition                                         third tranches (.3)
May 2019     Asset                  05/31/19 AEP             390 review and edit final draft of proposed bidding procedures for marketing of selected second           0.2 0.0666667         $26.00
             Disposition                                         and third tranche properties (.2)
May 2019     Asset                  05/31/19 NM              260 Revise publication notice to reflect marketing of properties in second and third tranches of          0.8         0.08      $20.80
             Disposition                                         sales and correspond with K. Duff, A. Porter, and J. Rak regarding same (.8)

May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953          $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766          $1.05
             Operations
May 2019     Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835          $1.51
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923          $3.00
             Operations
May 2019     Business               05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385          $0.60
             Operations
May 2019     Business               05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417          $0.27
             Operations                                          conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business               05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709          $0.14
             Operations
May 2019     Business               05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709          $0.14
             Operations
May 2019     Business               05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835          $0.54
             Operations                                          insurance renewal, and communications with K. Duff and bank representative regarding
                                                                 same (.4)
May 2019     Business               05/07/19 KMP             140 Study communication from insurance broker providing notice of first installment on                    0.1 0.0009709          $0.14
             Operations                                          premium finance agreement.
May 2019     Business               05/09/19 NM              260 Study and exchange correspondence relating to credit bid and expenses from property                   0.2 0.0019608          $0.51
             Operations                                          manager (.2)
May 2019     Business               05/15/19 ED              390 Review April financial reporting (1.3)                                                                1.3 0.0126214          $4.92
             Operations




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087          $3.79
             Operations
May 2019     Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709          $0.38
             Operations
May 2019     Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126          $1.14
             Operations
May 2019     Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835          $0.54
             Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019     Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417          $0.27
             Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                      0.1 0.0009709          $0.14
             Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                 0.3       0.003        $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 Work on newspaper publication in connection with property sales (.4)                                   0.4         0.04      $15.60
             Disposition
June 2019    Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                  0.2       0.002        $0.78
             Disposition                                     timing (.2)
June 2019    Asset                  06/03/19 KBD         390 study sales and bid procedures (.4).                                                                   0.4 0.0266667         $10.40
             Disposition
June 2019    Asset                  06/04/19 KBD         390 study revisions to sales procedures and correspondence regarding same (.3).                            0.3         0.02       $7.80
             Disposition
June 2019    Asset                  06/05/19 KBD         390 study and exchange various correspondence regarding sales procedures, joint motion, and                0.4 0.0266667         $10.40
             Disposition                                     communications from lenders' counsel regarding same (.4).
June 2019    Asset                  06/07/19 KBD         390 Telephone conference with real estate broker regarding real estate broker commission (.2)              0.2 0.0028571          $1.11
             Disposition
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                                0.2 0.0019802          $0.77
             Disposition
June 2019    Asset                  06/19/19 KBD         390 modify property sale procedures and exchange correspondence regarding same (.3).                       0.3         0.02       $7.80
             Disposition
June 2019    Asset                  06/21/19 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding planning for sale of properties             0.2 0.0074074          $2.89
             Disposition                                     (.2).
June 2019    Asset                  06/21/19 KBD         390 Telephone conference with real estate broker regarding progress of current listings and                0.2 0.0039216          $1.53
             Disposition                                     potential for new grouping to list for sale (.2)
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                   0.5       0.005        $1.95
             Disposition
June 2019    Asset                  06/24/19 KBD         390 study purchase and sale agreements (7301 S Stewart, 2909 78th, 3030 79th, and 8047                     0.4          0.1      $39.00
             Disposition                                     Manistee) (.4).
June 2019    Asset                  06/25/19 KBD         390 Exchange correspondence with A. Porter regarding purchase and sale agreements for listed               0.1       0.025        $9.75
             Disposition                                     properties (.1)


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                 Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                  Hours         Fees
June 2019    Asset                  06/28/19 KBD             390 study portfolio summary (.3).                                                                    0.3         0.03      $11.70
             Disposition
June 2019    Asset                  06/28/19 KBD             390 Telephone conferences with real estate broker regarding purchase offers for listed               0.4         0.04      $15.60
             Disposition                                         properties (.4)
June 2019    Business               06/03/19 KBD             390 analysis and evaluate receivership expenses (.3).                                                0.3       0.003        $1.17
             Operations
June 2019    Business               06/05/19 KBD             390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                       0.1 0.0009346          $0.36
             Operations
June 2019    Business               06/07/19 KBD             390 and discuss same with E. Duff (.1)                                                               0.1 0.0009709          $0.38
             Operations
June 2019    Business               06/07/19 KBD             390 telephone conference and exchange correspondence with bank representative regarding              0.2 0.0019608          $0.76
             Operations                                          transfer of funds (.2)
June 2019    Business               06/07/19 KBD             390 Study correspondence and documentation from insurance representative regarding policy            0.4 0.0038835          $1.51
             Operations                                          renewal (.4)
June 2019    Business               06/12/19 KBD             390 study property manager financial reporting (.4)                                                  0.4     0.00625        $2.44
             Operations
June 2019    Business               06/13/19 KBD             390 telephone conference with bank representative regarding transfer of funds for property           0.3         0.15      $58.50
             Operations                                          expenses and exchange correspondence relating to same (.3)
June 2019    Business               06/13/19 KBD             390 review information relating to insurance premium allocation (.2)                                 0.2 0.0019608          $0.76
             Operations
June 2019    Business               06/14/19 KBD             390 study property manager financial reporting (.3).                                                 0.3 0.0046875          $1.83
             Operations
June 2019    Business               06/20/19 KBD             390 Study information regarding outstanding real estate taxes and exchange correspondence            0.4 0.0037383          $1.46
             Operations                                          with J. Rak regarding same (.4)
June 2019    Business               06/26/19 KBD             390 study correspondence from insurance broker regarding premium allocation and related              0.2 0.0019608          $0.76
             Operations                                          correspondence (.2)
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                           1.2    0.011215        $1.57
             Disposition
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                       3.7 0.0345794          $4.84
             Disposition
June 2019    Asset                  06/03/19 KMP             140 Conference with N. Mirjanich regarding payment for newspaper notice in connection with           0.2         0.02       $2.80
             Disposition                                         public bids for sale of next tranche of properties, and attention to proofs of notice.

June 2019    Asset                  06/03/19 NM              260 correspond with K. Duff and M. Rachlis regarding publication notice for same and revise          0.8         0.08      $20.80
             Disposition                                         same and correspond with publications regarding same (.8)
June 2019    Asset                  06/03/19 NM              260 correspond with real estate broker regarding same (.1).                                          0.1         0.01       $2.60
             Disposition
June 2019    Asset                  06/03/19 NM              260 Correspond with J. Rak regarding second and third sales tranches (.3)                            0.3 0.0111111          $2.89
             Disposition
June 2019    Asset                  06/04/19 AEP             390 proofread, edit, and revise proposed publication notice (.6)                                     0.6       0.075       $29.25
             Disposition
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                1.3 0.0121495          $1.70
             Disposition


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
June 2019    Asset                  06/04/19 KMP             140 Conferences with N. Mirjanich and publication representatives regarding payment for                     0.2         0.02       $2.80
             Disposition                                         newspaper notice in connection with public bids for sale of next tranche of properties, and
                                                                 attention to receipts for same.
June 2019    Asset                  06/04/19 NM              260 Correspond with K. Duff, M. Rachlis, A. Porter, K. Pritchard, real estate broker, and papers            0.9         0.09      $23.40
             Disposition                                         regarding notice of publication for second tranche of property sales and publish same.

June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075          $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766          $1.05
             Disposition
June 2019    Asset                  06/06/19 JR              140 telephone conference with the title company regarding ordering title for the new second                 0.7         0.07       $9.80
             Disposition                                         and third tranche properties and for the fifth tranche (.7)
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991          $3.40
             Disposition
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824          $2.29
             Disposition
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561          $5.89
             Disposition
June 2019    Asset                  06/11/19 JR              140 Prepare draft closing checklists for numerous properties in the second and third tranches (.9)          0.9          0.3      $42.00
             Disposition
June 2019    Asset                  06/12/19 JR              140 review and save due diligence documents for properties in the second and third tranches                 0.3          0.1      $14.00
             Disposition                                         prepared by the property manager (.3)
June 2019    Asset                  06/13/19 JR              140 exchange communication with property manager, K. Prichard, K. Duff and E. Duff regarding                0.5 0.0185185          $2.59
             Disposition                                         requested due diligence documents for the second and third tranches and regarding status
                                                                 of online water payments (.5)
June 2019    Asset                  06/14/19 JR              140 continue drafting closing checklists and closing documents for properties in the second and             2.6 0.8666667        $121.33
             Disposition                                         third tranches (2.6)
June 2019    Asset                  06/14/19 JR              140 telephone follow up with property manager regarding the due diligence documents (.2).                   0.2 0.0133333          $1.87
             Disposition
June 2019    Asset                  06/18/19 JR              140 update checklists for third tranche of properties (.7)                                                  0.7 0.2333333         $32.67
             Disposition
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224          $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 Draft rent rolls for the second and third tranche in preparation for sale for properties (3030          2.9       0.725      $101.50
             Disposition                                         E. 79th, 7301 S. Stewart, 7834 S. Ellis and 8047 S. Manistee) (2.9)
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346          $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/20/19 JR              140 Update real estate taxes on the third tranche of properties (.6)                                        0.6          0.2      $28.00
             Disposition
June 2019    Asset                  06/20/19 JR              140 exchange communication with title company regarding redeeming sold taxes at closing and                 0.3          0.1      $14.00
             Disposition                                         whether title company can obtain the estimate of redemption and pay all taxes closing (.3)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2019    Asset                  06/20/19 JR              140 update real estate taxes on all properties, except for the third tranche, reflecting both 1st          2.2 0.7333333        $102.67
             Disposition                                         and 2nd installment (2.2)
June 2019    Asset                  06/20/19 JR              140 exchange correspondence regarding same to K. Duff (.1)                                                 0.1 0.0333333          $4.67
             Disposition
June 2019    Asset                  06/20/19 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0333333          $4.67
             Disposition
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)          0.1 0.0009346          $0.13
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                   0.3       0.003        $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/24/19 NM              260 Correspond with A. Porter and City attorney regarding code violations and orders for same              0.5      0.0625       $16.25
             Disposition                                         on next tranche of property sales.
June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                           2.6       0.026        $3.64
             Disposition
June 2019    Asset                  06/25/19 NM              260 Exchange correspondence with K. Duff and A. Porter regarding orders for previous violations            0.3          0.3      $78.00
             Disposition                                         and order on new violation (8047 S Manistee) for properties currently listed for sale.

June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect               0.9 0.0083333          $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                   0.1       0.001        $0.14
             Disposition
June 2019    Asset                  06/27/19 JR              140 Confirm Cook County Treasurer's site for updated addresses to the tax bill for properties in           0.7 0.0466667          $6.53
             Disposition                                         the third tranche to reflect the receiver's address (.7);
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other              1.8 0.0166667          $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Business               06/06/19 KMP             140 attention to communications from accountant regarding spreadsheets containing financial                0.1 0.0090909          $1.27
             Operations                                          information for various properties (.1)
June 2019    Business               06/06/19 KMP             140 conference with N. Mirjanich regarding same, and review documents and prior email                      1.1          0.1      $14.00
             Operations                                          communications relating to same (1.1).
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                       0.1       0.001        $0.39
             Operations
June 2019    Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                            0.9 0.0087379          $3.41
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                      0.4       0.004        $1.56
             Operations
June 2019    Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for                2.7       0.027       $10.53
             Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/07/19 KMP             140 attention to further communications from accountant regarding spreadsheets containing                  0.1 0.0090909          $1.27
             Operations                                          financial information for various properties (.1).
June 2019    Business               06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                   0.4 0.0038835          $0.54
             Operations                                          liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                 regarding same (.4)


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
June 2019    Business               06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417          $0.27
             Operations                                      property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002        $0.78
             Operations
June 2019    Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709          $0.14
             Operations                                      payment for same (.1).
June 2019    Business               06/13/19 KMP         140 Prepare form for wire transfer of funds to property manager for property expenses (8201 S             0.4          0.2      $28.00
             Operations                                      Kingston, 8047 S. Manistee), and communications with K. Duff and bank representative
                                                             regarding same (.4)
June 2019    Business               06/24/19 NM          260 Study new violations from EB counsel and new collection notices K. Duff received in mail and          0.6          0.2      $52.00
             Operations                                      revise spreadsheet to reflect same.
June 2019    Business               06/26/19 NM          260 Study documents with code violations and other notices sent by former EB counsel (.2)                 0.2 0.0666667         $17.33
             Operations
June 2019    Business               06/26/19 NM          260 correspond with A. Watychowicz and draft letter to former EB counsel regarding same (.1).             0.1 0.0333333          $8.67
             Operations
July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining           0.2       0.002        $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same               0.2       0.002        $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/10/19 KBD         390 Attention to due diligence materials from property manager from upcoming property sales               0.2 0.0074074          $2.89
             Disposition                                     (.2)
July 2019    Asset                  07/10/19 KBD         390 telephone conference with property manager regarding same (.1)                                        0.1 0.0037037          $1.44
             Disposition
July 2019    Asset                  07/12/19 KBD         390 Review correspondence from potential purchaser and exchange correspondence with real                  0.2 0.0074074          $2.89
             Disposition                                     estate broker regarding same (.2)
July 2019    Asset                  07/18/19 KBD         390 attention to notice of real estate sale publication (.2).                                             0.2 0.0074074          $2.89
             Disposition
July 2019    Asset                  07/25/19 KBD         390 Telephone conference with real estate broker regarding status of properties under contract,           0.2 0.0074074          $2.89
             Disposition                                     showing of listed properties, and timing considerations (.2)
July 2019    Asset                  07/30/19 KBD         390 draft correspondence to M. Rachlis regarding same (.2)                                                0.2 0.0074074          $2.89
             Disposition
July 2019    Asset                  07/30/19 KBD         390 telephone conference with representative for potential buyers regarding communications                0.2 0.0074074          $2.89
             Disposition                                     with real estate broker (.2)
July 2019    Asset                  07/30/19 KBD         390 telephone conference with real estate broker regarding same (.1)                                      0.1 0.0037037          $1.44
             Disposition
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                   0.2       0.002        $0.78
             Disposition
July 2019    Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                          0.2       0.002        $0.78
             Disposition
July 2019    Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                           0.3 0.0029412          $1.15
             Operations




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Business               07/03/19 KBD             390 exchange correspondence regarding analysis of real estate taxes and coordination with                  0.2       0.002        $0.78
             Operations                                          property manager (.2).
July 2019    Business               07/10/19 KBD             390 Review real estate tax bills (.2)                                                                      0.2 0.0019608          $0.76
             Operations
July 2019    Business               07/10/19 KBD             390 review outstanding real estate taxes and payment by property managers (.1)                             0.1 0.0009804          $0.38
             Operations
July 2019    Business               07/12/19 KBD             390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,             0.2 0.0019608          $0.76
             Operations                                          communications with asset manager regarding property management costs, and
                                                                 communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD             390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                      0.1 0.0009804          $0.38
             Operations
July 2019    Business               07/15/19 KBD             390 study notices of property reassessments and meet with J. Rak regarding same (.2)                       0.2 0.0018868          $0.74
             Operations
July 2019    Business               07/15/19 KBD             390 exchange correspondence and telephone conference with real estate broker regarding same                0.1 0.0009901          $0.39
             Operations                                          and priority of property sales (.1)
July 2019    Business               07/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4     0.00625        $2.44
             Operations
July 2019    Business               07/25/19 KBD             390 telephone conference with bank representative and exchange correspondence regarding                    0.2 0.0019608          $0.76
             Operations                                          payment for insurance (.2)
July 2019    Business               07/26/19 KBD             390 study correspondence from property manager regarding planning for payment of other real                0.1       0.025        $9.75
             Operations                                          estate taxes and water bills (.1).
July 2019    Business               07/27/19 KBD             390 study portfolio summary from real estate broker (.3)                                                   0.3       0.003        $1.17
             Operations
July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519          $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP             390 Meeting with K. Duff, M. Rachlis, J. Rak, and receivership brokers to analyze and select               2.2         0.22      $85.80
             Disposition                                         winning bids in connection with the public sales of next tranche of receivership properties
                                                                 (2.2)
July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614          $1.94
             Disposition
July 2019    Asset                  07/01/19 JR              140 Draft closing checklists for the third tranche including gathering necessary information such          2.4         0.16      $22.40
             Disposition                                         as legal description and other relevant information for closing documents in preparation for
                                                                 the closing (2.4)
July 2019    Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                         1.5 0.0238095          $3.33
             Disposition
July 2019    Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on               0.1 0.0015873          $0.22
             Disposition                                         all properties for property manager (.1)
July 2019    Asset                  07/10/19 JR              140 exchange communication with title company regarding re- sending title commitments for                  0.4 0.1333333         $18.67
             Disposition                                         documents (.4)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2019    Asset                  07/10/19 JR              140 exchange communication with buyer attorney's regarding series 2, tranche 2, and tranche 3             1.1 0.0733333         $10.27
             Disposition                                         properties regarding due diligence documents and method of delivery (1.1)

July 2019    Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet               0.5 0.0079365          $1.11
             Disposition                                         and resend (.5)
July 2019    Asset                  07/10/19 JR              140 organize and save due diligence documents (1.7).                                                      1.7 0.1133333         $15.87
             Disposition
July 2019    Asset                  07/10/19 JR              140 exchange correspondence with A. Porter relating to same (.1)                                          0.1 0.0333333          $4.67
             Disposition
July 2019    Asset                  07/11/19 JR              140 exchange communication and forward to buyer's attorney due diligence documents                        1.6 0.1066667         $14.93
             Disposition                                         regarding properties in the second series and third tranche (1.6)
July 2019    Asset                  07/11/19 JR              140 exchange communication with property manager regarding a request for additional                       0.2          0.2      $28.00
             Disposition                                         subsidized housing contracts for property (8047 Manistee) (.2)
July 2019    Asset                  07/11/19 JR              140 exchange communication with A. Porter regarding same (.2)                                             0.2 0.0133333          $1.87
             Disposition
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                     1.9       0.019        $2.66
             Disposition
July 2019    Asset                  07/12/19 AEP             390 review, inventory, and reorganize all due diligence documents received from management                3.5         0.35     $136.50
             Disposition                                         company and prepare detailed spreadsheet of all missing items still needed to be produced
                                                                 to prospective purchasers (3.5)
July 2019    Asset                  07/12/19 AEP             390 review and analyze claims documentation submitted by investor-lender including promissory             1.4 0.2333333         $91.00
             Disposition                                         note, mortgage, collateral servicing agreement, and offering memorandum and prepare
                                                                 response to team regarding potential existence of equitable mortgages in favor of certain
                                                                 investor-lenders (1.4).
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                              1.8       0.018        $2.52
             Disposition
July 2019    Asset                  07/12/19 NM              260 Correspond with J. Rak regarding code violations on second and third tranches of property             0.6 0.0272727          $7.09
             Disposition                                         sales and due diligence materials for the same.
July 2019    Asset                  07/15/19 JR              140 Review email correspondence from A. Porter relating to due diligence documents from                   0.5       0.125       $17.50
             Disposition                                         management company and steps that need to be taken going forward (.5)

July 2019    Asset                  07/15/19 JR              140 exchange correspondence with A. Porter related to an update on sending various due                    0.2         0.05       $7.00
             Disposition                                         diligence to buyer's counsel (.2)
July 2019    Asset                  07/15/19 NM              260 Correspond with broker, K. Duff, and J. Rak regarding listing of third property tranche.              0.2 0.0133333          $3.47
             Disposition
July 2019    Asset                  07/17/19 JR              140 exchange correspondence with N. Mirjanich relating to same (.1)                                       0.1 0.0333333          $4.67
             Disposition
July 2019    Asset                  07/17/19 JR              140 prepare a list of properties in the third tranche and provide PIN number for each property            0.6          0.2      $28.00
             Disposition                                         for N. Mirjanich related to newspaper publication of same (.6)
July 2019    Asset                  07/18/19 AEP             390 communications with title companies regarding status of earnest money deposits and                    0.7 0.0777778         $30.33
             Disposition                                         prepare separate e-mails to counsel for purchasers of all properties for which earnest money
                                                                 deposit had not yet been received (.7)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2019    Asset                  07/18/19 AEP             390 e-mail correspondence with title company regarding authenticity of attorney-signed strict              0.1 0.0111111          $4.33
             Disposition                                         joint order escrow agreements (.1)
July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                0.2 0.0020408          $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers            0.1 0.0009804          $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/18/19 NM              260 Exchange correspondence relating to publication notice for third tranche of properties.                0.2 0.0133333          $3.47
             Disposition
July 2019    Asset                  07/19/19 AEP             390 review title commitments issued by insurer and inform insurer of omitted special exception             0.4 0.0571429         $22.29
             Disposition                                         relating to lis pendens as well identity of proposed insureds and proposed policy values (.4)

July 2019    Asset                  07/23/19 AEP             390 read letter requesting extensions of financing contingencies on receivership properties (7026          0.1         0.05      $19.50
             Disposition                                         S Cornell and 8047 S Manistee) and consult with K. Duff and receivership brokers regarding
                                                                 same (.1)
July 2019    Asset                  07/24/19 AEP             390 communications with K. Duff, M. Rachlis and receivership brokers regarding requests for                0.2          0.1      $39.00
             Disposition                                         extensions of financing contingencies in connection with prospective purchases of
                                                                 receivership property (7026 S Cornell and 8047 S Manistee) (.2)

July 2019    Asset                  07/24/19 AEP             390 respond to K. Duff request for additional information pertinent to consideration of request            0.2          0.1      $39.00
             Disposition                                         for extensions of financing contingencies on receivership properties (7026 S Cornell and 8047
                                                                 S Manistee) (.2)
July 2019    Asset                  07/24/19 MR              390 attention to status on property sales (.2).                                                            0.2 0.0666667         $26.00
             Disposition
July 2019    Asset                  07/25/19 JR              140 follow up on correspondence with property managers regarding water payment status (.3)                 0.3          0.3      $42.00
             Disposition
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with E. Duff and K. Pritchard regarding same (.4)                              0.4          0.4      $56.00
             Disposition
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet              0.2       0.002        $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/26/19 JR              140 Exchange correspondence with property manager relating to water balances and bills (.1)                0.1          0.1      $14.00
             Disposition
July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                  0.9 0.0088235          $3.44
             Disposition
July 2019    Asset                  07/29/19 JR              140 review survey that have been received for various properties (.8)                                      0.8         0.08      $11.20
             Disposition
July 2019    Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and            1.4 0.0137255          $5.35
             Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019    Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                  0.1       0.001        $0.39
             Operations                                          payment of real estate taxes (.1)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2019    Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                             0.1       0.001       $0.39
             Operations
July 2019    Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes               0.2 0.0019608         $0.76
             Operations                                          coming due (.2)
July 2019    Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial               0.2 0.0019608         $0.76
             Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                 costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                           0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                      1.1 0.0107843         $4.21
             Operations
July 2019    Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business               07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.              0.7       0.007       $2.73
             Operations                                          Rachlis and J. Rak regarding same (.7).
July 2019    Business               07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                  0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or          0.2       0.002       $0.52
             Operations                                          property status (.2).
July 2019    Business               07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                  0.8 0.0080808         $2.10
             Operations                                          water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                 the same.
July 2019    Business               07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                    0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                            0.1 0.0009804         $0.14
             Operations
July 2019    Business               07/23/19 ED              390 review of June financial reporting from property managers (.4)                                        0.4       0.004       $1.56
             Operations
July 2019    Business               07/23/19 JR              140 Update and forward outstanding 2017 real estate balances on all properties to K. Pritchard.           0.7 0.0538462         $7.54
             Operations
July 2019    Business               07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)          0.2       0.002       $0.78
             Operations
July 2019    Business               07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,              0.4 0.0039216         $0.55
             Operations                                          and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                 0.3 0.0029412         $1.15
             Operations




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
July 2019    Claims                 07/15/19 NM              260 analyze claims against unencumbered properties (1.2).                                                     1.2          0.2      $52.00
             Administration
             & Objections

August 2019 Asset                   08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                 0.2 0.0020202          $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest                0.1       0.001        $0.39
            Disposition                                          in properties (.1)
August 2019 Asset                   08/12/19 KBD             390 Telephone conference with real estate broker regarding preparation for offers on third group              0.2 0.0074074          $2.89
            Disposition                                          of properties (.2)
August 2019 Asset                   08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                        0.3       0.003        $1.17
            Disposition                                          marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD             390 conference with real estate broker, A. Porter, and J. Rak regarding offers for third group of 17          2.7         0.18      $70.20
            Disposition                                          properties (2.7)
August 2019 Asset                   08/28/19 KBD             390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                       0.3       0.003        $1.17
            Disposition
August 2019 Business                08/06/19 KBD             390 Telephone conference with bank representative regarding wire transfers for property                       0.1 0.0009804          $0.38
            Operations                                           expenses and insurance.
August 2019 Business                08/12/19 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0046875          $1.83
            Operations
August 2019 Business                08/13/19 KBD             390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                             0.1       0.001        $0.39
            Operations
August 2019 Business                08/15/19 KBD             390 study delinquency report and draft correspondence to asset manager regarding same (.3).                   0.3 0.0046875          $1.83
            Operations
August 2019 Business                08/20/19 KBD             390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                               0.1 0.0009804          $0.38
            Operations
August 2019 Business                08/20/19 KBD             390 exchange correspondence with J. Rak and property manager regarding outstanding real                       0.2 0.0019608          $0.76
            Operations                                           estate taxes (.2).
August 2019 Business                08/29/19 KBD             390 Study information regarding outstanding property taxes and review correspondence from J.                  0.3       0.003        $1.17
            Operations                                           Rak regarding same (.3)
August 2019 Business                08/30/19 KBD             390 exchange various correspondence regarding real estate taxes (.5).                                         0.5       0.005        $1.95
            Operations
August 2019 Asset                   08/05/19 JR              140 create additional closing checklists for remainder of tranche 2 and 3 in preparation for                  1.3 0.0866667         $12.13
            Disposition                                          closing (1.3)
August 2019 Asset                   08/06/19 JR              140 review unit size spreadsheet received from property manager and input correct information                 1.2         0.08      $11.20
            Disposition                                          in the rent rolls for tranche 2 and tranche 3 (1.2)
August 2019 Asset                   08/07/19 AEP             390 prepare purchase and sale agreements for all 18 properties in third series (5.5)                          5.5 0.3666667        $143.00
            Disposition
August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title                  0.5    0.005102        $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
August 2019 Asset                   08/07/19 JR              140 update series 3 tranche closing checklists (.3)                                                           0.3          0.1      $14.00
            Disposition
August 2019 Asset                   08/07/19 JR              140 update real estate tax spreadsheet with accrued August interest for properties in the third               0.7 0.0466667          $6.53
            Disposition                                          tranche (.7).
August 2019 Asset                   08/08/19 AEP             390 communications with title insurer, surveyor, and J. Rak regarding coordination of title                   0.4         0.04      $15.60
            Disposition                                          commitments and surveys and finalization of same (.4).
August 2019 Asset                   08/08/19 NM              260 Create spreadsheet of outstanding known violations for properties being sold in the third                 0.5         0.05      $13.00
            Disposition                                          tranche and correspond with A. Porter and J. Rak regarding the same.
August 2019 Asset                   08/09/19 AEP             390 Finalize purchase and sale contracts for all 17 properties in third series by customizing and             4.5          0.3     $117.00
            Disposition                                          inserting all riders and exhibits (4.5)
August 2019 Asset                   08/09/19 NM              260 Correspond with J. Rak and City attorney regarding due diligence code violation documents                 0.2 0.0133333          $3.47
            Disposition                                          for the third tranche of properties to sell.
August 2019 Asset                   08/11/19 AEP             390 Review and analyze code violation spreadsheet received from N. Mirjanich, compare                         0.4         0.04      $15.60
            Disposition                                          information with documents in due diligence folder, and prepare e-mail to N. Mirjanich
                                                                 seeking additional information in effort to reconcile discrepancies (.4).

August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                              0.2       0.002        $0.28
            Disposition
August 2019 Asset                   08/12/19 NM              260 Correspond with City attorney, A. Porter, and J. Rak regarding code violations and due                    0.4         0.04      $10.40
            Disposition                                          diligence materials from the same for the third tranche of property sale.
August 2019 Asset                   08/14/19 AEP             390 teleconference with receivership broker regarding overview of bids received on third series               0.3         0.02       $7.80
            Disposition                                          of receivership properties (.3).
August 2019 Asset                   08/15/19 JR              140 draft closing documents for property (8047 Manistee) (1.9)                                                1.9          1.9     $266.00
            Disposition
August 2019 Asset                   08/15/19 NM              260 Correspond with K. Duff, E. Duff, and A. Porter regarding the offers on the third tranche of              0.3         0.02       $5.20
            Disposition                                          properties and claims and credit bid issues on the same.
August 2019 Asset                   08/16/19 JR              140 Finalize draft closing documents for property (8047 Manistee) (2.6)                                       2.6          2.6     $364.00
            Disposition
August 2019 Asset                   08/19/19 AW              140 Attention to email regarding time and expenses spent on any of the third tranche properties               0.2 0.0133333          $1.87
            Disposition                                          and follow up regarding same.
August 2019 Asset                   08/20/19 AEP             390 conference with K. Duff and M. Rachlis regarding response to request from counsel for                     0.2          0.2      $78.00
            Disposition                                          prospective purchaser of receivership property (8047 S Manistee) for extension of due
                                                                 diligence contingency and effect of same on timing of motion for approval to sell second
                                                                 series (.2)
August 2019 Asset                   08/20/19 JR              140 exchange correspondence with N. Mirjanich regarding tranche 3 bids and forward                            0.2 0.0666667          $9.33
            Disposition                                          spreadsheet to N. Mirjanich from real estate broker regarding same (.2)
August 2019 Asset                   08/20/19 JR              140 review time and outline tranche 3 properties for associated closing costs pertaining to the               6.2 2.0666667        $289.33
            Disposition                                          order demanding total closing costs (6.2).
August 2019 Asset                   08/21/19 AEP             390 Review survey invoices, title invoices, real estate tax bills, restoration of rents figures, and          6.2 0.4133333        $161.20
            Disposition                                          water department invoices and create spreadsheets of closing cost estimates for all third
                                                                 series properties subject to credit bidding.




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                   Hours         Fees
August 2019 Asset                   08/23/19 AEP             390 Revise estimated closing cost statements for 16 properties in third series of sales and           2.3 0.1533333         $59.80
            Disposition                                          transmit same to all applicable institutional lenders under explanatory covering letter.

August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for          0.2       0.002        $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                             1.3       0.013        $1.82
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                       0.1 0.0009804          $0.38
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                    0.1 0.0009804          $0.38
            Operations
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance             0.1 0.0009804          $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                           0.7       0.007        $2.73
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                 0.8       0.008        $3.12
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                     0.2 0.0019608          $0.76
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                             1.2       0.012        $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).           0.1 0.0009804          $0.14
            Operations
August 2019 Claims                  08/16/19 JR              140 Confer with N. Mirjanich regarding drafting a spreadsheet with a list of mortgagees and           0.3         0.02       $2.80
            Administration                                       other information found on the documents of record for properties in the third tranche.
            & Objections

August 2019 Claims                  08/27/19 NM              260 create spreadsheet and review claims in connection with third tranche credit bid (.2).            0.2 0.0133333          $3.47
            Administration
            & Objections

August 2019 Claims                  08/28/19 NM              260 Analyze claims for all properties in third tranche of property sales (1.8)                        1.8         0.12      $31.20
            Administration
            & Objections

August 2019 Claims                  08/29/19 NM              260 Analyze claims in third tranche of property sales.                                                4.2         0.28      $72.80
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM              260 Analyze claims in third tranche of property sales (2.7)                                           2.7         0.18      $46.80
            Administration
            & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
September    Asset                  09/23/19 KBD             390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                             3.7 0.0362745         $14.15
2019         Disposition
September    Business               09/11/19 KBD             390 study property manager financial reports (.3)                                                           0.3 0.0046875          $1.83
2019         Operations
September    Business               09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                       0.1 0.0009804          $0.38
2019         Operations
September    Claims                 09/23/19 KBD             390 Claims analysis relating to funds properties with E. Duff and N. Mirjanich (.6)                         0.6          0.1      $39.00
2019         Administration
             & Objections

September    Asset                  09/04/19 AEP             390 prepare e-mail with list of third series properties for which title commitments are still               0.1 0.0066667          $2.60
2019         Disposition                                         needed and send to title company (.1)
September    Asset                  09/09/19 AEP             390 revise draft of motion to approve sales to exclude property (8047-55 S Manistee) still subject          0.4          0.4     $156.00
2019         Disposition                                         to financing contingency (.4).
September    Asset                  09/10/19 JR              140 exchange correspondence with broker regarding same (.1)                                                 0.1 0.0333333          $4.67
2019         Disposition
September    Asset                  09/10/19 JR              140 exchange correspondence with property manager regarding delivery of due diligence                       0.2 0.0666667          $9.33
2019         Disposition                                         documents for same (.2)
September    Asset                  09/10/19 JR              140 continue review of title commitments pertaining to additional creditors named on title and              3.8 1.2666667        $177.33
2019         Disposition                                         organize litigation documents pertaining to specific properties (3.8).
September    Asset                  09/10/19 JR              140 exchange correspondence with A. Porter regarding due diligence period relating to series 3              0.1 0.0333333          $4.67
2019         Disposition                                         properties under contract (.1)
September    Asset                  09/11/19 JR              140 follow up email exchange with A. Porter relating to the due diligence materials and request             0.1 0.0333333          $4.67
2019         Disposition                                         to extend due diligence period relating to properties under contract for series 3 properties
                                                                 (.1)
September Asset                     09/12/19 AEP             390 Prepare new section of second motion to approve sales reciting record of objections and                 3.6 0.2117647         $82.59
2019      Disposition                                            orders relating to second, third, fourth, and fifth motions to approve sales process (3.6)

September Asset                     09/12/19 JR              140 exchange correspondence with property manager regarding due diligence document request                  0.2 0.0666667          $9.33
2019      Disposition                                            for the remainder of the properties in series 3 in preparation for sale (.2)

September    Asset                  09/12/19 JR              140 exchange correspondence with the underwriter at the title company pertaining to same (.1)               0.1 0.0333333          $4.67
2019         Disposition
September    Asset                  09/12/19 MR              390 meeting regarding sales related issues with A. Porter, K. Duff and N. Mirjanich (1.2).                  1.2 0.0444444         $17.33
2019         Disposition
September    Asset                  09/13/19 JR              140 Follow up email correspondence with property manager relating to the due diligence                      0.1 0.0333333          $4.67
2019         Disposition                                         documents (.1)
September    Asset                  09/17/19 AEP             390 prepare e-mail to counsel for purchasers of property excluded from second motion to                     0.1         0.05      $19.50
2019         Disposition                                         approve sales (7237 S Bennett and 8047 S Manistee) regarding closing (.1).

September Asset                     09/18/19 AEP             390 update portfolio spreadsheet and prepare e-mail to surveyor regarding current estimated                 0.2         0.02       $7.80
2019      Disposition                                            timetable for closings (.2)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
September    Asset                  09/18/19 JR              140 organize lease folders in the third series (.5)                                                      0.5 0.0333333          $4.67
2019         Disposition
September    Asset                  09/20/19 AEP             390 teleconference with N. Mirjanich regarding unrecorded mortgages (.2).                                0.2 0.0333333         $13.00
2019         Disposition
September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding             2.5 0.0245098          $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 JR              140 exchange correspondence with buyer's counsel pertaining to the third series properties and           0.2          0.2      $28.00
2019         Disposition                                         additional due diligence documents (.2)
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                         0.3 0.0029412          $1.15
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                       0.3       0.003        $0.42
2019         Disposition
September    Asset                  09/24/19 NM              260 draft notice to investors with information from Court's order setting briefing schedule on           0.5 0.0714286         $18.57
2019         Disposition                                         second tranche and Houston motions and correspond with K. Duff and A. Watychowicz
                                                                 regarding the same (.5).
September Business                  09/03/19 NM              260 Correspond with property managers regarding administrative court and status of violations            0.8         0.16      $41.60
2019      Operations                                             for the same and update spreadsheet to reflect the same and certain housing code
                                                                 violations.
September Business                  09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to              0.4 0.0039216          $0.55
2019      Operations                                             finance company for payment on insurance premium finance agreement (.4)

September Business                  09/09/19 NM              260 Exchange correspondence with property managers and City attorneys regarding upcoming                 1.0 0.1111111         $28.89
2019      Operations                                             administrative matters in court and create list of outstanding administrative matters for
                                                                 continuances for new supervising attorney (1.0)
September    Business               09/18/19 NM              260 Correspond with property manager and City attorney regarding administrative matters (.1)             0.1      0.0125        $3.25
2019         Operations
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           1.2 0.0116505          $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                         0.8 0.0078431          $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding              0.4 0.0039216          $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September    Business               09/24/19 NM              260 Correspond with property managers and City attorneys regarding upcoming administrative               0.8 0.0888889         $23.11
2019         Operations                                          matters and housing matter (Phillips) and prepare for same.
September    Business               09/25/19 NM              260 Correspond with property managers regarding upcoming administrative matters in court and             1.4       0.175       $45.50
2019         Operations                                          prepare for same (1.4)
September    Business               09/26/19 NM              260 correspond with property managers regarding updates from the same and update                         1.4 0.1076923         $28.00
2019         Operations                                          spreadsheet to reflect the same (1.4)
September    Business               09/26/19 NM              260 Appear for and attend administrative court for a dozen buildings cases and four streets and          3.5         0.25      $65.00
2019         Operations                                          sanitation cases and appear for housing court on property (7616 Phillips) (3.5)




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
September Claims                    09/02/19 AEP         390 Teleconference with N. Mirjanich regarding preparation of memoranda relating to properties            0.2 0.0133333          $5.20
2019      Administration                                     in third series and subject to credit bidding (.2)
          & Objections

September Claims                    09/10/19 NM          260 correspond with K. Duff regarding the same (.1)                                                       0.1 0.0066667          $1.73
2019      Administration
          & Objections

September Claims                    09/23/19 ED          390 Confer with N. Mirjanich regarding claims review and analysis, including review and                   2.2 0.3666667        $143.00
2019      Administration                                     discussion of documentation submitted by multiple claimants relating to six properties (2.2)
          & Objections

September Claims                    09/23/19 ED          390 meet with K. Duff and N. Mirjanich to discuss same (.6)                                               0.6          0.1      $39.00
2019      Administration
          & Objections

September Claims                    09/23/19 ED          390 legal research relating to claims analysis (.9).                                                      0.9         0.15      $58.50
2019      Administration
          & Objections

September Claims                    09/23/19 ED          390 prepare analysis of secured and unsecured claims relating to six properties (2.3)                     2.3 0.3833333        $149.50
2019      Administration
          & Objections

October      Asset                  10/10/19 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale             0.4 0.0444444         $17.33
2019         Disposition                                     agreements for properties without credit bids (.4)
October      Asset                  10/17/19 KBD         390 Analysis of potential sale opportunity.                                                               0.2 0.0022472          $0.88
2019         Disposition
October      Asset                  10/23/19 KBD         390 Telephone conference and exchange correspondence with real estate broker and A. Porter                0.9         0.18      $70.20
2019         Disposition                                     regarding various property sales and contract issues (7109 Calumet, 638 Avers, 4520 Drexel,
                                                             7237 Bennett, 8047 Manistee) (.9)
October      Asset                  10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                0.3 0.0033708          $1.31
2019         Disposition                                     same.
October      Asset                  10/27/19 KBD         390 Study motion to approve sale of property (8047 Manistee).                                             0.2          0.2      $78.00
2019         Disposition
October      Business               10/07/19 KBD         390 study property manager financial reporting (.3).                                                      0.3 0.0046875          $1.83
2019         Operations
October      Business               10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                  0.8 0.0078431          $3.06
2019         Operations
October      Business               10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                    0.1 0.0009804          $0.38
2019         Operations
October      Business               10/15/19 KBD         390 study financial reporting from property manager (.3).                                                 0.3 0.0046875          $1.83
2019         Operations


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
October      Asset                  10/04/19 NM              260 Study Judge Lee's Order relating to sales process and credit bid issues for third sales tranche          0.4 0.1333333         $34.67
2019         Disposition                                         and correspond with K. Duff and draft correspondence to City attorney regarding the same.

October      Asset                  10/18/19 AEP             390 e-mail exchanges with prospective purchaser of receivership property (8047 S Manistee) and               0.1          0.1      $39.00
2019         Disposition                                         title company regarding amendment to title commitment (.1)
October      Asset                  10/24/19 AEP             390 read and respond to e-mail from counsel for purchaser of receivership property (8047 S                   0.1          0.1      $39.00
2019         Disposition                                         Manistee) regarding nominee and prepare e-mail to title company requesting updated
                                                                 commitment (.1)
October      Asset                  10/27/19 AEP             390 prepare motion for judicial confirmation of sale of receivership property (8047 S Manistee)              1.1          1.1     $429.00
2019         Disposition                                         (1.1)
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                    0.4 0.0039216          $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/28/19 AEP             390 conference with E. Duff regarding resolution of accounting issues associated with future                 0.4     0.00625        $2.44
2019         Disposition                                         closings (.4)
October      Asset                  10/31/19 AEP             390 review and analyze updated title commitments and invoices in connection with sales of                    0.3          0.1      $39.00
2019         Disposition                                         receivership properties (7301 S Stewart, 7026 S Cornell, and 8047 S Manistee) and prepare
                                                                 next rounds of revisions (.3)
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                    1.0 0.0098039          $3.82
2019         Operations
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                                 0.3 0.0029412          $1.15
2019         Operations
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate              0.3 0.0030303          $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                       0.2 0.0021739          $0.30
2019         Operations
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers                1.9 0.0206522          $2.89
2019         Operations                                          can pay out of current net operating income (1.9)
October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real                  0.2       0.002        $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                           0.6       0.006        $0.84
2019         Operations
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               0.9 0.0087379          $1.22
2019         Operations                                          same.
October      Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                     0.3 0.0029412          $0.41
2019         Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

November     Asset                  11/04/19 KBD             390 study draft motion to approve sale of property (8047 Manistee) and exchange                              0.2          0.2      $78.00
2019         Disposition                                         correspondence with A. Porter regarding same (.2).
November     Asset                  11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                    0.2 0.0020833          $0.81
2019         Disposition
November     Asset                  11/14/19 KBD             390 Draft correspondence to A. Porter regarding motion to approve listing properties for sale.               0.2       0.025        $9.75
2019         Disposition




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
November     Asset                  11/15/19 KBD             390 Telephone conference with and study correspondence from real estate broker regarding                     0.5 0.0294118         $11.47
2019         Disposition                                         status of sale effort as to various properties (.5)
November     Asset                  11/16/19 KBD             390 Study motion to approve property sales.                                                                  0.2 0.0666667         $26.00
2019         Disposition
November     Asset                  11/18/19 KBD             390 study motion to approve sales (.2).                                                                      0.2          0.2      $78.00
2019         Disposition
November     Asset                  11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                             0.2 0.0021739          $0.85
2019         Disposition
November     Asset                  11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                                0.3 0.0032258          $1.26
2019         Disposition
November     Business               11/05/19 KBD             390 analysis of same (.2).                                                                                   0.2 0.0019608          $0.76
2019         Operations
November     Business               11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and                  0.2 0.0019608          $0.76
2019         Operations                                          assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                 improvements for remaining properties in portfolio (.2)
November     Business               11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                     0.2 0.0032787          $1.28
2019         Operations
November     Business               11/12/19 KBD             390 study property manager reports (.6).                                                                     0.6 0.0098361          $3.84
2019         Operations
November     Business               11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence                 0.4 0.0042105          $1.64
2019         Operations                                          with E. Duff regarding same (.4)
November     Business               11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                     0.2 0.0021053          $0.82
2019         Operations                                          insurance and expenses (.2)
November     Business               11/26/19 KBD             390 review information relating to onsite property managers (.1)                                             0.1         0.01       $3.90
2019         Operations
November     Business               11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding               0.3 0.0031579          $1.23
2019         Operations                                          same (.3)
November     Business               11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,                0.2 0.0021053          $0.82
2019         Operations                                          and planning (.2)
November     Asset                  11/01/19 NM              260 Correspond with A. Watychowicz and A. Porter regarding order for second tranche of sales                 0.2 0.0222222          $5.78
2019         Disposition                                         (.2)
November     Asset                  11/06/19 AEP             390 read and respond to dozens of e-mails from counsel for purchasers of various receivership                0.3          0.1      $39.00
2019         Disposition                                         properties regarding pre-closing issues (.3)
November     Asset                  11/12/19 MR              390 attention to issues and update on sales closings (.1).                                                   0.1          0.1      $39.00
2019         Disposition
November     Asset                  11/15/19 JR              140 exchange emails with buyer's counsel relating to updated title commitment, notice to                     0.2          0.2      $28.00
2019         Disposition                                         tenants and closing timeframe for property (8047 Manistee) (.2)
November     Asset                  11/17/19 AEP             390 Proofread, edit, and revise third motion to approve sale of real estate and prepare proposed             1.2          1.2     $468.00
2019         Disposition                                         order and exhibits relating thereto.
November     Asset                  11/18/19 AW              140 revisions to motion and prepare certificate of service and notice of motion (.3)                         0.3          0.3      $42.00
2019         Disposition
November     Asset                  11/18/19 AW              140 work with N. Mirjanich on establishing appropriate service list, finalize, and file motion (.3)          0.3          0.3      $42.00
2019         Disposition


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
November     Asset                  11/18/19 AW              140 Attention to email from A. Porter regarding third motion to approve sale and communicate                 0.1          0.1      $14.00
2019         Disposition                                         with K. Duff regarding same (.1)
November     Asset                  11/18/19 AW              140 serve as per service list on all investors (.4).                                                         0.4          0.4      $56.00
2019         Disposition
November     Asset                  11/18/19 JR              140 forward update title commitment to buyer's counsel relating to property (8047 Manistee)                  0.1          0.1      $14.00
2019         Disposition                                         (.1)
November     Asset                  11/18/19 NM              260 study motion to approve sale of property (8047 Manistee) and finalize same with A.                       0.6          0.6     $156.00
2019         Disposition                                         Watychowicz and K. Duff for filing (.6).
November     Asset                  11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties               0.4 0.0043478          $1.70
2019         Disposition                                         (.4).
November     Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                2.8 0.0294737         $11.49
2019         Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)
November     Asset                  11/25/19 AEP             390 read judicial minute orders regarding objections to third and fourth motions to approve sales            0.1         0.02       $7.80
2019         Disposition                                         and notify counsel for prospective purchasers regarding timing (.1)
November     Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053          $0.29
2019         Disposition
November     Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684         $34.07
2019         Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November     Asset                  11/26/19 JR              140 exchange correspondence with property managers regarding information for onsite property                 0.3         0.03       $4.20
2019         Disposition                                         managers for various buildings (.3).
November     Asset                  11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333          $0.47
2019         Disposition                                         information that is required for future sales of properties (.2).
November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835          $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417          $0.50
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835          $1.51
2019         Operations                                          reports (.4)
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796          $4.17
2019         Operations
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252          $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709          $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417          $0.76
2019         Operations
November     Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681          $3.43
2019         Operations                                          been sold.
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757          $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                      0.9 0.0087379          $3.41
2019         Operations
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                 0.3 0.0029126          $1.14
2019         Operations                                          information for review (.3)
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                       0.7 0.0067961          $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                   2.8 0.0271845          $3.81
2019         Operations                                          (2.8).
November     Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)              0.6 0.0066667          $0.93
2019         Operations
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                     0.4 0.0038835          $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                              3.8 0.0368932         $14.39
2019         Administration
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                  0.5 0.0048544          $1.89
2019         Administration                                      (.5).
             & Objections

December     Asset                  12/04/19 KBD             390 telephone conference with A. Porter and real estate broker regarding same, pending sales                1.3         0.65     $253.50
2019         Disposition                                         (8047 Manistee, 6949 Merrill), efforts to resolve dispute over lien (7237 Bennett), and fourth
                                                                 motion to approve sales (1.3)
December     Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                    0.1 0.0010526          $0.41
2019         Operations
December     Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance                 0.1 0.0010526          $0.41
2019         Operations                                          premium payment (.1)
December     Business               12/10/19 KBD             390 study property manager financial reporting (.5)                                                         0.5 0.0081967          $3.20
2019         Operations
December     Asset                  12/03/19 AEP             390 Read motion regarding sale of receivership property and response of Defendant to Judge                  0.3          0.3     $117.00
2019         Disposition                                         Kim's order (.3)
December     Asset                  12/03/19 AEP             390 prepare e-mail to title company providing new details and requesting updated commitments                0.2 0.0666667         $26.00
2019         Disposition                                         on three receivership properties (8047 S Manistee, 8107 S Ellis, and 8326-58 S Ellis) (.2)

December     Asset                  12/03/19 MR              390 Follow up on emails regarding properties for sale and objection on certain property.                    0.3          0.3     $117.00
2019         Disposition
December     Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                     0.2 0.0021053          $0.29
2019         Disposition
December     Asset                  12/09/19 MR              390 Attention to emails on property disposition and objections (.2)                                         0.2          0.2      $78.00
2019         Disposition


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements          0.3 0.0029126          $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                  0.8    0.007767        $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of             0.2 0.0021053          $0.82
2019         Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).
December     Asset                  12/17/19 MR              390 attention to various claims and sales issues (.2).                                                  0.2          0.2      $78.00
2019         Disposition
December     Asset                  12/19/19 MR              390 Attention to response to objections on property (Manistee).                                         0.2          0.2      $78.00
2019         Disposition
December     Asset                  12/26/19 MR              390 Attention to order regarding property sale (.1);                                                    0.1          0.1      $39.00
2019         Disposition
December     Asset                  12/26/19 MR              390 follow up on objection (.2).                                                                        0.2          0.2      $78.00
2019         Disposition
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by           1.1 0.0106796          $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/04/19 KMP             140 Prepare request for transfer of funds to property manager for property management                   0.4          0.1      $14.00
2019         Operations                                          expenses, and communicate with K. Duff and bank representative regarding same (.4)

December     Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium           0.4 0.0042105          $0.59
2019         Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership               0.4 0.0038835          $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                 0.8    0.007767        $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                0.1 0.0010526          $0.41
2019         Operations
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting              0.2 0.0019417          $0.76
2019         Operations                                          reports (.2)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                             0.6 0.0058252          $2.27
2019         Operations
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence              0.8    0.007767        $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                       0.8    0.007767        $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable           0.9 0.0087379          $3.41
2019         Administration                                      from properties (.9)
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                         1.7 0.0165049          $6.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                       2.8 0.0271845         $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to                0.3 0.0029126          $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                              0.3 0.0029126          $0.41
2019         Administration
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and              6.4 0.0621359          $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).            0.4 0.0038835          $1.51
2019         Administration
             & Objections

January      Asset                  01/13/20 KBD             390 Work on issues relating to objection to sale of property.                                              0.8          0.8     $312.00
2020         Disposition
January      Asset                  01/14/20 KBD             390 study draft response to objection to sell property (.2)                                                0.2          0.2      $78.00
2020         Disposition
January      Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and             0.2 0.0021978          $0.86
2020         Operations                                          expense payments (.2)
January      Business               01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                  0.7    0.012069        $4.71
2020         Operations
January      Claims                 01/16/20 KBD             390 work on issues relating to investor objection to sale of property with M. Rachlis (2.7)                2.7          2.7   $1,053.00
2020         Administration
             & Objections

January      Claims                 01/16/20 KBD             390 study and revise drafts of response to investor objection to sale of property (8047 Manistee)          0.4          0.4     $156.00
2020         Administration                                      (.4).
             & Objections

January      Asset                  01/13/20 AEP             390 read objection to proposed sale of receivership property (8047 S Manistee) and analyze                 1.2          1.2     $468.00
2020         Disposition                                         exhibits thereto (1.2)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated       Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours            Fees
January      Asset                  01/13/20 AEP             390 teleconference with team regarding same (1.0)                                                           1.0               1     $390.00
2020         Disposition
January      Asset                  01/13/20 MR              390 attention to objection on sale of property (.1)                                                         0.1          0.1         $39.00
2020         Disposition
January      Asset                  01/13/20 MR              390 research regarding same (.4).                                                                           0.4          0.4        $156.00
2020         Disposition
January      Asset                  01/13/20 MR              390 conferences regarding same with K. Duff (.3)                                                            0.3          0.3        $117.00
2020         Disposition
January      Asset                  01/13/20 NM              260 Study objection on motion to sell property (8047 S Manistee) and legal research regarding               3.6          3.6        $936.00
2020         Disposition                                         the same.
January      Asset                  01/14/20 AEP             390 conference with K. Duff, E. Duff, and N. Mirjanich regarding claims process information or              0.6          0.1         $39.00
2020         Disposition                                         other documentation relating to alleged security interests in property (.6)

January      Asset                  01/14/20 MR              390 review objection on property sale (8047 Manistee) (.2)                                                  0.2          0.2         $78.00
2020         Disposition
January      Asset                  01/14/20 MR              390 Conference with K. Duff regarding asset sales and upcoming brief (.2)                                   0.2          0.2         $78.00
2020         Disposition
January      Asset                  01/14/20 NM              260 Draft response to objection to sales motion (8047 Manistee).                                            0.7          0.7        $182.00
2020         Disposition
January      Asset                  01/15/20 JR              140 exchange correspondence with property managers providing a plan and requesting                          0.3 0.0428571             $6.00
2020         Disposition                                         information in preparation for the next batch of closings of various properties (.3)

January      Asset                  01/15/20 MR              390 Attention to draft objections on sales motion and issues regarding same.                                0.5          0.5        $195.00
2020         Disposition
January      Asset                  01/16/20 JR              140 Exchange correspondence with property manager regarding updated rent rolls in                           0.1 0.0142857             $2.00
2020         Disposition                                         preparation of certificated rent rolls for various properties (.1)
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                1.6    0.015534           $2.17
2020         Disposition
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare                1.2 0.0116505             $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/20/20 JR              140 review leases for property (8047 S Manistee) (1.1)                                                      1.1          1.1        $154.00
2020         Disposition
January      Asset                  01/20/20 JR              140 update rent roll in preparation for closing of property (1.2)                                           1.2          1.2        $168.00
2020         Disposition
January      Asset                  01/20/20 JR              140 follow up email with buyer's counsel regarding status of required information for closing (.1)          0.1         0.02          $2.80
2020         Disposition
January      Asset                  01/20/20 JR              140 exchange correspondence with property manager regarding same and request missing items                  0.2          0.2         $28.00
2020         Disposition                                         regarding same (.2)
January      Asset                  01/20/20 JR              140 exchange correspondence with K. Pritchard and K. Duff regarding creating new sub-accounts               0.2 0.0153846             $2.15
2020         Disposition                                         for future closings and net proceeds (.2)
January      Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                          0.3 0.0031579             $0.44
2020         Disposition




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
January      Asset                  01/20/20 KMP             140 Communications with K. Duff and J. Rak regarding establishment of separate accounts for               0.2 0.0153846          $2.15
2020         Disposition                                         deposits of proceeds from anticipated property sales.
January      Asset                  01/21/20 JR              140 review comments received from property manager on rent roll and update same (1.4)                     1.4          1.4     $196.00
2020         Disposition
January      Asset                  01/21/20 JR              140 begin draft preparation of closing documents for property (8047 S. Manistee) (2.3)                    2.3          2.3     $322.00
2020         Disposition
January      Asset                  01/21/20 JR              140 Review emails from buyer attorney relating to previous request relating to buyer information          1.5          0.3      $42.00
2020         Disposition                                         required for closing and update checklists for various properties (1.5)
January      Asset                  01/22/20 JR              140 Exchange correspondence with property manager regarding security deposits held for                    0.1          0.1      $14.00
2020         Disposition                                         tenants at property (8047 S. Manistee) (.1)
January      Asset                  01/22/20 JR              140 exchange correspondence with property manager regarding possible building access to                   0.1          0.1      $14.00
2020         Disposition                                         building for final water reading (.1)
January      Asset                  01/22/20 JR              140 exchange correspondence with buyer's counsel regarding scheduling of closing (8047 S.                 0.1          0.1      $14.00
2020         Disposition                                         Manistee) (.1)
January      Asset                  01/22/20 JR              140 complete various closing documents for property (8047 S. Manistee) including water                    2.8          2.8     $392.00
2020         Disposition                                         certification application and notice to tenants and forward to title company and buyer's
                                                                 counsel (2.8)
January      Asset                  01/22/20 JR              140 update delinquencies on the certified rent roll for property (8047 S. Manistee) (.5)                  0.5          0.5      $70.00
2020         Disposition
January      Asset                  01/23/20 JR              140 exchange correspondence with buyer's counsel regarding scheduling (.1)                                0.1          0.1      $14.00
2020         Disposition
January      Asset                  01/27/20 JR              140 update various closing documents for property in preparation for closing (8047 S. Manistee)           1.7          1.7     $238.00
2020         Disposition                                         (1.7)
January      Asset                  01/27/20 JR              140 follow up correspondence with the title company regarding status of water certificate (.2)            0.2          0.2      $28.00
2020         Disposition
January      Asset                  01/27/20 JR              140 communication with various parties regarding scheduling closing for property (8047 S.                 0.3          0.3      $42.00
2020         Disposition                                         Manistee) (.3)
January      Asset                  01/27/20 JR              140 exchange correspondence with A. Porter regarding same (.2)                                            0.2          0.2      $28.00
2020         Disposition
January      Asset                  01/27/20 JR              140 review paper real estate tax bills (1.8).                                                             1.8 0.0193548          $2.71
2020         Disposition
January      Asset                  01/28/20 JR              140 correspondence with various lenders requesting lender requirements in preparation for sale            0.9         0.18      $25.20
2020         Disposition                                         of properties under contract (.9)
January      Asset                  01/28/20 JR              140 provide same to title company (.2)                                                                    0.2         0.04       $5.60
2020         Disposition
January      Asset                  01/29/20 JR              140 exchange correspondence with buyer's counsel regarding producing requested documents                  0.5         0.25      $35.00
2020         Disposition                                         for buyer in order to waive exceptions from title (.5)
January      Asset                  01/29/20 JR              140 follow up communication with various lenders for buyer's requesting lender information in             0.3         0.15      $21.00
2020         Disposition                                         preparation for closing (.3)
January      Asset                  01/30/20 JR              140 update and forward lien waivers to broker and property manager relating to closing of                 0.1          0.1      $14.00
2020         Disposition                                         property (8047 Manistee) (.1)
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                 0.5 0.0048544          $1.89
2020         Operations                                          October reports.


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Business               01/06/20 NM              260 Study and respond to correspondence relating to code violations with property managers                   0.7         0.14      $36.40
2020         Operations                                          and tend to new violations received.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706          $0.21
2020         Operations
January      Business               01/08/20 KMP             140 Prepare funds transfer to property manager for November property management expenses                     0.4         0.08      $11.20
2020         Operations                                          and communications with K. Duff and bank representatives regarding same (.4)

January      Business               01/08/20 NM              260 Tend to new building code violations and correspond with property managers and City                      0.5          0.1      $26.00
2020         Operations                                          attorneys regarding same and regarding outstanding violations (.5)
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534        $6.06
2020         Operations                                          (1.6)
January      Business               01/10/20 NM              260 Exchange correspondence with property managers regarding code violations.                                0.3         0.06      $15.60
2020         Operations
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544          $1.89
2020         Operations
January      Business               01/14/20 NM              260 Exchange correspondence with property managers and broker regarding violations and tend                  0.6         0.12      $31.20
2020         Operations                                          to new violations.
January      Business               01/16/20 NM              260 Correspond with property managers regarding new code violations and nearly a dozen                       1.5 0.1071429         $27.86
2020         Operations                                          housing court matters next week (1.5)
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709          $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126          $1.14
2020         Operations
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417          $0.76
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961          $2.65
2020         Operations
January      Business               01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105          $0.59
2020         Operations                                          insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534        $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835          $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505          $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
January      Claims                 01/14/20 ED              390 and meet with K. Duff, A. Porter and N. Mirjanich regarding same (.5)                                 0.5          0.5     $195.00
2020         Administration
             & Objections

January      Claims                 01/14/20 ED              390 Review objection to motion for approval of sale of real estate, and review and analysis of            0.7 0.0189189          $7.38
2020         Administration                                      related investor documents (.7)
             & Objections

January      Claims                 01/14/20 NM              260 confer with K. Duff, A. Porter, and E. Duff regarding objections on response to sales motion          0.8          0.8     $208.00
2020         Administration                                      (8047 Manistee) (.8)
             & Objections

January      Claims                 01/16/20 AEP             390 Read proposed reply to objection to proposed sale of receivership property (8047-55 S                 0.3          0.3     $117.00
2020         Administration                                      Manistee) and prepare revisions thereto (.3)
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                  0.6 0.0058252          $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                  0.2 0.0019417          $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/16/20 KMP             140 Revise and finalize response to motion for approval of sale of property (8407-55 Manistee)            0.4          0.4      $56.00
2020         Administration                                      and file same with court (.4)
             & Objections

January      Claims                 01/16/20 KMP             140 confer with N. Mirjanich regarding the foregoing (.2).                                                0.2          0.2      $28.00
2020         Administration
             & Objections

January      Claims                 01/16/20 NM              260 study response to creditor objections to sales motion and correspond with receivership team           0.6          0.6     $156.00
2020         Administration                                      regarding same, revisions to same, and finalizing and filing same (.6).
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                   0.6 0.0058252          $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports                 0.7 0.0067961          $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                         0.2 0.0019417          $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                    2.5 0.0242718          $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by                1.1 0.0106796          $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                     0.3 0.0029126          $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                 01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and             1.5 0.0145631          $5.68
2020         Administration                                      remaining amounts reimbursable to receivership (1.5).
             & Objections

February     Asset                  02/04/20 KBD             390 Work on closing documents with A. Porter and J. Rak (8047 Manistee) (.4)                                 0.4          0.4     $156.00
2020         Disposition
February     Business               02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.              0.4 0.0038095          $1.49
2020         Operations                                          Duff regarding same (.4)
February     Asset                  02/03/20 AEP             390 Review, edit, and revise all closing documents in anticipation of sale of receivership property          1.5          1.5     $585.00
2020         Disposition                                         (8047-55 S Manistee), perform final review of special exceptions on title commitment, and
                                                                 prepare seller's figures (1.5)
February     Asset                  02/03/20 JR              140 finalize notice to tenants for property (8047 Manistee) (.5)                                             0.5          0.5      $70.00
2020         Disposition
February     Asset                  02/03/20 JR              140 exchange correspondence with property manager regarding scheduled closing of property                    0.1          0.1      $14.00
2020         Disposition                                         (8047 Manistee) (.1)
February     Asset                  02/03/20 JR              140 follow up correspondence with the title company regarding status of water certificate for                0.1          0.1      $14.00
2020         Disposition                                         property (8047 Manistee) in preparation for closing (.1)
February     Asset                  02/03/20 JR              140 exchange correspondence with property manager regarding court related documents for                      0.3          0.3      $42.00
2020         Disposition                                         tenants in building related to eviction and/or court order payment plans (.3)

February     Asset                  02/03/20 JR              140 review and update closing documents for closing of property (8047 Manistee) (4.1).                       4.1          4.1     $574.00
2020         Disposition




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
February     Asset                  02/04/20 AEP             390 perform final review of all closing documents for sale of receivership property (8047-55 S              0.4          0.4     $156.00
2020         Disposition                                         Manistee) and oversee document signing process (.4)
February     Asset                  02/04/20 AEP             390 Review second draft of settlement statement in connection with conveyance of receivership               0.1          0.1      $39.00
2020         Disposition                                         property (8047-55 S Manistee) and communicate additional changes to escrow agent (.1)

February     Asset                  02/04/20 JR              140 work on closing documents with K. Duff and A. Porter (.4)                                               0.4          0.4      $56.00
2020         Disposition
February     Asset                  02/04/20 JR              140 exchange correspondence with property manager regarding updates to delinquency reports                  0.2          0.2      $28.00
2020         Disposition                                         and rent roll for the upcoming closing (8047 Manistee) (.2)
February     Asset                  02/04/20 JR              140 Update closing documents in preparation of closing (2.5)                                                2.5          2.5     $350.00
2020         Disposition
February     Asset                  02/04/20 JR              140 exchange communication with all parties related to closing and advising of details for closing          0.6          0.6      $84.00
2020         Disposition                                         of property, keys to building, updates to rent roll (8047 Manistee) (.6).

February     Asset                  02/04/20 JR              140 exchange communication with buyer's counsel regarding closing statement for property                    0.1          0.1      $14.00
2020         Disposition                                         (8047 Manistee) (.1)
February     Asset                  02/04/20 JR              140 exchange correspondence with the title company regarding same (.1)                                      0.1          0.1      $14.00
2020         Disposition
February     Asset                  02/05/20 AEP             390 attend closing of sale of receivership property (8047 S Manistee) (2.6)                                 2.6          2.6   $1,014.00
2020         Disposition
February     Asset                  02/05/20 JR              140 attend closing of property (8047 Manistee) (2.6)                                                        2.6          2.6     $364.00
2020         Disposition
February     Asset                  02/05/20 JR              140 Meeting with A. Porter prior to closing to discuss closing procedure (.8)                               0.8          0.8     $112.00
2020         Disposition
February     Asset                  02/05/20 JR              140 review email from the property manager and prepare and update final certified rent roll (.5)            0.5          0.5      $70.00
2020         Disposition
February     Asset                  02/05/20 JR              140 exchange correspondence with buyer and forward all leases for property (8047 Manistee)                  0.1          0.1      $14.00
2020         Disposition                                         (.1)
February     Asset                  02/06/20 JR              140 exchange correspondence with property manager regarding status of eviction at property                  0.1          0.1      $14.00
2020         Disposition                                         (8047 Manistee) (.1)
February     Asset                  02/06/20 JR              140 update spreadsheet regarding same (.2)                                                                  0.2          0.2      $28.00
2020         Disposition
February     Asset                  02/06/20 JR              140 Organize executed closing documents in corresponding folder related to closing of property              1.3          1.3     $182.00
2020         Disposition                                         (8047 Manistee) (1.3)
February     Asset                  02/06/20 JR              140 exchange correspondence with K. Pritchard regarding status of net proceeds from closing of              0.1          0.1      $14.00
2020         Disposition                                         same (.1)
February     Asset                  02/06/20 JR              140 prepare notice to tenants and send out to tenants for property (8047 Manistee) (.8).                    0.8          0.8     $112.00
2020         Disposition
February     Asset                  02/06/20 JR              140 exchange correspondence with property manager relating to closing of property (8047                     0.1          0.1      $14.00
2020         Disposition                                         Manistee) (.1)
February     Asset                  02/06/20 KMP             140 confer with J. Rak regarding same (.1).                                                                 0.1          0.1      $14.00
2020         Disposition




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
February     Asset                  02/06/20 KMP             140 Review spreadsheet setting forth details regarding sold properties and confirm receipt of              0.2          0.2      $28.00
2020         Disposition                                         funds from proceeds of same (8047 Manistee) (.2)
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231          $3.77
2020         Disposition
February     Asset                  02/19/20 JR              140 work on organization of closing documents from all closings (5.2).                                     5.2 0.2888889         $40.44
2020         Disposition
February     Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                             0.1 0.0010526          $0.15
2020         Disposition
February     Asset                  02/25/20 JR              140 Exchange correspondence with property manager regarding current status of sale of                      0.2 0.0666667          $9.33
2020         Disposition                                         properties (.2)
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846          $1.13
2020         Operations
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231          $0.75
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231          $0.75
2020         Operations
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375        $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231          $0.75
2020         Operations
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706          $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615         $10.13
2020         Operations                                          (2.7)
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231          $0.75
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462          $1.50
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462          $1.50
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796          $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126          $0.41
2020         Operations
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923          $2.83
2020         Administration
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and          2.6       0.025        $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                         2.8 0.0269231          $3.77
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                 0.2 0.0019231          $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting            0.5 0.0048077          $1.88
2020         Administration                                      reports.
             & Objections

March 2020 Business                 03/23/20 KBD             390 Exchange correspondence with J. Wine regarding various property notices and repairs.                0.3         0.05      $19.50
           Operations
March 2020 Asset                    03/03/20 JR              140 update closing checklists with updates to water bills and property taxes (1.4).                     1.4 0.0777778         $10.89
           Disposition
March 2020 Asset                    03/05/20 JR              140 update closed property spreadsheet (.4)                                                             0.4 0.0222222          $3.11
           Disposition
March 2020 Asset                    03/05/20 JR              140 exchange communication with J. Wine and N. Mirjanich regarding updates to spreadsheet               0.2 0.0111111          $1.56
           Disposition                                           regarding closed properties and forward same (.2)
March 2020 Asset                    03/09/20 JR              140 forward all the settlement statements related to closed properties to E. Duff (.6)                  0.6 0.0333333          $4.67
           Disposition
March 2020 Asset                    03/12/20 JR              140 further communication with J. Wine regarding court related matters related to same (.1)             0.1          0.1      $14.00
           Disposition
March 2020 Asset                    03/12/20 JR              140 exchange correspondence with J. Wine related to requested closed property documents                 0.2          0.2      $28.00
           Disposition                                           (8047 Manistee) (.2)
March 2020 Asset                    03/13/20 JR              140 Exchange correspondence with J. Wine related to the process of original closing documents           0.2          0.2      $28.00
           Disposition                                           related to closing (8047 Manistee) (.2)
March 2020 Asset                    03/23/20 JR              140 review email from J. Wine and review the deed regarding property (8047 Manistee) and                0.1          0.1      $14.00
           Disposition                                           related code violations for same (.1)
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold             0.1 0.0009615          $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/05/20 JRW             260 Attention to new code violations notices (8047 S. Manistee, 6801-03 S. East End, 4520 S             0.7       0.175       $45.50
           Operations                                            Drexel, 6217 S. Dorchester).
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                        0.1 0.0009709          $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same            2.8 0.0271845          $3.81
           Operations                                            (2.8)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
March 2020 Business                 03/12/20 JRW             260 Prepare for hearings regarding code violations (4750 S. Indiana, 7109 S. Calumet, 8047                2.2         0.55     $143.00
           Operations                                            Manistee, 7600 Kingston) and related email exchanges with property managers regarding
                                                                 evidentiary support (2.2)
March 2020 Business                 03/12/20 KMP             140 Review property manager's statement of account for February 2020 and confer with K. Duff              0.3       0.075       $10.50
           Operations                                            regarding same.
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462          $1.50
           Operations
March 2020 Business                 03/13/20 JRW             260 Appearance in administrative court regarding code violations (4750 S. Indiana, 7109 S.                2.3       0.575      $149.50
           Operations                                            Calumet, 8047 Manistee, 7600 Kingston) and related conferences and email exchange with
                                                                 Corporation counsel (2.3)
March 2020 Business                 03/23/20 JRW             260 correspondence with Ownership Unit of City of Chicago Department of Law regarding                     0.8          0.8     $208.00
           Operations                                            dismissal of case against property (8045 S Manistee) (.8).
March 2020 Business                 03/23/20 JRW             260 review Cook County Assessor records and related correspondence with A. Porter and K. Duff             0.4          0.4     $104.00
           Operations                                            regarding property address relating to code violation (8045 S Manistee) (.4)

March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058          $5.57
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835          $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835          $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544          $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417          $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709          $0.38
           Administration
           & Objections

April 2020   Claims                 04/11/20 KBD             390 Study correspondence regarding analysis of fund claims.                                               0.2 0.0222222          $8.67
             Administration
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
April 2020   Claims                 04/17/20 KBD             390 Work with J. Wine on claims process and identification of fund claimants (.3)                         0.3         0.05      $19.50
             Administration
             & Objections

April 2020   Asset                  04/02/20 JR              140 review email from property insurance broker and K. Pritchard (.1)                                     0.1         0.05       $7.00
             Disposition
April 2020   Asset                  04/02/20 JR              140 further exchange correspondence with insurance broker and provide closing statements for              0.2          0.1      $14.00
             Disposition                                         properties recently closed (8047 Manistee and 701 S. 5th) (.2)
April 2020   Asset                  04/02/20 KMP             140 communicate with insurance broker and J. Rak regarding cancellation of property insurance             0.2          0.1      $14.00
             Disposition                                         for recently sold properties (8047 S Manistee, 701 S 5th) (.2).
April 2020   Asset                  04/30/20 JR              140 review email from K. Duff related to status of various properties and motions [as of 2019]            0.8 0.0126984          $1.78
             Disposition                                         and prepare requested information regarding same (.8)
April 2020   Asset                  04/30/20 JR              140 exchange correspondence with the real estate broker regarding same (.1)                               0.1 0.0015873          $0.22
             Disposition
April 2020   Business               04/21/20 ED              390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126          $1.14
             Operations
April 2020   Business               04/21/20 ED              390 call (.1)                                                                                             0.1 0.0009709          $0.38
             Operations
April 2020   Claims                 04/10/20 ED              390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126          $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED              390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272         $20.45
             Administration                                      documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709          $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379          $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417          $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961          $2.65
             Administration                                      accounting reports (.7)
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                 1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                  0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.              0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                 0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                 0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                    0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of          0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175          $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602          $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/26/20 KBD             390 review property post-sale account reconciliation (8047 Manistee) (.2)                               0.2          0.2      $78.00
             Disposition
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                               0.8 0.0076923          $3.00
             Operations
May 2020     Asset                  05/05/20 JR              140 exchange correspondence with J. Wine regarding property information related to status               0.1         0.05       $7.00
             Disposition                                         reports (.1)
May 2020     Asset                  05/05/20 KMP             140 communicate with property manager regarding instructions relating to post-closing                   0.2          0.2      $28.00
             Disposition                                         reconciliation for property (8047 Manistee) (.2).
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                           1.4 0.0135922          $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management            0.1 0.0009709          $0.14
             Disposition                                         companies (.1)
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                               1.8 0.0174757          $2.45
             Disposition
May 2020     Asset                  05/12/20 JR              140 review email from K. Duff and provide information related to net proceeds for various               0.2          0.1      $14.00
             Disposition                                         properties which closed (.2)
May 2020     Asset                  05/18/20 JR              140 review email from E. Duff and provide requested closed property information to accountant           0.2 0.0086957          $1.22
             Disposition                                         (.2).
May 2020     Asset                  05/22/20 JR              140 exchange correspondence with K. Duff and accountant regarding status of documents from              0.1 0.0038462          $0.54
             Disposition                                         closings (.1)
May 2020     Asset                  05/27/20 JR              140 Update status of closed property spreadsheet and provide requested information to J. Wine           0.4       0.016        $2.24
             Disposition                                         (.4)
May 2020     Asset                  05/27/20 JR              140 save closing documents for previously closed properties in electronic files (.2)                    0.2       0.008        $1.12
             Disposition
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold               1.3 0.0126214          $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/18/20 AW              140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379          $1.22
             Operations                                          addition of properties that have no institutional debt, and communicate with E. Duff
                                                                 regarding missing reports.
May 2020     Business               05/21/20 ED              390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126          $1.14
             Operations                                          regarding same
May 2020     Business               05/21/20 ED              390 calls (.2)                                                                                          0.2 0.0019417          $0.76
             Operations
May 2020     Business               05/21/20 ED              390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252          $2.27
             Operations


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8047-55 S Manistee Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2020     Business               05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                      proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020     Business               05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                      correspondence.
May 2020     Business               05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                         1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections             0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                    0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                                0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property             0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)           0.1 0.0009709         $0.38
             Administration
             & Objections




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2020     Claims                 05/18/20 ED              390 prepare analysis of restoration amounts from sold properties (.8)                                     0.8    0.007767        $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED              390 call with accountant to discuss questions on process regarding monthly accounting reports             0.5 0.0048544          $1.89
             Administration                                      (.5)
             & Objections

May 2020     Claims                 05/20/20 ED              390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709          $0.38
             Administration                                      relating to sold properties (.1).
             & Objections

June 2020    Claims                 06/06/20 KBD             390 Attention to responses to claimants.                                                                  0.4 0.0363636         $14.18
             Administration
             & Objections

June 2020    Asset                  06/02/20 JR              140 Review email from E. Duff related to properties sold and respond accordingly (.1)                     0.1       0.004        $0.56
             Disposition
June 2020    Asset                  06/05/20 JR              140 update closing checklists with water account information related to WPD properties (.9)               0.9     0.05625        $7.88
             Disposition
June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding property tax balances (.1)                             0.1       0.004        $0.56
             Disposition
June 2020    Asset                  06/06/20 AEP             390 begin preparation of spreadsheet listing all properties, associated litigation matters,               3.2 0.0405063         $15.80
             Disposition                                         judgment amounts, judgment dates, and payment status (3.2)
June 2020    Asset                  06/06/20 AEP             390 Assemble all files relating to any administrative or housing court proceedings pertaining to          2.4 0.0303797         $11.85
             Disposition                                         any receivership properties between 2018 and the present (2.4)
June 2020    Asset                  06/06/20 AEP             390 reorganize same (1.4)                                                                                 1.4 0.0177215          $6.91
             Disposition
June 2020    Asset                  06/08/20 JR              140 review reports for various sold properties related to same and create a chart (.8)                    0.8         0.05       $7.00
             Disposition
June 2020    Asset                  06/08/20 JR              140 Review email from M. Rachlis related to restoration amounts of sold properties (.1)                   0.1     0.00625        $0.88
             Disposition
June 2020    Asset                  06/10/20 JR              140 Review spreadsheet and provide closed properties to K. Duff and E. Duff (.3)                          0.3       0.012        $1.68
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                0.7 0.0067961          $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                              0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting           1.9 0.0184466          $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related               1.0 0.0097087          $3.79
             Operations                                          documents and correspondence.




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                     0.2 0.0019417          $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                        0.2 0.0019417          $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                    0.4 0.0038835          $1.51
             Operations
June 2020    Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)                  0.7 0.0067961          $2.65
             Operations
June 2020    Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                                 0.5 0.0048544          $1.89
             Operations
June 2020    Business               06/23/20 ED              390 Draft language to explain method for calculation of insurance adjustments in accounting                   0.6 0.0058252          $2.27
             Operations                                          reports to reflect allocation of premium installment payments and refunds to sold and
                                                                 unsold properties (.6)
June 2020    Business               06/24/20 ED              390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)                0.2 0.0019417          $0.76
             Operations
June 2020    Business               06/24/20 ED              390 call with accountant to discuss same (.1).                                                                0.1 0.0009709          $0.38
             Operations
June 2020    Claims                 06/03/20 JRW             260 review prior motions in preparation for drafting motion to approve claims process for                     0.4 0.0222222          $5.78
             Administration                                      properties with no institutional debt (.4).
             & Objections

July 2020    Asset                  07/07/20 KBD             390 review notice to claimants of property sales and correspondence regarding same (.2)                       0.2 0.0333333         $13.00
             Disposition
July 2020    Business               07/14/20 KBD             390 exchange correspondence with property manager regarding financial reporting and property                  0.2 0.0666667         $26.00
             Operations                                          expenses (8047 S Manistee, 7749 S Yates, 8201 S Kingston) (.2)
July 2020    Business               07/17/20 KBD             390 work on property expenses (8201 S Kingston, 7749 S Yates, 7051 S Bennett, 8047 Manistee)                  0.2         0.05      $19.50
             Operations                                          (.2).
July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                   1.3 0.0126214          $1.77
             Disposition
July 2020    Asset                  07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                       4.4 0.0656716          $9.19
             Disposition                                         communications with EB team regarding same.
July 2020    Asset                  07/27/20 AEP             390 prepare e-mail to all counsel for purchasers of property in ninth sales tranche regarding filing          0.2          0.1      $39.00
             Disposition                                         of motion to confirm and expected closing timelines based on potential third-party
                                                                 objections (.2)
July 2020    Asset                  07/27/20 AEP             390 review spreadsheet of active administrative and housing court proceedings received from J.                0.5 0.0166667          $6.50
             Disposition                                         Wine and reconcile same with spreadsheet separately assembled to track all known
                                                                 receivership actions (.5).
July 2020    Asset                  07/27/20 JR              140 exchange correspondence with K. Duff regarding closed property information (.1)                           0.1 0.0027778          $0.39
             Disposition
July 2020    Business               07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                     0.3 0.0044776          $0.63
             Operations                                          for exhibits to proposed restoration motion (.3)
July 2020    Business               07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                     2.3 0.0343284          $4.81
             Operations                                          exhibits to restoration motion (2.3).


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Business               07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in              3.5 0.0522388          $7.31
             Operations                                          narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                 same (3.5)
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223         $14.01
             Operations
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835          $1.51
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252          $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835          $1.51
             Operations
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961          $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126          $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767        $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767        $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 KMP             140 revise exhibit for motion to include information provided by accountant and communicate                0.8 0.0235294          $3.29
             Operations                                          with K. Duff, M. Rachlis, and E. Duff regarding same (.8).
July 2020    Business               07/16/20 JRW             260 Review exchange with property manager regarding accounts payable for properties (8201 S                0.2         0.05      $13.00
             Operations                                          Kingston, 7749 Yates, 8047 Manistee and 7051 Bennett).
July 2020    Business               07/17/20 JRW             260 Study spreadsheet from property manager regarding accounts payable for properties (8201 S              0.3       0.075       $19.50
             Operations                                          Kingston, 7749 Yates, 8047 Manistee and 7051 Bennett) and related email exchange with K.
                                                                 Duff regarding motion practice related to same (.3)

July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417          $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126          $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126          $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                               0.2 0.0029851          $0.42
             Operations
July 2020    Business               07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).             0.2 0.0029851          $0.42
             Operations




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223          $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544          $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252          $0.82
             Operations
July 2020    Business               07/24/20 KMP             140 electronically file same with court (.3)                                                               0.3 0.0044776          $0.63
             Operations
July 2020    Business               07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                              0.3 0.0044776          $0.63
             Operations
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767        $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417          $0.76
             Operations
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709          $0.38
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417          $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301        $3.26
             Administration
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835          $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417          $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049          $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252          $2.27
             Administration
             & Objections

August 2020 Business                08/07/20 KBD             390 Review information relating to property manager expenses (8201 S Kingston, 7749 S Yates,               0.2         0.05      $19.50
            Operations                                           7051 S Bennett, 8047 S Manistee) (.2)
August 2020 Business                08/17/20 KBD             390 exchange correspondence with property manager regarding property reports (7749 Yates,                  0.1 0.0333333         $13.00
            Operations                                           8201 Kingston, 8047 Manistee) (.1).




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709          $0.14
            Disposition
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095          $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952          $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767        $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381          $5.94
            Operations
August 2020 Business                08/07/20 JRW             260 Study statement from property manager and related correspondence regarding accounts                     0.2 0.0666667         $17.33
            Operations                                           payable (.2)
August 2020 Business                08/07/20 KMP             140 review records relating to certain assets and forward records to EB team for review (.3)                0.3          0.1      $14.00
            Operations
August 2020 Business                08/10/20 JRW             260 confer with property manager regarding June results summary (.2)                                        0.2 0.0666667         $17.33
            Operations
August 2020 Business                08/10/20 JRW             260 related review of revised spreadsheet (.1).                                                             0.1 0.0333333          $8.67
            Operations
August 2020 Business                08/11/20 JRW             260 study corrected spreadsheet from property manager regarding outstanding accounts                        0.6         0.15      $39.00
            Operations                                           payable (8201 S Kingston, 8047 S Manistee, 7749 S Yates and 7051 S Bennett) and related
                                                                 email to K. Duff and A. Porter regarding corrections (.6)
August 2020 Business                08/14/20 JRW             260 correspondence with property manager and K. Duff regarding July results summary (.1).                   0.1 0.0333333          $8.67
            Operations
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709          $0.38
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126          $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/17/20 KMP             140 communicate with K. Duff and J. Wine regarding property manager's reconciliation for                    0.3          0.1      $14.00
            Operations                                           certain sold properties (7749 S Yates, 8201 S Kingston, 8047 S Manistee) and provide
                                                                 updated account balances for these properties to J. Wine (.3).

August 2020 Business                08/20/20 ED              390 preparation of spreadsheet as basis for discussion with property manager (.8).                          0.8 0.2666667        $104.00
            Operations
August 2020 Business                08/20/20 ED              390 Review and analysis of reporting from property manager and related correspondence                       1.6 0.5333333        $208.00
            Operations                                           relating to sold properties (7749 S Yates, 8201 S Kingston, 8047 S Manistee) (1.6)

August 2020 Business                08/20/20 ED              390 email correspondence with property manager regarding same (.1)                                          0.1 0.0333333         $13.00
            Operations
August 2020 Business                08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager                0.2 0.0031746          $1.24
            Operations                                           (.2)
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126          $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)


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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
August 2020 Business                08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                    0.1 0.0015873          $0.62
            Operations
August 2020 Business                08/21/20 JRW             260 Study spreadsheets and review and comment on spreadsheet with questions for property                 0.6          0.2      $52.00
            Operations                                           manager (.6)
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter               0.4 0.0038835          $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/26/20 JRW             260 Exchange correspondence with property manager regarding financial reports for properties             0.2 0.0666667         $17.33
            Operations                                           (7749 S. Yates, 8201 S Kingston, 8047 Manistee).
August 2020 Business                08/27/20 JRW             260 exchange correspondence with property manager regarding accounts payable (.2)                        0.2 0.0666667         $17.33
            Operations
September Asset                     09/30/20 KBD             390 study information from J. Rak regarding property sales (.2)                                          0.2 0.0045455          $1.77
2020        Disposition
September Business                  09/15/20 KBD             390 draft correspondence to J. Rak regarding property expenses (7051 Bennett, 8201 S Kingston,           0.2         0.05      $19.50
2020        Operations                                           8047 Manistee, 7749 S. Yates) (.2).
September Asset                     09/18/20 AEP             390 review order entered in administrative hearing in connection with former receivership                0.2          0.2      $78.00
2020        Disposition                                          property (8047 S Manistee) and forward same to purchaser with explanation (.2).

September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                     0.2 0.0019417          $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/02/20 JRW             260 telephone conference with K. Duff and E. Duff regarding financial statements and accounts            0.2 0.0666667         $17.33
2020         Operations                                          payable to property manager (.2).
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                   0.2 0.0019417          $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                  0.3 0.0029126          $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                    0.3 0.0029126          $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting             1.2 0.0116505          $4.54
2020         Operations                                          (1.2)
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                       0.2 0.0019417          $0.76
2020         Operations
September    Business               09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)              0.2 0.0029851          $0.42
2020         Operations
September    Business               09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account           0.8 0.0119403          $1.67
2020         Operations                                          numbers for all properties subject to order (.8)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly          0.2 0.0019417          $0.27
2020         Operations                                          (.2).
September    Business               09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same               2.1 0.0313433          $4.39
2020         Operations                                          (2.1)
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.            1.2 0.0116505          $4.54
2020         Operations




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).          0.3 0.0028571          $1.11
2020         Operations
October      Business               10/15/20 KBD             390 Telephone conference with J. Wine regarding property manager expense reimbursement                   0.3       0.075       $29.25
2020         Operations                                          (7051 S Bennett, 7749 S Yates, 8201 S Kingston, 8947 S Manistee).
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                   0.3 0.0028571          $1.11
2020         Operations
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                      3.3 0.0320388          $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)            0.9 0.0087379          $1.22
2020         Disposition
October      Asset                  10/06/20 JR              140 request same from property management (.2)                                                           0.2 0.0045455          $0.64
2020         Disposition
October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                   0.5 0.0048544          $0.68
2020         Disposition                                         information (.5)
October      Business               10/02/20 ED              390 review of J. Rak comments identifying discrepancies in certain draft reports and consult             0.8 0.0421053         $16.42
2020         Operations                                          underlying financial records and correspondence (.8)
October      Business               10/02/20 ED              390 prepare analysis of reimbursable amounts due from proceeds of sold properties (.4)                   0.4       0.016        $6.24
2020         Operations
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417          $0.76
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379          $3.41
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709          $0.38
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126          $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709          $0.38
2020         Operations
October      Business               10/07/20 ED              390 final review of May reports (1.0).                                                                   1.0 0.0097087          $3.79
2020         Operations
October      Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767        $3.03
2020         Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                 reimbursable amounts by properties. (.2)
October      Business               10/08/20 ED              390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631          $5.68
2020         Operations                                          of May 31, 2020 (1.5)
October      Business               10/08/20 ED              390 prepare analysis of restoration amounts due from sold properties (.6)                                0.6       0.024        $9.36
2020         Operations
October      Business               10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544          $1.89
2020         Operations                                          reports (.5).
October      Business               10/08/20 JRW             260 review draft pleadings and communicate with K. Duff and E. Duff regarding property                   0.2         0.05      $13.00
2020         Operations                                          manager's communication regarding accounts payable and restoration motion (.2)




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
October      Business               10/09/20 AW              140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796          $1.50
2020         Operations                                          regarding reports.
October      Business               10/09/20 ED              390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252          $2.27
2020         Operations
October      Business               10/09/20 ED              390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544          $1.89
2020         Operations                                          amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED              390 Prepare analysis of reimbursement amounts due from sold properties (.4)                              0.4       0.016        $6.24
2020         Operations
October      Business               10/13/20 ED              390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571          $1.11
2020         Operations
October      Business               10/13/20 JRW             260 communicate with K. Duff and E. Duff regarding accounts payable to property manager (.1)             0.1       0.025        $6.50
2020         Operations
October      Business               10/16/20 JRW             260 Confer with property manager regarding accounts payable (.2) and related telephone                   0.4          0.1      $26.00
2020         Operations                                          conference with K. Duff restoration motions (.2).
October      Business               10/20/20 ED              390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619        $2.97
2020         Operations                                          restoration and future reporting from receivership, including attachments describing funds
                                                                 transfers and confer with K. Duff regarding same (.8)
October      Business               10/20/20 ED              390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667          $2.60
2020         Operations                                          approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                                 Properties (.7).
October      Business               10/20/20 ED              390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571          $1.11
2020         Operations                                          accounting reports (.3)
October      Business               10/21/20 ED              390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048          $0.74
2020         Operations                                          property manager (.2)
October      Business               10/26/20 ED              390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667          $2.60
2020         Operations                                          updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED              390 preparation for same (.2)                                                                            0.2 0.0019048          $0.74
2020         Operations
October      Business               10/27/20 ED              390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048          $0.74
2020         Operations                                          property financial reporting (.2).
October      Business               10/27/20 ED              390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381        $4.83
2020         Operations                                          reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                                 reimbursed from proceeds of property sales (1.3)
October      Business               10/30/20 ED              390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048          $0.74
2020         Operations                                          reports, and review of related financial information.
November     Asset                  11/05/20 JR              140 review closing statement from sale of properties regarding tax payments (1.1).                       1.1       0.022        $3.08
2020         Disposition
November     Asset                  11/30/20 JR              140 review email from K. Pritchard and provide requested closed property report (.1)                     0.1 0.0018868          $0.26
2020         Disposition




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8047-55 S Manistee Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
November     Business               11/02/20 ED          390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667          $2.60
2020         Operations                                      financial records, and details relating to property restoration and reimbursement completed
                                                             through September 2020 (.7)
November     Business               11/02/20 ED          390 review and analysis of related documents (1.0).                                                      1.0 0.0095238          $3.71
2020         Operations
November     Business               11/05/20 ED          390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571          $1.11
2020         Operations
November     Business               11/05/20 ED          390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571          $1.11
2020         Operations                                      property reports (.3)
November     Business               11/06/20 ED          390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667          $2.60
2020         Operations                                      correspondence with accountants and property manager regarding same (.4)

November     Business               11/06/20 ED          390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143          $2.23
2020         Operations                                      correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/10/20 ED          390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524          $0.37
2020         Operations                                      needed for preparation of June reporting.
November     Business               11/12/20 ED          390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048          $0.74
2020         Operations                                      reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/13/20 ED          390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571          $1.11
2020         Operations                                      reports, and steps to begin preparation of July reports (.3)
November     Business               11/19/20 ED          390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619          $1.86
2020         Operations                                      reporting information required for preparation of July property reports.

November     Business               11/24/20 ED          390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571          $1.11
2020         Operations                                      accounting reports and preparation of draft August reports (.3).
November     Business               11/25/20 JRW         260 drafting of motion to use funds from property accounts for payment of property-related               1.6 0.2285714         $59.43
2020         Operations                                      expenses (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd
                                                             Place, 4520 S Drexel, 5618 S MLK) (1.6).
November     Business               11/30/20 JRW         260 draft motion for approval to pay expenses from property accounts (7749 S Yates, 8201 S               1.2 0.1714286         $44.57
2020         Operations                                      Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd Place, 4520 S Drexel, 5618 S MLK)
                                                             and related communications with J. Rak and K. Pritchard regarding sales proceeds and
                                                             payments (1.2)
November     Business               11/30/20 KMP         140 work on spreadsheet identifying property expenses (1.1).                                             1.1 0.1571429         $22.00
2020         Operations
November     Business               11/30/20 KMP         140 Prepare spreadsheet identifying account balances for certain sold properties (7749 Yates,            1.2          0.2      $28.00
2020         Operations                                      8201 Kingston, 8047 Manistee, 7051 Bennett, 431 E 42nd Place, 4520 Drexel) and
                                                             communicate with J. Wine and J. Rak regarding same (1.2)
December     Business               12/09/20 KBD         390 work on motion to pay expenses (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S            0.3         0.05      $19.50
2020         Operations                                      Bennett, 431 E 42nd Place, 4520 S. Drexel) (.3).
December     Business               12/10/20 KBD         390 Work on motion to pay expenses (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S            0.4 0.0666667         $26.00
2020         Operations                                      Bennett, 431 E 42nd Place, 4520 S. Drexel).




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
December     Asset                  12/17/20 JR              140 review property sale price information and generate report related to same, resolve a               0.9 0.0155172          $2.17
2020         Disposition                                         discrepancy (.9)
December     Asset                  12/21/20 JR              140 Review emails from E. Duff and accounting firm and produce requested sold property report           0.1 0.0017241          $0.24
2020         Disposition                                         (.1)
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.              0.2 0.0019048          $0.74
2020         Operations
December     Business               12/02/20 JRW             260 Drafting of motion to pay expenses from property accounts (7749 S Yates, 8201 S Kingston,           0.6          0.1      $26.00
2020         Operations                                          8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (.6)
December     Business               12/03/20 JRW             260 Attention to drafting motion to approve payments from property accounts (7749 S Yates,              0.7 0.1166667         $30.33
2020         Operations                                          8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (.7)

December     Business               12/03/20 JRW             260 related telephone conferences with E. Duff (.1)                                                     0.1       0.025        $6.50
2020         Operations
December     Business               12/03/20 JRW             260 related email exchange with property manager regarding account payable balances (.2)                0.2         0.05      $13.00
2020         Operations
December     Business               12/03/20 JRW             260 related telephone conferences with K. Duff (.2).                                                    0.2         0.05      $13.00
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                    0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/07/20 JRW             260 email exchange with property manager regarding current account balances (7749 S Yates,              0.1       0.025        $6.50
2020         Operations                                          8201 S Kingston, 8047 S Manistee, 7051 S Bennett) (.1).
December     Business               12/08/20 JRW             260 Study financial statements from property manager (7749 S Yates, 8201 S Kingston, 8047 S             2.2         0.55     $143.00
2020         Operations                                          Manistee, 7051 S Bennett) and related email exchange regarding same and revision to
                                                                 motion to approve payments from property accounts (2.2)
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and          2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/09/20 JRW             260 Revise motion for approval of payments out of property accounts and prepare exhibits to             1.3 0.2166667         $56.33
2020         Operations                                          same (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520
                                                                 S. Drexel) (1.3)
December     Business               12/09/20 JRW             260 related correspondence with property manager regarding property expenses (.1)                       0.1       0.025        $6.50
2020         Operations
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                           1.2 0.0114286          $4.46
2020         Operations
December     Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from           2.6 0.0247619          $9.66
2020         Operations                                          property managers (2.6).
December     Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for               0.1 0.0009524          $0.37
2020         Operations                                          preparation of September property accounting reports (.1)
December     Business               12/10/20 JRW             260 review M. Rachlis revisions to draft motion for approval to pay expenses from property              0.1 0.0166667          $4.33
2020         Operations                                          accounts (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd,
                                                                 4520 S. Drexel) (.1).
December     Business               12/11/20 KMP             140 Work on draft motion to allow payment of expenses and communicate with J. Wine                      0.3         0.05       $7.00
2020         Operations                                          regarding same (7749 S Yates, 8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E
                                                                 42nd, 4520 S. Drexel).


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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
December     Business               12/14/20 KMP         140 Further work on consolidated motion to confirm sales and allow payment of expenses,                    4.4 0.7333333        $102.67
2020         Operations                                      including finalizing motion and exhibits and filing same electronically (7749 S Yates, 8201 S
                                                             Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (4.4)

December     Business               12/14/20 KMP         140 communicate with K. Duff, M. Rachlis, A. Porter, and J. Wine regarding same (7749 S Yates,             0.3         0.05       $7.00
2020         Operations                                      8201 S Kingston, 8047-55 S Manistee, 7051 S Bennett, 431 E 42nd, 4520 S. Drexel) (.3).

December     Business               12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                  1.2 0.0114286          $4.46
2020         Operations                                      accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                     1.5 0.0142857          $5.57
2020         Operations
December     Business               12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to            0.9 0.0085714          $3.34
2020         Operations                                      properties (.9).
December     Business               12/17/20 JRW         260 correspondence with property manager regarding filed motion (.1)                                       0.1       0.025        $6.50
2020         Operations
December     Business               12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                  0.2 0.0019048          $0.74
2020         Operations
December     Business               12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and              0.4 0.0038095          $1.49
2020         Operations                                      changes (.4)
December     Business               12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                 0.4 0.0038095          $1.49
2020         Operations                                      of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December     Business               12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                       0.2 0.0019048          $0.74
2020         Operations                                      premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
January      Business               01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                       0.2 0.0019048          $0.74
2021         Operations
January      Business               01/11/21 KBD         390 Exchange correspondence regarding order on motion to use sale proceeds (7749-59 S Yates                0.2 0.0333333         $13.00
2021         Operations                                      Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue,
                                                             431 E 42nd Place, 4520-26 S Drexel Boulevard) (.2)
January      Business               01/18/21 KBD         390 Exchange correspondence with E. Duff regarding restoration of funds relating to property               0.2 0.0019048          $0.74
2021         Operations                                      expenses.
January      Claims                 01/13/21 KBD         390 review information regarding claimant's claims (7442-54 S Calumet Avenue, 7600-10 S                    0.1 0.0166667          $6.50
2021         Administration                                  Kingston Avenue, 8326-32 S Ellis Avenue, CCF2) (.1).
             & Objections

January      Claims                 01/24/21 KBD         390 exchange correspondence with E. Duff regarding communication with lenders' counsel                     0.1 0.0009524          $0.37
2021         Administration                                  relating to accounting reports (.1).
             & Objections




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase            2.2 0.0203704         $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                     0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)               0.5 0.0047619         $1.86
2021         Operations
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                       0.1 0.0009524         $0.37
2021         Operations
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                   4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond              0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October             0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                    1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per               1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                       2.4 0.0228571         $3.20
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                   0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration            0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/11/21 JRW             260 Communicate with K. Duff regarding status of motion for approval of payments and send              0.4 0.0666667        $17.33
2021         Operations                                          proposed order to Judge Lee's courtroom deputy (7749-59 S Yates Boulevard, 8201 S
                                                                 Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 431 E 42nd Place,
                                                                 4520-26 S Drexel Boulevard) (.4)
January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and            0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for             0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/14/21 JR              140 Review email from E. Duff and provide requested property information and closed property           0.2 0.0033333         $0.47
2021         Operations                                          report (.2)


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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021         Operations
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021         Operations
January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Claims                 01/07/21 JR              140 Review proof of claims and update mortgagee claim information for properties (7500-06 S              5.9 0.8428571       $118.00
2021         Administration                                      Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
             & Objections                                        7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.9)

January      Claims                 01/07/21 JR              140 telephone call with J. Wine regarding claim updates (7500-06 S Eggleston Avenue, 3030-32 E           0.2 0.0285714         $4.00
2021         Administration                                      79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-
             & Objections                                        55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
January      Claims                 01/11/21 JR              140 Work with J. Wine regarding review of claimant forms (7500-06 S Eggleston Avenue, 3030-32           1.6 0.2285714         $32.00
2021         Administration                                      E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
             & Objections                                        8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/15/21 JR              140 Review proof of claims (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S                2.8          0.4      $56.00
2021         Administration                                      Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
             & Objections                                        Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/18/21 JR              140 further correspondence with J. Wine relating to claims and resolution of several questions          0.3 0.0428571          $6.00
2021         Administration                                      and issues (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue,
             & Objections                                        2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex
                                                                 Avenue) (.3).
January      Claims                 01/18/21 JR              140 Review email from J. Wine and notes regarding proof of claim forms and exchange                     0.4 0.0571429          $8.00
2021         Administration                                      correspondence regarding same (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-
             & Objections                                        09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.4)
January      Claims                 01/18/21 JR              140 review proof of claim forms and update claims review spreadsheet (7500-06 S Eggleston               5.4 0.7714286        $108.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (5.4)

January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                0.6 0.0057143          $0.80
2021         Administration                                      lenders.
             & Objections

January      Claims                 01/20/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           6.6 0.9428571        $132.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/21/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           4.6 0.6571429         $92.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/22/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           1.5 0.2142857         $30.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.5)

January      Claims                 01/22/21 JR              140 exchange correspondence with S. Zjalic and J. Wine regarding same (7500-06 S Eggleston              0.2 0.0285714          $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
January      Claims                 01/25/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              4.8 0.6857143         $96.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (4.8).

January      Claims                 01/25/21 SZ              110 Reviewed claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59 S Essex             4.6 1.5333333        $168.67
2021         Administration                                      Avenue, 8047-55 S Manistee Avenue).
             & Objections

January      Claims                 01/26/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              4.2          0.6      $84.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/26/21 SZ              110 Continued to review claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59          3.1 1.0333333        $113.67
2021         Administration                                      S Essex Avenue, 8047-55 S Manistee Avenue).
             & Objections

January      Claims                 01/27/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              5.1 0.7285714        $102.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/28/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              5.6          0.8     $112.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

January      Claims                 01/28/21 SZ              110 Continued to review claims related to Chicago Capital Fund II (2909-19 E 78th Street, 7549-59          3.2 1.0666667        $117.33
2021         Administration                                      S Essex Avenue, 8047-55 S Manistee Avenue).
             & Objections

January      Claims                 01/29/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston              6.7 0.9571429        $134.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
February     Business               02/10/21 KBD             390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                   0.4 0.0093023         $3.63
2021         Operations                                          Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                 Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                 1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue) (.4).

February     Business               02/15/21 KBD             390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S                 0.3 0.0069767         $2.72
2021         Operations                                          Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                                 Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                                 1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue) (.3).

February     Asset                  02/11/21 JR              140 review email from K. Duff and provide requested closing dates regarding January results              0.2 0.0181818         $2.55
2021         Disposition                                         summary (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                 4611-17 S Drexel Boulevard, 7749-59 S Yates Boulevard, 1131-41 E 79th Avenue, 4533-47 S
                                                                 Calumet Avenue, 6217-27 S Dorchester Avenue, 1414-18 East 62nd Place, 6949-59 S Merrill
                                                                 Avenue, 7024-32 S Paxton Avenue) (.2).
February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records              0.4 0.0036697         $0.51
2021         Disposition                                         and status of same (.4)
February     Business               02/05/21 ED              390 Prepare analysis of sold properties with respect to which accounting reports are final (.7)          0.7 0.0118644         $4.63
2021         Operations
February     Business               02/05/21 ED              390 email correspondence with accountants and J. Rak regarding same and providing additional             0.4 0.0067797         $2.64
2021         Operations                                          data and information necessary for preparation of reports for the three month period ended
                                                                 December 31, 2020 (.4)
February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048         $0.74
2021         Operations                                          of October 2020 accounting reports.




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,             3.2 0.0304762          $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/16/21 ED              390 Email correspondence with accountant regarding identification of sold properties for which          0.3 0.0428571         $16.71
2021         Operations                                          preparation of monthly reporting is no longer required.
February     Business               02/16/21 JRW             260 Correspond with property manager regarding pending motion and related email to court's              0.2         0.05      $13.00
2021         Operations                                          clerk (.2)
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                               1.1 0.0104762          $4.09
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                           0.2 0.0019048          $0.27
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                 3.6 0.0342857          $4.80
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial           0.3 0.0028571          $0.40
2021         Operations                                          reporting.
February     Claims                 02/01/21 JR              140 Review proof of claims and update claims review chart regarding same (7500-06 S Eggleston           1.2 0.1714286         $24.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue).

February     Claims                 02/15/21 JR              140 review emails from S. Zjalic regarding EBF mortgagee claim amounts (7500-06 S Eggleston             0.2 0.0285714          $4.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (.2).

February     Claims                 02/15/21 JR              140 Review EBF mortgagee list and update with claim amounts from proof of claims applications           2.4 0.3428571         $48.00
2021         Administration                                      (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E
             & Objections                                        78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue)
                                                                 (2.4)
February     Claims                 02/16/21 JR              140 Review EB Mortgagee lists and update proof of claims loan amounts (7500-06 S Eggleston              1.6 0.2285714         $32.00
2021         Administration                                      Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street, 7549-59 S
             & Objections                                        Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.6)

March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                  0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                         2.2 0.0209524          $8.17
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.               0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048          $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524          $0.37
           Operations




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
March 2021 Claims                   03/03/21 JRW             260 Study notes regarding claims against funds (CCF1 and CCF2) (.3)                                      0.3         0.05      $13.00
           Administration
           & Objections

March 2021 Claims                   03/05/21 JR              140 update and provide requested content related to the claims distribution project (7500-06 S           1.2 0.1714286         $24.00
           Administration                                        Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S Stewart Avenue, 2909-19 E 78th Street,
           & Objections                                          7549-59 S Essex Avenue, 8047-55 S Manistee Avenue, 7947-49 S Essex Avenue) (1.2).

March 2021 Claims                   03/05/21 JR              140 Review email from J. Wine and further exchange correspondence with J. Wine related to the            0.5 0.0714286         $10.00
           Administration                                        claims distribution project (7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 7301-09 S
           & Objections                                          Stewart Avenue, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee
                                                                 Avenue, 7947-49 S Essex Avenue) (.5)
April 2021   Business               04/13/21 KBD             390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667          $2.60
             Operations                                          7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                                 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                 Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                 Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                 Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                                 1414-18 East 62nd Place) (.3)

April 2021   Asset                  04/01/21 JR              140 exchange further correspondence with A. Porter regarding discrepancy found on master EB              0.1       0.025        $3.50
             Disposition                                         portfolio spreadsheet related to net proceeds of closed properties (8100 S Essex Avenue,
                                                                 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 4315-19 S Michigan Avenue) (.1)

April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                     0.9 0.0085714          $1.20
             Disposition
April 2021   Asset                  04/02/21 JR              140 update master EquityBuild portfolio spreadsheet with correct net proceed amounts for                 0.2         0.05       $7.00
             Disposition                                         various properties (8100 S Essex Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett
                                                                 Avenue, 4315-19 S Michigan Avenue) (.2)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence               1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation              0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and           0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-          0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with S. Zjalic requesting property management reports related to           0.3 0.0047619          $0.67
             Disposition                                         repairs, provide closed property worksheet ([see F] (.3)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with S. Zjalic and provide requested sold property report (see F)          0.1 0.0015873          $0.22
             Disposition                                         (.1)
April 2021   Asset                  04/30/21 JR              140 update closed property workbook and exchange correspondence informing of same (see G)              0.2    0.003125        $0.44
             Disposition                                         (.2)
April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                 0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                  1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                 3.2 0.0304762          $4.27
             Operations
April 2021   Business               04/13/21 JRW             260 review property manager results summary and related exchange with K. Duff regarding                0.2         0.04      $10.40
             Operations                                          pending motion and payments (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S
                                                                 Manistee Avenue, 7749-59 S Yates Boulevard, 1414-18 East 62nd Place) (.2).

April 2021   Business               04/29/21 JRW             260 email to court clerk regarding proposed order granting motion to approve payment of                0.2 0.0333333          $8.67
             Operations                                          expenses (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                 7051 S Bennett Avenue, 431 E 42nd Place, 4520-26 S Drexel Boulevard) (.2).

April 2021   Business               04/30/21 JRW             260 Review order granting motion to approve payments (7749-59 S Yates Boulevard, 8201 S                0.2 0.0333333          $8.67
             Operations                                          Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 431 E 42nd Place,
                                                                 4520-26 S Drexel Boulevard) and related email exchange with K. Duff and A. Porter (.2)

April 2021   Business               04/30/21 JRW             260 correspondence with K. Duff and K. Pritchard regarding property manager accounts payable           0.4          0.1      $26.00
             Operations                                          (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S
                                                                 Bennett Avenue) (.4)
April 2021   Business               04/30/21 KMP             140 related communications with K. Duff and J. Wine regarding verification and payment of              0.2 0.0333333          $4.67
             Operations                                          expenses (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue,
                                                                 7051 S Bennett Avenue, 431 E 42nd Place, 4520-26 S Drexel Boulevard) (.2).

April 2021   Business               04/30/21 KMP             140 Attention to entered order relating to payment of property expenses (7749-59 S Yates               0.1 0.0166667          $2.33
             Operations                                          Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue,
                                                                 431 E 42nd Place, 4520-26 S Drexel Boulevard) (.1)
May 2021     Business               05/05/21 KBD             390 work on payment of approved expenses and exchange related correspondence with J. Wine              0.2         0.05      $19.50
             Operations                                          (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7749-59 S
                                                                 Yates Boulevard) (.2)
May 2021     Business               05/06/21 KBD             390 Work on property expenses and funds transfers (638-40 N Avers Avenue, 1401 W 109th                 0.4 0.0571429         $22.29
             Operations                                          Place, 7237-43 S Bennett Avenue, 7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-55
                                                                 S Manistee Avenue, 7749-59 S Yates Boulevard).




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
May 2021     Business               05/05/21 JRW             260 Correspondence to property manager regarding payment of outstanding expenses and                     0.4          0.1      $26.00
             Operations                                          related email exchange with K. Duff (7051 S Bennett Avenue, 8201 S Kingston Avenue, 8047-
                                                                 55 S Manistee Avenue, 7749-59 S Yates Boulevard) (.4)
May 2021     Business               05/05/21 KMP             140 attention to communications with property manager and insurer regarding instructions for             0.2 0.0333333          $4.67
             Operations                                          payment of approved property expenses (7749-59 S Yates Boulevard, 8201 S Kingston
                                                                 Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett Avenue, 431 E 42nd Place, 4520-26 S.
                                                                 Drexel Boulevard) pursuant to court order (.2)

May 2021     Business               05/06/21 KMP             140 prepare request forms for funds transfers to property manager for payment of approved                0.3       0.075       $10.50
             Operations                                          property expenses (7749-59 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee
                                                                 Avenue, 7051 S Bennett Avenue) pursuant to court order (.3)
May 2021     Business               05/06/21 KMP             140 communications with K. Duff and bank representative regarding funds transfers for property           0.3 0.0428571          $6.00
             Operations                                          expenses (1401 W 109th Place, 638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7749-59
                                                                 S Yates Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S Bennett
                                                                 Avenue) (.3).
May 2021     Business               05/07/21 KMP             140 Communications with property managers confirming funds transfers for property expenses               0.3 0.0428571          $6.00
             Operations                                          (1401 W 109th Place, 638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7749-59 S Yates
                                                                 Boulevard, 8201 S Kingston Avenue, 8047-55 S Manistee Avenue, 7051 S. Bennett Avenue)
                                                                 (.3)
May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381        $1.73
             Operations
May 2021     Business               05/17/21 ED              390 draft and send email to insurance agent regarding additional backup required regarding               0.9 0.0346154         $13.50
             Operations                                          premium refunds with respect to certain sold properties (8047-55 S Manistee Avenue, 8326-
                                                                 32 S Ellis Avenue, 8334- 40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue,
                                                                 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S
                                                                 Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S
                                                                 Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther
                                                                 King Drive, 6356 S California Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue,
                                                                 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 6949-59 S Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                 Avenue) (.9)




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8047-55 S Manistee Avenue                                        EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021     Business               05/17/21 ED          390 reply to email correspondence from accountant regarding calculation of insurance                      0.4 0.0097561         $3.80
             Operations                                      reconciliation amounts for properties sold in 2020 (1131-41 E 79th Place, 2453-59 E 75th
                                                             Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                             6250 S Mozart Street, 6355-59 S Talman Avenue, 6357-59 S Talman, 6749-59 S Merrill
                                                             Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue,
                                                             7546-48 S Saginaw Avenue, 7749-59 S Yates Boulevard, 816-22 E Marquette Road, 8201 S
                                                             Kingston Avenue, 8047-55 S Manistee Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                             Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                             8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7110 S
                                                             Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham
                                                             Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue,
                                                             7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S
                                                             Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 6949-59 S Merrill Avenue,
                                                             7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4).


June 2021    Business               06/01/21 ED          390 Update list of insurance policy endorsements needed to complete reconciliation of costs for           0.9 0.0219512         $8.56
             Operations                                      properties sold in 2020 and email correspondence with insurance agent to request additional
                                                             backup (8407-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue,
                                                             7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                             Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                             Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                             8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                             Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                             Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                             44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                             Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                             Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                             Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                             Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                             Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2021    Business               06/03/21 ED              390 email correspondence with insurance agent regarding insurance refunds for sold properties              0.1    0.002439       $0.95
             Operations                                          (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S
                                                                 Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel
                                                                 Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S
                                                                 Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,
                                                                 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis
                                                                 Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell
                                                                 Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-
                                                                 44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S
                                                                 Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway
                                                                 Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S
                                                                 Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                 Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.1).


June 2021    Business               06/22/21 ED              390 Email correspondence to insurance agent following up on missing documentation regarding                0.2    0.004878       $1.90
             Operations                                          refunds for prepaid premium amounts relating to properties sold in 2020 (8047-55 S
                                                                 Manistee Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-
                                                                 59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).


June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619         $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                   0.2 0.0018868         $0.26
             Disposition                                         regarding closed properties status (see D) (.2)




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2021    Business               07/21/21 JR              140 Exchange correspondence with account analyst regarding various property insurance                     0.3 0.0073171         $1.02
             Operations                                          endorsements related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201
                                                                 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St
                                                                 Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin Luther King
                                                                 Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-
                                                                 58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S
                                                                 Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22
                                                                 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                 Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                 Place, 6250 S Mozart Street).


July 2021    Business               07/22/21 JR              140 Review property insurance endorsements and communicate with account analyst regarding                 0.7 0.0170732         $2.39
             Operations                                          various property insurance missing endorsements related to sold properties and request
                                                                 production of same (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520- 26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).




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8047-55 S Manistee Avenue                                             EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2021    Business               07/23/21 JR              140 Exchange correspondence with account analyst regarding requested property insurance                    0.5 0.0119048         $1.67
             Operations                                          endorsements for sold properties in 2020, review requested endorsements and save in
                                                                 electronic files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates
                                                                 Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520-
                                                                 26 S Drexel Boulevard, 8201 S Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis
                                                                 Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                                 Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue,
                                                                 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S
                                                                 St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett
                                                                 Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman Avenue, 6356 S
                                                                 California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                 Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                 Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E
                                                                 Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston
                                                                 Avenue, 7656-58 S Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250
                                                                 S Mozart Street).


August 2021 Business                08/16/21 JR              140 Review email from E. Duff related to property endorsements regarding 2020 property                     0.4 0.0097561         $1.37
            Operations                                           insurance, update same and send all endorsements received from accounting firm (8047-55
                                                                 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella
                                                                 Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,
                                                                 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis
                                                                 Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-
                                                                 02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue,
                                                                 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59
                                                                 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th
                                                                 Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman
                                                                 Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex
                                                                 Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue,
                                                                 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                 58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.4)




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8047-55 S Manistee Avenue                                            EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2021 Business                08/25/21 ED              390 email correspondence to accountant regarding insurance cost allocation to reflect                      0.2 0.0055556         $2.17
            Operations                                           adjustments related to property sales, and completion of final 2020 accounting reports (1131-
                                                                 41 E 79th Place, 1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street,
                                                                 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-
                                                                 52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S
                                                                 Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill
                                                                 Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07
                                                                 S Dorchester Avenue, 7300-04 S St Lawrence Avenue, 7442-54 S Calumet Avenue, 7450 S
                                                                 Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S Yates
                                                                 Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette Road, 8000-
                                                                 02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-22 E Marquette
                                                                 Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-32 S
                                                                 Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                                 Aberdeen Street) (.2).

September Claims                    09/08/21 KBD             390 study correspondence and legal research regarding claims analysis (7500-06 S Eggleston                 0.4 0.0666667        $26.00
2021      Administration                                         Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S
          & Objections                                           Manistee Avenue, 7927-29 S Essex Avenue) (.4).

September Business                  09/03/21 JR              140 Review property reports and update reimbursable amounts, and related correspondence                    2.4 0.0585366         $8.20
2021      Operations                                             with E. Duff and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S
                                                                 Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,
                                                                 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis
                                                                 Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue,
                                                                 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside
                                                                 Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,
                                                                 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E
                                                                 Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S
                                                                 California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon
                                                                 Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,
                                                                 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                 Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart
                                                                 Street).




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8047-55 S Manistee Avenue                                         EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours         Fees
September Business                  09/10/21 ED          390 Call with accountant to discuss accounting treatment of insurance costs for sold properties              0.5 0.0138889          $5.42
2021      Operations                                         (1131-41 E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th
                                                             Street, 4315-19 S Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue,
                                                             5450-52 S Indiana Avenue, 5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-
                                                             59 S Talman Avenue, 6437-41 S Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S
                                                             Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue,
                                                             7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence Avenue, 7442-54 S Calumet Avenue,
                                                             7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston Avenue, 7749-59 S
                                                             Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S Marquette
                                                             Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                             22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                             Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).


September Claims                    09/08/21 AEP         390 Legal research and communication of findings to K. Duff and J. Wine in connection with                   1.7 0.2833333        $110.50
2021      Administration                                     analysis of claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/08/21 JRW         260 legal research and related correspondence with A. Porter regarding analysis of findings (7301-           1.8          0.3      $78.00
2021      Administration                                     09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th
          & Objections                                       Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)

September Claims                    09/10/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes           0.7 0.1166667         $45.50
2021      Administration                                     and legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th
          & Objections                                       Street, 2909-19 E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).

September Claims                    09/10/21 JRW         260 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds               0.7 0.1166667         $30.33
2021      Administration                                     (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E
          & Objections                                       78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)

September Claims                    09/10/21 JRW         260 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S               0.4 0.0666667         $17.33
2021      Administration                                     Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue,
          & Objections                                       8047-55 S Manistee Avenue) (.4)

September Claims                    09/10/21 MR          390 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S          0.7 0.1166667         $45.50
2021      Administration                                     Stewart Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street,
          & Objections                                       7549-59 S Essex Avenue, 8047- 55 S Manistee Avenue).




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  1017 W 102nd Street
General Allocation % (Pre 01/29/21):                                                 0.1224826%
General Allocation % (01/29/21 Onward, Claims Only):

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     16       1017 W 102nd Street                                                            4.22     $              1,152.81                           40.02    $            12,555.06               44.24    $             13,707.87
                 Asset Disposition [4]                                                        0.26    $                    84.34                         16.53   $               4,794.73              16.79   $                  4,879.07
                 Business Operations [5]                                                      0.26    $                    77.85                         11.19   $               3,733.56              11.45   $                  3,811.41
                 Claims Administration & Objections [6]                                       3.70    $                  990.61                          12.30   $               4,026.77              16.01   $                  5,017.39




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1017 W 102nd Street                                                       EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    40.02
Specific Allocation Fees:         $       12,555.06



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Claims                  08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding                  1.9 0.0213483         $8.33
            Administration                                   institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                  08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                   same.
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                  08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments                1.1 0.0123596         $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                          0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                               0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)             0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver's counsel regarding requirements for receipt of lenders' documents via            0.3 0.0081081         $3.16
            Administration                                   drive and regarding information pertaining to institutional loans from records of EquityBuild
            & Objections                                     counsel (.3).

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                           5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                       0.2 0.0022472         $0.58
            Administration                                   institutional lenders (.2)
            & Objections

August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via              1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                 0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                      0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related             0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                         0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                       0.1 0.0009346         $0.36
2018         Disposition




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                      information (.2)
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018         Operations                                      requests from lenders (.3)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                                      0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645         $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018         Operations
September    Claims                 09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                        0.5    0.005618       $2.19
2018         Administration
             & Objections

September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                 0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                      0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                     0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections

September Claims                    09/25/18 KBD         390 study correspondence from lenders servicing agent (.3).                                                0.3 0.0081081         $3.16
2018      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708         $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections

September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652         $3.07
2018      Administration
          & Objections

September Claims                    09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders                0.4 0.0071429         $2.79
2018      Administration                                     (.4)
          & Objections

September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                    0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                           0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                       0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                              0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                       2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                      0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                    0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708         $1.31
2018         Operations
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944         $1.75
2018         Operations                                      lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business               09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708         $1.31
2018         Operations                                      revision to procedure for reporting to institutional lenders (.3).
September    Business               09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596         $4.82
2018         Operations
September    Business               09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247         $7.89
2018         Operations
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434         $0.25
2018         Operations
September    Business               09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                      2.4 0.0510638        $19.91
2018         Operations                                      relating to mortgage loans (2.4)
September    Claims                 09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708         $1.31
2018         Administration                                  correspondence (.3).
             & Objections

September Claims                    09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                             0.5 0.0089286         $3.48
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                               0.1 0.0011236         $0.16
2018      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                     0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                              0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information             0.6 0.0074074         $1.93
2018      Administration                                     and draft notice letter for same (.6)
          & Objections

September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 emails to lenders and counsel to follow up on missing loan documents (1.6)                          1.6 0.0421053        $16.42
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/20/18 ED          390 Calls and emails with counsel for lender and special servicer.                                      3.8 0.1027027        $40.05
2018      Administration
          & Objections

September Claims                    09/21/18 ED          390 Review correspondence from lenders and counsel (.4)                                                 0.4 0.0074074         $2.89
2018      Administration
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                  0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                 2.5 0.0446429        $17.41
2018      Administration                                     (2.5)
          & Objections

October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                               0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                               1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                         0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                            0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                 0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                         2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                  0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                 0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                             0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement            0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same             0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)              1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                          0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                             0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key          2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                            0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                   0.1 0.0009346         $0.36
2018         Disposition


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/24/18 KBD         390 study analysis of single family home portfolio (.4).                                                0.4 0.0108108         $4.22
2018         Disposition
October      Asset                  10/25/18 KBD         390 study draft purchase and sale agreement and representation agreement for single family              0.2 0.0054054         $2.11
2018         Disposition                                     homes and review correspondence regarding same (.2)
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                      documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Business               10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                      property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October      Claims                 10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                  information, and related issues and study documents regarding same.
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                       0.3 0.0033708         $1.31
2018         Administration                                  information (.3).
             & Objections

October      Claims                 10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)             0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                 10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018         Administration                                  and provisions in order appointing receiver (.4)
             & Objections

October      Claims                 10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018         Administration                                  procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                 10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                  institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                    rent rolls, and various related issues (2.8)

October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                  representative regarding debt service analysis (.3)
             & Objections

October      Claims                 10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Claims                 10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                0.4 0.0044944         $1.75
2018         Administration                                  same (.4).
             & Objections

October      Claims                 10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and                 0.2 0.0051282         $2.00
2018         Administration                                  appraisals (.2).
             & Objections

October      Claims                 10/30/18 KBD         390 study correspondence from M. Rachlis and E. Duff regarding same (.2)                                 0.2 0.0054054         $2.11
2018         Administration
             & Objections

October      Claims                 10/30/18 KBD         390 study correspondence from lenders counsel regarding requested documentation (.5)                     0.5 0.0135135         $5.27
2018         Administration
             & Objections

October      Claims                 10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information            0.2 0.0051282         $2.00
2018         Administration                                  (.2)
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                   2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                             3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                    0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                              0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.           3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax               0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential            1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                              0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                               0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing          0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                    2.1 0.0196262         $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding                 2.4 0.0269663        $10.52
2018         Operations                                      same (2.4)
October      Business               10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and               2.7 0.0303371        $11.83
2018         Operations                                      alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,               2.0 0.0186916         $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018         Operations
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018         Operations
October      Claims                 10/02/18 ED          390 Review and reply to messages from lenders and counsel (2.5)                                          2.5 0.0409836        $15.98
2018         Administration
             & Objections

October      Claims                 10/02/18 ED          390 review correspondence and documents relating to required financial reporting under                   0.6 0.0098361         $3.84
2018         Administration                                  mortgage loan documents (.6).
             & Objections

October      Claims                 10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895         $6.16
2018         Administration
             & Objections

October      Claims                 10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                    0.2 0.0043478         $1.70
2018         Administration
             & Objections

October      Claims                 10/11/18 ED          390 Review and respond to emails from K Duff, M. Rachlis relating to financial reporting to              0.6 0.0162162         $6.32
2018         Administration                                  lender.
             & Objections

October      Claims                 10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944         $1.75
2018         Administration
             & Objections

October      Claims                 10/19/18 ED          390 conference calls with lender's counsel regarding assignment of rents, debt service payments          2.3 0.0425926        $16.61
2018         Administration                                  and other issues (2.3)
             & Objections

October      Claims                 10/19/18 ED          390 email correspondence with Receiver and M. Rachlis, A. Porter regarding same (1.1)                    1.1 0.0203704         $7.94
2018         Administration
             & Objections

October      Claims                 10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843        $12.71
2018         Administration                                  related loan documents and information supplied by lenders (2.9)
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
October      Claims                 10/21/18 ED          390 review of loan documents received from counsel to lender regarding loans and email to              1.9 0.0513514        $20.03
2018         Administration                                  counsel regarding loan information not yet supplied (1.9)
             & Objections

October      Claims                 10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/22/18 ED          390 Confer with Receiver and counsel regarding lender requests.                                        0.1    0.002381       $0.93
2018         Administration
             & Objections

October      Claims                 10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).              3.0 0.0652174        $25.43
2018         Administration
             & Objections

October      Claims                 10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel           0.9 0.0195652         $7.63
2018         Administration                                  regarding property reporting, insurance, and appraisals (.9)
             & Objections

October      Claims                 10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                  leases.
             & Objections

October      Claims                 10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                  portfolio properties (1.5)
             & Objections

October      Claims                 10/25/18 ED          390 review loan documents relating to insurance requirements (1.5).                                    1.5 0.0405405        $15.81
2018         Administration
             & Objections

October      Claims                 10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
October      Claims                 10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472          $0.88
2018         Administration                                  amount of mortgage loans (.2)
             & Objections

October      Claims                 10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124          $3.94
2018         Administration                                  logistics for site visits (.9)
             & Objections

October      Claims                 10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472          $0.88
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618        $2.19
2018         Administration
             & Objections

October      Claims                 10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan              0.6 0.0067416          $2.63
2018         Administration                                  balances for report (.6).
             & Objections

October      Claims                 10/30/18 ED          390 Review and reply to correspondence and calls from lenders counsel (2.2)                            2.2         0.05      $19.50
2018         Administration
             & Objections

October      Claims                 10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting           0.2 0.0022472          $0.88
2018         Administration                                  queries (.2)
             & Objections

October      Claims                 10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to             0.3 0.0033708          $1.31
2018         Administration                                  lenders (.3)
             & Objections

October      Claims                 10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                         0.2 0.0051282          $2.00
2018         Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                         5.1 0.1307692        $51.00
2018         Administration
             & Objections

October      Claims                 10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Asset                  11/07/18 KBD         390 telephone conference with A. Porter regarding same and listing agreement for single family             0.2 0.0054054         $2.11
2018         Disposition                                     home portfolio (.2)
November     Asset                  11/12/18 KBD         390 exchange correspondence with M. Rachlis regarding single family home broker agreement                  0.1 0.0027027         $1.05
2018         Disposition                                     (.1)
November     Asset                  11/16/18 KBD         390 draft correspondence to A. Porter regarding single family home broker agreement (.1)                   0.1 0.0027027         $1.05
2018         Disposition
November     Asset                  11/20/18 KBD         390 office conference with M. Rachlis and draft correspondence to A. Porter regarding same (.2)            0.2 0.0054054         $2.11
2018         Disposition
November     Asset                  11/20/18 KBD         390 study and revise representation agreement with respect to potential sale of single-family              2.5 0.0675676        $26.35
2018         Disposition                                     homes (2.5)
November     Business               11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018         Operations                                      and accounting for rent, and communications with property manager (.3)

November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Business               11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and                 0.2 0.0024691         $0.96
2018         Operations                                      servicing agreements (.2)
November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Business               11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236         $0.44
2018         Operations
November     Business               11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416         $2.63
2018         Operations                                      related documents (.6).
November     Business               11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618       $2.19
2018         Operations


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
November     Business               11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of               0.7 0.0078652         $3.07
2018         Operations                                      Receiver (.7)
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and             0.2 0.0018692         $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                  0.5 0.0046729         $1.82
2018         Operations
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037         $1.09
2018         Operations
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421         $2.55
2018         Operations                                      related issues (.7)
November     Claims                 11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337        $28.48
2018         Administration                                  transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                    enforce assignments of rents and leases.

November     Claims                 11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427      $22.79
2018         Administration                                  opposition brief (5.2).
             & Objections

November     Claims                 11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899        $10.96
2018         Administration                                  acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                    motion to enforce assignments of rents and leases (2.5)

November     Claims                 11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427        $10.08
2018         Administration                                  enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                 11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618        $19.72
2018         Administration                                  prepare text of affidavit (4.5)
             & Objections

November     Claims                 11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888         $3.51
2018         Administration                                  opposition memorandum (.8).
             & Objections

November     Claims                 11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427        $10.08
2018         Administration
             & Objections

November     Claims                 11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303         $6.13
2018         Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
November     Claims                 11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender          1.0    0.011236       $4.38
2018         Administration                                  motion to enforce assignments of rents and leases (1.0)
             & Objections

November     Claims                 11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                    0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/17/18 MR          390 attention to various issues from hearing (.3).                                                     0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                       0.4 0.0044944         $1.75
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 attention to letter from creditors (.2)                                                            0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Claims                 11/29/18 ED          390 confer with M. Rachlis regarding same (.1).                                                        0.1 0.0027027         $1.05
2018         Administration
             & Objections

November     Claims                 11/29/18 ED          390 Email correspondence and review of related documents regarding lender's inspection of              1.8 0.0486486        $18.97
2018         Administration                                  properties and related requests for information (1.8)
             & Objections

December     Asset                  12/07/18 KBD         390 Draft correspondence to A. Porter regarding broker agreement regarding single family               0.1 0.0027027         $1.05
2018         Disposition                                     homes ( .1)
December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).               0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                    0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)               0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                     0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                    0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                        0.4 0.0037383         $1.46
2018         Operations




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
December     Business               12/12/18 KBD             390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509         $5.52
2018         Operations                                          repair planning, and receivership activities (1.5)
December     Business               12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                          reporting (.1)
December     Business               12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business               12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                          issues (2.8)
December     Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                          to address City violations and his plan for same (1.3)
December     Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business               12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                          income from property manager and conference with K. Duff regarding same.

December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December     Business               12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                 12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                      other issues.
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
December     Claims                 12/17/18 NM          260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding               1.8 0.0222222         $5.78
2018         Administration                                  lender statements of accounts and EB funding reports and analysis and record-keeping of
             & Objections                                    same (1.8)

January      Asset                  01/20/19 KBD         390 Exchange correspondence with A. Porter regarding listing agreement for single family home             0.1 0.0027027         $1.05
2019         Disposition                                     portfolio.
January      Asset                  01/25/19 KBD         390 telephone conference with real estate broker and A. Porter regarding communications with              0.2 0.0054054         $2.11
2019         Disposition                                     title company, single family home (.2)
January      Business               01/10/19 KBD         390 study property management report (.2)                                                                 0.2 0.0029412         $1.15
2019         Operations
January      Business               01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708         $1.31
2019         Operations
January      Business               01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701         $2.33
2019         Operations
January      Business               01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118         $1.72
2019         Operations                                      regarding same (.3)
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434         $0.37
2019         Operations
January      Business               01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118         $1.72
2019         Operations
January      Business               01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708         $1.31
2019         Operations
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868         $0.74
2019         Operations                                      officials regarding scofflaw list (.2).
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434         $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Business               01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                         0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge           0.3 0.0033708         $1.31
2019         Operations                                      Kim and preparation for meeting with lenders' counsel (.3).
January      Business               01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                           0.1 0.0011236         $0.44
2019         Operations
January      Business               01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                 1.5 0.0168539         $6.57
2019         Operations
January      Claims                 01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                 0.1 0.0011236         $0.44
2019         Administration                                  (.1)
             & Objections

January      Claims                 01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                     0.4 0.0044944         $1.75
2019         Administration                                  preparation for meeting regarding same (.4)
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
January      Claims                 01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                                    0.3 0.0033708         $1.31
2019         Administration
             & Objections

January      Claims                 01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                            0.1 0.0011236         $0.44
2019         Administration                                  correspondence with real estate broker regarding same (.1)
             & Objections

January      Claims                 01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019         Administration                                  regarding same (.5).
             & Objections

January      Claims                 01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416         $2.63
2019         Administration
             & Objections

January      Claims                 01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019         Administration                                  (2.1)
             & Objections

January      Claims                 01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019         Administration                                  (.5).
             & Objections

January      Asset                  01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                     properties with institutional debt.
January      Business               01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                      issues (.5)
January      Business               01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business               01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                      with Receiver (1.2)
January      Business               01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business               01/16/19 ED          390 draft replies to requests, and email correspondence with Receiver and M. Rachlis regarding                0.8 0.0235294         $9.18
2019         Operations                                      same (.8).
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                      assorted lenders' counsel (.3).


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
January      Business               01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                   0.4 0.0044944         $1.75
2019         Operations                                      lender's counsel to discuss questions for Receiver (.4)
January      Business               01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                    0.5    0.005618       $2.19
2019         Operations
January      Business               01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                             1.0    0.011236       $4.38
2019         Operations
January      Business               01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                   0.2 0.0022472         $0.88
2019         Operations                                      meeting.
January      Business               01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019         Operations
January      Business               01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019         Operations                                      1 meeting (.9)
January      Business               01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019         Operations                                      insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January      Business               01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019         Operations                                      related exhibits and materials regarding same (4.6)
January      Business               01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019         Operations
January      Business               01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019         Operations
January      Business               01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019         Operations                                      including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)
January      Business               01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011         $7.45
2019         Operations                                      lenders' motion to enforce assignment of rents and leases (1.7)
January      Business               01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618       $2.19
2019         Operations                                      assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).
January      Business               01/31/19 ED          390 draft reply to lender's counsel regarding access to properties for second visits and confer            0.8       0.025       $9.75
2019         Operations                                      with M. Rachlis regarding same (.8)
January      Business               01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                   0.7 0.0078652         $3.07
2019         Operations                                      meeting with lenders' counsel (.7).


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  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January      Business               01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                      6.0 0.0674157        $26.29
2019         Operations
January      Business               01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                               1.7 0.0191011         $7.45
2019         Operations
January      Claims                 01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                              0.2 0.0022472         $0.88
2019         Administration
             & Objections

January      Claims                 01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019         Administration                                  meeting with lenders (.5).
             & Objections

January      Claims                 01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                 01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019         Administration                                  meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                    meeting with lenders.

January      Claims                 01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019         Administration
             & Objections

January      Claims                 01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

February     Asset                  02/06/19 KBD         390 study list of single family homes and review correspondence from A. Porter regarding same               0.1 0.0027027         $1.05
2019         Disposition                                     (.1).
February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Asset                  02/23/19 KBD         390 Study revised representation agreement relating to single family home portfolio.                        0.2 0.0054054         $2.11
2019         Disposition
February     Asset                  02/28/19 KBD         390 Study and revise draft broker agreement for single-family home listing in draft                         0.6 0.0162162         $6.32
2019         Disposition                                     correspondence to A. Porter regarding same.


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                         0.1 0.0014925          $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)             0.2 0.0029412          $1.15
2019         Operations
February     Business               02/07/19 KBD         390 exchange correspondence with N. Mirjanich regarding communications with city official               0.1 0.0027027          $1.05
2019         Operations                                      regarding single family homes (.1)
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich          0.4 0.0037383          $1.46
2019         Operations                                      (.4)
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                  0.3 0.0028037          $1.09
2019         Operations
February     Business               02/08/19 KBD         390 Meet with N. Mirjanich regarding single family home portfolio and communications with city          0.2 0.0054054          $2.11
2019         Operations                                      officials (.2)
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                               0.1 0.0009346          $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                     0.4 0.0058824          $2.29
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                 0.2 0.0029412          $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                      0.2 0.0029412          $1.15
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                 0.1 0.0014706          $0.57
2019         Operations
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment             0.1 0.0009346          $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                           0.1 0.0014706          $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm             0.1 0.0009346          $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                 0.1 0.0014925          $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                    0.1 0.0014706          $0.57
2019         Operations
February     Business               02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                        0.1       0.005        $1.95
2019         Operations
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority               0.2 0.0029412          $1.15
2019         Operations                                      documentation (.2)
February     Business               02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real           0.6         0.03      $11.70
2019         Operations                                      estate taxes and lender communications (.6).
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                   0.1 0.0014706          $0.57
2019         Operations
February     Business               02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                  0.1       0.005        $1.95
2019         Operations




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                         0.1 0.0014706         $0.57
2019         Operations
February     Business               02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                   0.2 0.0022472         $0.88
2019         Operations
February     Business               02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment             4.4 0.0494382        $19.28
2019         Operations                                      (4.4)
February     Business               02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                     1.1       0.055      $21.45
2019         Operations
February     Business               02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                 1.3 0.0146067         $5.70
2019         Operations                                      regarding same (1.3)
February     Business               02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                 3.9       0.195      $76.05
2019         Operations
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434         $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337        $28.48
2019         Operations                                      and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701         $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)
February     Business               02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                      (.1)
February     Business               02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                      spreadsheets regarding real estate tax analysis and study same (.5)
February     Business               02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                      taxes (1.4)
February     Claims                 02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019         Administration                                  regarding same (3.3)
             & Objections

February     Claims                 02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618       $2.19
2019         Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
February     Claims                 02/19/19 KBD         390 telephone conference with lenders counsel and M. Rachlis regarding various property and                   1.0    0.027027      $10.54
2019         Administration                                  loan issues (1.0)
             & Objections

February     Claims                 02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                  0.3 0.0034091         $1.33
2019         Administration                                  preparation of reporting (.3)
             & Objections

February     Claims                 02/20/19 KBD         390 study correspondence from lender's counsel regarding properties, certificates of insurance,               0.1 0.0027027         $1.05
2019         Administration                                  and loss payees (.1)
             & Objections

February     Claims                 02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                      0.3 0.0033708         $1.31
2019         Administration                                  regarding same (.3).
             & Objections

February     Asset                  02/06/19 AEP         390 assemble and provide information relating to single-family homes in receivership estate to K.             0.1 0.0027027         $1.05
2019         Disposition                                     Duff (.1).
February     Asset                  02/23/19 AEP         390 Finalize revisions to proposed single-family home representation agreement and circulate to               0.7 0.0189189         $7.38
2019         Disposition                                     team.
February     Business               02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019         Operations
February     Business               02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019         Operations
February     Business               02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019         Operations                                      (1.4)
February     Business               02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                      property expenses, and communicate same to K. Duff (.2)
February     Business               02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial      reporting              0.3 0.0078947         $3.08
2019         Operations                                      and evidence of insurance (.3)
February     Business               02/07/19 NM          260 correspond with K. Duff and City of Chicago commissioner secretary following meeting                      0.2 0.0054054         $1.41
2019         Operations                                      yesterday and study list of single-family home portfolio to send to same (.2)

February     Business               02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                      violation (.2)
February     Business               02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                      in receivership portfolio (1.9).
February     Business               02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019         Operations
February     Business               02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015       $3.90
2019         Operations                                      property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                             broker regarding a list of single-family home portfolio to send to same.




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
February     Business               02/12/19 ED              390 review and organize notes and documents relating to various pending issues and questions            0.7 0.0078652          $3.07
2019         Operations                                          from institutional lenders (.7).
February     Business               02/13/19 KMP             140 Review communication from property manager regarding gross rents for and related                    0.1 0.0014706          $0.21
2019         Operations                                          building expenses.
February     Business               02/14/19 ED              390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of            1.9 0.0215909          $8.42
2019         Operations                                          rents by property (1.9)
February     Business               02/15/19 ED              390 review email correspondence from lender's counsel and related notes regarding access to             0.7    0.021875        $8.53
2019         Operations                                          properties for inspection and appraisal, and draft correspondence regarding same to
                                                                 Receiver and M. Rachlis (.7)
February     Business               02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).          0.1 0.0014925          $0.21
2019         Operations
February     Business               02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                        0.5    0.005618        $2.19
2019         Operations
February     Business               02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                      0.5 0.0046729          $1.82
2019         Operations
February     Business               02/19/19 KMP             140 conference with K. Duff and E. Duff regarding confirmation of property insurance coverage           0.2       0.004        $0.56
2019         Operations                                          for single-family properties currently listed for sale, review communications from insurer
                                                                 relating to list of insured properties (.2).
February     Business               02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for          0.2         0.01       $3.90
2019         Operations                                          K. Duff, specifying date of upcoming tax sale.
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                      0.2 0.0029412          $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.             0.5    0.004717        $0.66
2019         Operations
February     Business               02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                    0.6         0.03      $11.70
2019         Operations
February     Business               02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                          0.2 0.0022472          $0.88
2019         Operations
February     Business               02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                   0.2 0.0022472          $0.88
2019         Operations
February     Business               02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                         2.3 0.0258427         $10.08
2019         Operations
February     Business               02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                           0.1 0.0011236          $0.44
2019         Operations
February     Business               02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of               4.4         0.22      $85.80
2019         Operations                                          property taxes.
February     Business               02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss            0.1 0.0011236          $0.44
2019         Operations                                          information for properties (.1)
February     Business               02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate          4.4 0.0494382         $19.28
2019         Operations                                          taxes (4.4)
February     Business               02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                  0.8 0.0089888          $3.51
2019         Operations




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours         Fees
February     Business               02/25/19 ED          390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652          $3.07
2019         Operations                                      (.7)
February     Business               02/25/19 ED          390 preparation for same (.8)                                                                               0.8 0.0089888          $3.51
2019         Operations
February     Business               02/25/19 KMP         140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868          $0.26
2019         Operations                                      with court order and issues relating to same (.2)
February     Business               02/25/19 MR          390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                             0.8         0.04      $15.60
2019         Operations
February     Business               02/25/19 MR          390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382         $19.28
2019         Operations                                      Duff, K. Duff, and A. Porter (4.4)
February     Business               02/25/19 NM          260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944          $1.17
2019         Operations
February     Business               02/26/19 ED          390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708          $1.31
2019         Operations
February     Business               02/26/19 ED          390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944          $1.75
2019         Operations                                      manager, and preparation of document reflecting same (.4)
February     Business               02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652          $3.07
2019         Operations                                      counsel (.7)
February     Business               02/26/19 ED          390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337         $28.48
2019         Operations                                      (6.5)
February     Business               02/26/19 MR          390 Attention to property tax related issues.                                                               4.5 0.0505618         $19.72
2019         Operations
February     Business               02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of                6.5 0.0730337         $28.48
2019         Operations                                      same to determine available funds for payment of property taxes (6.5)
February     Business               02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                                 0.3 0.0028302          $1.10
2019         Operations
February     Business               02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                   0.2 0.0022472          $0.88
2019         Operations                                      due and sources of funds (.2)
February     Business               02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                       0.3 0.0033708          $1.31
2019         Operations
February     Business               02/27/19 MR          390 review charts regarding same (.3)                                                                       0.3 0.0033708          $1.31
2019         Operations
February     Business               02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related                 1.3 0.0146067          $5.70
2019         Operations                                      submissions and payments (1.3)
February     Business               02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings                5.0 0.0561798         $21.91
2019         Operations                                      with K. Duff and E. Duff regarding same (5.0).
February     Business               02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to              0.2 0.0022472          $0.58
2019         Operations                                      costs to cure code violations (.2).
February     Business               02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders                 0.3 0.0033708          $0.88
2019         Operations                                      with respect to escrow amounts (.3)
February     Business               02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in              0.1 0.0014925          $0.21
2019         Operations                                      receivership (.1)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Business               02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019         Operations
February     Business               02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019         Operations
February     Business               02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                      funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February     Business               02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                      and review and analysis of documentation provided (1.8)
February     Business               02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                      estate taxes (.5)
February     Business               02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                      various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)
February     Business               02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                      counsel (.2)
February     Business               02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019         Operations                                      property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).
February     Claims                 02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                      3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                                1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                 02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                       0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                 02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications                1.5 0.0168539         $6.57
2019         Administration                                  regarding same.
             & Objections




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
February     Claims                 02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to               0.5    0.005618       $1.46
2019         Administration                                  institutional lenders prior to filing pursuant to request.
             & Objections

February     Claims                 02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                              0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                         0.3 0.0033708         $1.31
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                            1.0    0.011236       $4.38
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                                0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                           0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                 02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)              0.8 0.0089888         $3.51
2019         Administration
             & Objections

March 2019 Asset                    03/01/19 KBD         390 draft correspondence to A. Porter regarding potential agreement with broker regarding               0.1 0.0027027         $1.05
           Disposition                                       same (.1).
March 2019 Asset                    03/01/19 KBD         390 Telephone conference with A. Porter regarding competitive broker bids for single family             0.1 0.0027027         $1.05
           Disposition                                       home portfolio (.1)
March 2019 Asset                    03/07/19 KBD         390 evaluation of options with M. Rachlis regarding single family home portfolio, broker                0.2 0.0054054         $2.11
           Disposition                                       agreement, commission structure, and competitive bidding (.2)
March 2019 Asset                    03/07/19 KBD         390 draft correspondence to broker same (.1)                                                            0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                    03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804         $0.38
           Disposition                                       properties for sale (.1)
March 2019 Asset                    03/07/19 KBD         390 discuss preparation of motion for approval of sale of single family home portfolio with N.          0.1 0.0027027         $1.05
           Disposition                                       Mirjanich (.1)
March 2019 Asset                    03/11/19 KBD         390 Exchange correspondence with A. Porter regarding single family home broker agreement.               0.1 0.0027027         $1.05
           Disposition




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2019 Asset                    03/13/19 KBD         390 Study draft motion relating to single family home portfolio and correspondence from N.                0.3 0.0081081         $3.16
           Disposition                                       Mirjanich regarding same.
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,             0.3 0.0032609         $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/26/19 KBD         390 study single family home listing agreement and exchange correspondence with A. Porter                 0.2 0.0054054         $2.11
           Disposition                                       regarding same (.2)
March 2019 Asset                    03/27/19 KBD         390 office conference with E. Duff and draft correspondence to and telephone conference with              0.4 0.0108108         $4.22
           Disposition                                       A. Porter regarding same (.4)
March 2019 Asset                    03/27/19 KBD         390 Study and revise representation agreement for sale of single family homes (.5)                        0.5 0.0135135         $5.27
           Disposition
March 2019 Asset                    03/28/19 KBD         390 Study representation agreement for single family home portfolio and exchange                          0.3 0.0081081         $3.16
           Disposition                                       correspondence with A. Porter regarding agreement for single-family home portfolio (.3)

March 2019 Asset                    03/29/19 KBD         390 Study and exchange correspondence regarding single family home listing agreement.                     0.2 0.0054054         $2.11
           Disposition
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692         $0.73
           Operations
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346         $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                 03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                        correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                        reporting for lenders and study form of report (.6)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
March 2019 Business                 03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                       0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                          0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/21/19 KBD         390 attention to communications with lender regarding utility lease consent, communications             0.2       0.005       $1.95
           Operations                                        with separate lender regarding city actions and court order relating to porch repairs, and
                                                             communications with property manager regarding accounting report for cross-collateralized
                                                             properties (.2)
March 2019 Business                 03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for            0.3 0.0034091         $1.33
           Operations                                        lenders and study draft report form (.3)
March 2019 Business                 03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial            0.2 0.0022727         $0.89
           Operations                                        reporting by property (.2)
March 2019 Business                 03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                0.4 0.0045455         $1.77
           Operations                                        property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                   03/13/19 KBD         390 Study lenders' objections to claims process.                                                        0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study property manager financial report (.2).                                                       0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial              0.3 0.0034091         $1.33
           Administration                                    reporting for lenders (.3)
           & Objections

March 2019 Claims                   03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                     0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                              0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 study and revise draft response to lenders' objections to claims process motion (.9)                0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 study lenders' objections (.5)                                                                      0.5 0.0059524         $2.32
           Administration
           & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2019 Claims                   03/27/19 KBD             390 office conference with N. Mirjanich regarding response to lenders' objections to claims              0.2    0.002381       $0.93
           Administration                                        process motion (.2)
           & Objections

March 2019 Claims                   03/27/19 KBD             390 analysis of same with M. Rachlis (.2)                                                                0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD             390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)               0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD             390 further study and revise draft response to lenders' objections to claims process (3.6).              3.6 0.0428571        $16.71
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                             2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich              0.5 0.0059524         $2.32
           Administration                                        regarding same (.5)
           & Objections

March 2019 Asset                    03/01/19 AEP             390 Teleconference with K. Duff regarding finalization of single-family homes listing agreement          0.1 0.0027027         $1.05
           Disposition                                           and options for shopping existing bid (.1)
March 2019 Asset                    03/01/19 AEP             390 make final edits and revisions to proposed single-family home listing agreement (.3)                 0.3 0.0081081         $3.16
           Disposition
March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                 2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/07/19 NM              260 Draft motion to approve the sale process for the single-family home portfolio.                       0.9 0.0243243         $6.32
           Disposition
March 2019 Asset                    03/08/19 ED              390 Confer with N. Mirjanich regarding information relating to sales of properties from single           1.6 0.0432432        $16.86
           Disposition                                           family homes portfolio, including review and discussion of information relating to recorded
                                                                 and released liens on properties.




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Asset                    03/08/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for single-family              0.2 0.0054054         $1.41
           Disposition                                           homes (.2)
March 2019 Asset                    03/08/19 NM              260 correspond with E. Duff regarding same and regarding lender on properties and loans for               1.6 0.0432432        $11.24
           Disposition                                           same (1.6)
March 2019 Asset                    03/12/19 AEP             390 Teleconference with prospective broker of single family home portfolio regarding final                1.0    0.027027      $10.54
           Disposition                                           changes to listing agreement and begin making agreed- upon changes (1.0)

March 2019 Asset                    03/12/19 JR              140 Assist N. Mirjanich with the notice for publication for the motion to approve the process of          0.5 0.0135135         $1.89
           Disposition                                           sale of the single-family homes by adding PIN numbers to the notice (.5)

March 2019 Asset                    03/12/19 NM              260 correspond with J. Rak regarding publication notice for same (.2).                                    0.2 0.0054054         $1.41
           Disposition
March 2019 Asset                    03/12/19 NM              260 draft motion to approve the process for the single- family home sale (1.4)                            1.4 0.0378378         $9.84
           Disposition
March 2019 Asset                    03/13/19 AEP             390 Finalize latest draft of prospective single-family homes listing agreement and transmit same          0.5 0.0135135         $5.27
           Disposition                                           to receivership broker with prefatory comments.
March 2019 Asset                    03/13/19 NM              260 Revise motion to approve the process for the single-family home sale and send to A. Porter            0.5 0.0135135         $3.51
           Disposition                                           for comment.
March 2019 Asset                    03/16/19 AEP             390 Read and respond to e-mail from prospective broker for sale of single-family homes and                0.2 0.0054054         $2.11
           Disposition                                           prepare final draft of proposed representation agreement for mutual execution.

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/26/19 AEP             390 teleconference with receivership broker regarding status of listing agreement for single-             0.1 0.0027027         $1.05
           Disposition                                           family homes (.1)
March 2019 Asset                    03/27/19 AEP             390 teleconference with M. Rachlis and K. Duff regarding outcome of discussion with property              0.4 0.0108108         $4.22
           Disposition                                           manager, cash management issues, earnest money refund issues, and proposed revisions to
                                                                 single-family home listing agreement (.4)
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                 03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                 03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                            (.3)
March 2019 Business                 03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                            correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                 03/06/19 ED              390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                            reports to lenders (.4)
March 2019 Business                 03/06/19 ED              390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                            regarding same (.5)
March 2019 Business                 03/07/19 NM              260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                 03/08/19 ED              390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/11/19 ED              390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                            estate taxes (.4)
March 2019 Business                 03/11/19 ED              390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091         $6.20
           Operations                                            accounting reports (1.4)
March 2019 Business                 03/14/19 ED              390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091         $6.20
           Operations                                            accounting reports to lenders (1.4)
March 2019 Business                 03/14/19 ED              390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818         $2.22
           Operations                                            same (.5)
March 2019 Business                 03/14/19 ED              390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455         $1.77
           Operations                                            information for lender accounting reports (.4)
March 2019 Business                 03/15/19 ED              390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091         $1.33
           Operations                                            performance at each property (.3)
March 2019 Business                 03/15/19 ED              390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/15/19 ED              390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455         $1.77
           Operations                                            reports (.4)




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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                               0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                0.7 0.0079545         $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same           1.8 0.0168224         $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and             0.1 0.0011364         $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                          0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                          0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                   0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                              1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                              1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692         $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                            0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                   0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)             0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                          0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                             0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                          0.4 0.0045455         $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                          0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,              0.7 0.0079545         $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                      1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                   0.5 0.0056818         $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)          1.1      0.0125       $4.88
           Operations


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                        of accounting report (.2)
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                        (.2)
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations
March 2019 Business                 03/25/19 ED          390 confer with M. Rachlis regarding conversation with lender's counsel (.2).                              0.2 0.0054054         $2.11
           Operations
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868         $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports            0.9 0.0102273         $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                     0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                           0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                    2.0 0.0227273         $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                     0.3 0.0034091         $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                   0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property                0.3 0.0034091         $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties              0.2 0.0022727         $0.89
           Operations                                        (.2)


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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                               1.8 0.0204545         $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                               0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                          0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                          1.6 0.0202532         $7.90
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain                0.2 0.0022727         $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                     1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                    1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                 0.2 0.0022727         $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                                0.8 0.0090909         $3.55
           Operations
March 2019 Claims                   03/13/19 NM          260 Study lenders' objections to the claims motion.                                                        0.7 0.0088608         $2.30
           Administration
           & Objections

March 2019 Claims                   03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                   03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized           0.2 0.0037736         $1.47
           Administration                                    properties (.2)
           & Objections

March 2019 Claims                   03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                   03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                    cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                   03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                    cross-motion for expedited discovery and priority hearing (5.9)
           & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Claims                   03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                    cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                      regarding same and study comments from same.

March 2019 Claims                   03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             3.3 0.0417722        $10.86
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same.

March 2019 Claims                   03/29/19 MR          390 work on draft response brief (1.2)                                                                     1.2 0.0151899         $5.92
           Administration
           & Objections

March 2019 Claims                   03/29/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                   03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             8.1 0.1025316        $26.66
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                  04/01/19 KBD         390 Study single family home listing agreement and draft correspondence to A. Porter regarding             0.2 0.0054054         $2.11
             Disposition                                     same.
April 2019   Asset                  04/02/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of single-family home             0.1 0.0027027         $1.05
             Disposition                                     portfolio and additional properties (.1)
April 2019   Asset                  04/03/19 KBD         390 study correspondence from A. Porter regarding motion to approve sale of single-family                  0.1 0.0027027         $1.05
             Disposition                                     home portfolio (.1).
April 2019   Asset                  04/09/19 KBD         390 study correspondence from A. Porter and N. Mirjanich regarding planning for sale of single-            0.2 0.0054054         $2.11
             Disposition                                     family home portfolio (.2).
April 2019   Asset                  04/10/19 KBD         390 Office conference with A. Porter and telephone conference with A. Porter and real estate               0.3 0.0081081         $3.16
             Disposition                                     broker regarding planning for sale of first tranche of properties and preparing for sale of
                                                             third tranche of properties and single family homes.
April 2019   Asset                  04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934         $2.57
             Disposition
April 2019   Asset                  04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912         $3.43
             Disposition


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Asset                  04/27/19 KBD             390 Exchange correspondence with A. Porter regarding sale of single-family home portfolio.                 0.2 0.0054054         $2.11
             Disposition
April 2019   Business               04/03/19 KBD             390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868         $0.74
             Operations
April 2019   Business               04/05/19 KBD             390 exchange correspondence with property manager regarding estimated costs (.1)                           0.1 0.0014925         $0.58
             Operations
April 2019   Business               04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692         $0.73
             Operations
April 2019   Business               04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075         $2.19
             Operations
April 2019   Business               04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824         $2.29
             Operations
April 2019   Business               04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778         $3.03
             Operations
April 2019   Business               04/22/19 KBD             390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727         $0.89
             Operations                                          communication with accounting firm representative relating to same (.2)
April 2019   Business               04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126         $1.14
             Operations                                          efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383         $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417         $0.76
             Operations                                          amounts (.2)
April 2019   Claims                 04/09/19 KBD             390 Study investor lender statements of account.                                                           0.5 0.0061728         $2.41
             Administration
             & Objections

April 2019   Claims                 04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516         $2.52
             Administration
             & Objections

April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037         $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075         $0.79
             Disposition
April 2019   Asset                  04/02/19 JR              140 Email response to N. Mirjanich regarding assisting on the approval of the single-family homes          0.1 0.0027027         $0.38
             Disposition                                         motion.
April 2019   Asset                  04/02/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for the single-family           0.2 0.0054054         $1.41
             Disposition                                         home portfolio.




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 study, and revise first draft of proposed offering memorandum associated with marketing of             0.3 0.0081081         $3.16
             Disposition                                         single-family homes (.3)
April 2019   Asset                  04/17/19 AEP             390 communications with receivership brokers for single-family home portfolio regarding timing             0.2 0.0054054         $2.11
             Disposition                                         of motion to approve marketing and offering memorandum (.2).
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411         $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                 0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding           0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                           0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                        0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                 0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                    1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                     0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile            0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,             0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real                0.2 0.0028571         $1.11
             Operations                                          estate taxes.
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                   0.7 0.0079545         $3.10
             Operations
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                     0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)              0.2 0.0022472         $0.88
             Operations
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                          0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                       0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                      0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                  0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                  0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412         $1.15
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412         $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                              1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property          1.5 0.0168539         $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                             0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                     0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727         $0.89
             Operations
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)          0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182         $2.66
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273         $1.13
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                          managers (.8)
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091         $0.38
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818         $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182        $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909         $1.00
             Operations                                          property managers (.8)
April 2019   Claims                 04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)                0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures            0.2 0.0022727         $0.89
             Administration                                      (.2).
             & Objections

April 2019   Claims                 04/11/19 ED              390 Begin review of Receiver's property reports.                                                         1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED              390 review reports received against financial reporting to lenders (.8)                                  0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED              390 and research into discrepancies and questions (.7)                                                   0.7 0.0079545         $3.10
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2019   Claims                 04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                          0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED          390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
             Administration                                  insurance coverage (.3)
             & Objections

May 2019     Asset                  05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                      0.2 0.0022989         $0.90
             Disposition                                     account reporting (.2)
May 2019     Asset                  05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                      1.3 0.0149425         $5.83
             Disposition                                     representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019     Asset                  05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                  05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
             Disposition                                     procedures (.2)
May 2019     Asset                  05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
             Disposition                                     portfolio equity (.1)
May 2019     Asset                  05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                  05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                     planning (1.8)
May 2019     Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                  05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                     regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                  05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                     communications with lenders' counsel relating to same (1.1)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                     credit bid and sales procedures (.5)
May 2019     Asset                  05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                     procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                  05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                     engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019     Asset                  05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                  05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                  05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                     communications with lenders' counsel relating to same (.8)
May 2019     Asset                  05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition
May 2019     Asset                  05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                     broker (.1)
May 2019     Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business               05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                      reporting (.4)
May 2019     Business               05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                      replacement insurance (.1).
May 2019     Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                      replacement of insurance coverage (.1)
May 2019     Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                      insurance policies and renewals (.2).
May 2019     Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                      payment (.1).
May 2019     Business               05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
             Operations                                      allocation (.1).


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                      insurance (.3)
May 2019     Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                      same (.3)
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019     Business               05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations
May 2019     Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
             Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business               05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                      0.2 0.0019417         $0.76
             Operations                                      property insurance renewal (.2)
May 2019     Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                       0.1 0.0009709         $0.38
             Operations                                      payment (.1)
May 2019     Business               05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                0.2 0.0019417         $0.76
             Operations                                      property insurance payment (.2)
May 2019     Business               05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                      0.2 0.0019417         $0.76
             Operations
May 2019     Business               05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                              0.1 0.0015625         $0.61
             Operations
May 2019     Business               05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                      0.2 0.0018692         $0.73
             Operations
May 2019     Business               05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                       0.3 0.0046875         $1.83
             Operations                                      expenses (.3)




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  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
May 2019     Business               05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                 0.2 0.0022989         $0.90
             Operations
May 2019     Claims                 05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                              0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                 05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting            0.2 0.0022727         $0.89
             Administration                                  reports (.2)
             & Objections

May 2019     Claims                 05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with          0.1 0.0011494         $0.45
             Administration                                  accounting firm representatives (.1)
             & Objections

May 2019     Claims                 05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for           0.2 0.0022989         $0.90
             Administration                                  delivery of reports (.2)
             & Objections

May 2019     Claims                 05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                    0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/15/19 KBD         390 telephone conference with accounting firm representative regarding same (.1).                    0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                 05/15/19 KBD         390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                        0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD         390 office conference with E. Duff regarding same (.2)                                               0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/21/19 KBD         390 Study correspondence from E. Duff regarding communications with lender relating to               0.5 0.0056818         $2.22
             Administration                                  financial reports (.5)
             & Objections

May 2019     Asset                  05/01/19 AEP         390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific            0.7    0.008046       $3.14
             Disposition                                     accounting issues with property manager (.7).
May 2019     Asset                  05/07/19 AEP         390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding             1.5 0.0168539         $6.57
             Disposition                                     marketing and sales process (1.5).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019     Asset                  05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931         $5.38
             Disposition                                         processes for next tranche of properties (1.2).
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                  05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                  05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
             Disposition                                         of properties.
May 2019     Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
             Disposition                                         and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                  05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
             Disposition
May 2019     Asset                  05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
             Disposition
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                  05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of           0.6 0.0122449         $3.18
             Disposition                                         second tranche of properties, and the single-family home approval motion (.6)

May 2019     Asset                  05/13/19 NM              260 correspond with M. Rachlis and A. Porter regarding approval motion for single-family homes             0.1 0.0027027         $0.70
             Disposition                                         and send same to A. Porter for comment (.1).
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition
May 2019     Asset                  05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
             Disposition                                         receivership broker (1.0)
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
             Disposition
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                  05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
             Disposition
May 2019     Asset                  05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
             Disposition




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                           0.5    0.005618       $2.19
             Disposition
May 2019     Asset                  05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes               1.9 0.0387755         $5.43
             Disposition                                         survey in preparation for marketing (1.9)
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                 0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                   0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                  05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                    2.6    0.038806       $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                   0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                 0.3 0.0044776         $0.63
             Disposition                                         (.3)
May 2019     Asset                  05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                           1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                  05/30/19 MR              390 and conferences regarding same (.2).                                                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                     1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                  05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                         0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
             Disposition                                         (.2).
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
             Operations
May 2019     Business               05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
             Operations
May 2019     Business               05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923         $3.00
             Operations
May 2019     Business               05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
             Operations




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2019     Business               05/03/19 ED          390 email correspondence to accountant regarding same (.1).                                            0.1 0.0011364         $0.44
             Operations
May 2019     Business               05/03/19 ED          390 confer with K. Duff regarding same (.1)                                                            0.1 0.0015385         $0.60
             Operations
May 2019     Business               05/03/19 KMP         140 forward executed policy documents to broker (.1).                                                  0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/03/19 KMP         140 Compile documents for general liability and umbrella insurance policy renewals and                 0.2 0.0019417         $0.27
             Operations                                      conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business               05/03/19 NM          260 correspond with E. Duff regarding code violation and property tax documents needed for             0.2 0.0022989         $0.60
             Operations                                      reporting and send same (.2).
May 2019     Business               05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella              0.4 0.0038835         $0.54
             Operations                                      insurance renewal, and communications with K. Duff and bank representative regarding
                                                             same (.4)
May 2019     Business               05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                        0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                 0.1 0.0009709         $0.14
             Operations                                      premium finance agreement.
May 2019     Business               05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)           0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                   2.0 0.0227273         $8.86
             Operations
May 2019     Business               05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                0.2 0.0022727         $0.89
             Operations                                      expenditures by property (.2)
May 2019     Business               05/08/19 ED          390 email correspondence with property manager to request additional documentation for same            0.3 0.0034091         $1.33
             Operations                                      (.3)
May 2019     Business               05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for          0.9 0.0102273         $3.99
             Operations                                      follow up questions (.9)
May 2019     Business               05/08/19 ED          390 and review of related documentation (.6)                                                           0.6 0.0068182         $2.66
             Operations
May 2019     Business               05/08/19 ED          390 organize list of follow up items relating to same (.3).                                            0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                0.8 0.0090909         $3.55
             Operations                                      reports and comments and questions regarding contents (.8)
May 2019     Business               05/09/19 ED          390 review draft reports (3.9)                                                                         3.9 0.0443182        $17.28
             Operations
May 2019     Business               05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                        0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                    0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                0.2 0.0019608         $0.51
             Operations                                      manager (.2)


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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091         $11.08
             Operations
May 2019     Business               05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818          $2.22
             Operations                                      (.5)
May 2019     Business               05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214          $4.92
             Operations
May 2019     Business               05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455          $1.77
             Operations
May 2019     Business               05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545          $3.10
             Operations
May 2019     Business               05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/16/19 ED          390 review documents regarding application of receivership payments to property manager by                 2.2       0.025        $9.75
             Operations                                      property (2.2)
May 2019     Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087          $3.79
             Operations
May 2019     Business               05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports             0.1 0.0011364          $0.44
             Operations                                      (.1)
May 2019     Business               05/16/19 ED          390 review revised accounting reports from accountant (.5).                                                0.5 0.0056818          $2.22
             Operations
May 2019     Business               05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                               0.6 0.0068182          $2.66
             Operations
May 2019     Business               05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                  0.5 0.0056818          $2.22
             Operations                                      accountants (.5)
May 2019     Business               05/17/19 ED          390 review and revise draft reports received (4.4)                                                         4.4         0.05      $19.50
             Operations
May 2019     Business               05/17/19 ED          390 calls with accountant regarding reports (.3)                                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)              0.8 0.0090909          $3.55
             Operations
May 2019     Business               05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                             0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of             0.3 0.0034091          $1.33
             Operations                                      accounting reports (.3)




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019     Business               05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                   0.9 0.0102273         $3.99
             Operations                                      accounting reports (.9)
May 2019     Business               05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       4.6 0.0522727        $20.39
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273        $28.36
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273        $47.86
             Operations                                      accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business               05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364        $29.69
             Operations                                      accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019     Business               05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545        $11.82
             Operations
May 2019     Business               05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364         $0.30
             Operations
May 2019     Business               05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909        $18.17
             Operations
May 2019     Business               05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636        $33.68
             Operations                                      with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business               05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818         $0.80
             Operations                                      conferences with E. Duff regarding same.
May 2019     Business               05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
             Operations
May 2019     Business               05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
             Operations
May 2019     Business               05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
             Operations                                      reports (3.4).
May 2019     Business               05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
             Operations
May 2019     Business               05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
             Operations                                      and conferences with E. Duff regarding same.
May 2019     Business               05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
May 2019     Business               05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                           0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding             0.4 0.0038835         $0.54
             Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019     Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                   0.2 0.0019417         $0.27
             Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business               05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)               0.4 0.0045977         $1.79
             Operations
May 2019     Business               05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of             0.9 0.0103448         $4.03
             Operations                                      accounting reports (.9)
May 2019     Business               05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                            0.5 0.0057471         $2.24
             Operations
May 2019     Business               05/30/19 ED          390 and property manager (.8)                                                                                0.8 0.0091954         $3.59
             Operations
May 2019     Business               05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April                0.5 0.0057471         $2.24
             Operations                                      accounting reports (.5)
May 2019     Business               05/30/19 ED          390 call with asset manager regarding same (.2)                                                              0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).                1.0 0.0114943         $4.48
             Operations
May 2019     Business               05/30/19 KMP         140 communications with K. Duff, A. Watychowicz, J. Rak and accountant regarding state                       0.4 0.0266667         $3.73
             Operations                                      agency's notice on filing of annual report for certain entities, and review entity documents to
                                                             verify ownership of properties (.4).
May 2019     Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                        0.1 0.0009709         $0.14
             Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
May 2019     Business               05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                    0.2 0.0022989         $0.90
             Operations                                      required for April accounting reports (.2)
May 2019     Claims                 05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                     5.6 0.0643678        $25.10
             Administration                                  accounting reports (5.6)
             & Objections

May 2019     Claims                 05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)                0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                                 0.2 0.0022989         $0.90
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
             Administration                                  documents (5.0)
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                  accounting reports (.4).
             & Objections

May 2019     Claims                 05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                 05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

May 2019     Claims                 05/23/19 NM          260 prepare email to send to all investors and creditors with claims link and send same (1.3)             1.3 0.0160494         $4.17
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/24/19 NM          260 Study responses to correspondence from investors regarding claims portal and process and              1.4    0.017284       $4.49
             Administration                                  draft responses to frequently asked questions to same (1.4)
             & Objections

June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
             Disposition                                     timing (.2)
June 2019    Asset                  06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
             Disposition                                     exchange various correspondence relating to same (.4)
June 2019    Asset                  06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
             Disposition                                     with lenders counsel (.1)
June 2019    Asset                  06/05/19 KBD         390 office conference with J. Rak and exchange correspondence with A. Porter regarding single             0.2 0.0054054         $2.11
             Disposition                                     family home portfolio motion to approve listing for sale (.2)
June 2019    Asset                  06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
             Disposition                                     regarding same (.6)
June 2019    Asset                  06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
             Disposition
June 2019    Asset                  06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977         $1.79
             Disposition
June 2019    Asset                  06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966         $2.69
             Disposition                                     and study revised credit bid procedures (.6)
June 2019    Asset                  06/09/19 KBD         390 Draft correspondence to A. Porter regarding sale of properties and broker commission.                 0.2       0.004       $1.56
             Disposition
June 2019    Asset                  06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046       $3.14
             Disposition                                     M. Rachlis.
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802         $0.77
             Disposition
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                  0.5       0.005       $1.95
             Disposition
June 2019    Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                     0.3       0.003       $1.17
             Operations
June 2019    Business               06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties               0.5 0.0057471         $2.24
             Operations                                      (.5)
June 2019    Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                            0.1 0.0009346         $0.36
             Operations
June 2019    Business               06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure             0.1 0.0011494         $0.45
             Operations                                      relating to credit bid issue (.1)
June 2019    Business               06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                    0.1 0.0009709         $0.38
             Operations
June 2019    Business               06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                 0.4 0.0038835         $1.51
             Operations                                      renewal (.4)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Business               06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                  0.2 0.0019608         $0.76
             Operations                                      transfer of funds (.2)
June 2019    Business               06/12/19 KBD         390 study property manager financial reporting (.4)                                                      0.4     0.00625       $2.44
             Operations
June 2019    Business               06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                     0.2 0.0019608         $0.76
             Operations
June 2019    Business               06/14/19 KBD         390 study property manager financial reporting (.3).                                                     0.3 0.0046875         $1.83
             Operations
June 2019    Business               06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                     0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                 0.4 0.0045977         $1.79
             Operations                                      same (.4).
June 2019    Business               06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence                0.4 0.0037383         $1.46
             Operations                                      with J. Rak regarding same (.4)
June 2019    Business               06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                  0.2 0.0019608         $0.76
             Operations                                      correspondence (.2)
June 2019    Business               06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue              0.3 0.0033333         $1.30
             Operations                                      (.3).
June 2019    Claims                 06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
             Administration                                  lender's counsel regarding credit bid procedures (.3)
             & Objections

June 2019    Claims                 06/10/19 KBD         390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                  lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                    date (.3)

June 2019    Claims                 06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                  various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                 06/11/19 KBD         390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                  revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                 06/14/19 KBD         390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                 06/17/19 KBD         390 study lenders motion to amend court order and exchange correspondence regarding same                 0.6 0.0098361         $3.84
             Administration                                  (.6).
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019    Claims                 06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                     0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                 06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                    0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                 06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit                 0.2 0.0022989         $0.90
             Administration                                      bid procedures (.2)
             & Objections

June 2019    Claims                 06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                        1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
             Disposition
June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794         $4.84
             Disposition
June 2019    Asset                  06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652         $3.07
             Disposition
June 2019    Asset                  06/04/19 AEP             390 research public records and finalize list of legal descriptions, PIN's, and owners of single-           0.7 0.0189189         $7.38
             Disposition                                         family properties (.7)
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714        $25.77
             Disposition                                         marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                 specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                 to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                 PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                 surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                 lists and closing documents, and numerous other transaction preparation tasks.




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                  06/09/19 AEP             390 prepare e-mail to team regarding property sales and single-family home portfolio tranche                0.2 0.0054054         $2.11
             Disposition                                         (.2).
June 2019    Asset                  06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                  06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                         of proposed credit bidding procedures (2.1)
June 2019    Asset                  06/10/19 AEP             390 Teleconference with real estate broker regarding overview of marketing process for single-              0.2 0.0054054         $2.11
             Disposition                                         family home portfolio and effect of potential credit bidding issues.
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                  06/11/19 AEP             390 Extensive review of public records for each property owned by EB South Chicago 1, as well as            6.2 0.1675676        $65.35
             Disposition                                         all available documents in files of former EquityBuild counsel relating to the acquisition and
                                                                 financing of said properties, and begin preparation of exhibit to motion to approve sales
                                                                 process for single-family home portfolio providing all property-specific information relevant
                                                                 to consideration of motion.
June 2019    Asset                  06/12/19 AEP             390 continue reviewing public records, loan documents, and other materials in EquityBuild files             3.3 0.0891892        $34.78
             Disposition                                         and preparing motion to approve sales process for single-family home portfolio and
                                                                 supporting exhibit (3.3).
June 2019    Asset                  06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                         procedures and provide comments to team regarding same (.2)
June 2019    Asset                  06/13/19 AEP             390 Continue reviewing public records, loan documents, and other materials and preparing                    3.1 0.0837838        $32.68
             Disposition                                         motion to approve sales process for single-family home portfolio and supporting exhibit.

June 2019    Asset                  06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                  06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
             Disposition                                         all properties (.1).
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
             Disposition




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
June 2019    Asset                  06/26/19 AEP             390 Meeting with J. Rak to collect information for completion of exhibit to motion to approve             1.5 0.0405405        $15.81
             Disposition                                         sales process for single-family home portfolio, inventory state of title and survey work,
                                                                 discuss amendments to portfolio spreadsheet, and otherwise continue organization of next
                                                                 round of motion practice and closings.
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect              0.9 0.0083333         $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                  0.1       0.001       $0.14
             Disposition
June 2019    Asset                  06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                               2.5 0.0277778        $10.83
             Disposition
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other             1.8 0.0166667         $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Asset                  06/30/19 AEP             390 Study, edit, and revise second section of motion to approve single-family home portfolio              1.8 0.0486486        $18.97
             Disposition                                         consistent with results of final title reviews of all properties owned by EB South Chicago
                                                                 entities.
June 2019    Business               06/01/19 KMP             140 Communications with A. Porter and accountant regarding status of certain entities in                  0.2 0.0133333         $1.87
             Operations                                          connection with state agency's notice on filing of annual report.
June 2019    Business               06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862         $7.17
             Operations                                          and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                 same (2.4)
June 2019    Business               06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
             Operations
June 2019    Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
             Operations
June 2019    Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
             Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
             Operations                                          property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business               06/07/19 KMP             140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
             Operations                                          liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                                 regarding same (.4)
June 2019    Business               06/10/19 ED              390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/10/19 ED              390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
             Operations


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                          4.7    0.054023      $21.07
             Operations                                      regarding allocation of funds (4.7)
June 2019    Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)             0.2       0.002       $0.78
             Operations
June 2019    Business               06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds               0.6 0.0068966         $1.79
             Operations                                      and payment of expenses from same and from Receiver's account (.6).
June 2019    Business               06/13/19 ED          390 confer with M. Rachlis (.2)                                                                            0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                        0.9 0.0103448         $4.03
             Operations
June 2019    Business               06/13/19 ED          390 review information from property manager regarding application of funds from Receivership              1.0 0.0114943         $4.48
             Operations                                      to property accounts (1.0)
June 2019    Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                 0.1 0.0009709         $0.14
             Operations                                      payment for same (.1).
June 2019    Business               06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                  0.2 0.0022989         $0.90
             Operations                                      property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business               06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
             Operations                                      respond to letters received from lender (.3)
June 2019    Business               06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
             Operations
June 2019    Business               06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
             Operations
June 2019    Business               06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                      regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business               06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                      manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business               06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                      accounting reports (1.0)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/20/19 ED              390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/20/19 ED              390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business               06/20/19 MR              390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/24/19 ED              390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                          premiums relating to sold properties (.1)
June 2019    Business               06/24/19 ED              390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business               06/26/19 ED              390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                          accounts receivables (.2).
June 2019    Business               06/27/19 ED              390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Business               06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Claims                 06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                      reporting (.6)
             & Objections

June 2019    Claims                 06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                 06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                      Receivership funds provided for property expenditures (.3)
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Claims                 06/07/19 ED          390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                  and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                 06/07/19 ED          390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                 06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                  and questions relating to Receiver's accounting reports.
             & Objections

June 2019    Claims                 06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
             Administration                                  ended April 2019 (.3)
             & Objections

June 2019    Claims                 06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
             Administration                                  accounting reports to lenders (.2).
             & Objections

June 2019    Claims                 06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                  email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                 06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2019    Claims                 06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                    0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                       0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                 06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                             0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                 06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                       0.8 0.0089888         $2.34
             Administration                                  questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                 06/25/19 MR          390 prepare for (1.2)                                                                                       1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 Attention to claims related issues (.7)                                                                 0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                 06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                            0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                  07/03/19 KBD         390 telephone conference with A. Porter regarding motion for approval to list for sale single-              0.2 0.0054054         $2.11
             Disposition                                     family home portfolio (.2).
July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002       $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002       $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/10/19 KBD         390 confer with A. Porter regarding single family home portfolio, determination of listing prices,          0.3 0.0081081         $3.16
             Disposition                                     and allocation of sales proceeds (.3)
July 2019    Asset                  07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                                0.3 0.0034483         $1.34
             Disposition




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Asset                  07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs              0.1 0.0011494         $0.45
             Disposition                                     (.1).
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                   0.2       0.002       $0.78
             Disposition
July 2019    Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                          0.2       0.002       $0.78
             Disposition
July 2019    Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                           0.3 0.0029412         $1.15
             Operations
July 2019    Business               07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                 0.2       0.002       $0.78
             Operations                                      property manager (.2).
July 2019    Business               07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                   0.2 0.0032787         $1.28
             Operations
July 2019    Business               07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding               0.5 0.0081967         $3.20
             Operations                                      previous discussions before the Court about priority and abandonment.

July 2019    Business               07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
             Operations
July 2019    Business               07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
             Operations                                      communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business               07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                      and priority of property sales (.1)
July 2019    Business               07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                      E. Duff (.2)
July 2019    Business               07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business               07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
             Operations                                      regarding same (2.5)
July 2019    Business               07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business               07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Business               07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence          0.5    0.009434       $3.68
             Operations                                      with M. Rachlis regarding same (.5)
July 2019    Business               07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                      1.1 0.0207547         $8.09
             Operations
July 2019    Business               07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent               0.2 0.0037736         $1.47
             Operations                                      restoration (.2)
July 2019    Business               07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                 0.2 0.0019608         $0.76
             Operations                                      payment for insurance (.2)
July 2019    Business               07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                0.3       0.003       $1.17
             Operations
July 2019    Claims                 07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)             1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                         1.0 0.0163934         $6.39
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708         $1.31
             Administration                                  discussions before the Court (.3)
             & Objections

July 2019    Claims                 07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                0.3 0.0034483         $1.34
             Administration                                  regarding same (.3).
             & Objections

July 2019    Claims                 07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                 0.6 0.0067416         $2.63
             Administration                                  information, and case law (.6)
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2019    Claims                 07/22/19 KBD             390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                    0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/23/19 KBD             390 draft correspondence to and office conference with E. Duff regarding same (.2).                        0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                 07/23/19 KBD             390 revise motion for use of sales proceeds for rent restoration (.8)                                      0.8 0.0150943         $5.89
             Administration
             & Objections

July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519         $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                      1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                  07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19           1.6 0.0179775         $7.01
             Disposition                                         order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614         $1.94
             Disposition
July 2019    Asset                  07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                      1.1 0.0123596         $4.82
             Disposition
July 2019    Asset                  07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                      0.5    0.005618       $2.19
             Disposition
July 2019    Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on               0.1 0.0015873         $0.22
             Disposition                                         all properties for property manager (.1)
July 2019    Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                         1.5 0.0238095         $3.33
             Disposition
July 2019    Asset                  07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                            1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                  07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts              1.2 0.0136364         $5.32
             Disposition                                         regarding same.
July 2019    Asset                  07/09/19 AEP             390 teleconference with brokers retained to sell single-family home portfolio regarding valuation          1.4 0.0378378        $14.76
             Disposition                                         methodology and allocation of sales proceeds (1.4)
July 2019    Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                0.5 0.0079365         $1.11
             Disposition                                         and resend (.5)
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                      1.9       0.019       $2.66
             Disposition
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                               1.8       0.018       $2.52
             Disposition


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408         $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804         $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/23/19 AEP             390 Conference call with K. Duff, M. Rachlis, and receivership brokers regarding single-family              0.4 0.0108108         $4.22
             Disposition                                         portfolio assets and encumbrances thereon, including EBF affiliate and institutional debt (.4)

July 2019    Asset                  07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                 0.2 0.0022989         $0.90
             Disposition                                         institutional lenders (.2).
July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645         $1.13
             Disposition                                         notice of motion, and electronically file same (.5)
July 2019    Asset                  07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258         $0.45
             Disposition
July 2019    Asset                  07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129         $0.23
             Disposition
July 2019    Asset                  07/28/19 AEP             390 prepare exhibit to motion reflecting receivership broker's allocations of individual property           1.0    0.027027      $10.54
             Disposition                                         values (1.0)
July 2019    Asset                  07/28/19 AEP             390 prepare remaining exhibits to motion, including proposed order, proposed form of                        0.7 0.0189189         $7.38
             Disposition                                         publication, and proposed terms and conditions of single-family residence sales process (.7)

July 2019    Asset                  07/28/19 AEP             390 Proofread, edit, and revise latest draft of motion to approve sales process for single-family           3.1 0.0837838        $32.68
             Disposition                                         home portfolio, review notes of teleconference with receivership broker, read white paper
                                                                 received from receivership broker explaining online marketing process, and prepare new
                                                                 section of motion regarding automated valuation methodology and allocation of estimated
                                                                 market values of individual properties (3.1)

July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
             Disposition
July 2019    Asset                  07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties            1.3 0.0146067         $5.70
             Disposition                                         potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)

July 2019    Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255         $5.35
             Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019    Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001       $0.39
             Operations
July 2019    Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001       $0.39
             Operations                                          payment of real estate taxes (.1)


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
July 2019    Business               07/12/19 ED          390 Call with K Duff to discuss payment of real estate tax installments, property financial                  0.2 0.0019608         $0.76
             Operations                                      reporting information, discussions with asset manager regarding cash flow and property
                                                             costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/12/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                  0.2 0.0019608         $0.76
             Operations                                      coming due (.2)
July 2019    Business               07/14/19 ED          390 confer with K. Duff and email to J. Rak regarding same (.1)                                              0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/14/19 ED          390 and funds available for payment of property tax installments (.6)                                        0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/14/19 ED          390 Review and analysis of reports relating to property cash flow and expenses (1.1)                         1.1 0.0107843         $4.21
             Operations
July 2019    Business               07/15/19 ED          390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002       $0.78
             Operations
July 2019    Business               07/15/19 ED          390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007       $2.73
             Operations                                      Rachlis and J. Rak regarding same (.7).
July 2019    Business               07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 NM          260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002       $0.52
             Operations                                      property status (.2).
July 2019    Business               07/16/19 NM          260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
             Operations                                      water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                             the same.
July 2019    Business               07/17/19 ED          390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/18/19 AW          140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
             Operations
July 2019    Business               07/18/19 MR          390 Work on issues on rent restoration (.6)                                                                  0.6 0.0113208         $4.42
             Operations
July 2019    Business               07/19/19 AW          140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804         $0.14
             Operations
July 2019    Business               07/23/19 ED          390 review of June financial reporting from property managers (.4)                                           0.4       0.004       $1.56
             Operations
July 2019    Business               07/25/19 ED          390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business               07/25/19 KMP         140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216         $0.55
             Operations                                      and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/25/19 MR          390 Attention to rent restoration motion (.4)                                                                0.4 0.0075472         $2.94
             Operations
July 2019    Business               07/25/19 NM          260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                  0.2 0.0037736         $0.98
             Operations                                      serving the same (.2)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2019    Business               07/25/19 NM          260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for              1.0 0.0188679         $4.91
             Operations                                      rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019    Business               07/29/19 MR          390 Prepare for upcoming hearing.                                                                          0.4 0.0075472         $2.94
             Operations
July 2019    Business               07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                  0.3 0.0029412         $1.15
             Operations
July 2019    Claims                 07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership                      1.4    0.016092       $6.28
             Administration                                  expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                 07/01/19 ED          390 email to accountant regarding same (.4).                                                               0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                                      0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting                 0.2 0.0022989         $0.90
             Administration                                  reports to lenders.
             & Objections

July 2019    Claims                 07/10/19 ED          390 email correspondence with accountants (.6)                                                             0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                             0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                        1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                              0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                                0.5 0.0057471         $2.24
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/11/19 ED          390 and email correspondence confirming next steps (.3)                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments                   0.2 0.0022989         $0.90
             Administration                                  attributable to properties (.2)
             & Objections

July 2019    Claims                 07/14/19 ED          390 email accountant regarding same (.2)                                                                0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                        1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                  to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                 07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
             Administration                                  preparation of June accounting reports to lenders (.5)
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
July 2019    Claims                 07/18/19 ED          390 final review of May accounting reports (.7)                                                        0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with          0.3 0.0034483         $1.34
             Administration                                  information and instructions for same (.3)
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                           0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports          0.8 0.0091954         $3.59
             Administration                                  (.8)
             & Objections

July 2019    Claims                 07/19/19 ED          390 Email correspondence with A. Watychowicz regarding preparation of May accounting                   0.1 0.0011494         $0.45
             Administration                                  reports to lenders (.1)
             & Objections

July 2019    Claims                 07/22/19 ED          390 and confer with K. Duff regarding same (1.1)                                                       1.1 0.0126437         $4.93
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED          390 review of analysis prepared by accountant (.2)                                                     0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED          390 prepare information for responses to queries from lenders' counsel regarding payment of            0.5 0.0057471         $2.24
             Administration                                  real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                 07/22/19 ED          390 send May accounting reports to lenders' counsel (2.0)                                              2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED          390 email correspondence with lender's counsel regarding questions relating to same (.3)               0.3 0.0034483         $1.34
             Administration
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019    Claims                 07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                 07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
             Administration                                      reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                 07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                      accounting reports (.9)
             & Objections

July 2019    Claims                 07/26/19 ED              390 email correspondence with accountant regarding information for inclusion in June                         0.4 0.0045977         $1.79
             Administration                                      accounting reports to lenders (.4)
             & Objections

August 2019 Asset                   08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                   08/01/19 KBD             390 Study draft motion for approval to sell single family home portfolio (.4)                                0.4 0.0108108         $4.22
            Disposition
August 2019 Asset                   08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest               0.1       0.001       $0.39
            Disposition                                          in properties (.1)
August 2019 Asset                   08/09/19 KBD             390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                   08/12/19 KBD             390 telephone conference with real estate broker and A. Porter regarding lender                              0.1 0.0011494         $0.45
            Disposition                                          communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                   08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                       0.3       0.003       $1.17
            Disposition                                          marketing efforts, market response, and planning for bidder communications (.3)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2019 Asset                   08/15/19 KBD         390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second          0.5 0.0111111         $4.33
            Disposition                                      group of properties and single family home portfolio (.5)
August 2019 Asset                   08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                    1.5 0.0172414         $6.72
            Disposition                                      credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                             (1.5).
August 2019 Asset                   08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                  0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                         0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing             0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Asset                   08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                   0.3       0.003       $1.17
            Disposition
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                   0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/12/19 KBD         390 study property manager financial reporting (.3).                                                      0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                         0.1       0.001       $0.39
            Operations
August 2019 Business                08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).               0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                   0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                           0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                       0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.              0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                     0.5       0.005       $1.95
            Operations
August 2019 Claims                  08/08/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.4)                                              0.4 0.0108108         $4.22
            Administration
            & Objections

August 2019 Claims                  08/08/19 KBD         390 Prepare for conference with lender's counsel (.8)                                                     0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/08/19 KBD         390 conference with lender's counsel (.8)                                                                 0.8 0.0216216         $8.43
            Administration
            & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/09/19 KBD         390 study draft response to lender objections (.4).                                                    0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                 0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                  08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                   procedures.
            & Objections

August 2019 Claims                  08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                        0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                             0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and           1.5 0.0172414         $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions             4.3 0.0494253        $19.28
            Administration                                   (4.3)
            & Objections

August 2019 Claims                  08/20/19 KBD         390 telephone conference with lenders' counsel regarding preparation to market and sell single          1.2 0.0324324        $12.65
            Administration                                   family home portfolio and relating to preliminary report of claims process and upcoming
            & Objections                                     hearing (1.2)

August 2019 Claims                  08/20/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.8)                                            0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                       2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing             0.2 0.0022989         $0.90
            Administration                                   issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/28/19 KBD         390 Study lenders' reply relating to objections.                                                        0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD         390 exchange correspondence regarding communications with lender's counsel regarding credit             0.2 0.0022989         $0.90
            Administration                                   bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/29/19 KBD         390 exchange correspondence regarding credit bid from lender (.2).                                      0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/31/19 KBD         390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                      0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                   08/07/19 AEP         390 Conference call with title company regarding status of completion of all remaining title            0.5    0.005102       $1.99
            Disposition                                      commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                             timetables (.5)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2019 Asset                   08/08/19 MR              390 Prepare for and participate in call with lender's counsel, A Porter and K. Duff.                      2.0 0.0540541        $21.08
            Disposition
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                          0.2       0.002       $0.28
            Disposition
August 2019 Asset                   08/13/19 AEP             390 read e-mail from receivership broker regarding status of motion for approval to sell single-          0.1 0.0027027         $1.05
            Disposition                                          family residences and respond thereto (.1).
August 2019 Asset                   08/20/19 AEP             390 conference call with counsel for secured lender holding interests in single-family home               1.3 0.0351351        $13.70
            Disposition                                          portfolio regarding marketing process, potential objection to sales process, allocations of
                                                                 value to individual assets, and potential meeting with secured lenders to discuss global
                                                                 issues, including timing of claims process (1.3)
August 2019 Asset                   08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second             0.1 0.0022222         $0.58
            Disposition                                          tranche, and listing of all remaining properties (.1)
August 2019 Asset                   08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                  0.3 0.0056604         $1.47
            Disposition                                          rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                   08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                                  0.2 0.0037736         $1.47
            Disposition
August 2019 Asset                   08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff             1.0 0.0188679         $4.91
            Disposition                                          regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for              0.2       0.002       $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                 1.3       0.013       $1.82
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                           0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).                0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to                  0.1 0.0014085         $0.20
            Operations                                           payment of real estate taxes.
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                 0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                               0.7       0.007       $2.73
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                     0.8       0.008       $3.12
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                         0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                                 1.2       0.012       $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).               0.1 0.0009804         $0.14
            Operations


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483         $1.34
            Administration                                       documents (.3)
            & Objections

August 2019 Claims                  08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                       accounting firm (.5).
            & Objections

August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                   Hours        Fees
August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                        0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                          0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 confer with K. Duff regarding meeting with institutional lender (.1)                              0.1 0.0023256         $0.33
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 locate and download proof of claims forms submitted by institutional lender (.4)                  0.4 0.0093023         $1.30
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 review spreadsheets and prepare same for upcoming meeting (.6)                                    0.6 0.0139535         $1.95
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                               0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 call with accountant regarding same (.1)                                                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/13/19 NM              260 study respond to lender objections on credit bid procedures orders, revise the same, and          0.3    0.004918       $1.28
            Administration                                       correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                  08/14/19 ED              390 and email correspondence with accountant regarding comments (.6)                                  0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED              390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)              0.1 0.0011494         $0.45
            Administration
            & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2019 Claims                  08/14/19 NM          260 study response to lender objections on credit bid procedures orders for filing (.2).                  0.2 0.0032787         $0.85
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                             3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                     0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related               2.7 0.0310345        $12.10
            Administration                                   documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures               0.4 0.0045977         $1.79
            Administration                                   for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                  08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                             0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                              0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                  08/16/19 NM          260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                    0.5 0.0061728         $1.60
            Administration                                   property with EBF debt (.5)
            & Objections

August 2019 Claims                  08/16/19 NM          260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                   same (.3).
            & Objections

August 2019 Claims                  08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                                 2.2 0.0252874         $9.86
            Administration
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
August 2019 Claims                  08/19/19 ED              390 email correspondence with accountant regarding comments and questions regarding                      0.6 0.0068966         $2.69
            Administration                                       content of reports (.6)
            & Objections

August 2019 Claims                  08/19/19 ED              390 and review revised reports (3.9)                                                                     3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED              390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).            1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage            7.3 0.0890244        $12.46
            Administration                                       of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections

August 2019 Claims                  08/19/19 MR              390 attention to upcoming meeting and hearing on lender related issues (.5).                             0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR              390 attention to order on credit bids and conferences regarding same (.3)                                0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR              390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                3.5 0.0402299        $15.69
            Administration                                       follow up regarding same (3.5)
            & Objections

August 2019 Claims                  08/20/19 MR              390 follow up discussion and preparation with same (.5).                                                 0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                  08/20/19 MR              390 conferences with lender counsel on claims issues and property sales with K. Duff, A. Porter          1.4 0.0378378        $14.76
            Administration                                       (1.4)
            & Objections

August 2019 Claims                  08/21/19 AW              140 attention to email from E. Duff regarding accounting reports for institutional lenders and           0.1 0.0011236         $0.16
            Administration                                       follow up (.1)
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/21/19 AW              140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                  08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all              7.8    0.095122      $13.32
            Administration                                       the properties.
            & Objections

August 2019 Claims                  08/21/19 NM              260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                       study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                  08/22/19 ED              390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED              390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED              390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                       accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                  08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the                   8.0    0.097561      $13.66
            Administration                                       recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                  08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                      5.3     0.06625       $9.28
            Administration
            & Objections

August 2019 Claims                  08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.                6.1 0.0753086        $10.54
            Administration
            & Objections

August 2019 Claims                  08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                                   0.2 0.0024691         $0.64
            Administration
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                               7.5 0.0925926        $12.96
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                         0.2 0.0024691         $0.35
            Administration
            & Objections

August 2019 Claims                  08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                              0.4 0.0049383         $1.28
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 email correspondence with accountant (.6)                                                              0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483         $1.34
            Administration                                       reports to lenders (.3)
            & Objections

August 2019 Claims                  08/28/19 ED              390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494         $0.45
            Administration                                       amounts
            & Objections

August 2019 Claims                  08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531         $2.77
            Administration
            & Objections

August 2019 Claims                  08/29/19 ED              390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM              260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                       hearing attached as exhibit to the same (.7).
            & Objections

September    Asset                  09/04/19 KBD             390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989         $0.90
2019         Disposition
September    Asset                  09/04/19 KBD             390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356        $11.21
2019         Disposition                                         bidding, and hearing before Judge Lee (2.5).
September    Asset                  09/06/19 KBD             390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483         $1.34
2019         Disposition                                         regarding sales contracts and communications relating to credit bidding (.3)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Asset                     09/09/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding communications             0.8 0.0126984         $4.95
2019      Disposition                                        with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                             marketing and property tour information.
September    Asset                  09/12/19 KBD         390 draft correspondence to lender's counsel regarding valuation information (.1).                      0.1    0.002381       $0.93
2019         Disposition
September    Asset                  09/18/19 KBD         390 Exchange correspondence with M. Rachlis regarding single family home portfolio valuation.           0.2 0.0054054         $2.11
2019         Disposition
September    Asset                  09/21/19 KBD         390 Draft correspondence to lender's counsel regarding valuation of properties and exchange             0.3 0.0081081         $3.16
2019         Disposition                                     correspondence with M. Rachlis and A. Porter regarding same.
September    Asset                  09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                         3.7 0.0362745        $14.15
2019         Disposition
September    Asset                  09/23/19 KBD         390 study property valuation information relating to single family homes, draft correspondence          0.2 0.0054054         $2.11
2019         Disposition                                     to lender's counsel regarding same, and exchange correspondence with A. Porter regarding
                                                             same (.2)
September    Asset                  09/24/19 KBD         390 study property valuation information for single family home portfolio and exchange                  0.2 0.0054054         $2.11
2019         Disposition                                     correspondence regarding same (.2).
September    Asset                  09/26/19 KBD         390 Study property valuation information relating to single family home portfolio and exchange          0.3 0.0081081         $3.16
2019         Disposition                                     correspondence regarding same (.3)
September    Asset                  09/27/19 KBD         390 Exchange correspondence regarding valuation of properties.                                          0.3 0.0081081         $3.16
2019         Disposition
September    Business               09/11/19 KBD         390 study property manager financial reports (.3)                                                       0.3 0.0046875         $1.83
2019         Operations
September    Business               09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.            0.4 0.0045977         $1.79
2019         Operations                                      Duff regarding property financial reporting.
September    Business               09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                   0.1 0.0009804         $0.38
2019         Operations
September    Claims                 09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                       0.1 0.0011494         $0.45
2019         Administration
             & Objections

September Claims                    09/03/19 KBD         390 Telephone conference and exchange correspondence with broker regarding credit bids and              0.3 0.0034483         $1.34
2019      Administration                                     communications with potential purchasers (.3)
          & Objections

September Claims                    09/10/19 KBD         390 telephone conference with real estate broker regarding credit bids and communications with          0.2 0.0022989         $0.90
2019      Administration                                     lenders representatives regarding same (.2).
          & Objections

September Claims                    09/13/19 KBD         390 study correspondence from A. Porter regarding language in purchase and sale agreement for           0.1 0.0011494         $0.45
2019      Administration                                     credit bid (.1).
          & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September Claims                    09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                   0.1 0.0011494         $0.45
2019      Administration
          & Objections

September    Asset                  09/18/19 AEP             390 communications with K. Duff and M. Rachlis regarding single- family residence portfolio (.1).          0.1 0.0027027         $1.05
2019         Disposition
September    Asset                  09/20/19 AEP             390 Prepare e-mail to receivership broker regarding proposed exchange of valuation data with               0.1 0.0027027         $1.05
2019         Disposition                                         secured institutional lender (.1)
September    Asset                  09/21/19 MR              390 attention to issues regarding single family portfolio related issues (.2).                             0.2 0.0054054         $2.11
2019         Disposition
September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding               2.5 0.0245098         $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 MR              390 review various emails regarding single home portfolio and other issues (.3)                            0.3 0.0081081         $3.16
2019         Disposition
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                           0.3 0.0029412         $1.15
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                         0.3       0.003       $0.42
2019         Disposition
September    Asset                  09/24/19 MR              390 attention to emails regarding single family home portfolio and attention to various court              0.2 0.0054054         $2.11
2019         Disposition                                         orders (.2)
September    Asset                  09/25/19 JR              140 exchange correspondence with A. Porter regarding same (.3)                                             0.3 0.0081081         $1.14
2019         Disposition
September    Asset                  09/25/19 JR              140 prepare a worksheet with comparative analysis of estimated market values for the single                1.6 0.0432432         $6.05
2019         Disposition                                         family homes (1.6)
September    Asset                  09/26/19 AEP             390 Review and analyze broker opinion of values received from special servicer for institutional           0.7 0.0189189         $7.38
2019         Disposition                                         lender related to single-family residence portfolio, create spreadsheet comparing lender
                                                                 values with values used by receivership broker and generate figures comparing allocations of
                                                                 individual property values to portfolio values as ascertained by both special servicer and
                                                                 receivership broker and prepare e-mail to receivership broker regarding same.

September Asset                     09/28/19 AEP             390 Prepare e-mail to K. Duff and J. Rak regarding comparisons of broker opinions of value                 0.2 0.0054054         $2.11
2019      Disposition                                            received from special servicer for institutional lender and values applied by receivership
                                                                 broker and additional exchanges of supporting documentation (.2)
September    Business               09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                        0.2 0.0022989         $0.90
2019         Operations
September    Business               09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                         0.3 0.0034483         $1.34
2019         Operations
September    Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                0.4 0.0039216         $0.55
2019         Operations                                          finance company for payment on insurance premium finance agreement (.4)

September Business                  09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                    0.2 0.0022989         $0.32
2019      Operations




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
September    Business               09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July                3.3 0.0383721         $5.37
2019         Operations                                          2019 (3.3)
September    Business               09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                             0.2 0.0022989         $0.32
2019         Operations
September    Business               09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471         $2.24
2019         Operations
September    Business               09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989         $0.90
2019         Operations
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505         $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431         $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216         $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September    Business               09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977         $1.79
2019         Operations
September    Business               09/25/19 ED              390 review of financial reporting records (.7)                                                               0.7    0.008046       $3.14
2019         Operations
September    Claims                 09/01/19 MR              390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483         $1.34
2019         Administration                                      lender.
             & Objections

September Claims                    09/03/19 NM              260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                        0.2 0.0024691         $0.64
2019      Administration
          & Objections

September Claims                    09/10/19 ED              390 Preliminary review of draft accounting reports to lenders (.2)                                           0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED              390 and confer with J. Rak regarding same (.1)                                                               0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/10/19 ED              390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding               0.1 0.0011494         $0.45
2019      Administration                                         payment of outstanding real estate taxes (.1).
          & Objections

September Claims                    09/10/19 ED              390 email correspondence with accountant regarding (.4)                                                      0.4 0.0045977         $1.79
2019      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into               0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                         0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections

September Claims                    09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                        0.1 0.0018868         $0.74
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)              0.1 0.0011494         $0.45
2019      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                         Task Hours
  Month                                       Keeper                                                                                                         Hours        Fees
September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                   1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                 1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)          0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                          1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                           0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)             1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                    0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                  1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                             0.2 0.0022989         $0.90
2019      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                             0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/22/19 ED          390 Analysis of operating expenses.                                                                           1.5 0.0172414         $6.72
2019      Administration
          & Objections

October      Asset                  10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit                   0.2 0.0022989         $0.90
2019         Disposition                                     bidding and planning for further sales.
October      Asset                  10/08/19 KBD         390 study correspondence regarding property valuation (.2)                                                    0.2 0.0047619         $1.86
2019         Disposition
October      Asset                  10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                          1.0 0.0114943         $4.48
2019         Disposition                                     regarding various property sales and credit bidding (1.0)
October      Asset                  10/17/19 KBD         390 Analysis of potential sale opportunity.                                                                   0.2 0.0022472         $0.88
2019         Disposition
October      Asset                  10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                    0.3 0.0033708         $1.31
2019         Disposition                                     same.
October      Business               10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                      0.8 0.0078431         $3.06
2019         Operations
October      Business               10/07/19 KBD         390 study property manager financial reporting (.3).                                                          0.3 0.0046875         $1.83
2019         Operations
October      Business               10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                        0.1 0.0009804         $0.38
2019         Operations
October      Business               10/15/19 KBD         390 study financial reporting from property manager (.3).                                                     0.3 0.0046875         $1.83
2019         Operations
October      Claims                 10/10/19 KBD         390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to               0.3 0.0034483         $1.34
2019         Administration                                  sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Asset                  10/01/19 AEP         390 reply to receivership broker regarding single-family home valuations (.1)                                 0.1 0.0027027         $1.05
2019         Disposition
October      Asset                  10/01/19 MR          390 Attention to single family home portfolio issues.                                                         0.3 0.0081081         $3.16
2019         Disposition
October      Asset                  10/02/19 AEP         390 teleconference with counsel for special servicer regarding variations in single-family portfolio          0.4 0.0108108         $4.22
2019         Disposition                                     valuation analyses and potential for resolution of differences (.4)
October      Asset                  10/04/19 AEP         390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding                0.3 0.0034483         $1.34
2019         Disposition                                     procedures (.3)
October      Asset                  10/04/19 AEP         390 prepare e-mail to counsel for special servicer regarding prospective receipt of BOV's and                 0.1 0.0027027         $1.05
2019         Disposition                                     scheduling of conference call with clients to discuss reconciliation of same with receivership
                                                             broker listing prices (.1).
October      Asset                  10/04/19 MR          390 Attention to order on objections to sales (.4)                                                            0.4 0.0045977         $1.79
2019         Disposition


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
October      Asset                  10/08/19 AEP             390 analyze valuation variances relating to single family home portfolio and exchange                      0.3 0.0081081         $3.16
2019         Disposition                                         correspondence with broker and lenders' counsel regarding same (.3)
October      Asset                  10/08/19 MR              390 attention to issues on single family homes (.3)                                                        0.3 0.0081081         $3.16
2019         Disposition
October      Asset                  10/16/19 AEP             390 e-mail exchanges with K. Duff regarding attempts to schedule conference call with                      0.1 0.0027027         $1.05
2019         Disposition                                         receivership broker for single-family residences and representative of lender's loan servicer
                                                                 (.1)
October      Asset                  10/17/19 AEP             390 Prepare e-mail to counsel for lender on single-family residence properties regarding                   0.1 0.0027027         $1.05
2019         Disposition                                         scheduling of conference call regarding valuation and allocation issues (.1)

October      Asset                  10/17/19 AEP             390 teleconference with counsel for lender on single-family residence properties regarding                 0.4 0.0108108         $4.22
2019         Disposition                                         valuation and allocation issues and prospects for agreement on motion to approve
                                                                 marketing process (.4)
October      Asset                  10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                         0.3 0.0034884         $0.49
2019         Disposition
October      Asset                  10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank                3.2 0.0372093         $5.21
2019         Disposition                                         statement and compare (3.2).
October      Asset                  10/22/19 AEP             390 Conference call with receivership broker for single-family residence properties regarding              0.3 0.0081081         $3.16
2019         Disposition                                         valuation issues (.3)
October      Asset                  10/22/19 AEP             390 prepare e-mail to counsel for lender on single-family residence properties regarding                   0.1 0.0027027         $1.05
2019         Disposition                                         scheduling of conference call regarding valuation and allocation issues (.1).

October      Asset                  10/23/19 MR              390 Attention to issues on single family home sales and other related issues.                              0.3 0.0081081         $3.16
2019         Disposition
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                  0.4 0.0039216         $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/28/19 AEP             390 correspondence between counsel for loan servicer and receivership single-family home                   0.2 0.0054054         $2.11
2019         Disposition                                         broker regarding scheduling of conference call regarding valuations and allocations (.2).

October      Asset                  10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                         1.2 0.0137931         $5.38
2019         Disposition
October      Business               10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with                 0.4 0.0045977         $1.79
2019         Operations                                          accountant regarding same.
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                               0.3 0.0029412         $1.15
2019         Operations
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                  1.0 0.0098039         $3.82
2019         Operations
October      Business               10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August                0.6 0.0068182         $2.66
2019         Operations                                          property reports.
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                     0.2 0.0021739         $0.30
2019         Operations
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers              1.9 0.0206522         $2.89
2019         Operations                                          can pay out of current net operating income (1.9)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate           0.3 0.0030303         $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.               0.5 0.0057471         $2.24
2019         Operations
October      Business               10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and            3.1 0.0360465         $5.05
2019         Operations                                          also compare funds sent to property manager from receivers' account.

October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                        0.6       0.006       $0.84
2019         Operations
October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real               0.2       0.002       $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/22/19 JR              140 Finalize financial reports for receivership.                                                          1.4 0.0162791         $2.28
2019         Operations
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare            0.9 0.0087379         $1.22
2019         Operations                                          same.
October      Business               10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income             0.8 0.0091954         $3.59
2019         Operations                                          and expenditures (.8).
October      Business               10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                  1.3 0.0149425         $5.83
2019         Operations
October      Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                  0.3 0.0029412         $0.41
2019         Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

October      Claims                 10/10/19 NM              260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid               0.4 0.0045977         $1.20
2019         Administration                                      issue (.4).
             & Objections

October      Claims                 10/17/19 ED              390 Preliminary review of August accounting reports to lenders (1.5)                                      1.5 0.0174419         $6.80
2019         Administration
             & Objections

October      Claims                 10/17/19 ED              390 confer with J. Rak regarding same (.2).                                                               0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/24/19 ED              390 update transmittal messages to lenders' counsel (1.6)                                                 1.6 0.0183908         $7.17
2019         Administration
             & Objections

October      Claims                 10/24/19 ED              390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019         Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
October      Claims                 10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                              0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                        2.8 0.0325581        $12.70
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                               1.1 0.0127907         $4.99
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                             0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during             1.2 0.0139535         $5.44
2019         Administration                                  September (1.2)
             & Objections

October      Claims                 10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property              0.2 0.0023256         $0.91
2019         Administration                                  reports (.2).
             & Objections

November     Asset                  11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                             0.2 0.0020833         $0.81
2019         Disposition
November     Asset                  11/18/19 KBD         390 Exchange correspondence with City official regarding sale of properties (.2)                      0.2 0.0021739         $0.85
2019         Disposition
November     Asset                  11/23/19 KBD         390 Study correspondence from A. Porter regarding asset disposition planning.                         0.3 0.0032258         $1.26
2019         Disposition
November     Business               11/05/19 KBD         390 Telephone conference with real estate broker and asset manager regarding evaluation and           0.2 0.0019608         $0.76
2019         Operations                                      assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                             improvements for remaining properties in portfolio (.2)
November     Business               11/05/19 KBD         390 analysis of same (.2).                                                                            0.2 0.0019608         $0.76
2019         Operations
November     Business               11/07/19 KBD         390 Exchange correspondence with property manager regarding funds for property expenses.              0.2 0.0032787         $1.28
2019         Operations
November     Business               11/12/19 KBD         390 study property manager reports (.6).                                                              0.6 0.0098361         $3.84
2019         Operations
November     Business               11/25/19 KBD         390 Attention to various insurance issues relating to properties and exchange correspondence          0.4 0.0042105         $1.64
2019         Operations                                      with E. Duff regarding same (.4)
November     Business               11/25/19 KBD         390 telephone conferences with bank representative regarding fund transfers for property              0.2 0.0021053         $0.82
2019         Operations                                      insurance and expenses (.2)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November     Business               11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding               0.3 0.0031579         $1.23
2019         Operations                                          same (.3)
November     Business               11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,                0.2 0.0021053         $0.82
2019         Operations                                          and planning (.2)
November     Asset                  11/01/19 AEP             390 teleconference with special servicer, counsel for special servicer, and receivership single-             0.6 0.0162162         $6.32
2019         Disposition                                         family residence portfolio broker regarding conflicting valuations and allocations and
                                                                 attempts to reconcile differences prior to filing of motion to approve sales process (.6)

November     Asset                  11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties               0.4 0.0043478         $1.70
2019         Disposition                                         (.4).
November     Asset                  11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                                 0.9 0.0104651         $1.47
2019         Disposition
November     Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                2.8 0.0294737        $11.49
2019         Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)
November     Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019         Disposition
November     Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019         Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November     Asset                  11/26/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding motion to approve sales                     0.2 0.0054054         $0.76
2019         Disposition                                         process and single family homes (.2)
November     Asset                  11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674         $2.77
2019         Disposition
November     Asset                  11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019         Disposition                                         information that is required for future sales of properties (.2).
November     Asset                  11/27/19 JR              140 Exchange correspondence with A. Porter related to filing a motion to approve the sale                    0.1 0.0027027         $0.38
2019         Disposition                                         process for remainder of properties and single family homes (.1)
November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                          reports (.4)
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations


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1017 W 102nd Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
November     Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet           2.3 0.0244681         $3.43
2019         Operations                                          been sold.
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                       1.8 0.0174757         $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                    0.9 0.0087379         $3.41
2019         Operations
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional               0.3 0.0029126         $1.14
2019         Operations                                          information for review (.3)
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                     0.7 0.0067961         $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                 2.8 0.0271845         $3.81
2019         Operations                                          (2.8).
November     Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)            0.6 0.0066667         $0.93
2019         Operations
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                   0.4 0.0038835         $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                            3.8 0.0368932        $14.39
2019         Administration
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                0.5 0.0048544         $1.89
2019         Administration                                      (.5).
             & Objections

December     Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                  0.1 0.0010526         $0.41
2019         Operations
December     Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance               0.1 0.0010526         $0.41
2019         Operations                                          premium payment (.1)
December     Business               12/10/19 KBD             390 study property manager financial reporting (.5)                                                       0.5 0.0081967         $3.20
2019         Operations
December     Claims                 12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                          0.1 0.0012346         $0.48
2019         Administration                                      correspondence to A. Watychowicz regarding same.
             & Objections

December     Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                   0.2 0.0021053         $0.29
2019         Disposition
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements            0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                    0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
December     Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of              0.2 0.0021053         $0.82
2019         Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).
December     Asset                  12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395        $10.20
2019         Disposition                                         organization of closing documents and the start of preparation for closings (5.9)
December     Asset                  12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296         $4.15
2019         Disposition                                         and information (2.4).
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105         $0.59
2019         Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526         $0.41
2019         Operations
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                          reports (.2)
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/02/19 MR              390 Attention to Chang subpoena (.1)                                                                     0.1 0.0012346         $0.48
2019         Administration
             & Objections

December     Claims                 12/02/19 MR              390 attention to various revenue reconciliation reports (.1).                                            0.1 0.0023256         $0.91
2019         Administration
             & Objections




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1017 W 102nd Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
December     Claims                 12/05/19 MR              390 Attention to and follow up on lender's inquiry and edit response.                                    0.3 0.0037037         $1.44
2019         Administration
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845        $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126         $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359         $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections

December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126         $0.41
2019         Administration
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835         $1.51
2019         Administration
             & Objections

January      Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and           0.2 0.0021978         $0.86
2020         Operations                                          expense payments (.2)
January      Business               01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                0.7    0.012069       $4.71
2020         Operations
January      Claims                 01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process            0.3 0.0033708         $1.31
2020         Administration                                      and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                 01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                            0.9 0.0101124         $3.94
2020         Administration
             & Objections

January      Asset                  01/05/20 AEP             390 read and respond to e-mail from receivership broker regarding status of motion to approve            0.1 0.0027027         $1.05
2020         Disposition                                         marketing of single-family residence portfolio (.1).
January      Asset                  01/06/20 AEP             390 Teleconference with counsel for secured lender associated with loans on single-family                0.1 0.0027027         $1.05
2020         Disposition                                         residences regarding timing of contemplated motion to approve marketing and sale of
                                                                 portfolio (.1)
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare             1.2 0.0116505         $1.63
2020         Disposition                                         for further review (1.2).


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)                 1.6    0.015534       $2.17
2020         Disposition
January      Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                           0.3 0.0031579         $0.44
2020         Disposition
January      Asset                  01/27/20 JR              140 review paper real estate tax bills (1.8).                                                                1.8 0.0193548         $2.71
2020         Disposition
January      Asset                  01/30/20 AEP             390 Review surveys and survey invoices received in connection with various single-family                     0.4 0.0108108         $4.22
2020         Disposition                                         residences and update portfolio spreadsheet accordingly.
January      Asset                  01/30/20 JR              140 review surveys and invoices received from the surveying company and save to the                          1.3 0.0351351         $4.92
2020         Disposition                                         corresponding electronic files for various single family homes (1.3)
January      Asset                  01/31/20 AEP             390 review surveys and survey invoices received in connection with various single-family                     0.3 0.0081081         $3.16
2020         Disposition                                         residences and update portfolio spreadsheet accordingly (.3).
January      Asset                  01/31/20 AEP             390 Conference call with counsel for lender holding mortgage interests in single-family residence            0.2 0.0054054         $2.11
2020         Disposition                                         portfolio regarding valuations, new issues affecting title, and other related matters (.2)

January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544         $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706         $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020         Operations
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Business               01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020         Operations                                          insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January      Claims                 01/06/20 MR              390 Attention to third party claims (1.2)                                                                  1.2 0.0148148         $5.78
2020         Administration
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                 1.2 0.0116505         $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417         $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                   0.6 0.0058252         $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections

January      Claims                 01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                      to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                      property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                      regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
January      Claims                 01/27/20 ED          390 prepare analysis of application of net proceeds from sold properties to rent restoration and          1.5 0.0145631         $5.68
2020         Administration                                  remaining amounts reimbursable to receivership (1.5).
             & Objections

February     Asset                  02/10/20 KBD         390 exchange correspondence with A. Porter regarding sale of single-family home portfolio,                0.2 0.0054054         $2.11
2020         Disposition                                     motion to approve, and timing (.2)
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and              0.2 0.0022222         $0.87
2020         Disposition                                     title work (.2)
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                    0.2 0.0022222         $0.87
2020         Disposition                                     properties (.2)
February     Asset                  02/18/20 KBD         390 Study and revise motion to approve marketing and sale of single-family residence portfolio            1.5 0.0405405        $15.81
2020         Disposition                                     and exhibits.
February     Asset                  02/19/20 KBD         390 study and revise motion to approve listing for sale single family home portfolio (.5).                0.5 0.0135135         $5.27
2020         Disposition
February     Asset                  02/20/20 KBD         390 work on single family home motion and valuation issues with M. Rachlis and A. Porter (1.1)            1.1 0.0297297        $11.59
2020         Disposition
February     Asset                  02/20/20 KBD         390 Work with A. Porter on motion to approve listing of single family home portfolio (1.2)                1.2 0.0324324        $12.65
2020         Disposition
February     Asset                  02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                         0.1 0.0011111         $0.43
2020         Disposition
February     Asset                  02/21/20 KBD         390 draft correspondence to J. Rak regarding preparation for marketing and sale of properties             0.2 0.0054054         $2.11
2020         Disposition                                     (.2).
February     Asset                  02/22/20 KBD         390 draft correspondence regarding publication notice (.2).                                               0.2 0.0054054         $2.11
2020         Disposition
February     Asset                  02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                         0.4 0.0045455         $1.77
2020         Disposition
February     Asset                  02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                   0.1 0.0011111         $0.43
2020         Disposition
February     Asset                  02/26/20 KBD         390 exchange correspondence with real estate broker regarding potential purchasers of                     0.2 0.0054054         $2.11
2020         Disposition                                     properties (.2).
February     Asset                  02/27/20 KBD         390 Telephone conference with A. Porter regarding process for sale of single family home                  0.2 0.0054054         $2.11
2020         Disposition                                     portfolio and communications with broker and lender's counsel relating to same (.2)

February     Asset                  02/28/20 KBD         390 study motion to approve sale of single-family residence portfolio and exchange                        0.3 0.0081081         $3.16
2020         Disposition                                     correspondence regarding same (.3).
February     Business               02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                  0.1 0.0011111         $0.43
2020         Operations                                      financial reporting (.1)
February     Business               02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.           0.4 0.0038095         $1.49
2020         Operations                                      Duff regarding same (.4)
February     Business               02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)             0.4 0.0045455         $1.77
2020         Operations




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/12/20 KBD             390 Analysis of real estate taxes, property manager financial reports, and exchange                        0.4 0.0045455         $1.77
2020         Operations                                          correspondence with J. Rak relating to same and communications with property manager.

February     Business               02/13/20 KBD             390 Study property manager financial reporting.                                                            0.4 0.0070175         $2.74
2020         Operations
February     Business               02/21/20 KBD             390 exchange correspondence with property managers and confer with J. Rak regarding payment                0.4 0.0045455         $1.77
2020         Operations                                          of real estate taxes (.4)
February     Business               02/25/20 KBD             390 review correspondence from property manager regarding payment of real estate taxes (.1)                0.1 0.0017857         $0.70
2020         Operations
February     Claims                 02/07/20 KBD             390 exchange correspondence with A. Porter and N. Mirjanich regarding timing for motions                   0.2       0.002       $0.78
2020         Administration                                      addressing properties of differing status (.2)
             & Objections

February     Claims                 02/26/20 KBD             390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to            0.4 0.0049383         $1.93
2020         Administration                                      investor accounts (.4).
             & Objections

February     Asset                  02/01/20 AEP             390 Review and analyze consolidated title commitment for single-family residence portfolio and             2.2 0.0594595        $23.19
2020         Disposition                                         insert all special exceptions into motion for leave to sell single-family residences.

February     Asset                  02/03/20 AEP             390 perform title searches on all properties owned by receivership entity and revise motion for            2.5 0.0675676        $26.35
2020         Disposition                                         leave to sell single-family residences accordingly (2.5).
February     Asset                  02/05/20 AEP             390 Perform title searches on most properties owned by fund and update motion to sell single-              3.1 0.0837838        $32.68
2020         Disposition                                         family residence portfolio accordingly (3.1)
February     Asset                  02/08/20 AEP             390 rearrange and revise introductory portions of motion to approve marketing and sale of single-          1.1 0.0297297        $11.59
2020         Disposition                                         family homes portfolio (1.1).
February     Asset                  02/08/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               4.8 0.1297297        $50.59
2020         Disposition                                         paragraphs of motion to approve marketing and sale of single-family homes portfolio (4.8)

February     Asset                  02/09/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               5.5 0.1486486        $57.97
2020         Disposition                                         paragraphs of motion to approve marketing and sale of single- family homes portfolio.

February     Asset                  02/10/20 AEP             390 Proofread, edit, revise, rearrange, supplement, and fact-check all paragraphs in proposed              4.0 0.1081081        $42.16
2020         Disposition                                         motion to approve sales of single-family homes portfolio and create final to-do list of
                                                                 remaining issues prior to final completion.
February     Asset                  02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                 0.1 0.0011111         $0.29
2020         Disposition
February     Asset                  02/11/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on single-family home portfolio           0.1 0.0027027         $1.05
2020         Disposition                                         title commitment to be waived through hold harmless letters (.1)
February     Asset                  02/11/20 JR              140 assist A. Porter on the seventh motion and create a spreadsheet of documents of record                 5.1 0.1378378        $19.30
2020         Disposition                                         needed for the motion (5.1)
February     Asset                  02/11/20 JR              140 discussion with A. Porter regarding seventh motion for court approval of process for public            0.3 0.0081081         $1.14
2020         Disposition                                         sale (.3)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
February     Asset                  02/11/20 JR              140 exchange correspondence with the title company regarding same (.2).                                        0.2 0.0054054         $0.76
2020         Disposition
February     Asset                  02/12/20 JR              140 review and organize various documents of record in corresponding files regarding same                      2.2 0.0594595         $8.32
2020         Disposition                                         (2.2).
February     Asset                  02/12/20 JR              140 exchange communication with the title company regarding documents of record request for                    0.3 0.0081081         $1.14
2020         Disposition                                         the seventh motion to approve marketing of properties (.3)
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                           2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/13/20 AEP             390 respond to inquiry from counsel for secured lender regarding next anticipated sales tranche                0.2 0.0054054         $2.11
2020         Disposition                                         and prospective listing prices (.2)
February     Asset                  02/13/20 AEP             390 Teleconference with title company underwriter to review special exceptions on title                        2.8 0.0756757        $29.51
2020         Disposition                                         commitment relating to portfolio sale of single-family residences, potential waivers thereof
                                                                 and need for hold harmless letters (2.8)
February     Asset                  02/14/20 AEP             390 Continuation of teleconference with title company underwriter to review special exceptions                 4.1 0.1108108        $43.22
2020         Disposition                                         on title commitment for single-family residence portfolio and assignment of responsibility for
                                                                 procuring hold harmless letters, certificates of compliance, and other documents evidencing
                                                                 releases of clouds on title.
February     Asset                  02/14/20 JR              140 Exchange correspondence with the title company regarding request for documents of record                   0.2 0.0054054         $0.76
2020         Disposition                                         related to the exhibits for the seventh motion.
February     Asset                  02/15/20 JR              140 Organize documents of record received from the title company related to exhibits and the                   1.9 0.0513514         $7.19
2020         Disposition                                         seventh motion.
February     Asset                  02/17/20 JR              140 Finalize the organization and assembling of the remainder of documents of record related to                2.7    0.072973      $10.22
2020         Disposition                                         the 7th motion to confirm sale into electronic files (2.7)
February     Asset                  02/18/20 AEP             390 Review notes of teleconference with title company underwriter, insert summaries of current                 2.4 0.0648649        $25.30
2020         Disposition                                         obstacles into body of title commitment relating to single-family home portfolio, and amend
                                                                 paragraphs of motion to approve marketing and sale of said portfolio to account for
                                                                 resolution of disputed special exceptions (2.4)

February     Asset                  02/18/20 AEP             390 review, update, and revise all non-title related exhibits to motion to approve marketing and               1.8 0.0486486        $18.97
2020         Disposition                                         sale of single-family home portfolio, update spreadsheet of property values to generate
                                                                 individual allocations of value and supplement motion with additional paragraphs regarding
                                                                 deferral of judicial decision on individual allocations until conclusion of portfolio sale (1.8).

February     Asset                  02/18/20 JR              140 Organize additional documents of record related to the 7th motion of single family homes                   0.8 0.0216216         $3.03
2020         Disposition                                         (.8)
February     Asset                  02/19/20 JR              140 Organize documents of record in the electronic files in preparation of filing the 7th motion to            0.7 0.0189189         $2.65
2020         Disposition                                         approve sale of single family homes (.7)
February     Asset                  02/19/20 MR              390 attention to single family home issues (.1).                                                               0.1 0.0027027         $1.05
2020         Disposition
February     Asset                  02/20/20 AEP             390 conference with K. Duff regarding proposed modifications to first draft of motion to approve               2.3 0.0621622        $24.24
2020         Disposition                                         sale of single-family residences, valuation methodology employed by receivership broker,
                                                                 applicability of credit bidding, and allocation of value (2.3)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
February     Asset                  02/20/20 MR              390 attention to single family home related issues and property disposition related matters (2.3).           2.3 0.0621622        $24.24
2020         Disposition
February     Asset                  02/20/20 MR              390 Attention to various issues regarding objections to property disposition and follow up                   1.2 0.0324324        $12.65
2020         Disposition                                         regarding same (1.2)
February     Asset                  02/21/20 AEP             390 Teleconference with counsel for lender to fund entities regarding inquiries into nature of sale          0.5 0.0135135         $5.27
2020         Disposition                                         process associated with marketing of single-family residence portfolio (.5)

February     Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                               0.1 0.0010526         $0.15
2020         Disposition
February     Asset                  02/24/20 NM              260 Study email correspondence relating to property sales (.2)                                               0.2 0.0054054         $1.41
2020         Disposition
February     Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                   0.1 0.0010753         $0.15
2020         Disposition
February     Asset                  02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties               1.2 0.0134831         $1.89
2020         Disposition                                         managed by a management company (1.2)
February     Asset                  02/28/20 AW              140 Assist in finalization of seventh motion to approve sales process and confirm delay in filing.           0.4 0.0108108         $1.51
2020         Disposition
February     Asset                  02/28/20 JR              140 consolidate exhibits for the single family home motion (1.7)                                             1.7 0.0459459         $6.43
2020         Disposition
February     Asset                  02/28/20 JR              140 review the single family motion and make changes (1.1)                                                   1.1 0.0297297         $4.16
2020         Disposition
February     Asset                  02/28/20 JR              140 obtain documents of record related to the exhibits pertaining to the single family motion (.3)           0.3 0.0081081         $1.14
2020         Disposition
February     Asset                  02/28/20 MR              390 Work on single family homes motion and follow up on same.                                                1.4 0.0378378        $14.76
2020         Disposition
February     Business               02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                   2.8 0.0314607         $4.40
2020         Operations
February     Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real                  0.1 0.0010753         $0.15
2020         Operations                                          estate taxes (.1)
February     Business               02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                      0.1 0.0011236         $0.16
2020         Operations
February     Business               02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                    0.1 0.0019608         $0.27
2020         Operations                                          taxes related to paying property taxes (.1)
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                   0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                            0.3 0.0028846         $1.13
2020         Operations
February     Business               02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                            0.4 0.0044444         $1.73
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                            0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property                 0.1 0.0019608         $0.27
2020         Operations                                          taxes (.1)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February     Business               02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property               0.2 0.0022727         $0.32
2020         Operations                                          taxes (.2).
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business               02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222         $0.87
2020         Operations
February     Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774         $1.35
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business               02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/16/20 MR              390 research and work on draft motion regarding claims process (5.0).                                      5.0 0.1351351        $52.70
2020         Administration
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
February     Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                      1.2 0.0129032         $1.81
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                      0.2 0.0019231         $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                 0.5 0.0048077         $1.88
2020         Administration                                      reports.
             & Objections

February     Claims                 02/28/20 AEP             390 Insert and check all exhibit cites in brief, proofread, edit, and make final revisions to same,          3.5 0.0945946        $36.89
2020         Administration                                      edit and revise credit bid procedures.
             & Objections

February     Claims                 02/28/20 NM              260 correspond with A. Porter regarding claims submitted in connection with properties in single             1.1 0.0297297         $7.73
2020         Administration                                      family home motion and study same (1.1)
             & Objections

March 2020 Asset                    03/02/20 KBD             390 study correspondence regarding revision to motion to approve sale of properties (.2).                    0.2 0.0054054         $2.11
           Disposition
March 2020 Asset                    03/09/20 KBD             390 Attention to communication from potential purchaser regarding properties (.1)                            0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD             390 exchange correspondence with M. Rachlis and A. Porter regarding single family residence                  0.2 0.0054054         $2.11
           Disposition                                           motion and communications with lender's counsel (.2).
March 2020 Asset                    03/16/20 KBD             390 Draft emergency motion for relief from amended general order, exchange correspondence                    2.9 0.0329545        $12.85
           Disposition                                           with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD             390 telephone conference with counsel for lender regarding single family home portfolio sales                0.1 0.0027027         $1.05
           Disposition                                           motion and motion to request amendment to briefing schedule (.1)

March 2020 Asset                    03/17/20 KBD             390 Draft and revise motion for relief from amended general order (.6)                                       0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD             390 work on same with M. Rachlis and A. Porter (1.0)                                                         1.0 0.0010526         $0.41
           Disposition
March 2020 Asset                    03/17/20 KBD             390 exchange correspondence with A. Porter and M. Rachlis regarding single family residence                  0.2 0.0054054         $2.11
           Disposition                                           motion (.2).
March 2020 Asset                    03/17/20 KBD             390 exchange correspondence and telephone conferences with real estate broker regarding                      1.1      0.0125       $4.88
           Disposition                                           marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD             390 Telephone conference with real estate broker regarding market conditions and sales and                   0.3 0.0034091         $1.33
           Disposition                                           marketing timing and strategy (.3)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
March 2020 Asset                    03/19/20 KBD             390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111         $0.43
           Disposition                                           impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/21/20 KBD             390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727         $0.89
           Disposition                                           estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD             390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222         $0.87
           Disposition                                           efforts (.2).
March 2020 Asset                    03/23/20 KBD             390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111         $0.43
           Disposition                                           properties (.1)
March 2020 Asset                    03/27/20 KBD             390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091        $11.08
           Disposition                                           Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/27/20 KBD             390 exchange correspondence with A. Porter regarding sale of single family residence portfolio          0.1 0.0027027         $1.05
           Disposition                                           (.1)
March 2020 Asset                    03/30/20 KBD             390 Exchange correspondence with M. Rachlis regarding single family residence motion.                   0.2 0.0054054         $2.11
           Disposition
March 2020 Business                 03/10/20 KBD             390 Study property manager financial reporting (.3)                                                     0.3 0.0052632         $2.05
           Operations
March 2020 Business                 03/10/20 KBD             390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222         $0.87
           Operations                                            and renewal (.2).
March 2020 Business                 03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222         $0.87
           Operations                                            environment (.2).
March 2020 Business                 03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                   0.3 0.0034091         $1.33
           Operations
March 2020 Business                 03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                        0.2 0.0022727         $0.89
           Operations
March 2020 Business                 03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                    0.4 0.0045455         $1.77
           Operations                                            property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                0.3 0.0033708         $1.31
           Operations                                            issues and analysis (.3).
March 2020 Business                 03/31/20 KBD             390 Exchange correspondence with M. Rachlis regarding and study draft motion for relief from            0.3 0.0081081         $3.16
           Operations                                            amended scheduling order.
March 2020 Asset                    03/02/20 AW              140 Confer with M. Rachlis and J. Rak regarding single family homes motion (.1)                         0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/02/20 AW              140 revise certificate of service and email A. Porter regarding same (.1).                              0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                  1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                    03/02/20 MR              390 attention to review and revision of motion (.8)                                                     0.8 0.0216216         $8.43
           Disposition
March 2020 Asset                    03/02/20 MR              390 Conference with A. Watychowicz regarding issues on seventh motion for approval related to           0.1 0.0027027         $1.05
           Disposition                                           service of process notice (.1)
March 2020 Asset                    03/03/20 AW              140 file motion and exhibits with the court (.2)                                                        0.2 0.0054054         $0.76
           Disposition


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2020 Asset                    03/03/20 AW              140 finalize motion and revise notice of motion as per suggestion from counsel (.1)                         0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/03/20 AW              140 Attention to final draft of seventh motion for approval of sale process and communicate with            0.1 0.0027027         $0.38
           Disposition                                           counsel regarding exhibits (.1)
March 2020 Asset                    03/03/20 AW              140 serve as per service list (.4).                                                                         0.4 0.0108108         $1.51
           Disposition
March 2020 Asset                    03/03/20 MR              390 Further attention to various filings on single family home motion and other filings (.5)                0.5 0.0135135         $5.27
           Disposition
March 2020 Asset                    03/04/20 MR              390 Attention to various motions regarding property sales.                                                  0.7 0.0184211         $7.18
           Disposition
March 2020 Asset                    03/09/20 MR              390 Attention to court orders regarding pending motions and schedule and upcoming real estate               0.3 0.0081081         $3.16
           Disposition                                           closings (.3)
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222         $0.87
           Disposition
March 2020 Asset                    03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                           and motions regarding same (1.4)
March 2020 Asset                    03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                    03/17/20 AEP             390 teleconference with K. Duff regarding mortgagee interests in single-family residence                    0.3 0.0081081         $3.16
           Disposition                                           portfolio, and filing of motion for relief from general order continuing case calendars (.3)

March 2020 Asset                    03/17/20 AEP             390 Read and reply to e-mails from K. Duff and M. Rachlis regarding motion to market and sell               0.1 0.0027027         $1.05
           Disposition                                           single-family home portfolio (.1)
March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 AW              140 Work with K. Duff and M. Rachlis on motion to keep deadlines for sales motions, prepare                 1.4 0.0378378         $5.30
           Disposition                                           notice of motion, attention to multiple revisions of draft, communicate with Receivership
                                                                 team regarding same, finalize motion and file with court, serve on service list and forward to
                                                                 Judge Lee's courtroom deputy.
March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                    03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                    03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                            0.4    0.004878       $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.             1.9 0.0215909         $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold              0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/08/20 MR              390 Attention to e-mails and follow up regarding restoration of rent and other items.                    0.3 0.0069767         $2.72
           Operations
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                         0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same             2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                      0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.          1.8 0.0204545         $2.86
           Operations
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                  0.2 0.0022222         $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy           0.3 0.0033333         $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                4.1 0.0398058         $5.57
           Operations
March 2020 Business                 03/30/20 ED              390 call with insurance agent regarding same (.2)                                                        0.2 0.0022472         $0.88
           Operations
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                 0.3 0.0033708         $1.31
           Operations
March 2020 Business                 03/30/20 ED              390 Review revised statement of value (.4)                                                               0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 and loss history (.4)                                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which           0.4 0.0038835         $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                             0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting            0.5 0.0048544         $1.89
           Administration                                        reports (.5)
           & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                                    1.0 0.0136986         $1.92
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).                  1.4 0.0189189         $2.65
           Administration
           & Objections

March 2020 Claims                   03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review                2.8 0.0378378         $5.30
           Administration                                        claimant forms.
           & Objections

March 2020 Claims                   03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                         2.1 0.0265823         $3.72
           Administration
           & Objections

March 2020 Claims                   03/12/20 JR              140 Review claims documents.                                                                              3.1 0.0382716         $5.36
           Administration
           & Objections

March 2020 Claims                   03/13/20 JR              140 Work on claims review process with J. Wine.                                                           2.2 0.0271605         $3.80
           Administration
           & Objections

March 2020 Claims                   03/16/20 JR              140 Review claimant forms.                                                                                2.5 0.0308642         $4.32
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 Review claimant forms (3.4)                                                                           3.4      0.0425       $5.95
           Administration
           & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                   Hours        Fees
March 2020 Claims                   03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                         0.7     0.00875       $1.23
           Administration
           & Objections

March 2020 Claims                   03/19/20 JR              140 Review claim forms.                                                                               3.3     0.04125       $5.78
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 Review claims forms (5.4)                                                                         5.4 0.0666667         $9.33
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).                    0.2 0.0024691         $0.35
           Administration
           & Objections

March 2020 Claims                   03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)                 3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 review claimant forms and rollover information (2.1)                                              2.1 0.0259259         $3.63
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                        0.9 0.0111111         $1.56
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 Attention to responding to claimant inquiry (.2)                                                  0.2 0.0024691         $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 update responses to frequently asked questions (.2)                                               0.2 0.0024691         $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 research for responding to claims vendor regarding property numbers of assets for claims          0.3     0.00375       $0.98
           Administration                                        database (.3)
           & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2020 Claims                   03/24/20 JRW         260 extended conference with A. Pruitt regarding analysis of claims and updating of master                0.8 0.0101266          $2.63
           Administration                                    claims spreadsheet (.8)
           & Objections

March 2020 Claims                   03/24/20 JRW         260 email exchange with K. Duff regarding segregation of claims and supporting documentation              0.1 0.0012821          $0.33
           Administration                                    by tranche (.1)
           & Objections

March 2020 Claims                   03/24/20 JRW         260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)               0.9     0.01125        $2.93
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW         260 study spreadsheet of claim information received from claims vendor (.8).                              0.8         0.01       $2.60
           Administration
           & Objections

March 2020 Claims                   03/31/20 AW          140 revisions to email to Judge Lee's courtroom deputy regarding motion (.1)                              0.1 0.0027027          $0.38
           Administration
           & Objections

March 2020 Claims                   03/31/20 AW          140 communicate with M. Rachlis regarding motion for relief from COVID-19 order that may                  0.2 0.0054054          $0.76
           Administration                                    impact sale of properties and research regarding changed procedures (.2)
           & Objections

March 2020 Claims                   03/31/20 AW          140 finalize motion, file, and serve (.2)                                                                 0.2 0.0054054          $0.76
           Administration
           & Objections

April 2020   Asset                  04/02/20 KBD         390 telephone conference with claimant's counsel, A. Porter, and real estate broker regarding             0.4 0.0108108          $4.22
             Disposition                                     single family residence portfolio inspection, marketing, and timing (.4)
April 2020   Asset                  04/02/20 KBD         390 telephone conference with A. Porter and real estate broker regarding single-family residence          0.5 0.0135135          $5.27
             Disposition                                     portfolio inspection, marketing, pricing, and timing (.5)
April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                           0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                  04/02/20 KBD         390 address publication of single-family residence (.1).                                                  0.1 0.0027027          $1.05
             Disposition
April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                  0.3 0.0041096          $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                               0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                            0.2 0.0024691          $0.96
             Operations


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2020   Business               04/10/20 KBD             390 study property manager reporting (.3).                                                                 0.3 0.0052632         $2.05
             Operations
April 2020   Business               04/10/20 KBD             390 Exchange correspondence with insurance broker regarding renewal (.2)                                   0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/11/20 KBD             390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/12/20 KBD             390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989         $0.90
             Operations                                          properties and review information relating to same.
April 2020   Business               04/13/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236         $0.44
             Operations                                          coverage issue (.1)
April 2020   Business               04/17/20 KBD             390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236         $0.44
             Operations
April 2020   Business               04/29/20 KBD             390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691         $0.96
             Operations                                          insurance renewal efforts and cost (.2)
April 2020   Asset                  04/01/20 AEP             390 revise proposed order associated with motion to approve marketing and sale of single-family            0.2 0.0054054         $2.11
             Disposition                                         residence portfolio (.2)
April 2020   Asset                  04/01/20 AEP             390 Teleconference with local receivership broker and counsel for institutional lenders regarding          0.6 0.0162162         $6.32
             Disposition                                         market impact on single-family home portfolio and multifamily properties and prospects for
                                                                 credit bidding and preparation of e-mail to receivership broker for single-family home
                                                                 portfolio regarding status of motion to approve marketing process, implications of economic
                                                                 downturn on timing, and approval of national home inspection service (.6)

April 2020   Asset                  04/01/20 MR              390 review order on clarification and other orders (.2)                                                    0.2    0.002439       $0.95
             Disposition
April 2020   Asset                  04/02/20 AEP             390 teleconference with K. Duff and receivership broker regarding marketing plans for single-              0.5 0.0135135         $5.27
             Disposition                                         family home portfolio and effects of economic downturn on timing of publication of sale (.5)

April 2020   Asset                  04/02/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for institutional lender                 0.4 0.0108108         $4.22
             Disposition                                         regarding marketing process for single-family home portfolio, retention of inspection
                                                                 company, and pricing and timing (.4)
April 2020   Asset                  04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and             1.1 0.0135802         $5.30
             Disposition                                         housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                 dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                 brought to the prospective purchasers' attention, and relationship between individual
                                                                 property owners and EquityBuild funds (1.1)

April 2020   Asset                  04/02/20 AEP             390 teleconference with K. Duff regarding next steps in process of marketing single-family homes           0.1 0.0027027         $1.05
             Disposition                                         (.1)
April 2020   Asset                  04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and               1.1 0.0135802         $1.90
             Disposition                                         litigation matters (1.1)
April 2020   Asset                  04/02/20 MR              390 Attention to proposed orders and other property related issues (.9)                                    0.9 0.0243243         $9.49
             Disposition




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2020   Asset                  04/02/20 MR          390 conferences with K. Duff regarding issues on single family homes (.2).                                0.2 0.0054054         $2.11
             Disposition
April 2020   Asset                  04/06/20 AEP         390 teleconference with representative of property inspection company regarding pricing of                0.4 0.0108108         $4.22
             Disposition                                     individual home inspections for single-family residence portfolio, work product delivered by
                                                             inspection service, access issues (.4).
April 2020   Asset                  04/07/20 AEP         390 prepare e-mails to property managers describing single-family home inspection process and             0.4 0.0108108         $4.22
             Disposition                                     requesting advice regarding potential cooperation of tenants with receivership requests for
                                                             brief access (.4).
April 2020   Asset                  04/10/20 AEP         390 communications with property manager regarding potential rental of single-family home                 0.1 0.0027027         $1.05
             Disposition                                     subsumed within single-family home portfolio (.1)
April 2020   Asset                  04/11/20 AEP         390 read e-mail from third-party inspection service and respond with questions regarding                  0.1 0.0027027         $1.05
             Disposition                                     contractual rights and access issues (.1)
April 2020   Asset                  04/15/20 AEP         390 review updated title commitments for remaining portfolio properties and prepare list of               0.3 0.0033708         $1.31
             Disposition                                     special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/19/20 AEP         390 prepare spreadsheet of single-family homes and transmit same to inspection service (.1).              0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                  04/20/20 AEP         390 update EquityBuild portfolio spreadsheet (.1)                                                         0.1 0.0011364         $0.44
             Disposition
April 2020   Business               04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                      and related documentation and correspondence.
April 2020   Business               04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                      requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Claims                 04/02/20 JRW         260 conference call with A. Porter and J. Rak regarding code violations against properties under          0.7    0.008642       $2.25
             Administration                                  contract and process for updating records (.7).
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2020   Claims                 04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                      accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                    0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                    0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                        0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/01/20 KBD             390 attention to property inspection and valuation for single family residences (.2).                   0.2 0.0054054         $2.11
             Disposition
May 2020     Asset                  05/12/20 KBD             390 Telephone conference with real estate broker, A. Porter, and M. Rachlis regarding pricing           0.7 0.0155556         $6.07
             Disposition                                         properties for sale, communicating with claimant's counsel regarding same, and timing for
                                                                 approval of sales currently before the court.
May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Asset                  05/27/20 KBD             390 exchange correspondence with A. Porter regarding inspection of properties in single family          0.1 0.0027027         $1.05
             Disposition                                         residence portfolio (.1)
May 2020     Business               05/01/20 KBD             390 draft correspondence to E. Duff regarding restoration of funds (.1).                                0.1 0.0023256         $0.91
             Operations
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                          property management (.3)
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations




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  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                            0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).               0.4 0.0048193         $1.88
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                 0.3 0.0036145         $1.41
             Operations                                          (.3)
May 2020     Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                  0.6 0.0072289         $2.82
             Operations                                          renewal of insurance (.6)
May 2020     Business               05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                  0.7 0.0084337         $3.29
             Operations
May 2020     Business               05/12/20 KBD             390 study financial reporting from property manager (.3).                                              0.3 0.0054545         $2.13
             Operations
May 2020     Business               05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                   0.2 0.0024096         $0.94
             Operations                                          correspondence with asset manager regarding same (.2)
May 2020     Business               05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                   0.2 0.0023529         $0.92
             Operations                                          expenses (.2)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                              0.8 0.0076923         $3.00
             Operations
May 2020     Business               05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                 0.1 0.0011765         $0.46
             Operations
May 2020     Business               05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).          0.3 0.0037037         $1.44
             Operations
May 2020     Business               05/22/20 KBD             390 review information regarding restoration of funds (.2)                                             0.2 0.0046512         $1.81
             Operations
May 2020     Business               05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)           0.3 0.0037037         $1.44
             Operations
May 2020     Business               05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                       0.1 0.0011765         $0.46
             Operations
May 2020     Business               05/28/20 KBD             390 exchange correspondence with E. Duff regarding restoration motion (.1).                            0.1 0.0023256         $0.91
             Operations
May 2020     Asset                  05/01/20 AEP             390 Teleconference with counsel for lender on single-family portfolio and various other                0.5 0.0135135         $5.27
             Disposition                                         receivership properties regarding status of scheduled closings, market timing issues,
                                                                 inspection scheduling, and other due diligence issues (.5)
May 2020     Asset                  05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                             0.1 0.0011494         $0.16
             Disposition
May 2020     Asset                  05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st           0.1 0.0011494         $0.16
             Disposition                                         quarter of 2020 (.1)
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                          1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes            0.2 0.0035088         $0.49
             Disposition                                         (.2).
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management           0.1 0.0009709         $0.14
             Disposition                                         companies (.1)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                  1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                  05/10/20 AEP             390 review single family residence files and prepare plan for collecting and organizing all due            0.3 0.0081081         $3.16
             Disposition                                         diligence materials in connection with establishment of electronic due diligence room for
                                                                 prospective bidders (.3)
May 2020     Asset                  05/10/20 AEP             390 prepare e-mail to property managers and third-party inspection service regarding initiation            0.2 0.0054054         $2.11
             Disposition                                         and coordination of home tour scheduling process in connection with single-family residence
                                                                 portfolio sale (.2)
May 2020     Asset                  05/11/20 AEP             390 communications with property manager regarding coordination of inspections of single-                  0.1 0.0027027         $1.05
             Disposition                                         family homes (.1)
May 2020     Asset                  05/11/20 AEP             390 communications with single family home portfolio broker regarding proposed                             0.1 0.0027027         $1.05
             Disposition                                         commencement of marketing campaign (.1)
May 2020     Asset                  05/13/20 AEP             390 prepare e-mails to management companies regarding initiation of process of due diligence               0.3 0.0081081         $3.16
             Disposition                                         document collection associated with marketing of single-family residence portfolio (.3).

May 2020     Asset                  05/20/20 AEP             390 conference with clerical assistant regarding collection, inventory, and reorganization of all          0.8 0.0216216         $8.43
             Disposition                                         due diligence documentation received from property managers in connection with
                                                                 marketing of single-family residence portfolio (.8)
May 2020     Asset                  05/22/20 AEP             390 communications with counsel for purchaser of receivership properties regarding status of               0.1 0.0027027         $1.05
             Disposition                                         due diligence production and revisions to title commitment (.1)
May 2020     Asset                  05/22/20 AEP             390 communications with property inspection service and property management company                        0.1 0.0027027         $1.05
             Disposition                                         regarding remaining obstacles to obtaining access to single-family residences (.1)

May 2020     Asset                  05/24/20 AEP             390 Comprehensive review of status of preparation for marketing of single-family home                      4.4 0.1189189        $46.38
             Disposition                                         portfolio, including creation of due diligence checklist, analysis of all title exceptions
                                                                 requiring hold harmless letters, analysis of chain of title for all properties defectively
                                                                 conveyed and research into ownership of entities now reflected as titleholders, and
                                                                 inventory of property-specific leases, public assistance contracts, and utility bills.

May 2020     Business               05/01/20 KMP             140 Prepare request for funds transfer to property inspector for inspection of single family               0.4 0.0108108         $1.51
             Operations                                          homes, and communicate with K. Duff and bank regarding same.
May 2020     Business               05/01/20 MR              390 Attention to issues on motion regarding restoration of costs and other issues.                         0.2 0.0046512         $1.81
             Operations
May 2020     Business               05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold                  1.3 0.0126214         $4.92
             Operations                                          properties (1.3)
May 2020     Business               05/13/20 KMP             140 prepare form for funds transfer to insurance broker for down payment on financing                      0.4 0.0046512         $0.65
             Operations                                          agreement for general liability and umbrella policy and communications with K. Duff and
                                                                 bank representatives regarding same (.4)
May 2020     Business               05/13/20 KMP             140 communicate with insurance broker to confirm funds transfer (.1).                                      0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/14/20 KMP             140 Communicate with insurance premium funding company regarding contract (.1)                             0.1 0.0011628         $0.16
             Operations




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
May 2020     Business               05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                      addition of properties that have no institutional debt, and communicate with E. Duff
                                                             regarding missing reports.
May 2020     Business               05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                      regarding same
May 2020     Business               05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                      proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020     Business               05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                      correspondence.
May 2020     Business               05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512         $0.65
             Operations                                      property insurance finance agreement, and communicate with bank representative and K.
                                                             Duff regarding same (.4)
May 2020     Business               05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256         $0.33
             Operations                                      K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 MR          390 Attention to restoration issues (.1)                                                                0.1 0.0023256         $0.91
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/31/20 MR          390 exchanges with E. Duff regarding same (.3).                                                         0.3 0.0069767         $2.72
             Operations
May 2020     Business               05/31/20 MR          390 Work on issues on restoration to Receivership on properties (.5)                                    0.5 0.0116279         $4.53
             Operations




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2020     Claims                 05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as              1.8 0.0202247         $2.83
             Administration                                  requested, and share same with Receivership team (1.8)
             & Objections

May 2020     Claims                 05/10/20 AEP         390 prepare e-mail to counsel for claimant and receivership broker regarding current strategy for          0.2 0.0054054         $2.11
             Administration                                  initiating marketing of single-family residence portfolio (.2).
             & Objections

May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections                0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections

May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                            1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property                0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)              0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                       0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                                   0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                      0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports              0.5 0.0048544         $1.89
             Administration                                  (.5)
             & Objections




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709         $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

June 2020    Asset                  06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and               0.2 0.0024691         $0.96
             Disposition                                     planning for review of offers.
June 2020    Asset                  06/08/20 KBD         390 exchange correspondence and telephone conference with A. Porter regarding inspection of               0.2 0.0054054         $2.11
             Disposition                                     single family residence portfolio and effort to list for sale (.2)
June 2020    Asset                  06/17/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding planning for listing          0.3 0.0081081         $3.16
             Disposition                                     of single family residence portfolio (.3)
June 2020    Asset                  06/23/20 KBD         390 exchange correspondence with real estate broker regarding inspection and valuation                    0.2 0.0054054         $2.11
             Disposition                                     information for single family residence portfolio (.2).
June 2020    Asset                  06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.             1.5 0.0185185         $7.22
             Disposition                                     Rachlis regarding same (1.5)
June 2020    Business               06/02/20 KBD         390 study information regarding restoration of funds (.3).                                                0.3 0.0068182         $2.66
             Operations
June 2020    Business               06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                     0.1 0.0019231         $0.75
             Operations
June 2020    Business               06/06/20 KBD         390 Study draft restoration motion.                                                                       0.2 0.0045455         $1.77
             Operations
June 2020    Business               06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                0.1 0.0012048         $0.47
             Operations
June 2020    Business               06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                       0.5     0.00625       $2.44
             Operations                                      Pritchard regarding same (.5)
June 2020    Business               06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange                0.4       0.005       $1.95
             Operations                                      correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business               06/12/20 KBD         390 study correspondence regarding restoration analysis and related issues (.3).                          0.3 0.0068182         $2.66
             Operations
June 2020    Business               06/14/20 KBD         390 Revise motion for reimbursement of property expenses (.3)                                             0.3 0.0069767         $2.72
             Operations
June 2020    Business               06/15/20 KBD         390 Study financial reporting from property manager.                                                      0.2 0.0037736         $1.47
             Operations
June 2020    Business               06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                             0.2 0.0025641         $1.00
             Operations
June 2020    Business               06/27/20 KBD         390 Revise draft second restoration motion and research regarding same.                                   1.1       0.025       $9.75
             Operations
June 2020    Business               06/28/20 KBD         390 Draft and revise draft second restoration motion.                                                     2.8 0.0636364        $24.82
             Operations
June 2020    Business               06/29/20 KBD         390 Draft and revise second restoration motion and draft correspondence to M. Rachlis                     1.4 0.0318182        $12.41
             Operations                                      regarding same (1.4)
June 2020    Business               06/29/20 KBD         390 exchange correspondence with insurance broker regarding certificate of insurance                      0.2 0.0047619         $1.86
             Operations                                      information for claimant and exchange correspondence with claimant's counsel regarding
                                                             same (.2)


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
June 2020    Business               06/30/20 KBD         390 Draft and revise restoration motion and exchange correspondence with K. Pritchard and M.           0.9 0.0204545         $7.98
             Operations                                      Rachlis regarding same (.9)
June 2020    Business               06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                      0.2 0.0027397         $1.07
             Operations
June 2020    Claims                 06/04/20 KBD         390 draft correspondence to lenders' counsel regarding various questions relating to lease             0.5 0.0135135         $5.27
             Administration                                  renewal and property inspections and investigate information relating to same (.5)
             & Objections

June 2020    Claims                 06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/09/20 KBD         390 study objections to claims process motion (.5)                                                     0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                 06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 Work on claims motion reply with M. Rachlis (.6)                                                   0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                 06/18/20 KBD         390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit          0.2 0.0022989         $0.90
             Administration                                  bidding (.2)
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2020    Claims                 06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                                  0.7 0.0078652         $3.07
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 study SEC reply brief (.3)                                                                             0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                         0.2 0.0022989         $0.90
             Administration
             & Objections

June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0012048         $0.17
             Disposition
June 2020    Asset                  06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale             3.2 0.0385542         $5.40
             Disposition                                         related to same (3.2)
June 2020    Asset                  06/09/20 AEP             390 prepare final form orders for presentation to court in connection with imminent approval of            0.1 0.0027027         $1.05
             Disposition                                         7th motion to approve sales (.1)
June 2020    Asset                  06/10/20 JR              140 review water certificate applications related to properties under contract and granted by the          0.2 0.0054054         $0.76
             Disposition                                         judge to sell (.2)
June 2020    Asset                  06/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                             0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                  06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561         $3.80
             Disposition                                         against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                  06/15/20 AEP             390 e-mail communications with counsel for lenders associated with single-family homes                     0.2 0.0054054         $2.11
             Disposition                                         regarding irregularities in due diligence documents and prepare e-mail to inspection
                                                                 company regarding status of completion of work (.2)
June 2020    Asset                  06/16/20 AEP             390 Preliminary review and organization of inspection reports received in connection with nearly           0.6 0.0162162         $6.32
             Disposition                                         all properties in single-family residence portfolio (.6)
June 2020    Asset                  06/17/20 AEP             390 Teleconference with J. Rak regarding preparation of definitive spreadsheet of judgments                1.3 0.0351351        $13.70
             Disposition                                         entered against receivership entities, status of preparation of closing documents for next
                                                                 sales tranche, reorganization of inspection documentation produced in connection with
                                                                 single-family home portfolio, and creation of action list (1.3)

June 2020    Asset                  06/17/20 AEP             390 prepare e-mail to K. Duff and others regarding issues associated with production of certain            0.2 0.0054054         $2.11
             Disposition                                         inspection documentation in connection with marketing and sale of single-family home
                                                                 portfolio (.2)
June 2020    Asset                  06/17/20 JR              140 confer with A. Porter regarding status of properties that are closing and single family home           1.3 0.0351351         $4.92
             Disposition                                         updates to due diligence documents (1.3)




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  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
June 2020    Asset                  06/18/20 AEP             390 Communications with K. Duff, receivership broker, and counsel for claimants regarding                     0.2 0.0054054         $2.11
             Disposition                                         potential exclusion of work orders from due diligence files to be made available to
                                                                 prospective bidders on single-family residence portfolio and implications for listing price (.2)

June 2020    Asset                  06/18/20 JR              140 review of single family home due diligence folders (.1)                                                   0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                  06/18/20 MR              390 attention to single family portfolio issues (.1).                                                         0.1 0.0027027         $1.05
             Disposition
June 2020    Asset                  06/19/20 AEP             390 communications with inspection vendor regarding completion of inspection reports on single-               0.1 0.0027027         $1.05
             Disposition                                         family residence portfolio (.1)
June 2020    Asset                  06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                      0.2 0.0024691         $0.96
             Disposition                                         portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                  06/23/20 JR              140 review email from K. Duff regarding unsold properties (.3)                                                0.3 0.0081081         $1.14
             Disposition
June 2020    Asset                  06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                            0.4 0.0049383         $1.93
             Disposition
June 2020    Asset                  06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).                  1.5 0.0185185         $7.22
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                    0.7 0.0067961         $2.65
             Operations                                          receivership.
June 2020    Business               06/01/20 MR              390 conference with E. Duff regarding restoration of funds (.7).                                              0.7 0.0162791         $6.35
             Operations
June 2020    Business               06/01/20 MR              390 Follow up on emails regarding issues on restoration (.7)                                                  0.7 0.0162791         $6.35
             Operations
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                                  0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting               1.9 0.0184466         $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/02/20 MR              390 Attention to issues on rent restoration and follow up from E. Duff.                                       0.3 0.0069767         $2.72
             Operations
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related                   1.0 0.0097087         $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                     0.2 0.0019417         $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/06/20 MR              390 Analysis of various issues on issues associated with restoration of funds.                                2.6 0.0604651        $23.58
             Operations
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                        0.2 0.0019417         $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/08/20 MR              390 Attention to restoration issues.                                                                          0.3 0.0069767         $2.72
             Operations
June 2020    Business               06/09/20 MR              390 Attention to motion on restoration of funds.                                                              0.4 0.0090909         $3.55
             Operations




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  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
June 2020    Business               06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)            0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                              0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/12/20 MR          390 Conferences with K. Duff regarding restoration issues (.7)                                          0.7 0.0162791         $6.35
             Operations
June 2020    Business               06/12/20 MR          390 attention to emails regarding same (.2).                                                            0.2 0.0045455         $1.77
             Operations
June 2020    Business               06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                           0.5 0.0048544         $1.89
             Operations
June 2020    Business               06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting             0.6 0.0058252         $2.27
             Operations                                      reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)
June 2020    Business               06/23/20 MR          390 Attention to issues on restoration issues and information regarding same, and review                1.2 0.0272727        $10.64
             Operations                                      restoration, and exchanges with E. Duff regarding same.
June 2020    Business               06/24/20 ED          390 call with accountant to discuss same (.1).                                                          0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)          0.2 0.0019417         $0.76
             Operations
June 2020    Business               06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to              0.3 0.0036585         $0.51
             Operations                                      installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020    Business               06/29/20 JRW         260 review and revise restoration motion (.7).                                                          0.7 0.0162791         $4.23
             Operations
June 2020    Business               06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team              0.8 0.0109589         $1.53
             Operations                                      regarding same, and scan tax bills (.8).
June 2020    Business               06/30/20 JRW         260 multiple communications with litigation team regarding restoration motion and affected              0.5 0.0116279         $3.02
             Operations                                      properties (.5).
June 2020    Business               06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                      0.2 0.0027027         $0.70
             Operations
June 2020    Business               06/30/20 MR          390 Further work on restoration motion and several exchanges regarding same.                            3.0 0.0681818        $26.59
             Operations
June 2020    Claims                 06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor               0.3 0.0033708         $0.47
             Administration                                  regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                 06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).             2.2 0.0247191         $9.64
             Administration
             & Objections




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  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
June 2020    Claims                 06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                    2.4 0.0269663         $10.52
             Administration
             & Objections

June 2020    Claims                 06/15/20 MR          390 Conferences regarding issues on brief.                                                            0.3 0.0033708          $1.31
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 Review and revise brief (3.5)                                                                     3.5 0.0393258         $15.34
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                      0.6 0.0067416          $2.63
             Administration
             & Objections

June 2020    Claims                 06/23/20 AW          140 email exchanges with K. Duff and J. Rak regarding claims made (properties 16-57) (.3).            0.3 0.0071429          $1.00
             Administration
             & Objections

July 2020    Asset                  07/14/20 KBD         390 study correspondence regarding single family residence portfolio valuation work (.1).             0.1       0.002        $0.78
             Disposition
July 2020    Asset                  07/26/20 KBD         390 Exchange correspondence with A. Porter regarding planning for single family residence             0.2       0.004        $1.56
             Disposition                                     portfolio (.2)
July 2020    Business               07/01/20 KBD         390 Work on expenses and restoration issues with E. Duff, M. Rachlis, and K. Pritchard (1.3)          1.3 0.0302326         $11.79
             Operations
July 2020    Business               07/01/20 KBD         390 study information regarding insurance and exchange correspondence with E. Duff regarding          0.1       0.002        $0.78
             Operations                                      same (.1)
July 2020    Business               07/02/20 KBD         390 exchange correspondence with insurance broker regarding certificate of insurance (1017 W          0.1          0.1      $39.00
             Operations                                      102nd) (.1)
July 2020    Business               07/02/20 KBD         390 draft correspondence to lender's counsel regarding status of obtaining certificate of             0.1       0.002        $0.78
             Operations                                      insurance (.1).
July 2020    Business               07/06/20 KBD         390 Exchange correspondence with E. Duff regarding sold properties, segregated funds, and             0.2 0.0046512          $1.81
             Operations                                      restoration motion.
July 2020    Business               07/07/20 KBD         390 Work on second restoration motion and exchange correspondence regarding same (2.3)                2.3 0.0534884         $20.86
             Operations
July 2020    Business               07/09/20 KBD         390 Study revised second restoration motion (.4)                                                      0.4 0.0093023          $3.63
             Operations
July 2020    Business               07/10/20 KBD         390 work on second restoration of funds motion (.3).                                                  0.3 0.0069767          $2.72
             Operations
July 2020    Business               07/12/20 KBD         390 telephone conference with E. Duff regarding same (.2)                                             0.2 0.0046512          $1.81
             Operations




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2020    Business               07/12/20 KBD             390 Revise restoration motion and declaration (2.8)                                                       2.8 0.0651163        $25.40
             Operations
July 2020    Business               07/13/20 KBD             390 Study revised restoration motion and declaration (.5)                                                 0.5 0.0116279         $4.53
             Operations
July 2020    Business               07/14/20 KBD             390 Revise restoration motion and declaration (.8)                                                        0.8 0.0186047         $7.26
             Operations
July 2020    Business               07/15/20 KBD             390 Review property manager financial reporting.                                                          0.4       0.008       $3.12
             Operations
July 2020    Business               07/16/20 KBD             390 Revise restoration motion and declaration (.8)                                                        0.8 0.0186047         $7.26
             Operations
July 2020    Business               07/17/20 KBD             390 Work on restoration motion and declaration (1.5)                                                      1.5 0.0348837        $13.60
             Operations
July 2020    Business               07/17/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same (.6)                     0.6 0.0139535         $5.44
             Operations
July 2020    Business               07/19/20 KBD             390 Work on restoration motion, declaration, and exhibits.                                                2.0 0.0465116        $18.14
             Operations
July 2020    Business               07/20/20 KBD             390 Work on restoration motion, declaration, and exhibits (2.7)                                           2.7 0.0627907        $24.49
             Operations
July 2020    Business               07/21/20 KBD             390 Study and revise draft second restoration motion and declaration and exchange                         0.7 0.0162791         $6.35
             Operations                                          correspondence with K. Pritchard and M. Rachlis regarding same (.7)
July 2020    Business               07/22/20 KBD             390 Work on consolidated motion for property sales and funds restoration (.6)                             0.6 0.0139535         $5.44
             Operations
July 2020    Business               07/24/20 KBD             390 Draft proposed order for second restoration motion.                                                   0.4 0.0093023         $3.63
             Operations
July 2020    Claims                 07/01/20 KBD             390 work on evidence of insurance for lender (.1).                                                        0.1       0.002       $0.78
             Administration
             & Objections

July 2020    Claims                 07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and           0.3 0.0033708         $1.31
             Administration                                      J. Wine relating to same (.3)
             & Objections

July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).               1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                  07/09/20 JR              140 review most recent T12 for single family homes and save in electronic folders (.6)                    0.6       0.012       $1.68
             Disposition
July 2020    Asset                  07/09/20 JR              140 exchange correspondence with A. Porter regarding single family portfolio updates (.1).                0.1       0.002       $0.28
             Disposition
July 2020    Asset                  07/10/20 JR              140 Exchange correspondence with A. Porter regarding the single family portfolio required                 0.2       0.004       $0.56
             Disposition                                         updates to master due diligence spreadsheet (.2)
July 2020    Asset                  07/10/20 JR              140 update master single family portfolio spreadsheet with pertinent property information for 37          5.8       0.116      $16.24
             Disposition                                         single family homes (5.8)




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020    Asset                  07/10/20 JR              140 exchange correspondence with property management requesting updated due diligence                       0.1       0.002       $0.28
             Disposition                                         material for single family homes in preparation for listing (.1).
July 2020    Asset                  07/13/20 JR              140 review email from the utility manager regarding updated utility bills and organize for single           0.2       0.004       $0.56
             Disposition                                         family homes (.2)
July 2020    Asset                  07/13/20 JR              140 telephone conference with J. Porter, A. Watychowicz regarding single family homes and                   0.6       0.012       $1.68
             Disposition                                         investigation process related to financial documents (.6)
July 2020    Asset                  07/13/20 JR              140 exchange correspondence with property management regarding updates to due diligence                     0.1       0.002       $0.28
             Disposition                                         documents for single family homes (.1)
July 2020    Asset                  07/13/20 JR              140 further update master single family home spreadsheet with lease terms of each tenant and                2.4       0.048       $6.72
             Disposition                                         review inspection reports relating to bids and update the master single family spreadsheet
                                                                 (2.4)
July 2020    Asset                  07/13/20 JR              140 review brokers marketing spreadsheet relating to bedroom and bath sizes, review property                1.2       0.024       $3.36
             Disposition                                         manager rent roll regarding same and update master spreadsheet for single family homes
                                                                 (1.2)
July 2020    Asset                  07/14/20 AEP             390 Teleconference with J. Rak regarding status of completion of due diligence folders relating to          0.8       0.016       $6.24
             Disposition                                         single-family home portfolio and reconciliation of various sources of information into master
                                                                 spreadsheet (.8)
July 2020    Asset                  07/14/20 JR              140 review email from property management regarding bedroom bath size discrepancy for single                0.2       0.004       $0.56
             Disposition                                         family homes and discuss further with property manager regarding same (.2)

July 2020    Asset                  07/14/20 JR              140 review surveys for all single family homes and update master spreadsheet regarding lot size             0.8       0.016       $2.24
             Disposition                                         for each property (.8)
July 2020    Asset                  07/14/20 JR              140 update single family home master spreadsheet related to bid information for remainder of                0.6       0.012       $1.68
             Disposition                                         properties (.6)
July 2020    Asset                  07/14/20 JR              140 review tax balances for all single family homes and update master spreadsheet (.9)                      0.9       0.018       $2.52
             Disposition
July 2020    Asset                  07/14/20 JR              140 review utility bills requested from property manager and organize in electronic files related           0.4       0.008       $1.12
             Disposition                                         to single family homes (.4).
July 2020    Asset                  07/14/20 JR              140 review leases for lease terms and security deposits and update master single family portfolio           2.2       0.044       $6.16
             Disposition                                         (2.2)
July 2020    Asset                  07/14/20 JR              140 exchange correspondence with property management requesting updated income and loss                     0.2       0.004       $0.56
             Disposition                                         statements, utility bills and various other property characteristics related to all 37 single
                                                                 family homes (.2)
July 2020    Asset                  07/15/20 JR              140 Review emails and update master single family spreadsheet with various pertinent property               4.4       0.088      $12.32
             Disposition                                         information, bed/bath sizes, garage spaces, leases.
July 2020    Asset                  07/17/20 JR              140 review email from property manager related to single family homes and the utility                       0.1       0.002       $0.28
             Disposition                                         responsibility for each tenant (.1)
July 2020    Asset                  07/17/20 JR              140 update electronic files regarding same (.4)                                                             0.4       0.008       $1.12
             Disposition
July 2020    Asset                  07/17/20 JR              140 review utility bills related to single family homes (.8).                                               0.8       0.016       $2.24
             Disposition
July 2020    Asset                  07/17/20 JR              140 review emails and update single family home portfolio (.8)                                              0.8       0.016       $2.24
             Disposition


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1017 W 102nd Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2020    Asset                  07/20/20 JR              140 review utility statements for all single family homes and update master single family due             2.9       0.058        $8.12
             Disposition                                         diligence spreadsheet (2.9)
July 2020    Asset                  07/20/20 JR              140 Exchange correspondence with property management regarding missing items related to                   0.3       0.006        $0.84
             Disposition                                         single family homes (.3)
July 2020    Asset                  07/20/20 JR              140 exchange correspondence with property management requesting same (.2).                                0.2       0.004        $0.56
             Disposition
July 2020    Asset                  07/20/20 JR              140 review the master single family homes EB spreadsheet and compile a list of missing subsidy            0.5         0.01       $1.40
             Disposition                                         agreements and find all discrepancies (.5).
July 2020    Asset                  07/20/20 JR              140 exchange correspondence with property management requesting missing items (.3)                        0.3       0.006        $0.84
             Disposition
July 2020    Asset                  07/20/20 JR              140 review surveys for all single family homes and update master due diligence spreadsheet                1.2       0.024        $3.36
             Disposition                                         related to garage space for each property (1.2)
July 2020    Asset                  07/21/20 JR              140 save in electronic folders and update master due diligence spreadsheet regarding same (.5)            0.5         0.01       $1.40
             Disposition
July 2020    Asset                  07/21/20 JR              140 review email from property management related to requested due diligence documents (.2)               0.2       0.004        $0.56
             Disposition
July 2020    Asset                  07/21/20 JR              140 Review email from property management and the requested subsidy agreements regarding                  0.2       0.004        $0.56
             Disposition                                         the single family home portfolio (.2)
July 2020    Asset                  07/21/20 JR              140 organize electronic files and update master due diligence spreadsheet related to single               0.5         0.01       $1.40
             Disposition                                         family homes (.5)
July 2020    Asset                  07/21/20 JR              140 exchange correspondence with property manager regarding additional information                        0.2       0.004        $0.56
             Disposition                                         pertaining to single family homes (.2)
July 2020    Asset                  07/21/20 JR              140 review leases provided by property leasing manager and organize electronic files for various          0.2       0.004        $0.56
             Disposition                                         single family homes (.2)
July 2020    Asset                  07/22/20 AEP             390 review of relevant due diligence materials and conference with J. Rak regarding status of             1.1       0.022        $8.58
             Disposition                                         preparation of due diligence documentation in connection with conveyance of single-family
                                                                 home portfolio (1.1)
July 2020    Asset                  07/22/20 AEP             390 prepare communication to counsel for institutional lender regarding status of completion of           0.2       0.004        $1.56
             Disposition                                         due diligence folders associated with single-family homes (.2)
July 2020    Asset                  07/22/20 JR              140 exchange correspondence with property management and requesting litigation documents                  0.2       0.004        $0.56
             Disposition                                         (.2)
July 2020    Asset                  07/22/20 JR              140 meeting with A. Porter regarding single family homes master due diligence spreadsheet (.7)            0.7       0.014        $1.96
             Disposition
July 2020    Asset                  07/22/20 JR              140 review email from property management regarding updates to due diligence documents for                0.2       0.004        $0.56
             Disposition                                         single family homes, request information regarding discrepancies in subsidy agreements and
                                                                 rent roll previously provided (.2).
July 2020    Asset                  07/22/20 JR              140 review various closed properties related to current insurance and inspection issues (.1)              0.1       0.002        $0.28
             Disposition
July 2020    Asset                  07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                   4.4 0.0656716          $9.19
             Disposition                                         communications with EB team regarding same.
July 2020    Asset                  07/24/20 JR              140 follow up correspondence with property management regarding single family home due                    0.1       0.002        $0.28
             Disposition                                         diligence document request (.1)




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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
July 2020    Asset                  07/26/20 AEP             390 review all property-specific due diligence folders associated with single-family home                 2.4       0.048       $18.72
             Disposition                                         portfolio, eliminate duplicates, perform final reconciliation of damage repairs, cost
                                                                 estimates, lease documentation, and rental information and prepare e-mail to receivership
                                                                 broker regarding commencement of public marketing campaign (2.4)

July 2020    Asset                  07/27/20 AEP             390 begin review of all surveys in single-family residence portfolio in connection with                   0.5         0.01       $3.90
             Disposition                                         identification of encroachments likely to trigger demands for title insurance endorsements
                                                                 (.5)
July 2020    Asset                  07/27/20 JR              140 review single family portfolio and request additional updates from the property manager (.6)          0.6       0.012        $1.68
             Disposition
July 2020    Asset                  07/28/20 AEP             390 completion of communications with receivership real estate broker regarding status of due             0.1       0.002        $0.78
             Disposition                                         diligence folders in connection with marketing of single-family home portfolio (.1)

July 2020    Asset                  07/28/20 JR              140 review requested due diligence documents and request additional missing items from                    0.4       0.008        $1.12
             Disposition                                         property management regarding single family homes (.4)
July 2020    Asset                  07/28/20 JR              140 review requested water bills for all single family homes and update property folders and              1.2       0.024        $3.36
             Disposition                                         update master single family homes spreadsheet (1.2)
July 2020    Asset                  07/28/20 JR              140 review email from real estate broker regarding updates to due diligence documents for                 0.2       0.004        $0.56
             Disposition                                         single family homes and respond regarding same (.2)
July 2020    Asset                  07/28/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1       0.002        $0.28
             Disposition
July 2020    Business               07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same              1.8 0.0666667          $9.33
             Operations                                          (1.8)
July 2020    Business               07/01/20 ED              390 Review draft motion regarding restoration of rent and receivership expenditures from                  0.6 0.0139535          $5.44
             Operations                                          proceeds of sale of certain properties (.6)
July 2020    Business               07/01/20 ED              390 telephone conference with K. Duff, M. Rachlis, and K. Pritchard regarding financial                   1.2    0.027907       $10.88
             Operations                                          information relating to same and analysis of content to include (1.2)
July 2020    Business               07/01/20 ED              390 email correspondence with M. Rachlis regarding comments, and regarding calculations (.1)              0.1 0.0023256          $0.91
             Operations
July 2020    Business               07/01/20 ED              390 follow up conversation with K. Pritchard regarding same (.1)                                          0.1 0.0023256          $0.91
             Operations
July 2020    Business               07/01/20 ED              390 email correspondence to M. Rachlis and K. Duff regarding calculations from with accountant            0.1 0.0023256          $0.91
             Operations                                          of restoration amounts due from properties (.1).
July 2020    Business               07/01/20 JRW             260 related review of spreadsheet (.1).                                                                   0.1 0.0023256          $0.60
             Operations
July 2020    Business               07/01/20 JRW             260 Review and comment on revisions to restoration motion (.3)                                            0.3 0.0069767          $1.81
             Operations
July 2020    Business               07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                 2.3 0.0343284          $4.81
             Operations                                          exhibits to restoration motion (2.3).
July 2020    Business               07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                 0.3 0.0044776          $0.63
             Operations                                          for exhibits to proposed restoration motion (.3)
July 2020    Business               07/01/20 MR              390 Conferences with K. Duff, E. Duff and K. Pritchard and attention to restoration issues.               0.6 0.0139535          $5.44
             Operations


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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in              3.5 0.0522388         $7.31
             Operations                                          narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                 same (3.5)
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/05/20 MR              390 Research on restoration motion and work on same.                                                       1.5 0.0348837        $13.60
             Operations
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 review and analysis of calculations of amounts reimbursable from proceeds of sold                      0.7 0.0162791         $6.35
             Operations                                          properties (.7)
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008       $1.12
             Operations                                          properties in the estate.
July 2020    Business               07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
             Operations                                          upcoming payment on insurance premium funding (.2).
July 2020    Business               07/08/20 AW              140 Communicate with K. Pritchard regarding rent restoration motion and exhibits (.1)                      0.1 0.0023256         $0.33
             Operations
July 2020    Business               07/08/20 ED              390 Call with K. Duff regarding second restoration motion.                                                 0.3 0.0069767         $2.72
             Operations
July 2020    Business               07/09/20 MR              390 Further work on second restoration motion.                                                             1.0 0.0232558         $9.07
             Operations
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
             Operations                                          and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                 installment on insurance premium financing agreement, and communications with K. Duff
                                                                 and bank representatives regarding same (.5)
July 2020    Business               07/11/20 MR              390 Further work and research regarding second restoration motion and affidavit and revisions              2.5 0.0581395        $22.67
             Operations                                          to same.




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/13/20 AW              140 Attention to current draft of rent restoration motion, proofread and cite check same, draft            1.7 0.0395349         $5.53
             Operations                                          notice as per standing order, and email counsel regarding revisions.
July 2020    Business               07/13/20 ED              390 Update description and date relating to rent restoration and property reimbursement                    0.6 0.0139535         $5.44
             Operations                                          amounts in draft motion and declaration (.6)
July 2020    Business               07/13/20 MR              390 Further work on and revise second restoration motion.                                                  1.5 0.0348837        $13.60
             Operations
July 2020    Business               07/16/20 MR              390 Review and revise restoration motion and follow up regarding same.                                     0.9 0.0209302         $8.16
             Operations
July 2020    Business               07/17/20 AW              140 Email exchanges with K. Duff and E. Duff regarding exhibits to second restoration motion (.2)          0.2 0.0046512         $0.65
             Operations
July 2020    Business               07/17/20 ED              390 email correspondence with K. Duff regarding same (.2)                                                  0.2 0.0046512         $1.81
             Operations
July 2020    Business               07/17/20 ED              390 email correspondence to A. Watychowicz regarding content of exhibits (.1).                             0.1 0.0023256         $0.91
             Operations
July 2020    Business               07/17/20 ED              390 Further review and revision of draft declaration and motion relating to restoration motion             0.3 0.0069767         $2.72
             Operations                                          (.3)
July 2020    Business               07/20/20 ED              390 regarding second motion for restoration, and related and document review and revision (.5)             0.5 0.0116279         $4.53
             Operations
July 2020    Business               07/20/20 ED              390 email correspondence with accountant regarding same (.1).                                              0.1 0.0023256         $0.91
             Operations
July 2020    Business               07/20/20 ED              390 email correspondence with K. Duff (.2)                                                                 0.2 0.0046512         $1.81
             Operations
July 2020    Business               07/20/20 KMP             140 Revise restoration motion, affidavit, and exhibit and communicate with K. Duff and A.                  1.4 0.0325581         $4.56
             Operations                                          Watychowicz regarding same.
July 2020    Business               07/20/20 MR              390 Attention to completing restoration motion.                                                            1.2    0.027907      $10.88
             Operations
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/21/20 KMP             140 Revise restoration motion, affidavit, and exhibits, prepare electronic version, and                    0.9 0.0209302         $2.93
             Operations                                          communicate with K. Duff regarding same (.9)
July 2020    Business               07/21/20 MR              390 Review and follow up on motion regarding restoration.                                                  0.7 0.0162791         $6.35
             Operations
July 2020    Business               07/22/20 ED              390 review and comment on draft declaration in support of motion for restoration (.4)                      0.4 0.0093023         $3.63
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/22/20 ED              390 and email correspondence with property manager and accountant regarding same (.1).                     0.1 0.0023256         $0.91
             Operations
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                          (.3)
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                          benefit of other properties (.3).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).             0.2 0.0029851         $0.42
             Operations
July 2020    Business               07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                               0.2 0.0029851         $0.42
             Operations
July 2020    Business               07/23/20 JR              140 exchange communication with K. Pritchard and K. Duff regarding same (.1)                               0.1 0.0023256         $0.33
             Operations
July 2020    Business               07/23/20 JR              140 Update property address information to exhibit 2 to second restoration motion (.2)                     0.2 0.0046512         $0.65
             Operations
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                              0.3 0.0044776         $0.63
             Operations
July 2020    Business               07/24/20 KMP             140 electronically file same with court (.3)                                                               0.3 0.0044776         $0.63
             Operations
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                 07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
             Administration                                      regarding discrepancies (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
             Administration                                      counsel (.4)
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
July 2020    Claims                 07/09/20 ED          390 and call (.1)                                                                                        0.1 0.0023256          $0.91
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 Review chart from accountant relating to reimbursable amounts from proceeds of sold                  0.3 0.0069767          $2.72
             Administration                                  properties (.3)
             & Objections

July 2020    Claims                 07/09/20 ED          390 email correspondence (.2) regarding same                                                             0.2 0.0046512          $1.81
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 transmit March accounting reports to institutional lenders' counsel (1.7)                            1.7 0.0165049          $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 organize and send materials for preparation of April accounting reports to accountant (.6).          0.6 0.0058252          $2.27
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED          390 review and revise draft of affidavit (1.2)                                                           1.2    0.027907       $10.88
             Administration
             & Objections

July 2020    Claims                 07/31/20 JRW         260 additional legal research and draft memo regarding motion to intervene (.8)                          0.8 0.0089888          $2.34
             Administration
             & Objections

August 2020 Asset                   08/07/20 KBD         390 exchange correspondence with real estate broker regarding work to list single family                 0.2       0.004        $1.56
            Disposition                                      residence portfolio (.2)
August 2020 Asset                   08/12/20 KBD         390 Telephone conference with real estate broker and counsel regarding marketing and sale of             0.5         0.01       $3.90
            Disposition                                      single family residence portfolio.
August 2020 Asset                   08/25/20 KBD         390 exchange correspondence with A. Porter regarding preparation of single family residence              0.1       0.002        $0.78
            Disposition                                      portfolio for sale (.1)
August 2020 Asset                   08/31/20 KBD         390 Telephone conference with A. Porter regarding sale of single family residence portfolio and          0.2       0.004        $1.56
            Disposition                                      additional property.
August 2020 Business                08/25/20 KBD         390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                     0.1 0.0014085          $0.55
            Operations
August 2020 Claims                  08/03/20 KBD         390 analysis of claimant intervention motion and exchange correspondence with J. Wine                    0.3 0.0033708          $1.31
            Administration                                   regarding same (.3)
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
August 2020 Claims                  08/04/20 KBD             390 draft correspondence to other claimant's counsel regarding requests for records (.3)                    0.3 0.0037037          $1.44
            Administration
            & Objections

August 2020 Claims                  08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                         0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                  08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence                1.3 0.0146067          $5.70
            Administration                                       to J. Wine regarding same.
            & Objections

August 2020 Asset                   08/03/20 AEP             390 review consolidated title commitment for single-family homes portfolio, research status of              1.3       0.026       $10.14
            Disposition                                          administrative judgments identified as exceptions, prepare list of outstanding issues, and
                                                                 transmit same to title company underwriter regarding continued clearance of title
                                                                 exceptions (1.3).
August 2020 Asset                   08/05/20 AEP             390 Teleconference with title company underwriter regarding all encroachments reflected on                  2.0         0.04      $15.60
            Disposition                                          surveys of single-family homes and deletion of certain special exceptions on single-family
                                                                 homes title commitment.
August 2020 Asset                   08/11/20 JR              140 further communication with property management regarding same (.1)                                      0.1       0.002        $0.28
            Disposition
August 2020 Asset                   08/11/20 JR              140 review email from A. Porter regarding status of new applicants for the single family homes              0.1       0.002        $0.28
            Disposition                                          (.1)
August 2020 Asset                   08/12/20 AEP             390 teleconference with receivership brokers regarding initiation of marketing of single-family             0.5         0.01       $3.90
            Disposition                                          home portfolio, bidding procedures, pricing, and publication notice (.5).

August 2020 Asset                   08/12/20 MR              390 Telephone conference regarding marketing and sale of single family residence portfolio with             0.5         0.01       $3.90
            Disposition                                          asset manager, K. Duff and A. Porter.
August 2020 Asset                   08/14/20 JR              140 further communication with property management requesting updates to due diligence                      0.2       0.004        $0.56
            Disposition                                          documents for single family homes (.2)
August 2020 Asset                   08/17/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1       0.002        $0.28
            Disposition                                          homes and respond regarding same (.1)
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709          $0.14
            Disposition
August 2020 Asset                   08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699          $0.53
            Disposition                                          within eighth, ninth, and current tranches (.1)
August 2020 Asset                   08/20/20 JR              140 review email from property management regarding status of due diligence documents                       0.1       0.002        $0.28
            Disposition                                          related to single family homes (.1).
August 2020 Asset                   08/21/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1       0.002        $0.28
            Disposition                                          homes and respond regarding same (.1)
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095          $1.49
            Operations                                           (.4)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                      1.9 0.0180952         $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/04/20 MR              390 Attention to issues on restoration motion and issues raised by lender.                              0.4 0.0093023         $3.63
            Operations
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with             0.8    0.007767       $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                            1.6 0.0152381         $5.94
            Operations
August 2020 Business                08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be            0.1 0.0011765         $0.46
            Operations                                           listed for sale (.1)
August 2020 Business                08/13/20 ED              390 review and analysis of related documents and reports (.2).                                          0.2 0.0023529         $0.92
            Operations
August 2020 Business                08/16/20 ED              390 Email to J. Wine regarding calculation of restoration due to properties (.2)                        0.2 0.0046512         $1.81
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020           0.3 0.0029126         $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                             0.1 0.0009709         $0.38
            Operations
August 2020 Business                08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager            0.2 0.0031746         $1.24
            Operations                                           (.2)
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by               0.3 0.0029126         $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                   0.1 0.0015873         $0.62
            Operations
August 2020 Business                08/24/20 JR              140 Review various property tax balances.                                                               1.1 0.0152778         $2.14
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter              0.4 0.0038835         $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                        0.9      0.0125       $1.75
            Operations
August 2020 Business                08/25/20 MR              390 Attention to follow up on objections to restoration motion and review additional materials          0.3 0.0069767         $2.72
            Operations                                           regarding same.
August 2020 Business                08/26/20 MR              390 Attention to issues on rent restoration and follow up regarding same.                               0.3 0.0069767         $2.72
            Operations
August 2020 Claims                  08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'          0.9 0.0101124         $2.63
            Administration                                       motion to intervene (.9)
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
August 2020 Claims                  08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.           1.5 0.0168539          $4.38
            Administration                                       Duff and M. Rachlis (1.5)
            & Objections

September    Asset                  09/18/20 KBD             390 exchange correspondence with J. Wine regarding draft proposed order (.1).                            0.1 0.0023256          $0.91
2020         Disposition
September    Business               09/15/20 KBD             390 review financial reporting from property manager (.2)                                                0.2 0.0040816          $1.59
2020         Operations
September    Business               09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding                0.3 0.0042857          $1.67
2020         Operations                                          payment of same (.3)
September    Business               09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and               0.7         0.01       $3.90
2020         Operations                                          lenders (.7)
September    Business               09/18/20 KBD             390 Study draft order for second restoration motion and exchange correspondence regarding                0.2 0.0046512          $1.81
2020         Operations                                          same (.2)
September    Business               09/21/20 KBD             390 exchange correspondence with K. Pritchard regarding restoration of funds (.1).                       0.1 0.0023256          $0.91
2020         Operations
September    Business               09/23/20 KBD             390 Attention to funds transfers for restoration (.2)                                                    0.2 0.0046512          $1.81
2020         Operations
September    Business               09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                 0.1 0.0014925          $0.58
2020         Operations
September    Claims                 09/14/20 KBD             390 exchange correspondence with claimant counsel regarding single family residence portfolio            0.1       0.002        $0.78
2020         Administration                                      (.1)
             & Objections

September Asset                     09/01/20 AEP             390 review files pertaining to single- family residence portfolio and prepare allocation of              0.3       0.006        $2.34
2020      Disposition                                            property inspection costs for insertion into May statements to be provided to institutional
                                                                 lenders (.3).
September    Asset                  09/01/20 JR              140 review email from real estate broker regarding due diligence documents related to single             0.3       0.006        $0.84
2020         Disposition                                         family homes and exchange communications regarding same (.3)
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                    0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                             0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                   1.8       0.025        $3.50
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                 0.2 0.0027778          $0.39
2020         Disposition                                         income available funds related to payment of tax balances (.2)
September    Asset                  09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                0.2 0.0027778          $0.39
2020         Disposition                                         for all EB properties with sufficient funds (.2).
September    Asset                  09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for               0.4 0.0074074          $1.93
2020         Disposition                                         restoration (.4)
September    Asset                  09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                   0.2 0.0037037          $0.96
2020         Disposition


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September    Asset                  09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                   0.1 0.0014085         $0.20
2020         Disposition                                         of all EB properties (.1)
September    Asset                  09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                       0.1 0.0014085         $0.20
2020         Disposition                                         properties with sufficient funds (.1)
September    Asset                  09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                0.3 0.0042254         $0.59
2020         Disposition                                         regarding same for all remaining properties in the EquityBuild Estate (.3)

September    Asset                  09/25/20 JR              140 review tax payments produced by property manager (.7).                                                 0.7 0.0097222         $1.36
2020         Disposition
September    Asset                  09/28/20 JRW             260 Email exchange regarding publication notice (.1)                                                       0.1       0.002       $0.52
2020         Disposition
September    Asset                  09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                 0.2 0.0030769         $0.43
2020         Disposition                                         payments (.2)
September    Asset                  09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                  0.1 0.0015873         $0.22
2020         Disposition
September    Asset                  09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed             0.1 0.0015873         $0.22
2020         Disposition                                         properties (.1)
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417         $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding          0.7 0.0098592         $1.38
2020         Operations                                          tax balances (.7).
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417         $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                    0.3 0.0029126         $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/08/20 MR              390 attention to issues on objections to restoration motion (.2).                                          0.2 0.0046512         $1.81
2020         Operations
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                      0.3 0.0029126         $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/09/20 MR              390 Further attention to issues on objections to restoration issues.                                       0.2 0.0046512         $1.81
2020         Operations
September    Business               09/11/20 MR              390 Further work to review and revise response on second restoration motion.                               1.0 0.0232558         $9.07
2020         Operations
September    Business               09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                        0.2 0.0028169         $0.39
2020         Operations                                          payment of taxes of EquityBuild properties.
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting               1.2 0.0116505         $4.54
2020         Operations                                          (1.2)
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                         0.2 0.0019417         $0.76
2020         Operations
September    Business               09/18/20 JRW             260 Prepare order partially granting second restoration motion (.6)                                        0.6 0.0139535         $3.63
2020         Operations
September    Business               09/18/20 JRW             260 draft cover email to court regarding order partially granting second restoration motion (.3)           0.3 0.0069767         $1.81
2020         Operations


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
September    Business               09/18/20 MR              390 Attention to restoration order and emails on same.                                                         0.3 0.0069767         $2.72
2020         Operations
September    Business               09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)                    0.2 0.0029851         $0.42
2020         Operations
September    Business               09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account                 0.8 0.0119403         $1.67
2020         Operations                                          numbers for all properties subject to order (.8)
September    Business               09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                     1.2 0.0171429         $2.40
2020         Operations
September    Business               09/22/20 JR              140 review email from property manager and update electronic files for various properties with                 0.2 0.0028571         $0.40
2020         Operations                                          property tax receipts (.2)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly                0.2 0.0019417         $0.27
2020         Operations                                          (.2).
September    Business               09/22/20 KMP             140 Additional communications with bank representatives regarding opening of new accounts in                   0.2 0.0054054         $0.76
2020         Operations                                          connection with anticipated account transfers to comply with restoration approved by court
                                                                 (.2)
September    Business               09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                     2.1 0.0313433         $4.39
2020         Operations                                          (2.1)
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.                  1.2 0.0116505         $4.54
2020         Operations
September    Business               09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)                 0.2 0.0028571         $0.40
2020         Operations
September    Claims                 09/15/20 AW              140 revise proposed order and exhibit regarding rent restoration motion and email J. Wine                      0.1 0.0023256         $0.33
2020         Administration                                      regarding same (.1)
             & Objections

September Claims                    09/15/20 MR              390 further attention to reply on second restoration motion (.7).                                              0.7 0.0162791         $6.35
2020      Administration
          & Objections

September Claims                    09/18/20 AW              140 email J. Wine regarding spreadsheet related to second restoration motion (.1)                              0.1 0.0023256         $0.33
2020      Administration
          & Objections

September Claims                    09/18/20 AW              140 finalize exhibits for submission to proposed order email (.3)                                              0.3 0.0069767         $0.98
2020      Administration
          & Objections

October      Asset                  10/16/20 KBD             390 Work with A. Porter and J. Rak on planning for listing SFR portfolio and title exception and               0.6       0.012       $4.68
2020         Disposition                                         insurance issues (single family) (.6)
October      Asset                  10/23/20 KBD             390 confer with broker, lenders counsel, and A. Porter regarding single-family residence portfolio             0.4       0.008       $3.12
2020         Disposition                                         marketing and listing planning, title issues, due diligence materials, bid procedures, credit bid
                                                                 interest, and procedure for reviewing bids (.4)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
October      Asset                  10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                     0.2       0.001        $0.39
2020         Disposition                                         properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)
October      Asset                  10/23/20 KBD             390 work on preparation for marketing and listing of single-family residence portfolio and                  0.5         0.01       $3.90
2020         Disposition                                         prepare for call with broker and lenders counsel (.5)
October      Business               10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                         0.2 0.0032258          $1.26
2020         Operations
October      Business               10/09/20 KBD             390 study financial reporting from property managers (.5)                                                   0.5 0.0080645          $3.15
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).             0.3 0.0028571          $1.11
2020         Operations
October      Business               10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                               0.2 0.0034483          $1.34
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                      0.3 0.0028571          $1.11
2020         Operations
October      Business               10/28/20 KBD             390 Exchange correspondence regarding order on second restoration motion (.2)                               0.2 0.0046512          $1.81
2020         Operations
October      Asset                  10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903          $1.58
2020         Disposition                                         lenders (.7)
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                         3.3 0.0320388          $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)               0.9 0.0087379          $1.22
2020         Disposition
October      Asset                  10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future             0.4 0.0064516          $2.52
2020         Disposition                                         marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                      0.5 0.0048544          $0.68
2020         Disposition                                         information (.5)
October      Asset                  10/14/20 AEP             390 Continue reviewing due diligence folders for single-family homes, updating due diligence                2.3       0.046       $17.94
2020         Disposition                                         checklist, reconciling title commitment exceptions to EquityBuild records, and preparing bid
                                                                 procedures to govern submission of offers and selection of winning bidder.

October      Asset                  10/15/20 AEP             390 review all building code violation folders to identify all potential judgments pending against          0.8       0.016        $6.24
2020         Disposition                                         single-family homes (.8)
October      Asset                  10/15/20 AEP             390 read through all title exceptions and create master list of items needed from City of Chicago           1.4       0.028       $10.92
2020         Disposition                                         and prior encumbrances to ensure conveyance of clean title at closing (1.4)

October      Asset                  10/15/20 AEP             390 review and analyze title histories on all properties subject to title exceptions and create             2.0         0.04      $15.60
2020         Disposition                                         chain of title explanations for use with title underwriter (2.0).
October      Asset                  10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding property tax issues (.1)                               0.1       0.002        $0.78
2020         Disposition
October      Asset                  10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding issues associated with single-family home              0.5         0.01       $3.90
2020         Disposition                                         judgments and encumbrances (single family) (.5)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours         Fees
October      Asset                  10/16/20 JR              140 Work with A. Porter and K. Duff on planning for listing single family portfolio and title                  0.6       0.012        $1.68
2020         Disposition                                         exception and insurance issues (.6)
October      Asset                  10/16/20 JR              140 review tax balances for single family homes (.4).                                                          0.4       0.008        $1.12
2020         Disposition
October      Asset                  10/16/20 JRW             260 Confer with K. Duff regarding publication notice for single family home portfolio.                         0.1       0.002        $0.52
2020         Disposition
October      Asset                  10/19/20 JR              140 review single family home due diligence folders and organize in preparation of sharing with                2.7       0.054        $7.56
2020         Disposition                                         interested buyers (2.7).
October      Asset                  10/22/20 JR              140 Update single family homes documents (.5)                                                                  0.5         0.01       $1.40
2020         Disposition
October      Asset                  10/22/20 JR              140 exchange correspondence with A. Porter regarding single family homes (.1)                                  0.1       0.002        $0.28
2020         Disposition
October      Asset                  10/23/20 AEP             390 preliminary communications with alternative title company regarding potential issuance of                  0.3       0.006        $2.34
2020         Disposition                                         insurance over special exceptions raised by current insurer (.3)
October      Asset                  10/23/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for special servicer regarding               0.5         0.01       $3.90
2020         Disposition                                         status of preparation of marketing of single-family home portfolio, including title issues, sales
                                                                 contract issues, due diligence issues, and marketing issues (.5)

October      Asset                  10/27/20 AEP             390 teleconference with potential new title company regarding impasses with current title                      0.7       0.007        $2.73
2020         Disposition                                         company over deletion of special exceptions on various receivership properties (7237 S
                                                                 Bennett and single-family home portfolio) (.7).
October      Asset                  10/29/20 AEP             390 communications with former title company regarding need for hold harmless letter                           0.1       0.002        $0.78
2020         Disposition                                         associated with prospective conveyance of receivership property (.1)
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                       0.9 0.0087379          $3.41
2020         Operations
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                     0.1 0.0009709          $0.38
2020         Operations
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).                0.2 0.0019417          $0.76
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                   0.3 0.0029126          $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                         0.1 0.0009709          $0.38
2020         Operations
October      Business               10/07/20 ED              390 final review of May reports (1.0).                                                                         1.0 0.0097087          $3.79
2020         Operations
October      Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                     0.8    0.007767        $3.03
2020         Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                 reimbursable amounts by properties. (.2)
October      Business               10/07/20 KMP             140 Prepare form for wire transfer to financing company for payment of insurance premium                       0.3 0.0048387          $0.68
2020         Operations                                          financing installment and communications with K. Duff and bank representatives regarding
                                                                 same.
October      Business               10/08/20 ED              390 review of premium finance agreements executed in connection with renewals of property                      0.3 0.0048387          $1.89
2020         Operations                                          and liability insurance (.3)


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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020         Operations                                      reports (.5).
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                   0.9 0.0145161         $5.66
2020         Operations                                      explanations of insurance expense for all unsold properties and inspection expenses for
                                                             certain properties (.9)
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                      property manager (.2)
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED          390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business               10/27/20 ED          390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                      property financial reporting (.2).
October      Business               10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                      reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                             reimbursed from proceeds of property sales (1.3)
October      Business               10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                    0.2 0.0033333         $0.47
2020         Operations                                      financing installments in light of various property sales.
October      Business               10/30/20 ED          390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                      reports, and review of related financial information.
October      Business               10/30/20 KMP         140 prepare form for funds transfer to premium financing company for installment payment on              0.4 0.0066667         $0.93
2020         Operations                                      property insurance, and communicate with K. Duff and bank representatives regarding same
                                                             (.4)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
October      Business               10/30/20 KMP             140 Communication with insurance broker regarding updated payment schedules for insurance                     0.2 0.0033333          $0.47
2020         Operations                                          premium financing installments in light of various property sales (.2)
November     Asset                  11/17/20 KBD             390 exchange correspondence with A. Porter regarding pricing and allocation of sale proceeds                  0.2       0.004        $1.56
2020         Disposition                                         for single family residence portfolio and title company communication (.2)

November     Asset                  11/19/20 KBD             390 work on bid procedures for single family residence portfolio (.3).                                        0.3       0.006        $2.34
2020         Disposition
November     Asset                  11/20/20 KBD             390 exchange correspondence with M. Rachlis regarding sale procedures for single family                       0.1       0.002        $0.78
2020         Disposition                                         residence portfolio (.1)
November     Asset                  11/20/20 KBD             390 telephone conference with real estate broker and A. Porter regarding same (.2)                            0.2       0.004        $1.56
2020         Disposition
November     Asset                  11/20/20 KBD             390 telephone conferences with A. Porter regarding marketing of and allocation issues relating to             0.3       0.006        $2.34
2020         Disposition                                         single family residence portfolio (.3)
November     Asset                  11/21/20 KBD             390 Exchange correspondence with real estate broker and A. Porter regarding treatment of                      0.2       0.004        $1.56
2020         Disposition                                         offers for single family residence portfolio.
November     Asset                  11/28/20 KBD             390 Exchange correspondence with A. Porter regarding broker agreement and publication notice                  0.2       0.004        $1.56
2020         Disposition                                         for sale of single-family residence portfolio.
November     Asset                  11/29/20 KBD             390 Study and revise offering memorandum for sale of single-family residence portfolio and draft              0.3       0.006        $2.34
2020         Disposition                                         correspondence to A. Porter regarding same.
November     Asset                  11/30/20 KBD             390 work on offering memorandum and exchange correspondence regarding same for single-                        0.2       0.004        $1.56
2020         Disposition                                         family residence portfolio (.2)
November     Business               11/13/20 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0065217          $2.54
2020         Operations
November     Claims                 11/20/20 KBD             390 confer with claimant lenders' counsel, real estate broker, and A. Porter regarding marketing              0.6       0.012        $4.68
2020         Administration                                      of and allocation issues relating to single family residence portfolio (.6)
             & Objections

November     Asset                  11/05/20 AEP             390 continue analyzing public records and preparing memorandum to prospective new title                       3.5         0.07      $27.30
2020         Disposition                                         insurer requesting consideration of waiver of title exceptions appearing on current version of
                                                                 title commitment for single-family homes (3.5).
November     Asset                  11/06/20 AEP             390 Finalize review and analysis of remaining properties associated with title exceptions in single-          2.3       0.046       $17.94
2020         Disposition                                         family home portfolio and preparation of memorandum to prospective new title insurer
                                                                 regarding potential waiver of exceptions (2.3)
November     Asset                  11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                              0.7    0.012069        $1.69
2020         Disposition
November     Asset                  11/17/20 AEP             390 teleconference with prospective new title insurer regarding issues associated with                        0.5         0.01       $3.90
2020         Disposition                                         preparation of title commitment for single-family home portfolio (.5)
November     Asset                  11/17/20 AEP             390 prepare correspondence to receivership brokers associated with single- family home                        0.2       0.004        $1.56
2020         Disposition                                         portfolio regarding preparation for marketing effort (.2).
November     Asset                  11/18/20 AEP             390 teleconference with K. Duff and J. Rak regarding final preparation for initiation of marketing            0.4       0.008        $3.12
2020         Disposition                                         of single-family home portfolio (.4)
November     Asset                  11/18/20 AEP             390 prepare e-mail to title underwriter enclosing and explaining spreadsheets containing                      0.2       0.004        $1.56
2020         Disposition                                         information pertaining to single-family home portfolio (.2)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
November     Asset                  11/18/20 AEP             390 Teleconference for title company underwriter regarding issues associated with preparation               0.3       0.006        $2.34
2020         Disposition                                         of title commitments for single-family home portfolio (.3)
November     Asset                  11/18/20 JR              140 call with K. Duff and A. Porter relating to status of single family home portfolio and plan of          0.5         0.01       $1.40
2020         Disposition                                         action (.5)
November     Asset                  11/18/20 JR              140 request updated due diligence documents from property management for single family                      0.1       0.002        $0.28
2020         Disposition                                         homes (.1)
November     Asset                  11/18/20 JRW             260 Exchange correspondence with A. Porter regarding status of marketing of properties (single-             0.1       0.002        $0.52
2020         Disposition                                         family portfolio) (.1)
November     Asset                  11/19/20 JR              140 review uploaded documents regarding same and further exchange correspondence with                       0.3       0.006        $0.84
2020         Disposition                                         property management relating to missing items (.3)
November     Asset                  11/19/20 JR              140 Review email from property management regarding single family home due diligence                        0.1       0.002        $0.28
2020         Disposition                                         documents (.1)
November     Asset                  11/19/20 JR              140 review income and loss statements received from the property manager and update                         1.1       0.022        $3.08
2020         Disposition                                         electronic files related to single family homes (1.1)
November     Asset                  11/20/20 AEP             390 teleconference with K. Duff and receivership brokers regarding discrepancies in values of               0.2       0.004        $1.56
2020         Disposition                                         single-family homes as between receivership broker and special servicer for institutional
                                                                 lender (.2)
November     Asset                  11/20/20 AEP             390 teleconference with K. Duff, receivership brokers, and counsel for institutional lenders                0.6       0.012        $4.68
2020         Disposition                                         regarding pricing considerations, timing of commencement of marketing, and allocation
                                                                 issues associated with single-family home portfolio (.6).
November     Asset                  11/20/20 JR              140 exchange correspondence with property management requesting missing utility statements                  0.1       0.002        $0.28
2020         Disposition                                         regarding single family homes (.1).
November     Asset                  11/20/20 JR              140 review updated utility statements requested from property management and update                         1.3       0.026        $3.64
2020         Disposition                                         electronic files in preparation for marketing of single family homes (1.3)
November     Asset                  11/20/20 JR              140 Review requested due diligence reports and update electronic files for single family portfolio          0.3       0.006        $0.84
2020         Disposition                                         from property management (.3)
November     Asset                  11/20/20 MR              390 Attention to bidding procedures on single family homes and follow up (.5)                               0.5         0.01       $3.90
2020         Disposition
November     Asset                  11/23/20 JR              140 exchange correspondence with property management and request additional property                        0.2       0.004        $0.56
2020         Disposition                                         reports for single family homes (.2)
November     Asset                  11/23/20 JR              140 Review income and loss statements received from property management related to single                   0.4       0.008        $1.12
2020         Disposition                                         family homes and update electronic files (.4)
November     Asset                  11/24/20 AEP             390 review all attorney examiner worksheets received from title insurer in connection with                  0.4       0.008        $3.12
2020         Disposition                                         conveyance of single-family home portfolio, update portfolio spreadsheet, and inventory
                                                                 missing worksheets (.4).
November     Asset                  11/24/20 JR              140 further correspondence with property management requesting same for single family homes                 0.1       0.002        $0.28
2020         Disposition                                         (.1)
November     Asset                  11/24/20 JR              140 review due diligence documents requested from property management for single family                     0.4       0.008        $1.12
2020         Disposition                                         homes (.4)
November     Asset                  11/25/20 AEP             390 review proposed renewed brokerage agreement relating to prospective sale of single-family               0.3       0.006        $2.34
2020         Disposition                                         home portfolio and prepare e-mail to broker requesting additional changes and explanation
                                                                 for certain deletions (.3).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November     Asset                  11/25/20 JR              140 Review single family home portfolio and due diligence documents and update rent roll                 3.2       0.064       $8.96
2020         Disposition                                         related to updated utility statements, leases and security deposit information.

November     Asset                  11/29/20 AEP             390 review all due diligence folders for properties in single-family home portfolio, remove              0.6       0.012       $4.68
2020         Disposition                                         unnecessary documents, and create final checklist of property-specific issues (.6).

November     Asset                  11/29/20 AEP             390 Begin preparation of purchase and sale agreement for single-family home portfolio (2.2)              2.2       0.044      $17.16
2020         Disposition
November     Asset                  11/30/20 JR              140 Review email from A. Porter regarding single family home due diligence documents and                 0.1       0.002       $0.28
2020         Disposition                                         respond accordingly (.1)
November     Asset                  11/30/20 JR              140 review due diligence documents for single family home (.6)                                           0.6       0.012       $1.68
2020         Disposition
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                               0.2 0.0033898         $1.32
2020         Operations
November     Business               11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)              0.3 0.0050847         $1.98
2020         Operations
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                          property reports (.3)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/11/20 KMP             140 Prepare form for transfer of funds for payment of insurance premium funding and                      0.4 0.0074074         $1.04
2020         Operations                                          communicate with K. Duff and bank representative regarding same (.4)
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/12/20 KMP             140 Follow up on transfer of funds for payment of insurance premium funding and communicate              0.2 0.0037037         $0.52
2020         Operations                                          with K. Duff and bank representative regarding same.
November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)             1.2 0.0193548         $2.71
2020         Operations


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                       0.5 0.0047619         $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                     0.3 0.0028571         $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
November     Business               11/25/20 KMP             140 Prepare request form for transfer of funds to financing company for insurance premium                     0.4 0.0074074         $1.04
2020         Operations                                          installment payment, and communicate with bank representatives and K. Duff regarding
                                                                 same.
December     Asset                  12/04/20 KBD             390 telephone conference with real estate broker regarding various remaining properties and                   0.3       0.006       $2.34
2020         Disposition                                         related sales issues (.3).
December     Asset                  12/29/20 KBD             390 Exchange correspondence regarding publication of notice for sale of single family residence               0.2       0.004       $1.56
2020         Disposition                                         portfolio (.2)
December     Claims                 12/09/20 KBD             390 study information regarding claims against properties in single family residence portfolio (.2).          0.2       0.004       $1.56
2020         Administration
             & Objections

December     Asset                  12/04/20 JR              140 review previously requested rent rolls, leases, subsidy contracts and delinquency reports for             4.6 0.1243243        $17.41
2020         Disposition                                         single family homes, update master rent roll and request additional missing items from
                                                                 property management (1414 East 62nd Place, 1418 East 62nd Place, 1017 W 102nd Street,
                                                                 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                 Avenue) (4.6).

December     Asset                  12/04/20 JR              140 Review previously delivered delinquency report and exchange correspondence with property                  0.3       0.006       $0.84
2020         Disposition                                         management requesting current delinquency report for single family home portfolio (.3)

December     Asset                  12/07/20 JR              140 review leases for security deposit information related to single family homes (1.3)                       1.3       0.026       $3.64
2020         Disposition
December     Asset                  12/07/20 JR              140 review master rent roll for single family homes and exchange correspondence with A. Porter                0.3       0.006       $0.84
2020         Disposition                                         regarding same (.3)
December     Asset                  12/07/20 JR              140 review updated utility bills for single family homes and update electronic files regarding                1.2       0.024       $3.36
2020         Disposition                                         same (1.2).
December     Asset                  12/07/20 JR              140 exchange correspondence with property management requesting updates to due diligence                      0.1       0.002       $0.28
2020         Disposition                                         documents for single family homes (.1)
December     Asset                  12/07/20 JR              140 conference call with A. Porter related to single family portfolio status (.7)                             0.7       0.014       $1.96
2020         Disposition


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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
December     Asset                  12/08/20 AEP             390 continue editing, revising, and customizing purchase and sale contract for single-family home            1.0         0.02       $7.80
2020         Disposition                                         portfolio and review all litigation files to ascertain current status of all administrative and
                                                                 housing court proceedings (1.0).
December     Asset                  12/08/20 JR              140 review additional due diligence documents received from property management for single                   2.7       0.054        $7.56
2020         Disposition                                         family homes and update electronic files (2.7)
December     Asset                  12/08/20 JR              140 Review utility statements received from property management for single family homes and                  1.6       0.032        $4.48
2020         Disposition                                         update electronic files (1.6)
December     Asset                  12/08/20 JR              140 review email from brokerage firm regarding requested due diligence documents for single                  0.1       0.002        $0.28
2020         Disposition                                         family homes and respond accordingly (.1).
December     Asset                  12/08/20 JR              140 exchange correspondence with property management regarding same (.1)                                     0.1       0.002        $0.28
2020         Disposition
December     Asset                  12/08/20 JR              140 review and analyze ledgers for single family homes against rent roll and confirm rental                  1.7       0.034        $4.76
2020         Disposition                                         income consistency in preparation for marketing and providing documents to potential
                                                                 buyers (1.7)
December     Asset                  12/08/20 JRW             260 Email exchange regarding placement of publication notice for single family portfolio.                    0.2       0.004        $1.04
2020         Disposition
December     Asset                  12/09/20 AEP             390 review proof of notice of public sale in connection with advertisement of single-family home             0.1       0.002        $0.78
2020         Disposition                                         portfolio (.1)
December     Asset                  12/09/20 AEP             390 read e-mail from J. Wine regarding claims submitted against properties in single-family home             0.2       0.004        $1.56
2020         Disposition                                         portfolio and update portfolio spreadsheet accordingly (.2).
December     Asset                  12/09/20 AEP             390 Teleconference with J. Rak regarding discrepancies between monthly utility bills and                     0.3       0.006        $2.34
2020         Disposition                                         operating expenses and possible strategies for fixing issues prior to producing due diligence
                                                                 documents associated with sale of single-family homes (.3)

December     Asset                  12/09/20 JR              140 review updated income and profit statements, compare and analyze expenses with updated                   6.3       0.126       $17.64
2020         Disposition                                         utility statements provided by property management for single family portfolio in
                                                                 preparation for production to potential buyer (6.3)
December     Asset                  12/09/20 JR              140 Review emails from property management and update master rent roll with requested                        0.3       0.006        $0.84
2020         Disposition                                         property information for single family homes (.3)
December     Asset                  12/09/20 JR              140 exchange correspondence with A. Porter regarding same (.3).                                              0.3       0.006        $0.84
2020         Disposition
December     Asset                  12/10/20 AEP             390 review all tenant ledgers and other documents added to due diligence folder for single-                  0.8       0.016        $6.24
2020         Disposition                                         family homes, reorganize certain file structures and review and approve final rent roll (.8)

December     Asset                  12/10/20 AEP             390 prepare response to broker of single-family homes regarding finalization of due diligence                0.1       0.002        $0.78
2020         Disposition                                         materials and status of rent roll (.1)
December     Asset                  12/10/20 JR              140 final review of single family homes master rent roll regarding same and make final updates               1.6       0.032        $4.48
2020         Disposition                                         to electronic files (1.6)
December     Asset                  12/10/20 JR              140 Finalize review of the income and profit statements and analyze information in electronic                1.7       0.034        $4.76
2020         Disposition                                         files in preparation for production to single family homes potential buyers (1.7)

December     Asset                  12/10/20 JR              140 exchange correspondence with property management team requesting missing property                        0.3       0.006        $0.84
2020         Disposition                                         utility statements for single family homes to resolve discrepancies (.3)


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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
December     Asset                  12/10/20 JR              140 exchange correspondence with brokerage firm and inquire about uploading requested single               0.1       0.002        $0.28
2020         Disposition                                         family homes information pertaining to same (.1)
December     Asset                  12/10/20 JR              140 exchange correspondence with A. Porter regarding same (single family homes) (.3)                       0.3       0.006        $0.84
2020         Disposition
December     Asset                  12/10/20 JR              140 organize all due diligence documents including leases in preparation for production to                 1.3       0.026        $3.64
2020         Disposition                                         brokerage firm related to single family homes (1.3)
December     Asset                  12/11/20 AEP             390 Teleconference with J. Rak regarding remaining discrepancies in single-family home due                 0.1       0.002        $0.78
2020         Disposition                                         diligence materials (.1)
December     Asset                  12/15/20 AEP             390 finalize first draft of purchase and sale agreement for single-family homes and transmit same          0.6       0.012        $4.68
2020         Disposition                                         to K. Duff and receivership broker for review and comment (.6)
December     Asset                  12/15/20 JR              140 review additional master rent roll and update sale related to single family homes (.5)                 0.5         0.01       $1.40
2020         Disposition
December     Asset                  12/15/20 JR              140 Review emails from property management regarding requested property reports and update                 0.4       0.008        $1.12
2020         Disposition                                         electronic files related to single family home portfolio (.4)
December     Asset                  12/17/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              8.3       0.166       $64.74
2020         Disposition                                         properties owned by corporate entity.
December     Asset                  12/18/20 AEP             390 Teleconference with J. Rak regarding preparation for sales of single-family home portfolio             1.0         0.02       $7.80
2020         Disposition                                         and all issues associated with deed preparation, applications for transfer stamps, and value
                                                                 allocations on title commitments (1.0)
December     Asset                  12/18/20 JR              140 exchange correspondence with accounting firm about completion of various 1099 forms                    0.3       0.006        $0.84
2020         Disposition                                         related to the single family homes for different entities (.3)
December     Asset                  12/18/20 JR              140 Exchange correspondence with broker regarding allocation values of the single family homes             0.2       0.004        $0.56
2020         Disposition                                         (.2)
December     Asset                  12/18/20 JR              140 draft water applications for single family homes (4.1)                                                 4.1       0.082       $11.48
2020         Disposition
December     Asset                  12/19/20 AEP             390 prepare title examiner's worksheets relating to single family residence portfolio for all              3.6       0.072       $28.08
2020         Disposition                                         properties owned by certain corporate entities (3.6).
December     Asset                  12/21/20 AEP             390 Teleconference with title company regarding numerous issues associated with preparation                0.3       0.006        $2.34
2020         Disposition                                         of title commitment for single-family home portfolio (.3)
December     Asset                  12/21/20 JR              140 review email from the title company and provide requested information regarding closing                0.1       0.002        $0.28
2020         Disposition                                         documents related to all single family homes (.1)
December     Asset                  12/21/20 JR              140 begin drafting closing checklist for single family homes in preparation for closing (.8)               0.8       0.016        $2.24
2020         Disposition
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.                 0.2 0.0019048          $0.74
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                   0.4 0.0044944          $1.75
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                       0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and             2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
December     Business               12/09/20 KMP         140 Prepare request for funds transfer to financing company for payment of insurance premium               0.4 0.0075472         $1.06
2020         Operations                                      financing and communications with K. Duff and bank representatives regarding same (.4)

December     Business               12/10/20 ED          390 continue review of June property accounting reports (1.2)                                              1.2 0.0114286         $4.46
2020         Operations
December     Business               12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from              2.6 0.0247619         $9.66
2020         Operations                                      property managers (2.6).
December     Business               12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                  0.1 0.0009524         $0.37
2020         Operations                                      preparation of September property accounting reports (.1)
December     Business               12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                     1.5 0.0142857         $5.57
2020         Operations
December     Business               12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                  1.2 0.0114286         $4.46
2020         Operations                                      accounting reports (.7), and review of related reporting and financial records (.5)

December     Business               12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to            0.9 0.0085714         $3.34
2020         Operations                                      properties (.9).
December     Business               12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and              0.4 0.0038095         $1.49
2020         Operations                                      changes (.4)
December     Business               12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                  0.2 0.0019048         $0.74
2020         Operations
December     Business               12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance              0.2 0.0037736         $0.53
2020         Operations                                      premium financing and communicate with K. Duff regarding same (.2)
December     Business               12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance               0.2 0.0037736         $0.53
2020         Operations                                      premium financing and communicate with K. Duff and bank representatives regarding same
                                                             (.2)
December     Business               12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                 0.4 0.0038095         $1.49
2020         Operations                                      of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December     Business               12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                       0.2 0.0019048         $0.74
2020         Operations                                      premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
December     Claims                 12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                         0.2 0.0022472         $0.58
2020         Administration
             & Objections

December     Claims                 12/09/20 JRW         260 study investor claims against single family residence properties and related analysis to K.            0.6       0.012       $3.12
2020         Administration                                  Duff and A. Porter (.6).
             & Objections

January      Asset                  01/06/21 KBD         390 draft correspondence to A. Porter regarding sale of single family residence portfolio (single          0.1       0.002       $0.78
2021         Disposition                                     family) (.1).
January      Asset                  01/13/21 KBD         390 exchange correspondence with real estate broker and A. Porter regarding single family                  0.4       0.008       $3.12
2021         Disposition                                     portfolio questions (single family) (.4).


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  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
January      Asset                  01/14/21 KBD         390 Exchange correspondence with real estate broker regarding information about offers and                   0.2       0.004       $1.56
2021         Disposition                                     planning for review (single family) (.2)
January      Asset                  01/15/21 KBD         390 Exchange correspondence with real estate broker regarding due diligence information for                  0.2       0.004       $1.56
2021         Disposition                                     single family residence portfolio (single family) and exchange correspondence with J. Rak
                                                             regarding same (.2)
January      Asset                  01/15/21 KBD         390 study correspondence regarding offers for single family residence portfolios (single family)             0.2       0.004       $1.56
2021         Disposition                                     (.2).
January      Asset                  01/18/21 KBD         390 Confer with real estate broker and counsel regarding offers on sale of single family residence           0.9       0.018       $7.02
2021         Disposition                                     portfolio (single family) (.9)
January      Asset                  01/18/21 KBD         390 study offers and summary (single family) (.4)                                                            0.4       0.008       $3.12
2021         Disposition
January      Asset                  01/20/21 KBD         390 attention to offers for single family residence portfolio (single family) (.1).                          0.1       0.002       $0.78
2021         Disposition
January      Asset                  01/21/21 KBD         390 telephone conference with lenders' counsel, real estate broker, M. Rachlis, and A. Porter                0.4       0.008       $3.12
2021         Disposition                                     regarding sale process, offers, and related issues (single family) (.4)
January      Asset                  01/21/21 KBD         390 follow up call regarding sale of single family residence properties with M. Rachlis, A. Porter,          0.4       0.008       $3.12
2021         Disposition                                     and asset manager (single family) (.4)
January      Asset                  01/21/21 KBD         390 telephone conference and exchange correspondence with real estate broker regarding sale                  0.2       0.004       $1.56
2021         Disposition                                     process and offers (single family) (.2)
January      Asset                  01/21/21 KBD         390 Telephone conference with real estate broker and counsel regarding sale of single family                 0.6       0.012       $4.68
2021         Disposition                                     residence properties (single family) (.6)
January      Asset                  01/21/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale process issues and                  0.1       0.002       $0.78
2021         Disposition                                     offers (single family) (.1)
January      Asset                  01/22/21 KBD         390 Telephone conference with real estate broker regarding negotiation with potential buyer                  0.2       0.004       $1.56
2021         Disposition                                     (single family) (.2)
January      Asset                  01/22/21 KBD         390 telephone conference with and draft correspondence to claimant's counsel regarding offers                0.1       0.002       $0.78
2021         Disposition                                     and negotiations (single family) (.1)
January      Asset                  01/22/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale negotiations (single                0.2       0.004       $1.56
2021         Disposition                                     family) (.2).
January      Asset                  01/25/21 KBD         390 Exchange correspondence with real estate broker regarding communication with lender's                    0.2       0.004       $1.56
2021         Disposition                                     counsel and change of potential buyer's interests (single family).
January      Asset                  01/27/21 KBD         390 Exchange correspondence regarding sale of single family portfolio (single family) and                    0.2       0.004       $1.56
2021         Disposition                                     revisions to contract.
January      Asset                  01/29/21 KBD         390 exchange correspondence with broker regarding inspections (single family) (.1)                           0.1       0.002       $0.78
2021         Disposition
January      Asset                  01/29/21 KBD         390 exchange correspondence with A. Porter regarding communication from buyer relating to                    0.2       0.004       $1.56
2021         Disposition                                     sale and inspection (single family) (.2)
January      Asset                  01/29/21 KBD         390 Review and execute sales agreement for single family residence portfolio (single family) (.2)            0.2       0.004       $1.56
2021         Disposition
January      Business               01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                         0.2 0.0019048         $0.74
2021         Operations
January      Business               01/11/21 KBD         390 study property manager financial reports (.4)                                                            0.4 0.0097561         $3.80
2021         Operations


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
January      Business               01/11/21 KBD             390 attention to payment of property and general liability insurance (.3).                                  0.3 0.0057692          $2.25
2021         Operations
January      Business               01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property                0.2 0.0019048          $0.74
2021         Operations                                          expenses.
January      Claims                 01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                      0.1 0.0009524          $0.37
2021         Administration                                      relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 AEP             390 prepare e-mails to property managers for single-family homes regarding abstention from                  0.1       0.002        $0.78
2021         Disposition                                         capital repairs absent consent of receiver (single family) (.1).
January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                 2.2 0.0203704          $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Asset                  01/06/21 AEP             390 update title company spreadsheet with value allocations for each property (single family) (.3)          0.3       0.006        $2.34
2021         Disposition
January      Asset                  01/06/21 JR              140 Review email from real estate associate requesting updated due diligence documents                      0.1       0.002        $0.28
2021         Disposition                                         related to marketing of single family homes (single family) (.1)
January      Asset                  01/06/21 JR              140 request same from property management regarding single family homes (single family) (.1).               0.1       0.002        $0.28
2021         Disposition
January      Asset                  01/07/21 JR              140 Review email from property management related to single family homes and review of due                  0.2       0.004        $0.56
2021         Disposition                                         diligence documents regarding same (single family).
January      Asset                  01/08/21 AEP             390 teleconference with title underwriter regarding single-family home title exceptions being               0.1       0.002        $0.78
2021         Disposition                                         waived on risk (single family) (.1).
January      Asset                  01/11/21 JR              140 exchange correspondence with brokerage firm advising of all requested due diligence                     0.1       0.002        $0.28
2021         Disposition                                         document updates related to single family homes (single family) (.1).
January      Asset                  01/11/21 JR              140 follow up communication with property management regarding updates to due diligence                     0.1       0.002        $0.28
2021         Disposition                                         documents related to single family homes (single family) (.1)
January      Asset                  01/11/21 JR              140 update electronic files for same (single family) (.4)                                                   0.4       0.008        $1.12
2021         Disposition
January      Asset                  01/11/21 JR              140 review due diligence documents for all single family homes, update electronic files and                 3.1       0.062        $8.68
2021         Disposition                                         update master rent roll and property folders requested by broker (single family) (3.1)

January      Asset                  01/11/21 JR              140 exchange correspondence with property management requesting missing items (single                       0.2       0.004        $0.56
2021         Disposition                                         family) (.2)
January      Asset                  01/13/21 AEP             390 Teleconference with J. Rak regarding responses to inquiries from broker regarding single-               0.4       0.008        $3.12
2021         Disposition                                         family home portfolio (single family) (.4)
January      Asset                  01/13/21 AEP             390 reorganize all single-family home files into tranches consistent with deeds and title                   0.8       0.016        $6.24
2021         Disposition                                         commitments (single family) (.8).
January      Asset                  01/13/21 AEP             390 finalize purchase and sale contract for conveyance of single-family home portfolio and                  0.5         0.01       $3.90
2021         Disposition                                         transmit same to receivership broker (single family) (.5)
January      Asset                  01/13/21 JR              140 exchange correspondence with brokerage firm providing requested information related to                  0.6       0.012        $1.68
2021         Disposition                                         single family homes (single family) (.6)


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  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
January      Asset                  01/13/21 JR              140 Review email from brokerage firm related to requested items related to single family homes             0.3       0.006        $0.84
2021         Disposition                                         and respond accordingly (single family) (.3)
January      Asset                  01/13/21 JR              140 review property tax balances and update outstanding tax report related to all single family            2.1       0.042        $5.88
2021         Disposition                                         homes and remaining unsold multi-family homes (single family) (2.1).

January      Asset                  01/13/21 JR              140 telephone call with A. Porter regarding requested items related to the single family home              0.5         0.01       $1.40
2021         Disposition                                         portfolio (single family) (.5)
January      Asset                  01/13/21 JR              140 exchange correspondence with property management requesting due diligence items                        0.2       0.004        $0.56
2021         Disposition                                         related to single family homes (single family) (.2)
January      Asset                  01/15/21 JR              140 Review email from brokerage firm, confer with K. Duff and respond accordingly (single                  0.1       0.002        $0.28
2021         Disposition                                         family) (.1)
January      Asset                  01/18/21 MR              390 Review email regarding summary and issues for single family home sales (single family) (.2)            0.2       0.004        $1.56
2021         Disposition
January      Asset                  01/18/21 MR              390 meeting on single family home sale (single family) (.9).                                               0.9       0.018        $7.02
2021         Disposition
January      Asset                  01/21/21 AEP             390 Conference call with receivership brokers regarding results of "highest and best" bid                  0.5         0.01       $3.90
2021         Disposition                                         submissions in connection with single-family home portfolio, bases for potentially low offer
                                                                 prices, and strategy for proceeding (single family) (.5)
January      Asset                  01/21/21 AEP             390 conference call with receivership brokers, counsel for secured lenders, K. Duff, and M.                0.4       0.008        $3.12
2021         Disposition                                         Rachlis regarding outcome of marketing effort for single family homes and next steps in sales
                                                                 process (single family) (.4)
January      Asset                  01/21/21 AEP             390 teleconference with K. Duff, M. Rachlis, and real estate broker regarding single-family home           0.4       0.008        $3.12
2021         Disposition                                         marketing efforts (single family) (.4)
January      Asset                  01/21/21 AEP             390 review title commitments for all single-family homes and create list of encumbrances                   0.6       0.012        $4.68
2021         Disposition                                         potentially requiring hold harmless letters or other clearance (single family) (.6).

January      Asset                  01/21/21 JR              140 Telephone conference with K. Duff, M. Rachlis, A. Porter and brokerage firm regarding final            0.6       0.012        $1.68
2021         Disposition                                         and best offers from interested buyers related to single family homes (single family) (.6)

January      Asset                  01/21/21 MR              390 follow up conference with K. Duff and A. Porter regarding single family home issues (single            0.3       0.006        $2.34
2021         Disposition                                         family) (.3)
January      Asset                  01/21/21 MR              390 Attention to single family home issues with real estate broker (single family) (.6)                    0.6       0.012        $4.68
2021         Disposition
January      Asset                  01/21/21 MR              390 conference regarding process with claimant's counsel and regarding single family home                  0.4       0.008        $3.12
2021         Disposition                                         portfolio (single family) (.4)
January      Asset                  01/22/21 JR              140 draft water applications for the single-family homes (single family) (2.5)                             2.5         0.05       $7.00
2021         Disposition
January      Asset                  01/27/21 AEP             390 Review rider to purchase and sale agreement tendered by prospective purchaser of single-               0.4       0.008        $3.12
2021         Disposition                                         family homes and prepare e-mail to K. Duff regarding lack of corporate existence of signatory
                                                                 to agreement (single family) (.4)
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                   0.5 0.0047619          $1.86
2021         Operations




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  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                      0.3 0.0028571         $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                        0.1 0.0009524         $0.37
2021         Operations
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond               0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                    4.1 0.0390476         $5.47
2021         Operations
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October              0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                     1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                        2.4 0.0228571         $3.20
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                    0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/11/21 KMP             140 Prepare form for transfer of funds to financing company for insurance premium installment,          0.4 0.0076923         $1.08
2021         Operations                                          and communicate with bank representatives and K. Duff regarding same (.4)

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and             0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for              0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                0.4 0.0038095         $1.49
2021         Operations
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review               0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration            1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)




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1017 W 102nd Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021         Operations
January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Business               01/27/21 KMP             140 Prepare form for funds transfer to financing company for payment of insurance premium                0.4 0.0076923         $1.08
2021         Operations                                          installment and communicate with bank representative and K. Duff regarding same.

January      Business               01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance             0.4 0.0076923         $1.08
2021         Operations                                          premium financing, and forward to K. Duff.
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143         $0.80
2021         Administration                                      lenders.
             & Objections

February     Asset                  02/03/21 KBD             390 study correspondence from broker regarding communication with buyer regarding terms                  0.1       0.002       $0.78
2021         Disposition                                         (single family) (.1)
February     Asset                  02/03/21 KBD             390 exchange correspondence with J. Rak regarding accounts for single family properties (single          0.1       0.002       $0.78
2021         Disposition                                         family) (.1).




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
February     Asset                  02/04/21 KBD         390 Exchange correspondence with A. Porter regarding proposed rider to PSA (single family).                0.2       0.004        $1.56
2021         Disposition
February     Asset                  02/05/21 KBD         390 attention to negotiation with buyer of single family portfolio (single family) (.3).                   0.3       0.006        $2.34
2021         Disposition
February     Asset                  02/06/21 KBD         390 Study correspondence from A. Porter regarding negotiation with buyer of single family                  0.2       0.004        $1.56
2021         Disposition                                     portfolio (single family).
February     Asset                  02/08/21 KBD         390 Exchange correspondence regarding resolving due diligence issue with single family                     0.6       0.012        $4.68
2021         Disposition                                     residence portfolio sale and related conference with A. Porter and real estate broker (single
                                                             family) (.6)
February     Asset                  02/09/21 KBD         390 Telephone conference with A. Porter regarding single family residence portfolio negotiations           0.5         0.01       $3.90
2021         Disposition                                     with buyer and exchange additional correspondence (single family) (.5)

February     Asset                  02/10/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding revisions to                   0.3       0.006        $2.34
2021         Disposition                                     purchase and sale agreement and related communications with purchaser's counsel (single
                                                             family).
February     Asset                  02/12/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and broker regarding                   0.2       0.004        $1.56
2021         Disposition                                     negotiation with purchaser (single family) (.2)
February     Asset                  02/16/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.1       0.002        $0.78
2021         Disposition                                     agreement changes (single family) (.1)
February     Asset                  02/17/21 KBD         390 Exchange correspondence with A. Porter regarding execution of purchase and sale                        0.1       0.002        $0.78
2021         Disposition                                     agreement (single family) (.1)
February     Asset                  02/23/21 KBD         390 attention to joint order escrow instructions (single family) (.1).                                     0.1       0.002        $0.78
2021         Disposition
February     Asset                  02/23/21 KBD         390 Exchange correspondence regarding sale and inspections (single family) (.1)                            0.1       0.002        $0.78
2021         Disposition
February     Asset                  02/24/21 KBD         390 Attention to wire of earnest money and communications with purchaser and broker (single                0.2       0.004        $1.56
2021         Disposition                                     family).
February     Business               02/02/21 KBD         390 Exchange correspondence regarding real estate tax planning (.2)                                        0.2 0.0040816          $1.59
2021         Operations
February     Business               02/08/21 KBD         390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)                 0.2 0.0040816          $1.59
2021         Operations




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
February     Business               02/10/21 KBD         390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                 0.4 0.0093023         $3.63
2021         Operations                                      Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                             Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                             1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue) (.4).

February     Business               02/11/21 KBD         390 exchange correspondence with J. Wine regarding property manager financial reporting (.1).          0.1      0.0025       $0.98
2021         Operations
February     Business               02/15/21 KBD         390 exchange correspondence with J. Rak regarding property tax balances and study information          0.2 0.0040816         $1.59
2021         Operations                                      (.2)
February     Business               02/15/21 KBD         390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S               0.3 0.0069767         $2.72
2021         Operations                                      Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                             Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                             1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue) (.3).

February     Claims                 02/11/21 KBD         390 work on single claims process and timing (.3)                                                      0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                 02/12/21 KBD         390 work on single claims process and timing (.3)                                                      0.3 0.0107143         $4.18
2021         Administration
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
February     Claims                 02/12/21 KBD             390 confer with J. Wine and M. Rachlis regarding single claim process (.5).                                  0.5 0.0178571          $6.96
2021         Administration
             & Objections

February     Claims                 02/16/21 KBD             390 exchange correspondence with J. Wine regarding process for single claim properties and                   0.2 0.0071429          $2.79
2021         Administration                                      study compiled information (.2).
             & Objections

February     Claims                 02/16/21 KBD             390 Exchange correspondence with lenders' counsel regarding real estate taxes (4611-17 S Drexel              0.2       0.001        $0.39
2021         Administration                                      Boulevard, 7255-57 S Euclid Avenue, 638-40 N Avers Avenue, single family) (.2)
             & Objections

February     Asset                  02/02/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3       0.006        $2.34
2021         Disposition                                         negotiation of inspection contingency in language of purchase and sale agreement (single
                                                                 family) (.3).
February     Asset                  02/02/21 AEP             390 Conference with J. Rak regarding all outstanding items associated with all properties                    2.1       0.042       $16.38
2021         Disposition                                         currently subject to motions to confirm and strategy for preparation of closing documents
                                                                 associated with prospective conveyance of single-family home portfolio (single family) (2.1)

February     Asset                  02/02/21 JR              140 Discuss single family home production of document status and draft same (single family).                 2.5         0.05       $7.00
2021         Disposition
February     Asset                  02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for                 0.2      0.0008        $0.11
2021         Disposition                                         net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                 Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February     Asset                  02/04/21 AEP             390 Read proposed rider submitted by prospective purchaser of single-family home portfolio,                  0.4       0.008        $3.12
2021         Disposition                                         edit and revise same, and transmit to broker with explanation for refusal to make certain
                                                                 changes (single family).
February     Asset                  02/04/21 MR              390 attention to single family home issues (single family) (.2).                                             0.2       0.004        $1.56
2021         Disposition
February     Asset                  02/05/21 AEP             390 Teleconference with receivership broker regarding remaining disputed issues pertaining to                0.2       0.004        $1.56
2021         Disposition                                         buyer inspection contingency rights in single-family home purchase and sale contract (single
                                                                 family).
February     Asset                  02/06/21 AEP             390 Read and respond to e-mail from counsel for secured lenders regarding status of negotiation              0.1       0.002        $0.78
2021         Disposition                                         of purchase and sale contract associated with conveyance of single-family home portfolio
                                                                 (single family) (.1)
February     Asset                  02/06/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3       0.006        $2.34
2021         Disposition                                         potential modifications to contract pertaining to inspection contingency rights (single family)
                                                                 (.3).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February     Asset                  02/08/21 AEP             390 conference call with counsel for prospective purchaser of single-family home portfolio                  0.9       0.018       $7.02
2021         Disposition                                         regarding potential resolution of impasse over due diligence language in form purchase and
                                                                 sale agreement (single family) (.6) and preparation of e-mail to receiver and receivership
                                                                 brokers describing impasse and soliciting input on potential solutions (single family) (.3)

February     Asset                  02/09/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                   0.1       0.002       $0.78
2021         Disposition                                         regarding agreed changes to inspection contingency provision of purchase and sale contract
                                                                 (single family) (.1)
February     Asset                  02/09/21 AEP             390 teleconference with K. Duff regarding status of negotiations over purchase and sale of single-          0.2       0.004       $1.56
2021         Disposition                                         family homes (single family) (.2).
February     Asset                  02/10/21 AEP             390 Prepare e-mail to receivership broker responding to inquiry regarding status of negotiation             0.2       0.004       $1.56
2021         Disposition                                         of purchase and sale agreement associated with single-family home portfolio (single family)
                                                                 (.2)
February     Asset                  02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                       0.2 0.0041667         $0.58
2021         Disposition
February     Asset                  02/12/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                   0.3       0.006       $2.34
2021         Disposition                                         regarding purchaser's counteroffer relating to inspection contingency language and convey
                                                                 summary of deal status to K. Duff and receivership broker (single family) (.3)

February     Asset                  02/12/21 AEP             390 teleconference with K. Duff and receivership broker regarding relative merits of counteroffer           0.2       0.004       $1.56
2021         Disposition                                         received from prospective purchaser of single family homes (single family) (.2)

February     Asset                  02/12/21 AEP             390 revise proposed purchase and sale agreement pertaining to single-family home portfolio and              0.2       0.004       $1.56
2021         Disposition                                         transmit same to counsel for prospective purchaser (single family) (.2).

February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                 0.4 0.0036697         $0.51
2021         Disposition                                         and status of same (.4)
February     Asset                  02/12/21 JR              140 review current property tax information and payment availability from property                          0.2 0.0040816         $0.57
2021         Disposition                                         management and provide same to K. Duff (.2)
February     Asset                  02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                  0.2 0.0041667         $0.58
2021         Disposition                                         property taxes (.2)
February     Asset                  02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                          0.2 0.0040816         $0.57
2021         Disposition                                         payment plan arrangement for same (.2).
February     Asset                  02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                                0.3 0.0061224         $0.86
2021         Disposition
February     Asset                  02/17/21 AEP             390 Review proposed modified purchase and sale contract submitted by prospective purchaser                  0.2       0.004       $1.56
2021         Disposition                                         of single-family home portfolio and approve execution of same by receiver (single family) (.2)

February     Asset                  02/19/21 JR              140 draft zoning applications for single family home portfolio (single family) (3.1).                       3.1       0.062       $8.68
2021         Disposition
February     Asset                  02/19/21 JR              140 update water applications for single family home portfolio with legal descriptions (single              1.2       0.024       $3.36
2021         Disposition                                         family) (1.2)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
February     Asset                  02/23/21 AEP             390 Teleconference with title insurance company escrow officer regarding form of SJO                     0.2       0.004        $1.56
2021         Disposition                                         instructions associated with single-family home portfolio (single family) (.2)
February     Asset                  02/23/21 AEP             390 prepare SJO instructions associated with single-family home portfolio and circulate for              0.1       0.002        $0.78
2021         Disposition                                         signatures (single family) (.1)
February     Asset                  02/25/21 JR              140 review single family home purchase and sale contract and update closing documents with               1.6       0.032        $4.48
2021         Disposition                                         buyer information (single family) (1.6).
February     Business               02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                          0.4 0.0081633          $1.14
2021         Operations                                          management requesting availability of same for payments of outstanding property taxes.

February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048          $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762          $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762          $4.09
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048          $0.27
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857          $4.80
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571          $0.40
2021         Operations                                          reporting.
February     Business               02/26/21 KMP             140 Prepare form for funds transfer to finance company for property insurance installment                0.3 0.0057692          $0.81
2021         Operations                                          payment, and communicate with K. Duff and bank representatives regarding same.

February     Claims                 02/12/21 JRW             260 conference with K. Duff and M. Rachlis regarding claims review project, claims distribution          1.5 0.0535714         $13.93
2021         Administration                                      project, and process for single-claim properties (1.5)
             & Objections

February     Claims                 02/16/21 JRW             260 perform analysis of properties with single claim and related correspondence to team (1.9).           1.9 0.0678571         $17.64
2021         Administration
             & Objections

March 2021 Asset                    03/01/21 KBD             390 attention to purchaser inspection of properties and exchange correspondence with real                0.3       0.006        $2.34
           Disposition                                           estate broker regarding efforts to complete sale (single family) (.3).
March 2021 Asset                    03/15/21 KBD             390 Draft correspondence to A. Porter regarding efforts to complete sale of properties (single           0.1       0.002        $0.78
           Disposition                                           family).
March 2021 Asset                    03/17/21 KBD             390 Exchange correspondence with A. Porter regarding purchase and sale agreement                         0.1       0.002        $0.78
           Disposition                                           amendment (single family) (.1)
March 2021 Asset                    03/22/21 KBD             390 Exchange correspondence with A. Porter regarding second amendment to purchase and sale               0.1       0.002        $0.78
           Disposition                                           agreement (single family).
March 2021 Asset                    03/26/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding buyer                        0.5         0.01       $3.90
           Disposition                                           communication relating to conditions of single family residence (single family).




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2021 Asset                    03/29/21 KBD         390 Telephone conference with A. Porter regarding buyer request for credit (single family) (.2)            0.2       0.004        $1.56
           Disposition
March 2021 Asset                    03/29/21 KBD         390 follow up call with real estate broker and A. Porter regarding buyer's request for credit and          1.3       0.026       $10.14
           Disposition                                       available options (single family) (1.3)
March 2021 Asset                    03/29/21 KBD         390 confer with real estate broker and A. Porter regarding buyer's request for credit and                  0.5         0.01       $3.90
           Disposition                                       available options (single family) (.5)
March 2021 Asset                    03/29/21 KBD         390 telephone conference with A. Porter regarding buyer's request for credit and available                 0.2       0.004        $1.56
           Disposition                                       options (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 confer with lender's counsel and A. Porter regarding negotiation over buyer's request for              0.2       0.004        $1.56
           Disposition                                       credit and broker's commission (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 Confer on multiple calls with real estate broker and A. Porter regarding negotiation over              0.7       0.014        $5.46
           Disposition                                       buyer's request for credit and broker's commission (single family) (.7)

March 2021 Asset                    03/30/21 KBD         390 further confer with real estate broker regarding negotiation over buyer's request for credit           0.2       0.004        $1.56
           Disposition                                       and broker's commission and planning for closing (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 review amendments to sale agreement and commission agreement (single family) and                       0.2       0.004        $1.56
           Disposition                                       related communication with A. Porter (single family) (.2)
March 2021 Asset                    03/31/21 KBD         390 exchange correspondence with A. Porter regarding allocations for single family portfolio               0.2       0.004        $1.56
           Disposition                                       properties (single family) (.2).
March 2021 Asset                    03/31/21 KBD         390 exchange correspondence with A. Porter regarding second amendment to PSA and closing                   0.2       0.004        $1.56
           Disposition                                       for sale of properties (single family) (.2)
March 2021 Business                 03/02/21 KBD         390 attention to property inspections (single family) (.1).                                                0.1       0.002        $0.78
           Operations
March 2021 Business                 03/11/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.4         0.01       $3.90
           Operations                                        W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                             Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                             S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                             Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.4)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Business                 03/15/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.5      0.0125       $4.88
           Operations                                        W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                             Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                             S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                             Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.5)


March 2021 Business                 03/16/21 KBD         390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816         $1.59
           Operations
March 2021 Business                 03/22/21 KBD         390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224         $2.39
           Operations                                        remaining properties.
March 2021 Business                 03/30/21 KBD         390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816         $1.59
           Operations
March 2021 Claims                   03/01/21 KBD         390 work on single claim process and exchange correspondence with J. Wine regarding process                0.3 0.0107143         $4.18
           Administration                                    issues (.3).
           & Objections

March 2021 Claims                   03/03/21 KBD         390 work on single claim process and study correspondence from J. Wine regarding process                   0.2 0.0071429         $2.79
           Administration                                    issues (.2)
           & Objections

March 2021 Claims                   03/11/21 KBD         390 study proposed process for single claim properties (.3)                                                0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                   03/11/21 KBD         390 confer and exchange correspondence with M. Rachlis and J. Wine regarding single claim                  1.2 0.0428571        $16.71
           Administration                                    properties single claim properties (1.2).
           & Objections

March 2021 Claims                   03/12/21 KBD         390 exchange correspondence regarding single claims process (.1).                                          0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Claims                   03/12/21 KBD         390 confer with J. Wine and A. Porter regarding potential single claim properties and related              0.8 0.0285714        $11.14
           Administration                                    issues (.8)
           & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
March 2021 Claims                   03/14/21 KBD             390 Analysis of single claim process (.3)                                                                  0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                   03/15/21 KBD             390 telephone conference with claimant's counsel and J. Wine regarding single claim properties             0.5 0.0178571         $6.96
           Administration                                        and process (.5)
           & Objections

March 2021 Claims                   03/19/21 KBD             390 Prepare for and participate in telephone conference with claimants counsel and J. Wine                 0.8       0.016       $6.24
           Administration                                        regarding single claim process and potential third path to claims resolution for certain
           & Objections                                          properties, sale of single family portfolio, and potential alternatives for claims resolution
                                                                 (single family) (.8)
March 2021 Claims                   03/31/21 KBD             390 study correspondence from claimant's counsel regarding potential properties for single claim           0.2 0.0071429         $2.79
           Administration                                        process (.2)
           & Objections

March 2021 Claims                   03/31/21 KBD             390 study correspondence from J. Wine regarding single claim process (.1)                                  0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Asset                    03/01/21 AEP             390 Communications with buyer's counsel, lender's counsel, management companies, and                       0.4       0.008       $3.12
           Disposition                                           brokers regarding prospective purchase and sale of single-family home portfolio regarding
                                                                 property inspection process (single family) (.4)
March 2021 Asset                    03/01/21 AEP             390 teleconference with title company underwriters regarding status of transaction, status of              0.3       0.006       $2.34
           Disposition                                           review of remaining exceptions to title, and potential closing date (single family) (.3).

March 2021 Asset                    03/17/21 AEP             390 Review and revise proposed amendment to purchase and sale contract pertaining to single-               0.2       0.004       $1.56
           Disposition                                           family home portfolio and forward same to K. Duff for execution (single family).

March 2021 Asset                    03/23/21 JR              140 exchange correspondence with A. Porter regarding discrepancies found on the title                      0.2 0.0142857         $2.00
           Disposition                                           commitment and missing legal descriptions regarding same (1017 W 102nd Street, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                                 Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                 S Parnell Avenue) (.2).
March 2021 Asset                    03/23/21 JR              140 Review title commitments and legal descriptions for various parcels and draft closing                  1.8 0.1285714        $18.00
           Disposition                                           documents for single family homes related to EB South Chicago 1 LLC (1017 W 102nd Street,
                                                                 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue) (1.8)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
March 2021 Asset                    03/24/21 AEP             390 Conference call with N. Gastevich and J. Rak regarding status of preparation of closing                 0.2       0.004        $1.56
           Disposition                                           documents associated with properties in tenth and eleventh motions to confirm sales, as
                                                                 well as single-family home portfolio (single family).
March 2021 Asset                    03/24/21 JR              140 Draft closing documents for single family homes (single family).                                        6.6       0.132       $18.48
           Disposition
March 2021 Asset                    03/29/21 AEP             390 teleconference with receivership brokers regarding strategy for responding to single-family             0.5         0.01       $3.90
           Disposition                                           home offer received from prospective purchaser (single family) (.5)
March 2021 Asset                    03/29/21 AEP             390 teleconference with receivership brokers to analyze credit requests and formulate strategy              1.3       0.026       $10.14
           Disposition                                           for responding to single- family home offer received (single family) (1.3).

March 2021 Asset                    03/29/21 AEP             390 Review letter from counsel for prospective purchaser of single-family home portfolio                    1.8       0.036       $14.04
           Disposition                                           requesting credits for alleged undisclosed latent defects, review all inspection reports
                                                                 associated with corresponding alleged defects, teleconference with K. Duff regarding
                                                                 potential response to purchaser, and teleconference with counsel for prospective purchaser
                                                                 regarding timing of response, timing of response to title commitment exception letter, and
                                                                 timing of motion to confirm and potential scheduling of closing (single family) (1.8)

March 2021 Asset                    03/29/21 AEP             390 teleconference with K. Duff regarding offer from prospective purchaser of single family                 0.2       0.004        $1.56
           Disposition                                           homes (single family) (.2)
March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding strategy for negotiating with            0.3       0.006        $2.34
           Disposition                                           prospective purchaser of single-family homes (single family) (.3)
March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding proposed offer of credit in              0.2       0.004        $1.56
           Disposition                                           connection with prospective sale of single-family homes (single family) (.2)

March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and counsel for secured lender regarding strategy for negotiating           0.2       0.004        $1.56
           Disposition                                           resolution of impasse with prospective purchaser of single-family homes (single family) (.2)

March 2021 Asset                    03/30/21 AEP             390 continued series of conference calls with receivership brokers, counsel for secured lender,             1.5         0.03      $11.70
           Disposition                                           and K. Duff regarding negotiation of resolution to purchase price credit demanded by
                                                                 prospective purchaser of single-family homes (single family) (1.5).

March 2021 Asset                    03/30/21 JR              140 Review amendments to purchase and sale contract related to properties (single family) (.1)              0.1       0.002        $0.28
           Disposition
March 2021 Asset                    03/30/21 JR              140 exchange correspondence with A. Porter requesting update to single family home purchase                 0.1       0.002        $0.28
           Disposition                                           and sale contract status relating to the inspection period (single family) (.1).

March 2021 Asset                    03/30/21 KMP             140 Revise correspondence relating to amendment of representation agreement for single family               0.3       0.006        $0.84
           Disposition                                           homes, and communicate with K. Duff and A. Porter regarding same (single family) (.3)

March 2021 Asset                    03/31/21 AEP             390 Begin preparation of thirteenth motion to confirm sale of single-family home portfolio (single          0.8       0.016        $6.24
           Disposition                                           family) (.8)
March 2021 Asset                    03/31/21 AEP             390 continue preparation of thirteenth motion to confirm sale of single-family home portfolio               0.7       0.014        $5.46
           Disposition                                           (single family) (.7)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
March 2021 Asset                    03/31/21 AEP             390 prepare e-mail to counsel for secured lenders on single-family home portfolio regarding                0.2       0.004        $1.56
           Disposition                                           need for allocation of sales proceeds among individual properties prior to filing motion to
                                                                 confirm (single family) (.2)
March 2021 Asset                    03/31/21 AEP             390 review proposed revisions to draft second amendment to purchase and sale agreement                     0.5         0.01       $3.90
           Disposition                                           relating to single-family home portfolio, communicate with K. Duff regarding same, prepare
                                                                 second draft of second amendment, and transmit same to purchaser's counsel and
                                                                 receivership brokers (single family) (.5)
March 2021 Asset                    03/31/21 AEP             390 prepare e-mail to receivership brokers regarding necessity of sworn declaration describing             0.2       0.004        $1.56
           Disposition                                           marketing process of single-family home portfolio, including specific facts needed to support
                                                                 motion to confirm sale (single family) (.2)
March 2021 Asset                    03/31/21 AEP             390 teleconference with J. Rak regarding imminent execution of single-family home portfolio                0.1       0.002        $0.78
           Disposition                                           purchase and sale agreement and preparation of closing documentation (single family) (.1)

March 2021 Asset                    03/31/21 AEP             390 e-mail communications with K. Duff regarding negotiation of allocations of sales proceeds              0.1       0.002        $0.78
           Disposition                                           among single-family home properties (single family) (.1)
March 2021 Asset                    03/31/21 JR              140 Exchange communication with A. Porter regarding property portfolio (single family) (.3)                0.3       0.006        $0.84
           Disposition
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                     0.3 0.0028571          $1.11
           Operations
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                            2.2 0.0209524          $8.17
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                  0.7 0.0066667          $2.60
           Operations
March 2021 Business                 03/11/21 KMP             140 Attention to communication with property manager regarding February 2021 financial                     0.1      0.0025        $0.35
           Operations                                            reporting (.1)
March 2021 Business                 03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                               0.1 0.0019231          $0.27
           Operations
March 2021 Business                 03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and               0.3 0.0057692          $0.81
           Operations                                            communications with K. Duff and bank representative regarding same (.3)

March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                   0.2 0.0019048          $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership                 1.8 0.0171429          $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).                0.1 0.0009524          $0.37
           Operations
March 2021 Claims                   03/01/21 JRW             260 confer with A. Porter regarding potential single claim properties (.1)                                 0.1 0.0035714          $0.93
           Administration
           & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours         Fees
March 2021 Claims                   03/01/21 JRW         260 review transcript of proceedings and correspondence with K. Duff and M. Rachlis regarding           0.5         0.01       $2.60
           Administration                                    process for addressing single-claim properties (single family) (.5)
           & Objections

March 2021 Claims                   03/01/21 MR          390 Attention to issues regarding claims process for handling single family claims, updates on          0.4       0.008        $3.12
           Administration                                    claims information, and materials to claims vendor.
           & Objections

March 2021 Claims                   03/02/21 JRW         260 exchange correspondence with claimant's counsel regarding single claim properties (.1)              0.1 0.0035714          $0.93
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW         260 update spreadsheet and related email exchange with A. Porter regarding potential single             0.6 0.0214286          $5.57
           Administration                                    claim properties (.6)
           & Objections

March 2021 Claims                   03/03/21 JRW         260 confer with K. Duff and M. Rachlis regarding single claims process (.1)                             0.1 0.0035714          $0.93
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW         260 conference call with claimants' counsel regarding process for single-claim properties (.5)          0.5 0.0178571          $4.64
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW         260 cursory review of proposal for single claims process and related correspondence to K. Duff          0.1 0.0035714          $0.93
           Administration                                    and M. Rachlis (.1)
           & Objections

March 2021 Claims                   03/11/21 MR          390 Participate in call regarding single claims issues (1.5)                                            1.5 0.0535714         $20.89
           Administration
           & Objections

March 2021 Claims                   03/11/21 MR          390 review material regarding same (.4).                                                                0.4 0.0142857          $5.57
           Administration
           & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Claims                   03/12/21 JRW         260 Conference with A. Porter, and K. Duff regarding single-claim properties and EBF mortgagees            1.6 0.0615385        $16.00
           Administration                                    (1.1), related correspondence with claimants' counsel (.1), and review records on Recorder
           & Objections                                      of Deeds site and related correspondence to K. Duff and A. Porter (.4) (1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                   03/12/21 JRW         260 correspond with K. Duff regarding claims against single family residence portfolio (single             0.1       0.002       $0.52
           Administration                                    family) (.1).
           & Objections

March 2021 Claims                   03/15/21 JRW         260 prepare for and telephone conference with claimant's counsel and K. Duff regarding process             0.7 0.0269231         $7.00
           Administration                                    for the resolution of claims against properties (.5), and related legal research (.2) (1017 W
           & Objections                                      102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                             11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                   03/19/21 JRW         260 telephone conference with claimants' counsel regarding process for single-claim properties             1.0 0.0384615        $10.00
           Administration                                    (.8) and related review of spreadsheets regarding EBF mortgagees (.2) (1017 W 102nd Street,
           & Objections                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2021 Claims                   03/23/21 JRW         260 research recorder of deeds site and claim submission regarding purported single claim                  2.5 0.0961538         $25.00
           Administration                                    properties identified by claimant and update spreadsheet regarding same (1017 W 102nd
           & Objections                                      Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                             7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                             11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (2.5)

March 2021 Claims                   03/31/21 JRW         260 study chart from claimants' counsel and related analysis to K. Duff (.4) and continue                  1.3         0.05      $13.00
           Administration                                    analyzing claims against properties (.9) (1017 W 102nd Street, 1516 E 85th Place, 2136 W
           & Objections                                      83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                             6759 S Indiana Avenue).

April 2021   Asset                  04/02/21 KBD         390 Study allocations of value, costs, and commission and various related correspondence (single           0.2       0.004        $1.56
             Disposition                                     family).
April 2021   Asset                  04/05/21 KBD         390 Work on motion to approve sale and exchange related correspondence (single family) and                 0.3       0.006        $2.34
             Disposition                                     exchange related correspondence with A. Porter.
April 2021   Asset                  04/06/21 KBD         390 study and revise motion to approve sale and exchange various related correspondence                    0.5         0.01       $3.90
             Disposition                                     (single family) (.5).
April 2021   Asset                  04/06/21 KBD         390 Exchange correspondence with A. Porter regarding closing costs and efforts to reduce (single           0.2       0.004        $1.56
             Disposition                                     family) (.2)
April 2021   Asset                  04/07/21 KBD         390 study draft motion to approve sale of single family residence portfolio (single family) (.2).          0.2       0.004        $1.56
             Disposition
April 2021   Asset                  04/07/21 KBD         390 Telephone conference with A. Porter regarding draft motion to approve sale of single family            0.2       0.004        $1.56
             Disposition                                     residence portfolio, communications with lender's counsel, property values, closing credits,
                                                             and allocations (single family) (.2)
April 2021   Asset                  04/08/21 KBD         390 Work on motion to approve sale of properties (single family).                                          0.2       0.004        $1.56
             Disposition
April 2021   Asset                  04/09/21 KBD         390 Exchange correspondence with A. Porter regarding revision to and filing of motion to                   0.2       0.004        $1.56
             Disposition                                     approve sale of properties (single family).
April 2021   Asset                  04/10/21 KBD         390 Exchange correspondence regarding filing and service of motion to approve sale of                      0.2       0.004        $1.56
             Disposition                                     properties (single family).
April 2021   Asset                  04/12/21 KBD         390 Exchange various correspondence regarding filing of motion to approve sale of properties               0.2       0.004        $1.56
             Disposition                                     (single family).
April 2021   Asset                  04/15/21 KBD         390 Exchange correspondence with J. Rak regarding property value allocation (single family).               0.2       0.004        $1.56
             Disposition


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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Asset                  04/26/21 KBD         390 exchange correspondence regarding single family residence motion and plans for entry of              0.2       0.004       $1.56
             Disposition                                     order (single family) (.2).
April 2021   Asset                  04/27/21 KBD         390 Work on single family residence motion and entry of order (single family) (.1)                       0.1       0.002       $0.78
             Disposition
April 2021   Business               04/06/21 KBD         390 Study correspondence from E. Duff regarding accounting reports for lender (single family).           0.2       0.004       $1.56
             Operations
April 2021   Business               04/13/21 KBD         390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                      7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                             Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                             1414-18 East 62nd Place) (.3)

April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding planning for and payment of real estate                0.3     0.00625       $2.44
             Operations                                      taxes and related communications with property manager (.3)
April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                      Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                             East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham) (.2)


April 2021   Business               04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                      property managers regarding to same (1.0)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                      7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business               04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-          0.3 0.0065217         $2.54
             Operations                                      06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Business               04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                      insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                             Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.8)


April 2021   Business               04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                      0.2 0.0044444         $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)).




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/29/21 KBD         390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                      J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                             85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                             Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                             S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                             W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                             2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                             1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                             East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)


April 2021   Business               04/30/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Claims                 04/05/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0052632         $2.05
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen
             & Objections                                    Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th
                                                             Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.1)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2021   Claims                 04/07/21 KBD         390 Confer with J. Wine regarding single claims properties and process (1017 W 102nd Street,              0.6 0.0315789         $12.32
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen
             & Objections                                    Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th
                                                             Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue).

April 2021   Claims                 04/08/21 KBD         390 study chart, spreadsheet, and mortgage record regarding single claim properties and process           0.3 0.0107143          $4.18
             Administration                                  and exchange related correspondence (.3)
             & Objections

April 2021   Claims                 04/09/21 KBD         390 confer with J. Wine, A. Porter, M. Rachlis regarding scope of properties for single claim             1.9          0.1      $39.00
             Administration                                  process (1017 W 102nd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8403 S Aberdeen Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S
                                                             Throop Street, 406 E 87th Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                             Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                             8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue) (1.9)
April 2021   Claims                 04/13/21 KBD         390 study analysis of lender properties potentially subject to single claim process and exchange          0.6 0.0315789         $12.32
             Administration                                  related correspondence with J. Wine (1017 W 102nd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street, 9212 S Parnell Avenue,
                                                             10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th Place, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue) (.6)

April 2021   Claims                 04/14/21 KBD         390 Telephone conference with SEC (.8)                                                                    0.8 0.0285714         $11.14
             Administration
             & Objections

April 2021   Claims                 04/15/21 KBD         390 study correspondence from J. Wine regarding single claim process (.3).                                0.3 0.0107143          $4.18
             Administration
             & Objections

April 2021   Claims                 04/21/21 KBD         390 study correspondence from claimant's counsel regarding single claim properties (.1).                  0.1 0.0035714          $1.39
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Claims                 04/26/21 KBD         390 work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,              0.3 0.0115385         $4.50
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette
             & Objections                                    Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S
                                                             Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E
                                                             87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                             Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                             8517 S Vernon Avenue,2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue) (.3)

April 2021   Claims                 04/28/21 KBD         390 Telephone conference with J. Wine in preparation for call with claimants' counsel regarding            0.1 0.0035714         $1.39
             Administration                                  process for single claim properties (.1)
             & Objections

April 2021   Claims                 04/28/21 KBD         390 draft correspondence to claimants' counsel regarding call and planning for process for single          0.1 0.0035714         $1.39
             Administration                                  claim properties and exchange related correspondence (.1).
             & Objections

April 2021   Claims                 04/29/21 KBD         390 review spreadsheets, property and claims information, and various correspondence relating              0.5 0.0192308         $7.50
             Administration                                  to potential lender properties to be included in single claim process (1017 W 102nd Street,
             & Objections                                    1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue) (.5).

April 2021   Claims                 04/29/21 KBD         390 telephone conference with J. Wine regarding potential lender properties to be included in              0.4 0.0153846         $6.00
             Administration                                  single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
             & Objections                                    Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.4)

April 2021   Claims                 04/30/21 KBD         390 study correspondence and information regarding single claim properties (1017 W 102nd                   0.2 0.0153846         $6.00
             Administration                                  Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                    7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue) (.2)
April 2021   Asset                  04/01/21 AEP         390 communications with prospective purchaser of single-family homes regarding earnest                     0.1       0.002       $0.78
             Disposition                                     money wiring instructions (single family) (.1)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
April 2021   Asset                  04/01/21 AEP             390 teleconference with counsel for secured lenders regarding process for allocating values                   0.6       0.012       $4.68
             Disposition                                         across all individual properties in single-family home portfolio (single family) (.6)

April 2021   Asset                  04/01/21 AEP             390 Review title commitment for each property in single-family home portfolio, create list of                 4.2       0.084      $32.76
             Disposition                                         special exceptions requiring attention and create exhibit to forthcoming motion to confirm
                                                                 identifying all encumbrances on all 38 properties (single family) (4.2)

April 2021   Asset                  04/01/21 AEP             390 prepare communications to property managers regarding restrictions on new leases and                      0.1       0.002       $0.78
             Disposition                                         building security at single-family homes (single family) (.1)
April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                          0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                  04/02/21 AEP             390 review chain of title for every single property in single-family home portfolio and compile list          4.1       0.082      $31.98
             Disposition                                         of all mortgage encumbrances against same in connection with finalization of title
                                                                 commitments and preparation of motion to confirm sale (single family) (4.1).

April 2021   Asset                  04/02/21 AEP             390 review spreadsheet prepared by title company, communicate with K. Duff regarding                          0.8       0.016       $6.24
             Disposition                                         estimate of fire damage sustained at single-family home property, merge spreadsheets,
                                                                 prepare final draft of proposed allocations of value of single-family homes, and transmit
                                                                 same to title company and lender's counsel requesting prompt review and finalization (single
                                                                 family) (.8)
April 2021   Asset                  04/02/21 AEP             390 prepare spreadsheet of single-family homes, review purchaser's inspection contingency price               1.2       0.024       $9.36
             Disposition                                         reduction demands, confer with K. Duff, and create proposed allocations of value for
                                                                 inclusion in thirteenth motion to confirm sales (single family) (1.2)

April 2021   Asset                  04/02/21 AEP             390 communications with lenders' counsel regarding methodology for allocating values of single-               0.2       0.004       $1.56
             Disposition                                         family home properties (single family) (.2)
April 2021   Asset                  04/05/21 AEP             390 continue preparing motion to confirm sale of single-family homes and accompanying                         1.6       0.032      $12.48
             Disposition                                         exhibits (single family) (1.6)
April 2021   Asset                  04/05/21 AEP             390 prepare first draft of brokers declaration regarding single-family home marketing process                 0.4       0.008       $3.12
             Disposition                                         (single family) (.4)
April 2021   Asset                  04/05/21 JRW             260 related review of offering memorandum (single family) (.1)                                                0.1       0.002       $0.52
             Disposition
April 2021   Asset                  04/05/21 JRW             260 Review and revise 13th motion to confirm sales (single family) (.3)                                       0.3       0.006       $1.56
             Disposition
April 2021   Asset                  04/06/21 AEP             390 incorporate J. Wine's comments into draft motion to confirm sale of single-family home                    0.1       0.002       $0.78
             Disposition                                         portfolio (single family) (.1)
April 2021   Asset                  04/06/21 AEP             390 teleconferences with title underwriters regarding various approaches to structuring closing               0.4       0.008       $3.12
             Disposition                                         of single-family portfolio sale (single family) (.4)
April 2021   Asset                  04/06/21 AEP             390 communications with M. Rachlis and K. Duff regarding valuation methodology relating to                    0.2       0.004       $1.56
             Disposition                                         motion to confirm sale of single-family home portfolio (single family) (.2)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                             Allocated    Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                              Hours         Fees
April 2021   Asset                  04/06/21 AEP             390 teleconference with title company regarding final computation of agency fees and                             0.2       0.004        $1.56
             Disposition                                         mechanics and timeline for closing of single-family homes portfolio (single family) (.2)

April 2021   Asset                  04/06/21 AEP             390 teleconference with title underwriters regarding additional issues associated with closing of                0.3       0.006        $2.34
             Disposition                                         sale of single-family homes, including allocations of closing costs and proof of notice to
                                                                 affected mortgagees (single family) (.3)
April 2021   Asset                  04/06/21 AEP             390 review offering memorandum relating to single-family home portfolio and revise sworn                         0.2       0.004        $1.56
             Disposition                                         declaration of receivership broker (single family) (.2)
April 2021   Asset                  04/06/21 AEP             390 review all title exceptions by prospective purchaser of single-family homes, research same,                  3.8       0.076       $29.64
             Disposition                                         and prepare comprehensive list of remaining action items associated with requirement to
                                                                 convey clean title (single family) (3.8).
April 2021   Asset                  04/06/21 AEP             390 continue preparation of motion to confirm sales of single-family homes portfolio, including                  2.1       0.042       $16.38
             Disposition                                         preparation of proposed order, preparation of remaining exhibits, final reconciliation of
                                                                 declaration of receivership broker with factual assertions in brief, assemble all
                                                                 documentation, and forward to receiver with request for final comments (single family) (2.1)

April 2021   Asset                  04/06/21 JR              140 review email from A. Porter regarding zoning certificates for single family homes, update                    1.8       0.036        $5.04
             Disposition                                         same and further correspond with the title company requesting to process in anticipation for
                                                                 closing (single family) (1.8).
April 2021   Asset                  04/06/21 MR              390 Attention to 13th sales motion (single family) (.2) communicate regarding same with A.                       0.4       0.008        $3.12
             Disposition                                         Porter and other team members on methodology for single family homes (single family) (.2).

April 2021   Asset                  04/07/21 AEP             390 make final edits to motion to confirm sale of single-family home portfolio, assemble all                     0.5         0.01       $3.90
             Disposition                                         exhibits, and transmit to counsel for institutional lender for final review prior to filing (single
                                                                 family) (.5).
April 2021   Asset                  04/07/21 AEP             390 teleconference with K. Duff regarding final allocation issues associated with motion to                      0.2       0.004        $1.56
             Disposition                                         confirm sale of single-family home portfolio (single family) (.2)
April 2021   Asset                  04/08/21 AEP             390 Communications with title company regarding processing of zoning certificates for single-                    0.2       0.004        $1.56
             Disposition                                         family homes, correction of errors regarding unit counts, and timing of processing of water
                                                                 certificates (single family) (.2)
April 2021   Asset                  04/08/21 AEP             390 finalize response to counsel for prospective purchaser of single-family home portfolio                       0.4       0.008        $3.12
             Disposition                                         regarding special exceptions to be deleted from title commitment (single family) (.4)

April 2021   Asset                  04/08/21 AEP             390 prepare comprehensive e-mail memorandum to title underwriter regarding basis for                             0.8       0.016        $6.24
             Disposition                                         deletion of numerous special exceptions on title to single-family home portfolio (single
                                                                 family) (.8)
April 2021   Asset                  04/08/21 AEP             390 review final signed declaration from receivership broker, audit and finalize all exhibits to                 0.3       0.006        $2.34
             Disposition                                         motion to confirm sale of single-family home portfolio, and deliver final motion papers to K.
                                                                 Duff for filing and service (single family) (.3)
April 2021   Asset                  04/08/21 JR              140 Review single family homes due diligence documents in preparation for closing and update                     1.1       0.022        $3.08
             Disposition                                         electronic files (single family).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                           Hours         Fees
April 2021   Asset                  04/09/21 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents (single-                  0.3      0.0015        $0.59
             Disposition                                         family, 4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue) (.3)

April 2021   Asset                  04/09/21 JR              140 exchange correspondence with buyer requesting buyer information required for upcoming                     0.2       0.004        $0.56
             Disposition                                         closings (single family) (.2)
April 2021   Asset                  04/12/21 AW              140 Review thirteenth sale motion and prepare notice of motion and certificate of service for                 0.7       0.014        $1.96
             Disposition                                         title company (single family) (.7)
April 2021   Asset                  04/12/21 AW              140 email exchange regarding filing of thirteenth sale motion, finalize motion, file with court, and          0.4       0.008        $1.12
             Disposition                                         communicate with K. Duff regarding service of same (single family) (.4)

April 2021   Asset                  04/12/21 AW              140 prepare service email and serve as per certificate of service (single family) (.4).                       0.4       0.008        $1.12
             Disposition
April 2021   Asset                  04/12/21 KMP             140 Communications with K. Duff and A. Watychowicz regarding thirteenth motion to approval                    0.2       0.004        $0.56
             Disposition                                         property sales and related affidavit of service requested by title company (single family).

April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                   0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-                 0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                    1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with                1.3 0.0265306          $3.71
             Disposition                                         K. Duff regarding same (see E) (1.3)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with buyer regarding requested buyer information related to                       0.1       0.002        $0.28
             Disposition                                         closings (single family) (.1)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and                0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/14/21 JR              140 review additional due diligence documents related to single family homes (single family) (.5)             0.5         0.01       $1.40
             Disposition
April 2021   Asset                  04/14/21 JR              140 update closing documents related to the single family home portfolio (single family) (2.8).               2.8       0.056        $7.84
             Disposition
April 2021   Asset                  04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                       0.2 0.0040816          $0.57
             Disposition                                         tax balances that remain in the EquityBuild estate (see E) (.2)
April 2021   Asset                  04/15/21 AEP             390 Comprehensive and final review and inventory of all exceptions to title on single-family                  2.3       0.046       $17.94
             Disposition                                         home portfolio, preparation of final checklist, and transmit same to title company
                                                                 underwriter with request for teleconference (single family) (2.3)
April 2021   Asset                  04/15/21 JR              140 update master spreadsheet portfolio with value allocations related to single family homes                 0.5         0.01       $1.40
             Disposition                                         (single family) (.5)
April 2021   Asset                  04/15/21 JR              140 review email from K. Duff requesting updated spreadsheet related to purchase price, sale                  0.7       0.014        $1.96
             Disposition                                         price and single family home value allocations related to all properties, further related
                                                                 correspondence with A. Porter and prepare report regarding value allocations (single family)
                                                                 (.7)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2021   Asset                  04/15/21 JR              140 update water applications for single family homes (single family) (2.6).                               2.6       0.052        $7.28
             Disposition
April 2021   Asset                  04/16/21 JR              140 Update water applications for single family homes (single family) (1.3)                                1.3       0.026        $3.64
             Disposition
April 2021   Asset                  04/16/21 JR              140 review email from title company related to processed water applications for single family              0.1 0.0006667          $0.09
             Disposition                                         homes and other properties scheduled to close and update electronic files (single family,
                                                                 4611-17 S Drexel Boulevard, 7024-32 S Paxton Avenue) (.1)

April 2021   Asset                  04/16/21 JR              140 exchange correspondence with buyer requesting buyer information related to water bills for             0.2       0.004        $0.56
             Disposition                                         single family homes (single family) (.2)
April 2021   Asset                  04/16/21 JR              140 review email from property management related to review of tax payments regarding past                 1.3 0.0265306          $3.71
             Disposition                                         due and current property tax payments, save in electronic files and update spreadsheet
                                                                 regarding same (see E) (1.3)
April 2021   Asset                  04/16/21 JR              140 update buyer information on water applications for single family homes (single family) (1.7).          1.7       0.034        $4.76
             Disposition
April 2021   Asset                  04/19/21 AEP             390 Teleconference with title company underwriter regarding requests for waiver of assorted                0.7       0.014        $5.46
             Disposition                                         special exceptions to title commitments on single-family home portfolio (single family) (.7)

April 2021   Asset                  04/19/21 AEP             390 review latest revised title commitments on single-family home portfolio and save in files              0.1       0.002        $0.78
             Disposition                                         (single family) (.1).
April 2021   Asset                  04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of               0.2 0.0040816          $0.57
             Disposition                                         EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                  04/20/21 AEP             390 communications with prospective purchaser of single-family homes regarding projected                   0.2       0.004        $1.56
             Disposition                                         closing timeline (single family) (.2)
April 2021   Asset                  04/26/21 JR              140 review email from A. Porter related to obtaining releases related to single family homes in            0.1       0.002        $0.28
             Disposition                                         preparation for closing and respond accordingly (single family) (.1).
April 2021   Asset                  04/27/21 AEP             390 review zoning certificates received on various single-family home properties and                       0.2       0.004        $1.56
             Disposition                                         communicate with J. Rak regarding filing and inventorying of same (single family) (.2).

April 2021   Asset                  04/27/21 AEP             390 Cursory review of judicial order approving motion to confirm sale of single-family home                0.2       0.004        $1.56
             Disposition                                         portfolio and distribute same to brokers, title underwriters, buyers, buyers' counsel, and
                                                                 counsel for institutional lenders (single family) (.2)
April 2021   Asset                  04/27/21 AW              140 Communicate with J., Wine regarding proposed order granting thirteenth sale motion, work               0.5         0.01       $1.40
             Disposition                                         to finalize order, and email J. Wine regarding same (single family).
April 2021   Asset                  04/27/21 JR              140 Follow up correspondence with buyer requesting buyer information in anticipation of                    0.2       0.004        $0.56
             Disposition                                         closings (single family) (.2)
April 2021   Asset                  04/27/21 JRW             260 related correspondence to courtroom deputy regarding entry of order (single family) (.3).              0.3       0.006        $1.56
             Disposition
April 2021   Asset                  04/27/21 JRW             260 Finalize proposed order granting 13th sales motion (single family) (.4)                                0.4       0.008        $2.08
             Disposition




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2021   Asset                  04/28/21 AEP             390 E-mail communications with title underwriter regarding inability to obtain releases of prior             0.2       0.002        $0.78
             Disposition                                         security documents (5437 S Laflin Street) (.1), e-mail communications with J. Rak regarding
                                                                 inability to obtain new borrower information from prospective purchaser of single-family
                                                                 homes and need to update title commitments (single family) (.1)

April 2021   Asset                  04/28/21 JR              140 exchange correspondence with vendor requesting processing of water certifications                        0.1       0.002        $0.28
             Disposition                                         regarding properties (single family) (.1)
April 2021   Asset                  04/28/21 JR              140 Exchange communication with buyer relating to scheduling of properties for closing (single               0.5         0.01       $1.40
             Disposition                                         family) (.5)
April 2021   Asset                  04/29/21 JR              140 submit water applications to the title company regarding water applications (single family)              0.6       0.012        $1.68
             Disposition                                         (.6)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with the title company requesting updates to the title                           0.3       0.006        $0.84
             Disposition                                         commitments for properties (single family) (.3)
April 2021   Asset                  04/29/21 JR              140 further correspond with the title company regarding water applications (single family) (.3)              0.3       0.006        $0.84
             Disposition
April 2021   Asset                  04/29/21 JR              140 review email from vendor regarding obtaining water certifications for properties and related             0.2       0.004        $0.56
             Disposition                                         correspondence with A. Porter (single family) (.2)
April 2021   Asset                  04/30/21 AEP             390 review water certificates received for all properties in EB South Chicago 1 and EB South                 0.2 0.0068966          $2.69
             Disposition                                         Chicago 2 (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue) and update closing checklists (.2)

April 2021   Asset                  04/30/21 AEP             390 review assignment of purchase and sale contract associated with single-family home                       0.3       0.006        $2.34
             Disposition                                         portfolio and update receivership spreadsheet tying each property to each prospective
                                                                 purchaser (single family) (.3)
April 2021   Asset                  04/30/21 AEP             390 review value allocations for single-family homes for listing purposes and value allocations per          0.6       0.012        $4.68
             Disposition                                         agreement with secured lenders, and include information in portfolio spreadsheet (single
                                                                 family) (.6).
April 2021   Asset                  04/30/21 JR              140 review requested water certification and update electronic files for properties (single family)          0.6       0.012        $1.68
             Disposition                                         (.6)
April 2021   Asset                  04/30/21 JR              140 review email from property management regarding requested property reports related to                    0.2 0.0042553          $0.60
             Disposition                                         the property insurance renewals (see A) (.2)
April 2021   Asset                  04/30/21 JR              140 exchange correspondence with property management requesting updated rent rolls for                       0.2 0.0042553          $0.60
             Disposition                                         remainder of properties in the estate regarding property insurance renewal (see A) (.2)

April 2021   Business               04/05/21 ED              390 and related email correspondence with K. Duff and M. Rachlis (.2).                                       0.2 0.0047619          $1.86
             Operations




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1017 W 102nd Street                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for 14 properties (1017 W 102nd Street,          0.2 0.0142857         $5.57
             Operations                                          1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue) (.2)

April 2021   Business               04/05/21 ED              390 review and reply to lender's counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd           0.3 0.0071429         $2.79
             Operations                                          Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                 Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                 Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S
                                                                 Laflin Street, 6759 S Indiana Avenue, 9610 S Woodlawn Avenue, 7300-04 St Lawrence
                                                                 Avenue, 7760 S Coles Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                 Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 8214-16 S
                                                                 Ingleside Avenue) regarding financial reporting (.3)


April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524         $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857         $2.00
             Operations
April 2021   Business               04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional          0.2 0.0040816         $0.57
             Operations                                          funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762         $4.27
             Operations
April 2021   Business               04/27/21 SZ              110 Email communication with property manager to obtain list of repairs associated with SFH-            2.4 0.1714286        $18.86
             Operations                                          Trench 1 properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 S
                                                                 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                                 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Ave), SFH-
                                                                 Tranch 2 properties (10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street,
                                                                 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S
                                                                 Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue,
                                                                 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon
                                                                 Avenue) to review and retrieve repair documentation.

April 2021   Business               04/29/21 JR              140 Review email from K. Duff related to property insurance renewal workbook and make                   1.1 0.0234043         $3.28
             Operations                                          requested updates to same (see A) (1.1)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2021   Business               04/29/21 JR              140 exchange correspondence with K. Duff regarding property insurance (see A) (.1).                        0.1 0.0021277         $0.30
             Operations
April 2021   Business               04/30/21 JR              140 Exchange correspondence with J. Wine and E. Duff regarding names of institutional lenders              0.2 0.0042553         $0.60
             Operations                                          as additional insured relating to property insurance renewal (See A).

April 2021   Business               04/30/21 JRW             260 email exchange with J. Rak and E. Duff regarding injured parties on insurance policies (.1).           0.1 0.0021277         $0.55
             Operations
April 2021   Claims                 04/02/21 JRW             260 Finish researching title history and claims against properties (8346 S Constance Avenue, 8517          2.3 0.1533333        $39.87
             Administration                                      S Vernon Avenue, 8432 S Essex Avenue, 7712 S Euclid Avenue, 3213 S Throop Street, 10012 S
             & Objections                                        LaSalle Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 6759 S Indiana Avenue, 9610
                                                                 S Woodlawn Avenue, 1017 W 102nd Street, 8403 S Aberdeen Street, 9212 S Parnell Avenue,
                                                                 406 E 87th Place, 8107 S Kingston Avenue) (2.3)

April 2021   Claims                 04/05/21 JRW             260 correspondence with claimant's counsel regarding proposed claims process (.1)                          0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                 04/07/21 JRW             260 telephone conference with K. Duff regarding claims process (1017 W 102nd Street, 417                   0.6 0.0315789         $8.21
             Administration                                      Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street,
             & Objections                                        9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th Place, 6825
                                                                 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                                 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                                 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.6)

April 2021   Claims                 04/09/21 AEP             390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding competing claims under                  2.1       0.042      $16.38
             Administration                                      varying factual scenarios in connection with single-family home portfolio (single family).
             & Objections

April 2021   Claims                 04/13/21 JRW             260 correspondence with claimants' counsel regarding claims process for single claim properties            0.3 0.0107143         $2.79
             Administration                                      and related exchange with K. Duff (.3)
             & Objections

April 2021   Claims                 04/13/21 JRW             260 continued analysis of properties with single claim (1516 E 85th Place, 2136 W 83rd Street,             2.0 0.0714286        $18.57
             Administration                                      7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
             & Objections                                        Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6749-59 S Merrill Avenue, 7110 S
                                                                 Cornell Avenue, 417 Oglesby Avenue, 7925 S Kingston Avenue, 2129 W 71st Street, 1017 W
                                                                 102nd Street, 8403 S Aberdeen Street, 8432 S Essex Avenue, 10012 S LaSalle Avenue, 3213 S
                                                                 Throop Street, 406 E 87th Place, 7712 S Euclid Avenue, 6825 S Indiana Avenue, 7210 S
                                                                 Vernon Avenue, 6759 S Indiana Avenue, 8346 S Constance Avenue, 9212 S Parnell Avenue,
                                                                 8107 S Kingston Avenue, 8517 S Vernon Avenue, 9610 S Woodlawn Avenue) and prepare
                                                                 related spreadsheet (2.0)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2021   Claims                 04/13/21 MR          390 attention to emails regarding single claims process (.2).                                             0.2 0.0071429         $2.79
             Administration
             & Objections

April 2021   Claims                 04/14/21 AEP         390 Review spreadsheet of claim types relating to mortgages, research title for each property,            2.0 0.0571429        $22.29
             Administration                                  and prepare list of corrections (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,
             & Objections                                    417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 7300-04 S St Lawrence
                                                             Avenue, 7760 S Coles Avenue).

April 2021   Claims                 04/15/21 JRW         260 review proposed procedures addressing single claims against properties from claimants'                0.3 0.0107143         $2.79
             Administration                                  counsel and related analysis to K. Duff (.3)
             & Objections

April 2021   Claims                 04/15/21 JRW         260 telephone conference with claimants' counsel regarding liens against single claim properties          1.1 0.0392857        $10.21
             Administration                                  (1.1)
             & Objections

April 2021   Claims                 04/26/21 JRW         260 study list from claimants' counsel and related analysis to K. Duff (.8)                               0.8 0.1333333        $34.67
             Administration
             & Objections

April 2021   Claims                 04/28/21 JRW         260 email exchange with claimants' counsel regarding process for single claims (.1)                       0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                 04/28/21 JRW         260 telephone conference with K. Duff in preparation for call with claimants' counsel regarding           0.1 0.0035714         $0.93
             Administration                                  process for single claim properties (.1)
             & Objections

April 2021   Claims                 04/29/21 JRW         260 telephone conference with claimants' counsel regarding proposed process for single claim              0.5 0.0178571         $4.64
             Administration                                  properties (.5)
             & Objections




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
April 2021   Claims                 04/30/21 JRW         260 study proposed process for single claim properties and standard discovery, prepare notes              2.2 0.0785714         $20.43
             Administration                                  regarding response to same, related telephone conferences with K. Duff, and related
             & Objections                                    correspondence to claimants' counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                             6759 S Indiana Avenue, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (2.2).

May 2021     Asset                  05/06/21 KBD         390 exchange correspondence with J. Rak regarding sale of properties and segregated accounts              0.2       0.004        $1.56
             Disposition                                     (single family) (.2).
May 2021     Asset                  05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455          $1.77
             Disposition                                     (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021     Asset                  05/17/21 KBD         390 review update of closings from J. Rak (single family, 7255 S Euclid Avenue, 6217-27 S                 0.1      0.0005        $0.20
             Disposition                                     Dorchester Avenue, 7237-43 S Bennett Avenue) (.1).
May 2021     Asset                  05/20/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding water payment and transfer             0.2       0.004        $1.56
             Disposition                                     tax payments and logistics for closing (single family) (.2)
May 2021     Asset                  05/20/21 KBD         390 telephone conference with J. Rak regarding problems with purchaser and obtaining                      0.2       0.004        $1.56
             Disposition                                     necessary documents for closing, including relating to unique municipality issues (single
                                                             family) (.2).
May 2021     Asset                  05/21/21 KBD         390 attention to closing costs and related correspondence (single family) (.1).                           0.1       0.002        $0.78
             Disposition
May 2021     Asset                  05/24/21 KBD         390 Exchange correspondence with J. Rak regarding closing proceeds and allocation issues (single          0.2       0.004        $1.56
             Disposition                                     family).
May 2021     Asset                  05/25/21 KBD         390 Work with Andrew Porter and Justyna Rak on closing documents (single family) (1.5)                    1.5         0.03      $11.70
             Disposition
May 2021     Asset                  05/26/21 KBD         390 exchange correspondence regarding sale proceeds, segregated accounts, and allocations                 0.1       0.002        $0.78
             Disposition                                     (single family) (.1).


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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021     Asset                  05/27/21 KBD         390 telephone conference with and study correspondence from title company representative                  0.3       0.006       $2.34
             Disposition                                     and exchange correspondence with bank representative regarding transfer of closing
                                                             proceeds (single family) (.3).
May 2021     Asset                  05/27/21 KBD         390 Exchange correspondence regarding deposit of sale proceeds and allocation (single family)             0.2       0.004       $1.56
             Disposition                                     (.2)
May 2021     Asset                  05/28/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and J. Rak regarding                  0.6       0.012       $4.68
             Disposition                                     closing and disbursement of funds for sale of portfolio of properties (single family) (.6)

May 2021     Business               05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W                0.3 0.0066667         $2.60
             Operations                                      102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).

May 2021     Business               05/04/21 KBD         390 Work on insurance renewal and draft correspondence to broker regarding updated                        0.3    0.006383       $2.49
             Operations                                      information (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham, 11318 S Church
                                                             Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                             2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 417
                                                             Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.3)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
May 2021     Business               05/05/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding                          0.2 0.0042553         $1.66
             Operations                                      comparison of rates (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham , 11318 S
                                                             Church Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W
                                                             71st Street, 2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             417 Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.2)


May 2021     Business               05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111         $4.33
             Operations                                      quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516                0.5 0.0113636         $4.43
             Operations                                      E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)

May 2021     Business               05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
             Operations                                      62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).

May 2021     Business               05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
             Operations                                      Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)).




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties               0.1 0.0022727         $0.89
             Operations                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)


May 2021     Business               05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East                 0.3 0.0068182         $2.66
             Operations                                      62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021     Business               05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
             Operations                                      Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
May 2021     Claims                 05/06/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0035714         $1.39
             Administration                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                    Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.1)

May 2021     Claims                 05/07/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            0.2 0.0071429         $2.79
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                    Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Claims                 05/10/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            4.0 0.1428571        $55.71
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                    Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (4.0)

May 2021     Claims                 05/11/21 KBD         390 telephone conferences with J. Wine regarding single claim process (1017 W 102nd Street,              0.3 0.0107143         $4.18
             Administration                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                    Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.3)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2021     Claims                 05/11/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             3.5       0.125      $48.75
             Administration                                      417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                        Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                 Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                 Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                 Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                 Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (3.5)

May 2021     Claims                 05/11/21 KBD             390 confer with M. Rachlis and J. Wine regarding single claim process (1017 W 102nd Street,               1.7 0.0607143        $23.68
             Administration                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                        Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (1.7)
May 2021     Claims                 05/12/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             0.3 0.0107143         $4.18
             Administration                                      417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                        Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                 Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                 Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                 Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                 Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Asset                  05/03/21 JR              140 review numerous emails from the title company [W. Peca at Chicago Title] related to water             0.7       0.014       $1.96
             Disposition                                         certificates and update electronic files regarding single family homes (single family) (.7).

May 2021     Asset                  05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of              0.1 0.0002222         $0.03
             Disposition                                         property related to remaining unsold properties in the estate (See B) (.1)

May 2021     Asset                  05/05/21 JR              140 exchange correspondence with buyer requesting property inspection forms in anticipation of            0.1       0.002       $0.28
             Disposition                                         closing of single family homes (single family) (.1)
May 2021     Asset                  05/06/21 AEP             390 Teleconference with J. Rak relating to form of preparation of each closing document and               0.9       0.018       $7.02
             Disposition                                         remaining pre-closing tasks (single family) (.9)
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with the underwriter requesting and providing closing details of              0.9       0.018       $2.52
             Disposition                                         the single family homes (single family) (.9)
May 2021     Asset                  05/06/21 JR              140 confer with A. Porter regarding the single family home status in preparation for closing              0.9       0.018       $2.52
             Disposition                                         (single family) (.9)
May 2021     Asset                  05/06/21 JR              140 draft allocation summary report related to single family homes and produce to K. Pritchard            0.4       0.008       $1.12
             Disposition                                         regarding wire instructions (single family) (.4)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                            Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                             Hours         Fees
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with A. Porter regarding buyer requested information and other                      0.8       0.016        $2.24
             Disposition                                         pertinent information required for closing (single family) (.8)
May 2021     Asset                  05/06/21 JR              140 review surveys for single family homes and request updates to same (single family) (.5).                    0.5         0.01       $1.40
             Disposition
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with the real estate broker requesting a lien waiver for closing                    0.1       0.002        $0.28
             Disposition                                         (single family) (.1)
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with the title company requesting an update on the zoning                           0.1       0.002        $0.28
             Disposition                                         certifications for the single family homes (single family) (.1)
May 2021     Asset                  05/07/21 AEP             390 Correspondence with surveyor and title company regarding need for certifications on                         0.3       0.006        $2.34
             Disposition                                         boundary surveys in non-commercial transactions and correspondence with surveyor
                                                                 regarding payment of invoices for surveys of single-family home properties (single family)
                                                                 (.3)
May 2021     Asset                  05/07/21 JR              140 review email from real estate broker regarding commission statement for the single family                   0.1       0.002        $0.28
             Disposition                                         homes (single family) (.1)
May 2021     Asset                  05/07/21 JR              140 review email from K. Pritchard regarding requested wire instructions related to upcoming                    0.3       0.006        $0.84
             Disposition                                         closings for the single family homes (single family) and update electronic files (.3).

May 2021     Asset                  05/07/21 JR              140 review numerous emails from the title company relating to single family home (single family)                0.9       0.018        $2.52
             Disposition                                         zoning certificates and update electronic files regarding same (.9)
May 2021     Asset                  05/07/21 KMP             140 Revise table of accounts for single family properties to include missing account numbers and                0.3       0.006        $0.84
             Disposition                                         forward table to J. Rak (single family).
May 2021     Asset                  05/10/21 JR              140 further correspondence with A. Porter regarding status of closing documents related to the                  0.1       0.002        $0.28
             Disposition                                         single family homes (single family) (.1)
May 2021     Asset                  05/10/21 JR              140 review emails from the title company regarding delivery of water certifications for single                  0.2       0.004        $0.56
             Disposition                                         family homes (single family) and save in electronic files (.2)
May 2021     Asset                  05/10/21 JR              140 review email from K. Duff requesting closing dates of properties (single family, 6749-59 S                  0.1 0.0006667          $0.09
             Disposition                                         Merrill Avenue, 7110 S Cornell Avenue) (.1).
May 2021     Asset                  05/11/21 AEP             390 prepare receiver's deed, bill of sale, and affidavit of title for properties (1017 W 102nd Street,          2.2         0.55     $214.50
             Disposition                                         7922 S Luella Avenue, 8403 S Aberdeen Street, 8104 S Kingston Avenue) (2.2).

May 2021     Asset                  05/11/21 AEP             390 identify all closing documents thus far assembled, including water and zoning certifications,               1.8       0.036       $14.04
             Disposition                                         examiner's worksheets, and survey invoices, and rearrange all materials into appropriate
                                                                 tranche-specific folders (single family) (1.8)
May 2021     Asset                  05/11/21 AEP             390 correspondence with title company underwriter and escrow agent regarding mass closing                       0.2       0.004        $1.56
             Disposition                                         process (single family) (.2)
May 2021     Asset                  05/11/21 AEP             390 Review allocation table and create master grantor-grantee spreadsheet to outline process of                 0.7       0.014        $5.46
             Disposition                                         closing single-family home portfolio (single family) (.7)
May 2021     Asset                  05/12/21 AEP             390 communications with J. Rak, title company underwriters, and buyers' counsel regarding                       0.5         0.01       $3.90
             Disposition                                         purchase price and loan allocations and other closing coordination matters (single family)
                                                                 (.5).
May 2021     Asset                  05/12/21 AEP             390 Prepare closing documents for single-family home portfolio sale, including receiver's deeds,                8.0         0.16      $62.40
             Disposition                                         broker lien waivers, property manager lien waivers, receiver's lien waivers, 1099s, and
                                                                 FIRPTAs (single family) (8.0)


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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                             Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                           Keeper                                                                                                                              Hours         Fees
May 2021     Asset                  05/12/21 JR              140 Telephone call with A. Porter delegation preparation of closing documents related to the                     0.5         0.01       $1.40
             Disposition                                         single family home (single family) (.5)
May 2021     Asset                  05/12/21 JR              140 prepare closing documents for single family homes (single family) (4.7).                                     4.7       0.094       $13.16
             Disposition
May 2021     Asset                  05/12/21 JR              140 review email from buyer's counsel related to a request for water certifications related to the               0.3       0.006        $0.84
             Disposition                                         single family homes and produce same (single family) (.3)
May 2021     Asset                  05/13/21 AEP             390 Finalize preparation of receiver's deeds for all sub-tranches of single-family home property                 2.8       0.056       $21.84
             Disposition                                         sales (single family) (2.8)
May 2021     Asset                  05/13/21 AEP             390 prepare affidavits of title, bills of sale, and assignments and assumptions of leases for all sub-           5.3       0.106       $41.34
             Disposition                                         tranches of single-family home sales (single family) (5.3).
May 2021     Asset                  05/13/21 JR              140 Exchange further correspondence with A. Porter regarding single family home closing                          0.1       0.002        $0.28
             Disposition                                         preparation (single family) (.1)
May 2021     Asset                  05/14/21 AEP             390 review purchase price allocations received from prospective purchaser of single-family                       1.1       0.022        $8.58
             Disposition                                         homes, update allocation spreadsheet, send copy of same to counsel for institutional lenders
                                                                 and suggest alternative methods for accounting for sales proceeds, and additional
                                                                 communications with counsel for institutional lenders, title underwriter and prospective
                                                                 purchaser relating thereto (single family) (1.1).
May 2021     Asset                  05/14/21 JR              140 exchange correspondence with property management requesting single family home                               0.3       0.006        $0.84
             Disposition                                         reports in preparation for closing (single family) (.3)
May 2021     Asset                  05/14/21 JR              140 review reports for single family homes in anticipation for closing (single family) (1.9).                    1.9       0.038        $5.32
             Disposition
May 2021     Asset                  05/15/21 AEP             390 begin researching current property tax liabilities and preparing closing figures for all 37 single-          4.0         0.08      $31.20
             Disposition                                         family homes conveyances (single family) (4.0).
May 2021     Asset                  05/16/21 AEP             390 Finalize preparation of first-draft of closing figures in connection with conveyances of single-             3.5         0.07      $27.30
             Disposition                                         family homes (single family) (3.5)
May 2021     Asset                  05/16/21 AEP             390 inventory all remaining special exceptions and all outstanding water and zoning certifications               1.5         0.03      $11.70
             Disposition                                         associated with conveyances of single-family homes and prepare e-mail to title underwriter
                                                                 regarding all current unresolved closing coordination issues (single family) (1.5).

May 2021     Asset                  05/17/21 JR              140 exchange correspondence advising of anticipated closing schedule (single family, 7255-57 S                   0.1      0.0005        $0.07
             Disposition                                         Euclid Avenue, 6217-27 S Dorchester Avenue, 7237-43 S Bennett Avenue) (.1)

May 2021     Asset                  05/17/21 JR              140 review single family tenant information and update certificated rent roll (single family) (4.6)              4.6       0.092       $12.88
             Disposition
May 2021     Asset                  05/17/21 JR              140 Exchange correspondence with property management requesting single family home reports                       0.1       0.002        $0.28
             Disposition                                         in preparation for closing (single family) (.1)
May 2021     Asset                  05/17/21 JR              140 exchange correspondence with property management requesting additional property                              0.1       0.002        $0.28
             Disposition                                         reports related to closing (single family) (.1)
May 2021     Asset                  05/18/21 AEP             390 teleconference with J. Rak regarding status of all closing documents associated with                         0.4       0.008        $3.12
             Disposition                                         conveyance of single-family homes (single family) (.4)




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  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
May 2021     Asset                  05/18/21 AEP             390 prepare memorandum for title underwriter and surveyor identifying single-family home                     0.7       0.014        $5.46
             Disposition                                         properties with discrepancies between legal description on title commitment and legal
                                                                 description on survey and request guidance for resolving conflicts in verbiage (single family)
                                                                 (.7)
May 2021     Asset                  05/18/21 AEP             390 Review revised title commitments associated with various single-family home properties,                  2.8       0.056       $21.84
             Disposition                                         reconcile with current list of special exceptions and unrecorded judgments, and sort same
                                                                 into appropriate closing folders (single family) (2.8)
May 2021     Asset                  05/18/21 AEP             390 teleconference with title underwriters regarding resolution of remaining title exception                 0.5         0.01       $3.90
             Disposition                                         issues, potential use of master closing statements, preparation of deed and money escrow
                                                                 instructions, and completion of closing figures (single family) (.5)

May 2021     Asset                  05/18/21 AEP             390 review and analyze first draft of proposed certified rent roll associated with conveyance of             0.4       0.008        $3.12
             Disposition                                         single-family homes and make minor modifications thereto (single family) (.4).

May 2021     Asset                  05/18/21 AEP             390 review proposed edits to receiver's deeds submitted by purchaser's counsel in connection                 1.2       0.024        $9.36
             Disposition                                         with conveyance of single-family homes, check corresponding legal descriptions on surveys
                                                                 and title commitments, and revise deeds as warranted (single family) (1.2)

May 2021     Asset                  05/18/21 AEP             390 prepare affidavits of no new improvements in connection with conveyances of all single-                  0.6       0.012        $4.68
             Disposition                                         family home properties (single family) (.6)
May 2021     Asset                  05/18/21 JR              140 review and confirm leases for security deposit information for single family homes (single               1.0         0.02       $2.80
             Disposition                                         family) (1.0)
May 2021     Asset                  05/18/21 JR              140 review due diligence documents received from property management and update certified                    2.3       0.046        $6.44
             Disposition                                         rent roll in preparation for closing single family homes (single family) (2.3)

May 2021     Asset                  05/18/21 JR              140 update closing checklist related to security deposit information and update certified rent roll          0.4       0.008        $1.12
             Disposition                                         regarding same (single family) (.4)
May 2021     Asset                  05/18/21 JR              140 review due diligence folder and confirm all subsidy agreements match certified rent roll                 0.7       0.014        $1.96
             Disposition                                         (single family) (.7).
May 2021     Asset                  05/19/21 JR              140 further communication with A. Porter and real estate broker inquiring about commission                   0.1       0.002        $0.28
             Disposition                                         statement for closing (single family) (.1)
May 2021     Asset                  05/19/21 JR              140 review email from property management regarding requested subsidy agreements for single                  0.5         0.01       $1.40
             Disposition                                         family homes and update electronic files (single family) (.5)

May 2021     Asset                  05/19/21 JR              140 review and forward notices to tenants requesting buyer approval for closing (single family)              0.2       0.004        $0.56
             Disposition                                         (.2)
May 2021     Asset                  05/19/21 JR              140 review email from real estate broker regarding lien waivers for closing and provide same                 0.1       0.002        $0.28
             Disposition                                         (single family) (.1)
May 2021     Asset                  05/19/21 JR              140 Review email from buyer's counsel regarding updated deeds related to the single family                   0.2       0.004        $0.56
             Disposition                                         homes (single family) (.2)
May 2021     Asset                  05/19/21 JR              140 review dates of closing documents and update same (single family) (1.5)                                  1.5         0.03       $4.20
             Disposition




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2021     Asset                  05/19/21 JR              140 review leases, subsidy agreements, confirm lease terms and update certified rent roll in                1.8       0.036        $5.04
             Disposition                                         preparation for closing (single family) (1.8)
May 2021     Asset                  05/19/21 JR              140 draft real estate transfer tax declaration forms for properties in anticipation for closing             0.8       0.016        $2.24
             Disposition                                         (single family) (.8).
May 2021     Asset                  05/19/21 JR              140 exchange correspondence with property management requesting additional missing                          0.3       0.006        $0.84
             Disposition                                         information related to leases and subsidy agreements (single family) (.3)
May 2021     Asset                  05/20/21 AEP             390 Review latest batch of title commitments associated with single-family homes and update list            1.3       0.026       $10.14
             Disposition                                         of special exceptions (single family) (1.3)
May 2021     Asset                  05/20/21 AEP             390 review final batch of title commitments associated with single-family home portfolio and                1.5         0.03      $11.70
             Disposition                                         update closing checklist (single family) (1.5)
May 2021     Asset                  05/20/21 AEP             390 review commission statement associated with conveyance of single-family homes and                       0.2       0.004        $1.56
             Disposition                                         prepare e-mail to brokers proposing alternative solution for payment of brokerage
                                                                 commissions (single family) (.2)
May 2021     Asset                  05/20/21 JR              140 update notices to tenants for single family homes per buyer request (single family) (.5)                0.5         0.01       $1.40
             Disposition
May 2021     Asset                  05/20/21 JR              140 update and review lien waivers for property managers and request executed copies of same                0.7       0.014        $1.96
             Disposition                                         in anticipation for closing (single family) (.7)
May 2021     Asset                  05/20/21 JR              140 exchange correspondence with buyer and A. Porter regarding notices to tenants (single                   0.1       0.002        $0.28
             Disposition                                         family) (.1)
May 2021     Asset                  05/20/21 JR              140 review email from buyer requesting property information in preparation for closing (single              0.1       0.002        $0.28
             Disposition                                         family) (.1)
May 2021     Asset                  05/20/21 JR              140 update electronic files with current property reports (single family) (.9)                              0.9       0.018        $2.52
             Disposition
May 2021     Asset                  05/20/21 JR              140 request property reports from property management (single family) (.1)                                  0.1       0.002        $0.28
             Disposition
May 2021     Asset                  05/20/21 JR              140 exchange correspondence with real estate broker requesting the delivery of original lien                0.1       0.002        $0.28
             Disposition                                         waivers for closing (single family) (.1)
May 2021     Asset                  05/20/21 KMP             140 Exchange correspondence with J. Rak and K. Duff regarding payment of certain closing costs              0.2       0.004        $0.56
             Disposition                                         for property sale (single family).
May 2021     Asset                  05/21/21 AEP             390 Conference with J. Rak regarding open items associated with preparation for closing of single-          0.3       0.006        $2.34
             Disposition                                         family homes (single family) (.3)
May 2021     Asset                  05/21/21 AEP             390 review fee quotes for closing services for each of the properties in the single-family home             2.1       0.042       $16.38
             Disposition                                         portfolio and update closing figures for each property (single family) (2.1)

May 2021     Asset                  05/21/21 JR              140 review email request from buyer regarding property reports and request same from                        0.1       0.002        $0.28
             Disposition                                         property management (single family) (.1)
May 2021     Asset                  05/21/21 JR              140 update notice to tenant letters and request approval from buyer (single family) (.7)                    0.7       0.014        $1.96
             Disposition
May 2021     Asset                  05/21/21 JR              140 forward house sitter information to buyer (single family) (.2)                                          0.2       0.004        $0.56
             Disposition
May 2021     Asset                  05/21/21 JR              140 review requested rent roll received from property management and inquire about the house                0.5         0.01       $1.40
             Disposition                                         sitters at various vacant properties with property management (single family) (.5)




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  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2021     Asset                  05/21/21 JR              140 further correspondence with A. Porter regarding the house sitters at vacant properties                  0.2       0.004        $0.56
             Disposition                                         (single family) (.2)
May 2021     Asset                  05/21/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.1).             4.1       0.082       $11.48
             Disposition
May 2021     Asset                  05/24/21 AEP             390 Communications with prospective purchaser of single-family homes regarding scheduling of                0.2       0.004        $1.56
             Disposition                                         pre-closing walk-throughs and removal of house sitters (single family) (.2)

May 2021     Asset                  05/24/21 AEP             390 communications with property managers regarding request from prospective purchaser of                   0.2       0.004        $1.56
             Disposition                                         single-family home portfolio for pre-closing walk-throughs and confirmation regarding
                                                                 removal of house sitters at various properties (single family) (.2)

May 2021     Asset                  05/24/21 AEP             390 review and revise proposed notices to tenants in connection with conveyance of single-                  0.2       0.004        $1.56
             Disposition                                         family homes (single family) (.2)
May 2021     Asset                  05/24/21 AEP             390 communications with counsel for lenders regarding reallocations of sales proceeds from                  0.2       0.004        $1.56
             Disposition                                         conveyance of single-family homes following closing (single family) (.2)

May 2021     Asset                  05/24/21 AEP             390 review finalized rent roll for single-family home properties and create final sets of sellers'          2.9       0.058       $22.62
             Disposition                                         figures for each conveyance (single family) (2.9).
May 2021     Asset                  05/24/21 JR              140 exchange communication with K. Duff regarding disbursement of funds into a single account               0.2       0.004        $0.56
             Disposition                                         from the single family closings (single family) (.2)
May 2021     Asset                  05/24/21 JR              140 exchange correspondence with buyer requesting updates to contact information for tenants                0.1       0.002        $0.28
             Disposition                                         after sale (single family) (.1)
May 2021     Asset                  05/24/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.2)              4.2       0.084       $11.76
             Disposition
May 2021     Asset                  05/24/21 KMP             140 Various communications with K. Duff, A. Porter, and J. Rak regarding issues relating to                 0.3       0.006        $0.84
             Disposition                                         upcoming closing on single family homes (single family).
May 2021     Asset                  05/25/21 AEP             390 Assemble, modify, and inventory all closing documents associated with conveyance of single-             7.3       0.146       $56.94
             Disposition                                         family homes, oversee document signing process by receiver, and continue revising all sets
                                                                 of closing figures (single family) (7.3)
May 2021     Asset                  05/25/21 JR              140 Conduct execution of closing documents for the single family homes (single family) (8.4)                8.4       0.168       $23.52
             Disposition
May 2021     Asset                  05/26/21 AEP             390 Attend lengthy closing of all 37 single-family home properties (single family)                         10.5         0.21      $81.90
             Disposition
May 2021     Asset                  05/26/21 JR              140 exchange correspondence with K. Duff regarding instructions for single family allocation of             0.1       0.002        $0.28
             Disposition                                         proceeds and instructions of same (single family) (.1).
May 2021     Asset                  05/26/21 JR              140 Attend closing of single family homes (single family) (10.1)                                           10.1       0.202       $28.28
             Disposition
May 2021     Asset                  05/27/21 AEP             390 prepare disclosure statements for all single-family home properties (single family) (.7)                0.7       0.014        $5.46
             Disposition




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2021     Asset                  05/27/21 AEP             390 review final settlement statements from closing of each single-family home, record final               5.6       0.112      $43.68
             Disposition                                         sales proceeds, create new settlement statements for each property substituting agreed-
                                                                 upon value allocations contained in judicial order confirming sale, revise existing value
                                                                 allocation spreadsheet to compute distribution of sales proceeds, and circulate proposed
                                                                 sales proceeds distributions to receiver and counsel for lenders (single family) (5.6)

May 2021     Asset                  05/27/21 AEP             390 read e-mail from J. Rak regarding sales proceeds computations, audit spreadsheet, revise,              0.4       0.008       $3.12
             Disposition                                         and circulate new draft (single family) (.4)
May 2021     Asset                  05/27/21 JR              140 review email from the title company and provide requested survey invoices for the single               0.4       0.008       $1.12
             Disposition                                         family homes (single family) (.4)
May 2021     Asset                  05/27/21 JR              140 review email from property management relating to status of closing and respond                        0.1       0.002       $0.28
             Disposition                                         accordingly (single family) (.1)
May 2021     Asset                  05/27/21 JR              140 update single family home executed documents in electronics files (single family) (2.1)                2.1       0.042       $5.88
             Disposition
May 2021     Asset                  05/27/21 JR              140 follow up correspondence with K. Duff advising of closing status (single family) (.1)                  0.1       0.002       $0.28
             Disposition
May 2021     Asset                  05/27/21 JR              140 Review email from K. Duff regarding instructions for disbursement of proceeds and respond              0.1       0.002       $0.28
             Disposition                                         accordingly (single family) (.1)
May 2021     Asset                  05/27/21 JR              140 follow up with the title company requesting closing status (single family) (.1)                        0.1       0.002       $0.28
             Disposition
May 2021     Asset                  05/27/21 JR              140 exchange correspondence with K. Duff, A. Porter and K. Pritchard with instructions related to          0.2       0.004       $0.56
             Disposition                                         the allocation of net proceeds for single family homes (single family) (.2)

May 2021     Asset                  05/27/21 JR              140 follow up correspondence with title company closer requesting status of closing (single                0.2       0.004       $0.56
             Disposition                                         family) (.2)
May 2021     Asset                  05/27/21 JR              140 Review email from A. Porter, identify a discrepancy and further review closing statements to           0.9       0.018       $2.52
             Disposition                                         confirm the total amount of net proceeds expected to be delivered from closing (single
                                                                 family).
May 2021     Asset                  05/28/21 AEP             390 Teleconference with J. Rak and K. Duff regarding wire transfer allocations and disbursement            0.3       0.006       $2.34
             Disposition                                         dates associated with conveyance of single-family home portfolio (single family) (.3)

May 2021     Asset                  05/28/21 AEP             390 update master receivership portfolio spreadsheet to include information associated with                0.2       0.004       $1.56
             Disposition                                         conveyance of single-family home portfolio (single family) (.2).
May 2021     Asset                  05/28/21 JR              140 further correspondence with bank representative regarding wire transfer and allocation                 0.9       0.018       $2.52
             Disposition                                         instructions for single family home closing (single family) (.9)
May 2021     Asset                  05/28/21 JR              140 exchange correspondence with K. Duff providing detailed closed property information and                0.3       0.006       $0.84
             Disposition                                         confirming closing date for single family homes (single family) (.3)

May 2021     Asset                  05/28/21 JR              140 review email from real estate broker and provide settlement statements related to closing              0.1       0.002       $0.28
             Disposition                                         (single family) (.1)
May 2021     Asset                  05/28/21 JR              140 exchange correspondence with K. Duff regarding allocation of funds related to the single               0.8       0.016       $2.24
             Disposition                                         family home closing (single family) (.8)




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  Invoice                                          Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours         Fees
May 2021     Asset                  05/28/21 JR              140 exchange correspondence with buyer confirming property key delivery related to closing of          0.1       0.002        $0.28
             Disposition                                         portfolio of properties (single family) (.1)
May 2021     Asset                  05/28/21 JR              140 exchange various correspondence with the title company requesting wire confirmation and            0.5         0.01       $1.40
             Disposition                                         additional information related to closing of portfolio of properties (single family) (.5)

May 2021     Business               05/03/21 JR              140 Exchange correspondence with K. Duff and property insurance company regarding                      0.8 0.0159574          $2.23
             Operations                                          requested updates related to property insurance renewals [see A]
May 2021     Business               05/03/21 JR              140 review requested property information from property management and update same [see                0.8 0.0092593          $1.30
             Operations                                          A].
May 2021     Business               05/04/21 JR              140 exchange communication with K. Duff regarding property insurance renewal update (See A)            0.1 0.0021277          $0.30
             Operations                                          (.1).
May 2021     Business               05/04/21 JR              140 Review email from property insurance account analyst and further update property                   1.6 0.0340426          $4.77
             Operations                                          insurance renewal workbook (See A) (1.6)
May 2021     Business               05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general           0.1 0.0002222          $0.03
             Operations                                          liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021     Business               05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property             0.2 0.0004444          $0.06
             Operations                                          and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                   1.3    0.012381        $1.73
             Operations
May 2021     Business               05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-          0.1 0.0002222          $0.03
             Operations                                          43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021     Business               05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.              0.3 0.0006667          $0.09
             Operations                                          Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.3)
May 2021     Business               05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property             0.2 0.0004444          $0.06
             Operations                                          and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                   2.3 0.0469388         $6.57
             Operations                                          7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                 Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                 Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham (Houston, TX)) (2.3)


May 2021     Business               05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                     0.3 0.0006667         $0.09
             Operations                                          umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).

May 2021     Business               05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0004444         $0.06
             Operations                                          Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                 Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                 68th Street, single family) (.2)
May 2021     Business               05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2      0.0004       $0.06
             Operations                                          property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                 Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                 Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business               05/19/21 JR              140 Review email from K. Duff requesting property closing update related to property insurance             0.3    0.006383       $0.89
             Operations                                          and provide same (see A).
May 2021     Business               05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0002222         $0.03
             Operations                                          insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                 Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)

May 2021     Business               05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third               0.1 0.0012346         $0.17
             Operations                                          restoration motion (.1).




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2021     Claims                 05/07/21 JRW         260 Drafting of proposed process for properties with single claim (1017 W 102nd Street, 1516 E             1.3          0.1      $26.00
             Administration                                  85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                 05/10/21 JRW         260 confer with K. Duff on draft process for single claim properties, review and revise draft and          0.8 0.0615385         $16.00
             Administration                                  redline comments from M. Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                    Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (.8).

May 2021     Claims                 05/10/21 JRW         260 correspondence to claimants' counsel regarding single claims process (.1)                              0.1 0.0035714          $0.93
             Administration
             & Objections

May 2021     Claims                 05/10/21 MR          390 Review and comment on single claims process (1017 W 102nd Street, 1516 E 85th Place,                   1.5 0.1153846         $45.00
             Administration                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
             & Objections                                    8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                 05/11/21 JRW         260 Continue working on single claim process with K. Duff and M. Rachlis (1017 W 102nd Street,             3.6 0.2769231         $72.00
             Administration                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
             & Objections                                    Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue) (3.6)
May 2021     Claims                 05/11/21 JRW         260 prepare chart comparing deadlines in disputed claims process and draft single claim process            0.6 0.0214286          $5.57
             Administration                                  (.6).
             & Objections

May 2021     Claims                 05/11/21 MR          390 Further review and revise claims process related items (1017 W 102nd Street, 1516 E 85th               1.5 0.1153846         $45.00
             Administration                                  Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                             (1.5)
May 2021     Claims                 05/11/21 MR          390 conferences with J. Wine and K. Duff regarding claims process(1017 W 102nd Street, 1516 E              1.0 0.0769231         $30.00
             Administration                                  85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                             (1.0).
June 2021    Asset                  06/01/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding allocation of sales proceeds            0.4       0.008        $3.12
             Disposition                                     and interest and study related information (single family).
June 2021    Asset                  06/16/21 KBD         390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                     0.2       0.001        $0.39
             Disposition


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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2021    Claims                 06/11/21 KBD         390 Review revised proposal for single claim process (1017 W 102nd Street, 1516 E 85th Place,             0.3 0.0107143         $4.18
             Administration                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                    8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                             Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

June 2021    Claims                 06/14/21 KBD         390 study correspondence from J. Wine and work on single claim process (1017 W 102nd Street,              0.2 0.0071429         $2.79
             Administration                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                    Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.2).

June 2021    Claims                 06/24/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (.1).                             0.1 0.0035714         $1.39
             Administration
             & Objections

June 2021    Claims                 06/29/21 KBD         390 Study and revise process for single claim properties and draft related correspondence to J.           1.2 0.0428571        $16.71
             Administration                                  Wine (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                    7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.2)

June 2021    Claims                 06/30/21 KBD         390 work on single claim process and study related correspondence from J. Wine (1017 W 102nd              0.3 0.0107143         $4.18
             Administration                                  Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                    8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.3).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
June 2021    Asset                  06/01/21 JR              140 exchange correspondence with K. Duff, bank representative, K. Pritchard regarding net sale             1.2       0.012        $1.68
             Disposition                                         proceeds from the single family homes, update allocation spreadsheet with interest and
                                                                 provide detailed instructions to the bank for single family home allocation related to each
                                                                 property (single family) (1.2).
June 2021    Asset                  06/01/21 JR              140 Review email from J. Wine and respond accordingly regarding collection notice (7237-43 S               0.1      0.0005        $0.07
             Disposition                                         Bennett Avenue) (.1)
June 2021    Asset                  06/01/21 JR              140 review email from buyer requesting ledgers and tenant payment information and produce                  0.5       0.005        $0.70
             Disposition                                         same (single family) (.5)
June 2021    Asset                  06/01/21 KMP             140 Review online banking records to confirm receipt of funds wired in connection with the sale            0.5         0.01       $1.40
             Disposition                                         of the single family homes, calculate pro rata share of interest earned on sale proceeds, and
                                                                 related communications with K. Duff and J. Rak (single family).

June 2021    Asset                  06/02/21 JR              140 Review email from bank regarding allocation of funds and respond accordingly (single family)           0.2       0.004        $0.56
             Disposition                                         (.2)
June 2021    Asset                  06/02/21 KMP             140 Study communications from bank representative regarding transfers of proceeds to property              0.2       0.004        $0.56
             Disposition                                         accounts in connection with sale of single-family homes (single family).

June 2021    Asset                  06/03/21 KMP             140 Review and confirm transfers of sale proceeds from sale of single-family homes to individual           0.3       0.006        $0.84
             Disposition                                         property accounts and related communication with K. Duff and J. Rak (single family).

June 2021    Asset                  06/07/21 JR              140 update closed property spreadsheet with single family home gross and net proceeds, make                1.2       0.024        $3.36
             Disposition                                         corrections to normalize property addresses (single family) (1.2)
June 2021    Asset                  06/08/21 JR              140 review email from property management and provide requested post-closing payment                       0.3       0.006        $0.84
             Disposition                                         information related to tenant rent (single family) (.3)
June 2021    Asset                  06/09/21 JR              140 Organize master statements for each property (single family).                                          0.9       0.018        $2.52
             Disposition
June 2021    Asset                  06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property            0.4       0.002        $0.28
             Disposition                                         spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                 Avenue, 7051 S Bennett Avenue) (.4).
June 2021    Asset                  06/16/21 KMP             140 Review property accounts to update spreadsheets relating to post-sale reconciliation by                0.6       0.002        $0.28
             Disposition                                         property managers and related communications with K. Duff and J. Rak (single family, 4750-
                                                                 52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 4611-17 Drexel Boulevard).
June 2021    Asset                  06/19/21 AEP             390 review property disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet            0.2       0.004        $1.56
             Disposition                                         unpaid survey invoices and providing estimated dates of final payment (single family) (.2).

June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619          $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
June 2021    Claims                 06/14/21 JRW         260 study revised process for single claim properties (1017 W 102nd Street, 1516 E 85th Place,               1.3 0.0464286        $12.07
             Administration                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                    8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                             Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) and related analysis to
                                                             K. Duff and M. Rachlis (1.3).

June 2021    Claims                 06/30/21 JRW         260 review revisions to single claims process, related research and correspondence with K. Duff              1.0 0.0357143         $9.29
             Administration                                  (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.0).

July 2021    Asset                  07/14/21 KBD         390 confirmation of funds transfer amounts (single family) (.1).                                             0.1 0.0027027         $1.05
             Disposition
July 2021    Asset                  07/30/21 KBD         390 Confer with K. Pritchard and J. Rak regarding allocation of post-sale reconciliation funds from          0.3 0.0090909         $3.55
             Disposition                                     property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street) (.3)


July 2021    Business               07/13/21 KBD         390 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S                        0.3 0.0068182         $2.66
             Operations                                      Dorchester Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th
                                                             Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single
                                                             family) (.3)
July 2021    Claims                 07/04/21 KBD         390 Exchange correspondence with J. Wine regarding single claim process (sole lien).                         0.1 0.0035714         $1.39
             Administration
             & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2021    Claims                 07/06/21 KBD             390 study correspondence from J. Wine regarding single claim process (sole lien) (.2).                   0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                 07/12/21 KBD             390 study correspondence from J. Wine regarding single claim process (sole lien) (.1).                   0.1 0.0035714         $1.39
             Administration
             & Objections

July 2021    Claims                 07/13/21 KBD             390 Study revisions to sole lien process and exchange correspondence with M. Rachlis and J.              0.6 0.0214286         $8.36
             Administration                                      Wine and M. Rachlis (sole lien) (.6)
             & Objections

July 2021    Claims                 07/14/21 KBD             390 exchange correspondence with J. Wine and M. Rachlis regarding sole lien process (sole lien)          0.4 0.0142857         $5.57
             Administration                                      (.4)
             & Objections

July 2021    Claims                 07/15/21 KBD             390 work on sole lien process and exchange related correspondence (sole lien) (.2).                      0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                 07/30/21 KBD             390 study correspondence from counsel for claimant regarding single claim process and related            0.2 0.0071429         $2.79
             Administration                                      analysis (sole lien) (.2).
             & Objections

July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                 0.2 0.0018868         $0.26
             Disposition                                         regarding closed properties status (see D) (.2)
July 2021    Asset                  07/09/21 JR              140 Review email from buyer for single family homes requesting clarification on tenant rent              0.3 0.0081081         $1.14
             Disposition                                         payments for previously sold property and review records (single family) (.3)

July 2021    Asset                  07/23/21 KMP             140 Communicate with K. Duff, A. Porter, and J. Rak regarding property manager's request for             0.8 0.0242424         $3.39
             Disposition                                         information in connection with post-sale reconciliation, prepare related spreadsheet and
                                                                 forward to property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd
                                                                 Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston
                                                                 Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                 Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
July 2021    Asset                  07/24/21 AEP         390 read and respond to correspondence with K. Duff and K. Pritchard regarding allocations of            0.2 0.0068966         $2.69
             Disposition                                     disbursements from property manager in connection with EB South Chicago 1 and EB South
                                                             Chicago 2 properties (1516 E 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
                                                             Avenue, 1017 W 102nd Street, 417 Oglesby Avenue, 7925 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,
                                                             11318 S Church Street, 10012 S LaSalle Avenue, 3723 W 68th Place, 406 E 87th Place, 61 E
                                                             92nd Street, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 3213 S Throop Street, 6554 S Rhodes Avenue, 6825 S
                                                             Indiana Avenue, 8346 S Constance Avenue, 7210 S Vernon Avenue) (.2).


July 2021    Asset                  07/27/21 KMP         140 Attention to email from property manager following up on issues relating to post-sale                0.2 0.0060606         $0.85
             Disposition                                     reconciliation and related communication with K. Duff (417 S Oglesby Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street).

July 2021    Asset                  07/27/21 KMP         140 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation funds from           0.3 0.0090909         $1.27
             Disposition                                     property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2021    Asset                  07/30/21 JR              140 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds           0.3 0.0090909         $1.27
             Disposition                                         from property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place,
                                                                 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
                                                                 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)


July 2021    Business               07/14/21 AEP             390 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with              0.2 0.0054054         $2.11
             Operations                                          values of single-family home portfolio in connection with preparation of quarterly report
                                                                 (single family) (.2).
July 2021    Business               07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                      0.2 0.0024691         $0.35
             Operations                                          accordingly (see I).
July 2021    Claims                 07/01/21 JRW             260 email exchange and telephone conference with claimants' counsel regarding process for                 1.3 0.0464286        $12.07
             Administration                                      resolution of single claims properties, related preparation for same, and review of proposed
             & Objections                                        pleading (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                                 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                 Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                                 Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                                 Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                                 Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                                 Avenue, 8517 S Vernon Avenue) (1.3)

July 2021    Claims                 07/01/21 JRW             260 telephone conference with M. Rachlis regarding process for resolution of single claims                0.9 0.0321429         $8.36
             Administration                                      properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                        Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                                 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                                 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                                 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                                 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                                 Indiana Avenue, 8517 S Vernon Avenue) (.9)

July 2021    Claims                 07/01/21 MR              390 participate in call with J. Wine regarding issues on process for claims (sole lien) (.9).             0.9 0.0321429        $12.54
             Administration
             & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2021    Claims                 07/01/21 MR          390 Review notes and materials regarding (sole lien) properties (.3)                                        0.3 0.0107143         $4.18
             Administration
             & Objections

July 2021    Claims                 07/06/21 JRW         260 Summarize conference call with claimant's counsel regarding claims resolution process and               0.4 0.0142857         $3.71
             Administration                                  related review of draft declaratory action (1017 W 102nd Street, 1516 E 85th Place, 2136 W
             & Objections                                    83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                             2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4)

July 2021    Claims                 07/12/21 JRW         260 draft correspondence to claimants' counsel regarding process for single-claim properties                0.5 0.0178571         $4.64
             Administration                                  (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (.5)

July 2021    Claims                 07/13/21 JRW         260 exchange comments and revisions regarding single claims process with K. Duff and M.                     1.2 0.0428571        $11.14
             Administration                                  Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                    7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.2)

July 2021    Claims                 07/13/21 MR          390 Attention to claims process issues and related exchanges with K. Duff and J. Wine (sole lien).          0.4 0.0142857         $5.57
             Administration
             & Objections

July 2021    Claims                 07/14/21 AEP         390 read and respond to e-mails from J. Wine regarding secured claims being asserted in                     0.2 0.0071429         $2.79
             Administration                                  connection with single-family homes that have no competing claimants and other
             & Objections                                    receivership properties (sole lien) (.2).




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2021    Claims                 07/14/21 JRW         260 Revise draft correspondence to claimants' counsel regarding single claims process (1017 W               0.5 0.0178571         $4.64
             Administration                                  102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                             6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                             S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.5)

July 2021    Claims                 07/14/21 JRW         260 correspondence with M. Rachlis and A. Porter regarding discovery for properties with single             0.7       0.025       $6.50
             Administration                                  disputed claim (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                    Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                             S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                             7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                             7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                             Indiana Avenue, 8517 S Vernon Avenue) (.7)

July 2021    Claims                 07/14/21 MR          390 Further review and comment on process issues and related exchanges (sole lien) (.3)                     0.3 0.0107143         $4.18
             Administration
             & Objections

July 2021    Claims                 07/15/21 JRW         260 confer with A. Porter and K. Duff regarding process for resolution of single claims and revise          0.4 0.0142857         $3.71
             Administration                                  draft correspondence accordingly (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                    Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                             2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4).

July 2021    Claims                 07/15/21 MR          390 Attention to issues and follow up response to revisions on claim process (sole lien).                   0.2 0.0071429         $2.79
             Administration
             & Objections




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2021    Claims                 07/16/21 JRW         260 exchange correspondence with counsel for claimants regarding claims resolution procedures           0.1 0.0035714         $0.93
             Administration                                  (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (.1)

July 2021    Claims                 07/30/21 JRW         260 review correspondence from counsel for claimants regarding process to resolve claims (1017          0.1 0.0035714         $0.93
             Administration                                  W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                             6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                             S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.1)

August 2021 Asset                   08/06/21 KBD         390 Prepare spreadsheet confirming allocation of post-sale funds from property manager and              0.3 0.0090909         $3.55
            Disposition                                      exchange various related correspondence for information (417 S Oglesby Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street).




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2021 Asset                   08/09/21 KBD         390 Continue to prepare and finalize spreadsheet confirming allocation of post-sale funds from           0.7 0.0212121         $8.27
            Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/13/21 KBD         390 Work on post-sale reconciliation of property manager funds (417 S Oglesby Avenue, 7925 S             0.4 0.0121212         $4.73
            Disposition                                      Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street) (.4)

August 2021 Claims                  08/04/21 KBD         390 exchange correspondence with J. Wine regarding sole lien process and follow up with                  0.1 0.0035714         $1.39
            Administration                                   counsel for claimants (sole lien) (.1)
            & Objections

August 2021 Claims                  08/05/21 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding sole lien process (sole lien)          0.2 0.0071429         $2.79
            Administration                                   (.2).
            & Objections

August 2021 Claims                  08/06/21 KBD         390 Exchange correspondence and telephone conference with J. Wine regarding single claim                 0.2 0.0071429         $2.79
            Administration                                   process and communication with claimants' counsel regarding same (sole lien) (.2)
            & Objections

August 2021 Claims                  08/17/21 KBD         390 review draft motion to approve process for sole lien properties (sole lien) (.2).                    0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                  08/20/21 KBD         390 review draft motion for sole lien process (sole lien) (.2)                                           0.2 0.0071429         $2.79
            Administration
            & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
August 2021 Claims                  08/26/21 KBD             390 Confer with J. Wine regarding sole lien process and draft motions from claimants' counsel           0.1 0.0035714         $1.39
            Administration                                       (sole lien) (.1)
            & Objections

August 2021 Claims                  08/27/21 KBD             390 Study draft single claim process and related correspondence (sole lien).                            0.3 0.0107143         $4.18
            Administration
            & Objections

August 2021 Asset                   08/02/21 KMP             140 Communicate with property manager regarding allocation of post-sale reconciliation funds            0.2 0.0060606         $0.85
            Disposition                                          (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/06/21 JR              140 review email from K. Duff related to allocations for post-closing reconciliation regarding          0.2 0.0054054         $0.76
            Disposition                                          properties and further communicate with A. Porter regarding same (single family) (.2).

August 2021 Asset                   08/13/21 KMP             140 Communications with K. Duff and property manager regarding issues with post-sale                    0.3 0.0090909         $1.27
            Disposition                                          reconciliations and transfer of funds and forward related spreadsheet to property manager
                                                                 (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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1017 W 102nd Street                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2021 Asset                   08/20/21 KMP         140 Follow up on post-sale reconciliation and deposits to property accounts (417 S Oglesby               0.2 0.0060606         $0.85
            Disposition                                      Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                             9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                             102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                             68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                             8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                             Street, 1422-24 E 68th Street).

August 2021 Asset                   08/23/21 KMP         140 Follow up with K. Duff and property manager on post-sale reconciliation and deposits to              0.2 0.0060606         $0.85
            Disposition                                      property accounts (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/24/21 KMP         140 Prepare spreadsheet for property manager relating to post-sale reconciliation and deposits           0.7 0.0212121         $2.97
            Disposition                                      to property accounts, and related communication with K. Duff and property manager (417 S
                                                             Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                             Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2021 Asset                   08/25/21 KMP             140 Communicate with property manager and bank representatives regarding information                      0.4 0.0121212         $1.70
            Disposition                                          required for post-sale reconciliation and deposits to property accounts (417 S Oglesby
                                                                 Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                                 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                                 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                                 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 1422-24 E 68th Street).

August 2021 Asset                   08/30/21 JR              140 Review email from K. Duff regarding tax bills for single family homes and advise accordingly          0.2 0.0054054         $0.76
            Disposition                                          (single family) (.2)
August 2021 Asset                   08/31/21 KMP             140 Review online bank records to confirm receipt of post-sale reconciliation funds from                  0.6 0.0181818         $2.55
            Disposition                                          property manager and related communications with K. Duff and property manager (417 S
                                                                 Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).

August 2021 Claims                  08/04/21 JRW             260 email exchange with counsel for claimants regarding single claims process and related                 0.2 0.0071429         $1.86
            Administration                                       conference with K. Duff (sole lien) (.2).
            & Objections

August 2021 Claims                  08/05/21 JRW             260 review correspondence from claimants' counsel regarding single claim process (sole lien)              0.1 0.0035714         $0.93
            Administration                                       (Group 1) (.1).
            & Objections

August 2021 Claims                  08/05/21 MR              390 Follow up on issues regarding single claim process and negotiations with counsel, J. Wine,            0.2 0.0071429         $2.79
            Administration                                       and K. Duff (sole lien).
            & Objections

August 2021 Claims                  08/06/21 JRW             260 Exchange correspondence and multiple telephone conferences with counsel for claimants                 0.5 0.0178571         $4.64
            Administration                                       and K. Duff regarding motion practice or joint report regarding process for single claim
            & Objections                                         properties (sole lien) (.5)




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2021 Claims                  08/13/21 JRW         260 Correspond with counsel for claimants regarding joint motion and related discussion with K.            0.3 0.0107143         $2.79
            Administration                                   Duff (sole lien) (.3)
            & Objections

August 2021 Claims                  08/26/21 JRW         260 Email exchange with claimants' counsel regarding proposed process for resolution of claims,            0.5 0.0178571         $4.64
            Administration                                   begin reviewing draft motions, and related telephone conference with K. Duff (sole lien) (.5)
            & Objections

August 2021 Claims                  08/27/21 JRW         260 Study draft motions from claimants' counsel and provide analysis to K. Duff (sole lien) (1.8)          1.8 0.0642857        $16.71
            Administration
            & Objections

September Asset                     09/22/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations               0.1    0.002439       $0.95
2021      Disposition                                        (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue) (.1)
September Business                  09/24/21 KBD         390 study correspondence from property manager regarding post-sale fund distributions (single              0.2    0.004878       $1.90
2021      Operations                                         family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-
                                                             27 S Dorchester Avenue) (.2)
September Claims                    09/06/21 KBD         390 Work on sole lien process (sole lien).                                                                 1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                    09/07/21 KBD         390 telephone conference with J. Wine regarding sole lien process (sole lien) (.2)                         0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/07/21 KBD         390 Work on sole lien process (sole lien) (.5)                                                             0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/08/21 KBD         390 Work on sole lien process (sole lien) (.3)                                                             0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/09/21 KBD         390 draft correspondence to A. Porter regarding potential discovery (sole lien) (.2).                      0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/09/21 KBD         390 work on sole lien process (sole lien) (.5)                                                             0.5 0.0178571         $6.96
2021      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/10/21 KBD         390 work on sole lien process and exchange related correspondence (sole lien) (1.7)                       1.7 0.0607143        $23.68
2021      Administration
          & Objections

September Claims                    09/11/21 KBD         390 Work on sole lien process and exchange related correspondence (sole lien).                            0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/13/21 KBD         390 study revised sole lien claims process and exchange related correspondence (sole lien) (.3).          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/14/21 KBD         390 Study correspondence regarding sole lien process and revised process documents (sole lien)            0.3 0.0107143         $4.18
2021      Administration                                     (.3)
          & Objections

September Claims                    09/15/21 KBD         390 Confer and exchange correspondence with M. Rachlis and J. Wine regarding sole lien claims             0.8 0.0285714        $11.14
2021      Administration                                     process and related discussions with claimants' counsel (sole lien) (.8)
          & Objections

September Claims                    09/15/21 KBD         390 confer with claimants' counsel and J. Wine regarding sole lien process (sole lien) (.3)               0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/16/21 KBD         390 Revise sole lien claims process, review further drafts, and exchange related correspondence           2.7 0.0964286        $37.61
2021      Administration                                     with J. Wine (sole lien) (2.7)
          & Objections

September Claims                    09/17/21 KBD         390 Analyze and revise sole lien claims process and exchange various related correspondence               3.3 0.1178571        $45.96
2021      Administration                                     with M. Rachlis and J. Wine (sole lien) (3.3)
          & Objections

September Claims                    09/20/21 KBD         390 Study related correspondence from J. Wine regarding sole lien process (sole lien) (.2)                0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/21/21 KBD         390 study and revise joint motion regarding sole lien process and exchange related                        0.5 0.0178571         $6.96
2021      Administration                                     correspondence with J. Wine regarding (sole lien) (.5).
          & Objections




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
September Claims                    09/22/21 KBD             390 work on single claim process and exchange various related correspondence (sole lien) (1.5)              1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                    09/23/21 KBD             390 Study and revise several drafts of sole lien claims process and exchange various related                1.6 0.0571429        $22.29
2021      Administration                                         correspondence with M. Rachlis and J. Wine (sole lien) (1.6)
          & Objections

September Claims                    09/23/21 KBD             390 telephone conference with J. Wine regarding sole lien properties, claims analysis, and                  0.3 0.0107143         $4.18
2021      Administration                                         barriers related issues (sole lien) (.3)
          & Objections

September Claims                    09/24/21 KBD             390 Study and revise sole lien claims process and exchange various related correspondence with              0.7       0.025       $9.75
2021      Administration                                         J. Wine (sole lien).
          & Objections

September    Asset                  09/01/21 JR              140 review paper property tax statement and forward to buyer for single family homes, request               0.2 0.0054054         $0.76
2021         Disposition                                         buyer to change address for delivery of same (single family) (.2)
September    Asset                  09/22/21 JR              140 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions          1.1 0.0268293         $3.76
2021         Disposition                                         and update same for single family homes and other various properties (single family, 1422-
                                                                 24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S
                                                                 Dorchester Avenue) (1.1)
September Asset                     09/22/21 JR              140 further communication with K. Pritchard related to post- closing reconciliation distributions           0.1    0.002439       $0.34
2021      Disposition                                            (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                 6217-27 S Dorchester Avenue) (.1).
September Asset                     09/22/21 KMP             140 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related                    2.1      0.0525       $7.35
2021      Disposition                                            communication with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place,
                                                                 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                 Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                 Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                 Avenue, 1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)


September Asset                     09/23/21 JR              140 Exchange correspondence with K. Pritchard regarding post-closing reconciliation                         0.3 0.0073171         $1.02
2021      Disposition                                            distributions (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S
                                                                 Bennett Avenue, 6217-27 S Dorchester Avenue) (.3)




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1017 W 102nd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
September    Business               09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and            2.6 0.0320988         $4.49
2021         Operations                                          E. Duff (see I and J) (2.6)
September    Business               09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)             0.1 0.0012346         $0.17
2021         Operations                                          (.1)
September    Business               09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to          0.2 0.0024691         $0.35
2021         Operations                                          reimbursable amounts (see I and J) (.2).
September    Business               09/07/21 KMP             140 Review communications relating to second restoration motion to determine date of funds              0.2 0.0046512         $0.65
2021         Operations                                          transfer and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East
                                                                 End Avenue, 6749-59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet
                                                                 Avenue, 1017 W 102nd Street, 1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                                 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 9212 S Parnell Avenue,
                                                                 10012 S LaSalle Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                 Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard,
                                                                 6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                 Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                 Road, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                 Martin Luther King Drive, 7840-42 S Yates Avenue).


September Business                  09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with          0.3 0.0065217         $0.72
2021      Operations                                             the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                 Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                 Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                 1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                 Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                 Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                 06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                 Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                 Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                 Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                 Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                    09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                 0.8 0.0089888         $1.26
2021      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/02/21 JRW         260 email exchange with claimants' counsel regarding joint motions (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/06/21 JRW         260 Correspond with K. Duff regarding revisions to single claim process (sole lien).                     0.3 0.0107143         $2.79
2021      Administration
          & Objections

September Claims                    09/07/21 JRW         260 telephone conference with K. Duff regarding draft joint motion (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/10/21 JRW         260 confer with K. Duff regarding single claim process (sole lien) (.1)                                  0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/10/21 JRW         260 review redline of draft motion regarding claims process and further revise same (sole lien)          1.6 0.0571429        $14.86
2021      Administration                                     (1.6)
          & Objections

September Claims                    09/13/21 JRW         260 review redline and further revise proposed joint motion and related correspondence to K.             1.5 0.0535714        $13.93
2021      Administration                                     Duff and M. Rachlis regarding open issues (sole lien) (1.5)
          & Objections

September Claims                    09/14/21 JRW         260 Work on single claims process and related exchange of correspondence with M. Rachlis                 0.6 0.0214286         $5.57
2021      Administration                                     regarding single claim process (sole lien) (.6)
          & Objections

September Claims                    09/14/21 MR          390 Further work on single lien claim process and work and exchanges with J. Wine (sole lien).           0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/15/21 JRW         260 telephone conference with K. Duff and M. Rachlis regarding process for single claim                  0.8 0.0285714         $7.43
2021      Administration                                     properties (sole lien) (.8)
          & Objections

September Claims                    09/15/21 JRW         260 revise proposed process for single lien claims (sole lien) (1.6).                                    1.6 0.0571429        $14.86
2021      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Claims                    09/15/21 JRW         260 exchange correspondence and telephone conference with claimants' counsel regarding                     0.4 0.0142857         $3.71
2021      Administration                                     process for single claim properties (sole lien) (.4)
          & Objections

September Claims                    09/15/21 JRW         260 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien) (.7)                     0.7       0.025       $6.50
2021      Administration
          & Objections

September Claims                    09/15/21 MR          390 participate in meeting with K. Duff and J. Wine regarding the single lien process (sole lien)          0.8 0.0285714        $11.14
2021      Administration                                     (.8).
          & Objections

September Claims                    09/15/21 MR          390 Further review and attention to various issues on the single lien process and review various           0.6 0.0214286         $8.36
2021      Administration                                     drafts and e-mails regarding same from K. Duff and J. Wine (sole lien) (.6)
          & Objections

September Claims                    09/16/21 AEP         390 Teleconference with J. Wine regarding discovery issues associated with single-claim                    0.6 0.0214286         $8.36
2021      Administration                                     properties encumbered by loans and legal issues associated with priority determinations
          & Objections                                       (sole lien).

September Claims                    09/16/21 JRW         260 Telephone conference with A. Porter regarding third-party discovery needs and analysis of              0.6 0.0214286         $5.57
2021      Administration                                     claims (sole lien) (.6)
          & Objections

September Claims                    09/16/21 JRW         260 revise draft process for single claim properties to incorporate comments from M. Rachlis               0.8 0.0285714         $7.43
2021      Administration                                     (sole lien) (.8)
          & Objections

September Claims                    09/16/21 JRW         260 revise draft motion (sole lien) (1.1).                                                                 1.1 0.0392857        $10.21
2021      Administration
          & Objections

September Claims                    09/17/21 JRW         260 Review redlines and further revise single claims process and draft motion (sole lien) (1.0)            1.0 0.0357143         $9.29
2021      Administration
          & Objections

September Claims                    09/17/21 JRW         260 correspondence with M. Rachlis and K. Duff regarding single claims process (sole lien) (.1)            0.1 0.0035714         $0.93
2021      Administration
          & Objections




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1017 W 102nd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                            Hours        Fees
September Claims                    09/17/21 MR          390 Review and revise drafts of the joint motion for claims process and related follow up with K.              1.5 0.0535714        $20.89
2021      Administration                                     Duff and J. Wine (sole lien).
          & Objections

September Claims                    09/20/21 JRW         260 Additional revisions to single claims process and motion (sole lien) (1.3)                                 1.3 0.0464286        $12.07
2021      Administration
          & Objections

September Claims                    09/21/21 JRW         260 review revisions to draft joint motion regarding process for single claims and related                     0.4 0.0142857         $3.71
2021      Administration                                     correspondence with K. Duff (sole lien) (.4)
          & Objections

September Claims                    09/22/21 JRW         260 correspondence with K. Duff and M. Rachlis regarding single claims process, review multiple                2.1       0.075      $19.50
2021      Administration                                     redlines and further revise motion and proposed process to incorporate comments (sole lien)
          & Objections                                       (2.1)

September Claims                    09/22/21 MR          390 Further review and comment on issues regarding proposals on single lien process and follow                 1.2 0.0428571        $16.71
2021      Administration                                     up regarding same (sole lien) (1.2)
          & Objections

September Claims                    09/23/21 JRW         260 Additional revisions to single claims process and related correspondence (sole lien) (.8)                  0.8 0.0285714         $7.43
2021      Administration
          & Objections

September Claims                    09/23/21 MR          390 Attention to issues and edits on motion regarding single lien issues (sole lien).                          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/24/21 JRW         260 final revisions to single claims process and related email to claimants' counsel (sole lien) (.4)          0.4 0.0142857         $3.71
2021      Administration
          & Objections




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                     1516 E 85th Place
General Allocation % (Pre 01/29/21):                                                 0.1221622%
General Allocation % (01/29/21 Onward, Claims Only):

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     17       1516 E 85th Place                                                              4.21     $              1,149.79                           46.20    $            14,724.56               50.41    $             15,874.35
                 Asset Disposition [4]                                                        0.26    $                    84.12                         22.49   $               6,667.69              22.75   $                  6,751.81
                 Business Operations [5]                                                      0.26    $                    77.65                         11.92   $               3,934.78              12.18   $                  4,012.43
                 Claims Administration & Objections [6]                                       3.69    $                  988.02                          11.78   $               4,122.10              15.47   $                  5,110.12




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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1516 E 85th Place                                                         EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    46.20
Specific Allocation Fees:         $       14,724.56



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2018 Business                 08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                        issues (.4)
August 2018 Business                 08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                        flow (.2)
August 2018 Business                 08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                 08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                 08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                        issues (.9)
August 2018 Business                 08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                        with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                 08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                 08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Claims                   08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding                  1.9 0.0213483         $8.33
            Administration                                    institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                   08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                    same.
            & Objections

August 2018 Claims                   08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                    lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                   08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                    and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                   08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                    lenders (.4)
            & Objections

August 2018 Claims                   08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                    regarding same (.1)
            & Objections

August 2018 Asset                    08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                       emails regarding same.




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
August 2018 Business                 08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                        properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                 08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                 08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Claims                   08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                    documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                   08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2018 Claims                   08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments                1.1 0.0123596         $4.82
            Administration                                    (1.1).
            & Objections

August 2018 Claims                   08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                          0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                   08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                               0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver's counsel regarding requirements for receipt of lenders' documents via            0.3 0.0081081         $3.16
            Administration                                    drive and regarding information pertaining to institutional loans from records of EquityBuild
            & Objections                                      counsel (.3).

August 2018 Claims                   08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)             0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                           5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                   08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via              1.5 0.0168539         $4.38
            Administration                                    email (1.5).
            & Objections

August 2018 Claims                   08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                       0.2 0.0022472         $0.58
            Administration                                    institutional lenders (.2)
            & Objections

September    Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                      0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                 0.4 0.0037383         $1.46
2018         Disposition                                      with M. Rachlis regarding same (.4)
September    Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related             0.1 0.0009346         $0.36
2018         Disposition                                      information.
September    Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                         0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                       0.1 0.0009346         $0.36
2018         Disposition




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
September    Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
September    Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                      brokers (.1).
September    Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                      reports.
September    Business                09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                       information (.2)
September    Business                09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business                09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                       same (.5)
September    Business                09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business                09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                       letter agreement with property manager (.4)
September    Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September    Business                09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business                09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                       structure (.4)
September    Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                       receivership and property issues (.7)
September    Business                09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018         Operations                                       requests from lenders (.3)
September    Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business                09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business                09/10/18 KBD         390 revise compensation structure (.4)                                                                      0.4 0.0058824         $2.29
2018         Operations
September    Business                09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018         Operations                                       compensation structure and prospective property improvements (.5)
September    Business                09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                       compensation (.1)


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
September    Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                                 2.5 0.0233645         $9.11
2018         Operations
September    Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                    0.2 0.0018692         $0.73
2018         Operations
September    Business                09/11/18 KBD         390 revise agreement with property manager (.2)                                                               0.2 0.0029412         $1.15
2018         Operations
September    Business                09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                     0.4 0.0059701         $2.33
2018         Operations                                       overall portfolio and property values (.4)
September    Business                09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                    0.3 0.0044118         $1.72
2018         Operations
September    Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                    0.1 0.0009346         $0.36
2018         Operations                                       estate firm representatives (.1)
September    Business                09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                    0.5    0.004717       $1.84
2018         Operations                                       health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September    Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding                0.1 0.0009346         $0.36
2018         Operations                                       same (.1)
September    Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel                0.1 0.0009434         $0.37
2018         Operations                                       (.1)
September    Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                            2.1 0.0196262         $7.65
2018         Operations
September    Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                              0.1 0.0009346         $0.36
2018         Operations
September    Claims                  09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                           0.5    0.005618       $2.19
2018         Administration
             & Objections

September Claims                     09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                    0.8 0.0089888         $3.51
2018      Administration                                      potential distribution issues (.8)
          & Objections

September Claims                     09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                         0.4 0.0044944         $1.75
2018      Administration                                      lenders and various related issues (.4)
          & Objections

September Claims                     09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                        0.4 0.0044944         $1.75
2018      Administration                                      lenders.
          & Objections

September Claims                     09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September Claims                     09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender           0.3 0.0033708         $1.31
2018      Administration                                      production of documentation and rights with respect to same (.3)
          & Objections

September Claims                     09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                          0.7 0.0078652         $3.07
2018      Administration
          & Objections

September Claims                     09/25/18 KBD         390 study correspondence from lenders servicing agent (.3).                                                0.3 0.0081081         $3.16
2018      Administration
          & Objections

September Claims                     09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders             0.4 0.0071429         $2.79
2018      Administration                                      (.4)
          & Objections

September    Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September    Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                      when they will be ready (.1)
September    Asset                   09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.
September    Asset                   09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346         $0.36
2018         Disposition                                      statements for production to potential brokerage.
September    Asset                   09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                 0.3 0.0028037         $1.09
2018         Disposition                                      prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
September    Business                09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552         $3.49
2018         Operations                                       documents received regarding same (.6).
September    Business                09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478         $4.07
2018         Operations                                       same (.7);
September    Business                09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708         $1.31
2018         Operations
September    Business                09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708         $1.31
2018         Operations                                       revision to procedure for reporting to institutional lenders (.3).
September    Business                09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944         $1.75
2018         Operations                                       lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business                09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247         $7.89
2018         Operations
September    Business                09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596         $4.82
2018         Operations
September    Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383         $1.46
2018         Operations                                       distribution (.4).
September    Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037         $1.09
2018         Operations                                       with prospective brokers (.3)
September    Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692         $0.49
2018         Operations                                       other expenses/money coming into receivership (.2)
September    Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434         $0.25
2018         Operations
September    Business                09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                      2.4 0.0510638        $19.91
2018         Operations                                       relating to mortgage loans (2.4)
September    Claims                  09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708         $1.31
2018         Administration                                   correspondence (.3).
             & Objections

September Claims                     09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                             0.5 0.0089286         $3.48
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                               0.1 0.0011236         $0.16
2018      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                     0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                              0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                      (.2).
          & Objections

September Claims                     09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                     09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/18/18 ED          390 emails to lenders and counsel to follow up on missing loan documents (1.6)                          1.6 0.0421053        $16.42
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                      of documents and information regarding same (1.4)
          & Objections

September Claims                     09/20/18 ED          390 Calls and emails with counsel for lender and special servicer.                                      3.8 0.1027027        $40.05
2018      Administration
          & Objections

September Claims                     09/21/18 ED          390 Review correspondence from lenders and counsel (.4)                                                 0.4 0.0074074         $2.89
2018      Administration
          & Objections

September Claims                     09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                      with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                     09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
September Claims                     09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                     09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                      lenders (.3)
          & Objections

September Claims                     09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                     09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                      points and authorities (1.7)
          & Objections

September Claims                     09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                     09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                 2.5 0.0446429        $17.41
2018      Administration                                      (2.5)
          & Objections

October      Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                      properties and debt ratio (.4).
October      Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                      (2.7)
October      Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
October      Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                               1.7 0.0158879         $6.20
2018         Disposition
October      Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                         0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                            0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                 0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                         2.1 0.0196262         $7.65
2018         Disposition
October      Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                  0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement            0.7 0.0065421         $2.55
2018         Disposition                                      terms and further background information(.7)
October      Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                 0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                             0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same             0.3 0.0028037         $1.09
2018         Disposition                                      (.3)
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)              1.5 0.0140187         $5.47
2018         Disposition
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                0.2 0.0018692         $0.73
2018         Disposition                                      regarding engagement of broker (.2)
October      Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                          0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key          2.1 0.0196262         $7.65
2018         Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October      Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                             0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                            0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                   0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/24/18 KBD         390 study analysis of single family home portfolio (.4).                                             0.4 0.0108108         $4.22
2018         Disposition
October      Asset                   10/25/18 KBD         390 study draft purchase and sale agreement and representation agreement for single family           0.2 0.0054054         $2.11
2018         Disposition                                      homes and review correspondence regarding same (.2)


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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October      Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business                10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                       documents, efforts to gain lender release of escrow funds, and communications from lender
                                                              regarding status of loans relative to loan obligations and study document and
                                                              correspondence regarding same (.6)
October      Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                       and tenant evictions (.2)
October      Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                       regarding scofflaw list (.1)
October      Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                       property managers (.4)
October      Business                10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                       court, and confirmation of accounting for rents (.3)
October      Business                10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business                10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business                10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business                10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business                10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                       properties (.1)
October      Business                10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                       property managers to provide rent rolls and profit and loss reports for each property to
                                                              institutional lenders and addressing coordination of property inspections (.3)

October      Claims                  10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                   information, and related issues and study documents regarding same.
             & Objections

October      Claims                  10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708         $1.31
2018         Administration                                   information (.3).
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)             0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                  10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018         Administration                                   and provisions in order appointing receiver (.4)
             & Objections

October      Claims                  10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018         Administration                                   procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                  10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                   institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                     rent rolls, and various related issues (2.8)

October      Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                   representative regarding debt service analysis (.3)
             & Objections

October      Claims                  10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Claims                  10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018         Administration                                   same (.4).
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and                   0.2 0.0051282         $2.00
2018         Administration                                   appraisals (.2).
             & Objections

October      Claims                  10/30/18 KBD         390 study correspondence from lenders counsel regarding requested documentation (.5)                       0.5 0.0135135         $5.27
2018         Administration
             & Objections

October      Claims                  10/30/18 KBD         390 study correspondence from M. Rachlis and E. Duff regarding same (.2)                                   0.2 0.0054054         $2.11
2018         Administration
             & Objections

October      Claims                  10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information              0.2 0.0051282         $2.00
2018         Administration                                   (.2)
             & Objections

October      Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                      firms.
October      Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                   10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                      payments and sale of same, and property database.
October      Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                      agreement and upcoming receivership tasks.
October      Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                      agent (1.5).
October      Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                      Duff and M. Rachlis.




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                      0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                2.2 0.0205607         $8.02
2018         Disposition
October      Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                        0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                          1.3 0.0121495         $1.70
2018         Disposition
October      Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                               0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to               0.1 0.0009346         $0.13
2018         Disposition                                      retained broker (.1)
October      Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                             0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                   2.1 0.0196262         $5.10
2018         Disposition                                      engagement (2.1).
October      Asset                   10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                     1.5 0.0223881         $8.73
2018         Disposition                                      commencement of process of identifying assets for immediate sale (1.5)
October      Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.             2.0 0.0186916         $7.29
2018         Disposition
October      Asset                   10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                   0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                           0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                            0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262         $7.65
2018         Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October      Business                10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663        $10.52
2018         Operations                                       same (2.4)
October      Business                10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371        $11.83
2018         Operations                                       alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                              portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                              receivership.
October      Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916         $4.86
2018         Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October      Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018         Operations
October      Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018         Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Business                10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018         Operations
October      Claims                  10/02/18 ED          390 review correspondence and documents relating to required financial reporting under                   0.6 0.0098361         $3.84
2018         Administration                                   mortgage loan documents (.6).
             & Objections

October      Claims                  10/02/18 ED          390 Review and reply to messages from lenders and counsel (2.5)                                          2.5 0.0409836        $15.98
2018         Administration
             & Objections

October      Claims                  10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895         $6.16
2018         Administration
             & Objections

October      Claims                  10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                    0.2 0.0043478         $1.70
2018         Administration
             & Objections

October      Claims                  10/11/18 ED          390 Review and respond to emails from K Duff, M. Rachlis relating to financial reporting to              0.6 0.0162162         $6.32
2018         Administration                                   lender.
             & Objections

October      Claims                  10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944         $1.75
2018         Administration
             & Objections

October      Claims                  10/19/18 ED          390 email correspondence with Receiver and M. Rachlis, A. Porter regarding same (1.1)                    1.1 0.0203704         $7.94
2018         Administration
             & Objections

October      Claims                  10/19/18 ED          390 conference calls with lender's counsel regarding assignment of rents, debt service payments          2.3 0.0425926        $16.61
2018         Administration                                   and other issues (2.3)
             & Objections

October      Claims                  10/21/18 ED          390 review of loan documents received from counsel to lender regarding loans and email to                1.9 0.0513514        $20.03
2018         Administration                                   counsel regarding loan information not yet supplied (1.9)
             & Objections

October      Claims                  10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)            0.3 0.0033708         $1.31
2018         Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
October      Claims                  10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of               2.9 0.0325843        $12.71
2018         Administration                                   related loan documents and information supplied by lenders (2.9)
             & Objections

October      Claims                  10/22/18 ED          390 Confer with Receiver and counsel regarding lender requests.                                        0.1    0.002381       $0.93
2018         Administration
             & Objections

October      Claims                  10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).              3.0 0.0652174        $25.43
2018         Administration
             & Objections

October      Claims                  10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel           0.9 0.0195652         $7.63
2018         Administration                                   regarding property reporting, insurance, and appraisals (.9)
             & Objections

October      Claims                  10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                   leases.
             & Objections

October      Claims                  10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                   portfolio properties (1.5)
             & Objections

October      Claims                  10/25/18 ED          390 review loan documents relating to insurance requirements (1.5).                                    1.5 0.0405405        $15.81
2018         Administration
             & Objections

October      Claims                  10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                    Hours         Fees
October      Claims                  10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124          $3.94
2018         Administration                                   logistics for site visits (.9)
             & Objections

October      Claims                  10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472          $0.88
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472          $0.88
2018         Administration                                   amount of mortgage loans (.2)
             & Objections

October      Claims                  10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618        $2.19
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 Review and reply to correspondence and calls from lenders counsel (2.2)                            2.2         0.05      $19.50
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting           0.2 0.0022472          $0.88
2018         Administration                                   queries (.2)
             & Objections

October      Claims                  10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan              0.6 0.0067416          $2.63
2018         Administration                                   balances for report (.6).
             & Objections

October      Claims                  10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to             0.3 0.0033708          $1.31
2018         Administration                                   lenders (.3)
             & Objections

October      Claims                  10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                     5.1 0.1307692         $51.00
2018         Administration
             & Objections

October      Claims                  10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                         0.2 0.0051282          $2.00
2018         Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Asset                   11/07/18 KBD         390 telephone conference with A. Porter regarding same and listing agreement for single family             0.2 0.0054054         $2.11
2018         Disposition                                      home portfolio (.2)
November     Asset                   11/12/18 KBD         390 exchange correspondence with M. Rachlis regarding single family home broker agreement                  0.1 0.0027027         $1.05
2018         Disposition                                      (.1)
November     Asset                   11/16/18 KBD         390 draft correspondence to A. Porter regarding single family home broker agreement (.1)                   0.1 0.0027027         $1.05
2018         Disposition
November     Asset                   11/20/18 KBD         390 study and revise representation agreement with respect to potential sale of single-family              2.5 0.0675676        $26.35
2018         Disposition                                      homes (2.5)
November     Asset                   11/20/18 KBD         390 office conference with M. Rachlis and draft correspondence to A. Porter regarding same (.2)            0.2 0.0054054         $2.11
2018         Disposition
November     Business                11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018         Operations                                       and accounting for rent, and communications with property manager (.3)

November     Business                11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business                11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                       reporting and communications with asset manager (.1).
November     Claims                  11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Claims                  11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                   lenders (.2).
             & Objections

November     Business                11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236         $0.44
2018         Operations
November     Business                11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416         $2.63
2018         Operations                                       related documents (.6).
November     Business                11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618       $2.19
2018         Operations
November     Business                11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                  0.7 0.0078652         $3.07
2018         Operations                                       Receiver (.7)
November     Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729         $1.82
2018         Operations
November     Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692         $0.73
2018         Operations                                       property inspections by lenders (.2)


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
November     Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037         $1.09
2018         Operations
November     Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421         $2.55
2018         Operations                                       related issues (.7)
November     Claims                  11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337        $28.48
2018         Administration                                   transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                     enforce assignments of rents and leases.

November     Claims                  11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899        $10.96
2018         Administration                                   acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                     motion to enforce assignments of rents and leases (2.5)

November     Claims                  11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427      $22.79
2018         Administration                                   opposition brief (5.2).
             & Objections

November     Claims                  11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618        $19.72
2018         Administration                                   prepare text of affidavit (4.5)
             & Objections

November     Claims                  11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427        $10.08
2018         Administration                                   enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                  11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888         $3.51
2018         Administration                                   opposition memorandum (.8).
             & Objections

November     Claims                  11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303         $6.13
2018         Administration
             & Objections

November     Claims                  11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427        $10.08
2018         Administration
             & Objections

November     Claims                  11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender           1.0    0.011236       $4.38
2018         Administration                                   motion to enforce assignments of rents and leases (1.0)
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
November     Claims                  11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                  11/17/18 MR          390 attention to various issues from hearing (.3).                                                         0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                           0.4 0.0044944         $1.75
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 attention to letter from creditors (.2)                                                                0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Claims                  11/29/18 ED          390 Email correspondence and review of related documents regarding lender's inspection of                  1.8 0.0486486        $18.97
2018         Administration                                   properties and related requests for information (1.8)
             & Objections

November     Claims                  11/29/18 ED          390 confer with M. Rachlis regarding same (.1).                                                            0.1 0.0027027         $1.05
2018         Administration
             & Objections

December     Asset                   12/07/18 KBD         390 Draft correspondence to A. Porter regarding broker agreement regarding single family                   0.1 0.0027027         $1.05
2018         Disposition                                      homes ( .1)
December     Business                12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business                12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                       representatives regarding property portfolio (.4)
December     Business                12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business                12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business                12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business                12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                       repair planning, and receivership activities (1.5)
December     Business                12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations
December     Business                12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                        0.1 0.0014706         $0.57
2018         Operations                                       reporting (.1)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
December     Business                12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business                12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business                12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                           issues (2.8)
December     Business                12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business                12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                           to address City violations and his plan for same (1.3)
December     Business                12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business                12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business                12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                           with K. Duff and N. Mirjanich.
December     Business                12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                           removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                  properties with violations (1.5)
December     Business                12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                           Rachlis and K. Duff regarding same (2.5)
December     Business                12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business                12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business                12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                           income from property manager and conference with K. Duff regarding same.

December     Business                12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                           properties with respective management companies in charge of their water bill payments
                                                                  and reported findings to N. Mirjanich.
December     Business                12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                  12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                       other issues.
             & Objections

January      Asset                   01/20/19 KBD             390 Exchange correspondence with A. Porter regarding listing agreement for single family home               0.1 0.0027027         $1.05
2019         Disposition                                          portfolio.
January      Asset                   01/25/19 KBD             390 telephone conference with real estate broker and A. Porter regarding communications with                0.2 0.0054054         $2.11
2019         Disposition                                          title company, single family home (.2)
January      Business                01/10/19 KBD             390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)            0.3 0.0033708         $1.31
2019         Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
January      Business                01/10/19 KBD         390 study property management report (.2)                                                                0.2 0.0029412         $1.15
2019         Operations
January      Business                01/10/19 KBD         390 study property manager financial reporting (.4).                                                     0.4 0.0059701         $2.33
2019         Operations
January      Business                01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager              0.3 0.0044118         $1.72
2019         Operations                                       regarding same (.3)
January      Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                           0.1 0.0009434         $0.37
2019         Operations
January      Business                01/15/19 KBD         390 study financial reporting from other property manager (.3).                                          0.3 0.0044118         $1.72
2019         Operations
January      Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City               0.2 0.0018868         $0.74
2019         Operations                                       officials regarding scofflaw list (.2).
January      Business                01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                       0.3 0.0033708         $1.31
2019         Operations
January      Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding              0.1 0.0009434         $0.37
2019         Operations                                       portfolio compliance and disposition issues (.1)
January      Business                01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                        0.2 0.0022472         $0.88
2019         Operations
January      Business                01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                          0.1 0.0011236         $0.44
2019         Operations
January      Business                01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge          0.3 0.0033708         $1.31
2019         Operations                                       Kim and preparation for meeting with lenders' counsel (.3).
January      Business                01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                1.5 0.0168539         $6.57
2019         Operations
January      Claims                  01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                0.1 0.0011236         $0.44
2019         Administration                                   (.1)
             & Objections

January      Claims                  01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                    0.4 0.0044944         $1.75
2019         Administration                                   preparation for meeting regarding same (.4)
             & Objections

January      Claims                  01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                               0.3 0.0033708         $1.31
2019         Administration
             & Objections

January      Claims                  01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                       0.1 0.0011236         $0.44
2019         Administration                                   correspondence with real estate broker regarding same (.1)
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
January      Claims                  01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019         Administration                                   regarding same (.5).
             & Objections

January      Claims                  01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416         $2.63
2019         Administration
             & Objections

January      Claims                  01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019         Administration                                   (2.1)
             & Objections

January      Claims                  01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019         Administration                                   (.5).
             & Objections

January      Asset                   01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                      properties with institutional debt.
January      Business                01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                       issues (.5)
January      Business                01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                       with Receiver (1.2)
January      Business                01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business                01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business                01/16/19 ED          390 draft replies to requests, and email correspondence with Receiver and M. Rachlis regarding                0.8 0.0235294         $9.18
2019         Operations                                       same (.8).
January      Business                01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                       for December and communications with K. Duff regarding same (.2).

January      Business                01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                       rents for December (.1)
January      Business                01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                       assorted lenders' counsel (.3).
January      Business                01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019         Operations                                       lender's counsel to discuss questions for Receiver (.4)
January      Business                01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019         Operations
January      Business                01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                                1.0    0.011236       $4.38
2019         Operations
January      Business                01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                      0.2 0.0022472         $0.88
2019         Operations                                       meeting.


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
January      Business                01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019         Operations
January      Business                01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019         Operations                                       1 meeting (.9)
January      Business                01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019         Operations                                       insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                              counsel (.7)
January      Business                01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019         Operations                                       related exhibits and materials regarding same (4.6)
January      Business                01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019         Operations
January      Business                01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019         Operations
January      Business                01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019         Operations
January      Business                01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019         Operations                                       including detailed review of exhibits and related documents, regarding issues on rent
                                                              assignment and leases (7.8)
January      Business                01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618       $2.19
2019         Operations                                       assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                              lenders (.5).
January      Business                01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011         $7.45
2019         Operations                                       lenders' motion to enforce assignment of rents and leases (1.7)
January      Business                01/31/19 ED          390 draft reply to lender's counsel regarding access to properties for second visits and confer            0.8       0.025       $9.75
2019         Operations                                       with M. Rachlis regarding same (.8)
January      Business                01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                   0.7 0.0078652         $3.07
2019         Operations                                       meeting with lenders' counsel (.7).
January      Business                01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                              1.7 0.0191011         $7.45
2019         Operations
January      Business                01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                     6.0 0.0674157        $26.29
2019         Operations
January      Claims                  01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                             0.2 0.0022472         $0.88
2019         Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
January      Claims                  01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019         Administration                                   meeting with lenders (.5).
             & Objections

January      Claims                  01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                  01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019         Administration                                   meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                     meeting with lenders.

January      Claims                  01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

January      Claims                  01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019         Administration
             & Objections

February     Asset                   02/06/19 KBD         390 study list of single family homes and review correspondence from A. Porter regarding same               0.1 0.0027027         $1.05
2019         Disposition                                      (.1).
February     Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February     Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Asset                   02/23/19 KBD         390 Study revised representation agreement relating to single family home portfolio.                        0.2 0.0054054         $2.11
2019         Disposition
February     Asset                   02/28/19 KBD         390 Study and revise draft broker agreement for single-family home listing in draft                         0.6 0.0162162         $6.32
2019         Disposition                                      correspondence to A. Porter regarding same.
February     Business                02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business                02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business                02/07/19 KBD         390 exchange correspondence with N. Mirjanich regarding communications with city official                   0.1 0.0027027         $1.05
2019         Operations                                       regarding single family homes (.1)
February     Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                      0.3 0.0028037         $1.09
2019         Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
February     Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich           0.4 0.0037383          $1.46
2019         Operations                                       (.4)
February     Business                02/08/19 KBD         390 Meet with N. Mirjanich regarding single family home portfolio and communications with city           0.2 0.0054054          $2.11
2019         Operations                                       officials (.2)
February     Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                0.1 0.0009346          $0.36
2019         Operations
February     Business                02/13/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0058824          $2.29
2019         Operations
February     Business                02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                  0.2 0.0029412          $1.15
2019         Operations                                       and financial information (.2)
February     Business                02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                       0.2 0.0029412          $1.15
2019         Operations
February     Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment              0.1 0.0009346          $0.36
2019         Operations                                       issue (.1).
February     Business                02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                            0.1 0.0014706          $0.57
2019         Operations
February     Business                02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                  0.1 0.0014706          $0.57
2019         Operations
February     Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm              0.1 0.0009346          $0.36
2019         Operations                                       representative (.1)
February     Business                02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                  0.1 0.0014925          $0.58
2019         Operations                                       rental income (.1)
February     Business                02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                     0.1 0.0014706          $0.57
2019         Operations
February     Business                02/20/19 KBD         390 study correspondence from A. Porter regarding delinquent property taxes (.1)                         0.1       0.005        $1.95
2019         Operations
February     Business                02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                0.2 0.0029412          $1.15
2019         Operations                                       documentation (.2)
February     Business                02/21/19 KBD         390 office conferences and exchange correspondence with M. Rachlis and E. Duff regarding real            0.6         0.03      $11.70
2019         Operations                                       estate taxes and lender communications (.6).
February     Business                02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                    0.1 0.0014706          $0.57
2019         Operations
February     Business                02/22/19 KBD         390 Draft correspondence to A. Porter regarding real estate taxes (.1)                                   0.1       0.005        $1.95
2019         Operations
February     Business                02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                      0.1 0.0014706          $0.57
2019         Operations
February     Business                02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                0.2 0.0022472          $0.88
2019         Operations
February     Business                02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment          4.4 0.0494382         $19.28
2019         Operations                                       (4.4)
February     Business                02/26/19 KBD         390 draft correspondence to M. Rachlis and E. Duff regarding same (1.1)                                  1.1       0.055       $21.45
2019         Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
February     Business                02/26/19 KBD         390 Analysis of financial information and real estate tax obligations (3.9)                                 3.9       0.195      $76.05
2019         Operations
February     Business                02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                 1.3 0.0146067         $5.70
2019         Operations                                       regarding same (1.3)
February     Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                 0.1 0.0009434         $0.37
2019         Operations                                       maintenance and repairs (.1)
February     Business                02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337        $28.48
2019         Operations                                       and M. Rachlis regarding same and telephone conferences with asset managers and
                                                              property managers regarding related calculations (6.5)
February     Business                02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701         $2.33
2019         Operations                                       regarding real estate taxes and financial reporting (.4)
February     Business                02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                       (.1)
February     Business                02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                       taxes (1.4)
February     Business                02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                       spreadsheets regarding real estate tax analysis and study same (.5)
February     Claims                  02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                  02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019         Administration                                   regarding same (3.3)
             & Objections

February     Claims                  02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                  02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                  02/19/19 KBD         390 telephone conference with lenders counsel and M. Rachlis regarding various property and                 1.0    0.027027      $10.54
2019         Administration                                   loan issues (1.0)
             & Objections

February     Claims                  02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091         $1.33
2019         Administration                                   preparation of reporting (.3)
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
February     Claims                  02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                      0.3 0.0033708         $1.31
2019         Administration                                   regarding same (.3).
             & Objections

February     Claims                  02/20/19 KBD         390 study correspondence from lender's counsel regarding properties, certificates of insurance,               0.1 0.0027027         $1.05
2019         Administration                                   and loss payees (.1)
             & Objections

February     Asset                   02/06/19 AEP         390 assemble and provide information relating to single-family homes in receivership estate to K.             0.1 0.0027027         $1.05
2019         Disposition                                      Duff (.1).
February     Asset                   02/23/19 AEP         390 Finalize revisions to proposed single-family home representation agreement and circulate to               0.7 0.0189189         $7.38
2019         Disposition                                      team.
February     Business                02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019         Operations
February     Business                02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019         Operations
February     Business                02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019         Operations                                       (1.4)
February     Business                02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                       property expenses, and communicate same to K. Duff (.2)
February     Business                02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial      reporting              0.3 0.0078947         $3.08
2019         Operations                                       and evidence of insurance (.3)
February     Business                02/07/19 NM          260 correspond with K. Duff and City of Chicago commissioner secretary following meeting                      0.2 0.0054054         $1.41
2019         Operations                                       yesterday and study list of single-family home portfolio to send to same (.2)

February     Business                02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                       violation (.2)
February     Business                02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                       in receivership portfolio (1.9).
February     Business                02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019         Operations
February     Business                02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015       $3.90
2019         Operations                                       property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                              broker regarding a list of single-family home portfolio to send to same.

February     Business                02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652         $3.07
2019         Operations                                       from institutional lenders (.7).
February     Business                02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019         Operations                                       building expenses.
February     Business                02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909         $8.42
2019         Operations                                       rents by property (1.9)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
February     Business                02/15/19 ED              390 review email correspondence from lender's counsel and related notes regarding access to             0.7    0.021875        $8.53
2019         Operations                                           properties for inspection and appraisal, and draft correspondence regarding same to
                                                                  Receiver and M. Rachlis (.7)
February     Business                02/15/19 KMP             140 attention to communications with property manager regarding posting of January rents (.1).          0.1 0.0014925          $0.21
2019         Operations
February     Business                02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                        0.5    0.005618        $2.19
2019         Operations
February     Business                02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                      0.5 0.0046729          $1.82
2019         Operations
February     Business                02/19/19 KMP             140 conference with K. Duff and E. Duff regarding confirmation of property insurance coverage           0.2     0.00575        $0.81
2019         Operations                                           for single-family properties currently listed for sale, review communications from insurer
                                                                  relating to list of insured properties (.2).
February     Business                02/20/19 AEP             390 Research receivership properties with delinquent 2017 property taxes and identify same for          0.2         0.01       $3.90
2019         Operations                                           K. Duff, specifying date of upcoming tax sale.
February     Business                02/20/19 ED              390 review CHA management authorization form and related email correspondence with                      0.2 0.0029412          $1.15
2019         Operations                                           property manager and K. Duff (.2)
February     Business                02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.             0.5    0.004717        $0.66
2019         Operations
February     Business                02/21/19 MR              390 Attention to various issues on property taxes and other expense.                                    0.6         0.03      $11.70
2019         Operations
February     Business                02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                   0.2 0.0022472          $0.88
2019         Operations
February     Business                02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                         2.3 0.0258427         $10.08
2019         Operations
February     Business                02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                          0.2 0.0022472          $0.88
2019         Operations
February     Business                02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                           0.1 0.0011236          $0.44
2019         Operations
February     Business                02/25/19 AEP             390 Participate in receivership team meeting regarding potential solutions for payment of               4.4         0.22      $85.80
2019         Operations                                           property taxes.
February     Business                02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss            0.1 0.0011236          $0.44
2019         Operations                                           information for properties (.1)
February     Business                02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                  0.8 0.0089888          $3.51
2019         Operations
February     Business                02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate          4.4 0.0494382         $19.28
2019         Operations                                           taxes (4.4)
February     Business                02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel          0.7 0.0078652          $3.07
2019         Operations                                           (.7)
February     Business                02/25/19 ED              390 preparation for same (.8)                                                                           0.8 0.0089888          $3.51
2019         Operations
February     Business                02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply             0.2 0.0018868          $0.26
2019         Operations                                           with court order and issues relating to same (.2)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
February     Business                02/25/19 MR          390 telephone conferences with lenders counsel and E. Duff regarding same (.8).                             0.8         0.04      $15.60
2019         Operations
February     Business                02/25/19 MR          390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382         $19.28
2019         Operations                                       Duff, K. Duff, and A. Porter (4.4)
February     Business                02/25/19 NM          260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944          $1.17
2019         Operations
February     Business                02/26/19 ED          390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708          $1.31
2019         Operations
February     Business                02/26/19 ED          390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337         $28.48
2019         Operations                                       (6.5)
February     Business                02/26/19 ED          390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944          $1.75
2019         Operations                                       manager, and preparation of document reflecting same (.4)
February     Business                02/26/19 ED          390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652          $3.07
2019         Operations                                       counsel (.7)
February     Business                02/26/19 MR          390 Attention to property tax related issues.                                                               4.5 0.0505618         $19.72
2019         Operations
February     Business                02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                   0.2 0.0022472          $0.88
2019         Operations                                       due and sources of funds (.2)
February     Business                02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                                 0.3 0.0028302          $1.10
2019         Operations
February     Business                02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                       0.3 0.0033708          $1.31
2019         Operations
February     Business                02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of                6.5 0.0730337         $28.48
2019         Operations                                       same to determine available funds for payment of property taxes (6.5)
February     Business                02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related                 1.3 0.0146067          $5.70
2019         Operations                                       submissions and payments (1.3)
February     Business                02/27/19 MR          390 review charts regarding same (.3)                                                                       0.3 0.0033708          $1.31
2019         Operations
February     Business                02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings                5.0 0.0561798         $21.91
2019         Operations                                       with K. Duff and E. Duff regarding same (5.0).
February     Business                02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders                 0.3 0.0033708          $0.88
2019         Operations                                       with respect to escrow amounts (.3)
February     Business                02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to              0.2 0.0022472          $0.58
2019         Operations                                       costs to cure code violations (.2).
February     Business                02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                             0.8 0.0119403          $1.67
2019         Operations
February     Business                02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in              0.1 0.0014925          $0.21
2019         Operations                                       receivership (.1)
February     Business                02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                                 0.4 0.0059701          $0.84
2019         Operations
February     Business                02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                   0.5    0.005618        $2.19
2019         Operations                                       estate taxes (.5)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
February     Business                02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                       and review and analysis of documentation provided (1.8)
February     Business                02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                       funds available therefor, preparation of documentation to provide to lenders regarding each
                                                              property, preparation and revision of related communications to lenders, and consultation
                                                              with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                              (7.7).
February     Business                02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                       various financial and property documents, along with several conferences with E. Duff and K.
                                                              Duff (5.5)
February     Business                02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019         Operations                                       property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                              institutional lenders (2.7).
February     Business                02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                       counsel (.2)
February     Claims                  02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                  02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                      3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                  02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                                1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                  02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                       0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                  02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications                1.5 0.0168539         $6.57
2019         Administration                                   regarding same.
             & Objections

February     Claims                  02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to                 0.5    0.005618       $1.46
2019         Administration                                   institutional lenders prior to filing pursuant to request.
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
February     Claims                  02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                              0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                            1.0    0.011236       $4.38
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                         0.3 0.0033708         $1.31
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                                0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                  02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                           0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                  02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)              0.8 0.0089888         $3.51
2019         Administration
             & Objections

March 2019 Asset                     03/01/19 KBD         390 Telephone conference with A. Porter regarding competitive broker bids for single family             0.1 0.0027027         $1.05
           Disposition                                        home portfolio (.1)
March 2019 Asset                     03/01/19 KBD         390 draft correspondence to A. Porter regarding potential agreement with broker regarding               0.1 0.0027027         $1.05
           Disposition                                        same (.1).
March 2019 Asset                     03/07/19 KBD         390 evaluation of options with M. Rachlis regarding single family home portfolio, broker                0.2 0.0054054         $2.11
           Disposition                                        agreement, commission structure, and competitive bidding (.2)
March 2019 Asset                     03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804         $0.38
           Disposition                                        properties for sale (.1)
March 2019 Asset                     03/07/19 KBD         390 draft correspondence to broker same (.1)                                                            0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                     03/07/19 KBD         390 discuss preparation of motion for approval of sale of single family home portfolio with N.          0.1 0.0027027         $1.05
           Disposition                                        Mirjanich (.1)
March 2019 Asset                     03/11/19 KBD         390 Exchange correspondence with A. Porter regarding single family home broker agreement.               0.1 0.0027027         $1.05
           Disposition
March 2019 Asset                     03/13/19 KBD         390 Study draft motion relating to single family home portfolio and correspondence from N.              0.3 0.0081081         $3.16
           Disposition                                        Mirjanich regarding same.
March 2019 Asset                     03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,           0.3 0.0032609         $1.27
           Disposition                                        and property manager fees and expenses (.3)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Asset                     03/26/19 KBD         390 study single family home listing agreement and exchange correspondence with A. Porter                 0.2 0.0054054         $2.11
           Disposition                                        regarding same (.2)
March 2019 Asset                     03/27/19 KBD         390 office conference with E. Duff and draft correspondence to and telephone conference with              0.4 0.0108108         $4.22
           Disposition                                        A. Porter regarding same (.4)
March 2019 Asset                     03/27/19 KBD         390 Study and revise representation agreement for sale of single family homes (.5)                        0.5 0.0135135         $5.27
           Disposition
March 2019 Asset                     03/28/19 KBD         390 Study representation agreement for single family home portfolio and exchange                          0.3 0.0081081         $3.16
           Disposition                                        correspondence with A. Porter regarding agreement for single-family home portfolio (.3)

March 2019 Asset                     03/29/19 KBD         390 Study and exchange correspondence regarding single family home listing agreement.                     0.2 0.0054054         $2.11
           Disposition
March 2019 Business                  03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                      0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                  0.2 0.0018692         $0.73
           Operations
March 2019 Business                  03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax                 0.1 0.0009346         $0.36
           Operations                                         payment issues and logistics (.1)
March 2019 Business                  03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                         former counsel relating to notices of property violations (.1).

March 2019 Business                  03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                         communications with property manager (.2).
March 2019 Business                  03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                  03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                         correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                  03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                  03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                  03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                         reporting for lenders and study form of report (.6)
March 2019 Business                  03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091         $1.33
           Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
March 2019 Business                  03/21/19 KBD         390 attention to communications with lender regarding utility lease consent, communications             0.2       0.005       $1.95
           Operations                                         with separate lender regarding city actions and court order relating to porch repairs, and
                                                              communications with property manager regarding accounting report for cross-collateralized
                                                              properties (.2)
March 2019 Business                  03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for            0.3 0.0034091         $1.33
           Operations                                         lenders and study draft report form (.3)
March 2019 Business                  03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial            0.2 0.0022727         $0.89
           Operations                                         reporting by property (.2)
March 2019 Business                  03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                0.4 0.0045455         $1.77
           Operations                                         property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                    03/13/19 KBD         390 Study lenders' objections to claims process.                                                        0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 study property manager financial report (.2).                                                       0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                     0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial              0.3 0.0034091         $1.33
           Administration                                     reporting for lenders (.3)
           & Objections

March 2019 Claims                    03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                              0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 study and revise draft response to lenders' objections to claims process motion (.9)                0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 study lenders' objections (.5)                                                                      0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 office conference with N. Mirjanich regarding response to lenders' objections to claims             0.2    0.002381       $0.93
           Administration                                     process motion (.2)
           & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
March 2019 Claims                    03/27/19 KBD             390 analysis of same with M. Rachlis (.2)                                                                0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                    03/28/19 KBD             390 further study and revise draft response to lenders' objections to claims process (3.6).              3.6 0.0428571        $16.71
           Administration
           & Objections

March 2019 Claims                    03/28/19 KBD             390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)               0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                    03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                             2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Claims                    03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich              0.5 0.0059524         $2.32
           Administration                                         regarding same (.5)
           & Objections

March 2019 Asset                     03/01/19 AEP             390 Teleconference with K. Duff regarding finalization of single-family homes listing agreement          0.1 0.0027027         $1.05
           Disposition                                            and options for shopping existing bid (.1)
March 2019 Asset                     03/01/19 AEP             390 make final edits and revisions to proposed single-family home listing agreement (.3)                 0.3 0.0081081         $3.16
           Disposition
March 2019 Asset                     03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales          0.5    0.005102       $1.99
           Disposition                                            process and potential substitution for current title insurer (.5)
March 2019 Asset                     03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                 2.6 0.0393939         $5.52
           Disposition                                            management company adding PIN number and the balance due as well as accrued interest
                                                                  (2.6)
March 2019 Asset                     03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                     1.7 0.0173469         $6.77
           Disposition                                            regarding background of receivership, plan for selling receivership properties, all title
                                                                  insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                     03/07/19 NM              260 Draft motion to approve the sale process for the single-family home portfolio.                       0.9 0.0243243         $6.32
           Disposition
March 2019 Asset                     03/08/19 ED              390 Confer with N. Mirjanich regarding information relating to sales of properties from single           1.6 0.0432432        $16.86
           Disposition                                            family homes portfolio, including review and discussion of information relating to recorded
                                                                  and released liens on properties.
March 2019 Asset                     03/08/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for single-family             0.2 0.0054054         $1.41
           Disposition                                            homes (.2)
March 2019 Asset                     03/08/19 NM              260 correspond with E. Duff regarding same and regarding lender on properties and loans for              1.6 0.0432432        $11.24
           Disposition                                            same (1.6)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2019 Asset                     03/12/19 AEP             390 Teleconference with prospective broker of single family home portfolio regarding final                1.0    0.027027      $10.54
           Disposition                                            changes to listing agreement and begin making agreed- upon changes (1.0)

March 2019 Asset                     03/12/19 JR              140 Assist N. Mirjanich with the notice for publication for the motion to approve the process of          0.5 0.0135135         $1.89
           Disposition                                            sale of the single-family homes by adding PIN numbers to the notice (.5)

March 2019 Asset                     03/12/19 NM              260 draft motion to approve the process for the single- family home sale (1.4)                            1.4 0.0378378         $9.84
           Disposition
March 2019 Asset                     03/12/19 NM              260 correspond with J. Rak regarding publication notice for same (.2).                                    0.2 0.0054054         $1.41
           Disposition
March 2019 Asset                     03/13/19 AEP             390 Finalize latest draft of prospective single-family homes listing agreement and transmit same          0.5 0.0135135         $5.27
           Disposition                                            to receivership broker with prefatory comments.
March 2019 Asset                     03/13/19 NM              260 Revise motion to approve the process for the single-family home sale and send to A. Porter            0.5 0.0135135         $3.51
           Disposition                                            for comment.
March 2019 Asset                     03/16/19 AEP             390 Read and respond to e-mail from prospective broker for sale of single-family homes and                0.2 0.0054054         $2.11
           Disposition                                            prepare final draft of proposed representation agreement for mutual execution.

March 2019 Asset                     03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048         $0.74
           Disposition                                            potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                     03/26/19 AEP             390 teleconference with receivership broker regarding status of listing agreement for single-             0.1 0.0027027         $1.05
           Disposition                                            family homes (.1)
March 2019 Asset                     03/27/19 AEP             390 teleconference with M. Rachlis and K. Duff regarding outcome of discussion with property              0.4 0.0108108         $4.22
           Disposition                                            manager, cash management issues, earnest money refund issues, and proposed revisions to
                                                                  single-family home listing agreement (.4)
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                             spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                  03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                  03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                  03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                             accounting to lenders and related issues (.6)
March 2019 Business                  03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                             Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Business                  03/05/19 MR          390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/06/19 ED          390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                         (.3)
March 2019 Business                  03/06/19 ED          390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                  03/06/19 ED          390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                         correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                  03/06/19 ED          390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                  03/06/19 ED          390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                         reports to lenders (.4)
March 2019 Business                  03/06/19 ED          390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/07/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/07/19 ED          390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                         regarding same (.5)
March 2019 Business                  03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                  03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                         estate taxes (.4)
March 2019 Business                  03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091         $6.20
           Operations                                         accounting reports (1.4)
March 2019 Business                  03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091         $6.20
           Operations                                         accounting reports to lenders (1.4)
March 2019 Business                  03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818         $2.22
           Operations                                         same (.5)
March 2019 Business                  03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455         $1.77
           Operations                                         information for lender accounting reports (.4)
March 2019 Business                  03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455         $1.77
           Operations                                         reports (.4)
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091         $1.33
           Operations                                         performance at each property (.3)
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545         $2.07
           Operations                                         properties and correspond with E. Duff regarding same (.7)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
March 2019 Business                  03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same           1.8 0.0168224         $4.37
           Operations                                         (1.8)
March 2019 Business                  03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                          0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and             0.1 0.0011364         $0.44
           Operations                                         email to property manager regarding same (.1)
March 2019 Business                  03/18/19 ED          390 review and revise accounting reporting (.9)                                                          0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                   0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                              1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                              1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information              0.2 0.0018692         $0.49
           Operations                                         (.2).
March 2019 Business                  03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)             0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/19/19 ED          390 call with accountant regarding form of report (.2)                                                   0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                            0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                          0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 ED          390 review document from property manager regarding February net operating income and loss,              0.7 0.0079545         $3.10
           Operations                                         real estate tax payments, and distributions of funds to and from receiver for each property
                                                              (.7)
March 2019 Business                  03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                          0.4 0.0045455         $1.77
           Operations
March 2019 Business                  03/20/19 ED          390 confer with K. Duff (.3)                                                                             0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                          0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                      1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                   0.5 0.0056818         $2.22
           Operations                                         property manager reporting (.5)
March 2019 Business                  03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)          1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)            0.2 0.0029851         $0.78
           Operations
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by              0.8 0.0090909         $3.55
           Operations                                         property manager and Receiver (.8)


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                         of accounting report (.2)
March 2019 Business                  03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                         accounting reports (.1)
March 2019 Business                  03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                         (.2)
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations
March 2019 Business                  03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                  03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations
March 2019 Business                  03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations
March 2019 Business                  03/25/19 ED          390 confer with M. Rachlis regarding conversation with lender's counsel (.2).                              0.2 0.0054054         $2.11
           Operations
March 2019 Business                  03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                              0.2 0.0018868         $0.74
           Operations
March 2019 Business                  03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports            0.9 0.0102273         $3.99
           Operations                                         (.9)
March 2019 Business                  03/27/19 ED          390 identify responsive documents (.6)                                                                     0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/27/19 ED          390 and email correspondence regarding same (.5)                                                           0.5 0.0056818         $2.22
           Operations
March 2019 Business                  03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                    2.0 0.0227273         $8.86
           Operations                                         transfer and distribution information and relating to form of report and procedures for
                                                              populating information (2.0)
March 2019 Business                  03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property                0.3 0.0034091         $1.33
           Operations                                         managers (.3)
March 2019 Business                  03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                   0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/27/19 ED          390 calls with accountant to follow up on content and further information required for                     0.3 0.0034091         $1.33
           Operations                                         accounting reports (.3)
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                               0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties              0.2 0.0022727         $0.89
           Operations                                         (.2)
March 2019 Business                  03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                               1.8 0.0204545         $7.98
           Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                          1.6 0.0202532         $7.90
           Operations
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                          0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                     1.2 0.0136364         $5.32
           Operations
March 2019 Business                  03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain                0.2 0.0022727         $0.89
           Operations                                         outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                  03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                 0.2 0.0022727         $0.89
           Operations                                         certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                  03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                    1.2 0.0136364         $5.32
           Operations
March 2019 Business                  03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                                0.8 0.0090909         $3.55
           Operations
March 2019 Claims                    03/13/19 NM          260 Study lenders' objections to the claims motion.                                                        0.7 0.0088608         $2.30
           Administration
           & Objections

March 2019 Claims                    03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                    03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized           0.2 0.0037736         $1.47
           Administration                                     properties (.2)
           & Objections

March 2019 Claims                    03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                    03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                     cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                    03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                     cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                    03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Claims                    03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                    03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                     cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                       regarding same and study comments from same.

March 2019 Claims                    03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             3.3 0.0417722        $10.86
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same.

March 2019 Claims                    03/29/19 MR          390 work on draft response brief (1.2)                                                                     1.2 0.0151899         $5.92
           Administration
           & Objections

March 2019 Claims                    03/29/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                    03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             8.1 0.1025316        $26.66
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                   04/01/19 KBD         390 Study single family home listing agreement and draft correspondence to A. Porter regarding             0.2 0.0054054         $2.11
             Disposition                                      same.
April 2019   Asset                   04/02/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of single-family home             0.1 0.0027027         $1.05
             Disposition                                      portfolio and additional properties (.1)
April 2019   Asset                   04/03/19 KBD         390 study correspondence from A. Porter regarding motion to approve sale of single-family                  0.1 0.0027027         $1.05
             Disposition                                      home portfolio (.1).
April 2019   Asset                   04/09/19 KBD         390 study correspondence from A. Porter and N. Mirjanich regarding planning for sale of single-            0.2 0.0054054         $2.11
             Disposition                                      family home portfolio (.2).
April 2019   Asset                   04/10/19 KBD         390 Office conference with A. Porter and telephone conference with A. Porter and real estate               0.3 0.0081081         $3.16
             Disposition                                      broker regarding planning for sale of first tranche of properties and preparing for sale of
                                                              third tranche of properties and single family homes.
April 2019   Asset                   04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                           0.8 0.0087912         $3.43
             Disposition
April 2019   Asset                   04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                    0.6 0.0065934         $2.57
             Disposition
April 2019   Asset                   04/27/19 KBD         390 Exchange correspondence with A. Porter regarding sale of single-family home portfolio.                 0.2 0.0054054         $2.11
             Disposition
April 2019   Business                04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                         0.2 0.0018868         $0.74
             Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019   Business                04/05/19 KBD             390 exchange correspondence with property manager regarding estimated costs (.1)                           0.1 0.0014925         $0.58
             Operations
April 2019   Business                04/12/19 KBD             390 Study financial reporting from property managers (.6)                                                  0.6 0.0056075         $2.19
             Operations
April 2019   Business                04/12/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0018692         $0.73
             Operations
April 2019   Business                04/15/19 KBD             390 study property manager financial reporting (.4)                                                        0.4 0.0058824         $2.29
             Operations
April 2019   Business                04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778         $3.03
             Operations
April 2019   Business                04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/22/19 KBD             390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727         $0.89
             Operations                                           communication with accounting firm representative relating to same (.2)
April 2019   Business                04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126         $1.14
             Operations                                           efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business                04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383         $1.46
             Operations                                           estate tax payments and planning (.4)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417         $0.76
             Operations                                           amounts (.2)
April 2019   Claims                  04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516         $2.52
             Administration
             & Objections

April 2019   Asset                   04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037         $0.39
             Disposition                                          spreadsheet and additional account numbers (.3)
April 2019   Asset                   04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075         $0.79
             Disposition
April 2019   Asset                   04/02/19 JR              140 Email response to N. Mirjanich regarding assisting on the approval of the single-family homes          0.1 0.0027027         $0.38
             Disposition                                          motion.
April 2019   Asset                   04/02/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for the single-family           0.2 0.0054054         $1.41
             Disposition                                          home portfolio.
April 2019   Asset                   04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
             Disposition                                          certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019   Asset                   04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
             Disposition                                          Chicago water department (.2).
April 2019   Asset                   04/17/19 AEP             390 study, and revise first draft of proposed offering memorandum associated with marketing of             0.3 0.0081081         $3.16
             Disposition                                          single-family homes (.3)
April 2019   Asset                   04/17/19 AEP             390 communications with receivership brokers for single-family home portfolio regarding timing             0.2 0.0054054         $2.11
             Disposition                                          of motion to approve marketing and offering memorandum (.2).


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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2019   Asset                   04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd             3.3 0.0308411         $4.32
             Disposition                                          installment and confirm entities on our applications.
April 2019   Business                04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding          0.6 0.0068182         $2.66
             Operations                                           properties and conferences with lenders counsel regarding same (.6)

April 2019   Business                04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/01/19 MR              390 follow up emails relating to same (.3)                                                                0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                       0.5 0.0056818         $2.22
             Operations
April 2019   Business                04/01/19 MR              390 follow up on property accounting issues (.3).                                                         0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                0.2 0.0022727         $0.59
             Operations                                           property-by-property basis (.2)
April 2019   Business                04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                           0.3 0.0028037         $0.39
             Operations
April 2019   Business                04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest           2.1 0.0196262         $2.75
             Operations                                           accrual (2.1)
April 2019   Business                04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                    0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                   1.4 0.0159091         $6.20
             Operations
April 2019   Business                04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile           0.3 0.0034091         $1.33
             Operations                                           against schedule of receivership payments (.3)
April 2019   Business                04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,            0.3 0.0028302         $0.40
             Operations                                           and prepare electronic copy for email communication.
April 2019   Business                04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real               0.2 0.0028571         $1.11
             Operations                                           estate taxes.
April 2019   Business                04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                    0.2 0.0022727         $0.89
             Operations                                           accounting statements (.2)
April 2019   Business                04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)             0.2 0.0022472         $0.88
             Operations
April 2019   Business                04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                     0.3 0.0033708         $1.31
             Operations
April 2019   Business                04/09/19 ED              390 follow up with property manager (.7)                                                                  0.7 0.0079545         $3.10
             Operations
April 2019   Business                04/09/19 ED              390 and internal document review (.8) regarding same                                                      0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                 0.3 0.0034091         $1.33
             Operations                                           properties (.3).


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019   Business                04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                0.6 0.0068182         $2.66
             Operations                                           for accounting reports (.6)
April 2019   Business                04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                  0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business                04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412         $1.15
             Operations                                           amounts (.2)
April 2019   Business                04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412         $1.15
             Operations
April 2019   Business                04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                           properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business                04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business                04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business                04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business                04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business                04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                           appointing receiver for all the receiver defendants (4.2).
April 2019   Business                04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business                04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539         $6.57
             Operations                                           managers (1.5)
April 2019   Business                04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)            0.1 0.0011364         $0.44
             Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
April 2019   Business                04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727         $0.89
             Operations
April 2019   Business                04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182         $2.66
             Operations
April 2019   Business                04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273         $1.13
             Operations
April 2019   Business                04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business                04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                           managers for review (.2)
April 2019   Business                04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business                04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                           accountings (.5)
April 2019   Business                04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business                04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                           managers (.8)
April 2019   Business                04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business                04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business                04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                           reports (.2)
April 2019   Business                04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2019   Business                04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          3.8 0.0431818         $4.75
             Operations                                           property managers (3.8)
April 2019   Business                04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                       0.3 0.0034091         $0.38
             Operations
April 2019   Business                04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).              3.9 0.0443182        $17.28
             Operations
April 2019   Business                04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          0.8 0.0090909         $1.00
             Operations                                           property managers (.8)
April 2019   Business                04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                       0.2 0.0022727         $0.25
             Operations
April 2019   Claims                  04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)               0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures           0.2 0.0022727         $0.89
             Administration                                       (.2).
             & Objections

April 2019   Claims                  04/11/19 ED              390 Begin review of Receiver's property reports.                                                        1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 review reports received against financial reporting to lenders (.8)                                 0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 and research into discrepancies and questions (.7)                                                  0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                        0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                0.3 0.0029412         $1.15
             Administration                                       insurance coverage (.3)
             & Objections

May 2019     Asset                   05/01/19 KBD             390 telephone conference with A. Porter and asset manager regarding property manager                    0.2 0.0022989         $0.90
             Disposition                                          account reporting (.2)
May 2019     Asset                   05/07/19 KBD             390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                    1.3 0.0149425         $5.83
             Disposition                                          representatives regarding credit bid implications of court's order and asset disposition
                                                                  planning (1.3)


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                   05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
             Disposition                                      procedures (.2)
May 2019     Asset                   05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
             Disposition                                      portfolio equity (.1)
May 2019     Asset                   05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                   05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                   05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                      planning (1.8)
May 2019     Asset                   05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                   05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                   05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                      regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                   05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                      communications with lenders' counsel relating to same (1.1)
May 2019     Asset                   05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                      credit bid and sales procedures (.5)
May 2019     Asset                   05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                      procedures and impact of changes on sales efforts (.6)
May 2019     Asset                   05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                      procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                              communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                   05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                      engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                              Porter, and real estate broker regarding same (3.7)

May 2019     Asset                   05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                   05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                      communications with lenders' counsel relating to same (.8)
May 2019     Asset                   05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition
May 2019     Asset                   05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                      broker (.1)
May 2019     Asset                   05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business                05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business                05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                       reporting (.4)
May 2019     Business                05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business                05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                       replacement insurance (.1).
May 2019     Business                05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                       replacement of insurance coverage (.1)
May 2019     Business                05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                       insurance policies and renewals (.2).
May 2019     Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                       payment (.1).
May 2019     Business                05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
             Operations                                       allocation (.1).
May 2019     Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                       insurance (.3)
May 2019     Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                       same (.3)
May 2019     Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019     Business                05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business                05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations
May 2019     Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
             Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                      0.2 0.0019417         $0.76
             Operations                                       property insurance renewal (.2)
May 2019     Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                  0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                       0.1 0.0009709         $0.38
             Operations                                       payment (.1)
May 2019     Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                0.2 0.0019417         $0.76
             Operations                                       property insurance payment (.2)
May 2019     Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                      0.2 0.0019417         $0.76
             Operations
May 2019     Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                      0.2 0.0018692         $0.73
             Operations
May 2019     Business                05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                              0.1 0.0015625         $0.61
             Operations
May 2019     Business                05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                      0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                       0.3 0.0046875         $1.83
             Operations                                       expenses (.3)
May 2019     Claims                  05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                                   0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                  05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting                 0.2 0.0022727         $0.89
             Administration                                   reports (.2)
             & Objections




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2019     Claims                  05/10/19 KBD             390 Study correspondence from E. Duff regarding financial reporting and communications with                0.1 0.0011494         $0.45
             Administration                                       accounting firm representatives (.1)
             & Objections

May 2019     Claims                  05/14/19 KBD             390 telephone conference with accounting firm representative regarding same and timing for                 0.2 0.0022989         $0.90
             Administration                                       delivery of reports (.2)
             & Objections

May 2019     Claims                  05/14/19 KBD             390 Work with E. Duff on financial reporting (.2)                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                  05/15/19 KBD             390 telephone conference with accounting firm representative regarding same (.1).                          0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                  05/15/19 KBD             390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                              0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                  05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                     0.5 0.0056818         $2.22
             Administration                                       financial reports (.5)
             & Objections

May 2019     Claims                  05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Asset                   05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046       $3.14
             Disposition                                          accounting issues with property manager (.7).
May 2019     Asset                   05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539         $6.57
             Disposition                                          marketing and sales process (1.5).
May 2019     Asset                   05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931         $5.38
             Disposition                                          processes for next tranche of properties (1.2).
May 2019     Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                   05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                   05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
             Disposition                                          of properties.
May 2019     Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2019     Asset                   05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                   05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
             Disposition                                          and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                   05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
             Disposition
May 2019     Asset                   05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
             Disposition
May 2019     Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                   05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of           0.6 0.0122449         $3.18
             Disposition                                          second tranche of properties, and the single-family home approval motion (.6)

May 2019     Asset                   05/13/19 NM              260 correspond with M. Rachlis and A. Porter regarding approval motion for single-family homes             0.1 0.0027027         $0.70
             Disposition                                          and send same to A. Porter for comment (.1).
May 2019     Asset                   05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                   05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition
May 2019     Asset                   05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
             Disposition                                          receivership broker (1.0)
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
             Disposition
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                   05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
             Disposition
May 2019     Asset                   05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                   05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
             Disposition
May 2019     Asset                   05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes                1.9 0.0387755         $5.43
             Disposition                                          survey in preparation for marketing (1.9)
May 2019     Asset                   05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                   05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
             Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                   0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                    2.6    0.038806       $5.43
             Disposition                                          online water payment and management (2.6)
May 2019     Asset                   05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                 0.3 0.0044776         $0.63
             Disposition                                          (.3)
May 2019     Asset                   05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                         0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                           1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                   05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                     1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                   05/30/19 MR              390 and conferences regarding same (.2).                                                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
             Disposition                                          (.2).
May 2019     Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
             Operations                                           sale (2.3)
May 2019     Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923         $3.00
             Operations
May 2019     Business                05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385         $0.60
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364         $0.44
             Operations
May 2019     Business                05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417         $0.27
             Operations                                           conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business                05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/03/19 NM              260 correspond with E. Duff regarding code violation and property tax documents needed for                0.2 0.0022989         $0.60
             Operations                                           reporting and send same (.2).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella                  0.4 0.0038835         $0.54
             Operations                                       insurance renewal, and communications with K. Duff and bank representative regarding
                                                              same (.4)
May 2019     Business                05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                            0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                    0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                     0.1 0.0009709         $0.14
             Operations                                       premium finance agreement.
May 2019     Business                05/08/19 ED          390 email correspondence with property manager to request additional documentation for same                0.3 0.0034091         $1.33
             Operations                                       (.3)
May 2019     Business                05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                       2.0 0.0227273         $8.86
             Operations
May 2019     Business                05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)               0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                    0.2 0.0022727         $0.89
             Operations                                       expenditures by property (.2)
May 2019     Business                05/08/19 ED          390 and review of related documentation (.6)                                                               0.6 0.0068182         $2.66
             Operations
May 2019     Business                05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for              0.9 0.0102273         $3.99
             Operations                                       follow up questions (.9)
May 2019     Business                05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909         $3.55
             Operations                                       reports and comments and questions regarding contents (.8)
May 2019     Business                05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182        $17.28
             Operations
May 2019     Business                05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608         $0.51
             Operations                                       manager (.2)
May 2019     Business                05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455         $1.77
             Operations
May 2019     Business                05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091        $11.08
             Operations
May 2019     Business                05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818         $2.22
             Operations                                       (.5)


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
May 2019     Business                05/13/19 ED          390 review and revise draft reports (.4)                                                                 0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                               1.3 0.0126214          $4.92
             Operations
May 2019     Business                05/15/19 ED          390 email correspondence (.4)                                                                            0.4 0.0045455          $1.77
             Operations
May 2019     Business                05/15/19 ED          390 and review of related documents (.7)                                                                 0.7 0.0079545          $3.10
             Operations
May 2019     Business                05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                        0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/16/19 ED          390 review revised accounting reports from accountant (.5).                                              0.5 0.0056818          $2.22
             Operations
May 2019     Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                   1.0 0.0097087          $3.79
             Operations
May 2019     Business                05/16/19 ED          390 review documents regarding application of receivership payments to property manager by               2.2       0.025        $9.75
             Operations                                       property (2.2)
May 2019     Business                05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports           0.1 0.0011364          $0.44
             Operations                                       (.1)
May 2019     Business                05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                             0.6 0.0068182          $2.66
             Operations
May 2019     Business                05/17/19 ED          390 review and revise draft reports received (4.4)                                                       4.4         0.05      $19.50
             Operations
May 2019     Business                05/17/19 ED          390 calls with accountant regarding reports (.3)                                                         0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)            0.8 0.0090909          $3.55
             Operations
May 2019     Business                05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                0.5 0.0056818          $2.22
             Operations                                       accountants (.5)
May 2019     Business                05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of           0.3 0.0034091          $1.33
             Operations                                       accounting reports (.3)
May 2019     Business                05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                 0.9 0.0102273          $3.99
             Operations                                       accounting reports (.9)
May 2019     Business                05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     4.6 0.0522727         $20.39
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     6.4 0.0727273         $28.36
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with         10.8 0.1227273         $47.86
             Operations                                       accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                             Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364        $29.69
             Operations                                       accounting reports and several conferences regarding same, and conferences with E. Duff
                                                              and N. Mirjanich regarding same.
May 2019     Business                05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545        $11.82
             Operations
May 2019     Business                05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364         $0.30
             Operations
May 2019     Business                05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636        $33.68
             Operations                                       with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business                05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909        $18.17
             Operations
May 2019     Business                05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818         $0.80
             Operations                                       conferences with E. Duff regarding same.
May 2019     Business                05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
             Operations
May 2019     Business                05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
             Operations
May 2019     Business                05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
             Operations
May 2019     Business                05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
             Operations                                       reports (3.4).
May 2019     Business                05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
             Operations
May 2019     Business                05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
             Operations                                       and conferences with E. Duff regarding same.
May 2019     Business                05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
             Operations
May 2019     Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations
May 2019     Business                05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
             Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
             Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019     Business                05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977         $1.79
             Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2019     Business                05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of             0.9 0.0103448         $4.03
             Operations                                       accounting reports (.9)
May 2019     Business                05/30/19 ED          390 call with asset manager regarding same (.2)                                                              0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                            0.5 0.0057471         $2.24
             Operations
May 2019     Business                05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April                0.5 0.0057471         $2.24
             Operations                                       accounting reports (.5)
May 2019     Business                05/30/19 ED          390 and property manager (.8)                                                                                0.8 0.0091954         $3.59
             Operations
May 2019     Business                05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).                1.0 0.0114943         $4.48
             Operations
May 2019     Business                05/30/19 KMP         140 communications with K. Duff, A. Watychowicz, J. Rak and accountant regarding state                       0.4 0.0266667         $3.73
             Operations                                       agency's notice on filing of annual report for certain entities, and review entity documents to
                                                              verify ownership of properties (.4).
May 2019     Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                        0.1 0.0009709         $0.14
             Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)
May 2019     Business                05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                    0.2 0.0022989         $0.90
             Operations                                       required for April accounting reports (.2)
May 2019     Claims                  05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)                0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                     5.6 0.0643678        $25.10
             Administration                                   accounting reports (5.6)
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                                 0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                    0.4 0.0045977         $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting             5.0 0.0574713        $22.41
             Administration                                   documents (5.0)
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Claims                  05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                   accounting reports (.4).
             & Objections

May 2019     Claims                  05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections

May 2019     Claims                  05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

June 2019    Asset                   06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
             Disposition
June 2019    Asset                   06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
             Disposition                                      exchange various correspondence relating to same (.4)
June 2019    Asset                   06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
             Disposition                                      timing (.2)
June 2019    Asset                   06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
             Disposition                                      with lenders counsel (.1)
June 2019    Asset                   06/05/19 KBD         390 office conference with J. Rak and exchange correspondence with A. Porter regarding single             0.2 0.0054054         $2.11
             Disposition                                      family home portfolio motion to approve listing for sale (.2)
June 2019    Asset                   06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
             Disposition                                      regarding same (.6)
June 2019    Asset                   06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
             Disposition




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2019    Asset                   06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                            0.4 0.0045977         $1.79
             Disposition
June 2019    Asset                   06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures          0.6 0.0068966         $2.69
             Disposition                                      and study revised credit bid procedures (.6)
June 2019    Asset                   06/09/19 KBD         390 Draft correspondence to A. Porter regarding sale of properties and broker commission.                0.2     0.00575       $2.24
             Disposition
June 2019    Asset                   06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                0.7    0.008046       $3.14
             Disposition                                      M. Rachlis.
June 2019    Asset                   06/15/19 KBD         390 Study property marketing status report.                                                              0.2 0.0019802         $0.77
             Disposition
June 2019    Asset                   06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                 0.5       0.005       $1.95
             Disposition
June 2019    Business                06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                    0.3       0.003       $1.17
             Operations
June 2019    Business                06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties              0.5 0.0057471         $2.24
             Operations                                       (.5)
June 2019    Business                06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                           0.1 0.0009346         $0.36
             Operations
June 2019    Business                06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure            0.1 0.0011494         $0.45
             Operations                                       relating to credit bid issue (.1)
June 2019    Business                06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                  0.2 0.0019608         $0.76
             Operations                                       transfer of funds (.2)
June 2019    Business                06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                   0.1 0.0009709         $0.38
             Operations
June 2019    Business                06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                0.4 0.0038835         $1.51
             Operations                                       renewal (.4)
June 2019    Business                06/12/19 KBD         390 study property manager financial reporting (.4)                                                      0.4     0.00625       $2.44
             Operations
June 2019    Business                06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                     0.2 0.0019608         $0.76
             Operations
June 2019    Business                06/14/19 KBD         390 study property manager financial reporting (.3).                                                     0.3 0.0046875         $1.83
             Operations
June 2019    Business                06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                     0.4 0.0045977         $1.79
             Operations
June 2019    Business                06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                 0.4 0.0045977         $1.79
             Operations                                       same (.4).
June 2019    Business                06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence                0.4 0.0037383         $1.46
             Operations                                       with J. Rak regarding same (.4)
June 2019    Business                06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                  0.2 0.0019608         $0.76
             Operations                                       correspondence (.2)
June 2019    Business                06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue              0.3 0.0033333         $1.30
             Operations                                       (.3).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2019    Claims                  06/10/19 KBD         390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                   lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                     date (.3)

June 2019    Claims                  06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                   various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                  06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
             Administration                                   lender's counsel regarding credit bid procedures (.3)
             & Objections

June 2019    Claims                  06/11/19 KBD         390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                   revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                  06/14/19 KBD         390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                  06/17/19 KBD         390 study lenders motion to amend court order and exchange correspondence regarding same                 0.6 0.0098361         $3.84
             Administration                                   (.6).
             & Objections

June 2019    Claims                  06/17/19 KBD         390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                  06/21/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                  06/23/19 KBD         390 Study and revise responses to lender inquiries as to claims process.                                 0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                  06/28/19 KBD         390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit              0.2 0.0022989         $0.90
             Administration                                   bid procedures (.2)
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019    Claims                  06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                        1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
             Disposition
June 2019    Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794         $4.84
             Disposition
June 2019    Asset                   06/04/19 AEP             390 research public records and finalize list of legal descriptions, PIN's, and owners of single-           0.7 0.0189189         $7.38
             Disposition                                          family properties (.7)
June 2019    Asset                   06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652         $3.07
             Disposition
June 2019    Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
             Disposition
June 2019    Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition
June 2019    Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                          properties (.6).
June 2019    Asset                   06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714        $25.77
             Disposition                                          marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                  specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                  to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                  PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                  surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                  lists and closing documents, and numerous other transaction preparation tasks.

June 2019    Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                   06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                   06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                          of proposed credit bidding procedures (2.1)
June 2019    Asset                   06/09/19 AEP             390 prepare e-mail to team regarding property sales and single-family home portfolio tranche                0.2 0.0054054         $2.11
             Disposition                                          (.2).
June 2019    Asset                   06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                   06/10/19 AEP             390 Teleconference with real estate broker regarding overview of marketing process for single-              0.2 0.0054054         $2.11
             Disposition                                          family home portfolio and effect of potential credit bidding issues.
June 2019    Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019    Asset                   06/11/19 AEP             390 Extensive review of public records for each property owned by EB South Chicago 1, as well as            6.2 0.1675676        $65.35
             Disposition                                          all available documents in files of former EquityBuild counsel relating to the acquisition and
                                                                  financing of said properties, and begin preparation of exhibit to motion to approve sales
                                                                  process for single-family home portfolio providing all property-specific information relevant
                                                                  to consideration of motion.
June 2019    Asset                   06/12/19 AEP             390 continue reviewing public records, loan documents, and other materials in EquityBuild files             3.3 0.0891892        $34.78
             Disposition                                          and preparing motion to approve sales process for single-family home portfolio and
                                                                  supporting exhibit (3.3).
June 2019    Asset                   06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                          procedures and provide comments to team regarding same (.2)
June 2019    Asset                   06/13/19 AEP             390 Continue reviewing public records, loan documents, and other materials and preparing                    3.1 0.0837838        $32.68
             Disposition                                          motion to approve sales process for single-family home portfolio and supporting exhibit.

June 2019    Asset                   06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                   06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition
June 2019    Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
             Disposition                                          all properties (.1).
June 2019    Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                   06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
             Disposition                                          referencing all properties (.3)
June 2019    Asset                   06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
             Disposition
June 2019    Asset                   06/26/19 AEP             390 Meeting with J. Rak to collect information for completion of exhibit to motion to approve               1.5 0.0405405        $15.81
             Disposition                                          sales process for single-family home portfolio, inventory state of title and survey work,
                                                                  discuss amendments to portfolio spreadsheet, and otherwise continue organization of next
                                                                  round of motion practice and closings.
June 2019    Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
             Disposition                                          the receiver's information (.9)
June 2019    Asset                   06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
             Disposition
June 2019    Asset                   06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                 2.5 0.0277778        $10.83
             Disposition
June 2019    Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667         $2.33
             Disposition                                          receivership properties (1.8).
June 2019    Asset                   06/30/19 AEP             390 Study, edit, and revise second section of motion to approve single-family home portfolio                1.8 0.0486486        $18.97
             Disposition                                          consistent with results of final title reviews of all properties owned by EB South Chicago
                                                                  entities.




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2019    Business                06/01/19 KMP         140 Communications with A. Porter and accountant regarding status of certain entities in                  0.2 0.0133333         $1.87
             Operations                                       connection with state agency's notice on filing of annual report.
June 2019    Business                06/03/19 ED          390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/03/19 NM          260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862         $7.17
             Operations                                       and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                              same (2.4)
June 2019    Business                06/04/19 ED          390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471         $2.24
             Operations
June 2019    Business                06/07/19 ED          390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
             Operations
June 2019    Business                06/07/19 ED          390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
             Operations
June 2019    Business                06/07/19 ED          390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
             Operations
June 2019    Business                06/07/19 ED          390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
             Operations                                       current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business                06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
             Operations                                       liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                              regarding same (.4)
June 2019    Business                06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
             Operations                                       property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business                06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023      $21.07
             Operations                                       regarding allocation of funds (4.7)
June 2019    Business                06/10/19 ED          390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
             Operations
June 2019    Business                06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
             Operations
June 2019    Business                06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
             Operations
June 2019    Business                06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966         $1.79
             Operations                                       and payment of expenses from same and from Receiver's account (.6).
June 2019    Business                06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                       0.9 0.0103448         $4.03
             Operations
June 2019    Business                06/13/19 ED          390 review information from property manager regarding application of funds from Receivership             1.0 0.0114943         $4.48
             Operations                                       to property accounts (1.0)
June 2019    Business                06/13/19 ED          390 confer with M. Rachlis (.2)                                                                           0.2 0.0022989         $0.90
             Operations
June 2019    Business                06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709         $0.14
             Operations                                       payment for same (.1).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2019    Business                06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                  0.2 0.0022989         $0.90
             Operations                                       property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business                06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                0.2 0.0022989         $0.90
             Operations
June 2019    Business                06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
             Operations
June 2019    Business                06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
             Operations                                       respond to letters received from lender (.3)
June 2019    Business                06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
             Operations
June 2019    Business                06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
             Operations
June 2019    Business                06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
             Operations
June 2019    Business                06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                       regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business                06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                       manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business                06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                       accounting reports (1.0)
June 2019    Business                06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business                06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                       premiums relating to sold properties (.1)
June 2019    Business                06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business                06/26/19 ED          390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                       accounts receivables (.2).
June 2019    Business                06/27/19 ED          390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2019    Business                06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Business                06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Claims                  06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                       reporting (.6)
             & Objections

June 2019    Claims                  06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                       Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                  06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                       and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                  06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                  06/10/19 ED              390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                       and questions relating to Receiver's accounting reports.
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2019    Claims                  06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
             Administration                                   ended April 2019 (.3)
             & Objections

June 2019    Claims                  06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
             Administration                                   accounting reports to lenders (.2).
             & Objections

June 2019    Claims                  06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                   email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                  06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                  06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                      0.8 0.0089888         $2.34
             Administration                                   questions posed by lenders and revise same (.8)
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2019    Claims                  06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                             0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 prepare for (1.2)                                                                                       1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 Attention to claims related issues (.7)                                                                 0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                            0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                   07/03/19 KBD         390 telephone conference with A. Porter regarding motion for approval to list for sale single-              0.2 0.0054054         $2.11
             Disposition                                      family home portfolio (.2).
July 2019    Asset                   07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002       $0.78
             Disposition                                      properties and timing (.2)
July 2019    Asset                   07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002       $0.78
             Disposition                                      and impact on timing for sale of properties and planning (.2)
July 2019    Asset                   07/10/19 KBD         390 confer with A. Porter regarding single family home portfolio, determination of listing prices,          0.3 0.0081081         $3.16
             Disposition                                      and allocation of sales proceeds (.3)
July 2019    Asset                   07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                                0.3 0.0034483         $1.34
             Disposition
July 2019    Asset                   07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs                0.1 0.0011494         $0.45
             Disposition                                      (.1).
July 2019    Asset                   07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                     0.2       0.002       $0.78
             Disposition
July 2019    Asset                   07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                            0.2       0.002       $0.78
             Disposition
July 2019    Business                07/01/19 KBD         390 review allocation of insurance premium (.3)                                                             0.3 0.0029412         $1.15
             Operations
July 2019    Business                07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                   0.2       0.002       $0.78
             Operations                                       property manager (.2).
July 2019    Business                07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                     0.2 0.0032787         $1.28
             Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
July 2019    Business                07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding               0.5 0.0081967         $3.20
             Operations                                       previous discussions before the Court about priority and abandonment.

July 2019    Business                07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
             Operations
July 2019    Business                07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
             Operations                                       communications with asset manager regarding property management costs, and
                                                              communications with insurance broker relating to premiums (.2)
July 2019    Business                07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business                07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
             Operations                                       E. Duff (.2)
July 2019    Business                07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                       and priority of property sales (.1)
July 2019    Business                07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business                07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
             Operations                                       regarding same (2.5)
July 2019    Business                07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business                07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence            0.5    0.009434       $3.68
             Operations                                       with M. Rachlis regarding same (.5)
July 2019    Business                07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                        1.1 0.0207547         $8.09
             Operations
July 2019    Business                07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent                 0.2 0.0037736         $1.47
             Operations                                       restoration (.2)
July 2019    Business                07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                       payment for insurance (.2)
July 2019    Business                07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
             Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2019    Claims                  07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                  07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)             1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                         1.0 0.0163934         $6.39
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                0.3 0.0034483         $1.34
             Administration                                   regarding same (.3).
             & Objections

July 2019    Claims                  07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708         $1.31
             Administration                                   discussions before the Court (.3)
             & Objections

July 2019    Claims                  07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                 0.6 0.0067416         $2.63
             Administration                                   information, and case law (.6)
             & Objections

July 2019    Claims                  07/22/19 KBD         390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                 0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/23/19 KBD         390 revise motion for use of sales proceeds for rent restoration (.8)                                   0.8 0.0150943         $5.89
             Administration
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2019    Claims                  07/23/19 KBD             390 draft correspondence to and office conference with E. Duff regarding same (.2).                         0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                     0.2 0.0018519         $0.72
             Administration                                       lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                   07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                       1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                   07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19            1.6 0.0179775         $7.01
             Disposition                                          order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                  therefore (1.6)
July 2019    Asset                   07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)            1.4 0.0138614         $1.94
             Disposition
July 2019    Asset                   07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                       1.1 0.0123596         $4.82
             Disposition
July 2019    Asset                   07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                       0.5    0.005618       $2.19
             Disposition
July 2019    Asset                   07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on                0.1 0.0015873         $0.22
             Disposition                                          all properties for property manager (.1)
July 2019    Asset                   07/03/19 JR              140 update real estate taxes for properties (1.5).                                                          1.5 0.0238095         $3.33
             Disposition
July 2019    Asset                   07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                             1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                   07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts               1.2 0.0136364         $5.32
             Disposition                                          regarding same.
July 2019    Asset                   07/09/19 AEP             390 teleconference with brokers retained to sell single-family home portfolio regarding valuation           1.4 0.0378378        $14.76
             Disposition                                          methodology and allocation of sales proceeds (1.4)
July 2019    Asset                   07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                 0.5 0.0079365         $1.11
             Disposition                                          and resend (.5)
July 2019    Asset                   07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                       1.9       0.019       $2.66
             Disposition
July 2019    Asset                   07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                                1.8       0.018       $2.52
             Disposition
July 2019    Asset                   07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408         $0.80
             Disposition                                          insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                   07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804         $0.14
             Disposition                                          (.1)
July 2019    Asset                   07/23/19 AEP             390 Conference call with K. Duff, M. Rachlis, and receivership brokers regarding single-family              0.4 0.0108108         $4.22
             Disposition                                          portfolio assets and encumbrances thereon, including EBF affiliate and institutional debt (.4)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2019    Asset                   07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                 0.2 0.0022989         $0.90
             Disposition                                          institutional lenders (.2).
July 2019    Asset                   07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
             Disposition                                          (.2)
July 2019    Asset                   07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258         $0.45
             Disposition
July 2019    Asset                   07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645         $1.13
             Disposition                                          notice of motion, and electronically file same (.5)
July 2019    Asset                   07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129         $0.23
             Disposition
July 2019    Asset                   07/28/19 AEP             390 prepare remaining exhibits to motion, including proposed order, proposed form of                        0.7 0.0189189         $7.38
             Disposition                                          publication, and proposed terms and conditions of single-family residence sales process (.7)

July 2019    Asset                   07/28/19 AEP             390 prepare exhibit to motion reflecting receivership broker's allocations of individual property           1.0    0.027027      $10.54
             Disposition                                          values (1.0)
July 2019    Asset                   07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
             Disposition
July 2019    Asset                   07/28/19 AEP             390 Proofread, edit, and revise latest draft of motion to approve sales process for single-family           3.1 0.0837838        $32.68
             Disposition                                          home portfolio, review notes of teleconference with receivership broker, read white paper
                                                                  received from receivership broker explaining online marketing process, and prepare new
                                                                  section of motion regarding automated valuation methodology and allocation of estimated
                                                                  market values of individual properties (3.1)

July 2019    Asset                   07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties            1.3 0.0146067         $5.70
             Disposition                                          potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                  connection with potential settlement with institutional lender (1.3)

July 2019    Asset                   07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255         $5.35
             Disposition                                          title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                  agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                  approve sales, and other closing-related documentation in connection with all remaining
                                                                  tranches (1.4)
July 2019    Business                07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001       $0.39
             Operations                                           payment of real estate taxes (.1)
July 2019    Business                07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001       $0.39
             Operations
July 2019    Business                07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial                 0.2 0.0019608         $0.76
             Operations                                           reporting information, discussions with asset manager regarding cash flow and property
                                                                  costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business                07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                 0.2 0.0019608         $0.76
             Operations                                           coming due (.2)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
July 2019    Business                07/14/19 ED          390 Review and analysis of reports relating to property cash flow and expenses (1.1)                         1.1 0.0107843         $4.21
             Operations
July 2019    Business                07/14/19 ED          390 confer with K. Duff and email to J. Rak regarding same (.1)                                              0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/14/19 ED          390 and funds available for payment of property tax installments (.6)                                        0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/15/19 ED          390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002       $0.78
             Operations
July 2019    Business                07/15/19 ED          390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007       $2.73
             Operations                                       Rachlis and J. Rak regarding same (.7).
July 2019    Business                07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/15/19 NM          260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002       $0.52
             Operations                                       property status (.2).
July 2019    Business                07/16/19 NM          260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
             Operations                                       water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                              the same.
July 2019    Business                07/17/19 ED          390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/18/19 AW          140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
             Operations
July 2019    Business                07/18/19 MR          390 Work on issues on rent restoration (.6)                                                                  0.6 0.0113208         $4.42
             Operations
July 2019    Business                07/19/19 AW          140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804         $0.14
             Operations
July 2019    Business                07/23/19 ED          390 review of June financial reporting from property managers (.4)                                           0.4       0.004       $1.56
             Operations
July 2019    Business                07/25/19 ED          390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business                07/25/19 KMP         140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216         $0.55
             Operations                                       and communications with K. Duff and bank representative regarding same.

July 2019    Business                07/25/19 MR          390 Attention to rent restoration motion (.4)                                                                0.4 0.0075472         $2.94
             Operations
July 2019    Business                07/25/19 NM          260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for                1.0 0.0188679         $4.91
             Operations                                       rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019    Business                07/25/19 NM          260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                  0.2 0.0037736         $0.98
             Operations                                       serving the same (.2)
July 2019    Business                07/29/19 MR          390 Prepare for upcoming hearing.                                                                            0.4 0.0075472         $2.94
             Operations
July 2019    Business                07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                    0.3 0.0029412         $1.15
             Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                 Task Hours
  Month                                        Keeper                                                                                                                 Hours        Fees
July 2019    Claims                  07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership               1.4    0.016092       $6.28
             Administration                                   expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                  07/01/19 ED          390 email to accountant regarding same (.4).                                                        0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                  07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                               0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                  07/10/19 ED          390 email correspondence with accountants (.6)                                                      0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                  07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting          0.2 0.0022989         $0.90
             Administration                                   reports to lenders.
             & Objections

July 2019    Claims                  07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                       0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                      0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                 1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                         0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and email correspondence confirming next steps (.3)                                             0.3 0.0034483         $1.34
             Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2019    Claims                  07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments                   0.2 0.0022989         $0.90
             Administration                                   attributable to properties (.2)
             & Objections

July 2019    Claims                  07/14/19 ED          390 email accountant regarding same (.2)                                                                0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                        1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                  07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                  07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                   to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                  07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                   information and instructions for same (.3)
             & Objections

July 2019    Claims                  07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                   (.8)
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
July 2019    Claims                  07/18/19 ED              390 final review of May accounting reports (.7)                                                          0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED              390 email correspondence to S. Zjalic regarding organizing financial information for use in              0.5 0.0057471         $2.24
             Administration                                       preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                  07/18/19 ED              390 confer with K. Duff regarding funds used for benefit of properties (.2).                             0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/19/19 ED              390 Email correspondence with A. Watychowicz regarding preparation of May accounting                     0.1 0.0011494         $0.45
             Administration                                       reports to lenders (.1)
             & Objections

July 2019    Claims                  07/22/19 ED              390 and confer with K. Duff regarding same (1.1)                                                         1.1 0.0126437         $4.93
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                       0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of              0.5 0.0057471         $2.24
             Administration                                       real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                  07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                 0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                  07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial          1.5 0.0172414         $1.90
             Administration                                       reports from institutional landers and property managers (1.5)
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2019    Claims                  07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                  07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED              390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                       accounting reports (.9)
             & Objections

July 2019    Claims                  07/26/19 ED              390 email correspondence with accountant regarding information for inclusion in June                         0.4 0.0045977         $1.79
             Administration                                       accounting reports to lenders (.4)
             & Objections

August 2019 Asset                    08/01/19 KBD             390 Study draft motion for approval to sell single family home portfolio (.4)                                0.4 0.0108108         $4.22
            Disposition
August 2019 Asset                    08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                    08/09/19 KBD             390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                    08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest               0.1       0.001       $0.39
            Disposition                                           in properties (.1)
August 2019 Asset                    08/12/19 KBD             390 telephone conference with real estate broker and A. Porter regarding lender                              0.1 0.0011494         $0.45
            Disposition                                           communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                    08/13/19 KBD             390 Telephone conference and exchange correspondence with real estate broker regarding                       0.3       0.003       $1.17
            Disposition                                           marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                    08/15/19 KBD             390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second             0.5 0.0111111         $4.33
            Disposition                                           group of properties and single family home portfolio (.5)
August 2019 Asset                    08/15/19 KBD             390 exchange correspondence with and draft correspondence to lenders counsel regarding                       1.5 0.0172414         $6.72
            Disposition                                           credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                                  (1.5).


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
August 2019 Asset                    08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).               0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                    08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                      0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                    08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing          0.8 0.0091954         $3.59
            Disposition                                       conference with various lenders' counsel
August 2019 Asset                    08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                0.3       0.003       $1.17
            Disposition
August 2019 Business                 08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                0.1 0.0009804         $0.38
            Operations                                        expenses and insurance.
August 2019 Business                 08/12/19 KBD         390 study property manager financial reporting (.3).                                                   0.3 0.0046875         $1.83
            Operations
August 2019 Business                 08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                      0.1       0.001       $0.39
            Operations
August 2019 Business                 08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).            0.3 0.0046875         $1.83
            Operations
August 2019 Business                 08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                0.2 0.0019608         $0.76
            Operations                                        estate taxes (.2).
August 2019 Business                 08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                 08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                    0.2 0.0022989         $0.90
            Operations
August 2019 Business                 08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.           0.3       0.003       $1.17
            Operations                                        Rak regarding same (.3)
August 2019 Business                 08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                  0.5       0.005       $1.95
            Operations
August 2019 Claims                   08/08/19 KBD         390 Prepare for conference with lender's counsel (.8)                                                  0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                   08/08/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.4)                                           0.4 0.0108108         $4.22
            Administration
            & Objections

August 2019 Claims                   08/08/19 KBD         390 conference with lender's counsel (.8)                                                              0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                   08/09/19 KBD         390 study draft response to lender objections (.4).                                                    0.4 0.0065574         $2.56
            Administration
            & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
August 2019 Claims                   08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                   08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                 0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                   08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                   08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                    procedures.
            & Objections

August 2019 Claims                   08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                        0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                             0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                   08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and           1.5 0.0172414         $6.72
            Administration                                    lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                   08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions            4.3 0.0494253        $19.28
            Administration                                    (4.3)
            & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
August 2019 Claims                   08/20/19 KBD             390 telephone conference with lenders' counsel regarding preparation to market and sell single          1.2 0.0324324        $12.65
            Administration                                        family home portfolio and relating to preliminary report of claims process and upcoming
            & Objections                                          hearing (1.2)

August 2019 Claims                   08/20/19 KBD             390 confer with M. Rachlis and A. Porter regarding same (.8)                                            0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                   08/21/19 KBD             390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                       2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                   08/22/19 KBD             390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing             0.2 0.0022989         $0.90
            Administration                                        issue (.2)
            & Objections

August 2019 Claims                   08/23/19 KBD             390 Exchange correspondence with E. Duff regarding restoration of rents issue.                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/28/19 KBD             390 Study lenders' reply relating to objections.                                                        0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                   08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                      0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                   08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit             0.2 0.0022989         $0.90
            Administration                                        bid and closing costs (.2)
            & Objections

August 2019 Claims                   08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                      0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                    08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title            0.5    0.005102       $1.99
            Disposition                                           commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                  timetables (.5)
August 2019 Asset                    08/08/19 MR              390 Prepare for and participate in call with lender's counsel, A Porter and K. Duff.                    2.0 0.0540541        $21.08
            Disposition
August 2019 Asset                    08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                        0.2       0.002       $0.28
            Disposition


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
August 2019 Asset                    08/13/19 AEP             390 read e-mail from receivership broker regarding status of motion for approval to sell single-          0.1 0.0027027         $1.05
            Disposition                                           family residences and respond thereto (.1).
August 2019 Asset                    08/20/19 AEP             390 conference call with counsel for secured lender holding interests in single-family home               1.3 0.0351351        $13.70
            Disposition                                           portfolio regarding marketing process, potential objection to sales process, allocations of
                                                                  value to individual assets, and potential meeting with secured lenders to discuss global
                                                                  issues, including timing of claims process (1.3)
August 2019 Asset                    08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second             0.1 0.0022222         $0.58
            Disposition                                           tranche, and listing of all remaining properties (.1)
August 2019 Asset                    08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                  0.3 0.0056604         $1.47
            Disposition                                           rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                    08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                                  0.2 0.0037736         $1.47
            Disposition
August 2019 Asset                    08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff             1.0 0.0188679         $4.91
            Disposition                                           regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                 08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for              0.2       0.002       $0.28
            Operations                                            properties.
August 2019 Business                 08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                 1.3       0.013       $1.82
            Operations
August 2019 Business                 08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                 08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                           0.1 0.0009804         $0.38
            Operations
August 2019 Business                 08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).                0.1 0.0011236         $0.16
            Operations
August 2019 Business                 08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to                  0.1 0.0014085         $0.20
            Operations                                            payment of real estate taxes.
August 2019 Business                 08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                 0.1 0.0009804         $0.14
            Operations                                            agreement (.1).
August 2019 Business                 08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                               0.7       0.007       $2.73
            Operations
August 2019 Business                 08/21/19 MR              390 Conferences with E. Duff (.2)                                                                         0.2 0.0019608         $0.76
            Operations
August 2019 Business                 08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                     0.8       0.008       $3.12
            Operations
August 2019 Business                 08/22/19 ED              390 review of July reporting from property managers (1.2)                                                 1.2       0.012       $4.68
            Operations
August 2019 Business                 08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).               0.1 0.0009804         $0.14
            Operations
August 2019 Claims                   08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                    0.8 0.0091954         $3.59
            Administration
            & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
August 2019 Claims                   08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483         $1.34
            Administration                                        documents (.3)
            & Objections

August 2019 Claims                   08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                   08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                        accounting firm (.5).
            & Objections

August 2019 Claims                   08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                   08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                        accounting reports to lenders (.1)
            & Objections

August 2019 Claims                   08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                         0.4 0.0045977         $1.79
            Administration
            & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                   Hours        Fees
August 2019 Claims                   08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                          0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                   08/08/19 AW              140 review spreadsheets and prepare same for upcoming meeting (.6)                                    0.6 0.0139535         $1.95
            Administration
            & Objections

August 2019 Claims                   08/08/19 AW              140 confer with K. Duff regarding meeting with institutional lender (.1)                              0.1 0.0023256         $0.33
            Administration
            & Objections

August 2019 Claims                   08/08/19 AW              140 locate and download proof of claims forms submitted by institutional lender (.4)                  0.4 0.0093023         $1.30
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 call with accountant regarding same (.1)                                                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                               0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                   08/13/19 NM              260 study respond to lender objections on credit bid procedures orders, revise the same, and          0.3    0.004918       $1.28
            Administration                                        correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                   08/14/19 ED              390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)              0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/14/19 ED              390 and email correspondence with accountant regarding comments (.6)                                  0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/14/19 NM              260 study response to lender objections on credit bid procedures orders for filing (.2).              0.2 0.0032787         $0.85
            Administration
            & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
August 2019 Claims                   08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                             3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                   08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                     0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                   08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures               0.4 0.0045977         $1.79
            Administration                                    for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                   08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related               2.7 0.0310345        $12.10
            Administration                                    documents and correspondence (2.7)
            & Objections

August 2019 Claims                   08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                             0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                              0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                   08/16/19 NM          260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                    same (.3).
            & Objections

August 2019 Claims                   08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                       0.6 0.0068966         $2.69
            Administration                                    content of reports (.6)
            & Objections

August 2019 Claims                   08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                                 2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).             1.0 0.0114943         $4.48
            Administration
            & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2019 Claims                   08/19/19 ED          390 and review revised reports (3.9)                                                                       3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                   08/19/19 MR          390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                  3.5 0.0402299        $15.69
            Administration                                    follow up regarding same (3.5)
            & Objections

August 2019 Claims                   08/19/19 MR          390 attention to upcoming meeting and hearing on lender related issues (.5).                               0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                   08/19/19 MR          390 attention to order on credit bids and conferences regarding same (.3)                                  0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/20/19 MR          390 conferences with lender counsel on claims issues and property sales with K. Duff, A. Porter            1.4 0.0378378        $14.76
            Administration                                    (1.4)
            & Objections

August 2019 Claims                   08/20/19 MR          390 follow up discussion and preparation with same (.5).                                                   0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                   08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                   08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236         $0.16
            Administration                                    follow up (.1)
            & Objections

August 2019 Claims                   08/21/19 NM          260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                    study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                   08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                    accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2019 Claims                   08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                   08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494         $0.45
            Administration                                    amounts
            & Objections

August 2019 Claims                   08/28/19 ED          390 email correspondence with accountant (.6)                                                              0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483         $1.34
            Administration                                    reports to lenders (.3)
            & Objections

August 2019 Claims                   08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/30/19 NM          260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                    hearing attached as exhibit to the same (.7).
            & Objections

September    Asset                   09/04/19 KBD         390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989         $0.90
2019         Disposition
September    Asset                   09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356        $11.21
2019         Disposition                                      bidding, and hearing before Judge Lee (2.5).
September    Asset                   09/06/19 KBD         390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483         $1.34
2019         Disposition                                      regarding sales contracts and communications relating to credit bidding (.3)

September Asset                      09/09/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984         $4.95
2019      Disposition                                         with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                              marketing and property tour information.
September    Asset                   09/12/19 KBD         390 draft correspondence to lender's counsel regarding valuation information (.1).                         0.1    0.002381       $0.93
2019         Disposition
September    Asset                   09/18/19 KBD         390 Exchange correspondence with M. Rachlis regarding single family home portfolio valuation.              0.2 0.0054054         $2.11
2019         Disposition




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September    Asset                   09/21/19 KBD         390 Draft correspondence to lender's counsel regarding valuation of properties and exchange                0.3 0.0081081         $3.16
2019         Disposition                                      correspondence with M. Rachlis and A. Porter regarding same.
September    Asset                   09/23/19 KBD         390 study property valuation information relating to single family homes, draft correspondence             0.2 0.0054054         $2.11
2019         Disposition                                      to lender's counsel regarding same, and exchange correspondence with A. Porter regarding
                                                              same (.2)
September    Asset                   09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745        $14.15
2019         Disposition
September    Asset                   09/24/19 KBD         390 study property valuation information for single family home portfolio and exchange                     0.2 0.0054054         $2.11
2019         Disposition                                      correspondence regarding same (.2).
September    Asset                   09/26/19 KBD         390 Study property valuation information relating to single family home portfolio and exchange             0.3 0.0081081         $3.16
2019         Disposition                                      correspondence regarding same (.3)
September    Asset                   09/27/19 KBD         390 Exchange correspondence regarding valuation of properties.                                             0.3 0.0081081         $3.16
2019         Disposition
September    Business                09/11/19 KBD         390 study property manager financial reports (.3)                                                          0.3 0.0046875         $1.83
2019         Operations
September    Business                09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977         $1.79
2019         Operations                                       Duff regarding property financial reporting.
September    Business                09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804         $0.38
2019         Operations
September    Claims                  09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                          0.1 0.0011494         $0.45
2019         Administration
             & Objections

September Claims                     09/03/19 KBD         390 Telephone conference and exchange correspondence with broker regarding credit bids and                 0.3 0.0034483         $1.34
2019      Administration                                      communications with potential purchasers (.3)
          & Objections

September Claims                     09/10/19 KBD         390 telephone conference with real estate broker regarding credit bids and communications with             0.2 0.0022989         $0.90
2019      Administration                                      lenders representatives regarding same (.2).
          & Objections

September Claims                     09/13/19 KBD         390 study correspondence from real estate broker regarding status of credit bidding (.1)                   0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/13/19 KBD         390 study correspondence from A. Porter regarding language in purchase and sale agreement for              0.1 0.0011494         $0.45
2019      Administration                                      credit bid (.1).
          & Objections

September    Asset                   09/18/19 AEP         390 communications with K. Duff and M. Rachlis regarding single- family residence portfolio (.1).          0.1 0.0027027         $1.05
2019         Disposition
September    Asset                   09/20/19 AEP         390 Prepare e-mail to receivership broker regarding proposed exchange of valuation data with               0.1 0.0027027         $1.05
2019         Disposition                                      secured institutional lender (.1)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
September    Asset                   09/21/19 MR              390 attention to issues regarding single family portfolio related issues (.2).                            0.2 0.0054054         $2.11
2019         Disposition
September    Asset                   09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding              2.5 0.0245098         $9.56
2019         Disposition                                          same.
September    Asset                   09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                          0.3 0.0029412         $1.15
2019         Disposition
September    Asset                   09/23/19 MR              390 review various emails regarding single home portfolio and other issues (.3)                           0.3 0.0081081         $3.16
2019         Disposition
September    Asset                   09/24/19 JR              140 organize statements for real estate taxes (.3)                                                        0.3       0.003       $0.42
2019         Disposition
September    Asset                   09/24/19 MR              390 attention to emails regarding single family home portfolio and attention to various court             0.2 0.0054054         $2.11
2019         Disposition                                          orders (.2)
September    Asset                   09/25/19 JR              140 exchange correspondence with A. Porter regarding same (.3)                                            0.3 0.0081081         $1.14
2019         Disposition
September    Asset                   09/25/19 JR              140 prepare a worksheet with comparative analysis of estimated market values for the single               1.6 0.0432432         $6.05
2019         Disposition                                          family homes (1.6)
September    Asset                   09/26/19 AEP             390 Review and analyze broker opinion of values received from special servicer for institutional          0.7 0.0189189         $7.38
2019         Disposition                                          lender related to single-family residence portfolio, create spreadsheet comparing lender
                                                                  values with values used by receivership broker and generate figures comparing allocations of
                                                                  individual property values to portfolio values as ascertained by both special servicer and
                                                                  receivership broker and prepare e-mail to receivership broker regarding same.

September Asset                      09/28/19 AEP             390 Prepare e-mail to K. Duff and J. Rak regarding comparisons of broker opinions of value                0.2 0.0054054         $2.11
2019      Disposition                                             received from special servicer for institutional lender and values applied by receivership
                                                                  broker and additional exchanges of supporting documentation (.2)
September    Business                09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                       0.2 0.0022989         $0.90
2019         Operations
September    Business                09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                        0.3 0.0034483         $1.34
2019         Operations
September    Business                09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to               0.4 0.0039216         $0.55
2019         Operations                                           finance company for payment on insurance premium finance agreement (.4)

September    Business                09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                   0.2 0.0022989         $0.32
2019         Operations
September    Business                09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                          0.2 0.0022989         $0.32
2019         Operations
September    Business                09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July             3.3 0.0383721         $5.37
2019         Operations                                           2019 (3.3)
September    Business                09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                   0.5 0.0057471         $2.24
2019         Operations
September    Business                09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                        0.2 0.0022989         $0.90
2019         Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
September    Business                09/20/19 AW          140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505         $1.63
2019         Operations                                       same.
September    Business                09/20/19 ED          390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431         $3.06
2019         Operations
September    Business                09/23/19 KMP         140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216         $0.55
2019         Operations                                       transfer of funds for payment of premium finance agreement on property liability insurance
                                                              (.4)
September    Business                09/25/19 ED          390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977         $1.79
2019         Operations
September    Business                09/25/19 ED          390 review of financial reporting records (.7)                                                               0.7    0.008046       $3.14
2019         Operations
September    Claims                  09/01/19 MR          390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483         $1.34
2019         Administration                                   lender.
             & Objections

September Claims                     09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                               0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                      0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 Preliminary review of draft accounting reports to lenders (.2)                                           0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding               0.1 0.0011494         $0.45
2019      Administration                                      payment of outstanding real estate taxes (.1).
          & Objections

September Claims                     09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                            0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into                  0.2 0.0022989         $0.90
2019      Administration                                      segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                     09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                    0.3 0.0034483         $1.34
2019      Administration                                      monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                        (.3).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
September Claims                     09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                      sales (.1)
          & Objections

September Claims                     09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                        0.1 0.0018868         $0.74
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)              0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                               1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                                 1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                        0.2 0.0022989         $0.90
2019      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
September Claims                     09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                   1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                      1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                             0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                         1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                      0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                           1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                    0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/22/19 ED          390 Analysis of operating expenses.                                                                  1.5 0.0172414         $6.72
2019      Administration
          & Objections

October      Asset                   10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit          0.2 0.0022989         $0.90
2019         Disposition                                      bidding and planning for further sales.
October      Asset                   10/08/19 KBD         390 study correspondence regarding property valuation (.2)                                           0.2 0.0047619         $1.86
2019         Disposition
October      Asset                   10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                 1.0 0.0114943         $4.48
2019         Disposition                                      regarding various property sales and credit bidding (1.0)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
October      Asset                   10/17/19 KBD         390 Analysis of potential sale opportunity.                                                                   0.2 0.0022472         $0.88
2019         Disposition
October      Asset                   10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                    0.3 0.0033708         $1.31
2019         Disposition                                      same.
October      Business                10/07/19 KBD         390 study property manager financial reporting (.3).                                                          0.3 0.0046875         $1.83
2019         Operations
October      Business                10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                      0.8 0.0078431         $3.06
2019         Operations
October      Business                10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                        0.1 0.0009804         $0.38
2019         Operations
October      Business                10/15/19 KBD         390 study financial reporting from property manager (.3).                                                     0.3 0.0046875         $1.83
2019         Operations
October      Claims                  10/10/19 KBD         390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to               0.3 0.0034483         $1.34
2019         Administration                                   sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Asset                   10/01/19 AEP         390 reply to receivership broker regarding single-family home valuations (.1)                                 0.1 0.0027027         $1.05
2019         Disposition
October      Asset                   10/01/19 MR          390 Attention to single family home portfolio issues.                                                         0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/02/19 AEP         390 teleconference with counsel for special servicer regarding variations in single-family portfolio          0.4 0.0108108         $4.22
2019         Disposition                                      valuation analyses and potential for resolution of differences (.4)
October      Asset                   10/04/19 AEP         390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding                0.3 0.0034483         $1.34
2019         Disposition                                      procedures (.3)
October      Asset                   10/04/19 AEP         390 prepare e-mail to counsel for special servicer regarding prospective receipt of BOV's and                 0.1 0.0027027         $1.05
2019         Disposition                                      scheduling of conference call with clients to discuss reconciliation of same with receivership
                                                              broker listing prices (.1).
October      Asset                   10/04/19 MR          390 Attention to order on objections to sales (.4)                                                            0.4 0.0045977         $1.79
2019         Disposition
October      Asset                   10/08/19 AEP         390 analyze valuation variances relating to single family home portfolio and exchange                         0.3 0.0081081         $3.16
2019         Disposition                                      correspondence with broker and lenders' counsel regarding same (.3)
October      Asset                   10/08/19 MR          390 attention to issues on single family homes (.3)                                                           0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/16/19 AEP         390 e-mail exchanges with K. Duff regarding attempts to schedule conference call with                         0.1 0.0027027         $1.05
2019         Disposition                                      receivership broker for single-family residences and representative of lender's loan servicer
                                                              (.1)
October      Asset                   10/17/19 AEP         390 Prepare e-mail to counsel for lender on single-family residence properties regarding                      0.1 0.0027027         $1.05
2019         Disposition                                      scheduling of conference call regarding valuation and allocation issues (.1)

October      Asset                   10/17/19 AEP         390 teleconference with counsel for lender on single-family residence properties regarding                    0.4 0.0108108         $4.22
2019         Disposition                                      valuation and allocation issues and prospects for agreement on motion to approve
                                                              marketing process (.4)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
October      Asset                   10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                       0.3 0.0034884         $0.49
2019         Disposition
October      Asset                   10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank              3.2 0.0372093         $5.21
2019         Disposition                                          statement and compare (3.2).
October      Asset                   10/22/19 AEP             390 prepare e-mail to counsel for lender on single-family residence properties regarding                 0.1 0.0027027         $1.05
2019         Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1).

October      Asset                   10/22/19 AEP             390 Conference call with receivership broker for single-family residence properties regarding            0.3 0.0081081         $3.16
2019         Disposition                                          valuation issues (.3)
October      Asset                   10/23/19 MR              390 Attention to issues on single family home sales and other related issues.                            0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                0.4 0.0039216         $1.53
2019         Disposition                                          portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                   10/28/19 AEP             390 correspondence between counsel for loan servicer and receivership single-family home                 0.2 0.0054054         $2.11
2019         Disposition                                          broker regarding scheduling of conference call regarding valuations and allocations (.2).

October      Asset                   10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                       1.2 0.0137931         $5.38
2019         Disposition
October      Business                10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with               0.4 0.0045977         $1.79
2019         Operations                                           accountant regarding same.
October      Business                10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412         $1.15
2019         Operations
October      Business                10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039         $3.82
2019         Operations
October      Business                10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August              0.6 0.0068182         $2.66
2019         Operations                                           property reports.
October      Business                10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522         $2.89
2019         Operations                                           can pay out of current net operating income (1.9)
October      Business                10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303         $0.42
2019         Operations                                           spreadsheet containing unpaid taxes from property manager (.3).
October      Business                10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739         $0.30
2019         Operations
October      Business                10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.              0.5 0.0057471         $2.24
2019         Operations
October      Business                10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and           3.1 0.0360465         $5.05
2019         Operations                                           also compare funds sent to property manager from receivers' account.

October      Business                10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006       $0.84
2019         Operations
October      Business                10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002       $0.28
2019         Operations                                           estate taxes (.2)
October      Business                10/22/19 JR              140 Finalize financial reports for receivership.                                                         1.4 0.0162791         $2.28
2019         Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
October      Business                10/25/19 AW          140 Confer with E. Duff regarding accounting reports on property by property basis and prepare            0.9 0.0087379         $1.22
2019         Operations                                       same.
October      Business                10/25/19 ED          390 Review of September financial reporting from property managers (1.3)                                  1.3 0.0149425         $5.83
2019         Operations
October      Business                10/25/19 ED          390 review and organize material to send to accountant for September reports regarding income             0.8 0.0091954         $3.59
2019         Operations                                       and expenditures (.8).
October      Business                10/25/19 KMP         140 Prepare wire request for funds transfer for installment payment on premium financing                  0.3 0.0029412         $0.41
2019         Operations                                       agreement and conferences with K. Duff and bank representative relating to same.

October      Claims                  10/10/19 NM          260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid               0.4 0.0045977         $1.20
2019         Administration                                   issue (.4).
             & Objections

October      Claims                  10/17/19 ED          390 confer with J. Rak regarding same (.2).                                                               0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                  10/17/19 ED          390 Preliminary review of August accounting reports to lenders (1.5)                                      1.5 0.0174419         $6.80
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 update transmittal messages to lenders' counsel (1.6)                                                 1.6 0.0183908         $7.17
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                            2.8 0.0325581        $12.70
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                  10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019         Administration
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
October      Claims                  10/25/19 ED              390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019         Administration
             & Objections

October      Claims                  10/29/19 ED              390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256         $0.91
2019         Administration                                       reports (.2).
             & Objections

October      Claims                  10/29/19 ED              390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019         Administration                                       September (1.2)
             & Objections

November     Asset                   11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019         Disposition
November     Asset                   11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739         $0.85
2019         Disposition
November     Asset                   11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258         $1.26
2019         Disposition
November     Business                11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608         $0.76
2019         Operations                                           assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                  improvements for remaining properties in portfolio (.2)
November     Business                11/05/19 KBD             390 analysis of same (.2).                                                                                0.2 0.0019608         $0.76
2019         Operations
November     Business                11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                  0.2 0.0032787         $1.28
2019         Operations
November     Business                11/12/19 KBD             390 study property manager reports (.6).                                                                  0.6 0.0098361         $3.84
2019         Operations
November     Business                11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105         $1.64
2019         Operations                                           with E. Duff regarding same (.4)
November     Business                11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053         $0.82
2019         Operations                                           insurance and expenses (.2)
November     Business                11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding            0.3 0.0031579         $1.23
2019         Operations                                           same (.3)
November     Business                11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,             0.2 0.0021053         $0.82
2019         Operations                                           and planning (.2)
November     Asset                   11/01/19 AEP             390 teleconference with special servicer, counsel for special servicer, and receivership single-          0.6 0.0162162         $6.32
2019         Disposition                                          family residence portfolio broker regarding conflicting valuations and allocations and
                                                                  attempts to reconcile differences prior to filing of motion to approve sales process (.6)

November     Asset                   11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties            0.4 0.0043478         $1.70
2019         Disposition                                          (.4).
November     Asset                   11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                              0.9 0.0104651         $1.47
2019         Disposition


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
November     Asset                   11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                2.8 0.0294737        $11.49
2019         Disposition                                          team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                  receivership assets (2.8)
November     Asset                   11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019         Disposition
November     Asset                   11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019         Disposition                                          draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                  revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                  (8.3)
November     Asset                   11/26/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding motion to approve sales                     0.2 0.0054054         $0.76
2019         Disposition                                          process and single family homes (.2)
November     Asset                   11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674         $2.77
2019         Disposition
November     Asset                   11/27/19 JR              140 Exchange correspondence with A. Porter related to filing a motion to approve the sale                    0.1 0.0027027         $0.38
2019         Disposition                                          process for remainder of properties and single family homes (.1)
November     Asset                   11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019         Disposition                                          information that is required for future sales of properties (.2).
November     Business                11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business                11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business                11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business                11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                           reports (.4)
November     Business                11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                           (.1)
November     Business                11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                           research and communication regarding process (.6).
November     Business                11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations
November     Business                11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681         $3.43
2019         Operations                                           been sold.
November     Business                11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019         Operations                                           accounting financial statements from Receiver's accountant.
November     Business                11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019         Operations
November     Business                11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019         Operations                                           information for review (.3)
November     Business                11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961         $2.65
2019         Operations                                           receivership account and email correspondence with K. Pritchard regarding additional details
                                                                  needed (.7)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
November     Business                11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                2.8 0.0271845         $3.81
2019         Operations                                           (2.8).
November     Business                11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)           0.6 0.0066667         $0.93
2019         Operations
November     Claims                  11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                  0.4 0.0038835         $1.51
2019         Administration                                       preparation of October accounting reports to lenders.
             & Objections

November     Claims                  11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders               0.5 0.0048544         $1.89
2019         Administration                                       (.5).
             & Objections

November     Claims                  11/30/19 ED              390 Review of September property reports from accountant (3.8)                                           3.8 0.0368932        $14.39
2019         Administration
             & Objections

December     Business                12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                 0.1 0.0010526         $0.41
2019         Operations
December     Business                12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance              0.1 0.0010526         $0.41
2019         Operations                                           premium payment (.1)
December     Business                12/10/19 KBD             390 study property manager financial reporting (.5)                                                      0.5 0.0081967         $3.20
2019         Operations
December     Asset                   12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                  0.2 0.0021053         $0.29
2019         Disposition
December     Asset                   12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767       $1.09
2019         Disposition                                          preparation for review (.8)
December     Asset                   12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126         $0.41
2019         Disposition                                          (.3)
December     Asset                   12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of              0.2 0.0021053         $0.82
2019         Disposition                                          remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                  motions to approve sales (.2).
December     Asset                   12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296         $4.15
2019         Disposition                                          and information (2.4).
December     Asset                   12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395        $10.20
2019         Disposition                                          organization of closing documents and the start of preparation for closings (5.9)
December     Business                12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                           property basis and prepare same.
December     Business                12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105         $0.59
2019         Operations                                           financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business                12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                           expenses.




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  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
December     Business                12/11/19 ED              390 Review statements from property manager regarding November financial performance of                0.8    0.007767       $3.03
2019         Operations                                           properties and accounts payable (.8)
December     Business                12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                               0.1 0.0010526         $0.41
2019         Operations
December     Business                12/12/19 ED              390 and begin review of draft reports (.6).                                                            0.6 0.0058252         $2.27
2019         Operations
December     Business                12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting             0.2 0.0019417         $0.76
2019         Operations                                           reports (.2)
December     Business                12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence             0.8    0.007767       $3.03
2019         Operations                                           with accountant regarding comments and corrections.
December     Business                12/30/19 ED              390 Review revised drafts of October property accounting reports.                                      0.8    0.007767       $3.03
2019         Operations
December     Claims                  12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable          0.9 0.0087379         $3.41
2019         Administration                                       from properties (.9)
             & Objections

December     Claims                  12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                     1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                  12/02/19 MR              390 attention to various revenue reconciliation reports (.1).                                          0.1 0.0023256         $0.91
2019         Administration
             & Objections

December     Claims                  12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                   2.8 0.0271845        $10.60
2019         Administration
             & Objections

December     Claims                  12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to            0.3 0.0029126         $1.14
2019         Administration                                       lenders.
             & Objections

December     Claims                  12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and          6.4 0.0621359         $8.70
2019         Administration                                       accountant 's information (6.4)
             & Objections

December     Claims                  12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                          0.3 0.0029126         $0.41
2019         Administration
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                              Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
December     Claims                  12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).            0.4 0.0038835         $1.51
2019         Administration
             & Objections

January      Business                01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and             0.2 0.0021978         $0.86
2020         Operations                                           expense payments (.2)
January      Business                01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                  0.7    0.012069       $4.71
2020         Operations
January      Claims                  01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process              0.3 0.0033708         $1.31
2020         Administration                                       and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                  01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                              0.9 0.0101124         $3.94
2020         Administration
             & Objections

January      Asset                   01/05/20 AEP             390 read and respond to e-mail from receivership broker regarding status of motion to approve              0.1 0.0027027         $1.05
2020         Disposition                                          marketing of single-family residence portfolio (.1).
January      Asset                   01/06/20 AEP             390 Teleconference with counsel for secured lender associated with loans on single-family                  0.1 0.0027027         $1.05
2020         Disposition                                          residences regarding timing of contemplated motion to approve marketing and sale of
                                                                  portfolio (.1)
January      Asset                   01/16/20 JR              140 print property income statements for all properties received from accountant and prepare               1.2 0.0116505         $1.63
2020         Disposition                                          for further review (1.2).
January      Asset                   01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)               1.6    0.015534       $2.17
2020         Disposition
January      Asset                   01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                         0.3 0.0031579         $0.44
2020         Disposition
January      Asset                   01/27/20 JR              140 review paper real estate tax bills (1.8).                                                              1.8 0.0193548         $2.71
2020         Disposition
January      Asset                   01/30/20 AEP             390 Review surveys and survey invoices received in connection with various single-family                   0.4 0.0108108         $4.22
2020         Disposition                                          residences and update portfolio spreadsheet accordingly.
January      Asset                   01/30/20 JR              140 review surveys and invoices received from the surveying company and save to the                        1.3 0.0351351         $4.92
2020         Disposition                                          corresponding electronic files for various single family homes (1.3)
January      Asset                   01/31/20 AEP             390 Conference call with counsel for lender holding mortgage interests in single-family residence          0.2 0.0054054         $2.11
2020         Disposition                                          portfolio regarding valuations, new issues affecting title, and other related matters (.2)

January      Asset                   01/31/20 AEP             390 review surveys and survey invoices received in connection with various single-family                   0.3 0.0081081         $3.16
2020         Disposition                                          residences and update portfolio spreadsheet accordingly (.3).
January      Business                01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                  0.5 0.0048544         $1.89
2020         Operations                                           October reports.
January      Business                01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                           0.1 0.0014706         $0.21
2020         Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
January      Business                01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020         Operations                                           (1.6)
January      Business                01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020         Operations
January      Business                01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                           expenditures to properties (.1).
January      Business                01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business                01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Business                01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Business                01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020         Operations                                           insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                  01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                       regarding questions and corrections.
             & Objections

January      Claims                  01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                       received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                  01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020         Administration                                       transmit to lenders' counsel.
             & Objections

January      Claims                  01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417         $0.76
2020         Administration                                       reports through November 2019 (.2)
             & Objections

January      Claims                  01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252         $2.27
2020         Administration                                       regarding receivership income and expenditures (.6).
             & Objections

January      Claims                  01/20/20 JR              140 Prepare property management statements for December in preparation for review after                      0.6 0.0058252         $0.82
2020         Administration                                       accountant provides his copies for review.
             & Objections

January      Claims                  01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                         0.2 0.0019417         $0.76
2020         Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
January      Claims                  01/21/20 ED          390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                   to lenders (.7)
             & Objections

January      Claims                  01/21/20 ED          390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                  01/23/20 AW          140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                   property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                  01/27/20 ED          390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                   regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                  01/27/20 ED          390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                   remaining amounts reimbursable to receivership (1.5).
             & Objections

February     Asset                   02/10/20 KBD         390 exchange correspondence with A. Porter regarding sale of single-family home portfolio,                 0.2 0.0054054         $2.11
2020         Disposition                                      motion to approve, and timing (.2)
February     Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222         $0.87
2020         Disposition                                      title work (.2)
February     Asset                   02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222         $0.87
2020         Disposition                                      properties (.2)
February     Asset                   02/18/20 KBD         390 Study and revise motion to approve marketing and sale of single-family residence portfolio             1.5 0.0405405        $15.81
2020         Disposition                                      and exhibits.
February     Asset                   02/19/20 KBD         390 study and revise motion to approve listing for sale single family home portfolio (.5).                 0.5 0.0135135         $5.27
2020         Disposition
February     Asset                   02/20/20 KBD         390 work on single family home motion and valuation issues with M. Rachlis and A. Porter (1.1)             1.1 0.0297297        $11.59
2020         Disposition
February     Asset                   02/20/20 KBD         390 Work with A. Porter on motion to approve listing of single family home portfolio (1.2)                 1.2 0.0324324        $12.65
2020         Disposition
February     Asset                   02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                          0.1 0.0011111         $0.43
2020         Disposition
February     Asset                   02/21/20 KBD         390 draft correspondence to J. Rak regarding preparation for marketing and sale of properties              0.2 0.0054054         $2.11
2020         Disposition                                      (.2).
February     Asset                   02/22/20 KBD         390 draft correspondence regarding publication notice (.2).                                                0.2 0.0054054         $2.11
2020         Disposition
February     Asset                   02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                    0.1 0.0011111         $0.43
2020         Disposition




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
February     Asset                   02/24/20 KBD             390 study portfolio summary and correspondence from A. Porter regarding same (.4)                          0.4 0.0045455         $1.77
2020         Disposition
February     Asset                   02/26/20 KBD             390 exchange correspondence with real estate broker regarding potential purchasers of                      0.2 0.0054054         $2.11
2020         Disposition                                          properties (.2).
February     Asset                   02/27/20 KBD             390 Telephone conference with A. Porter regarding process for sale of single family home                   0.2 0.0054054         $2.11
2020         Disposition                                          portfolio and communications with broker and lender's counsel relating to same (.2)

February     Asset                   02/28/20 KBD             390 study motion to approve sale of single-family residence portfolio and exchange                         0.3 0.0081081         $3.16
2020         Disposition                                          correspondence regarding same (.3).
February     Business                02/10/20 KBD             390 exchange correspondence with J. Rak regarding real estate taxes and property manager                   0.1 0.0011111         $0.43
2020         Operations                                           financial reporting (.1)
February     Business                02/11/20 KBD             390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                           Duff regarding same (.4)
February     Business                02/11/20 KBD             390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)              0.4 0.0045455         $1.77
2020         Operations
February     Business                02/12/20 KBD             390 Analysis of real estate taxes, property manager financial reports, and exchange                        0.4 0.0045455         $1.77
2020         Operations                                           correspondence with J. Rak relating to same and communications with property manager.

February     Business                02/13/20 KBD             390 Study property manager financial reporting.                                                            0.4 0.0070175         $2.74
2020         Operations
February     Business                02/21/20 KBD             390 exchange correspondence with property managers and confer with J. Rak regarding payment                0.4 0.0045455         $1.77
2020         Operations                                           of real estate taxes (.4)
February     Business                02/25/20 KBD             390 review correspondence from property manager regarding payment of real estate taxes (.1)                0.1 0.0017857         $0.70
2020         Operations
February     Claims                  02/07/20 KBD             390 exchange correspondence with A. Porter and N. Mirjanich regarding timing for motions                   0.2    0.002875       $1.12
2020         Administration                                       addressing properties of differing status (.2)
             & Objections

February     Asset                   02/01/20 AEP             390 Review and analyze consolidated title commitment for single-family residence portfolio and             2.2 0.0594595        $23.19
2020         Disposition                                          insert all special exceptions into motion for leave to sell single-family residences.

February     Asset                   02/03/20 AEP             390 perform title searches on all properties owned by receivership entity and revise motion for            2.5 0.0675676        $26.35
2020         Disposition                                          leave to sell single-family residences accordingly (2.5).
February     Asset                   02/03/20 JR              140 Review and organize surveys and invoices to corresponding electronic files (.7)                        0.7 0.1166667        $16.33
2020         Disposition
February     Asset                   02/05/20 AEP             390 Perform title searches on most properties owned by fund and update motion to sell single-              3.1 0.0837838        $32.68
2020         Disposition                                          family residence portfolio accordingly (3.1)
February     Asset                   02/08/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               4.8 0.1297297        $50.59
2020         Disposition                                          paragraphs of motion to approve marketing and sale of single-family homes portfolio (4.8)

February     Asset                   02/08/20 AEP             390 rearrange and revise introductory portions of motion to approve marketing and sale of single-          1.1 0.0297297        $11.59
2020         Disposition                                          family homes portfolio (1.1).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
February     Asset                   02/09/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding                   5.5 0.1486486        $57.97
2020         Disposition                                          paragraphs of motion to approve marketing and sale of single- family homes portfolio.

February     Asset                   02/10/20 AEP             390 Proofread, edit, revise, rearrange, supplement, and fact-check all paragraphs in proposed                  4.0 0.1081081        $42.16
2020         Disposition                                          motion to approve sales of single-family homes portfolio and create final to-do list of
                                                                  remaining issues prior to final completion.
February     Asset                   02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                     0.1 0.0011111         $0.29
2020         Disposition
February     Asset                   02/11/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on single-family home portfolio               0.1 0.0027027         $1.05
2020         Disposition                                          title commitment to be waived through hold harmless letters (.1)
February     Asset                   02/11/20 JR              140 assist A. Porter on the seventh motion and create a spreadsheet of documents of record                     5.1 0.1378378        $19.30
2020         Disposition                                          needed for the motion (5.1)
February     Asset                   02/11/20 JR              140 discussion with A. Porter regarding seventh motion for court approval of process for public                0.3 0.0081081         $1.14
2020         Disposition                                          sale (.3)
February     Asset                   02/11/20 JR              140 exchange correspondence with the title company regarding same (.2).                                        0.2 0.0054054         $0.76
2020         Disposition
February     Asset                   02/12/20 JR              140 review and organize various documents of record in corresponding files regarding same                      2.2 0.0594595         $8.32
2020         Disposition                                          (2.2).
February     Asset                   02/12/20 JR              140 exchange communication with the title company regarding documents of record request for                    0.3 0.0081081         $1.14
2020         Disposition                                          the seventh motion to approve marketing of properties (.3)
February     Asset                   02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                           2.8 0.0269231         $3.77
2020         Disposition
February     Asset                   02/13/20 AEP             390 Teleconference with title company underwriter to review special exceptions on title                        2.8 0.0756757        $29.51
2020         Disposition                                          commitment relating to portfolio sale of single-family residences, potential waivers thereof
                                                                  and need for hold harmless letters (2.8)
February     Asset                   02/13/20 AEP             390 respond to inquiry from counsel for secured lender regarding next anticipated sales tranche                0.2 0.0054054         $2.11
2020         Disposition                                          and prospective listing prices (.2)
February     Asset                   02/14/20 AEP             390 Continuation of teleconference with title company underwriter to review special exceptions                 4.1 0.1108108        $43.22
2020         Disposition                                          on title commitment for single-family residence portfolio and assignment of responsibility for
                                                                  procuring hold harmless letters, certificates of compliance, and other documents evidencing
                                                                  releases of clouds on title.
February     Asset                   02/14/20 JR              140 Exchange correspondence with the title company regarding request for documents of record                   0.2 0.0054054         $0.76
2020         Disposition                                          related to the exhibits for the seventh motion.
February     Asset                   02/15/20 JR              140 Organize documents of record received from the title company related to exhibits and the                   1.9 0.0513514         $7.19
2020         Disposition                                          seventh motion.
February     Asset                   02/17/20 JR              140 Finalize the organization and assembling of the remainder of documents of record related to                2.7    0.072973      $10.22
2020         Disposition                                          the 7th motion to confirm sale into electronic files (2.7)
February     Asset                   02/18/20 AEP             390 review, update, and revise all non-title related exhibits to motion to approve marketing and               1.8 0.0486486        $18.97
2020         Disposition                                          sale of single-family home portfolio, update spreadsheet of property values to generate
                                                                  individual allocations of value and supplement motion with additional paragraphs regarding
                                                                  deferral of judicial decision on individual allocations until conclusion of portfolio sale (1.8).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Asset                   02/18/20 AEP             390 Review notes of teleconference with title company underwriter, insert summaries of current               2.4 0.0648649        $25.30
2020         Disposition                                          obstacles into body of title commitment relating to single-family home portfolio, and amend
                                                                  paragraphs of motion to approve marketing and sale of said portfolio to account for
                                                                  resolution of disputed special exceptions (2.4)

February     Asset                   02/18/20 JR              140 Organize additional documents of record related to the 7th motion of single family homes                 0.8 0.0216216         $3.03
2020         Disposition                                          (.8)
February     Asset                   02/19/20 JR              140 Organize documents of record in the electronic files in preparation of filing the 7th motion to          0.7 0.0189189         $2.65
2020         Disposition                                          approve sale of single family homes (.7)
February     Asset                   02/19/20 MR              390 attention to single family home issues (.1).                                                             0.1 0.0027027         $1.05
2020         Disposition
February     Asset                   02/20/20 AEP             390 conference with K. Duff regarding proposed modifications to first draft of motion to approve             2.3 0.0621622        $24.24
2020         Disposition                                          sale of single-family residences, valuation methodology employed by receivership broker,
                                                                  applicability of credit bidding, and allocation of value (2.3)
February     Asset                   02/20/20 MR              390 Attention to various issues regarding objections to property disposition and follow up                   1.2 0.0324324        $12.65
2020         Disposition                                          regarding same (1.2)
February     Asset                   02/20/20 MR              390 attention to single family home related issues and property disposition related matters (2.3).           2.3 0.0621622        $24.24
2020         Disposition
February     Asset                   02/21/20 AEP             390 Teleconference with counsel for lender to fund entities regarding inquiries into nature of sale          0.5 0.0135135         $5.27
2020         Disposition                                          process associated with marketing of single-family residence portfolio (.5)

February     Asset                   02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                               0.1 0.0010526         $0.15
2020         Disposition
February     Asset                   02/24/20 NM              260 Study email correspondence relating to property sales (.2)                                               0.2 0.0054054         $1.41
2020         Disposition
February     Asset                   02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties               1.2 0.0134831         $1.89
2020         Disposition                                          managed by a management company (1.2)
February     Asset                   02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                   0.1 0.0010753         $0.15
2020         Disposition
February     Asset                   02/28/20 AW              140 Assist in finalization of seventh motion to approve sales process and confirm delay in filing.           0.4 0.0108108         $1.51
2020         Disposition
February     Asset                   02/28/20 JR              140 consolidate exhibits for the single family home motion (1.7)                                             1.7 0.0459459         $6.43
2020         Disposition
February     Asset                   02/28/20 JR              140 review the single family motion and make changes (1.1)                                                   1.1 0.0297297         $4.16
2020         Disposition
February     Asset                   02/28/20 JR              140 obtain documents of record related to the exhibits pertaining to the single family motion (.3)           0.3 0.0081081         $1.14
2020         Disposition
February     Asset                   02/28/20 MR              390 Work on single family homes motion and follow up on same.                                                1.4 0.0378378        $14.76
2020         Disposition
February     Business                02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real                  0.1 0.0010753         $0.15
2020         Operations                                           estate taxes (.1)
February     Business                02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                   2.8 0.0314607         $4.40
2020         Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
February     Business                02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                    0.1 0.0011236         $0.16
2020         Operations
February     Business                02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                  0.1 0.0019608         $0.27
2020         Operations                                           taxes related to paying property taxes (.1)
February     Business                02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                 0.2 0.0019231         $0.75
2020         Operations
February     Business                02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                          0.2 0.0019231         $0.75
2020         Operations
February     Business                02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                          0.4 0.0044444         $1.73
2020         Operations
February     Business                02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                          0.3 0.0028846         $1.13
2020         Operations
February     Business                02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property               0.1 0.0019608         $0.27
2020         Operations                                           taxes (.1)
February     Business                02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property               0.2 0.0022727         $0.32
2020         Operations                                           taxes (.2).
February     Business                02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both               3.9      0.0375       $5.25
2020         Operations                                           for all EquityBuild properties.
February     Business                02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                  0.2 0.0019231         $0.75
2020         Operations
February     Business                02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                   0.1 0.0014706         $0.57
2020         Operations                                           revisions (.1).
February     Business                02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                 2.7 0.0259615        $10.13
2020         Operations                                           (2.7)
February     Business                02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business                02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020         Operations
February     Business                02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222         $0.87
2020         Operations
February     Business                02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774         $1.35
2020         Operations
February     Business                02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020         Operations
February     Business                02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Operations                                           property basis with addition of properties that have no institutional debt, prepare same, and
                                                                  report missing details for several institutional lenders (1.1)

February     Business                02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020         Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Claims                  02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                  2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                  02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and               2.6       0.025       $3.50
2020         Administration                                       property managers.
             & Objections

February     Claims                  02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                              2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                  02/16/20 MR              390 research and work on draft motion regarding claims process (5.0).                                        5.0 0.1351351        $52.70
2020         Administration
             & Objections

February     Claims                  02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                      1.2 0.0129032         $1.81
2020         Administration
             & Objections

February     Claims                  02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                      0.2 0.0019231         $0.27
2020         Administration                                       statements (.2)
             & Objections

February     Claims                  02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                 0.5 0.0048077         $1.88
2020         Administration                                       reports.
             & Objections

February     Claims                  02/28/20 AEP             390 Insert and check all exhibit cites in brief, proofread, edit, and make final revisions to same,          3.5 0.0945946        $36.89
2020         Administration                                       edit and revise credit bid procedures.
             & Objections

February     Claims                  02/28/20 NM              260 correspond with A. Porter regarding claims submitted in connection with properties in single             1.1 0.0297297         $7.73
2020         Administration                                       family home motion and study same (1.1)
             & Objections

March 2020 Asset                     03/02/20 KBD             390 study correspondence regarding revision to motion to approve sale of properties (.2).                    0.2 0.0054054         $2.11
           Disposition
March 2020 Asset                     03/09/20 KBD             390 Attention to communication from potential purchaser regarding properties (.1)                            0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                     03/16/20 KBD             390 Draft emergency motion for relief from amended general order, exchange correspondence                    2.9 0.0329545        $12.85
           Disposition                                            with M. Rachlis regarding same, and revise motion (2.9)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
March 2020 Asset                     03/16/20 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding single family residence             0.2 0.0054054         $2.11
           Disposition                                        motion and communications with lender's counsel (.2).
March 2020 Asset                     03/17/20 KBD         390 telephone conference with counsel for lender regarding single family home portfolio sales           0.1 0.0027027         $1.05
           Disposition                                        motion and motion to request amendment to briefing schedule (.1)

March 2020 Asset                     03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                    1.0 0.0015132         $0.59
           Disposition
March 2020 Asset                     03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                     03/17/20 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding single family residence             0.2 0.0054054         $2.11
           Disposition                                        motion (.2).
March 2020 Asset                     03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125       $4.88
           Disposition                                        marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                     03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111         $0.43
           Disposition                                        impact, and communications with buyers representatives (.1).
March 2020 Asset                     03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091         $1.33
           Disposition                                        marketing timing and strategy (.3)
March 2020 Asset                     03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727         $0.89
           Disposition                                        estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                     03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111         $0.43
           Disposition                                        properties (.1)
March 2020 Asset                     03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222         $0.87
           Disposition                                        efforts (.2).
March 2020 Asset                     03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091        $11.08
           Disposition                                        Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                     03/27/20 KBD         390 exchange correspondence with A. Porter regarding sale of single family residence portfolio          0.1 0.0027027         $1.05
           Disposition                                        (.1)
March 2020 Asset                     03/30/20 KBD         390 Exchange correspondence with M. Rachlis regarding single family residence motion.                   0.2 0.0054054         $2.11
           Disposition
March 2020 Business                  03/10/20 KBD         390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222         $0.87
           Operations                                         and renewal (.2).
March 2020 Business                  03/10/20 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0052632         $2.05
           Operations
March 2020 Business                  03/16/20 KBD         390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222         $0.87
           Operations                                         environment (.2).
March 2020 Business                  03/17/20 KBD         390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                   0.3 0.0034091         $1.33
           Operations
March 2020 Business                  03/18/20 KBD         390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                        0.2 0.0022727         $0.89
           Operations
March 2020 Business                  03/19/20 KBD         390 Exchange correspondence and telephone conferences regarding property management,                    0.4 0.0045455         $1.77
           Operations                                         property expenses, and COVID-19 impact (.4)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2020 Business                  03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                    0.3 0.0033708         $1.31
           Operations                                             issues and analysis (.3).
March 2020 Business                  03/31/20 KBD             390 Exchange correspondence with M. Rachlis regarding and study draft motion for relief from                0.3 0.0081081         $3.16
           Operations                                             amended scheduling order.
March 2020 Asset                     03/02/20 AW              140 revise certificate of service and email A. Porter regarding same (.1).                                  0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/02/20 AW              140 Confer with M. Rachlis and J. Rak regarding single family homes motion (.1)                             0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/02/20 JR              140 update property tax balances (1.6)                                                                      1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                     03/02/20 MR              390 Conference with A. Watychowicz regarding issues on seventh motion for approval related to               0.1 0.0027027         $1.05
           Disposition                                            service of process notice (.1)
March 2020 Asset                     03/02/20 MR              390 attention to review and revision of motion (.8)                                                         0.8 0.0216216         $8.43
           Disposition
March 2020 Asset                     03/03/20 AW              140 file motion and exhibits with the court (.2)                                                            0.2 0.0054054         $0.76
           Disposition
March 2020 Asset                     03/03/20 AW              140 finalize motion and revise notice of motion as per suggestion from counsel (.1)                         0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/03/20 AW              140 Attention to final draft of seventh motion for approval of sale process and communicate with            0.1 0.0027027         $0.38
           Disposition                                            counsel regarding exhibits (.1)
March 2020 Asset                     03/03/20 AW              140 serve as per service list (.4).                                                                         0.4 0.0108108         $1.51
           Disposition
March 2020 Asset                     03/03/20 MR              390 Further attention to various filings on single family home motion and other filings (.5)                0.5 0.0135135         $5.27
           Disposition
March 2020 Asset                     03/04/20 MR              390 Attention to various motions regarding property sales.                                                  0.7 0.0184211         $7.18
           Disposition
March 2020 Asset                     03/09/20 MR              390 Attention to court orders regarding pending motions and schedule and upcoming real estate               0.3 0.0081081         $3.16
           Disposition                                            closings (.3)
March 2020 Asset                     03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222         $0.87
           Disposition
March 2020 Asset                     03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                     03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                            and motions regarding same (1.4)
March 2020 Asset                     03/17/20 AEP             390 Read and reply to e-mails from K. Duff and M. Rachlis regarding motion to market and sell               0.1 0.0027027         $1.05
           Disposition                                            single-family home portfolio (.1)
March 2020 Asset                     03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                            and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                     03/17/20 AEP             390 teleconference with K. Duff regarding mortgagee interests in single-family residence                    0.3 0.0081081         $3.16
           Disposition                                            portfolio, and filing of motion for relief from general order continuing case calendars (.3)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                              Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2020 Asset                     03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                            properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                     03/17/20 AW              140 Work with K. Duff and M. Rachlis on motion to keep deadlines for sales motions, prepare                 1.4 0.0378378         $5.30
           Disposition                                            notice of motion, attention to multiple revisions of draft, communicate with Receivership
                                                                  team regarding same, finalize motion and file with court, serve on service list and forward to
                                                                  Judge Lee's courtroom deputy.
March 2020 Asset                     03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                     03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                     03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                     03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition
March 2020 Asset                     03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                     03/31/20 MR              390 attention to issues on draft orders (.4).                                                               0.4    0.004878       $1.90
           Disposition
March 2020 Business                  03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.                1.9 0.0215909         $3.02
           Operations
March 2020 Business                  03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                 0.1 0.0009615         $0.38
           Operations                                             properties (.1)
March 2020 Business                  03/08/20 MR              390 Attention to e-mails and follow up regarding restoration of rent and other items.                       0.3 0.0069767         $2.72
           Operations
March 2020 Business                  03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                            0.1 0.0009709         $0.14
           Operations
March 2020 Business                  03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same                2.8 0.0271845         $3.81
           Operations                                             (2.8)
March 2020 Business                  03/13/20 ED              390 Preliminary review of February reporting from property manager.                                         0.4 0.0038462         $1.50
           Operations
March 2020 Business                  03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.             1.8 0.0204545         $2.86
           Operations
March 2020 Business                  03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                     0.2 0.0022222         $0.87
           Operations
March 2020 Business                  03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy              0.3 0.0033333         $1.30
           Operations                                             renewal and related email correspondence.
March 2020 Business                  03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                   4.1 0.0398058         $5.57
           Operations
March 2020 Business                  03/30/20 ED              390 call with insurance agent regarding same (.2)                                                           0.2 0.0022472         $0.88
           Operations
March 2020 Business                  03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                    0.3 0.0033708         $1.31
           Operations


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2020 Business                  03/30/20 ED          390 Review revised statement of value (.4)                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Business                  03/30/20 ED          390 and loss history (.4)                                                                                 0.4 0.0044944         $1.75
           Operations
March 2020 Claims                    03/03/20 ED          390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                     reports (.5)
           & Objections

March 2020 Claims                    03/03/20 ED          390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                    03/03/20 ED          390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                     expenditures (.2)
           & Objections

March 2020 Claims                    03/03/20 ED          390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                     to deposit funds (.4)
           & Objections

March 2020 Claims                    03/03/20 ED          390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

March 2020 Claims                    03/31/20 AW          140 communicate with M. Rachlis regarding motion for relief from COVID-19 order that may                  0.2 0.0054054         $0.76
           Administration                                     impact sale of properties and research regarding changed procedures (.2)
           & Objections

March 2020 Claims                    03/31/20 AW          140 revisions to email to Judge Lee's courtroom deputy regarding motion (.1)                              0.1 0.0027027         $0.38
           Administration
           & Objections

March 2020 Claims                    03/31/20 AW          140 finalize motion, file, and serve (.2)                                                                 0.2 0.0054054         $0.76
           Administration
           & Objections

April 2020   Asset                   04/02/20 KBD         390 telephone conference with claimant's counsel, A. Porter, and real estate broker regarding             0.4 0.0108108         $4.22
             Disposition                                      single family residence portfolio inspection, marketing, and timing (.4)
April 2020   Asset                   04/02/20 KBD         390 telephone conference with A. Porter and real estate broker regarding single-family residence          0.5 0.0135135         $5.27
             Disposition                                      portfolio inspection, marketing, pricing, and timing (.5)
April 2020   Asset                   04/02/20 KBD         390 address publication of single-family residence (.1).                                                  0.1 0.0027027         $1.05
             Disposition




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2020   Asset                   04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                            0.2 0.0022472         $0.88
             Disposition
April 2020   Asset                   04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                   0.3 0.0041096         $1.60
             Disposition                                      estimated closing costs and notice of bids to lenders and telephone conference with real
                                                              estate broker relating to same.
April 2020   Business                04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                0.2 0.0022989         $0.90
             Operations
April 2020   Business                04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                             0.2 0.0024691         $0.96
             Operations
April 2020   Business                04/10/20 KBD         390 study property manager reporting (.3).                                                                 0.3 0.0052632         $2.05
             Operations
April 2020   Business                04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                   0.2 0.0024691         $0.96
             Operations
April 2020   Business                04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989         $0.90
             Operations
April 2020   Business                04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989         $0.90
             Operations                                       properties and review information relating to same.
April 2020   Business                04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236         $0.44
             Operations                                       coverage issue (.1)
April 2020   Business                04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236         $0.44
             Operations
April 2020   Business                04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691         $0.96
             Operations                                       insurance renewal efforts and cost (.2)
April 2020   Asset                   04/01/20 AEP         390 Teleconference with local receivership broker and counsel for institutional lenders regarding          0.6 0.0162162         $6.32
             Disposition                                      market impact on single-family home portfolio and multifamily properties and prospects for
                                                              credit bidding and preparation of e-mail to receivership broker for single-family home
                                                              portfolio regarding status of motion to approve marketing process, implications of economic
                                                              downturn on timing, and approval of national home inspection service (.6)

April 2020   Asset                   04/01/20 AEP         390 revise proposed order associated with motion to approve marketing and sale of single-family            0.2 0.0054054         $2.11
             Disposition                                      residence portfolio (.2)
April 2020   Asset                   04/01/20 MR          390 review order on clarification and other orders (.2)                                                    0.2    0.002439       $0.95
             Disposition
April 2020   Asset                   04/02/20 AEP         390 teleconference with K. Duff and receivership broker regarding marketing plans for single-              0.5 0.0135135         $5.27
             Disposition                                      family home portfolio and effects of economic downturn on timing of publication of sale (.5)

April 2020   Asset                   04/02/20 AEP         390 teleconference with K. Duff, receivership broker, and counsel for institutional lender                 0.4 0.0108108         $4.22
             Disposition                                      regarding marketing process for single-family home portfolio, retention of inspection
                                                              company, and pricing and timing (.4)
April 2020   Asset                   04/02/20 AEP         390 teleconference with K. Duff regarding next steps in process of marketing single-family homes           0.1 0.0027027         $1.05
             Disposition                                      (.1)
April 2020   Asset                   04/02/20 MR          390 conferences with K. Duff regarding issues on single family homes (.2).                                 0.2 0.0054054         $2.11
             Disposition


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2020   Asset                   04/02/20 MR          390 Attention to proposed orders and other property related issues (.9)                                   0.9 0.0243243         $9.49
             Disposition
April 2020   Asset                   04/06/20 AEP         390 teleconference with representative of property inspection company regarding pricing of                0.4 0.0108108         $4.22
             Disposition                                      individual home inspections for single-family residence portfolio, work product delivered by
                                                              inspection service, access issues (.4).
April 2020   Asset                   04/07/20 AEP         390 prepare e-mails to property managers describing single-family home inspection process and             0.4 0.0108108         $4.22
             Disposition                                      requesting advice regarding potential cooperation of tenants with receivership requests for
                                                              brief access (.4).
April 2020   Asset                   04/10/20 AEP         390 communications with property manager regarding potential rental of single-family home                 0.1 0.0027027         $1.05
             Disposition                                      subsumed within single-family home portfolio (.1)
April 2020   Asset                   04/11/20 AEP         390 read e-mail from third-party inspection service and respond with questions regarding                  0.1 0.0027027         $1.05
             Disposition                                      contractual rights and access issues (.1)
April 2020   Asset                   04/15/20 AEP         390 review updated title commitments for remaining portfolio properties and prepare list of               0.3 0.0033708         $1.31
             Disposition                                      special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                   04/19/20 AEP         390 prepare spreadsheet of single-family homes and transmit same to inspection service (.1).              0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                   04/20/20 AEP         390 update EquityBuild portfolio spreadsheet (.1)                                                         0.1 0.0011364         $0.44
             Disposition
April 2020   Business                04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                       and related documentation and correspondence.
April 2020   Business                04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Business                04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Business                04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                       requested in connection with underwriting process for insurance renewals (.3)

April 2020   Claims                  04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                   documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                  04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                  04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2020   Claims                  04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                       accounting reports (.7)
             & Objections

April 2020   Claims                  04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                       claimants (.2)
             & Objections

April 2020   Claims                  04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                       accounting reports (.9).
             & Objections

April 2020   Claims                  04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                  04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                    0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                    0.3 0.0029126         $1.14
             Administration                                       preparation of statements (.3)
             & Objections

April 2020   Claims                  04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                          0.4 0.0038835         $1.51
             Administration
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2020   Claims                  04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                       financial statements related to February reporting.
             & Objections

April 2020   Claims                  04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                  04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                       from E. Duff and accountant.
             & Objections

May 2020     Asset                   05/01/20 KBD             390 attention to property inspection and valuation for single family residences (.2).                   0.2 0.0054054         $2.11
             Disposition
May 2020     Asset                   05/12/20 KBD             390 Telephone conference with real estate broker, A. Porter, and M. Rachlis regarding pricing           0.7 0.0155556         $6.07
             Disposition                                          properties for sale, communicating with claimant's counsel regarding same, and timing for
                                                                  approval of sales currently before the court.
May 2020     Asset                   05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                          market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                   05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Asset                   05/27/20 KBD             390 exchange correspondence with A. Porter regarding inspection of properties in single family          0.1 0.0027027         $1.05
             Disposition                                          residence portfolio (.1)
May 2020     Business                05/01/20 KBD             390 draft correspondence to E. Duff regarding restoration of funds (.1).                                0.1 0.0023256         $0.91
             Operations
May 2020     Business                05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                           property improvements, expenses, and insurance renewal (.2)
May 2020     Business                05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business                05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                           property management (.3)
May 2020     Business                05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations
May 2020     Business                05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691         $0.96
             Operations
May 2020     Business                05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                0.4 0.0048193         $1.88
             Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
May 2020     Business                05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                 0.3 0.0036145         $1.41
             Operations                                           (.3)
May 2020     Business                05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                  0.6 0.0072289         $2.82
             Operations                                           renewal of insurance (.6)
May 2020     Business                05/12/20 KBD             390 study financial reporting from property manager (.3).                                              0.3 0.0054545         $2.13
             Operations
May 2020     Business                05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                  0.7 0.0084337         $3.29
             Operations
May 2020     Business                05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                   0.2 0.0024096         $0.94
             Operations                                           correspondence with asset manager regarding same (.2)
May 2020     Business                05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                   0.2 0.0023529         $0.92
             Operations                                           expenses (.2)
May 2020     Business                05/18/20 KBD             390 study property expenses and financial reporting (.8).                                              0.8 0.0076923         $3.00
             Operations
May 2020     Business                05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                 0.1 0.0011765         $0.46
             Operations
May 2020     Business                05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).          0.3 0.0037037         $1.44
             Operations
May 2020     Business                05/22/20 KBD             390 review information regarding restoration of funds (.2)                                             0.2 0.0046512         $1.81
             Operations
May 2020     Business                05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)           0.3 0.0037037         $1.44
             Operations
May 2020     Business                05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                       0.1 0.0011765         $0.46
             Operations
May 2020     Business                05/28/20 KBD             390 exchange correspondence with E. Duff regarding restoration motion (.1).                            0.1 0.0023256         $0.91
             Operations
May 2020     Asset                   05/01/20 AEP             390 Teleconference with counsel for lender on single-family portfolio and various other                0.5 0.0135135         $5.27
             Disposition                                          receivership properties regarding status of scheduled closings, market timing issues,
                                                                  inspection scheduling, and other due diligence issues (.5)
May 2020     Asset                   05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                             0.1 0.0011494         $0.16
             Disposition
May 2020     Asset                   05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st           0.1 0.0011494         $0.16
             Disposition                                          quarter of 2020 (.1)
May 2020     Asset                   05/07/20 JR              140 review financial reports related to all properties (1.4).                                          1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes            0.2 0.0035088         $0.49
             Disposition                                          (.2).
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management           0.1 0.0009709         $0.14
             Disposition                                          companies (.1)
May 2020     Asset                   05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                              1.8 0.0174757         $2.45
             Disposition




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2020     Asset                   05/10/20 AEP         390 prepare e-mail to property managers and third-party inspection service regarding initiation            0.2 0.0054054         $2.11
             Disposition                                      and coordination of home tour scheduling process in connection with single-family residence
                                                              portfolio sale (.2)
May 2020     Asset                   05/10/20 AEP         390 review single family residence files and prepare plan for collecting and organizing all due            0.3 0.0081081         $3.16
             Disposition                                      diligence materials in connection with establishment of electronic due diligence room for
                                                              prospective bidders (.3)
May 2020     Asset                   05/11/20 AEP         390 communications with property manager regarding coordination of inspections of single-                  0.1 0.0027027         $1.05
             Disposition                                      family homes (.1)
May 2020     Asset                   05/11/20 AEP         390 communications with single family home portfolio broker regarding proposed                             0.1 0.0027027         $1.05
             Disposition                                      commencement of marketing campaign (.1)
May 2020     Asset                   05/13/20 AEP         390 prepare e-mails to management companies regarding initiation of process of due diligence               0.3 0.0081081         $3.16
             Disposition                                      document collection associated with marketing of single-family residence portfolio (.3).

May 2020     Asset                   05/20/20 AEP         390 conference with clerical assistant regarding collection, inventory, and reorganization of all          0.8 0.0216216         $8.43
             Disposition                                      due diligence documentation received from property managers in connection with
                                                              marketing of single-family residence portfolio (.8)
May 2020     Asset                   05/22/20 AEP         390 communications with counsel for purchaser of receivership properties regarding status of               0.1 0.0027027         $1.05
             Disposition                                      due diligence production and revisions to title commitment (.1)
May 2020     Asset                   05/22/20 AEP         390 communications with property inspection service and property management company                        0.1 0.0027027         $1.05
             Disposition                                      regarding remaining obstacles to obtaining access to single-family residences (.1)

May 2020     Asset                   05/24/20 AEP         390 Comprehensive review of status of preparation for marketing of single-family home                      4.4 0.1189189        $46.38
             Disposition                                      portfolio, including creation of due diligence checklist, analysis of all title exceptions
                                                              requiring hold harmless letters, analysis of chain of title for all properties defectively
                                                              conveyed and research into ownership of entities now reflected as titleholders, and
                                                              inventory of property-specific leases, public assistance contracts, and utility bills.

May 2020     Business                05/01/20 KMP         140 Prepare request for funds transfer to property inspector for inspection of single family               0.4 0.0108108         $1.51
             Operations                                       homes, and communicate with K. Duff and bank regarding same.
May 2020     Business                05/01/20 MR          390 Attention to issues on motion regarding restoration of costs and other issues.                         0.2 0.0046512         $1.81
             Operations
May 2020     Business                05/07/20 ED          390 Update analysis of rent restoration and restoration amounts to Receivership from sold                  1.3 0.0126214         $4.92
             Operations                                       properties (1.3)
May 2020     Business                05/13/20 KMP         140 prepare form for funds transfer to insurance broker for down payment on financing                      0.4 0.0046512         $0.65
             Operations                                       agreement for general liability and umbrella policy and communications with K. Duff and
                                                              bank representatives regarding same (.4)
May 2020     Business                05/13/20 KMP         140 communicate with insurance broker to confirm funds transfer (.1).                                      0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/14/20 KMP         140 Communicate with insurance premium funding company regarding contract (.1)                             0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with                0.9 0.0087379         $1.22
             Operations                                       addition of properties that have no institutional debt, and communicate with E. Duff
                                                              regarding missing reports.


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
May 2020     Business                05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business                05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                       regarding same
May 2020     Business                05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                       proceeds of encumbered properties and property reporting regarding remaining restoration
                                                              amounts by property (.5).
May 2020     Business                05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business                05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                       correspondence.
May 2020     Business                05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512         $0.65
             Operations                                       property insurance finance agreement, and communicate with bank representative and K.
                                                              Duff regarding same (.4)
May 2020     Business                05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business                05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256         $0.33
             Operations                                       K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Business                05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business                05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business                05/30/20 MR          390 Attention to restoration issues (.1)                                                                0.1 0.0023256         $0.91
             Operations
May 2020     Business                05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/31/20 MR          390 exchanges with E. Duff regarding same (.3).                                                         0.3 0.0069767         $2.72
             Operations
May 2020     Business                05/31/20 MR          390 Work on issues on restoration to Receivership on properties (.5)                                    0.5 0.0116279         $4.53
             Operations
May 2020     Claims                  05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as           1.8 0.0202247         $2.83
             Administration                                   requested, and share same with Receivership team (1.8)
             & Objections




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2020     Claims                  05/10/20 AEP         390 prepare e-mail to counsel for claimant and receivership broker regarding current strategy for          0.2 0.0054054         $2.11
             Administration                                   initiating marketing of single-family residence portfolio (.2).
             & Objections

May 2020     Claims                  05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections                0.2 0.0019417         $0.76
             Administration                                   (.2).
             & Objections

May 2020     Claims                  05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                            1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)              0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property                0.3 0.0029126         $1.14
             Administration                                   accounting reports (.3).
             & Objections

May 2020     Claims                  05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                       0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 and review of related documents (.2)                                                                   0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                      0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                  05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums                0.1 0.0009709         $0.38
             Administration                                   relating to sold properties (.1).
             & Objections

May 2020     Claims                  05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports              0.5 0.0048544         $1.89
             Administration                                   (.5)
             & Objections

June 2020    Asset                   06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and                0.2 0.0024691         $0.96
             Disposition                                      planning for review of offers.




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2020    Asset                   06/08/20 KBD         390 exchange correspondence and telephone conference with A. Porter regarding inspection of               0.2 0.0054054         $2.11
             Disposition                                      single family residence portfolio and effort to list for sale (.2)
June 2020    Asset                   06/17/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding planning for listing          0.3 0.0081081         $3.16
             Disposition                                      of single family residence portfolio (.3)
June 2020    Asset                   06/23/20 KBD         390 exchange correspondence with real estate broker regarding inspection and valuation                    0.2 0.0054054         $2.11
             Disposition                                      information for single family residence portfolio (.2).
June 2020    Asset                   06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.             1.5 0.0185185         $7.22
             Disposition                                      Rachlis regarding same (1.5)
June 2020    Business                06/02/20 KBD         390 study information regarding restoration of funds (.3).                                                0.3 0.0068182         $2.66
             Operations
June 2020    Business                06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                     0.1 0.0019231         $0.75
             Operations
June 2020    Business                06/06/20 KBD         390 Study draft restoration motion.                                                                       0.2 0.0045455         $1.77
             Operations
June 2020    Business                06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                0.1 0.0012048         $0.47
             Operations
June 2020    Business                06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                       0.5     0.00625       $2.44
             Operations                                       Pritchard regarding same (.5)
June 2020    Business                06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange                0.4       0.005       $1.95
             Operations                                       correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business                06/12/20 KBD         390 study correspondence regarding restoration analysis and related issues (.3).                          0.3 0.0068182         $2.66
             Operations
June 2020    Business                06/14/20 KBD         390 Revise motion for reimbursement of property expenses (.3)                                             0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/15/20 KBD         390 Study financial reporting from property manager.                                                      0.2 0.0037736         $1.47
             Operations
June 2020    Business                06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                             0.2 0.0025641         $1.00
             Operations
June 2020    Business                06/27/20 KBD         390 Revise draft second restoration motion and research regarding same.                                   1.1       0.025       $9.75
             Operations
June 2020    Business                06/28/20 KBD         390 Draft and revise draft second restoration motion.                                                     2.8 0.0636364        $24.82
             Operations
June 2020    Business                06/29/20 KBD         390 Draft and revise second restoration motion and draft correspondence to M. Rachlis                     1.4 0.0318182        $12.41
             Operations                                       regarding same (1.4)
June 2020    Business                06/29/20 KBD         390 exchange correspondence with insurance broker regarding certificate of insurance                      0.2 0.0047619         $1.86
             Operations                                       information for claimant and exchange correspondence with claimant's counsel regarding
                                                              same (.2)
June 2020    Business                06/30/20 KBD         390 Draft and revise restoration motion and exchange correspondence with K. Pritchard and M.              0.9 0.0204545         $7.98
             Operations                                       Rachlis regarding same (.9)
June 2020    Business                06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                         0.2 0.0027397         $1.07
             Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
June 2020    Claims                  06/04/20 KBD         390 draft correspondence to lenders' counsel regarding various questions relating to lease             0.5 0.0135135         $5.27
             Administration                                   renewal and property inspections and investigate information relating to same (.5)
             & Objections

June 2020    Claims                  06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/09/20 KBD         390 study objections to claims process motion (.5)                                                     0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD         390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD         390 Work on claims motion reply with M. Rachlis (.6)                                                   0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                  06/18/20 KBD         390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit          0.2 0.0022989         $0.90
             Administration                                   bidding (.2)
             & Objections

June 2020    Claims                  06/19/20 KBD         390 Study and revise reply for claims process motion (.7)                                              0.7 0.0078652         $3.07
             Administration
             & Objections




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  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
June 2020    Claims                  06/22/20 KBD             390 study SEC reply brief (.3)                                                                                0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections

June 2020    Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                                  0.1 0.0012048         $0.17
             Disposition
June 2020    Asset                   06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale                3.2 0.0385542         $5.40
             Disposition                                          related to same (3.2)
June 2020    Asset                   06/09/20 AEP             390 prepare final form orders for presentation to court in connection with imminent approval of               0.1 0.0027027         $1.05
             Disposition                                          7th motion to approve sales (.1)
June 2020    Asset                   06/10/20 JR              140 review water certificate applications related to properties under contract and granted by the             0.2 0.0054054         $0.76
             Disposition                                          judge to sell (.2)
June 2020    Asset                   06/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                                0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                   06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered                 0.8 0.0097561         $3.80
             Disposition                                          against receivership properties in connection with ascertainment of final payoffs and release
                                                                  of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                   06/15/20 AEP             390 e-mail communications with counsel for lenders associated with single-family homes                        0.2 0.0054054         $2.11
             Disposition                                          regarding irregularities in due diligence documents and prepare e-mail to inspection
                                                                  company regarding status of completion of work (.2)
June 2020    Asset                   06/16/20 AEP             390 Preliminary review and organization of inspection reports received in connection with nearly              0.6 0.0162162         $6.32
             Disposition                                          all properties in single-family residence portfolio (.6)
June 2020    Asset                   06/17/20 AEP             390 Teleconference with J. Rak regarding preparation of definitive spreadsheet of judgments                   1.3 0.0351351        $13.70
             Disposition                                          entered against receivership entities, status of preparation of closing documents for next
                                                                  sales tranche, reorganization of inspection documentation produced in connection with
                                                                  single-family home portfolio, and creation of action list (1.3)

June 2020    Asset                   06/17/20 AEP             390 prepare e-mail to K. Duff and others regarding issues associated with production of certain               0.2 0.0054054         $2.11
             Disposition                                          inspection documentation in connection with marketing and sale of single-family home
                                                                  portfolio (.2)
June 2020    Asset                   06/17/20 JR              140 confer with A. Porter regarding status of properties that are closing and single family home              1.3 0.0351351         $4.92
             Disposition                                          updates to due diligence documents (1.3)
June 2020    Asset                   06/18/20 AEP             390 Communications with K. Duff, receivership broker, and counsel for claimants regarding                     0.2 0.0054054         $2.11
             Disposition                                          potential exclusion of work orders from due diligence files to be made available to
                                                                  prospective bidders on single-family residence portfolio and implications for listing price (.2)

June 2020    Asset                   06/18/20 JR              140 review of single family home due diligence folders (.1)                                                   0.1 0.0027027         $0.38
             Disposition


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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
June 2020    Asset                   06/18/20 MR              390 attention to single family portfolio issues (.1).                                                    0.1 0.0027027         $1.05
             Disposition
June 2020    Asset                   06/19/20 AEP             390 communications with inspection vendor regarding completion of inspection reports on single-          0.1 0.0027027         $1.05
             Disposition                                          family residence portfolio (.1)
June 2020    Asset                   06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                 0.2 0.0024691         $0.96
             Disposition                                          portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                   06/23/20 JR              140 review email from K. Duff regarding unsold properties (.3)                                           0.3 0.0081081         $1.14
             Disposition
June 2020    Asset                   06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).             1.5 0.0185185         $7.22
             Disposition
June 2020    Asset                   06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                       0.4 0.0049383         $1.93
             Disposition
June 2020    Business                06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by               0.7 0.0067961         $2.65
             Operations                                           receivership.
June 2020    Business                06/01/20 MR              390 conference with E. Duff regarding restoration of funds (.7).                                         0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/01/20 MR              390 Follow up on emails regarding issues on restoration (.7)                                             0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting          1.9 0.0184466         $7.19
             Operations                                           reports (1.9)
June 2020    Business                06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                             0.4 0.0038835         $1.51
             Operations
June 2020    Business                06/02/20 MR              390 Attention to issues on rent restoration and follow up from E. Duff.                                  0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related              1.0 0.0097087         $3.79
             Operations                                           documents and correspondence.
June 2020    Business                06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                0.2 0.0019417         $0.76
             Operations                                           expenditures during March 2020.
June 2020    Business                06/06/20 MR              390 Analysis of various issues on issues associated with restoration of funds.                           2.6 0.0604651        $23.58
             Operations
June 2020    Business                06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                   0.2 0.0019417         $0.76
             Operations                                           correspondence with B. Fish regarding same.
June 2020    Business                06/08/20 MR              390 Attention to restoration issues.                                                                     0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/09/20 MR              390 Attention to motion on restoration of funds.                                                         0.4 0.0090909         $3.55
             Operations
June 2020    Business                06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961         $2.65
             Operations
June 2020    Business                06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835         $1.51
             Operations
June 2020    Business                06/12/20 MR              390 Conferences with K. Duff regarding restoration issues (.7)                                           0.7 0.0162791         $6.35
             Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
June 2020    Business                06/12/20 MR          390 attention to emails regarding same (.2).                                                            0.2 0.0045455         $1.77
             Operations
June 2020    Business                06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                           0.5 0.0048544         $1.89
             Operations
June 2020    Business                06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting             0.6 0.0058252         $2.27
             Operations                                       reports to reflect allocation of premium installment payments and refunds to sold and
                                                              unsold properties (.6)
June 2020    Business                06/23/20 MR          390 Attention to issues on restoration issues and information regarding same, and review                1.2 0.0272727        $10.64
             Operations                                       restoration, and exchanges with E. Duff regarding same.
June 2020    Business                06/24/20 ED          390 call with accountant to discuss same (.1).                                                          0.1 0.0009709         $0.38
             Operations
June 2020    Business                06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)          0.2 0.0019417         $0.76
             Operations
June 2020    Business                06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to              0.3 0.0036585         $0.51
             Operations                                       installment on insurance premium financing and communicate with K. Duff regarding same
                                                              (.3).
June 2020    Business                06/29/20 JRW         260 review and revise restoration motion (.7).                                                          0.7 0.0162791         $4.23
             Operations
June 2020    Business                06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team              0.8 0.0109589         $1.53
             Operations                                       regarding same, and scan tax bills (.8).
June 2020    Business                06/30/20 JRW         260 multiple communications with litigation team regarding restoration motion and affected              0.5 0.0116279         $3.02
             Operations                                       properties (.5).
June 2020    Business                06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                      0.2 0.0027027         $0.70
             Operations
June 2020    Business                06/30/20 MR          390 Further work on restoration motion and several exchanges regarding same.                            3.0 0.0681818        $26.59
             Operations
June 2020    Claims                  06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor               0.3 0.0033708         $0.47
             Administration                                   regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                  06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                      2.4 0.0269663        $10.52
             Administration
             & Objections

June 2020    Claims                  06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).             2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 MR          390 Conferences regarding issues on brief.                                                              0.3 0.0033708         $1.31
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
June 2020    Claims                  06/16/20 MR          390 Review and revise brief (3.5)                                                                     3.5 0.0393258        $15.34
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                      0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                  06/23/20 AW          140 email exchanges with K. Duff and J. Rak regarding claims made (properties 16-57) (.3).            0.3 0.0071429         $1.00
             Administration
             & Objections

July 2020    Asset                   07/14/20 KBD         390 study correspondence regarding single family residence portfolio valuation work (.1).             0.1    0.002875       $1.12
             Disposition
July 2020    Asset                   07/26/20 KBD         390 Exchange correspondence with A. Porter regarding planning for single family residence             0.2     0.00575       $2.24
             Disposition                                      portfolio (.2)
July 2020    Business                07/01/20 KBD         390 study information regarding insurance and exchange correspondence with E. Duff regarding          0.1    0.002875       $1.12
             Operations                                       same (.1)
July 2020    Business                07/01/20 KBD         390 Work on expenses and restoration issues with E. Duff, M. Rachlis, and K. Pritchard (1.3)          1.3 0.0302326        $11.79
             Operations
July 2020    Business                07/02/20 KBD         390 draft correspondence to lender's counsel regarding status of obtaining certificate of             0.1    0.002875       $1.12
             Operations                                       insurance (.1).
July 2020    Business                07/06/20 KBD         390 Exchange correspondence with E. Duff regarding sold properties, segregated funds, and             0.2 0.0046512         $1.81
             Operations                                       restoration motion.
July 2020    Business                07/07/20 KBD         390 Work on second restoration motion and exchange correspondence regarding same (2.3)                2.3 0.0534884        $20.86
             Operations
July 2020    Business                07/09/20 KBD         390 Study revised second restoration motion (.4)                                                      0.4 0.0093023         $3.63
             Operations
July 2020    Business                07/10/20 KBD         390 work on second restoration of funds motion (.3).                                                  0.3 0.0069767         $2.72
             Operations
July 2020    Business                07/12/20 KBD         390 telephone conference with E. Duff regarding same (.2)                                             0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/12/20 KBD         390 Revise restoration motion and declaration (2.8)                                                   2.8 0.0651163        $25.40
             Operations
July 2020    Business                07/13/20 KBD         390 Study revised restoration motion and declaration (.5)                                             0.5 0.0116279         $4.53
             Operations
July 2020    Business                07/14/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047         $7.26
             Operations
July 2020    Business                07/15/20 KBD         390 Review property manager financial reporting.                                                      0.4       0.008       $3.12
             Operations
July 2020    Business                07/16/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047         $7.26
             Operations




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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2020    Business                07/17/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same (.6)                      0.6 0.0139535          $5.44
             Operations
July 2020    Business                07/17/20 KBD             390 Work on restoration motion and declaration (1.5)                                                       1.5 0.0348837         $13.60
             Operations
July 2020    Business                07/19/20 KBD             390 Work on restoration motion, declaration, and exhibits.                                                 2.0 0.0465116         $18.14
             Operations
July 2020    Business                07/20/20 KBD             390 Work on restoration motion, declaration, and exhibits (2.7)                                            2.7 0.0627907         $24.49
             Operations
July 2020    Business                07/21/20 KBD             390 Study and revise draft second restoration motion and declaration and exchange                          0.7 0.0162791          $6.35
             Operations                                           correspondence with K. Pritchard and M. Rachlis regarding same (.7)
July 2020    Business                07/22/20 KBD             390 Work on consolidated motion for property sales and funds restoration (.6)                              0.6 0.0139535          $5.44
             Operations
July 2020    Business                07/24/20 KBD             390 Draft proposed order for second restoration motion.                                                    0.4 0.0093023          $3.63
             Operations
July 2020    Claims                  07/01/20 KBD             390 work on evidence of insurance for lender (.1).                                                         0.1    0.002875        $1.12
             Administration
             & Objections

July 2020    Claims                  07/20/20 KBD             390 study correspondence from J. Wine regarding claims and tax returns (.3).                               0.3         0.05      $19.50
             Administration
             & Objections

July 2020    Claims                  07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and            0.3 0.0033708          $1.31
             Administration                                       J. Wine relating to same (.3)
             & Objections

July 2020    Asset                   07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214          $1.77
             Disposition
July 2020    Asset                   07/09/20 JR              140 review most recent T12 for single family homes and save in electronic folders (.6)                     0.6     0.01725        $2.42
             Disposition
July 2020    Asset                   07/09/20 JR              140 exchange correspondence with A. Porter regarding single family portfolio updates (.1).                 0.1    0.002875        $0.40
             Disposition
July 2020    Asset                   07/10/20 JR              140 update master single family portfolio spreadsheet with pertinent property information for 37           5.8     0.16675       $23.35
             Disposition                                          single family homes (5.8)
July 2020    Asset                   07/10/20 JR              140 Exchange correspondence with A. Porter regarding the single family portfolio required                  0.2     0.00575        $0.81
             Disposition                                          updates to master due diligence spreadsheet (.2)
July 2020    Asset                   07/10/20 JR              140 exchange correspondence with property management requesting updated due diligence                      0.1    0.002875        $0.40
             Disposition                                          material for single family homes in preparation for listing (.1).
July 2020    Asset                   07/13/20 JR              140 review email from the utility manager regarding updated utility bills and organize for single          0.2     0.00575        $0.81
             Disposition                                          family homes (.2)
July 2020    Asset                   07/13/20 JR              140 exchange correspondence with property management regarding updates to due diligence                    0.1    0.002875        $0.40
             Disposition                                          documents for single family homes (.1)




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2020    Asset                   07/13/20 JR              140 telephone conference with J. Porter, A. Watychowicz regarding single family homes and                   0.6     0.01725       $2.42
             Disposition                                          investigation process related to financial documents (.6)
July 2020    Asset                   07/13/20 JR              140 further update master single family home spreadsheet with lease terms of each tenant and                2.4       0.069       $9.66
             Disposition                                          review inspection reports relating to bids and update the master single family spreadsheet
                                                                  (2.4)
July 2020    Asset                   07/13/20 JR              140 review brokers marketing spreadsheet relating to bedroom and bath sizes, review property                1.2      0.0345       $4.83
             Disposition                                          manager rent roll regarding same and update master spreadsheet for single family homes
                                                                  (1.2)
July 2020    Asset                   07/14/20 AEP             390 Teleconference with J. Rak regarding status of completion of due diligence folders relating to          0.8       0.023       $8.97
             Disposition                                          single-family home portfolio and reconciliation of various sources of information into master
                                                                  spreadsheet (.8)
July 2020    Asset                   07/14/20 JR              140 review surveys for all single family homes and update master spreadsheet regarding lot size             0.8       0.023       $3.22
             Disposition                                          for each property (.8)
July 2020    Asset                   07/14/20 JR              140 review email from property management regarding bedroom bath size discrepancy for single                0.2     0.00575       $0.81
             Disposition                                          family homes and discuss further with property manager regarding same (.2)

July 2020    Asset                   07/14/20 JR              140 review tax balances for all single family homes and update master spreadsheet (.9)                      0.9    0.025875       $3.62
             Disposition
July 2020    Asset                   07/14/20 JR              140 update single family home master spreadsheet related to bid information for remainder of                0.6     0.01725       $2.42
             Disposition                                          properties (.6)
July 2020    Asset                   07/14/20 JR              140 review leases for lease terms and security deposits and update master single family portfolio           2.2     0.06325       $8.86
             Disposition                                          (2.2)
July 2020    Asset                   07/14/20 JR              140 review utility bills requested from property manager and organize in electronic files related           0.4      0.0115       $1.61
             Disposition                                          to single family homes (.4).
July 2020    Asset                   07/14/20 JR              140 exchange correspondence with property management requesting updated income and loss                     0.2     0.00575       $0.81
             Disposition                                          statements, utility bills and various other property characteristics related to all 37 single
                                                                  family homes (.2)
July 2020    Asset                   07/15/20 JR              140 Review emails and update master single family spreadsheet with various pertinent property               4.4      0.1265      $17.71
             Disposition                                          information, bed/bath sizes, garage spaces, leases.
July 2020    Asset                   07/17/20 JR              140 review email from property manager related to single family homes and the utility                       0.1    0.002875       $0.40
             Disposition                                          responsibility for each tenant (.1)
July 2020    Asset                   07/17/20 JR              140 review utility bills related to single family homes (.8).                                               0.8       0.023       $3.22
             Disposition
July 2020    Asset                   07/17/20 JR              140 update electronic files regarding same (.4)                                                             0.4      0.0115       $1.61
             Disposition
July 2020    Asset                   07/17/20 JR              140 review emails and update single family home portfolio (.8)                                              0.8       0.023       $3.22
             Disposition
July 2020    Asset                   07/20/20 JR              140 review utility statements for all single family homes and update master single family due               2.9    0.083375      $11.67
             Disposition                                          diligence spreadsheet (2.9)
July 2020    Asset                   07/20/20 JR              140 Exchange correspondence with property management regarding missing items related to                     0.3    0.008625       $1.21
             Disposition                                          single family homes (.3)
July 2020    Asset                   07/20/20 JR              140 exchange correspondence with property management requesting same (.2).                                  0.2     0.00575       $0.81
             Disposition


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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2020    Asset                   07/20/20 JR              140 review the master single family homes EB spreadsheet and compile a list of missing subsidy            0.5    0.014375       $2.01
             Disposition                                          agreements and find all discrepancies (.5).
July 2020    Asset                   07/20/20 JR              140 exchange correspondence with property management requesting missing items (.3)                        0.3    0.008625       $1.21
             Disposition
July 2020    Asset                   07/20/20 JR              140 review surveys for all single family homes and update master due diligence spreadsheet                1.2      0.0345       $4.83
             Disposition                                          related to garage space for each property (1.2)
July 2020    Asset                   07/21/20 JR              140 organize electronic files and update master due diligence spreadsheet related to single               0.5    0.014375       $2.01
             Disposition                                          family homes (.5)
July 2020    Asset                   07/21/20 JR              140 review email from property management related to requested due diligence documents (.2)               0.2     0.00575       $0.81
             Disposition
July 2020    Asset                   07/21/20 JR              140 save in electronic folders and update master due diligence spreadsheet regarding same (.5)            0.5    0.014375       $2.01
             Disposition
July 2020    Asset                   07/21/20 JR              140 Review email from property management and the requested subsidy agreements regarding                  0.2     0.00575       $0.81
             Disposition                                          the single family home portfolio (.2)
July 2020    Asset                   07/21/20 JR              140 exchange correspondence with property manager regarding additional information                        0.2     0.00575       $0.81
             Disposition                                          pertaining to single family homes (.2)
July 2020    Asset                   07/21/20 JR              140 review leases provided by property leasing manager and organize electronic files for various          0.2     0.00575       $0.81
             Disposition                                          single family homes (.2)
July 2020    Asset                   07/22/20 AEP             390 review of relevant due diligence materials and conference with J. Rak regarding status of             1.1    0.031625      $12.33
             Disposition                                          preparation of due diligence documentation in connection with conveyance of single-family
                                                                  home portfolio (1.1)
July 2020    Asset                   07/22/20 AEP             390 prepare communication to counsel for institutional lender regarding status of completion of           0.2     0.00575       $2.24
             Disposition                                          due diligence folders associated with single-family homes (.2)
July 2020    Asset                   07/22/20 JR              140 exchange correspondence with property management and requesting litigation documents                  0.2     0.00575       $0.81
             Disposition                                          (.2)
July 2020    Asset                   07/22/20 JR              140 review various closed properties related to current insurance and inspection issues (.1)              0.1    0.002875       $0.40
             Disposition
July 2020    Asset                   07/22/20 JR              140 review email from property management regarding updates to due diligence documents for                0.2     0.00575       $0.81
             Disposition                                          single family homes, request information regarding discrepancies in subsidy agreements and
                                                                  rent roll previously provided (.2).
July 2020    Asset                   07/22/20 JR              140 meeting with A. Porter regarding single family homes master due diligence spreadsheet (.7)            0.7    0.020125       $2.82
             Disposition
July 2020    Asset                   07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                   4.4 0.0656716         $9.19
             Disposition                                          communications with EB team regarding same.
July 2020    Asset                   07/24/20 JR              140 follow up correspondence with property management regarding single family home due                    0.1    0.002875       $0.40
             Disposition                                          diligence document request (.1)
July 2020    Asset                   07/26/20 AEP             390 review all property-specific due diligence folders associated with single-family home                 2.4       0.069      $26.91
             Disposition                                          portfolio, eliminate duplicates, perform final reconciliation of damage repairs, cost
                                                                  estimates, lease documentation, and rental information and prepare e-mail to receivership
                                                                  broker regarding commencement of public marketing campaign (2.4)




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2020    Asset                   07/27/20 AEP             390 begin review of all surveys in single-family residence portfolio in connection with                   0.5    0.014375       $5.61
             Disposition                                          identification of encroachments likely to trigger demands for title insurance endorsements
                                                                  (.5)
July 2020    Asset                   07/27/20 JR              140 review single family portfolio and request additional updates from the property manager (.6)          0.6     0.01725       $2.42
             Disposition
July 2020    Asset                   07/28/20 AEP             390 completion of communications with receivership real estate broker regarding status of due             0.1    0.002875       $1.12
             Disposition                                          diligence folders in connection with marketing of single-family home portfolio (.1)

July 2020    Asset                   07/28/20 JR              140 review requested due diligence documents and request additional missing items from                    0.4      0.0115       $1.61
             Disposition                                          property management regarding single family homes (.4)
July 2020    Asset                   07/28/20 JR              140 review requested water bills for all single family homes and update property folders and              1.2      0.0345       $4.83
             Disposition                                          update master single family homes spreadsheet (1.2)
July 2020    Asset                   07/28/20 JR              140 review email from real estate broker regarding updates to due diligence documents for                 0.2     0.00575       $0.81
             Disposition                                          single family homes and respond regarding same (.2)
July 2020    Asset                   07/28/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1    0.002875       $0.40
             Disposition
July 2020    Business                07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same              1.8 0.0666667         $9.33
             Operations                                           (1.8)
July 2020    Business                07/01/20 ED              390 telephone conference with K. Duff, M. Rachlis, and K. Pritchard regarding financial                   1.2    0.027907      $10.88
             Operations                                           information relating to same and analysis of content to include (1.2)
July 2020    Business                07/01/20 ED              390 email correspondence with M. Rachlis regarding comments, and regarding calculations (.1)              0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/01/20 ED              390 Review draft motion regarding restoration of rent and receivership expenditures from                  0.6 0.0139535         $5.44
             Operations                                           proceeds of sale of certain properties (.6)
July 2020    Business                07/01/20 ED              390 follow up conversation with K. Pritchard regarding same (.1)                                          0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/01/20 ED              390 email correspondence to M. Rachlis and K. Duff regarding calculations from with accountant            0.1 0.0023256         $0.91
             Operations                                           of restoration amounts due from properties (.1).
July 2020    Business                07/01/20 JRW             260 Review and comment on revisions to restoration motion (.3)                                            0.3 0.0069767         $1.81
             Operations
July 2020    Business                07/01/20 JRW             260 related review of spreadsheet (.1).                                                                   0.1 0.0023256         $0.60
             Operations
July 2020    Business                07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                 2.3 0.0343284         $4.81
             Operations                                           exhibits to restoration motion (2.3).
July 2020    Business                07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                 0.3 0.0044776         $0.63
             Operations                                           for exhibits to proposed restoration motion (.3)
July 2020    Business                07/01/20 MR              390 Conferences with K. Duff, E. Duff and K. Pritchard and attention to restoration issues.               0.6 0.0139535         $5.44
             Operations
July 2020    Business                07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in             3.5 0.0522388         $7.31
             Operations                                           narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                  same (3.5)
July 2020    Business                07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                       3.7 0.0359223        $14.01
             Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business                07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business                07/05/20 MR              390 Research on restoration motion and work on same.                                                       1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business                07/06/20 ED              390 review and analysis of calculations of amounts reimbursable from proceeds of sold                      0.7 0.0162791         $6.35
             Operations                                           properties (.7)
July 2020    Business                07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                           correspondence to lenders' counsel (.7).
July 2020    Business                07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                           documentation of March property income and expense (.6)
July 2020    Business                07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                           accounting report drafts (.3)
July 2020    Business                07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008       $1.12
             Operations                                           properties in the estate.
July 2020    Business                07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
             Operations                                           upcoming payment on insurance premium funding (.2).
July 2020    Business                07/08/20 AW              140 Communicate with K. Pritchard regarding rent restoration motion and exhibits (.1)                      0.1 0.0023256         $0.33
             Operations
July 2020    Business                07/08/20 ED              390 Call with K. Duff regarding second restoration motion.                                                 0.3 0.0069767         $2.72
             Operations
July 2020    Business                07/09/20 MR              390 Further work on second restoration motion.                                                             1.0 0.0232558         $9.07
             Operations
July 2020    Business                07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                           institutional lenders on property by property basis with addition of properties that have no
                                                                  institutional debt, and have been sold (.8)
July 2020    Business                07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                           Duff regarding same (.8).
July 2020    Business                07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
             Operations                                           and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                  installment on insurance premium financing agreement, and communications with K. Duff
                                                                  and bank representatives regarding same (.5)
July 2020    Business                07/11/20 MR              390 Further work and research regarding second restoration motion and affidavit and revisions              2.5 0.0581395        $22.67
             Operations                                           to same.
July 2020    Business                07/13/20 AW              140 Attention to current draft of rent restoration motion, proofread and cite check same, draft            1.7 0.0395349         $5.53
             Operations                                           notice as per standing order, and email counsel regarding revisions.
July 2020    Business                07/13/20 ED              390 Update description and date relating to rent restoration and property reimbursement                    0.6 0.0139535         $5.44
             Operations                                           amounts in draft motion and declaration (.6)
July 2020    Business                07/13/20 MR              390 Further work on and revise second restoration motion.                                                  1.5 0.0348837        $13.60
             Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/16/20 MR              390 Review and revise restoration motion and follow up regarding same.                                     0.9 0.0209302         $8.16
             Operations
July 2020    Business                07/17/20 AW              140 Email exchanges with K. Duff and E. Duff regarding exhibits to second restoration motion (.2)          0.2 0.0046512         $0.65
             Operations
July 2020    Business                07/17/20 ED              390 email correspondence to A. Watychowicz regarding content of exhibits (.1).                             0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/17/20 ED              390 Further review and revision of draft declaration and motion relating to restoration motion             0.3 0.0069767         $2.72
             Operations                                           (.3)
July 2020    Business                07/17/20 ED              390 email correspondence with K. Duff regarding same (.2)                                                  0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/20/20 ED              390 email correspondence with accountant regarding same (.1).                                              0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/20/20 ED              390 regarding second motion for restoration, and related and document review and revision (.5)             0.5 0.0116279         $4.53
             Operations
July 2020    Business                07/20/20 ED              390 email correspondence with K. Duff (.2)                                                                 0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/20/20 KMP             140 Revise restoration motion, affidavit, and exhibit and communicate with K. Duff and A.                  1.4 0.0325581         $4.56
             Operations                                           Watychowicz regarding same.
July 2020    Business                07/20/20 MR              390 Attention to completing restoration motion.                                                            1.2    0.027907      $10.88
             Operations
July 2020    Business                07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business                07/21/20 KMP             140 Revise restoration motion, affidavit, and exhibits, prepare electronic version, and                    0.9 0.0209302         $2.93
             Operations                                           communicate with K. Duff regarding same (.9)
July 2020    Business                07/21/20 MR              390 Review and follow up on motion regarding restoration.                                                  0.7 0.0162791         $6.35
             Operations
July 2020    Business                07/22/20 ED              390 review and comment on draft declaration in support of motion for restoration (.4)                      0.4 0.0093023         $3.63
             Operations
July 2020    Business                07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business                07/22/20 ED              390 and email correspondence with property manager and accountant regarding same (.1).                     0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                           (.3)
July 2020    Business                07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                           benefit of other properties (.3).
July 2020    Business                07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                               0.2 0.0029851         $0.42
             Operations
July 2020    Business                07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).             0.2 0.0029851         $0.42
             Operations
July 2020    Business                07/23/20 JR              140 exchange communication with K. Pritchard and K. Duff regarding same (.1)                               0.1 0.0023256         $0.33
             Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/23/20 JR              140 Update property address information to exhibit 2 to second restoration motion (.2)                     0.2 0.0046512         $0.65
             Operations
July 2020    Business                07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                           management relating to all income and loss statements (3.7).
July 2020    Business                07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business                07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                           information related to discrepancies discovered in reports (.5).
July 2020    Business                07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                              0.3 0.0044776         $0.63
             Operations
July 2020    Business                07/24/20 KMP             140 electronically file same with court (.3)                                                               0.3 0.0044776         $0.63
             Operations
July 2020    Business                07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                           preparation of April accounting reports.
July 2020    Business                07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417         $0.76
             Operations
July 2020    Business                07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations
July 2020    Business                07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
             Operations
July 2020    Claims                  07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                  07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
             Administration                                       regarding discrepancies (.4)
             & Objections

July 2020    Claims                  07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
             Administration                                       counsel (.4)
             & Objections

July 2020    Claims                  07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
             Administration                                       remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                  07/09/20 ED              390 email correspondence (.2) regarding same                                                               0.2 0.0046512         $1.81
             Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
July 2020    Claims                  07/09/20 ED          390 and call (.1)                                                                                        0.1 0.0023256         $0.91
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 transmit March accounting reports to institutional lenders' counsel (1.7)                            1.7 0.0165049         $6.44
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 Review chart from accountant relating to reimbursable amounts from proceeds of sold                  0.3 0.0069767         $2.72
             Administration                                   properties (.3)
             & Objections

July 2020    Claims                  07/09/20 ED          390 review and revise draft of affidavit (1.2)                                                           1.2    0.027907      $10.88
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 organize and send materials for preparation of April accounting reports to accountant (.6).          0.6 0.0058252         $2.27
             Administration
             & Objections

July 2020    Claims                  07/31/20 JRW         260 additional legal research and draft memo regarding motion to intervene (.8)                          0.8 0.0089888         $2.34
             Administration
             & Objections

August 2020 Asset                    08/07/20 KBD         390 exchange correspondence with real estate broker regarding work to list single family                 0.2     0.00575       $2.24
            Disposition                                       residence portfolio (.2)
August 2020 Asset                    08/12/20 KBD         390 Telephone conference with real estate broker and counsel regarding marketing and sale of             0.5    0.014375       $5.61
            Disposition                                       single family residence portfolio.
August 2020 Asset                    08/25/20 KBD         390 exchange correspondence with A. Porter regarding preparation of single family residence              0.1    0.002875       $1.12
            Disposition                                       portfolio for sale (.1)
August 2020 Asset                    08/31/20 KBD         390 Telephone conference with A. Porter regarding sale of single family residence portfolio and          0.2     0.00575       $2.24
            Disposition                                       additional property.
August 2020 Business                 08/25/20 KBD         390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                     0.1 0.0014085         $0.55
            Operations
August 2020 Claims                   08/03/20 KBD         390 analysis of claimant intervention motion and exchange correspondence with J. Wine                    0.3 0.0033708         $1.31
            Administration                                    regarding same (.3)
            & Objections

August 2020 Claims                   08/05/20 KBD         390 study correspondence from claimant's counsel regarding intervention motion (.1)                      0.1 0.0011236         $0.44
            Administration
            & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
August 2020 Claims                   08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence                1.3 0.0146067         $5.70
            Administration                                        to J. Wine regarding same.
            & Objections

August 2020 Asset                    08/03/20 AEP             390 review consolidated title commitment for single-family homes portfolio, research status of              1.3    0.037375      $14.58
            Disposition                                           administrative judgments identified as exceptions, prepare list of outstanding issues, and
                                                                  transmit same to title company underwriter regarding continued clearance of title
                                                                  exceptions (1.3).
August 2020 Asset                    08/05/20 AEP             390 Teleconference with title company underwriter regarding all encroachments reflected on                  2.0      0.0575      $22.43
            Disposition                                           surveys of single-family homes and deletion of certain special exceptions on single-family
                                                                  homes title commitment.
August 2020 Asset                    08/11/20 JR              140 review email from A. Porter regarding status of new applicants for the single family homes              0.1    0.002875       $0.40
            Disposition                                           (.1)
August 2020 Asset                    08/11/20 JR              140 further communication with property management regarding same (.1)                                      0.1    0.002875       $0.40
            Disposition
August 2020 Asset                    08/12/20 AEP             390 teleconference with receivership brokers regarding initiation of marketing of single-family             0.5    0.014375       $5.61
            Disposition                                           home portfolio, bidding procedures, pricing, and publication notice (.5).

August 2020 Asset                    08/12/20 MR              390 Telephone conference regarding marketing and sale of single family residence portfolio with             0.5    0.014375       $5.61
            Disposition                                           asset manager, K. Duff and A. Porter.
August 2020 Asset                    08/14/20 JR              140 further communication with property management requesting updates to due diligence                      0.2     0.00575       $0.81
            Disposition                                           documents for single family homes (.2)
August 2020 Asset                    08/17/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1    0.002875       $0.40
            Disposition                                           homes and respond regarding same (.1)
August 2020 Asset                    08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Asset                    08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699         $0.53
            Disposition                                           within eighth, ninth, and current tranches (.1)
August 2020 Asset                    08/20/20 JR              140 review email from property management regarding status of due diligence documents                       0.1    0.002875       $0.40
            Disposition                                           related to single family homes (.1).
August 2020 Asset                    08/21/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1    0.002875       $0.40
            Disposition                                           homes and respond regarding same (.1)
August 2020 Business                 08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                            (.4)
August 2020 Business                 08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                            accounting reports (1.9)
August 2020 Business                 08/04/20 MR              390 Attention to issues on restoration motion and issues raised by lender.                                  0.4 0.0093023         $3.63
            Operations
August 2020 Business                 08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                            addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                  need to be supplemented (.8)
August 2020 Business                 08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours         Fees
August 2020 Business                 08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be            0.1 0.0011765          $0.46
            Operations                                            listed for sale (.1)
August 2020 Business                 08/13/20 ED              390 review and analysis of related documents and reports (.2).                                          0.2 0.0023529          $0.92
            Operations
August 2020 Business                 08/16/20 ED              390 Email to J. Wine regarding calculation of restoration due to properties (.2)                        0.2 0.0046512          $1.81
            Operations
August 2020 Business                 08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020           0.3 0.0029126          $1.14
            Operations                                            accounting reports (.3)
August 2020 Business                 08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                             0.1 0.0009709          $0.38
            Operations
August 2020 Business                 08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager            0.2 0.0031746          $1.24
            Operations                                            (.2)
August 2020 Business                 08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by               0.3 0.0029126          $1.14
            Operations                                            accountant for preparation of May accounting reports (.3)
August 2020 Business                 08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                   0.1 0.0015873          $0.62
            Operations
August 2020 Business                 08/24/20 JR              140 Review various property tax balances.                                                               1.1 0.0152778          $2.14
            Operations
August 2020 Business                 08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter              0.4 0.0038835          $1.51
            Operations                                            regarding details and backup for information to include in May accounting reports to
                                                                  lenders.
August 2020 Business                 08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                        0.9      0.0125        $1.75
            Operations
August 2020 Business                 08/25/20 MR              390 Attention to follow up on objections to restoration motion and review additional materials          0.3 0.0069767          $2.72
            Operations                                            regarding same.
August 2020 Business                 08/26/20 MR              390 Attention to issues on rent restoration and follow up regarding same.                               0.3 0.0069767          $2.72
            Operations
August 2020 Claims                   08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'          0.9 0.0101124          $2.63
            Administration                                        motion to intervene (.9)
            & Objections

August 2020 Claims                   08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.          1.5 0.0168539          $4.38
            Administration                                        Duff and M. Rachlis (1.5)
            & Objections

September    Asset                   09/18/20 KBD             390 exchange correspondence with J. Wine regarding draft proposed order (.1).                           0.1 0.0023256          $0.91
2020         Disposition
September    Business                09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding               0.3 0.0042857          $1.67
2020         Operations                                           payment of same (.3)
September    Business                09/15/20 KBD             390 review financial reporting from property manager (.2)                                               0.2 0.0040816          $1.59
2020         Operations
September    Business                09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and              0.7         0.01       $3.90
2020         Operations                                           lenders (.7)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
September    Business                09/18/20 KBD             390 Study draft order for second restoration motion and exchange correspondence regarding                0.2 0.0046512         $1.81
2020         Operations                                           same (.2)
September    Business                09/21/20 KBD             390 exchange correspondence with K. Pritchard regarding restoration of funds (.1).                       0.1 0.0023256         $0.91
2020         Operations
September    Business                09/23/20 KBD             390 Attention to funds transfers for restoration (.2)                                                    0.2 0.0046512         $1.81
2020         Operations
September    Business                09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                 0.1 0.0014925         $0.58
2020         Operations
September    Claims                  09/14/20 KBD             390 exchange correspondence with claimant counsel regarding single family residence portfolio            0.1    0.002875       $1.12
2020         Administration                                       (.1)
             & Objections

September Asset                      09/01/20 AEP             390 review files pertaining to single- family residence portfolio and prepare allocation of              0.3    0.008625       $3.36
2020      Disposition                                             property inspection costs for insertion into May statements to be provided to institutional
                                                                  lenders (.3).
September    Asset                   09/01/20 JR              140 review email from real estate broker regarding due diligence documents related to single             0.3    0.008625       $1.21
2020         Disposition                                          family homes and exchange communications regarding same (.3)
September    Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                 0.2 0.0027778         $0.39
2020         Disposition                                          income available funds related to payment of tax balances (.2)
September    Asset                   09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                   1.8       0.025       $3.50
2020         Disposition
September    Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                    0.1 0.0013889         $0.19
2020         Disposition
September    Asset                   09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                             0.1 0.0013889         $0.19
2020         Disposition
September    Asset                   09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                0.2 0.0027778         $0.39
2020         Disposition                                          for all EB properties with sufficient funds (.2).
September    Asset                   09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for               0.4 0.0074074         $1.93
2020         Disposition                                          restoration (.4)
September    Asset                   09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                   0.2 0.0037037         $0.96
2020         Disposition
September    Asset                   09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                 0.1 0.0014085         $0.20
2020         Disposition                                          of all EB properties (.1)
September    Asset                   09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                     0.1 0.0014085         $0.20
2020         Disposition                                          properties with sufficient funds (.1)
September    Asset                   09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information              0.3 0.0042254         $0.59
2020         Disposition                                          regarding same for all remaining properties in the EquityBuild Estate (.3)

September    Asset                   09/25/20 JR              140 review tax payments produced by property manager (.7).                                               0.7 0.0097222         $1.36
2020         Disposition
September    Asset                   09/28/20 JRW             260 Email exchange regarding publication notice (.1)                                                     0.1    0.002875       $0.75
2020         Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
September    Asset                   09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                 0.2 0.0030769         $0.43
2020         Disposition                                          payments (.2)
September    Asset                   09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed             0.1 0.0015873         $0.22
2020         Disposition                                          properties (.1)
September    Asset                   09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                  0.1 0.0015873         $0.22
2020         Disposition
September    Business                09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417         $0.76
2020         Operations                                           preparation of May accounting reports (.2)
September    Business                09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding          0.7 0.0098592         $1.38
2020         Operations                                           tax balances (.7).
September    Business                09/08/20 ED              390 review of related documents received from property manager and email correspondence                    0.3 0.0029126         $1.14
2020         Operations                                           regarding same (.3)
September    Business                09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417         $0.76
2020         Operations                                           property managers needed for preparation of May accounting reports (.2)
September    Business                09/08/20 MR              390 attention to issues on objections to restoration motion (.2).                                          0.2 0.0046512         $1.81
2020         Operations
September    Business                09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                      0.3 0.0029126         $1.14
2020         Operations                                           financial reporting information for May 2020.
September    Business                09/09/20 MR              390 Further attention to issues on objections to restoration issues.                                       0.2 0.0046512         $1.81
2020         Operations
September    Business                09/11/20 MR              390 Further work to review and revise response on second restoration motion.                               1.0 0.0232558         $9.07
2020         Operations
September    Business                09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                        0.2 0.0028169         $0.39
2020         Operations                                           payment of taxes of EquityBuild properties.
September    Business                09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                         0.2 0.0019417         $0.76
2020         Operations
September    Business                09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting               1.2 0.0116505         $4.54
2020         Operations                                           (1.2)
September    Business                09/18/20 JRW             260 Prepare order partially granting second restoration motion (.6)                                        0.6 0.0139535         $3.63
2020         Operations
September    Business                09/18/20 JRW             260 draft cover email to court regarding order partially granting second restoration motion (.3)           0.3 0.0069767         $1.81
2020         Operations
September    Business                09/18/20 MR              390 Attention to restoration order and emails on same.                                                     0.3 0.0069767         $2.72
2020         Operations
September    Business                09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account             0.8 0.0119403         $1.67
2020         Operations                                           numbers for all properties subject to order (.8)
September    Business                09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)                0.2 0.0029851         $0.42
2020         Operations
September    Business                09/22/20 JR              140 review email from property manager and update electronic files for various properties with             0.2 0.0028571         $0.40
2020         Operations                                           property tax receipts (.2)
September    Business                09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                 1.2 0.0171429         $2.40
2020         Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
September    Business                09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly                0.2 0.0019417         $0.27
2020         Operations                                           (.2).
September    Business                09/22/20 KMP             140 Additional communications with bank representatives regarding opening of new accounts in                   0.2 0.0054054         $0.76
2020         Operations                                           connection with anticipated account transfers to comply with restoration approved by court
                                                                  (.2)
September    Business                09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                     2.1 0.0313433         $4.39
2020         Operations                                           (2.1)
September    Business                09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.                  1.2 0.0116505         $4.54
2020         Operations
September    Business                09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)                 0.2 0.0028571         $0.40
2020         Operations
September    Claims                  09/15/20 AW              140 revise proposed order and exhibit regarding rent restoration motion and email J. Wine                      0.1 0.0023256         $0.33
2020         Administration                                       regarding same (.1)
             & Objections

September Claims                     09/15/20 MR              390 further attention to reply on second restoration motion (.7).                                              0.7 0.0162791         $6.35
2020      Administration
          & Objections

September Claims                     09/18/20 AW              140 finalize exhibits for submission to proposed order email (.3)                                              0.3 0.0069767         $0.98
2020      Administration
          & Objections

September Claims                     09/18/20 AW              140 email J. Wine regarding spreadsheet related to second restoration motion (.1)                              0.1 0.0023256         $0.33
2020      Administration
          & Objections

October      Asset                   10/16/20 KBD             390 Work with A. Porter and J. Rak on planning for listing SFR portfolio and title exception and               0.6     0.01725       $6.73
2020         Disposition                                          insurance issues (single family) (.6)
October      Asset                   10/23/20 KBD             390 confer with broker, lenders counsel, and A. Porter regarding single-family residence portfolio             0.4      0.0115       $4.49
2020         Disposition                                          marketing and listing planning, title issues, due diligence materials, bid procedures, credit bid
                                                                  interest, and procedure for reviewing bids (.4)

October      Asset                   10/23/20 KBD             390 work on preparation for marketing and listing of single-family residence portfolio and                     0.5    0.014375       $5.61
2020         Disposition                                          prepare for call with broker and lenders counsel (.5)
October      Asset                   10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                        0.2 0.0014375         $0.56
2020         Disposition                                          properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)
October      Business                10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                            0.2 0.0032258         $1.26
2020         Operations
October      Business                10/09/20 KBD             390 study financial reporting from property managers (.5)                                                      0.5 0.0080645         $3.15
2020         Operations
October      Business                10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).                0.3 0.0028571         $1.11
2020         Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
October      Business                10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                               0.2 0.0034483         $1.34
2020         Operations
October      Business                10/20/20 KBD             390 work on restoration of funds (.3).                                                                      0.3 0.0028571         $1.11
2020         Operations
October      Business                10/28/20 KBD             390 Exchange correspondence regarding order on second restoration motion (.2)                               0.2 0.0046512         $1.81
2020         Operations
October      Asset                   10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903         $1.58
2020         Disposition                                          lenders (.7)
October      Asset                   10/01/20 JR              140 further review of May financial reporting (3.3)                                                         3.3 0.0320388         $4.49
2020         Disposition
October      Asset                   10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)               0.9 0.0087379         $1.22
2020         Disposition
October      Asset                   10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future             0.4 0.0064516         $2.52
2020         Disposition                                          marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                   10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                      0.5 0.0048544         $0.68
2020         Disposition                                          information (.5)
October      Asset                   10/14/20 AEP             390 Continue reviewing due diligence folders for single-family homes, updating due diligence                2.3    0.066125      $25.79
2020         Disposition                                          checklist, reconciling title commitment exceptions to EquityBuild records, and preparing bid
                                                                  procedures to govern submission of offers and selection of winning bidder.

October      Asset                   10/15/20 AEP             390 read through all title exceptions and create master list of items needed from City of Chicago           1.4     0.04025      $15.70
2020         Disposition                                          and prior encumbrances to ensure conveyance of clean title at closing (1.4)

October      Asset                   10/15/20 AEP             390 review all building code violation folders to identify all potential judgments pending against          0.8       0.023       $8.97
2020         Disposition                                          single-family homes (.8)
October      Asset                   10/15/20 AEP             390 review and analyze title histories on all properties subject to title exceptions and create             2.0      0.0575      $22.43
2020         Disposition                                          chain of title explanations for use with title underwriter (2.0).
October      Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding issues associated with single-family home              0.5    0.014375       $5.61
2020         Disposition                                          judgments and encumbrances (single family) (.5)
October      Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding property tax issues (.1)                               0.1    0.002875       $1.12
2020         Disposition
October      Asset                   10/16/20 JR              140 Work with A. Porter and K. Duff on planning for listing single family portfolio and title               0.6     0.01725       $2.42
2020         Disposition                                          exception and insurance issues (.6)
October      Asset                   10/16/20 JR              140 review tax balances for single family homes (.4).                                                       0.4      0.0115       $1.61
2020         Disposition
October      Asset                   10/16/20 JRW             260 Confer with K. Duff regarding publication notice for single family home portfolio.                      0.1    0.002875       $0.75
2020         Disposition
October      Asset                   10/19/20 JR              140 review single family home due diligence folders and organize in preparation of sharing with             2.7    0.077625      $10.87
2020         Disposition                                          interested buyers (2.7).
October      Asset                   10/22/20 JR              140 Update single family homes documents (.5)                                                               0.5    0.014375       $2.01
2020         Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
October      Asset                   10/22/20 JR              140 exchange correspondence with A. Porter regarding single family homes (.1)                                  0.1    0.002875       $0.40
2020         Disposition
October      Asset                   10/23/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for special servicer regarding               0.5    0.014375       $5.61
2020         Disposition                                          status of preparation of marketing of single-family home portfolio, including title issues, sales
                                                                  contract issues, due diligence issues, and marketing issues (.5)

October      Asset                   10/23/20 AEP             390 preliminary communications with alternative title company regarding potential issuance of                  0.3    0.008625       $3.36
2020         Disposition                                          insurance over special exceptions raised by current insurer (.3)
October      Asset                   10/27/20 AEP             390 teleconference with potential new title company regarding impasses with current title                      0.7 0.0100625         $3.92
2020         Disposition                                          company over deletion of special exceptions on various receivership properties (7237 S
                                                                  Bennett and single-family home portfolio) (.7).
October      Asset                   10/29/20 AEP             390 communications with former title company regarding need for hold harmless letter                           0.1    0.002875       $1.12
2020         Disposition                                          associated with prospective conveyance of receivership property (.1)
October      Business                10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).                0.2 0.0019417         $0.76
2020         Operations
October      Business                10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                     0.1 0.0009709         $0.38
2020         Operations
October      Business                10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                       0.9 0.0087379         $3.41
2020         Operations
October      Business                10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                   0.3 0.0029126         $1.14
2020         Operations                                           requiring revision (.3).
October      Business                10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                         0.1 0.0009709         $0.38
2020         Operations
October      Business                10/07/20 ED              390 final review of May reports (1.0).                                                                         1.0 0.0097087         $3.79
2020         Operations
October      Business                10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                     0.8    0.007767       $3.03
2020         Operations                                           comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                  reimbursable amounts by properties. (.2)
October      Business                10/07/20 KMP             140 Prepare form for wire transfer to financing company for payment of insurance premium                       0.3 0.0048387         $0.68
2020         Operations                                           financing installment and communications with K. Duff and bank representatives regarding
                                                                  same.
October      Business                10/08/20 ED              390 review of premium finance agreements executed in connection with renewals of property                      0.3 0.0048387         $1.89
2020         Operations                                           and liability insurance (.3)
October      Business                10/08/20 ED              390 draft correspondence to lender's counsel to transmit accounting reports, including                         0.9 0.0145161         $5.66
2020         Operations                                           explanations of insurance expense for all unsold properties and inspection expenses for
                                                                  certain properties (.9)
October      Business                10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting                  0.5 0.0048544         $1.89
2020         Operations                                           reports (.5).
October      Business                10/08/20 ED              390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as                  1.5 0.0145631         $5.68
2020         Operations                                           of May 31, 2020 (1.5)
October      Business                10/09/20 AW              140 Prepare financial statements on property by property basis for service and email E. Duff                   1.1 0.0106796         $1.50
2020         Operations                                           regarding reports.




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Business                10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                               0.6 0.0058252         $2.27
2020         Operations
October      Business                10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement               0.5 0.0048544         $1.89
2020         Operations                                       amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business                10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                        0.3 0.0028571         $1.11
2020         Operations
October      Business                10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                      0.7 0.0066667         $2.60
2020         Operations                                       approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                              Properties (.7).
October      Business                10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                      0.3 0.0028571         $1.11
2020         Operations                                       accounting reports (.3)
October      Business                10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent                 0.8    0.007619       $2.97
2020         Operations                                       restoration and future reporting from receivership, including attachments describing funds
                                                              transfers and confer with K. Duff regarding same (.8)
October      Business                10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from              0.2 0.0019048         $0.74
2020         Operations                                       property manager (.2)
October      Business                10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                   0.7 0.0066667         $2.60
2020         Operations                                       updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business                10/27/20 ED          390 preparation for same (.2)                                                                              0.2 0.0019048         $0.74
2020         Operations
October      Business                10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial               1.3    0.012381       $4.83
2020         Operations                                       reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                              reimbursed from proceeds of property sales (1.3)
October      Business                10/27/20 ED          390 email correspondence with property manager regarding basis of reporting in monthly                     0.2 0.0019048         $0.74
2020         Operations                                       property financial reporting (.2).
October      Business                10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                      0.2 0.0033333         $0.47
2020         Operations                                       financing installments in light of various property sales.
October      Business                10/30/20 ED          390 Email correspondence to accountants to supply background for preparation of accounting                 0.2 0.0019048         $0.74
2020         Operations                                       reports, and review of related financial information.
October      Business                10/30/20 KMP         140 Communication with insurance broker regarding updated payment schedules for insurance                  0.2 0.0033333         $0.47
2020         Operations                                       premium financing installments in light of various property sales (.2)
October      Business                10/30/20 KMP         140 prepare form for funds transfer to premium financing company for installment payment on                0.4 0.0066667         $0.93
2020         Operations                                       property insurance, and communicate with K. Duff and bank representatives regarding same
                                                              (.4)
November     Asset                   11/17/20 KBD         390 exchange correspondence with A. Porter regarding pricing and allocation of sale proceeds               0.2     0.00575       $2.24
2020         Disposition                                      for single family residence portfolio and title company communication (.2)

November     Asset                   11/19/20 KBD         390 work on bid procedures for single family residence portfolio (.3).                                     0.3    0.008625       $3.36
2020         Disposition
November     Asset                   11/20/20 KBD         390 telephone conferences with A. Porter regarding marketing of and allocation issues relating to          0.3    0.008625       $3.36
2020         Disposition                                      single family residence portfolio (.3)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
November     Asset                   11/20/20 KBD             390 exchange correspondence with M. Rachlis regarding sale procedures for single family                       0.1    0.002875       $1.12
2020         Disposition                                          residence portfolio (.1)
November     Asset                   11/20/20 KBD             390 telephone conference with real estate broker and A. Porter regarding same (.2)                            0.2     0.00575       $2.24
2020         Disposition
November     Asset                   11/21/20 KBD             390 Exchange correspondence with real estate broker and A. Porter regarding treatment of                      0.2     0.00575       $2.24
2020         Disposition                                          offers for single family residence portfolio.
November     Asset                   11/28/20 KBD             390 Exchange correspondence with A. Porter regarding broker agreement and publication notice                  0.2     0.00575       $2.24
2020         Disposition                                          for sale of single-family residence portfolio.
November     Asset                   11/29/20 KBD             390 Study and revise offering memorandum for sale of single-family residence portfolio and draft              0.3    0.008625       $3.36
2020         Disposition                                          correspondence to A. Porter regarding same.
November     Asset                   11/30/20 KBD             390 work on offering memorandum and exchange correspondence regarding same for single-                        0.2     0.00575       $2.24
2020         Disposition                                          family residence portfolio (.2)
November     Business                11/13/20 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0065217         $2.54
2020         Operations
November     Claims                  11/20/20 KBD             390 confer with claimant lenders' counsel, real estate broker, and A. Porter regarding marketing              0.6     0.01725       $6.73
2020         Administration                                       of and allocation issues relating to single family residence portfolio (.6)
             & Objections

November     Asset                   11/05/20 AEP             390 continue analyzing public records and preparing memorandum to prospective new title                       3.5    0.100625      $39.24
2020         Disposition                                          insurer requesting consideration of waiver of title exceptions appearing on current version of
                                                                  title commitment for single-family homes (3.5).
November     Asset                   11/06/20 AEP             390 Finalize review and analysis of remaining properties associated with title exceptions in single-          2.3    0.066125      $25.79
2020         Disposition                                          family home portfolio and preparation of memorandum to prospective new title insurer
                                                                  regarding potential waiver of exceptions (2.3)
November     Asset                   11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                              0.7    0.012069       $1.69
2020         Disposition
November     Asset                   11/17/20 AEP             390 teleconference with prospective new title insurer regarding issues associated with                        0.5    0.014375       $5.61
2020         Disposition                                          preparation of title commitment for single-family home portfolio (.5)
November     Asset                   11/17/20 AEP             390 prepare correspondence to receivership brokers associated with single- family home                        0.2     0.00575       $2.24
2020         Disposition                                          portfolio regarding preparation for marketing effort (.2).
November     Asset                   11/18/20 AEP             390 teleconference with K. Duff and J. Rak regarding final preparation for initiation of marketing            0.4      0.0115       $4.49
2020         Disposition                                          of single-family home portfolio (.4)
November     Asset                   11/18/20 AEP             390 prepare e-mail to title underwriter enclosing and explaining spreadsheets containing                      0.2     0.00575       $2.24
2020         Disposition                                          information pertaining to single-family home portfolio (.2)
November     Asset                   11/18/20 AEP             390 Teleconference for title company underwriter regarding issues associated with preparation                 0.3    0.008625       $3.36
2020         Disposition                                          of title commitments for single-family home portfolio (.3)
November     Asset                   11/18/20 JR              140 call with K. Duff and A. Porter relating to status of single family home portfolio and plan of            0.5    0.014375       $2.01
2020         Disposition                                          action (.5)
November     Asset                   11/18/20 JR              140 request updated due diligence documents from property management for single family                        0.1    0.002875       $0.40
2020         Disposition                                          homes (.1)
November     Asset                   11/18/20 JRW             260 Exchange correspondence with A. Porter regarding status of marketing of properties (single-               0.1    0.002875       $0.75
2020         Disposition                                          family portfolio) (.1)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
November     Asset                   11/19/20 JR              140 Review email from property management regarding single family home due diligence                        0.1    0.002875       $0.40
2020         Disposition                                          documents (.1)
November     Asset                   11/19/20 JR              140 review uploaded documents regarding same and further exchange correspondence with                       0.3    0.008625       $1.21
2020         Disposition                                          property management relating to missing items (.3)
November     Asset                   11/19/20 JR              140 review income and loss statements received from the property manager and update                         1.1    0.031625       $4.43
2020         Disposition                                          electronic files related to single family homes (1.1)
November     Asset                   11/20/20 AEP             390 teleconference with K. Duff and receivership brokers regarding discrepancies in values of               0.2     0.00575       $2.24
2020         Disposition                                          single-family homes as between receivership broker and special servicer for institutional
                                                                  lender (.2)
November     Asset                   11/20/20 AEP             390 teleconference with K. Duff, receivership brokers, and counsel for institutional lenders                0.6     0.01725       $6.73
2020         Disposition                                          regarding pricing considerations, timing of commencement of marketing, and allocation
                                                                  issues associated with single-family home portfolio (.6).
November     Asset                   11/20/20 JR              140 review updated utility statements requested from property management and update                         1.3    0.037375       $5.23
2020         Disposition                                          electronic files in preparation for marketing of single family homes (1.3)
November     Asset                   11/20/20 JR              140 exchange correspondence with property management requesting missing utility statements                  0.1    0.002875       $0.40
2020         Disposition                                          regarding single family homes (.1).
November     Asset                   11/20/20 JR              140 Review requested due diligence reports and update electronic files for single family portfolio          0.3    0.008625       $1.21
2020         Disposition                                          from property management (.3)
November     Asset                   11/20/20 MR              390 Attention to bidding procedures on single family homes and follow up (.5)                               0.5    0.014375       $5.61
2020         Disposition
November     Asset                   11/23/20 JR              140 exchange correspondence with property management and request additional property                        0.2     0.00575       $0.81
2020         Disposition                                          reports for single family homes (.2)
November     Asset                   11/23/20 JR              140 Review income and loss statements received from property management related to single                   0.4      0.0115       $1.61
2020         Disposition                                          family homes and update electronic files (.4)
November     Asset                   11/24/20 AEP             390 review all attorney examiner worksheets received from title insurer in connection with                  0.4      0.0115       $4.49
2020         Disposition                                          conveyance of single-family home portfolio, update portfolio spreadsheet, and inventory
                                                                  missing worksheets (.4).
November     Asset                   11/24/20 JR              140 further correspondence with property management requesting same for single family homes                 0.1    0.002875       $0.40
2020         Disposition                                          (.1)
November     Asset                   11/24/20 JR              140 review due diligence documents requested from property management for single family                     0.4      0.0115       $1.61
2020         Disposition                                          homes (.4)
November     Asset                   11/25/20 AEP             390 review proposed renewed brokerage agreement relating to prospective sale of single-family               0.3    0.008625       $3.36
2020         Disposition                                          home portfolio and prepare e-mail to broker requesting additional changes and explanation
                                                                  for certain deletions (.3).
November     Asset                   11/25/20 JR              140 Review single family home portfolio and due diligence documents and update rent roll                    3.2       0.092      $12.88
2020         Disposition                                          related to updated utility statements, leases and security deposit information.

November     Asset                   11/29/20 AEP             390 review all due diligence folders for properties in single-family home portfolio, remove                 0.6     0.01725       $6.73
2020         Disposition                                          unnecessary documents, and create final checklist of property-specific issues (.6).

November     Asset                   11/29/20 AEP             390 Begin preparation of purchase and sale agreement for single-family home portfolio (2.2)                 2.2     0.06325      $24.67
2020         Disposition




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
November     Asset                   11/30/20 JR              140 Review email from A. Porter regarding single family home due diligence documents and                 0.1    0.002875       $0.40
2020         Disposition                                          respond accordingly (.1)
November     Asset                   11/30/20 JR              140 review due diligence documents for single family home (.6)                                           0.6     0.01725       $2.42
2020         Disposition
November     Business                11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business                11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                           financial records, and details relating to property restoration and reimbursement completed
                                                                  through September 2020 (.7)
November     Business                11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                               0.2 0.0033898         $1.32
2020         Operations
November     Business                11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)              0.3 0.0050847         $1.98
2020         Operations
November     Business                11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                           property reports (.3)
November     Business                11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business                11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                           correspondence with accountants and property manager regarding same (.4)

November     Business                11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                           correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business                11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                           needed for preparation of June reporting.
November     Business                11/11/20 KMP             140 Prepare form for transfer of funds for payment of insurance premium funding and                      0.4 0.0074074         $1.04
2020         Operations                                           communicate with K. Duff and bank representative regarding same (.4)
November     Business                11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020         Operations                                           reporting information necessary for completion of remining June accounting reports (.2).

November     Business                11/12/20 KMP             140 Follow up on transfer of funds for payment of insurance premium funding and communicate              0.2 0.0037037         $0.52
2020         Operations                                           with K. Duff and bank representative regarding same.
November     Business                11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020         Operations                                           reports, and steps to begin preparation of July reports (.3)
November     Business                11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)             1.2 0.0193548         $2.71
2020         Operations
November     Business                11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619         $1.86
2020         Operations                                           reporting information required for preparation of July property reports.

November     Business                11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                0.3 0.0028571         $1.11
2020         Operations                                           accounting reports and preparation of draft August reports (.3).
November     Business                11/25/20 KMP             140 Prepare request form for transfer of funds to financing company for insurance premium                0.4 0.0074074         $1.04
2020         Operations                                           installment payment, and communicate with bank representatives and K. Duff regarding
                                                                  same.


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
December     Asset                   12/04/20 KBD             390 telephone conference with real estate broker regarding various remaining properties and                   0.3       0.006        $2.34
2020         Disposition                                          related sales issues (.3).
December     Asset                   12/29/20 KBD             390 Exchange correspondence regarding publication of notice for sale of single family residence               0.2     0.00575        $2.24
2020         Disposition                                          portfolio (.2)
December     Business                12/22/20 KBD             390 Exchange correspondence regarding notice and potential claim relating to property (1516 E                 0.2          0.2      $78.00
2020         Operations                                           85th Place).
December     Claims                  12/09/20 KBD             390 study information regarding claims against properties in single family residence portfolio (.2).          0.2     0.00575        $2.24
2020         Administration
             & Objections

December     Claims                  12/22/20 KBD             390 exchange correspondence regarding notice and potential claim relating to property (1516 E                 0.2          0.2      $78.00
2020         Administration                                       85th Place) (.2).
             & Objections

December     Asset                   12/04/20 JR              140 Review previously delivered delinquency report and exchange correspondence with property                  0.3    0.008625        $1.21
2020         Disposition                                          management requesting current delinquency report for single family home portfolio (.3)

December     Asset                   12/04/20 JR              140 review previously requested rent rolls, leases, subsidy contracts and delinquency reports for             4.6 0.1243243         $17.41
2020         Disposition                                          single family homes, update master rent roll and request additional missing items from
                                                                  property management (1414 East 62nd Place, 1418 East 62nd Place, 1017 W 102nd Street,
                                                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                                  Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                  Avenue) (4.6).

December     Asset                   12/07/20 JR              140 review master rent roll for single family homes and exchange correspondence with A. Porter                0.3    0.008625        $1.21
2020         Disposition                                          regarding same (.3)
December     Asset                   12/07/20 JR              140 exchange correspondence with property management requesting updates to due diligence                      0.1    0.002875        $0.40
2020         Disposition                                          documents for single family homes (.1)
December     Asset                   12/07/20 JR              140 review updated utility bills for single family homes and update electronic files regarding                1.2      0.0345        $4.83
2020         Disposition                                          same (1.2).
December     Asset                   12/07/20 JR              140 review leases for security deposit information related to single family homes (1.3)                       1.3    0.037375        $5.23
2020         Disposition
December     Asset                   12/07/20 JR              140 conference call with A. Porter related to single family portfolio status (.7)                             0.7    0.020125        $2.82
2020         Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
December     Asset                   12/08/20 AEP             390 continue editing, revising, and customizing purchase and sale contract for single-family home            1.0     0.02875      $11.21
2020         Disposition                                          portfolio and review all litigation files to ascertain current status of all administrative and
                                                                  housing court proceedings (1.0).
December     Asset                   12/08/20 JR              140 review email from brokerage firm regarding requested due diligence documents for single                  0.1    0.002875       $0.40
2020         Disposition                                          family homes and respond accordingly (.1).
December     Asset                   12/08/20 JR              140 review additional due diligence documents received from property management for single                   2.7    0.077625      $10.87
2020         Disposition                                          family homes and update electronic files (2.7)
December     Asset                   12/08/20 JR              140 Review utility statements received from property management for single family homes and                  1.6       0.046       $6.44
2020         Disposition                                          update electronic files (1.6)
December     Asset                   12/08/20 JR              140 review and analyze ledgers for single family homes against rent roll and confirm rental                  1.7    0.048875       $6.84
2020         Disposition                                          income consistency in preparation for marketing and providing documents to potential
                                                                  buyers (1.7)
December     Asset                   12/08/20 JR              140 exchange correspondence with property management regarding same (.1)                                     0.1    0.002875       $0.40
2020         Disposition
December     Asset                   12/08/20 JRW             260 Email exchange regarding placement of publication notice for single family portfolio.                    0.2     0.00575       $1.50
2020         Disposition
December     Asset                   12/09/20 AEP             390 Teleconference with J. Rak regarding discrepancies between monthly utility bills and                     0.3    0.008625       $3.36
2020         Disposition                                          operating expenses and possible strategies for fixing issues prior to producing due diligence
                                                                  documents associated with sale of single-family homes (.3)

December     Asset                   12/09/20 AEP             390 read e-mail from J. Wine regarding claims submitted against properties in single-family home             0.2     0.00575       $2.24
2020         Disposition                                          portfolio and update portfolio spreadsheet accordingly (.2).
December     Asset                   12/09/20 AEP             390 review proof of notice of public sale in connection with advertisement of single-family home             0.1    0.002875       $1.12
2020         Disposition                                          portfolio (.1)
December     Asset                   12/09/20 JR              140 Review emails from property management and update master rent roll with requested                        0.3    0.008625       $1.21
2020         Disposition                                          property information for single family homes (.3)
December     Asset                   12/09/20 JR              140 exchange correspondence with A. Porter regarding same (.3).                                              0.3    0.008625       $1.21
2020         Disposition
December     Asset                   12/09/20 JR              140 review updated income and profit statements, compare and analyze expenses with updated                   6.3    0.181125      $25.36
2020         Disposition                                          utility statements provided by property management for single family portfolio in
                                                                  preparation for production to potential buyer (6.3)
December     Asset                   12/10/20 AEP             390 review all tenant ledgers and other documents added to due diligence folder for single-                  0.8       0.023       $8.97
2020         Disposition                                          family homes, reorganize certain file structures and review and approve final rent roll (.8)

December     Asset                   12/10/20 AEP             390 prepare response to broker of single-family homes regarding finalization of due diligence                0.1    0.002875       $1.12
2020         Disposition                                          materials and status of rent roll (.1)
December     Asset                   12/10/20 JR              140 exchange correspondence with brokerage firm and inquire about uploading requested single                 0.1    0.002875       $0.40
2020         Disposition                                          family homes information pertaining to same (.1)
December     Asset                   12/10/20 JR              140 final review of single family homes master rent roll regarding same and make final updates               1.6       0.046       $6.44
2020         Disposition                                          to electronic files (1.6)
December     Asset                   12/10/20 JR              140 exchange correspondence with property management team requesting missing property                        0.3    0.008625       $1.21
2020         Disposition                                          utility statements for single family homes to resolve discrepancies (.3)




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
December     Asset                   12/10/20 JR              140 Finalize review of the income and profit statements and analyze information in electronic              1.7    0.048875        $6.84
2020         Disposition                                          files in preparation for production to single family homes potential buyers (1.7)

December     Asset                   12/10/20 JR              140 organize all due diligence documents including leases in preparation for production to                 1.3    0.037375        $5.23
2020         Disposition                                          brokerage firm related to single family homes (1.3)
December     Asset                   12/10/20 JR              140 exchange correspondence with A. Porter regarding same (single family homes) (.3)                       0.3    0.008625        $1.21
2020         Disposition
December     Asset                   12/11/20 AEP             390 Teleconference with J. Rak regarding remaining discrepancies in single-family home due                 0.1    0.002875        $1.12
2020         Disposition                                          diligence materials (.1)
December     Asset                   12/15/20 AEP             390 finalize first draft of purchase and sale agreement for single-family homes and transmit same          0.6     0.01725        $6.73
2020         Disposition                                          to K. Duff and receivership broker for review and comment (.6)
December     Asset                   12/15/20 JR              140 review additional master rent roll and update sale related to single family homes (.5)                 0.5    0.014375        $2.01
2020         Disposition
December     Asset                   12/15/20 JR              140 Review emails from property management regarding requested property reports and update                 0.4      0.0115        $1.61
2020         Disposition                                          electronic files related to single family home portfolio (.4)
December     Asset                   12/17/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              8.3    0.238625       $93.06
2020         Disposition                                          properties owned by corporate entity.
December     Asset                   12/18/20 AEP             390 Teleconference with J. Rak regarding preparation for sales of single-family home portfolio             1.0     0.02875       $11.21
2020         Disposition                                          and all issues associated with deed preparation, applications for transfer stamps, and value
                                                                  allocations on title commitments (1.0)
December     Asset                   12/18/20 JR              140 exchange correspondence with accounting firm about completion of various 1099 forms                    0.3    0.008625        $1.21
2020         Disposition                                          related to the single family homes for different entities (.3)
December     Asset                   12/18/20 JR              140 Exchange correspondence with broker regarding allocation values of the single family homes             0.2     0.00575        $0.81
2020         Disposition                                          (.2)
December     Asset                   12/18/20 JR              140 draft water applications for single family homes (4.1)                                                 4.1    0.117875       $16.50
2020         Disposition
December     Asset                   12/19/20 AEP             390 prepare title examiner's worksheets relating to single family residence portfolio for all              3.6      0.1035       $40.37
2020         Disposition                                          properties owned by certain corporate entities (3.6).
December     Asset                   12/21/20 AEP             390 Teleconference with title company regarding numerous issues associated with preparation                0.3    0.008625        $3.36
2020         Disposition                                          of title commitment for single-family home portfolio (.3)
December     Asset                   12/21/20 JR              140 review email from the title company and provide requested information regarding closing                0.1    0.002875        $0.40
2020         Disposition                                          documents related to all single family homes (.1)
December     Asset                   12/21/20 JR              140 begin drafting closing checklist for single family homes in preparation for closing (.8)               0.8       0.023        $3.22
2020         Disposition
December     Business                12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.                 0.2 0.0019048          $0.74
2020         Operations
December     Business                12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                       0.1 0.0009524          $0.37
2020         Operations                                           accounting reports and preparation of draft September reports (.1).
December     Business                12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                   0.4 0.0044944          $1.75
2020         Operations
December     Business                12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and             2.1         0.02       $7.80
2020         Operations                                           related financial reporting from property managers (2.1).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
December     Business                12/09/20 KMP         140 Prepare request for funds transfer to financing company for payment of insurance premium               0.4 0.0075472          $1.06
2020         Operations                                       financing and communications with K. Duff and bank representatives regarding same (.4)

December     Business                12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from              2.6 0.0247619          $9.66
2020         Operations                                       property managers (2.6).
December     Business                12/10/20 ED          390 continue review of June property accounting reports (1.2)                                              1.2 0.0114286          $4.46
2020         Operations
December     Business                12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                  0.1 0.0009524          $0.37
2020         Operations                                       preparation of September property accounting reports (.1)
December     Business                12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                     1.5 0.0142857          $5.57
2020         Operations
December     Business                12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                  1.2 0.0114286          $4.46
2020         Operations                                       accounting reports (.7), and review of related reporting and financial records (.5)

December     Business                12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to            0.9 0.0085714          $3.34
2020         Operations                                       properties (.9).
December     Business                12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                  0.2 0.0019048          $0.74
2020         Operations
December     Business                12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and              0.4 0.0038095          $1.49
2020         Operations                                       changes (.4)
December     Business                12/22/20 JRW         260 Review tax notice (1516 E 85th Pl), related correspondence with K. Duff, A. Watychowicz,               0.6          0.6     $156.00
2020         Operations                                       and accountant and revisions to notice letter (.6)
December     Business                12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance              0.2 0.0037736          $0.53
2020         Operations                                       premium financing and communicate with K. Duff regarding same (.2)
December     Business                12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance               0.2 0.0037736          $0.53
2020         Operations                                       premium financing and communicate with K. Duff and bank representatives regarding same
                                                              (.2)
December     Business                12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                 0.4 0.0038095          $1.49
2020         Operations                                       of insurable values based on property sales, refunds and adjustments to premium finance
                                                              agreements, and updates to schedule of properties.
December     Business                12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                       0.2 0.0019048          $0.74
2020         Operations                                       premium finance agreement payments to reflect sold properties, and timing of refunds
                                                              relating to same.
December     Claims                  12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                         0.2 0.0022472          $0.58
2020         Administration
             & Objections

December     Claims                  12/09/20 JRW         260 study investor claims against single family residence properties and related analysis to K.            0.6     0.01725        $4.49
2020         Administration                                   Duff and A. Porter (.6).
             & Objections

January      Asset                   01/06/21 KBD         390 draft correspondence to A. Porter regarding sale of single family residence portfolio (single          0.1    0.002875        $1.12
2021         Disposition                                      family) (.1).


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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
January      Asset                   01/13/21 KBD         390 exchange correspondence with real estate broker and A. Porter regarding single family                    0.4      0.0115       $4.49
2021         Disposition                                      portfolio questions (single family) (.4).
January      Asset                   01/14/21 KBD         390 Exchange correspondence with real estate broker regarding information about offers and                   0.2     0.00575       $2.24
2021         Disposition                                      planning for review (single family) (.2)
January      Asset                   01/15/21 KBD         390 Exchange correspondence with real estate broker regarding due diligence information for                  0.2     0.00575       $2.24
2021         Disposition                                      single family residence portfolio (single family) and exchange correspondence with J. Rak
                                                              regarding same (.2)
January      Asset                   01/15/21 KBD         390 study correspondence regarding offers for single family residence portfolios (single family)             0.2     0.00575       $2.24
2021         Disposition                                      (.2).
January      Asset                   01/18/21 KBD         390 study offers and summary (single family) (.4)                                                            0.4      0.0115       $4.49
2021         Disposition
January      Asset                   01/18/21 KBD         390 Confer with real estate broker and counsel regarding offers on sale of single family residence           0.9    0.025875      $10.09
2021         Disposition                                      portfolio (single family) (.9)
January      Asset                   01/20/21 KBD         390 attention to offers for single family residence portfolio (single family) (.1).                          0.1    0.002875       $1.12
2021         Disposition
January      Asset                   01/21/21 KBD         390 telephone conference and exchange correspondence with real estate broker regarding sale                  0.2     0.00575       $2.24
2021         Disposition                                      process and offers (single family) (.2)
January      Asset                   01/21/21 KBD         390 telephone conference with lenders' counsel, real estate broker, M. Rachlis, and A. Porter                0.4      0.0115       $4.49
2021         Disposition                                      regarding sale process, offers, and related issues (single family) (.4)
January      Asset                   01/21/21 KBD         390 follow up call regarding sale of single family residence properties with M. Rachlis, A. Porter,          0.4      0.0115       $4.49
2021         Disposition                                      and asset manager (single family) (.4)
January      Asset                   01/21/21 KBD         390 Telephone conference with real estate broker and counsel regarding sale of single family                 0.6     0.01725       $6.73
2021         Disposition                                      residence properties (single family) (.6)
January      Asset                   01/21/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale process issues and                  0.1    0.002875       $1.12
2021         Disposition                                      offers (single family) (.1)
January      Asset                   01/22/21 KBD         390 Telephone conference with real estate broker regarding negotiation with potential buyer                  0.2     0.00575       $2.24
2021         Disposition                                      (single family) (.2)
January      Asset                   01/22/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale negotiations (single                0.2     0.00575       $2.24
2021         Disposition                                      family) (.2).
January      Asset                   01/22/21 KBD         390 telephone conference with and draft correspondence to claimant's counsel regarding offers                0.1    0.002875       $1.12
2021         Disposition                                      and negotiations (single family) (.1)
January      Asset                   01/25/21 KBD         390 Exchange correspondence with real estate broker regarding communication with lender's                    0.2     0.00575       $2.24
2021         Disposition                                      counsel and change of potential buyer's interests (single family).
January      Asset                   01/27/21 KBD         390 Exchange correspondence regarding sale of single family portfolio (single family) and                    0.2     0.00575       $2.24
2021         Disposition                                      revisions to contract.
January      Asset                   01/29/21 KBD         390 exchange correspondence with A. Porter regarding communication from buyer relating to                    0.2     0.00575       $2.24
2021         Disposition                                      sale and inspection (single family) (.2)
January      Asset                   01/29/21 KBD         390 Review and execute sales agreement for single family residence portfolio (single family) (.2)            0.2     0.00575       $2.24
2021         Disposition
January      Asset                   01/29/21 KBD         390 exchange correspondence with broker regarding inspections (single family) (.1)                           0.1    0.002875       $1.12
2021         Disposition
January      Business                01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                         0.2 0.0019048         $0.74
2021         Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
January      Business                01/11/21 KBD             390 study property manager financial reports (.4)                                                           0.4 0.0097561          $3.80
2021         Operations
January      Business                01/11/21 KBD             390 attention to payment of property and general liability insurance (.3).                                  0.3 0.0057692          $2.25
2021         Operations
January      Business                01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property                0.2 0.0019048          $0.74
2021         Operations                                           expenses.
January      Claims                  01/10/21 KBD             390 Exchange correspondence with A. Porter and accounting firm representative regarding                     0.2          0.2      $78.00
2021         Administration                                       collection notice and claim with respect to property (1516 E 85th Place).
             & Objections

January      Claims                  01/11/21 KBD             390 telephone conference with accounting firm representative regarding collection notice (1516              0.3          0.3     $117.00
2021         Administration                                       E 85th Place Associates) (.3).
             & Objections

January      Claims                  01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                      0.1 0.0009524          $0.37
2021         Administration                                       relating to accounting reports (.1).
             & Objections

January      Asset                   01/05/21 AEP             390 prepare e-mails to property managers for single-family homes regarding abstention from                  0.1    0.002875        $1.12
2021         Disposition                                          capital repairs absent consent of receiver (single family) (.1).
January      Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                 2.2 0.0203704          $2.85
2021         Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January      Asset                   01/06/21 AEP             390 update title company spreadsheet with value allocations for each property (single family) (.3)          0.3    0.008625        $3.36
2021         Disposition
January      Asset                   01/06/21 JR              140 Review email from real estate associate requesting updated due diligence documents                      0.1    0.002875        $0.40
2021         Disposition                                          related to marketing of single family homes (single family) (.1)
January      Asset                   01/06/21 JR              140 request same from property management regarding single family homes (single family) (.1).               0.1    0.002875        $0.40
2021         Disposition
January      Asset                   01/07/21 JR              140 Review email from property management related to single family homes and review of due                  0.2     0.00575        $0.81
2021         Disposition                                          diligence documents regarding same (single family).
January      Asset                   01/08/21 AEP             390 teleconference with title underwriter regarding single-family home title exceptions being               0.1    0.002875        $1.12
2021         Disposition                                          waived on risk (single family) (.1).
January      Asset                   01/11/21 AEP             390 read tax deficiency notice pertaining to entity (1516 E 85th Place Associates) and prepare e-           0.2          0.2      $78.00
2021         Disposition                                          mail to title underwriter inquiring as to legal effect (1516 E 85th Place) (.2)

January      Asset                   01/11/21 AEP             390 teleconference with title underwriter regarding potential defects in conveyance of                      0.3          0.3     $117.00
2021         Disposition                                          receivership property (1516 E 85th Place), existence of operating agreement for ownership
                                                                  entity, and need for scrivener's affidavit (.3).
January      Asset                   01/11/21 JR              140 follow up communication with property management regarding updates to due diligence                     0.1    0.002875        $0.40
2021         Disposition                                          documents related to single family homes (single family) (.1)




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Asset                   01/11/21 JR              140 exchange correspondence with property management requesting missing items (single                      0.2     0.00575       $0.81
2021         Disposition                                          family) (.2)
January      Asset                   01/11/21 JR              140 update electronic files for same (single family) (.4)                                                  0.4      0.0115       $1.61
2021         Disposition
January      Asset                   01/11/21 JR              140 review due diligence documents for all single family homes, update electronic files and                3.1    0.089125      $12.48
2021         Disposition                                          update master rent roll and property folders requested by broker (single family) (3.1)

January      Asset                   01/11/21 JR              140 exchange correspondence with brokerage firm advising of all requested due diligence                    0.1    0.002875       $0.40
2021         Disposition                                          document updates related to single family homes (single family) (.1).
January      Asset                   01/13/21 AEP             390 Teleconference with J. Rak regarding responses to inquiries from broker regarding single-              0.4      0.0115       $4.49
2021         Disposition                                          family home portfolio (single family) (.4)
January      Asset                   01/13/21 AEP             390 reorganize all single-family home files into tranches consistent with deeds and title                  0.8       0.023       $8.97
2021         Disposition                                          commitments (single family) (.8).
January      Asset                   01/13/21 AEP             390 finalize purchase and sale contract for conveyance of single-family home portfolio and                 0.5    0.014375       $5.61
2021         Disposition                                          transmit same to receivership broker (single family) (.5)
January      Asset                   01/13/21 JR              140 Review email from brokerage firm related to requested items related to single family homes             0.3    0.008625       $1.21
2021         Disposition                                          and respond accordingly (single family) (.3)
January      Asset                   01/13/21 JR              140 review property tax balances and update outstanding tax report related to all single family            2.1    0.060375       $8.45
2021         Disposition                                          homes and remaining unsold multi-family homes (single family) (2.1).

January      Asset                   01/13/21 JR              140 exchange correspondence with brokerage firm providing requested information related to                 0.6     0.01725       $2.42
2021         Disposition                                          single family homes (single family) (.6)
January      Asset                   01/13/21 JR              140 telephone call with A. Porter regarding requested items related to the single family home              0.5    0.014375       $2.01
2021         Disposition                                          portfolio (single family) (.5)
January      Asset                   01/13/21 JR              140 exchange correspondence with property management requesting due diligence items                        0.2     0.00575       $0.81
2021         Disposition                                          related to single family homes (single family) (.2)
January      Asset                   01/15/21 JR              140 Review email from brokerage firm, confer with K. Duff and respond accordingly (single                  0.1    0.002875       $0.40
2021         Disposition                                          family) (.1)
January      Asset                   01/18/21 MR              390 meeting on single family home sale (single family) (.9).                                               0.9    0.025875      $10.09
2021         Disposition
January      Asset                   01/18/21 MR              390 Review email regarding summary and issues for single family home sales (single family) (.2)            0.2     0.00575       $2.24
2021         Disposition
January      Asset                   01/21/21 AEP             390 Conference call with receivership brokers regarding results of "highest and best" bid                  0.5    0.014375       $5.61
2021         Disposition                                          submissions in connection with single-family home portfolio, bases for potentially low offer
                                                                  prices, and strategy for proceeding (single family) (.5)
January      Asset                   01/21/21 AEP             390 teleconference with K. Duff, M. Rachlis, and real estate broker regarding single-family home           0.4      0.0115       $4.49
2021         Disposition                                          marketing efforts (single family) (.4)
January      Asset                   01/21/21 AEP             390 conference call with receivership brokers, counsel for secured lenders, K. Duff, and M.                0.4      0.0115       $4.49
2021         Disposition                                          Rachlis regarding outcome of marketing effort for single family homes and next steps in sales
                                                                  process (single family) (.4)
January      Asset                   01/21/21 AEP             390 review title commitments for all single-family homes and create list of encumbrances                   0.6     0.01725       $6.73
2021         Disposition                                          potentially requiring hold harmless letters or other clearance (single family) (.6).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Asset                   01/21/21 JR              140 Telephone conference with K. Duff, M. Rachlis, A. Porter and brokerage firm regarding final            0.6     0.01725       $2.42
2021         Disposition                                          and best offers from interested buyers related to single family homes (single family) (.6)

January      Asset                   01/21/21 MR              390 Attention to single family home issues with real estate broker (single family) (.6)                    0.6     0.01725       $6.73
2021         Disposition
January      Asset                   01/21/21 MR              390 follow up conference with K. Duff and A. Porter regarding single family home issues (single            0.3    0.008625       $3.36
2021         Disposition                                          family) (.3)
January      Asset                   01/21/21 MR              390 conference regarding process with claimant's counsel and regarding single family home                  0.4      0.0115       $4.49
2021         Disposition                                          portfolio (single family) (.4)
January      Asset                   01/22/21 JR              140 draft water applications for the single-family homes (single family) (2.5)                             2.5    0.071875      $10.06
2021         Disposition
January      Asset                   01/27/21 AEP             390 Review rider to purchase and sale agreement tendered by prospective purchaser of single-               0.4      0.0115       $4.49
2021         Disposition                                          family homes and prepare e-mail to K. Duff regarding lack of corporate existence of signatory
                                                                  to agreement (single family) (.4)
January      Business                01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                           0.1 0.0009524         $0.37
2021         Operations
January      Business                01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                   0.5 0.0047619         $1.86
2021         Operations
January      Business                01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                         0.3 0.0028571         $1.11
2021         Operations                                           properties, and email correspondence with K. Duff regarding same (.3)
January      Business                01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                       4.1 0.0390476         $5.47
2021         Operations
January      Business                01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond                  0.1 0.0009524         $0.13
2021         Operations                                           accordingly regarding status review of same (.1)
January      Business                01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October                 0.2 0.0019048         $0.27
2021         Operations                                           and November 2020 and forward same to her.
January      Business                01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                        1.9 0.0180952         $7.06
2021         Operations
January      Business                01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                   1.3    0.012381       $4.83
2021         Operations                                           property (1.3).
January      Business                01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                       0.1 0.0009524         $0.13
2021         Operations                                           reporting (.1).
January      Business                01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                           2.4 0.0228571         $3.20
2021         Operations
January      Business                01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration                3.4    0.032381      $12.63
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration                0.9 0.0085714         $3.34
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
January      Business                01/11/21 KMP         140 Prepare form for transfer of funds to financing company for insurance premium installment,           0.4 0.0076923         $1.08
2021         Operations                                       and communicate with bank representatives and K. Duff regarding same (.4)

January      Business                01/12/21 ED          390 Review revised statement drafts from accountant and draft email explaining comments and              0.6 0.0057143         $2.23
2021         Operations                                       corrections necessary.
January      Business                01/14/21 ED          390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571         $1.11
2021         Operations                                       analysis of reimbursable amounts owed, and review of related correspondence and
                                                              documents.
January      Business                01/15/21 ED          390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021         Operations
January      Business                01/16/21 ED          390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021         Operations                                       (.3).
January      Business                01/16/21 ED          390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021         Operations                                       and reimbursable amounts as of September 31, 2020 (1.7)
January      Business                01/18/21 ED          390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                       transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                              with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business                01/18/21 ED          390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021         Operations
January      Business                01/19/21 AW          140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                       prepare same as per E. Duff's request.
January      Business                01/19/21 ED          390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                       allocations of insurance costs, application of refunds, and reduction of payments due under
                                                              insurance premium finance agreements, to reflect changes in property portfolio due to
                                                              property sales (.5)
January      Business                01/24/21 ED          390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                       properties (.6)
January      Business                01/24/21 ED          390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                       and effect on data presented in September accounting reports (.4)

January      Business                01/24/21 ED          390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business                01/25/21 ED          390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                       updates (.8)
January      Business                01/25/21 ED          390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                       and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                              email correspondence with accountants and J. Rak (.4).

January      Business                01/25/21 ED          390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                       reports (1.7)
January      Business                01/25/21 KMP         140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Business                01/27/21 KMP             140 Prepare form for funds transfer to financing company for payment of insurance premium                  0.4 0.0076923         $1.08
2021         Operations                                           installment and communicate with bank representative and K. Duff regarding same.

January      Business                01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance               0.4 0.0076923         $1.08
2021         Operations                                           premium financing, and forward to K. Duff.
January      Claims                  01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                   0.6 0.0057143         $0.80
2021         Administration                                       lenders.
             & Objections

February     Asset                   02/03/21 KBD             390 study correspondence from broker regarding communication with buyer regarding terms                    0.1    0.002875       $1.12
2021         Disposition                                          (single family) (.1)
February     Asset                   02/03/21 KBD             390 exchange correspondence with J. Rak regarding accounts for single family properties (single            0.1    0.002875       $1.12
2021         Disposition                                          family) (.1).
February     Asset                   02/04/21 KBD             390 Exchange correspondence with A. Porter regarding proposed rider to PSA (single family).                0.2     0.00575       $2.24
2021         Disposition
February     Asset                   02/05/21 KBD             390 attention to negotiation with buyer of single family portfolio (single family) (.3).                   0.3    0.008625       $3.36
2021         Disposition
February     Asset                   02/06/21 KBD             390 Study correspondence from A. Porter regarding negotiation with buyer of single family                  0.2     0.00575       $2.24
2021         Disposition                                          portfolio (single family).
February     Asset                   02/08/21 KBD             390 Exchange correspondence regarding resolving due diligence issue with single family                     0.6     0.01725       $6.73
2021         Disposition                                          residence portfolio sale and related conference with A. Porter and real estate broker (single
                                                                  family) (.6)
February     Asset                   02/09/21 KBD             390 Telephone conference with A. Porter regarding single family residence portfolio negotiations           0.5    0.014375       $5.61
2021         Disposition                                          with buyer and exchange additional correspondence (single family) (.5)

February     Asset                   02/10/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding revisions to                   0.3    0.008625       $3.36
2021         Disposition                                          purchase and sale agreement and related communications with purchaser's counsel (single
                                                                  family).
February     Asset                   02/12/21 KBD             390 Telephone conference and exchange correspondence with A. Porter and broker regarding                   0.2     0.00575       $2.24
2021         Disposition                                          negotiation with purchaser (single family) (.2)
February     Asset                   02/16/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.1    0.002875       $1.12
2021         Disposition                                          agreement changes (single family) (.1)
February     Asset                   02/17/21 KBD             390 Exchange correspondence with A. Porter regarding execution of purchase and sale                        0.1    0.002875       $1.12
2021         Disposition                                          agreement (single family) (.1)
February     Asset                   02/23/21 KBD             390 attention to joint order escrow instructions (single family) (.1).                                     0.1    0.002875       $1.12
2021         Disposition
February     Asset                   02/23/21 KBD             390 Exchange correspondence regarding sale and inspections (single family) (.1)                            0.1    0.002875       $1.12
2021         Disposition
February     Asset                   02/24/21 KBD             390 Attention to wire of earnest money and communications with purchaser and broker (single                0.2     0.00575       $2.24
2021         Disposition                                          family).
February     Business                02/02/21 KBD             390 Exchange correspondence regarding real estate tax planning (.2)                                        0.2 0.0040816         $1.59
2021         Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
February     Business                02/08/21 KBD         390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)             0.2 0.0040816         $1.59
2021         Operations
February     Business                02/10/21 KBD         390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                 0.4 0.0093023         $3.63
2021         Operations                                       Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                              Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                              1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue) (.4).

February     Business                02/11/21 KBD         390 exchange correspondence with J. Wine regarding property manager financial reporting (.1).          0.1      0.0025       $0.98
2021         Operations
February     Business                02/15/21 KBD         390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S               0.3 0.0069767         $2.72
2021         Operations                                       Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                              Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                              1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue) (.3).

February     Business                02/15/21 KBD         390 exchange correspondence with J. Rak regarding property tax balances and study information          0.2 0.0040816         $1.59
2021         Operations                                       (.2)
February     Claims                  02/11/21 KBD         390 work on single claims process and timing (.3)                                                      0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                  02/12/21 KBD         390 confer with J. Wine and M. Rachlis regarding single claim process (.5).                            0.5 0.0178571         $6.96
2021         Administration
             & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Claims                  02/12/21 KBD             390 work on single claims process and timing (.3)                                                            0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                  02/16/21 KBD             390 Exchange correspondence with lenders' counsel regarding real estate taxes (4611-17 S Drexel              0.2 0.0014375         $0.56
2021         Administration                                       Boulevard, 7255-57 S Euclid Avenue, 638-40 N Avers Avenue, single family) (.2)
             & Objections

February     Claims                  02/16/21 KBD             390 exchange correspondence with J. Wine regarding process for single claim properties and                   0.2 0.0071429         $2.79
2021         Administration                                       study compiled information (.2).
             & Objections

February     Asset                   02/02/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3    0.008625       $3.36
2021         Disposition                                          negotiation of inspection contingency in language of purchase and sale agreement (single
                                                                  family) (.3).
February     Asset                   02/02/21 AEP             390 Conference with J. Rak regarding all outstanding items associated with all properties                    2.1    0.060375      $23.55
2021         Disposition                                          currently subject to motions to confirm and strategy for preparation of closing documents
                                                                  associated with prospective conveyance of single-family home portfolio (single family) (2.1)

February     Asset                   02/02/21 JR              140 Discuss single family home production of document status and draft same (single family).                 2.5    0.071875      $10.06
2021         Disposition
February     Asset                   02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for                 0.2     0.00115       $0.16
2021         Disposition                                          net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                  Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February     Asset                   02/04/21 AEP             390 Read proposed rider submitted by prospective purchaser of single-family home portfolio,                  0.4      0.0115       $4.49
2021         Disposition                                          edit and revise same, and transmit to broker with explanation for refusal to make certain
                                                                  changes (single family).
February     Asset                   02/04/21 MR              390 attention to single family home issues (single family) (.2).                                             0.2     0.00575       $2.24
2021         Disposition
February     Asset                   02/05/21 AEP             390 Teleconference with receivership broker regarding remaining disputed issues pertaining to                0.2     0.00575       $2.24
2021         Disposition                                          buyer inspection contingency rights in single-family home purchase and sale contract (single
                                                                  family).
February     Asset                   02/06/21 AEP             390 Read and respond to e-mail from counsel for secured lenders regarding status of negotiation              0.1    0.002875       $1.12
2021         Disposition                                          of purchase and sale contract associated with conveyance of single-family home portfolio
                                                                  (single family) (.1)
February     Asset                   02/06/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3    0.008625       $3.36
2021         Disposition                                          potential modifications to contract pertaining to inspection contingency rights (single family)
                                                                  (.3).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
February     Asset                   02/08/21 AEP             390 conference call with counsel for prospective purchaser of single-family home portfolio                  0.9    0.025875      $10.09
2021         Disposition                                          regarding potential resolution of impasse over due diligence language in form purchase and
                                                                  sale agreement (single family) (.6) and preparation of e-mail to receiver and receivership
                                                                  brokers describing impasse and soliciting input on potential solutions (single family) (.3)

February     Asset                   02/09/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                   0.1    0.002875       $1.12
2021         Disposition                                          regarding agreed changes to inspection contingency provision of purchase and sale contract
                                                                  (single family) (.1)
February     Asset                   02/09/21 AEP             390 teleconference with K. Duff regarding status of negotiations over purchase and sale of single-          0.2     0.00575       $2.24
2021         Disposition                                          family homes (single family) (.2).
February     Asset                   02/10/21 AEP             390 Prepare e-mail to receivership broker responding to inquiry regarding status of negotiation             0.2     0.00575       $2.24
2021         Disposition                                          of purchase and sale agreement associated with single-family home portfolio (single family)
                                                                  (.2)
February     Asset                   02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                       0.2 0.0041667         $0.58
2021         Disposition
February     Asset                   02/12/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                   0.3    0.008625       $3.36
2021         Disposition                                          regarding purchaser's counteroffer relating to inspection contingency language and convey
                                                                  summary of deal status to K. Duff and receivership broker (single family) (.3)

February     Asset                   02/12/21 AEP             390 revise proposed purchase and sale agreement pertaining to single-family home portfolio and              0.2     0.00575       $2.24
2021         Disposition                                          transmit same to counsel for prospective purchaser (single family) (.2).

February     Asset                   02/12/21 AEP             390 teleconference with K. Duff and receivership broker regarding relative merits of counteroffer           0.2     0.00575       $2.24
2021         Disposition                                          received from prospective purchaser of single family homes (single family) (.2)

February     Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                 0.4 0.0036697         $0.51
2021         Disposition                                          and status of same (.4)
February     Asset                   02/12/21 JR              140 review current property tax information and payment availability from property                          0.2 0.0040816         $0.57
2021         Disposition                                          management and provide same to K. Duff (.2)
February     Asset                   02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                                0.3 0.0061224         $0.86
2021         Disposition
February     Asset                   02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                  0.2 0.0041667         $0.58
2021         Disposition                                          property taxes (.2)
February     Asset                   02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                          0.2 0.0040816         $0.57
2021         Disposition                                          payment plan arrangement for same (.2).
February     Asset                   02/17/21 AEP             390 Review proposed modified purchase and sale contract submitted by prospective purchaser                  0.2     0.00575       $2.24
2021         Disposition                                          of single-family home portfolio and approve execution of same by receiver (single family) (.2)

February     Asset                   02/19/21 JR              140 update water applications for single family home portfolio with legal descriptions (single              1.2      0.0345       $4.83
2021         Disposition                                          family) (1.2)
February     Asset                   02/19/21 JR              140 draft zoning applications for single family home portfolio (single family) (3.1).                       3.1    0.089125      $12.48
2021         Disposition




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
February     Asset                   02/23/21 AEP             390 Teleconference with title insurance company escrow officer regarding form of SJO                     0.2     0.00575       $2.24
2021         Disposition                                          instructions associated with single-family home portfolio (single family) (.2)
February     Asset                   02/23/21 AEP             390 prepare SJO instructions associated with single-family home portfolio and circulate for              0.1    0.002875       $1.12
2021         Disposition                                          signatures (single family) (.1)
February     Asset                   02/25/21 JR              140 review single family home purchase and sale contract and update closing documents with               1.6       0.046       $6.44
2021         Disposition                                          buyer information (single family) (1.6).
February     Business                02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                          0.4 0.0081633         $1.14
2021         Operations                                           management requesting availability of same for payments of outstanding property taxes.

February     Business                02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation            0.2 0.0019048         $0.74
2021         Operations                                           of October 2020 accounting reports.
February     Business                02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,              3.2 0.0304762         $4.27
2021         Operations                                           November and December and produce same in preparation for review.
February     Business                02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                1.1 0.0104762         $4.09
2021         Operations
February     Business                02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                  3.6 0.0342857         $4.80
2021         Operations
February     Business                02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                            0.2 0.0019048         $0.27
2021         Operations
February     Business                02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial            0.3 0.0028571         $0.40
2021         Operations                                           reporting.
February     Business                02/26/21 KMP             140 Prepare form for funds transfer to finance company for property insurance installment                0.3 0.0057692         $0.81
2021         Operations                                           payment, and communicate with K. Duff and bank representatives regarding same.

February     Claims                  02/12/21 JRW             260 conference with K. Duff and M. Rachlis regarding claims review project, claims distribution          1.5 0.0535714        $13.93
2021         Administration                                       project, and process for single-claim properties (1.5)
             & Objections

February     Claims                  02/16/21 JRW             260 perform analysis of properties with single claim and related correspondence to team (1.9).           1.9 0.0678571        $17.64
2021         Administration
             & Objections

March 2021 Asset                     03/01/21 KBD             390 attention to purchaser inspection of properties and exchange correspondence with real                0.3    0.008625       $3.36
           Disposition                                            estate broker regarding efforts to complete sale (single family) (.3).
March 2021 Asset                     03/15/21 KBD             390 Draft correspondence to A. Porter regarding efforts to complete sale of properties (single           0.1    0.002875       $1.12
           Disposition                                            family).
March 2021 Asset                     03/17/21 KBD             390 Exchange correspondence with A. Porter regarding purchase and sale agreement                         0.1    0.002875       $1.12
           Disposition                                            amendment (single family) (.1)
March 2021 Asset                     03/22/21 KBD             390 Exchange correspondence with A. Porter regarding second amendment to purchase and sale               0.1    0.002875       $1.12
           Disposition                                            agreement (single family).
March 2021 Asset                     03/26/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding buyer                        0.5    0.014375       $5.61
           Disposition                                            communication relating to conditions of single family residence (single family).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2021 Asset                     03/29/21 KBD         390 Telephone conference with A. Porter regarding buyer request for credit (single family) (.2)            0.2     0.00575        $2.24
           Disposition
March 2021 Asset                     03/29/21 KBD         390 confer with real estate broker and A. Porter regarding buyer's request for credit and                  0.5    0.014375        $5.61
           Disposition                                        available options (single family) (.5)
March 2021 Asset                     03/29/21 KBD         390 follow up call with real estate broker and A. Porter regarding buyer's request for credit and          1.3    0.037375       $14.58
           Disposition                                        available options (single family) (1.3)
March 2021 Asset                     03/29/21 KBD         390 telephone conference with A. Porter regarding buyer's request for credit and available                 0.2     0.00575        $2.24
           Disposition                                        options (single family) (.2)
March 2021 Asset                     03/30/21 KBD         390 confer with lender's counsel and A. Porter regarding negotiation over buyer's request for              0.2     0.00575        $2.24
           Disposition                                        credit and broker's commission (single family) (.2)
March 2021 Asset                     03/30/21 KBD         390 Confer on multiple calls with real estate broker and A. Porter regarding negotiation over              0.7    0.020125        $7.85
           Disposition                                        buyer's request for credit and broker's commission (single family) (.7)

March 2021 Asset                     03/30/21 KBD         390 further confer with real estate broker regarding negotiation over buyer's request for credit           0.2     0.00575        $2.24
           Disposition                                        and broker's commission and planning for closing (single family) (.2)
March 2021 Asset                     03/30/21 KBD         390 review amendments to sale agreement and commission agreement (single family) and                       0.2     0.00575        $2.24
           Disposition                                        related communication with A. Porter (single family) (.2)
March 2021 Asset                     03/31/21 KBD         390 exchange correspondence with A. Porter regarding allocations for single family portfolio               0.2     0.00575        $2.24
           Disposition                                        properties (single family) (.2).
March 2021 Asset                     03/31/21 KBD         390 exchange correspondence with A. Porter regarding second amendment to PSA and closing                   0.2     0.00575        $2.24
           Disposition                                        for sale of properties (single family) (.2)
March 2021 Business                  03/02/21 KBD         390 attention to property inspections (single family) (.1).                                                0.1    0.002875        $1.12
           Operations
March 2021 Business                  03/11/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.4         0.01       $3.90
           Operations                                         W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                              Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                              S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                              Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.4)


March 2021 Business                  03/11/21 KBD         390 study other property manager financial reporting (.3).                                                 0.3 0.0076923          $3.00
           Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2021 Business                  03/15/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.5      0.0125       $4.88
           Operations                                         W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                              Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                              S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                              Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.5)


March 2021 Business                  03/16/21 KBD         390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816         $1.59
           Operations
March 2021 Business                  03/22/21 KBD         390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224         $2.39
           Operations                                         remaining properties.
March 2021 Business                  03/30/21 KBD         390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816         $1.59
           Operations
March 2021 Claims                    03/01/21 KBD         390 work on single claim process and exchange correspondence with J. Wine regarding process                0.3 0.0107143         $4.18
           Administration                                     issues (.3).
           & Objections

March 2021 Claims                    03/03/21 KBD         390 work on single claim process and study correspondence from J. Wine regarding process                   0.2 0.0071429         $2.79
           Administration                                     issues (.2)
           & Objections

March 2021 Claims                    03/11/21 KBD         390 confer and exchange correspondence with M. Rachlis and J. Wine regarding single claim                  1.2 0.0428571        $16.71
           Administration                                     properties single claim properties (1.2).
           & Objections

March 2021 Claims                    03/11/21 KBD         390 study proposed process for single claim properties (.3)                                                0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                    03/12/21 KBD         390 exchange correspondence regarding single claims process (.1).                                          0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Claims                    03/12/21 KBD         390 confer with J. Wine and A. Porter regarding potential single claim properties and related              0.8 0.0285714        $11.14
           Administration                                     issues (.8)
           & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
March 2021 Claims                    03/14/21 KBD             390 Analysis of single claim process (.3)                                                                  0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                    03/15/21 KBD             390 telephone conference with claimant's counsel and J. Wine regarding single claim properties             0.5 0.0178571         $6.96
           Administration                                         and process (.5)
           & Objections

March 2021 Claims                    03/19/21 KBD             390 Prepare for and participate in telephone conference with claimants counsel and J. Wine                 0.8       0.023       $8.97
           Administration                                         regarding single claim process and potential third path to claims resolution for certain
           & Objections                                           properties, sale of single family portfolio, and potential alternatives for claims resolution
                                                                  (single family) (.8)
March 2021 Claims                    03/31/21 KBD             390 study correspondence from J. Wine regarding single claim process (.1)                                  0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Claims                    03/31/21 KBD             390 study correspondence from claimant's counsel regarding potential properties for single claim           0.2 0.0071429         $2.79
           Administration                                         process (.2)
           & Objections

March 2021 Asset                     03/01/21 AEP             390 Communications with buyer's counsel, lender's counsel, management companies, and                       0.4      0.0115       $4.49
           Disposition                                            brokers regarding prospective purchase and sale of single-family home portfolio regarding
                                                                  property inspection process (single family) (.4)
March 2021 Asset                     03/01/21 AEP             390 teleconference with title company underwriters regarding status of transaction, status of              0.3    0.008625       $3.36
           Disposition                                            review of remaining exceptions to title, and potential closing date (single family) (.3).

March 2021 Asset                     03/17/21 AEP             390 Review and revise proposed amendment to purchase and sale contract pertaining to single-               0.2     0.00575       $2.24
           Disposition                                            family home portfolio and forward same to K. Duff for execution (single family).

March 2021 Asset                     03/23/21 JR              140 exchange correspondence with A. Porter regarding discrepancies found on the title                      0.2 0.0142857         $2.00
           Disposition                                            commitment and missing legal descriptions regarding same (1017 W 102nd Street, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                                  Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                  S Parnell Avenue) (.2).
March 2021 Asset                     03/23/21 JR              140 Review title commitments and legal descriptions for various parcels and draft closing                  1.8 0.1285714        $18.00
           Disposition                                            documents for single family homes related to EB South Chicago 1 LLC (1017 W 102nd Street,
                                                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue) (1.8)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
March 2021 Asset                     03/24/21 AEP             390 Conference call with N. Gastevich and J. Rak regarding status of preparation of closing                0.2     0.00575        $2.24
           Disposition                                            documents associated with properties in tenth and eleventh motions to confirm sales, as
                                                                  well as single-family home portfolio (single family).
March 2021 Asset                     03/24/21 JR              140 Draft closing documents for single family homes (single family).                                       6.6     0.18975       $26.57
           Disposition
March 2021 Asset                     03/29/21 AEP             390 teleconference with receivership brokers regarding strategy for responding to single-family            0.5    0.014375        $5.61
           Disposition                                            home offer received from prospective purchaser (single family) (.5)
March 2021 Asset                     03/29/21 AEP             390 Review letter from counsel for prospective purchaser of single-family home portfolio                   1.8     0.05175       $20.18
           Disposition                                            requesting credits for alleged undisclosed latent defects, review all inspection reports
                                                                  associated with corresponding alleged defects, teleconference with K. Duff regarding
                                                                  potential response to purchaser, and teleconference with counsel for prospective purchaser
                                                                  regarding timing of response, timing of response to title commitment exception letter, and
                                                                  timing of motion to confirm and potential scheduling of closing (single family) (1.8)

March 2021 Asset                     03/29/21 AEP             390 teleconference with K. Duff regarding offer from prospective purchaser of single family                0.2     0.00575        $2.24
           Disposition                                            homes (single family) (.2)
March 2021 Asset                     03/29/21 AEP             390 teleconference with receivership brokers to analyze credit requests and formulate strategy             1.3    0.037375       $14.58
           Disposition                                            for responding to single- family home offer received (single family) (1.3).

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding strategy for negotiating with           0.3    0.008625        $3.36
           Disposition                                            prospective purchaser of single-family homes (single family) (.3)
March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding proposed offer of credit in             0.2     0.00575        $2.24
           Disposition                                            connection with prospective sale of single-family homes (single family) (.2)

March 2021 Asset                     03/30/21 AEP             390 continued series of conference calls with receivership brokers, counsel for secured lender,            1.5    0.043125       $16.82
           Disposition                                            and K. Duff regarding negotiation of resolution to purchase price credit demanded by
                                                                  prospective purchaser of single-family homes (single family) (1.5).

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and counsel for secured lender regarding strategy for negotiating          0.2     0.00575        $2.24
           Disposition                                            resolution of impasse with prospective purchaser of single-family homes (single family) (.2)

March 2021 Asset                     03/30/21 JR              140 Review amendments to purchase and sale contract related to properties (single family) (.1)             0.1    0.002875        $0.40
           Disposition
March 2021 Asset                     03/30/21 JR              140 exchange correspondence with A. Porter requesting update to single family home purchase                0.1    0.002875        $0.40
           Disposition                                            and sale contract status relating to the inspection period (single family) (.1).

March 2021 Asset                     03/30/21 KMP             140 Revise correspondence relating to amendment of representation agreement for single family              0.3    0.008625        $1.21
           Disposition                                            homes, and communicate with K. Duff and A. Porter regarding same (single family) (.3)

March 2021 Asset                     03/31/21 AEP             390 read e-mails from title underwriter, research chain of title of property (1516 E 85th Place),          0.8          0.8     $312.00
           Disposition                                            and prepare scrivener's affidavit to correct discrepancies in grantor- grantee record (.8)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2021 Asset                     03/31/21 AEP             390 teleconference with J. Rak regarding imminent execution of single-family home portfolio                 0.1    0.002875       $1.12
           Disposition                                            purchase and sale agreement and preparation of closing documentation (single family) (.1)

March 2021 Asset                     03/31/21 AEP             390 review proposed revisions to draft second amendment to purchase and sale agreement                      0.5    0.014375       $5.61
           Disposition                                            relating to single-family home portfolio, communicate with K. Duff regarding same, prepare
                                                                  second draft of second amendment, and transmit same to purchaser's counsel and
                                                                  receivership brokers (single family) (.5)
March 2021 Asset                     03/31/21 AEP             390 continue preparation of thirteenth motion to confirm sale of single-family home portfolio               0.7    0.020125       $7.85
           Disposition                                            (single family) (.7)
March 2021 Asset                     03/31/21 AEP             390 Begin preparation of thirteenth motion to confirm sale of single-family home portfolio (single          0.8       0.023       $8.97
           Disposition                                            family) (.8)
March 2021 Asset                     03/31/21 AEP             390 prepare e-mail to counsel for secured lenders on single-family home portfolio regarding                 0.2     0.00575       $2.24
           Disposition                                            need for allocation of sales proceeds among individual properties prior to filing motion to
                                                                  confirm (single family) (.2)
March 2021 Asset                     03/31/21 AEP             390 prepare e-mail to receivership brokers regarding necessity of sworn declaration describing              0.2     0.00575       $2.24
           Disposition                                            marketing process of single-family home portfolio, including specific facts needed to support
                                                                  motion to confirm sale (single family) (.2)
March 2021 Asset                     03/31/21 AEP             390 e-mail communications with K. Duff regarding negotiation of allocations of sales proceeds               0.1    0.002875       $1.12
           Disposition                                            among single-family home properties (single family) (.1)
March 2021 Asset                     03/31/21 JR              140 Exchange communication with A. Porter regarding property portfolio (single family) (.3)                 0.3    0.008625       $1.21
           Disposition
March 2021 Business                  03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                             2.2 0.0209524         $8.17
           Operations
March 2021 Business                  03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                      0.3 0.0028571         $1.11
           Operations
March 2021 Business                  03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                   0.7 0.0066667         $2.60
           Operations
March 2021 Business                  03/11/21 KMP             140 Attention to communication with property manager regarding February 2021 financial                      0.1      0.0025       $0.35
           Operations                                             reporting (.1)
March 2021 Business                  03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                                0.1 0.0019231         $0.27
           Operations
March 2021 Business                  03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and                0.3 0.0057692         $0.81
           Operations                                             communications with K. Duff and bank representative regarding same (.3)

March 2021 Business                  03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                    0.2 0.0019048         $0.74
           Operations
March 2021 Business                  03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership                  1.8 0.0171429         $2.40
           Operations                                             properties and produce same.
March 2021 Business                  03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).                 0.1 0.0009524         $0.37
           Operations




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
March 2021 Claims                    03/01/21 JRW         260 confer with A. Porter regarding potential single claim properties (.1)                              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                    03/01/21 JRW         260 review transcript of proceedings and correspondence with K. Duff and M. Rachlis regarding           0.5    0.014375       $3.74
           Administration                                     process for addressing single-claim properties (single family) (.5)
           & Objections

March 2021 Claims                    03/01/21 MR          390 Attention to issues regarding claims process for handling single family claims, updates on          0.4      0.0115       $4.49
           Administration                                     claims information, and materials to claims vendor.
           & Objections

March 2021 Claims                    03/02/21 JRW         260 exchange correspondence with claimant's counsel regarding single claim properties (.1)              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                    03/03/21 JRW         260 update spreadsheet and related email exchange with A. Porter regarding potential single             0.6 0.0214286         $5.57
           Administration                                     claim properties (.6)
           & Objections

March 2021 Claims                    03/03/21 JRW         260 conference call with claimants' counsel regarding process for single-claim properties (.5)          0.5 0.0178571         $4.64
           Administration
           & Objections

March 2021 Claims                    03/03/21 JRW         260 cursory review of proposal for single claims process and related correspondence to K. Duff          0.1 0.0035714         $0.93
           Administration                                     and M. Rachlis (.1)
           & Objections

March 2021 Claims                    03/03/21 JRW         260 confer with K. Duff and M. Rachlis regarding single claims process (.1)                             0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                    03/11/21 MR          390 Participate in call regarding single claims issues (1.5)                                            1.5 0.0535714        $20.89
           Administration
           & Objections

March 2021 Claims                    03/11/21 MR          390 review material regarding same (.4).                                                                0.4 0.0142857         $5.57
           Administration
           & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2021 Claims                    03/12/21 JRW         260 correspond with K. Duff regarding claims against single family residence portfolio (single             0.1    0.002875       $0.75
           Administration                                     family) (.1).
           & Objections

March 2021 Claims                    03/12/21 JRW         260 Conference with A. Porter, and K. Duff regarding single-claim properties and EBF mortgagees            1.6 0.0615385        $16.00
           Administration                                     (1.1), related correspondence with claimants' counsel (.1), and review records on Recorder
           & Objections                                       of Deeds site and related correspondence to K. Duff and A. Porter (.4) (1017 W 102nd Street,
                                                              1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                    03/15/21 JRW         260 prepare for and telephone conference with claimant's counsel and K. Duff regarding process             0.7 0.0269231         $7.00
           Administration                                     for the resolution of claims against properties (.5), and related legal research (.2) (1017 W
           & Objections                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                              Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                              11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                              S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                              9610 S Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                    03/19/21 JRW         260 telephone conference with claimants' counsel regarding process for single-claim properties             1.0 0.0384615        $10.00
           Administration                                     (.8) and related review of spreadsheets regarding EBF mortgagees (.2) (1017 W 102nd Street,
           & Objections                                       1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue)




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2021 Claims                    03/23/21 JRW         260 research recorder of deeds site and claim submission regarding purported single claim                  2.5 0.0961538         $25.00
           Administration                                     properties identified by claimant and update spreadsheet regarding same (1017 W 102nd
           & Objections                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                              7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                              11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                              S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                              9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (2.5)

March 2021 Claims                    03/31/21 JRW         260 study chart from claimants' counsel and related analysis to K. Duff (.4) and continue                  1.3         0.05      $13.00
           Administration                                     analyzing claims against properties (.9) (1017 W 102nd Street, 1516 E 85th Place, 2136 W
           & Objections                                       83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                              6759 S Indiana Avenue).

April 2021   Asset                   04/02/21 KBD         390 Study allocations of value, costs, and commission and various related correspondence (single           0.2     0.00575        $2.24
             Disposition                                      family).
April 2021   Asset                   04/05/21 KBD         390 Work on motion to approve sale and exchange related correspondence (single family) and                 0.3    0.008625        $3.36
             Disposition                                      exchange related correspondence with A. Porter.
April 2021   Asset                   04/06/21 KBD         390 study and revise motion to approve sale and exchange various related correspondence                    0.5    0.014375        $5.61
             Disposition                                      (single family) (.5).
April 2021   Asset                   04/06/21 KBD         390 Exchange correspondence with A. Porter regarding closing costs and efforts to reduce (single           0.2     0.00575        $2.24
             Disposition                                      family) (.2)
April 2021   Asset                   04/07/21 KBD         390 study draft motion to approve sale of single family residence portfolio (single family) (.2).          0.2     0.00575        $2.24
             Disposition
April 2021   Asset                   04/07/21 KBD         390 Telephone conference with A. Porter regarding draft motion to approve sale of single family            0.2     0.00575        $2.24
             Disposition                                      residence portfolio, communications with lender's counsel, property values, closing credits,
                                                              and allocations (single family) (.2)
April 2021   Asset                   04/08/21 KBD         390 Work on motion to approve sale of properties (single family).                                          0.2     0.00575        $2.24
             Disposition
April 2021   Asset                   04/09/21 KBD         390 Exchange correspondence with A. Porter regarding revision to and filing of motion to                   0.2     0.00575        $2.24
             Disposition                                      approve sale of properties (single family).
April 2021   Asset                   04/10/21 KBD         390 Exchange correspondence regarding filing and service of motion to approve sale of                      0.2     0.00575        $2.24
             Disposition                                      properties (single family).
April 2021   Asset                   04/12/21 KBD         390 Exchange various correspondence regarding filing of motion to approve sale of properties               0.2     0.00575        $2.24
             Disposition                                      (single family).
April 2021   Asset                   04/15/21 KBD         390 Exchange correspondence with J. Rak regarding property value allocation (single family).               0.2     0.00575        $2.24
             Disposition


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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Asset                   04/26/21 KBD         390 exchange correspondence regarding single family residence motion and plans for entry of              0.2     0.00575       $2.24
             Disposition                                      order (single family) (.2).
April 2021   Asset                   04/27/21 KBD         390 Work on single family residence motion and entry of order (single family) (.1)                       0.1    0.002875       $1.12
             Disposition
April 2021   Business                04/06/21 KBD         390 Study correspondence from E. Duff regarding accounting reports for lender (single family).           0.2     0.00575       $2.24
             Operations
April 2021   Business                04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                       Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                              East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham) (.2)


April 2021   Business                04/13/21 KBD         390 exchange correspondence with J. Rak regarding planning for and payment of real estate                0.3     0.00625       $2.44
             Operations                                       taxes and related communications with property manager (.3)
April 2021   Business                04/13/21 KBD         390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                       7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                              Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                              1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                              Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                              Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                              1414-18 East 62nd Place) (.3)

April 2021   Business                04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                       property managers regarding to same (1.0)




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                       7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business                04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-          0.3 0.0065217         $2.54
             Operations                                       06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                              1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3)




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2021   Business                04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                       insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                              Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.8)


April 2021   Business                04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                      0.2 0.0044444         $1.73
             Operations                                       Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)).




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/29/21 KBD         390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                       J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                              85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                              Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                              S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                              W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                              2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                              1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                              6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                              East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)


April 2021   Business                04/30/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                       Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Claims                  04/08/21 KBD         390 study chart, spreadsheet, and mortgage record regarding single claim properties and process          0.3 0.0107143         $4.18
             Administration                                   and exchange related correspondence (.3)
             & Objections

April 2021   Claims                  04/14/21 KBD         390 Telephone conference with SEC (.8)                                                                   0.8 0.0285714        $11.14
             Administration
             & Objections

April 2021   Claims                  04/15/21 KBD         390 study correspondence from J. Wine regarding single claim process (.3).                               0.3 0.0107143         $4.18
             Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2021   Claims                  04/21/21 KBD         390 study correspondence from claimant's counsel regarding single claim properties (.1).                   0.1 0.0035714         $1.39
             Administration
             & Objections

April 2021   Claims                  04/26/21 KBD         390 work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,              0.3 0.0115385         $4.50
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette
             & Objections                                     Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S
                                                              Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E
                                                              87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                              Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                              8517 S Vernon Avenue,2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue) (.3)

April 2021   Claims                  04/28/21 KBD         390 Telephone conference with J. Wine in preparation for call with claimants' counsel regarding            0.1 0.0035714         $1.39
             Administration                                   process for single claim properties (.1)
             & Objections

April 2021   Claims                  04/28/21 KBD         390 draft correspondence to claimants' counsel regarding call and planning for process for single          0.1 0.0035714         $1.39
             Administration                                   claim properties and exchange related correspondence (.1).
             & Objections

April 2021   Claims                  04/29/21 KBD         390 review spreadsheets, property and claims information, and various correspondence relating              0.5 0.0192308         $7.50
             Administration                                   to potential lender properties to be included in single claim process (1017 W 102nd Street,
             & Objections                                     1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue) (.5).

April 2021   Claims                  04/29/21 KBD         390 telephone conference with J. Wine regarding potential lender properties to be included in              0.4 0.0153846         $6.00
             Administration                                   single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
             & Objections                                     Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S
                                                              Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.4)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
April 2021   Claims                  04/30/21 KBD             390 study correspondence and information regarding single claim properties (1017 W 102nd                      0.2 0.0153846         $6.00
             Administration                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                         7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue,
                                                                  7110 S Cornell Avenue) (.2)
April 2021   Asset                   04/01/21 AEP             390 teleconference with counsel for secured lenders regarding process for allocating values                   0.6     0.01725       $6.73
             Disposition                                          across all individual properties in single-family home portfolio (single family) (.6)

April 2021   Asset                   04/01/21 AEP             390 Review title commitment for each property in single-family home portfolio, create list of                 4.2     0.12075      $47.09
             Disposition                                          special exceptions requiring attention and create exhibit to forthcoming motion to confirm
                                                                  identifying all encumbrances on all 38 properties (single family) (4.2)

April 2021   Asset                   04/01/21 AEP             390 communications with prospective purchaser of single-family homes regarding earnest                        0.1    0.002875       $1.12
             Disposition                                          money wiring instructions (single family) (.1)
April 2021   Asset                   04/01/21 AEP             390 prepare communications to property managers regarding restrictions on new leases and                      0.1    0.002875       $1.12
             Disposition                                          building security at single-family homes (single family) (.1)
April 2021   Asset                   04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                          0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                   04/02/21 AEP             390 review spreadsheet prepared by title company, communicate with K. Duff regarding                          0.8       0.023       $8.97
             Disposition                                          estimate of fire damage sustained at single-family home property, merge spreadsheets,
                                                                  prepare final draft of proposed allocations of value of single-family homes, and transmit
                                                                  same to title company and lender's counsel requesting prompt review and finalization (single
                                                                  family) (.8)
April 2021   Asset                   04/02/21 AEP             390 review chain of title for every single property in single-family home portfolio and compile list          4.1    0.117875      $45.97
             Disposition                                          of all mortgage encumbrances against same in connection with finalization of title
                                                                  commitments and preparation of motion to confirm sale (single family) (4.1).

April 2021   Asset                   04/02/21 AEP             390 prepare spreadsheet of single-family homes, review purchaser's inspection contingency price               1.2      0.0345      $13.46
             Disposition                                          reduction demands, confer with K. Duff, and create proposed allocations of value for
                                                                  inclusion in thirteenth motion to confirm sales (single family) (1.2)

April 2021   Asset                   04/02/21 AEP             390 communications with lenders' counsel regarding methodology for allocating values of single-               0.2     0.00575       $2.24
             Disposition                                          family home properties (single family) (.2)
April 2021   Asset                   04/05/21 AEP             390 continue preparing motion to confirm sale of single-family homes and accompanying                         1.6       0.046      $17.94
             Disposition                                          exhibits (single family) (1.6)
April 2021   Asset                   04/05/21 AEP             390 prepare first draft of brokers declaration regarding single-family home marketing process                 0.4      0.0115       $4.49
             Disposition                                          (single family) (.4)
April 2021   Asset                   04/05/21 JRW             260 related review of offering memorandum (single family) (.1)                                                0.1    0.002875       $0.75
             Disposition
April 2021   Asset                   04/05/21 JRW             260 Review and revise 13th motion to confirm sales (single family) (.3)                                       0.3    0.008625       $2.24
             Disposition
April 2021   Asset                   04/06/21 AEP             390 incorporate J. Wine's comments into draft motion to confirm sale of single-family home                    0.1    0.002875       $1.12
             Disposition                                          portfolio (single family) (.1)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                             Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                              Hours         Fees
April 2021   Asset                   04/06/21 AEP             390 teleconferences with title underwriters regarding various approaches to structuring closing                  0.4      0.0115        $4.49
             Disposition                                          of single-family portfolio sale (single family) (.4)
April 2021   Asset                   04/06/21 AEP             390 teleconference with title company regarding final computation of agency fees and                             0.2     0.00575        $2.24
             Disposition                                          mechanics and timeline for closing of single-family homes portfolio (single family) (.2)

April 2021   Asset                   04/06/21 AEP             390 review offering memorandum relating to single-family home portfolio and revise sworn                         0.2     0.00575        $2.24
             Disposition                                          declaration of receivership broker (single family) (.2)
April 2021   Asset                   04/06/21 AEP             390 communications with M. Rachlis and K. Duff regarding valuation methodology relating to                       0.2     0.00575        $2.24
             Disposition                                          motion to confirm sale of single-family home portfolio (single family) (.2)

April 2021   Asset                   04/06/21 AEP             390 teleconference with title underwriters regarding additional issues associated with closing of                0.3    0.008625        $3.36
             Disposition                                          sale of single-family homes, including allocations of closing costs and proof of notice to
                                                                  affected mortgagees (single family) (.3)
April 2021   Asset                   04/06/21 AEP             390 review all title exceptions by prospective purchaser of single-family homes, research same,                  3.8     0.10925       $42.61
             Disposition                                          and prepare comprehensive list of remaining action items associated with requirement to
                                                                  convey clean title (single family) (3.8).
April 2021   Asset                   04/06/21 AEP             390 continue preparation of motion to confirm sales of single-family homes portfolio, including                  2.1    0.060375       $23.55
             Disposition                                          preparation of proposed order, preparation of remaining exhibits, final reconciliation of
                                                                  declaration of receivership broker with factual assertions in brief, assemble all
                                                                  documentation, and forward to receiver with request for final comments (single family) (2.1)

April 2021   Asset                   04/06/21 JR              140 review email from A. Porter regarding zoning certificates for single family homes, update                    1.8     0.05175        $7.25
             Disposition                                          same and further correspond with the title company requesting to process in anticipation for
                                                                  closing (single family) (1.8).
April 2021   Asset                   04/06/21 MR              390 Attention to 13th sales motion (single family) (.2) communicate regarding same with A.                       0.4      0.0115        $4.49
             Disposition                                          Porter and other team members on methodology for single family homes (single family) (.2).

April 2021   Asset                   04/07/21 AEP             390 Review and assemble documentation associated with EquityBuild partnership affiliate                          1.7          1.7     $663.00
             Disposition                                          formed to acquire property (1516 E 85th Place) and revise draft motion to confirm sale of
                                                                  single-family home portfolio to include corporate entity (1516 E 85th Pl Associates) as
                                                                  additional receivership defendant (1.7)
April 2021   Asset                   04/07/21 AEP             390 teleconference with K. Duff regarding final allocation issues associated with motion to                      0.2     0.00575        $2.24
             Disposition                                          confirm sale of single-family home portfolio (single family) (.2)
April 2021   Asset                   04/07/21 AEP             390 make final edits to motion to confirm sale of single-family home portfolio, assemble all                     0.5    0.014375        $5.61
             Disposition                                          exhibits, and transmit to counsel for institutional lender for final review prior to filing (single
                                                                  family) (.5).
April 2021   Asset                   04/08/21 AEP             390 finalize response to counsel for prospective purchaser of single-family home portfolio                       0.4      0.0115        $4.49
             Disposition                                          regarding special exceptions to be deleted from title commitment (single family) (.4)

April 2021   Asset                   04/08/21 AEP             390 Communications with title company regarding processing of zoning certificates for single-                    0.2     0.00575        $2.24
             Disposition                                          family homes, correction of errors regarding unit counts, and timing of processing of water
                                                                  certificates (single family) (.2)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
April 2021   Asset                   04/08/21 AEP             390 prepare comprehensive e-mail memorandum to title underwriter regarding basis for                          0.8       0.023       $8.97
             Disposition                                          deletion of numerous special exceptions on title to single-family home portfolio (single
                                                                  family) (.8)
April 2021   Asset                   04/08/21 AEP             390 review final signed declaration from receivership broker, audit and finalize all exhibits to              0.3    0.008625       $3.36
             Disposition                                          motion to confirm sale of single-family home portfolio, and deliver final motion papers to K.
                                                                  Duff for filing and service (single family) (.3)
April 2021   Asset                   04/08/21 JR              140 Review single family homes due diligence documents in preparation for closing and update                  1.1    0.031625       $4.43
             Disposition                                          electronic files (single family).
April 2021   Asset                   04/09/21 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents (single-                  0.3 0.0021563         $0.84
             Disposition                                          family, 4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue) (.3)

April 2021   Asset                   04/09/21 JR              140 exchange correspondence with buyer requesting buyer information required for upcoming                     0.2     0.00575       $0.81
             Disposition                                          closings (single family) (.2)
April 2021   Asset                   04/12/21 AW              140 Review thirteenth sale motion and prepare notice of motion and certificate of service for                 0.7    0.020125       $2.82
             Disposition                                          title company (single family) (.7)
April 2021   Asset                   04/12/21 AW              140 prepare service email and serve as per certificate of service (single family) (.4).                       0.4      0.0115       $1.61
             Disposition
April 2021   Asset                   04/12/21 AW              140 email exchange regarding filing of thirteenth sale motion, finalize motion, file with court, and          0.4      0.0115       $1.61
             Disposition                                          communicate with K. Duff regarding service of same (single family) (.4)

April 2021   Asset                   04/12/21 KMP             140 Communications with K. Duff and A. Watychowicz regarding thirteenth motion to approval                    0.2     0.00575       $0.81
             Disposition                                          property sales and related affidavit of service requested by title company (single family).

April 2021   Asset                   04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                   0.1 0.0009524         $0.13
             Disposition                                          amounts and respond accordingly (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and                0.1 0.0009524         $0.13
             Disposition                                          payment of same (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-                 0.3 0.0028571         $0.40
             Disposition                                          reconciliation amounts (see D) (.3)
April 2021   Asset                   04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with                1.3 0.0265306         $3.71
             Disposition                                          K. Duff regarding same (see E) (1.3)
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with buyer regarding requested buyer information related to                       0.1    0.002875       $0.40
             Disposition                                          closings (single family) (.1)
April 2021   Asset                   04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                    1.4 0.0133333         $1.87
             Disposition                                          with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                   04/14/21 JR              140 review additional due diligence documents related to single family homes (single family) (.5)             0.5    0.014375       $2.01
             Disposition
April 2021   Asset                   04/14/21 JR              140 update closing documents related to the single family home portfolio (single family) (2.8).               2.8      0.0805      $11.27
             Disposition
April 2021   Asset                   04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                       0.2 0.0040816         $0.57
             Disposition                                          tax balances that remain in the EquityBuild estate (see E) (.2)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2021   Asset                   04/15/21 AEP             390 Comprehensive and final review and inventory of all exceptions to title on single-family               2.3    0.066125      $25.79
             Disposition                                          home portfolio, preparation of final checklist, and transmit same to title company
                                                                  underwriter with request for teleconference (single family) (2.3)
April 2021   Asset                   04/15/21 JR              140 update master spreadsheet portfolio with value allocations related to single family homes              0.5    0.014375       $2.01
             Disposition                                          (single family) (.5)
April 2021   Asset                   04/15/21 JR              140 review email from K. Duff requesting updated spreadsheet related to purchase price, sale               0.7    0.020125       $2.82
             Disposition                                          price and single family home value allocations related to all properties, further related
                                                                  correspondence with A. Porter and prepare report regarding value allocations (single family)
                                                                  (.7)
April 2021   Asset                   04/15/21 JR              140 update water applications for single family homes (single family) (2.6).                               2.6     0.07475      $10.47
             Disposition
April 2021   Asset                   04/16/21 JR              140 exchange correspondence with buyer requesting buyer information related to water bills for             0.2     0.00575       $0.81
             Disposition                                          single family homes (single family) (.2)
April 2021   Asset                   04/16/21 JR              140 review email from property management related to review of tax payments regarding past                 1.3 0.0265306         $3.71
             Disposition                                          due and current property tax payments, save in electronic files and update spreadsheet
                                                                  regarding same (see E) (1.3)
April 2021   Asset                   04/16/21 JR              140 Update water applications for single family homes (single family) (1.3)                                1.3    0.037375       $5.23
             Disposition
April 2021   Asset                   04/16/21 JR              140 review email from title company related to processed water applications for single family              0.1 0.0009583         $0.13
             Disposition                                          homes and other properties scheduled to close and update electronic files (single family,
                                                                  4611-17 S Drexel Boulevard, 7024-32 S Paxton Avenue) (.1)

April 2021   Asset                   04/16/21 JR              140 update buyer information on water applications for single family homes (single family) (1.7).          1.7    0.048875       $6.84
             Disposition
April 2021   Asset                   04/19/21 AEP             390 review latest revised title commitments on single-family home portfolio and save in files              0.1    0.002875       $1.12
             Disposition                                          (single family) (.1).
April 2021   Asset                   04/19/21 AEP             390 Teleconference with title company underwriter regarding requests for waiver of assorted                0.7    0.020125       $7.85
             Disposition                                          special exceptions to title commitments on single-family home portfolio (single family) (.7)

April 2021   Asset                   04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of               0.2 0.0040816         $0.57
             Disposition                                          EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                   04/20/21 AEP             390 communications with prospective purchaser of single-family homes regarding projected                   0.2     0.00575       $2.24
             Disposition                                          closing timeline (single family) (.2)
April 2021   Asset                   04/26/21 JR              140 review email from A. Porter related to obtaining releases related to single family homes in            0.1    0.002875       $0.40
             Disposition                                          preparation for closing and respond accordingly (single family) (.1).
April 2021   Asset                   04/27/21 AEP             390 Cursory review of judicial order approving motion to confirm sale of single-family home                0.2     0.00575       $2.24
             Disposition                                          portfolio and distribute same to brokers, title underwriters, buyers, buyers' counsel, and
                                                                  counsel for institutional lenders (single family) (.2)
April 2021   Asset                   04/27/21 AEP             390 review zoning certificates received on various single-family home properties and                       0.2     0.00575       $2.24
             Disposition                                          communicate with J. Rak regarding filing and inventorying of same (single family) (.2).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
April 2021   Asset                   04/27/21 AW              140 Communicate with J., Wine regarding proposed order granting thirteenth sale motion, work                 0.5    0.014375       $2.01
             Disposition                                          to finalize order, and email J. Wine regarding same (single family).
April 2021   Asset                   04/27/21 JR              140 Follow up correspondence with buyer requesting buyer information in anticipation of                      0.2     0.00575       $0.81
             Disposition                                          closings (single family) (.2)
April 2021   Asset                   04/27/21 JRW             260 related correspondence to courtroom deputy regarding entry of order (single family) (.3).                0.3    0.008625       $2.24
             Disposition
April 2021   Asset                   04/27/21 JRW             260 Finalize proposed order granting 13th sales motion (single family) (.4)                                  0.4      0.0115       $2.99
             Disposition
April 2021   Asset                   04/28/21 AEP             390 E-mail communications with title underwriter regarding inability to obtain releases of prior             0.2    0.002875       $1.12
             Disposition                                          security documents (5437 S Laflin Street) (.1), e-mail communications with J. Rak regarding
                                                                  inability to obtain new borrower information from prospective purchaser of single-family
                                                                  homes and need to update title commitments (single family) (.1)

April 2021   Asset                   04/28/21 JR              140 exchange correspondence with vendor requesting processing of water certifications                        0.1    0.002875       $0.40
             Disposition                                          regarding properties (single family) (.1)
April 2021   Asset                   04/28/21 JR              140 Exchange communication with buyer relating to scheduling of properties for closing (single               0.5    0.014375       $2.01
             Disposition                                          family) (.5)
April 2021   Asset                   04/29/21 JR              140 exchange correspondence with the title company requesting updates to the title                           0.3    0.008625       $1.21
             Disposition                                          commitments for properties (single family) (.3)
April 2021   Asset                   04/29/21 JR              140 further correspond with the title company regarding water applications (single family) (.3)              0.3    0.008625       $1.21
             Disposition
April 2021   Asset                   04/29/21 JR              140 submit water applications to the title company regarding water applications (single family)              0.6     0.01725       $2.42
             Disposition                                          (.6)
April 2021   Asset                   04/29/21 JR              140 review email from vendor regarding obtaining water certifications for properties and related             0.2     0.00575       $0.81
             Disposition                                          correspondence with A. Porter (single family) (.2)
April 2021   Asset                   04/30/21 AEP             390 review water certificates received for all properties in EB South Chicago 1 and EB South                 0.2 0.0068966         $2.69
             Disposition                                          Chicago 2 (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue) and update closing checklists (.2)

April 2021   Asset                   04/30/21 AEP             390 review assignment of purchase and sale contract associated with single-family home                       0.3    0.008625       $3.36
             Disposition                                          portfolio and update receivership spreadsheet tying each property to each prospective
                                                                  purchaser (single family) (.3)
April 2021   Asset                   04/30/21 AEP             390 review value allocations for single-family homes for listing purposes and value allocations per          0.6     0.01725       $6.73
             Disposition                                          agreement with secured lenders, and include information in portfolio spreadsheet (single
                                                                  family) (.6).
April 2021   Asset                   04/30/21 JR              140 review requested water certification and update electronic files for properties (single family)          0.6     0.01725       $2.42
             Disposition                                          (.6)


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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2021   Asset                   04/30/21 JR              140 review email from property management regarding requested property reports related to               0.2 0.0042553         $0.60
             Disposition                                          the property insurance renewals (see A) (.2)
April 2021   Asset                   04/30/21 JR              140 exchange correspondence with property management requesting updated rent rolls for                  0.2 0.0042553         $0.60
             Disposition                                          remainder of properties in the estate regarding property insurance renewal (see A) (.2)

April 2021   Business                04/05/21 ED              390 begin review drafts of November accounting reports for 14 properties (1017 W 102nd Street,          0.2 0.0142857         $5.57
             Operations                                           1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue) (.2)

April 2021   Business                04/05/21 ED              390 and related email correspondence with K. Duff and M. Rachlis (.2).                                  0.2 0.0047619         $1.86
             Operations
April 2021   Business                04/05/21 ED              390 review and reply to lender's counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd           0.3 0.0071429         $2.79
             Operations                                           Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                  Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                  Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                  S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                  87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                  Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S
                                                                  Laflin Street, 6759 S Indiana Avenue, 9610 S Woodlawn Avenue, 7300-04 St Lawrence
                                                                  Avenue, 7760 S Coles Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                  Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 8214-16 S
                                                                  Ingleside Avenue) regarding financial reporting (.3)


April 2021   Business                04/07/21 JR              140 review November property financial reports (1.5).                                                   1.5 0.0142857         $2.00
             Operations
April 2021   Business                04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                  0.1 0.0009524         $0.13
             Operations                                           respond accordingly (.1)
April 2021   Business                04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional          0.2 0.0040816         $0.57
             Operations                                           funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business                04/09/21 JR              140 Review property financial reports.                                                                  3.2 0.0304762         $4.27
             Operations




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2021   Business                04/27/21 SZ              110 Email communication with property manager to obtain list of repairs associated with SFH-              2.4 0.1714286        $18.86
             Operations                                           Trench 1 properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 S
                                                                  Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                                  8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S
                                                                  Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Ave), SFH-
                                                                  Tranch 2 properties (10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street,
                                                                  3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S
                                                                  Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue,
                                                                  8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon
                                                                  Avenue) to review and retrieve repair documentation.

April 2021   Business                04/29/21 JR              140 exchange correspondence with K. Duff regarding property insurance (see A) (.1).                       0.1 0.0021277         $0.30
             Operations
April 2021   Business                04/29/21 JR              140 Review email from K. Duff related to property insurance renewal workbook and make                     1.1 0.0234043         $3.28
             Operations                                           requested updates to same (see A) (1.1)
April 2021   Business                04/30/21 JR              140 Exchange correspondence with J. Wine and E. Duff regarding names of institutional lenders             0.2 0.0042553         $0.60
             Operations                                           as additional insured relating to property insurance renewal (See A).

April 2021   Business                04/30/21 JRW             260 email exchange with J. Rak and E. Duff regarding injured parties on insurance policies (.1).          0.1 0.0021277         $0.55
             Operations
April 2021   Claims                  04/05/21 JRW             260 correspondence with claimant's counsel regarding proposed claims process (.1)                         0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                  04/09/21 AEP             390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding competing claims under                 2.1    0.060375      $23.55
             Administration                                       varying factual scenarios in connection with single-family home portfolio (single family).
             & Objections

April 2021   Claims                  04/13/21 JRW             260 correspondence with claimants' counsel regarding claims process for single claim properties           0.3 0.0107143         $2.79
             Administration                                       and related exchange with K. Duff (.3)
             & Objections

April 2021   Claims                  04/13/21 JRW             260 continued analysis of properties with single claim (1516 E 85th Place, 2136 W 83rd Street,            2.0 0.0714286        $18.57
             Administration                                       7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
             & Objections                                         Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6749-59 S Merrill Avenue, 7110 S
                                                                  Cornell Avenue, 417 Oglesby Avenue, 7925 S Kingston Avenue, 2129 W 71st Street, 1017 W
                                                                  102nd Street, 8403 S Aberdeen Street, 8432 S Essex Avenue, 10012 S LaSalle Avenue, 3213 S
                                                                  Throop Street, 406 E 87th Place, 7712 S Euclid Avenue, 6825 S Indiana Avenue, 7210 S
                                                                  Vernon Avenue, 6759 S Indiana Avenue, 8346 S Constance Avenue, 9212 S Parnell Avenue,
                                                                  8107 S Kingston Avenue, 8517 S Vernon Avenue, 9610 S Woodlawn Avenue) and prepare
                                                                  related spreadsheet (2.0)




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2021   Claims                  04/13/21 MR          390 attention to emails regarding single claims process (.2).                                             0.2 0.0071429         $2.79
             Administration
             & Objections

April 2021   Claims                  04/14/21 AEP         390 Review spreadsheet of claim types relating to mortgages, research title for each property,            2.0 0.0571429        $22.29
             Administration                                   and prepare list of corrections (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,
             & Objections                                     417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 7300-04 S St Lawrence
                                                              Avenue, 7760 S Coles Avenue).

April 2021   Claims                  04/15/21 JRW         260 telephone conference with claimants' counsel regarding liens against single claim properties          1.1 0.0392857        $10.21
             Administration                                   (1.1)
             & Objections

April 2021   Claims                  04/15/21 JRW         260 review proposed procedures addressing single claims against properties from claimants'                0.3 0.0107143         $2.79
             Administration                                   counsel and related analysis to K. Duff (.3)
             & Objections

April 2021   Claims                  04/28/21 JRW         260 telephone conference with K. Duff in preparation for call with claimants' counsel regarding           0.1 0.0035714         $0.93
             Administration                                   process for single claim properties (.1)
             & Objections

April 2021   Claims                  04/28/21 JRW         260 email exchange with claimants' counsel regarding process for single claims (.1)                       0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                  04/29/21 JRW         260 telephone conference with claimants' counsel regarding proposed process for single claim              0.5 0.0178571         $4.64
             Administration                                   properties (.5)
             & Objections




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2021   Claims                  04/30/21 JRW         260 study proposed process for single claim properties and standard discovery, prepare notes              2.2 0.0785714        $20.43
             Administration                                   regarding response to same, related telephone conferences with K. Duff, and related
             & Objections                                     correspondence to claimants' counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                              6759 S Indiana Avenue, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (2.2).

May 2021     Asset                   05/06/21 KBD         390 exchange correspondence with J. Rak regarding sale of properties and segregated accounts              0.2     0.00575       $2.24
             Disposition                                      (single family) (.2).
May 2021     Asset                   05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455         $1.77
             Disposition                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                              Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                              8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021     Asset                   05/17/21 KBD         390 review update of closings from J. Rak (single family, 7255 S Euclid Avenue, 6217-27 S                 0.1 0.0007188         $0.28
             Disposition                                      Dorchester Avenue, 7237-43 S Bennett Avenue) (.1).
May 2021     Asset                   05/20/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding water payment and transfer             0.2     0.00575       $2.24
             Disposition                                      tax payments and logistics for closing (single family) (.2)
May 2021     Asset                   05/20/21 KBD         390 telephone conference with J. Rak regarding problems with purchaser and obtaining                      0.2     0.00575       $2.24
             Disposition                                      necessary documents for closing, including relating to unique municipality issues (single
                                                              family) (.2).
May 2021     Asset                   05/21/21 KBD         390 attention to closing costs and related correspondence (single family) (.1).                           0.1    0.002875       $1.12
             Disposition
May 2021     Asset                   05/24/21 KBD         390 Exchange correspondence with J. Rak regarding closing proceeds and allocation issues (single          0.2     0.00575       $2.24
             Disposition                                      family).
May 2021     Asset                   05/25/21 KBD         390 Work with Andrew Porter and Justyna Rak on closing documents (single family) (1.5)                    1.5    0.043125      $16.82
             Disposition
May 2021     Asset                   05/26/21 KBD         390 exchange correspondence regarding sale proceeds, segregated accounts, and allocations                 0.1    0.002875       $1.12
             Disposition                                      (single family) (.1).


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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2021     Asset                   05/27/21 KBD         390 Exchange correspondence regarding deposit of sale proceeds and allocation (single family)             0.2     0.00575       $2.24
             Disposition                                      (.2)
May 2021     Asset                   05/27/21 KBD         390 telephone conference with and study correspondence from title company representative                  0.3    0.008625       $3.36
             Disposition                                      and exchange correspondence with bank representative regarding transfer of closing
                                                              proceeds (single family) (.3).
May 2021     Asset                   05/28/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and J. Rak regarding                  0.6     0.01725       $6.73
             Disposition                                      closing and disbursement of funds for sale of portfolio of properties (single family) (.6)

May 2021     Business                05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W                0.3 0.0066667         $2.60
             Operations                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                              Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3).

May 2021     Business                05/04/21 KBD         390 Work on insurance renewal and draft correspondence to broker regarding updated                        0.3    0.006383       $2.49
             Operations                                       information (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham, 11318 S Church
                                                              Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                              2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 417
                                                              Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                              S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                              Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                              Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                              Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                              S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                              310 E 50th Street, 6807 S Indiana Avenue) (.3)




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2021     Business                05/05/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding                          0.2 0.0042553         $1.66
             Operations                                       comparison of rates (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham , 11318 S
                                                              Church Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W
                                                              71st Street, 2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              417 Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                              S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                              Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                              Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                              Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                              S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                              310 E 50th Street, 6807 S Indiana Avenue) (.2)


May 2021     Business                05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111         $4.33
             Operations                                       quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                              1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                              Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.5)




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516                0.5 0.0113636         $4.43
             Operations                                       E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.5)

May 2021     Business                05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
             Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)).

May 2021     Business                05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
             Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)).




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties               0.1 0.0022727         $0.89
             Operations                                       (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                              Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                              8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)


May 2021     Business                05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East                 0.3 0.0068182         $2.66
             Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021     Business                05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
             Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3).




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2021     Claims                  05/06/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0035714         $1.39
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.1)

May 2021     Claims                  05/07/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            0.2 0.0071429         $2.79
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                              Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                              Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                              Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                              Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Claims                  05/10/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            4.0 0.1428571        $55.71
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                              Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                              Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                              Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                              Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (4.0)

May 2021     Claims                  05/11/21 KBD         390 telephone conferences with J. Wine regarding single claim process (1017 W 102nd Street,              0.3 0.0107143         $4.18
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.3)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2021     Claims                  05/11/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             3.5       0.125      $48.75
             Administration                                       417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                         Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                  Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                  Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                  Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                  Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (3.5)

May 2021     Claims                  05/11/21 KBD             390 confer with M. Rachlis and J. Wine regarding single claim process (1017 W 102nd Street,               1.7 0.0607143        $23.68
             Administration                                       1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                         Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                  Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                  Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                  Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                  Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                  10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                  Avenue) (1.7)
May 2021     Claims                  05/12/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             0.3 0.0107143         $4.18
             Administration                                       417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                         Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                  Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                  Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                  Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                  Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Asset                   05/03/21 JR              140 review numerous emails from the title company [W. Peca at Chicago Title] related to water             0.7    0.020125       $2.82
             Disposition                                          certificates and update electronic files regarding single family homes (single family) (.7).

May 2021     Asset                   05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of              0.1 0.0003194         $0.04
             Disposition                                          property related to remaining unsold properties in the estate (See B) (.1)

May 2021     Asset                   05/05/21 JR              140 exchange correspondence with buyer requesting property inspection forms in anticipation of            0.1    0.002875       $0.40
             Disposition                                          closing of single family homes (single family) (.1)
May 2021     Asset                   05/06/21 AEP             390 Teleconference with J. Rak relating to form of preparation of each closing document and               0.9    0.025875      $10.09
             Disposition                                          remaining pre-closing tasks (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the underwriter requesting and providing closing details of              0.9    0.025875       $3.62
             Disposition                                          the single family homes (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 confer with A. Porter regarding the single family home status in preparation for closing              0.9    0.025875       $3.62
             Disposition                                          (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with A. Porter regarding buyer requested information and other                0.8       0.023       $3.22
             Disposition                                          pertinent information required for closing (single family) (.8)


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  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2021     Asset                   05/06/21 JR              140 draft allocation summary report related to single family homes and produce to K. Pritchard             0.4      0.0115        $1.61
             Disposition                                          regarding wire instructions (single family) (.4)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the title company requesting an update on the zoning                      0.1    0.002875        $0.40
             Disposition                                          certifications for the single family homes (single family) (.1)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the real estate broker requesting a lien waiver for closing               0.1    0.002875        $0.40
             Disposition                                          (single family) (.1)
May 2021     Asset                   05/06/21 JR              140 review surveys for single family homes and request updates to same (single family) (.5).               0.5    0.014375        $2.01
             Disposition
May 2021     Asset                   05/07/21 AEP             390 Correspondence with surveyor and title company regarding need for certifications on                    0.3    0.008625        $3.36
             Disposition                                          boundary surveys in non-commercial transactions and correspondence with surveyor
                                                                  regarding payment of invoices for surveys of single-family home properties (single family)
                                                                  (.3)
May 2021     Asset                   05/07/21 JR              140 review numerous emails from the title company relating to single family home (single family)           0.9    0.025875        $3.62
             Disposition                                          zoning certificates and update electronic files regarding same (.9)
May 2021     Asset                   05/07/21 JR              140 review email from K. Pritchard regarding requested wire instructions related to upcoming               0.3    0.008625        $1.21
             Disposition                                          closings for the single family homes (single family) and update electronic files (.3).

May 2021     Asset                   05/07/21 JR              140 review email from real estate broker regarding commission statement for the single family              0.1    0.002875        $0.40
             Disposition                                          homes (single family) (.1)
May 2021     Asset                   05/07/21 KMP             140 Revise table of accounts for single family properties to include missing account numbers and           0.3    0.008625        $1.21
             Disposition                                          forward table to J. Rak (single family).
May 2021     Asset                   05/10/21 JR              140 further correspondence with A. Porter regarding status of closing documents related to the             0.1    0.002875        $0.40
             Disposition                                          single family homes (single family) (.1)
May 2021     Asset                   05/10/21 JR              140 review emails from the title company regarding delivery of water certifications for single             0.2     0.00575        $0.81
             Disposition                                          family homes (single family) and save in electronic files (.2)
May 2021     Asset                   05/10/21 JR              140 review email from K. Duff requesting closing dates of properties (single family, 6749-59 S             0.1 0.0009583          $0.13
             Disposition                                          Merrill Avenue, 7110 S Cornell Avenue) (.1).
May 2021     Asset                   05/11/21 AEP             390 correspondence with title company underwriter and escrow agent regarding mass closing                  0.2     0.00575        $2.24
             Disposition                                          process (single family) (.2)
May 2021     Asset                   05/11/21 AEP             390 identify all closing documents thus far assembled, including water and zoning certifications,          1.8     0.05175       $20.18
             Disposition                                          examiner's worksheets, and survey invoices, and rearrange all materials into appropriate
                                                                  tranche-specific folders (single family) (1.8)
May 2021     Asset                   05/11/21 AEP             390 Review allocation table and create master grantor-grantee spreadsheet to outline process of            0.7    0.020125        $7.85
             Disposition                                          closing single-family home portfolio (single family) (.7)
May 2021     Asset                   05/12/21 AEP             390 Prepare closing documents for single-family home portfolio sale, including receiver's deeds,           8.0         0.23      $89.70
             Disposition                                          broker lien waivers, property manager lien waivers, receiver's lien waivers, 1099s, and
                                                                  FIRPTAs (single family) (8.0)
May 2021     Asset                   05/12/21 AEP             390 communications with J. Rak, title company underwriters, and buyers' counsel regarding                  0.5    0.014375        $5.61
             Disposition                                          purchase price and loan allocations and other closing coordination matters (single family)
                                                                  (.5).
May 2021     Asset                   05/12/21 JR              140 Telephone call with A. Porter delegation preparation of closing documents related to the               0.5    0.014375        $2.01
             Disposition                                          single family home (single family) (.5)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                             Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                            Keeper                                                                                                                              Hours        Fees
May 2021     Asset                   05/12/21 JR              140 prepare closing documents for single family homes (single family) (4.7).                                     4.7    0.135125      $18.92
             Disposition
May 2021     Asset                   05/12/21 JR              140 review email from buyer's counsel related to a request for water certifications related to the               0.3    0.008625       $1.21
             Disposition                                          single family homes and produce same (single family) (.3)
May 2021     Asset                   05/13/21 AEP             390 Finalize preparation of receiver's deeds for all sub-tranches of single-family home property                 2.8      0.0805      $31.40
             Disposition                                          sales (single family) (2.8)
May 2021     Asset                   05/13/21 AEP             390 prepare affidavits of title, bills of sale, and assignments and assumptions of leases for all sub-           5.3    0.152375      $59.43
             Disposition                                          tranches of single-family home sales (single family) (5.3).
May 2021     Asset                   05/13/21 JR              140 Exchange further correspondence with A. Porter regarding single family home closing                          0.1    0.002875       $0.40
             Disposition                                          preparation (single family) (.1)
May 2021     Asset                   05/14/21 AEP             390 review purchase price allocations received from prospective purchaser of single-family                       1.1    0.031625      $12.33
             Disposition                                          homes, update allocation spreadsheet, send copy of same to counsel for institutional lenders
                                                                  and suggest alternative methods for accounting for sales proceeds, and additional
                                                                  communications with counsel for institutional lenders, title underwriter and prospective
                                                                  purchaser relating thereto (single family) (1.1).
May 2021     Asset                   05/14/21 JR              140 review reports for single family homes in anticipation for closing (single family) (1.9).                    1.9    0.054625       $7.65
             Disposition
May 2021     Asset                   05/14/21 JR              140 exchange correspondence with property management requesting single family home                               0.3    0.008625       $1.21
             Disposition                                          reports in preparation for closing (single family) (.3)
May 2021     Asset                   05/15/21 AEP             390 begin researching current property tax liabilities and preparing closing figures for all 37 single-          4.0       0.115      $44.85
             Disposition                                          family homes conveyances (single family) (4.0).
May 2021     Asset                   05/16/21 AEP             390 Finalize preparation of first-draft of closing figures in connection with conveyances of single-             3.5    0.100625      $39.24
             Disposition                                          family homes (single family) (3.5)
May 2021     Asset                   05/16/21 AEP             390 inventory all remaining special exceptions and all outstanding water and zoning certifications               1.5    0.043125      $16.82
             Disposition                                          associated with conveyances of single-family homes and prepare e-mail to title underwriter
                                                                  regarding all current unresolved closing coordination issues (single family) (1.5).

May 2021     Asset                   05/17/21 JR              140 Exchange correspondence with property management requesting single family home reports                       0.1    0.002875       $0.40
             Disposition                                          in preparation for closing (single family) (.1)
May 2021     Asset                   05/17/21 JR              140 review single family tenant information and update certificated rent roll (single family) (4.6)              4.6     0.13225      $18.52
             Disposition
May 2021     Asset                   05/17/21 JR              140 exchange correspondence advising of anticipated closing schedule (single family, 7255-57 S                   0.1 0.0007188         $0.10
             Disposition                                          Euclid Avenue, 6217-27 S Dorchester Avenue, 7237-43 S Bennett Avenue) (.1)

May 2021     Asset                   05/17/21 JR              140 exchange correspondence with property management requesting additional property                              0.1    0.002875       $0.40
             Disposition                                          reports related to closing (single family) (.1)
May 2021     Asset                   05/18/21 AEP             390 teleconference with title underwriters regarding resolution of remaining title exception                     0.5    0.014375       $5.61
             Disposition                                          issues, potential use of master closing statements, preparation of deed and money escrow
                                                                  instructions, and completion of closing figures (single family) (.5)

May 2021     Asset                   05/18/21 AEP             390 Review revised title commitments associated with various single-family home properties,                      2.8      0.0805      $31.40
             Disposition                                          reconcile with current list of special exceptions and unrecorded judgments, and sort same
                                                                  into appropriate closing folders (single family) (2.8)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
May 2021     Asset                   05/18/21 AEP             390 prepare memorandum for title underwriter and surveyor identifying single-family home                     0.7    0.020125       $7.85
             Disposition                                          properties with discrepancies between legal description on title commitment and legal
                                                                  description on survey and request guidance for resolving conflicts in verbiage (single family)
                                                                  (.7)
May 2021     Asset                   05/18/21 AEP             390 teleconference with J. Rak regarding status of all closing documents associated with                     0.4      0.0115       $4.49
             Disposition                                          conveyance of single-family homes (single family) (.4)
May 2021     Asset                   05/18/21 AEP             390 review and analyze first draft of proposed certified rent roll associated with conveyance of             0.4      0.0115       $4.49
             Disposition                                          single-family homes and make minor modifications thereto (single family) (.4).

May 2021     Asset                   05/18/21 AEP             390 review proposed edits to receiver's deeds submitted by purchaser's counsel in connection                 1.2      0.0345      $13.46
             Disposition                                          with conveyance of single-family homes, check corresponding legal descriptions on surveys
                                                                  and title commitments, and revise deeds as warranted (single family) (1.2)

May 2021     Asset                   05/18/21 AEP             390 prepare affidavits of no new improvements in connection with conveyances of all single-                  0.6     0.01725       $6.73
             Disposition                                          family home properties (single family) (.6)
May 2021     Asset                   05/18/21 JR              140 review due diligence documents received from property management and update certified                    2.3    0.066125       $9.26
             Disposition                                          rent roll in preparation for closing single family homes (single family) (2.3)

May 2021     Asset                   05/18/21 JR              140 update closing checklist related to security deposit information and update certified rent roll          0.4      0.0115       $1.61
             Disposition                                          regarding same (single family) (.4)
May 2021     Asset                   05/18/21 JR              140 review and confirm leases for security deposit information for single family homes (single               1.0     0.02875       $4.03
             Disposition                                          family) (1.0)
May 2021     Asset                   05/18/21 JR              140 review due diligence folder and confirm all subsidy agreements match certified rent roll                 0.7    0.020125       $2.82
             Disposition                                          (single family) (.7).
May 2021     Asset                   05/19/21 JR              140 Review email from buyer's counsel regarding updated deeds related to the single family                   0.2     0.00575       $0.81
             Disposition                                          homes (single family) (.2)
May 2021     Asset                   05/19/21 JR              140 further communication with A. Porter and real estate broker inquiring about commission                   0.1    0.002875       $0.40
             Disposition                                          statement for closing (single family) (.1)
May 2021     Asset                   05/19/21 JR              140 review leases, subsidy agreements, confirm lease terms and update certified rent roll in                 1.8     0.05175       $7.25
             Disposition                                          preparation for closing (single family) (1.8)
May 2021     Asset                   05/19/21 JR              140 review and forward notices to tenants requesting buyer approval for closing (single family)              0.2     0.00575       $0.81
             Disposition                                          (.2)
May 2021     Asset                   05/19/21 JR              140 review email from property management regarding requested subsidy agreements for single                  0.5    0.014375       $2.01
             Disposition                                          family homes and update electronic files (single family) (.5)

May 2021     Asset                   05/19/21 JR              140 review email from real estate broker regarding lien waivers for closing and provide same                 0.1    0.002875       $0.40
             Disposition                                          (single family) (.1)
May 2021     Asset                   05/19/21 JR              140 draft real estate transfer tax declaration forms for properties in anticipation for closing              0.8       0.023       $3.22
             Disposition                                          (single family) (.8).
May 2021     Asset                   05/19/21 JR              140 exchange correspondence with property management requesting additional missing                           0.3    0.008625       $1.21
             Disposition                                          information related to leases and subsidy agreements (single family) (.3)
May 2021     Asset                   05/19/21 JR              140 review dates of closing documents and update same (single family) (1.5)                                  1.5    0.043125       $6.04
             Disposition


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
May 2021     Asset                   05/20/21 AEP             390 Review latest batch of title commitments associated with single-family homes and update list            1.3    0.037375      $14.58
             Disposition                                          of special exceptions (single family) (1.3)
May 2021     Asset                   05/20/21 AEP             390 review final batch of title commitments associated with single-family home portfolio and                1.5    0.043125      $16.82
             Disposition                                          update closing checklist (single family) (1.5)
May 2021     Asset                   05/20/21 AEP             390 review commission statement associated with conveyance of single-family homes and                       0.2     0.00575       $2.24
             Disposition                                          prepare e-mail to brokers proposing alternative solution for payment of brokerage
                                                                  commissions (single family) (.2)
May 2021     Asset                   05/20/21 JR              140 update notices to tenants for single family homes per buyer request (single family) (.5)                0.5    0.014375       $2.01
             Disposition
May 2021     Asset                   05/20/21 JR              140 review email from buyer requesting property information in preparation for closing (single              0.1    0.002875       $0.40
             Disposition                                          family) (.1)
May 2021     Asset                   05/20/21 JR              140 update and review lien waivers for property managers and request executed copies of same                0.7    0.020125       $2.82
             Disposition                                          in anticipation for closing (single family) (.7)
May 2021     Asset                   05/20/21 JR              140 exchange correspondence with buyer and A. Porter regarding notices to tenants (single                   0.1    0.002875       $0.40
             Disposition                                          family) (.1)
May 2021     Asset                   05/20/21 JR              140 request property reports from property management (single family) (.1)                                  0.1    0.002875       $0.40
             Disposition
May 2021     Asset                   05/20/21 JR              140 update electronic files with current property reports (single family) (.9)                              0.9    0.025875       $3.62
             Disposition
May 2021     Asset                   05/20/21 JR              140 exchange correspondence with real estate broker requesting the delivery of original lien                0.1    0.002875       $0.40
             Disposition                                          waivers for closing (single family) (.1)
May 2021     Asset                   05/20/21 KMP             140 Exchange correspondence with J. Rak and K. Duff regarding payment of certain closing costs              0.2     0.00575       $0.81
             Disposition                                          for property sale (single family).
May 2021     Asset                   05/21/21 AEP             390 review fee quotes for closing services for each of the properties in the single-family home             2.1    0.060375      $23.55
             Disposition                                          portfolio and update closing figures for each property (single family) (2.1)

May 2021     Asset                   05/21/21 AEP             390 Conference with J. Rak regarding open items associated with preparation for closing of single-          0.3    0.008625       $3.36
             Disposition                                          family homes (single family) (.3)
May 2021     Asset                   05/21/21 JR              140 review email request from buyer regarding property reports and request same from                        0.1    0.002875       $0.40
             Disposition                                          property management (single family) (.1)
May 2021     Asset                   05/21/21 JR              140 forward house sitter information to buyer (single family) (.2)                                          0.2     0.00575       $0.81
             Disposition
May 2021     Asset                   05/21/21 JR              140 update notice to tenant letters and request approval from buyer (single family) (.7)                    0.7    0.020125       $2.82
             Disposition
May 2021     Asset                   05/21/21 JR              140 review requested rent roll received from property management and inquire about the house                0.5    0.014375       $2.01
             Disposition                                          sitters at various vacant properties with property management (single family) (.5)

May 2021     Asset                   05/21/21 JR              140 further correspondence with A. Porter regarding the house sitters at vacant properties                  0.2     0.00575       $0.81
             Disposition                                          (single family) (.2)
May 2021     Asset                   05/21/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.1).             4.1    0.117875      $16.50
             Disposition
May 2021     Asset                   05/24/21 AEP             390 review and revise proposed notices to tenants in connection with conveyance of single-                  0.2     0.00575       $2.24
             Disposition                                          family homes (single family) (.2)


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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
May 2021     Asset                   05/24/21 AEP             390 Communications with prospective purchaser of single-family homes regarding scheduling of                0.2     0.00575       $2.24
             Disposition                                          pre-closing walk-throughs and removal of house sitters (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 communications with property managers regarding request from prospective purchaser of                   0.2     0.00575       $2.24
             Disposition                                          single-family home portfolio for pre-closing walk-throughs and confirmation regarding
                                                                  removal of house sitters at various properties (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 communications with counsel for lenders regarding reallocations of sales proceeds from                  0.2     0.00575       $2.24
             Disposition                                          conveyance of single-family homes following closing (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 review finalized rent roll for single-family home properties and create final sets of sellers'          2.9    0.083375      $32.52
             Disposition                                          figures for each conveyance (single family) (2.9).
May 2021     Asset                   05/24/21 JR              140 exchange communication with K. Duff regarding disbursement of funds into a single account               0.2     0.00575       $0.81
             Disposition                                          from the single family closings (single family) (.2)
May 2021     Asset                   05/24/21 JR              140 exchange correspondence with buyer requesting updates to contact information for tenants                0.1    0.002875       $0.40
             Disposition                                          after sale (single family) (.1)
May 2021     Asset                   05/24/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.2)              4.2     0.12075      $16.91
             Disposition
May 2021     Asset                   05/24/21 KMP             140 Various communications with K. Duff, A. Porter, and J. Rak regarding issues relating to                 0.3    0.008625       $1.21
             Disposition                                          upcoming closing on single family homes (single family).
May 2021     Asset                   05/25/21 AEP             390 Assemble, modify, and inventory all closing documents associated with conveyance of single-             7.3    0.209875      $81.85
             Disposition                                          family homes, oversee document signing process by receiver, and continue revising all sets
                                                                  of closing figures (single family) (7.3)
May 2021     Asset                   05/25/21 JR              140 Conduct execution of closing documents for the single family homes (single family) (8.4)                8.4      0.2415      $33.81
             Disposition
May 2021     Asset                   05/26/21 AEP             390 Attend lengthy closing of all 37 single-family home properties (single family)                         10.5    0.301875     $117.73
             Disposition
May 2021     Asset                   05/26/21 JR              140 exchange correspondence with K. Duff regarding instructions for single family allocation of             0.1    0.002875       $0.40
             Disposition                                          proceeds and instructions of same (single family) (.1).
May 2021     Asset                   05/26/21 JR              140 Attend closing of single family homes (single family) (10.1)                                           10.1    0.290375      $40.65
             Disposition
May 2021     Asset                   05/27/21 AEP             390 review final settlement statements from closing of each single-family home, record final                5.6       0.161      $62.79
             Disposition                                          sales proceeds, create new settlement statements for each property substituting agreed-
                                                                  upon value allocations contained in judicial order confirming sale, revise existing value
                                                                  allocation spreadsheet to compute distribution of sales proceeds, and circulate proposed
                                                                  sales proceeds distributions to receiver and counsel for lenders (single family) (5.6)

May 2021     Asset                   05/27/21 AEP             390 prepare disclosure statements for all single-family home properties (single family) (.7)                0.7    0.020125       $7.85
             Disposition
May 2021     Asset                   05/27/21 AEP             390 read e-mail from J. Rak regarding sales proceeds computations, audit spreadsheet, revise,               0.4      0.0115       $4.49
             Disposition                                          and circulate new draft (single family) (.4)
May 2021     Asset                   05/27/21 JR              140 update single family home executed documents in electronics files (single family) (2.1)                 2.1    0.060375       $8.45
             Disposition


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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2021     Asset                   05/27/21 JR              140 follow up correspondence with K. Duff advising of closing status (single family) (.1)                  0.1    0.002875       $0.40
             Disposition
May 2021     Asset                   05/27/21 JR              140 review email from the title company and provide requested survey invoices for the single               0.4      0.0115       $1.61
             Disposition                                          family homes (single family) (.4)
May 2021     Asset                   05/27/21 JR              140 exchange correspondence with K. Duff, A. Porter and K. Pritchard with instructions related to          0.2     0.00575       $0.81
             Disposition                                          the allocation of net proceeds for single family homes (single family) (.2)

May 2021     Asset                   05/27/21 JR              140 review email from property management relating to status of closing and respond                        0.1    0.002875       $0.40
             Disposition                                          accordingly (single family) (.1)
May 2021     Asset                   05/27/21 JR              140 follow up with the title company requesting closing status (single family) (.1)                        0.1    0.002875       $0.40
             Disposition
May 2021     Asset                   05/27/21 JR              140 Review email from K. Duff regarding instructions for disbursement of proceeds and respond              0.1    0.002875       $0.40
             Disposition                                          accordingly (single family) (.1)
May 2021     Asset                   05/27/21 JR              140 follow up correspondence with title company closer requesting status of closing (single                0.2     0.00575       $0.81
             Disposition                                          family) (.2)
May 2021     Asset                   05/27/21 JR              140 Review email from A. Porter, identify a discrepancy and further review closing statements to           0.9    0.025875       $3.62
             Disposition                                          confirm the total amount of net proceeds expected to be delivered from closing (single
                                                                  family).
May 2021     Asset                   05/28/21 AEP             390 update master receivership portfolio spreadsheet to include information associated with                0.2     0.00575       $2.24
             Disposition                                          conveyance of single-family home portfolio (single family) (.2).
May 2021     Asset                   05/28/21 AEP             390 Teleconference with J. Rak and K. Duff regarding wire transfer allocations and disbursement            0.3    0.008625       $3.36
             Disposition                                          dates associated with conveyance of single-family home portfolio (single family) (.3)

May 2021     Asset                   05/28/21 JR              140 exchange correspondence with K. Duff providing detailed closed property information and                0.3    0.008625       $1.21
             Disposition                                          confirming closing date for single family homes (single family) (.3)

May 2021     Asset                   05/28/21 JR              140 review email from real estate broker and provide settlement statements related to closing              0.1    0.002875       $0.40
             Disposition                                          (single family) (.1)
May 2021     Asset                   05/28/21 JR              140 exchange correspondence with buyer confirming property key delivery related to closing of              0.1    0.002875       $0.40
             Disposition                                          portfolio of properties (single family) (.1)
May 2021     Asset                   05/28/21 JR              140 further correspondence with bank representative regarding wire transfer and allocation                 0.9    0.025875       $3.62
             Disposition                                          instructions for single family home closing (single family) (.9)
May 2021     Asset                   05/28/21 JR              140 exchange correspondence with K. Duff regarding allocation of funds related to the single               0.8       0.023       $3.22
             Disposition                                          family home closing (single family) (.8)
May 2021     Asset                   05/28/21 JR              140 exchange various correspondence with the title company requesting wire confirmation and                0.5    0.014375       $2.01
             Disposition                                          additional information related to closing of portfolio of properties (single family) (.5)

May 2021     Business                05/03/21 JR              140 Exchange correspondence with K. Duff and property insurance company regarding                          0.8 0.0159574         $2.23
             Operations                                           requested updates related to property insurance renewals [see A]
May 2021     Business                05/04/21 JR              140 Review email from property insurance account analyst and further update property                       1.6 0.0340426         $4.77
             Operations                                           insurance renewal workbook (See A) (1.6)
May 2021     Business                05/04/21 JR              140 exchange communication with K. Duff regarding property insurance renewal update (See A)                0.1 0.0021277         $0.30
             Operations                                           (.1).


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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
May 2021     Business                05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general             0.1 0.0003194         $0.04
             Operations                                           liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                  Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                  27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.1).
May 2021     Business                05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property               0.2 0.0006389         $0.09
             Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business                05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                     1.3    0.012381       $1.73
             Operations
May 2021     Business                05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-            0.1 0.0003194         $0.04
             Operations                                           43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                  6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.1).
May 2021     Business                05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.                0.3 0.0009583         $0.13
             Operations                                           Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                  Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                  27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.3)
May 2021     Business                05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property               0.2 0.0006389         $0.09
             Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)

May 2021     Business                05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                 2.3 0.0469388         $6.57
             Operations                                           7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                  62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                  Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                  6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                  Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                  Avenue, 1102 Bingham (Houston, TX)) (2.3)




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2021     Business                05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                     0.3 0.0009583          $0.13
             Operations                                           umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).

May 2021     Business                05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0006389          $0.09
             Operations                                           Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                  Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                  68th Street, single family) (.2)
May 2021     Business                05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2    0.000575        $0.08
             Operations                                           property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                  Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                  Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business                05/19/21 JR              140 Review email from K. Duff requesting property closing update related to property insurance             0.3    0.006383        $0.89
             Operations                                           and provide same (see A).
May 2021     Business                05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third               0.1 0.0012346          $0.17
             Operations                                           restoration motion (.1).
May 2021     Business                05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0003194          $0.04
             Operations                                           insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                  Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                  Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)

May 2021     Claims                  05/07/21 JRW             260 Drafting of proposed process for properties with single claim (1017 W 102nd Street, 1516 E             1.3          0.1      $26.00
             Administration                                       85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                         Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                                  Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                  05/10/21 JRW             260 confer with K. Duff on draft process for single claim properties, review and revise draft and          0.8 0.0615385         $16.00
             Administration                                       redline comments from M. Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                         Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                  Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (.8).

May 2021     Claims                  05/10/21 JRW             260 correspondence to claimants' counsel regarding single claims process (.1)                              0.1 0.0035714          $0.93
             Administration
             & Objections

May 2021     Claims                  05/10/21 MR              390 Review and comment on single claims process (1017 W 102nd Street, 1516 E 85th Place,                   1.5 0.1153846         $45.00
             Administration                                       2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
             & Objections                                         8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                  Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2021     Claims                  05/11/21 JRW         260 Continue working on single claim process with K. Duff and M. Rachlis (1017 W 102nd Street,            3.6 0.2769231        $72.00
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
             & Objections                                     Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue) (3.6)
May 2021     Claims                  05/11/21 JRW         260 prepare chart comparing deadlines in disputed claims process and draft single claim process           0.6 0.0214286         $5.57
             Administration                                   (.6).
             & Objections

May 2021     Claims                  05/11/21 MR          390 Further review and revise claims process related items (1017 W 102nd Street, 1516 E 85th              1.5 0.1153846        $45.00
             Administration                                   Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                              (1.5)
May 2021     Claims                  05/11/21 MR          390 conferences with J. Wine and K. Duff regarding claims process(1017 W 102nd Street, 1516 E             1.0 0.0769231        $30.00
             Administration                                   85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                              (1.0).
June 2021    Asset                   06/01/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding allocation of sales proceeds           0.4      0.0115       $4.49
             Disposition                                      and interest and study related information (single family).
June 2021    Asset                   06/16/21 KBD         390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                    0.2 0.0014375         $0.56
             Disposition
June 2021    Claims                  06/11/21 KBD         390 Review revised proposal for single claim process (1017 W 102nd Street, 1516 E 85th Place,             0.3 0.0107143         $4.18
             Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                     8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                              Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

June 2021    Claims                  06/14/21 KBD         390 study correspondence from J. Wine and work on single claim process (1017 W 102nd Street,              0.2 0.0071429         $2.79
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.2).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2021    Claims                  06/24/21 KBD             390 exchange correspondence with J. Wine regarding single claim process (.1).                              0.1 0.0035714         $1.39
             Administration
             & Objections

June 2021    Claims                  06/29/21 KBD             390 Study and revise process for single claim properties and draft related correspondence to J.            1.2 0.0428571        $16.71
             Administration                                       Wine (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                         7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                  Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                                  Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                                  Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                                  Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                                  Avenue, 8517 S Vernon Avenue) (1.2)

June 2021    Claims                  06/30/21 KBD             390 work on single claim process and study related correspondence from J. Wine (1017 W 102nd               0.3 0.0107143         $4.18
             Administration                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                         8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                  Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                  Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                  Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                  Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                  10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                  Avenue) (.3).

June 2021    Asset                   06/01/21 JR              140 exchange correspondence with K. Duff, bank representative, K. Pritchard regarding net sale             1.2     0.01725       $2.42
             Disposition                                          proceeds from the single family homes, update allocation spreadsheet with interest and
                                                                  provide detailed instructions to the bank for single family home allocation related to each
                                                                  property (single family) (1.2).
June 2021    Asset                   06/01/21 JR              140 Review email from J. Wine and respond accordingly regarding collection notice (7237-43 S               0.1 0.0007188         $0.10
             Disposition                                          Bennett Avenue) (.1)
June 2021    Asset                   06/01/21 JR              140 review email from buyer requesting ledgers and tenant payment information and produce                  0.5 0.0071875         $1.01
             Disposition                                          same (single family) (.5)
June 2021    Asset                   06/01/21 KMP             140 Review online banking records to confirm receipt of funds wired in connection with the sale            0.5    0.014375       $2.01
             Disposition                                          of the single family homes, calculate pro rata share of interest earned on sale proceeds, and
                                                                  related communications with K. Duff and J. Rak (single family).

June 2021    Asset                   06/02/21 JR              140 Review email from bank regarding allocation of funds and respond accordingly (single family)           0.2     0.00575       $0.81
             Disposition                                          (.2)
June 2021    Asset                   06/02/21 KMP             140 Study communications from bank representative regarding transfers of proceeds to property              0.2     0.00575       $0.81
             Disposition                                          accounts in connection with sale of single-family homes (single family).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
June 2021    Asset                   06/03/21 KMP             140 Review and confirm transfers of sale proceeds from sale of single-family homes to individual          0.3    0.008625       $1.21
             Disposition                                          property accounts and related communication with K. Duff and J. Rak (single family).

June 2021    Asset                   06/07/21 JR              140 update closed property spreadsheet with single family home gross and net proceeds, make               1.2      0.0345       $4.83
             Disposition                                          corrections to normalize property addresses (single family) (1.2)
June 2021    Asset                   06/08/21 JR              140 review email from property management and provide requested post-closing payment                      0.3    0.008625       $1.21
             Disposition                                          information related to tenant rent (single family) (.3)
June 2021    Asset                   06/09/21 JR              140 Organize master statements for each property (single family).                                         0.9    0.025875       $3.62
             Disposition
June 2021    Asset                   06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property           0.4    0.002875       $0.40
             Disposition                                          spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                  Avenue, 7051 S Bennett Avenue) (.4).
June 2021    Asset                   06/16/21 KMP             140 Review property accounts to update spreadsheets relating to post-sale reconciliation by               0.6    0.002875       $0.40
             Disposition                                          property managers and related communications with K. Duff and J. Rak (single family, 4750-
                                                                  52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                  Street, 4611-17 Drexel Boulevard).
June 2021    Asset                   06/19/21 AEP             390 review property disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet           0.2     0.00575       $2.24
             Disposition                                          unpaid survey invoices and providing estimated dates of final payment (single family) (.2).

June 2021    Business                06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent               0.5 0.0047619         $1.86
             Operations                                           and forward to accountant for use in preparation of reports (.5)
June 2021    Claims                  06/14/21 JRW             260 study revised process for single claim properties (1017 W 102nd Street, 1516 E 85th Place,            1.3 0.0464286        $12.07
             Administration                                       2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                         8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                                  Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                                  Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                                  Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                                  Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                                  Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) and related analysis to
                                                                  K. Duff and M. Rachlis (1.3).

June 2021    Claims                  06/30/21 JRW             260 review revisions to single claims process, related research and correspondence with K. Duff           1.0 0.0357143         $9.29
             Administration                                       (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                         Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                                  8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                                  7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                                  Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                                  Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                                  Avenue, 8517 S Vernon Avenue) (1.0).

July 2021    Asset                   07/14/21 KBD             390 confirmation of funds transfer amounts (single family) (.1).                                          0.1 0.0027027         $1.05
             Disposition


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  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
July 2021    Asset                   07/30/21 KBD         390 Confer with K. Pritchard and J. Rak regarding allocation of post-sale reconciliation funds from          0.3 0.0090909         $3.55
             Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street) (.3)


July 2021    Business                07/13/21 KBD         390 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S                        0.3 0.0068182         $2.66
             Operations                                       Dorchester Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th
                                                              Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single
                                                              family) (.3)
July 2021    Claims                  07/04/21 KBD         390 Exchange correspondence with J. Wine regarding single claim process (sole lien).                         0.1 0.0035714         $1.39
             Administration
             & Objections

July 2021    Claims                  07/06/21 KBD         390 study correspondence from J. Wine regarding single claim process (sole lien) (.2).                       0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                  07/12/21 KBD         390 study correspondence from J. Wine regarding single claim process (sole lien) (.1).                       0.1 0.0035714         $1.39
             Administration
             & Objections

July 2021    Claims                  07/13/21 KBD         390 Study revisions to sole lien process and exchange correspondence with M. Rachlis and J.                  0.6 0.0214286         $8.36
             Administration                                   Wine and M. Rachlis (sole lien) (.6)
             & Objections

July 2021    Claims                  07/14/21 KBD         390 exchange correspondence with J. Wine and M. Rachlis regarding sole lien process (sole lien)              0.4 0.0142857         $5.57
             Administration                                   (.4)
             & Objections

July 2021    Claims                  07/15/21 KBD         390 work on sole lien process and exchange related correspondence (sole lien) (.2).                          0.2 0.0071429         $2.79
             Administration
             & Objections




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
July 2021    Claims                  07/30/21 KBD             390 study correspondence from counsel for claimant regarding single claim process and related          0.2 0.0071429         $2.79
             Administration                                       analysis (sole lien) (.2).
             & Objections

July 2021    Asset                   07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate               0.2 0.0018868         $0.26
             Disposition                                          regarding closed properties status (see D) (.2)
July 2021    Asset                   07/09/21 JR              140 Review email from buyer for single family homes requesting clarification on tenant rent            0.3 0.0081081         $1.14
             Disposition                                          payments for previously sold property and review records (single family) (.3)

July 2021    Asset                   07/23/21 KMP             140 Communicate with K. Duff, A. Porter, and J. Rak regarding property manager's request for           0.8 0.0242424         $3.39
             Disposition                                          information in connection with post-sale reconciliation, prepare related spreadsheet and
                                                                  forward to property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd
                                                                  Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston
                                                                  Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                  Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


July 2021    Asset                   07/24/21 AEP             390 read and respond to correspondence with K. Duff and K. Pritchard regarding allocations of          0.2 0.0068966         $2.69
             Disposition                                          disbursements from property manager in connection with EB South Chicago 1 and EB South
                                                                  Chicago 2 properties (1516 E 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 7933 S
                                                                  Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
                                                                  Avenue, 1017 W 102nd Street, 417 Oglesby Avenue, 7925 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,
                                                                  11318 S Church Street, 10012 S LaSalle Avenue, 3723 W 68th Place, 406 E 87th Place, 61 E
                                                                  92nd Street, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8432
                                                                  S Essex Avenue, 8517 S Vernon Avenue, 3213 S Throop Street, 6554 S Rhodes Avenue, 6825 S
                                                                  Indiana Avenue, 8346 S Constance Avenue, 7210 S Vernon Avenue) (.2).




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
July 2021    Asset                   07/27/21 KMP             140 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation funds from           0.3 0.0090909         $1.27
             Disposition                                          property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                                  Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                                  S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                                  Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                                  Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                  Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                  S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


July 2021    Asset                   07/27/21 KMP             140 Attention to email from property manager following up on issues relating to post-sale                0.2 0.0060606         $0.85
             Disposition                                          reconciliation and related communication with K. Duff (417 S Oglesby Avenue, 7925 S
                                                                  Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                  Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                                  Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                                  7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                                  406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                                  Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                                  8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                                  Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                                  E 68th Street).

July 2021    Asset                   07/30/21 JR              140 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds          0.3 0.0090909         $1.27
             Disposition                                          from property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place,
                                                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
                                                                  7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                  S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                  W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                  2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)


July 2021    Business                07/14/21 AEP             390 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with             0.2 0.0054054         $2.11
             Operations                                           values of single-family home portfolio in connection with preparation of quarterly report
                                                                  (single family) (.2).
July 2021    Business                07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                     0.2 0.0024691         $0.35
             Operations                                           accordingly (see I).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2021    Business                07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
             Operations                                           restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                  Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                  2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                  26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                  Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                  Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                  Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                  Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                  Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                  Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                  Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                  Avenue).

July 2021    Claims                  07/01/21 JRW             260 telephone conference with M. Rachlis regarding process for resolution of single claims                 0.9 0.0321429          $8.36
             Administration                                       properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                         Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                                  S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                                  7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                                  7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                                  8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                                  Indiana Avenue, 8517 S Vernon Avenue) (.9)

July 2021    Claims                  07/01/21 JRW             260 email exchange and telephone conference with claimants' counsel regarding process for                  1.3 0.0464286         $12.07
             Administration                                       resolution of single claims properties, related preparation for same, and review of proposed
             & Objections                                         pleading (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                                  7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                  Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                                  Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                                  Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                                  Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                                  Avenue, 8517 S Vernon Avenue) (1.3)

July 2021    Claims                  07/01/21 MR              390 Review notes and materials regarding (sole lien) properties (.3)                                       0.3 0.0107143          $4.18
             Administration
             & Objections

July 2021    Claims                  07/01/21 MR              390 participate in call with J. Wine regarding issues on process for claims (sole lien) (.9).              0.9 0.0321429         $12.54
             Administration
             & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
July 2021    Claims                  07/06/21 JRW         260 Summarize conference call with claimant's counsel regarding claims resolution process and               0.4 0.0142857         $3.71
             Administration                                   related review of draft declaratory action (1017 W 102nd Street, 1516 E 85th Place, 2136 W
             & Objections                                     83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                              2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4)

July 2021    Claims                  07/12/21 JRW         260 draft correspondence to claimants' counsel regarding process for single-claim properties                0.5 0.0178571         $4.64
             Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                              8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                              7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                              Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                              Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (.5)

July 2021    Claims                  07/13/21 JRW         260 exchange comments and revisions regarding single claims process with K. Duff and M.                     1.2 0.0428571        $11.14
             Administration                                   Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                     7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                              Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                              Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                              Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (1.2)

July 2021    Claims                  07/13/21 MR          390 Attention to claims process issues and related exchanges with K. Duff and J. Wine (sole lien).          0.4 0.0142857         $5.57
             Administration
             & Objections

July 2021    Claims                  07/14/21 AEP         390 read and respond to e-mails from J. Wine regarding secured claims being asserted in                     0.2 0.0071429         $2.79
             Administration                                   connection with single-family homes that have no competing claimants and other
             & Objections                                     receivership properties (sole lien) (.2).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
July 2021    Claims                  07/14/21 JRW         260 Revise draft correspondence to claimants' counsel regarding single claims process (1017 W               0.5 0.0178571         $4.64
             Administration                                   102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                              6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                              S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.5)

July 2021    Claims                  07/14/21 JRW         260 correspondence with M. Rachlis and A. Porter regarding discovery for properties with single             0.7       0.025       $6.50
             Administration                                   disputed claim (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                     Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                              S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                              7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                              7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                              Indiana Avenue, 8517 S Vernon Avenue) (.7)

July 2021    Claims                  07/14/21 MR          390 Further review and comment on process issues and related exchanges (sole lien) (.3)                     0.3 0.0107143         $4.18
             Administration
             & Objections

July 2021    Claims                  07/15/21 JRW         260 confer with A. Porter and K. Duff regarding process for resolution of single claims and revise          0.4 0.0142857         $3.71
             Administration                                   draft correspondence accordingly (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                     Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                              2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4).

July 2021    Claims                  07/15/21 MR          390 Attention to issues and follow up response to revisions on claim process (sole lien).                   0.2 0.0071429         $2.79
             Administration
             & Objections




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2021    Claims                  07/16/21 JRW         260 exchange correspondence with counsel for claimants regarding claims resolution procedures           0.1 0.0035714         $0.93
             Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                              8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                              7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                              Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                              Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (.1)

July 2021    Claims                  07/30/21 JRW         260 review correspondence from counsel for claimants regarding process to resolve claims (1017          0.1 0.0035714         $0.93
             Administration                                   W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                              6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                              S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.1)

August 2021 Asset                    08/06/21 KBD         390 Prepare spreadsheet confirming allocation of post-sale funds from property manager and              0.3 0.0090909         $3.55
            Disposition                                       exchange various related correspondence for information (417 S Oglesby Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                              7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                              406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                              Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                              E 68th Street).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours         Fees
August 2021 Asset                    08/09/21 KBD         390 Continue to prepare and finalize spreadsheet confirming allocation of post-sale funds from              0.7 0.0212121          $8.27
            Disposition                                       property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/13/21 KBD         390 Work on post-sale reconciliation of property manager funds (417 S Oglesby Avenue, 7925 S                0.4 0.0121212          $4.73
            Disposition                                       Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                              7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                              406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                              Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                              E 68th Street) (.4)

August 2021 Claims                   08/04/21 KBD         390 draft correspondence regarding potential claim and distribution issue (1516 E 85th Place) (.2)          0.2          0.2      $78.00
            Administration
            & Objections

August 2021 Claims                   08/04/21 KBD         390 exchange correspondence with J. Wine regarding sole lien process and follow up with                     0.1 0.0035714          $1.39
            Administration                                    counsel for claimants (sole lien) (.1)
            & Objections

August 2021 Claims                   08/05/21 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding sole lien process (sole lien)             0.2 0.0071429          $2.79
            Administration                                    (.2).
            & Objections

August 2021 Claims                   08/06/21 KBD         390 Exchange correspondence and telephone conference with J. Wine regarding single claim                    0.2 0.0071429          $2.79
            Administration                                    process and communication with claimants' counsel regarding same (sole lien) (.2)
            & Objections

August 2021 Claims                   08/17/21 KBD         390 review draft motion to approve process for sole lien properties (sole lien) (.2).                       0.2 0.0071429          $2.79
            Administration
            & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
August 2021 Claims                   08/20/21 KBD             390 review draft motion for sole lien process (sole lien) (.2)                                          0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                   08/26/21 KBD             390 Confer with J. Wine regarding sole lien process and draft motions from claimants' counsel           0.1 0.0035714         $1.39
            Administration                                        (sole lien) (.1)
            & Objections

August 2021 Claims                   08/27/21 KBD             390 Study draft single claim process and related correspondence (sole lien).                            0.3 0.0107143         $4.18
            Administration
            & Objections

August 2021 Asset                    08/02/21 KMP             140 Communicate with property manager regarding allocation of post-sale reconciliation funds            0.2 0.0060606         $0.85
            Disposition                                           (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                  Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/06/21 JR              140 review email from K. Duff related to allocations for post-closing reconciliation regarding          0.2 0.0054054         $0.76
            Disposition                                           properties and further communicate with A. Porter regarding same (single family) (.2).

August 2021 Asset                    08/13/21 KMP             140 Communications with K. Duff and property manager regarding issues with post-sale                    0.3 0.0090909         $1.27
            Disposition                                           reconciliations and transfer of funds and forward related spreadsheet to property manager
                                                                  (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                  Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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1516 E 85th Place                                                 EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2021 Asset                    08/20/21 KMP         140 Follow up on post-sale reconciliation and deposits to property accounts (417 S Oglesby               0.2 0.0060606         $0.85
            Disposition                                       Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                              9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                              102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                              68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                              8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                              Street, 1422-24 E 68th Street).

August 2021 Asset                    08/23/21 KMP         140 Follow up with K. Duff and property manager on post-sale reconciliation and deposits to              0.2 0.0060606         $0.85
            Disposition                                       property accounts (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/24/21 KMP         140 Prepare spreadsheet for property manager relating to post-sale reconciliation and deposits           0.7 0.0212121         $2.97
            Disposition                                       to property accounts, and related communication with K. Duff and property manager (417 S
                                                              Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                              Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours         Fees
August 2021 Asset                    08/25/21 KMP             140 Communicate with property manager and bank representatives regarding information                      0.4 0.0121212          $1.70
            Disposition                                           required for post-sale reconciliation and deposits to property accounts (417 S Oglesby
                                                                  Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                                  9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                                  102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                                  68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                  8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                  Street, 1422-24 E 68th Street).

August 2021 Asset                    08/30/21 JR              140 Review email from K. Duff regarding tax bills for single family homes and advise accordingly          0.2 0.0054054          $0.76
            Disposition                                           (single family) (.2)
August 2021 Asset                    08/31/21 KMP             140 Review online bank records to confirm receipt of post-sale reconciliation funds from                  0.6 0.0181818          $2.55
            Disposition                                           property manager and related communications with K. Duff and property manager (417 S
                                                                  Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                  Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).

August 2021 Claims                   08/04/21 JRW             260 email exchange with counsel for claimants regarding single claims process and related                 0.2 0.0071429          $1.86
            Administration                                        conference with K. Duff (sole lien) (.2).
            & Objections

August 2021 Claims                   08/04/21 MR              390 Attention to notice from government agency and impact on distribution (1516 East 85th                 0.1          0.1      $39.00
            Administration                                        Place) (.1)
            & Objections

August 2021 Claims                   08/05/21 JRW             260 review correspondence from claimants' counsel regarding single claim process (sole lien)              0.1 0.0035714          $0.93
            Administration                                        (Group 1) (.1).
            & Objections

August 2021 Claims                   08/05/21 MR              390 Follow up on issues regarding single claim process and negotiations with counsel, J. Wine,            0.2 0.0071429          $2.79
            Administration                                        and K. Duff (sole lien).
            & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2021 Claims                   08/06/21 JRW         260 Exchange correspondence and multiple telephone conferences with counsel for claimants                  0.5 0.0178571         $4.64
            Administration                                    and K. Duff regarding motion practice or joint report regarding process for single claim
            & Objections                                      properties (sole lien) (.5)

August 2021 Claims                   08/13/21 JRW         260 Correspond with counsel for claimants regarding joint motion and related discussion with K.            0.3 0.0107143         $2.79
            Administration                                    Duff (sole lien) (.3)
            & Objections

August 2021 Claims                   08/26/21 JRW         260 Email exchange with claimants' counsel regarding proposed process for resolution of claims,            0.5 0.0178571         $4.64
            Administration                                    begin reviewing draft motions, and related telephone conference with K. Duff (sole lien) (.5)
            & Objections

August 2021 Claims                   08/27/21 JRW         260 Study draft motions from claimants' counsel and provide analysis to K. Duff (sole lien) (1.8)          1.8 0.0642857        $16.71
            Administration
            & Objections

September Asset                      09/22/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations               0.1    0.002439       $0.95
2021      Disposition                                         (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                              6217-27 S Dorchester Avenue) (.1)
September Business                   09/24/21 KBD         390 study correspondence from property manager regarding post-sale fund distributions (single              0.2    0.004878       $1.90
2021      Operations                                          family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-
                                                              27 S Dorchester Avenue) (.2)
September Claims                     09/06/21 KBD         390 Work on sole lien process (sole lien).                                                                 1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                     09/07/21 KBD         390 telephone conference with J. Wine regarding sole lien process (sole lien) (.2)                         0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                     09/07/21 KBD         390 Work on sole lien process (sole lien) (.5)                                                             0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                     09/08/21 KBD         390 Work on sole lien process (sole lien) (.3)                                                             0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/09/21 KBD         390 work on sole lien process (sole lien) (.5)                                                             0.5 0.0178571         $6.96
2021      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
September Claims                     09/09/21 KBD         390 draft correspondence to A. Porter regarding potential discovery (sole lien) (.2).                     0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                     09/10/21 KBD         390 work on sole lien process and exchange related correspondence (sole lien) (1.7)                       1.7 0.0607143        $23.68
2021      Administration
          & Objections

September Claims                     09/11/21 KBD         390 Work on sole lien process and exchange related correspondence (sole lien).                            0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                     09/13/21 KBD         390 study revised sole lien claims process and exchange related correspondence (sole lien) (.3).          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/14/21 KBD         390 Study correspondence regarding sole lien process and revised process documents (sole lien)            0.3 0.0107143         $4.18
2021      Administration                                      (.3)
          & Objections

September Claims                     09/15/21 KBD         390 Confer and exchange correspondence with M. Rachlis and J. Wine regarding sole lien claims             0.8 0.0285714        $11.14
2021      Administration                                      process and related discussions with claimants' counsel (sole lien) (.8)
          & Objections

September Claims                     09/15/21 KBD         390 confer with claimants' counsel and J. Wine regarding sole lien process (sole lien) (.3)               0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/16/21 KBD         390 Revise sole lien claims process, review further drafts, and exchange related correspondence           2.7 0.0964286        $37.61
2021      Administration                                      with J. Wine (sole lien) (2.7)
          & Objections

September Claims                     09/17/21 KBD         390 Analyze and revise sole lien claims process and exchange various related correspondence               3.3 0.1178571        $45.96
2021      Administration                                      with M. Rachlis and J. Wine (sole lien) (3.3)
          & Objections

September Claims                     09/20/21 KBD         390 Study related correspondence from J. Wine regarding sole lien process (sole lien) (.2)                0.2 0.0071429         $2.79
2021      Administration
          & Objections




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1516 E 85th Place                                                      EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
September Claims                     09/21/21 KBD             390 study and revise joint motion regarding sole lien process and exchange related                          0.5 0.0178571         $6.96
2021      Administration                                          correspondence with J. Wine regarding (sole lien) (.5).
          & Objections

September Claims                     09/22/21 KBD             390 work on single claim process and exchange various related correspondence (sole lien) (1.5)              1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                     09/23/21 KBD             390 Study and revise several drafts of sole lien claims process and exchange various related                1.6 0.0571429        $22.29
2021      Administration                                          correspondence with M. Rachlis and J. Wine (sole lien) (1.6)
          & Objections

September Claims                     09/23/21 KBD             390 telephone conference with J. Wine regarding sole lien properties, claims analysis, and                  0.3 0.0107143         $4.18
2021      Administration                                          barriers related issues (sole lien) (.3)
          & Objections

September Claims                     09/24/21 KBD             390 Study and revise sole lien claims process and exchange various related correspondence with              0.7       0.025       $9.75
2021      Administration                                          J. Wine (sole lien).
          & Objections

September    Asset                   09/01/21 JR              140 review paper property tax statement and forward to buyer for single family homes, request               0.2 0.0054054         $0.76
2021         Disposition                                          buyer to change address for delivery of same (single family) (.2)
September    Asset                   09/22/21 JR              140 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions          1.1 0.0268293         $3.76
2021         Disposition                                          and update same for single family homes and other various properties (single family, 1422-
                                                                  24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S
                                                                  Dorchester Avenue) (1.1)
September Asset                      09/22/21 JR              140 further communication with K. Pritchard related to post- closing reconciliation distributions           0.1    0.002439       $0.34
2021      Disposition                                             (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                  6217-27 S Dorchester Avenue) (.1).
September Asset                      09/22/21 KMP             140 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related                    2.1      0.0525       $7.35
2021      Disposition                                             communication with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place,
                                                                  1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                  Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                  8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                  Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                  Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                  Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                  S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                  Avenue, 1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)




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1516 E 85th Place                                                     EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
September Asset                      09/23/21 JR              140 Exchange correspondence with K. Pritchard regarding post-closing reconciliation                     0.3 0.0073171         $1.02
2021      Disposition                                             distributions (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S
                                                                  Bennett Avenue, 6217-27 S Dorchester Avenue) (.3)
September    Business                09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to          0.2 0.0024691         $0.35
2021         Operations                                           reimbursable amounts (see I and J) (.2).
September    Business                09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and            2.6 0.0320988         $4.49
2021         Operations                                           E. Duff (see I and J) (2.6)
September    Business                09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)             0.1 0.0012346         $0.17
2021         Operations                                           (.1)
September    Business                09/07/21 KMP             140 Review communications relating to second restoration motion to determine date of funds              0.2 0.0046512         $0.65
2021         Operations                                           transfer and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East
                                                                  End Avenue, 6749-59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet
                                                                  Avenue, 1017 W 102nd Street, 1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                                  7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 9212 S Parnell Avenue,
                                                                  10012 S LaSalle Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                  Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard,
                                                                  6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                  Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                  Road, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                  Martin Luther King Drive, 7840-42 S Yates Avenue).


September Business                   09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with          0.3 0.0065217         $0.72
2021      Operations                                              the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                  Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                  Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                  1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                  Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                  Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                  06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                  Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                  Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                  Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                  Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
September Claims                     09/01/21 AW          140 review native files submitted with claims and related email to K. Duff (see K) (.8)                  0.8 0.0089888         $1.26
2021      Administration
          & Objections

September Claims                     09/02/21 JRW         260 email exchange with claimants' counsel regarding joint motions (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/06/21 JRW         260 Correspond with K. Duff regarding revisions to single claim process (sole lien).                     0.3 0.0107143         $2.79
2021      Administration
          & Objections

September Claims                     09/07/21 JRW         260 telephone conference with K. Duff regarding draft joint motion (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/10/21 JRW         260 confer with K. Duff regarding single claim process (sole lien) (.1)                                  0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/10/21 JRW         260 review redline of draft motion regarding claims process and further revise same (sole lien)          1.6 0.0571429        $14.86
2021      Administration                                      (1.6)
          & Objections

September Claims                     09/13/21 JRW         260 review redline and further revise proposed joint motion and related correspondence to K.             1.5 0.0535714        $13.93
2021      Administration                                      Duff and M. Rachlis regarding open issues (sole lien) (1.5)
          & Objections

September Claims                     09/14/21 JRW         260 Work on single claims process and related exchange of correspondence with M. Rachlis                 0.6 0.0214286         $5.57
2021      Administration                                      regarding single claim process (sole lien) (.6)
          & Objections

September Claims                     09/14/21 MR          390 Further work on single lien claim process and work and exchanges with J. Wine (sole lien).           0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                     09/15/21 JRW         260 telephone conference with K. Duff and M. Rachlis regarding process for single claim                  0.8 0.0285714         $7.43
2021      Administration                                      properties (sole lien) (.8)
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September Claims                     09/15/21 JRW         260 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien) (.7)                     0.7       0.025       $6.50
2021      Administration
          & Objections

September Claims                     09/15/21 JRW         260 revise proposed process for single lien claims (sole lien) (1.6).                                      1.6 0.0571429        $14.86
2021      Administration
          & Objections

September Claims                     09/15/21 JRW         260 exchange correspondence and telephone conference with claimants' counsel regarding                     0.4 0.0142857         $3.71
2021      Administration                                      process for single claim properties (sole lien) (.4)
          & Objections

September Claims                     09/15/21 MR          390 Further review and attention to various issues on the single lien process and review various           0.6 0.0214286         $8.36
2021      Administration                                      drafts and e-mails regarding same from K. Duff and J. Wine (sole lien) (.6)
          & Objections

September Claims                     09/15/21 MR          390 participate in meeting with K. Duff and J. Wine regarding the single lien process (sole lien)          0.8 0.0285714        $11.14
2021      Administration                                      (.8).
          & Objections

September Claims                     09/16/21 AEP         390 Teleconference with J. Wine regarding discovery issues associated with single-claim                    0.6 0.0214286         $8.36
2021      Administration                                      properties encumbered by loans and legal issues associated with priority determinations
          & Objections                                        (sole lien).

September Claims                     09/16/21 JRW         260 revise draft motion (sole lien) (1.1).                                                                 1.1 0.0392857        $10.21
2021      Administration
          & Objections

September Claims                     09/16/21 JRW         260 Telephone conference with A. Porter regarding third-party discovery needs and analysis of              0.6 0.0214286         $5.57
2021      Administration                                      claims (sole lien) (.6)
          & Objections

September Claims                     09/16/21 JRW         260 revise draft process for single claim properties to incorporate comments from M. Rachlis               0.8 0.0285714         $7.43
2021      Administration                                      (sole lien) (.8)
          & Objections

September Claims                     09/17/21 JRW         260 correspondence with M. Rachlis and K. Duff regarding single claims process (sole lien) (.1)            0.1 0.0035714         $0.93
2021      Administration
          & Objections




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1516 E 85th Place                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                            Hours        Fees
September Claims                     09/17/21 JRW         260 Review redlines and further revise single claims process and draft motion (sole lien) (1.0)                1.0 0.0357143         $9.29
2021      Administration
          & Objections

September Claims                     09/17/21 MR          390 Review and revise drafts of the joint motion for claims process and related follow up with K.              1.5 0.0535714        $20.89
2021      Administration                                      Duff and J. Wine (sole lien).
          & Objections

September Claims                     09/20/21 JRW         260 Additional revisions to single claims process and motion (sole lien) (1.3)                                 1.3 0.0464286        $12.07
2021      Administration
          & Objections

September Claims                     09/21/21 JRW         260 review revisions to draft joint motion regarding process for single claims and related                     0.4 0.0142857         $3.71
2021      Administration                                      correspondence with K. Duff (sole lien) (.4)
          & Objections

September Claims                     09/22/21 JRW         260 correspondence with K. Duff and M. Rachlis regarding single claims process, review multiple                2.1       0.075      $19.50
2021      Administration                                      redlines and further revise motion and proposed process to incorporate comments (sole lien)
          & Objections                                        (2.1)

September Claims                     09/22/21 MR          390 Further review and comment on issues regarding proposals on single lien process and follow                 1.2 0.0428571        $16.71
2021      Administration                                      up regarding same (sole lien) (1.2)
          & Objections

September Claims                     09/23/21 JRW         260 Additional revisions to single claims process and related correspondence (sole lien) (.8)                  0.8 0.0285714         $7.43
2021      Administration
          & Objections

September Claims                     09/23/21 MR          390 Attention to issues and edits on motion regarding single lien issues (sole lien).                          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/24/21 JRW         260 final revisions to single claims process and related email to claimants' counsel (sole lien) (.4)          0.4 0.0142857         $3.71
2021      Administration
          & Objections




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                   2136 W 83rd Street
General Allocation % (Pre 01/29/21):                                                 0.1214170%
General Allocation % (01/29/21 Onward, Claims Only):

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     18       2136 W 83rd Street                                                             4.18     $              1,142.78                           38.12    $            11,715.64               42.30    $             12,858.42
                 Asset Disposition [4]                                                        0.26    $                    83.60                         17.17   $               4,961.65              17.43   $                  5,045.25
                 Business Operations [5]                                                      0.26    $                    77.18                         10.38   $               3,101.10              10.64   $                  3,178.28
                 Claims Administration & Objections [6]                                       3.67    $                  982.00                          10.57   $               3,652.90              14.24   $                  4,634.89




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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2136 W 83rd Street                                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    38.12
Specific Allocation Fees:         $       11,715.64



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Claims                  08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding                  1.9 0.0213483         $8.33
            Administration                                   institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                  08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                   same.
            & Objections

August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments                1.1 0.0123596         $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                               0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                          0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver's counsel regarding requirements for receipt of lenders' documents via            0.3 0.0081081         $3.16
            Administration                                   drive and regarding information pertaining to institutional loans from records of EquityBuild
            & Objections                                     counsel (.3).

August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)             0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                           5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via              1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                       0.2 0.0022472         $0.58
            Administration                                   institutional lenders (.2)
            & Objections

September    Asset                  09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                 0.4 0.0037383         $1.46
2018         Disposition                                     with M. Rachlis regarding same (.4)
September    Asset                  09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                      0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related             0.1 0.0009346         $0.36
2018         Disposition                                     information.
September    Asset                  09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                         0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                   0.2 0.0018692         $0.73
2018         Disposition




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Asset                  09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                  09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                     brokers (.1).
September    Asset                  09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                     reports.
September    Business               09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                      information (.2)
September    Business               09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                      same (.5)
September    Business               09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business               09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business               09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                      letter agreement with property manager (.4)
September    Business               09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business               09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                      firm regarding interest in management, development, construction, and acquisition (.5)

September    Business               09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                      structure (.4)
September    Business               09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018         Operations                                      requests from lenders (.3)
September    Business               09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                      receivership and property issues (.7)
September    Business               09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business               09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business               09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018         Operations                                      compensation structure and prospective property improvements (.5)
September    Business               09/10/18 KBD         390 revise compensation structure (.4)                                                                      0.4 0.0058824         $2.29
2018         Operations
September    Business               09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                      compensation (.1)


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September    Business               09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                                 2.5 0.0233645         $9.11
2018         Operations
September    Business               09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                    0.2 0.0018692         $0.73
2018         Operations
September    Business               09/11/18 KBD         390 revise agreement with property manager (.2)                                                               0.2 0.0029412         $1.15
2018         Operations
September    Business               09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                    0.3 0.0044118         $1.72
2018         Operations
September    Business               09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                     0.4 0.0059701         $2.33
2018         Operations                                      overall portfolio and property values (.4)
September    Business               09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                    0.1 0.0009346         $0.36
2018         Operations                                      estate firm representatives (.1)
September    Business               09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                    0.5    0.004717       $1.84
2018         Operations                                      health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September    Business               09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel                0.1 0.0009434         $0.37
2018         Operations                                      (.1)
September    Business               09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding                0.1 0.0009346         $0.36
2018         Operations                                      same (.1)
September    Business               09/24/18 KBD         390 analysis of property management expenses (2.1)                                                            2.1 0.0196262         $7.65
2018         Operations
September    Business               09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                              0.1 0.0009346         $0.36
2018         Operations
September    Claims                 09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                           0.5    0.005618       $2.19
2018         Administration
             & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                         0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections

September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                    0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                        0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections

September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender           0.3 0.0033708         $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections

September Claims                    09/25/18 KBD         390 study correspondence from lenders servicing agent (.3).                                                0.3 0.0081081         $3.16
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                          0.7 0.0078652         $3.07
2018      Administration
          & Objections

September Claims                    09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders             0.4 0.0071429         $2.79
2018      Administration                                     (.4)
          & Objections

September    Asset                  09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                  09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                     of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September    Asset                  09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                  09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                     when they will be ready (.1)
September    Asset                  09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                  09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                  09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                  09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                     produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September    Asset                  09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346         $0.36
2018         Disposition                                     statements for production to potential brokerage.
September    Asset                  09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                 0.3 0.0028037         $1.09
2018         Disposition                                     prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September    Business               09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552         $3.49
2018         Operations                                      documents received regarding same (.6).
September    Business               09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478         $4.07
2018         Operations                                      same (.7);
September    Business               09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708         $1.31
2018         Operations
September    Business               09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944         $1.75
2018         Operations                                      lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business               09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708         $1.31
2018         Operations                                      revision to procedure for reporting to institutional lenders (.3).
September    Business               09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247         $7.89
2018         Operations
September    Business               09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596         $4.82
2018         Operations
September    Business               09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037         $1.09
2018         Operations                                      with prospective brokers (.3)
September    Business               09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383         $1.46
2018         Operations                                      distribution (.4).
September    Business               09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692         $0.49
2018         Operations                                      other expenses/money coming into receivership (.2)
September    Business               09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434         $0.25
2018         Operations
September    Business               09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                      2.4 0.0510638        $19.91
2018         Operations                                      relating to mortgage loans (2.4)
September    Claims                 09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708         $1.31
2018         Administration                                  correspondence (.3).
             & Objections

September Claims                    09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                             0.5 0.0089286         $3.48
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                               0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236         $0.16
2018      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                     0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                              0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/18/18 ED          390 emails to lenders and counsel to follow up on missing loan documents (1.6)                          1.6 0.0421053        $16.42
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/20/18 ED          390 Calls and emails with counsel for lender and special servicer.                                      3.8 0.1027027        $40.05
2018      Administration
          & Objections

September Claims                    09/21/18 ED          390 Review correspondence from lenders and counsel (.4)                                                 0.4 0.0074074         $2.89
2018      Administration
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                 2.5 0.0446429        $17.41
2018      Administration                                     (2.5)
          & Objections

October      Asset                  10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                     properties and debt ratio (.4).
October      Asset                  10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                  10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                     (2.7)
October      Asset                  10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
October      Asset                  10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                               1.7 0.0158879         $6.20
2018         Disposition
October      Asset                  10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                         0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/05/18 KBD         390 Study draft agreement with broker(.7)                                                            0.7 0.0065421         $2.55
2018         Disposition
October      Asset                  10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                         2.1 0.0196262         $7.65
2018         Disposition
October      Asset                  10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                 0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/09/18 KBD         390 further study and revise broker agreement (.9).                                                  0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                0.2 0.0018692         $0.73
2018         Disposition
October      Asset                  10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                 0.9 0.0084112         $3.28
2018         Disposition
October      Asset                  10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement            0.7 0.0065421         $2.55
2018         Disposition                                     terms and further background information(.7)
October      Asset                  10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                             0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                          0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same             0.3 0.0028037         $1.09
2018         Disposition                                     (.3)
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)              1.5 0.0140187         $5.47
2018         Disposition
October      Asset                  10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                0.2 0.0018692         $0.73
2018         Disposition                                     regarding engagement of broker (.2)
October      Asset                  10/11/18 KBD         390 telephone conference with broker representative (.1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key          2.1 0.0196262         $7.65
2018         Disposition                                     information and implementation of asset management and brokerage strategy (2.1)

October      Asset                  10/12/18 KBD         390 prepare for meeting with broker (.6)                                                             0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/14/18 KBD         390 Review information provided to asset management firm.                                            0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                   0.1 0.0009346         $0.36
2018         Disposition
October      Asset                  10/24/18 KBD         390 study analysis of single family home portfolio (.4).                                             0.4 0.0108108         $4.22
2018         Disposition
October      Asset                  10/25/18 KBD         390 study draft purchase and sale agreement and representation agreement for single family           0.2 0.0054054         $2.11
2018         Disposition                                     homes and review correspondence regarding same (.2)


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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October      Asset                  10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business               10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                      documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October      Business               10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                      and tenant evictions (.2)
October      Business               10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                      regarding scofflaw list (.1)
October      Business               10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                      court, and confirmation of accounting for rents (.3)
October      Business               10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                      property managers (.4)
October      Business               10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business               10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business               10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business               10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business               10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business               10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business               10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                      properties (.1)
October      Business               10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                      property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October      Claims                 10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                  information, and related issues and study documents regarding same.
             & Objections

October      Claims                 10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708         $1.31
2018         Administration                                  information (.3).
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)             0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                 10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018         Administration                                  and provisions in order appointing receiver (.4)
             & Objections

October      Claims                 10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018         Administration                                  procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                 10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                  institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                    rent rolls, and various related issues (2.8)

October      Claims                 10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                 10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                  representative regarding debt service analysis (.3)
             & Objections

October      Claims                 10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Claims                 10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018         Administration                                  same (.4).
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and                   0.2 0.0051282         $2.00
2018         Administration                                  appraisals (.2).
             & Objections

October      Claims                 10/30/18 KBD         390 study correspondence from lenders counsel regarding requested documentation (.5)                       0.5 0.0135135         $5.27
2018         Administration
             & Objections

October      Claims                 10/30/18 KBD         390 study correspondence from M. Rachlis and E. Duff regarding same (.2)                                   0.2 0.0054054         $2.11
2018         Administration
             & Objections

October      Claims                 10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information              0.2 0.0051282         $2.00
2018         Administration                                  (.2)
             & Objections

October      Asset                  10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                  10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                     firms.
October      Asset                  10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                  10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                  10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                  10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                     payments and sale of same, and property database.
October      Asset                  10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                  10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                     brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                  10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                  10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                     agreement and upcoming receivership tasks.
October      Asset                  10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                     agent (1.5).
October      Asset                  10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                     Duff and M. Rachlis.




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Asset                  10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                2.2 0.0205607         $8.02
2018         Disposition
October      Asset                  10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                      0.6 0.0056075         $2.19
2018         Disposition
October      Asset                  10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                               0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                        0.3 0.0028037         $0.39
2018         Disposition
October      Asset                  10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                          1.3 0.0121495         $1.70
2018         Disposition
October      Asset                  10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                             0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to               0.1 0.0009346         $0.13
2018         Disposition                                     retained broker (.1)
October      Asset                  10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                   2.1 0.0196262         $5.10
2018         Disposition                                     engagement (2.1).
October      Asset                  10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                     1.5 0.0223881         $8.73
2018         Disposition                                     commencement of process of identifying assets for immediate sale (1.5)
October      Asset                  10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.             2.0 0.0186916         $7.29
2018         Disposition
October      Asset                  10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                   0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                           0.1 0.0014925         $0.21
2018         Disposition
October      Asset                  10/18/18 AW          140 provide documents to retained broker (.1)                                                            0.1 0.0009346         $0.13
2018         Disposition
October      Asset                  10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262         $7.65
2018         Disposition                                     marketing and publicly selling properties and current state of portfolio valuation.

October      Business               10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663        $10.52
2018         Operations                                      same (2.4)
October      Business               10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371        $11.83
2018         Operations                                      alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.
October      Business               10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916         $4.86
2018         Operations                                      property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)
October      Business               10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018         Operations
October      Business               10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018         Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018         Operations
October      Claims                 10/02/18 ED          390 review correspondence and documents relating to required financial reporting under                   0.6 0.0098361         $3.84
2018         Administration                                  mortgage loan documents (.6).
             & Objections

October      Claims                 10/02/18 ED          390 Review and reply to messages from lenders and counsel (2.5)                                          2.5 0.0409836        $15.98
2018         Administration
             & Objections

October      Claims                 10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895         $6.16
2018         Administration
             & Objections

October      Claims                 10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                    0.2 0.0043478         $1.70
2018         Administration
             & Objections

October      Claims                 10/11/18 ED          390 Review and respond to emails from K Duff, M. Rachlis relating to financial reporting to              0.6 0.0162162         $6.32
2018         Administration                                  lender.
             & Objections

October      Claims                 10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944         $1.75
2018         Administration
             & Objections

October      Claims                 10/19/18 ED          390 conference calls with lender's counsel regarding assignment of rents, debt service payments          2.3 0.0425926        $16.61
2018         Administration                                  and other issues (2.3)
             & Objections

October      Claims                 10/19/18 ED          390 email correspondence with Receiver and M. Rachlis, A. Porter regarding same (1.1)                    1.1 0.0203704         $7.94
2018         Administration
             & Objections

October      Claims                 10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843        $12.71
2018         Administration                                  related loan documents and information supplied by lenders (2.9)
             & Objections

October      Claims                 10/21/18 ED          390 review of loan documents received from counsel to lender regarding loans and email to                1.9 0.0513514        $20.03
2018         Administration                                  counsel regarding loan information not yet supplied (1.9)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
October      Claims                 10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                 10/22/18 ED          390 Confer with Receiver and counsel regarding lender requests.                                        0.1    0.002381       $0.93
2018         Administration
             & Objections

October      Claims                 10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel           0.9 0.0195652         $7.63
2018         Administration                                  regarding property reporting, insurance, and appraisals (.9)
             & Objections

October      Claims                 10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).              3.0 0.0652174        $25.43
2018         Administration
             & Objections

October      Claims                 10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                  leases.
             & Objections

October      Claims                 10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                  portfolio properties (1.5)
             & Objections

October      Claims                 10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                 10/25/18 ED          390 review loan documents relating to insurance requirements (1.5).                                    1.5 0.0405405        $15.81
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 confer with Receiver regarding same (.2)                                                           0.2 0.0022472         $0.88
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours         Fees
October      Claims                 10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472          $0.88
2018         Administration                                  amount of mortgage loans (.2)
             & Objections

October      Claims                 10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and           0.9 0.0101124          $3.94
2018         Administration                                  logistics for site visits (.9)
             & Objections

October      Claims                 10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                                0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                 10/29/18 ED          390 review of related documents (.5)                                                                   0.5    0.005618        $2.19
2018         Administration
             & Objections

October      Claims                 10/30/18 ED          390 Review and reply to correspondence and calls from lenders counsel (2.2)                            2.2         0.05      $19.50
2018         Administration
             & Objections

October      Claims                 10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan              0.6 0.0067416          $2.63
2018         Administration                                  balances for report (.6).
             & Objections

October      Claims                 10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting           0.2 0.0022472          $0.88
2018         Administration                                  queries (.2)
             & Objections

October      Claims                 10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to             0.3 0.0033708          $1.31
2018         Administration                                  lenders (.3)
             & Objections

October      Claims                 10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                         0.2 0.0051282          $2.00
2018         Administration
             & Objections

October      Claims                 10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                     5.1 0.1307692         $51.00
2018         Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October      Claims                 10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Asset                  11/07/18 KBD         390 telephone conference with A. Porter regarding same and listing agreement for single family             0.2 0.0054054         $2.11
2018         Disposition                                     home portfolio (.2)
November     Asset                  11/12/18 KBD         390 exchange correspondence with M. Rachlis regarding single family home broker agreement                  0.1 0.0027027         $1.05
2018         Disposition                                     (.1)
November     Asset                  11/16/18 KBD         390 draft correspondence to A. Porter regarding single family home broker agreement (.1)                   0.1 0.0027027         $1.05
2018         Disposition
November     Asset                  11/20/18 KBD         390 study and revise representation agreement with respect to potential sale of single-family              2.5 0.0675676        $26.35
2018         Disposition                                     homes (2.5)
November     Asset                  11/20/18 KBD         390 office conference with M. Rachlis and draft correspondence to A. Porter regarding same (.2)            0.2 0.0054054         $2.11
2018         Disposition
November     Business               11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018         Operations                                      and accounting for rent, and communications with property manager (.3)

November     Business               11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018         Operations
November     Business               11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018         Operations
November     Business               11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018         Operations                                      reporting and communications with asset manager (.1).
November     Claims                 11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018         Administration
             & Objections

November     Claims                 11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018         Administration                                  lenders (.2).
             & Objections

November     Business               11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236         $0.44
2018         Operations
November     Business               11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416         $2.63
2018         Operations                                      related documents (.6).
November     Business               11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                  0.7 0.0078652         $3.07
2018         Operations                                      Receiver (.7)
November     Business               11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618       $2.19
2018         Operations
November     Business               11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and                0.2 0.0018692         $0.73
2018         Operations                                      property inspections by lenders (.2)
November     Business               11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729         $1.82
2018         Operations


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
November     Business               11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037         $1.09
2018         Operations
November     Business               11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421         $2.55
2018         Operations                                      related issues (.7)
November     Claims                 11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337        $28.48
2018         Administration                                  transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                    enforce assignments of rents and leases.

November     Claims                 11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899        $10.96
2018         Administration                                  acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                    motion to enforce assignments of rents and leases (2.5)

November     Claims                 11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427      $22.79
2018         Administration                                  opposition brief (5.2).
             & Objections

November     Claims                 11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888         $3.51
2018         Administration                                  opposition memorandum (.8).
             & Objections

November     Claims                 11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618        $19.72
2018         Administration                                  prepare text of affidavit (4.5)
             & Objections

November     Claims                 11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427        $10.08
2018         Administration                                  enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                 11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427        $10.08
2018         Administration
             & Objections

November     Claims                 11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303         $6.13
2018         Administration
             & Objections

November     Claims                 11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender           1.0    0.011236       $4.38
2018         Administration                                  motion to enforce assignments of rents and leases (1.0)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
November     Claims                 11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                        0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/17/18 MR          390 attention to various issues from hearing (.3).                                                         0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                           0.4 0.0044944         $1.75
2018         Administration
             & Objections

November     Claims                 11/27/18 MR          390 attention to letter from creditors (.2)                                                                0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Claims                 11/29/18 ED          390 Email correspondence and review of related documents regarding lender's inspection of                  1.8 0.0486486        $18.97
2018         Administration                                  properties and related requests for information (1.8)
             & Objections

November     Claims                 11/29/18 ED          390 confer with M. Rachlis regarding same (.1).                                                            0.1 0.0027027         $1.05
2018         Administration
             & Objections

December     Asset                  12/07/18 KBD         390 Draft correspondence to A. Porter regarding broker agreement regarding single family                   0.1 0.0027027         $1.05
2018         Disposition                                     homes ( .1)
December     Business               12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).                   0.1 0.0009434         $0.37
2018         Operations
December     Business               12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                        0.4 0.0037736         $1.47
2018         Operations                                      representatives regarding property portfolio (.4)
December     Business               12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)                   0.7 0.0066038         $2.58
2018         Operations
December     Business               12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                         0.1 0.0014706         $0.57
2018         Operations
December     Business               12/12/18 KBD         390 Study property manager financial reporting (.5)                                                        0.5 0.0073529         $2.87
2018         Operations
December     Business               12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,          1.5 0.0141509         $5.52
2018         Operations                                      repair planning, and receivership activities (1.5)
December     Business               12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                            0.4 0.0037383         $1.46
2018         Operations
December     Business               12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                      0.1 0.0009346         $0.36
2018         Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
December     Business               12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                          reporting (.1)
December     Business               12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business               12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business               12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                          issues (2.8)
December     Business               12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                          to address City violations and his plan for same (1.3)
December     Business               12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business               12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business               12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                          with K. Duff and N. Mirjanich.
December     Business               12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                          removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                 properties with violations (1.5)
December     Business               12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                          Rachlis and K. Duff regarding same (2.5)
December     Business               12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business               12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business               12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                          income from property manager and conference with K. Duff regarding same.

December     Business               12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                          properties with respective management companies in charge of their water bill payments
                                                                 and reported findings to N. Mirjanich.
December     Business               12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                 12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                      other issues.
             & Objections

January      Asset                  01/20/19 KBD             390 Exchange correspondence with A. Porter regarding listing agreement for single family home               0.1 0.0027027         $1.05
2019         Disposition                                         portfolio.
January      Asset                  01/25/19 KBD             390 telephone conference with real estate broker and A. Porter regarding communications with                0.2 0.0054054         $2.11
2019         Disposition                                         title company, single family home (.2)
January      Business               01/10/19 KBD             390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)            0.3 0.0033708         $1.31
2019         Operations


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
January      Business               01/10/19 KBD         390 study property management report (.2)                                                                0.2 0.0029412         $1.15
2019         Operations
January      Business               01/10/19 KBD         390 study property manager financial reporting (.4).                                                     0.4 0.0059701         $2.33
2019         Operations
January      Business               01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager              0.3 0.0044118         $1.72
2019         Operations                                      regarding same (.3)
January      Business               01/15/19 KBD         390 study financial reporting from other property manager (.3).                                          0.3 0.0044118         $1.72
2019         Operations
January      Business               01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                           0.1 0.0009434         $0.37
2019         Operations
January      Business               01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City               0.2 0.0018868         $0.74
2019         Operations                                      officials regarding scofflaw list (.2).
January      Business               01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                       0.3 0.0033708         $1.31
2019         Operations
January      Business               01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding              0.1 0.0009434         $0.37
2019         Operations                                      portfolio compliance and disposition issues (.1)
January      Business               01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                        0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                          0.1 0.0011236         $0.44
2019         Operations
January      Business               01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                1.5 0.0168539         $6.57
2019         Operations
January      Business               01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge          0.3 0.0033708         $1.31
2019         Operations                                      Kim and preparation for meeting with lenders' counsel (.3).
January      Claims                 01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                0.1 0.0011236         $0.44
2019         Administration                                  (.1)
             & Objections

January      Claims                 01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                               0.3 0.0033708         $1.31
2019         Administration
             & Objections

January      Claims                 01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                    0.4 0.0044944         $1.75
2019         Administration                                  preparation for meeting regarding same (.4)
             & Objections

January      Claims                 01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                       0.1 0.0011236         $0.44
2019         Administration                                  correspondence with real estate broker regarding same (.1)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
January      Claims                 01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019         Administration                                  regarding same (.5).
             & Objections

January      Claims                 01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416         $2.63
2019         Administration
             & Objections

January      Claims                 01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019         Administration                                  (2.1)
             & Objections

January      Claims                 01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019         Administration                                  (.5).
             & Objections

January      Asset                  01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                     properties with institutional debt.
January      Business               01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                      issues (.5)
January      Business               01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business               01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                      with Receiver (1.2)
January      Business               01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business               01/16/19 ED          390 draft replies to requests, and email correspondence with Receiver and M. Rachlis regarding                0.8 0.0235294         $9.18
2019         Operations                                      same (.8).
January      Business               01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                      for December and communications with K. Duff regarding same (.2).

January      Business               01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                      rents for December (.1)
January      Business               01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                      assorted lenders' counsel (.3).
January      Business               01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019         Operations                                      lender's counsel to discuss questions for Receiver (.4)
January      Business               01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019         Operations
January      Business               01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                                1.0    0.011236       $4.38
2019         Operations
January      Business               01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                      0.2 0.0022472         $0.88
2019         Operations                                      meeting.


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
January      Business               01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019         Operations
January      Business               01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019         Operations                                      1 meeting (.9)
January      Business               01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019         Operations                                      insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January      Business               01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business               01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019         Operations
January      Business               01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019         Operations                                      related exhibits and materials regarding same (4.6)
January      Business               01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019         Operations
January      Business               01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019         Operations
January      Business               01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019         Operations                                      including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)
January      Business               01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019         Operations
January      Business               01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011         $7.45
2019         Operations                                      lenders' motion to enforce assignment of rents and leases (1.7)
January      Business               01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618       $2.19
2019         Operations                                      assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).
January      Business               01/31/19 ED          390 draft reply to lender's counsel regarding access to properties for second visits and confer            0.8       0.025       $9.75
2019         Operations                                      with M. Rachlis regarding same (.8)
January      Business               01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                   0.7 0.0078652         $3.07
2019         Operations                                      meeting with lenders' counsel (.7).
January      Business               01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                     6.0 0.0674157        $26.29
2019         Operations
January      Business               01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                              1.7 0.0191011         $7.45
2019         Operations
January      Claims                 01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                             0.2 0.0022472         $0.88
2019         Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January      Claims                 01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019         Administration                                  meeting with lenders (.5).
             & Objections

January      Claims                 01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                 01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019         Administration                                  meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                    meeting with lenders.

January      Claims                 01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019         Administration
             & Objections

January      Claims                 01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

February     Asset                  02/06/19 KBD         390 study list of single family homes and review correspondence from A. Porter regarding same               0.1 0.0027027         $1.05
2019         Disposition                                     (.1).
February     Asset                  02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                     and exchange correspondence with real estate broker regarding same (.1)

February     Asset                  02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Asset                  02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Asset                  02/23/19 KBD         390 Study revised representation agreement relating to single family home portfolio.                        0.2 0.0054054         $2.11
2019         Disposition
February     Asset                  02/28/19 KBD         390 Study and revise draft broker agreement for single-family home listing in draft                         0.6 0.0162162         $6.32
2019         Disposition                                     correspondence to A. Porter regarding same.
February     Business               02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business               02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations
February     Business               02/07/19 KBD         390 exchange correspondence with N. Mirjanich regarding communications with city official                   0.1 0.0027027         $1.05
2019         Operations                                      regarding single family homes (.1)
February     Business               02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich              0.4 0.0037383         $1.46
2019         Operations                                      (.4)


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
February     Business               02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                     0.3 0.0028037         $1.09
2019         Operations
February     Business               02/08/19 KBD         390 Meet with N. Mirjanich regarding single family home portfolio and communications with city             0.2 0.0054054         $2.11
2019         Operations                                      officials (.2)
February     Business               02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                  0.1 0.0009346         $0.36
2019         Operations
February     Business               02/13/19 KBD         390 study property manager financial reporting (.4)                                                        0.4 0.0058824         $2.29
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                         0.2 0.0029412         $1.15
2019         Operations
February     Business               02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                    0.2 0.0029412         $1.15
2019         Operations                                      and financial information (.2)
February     Business               02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment                0.1 0.0009346         $0.36
2019         Operations                                      issue (.1).
February     Business               02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                              0.1 0.0014706         $0.57
2019         Operations
February     Business               02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                    0.1 0.0014706         $0.57
2019         Operations
February     Business               02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm                0.1 0.0009346         $0.36
2019         Operations                                      representative (.1)
February     Business               02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                    0.1 0.0014925         $0.58
2019         Operations                                      rental income (.1)
February     Business               02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                       0.1 0.0014706         $0.57
2019         Operations
February     Business               02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                  0.2 0.0029412         $1.15
2019         Operations                                      documentation (.2)
February     Business               02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                      0.1 0.0014706         $0.57
2019         Operations
February     Business               02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                        0.1 0.0014706         $0.57
2019         Operations
February     Business               02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment            4.4 0.0494382        $19.28
2019         Operations                                      (4.4)
February     Business               02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                  0.2 0.0022472         $0.88
2019         Operations
February     Business               02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property                0.1 0.0009434         $0.37
2019         Operations                                      maintenance and repairs (.1)
February     Business               02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff                1.3 0.0146067         $5.70
2019         Operations                                      regarding same (1.3)
February     Business               02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff          6.5 0.0730337        $28.48
2019         Operations                                      and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)
February     Business               02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                  0.4 0.0059701         $2.33
2019         Operations                                      regarding real estate taxes and financial reporting (.4)


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February     Business               02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                      (.1)
February     Business               02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                      spreadsheets regarding real estate tax analysis and study same (.5)
February     Business               02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                      taxes (1.4)
February     Claims                 02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019         Administration                                  regarding same (3.3)
             & Objections

February     Claims                 02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                 02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                 02/19/19 KBD         390 telephone conference with lenders counsel and M. Rachlis regarding various property and                 1.0    0.027027      $10.54
2019         Administration                                  loan issues (1.0)
             & Objections

February     Claims                 02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091         $1.33
2019         Administration                                  preparation of reporting (.3)
             & Objections

February     Claims                 02/20/19 KBD         390 study correspondence from lender's counsel regarding properties, certificates of insurance,             0.1 0.0027027         $1.05
2019         Administration                                  and loss payees (.1)
             & Objections

February     Claims                 02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                    0.3 0.0033708         $1.31
2019         Administration                                  regarding same (.3).
             & Objections

February     Asset                  02/06/19 AEP         390 assemble and provide information relating to single-family homes in receivership estate to K.           0.1 0.0027027         $1.05
2019         Disposition                                     Duff (.1).




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
February     Asset                  02/23/19 AEP         390 Finalize revisions to proposed single-family home representation agreement and circulate to               0.7 0.0189189         $7.38
2019         Disposition                                     team.
February     Business               02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019         Operations
February     Business               02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019         Operations
February     Business               02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019         Operations                                      (1.4)
February     Business               02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                      property expenses, and communicate same to K. Duff (.2)
February     Business               02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial      reporting              0.3 0.0078947         $3.08
2019         Operations                                      and evidence of insurance (.3)
February     Business               02/07/19 NM          260 correspond with K. Duff and City of Chicago commissioner secretary following meeting                      0.2 0.0054054         $1.41
2019         Operations                                      yesterday and study list of single-family home portfolio to send to same (.2)

February     Business               02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                      violation (.2)
February     Business               02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                      in receivership portfolio (1.9).
February     Business               02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019         Operations
February     Business               02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015       $3.90
2019         Operations                                      property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                             broker regarding a list of single-family home portfolio to send to same.

February     Business               02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652         $3.07
2019         Operations                                      from institutional lenders (.7).
February     Business               02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019         Operations                                      building expenses.
February     Business               02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909         $8.42
2019         Operations                                      rents by property (1.9)
February     Business               02/15/19 ED          390 review email correspondence from lender's counsel and related notes regarding access to                   0.7    0.021875       $8.53
2019         Operations                                      properties for inspection and appraisal, and draft correspondence regarding same to
                                                             Receiver and M. Rachlis (.7)
February     Business               02/15/19 KMP         140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925         $0.21
2019         Operations
February     Business               02/19/19 ED          390 Call with accountant regarding monthly reporting to lenders by property (.5)                              0.5    0.005618       $2.19
2019         Operations
February     Business               02/19/19 ED          390 email correspondence with propertymanagers regarding same (.5)                                            0.5 0.0046729         $1.82
2019         Operations
February     Business               02/19/19 KMP         140 conference with K. Duff and E. Duff regarding confirmation of property insurance coverage                 0.2     0.00425       $0.60
2019         Operations                                      for single-family properties currently listed for sale, review communications from insurer
                                                             relating to list of insured properties (.2).


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February     Business               02/20/19 ED              390 review CHA management authorization form and related email correspondence with                          0.2 0.0029412         $1.15
2019         Operations                                          property manager and K. Duff (.2)
February     Business               02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                 0.5    0.004717       $0.66
2019         Operations
February     Business               02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                       0.2 0.0022472         $0.88
2019         Operations
February     Business               02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                             2.3 0.0258427        $10.08
2019         Operations
February     Business               02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                              0.2 0.0022472         $0.88
2019         Operations
February     Business               02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                               0.1 0.0011236         $0.44
2019         Operations
February     Business               02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382        $19.28
2019         Operations                                          taxes (4.4)
February     Business               02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                0.1 0.0011236         $0.44
2019         Operations                                          information for properties (.1)
February     Business               02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652         $3.07
2019         Operations                                          (.7)
February     Business               02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888         $3.51
2019         Operations
February     Business               02/25/19 ED              390 preparation for same (.8)                                                                               0.8 0.0089888         $3.51
2019         Operations
February     Business               02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868         $0.26
2019         Operations                                          with court order and issues relating to same (.2)
February     Business               02/25/19 MR              390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382        $19.28
2019         Operations                                          Duff, K. Duff, and A. Porter (4.4)
February     Business               02/25/19 NM              260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944         $1.17
2019         Operations
February     Business               02/26/19 ED              390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944         $1.75
2019         Operations                                          manager, and preparation of document reflecting same (.4)
February     Business               02/26/19 ED              390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708         $1.31
2019         Operations
February     Business               02/26/19 ED              390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337        $28.48
2019         Operations                                          (6.5)
February     Business               02/26/19 ED              390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652         $3.07
2019         Operations                                          counsel (.7)
February     Business               02/26/19 MR              390 Attention to property tax related issues.                                                               4.5 0.0505618        $19.72
2019         Operations
February     Business               02/27/19 ED              390 Review email correspondence and file documentation regarding real estate tax payments                   0.2 0.0022472         $0.88
2019         Operations                                          due and sources of funds (.2)
February     Business               02/27/19 ED              390 update report regarding resources available for payment of real estate taxes (.3)                       0.3 0.0033708         $1.31
2019         Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Business               02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of              6.5 0.0730337        $28.48
2019         Operations                                      same to determine available funds for payment of property taxes (6.5)
February     Business               02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                               0.3 0.0028302         $1.10
2019         Operations
February     Business               02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related               1.3 0.0146067         $5.70
2019         Operations                                      submissions and payments (1.3)
February     Business               02/27/19 MR          390 review charts regarding same (.3)                                                                     0.3 0.0033708         $1.31
2019         Operations
February     Business               02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings              5.0 0.0561798        $21.91
2019         Operations                                      with K. Duff and E. Duff regarding same (5.0).
February     Business               02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders               0.3 0.0033708         $0.88
2019         Operations                                      with respect to escrow amounts (.3)
February     Business               02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to            0.2 0.0022472         $0.58
2019         Operations                                      costs to cure code violations (.2).
February     Business               02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019         Operations
February     Business               02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in            0.1 0.0014925         $0.21
2019         Operations                                      receivership (.1)
February     Business               02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019         Operations
February     Business               02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                      and review and analysis of documentation provided (1.8)
February     Business               02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                      estate taxes (.5)
February     Business               02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                      funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February     Business               02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business               02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                      various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)
February     Business               02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                      counsel (.2)
February     Business               02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019         Operations                                      property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).
February     Claims                 02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                    1.4 0.0157303         $6.13
2019         Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                Task Hours
  Month                                       Keeper                                                                                                                 Hours        Fees
February     Claims                 02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                          1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                 02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                 02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                 0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                 02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications          1.5 0.0168539         $6.57
2019         Administration                                  regarding same.
             & Objections

February     Claims                 02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to           0.5    0.005618       $1.46
2019         Administration                                  institutional lenders prior to filing pursuant to request.
             & Objections

February     Claims                 02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                        1.0    0.011236       $4.38
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                          0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                     0.3 0.0033708         $1.31
2019         Administration
             & Objections

February     Claims                 02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                            0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                 02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                       0.5    0.005618       $2.19
2019         Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
February     Claims                 02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)              0.8 0.0089888         $3.51
2019         Administration
             & Objections

March 2019 Asset                    03/01/19 KBD         390 draft correspondence to A. Porter regarding potential agreement with broker regarding               0.1 0.0027027         $1.05
           Disposition                                       same (.1).
March 2019 Asset                    03/01/19 KBD         390 Telephone conference with A. Porter regarding competitive broker bids for single family             0.1 0.0027027         $1.05
           Disposition                                       home portfolio (.1)
March 2019 Asset                    03/07/19 KBD         390 draft correspondence to broker same (.1)                                                            0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                    03/07/19 KBD         390 evaluation of options with M. Rachlis regarding single family home portfolio, broker                0.2 0.0054054         $2.11
           Disposition                                       agreement, commission structure, and competitive bidding (.2)
March 2019 Asset                    03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804         $0.38
           Disposition                                       properties for sale (.1)
March 2019 Asset                    03/07/19 KBD         390 discuss preparation of motion for approval of sale of single family home portfolio with N.          0.1 0.0027027         $1.05
           Disposition                                       Mirjanich (.1)
March 2019 Asset                    03/11/19 KBD         390 Exchange correspondence with A. Porter regarding single family home broker agreement.               0.1 0.0027027         $1.05
           Disposition
March 2019 Asset                    03/13/19 KBD         390 Study draft motion relating to single family home portfolio and correspondence from N.              0.3 0.0081081         $3.16
           Disposition                                       Mirjanich regarding same.
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,           0.3 0.0032609         $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/26/19 KBD         390 study single family home listing agreement and exchange correspondence with A. Porter               0.2 0.0054054         $2.11
           Disposition                                       regarding same (.2)
March 2019 Asset                    03/27/19 KBD         390 office conference with E. Duff and draft correspondence to and telephone conference with            0.4 0.0108108         $4.22
           Disposition                                       A. Porter regarding same (.4)
March 2019 Asset                    03/27/19 KBD         390 Study and revise representation agreement for sale of single family homes (.5)                      0.5 0.0135135         $5.27
           Disposition
March 2019 Asset                    03/28/19 KBD         390 Study representation agreement for single family home portfolio and exchange                        0.3 0.0081081         $3.16
           Disposition                                       correspondence with A. Porter regarding agreement for single-family home portfolio (.3)

March 2019 Asset                    03/29/19 KBD         390 Study and exchange correspondence regarding single family home listing agreement.                   0.2 0.0054054         $2.11
           Disposition
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                    0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax               0.1 0.0009346         $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                0.2 0.0018692         $0.73
           Operations
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)               0.2 0.0022727         $0.89
           Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                 03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                        correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                        reporting for lenders and study form of report (.6)
March 2019 Business                 03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/21/19 KBD         390 attention to communications with lender regarding utility lease consent, communications               0.2       0.005       $1.95
           Operations                                        with separate lender regarding city actions and court order relating to porch repairs, and
                                                             communications with property manager regarding accounting report for cross-collateralized
                                                             properties (.2)
March 2019 Business                 03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for              0.3 0.0034091         $1.33
           Operations                                        lenders and study draft report form (.3)
March 2019 Business                 03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial              0.2 0.0022727         $0.89
           Operations                                        reporting by property (.2)
March 2019 Business                 03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                  0.4 0.0045455         $1.77
           Operations                                        property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                   03/13/19 KBD         390 Study lenders' objections to claims process.                                                          0.5 0.0063291         $2.47
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial                0.3 0.0034091         $1.33
           Administration                                    reporting for lenders (.3)
           & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
March 2019 Claims                   03/14/19 KBD         390 study property manager financial report (.2).                                                    0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                  0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                           0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 study lenders' objections (.5)                                                                   0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 study and revise draft response to lenders' objections to claims process motion (.9)             0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 office conference with N. Mirjanich regarding response to lenders' objections to claims          0.2    0.002381       $0.93
           Administration                                    process motion (.2)
           & Objections

March 2019 Claims                   03/27/19 KBD         390 analysis of same with M. Rachlis (.2)                                                            0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD         390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)           0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD         390 further study and revise draft response to lenders' objections to claims process (3.6).          3.6 0.0428571        $16.71
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD         390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich          0.5 0.0059524         $2.32
           Administration                                    regarding same (.5)
           & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Claims                   03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                              2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Asset                    03/01/19 AEP             390 Teleconference with K. Duff regarding finalization of single-family homes listing agreement           0.1 0.0027027         $1.05
           Disposition                                           and options for shopping existing bid (.1)
March 2019 Asset                    03/01/19 AEP             390 make final edits and revisions to proposed single-family home listing agreement (.3)                  0.3 0.0081081         $3.16
           Disposition
March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales           0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                  2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                      1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/07/19 NM              260 Draft motion to approve the sale process for the single-family home portfolio.                        0.9 0.0243243         $6.32
           Disposition
March 2019 Asset                    03/08/19 ED              390 Confer with N. Mirjanich regarding information relating to sales of properties from single            1.6 0.0432432        $16.86
           Disposition                                           family homes portfolio, including review and discussion of information relating to recorded
                                                                 and released liens on properties.
March 2019 Asset                    03/08/19 NM              260 correspond with E. Duff regarding same and regarding lender on properties and loans for               1.6 0.0432432        $11.24
           Disposition                                           same (1.6)
March 2019 Asset                    03/08/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for single-family              0.2 0.0054054         $1.41
           Disposition                                           homes (.2)
March 2019 Asset                    03/12/19 AEP             390 Teleconference with prospective broker of single family home portfolio regarding final                1.0    0.027027      $10.54
           Disposition                                           changes to listing agreement and begin making agreed- upon changes (1.0)

March 2019 Asset                    03/12/19 JR              140 Assist N. Mirjanich with the notice for publication for the motion to approve the process of          0.5 0.0135135         $1.89
           Disposition                                           sale of the single-family homes by adding PIN numbers to the notice (.5)

March 2019 Asset                    03/12/19 NM              260 draft motion to approve the process for the single- family home sale (1.4)                            1.4 0.0378378         $9.84
           Disposition
March 2019 Asset                    03/12/19 NM              260 correspond with J. Rak regarding publication notice for same (.2).                                    0.2 0.0054054         $1.41
           Disposition
March 2019 Asset                    03/13/19 AEP             390 Finalize latest draft of prospective single-family homes listing agreement and transmit same          0.5 0.0135135         $5.27
           Disposition                                           to receivership broker with prefatory comments.
March 2019 Asset                    03/13/19 NM              260 Revise motion to approve the process for the single-family home sale and send to A. Porter            0.5 0.0135135         $3.51
           Disposition                                           for comment.
March 2019 Asset                    03/16/19 AEP             390 Read and respond to e-mail from prospective broker for sale of single-family homes and                0.2 0.0054054         $2.11
           Disposition                                           prepare final draft of proposed representation agreement for mutual execution.




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/26/19 AEP             390 teleconference with receivership broker regarding status of listing agreement for single-             0.1 0.0027027         $1.05
           Disposition                                           family homes (.1)
March 2019 Asset                    03/27/19 AEP             390 teleconference with M. Rachlis and K. Duff regarding outcome of discussion with property              0.4 0.0108108         $4.22
           Disposition                                           manager, cash management issues, earnest money refund issues, and proposed revisions to
                                                                 single-family home listing agreement (.4)
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                 03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                            (.3)
March 2019 Business                 03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                 03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                            correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                 03/06/19 ED              390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/06/19 ED              390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                            reports to lenders (.4)
March 2019 Business                 03/07/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/07/19 ED              390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                            regarding same (.5)


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                 03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091         $6.20
           Operations                                        accounting reports (1.4)
March 2019 Business                 03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                        estate taxes (.4)
March 2019 Business                 03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091         $6.20
           Operations                                        accounting reports to lenders (1.4)
March 2019 Business                 03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455         $1.77
           Operations                                        information for lender accounting reports (.4)
March 2019 Business                 03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818         $2.22
           Operations                                        same (.5)
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091         $1.33
           Operations                                        performance at each property (.3)
March 2019 Business                 03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455         $1.77
           Operations                                        reports (.4)
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545         $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224         $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                           0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and              0.1 0.0011364         $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                    0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                               1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                               1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information               0.2 0.0018692         $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)              0.7 0.0079545         $3.10
           Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                     0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                              0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455         $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545         $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818         $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                        of accounting report (.2)
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                        (.2)
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                  0.1 0.0009346         $0.13
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                               0.5    0.004717       $1.84
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                    0.3 0.0028302         $1.10
           Operations


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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Business                 03/25/19 ED          390 confer with M. Rachlis regarding conversation with lender's counsel (.2).                            0.2 0.0054054         $2.11
           Operations
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868         $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                  2.0 0.0227273         $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                         0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports          0.9 0.0102273         $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                   0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                 0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property              0.3 0.0034091         $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                   0.3 0.0034091         $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                        1.6 0.0202532         $7.90
           Operations
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties            0.2 0.0022727         $0.89
           Operations                                        (.2)
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                             1.8 0.0204545         $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                        0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                             0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain              0.2 0.0022727         $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                   1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and               0.2 0.0022727         $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                  1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                              0.8 0.0090909         $3.55
           Operations
March 2019 Claims                   03/13/19 NM          260 Study lenders' objections to the claims motion.                                                      0.7 0.0088608         $2.30
           Administration
           & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Claims                   03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                   03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                   03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                    cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                   03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                    cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                   03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                    cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                      regarding same and study comments from same.

March 2019 Claims                   03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-             3.3 0.0417722        $10.86
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same.

March 2019 Claims                   03/29/19 MR          390 work on draft response brief (1.2)                                                                     1.2 0.0151899         $5.92
           Administration
           & Objections

March 2019 Claims                   03/29/19 MR          390 conferences regarding same (.4).                                                                       0.4 0.0050633         $1.97
           Administration
           & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Claims                   03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-           8.1 0.1025316        $26.66
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                  04/01/19 KBD         390 Study single family home listing agreement and draft correspondence to A. Porter regarding           0.2 0.0054054         $2.11
             Disposition                                     same.
April 2019   Asset                  04/02/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of single-family home           0.1 0.0027027         $1.05
             Disposition                                     portfolio and additional properties (.1)
April 2019   Asset                  04/03/19 KBD         390 study correspondence from A. Porter regarding motion to approve sale of single-family                0.1 0.0027027         $1.05
             Disposition                                     home portfolio (.1).
April 2019   Asset                  04/09/19 KBD         390 study correspondence from A. Porter and N. Mirjanich regarding planning for sale of single-          0.2 0.0054054         $2.11
             Disposition                                     family home portfolio (.2).
April 2019   Asset                  04/10/19 KBD         390 Office conference with A. Porter and telephone conference with A. Porter and real estate             0.3 0.0081081         $3.16
             Disposition                                     broker regarding planning for sale of first tranche of properties and preparing for sale of
                                                             third tranche of properties and single family homes.
April 2019   Asset                  04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                  0.6 0.0065934         $2.57
             Disposition
April 2019   Asset                  04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                         0.8 0.0087912         $3.43
             Disposition
April 2019   Asset                  04/27/19 KBD         390 Exchange correspondence with A. Porter regarding sale of single-family home portfolio.               0.2 0.0054054         $2.11
             Disposition
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                       0.2 0.0018868         $0.74
             Operations
April 2019   Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                         0.1 0.0014925         $0.58
             Operations
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                0.6 0.0056075         $2.19
             Operations
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                   0.2 0.0018692         $0.73
             Operations
April 2019   Business               04/15/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0058824         $2.29
             Operations
April 2019   Business               04/17/19 KBD         390 discuss same with E. Duff (.1)                                                                       0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 KBD         390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)             0.7 0.0077778         $3.03
             Operations
April 2019   Business               04/22/19 KBD         390 study lender reports and discuss with E. Duff regarding corrections to same and                      0.2 0.0022727         $0.89
             Operations                                      communication with accounting firm representative relating to same (.2)
April 2019   Business               04/26/19 KBD         390 Telephone conference and exchange correspondence with insurance broker regarding                     0.3 0.0029126         $1.14
             Operations                                      efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD         390 office conferences with and study correspondence from J. Rak regarding delinquent real               0.4 0.0037383         $1.46
             Operations                                      estate tax payments and planning (.4)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417         $0.76
             Operations                                          amounts (.2)
April 2019   Claims                 04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516         $2.52
             Administration
             & Objections

April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037         $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075         $0.79
             Disposition
April 2019   Asset                  04/02/19 JR              140 Email response to N. Mirjanich regarding assisting on the approval of the single-family homes          0.1 0.0027027         $0.38
             Disposition                                         motion.
April 2019   Asset                  04/02/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for the single-family           0.2 0.0054054         $1.41
             Disposition                                         home portfolio.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692         $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692         $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 study, and revise first draft of proposed offering memorandum associated with marketing of             0.3 0.0081081         $3.16
             Disposition                                         single-family homes (.3)
April 2019   Asset                  04/17/19 AEP             390 communications with receivership brokers for single-family home portfolio regarding timing             0.2 0.0054054         $2.11
             Disposition                                         of motion to approve marketing and offering memorandum (.2).
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411         $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding           0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                 0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                           0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                        0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                 0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                            0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest            2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                  1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile          0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,           0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real              0.2 0.0028571         $1.11
             Operations                                          estate taxes.
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                   0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                        0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                 0.7 0.0079545         $3.10
             Operations
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                    0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)            0.2 0.0022472         $0.88
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                     0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details              0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                              0.2 0.0029412         $1.15
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                     0.2 0.0029412         $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                 0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                  3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                  0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                 1.0 0.0111111         $4.33
             Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539         $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)            0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                           0.2 0.0022727         $0.89
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                       0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                      0.6 0.0068182         $2.66
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                           0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)                0.9 0.0102273         $1.13
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                                 0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property                0.2 0.0022727         $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                        0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                         0.4 0.0045455         $1.77
             Operations




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                          managers (.8)
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818         $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091         $0.38
             Operations
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).               3.9 0.0443182        $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           0.8 0.0090909         $1.00
             Operations                                          property managers (.8)
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                        0.2 0.0022727         $0.25
             Operations
April 2019   Claims                 04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)                0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures            0.2 0.0022727         $0.89
             Administration                                      (.2).
             & Objections




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2019   Claims                 04/11/19 ED          390 Begin review of Receiver's property reports.                                                          1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                          0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 and research into discrepancies and questions (.7)                                                    0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED          390 review reports received against financial reporting to lenders (.8)                                   0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED          390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                  0.3 0.0029412         $1.15
             Administration                                  insurance coverage (.3)
             & Objections

May 2019     Asset                  05/01/19 KBD         390 telephone conference with A. Porter and asset manager regarding property manager                      0.2 0.0022989         $0.90
             Disposition                                     account reporting (.2)
May 2019     Asset                  05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                      1.3 0.0149425         $5.83
             Disposition                                     representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019     Asset                  05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                  05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
             Disposition                                     procedures (.2)
May 2019     Asset                  05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
             Disposition                                     portfolio equity (.1)
May 2019     Asset                  05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                  05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                  05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                     planning (1.8)
May 2019     Asset                  05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Asset                  05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                     regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                  05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                     communications with lenders' counsel relating to same (1.1)
May 2019     Asset                  05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                     credit bid and sales procedures (.5)
May 2019     Asset                  05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                     procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                  05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                     procedures and impact of changes on sales efforts (.6)
May 2019     Asset                  05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                  05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                     engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019     Asset                  05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition
May 2019     Asset                  05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                     communications with lenders' counsel relating to same (.8)
May 2019     Asset                  05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition
May 2019     Asset                  05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                     broker (.1)
May 2019     Asset                  05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business               05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business               05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                      reporting (.4)




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Business               05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business               05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                      replacement insurance (.1).
May 2019     Business               05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                      replacement of insurance coverage (.1)
May 2019     Business               05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                      insurance policies and renewals (.2).
May 2019     Business               05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                      payment (.1).
May 2019     Business               05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
             Operations                                      allocation (.1).
May 2019     Business               05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                      insurance (.3)
May 2019     Business               05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business               05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business               05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                      same (.3)
May 2019     Business               05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                      reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019     Business               05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business               05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations
May 2019     Business               05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
             Operations                                      coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business               05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                      0.2 0.0019417         $0.76
             Operations                                      property insurance renewal (.2)
May 2019     Business               05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                  0.1 0.0009709         $0.38
             Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
May 2019     Business               05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                  0.1 0.0009709         $0.38
             Operations                                      payment (.1)
May 2019     Business               05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding           0.2 0.0019417         $0.76
             Operations                                      property insurance payment (.2)
May 2019     Business               05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                 0.2 0.0019417         $0.76
             Operations
May 2019     Business               05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                 0.2 0.0018692         $0.73
             Operations
May 2019     Business               05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                  0.3 0.0046875         $1.83
             Operations                                      expenses (.3)
May 2019     Business               05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                         0.1 0.0015625         $0.61
             Operations
May 2019     Business               05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                 0.2 0.0022989         $0.90
             Operations
May 2019     Claims                 05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                              0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                 05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting            0.2 0.0022727         $0.89
             Administration                                  reports (.2)
             & Objections

May 2019     Claims                 05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with          0.1 0.0011494         $0.45
             Administration                                  accounting firm representatives (.1)
             & Objections

May 2019     Claims                 05/14/19 KBD         390 Work with E. Duff on financial reporting (.2)                                                    0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for           0.2 0.0022989         $0.90
             Administration                                  delivery of reports (.2)
             & Objections

May 2019     Claims                 05/15/19 KBD         390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                        0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 KBD         390 telephone conference with accounting firm representative regarding same (.1).                    0.1 0.0011364         $0.44
             Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019     Claims                 05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                     0.5 0.0056818         $2.22
             Administration                                      financial reports (.5)
             & Objections

May 2019     Claims                 05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Asset                  05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046       $3.14
             Disposition                                         accounting issues with property manager (.7).
May 2019     Asset                  05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539         $6.57
             Disposition                                         marketing and sales process (1.5).
May 2019     Asset                  05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931         $5.38
             Disposition                                         processes for next tranche of properties (1.2).
May 2019     Asset                  05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                  05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                  05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
             Disposition                                         of properties.
May 2019     Asset                  05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                  05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                  05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
             Disposition                                         and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                  05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
             Disposition
May 2019     Asset                  05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
             Disposition
May 2019     Asset                  05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                  05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of           0.6 0.0122449         $3.18
             Disposition                                         second tranche of properties, and the single-family home approval motion (.6)

May 2019     Asset                  05/13/19 NM              260 correspond with M. Rachlis and A. Porter regarding approval motion for single-family homes             0.1 0.0027027         $0.70
             Disposition                                         and send same to A. Porter for comment (.1).
May 2019     Asset                  05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition
May 2019     Asset                  05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
             Disposition




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
             Disposition
May 2019     Asset                  05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
             Disposition                                         receivership broker (1.0)
May 2019     Asset                  05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                  05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                  05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
             Disposition
May 2019     Asset                  05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
             Disposition
May 2019     Asset                  05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                  05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes                1.9 0.0387755         $5.43
             Disposition                                         survey in preparation for marketing (1.9)
May 2019     Asset                  05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
             Disposition
May 2019     Asset                  05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                  05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                    0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                  05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                     2.6    0.038806       $5.43
             Disposition                                         online water payment and management (2.6)
May 2019     Asset                  05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                  0.3 0.0044776         $0.63
             Disposition                                         (.3)
May 2019     Asset                  05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                            1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                  05/30/19 MR              390 and conferences regarding same (.2).                                                                   0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                  05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                          0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                  05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                      1.3 0.0149425         $5.83
             Disposition
May 2019     Asset                  05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same                0.2 0.0023256         $0.60
             Disposition                                         (.2).
May 2019     Business               05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax           2.3 0.0214953         $3.01
             Operations                                          sale (2.3)
May 2019     Business               05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                       0.8 0.0074766         $1.05
             Operations




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
May 2019     Business               05/03/19 ED          390 confer with K. Duff (.1)                                                                           0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED          390 call with insurance broker regarding application information (.1)                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 ED          390 review information regarding March expenditures by Receivership (.3)                               0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/03/19 ED          390 Review materials regarding renewals of liability and umbrella coverages (.4)                       0.4 0.0038835         $1.51
             Operations
May 2019     Business               05/03/19 ED          390 email correspondence with property manager (.5)                                                    0.5 0.0076923         $3.00
             Operations
May 2019     Business               05/03/19 ED          390 email correspondence to accountant regarding same (.1).                                            0.1 0.0011364         $0.44
             Operations
May 2019     Business               05/03/19 ED          390 confer with K. Duff regarding same (.1)                                                            0.1 0.0015385         $0.60
             Operations
May 2019     Business               05/03/19 ED          390 and K. Pritchard (.1) regarding signing application documents and sending to broker                0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/03/19 KMP         140 Compile documents for general liability and umbrella insurance policy renewals and                 0.2 0.0019417         $0.27
             Operations                                      conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business               05/03/19 KMP         140 forward executed policy documents to broker (.1).                                                  0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/03/19 NM          260 correspond with E. Duff regarding code violation and property tax documents needed for             0.2 0.0022989         $0.60
             Operations                                      reporting and send same (.2).
May 2019     Business               05/06/19 KMP         140 Prepare wire transfer request form for down payment on general liability and umbrella              0.4 0.0038835         $0.54
             Operations                                      insurance renewal, and communications with K. Duff and bank representative regarding
                                                             same (.4)
May 2019     Business               05/06/19 KMP         140 communication with insurance broker providing confirmation of payment (.1).                        0.1 0.0009709         $0.14
             Operations
May 2019     Business               05/07/19 ED          390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/07/19 KMP         140 Study communication from insurance broker providing notice of first installment on                 0.1 0.0009709         $0.14
             Operations                                      premium finance agreement.
May 2019     Business               05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)           0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/08/19 ED          390 email correspondence with property manager to request additional documentation for same            0.3 0.0034091         $1.33
             Operations                                      (.3)
May 2019     Business               05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                   2.0 0.0227273         $8.86
             Operations
May 2019     Business               05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                0.2 0.0022727         $0.89
             Operations                                      expenditures by property (.2)
May 2019     Business               05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for          0.9 0.0102273         $3.99
             Operations                                      follow up questions (.9)
May 2019     Business               05/08/19 ED          390 and review of related documentation (.6)                                                           0.6 0.0068182         $2.66
             Operations


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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019     Business               05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091         $1.33
             Operations
May 2019     Business               05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909         $3.55
             Operations                                      reports and comments and questions regarding contents (.8)
May 2019     Business               05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182        $17.28
             Operations
May 2019     Business               05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608         $0.51
             Operations                                      manager (.2)
May 2019     Business               05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455         $1.77
             Operations
May 2019     Business               05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091        $11.08
             Operations
May 2019     Business               05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818         $2.22
             Operations                                      (.5)
May 2019     Business               05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455         $1.77
             Operations
May 2019     Business               05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214         $4.92
             Operations
May 2019     Business               05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545         $3.10
             Operations
May 2019     Business               05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727         $0.89
             Operations
May 2019     Business               05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455         $1.77
             Operations
May 2019     Business               05/16/19 ED          390 Review April financial reporting information (1.0)                                                     1.0 0.0097087         $3.79
             Operations
May 2019     Business               05/16/19 ED          390 review documents regarding application of receivership payments to property manager by                 2.2       0.025       $9.75
             Operations                                      property (2.2)
May 2019     Business               05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports             0.1 0.0011364         $0.44
             Operations                                      (.1)
May 2019     Business               05/16/19 ED          390 review revised accounting reports from accountant (.5).                                                0.5 0.0056818         $2.22
             Operations
May 2019     Business               05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                               0.6 0.0068182         $2.66
             Operations




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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2019     Business               05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of             0.3 0.0034091          $1.33
             Operations                                      accounting reports (.3)
May 2019     Business               05/17/19 ED          390 review and revise draft reports received (4.4)                                                         4.4         0.05      $19.50
             Operations
May 2019     Business               05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)              0.8 0.0090909          $3.55
             Operations
May 2019     Business               05/17/19 ED          390 calls with accountant regarding reports (.3)                                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                  0.5 0.0056818          $2.22
             Operations                                      accountants (.5)
May 2019     Business               05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                             0.3 0.0034091          $1.33
             Operations
May 2019     Business               05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                   0.9 0.0102273          $3.99
             Operations                                      accounting reports (.9)
May 2019     Business               05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       4.6 0.0522727         $20.39
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                       6.4 0.0727273         $28.36
             Operations                                      accountant with comments and revisions to same.
May 2019     Business               05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with           10.8 0.1227273         $47.86
             Operations                                      accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business               05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of             6.7 0.0761364         $29.69
             Operations                                      accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019     Business               05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                                 0.1 0.0011364          $0.30
             Operations
May 2019     Business               05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                    4.0 0.0454545         $11.82
             Operations
May 2019     Business               05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                    4.1 0.0465909         $18.17
             Operations
May 2019     Business               05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636         $33.68
             Operations                                      with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business               05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727          $0.89
             Operations
May 2019     Business               05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818          $0.80
             Operations                                      conferences with E. Duff regarding same.
May 2019     Business               05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909          $2.36
             Operations
May 2019     Business               05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182         $21.27
             Operations
May 2019     Business               05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364         $15.07
             Operations                                      reports (3.4).




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                             Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
May 2019     Business               05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                           2.8 0.0318182        $12.41
             Operations
May 2019     Business               05/22/19 ED          390 final review of accounting reports (2.4)                                                                 2.4 0.0272727        $10.64
             Operations
May 2019     Business               05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                  0.6 0.0067416         $0.94
             Operations                                      and conferences with E. Duff regarding same.
May 2019     Business               05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                             0.8 0.0090909         $2.36
             Operations
May 2019     Business               05/24/19 MR          390 and to property insurance (.1).                                                                          0.1 0.0009709         $0.38
             Operations
May 2019     Business               05/24/19 MR          390 Attention to communications regarding property managers (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2019     Business               05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                           0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding             0.4 0.0038835         $0.54
             Operations                                      property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019     Business               05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                   0.2 0.0019417         $0.27
             Operations                                      notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business               05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                            0.5 0.0057471         $2.24
             Operations
May 2019     Business               05/30/19 ED          390 call with asset manager regarding same (.2)                                                              0.2 0.0022989         $0.90
             Operations
May 2019     Business               05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of             0.9 0.0103448         $4.03
             Operations                                      accounting reports (.9)
May 2019     Business               05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)               0.4 0.0045977         $1.79
             Operations
May 2019     Business               05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April                0.5 0.0057471         $2.24
             Operations                                      accounting reports (.5)
May 2019     Business               05/30/19 ED          390 and property manager (.8)                                                                                0.8 0.0091954         $3.59
             Operations
May 2019     Business               05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).                1.0 0.0114943         $4.48
             Operations
May 2019     Business               05/30/19 KMP         140 communications with K. Duff, A. Watychowicz, J. Rak and accountant regarding state                       0.4 0.0266667         $3.73
             Operations                                      agency's notice on filing of annual report for certain entities, and review entity documents to
                                                             verify ownership of properties (.4).
May 2019     Business               05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                        0.1 0.0009709         $0.14
             Operations                                      agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
May 2019     Business               05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                    0.2 0.0022989         $0.90
             Operations                                      required for April accounting reports (.2)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                  5.6 0.0643678        $25.10
             Administration                                  accounting reports (5.6)
             & Objections

May 2019     Claims                 05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)             0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                              0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                 05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                 0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting          5.0 0.0574713        $22.41
             Administration                                  documents (5.0)
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft               0.4 0.0045977         $1.79
             Administration                                  reports (.4)
             & Objections

May 2019     Claims                 05/03/19 ED          390 email correspondence with property managers regarding financial information to include in             0.4 0.0045977         $1.79
             Administration                                  accounting reports (.4).
             & Objections

May 2019     Claims                 05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
             Administration
             & Objections

May 2019     Claims                 05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019     Claims                 05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                 05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

June 2019    Asset                  06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
             Disposition
June 2019    Asset                  06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
             Disposition                                     timing (.2)
June 2019    Asset                  06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
             Disposition                                     with lenders counsel (.1)
June 2019    Asset                  06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
             Disposition                                     exchange various correspondence relating to same (.4)
June 2019    Asset                  06/05/19 KBD         390 office conference with J. Rak and exchange correspondence with A. Porter regarding single             0.2 0.0054054         $2.11
             Disposition                                     family home portfolio motion to approve listing for sale (.2)
June 2019    Asset                  06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
             Disposition                                     regarding same (.6)
June 2019    Asset                  06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
             Disposition
June 2019    Asset                  06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966         $2.69
             Disposition                                     and study revised credit bid procedures (.6)
June 2019    Asset                  06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977         $1.79
             Disposition
June 2019    Asset                  06/09/19 KBD         390 Draft correspondence to A. Porter regarding sale of properties and broker commission.                 0.2     0.00425       $1.66
             Disposition
June 2019    Asset                  06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046       $3.14
             Disposition                                     M. Rachlis.
June 2019    Asset                  06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802         $0.77
             Disposition
June 2019    Asset                  06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                  0.5       0.005       $1.95
             Disposition
June 2019    Business               06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                     0.3       0.003       $1.17
             Operations
June 2019    Business               06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties               0.5 0.0057471         $2.24
             Operations                                      (.5)
June 2019    Business               06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                            0.1 0.0009346         $0.36
             Operations
June 2019    Business               06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure             0.1 0.0011494         $0.45
             Operations                                      relating to credit bid issue (.1)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019    Business               06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                   0.1 0.0009709         $0.38
             Operations
June 2019    Business               06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                  0.2 0.0019608         $0.76
             Operations                                      transfer of funds (.2)
June 2019    Business               06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                0.4 0.0038835         $1.51
             Operations                                      renewal (.4)
June 2019    Business               06/12/19 KBD         390 study property manager financial reporting (.4)                                                      0.4     0.00625       $2.44
             Operations
June 2019    Business               06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                     0.2 0.0019608         $0.76
             Operations
June 2019    Business               06/14/19 KBD         390 study property manager financial reporting (.3).                                                     0.3 0.0046875         $1.83
             Operations
June 2019    Business               06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                     0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                 0.4 0.0045977         $1.79
             Operations                                      same (.4).
June 2019    Business               06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence                0.4 0.0037383         $1.46
             Operations                                      with J. Rak regarding same (.4)
June 2019    Business               06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                  0.2 0.0019608         $0.76
             Operations                                      correspondence (.2)
June 2019    Business               06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue              0.3 0.0033333         $1.30
             Operations                                      (.3).
June 2019    Claims                 06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                  various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                 06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
             Administration                                  lender's counsel regarding credit bid procedures (.3)
             & Objections

June 2019    Claims                 06/10/19 KBD         390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                  lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                    date (.3)

June 2019    Claims                 06/11/19 KBD         390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
             Administration                                  revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                 06/14/19 KBD         390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
             Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019    Claims                 06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/17/19 KBD             390 study lenders motion to amend court order and exchange correspondence regarding same                    0.6 0.0098361         $3.84
             Administration                                      (.6).
             & Objections

June 2019    Claims                 06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                     0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                 06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                    0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                 06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit                 0.2 0.0022989         $0.90
             Administration                                      bid procedures (.2)
             & Objections

June 2019    Claims                 06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                        1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                  06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794         $4.84
             Disposition
June 2019    Asset                  06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
             Disposition
June 2019    Asset                  06/04/19 AEP             390 research public records and finalize list of legal descriptions, PIN's, and owners of single-           0.7 0.0189189         $7.38
             Disposition                                         family properties (.7)
June 2019    Asset                  06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652         $3.07
             Disposition
June 2019    Asset                  06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
             Disposition
June 2019    Asset                  06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                         properties (.6).
June 2019    Asset                  06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019    Asset                  06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714        $25.77
             Disposition                                         marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                 specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                 to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                 PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                 surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                 lists and closing documents, and numerous other transaction preparation tasks.

June 2019    Asset                  06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                  06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                  06/09/19 AEP             390 prepare e-mail to team regarding property sales and single-family home portfolio tranche                0.2 0.0054054         $2.11
             Disposition                                         (.2).
June 2019    Asset                  06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                         of proposed credit bidding procedures (2.1)
June 2019    Asset                  06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                  06/10/19 AEP             390 Teleconference with real estate broker regarding overview of marketing process for single-              0.2 0.0054054         $2.11
             Disposition                                         family home portfolio and effect of potential credit bidding issues.
June 2019    Asset                  06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                  06/11/19 AEP             390 Extensive review of public records for each property owned by EB South Chicago 1, as well as            6.2 0.1675676        $65.35
             Disposition                                         all available documents in files of former EquityBuild counsel relating to the acquisition and
                                                                 financing of said properties, and begin preparation of exhibit to motion to approve sales
                                                                 process for single-family home portfolio providing all property-specific information relevant
                                                                 to consideration of motion.
June 2019    Asset                  06/12/19 AEP             390 continue reviewing public records, loan documents, and other materials in EquityBuild files             3.3 0.0891892        $34.78
             Disposition                                         and preparing motion to approve sales process for single-family home portfolio and
                                                                 supporting exhibit (3.3).
June 2019    Asset                  06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                         procedures and provide comments to team regarding same (.2)
June 2019    Asset                  06/13/19 AEP             390 Continue reviewing public records, loan documents, and other materials and preparing                    3.1 0.0837838        $32.68
             Disposition                                         motion to approve sales process for single-family home portfolio and supporting exhibit.

June 2019    Asset                  06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                  06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition
June 2019    Asset                  06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                  06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
             Disposition                                         all properties (.1).


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019    Asset                  06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)          0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                  06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                   0.3       0.003       $0.42
             Disposition                                         referencing all properties (.3)
June 2019    Asset                  06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                           2.6       0.026       $3.64
             Disposition
June 2019    Asset                  06/26/19 AEP             390 Meeting with J. Rak to collect information for completion of exhibit to motion to approve              1.5 0.0405405        $15.81
             Disposition                                         sales process for single-family home portfolio, inventory state of title and survey work,
                                                                 discuss amendments to portfolio spreadsheet, and otherwise continue organization of next
                                                                 round of motion practice and closings.
June 2019    Asset                  06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect               0.9 0.0083333         $1.17
             Disposition                                         the receiver's information (.9)
June 2019    Asset                  06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                   0.1       0.001       $0.14
             Disposition
June 2019    Asset                  06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                2.5 0.0277778        $10.83
             Disposition
June 2019    Asset                  06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other              1.8 0.0166667         $2.33
             Disposition                                         receivership properties (1.8).
June 2019    Asset                  06/30/19 AEP             390 Study, edit, and revise second section of motion to approve single-family home portfolio               1.8 0.0486486        $18.97
             Disposition                                         consistent with results of final title reviews of all properties owned by EB South Chicago
                                                                 entities.
June 2019    Business               06/01/19 KMP             140 Communications with A. Porter and accountant regarding status of certain entities in                   0.2 0.0133333         $1.87
             Operations                                          connection with state agency's notice on filing of annual report.
June 2019    Business               06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                           0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference            2.4 0.0275862         $7.17
             Operations                                          and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                 same (2.4)
June 2019    Business               06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                        0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                       0.1       0.001       $0.39
             Operations
June 2019    Business               06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                            0.9 0.0087379         $3.41
             Operations
June 2019    Business               06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                      0.4       0.004       $1.56
             Operations
June 2019    Business               06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for                2.7       0.027      $10.53
             Operations                                          current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019    Business               06/07/19 KMP             140 communications with K. Duff and insurance broker regarding binding documents for                       0.2 0.0019417         $0.27
             Operations                                          property insurance renewal and forward executed documentation relating to same (.2)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
June 2019    Business               06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                0.4 0.0038835         $0.54
             Operations                                      liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                             regarding same (.4)
June 2019    Business               06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                       4.7    0.054023      $21.07
             Operations                                      regarding allocation of funds (4.7)
June 2019    Business               06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                0.5 0.0057471         $2.24
             Operations
June 2019    Business               06/10/19 ED          390 confer with K. Duff regarding same (.3).                                                            0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)          0.2       0.002       $0.78
             Operations
June 2019    Business               06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds            0.6 0.0068966         $1.79
             Operations                                      and payment of expenses from same and from Receiver's account (.6).
June 2019    Business               06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                     0.9 0.0103448         $4.03
             Operations
June 2019    Business               06/13/19 ED          390 review information from property manager regarding application of funds from Receivership           1.0 0.0114943         $4.48
             Operations                                      to property accounts (1.0)
June 2019    Business               06/13/19 ED          390 confer with M. Rachlis (.2)                                                                         0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling              0.1 0.0009709         $0.14
             Operations                                      payment for same (.1).
June 2019    Business               06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                      0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)             0.2 0.0022989         $0.90
             Operations
June 2019    Business               06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by               0.2 0.0022989         $0.90
             Operations                                      property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business               06/17/19 MR          390 and conferences regarding same (.3).                                                                0.3 0.0034483         $1.34
             Operations
June 2019    Business               06/17/19 MR          390 attention to accountant related issues (.1)                                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business               06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                            4.3 0.0494253        $19.28
             Operations
June 2019    Business               06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                 0.3 0.0034483         $1.34
             Operations                                      respond to letters received from lender (.3)
June 2019    Business               06/18/19 ED          390 accountant (.4)                                                                                     0.4 0.0045977         $1.79
             Operations
June 2019    Business               06/18/19 ED          390 email correspondence with property manager (.7)                                                     0.7    0.008046       $3.14
             Operations
June 2019    Business               06/18/19 ED          390 and insurance broker (.8)                                                                           0.8 0.0091954         $3.59
             Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019    Business               06/18/19 ED              390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                          regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business               06/19/19 ED              390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                          manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business               06/20/19 ED              390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/20/19 ED              390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                          accounting reports (1.0)
June 2019    Business               06/20/19 ED              390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business               06/20/19 MR              390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/24/19 ED              390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                          premiums relating to sold properties (.1)
June 2019    Business               06/24/19 ED              390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business               06/26/19 ED              390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                          accounts receivables (.2).
June 2019    Business               06/27/19 ED              390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations
June 2019    Business               06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Business               06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Claims                 06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                 06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
             Administration                                      reporting (.6)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Claims                 06/04/19 ED          390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/07/19 ED          390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
             Administration                                  and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                 06/07/19 ED          390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                 06/07/19 ED          390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
             Administration                                  Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                 06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
             Administration                                  and questions relating to Receiver's accounting reports.
             & Objections

June 2019    Claims                 06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
             Administration                                  ended April 2019 (.3)
             & Objections

June 2019    Claims                 06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                 06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
             Administration                                  accounting reports to lenders (.2).
             & Objections

June 2019    Claims                 06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019    Claims                 06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                  email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                 06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                 06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections

June 2019    Claims                 06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                            0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                 06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                      0.8 0.0089888         $2.34
             Administration                                  questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                 06/25/19 MR          390 prepare for (1.2)                                                                                      1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 Attention to claims related issues (.7)                                                                0.7 0.0078652         $3.07
             Administration
             & Objections

June 2019    Claims                 06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                          0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                 06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                           0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                  07/03/19 KBD         390 telephone conference with A. Porter regarding motion for approval to list for sale single-             0.2 0.0054054         $2.11
             Disposition                                     family home portfolio (.2).




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2019    Asset                  07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002       $0.78
             Disposition                                     properties and timing (.2)
July 2019    Asset                  07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002       $0.78
             Disposition                                     and impact on timing for sale of properties and planning (.2)
July 2019    Asset                  07/10/19 KBD         390 confer with A. Porter regarding single family home portfolio, determination of listing prices,          0.3 0.0081081         $3.16
             Disposition                                     and allocation of sales proceeds (.3)
July 2019    Asset                  07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                                0.3 0.0034483         $1.34
             Disposition
July 2019    Asset                  07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs                0.1 0.0011494         $0.45
             Disposition                                     (.1).
July 2019    Asset                  07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                     0.2       0.002       $0.78
             Disposition
July 2019    Asset                  07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                            0.2       0.002       $0.78
             Disposition
July 2019    Business               07/01/19 KBD         390 review allocation of insurance premium (.3)                                                             0.3 0.0029412         $1.15
             Operations
July 2019    Business               07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                     0.2 0.0032787         $1.28
             Operations
July 2019    Business               07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                   0.2       0.002       $0.78
             Operations                                      property manager (.2).
July 2019    Business               07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding                 0.5 0.0081967         $3.20
             Operations                                      previous discussions before the Court about priority and abandonment.

July 2019    Business               07/10/19 KBD         390 Review real estate tax bills (.2)                                                                       0.2 0.0019608         $0.76
             Operations
July 2019    Business               07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                              0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                    0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,              0.2 0.0019608         $0.76
             Operations                                      communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019    Business               07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                       0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same                 0.1 0.0009901         $0.39
             Operations                                      and priority of property sales (.1)
July 2019    Business               07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                        0.2 0.0018868         $0.74
             Operations
July 2019    Business               07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with            0.2 0.0022989         $0.90
             Operations                                      E. Duff (.2)
July 2019    Business               07/15/19 KBD         390 study property manager financial reporting (.4)                                                         0.4     0.00625       $2.44
             Operations




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Business               07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business               07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations
July 2019    Business               07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                      payment for insurance (.2)
July 2019    Business               07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
             Operations
July 2019    Claims                 07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)               1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                        0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                  0.3 0.0034483         $1.34
             Administration                                  regarding same (.3).
             & Objections

July 2019    Claims                 07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                           1.0 0.0163934         $6.39
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment               0.3 0.0033708         $1.31
             Administration                                  discussions before the Court (.3)
             & Objections

July 2019    Claims                 07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                              0.3 0.0033708         $1.31
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)            0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                 07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                   0.6 0.0067416         $2.63
             Administration                                  information, and case law (.6)
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2019    Claims                 07/22/19 KBD             390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                    0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                    0.2 0.0018519         $0.72
             Administration                                      lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                  07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                      1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                  07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19           1.6 0.0179775         $7.01
             Disposition                                         order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019    Asset                  07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)           1.4 0.0138614         $1.94
             Disposition
July 2019    Asset                  07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                      1.1 0.0123596         $4.82
             Disposition
July 2019    Asset                  07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                      0.5    0.005618       $2.19
             Disposition
July 2019    Asset                  07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on               0.1 0.0015873         $0.22
             Disposition                                         all properties for property manager (.1)
July 2019    Asset                  07/03/19 JR              140 update real estate taxes for properties (1.5).                                                         1.5 0.0238095         $3.33
             Disposition
July 2019    Asset                  07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                            1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                  07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts              1.2 0.0136364         $5.32
             Disposition                                         regarding same.
July 2019    Asset                  07/09/19 AEP             390 teleconference with brokers retained to sell single-family home portfolio regarding valuation          1.4 0.0378378        $14.76
             Disposition                                         methodology and allocation of sales proceeds (1.4)
July 2019    Asset                  07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                0.5 0.0079365         $1.11
             Disposition                                         and resend (.5)
July 2019    Asset                  07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                      1.9       0.019       $2.66
             Disposition
July 2019    Asset                  07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                               1.8       0.018       $2.52
             Disposition
July 2019    Asset                  07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                0.2 0.0020408         $0.80
             Disposition                                         insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                  07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers            0.1 0.0009804         $0.14
             Disposition                                         (.1)
July 2019    Asset                  07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                0.2 0.0022989         $0.90
             Disposition                                         institutional lenders (.2).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2019    Asset                  07/23/19 AEP             390 Conference call with K. Duff, M. Rachlis, and receivership brokers regarding single-family              0.4 0.0108108         $4.22
             Disposition                                         portfolio assets and encumbrances thereon, including EBF affiliate and institutional debt (.4)

July 2019    Asset                  07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
             Disposition                                         (.2)
July 2019    Asset                  07/28/19 AEP             390 prepare exhibit to motion reflecting receivership broker's allocations of individual property           1.0    0.027027      $10.54
             Disposition                                         values (1.0)
July 2019    Asset                  07/28/19 AEP             390 prepare remaining exhibits to motion, including proposed order, proposed form of                        0.7 0.0189189         $7.38
             Disposition                                         publication, and proposed terms and conditions of single-family residence sales process (.7)

July 2019    Asset                  07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
             Disposition
July 2019    Asset                  07/28/19 AEP             390 Proofread, edit, and revise latest draft of motion to approve sales process for single-family           3.1 0.0837838        $32.68
             Disposition                                         home portfolio, review notes of teleconference with receivership broker, read white paper
                                                                 received from receivership broker explaining online marketing process, and prepare new
                                                                 section of motion regarding automated valuation methodology and allocation of estimated
                                                                 market values of individual properties (3.1)

July 2019    Asset                  07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties            1.3 0.0146067         $5.70
             Disposition                                         potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)

July 2019    Asset                  07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255         $5.35
             Disposition                                         title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019    Business               07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001       $0.39
             Operations
July 2019    Business               07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001       $0.39
             Operations                                          payment of real estate taxes (.1)
July 2019    Business               07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                 0.2 0.0019608         $0.76
             Operations                                          coming due (.2)
July 2019    Business               07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial                 0.2 0.0019608         $0.76
             Operations                                          reporting information, discussions with asset manager regarding cash flow and property
                                                                 costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business               07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                        1.1 0.0107843         $4.21
             Operations
July 2019    Business               07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                             0.1 0.0009804         $0.38
             Operations
July 2019    Business               07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                       0.6 0.0058824         $2.29
             Operations


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
July 2019    Business               07/15/19 ED          390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002       $0.78
             Operations
July 2019    Business               07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/15/19 ED          390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007       $2.73
             Operations                                      Rachlis and J. Rak regarding same (.7).
July 2019    Business               07/15/19 NM          260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002       $0.52
             Operations                                      property status (.2).
July 2019    Business               07/16/19 NM          260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
             Operations                                      water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                             the same.
July 2019    Business               07/17/19 ED          390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
             Operations
July 2019    Business               07/18/19 AW          140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
             Operations
July 2019    Business               07/19/19 AW          140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804         $0.14
             Operations
July 2019    Business               07/23/19 ED          390 review of June financial reporting from property managers (.4)                                           0.4       0.004       $1.56
             Operations
July 2019    Business               07/25/19 ED          390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business               07/25/19 KMP         140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216         $0.55
             Operations                                      and communications with K. Duff and bank representative regarding same.

July 2019    Business               07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                    0.3 0.0029412         $1.15
             Operations
July 2019    Claims                 07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership                        1.4    0.016092       $6.28
             Administration                                  expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections

July 2019    Claims                 07/01/19 ED          390 email to accountant regarding same (.4).                                                                 0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                                        0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting                   0.2 0.0022989         $0.90
             Administration                                  reports to lenders.
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                           Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                            Task Hours
  Month                                       Keeper                                                                                                            Hours        Fees
July 2019    Claims                 07/10/19 ED          390 email correspondence with accountants (.6)                                                 0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                  0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                 0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 review and analysis of relevant documents (1.1)                                            1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                    0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                 07/11/19 ED          390 and email correspondence confirming next steps (.3)                                        0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments          0.2 0.0022989         $0.90
             Administration                                  attributable to properties (.2)
             & Objections

July 2019    Claims                 07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)               1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                 07/14/19 ED          390 email accountant regarding same (.2)                                                       0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/15/19 ED          390 Further review of draft accounting reports (.5)                                            0.5 0.0057471         $2.24
             Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019    Claims                 07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                 07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                  to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                 07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                  information and instructions for same (.3)
             & Objections

July 2019    Claims                 07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in             0.5 0.0057471         $2.24
             Administration                                  preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                 07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                  (.8)
             & Objections

July 2019    Claims                 07/19/19 ED          390 Email correspondence with A. Watychowicz regarding preparation of May accounting                    0.1 0.0011494         $0.45
             Administration                                  reports to lenders (.1)
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019    Claims                 07/22/19 ED              390 and confer with K. Duff regarding same (1.1)                                                             1.1 0.0126437         $4.93
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                           0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                    2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                 07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of                  0.5 0.0057471         $2.24
             Administration                                      real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                 07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                 07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
             Administration                                      reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                 07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                 07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                 07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
             Administration                                      accounting reports (.9)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019    Claims                 07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                      0.4 0.0045977         $1.79
             Administration                                  accounting reports to lenders (.4)
             & Objections

August 2019 Asset                   08/01/19 KBD         390 Study draft motion for approval to sell single family home portfolio (.4)                             0.4 0.0108108         $4.22
            Disposition
August 2019 Asset                   08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).             0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest            0.1       0.001       $0.39
            Disposition                                      in properties (.1)
August 2019 Asset                   08/09/19 KBD         390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).             0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                   08/12/19 KBD         390 telephone conference with real estate broker and A. Porter regarding lender                           0.1 0.0011494         $0.45
            Disposition                                      communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                   08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                    0.3       0.003       $1.17
            Disposition                                      marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                    1.5 0.0172414         $6.72
            Disposition                                      credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                             (1.5).
August 2019 Asset                   08/15/19 KBD         390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second          0.5 0.0111111         $4.33
            Disposition                                      group of properties and single family home portfolio (.5)
August 2019 Asset                   08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                  0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                         0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing             0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Asset                   08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                   0.3       0.003       $1.17
            Disposition
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                   0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/12/19 KBD         390 study property manager financial reporting (.3).                                                      0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                         0.1       0.001       $0.39
            Operations
August 2019 Business                08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).               0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                   0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                           0.1 0.0009804         $0.38
            Operations


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                    0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.           0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                  0.5       0.005       $1.95
            Operations
August 2019 Claims                  08/08/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.4)                                           0.4 0.0108108         $4.22
            Administration
            & Objections

August 2019 Claims                  08/08/19 KBD         390 Prepare for conference with lender's counsel (.8)                                                  0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/08/19 KBD         390 conference with lender's counsel (.8)                                                              0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/09/19 KBD         390 study draft response to lender objections (.4).                                                    0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                 0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                   procedures.
            & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
August 2019 Claims                  08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                              0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                              0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and            1.5 0.0172414         $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions             4.3 0.0494253        $19.28
            Administration                                   (4.3)
            & Objections

August 2019 Claims                  08/20/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.8)                                            0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/20/19 KBD         390 telephone conference with lenders' counsel regarding preparation to market and sell single          1.2 0.0324324        $12.65
            Administration                                   family home portfolio and relating to preliminary report of claims process and upcoming
            & Objections                                     hearing (1.2)

August 2019 Claims                  08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                       2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing             0.2 0.0022989         $0.90
            Administration                                   issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                          0.1 0.0011494         $0.45
            Administration
            & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2019 Claims                  08/28/19 KBD             390 Study lenders' reply relating to objections.                                                          0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit               0.2 0.0022989         $0.90
            Administration                                       bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                        0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                        0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title              0.5    0.005102       $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/08/19 MR              390 Prepare for and participate in call with lender's counsel, A Porter and K. Duff.                      2.0 0.0540541        $21.08
            Disposition
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                          0.2       0.002       $0.28
            Disposition
August 2019 Asset                   08/13/19 AEP             390 read e-mail from receivership broker regarding status of motion for approval to sell single-          0.1 0.0027027         $1.05
            Disposition                                          family residences and respond thereto (.1).
August 2019 Asset                   08/20/19 AEP             390 conference call with counsel for secured lender holding interests in single-family home               1.3 0.0351351        $13.70
            Disposition                                          portfolio regarding marketing process, potential objection to sales process, allocations of
                                                                 value to individual assets, and potential meeting with secured lenders to discuss global
                                                                 issues, including timing of claims process (1.3)
August 2019 Asset                   08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second             0.1 0.0022222         $0.58
            Disposition                                          tranche, and listing of all remaining properties (.1)
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for              0.2       0.002       $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                 1.3       0.013       $1.82
            Operations
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                        0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                           0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).                0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to                  0.1 0.0014085         $0.20
            Operations                                           payment of real estate taxes.


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance              0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                            0.7       0.007       $2.73
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                      0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                  0.8       0.008       $3.12
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                              1.2       0.012       $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).            0.1 0.0009804         $0.14
            Operations
August 2019 Claims                  08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483         $1.34
            Administration                                       documents (.3)
            & Objections

August 2019 Claims                  08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                       accounting firm (.5).
            & Objections

August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                 Task Hours
  Month                                           Keeper                                                                                                                  Hours        Fees
August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                         0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                          2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                       0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in          0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                         0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 confer with K. Duff regarding meeting with institutional lender (.1)                             0.1 0.0023256         $0.33
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 locate and download proof of claims forms submitted by institutional lender (.4)                 0.4 0.0093023         $1.30
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 review spreadsheets and prepare same for upcoming meeting (.6)                                   0.6 0.0139535         $1.95
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                              0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 call with accountant regarding same (.1)                                                         0.1 0.0011494         $0.45
            Administration
            & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
August 2019 Claims                  08/13/19 NM          260 study respond to lender objections on credit bid procedures orders, revise the same, and          0.3    0.004918       $1.28
            Administration                                   correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                  08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)              0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED          390 and email correspondence with accountant regarding comments (.6)                                  0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/14/19 NM          260 study response to lender objections on credit bid procedures orders for filing (.2).              0.2 0.0032787         $0.85
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                         3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related           2.7 0.0310345        $12.10
            Administration                                   documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures           0.4 0.0045977         $1.79
            Administration                                   for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                  08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                          0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                  08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                         0.6 0.0068966         $2.69
            Administration
            & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2019 Claims                  08/16/19 NM          260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                   same (.3).
            & Objections

August 2019 Claims                  08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).             1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                                 2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 and review revised reports (3.9)                                                                      3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                       0.6 0.0068966         $2.69
            Administration                                   content of reports (.6)
            & Objections

August 2019 Claims                  08/19/19 MR          390 attention to upcoming meeting and hearing on lender related issues (.5).                              0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR          390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                 3.5 0.0402299        $15.69
            Administration                                   follow up regarding same (3.5)
            & Objections

August 2019 Claims                  08/19/19 MR          390 attention to order on credit bids and conferences regarding same (.3)                                 0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/20/19 MR          390 follow up discussion and preparation with same (.5).                                                  0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                  08/20/19 MR          390 conferences with lender counsel on claims issues and property sales with K. Duff, A. Porter           1.4 0.0378378        $14.76
            Administration                                   (1.4)
            & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236         $0.16
            Administration                                   follow up (.1)
            & Objections

August 2019 Claims                  08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                  08/21/19 NM          260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                   study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                  08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                   accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                  08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494         $0.45
            Administration                                   amounts
            & Objections

August 2019 Claims                  08/28/19 ED          390 email correspondence with accountant (.6)                                                              0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483         $1.34
            Administration                                   reports to lenders (.3)
            & Objections

August 2019 Claims                  08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494         $0.45
            Administration
            & Objections




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/30/19 NM          260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                   hearing attached as exhibit to the same (.7).
            & Objections

September    Asset                  09/04/19 KBD         390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989         $0.90
2019         Disposition
September    Asset                  09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356        $11.21
2019         Disposition                                     bidding, and hearing before Judge Lee (2.5).
September    Asset                  09/06/19 KBD         390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483         $1.34
2019         Disposition                                     regarding sales contracts and communications relating to credit bidding (.3)

September Asset                     09/09/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984         $4.95
2019      Disposition                                        with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                             marketing and property tour information.
September    Asset                  09/12/19 KBD         390 draft correspondence to lender's counsel regarding valuation information (.1).                         0.1    0.002381       $0.93
2019         Disposition
September    Asset                  09/18/19 KBD         390 Exchange correspondence with M. Rachlis regarding single family home portfolio valuation.              0.2 0.0054054         $2.11
2019         Disposition
September    Asset                  09/21/19 KBD         390 Draft correspondence to lender's counsel regarding valuation of properties and exchange                0.3 0.0081081         $3.16
2019         Disposition                                     correspondence with M. Rachlis and A. Porter regarding same.
September    Asset                  09/23/19 KBD         390 study property valuation information relating to single family homes, draft correspondence             0.2 0.0054054         $2.11
2019         Disposition                                     to lender's counsel regarding same, and exchange correspondence with A. Porter regarding
                                                             same (.2)
September    Asset                  09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745        $14.15
2019         Disposition
September    Asset                  09/24/19 KBD         390 study property valuation information for single family home portfolio and exchange                     0.2 0.0054054         $2.11
2019         Disposition                                     correspondence regarding same (.2).
September    Asset                  09/26/19 KBD         390 Study property valuation information relating to single family home portfolio and exchange             0.3 0.0081081         $3.16
2019         Disposition                                     correspondence regarding same (.3)
September    Asset                  09/27/19 KBD         390 Exchange correspondence regarding valuation of properties.                                             0.3 0.0081081         $3.16
2019         Disposition
September    Business               09/11/19 KBD         390 study property manager financial reports (.3)                                                          0.3 0.0046875         $1.83
2019         Operations
September    Business               09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977         $1.79
2019         Operations                                      Duff regarding property financial reporting.
September    Business               09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804         $0.38
2019         Operations
September    Claims                 09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                          0.1 0.0011494         $0.45
2019         Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September Claims                    09/03/19 KBD             390 Telephone conference and exchange correspondence with broker regarding credit bids and                 0.3 0.0034483         $1.34
2019      Administration                                         communications with potential purchasers (.3)
          & Objections

September Claims                    09/10/19 KBD             390 telephone conference with real estate broker regarding credit bids and communications with             0.2 0.0022989         $0.90
2019      Administration                                         lenders representatives regarding same (.2).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from A. Porter regarding language in purchase and sale agreement for              0.1 0.0011494         $0.45
2019      Administration                                         credit bid (.1).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                   0.1 0.0011494         $0.45
2019      Administration
          & Objections

September    Asset                  09/18/19 AEP             390 communications with K. Duff and M. Rachlis regarding single- family residence portfolio (.1).          0.1 0.0027027         $1.05
2019         Disposition
September    Asset                  09/20/19 AEP             390 Prepare e-mail to receivership broker regarding proposed exchange of valuation data with               0.1 0.0027027         $1.05
2019         Disposition                                         secured institutional lender (.1)
September    Asset                  09/21/19 MR              390 attention to issues regarding single family portfolio related issues (.2).                             0.2 0.0054054         $2.11
2019         Disposition
September    Asset                  09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding               2.5 0.0245098         $9.56
2019         Disposition                                         same.
September    Asset                  09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                           0.3 0.0029412         $1.15
2019         Disposition
September    Asset                  09/23/19 MR              390 review various emails regarding single home portfolio and other issues (.3)                            0.3 0.0081081         $3.16
2019         Disposition
September    Asset                  09/24/19 JR              140 organize statements for real estate taxes (.3)                                                         0.3       0.003       $0.42
2019         Disposition
September    Asset                  09/24/19 MR              390 attention to emails regarding single family home portfolio and attention to various court              0.2 0.0054054         $2.11
2019         Disposition                                         orders (.2)
September    Asset                  09/25/19 JR              140 exchange correspondence with A. Porter regarding same (.3)                                             0.3 0.0081081         $1.14
2019         Disposition
September    Asset                  09/25/19 JR              140 prepare a worksheet with comparative analysis of estimated market values for the single                1.6 0.0432432         $6.05
2019         Disposition                                         family homes (1.6)
September    Asset                  09/26/19 AEP             390 Review and analyze broker opinion of values received from special servicer for institutional           0.7 0.0189189         $7.38
2019         Disposition                                         lender related to single-family residence portfolio, create spreadsheet comparing lender
                                                                 values with values used by receivership broker and generate figures comparing allocations of
                                                                 individual property values to portfolio values as ascertained by both special servicer and
                                                                 receivership broker and prepare e-mail to receivership broker regarding same.




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
September Asset                     09/28/19 AEP             390 Prepare e-mail to K. Duff and J. Rak regarding comparisons of broker opinions of value                   0.2 0.0054054         $2.11
2019      Disposition                                            received from special servicer for institutional lender and values applied by receivership
                                                                 broker and additional exchanges of supporting documentation (.2)
September    Business               09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                          0.2 0.0022989         $0.90
2019         Operations
September    Business               09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                           0.3 0.0034483         $1.34
2019         Operations
September    Business               09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                  0.4 0.0039216         $0.55
2019         Operations                                          finance company for payment on insurance premium finance agreement (.4)

September    Business               09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                      0.2 0.0022989         $0.32
2019         Operations
September    Business               09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July                3.3 0.0383721         $5.37
2019         Operations                                          2019 (3.3)
September    Business               09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                             0.2 0.0022989         $0.32
2019         Operations
September    Business               09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471         $2.24
2019         Operations
September    Business               09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989         $0.90
2019         Operations
September    Business               09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505         $1.63
2019         Operations                                          same.
September    Business               09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431         $3.06
2019         Operations
September    Business               09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216         $0.55
2019         Operations                                          transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September    Business               09/25/19 ED              390 review of financial reporting records (.7)                                                               0.7    0.008046       $3.14
2019         Operations
September    Business               09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977         $1.79
2019         Operations
September    Claims                 09/01/19 MR              390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483         $1.34
2019         Administration                                      lender.
             & Objections

September Claims                    09/10/19 ED              390 Preliminary review of draft accounting reports to lenders (.2)                                           0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED              390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding               0.1 0.0011494         $0.45
2019      Administration                                         payment of outstanding real estate taxes (.1).
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                   0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                            0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into               0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                         0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                             1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)          0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                    1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                       1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                     0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                              0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                          1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                            1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                       0.2 0.0022989         $0.90
2019      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                             0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/22/19 ED          390 Analysis of operating expenses.                                                                           1.5 0.0172414         $6.72
2019      Administration
          & Objections

October      Asset                  10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit                   0.2 0.0022989         $0.90
2019         Disposition                                     bidding and planning for further sales.
October      Asset                  10/08/19 KBD         390 study correspondence regarding property valuation (.2)                                                    0.2 0.0047619         $1.86
2019         Disposition
October      Asset                  10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                          1.0 0.0114943         $4.48
2019         Disposition                                     regarding various property sales and credit bidding (1.0)
October      Asset                  10/17/19 KBD         390 Analysis of potential sale opportunity.                                                                   0.2 0.0022472         $0.88
2019         Disposition
October      Asset                  10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                    0.3 0.0033708         $1.31
2019         Disposition                                     same.
October      Business               10/07/19 KBD         390 study property manager financial reporting (.3).                                                          0.3 0.0046875         $1.83
2019         Operations
October      Business               10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                      0.8 0.0078431         $3.06
2019         Operations
October      Business               10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                        0.1 0.0009804         $0.38
2019         Operations
October      Business               10/15/19 KBD         390 study financial reporting from property manager (.3).                                                     0.3 0.0046875         $1.83
2019         Operations
October      Claims                 10/10/19 KBD         390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to               0.3 0.0034483         $1.34
2019         Administration                                  sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Asset                  10/01/19 AEP         390 reply to receivership broker regarding single-family home valuations (.1)                                 0.1 0.0027027         $1.05
2019         Disposition
October      Asset                  10/01/19 MR          390 Attention to single family home portfolio issues.                                                         0.3 0.0081081         $3.16
2019         Disposition
October      Asset                  10/02/19 AEP         390 teleconference with counsel for special servicer regarding variations in single-family portfolio          0.4 0.0108108         $4.22
2019         Disposition                                     valuation analyses and potential for resolution of differences (.4)
October      Asset                  10/04/19 AEP         390 prepare e-mail to counsel for special servicer regarding prospective receipt of BOV's and                 0.1 0.0027027         $1.05
2019         Disposition                                     scheduling of conference call with clients to discuss reconciliation of same with receivership
                                                             broker listing prices (.1).
October      Asset                  10/04/19 AEP         390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding                0.3 0.0034483         $1.34
2019         Disposition                                     procedures (.3)
October      Asset                  10/04/19 MR          390 Attention to order on objections to sales (.4)                                                            0.4 0.0045977         $1.79
2019         Disposition


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
October      Asset                  10/08/19 AEP             390 analyze valuation variances relating to single family home portfolio and exchange                      0.3 0.0081081         $3.16
2019         Disposition                                         correspondence with broker and lenders' counsel regarding same (.3)
October      Asset                  10/08/19 MR              390 attention to issues on single family homes (.3)                                                        0.3 0.0081081         $3.16
2019         Disposition
October      Asset                  10/16/19 AEP             390 e-mail exchanges with K. Duff regarding attempts to schedule conference call with                      0.1 0.0027027         $1.05
2019         Disposition                                         receivership broker for single-family residences and representative of lender's loan servicer
                                                                 (.1)
October      Asset                  10/17/19 AEP             390 Prepare e-mail to counsel for lender on single-family residence properties regarding                   0.1 0.0027027         $1.05
2019         Disposition                                         scheduling of conference call regarding valuation and allocation issues (.1)

October      Asset                  10/17/19 AEP             390 teleconference with counsel for lender on single-family residence properties regarding                 0.4 0.0108108         $4.22
2019         Disposition                                         valuation and allocation issues and prospects for agreement on motion to approve
                                                                 marketing process (.4)
October      Asset                  10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                         0.3 0.0034884         $0.49
2019         Disposition
October      Asset                  10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank                3.2 0.0372093         $5.21
2019         Disposition                                         statement and compare (3.2).
October      Asset                  10/22/19 AEP             390 prepare e-mail to counsel for lender on single-family residence properties regarding                   0.1 0.0027027         $1.05
2019         Disposition                                         scheduling of conference call regarding valuation and allocation issues (.1).

October      Asset                  10/22/19 AEP             390 Conference call with receivership broker for single-family residence properties regarding              0.3 0.0081081         $3.16
2019         Disposition                                         valuation issues (.3)
October      Asset                  10/23/19 MR              390 Attention to issues on single family home sales and other related issues.                              0.3 0.0081081         $3.16
2019         Disposition
October      Asset                  10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                  0.4 0.0039216         $1.53
2019         Disposition                                         portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                  10/28/19 AEP             390 correspondence between counsel for loan servicer and receivership single-family home                   0.2 0.0054054         $2.11
2019         Disposition                                         broker regarding scheduling of conference call regarding valuations and allocations (.2).

October      Asset                  10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                         1.2 0.0137931         $5.38
2019         Disposition
October      Business               10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with                 0.4 0.0045977         $1.79
2019         Operations                                          accountant regarding same.
October      Business               10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                               0.3 0.0029412         $1.15
2019         Operations
October      Business               10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                  1.0 0.0098039         $3.82
2019         Operations
October      Business               10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August                0.6 0.0068182         $2.66
2019         Operations                                          property reports.
October      Business               10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate            0.3 0.0030303         $0.42
2019         Operations                                          spreadsheet containing unpaid taxes from property manager (.3).
October      Business               10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                     0.2 0.0021739         $0.30
2019         Operations


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
October      Business               10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers           1.9 0.0206522         $2.89
2019         Operations                                          can pay out of current net operating income (1.9)
October      Business               10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.             0.5 0.0057471         $2.24
2019         Operations
October      Business               10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and          3.1 0.0360465         $5.05
2019         Operations                                          also compare funds sent to property manager from receivers' account.

October      Business               10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real             0.2       0.002       $0.28
2019         Operations                                          estate taxes (.2)
October      Business               10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                      0.6       0.006       $0.84
2019         Operations
October      Business               10/22/19 JR              140 Finalize financial reports for receivership.                                                        1.4 0.0162791         $2.28
2019         Operations
October      Business               10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare          0.9 0.0087379         $1.22
2019         Operations                                          same.
October      Business               10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income           0.8 0.0091954         $3.59
2019         Operations                                          and expenditures (.8).
October      Business               10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                1.3 0.0149425         $5.83
2019         Operations
October      Business               10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                0.3 0.0029412         $0.41
2019         Operations                                          agreement and conferences with K. Duff and bank representative relating to same.

October      Claims                 10/10/19 NM              260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid             0.4 0.0045977         $1.20
2019         Administration                                      issue (.4).
             & Objections

October      Claims                 10/17/19 ED              390 confer with J. Rak regarding same (.2).                                                             0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/17/19 ED              390 Preliminary review of August accounting reports to lenders (1.5)                                    1.5 0.0174419         $6.80
2019         Administration
             & Objections

October      Claims                 10/24/19 ED              390 update transmittal messages to lenders' counsel (1.6)                                               1.6 0.0183908         $7.17
2019         Administration
             & Objections

October      Claims                 10/24/19 ED              390 Final review of August accounting reports to lenders (2.8)                                          2.8 0.0325581        $12.70
2019         Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
October      Claims                 10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                 10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019         Administration
             & Objections

October      Claims                 10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                 10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256         $0.91
2019         Administration                                  reports (.2).
             & Objections

October      Claims                 10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019         Administration                                  September (1.2)
             & Objections

November     Asset                  11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019         Disposition
November     Asset                  11/18/19 KBD         390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739         $0.85
2019         Disposition
November     Asset                  11/23/19 KBD         390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258         $1.26
2019         Disposition
November     Business               11/05/19 KBD         390 analysis of same (.2).                                                                                0.2 0.0019608         $0.76
2019         Operations
November     Business               11/05/19 KBD         390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608         $0.76
2019         Operations                                      assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                             improvements for remaining properties in portfolio (.2)
November     Business               11/07/19 KBD         390 Exchange correspondence with property manager regarding funds for property expenses.                  0.2 0.0032787         $1.28
2019         Operations
November     Business               11/12/19 KBD         390 study property manager reports (.6).                                                                  0.6 0.0098361         $3.84
2019         Operations
November     Business               11/25/19 KBD         390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105         $1.64
2019         Operations                                      with E. Duff regarding same (.4)
November     Business               11/25/19 KBD         390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053         $0.82
2019         Operations                                      insurance and expenses (.2)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November     Business               11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding               0.3 0.0031579         $1.23
2019         Operations                                          same (.3)
November     Business               11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,                0.2 0.0021053         $0.82
2019         Operations                                          and planning (.2)
November     Asset                  11/01/19 AEP             390 teleconference with special servicer, counsel for special servicer, and receivership single-             0.6 0.0162162         $6.32
2019         Disposition                                         family residence portfolio broker regarding conflicting valuations and allocations and
                                                                 attempts to reconcile differences prior to filing of motion to approve sales process (.6)

November     Asset                  11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties               0.4 0.0043478         $1.70
2019         Disposition                                         (.4).
November     Asset                  11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                                 0.9 0.0104651         $1.47
2019         Disposition
November     Asset                  11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                2.8 0.0294737        $11.49
2019         Disposition                                         team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)
November     Asset                  11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019         Disposition
November     Asset                  11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019         Disposition                                         draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November     Asset                  11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674         $2.77
2019         Disposition
November     Asset                  11/26/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding motion to approve sales                     0.2 0.0054054         $0.76
2019         Disposition                                         process and single family homes (.2)
November     Asset                  11/27/19 JR              140 Exchange correspondence with A. Porter related to filing a motion to approve the sale                    0.1 0.0027027         $0.38
2019         Disposition                                         process for remainder of properties and single family homes (.1)
November     Asset                  11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019         Disposition                                         information that is required for future sales of properties (.2).
November     Business               11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business               11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business               11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                          reports (.4)
November     Business               11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business               11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                          (.1)
November     Business               11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                          research and communication regarding process (.6).
November     Business               11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations


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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
November     Business               11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet           2.3 0.0244681         $3.43
2019         Operations                                          been sold.
November     Business               11/24/19 JR              140 Review financial statements received from property managers and compare data to                       1.8 0.0174757         $2.45
2019         Operations                                          accounting financial statements from Receiver's accountant.
November     Business               11/25/19 ED              390 review of October financial reporting from property managers (.9).                                    0.9 0.0087379         $3.41
2019         Operations
November     Business               11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                     0.7 0.0067961         $2.65
2019         Operations                                          receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November     Business               11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional               0.3 0.0029126         $1.14
2019         Operations                                          information for review (.3)
November     Business               11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                 2.8 0.0271845         $3.81
2019         Operations                                          (2.8).
November     Business               11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)            0.6 0.0066667         $0.93
2019         Operations
November     Claims                 11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                   0.4 0.0038835         $1.51
2019         Administration                                      preparation of October accounting reports to lenders.
             & Objections

November     Claims                 11/30/19 ED              390 Review of September property reports from accountant (3.8)                                            3.8 0.0368932        $14.39
2019         Administration
             & Objections

November     Claims                 11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                0.5 0.0048544         $1.89
2019         Administration                                      (.5).
             & Objections

December     Business               12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                  0.1 0.0010526         $0.41
2019         Operations
December     Business               12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance               0.1 0.0010526         $0.41
2019         Operations                                          premium payment (.1)
December     Business               12/10/19 KBD             390 study property manager financial reporting (.5)                                                       0.5 0.0081967         $3.20
2019         Operations
December     Asset                  12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                   0.2 0.0021053         $0.29
2019         Disposition
December     Asset                  12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                    0.8    0.007767       $1.09
2019         Disposition                                         preparation for review (.8)
December     Asset                  12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements            0.3 0.0029126         $0.41
2019         Disposition                                         (.3)
December     Asset                  12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of               0.2 0.0021053         $0.82
2019         Disposition                                         remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
December     Asset                  12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296         $4.15
2019         Disposition                                         and information (2.4).
December     Asset                  12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395        $10.20
2019         Disposition                                         organization of closing documents and the start of preparation for closings (5.9)
December     Business               12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                          property basis and prepare same.
December     Business               12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105         $0.59
2019         Operations                                          financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business               12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                          expenses.
December     Business               12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                          properties and accounts payable (.8)
December     Business               12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526         $0.41
2019         Operations
December     Business               12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business               12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                          reports (.2)
December     Business               12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                          with accountant regarding comments and corrections.
December     Business               12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019         Operations
December     Claims                 12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                 12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019         Administration                                      from properties (.9)
             & Objections

December     Claims                 12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845        $10.60
2019         Administration
             & Objections

December     Claims                 12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126         $1.14
2019         Administration                                      lenders.
             & Objections

December     Claims                 12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359         $8.70
2019         Administration                                      accountant 's information (6.4)
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
December     Claims                 12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                              0.3 0.0029126         $0.41
2019         Administration
             & Objections

December     Claims                 12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).            0.4 0.0038835         $1.51
2019         Administration
             & Objections

January      Business               01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and             0.2 0.0021978         $0.86
2020         Operations                                          expense payments (.2)
January      Business               01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                  0.7    0.012069       $4.71
2020         Operations
January      Claims                 01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process              0.3 0.0033708         $1.31
2020         Administration                                      and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                 01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                              0.9 0.0101124         $3.94
2020         Administration
             & Objections

January      Asset                  01/05/20 AEP             390 read and respond to e-mail from receivership broker regarding status of motion to approve              0.1 0.0027027         $1.05
2020         Disposition                                         marketing of single-family residence portfolio (.1).
January      Asset                  01/06/20 AEP             390 Teleconference with counsel for secured lender associated with loans on single-family                  0.1 0.0027027         $1.05
2020         Disposition                                         residences regarding timing of contemplated motion to approve marketing and sale of
                                                                 portfolio (.1)
January      Asset                  01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)               1.6    0.015534       $2.17
2020         Disposition
January      Asset                  01/16/20 JR              140 print property income statements for all properties received from accountant and prepare               1.2 0.0116505         $1.63
2020         Disposition                                         for further review (1.2).
January      Asset                  01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                         0.3 0.0031579         $0.44
2020         Disposition
January      Asset                  01/27/20 JR              140 review paper real estate tax bills (1.8).                                                              1.8 0.0193548         $2.71
2020         Disposition
January      Asset                  01/30/20 AEP             390 Review surveys and survey invoices received in connection with various single-family                   0.4 0.0108108         $4.22
2020         Disposition                                         residences and update portfolio spreadsheet accordingly.
January      Asset                  01/30/20 JR              140 review surveys and invoices received from the surveying company and save to the                        1.3 0.0351351         $4.92
2020         Disposition                                         corresponding electronic files for various single family homes (1.3)
January      Asset                  01/31/20 AEP             390 Conference call with counsel for lender holding mortgage interests in single-family residence          0.2 0.0054054         $2.11
2020         Disposition                                         portfolio regarding valuations, new issues affecting title, and other related matters (.2)

January      Asset                  01/31/20 AEP             390 review surveys and survey invoices received in connection with various single-family                   0.3 0.0081081         $3.16
2020         Disposition                                         residences and update portfolio spreadsheet accordingly (.3).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January      Business               01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544         $1.89
2020         Operations                                          October reports.
January      Business               01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706         $0.21
2020         Operations
January      Business               01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020         Operations                                          (1.6)
January      Business               01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020         Operations
January      Business               01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                          expenditures to properties (.1).
January      Business               01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Business               01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business               01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Business               01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020         Operations                                          insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                 01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                      regarding questions and corrections.
             & Objections

January      Claims                 01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                      received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                 01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020         Administration                                      transmit to lenders' counsel.
             & Objections

January      Claims                 01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252         $2.27
2020         Administration                                      regarding receivership income and expenditures (.6).
             & Objections

January      Claims                 01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417         $0.76
2020         Administration                                      reports through November 2019 (.2)
             & Objections

January      Claims                 01/20/20 JR              140 Prepare property management statements for December in preparation for review after                      0.6 0.0058252         $0.82
2020         Administration                                      accountant provides his copies for review.
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
January      Claims                 01/21/20 ED          390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                 01/21/20 ED          390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                  to lenders (.7)
             & Objections

January      Claims                 01/21/20 ED          390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                 01/23/20 AW          140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                  property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                 01/27/20 ED          390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                  regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

January      Claims                 01/27/20 ED          390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                  remaining amounts reimbursable to receivership (1.5).
             & Objections

February     Asset                  02/10/20 KBD         390 exchange correspondence with A. Porter regarding sale of single-family home portfolio,                 0.2 0.0054054         $2.11
2020         Disposition                                     motion to approve, and timing (.2)
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222         $0.87
2020         Disposition                                     title work (.2)
February     Asset                  02/11/20 KBD         390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222         $0.87
2020         Disposition                                     properties (.2)
February     Asset                  02/18/20 KBD         390 Study and revise motion to approve marketing and sale of single-family residence portfolio             1.5 0.0405405        $15.81
2020         Disposition                                     and exhibits.
February     Asset                  02/19/20 KBD         390 study and revise motion to approve listing for sale single family home portfolio (.5).                 0.5 0.0135135         $5.27
2020         Disposition
February     Asset                  02/20/20 KBD         390 work on single family home motion and valuation issues with M. Rachlis and A. Porter (1.1)             1.1 0.0297297        $11.59
2020         Disposition
February     Asset                  02/20/20 KBD         390 Work with A. Porter on motion to approve listing of single family home portfolio (1.2)                 1.2 0.0324324        $12.65
2020         Disposition
February     Asset                  02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                          0.1 0.0011111         $0.43
2020         Disposition
February     Asset                  02/21/20 KBD         390 draft correspondence to J. Rak regarding preparation for marketing and sale of properties              0.2 0.0054054         $2.11
2020         Disposition                                     (.2).




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
February     Asset                  02/22/20 KBD         390 draft correspondence regarding publication notice (.2).                                                0.2 0.0054054         $2.11
2020         Disposition
February     Asset                  02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                    0.1 0.0011111         $0.43
2020         Disposition
February     Asset                  02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                          0.4 0.0045455         $1.77
2020         Disposition
February     Asset                  02/26/20 KBD         390 exchange correspondence with real estate broker regarding potential purchasers of                      0.2 0.0054054         $2.11
2020         Disposition                                     properties (.2).
February     Asset                  02/27/20 KBD         390 Telephone conference with A. Porter regarding process for sale of single family home                   0.2 0.0054054         $2.11
2020         Disposition                                     portfolio and communications with broker and lender's counsel relating to same (.2)

February     Asset                  02/28/20 KBD         390 study motion to approve sale of single-family residence portfolio and exchange                         0.3 0.0081081         $3.16
2020         Disposition                                     correspondence regarding same (.3).
February     Business               02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                   0.1 0.0011111         $0.43
2020         Operations                                      financial reporting (.1)
February     Business               02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)              0.4 0.0045455         $1.77
2020         Operations
February     Business               02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.            0.4 0.0038095         $1.49
2020         Operations                                      Duff regarding same (.4)
February     Business               02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                        0.4 0.0045455         $1.77
2020         Operations                                      correspondence with J. Rak relating to same and communications with property manager.

February     Business               02/13/20 KBD         390 Study property manager financial reporting.                                                            0.4 0.0070175         $2.74
2020         Operations
February     Business               02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment                0.4 0.0045455         $1.77
2020         Operations                                      of real estate taxes (.4)
February     Business               02/25/20 KBD         390 review correspondence from property manager regarding payment of real estate taxes (.1)                0.1 0.0017857         $0.70
2020         Operations
February     Claims                 02/07/20 KBD         390 exchange correspondence with A. Porter and N. Mirjanich regarding timing for motions                   0.2    0.002125       $0.83
2020         Administration                                  addressing properties of differing status (.2)
             & Objections

February     Asset                  02/01/20 AEP         390 Review and analyze consolidated title commitment for single-family residence portfolio and             2.2 0.0594595        $23.19
2020         Disposition                                     insert all special exceptions into motion for leave to sell single-family residences.

February     Asset                  02/03/20 AEP         390 perform title searches on all properties owned by receivership entity and revise motion for            2.5 0.0675676        $26.35
2020         Disposition                                     leave to sell single-family residences accordingly (2.5).
February     Asset                  02/05/20 AEP         390 Perform title searches on most properties owned by fund and update motion to sell single-              3.1 0.0837838        $32.68
2020         Disposition                                     family residence portfolio accordingly (3.1)
February     Asset                  02/08/20 AEP         390 rearrange and revise introductory portions of motion to approve marketing and sale of single-          1.1 0.0297297        $11.59
2020         Disposition                                     family homes portfolio (1.1).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February     Asset                  02/08/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding                4.8 0.1297297        $50.59
2020         Disposition                                         paragraphs of motion to approve marketing and sale of single-family homes portfolio (4.8)

February     Asset                  02/09/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding                5.5 0.1486486        $57.97
2020         Disposition                                         paragraphs of motion to approve marketing and sale of single- family homes portfolio.

February     Asset                  02/10/20 AEP             390 Proofread, edit, revise, rearrange, supplement, and fact-check all paragraphs in proposed               4.0 0.1081081        $42.16
2020         Disposition                                         motion to approve sales of single-family homes portfolio and create final to-do list of
                                                                 remaining issues prior to final completion.
February     Asset                  02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                  0.1 0.0011111         $0.29
2020         Disposition
February     Asset                  02/11/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on single-family home portfolio            0.1 0.0027027         $1.05
2020         Disposition                                         title commitment to be waived through hold harmless letters (.1)
February     Asset                  02/11/20 JR              140 discussion with A. Porter regarding seventh motion for court approval of process for public             0.3 0.0081081         $1.14
2020         Disposition                                         sale (.3)
February     Asset                  02/11/20 JR              140 exchange correspondence with the title company regarding same (.2).                                     0.2 0.0054054         $0.76
2020         Disposition
February     Asset                  02/11/20 JR              140 assist A. Porter on the seventh motion and create a spreadsheet of documents of record                  5.1 0.1378378        $19.30
2020         Disposition                                         needed for the motion (5.1)
February     Asset                  02/12/20 JR              140 exchange communication with the title company regarding documents of record request for                 0.3 0.0081081         $1.14
2020         Disposition                                         the seventh motion to approve marketing of properties (.3)
February     Asset                  02/12/20 JR              140 review and organize various documents of record in corresponding files regarding same                   2.2 0.0594595         $8.32
2020         Disposition                                         (2.2).
February     Asset                  02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                        2.8 0.0269231         $3.77
2020         Disposition
February     Asset                  02/13/20 AEP             390 respond to inquiry from counsel for secured lender regarding next anticipated sales tranche             0.2 0.0054054         $2.11
2020         Disposition                                         and prospective listing prices (.2)
February     Asset                  02/13/20 AEP             390 Teleconference with title company underwriter to review special exceptions on title                     2.8 0.0756757        $29.51
2020         Disposition                                         commitment relating to portfolio sale of single-family residences, potential waivers thereof
                                                                 and need for hold harmless letters (2.8)
February     Asset                  02/14/20 AEP             390 Continuation of teleconference with title company underwriter to review special exceptions              4.1 0.1108108        $43.22
2020         Disposition                                         on title commitment for single-family residence portfolio and assignment of responsibility for
                                                                 procuring hold harmless letters, certificates of compliance, and other documents evidencing
                                                                 releases of clouds on title.
February     Asset                  02/14/20 JR              140 Exchange correspondence with the title company regarding request for documents of record                0.2 0.0054054         $0.76
2020         Disposition                                         related to the exhibits for the seventh motion.
February     Asset                  02/15/20 JR              140 Organize documents of record received from the title company related to exhibits and the                1.9 0.0513514         $7.19
2020         Disposition                                         seventh motion.
February     Asset                  02/17/20 JR              140 Finalize the organization and assembling of the remainder of documents of record related to             2.7    0.072973      $10.22
2020         Disposition                                         the 7th motion to confirm sale into electronic files (2.7)




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  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
February     Asset                  02/18/20 AEP             390 Review notes of teleconference with title company underwriter, insert summaries of current                 2.4 0.0648649        $25.30
2020         Disposition                                         obstacles into body of title commitment relating to single-family home portfolio, and amend
                                                                 paragraphs of motion to approve marketing and sale of said portfolio to account for
                                                                 resolution of disputed special exceptions (2.4)

February     Asset                  02/18/20 AEP             390 review, update, and revise all non-title related exhibits to motion to approve marketing and               1.8 0.0486486        $18.97
2020         Disposition                                         sale of single-family home portfolio, update spreadsheet of property values to generate
                                                                 individual allocations of value and supplement motion with additional paragraphs regarding
                                                                 deferral of judicial decision on individual allocations until conclusion of portfolio sale (1.8).

February     Asset                  02/18/20 JR              140 Organize additional documents of record related to the 7th motion of single family homes                   0.8 0.0216216         $3.03
2020         Disposition                                         (.8)
February     Asset                  02/19/20 JR              140 Organize documents of record in the electronic files in preparation of filing the 7th motion to            0.7 0.0189189         $2.65
2020         Disposition                                         approve sale of single family homes (.7)
February     Asset                  02/19/20 MR              390 attention to single family home issues (.1).                                                               0.1 0.0027027         $1.05
2020         Disposition
February     Asset                  02/20/20 AEP             390 conference with K. Duff regarding proposed modifications to first draft of motion to approve               2.3 0.0621622        $24.24
2020         Disposition                                         sale of single-family residences, valuation methodology employed by receivership broker,
                                                                 applicability of credit bidding, and allocation of value (2.3)
February     Asset                  02/20/20 MR              390 Attention to various issues regarding objections to property disposition and follow up                     1.2 0.0324324        $12.65
2020         Disposition                                         regarding same (1.2)
February     Asset                  02/20/20 MR              390 attention to single family home related issues and property disposition related matters (2.3).             2.3 0.0621622        $24.24
2020         Disposition
February     Asset                  02/21/20 AEP             390 Teleconference with counsel for lender to fund entities regarding inquiries into nature of sale            0.5 0.0135135         $5.27
2020         Disposition                                         process associated with marketing of single-family residence portfolio (.5)

February     Asset                  02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                                 0.1 0.0010526         $0.15
2020         Disposition
February     Asset                  02/24/20 NM              260 Study email correspondence relating to property sales (.2)                                                 0.2 0.0054054         $1.41
2020         Disposition
February     Asset                  02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                     0.1 0.0010753         $0.15
2020         Disposition
February     Asset                  02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties                 1.2 0.0134831         $1.89
2020         Disposition                                         managed by a management company (1.2)
February     Asset                  02/28/20 AW              140 Assist in finalization of seventh motion to approve sales process and confirm delay in filing.             0.4 0.0108108         $1.51
2020         Disposition
February     Asset                  02/28/20 JR              140 consolidate exhibits for the single family home motion (1.7)                                               1.7 0.0459459         $6.43
2020         Disposition
February     Asset                  02/28/20 JR              140 review the single family motion and make changes (1.1)                                                     1.1 0.0297297         $4.16
2020         Disposition
February     Asset                  02/28/20 JR              140 obtain documents of record related to the exhibits pertaining to the single family motion (.3)             0.3 0.0081081         $1.14
2020         Disposition




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
February     Asset                  02/28/20 MR              390 Work on single family homes motion and follow up on same.                                            1.4 0.0378378        $14.76
2020         Disposition
February     Business               02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                               2.8 0.0314607         $4.40
2020         Operations
February     Business               02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real              0.1 0.0010753         $0.15
2020         Operations                                          estate taxes (.1)
February     Business               02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                  0.1 0.0011236         $0.16
2020         Operations
February     Business               02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                0.1 0.0019608         $0.27
2020         Operations                                          taxes related to paying property taxes (.1)
February     Business               02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                               0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                        0.4 0.0044444         $1.73
2020         Operations
February     Business               02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business               02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                        0.3 0.0028846         $1.13
2020         Operations
February     Business               02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property             0.2 0.0022727         $0.32
2020         Operations                                          taxes (.2).
February     Business               02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property             0.1 0.0019608         $0.27
2020         Operations                                          taxes (.1)
February     Business               02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both             3.9      0.0375       $5.25
2020         Operations                                          for all EquityBuild properties.
February     Business               02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                0.2 0.0019231         $0.75
2020         Operations
February     Business               02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                 0.1 0.0014706         $0.57
2020         Operations                                          revisions (.1).
February     Business               02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak               2.7 0.0259615        $10.13
2020         Operations                                          (2.7)
February     Business               02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).          0.2 0.0022222         $0.87
2020         Operations
February     Business               02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                      0.2 0.0019231         $0.75
2020         Operations
February     Business               02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                 0.4 0.0038462         $1.50
2020         Operations
February     Business               02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                         0.9 0.0096774         $1.35
2020         Operations
February     Business               02/25/20 ED              390 Review of January financial reporting from property managers.                                        0.4 0.0038462         $1.50
2020         Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
February     Business               02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by                1.1 0.0106796         $1.50
2020         Operations                                          property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February     Business               02/26/20 AW              140 supplement reports (.3).                                                                                 0.3 0.0029126         $0.41
2020         Operations
February     Claims                 02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                  2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                 02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and               2.6       0.025       $3.50
2020         Administration                                      property managers.
             & Objections

February     Claims                 02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                              2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                 02/16/20 MR              390 research and work on draft motion regarding claims process (5.0).                                        5.0 0.1351351        $52.70
2020         Administration
             & Objections

February     Claims                 02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                      0.2 0.0019231         $0.27
2020         Administration                                      statements (.2)
             & Objections

February     Claims                 02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                      1.2 0.0129032         $1.81
2020         Administration
             & Objections

February     Claims                 02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                 0.5 0.0048077         $1.88
2020         Administration                                      reports.
             & Objections

February     Claims                 02/28/20 AEP             390 Insert and check all exhibit cites in brief, proofread, edit, and make final revisions to same,          3.5 0.0945946        $36.89
2020         Administration                                      edit and revise credit bid procedures.
             & Objections

February     Claims                 02/28/20 NM              260 correspond with A. Porter regarding claims submitted in connection with properties in single             1.1 0.0297297         $7.73
2020         Administration                                      family home motion and study same (1.1)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
March 2020 Asset                    03/02/20 KBD         390 study correspondence regarding revision to motion to approve sale of properties (.2).               0.2 0.0054054         $2.11
           Disposition
March 2020 Asset                    03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                       0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding single family residence             0.2 0.0054054         $2.11
           Disposition                                       motion and communications with lender's counsel (.2).
March 2020 Asset                    03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence               2.9 0.0329545        $12.85
           Disposition                                       with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD         390 telephone conference with counsel for lender regarding single family home portfolio sales           0.1 0.0027027         $1.05
           Disposition                                       motion and motion to request amendment to briefing schedule (.1)

March 2020 Asset                    03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                    1.0 0.0011184         $0.44
           Disposition
March 2020 Asset                    03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding single family residence             0.2 0.0054054         $2.11
           Disposition                                       motion (.2).
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125       $4.88
           Disposition                                       marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091         $1.33
           Disposition                                       marketing timing and strategy (.3)
March 2020 Asset                    03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111         $0.43
           Disposition                                       impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727         $0.89
           Disposition                                       estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222         $0.87
           Disposition                                       efforts (.2).
March 2020 Asset                    03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111         $0.43
           Disposition                                       properties (.1)
March 2020 Asset                    03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091        $11.08
           Disposition                                       Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/27/20 KBD         390 exchange correspondence with A. Porter regarding sale of single family residence portfolio          0.1 0.0027027         $1.05
           Disposition                                       (.1)
March 2020 Asset                    03/30/20 KBD         390 Exchange correspondence with M. Rachlis regarding single family residence motion.                   0.2 0.0054054         $2.11
           Disposition
March 2020 Business                 03/10/20 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0052632         $2.05
           Operations
March 2020 Business                 03/10/20 KBD         390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222         $0.87
           Operations                                        and renewal (.2).
March 2020 Business                 03/16/20 KBD         390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222         $0.87
           Operations                                        environment (.2).


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2020 Business                 03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                       0.3 0.0034091         $1.33
           Operations
March 2020 Business                 03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                            0.2 0.0022727         $0.89
           Operations
March 2020 Business                 03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                        0.4 0.0045455         $1.77
           Operations                                            property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                    0.3 0.0033708         $1.31
           Operations                                            issues and analysis (.3).
March 2020 Business                 03/31/20 KBD             390 Exchange correspondence with M. Rachlis regarding and study draft motion for relief from                0.3 0.0081081         $3.16
           Operations                                            amended scheduling order.
March 2020 Asset                    03/02/20 AW              140 Confer with M. Rachlis and J. Rak regarding single family homes motion (.1)                             0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/02/20 AW              140 revise certificate of service and email A. Porter regarding same (.1).                                  0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                      1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                    03/02/20 MR              390 attention to review and revision of motion (.8)                                                         0.8 0.0216216         $8.43
           Disposition
March 2020 Asset                    03/02/20 MR              390 Conference with A. Watychowicz regarding issues on seventh motion for approval related to               0.1 0.0027027         $1.05
           Disposition                                           service of process notice (.1)
March 2020 Asset                    03/03/20 AW              140 file motion and exhibits with the court (.2)                                                            0.2 0.0054054         $0.76
           Disposition
March 2020 Asset                    03/03/20 AW              140 Attention to final draft of seventh motion for approval of sale process and communicate with            0.1 0.0027027         $0.38
           Disposition                                           counsel regarding exhibits (.1)
March 2020 Asset                    03/03/20 AW              140 finalize motion and revise notice of motion as per suggestion from counsel (.1)                         0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/03/20 AW              140 serve as per service list (.4).                                                                         0.4 0.0108108         $1.51
           Disposition
March 2020 Asset                    03/03/20 MR              390 Further attention to various filings on single family home motion and other filings (.5)                0.5 0.0135135         $5.27
           Disposition
March 2020 Asset                    03/04/20 MR              390 Attention to various motions regarding property sales.                                                  0.7 0.0184211         $7.18
           Disposition
March 2020 Asset                    03/09/20 MR              390 Attention to court orders regarding pending motions and schedule and upcoming real estate               0.3 0.0081081         $3.16
           Disposition                                           closings (.3)
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222         $0.87
           Disposition
March 2020 Asset                    03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                           and motions regarding same (1.4)
March 2020 Asset                    03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                    03/17/20 AEP             390 teleconference with K. Duff regarding mortgagee interests in single-family residence                    0.3 0.0081081         $3.16
           Disposition                                           portfolio, and filing of motion for relief from general order continuing case calendars (.3)




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2020 Asset                    03/17/20 AEP             390 Read and reply to e-mails from K. Duff and M. Rachlis regarding motion to market and sell               0.1 0.0027027         $1.05
           Disposition                                           single-family home portfolio (.1)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 AW              140 Work with K. Duff and M. Rachlis on motion to keep deadlines for sales motions, prepare                 1.4 0.0378378         $5.30
           Disposition                                           notice of motion, attention to multiple revisions of draft, communicate with Receivership
                                                                 team regarding same, finalize motion and file with court, serve on service list and forward to
                                                                 Judge Lee's courtroom deputy.
March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                    03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition
March 2020 Asset                    03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                               0.4    0.004878       $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.                1.9 0.0215909         $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                 0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                            0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same                2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                         0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.             1.8 0.0204545         $2.86
           Operations
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                     0.2 0.0022222         $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy              0.3 0.0033333         $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                   4.1 0.0398058         $5.57
           Operations
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                    0.3 0.0033708         $1.31
           Operations


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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2020 Business                 03/30/20 ED          390 and loss history (.4)                                                                                 0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED          390 call with insurance agent regarding same (.2)                                                         0.2 0.0022472         $0.88
           Operations
March 2020 Business                 03/30/20 ED          390 Review revised statement of value (.4)                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Claims                   03/03/20 ED          390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED          390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                    reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED          390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                    expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED          390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                    to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED          390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

March 2020 Claims                   03/31/20 AW          140 communicate with M. Rachlis regarding motion for relief from COVID-19 order that may                  0.2 0.0054054         $0.76
           Administration                                    impact sale of properties and research regarding changed procedures (.2)
           & Objections

March 2020 Claims                   03/31/20 AW          140 revisions to email to Judge Lee's courtroom deputy regarding motion (.1)                              0.1 0.0027027         $0.38
           Administration
           & Objections

March 2020 Claims                   03/31/20 AW          140 finalize motion, file, and serve (.2)                                                                 0.2 0.0054054         $0.76
           Administration
           & Objections

April 2020   Asset                  04/02/20 KBD         390 telephone conference with A. Porter and real estate broker regarding single-family residence          0.5 0.0135135         $5.27
             Disposition                                     portfolio inspection, marketing, pricing, and timing (.5)
April 2020   Asset                  04/02/20 KBD         390 telephone conference with claimant's counsel, A. Porter, and real estate broker regarding             0.4 0.0108108         $4.22
             Disposition                                     single family residence portfolio inspection, marketing, and timing (.4)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2020   Asset                  04/02/20 KBD         390 address publication of single-family residence (.1).                                                   0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                            0.2 0.0022472         $0.88
             Disposition
April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                   0.3 0.0041096         $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                             0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 study property manager reporting (.3).                                                                 0.3 0.0052632         $2.05
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                   0.2 0.0024691         $0.96
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989         $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989         $0.90
             Operations                                      properties and review information relating to same.
April 2020   Business               04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236         $0.44
             Operations                                      coverage issue (.1)
April 2020   Business               04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236         $0.44
             Operations
April 2020   Business               04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691         $0.96
             Operations                                      insurance renewal efforts and cost (.2)
April 2020   Asset                  04/01/20 AEP         390 revise proposed order associated with motion to approve marketing and sale of single-family            0.2 0.0054054         $2.11
             Disposition                                     residence portfolio (.2)
April 2020   Asset                  04/01/20 AEP         390 Teleconference with local receivership broker and counsel for institutional lenders regarding          0.6 0.0162162         $6.32
             Disposition                                     market impact on single-family home portfolio and multifamily properties and prospects for
                                                             credit bidding and preparation of e-mail to receivership broker for single-family home
                                                             portfolio regarding status of motion to approve marketing process, implications of economic
                                                             downturn on timing, and approval of national home inspection service (.6)

April 2020   Asset                  04/01/20 MR          390 review order on clarification and other orders (.2)                                                    0.2    0.002439       $0.95
             Disposition
April 2020   Asset                  04/02/20 AEP         390 teleconference with K. Duff, receivership broker, and counsel for institutional lender                 0.4 0.0108108         $4.22
             Disposition                                     regarding marketing process for single-family home portfolio, retention of inspection
                                                             company, and pricing and timing (.4)
April 2020   Asset                  04/02/20 AEP         390 teleconference with K. Duff and receivership broker regarding marketing plans for single-              0.5 0.0135135         $5.27
             Disposition                                     family home portfolio and effects of economic downturn on timing of publication of sale (.5)

April 2020   Asset                  04/02/20 AEP         390 teleconference with K. Duff regarding next steps in process of marketing single-family homes           0.1 0.0027027         $1.05
             Disposition                                     (.1)


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2020   Asset                  04/02/20 MR          390 Attention to proposed orders and other property related issues (.9)                                   0.9 0.0243243         $9.49
             Disposition
April 2020   Asset                  04/02/20 MR          390 conferences with K. Duff regarding issues on single family homes (.2).                                0.2 0.0054054         $2.11
             Disposition
April 2020   Asset                  04/06/20 AEP         390 teleconference with representative of property inspection company regarding pricing of                0.4 0.0108108         $4.22
             Disposition                                     individual home inspections for single-family residence portfolio, work product delivered by
                                                             inspection service, access issues (.4).
April 2020   Asset                  04/07/20 AEP         390 prepare e-mails to property managers describing single-family home inspection process and             0.4 0.0108108         $4.22
             Disposition                                     requesting advice regarding potential cooperation of tenants with receivership requests for
                                                             brief access (.4).
April 2020   Asset                  04/10/20 AEP         390 communications with property manager regarding potential rental of single-family home                 0.1 0.0027027         $1.05
             Disposition                                     subsumed within single-family home portfolio (.1)
April 2020   Asset                  04/11/20 AEP         390 read e-mail from third-party inspection service and respond with questions regarding                  0.1 0.0027027         $1.05
             Disposition                                     contractual rights and access issues (.1)
April 2020   Asset                  04/15/20 AEP         390 review updated title commitments for remaining portfolio properties and prepare list of               0.3 0.0033708         $1.31
             Disposition                                     special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/19/20 AEP         390 prepare spreadsheet of single-family homes and transmit same to inspection service (.1).              0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                  04/20/20 AEP         390 update EquityBuild portfolio spreadsheet (.1)                                                         0.1 0.0011364         $0.44
             Disposition
April 2020   Business               04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                      and related documentation and correspondence.
April 2020   Business               04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                      requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2020   Claims                 04/13/20 AW              140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                      accounting reports (.7)
             & Objections

April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                    0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                    0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                          0.4 0.0038835         $1.51
             Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/01/20 KBD             390 attention to property inspection and valuation for single family residences (.2).                   0.2 0.0054054         $2.11
             Disposition
May 2020     Asset                  05/12/20 KBD             390 Telephone conference with real estate broker, A. Porter, and M. Rachlis regarding pricing           0.7 0.0155556         $6.07
             Disposition                                         properties for sale, communicating with claimant's counsel regarding same, and timing for
                                                                 approval of sales currently before the court.
May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Asset                  05/27/20 KBD             390 exchange correspondence with A. Porter regarding inspection of properties in single family          0.1 0.0027027         $1.05
             Disposition                                         residence portfolio (.1)
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                          property management (.3)
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691         $0.96
             Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
May 2020     Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                   0.3 0.0036145         $1.41
             Operations                                          (.3)
May 2020     Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                 0.4 0.0048193         $1.88
             Operations
May 2020     Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                    0.6 0.0072289         $2.82
             Operations                                          renewal of insurance (.6)
May 2020     Business               05/12/20 KBD             390 study financial reporting from property manager (.3).                                                0.3 0.0054545         $2.13
             Operations
May 2020     Business               05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                     0.2 0.0024096         $0.94
             Operations                                          correspondence with asset manager regarding same (.2)
May 2020     Business               05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                    0.7 0.0084337         $3.29
             Operations
May 2020     Business               05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                     0.2 0.0023529         $0.92
             Operations                                          expenses (.2)
May 2020     Business               05/18/20 KBD             390 study property expenses and financial reporting (.8).                                                0.8 0.0076923         $3.00
             Operations
May 2020     Business               05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                   0.1 0.0011765         $0.46
             Operations
May 2020     Business               05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).            0.3 0.0037037         $1.44
             Operations
May 2020     Business               05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)             0.3 0.0037037         $1.44
             Operations
May 2020     Business               05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                         0.1 0.0011765         $0.46
             Operations
May 2020     Asset                  05/01/20 AEP             390 Teleconference with counsel for lender on single-family portfolio and various other                  0.5 0.0135135         $5.27
             Disposition                                         receivership properties regarding status of scheduled closings, market timing issues,
                                                                 inspection scheduling, and other due diligence issues (.5)
May 2020     Asset                  05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st             0.1 0.0011494         $0.16
             Disposition                                         quarter of 2020 (.1)
May 2020     Asset                  05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                               0.1 0.0011494         $0.16
             Disposition
May 2020     Asset                  05/07/20 JR              140 review financial reports related to all properties (1.4).                                            1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management             0.1 0.0009709         $0.14
             Disposition                                         companies (.1)
May 2020     Asset                  05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes              0.2 0.0035088         $0.49
             Disposition                                         (.2).
May 2020     Asset                  05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                  05/10/20 AEP             390 review single family residence files and prepare plan for collecting and organizing all due          0.3 0.0081081         $3.16
             Disposition                                         diligence materials in connection with establishment of electronic due diligence room for
                                                                 prospective bidders (.3)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2020     Asset                  05/10/20 AEP         390 prepare e-mail to property managers and third-party inspection service regarding initiation            0.2 0.0054054         $2.11
             Disposition                                     and coordination of home tour scheduling process in connection with single-family residence
                                                             portfolio sale (.2)
May 2020     Asset                  05/11/20 AEP         390 communications with property manager regarding coordination of inspections of single-                  0.1 0.0027027         $1.05
             Disposition                                     family homes (.1)
May 2020     Asset                  05/11/20 AEP         390 communications with single family home portfolio broker regarding proposed                             0.1 0.0027027         $1.05
             Disposition                                     commencement of marketing campaign (.1)
May 2020     Asset                  05/13/20 AEP         390 prepare e-mails to management companies regarding initiation of process of due diligence               0.3 0.0081081         $3.16
             Disposition                                     document collection associated with marketing of single-family residence portfolio (.3).

May 2020     Asset                  05/20/20 AEP         390 conference with clerical assistant regarding collection, inventory, and reorganization of all          0.8 0.0216216         $8.43
             Disposition                                     due diligence documentation received from property managers in connection with
                                                             marketing of single-family residence portfolio (.8)
May 2020     Asset                  05/22/20 AEP         390 communications with counsel for purchaser of receivership properties regarding status of               0.1 0.0027027         $1.05
             Disposition                                     due diligence production and revisions to title commitment (.1)
May 2020     Asset                  05/22/20 AEP         390 communications with property inspection service and property management company                        0.1 0.0027027         $1.05
             Disposition                                     regarding remaining obstacles to obtaining access to single-family residences (.1)

May 2020     Asset                  05/24/20 AEP         390 Comprehensive review of status of preparation for marketing of single-family home                      4.4 0.1189189        $46.38
             Disposition                                     portfolio, including creation of due diligence checklist, analysis of all title exceptions
                                                             requiring hold harmless letters, analysis of chain of title for all properties defectively
                                                             conveyed and research into ownership of entities now reflected as titleholders, and
                                                             inventory of property-specific leases, public assistance contracts, and utility bills.

May 2020     Business               05/01/20 KMP         140 Prepare request for funds transfer to property inspector for inspection of single family               0.4 0.0108108         $1.51
             Operations                                      homes, and communicate with K. Duff and bank regarding same.
May 2020     Business               05/07/20 ED          390 Update analysis of rent restoration and restoration amounts to Receivership from sold                  1.3 0.0126214         $4.92
             Operations                                      properties (1.3)
May 2020     Business               05/13/20 KMP         140 communicate with insurance broker to confirm funds transfer (.1).                                      0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/13/20 KMP         140 prepare form for funds transfer to insurance broker for down payment on financing                      0.4 0.0046512         $0.65
             Operations                                      agreement for general liability and umbrella policy and communications with K. Duff and
                                                             bank representatives regarding same (.4)
May 2020     Business               05/14/20 KMP         140 Communicate with insurance premium funding company regarding contract (.1)                             0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with                0.9 0.0087379         $1.22
             Operations                                      addition of properties that have no institutional debt, and communicate with E. Duff
                                                             regarding missing reports.
May 2020     Business               05/21/20 ED          390 calls (.2)                                                                                             0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                        0.3 0.0029126         $1.14
             Operations                                      regarding same




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2020     Business               05/21/20 ED          390 Review draft summary report from accountant (.6)                                                       0.6 0.0058252         $2.27
             Operations
May 2020     Business               05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales             0.5 0.0048544         $1.89
             Operations                                      proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020     Business               05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                              1.1 0.0106796         $4.17
             Operations                                      correspondence.
May 2020     Business               05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                     0.4 0.0046512         $0.65
             Operations                                      property insurance finance agreement, and communicate with bank representative and K.
                                                             Duff regarding same (.4)
May 2020     Business               05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                                 0.1 0.0011628         $0.16
             Operations
May 2020     Business               05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                                0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                            0.2 0.0019417         $0.76
             Operations
May 2020     Business               05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                   0.2 0.0023256         $0.33
             Operations                                      K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Business               05/29/20 ED          390 Review correspondence and documents.                                                                   0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                          0.7 0.0067961         $2.65
             Operations
May 2020     Business               05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                               0.3 0.0029126         $1.14
             Operations
May 2020     Business               05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                           0.3 0.0029126         $1.14
             Operations
May 2020     Claims                 05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as              1.8 0.0202247         $2.83
             Administration                                  requested, and share same with Receivership team (1.8)
             & Objections

May 2020     Claims                 05/10/20 AEP         390 prepare e-mail to counsel for claimant and receivership broker regarding current strategy for          0.2 0.0054054         $2.11
             Administration                                  initiating marketing of single-family residence portfolio (.2).
             & Objections

May 2020     Claims                 05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                            1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                 05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections                0.2 0.0019417         $0.76
             Administration                                  (.2).
             & Objections




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2020     Claims                 05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                      0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)             0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property               0.3 0.0029126         $1.14
             Administration                                  accounting reports (.3).
             & Objections

May 2020     Claims                 05/18/20 ED          390 and review of related documents (.2)                                                                  0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                 05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                     0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                 05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports             0.5 0.0048544         $1.89
             Administration                                  (.5)
             & Objections

May 2020     Claims                 05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709         $0.38
             Administration                                  relating to sold properties (.1).
             & Objections

June 2020    Asset                  06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and               0.2 0.0024691         $0.96
             Disposition                                     planning for review of offers.
June 2020    Asset                  06/08/20 KBD         390 exchange correspondence and telephone conference with A. Porter regarding inspection of               0.2 0.0054054         $2.11
             Disposition                                     single family residence portfolio and effort to list for sale (.2)
June 2020    Asset                  06/17/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding planning for listing          0.3 0.0081081         $3.16
             Disposition                                     of single family residence portfolio (.3)
June 2020    Asset                  06/23/20 KBD         390 exchange correspondence with real estate broker regarding inspection and valuation                    0.2 0.0054054         $2.11
             Disposition                                     information for single family residence portfolio (.2).
June 2020    Asset                  06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.             1.5 0.0185185         $7.22
             Disposition                                     Rachlis regarding same (1.5)
June 2020    Business               06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                     0.1 0.0019231         $0.75
             Operations
June 2020    Business               06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                0.1 0.0012048         $0.47
             Operations




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  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
June 2020    Business               06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange             0.4       0.005       $1.95
             Operations                                      correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business               06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                    0.5     0.00625       $2.44
             Operations                                      Pritchard regarding same (.5)
June 2020    Business               06/15/20 KBD         390 Study financial reporting from property manager.                                                   0.2 0.0037736         $1.47
             Operations
June 2020    Business               06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                          0.2 0.0025641         $1.00
             Operations
June 2020    Business               06/29/20 KBD         390 exchange correspondence with insurance broker regarding certificate of insurance                   0.2 0.0047619         $1.86
             Operations                                      information for claimant and exchange correspondence with claimant's counsel regarding
                                                             same (.2)
June 2020    Business               06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                      0.2 0.0027397         $1.07
             Operations
June 2020    Claims                 06/04/20 KBD         390 draft correspondence to lenders' counsel regarding various questions relating to lease             0.5 0.0135135         $5.27
             Administration                                  renewal and property inspections and investigate information relating to same (.5)
             & Objections

June 2020    Claims                 06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/09/20 KBD         390 study objections to claims process motion (.5)                                                     0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                 06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                 06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/16/20 KBD         390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
             Administration
             & Objections




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2020    Claims                 06/16/20 KBD             390 Work on claims motion reply with M. Rachlis (.6)                                                       0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                 06/18/20 KBD             390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit              0.2 0.0022989         $0.90
             Administration                                      bidding (.2)
             & Objections

June 2020    Claims                 06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                                  0.7 0.0078652         $3.07
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 study SEC reply brief (.3)                                                                             0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                         0.2 0.0022989         $0.90
             Administration
             & Objections

June 2020    Asset                  06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0012048         $0.17
             Disposition
June 2020    Asset                  06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale             3.2 0.0385542         $5.40
             Disposition                                         related to same (3.2)
June 2020    Asset                  06/09/20 AEP             390 prepare final form orders for presentation to court in connection with imminent approval of            0.1 0.0027027         $1.05
             Disposition                                         7th motion to approve sales (.1)
June 2020    Asset                  06/10/20 JR              140 review water certificate applications related to properties under contract and granted by the          0.2 0.0054054         $0.76
             Disposition                                         judge to sell (.2)
June 2020    Asset                  06/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                             0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                  06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561         $3.80
             Disposition                                         against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                  06/15/20 AEP             390 e-mail communications with counsel for lenders associated with single-family homes                     0.2 0.0054054         $2.11
             Disposition                                         regarding irregularities in due diligence documents and prepare e-mail to inspection
                                                                 company regarding status of completion of work (.2)
June 2020    Asset                  06/16/20 AEP             390 Preliminary review and organization of inspection reports received in connection with nearly           0.6 0.0162162         $6.32
             Disposition                                         all properties in single-family residence portfolio (.6)
June 2020    Asset                  06/17/20 AEP             390 prepare e-mail to K. Duff and others regarding issues associated with production of certain            0.2 0.0054054         $2.11
             Disposition                                         inspection documentation in connection with marketing and sale of single-family home
                                                                 portfolio (.2)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
June 2020    Asset                  06/17/20 AEP             390 Teleconference with J. Rak regarding preparation of definitive spreadsheet of judgments                   1.3 0.0351351        $13.70
             Disposition                                         entered against receivership entities, status of preparation of closing documents for next
                                                                 sales tranche, reorganization of inspection documentation produced in connection with
                                                                 single-family home portfolio, and creation of action list (1.3)

June 2020    Asset                  06/17/20 JR              140 confer with A. Porter regarding status of properties that are closing and single family home              1.3 0.0351351         $4.92
             Disposition                                         updates to due diligence documents (1.3)
June 2020    Asset                  06/18/20 AEP             390 Communications with K. Duff, receivership broker, and counsel for claimants regarding                     0.2 0.0054054         $2.11
             Disposition                                         potential exclusion of work orders from due diligence files to be made available to
                                                                 prospective bidders on single-family residence portfolio and implications for listing price (.2)

June 2020    Asset                  06/18/20 JR              140 review of single family home due diligence folders (.1)                                                   0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                  06/18/20 MR              390 attention to single family portfolio issues (.1).                                                         0.1 0.0027027         $1.05
             Disposition
June 2020    Asset                  06/19/20 AEP             390 communications with inspection vendor regarding completion of inspection reports on single-               0.1 0.0027027         $1.05
             Disposition                                         family residence portfolio (.1)
June 2020    Asset                  06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                      0.2 0.0024691         $0.96
             Disposition                                         portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                  06/23/20 JR              140 review email from K. Duff regarding unsold properties (.3)                                                0.3 0.0081081         $1.14
             Disposition
June 2020    Asset                  06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).                  1.5 0.0185185         $7.22
             Disposition
June 2020    Asset                  06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                            0.4 0.0049383         $1.93
             Disposition
June 2020    Business               06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                    0.7 0.0067961         $2.65
             Operations                                          receivership.
June 2020    Business               06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting               1.9 0.0184466         $7.19
             Operations                                          reports (1.9)
June 2020    Business               06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                                  0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related                   1.0 0.0097087         $3.79
             Operations                                          documents and correspondence.
June 2020    Business               06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                     0.2 0.0019417         $0.76
             Operations                                          expenditures during March 2020.
June 2020    Business               06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                        0.2 0.0019417         $0.76
             Operations                                          correspondence with B. Fish regarding same.
June 2020    Business               06/12/20 ED              390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                                    0.4 0.0038835         $1.51
             Operations
June 2020    Business               06/12/20 ED              390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)                  0.7 0.0067961         $2.65
             Operations
June 2020    Business               06/23/20 ED              390 email correspondence with M. Rachlis regarding same (.5).                                                 0.5 0.0048544         $1.89
             Operations


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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
June 2020    Business               06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting             0.6 0.0058252         $2.27
             Operations                                      reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)
June 2020    Business               06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)          0.2 0.0019417         $0.76
             Operations
June 2020    Business               06/24/20 ED          390 call with accountant to discuss same (.1).                                                          0.1 0.0009709         $0.38
             Operations
June 2020    Business               06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to              0.3 0.0036585         $0.51
             Operations                                      installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020    Business               06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team              0.8 0.0109589         $1.53
             Operations                                      regarding same, and scan tax bills (.8).
June 2020    Business               06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                      0.2 0.0027027         $0.70
             Operations
June 2020    Claims                 06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor               0.3 0.0033708         $0.47
             Administration                                  regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                 06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).             2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                 06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                      2.4 0.0269663        $10.52
             Administration
             & Objections

June 2020    Claims                 06/15/20 MR          390 Conferences regarding issues on brief.                                                              0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 Review and revise brief (3.5)                                                                       3.5 0.0393258        $15.34
             Administration
             & Objections

June 2020    Claims                 06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                        0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                 06/23/20 AW          140 email exchanges with K. Duff and J. Rak regarding claims made (properties 16-57) (.3).              0.3 0.0071429         $1.00
             Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Asset                  07/14/20 KBD             390 study correspondence regarding single family residence portfolio valuation work (.1).                  0.1    0.002125       $0.83
             Disposition
July 2020    Asset                  07/26/20 KBD             390 Exchange correspondence with A. Porter regarding planning for single family residence                  0.2     0.00425       $1.66
             Disposition                                         portfolio (.2)
July 2020    Business               07/01/20 KBD             390 study information regarding insurance and exchange correspondence with E. Duff regarding               0.1    0.002125       $0.83
             Operations                                          same (.1)
July 2020    Business               07/02/20 KBD             390 draft correspondence to lender's counsel regarding status of obtaining certificate of                  0.1    0.002125       $0.83
             Operations                                          insurance (.1).
July 2020    Business               07/15/20 KBD             390 Review property manager financial reporting.                                                           0.4       0.008       $3.12
             Operations
July 2020    Business               07/22/20 KBD             390 exchange correspondence with E. Duff regarding property manager financial reporting (.2).              0.2       0.025       $9.75
             Operations
July 2020    Business               07/22/20 KBD             390 exchange correspondence with J. Wine regarding various housing court matters (.2)                      0.2       0.025       $9.75
             Operations
July 2020    Claims                 07/01/20 KBD             390 work on evidence of insurance for lender (.1).                                                         0.1    0.002125       $0.83
             Administration
             & Objections

July 2020    Claims                 07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and            0.3 0.0033708         $1.31
             Administration                                      J. Wine relating to same (.3)
             & Objections

July 2020    Asset                  07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                  07/09/20 JR              140 exchange correspondence with A. Porter regarding single family portfolio updates (.1).                 0.1    0.002125       $0.30
             Disposition
July 2020    Asset                  07/09/20 JR              140 review most recent T12 for single family homes and save in electronic folders (.6)                     0.6     0.01275       $1.79
             Disposition
July 2020    Asset                  07/10/20 JR              140 Exchange correspondence with A. Porter regarding the single family portfolio required                  0.2     0.00425       $0.60
             Disposition                                         updates to master due diligence spreadsheet (.2)
July 2020    Asset                  07/10/20 JR              140 update master single family portfolio spreadsheet with pertinent property information for 37           5.8     0.12325      $17.26
             Disposition                                         single family homes (5.8)
July 2020    Asset                  07/10/20 JR              140 exchange correspondence with property management requesting updated due diligence                      0.1    0.002125       $0.30
             Disposition                                         material for single family homes in preparation for listing (.1).
July 2020    Asset                  07/13/20 JR              140 telephone conference with J. Porter, A. Watychowicz regarding single family homes and                  0.6     0.01275       $1.79
             Disposition                                         investigation process related to financial documents (.6)
July 2020    Asset                  07/13/20 JR              140 review email from the utility manager regarding updated utility bills and organize for single          0.2     0.00425       $0.60
             Disposition                                         family homes (.2)
July 2020    Asset                  07/13/20 JR              140 exchange correspondence with property management regarding updates to due diligence                    0.1    0.002125       $0.30
             Disposition                                         documents for single family homes (.1)
July 2020    Asset                  07/13/20 JR              140 further update master single family home spreadsheet with lease terms of each tenant and               2.4       0.051       $7.14
             Disposition                                         review inspection reports relating to bids and update the master single family spreadsheet
                                                                 (2.4)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020    Asset                  07/13/20 JR              140 review brokers marketing spreadsheet relating to bedroom and bath sizes, review property                1.2      0.0255       $3.57
             Disposition                                         manager rent roll regarding same and update master spreadsheet for single family homes
                                                                 (1.2)
July 2020    Asset                  07/14/20 AEP             390 Teleconference with J. Rak regarding status of completion of due diligence folders relating to          0.8       0.017       $6.63
             Disposition                                         single-family home portfolio and reconciliation of various sources of information into master
                                                                 spreadsheet (.8)
July 2020    Asset                  07/14/20 JR              140 review email from property management regarding bedroom bath size discrepancy for single                0.2     0.00425       $0.60
             Disposition                                         family homes and discuss further with property manager regarding same (.2)

July 2020    Asset                  07/14/20 JR              140 review surveys for all single family homes and update master spreadsheet regarding lot size             0.8       0.017       $2.38
             Disposition                                         for each property (.8)
July 2020    Asset                  07/14/20 JR              140 review tax balances for all single family homes and update master spreadsheet (.9)                      0.9    0.019125       $2.68
             Disposition
July 2020    Asset                  07/14/20 JR              140 update single family home master spreadsheet related to bid information for remainder of                0.6     0.01275       $1.79
             Disposition                                         properties (.6)
July 2020    Asset                  07/14/20 JR              140 review leases for lease terms and security deposits and update master single family portfolio           2.2     0.04675       $6.55
             Disposition                                         (2.2)
July 2020    Asset                  07/14/20 JR              140 exchange correspondence with property management requesting updated income and loss                     0.2     0.00425       $0.60
             Disposition                                         statements, utility bills and various other property characteristics related to all 37 single
                                                                 family homes (.2)
July 2020    Asset                  07/14/20 JR              140 review utility bills requested from property manager and organize in electronic files related           0.4      0.0085       $1.19
             Disposition                                         to single family homes (.4).
July 2020    Asset                  07/15/20 JR              140 Review emails and update master single family spreadsheet with various pertinent property               4.4      0.0935      $13.09
             Disposition                                         information, bed/bath sizes, garage spaces, leases.
July 2020    Asset                  07/17/20 JR              140 update electronic files regarding same (.4)                                                             0.4      0.0085       $1.19
             Disposition
July 2020    Asset                  07/17/20 JR              140 review utility bills related to single family homes (.8).                                               0.8       0.017       $2.38
             Disposition
July 2020    Asset                  07/17/20 JR              140 review email from property manager related to single family homes and the utility                       0.1    0.002125       $0.30
             Disposition                                         responsibility for each tenant (.1)
July 2020    Asset                  07/17/20 JR              140 review emails and update single family home portfolio (.8)                                              0.8       0.017       $2.38
             Disposition
July 2020    Asset                  07/20/20 JR              140 Exchange correspondence with property management regarding missing items related to                     0.3    0.006375       $0.89
             Disposition                                         single family homes (.3)
July 2020    Asset                  07/20/20 JR              140 review utility statements for all single family homes and update master single family due               2.9    0.061625       $8.63
             Disposition                                         diligence spreadsheet (2.9)
July 2020    Asset                  07/20/20 JR              140 exchange correspondence with property management requesting same (.2).                                  0.2     0.00425       $0.60
             Disposition
July 2020    Asset                  07/20/20 JR              140 review the master single family homes EB spreadsheet and compile a list of missing subsidy              0.5    0.010625       $1.49
             Disposition                                         agreements and find all discrepancies (.5).
July 2020    Asset                  07/20/20 JR              140 exchange correspondence with property management requesting missing items (.3)                          0.3    0.006375       $0.89
             Disposition




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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2020    Asset                  07/20/20 JR              140 review surveys for all single family homes and update master due diligence spreadsheet                1.2      0.0255       $3.57
             Disposition                                         related to garage space for each property (1.2)
July 2020    Asset                  07/21/20 JR              140 review email from property management related to requested due diligence documents (.2)               0.2     0.00425       $0.60
             Disposition
July 2020    Asset                  07/21/20 JR              140 Review email from property management and the requested subsidy agreements regarding                  0.2     0.00425       $0.60
             Disposition                                         the single family home portfolio (.2)
July 2020    Asset                  07/21/20 JR              140 save in electronic folders and update master due diligence spreadsheet regarding same (.5)            0.5    0.010625       $1.49
             Disposition
July 2020    Asset                  07/21/20 JR              140 exchange correspondence with property manager regarding additional information                        0.2     0.00425       $0.60
             Disposition                                         pertaining to single family homes (.2)
July 2020    Asset                  07/21/20 JR              140 organize electronic files and update master due diligence spreadsheet related to single               0.5    0.010625       $1.49
             Disposition                                         family homes (.5)
July 2020    Asset                  07/21/20 JR              140 review leases provided by property leasing manager and organize electronic files for various          0.2     0.00425       $0.60
             Disposition                                         single family homes (.2)
July 2020    Asset                  07/22/20 AEP             390 review of relevant due diligence materials and conference with J. Rak regarding status of             1.1    0.023375       $9.12
             Disposition                                         preparation of due diligence documentation in connection with conveyance of single-family
                                                                 home portfolio (1.1)
July 2020    Asset                  07/22/20 AEP             390 prepare communication to counsel for institutional lender regarding status of completion of           0.2     0.00425       $1.66
             Disposition                                         due diligence folders associated with single-family homes (.2)
July 2020    Asset                  07/22/20 JR              140 review various closed properties related to current insurance and inspection issues (.1)              0.1    0.002125       $0.30
             Disposition
July 2020    Asset                  07/22/20 JR              140 exchange correspondence with property management and requesting litigation documents                  0.2     0.00425       $0.60
             Disposition                                         (.2)
July 2020    Asset                  07/22/20 JR              140 meeting with A. Porter regarding single family homes master due diligence spreadsheet (.7)            0.7    0.014875       $2.08
             Disposition
July 2020    Asset                  07/22/20 JR              140 review email from property management regarding updates to due diligence documents for                0.2     0.00425       $0.60
             Disposition                                         single family homes, request information regarding discrepancies in subsidy agreements and
                                                                 rent roll previously provided (.2).
July 2020    Asset                  07/24/20 JR              140 follow up correspondence with property management regarding single family home due                    0.1    0.002125       $0.30
             Disposition                                         diligence document request (.1)
July 2020    Asset                  07/26/20 AEP             390 review all property-specific due diligence folders associated with single-family home                 2.4       0.051      $19.89
             Disposition                                         portfolio, eliminate duplicates, perform final reconciliation of damage repairs, cost
                                                                 estimates, lease documentation, and rental information and prepare e-mail to receivership
                                                                 broker regarding commencement of public marketing campaign (2.4)

July 2020    Asset                  07/27/20 AEP             390 begin review of all surveys in single-family residence portfolio in connection with                   0.5    0.010625       $4.14
             Disposition                                         identification of encroachments likely to trigger demands for title insurance endorsements
                                                                 (.5)
July 2020    Asset                  07/27/20 JR              140 review single family portfolio and request additional updates from the property manager (.6)          0.6     0.01275       $1.79
             Disposition
July 2020    Asset                  07/28/20 AEP             390 completion of communications with receivership real estate broker regarding status of due             0.1    0.002125       $0.83
             Disposition                                         diligence folders in connection with marketing of single-family home portfolio (.1)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Asset                  07/28/20 JR              140 review requested water bills for all single family homes and update property folders and               1.2      0.0255       $3.57
             Disposition                                         update master single family homes spreadsheet (1.2)
July 2020    Asset                  07/28/20 JR              140 review requested due diligence documents and request additional missing items from                     0.4      0.0085       $1.19
             Disposition                                         property management regarding single family homes (.4)
July 2020    Asset                  07/28/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                             0.1    0.002125       $0.30
             Disposition
July 2020    Asset                  07/28/20 JR              140 review email from real estate broker regarding updates to due diligence documents for                  0.2     0.00425       $0.60
             Disposition                                         single family homes and respond regarding same (.2)
July 2020    Business               07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same               1.8 0.0666667         $9.33
             Operations                                          (1.8)
July 2020    Business               07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business               07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                          documentation of March property income and expense (.6)
July 2020    Business               07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business               07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                          correspondence to lenders' counsel (.7).
July 2020    Business               07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                          accounting report drafts (.3)
July 2020    Business               07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008       $1.12
             Operations                                          properties in the estate.
July 2020    Business               07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
             Operations                                          upcoming payment on insurance premium funding (.2).
July 2020    Business               07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                          Duff regarding same (.8).
July 2020    Business               07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                          institutional lenders on property by property basis with addition of properties that have no
                                                                 institutional debt, and have been sold (.8)
July 2020    Business               07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
             Operations                                          and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                 installment on insurance premium financing agreement, and communications with K. Duff
                                                                 and bank representatives regarding same (.5)
July 2020    Business               07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business               07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                          (.3)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020    Business               07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                          benefit of other properties (.3).
July 2020    Business               07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                          management relating to all income and loss statements (3.7).
July 2020    Business               07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business               07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                          information related to discrepancies discovered in reports (.5).
July 2020    Business               07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                          preparation of April accounting reports.
July 2020    Business               07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations
July 2020    Business               07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
             Operations
July 2020    Business               07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417         $0.76
             Operations
July 2020    Claims                 07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                 07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
             Administration                                      regarding discrepancies (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
             Administration                                      counsel (.4)
             & Objections

July 2020    Claims                 07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
             Administration                                      remaining reimbursable amounts by property (.2).
             & Objections

July 2020    Claims                 07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049         $6.44
             Administration
             & Objections

July 2020    Claims                 07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252         $2.27
             Administration
             & Objections




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  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2020    Claims                 07/31/20 JRW             260 additional legal research and draft memo regarding motion to intervene (.8)                          0.8 0.0089888         $2.34
             Administration
             & Objections

August 2020 Asset                   08/07/20 KBD             390 exchange correspondence with real estate broker regarding work to list single family                 0.2     0.00425       $1.66
            Disposition                                          residence portfolio (.2)
August 2020 Asset                   08/12/20 KBD             390 Telephone conference with real estate broker and counsel regarding marketing and sale of             0.5    0.010625       $4.14
            Disposition                                          single family residence portfolio.
August 2020 Asset                   08/25/20 KBD             390 exchange correspondence with A. Porter regarding preparation of single family residence              0.1    0.002125       $0.83
            Disposition                                          portfolio for sale (.1)
August 2020 Asset                   08/31/20 KBD             390 Telephone conference with A. Porter regarding sale of single family residence portfolio and          0.2     0.00425       $1.66
            Disposition                                          additional property.
August 2020 Business                08/25/20 KBD             390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                     0.1 0.0014085         $0.55
            Operations
August 2020 Claims                  08/03/20 KBD             390 analysis of claimant intervention motion and exchange correspondence with J. Wine                    0.3 0.0033708         $1.31
            Administration                                       regarding same (.3)
            & Objections

August 2020 Claims                  08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                      0.1 0.0011236         $0.44
            Administration
            & Objections

August 2020 Claims                  08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence             1.3 0.0146067         $5.70
            Administration                                       to J. Wine regarding same.
            & Objections

August 2020 Asset                   08/03/20 AEP             390 review consolidated title commitment for single-family homes portfolio, research status of           1.3    0.027625      $10.77
            Disposition                                          administrative judgments identified as exceptions, prepare list of outstanding issues, and
                                                                 transmit same to title company underwriter regarding continued clearance of title
                                                                 exceptions (1.3).
August 2020 Asset                   08/05/20 AEP             390 Teleconference with title company underwriter regarding all encroachments reflected on               2.0      0.0425      $16.58
            Disposition                                          surveys of single-family homes and deletion of certain special exceptions on single-family
                                                                 homes title commitment.
August 2020 Asset                   08/11/20 JR              140 further communication with property management regarding same (.1)                                   0.1    0.002125       $0.30
            Disposition
August 2020 Asset                   08/11/20 JR              140 review email from A. Porter regarding status of new applicants for the single family homes           0.1    0.002125       $0.30
            Disposition                                          (.1)
August 2020 Asset                   08/12/20 AEP             390 teleconference with receivership brokers regarding initiation of marketing of single-family          0.5    0.010625       $4.14
            Disposition                                          home portfolio, bidding procedures, pricing, and publication notice (.5).

August 2020 Asset                   08/12/20 MR              390 Telephone conference regarding marketing and sale of single family residence portfolio with          0.5    0.010625       $4.14
            Disposition                                          asset manager, K. Duff and A. Porter.




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
August 2020 Asset                   08/14/20 JR              140 further communication with property management requesting updates to due diligence                      0.2     0.00425       $0.60
            Disposition                                          documents for single family homes (.2)
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Asset                   08/17/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1    0.002125       $0.30
            Disposition                                          homes and respond regarding same (.1)
August 2020 Asset                   08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699         $0.53
            Disposition                                          within eighth, ninth, and current tranches (.1)
August 2020 Asset                   08/20/20 JR              140 review email from property management regarding status of due diligence documents                       0.1    0.002125       $0.30
            Disposition                                          related to single family homes (.1).
August 2020 Asset                   08/21/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1    0.002125       $0.30
            Disposition                                          homes and respond regarding same (.1)
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations
August 2020 Business                08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be                0.1 0.0011765         $0.46
            Operations                                           listed for sale (.1)
August 2020 Business                08/13/20 ED              390 review and analysis of related documents and reports (.2).                                              0.2 0.0023529         $0.92
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126         $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709         $0.38
            Operations
August 2020 Business                08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager                0.2 0.0031746         $1.24
            Operations                                           (.2)
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126         $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)
August 2020 Business                08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                       0.1 0.0015873         $0.62
            Operations
August 2020 Business                08/24/20 JR              140 Review various property tax balances.                                                                   1.1 0.0152778         $2.14
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter                  0.4 0.0038835         $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                            0.9      0.0125       $1.75
            Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours         Fees
August 2020 Claims                  08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'           0.9 0.0101124          $2.63
            Administration                                       motion to intervene (.9)
            & Objections

August 2020 Claims                  08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.           1.5 0.0168539          $4.38
            Administration                                       Duff and M. Rachlis (1.5)
            & Objections

September    Business               09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding                0.3 0.0042857          $1.67
2020         Operations                                          payment of same (.3)
September    Business               09/15/20 KBD             390 review financial reporting from property manager (.2)                                                0.2 0.0040816          $1.59
2020         Operations
September    Business               09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and               0.7         0.01       $3.90
2020         Operations                                          lenders (.7)
September    Business               09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                 0.1 0.0014925          $0.58
2020         Operations
September    Claims                 09/14/20 KBD             390 exchange correspondence with claimant counsel regarding single family residence portfolio            0.1    0.002125        $0.83
2020         Administration                                      (.1)
             & Objections

September Asset                     09/01/20 AEP             390 review files pertaining to single- family residence portfolio and prepare allocation of              0.3    0.006375        $2.49
2020      Disposition                                            property inspection costs for insertion into May statements to be provided to institutional
                                                                 lenders (.3).
September    Asset                  09/01/20 JR              140 review email from real estate broker regarding due diligence documents related to single             0.3    0.006375        $0.89
2020         Disposition                                         family homes and exchange communications regarding same (.3)
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                 0.2 0.0027778          $0.39
2020         Disposition                                         income available funds related to payment of tax balances (.2)
September    Asset                  09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                             0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                    0.1 0.0013889          $0.19
2020         Disposition
September    Asset                  09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                   1.8       0.025        $3.50
2020         Disposition
September    Asset                  09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                0.2 0.0027778          $0.39
2020         Disposition                                         for all EB properties with sufficient funds (.2).
September    Asset                  09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                 0.1 0.0014085          $0.20
2020         Disposition                                         of all EB properties (.1)
September    Asset                  09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                     0.1 0.0014085          $0.20
2020         Disposition                                         properties with sufficient funds (.1)
September    Asset                  09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information              0.3 0.0042254          $0.59
2020         Disposition                                         regarding same for all remaining properties in the EquityBuild Estate (.3)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
September    Asset                  09/25/20 JR              140 review tax payments produced by property manager (.7).                                                     0.7 0.0097222         $1.36
2020         Disposition
September    Asset                  09/28/20 JRW             260 Email exchange regarding publication notice (.1)                                                           0.1    0.002125       $0.55
2020         Disposition
September    Asset                  09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                     0.2 0.0030769         $0.43
2020         Disposition                                         payments (.2)
September    Asset                  09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed                 0.1 0.0015873         $0.22
2020         Disposition                                         properties (.1)
September    Asset                  09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                      0.1 0.0015873         $0.22
2020         Disposition
September    Business               09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                           0.2 0.0019417         $0.76
2020         Operations                                          preparation of May accounting reports (.2)
September    Business               09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding              0.7 0.0098592         $1.38
2020         Operations                                          tax balances (.7).
September    Business               09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                         0.2 0.0019417         $0.76
2020         Operations                                          property managers needed for preparation of May accounting reports (.2)
September    Business               09/08/20 ED              390 review of related documents received from property manager and email correspondence                        0.3 0.0029126         $1.14
2020         Operations                                          regarding same (.3)
September    Business               09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                          0.3 0.0029126         $1.14
2020         Operations                                          financial reporting information for May 2020.
September    Business               09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                            0.2 0.0028169         $0.39
2020         Operations                                          payment of taxes of EquityBuild properties.
September    Business               09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                             0.2 0.0019417         $0.76
2020         Operations
September    Business               09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting                   1.2 0.0116505         $4.54
2020         Operations                                          (1.2)
September    Business               09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                     1.2 0.0171429         $2.40
2020         Operations
September    Business               09/22/20 JR              140 review email from property manager and update electronic files for various properties with                 0.2 0.0028571         $0.40
2020         Operations                                          property tax receipts (.2)
September    Business               09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly                0.2 0.0019417         $0.27
2020         Operations                                          (.2).
September    Business               09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.                  1.2 0.0116505         $4.54
2020         Operations
September    Business               09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)                 0.2 0.0028571         $0.40
2020         Operations
October      Asset                  10/16/20 KBD             390 Work with A. Porter and J. Rak on planning for listing SFR portfolio and title exception and               0.6     0.01275       $4.97
2020         Disposition                                         insurance issues (single family) (.6)
October      Asset                  10/23/20 KBD             390 confer with broker, lenders counsel, and A. Porter regarding single-family residence portfolio             0.4      0.0085       $3.32
2020         Disposition                                         marketing and listing planning, title issues, due diligence materials, bid procedures, credit bid
                                                                 interest, and procedure for reviewing bids (.4)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
October      Asset                  10/23/20 KBD             390 work on preparation for marketing and listing of single-family residence portfolio and                  0.5    0.010625       $4.14
2020         Disposition                                         prepare for call with broker and lenders counsel (.5)
October      Asset                  10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                     0.2 0.0010625         $0.41
2020         Disposition                                         properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)
October      Business               10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                         0.2 0.0032258         $1.26
2020         Operations
October      Business               10/09/20 KBD             390 study financial reporting from property managers (.5)                                                   0.5 0.0080645         $3.15
2020         Operations
October      Business               10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).             0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 KBD             390 work on restoration of funds (.3).                                                                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                               0.2 0.0034483         $1.34
2020         Operations
October      Asset                  10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903         $1.58
2020         Disposition                                         lenders (.7)
October      Asset                  10/01/20 JR              140 further review of May financial reporting (3.3)                                                         3.3 0.0320388         $4.49
2020         Disposition
October      Asset                  10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)               0.9 0.0087379         $1.22
2020         Disposition
October      Asset                  10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future             0.4 0.0064516         $2.52
2020         Disposition                                         marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                  10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                      0.5 0.0048544         $0.68
2020         Disposition                                         information (.5)
October      Asset                  10/14/20 AEP             390 Continue reviewing due diligence folders for single-family homes, updating due diligence                2.3    0.048875      $19.06
2020         Disposition                                         checklist, reconciling title commitment exceptions to EquityBuild records, and preparing bid
                                                                 procedures to govern submission of offers and selection of winning bidder.

October      Asset                  10/15/20 AEP             390 read through all title exceptions and create master list of items needed from City of Chicago           1.4     0.02975      $11.60
2020         Disposition                                         and prior encumbrances to ensure conveyance of clean title at closing (1.4)

October      Asset                  10/15/20 AEP             390 review all building code violation folders to identify all potential judgments pending against          0.8       0.017       $6.63
2020         Disposition                                         single-family homes (.8)
October      Asset                  10/15/20 AEP             390 review and analyze title histories on all properties subject to title exceptions and create             2.0      0.0425      $16.58
2020         Disposition                                         chain of title explanations for use with title underwriter (2.0).
October      Asset                  10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding issues associated with single-family home              0.5    0.010625       $4.14
2020         Disposition                                         judgments and encumbrances (single family) (.5)
October      Asset                  10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding property tax issues (.1)                               0.1    0.002125       $0.83
2020         Disposition
October      Asset                  10/16/20 JR              140 review tax balances for single family homes (.4).                                                       0.4      0.0085       $1.19
2020         Disposition




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
October      Asset                  10/16/20 JR              140 Work with A. Porter and K. Duff on planning for listing single family portfolio and title                  0.6     0.01275       $1.79
2020         Disposition                                         exception and insurance issues (.6)
October      Asset                  10/16/20 JRW             260 Confer with K. Duff regarding publication notice for single family home portfolio.                         0.1    0.002125       $0.55
2020         Disposition
October      Asset                  10/19/20 JR              140 review single family home due diligence folders and organize in preparation of sharing with                2.7    0.057375       $8.03
2020         Disposition                                         interested buyers (2.7).
October      Asset                  10/22/20 JR              140 Update single family homes documents (.5)                                                                  0.5    0.010625       $1.49
2020         Disposition
October      Asset                  10/22/20 JR              140 exchange correspondence with A. Porter regarding single family homes (.1)                                  0.1    0.002125       $0.30
2020         Disposition
October      Asset                  10/23/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for special servicer regarding               0.5    0.010625       $4.14
2020         Disposition                                         status of preparation of marketing of single-family home portfolio, including title issues, sales
                                                                 contract issues, due diligence issues, and marketing issues (.5)

October      Asset                  10/23/20 AEP             390 preliminary communications with alternative title company regarding potential issuance of                  0.3    0.006375       $2.49
2020         Disposition                                         insurance over special exceptions raised by current insurer (.3)
October      Asset                  10/27/20 AEP             390 teleconference with potential new title company regarding impasses with current title                      0.7 0.0074375         $2.90
2020         Disposition                                         company over deletion of special exceptions on various receivership properties (7237 S
                                                                 Bennett and single-family home portfolio) (.7).
October      Asset                  10/29/20 AEP             390 communications with former title company regarding need for hold harmless letter                           0.1    0.002125       $0.83
2020         Disposition                                         associated with prospective conveyance of receivership property (.1)
October      Business               10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                     0.1 0.0009709         $0.38
2020         Operations
October      Business               10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).                0.2 0.0019417         $0.76
2020         Operations
October      Business               10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                       0.9 0.0087379         $3.41
2020         Operations
October      Business               10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                         0.1 0.0009709         $0.38
2020         Operations
October      Business               10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                   0.3 0.0029126         $1.14
2020         Operations                                          requiring revision (.3).
October      Business               10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                     0.8    0.007767       $3.03
2020         Operations                                          comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                 reimbursable amounts by properties. (.2)
October      Business               10/07/20 ED              390 final review of May reports (1.0).                                                                         1.0 0.0097087         $3.79
2020         Operations
October      Business               10/07/20 KMP             140 Prepare form for wire transfer to financing company for payment of insurance premium                       0.3 0.0048387         $0.68
2020         Operations                                          financing installment and communications with K. Duff and bank representatives regarding
                                                                 same.
October      Business               10/08/20 ED              390 review of premium finance agreements executed in connection with renewals of property                      0.3 0.0048387         $1.89
2020         Operations                                          and liability insurance (.3)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October      Business               10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                   0.9 0.0145161         $5.66
2020         Operations                                      explanations of insurance expense for all unsold properties and inspection expenses for
                                                             certain properties (.9)
October      Business               10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020         Operations                                      of May 31, 2020 (1.5)
October      Business               10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020         Operations                                      reports (.5).
October      Business               10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020         Operations                                      regarding reports.
October      Business               10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business               10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020         Operations                                      amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business               10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business               10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                      approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October      Business               10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                      accounting reports (.3)
October      Business               10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                      restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)
October      Business               10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                      property manager (.2)
October      Business               10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                      updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business               10/27/20 ED          390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business               10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                      reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                             reimbursed from proceeds of property sales (1.3)
October      Business               10/27/20 ED          390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                      property financial reporting (.2).
October      Business               10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                    0.2 0.0033333         $0.47
2020         Operations                                      financing installments in light of various property sales.
October      Business               10/30/20 ED          390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                      reports, and review of related financial information.
October      Business               10/30/20 KMP         140 prepare form for funds transfer to premium financing company for installment payment on              0.4 0.0066667         $0.93
2020         Operations                                      property insurance, and communicate with K. Duff and bank representatives regarding same
                                                             (.4)


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  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
October      Business               10/30/20 KMP             140 Communication with insurance broker regarding updated payment schedules for insurance                     0.2 0.0033333         $0.47
2020         Operations                                          premium financing installments in light of various property sales (.2)
November     Asset                  11/17/20 KBD             390 exchange correspondence with A. Porter regarding pricing and allocation of sale proceeds                  0.2     0.00425       $1.66
2020         Disposition                                         for single family residence portfolio and title company communication (.2)

November     Asset                  11/19/20 KBD             390 work on bid procedures for single family residence portfolio (.3).                                        0.3    0.006375       $2.49
2020         Disposition
November     Asset                  11/20/20 KBD             390 exchange correspondence with M. Rachlis regarding sale procedures for single family                       0.1    0.002125       $0.83
2020         Disposition                                         residence portfolio (.1)
November     Asset                  11/20/20 KBD             390 telephone conferences with A. Porter regarding marketing of and allocation issues relating to             0.3    0.006375       $2.49
2020         Disposition                                         single family residence portfolio (.3)
November     Asset                  11/20/20 KBD             390 telephone conference with real estate broker and A. Porter regarding same (.2)                            0.2     0.00425       $1.66
2020         Disposition
November     Asset                  11/21/20 KBD             390 Exchange correspondence with real estate broker and A. Porter regarding treatment of                      0.2     0.00425       $1.66
2020         Disposition                                         offers for single family residence portfolio.
November     Asset                  11/28/20 KBD             390 Exchange correspondence with A. Porter regarding broker agreement and publication notice                  0.2     0.00425       $1.66
2020         Disposition                                         for sale of single-family residence portfolio.
November     Asset                  11/29/20 KBD             390 Study and revise offering memorandum for sale of single-family residence portfolio and draft              0.3    0.006375       $2.49
2020         Disposition                                         correspondence to A. Porter regarding same.
November     Asset                  11/30/20 KBD             390 work on offering memorandum and exchange correspondence regarding same for single-                        0.2     0.00425       $1.66
2020         Disposition                                         family residence portfolio (.2)
November     Business               11/13/20 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0065217         $2.54
2020         Operations
November     Claims                 11/20/20 KBD             390 confer with claimant lenders' counsel, real estate broker, and A. Porter regarding marketing              0.6     0.01275       $4.97
2020         Administration                                      of and allocation issues relating to single family residence portfolio (.6)
             & Objections

November     Asset                  11/05/20 AEP             390 continue analyzing public records and preparing memorandum to prospective new title                       3.5    0.074375      $29.01
2020         Disposition                                         insurer requesting consideration of waiver of title exceptions appearing on current version of
                                                                 title commitment for single-family homes (3.5).
November     Asset                  11/06/20 AEP             390 Finalize review and analysis of remaining properties associated with title exceptions in single-          2.3    0.048875      $19.06
2020         Disposition                                         family home portfolio and preparation of memorandum to prospective new title insurer
                                                                 regarding potential waiver of exceptions (2.3)
November     Asset                  11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                              0.7    0.012069       $1.69
2020         Disposition
November     Asset                  11/17/20 AEP             390 prepare correspondence to receivership brokers associated with single- family home                        0.2     0.00425       $1.66
2020         Disposition                                         portfolio regarding preparation for marketing effort (.2).
November     Asset                  11/17/20 AEP             390 teleconference with prospective new title insurer regarding issues associated with                        0.5    0.010625       $4.14
2020         Disposition                                         preparation of title commitment for single-family home portfolio (.5)
November     Asset                  11/18/20 AEP             390 prepare e-mail to title underwriter enclosing and explaining spreadsheets containing                      0.2     0.00425       $1.66
2020         Disposition                                         information pertaining to single-family home portfolio (.2)
November     Asset                  11/18/20 AEP             390 teleconference with K. Duff and J. Rak regarding final preparation for initiation of marketing            0.4      0.0085       $3.32
2020         Disposition                                         of single-family home portfolio (.4)


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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
November     Asset                  11/18/20 AEP             390 Teleconference for title company underwriter regarding issues associated with preparation               0.3    0.006375       $2.49
2020         Disposition                                         of title commitments for single-family home portfolio (.3)
November     Asset                  11/18/20 JR              140 call with K. Duff and A. Porter relating to status of single family home portfolio and plan of          0.5    0.010625       $1.49
2020         Disposition                                         action (.5)
November     Asset                  11/18/20 JR              140 request updated due diligence documents from property management for single family                      0.1    0.002125       $0.30
2020         Disposition                                         homes (.1)
November     Asset                  11/18/20 JRW             260 Exchange correspondence with A. Porter regarding status of marketing of properties (single-             0.1    0.002125       $0.55
2020         Disposition                                         family portfolio) (.1)
November     Asset                  11/19/20 JR              140 review uploaded documents regarding same and further exchange correspondence with                       0.3    0.006375       $0.89
2020         Disposition                                         property management relating to missing items (.3)
November     Asset                  11/19/20 JR              140 Review email from property management regarding single family home due diligence                        0.1    0.002125       $0.30
2020         Disposition                                         documents (.1)
November     Asset                  11/19/20 JR              140 review income and loss statements received from the property manager and update                         1.1    0.023375       $3.27
2020         Disposition                                         electronic files related to single family homes (1.1)
November     Asset                  11/20/20 AEP             390 teleconference with K. Duff and receivership brokers regarding discrepancies in values of               0.2     0.00425       $1.66
2020         Disposition                                         single-family homes as between receivership broker and special servicer for institutional
                                                                 lender (.2)
November     Asset                  11/20/20 AEP             390 teleconference with K. Duff, receivership brokers, and counsel for institutional lenders                0.6     0.01275       $4.97
2020         Disposition                                         regarding pricing considerations, timing of commencement of marketing, and allocation
                                                                 issues associated with single-family home portfolio (.6).
November     Asset                  11/20/20 JR              140 exchange correspondence with property management requesting missing utility statements                  0.1    0.002125       $0.30
2020         Disposition                                         regarding single family homes (.1).
November     Asset                  11/20/20 JR              140 Review requested due diligence reports and update electronic files for single family portfolio          0.3    0.006375       $0.89
2020         Disposition                                         from property management (.3)
November     Asset                  11/20/20 JR              140 review updated utility statements requested from property management and update                         1.3    0.027625       $3.87
2020         Disposition                                         electronic files in preparation for marketing of single family homes (1.3)
November     Asset                  11/20/20 MR              390 Attention to bidding procedures on single family homes and follow up (.5)                               0.5    0.010625       $4.14
2020         Disposition
November     Asset                  11/23/20 JR              140 Review income and loss statements received from property management related to single                   0.4      0.0085       $1.19
2020         Disposition                                         family homes and update electronic files (.4)
November     Asset                  11/23/20 JR              140 exchange correspondence with property management and request additional property                        0.2     0.00425       $0.60
2020         Disposition                                         reports for single family homes (.2)
November     Asset                  11/24/20 AEP             390 review all attorney examiner worksheets received from title insurer in connection with                  0.4      0.0085       $3.32
2020         Disposition                                         conveyance of single-family home portfolio, update portfolio spreadsheet, and inventory
                                                                 missing worksheets (.4).
November     Asset                  11/24/20 JR              140 further correspondence with property management requesting same for single family homes                 0.1    0.002125       $0.30
2020         Disposition                                         (.1)
November     Asset                  11/24/20 JR              140 review due diligence documents requested from property management for single family                     0.4      0.0085       $1.19
2020         Disposition                                         homes (.4)
November     Asset                  11/25/20 AEP             390 review proposed renewed brokerage agreement relating to prospective sale of single-family               0.3    0.006375       $2.49
2020         Disposition                                         home portfolio and prepare e-mail to broker requesting additional changes and explanation
                                                                 for certain deletions (.3).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November     Asset                  11/25/20 JR              140 Review single family home portfolio and due diligence documents and update rent roll                 3.2       0.068       $9.52
2020         Disposition                                         related to updated utility statements, leases and security deposit information.

November     Asset                  11/29/20 AEP             390 review all due diligence folders for properties in single-family home portfolio, remove              0.6     0.01275       $4.97
2020         Disposition                                         unnecessary documents, and create final checklist of property-specific issues (.6).

November     Asset                  11/29/20 AEP             390 Begin preparation of purchase and sale agreement for single-family home portfolio (2.2)              2.2     0.04675      $18.23
2020         Disposition
November     Asset                  11/30/20 JR              140 Review email from A. Porter regarding single family home due diligence documents and                 0.1    0.002125       $0.30
2020         Disposition                                         respond accordingly (.1)
November     Asset                  11/30/20 JR              140 review due diligence documents for single family home (.6)                                           0.6     0.01275       $1.79
2020         Disposition
November     Business               11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business               11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                          financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November     Business               11/03/20 KMP             140 begin collecting and downloading documents from property managers (1.2).                             1.2 0.0461538         $6.46
2020         Operations
November     Business               11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                               0.2 0.0033898         $1.32
2020         Operations
November     Business               11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)              0.3 0.0050847         $1.98
2020         Operations
November     Business               11/04/20 KMP             140 review information and documents on property manager's portal and communicate with K.                0.8 0.0307692         $4.31
2020         Operations                                          Duff regarding same (.8).
November     Business               11/04/20 KMP             140 Continue collecting and downloading documents from property manager's electronic data                0.9 0.0346154         $4.85
2020         Operations                                          file (.9)
November     Business               11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                          property reports (.3)
November     Business               11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business               11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                          correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business               11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                          correspondence with accountants and property manager regarding same (.4)

November     Business               11/09/20 KMP             140 work on analysis of payments to property managers for property expenses (2.4).                       2.4 0.0923077        $12.92
2020         Operations
November     Business               11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                          needed for preparation of June reporting.
November     Business               11/10/20 KMP             140 Further work on analysis of payments to property managers for property expenses.                     3.2 0.1230769        $17.23
2020         Operations




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  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
November     Business               11/11/20 KMP             140 Prepare form for transfer of funds for payment of insurance premium funding and                           0.4 0.0074074         $1.04
2020         Operations                                          communicate with K. Duff and bank representative regarding same (.4)
November     Business               11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                     0.2 0.0019048         $0.74
2020         Operations                                          reporting information necessary for completion of remining June accounting reports (.2).

November     Business               11/12/20 KMP             140 Follow up on transfer of funds for payment of insurance premium funding and communicate                   0.2 0.0037037         $0.52
2020         Operations                                          with K. Duff and bank representative regarding same.
November     Business               11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June                    0.3 0.0028571         $1.11
2020         Operations                                          reports, and steps to begin preparation of July reports (.3)
November     Business               11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)                  1.2 0.0193548         $2.71
2020         Operations
November     Business               11/17/20 KMP             140 Work on analysis of funds expended for property expenses, in connection with anticipated                  1.1 0.0423077         $5.92
2020         Operations                                          motion for restoration.
November     Business               11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                       0.5 0.0047619         $1.86
2020         Operations                                          reporting information required for preparation of July property reports.

November     Business               11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                     0.3 0.0028571         $1.11
2020         Operations                                          accounting reports and preparation of draft August reports (.3).
November     Business               11/25/20 KMP             140 Prepare request form for transfer of funds to financing company for insurance premium                     0.4 0.0074074         $1.04
2020         Operations                                          installment payment, and communicate with bank representatives and K. Duff regarding
                                                                 same.
December     Asset                  12/04/20 KBD             390 telephone conference with real estate broker regarding various remaining properties and                   0.3       0.006       $2.34
2020         Disposition                                         related sales issues (.3).
December     Asset                  12/29/20 KBD             390 Exchange correspondence regarding publication of notice for sale of single family residence               0.2     0.00425       $1.66
2020         Disposition                                         portfolio (.2)
December     Claims                 12/09/20 KBD             390 study information regarding claims against properties in single family residence portfolio (.2).          0.2     0.00425       $1.66
2020         Administration
             & Objections

December     Asset                  12/04/20 JR              140 Review previously delivered delinquency report and exchange correspondence with property                  0.3    0.006375       $0.89
2020         Disposition                                         management requesting current delinquency report for single family home portfolio (.3)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
December     Asset                  12/04/20 JR              140 review previously requested rent rolls, leases, subsidy contracts and delinquency reports for            4.6 0.1243243        $17.41
2020         Disposition                                         single family homes, update master rent roll and request additional missing items from
                                                                 property management (1414 East 62nd Place, 1418 East 62nd Place, 1017 W 102nd Street,
                                                                 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                 Avenue) (4.6).

December     Asset                  12/07/20 JR              140 review leases for security deposit information related to single family homes (1.3)                      1.3    0.027625       $3.87
2020         Disposition
December     Asset                  12/07/20 JR              140 review master rent roll for single family homes and exchange correspondence with A. Porter               0.3    0.006375       $0.89
2020         Disposition                                         regarding same (.3)
December     Asset                  12/07/20 JR              140 exchange correspondence with property management requesting updates to due diligence                     0.1    0.002125       $0.30
2020         Disposition                                         documents for single family homes (.1)
December     Asset                  12/07/20 JR              140 review updated utility bills for single family homes and update electronic files regarding               1.2      0.0255       $3.57
2020         Disposition                                         same (1.2).
December     Asset                  12/07/20 JR              140 conference call with A. Porter related to single family portfolio status (.7)                            0.7    0.014875       $2.08
2020         Disposition
December     Asset                  12/08/20 AEP             390 continue editing, revising, and customizing purchase and sale contract for single-family home            1.0     0.02125       $8.29
2020         Disposition                                         portfolio and review all litigation files to ascertain current status of all administrative and
                                                                 housing court proceedings (1.0).
December     Asset                  12/08/20 JR              140 review additional due diligence documents received from property management for single                   2.7    0.057375       $8.03
2020         Disposition                                         family homes and update electronic files (2.7)
December     Asset                  12/08/20 JR              140 Review utility statements received from property management for single family homes and                  1.6       0.034       $4.76
2020         Disposition                                         update electronic files (1.6)
December     Asset                  12/08/20 JR              140 exchange correspondence with property management regarding same (.1)                                     0.1    0.002125       $0.30
2020         Disposition
December     Asset                  12/08/20 JR              140 review and analyze ledgers for single family homes against rent roll and confirm rental                  1.7    0.036125       $5.06
2020         Disposition                                         income consistency in preparation for marketing and providing documents to potential
                                                                 buyers (1.7)
December     Asset                  12/08/20 JR              140 review email from brokerage firm regarding requested due diligence documents for single                  0.1    0.002125       $0.30
2020         Disposition                                         family homes and respond accordingly (.1).
December     Asset                  12/08/20 JRW             260 Email exchange regarding placement of publication notice for single family portfolio.                    0.2     0.00425       $1.11
2020         Disposition




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
December     Asset                  12/09/20 AEP             390 Teleconference with J. Rak regarding discrepancies between monthly utility bills and                   0.3    0.006375       $2.49
2020         Disposition                                         operating expenses and possible strategies for fixing issues prior to producing due diligence
                                                                 documents associated with sale of single-family homes (.3)

December     Asset                  12/09/20 AEP             390 read e-mail from J. Wine regarding claims submitted against properties in single-family home           0.2     0.00425       $1.66
2020         Disposition                                         portfolio and update portfolio spreadsheet accordingly (.2).
December     Asset                  12/09/20 AEP             390 review proof of notice of public sale in connection with advertisement of single-family home           0.1    0.002125       $0.83
2020         Disposition                                         portfolio (.1)
December     Asset                  12/09/20 JR              140 exchange correspondence with A. Porter regarding same (.3).                                            0.3    0.006375       $0.89
2020         Disposition
December     Asset                  12/09/20 JR              140 review updated income and profit statements, compare and analyze expenses with updated                 6.3    0.133875      $18.74
2020         Disposition                                         utility statements provided by property management for single family portfolio in
                                                                 preparation for production to potential buyer (6.3)
December     Asset                  12/09/20 JR              140 Review emails from property management and update master rent roll with requested                      0.3    0.006375       $0.89
2020         Disposition                                         property information for single family homes (.3)
December     Asset                  12/10/20 AEP             390 review all tenant ledgers and other documents added to due diligence folder for single-                0.8       0.017       $6.63
2020         Disposition                                         family homes, reorganize certain file structures and review and approve final rent roll (.8)

December     Asset                  12/10/20 AEP             390 prepare response to broker of single-family homes regarding finalization of due diligence              0.1    0.002125       $0.83
2020         Disposition                                         materials and status of rent roll (.1)
December     Asset                  12/10/20 JR              140 final review of single family homes master rent roll regarding same and make final updates             1.6       0.034       $4.76
2020         Disposition                                         to electronic files (1.6)
December     Asset                  12/10/20 JR              140 exchange correspondence with property management team requesting missing property                      0.3    0.006375       $0.89
2020         Disposition                                         utility statements for single family homes to resolve discrepancies (.3)
December     Asset                  12/10/20 JR              140 Finalize review of the income and profit statements and analyze information in electronic              1.7    0.036125       $5.06
2020         Disposition                                         files in preparation for production to single family homes potential buyers (1.7)

December     Asset                  12/10/20 JR              140 exchange correspondence with brokerage firm and inquire about uploading requested single               0.1    0.002125       $0.30
2020         Disposition                                         family homes information pertaining to same (.1)
December     Asset                  12/10/20 JR              140 exchange correspondence with A. Porter regarding same (single family homes) (.3)                       0.3    0.006375       $0.89
2020         Disposition
December     Asset                  12/10/20 JR              140 organize all due diligence documents including leases in preparation for production to                 1.3    0.027625       $3.87
2020         Disposition                                         brokerage firm related to single family homes (1.3)
December     Asset                  12/11/20 AEP             390 Teleconference with J. Rak regarding remaining discrepancies in single-family home due                 0.1    0.002125       $0.83
2020         Disposition                                         diligence materials (.1)
December     Asset                  12/15/20 AEP             390 finalize first draft of purchase and sale agreement for single-family homes and transmit same          0.6     0.01275       $4.97
2020         Disposition                                         to K. Duff and receivership broker for review and comment (.6)
December     Asset                  12/15/20 JR              140 Review emails from property management regarding requested property reports and update                 0.4      0.0085       $1.19
2020         Disposition                                         electronic files related to single family home portfolio (.4)
December     Asset                  12/15/20 JR              140 review additional master rent roll and update sale related to single family homes (.5)                 0.5    0.010625       $1.49
2020         Disposition
December     Asset                  12/17/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              8.3    0.176375      $68.79
2020         Disposition                                         properties owned by corporate entity.


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  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
December     Asset                  12/18/20 AEP             390 Teleconference with J. Rak regarding preparation for sales of single-family home portfolio            1.0     0.02125        $8.29
2020         Disposition                                         and all issues associated with deed preparation, applications for transfer stamps, and value
                                                                 allocations on title commitments (1.0)
December     Asset                  12/18/20 JR              140 Exchange correspondence with broker regarding allocation values of the single family homes            0.2     0.00425        $0.60
2020         Disposition                                         (.2)
December     Asset                  12/18/20 JR              140 exchange correspondence with accounting firm about completion of various 1099 forms                   0.3    0.006375        $0.89
2020         Disposition                                         related to the single family homes for different entities (.3)
December     Asset                  12/18/20 JR              140 draft water applications for single family homes (4.1)                                                4.1    0.087125       $12.20
2020         Disposition
December     Asset                  12/19/20 AEP             390 prepare title examiner's worksheets relating to single family residence portfolio for all             3.6      0.0765       $29.84
2020         Disposition                                         properties owned by certain corporate entities (3.6).
December     Asset                  12/21/20 AEP             390 Teleconference with title company regarding numerous issues associated with preparation               0.3    0.006375        $2.49
2020         Disposition                                         of title commitment for single-family home portfolio (.3)
December     Asset                  12/21/20 JR              140 review email from the title company and provide requested information regarding closing               0.1    0.002125        $0.30
2020         Disposition                                         documents related to all single family homes (.1)
December     Asset                  12/21/20 JR              140 begin drafting closing checklist for single family homes in preparation for closing (.8)              0.8       0.017        $2.38
2020         Disposition
December     Business               12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.                0.2 0.0019048          $0.74
2020         Operations
December     Business               12/03/20 KMP             140 work on analysis of paid property expenses for April-November 2020, including identifying             2.6          0.1      $14.00
2020         Operations                                          supporting documentation (2.6).
December     Business               12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                  0.4 0.0044944          $1.75
2020         Operations
December     Business               12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                      0.1 0.0009524          $0.37
2020         Operations                                          accounting reports and preparation of draft September reports (.1).
December     Business               12/04/20 KMP             140 Work on analysis of paid property expenses for April-November 2020, including identifying             3.3 0.1269231         $17.77
2020         Operations                                          and compiling supporting documentation.
December     Business               12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and            2.1         0.02       $7.80
2020         Operations                                          related financial reporting from property managers (2.1).
December     Business               12/09/20 KMP             140 Prepare request for funds transfer to financing company for payment of insurance premium              0.4 0.0075472          $1.06
2020         Operations                                          financing and communications with K. Duff and bank representatives regarding same (.4)

December     Business               12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from             2.6 0.0247619          $9.66
2020         Operations                                          property managers (2.6).
December     Business               12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                 0.1 0.0009524          $0.37
2020         Operations                                          preparation of September property accounting reports (.1)
December     Business               12/10/20 ED              390 continue review of June property accounting reports (1.2)                                             1.2 0.0114286          $4.46
2020         Operations
December     Business               12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                    1.5 0.0142857          $5.57
2020         Operations
December     Business               12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                 1.2 0.0114286          $4.46
2020         Operations                                          accounting reports (.7), and review of related reporting and financial records (.5)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
December     Business               12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to             0.9 0.0085714         $3.34
2020         Operations                                      properties (.9).
December     Business               12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                   0.2 0.0019048         $0.74
2020         Operations
December     Business               12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and               0.4 0.0038095         $1.49
2020         Operations                                      changes (.4)
December     Business               12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance               0.2 0.0037736         $0.53
2020         Operations                                      premium financing and communicate with K. Duff regarding same (.2)
December     Business               12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance                0.2 0.0037736         $0.53
2020         Operations                                      premium financing and communicate with K. Duff and bank representatives regarding same
                                                             (.2)
December     Business               12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                  0.4 0.0038095         $1.49
2020         Operations                                      of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December     Business               12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                        0.2 0.0019048         $0.74
2020         Operations                                      premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
December     Claims                 12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                          0.2 0.0022472         $0.58
2020         Administration
             & Objections

December     Claims                 12/09/20 JRW         260 study investor claims against single family residence properties and related analysis to K.             0.6     0.01275       $3.32
2020         Administration                                  Duff and A. Porter (.6).
             & Objections

January      Asset                  01/06/21 KBD         390 draft correspondence to A. Porter regarding sale of single family residence portfolio (single           0.1    0.002125       $0.83
2021         Disposition                                     family) (.1).
January      Asset                  01/13/21 KBD         390 exchange correspondence with real estate broker and A. Porter regarding single family                   0.4      0.0085       $3.32
2021         Disposition                                     portfolio questions (single family) (.4).
January      Asset                  01/14/21 KBD         390 Exchange correspondence with real estate broker regarding information about offers and                  0.2     0.00425       $1.66
2021         Disposition                                     planning for review (single family) (.2)
January      Asset                  01/15/21 KBD         390 Exchange correspondence with real estate broker regarding due diligence information for                 0.2     0.00425       $1.66
2021         Disposition                                     single family residence portfolio (single family) and exchange correspondence with J. Rak
                                                             regarding same (.2)
January      Asset                  01/15/21 KBD         390 study correspondence regarding offers for single family residence portfolios (single family)            0.2     0.00425       $1.66
2021         Disposition                                     (.2).
January      Asset                  01/18/21 KBD         390 Confer with real estate broker and counsel regarding offers on sale of single family residence          0.9    0.019125       $7.46
2021         Disposition                                     portfolio (single family) (.9)
January      Asset                  01/18/21 KBD         390 study offers and summary (single family) (.4)                                                           0.4      0.0085       $3.32
2021         Disposition
January      Asset                  01/20/21 KBD         390 attention to offers for single family residence portfolio (single family) (.1).                         0.1    0.002125       $0.83
2021         Disposition




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
January      Asset                  01/21/21 KBD         390 Telephone conference with real estate broker and counsel regarding sale of single family                 0.6     0.01275       $4.97
2021         Disposition                                     residence properties (single family) (.6)
January      Asset                  01/21/21 KBD         390 telephone conference and exchange correspondence with real estate broker regarding sale                  0.2     0.00425       $1.66
2021         Disposition                                     process and offers (single family) (.2)
January      Asset                  01/21/21 KBD         390 telephone conference with lenders' counsel, real estate broker, M. Rachlis, and A. Porter                0.4      0.0085       $3.32
2021         Disposition                                     regarding sale process, offers, and related issues (single family) (.4)
January      Asset                  01/21/21 KBD         390 follow up call regarding sale of single family residence properties with M. Rachlis, A. Porter,          0.4      0.0085       $3.32
2021         Disposition                                     and asset manager (single family) (.4)
January      Asset                  01/21/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale process issues and                  0.1    0.002125       $0.83
2021         Disposition                                     offers (single family) (.1)
January      Asset                  01/22/21 KBD         390 Telephone conference with real estate broker regarding negotiation with potential buyer                  0.2     0.00425       $1.66
2021         Disposition                                     (single family) (.2)
January      Asset                  01/22/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale negotiations (single                0.2     0.00425       $1.66
2021         Disposition                                     family) (.2).
January      Asset                  01/22/21 KBD         390 telephone conference with and draft correspondence to claimant's counsel regarding offers                0.1    0.002125       $0.83
2021         Disposition                                     and negotiations (single family) (.1)
January      Asset                  01/25/21 KBD         390 Exchange correspondence with real estate broker regarding communication with lender's                    0.2     0.00425       $1.66
2021         Disposition                                     counsel and change of potential buyer's interests (single family).
January      Asset                  01/27/21 KBD         390 Exchange correspondence regarding sale of single family portfolio (single family) and                    0.2     0.00425       $1.66
2021         Disposition                                     revisions to contract.
January      Asset                  01/29/21 KBD         390 exchange correspondence with A. Porter regarding communication from buyer relating to                    0.2     0.00425       $1.66
2021         Disposition                                     sale and inspection (single family) (.2)
January      Asset                  01/29/21 KBD         390 exchange correspondence with broker regarding inspections (single family) (.1)                           0.1    0.002125       $0.83
2021         Disposition
January      Asset                  01/29/21 KBD         390 Review and execute sales agreement for single family residence portfolio (single family) (.2)            0.2     0.00425       $1.66
2021         Disposition
January      Business               01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                         0.2 0.0019048         $0.74
2021         Operations
January      Business               01/11/21 KBD         390 study property manager financial reports (.4)                                                            0.4 0.0097561         $3.80
2021         Operations
January      Business               01/11/21 KBD         390 attention to payment of property and general liability insurance (.3).                                   0.3 0.0057692         $2.25
2021         Operations
January      Business               01/18/21 KBD         390 Exchange correspondence with E. Duff regarding restoration of funds relating to property                 0.2 0.0019048         $0.74
2021         Operations                                      expenses.
January      Claims                 01/24/21 KBD         390 exchange correspondence with E. Duff regarding communication with lenders' counsel                       0.1 0.0009524         $0.37
2021         Administration                                  relating to accounting reports (.1).
             & Objections

January      Asset                  01/05/21 AEP         390 prepare e-mails to property managers for single-family homes regarding abstention from                   0.1    0.002125       $0.83
2021         Disposition                                     capital repairs absent consent of receiver (single family) (.1).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
January      Asset                  01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                 2.2 0.0203704         $2.85
2021         Disposition                                         dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January      Asset                  01/06/21 AEP             390 update title company spreadsheet with value allocations for each property (single family) (.3)          0.3    0.006375       $2.49
2021         Disposition
January      Asset                  01/06/21 JR              140 request same from property management regarding single family homes (single family) (.1).               0.1    0.002125       $0.30
2021         Disposition
January      Asset                  01/06/21 JR              140 Review email from real estate associate requesting updated due diligence documents                      0.1    0.002125       $0.30
2021         Disposition                                         related to marketing of single family homes (single family) (.1)
January      Asset                  01/07/21 JR              140 Review email from property management related to single family homes and review of due                  0.2     0.00425       $0.60
2021         Disposition                                         diligence documents regarding same (single family).
January      Asset                  01/08/21 AEP             390 teleconference with title underwriter regarding single-family home title exceptions being               0.1    0.002125       $0.83
2021         Disposition                                         waived on risk (single family) (.1).
January      Asset                  01/11/21 JR              140 follow up communication with property management regarding updates to due diligence                     0.1    0.002125       $0.30
2021         Disposition                                         documents related to single family homes (single family) (.1)
January      Asset                  01/11/21 JR              140 exchange correspondence with property management requesting missing items (single                       0.2     0.00425       $0.60
2021         Disposition                                         family) (.2)
January      Asset                  01/11/21 JR              140 update electronic files for same (single family) (.4)                                                   0.4      0.0085       $1.19
2021         Disposition
January      Asset                  01/11/21 JR              140 exchange correspondence with brokerage firm advising of all requested due diligence                     0.1    0.002125       $0.30
2021         Disposition                                         document updates related to single family homes (single family) (.1).
January      Asset                  01/11/21 JR              140 review due diligence documents for all single family homes, update electronic files and                 3.1    0.065875       $9.22
2021         Disposition                                         update master rent roll and property folders requested by broker (single family) (3.1)

January      Asset                  01/13/21 AEP             390 finalize purchase and sale contract for conveyance of single-family home portfolio and                  0.5    0.010625       $4.14
2021         Disposition                                         transmit same to receivership broker (single family) (.5)
January      Asset                  01/13/21 AEP             390 Teleconference with J. Rak regarding responses to inquiries from broker regarding single-               0.4      0.0085       $3.32
2021         Disposition                                         family home portfolio (single family) (.4)
January      Asset                  01/13/21 AEP             390 reorganize all single-family home files into tranches consistent with deeds and title                   0.8       0.017       $6.63
2021         Disposition                                         commitments (single family) (.8).
January      Asset                  01/13/21 JR              140 exchange correspondence with brokerage firm providing requested information related to                  0.6     0.01275       $1.79
2021         Disposition                                         single family homes (single family) (.6)
January      Asset                  01/13/21 JR              140 telephone call with A. Porter regarding requested items related to the single family home               0.5    0.010625       $1.49
2021         Disposition                                         portfolio (single family) (.5)
January      Asset                  01/13/21 JR              140 review property tax balances and update outstanding tax report related to all single family             2.1    0.044625       $6.25
2021         Disposition                                         homes and remaining unsold multi-family homes (single family) (2.1).

January      Asset                  01/13/21 JR              140 Review email from brokerage firm related to requested items related to single family homes              0.3    0.006375       $0.89
2021         Disposition                                         and respond accordingly (single family) (.3)
January      Asset                  01/13/21 JR              140 exchange correspondence with property management requesting due diligence items                         0.2     0.00425       $0.60
2021         Disposition                                         related to single family homes (single family) (.2)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
January      Asset                  01/15/21 JR              140 Review email from brokerage firm, confer with K. Duff and respond accordingly (single                  0.1    0.002125        $0.30
2021         Disposition                                         family) (.1)
January      Asset                  01/15/21 JR              140 review email from property management regarding previous request for foundation work                   0.2          0.2      $28.00
2021         Disposition                                         performed at property (2136 W 83rd Street) and provide details of work to brokerage firm
                                                                 (.2)
January      Asset                  01/18/21 MR              390 meeting on single family home sale (single family) (.9).                                               0.9    0.019125        $7.46
2021         Disposition
January      Asset                  01/18/21 MR              390 Review email regarding summary and issues for single family home sales (single family) (.2)            0.2     0.00425        $1.66
2021         Disposition
January      Asset                  01/21/21 AEP             390 conference call with receivership brokers, counsel for secured lenders, K. Duff, and M.                0.4      0.0085        $3.32
2021         Disposition                                         Rachlis regarding outcome of marketing effort for single family homes and next steps in sales
                                                                 process (single family) (.4)
January      Asset                  01/21/21 AEP             390 teleconference with K. Duff, M. Rachlis, and real estate broker regarding single-family home           0.4      0.0085        $3.32
2021         Disposition                                         marketing efforts (single family) (.4)
January      Asset                  01/21/21 AEP             390 Conference call with receivership brokers regarding results of "highest and best" bid                  0.5    0.010625        $4.14
2021         Disposition                                         submissions in connection with single-family home portfolio, bases for potentially low offer
                                                                 prices, and strategy for proceeding (single family) (.5)
January      Asset                  01/21/21 AEP             390 review title commitments for all single-family homes and create list of encumbrances                   0.6     0.01275        $4.97
2021         Disposition                                         potentially requiring hold harmless letters or other clearance (single family) (.6).

January      Asset                  01/21/21 JR              140 Telephone conference with K. Duff, M. Rachlis, A. Porter and brokerage firm regarding final            0.6     0.01275        $1.79
2021         Disposition                                         and best offers from interested buyers related to single family homes (single family) (.6)

January      Asset                  01/21/21 MR              390 follow up conference with K. Duff and A. Porter regarding single family home issues (single            0.3    0.006375        $2.49
2021         Disposition                                         family) (.3)
January      Asset                  01/21/21 MR              390 Attention to single family home issues with real estate broker (single family) (.6)                    0.6     0.01275        $4.97
2021         Disposition
January      Asset                  01/21/21 MR              390 conference regarding process with claimant's counsel and regarding single family home                  0.4      0.0085        $3.32
2021         Disposition                                         portfolio (single family) (.4)
January      Asset                  01/22/21 JR              140 draft water applications for the single-family homes (single family) (2.5)                             2.5    0.053125        $7.44
2021         Disposition
January      Asset                  01/27/21 AEP             390 Review rider to purchase and sale agreement tendered by prospective purchaser of single-               0.4      0.0085        $3.32
2021         Disposition                                         family homes and prepare e-mail to K. Duff regarding lack of corporate existence of signatory
                                                                 to agreement (single family) (.4)
January      Business               01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                           0.1 0.0009524          $0.37
2021         Operations
January      Business               01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                   0.5 0.0047619          $1.86
2021         Operations
January      Business               01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                         0.3 0.0028571          $1.11
2021         Operations                                          properties, and email correspondence with K. Duff regarding same (.3)
January      Business               01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                       4.1 0.0390476          $5.47
2021         Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
January      Business               01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond               0.1 0.0009524         $0.13
2021         Operations                                          accordingly regarding status review of same (.1)
January      Business               01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October              0.2 0.0019048         $0.27
2021         Operations                                          and November 2020 and forward same to her.
January      Business               01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                1.3    0.012381       $4.83
2021         Operations                                          property (1.3).
January      Business               01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                     1.9 0.0180952         $7.06
2021         Operations
January      Business               01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                    0.1 0.0009524         $0.13
2021         Operations                                          reporting (.1).
January      Business               01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                        2.4 0.0228571         $3.20
2021         Operations
January      Business               01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             3.4    0.032381      $12.63
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             0.9 0.0085714         $3.34
2021         Operations                                          completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January      Business               01/11/21 KMP             140 Prepare form for transfer of funds to financing company for insurance premium installment,          0.4 0.0076923         $1.08
2021         Operations                                          and communicate with bank representatives and K. Duff regarding same (.4)

January      Business               01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and             0.6 0.0057143         $2.23
2021         Operations                                          corrections necessary.
January      Business               01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for              0.3 0.0028571         $1.11
2021         Operations                                          analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January      Business               01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                0.4 0.0038095         $1.49
2021         Operations
January      Business               01/15/21 KMP             140 revise list of EB entities to include tax identification numbers (.5).                              0.5 0.0178571         $2.50
2021         Operations
January      Business               01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review               0.3 0.0028571         $1.11
2021         Operations                                          (.3).
January      Business               01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration            1.7 0.0161905         $6.31
2021         Operations                                          and reimbursable amounts as of September 31, 2020 (1.7)
January      Business               01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                        0.1 0.0009524         $0.37
2021         Operations
January      Business               01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                     1.2 0.0114286         $4.46
2021         Operations                                          transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January      Business               01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                          prepare same as per E. Duff's request.
January      Business               01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                          allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January      Business               01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                          properties (.6)
January      Business               01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                          and effect on data presented in September accounting reports (.4)

January      Business               01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business               01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                          and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January      Business               01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                          reports (1.7)
January      Business               01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                          updates (.8)
January      Business               01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Business               01/27/21 KMP             140 Prepare form for funds transfer to financing company for payment of insurance premium                0.4 0.0076923         $1.08
2021         Operations                                          installment and communicate with bank representative and K. Duff regarding same.

January      Business               01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance             0.4 0.0076923         $1.08
2021         Operations                                          premium financing, and forward to K. Duff.
January      Claims                 01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143         $0.80
2021         Administration                                      lenders.
             & Objections

February     Asset                  02/03/21 KBD             390 study correspondence from broker regarding communication with buyer regarding terms                  0.1    0.002125       $0.83
2021         Disposition                                         (single family) (.1)
February     Asset                  02/03/21 KBD             390 exchange correspondence with J. Rak regarding accounts for single family properties (single          0.1    0.002125       $0.83
2021         Disposition                                         family) (.1).
February     Asset                  02/04/21 KBD             390 Exchange correspondence with A. Porter regarding proposed rider to PSA (single family).              0.2     0.00425       $1.66
2021         Disposition
February     Asset                  02/05/21 KBD             390 attention to negotiation with buyer of single family portfolio (single family) (.3).                 0.3    0.006375       $2.49
2021         Disposition
February     Asset                  02/06/21 KBD             390 Study correspondence from A. Porter regarding negotiation with buyer of single family                0.2     0.00425       $1.66
2021         Disposition                                         portfolio (single family).




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
February     Asset                  02/08/21 KBD         390 Exchange correspondence regarding resolving due diligence issue with single family                     0.6     0.01275       $4.97
2021         Disposition                                     residence portfolio sale and related conference with A. Porter and real estate broker (single
                                                             family) (.6)
February     Asset                  02/09/21 KBD         390 Telephone conference with A. Porter regarding single family residence portfolio negotiations           0.5    0.010625       $4.14
2021         Disposition                                     with buyer and exchange additional correspondence (single family) (.5)

February     Asset                  02/10/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding revisions to                   0.3    0.006375       $2.49
2021         Disposition                                     purchase and sale agreement and related communications with purchaser's counsel (single
                                                             family).
February     Asset                  02/12/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and broker regarding                   0.2     0.00425       $1.66
2021         Disposition                                     negotiation with purchaser (single family) (.2)
February     Asset                  02/16/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.1    0.002125       $0.83
2021         Disposition                                     agreement changes (single family) (.1)
February     Asset                  02/17/21 KBD         390 Exchange correspondence with A. Porter regarding execution of purchase and sale                        0.1    0.002125       $0.83
2021         Disposition                                     agreement (single family) (.1)
February     Asset                  02/23/21 KBD         390 Exchange correspondence regarding sale and inspections (single family) (.1)                            0.1    0.002125       $0.83
2021         Disposition
February     Asset                  02/23/21 KBD         390 attention to joint order escrow instructions (single family) (.1).                                     0.1    0.002125       $0.83
2021         Disposition
February     Asset                  02/24/21 KBD         390 Attention to wire of earnest money and communications with purchaser and broker (single                0.2     0.00425       $1.66
2021         Disposition                                     family).
February     Business               02/02/21 KBD         390 Exchange correspondence regarding real estate tax planning (.2)                                        0.2 0.0040816         $1.59
2021         Operations
February     Business               02/08/21 KBD         390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)                 0.2 0.0040816         $1.59
2021         Operations
February     Business               02/10/21 KBD         390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                     0.4 0.0093023         $3.63
2021         Operations                                      Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                             Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                             1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue) (.4).

February     Business               02/11/21 KBD         390 exchange correspondence with J. Wine regarding property manager financial reporting (.1).              0.1      0.0025       $0.98
2021         Operations




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February     Business               02/15/21 KBD         390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S                  0.3 0.0069767         $2.72
2021         Operations                                      Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                             Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                             1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue) (.3).

February     Business               02/15/21 KBD         390 exchange correspondence with J. Rak regarding property tax balances and study information             0.2 0.0040816         $1.59
2021         Operations                                      (.2)
February     Claims                 02/11/21 KBD         390 work on single claims process and timing (.3)                                                         0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                 02/12/21 KBD         390 work on single claims process and timing (.3)                                                         0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                 02/12/21 KBD         390 confer with J. Wine and M. Rachlis regarding single claim process (.5).                               0.5 0.0178571         $6.96
2021         Administration
             & Objections

February     Claims                 02/16/21 KBD         390 Exchange correspondence with lenders' counsel regarding real estate taxes (4611-17 S Drexel           0.2 0.0010625         $0.41
2021         Administration                                  Boulevard, 7255-57 S Euclid Avenue, 638-40 N Avers Avenue, single family) (.2)
             & Objections

February     Claims                 02/16/21 KBD         390 exchange correspondence with J. Wine regarding process for single claim properties and                0.2 0.0071429         $2.79
2021         Administration                                  study compiled information (.2).
             & Objections

February     Asset                  02/02/21 AEP         390 teleconference with prospective purchaser of single-family home portfolio regarding                   0.3    0.006375       $2.49
2021         Disposition                                     negotiation of inspection contingency in language of purchase and sale agreement (single
                                                             family) (.3).
February     Asset                  02/02/21 AEP         390 Conference with J. Rak regarding all outstanding items associated with all properties                 2.1    0.044625      $17.40
2021         Disposition                                     currently subject to motions to confirm and strategy for preparation of closing documents
                                                             associated with prospective conveyance of single-family home portfolio (single family) (2.1)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
February     Asset                  02/02/21 JR              140 Discuss single family home production of document status and draft same (single family).                 2.5    0.053125       $7.44
2021         Disposition
February     Asset                  02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for                 0.2     0.00085       $0.12
2021         Disposition                                         net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                 Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February     Asset                  02/04/21 AEP             390 Read proposed rider submitted by prospective purchaser of single-family home portfolio,                  0.4      0.0085       $3.32
2021         Disposition                                         edit and revise same, and transmit to broker with explanation for refusal to make certain
                                                                 changes (single family).
February     Asset                  02/04/21 MR              390 attention to single family home issues (single family) (.2).                                             0.2     0.00425       $1.66
2021         Disposition
February     Asset                  02/05/21 AEP             390 Teleconference with receivership broker regarding remaining disputed issues pertaining to                0.2     0.00425       $1.66
2021         Disposition                                         buyer inspection contingency rights in single-family home purchase and sale contract (single
                                                                 family).
February     Asset                  02/06/21 AEP             390 Read and respond to e-mail from counsel for secured lenders regarding status of negotiation              0.1    0.002125       $0.83
2021         Disposition                                         of purchase and sale contract associated with conveyance of single-family home portfolio
                                                                 (single family) (.1)
February     Asset                  02/06/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3    0.006375       $2.49
2021         Disposition                                         potential modifications to contract pertaining to inspection contingency rights (single family)
                                                                 (.3).
February     Asset                  02/08/21 AEP             390 conference call with counsel for prospective purchaser of single-family home portfolio                   0.9    0.019125       $7.46
2021         Disposition                                         regarding potential resolution of impasse over due diligence language in form purchase and
                                                                 sale agreement (single family) (.6) and preparation of e-mail to receiver and receivership
                                                                 brokers describing impasse and soliciting input on potential solutions (single family) (.3)

February     Asset                  02/09/21 AEP             390 teleconference with K. Duff regarding status of negotiations over purchase and sale of single-           0.2     0.00425       $1.66
2021         Disposition                                         family homes (single family) (.2).
February     Asset                  02/09/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.1    0.002125       $0.83
2021         Disposition                                         regarding agreed changes to inspection contingency provision of purchase and sale contract
                                                                 (single family) (.1)
February     Asset                  02/10/21 AEP             390 Prepare e-mail to receivership broker responding to inquiry regarding status of negotiation              0.2     0.00425       $1.66
2021         Disposition                                         of purchase and sale agreement associated with single-family home portfolio (single family)
                                                                 (.2)
February     Asset                  02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                        0.2 0.0041667         $0.58
2021         Disposition
February     Asset                  02/12/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.3    0.006375       $2.49
2021         Disposition                                         regarding purchaser's counteroffer relating to inspection contingency language and convey
                                                                 summary of deal status to K. Duff and receivership broker (single family) (.3)

February     Asset                  02/12/21 AEP             390 teleconference with K. Duff and receivership broker regarding relative merits of counteroffer            0.2     0.00425       $1.66
2021         Disposition                                         received from prospective purchaser of single family homes (single family) (.2)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February     Asset                  02/12/21 AEP             390 revise proposed purchase and sale agreement pertaining to single-family home portfolio and              0.2     0.00425       $1.66
2021         Disposition                                         transmit same to counsel for prospective purchaser (single family) (.2).

February     Asset                  02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                 0.4 0.0036697         $0.51
2021         Disposition                                         and status of same (.4)
February     Asset                  02/12/21 JR              140 review current property tax information and payment availability from property                          0.2 0.0040816         $0.57
2021         Disposition                                         management and provide same to K. Duff (.2)
February     Asset                  02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                                0.3 0.0061224         $0.86
2021         Disposition
February     Asset                  02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                  0.2 0.0041667         $0.58
2021         Disposition                                         property taxes (.2)
February     Asset                  02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                          0.2 0.0040816         $0.57
2021         Disposition                                         payment plan arrangement for same (.2).
February     Asset                  02/17/21 AEP             390 Review proposed modified purchase and sale contract submitted by prospective purchaser                  0.2     0.00425       $1.66
2021         Disposition                                         of single-family home portfolio and approve execution of same by receiver (single family) (.2)

February     Asset                  02/19/21 JR              140 update water applications for single family home portfolio with legal descriptions (single              1.2      0.0255       $3.57
2021         Disposition                                         family) (1.2)
February     Asset                  02/19/21 JR              140 draft zoning applications for single family home portfolio (single family) (3.1).                       3.1    0.065875       $9.22
2021         Disposition
February     Asset                  02/23/21 AEP             390 Teleconference with title insurance company escrow officer regarding form of SJO                        0.2     0.00425       $1.66
2021         Disposition                                         instructions associated with single-family home portfolio (single family) (.2)
February     Asset                  02/23/21 AEP             390 prepare SJO instructions associated with single-family home portfolio and circulate for                 0.1    0.002125       $0.83
2021         Disposition                                         signatures (single family) (.1)
February     Asset                  02/25/21 JR              140 review single family home purchase and sale contract and update closing documents with                  1.6       0.034       $4.76
2021         Disposition                                         buyer information (single family) (1.6).
February     Business               02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                             0.4 0.0081633         $1.14
2021         Operations                                          management requesting availability of same for payments of outstanding property taxes.

February     Business               02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation               0.2 0.0019048         $0.74
2021         Operations                                          of October 2020 accounting reports.
February     Business               02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,                 3.2 0.0304762         $4.27
2021         Operations                                          November and December and produce same in preparation for review.
February     Business               02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                   1.1 0.0104762         $4.09
2021         Operations
February     Business               02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                               0.2 0.0019048         $0.27
2021         Operations
February     Business               02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                     3.6 0.0342857         $4.80
2021         Operations
February     Business               02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial               0.3 0.0028571         $0.40
2021         Operations                                          reporting.




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
February     Business               02/26/21 KMP         140 Prepare form for funds transfer to finance company for property insurance installment                  0.3 0.0057692         $0.81
2021         Operations                                      payment, and communicate with K. Duff and bank representatives regarding same.

February     Claims                 02/12/21 JRW         260 conference with K. Duff and M. Rachlis regarding claims review project, claims distribution            1.5 0.0535714        $13.93
2021         Administration                                  project, and process for single-claim properties (1.5)
             & Objections

February     Claims                 02/16/21 JRW         260 perform analysis of properties with single claim and related correspondence to team (1.9).             1.9 0.0678571        $17.64
2021         Administration
             & Objections

March 2021 Asset                    03/01/21 KBD         390 attention to purchaser inspection of properties and exchange correspondence with real                  0.3    0.006375       $2.49
           Disposition                                       estate broker regarding efforts to complete sale (single family) (.3).
March 2021 Asset                    03/15/21 KBD         390 Draft correspondence to A. Porter regarding efforts to complete sale of properties (single             0.1    0.002125       $0.83
           Disposition                                       family).
March 2021 Asset                    03/17/21 KBD         390 Exchange correspondence with A. Porter regarding purchase and sale agreement                           0.1    0.002125       $0.83
           Disposition                                       amendment (single family) (.1)
March 2021 Asset                    03/22/21 KBD         390 Exchange correspondence with A. Porter regarding second amendment to purchase and sale                 0.1    0.002125       $0.83
           Disposition                                       agreement (single family).
March 2021 Asset                    03/26/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding buyer                          0.5    0.010625       $4.14
           Disposition                                       communication relating to conditions of single family residence (single family).
March 2021 Asset                    03/29/21 KBD         390 Telephone conference with A. Porter regarding buyer request for credit (single family) (.2)            0.2     0.00425       $1.66
           Disposition
March 2021 Asset                    03/29/21 KBD         390 confer with real estate broker and A. Porter regarding buyer's request for credit and                  0.5    0.010625       $4.14
           Disposition                                       available options (single family) (.5)
March 2021 Asset                    03/29/21 KBD         390 telephone conference with A. Porter regarding buyer's request for credit and available                 0.2     0.00425       $1.66
           Disposition                                       options (single family) (.2)
March 2021 Asset                    03/29/21 KBD         390 follow up call with real estate broker and A. Porter regarding buyer's request for credit and          1.3    0.027625      $10.77
           Disposition                                       available options (single family) (1.3)
March 2021 Asset                    03/30/21 KBD         390 confer with lender's counsel and A. Porter regarding negotiation over buyer's request for              0.2     0.00425       $1.66
           Disposition                                       credit and broker's commission (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 further confer with real estate broker regarding negotiation over buyer's request for credit           0.2     0.00425       $1.66
           Disposition                                       and broker's commission and planning for closing (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 Confer on multiple calls with real estate broker and A. Porter regarding negotiation over              0.7    0.014875       $5.80
           Disposition                                       buyer's request for credit and broker's commission (single family) (.7)

March 2021 Asset                    03/30/21 KBD         390 review amendments to sale agreement and commission agreement (single family) and                       0.2     0.00425       $1.66
           Disposition                                       related communication with A. Porter (single family) (.2)
March 2021 Asset                    03/31/21 KBD         390 exchange correspondence with A. Porter regarding second amendment to PSA and closing                   0.2     0.00425       $1.66
           Disposition                                       for sale of properties (single family) (.2)
March 2021 Asset                    03/31/21 KBD         390 exchange correspondence with A. Porter regarding allocations for single family portfolio               0.2     0.00425       $1.66
           Disposition                                       properties (single family) (.2).




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  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2021 Business                 03/02/21 KBD         390 attention to property inspections (single family) (.1).                                                0.1    0.002125        $0.83
           Operations
March 2021 Business                 03/11/21 KBD         390 study other property manager financial reporting (.3).                                                 0.3 0.0076923          $3.00
           Operations
March 2021 Business                 03/11/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.4         0.01       $3.90
           Operations                                        W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                             Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                             S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                             Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.4)


March 2021 Business                 03/15/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.5      0.0125        $4.88
           Operations                                        W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                             Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                             S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                             Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.5)


March 2021 Business                 03/16/21 KBD         390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816          $1.59
           Operations
March 2021 Business                 03/22/21 KBD         390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224          $2.39
           Operations                                        remaining properties.
March 2021 Business                 03/30/21 KBD         390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816          $1.59
           Operations
March 2021 Claims                   03/01/21 KBD         390 work on single claim process and exchange correspondence with J. Wine regarding process                0.3 0.0107143          $4.18
           Administration                                    issues (.3).
           & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Claims                   03/03/21 KBD         390 work on single claim process and study correspondence from J. Wine regarding process                   0.2 0.0071429         $2.79
           Administration                                    issues (.2)
           & Objections

March 2021 Claims                   03/11/21 KBD         390 study proposed process for single claim properties (.3)                                                0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                   03/11/21 KBD         390 confer and exchange correspondence with M. Rachlis and J. Wine regarding single claim                  1.2 0.0428571        $16.71
           Administration                                    properties single claim properties (1.2).
           & Objections

March 2021 Claims                   03/12/21 KBD         390 exchange correspondence regarding single claims process (.1).                                          0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Claims                   03/12/21 KBD         390 confer with J. Wine and A. Porter regarding potential single claim properties and related              0.8 0.0285714        $11.14
           Administration                                    issues (.8)
           & Objections

March 2021 Claims                   03/14/21 KBD         390 Analysis of single claim process (.3)                                                                  0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                   03/15/21 KBD         390 telephone conference with claimant's counsel and J. Wine regarding single claim properties             0.5 0.0178571         $6.96
           Administration                                    and process (.5)
           & Objections

March 2021 Claims                   03/19/21 KBD         390 Prepare for and participate in telephone conference with claimants counsel and J. Wine                 0.8       0.017       $6.63
           Administration                                    regarding single claim process and potential third path to claims resolution for certain
           & Objections                                      properties, sale of single family portfolio, and potential alternatives for claims resolution
                                                             (single family) (.8)
March 2021 Claims                   03/31/21 KBD         390 study correspondence from claimant's counsel regarding potential properties for single claim           0.2 0.0071429         $2.79
           Administration                                    process (.2)
           & Objections

March 2021 Claims                   03/31/21 KBD         390 study correspondence from J. Wine regarding single claim process (.1)                                  0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Asset                    03/01/21 AEP         390 Communications with buyer's counsel, lender's counsel, management companies, and                       0.4      0.0085       $3.32
           Disposition                                       brokers regarding prospective purchase and sale of single-family home portfolio regarding
                                                             property inspection process (single family) (.4)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
March 2021 Asset                    03/01/21 AEP             390 teleconference with title company underwriters regarding status of transaction, status of            0.3    0.006375       $2.49
           Disposition                                           review of remaining exceptions to title, and potential closing date (single family) (.3).

March 2021 Asset                    03/17/21 AEP             390 Review and revise proposed amendment to purchase and sale contract pertaining to single-             0.2     0.00425       $1.66
           Disposition                                           family home portfolio and forward same to K. Duff for execution (single family).

March 2021 Asset                    03/23/21 JR              140 Review title commitments and legal descriptions for various parcels and draft closing                1.8 0.1285714        $18.00
           Disposition                                           documents for single family homes related to EB South Chicago 1 LLC (1017 W 102nd Street,
                                                                 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue) (1.8)

March 2021 Asset                    03/23/21 JR              140 exchange correspondence with A. Porter regarding discrepancies found on the title                    0.2 0.0142857         $2.00
           Disposition                                           commitment and missing legal descriptions regarding same (1017 W 102nd Street, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                                 Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                 S Parnell Avenue) (.2).
March 2021 Asset                    03/24/21 AEP             390 Conference call with N. Gastevich and J. Rak regarding status of preparation of closing              0.2     0.00425       $1.66
           Disposition                                           documents associated with properties in tenth and eleventh motions to confirm sales, as
                                                                 well as single-family home portfolio (single family).
March 2021 Asset                    03/24/21 JR              140 Draft closing documents for single family homes (single family).                                     6.6     0.14025      $19.64
           Disposition
March 2021 Asset                    03/29/21 AEP             390 Review letter from counsel for prospective purchaser of single-family home portfolio                 1.8     0.03825      $14.92
           Disposition                                           requesting credits for alleged undisclosed latent defects, review all inspection reports
                                                                 associated with corresponding alleged defects, teleconference with K. Duff regarding
                                                                 potential response to purchaser, and teleconference with counsel for prospective purchaser
                                                                 regarding timing of response, timing of response to title commitment exception letter, and
                                                                 timing of motion to confirm and potential scheduling of closing (single family) (1.8)

March 2021 Asset                    03/29/21 AEP             390 teleconference with receivership brokers regarding strategy for responding to single-family          0.5    0.010625       $4.14
           Disposition                                           home offer received from prospective purchaser (single family) (.5)
March 2021 Asset                    03/29/21 AEP             390 teleconference with K. Duff regarding offer from prospective purchaser of single family              0.2     0.00425       $1.66
           Disposition                                           homes (single family) (.2)
March 2021 Asset                    03/29/21 AEP             390 teleconference with receivership brokers to analyze credit requests and formulate strategy           1.3    0.027625      $10.77
           Disposition                                           for responding to single- family home offer received (single family) (1.3).

March 2021 Asset                    03/30/21 AEP             390 continued series of conference calls with receivership brokers, counsel for secured lender,          1.5    0.031875      $12.43
           Disposition                                           and K. Duff regarding negotiation of resolution to purchase price credit demanded by
                                                                 prospective purchaser of single-family homes (single family) (1.5).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding strategy for negotiating with            0.3    0.006375       $2.49
           Disposition                                           prospective purchaser of single-family homes (single family) (.3)
March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding proposed offer of credit in              0.2     0.00425       $1.66
           Disposition                                           connection with prospective sale of single-family homes (single family) (.2)

March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and counsel for secured lender regarding strategy for negotiating           0.2     0.00425       $1.66
           Disposition                                           resolution of impasse with prospective purchaser of single-family homes (single family) (.2)

March 2021 Asset                    03/30/21 JR              140 exchange correspondence with A. Porter requesting update to single family home purchase                 0.1    0.002125       $0.30
           Disposition                                           and sale contract status relating to the inspection period (single family) (.1).

March 2021 Asset                    03/30/21 JR              140 Review amendments to purchase and sale contract related to properties (single family) (.1)              0.1    0.002125       $0.30
           Disposition
March 2021 Asset                    03/30/21 KMP             140 Revise correspondence relating to amendment of representation agreement for single family               0.3    0.006375       $0.89
           Disposition                                           homes, and communicate with K. Duff and A. Porter regarding same (single family) (.3)

March 2021 Asset                    03/31/21 AEP             390 review proposed revisions to draft second amendment to purchase and sale agreement                      0.5    0.010625       $4.14
           Disposition                                           relating to single-family home portfolio, communicate with K. Duff regarding same, prepare
                                                                 second draft of second amendment, and transmit same to purchaser's counsel and
                                                                 receivership brokers (single family) (.5)
March 2021 Asset                    03/31/21 AEP             390 continue preparation of thirteenth motion to confirm sale of single-family home portfolio               0.7    0.014875       $5.80
           Disposition                                           (single family) (.7)
March 2021 Asset                    03/31/21 AEP             390 Begin preparation of thirteenth motion to confirm sale of single-family home portfolio (single          0.8       0.017       $6.63
           Disposition                                           family) (.8)
March 2021 Asset                    03/31/21 AEP             390 prepare e-mail to counsel for secured lenders on single-family home portfolio regarding                 0.2     0.00425       $1.66
           Disposition                                           need for allocation of sales proceeds among individual properties prior to filing motion to
                                                                 confirm (single family) (.2)
March 2021 Asset                    03/31/21 AEP             390 prepare e-mail to receivership brokers regarding necessity of sworn declaration describing              0.2     0.00425       $1.66
           Disposition                                           marketing process of single-family home portfolio, including specific facts needed to support
                                                                 motion to confirm sale (single family) (.2)
March 2021 Asset                    03/31/21 AEP             390 teleconference with J. Rak regarding imminent execution of single-family home portfolio                 0.1    0.002125       $0.83
           Disposition                                           purchase and sale agreement and preparation of closing documentation (single family) (.1)

March 2021 Asset                    03/31/21 AEP             390 e-mail communications with K. Duff regarding negotiation of allocations of sales proceeds               0.1    0.002125       $0.83
           Disposition                                           among single-family home properties (single family) (.1)
March 2021 Asset                    03/31/21 JR              140 Exchange communication with A. Porter regarding property portfolio (single family) (.3)                 0.3    0.006375       $0.89
           Disposition
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                      0.3 0.0028571         $1.11
           Operations
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                             2.2 0.0209524         $8.17
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                   0.7 0.0066667         $2.60
           Operations


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
March 2021 Business                 03/11/21 KMP             140 Attention to communication with property manager regarding February 2021 financial                  0.1      0.0025       $0.35
           Operations                                            reporting (.1)
March 2021 Business                 03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                            0.1 0.0019231         $0.27
           Operations
March 2021 Business                 03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and            0.3 0.0057692         $0.81
           Operations                                            communications with K. Duff and bank representative regarding same (.3)

March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048         $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429         $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524         $0.37
           Operations
March 2021 Claims                   03/01/21 JRW             260 review transcript of proceedings and correspondence with K. Duff and M. Rachlis regarding           0.5    0.010625       $2.76
           Administration                                        process for addressing single-claim properties (single family) (.5)
           & Objections

March 2021 Claims                   03/01/21 JRW             260 confer with A. Porter regarding potential single claim properties (.1)                              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                   03/01/21 MR              390 Attention to issues regarding claims process for handling single family claims, updates on          0.4      0.0085       $3.32
           Administration                                        claims information, and materials to claims vendor.
           & Objections

March 2021 Claims                   03/02/21 JRW             260 exchange correspondence with claimant's counsel regarding single claim properties (.1)              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW             260 cursory review of proposal for single claims process and related correspondence to K. Duff          0.1 0.0035714         $0.93
           Administration                                        and M. Rachlis (.1)
           & Objections

March 2021 Claims                   03/03/21 JRW             260 confer with K. Duff and M. Rachlis regarding single claims process (.1)                             0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW             260 update spreadsheet and related email exchange with A. Porter regarding potential single             0.6 0.0214286         $5.57
           Administration                                        claim properties (.6)
           & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Claims                   03/03/21 JRW         260 conference call with claimants' counsel regarding process for single-claim properties (.5)             0.5 0.0178571         $4.64
           Administration
           & Objections

March 2021 Claims                   03/11/21 MR          390 Participate in call regarding single claims issues (1.5)                                               1.5 0.0535714        $20.89
           Administration
           & Objections

March 2021 Claims                   03/11/21 MR          390 review material regarding same (.4).                                                                   0.4 0.0142857         $5.57
           Administration
           & Objections

March 2021 Claims                   03/12/21 JRW         260 correspond with K. Duff regarding claims against single family residence portfolio (single             0.1    0.002125       $0.55
           Administration                                    family) (.1).
           & Objections

March 2021 Claims                   03/12/21 JRW         260 Conference with A. Porter, and K. Duff regarding single-claim properties and EBF mortgagees            1.6 0.0615385        $16.00
           Administration                                    (1.1), related correspondence with claimants' counsel (.1), and review records on Recorder
           & Objections                                      of Deeds site and related correspondence to K. Duff and A. Porter (.4) (1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                   03/15/21 JRW         260 prepare for and telephone conference with claimant's counsel and K. Duff regarding process             0.7 0.0269231         $7.00
           Administration                                    for the resolution of claims against properties (.5), and related legal research (.2) (1017 W
           & Objections                                      102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                             11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue)




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2021 Claims                   03/19/21 JRW         260 telephone conference with claimants' counsel regarding process for single-claim properties             1.0 0.0384615         $10.00
           Administration                                    (.8) and related review of spreadsheets regarding EBF mortgagees (.2) (1017 W 102nd Street,
           & Objections                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                   03/23/21 JRW         260 research recorder of deeds site and claim submission regarding purported single claim                  2.5 0.0961538         $25.00
           Administration                                    properties identified by claimant and update spreadsheet regarding same (1017 W 102nd
           & Objections                                      Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                             7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                             11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (2.5)

March 2021 Claims                   03/31/21 JRW         260 study chart from claimants' counsel and related analysis to K. Duff (.4) and continue                  1.3         0.05      $13.00
           Administration                                    analyzing claims against properties (.9) (1017 W 102nd Street, 1516 E 85th Place, 2136 W
           & Objections                                      83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                             6759 S Indiana Avenue).

April 2021   Asset                  04/02/21 KBD         390 Study allocations of value, costs, and commission and various related correspondence (single           0.2     0.00425        $1.66
             Disposition                                     family).
April 2021   Asset                  04/05/21 KBD         390 Work on motion to approve sale and exchange related correspondence (single family) and                 0.3    0.006375        $2.49
             Disposition                                     exchange related correspondence with A. Porter.
April 2021   Asset                  04/06/21 KBD         390 Exchange correspondence with A. Porter regarding closing costs and efforts to reduce (single           0.2     0.00425        $1.66
             Disposition                                     family) (.2)
April 2021   Asset                  04/06/21 KBD         390 study and revise motion to approve sale and exchange various related correspondence                    0.5    0.010625        $4.14
             Disposition                                     (single family) (.5).
April 2021   Asset                  04/07/21 KBD         390 Telephone conference with A. Porter regarding draft motion to approve sale of single family            0.2     0.00425        $1.66
             Disposition                                     residence portfolio, communications with lender's counsel, property values, closing credits,
                                                             and allocations (single family) (.2)
April 2021   Asset                  04/07/21 KBD         390 study draft motion to approve sale of single family residence portfolio (single family) (.2).          0.2     0.00425        $1.66
             Disposition


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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Asset                  04/08/21 KBD         390 Work on motion to approve sale of properties (single family).                                        0.2     0.00425       $1.66
             Disposition
April 2021   Asset                  04/09/21 KBD         390 Exchange correspondence with A. Porter regarding revision to and filing of motion to                 0.2     0.00425       $1.66
             Disposition                                     approve sale of properties (single family).
April 2021   Asset                  04/10/21 KBD         390 Exchange correspondence regarding filing and service of motion to approve sale of                    0.2     0.00425       $1.66
             Disposition                                     properties (single family).
April 2021   Asset                  04/12/21 KBD         390 Exchange various correspondence regarding filing of motion to approve sale of properties             0.2     0.00425       $1.66
             Disposition                                     (single family).
April 2021   Asset                  04/15/21 KBD         390 Exchange correspondence with J. Rak regarding property value allocation (single family).             0.2     0.00425       $1.66
             Disposition
April 2021   Asset                  04/26/21 KBD         390 exchange correspondence regarding single family residence motion and plans for entry of              0.2     0.00425       $1.66
             Disposition                                     order (single family) (.2).
April 2021   Asset                  04/27/21 KBD         390 Work on single family residence motion and entry of order (single family) (.1)                       0.1    0.002125       $0.83
             Disposition
April 2021   Business               04/06/21 KBD         390 Study correspondence from E. Duff regarding accounting reports for lender (single family).           0.2     0.00425       $1.66
             Operations
April 2021   Business               04/13/21 KBD         390 Telephone conference with S. Zjalic regarding restoration of funds and property managers'            0.1 0.0038462         $1.50
             Operations                                      documentation (.1)
April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                      Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                             East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham) (.2)


April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding planning for and payment of real estate                0.3     0.00625       $2.44
             Operations                                      taxes and related communications with property manager (.3)




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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/13/21 KBD         390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                      7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                             Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                             1414-18 East 62nd Place) (.3)

April 2021   Business               04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                      property managers regarding to same (1.0)
April 2021   Business               04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                      7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business               04/19/21 KBD         390 exchange correspondence with S. Zjalic regarding property expense analysis and restoration           0.2 0.0076923         $3.00
             Operations                                      (.2).




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Business               04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-            0.3 0.0065217         $2.54
             Operations                                      06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3)

April 2021   Business               04/23/21 KBD         390 Exchange correspondence with S. Zjalic regarding property expenses and third restoration               0.2 0.0076923         $3.00
             Operations                                      motion.
April 2021   Business               04/27/21 KBD         390 study information from S. Zjalic regarding property expenses and restoration issues (.2)               0.2 0.0076923         $3.00
             Operations
April 2021   Business               04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                      insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                             Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.8)




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business               04/29/21 KBD         390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                      J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                             85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                             Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                             S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                             W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                             2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                             1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                             East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)


April 2021   Business               04/30/21 KBD         390 exchange correspondence with S. Zjalic regarding property expenses (.1).                             0.1 0.0038462         $1.50
             Operations




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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/30/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Claims                 04/08/21 KBD         390 study chart, spreadsheet, and mortgage record regarding single claim properties and process          0.3 0.0107143         $4.18
             Administration                                  and exchange related correspondence (.3)
             & Objections

April 2021   Claims                 04/14/21 KBD         390 Telephone conference with SEC (.8)                                                                   0.8 0.0285714        $11.14
             Administration
             & Objections

April 2021   Claims                 04/15/21 KBD         390 study correspondence from J. Wine regarding single claim process (.3).                               0.3 0.0107143         $4.18
             Administration
             & Objections

April 2021   Claims                 04/21/21 KBD         390 study correspondence from claimant's counsel regarding single claim properties (.1).                 0.1 0.0035714         $1.39
             Administration
             & Objections

April 2021   Claims                 04/26/21 KBD         390 work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            0.3 0.0115385         $4.50
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette
             & Objections                                    Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S
                                                             Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E
                                                             87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                             Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                             8517 S Vernon Avenue,2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue) (.3)




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Claims                 04/28/21 KBD         390 Telephone conference with J. Wine in preparation for call with claimants' counsel regarding            0.1 0.0035714         $1.39
             Administration                                  process for single claim properties (.1)
             & Objections

April 2021   Claims                 04/28/21 KBD         390 draft correspondence to claimants' counsel regarding call and planning for process for single          0.1 0.0035714         $1.39
             Administration                                  claim properties and exchange related correspondence (.1).
             & Objections

April 2021   Claims                 04/29/21 KBD         390 review spreadsheets, property and claims information, and various correspondence relating              0.5 0.0192308         $7.50
             Administration                                  to potential lender properties to be included in single claim process (1017 W 102nd Street,
             & Objections                                    1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue) (.5).

April 2021   Claims                 04/29/21 KBD         390 telephone conference with J. Wine regarding potential lender properties to be included in              0.4 0.0153846         $6.00
             Administration                                  single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
             & Objections                                    Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.4)

April 2021   Claims                 04/30/21 KBD         390 study correspondence and information regarding single claim properties (1017 W 102nd                   0.2 0.0153846         $6.00
             Administration                                  Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                    7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue) (.2)
April 2021   Asset                  04/01/21 AEP         390 teleconference with counsel for secured lenders regarding process for allocating values                0.6     0.01275       $4.97
             Disposition                                     across all individual properties in single-family home portfolio (single family) (.6)

April 2021   Asset                  04/01/21 AEP         390 Review title commitment for each property in single-family home portfolio, create list of              4.2     0.08925      $34.81
             Disposition                                     special exceptions requiring attention and create exhibit to forthcoming motion to confirm
                                                             identifying all encumbrances on all 38 properties (single family) (4.2)

April 2021   Asset                  04/01/21 AEP         390 communications with prospective purchaser of single-family homes regarding earnest                     0.1    0.002125       $0.83
             Disposition                                     money wiring instructions (single family) (.1)
April 2021   Asset                  04/01/21 AEP         390 prepare communications to property managers regarding restrictions on new leases and                   0.1    0.002125       $0.83
             Disposition                                     building security at single-family homes (single family) (.1)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                          0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                  04/02/21 AEP             390 communications with lenders' counsel regarding methodology for allocating values of single-               0.2     0.00425       $1.66
             Disposition                                         family home properties (single family) (.2)
April 2021   Asset                  04/02/21 AEP             390 review chain of title for every single property in single-family home portfolio and compile list          4.1    0.087125      $33.98
             Disposition                                         of all mortgage encumbrances against same in connection with finalization of title
                                                                 commitments and preparation of motion to confirm sale (single family) (4.1).

April 2021   Asset                  04/02/21 AEP             390 review spreadsheet prepared by title company, communicate with K. Duff regarding                          0.8       0.017       $6.63
             Disposition                                         estimate of fire damage sustained at single-family home property, merge spreadsheets,
                                                                 prepare final draft of proposed allocations of value of single-family homes, and transmit
                                                                 same to title company and lender's counsel requesting prompt review and finalization (single
                                                                 family) (.8)
April 2021   Asset                  04/02/21 AEP             390 prepare spreadsheet of single-family homes, review purchaser's inspection contingency price               1.2      0.0255       $9.95
             Disposition                                         reduction demands, confer with K. Duff, and create proposed allocations of value for
                                                                 inclusion in thirteenth motion to confirm sales (single family) (1.2)

April 2021   Asset                  04/05/21 AEP             390 continue preparing motion to confirm sale of single-family homes and accompanying                         1.6       0.034      $13.26
             Disposition                                         exhibits (single family) (1.6)
April 2021   Asset                  04/05/21 AEP             390 prepare first draft of brokers declaration regarding single-family home marketing process                 0.4      0.0085       $3.32
             Disposition                                         (single family) (.4)
April 2021   Asset                  04/05/21 JRW             260 related review of offering memorandum (single family) (.1)                                                0.1    0.002125       $0.55
             Disposition
April 2021   Asset                  04/05/21 JRW             260 Review and revise 13th motion to confirm sales (single family) (.3)                                       0.3    0.006375       $1.66
             Disposition
April 2021   Asset                  04/06/21 AEP             390 teleconference with title company regarding final computation of agency fees and                          0.2     0.00425       $1.66
             Disposition                                         mechanics and timeline for closing of single-family homes portfolio (single family) (.2)

April 2021   Asset                  04/06/21 AEP             390 teleconferences with title underwriters regarding various approaches to structuring closing               0.4      0.0085       $3.32
             Disposition                                         of single-family portfolio sale (single family) (.4)
April 2021   Asset                  04/06/21 AEP             390 incorporate J. Wine's comments into draft motion to confirm sale of single-family home                    0.1    0.002125       $0.83
             Disposition                                         portfolio (single family) (.1)
April 2021   Asset                  04/06/21 AEP             390 review offering memorandum relating to single-family home portfolio and revise sworn                      0.2     0.00425       $1.66
             Disposition                                         declaration of receivership broker (single family) (.2)
April 2021   Asset                  04/06/21 AEP             390 communications with M. Rachlis and K. Duff regarding valuation methodology relating to                    0.2     0.00425       $1.66
             Disposition                                         motion to confirm sale of single-family home portfolio (single family) (.2)

April 2021   Asset                  04/06/21 AEP             390 teleconference with title underwriters regarding additional issues associated with closing of             0.3    0.006375       $2.49
             Disposition                                         sale of single-family homes, including allocations of closing costs and proof of notice to
                                                                 affected mortgagees (single family) (.3)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                             Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                              Hours        Fees
April 2021   Asset                  04/06/21 AEP             390 continue preparation of motion to confirm sales of single-family homes portfolio, including                  2.1    0.044625      $17.40
             Disposition                                         preparation of proposed order, preparation of remaining exhibits, final reconciliation of
                                                                 declaration of receivership broker with factual assertions in brief, assemble all
                                                                 documentation, and forward to receiver with request for final comments (single family) (2.1)

April 2021   Asset                  04/06/21 AEP             390 review all title exceptions by prospective purchaser of single-family homes, research same,                  3.8     0.08075      $31.49
             Disposition                                         and prepare comprehensive list of remaining action items associated with requirement to
                                                                 convey clean title (single family) (3.8).
April 2021   Asset                  04/06/21 JR              140 review email from A. Porter regarding zoning certificates for single family homes, update                    1.8     0.03825       $5.36
             Disposition                                         same and further correspond with the title company requesting to process in anticipation for
                                                                 closing (single family) (1.8).
April 2021   Asset                  04/06/21 MR              390 Attention to 13th sales motion (single family) (.2) communicate regarding same with A.                       0.4      0.0085       $3.32
             Disposition                                         Porter and other team members on methodology for single family homes (single family) (.2).

April 2021   Asset                  04/07/21 AEP             390 teleconference with K. Duff regarding final allocation issues associated with motion to                      0.2     0.00425       $1.66
             Disposition                                         confirm sale of single-family home portfolio (single family) (.2)
April 2021   Asset                  04/07/21 AEP             390 make final edits to motion to confirm sale of single-family home portfolio, assemble all                     0.5    0.010625       $4.14
             Disposition                                         exhibits, and transmit to counsel for institutional lender for final review prior to filing (single
                                                                 family) (.5).
April 2021   Asset                  04/08/21 AEP             390 Communications with title company regarding processing of zoning certificates for single-                    0.2     0.00425       $1.66
             Disposition                                         family homes, correction of errors regarding unit counts, and timing of processing of water
                                                                 certificates (single family) (.2)
April 2021   Asset                  04/08/21 AEP             390 finalize response to counsel for prospective purchaser of single-family home portfolio                       0.4      0.0085       $3.32
             Disposition                                         regarding special exceptions to be deleted from title commitment (single family) (.4)

April 2021   Asset                  04/08/21 AEP             390 prepare comprehensive e-mail memorandum to title underwriter regarding basis for                             0.8       0.017       $6.63
             Disposition                                         deletion of numerous special exceptions on title to single-family home portfolio (single
                                                                 family) (.8)
April 2021   Asset                  04/08/21 AEP             390 review final signed declaration from receivership broker, audit and finalize all exhibits to                 0.3    0.006375       $2.49
             Disposition                                         motion to confirm sale of single-family home portfolio, and deliver final motion papers to K.
                                                                 Duff for filing and service (single family) (.3)
April 2021   Asset                  04/08/21 JR              140 Review single family homes due diligence documents in preparation for closing and update                     1.1    0.023375       $3.27
             Disposition                                         electronic files (single family).
April 2021   Asset                  04/09/21 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents (single-                     0.3 0.0015938         $0.62
             Disposition                                         family, 4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue) (.3)

April 2021   Asset                  04/09/21 JR              140 exchange correspondence with buyer requesting buyer information required for upcoming                        0.2     0.00425       $0.60
             Disposition                                         closings (single family) (.2)
April 2021   Asset                  04/12/21 AW              140 Review thirteenth sale motion and prepare notice of motion and certificate of service for                    0.7    0.014875       $2.08
             Disposition                                         title company (single family) (.7)
April 2021   Asset                  04/12/21 AW              140 email exchange regarding filing of thirteenth sale motion, finalize motion, file with court, and             0.4      0.0085       $1.19
             Disposition                                         communicate with K. Duff regarding service of same (single family) (.4)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2021   Asset                  04/12/21 AW              140 prepare service email and serve as per certificate of service (single family) (.4).                    0.4      0.0085        $1.19
             Disposition
April 2021   Asset                  04/12/21 KMP             140 Communications with K. Duff and A. Watychowicz regarding thirteenth motion to approval                 0.2     0.00425        $0.60
             Disposition                                         property sales and related affidavit of service requested by title company (single family).

April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and             0.1 0.0009524          $0.13
             Disposition                                         payment of same (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                0.1 0.0009524          $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                 1.4 0.0133333          $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with             1.3 0.0265306          $3.71
             Disposition                                         K. Duff regarding same (see E) (1.3)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with buyer regarding requested buyer information related to                    0.1    0.002125        $0.30
             Disposition                                         closings (single family) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-              0.3 0.0028571          $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/14/21 JR              140 review additional due diligence documents related to single family homes (single family) (.5)          0.5    0.010625        $1.49
             Disposition
April 2021   Asset                  04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                    0.2 0.0040816          $0.57
             Disposition                                         tax balances that remain in the EquityBuild estate (see E) (.2)
April 2021   Asset                  04/14/21 JR              140 update closing documents related to the single family home portfolio (single family) (2.8).            2.8      0.0595        $8.33
             Disposition
April 2021   Asset                  04/15/21 AEP             390 review and analyze recorded judgments against single-family homes (2136 W 83rd Street,                 0.4          0.2      $78.00
             Disposition                                         5437 S Laflin Street) and prepare e-mail to title underwriter requesting deletion based on
                                                                 non-revival (.4)
April 2021   Asset                  04/15/21 AEP             390 Comprehensive and final review and inventory of all exceptions to title on single-family               2.3    0.048875       $19.06
             Disposition                                         home portfolio, preparation of final checklist, and transmit same to title company
                                                                 underwriter with request for teleconference (single family) (2.3)
April 2021   Asset                  04/15/21 JR              140 update water applications for single family homes (single family) (2.6).                               2.6     0.05525        $7.74
             Disposition
April 2021   Asset                  04/15/21 JR              140 review email from K. Duff requesting updated spreadsheet related to purchase price, sale               0.7    0.014875        $2.08
             Disposition                                         price and single family home value allocations related to all properties, further related
                                                                 correspondence with A. Porter and prepare report regarding value allocations (single family)
                                                                 (.7)
April 2021   Asset                  04/15/21 JR              140 update master spreadsheet portfolio with value allocations related to single family homes              0.5    0.010625        $1.49
             Disposition                                         (single family) (.5)
April 2021   Asset                  04/16/21 JR              140 exchange correspondence with buyer requesting buyer information related to water bills for             0.2     0.00425        $0.60
             Disposition                                         single family homes (single family) (.2)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2021   Asset                  04/16/21 JR              140 review email from title company related to processed water applications for single family              0.1 0.0007083         $0.10
             Disposition                                         homes and other properties scheduled to close and update electronic files (single family,
                                                                 4611-17 S Drexel Boulevard, 7024-32 S Paxton Avenue) (.1)

April 2021   Asset                  04/16/21 JR              140 Update water applications for single family homes (single family) (1.3)                                1.3    0.027625       $3.87
             Disposition
April 2021   Asset                  04/16/21 JR              140 review email from property management related to review of tax payments regarding past                 1.3 0.0265306         $3.71
             Disposition                                         due and current property tax payments, save in electronic files and update spreadsheet
                                                                 regarding same (see E) (1.3)
April 2021   Asset                  04/16/21 JR              140 update buyer information on water applications for single family homes (single family) (1.7).          1.7    0.036125       $5.06
             Disposition
April 2021   Asset                  04/19/21 AEP             390 review latest revised title commitments on single-family home portfolio and save in files              0.1    0.002125       $0.83
             Disposition                                         (single family) (.1).
April 2021   Asset                  04/19/21 AEP             390 Teleconference with title company underwriter regarding requests for waiver of assorted                0.7    0.014875       $5.80
             Disposition                                         special exceptions to title commitments on single-family home portfolio (single family) (.7)

April 2021   Asset                  04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of               0.2 0.0040816         $0.57
             Disposition                                         EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                  04/20/21 AEP             390 communications with prospective purchaser of single-family homes regarding projected                   0.2     0.00425       $1.66
             Disposition                                         closing timeline (single family) (.2)
April 2021   Asset                  04/26/21 JR              140 review email from A. Porter related to obtaining releases related to single family homes in            0.1    0.002125       $0.30
             Disposition                                         preparation for closing and respond accordingly (single family) (.1).
April 2021   Asset                  04/27/21 AEP             390 review zoning certificates received on various single-family home properties and                       0.2     0.00425       $1.66
             Disposition                                         communicate with J. Rak regarding filing and inventorying of same (single family) (.2).

April 2021   Asset                  04/27/21 AEP             390 Cursory review of judicial order approving motion to confirm sale of single-family home                0.2     0.00425       $1.66
             Disposition                                         portfolio and distribute same to brokers, title underwriters, buyers, buyers' counsel, and
                                                                 counsel for institutional lenders (single family) (.2)
April 2021   Asset                  04/27/21 AW              140 Communicate with J., Wine regarding proposed order granting thirteenth sale motion, work               0.5    0.010625       $1.49
             Disposition                                         to finalize order, and email J. Wine regarding same (single family).
April 2021   Asset                  04/27/21 JR              140 Follow up correspondence with buyer requesting buyer information in anticipation of                    0.2     0.00425       $0.60
             Disposition                                         closings (single family) (.2)
April 2021   Asset                  04/27/21 JRW             260 related correspondence to courtroom deputy regarding entry of order (single family) (.3).              0.3    0.006375       $1.66
             Disposition
April 2021   Asset                  04/27/21 JRW             260 Finalize proposed order granting 13th sales motion (single family) (.4)                                0.4      0.0085       $2.21
             Disposition
April 2021   Asset                  04/28/21 AEP             390 E-mail communications with title underwriter regarding inability to obtain releases of prior           0.2    0.002125       $0.83
             Disposition                                         security documents (5437 S Laflin Street) (.1), e-mail communications with J. Rak regarding
                                                                 inability to obtain new borrower information from prospective purchaser of single-family
                                                                 homes and need to update title commitments (single family) (.1)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
April 2021   Asset                  04/28/21 JR              140 Exchange communication with buyer relating to scheduling of properties for closing (single               0.5    0.010625       $1.49
             Disposition                                         family) (.5)
April 2021   Asset                  04/28/21 JR              140 exchange correspondence with vendor requesting processing of water certifications                        0.1    0.002125       $0.30
             Disposition                                         regarding properties (single family) (.1)
April 2021   Asset                  04/29/21 JR              140 further correspond with the title company regarding water applications (single family) (.3)              0.3    0.006375       $0.89
             Disposition
April 2021   Asset                  04/29/21 JR              140 submit water applications to the title company regarding water applications (single family)              0.6     0.01275       $1.79
             Disposition                                         (.6)
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with the title company requesting updates to the title                           0.3    0.006375       $0.89
             Disposition                                         commitments for properties (single family) (.3)
April 2021   Asset                  04/29/21 JR              140 review email from vendor regarding obtaining water certifications for properties and related             0.2     0.00425       $0.60
             Disposition                                         correspondence with A. Porter (single family) (.2)
April 2021   Asset                  04/30/21 AEP             390 review assignment of purchase and sale contract associated with single-family home                       0.3    0.006375       $2.49
             Disposition                                         portfolio and update receivership spreadsheet tying each property to each prospective
                                                                 purchaser (single family) (.3)
April 2021   Asset                  04/30/21 AEP             390 review water certificates received for all properties in EB South Chicago 1 and EB South                 0.2 0.0068966         $2.69
             Disposition                                         Chicago 2 (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue) and update closing checklists (.2)

April 2021   Asset                  04/30/21 AEP             390 review value allocations for single-family homes for listing purposes and value allocations per          0.6     0.01275       $4.97
             Disposition                                         agreement with secured lenders, and include information in portfolio spreadsheet (single
                                                                 family) (.6).
April 2021   Asset                  04/30/21 JR              140 review requested water certification and update electronic files for properties (single family)          0.6     0.01275       $1.79
             Disposition                                         (.6)
April 2021   Asset                  04/30/21 JR              140 review email from property management regarding requested property reports related to                    0.2 0.0042553         $0.60
             Disposition                                         the property insurance renewals (see A) (.2)
April 2021   Asset                  04/30/21 JR              140 exchange correspondence with property management requesting updated rent rolls for                       0.2 0.0042553         $0.60
             Disposition                                         remainder of properties in the estate regarding property insurance renewal (see A) (.2)

April 2021   Business               04/05/21 ED              390 and related email correspondence with K. Duff and M. Rachlis (.2).                                       0.2 0.0047619         $1.86
             Operations
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for 14 properties (1017 W 102nd Street,               0.2 0.0142857         $5.57
             Operations                                          1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue) (.2)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2021   Business               04/05/21 ED              390 review and reply to lender's counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd                0.3 0.0071429          $2.79
             Operations                                          Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                 Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                 Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S
                                                                 Laflin Street, 6759 S Indiana Avenue, 9610 S Woodlawn Avenue, 7300-04 St Lawrence
                                                                 Avenue, 7760 S Coles Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                 Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 8214-16 S
                                                                 Ingleside Avenue) regarding financial reporting (.3)


April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                       0.1 0.0009524          $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                        1.5 0.0142857          $2.00
             Operations
April 2021   Business               04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional               0.2 0.0040816          $0.57
             Operations                                          funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                       3.2 0.0304762          $4.27
             Operations
April 2021   Business               04/16/21 SZ              110 Email communication with K. Pritchard about restoration motion and review of schedules of                0.3 0.0115385          $1.27
             Operations                                          receipts and disbursements.
April 2021   Business               04/19/21 KMP             140 telephone conferences and exchange email correspondence with K. Duff and S. Zjalic                       0.3 0.0115385          $1.62
             Operations                                          regarding issues relating to property expenses (.3)
April 2021   Business               04/19/21 KMP             140 prepare electronic file comprising spreadsheets and other materials relating to funds                    0.3 0.0115385          $1.62
             Operations                                          requests from property manager and forward to S. Zjalic (.3)
April 2021   Business               04/19/21 SZ              110 review of the exhibits attached to status reports after March 31, 2020 to create a list of non-          1.9 0.0730769          $8.04
             Operations                                          recurring repair expenses (1.9)
April 2021   Business               04/19/21 SZ              110 attention to property manager's past fund requests and related email communication with K.               1.3         0.05       $5.50
             Operations                                          Pritchard (1.3).
April 2021   Business               04/19/21 SZ              110 Phone and email communication with the Receiver about repair expenses (.3)                               0.3 0.0115385          $1.27
             Operations
April 2021   Business               04/22/21 KMP             140 Communicate with S. Zjalic regarding investigation of property manager's expenses.                       0.2 0.0076923          $1.08
             Operations
April 2021   Business               04/22/21 SZ              110 continue to populate the list of property expenses (1.2).                                                1.2 0.0461538          $5.08
             Operations
April 2021   Business               04/22/21 SZ              110 Attention to property manager's property repair expenses (1.1)                                           1.1 0.0423077          $4.65
             Operations




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2021   Business               04/27/21 SZ              110 Email communication with property manager to obtain list of repairs associated with SFH-              2.4 0.1714286        $18.86
             Operations                                          Trench 1 properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 S
                                                                 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                                 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Ave), SFH-
                                                                 Tranch 2 properties (10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street,
                                                                 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S
                                                                 Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue,
                                                                 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon
                                                                 Avenue) to review and retrieve repair documentation.

April 2021   Business               04/29/21 JR              140 Review email from K. Duff related to property insurance renewal workbook and make                     1.1 0.0234043         $3.28
             Operations                                          requested updates to same (see A) (1.1)
April 2021   Business               04/29/21 JR              140 exchange correspondence with K. Duff regarding property insurance (see A) (.1).                       0.1 0.0021277         $0.30
             Operations
April 2021   Business               04/30/21 JR              140 Exchange correspondence with J. Wine and E. Duff regarding names of institutional lenders             0.2 0.0042553         $0.60
             Operations                                          as additional insured relating to property insurance renewal (See A).

April 2021   Business               04/30/21 JRW             260 email exchange with J. Rak and E. Duff regarding injured parties on insurance policies (.1).          0.1 0.0021277         $0.55
             Operations
April 2021   Claims                 04/05/21 JRW             260 correspondence with claimant's counsel regarding proposed claims process (.1)                         0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                 04/09/21 AEP             390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding competing claims under                 2.1    0.044625      $17.40
             Administration                                      varying factual scenarios in connection with single-family home portfolio (single family).
             & Objections

April 2021   Claims                 04/13/21 JRW             260 continued analysis of properties with single claim (1516 E 85th Place, 2136 W 83rd Street,            2.0 0.0714286        $18.57
             Administration                                      7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
             & Objections                                        Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6749-59 S Merrill Avenue, 7110 S
                                                                 Cornell Avenue, 417 Oglesby Avenue, 7925 S Kingston Avenue, 2129 W 71st Street, 1017 W
                                                                 102nd Street, 8403 S Aberdeen Street, 8432 S Essex Avenue, 10012 S LaSalle Avenue, 3213 S
                                                                 Throop Street, 406 E 87th Place, 7712 S Euclid Avenue, 6825 S Indiana Avenue, 7210 S
                                                                 Vernon Avenue, 6759 S Indiana Avenue, 8346 S Constance Avenue, 9212 S Parnell Avenue,
                                                                 8107 S Kingston Avenue, 8517 S Vernon Avenue, 9610 S Woodlawn Avenue) and prepare
                                                                 related spreadsheet (2.0)

April 2021   Claims                 04/13/21 JRW             260 correspondence with claimants' counsel regarding claims process for single claim properties           0.3 0.0107143         $2.79
             Administration                                      and related exchange with K. Duff (.3)
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2021   Claims                 04/13/21 MR          390 attention to emails regarding single claims process (.2).                                             0.2 0.0071429         $2.79
             Administration
             & Objections

April 2021   Claims                 04/14/21 AEP         390 Review spreadsheet of claim types relating to mortgages, research title for each property,            2.0 0.0571429        $22.29
             Administration                                  and prepare list of corrections (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,
             & Objections                                    417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 7300-04 S St Lawrence
                                                             Avenue, 7760 S Coles Avenue).

April 2021   Claims                 04/15/21 JRW         260 telephone conference with claimants' counsel regarding liens against single claim properties          1.1 0.0392857        $10.21
             Administration                                  (1.1)
             & Objections

April 2021   Claims                 04/15/21 JRW         260 review proposed procedures addressing single claims against properties from claimants'                0.3 0.0107143         $2.79
             Administration                                  counsel and related analysis to K. Duff (.3)
             & Objections

April 2021   Claims                 04/28/21 JRW         260 telephone conference with K. Duff in preparation for call with claimants' counsel regarding           0.1 0.0035714         $0.93
             Administration                                  process for single claim properties (.1)
             & Objections

April 2021   Claims                 04/28/21 JRW         260 email exchange with claimants' counsel regarding process for single claims (.1)                       0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                 04/29/21 JRW         260 telephone conference with claimants' counsel regarding proposed process for single claim              0.5 0.0178571         $4.64
             Administration                                  properties (.5)
             & Objections




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2021   Claims                 04/30/21 JRW         260 study proposed process for single claim properties and standard discovery, prepare notes              2.2 0.0785714        $20.43
             Administration                                  regarding response to same, related telephone conferences with K. Duff, and related
             & Objections                                    correspondence to claimants' counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                             6759 S Indiana Avenue, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (2.2).

May 2021     Asset                  05/06/21 KBD         390 exchange correspondence with J. Rak regarding sale of properties and segregated accounts              0.2     0.00425       $1.66
             Disposition                                     (single family) (.2).
May 2021     Asset                  05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455         $1.77
             Disposition                                     (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021     Asset                  05/17/21 KBD         390 review update of closings from J. Rak (single family, 7255 S Euclid Avenue, 6217-27 S                 0.1 0.0005313         $0.21
             Disposition                                     Dorchester Avenue, 7237-43 S Bennett Avenue) (.1).
May 2021     Asset                  05/20/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding water payment and transfer             0.2     0.00425       $1.66
             Disposition                                     tax payments and logistics for closing (single family) (.2)
May 2021     Asset                  05/20/21 KBD         390 telephone conference with J. Rak regarding problems with purchaser and obtaining                      0.2     0.00425       $1.66
             Disposition                                     necessary documents for closing, including relating to unique municipality issues (single
                                                             family) (.2).
May 2021     Asset                  05/21/21 KBD         390 attention to closing costs and related correspondence (single family) (.1).                           0.1    0.002125       $0.83
             Disposition
May 2021     Asset                  05/24/21 KBD         390 Exchange correspondence with J. Rak regarding closing proceeds and allocation issues (single          0.2     0.00425       $1.66
             Disposition                                     family).
May 2021     Asset                  05/25/21 KBD         390 Work with Andrew Porter and Justyna Rak on closing documents (single family) (1.5)                    1.5    0.031875      $12.43
             Disposition
May 2021     Asset                  05/26/21 KBD         390 exchange correspondence regarding sale proceeds, segregated accounts, and allocations                 0.1    0.002125       $0.83
             Disposition                                     (single family) (.1).


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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021     Asset                  05/27/21 KBD         390 Exchange correspondence regarding deposit of sale proceeds and allocation (single family)             0.2     0.00425       $1.66
             Disposition                                     (.2)
May 2021     Asset                  05/27/21 KBD         390 telephone conference with and study correspondence from title company representative                  0.3    0.006375       $2.49
             Disposition                                     and exchange correspondence with bank representative regarding transfer of closing
                                                             proceeds (single family) (.3).
May 2021     Asset                  05/28/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and J. Rak regarding                  0.6     0.01275       $4.97
             Disposition                                     closing and disbursement of funds for sale of portfolio of properties (single family) (.6)

May 2021     Business               05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W                0.3 0.0066667         $2.60
             Operations                                      102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).

May 2021     Business               05/04/21 KBD         390 Work on insurance renewal and draft correspondence to broker regarding updated                        0.3    0.006383       $2.49
             Operations                                      information (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham, 11318 S Church
                                                             Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                             2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 417
                                                             Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.3)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
May 2021     Business               05/05/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding                          0.2 0.0042553         $1.66
             Operations                                      comparison of rates (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham , 11318 S
                                                             Church Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W
                                                             71st Street, 2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             417 Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.2)


May 2021     Business               05/07/21 KBD         390 study property expenses for restoration (.2).                                                        0.2 0.0076923         $3.00
             Operations
May 2021     Business               05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111         $4.33
             Operations                                      quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516                0.5 0.0113636         $4.43
             Operations                                      E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)

May 2021     Business               05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
             Operations                                      62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).

May 2021     Business               05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
             Operations                                      Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)).




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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
May 2021     Business               05/13/21 KBD         390 Study correspondence from S. Zjalic regarding property expenses.                                     0.2 0.0076923         $3.00
             Operations
May 2021     Business               05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East               0.3 0.0068182         $2.66
             Operations                                      62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021     Business               05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties             0.1 0.0022727         $0.89
             Operations                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)




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  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
             Operations                                      Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).

May 2021     Claims                 05/06/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,              0.1 0.0035714         $1.39
             Administration                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                    Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.1)

May 2021     Claims                 05/07/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,              0.2 0.0071429         $2.79
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                    Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Claims                 05/10/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,              4.0 0.1428571        $55.71
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                    Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (4.0)




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2021     Claims                 05/11/21 KBD             390 confer with M. Rachlis and J. Wine regarding single claim process (1017 W 102nd Street,               1.7 0.0607143        $23.68
             Administration                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                        Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (1.7)
May 2021     Claims                 05/11/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             3.5       0.125      $48.75
             Administration                                      417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                        Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                 Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                 Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                 Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                 Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (3.5)

May 2021     Claims                 05/11/21 KBD             390 telephone conferences with J. Wine regarding single claim process (1017 W 102nd Street,               0.3 0.0107143         $4.18
             Administration                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                        Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (.3)
May 2021     Claims                 05/12/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             0.3 0.0107143         $4.18
             Administration                                      417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                        Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                 Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                 Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                 Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                 Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Asset                  05/03/21 JR              140 review numerous emails from the title company [W. Peca at Chicago Title] related to water             0.7    0.014875       $2.08
             Disposition                                         certificates and update electronic files regarding single family homes (single family) (.7).

May 2021     Asset                  05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of              0.1 0.0002361         $0.03
             Disposition                                         property related to remaining unsold properties in the estate (See B) (.1)




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  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2021     Asset                  05/05/21 JR              140 exchange correspondence with buyer requesting property inspection forms in anticipation of             0.1    0.002125       $0.30
             Disposition                                         closing of single family homes (single family) (.1)
May 2021     Asset                  05/06/21 AEP             390 Teleconference with J. Rak relating to form of preparation of each closing document and                0.9    0.019125       $7.46
             Disposition                                         remaining pre-closing tasks (single family) (.9)
May 2021     Asset                  05/06/21 JR              140 confer with A. Porter regarding the single family home status in preparation for closing               0.9    0.019125       $2.68
             Disposition                                         (single family) (.9)
May 2021     Asset                  05/06/21 JR              140 draft allocation summary report related to single family homes and produce to K. Pritchard             0.4      0.0085       $1.19
             Disposition                                         regarding wire instructions (single family) (.4)
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with the underwriter requesting and providing closing details of               0.9    0.019125       $2.68
             Disposition                                         the single family homes (single family) (.9)
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with A. Porter regarding buyer requested information and other                 0.8       0.017       $2.38
             Disposition                                         pertinent information required for closing (single family) (.8)
May 2021     Asset                  05/06/21 JR              140 review surveys for single family homes and request updates to same (single family) (.5).               0.5    0.010625       $1.49
             Disposition
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with the title company requesting an update on the zoning                      0.1    0.002125       $0.30
             Disposition                                         certifications for the single family homes (single family) (.1)
May 2021     Asset                  05/06/21 JR              140 exchange correspondence with the real estate broker requesting a lien waiver for closing               0.1    0.002125       $0.30
             Disposition                                         (single family) (.1)
May 2021     Asset                  05/07/21 AEP             390 Correspondence with surveyor and title company regarding need for certifications on                    0.3    0.006375       $2.49
             Disposition                                         boundary surveys in non-commercial transactions and correspondence with surveyor
                                                                 regarding payment of invoices for surveys of single-family home properties (single family)
                                                                 (.3)
May 2021     Asset                  05/07/21 JR              140 review numerous emails from the title company relating to single family home (single family)           0.9    0.019125       $2.68
             Disposition                                         zoning certificates and update electronic files regarding same (.9)
May 2021     Asset                  05/07/21 JR              140 review email from real estate broker regarding commission statement for the single family              0.1    0.002125       $0.30
             Disposition                                         homes (single family) (.1)
May 2021     Asset                  05/07/21 JR              140 review email from K. Pritchard regarding requested wire instructions related to upcoming               0.3    0.006375       $0.89
             Disposition                                         closings for the single family homes (single family) and update electronic files (.3).

May 2021     Asset                  05/07/21 KMP             140 Revise table of accounts for single family properties to include missing account numbers and           0.3    0.006375       $0.89
             Disposition                                         forward table to J. Rak (single family).
May 2021     Asset                  05/10/21 JR              140 further correspondence with A. Porter regarding status of closing documents related to the             0.1    0.002125       $0.30
             Disposition                                         single family homes (single family) (.1)
May 2021     Asset                  05/10/21 JR              140 review emails from the title company regarding delivery of water certifications for single             0.2     0.00425       $0.60
             Disposition                                         family homes (single family) and save in electronic files (.2)
May 2021     Asset                  05/10/21 JR              140 review email from K. Duff requesting closing dates of properties (single family, 6749-59 S             0.1 0.0007083         $0.10
             Disposition                                         Merrill Avenue, 7110 S Cornell Avenue) (.1).
May 2021     Asset                  05/11/21 AEP             390 identify all closing documents thus far assembled, including water and zoning certifications,          1.8     0.03825      $14.92
             Disposition                                         examiner's worksheets, and survey invoices, and rearrange all materials into appropriate
                                                                 tranche-specific folders (single family) (1.8)
May 2021     Asset                  05/11/21 AEP             390 correspondence with title company underwriter and escrow agent regarding mass closing                  0.2     0.00425       $1.66
             Disposition                                         process (single family) (.2)




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  Invoice                                          Time                                                                                                                             Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                           Keeper                                                                                                                              Hours         Fees
May 2021     Asset                  05/11/21 AEP             390 Review allocation table and create master grantor-grantee spreadsheet to outline process of                  0.7    0.014875        $5.80
             Disposition                                         closing single-family home portfolio (single family) (.7)
May 2021     Asset                  05/12/21 AEP             390 communications with J. Rak, title company underwriters, and buyers' counsel regarding                        0.5    0.010625        $4.14
             Disposition                                         purchase price and loan allocations and other closing coordination matters (single family)
                                                                 (.5).
May 2021     Asset                  05/12/21 AEP             390 Prepare closing documents for single-family home portfolio sale, including receiver's deeds,                 8.0         0.17      $66.30
             Disposition                                         broker lien waivers, property manager lien waivers, receiver's lien waivers, 1099s, and
                                                                 FIRPTAs (single family) (8.0)
May 2021     Asset                  05/12/21 JR              140 review email from buyer's counsel related to a request for water certifications related to the               0.3    0.006375        $0.89
             Disposition                                         single family homes and produce same (single family) (.3)
May 2021     Asset                  05/12/21 JR              140 Telephone call with A. Porter delegation preparation of closing documents related to the                     0.5    0.010625        $1.49
             Disposition                                         single family home (single family) (.5)
May 2021     Asset                  05/12/21 JR              140 prepare closing documents for single family homes (single family) (4.7).                                     4.7    0.099875       $13.98
             Disposition
May 2021     Asset                  05/13/21 AEP             390 prepare affidavits of title, bills of sale, and assignments and assumptions of leases for all sub-           5.3    0.112625       $43.92
             Disposition                                         tranches of single-family home sales (single family) (5.3).
May 2021     Asset                  05/13/21 AEP             390 Finalize preparation of receiver's deeds for all sub-tranches of single-family home property                 2.8      0.0595       $23.21
             Disposition                                         sales (single family) (2.8)
May 2021     Asset                  05/13/21 JR              140 Exchange further correspondence with A. Porter regarding single family home closing                          0.1    0.002125        $0.30
             Disposition                                         preparation (single family) (.1)
May 2021     Asset                  05/14/21 AEP             390 review purchase price allocations received from prospective purchaser of single-family                       1.1    0.023375        $9.12
             Disposition                                         homes, update allocation spreadsheet, send copy of same to counsel for institutional lenders
                                                                 and suggest alternative methods for accounting for sales proceeds, and additional
                                                                 communications with counsel for institutional lenders, title underwriter and prospective
                                                                 purchaser relating thereto (single family) (1.1).
May 2021     Asset                  05/14/21 JR              140 exchange correspondence with property management requesting single family home                               0.3    0.006375        $0.89
             Disposition                                         reports in preparation for closing (single family) (.3)
May 2021     Asset                  05/14/21 JR              140 review reports for single family homes in anticipation for closing (single family) (1.9).                    1.9    0.040375        $5.65
             Disposition
May 2021     Asset                  05/15/21 AEP             390 begin researching current property tax liabilities and preparing closing figures for all 37 single-          4.0       0.085       $33.15
             Disposition                                         family homes conveyances (single family) (4.0).
May 2021     Asset                  05/16/21 AEP             390 inventory all remaining special exceptions and all outstanding water and zoning certifications               1.5    0.031875       $12.43
             Disposition                                         associated with conveyances of single-family homes and prepare e-mail to title underwriter
                                                                 regarding all current unresolved closing coordination issues (single family) (1.5).

May 2021     Asset                  05/16/21 AEP             390 Finalize preparation of first-draft of closing figures in connection with conveyances of single-             3.5    0.074375       $29.01
             Disposition                                         family homes (single family) (3.5)
May 2021     Asset                  05/17/21 JR              140 Exchange correspondence with property management requesting single family home reports                       0.1    0.002125        $0.30
             Disposition                                         in preparation for closing (single family) (.1)
May 2021     Asset                  05/17/21 JR              140 review single family tenant information and update certificated rent roll (single family) (4.6)              4.6     0.09775       $13.69
             Disposition
May 2021     Asset                  05/17/21 JR              140 exchange correspondence with property management requesting additional property                              0.1    0.002125        $0.30
             Disposition                                         reports related to closing (single family) (.1)


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  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
May 2021     Asset                  05/17/21 JR              140 exchange correspondence advising of anticipated closing schedule (single family, 7255-57 S               0.1 0.0005313         $0.07
             Disposition                                         Euclid Avenue, 6217-27 S Dorchester Avenue, 7237-43 S Bennett Avenue) (.1)

May 2021     Asset                  05/18/21 AEP             390 prepare memorandum for title underwriter and surveyor identifying single-family home                     0.7    0.014875       $5.80
             Disposition                                         properties with discrepancies between legal description on title commitment and legal
                                                                 description on survey and request guidance for resolving conflicts in verbiage (single family)
                                                                 (.7)
May 2021     Asset                  05/18/21 AEP             390 Review revised title commitments associated with various single-family home properties,                  2.8      0.0595      $23.21
             Disposition                                         reconcile with current list of special exceptions and unrecorded judgments, and sort same
                                                                 into appropriate closing folders (single family) (2.8)
May 2021     Asset                  05/18/21 AEP             390 teleconference with J. Rak regarding status of all closing documents associated with                     0.4      0.0085       $3.32
             Disposition                                         conveyance of single-family homes (single family) (.4)
May 2021     Asset                  05/18/21 AEP             390 teleconference with title underwriters regarding resolution of remaining title exception                 0.5    0.010625       $4.14
             Disposition                                         issues, potential use of master closing statements, preparation of deed and money escrow
                                                                 instructions, and completion of closing figures (single family) (.5)

May 2021     Asset                  05/18/21 AEP             390 review proposed edits to receiver's deeds submitted by purchaser's counsel in connection                 1.2      0.0255       $9.95
             Disposition                                         with conveyance of single-family homes, check corresponding legal descriptions on surveys
                                                                 and title commitments, and revise deeds as warranted (single family) (1.2)

May 2021     Asset                  05/18/21 AEP             390 review and analyze first draft of proposed certified rent roll associated with conveyance of             0.4      0.0085       $3.32
             Disposition                                         single-family homes and make minor modifications thereto (single family) (.4).

May 2021     Asset                  05/18/21 AEP             390 prepare affidavits of no new improvements in connection with conveyances of all single-                  0.6     0.01275       $4.97
             Disposition                                         family home properties (single family) (.6)
May 2021     Asset                  05/18/21 JR              140 review due diligence documents received from property management and update certified                    2.3    0.048875       $6.84
             Disposition                                         rent roll in preparation for closing single family homes (single family) (2.3)

May 2021     Asset                  05/18/21 JR              140 review and confirm leases for security deposit information for single family homes (single               1.0     0.02125       $2.98
             Disposition                                         family) (1.0)
May 2021     Asset                  05/18/21 JR              140 update closing checklist related to security deposit information and update certified rent roll          0.4      0.0085       $1.19
             Disposition                                         regarding same (single family) (.4)
May 2021     Asset                  05/18/21 JR              140 review due diligence folder and confirm all subsidy agreements match certified rent roll                 0.7    0.014875       $2.08
             Disposition                                         (single family) (.7).
May 2021     Asset                  05/19/21 JR              140 review email from property management regarding requested subsidy agreements for single                  0.5    0.010625       $1.49
             Disposition                                         family homes and update electronic files (single family) (.5)

May 2021     Asset                  05/19/21 JR              140 further communication with A. Porter and real estate broker inquiring about commission                   0.1    0.002125       $0.30
             Disposition                                         statement for closing (single family) (.1)
May 2021     Asset                  05/19/21 JR              140 review and forward notices to tenants requesting buyer approval for closing (single family)              0.2     0.00425       $0.60
             Disposition                                         (.2)
May 2021     Asset                  05/19/21 JR              140 Review email from buyer's counsel regarding updated deeds related to the single family                   0.2     0.00425       $0.60
             Disposition                                         homes (single family) (.2)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
May 2021     Asset                  05/19/21 JR              140 review email from real estate broker regarding lien waivers for closing and provide same                 0.1    0.002125        $0.30
             Disposition                                         (single family) (.1)
May 2021     Asset                  05/19/21 JR              140 draft real estate transfer tax declaration forms for properties in anticipation for closing              0.8       0.017        $2.38
             Disposition                                         (single family) (.8).
May 2021     Asset                  05/19/21 JR              140 review leases, subsidy agreements, confirm lease terms and update certified rent roll in                 1.8     0.03825        $5.36
             Disposition                                         preparation for closing (single family) (1.8)
May 2021     Asset                  05/19/21 JR              140 review dates of closing documents and update same (single family) (1.5)                                  1.5    0.031875        $4.46
             Disposition
May 2021     Asset                  05/19/21 JR              140 exchange correspondence with property management requesting additional missing                           0.3    0.006375        $0.89
             Disposition                                         information related to leases and subsidy agreements (single family) (.3)
May 2021     Asset                  05/20/21 AEP             390 review release received in connection with stale judgment (2136 W 83rd Street), transmit                 0.1          0.1      $39.00
             Disposition                                         same to title underwriter and acknowledge receipt to corporation counsel (.1).

May 2021     Asset                  05/20/21 AEP             390 prepare e-mail to title underwriter, buyer, and buyer's lender regarding title exceptions                0.3         0.15      $58.50
             Disposition                                         associated with code violations (2316 W 83rd, 5437 S Laflin) and efforts to obtain certificates
                                                                 of compliance from City of Chicago (.3)
May 2021     Asset                  05/20/21 AEP             390 Review latest batch of title commitments associated with single-family homes and update list             1.3    0.027625       $10.77
             Disposition                                         of special exceptions (single family) (1.3)
May 2021     Asset                  05/20/21 AEP             390 prepare e-mail to City of Chicago corporation counsel regarding request for certificate of               0.2          0.2      $78.00
             Disposition                                         compliance in connection with code violation (2136 W 83rd Street) (.2)

May 2021     Asset                  05/20/21 AEP             390 review final batch of title commitments associated with single-family home portfolio and                 1.5    0.031875       $12.43
             Disposition                                         update closing checklist (single family) (1.5)
May 2021     Asset                  05/20/21 AEP             390 review commission statement associated with conveyance of single-family homes and                        0.2     0.00425        $1.66
             Disposition                                         prepare e-mail to brokers proposing alternative solution for payment of brokerage
                                                                 commissions (single family) (.2)
May 2021     Asset                  05/20/21 JR              140 exchange correspondence with buyer and A. Porter regarding notices to tenants (single                    0.1    0.002125        $0.30
             Disposition                                         family) (.1)
May 2021     Asset                  05/20/21 JR              140 update and review lien waivers for property managers and request executed copies of same                 0.7    0.014875        $2.08
             Disposition                                         in anticipation for closing (single family) (.7)
May 2021     Asset                  05/20/21 JR              140 update notices to tenants for single family homes per buyer request (single family) (.5)                 0.5    0.010625        $1.49
             Disposition
May 2021     Asset                  05/20/21 JR              140 review email from buyer requesting property information in preparation for closing (single               0.1    0.002125        $0.30
             Disposition                                         family) (.1)
May 2021     Asset                  05/20/21 JR              140 request property reports from property management (single family) (.1)                                   0.1    0.002125        $0.30
             Disposition
May 2021     Asset                  05/20/21 JR              140 update electronic files with current property reports (single family) (.9)                               0.9    0.019125        $2.68
             Disposition
May 2021     Asset                  05/20/21 JR              140 exchange correspondence with real estate broker requesting the delivery of original lien                 0.1    0.002125        $0.30
             Disposition                                         waivers for closing (single family) (.1)
May 2021     Asset                  05/20/21 KMP             140 Exchange correspondence with J. Rak and K. Duff regarding payment of certain closing costs               0.2     0.00425        $0.60
             Disposition                                         for property sale (single family).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
May 2021     Asset                  05/21/21 AEP             390 review fee quotes for closing services for each of the properties in the single-family home             2.1    0.044625      $17.40
             Disposition                                         portfolio and update closing figures for each property (single family) (2.1)

May 2021     Asset                  05/21/21 AEP             390 Conference with J. Rak regarding open items associated with preparation for closing of single-          0.3    0.006375       $2.49
             Disposition                                         family homes (single family) (.3)
May 2021     Asset                  05/21/21 JR              140 review requested rent roll received from property management and inquire about the house                0.5    0.010625       $1.49
             Disposition                                         sitters at various vacant properties with property management (single family) (.5)

May 2021     Asset                  05/21/21 JR              140 update notice to tenant letters and request approval from buyer (single family) (.7)                    0.7    0.014875       $2.08
             Disposition
May 2021     Asset                  05/21/21 JR              140 forward house sitter information to buyer (single family) (.2)                                          0.2     0.00425       $0.60
             Disposition
May 2021     Asset                  05/21/21 JR              140 review email request from buyer regarding property reports and request same from                        0.1    0.002125       $0.30
             Disposition                                         property management (single family) (.1)
May 2021     Asset                  05/21/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.1).             4.1    0.087125      $12.20
             Disposition
May 2021     Asset                  05/21/21 JR              140 further correspondence with A. Porter regarding the house sitters at vacant properties                  0.2     0.00425       $0.60
             Disposition                                         (single family) (.2)
May 2021     Asset                  05/24/21 AEP             390 review and revise proposed notices to tenants in connection with conveyance of single-                  0.2     0.00425       $1.66
             Disposition                                         family homes (single family) (.2)
May 2021     Asset                  05/24/21 AEP             390 Communications with prospective purchaser of single-family homes regarding scheduling of                0.2     0.00425       $1.66
             Disposition                                         pre-closing walk-throughs and removal of house sitters (single family) (.2)

May 2021     Asset                  05/24/21 AEP             390 communications with property managers regarding request from prospective purchaser of                   0.2     0.00425       $1.66
             Disposition                                         single-family home portfolio for pre-closing walk-throughs and confirmation regarding
                                                                 removal of house sitters at various properties (single family) (.2)

May 2021     Asset                  05/24/21 AEP             390 communications with counsel for lenders regarding reallocations of sales proceeds from                  0.2     0.00425       $1.66
             Disposition                                         conveyance of single-family homes following closing (single family) (.2)

May 2021     Asset                  05/24/21 AEP             390 review finalized rent roll for single-family home properties and create final sets of sellers'          2.9    0.061625      $24.03
             Disposition                                         figures for each conveyance (single family) (2.9).
May 2021     Asset                  05/24/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.2)              4.2     0.08925      $12.50
             Disposition
May 2021     Asset                  05/24/21 JR              140 exchange communication with K. Duff regarding disbursement of funds into a single account               0.2     0.00425       $0.60
             Disposition                                         from the single family closings (single family) (.2)
May 2021     Asset                  05/24/21 JR              140 exchange correspondence with buyer requesting updates to contact information for tenants                0.1    0.002125       $0.30
             Disposition                                         after sale (single family) (.1)
May 2021     Asset                  05/24/21 KMP             140 Various communications with K. Duff, A. Porter, and J. Rak regarding issues relating to                 0.3    0.006375       $0.89
             Disposition                                         upcoming closing on single family homes (single family).
May 2021     Asset                  05/25/21 AEP             390 Assemble, modify, and inventory all closing documents associated with conveyance of single-             7.3    0.155125      $60.50
             Disposition                                         family homes, oversee document signing process by receiver, and continue revising all sets
                                                                 of closing figures (single family) (7.3)


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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2021     Asset                  05/25/21 JR              140 Conduct execution of closing documents for the single family homes (single family) (8.4)               8.4      0.1785      $24.99
             Disposition
May 2021     Asset                  05/26/21 AEP             390 Attend lengthy closing of all 37 single-family home properties (single family)                        10.5    0.223125      $87.02
             Disposition
May 2021     Asset                  05/26/21 JR              140 exchange correspondence with K. Duff regarding instructions for single family allocation of            0.1    0.002125       $0.30
             Disposition                                         proceeds and instructions of same (single family) (.1).
May 2021     Asset                  05/26/21 JR              140 Attend closing of single family homes (single family) (10.1)                                          10.1    0.214625      $30.05
             Disposition
May 2021     Asset                  05/27/21 AEP             390 review final settlement statements from closing of each single-family home, record final               5.6       0.119      $46.41
             Disposition                                         sales proceeds, create new settlement statements for each property substituting agreed-
                                                                 upon value allocations contained in judicial order confirming sale, revise existing value
                                                                 allocation spreadsheet to compute distribution of sales proceeds, and circulate proposed
                                                                 sales proceeds distributions to receiver and counsel for lenders (single family) (5.6)

May 2021     Asset                  05/27/21 AEP             390 prepare disclosure statements for all single-family home properties (single family) (.7)               0.7    0.014875       $5.80
             Disposition
May 2021     Asset                  05/27/21 AEP             390 read e-mail from J. Rak regarding sales proceeds computations, audit spreadsheet, revise,              0.4      0.0085       $3.32
             Disposition                                         and circulate new draft (single family) (.4)
May 2021     Asset                  05/27/21 JR              140 review email from the title company and provide requested survey invoices for the single               0.4      0.0085       $1.19
             Disposition                                         family homes (single family) (.4)
May 2021     Asset                  05/27/21 JR              140 update single family home executed documents in electronics files (single family) (2.1)                2.1    0.044625       $6.25
             Disposition
May 2021     Asset                  05/27/21 JR              140 follow up correspondence with K. Duff advising of closing status (single family) (.1)                  0.1    0.002125       $0.30
             Disposition
May 2021     Asset                  05/27/21 JR              140 exchange correspondence with K. Duff, A. Porter and K. Pritchard with instructions related to          0.2     0.00425       $0.60
             Disposition                                         the allocation of net proceeds for single family homes (single family) (.2)

May 2021     Asset                  05/27/21 JR              140 review email from property management relating to status of closing and respond                        0.1    0.002125       $0.30
             Disposition                                         accordingly (single family) (.1)
May 2021     Asset                  05/27/21 JR              140 Review email from K. Duff regarding instructions for disbursement of proceeds and respond              0.1    0.002125       $0.30
             Disposition                                         accordingly (single family) (.1)
May 2021     Asset                  05/27/21 JR              140 follow up with the title company requesting closing status (single family) (.1)                        0.1    0.002125       $0.30
             Disposition
May 2021     Asset                  05/27/21 JR              140 follow up correspondence with title company closer requesting status of closing (single                0.2     0.00425       $0.60
             Disposition                                         family) (.2)
May 2021     Asset                  05/27/21 JR              140 Review email from A. Porter, identify a discrepancy and further review closing statements to           0.9    0.019125       $2.68
             Disposition                                         confirm the total amount of net proceeds expected to be delivered from closing (single
                                                                 family).
May 2021     Asset                  05/28/21 AEP             390 Teleconference with J. Rak and K. Duff regarding wire transfer allocations and disbursement            0.3    0.006375       $2.49
             Disposition                                         dates associated with conveyance of single-family home portfolio (single family) (.3)

May 2021     Asset                  05/28/21 AEP             390 update master receivership portfolio spreadsheet to include information associated with                0.2     0.00425       $1.66
             Disposition                                         conveyance of single-family home portfolio (single family) (.2).


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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
May 2021     Asset                  05/28/21 JR              140 review email from real estate broker and provide settlement statements related to closing          0.1    0.002125       $0.30
             Disposition                                         (single family) (.1)
May 2021     Asset                  05/28/21 JR              140 further correspondence with bank representative regarding wire transfer and allocation             0.9    0.019125       $2.68
             Disposition                                         instructions for single family home closing (single family) (.9)
May 2021     Asset                  05/28/21 JR              140 exchange correspondence with K. Duff providing detailed closed property information and            0.3    0.006375       $0.89
             Disposition                                         confirming closing date for single family homes (single family) (.3)

May 2021     Asset                  05/28/21 JR              140 exchange correspondence with buyer confirming property key delivery related to closing of          0.1    0.002125       $0.30
             Disposition                                         portfolio of properties (single family) (.1)
May 2021     Asset                  05/28/21 JR              140 exchange various correspondence with the title company requesting wire confirmation and            0.5    0.010625       $1.49
             Disposition                                         additional information related to closing of portfolio of properties (single family) (.5)

May 2021     Asset                  05/28/21 JR              140 exchange correspondence with K. Duff regarding allocation of funds related to the single           0.8       0.017       $2.38
             Disposition                                         family home closing (single family) (.8)
May 2021     Business               05/03/21 JR              140 Exchange correspondence with K. Duff and property insurance company regarding                      0.8 0.0159574         $2.23
             Operations                                          requested updates related to property insurance renewals [see A]
May 2021     Business               05/03/21 SZ              110 Continue to review repair documentation received from property manager in order to                 1.8 0.0692308         $7.62
             Operations                                          retrieve and chart per-property repair expenses.
May 2021     Business               05/04/21 JR              140 Review email from property insurance account analyst and further update property                   1.6 0.0340426         $4.77
             Operations                                          insurance renewal workbook (See A) (1.6)
May 2021     Business               05/04/21 JR              140 exchange communication with K. Duff regarding property insurance renewal update (See A)            0.1 0.0021277         $0.30
             Operations                                          (.1).
May 2021     Business               05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general           0.1 0.0002361         $0.03
             Operations                                          liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021     Business               05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property             0.2 0.0004722         $0.07
             Operations                                          and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business               05/07/21 SZ              110 Continue to review property manager's invoices and communicated to the Receiver the most           1.2 0.0461538         $5.08
             Operations                                          up-to-date draft of the per-property repair spreadsheet.
May 2021     Business               05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                   1.3    0.012381       $1.73
             Operations
May 2021     Business               05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-          0.1 0.0002361         $0.03
             Operations                                          43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).




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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2021     Business               05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property                 0.2 0.0004722         $0.07
             Operations                                          and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)

May 2021     Business               05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.                  0.3 0.0007083         $0.10
             Operations                                          Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.3)
May 2021     Business               05/10/21 SZ              110 Continue to review documents received from property manager to populate property repair                1.6 0.0615385         $6.77
             Operations                                          expense sheet.
May 2021     Business               05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                   2.3 0.0469388         $6.57
             Operations                                          7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                 Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                 Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham (Houston, TX)) (2.3)


May 2021     Business               05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                     0.3 0.0007083         $0.10
             Operations                                          umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).

May 2021     Business               05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2    0.000425       $0.06
             Operations                                          property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                 Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                 Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business               05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0004722         $0.07
             Operations                                          Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                 Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                 68th Street, single family) (.2)




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2021     Business               05/13/21 SZ              110 Continue to review remaining documents received from property manager to finalize per-                 1.7 0.0653846          $7.19
             Operations                                          property repair expense sheet and submitted completed repair expense ledger to the
                                                                 Receiver for his review.
May 2021     Business               05/19/21 JR              140 Review email from K. Duff requesting property closing update related to property insurance             0.3    0.006383        $0.89
             Operations                                          and provide same (see A).
May 2021     Business               05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0002361          $0.03
             Operations                                          insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                 Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)

May 2021     Business               05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third               0.1 0.0012346          $0.17
             Operations                                          restoration motion (.1).
May 2021     Business               05/20/21 JRW             260 correspondence with A. Porter and corporate counsel regarding administrative judgment                  0.1          0.1      $26.00
             Operations                                          (2136 W 83rd Street) (.1)
May 2021     Business               05/20/21 KMP             140 Review spreadsheet and invoices regarding property management expenses in connection                   0.4 0.0153846          $2.15
             Operations                                          with anticipated third restoration motion (.4)
May 2021     Claims                 05/07/21 JRW             260 Drafting of proposed process for properties with single claim (1017 W 102nd Street, 1516 E             1.3          0.1      $26.00
             Administration                                      85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                        Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                                 Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                 05/10/21 JRW             260 correspondence to claimants' counsel regarding single claims process (.1)                              0.1 0.0035714          $0.93
             Administration
             & Objections

May 2021     Claims                 05/10/21 JRW             260 confer with K. Duff on draft process for single claim properties, review and revise draft and          0.8 0.0615385         $16.00
             Administration                                      redline comments from M. Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                        Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (.8).

May 2021     Claims                 05/10/21 MR              390 Review and comment on single claims process (1017 W 102nd Street, 1516 E 85th Place,                   1.5 0.1153846         $45.00
             Administration                                      2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
             & Objections                                        8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                 05/11/21 JRW             260 Continue working on single claim process with K. Duff and M. Rachlis (1017 W 102nd Street,             3.6 0.2769231         $72.00
             Administration                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
             & Objections                                        Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                 Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S
                                                                 Cornell Avenue) (3.6)




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021     Claims                 05/11/21 JRW         260 prepare chart comparing deadlines in disputed claims process and draft single claim process           0.6 0.0214286         $5.57
             Administration                                  (.6).
             & Objections

May 2021     Claims                 05/11/21 MR          390 Further review and revise claims process related items (1017 W 102nd Street, 1516 E 85th              1.5 0.1153846        $45.00
             Administration                                  Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                             (1.5)
May 2021     Claims                 05/11/21 MR          390 conferences with J. Wine and K. Duff regarding claims process(1017 W 102nd Street, 1516 E             1.0 0.0769231        $30.00
             Administration                                  85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                             (1.0).
June 2021    Asset                  06/01/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding allocation of sales proceeds           0.4      0.0085       $3.32
             Disposition                                     and interest and study related information (single family).
June 2021    Asset                  06/16/21 KBD         390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                    0.2 0.0010625         $0.41
             Disposition
June 2021    Business               06/14/21 KBD         390 review correspondence regarding property expenses analysis and backup (.1)                            0.1 0.0038462         $1.50
             Operations
June 2021    Claims                 06/11/21 KBD         390 Review revised proposal for single claim process (1017 W 102nd Street, 1516 E 85th Place,             0.3 0.0107143         $4.18
             Administration                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                    8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                             Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

June 2021    Claims                 06/14/21 KBD         390 study correspondence from J. Wine and work on single claim process (1017 W 102nd Street,              0.2 0.0071429         $2.79
             Administration                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                    Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.2).

June 2021    Claims                 06/24/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (.1).                             0.1 0.0035714         $1.39
             Administration
             & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2021    Claims                 06/29/21 KBD             390 Study and revise process for single claim properties and draft related correspondence to J.            1.2 0.0428571        $16.71
             Administration                                      Wine (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                        7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                 Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                                 Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                                 Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                                 Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                                 Avenue, 8517 S Vernon Avenue) (1.2)

June 2021    Claims                 06/30/21 KBD             390 work on single claim process and study related correspondence from J. Wine (1017 W 102nd               0.3 0.0107143         $4.18
             Administration                                      Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                        8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (.3).

June 2021    Asset                  06/01/21 JR              140 Review email from J. Wine and respond accordingly regarding collection notice (7237-43 S               0.1 0.0005313         $0.07
             Disposition                                         Bennett Avenue) (.1)
June 2021    Asset                  06/01/21 JR              140 exchange correspondence with K. Duff, bank representative, K. Pritchard regarding net sale             1.2     0.01275       $1.79
             Disposition                                         proceeds from the single family homes, update allocation spreadsheet with interest and
                                                                 provide detailed instructions to the bank for single family home allocation related to each
                                                                 property (single family) (1.2).
June 2021    Asset                  06/01/21 JR              140 review email from buyer requesting ledgers and tenant payment information and produce                  0.5 0.0053125         $0.74
             Disposition                                         same (single family) (.5)
June 2021    Asset                  06/01/21 KMP             140 Review online banking records to confirm receipt of funds wired in connection with the sale            0.5    0.010625       $1.49
             Disposition                                         of the single family homes, calculate pro rata share of interest earned on sale proceeds, and
                                                                 related communications with K. Duff and J. Rak (single family).

June 2021    Asset                  06/02/21 JR              140 Review email from bank regarding allocation of funds and respond accordingly (single family)           0.2     0.00425       $0.60
             Disposition                                         (.2)
June 2021    Asset                  06/02/21 KMP             140 Study communications from bank representative regarding transfers of proceeds to property              0.2     0.00425       $0.60
             Disposition                                         accounts in connection with sale of single-family homes (single family).

June 2021    Asset                  06/03/21 KMP             140 Review and confirm transfers of sale proceeds from sale of single-family homes to individual           0.3    0.006375       $0.89
             Disposition                                         property accounts and related communication with K. Duff and J. Rak (single family).

June 2021    Asset                  06/07/21 JR              140 update closed property spreadsheet with single family home gross and net proceeds, make                1.2      0.0255       $3.57
             Disposition                                         corrections to normalize property addresses (single family) (1.2)




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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
June 2021    Asset                  06/08/21 JR              140 review email from property management and provide requested post-closing payment                      0.3    0.006375        $0.89
             Disposition                                         information related to tenant rent (single family) (.3)
June 2021    Asset                  06/09/21 JR              140 Organize master statements for each property (single family).                                         0.9    0.019125        $2.68
             Disposition
June 2021    Asset                  06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property           0.4    0.002125        $0.30
             Disposition                                         spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                 Avenue, 7051 S Bennett Avenue) (.4).
June 2021    Asset                  06/16/21 KMP             140 Review property accounts to update spreadsheets relating to post-sale reconciliation by               0.6    0.002125        $0.30
             Disposition                                         property managers and related communications with K. Duff and J. Rak (single family, 4750-
                                                                 52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 4611-17 Drexel Boulevard).
June 2021    Asset                  06/19/21 AEP             390 review property disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet           0.2     0.00425        $1.66
             Disposition                                         unpaid survey invoices and providing estimated dates of final payment (single family) (.2).

June 2021    Business               06/14/21 KMP             140 Exchange email correspondence with S. Zjalic regarding backup documentation for                       0.5 0.0192308          $2.69
             Operations                                          spreadsheet relating to property expenses and review spreadsheet and related receipts.

June 2021    Business               06/14/21 SZ              110 Review of building supply receipts and email communication with property manager about                4.7 0.1807692         $19.88
             Operations                                          same.
June 2021    Business               06/15/21 KMP             140 communications with S. Zjalic and property manager regarding documentation for building               0.2 0.0076923          $1.08
             Operations                                          management expenses (.2).
June 2021    Business               06/15/21 SZ              110 Continue to review building supply invoices and communicated with property manager                    1.3         0.05       $5.50
             Operations                                          about same.
June 2021    Business               06/18/21 KMP             140 further communications with S. Zjalic regarding spreadsheet and backup documentation for              0.2 0.0076923          $1.08
             Operations                                          property management expenses (.2).
June 2021    Business               06/21/21 KMP             140 conference with S. Zjalic regarding spreadsheet and backup documentation for property                 0.2 0.0076923          $1.08
             Operations                                          management expenses (.2).
June 2021    Business               06/22/21 SZ              110 Attention to email communication with property manager about outstanding invoices.                    0.2 0.0076923          $0.85
             Operations
June 2021    Business               06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent               0.5 0.0047619          $1.86
             Operations                                          and forward to accountant for use in preparation of reports (.5)
June 2021    Claims                 06/14/21 JRW             260 study revised process for single claim properties (1017 W 102nd Street, 1516 E 85th Place,            1.3 0.0464286         $12.07
             Administration                                      2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                        8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                                 Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                                 Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                                 Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                                 Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                                 Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) and related analysis to
                                                                 K. Duff and M. Rachlis (1.3).




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
June 2021    Claims                 06/30/21 JRW         260 review revisions to single claims process, related research and correspondence with K. Duff              1.0 0.0357143         $9.29
             Administration                                  (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.0).

July 2021    Asset                  07/14/21 KBD         390 confirmation of funds transfer amounts (single family) (.1).                                             0.1 0.0027027         $1.05
             Disposition
July 2021    Asset                  07/30/21 KBD         390 Confer with K. Pritchard and J. Rak regarding allocation of post-sale reconciliation funds from          0.3 0.0090909         $3.55
             Disposition                                     property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street) (.3)


July 2021    Business               07/13/21 KBD         390 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S                        0.3 0.0068182         $2.66
             Operations                                      Dorchester Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th
                                                             Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single
                                                             family) (.3)
July 2021    Claims                 07/04/21 KBD         390 Exchange correspondence with J. Wine regarding single claim process (sole lien).                         0.1 0.0035714         $1.39
             Administration
             & Objections

July 2021    Claims                 07/06/21 KBD         390 study correspondence from J. Wine regarding single claim process (sole lien) (.2).                       0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                 07/12/21 KBD         390 study correspondence from J. Wine regarding single claim process (sole lien) (.1).                       0.1 0.0035714         $1.39
             Administration
             & Objections




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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2021    Claims                 07/13/21 KBD             390 Study revisions to sole lien process and exchange correspondence with M. Rachlis and J.              0.6 0.0214286         $8.36
             Administration                                      Wine and M. Rachlis (sole lien) (.6)
             & Objections

July 2021    Claims                 07/14/21 KBD             390 exchange correspondence with J. Wine and M. Rachlis regarding sole lien process (sole lien)          0.4 0.0142857         $5.57
             Administration                                      (.4)
             & Objections

July 2021    Claims                 07/15/21 KBD             390 work on sole lien process and exchange related correspondence (sole lien) (.2).                      0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                 07/30/21 KBD             390 study correspondence from counsel for claimant regarding single claim process and related            0.2 0.0071429         $2.79
             Administration                                      analysis (sole lien) (.2).
             & Objections

July 2021    Asset                  07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                 0.2 0.0018868         $0.26
             Disposition                                         regarding closed properties status (see D) (.2)
July 2021    Asset                  07/09/21 JR              140 Review email from buyer for single family homes requesting clarification on tenant rent              0.3 0.0081081         $1.14
             Disposition                                         payments for previously sold property and review records (single family) (.3)

July 2021    Asset                  07/23/21 KMP             140 Communicate with K. Duff, A. Porter, and J. Rak regarding property manager's request for             0.8 0.0242424         $3.39
             Disposition                                         information in connection with post-sale reconciliation, prepare related spreadsheet and
                                                                 forward to property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd
                                                                 Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston
                                                                 Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                 Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
July 2021    Asset                  07/24/21 AEP         390 read and respond to correspondence with K. Duff and K. Pritchard regarding allocations of            0.2 0.0068966         $2.69
             Disposition                                     disbursements from property manager in connection with EB South Chicago 1 and EB South
                                                             Chicago 2 properties (1516 E 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
                                                             Avenue, 1017 W 102nd Street, 417 Oglesby Avenue, 7925 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,
                                                             11318 S Church Street, 10012 S LaSalle Avenue, 3723 W 68th Place, 406 E 87th Place, 61 E
                                                             92nd Street, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 3213 S Throop Street, 6554 S Rhodes Avenue, 6825 S
                                                             Indiana Avenue, 8346 S Constance Avenue, 7210 S Vernon Avenue) (.2).


July 2021    Asset                  07/27/21 KMP         140 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation funds from           0.3 0.0090909         $1.27
             Disposition                                     property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


July 2021    Asset                  07/27/21 KMP         140 Attention to email from property manager following up on issues relating to post-sale                0.2 0.0060606         $0.85
             Disposition                                     reconciliation and related communication with K. Duff (417 S Oglesby Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street).




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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2021    Asset                  07/30/21 JR              140 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds            0.3 0.0090909          $1.27
             Disposition                                         from property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place,
                                                                 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
                                                                 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)


July 2021    Business               07/14/21 AEP             390 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with               0.2 0.0054054          $2.11
             Operations                                          values of single-family home portfolio in connection with preparation of quarterly report
                                                                 (single family) (.2).
July 2021    Business               07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
             Operations                                          accordingly (see I).
July 2021    Business               07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
             Operations                                          restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                 Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                 2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                 26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                 Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                 Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                 Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                 Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                 Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                 Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                 Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                 Avenue).

July 2021    Claims                 07/01/21 JRW             260 telephone conference with M. Rachlis regarding process for resolution of single claims                 0.9 0.0321429          $8.36
             Administration                                      properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                        Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                                 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                                 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                                 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                                 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                                 Indiana Avenue, 8517 S Vernon Avenue) (.9)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2021    Claims                 07/01/21 JRW         260 email exchange and telephone conference with claimants' counsel regarding process for                 1.3 0.0464286        $12.07
             Administration                                  resolution of single claims properties, related preparation for same, and review of proposed
             & Objections                                    pleading (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.3)

July 2021    Claims                 07/01/21 MR          390 participate in call with J. Wine regarding issues on process for claims (sole lien) (.9).             0.9 0.0321429        $12.54
             Administration
             & Objections

July 2021    Claims                 07/01/21 MR          390 Review notes and materials regarding (sole lien) properties (.3)                                      0.3 0.0107143         $4.18
             Administration
             & Objections

July 2021    Claims                 07/06/21 JRW         260 Summarize conference call with claimant's counsel regarding claims resolution process and             0.4 0.0142857         $3.71
             Administration                                  related review of draft declaratory action (1017 W 102nd Street, 1516 E 85th Place, 2136 W
             & Objections                                    83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                             2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4)

July 2021    Claims                 07/12/21 JRW         260 draft correspondence to claimants' counsel regarding process for single-claim properties              0.5 0.0178571         $4.64
             Administration                                  (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (.5)




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2021    Claims                 07/13/21 JRW         260 exchange comments and revisions regarding single claims process with K. Duff and M.                     1.2 0.0428571        $11.14
             Administration                                  Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                    7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.2)

July 2021    Claims                 07/13/21 MR          390 Attention to claims process issues and related exchanges with K. Duff and J. Wine (sole lien).          0.4 0.0142857         $5.57
             Administration
             & Objections

July 2021    Claims                 07/14/21 AEP         390 read and respond to e-mails from J. Wine regarding secured claims being asserted in                     0.2 0.0071429         $2.79
             Administration                                  connection with single-family homes that have no competing claimants and other
             & Objections                                    receivership properties (sole lien) (.2).

July 2021    Claims                 07/14/21 JRW         260 correspondence with M. Rachlis and A. Porter regarding discovery for properties with single             0.7       0.025       $6.50
             Administration                                  disputed claim (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                    Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                             S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                             7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                             7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                             Indiana Avenue, 8517 S Vernon Avenue) (.7)

July 2021    Claims                 07/14/21 JRW         260 Revise draft correspondence to claimants' counsel regarding single claims process (1017 W               0.5 0.0178571         $4.64
             Administration                                  102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                             6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                             S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.5)

July 2021    Claims                 07/14/21 MR          390 Further review and comment on process issues and related exchanges (sole lien) (.3)                     0.3 0.0107143         $4.18
             Administration
             & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2021    Claims                 07/15/21 JRW         260 confer with A. Porter and K. Duff regarding process for resolution of single claims and revise          0.4 0.0142857         $3.71
             Administration                                  draft correspondence accordingly (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                    Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                             2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4).

July 2021    Claims                 07/15/21 MR          390 Attention to issues and follow up response to revisions on claim process (sole lien).                   0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                 07/16/21 JRW         260 exchange correspondence with counsel for claimants regarding claims resolution procedures               0.1 0.0035714         $0.93
             Administration                                  (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (.1)

July 2021    Claims                 07/30/21 JRW         260 review correspondence from counsel for claimants regarding process to resolve claims (1017              0.1 0.0035714         $0.93
             Administration                                  W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                    Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                             6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                             S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.1)




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2021 Asset                   08/06/21 KBD         390 Prepare spreadsheet confirming allocation of post-sale funds from property manager and               0.3 0.0090909         $3.55
            Disposition                                      exchange various related correspondence for information (417 S Oglesby Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street).

August 2021 Asset                   08/09/21 KBD         390 Continue to prepare and finalize spreadsheet confirming allocation of post-sale funds from           0.7 0.0212121         $8.27
            Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/13/21 KBD         390 Work on post-sale reconciliation of property manager funds (417 S Oglesby Avenue, 7925 S             0.4 0.0121212         $4.73
            Disposition                                      Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street) (.4)

August 2021 Claims                  08/04/21 KBD         390 exchange correspondence with J. Wine regarding sole lien process and follow up with                  0.1 0.0035714         $1.39
            Administration                                   counsel for claimants (sole lien) (.1)
            & Objections

August 2021 Claims                  08/05/21 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding sole lien process (sole lien)          0.2 0.0071429         $2.79
            Administration                                   (.2).
            & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
August 2021 Claims                  08/06/21 KBD             390 Exchange correspondence and telephone conference with J. Wine regarding single claim                0.2 0.0071429         $2.79
            Administration                                       process and communication with claimants' counsel regarding same (sole lien) (.2)
            & Objections

August 2021 Claims                  08/17/21 KBD             390 review draft motion to approve process for sole lien properties (sole lien) (.2).                   0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                  08/20/21 KBD             390 review draft motion for sole lien process (sole lien) (.2)                                          0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                  08/26/21 KBD             390 Confer with J. Wine regarding sole lien process and draft motions from claimants' counsel           0.1 0.0035714         $1.39
            Administration                                       (sole lien) (.1)
            & Objections

August 2021 Claims                  08/27/21 KBD             390 Study draft single claim process and related correspondence (sole lien).                            0.3 0.0107143         $4.18
            Administration
            & Objections

August 2021 Asset                   08/02/21 KMP             140 Communicate with property manager regarding allocation of post-sale reconciliation funds            0.2 0.0060606         $0.85
            Disposition                                          (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/06/21 JR              140 review email from K. Duff related to allocations for post-closing reconciliation regarding          0.2 0.0054054         $0.76
            Disposition                                          properties and further communicate with A. Porter regarding same (single family) (.2).




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2136 W 83rd Street                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2021 Asset                   08/13/21 KMP         140 Communications with K. Duff and property manager regarding issues with post-sale                     0.3 0.0090909         $1.27
            Disposition                                      reconciliations and transfer of funds and forward related spreadsheet to property manager
                                                             (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                             Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/20/21 KMP         140 Follow up on post-sale reconciliation and deposits to property accounts (417 S Oglesby               0.2 0.0060606         $0.85
            Disposition                                      Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                             9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                             102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                             68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                             8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                             Street, 1422-24 E 68th Street).

August 2021 Asset                   08/23/21 KMP         140 Follow up with K. Duff and property manager on post-sale reconciliation and deposits to              0.2 0.0060606         $0.85
            Disposition                                      property accounts (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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2136 W 83rd Street                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2021 Asset                   08/24/21 KMP             140 Prepare spreadsheet for property manager relating to post-sale reconciliation and deposits            0.7 0.0212121         $2.97
            Disposition                                          to property accounts, and related communication with K. Duff and property manager (417 S
                                                                 Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/25/21 KMP             140 Communicate with property manager and bank representatives regarding information                      0.4 0.0121212         $1.70
            Disposition                                          required for post-sale reconciliation and deposits to property accounts (417 S Oglesby
                                                                 Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                                 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                                 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                                 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 1422-24 E 68th Street).

August 2021 Asset                   08/30/21 JR              140 Review email from K. Duff regarding tax bills for single family homes and advise accordingly          0.2 0.0054054         $0.76
            Disposition                                          (single family) (.2)
August 2021 Asset                   08/31/21 KMP             140 Review online bank records to confirm receipt of post-sale reconciliation funds from                  0.6 0.0181818         $2.55
            Disposition                                          property manager and related communications with K. Duff and property manager (417 S
                                                                 Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).

August 2021 Claims                  08/04/21 JRW             260 email exchange with counsel for claimants regarding single claims process and related                 0.2 0.0071429         $1.86
            Administration                                       conference with K. Duff (sole lien) (.2).
            & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2021 Claims                  08/05/21 JRW         260 review correspondence from claimants' counsel regarding single claim process (sole lien)               0.1 0.0035714         $0.93
            Administration                                   (Group 1) (.1).
            & Objections

August 2021 Claims                  08/05/21 MR          390 Follow up on issues regarding single claim process and negotiations with counsel, J. Wine,             0.2 0.0071429         $2.79
            Administration                                   and K. Duff (sole lien).
            & Objections

August 2021 Claims                  08/06/21 JRW         260 Exchange correspondence and multiple telephone conferences with counsel for claimants                  0.5 0.0178571         $4.64
            Administration                                   and K. Duff regarding motion practice or joint report regarding process for single claim
            & Objections                                     properties (sole lien) (.5)

August 2021 Claims                  08/13/21 JRW         260 Correspond with counsel for claimants regarding joint motion and related discussion with K.            0.3 0.0107143         $2.79
            Administration                                   Duff (sole lien) (.3)
            & Objections

August 2021 Claims                  08/26/21 JRW         260 Email exchange with claimants' counsel regarding proposed process for resolution of claims,            0.5 0.0178571         $4.64
            Administration                                   begin reviewing draft motions, and related telephone conference with K. Duff (sole lien) (.5)
            & Objections

August 2021 Claims                  08/27/21 JRW         260 Study draft motions from claimants' counsel and provide analysis to K. Duff (sole lien) (1.8)          1.8 0.0642857        $16.71
            Administration
            & Objections

September Asset                     09/22/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations               0.1    0.002439       $0.95
2021      Disposition                                        (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue) (.1)
September Business                  09/24/21 KBD         390 study correspondence from property manager regarding post-sale fund distributions (single              0.2    0.004878       $1.90
2021      Operations                                         family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-
                                                             27 S Dorchester Avenue) (.2)
September Claims                    09/06/21 KBD         390 Work on sole lien process (sole lien).                                                                 1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                    09/07/21 KBD         390 Work on sole lien process (sole lien) (.5)                                                             0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/07/21 KBD         390 telephone conference with J. Wine regarding sole lien process (sole lien) (.2)                         0.2 0.0071429         $2.79
2021      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/08/21 KBD         390 Work on sole lien process (sole lien) (.3)                                                            0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/09/21 KBD         390 draft correspondence to A. Porter regarding potential discovery (sole lien) (.2).                     0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/09/21 KBD         390 work on sole lien process (sole lien) (.5)                                                            0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/10/21 KBD         390 work on sole lien process and exchange related correspondence (sole lien) (1.7)                       1.7 0.0607143        $23.68
2021      Administration
          & Objections

September Claims                    09/11/21 KBD         390 Work on sole lien process and exchange related correspondence (sole lien).                            0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/13/21 KBD         390 study revised sole lien claims process and exchange related correspondence (sole lien) (.3).          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/14/21 KBD         390 Study correspondence regarding sole lien process and revised process documents (sole lien)            0.3 0.0107143         $4.18
2021      Administration                                     (.3)
          & Objections

September Claims                    09/15/21 KBD         390 Confer and exchange correspondence with M. Rachlis and J. Wine regarding sole lien claims             0.8 0.0285714        $11.14
2021      Administration                                     process and related discussions with claimants' counsel (sole lien) (.8)
          & Objections

September Claims                    09/15/21 KBD         390 confer with claimants' counsel and J. Wine regarding sole lien process (sole lien) (.3)               0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/16/21 KBD         390 Revise sole lien claims process, review further drafts, and exchange related correspondence           2.7 0.0964286        $37.61
2021      Administration                                     with J. Wine (sole lien) (2.7)
          & Objections




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
September Claims                    09/17/21 KBD             390 Analyze and revise sole lien claims process and exchange various related correspondence                 3.3 0.1178571        $45.96
2021      Administration                                         with M. Rachlis and J. Wine (sole lien) (3.3)
          & Objections

September Claims                    09/20/21 KBD             390 Study related correspondence from J. Wine regarding sole lien process (sole lien) (.2)                  0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/21/21 KBD             390 study and revise joint motion regarding sole lien process and exchange related                          0.5 0.0178571         $6.96
2021      Administration                                         correspondence with J. Wine regarding (sole lien) (.5).
          & Objections

September Claims                    09/22/21 KBD             390 work on single claim process and exchange various related correspondence (sole lien) (1.5)              1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                    09/23/21 KBD             390 telephone conference with J. Wine regarding sole lien properties, claims analysis, and                  0.3 0.0107143         $4.18
2021      Administration                                         barriers related issues (sole lien) (.3)
          & Objections

September Claims                    09/23/21 KBD             390 Study and revise several drafts of sole lien claims process and exchange various related                1.6 0.0571429        $22.29
2021      Administration                                         correspondence with M. Rachlis and J. Wine (sole lien) (1.6)
          & Objections

September Claims                    09/24/21 KBD             390 Study and revise sole lien claims process and exchange various related correspondence with              0.7       0.025       $9.75
2021      Administration                                         J. Wine (sole lien).
          & Objections

September    Asset                  09/01/21 JR              140 review paper property tax statement and forward to buyer for single family homes, request               0.2 0.0054054         $0.76
2021         Disposition                                         buyer to change address for delivery of same (single family) (.2)
September    Asset                  09/22/21 JR              140 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions          1.1 0.0268293         $3.76
2021         Disposition                                         and update same for single family homes and other various properties (single family, 1422-
                                                                 24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S
                                                                 Dorchester Avenue) (1.1)
September Asset                     09/22/21 JR              140 further communication with K. Pritchard related to post- closing reconciliation distributions           0.1    0.002439       $0.34
2021      Disposition                                            (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                 6217-27 S Dorchester Avenue) (.1).




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2136 W 83rd Street                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September Asset                     09/22/21 KMP             140 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related                 2.1      0.0525       $7.35
2021      Disposition                                            communication with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place,
                                                                 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                 Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                 Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                 Avenue, 1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)


September Asset                     09/23/21 JR              140 Exchange correspondence with K. Pritchard regarding post-closing reconciliation                      0.3 0.0073171         $1.02
2021      Disposition                                            distributions (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S
                                                                 Bennett Avenue, 6217-27 S Dorchester Avenue) (.3)
September    Business               09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and             2.6 0.0320988         $4.49
2021         Operations                                          E. Duff (see I and J) (2.6)
September    Business               09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to           0.2 0.0024691         $0.35
2021         Operations                                          reimbursable amounts (see I and J) (.2).
September    Business               09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)              0.1 0.0012346         $0.17
2021         Operations                                          (.1)
September    Business               09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with           0.3 0.0065217         $0.72
2021         Operations                                          the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                 Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                 Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                 1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                 Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                 Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                 06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                 Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                 Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                 Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                 Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                    09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                  0.8 0.0089888         $1.26
2021      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/02/21 JRW         260 email exchange with claimants' counsel regarding joint motions (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/06/21 JRW         260 Correspond with K. Duff regarding revisions to single claim process (sole lien).                     0.3 0.0107143         $2.79
2021      Administration
          & Objections

September Claims                    09/07/21 JRW         260 telephone conference with K. Duff regarding draft joint motion (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/10/21 JRW         260 confer with K. Duff regarding single claim process (sole lien) (.1)                                  0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/10/21 JRW         260 review redline of draft motion regarding claims process and further revise same (sole lien)          1.6 0.0571429        $14.86
2021      Administration                                     (1.6)
          & Objections

September Claims                    09/13/21 JRW         260 review redline and further revise proposed joint motion and related correspondence to K.             1.5 0.0535714        $13.93
2021      Administration                                     Duff and M. Rachlis regarding open issues (sole lien) (1.5)
          & Objections

September Claims                    09/14/21 JRW         260 Work on single claims process and related exchange of correspondence with M. Rachlis                 0.6 0.0214286         $5.57
2021      Administration                                     regarding single claim process (sole lien) (.6)
          & Objections

September Claims                    09/14/21 MR          390 Further work on single lien claim process and work and exchanges with J. Wine (sole lien).           0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/15/21 JRW         260 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien) (.7)                   0.7       0.025       $6.50
2021      Administration
          & Objections

September Claims                    09/15/21 JRW         260 telephone conference with K. Duff and M. Rachlis regarding process for single claim                  0.8 0.0285714         $7.43
2021      Administration                                     properties (sole lien) (.8)
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Claims                    09/15/21 JRW         260 exchange correspondence and telephone conference with claimants' counsel regarding                     0.4 0.0142857         $3.71
2021      Administration                                     process for single claim properties (sole lien) (.4)
          & Objections

September Claims                    09/15/21 JRW         260 revise proposed process for single lien claims (sole lien) (1.6).                                      1.6 0.0571429        $14.86
2021      Administration
          & Objections

September Claims                    09/15/21 MR          390 Further review and attention to various issues on the single lien process and review various           0.6 0.0214286         $8.36
2021      Administration                                     drafts and e-mails regarding same from K. Duff and J. Wine (sole lien) (.6)
          & Objections

September Claims                    09/15/21 MR          390 participate in meeting with K. Duff and J. Wine regarding the single lien process (sole lien)          0.8 0.0285714        $11.14
2021      Administration                                     (.8).
          & Objections

September Claims                    09/16/21 AEP         390 Teleconference with J. Wine regarding discovery issues associated with single-claim                    0.6 0.0214286         $8.36
2021      Administration                                     properties encumbered by loans and legal issues associated with priority determinations
          & Objections                                       (sole lien).

September Claims                    09/16/21 JRW         260 revise draft motion (sole lien) (1.1).                                                                 1.1 0.0392857        $10.21
2021      Administration
          & Objections

September Claims                    09/16/21 JRW         260 revise draft process for single claim properties to incorporate comments from M. Rachlis               0.8 0.0285714         $7.43
2021      Administration                                     (sole lien) (.8)
          & Objections

September Claims                    09/16/21 JRW         260 Telephone conference with A. Porter regarding third-party discovery needs and analysis of              0.6 0.0214286         $5.57
2021      Administration                                     claims (sole lien) (.6)
          & Objections

September Claims                    09/17/21 JRW         260 correspondence with M. Rachlis and K. Duff regarding single claims process (sole lien) (.1)            0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/17/21 JRW         260 Review redlines and further revise single claims process and draft motion (sole lien) (1.0)            1.0 0.0357143         $9.29
2021      Administration
          & Objections




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2136 W 83rd Street                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                            Hours        Fees
September Claims                    09/17/21 MR          390 Review and revise drafts of the joint motion for claims process and related follow up with K.              1.5 0.0535714        $20.89
2021      Administration                                     Duff and J. Wine (sole lien).
          & Objections

September Claims                    09/20/21 JRW         260 Additional revisions to single claims process and motion (sole lien) (1.3)                                 1.3 0.0464286        $12.07
2021      Administration
          & Objections

September Claims                    09/21/21 JRW         260 review revisions to draft joint motion regarding process for single claims and related                     0.4 0.0142857         $3.71
2021      Administration                                     correspondence with K. Duff (sole lien) (.4)
          & Objections

September Claims                    09/22/21 JRW         260 correspondence with K. Duff and M. Rachlis regarding single claims process, review multiple                2.1       0.075      $19.50
2021      Administration                                     redlines and further revise motion and proposed process to incorporate comments (sole lien)
          & Objections                                       (2.1)

September Claims                    09/22/21 MR          390 Further review and comment on issues regarding proposals on single lien process and follow                 1.2 0.0428571        $16.71
2021      Administration                                     up regarding same (sole lien) (1.2)
          & Objections

September Claims                    09/23/21 JRW         260 Additional revisions to single claims process and related correspondence (sole lien) (.8)                  0.8 0.0285714         $7.43
2021      Administration
          & Objections

September Claims                    09/23/21 MR          390 Attention to issues and edits on motion regarding single lien issues (sole lien).                          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/24/21 JRW         260 final revisions to single claims process and related email to claimants' counsel (sole lien) (.4)          0.4 0.0142857         $3.71
2021      Administration
          & Objections




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  417 Oglesby Avenue
General Allocation % (Pre 01/29/21):                                                 0.1246126%
General Allocation % (01/29/21 Onward, Claims Only):

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     19       417 Oglesby Avenue                                                             4.29     $              1,172.86                           51.02    $            14,159.55               55.31    $             15,332.40
                 Asset Disposition [4]                                                        0.26    $                    85.80                         27.93   $               6,573.76              28.20   $                  6,659.57
                 Business Operations [5]                                                      0.26    $                    79.21                         11.02   $               3,617.99              11.29   $                  3,697.19
                 Claims Administration & Objections [6]                                       3.77    $                 1,007.84                         12.06   $               3,967.80              15.83   $                  4,975.64




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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417 Oglesby Avenue                                                        EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    51.02
Specific Allocation Fees:         $       14,159.55



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2018 Business                08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                       issues (.4)
August 2018 Business                08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                       flow (.2)
August 2018 Business                08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                       with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                       issues (.9)
August 2018 Business                08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Business                08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Claims                  08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding                  1.9 0.0213483         $8.33
            Administration                                   institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                  08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                   same.
            & Objections

August 2018 Claims                  08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                   and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                  08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                   lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                   regarding same (.1)
            & Objections

August 2018 Claims                  08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                   lenders (.4)
            & Objections

August 2018 Asset                   08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                      emails regarding same.




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2018 Business                08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                       properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                       functions being performed, scope of assets under management, and immediate action items
                                                             (1.5)
August 2018 Business                08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                       regarding necessity of funding continuing operations at all properties, and additional
                                                             financial issues relating to EquityBuild (.5).
August 2018 Business                08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Claims                  08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                  08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                  08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                  08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                   documents relating to mortgage loans (.5)
            & Objections

August 2018 Claims                  08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2018 Claims                  08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                          0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                  08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments                1.1 0.0123596         $4.82
            Administration                                   (1.1).
            & Objections

August 2018 Claims                  08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                               0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)             0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                  08/31/18 ED          390 confer with Receiver's counsel regarding requirements for receipt of lenders' documents via            0.3 0.0081081         $3.16
            Administration                                   drive and regarding information pertaining to institutional loans from records of EquityBuild
            & Objections                                     counsel (.3).

August 2018 Claims                  08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                           5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                  08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                       0.2 0.0022472         $0.58
            Administration                                   institutional lenders (.2)
            & Objections

August 2018 Claims                  08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via              1.5 0.0168539         $4.38
            Administration                                   email (1.5).
            & Objections

September   Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                 0.4 0.0037383         $1.46
2018        Disposition                                      with M. Rachlis regarding same (.4)
September   Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                      0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related             0.1 0.0009346         $0.36
2018        Disposition                                      information.
September   Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                         0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                       0.1 0.0009346         $0.36
2018        Disposition




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September   Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018        Disposition
September   Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018        Disposition
September   Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018        Disposition                                      brokers (.1).
September   Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018        Disposition                                      reports.
September   Business                09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018        Operations                                       information (.2)
September   Business                09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018        Operations
September   Business                09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018        Operations
September   Business                09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018        Operations
September   Business                09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018        Operations
September   Business                09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018        Operations                                       same (.5)
September   Business                09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018        Operations                                       letter agreement with property manager (.4)
September   Business                09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018        Operations
September   Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018        Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September   Business                09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018        Operations                                       structure (.4)
September   Business                09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018        Operations                                       requests from lenders (.3)
September   Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018        Operations                                       receivership and property issues (.7)
September   Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018        Operations
September   Business                09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018        Operations
September   Business                09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018        Operations                                       compensation structure and prospective property improvements (.5)
September   Business                09/10/18 KBD         390 revise compensation structure (.4)                                                                      0.4 0.0058824         $2.29
2018        Operations
September   Business                09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018        Operations                                       compensation (.1)


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September   Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                              2.5 0.0233645         $9.11
2018        Operations
September   Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                 0.2 0.0018692         $0.73
2018        Operations
September   Business                09/11/18 KBD         390 revise agreement with property manager (.2)                                                            0.2 0.0029412         $1.15
2018        Operations
September   Business                09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                  0.4 0.0059701         $2.33
2018        Operations                                       overall portfolio and property values (.4)
September   Business                09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                 0.3 0.0044118         $1.72
2018        Operations
September   Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                 0.1 0.0009346         $0.36
2018        Operations                                       estate firm representatives (.1)
September   Business                09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                 0.5    0.004717       $1.84
2018        Operations                                       health, life safety issues, and court cases regarding property violation notices and remedial
                                                             efforts (.5)
September   Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel             0.1 0.0009434         $0.37
2018        Operations                                       (.1)
September   Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding             0.1 0.0009346         $0.36
2018        Operations                                       same (.1)
September   Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                         2.1 0.0196262         $7.65
2018        Operations
September   Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                           0.1 0.0009346         $0.36
2018        Operations
September   Claims                  09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                        0.5    0.005618       $2.19
2018        Administration
            & Objections

September Claims                    09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                 0.8 0.0089888         $3.51
2018      Administration                                     potential distribution issues (.8)
          & Objections

September Claims                    09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                      0.4 0.0044944         $1.75
2018      Administration                                     lenders and various related issues (.4)
          & Objections

September Claims                    09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                     0.4 0.0044944         $1.75
2018      Administration                                     lenders.
          & Objections

September Claims                    09/25/18 KBD         390 study correspondence from lenders servicing agent (.3).                                                0.3 0.0081081         $3.16
2018      Administration
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
September Claims                    09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender              0.3 0.0033708         $1.31
2018      Administration                                     production of documentation and rights with respect to same (.3)
          & Objections

September Claims                    09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections

September Claims                    09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                             0.7 0.0078652         $3.07
2018      Administration
          & Objections

September Claims                    09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders                0.4 0.0071429         $2.79
2018      Administration                                     (.4)
          & Objections

September   Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                   0.4 0.0037383         $1.46
2018        Disposition
September   Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions             1.9    0.017757       $6.93
2018        Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                             brokerage firms (1.9).
September   Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)               0.3 0.0028037         $1.09
2018        Disposition
September   Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                            0.2 0.0018692         $0.26
2018        Disposition
September   Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                              0.1 0.0009346         $0.13
2018        Disposition
September   Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                    0.1 0.0009346         $0.13
2018        Disposition                                      when they will be ready (.1)
September   Asset                   09/14/18 AW          140 email brokers (.2).                                                                                       0.2 0.0018692         $0.26
2018        Disposition
September   Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                           0.3 0.0028037         $0.39
2018        Disposition
September   Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                              0.1 0.0009346         $0.13
2018        Disposition
September   Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                       2.7 0.0252336         $9.84
2018        Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                             production.
September   Asset                   09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                      0.1 0.0009346         $0.36
2018        Disposition                                      statements for production to potential brokerage.
September   Asset                   09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                    0.3 0.0028037         $1.09
2018        Disposition                                      prepare e-mail to competing brokerage firms regarding existence and location of
                                                             documentation.


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
September   Business                09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552         $3.49
2018        Operations                                       documents received regarding same (.6).
September   Business                09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478         $4.07
2018        Operations                                       same (.7);
September   Business                09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708         $1.31
2018        Operations
September   Business                09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708         $1.31
2018        Operations                                       revision to procedure for reporting to institutional lenders (.3).
September   Business                09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944         $1.75
2018        Operations                                       lenders and possible revisions to procedure for reporting by property managers (.4)

September   Business                09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247         $7.89
2018        Operations
September   Business                09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596         $4.82
2018        Operations
September   Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037         $1.09
2018        Operations                                       with prospective brokers (.3)
September   Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383         $1.46
2018        Operations                                       distribution (.4).
September   Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692         $0.49
2018        Operations                                       other expenses/money coming into receivership (.2)
September   Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434         $0.25
2018        Operations
September   Business                09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                      2.4 0.0510638        $19.91
2018        Operations                                       relating to mortgage loans (2.4)
September   Claims                  09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708         $1.31
2018        Administration                                   correspondence (.3).
            & Objections

September Claims                    09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                             0.5 0.0089286         $3.48
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236         $0.16
2018      Administration
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                           0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                              0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                    09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                     (.2).
          & Objections

September Claims                    09/13/18 NM          260 Correspond with A. Watychowicz regarding data platform with investor-lender information             0.6 0.0074074         $1.93
2018      Administration                                     and draft notice letter for same (.6)
          & Objections

September Claims                    09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
September Claims                    09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 emails to lenders and counsel to follow up on missing loan documents (1.6)                          1.6 0.0421053        $16.42
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                    09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                    09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                     of documents and information regarding same (1.4)
          & Objections

September Claims                    09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/20/18 ED          390 Calls and emails with counsel for lender and special servicer.                                      3.8 0.1027027        $40.05
2018      Administration
          & Objections

September Claims                    09/21/18 ED          390 Review correspondence from lenders and counsel (.4)                                                 0.4 0.0074074         $2.89
2018      Administration
          & Objections

September Claims                    09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                     with loans and repairs, and potential assets from loan application refunds.
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                  0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                    09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                     lenders (.3)
          & Objections

September Claims                    09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                     points and authorities (1.7)
          & Objections

September Claims                    09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                    09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                    09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                 2.5 0.0446429        $17.41
2018      Administration                                     (2.5)
          & Objections

October     Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018        Disposition
October     Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018        Disposition                                      properties and debt ratio (.4).
October     Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018        Disposition
October     Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018        Disposition                                      (2.7)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
October     Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                               0.9 0.0084112         $3.28
2018        Disposition
October     Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                               1.7 0.0158879         $6.20
2018        Disposition
October     Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                             0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                         0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                            0.7 0.0065421         $2.55
2018        Disposition
October     Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                 0.2 0.0018692         $0.73
2018        Disposition
October     Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                         2.1 0.0196262         $7.65
2018        Disposition
October     Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                0.2 0.0018692         $0.73
2018        Disposition
October     Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                  0.9 0.0084112         $3.28
2018        Disposition
October     Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                             0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                 0.9 0.0084112         $3.28
2018        Disposition
October     Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement            0.7 0.0065421         $2.55
2018        Disposition                                      terms and further background information(.7)
October     Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)              1.5 0.0140187         $5.47
2018        Disposition
October     Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same             0.3 0.0028037         $1.09
2018        Disposition                                      (.3)
October     Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                0.2 0.0018692         $0.73
2018        Disposition                                      regarding engagement of broker (.2)
October     Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                          0.8 0.0074766         $2.92
2018        Disposition
October     Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                             0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key          2.1 0.0196262         $7.65
2018        Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October     Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                             0.6 0.0056075         $2.19
2018        Disposition
October     Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                            0.1 0.0009346         $0.36
2018        Disposition
October     Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                   0.1 0.0009346         $0.36
2018        Disposition


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
October     Asset                   10/24/18 KBD         390 study analysis of single family home portfolio (.4).                                                0.4 0.0108108         $4.22
2018        Disposition
October     Asset                   10/25/18 KBD         390 study draft purchase and sale agreement and representation agreement for single family              0.2 0.0054054         $2.11
2018        Disposition                                      homes and review correspondence regarding same (.2)
October     Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018        Disposition
October     Business                10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018        Operations                                       documents, efforts to gain lender release of escrow funds, and communications from lender
                                                             regarding status of loans relative to loan obligations and study document and
                                                             correspondence regarding same (.6)
October     Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018        Operations                                       and tenant evictions (.2)
October     Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018        Operations                                       regarding scofflaw list (.1)
October     Business                10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018        Operations                                       court, and confirmation of accounting for rents (.3)
October     Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018        Operations                                       property managers (.4)
October     Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018        Operations
October     Business                10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018        Operations
October     Business                10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018        Operations
October     Business                10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018        Operations
October     Business                10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018        Operations
October     Business                10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018        Operations
October     Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018        Operations                                       properties (.1)
October     Business                10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018        Operations                                       property managers to provide rent rolls and profit and loss reports for each property to
                                                             institutional lenders and addressing coordination of property inspections (.3)

October     Claims                  10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018        Administration                                   information, and related issues and study documents regarding same.
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October     Claims                  10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                       0.3 0.0033708         $1.31
2018        Administration                                   information (.3).
            & Objections

October     Claims                  10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018        Administration                                   and provisions in order appointing receiver (.4)
            & Objections

October     Claims                  10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)             0.8 0.0089888         $3.51
2018        Administration
            & Objections

October     Claims                  10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018        Administration                                   procedures and communications with institutional lenders with respect to same (1.1)
            & Objections

October     Claims                  10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018        Administration
            & Objections

October     Claims                  10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018        Administration                                   institutional lender and property managers, analysis of loan history, various loan documents,
            & Objections                                     rent rolls, and various related issues (2.8)

October     Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018        Administration
            & Objections

October     Claims                  10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018        Administration
            & Objections

October     Claims                  10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018        Administration                                   representative regarding debt service analysis (.3)
            & Objections

October     Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018        Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October     Claims                  10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                0.4 0.0044944         $1.75
2018        Administration                                   same (.4).
            & Objections

October     Claims                  10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and                 0.2 0.0051282         $2.00
2018        Administration                                   appraisals (.2).
            & Objections

October     Claims                  10/30/18 KBD         390 study correspondence from lenders counsel regarding requested documentation (.5)                     0.5 0.0135135         $5.27
2018        Administration
            & Objections

October     Claims                  10/30/18 KBD         390 study correspondence from M. Rachlis and E. Duff regarding same (.2)                                 0.2 0.0054054         $2.11
2018        Administration
            & Objections

October     Claims                  10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information            0.2 0.0051282         $2.00
2018        Administration                                   (.2)
            & Objections

October     Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                   2.5 0.0233645         $9.11
2018        Disposition
October     Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                3.2 0.0299065        $11.66
2018        Disposition                                      firms.
October     Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                             3.0 0.0280374        $10.93
2018        Disposition
October     Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                    0.5 0.0046729         $1.21
2018        Disposition
October     Asset                   10/03/18 MR          390 Review broker proposal.                                                                              0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.           3.7 0.0345794        $13.49
2018        Disposition
October     Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax               0.4 0.0037383         $0.97
2018        Disposition                                      payments and sale of same, and property database.
October     Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential            1.5 0.0140187         $5.47
2018        Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October     Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                              0.5 0.0046729         $1.82
2018        Disposition
October     Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                               0.8 0.0074766         $2.92
2018        Disposition
October     Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing          0.5 0.0046729         $1.82
2018        Disposition                                      agreement and upcoming receivership tasks.




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October     Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018        Disposition                                      agent (1.5).
October     Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018        Disposition                                      Duff and M. Rachlis.
October     Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                  2.2 0.0205607         $8.02
2018        Disposition
October     Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                        0.6 0.0056075         $2.19
2018        Disposition
October     Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                            1.3 0.0121495         $1.70
2018        Disposition
October     Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                          0.3 0.0028037         $0.39
2018        Disposition
October     Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                                 0.3 0.0028037         $0.39
2018        Disposition
October     Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                               0.1 0.0009346         $0.13
2018        Disposition
October     Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to                 0.1 0.0009346         $0.13
2018        Disposition                                      retained broker (.1)
October     Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                     2.1 0.0196262         $5.10
2018        Disposition                                      engagement (2.1).
October     Asset                   10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                       1.5 0.0223881         $8.73
2018        Disposition                                      commencement of process of identifying assets for immediate sale (1.5)
October     Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.               2.0 0.0186916         $7.29
2018        Disposition
October     Asset                   10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                             0.1 0.0014925         $0.21
2018        Disposition
October     Asset                   10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                     0.1 0.0014925         $0.21
2018        Disposition
October     Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                              0.1 0.0009346         $0.13
2018        Disposition
October     Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                    2.1 0.0196262         $7.65
2018        Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October     Business                10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding                 2.4 0.0269663        $10.52
2018        Operations                                       same (2.4)
October     Business                10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and               2.7 0.0303371        $11.83
2018        Operations                                       alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                             portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                             receivership.
October     Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,               2.0 0.0186916         $4.86
2018        Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                             property manager regarding same and lender requests (2.0)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October     Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018        Operations
October     Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018        Operations
October     Business                10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018        Operations
October     Claims                  10/02/18 ED          390 review correspondence and documents relating to required financial reporting under                   0.6 0.0098361         $3.84
2018        Administration                                   mortgage loan documents (.6).
            & Objections

October     Claims                  10/02/18 ED          390 Review and reply to messages from lenders and counsel (2.5)                                          2.5 0.0409836        $15.98
2018        Administration
            & Objections

October     Claims                  10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895         $6.16
2018        Administration
            & Objections

October     Claims                  10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                    0.2 0.0043478         $1.70
2018        Administration
            & Objections

October     Claims                  10/11/18 ED          390 Review and respond to emails from K Duff, M. Rachlis relating to financial reporting to              0.6 0.0162162         $6.32
2018        Administration                                   lender.
            & Objections

October     Claims                  10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944         $1.75
2018        Administration
            & Objections

October     Claims                  10/19/18 ED          390 conference calls with lender's counsel regarding assignment of rents, debt service payments          2.3 0.0425926        $16.61
2018        Administration                                   and other issues (2.3)
            & Objections

October     Claims                  10/19/18 ED          390 email correspondence with Receiver and M. Rachlis, A. Porter regarding same (1.1)                    1.1 0.0203704         $7.94
2018        Administration
            & Objections

October     Claims                  10/21/18 ED          390 review of loan documents received from counsel to lender regarding loans and email to                1.9 0.0513514        $20.03
2018        Administration                                   counsel regarding loan information not yet supplied (1.9)
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
October     Claims                  10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of               2.9 0.0325843        $12.71
2018        Administration                                   related loan documents and information supplied by lenders (2.9)
            & Objections

October     Claims                  10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708         $1.31
2018        Administration
            & Objections

October     Claims                  10/22/18 ED          390 Confer with Receiver and counsel regarding lender requests.                                        0.1    0.002381       $0.93
2018        Administration
            & Objections

October     Claims                  10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).              3.0 0.0652174        $25.43
2018        Administration
            & Objections

October     Claims                  10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel           0.9 0.0195652         $7.63
2018        Administration                                   regarding property reporting, insurance, and appraisals (.9)
            & Objections

October     Claims                  10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018        Administration                                   leases.
            & Objections

October     Claims                  10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018        Administration                                   portfolio properties (1.5)
            & Objections

October     Claims                  10/25/18 ED          390 review loan documents relating to insurance requirements (1.5).                                    1.5 0.0405405        $15.81
2018        Administration
            & Objections

October     Claims                  10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018        Administration                                   amount of mortgage loans (.2)
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours         Fees
October     Claims                  10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and          0.9 0.0101124          $3.94
2018        Administration                                   logistics for site visits (.9)
            & Objections

October     Claims                  10/29/18 ED          390 confer with Receiver regarding same (.2)                                                          0.2 0.0022472          $0.88
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                     0.5 0.0046729          $1.82
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                               0.3 0.0033708          $1.31
2018        Administration
            & Objections

October     Claims                  10/29/18 ED          390 review of related documents (.5)                                                                  0.5    0.005618        $2.19
2018        Administration
            & Objections

October     Claims                  10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to            0.3 0.0033708          $1.31
2018        Administration                                   lenders (.3)
            & Objections

October     Claims                  10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan             0.6 0.0067416          $2.63
2018        Administration                                   balances for report (.6).
            & Objections

October     Claims                  10/30/18 ED          390 Review and reply to correspondence and calls from lenders counsel (2.2)                           2.2         0.05      $19.50
2018        Administration
            & Objections

October     Claims                  10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting          0.2 0.0022472          $0.88
2018        Administration                                   queries (.2)
            & Objections

October     Claims                  10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                    5.1 0.1307692         $51.00
2018        Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October     Claims                  10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                             0.2 0.0051282         $2.00
2018        Administration
            & Objections

October     Claims                  10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472         $0.88
2018        Administration
            & Objections

November    Asset                   11/07/18 KBD         390 telephone conference with A. Porter regarding same and listing agreement for single family             0.2 0.0054054         $2.11
2018        Disposition                                      home portfolio (.2)
November    Asset                   11/12/18 KBD         390 exchange correspondence with M. Rachlis regarding single family home broker agreement                  0.1 0.0027027         $1.05
2018        Disposition                                      (.1)
November    Asset                   11/16/18 KBD         390 draft correspondence to A. Porter regarding single family home broker agreement (.1)                   0.1 0.0027027         $1.05
2018        Disposition
November    Asset                   11/20/18 KBD         390 office conference with M. Rachlis and draft correspondence to A. Porter regarding same (.2)            0.2 0.0054054         $2.11
2018        Disposition
November    Asset                   11/20/18 KBD         390 study and revise representation agreement with respect to potential sale of single-family              2.5 0.0675676        $26.35
2018        Disposition                                      homes (2.5)
November    Business                11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708         $1.31
2018        Operations                                       and accounting for rent, and communications with property manager (.3)

November    Business                11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235         $3.44
2018        Operations
November    Business                11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824         $2.29
2018        Operations
November    Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346         $0.36
2018        Operations                                       reporting and communications with asset manager (.1).
November    Business                11/29/18 KBD         390 exchange correspondence with A Porter and N. Mirjanich regarding collateral agency and                 0.2 0.0024691         $0.96
2018        Operations                                       servicing agreements (.2)
November    Claims                  11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851         $1.16
2018        Administration                                   lenders (.2).
            & Objections

November    Claims                  11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925         $0.58
2018        Administration
            & Objections

November    Business                11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416         $2.63
2018        Operations                                       related documents (.6).
November    Business                11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236         $0.44
2018        Operations
November    Business                11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618       $2.19
2018        Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
November    Business                11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of               0.7 0.0078652         $3.07
2018        Operations                                       Receiver (.7)
November    Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and             0.2 0.0018692         $0.73
2018        Operations                                       property inspections by lenders (.2)
November    Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                  0.5 0.0046729         $1.82
2018        Operations
November    Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037         $1.09
2018        Operations
November    Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421         $2.55
2018        Operations                                       related issues (.7)
November    Claims                  11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337        $28.48
2018        Administration                                   transfer, financing, and management of properties subsumed within lender motion to
            & Objections                                     enforce assignments of rents and leases.

November    Claims                  11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427      $22.79
2018        Administration                                   opposition brief (5.2).
            & Objections

November    Claims                  11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899        $10.96
2018        Administration                                   acquisition, transfer, financing, and management of properties subsumed within lender's
            & Objections                                     motion to enforce assignments of rents and leases (2.5)

November    Claims                  11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427        $10.08
2018        Administration                                   enforce assignments of rents and leases (2.3)
            & Objections

November    Claims                  11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888         $3.51
2018        Administration                                   opposition memorandum (.8).
            & Objections

November    Claims                  11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618        $19.72
2018        Administration                                   prepare text of affidavit (4.5)
            & Objections

November    Claims                  11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427        $10.08
2018        Administration
            & Objections

November    Claims                  11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303         $6.13
2018        Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
November    Claims                  11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender          1.0    0.011236       $4.38
2018        Administration                                   motion to enforce assignments of rents and leases (1.0)
            & Objections

November    Claims                  11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                    0.3 0.0033708         $1.31
2018        Administration
            & Objections

November    Claims                  11/17/18 MR          390 attention to various issues from hearing (.3).                                                     0.3 0.0033708         $1.31
2018        Administration
            & Objections

November    Claims                  11/27/18 MR          390 attention to letter from creditors (.2)                                                            0.2 0.0022472         $0.88
2018        Administration
            & Objections

November    Claims                  11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                       0.4 0.0044944         $1.75
2018        Administration
            & Objections

November    Claims                  11/29/18 ED          390 confer with M. Rachlis regarding same (.1).                                                        0.1 0.0027027         $1.05
2018        Administration
            & Objections

November    Claims                  11/29/18 ED          390 Email correspondence and review of related documents regarding lender's inspection of              1.8 0.0486486        $18.97
2018        Administration                                   properties and related requests for information (1.8)
            & Objections

December    Asset                   12/07/18 KBD         390 Draft correspondence to A. Porter regarding broker agreement regarding single family               0.1 0.0027027         $1.05
2018        Disposition                                      homes ( .1)
December    Business                12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).               0.1 0.0009434         $0.37
2018        Operations
December    Business                12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                    0.4 0.0037736         $1.47
2018        Operations                                       representatives regarding property portfolio (.4)
December    Business                12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)               0.7 0.0066038         $2.58
2018        Operations
December    Business                12/12/18 KBD         390 Study property manager financial reporting (.5)                                                    0.5 0.0073529         $2.87
2018        Operations
December    Business                12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                     0.1 0.0014706         $0.57
2018        Operations
December    Business                12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                        0.4 0.0037383         $1.46
2018        Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
December    Business                12/12/18 KBD         390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509         $5.52
2018        Operations                                       repair planning, and receivership activities (1.5)
December    Business                12/13/18 KBD         390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018        Operations                                       reporting (.1)
December    Business                12/13/18 KBD         390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018        Operations
December    Business                12/18/18 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018        Operations
December    Business                12/10/18 MR          390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018        Operations                                       issues (2.8)
December    Business                12/10/18 MR          390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018        Operations
December    Business                12/11/18 NM          260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018        Operations                                       to address City violations and his plan for same (1.3)
December    Business                12/11/18 NM          260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018        Operations
December    Business                12/12/18 AW          140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018        Operations
December    Business                12/12/18 MR          390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018        Operations                                       with K. Duff and N. Mirjanich.
December    Business                12/12/18 NM          260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018        Operations                                       Rachlis and K. Duff regarding same (2.5)
December    Business                12/12/18 NM          260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018        Operations                                       removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                             properties with violations (1.5)
December    Business                12/17/18 MR          390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018        Operations
December    Business                12/17/18 MR          390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018        Operations
December    Business                12/18/18 KMP         140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018        Operations                                       income from property manager and conference with K. Duff regarding same.

December    Business                12/27/18 MR          390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018        Operations
December    Claims                  12/07/18 MR          390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018        Administration                                   other issues.
            & Objections

December    Claims                  12/17/18 NM          260 correspond with K. Pritchard, K. Duff, and EquityBuild independent contractor regarding                 1.8 0.0222222         $5.78
2018        Administration                                   lender statements of accounts and EB funding reports and analysis and record-keeping of
            & Objections                                     same (1.8)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
January     Asset                   01/20/19 KBD         390 Exchange correspondence with A. Porter regarding listing agreement for single family home             0.1 0.0027027         $1.05
2019        Disposition                                      portfolio.
January     Asset                   01/25/19 KBD         390 telephone conference with real estate broker and A. Porter regarding communications with              0.2 0.0054054         $2.11
2019        Disposition                                      title company, single family home (.2)
January     Business                01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708         $1.31
2019        Operations
January     Business                01/10/19 KBD         390 study property management report (.2)                                                                 0.2 0.0029412         $1.15
2019        Operations
January     Business                01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701         $2.33
2019        Operations
January     Business                01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118         $1.72
2019        Operations                                       regarding same (.3)
January     Business                01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118         $1.72
2019        Operations
January     Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434         $0.37
2019        Operations
January     Business                01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708         $1.31
2019        Operations
January     Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868         $0.74
2019        Operations                                       officials regarding scofflaw list (.2).
January     Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434         $0.37
2019        Operations                                       portfolio compliance and disposition issues (.1)
January     Business                01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                         0.2 0.0022472         $0.88
2019        Operations
January     Business                01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                 1.5 0.0168539         $6.57
2019        Operations
January     Business                01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                           0.1 0.0011236         $0.44
2019        Operations
January     Business                01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge           0.3 0.0033708         $1.31
2019        Operations                                       Kim and preparation for meeting with lenders' counsel (.3).
January     Claims                  01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                 0.1 0.0011236         $0.44
2019        Administration                                   (.1)
            & Objections

January     Claims                  01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                     0.4 0.0044944         $1.75
2019        Administration                                   preparation for meeting regarding same (.4)
            & Objections

January     Claims                  01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                                0.3 0.0033708         $1.31
2019        Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
January     Claims                  01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416         $2.63
2019        Administration
            & Objections

January     Claims                  01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                            0.1 0.0011236         $0.44
2019        Administration                                   correspondence with real estate broker regarding same (.1)
            & Objections

January     Claims                  01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019        Administration                                   regarding same (.5).
            & Objections

January     Claims                  01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019        Administration                                   (2.1)
            & Objections

January     Claims                  01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019        Administration                                   (.5).
            & Objections

January     Asset                   01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019        Disposition                                      properties with institutional debt.
January     Business                01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019        Operations                                       issues (.5)
January     Business                01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019        Operations
January     Business                01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019        Operations                                       with Receiver (1.2)
January     Business                01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019        Operations
January     Business                01/16/19 ED          390 draft replies to requests, and email correspondence with Receiver and M. Rachlis regarding                0.8 0.0235294         $9.18
2019        Operations                                       same (.8).
January     Business                01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019        Operations                                       rents for December (.1)
January     Business                01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019        Operations                                       for December and communications with K. Duff regarding same (.2).

January     Business                01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019        Operations                                       assorted lenders' counsel (.3).
January     Business                01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019        Operations                                       lender's counsel to discuss questions for Receiver (.4)
January     Business                01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019        Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
January     Business                01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                             1.0    0.011236       $4.38
2019        Operations
January     Business                01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                   0.2 0.0022472         $0.88
2019        Operations                                       meeting.
January     Business                01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019        Operations                                       insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                             counsel (.7)
January     Business                01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019        Operations                                       1 meeting (.9)
January     Business                01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019        Operations
January     Business                01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019        Operations
January     Business                01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019        Operations
January     Business                01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019        Operations                                       related exhibits and materials regarding same (4.6)
January     Business                01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019        Operations
January     Business                01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019        Operations
January     Business                01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019        Operations
January     Business                01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019        Operations
January     Business                01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019        Operations                                       including detailed review of exhibits and related documents, regarding issues on rent
                                                             assignment and leases (7.8)
January     Business                01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019        Operations
January     Business                01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011         $7.45
2019        Operations                                       lenders' motion to enforce assignment of rents and leases (1.7)
January     Business                01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618       $2.19
2019        Operations                                       assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                             lenders (.5).
January     Business                01/31/19 ED          390 draft reply to lender's counsel regarding access to properties for second visits and confer            0.8       0.025       $9.75
2019        Operations                                       with M. Rachlis regarding same (.8)
January     Business                01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                   0.7 0.0078652         $3.07
2019        Operations                                       meeting with lenders' counsel (.7).
January     Business                01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                              1.7 0.0191011         $7.45
2019        Operations
January     Business                01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                     6.0 0.0674157        $26.29
2019        Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
January     Claims                  01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                              0.2 0.0022472         $0.88
2019        Administration
            & Objections

January     Claims                  01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019        Administration                                   meeting with lenders (.5).
            & Objections

January     Claims                  01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019        Administration
            & Objections

January     Claims                  01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019        Administration                                   meeting with lenders and attention to various issues and e-mails regarding upcoming
            & Objections                                     meeting with lenders.

January     Claims                  01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019        Administration
            & Objections

January     Claims                  01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019        Administration
            & Objections

February    Asset                   02/06/19 KBD         390 study list of single family homes and review correspondence from A. Porter regarding same               0.1 0.0027027         $1.05
2019        Disposition                                      (.1).
February    Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019        Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February    Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019        Disposition
February    Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019        Disposition
February    Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019        Disposition
February    Asset                   02/23/19 KBD         390 Study revised representation agreement relating to single family home portfolio.                        0.2 0.0054054         $2.11
2019        Disposition
February    Asset                   02/28/19 KBD         390 Study and revise draft broker agreement for single-family home listing in draft                         0.6 0.0162162         $6.32
2019        Disposition                                      correspondence to A. Porter regarding same.
February    Business                02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019        Operations
February    Business                02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019        Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
February    Business                02/07/19 KBD         390 exchange correspondence with N. Mirjanich regarding communications with city official                0.1 0.0027027         $1.05
2019        Operations                                       regarding single family homes (.1)
February    Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich           0.4 0.0037383         $1.46
2019        Operations                                       (.4)
February    Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                   0.3 0.0028037         $1.09
2019        Operations
February    Business                02/08/19 KBD         390 Meet with N. Mirjanich regarding single family home portfolio and communications with city           0.2 0.0054054         $2.11
2019        Operations                                       officials (.2)
February    Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                0.1 0.0009346         $0.36
2019        Operations
February    Business                02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                       0.2 0.0029412         $1.15
2019        Operations
February    Business                02/13/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0058824         $2.29
2019        Operations
February    Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment              0.1 0.0009346         $0.36
2019        Operations                                       issue (.1).
February    Business                02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                  0.2 0.0029412         $1.15
2019        Operations                                       and financial information (.2)
February    Business                02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                            0.1 0.0014706         $0.57
2019        Operations
February    Business                02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                  0.1 0.0014706         $0.57
2019        Operations
February    Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm              0.1 0.0009346         $0.36
2019        Operations                                       representative (.1)
February    Business                02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                  0.1 0.0014925         $0.58
2019        Operations                                       rental income (.1)
February    Business                02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                     0.1 0.0014706         $0.57
2019        Operations
February    Business                02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                0.2 0.0029412         $1.15
2019        Operations                                       documentation (.2)
February    Business                02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                    0.1 0.0014706         $0.57
2019        Operations
February    Business                02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                      0.1 0.0014706         $0.57
2019        Operations
February    Business                02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                0.2 0.0022472         $0.88
2019        Operations
February    Business                02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment          4.4 0.0494382        $19.28
2019        Operations                                       (4.4)
February    Business                02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff              1.3 0.0146067         $5.70
2019        Operations                                       regarding same (1.3)
February    Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property              0.1 0.0009434         $0.37
2019        Operations                                       maintenance and repairs (.1)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
February    Business                02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337        $28.48
2019        Operations                                       and M. Rachlis regarding same and telephone conferences with asset managers and
                                                             property managers regarding related calculations (6.5)
February    Business                02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701         $2.33
2019        Operations                                       regarding real estate taxes and financial reporting (.4)
February    Business                02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019        Operations                                       spreadsheets regarding real estate tax analysis and study same (.5)
February    Business                02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019        Operations                                       (.1)
February    Business                02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019        Operations
February    Business                02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019        Operations                                       taxes (1.4)
February    Claims                  02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019        Administration                                   regarding same (3.3)
            & Objections

February    Claims                  02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472         $0.88
2019        Administration
            & Objections

February    Claims                  02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303         $6.13
2019        Administration
            & Objections

February    Claims                  02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618       $2.19
2019        Administration
            & Objections

February    Claims                  02/19/19 KBD         390 telephone conference with lenders counsel and M. Rachlis regarding various property and                 1.0    0.027027      $10.54
2019        Administration                                   loan issues (1.0)
            & Objections

February    Claims                  02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091         $1.33
2019        Administration                                   preparation of reporting (.3)
            & Objections

February    Claims                  02/20/19 KBD         390 study correspondence from lender's counsel regarding properties, certificates of insurance,             0.1 0.0027027         $1.05
2019        Administration                                   and loss payees (.1)
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
February    Claims                  02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                      0.3 0.0033708         $1.31
2019        Administration                                   regarding same (.3).
            & Objections

February    Asset                   02/06/19 AEP         390 assemble and provide information relating to single-family homes in receivership estate to K.             0.1 0.0027027         $1.05
2019        Disposition                                      Duff (.1).
February    Asset                   02/23/19 AEP         390 Finalize revisions to proposed single-family home representation agreement and circulate to               0.7 0.0189189         $7.38
2019        Disposition                                      team.
February    Business                02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019        Operations
February    Business                02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019        Operations                                       (1.4)
February    Business                02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019        Operations
February    Business                02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019        Operations                                       property expenses, and communicate same to K. Duff (.2)
February    Business                02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial    reporting                0.3 0.0078947         $3.08
2019        Operations                                       and evidence of insurance (.3)
February    Business                02/07/19 NM          260 correspond with K. Duff and City of Chicago commissioner secretary following meeting                      0.2 0.0054054         $1.41
2019        Operations                                       yesterday and study list of single-family home portfolio to send to same (.2)

February    Business                02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019        Operations                                       violation (.2)
February    Business                02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019        Operations                                       in receivership portfolio (1.9).
February    Business                02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019        Operations
February    Business                02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015       $3.90
2019        Operations                                       property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                             broker regarding a list of single-family home portfolio to send to same.

February    Business                02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652         $3.07
2019        Operations                                       from institutional lenders (.7).
February    Business                02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019        Operations                                       building expenses.
February    Business                02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909         $8.42
2019        Operations                                       rents by property (1.9)
February    Business                02/15/19 ED          390 review email correspondence from lender's counsel and related notes regarding access to                   0.7    0.021875       $8.53
2019        Operations                                       properties for inspection and appraisal, and draft correspondence regarding same to
                                                             Receiver and M. Rachlis (.7)
February    Business                02/15/19 KMP         140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925         $0.21
2019        Operations




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February    Business                02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                            0.5    0.005618       $2.19
2019        Operations
February    Business                02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                          0.5 0.0046729         $1.82
2019        Operations
February    Business                02/19/19 KMP             140 conference with K. Duff and E. Duff regarding confirmation of property insurance coverage               0.2     0.00425       $0.60
2019        Operations                                           for single-family properties currently listed for sale, review communications from insurer
                                                                 relating to list of insured properties (.2).
February    Business                02/20/19 ED              390 review CHA management authorization form and related email correspondence with                          0.2 0.0029412         $1.15
2019        Operations                                           property manager and K. Duff (.2)
February    Business                02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                 0.5    0.004717       $0.66
2019        Operations
February    Business                02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                             2.3 0.0258427        $10.08
2019        Operations
February    Business                02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                       0.2 0.0022472         $0.88
2019        Operations
February    Business                02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                              0.2 0.0022472         $0.88
2019        Operations
February    Business                02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                               0.1 0.0011236         $0.44
2019        Operations
February    Business                02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                0.1 0.0011236         $0.44
2019        Operations                                           information for properties (.1)
February    Business                02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382        $19.28
2019        Operations                                           taxes (4.4)
February    Business                02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888         $3.51
2019        Operations
February    Business                02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652         $3.07
2019        Operations                                           (.7)
February    Business                02/25/19 ED              390 preparation for same (.8)                                                                               0.8 0.0089888         $3.51
2019        Operations
February    Business                02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868         $0.26
2019        Operations                                           with court order and issues relating to same (.2)
February    Business                02/25/19 MR              390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382        $19.28
2019        Operations                                           Duff, K. Duff, and A. Porter (4.4)
February    Business                02/25/19 NM              260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944         $1.17
2019        Operations
February    Business                02/26/19 ED              390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944         $1.75
2019        Operations                                           manager, and preparation of document reflecting same (.4)
February    Business                02/26/19 ED              390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337        $28.48
2019        Operations                                           (6.5)
February    Business                02/26/19 ED              390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652         $3.07
2019        Operations                                           counsel (.7)
February    Business                02/26/19 ED              390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708         $1.31
2019        Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
February    Business                02/26/19 MR          390 Attention to property tax related issues.                                                             4.5 0.0505618        $19.72
2019        Operations
February    Business                02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                 0.2 0.0022472         $0.88
2019        Operations                                       due and sources of funds (.2)
February    Business                02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of              6.5 0.0730337        $28.48
2019        Operations                                       same to determine available funds for payment of property taxes (6.5)
February    Business                02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                     0.3 0.0033708         $1.31
2019        Operations
February    Business                02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                               0.3 0.0028302         $1.10
2019        Operations
February    Business                02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings              5.0 0.0561798        $21.91
2019        Operations                                       with K. Duff and E. Duff regarding same (5.0).
February    Business                02/27/19 MR          390 review charts regarding same (.3)                                                                     0.3 0.0033708         $1.31
2019        Operations
February    Business                02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related               1.3 0.0146067         $5.70
2019        Operations                                       submissions and payments (1.3)
February    Business                02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to            0.2 0.0022472         $0.58
2019        Operations                                       costs to cure code violations (.2).
February    Business                02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders               0.3 0.0033708         $0.88
2019        Operations                                       with respect to escrow amounts (.3)
February    Business                02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in            0.1 0.0014925         $0.21
2019        Operations                                       receivership (.1)
February    Business                02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019        Operations
February    Business                02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019        Operations
February    Business                02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019        Operations                                       and review and analysis of documentation provided (1.8)
February    Business                02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019        Operations                                       funds available therefor, preparation of documentation to provide to lenders regarding each
                                                             property, preparation and revision of related communications to lenders, and consultation
                                                             with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                             (7.7).
February    Business                02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019        Operations                                       estate taxes (.5)
February    Business                02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019        Operations                                       various financial and property documents, along with several conferences with E. Duff and K.
                                                             Duff (5.5)
February    Business                02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019        Operations
February    Business                02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or                 2.7 0.0303371         $7.89
2019        Operations                                       property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                             institutional lenders (2.7).


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
February    Business                02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'          0.2 0.0022472         $0.58
2019        Operations                                       counsel (.2)
February    Claims                  02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                 1.4 0.0157303         $6.13
2019        Administration
            & Objections

February    Claims                  02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                   3.3 0.0370787        $14.46
2019        Administration
            & Objections

February    Claims                  02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                             1.8 0.0202247         $7.89
2019        Administration
            & Objections

February    Claims                  02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                    0.1 0.0011236         $0.44
2019        Administration
            & Objections

February    Claims                  02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications             1.5 0.0168539         $6.57
2019        Administration                                   regarding same.
            & Objections

February    Claims                  02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to              0.5    0.005618       $1.46
2019        Administration                                   institutional lenders prior to filing pursuant to request.
            & Objections

February    Claims                  02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                             0.2 0.0022472         $0.88
2019        Administration
            & Objections

February    Claims                  02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                        0.3 0.0033708         $1.31
2019        Administration
            & Objections

February    Claims                  02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                           1.0    0.011236       $4.38
2019        Administration
            & Objections

February    Claims                  02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                               0.2 0.0022472         $0.88
2019        Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
February    Claims                  02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                           0.5    0.005618       $2.19
2019        Administration
            & Objections

February    Claims                  02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)              0.8 0.0089888         $3.51
2019        Administration
            & Objections

March 2019 Asset                    03/01/19 KBD         390 draft correspondence to A. Porter regarding potential agreement with broker regarding               0.1 0.0027027         $1.05
           Disposition                                       same (.1).
March 2019 Asset                    03/01/19 KBD         390 Telephone conference with A. Porter regarding competitive broker bids for single family             0.1 0.0027027         $1.05
           Disposition                                       home portfolio (.1)
March 2019 Asset                    03/07/19 KBD         390 evaluation of options with M. Rachlis regarding single family home portfolio, broker                0.2 0.0054054         $2.11
           Disposition                                       agreement, commission structure, and competitive bidding (.2)
March 2019 Asset                    03/07/19 KBD         390 draft correspondence to broker same (.1)                                                            0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                    03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804         $0.38
           Disposition                                       properties for sale (.1)
March 2019 Asset                    03/07/19 KBD         390 discuss preparation of motion for approval of sale of single family home portfolio with N.          0.1 0.0027027         $1.05
           Disposition                                       Mirjanich (.1)
March 2019 Asset                    03/11/19 KBD         390 Exchange correspondence with A. Porter regarding single family home broker agreement.               0.1 0.0027027         $1.05
           Disposition
March 2019 Asset                    03/13/19 KBD         390 Study draft motion relating to single family home portfolio and correspondence from N.              0.3 0.0081081         $3.16
           Disposition                                       Mirjanich regarding same.
March 2019 Asset                    03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,           0.3 0.0032609         $1.27
           Disposition                                       and property manager fees and expenses (.3)
March 2019 Asset                    03/26/19 KBD         390 study single family home listing agreement and exchange correspondence with A. Porter               0.2 0.0054054         $2.11
           Disposition                                       regarding same (.2)
March 2019 Asset                    03/27/19 KBD         390 office conference with E. Duff and draft correspondence to and telephone conference with            0.4 0.0108108         $4.22
           Disposition                                       A. Porter regarding same (.4)
March 2019 Asset                    03/27/19 KBD         390 Study and revise representation agreement for sale of single family homes (.5)                      0.5 0.0135135         $5.27
           Disposition
March 2019 Asset                    03/28/19 KBD         390 Study representation agreement for single family home portfolio and exchange                        0.3 0.0081081         $3.16
           Disposition                                       correspondence with A. Porter regarding agreement for single-family home portfolio (.3)

March 2019 Asset                    03/29/19 KBD         390 Study and exchange correspondence regarding single family home listing agreement.                   0.2 0.0054054         $2.11
           Disposition
March 2019 Business                 03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax               0.1 0.0009346         $0.36
           Operations                                        payment issues and logistics (.1)
March 2019 Business                 03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                    0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                0.2 0.0018692         $0.73
           Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                        former counsel relating to notices of property violations (.1).

March 2019 Business                 03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                        communications with property manager (.2).
March 2019 Business                 03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                 03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                        correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                 03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                 03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                 03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                        reporting for lenders and study form of report (.6)
March 2019 Business                 03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/21/19 KBD         390 attention to communications with lender regarding utility lease consent, communications               0.2       0.005       $1.95
           Operations                                        with separate lender regarding city actions and court order relating to porch repairs, and
                                                             communications with property manager regarding accounting report for cross-collateralized
                                                             properties (.2)
March 2019 Business                 03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for              0.3 0.0034091         $1.33
           Operations                                        lenders and study draft report form (.3)
March 2019 Business                 03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial              0.2 0.0022727         $0.89
           Operations                                        reporting by property (.2)
March 2019 Business                 03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                  0.4 0.0045455         $1.77
           Operations                                        property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                   03/13/19 KBD         390 Study lenders' objections to claims process.                                                          0.5 0.0063291         $2.47
           Administration
           & Objections




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  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
March 2019 Claims                   03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                           0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial           0.3 0.0034091         $1.33
           Administration                                    reporting for lenders (.3)
           & Objections

March 2019 Claims                   03/14/19 KBD         390 study property manager financial report (.2).                                                    0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                   03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                  0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 study lenders' objections (.5)                                                                   0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 office conference with N. Mirjanich regarding response to lenders' objections to claims          0.2    0.002381       $0.93
           Administration                                    process motion (.2)
           & Objections

March 2019 Claims                   03/27/19 KBD         390 study and revise draft response to lenders' objections to claims process motion (.9)             0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                   03/27/19 KBD         390 analysis of same with M. Rachlis (.2)                                                            0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD         390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)           0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                   03/28/19 KBD         390 further study and revise draft response to lenders' objections to claims process (3.6).          3.6 0.0428571        $16.71
           Administration
           & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Claims                   03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                              2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Claims                   03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich               0.5 0.0059524         $2.32
           Administration                                        regarding same (.5)
           & Objections

March 2019 Asset                    03/01/19 AEP             390 Teleconference with K. Duff regarding finalization of single-family homes listing agreement           0.1 0.0027027         $1.05
           Disposition                                           and options for shopping existing bid (.1)
March 2019 Asset                    03/01/19 AEP             390 make final edits and revisions to proposed single-family home listing agreement (.3)                  0.3 0.0081081         $3.16
           Disposition
March 2019 Asset                    03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales           0.5    0.005102       $1.99
           Disposition                                           process and potential substitution for current title insurer (.5)
March 2019 Asset                    03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                  2.6 0.0393939         $5.52
           Disposition                                           management company adding PIN number and the balance due as well as accrued interest
                                                                 (2.6)
March 2019 Asset                    03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                      1.7 0.0173469         $6.77
           Disposition                                           regarding background of receivership, plan for selling receivership properties, all title
                                                                 insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                    03/07/19 NM              260 Draft motion to approve the sale process for the single-family home portfolio.                        0.9 0.0243243         $6.32
           Disposition
March 2019 Asset                    03/08/19 ED              390 Confer with N. Mirjanich regarding information relating to sales of properties from single            1.6 0.0432432        $16.86
           Disposition                                           family homes portfolio, including review and discussion of information relating to recorded
                                                                 and released liens on properties.
March 2019 Asset                    03/08/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for single-family              0.2 0.0054054         $1.41
           Disposition                                           homes (.2)
March 2019 Asset                    03/08/19 NM              260 correspond with E. Duff regarding same and regarding lender on properties and loans for               1.6 0.0432432        $11.24
           Disposition                                           same (1.6)
March 2019 Asset                    03/12/19 AEP             390 Teleconference with prospective broker of single family home portfolio regarding final                1.0    0.027027      $10.54
           Disposition                                           changes to listing agreement and begin making agreed- upon changes (1.0)

March 2019 Asset                    03/12/19 JR              140 Assist N. Mirjanich with the notice for publication for the motion to approve the process of          0.5 0.0135135         $1.89
           Disposition                                           sale of the single-family homes by adding PIN numbers to the notice (.5)

March 2019 Asset                    03/12/19 NM              260 draft motion to approve the process for the single- family home sale (1.4)                            1.4 0.0378378         $9.84
           Disposition
March 2019 Asset                    03/12/19 NM              260 correspond with J. Rak regarding publication notice for same (.2).                                    0.2 0.0054054         $1.41
           Disposition
March 2019 Asset                    03/13/19 AEP             390 Finalize latest draft of prospective single-family homes listing agreement and transmit same          0.5 0.0135135         $5.27
           Disposition                                           to receivership broker with prefatory comments.




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2019 Asset                    03/13/19 NM              260 Revise motion to approve the process for the single-family home sale and send to A. Porter            0.5 0.0135135         $3.51
           Disposition                                           for comment.
March 2019 Asset                    03/16/19 AEP             390 Read and respond to e-mail from prospective broker for sale of single-family homes and                0.2 0.0054054         $2.11
           Disposition                                           prepare final draft of proposed representation agreement for mutual execution.

March 2019 Asset                    03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048         $0.74
           Disposition                                           potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                    03/26/19 AEP             390 teleconference with receivership broker regarding status of listing agreement for single-             0.1 0.0027027         $1.05
           Disposition                                           family homes (.1)
March 2019 Asset                    03/27/19 AEP             390 teleconference with M. Rachlis and K. Duff regarding outcome of discussion with property              0.4 0.0108108         $4.22
           Disposition                                           manager, cash management issues, earnest money refund issues, and proposed revisions to
                                                                 single-family home listing agreement (.4)
March 2019 Business                 03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                            spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                 03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                            spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                 03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                 03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                            accounting to lenders and related issues (.6)
March 2019 Business                 03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                 03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                            properties in the portfolio (1.8)
March 2019 Business                 03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                 03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                 03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                            (.3)
March 2019 Business                 03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                 03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                            correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                 03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                 03/06/19 ED              390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                            reports to lenders (.4)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
March 2019 Business                 03/06/19 ED          390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/07/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                 03/07/19 ED          390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                        regarding same (.5)
March 2019 Business                 03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                 03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091         $6.20
           Operations                                        accounting reports (1.4)
March 2019 Business                 03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                        estate taxes (.4)
March 2019 Business                 03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455         $1.77
           Operations                                        information for lender accounting reports (.4)
March 2019 Business                 03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091         $6.20
           Operations                                        accounting reports to lenders (1.4)
March 2019 Business                 03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818         $2.22
           Operations                                        same (.5)
March 2019 Business                 03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455         $1.77
           Operations                                        reports (.4)
March 2019 Business                 03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091         $1.33
           Operations                                        performance at each property (.3)
March 2019 Business                 03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545         $2.07
           Operations                                        properties and correspond with E. Duff regarding same (.7)
March 2019 Business                 03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224         $4.37
           Operations                                        (1.8)
March 2019 Business                 03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 review and revise accounting reporting (.9)                                                           0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and              0.1 0.0011364         $0.44
           Operations                                        email to property manager regarding same (.1)
March 2019 Business                 03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                    0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                               1.0 0.0113636         $4.43
           Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                                1.0 0.0113636         $4.43
           Operations
March 2019 Business                 03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692         $0.49
           Operations                                        (.2).
March 2019 Business                 03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                              0.8 0.0090909         $3.55
           Operations
March 2019 Business                 03/19/19 ED          390 call with accountant regarding form of report (.2)                                                     0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)               0.7 0.0079545         $3.10
           Operations
March 2019 Business                 03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545         $3.10
           Operations                                        real estate tax payments, and distributions of funds to and from receiver for each property
                                                             (.7)
March 2019 Business                 03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091         $1.33
           Operations
March 2019 Business                 03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455         $1.77
           Operations
March 2019 Business                 03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818         $2.22
           Operations                                        property manager reporting (.5)
March 2019 Business                 03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125       $4.88
           Operations
March 2019 Business                 03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                        property manager and Receiver (.8)
March 2019 Business                 03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                        of accounting report (.2)
March 2019 Business                 03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                        accounting reports (.1)
March 2019 Business                 03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                        (.2)
March 2019 Business                 03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Business                 03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346         $0.13
           Operations
March 2019 Business                 03/22/19 MR          390 prepare for meetings with City (.3)                                                                  0.3 0.0028302         $1.10
           Operations
March 2019 Business                 03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                             0.5    0.004717       $1.84
           Operations
March 2019 Business                 03/25/19 ED          390 confer with M. Rachlis regarding conversation with lender's counsel (.2).                            0.2 0.0054054         $2.11
           Operations
March 2019 Business                 03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868         $0.74
           Operations
March 2019 Business                 03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports          0.9 0.0102273         $3.99
           Operations                                        (.9)
March 2019 Business                 03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                  2.0 0.0227273         $8.86
           Operations                                        transfer and distribution information and relating to form of report and procedures for
                                                             populating information (2.0)
March 2019 Business                 03/27/19 ED          390 identify responsive documents (.6)                                                                   0.6 0.0068182         $2.66
           Operations
March 2019 Business                 03/27/19 ED          390 and email correspondence regarding same (.5)                                                         0.5 0.0056818         $2.22
           Operations
March 2019 Business                 03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                 0.9 0.0102273         $3.99
           Operations
March 2019 Business                 03/27/19 ED          390 calls with accountant to follow up on content and further information required for                   0.3 0.0034091         $1.33
           Operations                                        accounting reports (.3)
March 2019 Business                 03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property              0.3 0.0034091         $1.33
           Operations                                        managers (.3)
March 2019 Business                 03/27/19 ED          390 review information from property manager regarding net rental income available to pay real           0.5 0.0714286        $27.86
           Operations                                        estate taxes (.5)
March 2019 Business                 03/27/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding same (.2)                                 0.2 0.0285714        $11.14
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                             0.2 0.0022727         $0.89
           Operations
March 2019 Business                 03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties            0.2 0.0022727         $0.89
           Operations                                        (.2)
March 2019 Business                 03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                        1.6 0.0202532         $7.90
           Operations
March 2019 Business                 03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                             1.8 0.0204545         $7.98
           Operations
March 2019 Business                 03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                        0.1 0.0011364         $0.44
           Operations
March 2019 Business                 03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain              0.2 0.0022727         $0.89
           Operations                                        outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                   1.2 0.0136364         $5.32
           Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2019 Business                 03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                 0.2 0.0022727         $0.89
           Operations                                        certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                 03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                    1.2 0.0136364         $5.32
           Operations
March 2019 Business                 03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                                0.8 0.0090909         $3.55
           Operations
March 2019 Claims                   03/13/19 NM          260 Study lenders' objections to the claims motion.                                                        0.7 0.0088608         $2.30
           Administration
           & Objections

March 2019 Claims                   03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                   03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized           0.2 0.0037736         $1.47
           Administration                                    properties (.2)
           & Objections

March 2019 Claims                   03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                   03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                    cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                   03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                    cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                   03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                   03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                    cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                      regarding same and study comments from same.




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
March 2019 Claims                   03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-           3.3 0.0417722        $10.86
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same.

March 2019 Claims                   03/29/19 MR          390 work on draft response brief (1.2)                                                                   1.2 0.0151899         $5.92
           Administration
           & Objections

March 2019 Claims                   03/29/19 MR          390 conferences regarding same (.4).                                                                     0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                   03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-           8.1 0.1025316        $26.66
           Administration                                    motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                      Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                  04/01/19 KBD         390 Study single family home listing agreement and draft correspondence to A. Porter regarding           0.2 0.0054054         $2.11
             Disposition                                     same.
April 2019   Asset                  04/02/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of single-family home           0.1 0.0027027         $1.05
             Disposition                                     portfolio and additional properties (.1)
April 2019   Asset                  04/03/19 KBD         390 study correspondence from A. Porter regarding motion to approve sale of single-family                0.1 0.0027027         $1.05
             Disposition                                     home portfolio (.1).
April 2019   Asset                  04/09/19 KBD         390 study correspondence from A. Porter and N. Mirjanich regarding planning for sale of single-          0.2 0.0054054         $2.11
             Disposition                                     family home portfolio (.2).
April 2019   Asset                  04/10/19 KBD         390 Office conference with A. Porter and telephone conference with A. Porter and real estate             0.3 0.0081081         $3.16
             Disposition                                     broker regarding planning for sale of first tranche of properties and preparing for sale of
                                                             third tranche of properties and single family homes.
April 2019   Asset                  04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                         0.8 0.0087912         $3.43
             Disposition
April 2019   Asset                  04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                  0.6 0.0065934         $2.57
             Disposition
April 2019   Asset                  04/27/19 KBD         390 Exchange correspondence with A. Porter regarding sale of single-family home portfolio.               0.2 0.0054054         $2.11
             Disposition
April 2019   Business               04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                       0.2 0.0018868         $0.74
             Operations
April 2019   Business               04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                         0.1 0.0014925         $0.58
             Operations
April 2019   Business               04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                0.6 0.0056075         $2.19
             Operations
April 2019   Business               04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                   0.2 0.0018692         $0.73
             Operations
April 2019   Business               04/15/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0058824         $2.29
             Operations


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
April 2019   Business               04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111          $0.43
             Operations
April 2019   Business               04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778          $3.03
             Operations
April 2019   Business               04/22/19 KBD             390 exchange correspondence with property manager, analyze same, and exchange                              0.3          0.1      $39.00
             Operations                                          correspondence with asset manager regarding unit turns and delinquent taxes (417 S
                                                                 Oglesby, 7922 S Luella, 8800 S Ada) (.3).
April 2019   Business               04/22/19 KBD             390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727          $0.89
             Operations                                          communication with accounting firm representative relating to same (.2)
April 2019   Business               04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126          $1.14
             Operations                                          efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business               04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                          estate tax payments and planning (.4)
April 2019   Business               04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417          $0.76
             Operations                                          amounts (.2)
April 2019   Claims                 04/09/19 KBD             390 Study investor lender statements of account.                                                           0.5 0.0061728          $2.41
             Administration
             & Objections

April 2019   Claims                 04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516          $2.52
             Administration
             & Objections

April 2019   Asset                  04/01/19 JR              140 exchange correspondence with property management requesting water bills for properties                 0.2 0.0666667          $9.33
             Disposition                                         (10012 S LaSalle, 1414 East 62nd and 417 Oglesby) (.2).
April 2019   Asset                  04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                         spreadsheet and additional account numbers (.3)
April 2019   Asset                  04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                  04/02/19 JR              140 Email response to N. Mirjanich regarding assisting on the approval of the single-family homes          0.1 0.0027027          $0.38
             Disposition                                         motion.
April 2019   Asset                  04/02/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for the single-family           0.2 0.0054054          $1.41
             Disposition                                         home portfolio.
April 2019   Asset                  04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                         certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                 unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                 account information (.2)
April 2019   Asset                  04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692          $0.26
             Disposition                                         Chicago water department (.2).
April 2019   Asset                  04/17/19 AEP             390 study, and revise first draft of proposed offering memorandum associated with marketing of             0.3 0.0081081          $3.16
             Disposition                                         single-family homes (.3)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2019   Asset                  04/17/19 AEP             390 communications with receivership brokers for single-family home portfolio regarding timing            0.2 0.0054054         $2.11
             Disposition                                         of motion to approve marketing and offering memorandum (.2).
April 2019   Asset                  04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd             3.3 0.0308411         $4.32
             Disposition                                         installment and confirm entities on our applications.
April 2019   Business               04/01/19 MR              390 follow up emails relating to same (.3)                                                                0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding          0.6 0.0068182         $2.66
             Operations                                          properties and conferences with lenders counsel regarding same (.6)

April 2019   Business               04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                       0.5 0.0056818         $2.22
             Operations
April 2019   Business               04/01/19 MR              390 follow up on property accounting issues (.3).                                                         0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                0.2 0.0022727         $0.59
             Operations                                          property-by-property basis (.2)
April 2019   Business               04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                           0.3 0.0028037         $0.39
             Operations
April 2019   Business               04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest           2.1 0.0196262         $2.75
             Operations                                          accrual (2.1)
April 2019   Business               04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                    0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                   1.4 0.0159091         $6.20
             Operations
April 2019   Business               04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile           0.3 0.0034091         $1.33
             Operations                                          against schedule of receivership payments (.3)
April 2019   Business               04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,            0.3 0.0028302         $0.40
             Operations                                          and prepare electronic copy for email communication.
April 2019   Business               04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real               0.2 0.0028571         $1.11
             Operations                                          estate taxes.
April 2019   Business               04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)             0.2 0.0022472         $0.88
             Operations
April 2019   Business               04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                    0.2 0.0022727         $0.89
             Operations                                          accounting statements (.2)
April 2019   Business               04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 and internal document review (.8) regarding same                                                      0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                     0.3 0.0033708         $1.31
             Operations
April 2019   Business               04/09/19 ED              390 follow up with property manager (.7)                                                                  0.7 0.0079545         $3.10
             Operations


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2019   Business               04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                  0.3 0.0034091         $1.33
             Operations                                          properties (.3).
April 2019   Business               04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details                0.6 0.0068182         $2.66
             Operations                                          for accounting reports (.6)
April 2019   Business               04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                  0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412         $1.15
             Operations                                          amounts (.2)
April 2019   Business               04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412         $1.15
             Operations
April 2019   Business               04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business               04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                          properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business               04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business               04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business               04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business               04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business               04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business               04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business               04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business               04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                          appointing receiver for all the receiver defendants (4.2).
April 2019   Business               04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business               04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539         $6.57
             Operations                                          managers (1.5)
April 2019   Business               04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455         $1.77
             Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
April 2019   Business               04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)          0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                         0.2 0.0022727         $0.89
             Operations
April 2019   Business               04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                     0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182         $2.66
             Operations
April 2019   Business               04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business               04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273         $1.13
             Operations
April 2019   Business               04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091         $1.33
             Operations
April 2019   Business               04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                          managers for review (.2)
April 2019   Business               04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business               04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                          accountings (.5)
April 2019   Business               04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business               04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business               04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business               04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                          managers (.8)
April 2019   Business               04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business               04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                          reports (.2)
April 2019   Business               04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business               04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business               04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2019   Business               04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                              0.5 0.0046729         $0.65
             Operations
April 2019   Business               04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                       0.3 0.0034091         $0.38
             Operations
April 2019   Business               04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          3.8 0.0431818         $4.75
             Operations                                          property managers (3.8)
April 2019   Business               04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).              3.9 0.0443182        $17.28
             Operations
April 2019   Business               04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business               04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          0.8 0.0090909         $1.00
             Operations                                          property managers (.8)
April 2019   Claims                 04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)               0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures           0.2 0.0022727         $0.89
             Administration                                      (.2).
             & Objections

April 2019   Claims                 04/11/19 ED              390 Begin review of Receiver's property reports.                                                        1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED              390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                        0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED              390 review reports received against financial reporting to lenders (.8)                                 0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                 04/25/19 ED              390 and research into discrepancies and questions (.7)                                                  0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                 04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                0.3 0.0029412         $1.15
             Administration                                      insurance coverage (.3)
             & Objections

May 2019     Asset                  05/01/19 KBD             390 telephone conference with A. Porter and asset manager regarding property manager                    0.2 0.0022989         $0.90
             Disposition                                         account reporting (.2)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Asset                   05/07/19 KBD         390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                      1.3 0.0149425         $5.83
            Disposition                                      representatives regarding credit bid implications of court's order and asset disposition
                                                             planning (1.3)
May 2019    Asset                   05/09/19 KBD         390 Study correspondence from M. Rachlis regarding credit bid analysis.                                   0.2 0.0022989         $0.90
            Disposition
May 2019    Asset                   05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
            Disposition
May 2019    Asset                   05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
            Disposition
May 2019    Asset                   05/10/19 KBD         390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                  0.2 0.0022989         $0.90
            Disposition                                      procedures (.2)
May 2019    Asset                   05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
            Disposition
May 2019    Asset                   05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
            Disposition                                      portfolio equity (.1)
May 2019    Asset                   05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
            Disposition                                      planning (1.8)
May 2019    Asset                   05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
            Disposition
May 2019    Asset                   05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
            Disposition
May 2019    Asset                   05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
            Disposition
May 2019    Asset                   05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
            Disposition                                      regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019    Asset                   05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
            Disposition
May 2019    Asset                   05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
            Disposition
May 2019    Asset                   05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
            Disposition
May 2019    Asset                   05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
            Disposition                                      communications with lenders' counsel relating to same (1.1)
May 2019    Asset                   05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
            Disposition                                      credit bid and sales procedures (.5)
May 2019    Asset                   05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
            Disposition                                      procedures and impact of changes on sales efforts (.6)
May 2019    Asset                   05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
            Disposition                                      procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                             communicate with M. Rachlis and A. Porter regarding same (4.7)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Asset                   05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
            Disposition                                      engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                             Porter, and real estate broker regarding same (3.7)

May 2019    Asset                   05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
            Disposition
May 2019    Asset                   05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
            Disposition
May 2019    Asset                   05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
            Disposition                                      communications with lenders' counsel relating to same (.8)
May 2019    Asset                   05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
            Disposition
May 2019    Asset                   05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
            Disposition
May 2019    Asset                   05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
            Disposition                                      broker (.1)
May 2019    Asset                   05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
            Disposition
May 2019    Business                05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
            Operations                                       reporting (.4)
May 2019    Business                05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
            Operations
May 2019    Business                05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
            Operations
May 2019    Business                05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
            Operations                                       replacement insurance (.1).
May 2019    Business                05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
            Operations                                       replacement of insurance coverage (.1)
May 2019    Business                05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
            Operations                                       insurance policies and renewals (.2).
May 2019    Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
            Operations                                       payment (.1).
May 2019    Business                05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
            Operations                                       allocation (.1).
May 2019    Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
            Operations                                       insurance (.3)
May 2019    Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
            Operations
May 2019    Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
            Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
            Operations                                       same (.3)
May 2019    Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
            Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                             (.6)
May 2019    Business                05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
            Operations
May 2019    Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)                0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                        0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance                    0.2 0.0019417         $0.76
            Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019    Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                      0.2 0.0019417         $0.76
            Operations                                       property insurance renewal (.2)
May 2019    Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                                 0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)                  0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                       0.1 0.0009709         $0.38
            Operations                                       payment (.1)
May 2019    Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding                0.2 0.0019417         $0.76
            Operations                                       property insurance payment (.2)
May 2019    Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                      0.2 0.0019417         $0.76
            Operations
May 2019    Business                05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                              0.1 0.0015625         $0.61
            Operations
May 2019    Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                      0.2 0.0018692         $0.73
            Operations
May 2019    Business                05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                      0.2 0.0022989         $0.90
            Operations
May 2019    Business                05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                       0.3 0.0046875         $1.83
            Operations                                       expenses (.3)
May 2019    Claims                  05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                                   0.6 0.0068966         $2.69
            Administration
            & Objections

May 2019    Claims                  05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting                 0.2 0.0022727         $0.89
            Administration                                   reports (.2)
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019    Claims                  05/10/19 KBD             390 Study correspondence from E. Duff regarding financial reporting and communications with                0.1 0.0011494         $0.45
            Administration                                       accounting firm representatives (.1)
            & Objections

May 2019    Claims                  05/14/19 KBD             390 telephone conference with accounting firm representative regarding same and timing for                 0.2 0.0022989         $0.90
            Administration                                       delivery of reports (.2)
            & Objections

May 2019    Claims                  05/14/19 KBD             390 Work with E. Duff on financial reporting (.2)                                                          0.2 0.0022989         $0.90
            Administration
            & Objections

May 2019    Claims                  05/15/19 KBD             390 telephone conference with accounting firm representative regarding same (.1).                          0.1 0.0011364         $0.44
            Administration
            & Objections

May 2019    Claims                  05/15/19 KBD             390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                              0.6 0.0068182         $2.66
            Administration
            & Objections

May 2019    Claims                  05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0022989         $0.90
            Administration
            & Objections

May 2019    Claims                  05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                     0.5 0.0056818         $2.22
            Administration                                       financial reports (.5)
            & Objections

May 2019    Asset                   05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046       $3.14
            Disposition                                          accounting issues with property manager (.7).
May 2019    Asset                   05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539         $6.57
            Disposition                                          marketing and sales process (1.5).
May 2019    Asset                   05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931         $5.38
            Disposition                                          processes for next tranche of properties (1.2).
May 2019    Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
            Disposition
May 2019    Asset                   05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
            Disposition
May 2019    Asset                   05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
            Disposition                                          of properties.
May 2019    Asset                   05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
            Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2019    Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
            Disposition
May 2019    Asset                   05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
            Disposition                                          and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019    Asset                   05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
            Disposition
May 2019    Asset                   05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
            Disposition
May 2019    Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
            Disposition
May 2019    Asset                   05/13/19 NM              260 correspond with M. Rachlis and A. Porter regarding approval motion for single-family homes             0.1 0.0027027         $0.70
            Disposition                                          and send same to A. Porter for comment (.1).
May 2019    Asset                   05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of           0.6 0.0122449         $3.18
            Disposition                                          second tranche of properties, and the single-family home approval motion (.6)

May 2019    Asset                   05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
            Disposition
May 2019    Asset                   05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
            Disposition
May 2019    Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
            Disposition
May 2019    Asset                   05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
            Disposition                                          receivership broker (1.0)
May 2019    Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
            Disposition
May 2019    Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
            Disposition
May 2019    Asset                   05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
            Disposition
May 2019    Asset                   05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
            Disposition
May 2019    Asset                   05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
            Disposition
May 2019    Asset                   05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes                1.9 0.0387755         $5.43
            Disposition                                          survey in preparation for marketing (1.9)
May 2019    Asset                   05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
            Disposition
May 2019    Asset                   05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
            Disposition
May 2019    Asset                   05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                            1.0 0.0114943         $4.48
            Disposition




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  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
May 2019    Asset                   05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                         0.4 0.0045977         $1.79
            Disposition
May 2019    Asset                   05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                     1.3 0.0149425         $5.83
            Disposition
May 2019    Asset                   05/30/19 MR              390 and conferences regarding same (.2).                                                                  0.2 0.0022989         $0.90
            Disposition
May 2019    Asset                   05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
            Disposition                                          (.2).
May 2019    Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
            Operations                                           sale (2.3)
May 2019    Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
            Operations
May 2019    Business                05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
            Operations
May 2019    Business                05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923         $3.00
            Operations
May 2019    Business                05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385         $0.60
            Operations
May 2019    Business                05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364         $0.44
            Operations
May 2019    Business                05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709         $0.14
            Operations
May 2019    Business                05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417         $0.27
            Operations                                           conferences with K. Duff and E. Duff regarding same (.2)
May 2019    Business                05/03/19 NM              260 correspond with E. Duff regarding code violation and property tax documents needed for                0.2 0.0022989         $0.60
            Operations                                           reporting and send same (.2).
May 2019    Business                05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709         $0.14
            Operations
May 2019    Business                05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835         $0.54
            Operations                                           insurance renewal, and communications with K. Duff and bank representative regarding
                                                                 same (.4)
May 2019    Business                05/07/19 ED              390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                   0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/07/19 KMP             140 Study communication from insurance broker providing notice of first installment on                    0.1 0.0009709         $0.14
            Operations                                           premium finance agreement.


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019    Business                05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                       2.0 0.0227273         $8.86
            Operations
May 2019    Business                05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                    0.2 0.0022727         $0.89
            Operations                                       expenditures by property (.2)
May 2019    Business                05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)               0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/08/19 ED          390 email correspondence with property manager to request additional documentation for same                0.3 0.0034091         $1.33
            Operations                                       (.3)
May 2019    Business                05/08/19 ED          390 and review of related documentation (.6)                                                               0.6 0.0068182         $2.66
            Operations
May 2019    Business                05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for              0.9 0.0102273         $3.99
            Operations                                       follow up questions (.9)
May 2019    Business                05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091         $1.33
            Operations
May 2019    Business                05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909         $3.55
            Operations                                       reports and comments and questions regarding contents (.8)
May 2019    Business                05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182        $17.28
            Operations
May 2019    Business                05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608         $0.51
            Operations                                       manager (.2)
May 2019    Business                05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455         $1.77
            Operations
May 2019    Business                05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091        $11.08
            Operations
May 2019    Business                05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818         $2.22
            Operations                                       (.5)
May 2019    Business                05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455         $1.77
            Operations
May 2019    Business                05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455         $1.77
            Operations
May 2019    Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214         $4.92
            Operations
May 2019    Business                05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545         $3.10
            Operations




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  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
May 2019    Business                05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                        0.2 0.0022727          $0.89
            Operations
May 2019    Business                05/16/19 ED          390 review documents regarding application of receivership payments to property manager by               2.2       0.025        $9.75
            Operations                                       property (2.2)
May 2019    Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                   1.0 0.0097087          $3.79
            Operations
May 2019    Business                05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports           0.1 0.0011364          $0.44
            Operations                                       (.1)
May 2019    Business                05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                             0.6 0.0068182          $2.66
            Operations
May 2019    Business                05/16/19 ED          390 review revised accounting reports from accountant (.5).                                              0.5 0.0056818          $2.22
            Operations
May 2019    Business                05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)            0.8 0.0090909          $3.55
            Operations
May 2019    Business                05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                0.5 0.0056818          $2.22
            Operations                                       accountants (.5)
May 2019    Business                05/17/19 ED          390 review and revise draft reports received (4.4)                                                       4.4         0.05      $19.50
            Operations
May 2019    Business                05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of           0.3 0.0034091          $1.33
            Operations                                       accounting reports (.3)
May 2019    Business                05/17/19 ED          390 calls with accountant regarding reports (.3)                                                         0.3 0.0034091          $1.33
            Operations
May 2019    Business                05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                           0.3 0.0034091          $1.33
            Operations
May 2019    Business                05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                 0.9 0.0102273          $3.99
            Operations                                       accounting reports (.9)
May 2019    Business                05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     4.6 0.0522727         $20.39
            Operations                                       accountant with comments and revisions to same.
May 2019    Business                05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     6.4 0.0727273         $28.36
            Operations                                       accountant with comments and revisions to same.
May 2019    Business                05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with         10.8 0.1227273         $47.86
            Operations                                       accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019    Business                05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of           6.7 0.0761364         $29.69
            Operations                                       accounting reports and several conferences regarding same, and conferences with E. Duff
                                                             and N. Mirjanich regarding same.
May 2019    Business                05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                               0.1 0.0011364          $0.30
            Operations
May 2019    Business                05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                  4.0 0.0454545         $11.82
            Operations
May 2019    Business                05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                  4.1 0.0465909         $18.17
            Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                             Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2019    Business                05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636        $33.68
            Operations                                       with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019    Business                05/21/19 ED          390 and work on same with K. Duff (.2)                                                                     0.2 0.0022727         $0.89
            Operations
May 2019    Business                05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818         $0.80
            Operations                                       conferences with E. Duff regarding same.
May 2019    Business                05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
            Operations
May 2019    Business                05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
            Operations
May 2019    Business                05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
            Operations
May 2019    Business                05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
            Operations
May 2019    Business                05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
            Operations                                       reports (3.4).
May 2019    Business                05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
            Operations                                       and conferences with E. Duff regarding same.
May 2019    Business                05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
            Operations
May 2019    Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
            Operations
May 2019    Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
            Operations
May 2019    Business                05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
            Operations
May 2019    Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
            Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019    Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
            Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                             same (.4)
May 2019    Business                05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                          0.5 0.0057471         $2.24
            Operations
May 2019    Business                05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of           0.9 0.0103448         $4.03
            Operations                                       accounting reports (.9)
May 2019    Business                05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977         $1.79
            Operations
May 2019    Business                05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989         $0.90
            Operations
May 2019    Business                05/30/19 ED          390 and property manager (.8)                                                                              0.8 0.0091954         $3.59
            Operations




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  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
May 2019    Business                05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April                0.5 0.0057471         $2.24
            Operations                                       accounting reports (.5)
May 2019    Business                05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).                1.0 0.0114943         $4.48
            Operations
May 2019    Business                05/30/19 KMP         140 communications with K. Duff, A. Watychowicz, J. Rak and accountant regarding state                       0.4 0.0266667         $3.73
            Operations                                       agency's notice on filing of annual report for certain entities, and review entity documents to
                                                             verify ownership of properties (.4).
May 2019    Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                        0.1 0.0009709         $0.14
            Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                             regarding same (.1)
May 2019    Business                05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                    0.2 0.0022989         $0.90
            Operations                                       required for April accounting reports (.2)
May 2019    Claims                  05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)                0.6 0.0068966         $2.69
            Administration
            & Objections

May 2019    Claims                  05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                     5.6 0.0643678        $25.10
            Administration                                   accounting reports (5.6)
            & Objections

May 2019    Claims                  05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                                 0.2 0.0022989         $0.90
            Administration
            & Objections

May 2019    Claims                  05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                    0.4 0.0045977         $1.79
            Administration                                   reports (.4)
            & Objections

May 2019    Claims                  05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting             5.0 0.0574713        $22.41
            Administration                                   documents (5.0)
            & Objections

May 2019    Claims                  05/03/19 ED          390 email correspondence with property managers regarding financial information to include in                0.4 0.0045977         $1.79
            Administration                                   accounting reports (.4).
            & Objections

May 2019    Claims                  05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft                  0.4 0.0045977         $1.79
            Administration                                   reports (.4)
            & Objections




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  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2019    Claims                  05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
            Administration
            & Objections

May 2019    Claims                  05/10/19 ED          390 Email correspondence with accountant (.8)                                                             0.8 0.0091954         $3.59
            Administration
            & Objections

May 2019    Claims                  05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
            Administration
            & Objections

May 2019    Claims                  05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
            Administration
            & Objections

May 2019    Claims                  05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
            Administration
            & Objections

May 2019    Claims                  05/23/19 NM          260 prepare email to send to all investors and creditors with claims link and send same (1.3)             1.3 0.0160494         $4.17
            Administration
            & Objections

May 2019    Claims                  05/24/19 NM          260 Study responses to correspondence from investors regarding claims portal and process and              1.4    0.017284       $4.49
            Administration                                   draft responses to frequently asked questions to same (1.4)
            & Objections

June 2019   Asset                   06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
            Disposition
June 2019   Asset                   06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
            Disposition                                      exchange various correspondence relating to same (.4)
June 2019   Asset                   06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
            Disposition                                      timing (.2)
June 2019   Asset                   06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
            Disposition                                      with lenders counsel (.1)
June 2019   Asset                   06/05/19 KBD         390 office conference with J. Rak and exchange correspondence with A. Porter regarding single             0.2 0.0054054         $2.11
            Disposition                                      family home portfolio motion to approve listing for sale (.2)
June 2019   Asset                   06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
            Disposition                                      regarding same (.6)
June 2019   Asset                   06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
            Disposition




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  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019   Asset                   06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures          0.6 0.0068966         $2.69
            Disposition                                      and study revised credit bid procedures (.6)
June 2019   Asset                   06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                            0.4 0.0045977         $1.79
            Disposition
June 2019   Asset                   06/09/19 KBD         390 Draft correspondence to A. Porter regarding sale of properties and broker commission.                0.2     0.00425       $1.66
            Disposition
June 2019   Asset                   06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                0.7    0.008046       $3.14
            Disposition                                      M. Rachlis.
June 2019   Asset                   06/15/19 KBD         390 Study property marketing status report.                                                              0.2 0.0019802         $0.77
            Disposition
June 2019   Asset                   06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                 0.5       0.005       $1.95
            Disposition
June 2019   Business                06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                    0.3       0.003       $1.17
            Operations
June 2019   Business                06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties              0.5 0.0057471         $2.24
            Operations                                       (.5)
June 2019   Business                06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                           0.1 0.0009346         $0.36
            Operations
June 2019   Business                06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure            0.1 0.0011494         $0.45
            Operations                                       relating to credit bid issue (.1)
June 2019   Business                06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                   0.1 0.0009709         $0.38
            Operations
June 2019   Business                06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                  0.2 0.0019608         $0.76
            Operations                                       transfer of funds (.2)
June 2019   Business                06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                0.4 0.0038835         $1.51
            Operations                                       renewal (.4)
June 2019   Business                06/12/19 KBD         390 study property manager financial reporting (.4)                                                      0.4     0.00625       $2.44
            Operations
June 2019   Business                06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                     0.2 0.0019608         $0.76
            Operations
June 2019   Business                06/14/19 KBD         390 study property manager financial reporting (.3).                                                     0.3 0.0046875         $1.83
            Operations
June 2019   Business                06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                     0.4 0.0045977         $1.79
            Operations
June 2019   Business                06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                 0.4 0.0045977         $1.79
            Operations                                       same (.4).
June 2019   Business                06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence                0.4 0.0037383         $1.46
            Operations                                       with J. Rak regarding same (.4)
June 2019   Business                06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                  0.2 0.0019608         $0.76
            Operations                                       correspondence (.2)
June 2019   Business                06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue              0.3 0.0033333         $1.30
            Operations                                       (.3).




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2019   Claims                  06/10/19 KBD         390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
            Administration                                   lender's counsel regarding request to expedite determination of right to payment before bar
            & Objections                                     date (.3)

June 2019   Claims                  06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
            Administration                                   various documents and correspondence regarding same (.6)
            & Objections

June 2019   Claims                  06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
            Administration                                   lender's counsel regarding credit bid procedures (.3)
            & Objections

June 2019   Claims                  06/11/19 KBD         390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                  0.7    0.008046       $3.14
            Administration                                   revised procedures and communications with lenders counsel (.7).
            & Objections

June 2019   Claims                  06/14/19 KBD         390 study, draft, and revise credit bid procedures (.3).                                                 0.3 0.0034483         $1.34
            Administration
            & Objections

June 2019   Claims                  06/17/19 KBD         390 study lenders motion to amend court order and exchange correspondence regarding same                 0.6 0.0098361         $3.84
            Administration                                   (.6).
            & Objections

June 2019   Claims                  06/17/19 KBD         390 study correspondence from lenders counsel regarding credit bid procedures (.2)                       0.2 0.0022989         $0.90
            Administration
            & Objections

June 2019   Claims                  06/21/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                  0.3 0.0033708         $1.31
            Administration
            & Objections

June 2019   Claims                  06/23/19 KBD         390 Study and revise responses to lender inquiries as to claims process.                                 0.4 0.0044944         $1.75
            Administration
            & Objections

June 2019   Claims                  06/28/19 KBD         390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit              0.2 0.0022989         $0.90
            Administration                                   bid procedures (.2)
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019   Claims                  06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                        1.5 0.0172414         $6.72
            Administration
            & Objections

June 2019   Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                  1.2    0.011215       $1.57
            Disposition
June 2019   Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                              3.7 0.0345794         $4.84
            Disposition
June 2019   Asset                   06/04/19 AEP             390 research public records and finalize list of legal descriptions, PIN's, and owners of single-           0.7 0.0189189         $7.38
            Disposition                                          family properties (.7)
June 2019   Asset                   06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                             0.7 0.0078652         $3.07
            Disposition
June 2019   Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                       1.3 0.0121495         $1.70
            Disposition
June 2019   Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
            Disposition                                          properties (.6).
June 2019   Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
            Disposition
June 2019   Asset                   06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714        $25.77
            Disposition                                          marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                 specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                 to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                 PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                 surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                 lists and closing documents, and numerous other transaction preparation tasks.

June 2019   Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
            Disposition
June 2019   Asset                   06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
            Disposition
June 2019   Asset                   06/09/19 AEP             390 prepare e-mail to team regarding property sales and single-family home portfolio tranche                0.2 0.0054054         $2.11
            Disposition                                          (.2).
June 2019   Asset                   06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
            Disposition
June 2019   Asset                   06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
            Disposition                                          of proposed credit bidding procedures (2.1)
June 2019   Asset                   06/10/19 AEP             390 Teleconference with real estate broker regarding overview of marketing process for single-              0.2 0.0054054         $2.11
            Disposition                                          family home portfolio and effect of potential credit bidding issues.
June 2019   Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
            Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
June 2019   Asset                   06/11/19 AEP             390 Extensive review of public records for each property owned by EB South Chicago 1, as well as            6.2 0.1675676        $65.35
            Disposition                                          all available documents in files of former EquityBuild counsel relating to the acquisition and
                                                                 financing of said properties, and begin preparation of exhibit to motion to approve sales
                                                                 process for single-family home portfolio providing all property-specific information relevant
                                                                 to consideration of motion.
June 2019   Asset                   06/12/19 AEP             390 continue reviewing public records, loan documents, and other materials in EquityBuild files             3.3 0.0891892        $34.78
            Disposition                                          and preparing motion to approve sales process for single-family home portfolio and
                                                                 supporting exhibit (3.3).
June 2019   Asset                   06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
            Disposition                                          procedures and provide comments to team regarding same (.2)
June 2019   Asset                   06/13/19 AEP             390 Continue reviewing public records, loan documents, and other materials and preparing                    3.1 0.0837838        $32.68
            Disposition                                          motion to approve sales process for single-family home portfolio and supporting exhibit.

June 2019   Asset                   06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
            Disposition
June 2019   Asset                   06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
            Disposition
June 2019   Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                         1.8 0.0168224         $2.36
            Disposition
June 2019   Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for               0.1 0.0009346         $0.13
            Disposition                                          all properties (.1).
June 2019   Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)           0.1 0.0009346         $0.13
            Disposition
June 2019   Asset                   06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                    0.3       0.003       $0.42
            Disposition                                          referencing all properties (.3)
June 2019   Asset                   06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                            2.6       0.026       $3.64
            Disposition
June 2019   Asset                   06/26/19 AEP             390 Meeting with J. Rak to collect information for completion of exhibit to motion to approve               1.5 0.0405405        $15.81
            Disposition                                          sales process for single-family home portfolio, inventory state of title and survey work,
                                                                 discuss amendments to portfolio spreadsheet, and otherwise continue organization of next
                                                                 round of motion practice and closings.
June 2019   Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect                0.9 0.0083333         $1.17
            Disposition                                          the receiver's information (.9)
June 2019   Asset                   06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                    0.1       0.001       $0.14
            Disposition
June 2019   Asset                   06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                 2.5 0.0277778        $10.83
            Disposition
June 2019   Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other               1.8 0.0166667         $2.33
            Disposition                                          receivership properties (1.8).
June 2019   Asset                   06/30/19 AEP             390 Study, edit, and revise second section of motion to approve single-family home portfolio                1.8 0.0486486        $18.97
            Disposition                                          consistent with results of final title reviews of all properties owned by EB South Chicago
                                                                 entities.




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2019   Business                06/01/19 KMP         140 Communications with A. Porter and accountant regarding status of certain entities in                  0.2 0.0133333         $1.87
            Operations                                       connection with state agency's notice on filing of annual report.
June 2019   Business                06/03/19 ED          390 call with accountant to discuss preparation of April accounting reports (.1)                          0.1 0.0011494         $0.45
            Operations
June 2019   Business                06/03/19 NM          260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference           2.4 0.0275862         $7.17
            Operations                                       and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                             same (2.4)
June 2019   Business                06/04/19 ED          390 Review May Receivership account receipts and disbursements (.5)                                       0.5 0.0057471         $2.24
            Operations
June 2019   Business                06/07/19 ED          390 telephone call with insurance agent regarding the foregoing (.1)                                      0.1       0.001       $0.39
            Operations
June 2019   Business                06/07/19 ED          390 review correspondence and documents regarding pending claims (.4)                                     0.4       0.004       $1.56
            Operations
June 2019   Business                06/07/19 ED          390 Review policy documents relating to insurance renewals (.9)                                           0.9 0.0087379         $3.41
            Operations
June 2019   Business                06/07/19 ED          390 review and analysis of documents and email correspondence to organize list of items for               2.7       0.027      $10.53
            Operations                                       current and periodic follow up with property managers, insurance broker, and Receiver (2.7).

June 2019   Business                06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                  0.4 0.0038835         $0.54
            Operations                                       liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                             regarding same (.4)
June 2019   Business                06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                      0.2 0.0019417         $0.27
            Operations                                       property insurance renewal and forward executed documentation relating to same (.2)

June 2019   Business                06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                  0.5 0.0057471         $2.24
            Operations
June 2019   Business                06/10/19 ED          390 confer with K. Duff regarding same (.3).                                                              0.3 0.0034483         $1.34
            Operations
June 2019   Business                06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                         4.7    0.054023      $21.07
            Operations                                       regarding allocation of funds (4.7)
June 2019   Business                06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)            0.2       0.002       $0.78
            Operations
June 2019   Business                06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds              0.6 0.0068966         $1.79
            Operations                                       and payment of expenses from same and from Receiver's account (.6).
June 2019   Business                06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                       0.9 0.0103448         $4.03
            Operations
June 2019   Business                06/13/19 ED          390 review information from property manager regarding application of funds from Receivership             1.0 0.0114943         $4.48
            Operations                                       to property accounts (1.0)
June 2019   Business                06/13/19 ED          390 confer with M. Rachlis (.2)                                                                           0.2 0.0022989         $0.90
            Operations
June 2019   Business                06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling                0.1 0.0009709         $0.14
            Operations                                       payment for same (.1).




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019   Business                06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                         0.1 0.0011494         $0.45
            Operations
June 2019   Business                06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)                0.2 0.0022989         $0.90
            Operations
June 2019   Business                06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by                  0.2 0.0022989         $0.90
            Operations                                       property, refunds relating to sold properties, claims history and status (.2)

June 2019   Business                06/17/19 MR          390 attention to accountant related issues (.1)                                                            0.1 0.0011494         $0.45
            Operations
June 2019   Business                06/17/19 MR          390 and conferences regarding same (.3).                                                                   0.3 0.0034483         $1.34
            Operations
June 2019   Business                06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                    0.3 0.0034483         $1.34
            Operations                                       respond to letters received from lender (.3)
June 2019   Business                06/18/19 ED          390 email correspondence with property manager (.7)                                                        0.7    0.008046       $3.14
            Operations
June 2019   Business                06/18/19 ED          390 accountant (.4)                                                                                        0.4 0.0045977         $1.79
            Operations
June 2019   Business                06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                               4.3 0.0494253        $19.28
            Operations
June 2019   Business                06/18/19 ED          390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
            Operations
June 2019   Business                06/18/19 ED          390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
            Operations                                       regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019   Business                06/19/19 ED          390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
            Operations                                       manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019   Business                06/20/19 ED          390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
            Operations                                       accounting reports (1.0)
June 2019   Business                06/20/19 ED          390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
            Operations
June 2019   Business                06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
            Operations
June 2019   Business                06/20/19 MR          390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
            Operations
June 2019   Business                06/24/19 ED          390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
            Operations
June 2019   Business                06/24/19 ED          390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
            Operations                                       premiums relating to sold properties (.1)
June 2019   Business                06/26/19 ED          390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
            Operations                                       accounts receivables (.2).
June 2019   Business                06/27/19 ED          390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
            Operations


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2019   Business                06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
            Operations
June 2019   Business                06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
            Operations
June 2019   Claims                  06/04/19 ED              390 review of related documents (.8).                                                                      0.8 0.0091954         $3.59
            Administration
            & Objections

June 2019   Claims                  06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
            Administration
            & Objections

June 2019   Claims                  06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
            Administration
            & Objections

June 2019   Claims                  06/04/19 ED              390 email correspondence with accountant regarding additional information needed for April                 0.6 0.0068966         $2.69
            Administration                                       reporting (.6)
            & Objections

June 2019   Claims                  06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
            Administration
            & Objections

June 2019   Claims                  06/07/19 ED              390 Review and analysis of correspondence and documents to develop list of follow-up items                 1.2 0.0134831         $5.26
            Administration                                       and priorities relating to lenders claims (1.2)
            & Objections

June 2019   Claims                  06/07/19 ED              390 email correspondence lender's counsel regarding March accounting reports (.1).                         0.1 0.0011494         $0.45
            Administration
            & Objections

June 2019   Claims                  06/07/19 ED              390 correspondence with property manager regarding property accounts and allocation of                     0.3 0.0034483         $1.34
            Administration                                       Receivership funds provided for property expenditures (.3)
            & Objections

June 2019   Claims                  06/10/19 ED              390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance            0.2 0.0022989         $0.90
            Administration                                       and questions relating to Receiver's accounting reports.
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
June 2019   Claims                  06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                                 0.6 0.0068966         $2.69
            Administration
            & Objections

June 2019   Claims                  06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                  0.3 0.0034483         $1.34
            Administration                                   ended April 2019 (.3)
            & Objections

June 2019   Claims                  06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April              0.2 0.0022989         $0.90
            Administration                                   accounting reports to lenders (.2).
            & Objections

June 2019   Claims                  06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                           0.6 0.0067416         $2.63
            Administration
            & Objections

June 2019   Claims                  06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
            Administration
            & Objections

June 2019   Claims                  06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
            Administration
            & Objections

June 2019   Claims                  06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
            Administration                                   email to Receiver's team regarding responses to same (.6)
            & Objections

June 2019   Claims                  06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
            Administration
            & Objections

June 2019   Claims                  06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
            Administration
            & Objections

June 2019   Claims                  06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                      0.8 0.0089888         $2.34
            Administration                                   questions posed by lenders and revise same (.8)
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
June 2019   Claims                  06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                             0.6 0.0067416         $1.75
            Administration
            & Objections

June 2019   Claims                  06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                           0.6 0.0067416         $2.63
            Administration
            & Objections

June 2019   Claims                  06/25/19 MR          390 prepare for (1.2)                                                                                       1.2 0.0134831         $5.26
            Administration
            & Objections

June 2019   Claims                  06/25/19 MR          390 Attention to claims related issues (.7)                                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

June 2019   Claims                  06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                            0.5    0.005618       $1.46
            Administration
            & Objections

July 2019   Asset                   07/03/19 KBD         390 telephone conference with A. Porter regarding motion for approval to list for sale single-              0.2 0.0054054         $2.11
            Disposition                                      family home portfolio (.2).
July 2019   Asset                   07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002       $0.78
            Disposition                                      properties and timing (.2)
July 2019   Asset                   07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002       $0.78
            Disposition                                      and impact on timing for sale of properties and planning (.2)
July 2019   Asset                   07/10/19 KBD         390 confer with A. Porter regarding single family home portfolio, determination of listing prices,          0.3 0.0081081         $3.16
            Disposition                                      and allocation of sales proceeds (.3)
July 2019   Asset                   07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                                0.3 0.0034483         $1.34
            Disposition
July 2019   Asset                   07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs                0.1 0.0011494         $0.45
            Disposition                                      (.1).
July 2019   Asset                   07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                     0.2       0.002       $0.78
            Disposition
July 2019   Asset                   07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                            0.2       0.002       $0.78
            Disposition
July 2019   Business                07/01/19 KBD         390 review allocation of insurance premium (.3)                                                             0.3 0.0029412         $1.15
            Operations
July 2019   Business                07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                     0.2 0.0032787         $1.28
            Operations
July 2019   Business                07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                   0.2       0.002       $0.78
            Operations                                       property manager (.2).




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2019   Business                07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding               0.5 0.0081967         $3.20
            Operations                                       previous discussions before the Court about priority and abandonment.

July 2019   Business                07/10/19 KBD         390 Review real estate tax bills (.2)                                                                     0.2 0.0019608         $0.76
            Operations
July 2019   Business                07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                            0.1 0.0009804         $0.38
            Operations
July 2019   Business                07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                  0.2 0.0022989         $0.90
            Operations
July 2019   Business                07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,            0.2 0.0019608         $0.76
            Operations                                       communications with asset manager regarding property management costs, and
                                                             communications with insurance broker relating to premiums (.2)
July 2019   Business                07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                     0.1 0.0009804         $0.38
            Operations
July 2019   Business                07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
            Operations
July 2019   Business                07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
            Operations                                       and priority of property sales (.1)
July 2019   Business                07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with          0.2 0.0022989         $0.90
            Operations                                       E. Duff (.2)
July 2019   Business                07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
            Operations
July 2019   Business                07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
            Operations                                       regarding same (2.5)
July 2019   Business                07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
            Operations
July 2019   Business                07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
            Operations
July 2019   Business                07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
            Operations
July 2019   Business                07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence            0.5    0.009434       $3.68
            Operations                                       with M. Rachlis regarding same (.5)
July 2019   Business                07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                        1.1 0.0207547         $8.09
            Operations
July 2019   Business                07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent                 0.2 0.0037736         $1.47
            Operations                                       restoration (.2)
July 2019   Business                07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
            Operations                                       payment for insurance (.2)
July 2019   Business                07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
            Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019   Claims                  07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                      0.5    0.005618       $2.19
            Administration
            & Objections

July 2019   Claims                  07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)             1.9 0.0218391         $8.52
            Administration
            & Objections

July 2019   Claims                  07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                         1.0 0.0163934         $6.39
            Administration
            & Objections

July 2019   Claims                  07/02/19 KBD         390 study and revise draft correspondence to Court regarding prior priority and abandonment             0.3 0.0033708         $1.31
            Administration                                   discussions before the Court (.3)
            & Objections

July 2019   Claims                  07/02/19 KBD         390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

July 2019   Claims                  07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                0.3 0.0034483         $1.34
            Administration                                   regarding same (.3).
            & Objections

July 2019   Claims                  07/02/19 KBD         390 prepare for hearing with M. Rachlis (.3)                                                            0.3 0.0033708         $1.31
            Administration
            & Objections

July 2019   Claims                  07/02/19 KBD         390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                 0.6 0.0067416         $2.63
            Administration                                   information, and case law (.6)
            & Objections

July 2019   Claims                  07/22/19 KBD         390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                 0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/23/19 KBD         390 draft correspondence to and office conference with E. Duff regarding same (.2).                     0.2 0.0037736         $1.47
            Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2019   Claims                  07/23/19 KBD             390 revise motion for use of sales proceeds for rent restoration (.8)                                       0.8 0.0150943         $5.89
            Administration
            & Objections

July 2019   Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                     0.2 0.0018519         $0.72
            Administration                                       lender issue and impact on sales effort (.2)
            & Objections

July 2019   Asset                   07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                       1.3 0.0146067         $5.70
            Disposition
July 2019   Asset                   07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19            1.6 0.0179775         $7.01
            Disposition                                          order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                 therefore (1.6)
July 2019   Asset                   07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)            1.4 0.0138614         $1.94
            Disposition
July 2019   Asset                   07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                       1.1 0.0123596         $4.82
            Disposition
July 2019   Asset                   07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                       0.5    0.005618       $2.19
            Disposition
July 2019   Asset                   07/03/19 JR              140 update real estate taxes for properties (1.5).                                                          1.5 0.0238095         $3.33
            Disposition
July 2019   Asset                   07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on                0.1 0.0015873         $0.22
            Disposition                                          all properties for property manager (.1)
July 2019   Asset                   07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                             1.3 0.0146067         $5.70
            Disposition
July 2019   Asset                   07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts               1.2 0.0136364         $5.32
            Disposition                                          regarding same.
July 2019   Asset                   07/09/19 AEP             390 teleconference with brokers retained to sell single-family home portfolio regarding valuation           1.4 0.0378378        $14.76
            Disposition                                          methodology and allocation of sales proceeds (1.4)
July 2019   Asset                   07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                 0.5 0.0079365         $1.11
            Disposition                                          and resend (.5)
July 2019   Asset                   07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                       1.9       0.019       $2.66
            Disposition
July 2019   Asset                   07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                                1.8       0.018       $2.52
            Disposition
July 2019   Asset                   07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408         $0.80
            Disposition                                          insurer with request to begin preparation of title commitments (.2).
July 2019   Asset                   07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804         $0.14
            Disposition                                          (.1)
July 2019   Asset                   07/23/19 AEP             390 Conference call with K. Duff, M. Rachlis, and receivership brokers regarding single-family              0.4 0.0108108         $4.22
            Disposition                                          portfolio assets and encumbrances thereon, including EBF affiliate and institutional debt (.4)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2019   Asset                   07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                 0.2 0.0022989         $0.90
            Disposition                                          institutional lenders (.2).
July 2019   Asset                   07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
            Disposition                                          (.2)
July 2019   Asset                   07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258         $0.45
            Disposition
July 2019   Asset                   07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645         $1.13
            Disposition                                          notice of motion, and electronically file same (.5)
July 2019   Asset                   07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129         $0.23
            Disposition
July 2019   Asset                   07/28/19 AEP             390 prepare remaining exhibits to motion, including proposed order, proposed form of                        0.7 0.0189189         $7.38
            Disposition                                          publication, and proposed terms and conditions of single-family residence sales process (.7)

July 2019   Asset                   07/28/19 AEP             390 prepare exhibit to motion reflecting receivership broker's allocations of individual property           1.0    0.027027      $10.54
            Disposition                                          values (1.0)
July 2019   Asset                   07/28/19 AEP             390 Proofread, edit, and revise latest draft of motion to approve sales process for single-family           3.1 0.0837838        $32.68
            Disposition                                          home portfolio, review notes of teleconference with receivership broker, read white paper
                                                                 received from receivership broker explaining online marketing process, and prepare new
                                                                 section of motion regarding automated valuation methodology and allocation of estimated
                                                                 market values of individual properties (3.1)

July 2019   Asset                   07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
            Disposition
July 2019   Asset                   07/29/19 AEP             390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties            1.3 0.0146067         $5.70
            Disposition                                          potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                                 connection with potential settlement with institutional lender (1.3)

July 2019   Asset                   07/30/19 AEP             390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and             1.4 0.0137255         $5.35
            Disposition                                          title underwriter explaining timetable associated with preparation of form purchase and sale
                                                                 agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                                 approve sales, and other closing-related documentation in connection with all remaining
                                                                 tranches (1.4)
July 2019   Business                07/09/19 ED              390 call with asset manager regarding cash flow analysis (.1)                                               0.1       0.001       $0.39
            Operations
July 2019   Business                07/09/19 ED              390 Email correspondence with property managers regarding property balances available for                   0.1       0.001       $0.39
            Operations                                           payment of real estate taxes (.1)
July 2019   Business                07/12/19 ED              390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                 0.2 0.0019608         $0.76
            Operations                                           coming due (.2)
July 2019   Business                07/12/19 ED              390 Call with K Duff to discuss payment of real estate tax installments, property financial                 0.2 0.0019608         $0.76
            Operations                                           reporting information, discussions with asset manager regarding cash flow and property
                                                                 costs, and information received from insurance broker regarding property coverages (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019   Business                07/14/19 ED              390 and funds available for payment of property tax installments (.6)                                        0.6 0.0058824         $2.29
            Operations
July 2019   Business                07/14/19 ED              390 confer with K. Duff and email to J. Rak regarding same (.1)                                              0.1 0.0009804         $0.38
            Operations
July 2019   Business                07/14/19 ED              390 Review and analysis of reports relating to property cash flow and expenses (1.1)                         1.1 0.0107843         $4.21
            Operations
July 2019   Business                07/15/19 ED              390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.                 0.7       0.007       $2.73
            Operations                                           Rachlis and J. Rak regarding same (.7).
July 2019   Business                07/15/19 ED              390 Review and analysis of additional material regarding cash flow and property balances (.2)                0.2       0.002       $0.78
            Operations
July 2019   Business                07/15/19 ED              390 call with asset manager regarding the foregoing (.6)                                                     0.6 0.0058824         $2.29
            Operations
July 2019   Business                07/15/19 NM              260 study correspondence in EquityBuild account to determine if any relate to City violations or             0.2       0.002       $0.52
            Operations                                           property status (.2).
July 2019   Business                07/16/19 NM              260 Correspond with property manager and City attorneys regarding outstanding buildings,                     0.8 0.0080808         $2.10
            Operations                                           water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                                 the same.
July 2019   Business                07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
            Operations
July 2019   Business                07/18/19 AW              140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
            Operations
July 2019   Business                07/18/19 ED              390 confer with J. Rak to request preparation of spreadsheet for analysis of remaining real estate           0.1 0.0030303         $1.18
            Operations                                           taxes due (.1)
July 2019   Business                07/18/19 ED              390 and review and revision of same (.4).                                                                    0.4 0.0121212         $4.73
            Operations
July 2019   Business                07/18/19 MR              390 Work on issues on rent restoration (.6)                                                                  0.6 0.0113208         $4.42
            Operations
July 2019   Business                07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804         $0.14
            Operations
July 2019   Business                07/19/19 JR              140 update same and send to E. Duff (1.9).                                                                   1.9 0.0575758         $8.06
            Operations
July 2019   Business                07/19/19 JR              140 Review email from E. Duff pertaining to lender spreadsheet and the request to update                     0.2 0.0060606         $0.85
            Operations                                           current real estate tax balances (.2)
July 2019   Business                07/23/19 ED              390 review of June financial reporting from property managers (.4)                                           0.4       0.004       $1.56
            Operations
July 2019   Business                07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002       $0.78
            Operations
July 2019   Business                07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216         $0.55
            Operations                                           and communications with K. Duff and bank representative regarding same.

July 2019   Business                07/25/19 MR              390 Attention to rent restoration motion (.4)                                                                0.4 0.0075472         $2.94
            Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2019   Business                07/25/19 NM          260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                0.2 0.0037736         $0.98
            Operations                                       serving the same (.2)
July 2019   Business                07/25/19 NM          260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for              1.0 0.0188679         $4.91
            Operations                                       rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019   Business                07/29/19 MR          390 Prepare for upcoming hearing.                                                                          0.4 0.0075472         $2.94
            Operations
July 2019   Business                07/31/19 ED          390 review and analysis of asset manager's updated property summary (.3).                                  0.3 0.0029412         $1.15
            Operations
July 2019   Claims                  07/01/19 ED          390 Review and analyze documents necessary to prepare spreadsheet of May receivership                      1.4    0.016092       $6.28
            Administration                                   expenditures by property for use in preparation of lender accounting reports (1.4)
            & Objections

July 2019   Claims                  07/01/19 ED          390 email to accountant regarding same (.4).                                                               0.4 0.0045977         $1.79
            Administration
            & Objections

July 2019   Claims                  07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                                      0.1 0.0011494         $0.45
            Administration
            & Objections

July 2019   Claims                  07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting                 0.2 0.0022989         $0.90
            Administration                                   reports to lenders.
            & Objections

July 2019   Claims                  07/10/19 ED          390 email correspondence with accountants (.6)                                                             0.6 0.0068966         $2.69
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                        1.1      0.0125       $4.88
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                              0.4 0.0045977         $1.79
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                                0.5 0.0057471         $2.24
            Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
July 2019   Claims                  07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                          0.8 0.0091954         $3.59
            Administration
            & Objections

July 2019   Claims                  07/11/19 ED          390 and email correspondence confirming next steps (.3)                                                 0.3 0.0034483         $1.34
            Administration
            & Objections

July 2019   Claims                  07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments                   0.2 0.0022989         $0.90
            Administration                                   attributable to properties (.2)
            & Objections

July 2019   Claims                  07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                        1.9 0.0218391         $8.52
            Administration
            & Objections

July 2019   Claims                  07/14/19 ED          390 email accountant regarding same (.2)                                                                0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
            Administration
            & Objections

July 2019   Claims                  07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
            Administration
            & Objections

July 2019   Claims                  07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
            Administration
            & Objections

July 2019   Claims                  07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
            Administration                                   to lender's counsel regarding restoration of rents (1.0).
            & Objections

July 2019   Claims                  07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
            Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
July 2019   Claims                  07/18/19 ED          390 final review of May accounting reports (.7)                                                        0.7    0.008046       $3.14
            Administration
            & Objections

July 2019   Claims                  07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with          0.3 0.0034483         $1.34
            Administration                                   information and instructions for same (.3)
            & Objections

July 2019   Claims                  07/18/19 ED          390 email correspondence to S. Zjalic regarding organizing financial information for use in            0.5 0.0057471         $2.24
            Administration                                   preparation of June accounting reports to lenders (.5)
            & Objections

July 2019   Claims                  07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports          0.8 0.0091954         $3.59
            Administration                                   (.8)
            & Objections

July 2019   Claims                  07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                           0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/19/19 ED          390 Email correspondence with A. Watychowicz regarding preparation of May accounting                   0.1 0.0011494         $0.45
            Administration                                   reports to lenders (.1)
            & Objections

July 2019   Claims                  07/22/19 ED          390 send May accounting reports to lenders' counsel (2.0)                                              2.0 0.0229885         $8.97
            Administration
            & Objections

July 2019   Claims                  07/22/19 ED          390 and confer with K. Duff regarding same (1.1)                                                       1.1 0.0126437         $4.93
            Administration
            & Objections

July 2019   Claims                  07/22/19 ED          390 review of analysis prepared by accountant (.2)                                                     0.2 0.0022989         $0.90
            Administration
            & Objections

July 2019   Claims                  07/22/19 ED          390 prepare information for responses to queries from lenders' counsel regarding payment of            0.5 0.0057471         $2.24
            Administration                                   real estate taxes and related matters (.5)
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
July 2019   Claims                  07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

July 2019   Claims                  07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
            Administration                                       reports from institutional landers and property managers (1.5)
            & Objections

July 2019   Claims                  07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
            Administration
            & Objections

July 2019   Claims                  07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
            Administration
            & Objections

July 2019   Claims                  07/24/19 ED              390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)              0.2 0.0037736         $1.47
            Administration
            & Objections

July 2019   Claims                  07/24/19 ED              390 organize and send materials to accountant for June accounting reports to lenders (.8)                    0.8 0.0091954         $3.59
            Administration
            & Objections

July 2019   Claims                  07/24/19 ED              390 review and analysis of expenditures by receivership in June to be allocated to properties for            0.9 0.0103448         $4.03
            Administration                                       accounting reports (.9)
            & Objections

July 2019   Claims                  07/26/19 ED              390 email correspondence with accountant regarding information for inclusion in June                         0.4 0.0045977         $1.79
            Administration                                       accounting reports to lenders (.4)
            & Objections

August 2019 Asset                   08/01/19 KBD             390 Study draft motion for approval to sell single family home portfolio (.4)                                0.4 0.0108108         $4.22
            Disposition
August 2019 Asset                   08/01/19 KBD             390 exchange correspondence with potential buyer regarding listing and commission issue (.2).                0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                   08/09/19 KBD             390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).                0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                   08/09/19 KBD             390 exchange correspondence with potential purchaser and real estate broker regarding interest               0.1       0.001       $0.39
            Disposition                                          in properties (.1)
August 2019 Asset                   08/12/19 KBD             390 telephone conference with real estate broker and A. Porter regarding lender                              0.1 0.0011494         $0.45
            Disposition                                          communications relating to credit bidding procedures and current marketing efforts (.1)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
August 2019 Asset                   08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                    0.3       0.003       $1.17
            Disposition                                      marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                   08/15/19 KBD         390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second          0.5 0.0111111         $4.33
            Disposition                                      group of properties and single family home portfolio (.5)
August 2019 Asset                   08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                    1.5 0.0172414         $6.72
            Disposition                                      credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                             (1.5).
August 2019 Asset                   08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                  0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                   08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                         0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                   08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing             0.8 0.0091954         $3.59
            Disposition                                      conference with various lenders' counsel
August 2019 Asset                   08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                   0.3       0.003       $1.17
            Disposition
August 2019 Business                08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property                   0.1 0.0009804         $0.38
            Operations                                       expenses and insurance.
August 2019 Business                08/08/19 KBD         390 study various correspondence regarding payment of real estate taxes (.2).                             0.2 0.0666667        $26.00
            Operations
August 2019 Business                08/12/19 KBD         390 study property manager financial reporting (.3).                                                      0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                         0.1       0.001       $0.39
            Operations
August 2019 Business                08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).               0.3 0.0046875         $1.83
            Operations
August 2019 Business                08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                           0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real                   0.2 0.0019608         $0.76
            Operations                                       estate taxes (.2).
August 2019 Business                08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                       0.2 0.0022989         $0.90
            Operations
August 2019 Business                08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.              0.3       0.003       $1.17
            Operations                                       Rak regarding same (.3)
August 2019 Business                08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                     0.5       0.005       $1.95
            Operations
August 2019 Claims                  08/08/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.4)                                              0.4 0.0108108         $4.22
            Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
August 2019 Claims                  08/08/19 KBD         390 conference with lender's counsel (.8)                                                              0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/08/19 KBD         390 Prepare for conference with lender's counsel (.8)                                                  0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/09/19 KBD         390 study draft response to lender objections (.4).                                                    0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                  08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                 0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                  08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                   procedures.
            & Objections

August 2019 Claims                  08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                        0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                  08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                             0.5 0.0081967         $3.20
            Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
August 2019 Claims                  08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                              0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and            1.5 0.0172414         $6.72
            Administration                                   lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                  08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions             4.3 0.0494253        $19.28
            Administration                                   (4.3)
            & Objections

August 2019 Claims                  08/20/19 KBD         390 telephone conference with lenders' counsel regarding preparation to market and sell single          1.2 0.0324324        $12.65
            Administration                                   family home portfolio and relating to preliminary report of claims process and upcoming
            & Objections                                     hearing (1.2)

August 2019 Claims                  08/20/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.8)                                            0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                  08/21/19 KBD         390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                       2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                  08/22/19 KBD         390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing             0.2 0.0022989         $0.90
            Administration                                   issue (.2)
            & Objections

August 2019 Claims                  08/23/19 KBD         390 Exchange correspondence with E. Duff regarding restoration of rents issue.                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/28/19 KBD         390 Study lenders' reply relating to objections.                                                        0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                  08/29/19 KBD         390 exchange correspondence regarding credit bid from lender (.2).                                      0.2 0.0022989         $0.90
            Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
August 2019 Claims                  08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit               0.2 0.0022989          $0.90
            Administration                                       bid and closing costs (.2)
            & Objections

August 2019 Claims                  08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                        0.3 0.0034483          $1.34
            Administration
            & Objections

August 2019 Asset                   08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title              0.5    0.005102        $1.99
            Disposition                                          commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                 timetables (.5)
August 2019 Asset                   08/08/19 MR              390 Prepare for and participate in call with lender's counsel, A Porter and K. Duff.                      2.0 0.0540541         $21.08
            Disposition
August 2019 Asset                   08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                          0.2       0.002        $0.28
            Disposition
August 2019 Asset                   08/13/19 AEP             390 read e-mail from receivership broker regarding status of motion for approval to sell single-          0.1 0.0027027          $1.05
            Disposition                                          family residences and respond thereto (.1).
August 2019 Asset                   08/20/19 AEP             390 conference call with counsel for secured lender holding interests in single-family home               1.3 0.0351351         $13.70
            Disposition                                          portfolio regarding marketing process, potential objection to sales process, allocations of
                                                                 value to individual assets, and potential meeting with secured lenders to discuss global
                                                                 issues, including timing of claims process (1.3)
August 2019 Asset                   08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                  0.3 0.0056604          $1.47
            Disposition                                          rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                   08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second             0.1 0.0022222          $0.58
            Disposition                                          tranche, and listing of all remaining properties (.1)
August 2019 Asset                   08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                                  0.2 0.0037736          $1.47
            Disposition
August 2019 Asset                   08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff             1.0 0.0188679          $4.91
            Disposition                                          regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for              0.2       0.002        $0.28
            Operations                                           properties.
August 2019 Business                08/08/19 ED              390 email to property manager regarding payment of taxes (417 Oglesby, 7922 S Luella, 8800 S              0.1 0.0333333         $13.00
            Operations                                           Ada) (.1)
August 2019 Business                08/08/19 JR              140 Exchange correspondence with E. Duff and property manager regarding updated property                  0.1 0.0333333          $4.67
            Operations                                           tax amounts (.1)
August 2019 Business                08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                 1.3       0.013        $1.82
            Operations
August 2019 Business                08/12/19 JR              140 Update real estate tax spreadsheet with most recent payments made by property managers.               0.3          0.1      $14.00
            Operations
August 2019 Business                08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                           0.1 0.0009804          $0.38
            Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
August 2019 Business                08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                     0.1 0.0009804         $0.38
            Operations
August 2019 Business                08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).             0.1 0.0011236         $0.16
            Operations
August 2019 Business                08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to               0.1 0.0014085         $0.20
            Operations                                           payment of real estate taxes.
August 2019 Business                08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance              0.1 0.0009804         $0.14
            Operations                                           agreement (.1).
August 2019 Business                08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                            0.7       0.007       $2.73
            Operations
August 2019 Business                08/21/19 MR              390 Conferences with E. Duff (.2)                                                                      0.2 0.0019608         $0.76
            Operations
August 2019 Business                08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                  0.8       0.008       $3.12
            Operations
August 2019 Business                08/22/19 ED              390 review of July reporting from property managers (1.2)                                              1.2       0.012       $4.68
            Operations
August 2019 Business                08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).            0.1 0.0009804         $0.14
            Operations
August 2019 Claims                  08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                  08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483         $1.34
            Administration                                       documents (.3)
            & Objections

August 2019 Claims                  08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                       accounting firm (.5).
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                         0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                               0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                  08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                                2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                  08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in                0.1 0.0011494         $0.45
            Administration                                       accounting reports to lenders (.1)
            & Objections

August 2019 Claims                  08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                  08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                               0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 locate and download proof of claims forms submitted by institutional lender (.4)                       0.4 0.0093023         $1.30
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 confer with K. Duff regarding meeting with institutional lender (.1)                                   0.1 0.0023256         $0.33
            Administration
            & Objections

August 2019 Claims                  08/08/19 AW              140 review spreadsheets and prepare same for upcoming meeting (.6)                                         0.6 0.0139535         $1.95
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED              390 email to lenders' counsel regarding payment of real estate taxes (417 Oglesby, 7922 S Luella,          0.1 0.0333333        $13.00
            Administration                                       8800 S Ada) (.1).
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
August 2019 Claims                  08/08/19 ED          390 call with accountant regarding same (.1)                                                          0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/08/19 ED          390 Review additional drafts of June accounting reports to lenders (.2)                               0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                  08/13/19 NM          260 study respond to lender objections on credit bid procedures orders, revise the same, and          0.3    0.004918       $1.28
            Administration                                   correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                  08/14/19 ED          390 and email correspondence with accountant regarding comments (.6)                                  0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)              0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/14/19 NM          260 study response to lender objections on credit bid procedures orders for filing (.2).              0.2 0.0032787         $0.85
            Administration
            & Objections

August 2019 Claims                  08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                         3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                  08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                  08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related           2.7 0.0310345        $12.10
            Administration                                   documents and correspondence (2.7)
            & Objections

August 2019 Claims                  08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures           0.4 0.0045977         $1.79
            Administration                                   for inclusion in June accounting reports to lenders (.4)
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2019 Claims                  08/16/19 MR              390 attention to motion filed by certain lenders and follow up on same (.5).                              0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                  08/16/19 MR              390 Attention to various issues on credit bids and emails regarding same (.6)                             0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/16/19 NM              260 Correspond with J. Rak regarding claims process and identifying mortgagees on each                    0.5 0.0061728         $1.60
            Administration                                       property with EBF debt (.5)
            & Objections

August 2019 Claims                  08/16/19 NM              260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                       same (.3).
            & Objections

August 2019 Claims                  08/19/19 ED              390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).             1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED              390 continue review of drafts of June accounting reports to lenders (2.2)                                 2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED              390 and review revised reports (3.9)                                                                      3.9 0.0448276        $17.48
            Administration
            & Objections

August 2019 Claims                  08/19/19 ED              390 email correspondence with accountant regarding comments and questions regarding                       0.6 0.0068966         $2.69
            Administration                                       content of reports (.6)
            & Objections

August 2019 Claims                  08/19/19 JR              140 Draft spreadsheet with all mortgagee names, names of LLC's, amount of loan and percentage             7.3 0.0890244        $12.46
            Administration                                       of loan for all properties that are encumbered by EBF debt (7.3)
            & Objections

August 2019 Claims                  08/19/19 MR              390 attention to order on credit bids and conferences regarding same (.3)                                 0.3 0.0034483         $1.34
            Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/19/19 MR              390 attention to upcoming meeting and hearing on lender related issues (.5).                               0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                  08/19/19 MR              390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                  3.5 0.0402299        $15.69
            Administration                                       follow up regarding same (3.5)
            & Objections

August 2019 Claims                  08/20/19 MR              390 follow up discussion and preparation with same (.5).                                                   0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                  08/20/19 MR              390 conferences with lender counsel on claims issues and property sales with K. Duff, A. Porter            1.4 0.0378378        $14.76
            Administration                                       (1.4)
            & Objections

August 2019 Claims                  08/21/19 AW              140 attention to email from E. Duff regarding accounting reports for institutional lenders and             0.1 0.0011236         $0.16
            Administration                                       follow up (.1)
            & Objections

August 2019 Claims                  08/21/19 AW              140 prepare reports for E. Duff and K. Duff. (1.1)                                                         1.1 0.0123596         $1.73
            Administration
            & Objections

August 2019 Claims                  08/21/19 JR              140 Continue project to identify the mortgagee loan information as shown on the deeds for all              7.8    0.095122      $13.32
            Administration                                       the properties.
            & Objections

August 2019 Claims                  08/21/19 NM              260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                       study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                  08/22/19 ED              390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/22/19 ED              390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                       accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                  Hours        Fees
August 2019 Claims                  08/22/19 ED              390 Send June accounting reports to lenders' counsel (1.2)                                           1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                  08/22/19 JR              140 Continue drafting project identifying the mortgagee loan information as shown on the             8.0    0.097561      $13.66
            Administration                                       recorded deeds for all the properties in the portfolio.
            & Objections

August 2019 Claims                  08/25/19 JR              140 Review and make additions to the potential claimants spreadsheet.                                5.3     0.06625       $9.28
            Administration
            & Objections

August 2019 Claims                  08/26/19 JR              140 Revise the potential claimants spreadsheet and confer with N. Mirjanich regarding same.          6.1 0.0753086        $10.54
            Administration
            & Objections

August 2019 Claims                  08/26/19 NM              260 correspond with J. Rak regarding spreadsheet of EBF mortgagees (.2).                             0.2 0.0024691         $0.64
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 Review and revise potential claimants spreadsheet for N. Mirjanich (7.5)                         7.5 0.0925926        $12.96
            Administration
            & Objections

August 2019 Claims                  08/27/19 JR              140 exchange correspondence with N. Mirjanich regarding same (.2).                                   0.2 0.0024691         $0.35
            Administration
            & Objections

August 2019 Claims                  08/27/19 NM              260 study spreadsheet sent by J. Rak with EBF mortgagees (.4)                                        0.4 0.0049383         $1.28
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 email correspondence with accountant (.6)                                                        0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                  08/28/19 ED              390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration          0.1 0.0011494         $0.45
            Administration                                       amounts
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
August 2019 Claims                  08/28/19 ED              390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483         $1.34
            Administration                                       reports to lenders (.3)
            & Objections

August 2019 Claims                  08/28/19 JR              140 Finalize list of EBF mortgagees and potential claimants spreadsheet and send to N. Mirjanich.          1.6 0.0197531         $2.77
            Administration
            & Objections

August 2019 Claims                  08/29/19 ED              390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                  08/30/19 NM              260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                       hearing attached as exhibit to the same (.7).
            & Objections

September   Asset                   09/04/19 KBD             390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989         $0.90
2019        Disposition
September   Asset                   09/04/19 KBD             390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356        $11.21
2019        Disposition                                          bidding, and hearing before Judge Lee (2.5).
September   Asset                   09/06/19 KBD             390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483         $1.34
2019        Disposition                                          regarding sales contracts and communications relating to credit bidding (.3)

September Asset                     09/09/19 KBD             390 Exchange correspondence with M. Rachlis and real estate broker regarding communications                0.8 0.0126984         $4.95
2019      Disposition                                            with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                                 marketing and property tour information.
September   Asset                   09/12/19 KBD             390 draft correspondence to lender's counsel regarding valuation information (.1).                         0.1    0.002381       $0.93
2019        Disposition
September   Asset                   09/18/19 KBD             390 Exchange correspondence with M. Rachlis regarding single family home portfolio valuation.              0.2 0.0054054         $2.11
2019        Disposition
September   Asset                   09/21/19 KBD             390 Draft correspondence to lender's counsel regarding valuation of properties and exchange                0.3 0.0081081         $3.16
2019        Disposition                                          correspondence with M. Rachlis and A. Porter regarding same.
September   Asset                   09/23/19 KBD             390 study property valuation information relating to single family homes, draft correspondence             0.2 0.0054054         $2.11
2019        Disposition                                          to lender's counsel regarding same, and exchange correspondence with A. Porter regarding
                                                                 same (.2)
September   Asset                   09/23/19 KBD             390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                            3.7 0.0362745        $14.15
2019        Disposition
September   Asset                   09/24/19 KBD             390 study property valuation information for single family home portfolio and exchange                     0.2 0.0054054         $2.11
2019        Disposition                                          correspondence regarding same (.2).
September   Asset                   09/26/19 KBD             390 Study property valuation information relating to single family home portfolio and exchange             0.3 0.0081081         $3.16
2019        Disposition                                          correspondence regarding same (.3)
September   Asset                   09/27/19 KBD             390 Exchange correspondence regarding valuation of properties.                                             0.3 0.0081081         $3.16
2019        Disposition


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September   Business                09/11/19 KBD             390 study property manager financial reports (.3)                                                          0.3 0.0046875         $1.83
2019        Operations
September   Business                09/13/19 KBD             390 Study financial records and correspondence regarding rent restoration and confer with E.               0.4 0.0045977         $1.79
2019        Operations                                           Duff regarding property financial reporting.
September   Business                09/20/19 KBD             390 draft correspondence to E. Duff regarding property expenses (.1).                                      0.1 0.0009804         $0.38
2019        Operations
September   Claims                  09/01/19 KBD             390 Study correspondence from A. Porter regarding credit bid (.1)                                          0.1 0.0011494         $0.45
2019        Administration
            & Objections

September Claims                    09/03/19 KBD             390 Telephone conference and exchange correspondence with broker regarding credit bids and                 0.3 0.0034483         $1.34
2019      Administration                                         communications with potential purchasers (.3)
          & Objections

September Claims                    09/10/19 KBD             390 telephone conference with real estate broker regarding credit bids and communications with             0.2 0.0022989         $0.90
2019      Administration                                         lenders representatives regarding same (.2).
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                   0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 KBD             390 study correspondence from A. Porter regarding language in purchase and sale agreement for              0.1 0.0011494         $0.45
2019      Administration                                         credit bid (.1).
          & Objections

September   Asset                   09/18/19 AEP             390 communications with K. Duff and M. Rachlis regarding single- family residence portfolio (.1).          0.1 0.0027027         $1.05
2019        Disposition
September   Asset                   09/20/19 AEP             390 Prepare e-mail to receivership broker regarding proposed exchange of valuation data with               0.1 0.0027027         $1.05
2019        Disposition                                          secured institutional lender (.1)
September   Asset                   09/21/19 MR              390 attention to issues regarding single family portfolio related issues (.2).                             0.2 0.0054054         $2.11
2019        Disposition
September   Asset                   09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding               2.5 0.0245098         $9.56
2019        Disposition                                          same.
September   Asset                   09/23/19 MR              390 review various emails regarding single home portfolio and other issues (.3)                            0.3 0.0081081         $3.16
2019        Disposition
September   Asset                   09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                           0.3 0.0029412         $1.15
2019        Disposition
September   Asset                   09/24/19 JR              140 organize statements for real estate taxes (.3)                                                         0.3       0.003       $0.42
2019        Disposition
September   Asset                   09/24/19 MR              390 attention to emails regarding single family home portfolio and attention to various court              0.2 0.0054054         $2.11
2019        Disposition                                          orders (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
September   Asset                   09/25/19 JR              140 exchange correspondence with A. Porter regarding same (.3)                                            0.3 0.0081081         $1.14
2019        Disposition
September   Asset                   09/25/19 JR              140 prepare a worksheet with comparative analysis of estimated market values for the single               1.6 0.0432432         $6.05
2019        Disposition                                          family homes (1.6)
September   Asset                   09/26/19 AEP             390 Review and analyze broker opinion of values received from special servicer for institutional          0.7 0.0189189         $7.38
2019        Disposition                                          lender related to single-family residence portfolio, create spreadsheet comparing lender
                                                                 values with values used by receivership broker and generate figures comparing allocations of
                                                                 individual property values to portfolio values as ascertained by both special servicer and
                                                                 receivership broker and prepare e-mail to receivership broker regarding same.

September Asset                     09/28/19 AEP             390 Prepare e-mail to K. Duff and J. Rak regarding comparisons of broker opinions of value                0.2 0.0054054         $2.11
2019      Disposition                                            received from special servicer for institutional lender and values applied by receivership
                                                                 broker and additional exchanges of supporting documentation (.2)
September   Business                09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                       0.2 0.0022989         $0.90
2019        Operations
September   Business                09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                        0.3 0.0034483         $1.34
2019        Operations
September   Business                09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to               0.4 0.0039216         $0.55
2019        Operations                                           finance company for payment on insurance premium finance agreement (.4)

September   Business                09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                   0.2 0.0022989         $0.32
2019        Operations
September   Business                09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July             3.3 0.0383721         $5.37
2019        Operations                                           2019 (3.3)
September   Business                09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                          0.2 0.0022989         $0.32
2019        Operations
September   Business                09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                        0.2 0.0022989         $0.90
2019        Operations
September   Business                09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                   0.5 0.0057471         $2.24
2019        Operations
September   Business                09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare            1.2 0.0116505         $1.63
2019        Operations                                           same.
September   Business                09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                          0.8 0.0078431         $3.06
2019        Operations
September   Business                09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding               0.4 0.0039216         $0.55
2019        Operations                                           transfer of funds for payment of premium finance agreement on property liability insurance
                                                                 (.4)
September   Business                09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                         0.4 0.0045977         $1.79
2019        Operations
September   Business                09/25/19 ED              390 review of financial reporting records (.7)                                                            0.7    0.008046       $3.14
2019        Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
September Claims                    09/01/19 MR          390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483         $1.34
2019      Administration                                     lender.
          & Objections

September Claims                    09/03/19 NM          260 correspond with J. Rak regarding notice of claims process for EBF mortgagees (.2)                        0.2 0.0024691         $0.64
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 and confer with J. Rak regarding same (.1)                                                               0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 email correspondence with accountant regarding (.4)                                                      0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 Preliminary review of draft accounting reports to lenders (.2)                                           0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/10/19 ED          390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding               0.1 0.0011494         $0.45
2019      Administration                                     payment of outstanding real estate taxes (.1).
          & Objections

September Claims                    09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                        0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into                  0.2 0.0022989         $0.90
2019      Administration                                     segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                    09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                    0.3 0.0034483         $1.34
2019      Administration                                     monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                       (.3).

September Claims                    09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                            0.1 0.0011494         $0.45
2019      Administration
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Claims                    09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                    09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                     sales (.1)
          & Objections

September Claims                    09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                        0.1 0.0018868         $0.74
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                               1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                                 1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)              0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                        0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                        1.8 0.0206897         $8.07
2019      Administration
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                 Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                       Keeper                                                                                                                  Hours        Fees
September Claims                    09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                      1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                         1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                             0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                           1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                    0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                    09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                      0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                    09/22/19 ED          390 Analysis of operating expenses.                                                                  1.5 0.0172414         $6.72
2019      Administration
          & Objections

October     Asset                   10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit          0.2 0.0022989         $0.90
2019        Disposition                                      bidding and planning for further sales.
October     Asset                   10/08/19 KBD         390 study correspondence regarding property valuation (.2)                                           0.2 0.0047619         $1.86
2019        Disposition
October     Asset                   10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                 1.0 0.0114943         $4.48
2019        Disposition                                      regarding various property sales and credit bidding (1.0)
October     Asset                   10/17/19 KBD         390 Analysis of potential sale opportunity.                                                          0.2 0.0022472         $0.88
2019        Disposition
October     Asset                   10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to           0.3 0.0033708         $1.31
2019        Disposition                                      same.




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
October     Business                10/07/19 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0046875         $1.83
2019        Operations
October     Business                10/07/19 KBD             390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                      0.8 0.0078431         $3.06
2019        Operations
October     Business                10/10/19 KBD             390 Draft correspondence to J. Rak regarding real estate tax analysis.                                        0.1 0.0009804         $0.38
2019        Operations
October     Business                10/15/19 KBD             390 study financial reporting from property manager (.3).                                                     0.3 0.0046875         $1.83
2019        Operations
October     Claims                  10/10/19 KBD             390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to               0.3 0.0034483         $1.34
2019        Administration                                       sale of property and potential credit bid and analysis of same (.3)
            & Objections

October     Asset                   10/01/19 AEP             390 reply to receivership broker regarding single-family home valuations (.1)                                 0.1 0.0027027         $1.05
2019        Disposition
October     Asset                   10/01/19 MR              390 Attention to single family home portfolio issues.                                                         0.3 0.0081081         $3.16
2019        Disposition
October     Asset                   10/02/19 AEP             390 teleconference with counsel for special servicer regarding variations in single-family portfolio          0.4 0.0108108         $4.22
2019        Disposition                                          valuation analyses and potential for resolution of differences (.4)
October     Asset                   10/04/19 AEP             390 prepare e-mail to counsel for special servicer regarding prospective receipt of BOV's and                 0.1 0.0027027         $1.05
2019        Disposition                                          scheduling of conference call with clients to discuss reconciliation of same with receivership
                                                                 broker listing prices (.1).
October     Asset                   10/04/19 AEP             390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding                0.3 0.0034483         $1.34
2019        Disposition                                          procedures (.3)
October     Asset                   10/04/19 MR              390 Attention to order on objections to sales (.4)                                                            0.4 0.0045977         $1.79
2019        Disposition
October     Asset                   10/08/19 AEP             390 analyze valuation variances relating to single family home portfolio and exchange                         0.3 0.0081081         $3.16
2019        Disposition                                          correspondence with broker and lenders' counsel regarding same (.3)
October     Asset                   10/08/19 MR              390 attention to issues on single family homes (.3)                                                           0.3 0.0081081         $3.16
2019        Disposition
October     Asset                   10/16/19 AEP             390 e-mail exchanges with K. Duff regarding attempts to schedule conference call with                         0.1 0.0027027         $1.05
2019        Disposition                                          receivership broker for single-family residences and representative of lender's loan servicer
                                                                 (.1)
October     Asset                   10/17/19 AEP             390 Prepare e-mail to counsel for lender on single-family residence properties regarding                      0.1 0.0027027         $1.05
2019        Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1)

October     Asset                   10/17/19 AEP             390 teleconference with counsel for lender on single-family residence properties regarding                    0.4 0.0108108         $4.22
2019        Disposition                                          valuation and allocation issues and prospects for agreement on motion to approve
                                                                 marketing process (.4)
October     Asset                   10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                            0.3 0.0034884         $0.49
2019        Disposition
October     Asset                   10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank                   3.2 0.0372093         $5.21
2019        Disposition                                          statement and compare (3.2).




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
October     Asset                   10/22/19 AEP             390 Conference call with receivership broker for single-family residence properties regarding            0.3 0.0081081         $3.16
2019        Disposition                                          valuation issues (.3)
October     Asset                   10/22/19 AEP             390 prepare e-mail to counsel for lender on single-family residence properties regarding                 0.1 0.0027027         $1.05
2019        Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1).

October     Asset                   10/23/19 MR              390 Attention to issues on single family home sales and other related issues.                            0.3 0.0081081         $3.16
2019        Disposition
October     Asset                   10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                0.4 0.0039216         $1.53
2019        Disposition                                          portfolio spreadsheet and property closing file folders accordingly (.4)
October     Asset                   10/28/19 AEP             390 correspondence between counsel for loan servicer and receivership single-family home                 0.2 0.0054054         $2.11
2019        Disposition                                          broker regarding scheduling of conference call regarding valuations and allocations (.2).

October     Asset                   10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                       1.2 0.0137931         $5.38
2019        Disposition
October     Business                10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with               0.4 0.0045977         $1.79
2019        Operations                                           accountant regarding same.
October     Business                10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                1.0 0.0098039         $3.82
2019        Operations
October     Business                10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                             0.3 0.0029412         $1.15
2019        Operations
October     Business                10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August              0.6 0.0068182         $2.66
2019        Operations                                           property reports.
October     Business                10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate          0.3 0.0030303         $0.42
2019        Operations                                           spreadsheet containing unpaid taxes from property manager (.3).
October     Business                10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers            1.9 0.0206522         $2.89
2019        Operations                                           can pay out of current net operating income (1.9)
October     Business                10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                   0.2 0.0021739         $0.30
2019        Operations
October     Business                10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.              0.5 0.0057471         $2.24
2019        Operations
October     Business                10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and           3.1 0.0360465         $5.05
2019        Operations                                           also compare funds sent to property manager from receivers' account.

October     Business                10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                       0.6       0.006       $0.84
2019        Operations
October     Business                10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real              0.2       0.002       $0.28
2019        Operations                                           estate taxes (.2)
October     Business                10/22/19 JR              140 Finalize financial reports for receivership.                                                         1.4 0.0162791         $2.28
2019        Operations
October     Business                10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare           0.9 0.0087379         $1.22
2019        Operations                                           same.
October     Business                10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income            0.8 0.0091954         $3.59
2019        Operations                                           and expenditures (.8).


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
October     Business                10/25/19 ED          390 Review of September financial reporting from property managers (1.3)                                  1.3 0.0149425         $5.83
2019        Operations
October     Business                10/25/19 KMP         140 Prepare wire request for funds transfer for installment payment on premium financing                  0.3 0.0029412         $0.41
2019        Operations                                       agreement and conferences with K. Duff and bank representative relating to same.

October     Claims                  10/10/19 NM          260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid               0.4 0.0045977         $1.20
2019        Administration                                   issue (.4).
            & Objections

October     Claims                  10/17/19 ED          390 Preliminary review of August accounting reports to lenders (1.5)                                      1.5 0.0174419         $6.80
2019        Administration
            & Objections

October     Claims                  10/17/19 ED          390 confer with J. Rak regarding same (.2).                                                               0.2 0.0023256         $0.91
2019        Administration
            & Objections

October     Claims                  10/24/19 ED          390 update transmittal messages to lenders' counsel (1.6)                                                 1.6 0.0183908         $7.17
2019        Administration
            & Objections

October     Claims                  10/24/19 ED          390 Final review of August accounting reports to lenders (2.8)                                            2.8 0.0325581        $12.70
2019        Administration
            & Objections

October     Claims                  10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256         $0.91
2019        Administration
            & Objections

October     Claims                  10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019        Administration
            & Objections

October     Claims                  10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019        Administration
            & Objections

October     Claims                  10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019        Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
October     Claims                  10/29/19 ED              390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256         $0.91
2019        Administration                                       reports (.2).
            & Objections

October     Claims                  10/29/19 ED              390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019        Administration                                       September (1.2)
            & Objections

November    Asset                   11/12/19 KBD             390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019        Disposition
November    Asset                   11/18/19 KBD             390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739         $0.85
2019        Disposition
November    Asset                   11/23/19 KBD             390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258         $1.26
2019        Disposition
November    Business                11/05/19 KBD             390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608         $0.76
2019        Operations                                           assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                                 improvements for remaining properties in portfolio (.2)
November    Business                11/05/19 KBD             390 analysis of same (.2).                                                                                0.2 0.0019608         $0.76
2019        Operations
November    Business                11/07/19 KBD             390 Exchange correspondence with property manager regarding funds for property expenses.                  0.2 0.0032787         $1.28
2019        Operations
November    Business                11/12/19 KBD             390 study property manager reports (.6).                                                                  0.6 0.0098361         $3.84
2019        Operations
November    Business                11/25/19 KBD             390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105         $1.64
2019        Operations                                           with E. Duff regarding same (.4)
November    Business                11/25/19 KBD             390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053         $0.82
2019        Operations                                           insurance and expenses (.2)
November    Business                11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding            0.3 0.0031579         $1.23
2019        Operations                                           same (.3)
November    Business                11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,             0.2 0.0021053         $0.82
2019        Operations                                           and planning (.2)
November    Asset                   11/01/19 AEP             390 teleconference with special servicer, counsel for special servicer, and receivership single-          0.6 0.0162162         $6.32
2019        Disposition                                          family residence portfolio broker regarding conflicting valuations and allocations and
                                                                 attempts to reconcile differences prior to filing of motion to approve sales process (.6)

November    Asset                   11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties            0.4 0.0043478         $1.70
2019        Disposition                                          (.4).
November    Asset                   11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                              0.9 0.0104651         $1.47
2019        Disposition
November    Asset                   11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership             2.8 0.0294737        $11.49
2019        Disposition                                          team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                 receivership assets (2.8)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
November    Asset                   11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019        Disposition
November    Asset                   11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019        Disposition                                          draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                 revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                 (8.3)
November    Asset                   11/26/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding motion to approve sales                     0.2 0.0054054         $0.76
2019        Disposition                                          process and single family homes (.2)
November    Asset                   11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674         $2.77
2019        Disposition
November    Asset                   11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019        Disposition                                          information that is required for future sales of properties (.2).
November    Asset                   11/27/19 JR              140 Exchange correspondence with A. Porter related to filing a motion to approve the sale                    0.1 0.0027027         $0.38
2019        Disposition                                          process for remainder of properties and single family homes (.1)
November    Business                11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019        Operations
November    Business                11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019        Operations
November    Business                11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019        Operations
November    Business                11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019        Operations                                           reports (.4)
November    Business                11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019        Operations                                           (.1)
November    Business                11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019        Operations                                           research and communication regarding process (.6).
November    Business                11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019        Operations
November    Business                11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet              2.3 0.0244681         $3.43
2019        Operations                                           been sold.
November    Business                11/24/19 JR              140 Review financial statements received from property managers and compare data to                          1.8 0.0174757         $2.45
2019        Operations                                           accounting financial statements from Receiver's accountant.
November    Business                11/25/19 ED              390 review of October financial reporting from property managers (.9).                                       0.9 0.0087379         $3.41
2019        Operations
November    Business                11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional                  0.3 0.0029126         $1.14
2019        Operations                                           information for review (.3)
November    Business                11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                        0.7 0.0067961         $2.65
2019        Operations                                           receivership account and email correspondence with K. Pritchard regarding additional details
                                                                 needed (.7)
November    Business                11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                    2.8 0.0271845         $3.81
2019        Operations                                           (2.8).
November    Business                11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)               0.6 0.0066667         $0.93
2019        Operations


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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
November    Claims                  11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                  0.4 0.0038835         $1.51
2019        Administration                                       preparation of October accounting reports to lenders.
            & Objections

November    Claims                  11/30/19 ED              390 Review of September property reports from accountant (3.8)                                           3.8 0.0368932        $14.39
2019        Administration
            & Objections

November    Claims                  11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders               0.5 0.0048544         $1.89
2019        Administration                                       (.5).
            & Objections

December    Business                12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                 0.1 0.0010526         $0.41
2019        Operations
December    Business                12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance              0.1 0.0010526         $0.41
2019        Operations                                           premium payment (.1)
December    Business                12/10/19 KBD             390 study property manager financial reporting (.5)                                                      0.5 0.0081967         $3.20
2019        Operations
December    Claims                  12/27/19 KBD             390 Attention to communication from claimant regarding submitted claim and draft                         0.1 0.0012346         $0.48
2019        Administration                                       correspondence to A. Watychowicz regarding same.
            & Objections

December    Asset                   12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                  0.2 0.0021053         $0.29
2019        Disposition
December    Asset                   12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements           0.3 0.0029126         $0.41
2019        Disposition                                          (.3)
December    Asset                   12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                   0.8    0.007767       $1.09
2019        Disposition                                          preparation for review (.8)
December    Asset                   12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of              0.2 0.0021053         $0.82
2019        Disposition                                          remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                 motions to approve sales (.2).
December    Asset                   12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395        $10.20
2019        Disposition                                          organization of closing documents and the start of preparation for closings (5.9)
December    Asset                   12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296         $4.15
2019        Disposition                                          and information (2.4).
December    Business                12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019        Operations                                           property basis and prepare same.
December    Business                12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105         $0.59
2019        Operations                                           financing agreement and conferences with K. Duff and bank representative regarding same.

December    Business                12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019        Operations                                           expenses.




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
December    Business                12/11/19 ED          390 Review statements from property manager regarding November financial performance of                0.8    0.007767       $3.03
2019        Operations                                       properties and accounts payable (.8)
December    Business                12/11/19 ED          390 confer with K. Duff regarding insurance issues (.1).                                               0.1 0.0010526         $0.41
2019        Operations
December    Business                12/12/19 ED          390 Email correspondence with accountant and J. Rak regarding drafts of October accounting             0.2 0.0019417         $0.76
2019        Operations                                       reports (.2)
December    Business                12/12/19 ED          390 and begin review of draft reports (.6).                                                            0.6 0.0058252         $2.27
2019        Operations
December    Business                12/27/19 ED          390 Review of draft October accounting reports with J. Rak notes, and email correspondence             0.8    0.007767       $3.03
2019        Operations                                       with accountant regarding comments and corrections.
December    Business                12/30/19 ED          390 Review revised drafts of October property accounting reports.                                      0.8    0.007767       $3.03
2019        Operations
December    Claims                  12/02/19 ED          390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable          0.9 0.0087379         $3.41
2019        Administration                                   from properties (.9)
            & Objections

December    Claims                  12/02/19 ED          390 Send September accounting reports to lenders and counsel (1.7)                                     1.7 0.0165049         $6.44
2019        Administration
            & Objections

December    Claims                  12/02/19 MR          390 attention to various revenue reconciliation reports (.1).                                          0.1 0.0023256         $0.91
2019        Administration
            & Objections

December    Claims                  12/02/19 MR          390 Attention to Chang subpoena (.1)                                                                   0.1 0.0012346         $0.48
2019        Administration
            & Objections

December    Claims                  12/05/19 MR          390 Attention to and follow up on lender's inquiry and edit response.                                  0.3 0.0037037         $1.44
2019        Administration
            & Objections

December    Claims                  12/20/19 ED          390 Begin review of drafts of October accounting reports to lenders.                                   2.8 0.0271845        $10.60
2019        Administration
            & Objections

December    Claims                  12/23/19 ED          390 Confer with J. Rak regarding review and comments on draft October accounting reports to            0.3 0.0029126         $1.14
2019        Administration                                   lenders.
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
December    Claims                  12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126         $0.41
2019        Administration
            & Objections

December    Claims                  12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359         $8.70
2019        Administration                                       accountant 's information (6.4)
            & Objections

December    Claims                  12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835         $1.51
2019        Administration
            & Objections

January     Business                01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and           0.2 0.0021978         $0.86
2020        Operations                                           expense payments (.2)
January     Business                01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                0.7    0.012069       $4.71
2020        Operations
January     Claims                  01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process            0.3 0.0033708         $1.31
2020        Administration                                       and confer with M. Rachlis regarding planning for meeting (.3)
            & Objections

January     Claims                  01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                            0.9 0.0101124         $3.94
2020        Administration
            & Objections

January     Asset                   01/05/20 AEP             390 read and respond to e-mail from receivership broker regarding status of motion to approve            0.1 0.0027027         $1.05
2020        Disposition                                          marketing of single-family residence portfolio (.1).
January     Asset                   01/06/20 AEP             390 Teleconference with counsel for secured lender associated with loans on single-family                0.1 0.0027027         $1.05
2020        Disposition                                          residences regarding timing of contemplated motion to approve marketing and sale of
                                                                 portfolio (.1)
January     Asset                   01/16/20 JR              140 print property income statements for all properties received from accountant and prepare             1.2 0.0116505         $1.63
2020        Disposition                                          for further review (1.2).
January     Asset                   01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)             1.6    0.015534       $2.17
2020        Disposition
January     Asset                   01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                       0.3 0.0031579         $0.44
2020        Disposition
January     Asset                   01/27/20 JR              140 review paper real estate tax bills (1.8).                                                            1.8 0.0193548         $2.71
2020        Disposition
January     Asset                   01/30/20 AEP             390 Review surveys and survey invoices received in connection with various single-family                 0.4 0.0108108         $4.22
2020        Disposition                                          residences and update portfolio spreadsheet accordingly.
January     Asset                   01/30/20 JR              140 review surveys and invoices received from the surveying company and save to the                      1.3 0.0351351         $4.92
2020        Disposition                                          corresponding electronic files for various single family homes (1.3)
January     Asset                   01/31/20 AEP             390 review surveys and survey invoices received in connection with various single-family                 0.3 0.0081081         $3.16
2020        Disposition                                          residences and update portfolio spreadsheet accordingly (.3).


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January     Asset                   01/31/20 AEP             390 Conference call with counsel for lender holding mortgage interests in single-family residence            0.2 0.0054054         $2.11
2020        Disposition                                          portfolio regarding valuations, new issues affecting title, and other related matters (.2)

January     Business                01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544         $1.89
2020        Operations                                           October reports.
January     Business                01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706         $0.21
2020        Operations
January     Business                01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020        Operations                                           (1.6)
January     Business                01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020        Operations
January     Business                01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020        Operations                                           expenditures to properties (.1).
January     Business                01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020        Operations
January     Business                01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020        Operations
January     Business                01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020        Operations
January     Business                01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020        Operations                                           insurance and communications with K. Duff and bank representatives regarding same (.4)

January     Claims                  01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020        Administration                                       regarding questions and corrections.
            & Objections

January     Claims                  01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020        Administration                                       received from accountant and provide to E. Duff for review.
            & Objections

January     Claims                  01/06/20 MR              390 Attention to third party claims (1.2)                                                                    1.2 0.0148148         $5.78
2020        Administration
            & Objections

January     Claims                  01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020        Administration                                       transmit to lenders' counsel.
            & Objections

January     Claims                  01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252         $2.27
2020        Administration                                       regarding receivership income and expenditures (.6).
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January     Claims                  01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                   0.2 0.0019417         $0.76
2020        Administration                                       reports through November 2019 (.2)
            & Objections

January     Claims                  01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020        Administration                                       accountant provides his copies for review.
            & Objections

January     Claims                  01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020        Administration
            & Objections

January     Claims                  01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020        Administration                                       to lenders (.7)
            & Objections

January     Claims                  01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020        Administration
            & Objections

January     Claims                  01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020        Administration                                       property basis with addition of properties that have no institutional debt, and prepare same.
            & Objections

January     Claims                  01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020        Administration                                       remaining amounts reimbursable to receivership (1.5).
            & Objections

January     Claims                  01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020        Administration                                       regarding preparation of monthly summary of receivership expenditures (.3)
            & Objections

February    Asset                   02/10/20 KBD             390 exchange correspondence with A. Porter regarding sale of single-family home portfolio,                 0.2 0.0054054         $2.11
2020        Disposition                                          motion to approve, and timing (.2)
February    Asset                   02/11/20 KBD             390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222         $0.87
2020        Disposition                                          properties (.2)
February    Asset                   02/11/20 KBD             390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222         $0.87
2020        Disposition                                          title work (.2)
February    Asset                   02/18/20 KBD             390 Study and revise motion to approve marketing and sale of single-family residence portfolio             1.5 0.0405405        $15.81
2020        Disposition                                          and exhibits.
February    Asset                   02/19/20 KBD             390 study and revise motion to approve listing for sale single family home portfolio (.5).                 0.5 0.0135135         $5.27
2020        Disposition




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
February    Asset                   02/20/20 KBD         390 Work with A. Porter on motion to approve listing of single family home portfolio (1.2)               1.2 0.0324324        $12.65
2020        Disposition
February    Asset                   02/20/20 KBD         390 work on single family home motion and valuation issues with M. Rachlis and A. Porter (1.1)           1.1 0.0297297        $11.59
2020        Disposition
February    Asset                   02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                        0.1 0.0011111         $0.43
2020        Disposition
February    Asset                   02/21/20 KBD         390 draft correspondence to J. Rak regarding preparation for marketing and sale of properties            0.2 0.0054054         $2.11
2020        Disposition                                      (.2).
February    Asset                   02/22/20 KBD         390 draft correspondence regarding publication notice (.2).                                              0.2 0.0054054         $2.11
2020        Disposition
February    Asset                   02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                        0.4 0.0045455         $1.77
2020        Disposition
February    Asset                   02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                  0.1 0.0011111         $0.43
2020        Disposition
February    Asset                   02/26/20 KBD         390 exchange correspondence with real estate broker regarding potential purchasers of                    0.2 0.0054054         $2.11
2020        Disposition                                      properties (.2).
February    Asset                   02/27/20 KBD         390 Telephone conference with A. Porter regarding process for sale of single family home                 0.2 0.0054054         $2.11
2020        Disposition                                      portfolio and communications with broker and lender's counsel relating to same (.2)

February    Asset                   02/28/20 KBD         390 study motion to approve sale of single-family residence portfolio and exchange                       0.3 0.0081081         $3.16
2020        Disposition                                      correspondence regarding same (.3).
February    Business                02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                 0.1 0.0011111         $0.43
2020        Operations                                       financial reporting (.1)
February    Business                02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)            0.4 0.0045455         $1.77
2020        Operations
February    Business                02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.          0.4 0.0038095         $1.49
2020        Operations                                       Duff regarding same (.4)
February    Business                02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                      0.4 0.0045455         $1.77
2020        Operations                                       correspondence with J. Rak relating to same and communications with property manager.

February    Business                02/13/20 KBD         390 Study property manager financial reporting.                                                          0.4 0.0070175         $2.74
2020        Operations
February    Business                02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment              0.4 0.0045455         $1.77
2020        Operations                                       of real estate taxes (.4)
February    Business                02/25/20 KBD         390 review correspondence from property manager regarding payment of real estate taxes (.1)              0.1 0.0017857         $0.70
2020        Operations
February    Claims                  02/07/20 KBD         390 exchange correspondence with A. Porter and N. Mirjanich regarding timing for motions                 0.2    0.002125       $0.83
2020        Administration                                   addressing properties of differing status (.2)
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February    Claims                  02/26/20 KBD             390 exchange correspondence with N. Mirjanich and K. Pritchard regarding EB records relating to            0.4 0.0049383         $1.93
2020        Administration                                       investor accounts (.4).
            & Objections

February    Asset                   02/01/20 AEP             390 Review and analyze consolidated title commitment for single-family residence portfolio and             2.2 0.0594595        $23.19
2020        Disposition                                          insert all special exceptions into motion for leave to sell single-family residences.

February    Asset                   02/03/20 AEP             390 perform title searches on all properties owned by receivership entity and revise motion for            2.5 0.0675676        $26.35
2020        Disposition                                          leave to sell single-family residences accordingly (2.5).
February    Asset                   02/03/20 JR              140 Review and organize surveys and invoices to corresponding electronic files (.7)                        0.7 0.1166667        $16.33
2020        Disposition
February    Asset                   02/05/20 AEP             390 Perform title searches on most properties owned by fund and update motion to sell single-              3.1 0.0837838        $32.68
2020        Disposition                                          family residence portfolio accordingly (3.1)
February    Asset                   02/08/20 AEP             390 rearrange and revise introductory portions of motion to approve marketing and sale of single-          1.1 0.0297297        $11.59
2020        Disposition                                          family homes portfolio (1.1).
February    Asset                   02/08/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               4.8 0.1297297        $50.59
2020        Disposition                                          paragraphs of motion to approve marketing and sale of single-family homes portfolio (4.8)

February    Asset                   02/09/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding               5.5 0.1486486        $57.97
2020        Disposition                                          paragraphs of motion to approve marketing and sale of single- family homes portfolio.

February    Asset                   02/10/20 AEP             390 Proofread, edit, revise, rearrange, supplement, and fact-check all paragraphs in proposed              4.0 0.1081081        $42.16
2020        Disposition                                          motion to approve sales of single-family homes portfolio and create final to-do list of
                                                                 remaining issues prior to final completion.
February    Asset                   02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                 0.1 0.0011111         $0.29
2020        Disposition
February    Asset                   02/11/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on single-family home portfolio           0.1 0.0027027         $1.05
2020        Disposition                                          title commitment to be waived through hold harmless letters (.1)
February    Asset                   02/11/20 JR              140 discussion with A. Porter regarding seventh motion for court approval of process for public            0.3 0.0081081         $1.14
2020        Disposition                                          sale (.3)
February    Asset                   02/11/20 JR              140 exchange correspondence with the title company regarding same (.2).                                    0.2 0.0054054         $0.76
2020        Disposition
February    Asset                   02/11/20 JR              140 assist A. Porter on the seventh motion and create a spreadsheet of documents of record                 5.1 0.1378378        $19.30
2020        Disposition                                          needed for the motion (5.1)
February    Asset                   02/12/20 JR              140 exchange communication with the title company regarding documents of record request for                0.3 0.0081081         $1.14
2020        Disposition                                          the seventh motion to approve marketing of properties (.3)
February    Asset                   02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                       2.8 0.0269231         $3.77
2020        Disposition
February    Asset                   02/12/20 JR              140 review and organize various documents of record in corresponding files regarding same                  2.2 0.0594595         $8.32
2020        Disposition                                          (2.2).
February    Asset                   02/13/20 AEP             390 Teleconference with title company underwriter to review special exceptions on title                    2.8 0.0756757        $29.51
2020        Disposition                                          commitment relating to portfolio sale of single-family residences, potential waivers thereof
                                                                 and need for hold harmless letters (2.8)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
February    Asset                   02/13/20 AEP             390 respond to inquiry from counsel for secured lender regarding next anticipated sales tranche                0.2 0.0054054         $2.11
2020        Disposition                                          and prospective listing prices (.2)
February    Asset                   02/14/20 AEP             390 Continuation of teleconference with title company underwriter to review special exceptions                 4.1 0.1108108        $43.22
2020        Disposition                                          on title commitment for single-family residence portfolio and assignment of responsibility for
                                                                 procuring hold harmless letters, certificates of compliance, and other documents evidencing
                                                                 releases of clouds on title.
February    Asset                   02/14/20 JR              140 Exchange correspondence with the title company regarding request for documents of record                   0.2 0.0054054         $0.76
2020        Disposition                                          related to the exhibits for the seventh motion.
February    Asset                   02/15/20 JR              140 Organize documents of record received from the title company related to exhibits and the                   1.9 0.0513514         $7.19
2020        Disposition                                          seventh motion.
February    Asset                   02/17/20 JR              140 Finalize the organization and assembling of the remainder of documents of record related to                2.7    0.072973      $10.22
2020        Disposition                                          the 7th motion to confirm sale into electronic files (2.7)
February    Asset                   02/18/20 AEP             390 review, update, and revise all non-title related exhibits to motion to approve marketing and               1.8 0.0486486        $18.97
2020        Disposition                                          sale of single-family home portfolio, update spreadsheet of property values to generate
                                                                 individual allocations of value and supplement motion with additional paragraphs regarding
                                                                 deferral of judicial decision on individual allocations until conclusion of portfolio sale (1.8).

February    Asset                   02/18/20 AEP             390 Review notes of teleconference with title company underwriter, insert summaries of current                 2.4 0.0648649        $25.30
2020        Disposition                                          obstacles into body of title commitment relating to single-family home portfolio, and amend
                                                                 paragraphs of motion to approve marketing and sale of said portfolio to account for
                                                                 resolution of disputed special exceptions (2.4)

February    Asset                   02/18/20 JR              140 Organize additional documents of record related to the 7th motion of single family homes                   0.8 0.0216216         $3.03
2020        Disposition                                          (.8)
February    Asset                   02/19/20 JR              140 Organize documents of record in the electronic files in preparation of filing the 7th motion to            0.7 0.0189189         $2.65
2020        Disposition                                          approve sale of single family homes (.7)
February    Asset                   02/19/20 MR              390 attention to single family home issues (.1).                                                               0.1 0.0027027         $1.05
2020        Disposition
February    Asset                   02/20/20 AEP             390 conference with K. Duff regarding proposed modifications to first draft of motion to approve               2.3 0.0621622        $24.24
2020        Disposition                                          sale of single-family residences, valuation methodology employed by receivership broker,
                                                                 applicability of credit bidding, and allocation of value (2.3)
February    Asset                   02/20/20 MR              390 Attention to various issues regarding objections to property disposition and follow up                     1.2 0.0324324        $12.65
2020        Disposition                                          regarding same (1.2)
February    Asset                   02/20/20 MR              390 attention to single family home related issues and property disposition related matters (2.3).             2.3 0.0621622        $24.24
2020        Disposition
February    Asset                   02/21/20 AEP             390 Teleconference with counsel for lender to fund entities regarding inquiries into nature of sale            0.5 0.0135135         $5.27
2020        Disposition                                          process associated with marketing of single-family residence portfolio (.5)

February    Asset                   02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                                 0.1 0.0010526         $0.15
2020        Disposition
February    Asset                   02/24/20 NM              260 Study email correspondence relating to property sales (.2)                                                 0.2 0.0054054         $1.41
2020        Disposition




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  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February    Asset                   02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties              1.2 0.0134831         $1.89
2020        Disposition                                          managed by a management company (1.2)
February    Asset                   02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                  0.1 0.0010753         $0.15
2020        Disposition
February    Asset                   02/28/20 AW              140 Assist in finalization of seventh motion to approve sales process and confirm delay in filing.          0.4 0.0108108         $1.51
2020        Disposition
February    Asset                   02/28/20 JR              140 consolidate exhibits for the single family home motion (1.7)                                            1.7 0.0459459         $6.43
2020        Disposition
February    Asset                   02/28/20 JR              140 obtain documents of record related to the exhibits pertaining to the single family motion (.3)          0.3 0.0081081         $1.14
2020        Disposition
February    Asset                   02/28/20 JR              140 review the single family motion and make changes (1.1)                                                  1.1 0.0297297         $4.16
2020        Disposition
February    Asset                   02/28/20 MR              390 Work on single family homes motion and follow up on same.                                               1.4 0.0378378        $14.76
2020        Disposition
February    Business                02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                                  2.8 0.0314607         $4.40
2020        Operations
February    Business                02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                     0.1 0.0011236         $0.16
2020        Operations
February    Business                02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real                 0.1 0.0010753         $0.15
2020        Operations                                           estate taxes (.1)
February    Business                02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                   0.1 0.0019608         $0.27
2020        Operations                                           taxes related to paying property taxes (.1)
February    Business                02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                           0.2 0.0019231         $0.75
2020        Operations
February    Business                02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                                  0.2 0.0019231         $0.75
2020        Operations
February    Business                02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                           0.3 0.0028846         $1.13
2020        Operations
February    Business                02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                           0.4 0.0044444         $1.73
2020        Operations
February    Business                02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property                0.1 0.0019608         $0.27
2020        Operations                                           taxes (.1)
February    Business                02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property                0.2 0.0022727         $0.32
2020        Operations                                           taxes (.2).
February    Business                02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both                3.9      0.0375       $5.25
2020        Operations                                           for all EquityBuild properties.
February    Business                02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                   0.2 0.0019231         $0.75
2020        Operations
February    Business                02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak                  2.7 0.0259615        $10.13
2020        Operations                                           (2.7)
February    Business                02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                    0.1 0.0014706         $0.57
2020        Operations                                           revisions (.1).




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
February    Business                02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).            0.2 0.0022222         $0.87
2020        Operations
February    Business                02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                        0.2 0.0019231         $0.75
2020        Operations
February    Business                02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                   0.4 0.0038462         $1.50
2020        Operations
February    Business                02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                           0.9 0.0096774         $1.35
2020        Operations
February    Business                02/25/20 ED              390 Review of January financial reporting from property managers.                                          0.4 0.0038462         $1.50
2020        Operations
February    Business                02/26/20 AW              140 supplement reports (.3).                                                                               0.3 0.0029126         $0.41
2020        Operations
February    Business                02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020        Operations                                           property basis with addition of properties that have no institutional debt, prepare same, and
                                                                 report missing details for several institutional lenders (1.1)

February    Claims                  02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                2.1 0.0201923         $2.83
2020        Administration
            & Objections

February    Claims                  02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and             2.6       0.025       $3.50
2020        Administration                                       property managers.
            & Objections

February    Claims                  02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                            2.8 0.0269231         $3.77
2020        Administration
            & Objections

February    Claims                  02/16/20 MR              390 research and work on draft motion regarding claims process (5.0).                                      5.0 0.1351351        $52.70
2020        Administration
            & Objections

February    Claims                  02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                    0.2 0.0019231         $0.27
2020        Administration                                       statements (.2)
            & Objections

February    Claims                  02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                    1.2 0.0129032         $1.81
2020        Administration
            & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
February    Claims                  02/24/20 ED          390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                 0.5 0.0048077         $1.88
2020        Administration                                   reports.
            & Objections

February    Claims                  02/28/20 AEP         390 Insert and check all exhibit cites in brief, proofread, edit, and make final revisions to same,          3.5 0.0945946        $36.89
2020        Administration                                   edit and revise credit bid procedures.
            & Objections

February    Claims                  02/28/20 NM          260 correspond with A. Porter regarding claims submitted in connection with properties in single             1.1 0.0297297         $7.73
2020        Administration                                   family home motion and study same (1.1)
            & Objections

March 2020 Asset                    03/02/20 KBD         390 study correspondence regarding revision to motion to approve sale of properties (.2).                    0.2 0.0054054         $2.11
           Disposition
March 2020 Asset                    03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                            0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                    03/16/20 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding single family residence                  0.2 0.0054054         $2.11
           Disposition                                       motion and communications with lender's counsel (.2).
March 2020 Asset                    03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence                    2.9 0.0329545        $12.85
           Disposition                                       with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                    03/17/20 KBD         390 telephone conference with counsel for lender regarding single family home portfolio sales                0.1 0.0027027         $1.05
           Disposition                                       motion and motion to request amendment to briefing schedule (.1)

March 2020 Asset                    03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                       0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                    03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                         1.0 0.0011184         $0.44
           Disposition
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding single family residence                  0.2 0.0054054         $2.11
           Disposition                                       motion (.2).
March 2020 Asset                    03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                      1.1      0.0125       $4.88
           Disposition                                       marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                    03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19                0.1 0.0011111         $0.43
           Disposition                                       impact, and communications with buyers representatives (.1).
March 2020 Asset                    03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and                   0.3 0.0034091         $1.33
           Disposition                                       marketing timing and strategy (.3)
March 2020 Asset                    03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                     0.2 0.0022727         $0.89
           Disposition                                       estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                    03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale               0.2 0.0022222         $0.87
           Disposition                                       efforts (.2).
March 2020 Asset                    03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                      0.1 0.0011111         $0.43
           Disposition                                       properties (.1)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2020 Asset                    03/27/20 KBD             390 draft response to motion and telephone conferences and exchange correspondence with M.                2.5 0.0284091        $11.08
           Disposition                                           Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                    03/27/20 KBD             390 exchange correspondence with A. Porter regarding sale of single family residence portfolio            0.1 0.0027027         $1.05
           Disposition                                           (.1)
March 2020 Asset                    03/30/20 KBD             390 Exchange correspondence with M. Rachlis regarding single family residence motion.                     0.2 0.0054054         $2.11
           Disposition
March 2020 Business                 03/10/20 KBD             390 Study property manager financial reporting (.3)                                                       0.3 0.0052632         $2.05
           Operations
March 2020 Business                 03/10/20 KBD             390 exchange correspondence with insurance broker regarding finance agreements, premiums,                 0.2 0.0022222         $0.87
           Operations                                            and renewal (.2).
March 2020 Business                 03/16/20 KBD             390 study correspondence from property manager regarding measures to address COVID-19                     0.2 0.0022222         $0.87
           Operations                                            environment (.2).
March 2020 Business                 03/17/20 KBD             390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                     0.3 0.0034091         $1.33
           Operations
March 2020 Business                 03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                          0.2 0.0022727         $0.89
           Operations
March 2020 Business                 03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                      0.4 0.0045455         $1.77
           Operations                                            property expenses, and COVID-19 impact (.4)
March 2020 Business                 03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                  0.3 0.0033708         $1.31
           Operations                                            issues and analysis (.3).
March 2020 Business                 03/31/20 KBD             390 Exchange correspondence with M. Rachlis regarding and study draft motion for relief from              0.3 0.0081081         $3.16
           Operations                                            amended scheduling order.
March 2020 Asset                    03/02/20 AW              140 Confer with M. Rachlis and J. Rak regarding single family homes motion (.1)                           0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/02/20 AW              140 revise certificate of service and email A. Porter regarding same (.1).                                0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/02/20 JR              140 update property tax balances (1.6)                                                                    1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                    03/02/20 MR              390 Conference with A. Watychowicz regarding issues on seventh motion for approval related to             0.1 0.0027027         $1.05
           Disposition                                           service of process notice (.1)
March 2020 Asset                    03/02/20 MR              390 attention to review and revision of motion (.8)                                                       0.8 0.0216216         $8.43
           Disposition
March 2020 Asset                    03/03/20 AW              140 finalize motion and revise notice of motion as per suggestion from counsel (.1)                       0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                    03/03/20 AW              140 file motion and exhibits with the court (.2)                                                          0.2 0.0054054         $0.76
           Disposition
March 2020 Asset                    03/03/20 AW              140 Attention to final draft of seventh motion for approval of sale process and communicate with          0.1 0.0027027         $0.38
           Disposition                                           counsel regarding exhibits (.1)
March 2020 Asset                    03/03/20 AW              140 serve as per service list (.4).                                                                       0.4 0.0108108         $1.51
           Disposition
March 2020 Asset                    03/03/20 MR              390 Further attention to various filings on single family home motion and other filings (.5)              0.5 0.0135135         $5.27
           Disposition


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                              Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2020 Asset                    03/04/20 MR              390 Attention to various motions regarding property sales.                                                  0.7 0.0184211         $7.18
           Disposition
March 2020 Asset                    03/09/20 MR              390 Attention to court orders regarding pending motions and schedule and upcoming real estate               0.3 0.0081081         $3.16
           Disposition                                           closings (.3)
March 2020 Asset                    03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222         $0.87
           Disposition
March 2020 Asset                    03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                    03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                           and motions regarding same (1.4)
March 2020 Asset                    03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                           and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                    03/17/20 AEP             390 Read and reply to e-mails from K. Duff and M. Rachlis regarding motion to market and sell               0.1 0.0027027         $1.05
           Disposition                                           single-family home portfolio (.1)
March 2020 Asset                    03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                           properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                    03/17/20 AEP             390 teleconference with K. Duff regarding mortgagee interests in single-family residence                    0.3 0.0081081         $3.16
           Disposition                                           portfolio, and filing of motion for relief from general order continuing case calendars (.3)

March 2020 Asset                    03/17/20 AW              140 Work with K. Duff and M. Rachlis on motion to keep deadlines for sales motions, prepare                 1.4 0.0378378         $5.30
           Disposition                                           notice of motion, attention to multiple revisions of draft, communicate with Receivership
                                                                 team regarding same, finalize motion and file with court, serve on service list and forward to
                                                                 Judge Lee's courtroom deputy.
March 2020 Asset                    03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                    03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                    03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                    03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition
March 2020 Asset                    03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                    03/31/20 MR              390 attention to issues on draft orders (.4).                                                               0.4    0.004878       $1.90
           Disposition
March 2020 Business                 03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.                1.9 0.0215909         $3.02
           Operations
March 2020 Business                 03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                 0.1 0.0009615         $0.38
           Operations                                            properties (.1)
March 2020 Business                 03/08/20 MR              390 Attention to e-mails and follow up regarding restoration of rent and other items.                       0.3 0.0069767         $2.72
           Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2020 Business                 03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same              2.8 0.0271845         $3.81
           Operations                                            (2.8)
March 2020 Business                 03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                          0.1 0.0009709         $0.14
           Operations
March 2020 Business                 03/13/20 ED              390 Preliminary review of February reporting from property manager.                                       0.4 0.0038462         $1.50
           Operations
March 2020 Business                 03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.           1.8 0.0204545         $2.86
           Operations
March 2020 Business                 03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                   0.2 0.0022222         $0.87
           Operations
March 2020 Business                 03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy            0.3 0.0033333         $1.30
           Operations                                            renewal and related email correspondence.
March 2020 Business                 03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                 4.1 0.0398058         $5.57
           Operations
March 2020 Business                 03/30/20 ED              390 Review revised statement of value (.4)                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 call with insurance agent regarding same (.2)                                                         0.2 0.0022472         $0.88
           Operations
March 2020 Business                 03/30/20 ED              390 and loss history (.4)                                                                                 0.4 0.0044944         $1.75
           Operations
March 2020 Business                 03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                  0.3 0.0033708         $1.31
           Operations
March 2020 Claims                   03/03/20 ED              390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                        reports (.5)
           & Objections

March 2020 Claims                   03/03/20 ED              390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                        to deposit funds (.4)
           & Objections

March 2020 Claims                   03/03/20 ED              390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                        expenditures (.2)
           & Objections

March 2020 Claims                   03/03/20 ED              390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                 Task Hours
  Month                                           Keeper                                                                                                                 Hours        Fees
March 2020 Claims                   03/09/20 JR              140 review claims spreadsheets for various investors related to roll over amounts (1.4).            1.4 0.0189189         $2.65
           Administration
           & Objections

March 2020 Claims                   03/09/20 JR              140 Work on claims process and roll over amounts (1.0)                                              1.0 0.0136986         $1.92
           Administration
           & Objections

March 2020 Claims                   03/10/20 JR              140 Review spreadsheet related to roll over amounts from investor funds and further review          2.8 0.0378378         $5.30
           Administration                                        claimant forms.
           & Objections

March 2020 Claims                   03/11/20 JR              140 work on rollover claimant information on claimant forms (2.1)                                   2.1 0.0265823         $3.72
           Administration
           & Objections

March 2020 Claims                   03/12/20 JR              140 Review claims documents.                                                                        3.1 0.0382716         $5.36
           Administration
           & Objections

March 2020 Claims                   03/13/20 JR              140 Work on claims review process with J. Wine.                                                     2.2 0.0271605         $3.80
           Administration
           & Objections

March 2020 Claims                   03/16/20 JR              140 Review claimant forms.                                                                          2.5 0.0308642         $4.32
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 Review claimant forms (3.4)                                                                     3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/18/20 JR              140 exchange correspondence with J. Wine regarding same (.7).                                       0.7     0.00875       $1.23
           Administration
           & Objections

March 2020 Claims                   03/19/20 JR              140 Review claim forms.                                                                             3.3     0.04125       $5.78
           Administration
           & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                   Hours        Fees
March 2020 Claims                   03/20/20 JR              140 exchange correspondence with J. Wine regarding master claims spreadsheet (.2).                    0.2 0.0024691         $0.35
           Administration
           & Objections

March 2020 Claims                   03/20/20 JR              140 Review claims forms (5.4)                                                                         5.4 0.0666667         $9.33
           Administration
           & Objections

March 2020 Claims                   03/23/20 JR              140 Review claimant forms and update master exhibit 1 with rollover information (3.4)                 3.4      0.0425       $5.95
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 review claimant forms and rollover information (2.1)                                              2.1 0.0259259         $3.63
           Administration
           & Objections

March 2020 Claims                   03/24/20 JR              140 work on same with K. Duff and J. Wine (.9)                                                        0.9 0.0111111         $1.56
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 research for responding to claims vendor regarding property numbers of assets for claims          0.3     0.00375       $0.98
           Administration                                        database (.3)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 update responses to frequently asked questions (.2)                                               0.2 0.0024691         $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 Attention to responding to claimant inquiry (.2)                                                  0.2 0.0024691         $0.64
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW             260 email exchange with K. Duff regarding segregation of claims and supporting documentation          0.1 0.0012821         $0.33
           Administration                                        by tranche (.1)
           & Objections

March 2020 Claims                   03/24/20 JRW             260 extended conference with A. Pruitt regarding analysis of claims and updating of master            0.8 0.0101266         $2.63
           Administration                                        claims spreadsheet (.8)
           & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours         Fees
March 2020 Claims                   03/24/20 JRW         260 study spreadsheet of claim information received from claims vendor (.8).                              0.8         0.01       $2.60
           Administration
           & Objections

March 2020 Claims                   03/24/20 JRW         260 telephone conference with K. Duff and J. Rak regarding analysis of rollover claims (.9)               0.9     0.01125        $2.93
           Administration
           & Objections

March 2020 Claims                   03/31/20 AW          140 communicate with M. Rachlis regarding motion for relief from COVID-19 order that may                  0.2 0.0054054          $0.76
           Administration                                    impact sale of properties and research regarding changed procedures (.2)
           & Objections

March 2020 Claims                   03/31/20 AW          140 revisions to email to Judge Lee's courtroom deputy regarding motion (.1)                              0.1 0.0027027          $0.38
           Administration
           & Objections

March 2020 Claims                   03/31/20 AW          140 finalize motion, file, and serve (.2)                                                                 0.2 0.0054054          $0.76
           Administration
           & Objections

April 2020   Asset                  04/02/20 KBD         390 telephone conference with claimant's counsel, A. Porter, and real estate broker regarding             0.4 0.0108108          $4.22
             Disposition                                     single family residence portfolio inspection, marketing, and timing (.4)
April 2020   Asset                  04/02/20 KBD         390 telephone conference with A. Porter and real estate broker regarding single-family residence          0.5 0.0135135          $5.27
             Disposition                                     portfolio inspection, marketing, pricing, and timing (.5)
April 2020   Asset                  04/02/20 KBD         390 address publication of single-family residence (.1).                                                  0.1 0.0027027          $1.05
             Disposition
April 2020   Asset                  04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                           0.2 0.0022472          $0.88
             Disposition
April 2020   Asset                  04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                  0.3 0.0041096          $1.60
             Disposition                                     estimated closing costs and notice of bids to lenders and telephone conference with real
                                                             estate broker relating to same.
April 2020   Business               04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                               0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                            0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                  0.2 0.0024691          $0.96
             Operations
April 2020   Business               04/10/20 KBD         390 study property manager reporting (.3).                                                                0.3 0.0052632          $2.05
             Operations
April 2020   Business               04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                          0.2 0.0022989          $0.90
             Operations
April 2020   Business               04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                      0.2 0.0022989          $0.90
             Operations                                      properties and review information relating to same.


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2020   Business               04/13/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236         $0.44
             Operations                                          coverage issue (.1)
April 2020   Business               04/17/20 KBD             390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236         $0.44
             Operations
April 2020   Business               04/29/20 KBD             390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691         $0.96
             Operations                                          insurance renewal efforts and cost (.2)
April 2020   Asset                  04/01/20 AEP             390 Teleconference with local receivership broker and counsel for institutional lenders regarding          0.6 0.0162162         $6.32
             Disposition                                         market impact on single-family home portfolio and multifamily properties and prospects for
                                                                 credit bidding and preparation of e-mail to receivership broker for single-family home
                                                                 portfolio regarding status of motion to approve marketing process, implications of economic
                                                                 downturn on timing, and approval of national home inspection service (.6)

April 2020   Asset                  04/01/20 AEP             390 revise proposed order associated with motion to approve marketing and sale of single-family            0.2 0.0054054         $2.11
             Disposition                                         residence portfolio (.2)
April 2020   Asset                  04/01/20 MR              390 review order on clarification and other orders (.2)                                                    0.2    0.002439       $0.95
             Disposition
April 2020   Asset                  04/02/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for institutional lender                 0.4 0.0108108         $4.22
             Disposition                                         regarding marketing process for single-family home portfolio, retention of inspection
                                                                 company, and pricing and timing (.4)
April 2020   Asset                  04/02/20 AEP             390 teleconference with K. Duff and receivership broker regarding marketing plans for single-              0.5 0.0135135         $5.27
             Disposition                                         family home portfolio and effects of economic downturn on timing of publication of sale (.5)

April 2020   Asset                  04/02/20 AEP             390 teleconferences with J. Wine and J. Rak regarding identification of all administrative and             1.1 0.0135802         $5.30
             Disposition                                         housing court matters affecting receivership property, reconciliation of upcoming hearing
                                                                 dates, going-forward strategy for ensuring that all pretrial litigation events are timely
                                                                 brought to the prospective purchasers' attention, and relationship between individual
                                                                 property owners and EquityBuild funds (1.1)

April 2020   Asset                  04/02/20 AEP             390 teleconference with K. Duff regarding next steps in process of marketing single-family homes           0.1 0.0027027         $1.05
             Disposition                                         (.1)
April 2020   Asset                  04/02/20 JR              140 Telephone conference with A. Porter and J. Wine regarding properties, claims process and               1.1 0.0135802         $1.90
             Disposition                                         litigation matters (1.1)
April 2020   Asset                  04/02/20 MR              390 conferences with K. Duff regarding issues on single family homes (.2).                                 0.2 0.0054054         $2.11
             Disposition
April 2020   Asset                  04/02/20 MR              390 Attention to proposed orders and other property related issues (.9)                                    0.9 0.0243243         $9.49
             Disposition
April 2020   Asset                  04/06/20 AEP             390 teleconference with representative of property inspection company regarding pricing of                 0.4 0.0108108         $4.22
             Disposition                                         individual home inspections for single-family residence portfolio, work product delivered by
                                                                 inspection service, access issues (.4).
April 2020   Asset                  04/07/20 AEP             390 prepare e-mails to property managers describing single-family home inspection process and              0.4 0.0108108         $4.22
             Disposition                                         requesting advice regarding potential cooperation of tenants with receivership requests for
                                                                 brief access (.4).




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2020   Asset                  04/10/20 AEP         390 communications with property manager regarding potential rental of single-family home                 0.1 0.0027027         $1.05
             Disposition                                     subsumed within single-family home portfolio (.1)
April 2020   Asset                  04/11/20 AEP         390 read e-mail from third-party inspection service and respond with questions regarding                  0.1 0.0027027         $1.05
             Disposition                                     contractual rights and access issues (.1)
April 2020   Asset                  04/15/20 AEP         390 review updated title commitments for remaining portfolio properties and prepare list of               0.3 0.0033708         $1.31
             Disposition                                     special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                  04/19/20 AEP         390 prepare spreadsheet of single-family homes and transmit same to inspection service (.1).              0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                  04/20/20 AEP         390 update EquityBuild portfolio spreadsheet (.1)                                                         0.1 0.0011364         $0.44
             Disposition
April 2020   Business               04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                      and related documentation and correspondence.
April 2020   Business               04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                      requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business               04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Business               04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Claims                 04/02/20 JRW         260 conference call with A. Porter and J. Rak regarding code violations against properties under          0.7    0.008642       $2.25
             Administration                                  contract and process for updating records (.7).
             & Objections

April 2020   Claims                 04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                  documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                 04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 AW          140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED          390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                  accounting reports (.7)
             & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                    Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
April 2020   Claims                 04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                 1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to          0.2 0.0019417         $0.76
             Administration                                      claimants (.2)
             & Objections

April 2020   Claims                 04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                             0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                  0.9 0.0087379         $3.41
             Administration                                      accounting reports (.9).
             & Objections

April 2020   Claims                 04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.              0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                 04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                 0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                 0.3 0.0029126         $1.14
             Administration                                      preparation of statements (.3)
             & Objections

April 2020   Claims                 04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                       0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                    0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                 04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).             0.3 0.0029126         $1.14
             Administration
             & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
April 2020   Claims                 04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                      financial statements related to February reporting.
             & Objections

April 2020   Claims                 04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                 04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                      from E. Duff and accountant.
             & Objections

May 2020     Asset                  05/01/20 KBD             390 attention to property inspection and valuation for single family residences (.2).                   0.2 0.0054054         $2.11
             Disposition
May 2020     Asset                  05/12/20 KBD             390 Telephone conference with real estate broker, A. Porter, and M. Rachlis regarding pricing           0.7 0.0155556         $6.07
             Disposition                                         properties for sale, communicating with claimant's counsel regarding same, and timing for
                                                                 approval of sales currently before the court.
May 2020     Asset                  05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                         market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                  05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Asset                  05/27/20 KBD             390 exchange correspondence with A. Porter regarding inspection of properties in single family          0.1 0.0027027         $1.05
             Disposition                                         residence portfolio (.1)
May 2020     Business               05/01/20 KBD             390 draft correspondence to E. Duff regarding restoration of funds (.1).                                0.1 0.0023256         $0.91
             Operations
May 2020     Business               05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                          property improvements, expenses, and insurance renewal (.2)
May 2020     Business               05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                          property management (.3)
May 2020     Business               05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations
May 2020     Business               05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                             0.2 0.0024691         $0.96
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).                0.4 0.0048193         $1.88
             Operations
May 2020     Business               05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                  0.3 0.0036145         $1.41
             Operations                                          (.3)
May 2020     Business               05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                   0.6 0.0072289         $2.82
             Operations                                          renewal of insurance (.6)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
May 2020    Business                05/12/20 KBD             390 study financial reporting from property manager (.3).                                                0.3 0.0054545         $2.13
            Operations
May 2020    Business                05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                     0.2 0.0024096         $0.94
            Operations                                           correspondence with asset manager regarding same (.2)
May 2020    Business                05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                    0.7 0.0084337         $3.29
            Operations
May 2020    Business                05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                     0.2 0.0023529         $0.92
            Operations                                           expenses (.2)
May 2020    Business                05/18/20 KBD             390 study property expenses and financial reporting (.8).                                                0.8 0.0076923         $3.00
            Operations
May 2020    Business                05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                   0.1 0.0011765         $0.46
            Operations
May 2020    Business                05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).            0.3 0.0037037         $1.44
            Operations
May 2020    Business                05/22/20 KBD             390 review information regarding restoration of funds (.2)                                               0.2 0.0046512         $1.81
            Operations
May 2020    Business                05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)             0.3 0.0037037         $1.44
            Operations
May 2020    Business                05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                         0.1 0.0011765         $0.46
            Operations
May 2020    Business                05/28/20 KBD             390 exchange correspondence with E. Duff regarding restoration motion (.1).                              0.1 0.0023256         $0.91
            Operations
May 2020    Asset                   05/01/20 AEP             390 Teleconference with counsel for lender on single-family portfolio and various other                  0.5 0.0135135         $5.27
            Disposition                                          receivership properties regarding status of scheduled closings, market timing issues,
                                                                 inspection scheduling, and other due diligence issues (.5)
May 2020    Asset                   05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                               0.1 0.0011494         $0.16
            Disposition
May 2020    Asset                   05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st             0.1 0.0011494         $0.16
            Disposition                                          quarter of 2020 (.1)
May 2020    Asset                   05/07/20 JR              140 review financial reports related to all properties (1.4).                                            1.4 0.0135922         $1.90
            Disposition
May 2020    Asset                   05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management             0.1 0.0009709         $0.14
            Disposition                                          companies (.1)
May 2020    Asset                   05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes              0.2 0.0035088         $0.49
            Disposition                                          (.2).
May 2020    Asset                   05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                1.8 0.0174757         $2.45
            Disposition
May 2020    Asset                   05/10/20 AEP             390 prepare e-mail to property managers and third-party inspection service regarding initiation          0.2 0.0054054         $2.11
            Disposition                                          and coordination of home tour scheduling process in connection with single-family residence
                                                                 portfolio sale (.2)
May 2020    Asset                   05/10/20 AEP             390 review single family residence files and prepare plan for collecting and organizing all due          0.3 0.0081081         $3.16
            Disposition                                          diligence materials in connection with establishment of electronic due diligence room for
                                                                 prospective bidders (.3)


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2020    Asset                   05/11/20 AEP         390 communications with single family home portfolio broker regarding proposed                             0.1 0.0027027         $1.05
            Disposition                                      commencement of marketing campaign (.1)
May 2020    Asset                   05/11/20 AEP         390 communications with property manager regarding coordination of inspections of single-                  0.1 0.0027027         $1.05
            Disposition                                      family homes (.1)
May 2020    Asset                   05/13/20 AEP         390 prepare e-mails to management companies regarding initiation of process of due diligence               0.3 0.0081081         $3.16
            Disposition                                      document collection associated with marketing of single-family residence portfolio (.3).

May 2020    Asset                   05/20/20 AEP         390 conference with clerical assistant regarding collection, inventory, and reorganization of all          0.8 0.0216216         $8.43
            Disposition                                      due diligence documentation received from property managers in connection with
                                                             marketing of single-family residence portfolio (.8)
May 2020    Asset                   05/22/20 AEP         390 communications with property inspection service and property management company                        0.1 0.0027027         $1.05
            Disposition                                      regarding remaining obstacles to obtaining access to single-family residences (.1)

May 2020    Asset                   05/22/20 AEP         390 communications with counsel for purchaser of receivership properties regarding status of               0.1 0.0027027         $1.05
            Disposition                                      due diligence production and revisions to title commitment (.1)
May 2020    Asset                   05/24/20 AEP         390 Comprehensive review of status of preparation for marketing of single-family home                      4.4 0.1189189        $46.38
            Disposition                                      portfolio, including creation of due diligence checklist, analysis of all title exceptions
                                                             requiring hold harmless letters, analysis of chain of title for all properties defectively
                                                             conveyed and research into ownership of entities now reflected as titleholders, and
                                                             inventory of property-specific leases, public assistance contracts, and utility bills.

May 2020    Business                05/01/20 KMP         140 Prepare request for funds transfer to property inspector for inspection of single family               0.4 0.0108108         $1.51
            Operations                                       homes, and communicate with K. Duff and bank regarding same.
May 2020    Business                05/01/20 MR          390 Attention to issues on motion regarding restoration of costs and other issues.                         0.2 0.0046512         $1.81
            Operations
May 2020    Business                05/07/20 ED          390 Update analysis of rent restoration and restoration amounts to Receivership from sold                  1.3 0.0126214         $4.92
            Operations                                       properties (1.3)
May 2020    Business                05/13/20 KMP         140 communicate with insurance broker to confirm funds transfer (.1).                                      0.1 0.0011628         $0.16
            Operations
May 2020    Business                05/13/20 KMP         140 prepare form for funds transfer to insurance broker for down payment on financing                      0.4 0.0046512         $0.65
            Operations                                       agreement for general liability and umbrella policy and communications with K. Duff and
                                                             bank representatives regarding same (.4)
May 2020    Business                05/14/20 KMP         140 Communicate with insurance premium funding company regarding contract (.1)                             0.1 0.0011628         $0.16
            Operations
May 2020    Business                05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with                0.9 0.0087379         $1.22
            Operations                                       addition of properties that have no institutional debt, and communicate with E. Duff
                                                             regarding missing reports.
May 2020    Business                05/21/20 ED          390 calls (.2)                                                                                             0.2 0.0019417         $0.76
            Operations
May 2020    Business                05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                        0.3 0.0029126         $1.14
            Operations                                       regarding same
May 2020    Business                05/21/20 ED          390 Review draft summary report from accountant (.6)                                                       0.6 0.0058252         $2.27
            Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2020    Business                05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales             0.5 0.0048544         $1.89
            Operations                                       proceeds of encumbered properties and property reporting regarding remaining restoration
                                                             amounts by property (.5).
May 2020    Business                05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                              1.1 0.0106796         $4.17
            Operations                                       correspondence.
May 2020    Business                05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                                 0.1 0.0011628         $0.16
            Operations
May 2020    Business                05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                     0.4 0.0046512         $0.65
            Operations                                       property insurance finance agreement, and communicate with bank representative and K.
                                                             Duff regarding same (.4)
May 2020    Business                05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                                0.3 0.0029126         $1.14
            Operations
May 2020    Business                05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                            0.2 0.0019417         $0.76
            Operations
May 2020    Business                05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                   0.2 0.0023256         $0.33
            Operations                                       K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020    Business                05/29/20 ED          390 Review correspondence and documents.                                                                   0.7 0.0067961         $2.65
            Operations
May 2020    Business                05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                          0.7 0.0067961         $2.65
            Operations
May 2020    Business                05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                               0.3 0.0029126         $1.14
            Operations
May 2020    Business                05/30/20 MR          390 Attention to restoration issues (.1)                                                                   0.1 0.0023256         $0.91
            Operations
May 2020    Business                05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                           0.3 0.0029126         $1.14
            Operations
May 2020    Business                05/31/20 MR          390 Work on issues on restoration to Receivership on properties (.5)                                       0.5 0.0116279         $4.53
            Operations
May 2020    Business                05/31/20 MR          390 exchanges with E. Duff regarding same (.3).                                                            0.3 0.0069767         $2.72
            Operations
May 2020    Claims                  05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as              1.8 0.0202247         $2.83
            Administration                                   requested, and share same with Receivership team (1.8)
            & Objections

May 2020    Claims                  05/10/20 AEP         390 prepare e-mail to counsel for claimant and receivership broker regarding current strategy for          0.2 0.0054054         $2.11
            Administration                                   initiating marketing of single-family residence portfolio (.2).
            & Objections

May 2020    Claims                  05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                            1.1 0.0106796         $4.17
            Administration
            & Objections




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2020    Claims                  05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections               0.2 0.0019417         $0.76
            Administration                                   (.2).
            & Objections

May 2020    Claims                  05/18/20 ED          390 and review of related documents (.2)                                                                  0.2 0.0019417         $0.76
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property               0.3 0.0029126         $1.14
            Administration                                   accounting reports (.3).
            & Objections

May 2020    Claims                  05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                      0.8    0.007767       $3.03
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)             0.1 0.0009709         $0.38
            Administration
            & Objections

May 2020    Claims                  05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                     0.8    0.007767       $3.03
            Administration
            & Objections

May 2020    Claims                  05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports             0.5 0.0048544         $1.89
            Administration                                   (.5)
            & Objections

May 2020    Claims                  05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709         $0.38
            Administration                                   relating to sold properties (.1).
            & Objections

June 2020   Asset                   06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and               0.2 0.0024691         $0.96
            Disposition                                      planning for review of offers.
June 2020   Asset                   06/08/20 KBD         390 exchange correspondence and telephone conference with A. Porter regarding inspection of               0.2 0.0054054         $2.11
            Disposition                                      single family residence portfolio and effort to list for sale (.2)
June 2020   Asset                   06/17/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding planning for listing          0.3 0.0081081         $3.16
            Disposition                                      of single family residence portfolio (.3)
June 2020   Asset                   06/23/20 KBD         390 exchange correspondence with real estate broker regarding inspection and valuation                    0.2 0.0054054         $2.11
            Disposition                                      information for single family residence portfolio (.2).
June 2020   Asset                   06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.             1.5 0.0185185         $7.22
            Disposition                                      Rachlis regarding same (1.5)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
June 2020   Business                06/02/20 KBD         390 study information regarding restoration of funds (.3).                                            0.3 0.0068182         $2.66
            Operations
June 2020   Business                06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                 0.1 0.0019231         $0.75
            Operations
June 2020   Business                06/06/20 KBD         390 Study draft restoration motion.                                                                   0.2 0.0045455         $1.77
            Operations
June 2020   Business                06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).            0.1 0.0012048         $0.47
            Operations
June 2020   Business                06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                   0.5     0.00625       $2.44
            Operations                                       Pritchard regarding same (.5)
June 2020   Business                06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange            0.4       0.005       $1.95
            Operations                                       correspondence with E. Duff and J. Rak regarding same (.4)
June 2020   Business                06/12/20 KBD         390 study correspondence regarding restoration analysis and related issues (.3).                      0.3 0.0068182         $2.66
            Operations
June 2020   Business                06/14/20 KBD         390 Revise motion for reimbursement of property expenses (.3)                                         0.3 0.0069767         $2.72
            Operations
June 2020   Business                06/15/20 KBD         390 Study financial reporting from property manager.                                                  0.2 0.0037736         $1.47
            Operations
June 2020   Business                06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                         0.2 0.0025641         $1.00
            Operations
June 2020   Business                06/27/20 KBD         390 Revise draft second restoration motion and research regarding same.                               1.1       0.025       $9.75
            Operations
June 2020   Business                06/28/20 KBD         390 Draft and revise draft second restoration motion.                                                 2.8 0.0636364        $24.82
            Operations
June 2020   Business                06/29/20 KBD         390 Draft and revise second restoration motion and draft correspondence to M. Rachlis                 1.4 0.0318182        $12.41
            Operations                                       regarding same (1.4)
June 2020   Business                06/29/20 KBD         390 exchange correspondence with insurance broker regarding certificate of insurance                  0.2 0.0047619         $1.86
            Operations                                       information for claimant and exchange correspondence with claimant's counsel regarding
                                                             same (.2)
June 2020   Business                06/30/20 KBD         390 Draft and revise restoration motion and exchange correspondence with K. Pritchard and M.          0.9 0.0204545         $7.98
            Operations                                       Rachlis regarding same (.9)
June 2020   Business                06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                     0.2 0.0027397         $1.07
            Operations
June 2020   Claims                  06/04/20 KBD         390 draft correspondence to lenders' counsel regarding various questions relating to lease            0.5 0.0135135         $5.27
            Administration                                   renewal and property inspections and investigate information relating to same (.5)
            & Objections

June 2020   Claims                  06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                          0.3 0.0033708         $1.31
            Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                  Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
June 2020   Claims                  06/09/20 KBD             390 study objections to claims process motion (.5)                                                     0.5    0.005618       $2.19
            Administration
            & Objections

June 2020   Claims                  06/11/20 KBD             390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
            Administration
            & Objections

June 2020   Claims                  06/15/20 KBD             390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
            Administration
            & Objections

June 2020   Claims                  06/15/20 KBD             390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
            Administration
            & Objections

June 2020   Claims                  06/16/20 KBD             390 Work on claims motion reply with M. Rachlis (.6)                                                   0.6 0.0067416         $2.63
            Administration
            & Objections

June 2020   Claims                  06/16/20 KBD             390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
            Administration
            & Objections

June 2020   Claims                  06/18/20 KBD             390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit          0.2 0.0022989         $0.90
            Administration                                       bidding (.2)
            & Objections

June 2020   Claims                  06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                              0.7 0.0078652         $3.07
            Administration
            & Objections

June 2020   Claims                  06/22/20 KBD             390 study SEC reply brief (.3)                                                                         0.3 0.0033708         $1.31
            Administration
            & Objections

June 2020   Claims                  06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                     0.2 0.0022989         $0.90
            Administration
            & Objections

June 2020   Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                           0.1 0.0012048         $0.17
            Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
June 2020   Asset                   06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale                3.2 0.0385542         $5.40
            Disposition                                          related to same (3.2)
June 2020   Asset                   06/09/20 AEP             390 prepare final form orders for presentation to court in connection with imminent approval of               0.1 0.0027027         $1.05
            Disposition                                          7th motion to approve sales (.1)
June 2020   Asset                   06/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                                0.1 0.0027027         $0.38
            Disposition
June 2020   Asset                   06/10/20 JR              140 review water certificate applications related to properties under contract and granted by the             0.2 0.0054054         $0.76
            Disposition                                          judge to sell (.2)
June 2020   Asset                   06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered                 0.8 0.0097561         $3.80
            Disposition                                          against receivership properties in connection with ascertainment of final payoffs and release
                                                                 of all remaining title exceptions on properties not yet sold (.8).

June 2020   Asset                   06/15/20 AEP             390 e-mail communications with counsel for lenders associated with single-family homes                        0.2 0.0054054         $2.11
            Disposition                                          regarding irregularities in due diligence documents and prepare e-mail to inspection
                                                                 company regarding status of completion of work (.2)
June 2020   Asset                   06/16/20 AEP             390 Preliminary review and organization of inspection reports received in connection with nearly              0.6 0.0162162         $6.32
            Disposition                                          all properties in single-family residence portfolio (.6)
June 2020   Asset                   06/17/20 AEP             390 prepare e-mail to K. Duff and others regarding issues associated with production of certain               0.2 0.0054054         $2.11
            Disposition                                          inspection documentation in connection with marketing and sale of single-family home
                                                                 portfolio (.2)
June 2020   Asset                   06/17/20 AEP             390 Teleconference with J. Rak regarding preparation of definitive spreadsheet of judgments                   1.3 0.0351351        $13.70
            Disposition                                          entered against receivership entities, status of preparation of closing documents for next
                                                                 sales tranche, reorganization of inspection documentation produced in connection with
                                                                 single-family home portfolio, and creation of action list (1.3)

June 2020   Asset                   06/17/20 JR              140 confer with A. Porter regarding status of properties that are closing and single family home              1.3 0.0351351         $4.92
            Disposition                                          updates to due diligence documents (1.3)
June 2020   Asset                   06/18/20 AEP             390 Communications with K. Duff, receivership broker, and counsel for claimants regarding                     0.2 0.0054054         $2.11
            Disposition                                          potential exclusion of work orders from due diligence files to be made available to
                                                                 prospective bidders on single-family residence portfolio and implications for listing price (.2)

June 2020   Asset                   06/18/20 JR              140 review of single family home due diligence folders (.1)                                                   0.1 0.0027027         $0.38
            Disposition
June 2020   Asset                   06/18/20 MR              390 attention to single family portfolio issues (.1).                                                         0.1 0.0027027         $1.05
            Disposition
June 2020   Asset                   06/19/20 AEP             390 communications with inspection vendor regarding completion of inspection reports on single-               0.1 0.0027027         $1.05
            Disposition                                          family residence portfolio (.1)
June 2020   Asset                   06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                      0.2 0.0024691         $0.96
            Disposition                                          portfolio spreadsheet to plan accordingly (.2)
June 2020   Asset                   06/23/20 JR              140 review email from K. Duff regarding unsold properties (.3)                                                0.3 0.0081081         $1.14
            Disposition
June 2020   Asset                   06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                            0.4 0.0049383         $1.93
            Disposition


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
June 2020   Asset                   06/24/20 MR          390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).             1.5 0.0185185         $7.22
            Disposition
June 2020   Business                06/01/20 ED          390 Call with M. Rachlis to discuss allocation and computation of property expenditures by               0.7 0.0067961         $2.65
            Operations                                       receivership.
June 2020   Business                06/01/20 MR          390 conference with E. Duff regarding restoration of funds (.7).                                         0.7 0.0162791         $6.35
            Operations
June 2020   Business                06/01/20 MR          390 Follow up on emails regarding issues on restoration (.7)                                             0.7 0.0162791         $6.35
            Operations
June 2020   Business                06/02/20 ED          390 email correspondence with accountant and M. Rachlis regarding same (.4).                             0.4 0.0038835         $1.51
            Operations
June 2020   Business                06/02/20 ED          390 Prepare analysis of sold properties owing rent restoration and review of related accounting          1.9 0.0184466         $7.19
            Operations                                       reports (1.9)
June 2020   Business                06/02/20 MR          390 Attention to issues on rent restoration and follow up from E. Duff.                                  0.3 0.0069767         $2.72
            Operations
June 2020   Business                06/03/20 ED          390 Call with accountant to discuss data for March accounting reports and review of related              1.0 0.0097087         $3.79
            Operations                                       documents and correspondence.
June 2020   Business                06/05/20 ED          390 Email correspondence with accountant and K. Pritchard regarding receivership property                0.2 0.0019417         $0.76
            Operations                                       expenditures during March 2020.
June 2020   Business                06/06/20 MR          390 Analysis of various issues on issues associated with restoration of funds.                           2.6 0.0604651        $23.58
            Operations
June 2020   Business                06/08/20 ED          390 Review analysis from J. Rak of restoration amounts from properties sold, and email                   0.2 0.0019417         $0.76
            Operations                                       correspondence with B. Fish regarding same.
June 2020   Business                06/08/20 MR          390 Attention to restoration issues.                                                                     0.3 0.0069767         $2.72
            Operations
June 2020   Business                06/09/20 MR          390 Attention to motion on restoration of funds.                                                         0.4 0.0090909         $3.55
            Operations
June 2020   Business                06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)             0.7 0.0067961         $2.65
            Operations
June 2020   Business                06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                               0.4 0.0038835         $1.51
            Operations
June 2020   Business                06/12/20 MR          390 Conferences with K. Duff regarding restoration issues (.7)                                           0.7 0.0162791         $6.35
            Operations
June 2020   Business                06/12/20 MR          390 attention to emails regarding same (.2).                                                             0.2 0.0045455         $1.77
            Operations
June 2020   Business                06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting              0.6 0.0058252         $2.27
            Operations                                       reports to reflect allocation of premium installment payments and refunds to sold and
                                                             unsold properties (.6)
June 2020   Business                06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                            0.5 0.0048544         $1.89
            Operations
June 2020   Business                06/23/20 MR          390 Attention to issues on restoration issues and information regarding same, and review                 1.2 0.0272727        $10.64
            Operations                                       restoration, and exchanges with E. Duff regarding same.
June 2020   Business                06/24/20 ED          390 call with accountant to discuss same (.1).                                                           0.1 0.0009709         $0.38
            Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                     Hours        Fees
June 2020   Business                06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)          0.2 0.0019417         $0.76
            Operations
June 2020   Business                06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to              0.3 0.0036585         $0.51
            Operations                                       installment on insurance premium financing and communicate with K. Duff regarding same
                                                             (.3).
June 2020   Business                06/29/20 JRW         260 review and revise restoration motion (.7).                                                          0.7 0.0162791         $4.23
            Operations
June 2020   Business                06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team              0.8 0.0109589         $1.53
            Operations                                       regarding same, and scan tax bills (.8).
June 2020   Business                06/30/20 JRW         260 multiple communications with litigation team regarding restoration motion and affected              0.5 0.0116279         $3.02
            Operations                                       properties (.5).
June 2020   Business                06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                      0.2 0.0027027         $0.70
            Operations
June 2020   Business                06/30/20 MR          390 Further work on restoration motion and several exchanges regarding same.                            3.0 0.0681818        $26.59
            Operations
June 2020   Claims                  06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor               0.3 0.0033708         $0.47
            Administration                                   regarding processing of remaining Excel files (.3)
            & Objections

June 2020   Claims                  06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                      2.4 0.0269663        $10.52
            Administration
            & Objections

June 2020   Claims                  06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).             2.2 0.0247191         $9.64
            Administration
            & Objections

June 2020   Claims                  06/15/20 MR          390 Conferences regarding issues on brief.                                                              0.3 0.0033708         $1.31
            Administration
            & Objections

June 2020   Claims                  06/16/20 MR          390 Review and revise brief (3.5)                                                                       3.5 0.0393258        $15.34
            Administration
            & Objections

June 2020   Claims                  06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                        0.6 0.0067416         $2.63
            Administration
            & Objections

June 2020   Claims                  06/23/20 AW          140 email exchanges with K. Duff and J. Rak regarding claims made (properties 16-57) (.3).              0.3 0.0071429         $1.00
            Administration
            & Objections




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                  Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                    Task Hours
  Month                                       Keeper                                                                                                                   Hours        Fees
July 2020   Asset                   07/14/20 KBD         390 study correspondence regarding single family residence portfolio valuation work (.1).             0.1    0.002125       $0.83
            Disposition
July 2020   Asset                   07/26/20 KBD         390 Exchange correspondence with A. Porter regarding planning for single family residence             0.2     0.00425       $1.66
            Disposition                                      portfolio (.2)
July 2020   Business                07/01/20 KBD         390 study information regarding insurance and exchange correspondence with E. Duff regarding          0.1    0.002125       $0.83
            Operations                                       same (.1)
July 2020   Business                07/01/20 KBD         390 Work on expenses and restoration issues with E. Duff, M. Rachlis, and K. Pritchard (1.3)          1.3 0.0302326        $11.79
            Operations
July 2020   Business                07/02/20 KBD         390 draft correspondence to lender's counsel regarding status of obtaining certificate of             0.1    0.002125       $0.83
            Operations                                       insurance (.1).
July 2020   Business                07/06/20 KBD         390 Exchange correspondence with E. Duff regarding sold properties, segregated funds, and             0.2 0.0046512         $1.81
            Operations                                       restoration motion.
July 2020   Business                07/07/20 KBD         390 Work on second restoration motion and exchange correspondence regarding same (2.3)                2.3 0.0534884        $20.86
            Operations
July 2020   Business                07/09/20 KBD         390 Study revised second restoration motion (.4)                                                      0.4 0.0093023         $3.63
            Operations
July 2020   Business                07/10/20 KBD         390 work on second restoration of funds motion (.3).                                                  0.3 0.0069767         $2.72
            Operations
July 2020   Business                07/12/20 KBD         390 telephone conference with E. Duff regarding same (.2)                                             0.2 0.0046512         $1.81
            Operations
July 2020   Business                07/12/20 KBD         390 Revise restoration motion and declaration (2.8)                                                   2.8 0.0651163        $25.40
            Operations
July 2020   Business                07/13/20 KBD         390 Study revised restoration motion and declaration (.5)                                             0.5 0.0116279         $4.53
            Operations
July 2020   Business                07/14/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047         $7.26
            Operations
July 2020   Business                07/15/20 KBD         390 Review property manager financial reporting.                                                      0.4       0.008       $3.12
            Operations
July 2020   Business                07/16/20 KBD         390 Revise restoration motion and declaration (.8)                                                    0.8 0.0186047         $7.26
            Operations
July 2020   Business                07/17/20 KBD         390 telephone conference and exchange correspondence with E. Duff regarding same (.6)                 0.6 0.0139535         $5.44
            Operations
July 2020   Business                07/17/20 KBD         390 Work on restoration motion and declaration (1.5)                                                  1.5 0.0348837        $13.60
            Operations
July 2020   Business                07/19/20 KBD         390 Work on restoration motion, declaration, and exhibits.                                            2.0 0.0465116        $18.14
            Operations
July 2020   Business                07/20/20 KBD         390 Work on restoration motion, declaration, and exhibits (2.7)                                       2.7 0.0627907        $24.49
            Operations
July 2020   Business                07/21/20 KBD         390 Study and revise draft second restoration motion and declaration and exchange                     0.7 0.0162791         $6.35
            Operations                                       correspondence with K. Pritchard and M. Rachlis regarding same (.7)
July 2020   Business                07/22/20 KBD         390 Work on consolidated motion for property sales and funds restoration (.6)                         0.6 0.0139535         $5.44
            Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
July 2020   Business                07/24/20 KBD             390 Draft proposed order for second restoration motion.                                                     0.4 0.0093023         $3.63
            Operations
July 2020   Claims                  07/01/20 KBD             390 work on evidence of insurance for lender (.1).                                                          0.1    0.002125       $0.83
            Administration
            & Objections

July 2020   Claims                  07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and             0.3 0.0033708         $1.31
            Administration                                       J. Wine relating to same (.3)
            & Objections

July 2020   Asset                   07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).                 1.3 0.0126214         $1.77
            Disposition
July 2020   Asset                   07/09/20 JR              140 review most recent T12 for single family homes and save in electronic folders (.6)                      0.6     0.01275       $1.79
            Disposition
July 2020   Asset                   07/09/20 JR              140 exchange correspondence with A. Porter regarding single family portfolio updates (.1).                  0.1    0.002125       $0.30
            Disposition
July 2020   Asset                   07/10/20 JR              140 update master single family portfolio spreadsheet with pertinent property information for 37            5.8     0.12325      $17.26
            Disposition                                          single family homes (5.8)
July 2020   Asset                   07/10/20 JR              140 Exchange correspondence with A. Porter regarding the single family portfolio required                   0.2     0.00425       $0.60
            Disposition                                          updates to master due diligence spreadsheet (.2)
July 2020   Asset                   07/10/20 JR              140 exchange correspondence with property management requesting updated due diligence                       0.1    0.002125       $0.30
            Disposition                                          material for single family homes in preparation for listing (.1).
July 2020   Asset                   07/13/20 JR              140 exchange correspondence with property management regarding updates to due diligence                     0.1    0.002125       $0.30
            Disposition                                          documents for single family homes (.1)
July 2020   Asset                   07/13/20 JR              140 telephone conference with J. Porter, A. Watychowicz regarding single family homes and                   0.6     0.01275       $1.79
            Disposition                                          investigation process related to financial documents (.6)
July 2020   Asset                   07/13/20 JR              140 further update master single family home spreadsheet with lease terms of each tenant and                2.4       0.051       $7.14
            Disposition                                          review inspection reports relating to bids and update the master single family spreadsheet
                                                                 (2.4)
July 2020   Asset                   07/13/20 JR              140 review email from the utility manager regarding updated utility bills and organize for single           0.2     0.00425       $0.60
            Disposition                                          family homes (.2)
July 2020   Asset                   07/13/20 JR              140 review brokers marketing spreadsheet relating to bedroom and bath sizes, review property                1.2      0.0255       $3.57
            Disposition                                          manager rent roll regarding same and update master spreadsheet for single family homes
                                                                 (1.2)
July 2020   Asset                   07/14/20 AEP             390 Teleconference with J. Rak regarding status of completion of due diligence folders relating to          0.8       0.017       $6.63
            Disposition                                          single-family home portfolio and reconciliation of various sources of information into master
                                                                 spreadsheet (.8)
July 2020   Asset                   07/14/20 JR              140 review tax balances for all single family homes and update master spreadsheet (.9)                      0.9    0.019125       $2.68
            Disposition
July 2020   Asset                   07/14/20 JR              140 update single family home master spreadsheet related to bid information for remainder of                0.6     0.01275       $1.79
            Disposition                                          properties (.6)
July 2020   Asset                   07/14/20 JR              140 review surveys for all single family homes and update master spreadsheet regarding lot size             0.8       0.017       $2.38
            Disposition                                          for each property (.8)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020   Asset                   07/14/20 JR              140 review email from property management regarding bedroom bath size discrepancy for single               0.2     0.00425       $0.60
            Disposition                                          family homes and discuss further with property manager regarding same (.2)

July 2020   Asset                   07/14/20 JR              140 exchange correspondence with property management requesting updated income and loss                    0.2     0.00425       $0.60
            Disposition                                          statements, utility bills and various other property characteristics related to all 37 single
                                                                 family homes (.2)
July 2020   Asset                   07/14/20 JR              140 review leases for lease terms and security deposits and update master single family portfolio          2.2     0.04675       $6.55
            Disposition                                          (2.2)
July 2020   Asset                   07/14/20 JR              140 review utility bills requested from property manager and organize in electronic files related          0.4      0.0085       $1.19
            Disposition                                          to single family homes (.4).
July 2020   Asset                   07/15/20 JR              140 Review emails and update master single family spreadsheet with various pertinent property              4.4      0.0935      $13.09
            Disposition                                          information, bed/bath sizes, garage spaces, leases.
July 2020   Asset                   07/17/20 JR              140 review email from property manager related to single family homes and the utility                      0.1    0.002125       $0.30
            Disposition                                          responsibility for each tenant (.1)
July 2020   Asset                   07/17/20 JR              140 update electronic files regarding same (.4)                                                            0.4      0.0085       $1.19
            Disposition
July 2020   Asset                   07/17/20 JR              140 review utility bills related to single family homes (.8).                                              0.8       0.017       $2.38
            Disposition
July 2020   Asset                   07/17/20 JR              140 review emails and update single family home portfolio (.8)                                             0.8       0.017       $2.38
            Disposition
July 2020   Asset                   07/20/20 JR              140 exchange correspondence with property management requesting same (.2).                                 0.2     0.00425       $0.60
            Disposition
July 2020   Asset                   07/20/20 JR              140 Exchange correspondence with property management regarding missing items related to                    0.3    0.006375       $0.89
            Disposition                                          single family homes (.3)
July 2020   Asset                   07/20/20 JR              140 review the master single family homes EB spreadsheet and compile a list of missing subsidy             0.5    0.010625       $1.49
            Disposition                                          agreements and find all discrepancies (.5).
July 2020   Asset                   07/20/20 JR              140 review utility statements for all single family homes and update master single family due              2.9    0.061625       $8.63
            Disposition                                          diligence spreadsheet (2.9)
July 2020   Asset                   07/20/20 JR              140 exchange correspondence with property management requesting missing items (.3)                         0.3    0.006375       $0.89
            Disposition
July 2020   Asset                   07/20/20 JR              140 review surveys for all single family homes and update master due diligence spreadsheet                 1.2      0.0255       $3.57
            Disposition                                          related to garage space for each property (1.2)
July 2020   Asset                   07/21/20 JR              140 save in electronic folders and update master due diligence spreadsheet regarding same (.5)             0.5    0.010625       $1.49
            Disposition
July 2020   Asset                   07/21/20 JR              140 review email from property management related to requested due diligence documents (.2)                0.2     0.00425       $0.60
            Disposition
July 2020   Asset                   07/21/20 JR              140 Review email from property management and the requested subsidy agreements regarding                   0.2     0.00425       $0.60
            Disposition                                          the single family home portfolio (.2)
July 2020   Asset                   07/21/20 JR              140 organize electronic files and update master due diligence spreadsheet related to single                0.5    0.010625       $1.49
            Disposition                                          family homes (.5)
July 2020   Asset                   07/21/20 JR              140 exchange correspondence with property manager regarding additional information                         0.2     0.00425       $0.60
            Disposition                                          pertaining to single family homes (.2)




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2020   Asset                   07/21/20 JR              140 review leases provided by property leasing manager and organize electronic files for various          0.2     0.00425       $0.60
            Disposition                                          single family homes (.2)
July 2020   Asset                   07/22/20 AEP             390 review of relevant due diligence materials and conference with J. Rak regarding status of             1.1    0.023375       $9.12
            Disposition                                          preparation of due diligence documentation in connection with conveyance of single-family
                                                                 home portfolio (1.1)
July 2020   Asset                   07/22/20 AEP             390 prepare communication to counsel for institutional lender regarding status of completion of           0.2     0.00425       $1.66
            Disposition                                          due diligence folders associated with single-family homes (.2)
July 2020   Asset                   07/22/20 JR              140 exchange correspondence with property management and requesting litigation documents                  0.2     0.00425       $0.60
            Disposition                                          (.2)
July 2020   Asset                   07/22/20 JR              140 review various closed properties related to current insurance and inspection issues (.1)              0.1    0.002125       $0.30
            Disposition
July 2020   Asset                   07/22/20 JR              140 meeting with A. Porter regarding single family homes master due diligence spreadsheet (.7)            0.7    0.014875       $2.08
            Disposition
July 2020   Asset                   07/22/20 JR              140 review email from property management regarding updates to due diligence documents for                0.2     0.00425       $0.60
            Disposition                                          single family homes, request information regarding discrepancies in subsidy agreements and
                                                                 rent roll previously provided (.2).
July 2020   Asset                   07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                   4.4 0.0656716         $9.19
            Disposition                                          communications with EB team regarding same.
July 2020   Asset                   07/24/20 JR              140 follow up correspondence with property management regarding single family home due                    0.1    0.002125       $0.30
            Disposition                                          diligence document request (.1)
July 2020   Asset                   07/26/20 AEP             390 review all property-specific due diligence folders associated with single-family home                 2.4       0.051      $19.89
            Disposition                                          portfolio, eliminate duplicates, perform final reconciliation of damage repairs, cost
                                                                 estimates, lease documentation, and rental information and prepare e-mail to receivership
                                                                 broker regarding commencement of public marketing campaign (2.4)

July 2020   Asset                   07/27/20 AEP             390 begin review of all surveys in single-family residence portfolio in connection with                   0.5    0.010625       $4.14
            Disposition                                          identification of encroachments likely to trigger demands for title insurance endorsements
                                                                 (.5)
July 2020   Asset                   07/27/20 JR              140 review single family portfolio and request additional updates from the property manager (.6)          0.6     0.01275       $1.79
            Disposition
July 2020   Asset                   07/28/20 AEP             390 completion of communications with receivership real estate broker regarding status of due             0.1    0.002125       $0.83
            Disposition                                          diligence folders in connection with marketing of single-family home portfolio (.1)

July 2020   Asset                   07/28/20 JR              140 review requested due diligence documents and request additional missing items from                    0.4      0.0085       $1.19
            Disposition                                          property management regarding single family homes (.4)
July 2020   Asset                   07/28/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1    0.002125       $0.30
            Disposition
July 2020   Asset                   07/28/20 JR              140 review requested water bills for all single family homes and update property folders and              1.2      0.0255       $3.57
            Disposition                                          update master single family homes spreadsheet (1.2)
July 2020   Asset                   07/28/20 JR              140 review email from real estate broker regarding updates to due diligence documents for                 0.2     0.00425       $0.60
            Disposition                                          single family homes and respond regarding same (.2)
July 2020   Business                07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same              1.8 0.0666667         $9.33
            Operations                                           (1.8)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
July 2020   Business                07/01/20 ED              390 telephone conference with K. Duff, M. Rachlis, and K. Pritchard regarding financial                   1.2    0.027907      $10.88
            Operations                                           information relating to same and analysis of content to include (1.2)
July 2020   Business                07/01/20 ED              390 Review draft motion regarding restoration of rent and receivership expenditures from                  0.6 0.0139535         $5.44
            Operations                                           proceeds of sale of certain properties (.6)
July 2020   Business                07/01/20 ED              390 email correspondence with M. Rachlis regarding comments, and regarding calculations (.1)              0.1 0.0023256         $0.91
            Operations
July 2020   Business                07/01/20 ED              390 email correspondence to M. Rachlis and K. Duff regarding calculations from with accountant            0.1 0.0023256         $0.91
            Operations                                           of restoration amounts due from properties (.1).
July 2020   Business                07/01/20 ED              390 follow up conversation with K. Pritchard regarding same (.1)                                          0.1 0.0023256         $0.91
            Operations
July 2020   Business                07/01/20 JRW             260 related review of spreadsheet (.1).                                                                   0.1 0.0023256         $0.60
            Operations
July 2020   Business                07/01/20 JRW             260 Review and comment on revisions to restoration motion (.3)                                            0.3 0.0069767         $1.81
            Operations
July 2020   Business                07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                 0.3 0.0044776         $0.63
            Operations                                           for exhibits to proposed restoration motion (.3)
July 2020   Business                07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                 2.3 0.0343284         $4.81
            Operations                                           exhibits to restoration motion (2.3).
July 2020   Business                07/01/20 MR              390 Conferences with K. Duff, E. Duff and K. Pritchard and attention to restoration issues.               0.6 0.0139535         $5.44
            Operations
July 2020   Business                07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in             3.5 0.0522388         $7.31
            Operations                                           narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                 same (3.5)
July 2020   Business                07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                             0.4 0.0038835         $1.51
            Operations
July 2020   Business                07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                       3.7 0.0359223        $14.01
            Operations
July 2020   Business                07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                           0.2 0.0019417         $0.76
            Operations
July 2020   Business                07/05/20 MR              390 Research on restoration motion and work on same.                                                      1.5 0.0348837        $13.60
            Operations
July 2020   Business                07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                0.4 0.0038835         $1.51
            Operations
July 2020   Business                07/06/20 ED              390 review and analysis of calculations of amounts reimbursable from proceeds of sold                     0.7 0.0162791         $6.35
            Operations                                           properties (.7)
July 2020   Business                07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                 0.7 0.0067961         $2.65
            Operations                                           correspondence to lenders' counsel (.7).
July 2020   Business                07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related              0.6 0.0058252         $2.27
            Operations                                           documentation of March property income and expense (.6)
July 2020   Business                07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                    0.3 0.0029126         $1.14
            Operations                                           accounting report drafts (.3)
July 2020   Business                07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB          0.6       0.008       $1.12
            Operations                                           properties in the estate.


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
July 2020   Business                07/07/20 KMP         140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
            Operations                                       upcoming payment on insurance premium funding (.2).
July 2020   Business                07/08/20 AW          140 Communicate with K. Pritchard regarding rent restoration motion and exhibits (.1)                      0.1 0.0023256         $0.33
            Operations
July 2020   Business                07/08/20 ED          390 Call with K. Duff regarding second restoration motion.                                                 0.3 0.0069767         $2.72
            Operations
July 2020   Business                07/09/20 MR          390 Further work on second restoration motion.                                                             1.0 0.0232558         $9.07
            Operations
July 2020   Business                07/10/20 AW          140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
            Operations                                       Duff regarding same (.8).
July 2020   Business                07/10/20 AW          140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
            Operations                                       institutional lenders on property by property basis with addition of properties that have no
                                                             institutional debt, and have been sold (.8)
July 2020   Business                07/10/20 KMP         140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
            Operations                                       and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                             installment on insurance premium financing agreement, and communications with K. Duff
                                                             and bank representatives regarding same (.5)
July 2020   Business                07/11/20 MR          390 Further work and research regarding second restoration motion and affidavit and revisions              2.5 0.0581395        $22.67
            Operations                                       to same.
July 2020   Business                07/13/20 AW          140 Attention to current draft of rent restoration motion, proofread and cite check same, draft            1.7 0.0395349         $5.53
            Operations                                       notice as per standing order, and email counsel regarding revisions.
July 2020   Business                07/13/20 ED          390 Update description and date relating to rent restoration and property reimbursement                    0.6 0.0139535         $5.44
            Operations                                       amounts in draft motion and declaration (.6)
July 2020   Business                07/13/20 MR          390 Further work on and revise second restoration motion.                                                  1.5 0.0348837        $13.60
            Operations
July 2020   Business                07/16/20 MR          390 Review and revise restoration motion and follow up regarding same.                                     0.9 0.0209302         $8.16
            Operations
July 2020   Business                07/17/20 AW          140 Email exchanges with K. Duff and E. Duff regarding exhibits to second restoration motion (.2)          0.2 0.0046512         $0.65
            Operations
July 2020   Business                07/17/20 ED          390 email correspondence to A. Watychowicz regarding content of exhibits (.1).                             0.1 0.0023256         $0.91
            Operations
July 2020   Business                07/17/20 ED          390 Further review and revision of draft declaration and motion relating to restoration motion             0.3 0.0069767         $2.72
            Operations                                       (.3)
July 2020   Business                07/17/20 ED          390 email correspondence with K. Duff regarding same (.2)                                                  0.2 0.0046512         $1.81
            Operations
July 2020   Business                07/20/20 ED          390 email correspondence with accountant regarding same (.1).                                              0.1 0.0023256         $0.91
            Operations
July 2020   Business                07/20/20 ED          390 email correspondence with K. Duff (.2)                                                                 0.2 0.0046512         $1.81
            Operations
July 2020   Business                07/20/20 ED          390 regarding second motion for restoration, and related and document review and revision (.5)             0.5 0.0116279         $4.53
            Operations
July 2020   Business                07/20/20 KMP         140 Revise restoration motion, affidavit, and exhibit and communicate with K. Duff and A.                  1.4 0.0325581         $4.56
            Operations                                       Watychowicz regarding same.


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                             Task Description                                   Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2020   Business                07/20/20 MR              390 Attention to completing restoration motion.                                                          1.2    0.027907      $10.88
            Operations
July 2020   Business                07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                  0.2 0.0019417         $0.27
            Operations
July 2020   Business                07/21/20 KMP             140 Revise restoration motion, affidavit, and exhibits, prepare electronic version, and                  0.9 0.0209302         $2.93
            Operations                                           communicate with K. Duff regarding same (.9)
July 2020   Business                07/21/20 MR              390 Review and follow up on motion regarding restoration.                                                0.7 0.0162791         $6.35
            Operations
July 2020   Business                07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                            0.1 0.0009709         $0.38
            Operations
July 2020   Business                07/22/20 ED              390 review and comment on draft declaration in support of motion for restoration (.4)                    0.4 0.0093023         $3.63
            Operations
July 2020   Business                07/22/20 ED              390 and email correspondence with property manager and accountant regarding same (.1).                   0.1 0.0023256         $0.91
            Operations
July 2020   Business                07/22/20 JR              140 review property information for the declaration related to restoration of funds for the              0.3 0.0029126         $0.41
            Operations                                           benefit of other properties (.3).
July 2020   Business                07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports          0.3 0.0029126         $0.41
            Operations                                           (.3)
July 2020   Business                07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                             0.2 0.0029851         $0.42
            Operations
July 2020   Business                07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).           0.2 0.0029851         $0.42
            Operations
July 2020   Business                07/23/20 JR              140 complete review of financial reports received from accounting firm and property                      3.7 0.0359223         $5.03
            Operations                                           management relating to all income and loss statements (3.7).
July 2020   Business                07/23/20 JR              140 exchange communication with K. Pritchard and K. Duff regarding same (.1)                             0.1 0.0023256         $0.33
            Operations
July 2020   Business                07/23/20 JR              140 Update property address information to exhibit 2 to second restoration motion (.2)                   0.2 0.0046512         $0.65
            Operations
July 2020   Business                07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                   0.5 0.0048544         $0.68
            Operations                                           information related to discrepancies discovered in reports (.5).
July 2020   Business                07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                       0.6 0.0058252         $0.82
            Operations
July 2020   Business                07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                            0.3 0.0044776         $0.63
            Operations
July 2020   Business                07/24/20 KMP             140 electronically file same with court (.3)                                                             0.3 0.0044776         $0.63
            Operations
July 2020   Business                07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to              0.8    0.007767       $3.03
            Operations                                           preparation of April accounting reports.
July 2020   Business                07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                   0.2 0.0019417         $0.76
            Operations
July 2020   Business                07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                       0.1 0.0009709         $0.38
            Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
July 2020   Business                07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
            Operations
July 2020   Claims                  07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301       $3.26
            Administration
            & Objections

July 2020   Claims                  07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
            Administration                                       regarding discrepancies (.4)
            & Objections

July 2020   Claims                  07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
            Administration                                       counsel (.4)
            & Objections

July 2020   Claims                  07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
            Administration                                       remaining reimbursable amounts by property (.2).
            & Objections

July 2020   Claims                  07/09/20 ED              390 and call (.1)                                                                                          0.1 0.0023256         $0.91
            Administration
            & Objections

July 2020   Claims                  07/09/20 ED              390 Review chart from accountant relating to reimbursable amounts from proceeds of sold                    0.3 0.0069767         $2.72
            Administration                                       properties (.3)
            & Objections

July 2020   Claims                  07/09/20 ED              390 email correspondence (.2) regarding same                                                               0.2 0.0046512         $1.81
            Administration
            & Objections

July 2020   Claims                  07/09/20 ED              390 transmit March accounting reports to institutional lenders' counsel (1.7)                              1.7 0.0165049         $6.44
            Administration
            & Objections

July 2020   Claims                  07/09/20 ED              390 review and revise draft of affidavit (1.2)                                                             1.2    0.027907      $10.88
            Administration
            & Objections

July 2020   Claims                  07/09/20 ED              390 organize and send materials for preparation of April accounting reports to accountant (.6).            0.6 0.0058252         $2.27
            Administration
            & Objections




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2020   Claims                  07/31/20 JRW             260 additional legal research and draft memo regarding motion to intervene (.8)                          0.8 0.0089888         $2.34
            Administration
            & Objections

August 2020 Asset                   08/07/20 KBD             390 exchange correspondence with real estate broker regarding work to list single family                 0.2     0.00425       $1.66
            Disposition                                          residence portfolio (.2)
August 2020 Asset                   08/12/20 KBD             390 Telephone conference with real estate broker and counsel regarding marketing and sale of             0.5    0.010625       $4.14
            Disposition                                          single family residence portfolio.
August 2020 Asset                   08/25/20 KBD             390 exchange correspondence with A. Porter regarding preparation of single family residence              0.1    0.002125       $0.83
            Disposition                                          portfolio for sale (.1)
August 2020 Asset                   08/31/20 KBD             390 Telephone conference with A. Porter regarding sale of single family residence portfolio and          0.2     0.00425       $1.66
            Disposition                                          additional property.
August 2020 Business                08/25/20 KBD             390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                     0.1 0.0014085         $0.55
            Operations
August 2020 Claims                  08/03/20 KBD             390 analysis of claimant intervention motion and exchange correspondence with J. Wine                    0.3 0.0033708         $1.31
            Administration                                       regarding same (.3)
            & Objections

August 2020 Claims                  08/04/20 KBD             390 draft correspondence to other claimant's counsel regarding requests for records (.3)                 0.3 0.0037037         $1.44
            Administration
            & Objections

August 2020 Claims                  08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                      0.1 0.0011236         $0.44
            Administration
            & Objections

August 2020 Claims                  08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence             1.3 0.0146067         $5.70
            Administration                                       to J. Wine regarding same.
            & Objections

August 2020 Asset                   08/03/20 AEP             390 review consolidated title commitment for single-family homes portfolio, research status of           1.3    0.027625      $10.77
            Disposition                                          administrative judgments identified as exceptions, prepare list of outstanding issues, and
                                                                 transmit same to title company underwriter regarding continued clearance of title
                                                                 exceptions (1.3).
August 2020 Asset                   08/05/20 AEP             390 Teleconference with title company underwriter regarding all encroachments reflected on               2.0      0.0425      $16.58
            Disposition                                          surveys of single-family homes and deletion of certain special exceptions on single-family
                                                                 homes title commitment.
August 2020 Asset                   08/11/20 JR              140 further communication with property management regarding same (.1)                                   0.1    0.002125       $0.30
            Disposition
August 2020 Asset                   08/11/20 JR              140 review email from A. Porter regarding status of new applicants for the single family homes           0.1    0.002125       $0.30
            Disposition                                          (.1)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
August 2020 Asset                   08/12/20 AEP             390 teleconference with receivership brokers regarding initiation of marketing of single-family             0.5    0.010625       $4.14
            Disposition                                          home portfolio, bidding procedures, pricing, and publication notice (.5).

August 2020 Asset                   08/12/20 MR              390 Telephone conference regarding marketing and sale of single family residence portfolio with             0.5    0.010625       $4.14
            Disposition                                          asset manager, K. Duff and A. Porter.
August 2020 Asset                   08/14/20 JR              140 further communication with property management requesting updates to due diligence                      0.2     0.00425       $0.60
            Disposition                                          documents for single family homes (.2)
August 2020 Asset                   08/17/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1    0.002125       $0.30
            Disposition                                          homes and respond regarding same (.1)
August 2020 Asset                   08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709         $0.14
            Disposition
August 2020 Asset                   08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699         $0.53
            Disposition                                          within eighth, ninth, and current tranches (.1)
August 2020 Asset                   08/20/20 JR              140 review email from property management regarding status of due diligence documents                       0.1    0.002125       $0.30
            Disposition                                          related to single family homes (.1).
August 2020 Asset                   08/21/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1    0.002125       $0.30
            Disposition                                          homes and respond regarding same (.1)
August 2020 Business                08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952         $7.06
            Operations                                           accounting reports (1.9)
August 2020 Business                08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095         $1.49
            Operations                                           (.4)
August 2020 Business                08/04/20 MR              390 Attention to issues on restoration motion and issues raised by lender.                                  0.4 0.0093023         $3.63
            Operations
August 2020 Business                08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with                 0.8    0.007767       $1.09
            Operations                                           addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                 need to be supplemented (.8)
August 2020 Business                08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                                1.6 0.0152381         $5.94
            Operations
August 2020 Business                08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be                0.1 0.0011765         $0.46
            Operations                                           listed for sale (.1)
August 2020 Business                08/13/20 ED              390 review and analysis of related documents and reports (.2).                                              0.2 0.0023529         $0.92
            Operations
August 2020 Business                08/16/20 ED              390 Email to J. Wine regarding calculation of restoration due to properties (.2)                            0.2 0.0046512         $1.81
            Operations
August 2020 Business                08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020               0.3 0.0029126         $1.14
            Operations                                           accounting reports (.3)
August 2020 Business                08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                                 0.1 0.0009709         $0.38
            Operations
August 2020 Business                08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager                0.2 0.0031746         $1.24
            Operations                                           (.2)
August 2020 Business                08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by                   0.3 0.0029126         $1.14
            Operations                                           accountant for preparation of May accounting reports (.3)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours         Fees
August 2020 Business                08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                   0.1 0.0015873          $0.62
            Operations
August 2020 Business                08/24/20 JR              140 Review various property tax balances.                                                               1.1 0.0152778          $2.14
            Operations
August 2020 Business                08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter              0.4 0.0038835          $1.51
            Operations                                           regarding details and backup for information to include in May accounting reports to
                                                                 lenders.
August 2020 Business                08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                        0.9      0.0125        $1.75
            Operations
August 2020 Business                08/25/20 MR              390 Attention to follow up on objections to restoration motion and review additional materials          0.3 0.0069767          $2.72
            Operations                                           regarding same.
August 2020 Business                08/26/20 MR              390 Attention to issues on rent restoration and follow up regarding same.                               0.3 0.0069767          $2.72
            Operations
August 2020 Claims                  08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'          0.9 0.0101124          $2.63
            Administration                                       motion to intervene (.9)
            & Objections

August 2020 Claims                  08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.          1.5 0.0168539          $4.38
            Administration                                       Duff and M. Rachlis (1.5)
            & Objections

September   Asset                   09/18/20 KBD             390 exchange correspondence with J. Wine regarding draft proposed order (.1).                           0.1 0.0023256          $0.91
2020        Disposition
September   Business                09/15/20 KBD             390 review financial reporting from property manager (.2)                                               0.2 0.0040816          $1.59
2020        Operations
September   Business                09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding               0.3 0.0042857          $1.67
2020        Operations                                           payment of same (.3)
September   Business                09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and              0.7         0.01       $3.90
2020        Operations                                           lenders (.7)
September   Business                09/18/20 KBD             390 Study draft order for second restoration motion and exchange correspondence regarding               0.2 0.0046512          $1.81
2020        Operations                                           same (.2)
September   Business                09/21/20 KBD             390 exchange correspondence with K. Pritchard regarding restoration of funds (.1).                      0.1 0.0023256          $0.91
2020        Operations
September   Business                09/23/20 KBD             390 Attention to funds transfers for restoration (.2)                                                   0.2 0.0046512          $1.81
2020        Operations
September   Business                09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                0.1 0.0014925          $0.58
2020        Operations
September   Claims                  09/14/20 KBD             390 exchange correspondence with claimant counsel regarding single family residence portfolio           0.1    0.002125        $0.83
2020        Administration                                       (.1)
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
September Asset                     09/01/20 AEP             390 review files pertaining to single- family residence portfolio and prepare allocation of                0.3    0.006375       $2.49
2020      Disposition                                            property inspection costs for insertion into May statements to be provided to institutional
                                                                 lenders (.3).
September   Asset                   09/01/20 JR              140 review email from real estate broker regarding due diligence documents related to single               0.3    0.006375       $0.89
2020        Disposition                                          family homes and exchange communications regarding same (.3)
September   Asset                   09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                     1.8       0.025       $3.50
2020        Disposition
September   Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                      0.1 0.0013889         $0.19
2020        Disposition
September   Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                   0.2 0.0027778         $0.39
2020        Disposition                                          income available funds related to payment of tax balances (.2)
September   Asset                   09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0013889         $0.19
2020        Disposition
September   Asset                   09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                  0.2 0.0027778         $0.39
2020        Disposition                                          for all EB properties with sufficient funds (.2).
September   Asset                   09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                     0.2 0.0037037         $0.96
2020        Disposition
September   Asset                   09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for                 0.4 0.0074074         $1.93
2020        Disposition                                          restoration (.4)
September   Asset                   09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                   0.1 0.0014085         $0.20
2020        Disposition                                          of all EB properties (.1)
September   Asset                   09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                       0.1 0.0014085         $0.20
2020        Disposition                                          properties with sufficient funds (.1)
September   Asset                   09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                0.3 0.0042254         $0.59
2020        Disposition                                          regarding same for all remaining properties in the EquityBuild Estate (.3)

September   Asset                   09/25/20 JR              140 review tax payments produced by property manager (.7).                                                 0.7 0.0097222         $1.36
2020        Disposition
September   Asset                   09/28/20 JRW             260 Email exchange regarding publication notice (.1)                                                       0.1    0.002125       $0.55
2020        Disposition
September   Asset                   09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                 0.2 0.0030769         $0.43
2020        Disposition                                          payments (.2)
September   Asset                   09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed             0.1 0.0015873         $0.22
2020        Disposition                                          properties (.1)
September   Asset                   09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                  0.1 0.0015873         $0.22
2020        Disposition
September   Business                09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417         $0.76
2020        Operations                                           preparation of May accounting reports (.2)
September   Business                09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding          0.7 0.0098592         $1.38
2020        Operations                                           tax balances (.7).
September   Business                09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417         $0.76
2020        Operations                                           property managers needed for preparation of May accounting reports (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
September   Business                09/08/20 ED              390 review of related documents received from property manager and email correspondence                   0.3 0.0029126         $1.14
2020        Operations                                           regarding same (.3)
September   Business                09/08/20 MR              390 attention to issues on objections to restoration motion (.2).                                         0.2 0.0046512         $1.81
2020        Operations
September   Business                09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                     0.3 0.0029126         $1.14
2020        Operations                                           financial reporting information for May 2020.
September   Business                09/09/20 MR              390 Further attention to issues on objections to restoration issues.                                      0.2 0.0046512         $1.81
2020        Operations
September   Business                09/11/20 MR              390 Further work to review and revise response on second restoration motion.                              1.0 0.0232558         $9.07
2020        Operations
September   Business                09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                       0.2 0.0028169         $0.39
2020        Operations                                           payment of taxes of EquityBuild properties.
September   Business                09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting              1.2 0.0116505         $4.54
2020        Operations                                           (1.2)
September   Business                09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                        0.2 0.0019417         $0.76
2020        Operations
September   Business                09/18/20 JRW             260 draft cover email to court regarding order partially granting second restoration motion (.3)          0.3 0.0069767         $1.81
2020        Operations
September   Business                09/18/20 JRW             260 Prepare order partially granting second restoration motion (.6)                                       0.6 0.0139535         $3.63
2020        Operations
September   Business                09/18/20 MR              390 Attention to restoration order and emails on same.                                                    0.3 0.0069767         $2.72
2020        Operations
September   Business                09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account            0.8 0.0119403         $1.67
2020        Operations                                           numbers for all properties subject to order (.8)
September   Business                09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)               0.2 0.0029851         $0.42
2020        Operations
September   Business                09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                1.2 0.0171429         $2.40
2020        Operations
September   Business                09/22/20 JR              140 review email from property manager and update electronic files for various properties with            0.2 0.0028571         $0.40
2020        Operations                                           property tax receipts (.2)
September   Business                09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly           0.2 0.0019417         $0.27
2020        Operations                                           (.2).
September   Business                09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                2.1 0.0313433         $4.39
2020        Operations                                           (2.1)
September   Business                09/22/20 KMP             140 Additional communications with bank representatives regarding opening of new accounts in              0.2 0.0054054         $0.76
2020        Operations                                           connection with anticipated account transfers to comply with restoration approved by court
                                                                 (.2)
September   Business                09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.             1.2 0.0116505         $4.54
2020        Operations
September   Business                09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)            0.2 0.0028571         $0.40
2020        Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
September Claims                    09/15/20 AW              140 revise proposed order and exhibit regarding rent restoration motion and email J. Wine                      0.1 0.0023256         $0.33
2020      Administration                                         regarding same (.1)
          & Objections

September Claims                    09/15/20 MR              390 further attention to reply on second restoration motion (.7).                                              0.7 0.0162791         $6.35
2020      Administration
          & Objections

September Claims                    09/18/20 AW              140 email J. Wine regarding spreadsheet related to second restoration motion (.1)                              0.1 0.0023256         $0.33
2020      Administration
          & Objections

September Claims                    09/18/20 AW              140 finalize exhibits for submission to proposed order email (.3)                                              0.3 0.0069767         $0.98
2020      Administration
          & Objections

October     Asset                   10/16/20 KBD             390 Work with A. Porter and J. Rak on planning for listing SFR portfolio and title exception and               0.6     0.01275       $4.97
2020        Disposition                                          insurance issues (single family) (.6)
October     Asset                   10/23/20 KBD             390 work on preparation for marketing and listing of single-family residence portfolio and                     0.5    0.010625       $4.14
2020        Disposition                                          prepare for call with broker and lenders counsel (.5)
October     Asset                   10/23/20 KBD             390 confer with broker, lenders counsel, and A. Porter regarding single-family residence portfolio             0.4      0.0085       $3.32
2020        Disposition                                          marketing and listing planning, title issues, due diligence materials, bid procedures, credit bid
                                                                 interest, and procedure for reviewing bids (.4)

October     Asset                   10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                        0.2 0.0010625         $0.41
2020        Disposition                                          properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)
October     Business                10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                            0.2 0.0032258         $1.26
2020        Operations
October     Business                10/09/20 KBD             390 study financial reporting from property managers (.5)                                                      0.5 0.0080645         $3.15
2020        Operations
October     Business                10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).                0.3 0.0028571         $1.11
2020        Operations
October     Business                10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                                  0.2 0.0034483         $1.34
2020        Operations
October     Business                10/20/20 KBD             390 work on restoration of funds (.3).                                                                         0.3 0.0028571         $1.11
2020        Operations
October     Business                10/28/20 KBD             390 Exchange correspondence regarding order on second restoration motion (.2)                                  0.2 0.0046512         $1.81
2020        Operations
October     Asset                   10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                    0.7 0.0112903         $1.58
2020        Disposition                                          lenders (.7)
October     Asset                   10/01/20 JR              140 further review of May financial reporting (3.3)                                                            3.3 0.0320388         $4.49
2020        Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                            Hours        Fees
October     Asset                   10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)                  0.9 0.0087379         $1.22
2020        Disposition
October     Asset                   10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future                0.4 0.0064516         $2.52
2020        Disposition                                          marketing on all remaining receivership properties and additional issues to be resolved (.4).

October     Asset                   10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                         0.5 0.0048544         $0.68
2020        Disposition                                          information (.5)
October     Asset                   10/14/20 AEP             390 Continue reviewing due diligence folders for single-family homes, updating due diligence                   2.3    0.048875      $19.06
2020        Disposition                                          checklist, reconciling title commitment exceptions to EquityBuild records, and preparing bid
                                                                 procedures to govern submission of offers and selection of winning bidder.

October     Asset                   10/15/20 AEP             390 review and analyze title histories on all properties subject to title exceptions and create                2.0      0.0425      $16.58
2020        Disposition                                          chain of title explanations for use with title underwriter (2.0).
October     Asset                   10/15/20 AEP             390 review all building code violation folders to identify all potential judgments pending against             0.8       0.017       $6.63
2020        Disposition                                          single-family homes (.8)
October     Asset                   10/15/20 AEP             390 read through all title exceptions and create master list of items needed from City of Chicago              1.4     0.02975      $11.60
2020        Disposition                                          and prior encumbrances to ensure conveyance of clean title at closing (1.4)

October     Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding property tax issues (.1)                                  0.1    0.002125       $0.83
2020        Disposition
October     Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding issues associated with single-family home                 0.5    0.010625       $4.14
2020        Disposition                                          judgments and encumbrances (single family) (.5)
October     Asset                   10/16/20 JR              140 Work with A. Porter and K. Duff on planning for listing single family portfolio and title                  0.6     0.01275       $1.79
2020        Disposition                                          exception and insurance issues (.6)
October     Asset                   10/16/20 JR              140 review tax balances for single family homes (.4).                                                          0.4      0.0085       $1.19
2020        Disposition
October     Asset                   10/16/20 JRW             260 Confer with K. Duff regarding publication notice for single family home portfolio.                         0.1    0.002125       $0.55
2020        Disposition
October     Asset                   10/19/20 JR              140 review single family home due diligence folders and organize in preparation of sharing with                2.7    0.057375       $8.03
2020        Disposition                                          interested buyers (2.7).
October     Asset                   10/22/20 JR              140 Update single family homes documents (.5)                                                                  0.5    0.010625       $1.49
2020        Disposition
October     Asset                   10/22/20 JR              140 exchange correspondence with A. Porter regarding single family homes (.1)                                  0.1    0.002125       $0.30
2020        Disposition
October     Asset                   10/23/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for special servicer regarding               0.5    0.010625       $4.14
2020        Disposition                                          status of preparation of marketing of single-family home portfolio, including title issues, sales
                                                                 contract issues, due diligence issues, and marketing issues (.5)

October     Asset                   10/23/20 AEP             390 preliminary communications with alternative title company regarding potential issuance of                  0.3    0.006375       $2.49
2020        Disposition                                          insurance over special exceptions raised by current insurer (.3)
October     Asset                   10/27/20 AEP             390 teleconference with potential new title company regarding impasses with current title                      0.7 0.0074375         $2.90
2020        Disposition                                          company over deletion of special exceptions on various receivership properties (7237 S
                                                                 Bennett and single-family home portfolio) (.7).


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
October     Asset                   10/29/20 AEP         390 communications with former title company regarding need for hold harmless letter                     0.1    0.002125       $0.83
2020        Disposition                                      associated with prospective conveyance of receivership property (.1)
October     Business                10/02/20 ED          390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).          0.2 0.0019417         $0.76
2020        Operations
October     Business                10/02/20 ED          390 and email correspondence to J. Rak regarding same (.1)                                               0.1 0.0009709         $0.38
2020        Operations
October     Business                10/02/20 ED          390 Further review and analysis of drafts of May accounting reports (.9)                                 0.9 0.0087379         $3.41
2020        Operations
October     Business                10/06/20 ED          390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                   0.1 0.0009709         $0.38
2020        Operations
October     Business                10/06/20 ED          390 draft and send email correspondence to accountant regarding discrepancies in May reports             0.3 0.0029126         $1.14
2020        Operations                                       requiring revision (.3).
October     Business                10/07/20 ED          390 final review of May reports (1.0).                                                                   1.0 0.0097087         $3.79
2020        Operations
October     Business                10/07/20 ED          390 Review revised May reports (.4) and email correspondence to accountant with additional               0.8    0.007767       $3.03
2020        Operations                                       comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                             reimbursable amounts by properties. (.2)
October     Business                10/07/20 KMP         140 Prepare form for wire transfer to financing company for payment of insurance premium                 0.3 0.0048387         $0.68
2020        Operations                                       financing installment and communications with K. Duff and bank representatives regarding
                                                             same.
October     Business                10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                   0.9 0.0145161         $5.66
2020        Operations                                       explanations of insurance expense for all unsold properties and inspection expenses for
                                                             certain properties (.9)
October     Business                10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020        Operations                                       of May 31, 2020 (1.5)
October     Business                10/08/20 ED          390 review and organize financial reporting data necessary for preparation of June accounting            0.5 0.0048544         $1.89
2020        Operations                                       reports (.5).
October     Business                10/08/20 ED          390 review of premium finance agreements executed in connection with renewals of property                0.3 0.0048387         $1.89
2020        Operations                                       and liability insurance (.3)
October     Business                10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020        Operations                                       regarding reports.
October     Business                10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020        Operations                                       amounts (.2) organize financial data for use in preparing accounting reports (.3).

October     Business                10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020        Operations
October     Business                10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020        Operations
October     Business                10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020        Operations                                       restoration and future reporting from receivership, including attachments describing funds
                                                             transfers and confer with K. Duff regarding same (.8)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
October     Business                10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                      0.7 0.0066667         $2.60
2020        Operations                                       approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                             Properties (.7).
October     Business                10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                      0.3 0.0028571         $1.11
2020        Operations                                       accounting reports (.3)
October     Business                10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from              0.2 0.0019048         $0.74
2020        Operations                                       property manager (.2)
October     Business                10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                   0.7 0.0066667         $2.60
2020        Operations                                       updating financial reporting to lenders and for use in management of portfolio by Receiver.

October     Business                10/27/20 ED          390 email correspondence with property manager regarding basis of reporting in monthly                     0.2 0.0019048         $0.74
2020        Operations                                       property financial reporting (.2).
October     Business                10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial               1.3    0.012381       $4.83
2020        Operations                                       reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                             reimbursed from proceeds of property sales (1.3)
October     Business                10/27/20 ED          390 preparation for same (.2)                                                                              0.2 0.0019048         $0.74
2020        Operations
October     Business                10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                      0.2 0.0033333         $0.47
2020        Operations                                       financing installments in light of various property sales.
October     Business                10/30/20 ED          390 Email correspondence to accountants to supply background for preparation of accounting                 0.2 0.0019048         $0.74
2020        Operations                                       reports, and review of related financial information.
October     Business                10/30/20 KMP         140 prepare form for funds transfer to premium financing company for installment payment on                0.4 0.0066667         $0.93
2020        Operations                                       property insurance, and communicate with K. Duff and bank representatives regarding same
                                                             (.4)
October     Business                10/30/20 KMP         140 Communication with insurance broker regarding updated payment schedules for insurance                  0.2 0.0033333         $0.47
2020        Operations                                       premium financing installments in light of various property sales (.2)
November    Asset                   11/17/20 KBD         390 exchange correspondence with A. Porter regarding pricing and allocation of sale proceeds               0.2     0.00425       $1.66
2020        Disposition                                      for single family residence portfolio and title company communication (.2)

November    Asset                   11/19/20 KBD         390 work on bid procedures for single family residence portfolio (.3).                                     0.3    0.006375       $2.49
2020        Disposition
November    Asset                   11/20/20 KBD         390 telephone conference with real estate broker and A. Porter regarding same (.2)                         0.2     0.00425       $1.66
2020        Disposition
November    Asset                   11/20/20 KBD         390 exchange correspondence with M. Rachlis regarding sale procedures for single family                    0.1    0.002125       $0.83
2020        Disposition                                      residence portfolio (.1)
November    Asset                   11/20/20 KBD         390 telephone conferences with A. Porter regarding marketing of and allocation issues relating to          0.3    0.006375       $2.49
2020        Disposition                                      single family residence portfolio (.3)
November    Asset                   11/21/20 KBD         390 Exchange correspondence with real estate broker and A. Porter regarding treatment of                   0.2     0.00425       $1.66
2020        Disposition                                      offers for single family residence portfolio.
November    Asset                   11/28/20 KBD         390 Exchange correspondence with A. Porter regarding broker agreement and publication notice               0.2     0.00425       $1.66
2020        Disposition                                      for sale of single-family residence portfolio.
November    Asset                   11/29/20 KBD         390 Study and revise offering memorandum for sale of single-family residence portfolio and draft           0.3    0.006375       $2.49
2020        Disposition                                      correspondence to A. Porter regarding same.


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  Invoice                                          Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                           Keeper                                                                                                                           Hours        Fees
November    Asset                   11/30/20 KBD             390 work on offering memorandum and exchange correspondence regarding same for single-                        0.2     0.00425       $1.66
2020        Disposition                                          family residence portfolio (.2)
November    Business                11/13/20 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0065217         $2.54
2020        Operations
November    Claims                  11/20/20 KBD             390 confer with claimant lenders' counsel, real estate broker, and A. Porter regarding marketing              0.6     0.01275       $4.97
2020        Administration                                       of and allocation issues relating to single family residence portfolio (.6)
            & Objections

November    Asset                   11/05/20 AEP             390 continue analyzing public records and preparing memorandum to prospective new title                       3.5    0.074375      $29.01
2020        Disposition                                          insurer requesting consideration of waiver of title exceptions appearing on current version of
                                                                 title commitment for single-family homes (3.5).
November    Asset                   11/06/20 AEP             390 Finalize review and analysis of remaining properties associated with title exceptions in single-          2.3    0.048875      $19.06
2020        Disposition                                          family home portfolio and preparation of memorandum to prospective new title insurer
                                                                 regarding potential waiver of exceptions (2.3)
November    Asset                   11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                              0.7    0.012069       $1.69
2020        Disposition
November    Asset                   11/17/20 AEP             390 teleconference with prospective new title insurer regarding issues associated with                        0.5    0.010625       $4.14
2020        Disposition                                          preparation of title commitment for single-family home portfolio (.5)
November    Asset                   11/17/20 AEP             390 prepare correspondence to receivership brokers associated with single- family home                        0.2     0.00425       $1.66
2020        Disposition                                          portfolio regarding preparation for marketing effort (.2).
November    Asset                   11/18/20 AEP             390 teleconference with K. Duff and J. Rak regarding final preparation for initiation of marketing            0.4      0.0085       $3.32
2020        Disposition                                          of single-family home portfolio (.4)
November    Asset                   11/18/20 AEP             390 prepare e-mail to title underwriter enclosing and explaining spreadsheets containing                      0.2     0.00425       $1.66
2020        Disposition                                          information pertaining to single-family home portfolio (.2)
November    Asset                   11/18/20 AEP             390 Teleconference for title company underwriter regarding issues associated with preparation                 0.3    0.006375       $2.49
2020        Disposition                                          of title commitments for single-family home portfolio (.3)
November    Asset                   11/18/20 JR              140 call with K. Duff and A. Porter relating to status of single family home portfolio and plan of            0.5    0.010625       $1.49
2020        Disposition                                          action (.5)
November    Asset                   11/18/20 JR              140 request updated due diligence documents from property management for single family                        0.1    0.002125       $0.30
2020        Disposition                                          homes (.1)
November    Asset                   11/18/20 JRW             260 Exchange correspondence with A. Porter regarding status of marketing of properties (single-               0.1    0.002125       $0.55
2020        Disposition                                          family portfolio) (.1)
November    Asset                   11/19/20 JR              140 review uploaded documents regarding same and further exchange correspondence with                         0.3    0.006375       $0.89
2020        Disposition                                          property management relating to missing items (.3)
November    Asset                   11/19/20 JR              140 Review email from property management regarding single family home due diligence                          0.1    0.002125       $0.30
2020        Disposition                                          documents (.1)
November    Asset                   11/19/20 JR              140 review income and loss statements received from the property manager and update                           1.1    0.023375       $3.27
2020        Disposition                                          electronic files related to single family homes (1.1)
November    Asset                   11/20/20 AEP             390 teleconference with K. Duff and receivership brokers regarding discrepancies in values of                 0.2     0.00425       $1.66
2020        Disposition                                          single-family homes as between receivership broker and special servicer for institutional
                                                                 lender (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
November    Asset                   11/20/20 AEP             390 teleconference with K. Duff, receivership brokers, and counsel for institutional lenders                0.6     0.01275       $4.97
2020        Disposition                                          regarding pricing considerations, timing of commencement of marketing, and allocation
                                                                 issues associated with single-family home portfolio (.6).
November    Asset                   11/20/20 JR              140 exchange correspondence with property management requesting missing utility statements                  0.1    0.002125       $0.30
2020        Disposition                                          regarding single family homes (.1).
November    Asset                   11/20/20 JR              140 review updated utility statements requested from property management and update                         1.3    0.027625       $3.87
2020        Disposition                                          electronic files in preparation for marketing of single family homes (1.3)
November    Asset                   11/20/20 JR              140 Review requested due diligence reports and update electronic files for single family portfolio          0.3    0.006375       $0.89
2020        Disposition                                          from property management (.3)
November    Asset                   11/20/20 MR              390 Attention to bidding procedures on single family homes and follow up (.5)                               0.5    0.010625       $4.14
2020        Disposition
November    Asset                   11/23/20 JR              140 Review income and loss statements received from property management related to single                   0.4      0.0085       $1.19
2020        Disposition                                          family homes and update electronic files (.4)
November    Asset                   11/23/20 JR              140 exchange correspondence with property management and request additional property                        0.2     0.00425       $0.60
2020        Disposition                                          reports for single family homes (.2)
November    Asset                   11/24/20 AEP             390 review all attorney examiner worksheets received from title insurer in connection with                  0.4      0.0085       $3.32
2020        Disposition                                          conveyance of single-family home portfolio, update portfolio spreadsheet, and inventory
                                                                 missing worksheets (.4).
November    Asset                   11/24/20 JR              140 review due diligence documents requested from property management for single family                     0.4      0.0085       $1.19
2020        Disposition                                          homes (.4)
November    Asset                   11/24/20 JR              140 further correspondence with property management requesting same for single family homes                 0.1    0.002125       $0.30
2020        Disposition                                          (.1)
November    Asset                   11/25/20 AEP             390 review proposed renewed brokerage agreement relating to prospective sale of single-family               0.3    0.006375       $2.49
2020        Disposition                                          home portfolio and prepare e-mail to broker requesting additional changes and explanation
                                                                 for certain deletions (.3).
November    Asset                   11/25/20 JR              140 Review single family home portfolio and due diligence documents and update rent roll                    3.2       0.068       $9.52
2020        Disposition                                          related to updated utility statements, leases and security deposit information.

November    Asset                   11/29/20 AEP             390 Begin preparation of purchase and sale agreement for single-family home portfolio (2.2)                 2.2     0.04675      $18.23
2020        Disposition
November    Asset                   11/29/20 AEP             390 review all due diligence folders for properties in single-family home portfolio, remove                 0.6     0.01275       $4.97
2020        Disposition                                          unnecessary documents, and create final checklist of property-specific issues (.6).

November    Asset                   11/30/20 JR              140 Review email from A. Porter regarding single family home due diligence documents and                    0.1    0.002125       $0.30
2020        Disposition                                          respond accordingly (.1)
November    Asset                   11/30/20 JR              140 review due diligence documents for single family home (.6)                                              0.6     0.01275       $1.79
2020        Disposition
November    Business                11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership                 0.7 0.0066667         $2.60
2020        Operations                                           financial records, and details relating to property restoration and reimbursement completed
                                                                 through September 2020 (.7)
November    Business                11/02/20 ED              390 review and analysis of related documents (1.0).                                                         1.0 0.0095238         $3.71
2020        Operations




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
November    Business                11/04/20 ED          390 Review financial reporting documents from property managers relating to properties (.3)                   0.3 0.0050847         $1.98
2020        Operations
November    Business                11/04/20 ED          390 email correspondence with K. Duff regarding same (.2).                                                    0.2 0.0033898         $1.32
2020        Operations
November    Business                11/05/20 ED          390 Email correspondence with accountant regarding information needed for preparation of                      0.3 0.0028571         $1.11
2020        Operations                                       property reports (.3)
November    Business                11/05/20 ED          390 review reporting from property managers to identify relevant documentation (.3)                           0.3 0.0028571         $1.11
2020        Operations
November    Business                11/06/20 ED          390 Continue review of property manager reporting for preparation of reports (.3) and email                   0.7 0.0066667         $2.60
2020        Operations                                       correspondence with accountants and property manager regarding same (.4)

November    Business                11/06/20 ED          390 review and analysis of financial reporting relating to properties (.4), and email                         0.6 0.0057143         $2.23
2020        Operations                                       correspondence with K. Duff regarding comments and proposed revisions (.2)
November    Business                11/10/20 ED          390 Email correspondence with accountants and property manager regarding information still                    0.1 0.0009524         $0.37
2020        Operations                                       needed for preparation of June reporting.
November    Business                11/11/20 KMP         140 Prepare form for transfer of funds for payment of insurance premium funding and                           0.4 0.0074074         $1.04
2020        Operations                                       communicate with K. Duff and bank representative regarding same (.4)
November    Business                11/12/20 ED          390 email correspondence with J. Rak and with accountants to identify and share financial                     0.2 0.0019048         $0.74
2020        Operations                                       reporting information necessary for completion of remining June accounting reports (.2).

November    Business                11/12/20 KMP         140 Follow up on transfer of funds for payment of insurance premium funding and communicate                   0.2 0.0037037         $0.52
2020        Operations                                       with K. Duff and bank representative regarding same.
November    Business                11/13/20 ED          390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June                    0.3 0.0028571         $1.11
2020        Operations                                       reports, and steps to begin preparation of July reports (.3)
November    Business                11/13/20 KMP         140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)                  1.2 0.0193548         $2.71
2020        Operations
November    Business                11/19/20 ED          390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                       0.5 0.0047619         $1.86
2020        Operations                                       reporting information required for preparation of July property reports.

November    Business                11/24/20 ED          390 email correspondence with accountant and J. Rak regarding review and revision of July                     0.3 0.0028571         $1.11
2020        Operations                                       accounting reports and preparation of draft August reports (.3).
November    Business                11/25/20 KMP         140 Prepare request form for transfer of funds to financing company for insurance premium                     0.4 0.0074074         $1.04
2020        Operations                                       installment payment, and communicate with bank representatives and K. Duff regarding
                                                             same.
December    Asset                   12/04/20 KBD         390 telephone conference with real estate broker regarding various remaining properties and                   0.3       0.006       $2.34
2020        Disposition                                      related sales issues (.3).
December    Asset                   12/29/20 KBD         390 Exchange correspondence regarding publication of notice for sale of single family residence               0.2     0.00425       $1.66
2020        Disposition                                      portfolio (.2)
December    Claims                  12/09/20 KBD         390 study information regarding claims against properties in single family residence portfolio (.2).          0.2     0.00425       $1.66
2020        Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
December    Asset                   12/04/20 JR              140 review previously requested rent rolls, leases, subsidy contracts and delinquency reports for            4.6 0.1243243        $17.41
2020        Disposition                                          single family homes, update master rent roll and request additional missing items from
                                                                 property management (1414 East 62nd Place, 1418 East 62nd Place, 1017 W 102nd Street,
                                                                 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                                 Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                 Avenue) (4.6).

December    Asset                   12/04/20 JR              140 Review previously delivered delinquency report and exchange correspondence with property                 0.3    0.006375       $0.89
2020        Disposition                                          management requesting current delinquency report for single family home portfolio (.3)

December    Asset                   12/07/20 JR              140 exchange correspondence with property management requesting updates to due diligence                     0.1    0.002125       $0.30
2020        Disposition                                          documents for single family homes (.1)
December    Asset                   12/07/20 JR              140 review master rent roll for single family homes and exchange correspondence with A. Porter               0.3    0.006375       $0.89
2020        Disposition                                          regarding same (.3)
December    Asset                   12/07/20 JR              140 review leases for security deposit information related to single family homes (1.3)                      1.3    0.027625       $3.87
2020        Disposition
December    Asset                   12/07/20 JR              140 review updated utility bills for single family homes and update electronic files regarding               1.2      0.0255       $3.57
2020        Disposition                                          same (1.2).
December    Asset                   12/07/20 JR              140 conference call with A. Porter related to single family portfolio status (.7)                            0.7    0.014875       $2.08
2020        Disposition
December    Asset                   12/08/20 AEP             390 continue editing, revising, and customizing purchase and sale contract for single-family home            1.0     0.02125       $8.29
2020        Disposition                                          portfolio and review all litigation files to ascertain current status of all administrative and
                                                                 housing court proceedings (1.0).
December    Asset                   12/08/20 JR              140 Review utility statements received from property management for single family homes and                  1.6       0.034       $4.76
2020        Disposition                                          update electronic files (1.6)
December    Asset                   12/08/20 JR              140 review additional due diligence documents received from property management for single                   2.7    0.057375       $8.03
2020        Disposition                                          family homes and update electronic files (2.7)
December    Asset                   12/08/20 JR              140 exchange correspondence with property management regarding same (.1)                                     0.1    0.002125       $0.30
2020        Disposition
December    Asset                   12/08/20 JR              140 review email from brokerage firm regarding requested due diligence documents for single                  0.1    0.002125       $0.30
2020        Disposition                                          family homes and respond accordingly (.1).
December    Asset                   12/08/20 JR              140 review and analyze ledgers for single family homes against rent roll and confirm rental                  1.7    0.036125       $5.06
2020        Disposition                                          income consistency in preparation for marketing and providing documents to potential
                                                                 buyers (1.7)
December    Asset                   12/08/20 JRW             260 Email exchange regarding placement of publication notice for single family portfolio.                    0.2     0.00425       $1.11
2020        Disposition


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
December    Asset                   12/09/20 AEP             390 review proof of notice of public sale in connection with advertisement of single-family home           0.1    0.002125       $0.83
2020        Disposition                                          portfolio (.1)
December    Asset                   12/09/20 AEP             390 Teleconference with J. Rak regarding discrepancies between monthly utility bills and                   0.3    0.006375       $2.49
2020        Disposition                                          operating expenses and possible strategies for fixing issues prior to producing due diligence
                                                                 documents associated with sale of single-family homes (.3)

December    Asset                   12/09/20 AEP             390 read e-mail from J. Wine regarding claims submitted against properties in single-family home           0.2     0.00425       $1.66
2020        Disposition                                          portfolio and update portfolio spreadsheet accordingly (.2).
December    Asset                   12/09/20 JR              140 Review emails from property management and update master rent roll with requested                      0.3    0.006375       $0.89
2020        Disposition                                          property information for single family homes (.3)
December    Asset                   12/09/20 JR              140 exchange correspondence with A. Porter regarding same (.3).                                            0.3    0.006375       $0.89
2020        Disposition
December    Asset                   12/09/20 JR              140 review updated income and profit statements, compare and analyze expenses with updated                 6.3    0.133875      $18.74
2020        Disposition                                          utility statements provided by property management for single family portfolio in
                                                                 preparation for production to potential buyer (6.3)
December    Asset                   12/10/20 AEP             390 review all tenant ledgers and other documents added to due diligence folder for single-                0.8       0.017       $6.63
2020        Disposition                                          family homes, reorganize certain file structures and review and approve final rent roll (.8)

December    Asset                   12/10/20 AEP             390 prepare response to broker of single-family homes regarding finalization of due diligence              0.1    0.002125       $0.83
2020        Disposition                                          materials and status of rent roll (.1)
December    Asset                   12/10/20 JR              140 exchange correspondence with brokerage firm and inquire about uploading requested single               0.1    0.002125       $0.30
2020        Disposition                                          family homes information pertaining to same (.1)
December    Asset                   12/10/20 JR              140 Finalize review of the income and profit statements and analyze information in electronic              1.7    0.036125       $5.06
2020        Disposition                                          files in preparation for production to single family homes potential buyers (1.7)

December    Asset                   12/10/20 JR              140 final review of single family homes master rent roll regarding same and make final updates             1.6       0.034       $4.76
2020        Disposition                                          to electronic files (1.6)
December    Asset                   12/10/20 JR              140 exchange correspondence with property management team requesting missing property                      0.3    0.006375       $0.89
2020        Disposition                                          utility statements for single family homes to resolve discrepancies (.3)
December    Asset                   12/10/20 JR              140 organize all due diligence documents including leases in preparation for production to                 1.3    0.027625       $3.87
2020        Disposition                                          brokerage firm related to single family homes (1.3)
December    Asset                   12/10/20 JR              140 exchange correspondence with A. Porter regarding same (single family homes) (.3)                       0.3    0.006375       $0.89
2020        Disposition
December    Asset                   12/11/20 AEP             390 Teleconference with J. Rak regarding remaining discrepancies in single-family home due                 0.1    0.002125       $0.83
2020        Disposition                                          diligence materials (.1)
December    Asset                   12/15/20 AEP             390 finalize first draft of purchase and sale agreement for single-family homes and transmit same          0.6     0.01275       $4.97
2020        Disposition                                          to K. Duff and receivership broker for review and comment (.6)
December    Asset                   12/15/20 JR              140 review additional master rent roll and update sale related to single family homes (.5)                 0.5    0.010625       $1.49
2020        Disposition
December    Asset                   12/15/20 JR              140 Review emails from property management regarding requested property reports and update                 0.4      0.0085       $1.19
2020        Disposition                                          electronic files related to single family home portfolio (.4)
December    Asset                   12/17/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              8.3    0.176375      $68.79
2020        Disposition                                          properties owned by corporate entity.


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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
December    Asset                   12/18/20 AEP             390 Teleconference with J. Rak regarding preparation for sales of single-family home portfolio            1.0     0.02125        $8.29
2020        Disposition                                          and all issues associated with deed preparation, applications for transfer stamps, and value
                                                                 allocations on title commitments (1.0)
December    Asset                   12/18/20 JR              140 exchange correspondence with accounting firm about completion of various 1099 forms                   0.3    0.006375        $0.89
2020        Disposition                                          related to the single family homes for different entities (.3)
December    Asset                   12/18/20 JR              140 Exchange correspondence with broker regarding allocation values of the single family homes            0.2     0.00425        $0.60
2020        Disposition                                          (.2)
December    Asset                   12/18/20 JR              140 draft water applications for single family homes (4.1)                                                4.1    0.087125       $12.20
2020        Disposition
December    Asset                   12/19/20 AEP             390 prepare title examiner's worksheets relating to single family residence portfolio for all             3.6      0.0765       $29.84
2020        Disposition                                          properties owned by certain corporate entities (3.6).
December    Asset                   12/21/20 AEP             390 Teleconference with title company regarding numerous issues associated with preparation               0.3    0.006375        $2.49
2020        Disposition                                          of title commitment for single-family home portfolio (.3)
December    Asset                   12/21/20 JR              140 review email from the title company and provide requested information regarding closing               0.1    0.002125        $0.30
2020        Disposition                                          documents related to all single family homes (.1)
December    Asset                   12/21/20 JR              140 begin drafting closing checklist for single family homes in preparation for closing (.8)              0.8       0.017        $2.38
2020        Disposition
December    Business                12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.                0.2 0.0019048          $0.74
2020        Operations
December    Business                12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                  0.4 0.0044944          $1.75
2020        Operations
December    Business                12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                      0.1 0.0009524          $0.37
2020        Operations                                           accounting reports and preparation of draft September reports (.1).
December    Business                12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and            2.1         0.02       $7.80
2020        Operations                                           related financial reporting from property managers (2.1).
December    Business                12/09/20 KMP             140 Prepare request for funds transfer to financing company for payment of insurance premium              0.4 0.0075472          $1.06
2020        Operations                                           financing and communications with K. Duff and bank representatives regarding same (.4)

December    Business                12/10/20 ED              390 continue review of June property accounting reports (1.2)                                             1.2 0.0114286          $4.46
2020        Operations
December    Business                12/10/20 ED              390 Email correspondence with accountant regarding additional documentation necessary for                 0.1 0.0009524          $0.37
2020        Operations                                           preparation of September property accounting reports (.1)
December    Business                12/10/20 ED              390 begin review of July accounting reports, and analysis of related financial reporting from             2.6 0.0247619          $9.66
2020        Operations                                           property managers (2.6).
December    Business                12/16/20 ED              390 review of accounting reports and related property manager financial reports (1.5).                    1.5 0.0142857          $5.57
2020        Operations
December    Business                12/16/20 ED              390 Email correspondence with accountant regarding reflection of restoration transfers in                 1.2 0.0114286          $4.46
2020        Operations                                           accounting reports (.7), and review of related reporting and financial records (.5)

December    Business                12/17/20 ED              390 call with accountant regarding calculation and reporting of restoration amounts from and to           0.9 0.0085714          $3.34
2020        Operations                                           properties (.9).
December    Business                12/18/20 ED              390 Review revised draft reports from accountant, and analysis of applicable calculations and             0.4 0.0038095          $1.49
2020        Operations                                           changes (.4)


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  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
December    Business                12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                   0.2 0.0019048         $0.74
2020        Operations
December    Business                12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance               0.2 0.0037736         $0.53
2020        Operations                                       premium financing and communicate with K. Duff regarding same (.2)
December    Business                12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance                0.2 0.0037736         $0.53
2020        Operations                                       premium financing and communicate with K. Duff and bank representatives regarding same
                                                             (.2)
December    Business                12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                  0.4 0.0038095         $1.49
2020        Operations                                       of insurable values based on property sales, refunds and adjustments to premium finance
                                                             agreements, and updates to schedule of properties.
December    Business                12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                        0.2 0.0019048         $0.74
2020        Operations                                       premium finance agreement payments to reflect sold properties, and timing of refunds
                                                             relating to same.
December    Claims                  12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                          0.2 0.0022472         $0.58
2020        Administration
            & Objections

December    Claims                  12/09/20 JRW         260 study investor claims against single family residence properties and related analysis to K.             0.6     0.01275       $3.32
2020        Administration                                   Duff and A. Porter (.6).
            & Objections

January     Asset                   01/06/21 KBD         390 draft correspondence to A. Porter regarding sale of single family residence portfolio (single           0.1    0.002125       $0.83
2021        Disposition                                      family) (.1).
January     Asset                   01/13/21 KBD         390 exchange correspondence with real estate broker and A. Porter regarding single family                   0.4      0.0085       $3.32
2021        Disposition                                      portfolio questions (single family) (.4).
January     Asset                   01/14/21 KBD         390 Exchange correspondence with real estate broker regarding information about offers and                  0.2     0.00425       $1.66
2021        Disposition                                      planning for review (single family) (.2)
January     Asset                   01/15/21 KBD         390 study correspondence regarding offers for single family residence portfolios (single family)            0.2     0.00425       $1.66
2021        Disposition                                      (.2).
January     Asset                   01/15/21 KBD         390 Exchange correspondence with real estate broker regarding due diligence information for                 0.2     0.00425       $1.66
2021        Disposition                                      single family residence portfolio (single family) and exchange correspondence with J. Rak
                                                             regarding same (.2)
January     Asset                   01/18/21 KBD         390 Confer with real estate broker and counsel regarding offers on sale of single family residence          0.9    0.019125       $7.46
2021        Disposition                                      portfolio (single family) (.9)
January     Asset                   01/18/21 KBD         390 study offers and summary (single family) (.4)                                                           0.4      0.0085       $3.32
2021        Disposition
January     Asset                   01/20/21 KBD         390 attention to offers for single family residence portfolio (single family) (.1).                         0.1    0.002125       $0.83
2021        Disposition
January     Asset                   01/21/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale process issues and                 0.1    0.002125       $0.83
2021        Disposition                                      offers (single family) (.1)
January     Asset                   01/21/21 KBD         390 telephone conference with lenders' counsel, real estate broker, M. Rachlis, and A. Porter               0.4      0.0085       $3.32
2021        Disposition                                      regarding sale process, offers, and related issues (single family) (.4)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
January     Asset                   01/21/21 KBD             390 telephone conference and exchange correspondence with real estate broker regarding sale                  0.2     0.00425       $1.66
2021        Disposition                                          process and offers (single family) (.2)
January     Asset                   01/21/21 KBD             390 Telephone conference with real estate broker and counsel regarding sale of single family                 0.6     0.01275       $4.97
2021        Disposition                                          residence properties (single family) (.6)
January     Asset                   01/21/21 KBD             390 follow up call regarding sale of single family residence properties with M. Rachlis, A. Porter,          0.4      0.0085       $3.32
2021        Disposition                                          and asset manager (single family) (.4)
January     Asset                   01/22/21 KBD             390 telephone conference with and draft correspondence to claimant's counsel regarding offers                0.1    0.002125       $0.83
2021        Disposition                                          and negotiations (single family) (.1)
January     Asset                   01/22/21 KBD             390 Telephone conference with real estate broker regarding negotiation with potential buyer                  0.2     0.00425       $1.66
2021        Disposition                                          (single family) (.2)
January     Asset                   01/22/21 KBD             390 exchange correspondence with A. Porter and M. Rachlis regarding sale negotiations (single                0.2     0.00425       $1.66
2021        Disposition                                          family) (.2).
January     Asset                   01/25/21 KBD             390 Exchange correspondence with real estate broker regarding communication with lender's                    0.2     0.00425       $1.66
2021        Disposition                                          counsel and change of potential buyer's interests (single family).
January     Asset                   01/27/21 KBD             390 Exchange correspondence regarding sale of single family portfolio (single family) and                    0.2     0.00425       $1.66
2021        Disposition                                          revisions to contract.
January     Asset                   01/29/21 KBD             390 exchange correspondence with A. Porter regarding communication from buyer relating to                    0.2     0.00425       $1.66
2021        Disposition                                          sale and inspection (single family) (.2)
January     Asset                   01/29/21 KBD             390 exchange correspondence with broker regarding inspections (single family) (.1)                           0.1    0.002125       $0.83
2021        Disposition
January     Asset                   01/29/21 KBD             390 Review and execute sales agreement for single family residence portfolio (single family) (.2)            0.2     0.00425       $1.66
2021        Disposition
January     Business                01/04/21 KBD             390 Exchange correspondence with E. Duff regarding fund restoration.                                         0.2 0.0019048         $0.74
2021        Operations
January     Business                01/11/21 KBD             390 study property manager financial reports (.4)                                                            0.4 0.0097561         $3.80
2021        Operations
January     Business                01/11/21 KBD             390 attention to payment of property and general liability insurance (.3).                                   0.3 0.0057692         $2.25
2021        Operations
January     Business                01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property                 0.2 0.0019048         $0.74
2021        Operations                                           expenses.
January     Claims                  01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                       0.1 0.0009524         $0.37
2021        Administration                                       relating to accounting reports (.1).
            & Objections

January     Asset                   01/05/21 AEP             390 prepare e-mails to property managers for single-family homes regarding abstention from                   0.1    0.002125       $0.83
2021        Disposition                                          capital repairs absent consent of receiver (single family) (.1).
January     Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                  2.2 0.0203704         $2.85
2021        Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                 properties in receivership and previously acquired and sold properties and update
                                                                 EquityBuild portfolio spreadsheet.
January     Asset                   01/06/21 AEP             390 update title company spreadsheet with value allocations for each property (single family) (.3)           0.3    0.006375       $2.49
2021        Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January     Asset                   01/06/21 JR              140 Review email from real estate associate requesting updated due diligence documents                   0.1    0.002125       $0.30
2021        Disposition                                          related to marketing of single family homes (single family) (.1)
January     Asset                   01/06/21 JR              140 request same from property management regarding single family homes (single family) (.1).            0.1    0.002125       $0.30
2021        Disposition
January     Asset                   01/07/21 JR              140 Review email from property management related to single family homes and review of due               0.2     0.00425       $0.60
2021        Disposition                                          diligence documents regarding same (single family).
January     Asset                   01/08/21 AEP             390 teleconference with title underwriter regarding single-family home title exceptions being            0.1    0.002125       $0.83
2021        Disposition                                          waived on risk (single family) (.1).
January     Asset                   01/11/21 JR              140 exchange correspondence with brokerage firm advising of all requested due diligence                  0.1    0.002125       $0.30
2021        Disposition                                          document updates related to single family homes (single family) (.1).
January     Asset                   01/11/21 JR              140 review due diligence documents for all single family homes, update electronic files and              3.1    0.065875       $9.22
2021        Disposition                                          update master rent roll and property folders requested by broker (single family) (3.1)

January     Asset                   01/11/21 JR              140 follow up communication with property management regarding updates to due diligence                  0.1    0.002125       $0.30
2021        Disposition                                          documents related to single family homes (single family) (.1)
January     Asset                   01/11/21 JR              140 update electronic files for same (single family) (.4)                                                0.4      0.0085       $1.19
2021        Disposition
January     Asset                   01/11/21 JR              140 exchange correspondence with property management requesting missing items (single                    0.2     0.00425       $0.60
2021        Disposition                                          family) (.2)
January     Asset                   01/13/21 AEP             390 Teleconference with J. Rak regarding responses to inquiries from broker regarding single-            0.4      0.0085       $3.32
2021        Disposition                                          family home portfolio (single family) (.4)
January     Asset                   01/13/21 AEP             390 reorganize all single-family home files into tranches consistent with deeds and title                0.8       0.017       $6.63
2021        Disposition                                          commitments (single family) (.8).
January     Asset                   01/13/21 AEP             390 finalize purchase and sale contract for conveyance of single-family home portfolio and               0.5    0.010625       $4.14
2021        Disposition                                          transmit same to receivership broker (single family) (.5)
January     Asset                   01/13/21 JR              140 review property tax balances and update outstanding tax report related to all single family          2.1    0.044625       $6.25
2021        Disposition                                          homes and remaining unsold multi-family homes (single family) (2.1).

January     Asset                   01/13/21 JR              140 Review email from brokerage firm related to requested items related to single family homes           0.3    0.006375       $0.89
2021        Disposition                                          and respond accordingly (single family) (.3)
January     Asset                   01/13/21 JR              140 exchange correspondence with brokerage firm providing requested information related to               0.6     0.01275       $1.79
2021        Disposition                                          single family homes (single family) (.6)
January     Asset                   01/13/21 JR              140 telephone call with A. Porter regarding requested items related to the single family home            0.5    0.010625       $1.49
2021        Disposition                                          portfolio (single family) (.5)
January     Asset                   01/13/21 JR              140 exchange correspondence with property management requesting due diligence items                      0.2     0.00425       $0.60
2021        Disposition                                          related to single family homes (single family) (.2)
January     Asset                   01/15/21 JR              140 Review email from brokerage firm, confer with K. Duff and respond accordingly (single                0.1    0.002125       $0.30
2021        Disposition                                          family) (.1)
January     Asset                   01/18/21 MR              390 Review email regarding summary and issues for single family home sales (single family) (.2)          0.2     0.00425       $1.66
2021        Disposition
January     Asset                   01/18/21 MR              390 meeting on single family home sale (single family) (.9).                                             0.9    0.019125       $7.46
2021        Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January     Asset                   01/21/21 AEP             390 conference call with receivership brokers, counsel for secured lenders, K. Duff, and M.                0.4      0.0085       $3.32
2021        Disposition                                          Rachlis regarding outcome of marketing effort for single family homes and next steps in sales
                                                                 process (single family) (.4)
January     Asset                   01/21/21 AEP             390 teleconference with K. Duff, M. Rachlis, and real estate broker regarding single-family home           0.4      0.0085       $3.32
2021        Disposition                                          marketing efforts (single family) (.4)
January     Asset                   01/21/21 AEP             390 Conference call with receivership brokers regarding results of "highest and best" bid                  0.5    0.010625       $4.14
2021        Disposition                                          submissions in connection with single-family home portfolio, bases for potentially low offer
                                                                 prices, and strategy for proceeding (single family) (.5)
January     Asset                   01/21/21 AEP             390 review title commitments for all single-family homes and create list of encumbrances                   0.6     0.01275       $4.97
2021        Disposition                                          potentially requiring hold harmless letters or other clearance (single family) (.6).

January     Asset                   01/21/21 JR              140 Telephone conference with K. Duff, M. Rachlis, A. Porter and brokerage firm regarding final            0.6     0.01275       $1.79
2021        Disposition                                          and best offers from interested buyers related to single family homes (single family) (.6)

January     Asset                   01/21/21 MR              390 Attention to single family home issues with real estate broker (single family) (.6)                    0.6     0.01275       $4.97
2021        Disposition
January     Asset                   01/21/21 MR              390 conference regarding process with claimant's counsel and regarding single family home                  0.4      0.0085       $3.32
2021        Disposition                                          portfolio (single family) (.4)
January     Asset                   01/21/21 MR              390 follow up conference with K. Duff and A. Porter regarding single family home issues (single            0.3    0.006375       $2.49
2021        Disposition                                          family) (.3)
January     Asset                   01/22/21 JR              140 draft water applications for the single-family homes (single family) (2.5)                             2.5    0.053125       $7.44
2021        Disposition
January     Asset                   01/27/21 AEP             390 Review rider to purchase and sale agreement tendered by prospective purchaser of single-               0.4      0.0085       $3.32
2021        Disposition                                          family homes and prepare e-mail to K. Duff regarding lack of corporate existence of signatory
                                                                 to agreement (single family) (.4)
January     Business                01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                           0.1 0.0009524         $0.37
2021        Operations
January     Business                01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                   0.5 0.0047619         $1.86
2021        Operations
January     Business                01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                         0.3 0.0028571         $1.11
2021        Operations                                           properties, and email correspondence with K. Duff regarding same (.3)
January     Business                01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                       4.1 0.0390476         $5.47
2021        Operations
January     Business                01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond                  0.1 0.0009524         $0.13
2021        Operations                                           accordingly regarding status review of same (.1)
January     Business                01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October                 0.2 0.0019048         $0.27
2021        Operations                                           and November 2020 and forward same to her.
January     Business                01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                   1.3    0.012381       $4.83
2021        Operations                                           property (1.3).
January     Business                01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                        1.9 0.0180952         $7.06
2021        Operations
January     Business                01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                       0.1 0.0009524         $0.13
2021        Operations                                           reporting (.1).


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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
January     Business                01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                         2.4 0.0228571         $3.20
2021        Operations
January     Business                01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              3.4    0.032381      $12.63
2021        Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January     Business                01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration              0.9 0.0085714         $3.34
2021        Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                 expenditures, and final reporting from property managers with respect to sold properties.

January     Business                01/11/21 KMP             140 Prepare form for transfer of funds to financing company for insurance premium installment,           0.4 0.0076923         $1.08
2021        Operations                                           and communicate with bank representatives and K. Duff regarding same (.4)

January     Business                01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and              0.6 0.0057143         $2.23
2021        Operations                                           corrections necessary.
January     Business                01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for               0.3 0.0028571         $1.11
2021        Operations                                           analysis of reimbursable amounts owed, and review of related correspondence and
                                                                 documents.
January     Business                01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                 0.4 0.0038095         $1.49
2021        Operations
January     Business                01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review                0.3 0.0028571         $1.11
2021        Operations                                           (.3).
January     Business                01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration             1.7 0.0161905         $6.31
2021        Operations                                           and reimbursable amounts as of September 31, 2020 (1.7)
January     Business                01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021        Operations                                           transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                 with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January     Business                01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                         0.1 0.0009524         $0.37
2021        Operations
January     Business                01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021        Operations                                           prepare same as per E. Duff's request.
January     Business                01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021        Operations                                           allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                 insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                 property sales (.5)
January     Business                01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021        Operations                                           properties (.6)
January     Business                01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021        Operations                                           and effect on data presented in September accounting reports (.4)

January     Business                01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021        Operations


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
January     Business                01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect              0.8    0.007619       $2.97
2021        Operations                                           updates (.8)
January     Business                01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,               1.7 0.0161905         $6.31
2021        Operations                                           and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                 email correspondence with accountants and J. Rak (.4).

January     Business                01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                     1.7 0.0161905         $6.31
2021        Operations                                           reports (1.7)
January     Business                01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).                 0.4 0.0038095         $0.53
2021        Operations
January     Business                01/27/21 KMP             140 Prepare form for funds transfer to financing company for payment of insurance premium                  0.4 0.0076923         $1.08
2021        Operations                                           installment and communicate with bank representative and K. Duff regarding same.

January     Business                01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance               0.4 0.0076923         $1.08
2021        Operations                                           premium financing, and forward to K. Duff.
January     Claims                  01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                   0.6 0.0057143         $0.80
2021        Administration                                       lenders.
            & Objections

February    Asset                   02/03/21 KBD             390 exchange correspondence with J. Rak regarding accounts for single family properties (single            0.1    0.002125       $0.83
2021        Disposition                                          family) (.1).
February    Asset                   02/03/21 KBD             390 study correspondence from broker regarding communication with buyer regarding terms                    0.1    0.002125       $0.83
2021        Disposition                                          (single family) (.1)
February    Asset                   02/04/21 KBD             390 Exchange correspondence with A. Porter regarding proposed rider to PSA (single family).                0.2     0.00425       $1.66
2021        Disposition
February    Asset                   02/05/21 KBD             390 attention to negotiation with buyer of single family portfolio (single family) (.3).                   0.3    0.006375       $2.49
2021        Disposition
February    Asset                   02/06/21 KBD             390 Study correspondence from A. Porter regarding negotiation with buyer of single family                  0.2     0.00425       $1.66
2021        Disposition                                          portfolio (single family).
February    Asset                   02/08/21 KBD             390 Exchange correspondence regarding resolving due diligence issue with single family                     0.6     0.01275       $4.97
2021        Disposition                                          residence portfolio sale and related conference with A. Porter and real estate broker (single
                                                                 family) (.6)
February    Asset                   02/09/21 KBD             390 Telephone conference with A. Porter regarding single family residence portfolio negotiations           0.5    0.010625       $4.14
2021        Disposition                                          with buyer and exchange additional correspondence (single family) (.5)

February    Asset                   02/10/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding revisions to                   0.3    0.006375       $2.49
2021        Disposition                                          purchase and sale agreement and related communications with purchaser's counsel (single
                                                                 family).
February    Asset                   02/12/21 KBD             390 Telephone conference and exchange correspondence with A. Porter and broker regarding                   0.2     0.00425       $1.66
2021        Disposition                                          negotiation with purchaser (single family) (.2)
February    Asset                   02/16/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.1    0.002125       $0.83
2021        Disposition                                          agreement changes (single family) (.1)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                    Hours        Fees
February    Asset                   02/17/21 KBD         390 Exchange correspondence with A. Porter regarding execution of purchase and sale                    0.1    0.002125       $0.83
2021        Disposition                                      agreement (single family) (.1)
February    Asset                   02/23/21 KBD         390 attention to joint order escrow instructions (single family) (.1).                                 0.1    0.002125       $0.83
2021        Disposition
February    Asset                   02/23/21 KBD         390 Exchange correspondence regarding sale and inspections (single family) (.1)                        0.1    0.002125       $0.83
2021        Disposition
February    Asset                   02/24/21 KBD         390 Attention to wire of earnest money and communications with purchaser and broker (single            0.2     0.00425       $1.66
2021        Disposition                                      family).
February    Business                02/02/21 KBD         390 Exchange correspondence regarding real estate tax planning (.2)                                    0.2 0.0040816         $1.59
2021        Operations
February    Business                02/08/21 KBD         390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)             0.2 0.0040816         $1.59
2021        Operations
February    Business                02/10/21 KBD         390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                 0.4 0.0093023         $3.63
2021        Operations                                       Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                             Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                             1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue) (.4).

February    Business                02/11/21 KBD         390 exchange correspondence with J. Wine regarding property manager financial reporting (.1).          0.1      0.0025       $0.98
2021        Operations
February    Business                02/15/21 KBD         390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S               0.3 0.0069767         $2.72
2021        Operations                                       Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                             Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                             1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue) (.3).




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
February    Business                02/15/21 KBD             390 exchange correspondence with J. Rak regarding property tax balances and study information             0.2 0.0040816         $1.59
2021        Operations                                           (.2)
February    Claims                  02/11/21 KBD             390 work on single claims process and timing (.3)                                                         0.3 0.0107143         $4.18
2021        Administration
            & Objections

February    Claims                  02/12/21 KBD             390 confer with J. Wine and M. Rachlis regarding single claim process (.5).                               0.5 0.0178571         $6.96
2021        Administration
            & Objections

February    Claims                  02/12/21 KBD             390 work on single claims process and timing (.3)                                                         0.3 0.0107143         $4.18
2021        Administration
            & Objections

February    Claims                  02/16/21 KBD             390 exchange correspondence with J. Wine regarding process for single claim properties and                0.2 0.0071429         $2.79
2021        Administration                                       study compiled information (.2).
            & Objections

February    Claims                  02/16/21 KBD             390 Exchange correspondence with lenders' counsel regarding real estate taxes (4611-17 S Drexel           0.2 0.0010625         $0.41
2021        Administration                                       Boulevard, 7255-57 S Euclid Avenue, 638-40 N Avers Avenue, single family) (.2)
            & Objections

February    Asset                   02/02/21 AEP             390 Conference with J. Rak regarding all outstanding items associated with all properties                 2.1    0.044625      $17.40
2021        Disposition                                          currently subject to motions to confirm and strategy for preparation of closing documents
                                                                 associated with prospective conveyance of single-family home portfolio (single family) (2.1)

February    Asset                   02/02/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                   0.3    0.006375       $2.49
2021        Disposition                                          negotiation of inspection contingency in language of purchase and sale agreement (single
                                                                 family) (.3).
February    Asset                   02/02/21 JR              140 Discuss single family home production of document status and draft same (single family).              2.5    0.053125       $7.44
2021        Disposition
February    Asset                   02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for              0.2     0.00085       $0.12
2021        Disposition                                          net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                 Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February    Asset                   02/04/21 AEP             390 Read proposed rider submitted by prospective purchaser of single-family home portfolio,               0.4      0.0085       $3.32
2021        Disposition                                          edit and revise same, and transmit to broker with explanation for refusal to make certain
                                                                 changes (single family).
February    Asset                   02/04/21 MR              390 attention to single family home issues (single family) (.2).                                          0.2     0.00425       $1.66
2021        Disposition
February    Asset                   02/05/21 AEP             390 Teleconference with receivership broker regarding remaining disputed issues pertaining to             0.2     0.00425       $1.66
2021        Disposition                                          buyer inspection contingency rights in single-family home purchase and sale contract (single
                                                                 family).


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours        Fees
February    Asset                   02/06/21 AEP             390 Read and respond to e-mail from counsel for secured lenders regarding status of negotiation              0.1    0.002125       $0.83
2021        Disposition                                          of purchase and sale contract associated with conveyance of single-family home portfolio
                                                                 (single family) (.1)
February    Asset                   02/06/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3    0.006375       $2.49
2021        Disposition                                          potential modifications to contract pertaining to inspection contingency rights (single family)
                                                                 (.3).
February    Asset                   02/08/21 AEP             390 conference call with counsel for prospective purchaser of single-family home portfolio                   0.9    0.019125       $7.46
2021        Disposition                                          regarding potential resolution of impasse over due diligence language in form purchase and
                                                                 sale agreement (single family) (.6) and preparation of e-mail to receiver and receivership
                                                                 brokers describing impasse and soliciting input on potential solutions (single family) (.3)

February    Asset                   02/09/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.1    0.002125       $0.83
2021        Disposition                                          regarding agreed changes to inspection contingency provision of purchase and sale contract
                                                                 (single family) (.1)
February    Asset                   02/09/21 AEP             390 teleconference with K. Duff regarding status of negotiations over purchase and sale of single-           0.2     0.00425       $1.66
2021        Disposition                                          family homes (single family) (.2).
February    Asset                   02/10/21 AEP             390 Prepare e-mail to receivership broker responding to inquiry regarding status of negotiation              0.2     0.00425       $1.66
2021        Disposition                                          of purchase and sale agreement associated with single-family home portfolio (single family)
                                                                 (.2)
February    Asset                   02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                        0.2 0.0041667         $0.58
2021        Disposition
February    Asset                   02/12/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.3    0.006375       $2.49
2021        Disposition                                          regarding purchaser's counteroffer relating to inspection contingency language and convey
                                                                 summary of deal status to K. Duff and receivership broker (single family) (.3)

February    Asset                   02/12/21 AEP             390 teleconference with K. Duff and receivership broker regarding relative merits of counteroffer            0.2     0.00425       $1.66
2021        Disposition                                          received from prospective purchaser of single family homes (single family) (.2)

February    Asset                   02/12/21 AEP             390 revise proposed purchase and sale agreement pertaining to single-family home portfolio and               0.2     0.00425       $1.66
2021        Disposition                                          transmit same to counsel for prospective purchaser (single family) (.2).

February    Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                  0.4 0.0036697         $0.51
2021        Disposition                                          and status of same (.4)
February    Asset                   02/12/21 JR              140 review current property tax information and payment availability from property                           0.2 0.0040816         $0.57
2021        Disposition                                          management and provide same to K. Duff (.2)
February    Asset                   02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                                 0.3 0.0061224         $0.86
2021        Disposition
February    Asset                   02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                   0.2 0.0041667         $0.58
2021        Disposition                                          property taxes (.2)
February    Asset                   02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                           0.2 0.0040816         $0.57
2021        Disposition                                          payment plan arrangement for same (.2).




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
February    Asset                   02/17/21 AEP             390 Review proposed modified purchase and sale contract submitted by prospective purchaser                  0.2     0.00425       $1.66
2021        Disposition                                          of single-family home portfolio and approve execution of same by receiver (single family) (.2)

February    Asset                   02/19/21 JR              140 update water applications for single family home portfolio with legal descriptions (single              1.2      0.0255       $3.57
2021        Disposition                                          family) (1.2)
February    Asset                   02/19/21 JR              140 draft zoning applications for single family home portfolio (single family) (3.1).                       3.1    0.065875       $9.22
2021        Disposition
February    Asset                   02/23/21 AEP             390 Teleconference with title insurance company escrow officer regarding form of SJO                        0.2     0.00425       $1.66
2021        Disposition                                          instructions associated with single-family home portfolio (single family) (.2)
February    Asset                   02/23/21 AEP             390 prepare SJO instructions associated with single-family home portfolio and circulate for                 0.1    0.002125       $0.83
2021        Disposition                                          signatures (single family) (.1)
February    Asset                   02/25/21 JR              140 review single family home purchase and sale contract and update closing documents with                  1.6       0.034       $4.76
2021        Disposition                                          buyer information (single family) (1.6).
February    Business                02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                             0.4 0.0081633         $1.14
2021        Operations                                           management requesting availability of same for payments of outstanding property taxes.

February    Business                02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation               0.2 0.0019048         $0.74
2021        Operations                                           of October 2020 accounting reports.
February    Business                02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,                 3.2 0.0304762         $4.27
2021        Operations                                           November and December and produce same in preparation for review.
February    Business                02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                   1.1 0.0104762         $4.09
2021        Operations
February    Business                02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                     3.6 0.0342857         $4.80
2021        Operations
February    Business                02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                               0.2 0.0019048         $0.27
2021        Operations
February    Business                02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial               0.3 0.0028571         $0.40
2021        Operations                                           reporting.
February    Business                02/26/21 KMP             140 Prepare form for funds transfer to finance company for property insurance installment                   0.3 0.0057692         $0.81
2021        Operations                                           payment, and communicate with K. Duff and bank representatives regarding same.

February    Claims                  02/12/21 JRW             260 conference with K. Duff and M. Rachlis regarding claims review project, claims distribution             1.5 0.0535714        $13.93
2021        Administration                                       project, and process for single-claim properties (1.5)
            & Objections

February    Claims                  02/16/21 JRW             260 perform analysis of properties with single claim and related correspondence to team (1.9).              1.9 0.0678571        $17.64
2021        Administration
            & Objections

March 2021 Asset                    03/01/21 KBD             390 attention to purchaser inspection of properties and exchange correspondence with real                   0.3    0.006375       $2.49
           Disposition                                           estate broker regarding efforts to complete sale (single family) (.3).
March 2021 Asset                    03/15/21 KBD             390 Draft correspondence to A. Porter regarding efforts to complete sale of properties (single              0.1    0.002125       $0.83
           Disposition                                           family).


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Asset                    03/17/21 KBD         390 Exchange correspondence with A. Porter regarding purchase and sale agreement                           0.1    0.002125       $0.83
           Disposition                                       amendment (single family) (.1)
March 2021 Asset                    03/22/21 KBD         390 Exchange correspondence with A. Porter regarding second amendment to purchase and sale                 0.1    0.002125       $0.83
           Disposition                                       agreement (single family).
March 2021 Asset                    03/26/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding buyer                          0.5    0.010625       $4.14
           Disposition                                       communication relating to conditions of single family residence (single family).
March 2021 Asset                    03/29/21 KBD         390 follow up call with real estate broker and A. Porter regarding buyer's request for credit and          1.3    0.027625      $10.77
           Disposition                                       available options (single family) (1.3)
March 2021 Asset                    03/29/21 KBD         390 Telephone conference with A. Porter regarding buyer request for credit (single family) (.2)            0.2     0.00425       $1.66
           Disposition
March 2021 Asset                    03/29/21 KBD         390 telephone conference with A. Porter regarding buyer's request for credit and available                 0.2     0.00425       $1.66
           Disposition                                       options (single family) (.2)
March 2021 Asset                    03/29/21 KBD         390 confer with real estate broker and A. Porter regarding buyer's request for credit and                  0.5    0.010625       $4.14
           Disposition                                       available options (single family) (.5)
March 2021 Asset                    03/30/21 KBD         390 Confer on multiple calls with real estate broker and A. Porter regarding negotiation over              0.7    0.014875       $5.80
           Disposition                                       buyer's request for credit and broker's commission (single family) (.7)

March 2021 Asset                    03/30/21 KBD         390 confer with lender's counsel and A. Porter regarding negotiation over buyer's request for              0.2     0.00425       $1.66
           Disposition                                       credit and broker's commission (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 further confer with real estate broker regarding negotiation over buyer's request for credit           0.2     0.00425       $1.66
           Disposition                                       and broker's commission and planning for closing (single family) (.2)
March 2021 Asset                    03/30/21 KBD         390 review amendments to sale agreement and commission agreement (single family) and                       0.2     0.00425       $1.66
           Disposition                                       related communication with A. Porter (single family) (.2)
March 2021 Asset                    03/31/21 KBD         390 exchange correspondence with A. Porter regarding allocations for single family portfolio               0.2     0.00425       $1.66
           Disposition                                       properties (single family) (.2).
March 2021 Asset                    03/31/21 KBD         390 exchange correspondence with A. Porter regarding second amendment to PSA and closing                   0.2     0.00425       $1.66
           Disposition                                       for sale of properties (single family) (.2)
March 2021 Business                 03/02/21 KBD         390 attention to property inspections (single family) (.1).                                                0.1    0.002125       $0.83
           Operations
March 2021 Business                 03/11/21 KBD         390 study other property manager financial reporting (.3).                                                 0.3 0.0076923         $3.00
           Operations




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2021 Business                 03/11/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.4         0.01       $3.90
           Operations                                        W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                             Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                             S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                             Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.4)


March 2021 Business                 03/15/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.5      0.0125        $4.88
           Operations                                        W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                             Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                             S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                             Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.5)


March 2021 Business                 03/16/21 KBD         390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816          $1.59
           Operations
March 2021 Business                 03/22/21 KBD         390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224          $2.39
           Operations                                        remaining properties.
March 2021 Business                 03/30/21 KBD         390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816          $1.59
           Operations
March 2021 Claims                   03/01/21 KBD         390 work on single claim process and exchange correspondence with J. Wine regarding process                0.3 0.0107143          $4.18
           Administration                                    issues (.3).
           & Objections

March 2021 Claims                   03/03/21 KBD         390 work on single claim process and study correspondence from J. Wine regarding process                   0.2 0.0071429          $2.79
           Administration                                    issues (.2)
           & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Claims                   03/11/21 KBD         390 study proposed process for single claim properties (.3)                                                0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                   03/11/21 KBD         390 confer and exchange correspondence with M. Rachlis and J. Wine regarding single claim                  1.2 0.0428571        $16.71
           Administration                                    properties single claim properties (1.2).
           & Objections

March 2021 Claims                   03/12/21 KBD         390 confer with J. Wine and A. Porter regarding potential single claim properties and related              0.8 0.0285714        $11.14
           Administration                                    issues (.8)
           & Objections

March 2021 Claims                   03/12/21 KBD         390 exchange correspondence regarding single claims process (.1).                                          0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Claims                   03/14/21 KBD         390 Analysis of single claim process (.3)                                                                  0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                   03/15/21 KBD         390 telephone conference with claimant's counsel and J. Wine regarding single claim properties             0.5 0.0178571         $6.96
           Administration                                    and process (.5)
           & Objections

March 2021 Claims                   03/19/21 KBD         390 Prepare for and participate in telephone conference with claimants counsel and J. Wine                 0.8       0.017       $6.63
           Administration                                    regarding single claim process and potential third path to claims resolution for certain
           & Objections                                      properties, sale of single family portfolio, and potential alternatives for claims resolution
                                                             (single family) (.8)
March 2021 Claims                   03/31/21 KBD         390 study correspondence from claimant's counsel regarding potential properties for single claim           0.2 0.0071429         $2.79
           Administration                                    process (.2)
           & Objections

March 2021 Claims                   03/31/21 KBD         390 study correspondence from J. Wine regarding single claim process (.1)                                  0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Asset                    03/01/21 AEP         390 Communications with buyer's counsel, lender's counsel, management companies, and                       0.4      0.0085       $3.32
           Disposition                                       brokers regarding prospective purchase and sale of single-family home portfolio regarding
                                                             property inspection process (single family) (.4)
March 2021 Asset                    03/01/21 AEP         390 teleconference with title company underwriters regarding status of transaction, status of              0.3    0.006375       $2.49
           Disposition                                       review of remaining exceptions to title, and potential closing date (single family) (.3).




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
March 2021 Asset                    03/17/21 AEP             390 Review and revise proposed amendment to purchase and sale contract pertaining to single-              0.2     0.00425       $1.66
           Disposition                                           family home portfolio and forward same to K. Duff for execution (single family).

March 2021 Asset                    03/23/21 JR              140 Review title commitments and legal descriptions for various parcels and draft closing                 1.8 0.1285714        $18.00
           Disposition                                           documents for single family homes related to EB South Chicago 1 LLC (1017 W 102nd Street,
                                                                 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue) (1.8)

March 2021 Asset                    03/23/21 JR              140 exchange correspondence with A. Porter regarding discrepancies found on the title                     0.2 0.0142857         $2.00
           Disposition                                           commitment and missing legal descriptions regarding same (1017 W 102nd Street, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                                 Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                 S Parnell Avenue) (.2).
March 2021 Asset                    03/24/21 AEP             390 Conference call with N. Gastevich and J. Rak regarding status of preparation of closing               0.2     0.00425       $1.66
           Disposition                                           documents associated with properties in tenth and eleventh motions to confirm sales, as
                                                                 well as single-family home portfolio (single family).
March 2021 Asset                    03/24/21 JR              140 Draft closing documents for single family homes (single family).                                      6.6     0.14025      $19.64
           Disposition
March 2021 Asset                    03/29/21 AEP             390 teleconference with receivership brokers regarding strategy for responding to single-family           0.5    0.010625       $4.14
           Disposition                                           home offer received from prospective purchaser (single family) (.5)
March 2021 Asset                    03/29/21 AEP             390 Review letter from counsel for prospective purchaser of single-family home portfolio                  1.8     0.03825      $14.92
           Disposition                                           requesting credits for alleged undisclosed latent defects, review all inspection reports
                                                                 associated with corresponding alleged defects, teleconference with K. Duff regarding
                                                                 potential response to purchaser, and teleconference with counsel for prospective purchaser
                                                                 regarding timing of response, timing of response to title commitment exception letter, and
                                                                 timing of motion to confirm and potential scheduling of closing (single family) (1.8)

March 2021 Asset                    03/29/21 AEP             390 teleconference with receivership brokers to analyze credit requests and formulate strategy            1.3    0.027625      $10.77
           Disposition                                           for responding to single- family home offer received (single family) (1.3).

March 2021 Asset                    03/29/21 AEP             390 teleconference with K. Duff regarding offer from prospective purchaser of single family               0.2     0.00425       $1.66
           Disposition                                           homes (single family) (.2)
March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding strategy for negotiating with          0.3    0.006375       $2.49
           Disposition                                           prospective purchaser of single-family homes (single family) (.3)
March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding proposed offer of credit in            0.2     0.00425       $1.66
           Disposition                                           connection with prospective sale of single-family homes (single family) (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
March 2021 Asset                    03/30/21 AEP             390 continued series of conference calls with receivership brokers, counsel for secured lender,             1.5    0.031875      $12.43
           Disposition                                           and K. Duff regarding negotiation of resolution to purchase price credit demanded by
                                                                 prospective purchaser of single-family homes (single family) (1.5).

March 2021 Asset                    03/30/21 AEP             390 teleconference with K. Duff and counsel for secured lender regarding strategy for negotiating           0.2     0.00425       $1.66
           Disposition                                           resolution of impasse with prospective purchaser of single-family homes (single family) (.2)

March 2021 Asset                    03/30/21 JR              140 Review amendments to purchase and sale contract related to properties (single family) (.1)              0.1    0.002125       $0.30
           Disposition
March 2021 Asset                    03/30/21 JR              140 exchange correspondence with A. Porter requesting update to single family home purchase                 0.1    0.002125       $0.30
           Disposition                                           and sale contract status relating to the inspection period (single family) (.1).

March 2021 Asset                    03/30/21 KMP             140 Revise correspondence relating to amendment of representation agreement for single family               0.3    0.006375       $0.89
           Disposition                                           homes, and communicate with K. Duff and A. Porter regarding same (single family) (.3)

March 2021 Asset                    03/31/21 AEP             390 prepare e-mail to counsel for secured lenders on single-family home portfolio regarding                 0.2     0.00425       $1.66
           Disposition                                           need for allocation of sales proceeds among individual properties prior to filing motion to
                                                                 confirm (single family) (.2)
March 2021 Asset                    03/31/21 AEP             390 teleconference with J. Rak regarding imminent execution of single-family home portfolio                 0.1    0.002125       $0.83
           Disposition                                           purchase and sale agreement and preparation of closing documentation (single family) (.1)

March 2021 Asset                    03/31/21 AEP             390 Begin preparation of thirteenth motion to confirm sale of single-family home portfolio (single          0.8       0.017       $6.63
           Disposition                                           family) (.8)
March 2021 Asset                    03/31/21 AEP             390 continue preparation of thirteenth motion to confirm sale of single-family home portfolio               0.7    0.014875       $5.80
           Disposition                                           (single family) (.7)
March 2021 Asset                    03/31/21 AEP             390 review proposed revisions to draft second amendment to purchase and sale agreement                      0.5    0.010625       $4.14
           Disposition                                           relating to single-family home portfolio, communicate with K. Duff regarding same, prepare
                                                                 second draft of second amendment, and transmit same to purchaser's counsel and
                                                                 receivership brokers (single family) (.5)
March 2021 Asset                    03/31/21 AEP             390 e-mail communications with K. Duff regarding negotiation of allocations of sales proceeds               0.1    0.002125       $0.83
           Disposition                                           among single-family home properties (single family) (.1)
March 2021 Asset                    03/31/21 AEP             390 prepare e-mail to receivership brokers regarding necessity of sworn declaration describing              0.2     0.00425       $1.66
           Disposition                                           marketing process of single-family home portfolio, including specific facts needed to support
                                                                 motion to confirm sale (single family) (.2)
March 2021 Asset                    03/31/21 JR              140 Exchange communication with A. Porter regarding property portfolio (single family) (.3)                 0.3    0.006375       $0.89
           Disposition
March 2021 Business                 03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                             2.2 0.0209524         $8.17
           Operations
March 2021 Business                 03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                      0.3 0.0028571         $1.11
           Operations
March 2021 Business                 03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                   0.7 0.0066667         $2.60
           Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
March 2021 Business                 03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                            0.1 0.0019231         $0.27
           Operations
March 2021 Business                 03/11/21 KMP             140 Attention to communication with property manager regarding February 2021 financial                  0.1      0.0025       $0.35
           Operations                                            reporting (.1)
March 2021 Business                 03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and            0.3 0.0057692         $0.81
           Operations                                            communications with K. Duff and bank representative regarding same (.3)

March 2021 Business                 03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048         $0.74
           Operations
March 2021 Business                 03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429         $2.40
           Operations                                            properties and produce same.
March 2021 Business                 03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524         $0.37
           Operations
March 2021 Claims                   03/01/21 JRW             260 confer with A. Porter regarding potential single claim properties (.1)                              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                   03/01/21 JRW             260 review transcript of proceedings and correspondence with K. Duff and M. Rachlis regarding           0.5    0.010625       $2.76
           Administration                                        process for addressing single-claim properties (single family) (.5)
           & Objections

March 2021 Claims                   03/01/21 MR              390 Attention to issues regarding claims process for handling single family claims, updates on          0.4      0.0085       $3.32
           Administration                                        claims information, and materials to claims vendor.
           & Objections

March 2021 Claims                   03/02/21 JRW             260 exchange correspondence with claimant's counsel regarding single claim properties (.1)              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW             260 confer with K. Duff and M. Rachlis regarding single claims process (.1)                             0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                   03/03/21 JRW             260 update spreadsheet and related email exchange with A. Porter regarding potential single             0.6 0.0214286         $5.57
           Administration                                        claim properties (.6)
           & Objections

March 2021 Claims                   03/03/21 JRW             260 cursory review of proposal for single claims process and related correspondence to K. Duff          0.1 0.0035714         $0.93
           Administration                                        and M. Rachlis (.1)
           & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
March 2021 Claims                   03/03/21 JRW         260 conference call with claimants' counsel regarding process for single-claim properties (.5)             0.5 0.0178571         $4.64
           Administration
           & Objections

March 2021 Claims                   03/11/21 MR          390 Participate in call regarding single claims issues (1.5)                                               1.5 0.0535714        $20.89
           Administration
           & Objections

March 2021 Claims                   03/11/21 MR          390 review material regarding same (.4).                                                                   0.4 0.0142857         $5.57
           Administration
           & Objections

March 2021 Claims                   03/12/21 JRW         260 Conference with A. Porter, and K. Duff regarding single-claim properties and EBF mortgagees            1.6 0.0615385        $16.00
           Administration                                    (1.1), related correspondence with claimants' counsel (.1), and review records on Recorder
           & Objections                                      of Deeds site and related correspondence to K. Duff and A. Porter (.4) (1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                   03/12/21 JRW         260 correspond with K. Duff regarding claims against single family residence portfolio (single             0.1    0.002125       $0.55
           Administration                                    family) (.1).
           & Objections

March 2021 Claims                   03/15/21 JRW         260 prepare for and telephone conference with claimant's counsel and K. Duff regarding process             0.7 0.0269231         $7.00
           Administration                                    for the resolution of claims against properties (.5), and related legal research (.2) (1017 W
           & Objections                                      102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                             11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
March 2021 Claims                   03/19/21 JRW         260 telephone conference with claimants' counsel regarding process for single-claim properties             1.0 0.0384615         $10.00
           Administration                                    (.8) and related review of spreadsheets regarding EBF mortgagees (.2) (1017 W 102nd Street,
           & Objections                                      1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                   03/23/21 JRW         260 research recorder of deeds site and claim submission regarding purported single claim                  2.5 0.0961538         $25.00
           Administration                                    properties identified by claimant and update spreadsheet regarding same (1017 W 102nd
           & Objections                                      Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                             7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                             11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (2.5)

March 2021 Claims                   03/31/21 JRW         260 study chart from claimants' counsel and related analysis to K. Duff (.4) and continue                  1.3         0.05      $13.00
           Administration                                    analyzing claims against properties (.9) (1017 W 102nd Street, 1516 E 85th Place, 2136 W
           & Objections                                      83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                             6759 S Indiana Avenue).

April 2021   Asset                  04/02/21 KBD         390 Study allocations of value, costs, and commission and various related correspondence (single           0.2     0.00425        $1.66
             Disposition                                     family).
April 2021   Asset                  04/05/21 KBD         390 Work on motion to approve sale and exchange related correspondence (single family) and                 0.3    0.006375        $2.49
             Disposition                                     exchange related correspondence with A. Porter.
April 2021   Asset                  04/06/21 KBD         390 study and revise motion to approve sale and exchange various related correspondence                    0.5    0.010625        $4.14
             Disposition                                     (single family) (.5).
April 2021   Asset                  04/06/21 KBD         390 Exchange correspondence with A. Porter regarding closing costs and efforts to reduce (single           0.2     0.00425        $1.66
             Disposition                                     family) (.2)
April 2021   Asset                  04/07/21 KBD         390 study draft motion to approve sale of single family residence portfolio (single family) (.2).          0.2     0.00425        $1.66
             Disposition
April 2021   Asset                  04/07/21 KBD         390 Telephone conference with A. Porter regarding draft motion to approve sale of single family            0.2     0.00425        $1.66
             Disposition                                     residence portfolio, communications with lender's counsel, property values, closing credits,
                                                             and allocations (single family) (.2)


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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Asset                  04/08/21 KBD         390 Work on motion to approve sale of properties (single family).                                          0.2     0.00425       $1.66
             Disposition
April 2021   Asset                  04/09/21 KBD         390 Exchange correspondence with A. Porter regarding revision to and filing of motion to                   0.2     0.00425       $1.66
             Disposition                                     approve sale of properties (single family).
April 2021   Asset                  04/10/21 KBD         390 Exchange correspondence regarding filing and service of motion to approve sale of                      0.2     0.00425       $1.66
             Disposition                                     properties (single family).
April 2021   Asset                  04/12/21 KBD         390 Exchange various correspondence regarding filing of motion to approve sale of properties               0.2     0.00425       $1.66
             Disposition                                     (single family).
April 2021   Asset                  04/15/21 KBD         390 Exchange correspondence with J. Rak regarding property value allocation (single family).               0.2     0.00425       $1.66
             Disposition
April 2021   Asset                  04/26/21 KBD         390 exchange correspondence regarding single family residence motion and plans for entry of                0.2     0.00425       $1.66
             Disposition                                     order (single family) (.2).
April 2021   Asset                  04/27/21 KBD         390 attention to issues on properties relating to sale (6554 S Rhodes Avenue, 2129 W 71st Street,          0.1 0.0333333        $13.00
             Disposition                                     417 Oglesby Avenue) (.1).
April 2021   Asset                  04/27/21 KBD         390 Work on single family residence motion and entry of order (single family) (.1)                         0.1    0.002125       $0.83
             Disposition
April 2021   Business               04/06/21 KBD         390 Study correspondence from E. Duff regarding accounting reports for lender (single family).             0.2     0.00425       $1.66
             Operations
April 2021   Business               04/13/21 KBD         390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,                0.3 0.0066667         $2.60
             Operations                                      7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                             Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                             Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                             1414-18 East 62nd Place) (.3)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                      Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                             East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham) (.2)


April 2021   Business               04/13/21 KBD         390 exchange correspondence with J. Rak regarding planning for and payment of real estate                0.3     0.00625       $2.44
             Operations                                      taxes and related communications with property manager (.3)
April 2021   Business               04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                      property managers regarding to same (1.0)
April 2021   Business               04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                      7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                             62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Business               04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-            0.3 0.0065217         $2.54
             Operations                                      06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                             1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3)

April 2021   Business               04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                      insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                             Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.8)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Business               04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business               04/29/21 KBD         390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                      J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                             85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                             Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                             S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                             W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                             Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                             2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                             1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                             East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated    Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours         Fees
April 2021   Business               04/30/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444          $1.73
             Operations                                      Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Claims                 04/05/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0052632          $2.05
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen
             & Objections                                    Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th
                                                             Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.1)

April 2021   Claims                 04/07/21 KBD         390 Confer with J. Wine regarding single claims properties and process (1017 W 102nd Street,             0.6 0.0315789         $12.32
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen
             & Objections                                    Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th
                                                             Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                             71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue).

April 2021   Claims                 04/08/21 KBD         390 study chart, spreadsheet, and mortgage record regarding single claim properties and process          0.3 0.0107143          $4.18
             Administration                                  and exchange related correspondence (.3)
             & Objections

April 2021   Claims                 04/09/21 KBD         390 confer with J. Wine, A. Porter, M. Rachlis regarding scope of properties for single claim            1.9          0.1      $39.00
             Administration                                  process (1017 W 102nd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                    Avenue, 8403 S Aberdeen Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S
                                                             Throop Street, 406 E 87th Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                             Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                             8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue) (1.9)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
April 2021   Claims                 04/13/21 KBD         390 study analysis of lender properties potentially subject to single claim process and exchange           0.6 0.0315789        $12.32
             Administration                                  related correspondence with J. Wine (1017 W 102nd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                    Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street, 9212 S Parnell Avenue,
                                                             10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th Place, 6825 S Indiana Avenue,
                                                             7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue) (.6)

April 2021   Claims                 04/14/21 KBD         390 Telephone conference with SEC (.8)                                                                     0.8 0.0285714        $11.14
             Administration
             & Objections

April 2021   Claims                 04/15/21 KBD         390 study correspondence from J. Wine regarding single claim process (.3).                                 0.3 0.0107143         $4.18
             Administration
             & Objections

April 2021   Claims                 04/21/21 KBD         390 study correspondence from claimant's counsel regarding single claim properties (.1).                   0.1 0.0035714         $1.39
             Administration
             & Objections

April 2021   Claims                 04/26/21 KBD         390 work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,              0.3 0.0115385         $4.50
             Administration                                  417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette
             & Objections                                    Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S
                                                             Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E
                                                             87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                             Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                             8517 S Vernon Avenue,2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue) (.3)

April 2021   Claims                 04/28/21 KBD         390 Telephone conference with J. Wine in preparation for call with claimants' counsel regarding            0.1 0.0035714         $1.39
             Administration                                  process for single claim properties (.1)
             & Objections

April 2021   Claims                 04/28/21 KBD         390 draft correspondence to claimants' counsel regarding call and planning for process for single          0.1 0.0035714         $1.39
             Administration                                  claim properties and exchange related correspondence (.1).
             & Objections




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2021   Claims                 04/29/21 KBD             390 telephone conference with J. Wine regarding potential lender properties to be included in             0.4 0.0153846         $6.00
             Administration                                      single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
             & Objections                                        Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell
                                                                 Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E 87th
                                                                 Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                                 Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S
                                                                 Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.4)

April 2021   Claims                 04/29/21 KBD             390 review spreadsheets, property and claims information, and various correspondence relating             0.5 0.0192308         $7.50
             Administration                                      to potential lender properties to be included in single claim process (1017 W 102nd Street,
             & Objections                                        1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                 Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                                 Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                 Woodlawn Avenue, 6759 S Indiana Avenue) (.5).

April 2021   Claims                 04/30/21 KBD             390 study correspondence and information regarding single claim properties (1017 W 102nd                  0.2 0.0153846         $6.00
             Administration                                      Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                        7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue,
                                                                 7110 S Cornell Avenue) (.2)
April 2021   Asset                  04/01/21 AEP             390 communications with prospective purchaser of single-family homes regarding earnest                    0.1    0.002125       $0.83
             Disposition                                         money wiring instructions (single family) (.1)
April 2021   Asset                  04/01/21 AEP             390 Review title commitment for each property in single-family home portfolio, create list of             4.2     0.08925      $34.81
             Disposition                                         special exceptions requiring attention and create exhibit to forthcoming motion to confirm
                                                                 identifying all encumbrances on all 38 properties (single family) (4.2)

April 2021   Asset                  04/01/21 AEP             390 teleconference with counsel for secured lenders regarding process for allocating values               0.6     0.01275       $4.97
             Disposition                                         across all individual properties in single-family home portfolio (single family) (.6)

April 2021   Asset                  04/01/21 AEP             390 prepare communications to property managers regarding restrictions on new leases and                  0.1    0.002125       $0.83
             Disposition                                         building security at single-family homes (single family) (.1)
April 2021   Asset                  04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                      0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                  04/02/21 AEP             390 review spreadsheet prepared by title company, communicate with K. Duff regarding                      0.8       0.017       $6.63
             Disposition                                         estimate of fire damage sustained at single-family home property, merge spreadsheets,
                                                                 prepare final draft of proposed allocations of value of single-family homes, and transmit
                                                                 same to title company and lender's counsel requesting prompt review and finalization (single
                                                                 family) (.8)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                          Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                           Hours        Fees
April 2021   Asset                  04/02/21 AEP         390 review chain of title for every single property in single-family home portfolio and compile list          4.1    0.087125      $33.98
             Disposition                                     of all mortgage encumbrances against same in connection with finalization of title
                                                             commitments and preparation of motion to confirm sale (single family) (4.1).

April 2021   Asset                  04/02/21 AEP         390 prepare spreadsheet of single-family homes, review purchaser's inspection contingency price               1.2      0.0255       $9.95
             Disposition                                     reduction demands, confer with K. Duff, and create proposed allocations of value for
                                                             inclusion in thirteenth motion to confirm sales (single family) (1.2)

April 2021   Asset                  04/02/21 AEP         390 communications with lenders' counsel regarding methodology for allocating values of single-               0.2     0.00425       $1.66
             Disposition                                     family home properties (single family) (.2)
April 2021   Asset                  04/05/21 AEP         390 prepare first draft of brokers declaration regarding single-family home marketing process                 0.4      0.0085       $3.32
             Disposition                                     (single family) (.4)
April 2021   Asset                  04/05/21 AEP         390 continue preparing motion to confirm sale of single-family homes and accompanying                         1.6       0.034      $13.26
             Disposition                                     exhibits (single family) (1.6)
April 2021   Asset                  04/05/21 JRW         260 related review of offering memorandum (single family) (.1)                                                0.1    0.002125       $0.55
             Disposition
April 2021   Asset                  04/05/21 JRW         260 Review and revise 13th motion to confirm sales (single family) (.3)                                       0.3    0.006375       $1.66
             Disposition
April 2021   Asset                  04/06/21 AEP         390 review offering memorandum relating to single-family home portfolio and revise sworn                      0.2     0.00425       $1.66
             Disposition                                     declaration of receivership broker (single family) (.2)
April 2021   Asset                  04/06/21 AEP         390 teleconference with title company regarding final computation of agency fees and                          0.2     0.00425       $1.66
             Disposition                                     mechanics and timeline for closing of single-family homes portfolio (single family) (.2)

April 2021   Asset                  04/06/21 AEP         390 incorporate J. Wine's comments into draft motion to confirm sale of single-family home                    0.1    0.002125       $0.83
             Disposition                                     portfolio (single family) (.1)
April 2021   Asset                  04/06/21 AEP         390 teleconferences with title underwriters regarding various approaches to structuring closing               0.4      0.0085       $3.32
             Disposition                                     of single-family portfolio sale (single family) (.4)
April 2021   Asset                  04/06/21 AEP         390 communications with M. Rachlis and K. Duff regarding valuation methodology relating to                    0.2     0.00425       $1.66
             Disposition                                     motion to confirm sale of single-family home portfolio (single family) (.2)

April 2021   Asset                  04/06/21 AEP         390 teleconference with title underwriters regarding additional issues associated with closing of             0.3    0.006375       $2.49
             Disposition                                     sale of single-family homes, including allocations of closing costs and proof of notice to
                                                             affected mortgagees (single family) (.3)
April 2021   Asset                  04/06/21 AEP         390 review all title exceptions by prospective purchaser of single-family homes, research same,               3.8     0.08075      $31.49
             Disposition                                     and prepare comprehensive list of remaining action items associated with requirement to
                                                             convey clean title (single family) (3.8).
April 2021   Asset                  04/06/21 AEP         390 continue preparation of motion to confirm sales of single-family homes portfolio, including               2.1    0.044625      $17.40
             Disposition                                     preparation of proposed order, preparation of remaining exhibits, final reconciliation of
                                                             declaration of receivership broker with factual assertions in brief, assemble all
                                                             documentation, and forward to receiver with request for final comments (single family) (2.1)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                             Allocated   Allocated
             Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                           Keeper                                                                                                                              Hours        Fees
April 2021   Asset                  04/06/21 JR              140 review email from A. Porter regarding zoning certificates for single family homes, update                    1.8     0.03825       $5.36
             Disposition                                         same and further correspond with the title company requesting to process in anticipation for
                                                                 closing (single family) (1.8).
April 2021   Asset                  04/06/21 MR              390 Attention to 13th sales motion (single family) (.2) communicate regarding same with A.                       0.4      0.0085       $3.32
             Disposition                                         Porter and other team members on methodology for single family homes (single family) (.2).

April 2021   Asset                  04/07/21 AEP             390 teleconference with K. Duff regarding final allocation issues associated with motion to                      0.2     0.00425       $1.66
             Disposition                                         confirm sale of single-family home portfolio (single family) (.2)
April 2021   Asset                  04/07/21 AEP             390 make final edits to motion to confirm sale of single-family home portfolio, assemble all                     0.5    0.010625       $4.14
             Disposition                                         exhibits, and transmit to counsel for institutional lender for final review prior to filing (single
                                                                 family) (.5).
April 2021   Asset                  04/08/21 AEP             390 Communications with title company regarding processing of zoning certificates for single-                    0.2     0.00425       $1.66
             Disposition                                         family homes, correction of errors regarding unit counts, and timing of processing of water
                                                                 certificates (single family) (.2)
April 2021   Asset                  04/08/21 AEP             390 finalize response to counsel for prospective purchaser of single-family home portfolio                       0.4      0.0085       $3.32
             Disposition                                         regarding special exceptions to be deleted from title commitment (single family) (.4)

April 2021   Asset                  04/08/21 AEP             390 prepare comprehensive e-mail memorandum to title underwriter regarding basis for                             0.8       0.017       $6.63
             Disposition                                         deletion of numerous special exceptions on title to single-family home portfolio (single
                                                                 family) (.8)
April 2021   Asset                  04/08/21 AEP             390 review final signed declaration from receivership broker, audit and finalize all exhibits to                 0.3    0.006375       $2.49
             Disposition                                         motion to confirm sale of single-family home portfolio, and deliver final motion papers to K.
                                                                 Duff for filing and service (single family) (.3)
April 2021   Asset                  04/08/21 JR              140 Review single family homes due diligence documents in preparation for closing and update                     1.1    0.023375       $3.27
             Disposition                                         electronic files (single family).
April 2021   Asset                  04/09/21 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents (single-                     0.3 0.0015938         $0.62
             Disposition                                         family, 4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue) (.3)

April 2021   Asset                  04/09/21 JR              140 exchange correspondence with buyer requesting buyer information required for upcoming                        0.2     0.00425       $0.60
             Disposition                                         closings (single family) (.2)
April 2021   Asset                  04/12/21 AW              140 Review thirteenth sale motion and prepare notice of motion and certificate of service for                    0.7    0.014875       $2.08
             Disposition                                         title company (single family) (.7)
April 2021   Asset                  04/12/21 AW              140 email exchange regarding filing of thirteenth sale motion, finalize motion, file with court, and             0.4      0.0085       $1.19
             Disposition                                         communicate with K. Duff regarding service of same (single family) (.4)

April 2021   Asset                  04/12/21 AW              140 prepare service email and serve as per certificate of service (single family) (.4).                          0.4      0.0085       $1.19
             Disposition
April 2021   Asset                  04/12/21 KMP             140 Communications with K. Duff and A. Watychowicz regarding thirteenth motion to approval                       0.2     0.00425       $0.60
             Disposition                                         property sales and related affidavit of service requested by title company (single family).

April 2021   Asset                  04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and                   0.1 0.0009524         $0.13
             Disposition                                         payment of same (see D) (.1)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
April 2021   Asset                  04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                0.1 0.0009524         $0.13
             Disposition                                         amounts and respond accordingly (see D) (.1)
April 2021   Asset                  04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with             1.3 0.0265306         $3.71
             Disposition                                         K. Duff regarding same (see E) (1.3)
April 2021   Asset                  04/13/21 JR              140 exchange correspondence with buyer regarding requested buyer information related to                    0.1    0.002125       $0.30
             Disposition                                         closings (single family) (.1)
April 2021   Asset                  04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-              0.3 0.0028571         $0.40
             Disposition                                         reconciliation amounts (see D) (.3)
April 2021   Asset                  04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                 1.4 0.0133333         $1.87
             Disposition                                         with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                  04/14/21 JR              140 update closing documents related to the single family home portfolio (single family) (2.8).            2.8      0.0595       $8.33
             Disposition
April 2021   Asset                  04/14/21 JR              140 review additional due diligence documents related to single family homes (single family) (.5)          0.5    0.010625       $1.49
             Disposition
April 2021   Asset                  04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                    0.2 0.0040816         $0.57
             Disposition                                         tax balances that remain in the EquityBuild estate (see E) (.2)
April 2021   Asset                  04/15/21 AEP             390 Comprehensive and final review and inventory of all exceptions to title on single-family               2.3    0.048875      $19.06
             Disposition                                         home portfolio, preparation of final checklist, and transmit same to title company
                                                                 underwriter with request for teleconference (single family) (2.3)
April 2021   Asset                  04/15/21 JR              140 update master spreadsheet portfolio with value allocations related to single family homes              0.5    0.010625       $1.49
             Disposition                                         (single family) (.5)
April 2021   Asset                  04/15/21 JR              140 review email from K. Duff requesting updated spreadsheet related to purchase price, sale               0.7    0.014875       $2.08
             Disposition                                         price and single family home value allocations related to all properties, further related
                                                                 correspondence with A. Porter and prepare report regarding value allocations (single family)
                                                                 (.7)
April 2021   Asset                  04/15/21 JR              140 update water applications for single family homes (single family) (2.6).                               2.6     0.05525       $7.74
             Disposition
April 2021   Asset                  04/16/21 JR              140 exchange correspondence with buyer requesting buyer information related to water bills for             0.2     0.00425       $0.60
             Disposition                                         single family homes (single family) (.2)
April 2021   Asset                  04/16/21 JR              140 review email from title company related to processed water applications for single family              0.1 0.0007083         $0.10
             Disposition                                         homes and other properties scheduled to close and update electronic files (single family,
                                                                 4611-17 S Drexel Boulevard, 7024-32 S Paxton Avenue) (.1)

April 2021   Asset                  04/16/21 JR              140 Update water applications for single family homes (single family) (1.3)                                1.3    0.027625       $3.87
             Disposition
April 2021   Asset                  04/16/21 JR              140 review email from property management related to review of tax payments regarding past                 1.3 0.0265306         $3.71
             Disposition                                         due and current property tax payments, save in electronic files and update spreadsheet
                                                                 regarding same (see E) (1.3)
April 2021   Asset                  04/16/21 JR              140 update buyer information on water applications for single family homes (single family) (1.7).          1.7    0.036125       $5.06
             Disposition
April 2021   Asset                  04/19/21 AEP             390 review latest revised title commitments on single-family home portfolio and save in files              0.1    0.002125       $0.83
             Disposition                                         (single family) (.1).


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
April 2021   Asset                  04/19/21 AEP             390 Teleconference with title company underwriter regarding requests for waiver of assorted               0.7    0.014875        $5.80
             Disposition                                         special exceptions to title commitments on single-family home portfolio (single family) (.7)

April 2021   Asset                  04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of              0.2 0.0040816          $0.57
             Disposition                                         EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                  04/20/21 AEP             390 communications with prospective purchaser of single-family homes regarding projected                  0.2     0.00425        $1.66
             Disposition                                         closing timeline (single family) (.2)
April 2021   Asset                  04/26/21 JR              140 review email from A. Porter related to obtaining releases related to single family homes in           0.1    0.002125        $0.30
             Disposition                                         preparation for closing and respond accordingly (single family) (.1).
April 2021   Asset                  04/27/21 AEP             390 review zoning certificates received on various single-family home properties and                      0.2     0.00425        $1.66
             Disposition                                         communicate with J. Rak regarding filing and inventorying of same (single family) (.2).

April 2021   Asset                  04/27/21 AEP             390 Cursory review of judicial order approving motion to confirm sale of single-family home               0.2     0.00425        $1.66
             Disposition                                         portfolio and distribute same to brokers, title underwriters, buyers, buyers' counsel, and
                                                                 counsel for institutional lenders (single family) (.2)
April 2021   Asset                  04/27/21 AW              140 Communicate with J., Wine regarding proposed order granting thirteenth sale motion, work              0.5    0.010625        $1.49
             Disposition                                         to finalize order, and email J. Wine regarding same (single family).
April 2021   Asset                  04/27/21 JR              140 exchange correspondence with various parties at the City of Calumet City related to closing           1.2          1.2     $168.00
             Disposition                                         requirements for property (417 Oglesby Avenue) (1.2)
April 2021   Asset                  04/27/21 JR              140 Follow up correspondence with buyer requesting buyer information in anticipation of                   0.2     0.00425        $0.60
             Disposition                                         closings (single family) (.2)
April 2021   Asset                  04/27/21 JR              140 review the required documents needed to be submitted to the city, update electronic files             0.5          0.5      $70.00
             Disposition                                         and further exchange correspondence with A. Porter regarding same (417 Oglesby Avenue)
                                                                 (.5)
April 2021   Asset                  04/27/21 JRW             260 related correspondence to courtroom deputy regarding entry of order (single family) (.3).             0.3    0.006375        $1.66
             Disposition
April 2021   Asset                  04/27/21 JRW             260 Finalize proposed order granting 13th sales motion (single family) (.4)                               0.4      0.0085        $2.21
             Disposition
April 2021   Asset                  04/28/21 AEP             390 E-mail communications with title underwriter regarding inability to obtain releases of prior          0.2    0.002125        $0.83
             Disposition                                         security documents (5437 S Laflin Street) (.1), e-mail communications with J. Rak regarding
                                                                 inability to obtain new borrower information from prospective purchaser of single-family
                                                                 homes and need to update title commitments (single family) (.1)

April 2021   Asset                  04/28/21 JR              140 complete the property inspection report relating to property (417 Oglesby Avenue) and                 0.2          0.2      $28.00
             Disposition                                         further related correspondence with buyer's counsel (.2)
April 2021   Asset                  04/28/21 JR              140 Exchange communication with buyer relating to scheduling of properties for closing (single            0.5    0.010625        $1.49
             Disposition                                         family) (.5)
April 2021   Asset                  04/28/21 JR              140 exchange correspondence with vendor requesting processing of water certifications                     0.1    0.002125        $0.30
             Disposition                                         regarding properties (single family) (.1)
April 2021   Asset                  04/28/21 KMP             140 Prepare check for property inspection and communicate with J. Rak and K. Duff regarding               0.2          0.2      $28.00
             Disposition                                         same (417 Oglesby Avenue).




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
April 2021   Asset                  04/29/21 JR              140 further correspond with the title company regarding water applications (single family) (.3)              0.3    0.006375        $0.89
             Disposition
April 2021   Asset                  04/29/21 JR              140 exchange correspondence with the title company requesting updates to the title                           0.3    0.006375        $0.89
             Disposition                                         commitments for properties (single family) (.3)
April 2021   Asset                  04/29/21 JR              140 submit water applications to the title company regarding water applications (single family)              0.6     0.01275        $1.79
             Disposition                                         (.6)
April 2021   Asset                  04/29/21 JR              140 review email from vendor regarding obtaining water certifications for properties and related             0.2     0.00425        $0.60
             Disposition                                         correspondence with A. Porter (single family) (.2)
April 2021   Asset                  04/30/21 AEP             390 review assignment of purchase and sale contract associated with single-family home                       0.3    0.006375        $2.49
             Disposition                                         portfolio and update receivership spreadsheet tying each property to each prospective
                                                                 purchaser (single family) (.3)
April 2021   Asset                  04/30/21 AEP             390 review water certificates received for all properties in EB South Chicago 1 and EB South                 0.2 0.0068966          $2.69
             Disposition                                         Chicago 2 (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue) and update closing checklists (.2)

April 2021   Asset                  04/30/21 AEP             390 review value allocations for single-family homes for listing purposes and value allocations per          0.6     0.01275        $4.97
             Disposition                                         agreement with secured lenders, and include information in portfolio spreadsheet (single
                                                                 family) (.6).
April 2021   Asset                  04/30/21 JR              140 review email from buyer regarding requested inspection application related to property (417              0.2          0.2      $28.00
             Disposition                                         Oglesby Avenue) and request further information regarding inspection application (417
                                                                 Oglesby Avenue) (.2)
April 2021   Asset                  04/30/21 JR              140 exchange correspondence with property management requesting updated rent rolls for                       0.2 0.0042553          $0.60
             Disposition                                         remainder of properties in the estate regarding property insurance renewal (see A) (.2)

April 2021   Asset                  04/30/21 JR              140 review email from property management regarding requested property reports related to                    0.2 0.0042553          $0.60
             Disposition                                         the property insurance renewals (see A) (.2)
April 2021   Asset                  04/30/21 JR              140 review requested water certification and update electronic files for properties (single family)          0.6     0.01275        $1.79
             Disposition                                         (.6)
April 2021   Business               04/05/21 ED              390 begin review drafts of November accounting reports for 14 properties (1017 W 102nd Street,               0.2 0.0142857          $5.57
             Operations                                          1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                 Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue) (.2)

April 2021   Business               04/05/21 ED              390 and related email correspondence with K. Duff and M. Rachlis (.2).                                       0.2 0.0047619          $1.86
             Operations




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
April 2021   Business               04/05/21 ED              390 review and reply to lender's counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd             0.3 0.0071429         $2.79
             Operations                                          Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                 Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                 Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S
                                                                 Laflin Street, 6759 S Indiana Avenue, 9610 S Woodlawn Avenue, 7300-04 St Lawrence
                                                                 Avenue, 7760 S Coles Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                 Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 8214-16 S
                                                                 Ingleside Avenue) regarding financial reporting (.3)


April 2021   Business               04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                    0.1 0.0009524         $0.13
             Operations                                          respond accordingly (.1)
April 2021   Business               04/07/21 JR              140 review November property financial reports (1.5).                                                     1.5 0.0142857         $2.00
             Operations
April 2021   Business               04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional            0.2 0.0040816         $0.57
             Operations                                          funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business               04/09/21 JR              140 Review property financial reports.                                                                    3.2 0.0304762         $4.27
             Operations
April 2021   Business               04/27/21 SZ              110 Email communication with property manager to obtain list of repairs associated with SFH-              2.4 0.1714286        $18.86
             Operations                                          Trench 1 properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 S
                                                                 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                                 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S
                                                                 Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Ave), SFH-
                                                                 Tranch 2 properties (10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street,
                                                                 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S
                                                                 Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue,
                                                                 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon
                                                                 Avenue) to review and retrieve repair documentation.

April 2021   Business               04/29/21 JR              140 exchange correspondence with K. Duff regarding property insurance (see A) (.1).                       0.1 0.0021277         $0.30
             Operations
April 2021   Business               04/29/21 JR              140 Review email from K. Duff related to property insurance renewal workbook and make                     1.1 0.0234043         $3.28
             Operations                                          requested updates to same (see A) (1.1)
April 2021   Business               04/30/21 JR              140 Exchange correspondence with J. Wine and E. Duff regarding names of institutional lenders             0.2 0.0042553         $0.60
             Operations                                          as additional insured relating to property insurance renewal (See A).

April 2021   Business               04/30/21 JRW             260 email exchange with J. Rak and E. Duff regarding injured parties on insurance policies (.1).          0.1 0.0021277         $0.55
             Operations


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
April 2021   Claims                 04/05/21 JRW         260 correspondence with claimant's counsel regarding proposed claims process (.1)                        0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                 04/07/21 JRW         260 telephone conference with K. Duff regarding claims process (1017 W 102nd Street, 417                 0.6 0.0315789         $8.21
             Administration                                  Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street,
             & Objections                                    9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th Place, 6825
                                                             S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                             9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.6)

April 2021   Claims                 04/09/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding competing claims under                2.1    0.044625      $17.40
             Administration                                  varying factual scenarios in connection with single-family home portfolio (single family).
             & Objections

April 2021   Claims                 04/13/21 JRW         260 correspondence with claimants' counsel regarding claims process for single claim properties          0.3 0.0107143         $2.79
             Administration                                  and related exchange with K. Duff (.3)
             & Objections

April 2021   Claims                 04/13/21 JRW         260 continued analysis of properties with single claim (1516 E 85th Place, 2136 W 83rd Street,           2.0 0.0714286        $18.57
             Administration                                  7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
             & Objections                                    Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 417 Oglesby Avenue, 7925 S Kingston Avenue, 2129 W 71st Street, 1017 W
                                                             102nd Street, 8403 S Aberdeen Street, 8432 S Essex Avenue, 10012 S LaSalle Avenue, 3213 S
                                                             Throop Street, 406 E 87th Place, 7712 S Euclid Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 6759 S Indiana Avenue, 8346 S Constance Avenue, 9212 S Parnell Avenue,
                                                             8107 S Kingston Avenue, 8517 S Vernon Avenue, 9610 S Woodlawn Avenue) and prepare
                                                             related spreadsheet (2.0)

April 2021   Claims                 04/13/21 MR          390 attention to emails regarding single claims process (.2).                                            0.2 0.0071429         $2.79
             Administration
             & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
April 2021   Claims                 04/14/21 AEP         390 Review spreadsheet of claim types relating to mortgages, research title for each property,            2.0 0.0571429        $22.29
             Administration                                  and prepare list of corrections (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,
             & Objections                                    417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                             Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 7300-04 S St Lawrence
                                                             Avenue, 7760 S Coles Avenue).

April 2021   Claims                 04/15/21 JRW         260 telephone conference with claimants' counsel regarding liens against single claim properties          1.1 0.0392857        $10.21
             Administration                                  (1.1)
             & Objections

April 2021   Claims                 04/15/21 JRW         260 review proposed procedures addressing single claims against properties from claimants'                0.3 0.0107143         $2.79
             Administration                                  counsel and related analysis to K. Duff (.3)
             & Objections

April 2021   Claims                 04/28/21 JRW         260 email exchange with claimants' counsel regarding process for single claims (.1)                       0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                 04/28/21 JRW         260 telephone conference with K. Duff in preparation for call with claimants' counsel regarding           0.1 0.0035714         $0.93
             Administration                                  process for single claim properties (.1)
             & Objections

April 2021   Claims                 04/29/21 JRW         260 telephone conference with claimants' counsel regarding proposed process for single claim              0.5 0.0178571         $4.64
             Administration                                  properties (.5)
             & Objections

April 2021   Claims                 04/30/21 JRW         260 study proposed process for single claim properties and standard discovery, prepare notes              2.2 0.0785714        $20.43
             Administration                                  regarding response to same, related telephone conferences with K. Duff, and related
             & Objections                                    correspondence to claimants' counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                             Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                             6759 S Indiana Avenue, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (2.2).




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021    Asset                   05/06/21 KBD         390 exchange correspondence with J. Rak regarding sale of properties and segregated accounts              0.2     0.00425       $1.66
            Disposition                                      (single family) (.2).
May 2021    Asset                   05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455         $1.77
            Disposition                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021    Asset                   05/17/21 KBD         390 review update of closings from J. Rak (single family, 7255 S Euclid Avenue, 6217-27 S                 0.1 0.0005313         $0.21
            Disposition                                      Dorchester Avenue, 7237-43 S Bennett Avenue) (.1).
May 2021    Asset                   05/20/21 KBD         390 telephone conference with J. Rak regarding problems with purchaser and obtaining                      0.2     0.00425       $1.66
            Disposition                                      necessary documents for closing, including relating to unique municipality issues (single
                                                             family) (.2).
May 2021    Asset                   05/20/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding water payment and transfer             0.2     0.00425       $1.66
            Disposition                                      tax payments and logistics for closing (single family) (.2)
May 2021    Asset                   05/21/21 KBD         390 attention to closing costs and related correspondence (single family) (.1).                           0.1    0.002125       $0.83
            Disposition
May 2021    Asset                   05/24/21 KBD         390 Exchange correspondence with J. Rak regarding closing proceeds and allocation issues (single          0.2     0.00425       $1.66
            Disposition                                      family).
May 2021    Asset                   05/25/21 KBD         390 Work with Andrew Porter and Justyna Rak on closing documents (single family) (1.5)                    1.5    0.031875      $12.43
            Disposition
May 2021    Asset                   05/26/21 KBD         390 exchange correspondence regarding sale proceeds, segregated accounts, and allocations                 0.1    0.002125       $0.83
            Disposition                                      (single family) (.1).
May 2021    Asset                   05/27/21 KBD         390 telephone conference with and study correspondence from title company representative                  0.3    0.006375       $2.49
            Disposition                                      and exchange correspondence with bank representative regarding transfer of closing
                                                             proceeds (single family) (.3).
May 2021    Asset                   05/27/21 KBD         390 Exchange correspondence regarding deposit of sale proceeds and allocation (single family)             0.2     0.00425       $1.66
            Disposition                                      (.2)
May 2021    Asset                   05/28/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and J. Rak regarding                  0.6     0.01275       $4.97
            Disposition                                      closing and disbursement of funds for sale of portfolio of properties (single family) (.6)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
May 2021    Business                05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W                0.3 0.0066667         $2.60
            Operations                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                             Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).

May 2021    Business                05/04/21 KBD         390 Work on insurance renewal and draft correspondence to broker regarding updated                        0.3    0.006383       $2.49
            Operations                                       information (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham, 11318 S Church
                                                             Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                             2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 417
                                                             Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.3)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
May 2021    Business                05/05/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding                          0.2 0.0042553         $1.66
            Operations                                       comparison of rates (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham , 11318 S
                                                             Church Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W
                                                             71st Street, 2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             417 Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                             S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                             Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                             Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                             Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                             Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                             S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                             310 E 50th Street, 6807 S Indiana Avenue) (.2)


May 2021    Business                05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111         $4.33
            Operations                                       quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                             1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                             Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                             8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                             Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021    Business                05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516                0.5 0.0113636         $4.43
            Operations                                       E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                             Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                             Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                             Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.5)

May 2021    Business                05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
            Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)).

May 2021    Business                05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
            Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)).




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
May 2021    Business                05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East                 0.3 0.0068182         $2.66
            Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                             Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                             Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                             Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                             6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                             Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                             Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021    Business                05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties               0.1 0.0022727         $0.89
            Operations                                       (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                             Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                             8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                             Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                             S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                             87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                             Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                             Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                             50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                             Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                             S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)


May 2021    Business                05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
            Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                             Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                             Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                             6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                             Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                             S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                             Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                             7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                             Bingham (Houston, TX)) (.3).




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
May 2021    Claims                  05/06/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0035714         $1.39
            Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
            & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.1)

May 2021    Claims                  05/07/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            0.2 0.0071429         $2.79
            Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
            & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021    Claims                  05/10/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            4.0 0.1428571        $55.71
            Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
            & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (4.0)

May 2021    Claims                  05/11/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            3.5       0.125      $48.75
            Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
            & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                             Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                             Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                             Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                             Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                             Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (3.5)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2021    Claims                  05/11/21 KBD             390 telephone conferences with J. Wine regarding single claim process (1017 W 102nd Street,               0.3 0.0107143          $4.18
            Administration                                       1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
            & Objections                                         Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (.3)
May 2021    Claims                  05/11/21 KBD             390 confer with M. Rachlis and J. Wine regarding single claim process (1017 W 102nd Street,               1.7 0.0607143         $23.68
            Administration                                       1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
            & Objections                                         Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (1.7)
May 2021    Claims                  05/12/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             0.3 0.0107143          $4.18
            Administration                                       417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
            & Objections                                         Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                 Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                 Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                 Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                 Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021    Asset                   05/03/21 JR              140 review numerous emails from the title company [W. Peca at Chicago Title] related to water             0.7    0.014875        $2.08
            Disposition                                          certificates and update electronic files regarding single family homes (single family) (.7).

May 2021    Asset                   05/04/21 JR              140 Exchange correspondence with buyer and buyer's counsel requesting property inspection                 0.2          0.2      $28.00
            Disposition                                          documents in preparation for closing (417 Oglesby Avenue).
May 2021    Asset                   05/05/21 JR              140 exchange correspondence with buyer requesting property inspection forms in anticipation of            0.1    0.002125        $0.30
            Disposition                                          closing of single family homes (single family) (.1)
May 2021    Asset                   05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of              0.1 0.0002361          $0.03
            Disposition                                          property related to remaining unsold properties in the estate (See B) (.1)

May 2021    Asset                   05/06/21 AEP             390 Teleconference with J. Rak relating to form of preparation of each closing document and               0.9    0.019125        $7.46
            Disposition                                          remaining pre-closing tasks (single family) (.9)
May 2021    Asset                   05/06/21 JR              140 follow up correspondence with A. Porter relating to property inspection forms needed in               0.1          0.1      $14.00
            Disposition                                          preparation for closing (417 Oglesby Avenue) (.1)
May 2021    Asset                   05/06/21 JR              140 confer with A. Porter regarding the single family home status in preparation for closing              0.9    0.019125        $2.68
            Disposition                                          (single family) (.9)


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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2021    Asset                   05/06/21 JR              140 draft allocation summary report related to single family homes and produce to K. Pritchard             0.4      0.0085        $1.19
            Disposition                                          regarding wire instructions (single family) (.4)
May 2021    Asset                   05/06/21 JR              140 exchange correspondence with the underwriter requesting and providing closing details of               0.9    0.019125        $2.68
            Disposition                                          the single family homes (single family) (.9)
May 2021    Asset                   05/06/21 JR              140 review surveys for single family homes and request updates to same (single family) (.5).               0.5    0.010625        $1.49
            Disposition
May 2021    Asset                   05/06/21 JR              140 exchange correspondence with A. Porter regarding buyer requested information and other                 0.8       0.017        $2.38
            Disposition                                          pertinent information required for closing (single family) (.8)
May 2021    Asset                   05/06/21 JR              140 exchange correspondence with the title company requesting an update on the zoning                      0.1    0.002125        $0.30
            Disposition                                          certifications for the single family homes (single family) (.1)
May 2021    Asset                   05/06/21 JR              140 exchange correspondence with the real estate broker requesting a lien waiver for closing               0.1    0.002125        $0.30
            Disposition                                          (single family) (.1)
May 2021    Asset                   05/07/21 AEP             390 Correspondence with surveyor and title company regarding need for certifications on                    0.3    0.006375        $2.49
            Disposition                                          boundary surveys in non-commercial transactions and correspondence with surveyor
                                                                 regarding payment of invoices for surveys of single-family home properties (single family)
                                                                 (.3)
May 2021    Asset                   05/07/21 JR              140 review email from K. Pritchard regarding requested wire instructions related to upcoming               0.3    0.006375        $0.89
            Disposition                                          closings for the single family homes (single family) and update electronic files (.3).

May 2021    Asset                   05/07/21 JR              140 review email from real estate broker regarding commission statement for the single family              0.1    0.002125        $0.30
            Disposition                                          homes (single family) (.1)
May 2021    Asset                   05/07/21 JR              140 review numerous emails from the title company relating to single family home (single family)           0.9    0.019125        $2.68
            Disposition                                          zoning certificates and update electronic files regarding same (.9)
May 2021    Asset                   05/07/21 KMP             140 Revise table of accounts for single family properties to include missing account numbers and           0.3    0.006375        $0.89
            Disposition                                          forward table to J. Rak (single family).
May 2021    Asset                   05/10/21 JR              140 further communication with A. Porter and property management regarding property                        0.2          0.2      $28.00
            Disposition                                          inspection (417 Oglesby Avenue) (.2)
May 2021    Asset                   05/10/21 JR              140 Exchange communication with the City of Calumet City related to the property inspection in             0.2          0.2      $28.00
            Disposition                                          anticipation of closing (417 Oglesby Avenue) (.2)
May 2021    Asset                   05/10/21 JR              140 review emails from the title company regarding delivery of water certifications for single             0.2     0.00425        $0.60
            Disposition                                          family homes (single family) and save in electronic files (.2)
May 2021    Asset                   05/10/21 JR              140 further correspondence with A. Porter regarding status of closing documents related to the             0.1    0.002125        $0.30
            Disposition                                          single family homes (single family) (.1)
May 2021    Asset                   05/10/21 JR              140 review email from K. Duff requesting closing dates of properties (single family, 6749-59 S             0.1 0.0007083          $0.10
            Disposition                                          Merrill Avenue, 7110 S Cornell Avenue) (.1).
May 2021    Asset                   05/11/21 AEP             390 Review allocation table and create master grantor-grantee spreadsheet to outline process of            0.7    0.014875        $5.80
            Disposition                                          closing single-family home portfolio (single family) (.7)
May 2021    Asset                   05/11/21 AEP             390 identify all closing documents thus far assembled, including water and zoning certifications,          1.8     0.03825       $14.92
            Disposition                                          examiner's worksheets, and survey invoices, and rearrange all materials into appropriate
                                                                 tranche-specific folders (single family) (1.8)
May 2021    Asset                   05/11/21 AEP             390 correspondence with title company underwriter and escrow agent regarding mass closing                  0.2     0.00425        $1.66
            Disposition                                          process (single family) (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                             Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                           Keeper                                                                                                                              Hours         Fees
May 2021    Asset                   05/12/21 AEP             390 communications with J. Rak, title company underwriters, and buyers' counsel regarding                        0.5    0.010625        $4.14
            Disposition                                          purchase price and loan allocations and other closing coordination matters (single family)
                                                                 (.5).
May 2021    Asset                   05/12/21 AEP             390 Prepare closing documents for single-family home portfolio sale, including receiver's deeds,                 8.0         0.17      $66.30
            Disposition                                          broker lien waivers, property manager lien waivers, receiver's lien waivers, 1099s, and
                                                                 FIRPTAs (single family) (8.0)
May 2021    Asset                   05/12/21 JR              140 Telephone call with A. Porter delegation preparation of closing documents related to the                     0.5    0.010625        $1.49
            Disposition                                          single family home (single family) (.5)
May 2021    Asset                   05/12/21 JR              140 prepare closing documents for single family homes (single family) (4.7).                                     4.7    0.099875       $13.98
            Disposition
May 2021    Asset                   05/12/21 JR              140 review email from buyer's counsel related to a request for water certifications related to the               0.3    0.006375        $0.89
            Disposition                                          single family homes and produce same (single family) (.3)
May 2021    Asset                   05/13/21 AEP             390 prepare affidavits of title, bills of sale, and assignments and assumptions of leases for all sub-           5.3    0.112625       $43.92
            Disposition                                          tranches of single-family home sales (single family) (5.3).
May 2021    Asset                   05/13/21 AEP             390 Finalize preparation of receiver's deeds for all sub-tranches of single-family home property                 2.8      0.0595       $23.21
            Disposition                                          sales (single family) (2.8)
May 2021    Asset                   05/13/21 JR              140 follow up correspondence with property management regarding property inspection (417                         0.1          0.1      $14.00
            Disposition                                          Oglesby Avenue) (.1)
May 2021    Asset                   05/13/21 JR              140 Exchange further correspondence with A. Porter regarding single family home closing                          0.1    0.002125        $0.30
            Disposition                                          preparation (single family) (.1)
May 2021    Asset                   05/14/21 AEP             390 review purchase price allocations received from prospective purchaser of single-family                       1.1    0.023375        $9.12
            Disposition                                          homes, update allocation spreadsheet, send copy of same to counsel for institutional lenders
                                                                 and suggest alternative methods for accounting for sales proceeds, and additional
                                                                 communications with counsel for institutional lenders, title underwriter and prospective
                                                                 purchaser relating thereto (single family) (1.1).
May 2021    Asset                   05/14/21 JR              140 review reports for single family homes in anticipation for closing (single family) (1.9).                    1.9    0.040375        $5.65
            Disposition
May 2021    Asset                   05/14/21 JR              140 exchange correspondence with property management requesting single family home                               0.3    0.006375        $0.89
            Disposition                                          reports in preparation for closing (single family) (.3)
May 2021    Asset                   05/15/21 AEP             390 begin researching current property tax liabilities and preparing closing figures for all 37 single-          4.0       0.085       $33.15
            Disposition                                          family homes conveyances (single family) (4.0).
May 2021    Asset                   05/16/21 AEP             390 inventory all remaining special exceptions and all outstanding water and zoning certifications               1.5    0.031875       $12.43
            Disposition                                          associated with conveyances of single-family homes and prepare e-mail to title underwriter
                                                                 regarding all current unresolved closing coordination issues (single family) (1.5).

May 2021    Asset                   05/16/21 AEP             390 Finalize preparation of first-draft of closing figures in connection with conveyances of single-             3.5    0.074375       $29.01
            Disposition                                          family homes (single family) (3.5)
May 2021    Asset                   05/17/21 JR              140 review single family tenant information and update certificated rent roll (single family) (4.6)              4.6     0.09775       $13.69
            Disposition
May 2021    Asset                   05/17/21 JR              140 Exchange correspondence with property management requesting single family home reports                       0.1    0.002125        $0.30
            Disposition                                          in preparation for closing (single family) (.1)
May 2021    Asset                   05/17/21 JR              140 exchange communication with the City of Calumet City related to property inspection report                   0.5          0.5      $70.00
            Disposition                                          (417 Oglesby Avenue) (.5)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                         Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                           Keeper                                                                                                                          Hours         Fees
May 2021    Asset                   05/17/21 JR              140 further correspondence with A. Porter regarding inspection requirements and report (417                  0.1          0.1      $14.00
            Disposition                                          Oglesby Avenue) (.1).
May 2021    Asset                   05/17/21 JR              140 exchange correspondence advising of anticipated closing schedule (single family, 7255-57 S               0.1 0.0005313          $0.07
            Disposition                                          Euclid Avenue, 6217-27 S Dorchester Avenue, 7237-43 S Bennett Avenue) (.1)

May 2021    Asset                   05/17/21 JR              140 exchange correspondence with property management requesting additional property                          0.1    0.002125        $0.30
            Disposition                                          reports related to closing (single family) (.1)
May 2021    Asset                   05/18/21 AEP             390 Review revised title commitments associated with various single-family home properties,                  2.8      0.0595       $23.21
            Disposition                                          reconcile with current list of special exceptions and unrecorded judgments, and sort same
                                                                 into appropriate closing folders (single family) (2.8)
May 2021    Asset                   05/18/21 AEP             390 teleconference with title underwriters regarding resolution of remaining title exception                 0.5    0.010625        $4.14
            Disposition                                          issues, potential use of master closing statements, preparation of deed and money escrow
                                                                 instructions, and completion of closing figures (single family) (.5)

May 2021    Asset                   05/18/21 AEP             390 prepare memorandum for title underwriter and surveyor identifying single-family home                     0.7    0.014875        $5.80
            Disposition                                          properties with discrepancies between legal description on title commitment and legal
                                                                 description on survey and request guidance for resolving conflicts in verbiage (single family)
                                                                 (.7)
May 2021    Asset                   05/18/21 AEP             390 teleconference with J. Rak regarding status of all closing documents associated with                     0.4      0.0085        $3.32
            Disposition                                          conveyance of single-family homes (single family) (.4)
May 2021    Asset                   05/18/21 AEP             390 review and analyze first draft of proposed certified rent roll associated with conveyance of             0.4      0.0085        $3.32
            Disposition                                          single-family homes and make minor modifications thereto (single family) (.4).

May 2021    Asset                   05/18/21 AEP             390 review proposed edits to receiver's deeds submitted by purchaser's counsel in connection                 1.2      0.0255        $9.95
            Disposition                                          with conveyance of single-family homes, check corresponding legal descriptions on surveys
                                                                 and title commitments, and revise deeds as warranted (single family) (1.2)

May 2021    Asset                   05/18/21 AEP             390 prepare affidavits of no new improvements in connection with conveyances of all single-                  0.6     0.01275        $4.97
            Disposition                                          family home properties (single family) (.6)
May 2021    Asset                   05/18/21 JR              140 further correspondence with A. Porter regarding city requirements (417 Oglesby Avenue) (.5)              0.5          0.5      $70.00
            Disposition
May 2021    Asset                   05/18/21 JR              140 Review email from A. Porter related to city requirements for transfer of property and provide            0.3          0.3      $42.00
            Disposition                                          information regarding same (417 Oglesby Avenue) (.3)
May 2021    Asset                   05/18/21 JR              140 further communication with buyer requesting buyer information regarding required                         0.3          0.3      $42.00
            Disposition                                          documents for City of Calumet City (417 Oglesby Avenue) (.3)
May 2021    Asset                   05/18/21 JR              140 follow up correspondence with buyer's counsel regarding document request required for                    0.2          0.2      $28.00
            Disposition                                          closing (417 Oglesby Avenue) (.2)
May 2021    Asset                   05/18/21 JR              140 review due diligence documents received from property management and update certified                    2.3    0.048875        $6.84
            Disposition                                          rent roll in preparation for closing single family homes (single family) (2.3)

May 2021    Asset                   05/18/21 JR              140 update closing checklist related to security deposit information and update certified rent roll          0.4      0.0085        $1.19
            Disposition                                          regarding same (single family) (.4)




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                       Hours         Fees
May 2021    Asset                   05/18/21 JR              140 review and confirm leases for security deposit information for single family homes (single            1.0     0.02125        $2.98
            Disposition                                          family) (1.0)
May 2021    Asset                   05/18/21 JR              140 review due diligence folder and confirm all subsidy agreements match certified rent roll              0.7    0.014875        $2.08
            Disposition                                          (single family) (.7).
May 2021    Asset                   05/19/21 JR              140 exchange correspondence with K. Pritchard regarding expected mail delivery for property in            0.1          0.1      $14.00
            Disposition                                          anticipation for closing (417 Oglesby Avenue) (.1)
May 2021    Asset                   05/19/21 JR              140 further communication with A. Porter and real estate broker inquiring about commission                0.1    0.002125        $0.30
            Disposition                                          statement for closing (single family) (.1)
May 2021    Asset                   05/19/21 JR              140 Review email from buyer's counsel regarding updated deeds related to the single family                0.2     0.00425        $0.60
            Disposition                                          homes (single family) (.2)
May 2021    Asset                   05/19/21 JR              140 draft real estate transfer tax declaration forms for properties in anticipation for closing           0.8       0.017        $2.38
            Disposition                                          (single family) (.8).
May 2021    Asset                   05/19/21 JR              140 review and forward notices to tenants requesting buyer approval for closing (single family)           0.2     0.00425        $0.60
            Disposition                                          (.2)
May 2021    Asset                   05/19/21 JR              140 review email from property management regarding requested subsidy agreements for single               0.5    0.010625        $1.49
            Disposition                                          family homes and update electronic files (single family) (.5)

May 2021    Asset                   05/19/21 JR              140 review email from real estate broker regarding lien waivers for closing and provide same              0.1    0.002125        $0.30
            Disposition                                          (single family) (.1)
May 2021    Asset                   05/19/21 JR              140 review leases, subsidy agreements, confirm lease terms and update certified rent roll in              1.8     0.03825        $5.36
            Disposition                                          preparation for closing (single family) (1.8)
May 2021    Asset                   05/19/21 JR              140 exchange correspondence with property management requesting additional missing                        0.3    0.006375        $0.89
            Disposition                                          information related to leases and subsidy agreements (single family) (.3)
May 2021    Asset                   05/19/21 JR              140 review dates of closing documents and update same (single family) (1.5)                               1.5    0.031875        $4.46
            Disposition
May 2021    Asset                   05/20/21 AEP             390 prepare additional communications with buyer and J. Rak regarding difficulties associated             0.2          0.2      $78.00
            Disposition                                          with (417 Oglesby Avenue) transfer stamp process (.2)
May 2021    Asset                   05/20/21 AEP             390 Review latest batch of title commitments associated with single-family homes and update list          1.3    0.027625       $10.77
            Disposition                                          of special exceptions (single family) (1.3)
May 2021    Asset                   05/20/21 AEP             390 review commission statement associated with conveyance of single-family homes and                     0.2     0.00425        $1.66
            Disposition                                          prepare e-mail to brokers proposing alternative solution for payment of brokerage
                                                                 commissions (single family) (.2)
May 2021    Asset                   05/20/21 AEP             390 communications with J. Rak, buyer's counsel, and buyer's lender regarding buyer delays in             0.4          0.4     $156.00
            Disposition                                          producing signed forms necessary to obtain transfer stamps from Calumet City in connection
                                                                 with conveyance of property (417 Oglesby Avenue) and providing title company with
                                                                 individual loan allocations (.4)
May 2021    Asset                   05/20/21 AEP             390 review final batch of title commitments associated with single-family home portfolio and              1.5    0.031875       $12.43
            Disposition                                          update closing checklist (single family) (1.5)
May 2021    Asset                   05/20/21 JR              140 Numerous telephone calls into the City of Calumet City regarding transfer stamps and water            0.9          0.9     $126.00
            Disposition                                          reading for property in anticipation of closing (417 Oglesby Avenue) (.9)

May 2021    Asset                   05/20/21 JR              140 meeting with A. Porter regarding payment for water and transfer stamps for City of Calumet            0.6          0.6      $84.00
            Disposition                                          City regarding transfer of property (417 Oglesby Avenue) (.6)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2021    Asset                   05/20/21 JR              140 exchange correspondence with A. Porter and K. Duff regarding signature required on                      0.2          0.2      $28.00
            Disposition                                          Receiver's Deed per Calumet City requirements and provide same to K. Duff for execution
                                                                 (417 Oglesby Avenue) (.2).
May 2021    Asset                   05/20/21 JR              140 exchange correspondence with K. Pritchard regarding payment of water and transfer stamps                0.3          0.3      $42.00
            Disposition                                          required for closing (417 Oglesby Avenue) (.3)
May 2021    Asset                   05/20/21 JR              140 update and review lien waivers for property managers and request executed copies of same                0.7    0.014875        $2.08
            Disposition                                          in anticipation for closing (single family) (.7)
May 2021    Asset                   05/20/21 JR              140 review email from buyer requesting property information in preparation for closing (single              0.1    0.002125        $0.30
            Disposition                                          family) (.1)
May 2021    Asset                   05/20/21 JR              140 exchange correspondence with buyer and A. Porter regarding notices to tenants (single                   0.1    0.002125        $0.30
            Disposition                                          family) (.1)
May 2021    Asset                   05/20/21 JR              140 update notices to tenants for single family homes per buyer request (single family) (.5)                0.5    0.010625        $1.49
            Disposition
May 2021    Asset                   05/20/21 JR              140 meeting with buyer providing requested transfer of property documents needed for closing                0.5          0.5      $70.00
            Disposition                                          (417 Oglesby Avenue) (.5)
May 2021    Asset                   05/20/21 JR              140 request property reports from property management (single family) (.1)                                  0.1    0.002125        $0.30
            Disposition
May 2021    Asset                   05/20/21 JR              140 update electronic files with current property reports (single family) (.9)                              0.9    0.019125        $2.68
            Disposition
May 2021    Asset                   05/20/21 JR              140 exchange correspondence with real estate broker requesting the delivery of original lien                0.1    0.002125        $0.30
            Disposition                                          waivers for closing (single family) (.1)
May 2021    Asset                   05/20/21 KMP             140 Exchange correspondence with J. Rak and K. Duff regarding payment of certain closing costs              0.2     0.00425        $0.60
            Disposition                                          for property sale (single family).
May 2021    Asset                   05/21/21 AEP             390 Conference with J. Rak regarding open items associated with preparation for closing of single-          0.3    0.006375        $2.49
            Disposition                                          family homes (single family) (.3)
May 2021    Asset                   05/21/21 AEP             390 review fee quotes for closing services for each of the properties in the single-family home             2.1    0.044625       $17.40
            Disposition                                          portfolio and update closing figures for each property (single family) (2.1)

May 2021    Asset                   05/21/21 JR              140 exchange communication with A. Porter regarding payment for final water and transfer                    0.1          0.1      $14.00
            Disposition                                          stamps related to City of Calumet City (417 Oglesby Avenue) (.1)
May 2021    Asset                   05/21/21 JR              140 forward house sitter information to buyer (single family) (.2)                                          0.2     0.00425        $0.60
            Disposition
May 2021    Asset                   05/21/21 JR              140 review requested rent roll received from property management and inquire about the house                0.5    0.010625        $1.49
            Disposition                                          sitters at various vacant properties with property management (single family) (.5)

May 2021    Asset                   05/21/21 JR              140 review email request from buyer regarding property reports and request same from                        0.1    0.002125        $0.30
            Disposition                                          property management (single family) (.1)
May 2021    Asset                   05/21/21 JR              140 update notice to tenant letters and request approval from buyer (single family) (.7)                    0.7    0.014875        $2.08
            Disposition
May 2021    Asset                   05/21/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.1).             4.1    0.087125       $12.20
            Disposition
May 2021    Asset                   05/21/21 JR              140 further correspondence with A. Porter regarding the house sitters at vacant properties                  0.2     0.00425        $0.60
            Disposition                                          (single family) (.2)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours         Fees
May 2021    Asset                   05/24/21 AEP             390 review and revise proposed notices to tenants in connection with conveyance of single-                  0.2     0.00425        $1.66
            Disposition                                          family homes (single family) (.2)
May 2021    Asset                   05/24/21 AEP             390 communications with property managers regarding request from prospective purchaser of                   0.2     0.00425        $1.66
            Disposition                                          single-family home portfolio for pre-closing walk-throughs and confirmation regarding
                                                                 removal of house sitters at various properties (single family) (.2)

May 2021    Asset                   05/24/21 AEP             390 conference calls with J. Rak regarding resolution in discrepancies on transfer tax statement            0.4          0.4     $156.00
            Disposition                                          submitted to Calumet City in connection with conveyance of property (417 Oglesby Avenue)
                                                                 (.4)
May 2021    Asset                   05/24/21 AEP             390 Communications with prospective purchaser of single-family homes regarding scheduling of                0.2     0.00425        $1.66
            Disposition                                          pre-closing walk-throughs and removal of house sitters (single family) (.2)

May 2021    Asset                   05/24/21 AEP             390 communications with counsel for lenders regarding reallocations of sales proceeds from                  0.2     0.00425        $1.66
            Disposition                                          conveyance of single-family homes following closing (single family) (.2)

May 2021    Asset                   05/24/21 AEP             390 review finalized rent roll for single-family home properties and create final sets of sellers'          2.9    0.061625       $24.03
            Disposition                                          figures for each conveyance (single family) (2.9).
May 2021    Asset                   05/24/21 JR              140 meeting with A. Porter regarding payment for final water and transfer stamps relating to                1.4          1.4     $196.00
            Disposition                                          transfer of property requirements (417 Oglesby Avenue) (1.4)
May 2021    Asset                   05/24/21 JR              140 Complete final water reading applications for property in anticipation of closing (417 Oglesby          0.5          0.5      $70.00
            Disposition                                          Avenue) and forward to the City of Calumet City for processing, follow up with Calumet City
                                                                 regarding same (.5)
May 2021    Asset                   05/24/21 JR              140 exchange numerous correspondence with Calumet City regarding the transfer stamp and                     0.3          0.3      $42.00
            Disposition                                          payment of water in anticipation of closing (417 Oglesby Avenue) (.3)
May 2021    Asset                   05/24/21 JR              140 exchange correspondence with buyer requesting updates to contact information for tenants                0.1    0.002125        $0.30
            Disposition                                          after sale (single family) (.1)
May 2021    Asset                   05/24/21 JR              140 exchange communication with K. Duff regarding disbursement of funds into a single account               0.2     0.00425        $0.60
            Disposition                                          from the single family closings (single family) (.2)
May 2021    Asset                   05/24/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.2)              4.2     0.08925       $12.50
            Disposition
May 2021    Asset                   05/24/21 KMP             140 Various communications with K. Duff, A. Porter, and J. Rak regarding issues relating to                 0.3    0.006375        $0.89
            Disposition                                          upcoming closing on single family homes (single family).
May 2021    Asset                   05/25/21 AEP             390 Assemble, modify, and inventory all closing documents associated with conveyance of single-             7.3    0.155125       $60.50
            Disposition                                          family homes, oversee document signing process by receiver, and continue revising all sets
                                                                 of closing figures (single family) (7.3)
May 2021    Asset                   05/25/21 JR              140 Conduct execution of closing documents for the single family homes (single family) (8.4)                8.4      0.1785       $24.99
            Disposition
May 2021    Asset                   05/25/21 KMP             140 Communications with J. Rak regarding evidence of payment for property inspection in                     0.3          0.3      $42.00
            Disposition                                          connection with upcoming closing on property and review related bank records (417 Oglesby
                                                                 Avenue).
May 2021    Asset                   05/26/21 AEP             390 Attend lengthy closing of all 37 single-family home properties (single family)                         10.5    0.223125       $87.02
            Disposition




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
May 2021    Asset                   05/26/21 JR              140 Attend closing of single family homes (single family) (10.1)                                          10.1    0.214625       $30.05
            Disposition
May 2021    Asset                   05/26/21 JR              140 exchange correspondence with K. Duff regarding instructions for single family allocation of            0.1    0.002125        $0.30
            Disposition                                          proceeds and instructions of same (single family) (.1).
May 2021    Asset                   05/27/21 AEP             390 prepare disclosure statements for all single-family home properties (single family) (.7)               0.7    0.014875        $5.80
            Disposition
May 2021    Asset                   05/27/21 AEP             390 review final settlement statements from closing of each single-family home, record final               5.6       0.119       $46.41
            Disposition                                          sales proceeds, create new settlement statements for each property substituting agreed-
                                                                 upon value allocations contained in judicial order confirming sale, revise existing value
                                                                 allocation spreadsheet to compute distribution of sales proceeds, and circulate proposed
                                                                 sales proceeds distributions to receiver and counsel for lenders (single family) (5.6)

May 2021    Asset                   05/27/21 AEP             390 read e-mail from J. Rak regarding sales proceeds computations, audit spreadsheet, revise,              0.4      0.0085        $3.32
            Disposition                                          and circulate new draft (single family) (.4)
May 2021    Asset                   05/27/21 JR              140 follow up correspondence with K. Duff advising of closing status (single family) (.1)                  0.1    0.002125        $0.30
            Disposition
May 2021    Asset                   05/27/21 JR              140 review email from property management relating to status of closing and respond                        0.1    0.002125        $0.30
            Disposition                                          accordingly (single family) (.1)
May 2021    Asset                   05/27/21 JR              140 exchange correspondence with K. Duff, A. Porter and K. Pritchard with instructions related to          0.2     0.00425        $0.60
            Disposition                                          the allocation of net proceeds for single family homes (single family) (.2)

May 2021    Asset                   05/27/21 JR              140 update single family home executed documents in electronics files (single family) (2.1)                2.1    0.044625        $6.25
            Disposition
May 2021    Asset                   05/27/21 JR              140 review email from the title company and provide requested survey invoices for the single               0.4      0.0085        $1.19
            Disposition                                          family homes (single family) (.4)
May 2021    Asset                   05/27/21 JR              140 exchange correspondence with A. Porter relating to transfer stamps for property (417                   0.1          0.1      $14.00
            Disposition                                          Oglesby Avenue) (.1)
May 2021    Asset                   05/27/21 JR              140 Review email from K. Duff regarding instructions for disbursement of proceeds and respond              0.1    0.002125        $0.30
            Disposition                                          accordingly (single family) (.1)
May 2021    Asset                   05/27/21 JR              140 follow up with the title company requesting closing status (single family) (.1)                        0.1    0.002125        $0.30
            Disposition
May 2021    Asset                   05/27/21 JR              140 follow up correspondence with title company closer requesting status of closing (single                0.2     0.00425        $0.60
            Disposition                                          family) (.2)
May 2021    Asset                   05/27/21 JR              140 Review email from A. Porter, identify a discrepancy and further review closing statements to           0.9    0.019125        $2.68
            Disposition                                          confirm the total amount of net proceeds expected to be delivered from closing (single
                                                                 family).
May 2021    Asset                   05/28/21 AEP             390 update master receivership portfolio spreadsheet to include information associated with                0.2     0.00425        $1.66
            Disposition                                          conveyance of single-family home portfolio (single family) (.2).
May 2021    Asset                   05/28/21 AEP             390 Teleconference with J. Rak and K. Duff regarding wire transfer allocations and disbursement            0.3    0.006375        $2.49
            Disposition                                          dates associated with conveyance of single-family home portfolio (single family) (.3)

May 2021    Asset                   05/28/21 JR              140 further correspondence with bank representative regarding wire transfer and allocation                 0.9    0.019125        $2.68
            Disposition                                          instructions for single family home closing (single family) (.9)


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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                   Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                    Hours        Fees
May 2021    Asset                   05/28/21 JR              140 exchange correspondence with K. Duff providing detailed closed property information and            0.3    0.006375       $0.89
            Disposition                                          confirming closing date for single family homes (single family) (.3)

May 2021    Asset                   05/28/21 JR              140 review email from real estate broker and provide settlement statements related to closing          0.1    0.002125       $0.30
            Disposition                                          (single family) (.1)
May 2021    Asset                   05/28/21 JR              140 exchange correspondence with buyer confirming property key delivery related to closing of          0.1    0.002125       $0.30
            Disposition                                          portfolio of properties (single family) (.1)
May 2021    Asset                   05/28/21 JR              140 exchange correspondence with K. Duff regarding allocation of funds related to the single           0.8       0.017       $2.38
            Disposition                                          family home closing (single family) (.8)
May 2021    Asset                   05/28/21 JR              140 exchange various correspondence with the title company requesting wire confirmation and            0.5    0.010625       $1.49
            Disposition                                          additional information related to closing of portfolio of properties (single family) (.5)

May 2021    Business                05/03/21 JR              140 Exchange correspondence with K. Duff and property insurance company regarding                      0.8 0.0159574         $2.23
            Operations                                           requested updates related to property insurance renewals [see A]
May 2021    Business                05/03/21 JR              140 review requested property information from property management and update same [see                0.8 0.0092593         $1.30
            Operations                                           A].
May 2021    Business                05/04/21 JR              140 Review email from property insurance account analyst and further update property                   1.6 0.0340426         $4.77
            Operations                                           insurance renewal workbook (See A) (1.6)
May 2021    Business                05/04/21 JR              140 exchange communication with K. Duff regarding property insurance renewal update (See A)            0.1 0.0021277         $0.30
            Operations                                           (.1).
May 2021    Business                05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general           0.1 0.0002361         $0.03
            Operations                                           liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021    Business                05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property             0.2 0.0004722         $0.07
            Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021    Business                05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                   1.3    0.012381       $1.73
            Operations
May 2021    Business                05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-          0.1 0.0002361         $0.03
            Operations                                           43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.1).
May 2021    Business                05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.              0.3 0.0007083         $0.10
            Operations                                           Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                 Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                 27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                 family) (.3)




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
May 2021    Business                05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property                 0.2 0.0004722         $0.07
            Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)

May 2021    Business                05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                   2.3 0.0469388         $6.57
            Operations                                           7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                 Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                 Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                 Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                 Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                 Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                 Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                 Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham (Houston, TX)) (2.3)


May 2021    Business                05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                     0.3 0.0007083         $0.10
            Operations                                           umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                 Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).

May 2021    Business                05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2    0.000425       $0.06
            Operations                                           property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                 Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                 Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021    Business                05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0004722         $0.07
            Operations                                           Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                 Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                 68th Street, single family) (.2)
May 2021    Business                05/19/21 JR              140 Review email from K. Duff requesting property closing update related to property insurance             0.3    0.006383       $0.89
            Operations                                           and provide same (see A).
May 2021    Business                05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0002361         $0.03
            Operations                                           insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                 Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                 Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours         Fees
May 2021    Business                05/19/21 KMP         140 conference with K. Duff regarding property expenses in connection with anticipated third               0.1 0.0012346          $0.17
            Operations                                       restoration motion (.1).
May 2021    Claims                  05/07/21 JRW         260 Drafting of proposed process for properties with single claim (1017 W 102nd Street, 1516 E             1.3          0.1      $26.00
            Administration                                   85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
            & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021    Claims                  05/10/21 JRW         260 correspondence to claimants' counsel regarding single claims process (.1)                              0.1 0.0035714          $0.93
            Administration
            & Objections

May 2021    Claims                  05/10/21 JRW         260 confer with K. Duff on draft process for single claim properties, review and revise draft and          0.8 0.0615385         $16.00
            Administration                                   redline comments from M. Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
            & Objections                                     Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (.8).

May 2021    Claims                  05/10/21 MR          390 Review and comment on single claims process (1017 W 102nd Street, 1516 E 85th Place,                   1.5 0.1153846         $45.00
            Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
            & Objections                                     8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021    Claims                  05/11/21 JRW         260 Continue working on single claim process with K. Duff and M. Rachlis (1017 W 102nd Street,             3.6 0.2769231         $72.00
            Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
            & Objections                                     Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue) (3.6)
May 2021    Claims                  05/11/21 JRW         260 prepare chart comparing deadlines in disputed claims process and draft single claim process            0.6 0.0214286          $5.57
            Administration                                   (.6).
            & Objections

May 2021    Claims                  05/11/21 MR          390 Further review and revise claims process related items (1017 W 102nd Street, 1516 E 85th               1.5 0.1153846         $45.00
            Administration                                   Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
            & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                             (1.5)
May 2021    Claims                  05/11/21 MR          390 conferences with J. Wine and K. Duff regarding claims process(1017 W 102nd Street, 1516 E              1.0 0.0769231         $30.00
            Administration                                   85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
            & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                             (1.0).
June 2021   Asset                   06/01/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding allocation of sales proceeds            0.4      0.0085        $3.32
            Disposition                                      and interest and study related information (single family).


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
June 2021   Asset                   06/16/21 KBD         390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                    0.2 0.0010625         $0.41
            Disposition
June 2021   Claims                  06/11/21 KBD         390 Review revised proposal for single claim process (1017 W 102nd Street, 1516 E 85th Place,             0.3 0.0107143         $4.18
            Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
            & Objections                                     8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                             Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

June 2021   Claims                  06/14/21 KBD         390 study correspondence from J. Wine and work on single claim process (1017 W 102nd Street,              0.2 0.0071429         $2.79
            Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
            & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                             Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                             Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                             Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                             Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.2).

June 2021   Claims                  06/24/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (.1).                             0.1 0.0035714         $1.39
            Administration
            & Objections

June 2021   Claims                  06/29/21 KBD         390 Study and revise process for single claim properties and draft related correspondence to J.           1.2 0.0428571        $16.71
            Administration                                   Wine (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
            & Objections                                     7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                           Keeper                                                                                                                        Hours        Fees
June 2021   Claims                  06/30/21 KBD             390 work on single claim process and study related correspondence from J. Wine (1017 W 102nd               0.3 0.0107143         $4.18
            Administration                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
            & Objections                                         8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                 Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                 Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                 Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                 Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                 Avenue) (.3).

June 2021   Asset                   06/01/21 JR              140 Review email from J. Wine and respond accordingly regarding collection notice (7237-43 S               0.1 0.0005313         $0.07
            Disposition                                          Bennett Avenue) (.1)
June 2021   Asset                   06/01/21 JR              140 exchange correspondence with K. Duff, bank representative, K. Pritchard regarding net sale             1.2     0.01275       $1.79
            Disposition                                          proceeds from the single family homes, update allocation spreadsheet with interest and
                                                                 provide detailed instructions to the bank for single family home allocation related to each
                                                                 property (single family) (1.2).
June 2021   Asset                   06/01/21 JR              140 review email from buyer requesting ledgers and tenant payment information and produce                  0.5 0.0053125         $0.74
            Disposition                                          same (single family) (.5)
June 2021   Asset                   06/01/21 KMP             140 Review online banking records to confirm receipt of funds wired in connection with the sale            0.5    0.010625       $1.49
            Disposition                                          of the single family homes, calculate pro rata share of interest earned on sale proceeds, and
                                                                 related communications with K. Duff and J. Rak (single family).

June 2021   Asset                   06/02/21 JR              140 Review email from bank regarding allocation of funds and respond accordingly (single family)           0.2     0.00425       $0.60
            Disposition                                          (.2)
June 2021   Asset                   06/02/21 KMP             140 Study communications from bank representative regarding transfers of proceeds to property              0.2     0.00425       $0.60
            Disposition                                          accounts in connection with sale of single-family homes (single family).

June 2021   Asset                   06/03/21 KMP             140 Review and confirm transfers of sale proceeds from sale of single-family homes to individual           0.3    0.006375       $0.89
            Disposition                                          property accounts and related communication with K. Duff and J. Rak (single family).

June 2021   Asset                   06/07/21 JR              140 update closed property spreadsheet with single family home gross and net proceeds, make                1.2      0.0255       $3.57
            Disposition                                          corrections to normalize property addresses (single family) (1.2)
June 2021   Asset                   06/08/21 JR              140 review email from property management and provide requested post-closing payment                       0.3    0.006375       $0.89
            Disposition                                          information related to tenant rent (single family) (.3)
June 2021   Asset                   06/09/21 JR              140 Organize master statements for each property (single family).                                          0.9    0.019125       $2.68
            Disposition
June 2021   Asset                   06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property            0.4    0.002125       $0.30
            Disposition                                          spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                 Avenue, 7051 S Bennett Avenue) (.4).
June 2021   Asset                   06/16/21 KMP             140 Review property accounts to update spreadsheets relating to post-sale reconciliation by                0.6    0.002125       $0.30
            Disposition                                          property managers and related communications with K. Duff and J. Rak (single family, 4750-
                                                                 52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 4611-17 Drexel Boulevard).


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                         Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                       Keeper                                                                                                                          Hours        Fees
June 2021   Asset                   06/19/21 AEP         390 review property disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet              0.2     0.00425       $1.66
            Disposition                                      unpaid survey invoices and providing estimated dates of final payment (single family) (.2).

June 2021   Business                06/25/21 ED          390 Review additional documentation regarding sold properties received from insurance agent                  0.5 0.0047619         $1.86
            Operations                                       and forward to accountant for use in preparation of reports (.5)
June 2021   Claims                  06/14/21 JRW         260 study revised process for single claim properties (1017 W 102nd Street, 1516 E 85th Place,               1.3 0.0464286        $12.07
            Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
            & Objections                                     8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                             Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) and related analysis to
                                                             K. Duff and M. Rachlis (1.3).

June 2021   Claims                  06/30/21 JRW         260 review revisions to single claims process, related research and correspondence with K. Duff              1.0 0.0357143         $9.29
            Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
            & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.0).

July 2021   Asset                   07/14/21 KBD         390 confirmation of funds transfer amounts (single family) (.1).                                             0.1 0.0027027         $1.05
            Disposition
July 2021   Asset                   07/30/21 KBD         390 Confer with K. Pritchard and J. Rak regarding allocation of post-sale reconciliation funds from          0.3 0.0090909         $3.55
            Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street) (.3)


July 2021   Business                07/13/21 KBD         390 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S                        0.3 0.0068182         $2.66
            Operations                                       Dorchester Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th
                                                             Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single
                                                             family) (.3)


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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
July 2021   Claims                  07/04/21 KBD             390 Exchange correspondence with J. Wine regarding single claim process (sole lien).                     0.1 0.0035714         $1.39
            Administration
            & Objections

July 2021   Claims                  07/06/21 KBD             390 study correspondence from J. Wine regarding single claim process (sole lien) (.2).                   0.2 0.0071429         $2.79
            Administration
            & Objections

July 2021   Claims                  07/12/21 KBD             390 study correspondence from J. Wine regarding single claim process (sole lien) (.1).                   0.1 0.0035714         $1.39
            Administration
            & Objections

July 2021   Claims                  07/13/21 KBD             390 Study revisions to sole lien process and exchange correspondence with M. Rachlis and J.              0.6 0.0214286         $8.36
            Administration                                       Wine and M. Rachlis (sole lien) (.6)
            & Objections

July 2021   Claims                  07/14/21 KBD             390 exchange correspondence with J. Wine and M. Rachlis regarding sole lien process (sole lien)          0.4 0.0142857         $5.57
            Administration                                       (.4)
            & Objections

July 2021   Claims                  07/15/21 KBD             390 work on sole lien process and exchange related correspondence (sole lien) (.2).                      0.2 0.0071429         $2.79
            Administration
            & Objections

July 2021   Claims                  07/30/21 KBD             390 study correspondence from counsel for claimant regarding single claim process and related            0.2 0.0071429         $2.79
            Administration                                       analysis (sole lien) (.2).
            & Objections

July 2021   Asset                   07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                 0.2 0.0018868         $0.26
            Disposition                                          regarding closed properties status (see D) (.2)
July 2021   Asset                   07/09/21 JR              140 Review email from buyer for single family homes requesting clarification on tenant rent              0.3 0.0081081         $1.14
            Disposition                                          payments for previously sold property and review records (single family) (.3)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
July 2021   Asset                   07/23/21 KMP         140 Communicate with K. Duff, A. Porter, and J. Rak regarding property manager's request for             0.8 0.0242424         $3.39
            Disposition                                      information in connection with post-sale reconciliation, prepare related spreadsheet and
                                                             forward to property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S
                                                             Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette
                                                             Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd
                                                             Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston
                                                             Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                             61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                             7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                             Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                             Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


July 2021   Asset                   07/24/21 AEP         390 read and respond to correspondence with K. Duff and K. Pritchard regarding allocations of            0.2 0.0068966         $2.69
            Disposition                                      disbursements from property manager in connection with EB South Chicago 1 and EB South
                                                             Chicago 2 properties (1516 E 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 7933 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
                                                             Avenue, 1017 W 102nd Street, 417 Oglesby Avenue, 7925 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8405 S Marquette Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,
                                                             11318 S Church Street, 10012 S LaSalle Avenue, 3723 W 68th Place, 406 E 87th Place, 61 E
                                                             92nd Street, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8432
                                                             S Essex Avenue, 8517 S Vernon Avenue, 3213 S Throop Street, 6554 S Rhodes Avenue, 6825 S
                                                             Indiana Avenue, 8346 S Constance Avenue, 7210 S Vernon Avenue) (.2).


July 2021   Asset                   07/27/21 KMP         140 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation funds from           0.3 0.0090909         $1.27
            Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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417 Oglesby Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                       Allocated    Allocated
             Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                        Hours         Fees
July 2021   Asset                   07/27/21 KMP             140 Attention to email from property manager following up on issues relating to post-sale                  0.2 0.0060606          $0.85
            Disposition                                          reconciliation and related communication with K. Duff (417 S Oglesby Avenue, 7925 S
                                                                 Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                 Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                                 Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                                 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                                 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                                 Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                                 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                                 Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                                 E 68th Street).

July 2021   Asset                   07/30/21 JR              140 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds            0.3 0.0090909          $1.27
            Disposition                                          from property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place,
                                                                 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
                                                                 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)


July 2021   Business                07/14/21 AEP             390 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with               0.2 0.0054054          $2.11
            Operations                                           values of single-family home portfolio in connection with preparation of quarterly report
                                                                 (single family) (.2).
July 2021   Business                07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
            Operations                                           accordingly (see I).
July 2021   Business                07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
            Operations                                           restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                 Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                 2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                 26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                 Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                 Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                 Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                 Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                 Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                 Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                 Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                 Avenue).




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
July 2021   Claims                  07/01/21 JRW         260 telephone conference with M. Rachlis regarding process for resolution of single claims                0.9 0.0321429         $8.36
            Administration                                   properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
            & Objections                                     Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                             S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                             7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                             7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                             Indiana Avenue, 8517 S Vernon Avenue) (.9)

July 2021   Claims                  07/01/21 JRW         260 email exchange and telephone conference with claimants' counsel regarding process for                 1.3 0.0464286        $12.07
            Administration                                   resolution of single claims properties, related preparation for same, and review of proposed
            & Objections                                     pleading (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                             7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.3)

July 2021   Claims                  07/01/21 MR          390 Review notes and materials regarding (sole lien) properties (.3)                                      0.3 0.0107143         $4.18
            Administration
            & Objections

July 2021   Claims                  07/01/21 MR          390 participate in call with J. Wine regarding issues on process for claims (sole lien) (.9).             0.9 0.0321429        $12.54
            Administration
            & Objections

July 2021   Claims                  07/06/21 JRW         260 Summarize conference call with claimant's counsel regarding claims resolution process and             0.4 0.0142857         $3.71
            Administration                                   related review of draft declaratory action (1017 W 102nd Street, 1516 E 85th Place, 2136 W
            & Objections                                     83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                             2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2021   Claims                  07/12/21 JRW         260 draft correspondence to claimants' counsel regarding process for single-claim properties                0.5 0.0178571         $4.64
            Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
            & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (.5)

July 2021   Claims                  07/13/21 JRW         260 exchange comments and revisions regarding single claims process with K. Duff and M.                     1.2 0.0428571        $11.14
            Administration                                   Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
            & Objections                                     7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                             Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                             Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                             Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (1.2)

July 2021   Claims                  07/13/21 MR          390 Attention to claims process issues and related exchanges with K. Duff and J. Wine (sole lien).          0.4 0.0142857         $5.57
            Administration
            & Objections

July 2021   Claims                  07/14/21 AEP         390 read and respond to e-mails from J. Wine regarding secured claims being asserted in                     0.2 0.0071429         $2.79
            Administration                                   connection with single-family homes that have no competing claimants and other
            & Objections                                     receivership properties (sole lien) (.2).

July 2021   Claims                  07/14/21 JRW         260 correspondence with M. Rachlis and A. Porter regarding discovery for properties with single             0.7       0.025       $6.50
            Administration                                   disputed claim (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
            & Objections                                     Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                             Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                             S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                             7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                             7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                             Indiana Avenue, 8517 S Vernon Avenue) (.7)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                       Keeper                                                                                                                         Hours        Fees
July 2021   Claims                  07/14/21 JRW         260 Revise draft correspondence to claimants' counsel regarding single claims process (1017 W               0.5 0.0178571         $4.64
            Administration                                   102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
            & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                             6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                             S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.5)

July 2021   Claims                  07/14/21 MR          390 Further review and comment on process issues and related exchanges (sole lien) (.3)                     0.3 0.0107143         $4.18
            Administration
            & Objections

July 2021   Claims                  07/15/21 JRW         260 confer with A. Porter and K. Duff regarding process for resolution of single claims and revise          0.4 0.0142857         $3.71
            Administration                                   draft correspondence accordingly (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
            & Objections                                     Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                             Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                             2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                             Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                             Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                             Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                             Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4).

July 2021   Claims                  07/15/21 MR          390 Attention to issues and follow up response to revisions on claim process (sole lien).                   0.2 0.0071429         $2.79
            Administration
            & Objections

July 2021   Claims                  07/16/21 JRW         260 exchange correspondence with counsel for claimants regarding claims resolution procedures               0.1 0.0035714         $0.93
            Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
            & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                             8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                             7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                             Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                             Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                             Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                             Avenue, 8517 S Vernon Avenue) (.1)




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417 Oglesby Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
July 2021   Claims                  07/30/21 JRW         260 review correspondence from counsel for claimants regarding process to resolve claims (1017           0.1 0.0035714         $0.93
            Administration                                   W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
            & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                             Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                             Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                             6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                             S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                             10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                             Avenue) (.1)

August 2021 Asset                   08/06/21 KBD         390 Prepare spreadsheet confirming allocation of post-sale funds from property manager and               0.3 0.0090909         $3.55
            Disposition                                      exchange various related correspondence for information (417 S Oglesby Avenue, 7925 S
                                                             Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street).

August 2021 Asset                   08/09/21 KBD         390 Continue to prepare and finalize spreadsheet confirming allocation of post-sale funds from           0.7 0.0212121         $8.27
            Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                             Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                             S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                             Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                             Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                             Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                             S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
August 2021 Asset                   08/13/21 KBD         390 Work on post-sale reconciliation of property manager funds (417 S Oglesby Avenue, 7925 S             0.4 0.0121212         $4.73
            Disposition                                      Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                             Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                             Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                             7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                             406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                             Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                             8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                             Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                             E 68th Street) (.4)

August 2021 Claims                  08/04/21 KBD         390 exchange correspondence with J. Wine regarding sole lien process and follow up with                  0.1 0.0035714         $1.39
            Administration                                   counsel for claimants (sole lien) (.1)
            & Objections

August 2021 Claims                  08/05/21 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding sole lien process (sole lien)          0.2 0.0071429         $2.79
            Administration                                   (.2).
            & Objections

August 2021 Claims                  08/06/21 KBD         390 Exchange correspondence and telephone conference with J. Wine regarding single claim                 0.2 0.0071429         $2.79
            Administration                                   process and communication with claimants' counsel regarding same (sole lien) (.2)
            & Objections

August 2021 Claims                  08/17/21 KBD         390 review draft motion to approve process for sole lien properties (sole lien) (.2).                    0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                  08/20/21 KBD         390 review draft motion for sole lien process (sole lien) (.2)                                           0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                  08/26/21 KBD         390 Confer with J. Wine regarding sole lien process and draft motions from claimants' counsel            0.1 0.0035714         $1.39
            Administration                                   (sole lien) (.1)
            & Objections

August 2021 Claims                  08/27/21 KBD         390 Study draft single claim process and related correspondence (sole lien).                             0.3 0.0107143         $4.18
            Administration
            & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
August 2021 Asset                   08/02/21 KMP             140 Communicate with property manager regarding allocation of post-sale reconciliation funds            0.2 0.0060606         $0.85
            Disposition                                          (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/06/21 JR              140 review email from K. Duff related to allocations for post-closing reconciliation regarding          0.2 0.0054054         $0.76
            Disposition                                          properties and further communicate with A. Porter regarding same (single family) (.2).

August 2021 Asset                   08/13/21 KMP             140 Communications with K. Duff and property manager regarding issues with post-sale                    0.3 0.0090909         $1.27
            Disposition                                          reconciliations and transfer of funds and forward related spreadsheet to property manager
                                                                 (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/20/21 KMP             140 Follow up on post-sale reconciliation and deposits to property accounts (417 S Oglesby              0.2 0.0060606         $0.85
            Disposition                                          Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                                 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                                 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                                 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 1422-24 E 68th Street).




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                           Keeper                                                                                                                       Hours        Fees
August 2021 Asset                   08/23/21 KMP             140 Follow up with K. Duff and property manager on post-sale reconciliation and deposits to               0.2 0.0060606         $0.85
            Disposition                                          property accounts (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                                 Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                                 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                                 Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/24/21 KMP             140 Prepare spreadsheet for property manager relating to post-sale reconciliation and deposits            0.7 0.0212121         $2.97
            Disposition                                          to property accounts, and related communication with K. Duff and property manager (417 S
                                                                 Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                 Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                 Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                 Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                 Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                 Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                 Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                   08/25/21 KMP             140 Communicate with property manager and bank representatives regarding information                      0.4 0.0121212         $1.70
            Disposition                                          required for post-sale reconciliation and deposits to property accounts (417 S Oglesby
                                                                 Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                                 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                                 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                                 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                 Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                 Street, 1422-24 E 68th Street).

August 2021 Asset                   08/30/21 JR              140 Review email from K. Duff regarding tax bills for single family homes and advise accordingly          0.2 0.0054054         $0.76
            Disposition                                          (single family) (.2)




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
August 2021 Asset                   08/31/21 KMP         140 Review online bank records to confirm receipt of post-sale reconciliation funds from                   0.6 0.0181818         $2.55
            Disposition                                      property manager and related communications with K. Duff and property manager (417 S
                                                             Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                             Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                             Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                             Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                             Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                             Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                             Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                             Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                             Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).

August 2021 Claims                  08/04/21 JRW         260 email exchange with counsel for claimants regarding single claims process and related                  0.2 0.0071429         $1.86
            Administration                                   conference with K. Duff (sole lien) (.2).
            & Objections

August 2021 Claims                  08/05/21 JRW         260 review correspondence from claimants' counsel regarding single claim process (sole lien)               0.1 0.0035714         $0.93
            Administration                                   (Group 1) (.1).
            & Objections

August 2021 Claims                  08/05/21 MR          390 Follow up on issues regarding single claim process and negotiations with counsel, J. Wine,             0.2 0.0071429         $2.79
            Administration                                   and K. Duff (sole lien).
            & Objections

August 2021 Claims                  08/06/21 JRW         260 Exchange correspondence and multiple telephone conferences with counsel for claimants                  0.5 0.0178571         $4.64
            Administration                                   and K. Duff regarding motion practice or joint report regarding process for single claim
            & Objections                                     properties (sole lien) (.5)

August 2021 Claims                  08/13/21 JRW         260 Correspond with counsel for claimants regarding joint motion and related discussion with K.            0.3 0.0107143         $2.79
            Administration                                   Duff (sole lien) (.3)
            & Objections

August 2021 Claims                  08/26/21 JRW         260 Email exchange with claimants' counsel regarding proposed process for resolution of claims,            0.5 0.0178571         $4.64
            Administration                                   begin reviewing draft motions, and related telephone conference with K. Duff (sole lien) (.5)
            & Objections

August 2021 Claims                  08/27/21 JRW         260 Study draft motions from claimants' counsel and provide analysis to K. Duff (sole lien) (1.8)          1.8 0.0642857        $16.71
            Administration
            & Objections

September Asset                     09/22/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations               0.1    0.002439       $0.95
2021      Disposition                                        (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                             6217-27 S Dorchester Avenue) (.1)


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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                      Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                       Keeper                                                                                                                       Hours        Fees
September Business                  09/24/21 KBD         390 study correspondence from property manager regarding post-sale fund distributions (single             0.2    0.004878       $1.90
2021      Operations                                         family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-
                                                             27 S Dorchester Avenue) (.2)
September Claims                    09/06/21 KBD         390 Work on sole lien process (sole lien).                                                                1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                    09/07/21 KBD         390 telephone conference with J. Wine regarding sole lien process (sole lien) (.2)                        0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/07/21 KBD         390 Work on sole lien process (sole lien) (.5)                                                            0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/08/21 KBD         390 Work on sole lien process (sole lien) (.3)                                                            0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/09/21 KBD         390 draft correspondence to A. Porter regarding potential discovery (sole lien) (.2).                     0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/09/21 KBD         390 work on sole lien process (sole lien) (.5)                                                            0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/10/21 KBD         390 work on sole lien process and exchange related correspondence (sole lien) (1.7)                       1.7 0.0607143        $23.68
2021      Administration
          & Objections

September Claims                    09/11/21 KBD         390 Work on sole lien process and exchange related correspondence (sole lien).                            0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/13/21 KBD         390 study revised sole lien claims process and exchange related correspondence (sole lien) (.3).          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/14/21 KBD         390 Study correspondence regarding sole lien process and revised process documents (sole lien)            0.3 0.0107143         $4.18
2021      Administration                                     (.3)
          & Objections




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                           Keeper                                                                                                                      Hours        Fees
September Claims                    09/15/21 KBD             390 Confer and exchange correspondence with M. Rachlis and J. Wine regarding sole lien claims            0.8 0.0285714        $11.14
2021      Administration                                         process and related discussions with claimants' counsel (sole lien) (.8)
          & Objections

September Claims                    09/15/21 KBD             390 confer with claimants' counsel and J. Wine regarding sole lien process (sole lien) (.3)              0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/16/21 KBD             390 Revise sole lien claims process, review further drafts, and exchange related correspondence          2.7 0.0964286        $37.61
2021      Administration                                         with J. Wine (sole lien) (2.7)
          & Objections

September Claims                    09/17/21 KBD             390 Analyze and revise sole lien claims process and exchange various related correspondence              3.3 0.1178571        $45.96
2021      Administration                                         with M. Rachlis and J. Wine (sole lien) (3.3)
          & Objections

September Claims                    09/20/21 KBD             390 Study related correspondence from J. Wine regarding sole lien process (sole lien) (.2)               0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                    09/21/21 KBD             390 study and revise joint motion regarding sole lien process and exchange related                       0.5 0.0178571         $6.96
2021      Administration                                         correspondence with J. Wine regarding (sole lien) (.5).
          & Objections

September Claims                    09/22/21 KBD             390 work on single claim process and exchange various related correspondence (sole lien) (1.5)           1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                    09/23/21 KBD             390 telephone conference with J. Wine regarding sole lien properties, claims analysis, and               0.3 0.0107143         $4.18
2021      Administration                                         barriers related issues (sole lien) (.3)
          & Objections

September Claims                    09/23/21 KBD             390 Study and revise several drafts of sole lien claims process and exchange various related             1.6 0.0571429        $22.29
2021      Administration                                         correspondence with M. Rachlis and J. Wine (sole lien) (1.6)
          & Objections

September Claims                    09/24/21 KBD             390 Study and revise sole lien claims process and exchange various related correspondence with           0.7       0.025       $9.75
2021      Administration                                         J. Wine (sole lien).
          & Objections

September Asset                     09/01/21 JR              140 review paper property tax statement and forward to buyer for single family homes, request            0.2 0.0054054         $0.76
2021      Disposition                                            buyer to change address for delivery of same (single family) (.2)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                        Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                           Keeper                                                                                                                         Hours        Fees
September Asset                     09/22/21 JR              140 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions          1.1 0.0268293         $3.76
2021      Disposition                                            and update same for single family homes and other various properties (single family, 1422-
                                                                 24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S
                                                                 Dorchester Avenue) (1.1)
September Asset                     09/22/21 JR              140 further communication with K. Pritchard related to post- closing reconciliation distributions           0.1    0.002439       $0.34
2021      Disposition                                            (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                 6217-27 S Dorchester Avenue) (.1).
September Asset                     09/22/21 KMP             140 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related                    2.1      0.0525       $7.35
2021      Disposition                                            communication with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S
                                                                 Yates Avenue, 2800-06 E 81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place,
                                                                 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                 Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                 Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                 Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                 Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                 Avenue, 1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)


September Asset                     09/23/21 JR              140 Exchange correspondence with K. Pritchard regarding post-closing reconciliation                         0.3 0.0073171         $1.02
2021      Disposition                                            distributions (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S
                                                                 Bennett Avenue, 6217-27 S Dorchester Avenue) (.3)
September   Business                09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and                2.6 0.0320988         $4.49
2021        Operations                                           E. Duff (see I and J) (2.6)
September   Business                09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to              0.2 0.0024691         $0.35
2021        Operations                                           reimbursable amounts (see I and J) (.2).
September   Business                09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)                 0.1 0.0012346         $0.17
2021        Operations                                           (.1)




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417 Oglesby Avenue                                                    EquityBuild - Specific Property Allocation Task Detail



  Invoice                                          Time                                                                                                                    Allocated   Allocated
             Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                           Keeper                                                                                                                     Hours        Fees
September Business                  09/07/21 KMP             140 Review communications relating to second restoration motion to determine date of funds              0.2 0.0046512         $0.65
2021      Operations                                             transfer and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East
                                                                 End Avenue, 6749-59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet
                                                                 Avenue, 1017 W 102nd Street, 1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                                 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                 Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 9212 S Parnell Avenue,
                                                                 10012 S LaSalle Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                 Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                 Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard,
                                                                 6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                 Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                 Road, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                 Martin Luther King Drive, 7840-42 S Yates Avenue).


September Business                  09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with          0.3 0.0065217         $0.72
2021      Operations                                             the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                 Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                 Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                 Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                 1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                 Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                 Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                 06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                 Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                 Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                 Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                 Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                    09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                 0.8 0.0089888         $1.26
2021      Administration
          & Objections

September Claims                    09/02/21 JRW             260 email exchange with claimants' counsel regarding joint motions (sole lien) (.1)                     0.1 0.0035714         $0.93
2021      Administration
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                     Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                       Keeper                                                                                                                      Hours        Fees
September Claims                    09/06/21 JRW         260 Correspond with K. Duff regarding revisions to single claim process (sole lien).                     0.3 0.0107143         $2.79
2021      Administration
          & Objections

September Claims                    09/07/21 JRW         260 telephone conference with K. Duff regarding draft joint motion (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/10/21 JRW         260 confer with K. Duff regarding single claim process (sole lien) (.1)                                  0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/10/21 JRW         260 review redline of draft motion regarding claims process and further revise same (sole lien)          1.6 0.0571429        $14.86
2021      Administration                                     (1.6)
          & Objections

September Claims                    09/13/21 JRW         260 review redline and further revise proposed joint motion and related correspondence to K.             1.5 0.0535714        $13.93
2021      Administration                                     Duff and M. Rachlis regarding open issues (sole lien) (1.5)
          & Objections

September Claims                    09/14/21 JRW         260 Work on single claims process and related exchange of correspondence with M. Rachlis                 0.6 0.0214286         $5.57
2021      Administration                                     regarding single claim process (sole lien) (.6)
          & Objections

September Claims                    09/14/21 MR          390 Further work on single lien claim process and work and exchanges with J. Wine (sole lien).           0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                    09/15/21 JRW         260 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien) (.7)                   0.7       0.025       $6.50
2021      Administration
          & Objections

September Claims                    09/15/21 JRW         260 revise proposed process for single lien claims (sole lien) (1.6).                                    1.6 0.0571429        $14.86
2021      Administration
          & Objections

September Claims                    09/15/21 JRW         260 exchange correspondence and telephone conference with claimants' counsel regarding                   0.4 0.0142857         $3.71
2021      Administration                                     process for single claim properties (sole lien) (.4)
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                       Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                       Keeper                                                                                                                        Hours        Fees
September Claims                    09/15/21 JRW         260 telephone conference with K. Duff and M. Rachlis regarding process for single claim                    0.8 0.0285714         $7.43
2021      Administration                                     properties (sole lien) (.8)
          & Objections

September Claims                    09/15/21 MR          390 Further review and attention to various issues on the single lien process and review various           0.6 0.0214286         $8.36
2021      Administration                                     drafts and e-mails regarding same from K. Duff and J. Wine (sole lien) (.6)
          & Objections

September Claims                    09/15/21 MR          390 participate in meeting with K. Duff and J. Wine regarding the single lien process (sole lien)          0.8 0.0285714        $11.14
2021      Administration                                     (.8).
          & Objections

September Claims                    09/16/21 AEP         390 Teleconference with J. Wine regarding discovery issues associated with single-claim                    0.6 0.0214286         $8.36
2021      Administration                                     properties encumbered by loans and legal issues associated with priority determinations
          & Objections                                       (sole lien).

September Claims                    09/16/21 JRW         260 revise draft process for single claim properties to incorporate comments from M. Rachlis               0.8 0.0285714         $7.43
2021      Administration                                     (sole lien) (.8)
          & Objections

September Claims                    09/16/21 JRW         260 Telephone conference with A. Porter regarding third-party discovery needs and analysis of              0.6 0.0214286         $5.57
2021      Administration                                     claims (sole lien) (.6)
          & Objections

September Claims                    09/16/21 JRW         260 revise draft motion (sole lien) (1.1).                                                                 1.1 0.0392857        $10.21
2021      Administration
          & Objections

September Claims                    09/17/21 JRW         260 correspondence with M. Rachlis and K. Duff regarding single claims process (sole lien) (.1)            0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                    09/17/21 JRW         260 Review redlines and further revise single claims process and draft motion (sole lien) (1.0)            1.0 0.0357143         $9.29
2021      Administration
          & Objections

September Claims                    09/17/21 MR          390 Review and revise drafts of the joint motion for claims process and related follow up with K.          1.5 0.0535714        $20.89
2021      Administration                                     Duff and J. Wine (sole lien).
          & Objections




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417 Oglesby Avenue                                                EquityBuild - Specific Property Allocation Task Detail



  Invoice                                      Time                                                                                                                           Allocated   Allocated
             Billing Category   Entry Date             Rate                                           Task Description                                           Task Hours
  Month                                       Keeper                                                                                                                            Hours        Fees
September Claims                    09/20/21 JRW         260 Additional revisions to single claims process and motion (sole lien) (1.3)                                 1.3 0.0464286        $12.07
2021      Administration
          & Objections

September Claims                    09/21/21 JRW         260 review revisions to draft joint motion regarding process for single claims and related                     0.4 0.0142857         $3.71
2021      Administration                                     correspondence with K. Duff (sole lien) (.4)
          & Objections

September Claims                    09/22/21 JRW         260 correspondence with K. Duff and M. Rachlis regarding single claims process, review multiple                2.1       0.075      $19.50
2021      Administration                                     redlines and further revise motion and proposed process to incorporate comments (sole lien)
          & Objections                                       (2.1)

September Claims                    09/22/21 MR          390 Further review and comment on issues regarding proposals on single lien process and follow                 1.2 0.0428571        $16.71
2021      Administration                                     up regarding same (sole lien) (1.2)
          & Objections

September Claims                    09/23/21 JRW         260 Additional revisions to single claims process and related correspondence (sole lien) (.8)                  0.8 0.0285714         $7.43
2021      Administration
          & Objections

September Claims                    09/23/21 MR          390 Attention to issues and edits on motion regarding single lien issues (sole lien).                          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                    09/24/21 JRW         260 final revisions to single claims process and related email to claimants' counsel (sole lien) (.4)          0.4 0.0142857         $3.71
2021      Administration
          & Objections




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                                                                                                    EquityBuild - Property Allocation Summary

Property:                                                                  7922 S Luella Avenue
General Allocation % (Pre 01/29/21):                                                 0.1682798%
General Allocation % (01/29/21 Onward, Claims Only):

                                                                                       General Allocation [1]                                       Specific Allocation [2]                         Total Allocation [3]
   Prop #                      Property Address                                   Hours                          Fees                         Hours                       Fees              Hours                          Fees
     20       7922 S Luella Avenue                                                           5.80     $              1,583.85                           42.94    $            13,402.97               48.74    $             14,986.82
                 Asset Disposition [4]                                                        0.35    $                  115.87                          20.52   $               5,864.62              20.87   $                  5,980.49
                 Business Operations [5]                                                      0.36    $                  106.97                          11.46   $               3,736.31              11.81   $                  3,843.27
                 Claims Administration & Objections [6]                                       5.09    $                 1,361.01                         10.97   $               3,802.05              16.06   $                  5,163.06




[1] Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2] Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and
details can be found in "Specific Task Allocation Detail" section of document starting on Page 2.
[3] Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4] Time/Task entries relating to "Asset Disposition" Billing Category
[5] Time/Task entries relating to "Business Operations" Billing Category
[6] Time/Task entries relating to "Claims Administration & Objections" Billing Category




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7922 S Luella Avenue                                                      EquityBuild - Specific Property Allocation Task Detail


Specific Allocation Hours:                    42.94
Specific Allocation Fees:         $       13,402.97



   Invoice                                             Time                                                                                                                   Allocated   Allocated
               Billing Category       Entry Date               Rate                                          Task Description                                    Task Hours
   Month                                              Keeper                                                                                                                    Hours        Fees
August 2018 Business                      08/22/18 KBD           390 Prepare for and meet with property manager and A. Porter (1.7)                                     1.7       0.025       $9.75
            Operations
August 2018 Business                      08/22/18 KBD           390 telephone and office conferences with A. Porter regarding property management issues (.4)          0.4 0.0037736         $1.47
            Operations
August 2018 Business                      08/23/18 KBD           390 Telephone conference with property manager regarding buildout at commercial space, cash            0.3 0.0044118         $1.72
            Operations                                               flow model, and process and study correspondence regarding same (.3)

August 2018 Business                      08/23/18 KBD           390 telephone conference and exchange correspondence with property manager regarding                   0.3 0.0044118         $1.72
            Operations                                               payment of real estate taxes, source of cash, accounting of transfer, and repayment (.3)

August 2018 Business                      08/25/18 KBD           390 study various additional financial and property management information from property               0.7 0.0066038         $2.58
            Operations                                               managers (.7)
August 2018 Business                      08/25/18 KBD           390 office conferences with A. Porter regarding various property and business management               0.6 0.0056604         $2.21
            Operations                                               issues (.6)
August 2018 Business                      08/27/18 KBD           390 telephone conference with A. Porter regarding meetings with property managers (.2)                 0.2 0.0018692         $0.73
            Operations
August 2018 Business                      08/27/18 KBD           390 Telephone conference with property management representative regarding meeting with                0.1 0.0014925         $0.58
            Operations                                               property manager (.1)
August 2018 Business                      08/27/18 KBD           390 meet with property manager (1.5)                                                                   1.5 0.0220588         $8.60
            Operations
August 2018 Business                      08/27/18 KBD           390 study correspondence from property manager representative regarding compensation                   0.1 0.0014925         $0.58
            Operations                                               structure (.1)
August 2018 Business                      08/27/18 KBD           390 conferences with A. Porter regarding same (.8)                                                     0.8 0.0075472         $2.94
            Operations
August 2018 Business                      08/27/18 KBD           390 prepare for meetings with property managers (.9)                                                   0.9 0.0084906         $3.31
            Operations
August 2018 Business                      08/27/18 KBD           390 review correspondence from property manager regarding lockbox payments (.1)                        0.1 0.0014925         $0.58
            Operations
August 2018 Business                      08/28/18 KBD           390 study correspondence from N. Mirjanich regarding same (.2)                                         0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 study and revise proposed order from property manager's counsel (.3)                               0.3 0.0044118         $1.72
            Operations
August 2018 Business                      08/28/18 KBD           390 telephone conference with counsel for property manager (.2)                                        0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 second telephone conference with property managers counsel re same (.2)                            0.2 0.0029412         $1.15
            Operations
August 2018 Business                      08/28/18 KBD           390 office conference with A. Porter regarding same (.1)                                               0.1 0.0014706         $0.57
            Operations




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2018 Business                 08/29/18 KBD         390 Office conference with K. Pritchard regarding EquityBuild invoices property management               0.4 0.0037736         $1.47
            Operations                                        issues (.4)
August 2018 Business                 08/30/18 KBD         390 draft correspondence to A. Porter and N. Mirjanich regarding same (.3)                               0.3 0.0028302         $1.10
            Operations
August 2018 Business                 08/30/18 KBD         390 exchange correspondence with property manager regarding meeting to discuss net rent cash             0.2 0.0029851         $1.16
            Operations                                        flow (.2)
August 2018 Business                 08/30/18 KBD         390 study correspondence from contractor regarding various property management issues (.1)               0.1 0.0009434         $0.37
            Operations
August 2018 Business                 08/31/18 KBD         390 conference with property manager regarding property management and compensation                      0.9 0.0132353         $5.16
            Operations                                        issues (.9)
August 2018 Business                 08/31/18 KBD         390 exchange correspondence with property manager regarding escrow issue and conference                  0.2 0.0029412         $1.15
            Operations                                        with A. Porter and N. Mirjanich regarding same (.2)
August 2018 Business                 08/31/18 KBD         390 Office conference with A. Porter regarding the property manager compensation (.7)                    0.7 0.0066038         $2.58
            Operations
August 2018 Business                 08/31/18 KBD         390 draft correspondence to property manager regarding escrow and compensation issues (.7)               0.7 0.0102941         $4.01
            Operations
August 2018 Claims                   08/22/18 KBD         390 analysis of records and information, including incomplete nature of same, regarding                  1.9 0.0213483         $8.33
            Administration                                    institutional lenders in relation to properties (1.9)
            & Objections

August 2018 Claims                   08/25/18 KBD         390 Study documents regarding lenders and exchange correspondence with E. Duff regarding                 0.3 0.0033708         $1.31
            Administration                                    same.
            & Objections

August 2018 Claims                   08/28/18 KBD         390 Telephone conference with and study correspondence from E. Duff regarding institutional              0.5    0.005618       $2.19
            Administration                                    lenders, rental income, debt service, and communication with institutional lenders (.5)
            & Objections

August 2018 Claims                   08/28/18 KBD         390 review correspondence from property manager regarding lender request for property access             0.2 0.0022472         $0.88
            Administration                                    and office conference with E. Duff regarding same (.2).
            & Objections

August 2018 Claims                   08/29/18 KBD         390 numerous conferences with E. Duff regarding various communications with institutional                0.4 0.0044944         $1.75
            Administration                                    lenders (.4)
            & Objections

August 2018 Claims                   08/29/18 KBD         390 review correspondence from counsel for investor and draft correspondence to E. Duff                  0.1 0.0011236         $0.44
            Administration                                    regarding same (.1)
            & Objections

August 2018 Asset                    08/31/18 NM          260 Correspond with K. Duff and A. Porter regarding potential asset disposition issue and study          0.5    0.004717       $1.23
            Disposition                                       emails regarding same.




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
August 2018 Business                 08/22/18 AEP         390 Meeting with property managers regarding roles and responsibilities, background of                    2.0 0.0294118        $11.47
            Operations                                        properties under management, accounting issues, cash management, and action items (2.0)

August 2018 Business                 08/28/18 ED          390 Emails with property manager regarding property inspection visit by lender (.2)                       0.2 0.0022472         $0.88
            Operations
August 2018 Business                 08/28/18 NM          260 study draft order from property management company attorney and revise same (.1).                     0.1 0.0014925         $0.39
            Operations
August 2018 Business                 08/30/18 AEP         390 Meeting with property managers regarding general background of property management                    1.5 0.0140187         $5.47
            Operations                                        functions being performed, scope of assets under management, and immediate action items
                                                              (1.5)
August 2018 Business                 08/30/18 AEP         390 teleconference with Mr. Duff regarding results of discussion with property managers                   0.5 0.0046729         $1.82
            Operations                                        regarding necessity of funding continuing operations at all properties, and additional
                                                              financial issues relating to EquityBuild (.5).
August 2018 Business                 08/30/18 AEP         390 second meeting with property managers regarding outstanding invoices (.5)                             0.5 0.0046729         $1.82
            Operations
August 2018 Claims                   08/27/18 ED          390 summarize information regarding escrows and reserve amounts for review by Receiver (.7).              0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 create spreadsheet to reflect documents received (.7)                                                 0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/27/18 ED          390 prepare checklist of necessary follow-up with lenders from which information is missing (.5)          0.5    0.005618       $2.19
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 review documentation received to date for debt service details (.7)                                   0.7 0.0078652         $3.07
            Administration
            & Objections

August 2018 Claims                   08/28/18 ED          390 Prepare checklist with information to obtain and provide in calls with lenders (.9)                   0.9 0.0101124         $3.94
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 emails to seven lenders requesting copies of loan documents and related information (1.6)             1.6 0.0372093        $14.51
            Administration
            & Objections

August 2018 Claims                   08/29/18 ED          390 Review and reply to emails and review of documents from lenders, counsel, review                      0.5    0.005618       $2.19
            Administration                                    documents relating to mortgage loans (.5)
            & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2018 Claims                   08/30/18 ED          390 update working lists regarding loan information and issues for follow-up (.6)                          0.6 0.0067416         $2.63
            Administration
            & Objections

August 2018 Claims                   08/30/18 ED          390 draft letter to lenders with updates regarding property taxes and debt service payments                1.1 0.0123596         $4.82
            Administration                                    (1.1).
            & Objections

August 2018 Claims                   08/30/18 ED          390 confer with Receiver regarding responses to lenders (.3)                                               0.3 0.0033708         $1.31
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 Assist Receiver in preparation of letter sent to institutional lenders (5.4)                           5.4 0.0606742        $23.66
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver regarding release of escrow funds to pay past due property taxes (.2)             0.2 0.0029412         $1.15
            Administration
            & Objections

August 2018 Claims                   08/31/18 ED          390 confer with Receiver's counsel regarding requirements for receipt of lenders' documents via            0.3 0.0081081         $3.16
            Administration                                    drive and regarding information pertaining to institutional loans from records of EquityBuild
            & Objections                                      counsel (.3).

August 2018 Claims                   08/31/18 NM          260 and assist E. Duff and A. Watychowicz regarding preparation of same and send same out via              1.5 0.0168539         $4.38
            Administration                                    email (1.5).
            & Objections

August 2018 Claims                   08/31/18 NM          260 correspond with E. Duff and A. Watychowicz regarding notice letter being sent to                       0.2 0.0022472         $0.58
            Administration                                    institutional lenders (.2)
            & Objections

September    Asset                   09/14/18 KBD         390 review correspondence from potential brokers regarding proposal opportunity (.1).                      0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/14/18 KBD         390 Study and revise draft correspondence regarding broker proposals and office conference                 0.4 0.0037383         $1.46
2018         Disposition                                      with M. Rachlis regarding same (.4)
September    Asset                   09/15/18 KBD         390 Exchange correspondence with potential brokers regarding proposal for services and related             0.1 0.0009346         $0.36
2018         Disposition                                      information.
September    Asset                   09/17/18 KBD         390 Review correspondence regarding information for potential real estate brokers.                         0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 review correspondence from potential brokers regarding same (.1)                                       0.1 0.0009346         $0.36
2018         Disposition




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
September    Asset                   09/20/18 KBD         390 review correspondence from potential broker (.1)                                                        0.1 0.0009346         $0.36
2018         Disposition
September    Asset                   09/20/18 KBD         390 Study due diligence materials for potential real estate brokers (.2)                                    0.2 0.0018692         $0.73
2018         Disposition
September    Asset                   09/20/18 KBD         390 exchange correspondence with A. Porter regarding information provided to potential                      0.1 0.0009346         $0.36
2018         Disposition                                      brokers (.1).
September    Asset                   09/21/18 KBD         390 Exchange correspondence with potential broker regarding confidentiality and market                      0.1 0.0009346         $0.36
2018         Disposition                                      reports.
September    Business                09/02/18 KBD         390 study schedule of institutional lenders with portfolio value, contact information, and balance          0.2 0.0022472         $0.88
2018         Operations                                       information (.2)
September    Business                09/02/18 KBD         390 study correspondence from A. Porter regarding property manager compensation issue (.1).                 0.1 0.0014925         $0.58
2018         Operations
September    Business                09/03/18 KBD         390 telephone conference with property manager representatives regarding same (.6)                          0.6 0.0088235         $3.44
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with property management company representatives regarding                      0.5 0.0073529         $2.87
2018         Operations                                       same (.5)
September    Business                09/03/18 KBD         390 Exchange correspondence with A. Porter regarding property management agreement (.4)                     0.4 0.0058824         $2.29
2018         Operations
September    Business                09/03/18 KBD         390 exchange correspondence with E. Duff regarding same and lender escrow funds (.1).                       0.1 0.0014706         $0.57
2018         Operations
September    Business                09/04/18 KBD         390 telephone conference and exchange correspondence with Andrew Porter regarding draft                     0.4 0.0058824         $2.29
2018         Operations                                       letter agreement with property manager (.4)
September    Business                09/04/18 KBD         390 telephone conference with representatives of local property investment and management                   0.5    0.004717       $1.84
2018         Operations                                       firm regarding interest in management, development, construction, and acquisition (.5)

September    Business                09/04/18 KBD         390 revise correspondence to property manager regarding compensation (.5)                                   0.5 0.0073529         $2.87
2018         Operations
September    Business                09/05/18 KBD         390 revise and exchange correspondence with property manager regarding compensation                         0.4 0.0058824         $2.29
2018         Operations                                       structure (.4)
September    Business                09/07/18 KBD         390 exchange correspondence with E. Duff regarding rent rolls from property managers and                    0.3 0.0053571         $2.09
2018         Operations                                       requests from lenders (.3)
September    Business                09/07/18 KBD         390 conference with property and real estate firm representative and M. Rachlis regarding                   0.7 0.0066038         $2.58
2018         Operations                                       receivership and property issues (.7)
September    Business                09/07/18 KBD         390 study property manager financial reporting (.7)                                                         0.7 0.0066038         $2.58
2018         Operations
September    Business                09/09/18 KBD         390 Revise agreement with property manager.                                                                 0.3 0.0044118         $1.72
2018         Operations
September    Business                09/10/18 KBD         390 revise compensation structure (.4)                                                                      0.4 0.0058824         $2.29
2018         Operations
September    Business                09/10/18 KBD         390 telephone conference with and study correspondence from property manager regarding                      0.5 0.0073529         $2.87
2018         Operations                                       compensation structure and prospective property improvements (.5)
September    Business                09/10/18 KBD         390 study notes from and office conference with E. Duff regarding property manager                          0.1 0.0014925         $0.58
2018         Operations                                       compensation (.1)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
September    Business                09/10/18 KBD         390 analysis of property manager reports and rent rolls (2.5)                                                 2.5 0.0233645         $9.11
2018         Operations
September    Business                09/10/18 KBD         390 study correspondence and proposal from potential property manager (.2)                                    0.2 0.0018692         $0.73
2018         Operations
September    Business                09/11/18 KBD         390 revise agreement with property manager (.2)                                                               0.2 0.0029412         $1.15
2018         Operations
September    Business                09/14/18 KBD         390 Study financial reporting from property manager and correspondence regarding same (.3)                    0.3 0.0044118         $1.72
2018         Operations
September    Business                09/14/18 KBD         390 telephone conference with property manager and A. Porter regarding efforts to protect                     0.4 0.0059701         $2.33
2018         Operations                                       overall portfolio and property values (.4)
September    Business                09/18/18 KBD         390 draft correspondence to M. Rachlis and A. Porter regarding potential meeting with real                    0.1 0.0009346         $0.36
2018         Operations                                       estate firm representatives (.1)
September    Business                09/19/18 KBD         390 office conference with N. Mirjanich regarding Chicago property managers, confirming no                    0.5    0.004717       $1.84
2018         Operations                                       health, life safety issues, and court cases regarding property violation notices and remedial
                                                              efforts (.5)
September    Business                09/21/18 KBD         390 Exchange correspondence with N. Mirjanich regarding planning for meeting with city counsel                0.1 0.0009434         $0.37
2018         Operations                                       (.1)
September    Business                09/21/18 KBD         390 review communication from potential broker and draft correspondence to S. Zjalic regarding                0.1 0.0009346         $0.36
2018         Operations                                       same (.1)
September    Business                09/24/18 KBD         390 analysis of property management expenses (2.1)                                                            2.1 0.0196262         $7.65
2018         Operations
September    Business                09/26/18 KBD         390 Review correspondence from potential broker regarding offer of services (.1)                              0.1 0.0009346         $0.36
2018         Operations
September    Claims                  09/12/18 KBD         390 Office conference with A. Porter and E. Duff regarding lenders.                                           0.5    0.005618       $2.19
2018         Administration
             & Objections

September Claims                     09/18/18 KBD         390 Office conferences and study correspondence from E. Duff and regarding commercial                         0.4 0.0044944         $1.75
2018      Administration                                      lenders and various related issues (.4)
          & Objections

September Claims                     09/18/18 KBD         390 office conference with M. Rachlis regarding commercial lenders, secured interests, and                    0.8 0.0089888         $3.51
2018      Administration                                      potential distribution issues (.8)
          & Objections

September Claims                     09/19/18 KBD         390 Study memorandum from E. Duff regarding communications with institutional mortgage                        0.4 0.0044944         $1.75
2018      Administration                                      lenders.
          & Objections

September Claims                     09/25/18 KBD         390 legal research and analysis of institutional lender rights in regard to property portfolio (1.9)          1.9 0.0213483         $8.33
2018      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September Claims                     09/25/18 KBD         390 office conferences with and study correspondence from E. Duff regarding institutional lender           0.3 0.0033708         $1.31
2018      Administration                                      production of documentation and rights with respect to same (.3)
          & Objections

September Claims                     09/25/18 KBD         390 study correspondence from lenders servicing agent (.3).                                                0.3 0.0081081         $3.16
2018      Administration
          & Objections

September Claims                     09/25/18 KBD         390 separate office conferences with M. Rachlis and A. Porter regarding same (.7)                          0.7 0.0078652         $3.07
2018      Administration
          & Objections

September Claims                     09/27/18 KBD         390 Study information from E. Duff regarding various communications with institutional lenders             0.4 0.0071429         $2.79
2018      Administration                                      (.4)
          & Objections

September    Asset                   09/11/18 MR          390 Call with potential real estate broker.                                                                0.4 0.0037383         $1.46
2018         Disposition
September    Asset                   09/14/18 AEP         390 Revise proposed letter to real estate brokerage firms regarding requests for proposals (.3)            0.3 0.0028037         $1.09
2018         Disposition
September    Asset                   09/14/18 AEP         390 review files produced by former EquityBuild counsel for copies of appraisals, broker opinions          1.9    0.017757       $6.93
2018         Disposition                                      of value, profit and loss statements, and other documents to be produced to potential
                                                              brokerage firms (1.9).
September    Asset                   09/14/18 AW          140 Attention to email containing drafts to various brokers (.1)                                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with M. Rachlis regarding safe way to share files with them (.1)                           0.1 0.0009346         $0.13
2018         Disposition
September    Asset                   09/14/18 AW          140 proofread letter and email M. Rachlis regarding revisions (.2)                                         0.2 0.0018692         $0.26
2018         Disposition
September    Asset                   09/14/18 AW          140 communicate with A. Porter regarding documents that need to be provided to brokers and                 0.1 0.0009346         $0.13
2018         Disposition                                      when they will be ready (.1)
September    Asset                   09/14/18 AW          140 final revisions to letters (.3)                                                                        0.3 0.0028037         $0.39
2018         Disposition
September    Asset                   09/14/18 AW          140 email brokers (.2).                                                                                    0.2 0.0018692         $0.26
2018         Disposition
September    Asset                   09/15/18 AEP         390 Continue reviewing files produced by former EquityBuild counsel for materials to be                    2.7 0.0252336         $9.84
2018         Disposition                                      produced to brokerage firms and update master property spreadsheet in anticipation of
                                                              production.
September    Asset                   09/17/18 AEP         390 Teleconference with property manager regarding need to assemble T-12 profit and loss                   0.1 0.0009346         $0.36
2018         Disposition                                      statements for production to potential brokerage.
September    Asset                   09/20/18 AEP         390 Assemble all due diligence materials into newly created electronic records account and                 0.3 0.0028037         $1.09
2018         Disposition                                      prepare e-mail to competing brokerage firms regarding existence and location of
                                                              documentation.


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
September    Business                09/07/18 ED          390 call with property manager [WPD] regarding rent rolls and financial reporting, and review of            0.6 0.0089552         $3.49
2018         Operations                                       documents received regarding same (.6).
September    Business                09/10/18 ED          390 Review draft letter agreement with property manager and confer with Receiver regarding                  0.7 0.0104478         $4.07
2018         Operations                                       same (.7);
September    Business                09/10/18 ED          390 calls with A. Porter and EquityBuild personnel regarding financial reporting and records (.3).          0.3 0.0033708         $1.31
2018         Operations
September    Business                09/12/18 AEP         390 teleconference with E. Duff and property manager regarding past financial reporting and                 0.3 0.0033708         $1.31
2018         Operations                                       revision to procedure for reporting to institutional lenders (.3).
September    Business                09/12/18 AEP         390 Conference with E. Duff regarding existing procedures for financial reporting to institutional          0.4 0.0044944         $1.75
2018         Operations                                       lenders and possible revisions to procedure for reporting by property managers (.4)

September    Business                09/12/18 ED          390 calls and emails with property managers and EquityBuild employee regarding same (1.1).                  1.1 0.0123596         $4.82
2018         Operations
September    Business                09/12/18 ED          390 confer with Receiver and A. Porter regarding financial reporting (1.8)                                  1.8 0.0202247         $7.89
2018         Operations
September    Business                09/14/18 AEP         390 teleconference with K. Duff and property manager regarding August 2018 financials and                   0.4 0.0037383         $1.46
2018         Operations                                       distribution (.4).
September    Business                09/14/18 AEP         390 Teleconference with property manager regarding forthcoming need to share information                    0.3 0.0028037         $1.09
2018         Operations                                       with prospective brokers (.3)
September    Business                09/19/18 NM          260 Telephone call with K. Duff regarding expenses and budget from property managers and                    0.2 0.0018692         $0.49
2018         Operations                                       other expenses/money coming into receivership (.2)
September    Business                09/25/18 NM          260 correspond with K. Duff regarding same and City intervention (.1)                                       0.1 0.0009434         $0.25
2018         Operations
September    Business                09/28/18 ED          390 review loan documents received and Statements Concerning Receivership Assets filed                      2.4 0.0510638        $19.91
2018         Operations                                       relating to mortgage loans (2.4)
September    Claims                  09/06/18 ED          390 update list of loan information and documents received to date, review related email                    0.3 0.0033708         $1.31
2018         Administration                                   correspondence (.3).
             & Objections

September Claims                     09/07/18 ED          390 follow up on pending document and information requests regarding loans (.5)                             0.5 0.0089286         $3.48
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to create contact list of institutional lenders (.1)                               0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 attention to request to locate communications from institutional lenders (.1)                           0.1 0.0011236         $0.16
2018      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/10/18 AW          140 Attention to documents from institutional lenders (.1)                                              0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 download files and communicate with E. Duff regarding same (.1)                                     0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 communicate with E. Duff regarding same (.1)                                                        0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 AW          140 email E. Duff with request for review (.1).                                                         0.1 0.0011236         $0.16
2018      Administration
          & Objections

September Claims                     09/10/18 ED          390 follow up on correspondence and document requests from lenders and counsel (2.6)                    2.6 0.0590909        $23.05
2018      Administration
          & Objections

September Claims                     09/10/18 ED          390 call with EquityBuild employee regarding contacts and documents from institutional lenders          0.2 0.0022472         $0.88
2018      Administration                                      (.2).
          & Objections

September Claims                     09/14/18 ED          390 review and reply to email correspondence regarding financial reporting to lenders (.4)              0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 develop summary report to receiver re mortgage loan status (.4).                                    0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/17/18 ED          390 review loan documents and related deliveries received from lenders (4.4)                            4.4 0.0494382        $19.28
2018      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Claims                     09/18/18 ED          390 emails to lenders and counsel to follow up on missing loan documents (1.6)                          1.6 0.0421053        $16.42
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 confer with Receiver regarding communication to lenders regarding status (.3)                       0.3 0.0033708         $1.31
2018      Administration
          & Objections

September Claims                     09/18/18 ED          390 draft summary for Receiver of status of loan information and issues (1.6).                          1.6 0.0179775         $7.01
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 review loan documents received and update master list of mortgage loan information (.4)             0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 Continue preparation of mortgage loan status summary for Receiver (2.3)                             2.3 0.0258427        $10.08
2018      Administration
          & Objections

September Claims                     09/19/18 ED          390 calls and emails with counsel for lenders requesting loan terms and documents, and review           1.4 0.0157303         $6.13
2018      Administration                                      of documents and information regarding same (1.4)
          & Objections

September Claims                     09/20/18 ED          390 Calls and emails with counsel for lender and special servicer.                                      3.8 0.1027027        $40.05
2018      Administration
          & Objections

September Claims                     09/21/18 ED          390 Review correspondence from lenders and counsel (.4)                                                 0.4 0.0074074         $2.89
2018      Administration
          & Objections

September Claims                     09/21/18 NM          260 Correspond with E. Duff regarding institutional lender loans, documents needed, properties          0.7 0.0078652         $2.04
2018      Administration                                      with loans and repairs, and potential assets from loan application refunds.
          & Objections

September Claims                     09/24/18 AEP         390 Conference with K. Duff regarding development of motions relating to lender issues.                 0.4 0.0044944         $1.75
2018      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
September Claims                     09/25/18 AEP         390 Research regarding issue relating to institutional loans.                                            1.2 0.0134831         $5.26
2018      Administration
          & Objections

September Claims                     09/25/18 ED          390 Calls with lenders and counsel regarding loan document request (.4)                                  0.4 0.0105263         $4.11
2018      Administration
          & Objections

September Claims                     09/25/18 ED          390 call with company employee regarding mortgage loan applications and financial reporting to           0.3 0.0033708         $1.31
2018      Administration                                      lenders (.3)
          & Objections

September Claims                     09/26/18 AEP         390 Research regarding issue relating to lenders and begin preparation of memorandum of                  1.7 0.0191011         $7.45
2018      Administration                                      points and authorities (1.7)
          & Objections

September Claims                     09/26/18 ED          390 Review and reply to email correspondence from lenders and counsel.                                   0.7 0.0152174         $5.93
2018      Administration
          & Objections

September Claims                     09/27/18 AEP         390 Review lender spreadsheets created by E. Duff in preparation for meeting on lender issues.           0.4 0.0044944         $1.75
2018      Administration
          & Objections

September Claims                     09/27/18 ED          390 review and reply to email correspondence and phone messages from lenders and counsel                 2.5 0.0446429        $17.41
2018      Administration                                      (2.5)
          & Objections

October      Asset                   10/01/18 KBD         390 office conference with M. Rachlis regarding same (.5)                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/01/18 KBD         390 telephone conferences with A. Porter regarding same, real estate taxes, and evaluation of            0.4 0.0037383         $1.46
2018         Disposition                                      properties and debt ratio (.4).
October      Asset                   10/01/18 KBD         390 Study proposals from brokers regarding property disposition (3.3)                                    3.3 0.0308411        $12.03
2018         Disposition
October      Asset                   10/02/18 KBD         390 Study proposals from brokers with respect to potential disposition of real estate portfolio          2.7 0.0252336         $9.84
2018         Disposition                                      (2.7)
October      Asset                   10/02/18 KBD         390 office conferences with M. Rachlis and A. Porter regarding same (.7).                                0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/03/18 KBD         390 Study and analyze potential broker proposals ( .9)                                                   0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/04/18 KBD         390 ; draft correspondence to broker representative regarding same (.1).                                 0.1 0.0009346         $0.36
2018         Disposition




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  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
October      Asset                   10/04/18 KBD         390 Analyze broker proposals and draft agreement (1.7)                                               1.7 0.0158879         $6.20
2018         Disposition
October      Asset                   10/05/18 KBD         390 Study draft agreement with broker(.7)                                                            0.7 0.0065421         $2.55
2018         Disposition
October      Asset                   10/05/18 KBD         390 study correspondence from A. Porter regarding same ( .1)                                         0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/08/18 KBD         390 Study and revise agreement with real estate broker (2.1)                                         2.1 0.0196262         $7.65
2018         Disposition
October      Asset                   10/08/18 KBD         390 study correspondence and agreement revisions from M. Rachlis regarding same (.2)                 0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 Office conferences with A. Porter regarding broker agreement (.2)                                0.2 0.0018692         $0.73
2018         Disposition
October      Asset                   10/09/18 KBD         390 further study and revise broker agreement (.9).                                                  0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 office conference with M. Rachlis and A. Porter regarding same (.5).                             0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/10/18 KBD         390 Study broker agreement and various exhibits (.9)                                                 0.9 0.0084112         $3.28
2018         Disposition
October      Asset                   10/10/18 KBD         390 conference with broker representatives, M. Rachlis, and A. Porter regarding agreement            0.7 0.0065421         $2.55
2018         Disposition                                      terms and further background information(.7)
October      Asset                   10/11/18 KBD         390 study correspondence and revised agreement from broker representative regarding same             0.3 0.0028037         $1.09
2018         Disposition                                      (.3)
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis and A. Porter regarding negotiation of same (1.5)              1.5 0.0140187         $5.47
2018         Disposition
October      Asset                   10/11/18 KBD         390 Revise draft agreement with broker (.8)                                                          0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/11/18 KBD         390 office conference with M. Rachlis regarding communications with potential brokers                0.2 0.0018692         $0.73
2018         Disposition                                      regarding engagement of broker (.2)
October      Asset                   10/11/18 KBD         390 telephone conference with broker representative (.1)                                             0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/12/18 KBD         390 meet with broker representatives, M. Rachlis, A. Porter, and N. Mirjanich regarding key          2.1 0.0196262         $7.65
2018         Disposition                                      information and implementation of asset management and brokerage strategy (2.1)

October      Asset                   10/12/18 KBD         390 prepare for meeting with broker (.6)                                                             0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/14/18 KBD         390 Review information provided to asset management firm.                                            0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/20/18 KBD         390 Study correspondence from asset manager regarding sale method.                                   0.1 0.0009346         $0.36
2018         Disposition
October      Asset                   10/24/18 KBD         390 study analysis of single family home portfolio (.4).                                             0.4 0.0108108         $4.22
2018         Disposition
October      Asset                   10/25/18 KBD         390 study draft purchase and sale agreement and representation agreement for single family           0.2 0.0054054         $2.11
2018         Disposition                                      homes and review correspondence regarding same (.2)


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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
October      Asset                   10/28/18 KBD         390 Draft correspondence to real estate broker regarding potential property purchaser.                  0.1 0.0009346         $0.36
2018         Disposition
October      Business                10/03/18 KBD         390 office conference with E. Duff regarding lender compliance with requests for loan                   0.6 0.0067416         $2.63
2018         Operations                                       documents, efforts to gain lender release of escrow funds, and communications from lender
                                                              regarding status of loans relative to loan obligations and study document and
                                                              correspondence regarding same (.6)
October      Business                10/04/18 KBD         390 study correspondence from property manager regarding housing court matters, scofflaw list,          0.2 0.0018692         $0.73
2018         Operations                                       and tenant evictions (.2)
October      Business                10/05/18 KBD         390 Exchange correspondence with N. Mirjanich regarding communications with city officials              0.1 0.0009434         $0.37
2018         Operations                                       regarding scofflaw list (.1)
October      Business                10/08/18 KBD         390 office conference with A. Porter and N. Mirjanich regarding issues and communications with          0.4 0.0037736         $1.47
2018         Operations                                       property managers (.4)
October      Business                10/08/18 KBD         390 telephone conference with property street manager regarding property repair, housing                0.3 0.0044118         $1.72
2018         Operations                                       court, and confirmation of accounting for rents (.3)
October      Business                10/15/18 KBD         390 exchange correspondence with property manager regarding same (.3)                                   0.3 0.0044118         $1.72
2018         Operations
October      Business                10/15/18 KBD         390 Telephone conference with A. Porter regarding meeting with property managers (.2)                   0.2 0.0018692         $0.73
2018         Operations
October      Business                10/15/18 KBD         390 meeting with property manager regarding various property and financial issues (1.8)                 1.8 0.0264706        $10.32
2018         Operations
October      Business                10/18/18 KBD         390 study property manager monthly report (.3)                                                          0.3 0.0044118         $1.72
2018         Operations
October      Business                10/18/18 KBD         390 exchange correspondence with A. Watychowicz regarding same (.1).                                    0.1 0.0014706         $0.57
2018         Operations
October      Business                10/20/18 KBD         390 Review correspondence from property manager regarding monthly reporting distribution.               0.1 0.0014925         $0.58
2018         Operations
October      Business                10/23/18 KBD         390 Review correspondence regarding available affordable housing in relation to EquityBuild             0.1 0.0009346         $0.36
2018         Operations                                       properties (.1)
October      Business                10/29/18 KBD         390 study correspondence from E. Duff and property manager regarding authorization for                  0.3 0.0033708         $1.31
2018         Operations                                       property managers to provide rent rolls and profit and loss reports for each property to
                                                              institutional lenders and addressing coordination of property inspections (.3)

October      Claims                  10/01/18 KBD         390 Office conference with E. Duff regarding communications with lenders, lender mortgage               0.3 0.0033708         $1.31
2018         Administration                                   information, and related issues and study documents regarding same.
             & Objections

October      Claims                  10/03/18 KBD         390 study correspondence from E. Duff regarding mortgage loans and reconciliation of                    0.3 0.0033708         $1.31
2018         Administration                                   information (.3).
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/08/18 KBD         390 Analysis of institutional lender contractual terms and accounting for net rent income (.8)             0.8 0.0089888         $3.51
2018         Administration
             & Objections

October      Claims                  10/08/18 KBD         390 study memorandum from M. Rachlis regarding provisions in institutional lenders agreements              0.4 0.0044944         $1.75
2018         Administration                                   and provisions in order appointing receiver (.4)
             & Objections

October      Claims                  10/09/18 KBD         390 draft correspondence to and office conference with M. Rachlis regarding random collection              1.1 0.0123596         $4.82
2018         Administration                                   procedures and communications with institutional lenders with respect to same (1.1)
             & Objections

October      Claims                  10/09/18 KBD         390 study various correspondence from institutional lenders (.3)                                           0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/14/18 KBD         390 Telephone conference with M. Rachlis, A. Porter, and E. Duff regarding meetings with                   2.8 0.0314607        $12.27
2018         Administration                                   institutional lender and property managers, analysis of loan history, various loan documents,
             & Objections                                     rent rolls, and various related issues (2.8)

October      Claims                  10/15/18 KBD         390 conferences with M. Rachlis regarding meetings with property managers and lender (.9)                  0.9 0.0084906         $3.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 exchange correspondence with E. Duff regarding same (.3)                                               0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/18/18 KBD         390 telephone conference with and draft correspondence to asset management firm                            0.3 0.0033708         $1.31
2018         Administration                                   representative regarding debt service analysis (.3)
             & Objections

October      Claims                  10/19/18 KBD         390 Exchange correspondence with property managers regarding monthly operating report (.2)                 0.2 0.0018692         $0.73
2018         Administration
             & Objections

October      Claims                  10/21/18 KBD         390 study analysis of loan information and exchange correspondence with E. Duff regarding                  0.4 0.0044944         $1.75
2018         Administration                                   same (.4).
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
October      Claims                  10/23/18 KBD         390 study correspondence from E. Duff to lenders' counsel regarding rent, insurance, and                   0.2 0.0051282         $2.00
2018         Administration                                   appraisals (.2).
             & Objections

October      Claims                  10/30/18 KBD         390 study correspondence from M. Rachlis and E. Duff regarding same (.2)                                   0.2 0.0054054         $2.11
2018         Administration
             & Objections

October      Claims                  10/30/18 KBD         390 study correspondence from lenders counsel regarding requested documentation (.5)                       0.5 0.0135135         $5.27
2018         Administration
             & Objections

October      Claims                  10/31/18 KBD         390 study correspondence from E. Duff to lender's counsel regarding rent relating information              0.2 0.0051282         $2.00
2018         Administration                                   (.2)
             & Objections

October      Asset                   10/01/18 MR          390 Attention to proposals for disposition and handling of properties.                                     2.5 0.0233645         $9.11
2018         Disposition
October      Asset                   10/02/18 AEP         390 Read and analyze responses to request for proposals received from competing brokerage                  3.2 0.0299065        $11.66
2018         Disposition                                      firms.
October      Asset                   10/02/18 MR          390 Review and conferences regarding proposals for property.                                               3.0 0.0280374        $10.93
2018         Disposition
October      Asset                   10/02/18 NM          260 Correspond with A. Porter, M. Rachlis, and K. Duff regarding the property broker.                      0.5 0.0046729         $1.21
2018         Disposition
October      Asset                   10/03/18 MR          390 Review broker proposal.                                                                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/04/18 AEP         390 Read and revise proposed exclusive listing agreement received from outside brokerage firm.             3.7 0.0345794        $13.49
2018         Disposition
October      Asset                   10/04/18 NM          260 Correspond with A. Porter and K. Duff regarding broker list of questions, property tax                 0.4 0.0037383         $0.97
2018         Disposition                                      payments and sale of same, and property database.
October      Asset                   10/09/18 AEP         390 Edit and revise third draft of proposed exclusive listing agreement tendered by potential              1.5 0.0140187         $5.47
2018         Disposition                                      brokerage firm and discuss same with K. Duff and M. Rachlis (1.5)
October      Asset                   10/09/18 AEP         390 prepare final proposed draft of exclusive sales listing agreement (.5).                                0.5 0.0046729         $1.82
2018         Disposition
October      Asset                   10/09/18 MR          390 Conferences with listing agent, K. Duff and A. Porter.                                                 0.8 0.0074766         $2.92
2018         Disposition
October      Asset                   10/10/18 AEP         390 Meeting with potential real estate brokers regarding negotiation of exclusive sales listing            0.5 0.0046729         $1.82
2018         Disposition                                      agreement and upcoming receivership tasks.
October      Asset                   10/10/18 MR          390 emails regarding and participate in meeting on possible disposition of assets with listing             1.5 0.0140187         $5.47
2018         Disposition                                      agent (1.5).
October      Asset                   10/11/18 AEP         390 Read, analyze, and revise counter-draft of proposed exclusive sales listing agreement with K.          1.3 0.0121495         $4.74
2018         Disposition                                      Duff and M. Rachlis.




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Asset                   10/11/18 MR          390 Attention to issues on brokerage agreement (.6)                                                      0.6 0.0056075         $2.19
2018         Disposition
October      Asset                   10/11/18 MR          390 participate in meeting regarding issues on brokerage agreement (2.2).                                2.2 0.0205607         $8.02
2018         Disposition
October      Asset                   10/12/18 AW          140 create shared folder containing institutional lenders' documentation (1.3).                          1.3 0.0121495         $1.70
2018         Disposition
October      Asset                   10/12/18 AW          140 prepare rent rolls materials for meeting (.3)                                                        0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 Create info sheet for K. Duff before meeting with retained broker (.3)                               0.3 0.0028037         $0.39
2018         Disposition
October      Asset                   10/12/18 AW          140 prepare materials for N. Mirjanich for meeting with retained broker (.1)                             0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/12/18 AW          140 communicate with M. Rachlis and K. Duff regarding way to provide loan documentation to               0.1 0.0009346         $0.13
2018         Disposition                                      retained broker (.1)
October      Asset                   10/12/18 NM          260 office conference with broker, K. Duff, M. Rachlis, and A. Porter following broker                   2.1 0.0196262         $5.10
2018         Disposition                                      engagement (2.1).
October      Asset                   10/15/18 AEP         390 Meeting with property managers regarding overview of properties in portfolio and                     1.5 0.0223881         $8.73
2018         Disposition                                      commencement of process of identifying assets for immediate sale (1.5)
October      Asset                   10/17/18 MR          390 Prepare for and participate in meeting with broker, A. Porter, N. Mirjanich and K. Duff.             2.0 0.0186916         $7.29
2018         Disposition
October      Asset                   10/18/18 AW          140 communicate with another property manager regarding access to reports (.1)                           0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 request reporting info from property management through K. Duff and A. Porter (.1)                   0.1 0.0014925         $0.21
2018         Disposition
October      Asset                   10/18/18 AW          140 provide documents to retained broker (.1)                                                            0.1 0.0009346         $0.13
2018         Disposition
October      Asset                   10/22/18 AEP         390 Conference with receivership team and outside brokers regarding latest strategy for                  2.1 0.0196262         $7.65
2018         Disposition                                      marketing and publicly selling properties and current state of portfolio valuation.

October      Business                10/03/18 ED          390 review documents and correspondence and confer with Receiver and N Mirjanich regarding               2.4 0.0269663        $10.52
2018         Operations                                       same (2.4)
October      Business                10/10/18 AEP         390 Begin reviewing all e-mails containing information pertaining to institutional loans and             2.7 0.0303371        $11.83
2018         Operations                                       alleged defaults, individual property-specific capital repair needs, and offers to purchase
                                                              portfolio assets and begin creating outlines of tasks to be completed in next phase of
                                                              receivership.
October      Business                10/11/18 NM          260 Office conferences with K. Duff, M. Rachlis, and A. Porter regarding the broker engaged,             2.0 0.0186916         $4.86
2018         Operations                                       property status, and update on housing court litigation, and telephone conference with
                                                              property manager regarding same and lender requests (2.0)
October      Business                10/15/18 AW          140 Prepare materials for K. Duff's meeting with management companies (.1)                               0.1 0.0009346         $0.13
2018         Operations
October      Business                10/16/18 AW          140 Attention to reports from property management (.1)                                                   0.1 0.0009346         $0.13
2018         Operations




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Business                10/17/18 AW          140 Communicate with property manager regarding issues with provided documents (.1)                      0.1 0.0014925         $0.21
2018         Operations
October      Claims                  10/02/18 ED          390 review correspondence and documents relating to required financial reporting under                   0.6 0.0098361         $3.84
2018         Administration                                   mortgage loan documents (.6).
             & Objections

October      Claims                  10/02/18 ED          390 Review and reply to messages from lenders and counsel (2.5)                                          2.5 0.0409836        $15.98
2018         Administration
             & Objections

October      Claims                  10/03/18 ED          390 review documents received (.6)                                                                       0.6 0.0157895         $6.16
2018         Administration
             & Objections

October      Claims                  10/04/18 ED          390 Review and reply to queries from lenders counsel.                                                    0.2 0.0043478         $1.70
2018         Administration
             & Objections

October      Claims                  10/11/18 ED          390 Review and respond to emails from K Duff, M. Rachlis relating to financial reporting to              0.6 0.0162162         $6.32
2018         Administration                                   lender.
             & Objections

October      Claims                  10/11/18 MR          390 Conferences regarding issues with institutional lenders.                                             0.4 0.0044944         $1.75
2018         Administration
             & Objections

October      Claims                  10/19/18 ED          390 email correspondence with Receiver and M. Rachlis, A. Porter regarding same (1.1)                    1.1 0.0203704         $7.94
2018         Administration
             & Objections

October      Claims                  10/19/18 ED          390 conference calls with lender's counsel regarding assignment of rents, debt service payments          2.3 0.0425926        $16.61
2018         Administration                                   and other issues (2.3)
             & Objections

October      Claims                  10/21/18 ED          390 review of loan documents received from counsel to lender regarding loans and email to                1.9 0.0513514        $20.03
2018         Administration                                   counsel regarding loan information not yet supplied (1.9)
             & Objections

October      Claims                  10/21/18 ED          390 Review and update chart regarding debt service payments on mortgage loans, review of                 2.9 0.0325843        $12.71
2018         Administration                                   related loan documents and information supplied by lenders (2.9)
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
October      Claims                  10/21/18 ED          390 email to Receiver and counsel regarding debt service requirements and related issues (.3)          0.3 0.0033708         $1.31
2018         Administration
             & Objections

October      Claims                  10/22/18 ED          390 Confer with Receiver and counsel regarding lender requests.                                        0.1    0.002381       $0.93
2018         Administration
             & Objections

October      Claims                  10/23/18 ED          390 confer with Receiver, M. Rachlis, and M. Adler regarding follow up with lenders' counsel           0.9 0.0195652         $7.63
2018         Administration                                   regarding property reporting, insurance, and appraisals (.9)
             & Objections

October      Claims                  10/23/18 ED          390 review of loan documents regarding same, and email correspondence with counsel (3.0).              3.0 0.0652174        $25.43
2018         Administration
             & Objections

October      Claims                  10/25/18 AEP         390 Conference with M. Rachlis regarding lender motions to enforce assignments of rents and            0.8 0.0089888         $3.51
2018         Administration                                   leases.
             & Objections

October      Claims                  10/25/18 ED          390 review and revise information in draft of Receiver's report relating to mortgage loans on          1.5 0.0168539         $6.57
2018         Administration                                   portfolio properties (1.5)
             & Objections

October      Claims                  10/25/18 ED          390 review loan documents relating to insurance requirements (1.5).                                    1.5 0.0405405        $15.81
2018         Administration
             & Objections

October      Claims                  10/25/18 ED          390 prepare documentation for property managers regarding financial reporting (1.9)                    1.9 0.0213483         $8.33
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 confer with counsel to Receiver regarding confirmation of aggregate outstanding principal          0.2 0.0022472         $0.88
2018         Administration                                   amount of mortgage loans (.2)
             & Objections

October      Claims                  10/29/18 ED          390 review of property reporting information received from property managers (.5)                      0.5 0.0046729         $1.82
2018         Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours         Fees
October      Claims                  10/29/18 ED          390 Email correspondence with property managers regarding financial reporting to lenders and          0.9 0.0101124          $3.94
2018         Administration                                   logistics for site visits (.9)
             & Objections

October      Claims                  10/29/18 ED          390 confer with Receiver regarding same (.2)                                                          0.2 0.0022472          $0.88
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 review of related documents (.5)                                                                  0.5    0.005618        $2.19
2018         Administration
             & Objections

October      Claims                  10/29/18 ED          390 email to accountants regarding financial reporting to lenders (.3).                               0.3 0.0033708          $1.31
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 correspondence with property managers regarding site visits and financial reporting to            0.3 0.0033708          $1.31
2018         Administration                                   lenders (.3)
             & Objections

October      Claims                  10/30/18 ED          390 confer with M. Rachlis regarding communication relating to rents and financial reporting          0.2 0.0022472          $0.88
2018         Administration                                   queries (.2)
             & Objections

October      Claims                  10/30/18 ED          390 Review and reply to correspondence and calls from lenders counsel (2.2)                           2.2         0.05      $19.50
2018         Administration
             & Objections

October      Claims                  10/30/18 ED          390 confer with A. Porter, N. Mirjanich to confirm information regarding lenders and loan             0.6 0.0067416          $2.63
2018         Administration                                   balances for report (.6).
             & Objections

October      Claims                  10/31/18 ED          390 review and reply to correspondence and messages from lenders and counsel (5.1)                    5.1 0.1307692         $51.00
2018         Administration
             & Objections

October      Claims                  10/31/18 ED          390 confer with M. Rachlis regarding same (.2)                                                        0.2 0.0051282          $2.00
2018         Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
October      Claims                  10/31/18 MR          390 Attention to response to creditors.                                                                    0.2 0.0022472          $0.88
2018         Administration
             & Objections

November     Asset                   11/07/18 KBD         390 telephone conference with A. Porter regarding same and listing agreement for single family             0.2 0.0054054          $2.11
2018         Disposition                                      home portfolio (.2)
November     Asset                   11/12/18 KBD         390 exchange correspondence with M. Rachlis regarding single family home broker agreement                  0.1 0.0027027          $1.05
2018         Disposition                                      (.1)
November     Asset                   11/16/18 KBD         390 draft correspondence to A. Porter regarding single family home broker agreement (.1)                   0.1 0.0027027          $1.05
2018         Disposition
November     Asset                   11/20/18 KBD         390 office conference with M. Rachlis and draft correspondence to A. Porter regarding same (.2)            0.2 0.0054054          $2.11
2018         Disposition
November     Asset                   11/20/18 KBD         390 study and revise representation agreement with respect to potential sale of single-family              2.5 0.0675676         $26.35
2018         Disposition                                      homes (2.5)
November     Business                11/06/18 KBD         390 office conference with E. Duff regarding property manager reporting to lenders, collection of          0.3 0.0033708          $1.31
2018         Operations                                       and accounting for rent, and communications with property manager (.3)

November     Business                11/13/18 KBD         390 study property manager financial reports (.6).                                                         0.6 0.0088235          $3.44
2018         Operations
November     Business                11/15/18 KBD         390 study financial reports from property manager (.4)                                                     0.4 0.0058824          $2.29
2018         Operations
November     Business                11/16/18 KBD         390 draft correspondence to E. Duff and A. Watychowicz regarding property manager financial                0.1 0.0009346          $0.36
2018         Operations                                       reporting and communications with asset manager (.1).
November     Business                11/28/18 KBD         390 review city collection notices and correspondence from A Porter and property managers                  0.2         0.05      $19.50
2018         Operations                                       regarding same (.2).
November     Claims                  11/15/18 KBD         390 exchange correspondence with property manager regarding monthly financials (.1)                        0.1 0.0014925          $0.58
2018         Administration
             & Objections

November     Claims                  11/15/18 KBD         390 study correspondence from E. Duff and property manager regarding monthly reporting to                  0.2 0.0029851          $1.16
2018         Administration                                   lenders (.2).
             & Objections

November     Business                11/01/18 ED          390 call to accountant regarding financial reporting (.1)                                                  0.1 0.0011236          $0.44
2018         Operations
November     Business                11/01/18 ED          390 confer with M. Adler regarding confirmation of insurance coverage for lenders and review of            0.6 0.0067416          $2.63
2018         Operations                                       related documents (.6).
November     Business                11/02/18 ED          390 review of related documents and confer with Receiver regarding same (.5)                               0.5    0.005618        $2.19
2018         Operations
November     Business                11/02/18 ED          390 call with accountant regarding financial reporting to lenders prior to appointment of                  0.7 0.0078652          $3.07
2018         Operations                                       Receiver (.7)
November     Business                11/06/18 ED          390 review of property reporting documents from property managers (.5)                                     0.5 0.0046729          $1.82
2018         Operations


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  Invoice                                       Time                                                                                                                    Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours         Fees
November     Business                11/06/18 ED          390 confer with Receiver regarding same (.3).                                                           0.3 0.0028037          $1.09
2018         Operations
November     Business                11/06/18 ED          390 Calls and email correspondence with property managers regarding financial reporting and             0.2 0.0018692          $0.73
2018         Operations                                       property inspections by lenders (.2)
November     Business                11/15/18 ED          390 Email to property managers regarding updated financial reporting information and other              0.7 0.0065421          $2.55
2018         Operations                                       related issues (.7)
November     Business                11/29/18 NM          260 correspond with K. Duff and A Porter regarding default notices and study records for same           0.2          0.2      $52.00
2018         Operations                                       (.2)
November     Claims                  11/02/18 AEP         390 Comprehensive search for and review and analysis of documents pertaining to acquisition,            6.5 0.0730337         $28.48
2018         Administration                                   transfer, financing, and management of properties subsumed within lender motion to
             & Objections                                     enforce assignments of rents and leases.

November     Claims                  11/04/18 AEP         390 conference with M. Rachlis to review critical documentation, outline, and then prepare              5.2    0.058427       $22.79
2018         Administration                                   opposition brief (5.2).
             & Objections

November     Claims                  11/04/18 AEP         390 Continue comprehensive search for and review and analysis of documents pertaining to                2.5 0.0280899         $10.96
2018         Administration                                   acquisition, transfer, financing, and management of properties subsumed within lender's
             & Objections                                     motion to enforce assignments of rents and leases (2.5)

November     Claims                  11/05/18 AEP         390 proofread, edit, and revise second draft of memorandum in opposition to lender's motion to          2.3 0.0258427         $10.08
2018         Administration                                   enforce assignments of rents and leases (2.3)
             & Objections

November     Claims                  11/05/18 AEP         390 Assemble all documentation needed as exhibits to contemplated affidavit of K. Duff and              4.5 0.0505618         $19.72
2018         Administration                                   prepare text of affidavit (4.5)
             & Objections

November     Claims                  11/05/18 AEP         390 prepare additional paragraphs to draft affidavit of K. Duff to support new assertions in            0.8 0.0089888          $3.51
2018         Administration                                   opposition memorandum (.8).
             & Objections

November     Claims                  11/06/18 AEP         390 study, revise, and supplement affidavit of Mr. Duff (1.4)                                           1.4 0.0157303          $6.13
2018         Administration
             & Objections

November     Claims                  11/06/18 AEP         390 study and revise brief (2.3).                                                                       2.3 0.0258427         $10.08
2018         Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
November     Claims                  11/08/18 AEP         390 Teleconference with M. Rachlis and K. Duff regarding potential responses to latest lender          1.0    0.011236       $4.38
2018         Administration                                   motion to enforce assignments of rents and leases (1.0)
             & Objections

November     Claims                  11/15/18 AEP         390 Teleconference with receivership team regarding lender motions.                                    0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                  11/17/18 MR          390 attention to various issues from hearing (.3).                                                     0.3 0.0033708         $1.31
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 Attention to issues regarding claims by secured lenders (.4)                                       0.4 0.0044944         $1.75
2018         Administration
             & Objections

November     Claims                  11/27/18 MR          390 attention to letter from creditors (.2)                                                            0.2 0.0022472         $0.88
2018         Administration
             & Objections

November     Claims                  11/29/18 ED          390 confer with M. Rachlis regarding same (.1).                                                        0.1 0.0027027         $1.05
2018         Administration
             & Objections

November     Claims                  11/29/18 ED          390 Email correspondence and review of related documents regarding lender's inspection of              1.8 0.0486486        $18.97
2018         Administration                                   properties and related requests for information (1.8)
             & Objections

December     Asset                   12/07/18 KBD         390 Draft correspondence to A. Porter regarding broker agreement regarding single family               0.1 0.0027027         $1.05
2018         Disposition                                      homes ( .1)
December     Business                12/09/18 KBD         390 exchange correspondence with N. Mirjanich regarding meeting with city official (.1).               0.1 0.0009434         $0.37
2018         Operations
December     Business                12/11/18 KBD         390 Office conferences with N. Mirjanich and M. Rachlis regarding meeting with city                    0.4 0.0037736         $1.47
2018         Operations                                       representatives regarding property portfolio (.4)
December     Business                12/12/18 KBD         390 prepare for meeting with counsel for city regarding property and housing issues (.7)               0.7 0.0066038         $2.58
2018         Operations
December     Business                12/12/18 KBD         390 Study property manager financial reporting (.5)                                                    0.5 0.0073529         $2.87
2018         Operations
December     Business                12/12/18 KBD         390 exchange correspondence with asset manager regarding same (.1)                                     0.1 0.0014706         $0.57
2018         Operations
December     Business                12/12/18 KBD         390 office conference with M. Rachlis regarding property management issues (.4)                        0.4 0.0037383         $1.46
2018         Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
December     Business                12/12/18 KBD             390 conference with counsel for city, M. Rachlis, and N. Mirjanich regarding property violations,           1.5 0.0141509         $5.52
2018         Operations                                           repair planning, and receivership activities (1.5)
December     Business                12/13/18 KBD             390 exchange correspondence with property managers regarding financial reporting (.1)                       0.1 0.0009346         $0.36
2018         Operations
December     Business                12/13/18 KBD             390 Exchange correspondence with asset manager regarding property manager financial                         0.1 0.0014706         $0.57
2018         Operations                                           reporting (.1)
December     Business                12/18/18 KBD             390 exchange correspondence with property manager regarding financial reporting (.1)                        0.1 0.0014706         $0.57
2018         Operations
December     Business                12/10/18 MR              390 conferences on issues in meetings with City and other issues regarding projects and various             2.8 0.0264151        $10.30
2018         Operations                                           issues (2.8)
December     Business                12/10/18 MR              390 Attention to emails on City-property issues (.1)                                                        0.1 0.0009434         $0.37
2018         Operations
December     Business                12/11/18 NM              260 correspond with K. Duff and M. Rachlis regarding same (.3)                                              0.3 0.0028302         $0.74
2018         Operations
December     Business                12/11/18 NM              260 prepare for meeting with City attorney by creating a summary spreadsheet of Receiver work               1.3 0.0122642         $3.19
2018         Operations                                           to address City violations and his plan for same (1.3)
December     Business                12/12/18 AW              140 Prepare materials for N. Mirjanich's meeting with City of Chicago counsel.                              0.2 0.0018868         $0.26
2018         Operations
December     Business                12/12/18 MR              390 Prepare for and participate in meeting with City officials and conferences regarding same               3.0 0.0283019        $11.04
2018         Operations                                           with K. Duff and N. Mirjanich.
December     Business                12/12/18 NM              260 prepare for meeting with City attorney by revising spreadsheet and corresponding with M.                2.5 0.0235849         $6.13
2018         Operations                                           Rachlis and K. Duff regarding same (2.5)
December     Business                12/12/18 NM              260 meeting with City attorney, K. Duff, and M. Rachlis regarding outstanding City violations,              1.5 0.0141509         $3.68
2018         Operations                                           removing EquityBuild from the Scofflaw list, and the Receiver's plan of action with respect to
                                                                  properties with violations (1.5)
December     Business                12/17/18 MR              390 and conference with K. Duff regarding same (.2)                                                         0.2 0.0022472         $0.88
2018         Operations
December     Business                12/17/18 MR              390 conferences with E. Duff regarding creditor issues that may arise (.7)                                  0.7 0.0078652         $3.07
2018         Operations
December     Business                12/18/18 KMP             140 Review transaction history of Receivership Estate account to confirm receipt of rental                  0.1 0.0014706         $0.21
2018         Operations                                           income from property manager and conference with K. Duff regarding same.

December     Business                12/21/18 SZ              110 Searched ninety Equity Build properties indebted with water bills to connect those                      1.9 0.0218391         $2.40
2018         Operations                                           properties with respective management companies in charge of their water bill payments
                                                                  and reported findings to N. Mirjanich.
December     Business                12/27/18 MR              390 conferences with E. Duff regarding status on lender issues (.3).                                        0.3 0.0033708         $1.31
2018         Operations
December     Claims                  12/07/18 MR              390 Follow up and work on various issues regarding responses to creditors on reporting and                  1.0    0.011236       $4.38
2018         Administration                                       other issues.
             & Objections

January      Asset                   01/20/19 KBD             390 Exchange correspondence with A. Porter regarding listing agreement for single family home               0.1 0.0027027         $1.05
2019         Disposition                                          portfolio.


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
January      Asset                   01/25/19 KBD         390 telephone conference with real estate broker and A. Porter regarding communications with              0.2 0.0054054         $2.11
2019         Disposition                                      title company, single family home (.2)
January      Business                01/10/19 KBD         390 office conference with E. Duff regarding lender escrow accounts and properties for sale (.3)          0.3 0.0033708         $1.31
2019         Operations
January      Business                01/10/19 KBD         390 study property management report (.2)                                                                 0.2 0.0029412         $1.15
2019         Operations
January      Business                01/10/19 KBD         390 study property manager financial reporting (.4).                                                      0.4 0.0059701         $2.33
2019         Operations
January      Business                01/11/19 KBD         390 study property manager financial reporting and draft correspondence to property manager               0.3 0.0044118         $1.72
2019         Operations                                       regarding same (.3)
January      Business                01/15/19 KBD         390 study correspondence from city official regarding request for meeting (.1)                            0.1 0.0009434         $0.37
2019         Operations
January      Business                01/15/19 KBD         390 study financial reporting from other property manager (.3).                                           0.3 0.0044118         $1.72
2019         Operations
January      Business                01/24/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding meeting with City                0.2 0.0018868         $0.74
2019         Operations                                       officials regarding scofflaw list (.2).
January      Business                01/24/19 KBD         390 Prepare for meeting with lenders' counsel (.3)                                                        0.3 0.0033708         $1.31
2019         Operations
January      Business                01/25/19 KBD         390 review correspondence from N. Mirjanich regarding meeting with city officials regarding               0.1 0.0009434         $0.37
2019         Operations                                       portfolio compliance and disposition issues (.1)
January      Business                01/29/19 KBD         390 study SEC response to lender rent motion (.2)                                                         0.2 0.0022472         $0.88
2019         Operations
January      Business                01/31/19 KBD         390 exchange correspondence with M. Rachlis regarding same (.1)                                           0.1 0.0011236         $0.44
2019         Operations
January      Business                01/31/19 KBD         390 Prepare for and attend hearing before Judge Kim (1.5)                                                 1.5 0.0168539         $6.57
2019         Operations
January      Business                01/31/19 KBD         390 telephone conference with A. Porter, M. Rachlis, and E. Duff regarding hearing before Judge           0.3 0.0033708         $1.31
2019         Operations                                       Kim and preparation for meeting with lenders' counsel (.3).
January      Claims                  01/13/19 KBD         390 Exchange correspondence with M. Rachlis regarding communication with lender's counsel                 0.1 0.0011236         $0.44
2019         Administration                                   (.1)
             & Objections

January      Claims                  01/29/19 KBD         390 Study correspondence from E. Duff regarding issues raised by lenders' counsel and                     0.4 0.0044944         $1.75
2019         Administration                                   preparation for meeting regarding same (.4)
             & Objections

January      Claims                  01/29/19 KBD         390 study lender brief reply relating to rents issue (.3).                                                0.3 0.0033708         $1.31
2019         Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
January      Claims                  01/30/19 KBD         390 study outline for oral argument before Judge Kim and draft correspondence to M. Rachlis                   0.5    0.005618       $2.19
2019         Administration                                   regarding same (.5).
             & Objections

January      Claims                  01/30/19 KBD         390 study brief and exhibits regarding rent motion (.6)                                                       0.6 0.0067416         $2.63
2019         Administration
             & Objections

January      Claims                  01/30/19 KBD         390 study correspondence from M. Rachlis regarding property valuation and exchange                            0.1 0.0011236         $0.44
2019         Administration                                   correspondence with real estate broker regarding same (.1)
             & Objections

January      Claims                  01/31/19 KBD         390 study lender brief regarding rents and draft correspondence to M. Rachlis regarding same                  2.1 0.0235955         $9.20
2019         Administration                                   (2.1)
             & Objections

January      Claims                  01/31/19 KBD         390 study memorandum from M. Rachlis regarding lenders' questions and planning for meeting                    0.5    0.005618       $2.19
2019         Administration                                   (.5).
             & Objections

January      Asset                   01/16/19 ED          390 Confer with N. Mirjanich regarding procedures for distribution of sale proceeds from                      0.5    0.005618       $2.19
2019         Disposition                                      properties with institutional debt.
January      Business                01/10/19 AEP         390 Conference with receivership team regarding analysis of and strategy relating to lender                   0.5    0.005618       $2.19
2019         Operations                                       issues (.5)
January      Business                01/10/19 ED          390 review of documents and information regarding loan reserves in preparation for discussion                 1.2 0.0134831         $5.26
2019         Operations                                       with Receiver (1.2)
January      Business                01/10/19 ED          390 confer with Receiver, M. Rachlis, and A. Porter regarding potential resolution of disputes (.6).          0.6 0.0067416         $2.63
2019         Operations
January      Business                01/11/19 ED          390 confer with N. Mirjanich regarding statements of receivership assets filed by lenders (.1)                0.1 0.0011236         $0.44
2019         Operations
January      Business                01/16/19 ED          390 draft replies to requests, and email correspondence with Receiver and M. Rachlis regarding                0.8 0.0235294         $9.18
2019         Operations                                       same (.8).
January      Business                01/16/19 KMP         140 prepare wire transfer request for funds to property manager for property expense shortfalls               0.2 0.0029412         $0.41
2019         Operations                                       for December and communications with K. Duff regarding same (.2).

January      Business                01/16/19 KMP         140 Review online transaction history for Receivership Estate account to confirm receipt of gross             0.1 0.0014706         $0.21
2019         Operations                                       rents for December (.1)
January      Business                01/24/19 AEP         390 begin assembling and organizing representative exhibits in anticipation of meeting with                   0.3 0.0033708         $1.31
2019         Operations                                       assorted lenders' counsel (.3).
January      Business                01/24/19 ED          390 confer with Receiver, M. Rachlis, and N. Mirjanich regarding agenda for meeting with                      0.4 0.0044944         $1.75
2019         Operations                                       lender's counsel to discuss questions for Receiver (.4)
January      Business                01/28/19 ED          390 Review files regarding acquisition and financing of properties (.5)                                       0.5    0.005618       $2.19
2019         Operations


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
January      Business                01/28/19 MR          390 Prepare for upcoming hearing and follow up regarding same.                                             1.0    0.011236       $4.38
2019         Operations
January      Business                01/29/19 AEP         390 Conference with M. Rachlis regarding issues to be addressed with lenders at 02/01/19                   0.2 0.0022472         $0.88
2019         Operations                                       meeting.
January      Business                01/29/19 ED          390 review reply brief in support of motion regarding rents (.6)                                           0.6 0.0067416         $2.63
2019         Operations
January      Business                01/29/19 ED          390 review list of questions and issues raised by lenders' counsel to develop agenda for February          0.9 0.0101124         $3.94
2019         Operations                                       1 meeting (.9)
January      Business                01/29/19 ED          390 confer with M. Rachlis regarding same (.7).                                                            0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 ED          390 telephone conference with M. Rachlis regarding information and issues relating to property             0.7 0.0078652         $3.07
2019         Operations                                       insurance, real estate taxes, and lender questions, in preparation for meeting with lenders'
                                                              counsel (.7)
January      Business                01/29/19 ED          390 draft email to M. Rachlis regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 MR          390 Preparation for upcoming hearing on issues regarding rent assignments and study various                4.6 0.0516854        $20.16
2019         Operations                                       related exhibits and materials regarding same (4.6)
January      Business                01/29/19 MR          390 conference with A. Porter regarding same (.2)                                                          0.2 0.0022472         $0.88
2019         Operations
January      Business                01/29/19 MR          390 telephone conference with E. Duff regarding property and lender related issues (.7)                    0.7 0.0078652         $3.07
2019         Operations
January      Business                01/29/19 MR          390 further confer with E. Duff regarding same (.7).                                                       0.7 0.0078652         $3.07
2019         Operations
January      Business                01/30/19 ED          390 analysis of lender issue and email correspondence with M. Rachlis regarding same (.9).                 0.9 0.0101124         $3.94
2019         Operations
January      Business                01/30/19 MR          390 review correspondence from E. Duff regarding insurance and lender issues (.2).                         0.2 0.0022472         $0.88
2019         Operations
January      Business                01/30/19 MR          390 Legal research regarding various issues for upcoming hearing and preparation for hearing,              7.8 0.0876404        $34.18
2019         Operations                                       including detailed review of exhibits and related documents, regarding issues on rent
                                                              assignment and leases (7.8)
January      Business                01/31/19 AEP         390 teleconference with team regarding results of hearing on lenders' motion to enforce                    0.5    0.005618       $2.19
2019         Operations                                       assignment of rents and leases, related issues, and preparation for 02/01/19 meeting with
                                                              lenders (.5).
January      Business                01/31/19 AEP         390 Teleconference with M. Rachlis to review documents submitted to court in connection with               1.7 0.0191011         $7.45
2019         Operations                                       lenders' motion to enforce assignment of rents and leases (1.7)
January      Business                01/31/19 ED          390 draft reply to lender's counsel regarding access to properties for second visits and confer            0.8       0.025       $9.75
2019         Operations                                       with M. Rachlis regarding same (.8)
January      Business                01/31/19 ED          390 confer with Receiver and M. Rachlis regarding hearing and preparation for February 1                   0.7 0.0078652         $3.07
2019         Operations                                       meeting with lenders' counsel (.7).
January      Business                01/31/19 MR          390 conferences with A. Porter about hearing and issues regarding same (1.7).                              1.7 0.0191011         $7.45
2019         Operations
January      Business                01/31/19 MR          390 Further prepare for and attend hearing and follow up meetings regarding same (6.0)                     6.0 0.0674157        $26.29
2019         Operations


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
January      Claims                  01/22/19 MR          390 Follow up on issues with institutional lenders and meetings with same (.2)                              0.2 0.0022472         $0.88
2019         Administration
             & Objections

January      Claims                  01/26/19 MR          390 communication on upcoming meeting and begin review of questions raised by lenders for                   0.5    0.005618       $2.19
2019         Administration                                   meeting with lenders (.5).
             & Objections

January      Claims                  01/29/19 MR          390 Further attention to question from lenders in preparation for meeting (1.0)                             1.0    0.011236       $4.38
2019         Administration
             & Objections

January      Claims                  01/30/19 MR          390 Follow up and attention to issues on claims process, work on various issues regarding                   1.8 0.0202247         $7.89
2019         Administration                                   meeting with lenders and attention to various issues and e-mails regarding upcoming
             & Objections                                     meeting with lenders.

January      Claims                  01/31/19 MR          390 preparation for discussion with investors and work on issues for meeting with lenders (2.0)             2.0 0.0224719         $8.76
2019         Administration
             & Objections

January      Claims                  01/31/19 MR          390 conferences with E. Duff, A. Porter and K. Duff regarding same (.7).                                    0.7 0.0078652         $3.07
2019         Administration
             & Objections

February     Asset                   02/06/19 KBD         390 study list of single family homes and review correspondence from A. Porter regarding same               0.1 0.0027027         $1.05
2019         Disposition                                      (.1).
February     Asset                   02/08/19 KBD         390 exchange correspondence with city official and N. Mirjanich regarding potential purchaser               0.1 0.0009346         $0.36
2019         Disposition                                      and exchange correspondence with real estate broker regarding same (.1)

February     Asset                   02/11/19 KBD         390 study correspondence from city official regarding liquidation plan and asset disposition (.2).          0.2 0.0018868         $0.74
2019         Disposition
February     Asset                   02/13/19 KBD         390 Draft and revise correspondence to city official regarding liquidation plan (.6)                        0.6 0.0056604         $2.21
2019         Disposition
February     Asset                   02/13/19 KBD         390 meet with and review correspondence from M. Rachlis regarding same (.2)                                 0.2 0.0018868         $0.74
2019         Disposition
February     Asset                   02/23/19 KBD         390 Study revised representation agreement relating to single family home portfolio.                        0.2 0.0054054         $2.11
2019         Disposition
February     Asset                   02/28/19 KBD         390 Study and revise draft broker agreement for single-family home listing in draft                         0.6 0.0162162         $6.32
2019         Disposition                                      correspondence to A. Porter regarding same.
February     Business                02/01/19 KBD         390 Review correspondence from K. Pritchard regarding property expense summary.                             0.1 0.0014925         $0.58
2019         Operations
February     Business                02/05/19 KBD         390 Study correspondence from property manager regarding property revenue and expenses (.2)                 0.2 0.0029412         $1.15
2019         Operations


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
February     Business                02/07/19 KBD         390 exchange correspondence with N. Mirjanich regarding communications with city official                0.1 0.0027027         $1.05
2019         Operations                                       regarding single family homes (.1)
February     Business                02/07/19 KBD         390 study information from A. Porter regarding real estate taxes (.3).                                   0.3 0.0028037         $1.09
2019         Operations
February     Business                02/07/19 KBD         390 Review and plan for property expenses and transfer reconciliation issues with N. Mirjanich           0.4 0.0037383         $1.46
2019         Operations                                       (.4)
February     Business                02/08/19 KBD         390 Meet with N. Mirjanich regarding single family home portfolio and communications with city           0.2 0.0054054         $2.11
2019         Operations                                       officials (.2)
February     Business                02/08/19 KBD         390 study correspondence regarding real estate taxes (.1)                                                0.1 0.0009346         $0.36
2019         Operations
February     Business                02/13/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0058824         $2.29
2019         Operations
February     Business                02/13/19 KBD         390 telephone conference with property manager regarding same (.2)                                       0.2 0.0029412         $1.15
2019         Operations
February     Business                02/13/19 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding real estate tax payment              0.1 0.0009346         $0.36
2019         Operations                                       issue (.1).
February     Business                02/13/19 KBD         390 Study correspondence from property manager regarding December portfolio performance                  0.2 0.0029412         $1.15
2019         Operations                                       and financial information (.2)
February     Business                02/13/19 KBD         390 draft correspondence to asset manager regarding same (.1)                                            0.1 0.0014706         $0.57
2019         Operations
February     Business                02/13/19 KBD         390 telephone conference with broker representative regarding same (.1)                                  0.1 0.0014706         $0.57
2019         Operations
February     Business                02/14/19 KBD         390 draft correspondence to property managers regarding communications with accounting firm              0.1 0.0009346         $0.36
2019         Operations                                       representative (.1)
February     Business                02/15/19 KBD         390 Exchange correspondence with property manager regarding financial reporting and net                  0.1 0.0014925         $0.58
2019         Operations                                       rental income (.1)
February     Business                02/18/19 KBD         390 exchange correspondence with property manager regarding financial reporting (.1)                     0.1 0.0014706         $0.57
2019         Operations
February     Business                02/20/19 KBD         390 Exchange correspondence with property manager and E. Duff regarding housing authority                0.2 0.0029412         $1.15
2019         Operations                                       documentation (.2)
February     Business                02/21/19 KBD         390 Review housing authority documentation from property manager (.1)                                    0.1 0.0014706         $0.57
2019         Operations
February     Business                02/24/19 KBD         390 Draft correspondence to asset manager regarding affordable housing contact (.1)                      0.1 0.0014706         $0.57
2019         Operations
February     Business                02/25/19 KBD         390 study correspondence from E. Duff regarding same (.2)                                                0.2 0.0022472         $0.88
2019         Operations
February     Business                02/25/19 KBD         390 planning strategy with M. Rachlis, E. Duff, and A. Porter regarding real estate tax payment          4.4 0.0494382        $19.28
2019         Operations                                       (4.4)
February     Business                02/26/19 KBD         390 study various correspondence and several office conferences with M. Rachlis and E. Duff              1.3 0.0146067         $5.70
2019         Operations                                       regarding same (1.3)
February     Business                02/26/19 KBD         390 exchange correspondence with city official regarding impact of court ruling on property              0.1 0.0009434         $0.37
2019         Operations                                       maintenance and repairs (.1)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
February     Business                02/27/19 KBD         390 study various financial reports and analyze tax payments, and office conferences with E. Duff           6.5 0.0730337        $28.48
2019         Operations                                       and M. Rachlis regarding same and telephone conferences with asset managers and
                                                              property managers regarding related calculations (6.5)
February     Business                02/28/19 KBD         390 office conference with K. Pritchard regarding logistics and timing of real estate tax payments          0.1 0.0011236         $0.44
2019         Operations                                       (.1)
February     Business                02/28/19 KBD         390 exchange communication and telephone conference with property manager representatives                   0.4 0.0059701         $2.33
2019         Operations                                       regarding real estate taxes and financial reporting (.4)
February     Business                02/28/19 KBD         390 study, draft, and revise correspondence to lenders' counsel regarding real estate taxes (.5)            0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 KBD         390 numerous office conferences with M. Rachlis and E. Duff regarding analysis of real estate               1.4 0.0157303         $6.13
2019         Operations                                       taxes (1.4)
February     Business                02/28/19 KBD         390 office conference with and draft correspondence to J. Rak regarding preparation of                      0.5    0.005618       $2.19
2019         Operations                                       spreadsheets regarding real estate tax analysis and study same (.5)
February     Claims                  02/01/19 KBD         390 prepare for meeting with lenders' counsel and office conference with E. Duff and M. Rachlis             3.3 0.0370787        $14.46
2019         Administration                                   regarding same (3.3)
             & Objections

February     Claims                  02/01/19 KBD         390 meet with lenders' counsel (1.4)                                                                        1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                  02/01/19 KBD         390 study mortgage loan summary (.2)                                                                        0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                  02/02/19 KBD         390 Study briefs regarding rent issue.                                                                      0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                  02/19/19 KBD         390 telephone conference with lenders counsel and M. Rachlis regarding various property and                 1.0    0.027027      $10.54
2019         Administration                                   loan issues (1.0)
             & Objections

February     Claims                  02/19/19 KBD         390 telephone conference with property manager and E. Duff regarding segregation of rent and                0.3 0.0034091         $1.33
2019         Administration                                   preparation of reporting (.3)
             & Objections

February     Claims                  02/20/19 KBD         390 study correspondence from lender's counsel regarding properties, certificates of insurance,             0.1 0.0027027         $1.05
2019         Administration                                   and loss payees (.1)
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
February     Claims                  02/20/19 KBD         390 study E. Duff lender summary and exchange correspondence with E. Duff and M. Rachlis                      0.3 0.0033708         $1.31
2019         Administration                                   regarding same (.3).
             & Objections

February     Asset                   02/06/19 AEP         390 assemble and provide information relating to single-family homes in receivership estate to K.             0.1 0.0027027         $1.05
2019         Disposition                                      Duff (.1).
February     Asset                   02/23/19 AEP         390 Finalize revisions to proposed single-family home representation agreement and circulate to               0.7 0.0189189         $7.38
2019         Disposition                                      team.
February     Business                02/01/19 AW          140 Preparation to meeting with institutional lenders' counsel.                                               0.5    0.005618       $0.79
2019         Operations
February     Business                02/01/19 ED          390 meet with K. Duff and M. Rachlis to prepare for same (3.3)                                                3.3 0.0370787        $14.46
2019         Operations
February     Business                02/01/19 ED          390 Meeting with lenders' counsel to discuss various questions and issues regarding receivership              1.4 0.0157303         $6.13
2019         Operations                                       (1.4)
February     Business                02/01/19 KMP         140 Review bank and property records to determine payments made to property manager for                       0.2 0.0029412         $0.41
2019         Operations                                       property expenses, and communicate same to K. Duff (.2)
February     Business                02/04/19 ED          390 Review and reply to email questions from lender's counsel regarding financial      reporting              0.3 0.0078947         $3.08
2019         Operations                                       and evidence of insurance (.3)
February     Business                02/07/19 NM          260 correspond with K. Duff and City of Chicago commissioner secretary following meeting                      0.2 0.0054054         $1.41
2019         Operations                                       yesterday and study list of single-family home portfolio to send to same (.2)

February     Business                02/07/19 NM          260 draft correspondence to former EB attorneys regarding documents sent and notices of                       0.2 0.0018692         $0.49
2019         Operations                                       violation (.2)
February     Business                02/08/19 AEP         390 research and record first installment 2018 Cook County property tax liability for all properties          1.9    0.017757       $6.93
2019         Operations                                       in receivership portfolio (1.9).
February     Business                02/08/19 ED          390 review financial reporting documents sent to lenders (.5)                                                 0.5    0.005618       $2.19
2019         Operations
February     Business                02/08/19 NM          260 Study and respond to correspondence with the City of Chicago following meeting regarding                  0.9       0.015       $3.90
2019         Operations                                       property repairs and code compliance and correspond with A. Porter, K. Duff, and real estate
                                                              broker regarding a list of single-family home portfolio to send to same.

February     Business                02/12/19 ED          390 review and organize notes and documents relating to various pending issues and questions                  0.7 0.0078652         $3.07
2019         Operations                                       from institutional lenders (.7).
February     Business                02/13/19 KMP         140 Review communication from property manager regarding gross rents for and related                          0.1 0.0014706         $0.21
2019         Operations                                       building expenses.
February     Business                02/14/19 ED          390 review 2/13/19 Order and consider issues and mechanics regarding reporting allocation of                  1.9 0.0215909         $8.42
2019         Operations                                       rents by property (1.9)
February     Business                02/15/19 ED          390 review email correspondence from lender's counsel and related notes regarding access to                   0.7    0.021875       $8.53
2019         Operations                                       properties for inspection and appraisal, and draft correspondence regarding same to
                                                              Receiver and M. Rachlis (.7)
February     Business                02/15/19 KMP         140 attention to communications with property manager regarding posting of January rents (.1).                0.1 0.0014925         $0.21
2019         Operations




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
February     Business                02/19/19 ED              390 Call with accountant regarding monthly reporting to lenders by property (.5)                            0.5    0.005618       $2.19
2019         Operations
February     Business                02/19/19 ED              390 email correspondence with propertymanagers regarding same (.5)                                          0.5 0.0046729         $1.82
2019         Operations
February     Business                02/19/19 KMP             140 conference with K. Duff and E. Duff regarding confirmation of property insurance coverage               0.2       0.006       $0.84
2019         Operations                                           for single-family properties currently listed for sale, review communications from insurer
                                                                  relating to list of insured properties (.2).
February     Business                02/20/19 ED              390 review CHA management authorization form and related email correspondence with                          0.2 0.0029412         $1.15
2019         Operations                                           property manager and K. Duff (.2)
February     Business                02/21/19 JR              140 Continue working on excel escrow and reserve spreadsheet for all applicable properties.                 0.5    0.004717       $0.66
2019         Operations
February     Business                02/22/19 ED              390 confer with M. Rachlis regarding same (.2)                                                              0.2 0.0022472         $0.88
2019         Operations
February     Business                02/22/19 ED              390 email correspondence with property managers regarding financial information (.2).                       0.2 0.0022472         $0.88
2019         Operations
February     Business                02/22/19 ED              390 prepare financial analysis in preparation for meeting (2.3)                                             2.3 0.0258427        $10.08
2019         Operations
February     Business                02/24/19 ED              390 email to property manager requesting financial report on properties (.1).                               0.1 0.0011236         $0.44
2019         Operations
February     Business                02/25/19 ED              390 meet with K. Duff, M. Rachlis, and A. Porter regarding planning and payment of real estate              4.4 0.0494382        $19.28
2019         Operations                                           taxes (4.4)
February     Business                02/25/19 ED              390 email correspondence with property managers regarding preparation of net income and loss                0.1 0.0011236         $0.44
2019         Operations                                           information for properties (.1)
February     Business                02/25/19 ED              390 update and revise financial analysis for meeting with K. Duff (.8)                                      0.8 0.0089888         $3.51
2019         Operations
February     Business                02/25/19 ED              390 review property financial information in preparation for meeting with Receiver and counsel              0.7 0.0078652         $3.07
2019         Operations                                           (.7)
February     Business                02/25/19 ED              390 preparation for same (.8)                                                                               0.8 0.0089888         $3.51
2019         Operations
February     Business                02/25/19 KMP             140 conference with K. Duff regarding property by property accounting of expenses to comply                 0.2 0.0018868         $0.26
2019         Operations                                           with court order and issues relating to same (.2)
February     Business                02/25/19 MR              390 Attention to analysis of and matters involving property taxes and work through same with E.             4.4 0.0494382        $19.28
2019         Operations                                           Duff, K. Duff, and A. Porter (4.4)
February     Business                02/25/19 NM              260 Correspond with E. Duff, M. Rachlis, K. Duff, and A. Porter regarding property tax issues (.4)          0.4 0.0044944         $1.17
2019         Operations
February     Business                02/26/19 ED              390 confer with K. Duff regarding tax information for properties managed by each property                   0.4 0.0044944         $1.75
2019         Operations                                           manager, and preparation of document reflecting same (.4)
February     Business                02/26/19 ED              390 confer with J. Rak regarding same (.3)                                                                  0.3 0.0033708         $1.31
2019         Operations
February     Business                02/26/19 ED              390 Analysis regarding available sources of funds for property tax payments for each property               6.5 0.0730337        $28.48
2019         Operations                                           (6.5)
February     Business                02/26/19 ED              390 confer with M. Rachlis regarding sources of funds and replies to queries from lenders'                  0.7 0.0078652         $3.07
2019         Operations                                           counsel (.7)


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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
February     Business                02/26/19 MR          390 Attention to property tax related issues.                                                             4.5 0.0505618        $19.72
2019         Operations
February     Business                02/27/19 ED          390 Review email correspondence and file documentation regarding real estate tax payments                 0.2 0.0022472         $0.88
2019         Operations                                       due and sources of funds (.2)
February     Business                02/27/19 ED          390 calls with asset manager regarding property net income information (.3)                               0.3 0.0028302         $1.10
2019         Operations
February     Business                02/27/19 ED          390 update report regarding resources available for payment of real estate taxes (.3)                     0.3 0.0033708         $1.31
2019         Operations
February     Business                02/27/19 ED          390 meet with K. Duff, M. Rachlis regarding information and property by property analysis of              6.5 0.0730337        $28.48
2019         Operations                                       same to determine available funds for payment of property taxes (6.5)
February     Business                02/27/19 MR          390 review charts regarding same (.3)                                                                     0.3 0.0033708         $1.31
2019         Operations
February     Business                02/27/19 MR          390 Participate in meeting with K. Duff and E. Duff regarding various issues on tax related               1.3 0.0146067         $5.70
2019         Operations                                       submissions and payments (1.3)
February     Business                02/27/19 MR          390 continued work analyzing various investor related issues for property taxes and meetings              5.0 0.0561798        $21.91
2019         Operations                                       with K. Duff and E. Duff regarding same (5.0).
February     Business                02/27/19 NM          260 correspond with E. Duff regarding same and spreadsheet for same to add figures relating to            0.2 0.0022472         $0.58
2019         Operations                                       costs to cure code violations (.2).
February     Business                02/27/19 NM          260 study email correspondence relating to property tax payments and proposals from lenders               0.3 0.0033708         $0.88
2019         Operations                                       with respect to escrow amounts (.3)
February     Business                02/28/19 AW          140 proofread spreadsheets with attention to PINs accuracy (.8)                                           0.8 0.0119403         $1.67
2019         Operations
February     Business                02/28/19 AW          140 Attention to email from E. Duff and confer with her regarding PIN numbers of properties in            0.1 0.0014925         $0.21
2019         Operations                                       receivership (.1)
February     Business                02/28/19 AW          140 work on reconciliation of property manager payments of 2018 taxes (.4).                               0.4 0.0059701         $0.84
2019         Operations
February     Business                02/28/19 ED          390 email correspondence with property managers regarding disbursements for real estate taxes             1.8 0.0202247         $7.89
2019         Operations                                       and review and analysis of documentation provided (1.8)
February     Business                02/28/19 ED          390 review and revise spreadsheets to send to property managers regarding payment of real                 0.5    0.005618       $2.19
2019         Operations                                       estate taxes (.5)
February     Business                02/28/19 ED          390 review and analysis of information regarding real estate tax payments due and sources of              7.7 0.0865169        $33.74
2019         Operations                                       funds available therefor, preparation of documentation to provide to lenders regarding each
                                                              property, preparation and revision of related communications to lenders, and consultation
                                                              with M. Rachlis, K. Duff, N. Mirjanich, A. Watychowicz and J. Rak regarding the foregoing
                                                              (7.7).
February     Business                02/28/19 MR          390 review and comment on communications regarding same (.5).                                             0.5    0.005618       $2.19
2019         Operations
February     Business                02/28/19 MR          390 Work on property tax related matters and issues for payment, including studying at length             5.5 0.0617978        $24.10
2019         Operations                                       various financial and property documents, along with several conferences with E. Duff and K.
                                                              Duff (5.5)
February     Business                02/28/19 NM          260 Study email correspondence relating to property tax payments internally and with lenders'             0.2 0.0022472         $0.58
2019         Operations                                       counsel (.2)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
February     Business                02/28/19 NM          260 study spreadsheets prepared by E. Duff for property tax payments amounts by lender or               2.7 0.0303371         $7.89
2019         Operations                                       property and correspond with E. Duff, M. Rachlis, and K. Duff to finalize and send same to
                                                              institutional lenders (2.7).
February     Claims                  02/01/19 MR          390 attend meeting with lenders representatives (1.4).                                                  1.4 0.0157303         $6.13
2019         Administration
             & Objections

February     Claims                  02/01/19 MR          390 further work on issues regarding lender questions with K. Duff and E. Duff (3.3)                    3.3 0.0370787        $14.46
2019         Administration
             & Objections

February     Claims                  02/01/19 MR          390 prepare for meeting with lenders representatives (1.8)                                              1.8 0.0202247         $7.89
2019         Administration
             & Objections

February     Claims                  02/04/19 MR          390 issues regarding secured creditors and follow up from meeting and hearing (.1).                     0.1 0.0011236         $0.44
2019         Administration
             & Objections

February     Claims                  02/11/19 MR          390 Attention to follow up with institutional lenders and review and revise communications              1.5 0.0168539         $6.57
2019         Administration                                   regarding same.
             & Objections

February     Claims                  02/18/19 NM          260 Correspond with K. Duff, M. Rachlis, A. Porter regarding claims and providing same to               0.5    0.005618       $1.46
2019         Administration                                   institutional lenders prior to filing pursuant to request.
             & Objections

February     Claims                  02/19/19 MR          390 conferences regarding properties with lender's counsel and K. Duff (1.0)                            1.0    0.011236       $4.38
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 conferences with E. Duff on various lender issues (.2)                                              0.2 0.0022472         $0.88
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 follow up conferences on various issues raised by lenders with K. Duff (.3)                         0.3 0.0033708         $1.31
2019         Administration
             & Objections

February     Claims                  02/19/19 MR          390 attention to various e- mails on lender issues (.2).                                                0.2 0.0022472         $0.88
2019         Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
February     Claims                  02/20/19 MR          390 Attention to e-mails from investors and issues on expenses and taxes (.5)                           0.5    0.005618       $2.19
2019         Administration
             & Objections

February     Claims                  02/21/19 MR          390 Attention to investor related issues on properties and conferences regarding same (.8)              0.8 0.0089888         $3.51
2019         Administration
             & Objections

March 2019 Asset                     03/01/19 KBD         390 draft correspondence to A. Porter regarding potential agreement with broker regarding               0.1 0.0027027         $1.05
           Disposition                                        same (.1).
March 2019 Asset                     03/01/19 KBD         390 Telephone conference with A. Porter regarding competitive broker bids for single family             0.1 0.0027027         $1.05
           Disposition                                        home portfolio (.1)
March 2019 Asset                     03/07/19 KBD         390 evaluation of options with M. Rachlis regarding single family home portfolio, broker                0.2 0.0054054         $2.11
           Disposition                                        agreement, commission structure, and competitive bidding (.2)
March 2019 Asset                     03/07/19 KBD         390 Telephone conference with counsel for potential purchaser regarding future listings of              0.1 0.0009804         $0.38
           Disposition                                        properties for sale (.1)
March 2019 Asset                     03/07/19 KBD         390 draft correspondence to broker same (.1)                                                            0.1 0.0009804         $0.38
           Disposition
March 2019 Asset                     03/07/19 KBD         390 discuss preparation of motion for approval of sale of single family home portfolio with N.          0.1 0.0027027         $1.05
           Disposition                                        Mirjanich (.1)
March 2019 Asset                     03/11/19 KBD         390 Exchange correspondence with A. Porter regarding single family home broker agreement.               0.1 0.0027027         $1.05
           Disposition
March 2019 Asset                     03/13/19 KBD         390 Study draft motion relating to single family home portfolio and correspondence from N.              0.3 0.0081081         $3.16
           Disposition                                        Mirjanich regarding same.
March 2019 Asset                     03/20/19 KBD         390 Communicate with M. Rachlis and E. Duff regarding motion to approve sales, sale proceeds,           0.3 0.0032609         $1.27
           Disposition                                        and property manager fees and expenses (.3)
March 2019 Asset                     03/26/19 KBD         390 study single family home listing agreement and exchange correspondence with A. Porter               0.2 0.0054054         $2.11
           Disposition                                        regarding same (.2)
March 2019 Asset                     03/27/19 KBD         390 Study and revise representation agreement for sale of single family homes (.5)                      0.5 0.0135135         $5.27
           Disposition
March 2019 Asset                     03/27/19 KBD         390 office conference with E. Duff and draft correspondence to and telephone conference with            0.4 0.0108108         $4.22
           Disposition                                        A. Porter regarding same (.4)
March 2019 Asset                     03/28/19 KBD         390 Study representation agreement for single family home portfolio and exchange                        0.3 0.0081081         $3.16
           Disposition                                        correspondence with A. Porter regarding agreement for single-family home portfolio (.3)

March 2019 Asset                     03/29/19 KBD         390 Study and exchange correspondence regarding single family home listing agreement.                   0.2 0.0054054         $2.11
           Disposition
March 2019 Business                  03/01/19 KBD         390 telephone conference and office conference with N. Mirjanich regarding same (.1)                    0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/01/19 KBD         390 study spreadsheet relating to real estate taxes (.2)                                                0.2 0.0018692         $0.73
           Operations
March 2019 Business                  03/01/19 KBD         390 Study correspondence from and office conference with J. Rak regarding real estate tax               0.1 0.0009346         $0.36
           Operations                                         payment issues and logistics (.1)


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  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Business                  03/04/19 KBD         390 study correspondence from property manager regarding unpaid taxes (Yates, Luella,                     0.1 0.0111111         $4.33
           Operations                                         Constance, Muskegon, Marquette, 8432 Essex) and CHA move-ins (7502 Eggleston) and draft
                                                              correspondence to asset manager regarding same (.1)
March 2019 Business                  03/04/19 KBD         390 office conference with E. Duff regarding property manager's accounting practices (.2)                 0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/05/19 KBD         390 study correspondence from and conference with N. Mirjanich regarding communication with               0.1 0.0009346         $0.36
           Operations                                         former counsel relating to notices of property violations (.1).

March 2019 Business                  03/07/19 KBD         390 study correspondence from E. Duff regarding outstanding real estate taxes and                         0.2 0.0029412         $1.15
           Operations                                         communications with property manager (.2).
March 2019 Business                  03/08/19 KBD         390 study correspondence regarding property manager financial reporting (.1).                             0.1 0.0014925         $0.58
           Operations
March 2019 Business                  03/12/19 KBD         390 study information from property manager regarding real estate taxes and exchange                      0.2 0.0029412         $1.15
           Operations                                         correspondence with property manager and E. Duff regarding same (.2)
March 2019 Business                  03/15/19 KBD         390 study property manager financial reporting (.3)                                                       0.3 0.0044118         $1.72
           Operations
March 2019 Business                  03/15/19 KBD         390 study financial reporting from property manager (.4).                                                 0.4 0.0058824         $2.29
           Operations
March 2019 Business                  03/18/19 KBD         390 Review financial reporting regarding properties for lenders with M. Rachlis and E. Duff (.8)          0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 KBD         390 draft correspondence regarding properties with outstanding real estate taxes (.1)                     0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/19/19 KBD         390 telephone conferences with and study correspondence from E. Duff regarding financial                  0.6 0.0068182         $2.66
           Operations                                         reporting for lenders and study form of report (.6)
March 2019 Business                  03/20/19 KBD         390 review property manager financial reporting with E. Duff (.3)                                         0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/20/19 KBD         390 work on receivership financial reporting with E. Duff (.2)                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/21/19 KBD         390 attention to communications with lender regarding utility lease consent, communications               0.2       0.005       $1.95
           Operations                                         with separate lender regarding city actions and court order relating to porch repairs, and
                                                              communications with property manager regarding accounting report for cross-collateralized
                                                              properties (.2)
March 2019 Business                  03/21/19 KBD         390 discussions with and study correspondence from E. Duff regarding financial reporting for              0.3 0.0034091         $1.33
           Operations                                         lenders and study draft report form (.3)
March 2019 Business                  03/22/19 KBD         390 telephone conference with accounting firm representative and E. Duff regarding financial              0.2 0.0022727         $0.89
           Operations                                         reporting by property (.2)
March 2019 Business                  03/27/19 KBD         390 office conference with, study correspondence from relating to spreadsheet issues and                  0.4 0.0045455         $1.77
           Operations                                         property list, and draft correspondence to E. Duff regarding financial reporting (.4)

March 2019 Claims                    03/13/19 KBD         390 Study lenders' objections to claims process.                                                          0.5 0.0063291         $2.47
           Administration
           & Objections




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  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
March 2019 Claims                    03/14/19 KBD         390 conferences with M. Rachlis regarding same (.8)                                                  0.8 0.0095238         $3.71
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 Telephone conference with and exchange correspondence with E. Duff regarding financial           0.3 0.0034091         $1.33
           Administration                                     reporting for lenders (.3)
           & Objections

March 2019 Claims                    03/14/19 KBD         390 study lenders objections to claims process motion (.5)                                           0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                    03/14/19 KBD         390 study property manager financial report (.2).                                                    0.2 0.0029851         $1.16
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 study lenders' objections (.5)                                                                   0.5 0.0059524         $2.32
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 study and revise draft response to lenders' objections to claims process motion (.9)             0.9 0.0107143         $4.18
           Administration
           & Objections

March 2019 Claims                    03/27/19 KBD         390 office conference with N. Mirjanich regarding response to lenders' objections to claims          0.2    0.002381       $0.93
           Administration                                     process motion (.2)
           & Objections

March 2019 Claims                    03/27/19 KBD         390 analysis of same with M. Rachlis (.2)                                                            0.2    0.002381       $0.93
           Administration
           & Objections

March 2019 Claims                    03/28/19 KBD         390 further study and revise draft response to lenders' objections to claims process (3.6).          3.6 0.0428571        $16.71
           Administration
           & Objections

March 2019 Claims                    03/28/19 KBD         390 Work on response to lenders objections to claims process motion with N. Mirjanich (.2)           0.2    0.002381       $0.93
           Administration
           & Objections




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2019 Claims                    03/29/19 KBD             390 exchange correspondence and various office conferences with M. Rachlis and N. Mirjanich               0.5 0.0059524         $2.32
           Administration                                         regarding same (.5)
           & Objections

March 2019 Claims                    03/29/19 KBD             390 Study and revise response to lenders' objections to claims process (2.2)                              2.2 0.0247191         $9.64
           Administration
           & Objections

March 2019 Asset                     03/01/19 AEP             390 Teleconference with K. Duff regarding finalization of single-family homes listing agreement           0.1 0.0027027         $1.05
           Disposition                                            and options for shopping existing bid (.1)
March 2019 Asset                     03/01/19 AEP             390 make final edits and revisions to proposed single-family home listing agreement (.3)                  0.3 0.0081081         $3.16
           Disposition
March 2019 Asset                     03/06/19 AEP             390 conference calls with prospective new title company underwriter regarding overview of sales           0.5    0.005102       $1.99
           Disposition                                            process and potential substitution for current title insurer (.5)
March 2019 Asset                     03/06/19 JR              140 update spreadsheet regarding outstanding real estate taxes for properties managed by                  2.6 0.0393939         $5.52
           Disposition                                            management company adding PIN number and the balance due as well as accrued interest
                                                                  (2.6)
March 2019 Asset                     03/07/19 AEP             390 teleconference with underwriting team at prospective new title insurance company                      1.7 0.0173469         $6.77
           Disposition                                            regarding background of receivership, plan for selling receivership properties, all title
                                                                  insurance and escrow needs, and availability of discounted pricing (1.7).

March 2019 Asset                     03/07/19 NM              260 Draft motion to approve the sale process for the single-family home portfolio.                        0.9 0.0243243         $6.32
           Disposition
March 2019 Asset                     03/08/19 ED              390 Confer with N. Mirjanich regarding information relating to sales of properties from single            1.6 0.0432432        $16.86
           Disposition                                            family homes portfolio, including review and discussion of information relating to recorded
                                                                  and released liens on properties.
March 2019 Asset                     03/08/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for single-family              0.2 0.0054054         $1.41
           Disposition                                            homes (.2)
March 2019 Asset                     03/08/19 NM              260 correspond with E. Duff regarding same and regarding lender on properties and loans for               1.6 0.0432432        $11.24
           Disposition                                            same (1.6)
March 2019 Asset                     03/12/19 AEP             390 Teleconference with prospective broker of single family home portfolio regarding final                1.0    0.027027      $10.54
           Disposition                                            changes to listing agreement and begin making agreed- upon changes (1.0)

March 2019 Asset                     03/12/19 JR              140 Assist N. Mirjanich with the notice for publication for the motion to approve the process of          0.5 0.0135135         $1.89
           Disposition                                            sale of the single-family homes by adding PIN numbers to the notice (.5)

March 2019 Asset                     03/12/19 NM              260 draft motion to approve the process for the single- family home sale (1.4)                            1.4 0.0378378         $9.84
           Disposition
March 2019 Asset                     03/12/19 NM              260 correspond with J. Rak regarding publication notice for same (.2).                                    0.2 0.0054054         $1.41
           Disposition
March 2019 Asset                     03/13/19 AEP             390 Finalize latest draft of prospective single-family homes listing agreement and transmit same          0.5 0.0135135         $5.27
           Disposition                                            to receivership broker with prefatory comments.




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2019 Asset                     03/13/19 NM              260 Revise motion to approve the process for the single-family home sale and send to A. Porter            0.5 0.0135135         $3.51
           Disposition                                            for comment.
March 2019 Asset                     03/16/19 AEP             390 Read and respond to e-mail from prospective broker for sale of single-family homes and                0.2 0.0054054         $2.11
           Disposition                                            prepare final draft of proposed representation agreement for mutual execution.

March 2019 Asset                     03/25/19 AEP             390 read e-mails between M. Rachlis and corporation counsel regarding retitling of water bills,           0.2 0.0019048         $0.74
           Disposition                                            potential utility shutoffs, and payment of outstanding balances (.2)
March 2019 Asset                     03/26/19 AEP             390 teleconference with receivership broker regarding status of listing agreement for single-             0.1 0.0027027         $1.05
           Disposition                                            family homes (.1)
March 2019 Asset                     03/27/19 AEP             390 teleconference with M. Rachlis and K. Duff regarding outcome of discussion with property              0.4 0.0108108         $4.22
           Disposition                                            manager, cash management issues, earnest money refund issues, and proposed revisions to
                                                                  single-family home listing agreement (.4)
March 2019 Business                  03/01/19 JR              140 assist N. Mirjanich in preparing and sorting real estate tax balances and creating a                  1.5 0.0140187         $1.96
           Operations                                             spreadsheet for 2018 1st Installment (1.5).
March 2019 Business                  03/01/19 NM              260 Correspond with K. Duff and J. Rak regarding real estate property tax payments and prepare            1.7 0.0191011         $4.97
           Operations                                             spreadsheet reflecting payment by Receiver of same (1.7)
March 2019 Business                  03/02/19 MR              390 Further follow up on various issues regarding institutional investors and tax issues (.8)             0.8 0.0089888         $3.51
           Operations
March 2019 Business                  03/04/19 ED              390 email correspondence and telephone conference with accountant regarding same (.5)                     0.5 0.0056818         $2.22
           Operations
March 2019 Business                  03/04/19 ED              390 Confer with K. Duff and M. Rachlis regarding progress on developing systems for monthly               0.6 0.0068182         $2.66
           Operations                                             accounting to lenders and related issues (.6)
March 2019 Business                  03/04/19 MR              390 conferences with E. Duff and K. Duff regarding system for account on rent reallocation (.6).          0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/05/19 ED              390 confer with M. Rachlis regarding potential topics for further discussion with lenders (.6)            0.6 0.0067416         $2.63
           Operations
March 2019 Business                  03/05/19 JR              140 Continue to look for real estate credits on the Cook County Treasurer's website for all               1.8 0.0168224         $2.36
           Operations                                             properties in the portfolio (1.8)
March 2019 Business                  03/05/19 JR              140 ; email to E. Duff regarding same (.2).                                                               0.2 0.0018692         $0.26
           Operations
March 2019 Business                  03/05/19 MR              390 attention to letter on code issues (.1).                                                              0.1 0.0009346         $0.36
           Operations
March 2019 Business                  03/06/19 ED              390 Prepare document for property manager regarding tax balances at managed properties (1.6)              1.6 0.0179775         $7.01
           Operations
March 2019 Business                  03/06/19 ED              390 email to and confer with J. Rak re additional information required for same (.3)                      0.3 0.0033708         $1.31
           Operations
March 2019 Business                  03/06/19 ED              390 requesting confirmation of amounts to be used for preparing accountings for each property             0.3 0.0034091         $1.33
           Operations                                             (.3)
March 2019 Business                  03/06/19 ED              390 review information regarding premium calculations for each property and email                         0.6 0.0068182         $2.66
           Operations                                             correspondence with K. Pritchard and insurance broker (.6)
March 2019 Business                  03/06/19 ED              390 review information regarding transfers between property accounts (.3).                                0.3 0.0034091         $1.33
           Operations




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2019 Business                  03/06/19 ED          390 email correspondence with accountant regarding next steps for creation of accounting                  0.4 0.0045455         $1.77
           Operations                                         reports to lenders (.4)
March 2019 Business                  03/07/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding outstanding tax amounts (.1).              0.1 0.0014706         $0.57
           Operations
March 2019 Business                  03/07/19 ED          390 Update information regarding outstanding real estate taxes and email to property manager              0.5 0.0073529         $2.87
           Operations                                         regarding same (.5)
March 2019 Business                  03/07/19 NM          260 revise letter to former EB attorney regarding notice issue (.1)                                       0.1 0.0009346         $0.24
           Operations
March 2019 Business                  03/08/19 ED          390 calls and email correspondence with accountants regarding financial reporting (.7).                   0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/11/19 ED          390 Review from property manager documents and information regarding outstanding real                     0.4 0.0058824         $2.29
           Operations                                         estate taxes (.4)
March 2019 Business                  03/11/19 ED          390 review files and correspondence to identify receivership expenditures to be included in               1.4 0.0159091         $6.20
           Operations                                         accounting reports (1.4)
March 2019 Business                  03/14/19 ED          390 Review draft from accountants of template document for collection and presentation of                 0.4 0.0045455         $1.77
           Operations                                         information for lender accounting reports (.4)
March 2019 Business                  03/14/19 ED          390 email correspondence and calls with K. Duff and M. Rachlis regarding details and process for          1.4 0.0159091         $6.20
           Operations                                         accounting reports to lenders (1.4)
March 2019 Business                  03/14/19 ED          390 and telephone conference with accountant regarding content and processes relating to                  0.5 0.0056818         $2.22
           Operations                                         same (.5)
March 2019 Business                  03/15/19 ED          390 calls and email correspondence with accountants regarding preparation of accounting                   0.4 0.0045455         $1.77
           Operations                                         reports (.4)
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding documentation to send to accountants regarding financial           0.3 0.0034091         $1.33
           Operations                                         performance at each property (.3)
March 2019 Business                  03/15/19 ED          390 confer with N. Mirjanich regarding same (.1).                                                         0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/15/19 ED          390 review and reply to email correspondence from lenders and counsel (.2)                                0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/15/19 NM          260 gather all financial reporting from all property mangers' and send to accountants for same            1.8 0.0168224         $4.37
           Operations                                         (1.8)
March 2019 Business                  03/15/19 NM          260 revise spreadsheet of transaction in Receiver's operating account to reflect specific                 0.7 0.0079545         $2.07
           Operations                                         properties and correspond with E. Duff regarding same (.7)
March 2019 Business                  03/18/19 ED          390 Review financial reporting information from August 2018 and confer with N. Mirjanich and              0.1 0.0011364         $0.44
           Operations                                         email to property manager regarding same (.1)
March 2019 Business                  03/18/19 ED          390 and review of related documents regarding expenditures by receivership (.1)                           0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 review and revise accounting reporting (.9)                                                           0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/18/19 ED          390 call with accountants [B. Fish, Brook Weiner] regarding accounting statements (.1)                    0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/18/19 ED          390 confer with K. Duff and M. Rachlis regarding same (1.0)                                               1.0 0.0113636         $4.43
           Operations




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/18/19 MR          390 attention to issues involving accounting reports (1.0).                                                1.0 0.0113636         $4.43
           Operations
March 2019 Business                  03/18/19 NM          260 correspond with accountant and E. Duff regarding property manager reporting information                0.2 0.0018692         $0.49
           Operations                                         (.2).
March 2019 Business                  03/19/19 ED          390 call with accountant regarding form of report (.2)                                                     0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/19/19 ED          390 Email correspondence to accountant regarding comments on form of accounting reports (.7)               0.7 0.0079545         $3.10
           Operations
March 2019 Business                  03/19/19 ED          390 review revised form of report and confer with K. Duff regarding same (.8)                              0.8 0.0090909         $3.55
           Operations
March 2019 Business                  03/19/19 MR          390 Attention to issues on rent allocation (.2)                                                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/20/19 ED          390 confer with K. Duff (.3)                                                                               0.3 0.0034091         $1.33
           Operations
March 2019 Business                  03/20/19 ED          390 Calls with accountant regarding revisions to form of accounting report (.6)                            0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/20/19 ED          390 and confer with K. Duff regarding same (.4)                                                            0.4 0.0045455         $1.77
           Operations
March 2019 Business                  03/20/19 ED          390 review document from property manager regarding February net operating income and loss,                0.7 0.0079545         $3.10
           Operations                                         real estate tax payments, and distributions of funds to and from receiver for each property
                                                              (.7)
March 2019 Business                  03/20/19 ED          390 M. Rachlis (1.1) regarding same                                                                        1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 ED          390 review and analyze revised form of accounting statement and related information in                     0.5 0.0056818         $2.22
           Operations                                         property manager reporting (.5)
March 2019 Business                  03/20/19 MR          390 Review and address various issues regarding information in property manager reporting (1.1)            1.1      0.0125       $4.88
           Operations
March 2019 Business                  03/20/19 NM          260 send reporting information from property manager to accountant and save same to file (.2)              0.2 0.0029851         $0.78
           Operations
March 2019 Business                  03/21/19 ED          390 revisions to draft of same (.6)                                                                        0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with accountant regarding content of and revisions to form              0.2 0.0022727         $0.89
           Operations                                         of accounting report (.2)
March 2019 Business                  03/21/19 ED          390 confer with N. Mirjanich regarding delivery of financial reporting to accountants to populate          0.1 0.0011364         $0.44
           Operations                                         accounting reports (.1)
March 2019 Business                  03/21/19 ED          390 calls and email correspondence with property manager regarding expense items payable by                0.8 0.0090909         $3.55
           Operations                                         property manager and Receiver (.8)
March 2019 Business                  03/21/19 ED          390 confer with K. Duff and M. Rachlis regarding accounting for properties (.2)                            0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff regarding insurance information (.2).                                          0.2 0.0022727         $0.59
           Operations
March 2019 Business                  03/21/19 NM          260 correspond with E. Duff and accountant regarding reporting information and obtain same                 0.2 0.0022727         $0.59
           Operations                                         (.2)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
March 2019 Business                  03/22/19 AW          140 Email exchanges with forensic consultant regarding issue with accounting records (.1)                0.1 0.0009346         $0.13
           Operations
March 2019 Business                  03/22/19 MR          390 prepare for meetings with City (.3)                                                                  0.3 0.0028302         $1.10
           Operations
March 2019 Business                  03/22/19 MR          390 conference call with City, K. Duff and N. Mirjanich (.5)                                             0.5    0.004717       $1.84
           Operations
March 2019 Business                  03/25/19 ED          390 confer with M. Rachlis regarding conversation with lender's counsel (.2).                            0.2 0.0054054         $2.11
           Operations
March 2019 Business                  03/26/19 MR          390 Attention to e-mails regarding meeting with City on water related issues.                            0.2 0.0018868         $0.74
           Operations
March 2019 Business                  03/27/19 ED          390 and email correspondence regarding same (.5)                                                         0.5 0.0056818         $2.22
           Operations
March 2019 Business                  03/27/19 ED          390 Review list from accountants regarding additional information needed for accounting reports          0.9 0.0102273         $3.99
           Operations                                         (.9)
March 2019 Business                  03/27/19 ED          390 prepare and send email to accountant with questions and comments regarding property                  2.0 0.0227273         $8.86
           Operations                                         transfer and distribution information and relating to form of report and procedures for
                                                              populating information (2.0)
March 2019 Business                  03/27/19 ED          390 identify responsive documents (.6)                                                                   0.6 0.0068182         $2.66
           Operations
March 2019 Business                  03/27/19 ED          390 review drafts of accounting reports received and prepare comments and questions (.9)                 0.9 0.0102273         $3.99
           Operations
March 2019 Business                  03/27/19 ED          390 calls with accountant to follow up on content and further information required for                   0.3 0.0034091         $1.33
           Operations                                         accounting reports (.3)
March 2019 Business                  03/27/19 ED          390 review information from property manager regarding net rental income available to pay real           0.5 0.0714286        $27.86
           Operations                                         estate taxes (.5)
March 2019 Business                  03/27/19 ED          390 confer with K. Duff regarding reporting information for funds sent to and from property              0.3 0.0034091         $1.33
           Operations                                         managers (.3)
March 2019 Business                  03/27/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding same (.2)                                 0.2 0.0285714        $11.14
           Operations
March 2019 Business                  03/28/19 ED          390 review monthly property reports for multiple properties (1.6)                                        1.6 0.0202532         $7.90
           Operations
March 2019 Business                  03/28/19 ED          390 calls with accountant regarding accounting reports (1.8)                                             1.8 0.0204545         $7.98
           Operations
March 2019 Business                  03/28/19 ED          390 follow up with property manager to request reporting information broken out by properties            0.2 0.0022727         $0.89
           Operations                                         (.2)
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding same (.2).                                                             0.2 0.0022727         $0.89
           Operations
March 2019 Business                  03/28/19 ED          390 confer with K. Duff regarding property manager and accounting procedures (.1)                        0.1 0.0011364         $0.44
           Operations
March 2019 Business                  03/29/19 ED          390 review drafts of receiver's property reports (1.2)                                                   1.2 0.0136364         $5.32
           Operations
March 2019 Business                  03/29/19 ED          390 calls with accountant regarding status of production of accounting reports, and certain              0.2 0.0022727         $0.89
           Operations                                         outstanding questions to reconcile to property manager reporting (.2)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                              Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2019 Business                  03/30/19 ED          390 review drafts of receiver's property reports (1.2).                                                    1.2 0.0136364         $5.32
           Operations
March 2019 Business                  03/30/19 ED          390 calls with accountant regarding status of production of lender accounting reports, and                 0.2 0.0022727         $0.89
           Operations                                         certain outstanding questions to reconcile to property manager reporting (.2)
March 2019 Business                  03/31/19 ED          390 call with accountant regarding accounting reports (.8).                                                0.8 0.0090909         $3.55
           Operations
March 2019 Claims                    03/13/19 NM          260 Study lenders' objections to the claims motion.                                                        0.7 0.0088608         $2.30
           Administration
           & Objections

March 2019 Claims                    03/18/19 NM          260 Study motion to approve claims process and objections to same to draft reply.                          0.8 0.0101266         $2.63
           Administration
           & Objections

March 2019 Claims                    03/21/19 MR          390 conferences with K. Duff and E. Duff regarding accounting and issues at cross collateralized           0.2 0.0037736         $1.47
           Administration                                     properties (.2)
           & Objections

March 2019 Claims                    03/21/19 NM          260 Draft reply brief to claims motion objections (1.0)                                                    1.0 0.0126582         $3.29
           Administration
           & Objections

March 2019 Claims                    03/25/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.2 0.0658228        $17.11
           Administration                                     cross-motion for expedited discovery and priority hearing (5.2)
           & Objections

March 2019 Claims                    03/26/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          5.9 0.0746835        $19.42
           Administration                                     cross-motion for expedited discovery and priority hearing (5.9)
           & Objections

March 2019 Claims                    03/27/19 MR          390 attention to issues regarding filing (.3)                                                              0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                    03/27/19 MR          390 and several conferences regarding same (.3).                                                           0.3 0.0037975         $1.48
           Administration
           & Objections

March 2019 Claims                    03/27/19 NM          260 Draft and revise reply brief in support of motion to establish claims process and response to          3.3 0.0417722        $10.86
           Administration                                     cross-motion for expedited discovery and priority hearing and correspond with K. Duff
           & Objections                                       regarding same and study comments from same.




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
March 2019 Claims                    03/28/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-           3.3 0.0417722        $10.86
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same.

March 2019 Claims                    03/29/19 MR          390 work on draft response brief (1.2)                                                                   1.2 0.0151899         $5.92
           Administration
           & Objections

March 2019 Claims                    03/29/19 MR          390 conferences regarding same (.4).                                                                     0.4 0.0050633         $1.97
           Administration
           & Objections

March 2019 Claims                    03/29/19 NM          260 Revise reply brief in support of motion to establish claims process and response to cross-           8.1 0.1025316        $26.66
           Administration                                     motion for expedited discovery and priority hearing and correspond with K. Duff and M.
           & Objections                                       Rachlis regarding same and comments from same and finalize same for filing.

April 2019   Asset                   04/01/19 KBD         390 Study single family home listing agreement and draft correspondence to A. Porter regarding           0.2 0.0054054         $2.11
             Disposition                                      same.
April 2019   Asset                   04/02/19 KBD         390 Office conference with N. Mirjanich regarding motion to approve sale of single-family home           0.1 0.0027027         $1.05
             Disposition                                      portfolio and additional properties (.1)
April 2019   Asset                   04/03/19 KBD         390 study correspondence from A. Porter regarding motion to approve sale of single-family                0.1 0.0027027         $1.05
             Disposition                                      home portfolio (.1).
April 2019   Asset                   04/09/19 KBD         390 study correspondence from A. Porter and N. Mirjanich regarding planning for sale of single-          0.2 0.0054054         $2.11
             Disposition                                      family home portfolio (.2).
April 2019   Asset                   04/10/19 KBD         390 Office conference with A. Porter and telephone conference with A. Porter and real estate             0.3 0.0081081         $3.16
             Disposition                                      broker regarding planning for sale of first tranche of properties and preparing for sale of
                                                              third tranche of properties and single family homes.
April 2019   Asset                   04/17/19 KBD         390 Analyze real estate portfolio and determine priority for property sales (.8)                         0.8 0.0087912         $3.43
             Disposition
April 2019   Asset                   04/17/19 KBD         390 office conferences with E. Duff regarding same (.6)                                                  0.6 0.0065934         $2.57
             Disposition
April 2019   Asset                   04/27/19 KBD         390 Exchange correspondence with A. Porter regarding sale of single-family home portfolio.               0.2 0.0054054         $2.11
             Disposition
April 2019   Business                04/03/19 KBD         390 study correspondence from city official regarding outstanding water bills (.2)                       0.2 0.0018868         $0.74
             Operations
April 2019   Business                04/05/19 KBD         390 exchange correspondence with property manager regarding estimated costs (.1)                         0.1 0.0014925         $0.58
             Operations
April 2019   Business                04/12/19 KBD         390 office conference with E. Duff regarding same (.2)                                                   0.2 0.0018692         $0.73
             Operations
April 2019   Business                04/12/19 KBD         390 Study financial reporting from property managers (.6)                                                0.6 0.0056075         $2.19
             Operations
April 2019   Business                04/15/19 KBD         390 study property manager financial reporting (.4)                                                      0.4 0.0058824         $2.29
             Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2019   Business                04/17/19 KBD             390 Analyze cash flow and unpaid utility bills, and develop plan for payment and timing (.7)               0.7 0.0077778          $3.03
             Operations
April 2019   Business                04/17/19 KBD             390 discuss same with E. Duff (.1)                                                                         0.1 0.0011111          $0.43
             Operations
April 2019   Business                04/22/19 KBD             390 exchange correspondence with property manager, analyze same, and exchange                              0.3          0.1      $39.00
             Operations                                           correspondence with asset manager regarding unit turns and delinquent taxes (417 S
                                                                  Oglesby, 7922 S Luella, 8800 S Ada) (.3).
April 2019   Business                04/22/19 KBD             390 study lender reports and discuss with E. Duff regarding corrections to same and                        0.2 0.0022727          $0.89
             Operations                                           communication with accounting firm representative relating to same (.2)
April 2019   Business                04/26/19 KBD             390 Telephone conference and exchange correspondence with insurance broker regarding                       0.3 0.0029126          $1.14
             Operations                                           efforts to obtain renewal or replacement coverage and associated costs and budgeting (.3)

April 2019   Business                04/29/19 KBD             390 office conferences with and study correspondence from J. Rak regarding delinquent real                 0.4 0.0037383          $1.46
             Operations                                           estate tax payments and planning (.4)
April 2019   Business                04/30/19 KBD             390 exchange correspondence with insurance broker regarding property coverage and payment                  0.2 0.0019417          $0.76
             Operations                                           amounts (.2)
April 2019   Claims                  04/12/19 KBD             390 Study lenders' reply regarding priority and discovery (.4)                                             0.4 0.0064516          $2.52
             Administration
             & Objections

April 2019   Asset                   04/01/19 JR              140 update water utility spreadsheet with account numbers for properties (.6)                              0.6 0.0056075          $0.79
             Disposition
April 2019   Asset                   04/01/19 JR              140 exchange correspondence with N. Mirjanich regarding updates to the water utility                       0.3 0.0028037          $0.39
             Disposition                                          spreadsheet and additional account numbers (.3)
April 2019   Asset                   04/02/19 JR              140 Email response to N. Mirjanich regarding assisting on the approval of the single-family homes          0.1 0.0027027          $0.38
             Disposition                                          motion.
April 2019   Asset                   04/02/19 NM              260 Correspond with K. Duff and J. Rak regarding motion to approve process for the single-family           0.2 0.0054054          $1.41
             Disposition                                          home portfolio.
April 2019   Asset                   04/08/19 AEP             390 Review correspondence between J. Rak and City of Chicago regarding processing of water                 0.2 0.0018692          $0.73
             Disposition                                          certificates and creation of new accounts, review spreadsheet created to track liability for
                                                                  unpaid water bills, and review draft letter from receiver to City regarding reconciliation of
                                                                  account information (.2)
April 2019   Asset                   04/16/19 JR              140 exchange correspondence with N. Mirjanich regarding scheduling meeting with City of                    0.2 0.0018692          $0.26
             Disposition                                          Chicago water department (.2).
April 2019   Asset                   04/17/19 AEP             390 study, and revise first draft of proposed offering memorandum associated with marketing of             0.3 0.0081081          $3.16
             Disposition                                          single-family homes (.3)
April 2019   Asset                   04/17/19 AEP             390 communications with receivership brokers for single-family home portfolio regarding timing             0.2 0.0054054          $2.11
             Disposition                                          of motion to approve marketing and offering memorandum (.2).
April 2019   Asset                   04/19/19 JR              140 Draft address updates for property taxes on the Cook County treasurer's site for 2018 2nd              3.3 0.0308411          $4.32
             Disposition                                          installment and confirm entities on our applications.
April 2019   Business                04/01/19 MR              390 follow up emails relating to same (.3)                                                                 0.3 0.0034091          $1.33
             Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2019   Business                04/01/19 MR              390 Attention to various issues regarding lease and other accounting related questions regarding          0.6 0.0068182         $2.66
             Operations                                           properties and conferences with lenders counsel regarding same (.6)

April 2019   Business                04/01/19 MR              390 conferences with E. Duff regarding same (.3)                                                          0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/01/19 MR              390 conferences regarding various property issues with K. Duff (.5)                                       0.5 0.0056818         $2.22
             Operations
April 2019   Business                04/01/19 MR              390 follow up on property accounting issues (.3).                                                         0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/01/19 NM              260 Correspond with E. Duff and K. Pritchard regarding outstanding items for accounting on                0.2 0.0022727         $0.59
             Operations                                           property-by-property basis (.2)
April 2019   Business                04/02/19 JR              140 Update 2017 real estate taxes after partial and full payments were made as well as interest           2.1 0.0196262         $2.75
             Operations                                           accrual (2.1)
April 2019   Business                04/02/19 JR              140 ; exchange correspondence with K. Duff regarding same (.3).                                           0.3 0.0028037         $0.39
             Operations
April 2019   Business                04/03/19 ED              390 review information from property manager for inclusion in accounting reports, and reconcile           0.3 0.0034091         $1.33
             Operations                                           against schedule of receivership payments (.3)
April 2019   Business                04/03/19 ED              390 email correspondence and calls with accountant regarding same (1.4)                                   1.4 0.0159091         $6.20
             Operations
April 2019   Business                04/03/19 ED              390 confer with N. Mirjanich regarding questions relating to same (.1)                                    0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/03/19 KMP             140 Finalize communication to City regarding expenses for various properties, revise exhibits,            0.3 0.0028302         $0.40
             Operations                                           and prepare electronic copy for email communication.
April 2019   Business                04/06/19 ED              390 Email correspondence with J. Rak regarding calculations for payment of outstanding real               0.2 0.0028571         $1.11
             Operations                                           estate taxes.
April 2019   Business                04/09/19 ED              390 call with accountant regarding missing information and questions for completion of                    0.2 0.0022727         $0.89
             Operations                                           accounting statements (.2)
April 2019   Business                04/09/19 ED              390 follow up with property manager (.7)                                                                  0.7 0.0079545         $3.10
             Operations
April 2019   Business                04/09/19 ED              390 Review information regarding property tax reductions related to mortgaged properties (.2)             0.2 0.0022472         $0.88
             Operations
April 2019   Business                04/09/19 ED              390 review of owner contribution breakdown by property from property manager (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/09/19 ED              390 and internal document review (.8) regarding same                                                      0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/09/19 ED              390 email summary to K. Duff of analysis of same (.3)                                                     0.3 0.0033708         $1.31
             Operations
April 2019   Business                04/09/19 ED              390 email to property manager regarding allocation of payments by receiver to appropriate                 0.3 0.0034091         $1.33
             Operations                                           properties (.3).
April 2019   Business                04/10/19 ED              390 Email correspondence and telephone conference with accountant regarding payment details               0.6 0.0068182         $2.66
             Operations                                           for accounting reports (.6)
April 2019   Business                04/10/19 ED              390 follow up with property manager and with K. Pritchard regarding payment details (.3).                 0.3 0.0034091         $1.33
             Operations


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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2019   Business                04/12/19 ED              390 confer with K. Duff regarding same (.2)                                                                0.2 0.0029412         $1.15
             Operations
April 2019   Business                04/12/19 ED              390 continue review of Receiver's property reports (1.8).                                                  1.8 0.0202247         $7.89
             Operations
April 2019   Business                04/12/19 ED              390 Review information from property manager regarding March income and distribution                       0.2 0.0029412         $1.15
             Operations                                           amounts (.2)
April 2019   Business                04/15/19 ED              390 Review drafts of accounting reports.                                                                   0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/16/19 JR              140 Prepared change of address applications from the Cook County Treasurer site for all                    3.9 0.0364486         $5.10
             Operations                                           properties to reflect our address for 2018 2nd installment taxes (3.9)
April 2019   Business                04/17/19 ED              390 and J. Rak (.2)                                                                                        0.2 0.0022222         $0.87
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff regarding utility bill payments coming due (.1)                                    0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 ED              390 review and revise analysis of properties and outstanding and upcoming expenses (1.0)                   1.0 0.0111111         $4.33
             Operations
April 2019   Business                04/17/19 ED              390 email correspondence with asset manager regarding same (.3)                                            0.3 0.0033333         $1.30
             Operations
April 2019   Business                04/17/19 ED              390 review of documents and information relating to same (.1)                                              0.1 0.0011111         $0.43
             Operations
April 2019   Business                04/17/19 ED              390 review of financial reporting information from property managers for March (.8).                       0.8 0.0074766         $2.92
             Operations
April 2019   Business                04/17/19 ED              390 confer with K. Duff (.6)                                                                               0.6 0.0066667         $2.60
             Operations
April 2019   Business                04/17/19 JR              140 draft applications for 2018 real estate tax address update/change on all the properties (2.6)          2.6 0.0242991         $3.40
             Operations
April 2019   Business                04/18/19 JR              140 Continue drafting applications for real estate tax address change (1.4)                                1.4 0.0130841         $1.83
             Operations
April 2019   Business                04/18/19 JR              140 review entities on same to ensure they correspond with entities defined by the court order             4.2 0.0392523         $5.50
             Operations                                           appointing receiver for all the receiver defendants (4.2).
April 2019   Business                04/22/19 ED              390 email correspondence with accountants regarding accounting reports (.4).                               0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/22/19 ED              390 review drafts of accounting reports and related financial reporting documents from property            1.5 0.0168539         $6.57
             Operations                                           managers (1.5)
April 2019   Business                04/23/19 ED              390 draft notes to accompany accounting reports (.4)                                                       0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/23/19 ED              390 call with accountant regarding source information for production of accounting reports (.1)            0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/23/19 ED              390 telephone call with K. Duff and accountant regarding accounting reports (.2)                           0.2 0.0022727         $0.89
             Operations
April 2019   Business                04/23/19 ED              390 and send copies of property manager reports for all months (.3).                                       0.3 0.0034091         $1.33
             Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
April 2019   Business                04/25/19 ED              390 Organize master list of accounting report status.                                                    0.6 0.0068182         $2.66
             Operations
April 2019   Business                04/25/19 MR              390 Conferences with E. Duff regarding financial reports and related issues (.8)                         0.8 0.0090909         $3.55
             Operations
April 2019   Business                04/25/19 SZ              110 email exchange and office conference about the same with E. Duff (.2).                               0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/25/19 SZ              110 Reviewed and cross-referenced accounting statements for the month of February 2019 (.9)              0.9 0.0102273         $1.13
             Operations
April 2019   Business                04/26/19 ED              390 meet with S. Zjalic to discuss organizing financial reporting information from property              0.2 0.0022727         $0.89
             Operations                                           managers for review (.2)
April 2019   Business                04/26/19 ED              390 organize plan for sending reports when final and develop distribution list (.3)                      0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/26/19 ED              390 confer with N. Mirjanich regarding accounting reports process and review (.4).                       0.4 0.0045455         $1.77
             Operations
April 2019   Business                04/26/19 ED              390 review correspondence and documents relating to expenses to be reflected in [lender]                 0.5 0.0056818         $2.22
             Operations                                           accountings (.5)
April 2019   Business                04/26/19 ED              390 Further work on process and content for generating accounting reports (.9)                           0.9 0.0102273         $3.99
             Operations
April 2019   Business                04/26/19 ED              390 review additional draft reports from accountant (1.2)                                                1.2 0.0136364         $5.32
             Operations
April 2019   Business                04/26/19 NM              260 correspond with E. Duff regarding reporting information (.4).                                        0.4 0.0045455         $1.18
             Operations
April 2019   Business                04/26/19 SZ              110 communicated with E. Duff about the same (.2).                                                       0.2 0.0022727         $0.25
             Operations
April 2019   Business                04/26/19 SZ              110 Organized profit and loss statements, T12 statements and financial reports from property             0.8 0.0090909         $1.00
             Operations                                           managers (.8)
April 2019   Business                04/29/19 ED              390 confer with K. Duff regarding same (.1)                                                              0.1 0.0009901         $0.39
             Operations
April 2019   Business                04/29/19 ED              390 Call with insurance broker regarding renewal of insurance policies (.2)                              0.2 0.0019802         $0.77
             Operations
April 2019   Business                04/29/19 ED              390 review email correspondence regarding receivership expenditures for inclusion in accounting          0.2 0.0022727         $0.89
             Operations                                           reports (.2)
April 2019   Business                04/29/19 ED              390 confer with S. Zjalic regarding financial reporting documents (.1)                                   0.1 0.0011364         $0.44
             Operations
April 2019   Business                04/29/19 ED              390 and review of notes regarding same (.3).                                                             0.3 0.0034091         $1.33
             Operations
April 2019   Business                04/29/19 JR              140 Update real estate taxes for 2017 and send to K. Duff.                                               0.5 0.0046729         $0.65
             Operations
April 2019   Business                04/29/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from           3.8 0.0431818         $4.75
             Operations                                           property managers (3.8)
April 2019   Business                04/29/19 SZ              110 discussed and reviewed the final documents with E. Duff (.3).                                        0.3 0.0034091         $0.38
             Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2019   Business                04/30/19 ED              390 review files and documents for information to be included in accounting reports (3.9).              3.9 0.0443182        $17.28
             Operations
April 2019   Business                04/30/19 SZ              110 Continue to organize profit and loss statements, T12 statements and financial reports from          0.8 0.0090909         $1.00
             Operations                                           property managers (.8)
April 2019   Business                04/30/19 SZ              110 discussed and reviewed the final documents with E. Duff (.2).                                       0.2 0.0022727         $0.25
             Operations
April 2019   Claims                  04/02/19 ED              390 Email correspondence with accountant regarding preparation of accounting reports (.2)               0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/02/19 ED              390 review of related documents regarding use of funds and receivership property expenditures           0.2 0.0022727         $0.89
             Administration                                       (.2).
             & Objections

April 2019   Claims                  04/11/19 ED              390 Begin review of Receiver's property reports.                                                        1.5 0.0170455         $6.65
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 conference with S. Zjalic regarding organizing draft accounting reports (.2)                        0.2 0.0022727         $0.89
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 and research into discrepancies and questions (.7)                                                  0.7 0.0079545         $3.10
             Administration
             & Objections

April 2019   Claims                  04/25/19 ED              390 review reports received against financial reporting to lenders (.8)                                 0.8 0.0090909         $3.55
             Administration
             & Objections

April 2019   Claims                  04/30/19 ED              390 Email correspondence with insurance broker and lenders' counsel regarding renewal of                0.3 0.0029412         $1.15
             Administration                                       insurance coverage (.3)
             & Objections

May 2019     Asset                   05/01/19 KBD             390 telephone conference with A. Porter and asset manager regarding property manager                    0.2 0.0022989         $0.90
             Disposition                                          account reporting (.2)
May 2019     Asset                   05/07/19 KBD             390 Telephone conference with E. Duff, M. Rachlis, A. Porter, and real estate broker                    1.3 0.0149425         $5.83
             Disposition                                          representatives regarding credit bid implications of court's order and asset disposition
                                                                  planning (1.3)
May 2019     Asset                   05/09/19 KBD             390 Study correspondence from M. Rachlis regarding credit bid analysis.                                 0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/10/19 KBD             390 exchange correspondence with M. Rachlis, A. Porter, and E. Duff regarding credit bid                0.2 0.0022989         $0.90
             Disposition                                          procedures (.2)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/10/19 KBD         390 analysis of sales procedures and potential outcomes relating to credit bidding (1.9).                 1.9 0.0218391         $8.52
             Disposition
May 2019     Asset                   05/10/19 KBD         390 discussion of same with M. Rachlis (.7)                                                               0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/12/19 KBD         390 legal research regarding sales procedure (.4).                                                        0.4 0.0038835         $1.51
             Disposition
May 2019     Asset                   05/12/19 KBD         390 Exchange correspondence with A. Porter regarding sales procedures, credit bidding, and                0.1 0.0011494         $0.45
             Disposition                                      portfolio equity (.1)
May 2019     Asset                   05/13/19 KBD         390 Study research regarding and analysis of credit bid procedures (.5)                                   0.5 0.0057471         $2.24
             Disposition
May 2019     Asset                   05/13/19 KBD         390 study potential amendment of motions for approval to list properties for sale (.1).                   0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                   05/13/19 KBD         390 office conference with M. Rachlis, A. Porter, and real estate broker regarding same and sale          1.8 0.0206897         $8.07
             Disposition                                      planning (1.8)
May 2019     Asset                   05/13/19 KBD         390 study and revise draft bid procedures (.6)                                                            0.6 0.0058252         $2.27
             Disposition
May 2019     Asset                   05/14/19 KBD         390 study proposed changes to credit bid procedures from A. Porter (.2).                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/14/19 KBD         390 Exchange various correspondence relating to and office conferences with M. Rachlis                    1.1 0.0126437         $4.93
             Disposition                                      regarding credit bid procedures and communications with lenders' counsel (1.1)

May 2019     Asset                   05/15/19 KBD         390 revise and exchange correspondence with M. Rachlis and A. Porter regarding same and                   1.1 0.0126437         $4.93
             Disposition                                      communications with lenders' counsel relating to same (1.1)
May 2019     Asset                   05/15/19 KBD         390 telephone conferences with A. Porter regarding credit bid procedures (.7)                             0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/15/19 KBD         390 confer with M. Rachlis regarding same (.4)                                                            0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/16/19 KBD         390 telephone conference with various lenders counsel, M. Rachlis, and A. Porter regarding                0.5 0.0057471         $2.24
             Disposition                                      credit bid and sales procedures (.5)
May 2019     Asset                   05/16/19 KBD         390 telephone conference with real estate broker regarding changes to real estate sale                    0.6 0.0067416         $2.63
             Disposition                                      procedures and impact of changes on sales efforts (.6)
May 2019     Asset                   05/16/19 KBD         390 Study various correspondence regarding credit bid procedures, study and revise draft                  4.7    0.054023      $21.07
             Disposition                                      procedures, analysis of potential procedures and efforts to resolve lenders issues, and
                                                              communicate with M. Rachlis and A. Porter regarding same (4.7)
May 2019     Asset                   05/17/19 KBD         390 revise purchase and sales agreement terms and conditions and credit bid procedures and                3.7 0.0425287        $16.59
             Disposition                                      engage various additional conferences and exchange correspondence with M. Rachlis, A.
                                                              Porter, and real estate broker regarding same (3.7)

May 2019     Asset                   05/17/19 KBD         390 exchange correspondence with real estate broker regarding sales procedures (.1)                       0.1       0.001       $0.39
             Disposition
May 2019     Asset                   05/20/19 KBD         390 exchange correspondence with N. Mirjanich regarding lender objections to sales process (.2).          0.2       0.002       $0.78
             Disposition




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/30/19 KBD         390 office conference with M. Rachlis and A. Porter regarding credit bid procedures and                   0.8 0.0091954         $3.59
             Disposition                                      communications with lenders' counsel relating to same (.8)
May 2019     Asset                   05/30/19 KBD         390 Telephone conference with lenders' counsel regarding credit bid procedures (.4)                       0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/30/19 KBD         390 study and revise correspondence relating to credit bid procedures (1.7)                               1.7 0.0195402         $7.62
             Disposition
May 2019     Asset                   05/30/19 KBD         390 exchange correspondence with potential purchaser and draft correspondence to real estate              0.1       0.001       $0.39
             Disposition                                      broker (.1)
May 2019     Asset                   05/31/19 KBD         390 Study analysis of real estate portfolio (.2)                                                          0.2 0.0019417         $0.76
             Disposition
May 2019     Business                05/01/19 KBD         390 telephone conference with E. Duff and asset manager regarding same (.3)                               0.3 0.0034483         $1.34
             Operations
May 2019     Business                05/01/19 KBD         390 telephone conference with A. Porter and E. Duff regarding property manager accounting and             0.4 0.0045977         $1.79
             Operations                                       reporting (.4)
May 2019     Business                05/01/19 KBD         390 Exchange correspondence with property managers regarding 2017 property taxes (.1)                     0.1 0.0009346         $0.36
             Operations
May 2019     Business                05/01/19 KBD         390 exchange correspondence with insurance broker regarding efforts to obtain renewal or                  0.1 0.0009709         $0.38
             Operations                                       replacement insurance (.1).
May 2019     Business                05/02/19 KBD         390 exchange correspondence with insurance broker and E. Duff regarding renewal or                        0.1 0.0009709         $0.38
             Operations                                       replacement of insurance coverage (.1)
May 2019     Business                05/03/19 KBD         390 exchange correspondence with insurance broker, K. Pritchard, and E. Duff regarding                    0.2 0.0019417         $0.76
             Operations                                       insurance policies and renewals (.2).
May 2019     Business                05/06/19 KBD         390 telephone conference with bank representative regarding wire transfer for insurance                   0.1 0.0009709         $0.38
             Operations                                       payment (.1).
May 2019     Business                05/08/19 KBD         390 exchange correspondence with E. Duff regarding property manager accounting and                        0.1 0.0041667         $1.63
             Operations                                       allocation (.1).
May 2019     Business                05/08/19 KBD         390 Exchange correspondence with and telephone conference with broker regarding potential                 0.3 0.0029126         $1.14
             Operations                                       insurance (.3)
May 2019     Business                05/09/19 KBD         390 study correspondence from E. Duff regarding accounting reports (.1).                                  0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/14/19 KBD         390 Study property manager financial reporting (.3)                                                       0.3 0.0046154         $1.80
             Operations
May 2019     Business                05/15/19 KBD         390 study various correspondence from property manager representatives and E. Duff regarding              0.3 0.0029703         $1.16
             Operations                                       same (.3)
May 2019     Business                05/15/19 KBD         390 study financial reporting from property managers (.9)                                                 0.9 0.0089109         $3.48
             Operations
May 2019     Business                05/16/19 KBD         390 Study correspondence from property managers regarding financial reporting, study financial            0.6 0.0059406         $2.32
             Operations                                       reporting documentation, and office conference with E. Duff regarding financial reporting
                                                              (.6)
May 2019     Business                05/17/19 KBD         390 Office conference with E. Duff regarding property manager records and financial reports (.5)          0.5 0.0056818         $2.22
             Operations
May 2019     Business                05/20/19 KBD         390 study spreadsheets relating to water accounts for various properties (.2)                             0.2 0.0029851         $1.16
             Operations


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                 Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                  Hours        Fees
May 2019     Business                05/21/19 KBD         390 Exchange correspondence with insurance broker regarding property coverage renewal (.1)           0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/21/19 KBD         390 exchange correspondence with E. Duff regarding annual insurance premiums (.1).                   0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/22/19 KBD         390 study correspondence from insurance broker regarding renewal of property insurance               0.2 0.0019417         $0.76
             Operations                                       coverage and exchange correspondence with asset manager and E. Duff regarding same (.2)

May 2019     Business                05/23/19 KBD         390 office conference with M. Rachlis regarding same (.1)                                            0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/23/19 KBD         390 Exchange correspondence and telephone conference with insurance broker regarding                 0.2 0.0019417         $0.76
             Operations                                       property insurance renewal (.2)
May 2019     Business                05/24/19 KBD         390 Exchange correspondence with M. Rachlis regarding renewal of property insurance (.1)             0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/28/19 KBD         390 exchange correspondence with insurance broker regarding renewal of coverage and                  0.1 0.0009709         $0.38
             Operations                                       payment (.1)
May 2019     Business                05/29/19 KBD         390 Study correspondence from and discuss with K. Pritchard and insurance broker regarding           0.2 0.0019417         $0.76
             Operations                                       property insurance payment (.2)
May 2019     Business                05/30/19 KBD         390 study correspondence from K. Pritchard regarding property insurance funding (.2)                 0.2 0.0019417         $0.76
             Operations
May 2019     Business                05/31/19 KBD         390 planning with J. Rak regarding delinquent real estate taxes (.2)                                 0.2 0.0018692         $0.73
             Operations
May 2019     Business                05/31/19 KBD         390 review credit bid procedures with A. Porter (.2)                                                 0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/31/19 KBD         390 exchange correspondence with E. Duff regarding same (.1)                                         0.1 0.0015625         $0.61
             Operations
May 2019     Business                05/31/19 KBD         390 Telephone conference with property manager regarding unpaid property management                  0.3 0.0046875         $1.83
             Operations                                       expenses (.3)
May 2019     Claims                  05/01/19 KBD         390 evaluate and discuss property financial reporting with E. Duff (.6)                              0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                  05/09/19 KBD         390 Confer with E. Duff regarding communication with accounting firm regarding accounting            0.2 0.0022727         $0.89
             Administration                                   reports (.2)
             & Objections

May 2019     Claims                  05/10/19 KBD         390 Study correspondence from E. Duff regarding financial reporting and communications with          0.1 0.0011494         $0.45
             Administration                                   accounting firm representatives (.1)
             & Objections

May 2019     Claims                  05/14/19 KBD         390 telephone conference with accounting firm representative regarding same and timing for           0.2 0.0022989         $0.90
             Administration                                   delivery of reports (.2)
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2019     Claims                  05/14/19 KBD             390 Work with E. Duff on financial reporting (.2)                                                          0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                  05/15/19 KBD             390 Discuss and evaluate financial reporting with E. Duff and M. Rachlis (.6)                              0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                  05/15/19 KBD             390 telephone conference with accounting firm representative regarding same (.1).                          0.1 0.0011364         $0.44
             Administration
             & Objections

May 2019     Claims                  05/21/19 KBD             390 Study correspondence from E. Duff regarding communications with lender relating to                     0.5 0.0056818         $2.22
             Administration                                       financial reports (.5)
             & Objections

May 2019     Claims                  05/21/19 KBD             390 office conference with E. Duff regarding same (.2)                                                     0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Asset                   05/01/19 AEP             390 teleconference with K. Duff and E. Duff regarding reconciliation of property-specific                  0.7    0.008046       $3.14
             Disposition                                          accounting issues with property manager (.7).
May 2019     Asset                   05/07/19 AEP             390 teleconference with K. Duff, M. Rachlis, E. Duff, and receivership brokers regarding                   1.5 0.0168539         $6.57
             Disposition                                          marketing and sales process (1.5).
May 2019     Asset                   05/07/19 ED              390 conference call with asset manager and K. Duff, M. Rachlis, and A. Porter regarding sale               1.2 0.0137931         $5.38
             Disposition                                          processes for next tranche of properties (1.2).
May 2019     Asset                   05/07/19 JR              140 update real estate tax delinquency spreadsheet for all properties (2.7).                               2.7 0.0252336         $3.53
             Disposition
May 2019     Asset                   05/08/19 AEP             390 Legal research and analysis regarding property sales and various related procedural issues.            2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                   05/08/19 ED              390 Confer with M. Rachlis regarding incorporation of credit bids into process for offer and sale          0.2 0.0022989         $0.90
             Disposition                                          of properties.
May 2019     Asset                   05/09/19 ED              390 and confer with M. Rachlis regarding same (.1).                                                        0.1 0.0009709         $0.38
             Disposition
May 2019     Asset                   05/09/19 ED              390 Telephone call with lender's counsel regarding details of credit bids for property sales (.1)          0.1 0.0009804         $0.38
             Disposition
May 2019     Asset                   05/10/19 ED              390 Review email correspondence from lender's counsel and follow up emails with M. Rachlis                 0.2 0.0022989         $0.90
             Disposition                                          and K. Duff regarding mechanics for credit bids as part of property sale process.

May 2019     Asset                   05/12/19 AEP             390 Continue legal research and analysis regarding property sales and sales procedures.                    1.2 0.0134831         $5.26
             Disposition
May 2019     Asset                   05/13/19 AEP             390 Work on revisions to sales procedures with K. Duff, M. Rachlis, and receivership broker.               1.5 0.0168539         $6.57
             Disposition


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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2019     Asset                   05/13/19 JR              140 update real estate 2018 1st installment taxes with the accrued interest (1.3)                          1.3 0.0121495         $1.70
             Disposition
May 2019     Asset                   05/13/19 NM              260 Correspond with K. Duff, M. Rachlis, and real estate broker regarding procedures for sale of           0.6 0.0122449         $3.18
             Disposition                                          second tranche of properties, and the single-family home approval motion (.6)

May 2019     Asset                   05/13/19 NM              260 correspond with M. Rachlis and A. Porter regarding approval motion for single-family homes             0.1 0.0027027         $0.70
             Disposition                                          and send same to A. Porter for comment (.1).
May 2019     Asset                   05/14/19 AEP             390 study, edit, and revise current draft of proposed bidding instructions (.6)                            0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                   05/14/19 AEP             390 Legal research regarding property sales issue (.4)                                                     0.4 0.0039216         $1.53
             Disposition
May 2019     Asset                   05/15/19 AEP             390 Study, edit, and revise latest draft of proposed bid procedures following teleconference with          1.0    0.011236       $4.38
             Disposition                                          receivership broker (1.0)
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding sales procedures (.3)                             0.3 0.0033708         $1.31
             Disposition
May 2019     Asset                   05/15/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding closing costs (.6)                                0.6 0.0067416         $2.63
             Disposition
May 2019     Asset                   05/15/19 JR              140 confirm and send to E. Duff the most up to date real estate tax delinquencies for 2017 (.9)            0.9 0.0084112         $1.18
             Disposition
May 2019     Asset                   05/15/19 MR              390 conferences and attention to issues on credit bids and follow up regarding same (2.5).                 2.5 0.0287356        $11.21
             Disposition
May 2019     Asset                   05/16/19 AEP             390 Conferences with K. Duff and M. Rachlis regarding revisions to bidding procedures (2.5)                2.5 0.0280899        $10.96
             Disposition
May 2019     Asset                   05/16/19 AEP             390 conference call with lenders regarding revisions to bidding procedures (.5)                            0.5    0.005618       $2.19
             Disposition
May 2019     Asset                   05/16/19 JR              140 Work with A. Porter on review of the second tranche surveys and the single family homes                1.9 0.0387755         $5.43
             Disposition                                          survey in preparation for marketing (1.9)
May 2019     Asset                   05/16/19 JR              140 update water utility spreadsheet with addresses (.2).                                                  0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/17/19 AEP             390 Edit and revise latest draft of bid procedures (.2)                                                    0.2 0.0022472         $0.88
             Disposition
May 2019     Asset                   05/17/19 AEP             390 teleconference with K. Duff and M. Rachlis regarding credit bids (.7).                                 0.7    0.008046       $3.14
             Disposition
May 2019     Asset                   05/17/19 JR              140 exchange correspondence with management company regarding same (.2)                                    0.2 0.0029851         $0.42
             Disposition
May 2019     Asset                   05/17/19 JR              140 Update water account spreadsheet and provide to management companies for set up of                     2.6    0.038806       $5.43
             Disposition                                          online water payment and management (2.6)
May 2019     Asset                   05/20/19 JR              140 exchange correspondence with N. Mirjanich regarding water account balance spreadsheet                  0.3 0.0044776         $0.63
             Disposition                                          (.3)
May 2019     Asset                   05/30/19 MR              390 Prepare for and participate in call with lender group (1.0)                                            1.0 0.0114943         $4.48
             Disposition
May 2019     Asset                   05/30/19 MR              390 draft and circulate response regarding same (1.3)                                                      1.3 0.0149425         $5.83
             Disposition


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2019     Asset                   05/30/19 MR              390 review drafts from lender on credit bids (.4)                                                         0.4 0.0045977         $1.79
             Disposition
May 2019     Asset                   05/30/19 MR              390 and conferences regarding same (.2).                                                                  0.2 0.0022989         $0.90
             Disposition
May 2019     Asset                   05/31/19 NM              260 correspond with K. Duff regarding credit bid correspondence with lenders and study same               0.2 0.0023256         $0.60
             Disposition                                          (.2).
May 2019     Business                05/02/19 JR              140 Review 2017 real estate taxes and confirm all delinquent taxes were submitted to avoid a tax          2.3 0.0214953         $3.01
             Operations                                           sale (2.3)
May 2019     Business                05/02/19 JR              140 telephone conference with the Cook County Treasurer's office regarding same (.8)                      0.8 0.0074766         $1.05
             Operations
May 2019     Business                05/03/19 ED              390 Review materials regarding renewals of liability and umbrella coverages (.4)                          0.4 0.0038835         $1.51
             Operations
May 2019     Business                05/03/19 ED              390 review information regarding March expenditures by Receivership (.3)                                  0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/03/19 ED              390 call with insurance broker regarding application information (.1)                                     0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff (.1)                                                                              0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 confer with K. Duff regarding same (.1)                                                               0.1 0.0015385         $0.60
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence with property manager (.5)                                                       0.5 0.0076923         $3.00
             Operations
May 2019     Business                05/03/19 ED              390 and K. Pritchard (.1) regarding signing application documents and sending to broker                   0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/03/19 ED              390 email correspondence to accountant regarding same (.1).                                               0.1 0.0011364         $0.44
             Operations
May 2019     Business                05/03/19 KMP             140 Compile documents for general liability and umbrella insurance policy renewals and                    0.2 0.0019417         $0.27
             Operations                                           conferences with K. Duff and E. Duff regarding same (.2)
May 2019     Business                05/03/19 KMP             140 forward executed policy documents to broker (.1).                                                     0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/03/19 NM              260 correspond with E. Duff regarding code violation and property tax documents needed for                0.2 0.0022989         $0.60
             Operations                                           reporting and send same (.2).
May 2019     Business                05/06/19 KMP             140 communication with insurance broker providing confirmation of payment (.1).                           0.1 0.0009709         $0.14
             Operations
May 2019     Business                05/06/19 KMP             140 Prepare wire transfer request form for down payment on general liability and umbrella                 0.4 0.0038835         $0.54
             Operations                                           insurance renewal, and communications with K. Duff and bank representative regarding
                                                                  same (.4)
May 2019     Business                05/07/19 ED              390 confer with K. Duff and M. Rachlis regarding production of accounting reports (.2).                   0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/07/19 KMP             140 Study communication from insurance broker providing notice of first installment on                    0.1 0.0009709         $0.14
             Operations                                           premium finance agreement.
May 2019     Business                05/08/19 ED              390 email correspondence with property manager to request additional documentation for same               0.3 0.0034091         $1.33
             Operations                                           (.3)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/08/19 ED          390 review and prepare comments and questions on draft reports (2.0)                                       2.0 0.0227273         $8.86
             Operations
May 2019     Business                05/08/19 ED          390 email correspondence with K. Pritchard and J. Rak to identify relevant receivership                    0.2 0.0022727         $0.89
             Operations                                       expenditures by property (.2)
May 2019     Business                05/08/19 ED          390 Call with accountant to discuss comments and questions regarding accounting reports (.3)               0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/08/19 ED          390 check completeness of financial reporting files from property managers and make notes for              0.9 0.0102273         $3.99
             Operations                                       follow up questions (.9)
May 2019     Business                05/08/19 ED          390 and review of related documentation (.6)                                                               0.6 0.0068182         $2.66
             Operations
May 2019     Business                05/08/19 ED          390 organize list of follow up items relating to same (.3).                                                0.3 0.0034091         $1.33
             Operations
May 2019     Business                05/09/19 ED          390 email correspondence with accountant regarding additional information requested for                    0.8 0.0090909         $3.55
             Operations                                       reports and comments and questions regarding contents (.8)
May 2019     Business                05/09/19 ED          390 and confer with K. Duff regarding same (.2)                                                            0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/09/19 ED          390 call with accountant regarding accounting reports planning (.2)                                        0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/09/19 ED          390 review draft reports (3.9)                                                                             3.9 0.0443182        $17.28
             Operations
May 2019     Business                05/09/19 NM          260 Study and exchange correspondence relating to credit bid and expenses from property                    0.2 0.0019608         $0.51
             Operations                                       manager (.2)
May 2019     Business                05/13/19 ED          390 and discussion with asset manager regarding same (.4)                                                  0.4 0.0045455         $1.77
             Operations
May 2019     Business                05/13/19 ED          390 email correspondence with asset manager regarding accounting reports (.2).                             0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/13/19 ED          390 Analysis of reporting format, content, and calculations of rents to be restored to properties          0.5 0.0056818         $2.22
             Operations                                       (.5)
May 2019     Business                05/13/19 ED          390 call with accountant regarding content of reports (.2)                                                 0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/13/19 ED          390 review financial reporting relating to preparation of accounting reports (2.5)                         2.5 0.0284091        $11.08
             Operations
May 2019     Business                05/13/19 ED          390 review and revise draft reports (.4)                                                                   0.4 0.0045455         $1.77
             Operations
May 2019     Business                05/15/19 ED          390 Review April financial reporting (1.3)                                                                 1.3 0.0126214         $4.92
             Operations
May 2019     Business                05/15/19 ED          390 and telephone conversations with accountant regarding accounting reports (.2)                          0.2 0.0022727         $0.89
             Operations
May 2019     Business                05/15/19 ED          390 email correspondence (.4)                                                                              0.4 0.0045455         $1.77
             Operations
May 2019     Business                05/15/19 ED          390 and review of related documents (.7)                                                                   0.7 0.0079545         $3.10
             Operations




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  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
May 2019     Business                05/16/19 ED          390 review documents regarding application of receivership payments to property manager by               2.2       0.025        $9.75
             Operations                                       property (2.2)
May 2019     Business                05/16/19 ED          390 Review April financial reporting information (1.0)                                                   1.0 0.0097087          $3.79
             Operations
May 2019     Business                05/16/19 ED          390 call with accountant regarding process and timing for preparation of revised draft reports           0.1 0.0011364          $0.44
             Operations                                       (.1)
May 2019     Business                05/16/19 ED          390 review revised accounting reports from accountant (.5).                                              0.5 0.0056818          $2.22
             Operations
May 2019     Business                05/16/19 ED          390 calls and email correspondence with property manager regarding same (.6)                             0.6 0.0068182          $2.66
             Operations
May 2019     Business                05/17/19 ED          390 review and revise draft reports received (4.4)                                                       4.4         0.05      $19.50
             Operations
May 2019     Business                05/17/19 ED          390 calls with accountant regarding reports (.3)                                                         0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 dentify additional financial information needed for accounting reports and forward to                0.5 0.0056818          $2.22
             Operations                                       accountants (.5)
May 2019     Business                05/17/19 ED          390 review financial records regarding payments and distributions relating to properties (.8)            0.8 0.0090909          $3.55
             Operations
May 2019     Business                05/17/19 ED          390 email correspondence with accountants regarding next steps and timetable for production of           0.3 0.0034091          $1.33
             Operations                                       accounting reports (.3)
May 2019     Business                05/17/19 ED          390 confer with K. Duff regarding calculations in reports (.3)                                           0.3 0.0034091          $1.33
             Operations
May 2019     Business                05/17/19 ED          390 review and analysis of financial reporting in connection with review and revision of                 0.9 0.0102273          $3.99
             Operations                                       accounting reports (.9)
May 2019     Business                05/18/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     4.6 0.0522727         $20.39
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/19/19 ED          390 Review and revise numerous draft accounting reports, and email correspondence to                     6.4 0.0727273         $28.36
             Operations                                       accountant with comments and revisions to same.
May 2019     Business                05/20/19 ED          390 Review revised draft reports, financial reporting information, and related discussions with         10.8 0.1227273         $47.86
             Operations                                       accountants M. Rachlis, and N. Mirjanich, and send further revisions to accountant.

May 2019     Business                05/20/19 MR          390 Attention to various issues relating to a significant number of and review and revision of           6.7 0.0761364         $29.69
             Operations                                       accounting reports and several conferences regarding same, and conferences with E. Duff
                                                              and N. Mirjanich regarding same.
May 2019     Business                05/20/19 NM          260 correspond with E. Duff regarding status of reporting information (.1)                               0.1 0.0011364          $0.30
             Operations
May 2019     Business                05/20/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (4.0).                                  4.0 0.0454545         $11.82
             Operations
May 2019     Business                05/21/19 ED          390 and work on same with K. Duff (.2)                                                                   0.2 0.0022727          $0.89
             Operations
May 2019     Business                05/21/19 ED          390 draft summary of report contents to send to report recipients (4.1)                                  4.1 0.0465909         $18.17
             Operations




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2019     Business                05/21/19 ED          390 Review numerous revised draft reports, related financial information, and several discussions          7.6 0.0863636        $33.68
             Operations                                       with accountants, M. Rachlis, and N. Mirjanich (7.6)
May 2019     Business                05/21/19 KMP         140 Compile numerous spreadsheets relating to Receiver's accounting of property expenses and               0.5 0.0056818         $0.80
             Operations                                       conferences with E. Duff regarding same.
May 2019     Business                05/21/19 NM          260 Work through reporting questions with E. Duff, M. Rachlis, and accountant (.8)                         0.8 0.0090909         $2.36
             Operations
May 2019     Business                05/21/19 NM          260 assist M. Rachlis and E. Duff in preparing financial reports (7.2)                                     7.2 0.0818182        $21.27
             Operations
May 2019     Business                05/22/19 ED          390 revise draft communication explaining content of reports (2.8)                                         2.8 0.0318182        $12.41
             Operations
May 2019     Business                05/22/19 ED          390 prepare and send email correspondence to lenders' counsel transmitting 89 accounting                   3.4 0.0386364        $15.07
             Operations                                       reports (3.4).
May 2019     Business                05/22/19 ED          390 final review of accounting reports (2.4)                                                               2.4 0.0272727        $10.64
             Operations
May 2019     Business                05/22/19 KMP         140 Work with numerous spreadsheets relating to Receiver's accounting of property expenses,                0.6 0.0067416         $0.94
             Operations                                       and conferences with E. Duff regarding same.
May 2019     Business                05/22/19 NM          260 work with E. Duff on financial reports (.8).                                                           0.8 0.0090909         $2.36
             Operations
May 2019     Business                05/24/19 MR          390 Attention to communications regarding property managers (.3)                                           0.3 0.0029126         $1.14
             Operations
May 2019     Business                05/24/19 MR          390 and to property insurance (.1).                                                                        0.1 0.0009709         $0.38
             Operations
May 2019     Business                05/29/19 ED          390 Call with K. Duff regarding property manager accounting issue.                                         0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/29/19 KMP         140 Prepare wire request relating to transfer of funds to insurance broker for payment regarding           0.4 0.0038835         $0.54
             Operations                                       property insurance, and communications with K. Duff, and bank representative regarding
                                                              same (.4)
May 2019     Business                05/29/19 KMP         140 follow up communications with insurance broker regarding executed contract and payment                 0.2 0.0019417         $0.27
             Operations                                       notices for premium financing agreement for liability, umbrella, and property insurance (.2).

May 2019     Business                05/30/19 ED          390 send copies of Receiver's accounting reports and related information to asset manager (.4)             0.4 0.0045977         $1.79
             Operations
May 2019     Business                05/30/19 ED          390 call with asset manager regarding same (.2)                                                            0.2 0.0022989         $0.90
             Operations
May 2019     Business                05/30/19 ED          390 Email correspondence to property manager regarding accounting procedures (.5)                          0.5 0.0057471         $2.24
             Operations
May 2019     Business                05/30/19 ED          390 and forward April financial reporting documents and other material for use in preparation of           0.9 0.0103448         $4.03
             Operations                                       accounting reports (.9)
May 2019     Business                05/30/19 ED          390 and property manager (.8)                                                                              0.8 0.0091954         $3.59
             Operations
May 2019     Business                05/30/19 ED          390 email correspondence with accountant regarding process and timing for generation of April              0.5 0.0057471         $2.24
             Operations                                       accounting reports (.5)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
May 2019     Business                05/30/19 ED          390 review reporting and related information for inclusion on April accounting reports (1.0).                1.0 0.0114943         $4.48
             Operations
May 2019     Business                05/30/19 KMP         140 communications with K. Duff, A. Watychowicz, J. Rak and accountant regarding state                       0.4 0.0266667         $3.73
             Operations                                       agency's notice on filing of annual report for certain entities, and review entity documents to
                                                              verify ownership of properties (.4).
May 2019     Business                05/30/19 KMP         140 attention to communication from premium finance company regarding confirmation of                        0.1 0.0009709         $0.14
             Operations                                       agreement and payment notice for property insurance, and conference with K. Duff
                                                              regarding same (.1)
May 2019     Business                05/31/19 ED          390 email correspondence with property manager and accountant regarding additional detail                    0.2 0.0022989         $0.90
             Operations                                       required for April accounting reports (.2)
May 2019     Claims                  05/01/19 ED          390 confer with K. Duff regarding content and process for delivery of accounting reports (.6)                0.6 0.0068966         $2.69
             Administration
             & Objections

May 2019     Claims                  05/01/19 ED          390 Review and analysis of reporting information from property managers for inclusion in                     5.6 0.0643678        $25.10
             Administration                                   accounting reports (5.6)
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with A. Porter and K. Duff regarding property manager information and accounting                    0.4 0.0045977         $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/01/19 ED          390 call with K. Duff and asset manager regarding same (.2).                                                 0.2 0.0022989         $0.90
             Administration
             & Objections

May 2019     Claims                  05/03/19 ED          390 email correspondence with accountant regarding comments and questions relating to draft                  0.4 0.0045977         $1.79
             Administration                                   reports (.4)
             & Objections

May 2019     Claims                  05/03/19 ED          390 Review and analysis of numerous drafts of accounting reports and related financial reporting             5.0 0.0574713        $22.41
             Administration                                   documents (5.0)
             & Objections

May 2019     Claims                  05/03/19 ED          390 email correspondence with property managers regarding financial information to include in                0.4 0.0045977         $1.79
             Administration                                   accounting reports (.4).
             & Objections

May 2019     Claims                  05/10/19 ED          390 Email correspondence with accountant (.8)                                                                0.8 0.0091954         $3.59
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2019     Claims                  05/10/19 ED          390 property manager (.4) regarding content for accounting reports.                                       0.4 0.0045977         $1.79
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 preparation for same (.6)                                                                             0.6 0.0068182         $2.66
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 meeting with K. Duff and M. Rachlis to discuss reporting financial information (.9)                   0.9 0.0102273         $3.99
             Administration
             & Objections

May 2019     Claims                  05/15/19 ED          390 draft description of contents of accounting reports (1.1).                                            1.1 0.0126437         $4.93
             Administration
             & Objections

June 2019    Asset                   06/01/19 KBD         390 Study updated portfolio summary of properties for sale and to be sold.                                0.3       0.003       $1.17
             Disposition
June 2019    Asset                   06/03/19 KBD         390 telephone conferences with real estate broker regarding property sales procedures and                 0.2       0.002       $0.78
             Disposition                                      timing (.2)
June 2019    Asset                   06/03/19 KBD         390 study and revise agreed motion to extend schedule relating to credit bid procedures play and          0.4 0.0045977         $1.79
             Disposition                                      exchange various correspondence relating to same (.4)
June 2019    Asset                   06/03/19 KBD         390 telephone conference with A. Porter regarding credit bid procedures and communications                0.1 0.0011494         $0.45
             Disposition                                      with lenders counsel (.1)
June 2019    Asset                   06/05/19 KBD         390 office conference with J. Rak and exchange correspondence with A. Porter regarding single             0.2 0.0054054         $2.11
             Disposition                                      family home portfolio motion to approve listing for sale (.2)
June 2019    Asset                   06/05/19 KBD         390 Analysis of credit bid procedures and draft correspondence to M. Rachlis and A. Porter                0.6 0.0068966         $2.69
             Disposition                                      regarding same (.6)
June 2019    Asset                   06/06/19 KBD         390 Exchange correspondence with M. Rachlis regarding sales procedures and credit bid process.            0.3 0.0034483         $1.34
             Disposition
June 2019    Asset                   06/07/19 KBD         390 study and revise correspondence to lenders' counsel regarding revised credit bid procedures           0.6 0.0068966         $2.69
             Disposition                                      and study revised credit bid procedures (.6)
June 2019    Asset                   06/07/19 KBD         390 work on issues with respect to credit bid procedures with M. Rachlis (.4)                             0.4 0.0045977         $1.79
             Disposition
June 2019    Asset                   06/09/19 KBD         390 Draft correspondence to A. Porter regarding sale of properties and broker commission.                 0.2       0.006       $2.34
             Disposition
June 2019    Asset                   06/12/19 KBD         390 Study credit bid procedures and exchange various correspondence and work on same with                 0.7    0.008046       $3.14
             Disposition                                      M. Rachlis.
June 2019    Asset                   06/15/19 KBD         390 Study property marketing status report.                                                               0.2 0.0019802         $0.77
             Disposition
June 2019    Asset                   06/21/19 KBD         390 study revised portfolio analysis and conferences regarding same (.5)                                  0.5       0.005       $1.95
             Disposition




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  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2019    Business                06/03/19 KBD         390 analysis and evaluate receivership expenses (.3).                                                    0.3       0.003       $1.17
             Operations
June 2019    Business                06/04/19 KBD         390 work with E. Duff and property manager regarding accounts and accounting for properties              0.5 0.0057471         $2.24
             Operations                                       (.5)
June 2019    Business                06/05/19 KBD         390 study correspondence from lenders counsel and M. Rachlis regarding schedule for procedure            0.1 0.0011494         $0.45
             Operations                                       relating to credit bid issue (.1)
June 2019    Business                06/05/19 KBD         390 Confer with J. Rak regarding forms for change of taxpayer information (.1)                           0.1 0.0009346         $0.36
             Operations
June 2019    Business                06/07/19 KBD         390 telephone conference and exchange correspondence with bank representative regarding                  0.2 0.0019608         $0.76
             Operations                                       transfer of funds (.2)
June 2019    Business                06/07/19 KBD         390 and discuss same with E. Duff (.1)                                                                   0.1 0.0009709         $0.38
             Operations
June 2019    Business                06/07/19 KBD         390 Study correspondence and documentation from insurance representative regarding policy                0.4 0.0038835         $1.51
             Operations                                       renewal (.4)
June 2019    Business                06/12/19 KBD         390 study property manager financial reporting (.4)                                                      0.4     0.00625       $2.44
             Operations
June 2019    Business                06/13/19 KBD         390 review information relating to insurance premium allocation (.2)                                     0.2 0.0019608         $0.76
             Operations
June 2019    Business                06/14/19 KBD         390 study property manager financial reporting (.3).                                                     0.3 0.0046875         $1.83
             Operations
June 2019    Business                06/18/19 KBD         390 Evaluate financial reports based on property manager reporting with E. Duff (.4)                     0.4 0.0045977         $1.79
             Operations
June 2019    Business                06/19/19 KBD         390 study property expense management and exchange correspondence with E. Duff regarding                 0.4 0.0045977         $1.79
             Operations                                       same (.4).
June 2019    Business                06/20/19 KBD         390 Study information regarding outstanding real estate taxes and exchange correspondence                0.4 0.0037383         $1.46
             Operations                                       with J. Rak regarding same (.4)
June 2019    Business                06/26/19 KBD         390 study correspondence from insurance broker regarding premium allocation and related                  0.2 0.0019608         $0.76
             Operations                                       correspondence (.2)
June 2019    Business                06/28/19 KBD         390 exchange correspondence with A. Porter regarding research on property disposition issue              0.3 0.0033333         $1.30
             Operations                                       (.3).
June 2019    Claims                  06/10/19 KBD         390 study correspondence from and confer with M. Rachlis regarding communications with                   0.3 0.0034483         $1.34
             Administration                                   lender's counsel regarding credit bid procedures (.3)
             & Objections

June 2019    Claims                  06/10/19 KBD         390 Address property manager financial reporting and reconciling accounting reports and study            0.6 0.0068966         $2.69
             Administration                                   various documents and correspondence regarding same (.6)
             & Objections

June 2019    Claims                  06/10/19 KBD         390 work on credit bid procedures with M. Rachlis and E. Duff and review communication from              0.3 0.0034483         $1.34
             Administration                                   lender's counsel regarding request to expedite determination of right to payment before bar
             & Objections                                     date (.3)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2019    Claims                  06/11/19 KBD             390 exchange correspondence with M. Rachlis regarding credit bid procedures and work on                    0.7    0.008046       $3.14
             Administration                                       revised procedures and communications with lenders counsel (.7).
             & Objections

June 2019    Claims                  06/14/19 KBD             390 study, draft, and revise credit bid procedures (.3).                                                   0.3 0.0034483         $1.34
             Administration
             & Objections

June 2019    Claims                  06/17/19 KBD             390 study lenders motion to amend court order and exchange correspondence regarding same                   0.6 0.0098361         $3.84
             Administration                                       (.6).
             & Objections

June 2019    Claims                  06/17/19 KBD             390 study correspondence from lenders counsel regarding credit bid procedures (.2)                         0.2 0.0022989         $0.90
             Administration
             & Objections

June 2019    Claims                  06/21/19 KBD             390 exchange correspondence with N. Mirjanich regarding lender inquiries on claims (.3)                    0.3 0.0033708         $1.31
             Administration
             & Objections

June 2019    Claims                  06/23/19 KBD             390 Study and revise responses to lender inquiries as to claims process.                                   0.4 0.0044944         $1.75
             Administration
             & Objections

June 2019    Claims                  06/28/19 KBD             390 exchange correspondence with M. Rachlis regarding lender proposed terms relating credit                0.2 0.0022989         $0.90
             Administration                                       bid procedures (.2)
             & Objections

June 2019    Claims                  06/30/19 KBD             390 legal research regarding credit bid issue (1.5).                                                       1.5 0.0172414         $6.72
             Administration
             & Objections

June 2019    Asset                   06/03/19 JR              140 Confirm all PIN's in the EquityBuild portfolio and outstanding taxes (3.7)                             3.7 0.0345794         $4.84
             Disposition
June 2019    Asset                   06/03/19 JR              140 complete real estate tax change of address applications for same (1.2)                                 1.2    0.011215       $1.57
             Disposition
June 2019    Asset                   06/04/19 AEP             390 research public records and finalize list of legal descriptions, PIN's, and owners of single-          0.7 0.0189189         $7.38
             Disposition                                          family properties (.7)
June 2019    Asset                   06/04/19 AEP             390 prepare final revisions to proposed bidding procedures (.7)                                            0.7 0.0078652         $3.07
             Disposition
June 2019    Asset                   06/04/19 JR              140 complete real estate change of address applications for the additional PINS (1.3)                      1.3 0.0121495         $1.70
             Disposition




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
June 2019    Asset                   06/05/19 JR              140 review application for change of taxpayer address for all properties (.8)                               0.8 0.0074766         $1.05
             Disposition
June 2019    Asset                   06/05/19 JR              140 update EquityBuild portfolio and tax balance spreadsheet with additionally found PIN's for all          0.6 0.0056075         $0.79
             Disposition                                          properties (.6).
June 2019    Asset                   06/06/19 AEP             390 Meeting with J. Rak to continue preparing for second and fifth rounds of sales and                      3.7 0.0660714        $25.77
             Disposition                                          marketing, including teleconference with title company underwriter regarding EquityBuild
                                                                  specific title exceptions, preparation of additional legal descriptions, preparation of motion
                                                                  to approve sales process for single-family homes tranche, double-checking of unit counts and
                                                                  PIN's for all single-family home properties, teleconference with surveyor regarding types of
                                                                  surveys to be prepared for single-family homes, creation of additional property-specific to-do
                                                                  lists and closing documents, and numerous other transaction preparation tasks.

June 2019    Asset                   06/06/19 JR              140 update records regarding outstanding real estate taxes (2.6).                                           2.6 0.0242991         $3.40
             Disposition
June 2019    Asset                   06/08/19 AEP             390 begin creating outline of information to be included in future motions to approve sales (.6)            0.6 0.0058824         $2.29
             Disposition
June 2019    Asset                   06/09/19 AEP             390 prepare e-mail to team regarding property sales and single-family home portfolio tranche                0.2 0.0054054         $2.11
             Disposition                                          (.2).
June 2019    Asset                   06/09/19 AEP             390 respond to K. Duff and M. Rachlis e-mails regarding lender disputes (.4)                                0.4 0.0044944         $1.75
             Disposition
June 2019    Asset                   06/09/19 AEP             390 Finish reading all pleadings relating to disputes over credit bidding procedure and all drafts          2.1 0.0241379         $9.41
             Disposition                                          of proposed credit bidding procedures (2.1)
June 2019    Asset                   06/10/19 AEP             390 Teleconference with real estate broker regarding overview of marketing process for single-              0.2 0.0054054         $2.11
             Disposition                                          family home portfolio and effect of potential credit bidding issues.
June 2019    Asset                   06/10/19 JR              140 Complete change of tax payer name applications online.                                                  4.5 0.0420561         $5.89
             Disposition
June 2019    Asset                   06/11/19 AEP             390 Extensive review of public records for each property owned by EB South Chicago 1, as well as            6.2 0.1675676        $65.35
             Disposition                                          all available documents in files of former EquityBuild counsel relating to the acquisition and
                                                                  financing of said properties, and begin preparation of exhibit to motion to approve sales
                                                                  process for single-family home portfolio providing all property-specific information relevant
                                                                  to consideration of motion.
June 2019    Asset                   06/12/19 AEP             390 continue reviewing public records, loan documents, and other materials in EquityBuild files             3.3 0.0891892        $34.78
             Disposition                                          and preparing motion to approve sales process for single-family home portfolio and
                                                                  supporting exhibit (3.3).
June 2019    Asset                   06/12/19 AEP             390 Study latest correspondence from objecting lender and proposed revised credit bidding                   0.2 0.0022989         $0.90
             Disposition                                          procedures and provide comments to team regarding same (.2)
June 2019    Asset                   06/13/19 AEP             390 Continue reviewing public records, loan documents, and other materials and preparing                    3.1 0.0837838        $32.68
             Disposition                                          motion to approve sales process for single-family home portfolio and supporting exhibit.

June 2019    Asset                   06/14/19 MR              390 conferences with K. Duff regarding same (.9).                                                           0.9 0.0103448         $4.03
             Disposition
June 2019    Asset                   06/17/19 NM              260 study motion to amend the 5/2/19 order filed by the lenders (.2).                                       0.2 0.0023256         $0.60
             Disposition


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2019    Asset                   06/18/19 JR              140 Updated real estate taxes relating to the 2nd installment (1.8)                                        1.8 0.0168224         $2.36
             Disposition
June 2019    Asset                   06/19/19 JR              140 exchange correspondence with A. Porter regarding payment of all 2017 delinquent taxes for              0.1 0.0009346         $0.13
             Disposition                                          all properties (.1).
June 2019    Asset                   06/20/19 JR              140 forward updated real estate tax balances for 2018 for 1st and 2nd installment to K. Duff (.1)          0.1 0.0009346         $0.13
             Disposition
June 2019    Asset                   06/24/19 JR              140 exchange correspondence with E. Duff regarding property insurance premiums and cross                   0.3       0.003       $0.42
             Disposition                                          referencing all properties (.3)
June 2019    Asset                   06/25/19 JR              140 review insurance premium spreadsheet to cross-reference all properties (2.6)                           2.6       0.026       $3.64
             Disposition
June 2019    Asset                   06/26/19 AEP             390 Meeting with J. Rak to collect information for completion of exhibit to motion to approve              1.5 0.0405405        $15.81
             Disposition                                          sales process for single-family home portfolio, inventory state of title and survey work,
                                                                  discuss amendments to portfolio spreadsheet, and otherwise continue organization of next
                                                                  round of motion practice and closings.
June 2019    Asset                   06/26/19 JR              140 review Cook County Treasurer's website address and name change for properties to reflect               0.9 0.0083333         $1.17
             Disposition                                          the receiver's information (.9)
June 2019    Asset                   06/26/19 JR              140 exchange correspondence with city representative regarding same (.1)                                   0.1       0.001       $0.14
             Disposition
June 2019    Asset                   06/27/19 AEP             390 legal research and analysis regarding sale issue (2.5).                                                2.5 0.0277778        $10.83
             Disposition
June 2019    Asset                   06/27/19 JR              140 confirm Cook County Treasurer's site for updated addresses to the tax bills for all other              1.8 0.0166667         $2.33
             Disposition                                          receivership properties (1.8).
June 2019    Asset                   06/30/19 AEP             390 Study, edit, and revise second section of motion to approve single-family home portfolio               1.8 0.0486486        $18.97
             Disposition                                          consistent with results of final title reviews of all properties owned by EB South Chicago
                                                                  entities.
June 2019    Business                06/01/19 KMP             140 Communications with A. Porter and accountant regarding status of certain entities in                   0.2 0.0133333         $1.87
             Operations                                           connection with state agency's notice on filing of annual report.
June 2019    Business                06/03/19 ED              390 call with accountant to discuss preparation of April accounting reports (.1)                           0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/03/19 NM              260 draft motion for continuance of hearing on objections to 5/2/19 order and status conference            2.4 0.0275862         $7.17
             Operations                                           and correspond with M. Rachlis, K. Duff, A. Watychowicz, and lenders counsel regarding
                                                                  same (2.4)
June 2019    Business                06/04/19 ED              390 Review May Receivership account receipts and disbursements (.5)                                        0.5 0.0057471         $2.24
             Operations
June 2019    Business                06/07/19 ED              390 telephone call with insurance agent regarding the foregoing (.1)                                       0.1       0.001       $0.39
             Operations
June 2019    Business                06/07/19 ED              390 Review policy documents relating to insurance renewals (.9)                                            0.9 0.0087379         $3.41
             Operations
June 2019    Business                06/07/19 ED              390 review correspondence and documents regarding pending claims (.4)                                      0.4       0.004       $1.56
             Operations
June 2019    Business                06/07/19 ED              390 review and analysis of documents and email correspondence to organize list of items for                2.7       0.027      $10.53
             Operations                                           current and periodic follow up with property managers, insurance broker, and Receiver (2.7).




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
June 2019    Business                06/07/19 KMP         140 communications with K. Duff and insurance broker regarding binding documents for                    0.2 0.0019417         $0.27
             Operations                                       property insurance renewal and forward executed documentation relating to same (.2)

June 2019    Business                06/07/19 KMP         140 Prepare form for wire transfer to finance company for installment payment on general                0.4 0.0038835         $0.54
             Operations                                       liability and umbrella insurance, and communications with K. Duff and bank representatives
                                                              regarding same (.4)
June 2019    Business                06/10/19 ED          390 confer with K. Duff regarding same (.3).                                                            0.3 0.0034483         $1.34
             Operations
June 2019    Business                06/10/19 ED          390 Review and analysis of correspondence and documentation from property manager                       4.7    0.054023      $21.07
             Operations                                       regarding allocation of funds (4.7)
June 2019    Business                06/10/19 ED          390 calls with property manager requesting additional information and clarification (.5)                0.5 0.0057471         $2.24
             Operations
June 2019    Business                06/11/19 ED          390 Call with insurance broker regarding pending claims and insurance renewal information (.2)          0.2       0.002       $0.78
             Operations
June 2019    Business                06/11/19 NM          260 correspond with E. Duff regarding financial reporting and property managers use of funds            0.6 0.0068966         $1.79
             Operations                                       and payment of expenses from same and from Receiver's account (.6).
June 2019    Business                06/13/19 ED          390 confer with M. Rachlis (.2)                                                                         0.2 0.0022989         $0.90
             Operations
June 2019    Business                06/13/19 ED          390 review information from property manager regarding application of funds from Receivership           1.0 0.0114943         $4.48
             Operations                                       to property accounts (1.0)
June 2019    Business                06/13/19 ED          390 email correspondence with property manager (.9) regarding same.                                     0.9 0.0103448         $4.03
             Operations
June 2019    Business                06/13/19 KMP         140 attention to receipt of invoice for insurance premium finance agreement and scheduling              0.1 0.0009709         $0.14
             Operations                                       payment for same (.1).
June 2019    Business                06/14/19 ED          390 email correspondence with insurance broker regarding allocation of premium expense by               0.2 0.0022989         $0.90
             Operations                                       property, refunds relating to sold properties, claims history and status (.2)

June 2019    Business                06/14/19 ED          390 email correspondence with property manager regarding same (.1)                                      0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/14/19 ED          390 Call with accountant regarding reporting of receiver's contributions to properties (.2)             0.2 0.0022989         $0.90
             Operations
June 2019    Business                06/17/19 MR          390 attention to accountant related issues (.1)                                                         0.1 0.0011494         $0.45
             Operations
June 2019    Business                06/17/19 MR          390 and conferences regarding same (.3).                                                                0.3 0.0034483         $1.34
             Operations
June 2019    Business                06/18/19 ED          390 review of draft accounting reports for period ended April 30, 2019 (4.3)                            4.3 0.0494253        $19.28
             Operations
June 2019    Business                06/18/19 ED          390 Review email correspondence from insurance broker regarding information required to                 0.3 0.0034483         $1.34
             Operations                                       respond to letters received from lender (.3)
June 2019    Business                06/18/19 ED          390 accountant (.4)                                                                                     0.4 0.0045977         $1.79
             Operations
June 2019    Business                06/18/19 ED          390 email correspondence with property manager (.7)                                                     0.7    0.008046       $3.14
             Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2019    Business                06/18/19 ED              390 to confirm information to be included in responses to questions from lender's counsel                  0.2 0.0022989         $0.90
             Operations                                           regarding content of accounting reports and revise drafts of responses to counsel (.2).

June 2019    Business                06/18/19 ED              390 and insurance broker (.8)                                                                              0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/19/19 ED              390 Email correspondence and call with K. Duff to discuss payments due for utilities and property          0.3 0.0034483         $1.34
             Operations                                           manager expenses, calls with accountant to discuss content of accounting reports (.3).

June 2019    Business                06/20/19 ED              390 begin review of additional accounting reports drafts from accountant (.8).                             0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/20/19 ED              390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Operations
June 2019    Business                06/20/19 ED              390 calls and email correspondence with accountant regarding information for inclusion in April            1.0 0.0114943         $4.48
             Operations                                           accounting reports (1.0)
June 2019    Business                06/20/19 MR              390 Attention to emails regarding accounting reconciliation.                                               0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/24/19 ED              390 send financial information to accountant for May accounting reports (.6).                              0.6 0.0068966         $2.69
             Operations
June 2019    Business                06/24/19 ED              390 confer with K. Duff and K. Pritchard regarding application of refunds received for insurance           0.1 0.0011494         $0.45
             Operations                                           premiums relating to sold properties (.1)
June 2019    Business                06/26/19 ED              390 email correspondence with accountant regarding process for organizing funding for property             0.2 0.0022989         $0.90
             Operations                                           accounts receivables (.2).
June 2019    Business                06/27/19 ED              390 continue analysis of property expenses (.8).                                                           0.8 0.0091954         $3.59
             Operations
June 2019    Business                06/27/19 SZ              110 email exchange and confer with E. Duff about same (.4).                                                0.4 0.0045977         $0.51
             Operations
June 2019    Business                06/27/19 SZ              110 Prepare and organize profit and loss statements and financial reports (1.5)                            1.5 0.0172414         $1.90
             Operations
June 2019    Claims                  06/04/19 ED              390 and email correspondence with property manager regarding same (.4)                                     0.4 0.0045977         $1.79
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review April Receivership receipts and disbursements for inclusion in accounting reports (.6)          0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED              390 review financial records (.2)                                                                          0.2 0.0022989         $0.90
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
June 2019    Claims                  06/04/19 ED          390 review of related documents (.8).                                                                    0.8 0.0091954         $3.59
             Administration
             & Objections

June 2019    Claims                  06/04/19 ED          390 email correspondence with accountant regarding additional information needed for April               0.6 0.0068966         $2.69
             Administration                                   reporting (.6)
             & Objections

June 2019    Claims                  06/07/19 ED          390 email correspondence lender's counsel regarding March accounting reports (.1).                       0.1 0.0011494         $0.45
             Administration
             & Objections

June 2019    Claims                  06/07/19 ED          390 correspondence with property manager regarding property accounts and allocation of                   0.3 0.0034483         $1.34
             Administration                                   Receivership funds provided for property expenditures (.3)
             & Objections

June 2019    Claims                  06/07/19 ED          390 Review and analysis of correspondence and documents to develop list of follow-up items               1.2 0.0134831         $5.26
             Administration                                   and priorities relating to lenders claims (1.2)
             & Objections

June 2019    Claims                  06/10/19 ED          390 Email correspondence with lenders' counsel regarding queries relating to proof or insurance          0.2 0.0022989         $0.90
             Administration                                   and questions relating to Receiver's accounting reports.
             & Objections

June 2019    Claims                  06/11/19 ED          390 begin review of accounting reports to lenders through April 2019 (.6).                               0.6 0.0068966         $2.69
             Administration
             & Objections

June 2019    Claims                  06/11/19 ED          390 Call and email correspondence with accountant regarding accounting reports for period                0.3 0.0034483         $1.34
             Administration                                   ended April 2019 (.3)
             & Objections

June 2019    Claims                  06/17/19 ED          390 email correspondence with accountant regarding information to be used in completing April            0.2 0.0022989         $0.90
             Administration                                   accounting reports to lenders (.2).
             & Objections

June 2019    Claims                  06/18/19 MR          390 Attention to various issues regarding claims and conferences regarding same.                         0.6 0.0067416         $2.63
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
June 2019    Claims                  06/20/19 ED          390 draft emails to lenders' counsel for transmittal of April accounting reports (2.8)                     2.8 0.0321839        $12.55
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 study orders regarding same and send to M. Rachlis and K. Duff (.3).                                   0.3 0.0033708         $0.88
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 study list of issues sent by counsel for an institutional lender in advance of call and draft          0.6 0.0067416         $1.75
             Administration                                   email to Receiver's team regarding responses to same (.6)
             & Objections

June 2019    Claims                  06/20/19 NM          260 draft response to questions posed by lenders (.7)                                                      0.7 0.0078652         $2.04
             Administration
             & Objections

June 2019    Claims                  06/20/19 NM          260 correspond with E. Duff regarding same (.2)                                                            0.2 0.0022472         $0.58
             Administration
             & Objections

June 2019    Claims                  06/21/19 NM          260 correspond with E. Duff regarding same (.6)                                                            0.6 0.0067416         $1.75
             Administration
             & Objections

June 2019    Claims                  06/21/19 NM          260 exchange correspondence with M. Rachlis and K. Duff regarding responses to claims                      0.8 0.0089888         $2.34
             Administration                                   questions posed by lenders and revise same (.8)
             & Objections

June 2019    Claims                  06/25/19 MR          390 and participate in call regarding various claims issues (.6).                                          0.6 0.0067416         $2.63
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 prepare for (1.2)                                                                                      1.2 0.0134831         $5.26
             Administration
             & Objections

June 2019    Claims                  06/25/19 MR          390 Attention to claims related issues (.7)                                                                0.7 0.0078652         $3.07
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
June 2019    Claims                  06/25/19 NM          260 correspond with E. Duff regarding same (.5).                                                            0.5    0.005618       $1.46
             Administration
             & Objections

July 2019    Asset                   07/03/19 KBD         390 Telephone conference with real estate broker regarding prioritization for sale of remaining             0.2       0.002       $0.78
             Disposition                                      properties and timing (.2)
July 2019    Asset                   07/03/19 KBD         390 telephone conference with A. Porter regarding motion for approval to list for sale single-              0.2 0.0054054         $2.11
             Disposition                                      family home portfolio (.2).
July 2019    Asset                   07/09/19 KBD         390 telephone conference with and draft correspondence to real estate broker regarding same                 0.2       0.002       $0.78
             Disposition                                      and impact on timing for sale of properties and planning (.2)
July 2019    Asset                   07/10/19 KBD         390 confer with A. Porter regarding single family home portfolio, determination of listing prices,          0.3 0.0081081         $3.16
             Disposition                                      and allocation of sales proceeds (.3)
July 2019    Asset                   07/19/19 KBD         390 Study sealed bid instructions and credit bid procedures.                                                0.3 0.0034483         $1.34
             Disposition
July 2019    Asset                   07/23/19 KBD         390 exchange correspondence with A. Porter regarding credit bid procedures and closing costs                0.1 0.0011494         $0.45
             Disposition                                      (.1).
July 2019    Asset                   07/30/19 KBD         390 Study asset manager summary of property portfolio regarding prioritizing sales (.2)                     0.2       0.002       $0.78
             Disposition
July 2019    Asset                   07/31/19 KBD         390 study correspondence regarding plats of survey and properties for sale (.2).                            0.2       0.002       $0.78
             Disposition
July 2019    Business                07/01/19 KBD         390 review allocation of insurance premium (.3)                                                             0.3 0.0029412         $1.15
             Operations
July 2019    Business                07/03/19 KBD         390 exchange correspondence regarding analysis of real estate taxes and coordination with                   0.2       0.002       $0.78
             Operations                                       property manager (.2).
July 2019    Business                07/03/19 KBD         390 study hearing transcript and draft correspondence to M. Rachlis regarding same (.2)                     0.2 0.0032787         $1.28
             Operations
July 2019    Business                07/07/19 KBD         390 Exchange correspondence with M. Rachlis and revise communication to Judge Kim regarding                 0.5 0.0081967         $3.20
             Operations                                       previous discussions before the Court about priority and abandonment.

July 2019    Business                07/10/19 KBD         390 Review real estate tax bills (.2)                                                                       0.2 0.0019608         $0.76
             Operations
July 2019    Business                07/10/19 KBD         390 review outstanding real estate taxes and payment by property managers (.1)                              0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/11/19 KBD         390 study correspondence from E. Duff and insurance broker regarding premium issues (.2)                    0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/12/19 KBD         390 Telephone conference with E. Duff regarding real estate taxes, property manager reporting,              0.2 0.0019608         $0.76
             Operations                                       communications with asset manager regarding property management costs, and
                                                              communications with insurance broker relating to premiums (.2)
July 2019    Business                07/14/19 KBD         390 Evaluation of properties and cash positions in relation to real estate taxes (.1)                       0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/15/19 KBD         390 evaluation of property management financial reporting, cash flow, and real estate taxes with            0.2 0.0022989         $0.90
             Operations                                       E. Duff (.2)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
July 2019    Business                07/15/19 KBD         390 study notices of property reassessments and meet with J. Rak regarding same (.2)                      0.2 0.0018868         $0.74
             Operations
July 2019    Business                07/15/19 KBD         390 study property manager financial reporting (.4)                                                       0.4     0.00625       $2.44
             Operations
July 2019    Business                07/15/19 KBD         390 exchange correspondence and telephone conference with real estate broker regarding same               0.1 0.0009901         $0.39
             Operations                                       and priority of property sales (.1)
July 2019    Business                07/18/19 KBD         390 draft motion to use sales proceeds for rent restoration and exchange correspondence                   2.5 0.0471698        $18.40
             Operations                                       regarding same (2.5)
July 2019    Business                07/22/19 KBD         390 analysis of property expense accounting, financial reports, and rent restoration issues (.8)          0.8 0.0091954         $3.59
             Operations
July 2019    Business                07/22/19 KBD         390 study draft correspondence to lenders counsel regarding property status issues (.2).                  0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/23/19 KBD         390 confer with E. Duff regarding same and communication with lender's counsel (.2)                       0.2 0.0022989         $0.90
             Operations
July 2019    Business                07/24/19 KBD         390 study and revise financial report relating to rent restoration and exchange correspondence            0.5    0.009434       $3.68
             Operations                                       with M. Rachlis regarding same (.5)
July 2019    Business                07/24/19 KBD         390 study and revise motion relating to use of sale proceeds (1.1)                                        1.1 0.0207547         $8.09
             Operations
July 2019    Business                07/25/19 KBD         390 confer with N. Mirjanich regarding filing of motion for use of sale proceeds for rent                 0.2 0.0037736         $1.47
             Operations                                       restoration (.2)
July 2019    Business                07/25/19 KBD         390 telephone conference with bank representative and exchange correspondence regarding                   0.2 0.0019608         $0.76
             Operations                                       payment for insurance (.2)
July 2019    Business                07/27/19 KBD         390 study portfolio summary from real estate broker (.3)                                                  0.3       0.003       $1.17
             Operations
July 2019    Claims                  07/01/19 KBD         390 Prepare for hearing before Judge Kim regarding sale procedures and credit bidding (1.9)               1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                  07/01/19 KBD         390 legal research regarding various issues raised by lenders (.5)                                        0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 Study and revise outline for argument (1.0)                                                           1.0 0.0163934         $6.39
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD         390 exchange correspondence with A. Porter regarding credit bid issue and legal research                  0.3 0.0034483         $1.34
             Administration                                   regarding same (.3).
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2019    Claims                  07/02/19 KBD             390 study and revise draft correspondence to Court regarding prior priority and abandonment               0.3 0.0033708         $1.31
             Administration                                       discussions before the Court (.3)
             & Objections

July 2019    Claims                  07/02/19 KBD             390 prepare for hearing with M. Rachlis (.3)                                                              0.3 0.0033708         $1.31
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD             390 study notes from prior hearings and draft correspondence to M. Rachlis regarding same (.5)            0.5    0.005618       $2.19
             Administration
             & Objections

July 2019    Claims                  07/02/19 KBD             390 further prepare for hearing by studying pleadings, orders, portfolio analysis, cost                   0.6 0.0067416         $2.63
             Administration                                       information, and case law (.6)
             & Objections

July 2019    Claims                  07/22/19 KBD             390 Draft correspondence to M. Rachlis regarding credit bid procedures.                                   0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/23/19 KBD             390 revise motion for use of sales proceeds for rent restoration (.8)                                     0.8 0.0150943         $5.89
             Administration
             & Objections

July 2019    Claims                  07/23/19 KBD             390 draft correspondence to and office conference with E. Duff regarding same (.2).                       0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                  07/30/19 KBD             390 telephone conferences and exchange correspondence with real estate broker regarding                   0.2 0.0018519         $0.72
             Administration                                       lender issue and impact on sales effort (.2)
             & Objections

July 2019    Asset                   07/01/19 AEP             390 conference with K. Duff and M. Rachlis in preparation for 07/02/19 hearing (1.3).                     1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                   07/01/19 AEP             390 research public records to determine assignees of debt held by lenders objecting to 05/02/19          1.6 0.0179775         $7.01
             Disposition                                          order at 07/02/19 hearing and provide information to K. Duff and M. Rachlis in preparation
                                                                  therefore (1.6)
July 2019    Asset                   07/01/19 JR              140 update real estate property taxes including July interest fees for relevant properties (1.4)          1.4 0.0138614         $1.94
             Disposition
July 2019    Asset                   07/02/19 AEP             390 Legal research regarding asset disposition issue.                                                     1.1 0.0123596         $4.82
             Disposition
July 2019    Asset                   07/03/19 AEP             390 Legal research regarding asset disposition issue.                                                     0.5    0.005618       $2.19
             Disposition


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                             Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2019    Asset                   07/03/19 JR              140 exchange correspondence with property managers regarding updates to real estate taxes on                0.1 0.0015873         $0.22
             Disposition                                          all properties for property manager (.1)
July 2019    Asset                   07/03/19 JR              140 update real estate taxes for properties (1.5).                                                          1.5 0.0238095         $3.33
             Disposition
July 2019    Asset                   07/04/19 AEP             390 Continued legal research regarding asset disposition issue.                                             1.3 0.0146067         $5.70
             Disposition
July 2019    Asset                   07/05/19 MR              390 Work on correspondence to court in follow up to hearing and further review of transcripts               1.2 0.0136364         $5.32
             Disposition                                          regarding same.
July 2019    Asset                   07/09/19 AEP             390 teleconference with brokers retained to sell single-family home portfolio regarding valuation           1.4 0.0378378        $14.76
             Disposition                                          methodology and allocation of sales proceeds (1.4)
July 2019    Asset                   07/10/19 JR              140 review tax balance spreadsheet for property manager and make corrections to spreadsheet                 0.5 0.0079365         $1.11
             Disposition                                          and resend (.5)
July 2019    Asset                   07/11/19 JR              140 review all paper real estate tax bills for all properties delivered by mail (1.9)                       1.9       0.019       $2.66
             Disposition
July 2019    Asset                   07/12/19 JR              140 Continue review of paper tax bills (1.8)                                                                1.8       0.018       $2.52
             Disposition
July 2019    Asset                   07/18/19 AEP             390 prepare list of remaining properties to be marketed and sold and transmit same to title                 0.2 0.0020408         $0.80
             Disposition                                          insurer with request to begin preparation of title commitments (.2).
July 2019    Asset                   07/18/19 AW              140 confer with J. Rak regarding providing information regarding properties to potential buyers             0.1 0.0009804         $0.14
             Disposition                                          (.1)
July 2019    Asset                   07/23/19 AEP             390 Conference call with K. Duff, M. Rachlis, and receivership brokers regarding single-family              0.4 0.0108108         $4.22
             Disposition                                          portfolio assets and encumbrances thereon, including EBF affiliate and institutional debt (.4)

July 2019    Asset                   07/23/19 AEP             390 proofread, edit, and revise latest draft of credit bid procedures being disseminated to                 0.2 0.0022989         $0.90
             Disposition                                          institutional lenders (.2).
July 2019    Asset                   07/25/19 JR              140 exchange correspondence with N. Mirjanich relating to updated real estate tax spreadsheet               0.2       0.002       $0.28
             Disposition                                          (.2)
July 2019    Asset                   07/25/19 KMP             140 serve motion and notice by email (.1)                                                                   0.1 0.0016129         $0.23
             Disposition
July 2019    Asset                   07/25/19 KMP             140 conferences with N. Mirjanich regarding same (.2).                                                      0.2 0.0032258         $0.45
             Disposition
July 2019    Asset                   07/25/19 KMP             140 Revise and finalize motion for court approval of use of sale proceeds for rent restoration and          0.5 0.0080645         $1.13
             Disposition                                          notice of motion, and electronically file same (.5)
July 2019    Asset                   07/28/19 AEP             390 prepare exhibit to motion reflecting receivership broker's allocations of individual property           1.0    0.027027      $10.54
             Disposition                                          values (1.0)
July 2019    Asset                   07/28/19 AEP             390 prepare final section of motion regarding sealed bid public sale auction process (.9)                   0.9 0.0088235         $3.44
             Disposition
July 2019    Asset                   07/28/19 AEP             390 prepare remaining exhibits to motion, including proposed order, proposed form of                        0.7 0.0189189         $7.38
             Disposition                                          publication, and proposed terms and conditions of single-family residence sales process (.7)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
July 2019    Asset                   07/28/19 AEP         390 Proofread, edit, and revise latest draft of motion to approve sales process for single-family          3.1 0.0837838        $32.68
             Disposition                                      home portfolio, review notes of teleconference with receivership broker, read white paper
                                                              received from receivership broker explaining online marketing process, and prepare new
                                                              section of motion regarding automated valuation methodology and allocation of estimated
                                                              market values of individual properties (3.1)

July 2019    Asset                   07/29/19 AEP         390 Meeting with N. Mirjanich regarding claims submissions, analyze facts relating to properties           1.3 0.0146067         $5.70
             Disposition                                      potentially unencumbered by EBF-affiliate debt and not made the subject of any claims in
                                                              connection with potential settlement with institutional lender (1.3)

July 2019    Asset                   07/30/19 AEP         390 Prepare e-mail to receivership attorneys and paralegal, receivership brokers, surveyor, and            1.4 0.0137255         $5.35
             Disposition                                      title underwriter explaining timetable associated with preparation of form purchase and sale
                                                              agreements, title commitments, surveys, motions to approve sales procedures, motions to
                                                              approve sales, and other closing-related documentation in connection with all remaining
                                                              tranches (1.4)
July 2019    Business                07/09/19 ED          390 Email correspondence with property managers regarding property balances available for                  0.1       0.001       $0.39
             Operations                                       payment of real estate taxes (.1)
July 2019    Business                07/09/19 ED          390 call with asset manager regarding cash flow analysis (.1)                                              0.1       0.001       $0.39
             Operations
July 2019    Business                07/12/19 ED          390 email correspondence with K. Duff and M. Rachlis regarding payment of real estate taxes                0.2 0.0019608         $0.76
             Operations                                       coming due (.2)
July 2019    Business                07/12/19 ED          390 Call with K Duff to discuss payment of real estate tax installments, property financial                0.2 0.0019608         $0.76
             Operations                                       reporting information, discussions with asset manager regarding cash flow and property
                                                              costs, and information received from insurance broker regarding property coverages (.2)

July 2019    Business                07/14/19 ED          390 and funds available for payment of property tax installments (.6)                                      0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/14/19 ED          390 confer with K. Duff and email to J. Rak regarding same (.1)                                            0.1 0.0009804         $0.38
             Operations
July 2019    Business                07/14/19 ED          390 Review and analysis of reports relating to property cash flow and expenses (1.1)                       1.1 0.0107843         $4.21
             Operations
July 2019    Business                07/15/19 ED          390 Review and analysis of additional material regarding cash flow and property balances (.2)              0.2       0.002       $0.78
             Operations
July 2019    Business                07/15/19 ED          390 analysis of operating balances available to pay property taxes, and email to K. Duff, M.               0.7       0.007       $2.73
             Operations                                       Rachlis and J. Rak regarding same (.7).
July 2019    Business                07/15/19 ED          390 call with asset manager regarding the foregoing (.6)                                                   0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/15/19 NM          260 study correspondence in EquityBuild account to determine if any relate to City violations or           0.2       0.002       $0.52
             Operations                                       property status (.2).
July 2019    Business                07/16/19 NM          260 Correspond with property manager and City attorneys regarding outstanding buildings,                   0.8 0.0080808         $2.10
             Operations                                       water debt, and housing matters and revise spreadsheet to reflect the same and updates to
                                                              the same.




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2019    Business                07/17/19 ED              390 meet with asset manager K. Duff to discuss cash flow analysis (.6)                                       0.6 0.0058824         $2.29
             Operations
July 2019    Business                07/18/19 AW              140 confer with E. Duff regarding preparation of accounting reports for institutional lenders (.1).          0.1 0.0011236         $0.16
             Operations
July 2019    Business                07/18/19 ED              390 confer with J. Rak to request preparation of spreadsheet for analysis of remaining real estate           0.1 0.0030303         $1.18
             Operations                                           taxes due (.1)
July 2019    Business                07/18/19 ED              390 and review and revision of same (.4).                                                                    0.4 0.0121212         $4.73
             Operations
July 2019    Business                07/18/19 MR              390 Work on issues on rent restoration (.6)                                                                  0.6 0.0113208         $4.42
             Operations
July 2019    Business                07/19/19 AW              140 follow up with K. Duff regarding same (.1)                                                               0.1 0.0009804         $0.14
             Operations
July 2019    Business                07/19/19 JR              140 Review email from E. Duff pertaining to lender spreadsheet and the request to update                     0.2 0.0060606         $0.85
             Operations                                           current real estate tax balances (.2)
July 2019    Business                07/19/19 JR              140 update same and send to E. Duff (1.9).                                                                   1.9 0.0575758         $8.06
             Operations
July 2019    Business                07/23/19 ED              390 review of June financial reporting from property managers (.4)                                           0.4       0.004       $1.56
             Operations
July 2019    Business                07/25/19 ED              390 Confer with K. Duff regarding development of internal financial reporting for portfolio (.2)             0.2       0.002       $0.78
             Operations
July 2019    Business                07/25/19 KMP             140 Prepare wire transfer request form for payment of insurance premium financing agreement,                 0.4 0.0039216         $0.55
             Operations                                           and communications with K. Duff and bank representative regarding same.

July 2019    Business                07/25/19 MR              390 Attention to rent restoration motion (.4)                                                                0.4 0.0075472         $2.94
             Operations
July 2019    Business                07/25/19 NM              260 Exchange correspondence with Judge Lee's courtroom for deputy regarding filing motion for                1.0 0.0188679         $4.91
             Operations                                           rents restoration and K. Duff regarding the same and draft email revisions for the same (1.0)

July 2019    Business                07/25/19 NM              260 finalize rents restoration motion and correspond with K. Pritchard regarding filing and                  0.2 0.0037736         $0.98
             Operations                                           serving the same (.2)
July 2019    Business                07/29/19 MR              390 Prepare for upcoming hearing.                                                                            0.4 0.0075472         $2.94
             Operations
July 2019    Business                07/31/19 ED              390 review and analysis of asset manager's updated property summary (.3).                                    0.3 0.0029412         $1.15
             Operations
July 2019    Claims                  07/01/19 ED              390 email to accountant regarding same (.4).                                                                 0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                  07/01/19 ED              390 Review and analyze documents necessary to prepare spreadsheet of May receivership                        1.4    0.016092       $6.28
             Administration                                       expenditures by property for use in preparation of lender accounting reports (1.4)
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                 Task Hours
  Month                                        Keeper                                                                                                                 Hours        Fees
July 2019    Claims                  07/05/19 ED          390 Call with accountant regarding May accounting reports to lenders.                               0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                  07/10/19 ED          390 email correspondence with accountants (.6)                                                      0.6 0.0068966         $2.69
             Administration
             & Objections

July 2019    Claims                  07/10/19 ED          390 insurance broker (.2) regarding information required for preparation of May accounting          0.2 0.0022989         $0.90
             Administration                                   reports to lenders.
             & Objections

July 2019    Claims                  07/11/19 ED          390 Calls and email correspondence with insurance broker (.4)                                       0.4 0.0045977         $1.79
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and accountants (.8) regarding insurance costs by property                                      0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 review and analysis of relevant documents (1.1)                                                 1.1      0.0125       $4.88
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 conference call with the foregoing to discuss same (.5)                                         0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                  07/11/19 ED          390 and email correspondence confirming next steps (.3)                                             0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                  07/12/19 ED          390 Email correspondence with accountant regarding computations of insurance payments               0.2 0.0022989         $0.90
             Administration                                   attributable to properties (.2)
             & Objections

July 2019    Claims                  07/14/19 ED          390 email accountant regarding same (.2)                                                            0.2 0.0022989         $0.90
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2019    Claims                  07/14/19 ED          390 Preliminary review of draft accounting reports to lenders for May 2019 (1.9)                        1.9 0.0218391         $8.52
             Administration
             & Objections

July 2019    Claims                  07/15/19 ED          390 Further review of draft accounting reports (.5)                                                     0.5 0.0057471         $2.24
             Administration
             & Objections

July 2019    Claims                  07/16/19 ED          390 Review drafts of May accounting reports to lenders (4.2)                                            4.2 0.0482759        $18.83
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 Continue review of draft May accounting reports to lenders (3.8)                                    3.8 0.0436782        $17.03
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 email correspondence with accountants regarding same (.1)                                           0.1 0.0011494         $0.45
             Administration
             & Objections

July 2019    Claims                  07/17/19 ED          390 review reporting information regarding mortgaged properties and prepare analysis for reply          1.0 0.0114943         $4.48
             Administration                                   to lender's counsel regarding restoration of rents (1.0).
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with A. Watychowicz regarding finalizing reports to send to lenders and email with           0.3 0.0034483         $1.34
             Administration                                   information and instructions for same (.3)
             & Objections

July 2019    Claims                  07/18/19 ED          390 final review of May accounting reports (.7)                                                         0.7    0.008046       $3.14
             Administration
             & Objections

July 2019    Claims                  07/18/19 ED          390 Preparation of correspondence to lenders' counsel transmitting monthly accounting reports           0.8 0.0091954         $3.59
             Administration                                   (.8)
             & Objections

July 2019    Claims                  07/18/19 ED          390 confer with K. Duff regarding funds used for benefit of properties (.2).                            0.2 0.0022989         $0.90
             Administration
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
July 2019    Claims                  07/18/19 ED              390 email correspondence to S. Zjalic regarding organizing financial information for use in                  0.5 0.0057471         $2.24
             Administration                                       preparation of June accounting reports to lenders (.5)
             & Objections

July 2019    Claims                  07/19/19 ED              390 Email correspondence with A. Watychowicz regarding preparation of May accounting                         0.1 0.0011494         $0.45
             Administration                                       reports to lenders (.1)
             & Objections

July 2019    Claims                  07/22/19 ED              390 send May accounting reports to lenders' counsel (2.0)                                                    2.0 0.0229885         $8.97
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 and confer with K. Duff regarding same (1.1)                                                             1.1 0.0126437         $4.93
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 review of analysis prepared by accountant (.2)                                                           0.2 0.0022989         $0.90
             Administration
             & Objections

July 2019    Claims                  07/22/19 ED              390 prepare information for responses to queries from lenders' counsel regarding payment of                  0.5 0.0057471         $2.24
             Administration                                       real estate taxes and related matters (.5)
             & Objections

July 2019    Claims                  07/22/19 ED              390 email correspondence with lender's counsel regarding questions relating to same (.3)                     0.3 0.0034483         $1.34
             Administration
             & Objections

July 2019    Claims                  07/22/19 SZ              110 Prepare and organize information for review from June profit and loss statements, financial              1.5 0.0172414         $1.90
             Administration                                       reports from institutional landers and property managers (1.5)
             & Objections

July 2019    Claims                  07/22/19 SZ              110 communicate with E. Duff regarding same (.5).                                                            0.5 0.0057471         $0.63
             Administration
             & Objections

July 2019    Claims                  07/23/19 ED              390 confer with K. Duff regarding investor lender liens on properties with institutional debt (.1).          0.1 0.0011236         $0.44
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
July 2019    Claims                  07/24/19 ED          390 organize and send materials to accountant for June accounting reports to lenders (.8)                  0.8 0.0091954         $3.59
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED          390 review and comment on draft motion regarding restoration of rents and related exhibits (.2)            0.2 0.0037736         $1.47
             Administration
             & Objections

July 2019    Claims                  07/24/19 ED          390 review and analysis of expenditures by receivership in June to be allocated to properties for          0.9 0.0103448         $4.03
             Administration                                   accounting reports (.9)
             & Objections

July 2019    Claims                  07/26/19 ED          390 email correspondence with accountant regarding information for inclusion in June                       0.4 0.0045977         $1.79
             Administration                                   accounting reports to lenders (.4)
             & Objections

August 2019 Asset                    08/01/19 KBD         390 Study draft motion for approval to sell single family home portfolio (.4)                              0.4 0.0108108         $4.22
            Disposition
August 2019 Asset                    08/01/19 KBD         390 exchange correspondence with potential buyer regarding listing and commission issue (.2).              0.2 0.0020202         $0.79
            Disposition
August 2019 Asset                    08/09/19 KBD         390 work on and exchange correspondence with M. Rachlis regarding credit bid procedures (.2).              0.2 0.0022989         $0.90
            Disposition
August 2019 Asset                    08/09/19 KBD         390 exchange correspondence with potential purchaser and real estate broker regarding interest             0.1       0.001       $0.39
            Disposition                                       in properties (.1)
August 2019 Asset                    08/12/19 KBD         390 telephone conference with real estate broker and A. Porter regarding lender                            0.1 0.0011494         $0.45
            Disposition                                       communications relating to credit bidding procedures and current marketing efforts (.1)

August 2019 Asset                    08/13/19 KBD         390 Telephone conference and exchange correspondence with real estate broker regarding                     0.3       0.003       $1.17
            Disposition                                       marketing efforts, market response, and planning for bidder communications (.3)

August 2019 Asset                    08/15/19 KBD         390 exchange correspondence with and draft correspondence to lenders counsel regarding                     1.5 0.0172414         $6.72
            Disposition                                       credit bidding on properties and exchange correspondence with M. Rachlis regarding same
                                                              (1.5).
August 2019 Asset                    08/15/19 KBD         390 office conferences with A. Porter and J. Rak regarding issues relating to closings on second           0.5 0.0111111         $4.33
            Disposition                                       group of properties and single family home portfolio (.5)
August 2019 Asset                    08/16/19 KBD         390 study correspondence from E. Duff regarding rent restoration and closing costs (.3).                   0.3 0.0034483         $1.34
            Disposition
August 2019 Asset                    08/17/19 KBD         390 exchange various correspondence regarding credit bidding (.5)                                          0.5 0.0057471         $2.24
            Disposition
August 2019 Asset                    08/27/19 KBD         390 Appear before Judge Lee for lender's emergency motion to expedite ruling and post hearing              0.8 0.0091954         $3.59
            Disposition                                       conference with various lenders' counsel
August 2019 Asset                    08/28/19 KBD         390 Exchange correspondence with E. Duff and M. Rachlis regarding credit bid issue (.3)                    0.3       0.003       $1.17
            Disposition


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  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
August 2019 Business                 08/06/19 KBD         390 Telephone conference with bank representative regarding wire transfers for property               0.1 0.0009804         $0.38
            Operations                                        expenses and insurance.
August 2019 Business                 08/08/19 KBD         390 study various correspondence regarding payment of real estate taxes (.2).                         0.2 0.0666667        $26.00
            Operations
August 2019 Business                 08/12/19 KBD         390 study property manager financial reporting (.3).                                                  0.3 0.0046875         $1.83
            Operations
August 2019 Business                 08/13/19 KBD         390 Exchange correspondence with E. Duff regarding payment of insurance premiums.                     0.1       0.001       $0.39
            Operations
August 2019 Business                 08/15/19 KBD         390 study delinquency report and draft correspondence to asset manager regarding same (.3).           0.3 0.0046875         $1.83
            Operations
August 2019 Business                 08/20/19 KBD         390 exchange correspondence with J. Rak and property manager regarding outstanding real               0.2 0.0019608         $0.76
            Operations                                        estate taxes (.2).
August 2019 Business                 08/20/19 KBD         390 Exchange correspondence with K. Pritchard regarding insurance payments (.1)                       0.1 0.0009804         $0.38
            Operations
August 2019 Business                 08/28/19 KBD         390 exchange correspondence with E. Duff regarding rent restoration reporting (.2).                   0.2 0.0022989         $0.90
            Operations
August 2019 Business                 08/29/19 KBD         390 Study information regarding outstanding property taxes and review correspondence from J.          0.3       0.003       $1.17
            Operations                                        Rak regarding same (.3)
August 2019 Business                 08/30/19 KBD         390 exchange various correspondence regarding real estate taxes (.5).                                 0.5       0.005       $1.95
            Operations
August 2019 Claims                   08/08/19 KBD         390 conference with lender's counsel (.8)                                                             0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                   08/08/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.4)                                          0.4 0.0108108         $4.22
            Administration
            & Objections

August 2019 Claims                   08/08/19 KBD         390 Prepare for conference with lender's counsel (.8)                                                 0.8 0.0216216         $8.43
            Administration
            & Objections

August 2019 Claims                   08/09/19 KBD         390 study draft response to lender objections (.4).                                                   0.4 0.0065574         $2.56
            Administration
            & Objections

August 2019 Claims                   08/10/19 KBD         390 correspondence with A. Porter regarding same (.3).                                                0.3    0.004918       $1.92
            Administration
            & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                    Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
August 2019 Claims                   08/10/19 KBD         390 Study and revise response to lenders objections to Magistrate Judge Orders (1.5)                   1.5 0.0245902         $9.59
            Administration
            & Objections

August 2019 Claims                   08/11/19 KBD         390 correspondence with M. Rachlis regarding same (.2).                                                0.2 0.0032787         $1.28
            Administration
            & Objections

August 2019 Claims                   08/11/19 KBD         390 Revise response to lenders objections (.5)                                                         0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/12/19 KBD         390 Study and revise draft response to lenders objections regarding Judge Kim orders for sale          0.9 0.0147541         $5.75
            Administration                                    procedures.
            & Objections

August 2019 Claims                   08/13/19 KBD         390 Study and revise response to lenders' objections to Judge Kim's orders (.5)                        0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/14/19 KBD         390 study and revise response to lenders' objections (.5).                                             0.5 0.0081967         $3.20
            Administration
            & Objections

August 2019 Claims                   08/15/19 KBD         390 confer with A. Porter regarding credit bidding and closing costs (.4).                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                   08/16/19 KBD         390 Exchange various correspondence and telephone conferences relating to credit bidding and           1.5 0.0172414         $6.72
            Administration                                    lenders requests for extensions and information (1.5)
            & Objections

August 2019 Claims                   08/19/19 KBD         390 Prepare for and attend hearing before Judge Kim regarding credit bid procedures motions            4.3 0.0494253        $19.28
            Administration                                    (4.3)
            & Objections

August 2019 Claims                   08/20/19 KBD         390 confer with M. Rachlis and A. Porter regarding same (.8)                                           0.8 0.0216216         $8.43
            Administration
            & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
August 2019 Claims                   08/20/19 KBD             390 telephone conference with lenders' counsel regarding preparation to market and sell single            1.2 0.0324324        $12.65
            Administration                                        family home portfolio and relating to preliminary report of claims process and upcoming
            & Objections                                          hearing (1.2)

August 2019 Claims                   08/21/19 KBD             390 analysis of cost allocation issues and address same with A. Watychowicz (2.4)                         2.4 0.0269663        $10.52
            Administration
            & Objections

August 2019 Claims                   08/22/19 KBD             390 exchange correspondence with E. Duff and A. Porter regarding credit bidding and closing               0.2 0.0022989         $0.90
            Administration                                        issue (.2)
            & Objections

August 2019 Claims                   08/23/19 KBD             390 Exchange correspondence with E. Duff regarding restoration of rents issue.                            0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/28/19 KBD             390 Study lenders' reply relating to objections.                                                          0.3    0.004918       $1.92
            Administration
            & Objections

August 2019 Claims                   08/29/19 KBD             390 exchange correspondence regarding communications with lender's counsel regarding credit               0.2 0.0022989         $0.90
            Administration                                        bid and closing costs (.2)
            & Objections

August 2019 Claims                   08/29/19 KBD             390 exchange correspondence regarding credit bid from lender (.2).                                        0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                   08/31/19 KBD             390 Exchange correspondence with M. Rachlis and N. Mirjanich regarding credit bid.                        0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Asset                    08/07/19 AEP             390 Conference call with title company regarding status of completion of all remaining title              0.5    0.005102       $1.99
            Disposition                                           commitments, timing for procurement of hold harmless letters, survey reviews, and
                                                                  timetables (.5)
August 2019 Asset                    08/08/19 MR              390 Prepare for and participate in call with lender's counsel, A Porter and K. Duff.                      2.0 0.0540541        $21.08
            Disposition
August 2019 Asset                    08/12/19 JR              140 research balance of real estate property taxes for same (.2)                                          0.2       0.002       $0.28
            Disposition
August 2019 Asset                    08/13/19 AEP             390 read e-mail from receivership broker regarding status of motion for approval to sell single-          0.1 0.0027027         $1.05
            Disposition                                           family residences and respond thereto (.1).




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
August 2019 Asset                    08/20/19 AEP             390 conference call with counsel for secured lender holding interests in single-family home              1.3 0.0351351         $13.70
            Disposition                                           portfolio regarding marketing process, potential objection to sales process, allocations of
                                                                  value to individual assets, and potential meeting with secured lenders to discuss global
                                                                  issues, including timing of claims process (1.3)
August 2019 Asset                    08/23/19 NM              260 Correspond with K. Duff regarding motions for single family homes, approval of the second            0.1 0.0022222          $0.58
            Disposition                                           tranche, and listing of all remaining properties (.1)
August 2019 Asset                    08/23/19 NM              260 correspond with Judge Lee's courtroom deputy and K. Duff regarding proposed order on                 0.3 0.0056604          $1.47
            Disposition                                           rents restoration motion and draft same and send to K. Duff for review (.3).

August 2019 Asset                    08/26/19 MR              390 attention to proposed order on rent allocation (.2).                                                 0.2 0.0037736          $1.47
            Disposition
August 2019 Asset                    08/26/19 NM              260 Draft proposed order for rents restoration motion and correspond with K. Duff and E. Duff            1.0 0.0188679          $4.91
            Disposition                                           regarding same and send same to the court and lenders' counsel (1.0)
August 2019 Business                 08/01/19 JR              140 Review and organize paid tax real estate receipts and update real estate spreadsheet for             0.2       0.002        $0.28
            Operations                                            properties.
August 2019 Business                 08/08/19 ED              390 email to property manager regarding payment of taxes (417 Oglesby, 7922 S Luella, 8800 S             0.1 0.0333333         $13.00
            Operations                                            Ada) (.1)
August 2019 Business                 08/08/19 JR              140 Exchange correspondence with E. Duff and property manager regarding updated property                 0.1 0.0333333          $4.67
            Operations                                            tax amounts (.1)
August 2019 Business                 08/08/19 JR              140 finalize property tax spreadsheet with updates (1.3).                                                1.3       0.013        $1.82
            Operations
August 2019 Business                 08/12/19 JR              140 Update real estate tax spreadsheet with most recent payments made by property managers.              0.3          0.1      $14.00
            Operations
August 2019 Business                 08/14/19 ED              390 Email correspondence with K. Pritchard (.1)                                                          0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/14/19 ED              390 and insurance agent (.1) regarding wire for insurance premiums                                       0.1 0.0009804          $0.38
            Operations
August 2019 Business                 08/20/19 AW              140 attention to email from E. Duff regarding accounting reports and respond to same (.1).               0.1 0.0011236          $0.16
            Operations
August 2019 Business                 08/20/19 JR              140 Exchange correspondence with property managers regarding status of funds relating to                 0.1 0.0014085          $0.20
            Operations                                            payment of real estate taxes.
August 2019 Business                 08/20/19 KMP             140 communications with K. Duff regarding status of payments on insurance premium finance                0.1 0.0009804          $0.14
            Operations                                            agreement (.1).
August 2019 Business                 08/21/19 ED              390 Review and analysis of July financial reporting from property managers.                              0.7       0.007        $2.73
            Operations
August 2019 Business                 08/21/19 MR              390 and follow up and review on various cost accounting reports (.8).                                    0.8       0.008        $3.12
            Operations
August 2019 Business                 08/21/19 MR              390 Conferences with E. Duff (.2)                                                                        0.2 0.0019608          $0.76
            Operations
August 2019 Business                 08/22/19 ED              390 review of July reporting from property managers (1.2)                                                1.2       0.012        $4.68
            Operations
August 2019 Business                 08/22/19 KMP             140 conference with K. Duff regarding funding for insurance premium finance agreement (.1).              0.1 0.0009804          $0.14
            Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
August 2019 Claims                   08/02/19 ED              390 begin review of drafts of June accounting reports to lenders (.8).                                 0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED              390 and draft and send email to lender's counsel regarding same (.2)                                   0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                   08/03/19 ED              390 review and analysis of revised May accounting report and related correspondence and                0.3 0.0034483         $1.34
            Administration                                        documents (.3)
            & Objections

August 2019 Claims                   08/03/19 ED              390 Further review of drafts of June accounting reports to lenders (.7)                                0.7    0.008046       $3.14
            Administration
            & Objections

August 2019 Claims                   08/05/19 ED              390 conference with J. Rak regarding review of draft accounting reports to lenders (.3).               0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/05/19 JR              140 Confer with E. Duff regarding review of financial reports from property managers and from          0.5 0.0057471         $0.80
            Administration                                        accounting firm (.5).
            & Objections

August 2019 Claims                   08/06/19 ED              390 confer with J. Rak regarding review of June accounting reports to lenders (.3)                     0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 Assist E. Duff in review of Receiver's property financial reports (2.5)                            2.5 0.0287356         $4.02
            Administration
            & Objections

August 2019 Claims                   08/06/19 JR              140 confer with E. Duff regarding same (.5).                                                           0.5 0.0057471         $0.80
            Administration
            & Objections

August 2019 Claims                   08/07/19 ED              390 review June receivership expenditures to identify those reportable for each property in            0.1 0.0011494         $0.45
            Administration                                        accounting reports to lenders (.1)
            & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
August 2019 Claims                   08/07/19 ED              390 and confer with J. Rak regarding same (.4)                                                             0.4 0.0045977         $1.79
            Administration
            & Objections

August 2019 Claims                   08/07/19 JR              140 Confer with E. Duff regarding next steps in reviewing financial reports.                               0.6 0.0068966         $0.97
            Administration
            & Objections

August 2019 Claims                   08/08/19 AW              140 locate and download proof of claims forms submitted by institutional lender (.4)                       0.4 0.0093023         $1.30
            Administration
            & Objections

August 2019 Claims                   08/08/19 AW              140 confer with K. Duff regarding meeting with institutional lender (.1)                                   0.1 0.0023256         $0.33
            Administration
            & Objections

August 2019 Claims                   08/08/19 AW              140 review spreadsheets and prepare same for upcoming meeting (.6)                                         0.6 0.0139535         $1.95
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 email to lenders' counsel regarding payment of real estate taxes (417 Oglesby, 7922 S Luella,          0.1 0.0333333        $13.00
            Administration                                        8800 S Ada) (.1).
            & Objections

August 2019 Claims                   08/08/19 ED              390 call with accountant regarding same (.1)                                                               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/08/19 ED              390 Review additional drafts of June accounting reports to lenders (.2)                                    0.2 0.0022989         $0.90
            Administration
            & Objections

August 2019 Claims                   08/13/19 NM              260 study respond to lender objections on credit bid procedures orders, revise the same, and               0.3    0.004918       $1.28
            Administration                                        correspond with K. Duff on the same (.3).
            & Objections

August 2019 Claims                   08/14/19 ED              390 and email correspondence with accountant regarding comments (.6)                                       0.6 0.0068966         $2.69
            Administration
            & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
August 2019 Claims                   08/14/19 ED          390 Confer with J. Rak regarding review of draft June accounting reports to lenders (.1)                  0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/14/19 NM          260 study response to lender objections on credit bid procedures orders for filing (.2).                  0.2 0.0032787         $0.85
            Administration
            & Objections

August 2019 Claims                   08/15/19 ED          390 review drafts of June accounting reports to lenders (3.2)                                             3.2 0.0367816        $14.34
            Administration
            & Objections

August 2019 Claims                   08/15/19 MR          390 attention to credit bid issues and follow up regarding same (.8).                                     0.8 0.0091954         $3.59
            Administration
            & Objections

August 2019 Claims                   08/16/19 ED          390 email correspondence with accountant regarding review of June receivership expenditures               0.4 0.0045977         $1.79
            Administration                                    for inclusion in June accounting reports to lenders (.4)
            & Objections

August 2019 Claims                   08/16/19 ED          390 Continue review of drafts of June accounting reports and review and analysis of related               2.7 0.0310345        $12.10
            Administration                                    documents and correspondence (2.7)
            & Objections

August 2019 Claims                   08/16/19 MR          390 Attention to various issues on credit bids and emails regarding same (.6)                             0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/16/19 MR          390 attention to motion filed by certain lenders and follow up on same (.5).                              0.5 0.0057471         $2.24
            Administration
            & Objections

August 2019 Claims                   08/16/19 NM          260 study correspondence relating to credit bid issues and correspond with K. Duff regarding the          0.3    0.004918       $1.28
            Administration                                    same (.3).
            & Objections

August 2019 Claims                   08/19/19 ED          390 and review revised reports (3.9)                                                                      3.9 0.0448276        $17.48
            Administration
            & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2019 Claims                   08/19/19 ED          390 prepare email correspondence to lenders' counsel regarding June accounting reports (1.0).            1.0 0.0114943         $4.48
            Administration
            & Objections

August 2019 Claims                   08/19/19 ED          390 email correspondence with accountant regarding comments and questions regarding                      0.6 0.0068966         $2.69
            Administration                                    content of reports (.6)
            & Objections

August 2019 Claims                   08/19/19 ED          390 continue review of drafts of June accounting reports to lenders (2.2)                                2.2 0.0252874         $9.86
            Administration
            & Objections

August 2019 Claims                   08/19/19 MR          390 attention to order on credit bids and conferences regarding same (.3)                                0.3 0.0034483         $1.34
            Administration
            & Objections

August 2019 Claims                   08/19/19 MR          390 attention to upcoming meeting and hearing on lender related issues (.5).                             0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                   08/19/19 MR          390 Review lender's emergency motion and prepare for upcoming hearing, attend hearing and                3.5 0.0402299        $15.69
            Administration                                    follow up regarding same (3.5)
            & Objections

August 2019 Claims                   08/20/19 MR          390 conferences with lender counsel on claims issues and property sales with K. Duff, A. Porter          1.4 0.0378378        $14.76
            Administration                                    (1.4)
            & Objections

August 2019 Claims                   08/20/19 MR          390 follow up discussion and preparation with same (.5).                                                 0.5 0.0135135         $5.27
            Administration
            & Objections

August 2019 Claims                   08/21/19 AW          140 attention to email from E. Duff regarding accounting reports for institutional lenders and           0.1 0.0011236         $0.16
            Administration                                    follow up (.1)
            & Objections

August 2019 Claims                   08/21/19 AW          140 prepare reports for E. Duff and K. Duff. (1.1)                                                       1.1 0.0123596         $1.73
            Administration
            & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2019 Claims                   08/21/19 NM          260 correspond with K. Duff and the Court regarding credit bid deadline and closing costs and              0.4 0.0065574         $1.70
            Administration                                    study email correspondence relating to the same (.4)
            & Objections

August 2019 Claims                   08/22/19 ED          390 Send June accounting reports to lenders' counsel (1.2)                                                 1.2 0.0137931         $5.38
            Administration
            & Objections

August 2019 Claims                   08/22/19 ED          390 email correspondence with property managers regarding remaining funds in property                      0.2 0.0022989         $0.90
            Administration                                    accounts relating to sold properties and review of related financial reporting documents (.2)
            & Objections

August 2019 Claims                   08/22/19 ED          390 review of July expenditures from Receivership account (.6).                                            0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/28/19 ED          390 send July financial reporting information to accountant for preparation of July accounting             0.3 0.0034483         $1.34
            Administration                                    reports to lenders (.3)
            & Objections

August 2019 Claims                   08/28/19 ED          390 K. Duff (.1) regarding reporting and preparation of monthly summary of rent restoration                0.1 0.0011494         $0.45
            Administration                                    amounts
            & Objections

August 2019 Claims                   08/28/19 ED          390 email correspondence with accountant (.6)                                                              0.6 0.0068966         $2.69
            Administration
            & Objections

August 2019 Claims                   08/29/19 ED          390 email correspondence with accountant regarding financial reporting (.1).                               0.1 0.0011494         $0.45
            Administration
            & Objections

August 2019 Claims                   08/30/19 NM          260 study motion and objection filed by lender and study transcript from August 19, 2019                   0.7 0.0114754         $2.98
            Administration                                    hearing attached as exhibit to the same (.7).
            & Objections

September    Asset                   09/04/19 KBD         390 confer with broker, M. Rachlis, and A. Porter regarding sales contracts, future sales, credit          2.5 0.0287356        $11.21
2019         Disposition                                      bidding, and hearing before Judge Lee (2.5).
September    Asset                   09/04/19 KBD         390 Study analysis of current properties for sale and status of credit bidding (.2)                        0.2 0.0022989         $0.90
2019         Disposition
September    Asset                   09/06/19 KBD         390 Telephone conference with and study various correspondence from real estate broker                     0.3 0.0034483         $1.34
2019         Disposition                                      regarding sales contracts and communications relating to credit bidding (.3)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
September Asset                      09/09/19 KBD         390 Exchange correspondence with M. Rachlis and real estate broker regarding communications             0.8 0.0126984         $4.95
2019      Disposition                                         with lenders, exhibits to respond to lenders objections, due diligence materials, and
                                                              marketing and property tour information.
September    Asset                   09/12/19 KBD         390 draft correspondence to lender's counsel regarding valuation information (.1).                      0.1    0.002381       $0.93
2019         Disposition
September    Asset                   09/18/19 KBD         390 Exchange correspondence with M. Rachlis regarding single family home portfolio valuation.           0.2 0.0054054         $2.11
2019         Disposition
September    Asset                   09/21/19 KBD         390 Draft correspondence to lender's counsel regarding valuation of properties and exchange             0.3 0.0081081         $3.16
2019         Disposition                                      correspondence with M. Rachlis and A. Porter regarding same.
September    Asset                   09/23/19 KBD         390 study property valuation information relating to single family homes, draft correspondence          0.2 0.0054054         $2.11
2019         Disposition                                      to lender's counsel regarding same, and exchange correspondence with A. Porter regarding
                                                              same (.2)
September    Asset                   09/23/19 KBD         390 Prepare for hearing before Judge Lee and study outline regarding same (3.7)                         3.7 0.0362745        $14.15
2019         Disposition
September    Asset                   09/24/19 KBD         390 study property valuation information for single family home portfolio and exchange                  0.2 0.0054054         $2.11
2019         Disposition                                      correspondence regarding same (.2).
September    Asset                   09/26/19 KBD         390 Study property valuation information relating to single family home portfolio and exchange          0.3 0.0081081         $3.16
2019         Disposition                                      correspondence regarding same (.3)
September    Asset                   09/27/19 KBD         390 Exchange correspondence regarding valuation of properties.                                          0.3 0.0081081         $3.16
2019         Disposition
September    Business                09/11/19 KBD         390 study property manager financial reports (.3)                                                       0.3 0.0046875         $1.83
2019         Operations
September    Business                09/13/19 KBD         390 Study financial records and correspondence regarding rent restoration and confer with E.            0.4 0.0045977         $1.79
2019         Operations                                       Duff regarding property financial reporting.
September    Business                09/20/19 KBD         390 draft correspondence to E. Duff regarding property expenses (.1).                                   0.1 0.0009804         $0.38
2019         Operations
September    Claims                  09/01/19 KBD         390 Study correspondence from A. Porter regarding credit bid (.1)                                       0.1 0.0011494         $0.45
2019         Administration
             & Objections

September Claims                     09/03/19 KBD         390 Telephone conference and exchange correspondence with broker regarding credit bids and              0.3 0.0034483         $1.34
2019      Administration                                      communications with potential purchasers (.3)
          & Objections

September Claims                     09/10/19 KBD         390 telephone conference with real estate broker regarding credit bids and communications with          0.2 0.0022989         $0.90
2019      Administration                                      lenders representatives regarding same (.2).
          & Objections

September Claims                     09/13/19 KBD         390 study correspondence from A. Porter regarding language in purchase and sale agreement for           0.1 0.0011494         $0.45
2019      Administration                                      credit bid (.1).
          & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
September Claims                     09/13/19 KBD             390 study correspondence from real estate broker regarding status of credit bidding (.1)                   0.1 0.0011494         $0.45
2019      Administration
          & Objections

September    Asset                   09/18/19 AEP             390 communications with K. Duff and M. Rachlis regarding single- family residence portfolio (.1).          0.1 0.0027027         $1.05
2019         Disposition
September    Asset                   09/20/19 AEP             390 Prepare e-mail to receivership broker regarding proposed exchange of valuation data with               0.1 0.0027027         $1.05
2019         Disposition                                          secured institutional lender (.1)
September    Asset                   09/21/19 MR              390 attention to issues regarding single family portfolio related issues (.2).                             0.2 0.0054054         $2.11
2019         Disposition
September    Asset                   09/22/19 MR              390 Further review of various pleadings for upcoming hearing and prepare arguments regarding               2.5 0.0245098         $9.56
2019         Disposition                                          same.
September    Asset                   09/23/19 MR              390 review various emails regarding single home portfolio and other issues (.3)                            0.3 0.0081081         $3.16
2019         Disposition
September    Asset                   09/23/19 MR              390 conferences with K. Duff regarding same (.3)                                                           0.3 0.0029412         $1.15
2019         Disposition
September    Asset                   09/24/19 JR              140 organize statements for real estate taxes (.3)                                                         0.3       0.003       $0.42
2019         Disposition
September    Asset                   09/24/19 MR              390 attention to emails regarding single family home portfolio and attention to various court              0.2 0.0054054         $2.11
2019         Disposition                                          orders (.2)
September    Asset                   09/25/19 JR              140 prepare a worksheet with comparative analysis of estimated market values for the single                1.6 0.0432432         $6.05
2019         Disposition                                          family homes (1.6)
September    Asset                   09/25/19 JR              140 exchange correspondence with A. Porter regarding same (.3)                                             0.3 0.0081081         $1.14
2019         Disposition
September    Asset                   09/26/19 AEP             390 Review and analyze broker opinion of values received from special servicer for institutional           0.7 0.0189189         $7.38
2019         Disposition                                          lender related to single-family residence portfolio, create spreadsheet comparing lender
                                                                  values with values used by receivership broker and generate figures comparing allocations of
                                                                  individual property values to portfolio values as ascertained by both special servicer and
                                                                  receivership broker and prepare e-mail to receivership broker regarding same.

September Asset                      09/28/19 AEP             390 Prepare e-mail to K. Duff and J. Rak regarding comparisons of broker opinions of value                 0.2 0.0054054         $2.11
2019      Disposition                                             received from special servicer for institutional lender and values applied by receivership
                                                                  broker and additional exchanges of supporting documentation (.2)
September    Business                09/04/19 ED              390 email correspondence with accountant regarding rent restoration reporting (.2).                        0.2 0.0022989         $0.90
2019         Operations
September    Business                09/05/19 ED              390 review and analysis of detail regarding August receivership expenditures (.3).                         0.3 0.0034483         $1.34
2019         Operations
September    Business                09/05/19 KMP             140 Communications with K. Duff and bank representative regarding wire transfer of funds to                0.4 0.0039216         $0.55
2019         Operations                                           finance company for payment on insurance premium finance agreement (.4)

September Business                   09/10/19 JR              140 Confer with E. Duff regarding review of financial statements for month of July (.2)                    0.2 0.0022989         $0.32
2019      Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
September    Business                09/11/19 JR              140 confer with E. Duff pertaining to same (.2).                                                             0.2 0.0022989          $0.32
2019         Operations
September    Business                09/11/19 JR              140 Review of financial statements relating to property income and expenses for month of July                3.3 0.0383721          $5.37
2019         Operations                                           2019 (3.3)
September    Business                09/19/19 ED              390 Review of bank statements and property reporting documentation (.5)                                      0.5 0.0057471          $2.24
2019         Operations
September    Business                09/19/19 ED              390 email correspondence with property manager regarding same (.2)                                           0.2 0.0022989          $0.90
2019         Operations
September    Business                09/20/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare               1.2 0.0116505          $1.63
2019         Operations                                           same.
September    Business                09/20/19 ED              390 prepare outlines for discussions with property managers (.8)                                             0.8 0.0078431          $3.06
2019         Operations
September    Business                09/23/19 KMP             140 prepare request form for and conferences with K. Duff and bank representative regarding                  0.4 0.0039216          $0.55
2019         Operations                                           transfer of funds for payment of premium finance agreement on property liability insurance
                                                                  (.4)
September    Business                09/23/19 NM              260 Study correspondence from A. Porter regarding notices of violation received (.1)                         0.1         0.05      $13.00
2019         Operations
September    Business                09/25/19 ED              390 review of financial reporting records (.7)                                                               0.7    0.008046        $3.14
2019         Operations
September    Business                09/25/19 ED              390 and email correspondence with accountant regarding same (.4).                                            0.4 0.0045977          $1.79
2019         Operations
September    Claims                  09/01/19 MR              390 Attention to emails regarding lender reserves, credit bids, property repairs, and institutional          0.3 0.0034483          $1.34
2019         Administration                                       lender.
             & Objections

September Claims                     09/10/19 ED              390 Preliminary review of draft accounting reports to lenders (.2)                                           0.2 0.0022989          $0.90
2019      Administration
          & Objections

September Claims                     09/10/19 ED              390 and confer with J. Rak regarding same (.1)                                                               0.1 0.0011494          $0.45
2019      Administration
          & Objections

September Claims                     09/10/19 ED              390 email correspondence with accountant regarding (.4)                                                      0.4 0.0045977          $1.79
2019      Administration
          & Objections

September Claims                     09/10/19 ED              390 email to lenders' monthly reports to receiver regarding rent restoration counsel regarding               0.1 0.0011494          $0.45
2019      Administration                                          payment of outstanding real estate taxes (.1).
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
September Claims                     09/11/19 ED          390 and advising of deposit of remaining operating funds from property manager account into               0.2 0.0022989         $0.90
2019      Administration                                      segregated receivership account holding sales proceeds (.2)
          & Objections

September Claims                     09/11/19 ED          390 Confer with J. Rak regarding comments on draft accounting reports to lenders (.1)                     0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 and email to counsel transmitting June accounting report (.1)                                         0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/11/19 ED          390 email correspondence with accountant regarding July accounting reports and content of                 0.3 0.0034483         $1.34
2019      Administration                                      monthly reporting to receiver regarding rent restoration and property reimbursement details
          & Objections                                        (.3).

September Claims                     09/12/19 ED          390 confer with K. Duff regarding rent restoration calculations relating to proceeds of property          0.1 0.0011494         $0.45
2019      Administration                                      sales (.1)
          & Objections

September Claims                     09/12/19 ED          390 Review drafts of July accounting reports to lenders (.9)                                              0.9 0.0103448         $4.03
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 review and analysis of data (.6)                                                                      0.6 0.0068966         $2.69
2019      Administration
          & Objections

September Claims                     09/12/19 ED          390 call with accountant (.3) regarding same.                                                             0.3 0.0034483         $1.34
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 and calls and email correspondence with accountant regarding same (1.1)                               1.1 0.0207547         $8.09
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with K. Duff and with K. Pritchard (.1)                                                        0.1 0.0018868         $0.74
2019      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
September Claims                     09/13/19 ED          390 continue review of drafts of July accounting reports to lenders (1.6)                             1.6 0.0183908         $7.17
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 confer with J. Rak regarding properties from which rent restoration amounts are due (.1)          0.1 0.0011494         $0.45
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 and email correspondence with accountant regarding comments and revisions (.2)                    0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/13/19 ED          390 reconcile lists of rent restoration amounts by property (1.8).                                    1.8 0.0206897         $8.07
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 Review and analysis of information regarding rent restoration amounts (1.2)                       1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/15/19 ED          390 and email correspondence with accountant regarding same (.2).                                     0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 Final review of July accounting reports to lenders (1.2)                                          1.2 0.0137931         $5.38
2019      Administration
          & Objections

September Claims                     09/19/19 ED          390 prepare correspondence to transmit reports to lender's counsel (.4).                              0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 draft revisions to form of monthly Receiver's property report to lenders (.4)                     0.4 0.0045977         $1.79
2019      Administration
          & Objections

September Claims                     09/20/19 ED          390 Send July accounting reports to lenders' counsel (1.2)                                            1.2 0.0137931         $5.38
2019      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
September Claims                     09/20/19 ED          390 confer with M. Rachlis regarding same (.2).                                                               0.2 0.0022989         $0.90
2019      Administration
          & Objections

September Claims                     09/22/19 ED          390 Analysis of operating expenses.                                                                           1.5 0.0172414         $6.72
2019      Administration
          & Objections

October      Asset                   10/04/19 KBD         390 Telephone conference with real estate broker regarding court ruling on sales and credit                   0.2 0.0022989         $0.90
2019         Disposition                                      bidding and planning for further sales.
October      Asset                   10/08/19 KBD         390 study correspondence regarding property valuation (.2)                                                    0.2 0.0047619         $1.86
2019         Disposition
October      Asset                   10/16/19 KBD         390 Exchange various correspondence and telephone conference with real estate broker                          1.0 0.0114943         $4.48
2019         Disposition                                      regarding various property sales and credit bidding (1.0)
October      Asset                   10/17/19 KBD         390 Analysis of potential sale opportunity.                                                                   0.2 0.0022472         $0.88
2019         Disposition
October      Asset                   10/26/19 KBD         390 Study updated portfolio summary and correspondence from real estate broker relating to                    0.3 0.0033708         $1.31
2019         Disposition                                      same.
October      Business                10/07/19 KBD         390 study property manager financial reporting (.3).                                                          0.3 0.0046875         $1.83
2019         Operations
October      Business                10/07/19 KBD         390 prepare for hearing before Judge Lee and exchange correspondence regarding same (.8)                      0.8 0.0078431         $3.06
2019         Operations
October      Business                10/10/19 KBD         390 Draft correspondence to J. Rak regarding real estate tax analysis.                                        0.1 0.0009804         $0.38
2019         Operations
October      Business                10/15/19 KBD         390 study financial reporting from property manager (.3).                                                     0.3 0.0046875         $1.83
2019         Operations
October      Claims                  10/10/19 KBD         390 Study correspondence from A. Porter and N. Mirjanich regarding potential issues relating to               0.3 0.0034483         $1.34
2019         Administration                                   sale of property and potential credit bid and analysis of same (.3)
             & Objections

October      Asset                   10/01/19 AEP         390 reply to receivership broker regarding single-family home valuations (.1)                                 0.1 0.0027027         $1.05
2019         Disposition
October      Asset                   10/01/19 MR          390 Attention to single family home portfolio issues.                                                         0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/02/19 AEP         390 teleconference with counsel for special servicer regarding variations in single-family portfolio          0.4 0.0108108         $4.22
2019         Disposition                                      valuation analyses and potential for resolution of differences (.4)
October      Asset                   10/04/19 AEP         390 prepare e-mail to counsel for special servicer regarding prospective receipt of BOV's and                 0.1 0.0027027         $1.05
2019         Disposition                                      scheduling of conference call with clients to discuss reconciliation of same with receivership
                                                              broker listing prices (.1).
October      Asset                   10/04/19 AEP         390 Read judicial opinion affirming magistrate decision regarding objections to credit bidding                0.3 0.0034483         $1.34
2019         Disposition                                      procedures (.3)
October      Asset                   10/04/19 MR          390 Attention to order on objections to sales (.4)                                                            0.4 0.0045977         $1.79
2019         Disposition


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
October      Asset                   10/08/19 AEP             390 analyze valuation variances relating to single family home portfolio and exchange                      0.3 0.0081081         $3.16
2019         Disposition                                          correspondence with broker and lenders' counsel regarding same (.3)
October      Asset                   10/08/19 MR              390 attention to issues on single family homes (.3)                                                        0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/16/19 AEP             390 e-mail exchanges with K. Duff regarding attempts to schedule conference call with                      0.1 0.0027027         $1.05
2019         Disposition                                          receivership broker for single-family residences and representative of lender's loan servicer
                                                                  (.1)
October      Asset                   10/17/19 AEP             390 Prepare e-mail to counsel for lender on single-family residence properties regarding                   0.1 0.0027027         $1.05
2019         Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1)

October      Asset                   10/17/19 AEP             390 teleconference with counsel for lender on single-family residence properties regarding                 0.4 0.0108108         $4.22
2019         Disposition                                          valuation and allocation issues and prospects for agreement on motion to approve
                                                                  marketing process (.4)
October      Asset                   10/17/19 JR              140 confer with E. Duff, produce financial reports for review (.3)                                         0.3 0.0034884         $0.49
2019         Disposition
October      Asset                   10/21/19 JR              140 review property manager income statement and receiver's property report as well as bank                3.2 0.0372093         $5.21
2019         Disposition                                          statement and compare (3.2).
October      Asset                   10/22/19 AEP             390 Conference call with receivership broker for single-family residence properties regarding              0.3 0.0081081         $3.16
2019         Disposition                                          valuation issues (.3)
October      Asset                   10/22/19 AEP             390 prepare e-mail to counsel for lender on single-family residence properties regarding                   0.1 0.0027027         $1.05
2019         Disposition                                          scheduling of conference call regarding valuation and allocation issues (.1).

October      Asset                   10/23/19 MR              390 Attention to issues on single family home sales and other related issues.                              0.3 0.0081081         $3.16
2019         Disposition
October      Asset                   10/27/19 AEP             390 review latest draft of portfolio summary received from receivership broker and update                  0.4 0.0039216         $1.53
2019         Disposition                                          portfolio spreadsheet and property closing file folders accordingly (.4)
October      Asset                   10/28/19 AEP             390 correspondence between counsel for loan servicer and receivership single-family home                   0.2 0.0054054         $2.11
2019         Disposition                                          broker regarding scheduling of conference call regarding valuations and allocations (.2).

October      Asset                   10/28/19 MR              390 Meeting with asset manager and others on property issues (1.2)                                         1.2 0.0137931         $5.38
2019         Disposition
October      Business                10/08/19 ED              390 Review revisions to format of monthly property reporting and email correspondence with                 0.4 0.0045977         $1.79
2019         Operations                                           accountant regarding same.
October      Business                10/08/19 MR              390 Prepare for and attend hearing before Judge Lee (1.0)                                                  1.0 0.0098039         $3.82
2019         Operations
October      Business                10/08/19 MR              390 confer with K. Duff regarding same (.3).                                                               0.3 0.0029412         $1.15
2019         Operations
October      Business                10/10/19 ED              390 Send property financial information to accountant for purposes of preparation of August                0.6 0.0068182         $2.66
2019         Operations                                           property reports.
October      Business                10/14/19 JR              140 exchange correspondence with K. Duff and E. Duff forwarding modified version of real estate            0.3 0.0030303         $0.42
2019         Operations                                           spreadsheet containing unpaid taxes from property manager (.3).
October      Business                10/14/19 JR              140 exchange correspondence with property managers regarding same (.2)                                     0.2 0.0021739         $0.30
2019         Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
October      Business                10/14/19 JR              140 Update current and past due real estate taxes and indicate amounts that property managers           1.9 0.0206522         $2.89
2019         Operations                                           can pay out of current net operating income (1.9)
October      Business                10/17/19 ED              390 Review and analysis of financial reporting relating to amounts expended for properties.             0.5 0.0057471         $2.24
2019         Operations
October      Business                10/20/19 JR              140 Review financial reports for E. Duff comparing data from property managers and lenders and          3.1 0.0360465         $5.05
2019         Operations                                           also compare funds sent to property manager from receivers' account.

October      Business                10/21/19 JR              140 review paper copies of real estate taxes (.6).                                                      0.6       0.006       $0.84
2019         Operations
October      Business                10/21/19 JR              140 Exchange correspondence with K. Pritchard and K. Duff regarding payment of monthly real             0.2       0.002       $0.28
2019         Operations                                           estate taxes (.2)
October      Business                10/22/19 JR              140 Finalize financial reports for receivership.                                                        1.4 0.0162791         $2.28
2019         Operations
October      Business                10/25/19 AW              140 Confer with E. Duff regarding accounting reports on property by property basis and prepare          0.9 0.0087379         $1.22
2019         Operations                                           same.
October      Business                10/25/19 ED              390 Review of September financial reporting from property managers (1.3)                                1.3 0.0149425         $5.83
2019         Operations
October      Business                10/25/19 ED              390 review and organize material to send to accountant for September reports regarding income           0.8 0.0091954         $3.59
2019         Operations                                           and expenditures (.8).
October      Business                10/25/19 KMP             140 Prepare wire request for funds transfer for installment payment on premium financing                0.3 0.0029412         $0.41
2019         Operations                                           agreement and conferences with K. Duff and bank representative relating to same.

October      Claims                  10/10/19 NM              260 exchange correspondence with A. Porter and correspond with K. Duff regarding credit bid             0.4 0.0045977         $1.20
2019         Administration                                       issue (.4).
             & Objections

October      Claims                  10/17/19 ED              390 confer with J. Rak regarding same (.2).                                                             0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                  10/17/19 ED              390 Preliminary review of August accounting reports to lenders (1.5)                                    1.5 0.0174419         $6.80
2019         Administration
             & Objections

October      Claims                  10/24/19 ED              390 Final review of August accounting reports to lenders (2.8)                                          2.8 0.0325581        $12.70
2019         Administration
             & Objections

October      Claims                  10/24/19 ED              390 update transmittal messages to lenders' counsel (1.6)                                               1.6 0.0183908         $7.17
2019         Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
October      Claims                  10/24/19 ED          390 email to accountant regarding comments and revisions to reports (.2)                                  0.2 0.0023256         $0.91
2019         Administration
             & Objections

October      Claims                  10/24/19 ED          390 email to property manager to update recipient information financial reporting to lender (.1)          0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                  10/25/19 ED          390 review further revisions to August accounting reports to lenders (.1)                                 0.1 0.0011628         $0.45
2019         Administration
             & Objections

October      Claims                  10/25/19 ED          390 and send October reports to lenders' counsel (1.1).                                                   1.1 0.0127907         $4.99
2019         Administration
             & Objections

October      Claims                  10/29/19 ED          390 Review and analysis of receivership expenditures and rent restoration payments during                 1.2 0.0139535         $5.44
2019         Administration                                   September (1.2)
             & Objections

October      Claims                  10/29/19 ED          390 and email correspondence with accountant regarding preparation of September property                  0.2 0.0023256         $0.91
2019         Administration                                   reports (.2).
             & Objections

November     Asset                   11/12/19 KBD         390 study updated spreadsheet with information about sold properties (.2)                                 0.2 0.0020833         $0.81
2019         Disposition
November     Asset                   11/18/19 KBD         390 Exchange correspondence with City official regarding sale of properties (.2)                          0.2 0.0021739         $0.85
2019         Disposition
November     Asset                   11/23/19 KBD         390 Study correspondence from A. Porter regarding asset disposition planning.                             0.3 0.0032258         $1.26
2019         Disposition
November     Business                11/05/19 KBD         390 analysis of same (.2).                                                                                0.2 0.0019608         $0.76
2019         Operations
November     Business                11/05/19 KBD         390 Telephone conference with real estate broker and asset manager regarding evaluation and               0.2 0.0019608         $0.76
2019         Operations                                       assessment of properties and cost benefit analysis of repairs, maintenance, and
                                                              improvements for remaining properties in portfolio (.2)
November     Business                11/07/19 KBD         390 Exchange correspondence with property manager regarding funds for property expenses.                  0.2 0.0032787         $1.28
2019         Operations
November     Business                11/12/19 KBD         390 study property manager reports (.6).                                                                  0.6 0.0098361         $3.84
2019         Operations
November     Business                11/25/19 KBD         390 Attention to various insurance issues relating to properties and exchange correspondence              0.4 0.0042105         $1.64
2019         Operations                                       with E. Duff regarding same (.4)
November     Business                11/25/19 KBD         390 telephone conferences with bank representative regarding fund transfers for property                  0.2 0.0021053         $0.82
2019         Operations                                       insurance and expenses (.2)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
November     Business                11/26/19 KBD             390 Attention to insurance loss history and draft correspondence to insurance broker regarding               0.3 0.0031579         $1.23
2019         Operations                                           same (.3)
November     Business                11/27/19 KBD             390 Telephone conference with insurance broker regarding insurance policies, renewal options,                0.2 0.0021053         $0.82
2019         Operations                                           and planning (.2)
November     Asset                   11/01/19 AEP             390 teleconference with special servicer, counsel for special servicer, and receivership single-             0.6 0.0162162         $6.32
2019         Disposition                                          family residence portfolio broker regarding conflicting valuations and allocations and
                                                                  attempts to reconcile differences prior to filing of motion to approve sales process (.6)

November     Asset                   11/19/19 AEP             390 meeting with K. Duff and M. Rachlis regarding planning for selling receivership properties               0.4 0.0043478         $1.70
2019         Disposition                                          (.4).
November     Asset                   11/21/19 JR              140 review and analysis of accounting and property manager's statements (.9)                                 0.9 0.0104651         $1.47
2019         Disposition
November     Asset                   11/23/19 AEP             390 review and analyze EquityBuild portfolio spreadsheet draft correspondence to receivership                2.8 0.0294737        $11.49
2019         Disposition                                          team outlining sequencing of all anticipated future motions to approve and confirm sales of
                                                                  receivership assets (2.8)
November     Asset                   11/25/19 JR              140 exchange correspondence with property manager regarding same (.2)                                        0.2 0.0021053         $0.29
2019         Disposition
November     Asset                   11/26/19 AEP             390 Analyze EquityBuild portfolio spreadsheet and effectuate a complete rearrangement of all                 8.3 0.0873684        $34.07
2019         Disposition                                          draft and as-yet undrafted motions to approve sales processes and motions to confirm sales,
                                                                  revise spreadsheet and all file folders accordingly, continue preparation of all draft motions
                                                                  (8.3)
November     Asset                   11/26/19 JR              140 exchange correspondence with A. Porter and K. Duff regarding motion to approve sales                     0.2 0.0054054         $0.76
2019         Disposition                                          process and single family homes (.2)
November     Asset                   11/26/19 JR              140 Review property manager financial statements received from E. Duff (1.7)                                 1.7 0.0197674         $2.77
2019         Disposition
November     Asset                   11/27/19 JR              140 Exchange correspondence with A. Porter related to filing a motion to approve the sale                    0.1 0.0027027         $0.38
2019         Disposition                                          process for remainder of properties and single family homes (.1)
November     Asset                   11/27/19 JR              140 telephone conference with property manager regarding onsite property manager                             0.2 0.0033333         $0.47
2019         Disposition                                          information that is required for future sales of properties (.2).
November     Business                11/08/19 NM              260 correspond with E. Duff regarding property expenditures and prioritizing reserves (.4).                  0.4 0.0038835         $1.01
2019         Operations
November     Business                11/11/19 NM              260 correspond with E. Duff regarding the same (.2).                                                         0.2 0.0019417         $0.50
2019         Operations
November     Business                11/15/19 ED              390 call with accountant regarding information needed for preparation of September accounting                0.4 0.0038835         $1.51
2019         Operations                                           reports (.4)
November     Business                11/15/19 ED              390 Preliminary review of October financial reports from property managers (1.1)                             1.1 0.0106796         $4.17
2019         Operations
November     Business                11/19/19 AW              140 Confer with E. Duff and attention to email regarding costs of reinstatement of certain entities          0.1 0.0009709         $0.14
2019         Operations                                           (.1)
November     Business                11/19/19 AW              140 research regarding reinstatement costs, email to E. Duff regarding same, and follow up                   0.6 0.0058252         $0.82
2019         Operations                                           research and communication regarding process (.6).
November     Business                11/19/19 ED              390 call with accountant regarding September reporting (.2).                                                 0.2 0.0019417         $0.76
2019         Operations


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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
November     Business                11/21/19 JR              140 Review and update real estate tax balances on the remainder of properties that have not yet           2.3 0.0244681         $3.43
2019         Operations                                           been sold.
November     Business                11/24/19 JR              140 Review financial statements received from property managers and compare data to                       1.8 0.0174757         $2.45
2019         Operations                                           accounting financial statements from Receiver's accountant.
November     Business                11/25/19 ED              390 review of October financial reporting from property managers (.9).                                    0.9 0.0087379         $3.41
2019         Operations
November     Business                11/26/19 ED              390 review and analysis of documentation regarding October property expenditures from                     0.7 0.0067961         $2.65
2019         Operations                                           receivership account and email correspondence with K. Pritchard regarding additional details
                                                                  needed (.7)
November     Business                11/26/19 ED              390 confer with J. Rak regarding review of September accounting reports and send additional               0.3 0.0029126         $1.14
2019         Operations                                           information for review (.3)
November     Business                11/27/19 JR              140 review financial statements for E. Duff received from accountant and property manager                 2.8 0.0271845         $3.81
2019         Operations                                           (2.8).
November     Business                11/28/19 JR              140 Update spreadsheet for K. Duff pertaining to real estate taxes for certain properties (.6)            0.6 0.0066667         $0.93
2019         Operations
November     Claims                  11/26/19 ED              390 Send financial reporting and receivership expenditure information to accountant for                   0.4 0.0038835         $1.51
2019         Administration                                       preparation of October accounting reports to lenders.
             & Objections

November     Claims                  11/30/19 ED              390 Review of September property reports from accountant (3.8)                                            3.8 0.0368932        $14.39
2019         Administration
             & Objections

November     Claims                  11/30/19 ED              390 prepare draft email correspondence to transmit September accounting reports to lenders                0.5 0.0048544         $1.89
2019         Administration                                       (.5).
             & Objections

December     Business                12/04/19 KBD             390 confer with E. Duff regarding property insurance and communications with broker (.1)                  0.1 0.0010526         $0.41
2019         Operations
December     Business                12/06/19 KBD             390 telephone conference with bank representative regarding transfer of funds for insurance               0.1 0.0010526         $0.41
2019         Operations                                           premium payment (.1)
December     Business                12/10/19 KBD             390 study property manager financial reporting (.5)                                                       0.5 0.0081967         $3.20
2019         Operations
December     Asset                   12/05/19 JR              140 exchange correspondence with property manager relating to same (.2)                                   0.2 0.0021053         $0.29
2019         Disposition
December     Asset                   12/12/19 JR              140 exchange correspondence with E. Duff relating to a discrepancy in the financial statements            0.3 0.0029126         $0.41
2019         Disposition                                          (.3)
December     Asset                   12/12/19 JR              140 produce financial reporting documents received from E. Duff and accounting firm in                    0.8    0.007767       $1.09
2019         Disposition                                          preparation for review (.8)
December     Asset                   12/16/19 AEP             390 teleconference with receivership broker regarding current status of closings, status of               0.2 0.0021053         $0.82
2019         Disposition                                          remediation of fire-damaged properties and effect on current offers, and timing of future
                                                                  motions to approve sales (.2).




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
December     Asset                   12/27/19 JR              140 Update closing checklists for various properties that remain in the portfolio, with                  5.9 0.0728395        $10.20
2019         Disposition                                          organization of closing documents and the start of preparation for closings (5.9)
December     Asset                   12/27/19 JR              140 updates to all closing statements with unit and lot size and real estate tax payment status          2.4 0.0296296         $4.15
2019         Disposition                                          and information (2.4).
December     Business                12/02/19 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by            1.1 0.0106796         $1.50
2019         Operations                                           property basis and prepare same.
December     Business                12/06/19 KMP             140 Prepare form for transfer of funds to financing company for installment insurance premium            0.4 0.0042105         $0.59
2019         Operations                                           financing agreement and conferences with K. Duff and bank representative regarding same.

December     Business                12/10/19 ED              390 Review and analysis of correspondence and documents relating to December receivership                0.4 0.0038835         $1.51
2019         Operations                                           expenses.
December     Business                12/11/19 ED              390 confer with K. Duff regarding insurance issues (.1).                                                 0.1 0.0010526         $0.41
2019         Operations
December     Business                12/11/19 ED              390 Review statements from property manager regarding November financial performance of                  0.8    0.007767       $3.03
2019         Operations                                           properties and accounts payable (.8)
December     Business                12/12/19 ED              390 and begin review of draft reports (.6).                                                              0.6 0.0058252         $2.27
2019         Operations
December     Business                12/12/19 ED              390 Email correspondence with accountant and J. Rak regarding drafts of October accounting               0.2 0.0019417         $0.76
2019         Operations                                           reports (.2)
December     Business                12/27/19 ED              390 Review of draft October accounting reports with J. Rak notes, and email correspondence               0.8    0.007767       $3.03
2019         Operations                                           with accountant regarding comments and corrections.
December     Business                12/30/19 ED              390 Review revised drafts of October property accounting reports.                                        0.8    0.007767       $3.03
2019         Operations
December     Claims                  12/02/19 ED              390 Send September accounting reports to lenders and counsel (1.7)                                       1.7 0.0165049         $6.44
2019         Administration
             & Objections

December     Claims                  12/02/19 ED              390 and prepare analysis of remaining amounts of rent to be restored and amounts reimbursable            0.9 0.0087379         $3.41
2019         Administration                                       from properties (.9)
             & Objections

December     Claims                  12/02/19 MR              390 attention to various revenue reconciliation reports (.1).                                            0.1 0.0023256         $0.91
2019         Administration
             & Objections

December     Claims                  12/20/19 ED              390 Begin review of drafts of October accounting reports to lenders.                                     2.8 0.0271845        $10.60
2019         Administration
             & Objections

December     Claims                  12/23/19 ED              390 Confer with J. Rak regarding review and comments on draft October accounting reports to              0.3 0.0029126         $1.14
2019         Administration                                       lenders.
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                              Task Description                                  Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
December     Claims                  12/23/19 JR              140 confer with E. Duff regarding same and review several discrepancies (.3).                            0.3 0.0029126         $0.41
2019         Administration
             & Objections

December     Claims                  12/23/19 JR              140 Analyze financial statements and compare analysis with property manager's information and            6.4 0.0621359         $8.70
2019         Administration                                       accountant 's information (6.4)
             & Objections

December     Claims                  12/27/19 ED              390 draft email correspondence to lenders' counsel relating to October accounting reports (.4).          0.4 0.0038835         $1.51
2019         Administration
             & Objections

January      Business                01/06/20 KBD             390 telephone conferences with bank representatives regarding fund transfers for insurance and           0.2 0.0021978         $0.86
2020         Operations                                           expense payments (.2)
January      Business                01/15/20 KBD             390 Study financial reporting from property managers (.7)                                                0.7    0.012069       $4.71
2020         Operations
January      Claims                  01/24/20 KBD             390 Exchange correspondence with lenders' counsel regarding meeting to discuss claims process            0.3 0.0033708         $1.31
2020         Administration                                       and confer with M. Rachlis regarding planning for meeting (.3)
             & Objections

January      Claims                  01/25/20 KBD             390 telephone conference with M. Rachlis regarding same (.9).                                            0.9 0.0101124         $3.94
2020         Administration
             & Objections

January      Asset                   01/05/20 AEP             390 read and respond to e-mail from receivership broker regarding status of motion to approve            0.1 0.0027027         $1.05
2020         Disposition                                          marketing of single-family residence portfolio (.1).
January      Asset                   01/06/20 AEP             390 Teleconference with counsel for secured lender associated with loans on single-family                0.1 0.0027027         $1.05
2020         Disposition                                          residences regarding timing of contemplated motion to approve marketing and sale of
                                                                  portfolio (.1)
January      Asset                   01/16/20 JR              140 review emails from E. Duff regarding financial reporting relating to loan balances (1.6)             1.6    0.015534       $2.17
2020         Disposition
January      Asset                   01/16/20 JR              140 print property income statements for all properties received from accountant and prepare             1.2 0.0116505         $1.63
2020         Disposition                                          for further review (1.2).
January      Asset                   01/20/20 JR              140 further correspondence providing documents regarding same (.3)                                       0.3 0.0031579         $0.44
2020         Disposition
January      Asset                   01/27/20 JR              140 review paper real estate tax bills (1.8).                                                            1.8 0.0193548         $2.71
2020         Disposition
January      Asset                   01/30/20 AEP             390 Review surveys and survey invoices received in connection with various single-family                 0.4 0.0108108         $4.22
2020         Disposition                                          residences and update portfolio spreadsheet accordingly.
January      Asset                   01/30/20 JR              140 review surveys and invoices received from the surveying company and save to the                      1.3 0.0351351         $4.92
2020         Disposition                                          corresponding electronic files for various single family homes (1.3)
January      Asset                   01/31/20 AEP             390 review surveys and survey invoices received in connection with various single-family                 0.3 0.0081081         $3.16
2020         Disposition                                          residences and update portfolio spreadsheet accordingly (.3).


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
January      Asset                   01/31/20 AEP             390 Conference call with counsel for lender holding mortgage interests in single-family residence            0.2 0.0054054         $2.11
2020         Disposition                                          portfolio regarding valuations, new issues affecting title, and other related matters (.2)

January      Business                01/02/20 ED              390 Email correspondence with accountant regarding additional comments and corrections to                    0.5 0.0048544         $1.89
2020         Operations                                           October reports.
January      Business                01/07/20 KMP             140 Study communications with property manager regarding November reporting (.1)                             0.1 0.0014706         $0.21
2020         Operations
January      Business                01/09/20 ED              390 review and analysis of information regarding receivership funds sent to property manager                 1.6    0.015534       $6.06
2020         Operations                                           (1.6)
January      Business                01/13/20 ED              390 preliminary review of December financial reporting (.5).                                                 0.5 0.0048544         $1.89
2020         Operations
January      Business                01/17/20 ED              390 call with accountant to discuss preparation of analysis of total receivership contributions and          0.1 0.0009709         $0.38
2020         Operations                                           expenditures to properties (.1).
January      Business                01/22/20 ED              390 Review format for analysis of receivership expenditures by property (.2)                                 0.2 0.0019417         $0.76
2020         Operations
January      Business                01/22/20 ED              390 review revised November accounting reports (.7).                                                         0.7 0.0067961         $2.65
2020         Operations
January      Business                01/22/20 ED              390 calls with accountant regarding same (.3)                                                                0.3 0.0029126         $1.14
2020         Operations
January      Business                01/23/20 KMP             140 Prepare form for transfer of funds to premium finance company for payment of property                    0.4 0.0042105         $0.59
2020         Operations                                           insurance and communications with K. Duff and bank representatives regarding same (.4)

January      Claims                  01/06/20 ED              390 Review revised October accounting reports and email correspondence with accountant                       1.6    0.015534       $6.06
2020         Administration                                       regarding questions and corrections.
             & Objections

January      Claims                  01/06/20 JR              140 Review emails and exchange correspondence with E. Duff regarding financial statements                    0.4 0.0038835         $0.54
2020         Administration                                       received from accountant and provide to E. Duff for review.
             & Objections

January      Claims                  01/07/20 ED              390 Final review of October accounting reports for properties with institutional debt, and                   1.2 0.0116505         $4.54
2020         Administration                                       transmit to lenders' counsel.
             & Objections

January      Claims                  01/16/20 ED              390 preliminary review of December financial reporting from property manager and details                     0.6 0.0058252         $2.27
2020         Administration                                       regarding receivership income and expenditures (.6).
             & Objections

January      Claims                  01/16/20 ED              390 review email correspondence from accountant regarding receiver's property accounting                     0.2 0.0019417         $0.76
2020         Administration                                       reports through November 2019 (.2)
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Claims                  01/20/20 JR              140 Prepare property management statements for December in preparation for review after                    0.6 0.0058252         $0.82
2020         Administration                                       accountant provides his copies for review.
             & Objections

January      Claims                  01/21/20 ED              390 confer with J. Rak regarding review of November property accounting reports (.2)                       0.2 0.0019417         $0.76
2020         Administration
             & Objections

January      Claims                  01/21/20 ED              390 draft correspondence to lenders and counsel relating to November 2019 accounting reports               0.7 0.0067961         $2.65
2020         Administration                                       to lenders (.7)
             & Objections

January      Claims                  01/21/20 ED              390 review of November property accounting reports (2.5).                                                  2.5 0.0242718         $9.47
2020         Administration
             & Objections

January      Claims                  01/23/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by              1.1 0.0106796         $1.50
2020         Administration                                       property basis with addition of properties that have no institutional debt, and prepare same.
             & Objections

January      Claims                  01/27/20 ED              390 prepare analysis of application of net proceeds from sold properties to rent restoration and           1.5 0.0145631         $5.68
2020         Administration                                       remaining amounts reimbursable to receivership (1.5).
             & Objections

January      Claims                  01/27/20 ED              390 Review and analysis of financial reporting, and email correspondence with accountant                   0.3 0.0029126         $1.14
2020         Administration                                       regarding preparation of monthly summary of receivership expenditures (.3)
             & Objections

February     Asset                   02/10/20 KBD             390 exchange correspondence with A. Porter regarding sale of single-family home portfolio,                 0.2 0.0054054         $2.11
2020         Disposition                                          motion to approve, and timing (.2)
February     Asset                   02/11/20 KBD             390 exchange correspondence with real estate broker regarding sales timing for various                     0.2 0.0022222         $0.87
2020         Disposition                                          properties (.2)
February     Asset                   02/11/20 KBD             390 exchange correspondence with real estate broker and A. Porter regarding sale process and               0.2 0.0022222         $0.87
2020         Disposition                                          title work (.2)
February     Asset                   02/18/20 KBD             390 Study and revise motion to approve marketing and sale of single-family residence portfolio             1.5 0.0405405        $15.81
2020         Disposition                                          and exhibits.
February     Asset                   02/19/20 KBD             390 study and revise motion to approve listing for sale single family home portfolio (.5).                 0.5 0.0135135         $5.27
2020         Disposition
February     Asset                   02/20/20 KBD             390 work on single family home motion and valuation issues with M. Rachlis and A. Porter (1.1)             1.1 0.0297297        $11.59
2020         Disposition
February     Asset                   02/20/20 KBD             390 Work with A. Porter on motion to approve listing of single family home portfolio (1.2)                 1.2 0.0324324        $12.65
2020         Disposition




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
February     Asset                   02/20/20 KBD         390 draft correspondence to real estate broker regarding potential purchaser (.1)                        0.1 0.0011111         $0.43
2020         Disposition
February     Asset                   02/21/20 KBD         390 draft correspondence to J. Rak regarding preparation for marketing and sale of properties            0.2 0.0054054         $2.11
2020         Disposition                                      (.2).
February     Asset                   02/22/20 KBD         390 draft correspondence regarding publication notice (.2).                                              0.2 0.0054054         $2.11
2020         Disposition
February     Asset                   02/24/20 KBD         390 exchange correspondence with real estate broker regarding potential purchaser (.1).                  0.1 0.0011111         $0.43
2020         Disposition
February     Asset                   02/24/20 KBD         390 study portfolio summary and correspondence from A. Porter regarding same (.4)                        0.4 0.0045455         $1.77
2020         Disposition
February     Asset                   02/26/20 KBD         390 exchange correspondence with real estate broker regarding potential purchasers of                    0.2 0.0054054         $2.11
2020         Disposition                                      properties (.2).
February     Asset                   02/27/20 KBD         390 Telephone conference with A. Porter regarding process for sale of single family home                 0.2 0.0054054         $2.11
2020         Disposition                                      portfolio and communications with broker and lender's counsel relating to same (.2)

February     Asset                   02/28/20 KBD         390 study motion to approve sale of single-family residence portfolio and exchange                       0.3 0.0081081         $3.16
2020         Disposition                                      correspondence regarding same (.3).
February     Business                02/10/20 KBD         390 exchange correspondence with J. Rak regarding real estate taxes and property manager                 0.1 0.0011111         $0.43
2020         Operations                                       financial reporting (.1)
February     Business                02/11/20 KBD         390 study draft reports relating to property expenses and confer and draft correspondence to E.          0.4 0.0038095         $1.49
2020         Operations                                       Duff regarding same (.4)
February     Business                02/11/20 KBD         390 Analysis of real estate taxes and exchange correspondence with J. Rak regarding same (.4)            0.4 0.0045455         $1.77
2020         Operations
February     Business                02/12/20 KBD         390 Analysis of real estate taxes, property manager financial reports, and exchange                      0.4 0.0045455         $1.77
2020         Operations                                       correspondence with J. Rak relating to same and communications with property manager.

February     Business                02/13/20 KBD         390 Study property manager financial reporting.                                                          0.4 0.0070175         $2.74
2020         Operations
February     Business                02/21/20 KBD         390 exchange correspondence with property managers and confer with J. Rak regarding payment              0.4 0.0045455         $1.77
2020         Operations                                       of real estate taxes (.4)
February     Business                02/25/20 KBD         390 review correspondence from property manager regarding payment of real estate taxes (.1)              0.1 0.0017857         $0.70
2020         Operations
February     Claims                  02/07/20 KBD         390 exchange correspondence with A. Porter and N. Mirjanich regarding timing for motions                 0.2       0.003       $1.17
2020         Administration                                   addressing properties of differing status (.2)
             & Objections

February     Asset                   02/01/20 AEP         390 Review and analyze consolidated title commitment for single-family residence portfolio and           2.2 0.0594595        $23.19
2020         Disposition                                      insert all special exceptions into motion for leave to sell single-family residences.

February     Asset                   02/03/20 AEP         390 perform title searches on all properties owned by receivership entity and revise motion for          2.5 0.0675676        $26.35
2020         Disposition                                      leave to sell single-family residences accordingly (2.5).
February     Asset                   02/05/20 AEP         390 Perform title searches on most properties owned by fund and update motion to sell single-            3.1 0.0837838        $32.68
2020         Disposition                                      family residence portfolio accordingly (3.1)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
February     Asset                   02/08/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding                4.8 0.1297297        $50.59
2020         Disposition                                          paragraphs of motion to approve marketing and sale of single-family homes portfolio (4.8)

February     Asset                   02/08/20 AEP             390 rearrange and revise introductory portions of motion to approve marketing and sale of single-           1.1 0.0297297        $11.59
2020         Disposition                                          family homes portfolio (1.1).
February     Asset                   02/09/20 AEP             390 Research public records for all properties owned by funds and finalize all corresponding                5.5 0.1486486        $57.97
2020         Disposition                                          paragraphs of motion to approve marketing and sale of single- family homes portfolio.

February     Asset                   02/10/20 AEP             390 Proofread, edit, revise, rearrange, supplement, and fact-check all paragraphs in proposed               4.0 0.1081081        $42.16
2020         Disposition                                          motion to approve sales of single-family homes portfolio and create final to-do list of
                                                                  remaining issues prior to final completion.
February     Asset                   02/10/20 NM              260 correspond with K. Duff regarding prioritizing property for sale (.1).                                  0.1 0.0011111         $0.29
2020         Disposition
February     Asset                   02/11/20 AEP             390 prepare e-mail to title insurer regarding special exceptions on single-family home portfolio            0.1 0.0027027         $1.05
2020         Disposition                                          title commitment to be waived through hold harmless letters (.1)
February     Asset                   02/11/20 JR              140 assist A. Porter on the seventh motion and create a spreadsheet of documents of record                  5.1 0.1378378        $19.30
2020         Disposition                                          needed for the motion (5.1)
February     Asset                   02/11/20 JR              140 discussion with A. Porter regarding seventh motion for court approval of process for public             0.3 0.0081081         $1.14
2020         Disposition                                          sale (.3)
February     Asset                   02/11/20 JR              140 exchange correspondence with the title company regarding same (.2).                                     0.2 0.0054054         $0.76
2020         Disposition
February     Asset                   02/12/20 JR              140 review and compare financial reports from property managers and accountant (2.8)                        2.8 0.0269231         $3.77
2020         Disposition
February     Asset                   02/12/20 JR              140 exchange communication with the title company regarding documents of record request for                 0.3 0.0081081         $1.14
2020         Disposition                                          the seventh motion to approve marketing of properties (.3)
February     Asset                   02/12/20 JR              140 review and organize various documents of record in corresponding files regarding same                   2.2 0.0594595         $8.32
2020         Disposition                                          (2.2).
February     Asset                   02/13/20 AEP             390 Teleconference with title company underwriter to review special exceptions on title                     2.8 0.0756757        $29.51
2020         Disposition                                          commitment relating to portfolio sale of single-family residences, potential waivers thereof
                                                                  and need for hold harmless letters (2.8)
February     Asset                   02/13/20 AEP             390 respond to inquiry from counsel for secured lender regarding next anticipated sales tranche             0.2 0.0054054         $2.11
2020         Disposition                                          and prospective listing prices (.2)
February     Asset                   02/14/20 AEP             390 Continuation of teleconference with title company underwriter to review special exceptions              4.1 0.1108108        $43.22
2020         Disposition                                          on title commitment for single-family residence portfolio and assignment of responsibility for
                                                                  procuring hold harmless letters, certificates of compliance, and other documents evidencing
                                                                  releases of clouds on title.
February     Asset                   02/14/20 JR              140 Exchange correspondence with the title company regarding request for documents of record                0.2 0.0054054         $0.76
2020         Disposition                                          related to the exhibits for the seventh motion.
February     Asset                   02/15/20 JR              140 Organize documents of record received from the title company related to exhibits and the                1.9 0.0513514         $7.19
2020         Disposition                                          seventh motion.
February     Asset                   02/17/20 JR              140 Finalize the organization and assembling of the remainder of documents of record related to             2.7    0.072973      $10.22
2020         Disposition                                          the 7th motion to confirm sale into electronic files (2.7)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
February     Asset                   02/18/20 AEP             390 review, update, and revise all non-title related exhibits to motion to approve marketing and               1.8 0.0486486        $18.97
2020         Disposition                                          sale of single-family home portfolio, update spreadsheet of property values to generate
                                                                  individual allocations of value and supplement motion with additional paragraphs regarding
                                                                  deferral of judicial decision on individual allocations until conclusion of portfolio sale (1.8).

February     Asset                   02/18/20 AEP             390 Review notes of teleconference with title company underwriter, insert summaries of current                 2.4 0.0648649        $25.30
2020         Disposition                                          obstacles into body of title commitment relating to single-family home portfolio, and amend
                                                                  paragraphs of motion to approve marketing and sale of said portfolio to account for
                                                                  resolution of disputed special exceptions (2.4)

February     Asset                   02/18/20 JR              140 Organize additional documents of record related to the 7th motion of single family homes                   0.8 0.0216216         $3.03
2020         Disposition                                          (.8)
February     Asset                   02/19/20 JR              140 Organize documents of record in the electronic files in preparation of filing the 7th motion to            0.7 0.0189189         $2.65
2020         Disposition                                          approve sale of single family homes (.7)
February     Asset                   02/19/20 MR              390 attention to single family home issues (.1).                                                               0.1 0.0027027         $1.05
2020         Disposition
February     Asset                   02/20/20 AEP             390 conference with K. Duff regarding proposed modifications to first draft of motion to approve               2.3 0.0621622        $24.24
2020         Disposition                                          sale of single-family residences, valuation methodology employed by receivership broker,
                                                                  applicability of credit bidding, and allocation of value (2.3)
February     Asset                   02/20/20 MR              390 attention to single family home related issues and property disposition related matters (2.3).             2.3 0.0621622        $24.24
2020         Disposition
February     Asset                   02/20/20 MR              390 Attention to various issues regarding objections to property disposition and follow up                     1.2 0.0324324        $12.65
2020         Disposition                                          regarding same (1.2)
February     Asset                   02/21/20 AEP             390 Teleconference with counsel for lender to fund entities regarding inquiries into nature of sale            0.5 0.0135135         $5.27
2020         Disposition                                          process associated with marketing of single-family residence portfolio (.5)

February     Asset                   02/24/20 AW              140 ; communicate with K. Duff and broker regarding same (.1).                                                 0.1 0.0010526         $0.15
2020         Disposition
February     Asset                   02/24/20 NM              260 Study email correspondence relating to property sales (.2)                                                 0.2 0.0054054         $1.41
2020         Disposition
February     Asset                   02/25/20 JR              140 follow up email correspondence with property manager regarding status of payments (.1)                     0.1 0.0010753         $0.15
2020         Disposition
February     Asset                   02/25/20 JR              140 review property tax payments and update all real estate tax balances related to properties                 1.2 0.0134831         $1.89
2020         Disposition                                          managed by a management company (1.2)
February     Asset                   02/28/20 AW              140 Assist in finalization of seventh motion to approve sales process and confirm delay in filing.             0.4 0.0108108         $1.51
2020         Disposition
February     Asset                   02/28/20 JR              140 consolidate exhibits for the single family home motion (1.7)                                               1.7 0.0459459         $6.43
2020         Disposition
February     Asset                   02/28/20 JR              140 review the single family motion and make changes (1.1)                                                     1.1 0.0297297         $4.16
2020         Disposition
February     Asset                   02/28/20 JR              140 obtain documents of record related to the exhibits pertaining to the single family motion (.3)             0.3 0.0081081         $1.14
2020         Disposition




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
February     Asset                   02/28/20 MR              390 Work on single family homes motion and follow up on same.                                            1.4 0.0378378        $14.76
2020         Disposition
February     Business                02/07/20 JR              140 update real estate tax balances for properties for 2018 and 2019 (2.8)                               2.8 0.0314607         $4.40
2020         Operations
February     Business                02/07/20 JR              140 Exchange correspondence with property managers regarding funds availability to pay real              0.1 0.0010753         $0.15
2020         Operations                                           estate taxes (.1)
February     Business                02/07/20 JR              140 exchange correspondence with property managers regarding same (.1).                                  0.1 0.0011236         $0.16
2020         Operations
February     Business                02/10/20 JR              140 Follow up correspondence with property manager regarding cash balance for real estate                0.1 0.0019608         $0.27
2020         Operations                                           taxes related to paying property taxes (.1)
February     Business                02/11/20 ED              390 and analysis of related receivership expenditures (.2)                                               0.2 0.0019231         $0.75
2020         Operations
February     Business                02/11/20 ED              390 review content and format of portfolio reporting draft from accountants (.3).                        0.3 0.0028846         $1.13
2020         Operations
February     Business                02/11/20 ED              390 review of policy documents regarding insurance renewal process and terms (.4)                        0.4 0.0044444         $1.73
2020         Operations
February     Business                02/11/20 ED              390 Preliminary review of December accounting reports drafts (.2)                                        0.2 0.0019231         $0.75
2020         Operations
February     Business                02/11/20 JR              140 follow up correspondence with property manager regarding available funds to pay property             0.2 0.0022727         $0.32
2020         Operations                                           taxes (.2).
February     Business                02/11/20 JR              140 Follow up correspondence with property manager regarding funds available to pay property             0.1 0.0019608         $0.27
2020         Operations                                           taxes (.1)
February     Business                02/13/20 JR              140 Review property manager's financial statements and perform a comparison analysis of both             3.9      0.0375       $5.25
2020         Operations                                           for all EquityBuild properties.
February     Business                02/19/20 ED              390 confer with A. Watychowicz regarding review of property manager's requested contract                 0.1 0.0014706         $0.57
2020         Operations                                           revisions (.1).
February     Business                02/19/20 ED              390 email to accountant with questions and comments on draft reports (.2)                                0.2 0.0019231         $0.75
2020         Operations
February     Business                02/19/20 ED              390 Review drafts of December accounting reports, including comments and notes from J. Rak               2.7 0.0259615        $10.13
2020         Operations                                           (2.7)
February     Business                02/24/20 ED              390 and call with accountant to discuss allocation of expenses (.2)                                      0.2 0.0019231         $0.75
2020         Operations
February     Business                02/24/20 ED              390 review revised December accounting reports and summary analysis (.4)                                 0.4 0.0038462         $1.50
2020         Operations
February     Business                02/24/20 ED              390 email to insurance agent regarding reductions in premiums relating to sold properties (.2).          0.2 0.0022222         $0.87
2020         Operations
February     Business                02/24/20 JR              140 Confirm payments of property taxes made by property manager.                                         0.9 0.0096774         $1.35
2020         Operations
February     Business                02/25/20 ED              390 Review of January financial reporting from property managers.                                        0.4 0.0038462         $1.50
2020         Operations
February     Business                02/26/20 AW              140 supplement reports (.3).                                                                             0.3 0.0029126         $0.41
2020         Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Business                02/26/20 AW              140 Confer with E. Duff regarding accounting reports for institutional lenders on property by                1.1 0.0106796         $1.50
2020         Operations                                           property basis with addition of properties that have no institutional debt, prepare same, and
                                                                  report missing details for several institutional lenders (1.1)

February     Claims                  02/07/20 JR              140 Produce financial reports for all properties in portfolio from accountant and organize.                  2.1 0.0201923         $2.83
2020         Administration
             & Objections

February     Claims                  02/10/20 JR              140 Begin review and organization of financial reports and compare reports from accountant and               2.6       0.025       $3.50
2020         Administration                                       property managers.
             & Objections

February     Claims                  02/12/20 JR              140 Review and compare financial reports from property managers and accountant.                              2.8 0.0269231         $3.77
2020         Administration
             & Objections

February     Claims                  02/16/20 MR              390 research and work on draft motion regarding claims process (5.0).                                        5.0 0.1351351        $52.70
2020         Administration
             & Objections

February     Claims                  02/18/20 JR              140 further review of funds wired to property manager's and resolve discrepancies (1.2)                      1.2 0.0129032         $1.81
2020         Administration
             & Objections

February     Claims                  02/18/20 JR              140 work with E. Duff regarding property manager's and accountant's review of financial                      0.2 0.0019231         $0.27
2020         Administration                                       statements (.2)
             & Objections

February     Claims                  02/24/20 ED              390 Begin preparation of correspondence to lenders' counsel transmitting December accounting                 0.5 0.0048077         $1.88
2020         Administration                                       reports.
             & Objections

February     Claims                  02/28/20 AEP             390 Insert and check all exhibit cites in brief, proofread, edit, and make final revisions to same,          3.5 0.0945946        $36.89
2020         Administration                                       edit and revise credit bid procedures.
             & Objections

February     Claims                  02/28/20 NM              260 correspond with A. Porter regarding claims submitted in connection with properties in single             1.1 0.0297297         $7.73
2020         Administration                                       family home motion and study same (1.1)
             & Objections

March 2020 Asset                     03/02/20 KBD             390 study correspondence regarding revision to motion to approve sale of properties (.2).                    0.2 0.0054054         $2.11
           Disposition




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
March 2020 Asset                     03/09/20 KBD         390 Attention to communication from potential purchaser regarding properties (.1)                       0.1 0.0011111         $0.43
           Disposition
March 2020 Asset                     03/16/20 KBD         390 exchange correspondence with M. Rachlis and A. Porter regarding single family residence             0.2 0.0054054         $2.11
           Disposition                                        motion and communications with lender's counsel (.2).
March 2020 Asset                     03/16/20 KBD         390 Draft emergency motion for relief from amended general order, exchange correspondence               2.9 0.0329545        $12.85
           Disposition                                        with M. Rachlis regarding same, and revise motion (2.9)
March 2020 Asset                     03/17/20 KBD         390 telephone conference with counsel for lender regarding single family home portfolio sales           0.1 0.0027027         $1.05
           Disposition                                        motion and motion to request amendment to briefing schedule (.1)

March 2020 Asset                     03/17/20 KBD         390 work on same with M. Rachlis and A. Porter (1.0)                                                    1.0 0.0015789         $0.62
           Disposition
March 2020 Asset                     03/17/20 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding single family residence             0.2 0.0054054         $2.11
           Disposition                                        motion (.2).
March 2020 Asset                     03/17/20 KBD         390 Draft and revise motion for relief from amended general order (.6)                                  0.6 0.0068182         $2.66
           Disposition
March 2020 Asset                     03/17/20 KBD         390 exchange correspondence and telephone conferences with real estate broker regarding                 1.1      0.0125       $4.88
           Disposition                                        marketing, listing, and showing of properties and marketplace and financial analysis (1.1)

March 2020 Asset                     03/19/20 KBD         390 Telephone conference with real estate broker regarding market conditions and sales and              0.3 0.0034091         $1.33
           Disposition                                        marketing timing and strategy (.3)
March 2020 Asset                     03/19/20 KBD         390 study correspondence from A. Porter regarding various property closings, timing, COVID-19           0.1 0.0011111         $0.43
           Disposition                                        impact, and communications with buyers representatives (.1).
March 2020 Asset                     03/21/20 KBD         390 Exchange correspondence with real estate broker regarding impact of COVID-19 on real                0.2 0.0022727         $0.89
           Disposition                                        estate marketing, showings, sales, timing, and related issues.
March 2020 Asset                     03/23/20 KBD         390 telephone conference with real estate broker regarding market conditions and property sale          0.2 0.0022222         $0.87
           Disposition                                        efforts (.2).
March 2020 Asset                     03/23/20 KBD         390 Telephone conference with A. Porter and J. Rak regarding efforts to advance sale of                 0.1 0.0011111         $0.43
           Disposition                                        properties (.1)
March 2020 Asset                     03/27/20 KBD         390 draft response to motion and telephone conferences and exchange correspondence with M.              2.5 0.0284091        $11.08
           Disposition                                        Rachlis, J. Wine, and real estate broker regarding same (2.5)

March 2020 Asset                     03/27/20 KBD         390 exchange correspondence with A. Porter regarding sale of single family residence portfolio          0.1 0.0027027         $1.05
           Disposition                                        (.1)
March 2020 Asset                     03/30/20 KBD         390 Exchange correspondence with M. Rachlis regarding single family residence motion.                   0.2 0.0054054         $2.11
           Disposition
March 2020 Business                  03/10/20 KBD         390 Study property manager financial reporting (.3)                                                     0.3 0.0052632         $2.05
           Operations
March 2020 Business                  03/10/20 KBD         390 exchange correspondence with insurance broker regarding finance agreements, premiums,               0.2 0.0022222         $0.87
           Operations                                         and renewal (.2).
March 2020 Business                  03/16/20 KBD         390 study correspondence from property manager regarding measures to address COVID-19                   0.2 0.0022222         $0.87
           Operations                                         environment (.2).
March 2020 Business                  03/17/20 KBD         390 exchange correspondence with J. Rak regarding outstanding real estate taxes (.3).                   0.3 0.0034091         $1.33
           Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2020 Business                  03/18/20 KBD             390 Exchange correspondence with J. Rak regarding outstanding real estate taxes.                            0.2 0.0022727         $0.89
           Operations
March 2020 Business                  03/19/20 KBD             390 Exchange correspondence and telephone conferences regarding property management,                        0.4 0.0045455         $1.77
           Operations                                             property expenses, and COVID-19 impact (.4)
March 2020 Business                  03/30/20 KBD             390 exchange correspondence with E. Duff and A. Watychowicz regarding property insurance                    0.3 0.0033708         $1.31
           Operations                                             issues and analysis (.3).
March 2020 Business                  03/31/20 KBD             390 Exchange correspondence with M. Rachlis regarding and study draft motion for relief from                0.3 0.0081081         $3.16
           Operations                                             amended scheduling order.
March 2020 Asset                     03/02/20 AW              140 revise certificate of service and email A. Porter regarding same (.1).                                  0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/02/20 AW              140 Confer with M. Rachlis and J. Rak regarding single family homes motion (.1)                             0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/02/20 JR              140 update property tax balances (1.6)                                                                      1.6 0.0181818         $2.55
           Disposition
March 2020 Asset                     03/02/20 MR              390 Conference with A. Watychowicz regarding issues on seventh motion for approval related to               0.1 0.0027027         $1.05
           Disposition                                            service of process notice (.1)
March 2020 Asset                     03/02/20 MR              390 attention to review and revision of motion (.8)                                                         0.8 0.0216216         $8.43
           Disposition
March 2020 Asset                     03/03/20 AW              140 Attention to final draft of seventh motion for approval of sale process and communicate with            0.1 0.0027027         $0.38
           Disposition                                            counsel regarding exhibits (.1)
March 2020 Asset                     03/03/20 AW              140 finalize motion and revise notice of motion as per suggestion from counsel (.1)                         0.1 0.0027027         $0.38
           Disposition
March 2020 Asset                     03/03/20 AW              140 file motion and exhibits with the court (.2)                                                            0.2 0.0054054         $0.76
           Disposition
March 2020 Asset                     03/03/20 AW              140 serve as per service list (.4).                                                                         0.4 0.0108108         $1.51
           Disposition
March 2020 Asset                     03/03/20 MR              390 Further attention to various filings on single family home motion and other filings (.5)                0.5 0.0135135         $5.27
           Disposition
March 2020 Asset                     03/04/20 MR              390 Attention to various motions regarding property sales.                                                  0.7 0.0184211         $7.18
           Disposition
March 2020 Asset                     03/09/20 MR              390 Attention to court orders regarding pending motions and schedule and upcoming real estate               0.3 0.0081081         $3.16
           Disposition                                            closings (.3)
March 2020 Asset                     03/10/20 MR              390 Review updated portfolio summary regarding properties.                                                  0.2 0.0022222         $0.87
           Disposition
March 2020 Asset                     03/16/20 MR              390 Attention to various issues and drafts of brief, review and edit same, and review prior orders          1.4 0.0191781         $7.48
           Disposition                                            and motions regarding same (1.4)
March 2020 Asset                     03/16/20 MR              390 attention to sales issues (.2).                                                                         0.2 0.0027397         $1.07
           Disposition
March 2020 Asset                     03/17/20 AEP             390 Read and reply to e-mails from K. Duff and M. Rachlis regarding motion to market and sell               0.1 0.0027027         $1.05
           Disposition                                            single-family home portfolio (.1)
March 2020 Asset                     03/17/20 AEP             390 teleconference with K. Duff regarding mortgagee interests in single-family residence                    0.3 0.0081081         $3.16
           Disposition                                            portfolio, and filing of motion for relief from general order continuing case calendars (.3)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                              Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2020 Asset                     03/17/20 AEP             390 review portfolio spreadsheet and prepare e-mail to M. Rachlis regarding specific number of              0.2    0.002439       $0.95
           Disposition                                            properties subject to each currently filed and pending motion for approval (.2).

March 2020 Asset                     03/17/20 AEP             390 proofread, edit, and revise draft motion for relief from General Order regarding COVID- 19              0.5 0.0060976         $2.38
           Disposition                                            and prepare e-mail to team with additional suggestions (.5)
March 2020 Asset                     03/17/20 AW              140 Work with K. Duff and M. Rachlis on motion to keep deadlines for sales motions, prepare                 1.4 0.0378378         $5.30
           Disposition                                            notice of motion, attention to multiple revisions of draft, communicate with Receivership
                                                                  team regarding same, finalize motion and file with court, serve on service list and forward to
                                                                  Judge Lee's courtroom deputy.
March 2020 Asset                     03/17/20 JR              140 update property tax balances for all properties (1.1).                                                  1.1 0.0123596         $1.73
           Disposition
March 2020 Asset                     03/19/20 JR              140 update closing checklist regarding same (.6)                                                            0.6 0.0067416         $0.94
           Disposition
March 2020 Asset                     03/19/20 JR              140 prepare and update property tax balance and property spreadsheet (1.8)                                  1.8 0.0202247         $2.83
           Disposition
March 2020 Asset                     03/23/20 MR              390 attention to various e-mail exchanges on property related sales (.3).                                   0.3 0.0041096         $1.60
           Disposition
March 2020 Asset                     03/23/20 MR              390 Further attention to various drafts of motion (.6)                                                      0.6 0.0082192         $3.21
           Disposition
March 2020 Asset                     03/31/20 MR              390 attention to issues on draft orders (.4).                                                               0.4    0.004878       $1.90
           Disposition
March 2020 Business                  03/03/20 JR              140 Update property tax spreadsheet related to properties managed by both property managers.                1.9 0.0215909         $3.02
           Operations
March 2020 Business                  03/05/20 ED              390 Confer with J. Rak regarding amounts reimbursed to receiver from sales proceeds of sold                 0.1 0.0009615         $0.38
           Operations                                             properties (.1)
March 2020 Business                  03/08/20 MR              390 Attention to e-mails and follow up regarding restoration of rent and other items.                       0.3 0.0069767         $2.72
           Operations
March 2020 Business                  03/10/20 JR              140 exchange correspondence with accountant regarding same (.1).                                            0.1 0.0009709         $0.14
           Operations
March 2020 Business                  03/10/20 JR              140 Produce and organize various financial reports from accountant related to review of same                2.8 0.0271845         $3.81
           Operations                                             (2.8)
March 2020 Business                  03/13/20 ED              390 Preliminary review of February reporting from property manager.                                         0.4 0.0038462         $1.50
           Operations
March 2020 Business                  03/18/20 JR              140 Draft property spreadsheet for outstanding 2018 property taxes and status of each property.             1.8 0.0204545         $2.86
           Operations
March 2020 Business                  03/25/20 ED              390 review materials in connection with insurance renewal process (.2).                                     0.2 0.0022222         $0.87
           Operations
March 2020 Business                  03/26/20 ED              390 Confer with A. Watychowicz regarding review of insurable properties information for policy              0.3 0.0033333         $1.30
           Operations                                             renewal and related email correspondence.
March 2020 Business                  03/27/20 JR              140 Review and compare January financial reports from property management and accountant.                   4.1 0.0398058         $5.57
           Operations
March 2020 Business                  03/30/20 ED              390 for property and liability insurance renewals, and call with K. Duff to discuss (.3)                    0.3 0.0033708         $1.31
           Operations


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
March 2020 Business                  03/30/20 ED          390 call with insurance agent regarding same (.2)                                                         0.2 0.0022472         $0.88
           Operations
March 2020 Business                  03/30/20 ED          390 and loss history (.4)                                                                                 0.4 0.0044944         $1.75
           Operations
March 2020 Business                  03/30/20 ED          390 Review revised statement of value (.4)                                                                0.4 0.0044944         $1.75
           Operations
March 2020 Claims                    03/03/20 ED          390 preparation of summary of utility refund checks received and analysis of accounts in which            0.4 0.0038835         $1.51
           Administration                                     to deposit funds (.4)
           & Objections

March 2020 Claims                    03/03/20 ED          390 Review and analysis of property expenditure details (.4)                                              0.4 0.0038835         $1.51
           Administration
           & Objections

March 2020 Claims                    03/03/20 ED          390 preparation of information to provide accountant for inclusion in January 2020 accounting             0.5 0.0048544         $1.89
           Administration                                     reports (.5)
           & Objections

March 2020 Claims                    03/03/20 ED          390 confer with J. Rak regarding closing statement details relating to repayment of receivership          0.2 0.0019417         $0.76
           Administration                                     expenditures (.2)
           & Objections

March 2020 Claims                    03/03/20 ED          390 and review of related documentation (.1).                                                             0.1 0.0009709         $0.38
           Administration
           & Objections

March 2020 Claims                    03/31/20 AW          140 revisions to email to Judge Lee's courtroom deputy regarding motion (.1)                              0.1 0.0027027         $0.38
           Administration
           & Objections

March 2020 Claims                    03/31/20 AW          140 communicate with M. Rachlis regarding motion for relief from COVID-19 order that may                  0.2 0.0054054         $0.76
           Administration                                     impact sale of properties and research regarding changed procedures (.2)
           & Objections

March 2020 Claims                    03/31/20 AW          140 finalize motion, file, and serve (.2)                                                                 0.2 0.0054054         $0.76
           Administration
           & Objections

April 2020   Asset                   04/02/20 KBD         390 telephone conference with real estate broker regarding timing of sales (.2)                           0.2 0.0022472         $0.88
             Disposition
April 2020   Asset                   04/02/20 KBD         390 telephone conference with claimant's counsel, A. Porter, and real estate broker regarding             0.4 0.0108108         $4.22
             Disposition                                      single family residence portfolio inspection, marketing, and timing (.4)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2020   Asset                   04/02/20 KBD         390 telephone conference with A. Porter and real estate broker regarding single-family residence           0.5 0.0135135         $5.27
             Disposition                                      portfolio inspection, marketing, pricing, and timing (.5)
April 2020   Asset                   04/02/20 KBD         390 address publication of single-family residence (.1).                                                   0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                   04/04/20 KBD         390 Exchange correspondence with real estate broker, M. Rachlis, and A. Porter regarding                   0.3 0.0041096         $1.60
             Disposition                                      estimated closing costs and notice of bids to lenders and telephone conference with real
                                                              estate broker relating to same.
April 2020   Business                04/08/20 KBD         390 Exchange correspondence regarding renewal of insurance.                                                0.2 0.0022989         $0.90
             Operations
April 2020   Business                04/09/20 KBD         390 exchange correspondence with insurance agent regarding policy renewal (.2)                             0.2 0.0024691         $0.96
             Operations
April 2020   Business                04/10/20 KBD         390 study property manager reporting (.3).                                                                 0.3 0.0052632         $2.05
             Operations
April 2020   Business                04/10/20 KBD         390 Exchange correspondence with insurance broker regarding renewal (.2)                                   0.2 0.0024691         $0.96
             Operations
April 2020   Business                04/11/20 KBD         390 Draft correspondence regarding properties on schedule for insurance renewal.                           0.2 0.0022989         $0.90
             Operations
April 2020   Business                04/12/20 KBD         390 Exchange correspondence with insurance broker regarding coverage and renewal for                       0.2 0.0022989         $0.90
             Operations                                       properties and review information relating to same.
April 2020   Business                04/13/20 KBD         390 Exchange correspondence with insurance broker regarding renewal of insurance and                       0.1 0.0011236         $0.44
             Operations                                       coverage issue (.1)
April 2020   Business                04/17/20 KBD         390 exchange correspondence with insurance broker regarding renewal information (.1).                      0.1 0.0011236         $0.44
             Operations
April 2020   Business                04/29/20 KBD         390 telephone conference and exchange correspondence with insurance broker regarding                       0.2 0.0024691         $0.96
             Operations                                       insurance renewal efforts and cost (.2)
April 2020   Asset                   04/01/20 AEP         390 Teleconference with local receivership broker and counsel for institutional lenders regarding          0.6 0.0162162         $6.32
             Disposition                                      market impact on single-family home portfolio and multifamily properties and prospects for
                                                              credit bidding and preparation of e-mail to receivership broker for single-family home
                                                              portfolio regarding status of motion to approve marketing process, implications of economic
                                                              downturn on timing, and approval of national home inspection service (.6)

April 2020   Asset                   04/01/20 AEP         390 revise proposed order associated with motion to approve marketing and sale of single-family            0.2 0.0054054         $2.11
             Disposition                                      residence portfolio (.2)
April 2020   Asset                   04/01/20 MR          390 review order on clarification and other orders (.2)                                                    0.2    0.002439       $0.95
             Disposition
April 2020   Asset                   04/02/20 AEP         390 teleconference with K. Duff and receivership broker regarding marketing plans for single-              0.5 0.0135135         $5.27
             Disposition                                      family home portfolio and effects of economic downturn on timing of publication of sale (.5)

April 2020   Asset                   04/02/20 AEP         390 teleconference with K. Duff, receivership broker, and counsel for institutional lender                 0.4 0.0108108         $4.22
             Disposition                                      regarding marketing process for single-family home portfolio, retention of inspection
                                                              company, and pricing and timing (.4)
April 2020   Asset                   04/02/20 AEP         390 teleconference with K. Duff regarding next steps in process of marketing single-family homes           0.1 0.0027027         $1.05
             Disposition                                      (.1)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2020   Asset                   04/02/20 MR          390 conferences with K. Duff regarding issues on single family homes (.2).                                0.2 0.0054054         $2.11
             Disposition
April 2020   Asset                   04/02/20 MR          390 Attention to proposed orders and other property related issues (.9)                                   0.9 0.0243243         $9.49
             Disposition
April 2020   Asset                   04/06/20 AEP         390 teleconference with representative of property inspection company regarding pricing of                0.4 0.0108108         $4.22
             Disposition                                      individual home inspections for single-family residence portfolio, work product delivered by
                                                              inspection service, access issues (.4).
April 2020   Asset                   04/07/20 AEP         390 prepare e-mails to property managers describing single-family home inspection process and             0.4 0.0108108         $4.22
             Disposition                                      requesting advice regarding potential cooperation of tenants with receivership requests for
                                                              brief access (.4).
April 2020   Asset                   04/10/20 AEP         390 communications with property manager regarding potential rental of single-family home                 0.1 0.0027027         $1.05
             Disposition                                      subsumed within single-family home portfolio (.1)
April 2020   Asset                   04/11/20 AEP         390 read e-mail from third-party inspection service and respond with questions regarding                  0.1 0.0027027         $1.05
             Disposition                                      contractual rights and access issues (.1)
April 2020   Asset                   04/15/20 AEP         390 review updated title commitments for remaining portfolio properties and prepare list of               0.3 0.0033708         $1.31
             Disposition                                      special exceptions requiring hold harmless indemnities (.3)
April 2020   Asset                   04/19/20 AEP         390 prepare spreadsheet of single-family homes and transmit same to inspection service (.1).              0.1 0.0027027         $1.05
             Disposition
April 2020   Asset                   04/20/20 AEP         390 update EquityBuild portfolio spreadsheet (.1)                                                         0.1 0.0011364         $0.44
             Disposition
April 2020   Business                04/10/20 ED          390 Review summary received from insurance agent regarding loss history for renewal process,              0.2 0.0022472         $0.88
             Operations                                       and related documentation and correspondence.
April 2020   Business                04/21/20 ED          390 Call and email correspondence with insurance agent regarding financial information                    0.3 0.0034091         $1.33
             Operations                                       requested in connection with underwriting process for insurance renewals (.3)

April 2020   Business                04/21/20 ED          390 call (.1)                                                                                             0.1 0.0009709         $0.38
             Operations
April 2020   Business                04/21/20 ED          390 email correspondence (.3) with K. Duff regarding reimbursable amounts by properties.                  0.3 0.0029126         $1.14
             Operations
April 2020   Claims                  04/10/20 ED          390 Review drafts of January accounting reports to claimants and analysis of related                      5.4 0.0524272        $20.45
             Administration                                   documentation regarding property income and expenses (5.4)
             & Objections

April 2020   Claims                  04/10/20 ED          390 email correspondence to accountant with comments on draft reports (.3).                               0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/13/20 AW          140 confer with E. Duff regarding financial reports (.1)                                                  0.1 0.0009709         $0.14
             Administration
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2020   Claims                  04/13/20 AW              140 prepare accounting reports on property by property basis (.9).                                        0.9 0.0087379         $1.22
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED              390 review and analysis of financial reporting and expenditure details for inclusion in February          0.7 0.0067961         $2.65
             Administration                                       accounting reports (.7)
             & Objections

April 2020   Claims                  04/13/20 ED              390 Review of revised January accounting reports (1.0)                                                    1.0 0.0097087         $3.79
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED              390 and email correspondence with A. Watychowicz regarding saving reports for transmission to             0.2 0.0019417         $0.76
             Administration                                       claimants (.2)
             & Objections

April 2020   Claims                  04/13/20 ED              390 email correspondence to accountant regarding same (.3)                                                0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/13/20 ED              390 prepare and send correspondence to lenders' counsel transmitting January property                     0.9 0.0087379         $3.41
             Administration                                       accounting reports (.9).
             & Objections

April 2020   Claims                  04/13/20 JR              140 Review financial reports for property management and compare reports from accountant.                 0.5 0.0048544         $0.68
             Administration
             & Objections

April 2020   Claims                  04/15/20 ED              390 preliminary review of March financial reporting to claimants (.3).                                    0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 Preliminary review of draft February accounting reports (.4)                                          0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 email correspondence with accountant regarding additional documentation needed for                    0.3 0.0029126         $1.14
             Administration                                       preparation of statements (.3)
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
April 2020   Claims                  04/23/20 ED              390 review and analysis of February financial reporting from property managers (.4)                     0.4 0.0038835         $1.51
             Administration
             & Objections

April 2020   Claims                  04/23/20 ED              390 and email correspondence to property manager requesting supplemental information (.3).              0.3 0.0029126         $1.14
             Administration
             & Objections

April 2020   Claims                  04/28/20 JR              140 Exchange correspondence with E. Duff and accounting firm regarding delivery and review of           0.2 0.0019417         $0.27
             Administration                                       financial statements related to February reporting.
             & Objections

April 2020   Claims                  04/29/20 JR              140 Produce financial reports for property managers and financial reports from accountant.              2.0 0.0194175         $2.72
             Administration
             & Objections

April 2020   Claims                  04/30/20 JR              140 Review and compare financial reports for properties related to February reporting received          4.6 0.0446602         $6.25
             Administration                                       from E. Duff and accountant.
             & Objections

May 2020     Asset                   05/01/20 KBD             390 attention to property inspection and valuation for single family residences (.2).                   0.2 0.0054054         $2.11
             Disposition
May 2020     Asset                   05/12/20 KBD             390 Telephone conference with real estate broker, A. Porter, and M. Rachlis regarding pricing           0.7 0.0155556         $6.07
             Disposition                                          properties for sale, communicating with claimant's counsel regarding same, and timing for
                                                                  approval of sales currently before the court.
May 2020     Asset                   05/19/20 KBD             390 Telephone conference with real estate broker regarding communications with buyer current            0.3 0.0036145         $1.41
             Disposition                                          market conditions and analysis of sales planning, strategy, and timing.

May 2020     Asset                   05/21/20 KBD             390 Study correspondence from J. Rak regarding listing and sale of properties.                          0.2 0.0024691         $0.96
             Disposition
May 2020     Asset                   05/27/20 KBD             390 exchange correspondence with A. Porter regarding inspection of properties in single family          0.1 0.0027027         $1.05
             Disposition                                          residence portfolio (.1)
May 2020     Business                05/01/20 KBD             390 draft correspondence to E. Duff regarding restoration of funds (.1).                                0.1 0.0023256         $0.91
             Operations
May 2020     Business                05/01/20 KBD             390 Telephone conference with and study correspondence from asset manager regarding                     0.2 0.0024691         $0.96
             Operations                                           property improvements, expenses, and insurance renewal (.2)
May 2020     Business                05/06/20 KBD             390 Telephone conferences with insurance broker regarding policy renewal (.2)                           0.2 0.0024691         $0.96
             Operations
May 2020     Business                05/08/20 KBD             390 Study correspondence from insurance broker regarding policy renewal (.1)                            0.1 0.0011628         $0.45
             Operations
May 2020     Business                05/08/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same and                    0.3 0.0036145         $1.41
             Operations                                           property management (.3)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                   Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
May 2020     Business                05/09/20 KBD             390 Study correspondence regarding insurance renewal quote.                                            0.2 0.0024691         $0.96
             Operations
May 2020     Business                05/11/20 KBD             390 telephone conference and exchange correspondence with asset manager regarding same                 0.3 0.0036145         $1.41
             Operations                                           (.3)
May 2020     Business                05/11/20 KBD             390 Exchange correspondence and telephone conferences with insurance broker regarding                  0.6 0.0072289         $2.82
             Operations                                           renewal of insurance (.6)
May 2020     Business                05/11/20 KBD             390 telephone conference with and study correspondence from E. Duff regarding same (.4).               0.4 0.0048193         $1.88
             Operations
May 2020     Business                05/12/20 KBD             390 study financial reporting from property manager (.3).                                              0.3 0.0054545         $2.13
             Operations
May 2020     Business                05/12/20 KBD             390 Exchange correspondence with insurance broker regarding renewal of insurance (.7)                  0.7 0.0084337         $3.29
             Operations
May 2020     Business                05/12/20 KBD             390 review correspondence from property manager regarding lease renewal and exchange                   0.2 0.0024096         $0.94
             Operations                                           correspondence with asset manager regarding same (.2)
May 2020     Business                05/13/20 KBD             390 Communicate with bank representative regarding payment of property and insurance                   0.2 0.0023529         $0.92
             Operations                                           expenses (.2)
May 2020     Business                05/18/20 KBD             390 study property expenses and financial reporting (.8).                                              0.8 0.0076923         $3.00
             Operations
May 2020     Business                05/20/20 KBD             390 study correspondence from insurance broker regarding renewal (.1).                                 0.1 0.0011765         $0.46
             Operations
May 2020     Business                05/21/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3).          0.3 0.0037037         $1.44
             Operations
May 2020     Business                05/22/20 KBD             390 review information regarding restoration of funds (.2)                                             0.2 0.0046512         $1.81
             Operations
May 2020     Business                05/22/20 KBD             390 exchange correspondence with insurance broker regarding renewal and sold properties (.3)           0.3 0.0037037         $1.44
             Operations
May 2020     Business                05/26/20 KBD             390 Attention to insurance premium payments (.1)                                                       0.1 0.0011765         $0.46
             Operations
May 2020     Business                05/28/20 KBD             390 exchange correspondence with E. Duff regarding restoration motion (.1).                            0.1 0.0023256         $0.91
             Operations
May 2020     Asset                   05/01/20 AEP             390 Teleconference with counsel for lender on single-family portfolio and various other                0.5 0.0135135         $5.27
             Disposition                                          receivership properties regarding status of scheduled closings, market timing issues,
                                                                  inspection scheduling, and other due diligence issues (.5)
May 2020     Asset                   05/06/20 JR              140 further correspondence with the property manager regarding property tax payments for 1st           0.1 0.0011494         $0.16
             Disposition                                          quarter of 2020 (.1)
May 2020     Asset                   05/06/20 JR              140 exchange correspondence with the property manager regarding same (.1).                             0.1 0.0011494         $0.16
             Disposition
May 2020     Asset                   05/07/20 JR              140 review financial reports related to all properties (1.4).                                          1.4 0.0135922         $1.90
             Disposition
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with the property manager regarding payments for property taxes            0.2 0.0035088         $0.49
             Disposition                                          (.2).
May 2020     Asset                   05/08/20 JR              140 exchange correspondence with E. Duff regarding financial reports for property management           0.1 0.0009709         $0.14
             Disposition                                          companies (.1)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2020     Asset                   05/09/20 JR              140 Produce financial reports for E. Duff related to all properties (1.8)                                  1.8 0.0174757         $2.45
             Disposition
May 2020     Asset                   05/10/20 AEP             390 prepare e-mail to property managers and third-party inspection service regarding initiation            0.2 0.0054054         $2.11
             Disposition                                          and coordination of home tour scheduling process in connection with single-family residence
                                                                  portfolio sale (.2)
May 2020     Asset                   05/10/20 AEP             390 review single family residence files and prepare plan for collecting and organizing all due            0.3 0.0081081         $3.16
             Disposition                                          diligence materials in connection with establishment of electronic due diligence room for
                                                                  prospective bidders (.3)
May 2020     Asset                   05/11/20 AEP             390 communications with property manager regarding coordination of inspections of single-                  0.1 0.0027027         $1.05
             Disposition                                          family homes (.1)
May 2020     Asset                   05/11/20 AEP             390 communications with single family home portfolio broker regarding proposed                             0.1 0.0027027         $1.05
             Disposition                                          commencement of marketing campaign (.1)
May 2020     Asset                   05/13/20 AEP             390 prepare e-mails to management companies regarding initiation of process of due diligence               0.3 0.0081081         $3.16
             Disposition                                          document collection associated with marketing of single-family residence portfolio (.3).

May 2020     Asset                   05/20/20 AEP             390 conference with clerical assistant regarding collection, inventory, and reorganization of all          0.8 0.0216216         $8.43
             Disposition                                          due diligence documentation received from property managers in connection with
                                                                  marketing of single-family residence portfolio (.8)
May 2020     Asset                   05/22/20 AEP             390 communications with property inspection service and property management company                        0.1 0.0027027         $1.05
             Disposition                                          regarding remaining obstacles to obtaining access to single-family residences (.1)

May 2020     Asset                   05/22/20 AEP             390 communications with counsel for purchaser of receivership properties regarding status of               0.1 0.0027027         $1.05
             Disposition                                          due diligence production and revisions to title commitment (.1)
May 2020     Asset                   05/24/20 AEP             390 Comprehensive review of status of preparation for marketing of single-family home                      4.4 0.1189189        $46.38
             Disposition                                          portfolio, including creation of due diligence checklist, analysis of all title exceptions
                                                                  requiring hold harmless letters, analysis of chain of title for all properties defectively
                                                                  conveyed and research into ownership of entities now reflected as titleholders, and
                                                                  inventory of property-specific leases, public assistance contracts, and utility bills.

May 2020     Business                05/01/20 KMP             140 Prepare request for funds transfer to property inspector for inspection of single family               0.4 0.0108108         $1.51
             Operations                                           homes, and communicate with K. Duff and bank regarding same.
May 2020     Business                05/01/20 MR              390 Attention to issues on motion regarding restoration of costs and other issues.                         0.2 0.0046512         $1.81
             Operations
May 2020     Business                05/07/20 ED              390 Update analysis of rent restoration and restoration amounts to Receivership from sold                  1.3 0.0126214         $4.92
             Operations                                           properties (1.3)
May 2020     Business                05/13/20 KMP             140 prepare form for funds transfer to insurance broker for down payment on financing                      0.4 0.0046512         $0.65
             Operations                                           agreement for general liability and umbrella policy and communications with K. Duff and
                                                                  bank representatives regarding same (.4)
May 2020     Business                05/13/20 KMP             140 communicate with insurance broker to confirm funds transfer (.1).                                      0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/14/20 KMP             140 Communicate with insurance premium funding company regarding contract (.1)                             0.1 0.0011628         $0.16
             Operations




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
May 2020     Business                05/18/20 AW          140 Prepare accounting reports for institutional lenders on property by property basis with             0.9 0.0087379         $1.22
             Operations                                       addition of properties that have no institutional debt, and communicate with E. Duff
                                                              regarding missing reports.
May 2020     Business                05/21/20 ED          390 and email correspondence (.3) with accountant to discuss questions and comments                     0.3 0.0029126         $1.14
             Operations                                       regarding same
May 2020     Business                05/21/20 ED          390 calls (.2)                                                                                          0.2 0.0019417         $0.76
             Operations
May 2020     Business                05/21/20 ED          390 Review draft summary report from accountant (.6)                                                    0.6 0.0058252         $2.27
             Operations
May 2020     Business                05/21/20 ED          390 phone conferences with K. Duff and K. Pritchard regarding segregated subaccounts for sales          0.5 0.0048544         $1.89
             Operations                                       proceeds of encumbered properties and property reporting regarding remaining restoration
                                                              amounts by property (.5).
May 2020     Business                05/22/20 ED          390 Review and comment on updated schedules from accountant and related email                           1.1 0.0106796         $4.17
             Operations                                       correspondence.
May 2020     Business                05/22/20 KMP         140 follow up with broker to advise of confirmation of funds transfer (.1)                              0.1 0.0011628         $0.16
             Operations
May 2020     Business                05/22/20 KMP         140 Prepare request for wire transfer of funds to insurance broker for down payment on                  0.4 0.0046512         $0.65
             Operations                                       property insurance finance agreement, and communicate with bank representative and K.
                                                              Duff regarding same (.4)
May 2020     Business                05/26/20 ED          390 email correspondence with accountant regarding comments and revisions (.2).                         0.2 0.0019417         $0.76
             Operations
May 2020     Business                05/26/20 ED          390 Review revisions to summary of restoration amounts (.3)                                             0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/26/20 KMP         140 review payment notices from insurance premium financing company and communicate with                0.2 0.0023256         $0.33
             Operations                                       K. Duff and E. Duff regarding timing and amounts of upcoming payments (.2)

May 2020     Business                05/29/20 ED          390 Review correspondence and documents.                                                                0.7 0.0067961         $2.65
             Operations
May 2020     Business                05/30/20 ED          390 Email correspondence with M. Rachlis regarding restoration of funds (.3)                            0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/30/20 ED          390 email to accountant comments on and corrections to restoration analysis (.7).                       0.7 0.0067961         $2.65
             Operations
May 2020     Business                05/30/20 MR          390 conference with E. Duff regarding same (.3).                                                        0.3 0.0029126         $1.14
             Operations
May 2020     Business                05/30/20 MR          390 Attention to restoration issues (.1)                                                                0.1 0.0023256         $0.91
             Operations
May 2020     Business                05/31/20 MR          390 Work on issues on restoration to Receivership on properties (.5)                                    0.5 0.0116279         $4.53
             Operations
May 2020     Business                05/31/20 MR          390 exchanges with E. Duff regarding same (.3).                                                         0.3 0.0069767         $2.72
             Operations




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2020     Claims                  05/05/20 AW          140 Attention to email regarding claims submitted by institutional lenders, compile claims as              1.8 0.0202247         $2.83
             Administration                                   requested, and share same with Receivership team (1.8)
             & Objections

May 2020     Claims                  05/10/20 AEP         390 prepare e-mail to counsel for claimant and receivership broker regarding current strategy for          0.2 0.0054054         $2.11
             Administration                                   initiating marketing of single-family residence portfolio (.2).
             & Objections

May 2020     Claims                  05/14/20 ED          390 email correspondence with J. Rak and with accountant regarding comments and corrections                0.2 0.0019417         $0.76
             Administration                                   (.2).
             & Objections

May 2020     Claims                  05/14/20 ED          390 Review drafts of February property accounting reports (1.1)                                            1.1 0.0106796         $4.17
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 review of March financial data to send to accountants for preparation of March property                0.3 0.0029126         $1.14
             Administration                                   accounting reports (.3).
             & Objections

May 2020     Claims                  05/18/20 ED          390 Send February 2020 accounting reports to claimants' counsel (.8)                                       0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 and review of related documents (.2)                                                                   0.2 0.0019417         $0.76
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 email correspondence with A. Watychowicz regarding final February accounting reports (.1)              0.1 0.0009709         $0.38
             Administration
             & Objections

May 2020     Claims                  05/18/20 ED          390 prepare analysis of restoration amounts from sold properties (.8)                                      0.8    0.007767       $3.03
             Administration
             & Objections

May 2020     Claims                  05/20/20 ED          390 call with accountant to discuss questions on process regarding monthly accounting reports              0.5 0.0048544         $1.89
             Administration                                   (.5)
             & Objections




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2020     Claims                  05/20/20 ED          390 email correspondence with K. Pritchard regarding refunds for prepaid insurance premiums               0.1 0.0009709         $0.38
             Administration                                   relating to sold properties (.1).
             & Objections

June 2020    Asset                   06/03/20 KBD         390 Exchange correspondence with real estate broker regarding listed properties, sales, and               0.2 0.0024691         $0.96
             Disposition                                      planning for review of offers.
June 2020    Asset                   06/08/20 KBD         390 exchange correspondence and telephone conference with A. Porter regarding inspection of               0.2 0.0054054         $2.11
             Disposition                                      single family residence portfolio and effort to list for sale (.2)
June 2020    Asset                   06/17/20 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding planning for listing          0.3 0.0081081         $3.16
             Disposition                                      of single family residence portfolio (.3)
June 2020    Asset                   06/23/20 KBD         390 exchange correspondence with real estate broker regarding inspection and valuation                    0.2 0.0054054         $2.11
             Disposition                                      information for single family residence portfolio (.2).
June 2020    Asset                   06/24/20 KBD         390 study pricing summary and telephone conference with real estate broker, A. Porter, and M.             1.5 0.0185185         $7.22
             Disposition                                      Rachlis regarding same (1.5)
June 2020    Business                06/02/20 KBD         390 study information regarding restoration of funds (.3).                                                0.3 0.0068182         $2.66
             Operations
June 2020    Business                06/04/20 KBD         390 Exchange correspondence with property manager regarding status of properties (.1)                     0.1 0.0019231         $0.75
             Operations
June 2020    Business                06/06/20 KBD         390 Study draft restoration motion.                                                                       0.2 0.0045455         $1.77
             Operations
June 2020    Business                06/08/20 KBD         390 exchange correspondence with K. Pritchard regarding payment of insurance premium (.1).                0.1 0.0012048         $0.47
             Operations
June 2020    Business                06/10/20 KBD         390 exchange correspondence with insurance broker regarding insurance renewal and exchange                0.4       0.005       $1.95
             Operations                                       correspondence with E. Duff and J. Rak regarding same (.4)
June 2020    Business                06/10/20 KBD         390 Study property management reports and expenses and telephone conference with K.                       0.5     0.00625       $2.44
             Operations                                       Pritchard regarding same (.5)
June 2020    Business                06/12/20 KBD         390 study correspondence regarding restoration analysis and related issues (.3).                          0.3 0.0068182         $2.66
             Operations
June 2020    Business                06/14/20 KBD         390 Revise motion for reimbursement of property expenses (.3)                                             0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/15/20 KBD         390 Study financial reporting from property manager.                                                      0.2 0.0037736         $1.47
             Operations
June 2020    Business                06/26/20 KBD         390 attention to property expenses and study information regarding same (.2).                             0.2 0.0025641         $1.00
             Operations
June 2020    Business                06/27/20 KBD         390 Revise draft second restoration motion and research regarding same.                                   1.1       0.025       $9.75
             Operations
June 2020    Business                06/28/20 KBD         390 Draft and revise draft second restoration motion.                                                     2.8 0.0636364        $24.82
             Operations
June 2020    Business                06/29/20 KBD         390 exchange correspondence with insurance broker regarding certificate of insurance                      0.2 0.0047619         $1.86
             Operations                                       information for claimant and exchange correspondence with claimant's counsel regarding
                                                              same (.2)
June 2020    Business                06/29/20 KBD         390 Draft and revise second restoration motion and draft correspondence to M. Rachlis                     1.4 0.0318182        $12.41
             Operations                                       regarding same (1.4)


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                    Hours        Fees
June 2020    Business                06/30/20 KBD         390 exchange correspondence regarding real estate tax bills (.2).                                      0.2 0.0027397         $1.07
             Operations
June 2020    Business                06/30/20 KBD         390 Draft and revise restoration motion and exchange correspondence with K. Pritchard and M.           0.9 0.0204545         $7.98
             Operations                                       Rachlis regarding same (.9)
June 2020    Claims                  06/04/20 KBD         390 draft correspondence to lenders' counsel regarding various questions relating to lease             0.5 0.0135135         $5.27
             Administration                                   renewal and property inspections and investigate information relating to same (.5)
             & Objections

June 2020    Claims                  06/08/20 KBD         390 study claimants' response to claims process motion (.3).                                           0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/09/20 KBD         390 study objections to claims process motion (.5)                                                     0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/11/20 KBD         390 Study objections to claims process and work on response with M. Rachlis and J. Wine (2.2)          2.2 0.0247191         $9.64
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD         390 work on same with M. Rachlis (.3)                                                                  0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/15/20 KBD         390 Draft response to objections to claims process motion (6.1)                                        6.1 0.0685393        $26.73
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD         390 Work on claims motion reply with M. Rachlis (.6)                                                   0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                  06/16/20 KBD         390 analysis of letter of credit issue (.5)                                                            0.5    0.005618       $2.19
             Administration
             & Objections

June 2020    Claims                  06/18/20 KBD         390 exchange correspondence with M. Rachlis regarding claimant counsel's inquiry about credit          0.2 0.0022989         $0.90
             Administration                                   bidding (.2)
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2020    Claims                  06/19/20 KBD             390 Study and revise reply for claims process motion (.7)                                                  0.7 0.0078652         $3.07
             Administration
             & Objections

June 2020    Claims                  06/22/20 KBD             390 study SEC reply brief (.3)                                                                             0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/22/20 KBD             390 exchange correspondence from claimants' counsel regarding credit bidding (.2).                         0.2 0.0022989         $0.90
             Administration
             & Objections

June 2020    Asset                   06/05/20 JR              140 review all property tax balances and update tax balance and properties subject to tax sale             3.2 0.0385542         $5.40
             Disposition                                          related to same (3.2)
June 2020    Asset                   06/05/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                               0.1 0.0012048         $0.17
             Disposition
June 2020    Asset                   06/09/20 AEP             390 prepare final form orders for presentation to court in connection with imminent approval of            0.1 0.0027027         $1.05
             Disposition                                          7th motion to approve sales (.1)
June 2020    Asset                   06/10/20 JR              140 review water certificate applications related to properties under contract and granted by the          0.2 0.0054054         $0.76
             Disposition                                          judge to sell (.2)
June 2020    Asset                   06/10/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                             0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                   06/11/20 AEP             390 attention to all administrative and housing court proceedings and judgment orders entered              0.8 0.0097561         $3.80
             Disposition                                          against receivership properties in connection with ascertainment of final payoffs and release
                                                                  of all remaining title exceptions on properties not yet sold (.8).

June 2020    Asset                   06/15/20 AEP             390 e-mail communications with counsel for lenders associated with single-family homes                     0.2 0.0054054         $2.11
             Disposition                                          regarding irregularities in due diligence documents and prepare e-mail to inspection
                                                                  company regarding status of completion of work (.2)
June 2020    Asset                   06/16/20 AEP             390 Preliminary review and organization of inspection reports received in connection with nearly           0.6 0.0162162         $6.32
             Disposition                                          all properties in single-family residence portfolio (.6)
June 2020    Asset                   06/17/20 AEP             390 Teleconference with J. Rak regarding preparation of definitive spreadsheet of judgments                1.3 0.0351351        $13.70
             Disposition                                          entered against receivership entities, status of preparation of closing documents for next
                                                                  sales tranche, reorganization of inspection documentation produced in connection with
                                                                  single-family home portfolio, and creation of action list (1.3)

June 2020    Asset                   06/17/20 AEP             390 prepare e-mail to K. Duff and others regarding issues associated with production of certain            0.2 0.0054054         $2.11
             Disposition                                          inspection documentation in connection with marketing and sale of single-family home
                                                                  portfolio (.2)
June 2020    Asset                   06/17/20 JR              140 confer with A. Porter regarding status of properties that are closing and single family home           1.3 0.0351351         $4.92
             Disposition                                          updates to due diligence documents (1.3)




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  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
June 2020    Asset                   06/18/20 AEP             390 Communications with K. Duff, receivership broker, and counsel for claimants regarding                     0.2 0.0054054         $2.11
             Disposition                                          potential exclusion of work orders from due diligence files to be made available to
                                                                  prospective bidders on single-family residence portfolio and implications for listing price (.2)

June 2020    Asset                   06/18/20 JR              140 review of single family home due diligence folders (.1)                                                   0.1 0.0027027         $0.38
             Disposition
June 2020    Asset                   06/18/20 MR              390 attention to single family portfolio issues (.1).                                                         0.1 0.0027027         $1.05
             Disposition
June 2020    Asset                   06/19/20 AEP             390 communications with inspection vendor regarding completion of inspection reports on single-               0.1 0.0027027         $1.05
             Disposition                                          family residence portfolio (.1)
June 2020    Asset                   06/20/20 AEP             390 Review spreadsheet of 2018 property tax status on receivership properties and update                      0.2 0.0024691         $0.96
             Disposition                                          portfolio spreadsheet to plan accordingly (.2)
June 2020    Asset                   06/23/20 JR              140 review email from K. Duff regarding unsold properties (.3)                                                0.3 0.0081081         $1.14
             Disposition
June 2020    Asset                   06/24/20 MR              390 participate in call with K. Duff, A. Porter and real estate broker regarding same (1.5).                  1.5 0.0185185         $7.22
             Disposition
June 2020    Asset                   06/24/20 MR              390 Attention to sales issues for new tranche (.4)                                                            0.4 0.0049383         $1.93
             Disposition
June 2020    Business                06/01/20 ED              390 Call with M. Rachlis to discuss allocation and computation of property expenditures by                    0.7 0.0067961         $2.65
             Operations                                           receivership.
June 2020    Business                06/01/20 MR              390 conference with E. Duff regarding restoration of funds (.7).                                              0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/01/20 MR              390 Follow up on emails regarding issues on restoration (.7)                                                  0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/02/20 ED              390 email correspondence with accountant and M. Rachlis regarding same (.4).                                  0.4 0.0038835         $1.51
             Operations
June 2020    Business                06/02/20 ED              390 Prepare analysis of sold properties owing rent restoration and review of related accounting               1.9 0.0184466         $7.19
             Operations                                           reports (1.9)
June 2020    Business                06/02/20 MR              390 Attention to issues on rent restoration and follow up from E. Duff.                                       0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/03/20 ED              390 Call with accountant to discuss data for March accounting reports and review of related                   1.0 0.0097087         $3.79
             Operations                                           documents and correspondence.
June 2020    Business                06/05/20 ED              390 Email correspondence with accountant and K. Pritchard regarding receivership property                     0.2 0.0019417         $0.76
             Operations                                           expenditures during March 2020.
June 2020    Business                06/06/20 MR              390 Analysis of various issues on issues associated with restoration of funds.                                2.6 0.0604651        $23.58
             Operations
June 2020    Business                06/08/20 ED              390 Review analysis from J. Rak of restoration amounts from properties sold, and email                        0.2 0.0019417         $0.76
             Operations                                           correspondence with B. Fish regarding same.
June 2020    Business                06/08/20 MR              390 Attention to restoration issues.                                                                          0.3 0.0069767         $2.72
             Operations
June 2020    Business                06/09/20 MR              390 Attention to motion on restoration of funds.                                                              0.4 0.0090909         $3.55
             Operations




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  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
June 2020    Business                06/12/20 ED          390 and email correspondence to M. Rachlis and J. Rak regarding same (.4).                              0.4 0.0038835         $1.51
             Operations
June 2020    Business                06/12/20 ED          390 review and revise schedule of properties owing reimbursable amounts to receivership (.7)            0.7 0.0067961         $2.65
             Operations
June 2020    Business                06/12/20 MR          390 Conferences with K. Duff regarding restoration issues (.7)                                          0.7 0.0162791         $6.35
             Operations
June 2020    Business                06/12/20 MR          390 attention to emails regarding same (.2).                                                            0.2 0.0045455         $1.77
             Operations
June 2020    Business                06/23/20 ED          390 email correspondence with M. Rachlis regarding same (.5).                                           0.5 0.0048544         $1.89
             Operations
June 2020    Business                06/23/20 ED          390 Draft language to explain method for calculation of insurance adjustments in accounting             0.6 0.0058252         $2.27
             Operations                                       reports to reflect allocation of premium installment payments and refunds to sold and
                                                              unsold properties (.6)
June 2020    Business                06/23/20 MR          390 Attention to issues on restoration issues and information regarding same, and review                1.2 0.0272727        $10.64
             Operations                                       restoration, and exchanges with E. Duff regarding same.
June 2020    Business                06/24/20 ED          390 call with accountant to discuss same (.1).                                                          0.1 0.0009709         $0.38
             Operations
June 2020    Business                06/24/20 ED          390 Review of updates to draft March reports to reflect insurance adjustment calculations (.2)          0.2 0.0019417         $0.76
             Operations
June 2020    Business                06/26/20 KMP         140 prepare request forms for funds transfer relating to property manager's request and to              0.3 0.0036585         $0.51
             Operations                                       installment on insurance premium financing and communicate with K. Duff regarding same
                                                              (.3).
June 2020    Business                06/29/20 JRW         260 review and revise restoration motion (.7).                                                          0.7 0.0162791         $4.23
             Operations
June 2020    Business                06/30/20 AW          140 attention to second installment property tax bills, communicate with Receivership team              0.8 0.0109589         $1.53
             Operations                                       regarding same, and scan tax bills (.8).
June 2020    Business                06/30/20 JRW         260 multiple communications with litigation team regarding restoration motion and affected              0.5 0.0116279         $3.02
             Operations                                       properties (.5).
June 2020    Business                06/30/20 JRW         260 exchange correspondence with litigation team regarding property tax bills (.2)                      0.2 0.0027027         $0.70
             Operations
June 2020    Business                06/30/20 MR          390 Further work on restoration motion and several exchanges regarding same.                            3.0 0.0681818        $26.59
             Operations
June 2020    Claims                  06/11/20 AW          140 Review lenders' claims and supporting spreadsheets and communicate with claims vendor               0.3 0.0033708         $0.47
             Administration                                   regarding processing of remaining Excel files (.3)
             & Objections

June 2020    Claims                  06/11/20 MR          390 participate in call with J. Wine and K. Duff regarding claims process and motion (2.2).             2.2 0.0247191         $9.64
             Administration
             & Objections




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  Invoice                                       Time                                                                                                                  Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                  Task Hours
  Month                                        Keeper                                                                                                                   Hours        Fees
June 2020    Claims                  06/11/20 MR          390 Review pleading and prepare for meeting regarding claims (2.4)                                    2.4 0.0269663        $10.52
             Administration
             & Objections

June 2020    Claims                  06/15/20 MR          390 Conferences regarding issues on brief.                                                            0.3 0.0033708         $1.31
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 conferences with K. Duff regarding same (.6)                                                      0.6 0.0067416         $2.63
             Administration
             & Objections

June 2020    Claims                  06/16/20 MR          390 Review and revise brief (3.5)                                                                     3.5 0.0393258        $15.34
             Administration
             & Objections

June 2020    Claims                  06/23/20 AW          140 email exchanges with K. Duff and J. Rak regarding claims made (properties 16-57) (.3).            0.3 0.0071429         $1.00
             Administration
             & Objections

July 2020    Asset                   07/14/20 KBD         390 study correspondence regarding single family residence portfolio valuation work (.1).             0.1       0.003       $1.17
             Disposition
July 2020    Asset                   07/26/20 KBD         390 Exchange correspondence with A. Porter regarding planning for single family residence             0.2       0.006       $2.34
             Disposition                                      portfolio (.2)
July 2020    Business                07/01/20 KBD         390 Work on expenses and restoration issues with E. Duff, M. Rachlis, and K. Pritchard (1.3)          1.3 0.0302326        $11.79
             Operations
July 2020    Business                07/01/20 KBD         390 study information regarding insurance and exchange correspondence with E. Duff regarding          0.1       0.003       $1.17
             Operations                                       same (.1)
July 2020    Business                07/02/20 KBD         390 draft correspondence to lender's counsel regarding status of obtaining certificate of             0.1       0.003       $1.17
             Operations                                       insurance (.1).
July 2020    Business                07/06/20 KBD         390 Exchange correspondence with E. Duff regarding sold properties, segregated funds, and             0.2 0.0046512         $1.81
             Operations                                       restoration motion.
July 2020    Business                07/07/20 KBD         390 Work on second restoration motion and exchange correspondence regarding same (2.3)                2.3 0.0534884        $20.86
             Operations
July 2020    Business                07/09/20 KBD         390 Study revised second restoration motion (.4)                                                      0.4 0.0093023         $3.63
             Operations
July 2020    Business                07/10/20 KBD         390 work on second restoration of funds motion (.3).                                                  0.3 0.0069767         $2.72
             Operations
July 2020    Business                07/12/20 KBD         390 telephone conference with E. Duff regarding same (.2)                                             0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/12/20 KBD         390 Revise restoration motion and declaration (2.8)                                                   2.8 0.0651163        $25.40
             Operations




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2020    Business                07/13/20 KBD             390 Study revised restoration motion and declaration (.5)                                                 0.5 0.0116279         $4.53
             Operations
July 2020    Business                07/14/20 KBD             390 Revise restoration motion and declaration (.8)                                                        0.8 0.0186047         $7.26
             Operations
July 2020    Business                07/15/20 KBD             390 Review property manager financial reporting.                                                          0.4       0.008       $3.12
             Operations
July 2020    Business                07/16/20 KBD             390 Revise restoration motion and declaration (.8)                                                        0.8 0.0186047         $7.26
             Operations
July 2020    Business                07/17/20 KBD             390 Work on restoration motion and declaration (1.5)                                                      1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/17/20 KBD             390 telephone conference and exchange correspondence with E. Duff regarding same (.6)                     0.6 0.0139535         $5.44
             Operations
July 2020    Business                07/19/20 KBD             390 Work on restoration motion, declaration, and exhibits.                                                2.0 0.0465116        $18.14
             Operations
July 2020    Business                07/20/20 KBD             390 Work on restoration motion, declaration, and exhibits (2.7)                                           2.7 0.0627907        $24.49
             Operations
July 2020    Business                07/21/20 KBD             390 Study and revise draft second restoration motion and declaration and exchange                         0.7 0.0162791         $6.35
             Operations                                           correspondence with K. Pritchard and M. Rachlis regarding same (.7)
July 2020    Business                07/22/20 KBD             390 Work on consolidated motion for property sales and funds restoration (.6)                             0.6 0.0139535         $5.44
             Operations
July 2020    Business                07/24/20 KBD             390 Draft proposed order for second restoration motion.                                                   0.4 0.0093023         $3.63
             Operations
July 2020    Claims                  07/01/20 KBD             390 work on evidence of insurance for lender (.1).                                                        0.1       0.003       $1.17
             Administration
             & Objections

July 2020    Claims                  07/27/20 KBD             390 study institutional lenders' motion to intervene and draft correspondence to M. Rachlis and           0.3 0.0033708         $1.31
             Administration                                       J. Wine relating to same (.3)
             & Objections

July 2020    Asset                   07/01/20 JR              140 produce and organize all financial documents for March in preparation for review (1.3).               1.3 0.0126214         $1.77
             Disposition
July 2020    Asset                   07/09/20 JR              140 exchange correspondence with A. Porter regarding single family portfolio updates (.1).                0.1       0.003       $0.42
             Disposition
July 2020    Asset                   07/09/20 JR              140 review most recent T12 for single family homes and save in electronic folders (.6)                    0.6       0.018       $2.52
             Disposition
July 2020    Asset                   07/10/20 JR              140 Exchange correspondence with A. Porter regarding the single family portfolio required                 0.2       0.006       $0.84
             Disposition                                          updates to master due diligence spreadsheet (.2)
July 2020    Asset                   07/10/20 JR              140 update master single family portfolio spreadsheet with pertinent property information for 37          5.8       0.174      $24.36
             Disposition                                          single family homes (5.8)
July 2020    Asset                   07/10/20 JR              140 exchange correspondence with property management requesting updated due diligence                     0.1       0.003       $0.42
             Disposition                                          material for single family homes in preparation for listing (.1).




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
July 2020    Asset                   07/13/20 JR              140 exchange correspondence with property management regarding updates to due diligence                     0.1       0.003       $0.42
             Disposition                                          documents for single family homes (.1)
July 2020    Asset                   07/13/20 JR              140 review email from the utility manager regarding updated utility bills and organize for single           0.2       0.006       $0.84
             Disposition                                          family homes (.2)
July 2020    Asset                   07/13/20 JR              140 telephone conference with J. Porter, A. Watychowicz regarding single family homes and                   0.6       0.018       $2.52
             Disposition                                          investigation process related to financial documents (.6)
July 2020    Asset                   07/13/20 JR              140 further update master single family home spreadsheet with lease terms of each tenant and                2.4       0.072      $10.08
             Disposition                                          review inspection reports relating to bids and update the master single family spreadsheet
                                                                  (2.4)
July 2020    Asset                   07/13/20 JR              140 review brokers marketing spreadsheet relating to bedroom and bath sizes, review property                1.2       0.036       $5.04
             Disposition                                          manager rent roll regarding same and update master spreadsheet for single family homes
                                                                  (1.2)
July 2020    Asset                   07/14/20 AEP             390 Teleconference with J. Rak regarding status of completion of due diligence folders relating to          0.8       0.024       $9.36
             Disposition                                          single-family home portfolio and reconciliation of various sources of information into master
                                                                  spreadsheet (.8)
July 2020    Asset                   07/14/20 JR              140 review email from property management regarding bedroom bath size discrepancy for single                0.2       0.006       $0.84
             Disposition                                          family homes and discuss further with property manager regarding same (.2)

July 2020    Asset                   07/14/20 JR              140 review tax balances for all single family homes and update master spreadsheet (.9)                      0.9       0.027       $3.78
             Disposition
July 2020    Asset                   07/14/20 JR              140 review surveys for all single family homes and update master spreadsheet regarding lot size             0.8       0.024       $3.36
             Disposition                                          for each property (.8)
July 2020    Asset                   07/14/20 JR              140 update single family home master spreadsheet related to bid information for remainder of                0.6       0.018       $2.52
             Disposition                                          properties (.6)
July 2020    Asset                   07/14/20 JR              140 review leases for lease terms and security deposits and update master single family portfolio           2.2       0.066       $9.24
             Disposition                                          (2.2)
July 2020    Asset                   07/14/20 JR              140 exchange correspondence with property management requesting updated income and loss                     0.2       0.006       $0.84
             Disposition                                          statements, utility bills and various other property characteristics related to all 37 single
                                                                  family homes (.2)
July 2020    Asset                   07/14/20 JR              140 review utility bills requested from property manager and organize in electronic files related           0.4       0.012       $1.68
             Disposition                                          to single family homes (.4).
July 2020    Asset                   07/15/20 JR              140 Review emails and update master single family spreadsheet with various pertinent property               4.4       0.132      $18.48
             Disposition                                          information, bed/bath sizes, garage spaces, leases.
July 2020    Asset                   07/17/20 JR              140 update electronic files regarding same (.4)                                                             0.4       0.012       $1.68
             Disposition
July 2020    Asset                   07/17/20 JR              140 review email from property manager related to single family homes and the utility                       0.1       0.003       $0.42
             Disposition                                          responsibility for each tenant (.1)
July 2020    Asset                   07/17/20 JR              140 review utility bills related to single family homes (.8).                                               0.8       0.024       $3.36
             Disposition
July 2020    Asset                   07/17/20 JR              140 review emails and update single family home portfolio (.8)                                              0.8       0.024       $3.36
             Disposition
July 2020    Asset                   07/20/20 JR              140 review the master single family homes EB spreadsheet and compile a list of missing subsidy              0.5       0.015       $2.10
             Disposition                                          agreements and find all discrepancies (.5).


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2020    Asset                   07/20/20 JR              140 review utility statements for all single family homes and update master single family due             2.9       0.087      $12.18
             Disposition                                          diligence spreadsheet (2.9)
July 2020    Asset                   07/20/20 JR              140 exchange correspondence with property management requesting same (.2).                                0.2       0.006       $0.84
             Disposition
July 2020    Asset                   07/20/20 JR              140 Exchange correspondence with property management regarding missing items related to                   0.3       0.009       $1.26
             Disposition                                          single family homes (.3)
July 2020    Asset                   07/20/20 JR              140 exchange correspondence with property management requesting missing items (.3)                        0.3       0.009       $1.26
             Disposition
July 2020    Asset                   07/20/20 JR              140 review surveys for all single family homes and update master due diligence spreadsheet                1.2       0.036       $5.04
             Disposition                                          related to garage space for each property (1.2)
July 2020    Asset                   07/21/20 JR              140 organize electronic files and update master due diligence spreadsheet related to single               0.5       0.015       $2.10
             Disposition                                          family homes (.5)
July 2020    Asset                   07/21/20 JR              140 review email from property management related to requested due diligence documents (.2)               0.2       0.006       $0.84
             Disposition
July 2020    Asset                   07/21/20 JR              140 save in electronic folders and update master due diligence spreadsheet regarding same (.5)            0.5       0.015       $2.10
             Disposition
July 2020    Asset                   07/21/20 JR              140 exchange correspondence with property manager regarding additional information                        0.2       0.006       $0.84
             Disposition                                          pertaining to single family homes (.2)
July 2020    Asset                   07/21/20 JR              140 Review email from property management and the requested subsidy agreements regarding                  0.2       0.006       $0.84
             Disposition                                          the single family home portfolio (.2)
July 2020    Asset                   07/21/20 JR              140 review leases provided by property leasing manager and organize electronic files for various          0.2       0.006       $0.84
             Disposition                                          single family homes (.2)
July 2020    Asset                   07/22/20 AEP             390 review of relevant due diligence materials and conference with J. Rak regarding status of             1.1       0.033      $12.87
             Disposition                                          preparation of due diligence documentation in connection with conveyance of single-family
                                                                  home portfolio (1.1)
July 2020    Asset                   07/22/20 AEP             390 prepare communication to counsel for institutional lender regarding status of completion of           0.2       0.006       $2.34
             Disposition                                          due diligence folders associated with single-family homes (.2)
July 2020    Asset                   07/22/20 JR              140 meeting with A. Porter regarding single family homes master due diligence spreadsheet (.7)            0.7       0.021       $2.94
             Disposition
July 2020    Asset                   07/22/20 JR              140 exchange correspondence with property management and requesting litigation documents                  0.2       0.006       $0.84
             Disposition                                          (.2)
July 2020    Asset                   07/22/20 JR              140 review various closed properties related to current insurance and inspection issues (.1)              0.1       0.003       $0.42
             Disposition
July 2020    Asset                   07/22/20 JR              140 review email from property management regarding updates to due diligence documents for                0.2       0.006       $0.84
             Disposition                                          single family homes, request information regarding discrepancies in subsidy agreements and
                                                                  rent roll previously provided (.2).
July 2020    Asset                   07/23/20 KMP             140 Study and revise consolidated motions and prepare and revise exhibits, and numerous                   4.4 0.0656716         $9.19
             Disposition                                          communications with EB team regarding same.
July 2020    Asset                   07/24/20 JR              140 follow up correspondence with property management regarding single family home due                    0.1       0.003       $0.42
             Disposition                                          diligence document request (.1)




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  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
July 2020    Asset                   07/26/20 AEP             390 review all property-specific due diligence folders associated with single-family home                 2.4       0.072      $28.08
             Disposition                                          portfolio, eliminate duplicates, perform final reconciliation of damage repairs, cost
                                                                  estimates, lease documentation, and rental information and prepare e-mail to receivership
                                                                  broker regarding commencement of public marketing campaign (2.4)

July 2020    Asset                   07/27/20 AEP             390 begin review of all surveys in single-family residence portfolio in connection with                   0.5       0.015       $5.85
             Disposition                                          identification of encroachments likely to trigger demands for title insurance endorsements
                                                                  (.5)
July 2020    Asset                   07/27/20 JR              140 review single family portfolio and request additional updates from the property manager (.6)          0.6       0.018       $2.52
             Disposition
July 2020    Asset                   07/28/20 AEP             390 completion of communications with receivership real estate broker regarding status of due             0.1       0.003       $1.17
             Disposition                                          diligence folders in connection with marketing of single-family home portfolio (.1)

July 2020    Asset                   07/28/20 JR              140 review requested due diligence documents and request additional missing items from                    0.4       0.012       $1.68
             Disposition                                          property management regarding single family homes (.4)
July 2020    Asset                   07/28/20 JR              140 review email from real estate broker regarding updates to due diligence documents for                 0.2       0.006       $0.84
             Disposition                                          single family homes and respond regarding same (.2)
July 2020    Asset                   07/28/20 JR              140 review requested water bills for all single family homes and update property folders and              1.2       0.036       $5.04
             Disposition                                          update master single family homes spreadsheet (1.2)
July 2020    Asset                   07/28/20 JR              140 exchange correspondence with A. Porter regarding same (.1)                                            0.1       0.003       $0.42
             Disposition
July 2020    Business                07/01/20 AW              140 Attention to property tax bills, name files, and communicate with counsel regarding same              1.8 0.0666667         $9.33
             Operations                                           (1.8)
July 2020    Business                07/01/20 ED              390 telephone conference with K. Duff, M. Rachlis, and K. Pritchard regarding financial                   1.2    0.027907      $10.88
             Operations                                           information relating to same and analysis of content to include (1.2)
July 2020    Business                07/01/20 ED              390 Review draft motion regarding restoration of rent and receivership expenditures from                  0.6 0.0139535         $5.44
             Operations                                           proceeds of sale of certain properties (.6)
July 2020    Business                07/01/20 ED              390 email correspondence with M. Rachlis regarding comments, and regarding calculations (.1)              0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/01/20 ED              390 email correspondence to M. Rachlis and K. Duff regarding calculations from with accountant            0.1 0.0023256         $0.91
             Operations                                           of restoration amounts due from properties (.1).
July 2020    Business                07/01/20 ED              390 follow up conversation with K. Pritchard regarding same (.1)                                          0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/01/20 JRW             260 related review of spreadsheet (.1).                                                                   0.1 0.0023256         $0.60
             Operations
July 2020    Business                07/01/20 JRW             260 Review and comment on revisions to restoration motion (.3)                                            0.3 0.0069767         $1.81
             Operations
July 2020    Business                07/01/20 KMP             140 Various communications and conferences with EB team regarding form of and information                 0.3 0.0044776         $0.63
             Operations                                           for exhibits to proposed restoration motion (.3)
July 2020    Business                07/01/20 KMP             140 review various spreadsheets and other information and prepare spreadsheets for use as                 2.3 0.0343284         $4.81
             Operations                                           exhibits to restoration motion (2.3).
July 2020    Business                07/01/20 MR              390 Conferences with K. Duff, E. Duff and K. Pritchard and attention to restoration issues.               0.6 0.0139535         $5.44
             Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/02/20 KMP             140 Continue to review various spreadsheets and other information to prepare chart for use in              3.5 0.0522388         $7.31
             Operations                                           narrative portion of motion and communicate with K. Duff, M. Rachlis and E. Duff regarding
                                                                  same (3.5)
July 2020    Business                07/04/20 ED              390 Review drafts of March accounting reports (3.7)                                                        3.7 0.0359223        $14.01
             Operations
July 2020    Business                07/04/20 ED              390 preliminary review of May financial reporting from property managers (.4)                              0.4 0.0038835         $1.51
             Operations
July 2020    Business                07/05/20 ED              390 Review summary document regarding rent restoration amounts from accountant.                            0.2 0.0019417         $0.76
             Operations
July 2020    Business                07/05/20 MR              390 Research on restoration motion and work on same.                                                       1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/06/20 ED              390 email correspondence with accountant with comments and questions relating to March                     0.3 0.0029126         $1.14
             Operations                                           accounting report drafts (.3)
July 2020    Business                07/06/20 ED              390 review and analysis of financial reporting from property managers (.4)                                 0.4 0.0038835         $1.51
             Operations
July 2020    Business                07/06/20 ED              390 Review of comments from J. Rak regarding drafts of March accounting reports, and related               0.6 0.0058252         $2.27
             Operations                                           documentation of March property income and expense (.6)
July 2020    Business                07/06/20 ED              390 draft description of calculation of insurance reconciliation amounts for inclusion in                  0.7 0.0067961         $2.65
             Operations                                           correspondence to lenders' counsel (.7).
July 2020    Business                07/06/20 ED              390 review and analysis of calculations of amounts reimbursable from proceeds of sold                      0.7 0.0162791         $6.35
             Operations                                           properties (.7)
July 2020    Business                07/07/20 JR              140 Review property tax sale information on the Cook County treasurer's website regarding all EB           0.6       0.008       $1.12
             Operations                                           properties in the estate.
July 2020    Business                07/07/20 KMP             140 review payment notice and communicate with K. Duff regarding timing and amount for                     0.2 0.0027778         $0.39
             Operations                                           upcoming payment on insurance premium funding (.2).
July 2020    Business                07/08/20 AW              140 Communicate with K. Pritchard regarding rent restoration motion and exhibits (.1)                      0.1 0.0023256         $0.33
             Operations
July 2020    Business                07/08/20 ED              390 Call with K. Duff regarding second restoration motion.                                                 0.3 0.0069767         $2.72
             Operations
July 2020    Business                07/09/20 MR              390 Further work on second restoration motion.                                                             1.0 0.0232558         $9.07
             Operations
July 2020    Business                07/10/20 AW              140 Communicate with E. Duff regarding financial reports, prepare accounting reports for                   0.8    0.007767       $1.09
             Operations                                           institutional lenders on property by property basis with addition of properties that have no
                                                                  institutional debt, and have been sold (.8)
July 2020    Business                07/10/20 AW              140 revisions to transmittal letters to institutional lenders' counsel and communications with E.          0.8    0.007767       $1.09
             Operations                                           Duff regarding same (.8).
July 2020    Business                07/10/20 KMP             140 Prepare forms for transfers of funds to property manager for utilities at various properties           0.5 0.0069444         $0.97
             Operations                                           and for security installations (7237 Bennett, 638 N Avers), and to financing company for
                                                                  installment on insurance premium financing agreement, and communications with K. Duff
                                                                  and bank representatives regarding same (.5)
July 2020    Business                07/11/20 MR              390 Further work and research regarding second restoration motion and affidavit and revisions              2.5 0.0581395        $22.67
             Operations                                           to same.




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/13/20 AW              140 Attention to current draft of rent restoration motion, proofread and cite check same, draft            1.7 0.0395349         $5.53
             Operations                                           notice as per standing order, and email counsel regarding revisions.
July 2020    Business                07/13/20 ED              390 Update description and date relating to rent restoration and property reimbursement                    0.6 0.0139535         $5.44
             Operations                                           amounts in draft motion and declaration (.6)
July 2020    Business                07/13/20 MR              390 Further work on and revise second restoration motion.                                                  1.5 0.0348837        $13.60
             Operations
July 2020    Business                07/16/20 MR              390 Review and revise restoration motion and follow up regarding same.                                     0.9 0.0209302         $8.16
             Operations
July 2020    Business                07/17/20 AW              140 Email exchanges with K. Duff and E. Duff regarding exhibits to second restoration motion (.2)          0.2 0.0046512         $0.65
             Operations
July 2020    Business                07/17/20 ED              390 Further review and revision of draft declaration and motion relating to restoration motion             0.3 0.0069767         $2.72
             Operations                                           (.3)
July 2020    Business                07/17/20 ED              390 email correspondence to A. Watychowicz regarding content of exhibits (.1).                             0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/17/20 ED              390 email correspondence with K. Duff regarding same (.2)                                                  0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/20/20 ED              390 email correspondence with accountant regarding same (.1).                                              0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/20/20 ED              390 email correspondence with K. Duff (.2)                                                                 0.2 0.0046512         $1.81
             Operations
July 2020    Business                07/20/20 ED              390 regarding second motion for restoration, and related and document review and revision (.5)             0.5 0.0116279         $4.53
             Operations
July 2020    Business                07/20/20 KMP             140 Revise restoration motion, affidavit, and exhibit and communicate with K. Duff and A.                  1.4 0.0325581         $4.56
             Operations                                           Watychowicz regarding same.
July 2020    Business                07/20/20 MR              390 Attention to completing restoration motion.                                                            1.2    0.027907      $10.88
             Operations
July 2020    Business                07/21/20 JR              140 Review emails from E. Duff and accountant regarding financial reporting for review.                    0.2 0.0019417         $0.27
             Operations
July 2020    Business                07/21/20 KMP             140 Revise restoration motion, affidavit, and exhibits, prepare electronic version, and                    0.9 0.0209302         $2.93
             Operations                                           communicate with K. Duff regarding same (.9)
July 2020    Business                07/21/20 MR              390 Review and follow up on motion regarding restoration.                                                  0.7 0.0162791         $6.35
             Operations
July 2020    Business                07/22/20 ED              390 review and comment on draft declaration in support of motion for restoration (.4)                      0.4 0.0093023         $3.63
             Operations
July 2020    Business                07/22/20 ED              390 preliminary review of draft April accounting reports (.1)                                              0.1 0.0009709         $0.38
             Operations
July 2020    Business                07/22/20 ED              390 and email correspondence with property manager and accountant regarding same (.1).                     0.1 0.0023256         $0.91
             Operations
July 2020    Business                07/22/20 JR              140 review property information for the declaration related to restoration of funds for the                0.3 0.0029126         $0.41
             Operations                                           benefit of other properties (.3).
July 2020    Business                07/22/20 JR              140 Work with E. Duff regarding financial reporting and review of same related to April reports            0.3 0.0029126         $0.41
             Operations                                           (.3)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
July 2020    Business                07/22/20 KMP             140 communicate with EB team regarding issues relating to filing of consolidated motions (.2).             0.2 0.0029851         $0.42
             Operations
July 2020    Business                07/22/20 KMP             140 Briefly review revised drafts of restoration motion and declaration (.2)                               0.2 0.0029851         $0.42
             Operations
July 2020    Business                07/23/20 JR              140 Update property address information to exhibit 2 to second restoration motion (.2)                     0.2 0.0046512         $0.65
             Operations
July 2020    Business                07/23/20 JR              140 exchange communication with K. Pritchard and K. Duff regarding same (.1)                               0.1 0.0023256         $0.33
             Operations
July 2020    Business                07/23/20 JR              140 complete review of financial reports received from accounting firm and property                        3.7 0.0359223         $5.03
             Operations                                           management relating to all income and loss statements (3.7).
July 2020    Business                07/24/20 JR              140 Finalize review of financial income and loss reporting for all properties (.6)                         0.6 0.0058252         $0.82
             Operations
July 2020    Business                07/24/20 JR              140 exchange correspondence with E. Duff regarding financial report review and provide                     0.5 0.0048544         $0.68
             Operations                                           information related to discrepancies discovered in reports (.5).
July 2020    Business                07/24/20 KMP             140 electronically file same with court (.3)                                                               0.3 0.0044776         $0.63
             Operations
July 2020    Business                07/24/20 KMP             140 communications with EB team regarding the foregoing (.3).                                              0.3 0.0044776         $0.63
             Operations
July 2020    Business                07/29/20 ED              390 Review and analysis of financial reporting documents from property managers relating to                0.8    0.007767       $3.03
             Operations                                           preparation of April accounting reports.
July 2020    Business                07/31/20 ED              390 Review of notes from J. Rak regarding draft April reports (.1)                                         0.1 0.0009709         $0.38
             Operations
July 2020    Business                07/31/20 ED              390 correspondence with accountant with comments and corrections (.2).                                     0.2 0.0019417         $0.76
             Operations
July 2020    Business                07/31/20 ED              390 further review of reports and related financial reporting (.2)                                         0.2 0.0019417         $0.76
             Operations
July 2020    Claims                  07/01/20 JR              140 Review March property financial documents.                                                             2.4    0.023301       $3.26
             Administration
             & Objections

July 2020    Claims                  07/02/20 JRW             260 Compare lists of properties with institutional debt and related email exchange with E. Duff            0.4 0.0044944         $1.17
             Administration                                       regarding discrepancies (.4)
             & Objections

July 2020    Claims                  07/07/20 ED              390 Continue preparation of correspondence to transmit March accounting reports to lenders'                0.4 0.0038835         $1.51
             Administration                                       counsel (.4)
             & Objections

July 2020    Claims                  07/07/20 ED              390 call with accountant regarding revisions to reports and presentation of information regarding          0.2 0.0019417         $0.76
             Administration                                       remaining reimbursable amounts by property (.2).
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                     Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
July 2020    Claims                  07/09/20 ED          390 Review chart from accountant relating to reimbursable amounts from proceeds of sold                  0.3 0.0069767         $2.72
             Administration                                   properties (.3)
             & Objections

July 2020    Claims                  07/09/20 ED          390 and call (.1)                                                                                        0.1 0.0023256         $0.91
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 email correspondence (.2) regarding same                                                             0.2 0.0046512         $1.81
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 transmit March accounting reports to institutional lenders' counsel (1.7)                            1.7 0.0165049         $6.44
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 review and revise draft of affidavit (1.2)                                                           1.2    0.027907      $10.88
             Administration
             & Objections

July 2020    Claims                  07/09/20 ED          390 organize and send materials for preparation of April accounting reports to accountant (.6).          0.6 0.0058252         $2.27
             Administration
             & Objections

July 2020    Claims                  07/31/20 JRW         260 additional legal research and draft memo regarding motion to intervene (.8)                          0.8 0.0089888         $2.34
             Administration
             & Objections

August 2020 Asset                    08/07/20 KBD         390 exchange correspondence with real estate broker regarding work to list single family                 0.2       0.006       $2.34
            Disposition                                       residence portfolio (.2)
August 2020 Asset                    08/12/20 KBD         390 Telephone conference with real estate broker and counsel regarding marketing and sale of             0.5       0.015       $5.85
            Disposition                                       single family residence portfolio.
August 2020 Asset                    08/25/20 KBD         390 exchange correspondence with A. Porter regarding preparation of single family residence              0.1       0.003       $1.17
            Disposition                                       portfolio for sale (.1)
August 2020 Asset                    08/31/20 KBD         390 Telephone conference with A. Porter regarding sale of single family residence portfolio and          0.2       0.006       $2.34
            Disposition                                       additional property.
August 2020 Business                 08/25/20 KBD         390 exchange correspondence with J. Rak regarding evaluation of property taxes (.1).                     0.1 0.0014085         $0.55
            Operations
August 2020 Claims                   08/03/20 KBD         390 analysis of claimant intervention motion and exchange correspondence with J. Wine                    0.3 0.0033708         $1.31
            Administration                                    regarding same (.3)
            & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
August 2020 Claims                   08/05/20 KBD             390 study correspondence from claimant's counsel regarding intervention motion (.1)                         0.1 0.0011236          $0.44
            Administration
            & Objections

August 2020 Claims                   08/08/20 KBD             390 Legal research regarding intervention motion and claims process and draft correspondence                1.3 0.0146067          $5.70
            Administration                                        to J. Wine regarding same.
            & Objections

August 2020 Asset                    08/03/20 AEP             390 review consolidated title commitment for single-family homes portfolio, research status of              1.3       0.039       $15.21
            Disposition                                           administrative judgments identified as exceptions, prepare list of outstanding issues, and
                                                                  transmit same to title company underwriter regarding continued clearance of title
                                                                  exceptions (1.3).
August 2020 Asset                    08/05/20 AEP             390 Teleconference with title company underwriter regarding all encroachments reflected on                  2.0         0.06      $23.40
            Disposition                                           surveys of single-family homes and deletion of certain special exceptions on single-family
                                                                  homes title commitment.
August 2020 Asset                    08/11/20 JR              140 further communication with property management regarding same (.1)                                      0.1       0.003        $0.42
            Disposition
August 2020 Asset                    08/11/20 JR              140 review email from A. Porter regarding status of new applicants for the single family homes              0.1       0.003        $0.42
            Disposition                                           (.1)
August 2020 Asset                    08/12/20 AEP             390 teleconference with receivership brokers regarding initiation of marketing of single-family             0.5       0.015        $5.85
            Disposition                                           home portfolio, bidding procedures, pricing, and publication notice (.5).

August 2020 Asset                    08/12/20 MR              390 Telephone conference regarding marketing and sale of single family residence portfolio with             0.5       0.015        $5.85
            Disposition                                           asset manager, K. Duff and A. Porter.
August 2020 Asset                    08/14/20 JR              140 further communication with property management requesting updates to due diligence                      0.2       0.006        $0.84
            Disposition                                           documents for single family homes (.2)
August 2020 Asset                    08/17/20 JR              140 review email from E. Duff regarding May financial reporting and update electronic folder (.1).          0.1 0.0009709          $0.14
            Disposition
August 2020 Asset                    08/17/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1       0.003        $0.42
            Disposition                                           homes and respond regarding same (.1)
August 2020 Asset                    08/20/20 AEP             390 respond to title underwriter e-mail regarding timing of closings of properties subsumed                 0.1 0.0013699          $0.53
            Disposition                                           within eighth, ninth, and current tranches (.1)
August 2020 Asset                    08/20/20 JR              140 review email from property management regarding status of due diligence documents                       0.1       0.003        $0.42
            Disposition                                           related to single family homes (.1).
August 2020 Asset                    08/21/20 JR              140 Review email from property manager regarding updated income statements for single family                0.1       0.003        $0.42
            Disposition                                           homes and respond regarding same (.1)
August 2020 Business                 08/04/20 ED              390 email correspondence with accountant regarding comments and questions relating to same                  0.4 0.0038095          $1.49
            Operations                                            (.4)
August 2020 Business                 08/04/20 ED              390 Review and analysis of summary reporting prepared by accountant based on April                          1.9 0.0180952          $7.06
            Operations                                            accounting reports (1.9)
August 2020 Business                 08/04/20 MR              390 Attention to issues on restoration motion and issues raised by lender.                                  0.4 0.0093023          $3.63
            Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
August 2020 Business                 08/06/20 AW              140 Work on accounting reports for institutional lenders on property by property basis with             0.8    0.007767       $1.09
            Operations                                            addition of properties that have been sold, communicate with E. Duff regarding drafts that
                                                                  need to be supplemented (.8)
August 2020 Business                 08/06/20 ED              390 prepare and transmit April accounting reports to lenders' counsel (1.6).                            1.6 0.0152381         $5.94
            Operations
August 2020 Business                 08/13/20 ED              390 Email correspondence with A. Porter regarding reimbursable amounts from properties to be            0.1 0.0011765         $0.46
            Operations                                            listed for sale (.1)
August 2020 Business                 08/13/20 ED              390 review and analysis of related documents and reports (.2).                                          0.2 0.0023529         $0.92
            Operations
August 2020 Business                 08/16/20 ED              390 review and analysis of financial reporting information related to preparation of May 2020           0.3 0.0029126         $1.14
            Operations                                            accounting reports (.3)
August 2020 Business                 08/16/20 ED              390 Email to J. Wine regarding calculation of restoration due to properties (.2)                        0.2 0.0046512         $1.81
            Operations
August 2020 Business                 08/16/20 ED              390 email correspondence to accountant regarding same (.1).                                             0.1 0.0009709         $0.38
            Operations
August 2020 Business                 08/21/20 ED              390 update analysis of apparent reporting discrepancies for discussion with property manager            0.2 0.0031746         $1.24
            Operations                                            (.2)
August 2020 Business                 08/21/20 ED              390 Follow up with K. Duff, K Pritchard, and A. Porter regarding information requested by               0.3 0.0029126         $1.14
            Operations                                            accountant for preparation of May accounting reports (.3)
August 2020 Business                 08/21/20 ED              390 and email correspondence with property manager and J. Wine relating to same (.1).                   0.1 0.0015873         $0.62
            Operations
August 2020 Business                 08/24/20 JR              140 Review various property tax balances.                                                               1.1 0.0152778         $2.14
            Operations
August 2020 Business                 08/25/20 ED              390 Email correspondence with insurance agent, accountant, property manager, and A. Porter              0.4 0.0038835         $1.51
            Operations                                            regarding details and backup for information to include in May accounting reports to
                                                                  lenders.
August 2020 Business                 08/25/20 JR              140 Review property tax bills for the 2nd installment of 2019 on all properties.                        0.9      0.0125       $1.75
            Operations
August 2020 Business                 08/25/20 MR              390 Attention to follow up on objections to restoration motion and review additional materials          0.3 0.0069767         $2.72
            Operations                                            regarding same.
August 2020 Business                 08/26/20 MR              390 Attention to issues on rent restoration and follow up regarding same.                               0.3 0.0069767         $2.72
            Operations
August 2020 Claims                   08/07/20 JRW             260 conference call with K. Duff and M. Rachlis regarding EquityBuild documents and claimants'          0.9 0.0101124         $2.63
            Administration                                        motion to intervene (.9)
            & Objections

August 2020 Claims                   08/12/20 JRW             260 legal research regarding intervention by receivership claimants and related analysis to K.          1.5 0.0168539         $4.38
            Administration                                        Duff and M. Rachlis (1.5)
            & Objections

September Asset                      09/18/20 KBD             390 exchange correspondence with J. Wine regarding draft proposed order (.1).                           0.1 0.0023256         $0.91
2020      Disposition




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours         Fees
September    Business                09/15/20 KBD             390 review financial reporting from property manager (.2)                                                0.2 0.0040816          $1.59
2020         Operations
September    Business                09/15/20 KBD             390 work on real estate taxes analysis and draft correspondence to K. Pritchard regarding                0.3 0.0042857          $1.67
2020         Operations                                           payment of same (.3)
September    Business                09/17/20 KBD             390 Analysis of real estate taxes, payments, and communications with property managers and               0.7         0.01       $3.90
2020         Operations                                           lenders (.7)
September    Business                09/18/20 KBD             390 Study draft order for second restoration motion and exchange correspondence regarding                0.2 0.0046512          $1.81
2020         Operations                                           same (.2)
September    Business                09/21/20 KBD             390 exchange correspondence with K. Pritchard regarding restoration of funds (.1).                       0.1 0.0023256          $0.91
2020         Operations
September    Business                09/23/20 KBD             390 Attention to funds transfers for restoration (.2)                                                    0.2 0.0046512          $1.81
2020         Operations
September    Business                09/25/20 KBD             390 Exchange correspondence with J. Rak regarding real estate taxes (.1)                                 0.1 0.0014925          $0.58
2020         Operations
September    Claims                  09/14/20 KBD             390 exchange correspondence with claimant counsel regarding single family residence portfolio            0.1       0.003        $1.17
2020         Administration                                       (.1)
             & Objections

September Asset                      09/01/20 AEP             390 review files pertaining to single- family residence portfolio and prepare allocation of              0.3       0.009        $3.51
2020      Disposition                                             property inspection costs for insertion into May statements to be provided to institutional
                                                                  lenders (.3).
September    Asset                   09/01/20 JR              140 review email from real estate broker regarding due diligence documents related to single             0.3       0.009        $1.26
2020         Disposition                                          family homes and exchange communications regarding same (.3)
September    Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same (.1)                                    0.1 0.0013889          $0.19
2020         Disposition
September    Asset                   09/10/20 JR              140 update property tax balances for all remaining EB properties (1.8)                                   1.8       0.025        $3.50
2020         Disposition
September    Asset                   09/10/20 JR              140 exchange correspondence with K. Duff regarding same (.1)                                             0.1 0.0013889          $0.19
2020         Disposition
September    Asset                   09/10/20 JR              140 exchange correspondence with property manager regarding same and inquire on property                 0.2 0.0027778          $0.39
2020         Disposition                                          income available funds related to payment of tax balances (.2)
September    Asset                   09/11/20 JR              140 follow up correspondence with property management regarding payment of property taxes                0.2 0.0027778          $0.39
2020         Disposition                                          for all EB properties with sufficient funds (.2).
September    Asset                   09/15/20 JRW             260 Prepare proposed orders granting remainder of ninth sales motion and second motion for               0.4 0.0074074          $1.93
2020         Disposition                                          restoration (.4)
September    Asset                   09/15/20 JRW             260 draft correspondence to court regarding same (.2).                                                   0.2 0.0037037          $0.96
2020         Disposition
September    Asset                   09/16/20 JR              140 exchange correspondence with property management regarding payment of property taxes                 0.1 0.0014085          $0.20
2020         Disposition                                          of all EB properties (.1)
September    Asset                   09/18/20 JR              140 exchange correspondence with property management requesting payment of taxes for                     0.1 0.0014085          $0.20
2020         Disposition                                          properties with sufficient funds (.1)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
September Asset                      09/21/20 JR              140 review email from K. Pritchard regarding tax payments and provide requested information                0.3 0.0042254         $0.59
2020      Disposition                                             regarding same for all remaining properties in the EquityBuild Estate (.3)

September    Asset                   09/25/20 JR              140 review tax payments produced by property manager (.7).                                                 0.7 0.0097222         $1.36
2020         Disposition
September    Asset                   09/28/20 JRW             260 Email exchange regarding publication notice (.1)                                                       0.1       0.003       $0.78
2020         Disposition
September    Asset                   09/30/20 JR              140 exchange correspondence with K. Duff regarding post- reconciliation amounts for all closed             0.1 0.0015873         $0.22
2020         Disposition                                          properties (.1)
September    Asset                   09/30/20 JR              140 exchange correspondence with property management requesting third quarter property tax                 0.2 0.0030769         $0.43
2020         Disposition                                          payments (.2)
September    Asset                   09/30/20 JR              140 follow up correspondence with property management regarding same (.1)                                  0.1 0.0015873         $0.22
2020         Disposition
September    Business                09/02/20 ED              390 email correspondence with accountant to provide additional details necessary for                       0.2 0.0019417         $0.76
2020         Operations                                           preparation of May accounting reports (.2)
September    Business                09/04/20 JR              140 telephone call to the Cook County Treasurer's office and Cook County Clerk's office regarding          0.7 0.0098592         $1.38
2020         Operations                                           tax balances (.7).
September    Business                09/08/20 ED              390 review of related documents received from property manager and email correspondence                    0.3 0.0029126         $1.14
2020         Operations                                           regarding same (.3)
September    Business                09/08/20 ED              390 Email correspondence with accountant regarding additional financial reporting from                     0.2 0.0019417         $0.76
2020         Operations                                           property managers needed for preparation of May accounting reports (.2)
September    Business                09/08/20 MR              390 attention to issues on objections to restoration motion (.2).                                          0.2 0.0046512         $1.81
2020         Operations
September    Business                09/09/20 ED              390 Email correspondence with accountant and property manager following up on missing                      0.3 0.0029126         $1.14
2020         Operations                                           financial reporting information for May 2020.
September    Business                09/09/20 MR              390 Further attention to issues on objections to restoration issues.                                       0.2 0.0046512         $1.81
2020         Operations
September    Business                09/11/20 MR              390 Further work to review and revise response on second restoration motion.                               1.0 0.0232558         $9.07
2020         Operations
September    Business                09/14/20 JR              140 Follow up correspondence with property management regarding available funds for                        0.2 0.0028169         $0.39
2020         Operations                                           payment of taxes of EquityBuild properties.
September    Business                09/16/20 ED              390 correspondence with accountant and J. Rak regarding same (.2).                                         0.2 0.0019417         $0.76
2020         Operations
September    Business                09/16/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting               1.2 0.0116505         $4.54
2020         Operations                                           (1.2)
September    Business                09/18/20 JRW             260 Prepare order partially granting second restoration motion (.6)                                        0.6 0.0139535         $3.63
2020         Operations
September    Business                09/18/20 JRW             260 draft cover email to court regarding order partially granting second restoration motion (.3)           0.3 0.0069767         $1.81
2020         Operations
September    Business                09/18/20 MR              390 Attention to restoration order and emails on same.                                                     0.3 0.0069767         $2.72
2020         Operations
September    Business                09/21/20 KMP             140 Study court order relating to rent restoration and review bank records to identify account             0.8 0.0119403         $1.67
2020         Operations                                           numbers for all properties subject to order (.8)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
September    Business                09/21/20 KMP             140 confer with K. Duff regarding details of various transfers involved in restoration (.2)                    0.2 0.0029851         $0.42
2020         Operations
September    Business                09/22/20 JR              140 review email from property manager and update electronic files for various properties with                 0.2 0.0028571         $0.40
2020         Operations                                           property tax receipts (.2)
September    Business                09/22/20 JR              140 Update property tax report for all EB properties (1.2)                                                     1.2 0.0171429         $2.40
2020         Operations
September    Business                09/22/20 JR              140 review email from E. Duff relating to review of monthly May reports and respond accordingly                0.2 0.0019417         $0.27
2020         Operations                                           (.2).
September    Business                09/22/20 KMP             140 Additional communications with bank representatives regarding opening of new accounts in                   0.2 0.0054054         $0.76
2020         Operations                                           connection with anticipated account transfers to comply with restoration approved by court
                                                                  (.2)
September    Business                09/22/20 KMP             140 work on spreadsheets identifying accounts and transfer amounts in connection with same                     2.1 0.0313433         $4.39
2020         Operations                                           (2.1)
September    Business                09/23/20 ED              390 Review drafts of May accounting reports and related property manager financial reporting.                  1.2 0.0116505         $4.54
2020         Operations
September    Business                09/27/20 JR              140 Review email from K. Duff regarding payment of property taxes and respond accordingly (.2)                 0.2 0.0028571         $0.40
2020         Operations
September    Claims                  09/15/20 AW              140 revise proposed order and exhibit regarding rent restoration motion and email J. Wine                      0.1 0.0023256         $0.33
2020         Administration                                       regarding same (.1)
             & Objections

September Claims                     09/15/20 MR              390 further attention to reply on second restoration motion (.7).                                              0.7 0.0162791         $6.35
2020      Administration
          & Objections

September Claims                     09/18/20 AW              140 finalize exhibits for submission to proposed order email (.3)                                              0.3 0.0069767         $0.98
2020      Administration
          & Objections

September Claims                     09/18/20 AW              140 email J. Wine regarding spreadsheet related to second restoration motion (.1)                              0.1 0.0023256         $0.33
2020      Administration
          & Objections

October      Asset                   10/16/20 KBD             390 Work with A. Porter and J. Rak on planning for listing SFR portfolio and title exception and               0.6       0.018       $7.02
2020         Disposition                                          insurance issues (single family) (.6)
October      Asset                   10/23/20 KBD             390 confer with broker, lenders counsel, and A. Porter regarding single-family residence portfolio             0.4       0.012       $4.68
2020         Disposition                                          marketing and listing planning, title issues, due diligence materials, bid procedures, credit bid
                                                                  interest, and procedure for reviewing bids (.4)

October      Asset                   10/23/20 KBD             390 Telephone conference with real estate broker regarding efforts to sell and close on                        0.2      0.0015       $0.59
2020         Disposition                                          properties (7237 Bennett, 7109 Calumet, 648 Avers, SFR portfolio) (.2)
October      Asset                   10/23/20 KBD             390 work on preparation for marketing and listing of single-family residence portfolio and                     0.5       0.015       $5.85
2020         Disposition                                          prepare for call with broker and lenders counsel (.5)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours         Fees
October      Business                10/01/20 KBD             390 Review information from J. Rak regarding real estate taxes (.2)                                         0.2 0.0032258          $1.26
2020         Operations
October      Business                10/09/20 KBD             390 study financial reporting from property managers (.5)                                                   0.5 0.0080645          $3.15
2020         Operations
October      Business                10/13/20 KBD             390 telephone conference with E. Duff regarding property expenses and financial reporting (.3).             0.3 0.0028571          $1.11
2020         Operations
October      Business                10/20/20 KBD             390 work on restoration of funds (.3).                                                                      0.3 0.0028571          $1.11
2020         Operations
October      Business                10/20/20 KBD             390 Exchange correspondence with K. Pritchard regarding insurance issues (.2)                               0.2 0.0034483          $1.34
2020         Operations
October      Business                10/28/20 KBD             390 Exchange correspondence regarding order on second restoration motion (.2)                               0.2 0.0046512          $1.81
2020         Operations
October      Asset                   10/01/20 JR              140 Update property tax reports regarding payments and remaining balances for institutional                 0.7 0.0112903          $1.58
2020         Disposition                                          lenders (.7)
October      Asset                   10/01/20 JR              140 further review of May financial reporting (3.3)                                                         3.3 0.0320388          $4.49
2020         Disposition
October      Asset                   10/05/20 JR              140 review email from E. Duff related to May financial reports and correct discrepancies (.9)               0.9 0.0087379          $1.22
2020         Disposition
October      Asset                   10/07/20 AEP             390 prepare e-mail to receivership team regarding status of closings, stalled sales, and future             0.4 0.0064516          $2.52
2020         Disposition                                          marketing on all remaining receivership properties and additional issues to be resolved (.4).

October      Asset                   10/08/20 JR              140 review email from E. Duff related to May financial reporting and provide requested                      0.5 0.0048544          $0.68
2020         Disposition                                          information (.5)
October      Asset                   10/14/20 AEP             390 Continue reviewing due diligence folders for single-family homes, updating due diligence                2.3       0.069       $26.91
2020         Disposition                                          checklist, reconciling title commitment exceptions to EquityBuild records, and preparing bid
                                                                  procedures to govern submission of offers and selection of winning bidder.

October      Asset                   10/15/20 AEP             390 read through all title exceptions and create master list of items needed from City of Chicago           1.4       0.042       $16.38
2020         Disposition                                          and prior encumbrances to ensure conveyance of clean title at closing (1.4)

October      Asset                   10/15/20 AEP             390 review all building code violation folders to identify all potential judgments pending against          0.8       0.024        $9.36
2020         Disposition                                          single-family homes (.8)
October      Asset                   10/15/20 AEP             390 review and analyze title histories on all properties subject to title exceptions and create             2.0         0.06      $23.40
2020         Disposition                                          chain of title explanations for use with title underwriter (2.0).
October      Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding issues associated with single-family home              0.5       0.015        $5.85
2020         Disposition                                          judgments and encumbrances (single family) (.5)
October      Asset                   10/16/20 AEP             390 teleconference with K. Duff and J. Rak regarding property tax issues (.1)                               0.1       0.003        $1.17
2020         Disposition
October      Asset                   10/16/20 JR              140 Work with A. Porter and K. Duff on planning for listing single family portfolio and title               0.6       0.018        $2.52
2020         Disposition                                          exception and insurance issues (.6)
October      Asset                   10/16/20 JR              140 review tax balances for single family homes (.4).                                                       0.4       0.012        $1.68
2020         Disposition




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                            Hours        Fees
October      Asset                   10/16/20 JRW             260 Confer with K. Duff regarding publication notice for single family home portfolio.                         0.1       0.003       $0.78
2020         Disposition
October      Asset                   10/19/20 JR              140 review single family home due diligence folders and organize in preparation of sharing with                2.7       0.081      $11.34
2020         Disposition                                          interested buyers (2.7).
October      Asset                   10/22/20 JR              140 Update single family homes documents (.5)                                                                  0.5       0.015       $2.10
2020         Disposition
October      Asset                   10/22/20 JR              140 exchange correspondence with A. Porter regarding single family homes (.1)                                  0.1       0.003       $0.42
2020         Disposition
October      Asset                   10/23/20 AEP             390 teleconference with K. Duff, receivership broker, and counsel for special servicer regarding               0.5       0.015       $5.85
2020         Disposition                                          status of preparation of marketing of single-family home portfolio, including title issues, sales
                                                                  contract issues, due diligence issues, and marketing issues (.5)

October      Asset                   10/23/20 AEP             390 preliminary communications with alternative title company regarding potential issuance of                  0.3       0.009       $3.51
2020         Disposition                                          insurance over special exceptions raised by current insurer (.3)
October      Asset                   10/27/20 AEP             390 teleconference with potential new title company regarding impasses with current title                      0.7      0.0105       $4.10
2020         Disposition                                          company over deletion of special exceptions on various receivership properties (7237 S
                                                                  Bennett and single-family home portfolio) (.7).
October      Asset                   10/29/20 AEP             390 communications with former title company regarding need for hold harmless letter                           0.1       0.003       $1.17
2020         Disposition                                          associated with prospective conveyance of receivership property (.1)
October      Business                10/02/20 ED              390 Further review and analysis of drafts of May accounting reports (.9)                                       0.9 0.0087379         $3.41
2020         Operations
October      Business                10/02/20 ED              390 and email correspondence to J. Rak regarding same (.1)                                                     0.1 0.0009709         $0.38
2020         Operations
October      Business                10/02/20 ED              390 draft email correspondence to accountant requesting review of remaining discrepancies (.2).                0.2 0.0019417         $0.76
2020         Operations
October      Business                10/06/20 ED              390 Prepare summary of accounting reports prepared and delivered in third quarter (.1)                         0.1 0.0009709         $0.38
2020         Operations
October      Business                10/06/20 ED              390 draft and send email correspondence to accountant regarding discrepancies in May reports                   0.3 0.0029126         $1.14
2020         Operations                                           requiring revision (.3).
October      Business                10/07/20 ED              390 final review of May reports (1.0).                                                                         1.0 0.0097087         $3.79
2020         Operations
October      Business                10/07/20 ED              390 Review revised May reports (.4) and email correspondence to accountant with additional                     0.8    0.007767       $3.03
2020         Operations                                           comments and corrections (.2) and requesting analysis of remaining rent restoration and
                                                                  reimbursable amounts by properties. (.2)
October      Business                10/07/20 KMP             140 Prepare form for wire transfer to financing company for payment of insurance premium                       0.3 0.0048387         $0.68
2020         Operations                                           financing installment and communications with K. Duff and bank representatives regarding
                                                                  same.
October      Business                10/08/20 ED              390 review and organize financial reporting data necessary for preparation of June accounting                  0.5 0.0048544         $1.89
2020         Operations                                           reports (.5).
October      Business                10/08/20 ED              390 review of premium finance agreements executed in connection with renewals of property                      0.3 0.0048387         $1.89
2020         Operations                                           and liability insurance (.3)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
October      Business                10/08/20 ED          390 draft correspondence to lender's counsel to transmit accounting reports, including                   0.9 0.0145161         $5.66
2020         Operations                                       explanations of insurance expense for all unsold properties and inspection expenses for
                                                              certain properties (.9)
October      Business                10/08/20 ED          390 Review and revise analysis of remaining rent restoration and reimbursement amounts due as            1.5 0.0145631         $5.68
2020         Operations                                       of May 31, 2020 (1.5)
October      Business                10/09/20 AW          140 Prepare financial statements on property by property basis for service and email E. Duff             1.1 0.0106796         $1.50
2020         Operations                                       regarding reports.
October      Business                10/09/20 ED          390 Transmit May accounting reports to lenders' counsel (.6)                                             0.6 0.0058252         $2.27
2020         Operations
October      Business                10/09/20 ED          390 email correspondence with accountant regarding analyses of restoration and reimbursement             0.5 0.0048544         $1.89
2020         Operations                                       amounts (.2) organize financial data for use in preparing accounting reports (.3).

October      Business                10/13/20 ED          390 telephone conference with K. Duff to discuss property financial reporting (.3).                      0.3 0.0028571         $1.11
2020         Operations
October      Business                10/20/20 ED          390 review and analysis of schedules of rent restoration payments made pursuant Order                    0.7 0.0066667         $2.60
2020         Operations                                       approving Second Motion for Restoration of Funds Expended for the Benefit of Other
                                                              Properties (.7).
October      Business                10/20/20 ED          390 prepare draft of email correspondence to lenders' counsel regarding completion of rent               0.8    0.007619       $2.97
2020         Operations                                       restoration and future reporting from receivership, including attachments describing funds
                                                              transfers and confer with K. Duff regarding same (.8)
October      Business                10/20/20 ED          390 Telephone conference with accountant regarding updated process for preparation of                    0.3 0.0028571         $1.11
2020         Operations                                       accounting reports (.3)
October      Business                10/21/20 ED          390 Preparation for call with accountant regarding monthly review of financial reporting from            0.2 0.0019048         $0.74
2020         Operations                                       property manager (.2)
October      Business                10/26/20 ED          390 Email correspondence with accountant and J. Rak regarding development of process for                 0.7 0.0066667         $2.60
2020         Operations                                       updating financial reporting to lenders and for use in management of portfolio by Receiver.

October      Business                10/27/20 ED          390 Conference call with accountants and J. Rak to discuss preparation of property financial             1.3    0.012381       $4.83
2020         Operations                                       reporting for dissemination to lenders' counsel and tracking of restoration amounts to be
                                                              reimbursed from proceeds of property sales (1.3)
October      Business                10/27/20 ED          390 email correspondence with property manager regarding basis of reporting in monthly                   0.2 0.0019048         $0.74
2020         Operations                                       property financial reporting (.2).
October      Business                10/27/20 ED          390 preparation for same (.2)                                                                            0.2 0.0019048         $0.74
2020         Operations
October      Business                10/29/20 KMP         140 Communication with K. Duff and E. Duff regarding adjustments to insurance premium                    0.2 0.0033333         $0.47
2020         Operations                                       financing installments in light of various property sales.
October      Business                10/30/20 ED          390 Email correspondence to accountants to supply background for preparation of accounting               0.2 0.0019048         $0.74
2020         Operations                                       reports, and review of related financial information.
October      Business                10/30/20 KMP         140 prepare form for funds transfer to premium financing company for installment payment on              0.4 0.0066667         $0.93
2020         Operations                                       property insurance, and communicate with K. Duff and bank representatives regarding same
                                                              (.4)
October      Business                10/30/20 KMP         140 Communication with insurance broker regarding updated payment schedules for insurance                0.2 0.0033333         $0.47
2020         Operations                                       premium financing installments in light of various property sales (.2)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours        Fees
November     Asset                   11/17/20 KBD             390 exchange correspondence with A. Porter regarding pricing and allocation of sale proceeds                  0.2       0.006       $2.34
2020         Disposition                                          for single family residence portfolio and title company communication (.2)

November     Asset                   11/19/20 KBD             390 work on bid procedures for single family residence portfolio (.3).                                        0.3       0.009       $3.51
2020         Disposition
November     Asset                   11/20/20 KBD             390 exchange correspondence with M. Rachlis regarding sale procedures for single family                       0.1       0.003       $1.17
2020         Disposition                                          residence portfolio (.1)
November     Asset                   11/20/20 KBD             390 telephone conference with real estate broker and A. Porter regarding same (.2)                            0.2       0.006       $2.34
2020         Disposition
November     Asset                   11/20/20 KBD             390 telephone conferences with A. Porter regarding marketing of and allocation issues relating to             0.3       0.009       $3.51
2020         Disposition                                          single family residence portfolio (.3)
November     Asset                   11/21/20 KBD             390 Exchange correspondence with real estate broker and A. Porter regarding treatment of                      0.2       0.006       $2.34
2020         Disposition                                          offers for single family residence portfolio.
November     Asset                   11/28/20 KBD             390 Exchange correspondence with A. Porter regarding broker agreement and publication notice                  0.2       0.006       $2.34
2020         Disposition                                          for sale of single-family residence portfolio.
November     Asset                   11/29/20 KBD             390 Study and revise offering memorandum for sale of single-family residence portfolio and draft              0.3       0.009       $3.51
2020         Disposition                                          correspondence to A. Porter regarding same.
November     Asset                   11/30/20 KBD             390 work on offering memorandum and exchange correspondence regarding same for single-                        0.2       0.006       $2.34
2020         Disposition                                          family residence portfolio (.2)
November     Business                11/13/20 KBD             390 study property manager financial reporting (.3).                                                          0.3 0.0065217         $2.54
2020         Operations
November     Claims                  11/20/20 KBD             390 confer with claimant lenders' counsel, real estate broker, and A. Porter regarding marketing              0.6       0.018       $7.02
2020         Administration                                       of and allocation issues relating to single family residence portfolio (.6)
             & Objections

November     Asset                   11/05/20 AEP             390 continue analyzing public records and preparing memorandum to prospective new title                       3.5       0.105      $40.95
2020         Disposition                                          insurer requesting consideration of waiver of title exceptions appearing on current version of
                                                                  title commitment for single-family homes (3.5).
November     Asset                   11/06/20 AEP             390 Finalize review and analysis of remaining properties associated with title exceptions in single-          2.3       0.069      $26.91
2020         Disposition                                          family home portfolio and preparation of memorandum to prospective new title insurer
                                                                  regarding potential waiver of exceptions (2.3)
November     Asset                   11/06/20 JR              140 review outstanding tax balances and update report for unsold properties (.7)                              0.7    0.012069       $1.69
2020         Disposition
November     Asset                   11/17/20 AEP             390 teleconference with prospective new title insurer regarding issues associated with                        0.5       0.015       $5.85
2020         Disposition                                          preparation of title commitment for single-family home portfolio (.5)
November     Asset                   11/17/20 AEP             390 prepare correspondence to receivership brokers associated with single- family home                        0.2       0.006       $2.34
2020         Disposition                                          portfolio regarding preparation for marketing effort (.2).
November     Asset                   11/18/20 AEP             390 prepare e-mail to title underwriter enclosing and explaining spreadsheets containing                      0.2       0.006       $2.34
2020         Disposition                                          information pertaining to single-family home portfolio (.2)
November     Asset                   11/18/20 AEP             390 teleconference with K. Duff and J. Rak regarding final preparation for initiation of marketing            0.4       0.012       $4.68
2020         Disposition                                          of single-family home portfolio (.4)
November     Asset                   11/18/20 AEP             390 Teleconference for title company underwriter regarding issues associated with preparation                 0.3       0.009       $3.51
2020         Disposition                                          of title commitments for single-family home portfolio (.3)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
November     Asset                   11/18/20 JR              140 call with K. Duff and A. Porter relating to status of single family home portfolio and plan of          0.5       0.015       $2.10
2020         Disposition                                          action (.5)
November     Asset                   11/18/20 JR              140 request updated due diligence documents from property management for single family                      0.1       0.003       $0.42
2020         Disposition                                          homes (.1)
November     Asset                   11/18/20 JRW             260 Exchange correspondence with A. Porter regarding status of marketing of properties (single-             0.1       0.003       $0.78
2020         Disposition                                          family portfolio) (.1)
November     Asset                   11/19/20 JR              140 review uploaded documents regarding same and further exchange correspondence with                       0.3       0.009       $1.26
2020         Disposition                                          property management relating to missing items (.3)
November     Asset                   11/19/20 JR              140 Review email from property management regarding single family home due diligence                        0.1       0.003       $0.42
2020         Disposition                                          documents (.1)
November     Asset                   11/19/20 JR              140 review income and loss statements received from the property manager and update                         1.1       0.033       $4.62
2020         Disposition                                          electronic files related to single family homes (1.1)
November     Asset                   11/20/20 AEP             390 teleconference with K. Duff and receivership brokers regarding discrepancies in values of               0.2       0.006       $2.34
2020         Disposition                                          single-family homes as between receivership broker and special servicer for institutional
                                                                  lender (.2)
November     Asset                   11/20/20 AEP             390 teleconference with K. Duff, receivership brokers, and counsel for institutional lenders                0.6       0.018       $7.02
2020         Disposition                                          regarding pricing considerations, timing of commencement of marketing, and allocation
                                                                  issues associated with single-family home portfolio (.6).
November     Asset                   11/20/20 JR              140 exchange correspondence with property management requesting missing utility statements                  0.1       0.003       $0.42
2020         Disposition                                          regarding single family homes (.1).
November     Asset                   11/20/20 JR              140 review updated utility statements requested from property management and update                         1.3       0.039       $5.46
2020         Disposition                                          electronic files in preparation for marketing of single family homes (1.3)
November     Asset                   11/20/20 JR              140 Review requested due diligence reports and update electronic files for single family portfolio          0.3       0.009       $1.26
2020         Disposition                                          from property management (.3)
November     Asset                   11/20/20 MR              390 Attention to bidding procedures on single family homes and follow up (.5)                               0.5       0.015       $5.85
2020         Disposition
November     Asset                   11/23/20 JR              140 Review income and loss statements received from property management related to single                   0.4       0.012       $1.68
2020         Disposition                                          family homes and update electronic files (.4)
November     Asset                   11/23/20 JR              140 exchange correspondence with property management and request additional property                        0.2       0.006       $0.84
2020         Disposition                                          reports for single family homes (.2)
November     Asset                   11/24/20 AEP             390 review all attorney examiner worksheets received from title insurer in connection with                  0.4       0.012       $4.68
2020         Disposition                                          conveyance of single-family home portfolio, update portfolio spreadsheet, and inventory
                                                                  missing worksheets (.4).
November     Asset                   11/24/20 JR              140 review due diligence documents requested from property management for single family                     0.4       0.012       $1.68
2020         Disposition                                          homes (.4)
November     Asset                   11/24/20 JR              140 further correspondence with property management requesting same for single family homes                 0.1       0.003       $0.42
2020         Disposition                                          (.1)
November     Asset                   11/25/20 AEP             390 review proposed renewed brokerage agreement relating to prospective sale of single-family               0.3       0.009       $3.51
2020         Disposition                                          home portfolio and prepare e-mail to broker requesting additional changes and explanation
                                                                  for certain deletions (.3).
November     Asset                   11/25/20 JR              140 Review single family home portfolio and due diligence documents and update rent roll                    3.2       0.096      $13.44
2020         Disposition                                          related to updated utility statements, leases and security deposit information.




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
November     Asset                   11/29/20 AEP             390 review all due diligence folders for properties in single-family home portfolio, remove              0.6       0.018       $7.02
2020         Disposition                                          unnecessary documents, and create final checklist of property-specific issues (.6).

November     Asset                   11/29/20 AEP             390 Begin preparation of purchase and sale agreement for single-family home portfolio (2.2)              2.2       0.066      $25.74
2020         Disposition
November     Asset                   11/30/20 JR              140 Review email from A. Porter regarding single family home due diligence documents and                 0.1       0.003       $0.42
2020         Disposition                                          respond accordingly (.1)
November     Asset                   11/30/20 JR              140 review due diligence documents for single family home (.6)                                           0.6       0.018       $2.52
2020         Disposition
November     Business                11/02/20 ED              390 Email correspondence with accountants regarding property manager reporting receivership              0.7 0.0066667         $2.60
2020         Operations                                           financial records, and details relating to property restoration and reimbursement completed
                                                                  through September 2020 (.7)
November     Business                11/02/20 ED              390 review and analysis of related documents (1.0).                                                      1.0 0.0095238         $3.71
2020         Operations
November     Business                11/04/20 ED              390 Review financial reporting documents from property managers relating to properties (.3)              0.3 0.0050847         $1.98
2020         Operations
November     Business                11/04/20 ED              390 email correspondence with K. Duff regarding same (.2).                                               0.2 0.0033898         $1.32
2020         Operations
November     Business                11/05/20 ED              390 review reporting from property managers to identify relevant documentation (.3)                      0.3 0.0028571         $1.11
2020         Operations
November     Business                11/05/20 ED              390 Email correspondence with accountant regarding information needed for preparation of                 0.3 0.0028571         $1.11
2020         Operations                                           property reports (.3)
November     Business                11/06/20 ED              390 review and analysis of financial reporting relating to properties (.4), and email                    0.6 0.0057143         $2.23
2020         Operations                                           correspondence with K. Duff regarding comments and proposed revisions (.2)
November     Business                11/06/20 ED              390 Continue review of property manager reporting for preparation of reports (.3) and email              0.7 0.0066667         $2.60
2020         Operations                                           correspondence with accountants and property manager regarding same (.4)

November     Business                11/10/20 ED              390 Email correspondence with accountants and property manager regarding information still               0.1 0.0009524         $0.37
2020         Operations                                           needed for preparation of June reporting.
November     Business                11/11/20 KMP             140 Prepare form for transfer of funds for payment of insurance premium funding and                      0.4 0.0074074         $1.04
2020         Operations                                           communicate with K. Duff and bank representative regarding same (.4)
November     Business                11/12/20 ED              390 email correspondence with J. Rak and with accountants to identify and share financial                0.2 0.0019048         $0.74
2020         Operations                                           reporting information necessary for completion of remining June accounting reports (.2).

November     Business                11/12/20 KMP             140 Follow up on transfer of funds for payment of insurance premium funding and communicate              0.2 0.0037037         $0.52
2020         Operations                                           with K. Duff and bank representative regarding same.
November     Business                11/13/20 ED              390 Email correspondence with accountants and J. Rak regarding revisions to drafts of June               0.3 0.0028571         $1.11
2020         Operations                                           reports, and steps to begin preparation of July reports (.3)
November     Business                11/13/20 KMP             140 Analysis of property manager's October reporting and year-to-date accounts payable (1.2)             1.2 0.0193548         $2.71
2020         Operations
November     Business                11/19/20 ED              390 Email correspondence with accountant, K. Pritchard, and J. Rak regarding additional                  0.5 0.0047619         $1.86
2020         Operations                                           reporting information required for preparation of July property reports.




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  Invoice                                           Time                                                                                                                          Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                           Task Hours
  Month                                            Keeper                                                                                                                           Hours         Fees
November     Business                11/24/20 ED              390 email correspondence with accountant and J. Rak regarding review and revision of July                     0.3 0.0028571          $1.11
2020         Operations                                           accounting reports and preparation of draft August reports (.3).
November     Business                11/25/20 KMP             140 Prepare request form for transfer of funds to financing company for insurance premium                     0.4 0.0074074          $1.04
2020         Operations                                           installment payment, and communicate with bank representatives and K. Duff regarding
                                                                  same.
December     Asset                   12/04/20 KBD             390 telephone conference with real estate broker regarding various remaining properties and                   0.3       0.006        $2.34
2020         Disposition                                          related sales issues (.3).
December     Asset                   12/29/20 KBD             390 Exchange correspondence regarding publication of notice for sale of single family residence               0.2       0.006        $2.34
2020         Disposition                                          portfolio (.2)
December     Claims                  12/09/20 KBD             390 study information regarding claims against properties in single family residence portfolio (.2).          0.2       0.006        $2.34
2020         Administration
             & Objections

December     Asset                   12/04/20 JR              140 review previously requested rent rolls, leases, subsidy contracts and delinquency reports for             4.6 0.1243243         $17.41
2020         Disposition                                          single family homes, update master rent roll and request additional missing items from
                                                                  property management (1414 East 62nd Place, 1418 East 62nd Place, 1017 W 102nd Street,
                                                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                                  Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                  Avenue) (4.6).

December     Asset                   12/04/20 JR              140 Review previously delivered delinquency report and exchange correspondence with property                  0.3       0.009        $1.26
2020         Disposition                                          management requesting current delinquency report for single family home portfolio (.3)

December     Asset                   12/07/20 JR              140 review leases for security deposit information related to single family homes (1.3)                       1.3       0.039        $5.46
2020         Disposition
December     Asset                   12/07/20 JR              140 review master rent roll for single family homes and exchange correspondence with A. Porter                0.3       0.009        $1.26
2020         Disposition                                          regarding same (.3)
December     Asset                   12/07/20 JR              140 exchange correspondence with property management requesting updates to due diligence                      0.1       0.003        $0.42
2020         Disposition                                          documents for single family homes (.1)
December     Asset                   12/07/20 JR              140 review updated utility bills for single family homes and update electronic files regarding                1.2       0.036        $5.04
2020         Disposition                                          same (1.2).
December     Asset                   12/07/20 JR              140 conference call with A. Porter related to single family portfolio status (.7)                             0.7       0.021        $2.94
2020         Disposition
December     Asset                   12/08/20 AEP             390 continue editing, revising, and customizing purchase and sale contract for single-family home             1.0         0.03      $11.70
2020         Disposition                                          portfolio and review all litigation files to ascertain current status of all administrative and
                                                                  housing court proceedings (1.0).


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
December     Asset                   12/08/20 JR              140 review additional due diligence documents received from property management for single                 2.7       0.081      $11.34
2020         Disposition                                          family homes and update electronic files (2.7)
December     Asset                   12/08/20 JR              140 exchange correspondence with property management regarding same (.1)                                   0.1       0.003       $0.42
2020         Disposition
December     Asset                   12/08/20 JR              140 Review utility statements received from property management for single family homes and                1.6       0.048       $6.72
2020         Disposition                                          update electronic files (1.6)
December     Asset                   12/08/20 JR              140 review and analyze ledgers for single family homes against rent roll and confirm rental                1.7       0.051       $7.14
2020         Disposition                                          income consistency in preparation for marketing and providing documents to potential
                                                                  buyers (1.7)
December     Asset                   12/08/20 JR              140 review email from brokerage firm regarding requested due diligence documents for single                0.1       0.003       $0.42
2020         Disposition                                          family homes and respond accordingly (.1).
December     Asset                   12/08/20 JRW             260 Email exchange regarding placement of publication notice for single family portfolio.                  0.2       0.006       $1.56
2020         Disposition
December     Asset                   12/09/20 AEP             390 Teleconference with J. Rak regarding discrepancies between monthly utility bills and                   0.3       0.009       $3.51
2020         Disposition                                          operating expenses and possible strategies for fixing issues prior to producing due diligence
                                                                  documents associated with sale of single-family homes (.3)

December     Asset                   12/09/20 AEP             390 review proof of notice of public sale in connection with advertisement of single-family home           0.1       0.003       $1.17
2020         Disposition                                          portfolio (.1)
December     Asset                   12/09/20 AEP             390 read e-mail from J. Wine regarding claims submitted against properties in single-family home           0.2       0.006       $2.34
2020         Disposition                                          portfolio and update portfolio spreadsheet accordingly (.2).
December     Asset                   12/09/20 JR              140 Review emails from property management and update master rent roll with requested                      0.3       0.009       $1.26
2020         Disposition                                          property information for single family homes (.3)
December     Asset                   12/09/20 JR              140 exchange correspondence with A. Porter regarding same (.3).                                            0.3       0.009       $1.26
2020         Disposition
December     Asset                   12/09/20 JR              140 review updated income and profit statements, compare and analyze expenses with updated                 6.3       0.189      $26.46
2020         Disposition                                          utility statements provided by property management for single family portfolio in
                                                                  preparation for production to potential buyer (6.3)
December     Asset                   12/10/20 AEP             390 prepare response to broker of single-family homes regarding finalization of due diligence              0.1       0.003       $1.17
2020         Disposition                                          materials and status of rent roll (.1)
December     Asset                   12/10/20 AEP             390 review all tenant ledgers and other documents added to due diligence folder for single-                0.8       0.024       $9.36
2020         Disposition                                          family homes, reorganize certain file structures and review and approve final rent roll (.8)

December     Asset                   12/10/20 JR              140 exchange correspondence with property management team requesting missing property                      0.3       0.009       $1.26
2020         Disposition                                          utility statements for single family homes to resolve discrepancies (.3)
December     Asset                   12/10/20 JR              140 final review of single family homes master rent roll regarding same and make final updates             1.6       0.048       $6.72
2020         Disposition                                          to electronic files (1.6)
December     Asset                   12/10/20 JR              140 Finalize review of the income and profit statements and analyze information in electronic              1.7       0.051       $7.14
2020         Disposition                                          files in preparation for production to single family homes potential buyers (1.7)

December     Asset                   12/10/20 JR              140 exchange correspondence with brokerage firm and inquire about uploading requested single               0.1       0.003       $0.42
2020         Disposition                                          family homes information pertaining to same (.1)




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
December     Asset                   12/10/20 JR              140 organize all due diligence documents including leases in preparation for production to                 1.3       0.039        $5.46
2020         Disposition                                          brokerage firm related to single family homes (1.3)
December     Asset                   12/10/20 JR              140 exchange correspondence with A. Porter regarding same (single family homes) (.3)                       0.3       0.009        $1.26
2020         Disposition
December     Asset                   12/11/20 AEP             390 Teleconference with J. Rak regarding remaining discrepancies in single-family home due                 0.1       0.003        $1.17
2020         Disposition                                          diligence materials (.1)
December     Asset                   12/15/20 AEP             390 finalize first draft of purchase and sale agreement for single-family homes and transmit same          0.6       0.018        $7.02
2020         Disposition                                          to K. Duff and receivership broker for review and comment (.6)
December     Asset                   12/15/20 JR              140 Review emails from property management regarding requested property reports and update                 0.4       0.012        $1.68
2020         Disposition                                          electronic files related to single family home portfolio (.4)
December     Asset                   12/15/20 JR              140 review additional master rent roll and update sale related to single family homes (.5)                 0.5       0.015        $2.10
2020         Disposition
December     Asset                   12/17/20 AEP             390 Prepare title examiner's worksheets relating to single family residence portfolio for all              8.3       0.249       $97.11
2020         Disposition                                          properties owned by corporate entity.
December     Asset                   12/18/20 AEP             390 Teleconference with J. Rak regarding preparation for sales of single-family home portfolio             1.0         0.03      $11.70
2020         Disposition                                          and all issues associated with deed preparation, applications for transfer stamps, and value
                                                                  allocations on title commitments (1.0)
December     Asset                   12/18/20 JR              140 Exchange correspondence with broker regarding allocation values of the single family homes             0.2       0.006        $0.84
2020         Disposition                                          (.2)
December     Asset                   12/18/20 JR              140 exchange correspondence with accounting firm about completion of various 1099 forms                    0.3       0.009        $1.26
2020         Disposition                                          related to the single family homes for different entities (.3)
December     Asset                   12/18/20 JR              140 draft water applications for single family homes (4.1)                                                 4.1       0.123       $17.22
2020         Disposition
December     Asset                   12/19/20 AEP             390 prepare title examiner's worksheets relating to single family residence portfolio for all              3.6       0.108       $42.12
2020         Disposition                                          properties owned by certain corporate entities (3.6).
December     Asset                   12/21/20 AEP             390 Teleconference with title company regarding numerous issues associated with preparation                0.3       0.009        $3.51
2020         Disposition                                          of title commitment for single-family home portfolio (.3)
December     Asset                   12/21/20 JR              140 review email from the title company and provide requested information regarding closing                0.1       0.003        $0.42
2020         Disposition                                          documents related to all single family homes (.1)
December     Asset                   12/21/20 JR              140 begin drafting closing checklist for single family homes in preparation for closing (.8)               0.8       0.024        $3.36
2020         Disposition
December     Business                12/01/20 ED              390 Preliminary review of draft accounting reports for August 2020 prepared by accountant.                 0.2 0.0019048          $0.74
2020         Operations
December     Business                12/04/20 ED              390 email correspondence with J. Wine regarding documentation received from lenders (.4)                   0.4 0.0044944          $1.75
2020         Operations
December     Business                12/04/20 ED              390 email correspondence with accountant and J. Rak regarding review of draft August                       0.1 0.0009524          $0.37
2020         Operations                                           accounting reports and preparation of draft September reports (.1).
December     Business                12/09/20 ED              390 review and analysis of draft April and May accounting reports received from accountant and             2.1         0.02       $7.80
2020         Operations                                           related financial reporting from property managers (2.1).
December     Business                12/09/20 KMP             140 Prepare request for funds transfer to financing company for payment of insurance premium               0.4 0.0075472          $1.06
2020         Operations                                           financing and communications with K. Duff and bank representatives regarding same (.4)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
December     Business                12/10/20 ED          390 Email correspondence with accountant regarding additional documentation necessary for                  0.1 0.0009524         $0.37
2020         Operations                                       preparation of September property accounting reports (.1)
December     Business                12/10/20 ED          390 begin review of July accounting reports, and analysis of related financial reporting from              2.6 0.0247619         $9.66
2020         Operations                                       property managers (2.6).
December     Business                12/10/20 ED          390 continue review of June property accounting reports (1.2)                                              1.2 0.0114286         $4.46
2020         Operations
December     Business                12/16/20 ED          390 review of accounting reports and related property manager financial reports (1.5).                     1.5 0.0142857         $5.57
2020         Operations
December     Business                12/16/20 ED          390 Email correspondence with accountant regarding reflection of restoration transfers in                  1.2 0.0114286         $4.46
2020         Operations                                       accounting reports (.7), and review of related reporting and financial records (.5)

December     Business                12/17/20 ED          390 call with accountant regarding calculation and reporting of restoration amounts from and to            0.9 0.0085714         $3.34
2020         Operations                                       properties (.9).
December     Business                12/18/20 ED          390 Review revised draft reports from accountant, and analysis of applicable calculations and              0.4 0.0038095         $1.49
2020         Operations                                       changes (.4)
December     Business                12/18/20 ED          390 draft email explaining comments and corrections (.2).                                                  0.2 0.0019048         $0.74
2020         Operations
December     Business                12/22/20 KMP         140 prepare request form for funds transfer to financing company for installment on insurance              0.2 0.0037736         $0.53
2020         Operations                                       premium financing and communicate with K. Duff regarding same (.2)
December     Business                12/23/20 KMP         140 revise request form for funds transfer to financing company for installment on insurance               0.2 0.0037736         $0.53
2020         Operations                                       premium financing and communicate with K. Duff and bank representatives regarding same
                                                              (.2)
December     Business                12/28/20 ED          390 Email correspondence with accountant and insurance agent regarding updates to schedule                 0.4 0.0038095         $1.49
2020         Operations                                       of insurable values based on property sales, refunds and adjustments to premium finance
                                                              agreements, and updates to schedule of properties.
December     Business                12/29/20 ED          390 Email correspondence with insurance agent and accountant regarding adjustment of                       0.2 0.0019048         $0.74
2020         Operations                                       premium finance agreement payments to reflect sold properties, and timing of refunds
                                                              relating to same.
December     Claims                  12/04/20 JRW         260 exchange correspondence with E. Duff regarding loan issue (.2)                                         0.2 0.0022472         $0.58
2020         Administration
             & Objections

December     Claims                  12/09/20 JRW         260 study investor claims against single family residence properties and related analysis to K.            0.6       0.018       $4.68
2020         Administration                                   Duff and A. Porter (.6).
             & Objections

January      Asset                   01/06/21 KBD         390 draft correspondence to A. Porter regarding sale of single family residence portfolio (single          0.1       0.003       $1.17
2021         Disposition                                      family) (.1).
January      Asset                   01/13/21 KBD         390 exchange correspondence with real estate broker and A. Porter regarding single family                  0.4       0.012       $4.68
2021         Disposition                                      portfolio questions (single family) (.4).
January      Asset                   01/14/21 KBD         390 Exchange correspondence with real estate broker regarding information about offers and                 0.2       0.006       $2.34
2021         Disposition                                      planning for review (single family) (.2)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
January      Asset                   01/15/21 KBD         390 Exchange correspondence with real estate broker regarding due diligence information for                  0.2       0.006       $2.34
2021         Disposition                                      single family residence portfolio (single family) and exchange correspondence with J. Rak
                                                              regarding same (.2)
January      Asset                   01/15/21 KBD         390 study correspondence regarding offers for single family residence portfolios (single family)             0.2       0.006       $2.34
2021         Disposition                                      (.2).
January      Asset                   01/18/21 KBD         390 Confer with real estate broker and counsel regarding offers on sale of single family residence           0.9       0.027      $10.53
2021         Disposition                                      portfolio (single family) (.9)
January      Asset                   01/18/21 KBD         390 study offers and summary (single family) (.4)                                                            0.4       0.012       $4.68
2021         Disposition
January      Asset                   01/20/21 KBD         390 attention to offers for single family residence portfolio (single family) (.1).                          0.1       0.003       $1.17
2021         Disposition
January      Asset                   01/21/21 KBD         390 telephone conference with lenders' counsel, real estate broker, M. Rachlis, and A. Porter                0.4       0.012       $4.68
2021         Disposition                                      regarding sale process, offers, and related issues (single family) (.4)
January      Asset                   01/21/21 KBD         390 Telephone conference with real estate broker and counsel regarding sale of single family                 0.6       0.018       $7.02
2021         Disposition                                      residence properties (single family) (.6)
January      Asset                   01/21/21 KBD         390 telephone conference and exchange correspondence with real estate broker regarding sale                  0.2       0.006       $2.34
2021         Disposition                                      process and offers (single family) (.2)
January      Asset                   01/21/21 KBD         390 follow up call regarding sale of single family residence properties with M. Rachlis, A. Porter,          0.4       0.012       $4.68
2021         Disposition                                      and asset manager (single family) (.4)
January      Asset                   01/21/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale process issues and                  0.1       0.003       $1.17
2021         Disposition                                      offers (single family) (.1)
January      Asset                   01/22/21 KBD         390 exchange correspondence with A. Porter and M. Rachlis regarding sale negotiations (single                0.2       0.006       $2.34
2021         Disposition                                      family) (.2).
January      Asset                   01/22/21 KBD         390 Telephone conference with real estate broker regarding negotiation with potential buyer                  0.2       0.006       $2.34
2021         Disposition                                      (single family) (.2)
January      Asset                   01/22/21 KBD         390 telephone conference with and draft correspondence to claimant's counsel regarding offers                0.1       0.003       $1.17
2021         Disposition                                      and negotiations (single family) (.1)
January      Asset                   01/25/21 KBD         390 Exchange correspondence with real estate broker regarding communication with lender's                    0.2       0.006       $2.34
2021         Disposition                                      counsel and change of potential buyer's interests (single family).
January      Asset                   01/27/21 KBD         390 Exchange correspondence regarding sale of single family portfolio (single family) and                    0.2       0.006       $2.34
2021         Disposition                                      revisions to contract.
January      Asset                   01/29/21 KBD         390 exchange correspondence with A. Porter regarding communication from buyer relating to                    0.2       0.006       $2.34
2021         Disposition                                      sale and inspection (single family) (.2)
January      Asset                   01/29/21 KBD         390 Review and execute sales agreement for single family residence portfolio (single family) (.2)            0.2       0.006       $2.34
2021         Disposition
January      Asset                   01/29/21 KBD         390 exchange correspondence with broker regarding inspections (single family) (.1)                           0.1       0.003       $1.17
2021         Disposition
January      Business                01/04/21 KBD         390 Exchange correspondence with E. Duff regarding fund restoration.                                         0.2 0.0019048         $0.74
2021         Operations
January      Business                01/11/21 KBD         390 study property manager financial reports (.4)                                                            0.4 0.0097561         $3.80
2021         Operations
January      Business                01/11/21 KBD         390 attention to payment of property and general liability insurance (.3).                                   0.3 0.0057692         $2.25
2021         Operations


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
January      Business                01/18/21 KBD             390 Exchange correspondence with E. Duff regarding restoration of funds relating to property                0.2 0.0019048         $0.74
2021         Operations                                           expenses.
January      Claims                  01/24/21 KBD             390 exchange correspondence with E. Duff regarding communication with lenders' counsel                      0.1 0.0009524         $0.37
2021         Administration                                       relating to accounting reports (.1).
             & Objections

January      Asset                   01/05/21 AEP             390 prepare e-mails to property managers for single-family homes regarding abstention from                  0.1       0.003       $1.17
2021         Disposition                                          capital repairs absent consent of receiver (single family) (.1).
January      Asset                   01/05/21 JR              140 Organization and research property information related to original EquityBuild purchase                 2.2 0.0203704         $2.85
2021         Disposition                                          dates, recording dates, purchase price, EquityBuild debt and mechanic's lien regarding
                                                                  properties in receivership and previously acquired and sold properties and update
                                                                  EquityBuild portfolio spreadsheet.
January      Asset                   01/06/21 AEP             390 update title company spreadsheet with value allocations for each property (single family) (.3)          0.3       0.009       $3.51
2021         Disposition
January      Asset                   01/06/21 JR              140 request same from property management regarding single family homes (single family) (.1).               0.1       0.003       $0.42
2021         Disposition
January      Asset                   01/06/21 JR              140 Review email from real estate associate requesting updated due diligence documents                      0.1       0.003       $0.42
2021         Disposition                                          related to marketing of single family homes (single family) (.1)
January      Asset                   01/07/21 JR              140 Review email from property management related to single family homes and review of due                  0.2       0.006       $0.84
2021         Disposition                                          diligence documents regarding same (single family).
January      Asset                   01/08/21 AEP             390 teleconference with title underwriter regarding single-family home title exceptions being               0.1       0.003       $1.17
2021         Disposition                                          waived on risk (single family) (.1).
January      Asset                   01/11/21 JR              140 exchange correspondence with brokerage firm advising of all requested due diligence                     0.1       0.003       $0.42
2021         Disposition                                          document updates related to single family homes (single family) (.1).
January      Asset                   01/11/21 JR              140 follow up communication with property management regarding updates to due diligence                     0.1       0.003       $0.42
2021         Disposition                                          documents related to single family homes (single family) (.1)
January      Asset                   01/11/21 JR              140 update electronic files for same (single family) (.4)                                                   0.4       0.012       $1.68
2021         Disposition
January      Asset                   01/11/21 JR              140 exchange correspondence with property management requesting missing items (single                       0.2       0.006       $0.84
2021         Disposition                                          family) (.2)
January      Asset                   01/11/21 JR              140 review due diligence documents for all single family homes, update electronic files and                 3.1       0.093      $13.02
2021         Disposition                                          update master rent roll and property folders requested by broker (single family) (3.1)

January      Asset                   01/13/21 AEP             390 Teleconference with J. Rak regarding responses to inquiries from broker regarding single-               0.4       0.012       $4.68
2021         Disposition                                          family home portfolio (single family) (.4)
January      Asset                   01/13/21 AEP             390 reorganize all single-family home files into tranches consistent with deeds and title                   0.8       0.024       $9.36
2021         Disposition                                          commitments (single family) (.8).
January      Asset                   01/13/21 AEP             390 finalize purchase and sale contract for conveyance of single-family home portfolio and                  0.5       0.015       $5.85
2021         Disposition                                          transmit same to receivership broker (single family) (.5)
January      Asset                   01/13/21 JR              140 telephone call with A. Porter regarding requested items related to the single family home               0.5       0.015       $2.10
2021         Disposition                                          portfolio (single family) (.5)
January      Asset                   01/13/21 JR              140 exchange correspondence with brokerage firm providing requested information related to                  0.6       0.018       $2.52
2021         Disposition                                          single family homes (single family) (.6)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
January      Asset                   01/13/21 JR              140 Review email from brokerage firm related to requested items related to single family homes             0.3       0.009       $1.26
2021         Disposition                                          and respond accordingly (single family) (.3)
January      Asset                   01/13/21 JR              140 review property tax balances and update outstanding tax report related to all single family            2.1       0.063       $8.82
2021         Disposition                                          homes and remaining unsold multi-family homes (single family) (2.1).

January      Asset                   01/13/21 JR              140 exchange correspondence with property management requesting due diligence items                        0.2       0.006       $0.84
2021         Disposition                                          related to single family homes (single family) (.2)
January      Asset                   01/15/21 JR              140 Review email from brokerage firm, confer with K. Duff and respond accordingly (single                  0.1       0.003       $0.42
2021         Disposition                                          family) (.1)
January      Asset                   01/18/21 MR              390 Review email regarding summary and issues for single family home sales (single family) (.2)            0.2       0.006       $2.34
2021         Disposition
January      Asset                   01/18/21 MR              390 meeting on single family home sale (single family) (.9).                                               0.9       0.027      $10.53
2021         Disposition
January      Asset                   01/21/21 AEP             390 teleconference with K. Duff, M. Rachlis, and real estate broker regarding single-family home           0.4       0.012       $4.68
2021         Disposition                                          marketing efforts (single family) (.4)
January      Asset                   01/21/21 AEP             390 review title commitments for all single-family homes and create list of encumbrances                   0.6       0.018       $7.02
2021         Disposition                                          potentially requiring hold harmless letters or other clearance (single family) (.6).

January      Asset                   01/21/21 AEP             390 conference call with receivership brokers, counsel for secured lenders, K. Duff, and M.                0.4       0.012       $4.68
2021         Disposition                                          Rachlis regarding outcome of marketing effort for single family homes and next steps in sales
                                                                  process (single family) (.4)
January      Asset                   01/21/21 AEP             390 Conference call with receivership brokers regarding results of "highest and best" bid                  0.5       0.015       $5.85
2021         Disposition                                          submissions in connection with single-family home portfolio, bases for potentially low offer
                                                                  prices, and strategy for proceeding (single family) (.5)
January      Asset                   01/21/21 JR              140 Telephone conference with K. Duff, M. Rachlis, A. Porter and brokerage firm regarding final            0.6       0.018       $2.52
2021         Disposition                                          and best offers from interested buyers related to single family homes (single family) (.6)

January      Asset                   01/21/21 MR              390 Attention to single family home issues with real estate broker (single family) (.6)                    0.6       0.018       $7.02
2021         Disposition
January      Asset                   01/21/21 MR              390 follow up conference with K. Duff and A. Porter regarding single family home issues (single            0.3       0.009       $3.51
2021         Disposition                                          family) (.3)
January      Asset                   01/21/21 MR              390 conference regarding process with claimant's counsel and regarding single family home                  0.4       0.012       $4.68
2021         Disposition                                          portfolio (single family) (.4)
January      Asset                   01/22/21 JR              140 draft water applications for the single-family homes (single family) (2.5)                             2.5       0.075      $10.50
2021         Disposition
January      Asset                   01/27/21 AEP             390 Review rider to purchase and sale agreement tendered by prospective purchaser of single-               0.4       0.012       $4.68
2021         Disposition                                          family homes and prepare e-mail to K. Duff regarding lack of corporate existence of signatory
                                                                  to agreement (single family) (.4)
January      Business                01/04/21 ED              390 email correspondence accountant regarding September accounting reports (.1).                           0.1 0.0009524         $0.37
2021         Operations
January      Business                01/04/21 ED              390 analysis of property manager financial reporting from October and November 2020 (.5)                   0.5 0.0047619         $1.86
2021         Operations




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  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
January      Business                01/04/21 ED              390 Review and analysis of reporting regarding remaining reimbursable amounts from                      0.3 0.0028571         $1.11
2021         Operations                                           properties, and email correspondence with K. Duff regarding same (.3)
January      Business                01/05/21 JR              140 produce documents, review and analyze September reporting (4.1).                                    4.1 0.0390476         $5.47
2021         Operations
January      Business                01/05/21 JR              140 Review email from accounting firm and E. Duff regarding September reports and respond               0.1 0.0009524         $0.13
2021         Operations                                           accordingly regarding status review of same (.1)
January      Business                01/05/21 KMP             140 Communicate with E. Duff regarding schedules of receipts and disbursements for October              0.2 0.0019048         $0.27
2021         Operations                                           and November 2020 and forward same to her.
January      Business                01/06/21 ED              390 Review of draft accounting reports through September 2020 (1.9)                                     1.9 0.0180952         $7.06
2021         Operations
January      Business                01/06/21 ED              390 prepare analysis of rent restoration completed and remaining restoration amounts per                1.3    0.012381       $4.83
2021         Operations                                           property (1.3).
January      Business                01/06/21 JR              140 Continue review and analyze September property reports (2.4)                                        2.4 0.0228571         $3.20
2021         Operations
January      Business                01/06/21 JR              140 exchange correspondence with E. Duff regarding missing item related to September                    0.1 0.0009524         $0.13
2021         Operations                                           reporting (.1).
January      Business                01/07/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             3.4    0.032381      $12.63
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/08/21 ED              390 Continue review of September accounting reports, including analysis of rent restoration             0.9 0.0085714         $3.34
2021         Operations                                           completed, accrual of reimbursable amounts for insurance premiums and other
                                                                  expenditures, and final reporting from property managers with respect to sold properties.

January      Business                01/11/21 KMP             140 Prepare form for transfer of funds to financing company for insurance premium installment,          0.4 0.0076923         $1.08
2021         Operations                                           and communicate with bank representatives and K. Duff regarding same (.4)

January      Business                01/12/21 ED              390 Review revised statement drafts from accountant and draft email explaining comments and             0.6 0.0057143         $2.23
2021         Operations                                           corrections necessary.
January      Business                01/14/21 ED              390 Email correspondence with accountant and J. Rak to confirm list of sold properties for              0.3 0.0028571         $1.11
2021         Operations                                           analysis of reimbursable amounts owed, and review of related correspondence and
                                                                  documents.
January      Business                01/15/21 ED              390 Begin review of revised drafts of September 2020 accounting reports.                                0.4 0.0038095         $1.49
2021         Operations
January      Business                01/16/21 ED              390 Continue review of revised reports and of summary analysis of remaining rent restoration            1.7 0.0161905         $6.31
2021         Operations                                           and reimbursable amounts as of September 31, 2020 (1.7)
January      Business                01/16/21 ED              390 draft and send email to accountant regarding questions and comments based upon review               0.3 0.0028571         $1.11
2021         Operations                                           (.3).
January      Business                01/18/21 ED              390 telephone conference with A. Watychowicz regarding same (.1)                                        0.1 0.0009524         $0.37
2021         Operations




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  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
January      Business                01/18/21 ED              390 Review of revised September reports from accountant (.3), begin preparation for                      1.2 0.0114286         $4.46
2021         Operations                                           transmission of September reports to lenders' counsel (.6) exchange email correspondence
                                                                  with A. Watychowicz and J. Rak regarding September reports to lenders counsel (.3)

January      Business                01/19/21 AW              140 Call with J. Rak regarding preparation of financial reports for institutional lenders and            1.2 0.0114286         $1.60
2021         Operations                                           prepare same as per E. Duff's request.
January      Business                01/19/21 ED              390 Review and analysis of documents and email correspondence regarding adjustments to                   0.5 0.0047619         $1.86
2021         Operations                                           allocations of insurance costs, application of refunds, and reduction of payments due under
                                                                  insurance premium finance agreements, to reflect changes in property portfolio due to
                                                                  property sales (.5)
January      Business                01/24/21 ED              390 revise spreadsheet analysis of remaining restoration and reimbursement amounts for                   0.6 0.0057143         $2.23
2021         Operations                                           properties (.6)
January      Business                01/24/21 ED              390 Draft descriptions of rent restoration and reimbursement actions taken in September 2020             0.4 0.0038095         $1.49
2021         Operations                                           and effect on data presented in September accounting reports (.4)

January      Business                01/24/21 ED              390 begin preparation of email correspondence to lenders' counsel transmitting reports (.4)              0.4 0.0038095         $1.49
2021         Operations
January      Business                01/25/21 ED              390 Revise drafts of email correspondence to lenders' counsel transmitting reports to reflect            0.8    0.007619       $2.97
2021         Operations                                           updates (.8)
January      Business                01/25/21 ED              390 prepare and send email messages to lenders' counsel with September 2020 accounting                   1.7 0.0161905         $6.31
2021         Operations                                           reports (1.7)
January      Business                01/25/21 ED              390 review and analysis of financial reporting from property managers for October, November,             1.7 0.0161905         $6.31
2021         Operations                                           and December 2020 to be used in preparation of fourth quarter accounting reports (1.3) and
                                                                  email correspondence with accountants and J. Rak (.4).

January      Business                01/25/21 KMP             140 finalize and forward December schedules of receipts and disbursements to E. Duff (.4).               0.4 0.0038095         $0.53
2021         Operations
January      Business                01/27/21 KMP             140 Prepare form for funds transfer to financing company for payment of insurance premium                0.4 0.0076923         $1.08
2021         Operations                                           installment and communicate with bank representative and K. Duff regarding same.

January      Business                01/29/21 KMP             140 Study documentation from finance company, prepare chart detailing payments for insurance             0.4 0.0076923         $1.08
2021         Operations                                           premium financing, and forward to K. Duff.
January      Claims                  01/19/21 JR              140 Confer with A. Watychowicz regarding electronic organization of property reports for                 0.6 0.0057143         $0.80
2021         Administration                                       lenders.
             & Objections

February     Asset                   02/03/21 KBD             390 study correspondence from broker regarding communication with buyer regarding terms                  0.1       0.003       $1.17
2021         Disposition                                          (single family) (.1)
February     Asset                   02/03/21 KBD             390 exchange correspondence with J. Rak regarding accounts for single family properties (single          0.1       0.003       $1.17
2021         Disposition                                          family) (.1).
February     Asset                   02/04/21 KBD             390 Exchange correspondence with A. Porter regarding proposed rider to PSA (single family).              0.2       0.006       $2.34
2021         Disposition




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  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
February     Asset                   02/05/21 KBD         390 attention to negotiation with buyer of single family portfolio (single family) (.3).                   0.3       0.009       $3.51
2021         Disposition
February     Asset                   02/06/21 KBD         390 Study correspondence from A. Porter regarding negotiation with buyer of single family                  0.2       0.006       $2.34
2021         Disposition                                      portfolio (single family).
February     Asset                   02/08/21 KBD         390 Exchange correspondence regarding resolving due diligence issue with single family                     0.6       0.018       $7.02
2021         Disposition                                      residence portfolio sale and related conference with A. Porter and real estate broker (single
                                                              family) (.6)
February     Asset                   02/09/21 KBD         390 Telephone conference with A. Porter regarding single family residence portfolio negotiations           0.5       0.015       $5.85
2021         Disposition                                      with buyer and exchange additional correspondence (single family) (.5)

February     Asset                   02/10/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding revisions to                   0.3       0.009       $3.51
2021         Disposition                                      purchase and sale agreement and related communications with purchaser's counsel (single
                                                              family).
February     Asset                   02/12/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and broker regarding                   0.2       0.006       $2.34
2021         Disposition                                      negotiation with purchaser (single family) (.2)
February     Asset                   02/16/21 KBD         390 Exchange correspondence with A. Porter and real estate broker regarding purchase and sale              0.1       0.003       $1.17
2021         Disposition                                      agreement changes (single family) (.1)
February     Asset                   02/17/21 KBD         390 Exchange correspondence with A. Porter regarding execution of purchase and sale                        0.1       0.003       $1.17
2021         Disposition                                      agreement (single family) (.1)
February     Asset                   02/23/21 KBD         390 attention to joint order escrow instructions (single family) (.1).                                     0.1       0.003       $1.17
2021         Disposition
February     Asset                   02/23/21 KBD         390 Exchange correspondence regarding sale and inspections (single family) (.1)                            0.1       0.003       $1.17
2021         Disposition
February     Asset                   02/24/21 KBD         390 Attention to wire of earnest money and communications with purchaser and broker (single                0.2       0.006       $2.34
2021         Disposition                                      family).
February     Business                02/02/21 KBD         390 Exchange correspondence regarding real estate tax planning (.2)                                        0.2 0.0040816         $1.59
2021         Operations
February     Business                02/08/21 KBD         390 exchange correspondence with J. Rak regarding property real estate taxes planning (.2)                 0.2 0.0040816         $1.59
2021         Operations
February     Business                02/10/21 KBD         390 study property manager financial reporting (7051 S Bennett Avenue, 8201 S Kingston                     0.4 0.0093023         $3.63
2021         Operations                                       Avenue, 8047-55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                              Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                              1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue) (.4).




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  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
February     Business                02/11/21 KBD         390 exchange correspondence with J. Wine regarding property manager financial reporting (.1).            0.1      0.0025       $0.98
2021         Operations
February     Business                02/15/21 KBD         390 exchange correspondence with J. Rak regarding property tax balances and study information            0.2 0.0040816         $1.59
2021         Operations                                       (.2)
February     Business                02/15/21 KBD         390 study additional property manager financial reporting (7051 S Bennett Avenue, 8201 S                 0.3 0.0069767         $2.72
2021         Operations                                       Kingston Avenue, 8047- 55 S Manistee Avenue, 4611-17 S Drexel Boulevard, 7749-59 S Yates
                                                              Boulevard, 1131-41 E 79th Place, 4533-47 S Calumet Avenue, 6217-27 S Dorchester Avenue,
                                                              1414-18 East 62nd Place, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue) (.3).

February     Claims                  02/11/21 KBD         390 work on single claims process and timing (.3)                                                        0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                  02/12/21 KBD         390 work on single claims process and timing (.3)                                                        0.3 0.0107143         $4.18
2021         Administration
             & Objections

February     Claims                  02/12/21 KBD         390 confer with J. Wine and M. Rachlis regarding single claim process (.5).                              0.5 0.0178571         $6.96
2021         Administration
             & Objections

February     Claims                  02/16/21 KBD         390 Exchange correspondence with lenders' counsel regarding real estate taxes (4611-17 S Drexel          0.2      0.0015       $0.59
2021         Administration                                   Boulevard, 7255-57 S Euclid Avenue, 638-40 N Avers Avenue, single family) (.2)
             & Objections

February     Claims                  02/16/21 KBD         390 exchange correspondence with J. Wine regarding process for single claim properties and               0.2 0.0071429         $2.79
2021         Administration                                   study compiled information (.2).
             & Objections

February     Asset                   02/02/21 AEP         390 teleconference with prospective purchaser of single-family home portfolio regarding                  0.3       0.009       $3.51
2021         Disposition                                      negotiation of inspection contingency in language of purchase and sale agreement (single
                                                              family) (.3).




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  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
February     Asset                   02/02/21 AEP             390 Conference with J. Rak regarding all outstanding items associated with all properties                    2.1       0.063      $24.57
2021         Disposition                                          currently subject to motions to confirm and strategy for preparation of closing documents
                                                                  associated with prospective conveyance of single-family home portfolio (single family) (2.1)

February     Asset                   02/02/21 JR              140 Discuss single family home production of document status and draft same (single family).                 2.5       0.075      $10.50
2021         Disposition
February     Asset                   02/03/21 JR              140 exchange correspondence with K. Pritchard and K. Duff requesting account information for                 0.2      0.0012       $0.17
2021         Disposition                                          net proceeds related to remaining of unsold properties (7237-43 S Bennett Avenue, 638-40 N
                                                                  Avers Avenue, 7109-19 S Calumet Avenue, single family, 1102 Bingham (Houston, TX)) (.2)

February     Asset                   02/04/21 AEP             390 Read proposed rider submitted by prospective purchaser of single-family home portfolio,                  0.4       0.012       $4.68
2021         Disposition                                          edit and revise same, and transmit to broker with explanation for refusal to make certain
                                                                  changes (single family).
February     Asset                   02/04/21 MR              390 attention to single family home issues (single family) (.2).                                             0.2       0.006       $2.34
2021         Disposition
February     Asset                   02/05/21 AEP             390 Teleconference with receivership broker regarding remaining disputed issues pertaining to                0.2       0.006       $2.34
2021         Disposition                                          buyer inspection contingency rights in single-family home purchase and sale contract (single
                                                                  family).
February     Asset                   02/06/21 AEP             390 teleconference with prospective purchaser of single-family home portfolio regarding                      0.3       0.009       $3.51
2021         Disposition                                          potential modifications to contract pertaining to inspection contingency rights (single family)
                                                                  (.3).
February     Asset                   02/06/21 AEP             390 Read and respond to e-mail from counsel for secured lenders regarding status of negotiation              0.1       0.003       $1.17
2021         Disposition                                          of purchase and sale contract associated with conveyance of single-family home portfolio
                                                                  (single family) (.1)
February     Asset                   02/08/21 AEP             390 conference call with counsel for prospective purchaser of single-family home portfolio                   0.9       0.027      $10.53
2021         Disposition                                          regarding potential resolution of impasse over due diligence language in form purchase and
                                                                  sale agreement (single family) (.6) and preparation of e-mail to receiver and receivership
                                                                  brokers describing impasse and soliciting input on potential solutions (single family) (.3)

February     Asset                   02/09/21 AEP             390 teleconference with K. Duff regarding status of negotiations over purchase and sale of single-           0.2       0.006       $2.34
2021         Disposition                                          family homes (single family) (.2).
February     Asset                   02/09/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.1       0.003       $1.17
2021         Disposition                                          regarding agreed changes to inspection contingency provision of purchase and sale contract
                                                                  (single family) (.1)
February     Asset                   02/10/21 AEP             390 Prepare e-mail to receivership broker responding to inquiry regarding status of negotiation              0.2       0.006       $2.34
2021         Disposition                                          of purchase and sale agreement associated with single-family home portfolio (single family)
                                                                  (.2)
February     Asset                   02/11/21 JR              140 review tax bills for all properties with tax balance for 2018, 2019 and 2020 (.2)                        0.2 0.0041667         $0.58
2021         Disposition
February     Asset                   02/12/21 AEP             390 Teleconference with counsel for prospective purchaser of single-family home portfolio                    0.3       0.009       $3.51
2021         Disposition                                          regarding purchaser's counteroffer relating to inspection contingency language and convey
                                                                  summary of deal status to K. Duff and receivership broker (single family) (.3)




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  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
February     Asset                   02/12/21 AEP             390 revise proposed purchase and sale agreement pertaining to single-family home portfolio and              0.2       0.006       $2.34
2021         Disposition                                          transmit same to counsel for prospective purchaser (single family) (.2).

February     Asset                   02/12/21 AEP             390 teleconference with K. Duff and receivership broker regarding relative merits of counteroffer           0.2       0.006       $2.34
2021         Disposition                                          received from prospective purchaser of single family homes (single family) (.2)

February     Asset                   02/12/21 JR              140 exchange communication with IT and A. Porter regarding uploading of EquityBuild records                 0.4 0.0036697         $0.51
2021         Disposition                                          and status of same (.4)
February     Asset                   02/12/21 JR              140 review current property tax information and payment availability from property                          0.2 0.0040816         $0.57
2021         Disposition                                          management and provide same to K. Duff (.2)
February     Asset                   02/15/21 JR              140 update property tax balance spreadsheet and forward same to K. Duff (.3)                                0.3 0.0061224         $0.86
2021         Disposition
February     Asset                   02/15/21 JR              140 review email from property management and request property tax balances for all unpaid                  0.2 0.0041667         $0.58
2021         Disposition                                          property taxes (.2)
February     Asset                   02/15/21 JR              140 further correspondence with K. Duff and property management regarding upcoming                          0.2 0.0040816         $0.57
2021         Disposition                                          payment plan arrangement for same (.2).
February     Asset                   02/17/21 AEP             390 Review proposed modified purchase and sale contract submitted by prospective purchaser                  0.2       0.006       $2.34
2021         Disposition                                          of single-family home portfolio and approve execution of same by receiver (single family) (.2)

February     Asset                   02/19/21 JR              140 update water applications for single family home portfolio with legal descriptions (single              1.2       0.036       $5.04
2021         Disposition                                          family) (1.2)
February     Asset                   02/19/21 JR              140 draft zoning applications for single family home portfolio (single family) (3.1).                       3.1       0.093      $13.02
2021         Disposition
February     Asset                   02/23/21 AEP             390 prepare SJO instructions associated with single-family home portfolio and circulate for                 0.1       0.003       $1.17
2021         Disposition                                          signatures (single family) (.1)
February     Asset                   02/23/21 AEP             390 Teleconference with title insurance company escrow officer regarding form of SJO                        0.2       0.006       $2.34
2021         Disposition                                          instructions associated with single-family home portfolio (single family) (.2)
February     Asset                   02/25/21 JR              140 review single family home purchase and sale contract and update closing documents with                  1.6       0.048       $6.72
2021         Disposition                                          buyer information (single family) (1.6).
February     Business                02/09/21 JR              140 Review outstanding property taxes and exchange correspondence with property                             0.4 0.0081633         $1.14
2021         Operations                                           management requesting availability of same for payments of outstanding property taxes.

February     Business                02/10/21 ED              390 Email correspondence with accountant regarding financial records required for preparation               0.2 0.0019048         $0.74
2021         Operations                                           of October 2020 accounting reports.
February     Business                02/11/21 JR              140 Review emails from accounting firm and E. Duff related to property reports for October,                 3.2 0.0304762         $4.27
2021         Operations                                           November and December and produce same in preparation for review.
February     Business                02/22/21 ED              390 Begin review of drafts of October accounting reports.                                                   1.1 0.0104762         $4.09
2021         Operations
February     Business                02/22/21 JR              140 Review October reports and identify any and all discrepancies (3.6)                                     3.6 0.0342857         $4.80
2021         Operations
February     Business                02/22/21 JR              140 exchange correspondence with E. Duff regarding same (.2).                                               0.2 0.0019048         $0.27
2021         Operations




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
February     Business                02/23/21 JR              140 Exchange correspondence with E. Duff regarding final review of October property financial              0.3 0.0028571         $0.40
2021         Operations                                           reporting.
February     Business                02/26/21 KMP             140 Prepare form for funds transfer to finance company for property insurance installment                  0.3 0.0057692         $0.81
2021         Operations                                           payment, and communicate with K. Duff and bank representatives regarding same.

February     Claims                  02/12/21 JRW             260 conference with K. Duff and M. Rachlis regarding claims review project, claims distribution            1.5 0.0535714        $13.93
2021         Administration                                       project, and process for single-claim properties (1.5)
             & Objections

February     Claims                  02/16/21 JRW             260 perform analysis of properties with single claim and related correspondence to team (1.9).             1.9 0.0678571        $17.64
2021         Administration
             & Objections

March 2021 Asset                     03/01/21 KBD             390 attention to purchaser inspection of properties and exchange correspondence with real                  0.3       0.009       $3.51
           Disposition                                            estate broker regarding efforts to complete sale (single family) (.3).
March 2021 Asset                     03/15/21 KBD             390 Draft correspondence to A. Porter regarding efforts to complete sale of properties (single             0.1       0.003       $1.17
           Disposition                                            family).
March 2021 Asset                     03/17/21 KBD             390 Exchange correspondence with A. Porter regarding purchase and sale agreement                           0.1       0.003       $1.17
           Disposition                                            amendment (single family) (.1)
March 2021 Asset                     03/22/21 KBD             390 Exchange correspondence with A. Porter regarding second amendment to purchase and sale                 0.1       0.003       $1.17
           Disposition                                            agreement (single family).
March 2021 Asset                     03/26/21 KBD             390 Exchange correspondence with A. Porter and real estate broker regarding buyer                          0.5       0.015       $5.85
           Disposition                                            communication relating to conditions of single family residence (single family).
March 2021 Asset                     03/29/21 KBD             390 Telephone conference with A. Porter regarding buyer request for credit (single family) (.2)            0.2       0.006       $2.34
           Disposition
March 2021 Asset                     03/29/21 KBD             390 telephone conference with A. Porter regarding buyer's request for credit and available                 0.2       0.006       $2.34
           Disposition                                            options (single family) (.2)
March 2021 Asset                     03/29/21 KBD             390 follow up call with real estate broker and A. Porter regarding buyer's request for credit and          1.3       0.039      $15.21
           Disposition                                            available options (single family) (1.3)
March 2021 Asset                     03/29/21 KBD             390 confer with real estate broker and A. Porter regarding buyer's request for credit and                  0.5       0.015       $5.85
           Disposition                                            available options (single family) (.5)
March 2021 Asset                     03/30/21 KBD             390 Confer on multiple calls with real estate broker and A. Porter regarding negotiation over              0.7       0.021       $8.19
           Disposition                                            buyer's request for credit and broker's commission (single family) (.7)

March 2021 Asset                     03/30/21 KBD             390 confer with lender's counsel and A. Porter regarding negotiation over buyer's request for              0.2       0.006       $2.34
           Disposition                                            credit and broker's commission (single family) (.2)
March 2021 Asset                     03/30/21 KBD             390 further confer with real estate broker regarding negotiation over buyer's request for credit           0.2       0.006       $2.34
           Disposition                                            and broker's commission and planning for closing (single family) (.2)
March 2021 Asset                     03/30/21 KBD             390 review amendments to sale agreement and commission agreement (single family) and                       0.2       0.006       $2.34
           Disposition                                            related communication with A. Porter (single family) (.2)
March 2021 Asset                     03/31/21 KBD             390 exchange correspondence with A. Porter regarding allocations for single family portfolio               0.2       0.006       $2.34
           Disposition                                            properties (single family) (.2).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2021 Asset                     03/31/21 KBD         390 exchange correspondence with A. Porter regarding second amendment to PSA and closing                   0.2       0.006        $2.34
           Disposition                                        for sale of properties (single family) (.2)
March 2021 Business                  03/02/21 KBD         390 attention to property inspections (single family) (.1).                                                0.1       0.003        $1.17
           Operations
March 2021 Business                  03/11/21 KBD         390 study other property manager financial reporting (.3).                                                 0.3 0.0076923          $3.00
           Operations
March 2021 Business                  03/11/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.4         0.01       $3.90
           Operations                                         W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                              Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                              S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                              Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.4)


March 2021 Business                  03/15/21 KBD         390 Study property manager financial reporting (1017 W 102nd Street, 1516 E 85th Place, 2136               0.5      0.0125        $4.88
           Operations                                         W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th
                                                              Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 4611-17 S Drexel Boulevard, 6217-27
                                                              S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st
                                                              Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 1414-18 East 62nd Place) (.5)


March 2021 Business                  03/16/21 KBD         390 exchange correspondence with insurance broker regarding renewal of insurance (.2)                      0.2 0.0040816          $1.59
           Operations
March 2021 Business                  03/22/21 KBD         390 Exchange correspondence with insurance broker regarding renewal of coverage for all                    0.3 0.0061224          $2.39
           Operations                                         remaining properties.
March 2021 Business                  03/30/21 KBD         390 Study correspondence from insurance broker regarding renewal.                                          0.2 0.0040816          $1.59
           Operations
March 2021 Claims                    03/01/21 KBD         390 work on single claim process and exchange correspondence with J. Wine regarding process                0.3 0.0107143          $4.18
           Administration                                     issues (.3).
           & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2021 Claims                    03/03/21 KBD         390 work on single claim process and study correspondence from J. Wine regarding process                   0.2 0.0071429         $2.79
           Administration                                     issues (.2)
           & Objections

March 2021 Claims                    03/11/21 KBD         390 study proposed process for single claim properties (.3)                                                0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                    03/11/21 KBD         390 confer and exchange correspondence with M. Rachlis and J. Wine regarding single claim                  1.2 0.0428571        $16.71
           Administration                                     properties single claim properties (1.2).
           & Objections

March 2021 Claims                    03/12/21 KBD         390 exchange correspondence regarding single claims process (.1).                                          0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Claims                    03/12/21 KBD         390 confer with J. Wine and A. Porter regarding potential single claim properties and related              0.8 0.0285714        $11.14
           Administration                                     issues (.8)
           & Objections

March 2021 Claims                    03/14/21 KBD         390 Analysis of single claim process (.3)                                                                  0.3 0.0107143         $4.18
           Administration
           & Objections

March 2021 Claims                    03/15/21 KBD         390 telephone conference with claimant's counsel and J. Wine regarding single claim properties             0.5 0.0178571         $6.96
           Administration                                     and process (.5)
           & Objections

March 2021 Claims                    03/19/21 KBD         390 Prepare for and participate in telephone conference with claimants counsel and J. Wine                 0.8       0.024       $9.36
           Administration                                     regarding single claim process and potential third path to claims resolution for certain
           & Objections                                       properties, sale of single family portfolio, and potential alternatives for claims resolution
                                                              (single family) (.8)
March 2021 Claims                    03/31/21 KBD         390 study correspondence from claimant's counsel regarding potential properties for single claim           0.2 0.0071429         $2.79
           Administration                                     process (.2)
           & Objections

March 2021 Claims                    03/31/21 KBD         390 study correspondence from J. Wine regarding single claim process (.1)                                  0.1 0.0035714         $1.39
           Administration
           & Objections

March 2021 Asset                     03/01/21 AEP         390 teleconference with title company underwriters regarding status of transaction, status of              0.3       0.009       $3.51
           Disposition                                        review of remaining exceptions to title, and potential closing date (single family) (.3).




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
March 2021 Asset                     03/01/21 AEP             390 Communications with buyer's counsel, lender's counsel, management companies, and                      0.4       0.012       $4.68
           Disposition                                            brokers regarding prospective purchase and sale of single-family home portfolio regarding
                                                                  property inspection process (single family) (.4)
March 2021 Asset                     03/17/21 AEP             390 Review and revise proposed amendment to purchase and sale contract pertaining to single-              0.2       0.006       $2.34
           Disposition                                            family home portfolio and forward same to K. Duff for execution (single family).

March 2021 Asset                     03/23/21 JR              140 exchange correspondence with A. Porter regarding discrepancies found on the title                     0.2 0.0142857         $2.00
           Disposition                                            commitment and missing legal descriptions regarding same (1017 W 102nd Street, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                                  Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                  S Parnell Avenue) (.2).
March 2021 Asset                     03/23/21 JR              140 Review title commitments and legal descriptions for various parcels and draft closing                 1.8 0.1285714        $18.00
           Disposition                                            documents for single family homes related to EB South Chicago 1 LLC (1017 W 102nd Street,
                                                                  1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue) (1.8)

March 2021 Asset                     03/24/21 AEP             390 Conference call with N. Gastevich and J. Rak regarding status of preparation of closing               0.2       0.006       $2.34
           Disposition                                            documents associated with properties in tenth and eleventh motions to confirm sales, as
                                                                  well as single-family home portfolio (single family).
March 2021 Asset                     03/24/21 JR              140 Draft closing documents for single family homes (single family).                                      6.6       0.198      $27.72
           Disposition
March 2021 Asset                     03/29/21 AEP             390 teleconference with K. Duff regarding offer from prospective purchaser of single family               0.2       0.006       $2.34
           Disposition                                            homes (single family) (.2)
March 2021 Asset                     03/29/21 AEP             390 teleconference with receivership brokers regarding strategy for responding to single-family           0.5       0.015       $5.85
           Disposition                                            home offer received from prospective purchaser (single family) (.5)
March 2021 Asset                     03/29/21 AEP             390 teleconference with receivership brokers to analyze credit requests and formulate strategy            1.3       0.039      $15.21
           Disposition                                            for responding to single- family home offer received (single family) (1.3).

March 2021 Asset                     03/29/21 AEP             390 Review letter from counsel for prospective purchaser of single-family home portfolio                  1.8       0.054      $21.06
           Disposition                                            requesting credits for alleged undisclosed latent defects, review all inspection reports
                                                                  associated with corresponding alleged defects, teleconference with K. Duff regarding
                                                                  potential response to purchaser, and teleconference with counsel for prospective purchaser
                                                                  regarding timing of response, timing of response to title commitment exception letter, and
                                                                  timing of motion to confirm and potential scheduling of closing (single family) (1.8)

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding proposed offer of credit in            0.2       0.006       $2.34
           Disposition                                            connection with prospective sale of single-family homes (single family) (.2)

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and receivership brokers regarding strategy for negotiating with          0.3       0.009       $3.51
           Disposition                                            prospective purchaser of single-family homes (single family) (.3)


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
March 2021 Asset                     03/30/21 AEP             390 continued series of conference calls with receivership brokers, counsel for secured lender,             1.5       0.045      $17.55
           Disposition                                            and K. Duff regarding negotiation of resolution to purchase price credit demanded by
                                                                  prospective purchaser of single-family homes (single family) (1.5).

March 2021 Asset                     03/30/21 AEP             390 teleconference with K. Duff and counsel for secured lender regarding strategy for negotiating           0.2       0.006       $2.34
           Disposition                                            resolution of impasse with prospective purchaser of single-family homes (single family) (.2)

March 2021 Asset                     03/30/21 JR              140 exchange correspondence with A. Porter requesting update to single family home purchase                 0.1       0.003       $0.42
           Disposition                                            and sale contract status relating to the inspection period (single family) (.1).

March 2021 Asset                     03/30/21 JR              140 Review amendments to purchase and sale contract related to properties (single family) (.1)              0.1       0.003       $0.42
           Disposition
March 2021 Asset                     03/30/21 KMP             140 Revise correspondence relating to amendment of representation agreement for single family               0.3       0.009       $1.26
           Disposition                                            homes, and communicate with K. Duff and A. Porter regarding same (single family) (.3)

March 2021 Asset                     03/31/21 AEP             390 continue preparation of thirteenth motion to confirm sale of single-family home portfolio               0.7       0.021       $8.19
           Disposition                                            (single family) (.7)
March 2021 Asset                     03/31/21 AEP             390 review proposed revisions to draft second amendment to purchase and sale agreement                      0.5       0.015       $5.85
           Disposition                                            relating to single-family home portfolio, communicate with K. Duff regarding same, prepare
                                                                  second draft of second amendment, and transmit same to purchaser's counsel and
                                                                  receivership brokers (single family) (.5)
March 2021 Asset                     03/31/21 AEP             390 Begin preparation of thirteenth motion to confirm sale of single-family home portfolio (single          0.8       0.024       $9.36
           Disposition                                            family) (.8)
March 2021 Asset                     03/31/21 AEP             390 teleconference with J. Rak regarding imminent execution of single-family home portfolio                 0.1       0.003       $1.17
           Disposition                                            purchase and sale agreement and preparation of closing documentation (single family) (.1)

March 2021 Asset                     03/31/21 AEP             390 prepare e-mail to counsel for secured lenders on single-family home portfolio regarding                 0.2       0.006       $2.34
           Disposition                                            need for allocation of sales proceeds among individual properties prior to filing motion to
                                                                  confirm (single family) (.2)
March 2021 Asset                     03/31/21 AEP             390 e-mail communications with K. Duff regarding negotiation of allocations of sales proceeds               0.1       0.003       $1.17
           Disposition                                            among single-family home properties (single family) (.1)
March 2021 Asset                     03/31/21 AEP             390 prepare e-mail to receivership brokers regarding necessity of sworn declaration describing              0.2       0.006       $2.34
           Disposition                                            marketing process of single-family home portfolio, including specific facts needed to support
                                                                  motion to confirm sale (single family) (.2)
March 2021 Asset                     03/31/21 JR              140 Exchange communication with A. Porter regarding property portfolio (single family) (.3)                 0.3       0.009       $1.26
           Disposition
March 2021 Business                  03/02/21 ED              390 Continue review and analysis of draft October 2020 accounting reports (2.2)                             2.2 0.0209524         $8.17
           Operations
March 2021 Business                  03/02/21 ED              390 email correspondence to accountant with comments and questions regarding same (.3)                      0.3 0.0028571         $1.11
           Operations
March 2021 Business                  03/03/21 ED              390 Review revised October reports from accountant in response to comments and questions.                   0.7 0.0066667         $2.60
           Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
March 2021 Business                  03/11/21 KMP             140 communication with K. Duff regarding insurance installment payment (.1).                            0.1 0.0019231         $0.27
           Operations
March 2021 Business                  03/11/21 KMP             140 Attention to communication with property manager regarding February 2021 financial                  0.1      0.0025       $0.35
           Operations                                             reporting (.1)
March 2021 Business                  03/12/21 KMP             140 Prepare form for funds transfer to finance company for insurance premium installment and            0.3 0.0057692         $0.81
           Operations                                             communications with K. Duff and bank representative regarding same (.3)

March 2021 Business                  03/29/21 ED              390 Review of email correspondence from accountant regarding drafts of November reports.                0.2 0.0019048         $0.74
           Operations
March 2021 Business                  03/29/21 JR              140 Review email from accounting supervisor related to accounting reports for receivership              1.8 0.0171429         $2.40
           Operations                                             properties and produce same.
March 2021 Business                  03/30/21 ED              390 email correspondence to K. Pritchard regarding reconciliation of backup materials (.1).             0.1 0.0009524         $0.37
           Operations
March 2021 Claims                    03/01/21 JRW             260 confer with A. Porter regarding potential single claim properties (.1)                              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                    03/01/21 JRW             260 review transcript of proceedings and correspondence with K. Duff and M. Rachlis regarding           0.5       0.015       $3.90
           Administration                                         process for addressing single-claim properties (single family) (.5)
           & Objections

March 2021 Claims                    03/01/21 MR              390 Attention to issues regarding claims process for handling single family claims, updates on          0.4       0.012       $4.68
           Administration                                         claims information, and materials to claims vendor.
           & Objections

March 2021 Claims                    03/02/21 JRW             260 exchange correspondence with claimant's counsel regarding single claim properties (.1)              0.1 0.0035714         $0.93
           Administration
           & Objections

March 2021 Claims                    03/03/21 JRW             260 update spreadsheet and related email exchange with A. Porter regarding potential single             0.6 0.0214286         $5.57
           Administration                                         claim properties (.6)
           & Objections

March 2021 Claims                    03/03/21 JRW             260 conference call with claimants' counsel regarding process for single-claim properties (.5)          0.5 0.0178571         $4.64
           Administration
           & Objections

March 2021 Claims                    03/03/21 JRW             260 confer with K. Duff and M. Rachlis regarding single claims process (.1)                             0.1 0.0035714         $0.93
           Administration
           & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
March 2021 Claims                    03/03/21 JRW         260 cursory review of proposal for single claims process and related correspondence to K. Duff             0.1 0.0035714         $0.93
           Administration                                     and M. Rachlis (.1)
           & Objections

March 2021 Claims                    03/11/21 MR          390 review material regarding same (.4).                                                                   0.4 0.0142857         $5.57
           Administration
           & Objections

March 2021 Claims                    03/11/21 MR          390 Participate in call regarding single claims issues (1.5)                                               1.5 0.0535714        $20.89
           Administration
           & Objections

March 2021 Claims                    03/12/21 JRW         260 Conference with A. Porter, and K. Duff regarding single-claim properties and EBF mortgagees            1.6 0.0615385        $16.00
           Administration                                     (1.1), related correspondence with claimants' counsel (.1), and review records on Recorder
           & Objections                                       of Deeds site and related correspondence to K. Duff and A. Porter (.4) (1017 W 102nd Street,
                                                              1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                    03/12/21 JRW         260 correspond with K. Duff regarding claims against single family residence portfolio (single             0.1       0.003       $0.78
           Administration                                     family) (.1).
           & Objections

March 2021 Claims                    03/15/21 JRW         260 prepare for and telephone conference with claimant's counsel and K. Duff regarding process             0.7 0.0269231         $7.00
           Administration                                     for the resolution of claims against properties (.5), and related legal research (.2) (1017 W
           & Objections                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                              Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                              11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                              S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                              9610 S Woodlawn Avenue, 6759 S Indiana Avenue)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
March 2021 Claims                    03/19/21 JRW         260 telephone conference with claimants' counsel regarding process for single-claim properties             1.0 0.0384615         $10.00
           Administration                                     (.8) and related review of spreadsheets regarding EBF mortgagees (.2) (1017 W 102nd Street,
           & Objections                                       1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue)

March 2021 Claims                    03/23/21 JRW         260 research recorder of deeds site and claim submission regarding purported single claim                  2.5 0.0961538         $25.00
           Administration                                     properties identified by claimant and update spreadsheet regarding same (1017 W 102nd
           & Objections                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                              7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,
                                                              11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825
                                                              S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                              9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (2.5)

March 2021 Claims                    03/31/21 JRW         260 study chart from claimants' counsel and related analysis to K. Duff (.4) and continue                  1.3         0.05      $13.00
           Administration                                     analyzing claims against properties (.9) (1017 W 102nd Street, 1516 E 85th Place, 2136 W
           & Objections                                       83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                              6759 S Indiana Avenue).

April 2021   Asset                   04/02/21 KBD         390 Study allocations of value, costs, and commission and various related correspondence (single           0.2       0.006        $2.34
             Disposition                                      family).
April 2021   Asset                   04/05/21 KBD         390 Work on motion to approve sale and exchange related correspondence (single family) and                 0.3       0.009        $3.51
             Disposition                                      exchange related correspondence with A. Porter.
April 2021   Asset                   04/06/21 KBD         390 Exchange correspondence with A. Porter regarding closing costs and efforts to reduce (single           0.2       0.006        $2.34
             Disposition                                      family) (.2)
April 2021   Asset                   04/06/21 KBD         390 study and revise motion to approve sale and exchange various related correspondence                    0.5       0.015        $5.85
             Disposition                                      (single family) (.5).
April 2021   Asset                   04/07/21 KBD         390 Telephone conference with A. Porter regarding draft motion to approve sale of single family            0.2       0.006        $2.34
             Disposition                                      residence portfolio, communications with lender's counsel, property values, closing credits,
                                                              and allocations (single family) (.2)
April 2021   Asset                   04/07/21 KBD         390 study draft motion to approve sale of single family residence portfolio (single family) (.2).          0.2       0.006        $2.34
             Disposition


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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Asset                   04/08/21 KBD         390 Work on motion to approve sale of properties (single family).                                        0.2       0.006       $2.34
             Disposition
April 2021   Asset                   04/09/21 KBD         390 Exchange correspondence with A. Porter regarding revision to and filing of motion to                 0.2       0.006       $2.34
             Disposition                                      approve sale of properties (single family).
April 2021   Asset                   04/10/21 KBD         390 Exchange correspondence regarding filing and service of motion to approve sale of                    0.2       0.006       $2.34
             Disposition                                      properties (single family).
April 2021   Asset                   04/12/21 KBD         390 Exchange various correspondence regarding filing of motion to approve sale of properties             0.2       0.006       $2.34
             Disposition                                      (single family).
April 2021   Asset                   04/15/21 KBD         390 Exchange correspondence with J. Rak regarding property value allocation (single family).             0.2       0.006       $2.34
             Disposition
April 2021   Asset                   04/26/21 KBD         390 exchange correspondence regarding single family residence motion and plans for entry of              0.2       0.006       $2.34
             Disposition                                      order (single family) (.2).
April 2021   Asset                   04/27/21 KBD         390 Work on single family residence motion and entry of order (single family) (.1)                       0.1       0.003       $1.17
             Disposition
April 2021   Business                04/06/21 KBD         390 Study correspondence from E. Duff regarding accounting reports for lender (single family).           0.2       0.006       $2.34
             Operations
April 2021   Business                04/13/21 KBD         390 exchange correspondence with J. Rak regarding real estate tax planning (7024-32 S Paxton             0.2 0.0041667         $1.63
             Operations                                       Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18
                                                              East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham) (.2)


April 2021   Business                04/13/21 KBD         390 exchange correspondence with J. Rak regarding planning for and payment of real estate                0.3     0.00625       $2.44
             Operations                                       taxes and related communications with property manager (.3)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/13/21 KBD         390 study property manager reporting (8047-55 S Manistee Avenue, 7749-59 S Yates Boulevard,              0.3 0.0066667         $2.60
             Operations                                       7450 S Luella Avenue, 8201 S Kingston Avenue, 5450-52 S Indiana Avenue, 6437-41 S
                                                              Kenwood Avenue, 7051 S Bennett Avenue, 7508 S Essex Avenue, 7701-03 S Essex Avenue,
                                                              1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                              Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                              Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 1422-24 East 68th Street,
                                                              1414-18 East 62nd Place) (.3)

April 2021   Business                04/15/21 KBD         390 Work on renewal of property insurance and communications with insurance broker and                   1.0 0.0204082         $7.96
             Operations                                       property managers regarding to same (1.0)
April 2021   Business                04/16/21 KBD         390 Exchange various correspondence regarding renewal of insurance (7024-32 S Paxton Avenue,             0.3     0.00625       $2.44
             Operations                                       7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                              62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109- 19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2021   Business                04/19/21 KBD         390 Exchange correspondence with J. Rak regarding real estate tax planning and reporting (2800-            0.3 0.0065217         $2.54
             Operations                                       06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street,
                                                              1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3)

April 2021   Business                04/27/21 KBD         390 Exchange correspondence with J. Rak and E. Duff regarding properties, closing planning, and            0.8 0.0173913         $6.78
             Operations                                       insurance renewal (2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East 62nd
                                                              Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.8)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Business                04/28/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444         $1.73
             Operations                                       Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)).


April 2021   Business                04/29/21 KBD         390 Exchange correspondence with insurance broker regarding renewal and work on same with                0.5 0.0111111         $4.33
             Operations                                       J. Rak (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E
                                                              85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
                                                              Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                              S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                              W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                              2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                              1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue,
                                                              6217-27 S Dorchester Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24
                                                              East 68th Street, 7109-19 S Calumet Avenue, 1102 Bingham (Houston, TX)) (.5)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated    Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours         Fees
April 2021   Business                04/30/21 KBD         390 Exchange correspondence with insurance broker regarding renewal (4611-17 S Drexel                    0.2 0.0044444          $1.73
             Operations                                       Boulevard, 1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


April 2021   Claims                  04/05/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0052632          $2.05
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen
             & Objections                                     Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th
                                                              Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.1)

April 2021   Claims                  04/07/21 KBD         390 Confer with J. Wine regarding single claims properties and process (1017 W 102nd Street,             0.6 0.0315789         $12.32
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen
             & Objections                                     Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th
                                                              Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W
                                                              71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue).

April 2021   Claims                  04/08/21 KBD         390 study chart, spreadsheet, and mortgage record regarding single claim properties and process          0.3 0.0107143          $4.18
             Administration                                   and exchange related correspondence (.3)
             & Objections

April 2021   Claims                  04/09/21 KBD         390 confer with J. Wine, A. Porter, M. Rachlis regarding scope of properties for single claim            1.9          0.1      $39.00
             Administration                                   process (1017 W 102nd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                     Avenue, 8403 S Aberdeen Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S
                                                              Throop Street, 406 E 87th Place, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                              Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                              8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue) (1.9)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
April 2021   Claims                  04/13/21 KBD         390 study analysis of lender properties potentially subject to single claim process and exchange           0.6 0.0315789        $12.32
             Administration                                   related correspondence with J. Wine (1017 W 102nd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                     Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street, 9212 S Parnell Avenue,
                                                              10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th Place, 6825 S Indiana Avenue,
                                                              7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 6759 S Indiana Avenue) (.6)

April 2021   Claims                  04/14/21 KBD         390 Telephone conference with SEC (.8)                                                                     0.8 0.0285714        $11.14
             Administration
             & Objections

April 2021   Claims                  04/15/21 KBD         390 study correspondence from J. Wine regarding single claim process (.3).                                 0.3 0.0107143         $4.18
             Administration
             & Objections

April 2021   Claims                  04/21/21 KBD         390 study correspondence from claimant's counsel regarding single claim properties (.1).                   0.1 0.0035714         $1.39
             Administration
             & Objections

April 2021   Claims                  04/26/21 KBD         390 work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,              0.3 0.0115385         $4.50
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette
             & Objections                                     Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S
                                                              Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E
                                                              87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S
                                                              Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue,
                                                              8517 S Vernon Avenue,2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue) (.3)

April 2021   Claims                  04/28/21 KBD         390 Telephone conference with J. Wine in preparation for call with claimants' counsel regarding            0.1 0.0035714         $1.39
             Administration                                   process for single claim properties (.1)
             & Objections

April 2021   Claims                  04/28/21 KBD         390 draft correspondence to claimants' counsel regarding call and planning for process for single          0.1 0.0035714         $1.39
             Administration                                   claim properties and exchange related correspondence (.1).
             & Objections




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
April 2021   Claims                  04/29/21 KBD             390 telephone conference with J. Wine regarding potential lender properties to be included in            0.4 0.0153846         $6.00
             Administration                                       single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
             & Objections                                         Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                  8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell
                                                                  Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E 87th
                                                                  Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                                  Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S
                                                                  Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.4)

April 2021   Claims                  04/29/21 KBD             390 review spreadsheets, property and claims information, and various correspondence relating            0.5 0.0192308         $7.50
             Administration                                       to potential lender properties to be included in single claim process (1017 W 102nd Street,
             & Objections                                         1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                  Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                                  Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                  Woodlawn Avenue, 6759 S Indiana Avenue) (.5).

April 2021   Claims                  04/30/21 KBD             390 study correspondence and information regarding single claim properties (1017 W 102nd                 0.2 0.0153846         $6.00
             Administration                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                         7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue,
                                                                  7110 S Cornell Avenue) (.2)
April 2021   Asset                   04/01/21 AEP             390 Review title commitment for each property in single-family home portfolio, create list of            4.2       0.126      $49.14
             Disposition                                          special exceptions requiring attention and create exhibit to forthcoming motion to confirm
                                                                  identifying all encumbrances on all 38 properties (single family) (4.2)

April 2021   Asset                   04/01/21 AEP             390 teleconference with counsel for secured lenders regarding process for allocating values              0.6       0.018       $7.02
             Disposition                                          across all individual properties in single-family home portfolio (single family) (.6)

April 2021   Asset                   04/01/21 AEP             390 communications with prospective purchaser of single-family homes regarding earnest                   0.1       0.003       $1.17
             Disposition                                          money wiring instructions (single family) (.1)
April 2021   Asset                   04/01/21 AEP             390 prepare communications to property managers regarding restrictions on new leases and                 0.1       0.003       $1.17
             Disposition                                          building security at single-family homes (single family) (.1)
April 2021   Asset                   04/01/21 JR              140 Update property sale income spreadsheet and produce same to K. Duff (see D) (.9)                     0.9 0.0085714         $1.20
             Disposition
April 2021   Asset                   04/02/21 AEP             390 prepare spreadsheet of single-family homes, review purchaser's inspection contingency price          1.2       0.036      $14.04
             Disposition                                          reduction demands, confer with K. Duff, and create proposed allocations of value for
                                                                  inclusion in thirteenth motion to confirm sales (single family) (1.2)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                          Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                           Hours        Fees
April 2021   Asset                   04/02/21 AEP         390 review chain of title for every single property in single-family home portfolio and compile list          4.1       0.123      $47.97
             Disposition                                      of all mortgage encumbrances against same in connection with finalization of title
                                                              commitments and preparation of motion to confirm sale (single family) (4.1).

April 2021   Asset                   04/02/21 AEP         390 review spreadsheet prepared by title company, communicate with K. Duff regarding                          0.8       0.024       $9.36
             Disposition                                      estimate of fire damage sustained at single-family home property, merge spreadsheets,
                                                              prepare final draft of proposed allocations of value of single-family homes, and transmit
                                                              same to title company and lender's counsel requesting prompt review and finalization (single
                                                              family) (.8)
April 2021   Asset                   04/02/21 AEP         390 communications with lenders' counsel regarding methodology for allocating values of single-               0.2       0.006       $2.34
             Disposition                                      family home properties (single family) (.2)
April 2021   Asset                   04/05/21 AEP         390 continue preparing motion to confirm sale of single-family homes and accompanying                         1.6       0.048      $18.72
             Disposition                                      exhibits (single family) (1.6)
April 2021   Asset                   04/05/21 AEP         390 prepare first draft of brokers declaration regarding single-family home marketing process                 0.4       0.012       $4.68
             Disposition                                      (single family) (.4)
April 2021   Asset                   04/05/21 JRW         260 related review of offering memorandum (single family) (.1)                                                0.1       0.003       $0.78
             Disposition
April 2021   Asset                   04/05/21 JRW         260 Review and revise 13th motion to confirm sales (single family) (.3)                                       0.3       0.009       $2.34
             Disposition
April 2021   Asset                   04/06/21 AEP         390 teleconference with title company regarding final computation of agency fees and                          0.2       0.006       $2.34
             Disposition                                      mechanics and timeline for closing of single-family homes portfolio (single family) (.2)

April 2021   Asset                   04/06/21 AEP         390 incorporate J. Wine's comments into draft motion to confirm sale of single-family home                    0.1       0.003       $1.17
             Disposition                                      portfolio (single family) (.1)
April 2021   Asset                   04/06/21 AEP         390 review offering memorandum relating to single-family home portfolio and revise sworn                      0.2       0.006       $2.34
             Disposition                                      declaration of receivership broker (single family) (.2)
April 2021   Asset                   04/06/21 AEP         390 teleconferences with title underwriters regarding various approaches to structuring closing               0.4       0.012       $4.68
             Disposition                                      of single-family portfolio sale (single family) (.4)
April 2021   Asset                   04/06/21 AEP         390 communications with M. Rachlis and K. Duff regarding valuation methodology relating to                    0.2       0.006       $2.34
             Disposition                                      motion to confirm sale of single-family home portfolio (single family) (.2)

April 2021   Asset                   04/06/21 AEP         390 teleconference with title underwriters regarding additional issues associated with closing of             0.3       0.009       $3.51
             Disposition                                      sale of single-family homes, including allocations of closing costs and proof of notice to
                                                              affected mortgagees (single family) (.3)
April 2021   Asset                   04/06/21 AEP         390 continue preparation of motion to confirm sales of single-family homes portfolio, including               2.1       0.063      $24.57
             Disposition                                      preparation of proposed order, preparation of remaining exhibits, final reconciliation of
                                                              declaration of receivership broker with factual assertions in brief, assemble all
                                                              documentation, and forward to receiver with request for final comments (single family) (2.1)

April 2021   Asset                   04/06/21 AEP         390 review all title exceptions by prospective purchaser of single-family homes, research same,               3.8       0.114      $44.46
             Disposition                                      and prepare comprehensive list of remaining action items associated with requirement to
                                                              convey clean title (single family) (3.8).




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                             Allocated   Allocated
              Billing Category   Entry Date                 Rate                                            Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                              Hours        Fees
April 2021   Asset                   04/06/21 JR              140 review email from A. Porter regarding zoning certificates for single family homes, update                    1.8       0.054       $7.56
             Disposition                                          same and further correspond with the title company requesting to process in anticipation for
                                                                  closing (single family) (1.8).
April 2021   Asset                   04/06/21 MR              390 Attention to 13th sales motion (single family) (.2) communicate regarding same with A.                       0.4       0.012       $4.68
             Disposition                                          Porter and other team members on methodology for single family homes (single family) (.2).

April 2021   Asset                   04/07/21 AEP             390 make final edits to motion to confirm sale of single-family home portfolio, assemble all                     0.5       0.015       $5.85
             Disposition                                          exhibits, and transmit to counsel for institutional lender for final review prior to filing (single
                                                                  family) (.5).
April 2021   Asset                   04/07/21 AEP             390 teleconference with K. Duff regarding final allocation issues associated with motion to                      0.2       0.006       $2.34
             Disposition                                          confirm sale of single-family home portfolio (single family) (.2)
April 2021   Asset                   04/08/21 AEP             390 finalize response to counsel for prospective purchaser of single-family home portfolio                       0.4       0.012       $4.68
             Disposition                                          regarding special exceptions to be deleted from title commitment (single family) (.4)

April 2021   Asset                   04/08/21 AEP             390 Communications with title company regarding processing of zoning certificates for single-                    0.2       0.006       $2.34
             Disposition                                          family homes, correction of errors regarding unit counts, and timing of processing of water
                                                                  certificates (single family) (.2)
April 2021   Asset                   04/08/21 AEP             390 prepare comprehensive e-mail memorandum to title underwriter regarding basis for                             0.8       0.024       $9.36
             Disposition                                          deletion of numerous special exceptions on title to single-family home portfolio (single
                                                                  family) (.8)
April 2021   Asset                   04/08/21 AEP             390 review final signed declaration from receivership broker, audit and finalize all exhibits to                 0.3       0.009       $3.51
             Disposition                                          motion to confirm sale of single-family home portfolio, and deliver final motion papers to K.
                                                                  Duff for filing and service (single family) (.3)
April 2021   Asset                   04/08/21 JR              140 Review single family homes due diligence documents in preparation for closing and update                     1.1       0.033       $4.62
             Disposition                                          electronic files (single family).
April 2021   Asset                   04/09/21 AEP             390 Teleconference with J. Rak regarding status of preparation of closing documents (single-                     0.3     0.00225       $0.88
             Disposition                                          family, 4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue) (.3)

April 2021   Asset                   04/09/21 JR              140 exchange correspondence with buyer requesting buyer information required for upcoming                        0.2       0.006       $0.84
             Disposition                                          closings (single family) (.2)
April 2021   Asset                   04/12/21 AW              140 Review thirteenth sale motion and prepare notice of motion and certificate of service for                    0.7       0.021       $2.94
             Disposition                                          title company (single family) (.7)
April 2021   Asset                   04/12/21 AW              140 email exchange regarding filing of thirteenth sale motion, finalize motion, file with court, and             0.4       0.012       $1.68
             Disposition                                          communicate with K. Duff regarding service of same (single family) (.4)

April 2021   Asset                   04/12/21 AW              140 prepare service email and serve as per certificate of service (single family) (.4).                          0.4       0.012       $1.68
             Disposition
April 2021   Asset                   04/12/21 KMP             140 Communications with K. Duff and A. Watychowicz regarding thirteenth motion to approval                       0.2       0.006       $0.84
             Disposition                                          property sales and related affidavit of service requested by title company (single family).

April 2021   Asset                   04/13/21 JR              140 Review email from K. Duff relating to closed properties and post-closing reconciliation                      0.1 0.0009524         $0.13
             Disposition                                          amounts and respond accordingly (see D) (.1)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with K. Duff pertaining to status of balance of property taxes and             0.1 0.0009524          $0.13
             Disposition                                          payment of same (see D) (.1)
April 2021   Asset                   04/13/21 JR              140 review previous reports and further correspond with the property managers regarding post-              0.3 0.0028571          $0.40
             Disposition                                          reconciliation amounts (see D) (.3)
April 2021   Asset                   04/13/21 JR              140 update property tax balance for remainder of properties in the estate and communicate with             1.3 0.0265306          $3.71
             Disposition                                          K. Duff regarding same (see E) (1.3)
April 2021   Asset                   04/13/21 JR              140 exchange correspondence with buyer regarding requested buyer information related to                    0.1       0.003        $0.42
             Disposition                                          closings (single family) (.1)
April 2021   Asset                   04/13/21 JR              140 review post reconciliation amounts, update reports and further exchange correspondence                 1.4 0.0133333          $1.87
             Disposition                                          with K. Duff and property management regarding same for closed properties (see D) (1.4)

April 2021   Asset                   04/14/21 JR              140 review additional due diligence documents related to single family homes (single family) (.5)          0.5       0.015        $2.10
             Disposition
April 2021   Asset                   04/14/21 JR              140 update closing documents related to the single family home portfolio (single family) (2.8).            2.8       0.084       $11.76
             Disposition
April 2021   Asset                   04/14/21 JR              140 exchange correspondence with property management requesting payment of all property                    0.2 0.0040816          $0.57
             Disposition                                          tax balances that remain in the EquityBuild estate (see E) (.2)
April 2021   Asset                   04/15/21 AEP             390 Comprehensive and final review and inventory of all exceptions to title on single-family               2.3       0.069       $26.91
             Disposition                                          home portfolio, preparation of final checklist, and transmit same to title company
                                                                  underwriter with request for teleconference (single family) (2.3)
April 2021   Asset                   04/15/21 AEP             390 prepare e-mail to property manager requesting information regarding status of payment of               0.2          0.1      $39.00
             Disposition                                          judgments against single-family homes (7210 S Vernon Avenue, 7922 S Luella Avenue) (.2)

April 2021   Asset                   04/15/21 JR              140 review email from K. Duff requesting updated spreadsheet related to purchase price, sale               0.7       0.021        $2.94
             Disposition                                          price and single family home value allocations related to all properties, further related
                                                                  correspondence with A. Porter and prepare report regarding value allocations (single family)
                                                                  (.7)
April 2021   Asset                   04/15/21 JR              140 update water applications for single family homes (single family) (2.6).                               2.6       0.078       $10.92
             Disposition
April 2021   Asset                   04/15/21 JR              140 update master spreadsheet portfolio with value allocations related to single family homes              0.5       0.015        $2.10
             Disposition                                          (single family) (.5)
April 2021   Asset                   04/16/21 JR              140 review email from title company related to processed water applications for single family              0.1       0.001        $0.14
             Disposition                                          homes and other properties scheduled to close and update electronic files (single family,
                                                                  4611-17 S Drexel Boulevard, 7024-32 S Paxton Avenue) (.1)

April 2021   Asset                   04/16/21 JR              140 exchange correspondence with buyer requesting buyer information related to water bills for             0.2       0.006        $0.84
             Disposition                                          single family homes (single family) (.2)
April 2021   Asset                   04/16/21 JR              140 review email from property management related to review of tax payments regarding past                 1.3 0.0265306          $3.71
             Disposition                                          due and current property tax payments, save in electronic files and update spreadsheet
                                                                  regarding same (see E) (1.3)
April 2021   Asset                   04/16/21 JR              140 Update water applications for single family homes (single family) (1.3)                                1.3       0.039        $5.46
             Disposition




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
April 2021   Asset                   04/16/21 JR              140 update buyer information on water applications for single family homes (single family) (1.7).          1.7       0.051       $7.14
             Disposition
April 2021   Asset                   04/19/21 AEP             390 Teleconference with title company underwriter regarding requests for waiver of assorted                0.7       0.021       $8.19
             Disposition                                          special exceptions to title commitments on single-family home portfolio (single family) (.7)

April 2021   Asset                   04/19/21 AEP             390 review latest revised title commitments on single-family home portfolio and save in files              0.1       0.003       $1.17
             Disposition                                          (single family) (.1).
April 2021   Asset                   04/19/21 JR              140 Review email from K. Duff related to status of property tax payments on the remainder of               0.2 0.0040816         $0.57
             Disposition                                          EquityBuild properties in the estate and provide requested information (see E) (.2)

April 2021   Asset                   04/20/21 AEP             390 communications with prospective purchaser of single-family homes regarding projected                   0.2       0.006       $2.34
             Disposition                                          closing timeline (single family) (.2)
April 2021   Asset                   04/26/21 JR              140 review email from A. Porter related to obtaining releases related to single family homes in            0.1       0.003       $0.42
             Disposition                                          preparation for closing and respond accordingly (single family) (.1).
April 2021   Asset                   04/27/21 AEP             390 Cursory review of judicial order approving motion to confirm sale of single-family home                0.2       0.006       $2.34
             Disposition                                          portfolio and distribute same to brokers, title underwriters, buyers, buyers' counsel, and
                                                                  counsel for institutional lenders (single family) (.2)
April 2021   Asset                   04/27/21 AEP             390 review zoning certificates received on various single-family home properties and                       0.2       0.006       $2.34
             Disposition                                          communicate with J. Rak regarding filing and inventorying of same (single family) (.2).

April 2021   Asset                   04/27/21 AW              140 Communicate with J., Wine regarding proposed order granting thirteenth sale motion, work               0.5       0.015       $2.10
             Disposition                                          to finalize order, and email J. Wine regarding same (single family).
April 2021   Asset                   04/27/21 JR              140 Follow up correspondence with buyer requesting buyer information in anticipation of                    0.2       0.006       $0.84
             Disposition                                          closings (single family) (.2)
April 2021   Asset                   04/27/21 JRW             260 Finalize proposed order granting 13th sales motion (single family) (.4)                                0.4       0.012       $3.12
             Disposition
April 2021   Asset                   04/27/21 JRW             260 related correspondence to courtroom deputy regarding entry of order (single family) (.3).              0.3       0.009       $2.34
             Disposition
April 2021   Asset                   04/28/21 AEP             390 E-mail communications with title underwriter regarding inability to obtain releases of prior           0.2       0.003       $1.17
             Disposition                                          security documents (5437 S Laflin Street) (.1), e-mail communications with J. Rak regarding
                                                                  inability to obtain new borrower information from prospective purchaser of single-family
                                                                  homes and need to update title commitments (single family) (.1)

April 2021   Asset                   04/28/21 JR              140 Exchange communication with buyer relating to scheduling of properties for closing (single             0.5       0.015       $2.10
             Disposition                                          family) (.5)
April 2021   Asset                   04/28/21 JR              140 exchange correspondence with vendor requesting processing of water certifications                      0.1       0.003       $0.42
             Disposition                                          regarding properties (single family) (.1)
April 2021   Asset                   04/29/21 JR              140 submit water applications to the title company regarding water applications (single family)            0.6       0.018       $2.52
             Disposition                                          (.6)
April 2021   Asset                   04/29/21 JR              140 exchange correspondence with the title company requesting updates to the title                         0.3       0.009       $1.26
             Disposition                                          commitments for properties (single family) (.3)
April 2021   Asset                   04/29/21 JR              140 further correspond with the title company regarding water applications (single family) (.3)            0.3       0.009       $1.26
             Disposition


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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours        Fees
April 2021   Asset                   04/29/21 JR              140 review email from vendor regarding obtaining water certifications for properties and related             0.2       0.006       $0.84
             Disposition                                          correspondence with A. Porter (single family) (.2)
April 2021   Asset                   04/30/21 AEP             390 review water certificates received for all properties in EB South Chicago 1 and EB South                 0.2 0.0068966         $2.69
             Disposition                                          Chicago 2 (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue) and update closing checklists (.2)

April 2021   Asset                   04/30/21 AEP             390 review assignment of purchase and sale contract associated with single-family home                       0.3       0.009       $3.51
             Disposition                                          portfolio and update receivership spreadsheet tying each property to each prospective
                                                                  purchaser (single family) (.3)
April 2021   Asset                   04/30/21 AEP             390 review value allocations for single-family homes for listing purposes and value allocations per          0.6       0.018       $7.02
             Disposition                                          agreement with secured lenders, and include information in portfolio spreadsheet (single
                                                                  family) (.6).
April 2021   Asset                   04/30/21 JR              140 review requested water certification and update electronic files for properties (single family)          0.6       0.018       $2.52
             Disposition                                          (.6)
April 2021   Asset                   04/30/21 JR              140 review email from property management regarding requested property reports related to                    0.2 0.0042553         $0.60
             Disposition                                          the property insurance renewals (see A) (.2)
April 2021   Asset                   04/30/21 JR              140 exchange correspondence with property management requesting updated rent rolls for                       0.2 0.0042553         $0.60
             Disposition                                          remainder of properties in the estate regarding property insurance renewal (see A) (.2)

April 2021   Business                04/05/21 ED              390 begin review drafts of November accounting reports for 14 properties (1017 W 102nd Street,               0.2 0.0142857         $5.57
             Operations                                           1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                                  Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue) (.2)

April 2021   Business                04/05/21 ED              390 and related email correspondence with K. Duff and M. Rachlis (.2).                                       0.2 0.0047619         $1.86
             Operations




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
April 2021   Business                04/05/21 ED              390 review and reply to lender's counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd             0.3 0.0071429         $2.79
             Operations                                           Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                                  Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                                  Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                                  S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                                  87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                                  Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S
                                                                  Laflin Street, 6759 S Indiana Avenue, 9610 S Woodlawn Avenue, 7300-04 St Lawrence
                                                                  Avenue, 7760 S Coles Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                  Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue, 8214-16 S
                                                                  Ingleside Avenue) regarding financial reporting (.3)


April 2021   Business                04/07/21 JR              140 review November property financial reports (1.5).                                                     1.5 0.0142857         $2.00
             Operations
April 2021   Business                04/07/21 JR              140 Review email from E. Duff related to status of November property report review and                    0.1 0.0009524         $0.13
             Operations                                           respond accordingly (.1)
April 2021   Business                04/08/21 KMP             140 Communications with insurance broker and K. Duff regarding confirmation that no additional            0.2 0.0040816         $0.57
             Operations                                           funds are owed on GL/umbrella and property insurance policies with financing company.

April 2021   Business                04/09/21 JR              140 Review property financial reports.                                                                    3.2 0.0304762         $4.27
             Operations
April 2021   Business                04/27/21 SZ              110 Email communication with property manager to obtain list of repairs associated with SFH-              2.4 0.1714286        $18.86
             Operations                                           Trench 1 properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 S
                                                                  Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                                  8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S
                                                                  Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Ave), SFH-
                                                                  Tranch 2 properties (10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street,
                                                                  3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S
                                                                  Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue,
                                                                  8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon
                                                                  Avenue) to review and retrieve repair documentation.

April 2021   Business                04/29/21 JR              140 Review email from K. Duff related to property insurance renewal workbook and make                     1.1 0.0234043         $3.28
             Operations                                           requested updates to same (see A) (1.1)
April 2021   Business                04/29/21 JR              140 exchange correspondence with K. Duff regarding property insurance (see A) (.1).                       0.1 0.0021277         $0.30
             Operations
April 2021   Business                04/30/21 JR              140 Exchange correspondence with J. Wine and E. Duff regarding names of institutional lenders             0.2 0.0042553         $0.60
             Operations                                           as additional insured relating to property insurance renewal (See A).

April 2021   Business                04/30/21 JRW             260 email exchange with J. Rak and E. Duff regarding injured parties on insurance policies (.1).          0.1 0.0021277         $0.55
             Operations


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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
April 2021   Claims                  04/05/21 JRW         260 correspondence with claimant's counsel regarding proposed claims process (.1)                        0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                  04/07/21 JRW         260 telephone conference with K. Duff regarding claims process (1017 W 102nd Street, 417                 0.6 0.0315789         $8.21
             Administration                                   Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street,
             & Objections                                     9212 S Parnell Avenue, 10012 S LaSalle Avenue, 3213 S Throop Street, 406 E 87th Place, 6825
                                                              S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street,
                                                              9610 S Woodlawn Avenue, 6759 S Indiana Avenue) (.6)

April 2021   Claims                  04/09/21 AEP         390 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding competing claims under                2.1       0.063      $24.57
             Administration                                   varying factual scenarios in connection with single-family home portfolio (single family).
             & Objections

April 2021   Claims                  04/13/21 JRW         260 continued analysis of properties with single claim (1516 E 85th Place, 2136 W 83rd Street,           2.0 0.0714286        $18.57
             Administration                                   7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
             & Objections                                     Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue, 417 Oglesby Avenue, 7925 S Kingston Avenue, 2129 W 71st Street, 1017 W
                                                              102nd Street, 8403 S Aberdeen Street, 8432 S Essex Avenue, 10012 S LaSalle Avenue, 3213 S
                                                              Throop Street, 406 E 87th Place, 7712 S Euclid Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 6759 S Indiana Avenue, 8346 S Constance Avenue, 9212 S Parnell Avenue,
                                                              8107 S Kingston Avenue, 8517 S Vernon Avenue, 9610 S Woodlawn Avenue) and prepare
                                                              related spreadsheet (2.0)

April 2021   Claims                  04/13/21 JRW         260 correspondence with claimants' counsel regarding claims process for single claim properties          0.3 0.0107143         $2.79
             Administration                                   and related exchange with K. Duff (.3)
             & Objections

April 2021   Claims                  04/13/21 MR          390 attention to emails regarding single claims process (.2).                                            0.2 0.0071429         $2.79
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
April 2021   Claims                  04/14/21 AEP         390 Review spreadsheet of claim types relating to mortgages, research title for each property,            2.0 0.0571429        $22.29
             Administration                                   and prepare list of corrections (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,
             & Objections                                     417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston
                                                              Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 7300-04 S St Lawrence
                                                              Avenue, 7760 S Coles Avenue).

April 2021   Claims                  04/15/21 JRW         260 review proposed procedures addressing single claims against properties from claimants'                0.3 0.0107143         $2.79
             Administration                                   counsel and related analysis to K. Duff (.3)
             & Objections

April 2021   Claims                  04/15/21 JRW         260 telephone conference with claimants' counsel regarding liens against single claim properties          1.1 0.0392857        $10.21
             Administration                                   (1.1)
             & Objections

April 2021   Claims                  04/28/21 JRW         260 telephone conference with K. Duff in preparation for call with claimants' counsel regarding           0.1 0.0035714         $0.93
             Administration                                   process for single claim properties (.1)
             & Objections

April 2021   Claims                  04/28/21 JRW         260 email exchange with claimants' counsel regarding process for single claims (.1)                       0.1 0.0035714         $0.93
             Administration
             & Objections

April 2021   Claims                  04/29/21 JRW         260 telephone conference with claimants' counsel regarding proposed process for single claim              0.5 0.0178571         $4.64
             Administration                                   properties (.5)
             & Objections

April 2021   Claims                  04/30/21 JRW         260 study proposed process for single claim properties and standard discovery, prepare notes              2.2 0.0785714        $20.43
             Administration                                   regarding response to same, related telephone conferences with K. Duff, and related
             & Objections                                     correspondence to claimants' counsel (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
                                                              Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 406 E 87th Place, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,
                                                              6759 S Indiana Avenue, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (2.2).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2021     Asset                   05/06/21 KBD         390 exchange correspondence with J. Rak regarding sale of properties and segregated accounts              0.2       0.006       $2.34
             Disposition                                      (single family) (.2).
May 2021     Asset                   05/13/21 KBD         390 Telephone conference with real estate broker regarding efforts to sell remaining properties           0.2 0.0045455         $1.77
             Disposition                                      (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                              Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                              8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.2)


May 2021     Asset                   05/17/21 KBD         390 review update of closings from J. Rak (single family, 7255 S Euclid Avenue, 6217-27 S                 0.1     0.00075       $0.29
             Disposition                                      Dorchester Avenue, 7237-43 S Bennett Avenue) (.1).
May 2021     Asset                   05/20/21 KBD         390 telephone conference with J. Rak regarding problems with purchaser and obtaining                      0.2       0.006       $2.34
             Disposition                                      necessary documents for closing, including relating to unique municipality issues (single
                                                              family) (.2).
May 2021     Asset                   05/20/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding water payment and transfer             0.2       0.006       $2.34
             Disposition                                      tax payments and logistics for closing (single family) (.2)
May 2021     Asset                   05/21/21 KBD         390 attention to closing costs and related correspondence (single family) (.1).                           0.1       0.003       $1.17
             Disposition
May 2021     Asset                   05/24/21 KBD         390 Exchange correspondence with J. Rak regarding closing proceeds and allocation issues (single          0.2       0.006       $2.34
             Disposition                                      family).
May 2021     Asset                   05/25/21 KBD         390 Work with Andrew Porter and Justyna Rak on closing documents (single family) (1.5)                    1.5       0.045      $17.55
             Disposition
May 2021     Asset                   05/26/21 KBD         390 exchange correspondence regarding sale proceeds, segregated accounts, and allocations                 0.1       0.003       $1.17
             Disposition                                      (single family) (.1).
May 2021     Asset                   05/27/21 KBD         390 Exchange correspondence regarding deposit of sale proceeds and allocation (single family)             0.2       0.006       $2.34
             Disposition                                      (.2)
May 2021     Asset                   05/27/21 KBD         390 telephone conference with and study correspondence from title company representative                  0.3       0.009       $3.51
             Disposition                                      and exchange correspondence with bank representative regarding transfer of closing
                                                              proceeds (single family) (.3).
May 2021     Asset                   05/28/21 KBD         390 Telephone conference and exchange correspondence with A. Porter and J. Rak regarding                  0.6       0.018       $7.02
             Disposition                                      closing and disbursement of funds for sale of portfolio of properties (single family) (.6)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
May 2021     Business                05/03/21 KBD         390 work on insurance renewal (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 1017 W                0.3 0.0066667         $2.60
             Operations                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
                                                              Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3).

May 2021     Business                05/04/21 KBD         390 Work on insurance renewal and draft correspondence to broker regarding updated                        0.3    0.006383       $2.49
             Operations                                       information (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham, 11318 S Church
                                                              Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                              2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 417
                                                              Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                              S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                              Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                              Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                              Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                              S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                              310 E 50th Street, 6807 S Indiana Avenue) (.3)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2021     Business                05/05/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding                          0.2 0.0042553         $1.66
             Operations                                       comparison of rates (10012 S LaSalle Avenue, 1017 W 102nd Street, 1102 Bingham , 11318 S
                                                              Church Street, 1401 W 109th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W
                                                              71st Street, 2136 W 83rd Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              417 Oglesby Avenue, 4611-17 S. Drexel Boulevard, 61 E 92nd Street, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7024 S Paxton Avenue, 7109-7119 S Calumet Avenue, 7201
                                                              S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 7712 S Euclid
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 7953 S
                                                              Woodlawn Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8107 S Kingston
                                                              Avenue, 8346 S Constance Avenue, 8405 S Marquette Avenue, 8432 S Essex Avenue, 8517 S
                                                              Vernon Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 9610 S
                                                              Woodlawn Avenue, 2800-06 E 81st Street, 6759 S Indiana Avenue, 5437 S Laflin Street, 7210
                                                              S Vernon Avenue, 6825 S Indiana Avenue, 6554 S Rhodes Avenue, 7110 S Cornell Avenue,
                                                              310 E 50th Street, 6807 S Indiana Avenue) (.2)


May 2021     Business                05/07/21 KBD         390 Work on insurance renewal and exchange correspondence with broker regarding renewal,                 0.5 0.0111111         $4.33
             Operations                                       quotes, and potential finance terms (4611-17 S Drexel Boulevard, 1414-18 East 62nd Place,
                                                              1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                              Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                              8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                              Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.5)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/10/21 KBD         390 Work on insurance renewal and terms (1414-18 East 62nd Place, 1017 W 102nd Street, 1516                0.5 0.0113636         $4.43
             Operations                                       E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
                                                              Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex
                                                              Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437 S Laflin
                                                              Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.5)

May 2021     Business                05/11/21 KBD         390 Study insurance renewal quote and exchange correspondence with broker (1414-18 East                    0.3 0.0068182         $2.66
             Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)).

May 2021     Business                05/12/21 KBD         390 Exchange correspondence with broker regarding insurance renewal (1414-18 East 62nd                     0.2 0.0045455         $1.77
             Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
May 2021     Business                05/19/21 KBD         390 Exchange correspondence with insurance broker regarding coverage renewal (1414-18 East                 0.3 0.0068182         $2.66
             Operations                                       62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                              Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                              Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                              Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                              61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                              7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                              Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                              Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                              6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                              Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                              Avenue, 1102 Bingham (Houston, TX)) (.3)

May 2021     Business                05/19/21 KBD         390 exchange correspondence with J. Rak regarding insurance renewal and remaining properties               0.1 0.0022727         $0.89
             Operations                                       (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                              Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,
                                                              8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S
                                                              Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012
                                                              S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E
                                                              87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon
                                                              Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                              Woodlawn Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E
                                                              50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                              Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19
                                                              S Calumet Avenue, 1102 Bingham (Houston, TX)) (.1)


May 2021     Business                05/21/21 KBD         390 review and execute application documents for renewal of insurance (1414-18 East 62nd                   0.3 0.0068182         $2.66
             Operations                                       Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                              7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S
                                                              Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                              Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,
                                                              6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid
                                                              Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 5437
                                                              S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                              Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N Avers Avenue,
                                                              7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet Avenue, 1102
                                                              Bingham (Houston, TX)) (.3).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
May 2021     Claims                  05/06/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (1017 W 102nd Street,            0.1 0.0035714         $1.39
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.1)

May 2021     Claims                  05/07/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            0.2 0.0071429         $2.79
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                              Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                              Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                              Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                              Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Claims                  05/10/21 KBD         390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,            4.0 0.1428571        $55.71
             Administration                                   417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                     Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                              Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                              Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                              Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                              Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (4.0)

May 2021     Claims                  05/11/21 KBD         390 telephone conferences with J. Wine regarding single claim process (1017 W 102nd Street,              0.3 0.0107143         $4.18
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.3)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
May 2021     Claims                  05/11/21 KBD             390 confer with M. Rachlis and J. Wine regarding single claim process (1017 W 102nd Street,               1.7 0.0607143        $23.68
             Administration                                       1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                         Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                                  Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                                  Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                                  Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                                  Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                                  10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                  Avenue) (1.7)
May 2021     Claims                  05/11/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             3.5       0.125      $48.75
             Administration                                       417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                         Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                  Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                  Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                  Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                  Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (3.5)

May 2021     Claims                  05/12/21 KBD             390 Work on single claim process (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,             0.3 0.0107143         $4.18
             Administration                                       417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston
             & Objections                                         Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st
                                                                  Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S
                                                                  Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S
                                                                  Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                  Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

May 2021     Asset                   05/03/21 JR              140 review numerous emails from the title company [W. Peca at Chicago Title] related to water             0.7       0.021       $2.94
             Disposition                                          certificates and update electronic files regarding single family homes (single family) (.7).

May 2021     Asset                   05/05/21 JR              140 Review email from K. Duff related to property sale updates and confirm scheduled sale of              0.1 0.0003333         $0.05
             Disposition                                          property related to remaining unsold properties in the estate (See B) (.1)

May 2021     Asset                   05/05/21 JR              140 exchange correspondence with buyer requesting property inspection forms in anticipation of            0.1       0.003       $0.42
             Disposition                                          closing of single family homes (single family) (.1)
May 2021     Asset                   05/06/21 AEP             390 Teleconference with J. Rak relating to form of preparation of each closing document and               0.9       0.027      $10.53
             Disposition                                          remaining pre-closing tasks (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the underwriter requesting and providing closing details of              0.9       0.027       $3.78
             Disposition                                          the single family homes (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 confer with A. Porter regarding the single family home status in preparation for closing              0.9       0.027       $3.78
             Disposition                                          (single family) (.9)
May 2021     Asset                   05/06/21 JR              140 draft allocation summary report related to single family homes and produce to K. Pritchard            0.4       0.012       $1.68
             Disposition                                          regarding wire instructions (single family) (.4)


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  Invoice                                           Time                                                                                                                            Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                            Task Hours
  Month                                            Keeper                                                                                                                             Hours         Fees
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with A. Porter regarding buyer requested information and other                      0.8       0.024        $3.36
             Disposition                                          pertinent information required for closing (single family) (.8)
May 2021     Asset                   05/06/21 JR              140 review surveys for single family homes and request updates to same (single family) (.5).                    0.5       0.015        $2.10
             Disposition
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the title company requesting an update on the zoning                           0.1       0.003        $0.42
             Disposition                                          certifications for the single family homes (single family) (.1)
May 2021     Asset                   05/06/21 JR              140 exchange correspondence with the real estate broker requesting a lien waiver for closing                    0.1       0.003        $0.42
             Disposition                                          (single family) (.1)
May 2021     Asset                   05/07/21 AEP             390 Correspondence with surveyor and title company regarding need for certifications on                         0.3       0.009        $3.51
             Disposition                                          boundary surveys in non-commercial transactions and correspondence with surveyor
                                                                  regarding payment of invoices for surveys of single-family home properties (single family)
                                                                  (.3)
May 2021     Asset                   05/07/21 JR              140 review numerous emails from the title company relating to single family home (single family)                0.9       0.027        $3.78
             Disposition                                          zoning certificates and update electronic files regarding same (.9)
May 2021     Asset                   05/07/21 JR              140 review email from K. Pritchard regarding requested wire instructions related to upcoming                    0.3       0.009        $1.26
             Disposition                                          closings for the single family homes (single family) and update electronic files (.3).

May 2021     Asset                   05/07/21 JR              140 review email from real estate broker regarding commission statement for the single family                   0.1       0.003        $0.42
             Disposition                                          homes (single family) (.1)
May 2021     Asset                   05/07/21 KMP             140 Revise table of accounts for single family properties to include missing account numbers and                0.3       0.009        $1.26
             Disposition                                          forward table to J. Rak (single family).
May 2021     Asset                   05/10/21 JR              140 further correspondence with A. Porter regarding status of closing documents related to the                  0.1       0.003        $0.42
             Disposition                                          single family homes (single family) (.1)
May 2021     Asset                   05/10/21 JR              140 review emails from the title company regarding delivery of water certifications for single                  0.2       0.006        $0.84
             Disposition                                          family homes (single family) and save in electronic files (.2)
May 2021     Asset                   05/10/21 JR              140 review email from K. Duff requesting closing dates of properties (single family, 6749-59 S                  0.1       0.001        $0.14
             Disposition                                          Merrill Avenue, 7110 S Cornell Avenue) (.1).
May 2021     Asset                   05/11/21 AEP             390 prepare receiver's deed, bill of sale, and affidavit of title for properties (1017 W 102nd Street,          2.2         0.55     $214.50
             Disposition                                          7922 S Luella Avenue, 8403 S Aberdeen Street, 8104 S Kingston Avenue) (2.2).

May 2021     Asset                   05/11/21 AEP             390 Review allocation table and create master grantor-grantee spreadsheet to outline process of                 0.7       0.021        $8.19
             Disposition                                          closing single-family home portfolio (single family) (.7)
May 2021     Asset                   05/11/21 AEP             390 identify all closing documents thus far assembled, including water and zoning certifications,               1.8       0.054       $21.06
             Disposition                                          examiner's worksheets, and survey invoices, and rearrange all materials into appropriate
                                                                  tranche-specific folders (single family) (1.8)
May 2021     Asset                   05/11/21 AEP             390 correspondence with title company underwriter and escrow agent regarding mass closing                       0.2       0.006        $2.34
             Disposition                                          process (single family) (.2)
May 2021     Asset                   05/12/21 AEP             390 Prepare closing documents for single-family home portfolio sale, including receiver's deeds,                8.0         0.24      $93.60
             Disposition                                          broker lien waivers, property manager lien waivers, receiver's lien waivers, 1099s, and
                                                                  FIRPTAs (single family) (8.0)
May 2021     Asset                   05/12/21 AEP             390 communications with J. Rak, title company underwriters, and buyers' counsel regarding                       0.5       0.015        $5.85
             Disposition                                          purchase price and loan allocations and other closing coordination matters (single family)
                                                                  (.5).


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  Invoice                                           Time                                                                                                                             Allocated    Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                             Task Hours
  Month                                            Keeper                                                                                                                              Hours         Fees
May 2021     Asset                   05/12/21 JR              140 Telephone call with A. Porter delegation preparation of closing documents related to the                     0.5       0.015        $2.10
             Disposition                                          single family home (single family) (.5)
May 2021     Asset                   05/12/21 JR              140 review email from buyer's counsel related to a request for water certifications related to the               0.3       0.009        $1.26
             Disposition                                          single family homes and produce same (single family) (.3)
May 2021     Asset                   05/12/21 JR              140 prepare closing documents for single family homes (single family) (4.7).                                     4.7       0.141       $19.74
             Disposition
May 2021     Asset                   05/13/21 AEP             390 prepare affidavits of title, bills of sale, and assignments and assumptions of leases for all sub-           5.3       0.159       $62.01
             Disposition                                          tranches of single-family home sales (single family) (5.3).
May 2021     Asset                   05/13/21 AEP             390 Finalize preparation of receiver's deeds for all sub-tranches of single-family home property                 2.8       0.084       $32.76
             Disposition                                          sales (single family) (2.8)
May 2021     Asset                   05/13/21 JR              140 Exchange further correspondence with A. Porter regarding single family home closing                          0.1       0.003        $0.42
             Disposition                                          preparation (single family) (.1)
May 2021     Asset                   05/14/21 AEP             390 review purchase price allocations received from prospective purchaser of single-family                       1.1       0.033       $12.87
             Disposition                                          homes, update allocation spreadsheet, send copy of same to counsel for institutional lenders
                                                                  and suggest alternative methods for accounting for sales proceeds, and additional
                                                                  communications with counsel for institutional lenders, title underwriter and prospective
                                                                  purchaser relating thereto (single family) (1.1).
May 2021     Asset                   05/14/21 JR              140 exchange correspondence with property management requesting single family home                               0.3       0.009        $1.26
             Disposition                                          reports in preparation for closing (single family) (.3)
May 2021     Asset                   05/14/21 JR              140 review reports for single family homes in anticipation for closing (single family) (1.9).                    1.9       0.057        $7.98
             Disposition
May 2021     Asset                   05/15/21 AEP             390 begin researching current property tax liabilities and preparing closing figures for all 37 single-          4.0         0.12      $46.80
             Disposition                                          family homes conveyances (single family) (4.0).
May 2021     Asset                   05/16/21 AEP             390 Finalize preparation of first-draft of closing figures in connection with conveyances of single-             3.5       0.105       $40.95
             Disposition                                          family homes (single family) (3.5)
May 2021     Asset                   05/16/21 AEP             390 inventory all remaining special exceptions and all outstanding water and zoning certifications               1.5       0.045       $17.55
             Disposition                                          associated with conveyances of single-family homes and prepare e-mail to title underwriter
                                                                  regarding all current unresolved closing coordination issues (single family) (1.5).

May 2021     Asset                   05/17/21 JR              140 Exchange correspondence with property management requesting single family home reports                       0.1       0.003        $0.42
             Disposition                                          in preparation for closing (single family) (.1)
May 2021     Asset                   05/17/21 JR              140 review single family tenant information and update certificated rent roll (single family) (4.6)              4.6       0.138       $19.32
             Disposition
May 2021     Asset                   05/17/21 JR              140 exchange correspondence advising of anticipated closing schedule (single family, 7255-57 S                   0.1     0.00075        $0.11
             Disposition                                          Euclid Avenue, 6217-27 S Dorchester Avenue, 7237-43 S Bennett Avenue) (.1)

May 2021     Asset                   05/17/21 JR              140 exchange correspondence with property management requesting additional property                              0.1       0.003        $0.42
             Disposition                                          reports related to closing (single family) (.1)
May 2021     Asset                   05/18/21 AEP             390 prepare memorandum for title underwriter and surveyor identifying single-family home                         0.7       0.021        $8.19
             Disposition                                          properties with discrepancies between legal description on title commitment and legal
                                                                  description on survey and request guidance for resolving conflicts in verbiage (single family)
                                                                  (.7)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                         Allocated    Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                          Task Hours
  Month                                            Keeper                                                                                                                          Hours         Fees
May 2021     Asset                   05/18/21 AEP             390 teleconference with title underwriters regarding resolution of remaining title exception                 0.5       0.015        $5.85
             Disposition                                          issues, potential use of master closing statements, preparation of deed and money escrow
                                                                  instructions, and completion of closing figures (single family) (.5)

May 2021     Asset                   05/18/21 AEP             390 teleconference with J. Rak regarding status of all closing documents associated with                     0.4       0.012        $4.68
             Disposition                                          conveyance of single-family homes (single family) (.4)
May 2021     Asset                   05/18/21 AEP             390 Review revised title commitments associated with various single-family home properties,                  2.8       0.084       $32.76
             Disposition                                          reconcile with current list of special exceptions and unrecorded judgments, and sort same
                                                                  into appropriate closing folders (single family) (2.8)
May 2021     Asset                   05/18/21 AEP             390 review proposed edits to receiver's deeds submitted by purchaser's counsel in connection                 1.2       0.036       $14.04
             Disposition                                          with conveyance of single-family homes, check corresponding legal descriptions on surveys
                                                                  and title commitments, and revise deeds as warranted (single family) (1.2)

May 2021     Asset                   05/18/21 AEP             390 review and analyze first draft of proposed certified rent roll associated with conveyance of             0.4       0.012        $4.68
             Disposition                                          single-family homes and make minor modifications thereto (single family) (.4).

May 2021     Asset                   05/18/21 AEP             390 prepare affidavits of no new improvements in connection with conveyances of all single-                  0.6       0.018        $7.02
             Disposition                                          family home properties (single family) (.6)
May 2021     Asset                   05/18/21 JR              140 review due diligence documents received from property management and update certified                    2.3       0.069        $9.66
             Disposition                                          rent roll in preparation for closing single family homes (single family) (2.3)

May 2021     Asset                   05/18/21 JR              140 update closing checklist related to security deposit information and update certified rent roll          0.4       0.012        $1.68
             Disposition                                          regarding same (single family) (.4)
May 2021     Asset                   05/18/21 JR              140 review due diligence folder and confirm all subsidy agreements match certified rent roll                 0.7       0.021        $2.94
             Disposition                                          (single family) (.7).
May 2021     Asset                   05/18/21 JR              140 review and confirm leases for security deposit information for single family homes (single               1.0         0.03       $4.20
             Disposition                                          family) (1.0)
May 2021     Asset                   05/19/21 JR              140 review email from property management regarding requested subsidy agreements for single                  0.5       0.015        $2.10
             Disposition                                          family homes and update electronic files (single family) (.5)

May 2021     Asset                   05/19/21 JR              140 review and forward notices to tenants requesting buyer approval for closing (single family)              0.2       0.006        $0.84
             Disposition                                          (.2)
May 2021     Asset                   05/19/21 JR              140 Review email from buyer's counsel regarding updated deeds related to the single family                   0.2       0.006        $0.84
             Disposition                                          homes (single family) (.2)
May 2021     Asset                   05/19/21 JR              140 review leases, subsidy agreements, confirm lease terms and update certified rent roll in                 1.8       0.054        $7.56
             Disposition                                          preparation for closing (single family) (1.8)
May 2021     Asset                   05/19/21 JR              140 draft real estate transfer tax declaration forms for properties in anticipation for closing              0.8       0.024        $3.36
             Disposition                                          (single family) (.8).
May 2021     Asset                   05/19/21 JR              140 further communication with A. Porter and real estate broker inquiring about commission                   0.1       0.003        $0.42
             Disposition                                          statement for closing (single family) (.1)
May 2021     Asset                   05/19/21 JR              140 review email from real estate broker regarding lien waivers for closing and provide same                 0.1       0.003        $0.42
             Disposition                                          (single family) (.1)




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
May 2021     Asset                   05/19/21 JR              140 review dates of closing documents and update same (single family) (1.5)                                 1.5       0.045       $6.30
             Disposition
May 2021     Asset                   05/19/21 JR              140 exchange correspondence with property management requesting additional missing                          0.3       0.009       $1.26
             Disposition                                          information related to leases and subsidy agreements (single family) (.3)
May 2021     Asset                   05/20/21 AEP             390 Review latest batch of title commitments associated with single-family homes and update list            1.3       0.039      $15.21
             Disposition                                          of special exceptions (single family) (1.3)
May 2021     Asset                   05/20/21 AEP             390 review final batch of title commitments associated with single-family home portfolio and                1.5       0.045      $17.55
             Disposition                                          update closing checklist (single family) (1.5)
May 2021     Asset                   05/20/21 AEP             390 review commission statement associated with conveyance of single-family homes and                       0.2       0.006       $2.34
             Disposition                                          prepare e-mail to brokers proposing alternative solution for payment of brokerage
                                                                  commissions (single family) (.2)
May 2021     Asset                   05/20/21 JR              140 review email from buyer requesting property information in preparation for closing (single              0.1       0.003       $0.42
             Disposition                                          family) (.1)
May 2021     Asset                   05/20/21 JR              140 update notices to tenants for single family homes per buyer request (single family) (.5)                0.5       0.015       $2.10
             Disposition
May 2021     Asset                   05/20/21 JR              140 exchange correspondence with buyer and A. Porter regarding notices to tenants (single                   0.1       0.003       $0.42
             Disposition                                          family) (.1)
May 2021     Asset                   05/20/21 JR              140 update and review lien waivers for property managers and request executed copies of same                0.7       0.021       $2.94
             Disposition                                          in anticipation for closing (single family) (.7)
May 2021     Asset                   05/20/21 JR              140 request property reports from property management (single family) (.1)                                  0.1       0.003       $0.42
             Disposition
May 2021     Asset                   05/20/21 JR              140 update electronic files with current property reports (single family) (.9)                              0.9       0.027       $3.78
             Disposition
May 2021     Asset                   05/20/21 JR              140 exchange correspondence with real estate broker requesting the delivery of original lien                0.1       0.003       $0.42
             Disposition                                          waivers for closing (single family) (.1)
May 2021     Asset                   05/20/21 KMP             140 Exchange correspondence with J. Rak and K. Duff regarding payment of certain closing costs              0.2       0.006       $0.84
             Disposition                                          for property sale (single family).
May 2021     Asset                   05/21/21 AEP             390 Conference with J. Rak regarding open items associated with preparation for closing of single-          0.3       0.009       $3.51
             Disposition                                          family homes (single family) (.3)
May 2021     Asset                   05/21/21 AEP             390 review fee quotes for closing services for each of the properties in the single-family home             2.1       0.063      $24.57
             Disposition                                          portfolio and update closing figures for each property (single family) (2.1)

May 2021     Asset                   05/21/21 JR              140 update notice to tenant letters and request approval from buyer (single family) (.7)                    0.7       0.021       $2.94
             Disposition
May 2021     Asset                   05/21/21 JR              140 forward house sitter information to buyer (single family) (.2)                                          0.2       0.006       $0.84
             Disposition
May 2021     Asset                   05/21/21 JR              140 review requested rent roll received from property management and inquire about the house                0.5       0.015       $2.10
             Disposition                                          sitters at various vacant properties with property management (single family) (.5)

May 2021     Asset                   05/21/21 JR              140 review email request from buyer regarding property reports and request same from                        0.1       0.003       $0.42
             Disposition                                          property management (single family) (.1)
May 2021     Asset                   05/21/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.1).             4.1       0.123      $17.22
             Disposition


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  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
May 2021     Asset                   05/21/21 JR              140 further correspondence with A. Porter regarding the house sitters at vacant properties                  0.2       0.006       $0.84
             Disposition                                          (single family) (.2)
May 2021     Asset                   05/24/21 AEP             390 review and revise proposed notices to tenants in connection with conveyance of single-                  0.2       0.006       $2.34
             Disposition                                          family homes (single family) (.2)
May 2021     Asset                   05/24/21 AEP             390 Communications with prospective purchaser of single-family homes regarding scheduling of                0.2       0.006       $2.34
             Disposition                                          pre-closing walk-throughs and removal of house sitters (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 communications with property managers regarding request from prospective purchaser of                   0.2       0.006       $2.34
             Disposition                                          single-family home portfolio for pre-closing walk-throughs and confirmation regarding
                                                                  removal of house sitters at various properties (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 communications with counsel for lenders regarding reallocations of sales proceeds from                  0.2       0.006       $2.34
             Disposition                                          conveyance of single-family homes following closing (single family) (.2)

May 2021     Asset                   05/24/21 AEP             390 review finalized rent roll for single-family home properties and create final sets of sellers'          2.9       0.087      $33.93
             Disposition                                          figures for each conveyance (single family) (2.9).
May 2021     Asset                   05/24/21 JR              140 draft real estate transfer declaration forms for single family homes (single family) (4.2)              4.2       0.126      $17.64
             Disposition
May 2021     Asset                   05/24/21 JR              140 exchange communication with K. Duff regarding disbursement of funds into a single account               0.2       0.006       $0.84
             Disposition                                          from the single family closings (single family) (.2)
May 2021     Asset                   05/24/21 JR              140 exchange correspondence with buyer requesting updates to contact information for tenants                0.1       0.003       $0.42
             Disposition                                          after sale (single family) (.1)
May 2021     Asset                   05/24/21 KMP             140 Various communications with K. Duff, A. Porter, and J. Rak regarding issues relating to                 0.3       0.009       $1.26
             Disposition                                          upcoming closing on single family homes (single family).
May 2021     Asset                   05/25/21 AEP             390 Assemble, modify, and inventory all closing documents associated with conveyance of single-             7.3       0.219      $85.41
             Disposition                                          family homes, oversee document signing process by receiver, and continue revising all sets
                                                                  of closing figures (single family) (7.3)
May 2021     Asset                   05/25/21 JR              140 Conduct execution of closing documents for the single family homes (single family) (8.4)                8.4       0.252      $35.28
             Disposition
May 2021     Asset                   05/26/21 AEP             390 Attend lengthy closing of all 37 single-family home properties (single family)                         10.5       0.315     $122.85
             Disposition
May 2021     Asset                   05/26/21 JR              140 exchange correspondence with K. Duff regarding instructions for single family allocation of             0.1       0.003       $0.42
             Disposition                                          proceeds and instructions of same (single family) (.1).
May 2021     Asset                   05/26/21 JR              140 Attend closing of single family homes (single family) (10.1)                                           10.1       0.303      $42.42
             Disposition
May 2021     Asset                   05/27/21 AEP             390 read e-mail from J. Rak regarding sales proceeds computations, audit spreadsheet, revise,               0.4       0.012       $4.68
             Disposition                                          and circulate new draft (single family) (.4)
May 2021     Asset                   05/27/21 AEP             390 prepare disclosure statements for all single-family home properties (single family) (.7)                0.7       0.021       $8.19
             Disposition




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  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
May 2021     Asset                   05/27/21 AEP             390 review final settlement statements from closing of each single-family home, record final               5.6       0.168      $65.52
             Disposition                                          sales proceeds, create new settlement statements for each property substituting agreed-
                                                                  upon value allocations contained in judicial order confirming sale, revise existing value
                                                                  allocation spreadsheet to compute distribution of sales proceeds, and circulate proposed
                                                                  sales proceeds distributions to receiver and counsel for lenders (single family) (5.6)

May 2021     Asset                   05/27/21 JR              140 update single family home executed documents in electronics files (single family) (2.1)                2.1       0.063       $8.82
             Disposition
May 2021     Asset                   05/27/21 JR              140 Review email from K. Duff regarding instructions for disbursement of proceeds and respond              0.1       0.003       $0.42
             Disposition                                          accordingly (single family) (.1)
May 2021     Asset                   05/27/21 JR              140 follow up correspondence with K. Duff advising of closing status (single family) (.1)                  0.1       0.003       $0.42
             Disposition
May 2021     Asset                   05/27/21 JR              140 review email from property management relating to status of closing and respond                        0.1       0.003       $0.42
             Disposition                                          accordingly (single family) (.1)
May 2021     Asset                   05/27/21 JR              140 review email from the title company and provide requested survey invoices for the single               0.4       0.012       $1.68
             Disposition                                          family homes (single family) (.4)
May 2021     Asset                   05/27/21 JR              140 follow up with the title company requesting closing status (single family) (.1)                        0.1       0.003       $0.42
             Disposition
May 2021     Asset                   05/27/21 JR              140 exchange correspondence with K. Duff, A. Porter and K. Pritchard with instructions related to          0.2       0.006       $0.84
             Disposition                                          the allocation of net proceeds for single family homes (single family) (.2)

May 2021     Asset                   05/27/21 JR              140 follow up correspondence with title company closer requesting status of closing (single                0.2       0.006       $0.84
             Disposition                                          family) (.2)
May 2021     Asset                   05/27/21 JR              140 Review email from A. Porter, identify a discrepancy and further review closing statements to           0.9       0.027       $3.78
             Disposition                                          confirm the total amount of net proceeds expected to be delivered from closing (single
                                                                  family).
May 2021     Asset                   05/28/21 AEP             390 Teleconference with J. Rak and K. Duff regarding wire transfer allocations and disbursement            0.3       0.009       $3.51
             Disposition                                          dates associated with conveyance of single-family home portfolio (single family) (.3)

May 2021     Asset                   05/28/21 AEP             390 update master receivership portfolio spreadsheet to include information associated with                0.2       0.006       $2.34
             Disposition                                          conveyance of single-family home portfolio (single family) (.2).
May 2021     Asset                   05/28/21 JR              140 exchange correspondence with K. Duff providing detailed closed property information and                0.3       0.009       $1.26
             Disposition                                          confirming closing date for single family homes (single family) (.3)

May 2021     Asset                   05/28/21 JR              140 exchange correspondence with K. Duff regarding allocation of funds related to the single               0.8       0.024       $3.36
             Disposition                                          family home closing (single family) (.8)
May 2021     Asset                   05/28/21 JR              140 further correspondence with bank representative regarding wire transfer and allocation                 0.9       0.027       $3.78
             Disposition                                          instructions for single family home closing (single family) (.9)
May 2021     Asset                   05/28/21 JR              140 exchange correspondence with buyer confirming property key delivery related to closing of              0.1       0.003       $0.42
             Disposition                                          portfolio of properties (single family) (.1)
May 2021     Asset                   05/28/21 JR              140 exchange various correspondence with the title company requesting wire confirmation and                0.5       0.015       $2.10
             Disposition                                          additional information related to closing of portfolio of properties (single family) (.5)




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  Invoice                                           Time                                                                                                                   Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                    Hours        Fees
May 2021     Asset                   05/28/21 JR              140 review email from real estate broker and provide settlement statements related to closing          0.1       0.003       $0.42
             Disposition                                          (single family) (.1)
May 2021     Business                05/03/21 JR              140 Exchange correspondence with K. Duff and property insurance company regarding                      0.8 0.0159574         $2.23
             Operations                                           requested updates related to property insurance renewals [see A]
May 2021     Business                05/04/21 JR              140 exchange communication with K. Duff regarding property insurance renewal update (See A)            0.1 0.0021277         $0.30
             Operations                                           (.1).
May 2021     Business                05/04/21 JR              140 Review email from property insurance account analyst and further update property                   1.6 0.0340426         $4.77
             Operations                                           insurance renewal workbook (See A) (1.6)
May 2021     Business                05/05/21 KMP             140 attention to communications with insurance broker regarding renewal of property, general           0.1 0.0003333         $0.05
             Operations                                           liability, and umbrella insurance policies for 2021-22 (638- 40 N Avers Avenue, 7237-43 S
                                                                  Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-
                                                                  27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.1).
May 2021     Business                05/07/21 KMP             140 attention to communications with insurance broker regarding renewal costs for property             0.2 0.0006667         $0.09
             Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business                05/10/21 JR              140 Review email from accounting firm regarding December reporting and produce same.                   1.3    0.012381       $1.73
             Operations
May 2021     Business                05/10/21 KMP             140 prepare request forms for payment of premium for GL policy and communications with K.              0.3       0.001       $0.14
             Operations                                           Duff, bank representative regarding funds transfer (638-40 N Avers Avenue, 7237-43 S
                                                                  Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-
                                                                  27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.3)
May 2021     Business                05/10/21 KMP             140 communicate with insurance broker to confirm funds transfer (638-40 N Avers Avenue, 7237-          0.1 0.0003333         $0.05
             Operations                                           43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue,
                                                                  6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single
                                                                  family) (.1).
May 2021     Business                05/10/21 KMP             140 Attention to communications with insurance broker regarding renewal costs for property             0.2 0.0006667         $0.09
             Operations                                           and umbrella policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2)




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
May 2021     Business                05/11/21 JR              140 Review December property reports (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue,                   2.3 0.0469388          $6.57
             Operations                                           7840-42 S Yates Avenue, 2800-06 E 81st Street, 4611-17 S Drexel Boulevard, 1414-18 East
                                                                  62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
                                                                  Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle
                                                                  Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S Woodlawn
                                                                  Avenue, 5437 S Laflin Street, 6759 S Indiana Avenue, 1401 W 109th Place, 310 E 50th Street,
                                                                  6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue, 638-40 N
                                                                  Avers Avenue, 7255-57 S Euclid Avenue, 1422-24 East 68th Street, 7109-19 S Calumet
                                                                  Avenue, 1102 Bingham (Houston, TX)) (2.3)


May 2021     Business                05/11/21 KMP             140 Attention to communications with K. Duff and insurance broker regarding renewal of                     0.3       0.001        $0.14
             Operations                                           umbrella insurance policy (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S
                                                                  Calumet Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue,
                                                                  4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family).

May 2021     Business                05/12/21 KMP             140 communications with bank representative and K. Duff relating to transfers of funds for                 0.2      0.0006        $0.08
             Operations                                           property expenses (4520-26 S Drexel Boulevard, 638-40 N Avers Avenue, 7237-43 S Bennett
                                                                  Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S Euclid Avenue, 6217-27 S
                                                                  Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East 68th Street, single family) (.2).

May 2021     Business                05/12/21 KMP             140 Prepare forms for funds transfers for renewal of umbrella insurance policy (638-40 N Avers             0.2 0.0006667          $0.09
             Operations                                           Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet Avenue, 1102 Bingham , 7255-57 S
                                                                  Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S Drexel Boulevard, 1422-24 East
                                                                  68th Street, single family) (.2)
May 2021     Business                05/13/21 JRW             260 confer with J. Rak regarding administrative action (7922 S Luella Avenue) (.1)                         0.1          0.1      $26.00
             Operations
May 2021     Business                05/19/21 JR              140 Review email from K. Duff requesting property closing update related to property insurance             0.3    0.006383        $0.89
             Operations                                           and provide same (see A).
May 2021     Business                05/19/21 KMP             140 Communicate with K. Duff regarding payments made for renewal of GL and umbrella                        0.1 0.0003333          $0.05
             Operations                                           insurance policies (638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 7109-19 S Calumet
                                                                  Avenue, 1102 Bingham, 7255-57 S Euclid Avenue, 6217-27 S Dorchester Avenue, 4611-17 S
                                                                  Drexel Boulevard, 1422-24 East 68th Street, single family) (.1)

May 2021     Business                05/19/21 KMP             140 conference with K. Duff regarding property expenses in connection with anticipated third               0.1 0.0012346          $0.17
             Operations                                           restoration motion (.1).




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                        Hours         Fees
May 2021     Claims                  05/07/21 JRW         260 Drafting of proposed process for properties with single claim (1017 W 102nd Street, 1516 E             1.3          0.1      $26.00
             Administration                                   85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                  05/10/21 JRW         260 confer with K. Duff on draft process for single claim properties, review and revise draft and          0.8 0.0615385         $16.00
             Administration                                   redline comments from M. Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                     Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S
                                                              Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue) (.8).

May 2021     Claims                  05/10/21 JRW         260 correspondence to claimants' counsel regarding single claims process (.1)                              0.1 0.0035714          $0.93
             Administration
             & Objections

May 2021     Claims                  05/10/21 MR          390 Review and comment on single claims process (1017 W 102nd Street, 1516 E 85th Place,                   1.5 0.1153846         $45.00
             Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
             & Objections                                     8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue).

May 2021     Claims                  05/11/21 JRW         260 prepare chart comparing deadlines in disputed claims process and draft single claim process            0.6 0.0214286          $5.57
             Administration                                   (.6).
             & Objections

May 2021     Claims                  05/11/21 JRW         260 Continue working on single claim process with K. Duff and M. Rachlis (1017 W 102nd Street,             3.6 0.2769231         $72.00
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S
             & Objections                                     Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue) (3.6)
May 2021     Claims                  05/11/21 MR          390 conferences with J. Wine and K. Duff regarding claims process(1017 W 102nd Street, 1516 E              1.0 0.0769231         $30.00
             Administration                                   85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                              (1.0).
May 2021     Claims                  05/11/21 MR          390 Further review and revise claims process related items (1017 W 102nd Street, 1516 E 85th               1.5 0.1153846         $45.00
             Administration                                   Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue)
                                                              (1.5)
June 2021    Asset                   06/01/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding allocation of sales proceeds            0.4       0.012        $4.68
             Disposition                                      and interest and study related information (single family).
June 2021    Asset                   06/16/21 KBD         390 study correspondence from J. Rak regarding post-sale reconciliation of funds (.2).                     0.2      0.0015        $0.59
             Disposition


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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                        Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
June 2021    Claims                  06/11/21 KBD         390 Review revised proposal for single claim process (1017 W 102nd Street, 1516 E 85th Place,             0.3 0.0107143         $4.18
             Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                     8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                              Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue).

June 2021    Claims                  06/14/21 KBD         390 study correspondence from J. Wine and work on single claim process (1017 W 102nd Street,              0.2 0.0071429         $2.79
             Administration                                   1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S
             & Objections                                     Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.2).

June 2021    Claims                  06/24/21 KBD         390 exchange correspondence with J. Wine regarding single claim process (.1).                             0.1 0.0035714         $1.39
             Administration
             & Objections

June 2021    Claims                  06/29/21 KBD         390 Study and revise process for single claim properties and draft related correspondence to J.           1.2 0.0428571        $16.71
             Administration                                   Wine (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                     7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                              Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                              Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                              Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (1.2)

June 2021    Claims                  06/30/21 KBD         390 work on single claim process and study related correspondence from J. Wine (1017 W 102nd              0.3 0.0107143         $4.18
             Administration                                   Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,
             & Objections                                     8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes
                                                              Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell
                                                              Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S
                                                              Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S
                                                              Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.3).




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                        Hours        Fees
June 2021    Asset                   06/01/21 JR              140 Review email from J. Wine and respond accordingly regarding collection notice (7237-43 S               0.1     0.00075       $0.11
             Disposition                                          Bennett Avenue) (.1)
June 2021    Asset                   06/01/21 JR              140 exchange correspondence with K. Duff, bank representative, K. Pritchard regarding net sale             1.2       0.018       $2.52
             Disposition                                          proceeds from the single family homes, update allocation spreadsheet with interest and
                                                                  provide detailed instructions to the bank for single family home allocation related to each
                                                                  property (single family) (1.2).
June 2021    Asset                   06/01/21 JR              140 review email from buyer requesting ledgers and tenant payment information and produce                  0.5      0.0075       $1.05
             Disposition                                          same (single family) (.5)
June 2021    Asset                   06/01/21 KMP             140 Review online banking records to confirm receipt of funds wired in connection with the sale            0.5       0.015       $2.10
             Disposition                                          of the single family homes, calculate pro rata share of interest earned on sale proceeds, and
                                                                  related communications with K. Duff and J. Rak (single family).

June 2021    Asset                   06/02/21 JR              140 Review email from bank regarding allocation of funds and respond accordingly (single family)           0.2       0.006       $0.84
             Disposition                                          (.2)
June 2021    Asset                   06/02/21 KMP             140 Study communications from bank representative regarding transfers of proceeds to property              0.2       0.006       $0.84
             Disposition                                          accounts in connection with sale of single-family homes (single family).

June 2021    Asset                   06/03/21 KMP             140 Review and confirm transfers of sale proceeds from sale of single-family homes to individual           0.3       0.009       $1.26
             Disposition                                          property accounts and related communication with K. Duff and J. Rak (single family).

June 2021    Asset                   06/07/21 JR              140 update closed property spreadsheet with single family home gross and net proceeds, make                1.2       0.036       $5.04
             Disposition                                          corrections to normalize property addresses (single family) (1.2)
June 2021    Asset                   06/08/21 JR              140 review email from property management and provide requested post-closing payment                       0.3       0.009       $1.26
             Disposition                                          information related to tenant rent (single family) (.3)
June 2021    Asset                   06/09/21 JR              140 Organize master statements for each property (single family).                                          0.9       0.027       $3.78
             Disposition
June 2021    Asset                   06/16/21 JR              140 review email from K. Duff requesting post-closing reconciliation update for closed property            0.4       0.003       $0.42
             Disposition                                          spreadsheet and provide same (single family, 7749-59 S Yates Avenue, 8201 S Kingston
                                                                  Avenue, 7051 S Bennett Avenue) (.4).
June 2021    Asset                   06/16/21 KMP             140 Review property accounts to update spreadsheets relating to post-sale reconciliation by                0.6       0.003       $0.42
             Disposition                                          property managers and related communications with K. Duff and J. Rak (single family, 4750-
                                                                  52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                  Street, 4611-17 Drexel Boulevard).
June 2021    Asset                   06/19/21 AEP             390 review property disposition spreadsheet and prepare e-mail to surveyor regarding all as-yet            0.2       0.006       $2.34
             Disposition                                          unpaid survey invoices and providing estimated dates of final payment (single family) (.2).

June 2021    Business                06/25/21 ED              390 Review additional documentation regarding sold properties received from insurance agent                0.5 0.0047619         $1.86
             Operations                                           and forward to accountant for use in preparation of reports (.5)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                         Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                          Task Hours
  Month                                        Keeper                                                                                                                          Hours        Fees
June 2021    Claims                  06/14/21 JRW         260 study revised process for single claim properties (1017 W 102nd Street, 1516 E 85th Place,               1.3 0.0464286        $12.07
             Administration                                   2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue,
             & Objections                                     8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church
                                                              Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) and related analysis to
                                                              K. Duff and M. Rachlis (1.3).

June 2021    Claims                  06/30/21 JRW         260 review revisions to single claims process, related research and correspondence with K. Duff              1.0 0.0357143         $9.29
             Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                              8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                              7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                              Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                              Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (1.0).

July 2021    Asset                   07/14/21 KBD         390 confirmation of funds transfer amounts (single family) (.1).                                             0.1 0.0027027         $1.05
             Disposition
July 2021    Asset                   07/30/21 KBD         390 Confer with K. Pritchard and J. Rak regarding allocation of post-sale reconciliation funds from          0.3 0.0090909         $3.55
             Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street) (.3)


July 2021    Business                07/13/21 KBD         390 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S                        0.3 0.0068182         $2.66
             Operations                                       Dorchester Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th
                                                              Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single
                                                              family) (.3)
July 2021    Claims                  07/04/21 KBD         390 Exchange correspondence with J. Wine regarding single claim process (sole lien).                         0.1 0.0035714         $1.39
             Administration
             & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                      Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
July 2021    Claims                  07/06/21 KBD             390 study correspondence from J. Wine regarding single claim process (sole lien) (.2).                   0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                  07/12/21 KBD             390 study correspondence from J. Wine regarding single claim process (sole lien) (.1).                   0.1 0.0035714         $1.39
             Administration
             & Objections

July 2021    Claims                  07/13/21 KBD             390 Study revisions to sole lien process and exchange correspondence with M. Rachlis and J.              0.6 0.0214286         $8.36
             Administration                                       Wine and M. Rachlis (sole lien) (.6)
             & Objections

July 2021    Claims                  07/14/21 KBD             390 exchange correspondence with J. Wine and M. Rachlis regarding sole lien process (sole lien)          0.4 0.0142857         $5.57
             Administration                                       (.4)
             & Objections

July 2021    Claims                  07/15/21 KBD             390 work on sole lien process and exchange related correspondence (sole lien) (.2).                      0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                  07/30/21 KBD             390 study correspondence from counsel for claimant regarding single claim process and related            0.2 0.0071429         $2.79
             Administration                                       analysis (sole lien) (.2).
             & Objections

July 2021    Asset                   07/08/21 JR              140 Review email from K. Duff relating to closed property update and further communicate                 0.2 0.0018868         $0.26
             Disposition                                          regarding closed properties status (see D) (.2)
July 2021    Asset                   07/09/21 JR              140 Review email from buyer for single family homes requesting clarification on tenant rent              0.3 0.0081081         $1.14
             Disposition                                          payments for previously sold property and review records (single family) (.3)

July 2021    Asset                   07/23/21 KMP             140 Communicate with K. Duff, A. Porter, and J. Rak regarding property manager's request for             0.8 0.0242424         $3.39
             Disposition                                          information in connection with post-sale reconciliation, prepare related spreadsheet and
                                                                  forward to property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S
                                                                  Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette
                                                                  Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd
                                                                  Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston
                                                                  Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place,
                                                                  61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue,
                                                                  7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance
                                                                  Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                  Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
July 2021    Asset                   07/24/21 AEP         390 read and respond to correspondence with K. Duff and K. Pritchard regarding allocations of            0.2 0.0068966         $2.69
             Disposition                                      disbursements from property manager in connection with EB South Chicago 1 and EB South
                                                              Chicago 2 properties (1516 E 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 7933 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes
                                                              Avenue, 1017 W 102nd Street, 417 Oglesby Avenue, 7925 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8405 S Marquette Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,
                                                              11318 S Church Street, 10012 S LaSalle Avenue, 3723 W 68th Place, 406 E 87th Place, 61 E
                                                              92nd Street, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8432
                                                              S Essex Avenue, 8517 S Vernon Avenue, 3213 S Throop Street, 6554 S Rhodes Avenue, 6825 S
                                                              Indiana Avenue, 8346 S Constance Avenue, 7210 S Vernon Avenue) (.2).


July 2021    Asset                   07/27/21 KMP         140 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation funds from           0.3 0.0090909         $1.27
             Disposition                                      property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


July 2021    Asset                   07/27/21 KMP         140 Attention to email from property manager following up on issues relating to post-sale                0.2 0.0060606         $0.85
             Disposition                                      reconciliation and related communication with K. Duff (417 S Oglesby Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                              7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                              406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                              Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                              E 68th Street).




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                       Allocated    Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                        Hours         Fees
July 2021    Asset                   07/30/21 JR              140 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds            0.3 0.0090909          $1.27
             Disposition                                          from property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place,
                                                                  2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue,
                                                                  7933 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212
                                                                  S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723
                                                                  W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue,
                                                                  2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)


July 2021    Business                07/14/21 AEP             390 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with               0.2 0.0054054          $2.11
             Operations                                           values of single-family home portfolio in connection with preparation of quarterly report
                                                                  (single family) (.2).
July 2021    Business                07/15/21 JR              140 Review email from E. Duff related to property insurance endorsements and respond                       0.2 0.0024691          $0.35
             Operations                                           accordingly (see I).
July 2021    Business                07/16/21 SZ              110 Review and assemble records corresponding to property expenses in connection with                      1.2         0.03       $3.30
             Operations                                           restoration of funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette
                                                                  Road, 1131-41 E 79th Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street,
                                                                  2136 W 83rd Street, 2453-59 E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-
                                                                  26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S
                                                                  Indiana Avenue, 5437 S Laflin Street, 5450-52 S Indiana Avenue, 6217-27 S Dorchester
                                                                  Avenue, 6437-41 S Kenwood Avenue, 11318 S Church Street, 9212 S Parnell Avenue, 8800 S
                                                                  Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue, 8432 S Essex Avenue, 8346 S
                                                                  Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue, 8030 S Marquette
                                                                  Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue, 7836 S
                                                                  Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                  Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana
                                                                  Avenue).

July 2021    Claims                  07/01/21 JRW             260 email exchange and telephone conference with claimants' counsel regarding process for                  1.3 0.0464286         $12.07
             Administration                                       resolution of single claims properties, related preparation for same, and review of proposed
             & Objections                                         pleading (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
                                                                  7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                                  Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                                  Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                                  Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                                  Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                                  Avenue, 8517 S Vernon Avenue) (1.3)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date             Rate                                            Task Description                                   Task Hours
  Month                                        Keeper                                                                                                                     Hours        Fees
July 2021    Claims                  07/01/21 JRW         260 telephone conference with M. Rachlis regarding process for resolution of single claims              0.9 0.0321429         $8.36
             Administration                                   properties (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                     Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                              S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                              7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                              7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                              Indiana Avenue, 8517 S Vernon Avenue) (.9)

July 2021    Claims                  07/01/21 MR          390 participate in call with J. Wine regarding issues on process for claims (sole lien) (.9).           0.9 0.0321429        $12.54
             Administration
             & Objections

July 2021    Claims                  07/01/21 MR          390 Review notes and materials regarding (sole lien) properties (.3)                                    0.3 0.0107143         $4.18
             Administration
             & Objections

July 2021    Claims                  07/06/21 JRW         260 Summarize conference call with claimant's counsel regarding claims resolution process and           0.4 0.0142857         $3.71
             Administration                                   related review of draft declaratory action (1017 W 102nd Street, 1516 E 85th Place, 2136 W
             & Objections                                     83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                              2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4)

July 2021    Claims                  07/12/21 JRW         260 draft correspondence to claimants' counsel regarding process for single-claim properties            0.5 0.0178571         $4.64
             Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                              8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                              7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                              Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                              Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (.5)




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
July 2021    Claims                  07/13/21 JRW         260 exchange comments and revisions regarding single claims process with K. Duff and M.                     1.2 0.0428571        $11.14
             Administration                                   Rachlis (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,
             & Objections                                     7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill
                                                              Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S
                                                              Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S
                                                              Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (1.2)

July 2021    Claims                  07/13/21 MR          390 Attention to claims process issues and related exchanges with K. Duff and J. Wine (sole lien).          0.4 0.0142857         $5.57
             Administration
             & Objections

July 2021    Claims                  07/14/21 AEP         390 read and respond to e-mails from J. Wine regarding secured claims being asserted in                     0.2 0.0071429         $2.79
             Administration                                   connection with single-family homes that have no competing claimants and other
             & Objections                                     receivership properties (sole lien) (.2).

July 2021    Claims                  07/14/21 JRW         260 Revise draft correspondence to claimants' counsel regarding single claims process (1017 W               0.5 0.0178571         $4.64
             Administration                                   102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                              6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                              S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.5)

July 2021    Claims                  07/14/21 JRW         260 correspondence with M. Rachlis and A. Porter regarding discovery for properties with single             0.7       0.025       $6.50
             Administration                                   disputed claim (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby
             & Objections                                     Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59
                                                              S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue,
                                                              7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue,
                                                              7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S
                                                              Indiana Avenue, 8517 S Vernon Avenue) (.7)

July 2021    Claims                  07/14/21 MR          390 Further review and comment on process issues and related exchanges (sole lien) (.3)                     0.3 0.0107143         $4.18
             Administration
             & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date             Rate                                          Task Description                                         Task Hours
  Month                                        Keeper                                                                                                                         Hours        Fees
July 2021    Claims                  07/15/21 JRW         260 confer with A. Porter and K. Duff regarding process for resolution of single claims and revise          0.4 0.0142857         $3.71
             Administration                                   draft correspondence accordingly (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd
             & Objections                                     Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S
                                                              Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street,
                                                              2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston
                                                              Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th
                                                              Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop
                                                              Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S
                                                              Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.4).

July 2021    Claims                  07/15/21 MR          390 Attention to issues and follow up response to revisions on claim process (sole lien).                   0.2 0.0071429         $2.79
             Administration
             & Objections

July 2021    Claims                  07/16/21 JRW         260 exchange correspondence with counsel for claimants regarding claims resolution procedures               0.1 0.0035714         $0.93
             Administration                                   (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
             & Objections                                     Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,
                                                              8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue,
                                                              7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon
                                                              Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid
                                                              Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S
                                                              Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana
                                                              Avenue, 8517 S Vernon Avenue) (.1)

July 2021    Claims                  07/30/21 JRW         260 review correspondence from counsel for claimants regarding process to resolve claims (1017              0.1 0.0035714         $0.93
             Administration                                   W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella
             & Objections                                     Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S
                                                              Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S
                                                              Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue,
                                                              6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432
                                                              S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue,
                                                              10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                              Avenue) (.1)




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2021 Asset                    08/06/21 KBD         390 Prepare spreadsheet confirming allocation of post-sale funds from property manager and               0.3 0.0090909         $3.55
            Disposition                                       exchange various related correspondence for information (417 S Oglesby Avenue, 7925 S
                                                              Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                              7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                              406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                              Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                              E 68th Street).

August 2021 Asset                    08/09/21 KBD         390 Continue to prepare and finalize spreadsheet confirming allocation of post-sale funds from           0.7 0.0212121         $8.27
            Disposition                                       property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/13/21 KBD         390 Work on post-sale reconciliation of property manager funds (417 S Oglesby Avenue, 7925 S             0.4 0.0121212         $4.73
            Disposition                                       Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen
                                                              Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell
                                                              Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,
                                                              7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place,
                                                              406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S
                                                              Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue,
                                                              8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex
                                                              Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24
                                                              E 68th Street) (.4)

August 2021 Claims                   08/04/21 KBD         390 exchange correspondence with J. Wine regarding sole lien process and follow up with                  0.1 0.0035714         $1.39
            Administration                                    counsel for claimants (sole lien) (.1)
            & Objections

August 2021 Claims                   08/05/21 KBD         390 exchange correspondence with M. Rachlis and J. Wine regarding sole lien process (sole lien)          0.2 0.0071429         $2.79
            Administration                                    (.2).
            & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                    Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                    Task Hours
  Month                                            Keeper                                                                                                                     Hours        Fees
August 2021 Claims                   08/06/21 KBD             390 Exchange correspondence and telephone conference with J. Wine regarding single claim                0.2 0.0071429         $2.79
            Administration                                        process and communication with claimants' counsel regarding same (sole lien) (.2)
            & Objections

August 2021 Claims                   08/17/21 KBD             390 review draft motion to approve process for sole lien properties (sole lien) (.2).                   0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                   08/20/21 KBD             390 review draft motion for sole lien process (sole lien) (.2)                                          0.2 0.0071429         $2.79
            Administration
            & Objections

August 2021 Claims                   08/26/21 KBD             390 Confer with J. Wine regarding sole lien process and draft motions from claimants' counsel           0.1 0.0035714         $1.39
            Administration                                        (sole lien) (.1)
            & Objections

August 2021 Claims                   08/27/21 KBD             390 Study draft single claim process and related correspondence (sole lien).                            0.3 0.0107143         $4.18
            Administration
            & Objections

August 2021 Asset                    08/02/21 KMP             140 Communicate with property manager regarding allocation of post-sale reconciliation funds            0.2 0.0060606         $0.85
            Disposition                                           (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                  Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/06/21 JR              140 review email from K. Duff related to allocations for post-closing reconciliation regarding          0.2 0.0054054         $0.76
            Disposition                                           properties and further communicate with A. Porter regarding same (single family) (.2).




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7922 S Luella Avenue                                              EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date             Rate                                         Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                      Hours        Fees
August 2021 Asset                    08/13/21 KMP         140 Communications with K. Duff and property manager regarding issues with post-sale                     0.3 0.0090909         $1.27
            Disposition                                       reconciliations and transfer of funds and forward related spreadsheet to property manager
                                                              (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                              Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                              Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                              Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                              Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                              Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                              Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/20/21 KMP         140 Follow up on post-sale reconciliation and deposits to property accounts (417 S Oglesby               0.2 0.0060606         $0.85
            Disposition                                       Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                              Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                              9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                              102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                              68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                              Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                              Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                              8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                              Street, 1422-24 E 68th Street).

August 2021 Asset                    08/23/21 KMP         140 Follow up with K. Duff and property manager on post-sale reconciliation and deposits to              0.2 0.0060606         $0.85
            Disposition                                       property accounts (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette
                                                              Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529
                                                              S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th
                                                              Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church
                                                              Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                              Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                              S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                              Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                              Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                        Task Hours
  Month                                            Keeper                                                                                                                       Hours        Fees
August 2021 Asset                    08/24/21 KMP             140 Prepare spreadsheet for property manager relating to post-sale reconciliation and deposits            0.7 0.0212121         $2.97
            Disposition                                           to property accounts, and related communication with K. Duff and property manager (417 S
                                                                  Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                  Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).


August 2021 Asset                    08/25/21 KMP             140 Communicate with property manager and bank representatives regarding information                      0.4 0.0121212         $1.70
            Disposition                                           required for post-sale reconciliation and deposits to property accounts (417 S Oglesby
                                                                  Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street,
                                                                  9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W
                                                                  102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W
                                                                  68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S
                                                                  Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                  8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                  Street, 1422-24 E 68th Street).

August 2021 Asset                    08/30/21 JR              140 Review email from K. Duff regarding tax bills for single family homes and advise accordingly          0.2 0.0054054         $0.76
            Disposition                                           (single family) (.2)
August 2021 Asset                    08/31/21 KMP             140 Review online bank records to confirm receipt of post-sale reconciliation funds from                  0.6 0.0181818         $2.55
            Disposition                                           property manager and related communications with K. Duff and property manager (417 S
                                                                  Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston
                                                                  Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S
                                                                  Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella
                                                                  Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S
                                                                  Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes
                                                                  Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                  Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                  Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).

August 2021 Claims                   08/04/21 JRW             260 email exchange with counsel for claimants regarding single claims process and related                 0.2 0.0071429         $1.86
            Administration                                        conference with K. Duff (sole lien) (.2).
            & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
August 2021 Claims                   08/05/21 JRW         260 review correspondence from claimants' counsel regarding single claim process (sole lien)               0.1 0.0035714         $0.93
            Administration                                    (Group 1) (.1).
            & Objections

August 2021 Claims                   08/05/21 MR          390 Follow up on issues regarding single claim process and negotiations with counsel, J. Wine,             0.2 0.0071429         $2.79
            Administration                                    and K. Duff (sole lien).
            & Objections

August 2021 Claims                   08/06/21 JRW         260 Exchange correspondence and multiple telephone conferences with counsel for claimants                  0.5 0.0178571         $4.64
            Administration                                    and K. Duff regarding motion practice or joint report regarding process for single claim
            & Objections                                      properties (sole lien) (.5)

August 2021 Claims                   08/13/21 JRW         260 Correspond with counsel for claimants regarding joint motion and related discussion with K.            0.3 0.0107143         $2.79
            Administration                                    Duff (sole lien) (.3)
            & Objections

August 2021 Claims                   08/26/21 JRW         260 Email exchange with claimants' counsel regarding proposed process for resolution of claims,            0.5 0.0178571         $4.64
            Administration                                    begin reviewing draft motions, and related telephone conference with K. Duff (sole lien) (.5)
            & Objections

August 2021 Claims                   08/27/21 JRW         260 Study draft motions from claimants' counsel and provide analysis to K. Duff (sole lien) (1.8)          1.8 0.0642857        $16.71
            Administration
            & Objections

September Asset                      09/22/21 KBD         390 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations               0.1    0.002439       $0.95
2021      Disposition                                         (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                              6217-27 S Dorchester Avenue) (.1)
September Business                   09/24/21 KBD         390 study correspondence from property manager regarding post-sale fund distributions (single              0.2    0.004878       $1.90
2021      Operations                                          family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-
                                                              27 S Dorchester Avenue) (.2)
September Claims                     09/06/21 KBD         390 Work on sole lien process (sole lien).                                                                 1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                     09/07/21 KBD         390 Work on sole lien process (sole lien) (.5)                                                             0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                     09/07/21 KBD         390 telephone conference with J. Wine regarding sole lien process (sole lien) (.2)                         0.2 0.0071429         $2.79
2021      Administration
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                      Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                      Task Hours
  Month                                        Keeper                                                                                                                       Hours        Fees
September Claims                     09/08/21 KBD         390 Work on sole lien process (sole lien) (.3)                                                            0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/09/21 KBD         390 draft correspondence to A. Porter regarding potential discovery (sole lien) (.2).                     0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                     09/09/21 KBD         390 work on sole lien process (sole lien) (.5)                                                            0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                     09/10/21 KBD         390 work on sole lien process and exchange related correspondence (sole lien) (1.7)                       1.7 0.0607143        $23.68
2021      Administration
          & Objections

September Claims                     09/11/21 KBD         390 Work on sole lien process and exchange related correspondence (sole lien).                            0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                     09/13/21 KBD         390 study revised sole lien claims process and exchange related correspondence (sole lien) (.3).          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/14/21 KBD         390 Study correspondence regarding sole lien process and revised process documents (sole lien)            0.3 0.0107143         $4.18
2021      Administration                                      (.3)
          & Objections

September Claims                     09/15/21 KBD         390 Confer and exchange correspondence with M. Rachlis and J. Wine regarding sole lien claims             0.8 0.0285714        $11.14
2021      Administration                                      process and related discussions with claimants' counsel (sole lien) (.8)
          & Objections

September Claims                     09/15/21 KBD         390 confer with claimants' counsel and J. Wine regarding sole lien process (sole lien) (.3)               0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/16/21 KBD         390 Revise sole lien claims process, review further drafts, and exchange related correspondence           2.7 0.0964286        $37.61
2021      Administration                                      with J. Wine (sole lien) (2.7)
          & Objections




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                        Allocated   Allocated
              Billing Category   Entry Date                 Rate                                          Task Description                                         Task Hours
  Month                                            Keeper                                                                                                                         Hours        Fees
September Claims                     09/17/21 KBD             390 Analyze and revise sole lien claims process and exchange various related correspondence                 3.3 0.1178571        $45.96
2021      Administration                                          with M. Rachlis and J. Wine (sole lien) (3.3)
          & Objections

September Claims                     09/20/21 KBD             390 Study related correspondence from J. Wine regarding sole lien process (sole lien) (.2)                  0.2 0.0071429         $2.79
2021      Administration
          & Objections

September Claims                     09/21/21 KBD             390 study and revise joint motion regarding sole lien process and exchange related                          0.5 0.0178571         $6.96
2021      Administration                                          correspondence with J. Wine regarding (sole lien) (.5).
          & Objections

September Claims                     09/22/21 KBD             390 work on single claim process and exchange various related correspondence (sole lien) (1.5)              1.5 0.0535714        $20.89
2021      Administration
          & Objections

September Claims                     09/23/21 KBD             390 telephone conference with J. Wine regarding sole lien properties, claims analysis, and                  0.3 0.0107143         $4.18
2021      Administration                                          barriers related issues (sole lien) (.3)
          & Objections

September Claims                     09/23/21 KBD             390 Study and revise several drafts of sole lien claims process and exchange various related                1.6 0.0571429        $22.29
2021      Administration                                          correspondence with M. Rachlis and J. Wine (sole lien) (1.6)
          & Objections

September Claims                     09/24/21 KBD             390 Study and revise sole lien claims process and exchange various related correspondence with              0.7       0.025       $9.75
2021      Administration                                          J. Wine (sole lien).
          & Objections

September    Asset                   09/01/21 JR              140 review paper property tax statement and forward to buyer for single family homes, request               0.2 0.0054054         $0.76
2021         Disposition                                          buyer to change address for delivery of same (single family) (.2)
September    Asset                   09/22/21 JR              140 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions          1.1 0.0268293         $3.76
2021         Disposition                                          and update same for single family homes and other various properties (single family, 1422-
                                                                  24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S
                                                                  Dorchester Avenue) (1.1)
September Asset                      09/22/21 JR              140 further communication with K. Pritchard related to post- closing reconciliation distributions           0.1    0.002439       $0.34
2021      Disposition                                             (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue,
                                                                  6217-27 S Dorchester Avenue) (.1).




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7922 S Luella Avenue                                                  EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                         Task Description                                       Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
September Asset                      09/22/21 KMP             140 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related                 2.1      0.0525       $7.35
2021      Disposition                                             communication with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S
                                                                  Yates Avenue, 2800-06 E 81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place,
                                                                  1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S
                                                                  Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030 S Marquette Avenue,
                                                                  8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes
                                                                  Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church
                                                                  Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                  Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953
                                                                  S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                  Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana
                                                                  Avenue, 1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)


September Asset                      09/23/21 JR              140 Exchange correspondence with K. Pritchard regarding post-closing reconciliation                      0.3 0.0073171         $1.02
2021      Disposition                                             distributions (single family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S
                                                                  Bennett Avenue, 6217-27 S Dorchester Avenue) (.3)
September    Business                09/07/21 JR              140 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I)              0.1 0.0012346         $0.17
2021         Operations                                           (.1)
September    Business                09/07/21 JR              140 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to           0.2 0.0024691         $0.35
2021         Operations                                           reimbursable amounts (see I and J) (.2).
September    Business                09/07/21 JR              140 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and             2.6 0.0320988         $4.49
2021         Operations                                           E. Duff (see I and J) (2.6)
September    Business                09/07/21 KMP             140 Review communications relating to second restoration motion to determine date of funds               0.2 0.0046512         $0.65
2021         Operations                                           transfer and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East
                                                                  End Avenue, 6749-59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet
                                                                  Avenue, 1017 W 102nd Street, 1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue,
                                                                  7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S
                                                                  Aberdeen Street, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 9212 S Parnell Avenue,
                                                                  10012 S LaSalle Avenue, 11318 S Church Street, 6554 S Rhodes Avenue, 6825 S Indiana
                                                                  Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 9610 S
                                                                  Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel Boulevard,
                                                                  6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                  Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                  Road, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                  Martin Luther King Drive, 7840-42 S Yates Avenue).




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7922 S Luella Avenue                                                   EquityBuild - Specific Property Allocation Task Detail



  Invoice                                           Time                                                                                                                     Allocated   Allocated
              Billing Category   Entry Date                 Rate                                           Task Description                                     Task Hours
  Month                                            Keeper                                                                                                                      Hours        Fees
September Business                   09/28/21 SZ              110 Attention to repair expenses associated with other properties and email communication with           0.3 0.0065217         $0.72
2021      Operations                                              the Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E
                                                                  85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S
                                                                  Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop
                                                                  Street, 6825 S Indiana Avenue, 7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S
                                                                  Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 11318 S Church Street,
                                                                  1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17 S Drexel Boulevard, 5450-52 S
                                                                  Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 7024-32 S
                                                                  Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th Street, 2800-
                                                                  06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E Marquette
                                                                  Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E 75th
                                                                  Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S
                                                                  Merrill Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates
                                                                  Boulevard, 7925 S Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).


September Claims                     09/01/21 AW              140 review native files submitted with claims and related email to K. Duff (see K) (.8)                  0.8 0.0089888         $1.26
2021      Administration
          & Objections

September Claims                     09/02/21 JRW             260 email exchange with claimants' counsel regarding joint motions (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/06/21 JRW             260 Correspond with K. Duff regarding revisions to single claim process (sole lien).                     0.3 0.0107143         $2.79
2021      Administration
          & Objections

September Claims                     09/07/21 JRW             260 telephone conference with K. Duff regarding draft joint motion (sole lien) (.1)                      0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/10/21 JRW             260 confer with K. Duff regarding single claim process (sole lien) (.1)                                  0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/10/21 JRW             260 review redline of draft motion regarding claims process and further revise same (sole lien)          1.6 0.0571429        $14.86
2021      Administration                                          (1.6)
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September Claims                     09/13/21 JRW         260 review redline and further revise proposed joint motion and related correspondence to K.               1.5 0.0535714        $13.93
2021      Administration                                      Duff and M. Rachlis regarding open issues (sole lien) (1.5)
          & Objections

September Claims                     09/14/21 JRW         260 Work on single claims process and related exchange of correspondence with M. Rachlis                   0.6 0.0214286         $5.57
2021      Administration                                      regarding single claim process (sole lien) (.6)
          & Objections

September Claims                     09/14/21 MR          390 Further work on single lien claim process and work and exchanges with J. Wine (sole lien).             0.5 0.0178571         $6.96
2021      Administration
          & Objections

September Claims                     09/15/21 JRW         260 revise proposed process for single lien claims (sole lien) (1.6).                                      1.6 0.0571429        $14.86
2021      Administration
          & Objections

September Claims                     09/15/21 JRW         260 exchange correspondence and telephone conference with claimants' counsel regarding                     0.4 0.0142857         $3.71
2021      Administration                                      process for single claim properties (sole lien) (.4)
          & Objections

September Claims                     09/15/21 JRW         260 telephone conference with K. Duff and M. Rachlis regarding process for single claim                    0.8 0.0285714         $7.43
2021      Administration                                      properties (sole lien) (.8)
          & Objections

September Claims                     09/15/21 JRW         260 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien) (.7)                     0.7       0.025       $6.50
2021      Administration
          & Objections

September Claims                     09/15/21 MR          390 Further review and attention to various issues on the single lien process and review various           0.6 0.0214286         $8.36
2021      Administration                                      drafts and e-mails regarding same from K. Duff and J. Wine (sole lien) (.6)
          & Objections

September Claims                     09/15/21 MR          390 participate in meeting with K. Duff and J. Wine regarding the single lien process (sole lien)          0.8 0.0285714        $11.14
2021      Administration                                      (.8).
          & Objections

September Claims                     09/16/21 AEP         390 Teleconference with J. Wine regarding discovery issues associated with single-claim                    0.6 0.0214286         $8.36
2021      Administration                                      properties encumbered by loans and legal issues associated with priority determinations
          & Objections                                        (sole lien).




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                       Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                       Task Hours
  Month                                        Keeper                                                                                                                        Hours        Fees
September Claims                     09/16/21 JRW         260 revise draft motion (sole lien) (1.1).                                                                 1.1 0.0392857        $10.21
2021      Administration
          & Objections

September Claims                     09/16/21 JRW         260 Telephone conference with A. Porter regarding third-party discovery needs and analysis of              0.6 0.0214286         $5.57
2021      Administration                                      claims (sole lien) (.6)
          & Objections

September Claims                     09/16/21 JRW         260 revise draft process for single claim properties to incorporate comments from M. Rachlis               0.8 0.0285714         $7.43
2021      Administration                                      (sole lien) (.8)
          & Objections

September Claims                     09/17/21 JRW         260 correspondence with M. Rachlis and K. Duff regarding single claims process (sole lien) (.1)            0.1 0.0035714         $0.93
2021      Administration
          & Objections

September Claims                     09/17/21 JRW         260 Review redlines and further revise single claims process and draft motion (sole lien) (1.0)            1.0 0.0357143         $9.29
2021      Administration
          & Objections

September Claims                     09/17/21 MR          390 Review and revise drafts of the joint motion for claims process and related follow up with K.          1.5 0.0535714        $20.89
2021      Administration                                      Duff and J. Wine (sole lien).
          & Objections

September Claims                     09/20/21 JRW         260 Additional revisions to single claims process and motion (sole lien) (1.3)                             1.3 0.0464286        $12.07
2021      Administration
          & Objections

September Claims                     09/21/21 JRW         260 review revisions to draft joint motion regarding process for single claims and related                 0.4 0.0142857         $3.71
2021      Administration                                      correspondence with K. Duff (sole lien) (.4)
          & Objections

September Claims                     09/22/21 JRW         260 correspondence with K. Duff and M. Rachlis regarding single claims process, review multiple            2.1       0.075      $19.50
2021      Administration                                      redlines and further revise motion and proposed process to incorporate comments (sole lien)
          & Objections                                        (2.1)

September Claims                     09/22/21 MR          390 Further review and comment on issues regarding proposals on single lien process and follow             1.2 0.0428571        $16.71
2021      Administration                                      up regarding same (sole lien) (1.2)
          & Objections




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7922 S Luella Avenue                                               EquityBuild - Specific Property Allocation Task Detail



  Invoice                                       Time                                                                                                                           Allocated   Allocated
              Billing Category   Entry Date             Rate                                           Task Description                                           Task Hours
  Month                                        Keeper                                                                                                                            Hours        Fees
September Claims                     09/23/21 JRW         260 Additional revisions to single claims process and related correspondence (sole lien) (.8)                  0.8 0.0285714         $7.43
2021      Administration
          & Objections

September Claims                     09/23/21 MR          390 Attention to issues and edits on motion regarding single lien issues (sole lien).                          0.3 0.0107143         $4.18
2021      Administration
          & Objections

September Claims                     09/24/21 JRW         260 final revisions to single claims process and related email to claimants' counsel (sole lien) (.4)          0.4 0.0142857         $3.71
2021      Administration
          & Objections




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